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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

  NATIONAL RIFLE ASSOCIATION OF        §
  AMERICA,                             §
                                       §
      Plaintiff and Counter-Defendant, §
                                       §
  v.                                   §                  Case No. 3:19-cv-02074-G
                                       §
  ACKERMAN MCQUEEN, INC.,              §
                                       §
      Defendant and Counter-Plaintiff, §
                                       §
  and                                  §
                                       §
  MERCURY GROUP, INC., HENRY           §
  MARTIN, WILLIAM WINKLER, AND §
  MELANIE MONTGOMERY                   §
                                       §
      Defendants.

                    APPENDIX IN SUPPORT OF NRA’S MOTION FOR
                         PARTIAL SUMMARY JUDGMENT

        The National Rifle Association of America (the “NRA”) offer the following evidence in

  support of NRA’s Motion for Partial Summary Judgment.



 EX                                  DESCRIPTION                                      APP
          Declaration of Sarah B. Rogers dated November 29, 2021                  APP. 00001-
                                                                                  APP. 00007
          Services Agreement between the NRA and AMc, dated April 30, 2017        APP. 00008-
 EX 1
          (filed under seal)                                                      APP. 00019
          First Amendment to the Services Agreement between the NRA and           APP. 00020-
 EX 2     AMc, dated May 6, 2018 (filed under seal)                               APP. 00022
          Services Agreement between the NRA and AMc, dated May 1, 1999           APP. 00023-
 EX 3
                                                                                  APP. 00036
          Expert Report of Matthew Klink dated July 15, 2021                      APP. 00037-
 EX 4
                                                                                  APP. 00062




  APPENDIX IN SUPPORT OF NRA’S MOTION FOR
  PARTIAL SUMMARY JUDGMENT                                                             PAGE 1
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         Plaintiffs Emergency Motion for Stay, National Rifle Association v.         APP. 00063-
 EX 5    Ackerman McQueen, et al, Civil Case No. CL19001757 (Va. Cir. Ct.            APP. 00090
         April 12, 2019)
         David Cole, ACLU.org, New York State Can’t Be Allowed to Stifle the         APP. 00091-
 EX 6    NRA’s Political Speech (August 24, 2018)                                    APP. 00096
         Declaration of John C. Frazer in support of NRA's Opposition to             APP. 00097-
 EX 7    Defendants' Motion for Partial Summary Judgment, dated September 1,         APP. 00101
         2021
         Declaration of Michael Erstling, dated April 29, 2020 (filed under seal)    APP. 00102-
 EX 8
                                                                                     APP. 00106
         Letter from Wilson H. Phillips Jr. to Bill Winkler, dated August 08, 2018   APP. 00107-
 EX 9
         (AMc-058776) (filed under seal)                                             APP. 00110
         Declaration of Charles Cotton, dated August 3, 2021 (filed under seal)      APP. 00111-
EX 10
                                                                                     APP. 00118
         Letter from William Winkler to Wilson H. Phillips Jr., dated August 13,     APP. 00119-
EX 11
         2018 (AMcTX-00002893) (filed under seal)                                    APP. 00122
         Letter draft from Wilson H. Phillips to Bill Winkler, dated August 14,      APP. 00123-
EX 12
         2018 (AMc-057545) (filed under seal)                                        APP. 00125
         Deposition transcript of Susan Dillon, dated July 28, 2021 (filed under     APP. 00126-
EX 13
         seal)                                                                       APP. 00163
         Email chain including Sarah B. Rogers email to Gina Betts and Jay           APP. 00164-
EX 14    Madrid, dated October, 8, 2018 (AMcTX-00010683) (filed under seal)          APP. 00175
         Email chain from Steve Hart to Anthony Makris, dated October 8, 2018        APP. 00176-
EX 15
         (AMcTX-00010526) (filed under seal)                                         APP. 00181
         Letter draft from Angus McQueen to Wayne LaPierre, dated September          APP. 00182-
EX 16
         24, 2018 (filed under seal)                                                 APP. 00191
         Deposition transcript of Revan McQueen, dated August 23, 2021 (filed        APP. 00192-
EX 17
         under seal)                                                                 APP. 00274
         Deposition transcript of Melanie Montgomery, dated March 31, 2021           APP. 00275-
EX 18
         (filed under seal)                                                          APP. 00333
         Deposition transcript of Wayne LaPierre, dated August 20, 2021 (filed       APP. 00334-
EX 19
         under seal)                                                                 APP. 00417
         Email from Anthony Makris to Steven Hart dated October 11, 2018             APP. 00418-
EX 20
         (AMcTX-00010701) (filed under seal)                                         APP. 00419
         Letter from Jay Madrid to Steve Hart dated January 4, 2019 (NRA-            APP. 00420-
EX 21
         AMc_00065378) (filed under seal)                                            APP. 00425
         NRA v. Lockton Affinity Series of Lockton Affinity, LLC, et al., Case       APP. 00426-
EX 22
         18-cv-00639 (E.D. Va. 2018) Docket                                          APP. 00438
         Deposition transcript of William Winkler, dated March 26, 2021 (filed       APP. 00439-
EX 23
         under seal)                                                                 APP. 00526
         Email chain from Steven Hart to Ryan Stephen dated January 16, 2019         APP. 00527-
EX 24
         (AMcTX-00000400-404)                                                        APP. 00532
         Email chain between Steven Hart and Anthony Makris as sent to Revan         APP. 00533-
EX 25    McQueen on December 14, 2018 (AMc-044422-44424) (filed under seal)          APP. 00536



  APPENDIX IN SUPPORT OF NRA’S MOTION FOR
  PARTIAL SUMMARY JUDGMENT                                                               PAGE 2
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         Email from Anthony Makris to Steven Hart dated December 22, 2018           APP. 00537-
EX 26    regarding response to Sarah B. Rogers email dated December 21, 2018        APP. 00539
         (AMcTX-00035850-35851) (filed under seal)
         Agreement for Forensic Accounting Services provided by Forensic Risk       APP. 00540-
EX 27
         Alliance, dated January 29, 2019 (filed under seal)                        APP. 00558
         Forensic Risk Alliance draft spreadsheet regarding Ackerman McQueen,       APP. 00559-
EX 28
         Inc.’s media buys                                                          APP. 00598
         Deposition transcript of Michael Trahar, dated September 18, 2019 (filed   APP. 00599-
EX 29
         under seal)                                                                APP. 00682
         AMc Responses and Objections to NRA Fourth Set of Requests for             APP. 00683-
EX 30
         Production (VA), dated February 21, 2020                                   APP. 00807
         Email from Charles Friedrich to Jason Collins, dated February 11, 2020     APP. 00808-
EX 31
                                                                                    APP. 00848
         Deposition transcript of Brandon Winkler, dated July 30, 2021 (filed       APP. 00849-
EX 32
         under seal)                                                                APP. 00936
         Triton Digital STRATA Website, dated November 28, 2021                     APP. 00937-
EX 33
                                                                                    APP. 00941
         Deposition transcript of Steven Hart, dated July 26, 2021 (filed under     APP. 00942-
EX 34
         seal)                                                                      APP. 01041
         Deposition transcript of John Frazer, dated August 2, 2021 (filed under    APP. 01042-
EX 35
         seal)                                                                      APP. 01089
         Email from Anthony Makris to Steve Hart, dated September 13, 2018          APP. 01090-
EX 36
         (filed under seal)                                                         APP. 01092
         Letter from Stephen Ryan to William H. Brewer, dated August 22, 2018       APP. 01093-
EX 37
         (filed under seal)                                                         APP. 01096
         Employment contract between Ackerman McQueen and Oliver North              APP. 01097-
EX 38    with amendments and exhibits, dated May 15, 2018 (AMcTX-0004557)           APP. 01107
         (filed under seal)
         AMc’s Second Amended Privilege Log, dated October 22, 2021                 APP. 01108-
EX 39
                                                                                    APP. 01302
         Employment contract between Ackerman McQueen and Dana Loesch,              APP. 01303-
EX 40
         dated January 1, 2018 (filed under seal)                                   APP. 01325
         Deposition transcript of Oliver North dated September 15, 2021 (filed      APP. 01326-
EX 41
         under seal)                                                                APP. 01444
         Ryan W. Miller, USA Today, Angry over diversity in children’s show,        APP. 01445-
EX 42    NRA TV depicts ‘Thomas & Friends’ in KKK hoods (Sept. 12, 2018)            APP. 01446
         Robert J. Spitzer, CNN, What’s behind NRA TV’s grotesque take on           APP. 01447-
EX 43
         ‘Thomas & Friends’ (Sept. 14, 2018)                                        APP. 01451
         Danielle Cinone, New York Daily News, ‘Thomas & Friends’ owner fires       APP. 01452-
EX 44    back after NRA show portrays characters in KKK hoods (Sept. 14, 2018)      APP. 01456
         Edwin Rios, Mother Jones, Dear NRA: Putting KKK Hoods on Beloved           APP. 01457-
EX 45    Childhood Characters Probably Isn’t the Best Strategy (Sept. 11, 2018)     APP. 01459
         Niraj Chokshi, The New York Times, N.R.A. Show Puts Thomas the Tank        APP. 01460-
EX 46    Engine in White Hood to Criticize Diversity Move (Sept. 12, 2018)          APP. 01461



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  PARTIAL SUMMARY JUDGMENT                                                              PAGE 3
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         American Heroes planned release schedule, dated May 09, 2019                APP. 01462-
EX 47
         (AMcTX-00003938) (filed under seal)                                         APP. 01467
         Danny Hakim, The New York Times, In N.R.A. Power Struggle,                  APP. 01468-
EX 48    Insurgents Seek to Oust Wayne LaPierre (April 26, 2019)                     APP. 01471
         Eli Watkins and Kate Sullivan, CNN, New York Attorney General               APP. 01472-
EX 49    investigating NRA finances amid group’s internal dispute (April 29, 2019)   APP. 01474
         Deposition transcript of Daniel L. Jackson, dated October 27, 2021 (filed   APP. 01475-
EX 50
         under seal)                                                                 APP. 01518
         Sheppard Mullin legal bills for Dana Loesch contract (AMc-0031508-          APP. 01519-
EX 51
         31524) (filed under seal)                                                   APP. 01536
         Exhibit 14 to Daniel L. Jackson deposition, dated October 27th, 2021        APP. 01537-
EX 52    regarding AMc invoices of legal bills (filed under seal)                    APP. 01634

         Letter from John C. Frazer to Gina Betts, dated March 4, 2020 (filed        APP. 01635-
EX 53
         under seal)                                                                 APP. 01637
         Deposition transcript of Autumn Kraus, dated August 19, 2021 (filed         APP. 01638-
EX 54
         under seal)                                                                 APP. 01657
         Letter from Wilson H. Phillips, Jr. to Bill Winkler, dated August 8, 2018   APP. 01658-
EX 55
         (NRA-AMc_00068307-68308) (filed under seal)                                 APP. 01660
         Letter from Josh Powell to William Winkler, dated October 4, 2018 (filed    APP. 01661-
EX 56
         under seal)                                                                 APP. 01674
         Lease agreement between Cisco Capital and Ackerman McQueen, Inc.            APP. 01675-
EX 57
         dated March 28, 2018 (filed under seal)                                     APP. 01680
         Lease agreement between Dell Financial Services and Ackerman                APP. 01681-
EX 58
         McQueen, Inc. dated May 8, 2018 (filed under seal)                          APP. 01687
         Lease agreement between iland Internet Solutions and Ackerman               APP. 01688-
EX 59
         McQueen dated March 22, 2018 (filed under seal)                             APP. 01730
         Deposition transcript of Larry Kanter dated, August 12, 2021 (filed under   APP. 01731-
EX 60
         seal)                                                                       APP. 01744
         Projected increases to NRA fees (AMcTX-00067704) (filed under seal)         APP. 01745-
EX 61
                                                                                     APP. 01746
         2018 and 2019 Budget Comparisons spreadsheet (filed under seal)             APP. 01747-
EX 62
                                                                                     APP. 01763
         Expert Report of Autumn V. Kraus dated July 15, 2021                        APP. 01764-
EX 63
                                                                                     APP. 01789
         Expert Report of Larry Kanter dated July 15, 2021                           APP. 01790-
EX 64
                                                                                     APP. 01835
         Amended Expert Report of Daniel L. Jackson, dated October 15, 2021          APP. 01836-
EX 65
         (filed under seal)                                                          APP. 01912
         Invoice No. 166340, dated May 01, 2019 (AMc-041863) (filed under            APP. 01913-
EX 66
         seal)                                                                       APP. 01914
         Invoice No. 167038, dated June 01, 2019 (AMc-042052) (filed under           APP. 01915-
EX 67
         seal)                                                                       APP. 01916
         Deposition transcript of John Frazer, dated August 30, 2021 (filed under    APP. 01917-
EX 68
         seal)                                                                       APP. 01940

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  PARTIAL SUMMARY JUDGMENT                                                               PAGE 4
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         Forensic Risk Alliance draft spreadsheet regarding Anthony Makris’            APP. 01941-
EX 69
         expenses                                                                      APP. 02012
         Forensic Risk Alliance draft spreadsheet regarding Tyler Schropp’s            APP. 02013-
EX 70
         expenses                                                                      APP. 02034
         Forensic Risk Alliance draft spreadsheet regarding budgets                    APP. 02035-
EX 71
                                                                                       APP. 02043
         Forensic Risk Alliance draft spreadsheet regarding out of pocket expenses     APP. 02044-
EX 72    for various Ackerman McQueen, Inc. executives                                 APP. 02093
         Forensic Risk Alliance draft spreadsheet regarding Nader Tavangar’s           APP. 02094-
EX 73
         expenses                                                                      APP. 02147
         Letter from John C. Frazer to Jay Madrid, dated March 14, 2019                APP. 02148-
EX 74
                                                                                       APP. 02153
         Email chain between Steven Hart and Anthony Makris from December              APP. 02154-
EX 75    13, 2018 to December 14, 2018 (AMc-044411) (filed under seal)                 APP. 02156
         Email chain between Steven Hart and Anthony Makris as sent to Revan           APP. 02157-
EX 76    McQueen on December 14, 2018 (AMc-044422-44424) (filed under seal)            APP. 02160
         NRA’s Second set of Requests for Production in this action, dated             APP. 02161-
EX 77
         February 3, 2020                                                              APP. 02200
         NRA’s Revised Second set of Requests for Production in this action,           APP. 02201-
EX 78
         dated March 26, 2020                                                          APP. 02240
         AMc’s Responses and Objections to the NRA’s Second Set of Requests            APP. 02241-
EX 79    for Production in this action, dated March 26, 2020                           APP. 02297
         Letter from J. Madrid to S. Hart regarding response S. Rogers letter, dated   APP. 02298-
EX 80
         January 04, 2019 (filed under seal)                                           APP. 02303
         Deposition transcript of Millie Hallow, dated January 10, 2020 (filed         APP. 02304-
EX 81
         under seal)                                                                   APP. 02405
         Deposition transcript of Carolyn Meadows, dated January 29, 2020 (filed       APP. 02406-
EX 82
         under seal)                                                                   APP. 02554
         Deposition transcript of John Frazer, dated January 16, 2020 (filed under     APP. 02555-
EX 83
         seal)                                                                         APP. 02717
         Deposition transcript of AMC 30(b)(6) dated August 4, 2021 (filed under       APP. 02718-
EX 84
         seal)                                                                         APP. 02785
         Declaration of Michael Trahar, dated November 29, 2021 (filed under           APP. 02786-
EX 85
         seal)                                                                         APP. 02788
         Deposition transcript of Craig Spray, dated October 3, 2019 (filed under      APP. 02789-
EX 86
         seal)                                                                         APP. 02907
         Deposition transcript of John Frazer, dated March 18, 2021 (filed under       APP. 02908-
EX 87
         seal)                                                                         APP. 03057
         Email from Revan McQueen to Andrew Arulanandam dated May 29,                  APP. 03058-
EX 88
         2019                                                                          APP. 03062
         Letter from William A. Brewer III to John Frazer regarding Amendment          APP. 03063-
EX 89    to Engagement Letter, dated June 17, 2019 (NRA-BK-00060639) (filed            APP. 03072
         under seal)



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  PARTIAL SUMMARY JUDGMENT                                                                 PAGE 5
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          Letter from William A. Brewer III to John Frazer regarding The National     APP. 03073-
EX 90     Rifle Association - Corporate Relationships Strategy, dated March 5,        APP. 03080
          2018 (filed under seal)
          Memorandum Of Law In Opposition To The Attorney General’s Special           APP. 03081-
          Proceeding And Application To Compel Respondent Ackerman McQueen            APP. 03106
EX 91
          To Comply With An Investigatory Subpoena NYSCEF DOC. NO. 25
          Index # 451825/2019
          Excel spreadsheet of Carry Guard invoices sent by Office Assistant at       APP. 03107-
EX 92     Cooper and Kirk to AMc dated November 13, 2018, AMcTX-00065313              APP. 03118
          Email from John Frazer to Jean Haydon, dated March 14, 2019                 APP. 03119-
EX 93
                                                                                      APP. 03121
          Letter from John Frazer to Stephen Ryan, dated August 24, 2019              APP. 03122-
EX 94
                                                                                      APP. 03124
          Declaration of John Frazer, dated November 29, 2021                         APP. 03125-
EX 95
                                                                                      APP. 03139


Dated: November 29, 2021                     Respectfully submitted,

                                             BREWER, ATTORNEYS & COUNSELORS


                                      By:    /s/ Sarah B. Rogers
                                             Cecelia L. Fanelli
                                             Pro Hac Vice
                                             clf@brewerattorneys.com
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                                             New York Bar No. 4755252
                                             sbr@brewerattorneys.com
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                                             1717 Main Street, Suite 5900
                                             Dallas, Texas 75201

                                             ATTORNEYS FOR THE PLAINTIFF
                                             COUNTER-DEFENDANT NATIONAL RIFLE
                                             ASSOCIATION OF AMERICA

                                CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing document was electronically


  APPENDIX IN SUPPORT OF NRA’S MOTION FOR
  PARTIAL SUMMARY JUDGMENT                                                                 PAGE 6
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  served via the Court’s electronic case filing system upon all counsel of record on this 29th day of

  November 2021.


                                               /s/ Sarah B. Rogers
                                               Sarah B. Rogers




  APPENDIX IN SUPPORT OF NRA’S MOTION FOR
  PARTIAL SUMMARY JUDGMENT                                                                    PAGE 7
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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

NATIONAL RIFLE ASSOCIATION OF                    §
AMERICA,                                         §
                                                 §
       Plaintiff and Counter-Defendant,          §
                                                 §
v.                                               §           Case No. 3:19-cv-02074-G
                                                 §
ACKERMAN MCQUEEN, INC.,                          §
                                                 §
       Defendant and Counter-Plaintiff,          §
                                                 §
and                                              §
                                                 §
MERCURY GROUP, INC., HENRY                       §
MARTIN, WILLIAM WINKLER, AND                     §
MELANIE MONTGOMERY                               §
                                                 §
       Defendants.

                DECLARATION OF SARAH B. ROGERS IN SUPPORT OF
                NRA’S MOTION FOR PARTIAL SUMMARY JUDGMENT

       I, Sarah B. Rogers, declare, pursuant to 28 U.S.C. § 1746, as follows:

       1.      I am a partner at Brewer, Attorneys & Counselors, counsel for Plaintiff/Counter-

Defendant National Rifle Association of America (“NRA”) in this action. I submit this declaration

in support of the NRA’s motion for summary judgment as to the claims brought by

Defendant/Counter-Plaintiff Ackerman McQueen, Inc. (“AMc”) and/or their counsel.

       2.      As counsel for the NRA, I have reviewed pleadings and other documents related to

this matter, and I am familiar with the facts and circumstances of this case.

       3.      I am fully competent and qualified in all respects to make this declaration. The facts

stated herein are true and correct, and unless otherwise qualified, are within my personal

knowledge.



                                                 1

                                                                                            APP. 00001
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      4.      Attached as exhibits to this Declaration are true and correct copies of the following

documents:

           1. EXHIBIT 1: Services Agreement between the NRA and AMc, dated April 30,
              2017
           2. EXHIBIT 2: "First Amendment to the Services Agreement between the NRA
              and AMc, dated May 6, 2018"
           3. EXHIBIT 3: Services Agreement between the NRA and AMc, dated May 1,
              1999
           4. EXHIBIT 4: Expert Report of Matthew Klink dated July 15, 2021
           5. EXHIBIT 5: Plaintiffs Emergency Motion for Stay, National Rifle Association
              v. Ackerman McQueen, et al, Civil Case No. CL19001757 (Va. Cir. Ct. April 12,
              2019)
           6. EXHIBIT 6: David Cole, ACLU.org, New York State Can’t Be Allowed to
              Stifle the NRA’s Political Speech (August 24, 2018)
           7. EXHIBIT 7: Declaration of John C. Frazer in support of NRA's Opposition to
              Defendants' Motion for Partial Summary Judgment, dated September 1, 2021
           8. EXHIBIT 8: Declaration of Michael Erstling, dated April 29, 2020
           9. EXHIBIT 9: Letter from Wilson H. Phillips Jr. to Bill Winkler, dated August
              08, 2018 (AMc-058776)
           10. EXHIBIT 10: Declaration of Charles Cotton, dated August 3, 2021
           11. EXHIBIT 11: Letter from William Winkler to Wilson H. Phillips Jr., dated
               August 13, 2018 (AMcTX-00002893)
           12. EXHIBIT 12: Letter draft from Wilson H. Phillips to Bill Winkler, dated August
               14, 2018 (AMc-057545)
           13. EXHIBIT 13: Deposition transcript of Susan Dillon, dated July 28, 2021
           14. EXHIBIT 14: Email chain including Sarah B. Rogers email to Gina Betts and Jay
               Madrid, dated October, 8, 2018 (AMcTX-00010683)
           15. EXHIBIT 15: Email chain from Steve Hart to Anthony Makris, dated October 8,
               2018 (AMcTX-00010526)
           16. EXHIBIT 16: Letter draft from Angus McQueen to Wayne LaPierre, dated
               September 24, 2018
           17. EXHIBIT 17: Deposition transcript of Revan McQueen, dated August 23, 2021


                                                2

                                                                                          APP. 00002
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     18. EXHIBIT 18: Deposition transcript of Melanie Montgomery, dated March 31,
         2021
     19. EXHIBIT 19: Deposition transcript of Wayne LaPierre, dated August 20, 2021
     20. EXHIBIT 20: Email from Anthony Makris to Steven Hart dated October 11,
         2018 (AMcTX-00010701)
     21. EXHIBIT 21: Letter from Jay Madrid to Steve Hart dated January 4, 2019 (NRA-
         AMc_00065378)
     22. EXHIBIT 22: NRA v. Lockton Affinity Series of Lockton Affinity, LLC, et al.,
         Case 18-cv-00639 (E.D. Va. 2018) Docket
     23. EXHIBIT 23: Deposition transcript of William Winkler, dated March 26, 2021
     24. EXHIBIT 24: Email chain from Steven Hart to Ryan Stephen dated January 16,
         2019 (AMcTX-00000400-404)
     25. EXHIBIT 25: Email chain between Steven Hart and Anthony Makris as sent to
         Revan McQueen on December 14, 2018 (AMc-044422-44424)
     26. EXHIBIT 26: Email from Anthony Makris to Steven Hart dated December 22,
         2018 regarding response to Sarah B. Rogers email dated December 21, 2018
         (AMcTX-00035850-35851)
     27. EXHIBIT 27: Agreement for Forensic Accounting Services provided by Forensic
         Risk Alliance, dated January 29, 2019
     28. EXHIBIT 28: Forensic Risk Alliance draft spreadsheet regarding Ackerman
         McQueen, Inc.’s media buys
     29. EXHIBIT 29: Deposition transcript of Michael Trahar, dated September 18, 2019
     30. EXHIBIT 30: AMc Responses and Objections to NRA Fourth Set of Requests for
         Production (VA), dated February 21, 2020
     31. EXHIBIT 31: Email from Charles Friedrich to Jason Collins, dated February 11,
         2020
     32. EXHIBIT 32: Deposition transcript of Brandon Winkler, dated July 30, 2021
     33. EXHIBIT 33: Triton Digital STRATA Website, dated November 28, 2021
     34. EXHIBIT 34: Deposition transcript of Steven Hart, dated July 26, 2021
     35. EXHIBIT 35: Deposition transcript of John Frazer, dated August 2, 2021
     36. EXHIBIT 36: Email from Anthony Makris to Steve Hart, dated September 13,
         2018



                                        3

                                                                                      APP. 00003
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     37. EXHIBIT 37: Letter from Stephen Ryan to William H. Brewer, dated August 22,
         2018
     38. EXHIBIT 38: Employment contract between Ackerman McQueen and Oliver
         North with amendments and Exhibits, dated May 15, 2018 (AMcTX-0004557)
     39. EXHIBIT 39: AMc’s Second Amended Privilege Log, dated October 22, 2021
     40. EXHIBIT 40: Employment contract between Ackerman McQueen and Dana
         Loesch, dated January 1, 2018
     41. EXHIBIT 41: Deposition transcript of Oliver North dated September 15, 2021
     42. EXHIBIT 42: Ryan W. Miller, USA Today, Angry over diversity in children’s
         show, NRA TV depicts ‘Thomas & Friends’ in KKK hoods (Sept. 12, 2018)
     43. EXHIBIT 43: Robert J. Spitzer, CNN, What’s behind NRA TV’s grotesque take
         on ‘Thomas & Friends’ (Sept. 14, 2018)
     44. EXHIBIT 44: Danielle Cinone, New York Daily News, ‘Thomas & Friends’
         owner fires back after NRA show portrays characters in KKK hoods (Sept. 14,
         2018)
     45. EXHIBIT 45: Edwin Rios, Mother Jones, Dear NRA: Putting KKK Hoods on
         Beloved Childhood Characters Probably Isn’t the Best Strategy (Sept. 11, 2018)
     46. EXHIBIT 46: Niraj Chokshi, The New York Times, N.R.A. Show Puts Thomas
         the Tank Engine in White Hood to Criticize Diversity Move (Sept. 12, 2018)
     47. EXHIBIT 47: American Heroes planned release schedule, dated May 09, 2019
         (AMcTX-00003938)
     48. EXHIBIT 48: Danny Hakim, The New York Times, In N.R.A. Power Struggle,
         Insurgents Seek to Oust Wayne LaPierre (April 26, 2019)
     49. EXHIBIT 49: Eli Watkins and Kate Sullivan, CNN, New York Attorney General
         investigating NRA finances amid group’s internal dispute (April 29, 2019)
     50. EXHIBIT 50: Deposition transcript of Daniel L. Jackson, dated October 27, 2021
     51. EXHIBIT 51: Sheppard Mullin legal bills for Dana Loesch contract (AMc-
         0031508-31524)
     52. EXHIBIT 52: Exhibit 14 to Daniel L. Jackson deposition, dated October 27th,
         2021 regarding AMc invoices of legal bills
     53. EXHIBIT 53: Letter from John C. Frazer to Gina Betts, dated March 4, 2020
     54. EXHIBIT 54: Deposition transcript of Autumn Kraus, dated August 19, 2021




                                         4

                                                                                       APP. 00004
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     55. EXHIBIT 55: Letter from Wilson H. Phillips, Jr. to Bill Winkler, dated August 8,
         2018 (NRA-AMc_00068307-68308)
     56. EXHIBIT 56: Letter from Josh Powell to William Winkler, dated October 4,
         2018
     57. EXHIBIT 57: Lease agreement between Cisco Capital and Ackerman McQueen,
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     59. EXHIBIT 59: Lease agreement between iland Internet Solutions and Ackerman
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     60. EXHIBIT 60: Deposition transcript of Larry Kanter dated, August 12, 2021
     61. EXHIBIT 61: Projected increases to NRA fees (AMcTX-00067704)
     62. EXHIBIT 62: 2018 and 2019 Budget Comparisons spreadsheet
     63. EXHIBIT 63: Expert Report of Autumn V. Kraus dated July 15, 2021
     64. EXHIBIT 64: Expert Report of Larry Kanter dated July 15, 2021
     65. EXHIBIT 65: Amended Expert Report of Daniel L. Jackson, dated October 15,
         2021
     66. EXHIBIT 66: Invoice No. 166340, dated May 01, 2019 (AMc-041863)
     67. EXHIBIT 67: Invoice No. 167038, dated June 01, 2019 (AMc-042052)
     68. EXHIBIT 68: Deposition transcript of John Frazer, dated August 30, 2021
     69. EXHIBIT 69: Forensic Risk Alliance draft spreadsheet regarding Anthony
         Makris’ Expenses
     70. EXHIBIT 70: Forensic Risk Alliance draft spreadsheet regarding Tyler
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     71. EXHIBIT 71: Forensic Risk Alliance draft spreadsheet regarding budgets
     72. EXHIBIT 72: Forensic Risk Alliance draft spreadsheet regarding out of pocket
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     73. EXHIBIT 73: Forensic Risk Alliance draft spreadsheet regarding Nader
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     74. EXHIBIT 74: Letter from John C. Frazer to Jay Madrid, dated March 14, 2019
     75. EXHIBIT 75: Email chain between Steven Hart and Anthony Makris from
         December 13, 2018 to December 14, 2018 (AMc-044411)


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     76. EXHIBIT 76: Email chain between Steven Hart and Anthony Makris as sent to
         Revan McQueen on December 14, 2018 (AMc-044422-44424)
     77. EXHIBIT 77: NRA’s Second set of Requests for Production in this action, dated
         February 3, 2020
     78. EXHIBIT 78: NRA’s Revised Second set of Requests for Production in this
         action, dated March 26, 2020
     79. EXHIBIT 79: AMc’s Responses and Objections to the NRA’s Second Set of
         Requests for Production in this action, dated March 26, 2020
     80. EXHIBIT 80: Letter from J. Madrid to S. Hart regarding response S. Rogers
         letter, dated January 04, 2019
     81. EXHIBIT 81: Deposition transcript of Millie Hallow, dated January 10, 2020
     82. EXHIBIT 82: Deposition transcript of Carolyn Meadows, dated January 29, 2020
     83. EXHIBIT 83: Deposition transcript of John Frazer, dated January 16, 2020
     84. EXHIBIT 84: Deposition transcript of AMC 30(b)(6) dated August 4, 2021
     85. EXHIBIT 85: Declaration of Michael Trahar, dated November 29, 2021
     86. EXHIBIT 86: Deposition transcript of Craig Spray, dated October 3, 2019
     87. EXHIBIT 87: Deposition transcript of John Frazer, dated March 18, 2021
     88. EXHIBIT 88: Email from Revan McQueen to Andrew Arulanandam dated May
         29, 2019
     89. EXHIBIT 89: Letter from William A. Brewer III to John Frazer regarding
         Amendment to Engagement Letter, dated June 17, 2019 NRA-BK-00060639
     90. EXHIBIT 90: Letter from William A. Brewer III to John Frazer regarding The
         National Rifle Association - Corporate Relationships Strategy, dated March 5,
         2018
     91. EXHIBIT 91: Memorandum Of Law In Opposition To The Attorney General’s
         Special Proceeding And Application To Compel Respondent Ackerman McQueen
         To Comply With An Investigatory Subpoena NYSCEF DOC. NO. 25 Index #
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     92. EXHIBIT 92: Excel spreadsheet of Carry Guard invoices sent by Office Assistant
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     93. EXHIBIT 93: Email from John Frazer to Jean Haydon, dated March 14, 2019
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           I declare under penalty of perjury that the foregoing is true and correct.



   Executed this 29th day of November 2021.

                                                  /s/ Sarah B. Rogers
                                                          Sarah B. Rogers




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   4871-2009-1140.3


                                                                                        APP. 00007
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                        EXHIBIT 1
                    (Filed Under Seal)




                                                               APP. 00008-APP. 00019
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                        EXHIBIT 2
                    (Filed Under Seal)




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                         EXHIBIT 3




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                                                                      APP. 00034
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                         EXHIBIT 




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                               IN THE UNITED STATES DISTRICT COURT
                               FOR THE NORTHERN DISTRICT OF TEXAS
                                           DALLAS DIVISION
              ___________________________________________________________________________

                            NATIONAL RIFLE ASSOCIATION OF AMERICA,

                               PLAINTIFF AND COUNTER-DEFENDANT,

                                                 AND

                                          WAYNE LAPIERRE,

                                     THIRD-PARTY DEFENDANT,

                                                  V.

                                     ACKERMAN MCQUEEN, INC.,

                               DEFENDANT AND COUNTER-PLAINTIFF

                                                 AND

       MERCURY GROUP, INC., HENRY MARTIN, WILLIAM WINKLER, AND MELANIE MONTGOMERY,

                                            DEFENDANTS.

                                   CIVIL ACTION NO. 3:19-CV-02074-G
              ___________________________________________________________________________

                                EXPERT REPORT AND DISCLOSURE OF
                                        MATTHEW KLINK
                                     OWNER AND PRESIDENT
                                     KLINK CAMPAIGNS, INC.

                                       SUBMITTED JUNE 15, 2021




                                                                                            APP. 00038
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EXHIBITS:
Exhibit A: Curriculum Vitae
Exhibit B: Documents Considered




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 I. RETENTION AND SCOPE OF ASSIGNMENT

1.   This action is brought by the National Rifle Association of America (“NRA” or the “Counter-
     Defendant”) against Ackerman McQueen, Inc. (“Ackerman” or the “Counter-Plaintiff”), Mercury
     Group, Inc. (“Mercury”), Henry Martin (“Mr. Martin”), William Winkler (“Mr. Winkler”) and
     Melanie Montgomery (“Ms. Montgomery”) (collectively, the “Defendants”).1

2.   I have been retained by Brewer, Attorneys & Counselors (“Counsel”) on behalf of the NRA to
     examine various aspects of Ackerman’s public relations and communications involvement with
     the Counter-Defendants, particularly public statements of Ackerman, management of confidential
     information, and overall interactions with the news media.

3.   My report examines the case facts and while I may use legal terms, I am not an attorney. My
     report’s opinions should not be considered legal conclusions or arguments.

 II. PROFESSIONAL BACKGROUND

1.   I am a strategic communications professional specializing in crisis communication, reputation and
     issues management, strategic and corporate communications, and public affairs. I have more than
     three decades of professional experience working on behalf of clients with traditional, trade, ethnic
     and digital media. In addition, I have experience buying all types of advertising for clients.

2.   In my current role in strategic communications, I primarily advise clients facing controversial,
     highly visible – and often difficult – situations regarding effective proactive and reactive
     communications strategy. These clients include Fortune 150 companies (across multiple industry
     sectors), high-net-worth individuals, business leaders and political figures, trade associations,
     government agencies, and start-ups. Assignments have included, but are not limited to, litigation
     support on civil matters, legislative and public policy engagement at the international, federal, state
     and local levels, complex, technical energy and environmental clients, as well as helping clients
     establish or rebuild their reputation through a variety of external and internal communications
     activities.

3.   I have detailed, hands-on knowledge of how public relations firms operate, as well as experience
     in strategic planning, budget setting, staffing allocation and billing practices. Before becoming a

 ____________________________________
     1
      Second Amended Complaint, February 11, 2021 (“Complaint”). “Ackerman” refers to both Ackerman McQueen
     Group, Inc. and Mercury Group, Inc. throughout this report, unless specifically stated otherwise.

                                                                                                              2

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     communications consultant, I worked in public affairs and political positions starting at entry-
     level, advancing up through senior-level, and ultimately to partner and owner. I have worked for
     multiple public affairs and government relations firms, served as a legislative analyst for The
     University of California system and Lawrence Berkeley Laboratory, and for a media buying firm.
     I worked as a strategist on a California statewide initiative campaign, where I was one of the
     campaign’s principal media spokespeople. I have assisted hundreds of clients with restoring
     damaged off-line and online reputations using techniques that reflect industry best practices. I also
     have managed the online and social personas for public figures and issue/cause-driven campaigns.
     I have a long-term association with the International Association of Political Consultants, where I
     serve as General Secretary , and engage with political and public affairs consultants worldwide.

4.   During the past 30 years, I have at varying times been a member of the Los Angeles Chapter of
     the Public Relations Society of America (PRSA). Accordingly, I am familiar with the PRSA’s
     Code of Ethics and integrate these practices into all my client engagements.2

5.   Additionally, I am an active and long-standing member of the American Association of Political
     Consultants. As a member, I am required to sign and adhere to a Code of Professional Ethics.3

6.   I have also “sat on the other side of the table” as a corporate representative dealing with public
     relations (“PR”) firms. For example, I was responsible for hiring and managing consultants when
     I was director of Government Affairs for Philip Morris International based in Lausanne,
     Switzerland. While working on the “client side” of the equation, I personally hired public affairs
     and strategic communications consultants and helped individual government affairs personnel in
     more than 70 countries hire consultants for a variety of strategic projects. In addition, I provided
     valuable insight on industry best practices to Philip Morris personnel on hiring PR and
     communications firms, agency evaluations and analysis, and client management.

7.   My curriculum vitae is attached as Exhibit A.

8.   I am a graduate of the George Washington University’s Graduate School of Political Management,
     where I earned a Master of Arts in Political Management (with a concentration in political and



 ____________________________________
     2
         https://www.prsa.org/about/prsa-code-of-ethics
     3
         https://theaapc.org/wp-content/uploads/2015/10/AAPC-Code-of-Ethics.pdf

                                                                                                            3

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     issues management) and The University of California at Berkeley, where I earned a Bachelor of
     Arts Degree in History.

9.   I have not provided expert testimony or authored any academic or professional articles during the
     past decade because my focus professionally has been on providing PR guidance and strategic
     counsel to numerous clients. I am a hands-on practitioner with a detailed understanding of PR and
     not a professional witness for hire. The analysis and opinions presented in this report reflect that
     experience.

10. I was engaged for this assignment at the hourly billing rates of the individuals assigned, plus
     expenses. My billing rate is $800 per hour, which includes $200 per hour in recruiter fees. My fees
     are not contingent upon the opinions expressed herein or the outcome of this matter.

 III. INFORMATION CONSIDERED

11. My opinions are derived from information available to me as of the date of this report and the
     application of my experience, knowledge, skills, education and training. I have considered
     documents produced by the parties in this matter, legal filings, and other publicly available
     information. A listing of all documents considered is attached as Exhibit B.             I also had
     conversations with Andrew Arulanandam, Managing Director of Public Affairs at the NRA and
     Travis Carter, Managing Director of Public Affairs, Brewer, Attorneys & Counselors.

12. My opinions are based on my reliance on the accuracy and authenticity of the evidence I have been
     provided, by my review of documents, independent research, and my years of experience helping
     companies and individuals manage and influence public relations and reputational issues. Sourcing
     for my research is indicated with footnotes, and hyperlinks are provided, where applicable, to
     access the source material.

13. I understand that I may be asked to testify about my opinions contained herein, as well as related
     matters, including those raised on cross examination, to rebut matters raised by Defendants’
     witnesses, and those otherwise presented at trial by Defendants’ attorneys or the trier-of-fact in
     relation to the issues set forth in this report. I understand discovery is ongoing, and I reserve the
     right to change, revise, amend, modify or supplement my report and the opinions expressed herein,
     as necessary, to address any additional materials that may become known to me before or during
     the trial.


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 IV. EXECUTIVE SUMMARY OF OPINIONS

14. The terms of the Services Agreement between Ackerman and the NRA regarding PR services was
     consistent with industry practices, including the protection and non-disclosure of confidential
     information requirement for Ackerman. There was no reciprocal obligation of the NRA to maintain
     confidences for Ackerman.

15. Ackerman engaged in a sophisticated public relations strategy designed to discredit the NRA and
     its leadership and cause the NRA, its leadership, and certain advisors significant reputational harm.
     Ackerman refused to comply with the NRA’s requests for communications with news media
     outlets related to this strategy – material that could have helped prove Ackerman played no role in
     the campaign to harm the NRA.

16. In the months following the NRA’s first lawsuit against Ackerman in April 2019, Ackerman
     proactively released numerous public statements that generated significant negative media
     attention for the NRA.

17. Brewer, Attorneys & Counselors’ PR involvement with the NRA was commonplace for a client
     facing multiple litigation and regulatory challenges. Involving the PR arm of a litigation firm in
     the legal and regulatory matters being handled by the firm is a well-established, customary and
     normal practice.

 V. BACKGROUND OF MATTER

   A. RELEVANT PARTIES
18. The allegations of this case are covered in the legal filings and will not be repeated in their entirety
     here. When examining an issue, I made sure to have a clear understanding of the underlying legal
     filings and claims and allegations made therein. Below is a recap of the relevant claims, as detailed
     in the Complaint4 and the public record.

19. Plaintiff, and Counter-Defendant, NRA, is a not-for-profit corporation organized under the laws
     of New York with its principal place of business located in Fairfax, Virginia, provides gun-safety




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     4
         NRA Second Amended Complaint, February 11, 2021 (“Complaint”).

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     and marksmanship education for civilians and law enforcement. It is also the foremost defender of
     the Second Amendment of the United States Constitution.5

20. Defendant, and Counter-Plaintiff, Ackerman, a for-profit business corporation organized under the
     laws of the State of Oklahoma with its principal place of business located in Oklahoma City,
     Oklahoma, is an advertising and public relations agency.6

21. Defendant Mercury Group, a for-profit business corporation organized under the laws of the State
     of Oklahoma with its last known principal place of business, as of June 30, 2020, located in
     Alexandria, Virginia, is a wholly owned subsidiary of Ackerman and specializes in public
     communications strategy.7

22. Defendant Mr. Martin is an individual who resides in Dallas County, Texas and served as Chief
     Creative Officer of Ackerman since 2010 and during the Relevant Period.8

23. Defendant Mr. Winkler is an individual who resides in Edmond, Oklahoma and served in senior
     leadership at Ackerman as Chief Financial Officer (“CFO”) during the Relevant Period.9

24. Defendant Ms. Montgomery is an individual who resides in Dallas County, Texas and held several
     roles at Ackerman during the Relevant Period, including Executive Vice President/Management
     Supervisor.10

   B. GENERAL BACKGROUND
25. The NRA and Ackerman had a professional relationship for almost four decades.11 During that
     decades-long relationship, the NRA paid hundreds of millions of dollars12 to Ackerman for a wide
     range of services, including public relations and strategic marketing; planning and placement of
     media; management of digital media and websites; crisis counsel; and the creation and
     management of NRATV, a digital-media platform.13



 ____________________________________
     5
       Complaint, ¶ 1.
     6
       Complaint, ¶ 3.
     7
       Complaint, ¶ 4.
     8
       Complaint, ¶ 7.
     9
       Complaint, ¶ 5.
     10
        Complaint, ¶ 6.
     11
        Complaint, ¶ 19.
     12
        Per counsel.
     13
        Complaint, ¶ 19.

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26. Ackerman’s work on behalf of the NRA was governed by a Services Agreement containing
     detailed specifications for how various types of work performed by Ackerman should be budgeted
     and billed.14 The relevant services agreements in this matter executed by the NRA and Ackerman
     were dated May 1, 1999 (“1999 Services Agreement”) and April 30, 2017 with Amendment No.
     1 to the Services Agreement executed by the NRA and Ackerman dated May 6, 2018 (“2017
     Services Agreement”), (collectively, “Services Agreements”).15

27. As part of its compliance efforts, the NRA asked Ackerman to provide "files, books and records,"
     as outlined in the Services Agreement, so that the NRA could ensure all internal compliance and
     control protocols were being properly followed. Such a request is not unusual in the course of such
     business arrangements.

28. The NRA alleged that it noticed several concerning practices carried out by Ackerman, including
     a lack of transparency in its budgets and billing, as well as misleading, or nonexistent, key metrics
     and data to assess its return on investment for its online video streaming platform, NRATV.

29. On June 25, 2019, the NRA sent a letter to AMc to terminate the Services Agreement. On June 27,
     2019, AMc sent a letter to the NRA to terminate the Services Agreement.16

30. The NRA filed three lawsuits in Virginia to address these concerns, which were later consolidated
     into one action via court order, dated October 8, 2019. The consolidated matter is National Rifle
     Association of America v. Ackerman McQueen, Inc., and Mercury Group, Inc., Cons. Case Nos.
     CL19002067; CL19001757; CL19002886 (Va. Cir. 2019).

31. The Virginia Court stayed the consolidated actions on March 11, 2020, pending the outcome of
     the litigation before the United States District Court for the Northern District of Texas. There is
     currently no active litigation in Virginia.

32. The complaint in the current litigation pending in Texas was originally filed on August 30, 2019,
     and later amended via a Second Amended Complaint filed on March 12, 2021.




 ____________________________________
     14
        Complaint, ¶ 20.
     15
        See NRA-AMc_00163614-3623; Plaintiff’s Complaint and Jury Demand, Civil Case No.19002886, dated
     September 5, 2019, Exhibit A.
     16
        Complaint, ¶ 99.

                                                                                                             7

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33. On November 15, 2019, Ackerman filed an amended answer to the NRA’s First Amended
      Complaint in Texas, as well as amended counterclaims for breach of contract, libel, tortious
      interference, declaratory judgement, and fraud (against Mr. Wayne LaPierre only).

34. On May 22, 2021, Ackerman filed a second amended counterclaim, expanding its causes of action
      to include defamation, civil conspiracy, and piercing the corporate veil.

 VI. DISCUSSION OF MY OPINIONS

A.   IN MY OPINION, THE TERMS OF THE                 SERVICES   AGREEMENT REGARDING PUBLIC RELATIONS

     SERVICES WAS CONSISTENT WITH INDUSTRY PRACTICES, INCLUDING THE PROTECTION AND NON-

     DISCLOSURE OF CONFIDENTIAL INFORMATION REQUIREMENT FOR                  ACKERMAN. THERE WAS NO
     RECIPROCAL OBLIGATION OF THE NRA TO MAINTAIN CONFIDENCES FOR ACKERMAN.

35. Management of confidential information is a cornerstone of the obligations a PR firm owes its
      client. In my 30-year experience as a PR professional, I have signed hundreds of services
      agreements that include confidentiality obligations for PR firms.

36. In many cases, PR professionals work with clients on complex, controversial and/or high-profile
      issues where confidentiality agreements are a common and important component of a successful
      working relationship. PR professionals provide the client the assurance that the contracting third
      party will not share confidential or sensitive information. To provide effective counsel, a
      consultant must know specific details about a client – information that helps develop strategies,
      tactics and messaging which has no business being shared with the news media or the general
      public. This professional obligation to maintain confidentiality extends not only to current clients,
      but also former clients.

37. Confidentiality provisions are a longstanding PR industry best practice. Groups such as PRSA
      highlight the importance of confidentiality. Specifically, in PRSA’s Code of Ethics, under
      “Safeguarding Confidences,” the organization highlights the best practices for such agreements:17

      a. Safeguard the confidences and privacy rights of present, former and prospective clients and
             employees.

      b. Protect privileged, confidential, or insider information gained from a client or organization.

 ____________________________________
      17
           https://www.prsa.org/about/prsa-code-of-ethics

                                                                                                          8

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     c. Immediately advise an appropriate authority if a member discovers that confidential
          information is being divulged by an employee of a company or organization.

38. Furthermore, in the American Association of Political Consultants Code of Professional Ethics,
     Point #3 in the code states: “I will respect the confidence of my clients and not reveal confidential
     or privileged information obtained during our professional relationship.”18

39. The jointly signed Services Agreement, consistent with other services agreements I have seen and
     executed, is precise when it discusses “Confidential Information” and what can and cannot be done
     with it. In fact, the term is even bolded and underlined in the document for emphasis and clarity.19

40. The document states that “AMc shall not disclose, directly or indirectly, to any third party any
     NRA membership data or mailing lists, any materials or information coming to the knowledge of
     Ackerman, supplied to Ackerman by NRA, or otherwise made known to Ackerman as a result of
     Ackerman’s providing Services (hereinafter collectively, referred to as the “Confidential
     Information”), without the prior express written permission of the NRA.

41. In Ackerman’s Confidentiality Agreement, the Services Agreement highlights that Ackerman shall
     not make or cause to have made any copies of any of the NRA’s Confidential Information without
     the prior express written authorization of the NRA.

42. The Service Agreement’s Confidentiality Provisions bind and limit Ackerman, as the NRA’s
     advertising and PR firm. As the document states, “AMc acknowledges NRA’s exclusive right, title
     and interest in the Confidential Information, and shall not at any time do or cause to be done any
     act or thing contesting or in any way impairing or tending to impair any part of such right, title or
     interest.”20

43. Based on my decades of industry experience and review of the Services Agreement, Ackerman
     agreed to keep confidential and not distribute its client’s material –period. Note that Section 4 only
     contains conditions related to Ackerman, not the NRA.21

44. Based on my decades of industry experience and review of the Services Agreement, the NRA was
     under no obligation to protect or maintain confidences for Ackerman. No obligation exists under
 ____________________________________
     18
        https://theaapc.org/wp-content/uploads/2015/10/AAPC-Code-of-Ethics.pdf
     19
        NRA-AMc_00183419
     20
        NRA-AMC_00183419 see section IV.C.
     21
        NRA-AMC_00183419

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     the Services Agreement and it would be contrary to the usual custom and practice in the PR
     industry to expect a client to maintain the confidences of its PR firm. Even absent an express
     agreement, confidentiality obligations arise for the PR firm itself, not the client.

45. Should the client, for whatever reason, purposefully determine that information should be publicly
     released as it understands it to be true, it is well within its rights to do so – and it is not a “leak” of
     such information.

B. IN MY OPINION, ACKERMAN             ENGAGED IN A SOPHISTICATED PUBLIC RELATIONS STRATEGY

   DESIGNED TO DISCREDIT THE           NRA    AND ITS LEADERSHIP, AS WELL AS CAUSE THE                 NRA,    ITS

   LEADERS, AND CERTAIN ADVISORS SIGNIFICANT REPUTATIONAL HARM. ACKERMAN REFUSED TO

   COMPLY WITH THE         NRA’S     REQUESTS FOR COMMUNICATIONS WITH NEWS MEDIA OUTLETS

   RELATED TO THIS STRATEGY.

46. Based on my review of the documents provided as well as publicly available media reports,
     Ackerman was a catalyst for numerous negative media stories involving the NRA –whether it was
     through services provided by the agency or through financial arrangements made possible by the
     agency (e.g., renting an apartment for an intern, paying for flights and limousine services, or
     purchasing clothing).

47. I reviewed numerous newspaper articles about Mr. LaPierre’s alleged spending, including reports
     about $39,000 spent on wardrobe expenses in one day and a $13,800 expense to rent an apartment
     for a female NRA intern, among other expenses, all of which appear to involve services or financial
     arrangements with Ackerman.22 23

48. The sophistication regarding the release of this information is noteworthy. Rather than simply
     leaking information without any context, which would require a reporter to “dig” to develop a
     story, Ackerman helped to frame and advance these “negative” stories for reporters. This framing
     is a tool commonly utilized by PR and media professionals.

49. For example, Ackerman’s Chief Financial Officer, William Winkler, wrote a series of letters via
     email on April 22, 2019 containing allegedly derogatory information about Mr. LaPierre and other


 ____________________________________
     22
        Maremont, Mark, “Leaked Letters Reveal Details of NRA Chief’s Alleged Spending,” Wall Street Journal, May
     11, 2019
     23
        Hakim, Danny, “At the N.R.A., a Cash Machine Sputtering,” New York Times, May 14, 2019

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      NRA executives that quickly reached public circulation. In a letter to Mr. LaPierre, Ackerman
      claims to suddenly realize, after decades of working for the NRA, that it lacked receipts for Mr.
      LaPierre’s purchases at Beverly Hills clothier, Zegna.24 Although framed as an attempt to comply
      with the audit, as a PR professional, it is clear to me that this was a calculated attempt to expose
      allegedly negative information about Mr. LaPierre and the NRA.

50. We later learn in a deposition of Mr. Winkler on March 26, 2021 that the NRA never paid for the
      Zegna clothes: “Angus McQueen believed that Wayne LaPierre needed to look the role that he had
      at NRA. He told Wayne he needed to get clothes that looked appropriate for his television
      appearances…And he [Mr. LaPierre] would bill that – that bill would come back to Ackerman
      McQueen. It was never billed back to the NRA. We actually absorbed it through income.”25

51. Ackerman CFO William Winkler sent a second letter on April 22, 2019 via email to Mr. LaPierre
      that purports to document expenses on an Ackerman American Express card for certain travel
      expenses and $13,804.84 for “the apartment you required we rent for the period of May 27 –
      August 30, 2016 in Fairfax VA for Megan Allen and billed to the NRA.” The letter contains the
      highly suggestive line at its close, “Also, for the apartment, please provide the business relationship
      with Ms. Allen.”26

52. As intended, the letter, when leaked in a trove of documents, generated significant misleading and
      negative media coverage – not only about the expenses for travel, airfare and limo charges, but
      also fueling speculation in the national media about LaPierre having an alleged inappropriate
      relationship a 20-year old college student intern, Ms. Allen. Articles appeared that referenced her
      LinkedIn page and Facebook page photos.27

53.   An email exchange between Ms. Allen and Ackerman executive Nader Tavangar and others show
      that Ackerman was aware of the business relationship between Ms. Allen and the NRA. In fact,
      Mr. Tavangar rented the apartment for Ms. Allen in his name. A second Ackerman employee




 ____________________________________
      24
         Letter from William Winkler to Wayne La Pierre, April 22, 2019
      25
         Winkler, Corp. Rep of Ackerman McQueen – 786251, p. 64, lines 4-17
      26
         Letter from William Winkler to Wayne La Pierre, April 22, 2019
      27
         Silverstein, Ken, “Exclusive: Did the head of the NRA have an intimate relationship with a Russian spy and have
      his group pay her apartment rent?,” washingtonbabylon.com, May 13, 2019

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     familiar with the financial arrangement, Eric Van Horn, cautioned Ms. Allen that “As far as they
     [the apartment’s owners] are concerned, Nader is living there, not you.”28

54. With the bait cast by Mr. Winkler’s letters, a reading of subsequent newspaper articles
     demonstrates how Ackerman engineered a media campaign that was consumed by the news media.
     The published news stories were purposefully vague as to the alleged “relationship” between Mr.
     LaPierre and Ms. Allen, but entrepreneurial reporters at mainstream and online publications
     combed social media and populated subsequent articles with photos that played-up the alleged
     “relationship” that Mr. Winkler referenced in his April 22 letter. 29

55. With the negative stories circulating about this alleged “relationship,” NRA spokesman Andrew
     Arulanandam provided clarifying background about the business relationship between Ms. Allen
     and the NRA, but the damage to Mr. LaPierre and the NRA (and to Ms. Allen) was done.30

56. From my review of Mr. Winkler’s letters and the accompanying press coverage, it is clear that the
     financial arrangements questioned in national headlines were made possible by Ackerman. While
     negative press articles swirled around both the NRA and Ackerman, Ackerman ensured doubt and
     suspicion raised about the arrangements in question was directed solely at the NRA and its
     leadership. This effort was accomplished via carefully crafted media framing.

C. IN MY OPINION, IN THE MONTHS FOLLOWING THE NRA’S FIRST LAWSUIT AGAINST ACKERMAN IN
   APRIL 2019, ACKERMAN PROACTIVELY                 RELEASED NUMEROUS PUBLIC STATEMENTS THAT

   GENERATED SIGNIFICANT NEGATIVE MEDIA ATTENTION FOR THE NRA.

57. With the stage set by negative stories generated as described above, Ackerman undertook efforts
     to keep the story alive --commonly referred to as “giving it legs” in the PR industry-- by releasing
     numerous damaging new releases from April through December 2019.

58. I reviewed nine Ackerman press statements from April 2019 through December 2019 —all
     designed to create negative, unwanted media attention for its former client, the NRA. These
     statements attempted to justify and/or defend Ackerman’s representation of the NRA, to highlight



 ____________________________________
     28
        See Megan Allen email exchange with Nader Tavangar – May 2016.
     29
        See Tweet DTwyan @dtwyman – May 13, 2019 with photo of Ms. Allen on a pink flamingo in a pool.
     30
        Hakim, Danny, “At the N.R.A., a Cash Machine Sputtering,” New York Times, May 14, 2019.

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     what the agency termed “serious governance and legal issues in the NRA,” and to position
     Ackerman as the victim in this dispute.”31 32

59. Given that these statements did not address new facts, these press statements were issued for one
     reason: to generate negative news coverage and disrupt the NRA’s relationship with its key
     stakeholders. For example, a statement made by Ackerman on July 3, 2019 states that the NRA is
     “pursuing groundless litigation against the company” and is “threaten[ing] our people with the loss
     of their employment and benefits.33 Based on my review of media statements by the NRA during
     this time period and discussions with NRA executives34, no new information was provided by this
     Ackerman statement, the day before the Fourth of July. The statement’s timing is shrewd and
     calculated, given that the July 4 holiday gave the news media ample time to cover the story — but
     potentially complicated the NRA’s ability to timely respond given the national holiday.

60. On that same day, Josh Kovensky, an investigative reporter with Talking Points Memo, published
     an article, “Jilted NRATV firm accuses gun group of ‘hurting as many people as possible.” In the
     article, Kovensky makes the same points that Ackerman makes in its press statement.35

D. IN MY OPINION, BREWER, ATTORNEYS & COUNSELORS’ PR INVOLVEMENT WITH THE NRA WAS
   COMMONPLACE FOR A CLIENT FACING MULTIPLE LITIGATION AND REGULATORY CHALLENGES.

   INVOLVING THE PR ARM OF A LITIGATION FIRM                  IN THE LEGAL AND REGULATORY MATTERS IN

   WHICH THE FIRM IS INVOLVED IS A WELL-ESTABLISHED, CUSTOMARY AND NORMAL PRACTICE.

61. Ackerman, through their attorneys, advanced the argument that Brewer, Attorneys & Counselors
     was seeking to replace Ackerman as the NRA’s advertising and public relations firm. This claim
     lacks merit for several reasons.

62. First, it is commonplace for law firms to have in-house public relations or public affairs
     professionals, as Brewer does. These PR practitioners often work closely with attorneys, clients
     and the client’s external PR counsel. A 2016 PR News article highlights, “Today, members of the


 ____________________________________
     31
         Ackerman Press Statements April 15, 2019, May 29, 2019, June 26, 2019, June 26, 2019, July 3, 2019, August
     30, 2019, September 13, 2019, October 29, 2019 and December 28, 2019.
     32
        AMc Statement, Dec. 28, 2019, The Oklahoman – “Will NRA Get Insider Info,”
     33
        July 3, 2019 Statement from Ackerman McQueen
     34
        Discussion with Andrew Arulanandam, Managing Director, Public Affairs for the NRA.
     35
        Kovensky, Josh, “Jilted NRATV Firm Accuses Gun Group of “Hurting As Many People As Possible,” Talking
     Points Memo, July 3, 2018.

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     ‘Am Law 100’ (the top 100 law firms) have in-house marketing and PR arms and use PR
     agencies.36

63. Second, Brewer has a small, three-person in-house public affairs group that works in the field of
     legal communications and crisis management. At times, this group included four professionals,
     but, based on a review of Brewer-related communications and media reports involving BAC
     clients, none of these professionals likely worked on NRA matters on a full-time basis. Brewer’s
     PR group does not possess the number of professionals, experience or the skill sets necessary to
     handle the expansive suite of communications services required by the NRA.

64. Specifically, the Services Agreement lists the following services that Ackerman is required to
     provide37:

     a. Public Relations/Crisis Management/Strategic Marketing Services

     b. Advertising/Creative Services

     c. Media Planning and Placement Services

     d. Owned Media Services

     e. Digital Systems Operations Support

65. To paraphrase relevant language from the Services Agreement that highlights the requirements
     that Ackerman is required to meet, Brewer would be unable to “warrant and represent that it
     possessed the capability, necessary personnel, political strength, equipment and other related items
     to perform such services.”38

66. Third, it is common in the public relations industry, particularly with clients facing a multitude of
     legislative and regulatory issues, to seek public relations counsel from different sources. On
     matters related to the NRA, the assistance provided by Brewer personnel about PR-related legal
     matters would complement – not conflict with – Ackerman’s representation of the NRA.

67. The Council of Public Relations Firms has written about clients working with multiple firms.
     Specifically, the organization states: “There will likely be times when you will be working with

 ____________________________________
     36
        https://www.prnewsonline.com/law-firm-pr
     37
        NRA-AMc_00183414
     38
        Ibid

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     more than one outside agency. Integrating multiple agencies effectively – a public relations firm,
     an advertising agency and a direct marketing group, for example – will require a deft touch and a
     firm hand from the client contact(s)…Healthy competition is good – but a cooperative spirit among
     all of the players is even better.”39

68. Fourth, nothing in the Services Agreement indicates that Ackerman was the exclusive public
     relations firm to the NRA or that the NRA was precluded from working with other PR counsel if
     the Association chose to do so. It is my understanding that the NRA used a variety of
     communications firms in the past. In fact, the only limitation on work contained in the Services
     Agreement rests with Ackerman. The Services Agreement highlights that “AMc shall not represent
     any other entity in public relations services directly competitive with NRA without NRA’s prior
     written approval.”40 No such provision applies to the NRA.

69. In addition, I reviewed a declaration from Travis Carter, Managing Director, Brewer Public
     Affairs, dated March 4, 2020, in which Mr. Carter declares that the Brewer firm has never viewed
     itself as a competitor to Ackerman. In fact, Mr. Carter says the law firm was a client of the agency
     for many years – “an arrangement that continued until 2019.”

70. Mr. Carter testifies that Ackerman provided “many services for the Brewer firm, including, but
     not limited to, design and management of multiple websites, creative development of
     advertisements, video production, brand and log development, and design and implementation of
     marketing materials for the law firm’s charitable foundation.”

71. From speaking with Mr. Carter, I understand the Brewer firm, over the years, paid Ackerman
     professional fees in excess of seven figures.

72. I also know that Mr. Makris testified that Ackerman (via Mercury Group) was employed by the
     Brewer firm to provide media and PR services for Brewer clients. Bizarrely, Mr. Makris testified
     during recent court proceedings before Judge Harlin D. Hale that he terminated a 2006 relationship
     with the Brewer firm because of ethical considerations.41 My review of communications between
     Mr. Makris and Mr. Brewer, dated March 6, 2006, and March 16, 2006, respectively, indicates Mr.
     Makris did not resign from this account because of ethical concerns involving Mr. Brewer, but

 ____________________________________
     39
        https://prcouncil.net/wp-content/uploads/2011/04/working.pdf
     40
        NRA-AMc_00183422
     41
        T. Makris, testimony in NRA / Sea Girt Motion to Appoint Examiner, p. 132, lines 4-5

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     rather, because principals from the Brewer firm advised the Mercury Group that the firm sought
     to decrease the personal involvement of Mr. Makris in this assignment – in favor of other Mercury
     Group professionals. Proceeding his “resignation” from this account, Mr. Makris wrote Mr.
     Brewer, “When you told Bill [Powers]42 you wanted me off the field, you made it impossible for
     us to play our game.” It appears Mr. Makris’s “ethical concerns” about Mr. Brewer are contradicted
     by this communication, and the fact that Ackerman continued its professional relationship with the
     Brewer firm for more than 13 years after the dispute referenced in Mr. Makris’s oral testimony.
     These facts indicate that Mr. Makris’s testimony is not accurate.

E. IN SUMMARY AND RIGHT TO UPDATE AND SUPPLEMENT
73. In summary, it is my professional opinion that Ackerman engineered and promoted a sophisticated
     and aggressive PR and communications campaign against the NRA – to the detriment of the NRA,
     its senior officials, and its advisors. Such activity violates the professional and ethical obligations
     communications firms owe to their clients, both current and former. This campaign, designed to
     tarnish the NRA’s reputation, was unlike any other I have ever witnessed in my professional career.

74. Ackerman also directed an earned media campaign aimed at the most unlikely of targets: the
     Brewer law firm, outside counsel to the NRA on a variety of legal and regulatory matters. This
     campaign was based upon a contrived and impossible notion: that the Brewer firm, with its small
     communications team, sought to replace Ackerman as the Association’s leading PR and crisis
     management firm. Not only does the Brewer firm, like most law firms, lack the headcount to
     provide such services, it would appear the firm lacks the desire to work in such a generalized
     capacity. It is clear the firm provides strategic and customized PR and communications services –
     most often associated with matters and issues in which the law firm is directly involved. There is
     nothing in the public record to indicate the Brewer firm has ever endeavored to become a full-
     service PR agency or communications firm.

75. Law firms often supplement the professional PR resources of their clients and the agencies those
     clients employ. Likely because Ackerman recognized these arrangements are not unusual, the
     agency’s attack on the Brewer firm did not publicly commence until Ackerman’s billing
     arrangements and work came under scrutiny by the NRA.


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     42
          EVP, Public Relations at Ackerman.

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76. My report, with supporting schedules and exhibits, is contained herein and presents my opinions
     and the bases and reasons thereof. I reserve the right to consider any new or additional information
     produced by either party and update and amend my report, as necessary, up to the point of my
     intended testimony. This report was prepared solely for the above-captioned matter and should not
     be used for any other purpose without prior written authorization.




                                                                  Respectively submitted,




                                                                  Matthew N. Klink
                                                                  June 15, 2021




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Exhibit A
Matthew N. Klink
Curriculum Vitae
Expert Witness

Media and Communications Expert
Matt Klink is an award-winning public relations, communications and marketing executive with
almost three decades of hands-on professional and political experience. He has been an owner and
partner in a number of public affairs and strategic communications firms, as an in-house executive for
a Fortune 150 company, where he served as a director of global government affairs, and as the owner
of a boutique strategic communications and public affairs firm for more than 20 years. Matt has
provided senior-level strategic counsel to hundreds of clients in a range of industries, including
business, trade association, government and non-profit organizations at the local, state, national and
international levels.


Matt is a recognized expert in crisis communication, reputation management, image repair and
strategic counseling. He has created public relations and communications programs for clients in
preparation for and during litigation and previewing potential outcomes to key audiences in order to
create and shape an environment favorable to the client’s position. Matt has successfully prepared
post-verdict communications strategies to publicize favorable verdicts, diminish less-than-favorable
verdicts and present his clients and their legal counsel in the best possible light.


Matt Klink’s Areas of Expertise
    •   Brand Management                                   •   Reputation Management
    •   Crisis Communication and Management                •   Strategic Communications
    •   Media Training                                     •   Stakeholder Engagement
    •   Public Relations                                   •   Social Media

Professional Experience
Matt has almost three decades of experience working on complex, controversial and high-profile
issues for public and private sector clients, as well as candidates for elected office and ballot measure
campaigns.



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Throughout his career, Matt has worked for numerous clients encompassing a range of industries and
subjects,   including   automotive,    cable,   energy,   fast-moving     consumer     goods,     finance,
healthcare/pharmaceutical, oil and natural gas, retail, shipping, sports and entertainment,
telecommunications, water and other regulated and taxed industries. Additionally, Klink has worked
on candidate and initiative campaigns at multiple levels of government, where he has performed a
variety of roles that include general consulting, campaign management, media consulting, campaign
spokesperson, direct mail design and production, and coalition building.


Matt is an adept communicator skilled at crafting and implementing strategic campaigns and crisis
communication programs. He has substantial experience in integrating grassroots outreach and
alliance development efforts to support lobbying activities. An award-winning writer, Klink has
developed effective messaging and captivating copy to meet a variety of client needs, including
targeted direct mail, speeches, brochures, op-eds, and other types of traditional, online and digital
materials. Skilled at working with the news media, Matt has functioned as a spokesperson and primary
media contact for many corporate clients and statewide initiative campaigns. He has appeared on
national and local television news broadcasts on behalf of his clients and offered political analysis and
commentary.


Matt’s past work experience includes a senior-level position as Director of Government Affairs for
Philip Morris International, based in Lausanne, Switzerland. He led a team that created and executed
communications and stakeholder outreach programs on regulatory and fiscal issues in more than 35
countries on six continents. Klink has also been an owner and partner of two Los Angeles-based public
affairs and government relations firms. Matt also worked as a corporate communications consultant
to America Honda Motor Co., Inc. and, while living in Arlington, Virginia, as a media consultant to
candidates for U.S. Congress and the Virginia House of Delegates.


Matt holds a MA in political management from The George Washington University’s Graduate School
of Political Management and a BA in history from the University of California at Berkeley. He serves
as the General Secretary for the International Association of Political Consultants.




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Exhibit B – Documents Considered


Court Cases:
Plaintiff’s Second Amended Complaint, NRA and Wayne LaPierre v Ackerman McQueen, Inc. and
Mercury Group, Inc., U.S. District Court for the Northern District of Texas, Dallas Division

Counter-Plaintiff Ackerman McQueen, Inc.’s Second Amended Counterclaim, NRA and Wayne
LaPierre v Ackerman McQueen, Inc. and Mercury Group, Inc., U.S. District Court for the Northern
District of Texas, Dallas Division

Affidavit of Andrew Arulanandam, The People of the State of New York against Ackerman McQueen
and the National Rifle Association, Supreme Court of the State of New York, County of New York
(Index No. 451825/2019)

Affidavit of Andrew Arulanandam in Support of the NRA’s Motion for Leave to Renew and Reargue
and for a Stay of Any Further Document Production in Response to the Attorney General’s Subpoena,
The People of the State of New York against Ackerman McQueen and the National Rifle Association
(Index No. 451825/2019)

Declaration of Andrew Arulanandam, NRA and Wayne LaPierre v. Ackerman McQueen, Inc. and
Mercury Group, Inc., United States District Court for the Northern District of Texas, Dallas Division

Document 122, Filed 05/04/20, Page 198 of 509, Page ID 8137, Declaration of Andrew Arulanandam,
NRA and Wayne LaPierre v. Ackerman McQueen, Inc. and Mercury Group, Inc., United States
District Court for the Northern District of Texas, Dallas Division

Affidavit of Travis J. Carter, NRA v. Ackerman McQueen, Inc. and Mercury Group, Inc., Virginia: In
the Circuit Court for the City of Alexandria

Declaration of Travis J. Carter., NRA and Wayne LaPierre v. Ackerman McQueen, Inc. and Mercury
Group, Inc., United States District Court for the Northern District of Texas, Dallas Division

Document 122, Filed 05/04/20, Page 190 of 509, Page ID 8129, Declaration of Travis J. Carter, NRA
and Wayne LaPierre v. Ackerman McQueen, Inc. and Mercury Group, Inc., United States District
Court for the Northern District of Texas, Dallas Division

Depositions and Hearings
In the Matter of: National Rifle Association and Sea Girt – deposition of Corporate Representative of
Ackerman McQueen by and through William Winkler dated March 26, 2021

In the Matter of: National Rifle Association and Sea Girt – testimony of Tony Makris dated April 16,
2021




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Other Documents:
Public Relations Society of America Code of Ethics https://www.prsa.org/about/prsa-code-of-ethics –
No Date

American Association of Political Consultants Code of Professional Ethics https://theaapc.org/wp-
content/uploads/2015/10/AAPC-Code-of-Ethics.pdf - No Date

Services Agreement, May 1, 1999 (NRA-AMc_00163614 to MRA-AMc_00163623)

Email Exchange from Megan Allen to Nader Tavangar and Eric Van Horn, June 2, 2016

Services Agreement, April 30, 2018 (NRA-AMc_00183414 to NRA-AMc_00183424)

Amendment No. 1 to Services Agreement, May 6, 2018 (NRA-AMc_00057325 to NRA-
AMc_00057326)

Memo to all NRA Employee Retirement Plan Participants and/or Beneficiaries from Shawne Soto re:
2018 Annual Funding Notice – NRA Employee Retirement Plan, April 15, 2019

Note to John Frazier and William “Wit” Davis from Oliver North re: Formation of Special Committee
on Crisis Management (undated)

Letter to John Frazier and Charles Cotton from Oliver North re: Brewer Attorneys & Counselors, April
18, 2019

Memo to NRA Executive Committee from Oliver North re: Formation of a Crisis Management
Committee, April 25, 2019

Letter to NRA Board from Wayne LaPierre, April 25, 2019

Picture of Annual Meeting Minutes, NRA Annual Meeting, Indianapolis, IN, April 27, 2019

Statement of Lt. Col. Oliver North to the NRA Board, April 27, 2019

Open Letter to NRA Membership from Steve Hoback, NRA Training Counselor, April 29, 2019

Open Letter to NRA Board of Directors from Andrew Lander, NRA Senior Training Counselor, April
29, 2019

Email to Bill Winkler from Andrew Arulanandam re: Recent Confidentiality Violations and Requested
Affirmations to Angus McQueen, Bill Powers, Bill Winkler, Melanie Montgomery, Nader Tavangar,
Revan McQueen and Tony Makris (May 6, 2019)

Email to Andrew Arulanandam from David Dickieson (Schertler & Onoroto, L.L.P.) re: letter response
to requested affirmations (May 7, 2019)




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Letter to Anthony Makris (Ackerman) from William Brewer (Brewer, Attorneys & Counselors) re:
Ackerman services provided to Brewer, Attorneys & Counselors, f/k/a Bickel & Brewer (March 3,
2006).

Letter to William Brewer (Brewer, Attorneys & Counselors) from Anthony Makris (Ackerman) re:
Ackerman services provided to Brewer, Attorneys & Counselors, f/k/a Bickel & Brewer (March 16,
2006).

Ackerman-McQueen Media Statements
April 19, 2019
May 29, 2019
June 26, 2019
July 3, 2019
August 30, 2019
September 13, 2019
Oct. 29, 2019
December 28, 2019

Ackerman-McQueen Documents
April 22, 2019 letters from William Winkler to Wayne LaPierre re: expenses

News Articles
Rupal Parekh, “The NRA and Ackerman McQueen: One of the strongest relationships in AdLand,”
AdAge, March 11, 2019 (https://adage.com/article/agency-news/nra-ackerman-mcqueen-strongest-
relationships-adland/240218)

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ad-firm-ackerman-mcqueen)

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(https://www.newyorker.com/news/news-desk/secrecy-self-dealing-and-greed-at-the-nra)

Kovensky, Josh, “WSJ: NRA Chief Asked About Bills for Expensive Suits, Overseas Travel, Talking
Points Memo, May 3, 2019 (https://talkingpointsmemo.com/muckraker/wayne-lapierre-travel-
expenses-nra)

Maremont, Mark, “Leaked Letters Reveal Details of NRA Chief’s Alleged Spending, Wall Street
Journal, May 11, 2019 (https://www.wsj.com/articles/leaked-letters-reveal-details-of-nra-chiefs-
alleged-spending-11557597601)

Brigham, Bob, “BUSTED: National Rifle Association caught spending $275,000 at Beverly Hills
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                         EXHIBIT 5




                                                                       APP. 00063
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        VIRGINIA:
                                    IN THE CIRCUIT COURT FOR THE
                                         CITY OF ALEXANDRIA

        NATIONAL RIFLE ASSOCIATION OF                     §
        AMERICA,                                          §
                                                          §
                Plaintiff,                                §
                                                          §
                               v.                         §
                                                          §   Civil Case No. CL1900175_7;
                                                                                         OJ
        ACKERMAN MCQUEEN, INC.                            §                              --<   .>
                                                                                               ,•
                                                          §                        CJ
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                                                                                   ··ci                  ·_,::
        and                                               §                         ,-
                                                                                                         1....:>
                                                          §                         --1
                                                                                    -(                   \_._)

        MERCURY GROUP, INC.                               §                                                   ·•-
                                                                                                           -D
                                                          §                          --,..,
                                                                                     _...,
                                                          §                                         ,-
                                                                                                    (

                Defendants.                               §                                         ,-
                                                                                                    7'




        PLAINTIFF'S EMERGENCY MOTION FOR ENTRY OF AN ORDER STAYING THIS
          ACTION SO THAT PLAINTIFF MAY CONDUCT LIMITED DISCOVERY INTO
                     DEFENDANTS' THEFT OF PLAINTIFF'S PROPERTY


              Plaintiff the National Rifle Association of America (the "NRA") hereby moves this

       honorable Court for the issuance of a stay to enable the NRA to conduct limited discovery into

       possible sanctionable conduct and ethical violations involving Defendants Ackerman McQueen,

       Inc. and Mercury Group, Inc. (together, "AMc") and others. Based on the facts that the NRA

       knows thus far, it appears that the conduct of AMc has at least threatened the integrity of the

       litigation process. In order to determine appropriate remedies, it is necessary for the NRA to take

       limited discovery. Accordingly, the NRA requests that the Court enter a brief stay so that it can

       take limited, focused discovery and then decide how to proceed. The grounds for this motion are

       set forth in more detail in the accompanying memorandum in support hereof.




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          WHEREFORE Plaintiff NRA requests that the Court (1) enter an order staying this action

   so that the NRA may conduct limited discovery, (2) authorize the NRA to take the discovery it

   seeks, and (3) grant the NRA all other appropriate relief.


   Dated: May 23, 2019                           Respectfully submitted,




                                                James W. Hundley (VA Bar No. 30723)
                                                Robert H. Cox (VA Bar No. 33118)
                                                Amy L. Bradley (VA Bar No. 80155)
                                                BRIGLIA HUNDLEY, P.C.
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                                                Tysons Comer, VA 22182
                                                j hundley@brigliahundley.com
                                                rcox@brigliahundley.com
                                                abradley@brigliahundley.com
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                                                Facsimile: 703-883-0899




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                                   CERTIFICATE OF SERVICE

          I hereby certify that on May 23, 2019, I caused Plaintiffs Motion for Entry of an Order

   Staying this Action so that Plaintiff May Conduct Limited Discovery Into Defendants' Theft of

  Plaintiffs Property, accompanying memorandum in support, exhibits, and a proposed order to be

  served via electronic mail and first-class mail upon:


  David Schertler
  Schertler & Onorato, LLP
  901 New York Avenue, N.W.
  Suite 500
  Washington, D.C. 20001
  dschertler@ chertlerlaw.com

  Counsel for the Defendants



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                                                  Ji'
                                                James W. Hundley (VA Bar No. 30723)
                                                Robert H. Cox (VA Bar No. 33118)




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                              EXHIBIT A




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                                     CIRCUIT COURT OF VIRGINIA
                                        CITY OF ALEXANDRIA


     NATIONAL RIFLE ASSOCIATION OF                            )
     AMERICA,                                                 )
                                                              )
                 Plaintiff,                                   )
                                                              )
      v.                                                      )      Civil Case No. CL19001757
                                                              )
                                                              )
    ACKERMAN MCQUEEN, INC.; MERCURY                           )
    GROUP, INC.                                               )
                                                              )
                 Defendants.                                  )



                               AFFIDAVIT OF ANDREW ARULANANDAM

            1.        My name is Andrew Arulanandam. I am over twenty-one years old and am fully

    competent to make this affidavit. Unless otherwise noted, I have personal knowledge of all matters

    stated herein.

           2.         I am the Managing Director of Public Affairs of the National Rifle Association (the

    ''NRA"). I have worked for the NRA for more than 18 years.

           3.         As part of my job responsibilities, I attend most NRA board meetings, and

    sometimes coordinate with NRA officers, employees, or professionals who make presentations at

    those meetings.

           4.        I am aware that the NRA often receives technical assistance from meeting-venue

    staff and from Ackerman McQueen, in connection with setting up audio-visual ("AV'')

   equipment and media for presentations at meetings. When confidential or privileged discussions

   occur, AV technicians not properly party to those discussions may be asked to leave the room;

   however, after the technician steps out, the NRA continues to make use of their equipment. It is


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                                                                                                 APP. 00068
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     my understanding that the NRA sometimes authorizes third-party AV technicians to handle

     digital media containing privileged material-for example, to insert the media into a drive for

     "setup" purposes. However, it is never the NRA's intent to thereby disclose the substance of the

     digital media to a third party.

             5.          Ackerman has been a trusted agent of the NRA for many years, including for

     purposes of assisting us with AV technology at meetings. I would never have expected Ackerman

     to copy or misappropriate the contents of any digital presentation media without explicit consent

     from the NRA. Indeed, it is my understanding that the NRA' s contract with Ackerman specifically

     prohibits Ackennan from copying any NRA confidential information without express written

     authorization from the NRA.

             6.         On Monday, April 29, 2019, I attended a meeting of the board of directors of the

    NRA that was held at the JW Marriott hotel in Indianapolis, Indiana, in connection with the NRA' s

    annual meeting.

             7.         The NRA board meeting was held in a large ballroom at the hotel, with a dais and

    large projection screen in the front of the room, seating for the NRA board members and other

    attendees in the middle of the room, and a table with a variety of audio-visual equipment located

    in the back of room behind the seating. The audio-visual equipment included two laptops for

    displaying PowerPoint presentations and other information on the large screen in the front of the

    room. I was cognizant that there were staff assisting with AV setup, but did not specifically note

    their identities.

            8.          After a short recess during the NRA board meeting, Travis Carter of Brewer,

    Attorneys & Counselors approached me and asked whether I knew someone named John who

    might have been assisting with AV in the back of the room. I determined that the individual he



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                                                                                               APP. 00069
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     was talking about was John Popp. Mr. Carter stated that he provided the flash drive to Mr. Popp

     with the Brewer Firm's PowerPoint presentation, and that Mr. Popp copied the presentation to his

     laptop--but then, Mr. Popp and his laptop appeared to have vanished from the meeting room.

            9.      I have known Mr. Popp for a number of years. Mr. Popp is a long-time employee

     of Ackerman McQueen. Mr. Popp has attended numerous NRA board meetings and provides

     technical assistance with the audio-visual equipment used during those meetings. Neither I-nor,

     to my knowledge, anyone at the NRA-ever intended to disclose the contents of Brewer's

     presentation to Mr. Popp.

            10.    Brewer's privileged presentation occurred in an executive session of the NRA

    board meeting, which no one from Ackerman was allowed to attend.

            11.    Not surprisingly, Mr. Carter expressed surprise and dismay that the AV technician

    to whom he had handed the presentation was affiliated with Ackerman. Mr. Carter expressed an

    urgent need to speak to Mr. Popp to ensure the PowerPoint presentation had not been retained on

    Mr. Popp's laptop.

            12.    I informed Mr. Carter that I could call Mr. Popp as I had Mr. Popp's cell phone

    number. (Most attendees are required to hand in their mobile phones to security before entering

    the Board meeting; However, given the nature of my responsibilities, I was allowed to hold on to

    my phones and had them on me when Mr. Carter made this request.) Mr. Carter requested that I

    do so. Mr. Popp answered my call and agreed that I could hand my cell phone to Mr. Carter so

    that Mr. Carter could speak with him.

           13.    I was standing next to Mr. Carter during the call and, although I could not hear Mr.

    Popp's side of the conversation, I could hear Mr. Carter's side of the conversation. Mr. Carter

    twice asked Mr. Popp whether he deleted the PowerPoint presentation that Mr. Carter put on the



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                                                                                              APP. 00070
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      laptop in Mr. Popp's possession. I could tell that Mr. Carter was satisfied by Mr. Popp's assurances

     that the PowerPoint presentation had been deleted from the laptop and no copy of the presentation

     remained in Mr. Popp' s possession.

              14.      If I had been there at the time when Mr. Carter handed the presentation to Mr. Popp

     and realized the content of the Brewer presentation, and specifically its relevance to ongoing

     litigation against Ackerman, I would have certainly advised Mr. Carter against coordinating with

     Mr. Popp, or any Ackerman employee, for purposes of AV setup. Furthermore, regardless of the

     presentation's contents, if I had known that Mr. Popp would retain a copy of the presentation

     without the NRA's consent, or that Ackerman would make additional copies without the NRA's

     consent, I would have strongly recommended to the NRA that Ackerman be barred from the

     meeting altogether. Therefore, in my view, Ackerman's insistence that the NRA waived its

     attorney-client privilege is preposterous. I have worked with Ackerman for years and view this

     incident as reflecting a serious breach of trust. Needless to say, the NRA never intended to disclose

    the substance of the presentation to Ackerman or compromise the NRA's privilege in any way.

             Further affiant sayeth not.




   Sworn to before me this
   ~ day of May, 2019




      COLLEEN PATRICIA SHOEMAKER
              NOTARY PUBLIC
               REG. #7164428
          COMMONWEALTH OF VIRGINIA
       MY COMMISSION EXPIRES OCT. 31. 2020




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    2277-03                                                                                      APP. 00071
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                              EXIDBITB




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                                     VIRGINIA:
                               IN THE CIRCUIT COURT FOR THE
                                     CITY OF ALEXANDRIA


       NATIONAL RIFLE ASSOCIATION OF                    )
       AMERICA,                                         )
                                                        )
                 Plaintiff,                             )
                                                        )
                                                        )
       v.                                               )    Civil Case No. CL19001757
                                                        )
                                                        \
     ACKERMAN MCQUEEN, INC.,                            )
                                                        )
     and                                                )
                                                        )
     MERCURY GROUP, INC.                                )
                                                        )
                 Defendants.                            )
                                                        )
                                                        )



                                AFFIDAVIT OF TRAVIS J. CARTER

      District of Columbia




     BEFORE ME on this day appeared TRAVIS J. CARTER, a person kno\.V11 to me, who did upon
     his oath depose and state:

            I.        My name is TRAVIS CARTER. I am over the age of twenty-one years

     and am fully competent and able to testify herein and able to swear, as do hereby swear,

     that all of the facts and statements herein contained are true and correct and that, except

     as expressly noted otherwise, I have personal knowledge of the same.




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            2.     I am the Managing Director of Public Affairs at Brewer, Attorneys &

      Counselors, outside counsel for the NRA.

            3.     In the days leading up to the NRA's Board of Directors meeting on

     April 29, 2019, the Brewer law firm prepared a privileged and confidential PowerPoint

     presentation for use during the meeting. The meeting was to occur at the JW Marriott

     Hotel in Indianapolis, Indiana, in conjunction with the NRA' s 2019 Annual Meeting.

            4.     The PowerPoint was intended for use during a presentation by William A.

     Brewer III to the NRA Board of Directors. The purpose ofMr. Brewer's privileged and

     confidential presentation was to, among other things, discuss litigation strategy in the

     above-captioned case.     Several of the slides in the presentation contained highly

     confidential information about the lawsuit and other matters.          I understand from

     attorneys at our fmn that the confidential information contained in the PowerPoint

     presentation is protected, as a legal matter, by both the attorney-client privilege and the

     work product doctrine.

            5.     Appropriately, every page of the presentation was marked with the name

     of our law firm ("Brewer") and the legends: "ATTORNEY WORK PRODUCT" and

     "PRIVILEGED & CONFIDENTIAL." A similar legend appears in bold font on the

     cover page of the presentation: "Attorney Work Product; Privileged & Highly

     Confidential."




                                               Page 2



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             6.     Before the meeting, I stored a copy of the PowerPoint presentation on a

      USB "thumb" drive. I then carried the thumb drive on my person to the board meeting,

      at all times keeping it secure and protected.

            7.     On April 29, 2019, I arrived at the location of the board meeting. It was

     in a large hotel ballroom with a dais on one side of the room, seating room for board

     members and others, as well as space in the back of the room with a variety of Audio

     and Visual ("AV'') equipment placed on top of a table. Among the items on the AV

     table were two laptops. I observed that the laptops were connected through cable cords

     to some of the other AV equipment, and the location of the laptops and their

     configuration in relation to the rest of the equipment made it clear that they were being

     used to display PowerPoint and other presentations on the large screen in the front of

     the room for use during the meeting. This configuration did not surprise me: I had

     observed a similar setup at previous NRA board meetings.

            8.     In my experience (including, but not limited to, my experience at other

     NRA board meetings), such configurations are fairly common, and multiple presenters

     make use of a shared laptop or laptops (typically furnished by the meeting venue) to

     display different presentations. This is much more practical than having every presenter

     use his own laptop, because switching multiple laptops "in" and "out" can cause

     disruption and delay as the various AV technical settings are calibrated anew to

     accommodate every new laptop. Rather, presenters use thumb drives and the like to

     display their presentations via the venue-provided laptops. It is my understanding that


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      although AV technicians who are not properly party to privileged conversations may

      be asked to leave the room, presenters use the AV equipment furnished by the

     technicians and may request their assistance "setting up" presentations.            These

     technicians may be entrusted with digital copies of documents for the purpose of

     loading the files onto one device or another. I often verbally confirm that the technical

     staff has not retained the contents of any files handed to him or her and that the

     presentation is deleted from their laptop.

            9.    When I entered the ballroom on April 29, 2019, I saw two individuals

     stationed at the AV area. Recognizing these individuals were operating in the capacity

     of AV professionals, I approached, introduced myself, and explained that I was with

     the Brewer firm and that Mr. Brewer would be making a privileged presentation to an

     executive session of the NRA board.

            10.   In response, one of the individuals-who I later learned was not an

     employee of the meeting venue, but rather an Ackerman McQueen employee named

     John Popp-greeted me and agreed to assist me. He told me it would be easier to run

     the presentation if the P owerP oint file was copied to the laptop's hard drive. I acceded

     to this request because, in my prior experience, running a presentation directly from a

     piece of external media can sometimes slow things down and I wanted to maintain

     physical possession of my thumb drive. I handed Mr. Popp the thumb drive. (The

     thumb drive has a logo on it displaying the former name of our law firm, "Bickel &




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     Brewer.") I then observed Mr. Popp plug the thumb drive into the laptop, and helped

     him select the correct file from the thumb drive.

            11.     Very quickly, Mr. Popp handed back to me the thumb drive and I

     continued to keep it safely in my possession. Mr. Popp then launched the PowerPoint

     off the laptop, causing the first slide of the presentation to open on a large screen at the

     front of the room. (The first slide of the presentation contains our firm's logo and the

     title "Executive Session Briefing," along with confidentiality and privilege legends, but

     no detailed information or legal advice. Therefore, I was comfortable displaying the

     first slide in the presence of the individual who I believed to be an AV technician.) This

     was necessary to "test" that the presentation would display properly.

            12.    Following a short recess of the meeting, and prior to the proceedings

     moving into executive session, I returned to the AV table and was shocked to discover

     that the "technician" and his laptop were gone.

            13.    I immediately turned to Andrew Arulanandam, Managing Director of

     Public Affairs at the NRA, and asked where the person assisting with our AV needs had

     gone. Another NRA representative standing nearby told me and Mr. Arulananadam

     that the AV person had to leave because he had a plane to catch, or words to that effect

     There was then discussion through which I was informed for the first time that Mr. Popp

     works for Ackerman McQueen.

            14.   I could not believe what I had just heard. At no point leading up to this

     moment did I observe or hear anything that could have possibly disclosed that Mr. Popp


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      was an employee of Ackerman McQueen, the litigation adversary di'scussed iri the

      confidential PowerPoint presentation.      Nor had I been advised that anyone from

      Ackerman McQlieen was in the room that day. It was clear to everyone 'that the

      materials to be presented during the executive session of the meeting were highly

      confidential, so much so that all attendees were required to "check in" prior to the

      meeting and tum over their phones and any electronic devices.

            15.      Promptly thereafter, I stated to Mr. Arulanandam that we needed to speak

      directly to Mr. Popp. I asked how we might reach him and Mr. Arulanandam offered

     to call Mr. Popp directly, as the meeting was on recess. (He informed me that he had

     Mr. Popp's number saved on his mobile device.) I did not think that it was necessary

     for me to call Mr. Popp, but Tchose to do so out of an abundance of caution. Twanted

     to confirm that he did not retain a digital copy of the PowerPointpresentation and, if he

     had, I wanted to direct him to delete it. Had he not left without my knowledge, I would

     have personally asked him to delete the PowerPointpresentation from his laptop before

     he left. Mr. Arulanandam called Mr. Popp at my request.

            16.     Mr. Popp answered the phone right away. After Mr. Arulanandam handed

     me the phone, I said to Mr. Popp in sum and substance: I did not know you were

     leaving.     I then asked point blank: "You don't still have the presentation on your

     computer, do you?" He answered: "No, I don't have a copy." I said: "What do you

     mean you don't have a copy?" He then stated in sum and substance: "It is always my

     practice to delete the presentations that I run on my computer." I reminded him that he


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     might have had a copy on his desktop and potentially would have had it in his archived

     files or something to that effect. I asked Mr. Popp to confirm that he deleted the

     presentation not only from the desktop of his laptop but also from any archived folders

     existing on his laptop. He assured me that he did. Mr. Arulanandam was a witness to

     me having a significant part, if not all, of this conversation on his cell phone.

            17.    Subsequently, I used the other laptop that was left in the room after Mr.

     Popp had left to display the PowerPoint presentation during Mr. Brewer's remarks in

     executive session. After the presentation was delivered, I deleted the PowerPoint,

     which I had downloaded from the thumb drive, from the other laptop so that the

     PowerPoint would be erased. I retained possession of my thumb drive to bring the

     device back with me to my office in Dallas, where I currently have the thumb drive in

     my possession.

            18.    Several weeks later, on May 15, 2019, I learned through a letter from

     Ackerman McQueen' s counsel David Schertler that Ackerman McQueen had two

     thumb drives with the PowerPoint presentation on it.         I was shocked to learn that

     Ackerman McQueen was in possession of such material.              First, I knew that the

     presentation previously existed only on one thumb drive and that device was and still

     is in my personal possession. Second, I knew that for someone to have created those

     copies, Mr. Popp must have been untruthful with me during our conversation when he

     said that he had deleted the presentation. Moreover, it shocked me that someone from

     Ackerman McQueen must have participated in a process that involved copying and


                                               Page 7



                                                                                         APP. 00079
Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21               Page 74 of 1087 PageID 30279




      storing the presentation on thumb drives - even as they knew that the presentation they

     were copying-twice-was privileged and highly confidential.

             19.    I have now learned that the two thumb drives were provided by Ackerman

     McQueen's counsel to the NRA via NRA's counsel James Hundley.

            20 .    Also, I understand that Jamente Cooper, Lead Forensic Analyst, Contact

     Discovery Solutions, located in Washington D.C., who was retained by the NRA to

     assist it in this matter, extracted in a forensically sound manner the PowerPoint

     presentations contained on the two thumb drives that had been provided by Ackerman

     McQueen to its counsel, Mr. Schertler. On May 22, 2019, after Mr. Cooper extracted

     the PowerPoint presentations from the two thumb drives, Contact Discovery Solutions

     shared with our firm copies of those two PowerPoint presentations. Our firm then

     compared them to the one contained on the thumb drive I handed to Mr. Popp at the JW

     Marriott on April 29, 2019. After comparing the presentations, our firm is confident

     that the presentation saved on the Ackerman McQueen thumb drives are copies of the

     presentation located on the thumb drive T handed to Mr. Popp on April 29, 2019 .

                                                           /4. I-
                                                       Travis J. Carter

     Sworn to before me t1IB
     '2. 1-. day of May, 2019




                                              Page 8



                                                                                     APP. 00080
Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21   Page 75 of 1087 PageID 30280




                              EXHIBIT C




                                                                       APP. 00081
   Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21                                                          Page 76 of 1087 PageID 30281


~ ~      SCHERTLER & ONORATO, L.L.P.


                                                                       May 15, 2019

           VIA ELECTRONIC MAIL AND FIRST CLASS MAIL

           James W. Hundley
           Briglia Hundley, P .C.
           1921 Gallows Road
           Suite 750
           Tysons Corner, VA 22182

                       RE: Nalio11<1/ Rifle ,1fa'sociatio11 ofAmerica v. A ckemum McOuee11, Inc., CL19001757

           Dear Jim:

                  As you know, this law firm represents Ackerman McQueen in connection with the above-
           captioned litigation. We recently became aware that our client came into possession of a power-
           point presentation used in connection with an Executive Session meeting of the NRA's Board of
           Directors on April 29, 2019. The power-point presentation may contain confidential material. To
           our understanding, at the direction of an attorney or employee of the Brewer Law Firm, the power-
           point presentation was loaded on a laptop computer belonging to Ackerman McQueen and
           remained on that laptop computer when it was retrieved later by an Ackerman McQueen employee.

                 We understand there are two thumb drives that contain a copy of the power-point
          presentation. An attorney in our office, without knowing the contents of the file, opened one of
          the thumb drives, viewed the first cover page and realized that the document appeared to be
          confidential. He immediately closed the file without viewing any of its contents and reported the
          existence of the document to me.

                  The two thumb drives have been secured in a safe in our offices. Our understanding is that
          those are the only two copies of the power-point presentation in our possession or in our client's
          possession. No attorney or other employee at our firm or any other law firm has reviewed the
          power-point presentation nor are we aware of the contents or substance of that document. We
          would be happy to either destroy those two thumb drives or deliver them to you, at your discretion.

                       If you have any questions regarding this matter, please feel free to contact me.

                                                                                                   Sincerely,



                                                                                             ~                   - - - " ' - = - ~-   -




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Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21   Page 77 of 1087 PageID 30282




                              EXHIBITD




                                                                       APP. 00083
Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21                                          Page 78 of 1087 PageID 30283
                                                            DALLAS     I   rl[W 1UHK




                                                   BREWER
                                                   ATTORNEYS & COUNSELORS



                                                             May 16, 2019




    VIAEMAlL

    David Schertler
    Schertler & Onorato, LLP
    901 New York Avenue, N.W.
    Suite 500 West
    Washington, D.C. 20001

           Re:     Your May 15, 2019 Letter to James W. Hundley re National Rifle Association v.
                   Ackerman McQueen, CL 19001757

    Dear David:

            The NRA received your letter to James W. Hundley dated May 15, 2019, in which you
    state that your client Ackerman McQueen came into possession of two thumb drives with a
    Powerpoint presentation used in connection with an Executive Session meeting of the NRA's
    Board ofDirectors on April 29, 2019.

            First, thank you for bringing the issue to the NRA's attention, securing the two thumb
    drives in a safe, and offering to deliver them to the NRA. As each page of the presentation states,
    the presentation at issue is a privileged, confidential document. It is protected not only by the
    attorney-client privilege but also the work product doctrine. As a result, please deliver the two
    thumb drives with the presentation to Mr. Hundley.

           Second, please let me know:

       1. The names, positions, and titles of all who participated in your investigation into how
          Ackerman McQueen came in possession of the privileged presentation and how the
          presentation came to exist on two thumb drives;

       2. Your understanding as to who copied the presentation onto the thumb drives, when, where,
          and why;

       3. Who at Ackerman McQueen reviewed the presentation or 1s otherwise aware of the
          contents of the presentation;

       4. How the thumb drives came into your firm's possession;




                   750 Lexington Avenue, 14th Floor• New York, NY 10022 • 212.489.1400 • I: 212.751.2849 · Brewerattorncys,com


                                                                                                                                 APP. 00084
Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21                   Page 79 of 1087 PageID 30284

  BREWER
     David Schertler
     May 16, 2019
     Page 2

          5. The basis for your statement that you understand that the two thumb drives are the only
             two copies of the presentation in your firm's or in Ackerman McQueen's possession;

          6. The steps that have been taken to ensure that the presentation does not exist in Ackerman
             McQueen's possession on any media other than the two thumb drives; and

          7. Whether the thumb drives at any point contained any other privileged or confidential
             information belonging to the NRA.

             Finally, I ask you to please confirm that Ackerman McQueen is not now nor has ever been,
    to its knowledge, in possession of any other privileged Powerpoint presentations belonging to the
    NRA.



                                                         Sincerely,



                                                         /s/ Svetlana M. Eisenberg
                                                         Svetlana M. Eisenberg




    cc:       John Frazer, General Counsel, The National Rifle Association
              James W. Hundley, Briglia Hundley, P.C.




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    2277-02
                                                                                             APP. 00085
Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21   Page 80 of 1087 PageID 30285




                              EXIDBITE




                                                                       APP. 00086
        Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21                                      Page 81 of 1087 PageID 30286


~ ~             SCIIERTLER & ONORATO, L.L.P


                                                                        May 20, 2019

                   VIA ELECTRONIC MAIL AND FIRST CLASS MAIL

                  Svetlana M. Eisenberg
                  Brewer Attorneys & Counselors
                  750 Lexington Avenue
                  14th Floor
                  New York, New York 10022

                               RE: Nmional Ill/le Associfltio11 of'America v. Ackerman McOuee11, Inc., CL19001757

                  Dear Ms. Eisenberg:

                               I am in receipt of your letter of May 16, 2019 and respond by way of this letter.
                         First, we will hand-deliver today the two thumb drives in our possession to Mr. Hundley
                  as you request.
                          Second, you state that "as each page of the presentation states, the presentation at issue is
                  a privileged, confidential document." (May 16, 2019 letter at p. 1). We do not know what each
                  page of the presentation states. However, the fact that a Brewer Law Firm attorney or employee
                  directed that the power-point be downloaded to a laptop computer that did not belong to the Brewer
                  Law Firm and, in fact, a laptop that belonged to an adversarial party, and then allowed the power-
                  point to remain on that laptop when it was returned to that employee, may well have waived any
                  privilege or confidentiality of the document. Despite our view in this regard, we have elected to
                  return the document to you.
                          Third, the information you request in Paragraphs ( 1) through (7) is protected from
                  disclosure by the attorney-client privilege and we decline to disclose that information to protect
                  the privilege.
                               If you have any questions regarding this matter, please feel free to contact me.




                  cc: James W. Hundley, Esq.




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                                                                                                                   APP. 00087
     Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21                  Page 82 of 1087 PageID 30287

..
        VIRGINIA:
                                   IN THE CIRCUIT COURT FOR THE
                                        CITY OF ALEXANDRIA


         NATIONAL RIFLE ASSOCIATION OF                           )
         AMERICA,                                                )
                                                                 )
                 Plaintiff,                                      )
                                                                 '
         v.                                                      )      Civil Case No. CL19001757
                                                                 )
       ACKERMAN MCQUEEN, INC.,                                   )
                                                                 )
       and                                                       )
                                                                 )
       MERCURY GROUP, INC.                                       )
                                                                 )
                 Defendants.                                     )



                                                     ORDER

               This matter came before the Court on the Plaintiffs Motion for Entry of an Order Staying

       this Action so that Plaintiff May Conduct Limited Discovery Into Defendants' Theft of Plaintiffs

       Property; and

               The Court having reviewed the Motion and determining that good cause exists to support

       the Motion;

               The Plaintiffs Motion for Entry of an Order Staying this Action so that Plaintiff May

       Conduct Limited Discovery Into Defendants' Theft of Plaintiffs Property is hereby GRANTED.

       The action is temporarily stayed for sixty (60) days to permit Plaintiff to conduct limited discovery

       of Defendants. Plaintiff is authorized to issue interrogatories and requests for production of

       documents regarding the misappropriation of Plaintiffs privileged documents during the

       temporary stay. Plaintiff is directed to issue its discovery requests within five (5) days after the

       entry of this Order. Defendants have fifteen (15) days to respond to the discovery requests.

                                                         1
                                                                                                 APP. 00088
     Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21                 Page 83 of 1087 PageID 30288

,,
               It is further Ordered that Plaintiff is authorized to depose John Popp and the corporate

        representative of each defendant under Rule 4:5(b)(6) of the Rules of the Supreme Court of

        Virginia. These depositions are to begin no later than 21 days after the entry of this Order.

               So Ordered this _ _ day of May, 2019.




                                                             Circuit Court Judge


        We ask for this:




        James W. Hundley (VA Bar No. 30723)
        Robert H. Cox (VA Bar No. 33118)
        Amy L. Bradley (VA Bar No. 80155)
        BRIGLIA HUNDLEY, P.C.
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       rcox@brigliahundley.com
       abradley@brigliahundley.com
       Phone:703-883-0880
       Fax:703-883-0899

       Attorneys for the National Rifle Association


       Seen and - - - - - -




       David H. Dickieson (VA Bar No. 31768)
       Schertler & Onorato, LLP
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       Washington, DC 20001
       ddickieson@schertlerlaw.com

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                                                                                                APP. 00089
     Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21              Page 84 of 1087 PageID 30289

,,
        Phone: 202-628-4199

        Attorney for Ackerman McQueen, Inc. and Mercury Group, Inc.




                                                   3
                                                                                       APP. 00090
Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21   Page 85 of 1087 PageID 30290




                         EXHIBIT 6




                                                                       APP. 00091
3/22/2021                            New York State Can’t Be Allowed to Stifle the NRA’s Political Speech | American Civil Liberties Union
         Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21                                        Page 86 of 1087 PageID 30291




         SPEAK FREELY
         New York State Can’t Be Allowed to Stiﬂe the NRA’s
         Political Speech
                       By David Cole, National Legal Director
                       AUGUST 24, 2018 | 5:00 PM
         TAGS: Free Speech




      It’s no secret that New York Gov. Andrew Cuomo is no fan of the National
GNWSUP FOR BREAKING
      Riﬂe Association. A mailer his campaign sent to New York voters this week

ur emailproclaims,
         address   in bold letters: “If the NRA goes bankrupt, I will remember them in
      my thoughts and prayers.”
P code
                                                                                                                                  APP. 00092
https://www.aclu.org/blog/free-speech/new-york-state-cant-be-allowed-stifle-nras-political-speech                                              1/5
3/22/2021                            New York State Can’t Be Allowed to Stifle the NRA’s Political Speech | American Civil Liberties Union
       Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21                                          Page 87 of 1087 PageID 30292
        There’s nothing wrong with the governor singling out a political adversary for
        criticism, or even mockery. That’s just politics, and the NRA itself is no
        stranger to hardball tactics.

        But in a lawsuit the NRA ﬁled against Cuomo this spring, the organization
        contends that he did more than criticize it. The NRA alleges that Cuomo and
        top members of his administration abused their regulatory authority over
        ﬁnancial institutions to threaten New York banks and insurers that associate
        with the NRA or other “gun promotion” groups, and that those threats have
        jeopardized the NRA’s access to basic insurance and banking services in New
        York.

        In the ACLU’s view, targeting a nonproﬁt advocacy group and seeking to deny
        it ﬁnancial services because it promotes a lawful activity (the use of guns)
        violates the First Amendment. Because we believe the governor’s actions, as
        alleged, threaten the First Amendment rights of all advocacy organizations, the
        ACLU on Friday ﬁled a friend-of-the-court brief supporting the NRA’s right to
        have its day in court.

        The state has asked the court to dismiss the case without even permitting
        discovery into the administration’s actions. Our brief supports the NRA’s right
        to discovery on its First Amendment claims. To be clear, the ACLU does not
        oppose reasonable restrictions on guns (you can read more about that here).
        Our position in this case has nothing to do with our opinions on the NRA’s
        policies — it’s about the First Amendment rights of all organizations to engage
        in political advocacy without fear that the state will use its regulatory
        authority to penalize them for doing so.

        Political advocacy organizations like the NRA (or the ACLU or Planned
        Parenthood) need basic business services, like insurance and banking, to
        operate. The NRA says that the state, using its regulatory powers over those
GNWSUP FOR BREAKING
        industries, is threatening ﬁnancial companies that do business with the NRA.

ur emailThe
         addressNRA points to both public and non-public actions taken by the Cuomo
P code administration to penalize it for its views. State oﬃcials issued press releases
                                                                                                                                  APP. 00093
https://www.aclu.org/blog/free-speech/new-york-state-cant-be-allowed-stifle-nras-political-speech                                              2/5
3/22/2021                            New York State Can’t Be Allowed to Stifle the NRA’s Political Speech | American Civil Liberties Union
         Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21                                        Page 88 of 1087 PageID 30293
         and sent threatening letters to banks and insurance companies, and also
         allegedly communicated “backchannel threats” to companies with ties to the
         NRA, warning that they would face regulatory action if they failed to end their
         relationships with the organization.

         If the NRA’s charges are true, the state’s actions would clearly violate the
         First Amendment. Public oﬃcials are, of course, free to criticize groups with
         which they disagree. But they cannot use their regulatory authority to penalize
         advocacy groups by threatening companies that do business with those groups.
         And here the state has admitted, in its own words, that it focused on the NRA
         and other groups not because of any illegal conduct, but because they engage
         in “gun promotion” — in other words, because they advocate a lawful activity.

         Substitute Planned Parenthood or the Communist Party for the NRA, and the
         point is clear. If Cuomo can do this to the NRA, then conservative governors
         could have their ﬁnancial regulators threaten banks and ﬁnancial institutions
         that do business with any other group whose political views the governor
         opposes. The First Amendment bars state oﬃcials from using their regulatory
         power to penalize groups merely because they promote disapproved ideas.

         In April 2018, the New York State Department of Financial Services sent
         “guidance letters” to banks and insurance companies. It wrote, “The
         Department encourages its insurers to continue evaluating and managing their
         risks, including reputational risks, that may arise from their dealings with the
         NRA or similar gun promotion organizations… The Department encourages
         regulated institutions to review any relationships they have with the NRA or
         similar gun promotion organizations, and to take prompt actions to managing
         these risks and promote public health and safety.”

      Two weeks later, the department announced consent decrees with two
      insurers, imposing millions of dollars in ﬁnes and barring them from selling
GNWSUP FOR BREAKING
      consumer insurance products that are endorsed by the NRA. Days later, the

ur emailNRA
         addresssays that its corporate insurance carrier severed ties and said it would
      not provide the NRA with insurance at any price.
P code
                                                                                                                                  APP. 00094
https://www.aclu.org/blog/free-speech/new-york-state-cant-be-allowed-stifle-nras-political-speech                                              3/5
3/22/2021                            New York State Can’t Be Allowed to Stifle the NRA’s Political Speech | American Civil Liberties Union
         Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21                                         Page 89 of 1087 PageID 30294
         The NRA says that it has since had serious diﬃculty replacing its corporate
         insurance because nearly every potential replacement was afraid of being
         investigated by the state. The NRA also says that numerous banks have
         withdrawn bids to provide basic ﬁnancial services because the April letters
         from the state indicated that any association with the NRA could expose them
         to regulatory retaliation.

         The state argues that even if all of the NRA’s claims are true, the First
         Amendment doesn’t apply. We disagree, and as we note in our brief,
         dismissing the NRA case:

                   would set a dangerous precedent for advocacy groups across the political
                   spectrum. Public ofﬁcials would have a readymade playbook for abusing
                   their regulatory power to harm disfavored advocacy groups without
                   tri ering judicial scrutiny.
         There are acceptable measures that the state can take to curb gun violence.
         But using its extensive ﬁnancial regulatory authority to penalize advocacy
         groups because they “promote” guns isn’t one of them.



              Fight for everyone's rights -
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              DONATE NOW

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                    the People it                                                                   but Contraband
 ur email address   Represents                                                                      in Prison
P code                                MARCH 9, 2021                                                 FEBRUARY 18, 2021
                                                                                                                                  APP. 00095
https://www.aclu.org/blog/free-speech/new-york-state-cant-be-allowed-stifle-nras-political-speech                                              4/5
3/22/2021                            New York State Can’t Be Allowed to Stifle the NRA’s Political Speech | American Civil Liberties Union
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                                                                                                                                  APP. 00096
https://www.aclu.org/blog/free-speech/new-york-state-cant-be-allowed-stifle-nras-political-speech                                              5/5
Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21   Page 91 of 1087 PageID 30296




                          EXHIBIT 7




                                                                       APP. 00097
Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21   Page 92 of 1087 PageID 30297




                                                                       APP. 00098
Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21   Page 93 of 1087 PageID 30298




                                                                       APP. 00099
Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21   Page 94 of 1087 PageID 30299




                                                                       APP. 00100
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                                                                       APP. 00101
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                        EXHIBIT 8
                    (Filed Under Seal)




                                                               APP. 00102-APP. 00106
Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21   Page 97 of 1087 PageID 30302




                        EXHIBIT 9
                    (Filed Under Seal)




                                                               APP. 00107-APP. 00110
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                       EXHIBIT 10
                    (Filed Under Seal)




                                                               APP. 00111-APP. 00118
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                       EXHIBIT 11
                    (Filed Under Seal)




                                                               APP. 00119-APP. 00122
Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21   Page 100 of 1087 PageID 30305




                        EXHIBIT 12
                     (Filed Under Seal)




                                                               APP. 00123-APP. 00125
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                          EXHIBIT 13
                       (Filed Under Seal)




                                                               APP. 00126-APP. 00163
Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21   Page 102 of 1087 PageID 30307




                        EXHIBIT 14
                     (Filed Under Seal)




                                                               APP. 00164-APP. 00175
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                        EXHIBIT 15
                     (Filed Under Seal)




                                                               APP. 00176-APP. 00181
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                        EXHIBIT 16
                     (Filed Under Seal)




                                                               APP. 00182-APP. 00191
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                        EXHIBIT 17
                     (Filed Under Seal)




                                                               APP. 00192-APP. 00274
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                        EXHIBIT 18
                     (Filed Under Seal)




                                                               APP. 00275-APP. 00333
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                        EXHIBIT 19
                     (Filed Under Seal)




                                                               APP. 00334-APP. 00417
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                        EXHIBIT 20
                     (Filed Under Seal)




                                                               APP. 00418-APP. 00419
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                        EXHIBIT 21
                     (Filed Under Seal)




                                                               APP. 00420-APP. 00425
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                                 EXHIBIT 22




                                                                       APP. 00426
Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21           Page 111 of 1087 PageID 30316




                                                                              CLOSED,JURY

                                U.S. District Court
                     Eastern District of Virginia - (Alexandria)
                CIVIL DOCKET FOR CASE #: 1:18-cv-00639-LO-JFA


   National Rifle Association of America v. Lockton      Date Filed: 05/29/2018
   Affinity Series of Lockton Affinity, LLC et al        Date Terminated: 11/16/2018
   Assigned to: District Judge Liam O'Grady              Jury Demand: Plaintiff
   Referred to: Magistrate Judge John F. Anderson        Nature of Suit: 110 Insurance
   Cause: 28:1332 Diversity-Breach of Contract           Jurisdiction: Diversity
   Plaintiff
   National Rifle Association of           represented by Robert H. Cox
   America                                                BrigliaHundley PC (Tysons)
                                                          1921 Gallows Rd
                                                          Suite 750
                                                          Tysons Corner, VA 22182
                                                          703-883-9105
                                                          Fax: 703-883-0899
                                                          Email: rcox@brigliahundley.com
                                                          LEAD ATTORNEY
                                                          ATTORNEY TO BE NOTICED

                                                         Amy Lynn Bradley
                                                         BrigliaHundley PC (Tysons)
                                                         1921 Gallows Rd
                                                         Suite 750
                                                         Tysons Corner, VA 22182
                                                         703-883-0880
                                                         Fax: 703-883-0899
                                                         Email:
                                                         abradley@brigliahundley.com
                                                         ATTORNEY TO BE NOTICED

                                                         James W. Hundley
                                                         BrigliaHundley PC (Tysons)
                                                         1921 Gallows Rd
                                                         Suite 750
                                                         Tysons Corner, VA 22182
                                                         (703) 883-0880
                                                         Fax: (703) 883-0899
                                                         Email:




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                                                      jhundley@brigliahundley.com
                                                      ATTORNEY TO BE NOTICED

   Defendant
   Lockton Affinity Series of Lockton   represented by Timothy J. McEvoy
   Affinity, LLC                                       Cameron McEvoy PLLC
                                                       4100 Monument Corner Dr
                                                       Suite 420
                                                       Fairfax, VA 22030
                                                       (703) 273-8898
                                                       Fax: (703) 273-8897
                                                       Email:
                                                       tmcevoy@cameronmcevoy.com
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                      Patrick James McDonald
                                                      Cameron McEvoy PLLC
                                                      4100 Monument Corner Dr
                                                      Suite 420
                                                      Fairfax, VA 22030
                                                      703-273-8898
                                                      Fax: 703-273-8897
                                                      Email:
                                                      pmcdonald@cameronmcevoy.com
                                                      ATTORNEY TO BE NOTICED

   Defendant
   Kansas City Series of Lockton        represented by Timothy J. McEvoy
   Companies, LLC                                      (See above for address)
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                      Patrick James McDonald
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

   Movant
   Bureau of Insurance of the           represented by Patricia Ann Collins McCullagh
   Virginia State Corporation                          State Corporation Commission
   Commission                                          PO Box 1197
                                                       Richmond, VA 23218
                                                       804-371-0445
                                                       Email:
                                                       patricia.mccullagh@scc.virginia.gov



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                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

    Counter Claimant
    Kansas City Series of Lockton           represented by Timothy J. McEvoy
    Companies, LLC                                         (See above for address)
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

                                                           Patrick James McDonald
                                                           (See above for address)
                                                           ATTORNEY TO BE NOTICED

    Counter Claimant
    Lockton Affinity Series of Lockton      represented by Timothy J. McEvoy
    Affinity, LLC                                          (See above for address)
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

                                                           Patrick James McDonald
                                                           (See above for address)
                                                           ATTORNEY TO BE NOTICED

    Counter Defendant
    National Rifle Association of           represented by Robert H. Cox
    America                                                (See above for address)
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

                                                           Amy Lynn Bradley
                                                           (See above for address)
                                                           ATTORNEY TO BE NOTICED

                                                           James W. Hundley
                                                           (See above for address)
                                                           ATTORNEY TO BE NOTICED


     Date Filed    #   Docket Text
     05/29/2018    1   COMPLAINT against Kansas City Series of Lockton Companies, LLC,
                       Lockton Affinity Series of Lockton Affinity, LLC ( Filing fee $ 400,
                       receipt number 0422-6106461.), filed by National Rifle Association of
                       America. (Attachments: # 1 Civil Cover Sheet)(dest, ) Modified on
                       5/31/2018 to correct receipt number (dest, ). (Entered: 05/31/2018)




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  05/29/2018    2   Corporate Disclosure Statement by National Rifle Association of
                    America. (dest, ) (Entered: 05/31/2018)
  05/31/2018    3   Summons Issued as to Kansas City Series of Lockton Companies, LLC,
                    Lockton Affinity Series of Lockton Affinity, LLC. NOTICE TO
                    ATTORNEY: Print out two electronically issued summons and one copy
                    of the attachments for each defendant to be served with the complaint.
                    (Attachments: # 1 Notice)(dest, ) (Entered: 05/31/2018)
  05/31/2018    4   NOTICE of Appearance by Timothy J. McEvoy on behalf of Kansas City
                    Series of Lockton Companies, LLC, Lockton Affinity Series of Lockton
                    Affinity, LLC (McEvoy, Timothy) (Entered: 05/31/2018)
  05/31/2018    5   NOTICE of Appearance by Patrick James McDonald on behalf of Kansas
                    City Series of Lockton Companies, LLC, Lockton Affinity Series of
                    Lockton Affinity, LLC (McDonald, Patrick) (Entered: 05/31/2018)
  06/05/2018    6   NOTICE of Appearance by James W. Hundley on behalf of National
                    Rifle Association of America (Hundley, James) (Entered: 06/05/2018)
  06/05/2018    7   NOTICE of Appearance by Amy Lynn Bradley on behalf of National
                    Rifle Association of America (Bradley, Amy) (Entered: 06/05/2018)
  06/18/2018    8   Motion to appear Pro Hac Vice by Brenton Tippett Culpepper and
                    Certification of Local Counsel Timothy J. McEvoy by Kansas City Series
                    of Lockton Companies, LLC, Lockton Affinity Series of Lockton
                    Affinity, LLC. (McEvoy, Timothy) (Entered: 06/18/2018)
  06/18/2018        Electronic Fee Payment - Pro Hac Vice as to 8 Motion to appear Pro Hac
                    Vice by Brenton Tippett Culpepper and Certification of Local Counsel
                    Timothy J. McEvoy by Kansas City Series of Lockton Companies, LLC,
                    Lockton Affinity Series of Lockton Affinity, LLC. Filing fee $ 75, receipt
                    number 0422-6137115.. (McEvoy, Timothy) (Entered: 06/18/2018)
  06/18/2018    9   Motion to appear Pro Hac Vice by Tawfiq Saifee Rangwala and
                    Certification of Local Counsel Timothy J. McEvoy by Kansas City Series
                    of Lockton Companies, LLC, Lockton Affinity Series of Lockton
                    Affinity, LLC. (McEvoy, Timothy) (Entered: 06/18/2018)
  06/18/2018        Electronic Fee Payment - Pro Hac Vice as to 9 Motion to appear Pro Hac
                    Vice by Tawfiq Saifee Rangwala and Certification of Local Counsel
                    Timothy J. McEvoy by Kansas City Series of Lockton Companies, LLC,
                    Lockton Affinity Series of Lockton Affinity, LLC. Filing fee $ 75, receipt
                    number 0422-6137150.. (McEvoy, Timothy) (Entered: 06/18/2018)
  06/18/2018   10   Motion to appear Pro Hac Vice by Scott Alexander Edelman and
                    Certification of Local Counsel Timothy J. McEvoy by Kansas City Series
                    of Lockton Companies, LLC, Lockton Affinity Series of Lockton
                    Affinity, LLC. (McEvoy, Timothy) (Entered: 06/18/2018)



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  06/18/2018        Electronic Fee Payment - Pro Hac Vice as to 10 Motion to appear Pro Hac
                    Vice by Scott Alexander Edelman and Certification of Local Counsel
                    Timothy J. McEvoy by Kansas City Series of Lockton Companies, LLC,
                    Lockton Affinity Series of Lockton Affinity, LLC. Filing fee $ 75, receipt
                    number 0422-6137184.. (McEvoy, Timothy) (Entered: 06/18/2018)
  06/19/2018   11   Motion to appear Pro Hac Vice by Michael Lee Smith and Certification of
                    Local Counsel Robert H. Cox Filing fee $ 75, receipt number 0422-
                    6139190. by National Rifle Association of America. (Cox, Robert)
                    (Entered: 06/19/2018)
  06/19/2018   12   Motion to appear Pro Hac Vice by Sarah Brooke Rogers and Certification
                    of Local Counsel Robert H. Cox Filing fee $ 75, receipt number 0422-
                    6139209. by National Rifle Association of America. (Cox, Robert)
                    (Entered: 06/19/2018)
  06/19/2018   13   Motion to appear Pro Hac Vice by William Andrew Brewer III and
                    Certification of Local Counsel Robert H. Cox Filing fee $ 75, receipt
                    number 0422-6139700. by National Rifle Association of America. (Cox,
                    Robert) (Entered: 06/19/2018)
  06/19/2018   14   ANSWER to Complaint , COUNTERCLAIM against National Rifle
                    Association of America by Kansas City Series of Lockton Companies,
                    LLC, Lockton Affinity Series of Lockton Affinity, LLC.(McEvoy,
                    Timothy) (Entered: 06/19/2018)
  06/19/2018   15   Corporate Disclosure Statement by Kansas City Series of Lockton
                    Companies, LLC, Lockton Affinity Series of Lockton Affinity, LLC.
                    (McEvoy, Timothy) (Entered: 06/19/2018)
  06/21/2018   16   ORDER granting 11 Motion for Pro hac vice for Michael Lee Smith.
                    Signed by District Judge Liam O'Grady on 6/21/2018. (dest, ) (Entered:
                    06/22/2018)
  06/21/2018   17   ORDER granting 12 Motion for Pro hac vice for Sarah Brooke Rogers.
                    Signed by District Judge Liam O'Grady on 6/21/2018. (dest, ) (Entered:
                    06/22/2018)
  06/21/2018   18   ORDER granting 8 Motion for Pro hac vice for Brenton Tippett
                    Culpepper. Signed by District Judge Liam O'Grady on 6/21/2018. (dest, )
                    (Entered: 06/22/2018)
  06/21/2018   19   ORDER granting 9 Motion for Pro hac vice for Tawfiq Saifee Rangwala.
                    Signed by District Judge Liam O'Grady on 6/21/2018. (dest, ) (Entered:
                    06/22/2018)
  06/22/2018   20   ORDER granting 13 Motion for Pro hac vice for William Andrew Brewer
                    III. Signed by District Judge Liam O'Grady on 6/21/2018. (dest, )
                    (Entered: 06/22/2018)



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  07/02/2018   21   ORDER granting 10 Motion for Pro hac vice. Signed by District Judge
                    Liam O'Grady on 7/2/2018. (rban, ) (Entered: 07/02/2018)
  07/10/2018   22   ANSWER to Counterclaim re 14 Answer to Complaint, Counterclaim by
                    National Rifle Association of America. (Cox, Robert) (Entered:
                    07/10/2018)
  07/27/2018   23   SCHEDULING ORDER:Initial Pretrial Conference set for 8/29/2018 at
                    11:00 AM in Alexandria Courtroom 501 before Magistrate Judge John F.
                    Anderson. Final Pretrial Conference set for 12/21/2018 at 01:30 PM in
                    Alexandria Courtroom 1000 before District Judge Liam O'Grady.
                    Discovery due by 12/14/2018.. Signed by District Judge Liam O'Grady on
                    7/27/2018. (Attachments: # 1 Magistrate Consent Form, # 2 Pretrial
                    Notice)(awac, ) (Entered: 07/30/2018)
  08/10/2018   24   Consent MOTION to Continue Rule 16(b) Conference by Kansas City
                    Series of Lockton Companies, LLC, Lockton Affinity Series of Lockton
                    Affinity, LLC. (McEvoy, Timothy) (Entered: 08/10/2018)
  08/10/2018   25   ORDER granting in part and denying in part 24 Motion to Continue. The
                    parties shall submit a joint discovery plan by 5:00 p.m. on August 22,
                    2018 as previously required and indicate in the plan whether they believe
                    a Rule 16(b) conference is necessary. If a conference is needed, it will be
                    held before the undersigned at 11 :00 a.m. on September 5, 2018. Signed
                    by Magistrate Judge John F. Anderson on 08/10/2018. (wgar, ) (Entered:
                    08/10/2018)
  08/10/2018        Reset Scheduling Order Deadlines: Initial Pretrial Conference reset for
                    9/5/2018 at 11:00 AM in Alexandria Courtroom 501 before Magistrate
                    Judge John F. Anderson. (wgar, ) (Entered: 08/10/2018)
  08/14/2018   26   ORDER re 13 Motion to appear Pro Hac Vice by William Andrew
                    Brewer III and Certification of Local Counsel Robert H. Cox Filing fee $
                    75, receipt number 0422-6139700. filed by National Rifle Association of
                    America Docket Call set for 9/14/2018 at 10:00 AM in Alexandria
                    Courtroom 600 before District Judge Liam O'Grady. Court finds it
                    necessary to hold a hearing on this matter to make further inquiry into the
                    accuracy of counsels' certifications to this Court. William Andrew Brewer
                    III and Robert H. Cox are ordered to appear before this Court for the
                    hearing. Signed by District Judge Liam O'Grady on 8/14/2018. (awac, )
                    (Entered: 08/14/2018)
  08/22/2018   27   Joint Rule 26(f) Report and Discovery Plan by Kansas City Series of
                    Lockton Companies, LLC, Lockton Affinity Series of Lockton Affinity,
                    LLC.(McEvoy, Timothy) (Entered: 08/22/2018)
  08/23/2018   28   Order Rule 16(b) Scheduling Order - Upon consideration of the
                    representations made by the parties in the Joint Rule 26(f) Report and



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                    Discovery Plan, and taking note of the Scheduling Order entered in this
                    case, the court makes the following rulings: The Joint Discovery Plan
                    filed by the parties is approved and shall control discovery to the extent of
                    its application unless further modified by the court. Signed by Magistrate
                    Judge John F. Anderson on 08/23/2018. SEE ORDER FOR FURTHER
                    DETAILS.(wgar, ) (Entered: 08/23/2018)
  09/04/2018        Reset Deadlines as to Motion Hearing set for 9/13/2018 at 10:00 AM in
                    Alexandria Courtroom 600 before District Judge Liam O'Grady. (Per LO
                    chambers) (clar, ) (Entered: 09/04/2018)
  09/06/2018        Re-Set Deadlines/Hearings Docket Call set for 9/13/2018 at 10:00 AM in
                    Alexandria Courtroom 600 before District Judge Liam O'Grady in re:
                    Motion to appear Pro Hac Vice by William Andrew Brewer III and
                    Certification of Local Counsel Robert H. Cox Filing fee $ 75, receipt
                    number 0422-6139700. Court finds it necessary to hold a hearing on this
                    matter to make further inquiry into the accuracy of counsels' certifications
                    to this Court. William Andrew Brewer III and Robert H. Cox are ordered
                    to appear before this Court for the hearing. (clar, ) (Entered: 09/06/2018)
  09/07/2018   29   Joint MOTION for Entry of Stipulation and [Proposed] Protective Order
                    by National Rifle Association of America. (Cox, Robert) (Entered:
                    09/07/2018)
  09/07/2018   30   Memorandum in Support re 29 Joint MOTION for Entry of Stipulation
                    and [Proposed] Protective Order filed by National Rifle Association of
                    America. (Attachments: # 1 Joint Stipulation and [Proposed] Protective
                    Order)(Cox, Robert) (Entered: 09/07/2018)
  09/11/2018   31   Response to 26 Order,,, Set Hearings,, Robert H. Cox's Response to the
                    Court's Order Setting a Hearing to Review William Andrew Brewer III's
                    Application to Qualify as a Foreign Attorney filed by National Rifle
                    Association of America. (Cox, Robert) (Entered: 09/11/2018)
  09/13/2018   32   PROTECTIVE ORDER - Re Handling and Labeling of Confidential
                    Information. Signed by Magistrate Judge John F. Anderson on
                    09/13/2018. See ORDER for further details. (wgar, ) (Entered:
                    09/13/2018)
  09/13/2018   33   Minute Entry for proceedings held before District Judge Liam
                    O'Grady:Motion Hearing held on 9/13/2018 re 13 Motion to appear Pro
                    Hac Vice by William Andrew Brewer III and Certification of Local
                    Counsel Robert H. Cox Filing fee $ 75, receipt number 0422-6139700.
                    filed by National Rifle Association of America. Counsel enter their
                    appearances and present arguments. Mr. DiMiro admits exhibits 1-5 (held
                    in Clerk's Office). Court revokes motion for pro hac vice. Order to follow.
                    (Court Reporter N. Linnell.)(awac, ) (Entered: 09/14/2018)




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  09/13/2018   34   ORDER REVOKING re 13 Motion to appear Pro Hac Vice by William
                    Andrew Brewer III and Certification of Local Counsel Robert H. Cox
                    Filing fee $ 75, receipt number 0422-6139700. filed by National Rifle
                    Association of America. Mr. Cox will be permitted to remain as Plaintiff's
                    local counsel on this case. Signed by District Judge Liam O'Grady on
                    9/13/2018. (awac, ) (Entered: 09/14/2018)
  09/13/2018   35   Exhibit List by National Rifle Association of America from Motion
                    hearing on 9/13/2018 re: 13 Motion for Pro Hac Vice (awac, ) (Main
                    Document 35 replaced on 9/14/2018) (awac, ). (Entered: 09/14/2018)
  09/17/2018   36   TRANSCRIPT of pro hac vice matters held on 9-13-2018 before Judge
                    Liam O'Grady. Court Reporter Norman Linnell, telephone number 703-
                    549-4626. NOTICE RE REDACTION OF TRANSCRIPTS:The
                    parties have thirty(30) calendar days to file with the Court a Notice of
                    Intent to Request Redaction of this transcript. If no such Notice is
                    filed, the transcript will be made remotely electronically available to
                    the public without redaction after 90 calendar days. The policy is
                    located on our website at www.vaed.uscourts.gov Transcript may be
                    viewed at the court public terminal or purchased through the court
                    reporter before the deadline for Release of Transcript Restriction.
                    After that date it may be obtained through PACER Redaction
                    Request due 10/17/2018. Redacted Transcript Deadline set for
                    11/19/2018. Release of Transcript Restriction set for
                    12/17/2018.(linnell, norman) (Entered: 09/17/2018)
  09/20/2018   37   Consent MOTION for Extension of Time to Complete Discovery / Case
                    Deadlines by Kansas City Series of Lockton Companies, LLC, Lockton
                    Affinity Series of Lockton Affinity, LLC. (McEvoy, Timothy) (Entered:
                    09/20/2018)
  09/21/2018   38   ORDER granting 37 Motion for Extension of Time to Complete
                    Discovery.
                    ORDERED that the motion is granted and the dates in the Joint Discovery
                    Plan and Rule16 Scheduling Order are modified as follows:

                    Substantial completion of document production by October 31, 2018,
                    except for documents responsive to requests for production served after
                    October 1, 2018;
                    Expert disclosures on which a party bears the burden of proof served by
                    November 14, 2018;
                    Rebuttal expert disclosures served by December 14, 2018;
                    Discovery completed by January 14, 2019;
                    Final pretrial conference held on January 18, 2019 at 1 :30 p.m.;
                    Dispositive, Daubert, and in limine motions filed by January 18, 2019;
                    Opposition to dispositive, Daubert, and in limine motions filed by
                    February 1, 2019;



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                      Reply in support of dispositive, Daubert, and in limine motions filed by
                      February 8, 2019.
                      Signed by Magistrate Judge John F. Anderson on 9/21/2018. (wgar, )
                      (Entered: 09/21/2018)
    09/21/2018        Reset Scheduling Order Deadlines: Final Pretrial Conference reset for
                      1/18/2019 at 01:30 PM in Alexandria Courtroom 1000 before District
                      Judge Liam O'Grady. (wgar, ) (Entered: 09/21/2018)
    10/18/2018   39   Motion to appear Pro Hac Vice by Michael William Kirk and
                      Certification of Local Counsel Robert H. Cox Filing fee $ 75, receipt
                      number 0422-6323099. by National Rifle Association of America.
                      (Attachments: # 1 Exhibit A-B)(Cox, Robert) (Entered: 10/18/2018)
    10/18/2018   40   Motion to appear Pro Hac Vice by Charles Justin Cooper and
                      Certification of Local Counsel Robert H. Cox Filing fee $ 75, receipt
                      number 0422-6323124. by National Rifle Association of America.
                      (Attachments: # 1 Exhibit A-B)(Cox, Robert) (Entered: 10/18/2018)
    10/19/2018   41   Consent MOTION for Extension of Case Deadlines by National Rifle
                      Association of America. (Cox, Robert) (Entered: 10/19/2018)
    10/22/2018   42   ORDER denying 41 Motion for Extension of Time to File. Signed by
                      Magistrate Judge John F. Anderson on 10/22/2018. (wgar, ) (Entered:
                      10/22/2018)
    10/22/2018   43   ORDER granting 39 Motion to appear Pro Hac Vice by Michael William
                      Kirk and Certification of Local Counsel Robert H. Cox. Signed by
                      District Judge Liam O'Grady on 10/22/2018. (jlan) (Entered: 10/23/2018)
    10/22/2018   44   ORDER granting 40 Motion to appear Pro Hac Vice by Charles Justin
                      Cooper and Certification of Local Counsel Robert H. Cox. Signed by
                      District Judge Liam O'Grady on 10/22/2018. (jlan) (Entered: 10/23/2018)
    10/23/2018   45   Motion to appear Pro Hac Vice by Jose Joel Alicea and Certification of
                      Local Counsel Robert H. Cox Filing fee $ 75, receipt number 0422-
                      6329991. by National Rifle Association of America. (Cox, Robert)
                      (Entered: 10/23/2018)
    10/23/2018   46   Motion to appear Pro Hac Vice by Nicole Frazer Reaves and Certification
                      of Local Counsel Robert H. Cox Filing fee $ 75, receipt number 0422-
                      6329999. by National Rifle Association of America. (Cox, Robert)
                      (Entered: 10/23/2018)
    10/25/2018   47   ORDER granting 45 Motion for Pro hac vice for Jose Joel Alicea. Signed
                      by District Judge Liam O'Grady on 10/25/2018. (See order for further
                      details). (acha, ) (Entered: 10/25/2018)




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  10/25/2018   48   ORDER granting 46 Motion for Pro hac vice Nicole Frazer Reaves.
                    Signed by District Judge Liam O'Grady on 10/25/2018. (acha, ) (Entered:
                    10/25/2018)
  11/01/2018   49   NOTICE by National Rifle Association of America Of Issuance of
                    Subpoena to Produce Documents (Attachments: # 1 Exhibit AGIA
                    Subpoena)(Cox, Robert) (Entered: 11/01/2018)
  11/01/2018   50   NOTICE by National Rifle Association of America Of Issuance of
                    Subpoena to Produce Documents (Attachments: # 1 Exhibit Chubb
                    Supoena)(Cox, Robert) (Entered: 11/01/2018)
  11/01/2018   51   NOTICE by National Rifle Association of America Of Issuance of
                    Subpoena to Produce Documents (Attachments: # 1 Exhibit Metlife
                    Subpoena)(Cox, Robert) (Entered: 11/01/2018)
  11/01/2018   52   NOTICE by National Rifle Association of America Of Issuance of
                    Subpoena to Produce Documents (Attachments: # 1 Exhibit New Jersey
                    Office of Legislative & Regulatory Affairs Subpoena)(Cox, Robert)
                    (Entered: 11/01/2018)
  11/01/2018   53   NOTICE by National Rifle Association of America Of Issuance of
                    Subpoena to Produce Documents (Attachments: # 1 Exhibit Virginia
                    Bureau of Insurance Subpoena)(Cox, Robert) (Entered: 11/01/2018)
  11/05/2018   54   Motion to appear Pro Hac Vice by Gary Adam Rubin and Certification of
                    Local Counsel Robert H. Cox Filing fee $ 75, receipt number 0422-
                    6350056. by National Rifle Association of America. (Cox, Robert)
                    (Entered: 11/05/2018)
  11/08/2018   55   MOTION for the Issurance of a Letter of Request for the Production of
                    Documents under the Hague Convention by National Rifle Association of
                    America. (Cox, Robert) (Entered: 11/08/2018)
  11/08/2018   56   Memorandum in Support re 55 MOTION for the Issurance of a Letter of
                    Request for the Production of Documents under the Hague Convention
                    filed by National Rifle Association of America. (Cox, Robert) (Entered:
                    11/08/2018)
  11/08/2018   57   Notice of Hearing Date set for November 16, 2018 re 55 MOTION for the
                    Issurance of a Letter of Request for the Production of Documents under
                    the Hague Convention (Cox, Robert) (Entered: 11/08/2018)
  11/08/2018   58   Letter of Proposed Request for International Judicial Assistance.
                    (Attachments: # 1 Exhibit A- Schedule A, # 2 Exhibit B-Schedule B, # 3
                    Exhibit 1)(Cox, Robert) (Entered: 11/08/2018)
  11/09/2018        Set Deadlines as to 55 MOTION for the Issurance of a Letter of Request
                    for the Production of Documents under the Hague Convention. Motion



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                    Hearing set for 11/16/2018 at 10:00 AM in Alexandria Courtroom 600
                    before District Judge Liam O'Grady. (clar, ) (Entered: 11/09/2018)
  11/13/2018        Set Deadlines as to 55 MOTION for the Issurance of a Letter of Request
                    for the Production of Documents under the Hague Convention. Motion
                    Hearing set for 11/16/2018 at 10:00 AM in Alexandria Courtroom 501
                    before Magistrate Judge John F. Anderson. (Per LO chambers) (clar, )
                    (Entered: 11/13/2018)
  11/13/2018        MOTIONS REFERRED to Magistrate Judge: Anderson. 55 MOTION for
                    the Issurance of a Letter of Request for the Production of Documents
                    under the Hague Convention (clar, ) (Entered: 11/13/2018)
  11/13/2018   59   ORDER granting 54 Motion for Pro hac vice for Gary Adam Rubin.
                    Signed by District Judge Liam O'Grady on 11/13/2018. (acha, ) (Entered:
                    11/14/2018)
  11/14/2018   60   Opposition to 55 MOTION for the Issurance of a Letter of Request for the
                    Production of Documents under the Hague Convention filed by Kansas
                    City Series of Lockton Companies, LLC, Lockton Affinity Series of
                    Lockton Affinity, LLC. (McEvoy, Timothy) (Entered: 11/14/2018)
  11/15/2018   61   NOTICE of Appearance by Patricia Ann Collins McCullagh on behalf of
                    Bureau of Insurance of the Virginia State Corporation Commission
                    (McCullagh, Patricia) (Entered: 11/15/2018)
  11/15/2018   62   Motion to appear Pro Hac Vice by Justin Lo and Certification of Local
                    Counsel Patricia McCullagh Filing fee $ 75, receipt number 0422-
                    6364813. by Bureau of Insurance of the Virginia State Corporation
                    Commission. (McCullagh, Patricia) (Entered: 11/15/2018)
  11/15/2018   63   RESPONSE in Support re 55 MOTION for the Issurance of a Letter of
                    Request for the Production of Documents under the Hague Convention
                    filed by National Rifle Association of America. (Cox, Robert) (Entered:
                    11/15/2018)
  11/15/2018   64   MOTION to Quash Third-Party Subpoena to the Bureau of Insurance of
                    the Virginia State Corporation Commission by Bureau of Insurance of the
                    Virginia State Corporation Commission. (McCullagh, Patricia) (Entered:
                    11/15/2018)
  11/15/2018   65   Memorandum in Support re 64 MOTION to Quash Third-Party Subpoena
                    to the Bureau of Insurance of the Virginia State Corporation Commission
                    filed by Bureau of Insurance of the Virginia State Corporation
                    Commission. (Attachments: # 1 Exhibit A)(McCullagh, Patricia)
                    (Entered: 11/15/2018)
  11/15/2018   66   Joint MOTION to Voluntarily Dismiss Without Prejudice by National
                    Rifle Association of America. (Hundley, James) (Entered: 11/15/2018)



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   11/16/2018   67   MOTION to Withdraw 55 MOTION for the Issurance of a Letter of
                     Request for the Production of Documents under the Hague Convention by
                     National Rifle Association of America. (Hundley, James) (Entered:
                     11/16/2018)
   11/16/2018   68   ORDER - Given the joint stipulation of dismissal without prejudice filed
                     by the parties (Docket no.66), the hearing on plaintiff's motion for the
                     issuance of a letter request under the Hague Convention (Docket no. 55)
                     scheduled for November 16, 2018 is cancelled. Signed by Magistrate
                     Judge John F. Anderson on 11/16/2018. (wgar, ) (Entered: 11/16/2018)
   11/16/2018   69   ORDER- The Court has received the parties' Joint Stipulation of
                     Dismissal Without Prejudice (Dkt. 66 ) and finds good cause to DISMISS
                     this action in its entirety WITHOUT PREJUDICE. Signed by District
                     Judge Liam O'Grady on 11/16/2018. (See order for further details). (acha,
                     ) (Entered: 11/16/2018)




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                        EXHIBIT 23
                     (Filed Under Seal)




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                      EXHIBIT 24




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                        EXHIBIT 25
                     (Filed Under Seal)




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                        EXHIBIT 26
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                        EXHIBIT 27
                     (Filed Under Seal)




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                      EXHIBIT 28




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Table of Contents
Tab                                   Description
Key Observations                      Observations resulting from the analysis of media buys
Process Flow                          Overview of the media buy process
Summary                               Summary overview of testing
Reconciliation                        Reconciliation of the documentation received from Ackerman in response to the request for media buy documentation to the listing of
                                      invoices received by FRA from the NRA
Vendors Ranked by Total Spend         Total spend by vendor for NRA Media and NRA Foundation media buys
FOX News Invoices                     List of Fox News invoices for NRA Media and NRA Foundation media buys along with summary table showing breakdown by program


Total Spend by Month                  Monthly spend comparison for NRA Media and NRA Foundation during 2015 and 2016
Unit Cost Comparison (2015)           Monthly comparison of advertisement unit costs by program for media buys on Fox News for 2015
Unit Cost Comparison (2016)           Monthly comparison of advertisement unit costs by program for media buys on Fox News for 2016
Monthly Spend by Program              Trend analysis showing monthly amount spent per month by program for advertisements on Fox News
The Kelly File                        Unit cost trend analysis by program by day
O'Reilly                              Unit cost trend analysis by program by day
Hannity                               Unit cost trend analysis by program by day
Special Report                        Unit cost trend analysis by program by day
The Five                              Unit cost trend analysis by program by day
Fox & Friends                         Unit cost trend analysis by program by day
Fox & Friends First                   Unit cost trend analysis by program by day




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Key Observations
The contract regarding Media Planning and Placement Services states, "Detail of AMC's compensation for Media Services are provided in the "Compensation" Section. Services rendered for such are:
- With NRA's approval, plan and order by written contract or insertion order the print space, radio and television time, or other media to be used for advertising, always endeavoring to secure the best available rates.
AMc shall remain solely liable for payment, to the extent NRA has paid AMc.
- Incorporate the advertising in the required form and forward it to media with proper instructions for fulfillment of the contract or insertion order.
-Diligently check and verify broadcasts, insertions, displays, or other means used to carry the message to ensure proper fulfillment of all media purchases made by AMc on NRA's behalf.
- For direct response paid media advertising (i.e. Infomercial), provide ongoing analysis and ROI to determine most effective media markets, dayparts on a time sensitive basis for redirection or concentration of funds
as evaluation indicates.
-Carefully audit invoices and make timely payment to media and suppliers for space and time purchased by AMc on NRA's behalf."
There appears to be a lack of control surrounding the media buy process. Media purchases are initiated through an undocumented phone call between executives at the NRA and Ackerman McQueen. There is no
documentation regarding NRA's approval.
FRA did not receive any documentation regarding the assessment of the selection of media outlets, dates of airing and/or the price being charged. Allegedly all were determined via verbal discussions. FRA was told
that the negotiation process to determine pricing was proprietary and FRA could not have access to this information.
The media outlets included a gross cost and a 15% commission on their invoices. FRA is unaware if commission was considered in price negotiations. FRA asked Mr. Winkler about the commission amount and he
answered that it was always done this way.
The NRA prepays Ackerman for media purchases and this process resulted in an unspent balance greater than $350k for the period from 2015 and 2016. Two Media Buy pool of funds are maintained by Ackerman
McQueen for the NRA Foundation and NRA Media. The NRA should consider revisiting their agreement with Ackerman McQueen in regards to prepaying media buys as this results in foregone cashflow and interest
on prepaid balances. Ackerman has incentive to obtain pre-payments, as they receive their commission based on the prepayment amount they invoice to the NRA.
The NRA paid more for media than the NRA Foundation, based on average unit cost, in 2016. FRA was not provided with documentation to evidence how the unit cost was derived. Ackerman McQueen explained
the differential may have been due to the political nature of some of the media buys. Documentation should be maintained to explain the reasons for price variances to assess the validity of the expense.

FRA identified invoices from Ackerman McQueen to the NRA Foundation in the NRA's General Ledger. It is FRA's understanding that the General Ledger provided should not contain entries for the Foundation. It
is important to account for expense in the proper entity. This will need to be verified with NRA financial representatives.




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Media Buy Process Flow
The following flow chart represents a high level overview of the media buy process for 2015 and 2016, as described by William Winkler, Chief Financial Officer for
Ackerman McQueen.




                                                                      • Verbal communications occur between Angus McQueen and Wayne LaPierre

                                Payment by                            • Angus McQueen verbally instructs the accounting team to generate an invoice to the
                                                                        NRA for prepayment of the agreed upon services

                                   NRA
                                                                      • Invoice is sent to NRA prior to any execution of media purchases
                                                                      • Ackerman McQueen has immediate use of their fees generated from prepaid media
                                                                        purchases




                                                                      • Angus McQueen directs the account executives to reach out to vendor(s) and negotiate
                                                                        days, times, and rates for media spots
                                                                      • After negotiations are complete, the media outlet sends a cost estimate report for media
                                                                        spots
                     Media Buy                                        • An order is created by Ackerman which reflects the agreed upon services and an
                                                                        accompanying payment is sent to the media outlet


                                                                      • For every week an advertisement is scheduled to run, the media outlet and Ackerman
                                                                        negotiate placement of the advertisements
                                                                      • The media outlet issues a monthly invoice, which reflects the spots run time and any
                                                                        adjustments that deviate from the original order
                                                                      • Ackerman McQueen reconciles each invoice with orders and other relevant documentation
                                                                        to confirm pricing, correct run time, and verify that commercials ran; media outlets issue a
                                     Vendor                             unique advertisement identifier referred to as ISCI code to track where and when
                                                                        advertisements are run
                                                                      • Ackerman confirms advertisements are run by reconciling the invoices to:
                                                                                • the post logs which contain ISCI codes. According to Ackerman these codes
                                                                                 verify the advertisement ran
                                                                                • the Buy Detail to verify unit pricing
                                                                                • the Traffic Directions in order to identify and explain spot changes
                                                                      • Price discrepancies are negotiated for carryover to subsequent invoices or a refund is made
                                                                        to the NRA


Note: FRA tested this process on a sample of 7 invoices, four of which were from the Fox News Network. Notable gaps include: lack of documentation
surrounding the procurement process between Ackerman McQueen and NRA; lack of paper-trail or documentation of instructions to Ackerman accounting and
media account executives for media purchases; and lack of documentation regarding the negotiation process with the media vendors regarding cost, timing etc. The
negotiation process is considered propietary, per Ackerman, and no additional information was provided to FRA to support unit costs.




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Summary of Media Buys
Ackerman provided FRA with support for 27 invoices related to media buys for the time period 2015 and 2016. These media buys were segregated by four categories: 2015 NR Foundation, 2015 NRA,
2015 NRA Annual Meetings, and 2016 NRA Annual Meeting. In addition, media vendor invoices billed to Ackerman were also provided to FRA.



Summary of Procedures Performed: Ackerman defined media buys to FRA as "placements of advertising in external media outlets." Prior to our visit, FRA reviewed the NRA listing of invoices for
2015 and 2016 provided by NRA Counsel (NRA invoice listing), to identify media buy invoices. Based upon this review, FRA believes the invoices Ackerman provided for 2015 and 2016 are reasonable.
Three invoices, provided by Ackerman, were not on the NRA invoice listing and are believed to be NRA Foundation invoices, as NRA Foundation is identified on the invoices.


Of the four categories, FRA reviewed the NRA Foundation and NRA Media vendor invoices as they account for 97% of the total vendor spend. Upon review of these invoices, FRA identified that FOX
News media invoices accounted for 75% of the total media spend for the NRA Foundation and NRA Media. Further analysis was performed on the Fox News invoices and is summarized herein.


Based upon discussions with Ackerman, FRA documented its understanding of the media buy process (see tab 'Process Flow'). To test the process, FRA selected seven media invoices and requested
documentation evidencing the document flow from NRA's request for media service through the ordering, invoicing and airing of media spots.
Summary of Procedures Performed: Ackerman defined media buys to FRA as "placements of advertising in external media outlets." Prior to our visit, FRA reviewed the NRA listing of invoices for
The following table summarizes the total Ackerman invoices billed to the NRA and the total media buys invoices billed to Ackerman. The difference between the two amounts of $357,050 was carried
forward, per Ackerman, into future periods; however, no evidence of the carry forward purchases was provided.


                                                            Ackerman Invoices billed to NRA                     Vendor Invoices billed to Ackerman        Credits from Media        Carried to 2017
                                                                                                                                                          Vendors refunded to             (5)
                                                                                                                                                                    NRA


                                                    Gross               Net           % of Total Quantity        Invoice Net    % of Total Quantity        Amount        Quantity
                                                     (1)                 (2)                                         (3)                                      (4)


NRA Foundation Media                            $    13,550,000   $      11,517,500         50.1%           7   $ 11,485,380            51%         138   $       -             0   $        32,120
NRA Media                                       $    12,306,171   $      10,497,437         45.5%          10   $ 10,464,973            46%         230   $   (29,841)          2   $         2,623
2015 NRA Annual Meetings Media                  $       340,588   $         289,500          1.3%           2   $    284,359             1%          20   $    (5,141)          1   $            (0)
2016 NRA Annual Meetings and Digital            $       857,455   $         728,837          3.2%           8   $    397,950             2%          49   $    (8,580)          2   $       322,307
Media
                                                $   27,054,215    $     23,033,274          100%           27 $ 22,632,663            100%          437 $ (43,561)              5 $         357,050

Definitions:
(1) The amount Ackerman McQueen invoiced to the NRA for media buys prior to the services being rendered, for the period of 2015 and 2016. The gross amount includes the 15% commission, per
the contract between Ackerman and the NRA. In one instance, the media vendor did not charge a commission.
(2) The amount Ackerman McQueen invoiced to the NRA for media buys prior to the services being rendered, for the period of 2015 and 2016. The net amount excludes the 15% commission, per the
contract between Ackerman and the NRA.
(3) The vendor's invoice less 15% for commission.
(4) Overpayments resulting from change in broadcasting schedule, etc. or NRA directed changes to the lineup according to Ackerman McQueen. At the end of the year, these overpayments are either
credited back to NRA or carried forward to the next year. Of the $43,561; $13,720 was credited in 2016 and $29,841 was credited in 2017.
(5) The carry forward amount results from overpayment of vendor invoices. Per Ackerman McQueen, the amount carried forward would be the beginning balance of the amount paid by NRA to
Ackerman, in advance, for the following year.




                                                                                                                                                                                                       APP. 00563
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Reconciliation of Physical Invoices to NRA General Ledger

FRA performed a reconciliation of the documentation received from Ackerman in response to the request for media buy documentation
to the listing of invoices received by FRA from the NRA. The referenced invoices relate to amounts charged to the NRA by Ackerman
for media buys. FRA validated that the listing of invoices ties to the General Ledger provided by the NRA.

The following table shows the yearly amounts for media buys.
Years                    2015 Annual 2016 Annual NRA Foundation NRA Media                    Grand Total
                           Meeting        Meetings       (See Note)
2015                     $    340,588                 $         6,800,000 $ 1,208,228 $          8,348,816
2016                                    $    857,455 $          6,750,000 $ 11,097,943 $        18,705,399
Grand Total              $ 340,588 $ 857,455 $               13,550,000 $ 12,306,171 $ 27,054,215
Note: Seven invoices from Ackerman to the NRA were provided to FRA for media buys in 2015 and 2016 in the
'NRA Foundation' folder. Of those seven invoices, four were identified on the listing of invocies provided by the
NRA totaling $6,550,000 and three (in red in the table below) were not identified on the listing and therefore are
not included in the General Ledger provided to FRA.

The following table shows the information from the invoice listing provided by the NRA along with the information transcribed from the physical invoices received while on-site.
                                                                                                                                                                  1                                                                                                                                                        2
                                                                                                         Information from Invoice Listing Provided by NRA                                                                                                                       Information Transcribed from Invoices
        Category               Type             Year         Invoice Number        Invoice Date         Invoice     Check Number Check Date           Check Amount                                Description                  Net Ackerman       Premium (%)          NRA Folder Name                     Notes                                   Broadcast Order Vendors
                                                                                                      Amount                                                                                                                   to NRA Invoice
2015 Annual Meeting       Invoice               2015              124710             2/20/2015      $ 270,000.00           541379            4/7/2015      $          290,025.00 2015 A/M Media                                $    229,500.00       15%        2015 NR Annual Meetings Media   2015 A/M Media                          Newspaper; Radio; Outdoor
2015 Annual Meeting       Invoice               2015              128112             6/10/2015      $  70,588.24           550240            7/23/2015     $           70,588.24 NRA 2015 Lindy's Sports Annuals               $     60,000.00       15%        2015 NR Annual Meetings Media   NRA 2015 Lindy's Sports Annuals         NRA 2015 Lindy's Sports Annuals

NRA Foundation            Invoice1              2015              129895             7/22/2015      $ 5,000,000.00                                                                                                             $   4,250,000.00      15%        2015 NR Foundation Media        Americal Values Campaign               Fox News Channel: Fox and Friends, Megyn Kelly,
                                                                                                                                                                                                                                                                                                                                       The O'Reily Factor, The Five, Non-cancellable

NRA Media                 Invoice               2015              130885              9/1/2015      $    308,228.00        553467            9/3/2015      $          308,228.00 2015 NRA                                      $     261,993.00      15%        2015 NRA Media                  501(c)(4) -September Fox News -       The Five, O'Reilly, Kelly File, Special Report, and
                                                                                                                                                                                                                                                                                                Clark                                 Hannity
NRA Media                 Invoice               2015              133361            11/17/2015      $ 266,564.00           558866           11/19/2015     $        400,000.00 2015 NRA 501(c)(4) My President                 $     226,579.40      15%        2015 NRA Media                  2015 NRA 501(c)(4) My Defense         Fox News Network LLC, Fox Business Network
NRA Media                 Invoice               2015              133360            11/17/2015      $ 133,436.00           558866           11/19/2015     $        400,000.00 2015 NRA 501(c)(4) My President                 $     113,420.60      15%        2015 NRA Media                  2015 NRA 501(c)(4) My Defense         Fox News Network LLC, Fox Business Network
NRA Foundation            Invoice               2015              133661            12/1/2015       $ 1,500,000.00         561148            12/3/2015     $      2,300,000.00 2015 NRA                                        $   1,275,000.00      15%         2015 NR Foundation Media        501c3 - January/February Fox          N/A
                                                                                                                                                                                                                                                                                                National Cable
NRA Media                 Invoice               2015              133660             12/1/2015      $    500,000.00        561148            12/3/2015     $      2,300,000.00 2015 NRA                                        $     425,000.00      15%        2015 NRA Media                  501(c)(4) - January/February Fox      N/A
                                                                                                                                                                                                                                                                                                National Cable
NRA Foundation            Invoice               2015              133715             12/1/2015      $    300,000.00        561148            12/3/2015     $      2,300,000.00 2015 NRA Media-SID                              $     255,000.00      15%         2015 NR Foundation Media        501c3 - Fox National Cable            N/A
NRA Media                 Invoice               2016              134776              1/5/2016      $    247,943.30        565073            1/26/2016     $        247,943.30 2015 NRA                                        $     247,943.30      0%         2015 NRA Media                  501(c)(4) - Fox National Cable -      N/A
                                                                                                                                                                                                                                                                                                January "Disarmament"
NRA Foundation            Invoice               2016              135119             1/14/2016      $ 2,250,000.00         564934            1/21/2016     $      3,000,000.00 2015 NRA                                        $   1,912,500.00      15%        2015 NR Foundation Media         501c3 - Fox National Cable - March - N/A
                                                                                                                                                                                                                                                                                                May 2016
NRA Media                 Invoice               2016              135117             1/14/2016      $    750,000.00        564934            1/21/2016     $      3,000,000.00 2015 NRA                                        $     637,500.00      15%        2015 NRA Media                  501(c)(4) - Fox National Cable March- N/A
                                                                                                                                                                                                                                                                                                May 2016
NRA Media                 Invoice               2016              136353             2/16/2016      $ 600,000.00           567676            2/23/2016     $        675,036.32 2015 NRA                                        $     510,000.00      15%        2015 NRA Media                  501(c)(4) - Fox (February - April)    N/A
NRA Media                 Invoice               2016              137286             3/17/2016      $ 5,000,000.00         570507            3/25/2016     $      5,000,000.00 Fox News National Schedule                      $   4,250,000.00      15%        2015 NRA Media                  Fox News National Schedule June-      N/A
                                                                                                                                                                                                                                                                                                August base buy + convention
2016 Annual Meetings      Invoice               2016              137296             3/24/2016      $     22,439.00        574906            5/5/2016      $          286,867.05 NRA 2016 Lexington/Evansville 2Q Radio 60     $      19,073.15      15%        2016 Annual Meetings

2016 Annual Meetings      Invoice               2016              137297             3/24/2016      $     54,007.00        574906            5/5/2016      $          286,867.05 NRA 2016 Louisville 2Q Radio 60               $      45,905.95      15%        2016 Annual Meetings
2016 Annual Meetings      Invoice               2016              137298             3/24/2016      $    138,794.00        574906            5/5/2016      $          286,867.05 2016 NRA Annual Meetings Print - Louisville   $     117,974.90      15%        2016 Annual Meetings

2016 Annual Meetings      Invoice               2016              137299             3/24/2016      $     71,627.05        574906            5/5/2016      $          286,867.05 2016 NRA Annual Meetings Print - Louisville   $      60,882.99      15%        2016 Annual Meetings

NRA Foundation            Invoice               2016              137955             4/15/2016      $ 2,500,000.00         573349            4/19/2016     $      5,000,000.00 2015 NRA Media-SID                              $   2,125,000.00      15%        2015 NR Foundation Media         Fox National Cable - c3 -September- N/A
                                                                                                                                                                                                                                                                                                November 7, 2016
NRA Media                 Invoice               2016              137956             4/15/2016      $ 2,500,000.00         573349            4/19/2016     $      5,000,000.00 2015 NRA Media-SID                              $   2,125,000.00      15%        2015 NRA Media                  Fox National Cable September-        N/A
                                                                                                                                                                                                                                                                                                November 7, 2016
NRA Foundation            Invoice               2016              138208             4/26/2016      $ 1,000,000.00                                                                                                             $     850,000.00      15%        2015 NR Foundation Media         Cars for National Radio Promotion N/A
                                                                                                                                                                                                                                                                                                March 16 - August 16, 2016

2016 Annual Meetings      Invoice               2016              138752             5/12/2016      $    200,000.00        579012            6/23/2016     $          200,000.00 NRA 2016 Digital Media- PAID                  $     170,000.00      15%        2016 Annual Meetings            NRA 2016 Digital Media-PAID             Digital Media May - July 2016; Promotional support
                                                                                                                                                                                                                                                                                                                                       for NRATV on Apple TV launch and curated content
                                                                                                                                                                                                                                                                                                                                       promotion
2016 Annual Meetings      Invoice               2016              139828             6/14/2016      $    150,000.00        581529            7/18/2016     $          920,650.21 NRA 2016 Digital Media - Paid                 $     127,500.00      15%        2016 Annual Meetings            NRA 2016 Digital Media-PAID             Promotional support for NRATV on AppleTV
                                                                                                                                                                                                                                                                                                                                       launche and curated content promotion
2016 Annual Meetings      Invoice               2016              139726             6/15/2016      $     70,588.24        581529            7/18/2016     $          920,650.21 NRA 2016 Lindy's Sports Annuals               $      60,000.00      15%        2016 Annual Meetings
2016 Annual Meetings      Invoice               2016              140874             7/14/2016      $    150,000.00        584433            8/25/2016     $          850,738.77 NRA 2016 Digital Media - Paid                 $     127,500.00      15%        2016 Annual Meetings            NRA 2016 Digital Media-PAID             Promotional support for NRATV on AppleTV
                                                                                                                                                                                                                                                                                                                                       launche and curated content promotion
NRA Foundation            Invoice               2016              141020             7/29/2016      $ 1,000,000.00                                                                                                             $     850,000.00      15%        2015 NR Foundation Media        Spot Market Media-c(3)                  N/A


                                                                                                                                                                                                                                                                                                                                                                       APP. 00564
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NRA Media                   Invoice               2016             141002            7/29/2016      $ 2,000,000.00           582580           8/14/2016      $      2,000,000.00 Spot Market Media -c(4)              $   1,700,000.00    15%   2015 NRA Media                   Spot Market Media-c(4)           N/A
2015 Annual Meeting         Adjustment            2016             142043             9/5/2016      $    (5,140.60)          587181           9/29/2016      $        359,775.58                                      $      (5,140.60)          2015 NR Annual Meetings Media    2015 A/M Media                  N/A
2016 Annual Meetings        Adjustment            2017             144626            12/5/2016      $    (4,979.90)          594627           1/5/2017       $      2,195,018.26                                      $      (4,979.90)          2016 Annual Meetings
2016 Annual Meetings        Adjustment            2017             144625            12/5/2016      $    (3,599.99)          594627           1/5/2017       $      2,195,018.26                                      $      (3,599.99)          2016 Annual Meetings
NRA Media                   Adjustment            2017             146779             3/1/2017      $   (29,542.35)          603186           4/13/2017      $      1,252,122.85                                      $     (29,542.35)          2015 NRA Media                  2016 Media Reconciliation
NRA Media                   Adjustment            2017             146767            3/20/2017      $      (298.62)          603186           4/13/2017      $      1,252,122.85                                      $        (298.62)          2015 NRA Media                  Harrisburg TV 30; Credit for WPMT- N/A
                                                                                                                                                                                                                                                                                 TV est 3205 (297.5)
                                                                                                                                                                                                                      $            -
1
 Information obtained from the listing of invoices provided by the NRA to FRA. Note that the information for the invoices listed in red was not included on this listing;
however, the relevant information has been transcribed into those fields.
2
    Information transcribed from the physical documentation received.




                                                                                                                                                                                                                                                                                                                          APP. 00565
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Vendors Ranked by Total Spend for NRA Foundation and NRA Media
Ackerman provided NRA and NRA Foundation media invoices for the following vendors for 2015 and 2016. The following chart shows the
invoice amounts, by network, for the NRA Media and Foundation.

Observation: Fox News accounts for 77% of the total spend for NRA Foundation and 74% of the total spend for the NRA Media; which
accounts for 75% of the total spend.
   Network             NRA Foundation          % of Total            NRA Media      % of Total       Grand Total       % of Total
                            Media
C-FOXNEWS          $            8,771,542         77%            $      7,735,750      74%       $      16,507,292         75%
C-FOXBUS           $              967,731         8%             $        845,476      8%        $       1,813,207         8%
FM-IHEART          $              561,723         5%                                   0%        $         561,723         3%
FM-PRN             $              100,000         1%                                   0%        $         100,000         0%
FM-WEST            $               72,786         1%                                   0%        $          72,786         0%
TV-WTVT            $               43,860         0%             $        88,740       1%        $         132,600         1%
FM-SIRI            $               43,839         0%                                   0%        $          43,839         0%
TV-WKMG            $               41,055         0%             $        53,295       1%        $          94,350         0%
TV-WKRC            $               39,440         0%             $        27,370       0%        $          66,810         0%
TV-KDKA            $               35,445         0%             $        31,620       0%        $          67,065         0%
TV-WBNS            $               34,340         0%             $        12,325       0%        $          46,665         0%
C-CINTWI           $               31,362         0%             $        56,673       1%        $          88,035         0%
C-TAMPIN           $               30,923         0%             $        59,990       1%        $          90,913         0%
TV-WFTV            $               30,804         0%             $        51,344       0%        $          82,148         0%
FM-STATE           $               26,945         0%                                   0%        $          26,945         0%
TV-WNEP            $               26,520         0%             $        36,784       0%        $          63,304         0%
C-COLTWI           $               26,421         0%             $        55,640       1%        $          82,062         0%
C-JACKIN           $               26,024         0%             $        48,579       0%        $          74,603         0%
TV-WGAL            $               24,480         0%             $        34,612       0%        $          59,092         0%
TV-WESH            $               23,375         0%             $        77,435       1%        $         100,810         0%
TV-WJW             $               22,610         0%             $        45,943       0%        $          68,553         0%
TV-WTOV            $               22,508         0%             $        33,082       0%        $          55,590         0%
TV-WHTM            $               20,570         0%             $        30,175       0%        $          50,745         0%
TV-WFLA            $               19,839         0%             $         8,373       0%        $          28,212         0%
TV-WOFL            $               19,720         0%             $        38,675       0%        $          58,395         0%
TV-WOIO            $               19,550         0%             $        31,450       0%        $          51,000         0%


                                                                                                                                     APP. 00566
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                                                              DRAFT Privileged and Confidential
                                                             Prepared at the Request of Counsel
TV-WPXI     $           16,830     0%      $      34,425      0%        $         51,255          0%
TV-WJAX     $           16,490     0%      $      13,813      0%        $         30,303          0%
TV-WTAE     $           16,150     0%      $      18,955      0%        $         35,105          0%
TV-WTSP     $           15,300     0%      $       9,435      0%        $         24,735          0%
TV-WJAC     $           14,705     0%      $      13,813      0%        $         28,518          0%
TV-WFMJ     $           14,620     0%      $      17,765      0%        $         32,385          0%
TV-WCPO     $           14,450     0%      $      13,940      0%        $         28,390          0%
TV-WFTS     $           12,835     0%      $      24,565      0%        $         37,400          0%
TV-WKYC     $           11,900     0%      $      42,840      0%        $         54,740          0%
TV-WEWS     $           10,880     0%      $      22,610      0%        $         33,490          0%
TV-WCMH     $           10,540     0%      $      27,328      0%        $         37,868          0%
TV-WTLV     $           10,200     0%      $      14,450      0%        $         24,650          0%
TV-WHIO     $           10,030     0%      $      10,646      0%        $         20,676          0%
FACEBOOK    $            9,966     0%      $     208,582      2%        $        218,548          1%
TV-WFOX     $            9,937     0%      $      10,646      0%        $         20,583          0%
TV-WTVG     $            8,500     0%      $       9,584      0%        $         18,084          0%
TV-WJHG     $            7,608     0%      $       8,266      0%        $         15,874          0%
TV-WXIX     $            6,375     0%      $      10,646      0%        $         17,021          0%
TV-WJET     $            5,865     0%      $       8,772      0%        $         14,637          0%
TV-WKRG     $            5,780     0%      $       5,993      0%        $         11,773          0%
TV-WLWT     $            5,695     0%      $      33,745      0%        $         39,440          0%
TV-WSYX     $            5,610     0%      $      17,850      0%        $         23,460          0%
TV-WCTV     $            5,483     0%      $       9,733      0%        $         15,215          0%
TV-WCJB     $            5,228     0%      $       8,628      0%        $         13,855          0%
TV-WTTE     $            5,100     0%      $      19,720      0%        $         24,820          0%
TV-WTOL     $            4,760     0%      $      10,774      0%        $         15,534          0%
TV-WEAR     $            4,616     0%      $       7,931      0%        $         12,546          0%
TV-WPMI     $            4,590     0%      $         893      0%        $          5,483          0%
TV-WBRE     $            4,395     0%                         0%        $          4,395          0%
TV-WMBB     $            4,301     0%      $       7,378      0%        $         11,679          0%
TV-WKBN     $            3,740     0%      $       7,421      0%        $         11,161          0%
TV-WICU     $            3,392     0%      $       3,995      0%        $          7,387          0%
TV-WWSB     $            3,315     0%      $       2,295      0%        $          5,610          0%
TV-WOLF     $            2,550     0%      $       4,675      0%        $          7,225          0%


                                                                                                       APP. 00567
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                                                             DRAFT Privileged and Confidential
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TV-WKEF    $            2,423     0%      $         731      0%        $          3,154          0%
TV-WTAJ    $            2,295     0%      $       4,038      0%        $          6,333          0%
TV-WDTN    $            2,168     0%      $       4,123      0%        $          6,290          0%
Google     $            2,107     0%                         0%        $          2,107          0%
TV-WYOU    $            1,887     0%      $       5,495      0%        $          7,382          0%
TV-WJXX    $            1,870     0%                         0%        $          1,870          0%
TV-WYFX    $            1,870     0%      $       2,240      0%        $          4,110          0%
TV-WWCP    $            1,445     0%      $         684      0%        $          2,129          0%
TV-WGFL    $            1,403     0%      $       1,806      0%        $          3,209          0%
TV-WALA    $            1,148     0%      $       5,665      0%        $          6,813          0%
TV-WSEE    $            1,020     0%      $       2,112      0%        $          3,132          0%
TV-WOGX    $              935     0%      $       1,658      0%        $          2,593          0%
TV-WTRF    $              859     0%      $       2,627      0%        $          3,485          0%
TV-WUPW    $              850     0%      $       1,743      0%        $          2,593          0%
TV-WTXL    $              842     0%      $         493      0%        $          1,335          0%
TV-WNWO    $              680     0%      $       2,329      0%        $          3,009          0%
TV-WNBW    $              531     0%                         0%        $            531          0%
TV-WYTV    $              519     0%      $         982      0%        $          1,500          0%
TV-WRGT    $              510     0%      $       1,326      0%        $          1,836          0%
TV-WTWC    $              306     0%      $         344      0%        $            650          0%
TV-WATM    $              272     0%                         0%        $            272          0%
TV-GTRF    $              230     0%      $         514      0%        $            744          0%
TV-WECP    $              136     0%      $         812      0%        $            948          0%
TV-WBRE    $              -       0%      $       4,446      0%        $          4,446          0%
ADSWERVE                          0%      $       3,011      0%        $          3,011          0%
C-CNN                             0%      $     204,428      2%        $        204,428          1%
JAMLOOP                           0%      $     122,582      1%        $        122,582          1%
TV-WATMA                          0%      $       2,032      0%        $          2,032          0%
TV-WHP                            0%      $       3,443      0%        $          3,443          0%
TV-WJXT                           0%      $      10,311      0%        $         10,311          0%
TVWJXX                            0%      $       3,400      0%        $          3,400          0%
TV-WPGH                           0%      $       4,505      0%        $          4,505          0%
TV-WPMT                           0%      $       1,658      0%        $          1,658          0%
Total      $       11,401,445             $ 10,464,973                 $    21,866,418


                                                                                                      APP. 00568
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Reconciling Item
(Note 1)           $                  83,936


Note 1: Invoice 1215-1015-118-1 was recorded on the annual reconciliation, prepared and provided by Ackerman, as a higher amount than
the physical invoice provided by Fox. The discrepancy in these amounts resulted in a difference of $83,935.80. The result of this discrepancy
is that the total carry over balance to 2017 should be $116,055 as opposed to the $32,119.55 shown on the Summary tab for NRA
Foundation. FRA suggests that follow-up questions are asked to Ackerman about this invoice.




                                                                                                                                                APP. 00569
                                                                                       Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21                            Page 144 of 1087 PageID 30349
                                                                                                                                 DRAFT Privileged and Confidential
                                                                                                                                Prepared at the Request of Counsel
FOX News Invoices
The table below details details the spend for NRA, by program. The O'Reilly Factor and the Kelly File represent the largest portion of the
expense at 31% and 27%, respectively.
Program                  NRA Foundation                         NRA Media                               Total Amount       Total % Total
EL/Republican Convention                                     0% $     1,125,440            12%                  1,125,440             6%
Fox & Friends            $        107,247                    1%                             0%                    107,247             1%
Fox & Friends First      $          7,344                    0%                             0%                      7,344             0%
Hannity                  $      1,702,569                   16% $     1,614,688            18%                  3,317,257            17%
O'Reilly Factor          $      2,952,038                   29% $     3,048,308            33%                  6,000,346            31%
Special Report           $      1,035,790                   10% $       728,733             8%                  1,764,523             9%
The Five                 $      1,018,087                   10% $       819,783             9%                  1,837,870             9%
The Kelly File           $      3,496,386                   34% $     1,862,678            20%                  5,359,064            27%
Grand Total              $    10,319,461                   100% $    9,199,630            100%           $    19,519,091           100%
                                                                           Less 15% commission           $    16,591,227
                                                                       Less Invoice 1215-1018-1                   (83,936)
                                                                             Net invoice amount          $    16,507,292 See Note 1 on tab 'Vendors Ranked by Total Spend'

The following table is a transcription of detail from the FOX News invoices:
                                                                                                                                                                 Length
         Invoice             Order Number         Invoice Date Broadcast Month FRA Month                    FRA Year            Program          Date          (Duration of      Commercial Name      Cost                 Net of 15%          Source         FRA Notes
                                                                                                                                                               commercial)
              1015-1411-1          138155             10/25/2015         Oct-15               Oct               2015         Hannity              9/28/2015        1:00       Moms Like Me Rev.2              $49,394.00      $41,984.90   NRA Foundation
              1015-1411-1          138155             10/25/2015         Oct-15               Oct               2015         Special Report       9/30/2015        1:00       My rights                       $35,572.00      $30,236.20   NRA Foundation
              1015-1411-1          138155             10/25/2015         Oct-15               Oct               2015         The Five            10/14/2015        1:00       Moms Like Me Rev.2              $31,092.00      $26,428.20   NRA Foundation
              1015-1411-1          138155             10/25/2015         Oct-15               Oct               2015         The Kelly File      10/14/2015        1:00       My Story                       $114,306.00      $97,160.10   NRA Foundation
              1015-1411-1          138155             10/25/2015         Oct-15               Oct               2015         Hannity             10/15/2015        1:30       Carol Browne                    $74,091.00      $62,977.35   NRA Foundation
              1015-1411-1          138155             10/25/2015         Oct-15               Oct               2015         O'Reilly Factor     10/15/2015        1:00       Freedom Rev1                    $89,580.00      $76,143.00   NRA Foundation
              1015-1411-1          138155             10/25/2015         Oct-15               Oct               2015         Special Report      10/15/2015        1:00       My rights                       $35,572.00      $30,236.20   NRA Foundation
              1015-1411-1          138155             10/25/2015         Oct-15               Oct               2015         Special Report      10/16/2015        1:00       Freedom Rev1                    $35,572.00      $30,236.20   NRA Foundation
              1015-1411-1          138155             10/25/2015         Oct-15               Oct               2015         The Five            10/16/2015        1:00       My rights                       $31,092.00      $26,428.20   NRA Foundation
              1015-1411-1          138155             10/25/2015         Oct-15               Oct               2015         The Kelly File      10/16/2015        1:00       Moms Like Me Rev.2              $76,204.00      $64,773.40   NRA Foundation
              1015-1411-1          138155             10/25/2015         Oct-15               Oct               2015         O'Reilly Factor     10/19/2015        1:00       My rights                       $89,580.00      $76,143.00   NRA Foundation
              1015-1411-1          138155             10/25/2015         Oct-15               Oct               2015         Hannity             10/20/2015        1:00       Moms Like Me Rev.2              $49,394.00      $41,984.90   NRA Foundation
              1015-1411-1          138155             10/25/2015         Oct-15               Oct               2015         The Five            10/20/2015        1:30       My Story                        $46,638.00      $39,642.30   NRA Foundation
              1015-1411-1          138155             10/25/2015         Oct-15               Oct               2015         The Kelly File      10/20/2015        1:00       Freedom Rev1                    $76,204.00      $64,773.40   NRA Foundation
              1015-1411-1          138155             10/25/2015         Oct-15               Oct               2015         O'Reilly Factor     10/21/2015        1:00       My rights                       $89,580.00      $76,143.00   NRA Foundation
              1015-1411-1          138155             10/25/2015         Oct-15               Oct               2015         The Five            10/21/2015        1:00       Freedom Rev1                    $31,092.00      $26,428.20   NRA Foundation
              1015-1411-1          138155             10/25/2015         Oct-15               Oct               2015         The Kelly File      10/22/2015        1:30       Carol Browne                   $114,306.00      $97,160.10   NRA Foundation
              1015-1411-1          138155             10/25/2015         Oct-15               Oct               2015         Special Report      10/23/2015        1:00       Moms Like Me Rev.2              $35,574.00      $30,237.90   NRA Foundation
              1015-1411-1          138155             10/25/2015         Oct-15               Oct               2015         The Kelly File      10/23/2015        1:00       My rights                       $76,204.00      $64,773.40   NRA Foundation
              1016-1027-1          151092             10/30/2016         Oct-16               Oct               2016         The Five             9/27/2016        1:00       Racism                          $40,534.00      $34,453.90   NRA Media
              1016-1027-1          151092             10/30/2016         Oct-16               Oct               2016         Hannity              10/6/2016        1:00       Naïve Clingers                  $64,406.00      $54,745.10   NRA Media
              1016-1027-1          151092             10/30/2016         Oct-16               Oct               2016         O'Reilly Factor     10/12/2016        1:00       Never Again                    $116,786.00      $99,268.10   NRA Media
              1016-1027-1          151092             10/30/2016         Oct-16               Oct               2016         Hannity             10/17/2016        1:00       Naïve Clingers                  $64,406.00      $54,745.10   NRA Media
              1016-1027-1          151092             10/30/2016         Oct-16               Oct               2016         Special Report      10/18/2016        1:00       Truth About Benghazi            $44,132.00      $37,512.20   NRA Media
              1016-1027-1          151092             10/30/2016         Oct-16               Oct               2016         The Five            10/19/2016        1:30       My Story                        $60,801.00      $51,680.85   NRA Media
              1016-1027-1          151092             10/30/2016         Oct-16               Oct               2016         O'Reilly Factor     10/20/2016        1:00       Racism                         $116,786.00      $99,268.10   NRA Media
              1016-1027-1          151092             10/30/2016         Oct-16               Oct               2016         The Kelly File      10/21/2016        1:00       Never Again                     $99,358.00      $84,454.30   NRA Media
              1016-1027-1          151092             10/30/2016         Oct-16               Oct               2016         Hannity             10/24/2016        1:00       Never Again                     $64,406.00      $54,745.10   NRA Media
              1016-1027-1          151092             10/30/2016         Oct-16               Oct               2016         O'Reilly Factor     10/24/2016        1:00       Truth About Benghazi           $116,786.00      $99,268.10   NRA Media

                                                                                                                                                                                                                                                            APP. 00570
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                                                                       DRAFT Privileged and Confidential
                                                                      Prepared at the Request of Counsel
1016-1027-1   151092   10/30/2016   Oct-16       Oct        2016    The Kelly File     10/25/2016          1:00     Naïve Clingers             $99,358.00   $84,454.30   NRA Media
1016-1027-1   151092   10/30/2016   Oct-16       Oct        2016    Hannity            10/26/2016          1:00     Racism                     $64,406.00   $54,745.10   NRA Media
1016-1027-1   151092   10/30/2016   Oct-16       Oct        2016    The Five           10/27/2016          1:00     Never Again                $40,534.00   $34,453.90   NRA Media
1016-1027-1   151092   10/30/2016   Oct-16       Oct        2016    O'Reilly Factor    10/28/2016          1:00     Racism                    $116,786.00   $99,268.10   NRA Media
1016-1028-1   151093   10/30/2016   Oct-16       Oct        2016    The Kelly File      9/27/2016          1:00     Didn't Listen              $99,358.00   $84,454.30   NRA Foundation
1016-1028-1   151093   10/30/2016   Oct-16       Oct        2016    Hannity             9/28/2016          1:00     Real Empowerment           $64,406.00   $54,745.10   NRA Foundation
1016-1028-1   151093   10/30/2016   Oct-16       Oct        2016    The Kelly File      9/29/2016          1:00     Freedom Rev1               $99,358.00   $84,454.30   NRA Foundation
1016-1028-1   151093   10/30/2016   Oct-16       Oct        2016    O'Reilly Factor     9/30/2016          1:00     Haven't Met America       $116,786.00   $99,268.10   NRA Foundation
1016-1028-1   151093   10/30/2016   Oct-16       Oct        2016    O'Reilly Factor     10/3/2016          1:00     Real Empowerment          $116,786.00   $99,268.10   NRA Foundation
1016-1028-1   151093   10/30/2016   Oct-16       Oct        2016    Special Report      10/4/2016          1:00     Freedom Rev1               $44,132.00   $37,512.20   NRA Foundation
1016-1028-1   151093   10/30/2016   Oct-16       Oct        2016    Hannity             10/5/2016          1:00     Didn't Listen              $64,406.00   $54,745.10   NRA Foundation
1016-1028-1   151093   10/30/2016   Oct-16       Oct        2016    The Kelly File      10/5/2016          1:00     Freedom Rev1               $99,358.00   $84,454.30   NRA Foundation
1016-1028-1   151093   10/30/2016   Oct-16       Oct        2016    The Kelly File      10/7/2016          1:00     Southside                  $99,358.00   $84,454.30   NRA Foundation
1016-1028-1   151093   10/30/2016   Oct-16       Oct        2016    The Kelly File     10/10/2016          1:00     Didn't Listen              $99,358.00   $84,454.30   NRA Foundation
1016-1028-1   151093   10/30/2016   Oct-16       Oct        2016    Hannity            10/11/2016          1:00     Real Empowerment           $64,406.00   $54,745.10   NRA Foundation
1016-1028-1   151093   10/30/2016   Oct-16       Oct        2016    Hannity            10/13/2016          1:00     Freedom Rev1               $64,406.00   $54,745.10   NRA Foundation
1016-1028-1   151093   10/30/2016   Oct-16       Oct        2016    The Five           10/13/2016          1:00     Real Empowerment           $40,534.00   $34,453.90   NRA Foundation
1016-1028-1   151093   10/30/2016   Oct-16       Oct        2016    O'Reilly Factor    10/14/2016          1:00     Southside                 $116,786.00   $99,268.10   NRA Foundation
1016-1028-1   151093   10/30/2016   Oct-16       Oct        2016    O'Reilly Factor    10/17/2016          1:00     Didn't Listen             $116,786.00   $99,268.10   NRA Foundation
1016-1028-1   151093   10/30/2016   Oct-16       Oct        2016    The Five           10/20/2016          1:00     My rights                  $40,534.00   $34,453.90   NRA Foundation
1016-1028-1   151093   10/30/2016   Oct-16       Oct        2016    Special Report     10/21/2016          1:00     Real Empowerment           $44,132.00   $37,512.20   NRA Foundation
1016-1028-1   151093   10/30/2016   Oct-16       Oct        2016    Special Report     10/25/2016          1:00     Freedom Rev1               $44,132.00   $37,512.20   NRA Foundation
1016-1028-1   151093   10/30/2016   Oct-16       Oct        2016    Special Report     10/26/2016          1:00     Didn't Listen              $44,132.00   $37,512.20   NRA Foundation
1016-1028-1   151093   10/30/2016   Oct-16       Oct        2016    Hannity            10/28/2016          1:00     Real Empowerment           $64,406.00   $54,745.10   NRA Foundation
1115-1528-1   139317   11/29/2015   Nov-15       Nov        2015    The Kelly File     11/25/2015          1:00     Freedom Rev1               $76,204.00   $64,773.40   NRA Foundation
1115-1528-1   139317   11/29/2015   Nov-15       Nov        2015    The Kelly File     10/26/2015          1:30     Carol Browne              $114,306.00   $97,160.10   NRA Foundation
1115-1528-1   139317   11/29/2015   Nov-15       Nov        2015    The Kelly File     10/27/2015          1:00     Moms Like Me Rev.2         $76,204.00   $64,773.40   NRA Foundation
1115-1528-1   139317   11/29/2015   Nov-15       Nov        2015    The Five           10/28/2015          1:30     Carol Browne               $46,638.00   $39,642.30   NRA Foundation
1115-1528-1   139317   11/29/2015   Nov-15       Nov        2015    O'Reilly Factor    10/29/2015          1:00     My rights                  $89,580.00   $76,143.00   NRA Foundation
1115-1528-1   139317   11/29/2015   Nov-15       Nov        2015    Special Report     10/30/2015          1:00     Freedom Rev1               $36,138.00   $30,717.30   NRA Foundation
1115-1528-1   139317   11/29/2015   Nov-15       Nov        2015    The Five            11/2/2015          1:30     My Story                   $46,638.00   $39,642.30   NRA Foundation
1115-1528-1   139317   11/29/2015   Nov-15       Nov        2015    O'Reilly Factor     11/3/2015          1:00     Moms Like Me Rev.2         $89,580.00   $76,143.00   NRA Foundation
1115-1528-1   139317   11/29/2015   Nov-15       Nov        2015    The Kelly File      11/4/2015          1:00     Freedom Rev1               $76,204.00   $64,773.40   NRA Foundation
1115-1528-1   139317   11/29/2015   Nov-15       Nov        2015    Special Report      11/5/2015          1:30     Carol Browne               $54,204.00   $46,073.40   NRA Foundation
1115-1528-1   139317   11/29/2015   Nov-15       Nov        2015    O'Reilly Factor     11/9/2015          1:00     Freedom Rev1               $89,580.00   $76,143.00   NRA Foundation
1115-1528-1   139317   11/29/2015   Nov-15       Nov        2015    The Five            11/9/2015          1:00     Moms Like Me Rev.2         $31,092.00   $26,428.20   NRA Foundation
1115-1528-1   139317   11/29/2015   Nov-15       Nov        2015    Special Report     11/10/2015          1:00     My rights                  $36,138.00   $30,717.30   NRA Foundation
1115-1528-1   139317   11/29/2015   Nov-15       Nov        2015    The Kelly File     11/11/2015          1:30     My Story                  $114,306.00   $97,160.10   NRA Foundation
1115-1528-1   139317   11/29/2015   Nov-15       Nov        2015    Hannity            11/16/2015          1:00     Freedom Rev1               $49,394.00   $41,984.90   NRA Foundation
1115-1528-1   139317   11/29/2015   Nov-15       Nov        2015    The Five           11/18/2015          1:00     Freedom Rev1               $31,092.00   $26,428.20   NRA Foundation
1115-1528-1   139317   11/29/2015   Nov-15       Nov        2015    The Kelly File     11/19/2015          1:30     My Story                  $114,306.00   $97,160.10   NRA Foundation
1115-1528-1   139317   11/29/2015   Nov-15       Nov        2015    Hannity            11/23/2015          1:30     My Story                   $74,091.00   $62,977.35   NRA Foundation
1115-1528-1   139317   11/29/2015   Nov-15       Nov        2015    The Five           11/23/2015          1:00     Freedom Rev1               $31,092.00   $26,428.20   NRA Foundation
1116-1020-1   152319   11/27/2016   Nov-16       Nov        2016    The Kelly File       1/6/2016          1:00     Truth About Benghazi       $99,358.00   $84,454.30   NRA Media
1116-1020-1   152319   11/27/2016   Nov-16       Nov        2016    O'Reilly Factor    10/31/2016          1:00     Naïve Clingers            $116,786.00   $99,268.10   NRA Media
1116-1020-1   152319   11/27/2016   Nov-16       Nov        2016    The Five           10/31/2016          1:00     We Don't Need You          $40,534.00   $34,453.90   NRA Media
1116-1020-1   152319   11/27/2016   Nov-16       Nov        2016    The Kelly File      11/1/2016          1:00     Never Again                $99,358.00   $84,454.30   NRA Media
1116-1020-1   152319   11/27/2016   Nov-16       Nov        2016    Hannity             11/2/2016          1:00     We don't Need You          $64,406.00   $54,745.10   NRA Media
1116-1020-1   152319   11/27/2016   Nov-16       Nov        2016    O'Reilly Factor     11/2/2016          1:00     Real Empowerment          $116,786.00   $99,268.10   NRA Media
1116-1020-1   152319   11/27/2016   Nov-16       Nov        2016    Special Report      11/3/2016          1:00     We don't Need You          $44,132.00   $37,512.20   NRA Media


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                                                                      Prepared at the Request of Counsel
1116-1020-1   152319   11/27/2016   Nov-16       Nov        2016    Hannity             11/4/2016          1:00     Didn't Listen              $64,406.00   $54,745.10   NRA Media
1116-1020-1   152319   11/27/2016   Nov-16       Nov        2016    O'Reilly Factor     11/4/2016          1:00     Never Again               $116,786.00   $99,268.10   NRA Media
1116-1020-1   152319   11/27/2016   Nov-16       Nov        2016    Hannity             11/7/2016          1:00     Real Empowerment           $64,406.00   $54,745.10   NRA Media
1116-1020-1   152319   11/27/2016   Nov-16       Nov        2016    O'Reilly Factor     11/7/2016          1:00     We don't Need You         $116,786.00   $99,268.10   NRA Media
1116-1020-1   152319   11/27/2016   Nov-16       Nov        2016    The Five            11/7/2016          1:00     Never Again                $40,534.00   $34,453.90   NRA Media
 116-1021-1   141857    1/31/2016   Jan-16       Jan        2016    Special Report       1/4/2016          1:00     Disarmament                $28,654.00   $24,355.90   NRA Media
 116-1021-1   141857    1/31/2016   Jan-16       Jan        2016    The Five            1/11/2016          1:00     Disarmament                $26,310.00   $22,363.50   NRA Media
 116-1021-1   141857    1/31/2016   Jan-16       Jan        2016    Hannity             1/13/2016          1:00     Disarmament                $41,970.00   $35,674.50   NRA Media
 116-1021-1   141857    1/31/2016   Jan-16       Jan        2016    The Kelly File      1/19/2016          1:00     Disarmament                $64,586.00   $54,898.10   NRA Media
 116-1021-1   141857    1/31/2016   Jan-16       Jan        2016    The Five            1/22/2016          1:00     Disarmament                $26,310.00   $22,363.50   NRA Media
 116-1021-1   141857    1/31/2016   Jan-16       Jan        2016    Hannity             1/26/2016          1:00     Disarmament                $41,970.00   $35,674.50   NRA Media
 116-1022-1   141938    1/31/2016   Jan-16       Jan        2016    Hannity              1/5/2016          1:00     Disarmament                $41,970.00   $35,674.50   NRA Media
 116-1022-1   141938    1/31/2016   Jan-16       Jan        2016    The Five             1/5/2016          1:00     Disarmament                $26,310.00   $22,363.50   NRA Media
 116-1022-1   141938    1/31/2016   Jan-16       Jan        2016    O'Reilly Factor      1/6/2016          1:00     Disarmament                $75,944.00   $64,552.40   NRA Media
 116-1022-1   141938    1/31/2016   Jan-16       Jan        2016    Special Report       1/6/2016          1:00     Disarmament                $28,654.00   $24,355.90   NRA Media
 116-1022-1   141938    1/31/2016   Jan-16       Jan        2016    The Five             1/7/2016          1:00     Disarmament                $26,310.00   $22,363.50   NRA Media
 116-1022-1   141938    1/31/2016   Jan-16       Jan        2016    The Kelly File       1/7/2016          1:00     Disarmament                $64,586.00   $54,898.10   NRA Media
 116-1023-1   141858    1/31/2016   Jan-16       Jan        2016    The Five             1/4/2016          1:00     Like My Rev.2              $26,310.00   $22,363.50   NRA Foundation
 116-1023-1   141858    1/31/2016   Jan-16       Jan        2016    The Kelly File       1/4/2016          1:00     Freedom Rev1               $64,586.00   $54,898.10   NRA Foundation
 116-1023-1   141858    1/31/2016   Jan-16       Jan        2016    Hannity              1/5/2016          1:00     Demons at our door         $41,970.00   $35,674.50   NRA Foundation
 116-1023-1   141858    1/31/2016   Jan-16       Jan        2016    The Five             1/6/2016          1:00     Demons at our door         $26,310.00   $22,363.50   NRA Foundation
 116-1023-1   141858    1/31/2016   Jan-16       Jan        2016    O'Reilly Factor      1/7/2016          1:00     Southside                  $75,944.00   $64,552.40   NRA Foundation
 116-1023-1   141858    1/31/2016   Jan-16       Jan        2016    Special Report       1/8/2016          1:00     My rights                  $28,654.00   $24,355.90   NRA Foundation
 116-1023-1   141858    1/31/2016   Jan-16       Jan        2016    O'Reilly Factor     1/11/2016          1:00     Demons at our door         $75,944.00   $64,552.40   NRA Foundation
 116-1023-1   141858    1/31/2016   Jan-16       Jan        2016    The Five            1/14/2016          1:00     Freedom Rev1               $26,310.00   $22,363.50   NRA Foundation
 116-1023-1   141858    1/31/2016   Jan-16       Jan        2016    Special Report      1/15/2016          1:00     Like My Rev.2              $28,654.00   $24,355.90   NRA Foundation
 116-1023-1   141858    1/31/2016   Jan-16       Jan        2016    The Kelly File      1/18/2016          1:00     Demons at our door         $64,586.00   $54,898.10   NRA Foundation
 116-1023-1   141858    1/31/2016   Jan-16       Jan        2016    The Kelly File      1/20/2016          1:00     Southside                  $64,586.00   $54,898.10   NRA Foundation
 116-1023-1   141858    1/31/2016   Jan-16       Jan        2016    O'Reilly Factor     1/21/2016          1:00     Southside                  $75,944.00   $64,552.40   NRA Foundation
 116-1023-1   141858    1/31/2016   Jan-16       Jan        2016    Special Report      1/25/2016          1:00     Southside                  $28,654.00   $24,355.90   NRA Foundation
 116-1023-1   141858    1/31/2016   Jan-16       Jan        2016    Hannity             1/27/2016          1:00     Demons at our door         $41,970.00   $35,674.50   NRA Foundation
1215-1015-1   140484   12/27/2015   Dec-15       Dec        2015    The Five            12/8/2015          1:00     Demons at our door         $30,844.00   $26,217.40   NRA Foundation
1215-1015-1   140484   12/27/2015   Dec-15       Dec        2015    Hannity             12/9/2015          1:00     Demons at our door         $49,006.00   $41,655.10   NRA Foundation
1215-1015-1   140484   12/27/2015   Dec-15       Dec        2015    The Kelly File      12/9/2015          1:00     Demons at our door         $75,600.00   $64,260.00   NRA Foundation
1215-1015-1   140484   12/27/2015   Dec-15       Dec        2015    Hannity            12/11/2015          1:00     Demons at our door         $49,006.00   $41,655.10   NRA Foundation
1215-1016-1   140301   12/27/2015   Dec-15       Dec        2015    Hannity            11/30/2016          1:00     My President               $49,004.00   $41,653.40   NRA Media
1215-1017-1   140300   12/27/2015   Dec-15       Dec        2015    Special Report      12/3/2015          1:00     My Defense                 $33,588.00   $28,549.80   NRA Media
1215-1017-1   140300   12/27/2015   Dec-15       Dec        2015    The Five            12/7/2015          1:00     My Defense                 $30,844.00   $26,217.40   NRA Media
1215-1017-1   140300   12/27/2015   Dec-15       Dec        2015    Hannity             12/8/2015          1:00     My Defense                 $49,004.00   $41,653.40   NRA Media
1215-1017-1   140300   12/27/2015   Dec-15       Dec        2015    O'Reilly Factor     12/8/2015          1:00     My Defense                 $88,612.00   $75,320.20   NRA Media
1215-1017-1   140300   12/27/2015   Dec-15       Dec        2015    The Kelly File     12/14/2015          1:00     My Defense                 $75,360.00   $64,056.00   NRA Media
1215-1017-1   140300   12/27/2015   Dec-15       Dec        2015    Special Report     12/17/2015          1:00     My Defense                 $33,588.00   $28,549.80   NRA Media
1215-1018-1   140484   12/27/2015   Dec-15       Dec        2015    O'Reilly Factor     12/3/2015          1:00     Demons at our door         $98,748.00   $83,935.80   NRA Media
1215-1019-1   140286   12/27/2015   Dec-15       Dec        2015    The Kelly File      12/1/2015          1:00     Demons at our door         $76,204.00   $64,773.40   NRA Foundation
1215-1019-1   140286   12/27/2015   Dec-15       Dec        2015    Hannity             12/3/2015          1:00     Demons at our door         $49,394.00   $41,984.90   NRA Foundation
1215-1019-1   140286   12/27/2015   Dec-15       Dec        2015    The Five            12/3/2015          1:00     Demons at our door         $31,090.00   $26,426.50   NRA Foundation
1215-1019-1   140286   12/27/2015   Dec-15       Dec        2015    Hannity             12/4/2015          1:00     Demons at our door         $49,394.00   $41,984.90   NRA Foundation
1215-1019-1   140286   12/27/2015   Dec-15       Dec        2015    Special Report      12/4/2015          1:00     Demons at our door         $36,138.00   $30,717.30   NRA Foundation
1215-1019-1   140286   12/27/2015   Dec-15       Dec        2015    Hannity             12/7/2015          1:00     Demons at our door         $49,394.00   $41,984.90   NRA Foundation
1215-1019-1   140286   12/27/2015   Dec-15       Dec        2015    O'Reilly Factor     12/7/2015          1:00     Demons at our door         $89,580.00   $76,143.00   NRA Foundation


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                                                                       DRAFT Privileged and Confidential
                                                                      Prepared at the Request of Counsel
1215-1019-1   140286   12/27/2015   Dec-15       Dec        2015    The Kelly File      12/8/2015          1:00     Demons at our door        $76,204.00   $64,773.40   NRA Foundation
1215-1019-1   140286   12/27/2015   Dec-15       Dec        2015    The Five            12/9/2015          1:00     Demons at our door        $34,272.00   $29,131.20   NRA Foundation
1215-1019-1   140286   12/27/2015   Dec-15       Dec        2015    Hannity            12/14/2015          1:00     Demons at our door        $49,394.00   $41,984.90   NRA Foundation
1215-1019-1   140286   12/27/2015   Dec-15       Dec        2015    Special Report     12/14/2015          1:00     Demons at our door        $36,138.00   $30,717.30   NRA Foundation
1215-1019-1   140286   12/27/2015   Dec-15       Dec        2015    Hannity            12/16/2015          1:00     Demons at our door        $49,394.00   $41,984.90   NRA Foundation
 216-1015-1   142760    2/28/2016   Feb-16       Feb        2016    O'Reilly Factor      2/4/2016          1:00     Disarmament               $75,944.00   $64,552.40   NRA Media
 216-1015-1   142760    2/28/2016   Feb-16       Feb        2016    The Five             2/9/2016          1:00     Disarmament               $26,310.00   $22,363.50   NRA Media
 216-1015-1   142760    2/28/2016   Feb-16       Feb        2016    Hannity             2/17/2016          1:00     Disarmament               $41,970.00   $35,674.50   NRA Media
 216-1015-1   142760    2/28/2016   Feb-16       Feb        2016    The Kelly File      2/22/2016          1:00     Disarmament               $64,586.00   $54,898.10   NRA Media
 216-1016-1   142762    2/28/2016   Feb-16       Feb        2016    Special Report       2/1/2016          1:00     Demons at our door        $28,654.00   $24,355.90   NRA Foundation
 216-1016-1   142762    2/28/2016   Feb-16       Feb        2016    The Five             2/2/2016          1:30     My Story                  $39,465.00   $33,545.25   NRA Foundation
 216-1016-1   142762    2/28/2016   Feb-16       Feb        2016    The Kelly File       2/2/2016          1:00     Southside                 $64,586.00   $54,898.10   NRA Foundation
 216-1016-1   142762    2/28/2016   Feb-16       Feb        2016    Hannity              2/8/2016          1:00     Southside                 $41,970.00   $35,674.50   NRA Foundation
 216-1016-1   142762    2/28/2016   Feb-16       Feb        2016    Special Report      2/10/2016          1:30     My Story                  $42,981.00   $36,533.85   NRA Foundation
 216-1016-1   142762    2/28/2016   Feb-16       Feb        2016    The Kelly File      2/11/2016          1:00     Like My Rev.2             $64,586.00   $54,898.10   NRA Foundation
 216-1016-1   142762    2/28/2016   Feb-16       Feb        2016    O'Reilly Factor     2/12/2016          1:00     Demons at our door        $75,944.00   $64,552.40   NRA Foundation
 216-1016-1   142762    2/28/2016   Feb-16       Feb        2016    The Five            2/15/2016          1:00     Like My Rev.2             $26,310.00   $22,363.50   NRA Foundation
 216-1016-1   142762    2/28/2016   Feb-16       Feb        2016    Special Report      2/16/2016          1:00     Demons at our door        $28,654.00   $24,355.90   NRA Foundation
 216-1016-1   142762    2/28/2016   Feb-16       Feb        2016    Hannity             2/18/2016          1:30     My Story                  $62,955.00   $53,511.75   NRA Foundation
 216-1016-1   142762    2/28/2016   Feb-16       Feb        2016    O'Reilly Factor     2/19/2016          1:00     Southside                 $75,944.00   $64,552.40   NRA Foundation
 216-1016-1   142762    2/28/2016   Feb-16       Feb        2016    Hannity             2/24/2016          1:00     Demons at our door        $41,970.00   $35,674.50   NRA Foundation
 216-1016-1   142762    2/28/2016   Feb-16       Feb        2016    The Five            2/24/2016          1:00     Southside                 $26,310.00   $22,363.50   NRA Foundation
 216-1016-1   142762    2/28/2016   Feb-16       Feb        2016    Hannity             2/25/2016          1:00     Like My Rev.2             $41,970.00   $35,674.50   NRA Foundation
 216-1016-1   142762    2/28/2016   Feb-16       Feb        2016    Special Report      2/26/2016          1:00     Demons at our door        $28,654.00   $24,355.90   NRA Foundation
  216-114-1   143509    2/28/2016   Feb-16       Feb        2016    Special Report      2/24/2016          1:00     Disarmament               $28,654.00   $24,355.90   NRA Media
  216-114-1   143509    2/28/2016   Feb-16       Feb        2016    O'Reilly Factor     2/26/2016          1:00     Disarmament               $75,944.00   $64,552.40   NRA Media
 316-1016-1   143637    3/27/2016   Mar-16       Mar        2016    The Five             3/2/2016          1:00     Disarmament               $26,310.00   $22,363.50   NRA Media
 316-1016-1   143637    3/27/2016   Mar-16       Mar        2016    The Kelly File       3/9/2016          1:00     Disarmament               $64,586.00   $54,898.10   NRA Media
 316-1016-1   143637    3/27/2016   Mar-16       Mar        2016    O'Reilly Factor     3/10/2016          1:00     Disarmament               $75,944.00   $64,552.40   NRA Media
 316-1016-1   143637    3/27/2016   Mar-16       Mar        2016    O'Reilly Factor     3/14/2016          1:00     Disarmament               $75,944.00   $64,552.40   NRA Media
 316-1016-1   143637    3/27/2016   Mar-16       Mar        2016    The Kelly File      3/23/2016          1:00     Truth About Benghazi      $64,586.00   $54,898.10   NRA Media
 316-1017-1   143636    3/27/2016   Mar-16       Mar        2016    The Kelly File       3/4/2016          1:00     Disarmament               $64,586.00   $54,898.10   NRA Media
 316-1017-1   143636    3/27/2016   Mar-16       Mar        2016    Special Report       3/8/2016          1:00     Disarmament               $28,654.00   $24,355.90   NRA Media
 316-1017-1   143636    3/27/2016   Mar-16       Mar        2016    O'Reilly Factor     3/16/2016          1:00     Disarmament               $75,944.00   $64,552.40   NRA Media
 316-1017-1   143636    3/27/2016   Mar-16       Mar        2016    Special Report      3/24/2016          1:00     Disarmament               $28,654.00   $24,355.90   NRA Media
 316-1018-1   143638    3/27/2016   Mar-16       Mar        2016    O'Reilly Factor     2/29/2016          1:00     Demons at our door        $75,944.00   $64,552.40   NRA Foundation
 316-1018-1   143638    3/27/2016   Mar-16       Mar        2016    Special Report      2/29/2016          1:00     Southside                 $28,654.00   $24,355.90   NRA Foundation
 316-1018-1   143638    3/27/2016   Mar-16       Mar        2016    The Five             3/1/2016          1:00     Venezuela                 $26,310.00   $22,363.50   NRA Foundation
 316-1018-1   143638    3/27/2016   Mar-16       Mar        2016    The Kelly File       3/1/2016          1:00     Demons at our door        $64,586.00   $54,898.10   NRA Foundation
 316-1018-1   143638    3/27/2016   Mar-16       Mar        2016    Hannity              3/2/2016          1:00     Hypocrisy                 $41,970.00   $35,674.50   NRA Foundation
 316-1018-1   143638    3/27/2016   Mar-16       Mar        2016    The Five             3/4/2016          1:00     Hypocrisy                 $26,310.00   $22,363.50   NRA Foundation
 316-1018-1   143638    3/27/2016   Mar-16       Mar        2016    The Kelly File       3/7/2016          1:00     Hypocrisy                 $64,586.00   $54,898.10   NRA Foundation
 316-1018-1   143638    3/27/2016   Mar-16       Mar        2016    Special Report       3/8/2016          1:00     Demons at our door        $28,654.00   $24,355.90   NRA Foundation
 316-1018-1   143638    3/27/2016   Mar-16       Mar        2016    Special Report      3/15/2016          1:00     Venezuela                 $28,654.00   $24,355.90   NRA Foundation
 316-1018-1   143638    3/27/2016   Mar-16       Mar        2016    Special Report      3/16/2016          1:00     Hypocrisy                 $28,654.00   $24,355.90   NRA Foundation
 316-1018-1   143638    3/27/2016   Mar-16       Mar        2016    The Five            3/17/2016          1:30     My Story                  $39,465.00   $33,545.25   NRA Foundation
 316-1018-1   143638    3/27/2016   Mar-16       Mar        2016    The Kelly File      3/18/2016          1:00     Truly Free                $64,586.00   $54,898.10   NRA Foundation
 316-1018-1   143638    3/27/2016   Mar-16       Mar        2016    O'Reilly Factor     3/22/2016          1:00     Haven't Met America       $75,944.00   $64,552.40   NRA Foundation
 316-1018-1   143638    3/27/2016   Mar-16       Mar        2016    The Kelly File      3/25/2016          1:00     Truly Free                $64,586.00   $54,898.10   NRA Foundation
 416-1012-1   144104    4/24/2016   Apr-16       Apr        2016    Special Report      3/29/2016          1:00     Truth About Benghazi      $29,030.00   $24,675.50   NRA Media


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                                                                    Prepared at the Request of Counsel
416-1012-1   144104   4/24/2016   Apr-16       Apr        2016    Hannity              4/1/2016          1:00     Truly Free                $42,364.00   $36,009.40   NRA Media
416-1012-1   144104   4/24/2016   Apr-16       Apr        2016    The Five             4/5/2016          1:00     San Bernandino            $26,662.00   $22,662.70   NRA Media
416-1012-1   144104   4/24/2016   Apr-16       Apr        2016    Special Report       4/6/2016          1:00     San Bernandino            $29,030.00   $24,675.50   NRA Media
416-1013-1   144106   4/24/2016   Apr-16       Apr        2016    The Five            3/28/2016          1:00     Haven't Met America       $26,662.00   $22,662.70   NRA Foundation
416-1013-1   144106   4/24/2016   Apr-16       Apr        2016    O'Reilly Factor     3/29/2016          1:00     Demons at our door        $76,836.00   $65,310.60   NRA Foundation
416-1013-1   144106   4/24/2016   Apr-16       Apr        2016    Special Report      3/31/2016          1:00     Hypocrisy                 $29,030.00   $24,675.50   NRA Foundation
416-1013-1   144106   4/24/2016   Apr-16       Apr        2016    The Kelly File       4/4/2016          1:00     Truly Free                $65,368.00   $55,562.80   NRA Foundation
416-1013-1   144106   4/24/2016   Apr-16       Apr        2016    Hannity              4/5/2016          1:00     Haven't Met America       $42,364.00   $36,009.40   NRA Foundation
416-1013-1   144106   4/24/2016   Apr-16       Apr        2016    Special Report       4/7/2016          1:30     Haven't Met America       $43,545.00   $37,013.25   NRA Foundation
416-1013-1   144106   4/24/2016   Apr-16       Apr        2016    O'Reilly Factor      4/8/2016          1:00     Hypocrisy                 $76,836.00   $65,310.60   NRA Foundation
416-1013-1   144106   4/24/2016   Apr-16       Apr        2016    Hannity             4/11/2016          1:00     Hypocrisy                 $42,364.00   $36,009.40   NRA Foundation
416-1013-1   144106   4/24/2016   Apr-16       Apr        2016    The Kelly File      4/12/2016          1:00     Southside                 $65,368.00   $55,562.80   NRA Foundation
416-1013-1   144106   4/24/2016   Apr-16       Apr        2016    The Five            4/13/2016          1:00     Hypocrisy                 $26,662.00   $22,662.70   NRA Foundation
416-1013-1   144106   4/24/2016   Apr-16       Apr        2016    Special Report      4/15/2016          1:00     Truly Free                $29,030.00   $24,675.50   NRA Foundation
416-1013-1   144106   4/24/2016   Apr-16       Apr        2016    The Five            4/19/2016          1:00     My Story                  $26,662.00   $22,662.70   NRA Foundation
416-1013-1   144106   4/24/2016   Apr-16       Apr        2016    The Kelly File      4/20/2016          1:00     Haven't Met America       $65,368.00   $55,562.80   NRA Foundation
416-1013-1   144106   4/24/2016   Apr-16       Apr        2016    O'Reilly Factor     4/21/2016          1:00     Truly Free                $76,836.00   $65,310.60   NRA Foundation
516-1008-1   145913   5/29/2016   May-15       May        2015    Hannity             4/29/2016          1:00     San Bernandino            $42,364.00   $36,009.40   NRA Media
516-1008-1   145913   5/29/2016   May-15       May        2015    O'Reilly Factor      5/5/2016          1:00     San Bernandino            $76,836.00   $65,310.60   NRA Media
516-1008-1   145913   5/29/2016   May-15       May        2015    Hannity             5/11/2016          1:00     Truth About Benghazi      $42,364.00   $36,009.40   NRA Media
516-1008-1   145913   5/29/2016   May-15       May        2015    Hannity             5/17/2016          1:00     San Bernandino            $42,364.00   $36,009.40   NRA Media
516-1008-1   145913   5/29/2016   May-15       May        2015    Hannity             5/26/2016          1:00     Truth About Benghazi      $42,364.00   $36,009.40   NRA Media
516-1009-1   145912   5/29/2016   May-16       May        2016    The Five            4/25/2016          1:30     My Story                  $39,993.00   $33,994.05   NRA Foundation
516-1009-1   145912   5/29/2016   May-16       May        2016    The Kelly File      4/26/2016          1:00     Hypocrisy                 $65,368.00   $55,562.80   NRA Foundation
516-1009-1   145912   5/29/2016   May-16       May        2016    Special Report      4/28/2016          1:00     Haven't Met America       $29,030.00   $24,675.50   NRA Foundation
516-1009-1   145912   5/29/2016   May-16       May        2016    O'Reilly Factor      5/2/2016          1:00     Haven't Met America       $76,836.00   $65,310.60   NRA Foundation
516-1009-1   145912   5/29/2016   May-16       May        2016    Hannity              5/4/2016          1:00     Truly Free                $42,364.00   $36,009.40   NRA Foundation
516-1009-1   145912   5/29/2016   May-16       May        2016    The Kelly File       5/9/2016          1:00     Truly Free                $65,368.00   $55,562.80   NRA Foundation
516-1009-1   145912   5/29/2016   May-16       May        2016    O'Reilly Factor     5/10/2016          1:00     Hypocrisy                 $76,836.00   $65,310.60   NRA Foundation
516-1009-1   145912   5/29/2016   May-16       May        2016    Special Report      5/16/2016          1:00     Hypocrisy                 $29,030.00   $24,675.50   NRA Foundation
516-1009-1   145912   5/29/2016   May-16       May        2016    O'Reilly Factor     5/18/2016          1:00     Truly Free                $76,836.00   $65,310.60   NRA Foundation
516-1009-1   145912   5/29/2016   May-16       May        2016    Special Report      5/24/2016          1:00     Truly Free                $29,030.00   $24,675.50   NRA Foundation
516-1009-1   145912   5/29/2016   May-16       May        2016    The Kelly File      5/24/2016          1:00     Haven't Met America       $65,368.00   $55,562.80   NRA Foundation
516-1009-1   145912   5/29/2016   May-16       May        2016    O'Reilly Factor     5/27/2016          1:00     Southside                 $76,836.00   $65,310.60   NRA Foundation
616-1386-1   146611   6/26/2016   Jun-16       Jun        2016    O'Reilly Factor      6/1/2016          1:00     Truth About Benghazi      $76,836.00   $65,310.60   NRA Media
616-1386-1   146611   6/26/2016   Jun-16       Jun        2016    Hannity              6/2/2016          1:00     Hypocrisy                 $42,364.00   $36,009.40   NRA Media
616-1386-1   146611   6/26/2016   Jun-16       Jun        2016    The Kelly File       6/3/2016          1:00     San Bernandino            $65,368.00   $55,562.80   NRA Media
616-1386-1   146611   6/26/2016   Jun-16       Jun        2016    The Kelly File       6/7/2016          1:00     Disarmament               $65,368.00   $55,562.80   NRA Media
616-1386-1   146611   6/26/2016   Jun-16       Jun        2016    O'Reilly Factor      6/8/2016          1:00     You haven't met America   $76,836.00   $65,310.60   NRA Media
616-1386-1   146611   6/26/2016   Jun-16       Jun        2016    Hannity              6/9/2016          1:00     Truth About Benghazi      $42,364.00   $36,009.40   NRA Media
616-1386-1   146611   6/26/2016   Jun-16       Jun        2016    The Kelly File      6/10/2016          1:00     Moms Like Me Rev.2        $65,368.00   $55,562.80   NRA Media
616-1386-1   146611   6/26/2016   Jun-16       Jun        2016    O'Reilly Factor     6/17/2016          1:00     Demons at our door        $76,836.00   $65,310.60   NRA Media
616-1386-1   146611   6/26/2016   Jun-16       Jun        2016    Hannity             6/20/2016          1:00     Demons at our door        $42,364.00   $36,009.40   NRA Media
616-1386-1   146611   6/26/2016   Jun-16       Jun        2016    O'Reilly Factor     6/21/2016          1:00     My Freedom Rev1           $76,836.00   $65,310.60   NRA Media
616-1386-1   146611   6/26/2016   Jun-16       Jun        2016    The Kelly File      6/21/2016          1:00     Demons at our door        $65,368.00   $55,562.80   NRA Media
616-1386-1   146611   6/26/2016   Jun-16       Jun        2016    Hannity             6/22/2016          1:00     My Freedom Rev1           $42,364.00   $36,009.40   NRA Media
616-1386-1   146611   6/26/2016   Jun-16       Jun        2016    The Five            6/22/2016          1:30     My Story                  $39,993.00   $33,994.05   NRA Media
616-1386-1   146611   6/26/2016   Jun-16       Jun        2016    O'Reilly Factor     6/23/2016          1:00     Demons at our door        $76,836.00   $65,310.60   NRA Media
616-1386-1   146611   6/26/2016   Jun-16       Jun        2016    Special Report      6/24/2016          1:00     My Freedom Rev1           $29,030.00   $24,675.50   NRA Media
616-1386-1   146611   6/26/2016   Jun-16       Jun        2016    The Five            6/24/2016          1:00     Demons at our door        $26,662.00   $22,662.70   NRA Media


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                                                                     DRAFT Privileged and Confidential
                                                                    Prepared at the Request of Counsel
716-1013-1   147699   7/31/2016   Jul-16       Jul        2016    O'Reilly Factor     6/27/2016          1:00     Compassion                         $73,172.00    $62,196.20   NRA Media
716-1013-1   147699   7/31/2016   Jul-16       Jul        2016    Special Report      6/29/2016          1:00     Demons at our door                 $27,658.00    $23,509.30   NRA Media
716-1013-1   147699   7/31/2016   Jul-16       Jul        2016    Hannity             6/30/2016          1:00     Truth About Benghazi               $40,366.00    $34,311.10   NRA Media
716-1013-1   147699   7/31/2016   Jul-16       Jul        2016    Special Report       7/5/2016          1:00     Truth About Benghazi               $27,658.00    $23,509.30   NRA Media
716-1013-1   147699   7/31/2016   Jul-16       Jul        2016    Hannity              7/6/2016          1:00     We don't Need You                  $40,366.00    $34,311.10   NRA Media
716-1013-1   147699   7/31/2016   Jul-16       Jul        2016    The Kelly File       7/8/2016          1:00     Demons at our door                 $62,268.00    $52,927.80   NRA Media
716-1013-1   147699   7/31/2016   Jul-16       Jul        2016    O'Reilly Factor     7/11/2016          1:00     Demons at our door                 $73,172.00    $62,196.20   NRA Media
716-1013-1   147699   7/31/2016   Jul-16       Jul        2016    Hannity             7/13/2016          1:00     Racism                             $40,366.00    $34,311.10   NRA Media
716-1013-1   147699   7/31/2016   Jul-16       Jul        2016    The Kelly File      7/15/2016          1:00     Naïve Clingers                     $62,268.00    $52,927.80   NRA Media
716-1013-1   147699   7/31/2016   Jul-16       Jul        2016    EL/Republican C     7/18/2016          1:00     Generations                       $135,440.00   $115,124.00   NRA Media
716-1013-1   147699   7/31/2016   Jul-16       Jul        2016    The Five            7/19/2016          1:00     Racism                             $25,390.00    $21,581.50   NRA Media
716-1013-1   147699   7/31/2016   Jul-16       Jul        2016    The Five            7/21/2016          1:00     Generations                             $0.00         $0.00   NRA Media          No charge
716-1013-1   147699   7/31/2016   Jul-16       Jul        2016    Hannity             7/22/2016          1:00     We don't Need You                  $40,366.00    $34,311.10   NRA Media
716-1013-1   147699   7/31/2016   Jul-16       Jul        2016    O'Reilly Factor     7/22/2016          1:00     Real Empowerment                   $73,172.00    $62,196.20   NRA Media
716-1013-1   147699   7/31/2016   Jul-16       Jul        2016    Special Report      7/26/2016          1:00     Didn't Listen                      $27,658.00    $23,509.30   NRA Media
716-1013-1   147699   7/31/2016   Jul-16       Jul        2016    The Kelly File      7/27/2016          1:00     Compassion                         $62,268.00    $52,927.80   NRA Media
716-1013-1   147699   7/31/2016   Jul-16       Jul        2016    The Five            7/28/2016          1:00     Never Again                        $25,390.00    $21,581.50   NRA Media
716-1013-1   147699   7/31/2016   Jul-16       Jul        2016    O'Reilly Factor     7/29/2016          1:00     Real Empowerment                   $73,172.00    $62,196.20   NRA Media
716-1013-1   147699   7/31/2016   Jul-16       Jul        2016    The Five             7/7/2016          1:00     We don't Need You                  $25,390.00    $21,581.50   NRA Media
716-1013-1   147699   7/31/2016   Jul-16       Jul        2016    The Five            7/15/2016          1:30     My Story                           $38,085.00    $32,372.25   NRA Media
716-1015-1   147701   7/31/2016   Jul-16       Jul        2016    Hannity             7/11/2016          1:00     Naïve Clingers                     $40,366.00    $34,311.10   NRA Media
716-1015-1   147701   7/31/2016   Jul-16       Jul        2016    The Kelly File      7/11/2016          1:00     Never Again                        $62,268.00    $52,927.80   NRA Media
716-1015-1   147701   7/31/2016   Jul-16       Jul        2016    Hannity             7/12/2016          1:00     Generations                        $40,366.00    $34,311.10   NRA Media
716-1015-1   147701   7/31/2016   Jul-16       Jul        2016    O'Reilly Factor     7/12/2016          1:00     Didn't Listen                      $73,172.00    $62,196.20   NRA Media
716-1015-1   147701   7/31/2016   Jul-16       Jul        2016    Special Report      7/12/2016          1:00     Real Empowerment                   $27,658.00    $23,509.30   NRA Media
716-1015-1   147701   7/31/2016   Jul-16       Jul        2016    The Kelly File      7/12/2016          1:00     Never Again                        $62,268.00    $52,927.80   NRA Media
716-1015-1   147701   7/31/2016   Jul-16       Jul        2016    O'Reilly Factor     7/13/2016          1:00     We don't Need You                  $73,172.00    $62,196.20   NRA Media
716-1015-1   147701   7/31/2016   Jul-16       Jul        2016    The Kelly File      7/13/2016          1:00     Never Again                        $62,268.00    $52,927.80   NRA Media
716-1015-1   147701   7/31/2016   Jul-16       Jul        2016    Hannity             7/14/2016          1:00     Racism                             $40,366.00    $34,311.10   NRA Media
716-1015-1   147701   7/31/2016   Jul-16       Jul        2016    Hannity             7/15/2016          1:00     Naïve Clingers                     $40,366.00    $34,311.10   NRA Media
716-1015-1   147701   7/31/2016   Jul-16       Jul        2016    O'Reilly Factor     7/15/2016          1:00     Real Empowerment                   $73,172.00    $62,196.20   NRA Media
716-1015-1   147701   7/31/2016   Jul-16       Jul        2016    The Five            7/15/2016          1:00     Didn't Listen                      $25,390.00    $21,581.50   NRA Media
716-1015-1   147701   7/31/2016   Jul-16       Jul        2016    EL/Republican C     7/18/2016          1:00     Real Empowerment                  $247,500.00   $210,375.00   NRA Media
716-1015-1   147701   7/31/2016   Jul-16       Jul        2016    Special Report      7/18/2016          1:30     My Story                           $41,487.00    $35,263.95   NRA Media
716-1015-1   147701   7/31/2016   Jul-16       Jul        2016    EL/Republican C     7/19/2016          1:00     Real Empowerment                  $247,500.00   $210,375.00   NRA Media
716-1015-1   147701   7/31/2016   Jul-16       Jul        2016    EL/Republican C     7/20/2016          1:00     Didn't Listen                     $247,500.00   $210,375.00   NRA Media
716-1015-1   147701   7/31/2016   Jul-16       Jul        2016    The Five            7/20/2016          1:00     Never Again                        $25,390.00    $21,581.50   NRA Media
716-1015-1   147701   7/31/2016   Jul-16       Jul        2016    EL/Republican C     7/21/2016          1:00     We don't Need You                 $247,500.00   $210,375.00   NRA Media
716-1015-1   147701   7/31/2016   Jul-16       Jul        2016    Special Report      7/21/2016          1:00     Compassion                         $27,658.00    $23,509.30   NRA Media
716-1015-1   148738   7/31/2016   Jul-16       Jul        2016    The Five            7/21/2016          1:00     Generations                             $0.00         $0.00   NRA Media          No charge
716-1015-1   147701   7/31/2016   Jul-16       Jul        2016    Special Report      7/22/2016          1:00     Never Again                        $27,658.00    $23,509.30   NRA Media
815-1017-1   136678   8/30/2015   Aug-15       Aug        2015    Fox & Friends Fi    8/18/2015          1:00     Mom and Dad - Foundation            $3,672.00     $3,121.20   NRA Foundation
815-1017-1   136678   8/30/2015   Aug-15       Aug        2015    O'Reilly Factor     8/18/2015          1:00     Neighbors - Foundation             $58,316.00    $49,568.60   NRA Foundation
815-1017-1   136678   8/30/2015   Aug-15       Aug        2015    Fox & Friends       8/19/2015          1:00     Work Ethic - Foundation            $10,284.00     $8,741.40   NRA Foundation
815-1017-1   136678   8/30/2015   Aug-15       Aug        2015    O'Reilly Factor     8/19/2015          1:30     Service - Foundation               $87,474.00    $74,352.90   NRA Foundation
815-1017-1   136678   8/30/2015   Aug-15       Aug        2015    The Kelly File      8/20/2015          1:00     Neighbors - Foundation             $49,468.00    $42,047.80   NRA Foundation
815-1017-1   136678   8/30/2015   Aug-15       Aug        2015    The Five            8/21/2015          1:00     Courage - Foundation               $20,196.00    $17,166.60   NRA Foundation
815-1017-1   136678   8/30/2015   Aug-15       Aug        2015    Fox & Friends       8/24/2015          1:00     Selective law enforcement - Fou    $10,284.00     $8,741.40   NRA Foundation
815-1017-1   136678   8/30/2015   Aug-15       Aug        2015    The Kelly File      8/24/2015          1:00     Mom and Dad - Foundation           $49,468.00    $42,047.80   NRA Foundation
815-1017-1   136678   8/30/2015   Aug-15       Aug        2015    O'Reilly Factor     8/25/2015          1:00     Work Ethic - Foundation            $58,316.00    $49,568.60   NRA Foundation


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                                                                     DRAFT Privileged and Confidential
                                                                    Prepared at the Request of Counsel
815-1017-1   136678   8/30/2015   Aug-15       Aug        2015    Fox & Friends       8/26/2015          1:00     Service - Foundation       $15,426.00   $13,112.10   NRA Foundation
815-1017-1   136678   8/30/2015   Aug-15       Aug        2015    Hannity             8/26/2015          1:00     Neighbors - Foundation     $32,120.00   $27,302.00   NRA Foundation
815-1017-1   136678   8/30/2015   Aug-15       Aug        2015    Fox & Friends Fi    8/28/2015          1:00     Golden Rule - Foundation    $3,672.00    $3,121.20   NRA Foundation
816-1019-1   149025   8/28/2016   Aug-16       Aug        2016    O'Reilly Factor      8/1/2016          1:00     Never Again                $73,172.00   $62,196.20   NRA Media
816-1019-1   149025   8/28/2016   Aug-16       Aug        2016    The Kelly File       8/2/2016          1:00     Didn't Listen              $62,268.00   $52,927.80   NRA Media
816-1019-1   149025   8/28/2016   Aug-16       Aug        2016    Hannity              8/3/2016          1:00     Naïve Clingers             $40,366.00   $34,311.10   NRA Media
816-1019-1   149025   8/28/2016   Aug-16       Aug        2016    Special Report       8/5/2016          1:00     Racism                     $27,658.00   $23,509.30   NRA Media
816-1019-1   149025   8/28/2016   Aug-16       Aug        2016    The Five             8/8/2016          1:00     Never Again                $25,390.00   $21,581.50   NRA Media
816-1019-1   149025   8/28/2016   Aug-16       Aug        2016    The Kelly File       8/9/2016          1:00     Real Empowerment           $62,268.00   $52,927.80   NRA Media
816-1019-1   149025   8/28/2016   Aug-16       Aug        2016    O'Reilly Factor     8/10/2016          1:00     Didn't Listen              $73,172.00   $62,196.20   NRA Media
816-1019-1   149025   8/28/2016   Aug-16       Aug        2016    The Five            8/11/2016          1:30     My Story                   $38,085.00   $32,372.25   NRA Media
816-1019-1   149025   8/28/2016   Aug-16       Aug        2016    O'Reilly Factor     8/12/2016          1:00     Compassion                 $73,172.00   $62,196.20   NRA Media
816-1019-1   149025   8/28/2016   Aug-16       Aug        2016    The Kelly File      8/15/2016          1:00     Never Again                $62,268.00   $52,927.80   NRA Media
816-1019-1   149025   8/28/2016   Aug-16       Aug        2016    O'Reilly Factor     8/17/2016          1:00     Racism                     $73,172.00   $62,196.20   NRA Media
816-1019-1   149025   8/28/2016   Aug-16       Aug        2016    Special Report      8/18/2016          1:00     Didn't Listen              $27,658.00   $23,509.30   NRA Media
816-1019-1   149025   8/28/2016   Aug-16       Aug        2016    Hannity             8/19/2016          1:00     Real Empowerment           $40,366.00   $34,311.10   NRA Media
816-1019-1   149025   8/28/2016   Aug-16       Aug        2016    Hannity             8/22/2016          1:00     Didn't Listen              $40,366.00   $34,311.10   NRA Media
816-1019-1   149025   8/28/2016   Aug-16       Aug        2016    O'Reilly Factor     8/23/2016          1:00     Never Again                $73,172.00   $62,196.20   NRA Media
816-1019-1   149025   8/28/2016   Aug-16       Aug        2016    The Kelly File      8/25/2016          1:00     Racism                     $62,268.00   $52,927.80   NRA Media
816-1019-1   149025   8/28/2016   Aug-16       Aug        2016    The Five            8/26/2016          1:00     Real Empowerment           $25,390.00   $21,581.50   NRA Media
915-1016-1   136982   9/27/2015   Sep-15       Sep        2015    Hannity             8/31/2015          1:00     Work Ethic - Foundation    $32,120.00   $27,302.00   NRA Foundation
915-1016-1   136982   9/27/2015   Sep-15       Sep        2015    O'Reilly Factor      9/1/2015          1:00     Mom and Dad - Foundation   $58,316.00   $49,568.60   NRA Foundation
915-1016-1   136982   9/27/2015   Sep-15       Sep        2015    Fox & Friends        9/2/2015          1:00     Mom and Dad - Foundation   $10,284.00    $8,741.40   NRA Foundation
915-1016-1   136982   9/27/2015   Sep-15       Sep        2015    The Five             9/2/2015          1:00     Neighbors - Foundation     $20,196.00   $17,166.60   NRA Foundation
915-1016-1   136982   9/27/2015   Sep-15       Sep        2015    The Kelly File       9/4/2015          1:30     Service - Foundation       $74,202.00   $63,071.70   NRA Foundation
915-1016-1   136982   9/27/2015   Sep-15       Sep        2015    Hannity              9/7/2015          1:30     My Story                   $48,180.00   $40,953.00   NRA Foundation
915-1016-1   136982   9/27/2015   Sep-15       Sep        2015    O'Reilly Factor      9/7/2015          1:00     Freedom Rev1               $58,316.00   $49,568.60   NRA Foundation
915-1016-1   136982   9/27/2015   Sep-15       Sep        2015    Hannity              9/8/2015          1:00     Freedom Rev1               $32,120.00   $27,302.00   NRA Foundation
915-1016-1   136982   9/27/2015   Sep-15       Sep        2015    Fox & Friends        9/9/2015          1:00     Moms Like Me Rev.2         $10,284.00    $8,741.40   NRA Foundation
915-1016-1   136982   9/27/2015   Sep-15       Sep        2015    The Kelly File      9/10/2015          1:00     Moms Like Me Rev.2         $49,468.00   $42,047.80   NRA Foundation
915-1016-1   136982   9/27/2015   Sep-15       Sep        2015    O'Reilly Factor     9/11/2015          1:00     Freedom Rev1               $58,316.00   $49,568.60   NRA Foundation
915-1016-1   136982   9/27/2015   Sep-15       Sep        2015    The Five            9/11/2015          1:00     My rights                  $20,196.00   $17,166.60   NRA Foundation
915-1016-1   136982   9/27/2015   Sep-15       Sep        2015    Fox & Friends       9/14/2015          1:30     My Story                   $14,691.00   $12,487.35   NRA Foundation
915-1016-1   136982   9/27/2015   Sep-15       Sep        2015    The Five            9/15/2015          1:30     Carol Browne               $30,288.00   $25,744.80   NRA Foundation
915-1016-1   136982   9/27/2015   Sep-15       Sep        2015    O'Reilly Factor     9/16/2015          1:00     My rights                  $58,316.00   $49,568.60   NRA Foundation
915-1016-1   136982   9/27/2015   Sep-15       Sep        2015    The Kelly File      9/16/2015          1:30     Carol Browne               $74,202.00   $63,071.70   NRA Foundation
915-1016-1   136982   9/27/2015   Sep-15       Sep        2015    Fox & Friends       9/17/2015          1:00     My rights                  $10,284.00    $8,741.40   NRA Foundation
915-1016-1   136982   9/27/2015   Sep-15       Sep        2015    Hannity             9/17/2015          1:00     Moms Like Me Rev.2         $32,120.00   $27,302.00   NRA Foundation
915-1016-1   136982   9/27/2015   Sep-15       Sep        2015    The Five            9/18/2015          1:00     Freedom Rev1               $20,196.00   $17,166.60   NRA Foundation
915-1016-1   136982   9/27/2015   Sep-15       Sep        2015    The Kelly File      9/18/2015          1:00     Freedom Rev1               $49,468.00   $42,047.80   NRA Foundation
915-1016-1   136982   9/27/2015   Sep-15       Sep        2015    Fox & Friends       9/21/2015          1:30     My Story                   $15,426.00   $13,112.10   NRA Foundation
915-1016-1   136982   9/27/2015   Sep-15       Sep        2015    Hannity             9/21/2015          1:30     Carol Browne               $48,180.00   $40,953.00   NRA Foundation
915-1016-1   136982   9/27/2015   Sep-15       Sep        2015    Fox & Friends       9/22/2015          1:00     Moms Like Me Rev.2         $10,284.00    $8,741.40   NRA Foundation
915-1016-1   136982   9/27/2015   Sep-15       Sep        2015    Hannity             9/23/2015          1:00     Freedom Rev1               $32,120.00   $27,302.00   NRA Foundation
915-1016-1   136982   9/27/2015   Sep-15       Sep        2015    The Five            9/24/2015          1:00     Moms Like Me Rev.2         $20,196.00   $17,166.60   NRA Foundation
915-1016-1   136982   9/27/2015   Sep-15       Sep        2015    The Kelly File      9/24/2015          1:00     My rights                  $49,468.00   $42,047.80   NRA Foundation
915-1016-1   136982   9/27/2015   Sep-15       Sep        2015    O'Reilly Factor     9/25/2015          1:00     Freedom Rev1               $58,316.00   $49,568.60   NRA Foundation
915-1017-1   137194   9/27/2015   Sep-15       Sep        2015    O'Reilly Factor      9/8/2015          1:00     My Honor                   $65,958.00   $56,064.30   NRA Media
915-1017-1   137194   9/27/2015   Sep-15       Sep        2015    The Five             9/8/2015          1:00     My Honor                   $22,840.00   $19,414.00   NRA Media
915-1017-1   137194   9/27/2015   Sep-15       Sep        2015    The Kelly File       9/9/2015          1:00     My Honor                   $55,950.00   $47,557.50   NRA Media


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915-1017-1   137194   9/27/2015   Sep-15       Sep        2015    Hannity             9/10/2015          1:00     My Honor                  $36,328.00   $30,878.80   NRA Media
915-1017-1   137194   9/27/2015   Sep-15       Sep        2015    Special Report      9/11/2015          1:00     My Honor                  $24,866.00   $21,136.10   NRA Media
915-1017-1   137194   9/27/2015   Sep-15       Sep        2015    O'Reilly Factor     9/14/2015          1:00     My Honor                  $65,958.00   $56,064.30   NRA Media
915-1017-1   137194   9/27/2015   Sep-15       Sep        2015    Hannity             9/15/2015          1:00     My Honor                  $36,328.00   $30,878.80   NRA Media
916-1021-1   149639   9/25/2016   Sep-16       Sep        2016    The Five             9/2/2016          1:30     My Story                  $38,085.00   $32,372.25   NRA Media
916-1021-1   149639   9/25/2016   Sep-16       Sep        2016    The Kelly File       9/9/2016          1:00     Never Again               $62,268.00   $52,927.80   NRA Media
916-1021-1   149639   9/25/2016   Sep-16       Sep        2016    Special Report      9/12/2016          1:00     Racism                    $27,658.00   $23,509.30   NRA Media
916-1021-1   149639   9/25/2016   Sep-16       Sep        2016    Special Report      9/23/2016          1:00     Never Again               $27,658.00   $23,509.30   NRA Media
916-1022-1   149642   9/25/2016   Sep-16       Sep        2016    O'Reilly Factor     8/29/2016          1:00     Real Empowerment          $73,172.00   $62,196.20   NRA Foundation
916-1022-1   149642   9/25/2016   Sep-16       Sep        2016    The Kelly File      8/30/2016          1:00     Truly Free                $62,268.00   $52,927.80   NRA Foundation
916-1022-1   149642   9/25/2016   Sep-16       Sep        2016    O'Reilly Factor      9/2/2016          1:00     Didn't Listen             $73,172.00   $62,196.20   NRA Foundation
916-1022-1   149642   9/25/2016   Sep-16       Sep        2016    The Kelly File       9/5/2016          1:00     Freedom Rev1              $62,268.00   $52,927.80   NRA Foundation
916-1022-1   149642   9/25/2016   Sep-16       Sep        2016    The Kelly File       9/5/2016          1:00     Didn't Listen             $62,268.00   $52,927.80   NRA Foundation
916-1022-1   149642   9/25/2016   Sep-16       Sep        2016    O'Reilly Factor     9/15/2016          1:00     Real Empowerment          $73,172.00   $62,196.20   NRA Foundation
916-1022-1   149642   9/25/2016   Sep-16       Sep        2016    The Kelly File      9/16/2016          1:00     Didn't Listen             $62,268.00   $52,927.80   NRA Foundation
916-1022-1   149642   9/25/2016   Sep-16       Sep        2016    Hannity             9/19/2016          1:00     Real Empowerment          $40,366.00   $34,311.10   NRA Foundation
916-1022-1   149642   9/25/2016   Sep-16       Sep        2016    The Kelly File      9/20/2016          1:00     My rights                 $62,268.00   $52,927.80   NRA Foundation
916-1022-1   149642   9/25/2016   Sep-16       Sep        2016    O'Reilly Factor     9/21/2016          1:00     Real Empowerment          $73,172.00   $62,196.20   NRA Foundation
916-1022-1   149642   9/25/2016   Sep-16       Sep        2016    The Kelly File      9/22/2016          1:00     Didn't Listen             $62,268.00   $52,927.80   NRA Foundation




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Monthly Spend Comparison for NRA Media and NRA Foundation
The charts below show the monthly spend comparison for NRA Media and NRA Foundation during 2015 and 2016. We observed that in 2015 the NRA Foundation purchased the majority of the media spots; whereas, in 2016 the NRA Media purchased the majority of media spots. There are significant portions of the year
where the spending on FOX News media is exclusively for NRA Foundation or NRA Media, which could be indicative of available funding driving media strategy.

Results of Analysis
NRA Foundation spending was almost 4 times as much as NRA Media spending in 2015; this is mainly due to number of units purchased. There were approximately 4.5x more units purchased by NRA Foundation. The unit cost was similar.
In 2016, the spending shifts to NRA Media. This is due to 30% more units being purchased by NRA Media and the unit cost is 6% more for NRA Media as opposed to the NRA Foundation. Bill Winkler, Ackerman CFO, stated the price difference was due to the political nature of the commercials; however, as this is a subjective
determination FRA is unable to confirm.

The table below summarizes the commercials run exclusively for NRA Media and those that overlap with NRA Foundation:
                        NRA Media Only             Overlap
                        Racism                     My Story
                        Naïve Clingers             Real Empowerment
                        Never Again                Didn't Listen
                        Truth About Benghazi       Truly Free
                        We Don't Need You          Hypocrisy
                        Disarmament                Demons at our door
                        San Bernandino
                        You haven't met America
                        Moms Like Me Rev.2
                        My Freedom Rev1
                        Compassion
                        Generations


                                                                                                                                                                          3000000
        Nov


        Oct


        Sep
                                                                                                                                                                          2500000

        Aug


         Jul
 2016




        Jun                                                                                                                                                               2000000


        May


        Apr
                                                                                                                                                                          1500000
        Mar


        Feb


        Jan
                                                                                                                                                                          1000000

        Dec


        Nov


        Oct                                                                                                                                                                500000
 2015




        Sep


        Aug

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May                                                                                                                 May     Aug   Sep          Oct   Nov   Dec   Jan    Feb       Mar   Apr     May   Jun    Jul   Aug   Sep   Oct     Nov
                                                                                                                                        2015                                                          2016
      0   500000   1000000              1500000           2000000    2500000             3000000
                             NRA Foundation   NRA Media                                                                                                          NRA Foundation     NRA Media




                                                                                                                                                                                                                                     APP. 00579
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Monthly Unit Cost Comparison of Fox News Programs for NRA Media and NRA Foundation
The chart below shows every instance where a commercial has aired, for NRA Media and NRA Foundation, during the 2015 calendar year.


                                                                                                                                                                                              Unit Cost Comparison

 $120,000




 $100,000




  $80,000




  $60,000




  $40,000




  $20,000




      $-




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                                                                                                                                                                                                                                                                                                                                                                                            Oct-21




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            Aug-19

                     Aug-26




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                     Fox & Friends
                                 Fox & Friends First                                                                     Hannity                                                                                                O'Reilly Factor                                                          Special Report                                                              The Five                                                                                     The Kelly File

                                                                                                                                                                                                                                          NRA Foundation                                 NRA Media




Program                                    Date                    NRA Foundation NRA Media                                                                               Summary:                                                                                                                       NRA Foundation                                                  NRA Media
Fox & Friends                                     Aug-19 $                                   10,284                                                                       Total Cost                                                                                                            $                               4,683,135                 $                           1,013,268
Fox & Friends                                     Aug-24 $                                   10,284                                                                       Total # of Units                                                                                                      $                                         93              $                                     20
Fox & Friends                                     Aug-26 $                                   15,426                                                                       Average Unit Cost                                                                                                     $                                     50,356              $                                 50,663
Fox & Friends                                     Sep-02 $                                   10,284                                                                       Number of units over 1 minute in duration                                                                                                                       18                                                   -
Fox & Friends                                      Sep-09 $                                  10,284
Fox & Friends                                      Sep-14 $                                  14,691
Fox & Friends                                      Sep-17 $                                  10,284
Fox & Friends                                      Sep-21 $                                  15,426
Fox & Friends                                      Sep-22 $                                  10,284
Fox & Friends First                               Aug-18 $                                    3,672
Fox & Friends First                               Aug-28 $                                    3,672
Hannity                                           Aug-26 $                                   32,120
Hannity                                           Aug-31 $                                   32,120
Hannity                                            Sep-07 $                                  48,180
Hannity                                            Sep-08 $                                  32,120
Hannity                                            Sep-10                                                       $            36,328
Hannity                                            Sep-15                                                       $            36,328
Hannity                                            Sep-17 $                                  32,120



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Monthly Unit Cost Comparison of Fox News Programs for NRA Media and NRA Foundation
The chart below shows every instance where a commercial has aired, for NRA Media and NRA Foundation, during the 2016 calendar year.


                                                                                                                                                                                                                                             Unit Cost Comparison

 $120,000




 $100,000




  $80,000




  $60,000




  $40,000




  $20,000




      $-




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                                                         Apr-05
                                                                  Jun-02
                                                                           Jun-22




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            Jul-18
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                                                Feb-25




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                                                                                             Jul-14




  EL/Republican Convention                                                     Hannity                                                                                                                                O'Reilly Factor                                                                                                                               Special Report                                                                                                                The Five                                                                                                                        The Kelly File
                                                                                                                                                                                                                                                                                                               NRA Foundation                                                   NRA Media




           Program                                          Date                     NRA Foundation NRA Media                                                                                                      Summary:                                                                                                                       NRA Foundation                                                          NRA Media

EL/Republican                                                       Jul-18                                                                $        135,440                                                         Total Cost                                                                                                                     $                 5,574,058                         $                                            7,900,777
Convention
EL/Republican                                                       Jul-19                                                                $        247,500                                                         Total # of Units                                                                                                                                                     99                                                                           132
Convention
EL/Republican                                                       Jul-20                                                                $        247,500                                                         Average Unit Cost                                                                                                              $                          56,304                   $                                                     59,854
Convention
EL/Republican                                                       Jul-21                                                                $        247,500                                                         Number of units over 1 minute in duration                                                                                                                                 6                                                                           6
Convention
Hannity                                                            Jan-05             $                           41,970                  $           41,970
Hannity                                                            Jan-13                                                                 $           41,970
Hannity                                                            Jan-26                                                                 $           41,970
Hannity                                                            Jan-27             $                           41,970
Hannity                                                           Feb-08              $                           41,970
Hannity                                                           Feb-17                                                                  $           41,970
Hannity                                                           Feb-18              $                           62,955
Hannity                                                           Feb-24              $                           41,970
Hannity                                                           Feb-25              $                           41,970
Hannity                                                           Mar-02              $                           41,970
Hannity                                                           Apr-01                                                                  $           42,364
Hannity                                                           Apr-05              $                           42,364
Hannity                                                           Apr-11              $                           42,364
Hannity                                                           May-04              $                           42,364



                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 APP. 00581
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Monthly Spend by Program
Trend analysis of total spend by invoice period

According to discussions with Ackerman, price fluctuations are driven by a number of reasons including, but not limited to, major events, inventory, negotiation leverage, duration of commercials (and volume of longer commercials in a
given month). A trend analysis for the individual programs can be found on the subsequent tabs.




 $800,000.00



                                                                                                                                                                                                                  EL/Republican Convention
 $600,000.00                                                                                                                                                                                                      Fox & Friends
                                                                                                                                                                                                                  Fox & Friends First
                                                                                                                                                                                                                  Hannity
 $400,000.00                                                                                                                                                                                                      O'Reilly Factor
                                                                                                                                                                                                                  Special Report
                                                                                                                                                                                                                  The Five
 $200,000.00                                                                                                                                                                                                      The Kelly File




          $-
                   May        Aug        Sep          Oct     Nov        Dec        Jan           Feb     Mar        Apr        May        Jun        Jul        Aug        Sep        Oct        Nov
                                               2015                                                                                       2016




                                                                                                                                                                                                                                             APP. 00582
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The Kelly File
This chart shows unit cost trend analysis by program by day.

Observation: FRA analyzed percent changes greater than 10% between each media buy. The table below contains, where possible, desktop research from public domain sources to provide
context around price increases over 10%. The public domain sources included show transcripts; where transcripts were not available Infoplease.com is referenced as the website compiles and
archives the major news for each month. FRA did not identify notable information in some instances and labeled those fluctuations as unknown.




 140,000.00



 120,000.00



 100,000.00



  80,000.00



  60,000.00



  40,000.00



  20,000.00



         -



Source        (All)                                                   spike %

    Date              Unit Cost     Number of Units % Change                                                   FRA Notes on Price Deviations
   8/20/2015 $            49,468.00            1.00       -
   8/24/2015 $            49,468.00            1.00      0%
    9/4/2015 $            74,202.00            1.00     50%           Commercial duration 1:30 vs. standard duration of 1:00


                                                                                                                                                                                              APP. 00583
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  9/9/2015   $       55,950.00       1.00   -25%   Ben Carson appeared on the program
 9/10/2015   $       49,468.00       1.00   -12%
 9/16/2015   $       74,202.00       1.00   50%    Commercial duration 1:30 vs. standard duration of 1:00
 9/18/2015   $       49,468.00       1.00   -33%
 9/24/2015   $       49,468.00       1.00    0%
10/14/2015   $      114,306.00       1.00   131%   The show contained a discussion of gun laws and presidential candidates' policies.
10/16/2015   $       76,204.00       1.00   -33%   Period surrounding 2016 Presidential debates
10/20/2015   $       76,204.00       1.00    0%    Period surrounding 2016 Presidential debates
10/22/2015   $      114,306.00       1.00   50%    Hillary Clinton Benghazi hearing was held this day and the commercial duration was 1:30
10/23/2015   $       76,204.00       1.00   -33%
10/26/2015   $      114,306.00       1.00    50%   Commercial duration 1:30 vs. standard duration of 1:00
10/27/2015   $       76,204.00       1.00   -33%
 11/4/2015   $       76,204.00       1.00    0%
11/11/2015   $      114,306.00       1.00   50%    Commercial duration 1:30 vs. standard duration of 1:00
11/19/2015   $      114,306.00       1.00    0%    Commercial duration 1:30 vs. standard duration of 1:00
11/25/2015   $       76,204.00       1.00   -33%
 12/1/2015   $       76,204.00       1.00    0%
 12/8/2015   $       76,204.00       1.00    0%
 12/9/2015   $       75,600.00       1.00    -1%
12/14/2015   $       75,360.00       1.00    0%
  1/4/2016   $       64,586.00       1.00   -14%
  1/6/2016   $       99,358.00       1.00   54%    The show discussed Benghazi
  1/7/2016   $       64,586.00       1.00   -35%
 1/18/2016   $       64,586.00       1.00    0%
 1/19/2016   $       64,586.00       1.00    0%
 1/20/2016   $       64,586.00       1.00    0%
  2/2/2016   $       64,586.00       1.00    0%
 2/11/2016   $       64,586.00       1.00    0%
 2/22/2016   $       64,586.00       1.00    0%
  3/1/2016   $       64,586.00       1.00    0%
  3/4/2016   $       64,586.00       1.00     0%
  3/7/2016   $       64,586.00       1.00    0%
  3/9/2016   $       64,586.00       1.00    0%
 3/18/2016   $       64,586.00       1.00    0%
 3/23/2016   $       64,586.00       1.00    0%
 3/25/2016   $       64,586.00       1.00    0%
  4/4/2016   $       65,368.00       1.00    1%
 4/12/2016   $       65,368.00       1.00    0%

                                                                                                                                             APP. 00584
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                                                                               DRAFT Privileged and Confidential
                                                                              Prepared at the Request of Counsel
 4/20/2016   $    65,368.00       1.00    0%
 4/26/2016   $    65,368.00       1.00   0%
  5/9/2016   $    65,368.00       1.00   0%
 5/24/2016   $    65,368.00       1.00   0%
  6/3/2016   $    65,368.00       1.00   0%
  6/7/2016   $    65,368.00       1.00    0%
 6/10/2016   $    65,368.00       1.00   0%
 6/21/2016   $    65,368.00       1.00   0%
  7/8/2016   $    62,268.00       1.00   -5%
 7/11/2016   $    62,268.00       1.00   0%
 7/12/2016   $    62,268.00       1.00    0%
 7/13/2016   $    62,268.00       1.00   0%
 7/15/2016   $    62,268.00       1.00   0%
 7/27/2016   $    62,268.00       1.00   0%
  8/2/2016   $    62,268.00       1.00    0%
  8/9/2016   $    62,268.00       1.00    0%
 8/15/2016   $    62,268.00       1.00   0%
 8/25/2016   $    62,268.00       1.00   0%
 8/30/2016   $    62,268.00       1.00   0%
  9/5/2016   $    62,268.00       2.00   0%    Two commercial spots for NRA were run on this day @62,268 for a total of 124,536
  9/9/2016   $    62,268.00       1.00    0%
 9/16/2016   $    62,268.00       1.00   0%
 9/20/2016   $    62,268.00       1.00   0%
 9/22/2016   $    62,268.00       1.00   0%
 9/27/2016   $    99,358.00       1.00   60%   Presidential election period
 9/29/2016   $    99,358.00       1.00    0%   Presidential election period
 10/5/2016   $    99,358.00       1.00   0%    Presidential election period
 10/7/2016   $    99,358.00       1.00   0%    Presidential election period
10/10/2016   $    99,358.00       1.00   0%    Presidential election period
10/21/2016   $    99,358.00       1.00    0%   Presidential election period
10/25/2016   $    99,358.00       1.00    0%   Presidential election period
 11/1/2016   $    99,358.00       1.00   0%    Presidential election period




                                                                                                                                  APP. 00585
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                                                                                                        DRAFT Privileged and Confidential
                                                                                                       Prepared at the Request of Counsel

O'Reilly Factor
This chart shows unit cost trend analysis by program by day.

Observation: FRA analyzed percent changes greater than 10% between each media buy. The table below contains, where possible, desktop research from public domain sources to provide context
around price increases over 10%. The public domain sources included show transcripts; where transcripts were not available Infoplease.com is referenced as the website compiles and archives the major
news for each month. FRA did not identify notable information in some instances and labeled those fluctuations as unknown.


 140,000



 120,000



 100,000



  80,000



  60,000



  40,000



  20,000



         -


Source        (All)


                                                               % Change of
   Date               Sum of Cost       Number of Units                                                                              FRA Notes
                                                               Monthly Average

  8/18/2015   $             58,316.00                     1            -
  8/19/2015   $             87,474.00                     1          50%         Donald Trump appeared on the O'Reilly Factor.
  8/25/2015   $             58,316.00                     1          -33%
   9/1/2015   $             58,316.00                     1           0%
   9/7/2015   $             58,316.00                     1           0%

                                                                                                                                                                                                         APP. 00586
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                                                                      DRAFT Privileged and Confidential
                                                                     Prepared at the Request of Counsel

  9/8/2015   $   65,958.00      1       13%    Bill O'Reilly had a planned interview with Donald Trump.
 9/11/2015   $   58,316.00      1      -12%
 9/14/2015   $   65,958.00      1       13%    Unknown
 9/16/2015   $   58,316.00      1      -12%
 9/25/2015   $   58,316.00      1        0%
10/15/2015   $   89,580.00      1       54%    Period surrounding 2016 Presidential debates
10/19/2015   $   89,580.00      1        0%    Period surrounding 2016 Presidential debates
10/21/2015   $   89,580.00      1        0%    Period surrounding 2016 Presidential debates
10/29/2015   $   89,580.00      1        0%    Period surrounding 2016 Presidential debates (Republicans Hold Third 2016 Presidential Candidate Debate; Paul Ryan elected as speaker of the House)
 11/3/2015   $   89,580.00      1       0%     Planned Parenthood incident
 11/9/2015   $   89,580.00      1       0%
 12/3/2015   $   98,748.00      1       10%    Day after San Bernandino Incident.
 12/7/2015   $   89,580.00      1       -9%
 12/8/2015   $   88,612.00      1       -1%
  1/6/2016   $   75,944.00      1      -14%
  1/7/2016   $   75,944.00      1        0%
 1/11/2016   $   75,944.00      1        0%
 1/21/2016   $   75,944.00      1        0%
  2/4/2016   $   75,944.00      1        0%
 2/12/2016   $   75,944.00      1        0%
 2/19/2016   $   75,944.00      1        0%
 2/26/2016   $   75,944.00      1        0%
 2/29/2016   $   75,944.00      1        0%
 3/10/2016   $   75,944.00      1        0%
 3/14/2016   $   75,944.00      1       0%
 3/16/2016   $   75,944.00      1        0%
 3/22/2016   $   75,944.00      1        0%
 3/29/2016   $   76,836.00      1        1%
  4/8/2016   $   76,836.00      1        0%
 4/21/2016   $   76,836.00      1        0%
  5/2/2016   $   76,836.00      1        0%
  5/5/2016   $   76,836.00      1        0%
 5/10/2016   $   76,836.00      1        0%
 5/18/2016   $   76,836.00      1        0%
 5/27/2016   $   76,836.00      1        0%
  6/1/2016   $   76,836.00      1        0%
  6/8/2016   $   76,836.00      1        0%
 6/17/2016   $   76,836.00      1        0%
 6/21/2016   $   76,836.00      1        0%

                                                                                                                                                                                            APP. 00587
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                                                                         DRAFT Privileged and Confidential
                                                                        Prepared at the Request of Counsel

 6/23/2016   $    76,836.00       1       0%
 6/27/2016   $    73,172.00       1      -5%
 7/11/2016   $    73,172.00       1       0%
 7/12/2016   $    73,172.00       1      0%
 7/13/2016   $    73,172.00       1      0%
 7/15/2016   $    73,172.00       1      0%
 7/22/2016   $    73,172.00       1      0%
 7/29/2016   $    73,172.00       1      0%
  8/1/2016   $    73,172.00       1      0%
 8/10/2016   $    73,172.00       1      0%
 8/12/2016   $    73,172.00       1      0%
 8/17/2016   $    73,172.00       1      0%
 8/23/2016   $    73,172.00       1      0%
 8/29/2016   $    73,172.00       1      0%
  9/2/2016   $    73,172.00       1      0%
 9/15/2016   $    73,172.00       1      0%
 9/21/2016   $    73,172.00       1      0%
 9/30/2016   $   116,786.00       1      60%     Presidential election period
 10/3/2016   $   116,786.00       1       0%     Presidential election period
10/12/2016   $   116,786.00       1       0%     Presidential election period
10/14/2016   $   116,786.00       1       0%     Presidential election period
10/17/2016   $   116,786.00       1       0%     Presidential election period
10/20/2016   $   116,786.00       1       0%     Presidential election period
10/24/2016   $   116,786.00       1       0%     Presidential election period
10/28/2016   $   116,786.00       1      0%      Presidential election period
10/31/2016   $   116,786.00       1       0%     Presidential election period
 11/2/2016   $   116,786.00       1       0%     Presidential election period
 11/4/2016   $   116,786.00       1       0%     Presidential election period
 11/7/2016   $   116,786.00       1      0%      Presidential election period




                                                                                                             APP. 00588
                                        Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21                            Page 163 of 1087 PageID 30368
                                                                                            DRAFT Privileged and Confidential
                                                                                           Prepared at the Request of Counsel
Hannity
This chart shows unit cost trend analysis by program by day.

Observation: FRA analyzed percent changes greater than 10% between each media buy. The table below contains, where possible, desktop research from public domain sources to provide context
around price increases over 10%. The public domain sources included show transcripts; where transcripts were not available Infoplease.com is referenced as the website compiles and archives the major
news for each month. FRA did not identify notable information in some instances and labeled those fluctuations as unknown.


      80,000


      70,000


      60,000


      50,000


      40,000


      30,000


      20,000


      10,000


          -




    Date             Unit Cost         Number of Units         % Change                                                               FRA Notes
    8/26/2015   $         32,120.00                        1           -
    8/31/2015   $         32,120.00                        1          0%
     9/7/2015   $         48,180.00                        1         50%         Commercial duration 1:30 vs. standard duration of 1:00
     9/8/2015   $         32,120.00                        1        -33%
    9/10/2015   $         36,328.00                        1         13%
    9/15/2015   $         36,328.00                        1          0%

                                                                                                                                                                                                   APP. 00589
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                                                                     DRAFT Privileged and Confidential
                                                                    Prepared at the Request of Counsel
 9/17/2015   $         32,120.00           1      -12%
 9/21/2015   $         48,180.00           1      50%      Commercial duration 1:30 vs. standard duration of 1:00
 9/23/2015   $         32,120.00           1      -33%
 9/28/2015   $         49,394.00           1      54%
10/15/2015   $         74,091.00           1      50%      Commercial duration 1:30 vs. standard duration of 1:00
10/20/2015   $         49,394.00           1      -33%
11/16/2015   $         49,394.00           1        0%
11/23/2015   $         74,091.00           1      50%      Commercial duration 1:30 vs. standard duration of 1:00
 12/3/2015   $         49,394.00           1      -33%
 12/4/2015   $         49,394.00           1        0%
 12/7/2015   $         49,394.00           1        0%
 12/8/2015   $         49,004.00           1       -1%
 12/9/2015   $         49,006.00           1        0%
12/11/2015   $         49,006.00           1        0%
12/14/2015   $         49,394.00           1        1%
12/16/2015   $         49,394.00           1        0%
  1/5/2016   $         41,970.00           2      -15%     Two commercials aired on this day @ $41,970 for a total of $83,940
 1/13/2016   $         41,970.00           1        0%
 1/26/2016   $         41,970.00           1        0%
 1/27/2016   $         41,970.00           1        0%
  2/8/2016   $         41,970.00           1        0%
 2/17/2016   $         41,970.00           1        0%
 2/18/2016   $         62,955.00           1      50%      Commercial duration 1:30 vs. standard duration of 1:00
 2/24/2016   $         41,970.00           1      -33%
 2/25/2016   $         41,970.00           1        0%
  3/2/2016   $         41,970.00           1        0%
  4/1/2016   $         42,364.00           1        1%
  4/5/2016   $         42,364.00           1        0%
 4/11/2016   $         42,364.00           1        0%
 4/29/2016   $         42,364.00           1        0%
  5/4/2016   $         42,364.00           1        0%
 5/11/2016   $         42,364.00           1        0%
 5/17/2016   $         42,364.00           1        0%
 5/26/2016   $         42,364.00           1        0%
  6/2/2016   $         42,364.00           1        0%

                                                                                                                                APP. 00590
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                                                               DRAFT Privileged and Confidential
                                                              Prepared at the Request of Counsel
  6/9/2016   $   42,364.00           1        0%
 6/20/2016   $   42,364.00           1        0%
 6/22/2016   $   42,364.00           1        0%
 6/30/2016   $   40,366.00           1       -5%
  7/6/2016   $   40,366.00           1        0%
 7/11/2016   $   40,366.00           1        0%
 7/12/2016   $   40,366.00           1        0%
 7/13/2016   $   40,366.00           1        0%
 7/14/2016   $   40,366.00           1        0%
 7/15/2016   $   40,366.00           1        0%
 7/22/2016   $   40,366.00           1        0%
  8/3/2016   $   40,366.00           1        0%
 8/19/2016   $   40,366.00           1        0%
 8/22/2016   $   40,366.00           1        0%
 9/19/2016   $   40,366.00           1        0%
 9/28/2016   $   64,406.00           1      60%      Presidential election period
 10/5/2016   $   64,406.00           1        0%     Presidential election period
 10/6/2016   $   64,406.00           1        0%     Presidential election period
10/11/2016   $   64,406.00           1        0%     Presidential election period
10/13/2016   $   64,406.00           1        0%     Presidential election period
10/17/2016   $   64,406.00           1        0%     Presidential election period
10/24/2016   $   64,406.00           1        0%     Presidential election period
10/26/2016   $   64,406.00           1        0%     Presidential election period
10/28/2016   $   64,406.00           1        0%     Presidential election period
 11/2/2016   $   64,406.00           1        0%     Presidential election period
 11/4/2016   $   64,406.00           1        0%     Presidential election period
 11/7/2016   $   64,406.00           1        0%     Presidential election period
11/30/2016   $   49,004.00           1      -24%




                                                                                                   APP. 00591
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                                                                                           DRAFT Privileged and Confidential
                                                                                          Prepared at the Request of Counsel
Special Report
This chart shows unit cost trend analysis by program by day.


Observation: FRA analyzed percent changes greater than 10% between each media buy. The table below contains, where possible, desktop research from public domain
sources to provide context around price increases over 10%. The public domain sources included show transcripts; where transcripts were not available Infoplease.com is
referenced as the website compiles and archives the major news for each month. FRA did not identify notable information in some instances and labeled those fluctuations as
unknown.


 $60,000.00


 $50,000.00


 $40,000.00


 $30,000.00


 $20,000.00


 $10,000.00


        $-
               9/11/2015
               9/30/2015
              10/15/2015
              10/16/2015
              10/23/2015
              10/30/2015
               11/5/2015
              11/10/2015
               12/3/2015
               12/4/2015
              12/14/2015
              12/17/2015
                1/4/2016
                1/6/2016
                1/8/2016
               1/15/2016
               1/25/2016
                2/1/2016
               2/10/2016
               2/16/2016
               2/24/2016
               2/26/2016
               2/29/2016
                3/8/2016
               3/15/2016
               3/16/2016
               3/24/2016
               3/29/2016
               3/31/2016
                4/6/2016
                4/7/2016
               4/15/2016
               4/28/2016
               5/16/2016
               5/24/2016
               6/24/2016
               6/29/2016
                7/5/2016
               7/12/2016
               7/18/2016
               7/21/2016
               7/22/2016
               7/26/2016
                8/5/2016
               8/18/2016
               9/12/2016
               9/23/2016
               10/4/2016
              10/18/2016
              10/21/2016
              10/25/2016
              10/26/2016
               11/3/2016
Date              Unit Cost     Number of Units % Change                                                              FRA Notes
 9/11/2015    $       24,866.00 $          1.00
 9/30/2015    $       35,572.00 $          1.00      43%
10/15/2015    $       35,572.00 $          1.00       0%
10/16/2015    $       35,572.00 $          1.00       0%
10/23/2015    $       35,574.00 $          1.00       0%
10/30/2015    $       36,138.00 $          1.00       2%

                                                                                                                                                                              APP. 00592
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                                                                        DRAFT Privileged and Confidential
                                                                       Prepared at the Request of Counsel
 11/5/2015   $        54,204.00   $    1.00      50%     Commercial duration 1:30 vs. standard duration of 1:00
11/10/2015   $        36,138.00   $    1.00     -33%
 12/3/2015   $        33,588.00   $    1.00      -7%
 12/4/2015   $        36,138.00   $    1.00       8%
12/14/2015   $        36,138.00   $    1.00       0%
12/17/2015   $        33,588.00   $    1.00      -7%
  1/4/2016   $        28,654.00   $    1.00     -15%
  1/6/2016   $        28,654.00   $    1.00       0%
  1/8/2016   $        28,654.00   $    1.00       0%
 1/15/2016   $        28,654.00   $    1.00       0%
 1/25/2016   $        28,654.00   $    1.00       0%
  2/1/2016   $        28,654.00   $    1.00       0%
 2/10/2016   $        42,981.00   $    1.00      50%
 2/16/2016   $        28,654.00   $    1.00     -33%
 2/24/2016   $        28,654.00   $    1.00       0%
 2/26/2016   $        28,654.00   $    1.00       0%
 2/29/2016   $        28,654.00   $    1.00       0%
  3/8/2016   $        28,654.00   $    2.00       0%     Two commercials aired on this day @ $28,654 with a total of $57,308.
 3/15/2016   $        28,654.00   $    1.00       0%
 3/16/2016   $        28,654.00   $    1.00       0%
 3/24/2016   $        28,654.00   $    1.00       0%
 3/29/2016   $        29,030.00   $    1.00       1%
 3/31/2016   $        29,030.00   $    1.00       0%
  4/6/2016   $        29,030.00   $    1.00       0%
  4/7/2016   $        43,545.00   $    1.00      50%     Commercial duration 1:30 vs. standard duration of 1:00
 4/15/2016   $        29,030.00   $    1.00     -33%
 4/28/2016   $        29,030.00   $    1.00       0%
 5/16/2016   $        29,030.00   $    1.00       0%
 5/24/2016   $        29,030.00   $    1.00       0%
 6/24/2016   $        29,030.00   $    1.00       0%
 6/29/2016   $        27,658.00   $    1.00      -5%
  7/5/2016   $        27,658.00   $    1.00       0%
 7/12/2016   $        27,658.00   $    1.00       0%
 7/18/2016   $        41,487.00   $    1.00      50%     Commercial duration 1:30 vs. standard duration of 1:00


                                                                                                                                APP. 00593
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                                                                  DRAFT Privileged and Confidential
                                                                 Prepared at the Request of Counsel
 7/21/2016   $   27,658.00   $   1.00    -33%
 7/22/2016   $   27,658.00   $   1.00      0%
 7/26/2016   $   27,658.00   $   1.00      0%
  8/5/2016   $   27,658.00   $   1.00      0%
 8/18/2016   $   27,658.00   $   1.00      0%
 9/12/2016   $   27,658.00   $   1.00      0%
 9/23/2016   $   27,658.00   $   1.00      0%
 10/4/2016   $   44,132.00   $   1.00     60%      Presidential election period
10/18/2016   $   44,132.00   $   1.00      0%      Presidential election period
10/21/2016   $   44,132.00   $   1.00     0%       Presidential election period
10/25/2016   $   44,132.00   $   1.00      0%      Presidential election period
10/26/2016   $   44,132.00   $   1.00     0%       Presidential election period
 11/3/2016   $   44,132.00   $   1.00      0%      Presidential election period




                                                                                                      APP. 00594
                                      Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21                            Page 169 of 1087 PageID 30374
                                                                                                                    DRAFT Privileged and Confidential
                                                                                                                   Prepared at the Request of Counsel
The Five
This chart shows unit cost trend analysis by program by day.

Observation: FRA analyzed percent changes greater than 10% between each media buy. The table below contains, where possible, desktop research from public domain sources to provide
context around price increases over 10%. The public domain sources included show transcripts; where transcripts were not available Infoplease.com is referenced as the website compiles and
archives the major news for each month. FRA did not identify notable information in some instances and labeled those fluctuations as unknown.


 $70,000.00


 $60,000.00


 $50,000.00


 $40,000.00


 $30,000.00


 $20,000.00


 $10,000.00


        $-
               8/21/2015
                9/2/2015
                9/8/2015
               9/11/2015
               9/15/2015
               9/18/2015
               9/24/2015
              10/14/2015
              10/16/2015
              10/20/2015
              10/21/2015
              10/28/2015
               11/2/2015
               11/9/2015
              11/18/2015
              11/23/2015
               12/3/2015
               12/7/2015
               12/8/2015
               12/9/2015
                1/4/2016
                1/5/2016
                1/6/2016
                1/7/2016
               1/11/2016
               1/14/2016
               1/22/2016
                2/2/2016
                2/9/2016
               2/15/2016
               2/24/2016
                3/1/2016
                3/2/2016
                3/4/2016
               3/17/2016
               3/28/2016
                4/5/2016
               4/13/2016
               4/19/2016
               4/25/2016
               6/22/2016
               6/24/2016
               7/15/2016
               7/19/2016
               7/20/2016
               7/21/2016
               7/28/2016
                8/8/2016
               8/11/2016
               8/26/2016
                9/2/2016
               9/27/2016
              10/13/2016
              10/19/2016
              10/20/2016
              10/27/2016
              10/31/2016
               11/7/2016
                7/7/2016
   Date        Average of Cost Count of Program                % Change                                                          FRA Notes
  8/21/2015   $       20,196.00 $           1.00                    -
   9/2/2015   $       20,196.00 $           1.00                  0%
   9/8/2015   $       22,840.00 $           1.00                  13%
  9/11/2015   $       20,196.00 $           1.00                 -12%
  9/15/2015   $       30,288.00 $           1.00                  50%          Commercial duration 1:30 vs. standard duration of 1:00
  9/18/2015   $       20,196.00 $           1.00                 -33%
  9/24/2015   $       20,196.00 $           1.00                   0%
 10/14/2015   $       31,092.00 $           1.00                  54%
 10/16/2015   $       31,092.00 $           1.00                  0%
 10/20/2015   $       46,638.00 $           1.00                  50%          Commercial duration 1:30 vs. standard duration of 1:00
 10/21/2015   $       31,092.00 $           1.00                 -33%
 10/28/2015   $       46,638.00 $           1.00                  50%          Commercial duration 1:30 vs. standard duration of 1:00
  11/2/2015   $       46,638.00 $           1.00                  0%           Commercial duration 1:30 vs. standard duration of 1:00
  11/9/2015   $       31,092.00 $           1.00                 -33%
 11/18/2015   $       31,092.00 $           1.00                  0%
 11/23/2015   $       31,092.00 $           1.00                   0%
  12/3/2015   $       31,090.00 $           1.00                  0%
  12/7/2015   $       30,844.00 $           1.00                  -1%


                                                                                                                                                                                              APP. 00595
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                                                                                            DRAFT Privileged and Confidential
                                                                                           Prepared at the Request of Counsel
 12/8/2015   $   30,844.00   $       1.00      0%
 12/9/2015   $   34,272.00   $       1.00     11%
  1/4/2016   $   26,310.00   $       1.00     -23%
  1/5/2016   $   26,310.00   $       1.00      0%
  1/6/2016   $   26,310.00   $       1.00      0%
  1/7/2016   $   26,310.00   $       1.00      0%
 1/11/2016   $   26,310.00   $       1.00      0%
 1/14/2016   $   26,310.00   $       1.00      0%
 1/22/2016   $   26,310.00   $       1.00      0%
  2/2/2016   $   39,465.00   $       1.00     50%      Commercial duration 1:30 vs. standard duration of 1:00
  2/9/2016   $   26,310.00   $       1.00     -33%
 2/15/2016   $   26,310.00   $       1.00      0%
 2/24/2016   $   26,310.00   $       1.00      0%
  3/1/2016   $   26,310.00   $       1.00      0%
  3/2/2016   $   26,310.00   $       1.00      0%
  3/4/2016   $   26,310.00   $       1.00      0%
 3/17/2016   $   39,465.00   $       1.00     50%      Commercial duration 1:30 vs. standard duration of 1:00
 3/28/2016   $   26,662.00   $       1.00     -32%
  4/5/2016   $   26,662.00   $       1.00      0%
 4/13/2016   $   26,662.00   $       1.00      0%
 4/19/2016   $   26,662.00   $       1.00      0%
 4/25/2016   $   39,993.00   $       1.00     50%      Commercial duration 1:30 vs. standard duration of 1:00
 6/22/2016   $   39,993.00   $       1.00      0%      Commercial duration 1:30 vs. standard duration of 1:00
 6/24/2016   $   26,662.00   $       1.00     -33%
 7/15/2016   $   31,737.50   $       2.00     19%
 7/19/2016   $   25,390.00   $       1.00     -20%
 7/20/2016   $   25,390.00   $       1.00      0%
 7/21/2016   $         -     $       2.00       -
 7/28/2016   $   25,390.00   $       1.00      0%
  8/8/2016   $   25,390.00   $       1.00      0%
 8/11/2016   $   38,085.00   $       1.00     50%      Commercial duration 1:30 vs. standard duration of 1:00
 8/26/2016   $   25,390.00   $       1.00     -33%
  9/2/2016   $   38,085.00   $       1.00     50%      Commercial duration 1:30 vs. standard duration of 1:00
 9/27/2016   $   40,534.00   $       1.00      6%
10/13/2016   $   40,534.00   $       1.00      0%
10/19/2016   $   60,801.00   $       1.00     50%      Commercial duration 1:30 vs. standard duration of 1:00; Period included the presidential elections
10/20/2016   $   40,534.00   $       1.00     -33%
10/27/2016   $   40,534.00   $       1.00      0%
10/31/2016   $   40,534.00   $       1.00      0%
 11/7/2016   $   40,534.00   $       1.00      0%
  7/7/2016   $   25,390.00   $       1.00     -37%




                                                                                                                                                            APP. 00596
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                                                                            Prepared at the Request of Counsel

Fox & Friends
This chart shows unit cost trend analysis by program by day.

Observation: FRA analyzed percent changes greater than 10% between each media buy. The table below contains, where possible, desktop research from public domain
sources to provide context around price increases over 10%. The public domain sources included show transcripts; where transcripts were not available Infoplease.com is
referenced as the website compiles and archives the major news for each month. FRA did not identify notable information in some instances and labeled those fluctuations
as unknown.


 18,000.00

 16,000.00

 14,000.00

 12,000.00

 10,000.00

  8,000.00

  6,000.00

  4,000.00

  2,000.00

        -
                   8/19/2015      8/24/2015        8/26/2015        9/2/2015         9/9/2015         9/14/2015        9/17/2015        9/21/2015        9/22/2015

  Date            Unit Cost    # Units          % Change                                                       FRA Notes
8/19/2015     $    10,284.00        1.00            -
8/24/2015     $    10,284.00        1.00           0%
8/26/2015     $    15,426.00        1.00          50%           Unknown
 9/2/2015     $    10,284.00        1.00          -33%
 9/9/2015     $    10,284.00        1.00           0%
9/14/2015     $    14,691.00        1.00          43%           Unknown
9/17/2015     $    10,284.00        1.00          -30%
9/21/2015     $    15,426.00        1.00          50%           Unknown
9/22/2015     $    10,284.00        1.00          -33%




                                                                                                                                                                     APP. 00597
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                                                                     Prepared at the Request of Counsel

Fox & Friends First
This chart shows unit cost trend analysis by program by day.

Observation: We analyzed percent changes greater than 10% between each media buy. The table below contains, where possible, desktop research from public
domain sources to provide context around price increases over 10%. The public domain sources included show transcripts, where transcripts were not available
Infoplease.com is referenced, as the website compiles and archives the major news for each month. We did not identify notable information in some instances and
labeled those fluctuations as unknown.


   $4,000.00

   $3,500.00

   $3,000.00

   $2,500.00

   $2,000.00

   $1,500.00

   $1,000.00

    $500.00

         $-
                                               8/18/2015                                                              8/28/2015

  Date           Unit Cost           # of Units
8/18/2015 $           3,672.00 $               1.00
8/28/2015 $           3,672.00 $               1.00




                                                                                                                                                          APP. 00598
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                        EXHIBIT 29
                     (Filed Under Seal)




                                                               APP. 00599-APP. 00682
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                      EXHIBIT 30




                                                                       APP. 00683
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      VIRGINIA:
                    IN THE CIRCUIT COURT FOR THE CITY OF ALEXANDRIA

                                                                  )
      NATIONAL RIFLE ASSOCIATION OF AMERICA,                      )
                                                                  )
                                            Plaintiff             )
                                                                  )
             v.                                                   )       Case Nos. CL19001757;
                                                                  )                 CL19002067;
      ACKERMAN MCQUEEN, INC.                                      )                 CL19002886.
                                                                  )
             ~d                                                   )
                                                                  )
      MERCURY GROUP, INC.,                                        )
                                                                  )
                                           Defundanb.             )


                           DEFENDANTS' OBJECTIONS AND RESPONSES
                           TO PLAINTIFF'S FOURTH SET OF REQUESTS
                               FOR PRODUCTION OF DOCUMENTS

             Defendants Ackerman McQueen, Inc. ("AMc") and Mercury Group, Inc. ("Mercury

      Group") (collectively "Defendants"), by counsel and pursuant to Rule 4:9 of the Rules of the

      Supreme Court of Virginia (the "Rules"), hereby submit the following Responses and Objections

      to Plaintiff the National Rifle Association of America's ("NRA") Request for Production of

      Documents in the above-captioned action (the "Lawsuit").         These Responses are based on

      information currently available to Defendants. Defendants reserve the right to amend, supplement

      or correct their responses in accordance with the Virginia Rules of the Supreme Court.

                                        GENERAL OBJECTIONS

             1.      The General Objections (collectively, the "Objections") set forth below apply to

      the Requests generally and to each Definition, Instruction and specific Request and, unless

      otherwise stated, shall have the same force and effect as if set forth in full in response to each

      Definition, Instruction and specific Request. Any objection to a Definition or Instruction shall

                                                        1




                                                                                                  APP. 00684
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      also apply equally to any other Definition, Instruction or Request that incorporates that Definition

      or Instruction. Any undertaking to search for or provide information or documents in response to

      any specific Request remains subject to these objections. The fact that an objection is not listed

      herein does not constitute a waiver of that objection or otherwise preclude Defendants from raising

      that objection at a later time.

              2.      These Responses, while based on a diligent search to date by Defendants (which is

      ongoing), reflect only the current state of the knowledge, understanding and belief of Defendants

      with respect to the matters addressed in the Requests. These Responses are given without prejudice

      to the right of Defendants to use or rely on at any time, including at any hearing or at trial,

      subsequently discovered information or information omitted from these Responses as a result of

      mistake, error, oversight or inadvertence.

              3.      Defendants object to instructions to the extent that the instructions seek to impose

      onerous methods and/or forms of production. Defendants will produce documents as they are kept

      in the usual course of business.

             4.      Defendants object to the Requests to the extent that they are vague and ambiguous,

      overly broad, unduly burdensome, lacking in particularity, unreasonable or seek the discovery of

      information that is neither relevant to the claims or defenses of any party to, nor proportional to

      the needs of, the Lawsuit, as well as to the extent that the Requests are unduly burdensome because

      they impose a significant burden, expense and inconvenience on Defendants that outweighs the

      likely benefit of the Requests. In the event that Defendants agree to conduct a reasonable search

      for documents in response to any of the Requests, Defendants do not concede that any of the

      Requests seek information or documents that are relevant to the claims, defenses or subject matter,

      or are proportional to the needs, of the Lawsuit.



                                                          2




                                                                                                    APP. 00685
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              5.      Any agreement by Defendants to produce documents is made without waiver of

      any Objections and is not intended to constitute a representation that any such responsive

      documents exist, but only that Defendants will produce those responsive documents that do exist,

      are in Defendants' possession, custody or control, are found in a reasonable search, are not subject

      to applicable privileges (including the attorney-client privilege), do not constitute trial preparation

      or other work product materials, and are otherwise within the scope of discovery.

              6.     Irrespective of whether Defendants produce documents or provide information in

      response to the Requests, Defendants reserve the right to: (i) revise, amend, correct, supplement,

      clarify or modify the content of the Response in accordance with the applicable rules and court

      orders; (ii) provide additional responsive information and documents in the future; (iii) object to

      further discovery in the Lawsuit, including discovery relating to the subject matter of documents

      produced; (iv) use or rely upon any information and documents produced in the Lawsuit in any

      hearing, proceeding or trial; (v) use or rely upon subsequently discovered information or

      information omitted from this Response as a result of mistake, error, oversight or inadvertence in

      any hearing, proceeding or trial; and (vi) challenge the authenticity or admissibility of any

      information or documents in any hearing, proceeding or trial.

             7.      Defendants object to the Requests to the extent that they purport to require anything

      beyond a reasonable, good faith search for responsive documents within Defendants' immediate

      possession, custody or control.

             8.      Defendants object to the Requests to the extent that they call for the production of

      information protected by the attorney-client privilege, the attorney work product doctrine or any

      other applicable privilege, doctrine, immunity, law or rule protecting information from disclosure.

      Specific Objections on the ground of privilege are provided herein for emphasis and clarity only,



                                                        3




                                                                                                      APP. 00686
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      and the absence of a specific Objection should not be interpreted as indicating that Defendants do

      not object to a Request on the basis of any applicable privilege, doctrine, immunity, law or rule

      protecting information from disclosure.        Any inadvertent disclosure of such material is not

      intended to be, nor shall in any way be construed as, a waiver of any attorney client privilege, work

      product doctrine, or any other applicable privilege, doctrine, law or rule protecting information

      from disclosure.     Defendants shall have the right to claw back materials unintentionally,

      accidentally, or otherwise produced that are subject to privilege and/or work product protection.

              9.      Defendants object to the Requests to the extent that they purport to require

      Defendants to: (i) produce documents that are not in Defendants' possession, custody or control;

      (ii) create, generate, compile or develop documents that do not currently exist and/or are not

      currently in Defendants' possession, custody or control; (iii) produce documents that are available

      from a more comprehensive, more convenient, more efficient, less burdensome or less expensive

      source than Defendants or through a more convenient, more efficient, less burdensome or less

      expensive means than the Requests; (iv) produce documents that are public, equally available to

      or already in the possession, custody or control of Plaintiff or of third persons or entities, including

      Plaintiffs' agents, attorneys or other representatives; (v) produce documents that are in the

      possession, custody or control of a third party or documents that are otherwise not in the

      possession, custody or control of Defendants; (vi) produce information regarding documents that

      have been lost, discarded or destroyed; or (vii) discern or inquire about the governance of entities

      that are unaffiliated with Defendants. Subject to the Objections, in responding to the Requests,

      Defendants will produce only documents in their possession, custody or control as of the date of

      the Response.




                                                         4




                                                                                                       APP. 00687
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              10.     Defendants object to the Requests to the extent that they define the applicable time

      period for all Requests as beginning January 1, 2015. For many Requests the time period before

      January 1, 2018 is either not relevant, overly broad, or disproportionately burdensome given that

      the expense and inconvenience on Defendants outweighs any benefit of a response to the Requests.

              11.    Defendants object to the Requests to the extent that: (i) they are unduly burdensome

      because they would impose expense and inconvenience on Defendants significantly

      disproportionate to any likelihood of discovering relevant information not already produced in the

      Lawsuit; and (ii) they purport to require Defendants to conduct anything beyond a reasonable and

      diligent search of readily-accessible files, where responsive documents reasonably would be

      expected to be found.

              12.    Defendants object to the Requests to the extent that they request documents that are

      already in the possession of the NRA and/or were previously produced by AMc in the litigation.

              13.    Defendants object to the Requests to the extent that they purport to seek the

      production of information or documents that reflect trade secrets, or information that is

      confidential, proprietary, commercially sensitive or competitively significant, or personal

      information relating to Defendants, its affiliates, employees and/or clients, customers or

      counterparties, or information that is subject to other protective orders, non-disclosure agreements

      or other confidentiality undertakings. Defendants further object to producing proprietary

      information to Plaintiffs lawyers who have a public relations unit within the law firm that directly

      competes with Defendants and who have no right to view Defendants' proprietary information.

             14.     Defendants object to the Instructions to the extent that they seek to have AMc seize

      the personal devices of its employees and demand access to its employees' personal email




                                                       5




                                                                                                    APP. 00688
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      accounts.     If the NRA has a reasonable basis for believing that a particular AMc employee

      possesses responsive documents, AMc requests that the NRA address the issue with AMc counsel.

              15.      Defendants object to the Instructions and Definitions to the extent that they are

      inconsistent with the above objections and seek to impose search obligations beyond those set

      forth in the Rules of the Supreme Court of Virginia. For clarity's sake, this objection includes, but

      is not limited to, Plaintiff's definition of"affiliated entity." Defendants' search for documents will

      be confined to the records in the possession, custody or control of AMc, Mercury Group, and any

      employee or agent directly controlled by either and likely to have responsive documents.

              16.     Defendants object to the overall burdensome and oppressive nature of not only

      individual Requests for documents, but also the cumulative burden of 194 separate Requests. The

      Requests appear to be hastily constructed not to elicit admissible evidence, but to create endless

      work for Defendants and their counsel in an effort to increase Defendants' legal burden.

              17.     Defendants object to the Requests because they were apparently formulated without

      regard to the documents that Plaintiffs have already received in discovery and often simply make

      a different request aimed at the same set of documents. To date, Defendants have turned over

      more than 60,000 pages of documents which provide documents responsive to many of the

      Plaintiff's requests.



                              DEFENDANTS' OBJECTIONS AND RESPONSES

      Request For Production No. 54:

              All files and books and records concerning matters covered under the Services Agreement

      dated April 30, 201 7 (as amended May 6, 2018), as required under Section VIII.

              RESPONSE:



                                                        6




                                                                                                     APP. 00689
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             Defendants object to this Request as overly broad, unduly burdensome, vague, and not

      reasonably relevant to any party's claim or defense and the proportional needs of the case. The

      Request, as constructed, appears to request any file, book, or record, relating to the NRA. This

      alone could potentially implicate large volumes of documents unrelated to the subject matter

      of this case and disproportionately burdensome to collect.            But the use of the phrase

      "concerning" makes the request even less manageable. Including the phrase "as required under

      Section VIII" further complicates and confuses the request because this clause simply authorizes

      examinations and thus fails to impose a reasonable limitation on the request. Moreover, Section

      VIII does not require the production of any documents, so it cannot be used as a justification for a

      document production request. Defendants further object to this Request to the extent it calls for

      the production of documents or information protected by the attorney-client privilege, the work-

      product doctrine, the common interest doctrine, and/or any other privilege or immunity from

      disclosure. Defendants object to the Request because it was apparently formulated without regard

      to the documents that Plaintiffs have already received in discovery. To date, Defendants have

      turned over more than 60,000 pages of documents which provide documents concerning and

      relating to the Services Agreement.



      Reg uest For Production No. 55:

             All documents and communications referring or relating to invoices or billing

      requests provided by Defendants to the NRA, including but not limited to, any and all backup

      documentation, substantiation, justification, and supporting documentation.

             RESPONSE:




                                                       7




                                                                                                   APP. 00690
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             Defendants object to this Request as overly broad, unduly burdensome, vague, and not

      reasonably relevant to any party's claim or defense and the proportional needs of the case. The

      phrase "[a]II documents and communications referring or relating" in this context lacks any

      kind ofreasonable limitation and potentially implicates large volumes of documents unrelated

      to the subject matter of this case and disproportionately burdensome to collect. While certain

      non-privileged communications and related documentation may be within the scope of

      discovery, the request as constructed, is flawed. Defendants further object to this Request to the

      extent it calls for the production of documents or information protected by the attorney-client

      privilege, the work-product doctrine, the common interest doctrine, and/or any other privilege or

      immunity from disclosure.

             Additionally, to the extent that this request seeks documents already "provided by

      Defendants to the NRA," it is objectionable on the grounds that the information is already

      possessed by the NRA.

             Subject to and without waiving the foregoing objections, Defendants have already

      produced thousands of documents responsive to this request - including the documents provided

      to FRA. Defendants will supplement this prior production following a continued diligent search.



      Req uest Fo r Production No. 56:

             All documents referring or relating to time records or time logs for all AMc employees

      who worked on the NRA account, including all data stored by AMc through third-party

      providers, including but not limited to, information contained on web-based project

      management software, W orkamajig.

             RESPONSE:



                                                      8




                                                                                                  APP. 00691
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              Defendants object to this Request as overly broad, unduly burdensome, vague, and not

      reasonably relevant to any party's claim or defense and the proportional needs of the case.

      The phrase "All documents refeITing or relating" in this context lacks any kind of reasonable

      limitation and potentially implicates large volumes of documents unrelated to the subject

      matter of this case and disproportionately burdensome to collect. Defendant further objects

      because it has already produced "time records or time logs for all AMc employees who

      worked on the NRA account." These include a 717-page print out via Workamajig software

      that contains the time records and over 10,000 pages in time sheets. The phrase "all data

      stored by AMc through third-party providers" is also overly broad for the reasons set forth in

      Defendants' Motion to Quash Third Party Subpoena on Workamajig. Defendants further

      object to this Request to the extent it calls for the production of documents or information protected

      by the attorney-client privilege, the work-product doctrine, the common interest doctrine, and/or

      any other privilege or immunity from disclosure.



      Request For Production No. 57:

             All documents and communications referring or relating to the daily time records or

      time logs for all AMc employees who worked on the NRA account produced in response to

      Request No. 56 above, including specifically information to identify all project descriptions

      for each time record or time log, and categories of billable services as defined in Section I of

      the Services Agreement.

             RESPONSE:

             Defendants object to this Request as overly broad, unduly burdensome, vague, and not

      reasonably relevant to any party' s claim or defense and the proportional needs of the case.



                                                        9




                                                                                                     APP. 00692
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      The phrase "All documents and communications referring or relating" in this context lacks

      any kind of reasonable limitation and potentially implicates large volumes of documents

      unrelated to the subject matter of this case and disproportionately burdensome to collect.

      Defendant further objects because it has already produced "time records or time logs for all

      AMc employees who worked on the NRA account." These include a 717-page print out via

      Workamajig software that contains the time records and over 10,000 pages in time sheets.

      Defendants further object because the final clause of the request, which begins with

      "specifically information to identify ... ," appears to attempt to impose on AMc document

      collection obligations not required under the Rules. Defendants further object to this Request

      to the extent it calls for the production of documents or information protected by the attorney-

      client privilege, the work-product doctrine, the common interest doctrine, and/or any other

      privilege or immunity from disclosure.



      Reguest For Production No. 58:

             All documents referring or relating to AMc company policies, including but not

      limited to employee handbooks, employee reference guides, and any other similar documents.

             RESPONSE:

             Defendants object to this Request as overly broad, unduly burdensome, vague, and not

      reasonably relevant to any party's claim or defense and the proportional needs of the case.

      The phrase "All documents referring or relating" in this context lacks any kind of reasonable

      limitation and potentially implicates large volumes of documents unrelated to the subject

      matter of this case and disproportionately burdensome to collect. Defendants further object to

      this Request because the documents explicitly requested are not relevant to the subject matter of



                                                      10




                                                                                                    APP. 00693
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      the lawsuit. The request is designed solely to harass the Defendants and fish into other areas solely

      to oppress the Defendant. Defendants further object to this Request to the extent it calls for the

      production of documents or information protected by the attorney-client privilege, the work-

      product doctrine, the common interest doctrine, and/or any other privilege or immunity from

      disclosure. Defendants are prepared to meet and confer to receive any rationale for why these

      requested documents should be produced in this case.



      Request For Production No. 59:

             All documents referring or relating to complaints about AMc, including but not limited

      to its services, officers, and executives from any sources.

             RESPONSE:

             Defendants object to this Request as overly broad, unduly burdensome, vague, and not

      reasonably relevant to any party's claim or defense and the proportional needs of the case.

      The phrases "All documents referring or relating" and "any sources" in this context lack any

      kind of reasonable limitation and potentially implicates large volumes of documents unrelated

      to the subject matter of this case and disproportionately burdensome to collect. Moreover, the

      term "complaints" is vague and therefore needs additional clarification.             The request is

      designed solely to harass the Defendants and fish into other areas solely to oppress the Defendant.

      Defendants further object to this Request to the extent it calls for the production of documents or

      information protected by the attorney-client privilege, the work-product doctrine, the common

      interest doctrine, and/or any other privilege or immunity from disclosure.



      Request For Production No. 60;



                                                       11




                                                                                                    APP. 00694
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              Documents to show a list of all AMc projects or services that were billed to the NRA

      as "Other Projects" as defined in Section ILE of the Services Agreement, including but not

      limited to, such "Other Projects" for which no specific agreement was made and for which

      AMc charged a fair market value price for the work performed.

              RESPONSE:

              Defendants object to this Request as overly broad, unduly burdensome, vague, and not

      reasonably relevant to any party's claim or defense and the proportional needs of the case.

      Defendants fbrther object because the phrase "Documents to show a list" appears to attempt

      to impose on AMc document collection obligations not required under the Rules. Defendants

      do not need to produce documents that do not exist. Defendants further object because it is

      unclear what information the NRA wants on the "list" that it is requesting. Defendants further

      object to this Request to the extent it calls for the production of documents or information protected

      by the attorney-client privilege, the work-product doctrine, the common interest doctrine, and/or

      any other privilege or immunity from disclosure.



      Request   For Production No. 61:
             All documents and communications referring or relating to backup, substantiation,

      support and justification relied on in assessing and determining the "fair market value" of

      the projects listed in response to Request No. 60 above.

             RESPONSE:

             Defendants object to this Request as overly broad, unduly burdensome, vague, and not

      reasonably relevant to any party's claim or defense and the proportional needs of the case.




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      The phrase "All documents and communications refening or relating" in this context lacks

      any kind of reasonable limitation and potentially implicates large volumes of documents

      unrelated to the subject matter of this case and disproportionately burdensome to collect.

      Defendants further object to this because it relies on the creation of a "list" which is not appropriate

      through this discovery tool. Defendants further object because it inaccurately assumes certain

      steps in relation to fair market value determinations. Defendants further object to this Request to

      the extent it calls for the production of documents or information protected by the attorney-client

      privilege, the work-product doctrine, the common interest doctrine, and/or any other privilege or

      immunity from disclosure. Since Defendants object to the creation of a list in response to No. 60,

      it follows that there are no documents to back up that list.



      Request For Production No. 62:

             All documents and communications refeITing or relating to "Special Assignments"

      as defined in Section III.D of the Services Agreement that were billed to the NRA, and for

      which AMc determined could not be "reasonably be included under the monthly fee."

             RESPONSE:

             Defendants object to this Request as overly broad, unduly burdensome, vague, and not

      reasonably relevant to any party's claim or defense and the proportional needs of the case. The

      phrase "All documents and communications referring or relating" in this context lacks any

      kind ofreasonable limitation and potentially implicates large volumes of documents unrelated

      to the subject matter of this case and disproportionately burdensome to collect. Defendants

      further object to this Request to the extent it calls for the production of documents or information

      protected by the attorney-client privilege, the work-product doctrine, the common interest



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      doctrine, and/or any other privilege or immunity from disclosure.         Defendants have already

      produced many documents that relate to "Special Assignments" and many more such documents

      were provided to the NRA during the parties' contractual period.

              Subject to and without waiving the foregoing objections, following a reasonably diligent

      search, Defendants will supplement their prior document production with non-privileged

      documents responsive to this Request at a mutually agreeable time and place.



      Reguest For Production No. 63:

              For each "special assignment," provide all documents related to the special assignment,

      procedures related to the special assignment, and all backup information for the monthly fee that

      was approved or agreed upon.

             RESPONSE:

             Defendants incorporate by reference the response to No. 62. Defendants object to this

      Request as overly broad, unduly burdensome, vague, and not reasonably relevant to any party's

      claim or defense and the proportional needs of the case. The terms "procedures" and "backup

      information" are unclear in this context. Defendants further object because the Request contains

      factual assumptions of "approved or agreed upon" are contradicted by the Services Agreement

      clause upon which the Request relies. Defendants further object to this Request to the extent it

      calls for the production of documents or information protected by the attorney-client privilege, the

      work-product doctrine, the common interest doctrine, and/or any other privilege or immunity from

      disclosure. Defendants object to the Request because it was apparently formulated without regard

      to the documents that Plaintiffs have already received in discovery. To date, Defendants have




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      turned over more than 60,000 pages of documents which provide many documents concerning and

      relating to special assignments.



      Reguest For Production No. 64:

             Documents which list all "Jobs," as defined in Section LB. of the Services Agreement, that

      were billed to the NRA.

             RESPONSE:

             Defendants object to this Request as overly broad, unduly burdensome, vague, and not

      reasonably relevant to any party's claim or defense and the proportional needs of the case.

      The phrase "All" in this context lacks any kind of reasonable limitation and potentially

      implicates large volumes of documents unrelated to the subject matter of this case and

      disproportionately burdensome to collect. Defendants further object to this Request to the extent

      it calls for the production of documents or information protected by the attorney-client privilege,

      the work-product doctrine, the common interest doctrine, and/or any other privilege or immunity

      from disclosure.

             Subject to and without waiving the foregoing objections, following a reasonably diligent

      search, Defendants will supplement their prior document production with non-privileged

      documents responsive to this Request at a mutually agreeable time and place.             However,

      Defendants note that they are not presently aware of any document that lists all "Jobs" defined in

      section LB of the Services Agreement.



      Reguest For Production No.         65:
             All documents and communications referring or relating to the fair market value work



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      and cost estimates submitted for approval by NRA prior to the initiation of all "Jobs" that were

      billed to the NRA, as defined in Section LB. of the Services Agreement.

              RESPONSE:

              Defendants object to this Request as overly broad, unduly burdensome, vague, and not

      reasonably relevant to any party's claim or defense and the proportional needs of the case.

      The phrase "All documents and communications referring or relating" in this context lacks

      any kind of reasonable limitation and potentially implicates large volumes of documents

      unrelated to the subject matter of this case and disproportionately burdensome to collect.

      Defendants further object because it inaccurately assumes certain steps in relation to fair market

      value determinations. Defendants further object to this Request to the extent it calls for the

      production of documents or information protected by the attorney-client privilege, the work-

      product doctrine, the common interest doctrine, and/or any other privilege or immunity from

      disclosure. Defendants note that they are not presently aware of any document that was submitted

      for approval prior to the initiation of all "Jobs" billed to the NRA. It is believed that each job was

      handled separately.



      Reguest For Production No. 66:
              All documents and communications referring or relating to backup information for all

      "Media Planning and Placement Services," as defined in Section I.C. of the Services Agreement,

      concerning the NRA, including but not limited to documents to show AMc's work to verify

      broadcasts, insertions, displays, or other means used to ensure proper fulfillment of all media

      purchases made by AMc on NRA's behalf.

             RESPONSE:



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              Defendants object to this Request as overly broad, unduly burdensome, vague, and not

      reasonably relevant to any party's claim or defense and the proportional needs of the case. The

      phrase "All documents and communications refen-ing or relating" in this context lacks any

      kind ofreasonable limitation and potentially implicates large volumes of documents unrelated

      to the subject matter of this case and disproportionately burdensome to search for and/or

      collect. Defendants further object because the term "backup information" is unclear in this

      context and appears to rely on inaccurate assumptions about AMc operations. Defendants

      further object to this Request because it seeks "documents to show" which is not appropriate

      through this discovery tool. Defendants further object to this Request to the extent it calls for the

      production of documents or information protected by the attorney-client privilege, the work-

      product doctrine, the common interest doctrine, and/or any other privilege or immunity from

      disclosure.

             Defendants object to the Request because it was apparently formulated without regard to

      the documents that Plaintiffs have already received in discovery. To date, Defendants have turned

      over more than 60,000 pages of documents which provide documents concerning and relating to

      the Services Agreement.     Moreover, Defendants have allowed Plaintiff's audit firm FRA to

      examine the media purchases and the documents produced to FRA have already been provided in

      discovery.

             Subject to and without waiving the foregoing objections, following a reasonably diligent

      search, Defendants will supplement their prior document production with non-privileged

      documents responsive to this Request at a mutually agreeable time and place.



      Request For Production No. 67:



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                                                                                                     APP. 00700
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              All documents and communications referring or relating to backup information for

      cost quotations submitted by AMc for approval by the NRA for art concepts, design layout,

      photography, and film processing, copywriting, music composition and arrangement, audio

      and video production and any other "Advertising/Creative/Media Planning and Placement

      Services" performed by AMc pursuant toII.B.3 of the Services Agreement.

             RESPONSE:

             Defendants object to this Request as overly broad, unduly burdensome, vague, and not

      reasonably relevant to any party's claim or defense and the proportional needs of the case. The

      phrase "All documents and communications referring or relating" in this context lacks any

      kind ofreasonable limitation and potentially implicates large volumes of documents unrelated

      to the subject matter of this case and disproportionately burdensome to search for and/or

      collect. Defendants further object because the term "backup information" is unclear in this

      context and appears to rely on inaccurate assumptions about AMc operations. Defendants

      further object to this Request to the extent it calls for the production of documents or information

      protected by the attorney-client privilege, the work-product doctrine, the common interest

      doctrine, and/or any other privilege or immunity from disclosure.

             Defendants object to the Request because it was apparently formulated without regard to

      the documents that Plaintiffs have already received in discovery. To date, Defendants have turned

      over more than 60,000 pages of documents which provide documents concerning and relating to

      the Services Agreement. In addition, Defendants have offered to turn over all of the NRA's

      intellectual property in their possession, which will include documents and communications

      relating to film processing, music composition, etc., but to date, the NRA has failed to comply

      with the turnover requirement that it pay for the transfer of such information. The NRA cannot



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      avoid its contractual obligation to pay for such communications by simply demanding it in

      discovery.

              Subject to and without waiving the foregoing objections, following a reasonably diligent

      search, Defendants will supplement their prior document production with non-privileged

      documents responsive to this Request at a mutually agreeable time and place.



      Request   For Production No. 68i
             All documents and communications referring or relating to backup information for

      and procedures to determine cost quotations for "2018 FSP Media C4," pursuant to II.B.3

      of the Services Agreement, whether or not submitted by AMc for approval by the NRA.

             RESPONSE:

             Defendants object to this Request as overly broad, unduly burdensome, vague, and not

      reasonably relevant to any party's claim or defense and the proportional needs of the case. The

      phrase "All documents and communications referring or relating" in this context lacks any

      kind ofreasonable limitation and potentially implicates large volumes of documents unrelated

      to the subject matter of this case and disprop01iionately burdensome to search for and/or

      collect. Defendants further object because the term "backup information" is unclear in this

      context and appears to rely on inaccurate assumptions about AMc operations. Defendants

      further object to this Request to the extent it calls for the production of documents or information

      protected by the attorney-client privilege, the work-product doctrine, the common interest

      doctrine, and/or any other privilege or immunity from disclosure.

             Defendants object to the Request because it was apparently formulated without regard to

      the documents that Plaintiffs have already received in discovery. To date, Defendants have turned



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                                                                                                    APP. 00702
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      over more than 60,000 pages of documents which provide documents concerning and relating to

      the Services Agreement. In addition, Defendants have offered to turn over all of the NRA's

      intellectual property in their possession, which will include documents and communications

      relating to film processing, music composition, etc., but to date, the NRA has failed to comply

      with the turnover requirement that it pay for the transfer of such information. The NRA cannot

      avoid its contractual obligation to pay for such communications by simply demanding it in

      discovery.

             Subject to and without waiving the foregoing objections, following a reasonably diligent

      search, Defendants will supplement their prior document production with non-privileged

      documents responsive to this Request at a mutually agreeable time and place.



      Rec;west For Production No. 69:

             Produce all D&O liability insurance, professional liability insurance, and any other

      insurance policies or indemnity contracts and agreements that refer or relate to services

      provided by AMc to the NRA or any other AMc clients.

             RESPONSE:

             Defendants object to this Request as overly broad, unduly burdensome, vague, and not

      reasonably relevant to any party's claim or defense and the proportional needs of the case. The

      phrase "refer or relate to services" in this context lacks any kind of reasonable limitation and

      potentially implicates documents unrelated to the subject matter of this case and

      disproportionately burdensome to search for and/or collect. Defendants further object because

      AMc's agreements with other clients, and documents related to such agreements are not

      relevant to the case. Releasing such documents to anyone associated with the Brewer law



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      firm would jeopardize AMc's by providing documents to a competitor. Defendants further

      object to this Request to the extent it calls for the production of documents or information protected

      by the attorney-client privilege, the work-product doctrine, the common interest doctrine, and/or

      any other privilege or immunity from disclosure.

             Subject to and without waiving the foregoing objections, following a reasonably diligent

      search, Defendants will supplement their prior document production with non-privileged

      documents responsive to this Request at a mutually agreeable time and place.



      Reguest For Produ ction No.      70:
             All prior drafts of the letters sent on April 22, 2019 by William Winkler to (i) Wayne

      LaPierre entitled, "RE: Clothing purchases by Ackerman McQueen (AMc) on your behalf;

      (ii) Tyler Schropp entitled, "RE: Documentation of expenses incurred by Ackerman McQueen

      (AMc) and billed to the National Rifle Association (NRA);" and (iii) Craig Spray entitled,

      "RE: Documentation of expenses incurred by Ackerman McQueen (AMc) and billed to the

      National Rifle Association (NRA)."

             RESPONSE:

             Defendants object to this Request because it calls for the production of documents or

      information protected by the attorney-client privilege, the work-product doctrine, the common

      interest doctrine, and/or any other privilege or immunity from disclosure.



      Request For Production No. 71:

             All documents and communications referring or relating to the April 2019 Board

      of Directors meeting for the NRA, including but not limited to regarding any preparations



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      or planning for that meeting.

             RESPONSE:

             Defendants object to this Request as overly broad, unduly burdensome, vague, and not

      reasonably relevant to any party's claim or defense and the proportional needs of the case. The

      phrase "All documents and communications refe1Ting or relating" in this context lacks any

      kind of reasonable limitation and potentially implicates large volumes of documents unrelated

      to the subject matter of this case and disproportionately burdensome to search for and/or

      collect. Defendants further object to this Request to because the clause "April 2019 Board of

      Directors meeting for the NRA" is unclear about what Board of Directors it is refeITing to.

      Defendants further object to this Request to the extent it calls for the production of documents or

      information protected by the attorney-client privilege, the work-product doctrine, the common

      interest doctrine, and/or any other privilege or immunity from disclosure.

             Defendants object to the Request because it was apparently formulated without regard to

      the documents that Plaintiffs have already received in discovery. To date, Defendants have turned

      over more than 60,000 pages of documents which provide documents concerning and relating to

      communications by persons involved in preparing for the April 2019 Board of Directors meeting.

      In addition, Defendants have provided the deposition testimony of their employee, John Popp

      about his work at the April 2019 meeting.



      Request For Production     No. 72:
             All documents and communications referring or relating to any meeting(s) between

      Angus McQueen or Defendants and Wayne LaPierre or other representatives from the NRA

      regarding the creation and development of NRA TV prior to and subsequent to the initial



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                                                                                                   APP. 00705
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      launch ofNRATV in 2016.

              RESPONSE:

             Defendants object to this Request as overly broad, unduly burdensome, vague, and not

      reasonably relevant to any party's claim or defense and the proportional needs of the case. The

      phrase "All documents and communications refeITing or relating" in this context lacks any

      kind of reasonable limitation and potentially implicates large volumes of documents unrelated

      to the subject matter of this case and disproportionately burdensome to search for and/or

      collect. Defendant further objects because the phrase "development of NRA TV" is especially

      vague in this circwnstance given the absence of a reasonable date limitation. Defendants

      further object to this Request to the extent it calls for the production of documents or information

      protected by the attorney-client privilege, the work-product doctrine, the common interest

      doctrine, and/or any other privilege or immunity from disclosure.

             Subject to and without waiving the foregoing objections, following a reasonably diligent

      search, Defendants will supplement their prior document production with non-privileged

      docwnents responsive to this Request at a mutually agreeable time and place.



      Request For Production      No. 73i
             All documents and communications refe1Ting or relating to AMc's identification of

      the target NRATV consumer, including but not limited to any studies, focus groups,

      presentations, surveys, reports on demographics, or target content for programing, whether

      performed or conducted by AMc or any third- party.

             RESPONSE:




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              Defendants object to this Request as overly broad, unduly burdensome, vague, and not

      reasonably relevant to any party's claim or defense and the proportional needs of the case. The

      phrase "All documents and communications refen-ing or relating" in this context lacks any

      kind ofreasonable limitation and potentially implicates large volumes of documents unrelated

      to the subject matter of this case and disproportionately burdensome to search for and/or

      collect. Defendant further objects because the phrase "identification of the target NRA TV

      consumer" is unclear in the Request. Defendants further object to this Request to the extent it

      calls for the production of documents or information protected by the attorney-client privilege, the

      work-product doctrine, the common interest doctrine, and/or any other privilege or immunity from

      disclosure.

              Subject to and without waiving the foregoing objections, following a reasonably diligent

      search, Defendants will supplement their prior document production with non-privileged

      documents responsive to this Request at a mutually agreeable time and place.



      Request For Production No. 74i
             All documents and communications referring or relating to financial projections,

      estimates, forecasts, and/or predictions concerning profitability, performance, and success of

      NRATV.

             RESPONSE:

             Defendants object to this Request as overly broad, unduly burdensome, vague, and not

      reasonably relevant to any party's claim or defense and the proportional needs of the case. The

      phrase "All documents and communications referring or relating" in this context lacks any

      kind ofreasonable limitation and potentially implicates large volumes of documents unrelated



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      to the subject matter of this case and disproportionately burdensome to search for and/or

      collect.   Defendants further object because the Request appears to rely on inaccurate

      assumptions about AMc operations and/ or analyses. Defendants further object to this Request

      to the extent it calls for the production of documents or information protected by the attorney-

      client privilege, the work-product doctrine, the common interest doctrine, and/or any other

      privilege or immunity from disclosure.

             Defendants object to the Request because it was apparently formulated without regard to

      the documents that Plaintiffs have already received in discovery. To date, Defendants have turned

      over more than 60,000 pages of documents which provide documents concerning and relating to

      NRATV and NRA TV analytics. In addition, Defendants have offered to tum over all of the NRA's

      intellectual property in their possession, which will include documents and communications

      relating to NRATV, but to date, the NRA has failed to comply with the turnover requirement that

      it pay for the transfer of such information. The NRA cannot avoid its contractual obligation to pay

      for such communications by simply demanding it in discovery.

             Subject to and without waiving the foregoing objections, following a reasonably diligent

      search, Defendants will supplement their prior document production with non-privileged

      documents responsive to this Request at a mutually agreeable time and place.



      Beguest For Production No. 75:
             All documents concerning the actual financial performance ofNRATV.

             RESPONSE:

             Defendants object to this Request as overly broad, unduly burdensome, vague, and not

      reasonably relevant to any party ' s claim or defense and the proportional needs of the case. The



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                                                                                                   APP. 00708
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      phrase "All documents and communications referring or relating" in this context lacks any

      kind of reasonable limitation and potentially implicates large volumes of documents unrelated

      to the subject matter of this case and disproportionately burdensome to search for and/or

      collect.   Defendants further object because the Request appears to rely on inaccurate

      assumptions about AM.c operations and/ or analyses. Defendants further object to this Request

      to the extent it calls for the production of documents or information protected by the attorney-

      client privilege, the work-product doctrine, the common interest doctrine, and/or any other

      privilege or immunity from disclosure.

             Defendants object to the Request because it was apparently formulated without regard to

      the documents that Plaintiffs have already received in discovery. To date, Defendants have turned

      over more than 60,000 pages of documents which provide documents concerning and relating to

      NRATV and NRA TV analytics. In addition, Defendants have offered to turn over all of the NRA's

      intellectual property in their possession, which will include documents and communications

      relating to NRATV, but to date, the NRA has failed to comply with the turnover requirement that

      it pay for the transfer of such information. The NRA cannot avoid its contractual obligation to pay

      for such communications by simply demanding it in discovery.

             Subject to and without waiving the foregoing objections, following a reasonably diligent

      search, Defendants will produce additional non-privileged documents responsive to this Request

      at a mutually agreeable time and place.



      Request For Production No. 76;

             All documents and communications referring or relating to statements made to the

      NRA in reliance upon or based on the documents and materials referenced in Request No.



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      74 or Request No. 75.

             RESPONSE:

             Defendants incorporate their objections to Request No. 74 and 75 into this response.

      Defendants object to this Request as overly broad, unduly burdensome, vague, and not reasonably

      relevant to any party's claim or defense and the proportional needs of the case. The phrase "All

      documents and communications referring or relating" in this context lacks any kind of

      reasonable limitation and potentially implicates large volumes of documents unrelated to the

      subject matter of this case and disproportionately burdensome to search for and/or collect.

      Defendants further object because the Request appears to rely on inaccurate assumptions

      about AMc operations and/ or analyses. Defendants further object to this Request to the extent

      it calls for the production of documents or information protected by the attorney-client privilege,

      the work-product doctrine, the common interest doctrine, and/or any other privilege or immunity

      from disclosure.

             Subject to and without waiving the foregoing objections, following a reasonably diligent

      search, Defendants will produce additional non-privileged documents responsive to this Request

      at a mutually agreeable time and place.



      Request For Production No. 77:

             All documents and communications referring or relating to any valuation of NRA TV,

      the NRATV brand, or the valuations of parts of NRA TV ( e.g., NRA TV TV shows) or

      NRA TV brand, including but not limited to, any analyses regarding the same.

             RESPONSE:




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                 Defendants object to this Request as overly broad, unduly burdensome, vague, and not

      reasonably relevant to any party's claim or defense and the proportional needs of the case. The

      phrase "All documents and communications referring or relating" in this context lacks any

      kind ofreasonable limitation and potentially implicates large volumes of documents unrelated

      to the subject matter of this case and disproportionately burdensome to search for and/or

      collect.     Defendants further object because the Request appears to rely on inaccurate

      assumptions about AMc operations and/ or analyses. Defendants further object to this Request

      to the extent it calls for the production of documents or information protected by the attorney-

      client privilege, the work-product doctrine, the common interest doctrine, and/or any other

      privilege or immunity from disclosure.

             Defendants object to the Request because it was apparently formulated without regard to

      the documents that Plaintiffs have already received in discovery. To date, Defendants have turned

      over more than 60,000 pages of documents which provide documents concerning and relating to

      NRATV and NRATV analytics. In addition, Defendants have offered to turn over all of the NRA's

      intellectual property in their possession, which will include documents and communications

      relating to NRATV, but to date, the NRA has failed to comply with the turnover requirement that

      it pay for the transfer of such information. The NRA cannot avoid its contractual obligation to pay

      for such communications by simply demanding it in discovery.

             Subject to and without waiving the foregoing objections, following a reasonably diligent

      search, Defendants will supplement their prior document production by producing non-privileged

      documents responsive to this Request at a mutually agreeable time and place.



      Request For Production No. 78:



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             Documents concerning the performance, significance, and/or importance of the live

      broadcasting portion of NRA TV.

              RESPONSE:

              Defendants object to this Request as overly broad, unduly burdensome, vague, and not

      reasonably relevant to any party's claim or defense and the proportional needs of the case. The

      phrase "concerning" in this context lacks any kind of reasonable limitation and potentially

      implicates large volumes of documents unrelated to the subject matter of this case and

      disproportionately burdensome to search for and/or collect. Defendants further object because

      the Request appears to rely on inaccurate assumptions about AMc operations and/ or analyses.

      Defendants further object to this Request because the terms "significance" and "importance"

      are unclear in the context of the Request. Defendants further object to this Request to the extent

      it calls for the production of documents or information protected by the attorney-client privilege,

      the work-product doctrine, the common interest doctrine, and/or any other privilege or immunity

      from disclosure.

             Defendants object to the Request because it was apparently formulated without regard to

      the documents that Plaintiffs have already received in discovery. To date, Defendants have turned

      over more than 60,000 pages of documents which provide documents concerning and relating to

      NRATV and NRA TV analytics. In addition, Defendants have offered to turn over all of the NRA 's

      intellectual property in their possession, which will include documents and communications

      relating to NRATV, but to date, the NRA has failed to comply with the turnover requirement that

      it pay for the transfer of such information. The NRA cannot avoid its contractual obligation to pay

      for such communications by simply demanding it in discovery.




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                                                                                                   APP. 00712
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                 Subject to and without waiving the foregoing objections, following a reasonably diligent

      search, Defendants will supplement its prior document production with non-privileged documents

      responsive to this Request at a mutually agreeable time and place.



      Request For Production No. 79:

                 All documents and communications referring or relating to any actual or potential

      sponsorship or advertising contracts and agreements for NRATV.

                 RESPONSE:

                 Defendants object to this Request as overly broad, unduly burdensome, vague, and not

      reasonably relevant to any party's claim or defense and the proportional needs of the case. The

      phrase "All documents and communications referring or relating" in this context lacks any

      kind ofreasonable limitation and potentially implicates large volumes of documents unrelated

      to the subject matter of this case and disproportionately burdensome to search for and/or

      collect.       Defendants further object because the Request appears to rely on inaccurate

      assumptions about AMc operations and/ or analyses. Defendants further object to this Request

      because the term "potential" is unclear in the context of the Request. Defendants further object

      to this Request to the extent it calls for the production of documents or information protected by

      the attorney-client privilege, the work-product doctrine, the common interest doctrine, and/or any

      other privilege or immunity from disclosure.

                 Subject to and without waiving the foregoing objections, following a reasonably diligent

      search, Defendants will supplement their prior document production withDefendants will

      supplement their prior document production with non-privileged documents responsive to this

      Request at a mutually agreeable time and place.



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      Request For Production No, 80:

                 All documents and communications referring or relating to the basis for AMc's

      statement, made on or about October 28, 2019, that "Ackerman McQueen routinely offered

      and toward the end of the relationship demanded that an outside firm audit NRATV

      performance but LaPierre refused."

                 RESPONSE:

                 Defendants object to this Request as overly broad, unduly burdensome, vague, and not

      reasonably relevant to any party's claim or defense and the proportional needs of the case. The

      phrase "All documents and communications referring or relating" in this context lacks any

      kind of reasonable limitation and potentially implicates large volumes of documents unrelated

      to the subject matter of this case and disproportionately burdensome to search for and/or

      collect.     Defendants further object to this Request because the addition of the phrase "to the

      basis for AMc's statement" adds an extra level of analysis inappropriate for this discovery

      tool. Defendants further object to this Request to the extent it calls for the production of documents

      or information protected by the attorney-client privilege, the work-product doctrine, the common

      interest doctrine, and/or any other privilege or immunity from disclosure.

             Subject to and without waiving the foregoing objections, following a reasonably diligent

      search, Defendants will supplement their prior document production withDefendants will

      supplement their prior document production with non-privileged documents responsive to this

      Request at a mutually agreeable time and place.




      Request For Production No, 81:


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             All documents and communications referring or relating to NRA TV viewership.

              RESPONSE:

              Defendants object to this Request as overly broad, unduly burdensome, vague, and not

      reasonably relevant to any party's claim or defense and the proportional needs of the case. The

      phrase "All documents and communications referring or relating" in this context lacks any

      kind of reasonable limitation and potentially implicates large volumes of documents unrelated

      to the subject matter of this case and disproportionately burdensome to search for and/or

      collect; numerous documents from numerous non-relevant custodians "relate" to NRA TV and

      thus its viewership.   Defendants further object to this Request to the extent it calls for the

      production of documents or information protected by the attorney-client privilege, the work-

      product doctrine, the common interest doctrine, and/or any other privilege or immunity from

      disclosure.

             Subject to and without waiving the foregoing objections, following a reasonably diligent

      search, Defendants will supplement their prior document production with non-privileged

      documents responsive to this Request at a mutually agreeable time and place.




      Request For Production No. 82:
             All documents and communications referring or relating to NRA TV viewership

      numbers, analytics, or data claiming to represent, correspond, or otherwise relate to "unique,"

      "genuine," "complete," "incomplete," and "incidental," "engaged," or "total" views.

             RESPONSE:

             Defendants object to this Request as overly broad, unduly burdensome, vague, and not

      reasonably relevant to any party' s claim or defense and the proportional needs of the case. The


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      phrase "All documents and communications referring or relating" in this context lacks any

      kind of reasonable limitation and potentially implicates large volumes of documents unrelated

      to the subject matter of this case and disproportionately burdensome to search for and/or

      collect; numerous documents from numerous non-relevant custodians "relate" to NRATV and

      thus its viewership.   Defendants further object to this Request to the extent it calls for the

      production of documents or information protected by the attorney-client privilege, the work-

      product doctrine, the common interest doctrine, and/or any other privilege or immunity from

      disclosure.

             Subject to and without waiving the foregoing objections, following a reasonably diligent

      search, Defendants will supplement their prior document production with Defendants will

      supplement their prior document production with non-privileged documents responsive to this

      Request at a mutually agreeable time and place.




      Request For Production No. 83:

             All documents and communications referring or relating to the actual or

      contemplated measurement of unique viewers of NRATV.

             RESPONSE:

             Defendants object to this Request as overly broad, unduly burdensome, vague, and not

      reasonably relevant to any party's claim or defense and the proportional needs of the case. The

      phrase "All documents and communications referring or relating" in this context lacks any

      kind ofreasonable limitation and potentially implicates large volumes of documents unrelated

      to the subject matter of this case and disproportionately burdensome to search for and/or

      collect; numerous documents from numerous non-relevant custodians "relate" to NRATV and


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      thus its viewership. Defendants further object to this Request because the term "contemplated"

      is unclear in this context. Defendants further object to this Request to the extent it calls for the

      production of documents or information protected by the attorney-client privilege, the work-

      product doctrine, the common interest doctrine, and/or any other privilege or immunity from

      disclosure.

             Subject to and without waiving the foregoing objections, following a reasonably diligent

      search, Defendants will supplement their prior document production with Defendants will

      supplement their prior document production with non-privileged documents responsive to this

      Request at a mutually agreeable time and place.




      Request For Production No. 84:

             Documents concerning the meaning or definition of "engaged views" and

      "completed views," as outlined on slide labeled "Valuation Methodology To Calculate

      Duration" (Bates No. AMC-002741- 002771) and whether the definition or meaning for

      "engaged views" and "completed views" can be applied to the broader document (Bates

      No. AMC-002741-002771) or not.

             RESPONSE:

             Defendants object to this Request as overly broad, unduly burdensome, vague, and not

      reasonably relevant to any party's claim or defense and the proportional needs of the case. The

      phrase "concerning" in this context lacks any kind of reasonable limitation and potentially

      implicates large volumes of documents unrelated to the subject matter of this case and

      disproportionately burdensome to search for and/or collect. Defendants further object because

      the Request appears to rely on inaccurate assumptions about AMc operations and/ or analyses.


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      Defendants further object to this Request because it seeks information which is not appropriate

      through this discovery tool. Defendants further object to this Request to the extent it calls for the

      production of documents or information protected by the attorney-client privilege, the work-

      product doctrine, the common interest doctrine, and/or any other privilege or immunity from

      disclosure.

              Subject to and without waiving the foregoing objections, following a reasonably diligent

      search, Defendants will supplement their prior document production with Defendants will

      supplement their prior document production with non-privileged documents responsive to this

      Request at a mutually agreeable time and place.




      Request For Production No. 85:
             Documents concerning how you determined "4.89MM Completed Views" and

      "9.30MM Engaged Views" as outlined on slide labeled "NRATV vs. NRA News 1

      Year Comparison" I Oct- Sept" (Bates No. AMC-002741-002771).

             RESPONSE:

             Defendants object to this Request as overly broad, unduly burdensome, vague, and not

      reasonably relevant to any party's claim or defense and the proportional needs of the case. The

      phrase "concerning" in this context lacks any kind of reasonable limitation and potentially

      implicates large volumes of documents unrelated to the subject matter of this case and

      disproportionately burdensome to search for and/or collect. Defendants further object because

      the Request appears to rely on inaccurate assumptions about AMc operations and/ or analyses.

      Defendants further object to this Request to the extent it calls for the production of documents or




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                                                                                                    APP. 00718
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      information protected by the attorney-client privilege, the work-product doctrine, the common

      interest doctrine, and/or any other privilege or immunity from disclosure.

                 Subject to and without waiving the foregoing objections, following a reasonably diligent

      search, Defendants will supplement their prior document production withDefendants will

      supplement their prior document production with non-privileged documents responsive to this

      Request at a mutually agreeable time and place.




      Request For Production No. 86;

                 All documents and communications referring or relating to measures of

      "engagement," defined as the percentage of the available content that was consumed by

      customers, including third party studies and proprietary data collected, as well as any

      other similar measures of customer engagement that AMc measured.

                 RESPONSE:

                 Defendants object to this Request as overly broad, unduly burdensome, vague, and not

      reasonably relevant to any party's claim or defense and the proportional needs of the case. The

      phrase "All documents and communications referring or relating" in this context lacks any

      kind ofreasonable limitation and potentially implicates large volumes of documents unrelated

      to the su~ject matter of this case and disproportionately burdensome to search for and/or

      collect.     Defendants further object because the Request appears to rely on inaccurate

      assumptions about AMc operations and/ or analyses. Defendants further object to this Request

      because it seeks information which is not appropriate through this discovery tool and is not limited

      to the NRA. Defendants further object to this Request to the extent it seeks AMc's proprietary

      information. Defendants further object to this Request to the extent it calls for the production of


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                                                                                                    APP. 00719
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      documents or information protected by the attorney-client privilege, the work-product doctrine,

      the common interest doctrine, and/or any other privilege or immunity from disclosure.




      Reguest For Production No. 87:

                 All documents and communications referring or relating to efforts to procure,

      secure, contract with, or to use a third-party vendor ( e.g., Google Analytics) that would

      facilitate, assist in, or otherwise perform work related to the development, generation,

      creation, provision, and/or presentation of viewership numbers, metrics, or analytics

      related to NRATV.

                 RESPONSE:

                 Defendants object to this Request as overly broad, unduly burdensome, vague, and not

      reasonably relevant to any party's claim or defense and the proportional needs of the case. The

      phrase "All documents and communications referring or relating" in this context lacks any

      kind of reasonable limitation and potentially implicates large volumes of documents unrelated

      to the subject matter of this case and disproportionately burdensome to search for and/or

      collect.     Defendants further object because the Request appears to rely on inaccurate

      assumptions about AMc operations and/ or analyses. Defendants further object to this Request

      to the extent it calls for the production of documents or information protected by the attorney-

      client privilege, the work-product doctrine, the common interest doctrine, and/or any other

      privilege or immunity from disclosure.

                 Subject to and without waiving the foregoing objections, following a reasonably diligent

      search, Defendants will supplement their prior document production with Defendants will




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      supplement their prior document production with non-privileged documents responsive to this

      Request at a mutually agreeable time and place.




      Request For Production No. 88:

                 All documents referring or relating to the provision or presentation of NRA TV

      viewership numbers, data, metrics, and/or analytics to the NRA, including but not limited

      to:

                 a.       the presentations and materials provided at meetings between the NRA and AMc
                          to discuss NRA.TV metrics;
                 b.       all drafts of those or any other viewership presentations and accompanying
                          materials; and,
                 c.       all communications related to any such meetings and/or any other provision or
                          presentation of NRATV viewership data, metrics, and/or analytics to the NRA.

                 RESPONSE:

                 Defendants object to this Request as overly broad, unduly burdensome, vague, and not

      reasonably relevant to any party's claim or defense and the proportional needs of the case. The

      phrase "All documents and communications referring or relating" in this context lacks any

      kind of reasonable limitation and potentially implicates large volumes of documents unrelated

      to the subject matter of this case and disproportionately burdensome to search for and/or

      collect.        Defendants further object because the Request appears to rely on inaccurate

      assumptions about AMc operations and/ or analyses. Defendants further object to this Request

      because it is a compound request, which is further complicated by the vague phrase the "provision

      or presentation[.]" Defendants further object to this Request to the extent it calls for the

      production of documents or information protected by the attorney-client privilege, the work-




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                                                                                                   APP. 00721
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      product doctrine, the common interest doctrine, and/or any other privilege or immunity from

      disclosure.

              Subject to and without waiving the foregoing objections, following a reasonably diligent

      search, Defendants will supplement their prior document production with Defendants will

      supplement their prior document production with non-privileged documents responsive to this

      Request at a mutually agreeable time and place.



      Reguest For Production      No. 89:
              All documents concerning Defendants' actual or contemplated response to any

      request by the NRA for unique viewership data for NRATV, as well as documents

      concerning factors that were part of Defendants' decision-making process or the basis

      for its decision as to how to respond.

              RESPONSE:

             Defendants object to this Request as overly broad, unduly burdensome, vague, and not

      reasonably relevant to any party's claim or defense and the proportional needs of the case. The

      phrase "All documents and communications referring or relating" in this context lacks any

      kind of reasonable limitation and potentially implicates large volumes of documents unrelated

      to the subject matter of this case and disproportionately burdensome to search for and/or

      collect. Defendants further object to this Request because the term "contemplated" is unclear in

      this context. Defendants further object to this Request because it seeks information which is not

      appropriate through this discovery tool. Defendants further object to this Request to the extent it

      calls for the production of documents or information protected by the attorney-client privilege, the

      work-product doctrine, the common interest doctrine, and/or any other privilege or immunity from

      disclosure.

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      Request For Production N o. 90:

             All documents and communications referring or relating to AMc's "Unified Data Source"

      outline in the graphic below and that was presented to the NRA (see Bates No. AMC-002741-

      002771) including but not limited to data used to analyze the "Unified Data Source."

      [GRAPHIC OMITTED]

             RESPONSE:

             Defendants object to this Request as overly broad, unduly burdensome, vague, and not

      reasonably relevant to any party's claim or defense and the proportional needs of the case. The

      phrase "All documents and communications referring or relating" in this context lacks any

      kind ofreasonable limitation and potentially implicates large volumes of documents unrelated

      to the subject matter of this case and disproportionately burdensome to search for and/or

      collect. Defendants further object because the Request appears to rely on inaccurate

      assumptions about AMc operations and/ or analyses. Defendants further object to this Request

      to the extent it calls for the production of documents or information protected by the attorney-

      client privilege, the work-product doctrine, the common interest doctrine, and/or any other

      privilege or immunity from disclosure.

             Subject to and without waiving the foregoing objections, following a reasonably diligent

      search, Defendants will supplement their prior document production with Defendants will

      supplement their prior document production with non-privileged documents responsive to this

      Request at a mutually agreeable time and place.




      Reguest For Production No. 91:


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              All documents and communications referring or relating to concerning viewpoints,

      perceptions, evaluations, and/or beliefs concerning NRATV communicated by the NRA to

      AMc, including but not limited to, documents AMc contends evince "praise," "support,"

      "approval," or any other type of positive affirmation for NRA TV.

             RESPONSE:

             Defendants object to this Request as overly broad, unduly burdensome, vague, and not

      reasonably relevant to any party's claim or defense and the proportional needs of the case. The

      phrase "All documents and communications referring or relating" in this context lacks any

      kind of reasonable limitation and potentially implicates large volumes of documents unrelated

      to the subject matter of this case and disproportionately burdensome to search for and/or

      collect. Defendants further object because the term "viewpoints" is vague in this context.

      Defendants further object to this Request to the extent it calls for the production of documents or

      information protected by the attorney-client privilege, the work-product doctrine, the common

      interest doctrine, and/or any other privilege or immunity from disclosure.

             Subject to and without waiving the foregoing objections, following a reasonably diligent

      search, Defendants will supplement their prior document production with Defendants will

      supplement their prior document production with non-privileged documents responsive to this

      Request at a mutually agreeable time and place.




      Request For Production     No. 92:
             All documents and communications referring or relating to any analyses or

      assessments of the actual or potential benefits or detriments of operating a live online

      broadcasting service in house versus alternative mediums for distributing live online


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                                                                                                   APP. 00724
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      broadcasting content.

              RESPONSE:

              Defendants object to this Request as overly broad, unduly burdensome, vague, and not

      reasonably relevant to any party's claim or defense and the proportional needs of the case. The

      phrase "All documents and communications referring or relating" in this context lacks any

      kind of reasonable limitation and potentially implicates large volumes of documents unrelated

      to the subject matter of this case and disproportionately burdensome to search for and/or

      collect. Defendants further object because the phrase "potential benefits or detriments" is

      vague in this context. Defendants further object to this Request to the extent it calls for the

      production of documents or information protected by the attorney-client privilege, the work-

      product doctrine, the common interest doctrine, and/or any other privilege or immunity from

      disclosure.

             Subject to and without waiving the foregoing objections, following a reasonably diligent

      search, Defendants will supplement their prior document production with Defendants will

      supplement their prior document production with non-privileged documents responsive to this

      Request at a mutually agreeable time and place.




      Request For Production No. 93:
             All documents and communications referring or relating to the employment, work,

      services, and activities of Tamara ("Tan1my") Payne.

             RESPONSE:

             Defendants object to this Request as overly broad, unduly burdensome, vague, and not

      reasonably relevant to any party's claim or defense and the proportional needs of the case. The


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                                                                                               APP. 00725
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      phrase "All documents and communications referring or relating" in this context lacks any

      kind of reasonable limitation and potentially implicates large volumes of documents unrelated

      to the subject matter of this case and disproportionately burdensome to search for and/or

      collect. Defendants further object because the phrase to the "employment, work, services, and

      activities" is near limitless and also lacks relevance. Defendants further object to this Request

      to the extent it calls for the production of documents or information protected by the attorney-

      client privilege, the work-product doctrine, the common interest doctrine, and/or any other

      privilege or immunity from disclosure.




      R.eguest For Production No. 94:

             All documents and communications referring or relating to the employment, work, or

      services disputes, including termination, of Tamara ("Tammy") Payne.

             RESPONSE:

             Defendants object to this Request as overly broad, unduly burdensome, vague, and not

      reasonably relevant to any party's claim or defense and the proportional needs of the case. The

      phrase "All documents and communications referring or relating" in this context lacks any

      kind ofreasonable limitation and potentially implicates large volumes of documents unrelated

      to the subject matter of this case and disproportionately burdensome to search for and/or

      collect. Defendants further object because the phrase to the "employment, work, or services"

      is near limitless and also lacks relevance. Defendants further object to this Request to the extent

      it calls for the production of documents or information protected by the attorney-client privilege,

      the work-product doctrine, the common interest doctrine, and/or any other privilege or immunity

      from disclosure.


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      Request For Production No. 95;

             All budgets and business plans for NRA TV, whether in draft form or otherwise.

             RESPONSE:

             Defendants object to this Request as overly broad, unduly burdensome, vague, and not

      reasonably relevant to any party's claim or defense and the proportional needs of the case. The

      phrase "All documents and communications referring or relating" in this context lacks any

      kind of reasonable limitation and potentially implicates large volumes of documents unrelated

      to the subject matter of this case and disproportionately burdensome to search for and/or

      collect. Defendants further object to this Request to the extent it calls for the production of

      documents or information protected by the attorney-client privilege, the work-product doctrine,

      the common interest doctrine, and/or any other privilege or immunity from disclosure.

             Subject to and without waiving the foregoing objections, following a reasonably diligent

      search, Defendants will supplement their prior document production with Defendants will

      supplement their prior document production with non-privileged documents responsive to this

      Request at a mutually agreeable time and place.




      Request For Production No, 96:

             All documents and communications referring or relating to key performance indicators

      ("KPis") that Defendants used to measure the performance and success of NRA TV, including

      but not limited to, documents concerning any decision-making process about which KPis to

      use or which KPis not to use- for what?

             RESPONSE:


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              Defendants object to this Request as overly broad, unduly burdensome, vague, and not

      reasonably relevant to any party's claim or defense and the proportional needs of the case. The

      phrase "All documents and communications referring or relating" in this context lacks any

      kind of reasonable limitation and potentially implicates large volumes of documents

      unrelated to the subject matter of this case and disproportionately burdensome to search for

      and/or collect. Defendants further object because the Request appears to rely on inaccurate

      assumptions about AMc operations and/ or analyses. Defendants further object because the

      last clause of the sentence appears nonsensical. Defendants further object to this Request to

      the extent it calls for the production of documents or information protected by the attorney-client

      privilege, the work-product doctrine, the common interest doctrine, and/or any other privilege or

      immunity from disclosure.




      Request For Produ ction No. 97:

             All documents and communications referring or relating to the raw data used to construct

      the following table on the slide labeled "NRATV Talent Valuation By Tv Show I Valuation By

      Duration" (Bates No. AMC-002772-002817), including but not limited to documents regarding

      the "media buying prices based on 60s Buys in Q2 and Q3."

      [GRAPHIC OMITTED]

             RESPONSE:

             Defendants object to this Request as overly broad, unduly burdensome, vague, and not

      reasonably relevant to any party's claim or defense and the proportional needs of the case. The

      phrase "All documents and communications referring or relating" in this context lacks any

      kind of reasonable limitation and potentially implicates large volumes of documents unrelated


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                                                                                                    APP. 00728
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      to the subject matter of this case and disprop01iionately burdensome to search for and/or

      collect. Defendants further object to this Request to the extent it calls for the production of

      documents or information protected by the attorney-client privilege, the work-product doctrine,

      the common interest doctrine, and/or any other privilege or immunity from disclosure.

             Subject to and without waiving the foregoing objections, following a reasonably diligent

      search, Defendants will supplement their prior document production with Defendants will

      supplement their prior document production with non-privileged documents responsive to this

      Request at a mutually agreeable time and place.



      Request For Production No. 98:

             The raw data used to construct the slide labeled "Earned Media Valuation I Online Media

      Publications" (Bates No. AMC-002772-002817), including but not limited to, supporting

      information for "$2,500/mention" and "3,973 Online Mentions" and documents and

      communications regarding the san1e.

      [GRAPHIC OMITTED]

             RESPONSE:

             Defendants object to this Request as overly broad, unduly burdensome, vague, and not

      reasonably relevant to any party' s claim or defense and the proportional needs of the case. The

      phrase "All documents and communications referring or relating" in this context lacks any

      kind of reasonable limitation and potentially implicates large volumes of documents unrelated

      to the subject matter of this case and disproportionately burdensome to search for and/or

      collect. Defendants further object to this Request to the extent it calls for the production of

      documents or information protected by the attorney-client privilege, the work-product doctrine,


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      the common interest doctrine, and/or any other privilege or immunity from disclosure.

             Subject to and without waiving the foregoing objections, following a reasonably diligent

      search, Defendants will supplement their prior document production with non-privileged

      documents responsive to this Request at a mutually agreeable time and place.



      Request For Production No. 99

             The raw data used to construct the slide labeled "Monetization- Q3 2018" (Bates No.

      AMC- 002772-002817), including but not limited to, supporting information for "Revenue -

      Digital Efforts", "Revenue - NRA Store", "Revenue - Phone Upsells" and documents and

      communications regarding the same.

      [GRAPHIC OMITTED]

             RESPONSE:

             Defendants object to this Request as overly broad, unduly burdensome, vague, and not

      reasonably relevant to any party's claim or defense and the proportional needs of the case.

      Defendants further object to this Request to the extent it calls for the production of documents or

      information protected by the attorney-client privilege, the work-product doctrine, the common

      interest doctrine, and/or any other privilege or immunity from disclosure.

             Subject to and without waiving the foregoing objections, following a reasonably diligent

      search, Defendants will supplement their prior document production with non-privileged

      documents responsive to this Request at a mutually agreeable time and place.



      Request For Production No. 100:

             The raw data for "Owned Digital Platforms", "Facebook, Youtube, Twitter, Instagram"



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      that is noted as available on the left-hand side of following slide labeled "Appendix I Data Notes"

      (Bates No. AMC-002772-002817).

      [GRAPHIC OMITTED]

             RESPONSE:

             Defendants object to this Request as overly broad, unduly burdensome, vague, and not

      reasonably relevant to any party's claim or defense and the proportional needs of the case.

      Defendants further object to this Request to the extent it calls for the production of documents or

      information protected by the attorney-client privilege, the work-product doctrine, the common

      interest doctrine, and/or any other privilege or immunity from disclosure.

             Subject to and without waiving the foregoing objections, following a reasonably diligent

      search, Defendants will supplement their prior document production with non-privileged

      documents responsive to this Request at a mutually agreeable time and place.



      Request For Production     No.   101:

             The raw data for all listed infonnation on the following slide labeled "NRATV Video

      Performance I YTD Q3 2018" (Bates No. AMC-002772-002817), including but not limited to,

      " 13.lMM completed views", "41.8MM engaged views, "206.0MM total views", "6.7MM

      reactions", "3.0MM shares" and "443k comments" and documents and communications

      concerning the same.

      [GRAPHIC OMITTED]

             RESPONSE:

             Defendants object to this Request as overly broad, unduly burdensome, vague, and not

      reasonably relevant to any party's claim or defense and the proportional needs of the case. The



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                                                                                                   APP. 00731
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      word "all" in this context lacks any kind of reasonable limitation and potentially implicates

      large volumes of documents unrelated to the subject matter of this case and disproportionately

      burdensome to search for and/or collect. Defendants further object to this Request to the extent

      it calls for the production of documents or information protected by the attorney-client privilege,

      the work-product doctrine, the common interest doctrine, and/or any other privilege or immunity

      from disclosure.

             Subject to and without waiving the foregoing objections, following a reasonably diligent

      search, Defendants will supplement their prior document production with non-privileged

      documents responsive to this Request at a mutually agreeable time and place.



      Request For Production No. 102:

             For slide labe.led, "YTD Q3 2018 Vs YTD Q3 2017" (Bates No. AMC-002772-

      002817), the raw data to supp01i all information listed, including but not limited to

      "Completed Views", "Engaged Views", "Total Views" and "Engaged+, Non-YT Total Watch

      Duration (Min)," as well as all documents and communications regarding the same in the slide

      referenced below

             [GRAPHIC OMITTED]

             RESPONSE:

             Defendants object to this Request as overly broad, unduly burdensome, vague, and not

      reasonably relevant to any party's claim or defense and the proportional needs of the case. The

      word "all" in this context lacks any kind of reasonable limitation and potentially implicates

      large volumes of documents unrelated to the subject matter of this case and disproportionately

      bmdensome to search for and/or collect. Defendants further object to this Request to the extent



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      it calls for the production of documents or information protected by the attorney-client privilege,

      the work-product doctrine, the common interest doctrine, and/or any other privilege or immunity

      from disclosure.

             Subject to and without waiving the foregoing objections, following a reasonably diligent

      search, Defendants will supplement their prior document production with non-privileged

      documents responsive to this Request at a mutually agreeable time and place.



      Reguest For Production No. 103:

              For slide labeled "Valuation Overview" (Bates No. AMC-002772-002817) below, the

      raw data to support all information listed, including but not limited to, "Total Watch Duration

      (Sec)", "Value Per Second Watched (Sec)", the regression analysis referenced and the

      calculation of''$0.003/S* ," as well as all communications and documents regarding the same.

              [GRAPHIC OMITTED]

             RESPONSE:

             Defendants object to this Request as overly broad, unduly burdensome, vague, and not

      reasonably relevant to any party's claim or defense and the proportional needs of the case. The

      word "all" in this context lacks any kind of reasonable limitation and potentially implicates

      large volumes of documents unrelated to the subject matter of this case and disproportionately

      burdensome to search for and/or collect. Defendants further object to this Request to the extent

      it calls for the production of documents or information protected by the attorney-client privilege,

      the work-product doctrine, the common interest doctrine, and/or any other privilege or immunity

      from disclosure.




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                 Subject to and without waiving the foregoing objections, following a reasonably diligent

      search, Defendants will supplement their prior document production with non-privileged

      documents responsive to this Request at a mutually agreeable time and place.



      Request For Production No. 104:

                 All documents and communications referring or relating to the strategy and tactics, as

      well as the ultimate goals, for NRATV, that were developed prior to the launch of NRATV,

      including but not limited to documents describing the process for selecting the specific shows

      to be filmed , produced and televised on NRA TV.

                 RESPONSE:

                 Defendants object to this Request as overly broad, unduly burdensome, vague, and not

      reasonably relevant to any party's claim or defense and the proportional needs of the case. The

      phrase "All documents and communications referring or relating" in this context lacks any

      kind of reasonable limitation and potentially implicates large volumes of documents unrelated

      to the subject matter of this case and disproportionately burdensome to search for and/or

      collect.      Defendants further object because the Request appears to rely on inaccurate

      assumptions about AMc operations and/ or analyses. Defendants further object to this Request

      because it is a compound request, which is further complicated by the vague phrase the "strategy

      and tactics" and the conceptually distinct request for the "process for selecting the specific

      shows to be filmed[.]" Defendants further object to this Request to the extent it calls for the

      production of documents or information protected by the attorney-client privilege, the work-

      product doctrine, the common interest doctrine, and/or any other privilege or immunity from

      disclosure.



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              Defendants object to the Request because it was apparently formulated without regard to

      the documents that Plaintiffs have already received in discovery and documents made available to

      the NRA. To date, Defendants have turned over more than 60,000 pages of documents which

      provide documents concerning and relating to NRATV and NRATV analytics. In addition,

      Defendants have offered to turn over all of the NRA's intellectual property in their possession,

      which will include documents and communications relating to NRATV, but to date, the NRA has

      failed to comply with the turnover requirement that it pay for the transfer of such information. The

      NRA cannot avoid its contractual obligation to pay for such communications by simply demanding

      it in discovery.

              Subject to and without waiving the foregoing objections, following a reasonably diligent

      search, Defendants will supplement their prior document production with non-privileged

      documents responsive to this Request at a mutually agreeable time and place.



      Request For Production No. 105:

             Produce the rental contracts for Alexandria, VA and Oklahoma City, OK office

      properties, as well as any other office property rental contracts not produced to date.

             RESPONSE:

             Defendants object to this Request as overly broad to the extent it seeks information not

      relevant to this case. Defendants have already provided information concerning its damages

      relating to the premature termination of its rental contracts, through the expert report of Dan

      Jackson. To the extent that this request seeks information about expert testimony that exceeds the

      limits on expert discovery allowed under Virginia law, this request is objectionable.

             Subject to and without waiving the foregoing objections, following a reasonably diligent



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      search, Defendants will supplement their prior document production with non-privileged

      documents responsive to this Request at a mutually agreeable time and place.




      Request For Production No. 106:

              Produce the Commercial Sublease dated October 2, 2019, by and between AMc and

      Innately/New Planet Technologies, Inc.

             RESPONSE:

             Defendants object to this Request as overly broad to the extent it seeks information not

      relevant to this case. Defendants have already provided information concerning its damages

      relating to the premature termination of its rental contracts, through the expert report of Dan

      Jackson. To the extent that this request seeks information about expert testimony that exceeds the

      limits on expert discovery allowed under Virginia law, this request is objectionable.

             Subject to and without waiving the foregoing objections, following a reasonably diligent

      search, Defendants will supplement their prior document production with non-privileged

      documents responsive to this Request at a mutually agreeable time and place.




      ,REQUEST FOR PRODUCTION NO. 107:

             Produce all records of payments made on all leased properties where NRA activities

      were performed.

             RESPONSE:

             Defendants object to this Request as overly broad, unduly burdensome, vague, and not

      reasonably relevant to any party's claim or defense and the proportional needs of the case.    The

      phrase "all records of payments" in this context is disproportionately burdensome to search


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                                                                                                    APP. 00736
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      for and/or collect, and thus potentially harassing, especially if the information is memorialized

      in a smaller subset of documents. Defendants further object to the extent that the NRA seeks

      every property lease of AMc's, which the NRA is not entitled to.        Defendants further object

      because the phrase "NRA activities" is vague. Defendants further object to this Request because

      it is a compound request, which is further complicated by the vague phrase the "strategy and

      tactics" and the conceptually distinct request for the "process for selecting the specific

      shows to be filmed[.]" Defendants further object to this Request to the extent it calls for the

      production of documents or information protected by the attorney-client privilege, the work-

      product doctrine, the common interest doctrine, and/or any other privilege or immunity from

      disclosure. Defendants have already provided information concerning its damages relating to the

      premature termination of its rental contracts, through the expert report of Dan Jackson. To the

      extent that this request seeks information about expert testimony that exceeds the limits on expert

      discovery allowed under Virginia law, this request is objectionable.

             Subject to and without waiving the foregoing objections, following a reasonably diligent

      search, Defendants will supplement their prior document production with non-privileged

      documents responsive to this Request at a mutually agreeable time and place.



      Request For Production No. 108:

             Produce justification / supporting documentation for allocation percentages applied on

      Exhibit 2 labeled, " Summary of Amounts Payable by AMc Related to Office Leases.

      Subsequent to the Termination of the Services Agreement," as referenced in the Jackson

      Expert Rep01i of Daniel L. Jackson, dated January 7, 2020.

             RESPONSE:



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              Defendants object to this Request as inappropriate expert discovery pursuant to the

      Virginia Rules of Civil Procedures. Defendants further object to this Request because it seeks

      information which is not appropriate through this discovery tool.         Defendants further object

      because the Amended Complaint has pushed back the date of expert discovery. Defendants further

      object to this Request to the extent it calls for the production of documents or information protected

      by the attorney-client privilege, the work-product doctrine, the common interest doctrine, and/or

      any other privilege or immunity from disclosure.




      Request For Production No. 109j

             Produce the "A-1 Freeman Moving & Storage invoice for $60,157" referenced in the

      Expert Report of Daniel L. Jackson, dated January 7, 2020.

             RESPONSE:

             Defendants object to this Request as inappropriate expert discovery pursuant to the

      Virginia Rules of Civil Procedures. Defendants further object because the Amended Complaint

      has pushed back the date of expert discovery. Defendants further object to this Request to the

      extent it calls for the production of documents or information protected by the attorney-client

      privilege, the work-product doctrine, the common interest doctrine, and/or any other privilege or

      immunity from disclosure.

             Subject to and without waiving the foregoing objections, following a reasonably diligent

      search, Defendants will supplement their prior document production with non-privileged

      documents responsive to this Request at a mutually agreeable time and place.




      Reguest For Production No. 110:


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                                                                                                     APP. 00738
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             All documents and communications referring or relating to the development of the

      Carry Guard brand.

             RESPONSE:

             Defendants object to this Request as overly broad, unduly burdensome, vague, and not

      reasonably relevant to any party's claim or defense and the proportional needs of the case. The

      phrase "All documents and communications referring or relating" in this context lacks any

      kind of reasonable limitation and potentially implicates large volumes of documents unrelated

      to the subject matter of this case and disproportionately burdensome to search for and/or

      collect. The NRA needs to further reduce the scope of this request so that AMc can engage

      in a manageable and reasonably proportionate search. Defendants further object to this Request

      to the extent it calls for the production of documents or information protected by the attorney-

      client privilege, the work-product doctrine, the common interest doctrine, and/or any other

      privilege or immunity from disclosure.




      Request For Production No. 111:

             All documents and communications referring or relating to the Carry Guard training

      platform.

             RESPONSE:

             Defendants object to this Request as overly broad, unduly burdensome, vague, and not

      reasonably relevant to any party's claim or defense and the proportional needs of the case. The

      phrase "All documents and communications referring or relating" in this context lacks any

      kind of reasonable limitation and potentially implicates large volumes of documents unrelated

      to the subject matter of this case and disproportionately burdensome to search for and/or


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                                                                                                APP. 00739
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      collect.     Defendants further object because the Request appears to rely on inaccurate

      assumptions about AMc operations and/ or analyses. Defendants further object to this Request

      to the extent it calls for the production of documents or information protected by the attorney-

      client privilege, the work-product doctrine, the common interest doctrine, and/or any other

      privilege or immunity from disclosure.

                 Subject to and without waiving the foregoing objections, following a reasonably diligent

      search, Defendants will supplement their prior document production with non-privileged

      documents responsive to this Request at a mutually agreeable time and place.




      Request For Production No. 112:

             All documents and communications referring or relating to the Carry Guard media

      strategy.

             RESPONSE:

             Defendants object to this Request as overly broad, unduly burdensome, vague, and not

      reasonably relevant to any party's claim or defense and the proportional needs of the case. The

      phrase "All documents and communications referring or relating" in this context lacks any

      kind of reasonable limitation and potentially implicates large volumes of documents unrelated

      to the subject matter of this case and disproportionately burdensome to search for and/or

      collect. Defendants further object to this Request to the extent it calls for the production of

      documents or information protected by the attorney-client privilege, the work-product doctrine,

      the common interest doctrine, and/or any other privilege or immunity from disclosure.

             Subject to and without waiving the foregoing objections, following a reasonably diligent

      search, Defendants will supplement their prior document production with non-privileged


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      documents responsive to this Request at a mutually agreeable time and place.




      Reguest For Production No. 113:

                 All documents and communications referring or relating to the Carry Guard customer

      acquisition and sales strategy.

                 RESPONSE:

                 Defendants object to this Request as overly broad, unduly burdensome, vague, and not

      reasonably relevant to any party's claim or defense and the proportional needs of the case. The

      phrase "AH documents and communications referring or relating" in this context lacks any

      kind of reasonable limitation and potentially implicates large volumes of documents unrelated

      to the subject matter of this case and disproportionately burdensome to search for and/or

      collect.     Defendants further object because the Request appears to rely on inaccurate

      assumptions about AMc operations and/ or analyses. Defendants further object to this Request

      to the extent it calls for the production of documents or information protected by the attorney-

      client privilege, the work-product doctrine, the common interest doctrine, and/or any other

      privilege or immunity from disclosure.

                 Subject to and without waiving the foregoing objections, following a reasonably diligent

      search, Defendants will supplement their prior document production with non-privileged

      documents responsive to this Request at a mutually agreeable time and place.



      Reguest For Production        No.1 J4;
                 All documents and communications refening or relating to the performance

      management of the Carry Guard program.


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                 RESPONSE:

                 Defendants object to this Request as overly broad, unduly burdensome, vague, and not

      reasonably relevant to any party's claim or defense and the proportional needs of the case. The

      phrase "All documents and communications referring or relating" in this context lacks any

      kind ofreasonable limitation and potentially implicates large volumes of documents unrelated

      to the subject matter of this case and disproportionately burdensome to search for and/or

      collect.      Defendants further object because the Request appears to rely on inaccurate

      assumptions about AMc operations and/ or analyses. Defendants further object because the

      phrase "performance management" is vague. Defendants further object to this Request to the

      extent it calls for the production of documents or information protected by the attorney-client

      privilege, the work-product doctrine, the common interest doctrine, and/or any other privilege or

      immunity from disclosure.



      Request For Production No. 115:

                 All presentation and reports delivered to the NRA regarding the Carry Guard program.

                 RESPONSE:

                 Defendants object to this Request as overly broad, unduly burdensome, vague, and not

      reasonably relevant to any party's claim or defense and the proportional needs of the case. The

      phrase "All documents and communications referring or relating" in this context lacks any

      kind ofreasonable limitation and potentially implicates large volumes of documents unrelated

      to the subject matter of this case and disproportionately burdensome to search for and/or

      collect.      Defendants further object to this Request to the extent it calls for the production of




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                                                                                                    APP. 00742
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      documents or information protected by the attorney-client privilege, the work-product doctrine,

      the common interest doctrine, and/or any other privilege or immunity from disclosure.

              Subject to and without waiving the foregoing objections, following a reasonably diligent

      search, Defendants will supplement their prior document production with non-privileged

      documents responsive to this Request at a mutually agreeable time and place.



      Reguest For Production No. 116:

              All documents and communications referring or relating to data AMc maintained

      regarding celebrity brand awareness such as scores and social media following, including but

      not limited to, documents and data provided by third party reports such as Q Score.

             RESPONSE:

             Defendants object to this Request as overly broad, unduly burdensome, vague, and not

      reasonably relevant to any party's claim or defense and the proportional needs of the case. This

      request appears to be a poorly-worded effort by the Brewer law firm to gain access to proprietary

      data of the Defendants about their work and is not related to any valid issue in this litigation. The

      phrase "All documents and communications referring or relating" in this context lacks any

      kind of reasonable limitation and potentially implicates large volumes of documents unrelated

      to the subject matter of this case and disproportionately burdensome to search for and/or

      collect. Defendants further object because the focus of this request is not relevant to the

      subject matter of the case. Defendants further object because the Request appears to rely on

      inaccurate assumptions about AMc operations and/ or analyses. Defendants further object to

      this Request to the extent it calls for the production of documents or information protected by the




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                                                                                                     APP. 00743
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      attorney-client privilege, the work-product doctrine, the common interest doctrine, and/or any

      other privilege or immunity from disclosure.



      Request For Production      No, 117i
             The NRA-account documents that AMc relied upon and performed to, by year, for the

      annual budget.

             RESPONSE:

             Defendants object to this Request as vague because it is unclear what is meant by "NRA-

      account documents" and "performed to[.]" Defendants further object to this Request as overly

      broad, unduly burdensome and not reasonably relevant to any party's claim or defense and the

      proportional needs of the case. The failure to clarify the meaning of these two phrases in this

      context potentially seeks documents unrelated to the subject matter of this case and

      disproportionately burdensome to search for and/or collect. Defendants further object because

      the Request appears to rely on inaccurate assumptions about AMc operations and/ or analyses.

      Defendants further object to this Request to the extent it calls for the production of documents or

      information protected by the attorney-client privilege, the work-product doctrine, the common

      interest doctrine, and/or any other privilege or immunity from disclosure.



      Request For Production No. 118i

             Provide all documents referring or relating to the annual budget and annual budget

      process, pursuant to the Services Agreement.

             RESPONSE:




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                                                                                                   APP. 00744
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                 Defendants object to this Request as overly broad, unduly burdensome, vague, and not

      reasonably relevant to any party's claim or defense and the proportional needs of the case. The

      phrase "All documents and communications referring or relating" in this context lacks any

      kind of reasonable limitation and potentially implicates large volumes of documents unrelated

      to the subject matter of this case and disproportionately burdensome to search for and/or

      collect.      Defendants further object to this Request to the extent it calls for the production of

      documents or information protected by the attorney-client privilege, the work-product doctrine,

      the common interest doctrine, and/or any other privilege or immunity from disclosure. Defendants

      object to the Request because it was apparently formulated without regard to the documents that

      Plaintiffs have already received in discovery. To date, Defendants have turned over more than

      60,000 pages of documents which provide documents concerning and relating to NRA budgeting

      and accounts payable records. Defendants also object on the grounds that NRA employees have

      testified in depositions that they possess this information within the NRA files.

                 Subject to and without waiving the foregoing objections, following a reasonably diligent

      search, Defendants will supplement their prior document production with non-privileged

      documents responsive to this Request at a mutually agreeable time and place.



      Request For Prod uction No. 119:

             All documents and communications referring or relating to AMc employee's

      budgetary compliance, invoicing, and payments responsibilities regarding work performed on

      behalf of the NRA, including but not limited to:

             a.     documents providing information to identify the individuals who were
             responsible for these duties; and,

             b.         documents showing the scope of the duties involved in their positions as to

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                                                                                                   APP. 00745
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              budgetary compliance, invoicing, and payments to theNRA.

              RESPONSE:

              Defendants object to this Request as vague because it is unclear what is meant by "AMc

      employee's budgetary compliance ... " Defendants further object to this Request as overly broad,

      unduly burdensome, and not reasonably relevant to any party's claim or defense and the

      proportional needs of the case. The phrase "All documents and communications referring or

      relating" in this context lacks any kind of reasonable limitation and potentially implicates

      large volumes of documents unrelated to the subject matter of this case and disproportionately

      burdensome to search for and/or collect. Defendants further object to this Request because it is

      a compound request, which is further complicated by the expansive scope of its individual

      subparts. Defendants further object because the Request appears to rely on inaccurate assumptions

      about AMc operations and/ or analyses. Defendants further object to this Request to the extent it

      calls for the production of documents or information protected by the attorney-client privilege, the

      work-product doctrine, the common interest doctrine, and/or any other privilege or immunity from

      disclosure.

             Defendants object to the Request because it was apparently formulated without regard to

      the documents that Plaintiffs have already received in discovery. To date, Defendants have turned

      over more than 60,000 pages of documents which provide documents concerning and relating to

      NRA budgeting and accounts payable records. Defendants also object on the grounds that NRA

      employees have testified in depositions that they possess this information within the NRA files.



      Reguest For Production No. 120:

             Produce an organizational chart for AMc describing the owner relationships between



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                                                                                                    APP. 00746
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      legal entities in the corporate family of AMc, including but not limited to, ownership lines

      and percentages, all subsidiaries and corporate forms.

              RESPONSE:

              Defendants object to this Request because it seeks the creation of a document rather than

      the production of an existing document which is not appropriate through this discovery tool.

      Defendants further object to this Request as not reasonably relevant to any party ' s claim or defense

      and the proportional needs of the case. Defendants further object to this Request to the extent it

      calls for the production of documents or information protected by the attorney-client privilege, the

      work-product doctrine, the common interest doctrine, and/or any other privilege or immunity from

      disclosure.



      Request For Production No. 121:

             Documents showing all personnel, including their titles, departments and salaries,

      employed by AMc at the end of each calendar year.

             RESPONSE:

             Defendants object to this Request because it seeks the creation of a document rather than

      the production of an existing document which is not appropriate through this discovery tool.

      Defendants further object to this Request as not reasonably relevant to any party's claim or defense

      and the proportional needs of the case. Defendants further object because it has already provided

      a document that lists all AMc employees that worked on NRA matters and the hours they worked.

      Defendants further object to this Request to the extent it calls for the production of documents or

      information protected by the attorney-client privilege, the work-product doctrine, the common

      interest doctrine, and/or any other privilege or immunity from disclosure.



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      Request For Production No. 122:

              All documents and communications referring or relating to the data from "AMc

      employment records" used to construct Exhibit 5 of the "Expert Report of Daniel L. Jackson"

      dated January 7, 2020.

              RESPONSE:

              Defendants object to this Request as inappropriate expert discovery pursuant to the

      Virginia Rules of Civil Procedures. Defendants further object to this Request because it seeks

      information which is not appropriate through this discovery tool.         Defendants further object

      because the Amended Complaint has pushed back the date of expert discovery. Defendants further

      object to this Request to the extent it calls for the production of documents or information protected

      by the attorney-client privilege, the work-product doctrine, the common interest doctrine, and/or

      any other privilege or immunity from disclosure.



      Request For Production No. 123i

              For each year from 2015 - 2019, documents or data that show the total number of hours

      spent on NRA account activities and the total number of hours spent on all activities at

      Ackerman McQueen for each employee listed in Exhibit 5. Report details should be provided

      in excel or native format, or via usemame access to electronic records, such that NRA project

      details are available for all employee hours billed to the NRA.

             RESPONSE:

              Defendants object to this Request as inappropriate expert discovery pursuant to .the

      Virginia Rules of Civil Procedures. Defendants further object to this Request because it seeks



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                                                                                                      APP. 00748
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      information which is not appropriate through this discovery tool.         Defendants further object

      because the Amended Complaint has pushed back the date of expert discovery. Defendants further

      object to this Request to the extent it calls for the production of documents or information protected

      by the attorney-client privilege, the work-product doctrine, the common interest doctrine, and/or

      any other privilege or immunity from disclosure.

              Defendants object to the Request because it was apparently formulated without regard to

      the documents that Plaintiffs have already received in discovery. To date, Defendants have turned

      over more than 60,000 pages of documents which provide documents concerning and relating to

      time records and summary time reports.




      Request For Production No. 124:

              All documents and communications referring or relating to leaks to the media and

      others of documents and information the NRA contends is confidential.

             RESPONSE:

             Defendants object to this Request as overly broad, unduly burdensome, vague, and not

      reasonably relevant to any party's claim or defense and the proportional needs of the case. The

      phrase "All documents and communications referring or relating" in this context lacks any

      kind of reasonable limitation and potentially implicates large volumes of documents unrelated

      to the subject matter of this case and disproportionately burdensome to search for and/or

      collect. Defendants further object to this Request because AMc does not necessarily know what

      "information the NRA contends is confidential" in the context of this Request. Defendants

      further object to this Request because it has not leaked anything and already produced documents

      that are responsive to this request. Defendants further object to this Request to the extent it calls


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                                                                                                     APP. 00749
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      for the production of documents or information protected by the attorney-client privilege, the

      work-product doctrine, the common interest doctrine, and/or any other privilege or immunity from

      disclosure.

             Defendants also object because the information it possesses about leaks has been gained

      through discovery in this case showing the various leaks emanating from the NRA, including but

      not limited to leaks from the NRA's treasurer's office, Bill Brewer, and Josh Powell. Such

      information gleaned form discovery is equally available to the NRA. As addressed during the

      February 6, 2020 hearing on the NRA's motion to compel, the Defendants do not possess

      documents relating to any leaks from their employees.

             Subject to and without waiving the foregoing objections, following a continued reasonably

      diligent search, Defendants will supplement their prior document production with non-privileged

      documents responsive to this Request at a mutually agreeable time and place.



      Reguest For Production No. 125:

             All documents referring or relating to Vox Media, LLC journalist Dylan Matthews's

      08/03/18 article entitled, "The National Rifle Association, America's most powerful lobby,

      claims it's in financial crisis. What?" including but not limited to, documents and

      communications concerning outlining steps taken by AMc, as agent of the NRA, to identify

      the "anonymous source at AMc" who provided the confidential information to Vox Media,

      LLC.

             RESPONSE:

             Defendants object to the premise of this request that there is a source at AMc who provided

      confidential information to Vox Media. Defendants also object to the legal conclusion that AMc



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                                                                                                  APP. 00750
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      has taken steps "as agent of the NRA" in this matter. Defendants object to this Request as not

      reasonably relevant to any party's claim or defense and the proportional needs of the case. The

      statements in this Request are not the subject matter of the case. Defendants further object to this

      Request to the extent it calls for the production of documents or information protected by the

      attorney-client privilege, the work-product doctrine, the common interest doctrine, and/or any

      other privilege or immunity from disclosure.



      Request For Production No. 126:

             AJI documents referred to in or relied on by the "Expe1i Report of Daniel L. Jackson"

      dated January 7, 2020.

             RESPONSE:

              Defendants object to this Request as inappropriate expert discovery pursuant to the

      Virginia Rules of Civil Procedures. Defendants further object to this Request because it seeks

      information which is not appropriate through this discovery tool.         Defendants further object

      because the Amended Complaint has pushed back the date of expert discovery. Defendants further

      object to this Request to the extent it calls for the production of documents or information protected

      by the attorney-client privilege, the work-product doctrine, the common interest doctrine, and/or

      any other privilege or immunity from disclosure.



      Reguest For Production      No.   127:

             All documents referring or relating to the design and composition of AMc's website

      (www.am.com) that identify the individuals involved in the decision-making related to the

      website ' s content, design, and composition.



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              RESPONSE:

              Defendants object to this Request as overly broad, unduly burdensome, vague, and not

      reasonably relevant to any party's claim or defense and the proportional needs of the case. The

      phrase "All documents referring or relating" in this context lacks any kind of reasonable

      limitation and potentially implicates large volumes of documents unrelated to the subject

      matter of this case and disproportionately burdensome to search for and/or collect. T11e lack

      of a specific date range, subject matter, or other scope limitation adds to over overbroadness

      and undue burden.     Defendants further object to this Request to the extent it calls for the

      production of documents or information protected by the attorney-client privilege, the work-

      product doctrine, the common interest doctrine, and/or any other privilege or immunity from

      disclosure.

              Subject to and without waiving the foregoing objections, following a reasonably diligent

      search, Defendants will supplement their prior document production with non-privileged

      documents responsive to this Request at a mutually agreeable time and place.



      B,equest For Production No. 128:

             All documents refeJTing or relating to Cambridge Analytica and any actual or potential

      services related to NRA TV.

             RESPONSE:

             Defendants object to this Request as overly broad, unduly burdensome, vague, and not

      reasonably relevant to any party's claim or defense and the proportional needs of the case. The

      phrase "All documents referring or relating" in this context lacks any kind of reasonable

      limitation and potentially implicates documents unrelated to the subject matter of this case



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      and disproportionately burdensome to search for and/or collect. Defendants further object to

      this Request to the extent it calls for the production of documents or information protected by the

      attorney-client privilege, the work-product doctrine, the common interest doctrine, and/or any

      other privilege or immunity from disclosure.



      Request For Production No. 129:

             All documents referring or relating to Performance Improvement Partners and any

      actual or potential services related to NRA TV.

             RESPONSE:

             Defendants object to this Request as overly broad, unduly burdensome, vague, and not

      reasonably relevant to any party's claim or defense and the proportional needs of the case. The

      phrase "All documents referring or relating" in this context lacks any kind of reasonable

      limitation and potentially implicates documents w1related to the subject matter of this case

      and disproportionately burdensome to search for and/or collect. Defendants further object to

      this Request to the extent it calls for the production of documents or information protected by the

      attorney-client privilege, the work-product doctrine, the common interest doctrine, and/or any

      other privilege or immunity from disclosure. Defendants object to the Request because it was

      apparently formulated without regard to the documents that Plaintiffs have already received in

      discovery. To date, Defendants have turned over more than 60,000 pages of documents which

      provide documents concerning and relating to NRA TV analytics.



      Reguest For Production No. 130:

             All documents referring or relating to The American Clean Skies ' "Clean Skies TV"



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      project, produced or otherwise managed by Defendants.

              RESPONSE:

              Defendants object to this Request as overly broad, unduly burdensome, vague, and not

      reasonably relevant to any party's claim or defense and the proportional needs of the case. The

      phrase "All documents referring or relating" in this context lacks any kind of reasonable

      limitation and potentially implicates documents unrelated to the subject matter of this case

      and disproportionately burdensome to search for and/or collect. Defendants further object

      because AMc's interactions with other clients, and documents related to such agreements are

      not relevant to the case. Releasing such docun1ents to anyone associated with the Brewer

      would jeopardize AMc by providing sensitive documents to a competitor. Defendants further

      object to this Request to the extent it calls for the production of documents or information protected

      by the attorney-client privilege, the work-product doctrine, the common interest doctrine, and/or

      any other privilege or immunity from disclosure. Defendants object to the request for documents

      outside of the time parameters set forth in the instructions.



      Reguest For Production No. 131:

             All documents referring or relating to information on viewership or viewership

      analytics for The American Clean Skies' "Clean Skies TV" project.

             RESPONSE:

             Defendants object to this Request as overly broad, unduly burdensome, vague, and not

      reasonably relevant to any party's claim or defense and the proportional needs of the case. The

      phrase "All documents referring or relating" in this context lacks any kind of reasonable

      limitation and potentially implicates documents unrelated to the subject matter of this case



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      and disproportionately burdensome to search for and/or collect. Defendants further object

      because AMc's interactions with other clients, and documents related to such agreements are

      not relevant to the case. Releasing such documents to anyone associated with the Brewer

      would jeopardize AMc by providing sensitive documents to a competitor. Defendants further

      object to this Request to the extent it calls for the production of documents or information protected

      by the attorney-client privilege, the work-product doctrine, the common interest doctrine, and/or

      any other privilege or immunity from disclosure. Defendants object to the request for documents

      outside of the time parameters set forth in the instructions.



      Reguest For Production No. 132:
              All documents referring or relating to the actual or contemplated basis for the ultimate

      cancellation of the 'The American Clean Skies' "Clean Skies TV" project.

              RESPONSE:

             Defendants object to this Request as overly broad, unduly burdensome, vague, and not

      reasonably relevant to any party's claim or defense and the proportional needs of the case. The

      phrase "All documents referring or relating" in this context lacks any kind of reasonable

      limitation and potentially implicates documents unrelated to the subject matter of this case

      and disproportionately burdensome to search for and/or collect. Defendants further object

      because AMc's interactions with other clients, and documents related to such agreements are

      not relevant to the case. Releasing such documents to anyone associated with the Brewer

      would jeopardize AMc by providing sensitive documents to a competitor. Defendants further

      object to this Request to the extent it calls for the production of documents or information protected

      by the attorney-client privilege, the work-product doctrine, the common interest doctrine, and/or



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      any other privilege or immunity from disclosure. Defendants object to the request for documents

      outside of the time parameters set forth in the instructions.



      Reguest For Production No. 133i

               All documents referring or relating to the impact (financial or otherwise) of North

      joining NRA TV.

               RESPONSE:

               Defendants object to this Request as overly broad, unduly burdensome, vague, and not

      reasonably relevant to any party's claim or defense and the proportional needs of the case. The

      phrase "All documents refeITing or relating" in this context lacks any kind of reasonable

      limitation and potentially implicates documents unrelated to the subject matter of this case

      and disproportionately burdensome to search for and/or collect. Defendants further object

      because it is unclear why the impact of North joining NRATV is relevant to the claims in this

      case.    Defendants further object to this Request to the extent it calls for the production of

      documents or information protected by the attorney-client privilege, the work-product doctrine,

      the common interest doctrine, and/or any other privilege or immunity from disclosure. Defendants

      object to the Request because it was apparently formulated without regard to the documents that

      Plaintiffs have already received in discovery. To date, Defendants have turned over more than

      60,000 pages of documents which provide documents concerning and relating to Lt. Col. Oliver

      North.



      Reguest For Production No. 134:

               Produce all documents that refer or relate to the development of American Heroes.



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                 RESPONSE:

                 Defendants object to the Request because it was apparently formulated without regard to

      the documents that Plaintiffs have already received in discovery. To date, Defendants have turned

      over more than 60,000 pages of documents which provide documents concerning and relating to

      Lt. Col. Oliver North. The NRA has already issued this discovery request and AMc has already

      made a substantial production of documents in response to it. AMc incorporates its objections

      therein.



      Req uest For Production No. 135:

                 All documents concerning the consequences of not filming American Heroes episodes

      in a timely manner or in a manner arguably inconsistent with the language ofNorth's contract

      withAMc.

                 RESPONSE:

             Defendants object to this Request as overly broad, unduly burdensome, vague, and not

      reasonably relevant to any party's claim or defense and the proportional needs of the case. The

      phrase "All documents concerning" in this context lacks any kind of reasonable limitation.

      Defendants frrrther object because the phrases "the consequences" and "arguably

      inconsistent" appear to require assumptions on what those mean which are both improper and

      confusing. Defendants further object to this Request to the extent it calls for the production of

      documents or information protected by the attorney-client privilege, the work-product doctrine,

      the common interest doctrine, and/or any other privilege or immunity from disclosure.

             Defendants object to the Request because it was apparently formulated without regard to

      the documents that Plaintiffs have already received in discovery. To date, Defendants have turned



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      over more than 60,000 pages of documents which provide documents concerning and relating to

      Lt. Col. Oliver North.



      Request For Production No. 136:

             Documents that show the office locations and production studios operated in part or in

      whole for AMc's Branded News subsidiary.

             RESPONSE:

             Defendants object to this Request as overly broad, unduly burdensome, vague, and not

      reasonably relevant to any party's claim or defense and the proportional needs of the case. The

      phrase "All documents refening or relating" in this context lacks any kind of reasonable

      limitation and potentially implicates documents unrelated to the subject matter of this case

      and disproportionately burdensome to search for and/or collect. Defendants further object to

      this Request to the extent it calls for the production of documents or information protected by the

      attorney-client privilege, the work-product doctrine, the common interest doctrine, and/or any

      other privilege or immunity from disclosure.



      Reguest For Production No. 137:

             Documents that show the clients managed by AMc's Branded News subsidiary from

      2000-2019.

             RESPONSE:

             Defendants object to this Request as overly broad, unduly burdensome, vague, and not

      reasonably relevant to any party's claim or defense and the proportional needs of the case. The

      phrase "All documents referring or relating" in this context lacks any kind of reasonable



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      limitation and potentially implicates documents unrelated to the subject matter of this case

      and disproportionately burdensome to search for and/or collect. Defendants further object to

      this Request to the extent it calls for the production of documents or information protected by the

      attorney-client privilege, the work-product doctrine, the common interest doctrine, and/or any

      other privilege or immunity from disclosure.

             Defendants object that this request seeks documents outside of the time parameters

      addressed as the relevant period in the instructions. Defendants also object that this request seeks

      proprietary information unrelated to the litigation, but that would potentially be valuable to the

      Brewer Law Firm and thus, the purpose of this request is improper and an abuse of the discovery

      process.



      Reguest For Production No. 138:

             All documents referring or relating to the April 2019 Board of Directors meeting for

      the NRA and/or the preparations for that meeting.

             RESPONSE:

             This request 1s redundant of Request No. 71 and the objections to that request are

      incorporated herein. Defendants object to this Request as overly broad, unduly burdensome,

      vague, and not reasonably relevant to any party's claim or defense and the proportional needs of

      the case. The phrase "All documents referring or relating" in this context lacks any kind of

      reasonable limitation and potentially implicates large volumes of documents unrelated to the

      subject matter of this case and disproportionately burdensome to search for and/or collect.

      Defendants further object to this Request to because the clause "April 2019 Board of Directors

      meeting for the NRA" is unclear about what Board of Directors it is referring to. Defendants



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                                                                                                    APP. 00759
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      further object to this Request to the extent it calls for the production of documents or information

      protected by the attorney-client privilege, the work-product doctrine, the common interest

      doctrine, and/or any other privilege or immunity from disclosure.




      ReguestFor Production No. 139:

              All documents and communications referring or relating to North from April 1, 2019

      to May 31, 2019.

              RESPONSE:

              Defendants object to this Request as overly broad, unduly burdensome, vague, and not

      reasonably relevant to any party's claim or defense and the proportional needs of the case. The

      phrase "All documents and communications referring or relating" in this context lacks any

      kind ofreasonable limitation and potentially implicates large volumes of documents unrelated

      to the subject matter of this case and disproportionately burdensome to search for and/or

      collect. AMc requests that the NRA limit scope of this Request to relevant areas of inquiry.

      Defendants further object to this Request to the extent it calls for the production of documents or

      information protected by the attorney-client privilege, the work-product doctrine, the common

      interest doctrine, and/or any other privilege or immunity from disclosure.

             Defendants object to the Request because it was apparently formulated without regard to

      the documents that Plaintiffs have already received in discovery. To date, Defendants have turned

      over more than 60,000 pages of documents, many of which provide documents concerning and

      relating to Lt. Col. Oliver North.



      Request For Production No. 1~0:


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                                                                                                   APP. 00760
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              All documents refeITing or relating to the existence of any agreement, understanding,

      combination, or collaboration between and among the Defendants, on one hand, and persons

      not employed by or affiliated with AMc ( e.g., Dan Boren), on the other, concerning efforts:

              a.     to de-rail, stop, impede, obstruct, not cooperate, or otherwise delay the NRA's
                     investigation and/or,

              b.     to remove Mr. LaPierre or other senior NRA leadership from their positions at
                     the NRA.

              RESPONSE:

             Defendants object to this Request as overly broad, unduly burdensome, vague, and not

      reasonably relevant to any party's claim or defense and the proportional needs of the case. The

      phrase "All documents referring or relating" in this context lacks any kind of reasonable

      limitation and potentially implicates large volumes of documents unrelated to the subject

      matter of this case and disproportionately burdensome to search for and/or collect. Defendants

      further object because it is unclear what is meant by the phrase "the NRA's investigation[.]"

      Defendants further object because it specifically denies the apparent premise in under (b) that AMc

      was involved in any kind of "conspiracy." Plaintiff has already taken depositions and obtained

      document production from key witnesses disproving its "conspiracy" theory. Defendants further

      object to this Request because it is a compound request, which is further complicated by the

      expansive scope of its individual subparts. Defendants further object to this Request to the extent

      it calls for the production of documents or information protected by the attorney-client privilege,

      the work-product doctrine, the common interest doctrine, and/or any other privilege or immunity

      from disclosure.



      Reguest For Production No, 141;



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             All documents referring or relating to, and including, communications between and

      among AMc and Dan Boren regarding the NRA, after January 1, 2016.

              RESPONSE:

             Defendants object to this Request as overly broad, unduly burdensome, vague, and not

      reasonably relevant to any party's claim or defense and the proportional needs of the case. The

      phrase "All documents referring or relating to, and including" in this context lacks any kind

      of reasonable limitation and potentially implicates large volumes of documents unrelated to

      the subject matter of this case and disproportionately burdensome to search for and/or collect.

      AMc will agree to perform a reasonable search subject to a more limited date range and limitation

      of subject matter. Defendants further object to this Request to the extent it calls for the production

      of documents or information protected by the attorney-client privilege, the work-product doctrine,

      the common interest doctrine, and/or any other privilege or immunity from disclosure.

             Defendants object to the Request because it was apparently formulated without regard to

      the documents that Plaintiffs have already received in discovery. To date, Defendants have turned

      over more than 60,000 pages of documents some of which provide documents concerning and

      relating to Dan Boren and the NRA. Moreover, the NRA has obtained document production from

      Dan Boren himself and then failed to take his deposition. Consequently, this request is merely

      another burdensome request by the NRA for information that it already possesses.




      Reguest For Production No. 142:

             All documents referring or relating to, and including, communications between and

      among AMc and David Lehman regarding the NRA, after January 1, 2015.

             RESPONSE:


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                                                                                                     APP. 00762
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              Defendants object to this Request as overly broad, unduly burdensome, vague, and not

      reasonably relevant to any party's claim or defense and the proportional needs of the case. The

      phrase "All documents referring or relating to, and including" in this context lacks any kind

      of reasonable limitation and potentially implicates large volumes of documents unrelated to

      the subject matter of this case and disproportionately burdensome to search for and/or collect.

      AMc will agree to perform a reasonable search subject to a more limited date range and limitation

      of subject matter. Defendants further object to this Request to the extent it calls for the production

      of documents or information protected by the attorney-client privilege, the work-product doctrine,

      the common interest doctrine, and/or any other privilege or immunity from disclosure.

             Defendants object to the Request because it was apparently formulated without regard to

      the documents that Plaintiffs have already received in discovery. To date, Defendants have turned

      over more than 60,000 pages of documents of which 274 specifically refer to David Lehman.



      Reguest For Production No. 143:

             All documents referring or relating to, and including, communications between and

      among AMc and Steven Hart regarding the NRA, after January 1, 2017.

             RESPONSE:

             Defendants object to this Request as overly broad, unduly burdensome, vague, and not

      reasonably relevant to any party's claim or defense and the proportional needs of the case. The

      phrase "All documents referring or relating to, and including" in this context lacks any kind

      of reasonable limitation and potentially implicates large volumes of documents unrelated to

      the subject matter of this case and disproportionately burdensome to search for and/or collect.

      AMc will agree to perform a reasonable search subject to a more limited date range and limitation


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                                                                                                      APP. 00763
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      of subject matter. Defendants further object to this Request to the extent it calls for the production

      of documents or information protected by the attorney-client privilege, the work-product doctrine,

      the common interest doctrine, and/or any other privilege or immunity from disclosure.

              Defendants object to the Request because it was apparently formulated without regard to

      the documents that Plaintiffs have already received in discovery. To date, Defendants have turned

      over more than 60,000 pages of documents, many of which relate to Steven Hart. In addition,

      Defendants have served a subpoena on Mr. Hart for relevant documents, but the NRA has blocked

      substantial production of documents on the grounds of attorney-client and work product privileges.



      Request For Production No, 144:

             All documents referring or relating to, and including, communications between and

      among AMc and Chris Cox regarding the NRA, after January 1, 2019.

             RESPONSE:

             Defendants object to this Request as overly broad, unduly burdensome, vague, and not

      reasonably relevant to any party's claim or defense and the proportional needs of the case. The

      phrase "All documents referring or relating to, and including" in this context lacks any kind

      of reasonable limitation and potentially implicates large volumes of documents unrelated to

      the subject matter of this case and disproportionately burdensome to search for and/or collect.

      AMc will agree to perform a reasonable search subject to a more limited date range and limitation

      of subject matter. Defendants further object to this Request to the extent it calls for the production

      of documents or information protected by the attorney-client privilege, the work-product doctrine,

      the common interest doctrine, and/or any other privilege or immunity from disclosure.

             Defendants object to the Request because it was apparently formulated without regard to


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                                                                                                      APP. 00764
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      the documents that Plaintiffs have already received in discovery. To date, Defendants have turned

      over more than 60,000 pages of documents, many of which provide documents concerning and

      relating to Chris Cox.



      Reguest For Production No. 145:

              All documents referring or relating to, and including, communications between and

      among AMc and Oliver North regarding the NRA, after January 1, 2018.

              RESPONSE:

              Defendants object to this Request as overly broad, unduly burdensome, vague, and not

      reasonably relevant to any party's claim or defense and the proportional needs of the case. The

      phrase "All documents referring or relating to, and including" in this context lacks any kind

      of reasonable limitation and potentially implicates large volumes of documents unrelated to

      the subject matter of this case and disproportionately burdensome to search for and/or collect.

      AMc will agree to perform a reasonable search subject to a more limited date range, limitation of

      subject matter, and clarification.   Defendants further object to this Request to the extent it calls

      for the production of documents or information protected by the attorney-client privilege, the

      work-product doctrine, the common interest doctrine, and/or any other privilege or immunity from

      disclosure.

             Defendants object to the Request because it was apparently formulated without regard to

      the documents that Plaintiffs have already received in discovery. To date, Defendants have turned

      over more than 60,000 pages of documents which provide documents concerning and relating to

      Lt. Col. Oliver North.




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                                                                                                     APP. 00765
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      Reguest For Production      No. 146:
              All documents referring or relating to, and including, communications between and

      among AMc and Lance Olson regarding the NRA, after January 1, 2015.

              RESPONSE:

              Defendants object to this Request as overly broad, unduly burdensome, vague, and not

      reasonably relevant to any party's claim or defense and the proportional needs of the case. The

      phrase "All documents referring or relating to, and including" in this context lacks any kind

      of reasonable limitation and potentially implicates large volumes of documents unrelated to

      the subject matter of this case and disproportionately burdensome to search for and/or collect.

      AMc will agree to perform a reasonable search subject to a more limited date range, limitation of

      subject matter, and clarification. Defendants further object to this Request to the extent it calls

      for the production of documents or information protected by the attorney-client privilege, the

      work-product doctrine, the common interest doctrine, and/or any other privilege or immunity from

      disclosure.

             Defendants object to the Request because it was apparently formulated without regard to

      the documents that Plaintiffs have already received in discovery. To date, Defendants have turned

      over more than 60,000 pages of documents, some of which provide documents concerning and

      relating to Lance Olson.




      Reguest   For Production No.    147:

             All documents referring or relating to, and including, communications between and

      among AMc and any NRA Board members regarding the NRA, after January 1, 2015.

             RESPONSE:


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                                                                                                   APP. 00766
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              Defendants object to this Request as overly broad, unduly burdensome, vague, and not

      reasonably relevant to any party's claim or defense and the proportional needs of the case. The

      phrase "All documents referring or relating to, and including" in this context lacks any kind

      of reasonable limitation and potentially implicates large volumes of documents unrelated to

      the subject matter of this case and disprop01iionately burdensome to search for and/or collect.

      The NRA has approximately 75 board members and AMc has numerous employees. Defendants

      further object to this Request to the extent it calls for the production of documents or information

      protected by the attorney-client privilege, the work-product doctrine, the common interest

      doctrine, and/or any other privilege or immunity from disclosure.

             Defendants object to the Request because it was apparently formulated without regard to

      the documents that Plaintiffs have already received in discovery. To date, Defendants have turned

      over more than 60,000 pages of documents, many of which provide documents concerning and

      relating to NRA board members, including Oliver North.



      Request For Production      No.   148:

             All drafts of the Company Agreement for WBB Investments, LLC and all documents

      and communications related thereto.

             RESPONSE:

             Defendants object to this Request as overly broad, unduly burdensome, vague, and not

      reasonably relevant to any party's claim or defense and the proportional needs of the case.

      Defendants further object to this Request to the extent it calls for the production of documents or

      information protected by the attorney-client privilege, the work-product doctrine, the common

      interest doctrine, and/or any other privilege or immunity from disclosure.


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                 Subject to and without waiving the foregoing objections, following a reasonably diligent

      search, Defendants will supplement their prior document production with non-privileged

      documents responsive to this Request at a mutually agreeable time and place.



      Request For Production No. 149:

                 All documents concerning the actual or contemplated creation, formation, negotiation,

      and/or terms of the Company Agreement ofWBB Investments, LLC, including but not limited

      to, documents concerning any actual or contemplated decision to form or create that entity or

      a similar entity or the actual or contemplated factors related to the creation or formation

      thereto.

             RESPONSE:

             Defendants object to this Request as overly broad, unduly burdensome, vague, and not

      reasonably relevant to any party's claim or defense and the proportional needs of the case.

      Defendants further object to this Request to the extent it calls for the production of documents or

      information protected by the attorney-client privilege, the work-product doctrine, the common

      interest doctrine, and/or any other privilege or immunity from disclosure.

             Subject to and without waiving the foregoing objections, following a reasonably diligent

      search, Defendants will supplement their prior document production with non-privileged

      documents responsive to this Request at a mutually agreeable time and place.




      Reguest For Production No. 150:

             Documents that show AMc's largest client account for the years 2015, 2016, 2017,

      2018 and 2019.


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                                                                                                   APP. 00768
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              RESPONSE:

              Defendants object to this Request as overly broad, unduly burdensome, vague, and not

      reasonably relevant to any party's claim or defense and the proportional needs of the case. The

      Request lacks any kind of reasonable limitation and potentially implicates large volumes of

      documents unrelated to the subject matter of this case and disproportionately burdensome to

      search for and/or collect. Defendants further object to this Request because the terms "show" and

      "largest client" are unclear in this context. Defendants further object to this Request because it

      seeks information which is not appropriate through this discovery tool. Defendants further object

      to this Request to the extent it calls for the production of documents or information protected by

      the attorney-client privilege, the work-product doctrine, the common interest doctrine, and/or any

      other privilege or immunity from disclosure.



      Request For Production No. 151:

             Documents that show Ackerman's gross revenue throughout 2012, 2013, 2014, 2015,

      2016, 2017, 2018 and 2019, on a monthly basis.

             RESPONSE:

             Defendants object to this Request as overly broad, unduly burdensome, vague, and not

      reasonably relevant to any party's claim or defense and the proportional needs of the case. The

      Request lacks any kind of reasonable limitation and potentially implicates large volumes of

      documents unrelated to the subject matter of this case and disproportionately burdensome to

      search for and/or collect. Defendants further object to this Request because the date range is

      excessively large and the "monthly basis" frequency not relevant and disproportionate.

      Defendants further object to this Request because the terms "show" and is unclear in this context.



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                                                                                                  APP. 00769
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      Defendants further object to this Request because it seeks information which is not appropriate

      through this discovery tool. Defendants further object to this Request to the extent it calls for the

      production of documents or information protected by the attorney-client privilege, the work-

      product doctrine, the common interest doctrine, and/or any other privilege or immunity from

      disclosure. To the extent that this request is a demand that Defendants create a document rather

      then merely produce a document, it is also objectionable.



      Request For Production No. 152:

              All documents and communications referring or relating to letters sent by William

      Winkler to Craig Spray, Wayne LaPierre and Tyler Schropp on April 22, 2019.

             RESPONSE:

             Defendants object to the Request because it was apparently formulated without regard to

      the documents that Plaintiffs have already received in discovery. To date, Defendants have turned

      over more than 60,000 pages of documents, some of which provide documents concerning and

      relating to the Winkler letters. The NRA has already issued this discovery request and AMc has

      already made a substantial production of documents in response to it. AMc incorporates its

      objections therein.



      Request For Production No: 153:

             Documents to show the services category attributable to invoices of A-E, as outlined

      in Section I of the Services Agreement.

             RESPONSE:

             Defendants object to this Request as overly broad, unduly burdensome, vague, and not



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                                                                                                     APP. 00770
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      reasonably relevant to any party's claim or defense and the proportional needs of the case.

      Defendants cannot interpret this vague request. The Request lacks any kind of reasonable

      limitation and potentially implicates large volumes of documents unrelated to the subject

      matter of this case and disproportionately burdensome to search for and/or collect. Defendants

      further object to this Request because it is unclear what the NRA means by "invoices of A-E" and

      what the phrase "to show" means in the context. Defendants further object to this Request because

      it seeks information which is not appropriate through this discovery tool. Defendants further object

      to this Request to the extent it calls for the production of documents or information protected by

      the attorney-client privilege, the work-product doctrine, the common interest doctrine, and/or any

      other privilege or immunity from disclosure.



      Request For Production No. 154:

             All documents and communications referring or relating to any vendor who provides

      goods or services to the NRA, including AMc, in which Oliver North maintains any ownership

      interest, manages, operates or controls.

             RESPONSE:

             Defendants object to this Request as overly broad, unduly burdensome, vague, and not

      reasonably relevant to any party's claim or defense and the proportional needs of the case. The

      phrase "All documents and communications referring or relating" in this context lacks any

      kind of reasonable limitation and potentially implicates documents unrelated to the subject

      matter of this case and disproportionately burdensome to search for and/or collect. The

      Amended Complaint does not concern claims that AMc employees had ownership interests in

      non-AMc vendors that provided goods or services to the NRA. Defendants further object to



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      this Request because it presupposes that AMc has intimate knowledge of North's finances and

      business endeavors and knows every vendor that provides services or goods to the NRA.

      Defendants further object to this Request to the extent it calls for the production of documents or

      information protected by the attorney-client privilege, the work-product doctrine, the common

      interest doctrine, and/or any other privilege or immunity from disclosure.

             Defendants object to the premise of the question that Oliver North maintains an ownership

      interest, manages, operates or controls AMc. To the extent that this request seeks information

      about Oliver North's private business interests unrelated to AMc, the request is objectionable and

      not calculated to lead to the discovery of information within the custody, possession and control

      of the Defendants.



      Request For Production No. l55i

             All documents and communications referring or relating to any vendor who provides

      goods or services to the NRA, other than AMc, in which Revan McQueen maintains any

      ownership interest, manages, operates or controls.

             RESPONSE:

             Defendants object to this Request as overly broad, unduly burdensome, vague, and not

      reasonably relevant to any party's claim or defense and the proportional needs of the case. The

      phrase "All documents and communications referring or relating" in this context lacks any

      kind of reasonable limitation and potentially implicates documents unrelated to the subject

      matter of this case and disproportionately burdensome to search for and/or collect. The

      Amended Complaint does not concern claims that AMc employees had ownership interests in

      non-AMc vendors that provided goods or services to the NRA. Defendants further object to



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      this Request because it presupposes that AMc knows every vendor that provides services or goods

      to the NRA. Defendants further object to this Request to the extent it calls for the production of

      documents or information protected by the attorney-client privilege, the work-product doctrine,

      the common interest doctrine, and/or any other privilege or immunity from disclosure. This

      request appears designed only to harass Defendants with a question that assumes a business

      relationship umelated to the litigation and demands that such assumption be investigated at the

      expense of the Defendants.



      Request For Production No.      156:
             All documents and communications referring or relating to any vendor who provides

      goods or services to the NRA, other than AMc, in which Anthony Makris maintains any

      ownership interest, manages, operates or controls.

             RESPONSE:

             Defendants object to this Request as overly broad, unduly burdensome, vague, and not

      reasonably relevant to any party's claim or defense and the proportional needs of the case. The

      phrase "All documents and communications referring or relating" in this context lacks any

      kind of reasonable limitation and potentially implicates documents unrelated to the subject

      matter of this case and dispropmiionately burdensome to search for and/or collect. The

      Amended Complaint does not concern claims that AMc employees had ownership interests in

      non-AMc vendors that provided goods or services to the NRA. Defendants further object to

      this Request because it presupposes that AMc knows every vendor that provides services or goods

      to the NRA. Defendants further object to this Request to the extent it calls for the production of

      documents or information protected by the attorney-client privilege, the work-product doctrine,



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      the common interest doctrine, and/or any other privilege or immunity from disclosure. This

      request appears designed only to harass Defendants with a question that assumes a business

      relationship umelated to the litigation and demands that such assumption be investigated at the

      expense of the Defendants.



      Request For Production       No. 157;
              All documents and communications referring or relating to any vendor who provides

      goods or services to the NRA, other than AMc, in which Nader Tavangar maintains any

      ownership interest, manages, operates or controls.

             RESPONSE:

             Defendants object to this Request as overly broad, unduly burdensome, vague, and not

      reasonably relevant to any party's claim or defense and the proportional needs of the case. The

      phrase "All documents and communications refe1Ting or relating" in this context lacks any

      kind of reasonable limitation and potentially implicates documents unrelated to the subject

      matter of this case and disproportionately burdensome to search for and/or collect. The

      Amended Complaint does not concern claims that AMc employees had ownership interests in

      non-AMc vendors that provided goods or services to the NRA. Defendants further object to

      this Request because it presupposes that AMc knows every vendor that provides services or goods

      to the NRA. Defendants further object to this Request to the extent it calls for the production of

      documents or information protected by the attorney-client privilege, the work-product doctrine,

      the common interest doctrine, and/or any other privilege or immunity from disclosure. This

      request appears designed only to harass Defendants with a question that assumes a business

      relationship umelated to the litigation and demands that such assumption be investigated at the



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      expense of the Defendants.



      Request For Production No. 158:

             All documents and communications referring or relating to any vendor who provides

      goods or services to the NRA, other than AMc, in which Edmund Martin maintains any

      ownership interest, manages, operates or controls.

             RESPONSE:

             Defendants object to this Request as overly broad, unduly burdensome, vague, and not

      reasonably relevant to any party's claim or defense and the proportional needs of the case. The

      phrase "All documents and communications refen-ing or relating" in this context lacks any

      kind of reasonable limitation and potentially implicates documents unrelated to the subject

      matter of this case and disproportionately burdensome to search for and/or collect. The

      Amended Complaint does not concern claims that AMc employees had ownership interests in

      non-AMc vendors that provided goods or services to the NRA. Defendants further object to

      this Request because it presupposes that AMc knows every vendor that provides services or goods

      to the NRA. Defendants further object to this Request to the extent it calls for the production of

      documents or information protected by the attorney-client privilege, the work-product doctrine,

      the common interest doctrine, and/or any other privilege or immunity from disclosure. This

      request appears designed only to harass Defendants with a question that assumes a business

      relationship unrelated to the litigation and demands that such assumption be investigated at the

      expense of the Defendants.



      Request For Production No. 159:



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             All documents and communications referring or relating to any vendor who provides

      goods or services to the NRA, other than AMc, in which Bill Powers maintains any ownership

      interest, manages, operates or controls.

             RESPONSE:

             Defendants object to this Request as overly broad, unduly burdensome, vague, and not

      reasonably relevant to any party's claim or defense and the proportional needs of the case. The

      phrase "All documents and communications referring or relating" in this context lacks any

      kind of reasonable limitation and potentially implicates documents unrelated to the subject

      matter of this case and disproportionately burdensome to search for and/or collect. The

      Amended Complaint does not concern claims that AMc employees had ownership interests in

      non-AMc vendors that provided goods or services to the NRA. Defendants further object to

      this Request because it presupposes that AMc knows every vendor that provides services or goods

      to the NRA. Defendants further object to this Request to the extent it calls for the production of

      documents or information protected by the attorney-client privilege, the work-product doctrine,

      the common interest doctrine, and/or any other privilege or immunity from disclosure. This

      request appears designed only to harass Defendants with a question that assumes a business

      relationship unrelated to the litigation and demands that such assumption be investigated at the

      expense of the Defendants.



      Request For Production No. 160:

             All documents and communications referring or relating to any vendor who provides

      goods or services to the NRA, other than AMc, in which Lacey Duffy-Cremer maintains any

      ownership interest, manages, operates or controls.



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             RESPONSE:

             Defendants object to this Request as overly broad, unduly burdensome, vague, and not

      reasonably relevant to any party's claim or defense and the proportional needs of the case. The

      phrase "All documents and communications referring or relating" in this context lacks any

      kind of reasonable limitation and potentially implicates documents unrelated to the subject

      matter of this case and disproportionately burdensome to search for and/or collect. The

      Amended Complaint does not concern claims that AMc employees had ownership interests in

      non-AMc vendors that provided goods or services to the NRA. Defendants further object to

      this Request because it presupposes that AMc knows every vendor that provides services or goods

      to the NRA. Defendants further object to this Request to the extent it calls for the production of

      documents or information protected by the attorney-client privilege, the work-product doctrine,

      the common interest doctrine, and/or any other privilege or immunity from disclosure. This

      request appears designed only to harass Defendants with a question that assumes a business

      relationship unrelated to the litigation and demands that such assumption be investigated at the

      expense of the Defendants.



      Reguest For Production No. 161:

             All documents and communications referring or relating to any vendor who provides

      goods or services to the NRA, other than AMc, in which Melanie Montgomery maintains any

      ownership interest, manages, operates or controls.

             RESPONSE:

      Defendants object to this Request as overly broad, unduly burdensome, vague, and not reasonably

      relevant to any party's claim or defense and the proportional needs of the case. The phrase "All



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                                                                                                 APP. 00777
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      documents and communications referring or relating" in this context lacks any kind of

      reasonable limitation and potentially impUcates documents unrelated to the subject matter of

      this case and disproportionately burdensome to search for and/or collect.           The Amended

      Complaint does not concern claims that AMc employees had ownership interests in non-AMc

      vendors that provided goods or services to the NRA. Defendants further object to this Request

      because it presupposes that AMc knows every vendor that provides services or goods to the NRA.

      Defendants further object to this Request to the extent it calls for the production of documents or

      information protected by the attorney-client privilege, the work-product doctrine, the common

      interest doctrine, and/or any other privilege or immunity from disclosure. This request appears

      designed only to harass Defendants with a question that assumes a business relationship unrelated

      to the litigation and demands that such assumption be investigated at the expense of the

      Defendants.



      Reguest For Production No. 162:

             All documents and communications referring or relating to any vendor who provides

      goods or services to the NRA, other than AMc, in which Brandon Winkler maintains any

      ownership interest, manages, operates or controls.

             RESPONSE:

      Defendants object to this Request as overly broad, unduly burdensome, vague, and not reasonably

      relevant to any party's claim or defense and the proportional needs of the case. The phrase "All

      documents and communications referring or relating" in this context lacks any kind of

      reasonable limitation and potentially implicates documents unrelated to the subject matter of

      this case and disproportionately burdensome to search for and/or collect.          The Amended



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      Complaint does not concern claims that AMc employees had ownership interests in non-AMc

      vendors that provided goods or services to the NRA. Defendants further object to this Request

      because it presupposes that AMc knows every vendor that provides services or goods to the NRA.

      Defendants further object to this Request to the extent it calls for the production of documents or

      information protected by the attorney-client privilege, the work-product doctrine, the common

      interest doctrine, and/or any other privilege or immunity from disclosure. This request appears

      designed only to harass Defendants with a question that assumes a business relationship umelated

      to the litigation and demands that such assumption be investigated at the expense of the

      Defendants.




      Request For Production No. 163:

             All documents and communications referring or relating to any vendor who provides

      goods or services to the NRA, other than AMc, in which Willian1 Winkler maintains any

      ownership interest, manages, operates or controls.

             RESPONSE:

      Defendants object to this Request as overly broad, unduly burdensome, vague, and not reasonably

      relevant to any party's claim or defense and the proportional needs of the case. The phrase "All

      documents and communications referring or relating" in this context lacks any kind of

      reasonable limitation and potentially implicates documents unrelated to the subject matter of

      this case and disproportionately burdensome to search for and/or collect. The Amended

      Complaint does not concern claims that AMc employees had ownership interests in non-AMc

      vendors that provided goods or services to the NRA. Defendants further object to this Request

      because it presupposes that AMc knows every vendor that provides services or goods to the NRA.


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      Defendants further object to this Request to the extent it calls for the production of documents or

      information protected by the attorney-client privilege, the work-product doctrine, the common

      interest doctrine, and/or any other privilege or immunity from disclosure. This request appears

      designed only to harass Defendants with a question that assumes a business relationship unrelated

      to the litigation and demands that such assumption be investigated at the expense of the

      Defendants.




      Reguest   For Production No. 164:
             All documents and communications referring or relating to any vendor who provides

      goods or services to the NRA, other than AMc, in which Carl Warner maintains any ownership

      interest, manages, operates or controls.

             RESPONSE:

             Defendants object to this Request as overly broad, unduly burdensome, vague, and not

      reasonably relevant to any party' s claim or defense and the proportional needs of the case. The

      phrase "All documents and communications referring or relating" in this context lacks any

      kind of reasonable limitation and potentially implicates documents unrelated to the subject

      matter of this case and disproportionately burdensome to search for and/or collect. The

      Amended Complaint does not concern claims that AMc employees had ownership interests in

      non-AMc vendors that provided goods or services to the NRA. Defendants further object to

      this Request because it presupposes that AMc knows every vendor that provides services or goods

      to the NRA. Defendants further object to this Request to the extent it calls for the production of

      documents or information protected by the attorney-client privilege, the work-product doctrine,

      the common interest doctrine, and/or any other privilege or immunity from disclosure. This


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      request appears designed only to harass Defendants with a question that assumes a business

      relationship unrelated to the litigation and demands that such assumption be investigated at the

      expense of the Defendants.




      Request For Production No. 165:

             All documents and communications referring or relating to any vendor who provides

      goods or services to the NRA, other than AMc, in which Jesse Greenberg maintains any

      ownership interest, manages, operates or controls.

             RESPONSE:

             Defendants object to this Request as overly broad, unduly burdensome, vague, and not

      reasonably relevant to any party's claim or defense and the proportional needs of the case. The

      phrase "All documents and communications referring or relating" in this context lacks any

      kind of reasonable limitation and potentially implicates documents unrelated to the subject

      matter of this case and disprop011ionately burdensome to search for and/or collect. The

      Amended Complaint does not concern claims that AMc employees had ownership interests in

      non-AMc vendors that provided goods or services to the NRA. Defendants further object to

      this Request because it presupposes that AMc knows every vendor that provides services or goods

      to the NRA. Defendants further object to this Request to the extent it calls for the production of

      documents or information protected by the attorney-client privilege, the work-product doctrine,

      the common interest doctrine, and/or any other privilege or immunity from disclosure. This

      request appears designed only to harass Defendants with a question that assumes a business

      relationship unrelated to the litigation and demands that such assumption be investigated at the

      expense of the Defendants.


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      Request For Production No. 166:

             All documents and communications referring or relating to any vendor who provides

      goods or services to the NRA, other than AMc, in which Henry Martin maintains any

      ownership interest, manages, operates or controls.

             RESPONSE:

             Defendants object to this Request as overly broad, unduly burdensome, vague, and not

      reasonably relevant to any party's claim or defense and the proportional needs of the case. The

      phrase "All documents and communications referring or relating" in this context lacks any

      kind of reasonable limitation and potentially implicates documents unrelated to the subject

      matter of this case and disproportionately burdensome to search for and/or collect. The

      Amended Complaint does not concern claims that AMc employees had ownership interests in

      non-AMc vendors that provided goods or services to the NRA. Defendants further object to

      this Request because it presupposes that AMc knows every vendor that provides services or goods

      to the NRA. Defendants further object to this Request to the extent it calls for the production of

      documents or information protected by the attorney-client privilege, the work-product doctrine,

      the common interest doctrine, and/or any other privilege or immunity from disclosure. This

      request appears designed only to harass Defendants with a question that assumes a business

      relationship unrelated to the litigation and demands that such assumption be investigated at the

      expense of the Defendants.




      Request For Production No. 167:

             All documents and communications referring or relating to any vendor who provides


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      goods or services to the NRA, other than A.Mc, in which Kyle Millar maintains any ownership

      interest, manages, operates or controls.

             RESPONSE:

      Defendants object to this Request as overly broad, unduly burdensome, vague, and not reasonably

      relevant to any party ' s claim or defense and the proportional needs of the case. The phrase "All

      documents and communications referring or relating" in this context lacks any kind of

      reasonable limitation and potentially implicates documents unrelated to the subject matter of

      this case and disproportionately burdensome to search for and/or collect.           The Amended

      Complaint does not concern claims that A.Mc employees had ownership interests in non-AMc

      vendors that provided goods or services to the NRA. Defendants further object to this Request

      because it presupposes that AMc knows every vendor that provides services or goods to the NRA.

      Defendants further object to this Request to the extent it calls for the production of documents or

      information protected by the attorney-client privilege, the work-product doctrine, the common

      interest doctrine, and/or any other privilege or immunity from disclosure. This request appears

      designed only to harass Defendants with a question that assumes a business relationship unrelated

      to the litigation and demands that such assumption be investigated at the expense of the

      Defendants.



      Request For Production No. 168:

             All documents and communications referring or relating to any vendor who provides

      goods or services to the NRA, other than A.Mc, in which David Valinski maintains any

      ownership interest, manages, operates or controls.

             RESPONSE:



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             Defendants object to this Request as overly broad, unduly burdensome, vague, and not

      reasonably relevant to any party's claim or defense and the proportional needs of the case. The

      phrase "All documents and communications referring or relating" in this context lacks any

      kind of reasonable limitation and implicates documents unrelated to the subject matter of this

      case and disproportionately burdensome to search for and/or collect. The Amended Complaint

      does not concern claims that AMc employees had ownership interests in non-AMc vendors

      that provided goods or services to the NRA. Defendants further object to this Request because

      it presupposes that AMc knows every vendor that provides services or goods to the NRA.

      Defendants further object to this Request to the extent it calls for the production of documents or

      information protected by the attorney-client privilege, the work-product doctrine, the common

      interest doctrine, and/or any other privilege or immunity from disclosure. This request appears

      designed only to harass Defendants with a question that assumes a business relationship unrelated

      to the litigation and demands that such assumption be investigated at the expense of the

      Defendants.



      Request For Production      No.   169:

             All documents referring or relating to the production and management ofShale.tv (http

      ://shale.tv) by AMc.

             RESPONSE:

             Defendants object to this Request as overly broad, unduly burdensome, vague, and not

      reasonably relevant to any party's claim or defense and the proportional needs of the case. The

      phrase "All documents and communications referring or relating" in this context lacks any

      kind of reasonable limitation and implicates documents unrelated to the subject matter of this



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      case and disproportionately burdensome to search for and/or collect. The Amended Complaint

      does not concern Shale.tv. and the NRA has no entitlement to this infonnation. Defendants

      further object to this Request as an unlawful effort by the NRA and the Brewer firm to obtain

      sensitive information regarding other AMc clients in an effort to damage AMc's client

      relationships. Defendants further object to this Request to the extent it calls for the production of

      documents or information protected by the attorney-client privilege, the work-product doctrine,

      the common interest doctrine, and/or any other privilege or immunity from disclosure.



      Request For Production No. 170:

              All documents and communications referring or relating to viewership analytics

      (defined as any analysis or presentation of viewership numbers, including but not limited to,

      any analysis or presentation of viewership metrics, viewership data, viewership analytics,

      and/or viewership statistics) for Shale.tv (http://shale.tv).

             RESPONSE:

              Defendants object to this Request as overly broad, unduly burdensome, vague, and not

      reasonably relevant to any party's claim or defense and the proportional needs of the case. The

      phrase "All documents and communications referring or relating" in this context lacks any

      kind of reasonable limitation and implicates documents unrelated to the subject matter of this

      case and disproportionately burdensome to search for and/or collect. The Amended Complaint

      does not concern Shale.tv. and the NRA has no entitlement to this information. Defendants

      further object to this Request as an unlawful effort by the NRA and the Brewer firm to obtain

      sensitive information regarding other AMc clients in an effort to damage AMc's client

      relationships. Defendants further object to this Request to the extent it calls for the production of



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      documents or information protected by the attorney-client privilege, the work-product doctrine,

      the common interest doctrine, and/or any other privilege or immunity from disclosure.



      Rcguest For Production No. 171:

             All documents referring or relating to the production and management of

      OklaTravelNet.com by AMc.

             RESPONSE:

             Defendants object to this Request as overly broad, unduly burdensome, vague, and not

      reasonably relevant to any party's claim or defense and the proportional needs of the case. The

      phrase "All documents and communications referring or relating" in this context lacks any

      kind of reasonable limitation and implicates documents unrelated to the subject matter of this

      case and disproportionately burdensome to search for and/or collect. The Amended Complaint

      does not concern Shale.tv. and the NRA has no entitlement to this information. Defendants

      further object to this Request as an unlawful effort by the NRA and the Brewer firm to obtain

      sensitive information regarding other AMc clients in an effort to damage AMc's client

      relationships.   Defendants further object to this Request to the extent it calls for the production

      of documents or information protected by the attorney-client privilege, the work-product doctrine,

      the common interest doctrine, and/or any other privilege or immunity from disclosure.



      Reguest For Production No. 172:

             All documents and communications referring or relating to viewership analytics

      (defined as any analysis or presentation ofviewership numbers, including but not limited

      to, any analysis or presentation of viewership metrics, viewership data, viewership



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      analytics, and/or viewership statistics) for OklaTravelNet.com.

              RESPONSE:

              Defendants object to this Request as overly broad, unduly burdensome, vague, and not

      reasonably relevant to any party's claim or defense and the proportional needs of the case. The

      phrase "All documents and communications referring or relating" in this context lacks any

      kind of reasonable limitation and implicates documents unrelated to the subject matter of this

      case and disproportionately burdensome to search for and/or collect. The Amended Complaint

      does not concern Shale. tv. and the NRA has no entitlement to this information. Defendants

      further object to this Request as an unlawful effort by the NRA and the Brewer firm to obtain

      sensitive information regarding other AMc clients in an effort to damage AMc's client

      relationships. Defendants further object to this Request to the extent it calls for the production of

      documents or information protected by the attorney-client privilege, the work-product doctrine,

      the common interest doctrine, and/or any other privilege or immunity from disclosure.



      Request For Production No. 173:

             All documents referring or relating to the production and management of

      EnergyNewsLive.com by AMc.

             RESPONSE:

             Defendants object to this Request as overly broad, unduly burdensome, vague, and not

      reasonably relevant to any party's claim or defense and the proportional needs of the case. The

      phrase "All documents and communications referring or relating" in this context lacks any

      kind of reasonable limitation and implicates documents unrelated to the subject matter of this

      case and disproportionately burdensome to search for and/or collect. The Amended Complaint



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      does not concern Shale. tv. and the NRA has no entitlement to this information. Defendants

      further object to this Request as an unlawful effort by the NRA and the Brewer firm to obtain

      sensitive information regarding other AMc clients in an effort to damage AMc's client

      relationships. Defendants further object to this Request to the extent it calls for the production of

      documents or information protected by the attorney-client privilege, the work-product doctrine,

      the common interest doctrine, and/or any other privilege or immunity from disclosure.



      Request For Product Ion      No. 174:
              All documents and communications referring or relating to viewership analytics

      ( defined as any analysis or presentation of viewership numbers, including but not limited

      to, any analysis or presentation ofviewership metrics, viewership data, viewership analytics,

      and/or viewership statistics) for EnergyNewsLive.com.

             RESPONSE:

              Defendants object to this Request as overly broad, unduly burdensome, vague, and not

      reasonably relevant to any party's claim or defense and the proportional needs of the case. The

      phrase "All documents and communications referring or relating" in this context lacks any

      kind of reasonable limitation and implicates documents unrelated to the subject matter of this

      case and disproportionately burdensome to search for and/or collect. The Amended Complaint

      does not concern Shale. tv. and the NRA has no entitlement to this information. Defendants

      further object to this Request as an unlawful effort by the NRA and the Brewer firm to obtain

      sensitive information regarding other AMc clients in an effort to damage AMc's client

      relationships. Defendants further object to this Request to the extent it calls for the production of

      documents or information protected by the attorney-client privilege, the work-product doctrine,



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      the common interest doctrine, and/or any other privilege or immunity from disclosure.



      Request For Production No. 175:

              All documents referring or relating to the production and management of "6FL," or Six

      Flags Live by AMc.

              RESPONSE:

              Defendants object to this Request as overly broad, unduly burdensome, vague, and not

      reasonably relevant to any party's claim or defense and the proportional needs of the case. The

      phrase "All documents and communications refen-ing or relating" in this context lacks any

      kind of reasonable limitation and implicates documents unrelated to the subject matter of this

      case and disproportionately burdensome to search for and/or collect. The Amended Complaint

      does not concern Shale.tv. and the NRA has no entitlement to this information. Defendants

      further object to this Request as an unlawful effort by the NRA and the Brewer firm to obtain

      sensitive information regarding other AMc clients in an effort to damage AMc's client

      relationships. Defendants further object to this Request to the extent it calls for the production of

      documents or information protected by the attorney-client privilege, the work-product doctrine,

      the common interest doctrine, and/or any other privilege or immunity from disclosure.



      Request for froduction ;No. 176:

             All documents and communications referring or relating to viewership analytics

      (defined as any analysis or presentation of viewership numbers, including but not limited to,

      any analysis or presentation of viewership metrics, viewership data, viewership analytics,

      and/or viewership statistics) for "6FL," or Six Flags Live.



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              RESPONSE:

              Defendants object to this Request as overly broad, unduly burdensome, vague, and not

      reasonably relevant to any party's claim or defense and the proportional needs of the case. The

      phrase "All documents and communications referring or relating" in this context lacks any

      kind of reasonable limitation and implicates documents unrelated to the subject matter of this

      case and disproportionately burdensome to search for and/or collect. The Amended Complaint

      does not concern Shale.tv. and the NRA has no entitlement to this information. Defendants

      further object to this Request as an unlawful effort by the NRA and the Brewer firm to obtain

      sensitive information regarding other AMc clients in an effort to damage AMc's client

      relationships. Defendants further object to this Request to the extent it calls for the production of

      documents or information protected by the attorney-client privilege, the work-product doctrine,

      the common interest doctrine, and/or any other privilege or immunity from disclosure.



      Request For Production No. 177:

             All documents and communications referring or relating to any audits of or accounting

      of AMc services by any of its clients.

             RESPONSE:

             Defendants object to this Request as overly broad, unduly burdensome, vague, and not

      reasonably relevant to any party's claim or defense and the proportional needs of the case. The

      phrase "All documents and communications referring or relating" in this context lacks any

      kind of reasonable limitation and implicates documents unrelated to the subject matter of this

      case and disproportionately burdensome to search for and/or collect. The Amended Complaint

      does not concern the activities of AMc' s other clients and the NRA has no entitlement to this



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      information. This request is made solely to oppress and harass the Defendants and it seeks

      information that is confidential information relating to other client finances.          Defendants

      further object to this Request as an unlawful effort by the NRA and the Brewer firm to obtain

      sensitive information regarding other AMc clients in an effort to damage AMc's client

      relationships. Defendants further object to this Request to the extent it calls for the production of

      documents or information protected by the attorney-client privilege, the work-product doctrine,

      the common interest doctrine, and/or any other privilege or immunity from disclosure.



      Request For Production No. 178:

             All documents and communications referring or relating to AMc's loans, borrowings

      or other financial relationships.

             RESPONSE:

             Defendants object to this Request as overly broad, unduly burdensome, vague, and not

      reasonably relevant to any party's claim or defense and the proportional needs of the case. The

      phrase "All documents and communications referring or relating" in this context lacks any

      kind of reasonable limitation and potentially implicates large volumes of documents unrelated

      to the subject matter of this case and disproportionately burdensome to search for and/or

      collect. Defendant further objects because a detailed accounting of AMc's loans, borrowings

      or other financial relationships is not relevant to this case and therefore harassing. Defendants

      further object to this Request as an unlawful effort by the NRA and the Brewer firm to obtain

      sensitive information regarding AMc in an effort to damage AMc. Defendants further object

      to this Request to the extent it calls for the production of documents or information protected by

      the attorney-client privilege, the work-product doctrine, the common interest doctrine, and/or any



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      other privilege or immunity from disclosure.



      Request Fo r Production No. 179;

              All documents and communications referring or relating to clothing stores where AMc

      maintains corporate accounts whose services are obtained by AMc and passed on, directly or

      indirectly, to the NRA.

             RESPONSE:

             Defendants object to this Request as overly broad, unduly burdensome, vague, and not

      reasonably relevant to any party's claim or defense and the proportional needs of the case. The

      phrase "All documents and communications referring or relating" in this context lacks any

      kind ofreasonable limitation and potentially implicates large volumes of documents unrelated

      to the subject matter of this case and disproportionately burdensome to search for and/or

      collect. The lack of a specific date range, subject matter, or other scope limitation adds to

      overbroadness and undue burden. Defendants further object to this Request because the phrase

      "obtained by AMc" is vague and thus fails to adequately explain the type of interaction at issue.

      Defendants further object to this Request to the extent it calls for the production of documents or

      information protected by the attorney-client privilege, the work-product doctrine, the common

      interest doctrine, and/or any other privilege or immunity from disclosure. It appears that this

      request is intended to obtain documents relating to the Zegna clothing store purchases by Wayne

      LaPierre, and such information has been provided in prior document production.

             Subject to and without waiving the foregoing objections, following a reasonably diligent

      search, Defendants will supplement their prior document production with non-privileged

      documents responsive to this Request at a mutually agreeable time and place.



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      Reguest For Production No. 180:
               All documents and communications referring or relating to makeup aiiists, including but

      not limited to makeup artists located in Nashville, TN, whose services are obtained by AMc and

      passed on, directly or indirectly, to the NRA.

               RESPONSE:

               Defendants object to this Request as overly broad, unduly burdensome, vague, and not

      reasonably relevant to any party's claim or defense and the proportional needs of the case. The

      phrase "All documents and communications referring or relating" in this context lacks any

      kind of reasonable limitation and potentially implicates large volumes of documents unrelated

      to the subject matter of this case and disproportionately burdensome to search for and/or

      collect. The lack of a specific date range, subject matter, or other scope limitation adds to

      over overbroadness and undue burden. Defendants further object to this Request because the

      phrase "obtained by AMc" is vague and thus fails to adequately explain the type of interaction at

      issue.   Defendants further object to this Request to the extent it calls for the production of

      documents or information protected by the attorney-client privilege, the work-product doctrine,

      the common interest doctrine, and/or any other privilege or immunity from disclosure. Defendants

      object to the Request because it was apparently formulated without regard to the documents that

      Plaintiffs have already received in discovery. To date, Defendants have turned over more than

      60,000 pages of documents, some of which provide documents concerning and relating to the the

      Nashville make-up artists.

               Subject to and without waiving the foregoing objections, following a reasonably diligent

      search, Defendants will supplement their prior document production with non-privileged



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      documents responsive to this Request at a mutually agreeable time and place.



      Req uest For Production       No. 181:
              All documents and communications referring or relating to any lawyers, accountants, and

      any other professional service firms whose services are obtained by AMc and passed on, directly

      or indirectly, to the NRA.

             RESPONSE:

              Defendants object to this Request as overly broad, unduly burdensome, vague, and not

      reasonably relevant to any party's claim or defense and the proportional needs of the case. The

      phrase "All documents and communications referring or relating" in this context lacks any

      kind ofreasonable limitation and potentially implicates large volumes of documents unrelated

      to the subject matter of this case and disproportionately burdensome to search for and/or

      collect. The lack of a specific date range or other scope limitation adds to over overbroadness

      and undue burden. Defendants further object to this Request because the phrase "obtained by

      AMc" is vague and thus fails to adequately explain the type of interaction at issue. Defendants

      further object to this Request to the extent it calls for the production of documents or information

      protected by the attorney-client privilege, the work-product doctrine, the common interest

      doctrine, and/or any other privilege or immunity from disclosure. Defendants object to the Request

      because it was apparently formulated without regard to the documents that Plaintiffs have already

      received in discovery.       To date, Defendants have turned over more than 60,000 pages of

      documents, some of which provide documents concerning and relating to professional services

      billed to the NRA.

             Subject to and without waiving the foregoing objections, following a reasonably diligent



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      search, Defendants will supplement their pnor document production with non-privileged

      documents responsive to this Request at a mutually agreeable time and place.



      Regucst For Production No. 182:

              All documents and communications referring or relating to any restaurants, clubs,

      concierge services obtained by AMc and passed on, directly or indirectly, to the NRA.

              RESPONSE:

              Defendants object to this Request as overly broad, unduly burdensome, vague, and not

      reasonably relevant to any party's claim or defense and the proportional needs of the case. The

      phrase "All documents and communications referring or relating" in this context lacks any

      kind ofreasonable limitation and potentially implicates large volumes of documents unrelated

      to the subject matter of this case and disproportionately burdensome to search for and/or

      collect. The lack of a specific date range, sufficiently narrow subject matter, or other scope

      limitation adds to over overbroadness and undue burden. Defendants further object to this

      Request because the phrase "obtained by AMc" is vague and thus fails to adequately explain the

      type of interaction at issue. Defendants further object to this Request to the extent it calls for the

      production of documents or information protected by the attorney-client privilege, the work-

      product doctrine, the common interest doctrine, and/or any other privilege or immunity from

      disclosure.

             Defendants object to the Request because it was apparently formulated without regard to

      the documents that Plaintiffs have already received in discovery. To date, Defendants have turned

      over more than 60,000 pages of documents, some of which provide documents concerning and

      relating to the out of pocket expenses passed through to the NRA.



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      Request For Production No. 183:

              All documents and communications refeITing or relating to any and all limousine or

      chauffeur services obtained by AMc and passed on, directly or indirectly, to the NRA.

              RESPONSE:

              Defendants object to this Request as overly broad, unduly burdensome, vague, and not

      reasonably relevant to any party's claim or defense and the proportional needs of the case. The

      phrase "All documents and communications referring or relating" in this context lacks any

      kind of reasonable limitation and potentially implicates large volumes of documents unrelated

      to the subject matter of this case and disprop01iionately burdensome to search for and/or

      collect. The lack of a specific date range or other scope limitation adds to over overbroadness

      and undue burden. Defendants further object to this Request because the phrase "obtained by

      AMc" is vague and thus fails to adequately explain the type of interaction at issue. Defendants

      further object to this Request to the extent it calls for the production of documents or information

      protected by the attorney-client privilege, the work-product doctrine, the common interest

      doctrine, and/or any other privilege or immunity from disclosure.

             Defendants object to the Request because it was apparently formulated without regard to

      the documents that Plaintiffs have already received in discovery. To date, Defendants have turned

      over more than 60,000 pages of documents, some of which provide documents concerning and

      relating to the out of pocket expenses passed through to the NRA.



      Request For Production No. 184:

             All documents and communications referring or relating to any and all security



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      services obtained by AMc and passed on, directly or indirectly, to the NRA.

             RESPONSE:

              Defendants object to this Request as overly broad, unduly burdensome, vague, and not

      reasonably relevant to any party's claim or defense and the proportional needs of the case. The

      phrase "All documents and communications referring or relating" in this context lacks any

      kind of reasonable limitation and potentially implicates large volumes of documents unrelated

      to the subject matter of this case and disproportionately burdensome to search for and/or

      collect. The lack of a specific date range, sufficiently narrow subject matter, or other scope

      limitation adds to over overbroadness and undue burden. Defendants further object because the

      term "security services" is vague. Defendants further object to this Req~est because the phrase

      "indirectly" is vague and thus fails to adequately explain the type of interaction at issue.

      Defendants further object to this Request to the extent it calls for the production of documents or

      information protected by the attorney-client privilege, the work-product doctrine, the common

      interest doctrine, and/or any other privilege or immunity from disclosure.

             Defendants object to the Request because it was apparently formulated without regard to

      the documents that Plaintiffs have already received in discovery. To date, Defendants have turned

      over more than 60,000 pages of documents, some of which provide documents concerning and

      relating to the out of pocket expenses passed through to the NRA.



      Reguest For Produ ction No. 185:

             All documents and communications referring or relating to any and all philanthropic

      and not-for- profit entities in which AMc has invested on behalf of the NRA that was passed

      on, directly or indirectly, to the NRA.



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              RESPONSE:

              Defendants object to this Request as overly broad, unduly burdensome, vague, and not

      reasonably relevant to any party's claim or defense and the proportional needs of the case. The

      phrase "All documents and communications referring or relating" in this context lacks any

      kind of reasonable limitation and potentially implicates large volumes of documents unrelated

      to the subject matter of this case and disproportionately burdensome to search for and/or

      collect. The lack of a specific date range, sufficiently narrow subject matter, or other scope

      limitation adds to over overbroadness and undue burden. Defendants further object to this

      Request because the phrase "indirectly" is vague and thus fails to adequately explain the type of

      interaction at issue. Defendants further object to this Request to the extent it calls for the

      production of documents or information protected by the attorney-client privilege, the work-

      product doctrine, the common interest doctrine, and/or any other privilege or immunity from

      disclosure.

             Defendants object to the Request because it was apparently formulated without regard to

      the documents that Plaintiffs have already received in discovery. To date, Defendants have turned

      over more than 60,000 pages of documents, some of which provide documents concerning and

      relating to the out of pocket expenses passed through to the NRA.



      Reguest For Production No. 186:

             All documents and communications referring or relating to Youth for Tomorrow and

      the Women's Leadership Forum in which AMc has invested on behalf of the NRA that was

      passed on, directly or indirectly, to the NRA.

             RESPONSE:



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              Defendants object to this Request as overly broad, unduly burdensome, vague, and not

      reasonably relevant to any party's claim or defense and the proportional needs of the case. The

      phrase "All documents and communications referring or relating" in this context lacks any

      kind ofreasonable limitation and potentially implicates large volumes of documents unrelated

      to the subject matter of this case and disproportionately burdensome to search for and/or

      collect. The lack of a specific date range or other scope limitation adds to over overbroadness

      and undue burden. Defendants further object to this Request because the phrase "indirectly" is

      vague and thus fails to adequately explain the type of interaction at issue. Defendants further

      object to this Request to the extent it calls for the production of documents or information protected

      by the attorney-client privilege, the work-product doctrine, the common interest doctrine, and/or

      any other privilege or immunity from disclosure.

             Defendants object to the Request because it was apparently formulated without regard to

      the documents that Plaintiffs have already received in discovery. To date, Defendants have turned

      over more than 60,000 pages of documents, some of which provide documents concerning and

      relating to the out of pocket expenses passed through to the NRA.

             Subject to and without waiving the foregoing objections, following a reasonably diligent

      search, Defendants will supplement their prior document production with non-privileged

      documents responsive to this Request at a mutually agreeable time and place.



      Reguest For Produ ction No. 187:

             All documents and communications referring or relating to travel and entertainment by

      Angus McQueen, Revan McQueen, Anthony Makris, Oliver North, Nadar Tavangar, Edmund

      Martin, William Powers, Lacey Duffey-Cremer, Melanie Montgomery, Brandon Winkler, William



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      Winkler, Carl Warner, Jesse Greenberg, Henry Martin, Kyle Millar, and David Valinski that were

      billed, directly or indirectly, to the NRA.

              RESPONSE:

              Defendants object to this Request as overly broad, unduly burdensome, vague, and not

      reasonably relevant to any party's claim or defense and the proportional needs of the case. The

      phrase "All documents and communications referring or relating" in this context lacks any

      kind of reasonable limitation and potentially implicates large volumes of documents unrelated

      to the subject matter of this case and disproportionately burdensome to search for and/or

      collect. The lack of a specific date range or other scope limitation adds to over overbroadness

      and undue burden. Defendants further object to this Request because the phrase "indirectly" is

      vague and thus fails to adequately explain the type of interaction at issue. Defendants further

      object to this Request to the extent it calls for the production of documents or information protected

      by the attorney-client privilege, the work-product doctrine, the common interest doctrine, and/or

      any other privilege or immunity from disclosure.

             Defendants object to the Request because it was apparently formulated without regard to

      the documents that Plaintiffs have already received in discovery. To date, Defendants have turned

      over more than 60,000 pages of documents, some of which provide documents concerning and

      relating to the expenses passed through to the NRA.



      Request For Production No. 188:

             All documents and communications referring or relating to the identity of family members

      or extended family by third degree of separation that work for AMc currently and that worked for

      the NRA in any period in the past.



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              RESPONSE:

              Defendants object to this Request as overly broad, unduly burdensome, vague, and not

      reasonably relevant to any party's claim or defense and the proportional needs of the case. The

      phrase "All documents and communications referring or relating" in this context lacks any

      kind of reasonable limitation and potentially implicates large volumes of documents unrelated

      to the subject matter of this case and disproportionately burdensome to search for and/or

      collect. The lack of a specific date range or other scope limitation adds to over overbroadness

      and undue burden. Defendants further object to this Request because it seeks information which

      is not appropriate through this discovery tool. Defendants further object to this Request to the

      extent it calls for the production of documents or information protected by the attorney-client

      privilege, the work-product doctrine, the common interest doctrine, and/or any other privilege or

      immunity from disclosure. In addition, to the extent that this request demands that the Defendants

      research and create a new document that compiles requested information, it is objectionable.



      Request For Production No. 189:

             All documents and communications referring or relating to any regular providers of food,

      drink, cigars, alcohol, and other substances obtained by AMc personnel that were billed, directly

      or indirectly, to the NRA.

             RESPONSE:

             Defendants object to this Request as overly broad, unduly burdensome, vague, and not

      reasonably relevant to any party's claim or defense and the proportional needs of the case. The

      phrase "All documents and communications referring or relating" in this context lacks any

      kind of reasonable limitation and potentially implicates large volumes of documents unrelated



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      to the subject matter of this case and disprop01iionately burdensome to search for and/or

      collect. The lack of a specific date range or other scope limitation adds to over overbroadness

      and undue burden. If the NRA is seeking billing related to Landini Brothers it needs to

      reformulate this request so that AMc can respond accordingly. Defendants further object to

      this Request to the extent it calls for the production of documents or information protected by the

      attorney-client privilege, the work-product doctrine, the common interest doctrine, and/or any

      other privilege or immunity from disclosure.

              Defendants object to the Request because it was apparently formulated without regard to

      the documents that Plaintiffs have already received in discovery. To date, Defendants have turned

      over more than 60,000 pages of documents, some of which provide documents concerning and

      relating to the out of pocket expenses passed through to the NRA.



      Rcgucst For ProductiQn No. 190:

             All documents and communications referring or relating to in any way to tangible or

      intangible assets obtained by AMc whose acquisition cost or maintenance costs were billed,

      directly or indirectly, to the NRA.

             RESPONSE:

             Defendants object to this Request as overly broad, unduly burdensome, vague, and not

      reasonably relevant to any party's claim or defense and the proportional needs of the case. The

      phrase "All documents and communications referring or relating" in this context lacks any

      kind ofreasonable limitation and potentially implicates large volumes of documents unrelated

      to the subject matter of this case and disproportionately burdensome to search for and/or

      collect. Defendants further object to this Request because the phrase "tangible or intangible



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      assets" is vague and thus fails to adequately explain the focus of the Request. Defendants further

      object to this Request to the extent it calls for the production of documents or information protected

      by the attorney-client privilege, the work-product doctrine, the common interest doctrine, and/or

      any other privilege or immunity from disclosure. In addition, to the extent that this request

      demands that the Defendants research and create a new document that compiles requested

      information, it is objectionable.



      Request For Production No. 191:

             All documents and communications referring or relating to any communications with

      spokespeople whose services were obtained by AMc and billed, directly or indirectly, to the

      NRA.

             RESPONSE:

             Defendants object to this Request as overly broad, unduly burdensome, vague, and not

      reasonably relevant to any party's claim or defense and the proportional needs of the case. The

      phrase "spokespeople whose services were obtained by AMc" is undefined and indecipherable.

      The phrase "All documents and communications referring or relating" in this context lacks

      any kind of reasonable limitation and potentially implicates large volumes of documents

      unrelated to the subject matter of this case and disproportionately burdensome to search for

      and/or collect. Defendants further object to this Request because the phrase "communications

      referring or relating to any communications" multiplies the complexity of the request and thus

      the burden. Defendants further object to this Request to the extent it calls for the production of

      documents or information protected by the attorney-client privilege, the work-product doctrine,

      the common interest doctrine, and/or any other privilege or immunity from disclosure.



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      Reguest For Production No.       192:
              All documents and communications refening or relating to any communications

      regarding fundraising activities organized by AMc, including but not limited to Anthony

      Makris, and billed, directly or indirectly, to the NRA.

              RESPONSE:

              Defendants object to this Request as overly broad, unduly burdensome, vague, and not

      reasonably relevant to any party's claim or defense and the proportional needs of the case. The

      term "fundraising activities" is undefined and overbroad.       The phrase "All documents and

      communications referring or relating" in this context lacks any kind of reasonable limitation

      and potentially implicates large volumes of documents unrelated to the subject matter of this

      case and disproportionately burdensome to search for and/or collect. Defendants further object

      to this Request because the phrase "communications refening or relating to any

      communications" multiplies the complexity of the request and thus the burden. Defendants

      further object to this Request to the extent it calls for the production of documents or information

      protected by the attorney-client privilege, the work-product doctrine, the common interest

      doctrine, and/or any other privilege or immunity from disclosure.



      Request For Production No. 193:

             All documents and communications refening or relating to other contracts for services

      obtained by AMc for the benefit of the NRA and billed, directly or indirectly, to the NRA.

             RESPONSE:

             Defendants object to this Request as overly broad, unduly burdensome, vague, and not



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      reasonably relevant to any party's claim or defense and the proportional needs of the case. The

      phrase "All documents and communications referring or relating" in this context lacks any

      kind of reasonable limitation and potentially implicates large volumes of documents w1related

      to the subject matter of this case and disprop01iionately burdensome to search for and/or

      collect. Defendants further object to this Request to the extent it calls for the production of

      documents or information protected by the attorney-client privilege, the work-product doctrine,

      the common interest doctrine, and/or any other privilege or immunity from disclosure.

             Subject to and without waiving the foregoing objections, following a reasonably diligent

      search, Defendants will supplement their prior document production with non-privileged

      documents responsive to this Request at a mutually agreeable time and place.



      Request For Production No. 194:

             All documents and communications related to annual audit and audit process of AMc's

      financial statements.

             RESPONSE:

             Defendants object to this Request as overly broad, unduly burdensome, vague, and not

      reasonably relevant to any party's claim or defense and the proportional needs of the case. The

      phrase "All documents and communications related" in this context lacks any kind of

      reasonable limitation and potentially implicates large volumes of documents unrelated to the

      subject matter of this case and disproportionately burdensome to search for and/or collect.

      Defendants object to the Request because it was apparently formulated without regard to the

      documents that Plaintiffs have already received in discovery. To date, Defendants have turned

      over more than 60,000 pages of documents, some of which provide documents concerning and



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      relating to AMc's audits. Defendants further object to this Request because it has already provided

      the NRA its annual audit for the last three years. Defendants further object to this Request as a

      continuing unlawful effort by the NRA and the Brewer firm to obtain sensitive information

      regarding AMc in an effort to damage AMc business interests unrelated to this litigation.

      Defendants further object to this Request to the extent it calls for the production of documents or

      information protected by the attorney-client privilege, the work-product doctrine, the common

      interest doctrine, and/or any other privilege or immunity from disclosure.




                                                           ACKERMAN MCQUEEN, INC. and
                                                           MERCURY GROUP, INC.
                                                           By Counsel


      Dated: February 21, 2020                             Respectfully submitted,



                                                       ~j[i2L , /
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                                                           ddickieson@schertlerlaw.com




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                                     CERTIFICATE OF SERVICE

             I hereby certify that the foregoing Defendants' Responses to Plaintiffs Fourth Set of

      Document Requests to was served on February 21, 2020, on the following counsel for Plaintiff

      by agreement via email:

                           James W. Hundley
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                      EXHIBIT 31




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   From: Charles H. Friedrich
   Sent: Tuesday, February 11, 2020 2:21 PM
   To: jem@brewerattorneys.com
   CC: Beth Landes; Morris D. Gindi (MorrisG@Workamajig.com)
   Subject: FW: Ackerman McQueen docs
   Attachments: workamajig_invoice_12023215.pdf; workamajig_invoice_12025547.pdf;
   workamajig_invoice_12015762.pdf; workamajig_invoice_12014593.pdf;
   workamajig_invoice_12025543.pdf; workamajig_invoice_12033042.pdf;
   workamajig_invoice_12032977.pdf; workamajig_invoice_12035651.pdf;
   workamajig_invoice_12046987.pdf; workamajig_invoice_12048247.pdf;
   workamajig_invoice_12046984.pdf; ack160coSign 2.10.12.pdf;
   workamajig_invoice_12063669.pdf; workamajig_invoice_12070237.pdf;
   workamajig_invoice_12080643.pdf; Ackerman McQueen Subpoena.pdf;
   workamajig_invoice_12098782.pdf; Workamajig - feature overview (002).pdf; Workamajig -
   feature overview (002).pdf


   Jason:

   As promised, I am attaching copies of (i) the License Agreement between our client, Creative Manager,
   Inc., and Ackerman McQueen Inc. (AMc), and (ii) invoices sent by Creative Manager to AMc. Also
   attached is a description of the various features of Creative Manager’s WMJ System. These documents
   are being delivered in response to your Subpoena Duces Tecum for, inter alia, Production of Documents,
   which was served upon Creative Manager, Inc. in connection with the action by your client, National
   Rifle Association of America, against Ackerman McQueen Inc., et al., currently pending in the Circuit
   Court for the City of Alexandria, Civil Case Nos. CL19001757, CL19002067, and CL19002886. The
   attached documents are all of the documents in the possession or control of Creative Manager that are
   responsive to the Document Demand in the Subpoena.

   As we discussed, AMc opted for the installed version of the WMJ System, meaning that all of the
   information (called “User Content” in the License Agreement) that it uploads into the WMJ System is on
   its server and not on the server of Creative Manager. Creative Manager does not, therefore, have any
   contractual or other right to access Amc’s server and copy its User Content. I have asked AMc’s counsel
   for permission of Creative Manager to do so in response to the Subpoena, but was denied such
   permission.

   After you have reviewed the attached material, please confirm that this production satisfies the
   obligations of Creative Manager under the Subpoena and that a deposition of a representative of
   Creative Manager will not be necessary. If you need anything else from our client, please let me
   know. As I advised you, Morris Gindi, the President of Creative Manager, will be out of the country on a
   family matter from Feb. 16 through Feb. 26, so if a deposition is still required, we request that it be
   rescheduled.

   Charlie

   CHARLES H. FRIEDRICH | Partner
   CFriedrich@sh-law.com | Bio | vCard | LinkedIn
   Direct Phone: 201.896.7031 | Direct Fax: 201.896.7032




                                                                                                 APP. 00809
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   SCARINCI | HOLLENBECK
   1100 Valley Brook Ave. | P.O. Box 790 | Lyndhurst, NJ 07071 | map
   P: 201.896.4100 | F: 201.896.8660
   SH-LAW.com | New York | New Jersey | California | D.C.



   CAUTION: This email is from outside the organization. DO NOT CLICK a link or open an attachment unless you
   know the content is safe and are expecting it from the sender. If in doubt, contact the sender separately to
   verify the content.
   ====================




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                                                                     APP. 00813
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                                                                     APP. 00817
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                                                                       APP. 00820
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                                                                       APP. 00821
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                                                                       APP. 00822
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                                                                       APP. 00823
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                                                                       APP. 00824
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                                                                       APP. 00825
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                                                                       APP. 00826
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                                                                       APP. 00831
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      Workamajig is an ERP system that is customized for the creative industry, including ad
      agencies, marketing firms, and in-house marketing teams.

      Sales/CRM
      Workamajig helps agencies manage new business with a built-in CRM that allows them to track
      sales opportunities, report on the sales pipeline & turn opportunities into projects upon approval.

      Finance & KPIs
      Workamajig allows businesses to run profitability reports by projects and clients. It also allows
      users to forecast revenue to help guide hiring decisions. Integrated billing allows you to easily
      send out invoices with all relevant data and improves cash flow. An integrated credit card
      connector can automatically download charges to connect to projects to update the budgets.

      Task Management
      Workajig has built-in dashboards for every role at an agency. Each of these is populated with
      the report data and actionable information that the role will need to work on a daily basis.

      Project Management
      This is the core of Workamajig. You can track conversations, manage files, review & approve
      change requests, monitor budgets & more. Schedules can be auto-generated with associated
      resourcing & timelines based on templates. From higher-level campaigns to multiple to-dos for
      each task, Workamajig is completely configurable to the user’s needs.

      Resourcing & Traffic Management
      Workamajig provides full visibility across the team’s schedule and availability businesses can
      get the right people working on the right projects at the right time. It can be used to manage
      multiple teams, forecast resource demand and offers real-time visibility into who is working on
      what, and what’s due.

      Creative Management
      Clear task lists & schedules make work easier for creative users and help improve utilization
      which helps the company’s bottom line. Time tracking is easy & simple and helps make sure all
      data and future estimates are accurate.

      Integrated Data
      The primary benefit of Workamajig is the integration of all of these pieces. Accurate data helps
      businesses make informed decisions to grow their company.




                                                                                                   APP. 00832
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      Workamajig is an ERP system that is customized for the creative industry, including ad
      agencies, marketing firms, and in-house marketing teams.

      Sales/CRM
      Workamajig helps agencies manage new business with a built-in CRM that allows them to track
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      Finance & KPIs
      Workamajig allows businesses to run profitability reports by projects and clients. It also allows
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      send out invoices with all relevant data and improves cash flow. An integrated credit card
      connector can automatically download charges to connect to projects to update the budgets.

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      Workajig has built-in dashboards for every role at an agency. Each of these is populated with
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      Project Management
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      get the right people working on the right projects at the right time. It can be used to manage
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      what, and what’s due.

      Creative Management
      Clear task lists & schedules make work easier for creative users and help improve utilization
      which helps the company’s bottom line. Time tracking is easy & simple and helps make sure all
      data and future estimates are accurate.

      Integrated Data
      The primary benefit of Workamajig is the integration of all of these pieces. Accurate data helps
      businesses make informed decisions to grow their company.




                                                                                                   APP. 00833
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                                                                                                         INVOICE

 Invoice Number         12014593



                                                                                                         PAID
 Invoice Date           February 13, 2015
 Due Date               February 13, 2015
 Terms: Due Upon Receipt
 Ackerman McQueen
 1601 NW Expressway Ste 1100
 Oklahoma City OK 73118-1463




Annual Software Maintenance Fee

                                         Description                                                          Amount
Annual Maintenance Agreement, includes all upgrades, updates and email support                                 $26,400.00 USD
Annual Software Maintenance fee for 45 additional users                                                         $8,955.00 USD

                                                                                    Subtotal:                 $35,355.00 USD

                                                                                   Sales Tax:                      $0.00 USD

                                                                                   Total Due:                 $35,355.00 USD




 Please remit payment in US Dollars to:
 Creative Manager, Inc., 721 Auth Avenue, Oakhurst, NJ 07755-2965

 If you have any questions regarding this invoice, please call 732.663.0162 ext 5031.                    PAID
 Any terms and conditions contained in a PO issued by client will not apply, and will be        Reference #
 superseded by client’s Workamajig contract.
                                                                                                325932


                                                                                                              APP. 00834
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                                                                                                         INVOICE

 Invoice Number         12015762



                                                                                                         PAID
 Invoice Date           January 6, 2015
 Due Date               January 6, 2015
 Terms: Due Upon Receipt
 Ackerman McQueen
 1601 NW Expressway Ste 1100
 Oklahoma City OK 73118-1463




Invoice for Customizations: PO # 105104

                                          Description                                                         Amount
Split the security options for Global options between setup options and lists                                    $500.00 USD

                                                                                    Subtotal:                    $500.00 USD

                                                                                   Sales Tax:                      $0.00 USD

                                                                                   Total Due:                    $500.00 USD




 Please remit payment in US Dollars to:
 Creative Manager, Inc., 721 Auth Avenue, Oakhurst, NJ 07755-2965

 If you have any questions regarding this invoice, please call 732.663.0162 ext 5031.                    PAID
 Any terms and conditions contained in a PO issued by client will not apply, and will be        Reference #
 superseded by client’s Workamajig contract.
                                                                                                325644


                                                                                                              APP. 00835
  Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21                             Page 327 of 1087 PageID 30532

                                                                                                        INVOICE

 Invoice Number         12023215



                                                                                                       PAID
 Invoice Date           June 18, 2015
 Due Date               June 18, 2015
 Terms: Due Upon Receipt
 Ackerman McQueen
 1601 NW Expressway Ste 1100
 Oklahoma City OK 73118-1463




SMA for 5 Additional Users

                                         Description                                                          Amount
Annual Software Maintenance fee for 5 additional users                                                           $995.00 USD

                                                                                    Subtotal:                    $995.00 USD

                                                                                   Sales Tax:                      $0.00 USD

                                                                                   Total Due:                    $995.00 USD




 Please remit payment in US Dollars to:
 Creative Manager, Inc., 721 Auth Avenue, Oakhurst, NJ 07755-2965

 If you have any questions regarding this invoice, please call 732.663.0162 ext 5031.                  PAID
 Any terms and conditions contained in a PO issued by client will not apply, and will be        Reference #
 superseded by client’s Workamajig contract.
                                                                                                AL0EC497019E/049048/....
                                                                                                85727

                                                                                                              APP. 00836
  Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21                             Page 328 of 1087 PageID 30533


                                                                                                         INVOICE

 Invoice Number         12025543



                                                                                                         PAID
 Invoice Date           July 30, 2015
 Due Date               July 30, 2015
 Terms: Due Upon Receipt
 Ackerman McQueen
 1601 NW Expressway Ste 1100
 Oklahoma City OK 73118-1463




Invoice for Customizations

                                         Description                                                          Amount
Added the 2 checkboxes to the billing worksheet generation screen:                                              $1,100.00 USD
1) Expense Report checkbox, if this is checked, expense reports will be included on the Time                       $0.00 USD
and Material project's BWS
2) Include Zero Unbilled checkbox for the Fixed Fee projects. If this is unchecked, only FF                        $0.00 USD
projects with Unbilled <> 0 will be included
Creative Manager Inc. and / or its licensors retain all rights to all modifications.                               $0.00 USD

                                                                                    Subtotal:                  $1,100.00 USD

                                                                                   Sales Tax:                      $0.00 USD

                                                                                   Total Due:                  $1,100.00 USD




 Please remit payment in US Dollars to:
 Creative Manager, Inc., 721 Auth Avenue, Oakhurst, NJ 07755-2965

 If you have any questions regarding this invoice, please call 732.663.0162 ext 5031.                    PAID
 Any terms and conditions contained in a PO issued by client will not apply, and will be        Reference #
 superseded by client’s Workamajig contract.
                                                                                                330386


                                                                                                              APP. 00837
  Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21                             Page 329 of 1087 PageID 30534

                                                                                                        INVOICE

 Invoice Number         12025547



                                                                                                       PAID
 Invoice Date           July 30, 2015
 Due Date               July 30, 2015
 Terms: Due Upon Receipt
 Ackerman McQueen
 1601 NW Expressway Ste 1100
 Oklahoma City OK 73118-1463




SMA for 5 Additional Users

                                         Description                                                          Amount
Annual Software Maintenance fee for 5 additional users                                                           $995.00 USD

                                                                                    Subtotal:                    $995.00 USD

                                                                                   Sales Tax:                      $0.00 USD

                                                                                   Total Due:                    $995.00 USD




 Please remit payment in US Dollars to:
 Creative Manager, Inc., 721 Auth Avenue, Oakhurst, NJ 07755-2965

 If you have any questions regarding this invoice, please call 732.663.0162 ext 5031.                  PAID
 Any terms and conditions contained in a PO issued by client will not apply, and will be        Reference #
 superseded by client’s Workamajig contract.
                                                                                                AX0ED6C45F5A/068677/....
                                                                                                85727

                                                                                                              APP. 00838
  Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21                             Page 330 of 1087 PageID 30535

                                                                                                        INVOICE

 Invoice Number         12032977



                                                                                                       PAID
 Invoice Date           December 1, 2015
 Due Date               December 1, 2015
 Terms: Due Upon Receipt
 Ackerman McQueen
 1601 NW Expressway Ste 1100
 Oklahoma City OK 73118-1463




SMA for 5 Additional Users

                                         Description                                                          Amount
SMA for Five Reserve Users                                                                                       $995.00 USD

                                                                                    Subtotal:                    $995.00 USD

                                                                                   Sales Tax:                      $0.00 USD

                                                                                   Total Due:                    $995.00 USD




 Please remit payment in US Dollars to:
 Creative Manager, Inc., 721 Auth Avenue, Oakhurst, NJ 07755-2965

 If you have any questions regarding this invoice, please call 732.663.0162 ext 5031.                  PAID
 Any terms and conditions contained in a PO issued by client will not apply, and will be        Reference #
 superseded by client’s Workamajig contract.
                                                                                                AX0ADD743B4E/041215/....
                                                                                                85727

                                                                                                              APP. 00839
  Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21                             Page 331 of 1087 PageID 30536


                                                                                                         INVOICE

 Invoice Number         12033042



                                                                                                         PAID
 Invoice Date           February 13, 2016
 Due Date               February 13, 2016
 Terms: Due Upon Receipt
 Ackerman McQueen
 1601 NW Expressway Ste 1100
 Oklahoma City OK 73118-1463




Annual Software Maintenance Fee

                                         Description                                                          Amount
Annual Maintenance Agreement for 175 Full Users, includes all upgrades, updates and email                      $26,400.00 USD
support
Annual Software Maintenance fee for 60 additional users                                                        $11,940.00 USD

                                                                                    Subtotal:                 $38,340.00 USD

                                                                                   Sales Tax:                      $0.00 USD

                                                                                   Total Due:                 $38,340.00 USD




 Please remit payment in US Dollars to:
 Creative Manager, Inc., 721 Auth Avenue, Oakhurst, NJ 07755-2965

 If you have any questions regarding this invoice, please call 732.663.0162 ext 5031.                    PAID
 Any terms and conditions contained in a PO issued by client will not apply, and will be        Reference #
 superseded by client’s Workamajig contract.
                                                                                                333577


                                                                                                              APP. 00840
  Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21                             Page 332 of 1087 PageID 30537

                                                                                                        INVOICE

 Invoice Number         12035651



                                                                                                       PAID
 Invoice Date           February 24, 2016
 Due Date               February 24, 2016
 Terms: Due Upon Receipt
 Ackerman McQueen
 1601 NW Expressway Ste 1100
 Oklahoma City OK 73118-1463




SMA for 5 Additional Users

                                         Description                                                          Amount
SMA for Five Reserve Users                                                                                       $995.00 USD

                                                                                    Subtotal:                    $995.00 USD

                                                                                   Sales Tax:                      $0.00 USD

                                                                                   Total Due:                    $995.00 USD




 Please remit payment in US Dollars to:
 Creative Manager, Inc., 721 Auth Avenue, Oakhurst, NJ 07755-2965

 If you have any questions regarding this invoice, please call 732.663.0162 ext 5031.                  PAID
 Any terms and conditions contained in a PO issued by client will not apply, and will be        Reference #
 superseded by client’s Workamajig contract.
                                                                                                AU0AE1890280/095036/....
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                                                                                                              APP. 00841
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                                                                                                         INVOICE

 Invoice Number         12046984



                                                                                                         PAID
 Invoice Date           November 7, 2016
 Due Date               November 7, 2016
 Terms: Due Upon Receipt
 Ackerman McQueen
 1601 NW Expressway Ste 1100
 Oklahoma City OK 73118-1463




Invoice for Customizations: PO 111501

                                         Description                                                          Amount
Add ability to sync the Strata Voucher Description to the Workamajig Vendor Invoice                              $900.00 USD
Description
Creative Manager Inc. and/or its licensors retain all rights to all modifications.                                 $0.00 USD

                                                                                    Subtotal:                    $900.00 USD

                                                                                   Sales Tax:                      $0.00 USD

                                                                                   Total Due:                    $900.00 USD




 Please remit payment in US Dollars to:
 Creative Manager, Inc., 721 Auth Avenue, Oakhurst, NJ 07755-2965

 If you have any questions regarding this invoice, please call 732.663.0162 ext 5031.                    PAID
 Any terms and conditions contained in a PO issued by client will not apply, and will be        Reference #
 superseded by client’s Workamajig contract.
                                                                                                339118


                                                                                                              APP. 00842
  Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21                             Page 334 of 1087 PageID 30539


                                                                                                         INVOICE

 Invoice Number         12046987



                                                                                                         PAID
 Invoice Date           November 7, 2016
 Due Date               November 7, 2016
 Terms: Due Upon Receipt
 Ackerman McQueen
 1601 NW Expressway Ste 1100
 Oklahoma City OK 73118-1463




Invoice for Customizations: PO 111503

                                         Description                                                          Amount
add checkbox, calendar date selection field to each order type area: Set the posting date of                    $1,600.00 USD
all vendor invoices sync'd during the session to the selected date.
The date selected will override other system settings for Posting Date.
PO 111503
Creative Manager Inc. and/or its licensors retain all rights to all modifications.                                 $0.00 USD

                                                                                    Subtotal:                  $1,600.00 USD

                                                                                   Sales Tax:                      $0.00 USD

                                                                                   Total Due:                  $1,600.00 USD




 Please remit payment in US Dollars to:
 Creative Manager, Inc., 721 Auth Avenue, Oakhurst, NJ 07755-2965

 If you have any questions regarding this invoice, please call 732.663.0162 ext 5031.                    PAID
 Any terms and conditions contained in a PO issued by client will not apply, and will be        Reference #
 superseded by client’s Workamajig contract.
                                                                                                339118


                                                                                                              APP. 00843
  Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21                             Page 335 of 1087 PageID 30540


                                                                                                         INVOICE

 Invoice Number         12048247



                                                                                                         PAID
 Invoice Date           February 13, 2017
 Due Date               February 13, 2017
 Terms: Due Upon Receipt
 Ackerman McQueen
 1601 NW Expressway Ste 1100
 Oklahoma City OK 73118-1463




Annual Software Maintenance Fee

                                         Description                                                          Amount
Annual Maintenance Agreement for 175 Full Users, includes all upgrades, updates and email                      $26,400.00 USD
support
Annual Software Maintenance fee for 50 additional users                                                         $9,950.00 USD

                                                                                    Subtotal:                 $36,350.00 USD

                                                                                   Sales Tax:                      $0.00 USD

                                                                                   Total Due:                 $36,350.00 USD




 Please remit payment in US Dollars to:
 Creative Manager, Inc., 721 Auth Avenue, Oakhurst, NJ 07755-2965

 If you have any questions regarding this invoice, please call 732.663.0162 ext 5031.                    PAID
 Any terms and conditions contained in a PO issued by client will not apply, and will be        Reference #
 superseded by client’s Workamajig contract.
                                                                                                339874


                                                                                                              APP. 00844
  Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21                             Page 336 of 1087 PageID 30541


                                                                                                         INVOICE

 Invoice Number         12063669



                                                                                                         PAID
 Invoice Date           December 5, 2017
 Due Date               February 13, 2018
 Terms: Due Upon Receipt
 Ackerman McQueen
 1601 NW Expressway Ste 1100
 Oklahoma City OK 73118-1463




Annual Software Maintenance Fee

                                         Description                                                          Amount
Annual Maintenance Agreement for 175 Full Users, includes all upgrades, updates and email                      $26,400.00 USD
support
Annual Software Maintenance fee for 30 additional users                                                         $5,970.00 USD

                                                                                    Subtotal:                 $32,370.00 USD

                                                                                   Sales Tax:                      $0.00 USD

                                                                                   Total Due:                 $32,370.00 USD




 Please remit payment in US Dollars to:
 Creative Manager, Inc., 721 Auth Avenue, Oakhurst, NJ 07755-2965

 If you have any questions regarding this invoice, please call 732.663.0162 ext 5031.                    PAID
 Any terms and conditions contained in a PO issued by client will not apply, and will be        Reference #
 superseded by client’s Workamajig contract.
                                                                                                345274


                                                                                                              APP. 00845
  Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21                             Page 337 of 1087 PageID 30542


                                                                                                        INVOICE

 Invoice Number         12070237



                                                                                                       PAID
 Invoice Date           April 18, 2018
 Due Date               April 18, 2018
 Terms: Due Upon Receipt
 Ackerman McQueen
 1601 NW Expressway Ste 1100
 Oklahoma City OK 73118-1463




SMA for 10 Additional Users

                                         Description                                                          Amount
SMA for 10 Reserve Users                                                                                        $1,990.00 USD

                                                                                    Subtotal:                  $1,990.00 USD

                                                                                   Sales Tax:                      $0.00 USD

                                                                                   Total Due:                  $1,990.00 USD




 Please remit payment in US Dollars to:
 Creative Manager, Inc., 721 Auth Avenue, Oakhurst, NJ 07755-2965

 If you have any questions regarding this invoice, please call 732.663.0162 ext 5031.                  PAID
 Any terms and conditions contained in a PO issued by client will not apply, and will be        Reference #
 superseded by client’s Workamajig contract.
                                                                                                AY0A0C8B0B43/....85727


                                                                                                              APP. 00846
  Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21                             Page 338 of 1087 PageID 30543


                                                                                                         INVOICE

 Invoice Number         12080643



                                                                                                         PAID
 Invoice Date           December 4, 2018
 Due Date               February 13, 2019
 Terms: Due Upon Receipt
 Ackerman McQueen
 1601 NW Expressway Ste 1100
 Oklahoma City OK 73118-1463




Annual Software Maintenance Fee

                                         Description                                                          Amount
Annual Maintenance Agreement for 175 Full Users, includes all upgrades, updates and email                      $26,400.00 USD
support
Annual Software Maintenance fee for 7 additional users                                                          $1,393.00 USD

                                                                                    Subtotal:                 $27,793.00 USD

                                                                                   Sales Tax:                      $0.00 USD

                                                                                   Total Due:                 $27,793.00 USD




 Please remit payment in US Dollars to:
 Creative Manager, Inc., 721 Auth Avenue, Oakhurst, NJ 07755-2965

 If you have any questions regarding this invoice, please call 732.663.0162 ext 5031.                    PAID
 Any terms and conditions contained in a PO issued by client will not apply, and will be        Reference #
 superseded by client’s Workamajig contract.
                                                                                                350121


                                                                                                              APP. 00847
  Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21                             Page 339 of 1087 PageID 30544


                                                                                                        INVOICE

 Invoice Number         12098782



                                                                                                       PAID
 Invoice Date           January 10, 2020
 Due Date               February 13, 2020
 Terms: Due Upon Receipt
 Ackerman McQueen
 1601 NW Expressway Ste 1100
 Oklahoma City OK 73118-1463




Annual Software Maintenance Fee

                                         Description                                                          Amount
Annual Maintenance Agreement for 175 Full Users, includes all upgrades, updates and email                      $26,400.00 USD
support
Annual Software Maintenance fee for 7 additional users                                                          $1,393.00 USD

                                                                                    Subtotal:                 $27,793.00 USD

                                                                                   Sales Tax:                      $0.00 USD

                                                                                   Total Due:                 $27,793.00 USD




 Please remit payment in US Dollars to:
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 superseded by client’s Workamajig contract.
                                                                                                AF0O2BB6C342/....96369


                                                                                                              APP. 00848
Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21   Page 340 of 1087 PageID 30545




                        EXHIBIT 32
                     (Filed Under Seal)




                                                               APP. 00849-APP. 00936
Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21   Page 341 of 1087 PageID 30546




                      EXHIBIT 33




                                                                       APP. 00937
                                    Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21           Page 342 of 1087 PageID 30547
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                                                                                                                                  APP. 00938
                                   Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21           Page 343 of 1087 PageID 30548
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                                                                                                                                 APP. 00939
                                   Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21           Page 344 of 1087 PageID 30549
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                                                                                                                                 APP. 00940
                                   Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21           Page 345 of 1087 PageID 30550
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                                                                                                                                 APP. 00941
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                        EXHIBIT 34
                     (Filed Under Seal)




                                                               APP. 00942-APP. 01041
Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21   Page 347 of 1087 PageID 30552




                        EXHIBIT 35
                     (Filed Under Seal)




                                                               APP. 01042-APP. 01089
Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21   Page 348 of 1087 PageID 30553




                        EXHIBIT 36
                     (Filed Under Seal)




                                                               APP. 01090-APP. 01092
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                        EXHIBIT 37
                     (Filed Under Seal)




                                                               APP. 01093-APP. 01096
Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21   Page 350 of 1087 PageID 30555




                        EXHIBIT 38
                     (Filed Under Seal)




                                                               APP. 01097-APP. 01107
Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21   Page 351 of 1087 PageID 30556




                      EXHIBIT 39




                                                                       APP. 01108
                                                           Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21                                                      Page 352 of 1087 PageID 30557
                                                                                                                            AMC Second Amended Privilege Log


#      Privilege Type           Record Type       Document Date               Email From                           Email To                         Email CC              Email BCC         Email Subject                            Privilege Description
1      Attorney-Client            Message         1/10/2018 13:29     Melanie Montgomery <Melanie-               Julie Rubash                Revan McQueen <Revan-                    New Independent Contractor     Confidential communication between AMc employee
       Communications                                                    Montgomery@am.com>              <JRubash@sheppardmullin.com>        McQueen@am.com>; Bill                                                      and counsel at Sheppard Mullin for purposes of
                                                                                                                                                   Winkler <bill-                                                    obtaining legal advice regarding contract negotiations
                                                                                                                                            winkler@am.com>; Brandon                                                         with NRA commentator Dan Bongino.
                                                                                                                                                Winkler <Brandon-
                                                                                                                                                Winkler@am.com>
2      Attorney-Client       Message_Attachment   1/10/2018 13:29                                                                                                                     Dan Bongino Proposed Deal       Confidential communication between AMc employee
       Communications                                                                                                                                                                           Sheet                    and counsel at Sheppard Mullin for purposes of
                                                                                                                                                                                                                      obtaining legal advice regarding contract negotiations
                                                                                                                                                                                                                              with NRA commentator Dan Bongino.
3     Forwarding Attorney-        Message         1/15/2018 18:45     Melanie Montgomery <Melanie-             Bill Winkler <bill-            Revan McQueen <Revan-                    FW: Dan Bongino Talent           AMc employee internally forwarding confidential
     Client Communications                                               Montgomery@am.com>               winkler@am.com>; Brandon          McQueen@am.com>; Ariana                          Agreement               communication between AMc employee and counsel at
                                                                                                               Winkler<Brandon-            Azimi <ariana-azimi@am.com>                                               Sheppard Mullin for purposes of obtaining legal advice
                                                                                                              Winkler@am.com>                                                                                               regarding contract negotiations with NRA
                                                                                                                                                                                                                                   commentator Dan Bongino.
4     Forwarding Attorney- Message_Attachment     1/15/2018 18:45                                                                                                                                                       AMc employee internally forwarding confidential
     Client Communications                                                                                                                                                                                           communication between AMc employee and counsel at
                                                                                                                                                                                                                     Sheppard Mullin for purposes of obtaining legal advice
                                                                                                                                                                                                                            regarding contract negotiations with NRA
                                                                                                                                                                                                                                   commentator Dan Bongino.
5     Forwarding Attorney- Message_Attachment     1/15/2018 18:45                                                                                                                                                       AMc employee internally forwarding confidential
     Client Communications                                                                                                                                                                                           communication between AMc employee and counsel at
                                                                                                                                                                                                                     Sheppard Mullin for purposes of obtaining legal advice
                                                                                                                                                                                                                            regarding contract negotiations with NRA
                                                                                                                                                                                                                                   commentator Dan Bongino.
6       Attorney-Client           Message         3/28/2018 8:19      Melanie Montgomery <Melanie-       "Lacey (Duffy) Cremer" <lacey-                                               Fwd: Attorney Bill Brewer --      AMc employee internally forwarding confidential
       Communications;                                                   Montgomery@am.com>                    cremer@am.com>                                                            information requests        communication between AMc employee and counsel at
         Work Product                                                                                                                                                                                                   Dorsey & Whitney for purposes of obtaining legal
                                                                                                                                                                                                                       advice regarding NRA request for documents, and
                                                                                                                                                                                                                        work product created in anticipation of litigation.
7      Attorney-Client            Message         3/29/2018 10:38   Bill Winkler <bill-winkler@am.com>         "Gina Betts - Dorsey                                                                                   Confidential communication between AMc employee
       Communications                                                                                       (betts.gina@dorsey.com)"                                                                                    and counsel at Dorsey & Whitney for purposes of
                                                                                                            <betts.gina@dorsey.com>                                                                                     obtaining legal advice regarding NRA request for
                                                                                                                                                                                                                                           documents.
8      Attorney-Client       Message_Attachment   3/29/2018 10:38                                                                                                                      KM_364e-20170430171645         Confidential communication between AMc employee
       Communications                                                                                                                                                                                                   and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                                        obtaining legal advice regarding NRA request for
                                                                                                                                                                                                                                           documents.
9      Attorney-Client            Message         3/29/2018 11:51     Melanie Montgomery <Melanie-                  Gina Betts                   Bill Winkler <bill-                            Brewer                Confidential communication between AMc employee
       Communications                                                    Montgomery@am.com>                 <betts.gina@dorsey.com>          winkler@am.com>; Revan                                                     and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                McQueen <Revan-                                                         obtaining legal advice regarding NRA request for
                                                                                                                                            McQueen@am.com>; "Lacey                                                                        documents.
                                                                                                                                              (Duffy) Cremer" <lacey-
                                                                                                                                                 cremer@am.com>
10     Attorney-Client            Message         3/29/2018 11:51     Melanie Montgomery <Melanie-                  Gina Betts                   Bill Winkler <bill-                            Brewer               Confidential communication between AMc employee
       Communications                                                    Montgomery@am.com>                 <betts.gina@dorsey.com>          winkler@am.com>; Revan                                                   and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                McQueen <Revan-                                                       obtaining legal advice regarding NRA request for
                                                                                                                                            McQueen@am.com>; "Lacey                                                                      documents.
                                                                                                                                              (Duffy) Cremer" <lacey-
                                                                                                                                                 cremer@am.com>




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                                                           Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21                                              Page 353 of 1087 PageID 30558
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 #     Privilege Type           Record Type       Document Date              Email From                      Email To                       Email CC              Email BCC          Email Subject                           Privilege Description
11     Attorney-Client            Message         3/29/2018 12:00     <betts.gina@dorsey.com>      <Melanie-Montgomery@am.com>                                                        RE: Brewer             Confidential communication between AMc employee
       Communications                                                                                                                                                                                         and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                            obtaining legal advice regarding correspondence from
                                                                                                                                                                                                                                  NRA counsel.
12     Attorney-Client            Message         3/30/2018 13:27     <betts.gina@dorsey.com>      <Melanie-Montgomery@am.com>                                                        RE: Brewer             Confidential communication between AMc employee
       Communications                                                                                                                                                                                         and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                            obtaining legal advice regarding correspondence from
                                                                                                                                                                                                                                  NRA counsel.
13     Attorney-Client            Message         4/3/2018 22:11    Melanie Montgomery <Melanie-               Gina Betts        Revan McQueen <Revan-                        FW: Follow-up: Information     Confidential communication between AMc employee
       Communications                                                  Montgomery@am.com>              <betts.gina@dorsey.com> McQueen@am.com>; "Lacey                                 Request                and counsel at Dorsey & Whitney for purposes of
                                                                                                                                  (Duffy) Cremer"<lacey-                                                    obtaining legal advice regarding correspondence from
                                                                                                                                    cremer@am.com>                                                                                NRA counsel.
14     Attorney-Client            Message         4/3/2018 22:11    Melanie Montgomery <Melanie-              Gina Betts         Revan McQueen <Revan-                        FW: Follow-up: Information     Confidential communication between AMc employee
       Communications                                                  Montgomery@am.com>             <betts.gina@dorsey.com>  McQueen@am.com>; "Lacey                                 Request                and counsel at Dorsey & Whitney for purposes of
                                                                                                                                  (Duffy) Cremer"<lacey-                                                    obtaining legal advice regarding correspondence from
                                                                                                                                    cremer@am.com>                                                                                NRA counsel.
15     Attorney-Client            Message          4/4/2018 7:54      <betts.gina@dorsey.com>      <Melanie-Montgomery@am.com> <Revan-McQueen@am.com>;                         Re: Follow-up: Information    Confidential communication between AMc employee
       Communications                                                                                                            <lacey-cremer@am.com>                                  Request               and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                            obtaining legal advice regarding correspondence from
                                                                                                                                                                                                                                  NRA counsel.
16                           Message_Attachment    4/4/2018 7:54                                                                                                                                             Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                              file). Not privileged.
17     Attorney-Client            Message          4/4/2018 8:30    Melanie Montgomery <Melanie-       "betts.gina@dorsey.com"    Revan McQueen <Revan-                        Re: Follow-up: Information    Confidential communication between AMc employee
       Communications                                                  Montgomery@am.com>              <betts.gina@dorsey.com>  McQueen@am.com>; "Lacey                                 Request               and counsel at Dorsey & Whitney for purposes of
                                                                                                                                   (Duffy) Cremer"<lacey-                                                   obtaining legal advice regarding communications from
                                                                                                                               cremer@am.com>; Bill Winkler                                                                        Bill Brewer.
                                                                                                                                   <bill-winkler@am.com>
18     Attorney-Client            Message          4/4/2018 8:30    Melanie Montgomery <Melanie-      "betts.gina@dorsey.com"     Revan McQueen <Revan-                        Re: Follow-up: Information   Confidential communication between AMc employee
       Communications                                                  Montgomery@am.com>             <betts.gina@dorsey.com>   McQueen@am.com>; "Lacey                                 Request              and counsel at Dorsey & Whitney for purposes of
                                                                                                                                   (Duffy) Cremer"<lacey-                                                    obtaining legal advice regarding NRA request for
                                                                                                                               cremer@am.com>; Bill Winkler                                                                     documents.
                                                                                                                                   <bill-winkler@am.com>
19     Attorney-Client            Message          4/4/2018 8:38      <madrid.jay@dorsey.com>      <Melanie-montgomery@am.com>    <betts.gina@dorsey.com>                           Fwd: Ackerman            Confidential communication between AMc employee
       Communications                                                                                                                                                                                         and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                            obtaining legal advice regarding communications with
                                                                                                                                                                                                                                 NRA counsel.
20    Forwarding Attorney-        Message          4/4/2018 8:42    Melanie Montgomery <Melanie-        Revan McQueen <Revan-                                                       Fwd: Ackerman             AMc employee internally forwarding confidential
     Client Communications                                             Montgomery@am.com>          McQueen@am.com>; Bill Winkler                                                                            communication between AMc employee and counsel at
                                                                                                    <bill-winkler@am.com>; "Lacey                                                                             Dorsey & Whitney for purposes of obtaining legal
                                                                                                         (Duffy) Cremer" <lacey-                                                                                advice regarding NRA request for documents.
                                                                                                           cremer@am.com>
21     Attorney-Client            Message         4/4/2018 10:49    Melanie Montgomery <Melanie-                Gina Betts          Revan McQueen <Revan-                               Brewer              Confidential communication between AMc employee
       Communications                                                  Montgomery@am.com>               <betts.gina@dorsey.com>     McQueen@am.com>; Bill                                                     and counsel at Dorsey & Whitney for purposes of
                                                                                                                                         Winkler <bill-                                                     obtaining legal advice regarding communications with
                                                                                                                                      winkler@am.com>                                                                            NRA counsel.
22     Attorney-Client            Message         4/4/2018 10:49    Melanie Montgomery <Melanie-               Gina Betts           Revan McQueen <Revan-                               Brewer              Confidential communication between AMc employee
       Communications                                                  Montgomery@am.com>              <betts.gina@dorsey.com>      McQueen@am.com>; Bill                                                     and counsel at Dorsey & Whitney for purposes of
                                                                                                                                         Winkler <bill-                                                     obtaining legal advice regarding communications with
                                                                                                                                      winkler@am.com>                                                                            NRA counsel.




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 #   Privilege Type       Record Type       Document Date              Email From                      Email To                   Email CC                    Email BCC         Email Subject                           Privilege Description
23    Work Product          Message         4/4/2018 11:20      <betts.gina@dorsey.com>      <Melanie-Montgomery@am.com> <Revan-McQueen@am.com>;                                 RE: Brewer            Confidential communication between AMc employee
                                                                                                                           <bill-winkler@am.com>                                                         and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                       obtaining legal advice regarding communications with
                                                                                                                                                                                                                            NRA counsel.
24   Attorney-Client        Message         4/4/2018 11:28    Melanie Montgomery <Melanie-      "betts.gina@dorsey.com"      Revan McQueen <Revan-                                Re: Brewer           Confidential communication between AMc employee
     Communications                                              Montgomery@am.com>             <betts.gina@dorsey.com>      McQueen@am.com>; Bill                                                       and counsel at Dorsey & Whitney for purposes of
                                                                                                                                  Winkler <bill-                                                       obtaining legal advice regarding communications with
                                                                                                                               winkler@am.com>                                                                              NRA counsel.
25   Attorney-Client        Message         4/4/2018 11:28    Melanie Montgomery <Melanie-      "betts.gina@dorsey.com"      Revan McQueen <Revan-                                Re: Brewer           Confidential communication between AMc employee
     Communications                                              Montgomery@am.com>             <betts.gina@dorsey.com>      McQueen@am.com>; Bill                                                       and counsel at Dorsey & Whitney for purposes of
                                                                                                                                  Winkler <bill-                                                       obtaining legal advice regarding communications with
                                                                                                                               winkler@am.com>                                                                              NRA counsel.
26   Attorney-Client        Message         4/10/2018 10:19     <betts.gina@dorsey.com>         <bill-winkler@am.com>;                                                          FW: Ackerman           Confidential communication between AMc employee
     Communications                                                                          <Melanie-Montgomery@am.com>                                                                                 and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                       obtaining legal advice regarding communications with
                                                                                                                                                                                                           NRA counsel and NRA request for documents.
27   Attorney-Client        Message         4/10/2018 11:42   Melanie Montgomery <Melanie-      "betts.gina@dorsey.com"          Bill Winkler <bill-                            Re: Ackerman           Confidential communication between AMc employee
     Communications                                              Montgomery@am.com>             <betts.gina@dorsey.com>      winkler@am.com>; "Lacey                                                     and counsel at Dorsey & Whitney for purposes of
                                                                                                                               (Duffy) Cremer"<lacey-                                                  obtaining legal advice regarding communications with
                                                                                                                             cremer@am.com>; Revan                                                         NRA counsel and NRA request for documents.
                                                                                                                                 McQueen <Revan-
                                                                                                                                McQueen@am.com>
28                     Message_Attachment   4/10/2018 11:42                                                                                                                                             Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                         file). Not privileged.
29   Attorney-Client        Message         4/10/2018 11:42   Melanie Montgomery <Melanie-      "betts.gina@dorsey.com"          Bill Winkler <bill-                            Re: Ackerman           Confidential communication between AMc employee
     Communications                                              Montgomery@am.com>             <betts.gina@dorsey.com>      winkler@am.com>; "Lacey                                                     and counsel at Dorsey & Whitney for purposes of
                                                                                                                               (Duffy) Cremer"<lacey-                                                  obtaining legal advice regarding communications with
                                                                                                                             cremer@am.com>; Revan                                                         NRA counsel and NRA request for documents.
                                                                                                                                 McQueen <Revan-
                                                                                                                                McQueen@am.com>
30                     Message_Attachment   4/10/2018 11:42                                                                                                                                             Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                         file). Not privileged.
31   Attorney-Client        Message         4/23/2018 18:05   Melanie Montgomery <Melanie-              Gina Betts               Bill Winkler <bill-                       Morning Call re: Contract    Confidential communication between AMc employee
     Communications                                              Montgomery@am.com>             <betts.gina@dorsey.com>          winkler@am.com>                                                          and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                         obtaining legal advice regarding negotiations with
                                                                                                                                                                                                                             Oliver North.
32   Attorney-Client   Message_Attachment   4/23/2018 18:05                                                                                                                 American Heroes(RV2)        Confidential communication between AMc employee
     Communications                                                                                                                                                                                       and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                         obtaining legal advice regarding negotiations with
                                                                                                                                                                                                                             Oliver North.
33                     Message_Attachment   4/23/2018 18:05                                                                                                                                            Oliver North Deal Points Memorandum, dated 4/22/18.
                                                                                                                                                                                                                        Previously produced.
34   Attorney-Client        Message         4/23/2018 18:05   Melanie Montgomery <Melanie-              Gina Betts               Bill Winkler <bill-                       Morning Call re: Contract    Confidential communication between AMc employee
     Communications                                              Montgomery@am.com>             <betts.gina@dorsey.com>          winkler@am.com>                                                          and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                         obtaining legal advice regarding negotiations with
                                                                                                                                                                                                                             Oliver North.
35   Attorney-Client   Message_Attachment   4/23/2018 18:05                                                                                                                 American Heroes(RV2)        Confidential communication between AMc employee
     Communications                                                                                                                                                                                       and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                         obtaining legal advice regarding negotiations with
                                                                                                                                                                                                                             Oliver North.




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                                                                                                                     AMC Second Amended Privilege Log


 #   Privilege Type       Record Type       Document Date                Email From                          Email To                       Email CC                 Email BCC          Email Subject                            Privilege Description
36   Attorney-Client   Message_Attachment   4/23/2018 18:05                                                                                                                                                      Confidential communication between AMc employee
     Communications                                                                                                                                                                                                and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                                   obtaining legal advice regarding negotiations with
                                                                                                                                                                                                                                      Oliver North.
37   Attorney-Client        Message         4/23/2018 18:40        <betts.gina@dorsey.com>         <Melanie-Montgomery@am.com>       <bill-winkler@am.com>                       Re: Morning Call re: Contract   Confidential communication between AMc employee
     Communications                                                                                                                                                                                                and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                                   obtaining legal advice regarding negotiations with
                                                                                                                                                                                                                                      Oliver North.
38                     Message_Attachment   4/23/2018 18:40                                                                                                                                                       Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                  file). Not privileged.
39   Attorney-Client        Message         4/24/2018 13:18     Melanie Montgomery <Melanie-                  Gina Betts                                                              Contract Start Date        Confidential communication between AMc employee
     Communications                                                Montgomery@am.com>                 <betts.gina@dorsey.com>                                                                                      and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                                  obtaining legal advice regarding drafting of Oliver
                                                                                                                                                                                                                                     North's contract.
40   Attorney-Client        Message         4/26/2018 8:33         <betts.gina@dorsey.com>         <Melanie-Montgomery@am.com>                                                            RE: Status             Confidential communication between AMc employee
     Communications                                                                                                                                                                                                and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                                  obtaining legal advice regarding drafting of Oliver
                                                                                                                                                                                                                                     North's contract.
41   Attorney-Client        Message         4/26/2018 10:43   Bill Winkler <bill-winkler@am.com>      "betts.gina@dorsey.com"                                                                RE:                 Confidential communication between AMc employee
     Communications                                                                                   <betts.gina@dorsey.com>                                                                                      and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                                   obtaining legal advice regarding NRA request for
                                                                                                                                                                                                                                        documents.
42   Attorney-Client        Message         4/26/2018 10:48        <betts.gina@dorsey.com>                   <Melanie-                                                               PRIVILEGED AND              Confidential communication between AMc employee
     Communications                                                                                 Montgomery@am.com>; <bill-                                                        CONFIDENTIAL                 and counsel at Dorsey & Whitney for purposes of
                                                                                                         winkler@am.com>                                                            ATTORNEY-CLIENT                obtaining legal advice regarding NRA request for
                                                                                                                                                                                    CORRESPONDENCE                                      documents.
43   Attorney-Client   Message_Attachment   4/26/2018 10:48                                                                                                                                                      Confidential communication between AMc employee
     Communications                                                                                                                                                                                                and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                                   obtaining legal advice regarding NRA request for
                                                                                                                                                                                                                                        documents.
44   Attorney-Client        Message         4/26/2018 15:51     Melanie Montgomery <Melanie-                  Gina Betts                Bill Winkler <bill-                            Existing Contract         Confidential communication between AMc employee
     Communications                                                Montgomery@am.com>                 <betts.gina@dorsey.com>           winkler@am.com>                                                            and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                                 obtaining legal advice regarding contract negotiations
                                                                                                                                                                                                                                    with Oliver North.
45   Attorney-Client        Message         4/26/2018 15:51     Melanie Montgomery <Melanie-                  Gina Betts                Bill Winkler <bill-                            Existing Contract         Confidential communication between AMc employee
     Communications                                                Montgomery@am.com>                 <betts.gina@dorsey.com>           winkler@am.com>                                                            and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                                 obtaining legal advice regarding contract negotiations
                                                                                                                                                                                                                                    with Oliver North.
46   Attorney-Client        Message         4/26/2018 15:55        <betts.gina@dorsey.com>         <Melanie-Montgomery@am.com>       <bill-winkler@am.com>                           Re: Existing Contract       Confidential communication between AMc employee
     Communications                                                                                                                                                                                                and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                                 obtaining legal advice regarding contract negotiations
                                                                                                                                                                                                                                    with Oliver North.
47   Attorney-Client   Message_Attachment   4/26/2018 15:55                                                                                                                                                      Confidential communication between AMc employee
     Communications                                                                                                                                                                                                and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                                 obtaining legal advice regarding contract negotiations
                                                                                                                                                                                                                                    with Oliver North.
48   Attorney-Client        Message         4/26/2018 15:56     Melanie Montgomery <Melanie-          "betts.gina@dorsey.com"           Bill Winkler <bill-                          Re: Existing Contract       Confidential communication between AMc employee
     Communications                                                Montgomery@am.com>                 <betts.gina@dorsey.com>           winkler@am.com>                                                            and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                                 obtaining legal advice regarding contract negotiations
                                                                                                                                                                                                                                    with Oliver North.




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                                                     Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21                                                       Page 356 of 1087 PageID 30561
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 #   Privilege Type       Record Type       Document Date               Email From                             Email To                      Email CC                Email BCC        Email Subject                         Privilege Description
49   Attorney-Client        Message         4/26/2018 15:56     Melanie Montgomery <Melanie-          "betts.gina@dorsey.com"            Bill Winkler <bill-                       Re: Existing Contract    Confidential communication between AMc employee
     Communications                                                Montgomery@am.com>                 <betts.gina@dorsey.com>            winkler@am.com>                                                      and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                            obtaining legal advice regarding contract negotiations
                                                                                                                                                                                                                              with Oliver North.
50   Attorney-Client        Message         4/26/2018 17:23        <betts.gina@dorsey.com>         <Melanie-Montgomery@am.com>        <bill-winkler@am.com>                        Re: Existing Contract    Confidential communication between AMc employee
     Communications                                                                                                                                                                                           and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                            obtaining legal advice regarding contract negotiations
                                                                                                                                                                                                                              with Oliver North.
51   Attorney-Client   Message_Attachment   4/26/2018 17:23                                                                                                                                                 Confidential communication between AMc employee
     Communications                                                                                                                                                                                           and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                            obtaining legal advice regarding contract negotiations
                                                                                                                                                                                                                              with Oliver North.
52   Attorney-Client        Message         4/26/2018 17:24     Melanie Montgomery <Melanie-          "betts.gina@dorsey.com"            Bill Winkler <bill-                       Re: Existing Contract    Confidential communication between AMc employee
     Communications                                                Montgomery@am.com>                 <betts.gina@dorsey.com>            winkler@am.com>                                                      and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                            obtaining legal advice regarding contract negotiations
                                                                                                                                                                                                                              with Oliver North.
53   Attorney-Client        Message         4/26/2018 17:24     Melanie Montgomery <Melanie-          "betts.gina@dorsey.com"            Bill Winkler <bill-                       Re: Existing Contract    Confidential communication between AMc employee
     Communications                                                Montgomery@am.com>                 <betts.gina@dorsey.com>            winkler@am.com>                                                      and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                            obtaining legal advice regarding contract negotiations
                                                                                                                                                                                                                              with Oliver North.
54   Attorney-Client        Message         4/26/2018 17:26   Bill Winkler <bill-winkler@am.com>   Melanie Montgomery <Melanie-                                                    RE: Existing Contract      AMc employee internally forwarding confidential
     Communications                                                                                   Montgomery@am.com>                                                                                   communication between AMc employee and counsel at
                                                                                                                                                                                                              Dorsey & Whitney for purposes of obtaining legal
                                                                                                                                                                                                             advice regarding contract negotiations with Oliver
                                                                                                                                                                                                                                    North.
55   Attorney-Client        Message         4/26/2018 17:27     Melanie Montgomery <Melanie-             Bill Winkler <bill-                                                       Re: Existing Contract      AMc employee internally forwarding confidential
     Communications                                                Montgomery@am.com>                    winkler@am.com>                                                                                   communication between AMc employee and counsel at
                                                                                                                                                                                                              Dorsey & Whitney for purposes of obtaining legal
                                                                                                                                                                                                             advice regarding contract negotiations with Oliver
                                                                                                                                                                                                                                    North.
56   Attorney-Client        Message         4/27/2018 10:19   Bill Winkler <bill-winkler@am.com>         "Gina Betts - Dorsey      Melanie Montgomery <Melanie-                        back in office       Confidential communication between AMc employee
     Communications                                                                                   (betts.gina@dorsey.com)"       Montgomery@am.com>;                                                      and counsel at Dorsey & Whitney for purposes of
                                                                                                      <betts.gina@dorsey.com>       Brandon Winkler<Brandon-                                                obtaining legal advice regarding contract negotiations
                                                                                                                                        Winkler@am.com>                                                                       with Oliver North.
57   Attorney-Client        Message         4/27/2018 10:19   Bill Winkler <bill-winkler@am.com>         "Gina Betts - Dorsey      Melanie Montgomery <Melanie-                        back in office       Confidential communication between AMc employee
     Communications                                                                                   (betts.gina@dorsey.com)"       Montgomery@am.com>;                                                      and counsel at Dorsey & Whitney for purposes of
                                                                                                      <betts.gina@dorsey.com>       Brandon Winkler<Brandon-                                                obtaining legal advice regarding contract negotiations
                                                                                                                                        Winkler@am.com>                                                                       with Oliver North.
58   Attorney-Client        Message         4/27/2018 10:21        <betts.gina@dorsey.com>            <bill-winkler@am.com>                 <Melanie-                                Re: back in office     Confidential communication between AMc employee
     Communications                                                                                                                  Montgomery@am.com>;                                                      and counsel at Dorsey & Whitney for purposes of
                                                                                                                                   <Brandon-Winkler@am.com>                                                 obtaining legal advice regarding contract negotiations
                                                                                                                                                                                                                              with Oliver North.
59   Attorney-Client   Message_Attachment   4/27/2018 10:21                                                                                                                                                 Confidential communication between AMc employee
     Communications                                                                                                                                                                                           and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                            obtaining legal advice regarding contract negotiations
                                                                                                                                                                                                                              with Oliver North.
60   Attorney-Client        Message         4/27/2018 10:29   Bill Winkler <bill-winkler@am.com>      "betts.gina@dorsey.com"      Melanie Montgomery <Melanie-                     RE: back in office      Confidential communication between AMc employee
     Communications                                                                                   <betts.gina@dorsey.com>         Montgomery@am.com>                                                      and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                            obtaining legal advice regarding contract negotiations
                                                                                                                                                                                                                              with Oliver North.




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 #   Privilege Type       Record Type       Document Date                 Email From                           Email To                       Email CC                    Email BCC      Email Subject                       Privilege Description
61   Attorney-Client        Message         4/27/2018 10:29   Bill Winkler <bill-winkler@am.com>      "betts.gina@dorsey.com"        Melanie Montgomery <Melanie-                       RE: back in office   Confidential communication between AMc employee
     Communications                                                                                   <betts.gina@dorsey.com>           Montgomery@am.com>                                                     and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                             obtaining legal advice regarding contract negotiations
                                                                                                                                                                                                                               with Oliver North.
62   Attorney-Client        Message         4/27/2018 10:56        <betts.gina@dorsey.com>             <bill-winkler@am.com>                 <Melanie-                                  Re: back in office   Confidential communication between AMc employee
     Communications                                                                                                                     Montgomery@am.com>                                                     and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                             obtaining legal advice regarding contract negotiations
                                                                                                                                                                                                                               with Oliver North.
63   Attorney-Client   Message_Attachment   4/27/2018 10:56                                                                                                                                                  Confidential communication between AMc employee
     Communications                                                                                                                                                                                            and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                             obtaining legal advice regarding contract negotiations
                                                                                                                                                                                                                               with Oliver North.
64   Attorney-Client        Message         4/27/2018 11:05     Melanie Montgomery <Melanie-             "Gina Betts - Dorsey                                                           Re: back in office   Confidential communication between AMc employee
     Communications                                                Montgomery@am.com>                 (betts.gina@dorsey.com)"                                                                                 and counsel at Dorsey & Whitney for purposes of
                                                                                                    <betts.gina@dorsey.com>; Bill                                                                            obtaining legal advice regarding contract negotiations
                                                                                                   Winkler <bill-winkler@am.com>                                                                                               with Oliver North.
65   Attorney-Client        Message         4/27/2018 11:05     Melanie Montgomery <Melanie-             "Gina Betts - Dorsey                                                           Re: back in office   Confidential communication between AMc employee
     Communications                                                Montgomery@am.com>                 (betts.gina@dorsey.com)"                                                                                 and counsel at Dorsey & Whitney for purposes of
                                                                                                    <betts.gina@dorsey.com>; Bill                                                                            obtaining legal advice regarding contract negotiations
                                                                                                   Winkler <bill-winkler@am.com>                                                                                               with Oliver North.
66   Attorney-Client        Message         4/27/2018 11:59      <barton.casey@dorsey.com>            <bill-winkler@am.com>;                                                             PRIVILEGED &        Confidential communication between AMc employee
     Communications                                                                                <melanie-montgomery@am.com>                                                          CONFIDENTIAL           and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                       ATTORNEY-CLIENT       obtaining legal advice regarding contract negotiations
                                                                                                                                                                                       CORRESPONDENCE                          with Oliver North.
67   Attorney-Client   Message_Attachment   4/27/2018 11:59                                                                                                                                                  Confidential communication between AMc employee
     Communications                                                                                                                                                                                            and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                             obtaining legal advice regarding contract negotiations
                                                                                                                                                                                                                               with Oliver North.
68   Attorney-Client        Message         4/27/2018 12:10      <barton.casey@dorsey.com>                   <Melanie-                                                                 RE: PRIVILEGED &      Confidential communication between AMc employee
     Communications                                                                                 Montgomery@am.com>; <bill-                                                          CONFIDENTIAL           and counsel at Dorsey & Whitney for purposes of
                                                                                                         winkler@am.com>                                                               ATTORNEY-CLIENT       obtaining legal advice regarding contract negotiations
                                                                                                                                                                                       CORRESPONDENCE                          with Oliver North.
69   Attorney-Client   Message_Attachment   4/27/2018 12:10                                                                                                                                                  Confidential communication between AMc employee
     Communications                                                                                                                                                                                            and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                             obtaining legal advice regarding contract negotiations
                                                                                                                                                                                                                               with Oliver North.
70   Attorney-Client        Message         4/27/2018 12:38   Bill Winkler <bill-winkler@am.com>   "barton.casey@dorsey.com"               "Gina Betts - Dorsey                        RE: PRIVILEGED &      Confidential communication between AMc employee
     Communications                                                                               <barton.casey@dorsey.com>;            (betts.gina@dorsey.com)"                        CONFIDENTIAL           and counsel at Dorsey & Whitney for purposes of
                                                                                                  Melanie Montgomery<Melanie-           <betts.gina@dorsey.com>                        ATTORNEY-CLIENT       obtaining legal advice regarding contract negotiations
                                                                                                     Montgomery@am.com>                                                                CORRESPONDENCE                          with Oliver North.
71   Attorney-Client        Message         4/27/2018 12:38   Bill Winkler <bill-winkler@am.com>   "barton.casey@dorsey.com"               "Gina Betts - Dorsey                        RE: PRIVILEGED &      Confidential communication between AMc employee
     Communications                                                                               <barton.casey@dorsey.com>;            (betts.gina@dorsey.com)"                        CONFIDENTIAL           and counsel at Dorsey & Whitney for purposes of
                                                                                                  Melanie Montgomery<Melanie-           <betts.gina@dorsey.com>                        ATTORNEY-CLIENT       obtaining legal advice regarding contract negotiations
                                                                                                     Montgomery@am.com>                                                                CORRESPONDENCE                          with Oliver North.
72   Attorney-Client        Message         4/27/2018 12:47        <barton.casey@dorsey.com>        <bill-winkler@am.com>;              <betts.gina@dorsey.com>                        RE: PRIVILEGED &      Confidential communication between AMc employee
     Communications                                                                              <Melanie-Montgomery@am.com>                                                            CONFIDENTIAL           and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                       ATTORNEY-CLIENT       obtaining legal advice regarding contract negotiations
                                                                                                                                                                                       CORRESPONDENCE                          with Oliver North.




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                                                    Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21                                                         Page 358 of 1087 PageID 30563
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 #   Privilege Type       Record Type       Document Date                Email From                          Email To                        Email CC                  Email BCC      Email Subject                    Privilege Description
73   Attorney-Client   Message_Attachment   4/27/2018 12:47                                                                                                                                            Confidential communication between AMc employee
     Communications                                                                                                                                                                                      and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                       obtaining legal advice regarding contract negotiations
                                                                                                                                                                                                                          with Oliver North.
74   Attorney-Client        Message         4/27/2018 12:49   Bill Winkler <bill-winkler@am.com>     "barton.casey@dorsey.com"        "betts.gina@dorsey.com"                       RE: PRIVILEGED &   Confidential communication between AMc employee
     Communications                                                                                 <barton.casey@dorsey.com>;        <betts.gina@dorsey.com>                        CONFIDENTIAL        and counsel at Dorsey & Whitney for purposes of
                                                                                                    Melanie Montgomery<Melanie-                                                     ATTORNEY-CLIENT    obtaining legal advice regarding contract negotiations
                                                                                                       Montgomery@am.com>                                                           CORRESPONDENCE                        with Oliver North.
75   Attorney-Client        Message         4/27/2018 12:49   Bill Winkler <bill-winkler@am.com>     "barton.casey@dorsey.com"        "betts.gina@dorsey.com"                       RE: PRIVILEGED &   Confidential communication between AMc employee
     Communications                                                                                 <barton.casey@dorsey.com>;        <betts.gina@dorsey.com>                        CONFIDENTIAL        and counsel at Dorsey & Whitney for purposes of
                                                                                                    Melanie Montgomery<Melanie-                                                     ATTORNEY-CLIENT    obtaining legal advice regarding contract negotiations
                                                                                                       Montgomery@am.com>                                                           CORRESPONDENCE                        with Oliver North.
76   Attorney-Client        Message         4/27/2018 13:16     Melanie Montgomery <Melanie-                  Gina Betts                 Bill Winkler <bill-                        FW: PRIVILEGED &   Confidential communication between AMc employee
     Communications                                                Montgomery@am.com>                 <betts.gina@dorsey.com>            winkler@am.com>                             CONFIDENTIAL        and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                    ATTORNEY-CLIENT    obtaining legal advice regarding contract negotiations
                                                                                                                                                                                    CORRESPONDENCE                        with Oliver North.
77   Attorney-Client   Message_Attachment   4/27/2018 13:16                                                                                                                                            Confidential communication between AMc employee
     Communications                                                                                                                                                                                      and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                       obtaining legal advice regarding contract negotiations
                                                                                                                                                                                                                          with Oliver North.
78   Attorney-Client        Message         4/27/2018 13:16     Melanie Montgomery <Melanie-                  Gina Betts                 Bill Winkler <bill-                        FW: PRIVILEGED &   Confidential communication between AMc employee
     Communications                                                Montgomery@am.com>                 <betts.gina@dorsey.com>            winkler@am.com>                             CONFIDENTIAL        and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                    ATTORNEY-CLIENT    obtaining legal advice regarding contract negotiations
                                                                                                                                                                                    CORRESPONDENCE                        with Oliver North.
79   Attorney-Client   Message_Attachment   4/27/2018 13:16                                                                                                                                            Confidential communication between AMc employee
     Communications                                                                                                                                                                                      and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                       obtaining legal advice regarding contract negotiations
                                                                                                                                                                                                                          with Oliver North.
80   Attorney-Client        Message         4/27/2018 13:35        <betts.gina@dorsey.com>         <Melanie-Montgomery@am.com>                                                      Re: PRIVILEGED &   Confidential communication between AMc employee
     Communications                                                                                                                                                                  CONFIDENTIAL        and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                    ATTORNEY-CLIENT     obtaining legal advice regarding drafting of Oliver
                                                                                                                                                                                    CORRESPONDENCE                         North's contract.
81                     Message_Attachment   4/27/2018 13:35                                                                                                                                             Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                        file). Not privileged.
82                     Message_Attachment   4/27/2018 13:35                                                                                                                                             Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                        file). Not privileged.
83                     Message_Attachment   4/27/2018 13:35                                                                                                                                             Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                        file). Not privileged.
84   Attorney-Client        Message         4/27/2018 13:43     Melanie Montgomery <Melanie-             Bill Winkler <bill-                                                        FW: PRIVILEGED &   Confidential communication between AMc employee
     Communications                                                Montgomery@am.com>                    winkler@am.com>                                                             CONFIDENTIAL        and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                    ATTORNEY-CLIENT    obtaining legal advice regarding contract negotiations
                                                                                                                                                                                    CORRESPONDENCE                        with Oliver North.
85   Attorney-Client        Message         5/4/2018 17:43         <betts.gina@dorsey.com>            <bill-winkler@am.com>;                                                             redline.pdf   Confidential communication between AMc employee
     Communications                                                                                <Melanie-Montgomery@am.com>                                                                           and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                         obtaining legal advice regarding negotiations with
                                                                                                                                                                                                                            Oliver North.
86   Attorney-Client   Message_Attachment   5/4/2018 17:43                                                                                                                                             Confidential communication between AMc employee
     Communications                                                                                                                                                                                      and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                         obtaining legal advice regarding negotiations with
                                                                                                                                                                                                                            Oliver North.




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                                                     Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21                                                  Page 359 of 1087 PageID 30564
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 #   Privilege Type        Record Type       Document Date            Email From                         Email To                      Email CC                 Email BCC          Email Subject                             Privilege Description
87   Attorney-Client    Message_Attachment   5/4/2018 17:43                                                                                                                   Ollie North Employment         Confidential communication between AMc employee
     Communications                                                                                                                                                          Agreement 4-27-18 - Ollie        and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                            North Employment Agreement        obtaining legal advice regarding negotiations with
                                                                                                                                                                                      4-27-18                                    Oliver North.
88   Attorney-Client         Message         5/7/2018 13:06     <madrid.jay@dorsey.com>           <lacey-cremer@am.com>                <melanie-                                 FW: Complaint.pdf           Confidential communication between AMc employee
     Communications                                                                                                           montgomery@am.com>; <bill-                                                      and counsel at Dorsey & Whitney for purposes of
                                                                                                                                  winkler@am.com>;                                                            obtaining legal advice regarding NRA request for
                                                                                                                               <betts.gina@dorsey.com>                                                                            documents.
89   Attorney-Client    Message_Attachment   5/7/2018 13:06                                                                                                                                                   Plaintiff's Complaint and Jury Demand in Lockton
     Communications                                                                                                                                                                                            matter. Attached to privileged email and publicly
                                                                                                                                                                                                                                   available.
90   Attorney-Client         Message         5/7/2018 13:07     <madrid.jay@dorsey.com>           <lacey-cremer@am.com>;        <betts.gina@dorsey.com>                         FW: Consent Order.pdf        Confidential communication between AMc employee
     Communications                                                                            <melanie-montgomery@am.com>;                                                                                   and counsel at Dorsey & Whitney for purposes of
                                                                                                   <bill-winkler@am.com>                                                                                       obtaining legal advice regarding Lockton matter.
91                      Message_Attachment   5/7/2018 13:07                                                                                                                                                     Consent order in Lockton Matter. Attached to
                                                                                                                                                                                                                    privileged email and publicly available.
92    Attorney-Client        Message         5/7/2018 14:01   "Lacey (Duffy) Cremer" <lacey-      "madrid.jay@dorsey.com"     Melanie Montgomery <Melanie-                        Re: Complaint.pdf          Confidential communication between AMc employee
     Communications;                                                cremer@am.com>                <madrid.jay@dorsey.com>      Montgomery@am.com>; Bill                                                       and counsel at Dorsey & Whitney for purposes of
       Work Product                                                                                                                    Winkler<bill-                                                        obtaining legal advice regarding Lockton/Carry Guard,
                                                                                                                                   winkler@am.com>;                                                          and work product created in anticipation of litigation.
                                                                                                                                "betts.gina@dorsey.com"
                                                                                                                                <betts.gina@dorsey.com>


93    Attorney-Client        Message         5/7/2018 14:01   "Lacey (Duffy) Cremer" <lacey-      "madrid.jay@dorsey.com"     Melanie Montgomery <Melanie-                        Re: Complaint.pdf          Confidential communication between AMc employee
     Communications;                                                cremer@am.com>                <madrid.jay@dorsey.com>      Montgomery@am.com>; Bill                                                       and counsel at Dorsey & Whitney for purposes of
       Work Product                                                                                                                    Winkler<bill-                                                        obtaining legal advice regarding Lockton/Carry Guard,
                                                                                                                                   winkler@am.com>;                                                          and work product created in anticipation of litigation.
                                                                                                                                "betts.gina@dorsey.com"
                                                                                                                                <betts.gina@dorsey.com>


94   Attorney-Client         Message         5/7/2018 14:38   Melanie Montgomery <Melanie-                Gina Betts                Bill Winkler <bill-                             North Contract         Confidential communication between AMc employee
     Communications                                              Montgomery@am.com>               <betts.gina@dorsey.com>       winkler@am.com>; Revan                                                       and counsel at Dorsey & Whitney for purposes of
                                                                                                                                   McQueen <Revan-                                                         obtaining legal advice regarding contract negotiations
                                                                                                                                  McQueen@am.com>                                                                            with Oliver North.
95   Attorney-Client         Message         5/7/2018 14:38   Melanie Montgomery <Melanie-                Gina Betts                Bill Winkler <bill-                             North Contract         Confidential communication between AMc employee
     Communications                                              Montgomery@am.com>               <betts.gina@dorsey.com>       winkler@am.com>; Revan                                                       and counsel at Dorsey & Whitney for purposes of
                                                                                                                                   McQueen <Revan-                                                         obtaining legal advice regarding contract negotiations
                                                                                                                                  McQueen@am.com>                                                                            with Oliver North.
96   Attorney-Client         Message         5/7/2018 14:59     <betts.gina@dorsey.com>        <Melanie-Montgomery@am.com>       <bill-winkler@am.com>                      FW: Ackerman - Employment Confidential communication between AMc employee
     Communications                                                                                                                                                                   Agreement              and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                           obtaining legal advice regarding contract negotiations
                                                                                                                                                                                                                             with Oliver North.
97    Attorney-Client   Message_Attachment   5/7/2018 14:59                                                                                                                 C:\Users\barton.casey\AppData\ Confidential communication between AMc employee
     Communications;                                                                                                                                                        Local\Temp\Workshare\wmtem       and counsel at Dorsey & Whitney for purposes of
       Work Product                                                                                                                                                            p248c\~wtf2BB6AC6C.ps       obtaining legal advice regarding contract negotiations
                                                                                                                                                                                                             with Oliver North and work product in drafting of
                                                                                                                                                                                                                          contract regarding same.




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                                                      Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21                                                   Page 360 of 1087 PageID 30565
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 #     Privilege Type       Record Type       Document Date               Email From                          Email To                       Email CC              Email BCC           Email Subject                          Privilege Description
98     Attorney-Client   Message_Attachment   5/7/2018 14:59                                                                                                                                                  Confidential communication between AMc employee
      Communications;                                                                                                                                                                                           and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                                                                                                          obtaining legal advice regarding contract negotiations
                                                                                                                                                                                                                with Oliver North and work product in drafting of
                                                                                                                                                                                                                             contract regarding same.
99    Attorney-Client         Message         5/7/2018 15:23        <betts.gina@dorsey.com>             <moconnor@wc.com>;                                                     FW: Ackerman - Employment         Confidential communication between Dorsey &
      Communications                                                                                     <rbarnett@wc.com>                                                               Agreement             Whitney and Williams & Connolly regarding North
                                                                                                                                                                                                                                     contract.
100    Attorney-Client   Message_Attachment   5/7/2018 15:23                                                                                                                   C:\Users\barton.casey\AppData\    Working draft of North Contract with attorney
      Communications;                                                                                                                                                          Local\Temp\Workshare\wmtem                    comments and revisions.
        Work Product                                                                                                                                                              p248c\~wtf2BB6AC6C.ps
101    Attorney-Client   Message_Attachment   5/7/2018 15:23                                                                                                                                                     Working draft of North Contract with attorney
      Communications;                                                                                                                                                                                                        comments and revisions.
        Work Product
102    Attorney-Client        Message         5/7/2018 19:24        <betts.gina@dorsey.com>             <MOConnor@wc.com>               <RBarnett@wc.com>                      Re: Ackerman - Employment          Confidential communication between Dorsey &
      Communications                                                                                                                                                                   Agreement                 Whitney and Williams & Connolly regarding North
                                                                                                                                                                                                                                        contract.
103                      Message_Attachment   5/7/2018 19:24                                                                                                                                                    Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                 file). Not privileged.
104   Attorney-Client         Message         5/7/2018 19:50        <betts.gina@dorsey.com>         <Melanie-Montgomery@am.com>                                                Re: Ackerman - Employment        Confidential communication between AMc employee
      Communications                                                                                                                                                                   Agreement                 and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                                 obtaining legal advice regarding drafting of Oliver
                                                                                                                                                                                                                                    North's contract.
105                      Message_Attachment   5/7/2018 19:50                                                                                                                                                    Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                 file). Not privileged.
106   Attorney-Client         Message         5/7/2018 21:14        <betts.gina@dorsey.com>         <Melanie-Montgomery@am.com>                                                Re: Ackerman - Employment        Confidential communication between AMc employee
      Communications                                                                                                                                                                   Agreement                 and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                                 obtaining legal advice regarding drafting of Oliver
                                                                                                                                                                                                                                    North's contract.
107                      Message_Attachment   5/7/2018 21:14                                                                                                                                                    Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                 file). Not privileged.
108   Attorney-Client         Message         5/7/2018 21:15     Melanie Montgomery <Melanie-          "betts.gina@dorsey.com"                                                 Re: Ackerman - Employment        Confidential communication between AMc employee
      Communications                                                Montgomery@am.com>                 <betts.gina@dorsey.com>                                                         Agreement                 and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                                 obtaining legal advice regarding drafting of Oliver
                                                                                                                                                                                                                                    North's contract.
109   Attorney-Client         Message         5/8/2018 15:49     Melanie Montgomery <Melanie-                  Gina Betts                                                              OLN Contract             Confidential communication between AMc employee
      Communications                                                Montgomery@am.com>                 <betts.gina@dorsey.com>                                                                                   and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                                 obtaining legal advice regarding drafting of Oliver
                                                                                                                                                                                                                                    North's contract.
110   Attorney-Client         Message         5/8/2018 16:02        <betts.gina@dorsey.com>         <Melanie-Montgomery@am.com>                                                      RE: OLN Contract           Confidential communication between AMc employee
      Communications                                                                                                                                                                                             and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                                 obtaining legal advice regarding drafting of Oliver
                                                                                                                                                                                                                                    North's contract.
111   Attorney-Client         Message         5/8/2018 16:11        <betts.gina@dorsey.com>             <BSullivan@wc.com>                                                       Employment Agreement--           Confidential communication between Dorsey &
      Communications                                                                                                                                                               CONFIDENTIAL                  Whitney and Williams & Connolly regarding North
                                                                                                                                                                                                                                        contract.
112   Attorney-Client         Message         5/9/2018 10:11   Bill Winkler <bill-winkler@am.com>         "Gina Betts - Dorsey                                                   FW: Real Estate Follow Up      Confidential communication between AMc employee
      Communications                                                                                   (betts.gina@dorsey.com)"                                                                                  and counsel at Dorsey & Whitney for purposes of
                                                                                                       <betts.gina@dorsey.com>                                                                                   obtaining legal advice regarding Wayne LaPierre's
                                                                                                                                                                                                                   request for AMc to assist with home purchase.




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                                                     Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21                                                 Page 361 of 1087 PageID 30566
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 #    Privilege Type       Record Type       Document Date                Email From                      Email To                       Email CC               Email BCC          Email Subject                          Privilege Description
113   Attorney-Client        Message         5/9/2018 12:10        <betts.gina@dorsey.com>         <bill-winkler@am.com>                                                      Re: Real Estate Follow Up    Confidential communication between AMc employee
      Communications                                                                                                                                                                                        and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                            obtaining legal advice regarding Wayne LaPierre's
                                                                                                                                                                                                              request for AMc to assist with home purchase.
114   Attorney-Client   Message_Attachment   5/9/2018 12:10                                                                                                                                                Confidential communication between AMc employee
      Communications                                                                                                                                                                                        and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                            obtaining legal advice regarding Wayne LaPierre's
                                                                                                                                                                                                              request for AMc to assist with home purchase.
115   Attorney-Client   Message_Attachment   5/9/2018 12:10                                                                                                                                                Confidential communication between AMc employee
      Communications                                                                                                                                                                                        and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                            obtaining legal advice regarding Wayne LaPierre's
                                                                                                                                                                                                              request for AMc to assist with home purchase.
116   Attorney-Client        Message         5/9/2018 12:35   Bill Winkler <bill-winkler@am.com>      "Gina Betts - Dorsey                                                        FW: Vaquero PDF          Confidential communication between AMc employee
      Communications                                                                               (betts.gina@dorsey.com)"                                                                                 and counsel at Dorsey & Whitney for purposes of
                                                                                                   <betts.gina@dorsey.com>                                                                                  obtaining legal advice regarding Wayne LaPierre's
                                                                                                                                                                                                              request for AMc to assist with home purchase.
117   Attorney-Client   Message_Attachment   5/9/2018 12:35                                                                                                                                                Confidential communication between AMc employee
      Communications                                                                                                                                                                                        and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                            obtaining legal advice regarding Wayne LaPierre's
                                                                                                                                                                                                              request for AMc to assist with home purchase.
118   Attorney-Client        Message         5/9/2018 14:46        <betts.gina@dorsey.com>         <bill-winkler@am.com>                                                                                   Confidential communication between AMc employee
      Communications                                                                                                                                                                                        and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                            obtaining legal advice regarding Wayne LaPierre's
                                                                                                                                                                                                              request for AMc to assist with home purchase.
119   Attorney-Client        Message         5/9/2018 14:55   Bill Winkler <bill-winkler@am.com>   "betts.gina@dorsey.com"                                                                Re:              Confidential communication between AMc employee
      Communications                                                                               <betts.gina@dorsey.com>                                                                                  and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                            obtaining legal advice regarding Wayne LaPierre's
                                                                                                                                                                                                              request for AMc to assist with home purchase.
120   Attorney-Client   Message_Attachment   5/9/2018 14:55                                                                                                                                                Confidential communication between AMc employee
      Communications                                                                                                                                                                                        and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                            obtaining legal advice regarding Wayne LaPierre's
                                                                                                                                                                                                              request for AMc to assist with home purchase.
121   Attorney-Client        Message         5/9/2018 15:03        <betts.gina@dorsey.com>         <bill-winkler@am.com>                                                     FW: Ackerman - Consulting     Confidential communication between AMc employee
      Communications                                                                                                                                                                  Agreement             and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                            obtaining legal advice regarding Wayne LaPierre's
                                                                                                                                                                                                              request for AMc to assist with home purchase.
122   Attorney-Client   Message_Attachment   5/9/2018 15:03                                                                                                                 C:\Users\barton.casey\AppData\ Confidential communication between AMc employee
      Communications                                                                                                                                                        Local\Temp\Workshare\wmtem      and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                               p20a8\~wtf24361BC0.ps        obtaining legal advice regarding Wayne LaPierre's
                                                                                                                                                                                                              request for AMc to assist with home purchase.
123   Attorney-Client   Message_Attachment   5/9/2018 15:03                                                                                                                 CONSULTING AGREEMENT Confidential communication between AMc employee
      Communications                                                                                                                                                                                        and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                            obtaining legal advice regarding Wayne LaPierre's
                                                                                                                                                                                                              request for AMc to assist with home purchase.
124   Attorney-Client        Message         5/9/2018 15:53   Bill Winkler <bill-winkler@am.com>   "betts.gina@dorsey.com"      Melanie Montgomery <Melanie-                 RE: Ackerman - Consulting     Confidential communication between AMc employee
      Communications                                                                               <betts.gina@dorsey.com>         Montgomery@am.com>                                 Agreement             and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                            obtaining legal advice regarding Wayne LaPierre's
                                                                                                                                                                                                              request for AMc to assist with home purchase.




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                                                     Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21                                                  Page 362 of 1087 PageID 30567
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 #    Privilege Type       Record Type       Document Date               Email From                        Email To                       Email CC              Email BCC          Email Subject                         Privilege Description
125   Attorney-Client   Message_Attachment   5/9/2018 15:53                                                                                                                                               Confidential communication between AMc employee
      Communications                                                                                                                                                                                       and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                           obtaining legal advice regarding Wayne LaPierre's
                                                                                                                                                                                                             request for AMc to assist with home purchase.
126   Attorney-Client        Message         5/9/2018 15:53   Bill Winkler <bill-winkler@am.com>    "betts.gina@dorsey.com"      Melanie Montgomery <Melanie-                RE: Ackerman - Consulting    Confidential communication between AMc employee
      Communications                                                                                <betts.gina@dorsey.com>         Montgomery@am.com>                              Agreement              and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                           obtaining legal advice regarding Wayne LaPierre's
                                                                                                                                                                                                             request for AMc to assist with home purchase.
127   Attorney-Client   Message_Attachment   5/9/2018 15:53                                                                                                                                               Confidential communication between AMc employee
      Communications                                                                                                                                                                                       and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                           obtaining legal advice regarding Wayne LaPierre's
                                                                                                                                                                                                             request for AMc to assist with home purchase.
128   Attorney-Client        Message         5/9/2018 15:54   Bill Winkler <bill-winkler@am.com>   Brandon Winkler <Brandon-                                                FW: Ackerman - Consulting      AMc employee internally forwarding confidential
      Communications                                                                                   Winkler@am.com>                                                             Agreement             communication between AMc employee and counsel at
                                                                                                                                                                                                           Dorsey & Whitney for purposes of obtaining legal
                                                                                                                                                                                                         advice regarding Wayne LaPierre's request for AMc to
                                                                                                                                                                                                                       assist with home purchase.
129   Attorney-Client   Message_Attachment   5/9/2018 15:54                                                                                                                                                AMc employee internally forwarding confidential
      Communications                                                                                                                                                                                     communication between AMc employee and counsel at
                                                                                                                                                                                                           Dorsey & Whitney for purposes of obtaining legal
                                                                                                                                                                                                         advice regarding Wayne LaPierre's request for AMc to
                                                                                                                                                                                                                       assist with home purchase.
130   Attorney-Client        Message         5/9/2018 16:29        <betts.gina@dorsey.com>          <bill-winkler@am.com>                                                    RE: Ackerman - Consulting    Confidential communication between AMc employee
      Communications                                                                                                                                                                Agreement              and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                           obtaining legal advice regarding Wayne LaPierre's
                                                                                                                                                                                                             request for AMc to assist with home purchase.
131   Attorney-Client        Message         5/9/2018 16:37   Bill Winkler <bill-winkler@am.com>    "betts.gina@dorsey.com"                                                  RE: Ackerman - Consulting    Confidential communication between AMc employee
      Communications                                                                                <betts.gina@dorsey.com>                                                         Agreement              and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                           obtaining legal advice regarding Wayne LaPierre's
                                                                                                                                                                                                             request for AMc to assist with home purchase.
132   Attorney-Client        Message         5/9/2018 16:38        <betts.gina@dorsey.com>          <bill-winkler@am.com>                                                    RE: Ackerman - Consulting    Confidential communication between AMc employee
      Communications                                                                                                                                                                Agreement              and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                           obtaining legal advice regarding Wayne LaPierre's
                                                                                                                                                                                                             request for AMc to assist with home purchase.
133   Attorney-Client        Message         5/9/2018 21:57        <betts.gina@dorsey.com>          <bill-winkler@am.com>                                                            Fwd: RE:             Confidential communication between AMc employee
      Communications                                                                                                                                                                                       and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                           obtaining legal advice regarding Wayne LaPierre's
                                                                                                                                                                                                             request for AMc to assist with home purchase.
134   Attorney-Client   Message_Attachment   5/9/2018 21:57                                                                                                                                               Confidential communication between AMc employee
      Communications                                                                                                                                                                                       and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                           obtaining legal advice regarding Wayne LaPierre's
                                                                                                                                                                                                             request for AMc to assist with home purchase.
135   Attorney-Client   Message_Attachment   5/9/2018 21:57                                                                                                                                               Confidential communication between AMc employee
      Communications                                                                                                                                                                                       and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                           obtaining legal advice regarding Wayne LaPierre's
                                                                                                                                                                                                             request for AMc to assist with home purchase.
136   Attorney-Client        Message         5/10/2018 9:23   Bill Winkler <bill-winkler@am.com>    "betts.gina@dorsey.com"                                                           RE: RE:             Confidential communication between AMc employee
      Communications                                                                                <betts.gina@dorsey.com>                                                                                and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                           obtaining legal advice regarding Wayne LaPierre's
                                                                                                                                                                                                             request for AMc to assist with home purchase.




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 #    Privilege Type       Record Type       Document Date                 Email From                         Email To                     Email CC               Email BCC         Email Subject                          Privilege Description
137   Attorney-Client        Message         5/10/2018 15:34   Bill Winkler <bill-winkler@am.com>       "Gina Betts - Dorsey                                                         any updates            Confidential communication between AMc employee
      Communications                                                                                 (betts.gina@dorsey.com)"                                                                                and counsel at Dorsey & Whitney for purposes of
                                                                                                     <betts.gina@dorsey.com>                                                                                 obtaining legal advice regarding Wayne LaPierre's
                                                                                                                                                                                                               request for AMc to assist with home purchase.
138   Attorney-Client        Message         5/10/2018 15:36        <betts.gina@dorsey.com>           <bill-winkler@am.com>                                                         RE: any updates         Confidential communication between AMc employee
      Communications                                                                                                                                                                                         and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                             obtaining legal advice regarding Wayne LaPierre's
                                                                                                                                                                                                               request for AMc to assist with home purchase.
139   Attorney-Client        Message         5/10/2018 16:36        <betts.gina@dorsey.com>          <madrid.jay@dorsey.com>;                                                 FW: Ackerman - Employment     Confidential communication between AMc employee
      Communications                                                                                <Revan-McQueen@am.com>;                                                           Agreement              and counsel at Dorsey & Whitney for purposes of
                                                                                                      <bill-winkler@am.com>                                                                                  obtaining legal advice regarding Wayne LaPierre's
                                                                                                                                                                                                               request for AMc to assist with home purchase.
140   Attorney-Client        Message         5/10/2018 19:29        <betts.gina@dorsey.com>           <bill-winkler@am.com>                                                   Re: do we have an update on   Confidential communication between AMc employee
      Communications                                                                                                                                                          how your research is coming    and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                             obtaining legal advice regarding Wayne LaPierre's
                                                                                                                                                                                                               request for AMc to assist with home purchase.
141   Attorney-Client   Message_Attachment   5/10/2018 19:29                                                                                                                                                Confidential communication between AMc employee
      Communications                                                                                                                                                                                         and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                             obtaining legal advice regarding Wayne LaPierre's
                                                                                                                                                                                                               request for AMc to assist with home purchase.
142   Attorney-Client        Message         5/10/2018 20:12   Bill Winkler <bill-winkler@am.com>     "betts.gina@dorsey.com"                                                 Re: do we have an update on   Confidential communication between AMc employee
      Communications                                                                                  <betts.gina@dorsey.com>                                                 how your research is coming    and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                             obtaining legal advice regarding Wayne LaPierre's
                                                                                                                                                                                                               request for AMc to assist with home purchase.
143   Attorney-Client        Message         5/10/2018 20:23        <betts.gina@dorsey.com>           <bill-winkler@am.com>                                                   Re: do we have an update on   Confidential communication between AMc employee
      Communications                                                                                                                                                          how your research is coming    and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                             obtaining legal advice regarding Wayne LaPierre's
                                                                                                                                                                                                               request for AMc to assist with home purchase.
144   Attorney-Client   Message_Attachment   5/10/2018 20:23                                                                                                                                                Confidential communication between AMc employee
      Communications                                                                                                                                                                                         and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                             obtaining legal advice regarding Wayne LaPierre's
                                                                                                                                                                                                               request for AMc to assist with home purchase.
145   Attorney-Client        Message         5/11/2018 12:24   Bill Winkler <bill-winkler@am.com>     "betts.gina@dorsey.com"      Brandon Winkler <Brandon-                    RE: Ackerman McQueen        Confidential communication between AMc employee
      Communications                                                                                  <betts.gina@dorsey.com>          Winkler@am.com>                        documents--CONFIDENTIAL        and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                             obtaining legal advice regarding Wayne LaPierre's
                                                                                                                                                                                                               request for AMc to assist with home purchase.
146   Attorney-Client        Message         5/11/2018 12:24   Bill Winkler <bill-winkler@am.com>     "betts.gina@dorsey.com"      Brandon Winkler <Brandon-                    RE: Ackerman McQueen        Confidential communication between AMc employee
      Communications                                                                                  <betts.gina@dorsey.com>          Winkler@am.com>                        documents--CONFIDENTIAL        and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                             obtaining legal advice regarding Wayne LaPierre's
                                                                                                                                                                                                               request for AMc to assist with home purchase.
147   Attorney-Client        Message         5/11/2018 12:48        <betts.gina@dorsey.com>           <bill-winkler@am.com>                                                     Ackerman Documents--        Confidential communication between AMc employee
      Communications                                                                                                                                                              CONFIDENTIAL               and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                             obtaining legal advice regarding Wayne LaPierre's
                                                                                                                                                                                                               request for AMc to assist with home purchase.
148   Attorney-Client   Message_Attachment   5/11/2018 12:48                                                                                                                   Microsoft Word - Revised     Confidential communication between AMc employee
      Communications                                                                                                                                                          304_Reg of Foreign LLC.doc     and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                             obtaining legal advice regarding Wayne LaPierre's
                                                                                                                                                                                                               request for AMc to assist with home purchase.




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 #    Privilege Type       Record Type       Document Date                Email From                       Email To                       Email CC                 Email BCC         Email Subject                           Privilege Description
149   Attorney-Client   Message_Attachment   5/11/2018 12:48                                                                                                                       New Blank Document        Confidential communication between AMc employee
      Communications                                                                                                                                                                                           and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                              obtaining legal advice regarding Wayne LaPierre's
                                                                                                                                                                                                                 request for AMc to assist with home purchase.
150   Attorney-Client   Message_Attachment   5/11/2018 12:48                                                                                                                   Microsoft Word - 651_boc Rev Confidential communication between AMc employee
      Communications                                                                                                                                                                     04 11.doc             and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                              obtaining legal advice regarding Wayne LaPierre's
                                                                                                                                                                                                                 request for AMc to assist with home purchase.
151   Attorney-Client        Message         5/11/2018 13:03   Bill Winkler <bill-winkler@am.com>      "Gina Betts - Dorsey                                                              FW: PDF's           Confidential communication between AMc employee
      Communications                                                                                (betts.gina@dorsey.com)"                                                                                   and counsel at Dorsey & Whitney for purposes of
                                                                                                    <betts.gina@dorsey.com>                                                                                   obtaining legal advice regarding Wayne LaPierre's
                                                                                                                                                                                                                 request for AMc to assist with home purchase.
152   Attorney-Client   Message_Attachment   5/11/2018 13:03                                                                                                                                                 Confidential communication between AMc employee
      Communications                                                                                                                                                                                           and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                              obtaining legal advice regarding Wayne LaPierre's
                                                                                                                                                                                                                 request for AMc to assist with home purchase.
153   Attorney-Client        Message         5/11/2018 13:10        <betts.gina@dorsey.com>         <bill-winkler@am.com>                                                                RE: PDF's           Confidential communication between AMc employee
      Communications                                                                                                                                                                                           and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                              obtaining legal advice regarding Wayne LaPierre's
                                                                                                                                                                                                                 request for AMc to assist with home purchase.
154   Attorney-Client        Message         5/11/2018 13:13   Bill Winkler <bill-winkler@am.com>   "betts.gina@dorsey.com"                                                              RE: PDF's           Confidential communication between AMc employee
      Communications                                                                                <betts.gina@dorsey.com>                                                                                    and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                              obtaining legal advice regarding Wayne LaPierre's
                                                                                                                                                                                                                 request for AMc to assist with home purchase.
155   Attorney-Client        Message         5/11/2018 13:14   Bill Winkler <bill-winkler@am.com>   "betts.gina@dorsey.com"                                                              Re: PDF's           Confidential communication between AMc employee
      Communications                                                                                <betts.gina@dorsey.com>                                                                                    and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                              obtaining legal advice regarding Wayne LaPierre's
                                                                                                                                                                                                                 request for AMc to assist with home purchase.
156   Attorney-Client   Message_Attachment   5/11/2018 13:14                                                                                                                                                 Confidential communication between AMc employee
      Communications                                                                                                                                                                                           and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                              obtaining legal advice regarding Wayne LaPierre's
                                                                                                                                                                                                                 request for AMc to assist with home purchase.
157   Attorney-Client   Message_Attachment   5/11/2018 13:14                                                                                                                                                 Confidential communication between AMc employee
      Communications                                                                                                                                                                                           and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                              obtaining legal advice regarding Wayne LaPierre's
                                                                                                                                                                                                                 request for AMc to assist with home purchase.
158   Attorney-Client        Message         5/11/2018 13:15        <betts.gina@dorsey.com>         <bill-winkler@am.com>                                                                RE: PDF's           Confidential communication between AMc employee
      Communications                                                                                                                                                                                           and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                              obtaining legal advice regarding Wayne LaPierre's
                                                                                                                                                                                                                 request for AMc to assist with home purchase.
159   Attorney-Client        Message         5/14/2018 10:23     Melanie Montgomery <Melanie-               Gina Betts                                                                North Contract         Confidential communication between AMc employee
      Communications                                                Montgomery@am.com>              <betts.gina@dorsey.com>                                                                                    and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                            obtaining legal advice regarding Oliver North's contract.

160   Attorney-Client        Message         5/14/2018 12:59       <madrid.jay@dorsey.com>          <lacey-cremer@am.com>                  <Melanie-                              Brewer Interview request     Confidential communication between AMc employee
      Communications                                                                                                               Montgomery@am.com>;                                                           and counsel at Dorsey & Whitney for purposes of
                                                                                                                                   <betts.gina@dorsey.com>                                                      obtaining legal advice regarding interview requests
                                                                                                                                                                                                                                from NRA counsel.




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 #       Privilege Type         Record Type       Document Date              Email From                        Email To                     Email CC                Email BCC         Email Subject                        Privilege Description
161   Forwarding Attorney-        Message         5/14/2018 13:29   "Lacey (Duffy) Cremer" <lacey-      Revan McQueen <Revan-      Melanie Montgomery <Melanie-                 FW: Brewer Interview request AMc employee internally forwarding confidential
             Client                                                       cremer@am.com>             McQueen@am.com>; Bill Winkler    Montgomery@am.com>                                                  communication between AMc employee and counsel at
      Communications and                                                                                <bill-winkler@am.com>                                                                                Dorsey & Whitney for purposes of obtaining legal
          Work Product                                                                                                                                                                                       advice regarding Lockton/CarryGuard,, and work
                                                                                                                                                                                                                product created in anticipation of litigation.
162     Attorney-Client           Message         5/14/2018 14:22     <betts.gina@dorsey.com>            <MOConnor@wc.com>                                                      RE: Ackerman - Employment Confidential communication between AMc employee
        Communications                                                                                                                                                                  Agreement            and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                          obtaining legal advice regarding Oliver North's contract.

163     Attorney-Client           Message         5/14/2018 14:36   Melanie Montgomery <Melanie-         "betts.gina@dorsey.com"                                                Re: Ackerman - Employment       Confidential communication between AMc employee
        Communications                                                 Montgomery@am.com>                <betts.gina@dorsey.com>                                                        Agreement                 and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                               obtaining legal advice regarding Oliver North's contract.

164                          Message_Attachment   5/14/2018 14:36                                                                                                                                               Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                file). Not privileged.
165                          Message_Attachment   5/14/2018 14:36                                                                                                                                               Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                file). Not privileged.
166     Attorney-Client           Message         5/14/2018 17:03     <betts.gina@dorsey.com>         <Revan-McQueen@am.com>;                                                    FW: Emailing: Ackerman        Confidential communication between AMc employee
        Communications                                                                                  <bill-winkler@am.com>;                                                   McQueen - Oliver North          and counsel at Dorsey & Whitney for purposes of
                                                                                                     <Melanie-Montgomery@am.com>                                                     Agreement.PDF             obtaining legal advice regarding contract negotiations
                                                                                                                                                                                                                                 with Oliver North.
167     Attorney-Client      Message_Attachment   5/14/2018 17:03                                                                                                                                              Confidential communication between AMc employee
        Communications                                                                                                                                                                                           and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                               obtaining legal advice regarding contract negotiations
                                                                                                                                                                                                                                 with Oliver North.
168     Attorney-Client           Message         5/14/2018 17:38   Melanie Montgomery <Melanie-         "betts.gina@dorsey.com"        Revan McQueen <Revan-                     Re: Emailing: Ackerman       Confidential communication between AMc employee
        Communications                                                 Montgomery@am.com>                <betts.gina@dorsey.com>       McQueen@am.com>; Bill                      McQueen - Oliver North         and counsel at Dorsey & Whitney for purposes of
                                                                                                                                             Winkler <bill-                           Agreement.PDF            obtaining legal advice regarding contract negotiations
                                                                                                                                       winkler@am.com>; Ariana                                                                   with Oliver North.
                                                                                                                                     Azimi <ariana-azimi@am.com>
169     Attorney-Client           Message         5/14/2018 17:38   Melanie Montgomery <Melanie-         "betts.gina@dorsey.com"        Revan McQueen <Revan-                     Re: Emailing: Ackerman       Confidential communication between AMc employee
        Communications                                                 Montgomery@am.com>                <betts.gina@dorsey.com>       McQueen@am.com>; Bill                      McQueen - Oliver North         and counsel at Dorsey & Whitney for purposes of
                                                                                                                                             Winkler <bill-                           Agreement.PDF            obtaining legal advice regarding contract negotiations
                                                                                                                                       winkler@am.com>; Ariana                                                                   with Oliver North.
                                                                                                                                     Azimi <ariana-azimi@am.com>
170     Attorney-Client           Message         5/14/2018 18:37       Ariana Azimi <ariana-            "betts.gina@dorsey.com"        Revan McQueen <Revan-                     Re: Emailing: Ackerman       Confidential communication between AMc employee
        Communications                                                    azimi@am.com>                  <betts.gina@dorsey.com>     McQueen@am.com>; Melanie                     McQueen - Oliver North         and counsel at Dorsey & Whitney for purposes of
                                                                                                                                         Montgomery<Melanie-                          Agreement.PDF            obtaining legal advice regarding contract negotiations
                                                                                                                                      Montgomery@am.com>; Bill                                                                   with Oliver North.
                                                                                                                                             Winkler <bill-
                                                                                                                                           winkler@am.com>
171     Attorney-Client      Message_Attachment   5/14/2018 18:37                                                                                                                                              Confidential communication between AMc employee
        Communications                                                                                                                                                                                           and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                               obtaining legal advice regarding contract negotiations
                                                                                                                                                                                                                                 with Oliver North.
172     Attorney-Client           Message         5/14/2018 18:37       Ariana Azimi <ariana-            "betts.gina@dorsey.com"       Revan McQueen <Revan-                      Re: Emailing: Ackerman       Confidential communication between AMc employee
        Communications                                                    azimi@am.com>                  <betts.gina@dorsey.com>     McQueen@am.com>; Melanie                     McQueen - Oliver North         and counsel at Dorsey & Whitney for purposes of
                                                                                                                                        Montgomery<Melanie-                           Agreement.PDF            obtaining legal advice regarding contract negotiations
                                                                                                                                     Montgomery@am.com>; Bill                                                                    with Oliver North.
                                                                                                                                            Winkler <bill-
                                                                                                                                         winkler@am.com>



                                                                                                                                   Page 14 of 194
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                                                      Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21                                                      Page 366 of 1087 PageID 30571
                                                                                                                     AMC Second Amended Privilege Log


 #    Privilege Type       Record Type       Document Date                Email From                         Email To                       Email CC                 Email BCC        Email Subject                         Privilege Description
173   Attorney-Client   Message_Attachment   5/14/2018 18:37                                                                                                                                                Confidential communication between AMc employee
      Communications                                                                                                                                                                                          and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                            obtaining legal advice regarding contract negotiations
                                                                                                                                                                                                                              with Oliver North.
174   Attorney-Client        Message         5/15/2018 9:19    Bill Winkler <bill-winkler@am.com>    Brandon Winkler <Brandon-                                                    FW: Emailing: Ackerman      AMc employee internally forwarding confidential
      Communications                                                                                     Winkler@am.com>                                                          McQueen - Oliver North   communication between AMc employee and counsel at
                                                                                                                                                                                      Agreement.PDF           Dorsey & Whitney for purposes of obtaining legal
                                                                                                                                                                                                             advice regarding contract negotiations with Oliver
                                                                                                                                                                                                                                    North.
175   Attorney-Client   Message_Attachment   5/15/2018 9:19                                                                                                                                                   AMc employee internally forwarding confidential
      Communications                                                                                                                                                                                       communication between AMc employee and counsel at
                                                                                                                                                                                                              Dorsey & Whitney for purposes of obtaining legal
                                                                                                                                                                                                             advice regarding contract negotiations with Oliver
                                                                                                                                                                                                                                    North.
176   Attorney-Client        Message         5/15/2018 13:51   Bill Winkler <bill-winkler@am.com>       "Gina Betts - Dorsey                                                              WBB               Confidential communication between AMc employee
      Communications                                                                                 (betts.gina@dorsey.com)"                                                                                 and counsel at Dorsey & Whitney for purposes of
                                                                                                     <betts.gina@dorsey.com>                                                                                 obtaining legal advice regarding Wayne LaPierre's
                                                                                                                                                                                                                request for AMc to assist with home purchase.
177   Attorney-Client        Message         5/15/2018 13:55        <betts.gina@dorsey.com>           <bill-winkler@am.com>                                                             RE: WBB             Confidential communication between AMc employee
      Communications                                                                                                                                                                                          and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                             obtaining legal advice regarding Wayne LaPierre's
                                                                                                                                                                                                                request for AMc to assist with home purchase.
178   Attorney-Client        Message         5/15/2018 13:56   Bill Winkler <bill-winkler@am.com>     "betts.gina@dorsey.com"                                                           RE: WBB             Confidential communication between AMc employee
      Communications                                                                                  <betts.gina@dorsey.com>                                                                                 and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                             obtaining legal advice regarding Wayne LaPierre's
                                                                                                                                                                                                                request for AMc to assist with home purchase.
179   Attorney-Client        Message         5/15/2018 13:59        <betts.gina@dorsey.com>           <bill-winkler@am.com>                                                             RE: WBB             Confidential communication between AMc employee
      Communications                                                                                                                                                                                          and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                             obtaining legal advice regarding Wayne LaPierre's
                                                                                                                                                                                                                request for AMc to assist with home purchase.
180   Attorney-Client        Message         5/17/2018 19:02       <madrid.jay@dorsey.com>            <lacey-cremer@am.com>          <betts.gina@dorsey.com>                         Visit with Brewer      Confidential communication between AMc employee
      Communications                                                                                                                                                                                          and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                            obtaining legal advice regarding interview request by
                                                                                                                                                                                                                                NRA counsel.
181   Attorney-Client        Message         5/18/2018 11:32     "Lacey (Duffy) Cremer" <lacey-      "madrid.jay@dorsey.com"         "betts.gina@dorsey.com"                       Re: Visit with Brewer    Confidential communication between AMc employee
      Communications                                                   cremer@am.com>                <madrid.jay@dorsey.com>         <betts.gina@dorsey.com>                                                  and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                            obtaining legal advice regarding interview request by
                                                                                                                                                                                                                                    Brewer.
182   Attorney-Client        Message         5/21/2018 15:11       <madrid.jay@dorsey.com>            <lacey-cremer@am.com>          <betts.gina@dorsey.com>                       RE: Visit with Brewer    Confidential communication between AMc employee
      Communications                                                                                                                                                                                          and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                            obtaining legal advice regarding interview request by
                                                                                                                                                                                                                                    Brewer.
183   Attorney-Client        Message         5/23/2018 16:11       <madrid.jay@dorsey.com>                   <Melanie-               <betts.gina@dorsey.com>;                       Meeting with Brewer     Confidential communication between AMc employee
      Communications                                                                                Montgomery@am.com>; <bill-       <lacey-cremer@am.com>;                      CONFIDENTIAL SUBJECT         and counsel at Dorsey & Whitney for purposes of
                                                                                                         winkler@am.com>            <Grant-Spofford@am.com>;                      TO ATTORNEY CLIENT       obtaining legal advice regarding communications with
                                                                                                                                     <Eric-vanhorn@am.com>                             PRIVILEGE                                NRA counsel.




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                                                      Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21                                                     Page 367 of 1087 PageID 30572
                                                                                                                     AMC Second Amended Privilege Log


 #    Privilege Type       Record Type       Document Date                 Email From                        Email To                      Email CC                          Email BCC                 Email Subject                         Privilege Description
184   Attorney-Client        Message         5/23/2018 16:43   Bill Winkler <bill-winkler@am.com>      Revan McQueen <Revan-         Angus McQueen <angus-         Melanie Montgomery <Melanie-    FW: Meeting with Brewer     AMc employee internally forwarding confidential
      Communications                                                                                    McQueen@am.com>                mcqueen@am.com>             Montgomery@am.com>; "Gina      CONFIDENTIAL SUBJECT       communication between AMc employee and counsel at
                                                                                                                                                                            Betts - Dorsey         TO ATTORNEY CLIENT          Dorsey & Whitney for purposes of obtaining legal
                                                                                                                                                                     (betts.gina@dorsey.com)"           PRIVILEGE             advice regarding communications with NRA counsel.
                                                                                                                                                                    <betts.gina@dorsey.com>;
                                                                                                                                                                    Brandon Winkler<Brandon-
                                                                                                                                                                        Winkler@am.com>
185   Attorney-Client        Message         5/23/2018 16:43   Bill Winkler <bill-winkler@am.com>      Revan McQueen <Revan-         Angus McQueen <angus-         Melanie Montgomery <Melanie-    FW: Meeting with Brewer     AMc employee internally forwarding confidential
      Communications                                                                                    McQueen@am.com>                mcqueen@am.com>             Montgomery@am.com>; "Gina      CONFIDENTIAL SUBJECT       communication between AMc employee and counsel at
                                                                                                                                                                            Betts - Dorsey         TO ATTORNEY CLIENT          Dorsey & Whitney for purposes of obtaining legal
                                                                                                                                                                     (betts.gina@dorsey.com)"           PRIVILEGE             advice regarding communications with NRA counsel.
                                                                                                                                                                    <betts.gina@dorsey.com>;
                                                                                                                                                                    Brandon Winkler<Brandon-
                                                                                                                                                                        Winkler@am.com>
186   Attorney-Client        Message         5/23/2018 17:39     Melanie Montgomery <Melanie-         "madrid.jay@dorsey.com"            Bill Winkler <bill-                                       Re: Meeting with Brewer   Confidential communication between AMc employee
      Communications                                                Montgomery@am.com>                <madrid.jay@dorsey.com>           winkler@am.com>;                                          CONFIDENTIAL SUBJECT         and counsel at Dorsey & Whitney for purposes of
                                                                                                                                  "betts.gina@dorsey.com"<betts.                                   TO ATTORNEY CLIENT        obtaining legal advice regarding communications with
                                                                                                                                    gina@dorsey.com>; "Lacey                                            PRIVILEGE                                 NRA counsel.
                                                                                                                                      (Duffy) Cremer" <lacey-
                                                                                                                                    cremer@am.com>; "Grant
                                                                                                                                          Spofford" <grant-
                                                                                                                                  spofford@am.com>; Eric Van
                                                                                                                                            Horn <Eric-
187                     Message_Attachment   5/23/2018 17:39                                                                                                                                                                  Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                               file). Not privileged.
188   Attorney-Client        Message         5/23/2018 17:39     Melanie Montgomery <Melanie-         "madrid.jay@dorsey.com"            Bill Winkler <bill-                                       Re: Meeting with Brewer   Confidential communication between AMc employee
      Communications                                                Montgomery@am.com>                <madrid.jay@dorsey.com>           winkler@am.com>;                                          CONFIDENTIAL SUBJECT         and counsel at Dorsey & Whitney for purposes of
                                                                                                                                  "betts.gina@dorsey.com"<betts.                                   TO ATTORNEY CLIENT        obtaining legal advice regarding communications with
                                                                                                                                    gina@dorsey.com>; "Lacey                                            PRIVILEGE                                  NRA counsel.
                                                                                                                                      (Duffy) Cremer" <lacey-
                                                                                                                                    cremer@am.com>; "Grant
                                                                                                                                          Spofford" <grant-
                                                                                                                                  spofford@am.com>; Eric Van
                                                                                                                                            Horn <Eric-
189                     Message_Attachment   5/23/2018 17:39                                                                                                                                                                 Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                              file). Not privileged.
190   Attorney-Client        Message         5/24/2018 9:46        <madrid.jay@dorsey.com>          <Melanie-Montgomery@am.com>     <betts.gina@dorsey.com>                                        RE: Meeting with Brewer   Confidential communication between AMc employee
      Communications                                                                                                                                                                              CONFIDENTIAL SUBJECT        and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                   TO ATTORNEY CLIENT          obtaining legal advice regarding AMc employee
                                                                                                                                                                                                        PRIVILEGE                         interviews by NRA counsel.
191   Attorney-Client        Message         5/24/2018 10:12     Melanie Montgomery <Melanie-         "madrid.jay@dorsey.com"       "betts.gina@dorsey.com"                                        Re: Meeting with Brewer   Confidential communication between AMc employee
      Communications                                                Montgomery@am.com>                <madrid.jay@dorsey.com>       <betts.gina@dorsey.com>                                       CONFIDENTIAL SUBJECT        and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                   TO ATTORNEY CLIENT          obtaining legal advice regarding AMc employee
                                                                                                                                                                                                        PRIVILEGE                         interviews by NRA counsel.
192                     Message_Attachment   5/24/2018 10:12                                                                                                                                                                 Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                              file). Not privileged.
193                     Message_Attachment   5/24/2018 10:12                                                                                                                                                                 Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                              file). Not privileged.




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                                                      Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21                                                         Page 368 of 1087 PageID 30573
                                                                                                                      AMC Second Amended Privilege Log


 #    Privilege Type       Record Type       Document Date               Email From                              Email To                    Email CC                   Email BCC        Email Subject                             Privilege Description
194   Attorney-Client        Message         5/31/2018 15:20       <madrid.jay@dorsey.com>               <bill-winkler@am.com>;                                                        RE: Legal discussion       Confidential communication between AMc employee
      Communications                                                                                <betts.gina@dorsey.com>; <Revan-                                                                                and counsel at Dorsey & Whitney for purposes of
                                                                                                      McQueen@am.com>; <angus-                                                                                    obtaining legal advice regarding communications with
                                                                                                     mcqueen@am.com>; <Brandon-                                                                                                        NRA counsel.
                                                                                                            Winkler@am.com>
195   Attorney-Client        Message         5/31/2018 15:33       <madrid.jay@dorsey.com>               <bill-winkler@am.com>;                                                        RE: Legal discussion       Confidential communication between AMc employee
      Communications                                                                                <betts.gina@dorsey.com>; <Revan-                                                                                and counsel at Dorsey & Whitney for purposes of
                                                                                                      McQueen@am.com>; <angus-                                                                                    obtaining legal advice regarding communications with
                                                                                                     mcqueen@am.com>; <Brandon-                                                                                                        NRA counsel.
                                                                                                            Winkler@am.com>
196   Attorney-Client        Message         6/1/2018 16:53        <madrid.jay@dorsey.com>          <Melanie-Montgomery@am.com> <lacey-cremer@am.com>; <bill-                            Interview request         Confidential communication between AMc employee
      Communications                                                                                                                   winkler@am.com>;                                                             and counsel at Dorsey & Whitney for purposes of
                                                                                                                                     <betts.gina@dorsey.com>                                                       obtaining legal advice regarding interview request by
                                                                                                                                                                                                                                       NRA counsel.
197   Attorney-Client        Message         6/1/2018 17:17      Melanie Montgomery <Melanie-          "madrid.jay@dorsey.com"       "Lacey (Duffy) Cremer" <lacey-                    Re: Interview request       Confidential communication between AMc employee
      Communications                                                Montgomery@am.com>                 <madrid.jay@dorsey.com>          cremer@am.com>; Bill                                                        and counsel at Dorsey & Whitney for purposes of
                                                                                                                                              Winkler<bill-                                                        obtaining legal advice regarding interview request by
                                                                                                                                          winkler@am.com>;                                                                             NRA counsel.
                                                                                                                                       "betts.gina@dorsey.com"
                                                                                                                                       <betts.gina@dorsey.com>
198                     Message_Attachment   6/1/2018 17:17                                                                                                                                                        Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                    file). Not privileged.
199   Attorney-Client        Message         6/1/2018 17:17      Melanie Montgomery <Melanie-          "madrid.jay@dorsey.com"       "Lacey (Duffy) Cremer" <lacey-                    Re: Interview request       Confidential communication between AMc employee
      Communications                                                Montgomery@am.com>                 <madrid.jay@dorsey.com>          cremer@am.com>; Bill                                                        and counsel at Dorsey & Whitney for purposes of
                                                                                                                                              Winkler<bill-                                                        obtaining legal advice regarding interview request by
                                                                                                                                          winkler@am.com>;                                                                              NRA counsel.
                                                                                                                                       "betts.gina@dorsey.com"
                                                                                                                                       <betts.gina@dorsey.com>
200                     Message_Attachment   6/1/2018 17:17                                                                                                                                                        Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                    file). Not privileged.
201   Attorney-Client        Message         6/4/2018 18:10        <madrid.jay@dorsey.com>              <bill-winkler@am.com>          <betts.gina@dorsey.com>                        Topics raised by Brewer      Confidential communication between AMc employee
      Communications                                                                                                                                                                                                 and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                                  obtaining legal advice regarding communications with
                                                                                                                                                                                                                                        NRA counsel.
202   Attorney-Client        Message         6/4/2018 18:32    Bill Winkler <bill-winkler@am.com>      "madrid.jay@dorsey.com"            "Gina Betts - Dorsey                      RE: Topics raised by Brewer    Confidential communication between AMc employee
      Communications                                                                                   <madrid.jay@dorsey.com>         (betts.gina@dorsey.com)"                                                      and counsel at Dorsey & Whitney for purposes of
                                                                                                                                       <betts.gina@dorsey.com>                                                    obtaining legal advice regarding communications with
                                                                                                                                                                                                                                        NRA counsel.
203   Attorney-Client        Message         6/8/2018 12:59        <madrid.jay@dorsey.com>          <Melanie-Montgomery@am.com>        <bill-winkler@am.com>;                          RE: Interview request       Confidential communication between AMc employee
      Communications                                                                                                                   <betts.gina@dorsey.com>                                                       and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                                  obtaining legal advice regarding interview request from
                                                                                                                                                                                                                                        NRA counsel.
204   Attorney-Client        Message         6/8/2018 14:45    Bill Winkler <bill-winkler@am.com>      "madrid.jay@dorsey.com"         "betts.gina@dorsey.com"                         RE: Interview request       Confidential communication between AMc employee
      Communications                                                                                  <madrid.jay@dorsey.com>;         <betts.gina@dorsey.com>                                                       and counsel at Dorsey & Whitney for purposes of
                                                                                                     Melanie Montgomery<Melanie-                                                                                  obtaining legal advice regarding interview request from
                                                                                                        Montgomery@am.com>                                                                                                              NRA counsel.
205   Attorney-Client        Message         6/8/2018 15:45      Melanie Montgomery <Melanie-          "madrid.jay@dorsey.com"              Bill Winkler <bill-                        Re: Interview request       Confidential communication between AMc employee
      Communications                                                Montgomery@am.com>                <madrid.jay@dorsey.com>              winkler@am.com>;                                                          and counsel at Dorsey & Whitney for purposes of
                                                                                                                                     "betts.gina@dorsey.com"<betts.                                               obtaining legal advice regarding interview request from
                                                                                                                                            gina@dorsey.com>                                                                            NRA counsel.




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                                                                                                                  AMC Second Amended Privilege Log


 #    Privilege Type       Record Type       Document Date             Email From                       Email To                      Email CC                  Email BCC        Email Subject                            Privilege Description
206                     Message_Attachment   6/8/2018 15:45                                                                                                                                             Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                           file). Not privileged.
207                     Message_Attachment   6/8/2018 15:45                                                                                                                                             Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                           file). Not privileged.
208   Attorney-Client        Message         6/8/2018 15:51    Melanie Montgomery <Melanie-     "madrid.jay@dorsey.com"             Bill Winkler <bill-                       Re: Interview request     Confidential communication between AMc employee
      Communications                                              Montgomery@am.com>            <madrid.jay@dorsey.com>            winkler@am.com>;                                                       and counsel at Dorsey & Whitney for purposes of
                                                                                                                             "betts.gina@dorsey.com"<betts.                                             obtaining legal advice regarding interview request by
                                                                                                                                    gina@dorsey.com>                                                   NRA counsel, and work product created in anticipation
                                                                                                                                                                                                        of litigation relating to Lockton/CarryGuard and state
                                                                                                                                                                                                                   agency investigations into the NRA.
209   Attorney-Client        Message         6/8/2018 16:00    Melanie Montgomery <Melanie-         Bill Winkler <bill-         "madrid.jay@dorsey.com"                       Re: Interview request     Confidential communication between AMc employee
      Communications                                              Montgomery@am.com>                winkler@am.com>            <madrid.jay@dorsey.com>;                                                   and counsel at Dorsey & Whitney for purposes of
                                                                                                                             "betts.gina@dorsey.com"<betts.                                            obtaining legal advice regarding interview request from
                                                                                                                                    gina@dorsey.com>                                                                           NRA counsel.
210                     Message_Attachment   6/8/2018 16:00                                                                                                                                             Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                           file). Not privileged.
211                     Message_Attachment   6/8/2018 16:00                                                                                                                                             Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                           file). Not privileged.
212   Attorney-Client        Message         6/14/2018 10:51     <madrid.jay@dorsey.com>      <Melanie-Montgomery@am.com>       <bill-winkler@am.com>;                            Interview Off         Confidential communication between AMc employee
      Communications                                                                                                            <betts.gina@dorsey.com>                                                   and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                       obtaining legal advice regarding interview request from
                                                                                                                                                                                                                               NRA counsel.
213   Attorney-Client        Message         6/14/2018 11:37   Melanie Montgomery <Melanie-     "madrid.jay@dorsey.com"             Bill Winkler <bill-                         Re: Interview Off       Confidential communication between AMc employee
      Communications                                              Montgomery@am.com>            <madrid.jay@dorsey.com>            winkler@am.com>;                                                       and counsel at Dorsey & Whitney for purposes of
                                                                                                                             "betts.gina@dorsey.com"<betts.                                            obtaining legal advice regarding interview request from
                                                                                                                                    gina@dorsey.com>                                                                           NRA counsel.
214                     Message_Attachment   6/14/2018 11:37                                                                                                                                            Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                           file). Not privileged.
215   Attorney-Client        Message         6/14/2018 11:37   Melanie Montgomery <Melanie-     "madrid.jay@dorsey.com"             Bill Winkler <bill-                         Re: Interview Off       Confidential communication between AMc employee
      Communications                                              Montgomery@am.com>            <madrid.jay@dorsey.com>            winkler@am.com>;                                                       and counsel at Dorsey & Whitney for purposes of
                                                                                                                             "betts.gina@dorsey.com"<betts.                                            obtaining legal advice regarding interview request from
                                                                                                                                    gina@dorsey.com>                                                                           NRA counsel.
216                     Message_Attachment   6/14/2018 11:37                                                                                                                                            Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                           file). Not privileged.
217   Attorney-Client        Message         6/22/2018 10:44     <madrid.jay@dorsey.com>      <Melanie-Montgomery@am.com>       <bill-winkler@am.com>;                        Meeting with Brewer       Confidential communication between AMc employee
      Communications                                                                                                            <betts.gina@dorsey.com>                                                   and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                       obtaining legal advice regarding communications with
                                                                                                                                                                                                                               NRA counsel.
218   Attorney-Client        Message         6/22/2018 12:15   Melanie Montgomery <Melanie-     "madrid.jay@dorsey.com"             Bill Winkler <bill-                      Re: Meeting with Brewer    Confidential communication between AMc employee
      Communications                                              Montgomery@am.com>            <madrid.jay@dorsey.com>            winkler@am.com>;                                                       and counsel at Dorsey & Whitney for purposes of
                                                                                                                             "betts.gina@dorsey.com"<betts.                                            obtaining legal advice regarding communications with
                                                                                                                                    gina@dorsey.com>                                                                           NRA counsel.
219                     Message_Attachment   6/22/2018 12:15                                                                                                                                            Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                           file). Not privileged.
220   Attorney-Client        Message         6/22/2018 12:15   Melanie Montgomery <Melanie-     "madrid.jay@dorsey.com"             Bill Winkler <bill-                      Re: Meeting with Brewer    Confidential communication between AMc employee
      Communications                                              Montgomery@am.com>            <madrid.jay@dorsey.com>            winkler@am.com>;                                                       and counsel at Dorsey & Whitney for purposes of
                                                                                                                             "betts.gina@dorsey.com"<betts.                                            obtaining legal advice regarding communications with
                                                                                                                                    gina@dorsey.com>                                                                           NRA counsel.
221                     Message_Attachment   6/22/2018 12:15                                                                                                                                            Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                           file). Not privileged.




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                                                                                                                        AMC Second Amended Privilege Log


 #    Privilege Type        Record Type       Document Date               Email From                            Email To                      Email CC                 Email BCC         Email Subject                           Privilege Description
222   Attorney-Client         Message         6/23/2018 17:53     Melanie Montgomery <Melanie-                  Gina Betts                                                              Analytics Meeting       Confidential communication between AMc employee
      Communications                                                 Montgomery@am.com>               <betts.gina@dorsey.com>;                                                                                     and counsel at Dorsey & Whitney for purposes of
                                                                                                   "madrid.jay@dorsey.com"<madrid.j                                                                              obtaining legal advice regarding analytics and billing
                                                                                                            ay@dorsey.com>                                                                                                              practices.
223    Attorney-Client        Message         6/28/2018 12:45   Bill Winkler <bill-winkler@am.com>        "Gina Betts - Dorsey                                                     FW: Dave Valinski Deal Sheet Confidential communication between AMc employee
      Communications;                                                                                  (betts.gina@dorsey.com)"                                                                                    and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                   <betts.gina@dorsey.com>                                                                                  obtaining legal advice regarding contract negotiations
                                                                                                                                                                                                                with Dave Valinski and work product regarding same.
224    Attorney-Client        Message         6/28/2018 12:47        <betts.gina@dorsey.com>             <bill-winkler@am.com>                                                     RE: Dave Valinski Deal Sheet Confidential communication between AMc employee
      Communications;                                                                                                                                                                                              and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                                                                                                            obtaining legal advice regarding contract negotiations
                                                                                                                                                                                                                with Dave Valinski and work product regarding same.
225    Attorney-Client        Message         6/28/2018 12:47   Bill Winkler <bill-winkler@am.com>      "betts.gina@dorsey.com"                                                    RE: Dave Valinski Deal Sheet Confidential communication between AMc employee
      Communications;                                                                                   <betts.gina@dorsey.com>                                                                                    and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                                                                                                            obtaining legal advice regarding contract negotiations
                                                                                                                                                                                                                with Dave Valinski and work product regarding same.
226   Attorney-Client         Message         6/28/2018 15:56   Bill Winkler <bill-winkler@am.com>      "betts.gina@dorsey.com"                                                    RE: Dave Valinski Deal Sheet Confidential communication between AMc employee
      Communications                                                                                    <betts.gina@dorsey.com>                                                                                    and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                                obtaining legal advice regarding contract negotiations
                                                                                                                                                                                                                                  with Dave Valinski.
227   Attorney-Client         Message         6/28/2018 16:18        <betts.gina@dorsey.com>             <bill-winkler@am.com>                                                     RE: Dave Valinski Deal Sheet Confidential communication between AMc employee
      Communications                                                                                                                                                                                               and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                                obtaining legal advice regarding contract negotiations
                                                                                                                                                                                                                                  with Dave Valinski.
228   Attorney-Client         Message         6/28/2018 16:22   Bill Winkler <bill-winkler@am.com>      "betts.gina@dorsey.com"                                                    RE: Dave Valinski Deal Sheet Confidential communication between AMc employee
      Communications                                                                                    <betts.gina@dorsey.com>                                                                                    and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                                obtaining legal advice regarding contract negotiations
                                                                                                                                                                                                                                  with Dave Valinski.
229    Attorney-Client        Message         6/28/2018 17:36        <betts.gina@dorsey.com>             <bill-winkler@am.com>                                                           CONFIDENTIAL           Confidential communication between AMc employee
      Communications;                                                                                                                                                                                              and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                                                                                                            obtaining legal advice regarding contract negotiations
                                                                                                                                                                                                                with Dave Valinski and work product regarding same.
230    Attorney-Client   Message_Attachment   6/28/2018 17:36                                                                                                                                                   Confidential communication between AMc employee
      Communications;                                                                                                                                                                                              and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                                                                                                            obtaining legal advice regarding contract negotiations
                                                                                                                                                                                                                with Dave Valinski and work product regarding same.
231   Attorney-Client         Message         7/2/2018 11:18        <madrid.jay@dorsey.com>                    <Melanie-               <betts.gina@dorsey.com>                     FW: On behalf of Jay Madrid Confidential communication between AMc employee
      Communications                                                                                 Montgomery@am.com>; <lacey-                                                                                   and counsel at Dorsey & Whitney for purposes of
                                                                                                           cremer@am.com>                                                                                       obtaining legal advice regarding document requests by
                                                                                                                                                                                                                                          NRA.
232   Attorney-Client         Message         7/2/2018 11:23      "Lacey (Duffy) Cremer" <lacey-        "madrid.jay@dorsey.com"        "betts.gina@dorsey.com"                      Re: On behalf of Jay Madrid Confidential communication between AMc employee
      Communications                                                    cremer@am.com>                 <madrid.jay@dorsey.com>;        <betts.gina@dorsey.com>                                                     and counsel at Dorsey & Whitney for purposes of
                                                                                                      Melanie Montgomery<Melanie-                                                                                  obtaining legal advice regarding NRA request for
                                                                                                       Montgomery@am.com>; Bill                                                                                   documents and communications with NRA counsel.
                                                                                                      Winkler <bill-winkler@am.com>
233    Attorney-Client        Message         7/13/2018 15:14       <madrid.jay@dorsey.com>           <Revan-McQueen@am.com>;       <lacey-cremer@am.com>; <bill-                    FW: Letter to Brewer.pdf      Confidential communication between AMc employee
      Communications;                                                                                <Melanie-Montgomery@am.com>          winkler@am.com>;                                                          and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                                   <betts.gina@dorsey.com>                                                      obtaining legal advice regarding NRA request for
                                                                                                                                                                                                                  documents, and work product created in anticipation of
                                                                                                                                                                                                                                        litigation.




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 #     Privilege Type       Record Type       Document Date             Email From                        Email To                      Email CC                 Email BCC         Email Subject                          Privilege Description
234    Attorney-Client   Message_Attachment   7/13/2018 15:14                                                                                                                                              Confidential communication between AMc employee
      Communications;                                                                                                                                                                                       and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                                                                                                        obtaining legal advice regarding NRA request for
                                                                                                                                                                                                          documents, and work product created in anticipation of
                                                                                                                                                                                                                                litigation.
235    Attorney-Client        Message         7/13/2018 15:51   Melanie Montgomery <Melanie-      "madrid.jay@dorsey.com"     "Lacey (Duffy) Cremer" <lacey-                   Re: Letter to Brewer.pdf    Confidential communication between AMc employee
      Communications;                                              Montgomery@am.com>          <madrid.jay@dorsey.com>; Revan     cremer@am.com>; Bill                                                      and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                  McQueen<Revan-                    Winkler<bill-                                                       obtaining legal advice regarding NRA request for
                                                                                                     McQueen@am.com>                winkler@am.com>;                                                      documents, and work product created in anticipation of
                                                                                                                                 "betts.gina@dorsey.com"                                                                        litigation.
                                                                                                                                 <betts.gina@dorsey.com>
236    Attorney-Client        Message         7/13/2018 15:51   Melanie Montgomery <Melanie-      "madrid.jay@dorsey.com"     "Lacey (Duffy) Cremer" <lacey-                   Re: Letter to Brewer.pdf    Confidential communication between AMc employee
      Communications;                                              Montgomery@am.com>          <madrid.jay@dorsey.com>; Revan     cremer@am.com>; Bill                                                      and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                  McQueen<Revan-                    Winkler<bill-                                                       obtaining legal advice regarding NRA request for
                                                                                                     McQueen@am.com>                winkler@am.com>;                                                      documents, and work product created in anticipation of
                                                                                                                                 "betts.gina@dorsey.com"                                                                        litigation.
                                                                                                                                 <betts.gina@dorsey.com>
237    Attorney-Client        Message         7/13/2018 15:55     <madrid.jay@dorsey.com>                 <Melanie-           <lacey-cremer@am.com>; <bill-                   RE: Letter to Brewer.pdf     Confidential communication between AMc employee
      Communications;                                                                          Montgomery@am.com>; <Revan-          winkler@am.com>;                                                        and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                 McQueen@am.com>             <betts.gina@dorsey.com>                                                    obtaining legal advice regarding NRA request for
                                                                                                                                                                                                          documents, and work product created in anticipation of
                                                                                                                                                                                                                                litigation.
238    Attorney-Client        Message         7/13/2018 16:40     <madrid.jay@dorsey.com>               <Melanie-          <lacey-cremer@am.com>; <bill-                      RE: Letter to Brewer.pdf     Confidential communication between AMc employee
      Communications;                                                                          Montgomery@am.com>; <Revan-       winkler@am.com>;                                                           and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                McQueen@am.com>           <betts.gina@dorsey.com>                                                       obtaining legal advice regarding NRA request for
                                                                                                                                                                                                          documents, and work product created in anticipation of
                                                                                                                                                                                                                                litigation.
239    Attorney-Client        Message         7/13/2018 17:00   Melanie Montgomery <Melanie-      "madrid.jay@dorsey.com"         Revan McQueen <Revan-                        Re: Letter to Brewer.pdf    Confidential communication between AMc employee
      Communications;                                              Montgomery@am.com>             <madrid.jay@dorsey.com>       McQueen@am.com>; "Lacey                                                     and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                               (Duffy) Cremer"<lacey-                                                   obtaining legal advice regarding NRA request for
                                                                                                                               cremer@am.com>; Bill Winkler                                               documents, and work product created in anticipation of
                                                                                                                                  <bill-winkler@am.com>;                                                                        litigation.
                                                                                                                                  "betts.gina@dorsey.com"
                                                                                                                                  <betts.gina@dorsey.com>
240                      Message_Attachment   7/13/2018 17:00                                                                                                                                              Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                           file). Not privileged.
241                      Message_Attachment   7/13/2018 17:00                                                                                                                                              Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                           file). Not privileged.
242    Attorney-Client        Message         7/13/2018 17:03     <madrid.jay@dorsey.com>      <Melanie-Montgomery@am.com> <Revan-McQueen@am.com>;                            RE: Letter to Brewer.pdf     Confidential communication between AMc employee
      Communications;                                                                                                      <lacey-cremer@am.com>; <bill-                                                    and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                             winkler@am.com>;                                                           obtaining legal advice regarding NRA request for
                                                                                                                              <betts.gina@dorsey.com>                                                     documents, and work product created in anticipation of
                                                                                                                                                                                                                                  litigation.
243    Attorney-Client        Message         7/13/2018 17:22     <madrid.jay@dorsey.com>       <Revan-McQueen@am.com>;          <lacey-cremer@am.com>;                       FW: Letter to Brewer.pdf     Confidential communication between AMc employee
      Communications;                                                                                    <Melanie-               <betts.gina@dorsey.com>                                                    and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                            Montgomery@am.com>; <bill-                                                                                  obtaining legal advice regarding NRA request for
                                                                                                     winkler@am.com>                                                                                      documents, and work product created in anticipation of
                                                                                                                                                                                                                                  litigation.




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 #     Privilege Type       Record Type       Document Date             Email From                        Email To                       Email CC                 Email BCC          Email Subject                          Privilege Description
244    Attorney-Client   Message_Attachment   7/13/2018 17:22                                                                                                                                                Confidential communication between AMc employee
      Communications;                                                                                                                                                                                         and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                                                                                                          obtaining legal advice regarding NRA request for
                                                                                                                                                                                                            documents, and work product created in anticipation of
                                                                                                                                                                                                                                  litigation.
245   Attorney-Client         Message         7/13/2018 17:24   Melanie Montgomery <Melanie-      "madrid.jay@dorsey.com"          Revan McQueen <Revan-                        Re: Letter to Brewer.pdf     Confidential communication between AMc employee
      Communications                                               Montgomery@am.com>             <madrid.jay@dorsey.com>        McQueen@am.com>; "Lacey                                                      and counsel at Dorsey & Whitney for purposes of
                                                                                                                                    (Duffy) Cremer"<lacey-                                                    obtaining legal advice regarding NRA request for
                                                                                                                                cremer@am.com>; Bill Winkler                                                                     documents.
                                                                                                                                   <bill-winkler@am.com>;
                                                                                                                                   "betts.gina@dorsey.com"
                                                                                                                                   <betts.gina@dorsey.com>
246                      Message_Attachment   7/13/2018 17:24                                                                                                                                               Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                            file). Not privileged.
247                      Message_Attachment   7/13/2018 17:24                                                                                                                                               Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                            file). Not privileged.
248   Attorney-Client         Message         7/16/2018 10:59   Melanie Montgomery <Melanie-      "madrid.jay@dorsey.com"       "Lacey (Duffy) Cremer" <lacey-                  Re: Letter to Brewer.pdf    Confidential communication between AMc employee
      Communications                                               Montgomery@am.com>          <madrid.jay@dorsey.com>; Revan         cremer@am.com>;                                                        and counsel at Dorsey & Whitney for purposes of
                                                                                                      McQueen<Revan-            "betts.gina@dorsey.com"<betts.                                               obtaining legal advice regarding NRA request for
                                                                                               McQueen@am.com>; Bill Winkler           gina@dorsey.com>                                                                           documents.
                                                                                                   <bill-winkler@am.com>
249   Attorney-Client         Message         7/16/2018 10:59   Melanie Montgomery <Melanie-      "madrid.jay@dorsey.com"       "Lacey (Duffy) Cremer" <lacey-                  Re: Letter to Brewer.pdf    Confidential communication between AMc employee
      Communications                                               Montgomery@am.com>          <madrid.jay@dorsey.com>; Revan         cremer@am.com>;                                                        and counsel at Dorsey & Whitney for purposes of
                                                                                                      McQueen<Revan-            "betts.gina@dorsey.com"<betts.                                               obtaining legal advice regarding NRA request for
                                                                                               McQueen@am.com>; Bill Winkler           gina@dorsey.com>                                                                         documents.
                                                                                                   <bill-winkler@am.com>
250   Attorney-Client         Message         7/16/2018 12:42     <madrid.jay@dorsey.com>                 <Melanie-               <lacey-cremer@am.com>;                        RE: Letter to Brewer.pdf    Confidential communication between AMc employee
      Communications                                                                           Montgomery@am.com>; <Revan-        <betts.gina@dorsey.com>                                                    and counsel at Dorsey & Whitney for purposes of
                                                                                                  McQueen@am.com>; <bill-                                                                                    obtaining legal advice regarding NRA request for
                                                                                                      winkler@am.com>                                                                                                           documents.
251   Attorney-Client         Message         7/16/2018 12:47   Melanie Montgomery <Melanie-      "madrid.jay@dorsey.com"       "Lacey (Duffy) Cremer" <lacey-                  Re: Letter to Brewer.pdf    Confidential communication between AMc employee
      Communications                                               Montgomery@am.com>          <madrid.jay@dorsey.com>; Revan         cremer@am.com>;                                                        and counsel at Dorsey & Whitney for purposes of
                                                                                                      McQueen<Revan-            "betts.gina@dorsey.com"<betts.                                               obtaining legal advice regarding NRA request for
                                                                                               McQueen@am.com>; Bill Winkler           gina@dorsey.com>                                                                         documents.
                                                                                                   <bill-winkler@am.com>
252   Attorney-Client         Message         7/16/2018 12:47   Melanie Montgomery <Melanie-      "madrid.jay@dorsey.com"       "Lacey (Duffy) Cremer" <lacey-                  Re: Letter to Brewer.pdf    Confidential communication between AMc employee
      Communications                                               Montgomery@am.com>          <madrid.jay@dorsey.com>; Revan         cremer@am.com>;                                                        and counsel at Dorsey & Whitney for purposes of
                                                                                                      McQueen<Revan-            "betts.gina@dorsey.com"<betts.                                               obtaining legal advice regarding NRA request for
                                                                                               McQueen@am.com>; Bill Winkler           gina@dorsey.com>                                                                         documents.
                                                                                                   <bill-winkler@am.com>
253   Attorney-Client         Message         7/17/2018 18:21     <madrid.jay@dorsey.com>        <Revan-McQueen@am.com>           <bill-winkler@am.com>;                            FW: Answer &            Confidential communication between AMc employee
      Communications                                                                                                                      <Melanie-                                Counterclaim.pdf           and counsel at Dorsey & Whitney for purposes of
                                                                                                                                  Montgomery@am.com>;                                                         obtaining legal advice regarding NRA request for
                                                                                                                                  <betts.gina@dorsey.com>                                                        documents and Lockton/CarryGuard matter.
254                      Message_Attachment   7/17/2018 18:21                                                                                                                                               Answer and Counterclaim in Lockton Matter. Attached
                                                                                                                                                                                                                  to privileged email and publicly available.
255   Attorney-Client         Message         7/24/2018 12:18    Brandon Winkler <Brandon-         "betts.gina@dorsey.com"            Bill Winkler <bill-                      FW: Dave Valinski Contract   Confidential communication between AMc employee
      Communications                                                 Winkler@am.com>               <betts.gina@dorsey.com>        winkler@am.com>; Nader                                                      and counsel at Dorsey & Whitney for purposes of
                                                                                                                                       Tavangar <nader-                                                     obtaining legal advice regarding contract negotiations
                                                                                                                                     tavangar@am.com>                                                                        with David Valinski.




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 #    Privilege Type        Record Type       Document Date             Email From                       Email To                      Email CC                 Email BCC          Email Subject                            Privilege Description
256   Attorney-Client    Message_Attachment   7/24/2018 12:18                                                                                                                                               Confidential communication between AMc employee
      Communications                                                                                                                                                                                          and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                            obtaining legal advice regarding contract negotiations
                                                                                                                                                                                                                             with David Valinski.
257   Attorney-Client         Message         7/24/2018 12:18    Brandon Winkler <Brandon-        "betts.gina@dorsey.com"           Bill Winkler <bill-                      FW: Dave Valinski Contract     Confidential communication between AMc employee
      Communications                                                 Winkler@am.com>              <betts.gina@dorsey.com>       winkler@am.com>; Nader                                                        and counsel at Dorsey & Whitney for purposes of
                                                                                                                                    Tavangar <nader-                                                        obtaining legal advice regarding contract negotiations
                                                                                                                                   tavangar@am.com>                                                                          with David Valinski.
258   Attorney-Client    Message_Attachment   7/24/2018 12:18                                                                                                                                               Confidential communication between AMc employee
      Communications                                                                                                                                                                                          and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                            obtaining legal advice regarding contract negotiations
                                                                                                                                                                                                                             with David Valinski.
259   Attorney-Client         Message         7/24/2018 14:43     <betts.gina@dorsey.com>       <Brandon-Winkler@am.com>                                                         Revised Agreement          Confidential communication between AMc employee
      Communications                                                                                                                                                                                          and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                            obtaining legal advice regarding contract negotiations
                                                                                                                                                                                                                             with Dave Valinkski.
260    Attorney-Client   Message_Attachment   7/24/2018 14:43                                                                                                               C:\Users\BARTON~1.CAS\App       Confidential communication between AMc employee
      Communications;                                                                                                                                                       Data\Local\Temp\Workshare\w       and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                                                                        mtemp3774\~wtf33FCCBE1.ps       obtaining legal advice regarding contract negotiations
                                                                                                                                                                                                                             with Dave Valinkski.
261   Attorney-Client    Message_Attachment   7/24/2018 14:43                                                                                                                                               Confidential communication between AMc employee
      Communications                                                                                                                                                                                          and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                            obtaining legal advice regarding contract negotiations
                                                                                                                                                                                                                             with Dave Valinkski.
262    Attorney-Client        Message         7/27/2018 11:17     <madrid.jay@dorsey.com>       <Revan-McQueen@am.com>;         <bill-winkler@am.com>;                       FW: On behalf of Jay Madrid    Confidential communication between AMc employee
      Communications;                                                                          <Melanie-Montgomery@am.com>      <betts.gina@dorsey.com>                                                       and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                                                                                                          obtaining legal advice regarding NRA request for
                                                                                                                                                                                                           documents, and work product created in anticipation of
                                                                                                                                                                                                                                  litigation.
263   Attorney-Client         Message         8/1/2018 12:46    Melanie Montgomery <Melanie-     "madrid.jay@dorsey.com"                                                      FW: The Trace -- re: NY       Confidential communication between AMc employee
      Communications                                               Montgomery@am.com>            <madrid.jay@dorsey.com>                                                           lawsuit issues             and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                             obtaining legal advice regarding media inquiries to
                                                                                                                                                                                                                                     AMc.
264    Attorney-Client        Message         8/6/2018 15:04      <madrid.jay@dorsey.com>       <Revan-McQueen@am.com>                 <Melanie-                                FW: Letter to Brewer        Confidential communication between AMc employee
      Communications;                                                                                                         Montgomery@am.com>; <bill-                                                      and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                              winkler@am.com>;                                                            obtaining legal advice regarding NRA request for
                                                                                                                               <betts.gina@dorsey.com>                                                     documents, and work product created in anticipation of
                                                                                                                                                                                                                                  litigation.
265    Attorney-Client   Message_Attachment   8/6/2018 15:04                                                                                                                                                Confidential communication between AMc employee
      Communications;                                                                                                                                                                                         and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                                                                                                          obtaining legal advice regarding NRA request for
                                                                                                                                                                                                           documents, and work product created in anticipation of
                                                                                                                                                                                                                                  litigation.
266    Attorney-Client        Message         8/6/2018 17:10      <madrid.jay@dorsey.com>       <Revan-McQueen@am.com>;         <bill-winkler@am.com>;                          FW: Letter to Brewer        Confidential communication between AMc employee
      Communications;                                                                          <Melanie-Montgomery@am.com>      <betts.gina@dorsey.com>                                                       and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                                                                                                          obtaining legal advice regarding NRA request for
                                                                                                                                                                                                           documents, and work product created in anticipation of
                                                                                                                                                                                                                                  litigation.




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 #     Privilege Type       Record Type       Document Date            Email From                       Email To                      Email CC                Email BCC          Email Subject                          Privilege Description
267    Attorney-Client   Message_Attachment   8/6/2018 17:10                                                                                                                                            Confidential communication between AMc employee
      Communications;                                                                                                                                                                                     and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                                                                                                      obtaining legal advice regarding NRA request for
                                                                                                                                                                                                       documents, and work product created in anticipation of
                                                                                                                                                                                                                              litigation.
268    Attorney-Client        Message         8/6/2018 17:19     <madrid.jay@dorsey.com>       <Revan-McQueen@am.com>;          <bill-winkler@am.com>                     FW: Updated Letter to Brewer Confidential communication between AMc employee
      Communications;                                                                         <Melanie-Montgomery@am.com>                                                                                 and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                                                                                                      obtaining legal advice regarding NRA request for
                                                                                                                                                                                                       documents, and work product created in anticipation of
                                                                                                                                                                                                                              litigation.
269    Attorney-Client   Message_Attachment   8/6/2018 17:19                                                                                                                                            Confidential communication between AMc employee
      Communications;                                                                                                                                                                                     and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                                                                                                      obtaining legal advice regarding NRA request for
                                                                                                                                                                                                       documents, and work product created in anticipation of
                                                                                                                                                                                                                              litigation.
270    Attorney-Client        Message         8/6/2018 18:19     <madrid.jay@dorsey.com>       <Revan-McQueen@am.com>;                                                        FW: Revised Letter        Confidential communication between AMc employee
      Communications;                                                                         <Melanie-Montgomery@am.com>                                                                                 and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                                                                                                     obtaining legal advice regarding correspondence to
                                                                                                                                                                                                       NRA counsel, and work product created in anticipation
                                                                                                                                                                                                                             of litigation.
271    Attorney-Client   Message_Attachment   8/6/2018 18:19                                                                                                                                            Confidential communication between AMc employee
      Communications;                                                                                                                                                                                     and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                                                                                                     obtaining legal advice regarding correspondence to
                                                                                                                                                                                                       NRA counsel, and work product created in anticipation
                                                                                                                                                                                                                             of litigation.
272    Attorney-Client        Message         8/7/2018 11:16   Melanie Montgomery <Melanie-      "madrid.jay@dorsey.com"                                                      Re: Revised Letter        Confidential communication between AMc employee
      Communications;                                             Montgomery@am.com>          <madrid.jay@dorsey.com>; Revan                                                                              and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                 McQueen<Revan-                                                                                      obtaining legal advice regarding correspondence to
                                                                                                    McQueen@am.com>                                                                                    NRA counsel, and work product created in anticipation
                                                                                                                                                                                                                             of litigation.
273    Attorney-Client   Message_Attachment   8/7/2018 11:16                                                                                                                                            Confidential communication between AMc employee
      Communications;                                                                                                                                                                                     and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                                                                                                     obtaining legal advice regarding correspondence to
                                                                                                                                                                                                       NRA counsel, and work product created in anticipation
                                                                                                                                                                                                                             of litigation.
274    Attorney-Client        Message         8/7/2018 11:16   Melanie Montgomery <Melanie-      "madrid.jay@dorsey.com"                                                      Re: Revised Letter        Confidential communication between AMc employee
      Communications;                                             Montgomery@am.com>          <madrid.jay@dorsey.com>; Revan                                                                              and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                 McQueen<Revan-                                                                                      obtaining legal advice regarding correspondence to
                                                                                                    McQueen@am.com>                                                                                    NRA counsel, and work product created in anticipation
                                                                                                                                                                                                                             of litigation.
275    Attorney-Client   Message_Attachment   8/7/2018 11:16                                                                                                                                            Confidential communication between AMc employee
      Communications;                                                                                                                                                                                     and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                                                                                                     obtaining legal advice regarding correspondence to
                                                                                                                                                                                                       NRA counsel, and work product created in anticipation
                                                                                                                                                                                                                             of litigation.
276   Attorney-Client         Message         8/7/2018 13:26     <betts.gina@dorsey.com>      <Melanie-Montgomery@am.com>                                                            RE:                Confidential communication between AMc employee
      Communications                                                                                                                                                                                      and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                          obtaining legal advice regarding NRA request for
                                                                                                                                                                                                                             documents.




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                                                                                                                                                                                                                                          APP. 01131
                                                      Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21                                                     Page 375 of 1087 PageID 30580
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 #     Privilege Type       Record Type       Document Date              Email From                           Email To                      Email CC                Email BCC          Email Subject                            Privilege Description
277    Attorney-Client        Message         8/7/2018 13:39       <madrid.jay@dorsey.com>           <Revan-McQueen@am.com>;                                                         FW: Letter to Brewer       Confidential communication between AMc employee
      Communications;                                                                               <Melanie-Montgomery@am.com>                                                                                   and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                                                                                                             obtaining legal advice regarding correspondence to
                                                                                                                                                                                                               NRA counsel, and work product created in anticipation
                                                                                                                                                                                                                                      of litigation.
278    Attorney-Client   Message_Attachment   8/7/2018 13:39                                                                                                                                                    Confidential communication between AMc employee
      Communications;                                                                                                                                                                                             and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                                                                                                             obtaining legal advice regarding correspondence to
                                                                                                                                                                                                               NRA counsel, and work product created in anticipation
                                                                                                                                                                                                                                      of litigation.
279   Attorney-Client         Message         8/7/2018 14:10     Melanie Montgomery <Melanie-         "madrid.jay@dorsey.com"        Revan McQueen <Revan-                           Re: Letter to Brewer      Confidential communication between AMc employee
      Communications                                                Montgomery@am.com>                <madrid.jay@dorsey.com>       McQueen@am.com>; Gina                                                         and counsel at Dorsey & Whitney for purposes of
                                                                                                                                   Betts <betts.gina@dorsey.com>                                                 obtaining legal advice regarding correspondence to
                                                                                                                                                                                                                                     NRA counsel.
280                      Message_Attachment   8/7/2018 14:10                                                                                                                                                    Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                 file). Not privileged.
281   Attorney-Client         Message         8/7/2018 14:10     Melanie Montgomery <Melanie-         "madrid.jay@dorsey.com"        Revan McQueen <Revan-                           Re: Letter to Brewer      Confidential communication between AMc employee
      Communications                                                Montgomery@am.com>                <madrid.jay@dorsey.com>       McQueen@am.com>; Gina                                                         and counsel at Dorsey & Whitney for purposes of
                                                                                                                                   Betts <betts.gina@dorsey.com>                                                 obtaining legal advice regarding correspondence to
                                                                                                                                                                                                                                     NRA counsel.
282                      Message_Attachment   8/7/2018 14:10                                                                                                                                                    Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                 file). Not privileged.
283   Attorney-Client         Message         8/8/2018 16:09   Bill Winkler <bill-winkler@am.com>        "Gina Betts - Dorsey       Brandon Winkler <Brandon-                     FW: 2018.08.07 WP Ltr to     Confidential communication between AMc employee
      Communications                                                                                  (betts.gina@dorsey.com)"      Winkler@am.com>; Melanie                       AMc Requesting Books,          and counsel at Dorsey & Whitney for purposes of
                                                                                                      <betts.gina@dorsey.com>;        Montgomery<Melanie-                              Records.docx               obtaining legal advice regarding NRA document
                                                                                                      "madrid.jay@dorsey.com"         Montgomery@am.com>                                                                                requests.
                                                                                                      <madrid.jay@dorsey.com>
284                      Message_Attachment   8/8/2018 16:09                                                                                                                                                    Automated text file attached to privileged email. Not
                                                                                                                                                                                                                                       privileged.
285                      Message_Attachment   8/8/2018 16:09                                                                                                                                                   Draft letter from NRA to AMc, dated 8/7/18. Attached
                                                                                                                                                                                                                          to privileged email. Not privileged.
286   Attorney-Client         Message         8/8/2018 16:09   Bill Winkler <bill-winkler@am.com>        "Gina Betts - Dorsey       Brandon Winkler <Brandon-                     FW: 2018.08.07 WP Ltr to     Confidential communication between AMc employee
      Communications                                                                                  (betts.gina@dorsey.com)"      Winkler@am.com>; Melanie                       AMc Requesting Books,         and counsel at Dorsey & Whitney for purposes of
                                                                                                      <betts.gina@dorsey.com>;        Montgomery<Melanie-                              Records.docx              obtaining legal advice regarding NRA document
                                                                                                      "madrid.jay@dorsey.com"         Montgomery@am.com>                                                                                requests.
                                                                                                      <madrid.jay@dorsey.com>
287                      Message_Attachment   8/8/2018 16:09                                                                                                                                                  Automated text file attached to privileged email. Not
                                                                                                                                                                                                                                     privileged.
288                      Message_Attachment   8/8/2018 16:09                                                                                                                                                 Draft letter from NRA to AMc, dated 8/7/18. Attached
                                                                                                                                                                                                                        to privileged email. Not privileged.
289    Attorney-Client        Message         8/8/2018 16:10   Bill Winkler <bill-winkler@am.com>        "Gina Betts - Dorsey       Brandon Winkler <Brandon-                    FW: 2018.08.07 WP Ltr to     Confidential communication between AMc employee
      Communications;                                                                                 (betts.gina@dorsey.com)"      Winkler@am.com>; Melanie                    AMc Contract Compliance.docx   and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                  <betts.gina@dorsey.com>;         Montgomery<Melanie-                                                     obtaining legal advice regarding NRA request for
                                                                                                      "madrid.jay@dorsey.com"        Montgomery@am.com>;                                                     documents, and work product created in anticipation of
                                                                                                      <madrid.jay@dorsey.com>      "Lacey (Duffy) Cremer" <lacey-                                                                    litigation.
                                                                                                                                         cremer@am.com>
290    Attorney-Client   Message_Attachment   8/8/2018 16:10                                                                                                                                                    Confidential communication between AMc employee
      Communications;                                                                                                                                                                                            and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                                                                                                             obtaining legal advice regarding NRA request for
                                                                                                                                                                                                               documents, and work product created in anticipation of
                                                                                                                                                                                                                                     litigation.



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                                                      Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21                                                   Page 376 of 1087 PageID 30581
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 #     Privilege Type       Record Type       Document Date               Email From                       Email To                       Email CC                Email BCC           Email Subject                        Privilege Description
291    Attorney-Client   Message_Attachment   8/8/2018 16:10                                                                                                                                                Confidential communication between AMc employee
      Communications;                                                                                                                                                                                        and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                                                                                                         obtaining legal advice regarding NRA request for
                                                                                                                                                                                                           documents, and work product created in anticipation of
                                                                                                                                                                                                                                 litigation.
292    Attorney-Client        Message         8/8/2018 16:10   Bill Winkler <bill-winkler@am.com>      "Gina Betts - Dorsey       Brandon Winkler <Brandon-                    FW: 2018.08.07 WP Ltr to     Confidential communication between AMc employee
      Communications;                                                                               (betts.gina@dorsey.com)"      Winkler@am.com>; Melanie                    AMc Contract Compliance.docx   and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                <betts.gina@dorsey.com>;         Montgomery<Melanie-                                                     obtaining legal advice regarding NRA request for
                                                                                                    "madrid.jay@dorsey.com"        Montgomery@am.com>;                                                     documents, and work product created in anticipation of
                                                                                                    <madrid.jay@dorsey.com>      "Lacey (Duffy) Cremer" <lacey-                                                                  litigation.
                                                                                                                                       cremer@am.com>
293    Attorney-Client   Message_Attachment   8/8/2018 16:10                                                                                                                                                Confidential communication between AMc employee
      Communications;                                                                                                                                                                                        and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                                                                                                         obtaining legal advice regarding NRA request for
                                                                                                                                                                                                           documents, and work product created in anticipation of
                                                                                                                                                                                                                                 litigation.
294    Attorney-Client   Message_Attachment   8/8/2018 16:10                                                                                                                                                Confidential communication between AMc employee
      Communications;                                                                                                                                                                                        and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                                                                                                         obtaining legal advice regarding NRA request for
                                                                                                                                                                                                           documents, and work product created in anticipation of
                                                                                                                                                                                                                                 litigation.
295    Attorney-Client        Message         8/8/2018 16:28       <madrid.jay@dorsey.com>           <bill-winkler@am.com>         <betts.gina@dorsey.com>;                   Re: 2018.08.07 WP Ltr to AMc Confidential communication between AMc employee
      Communications;                                                                                                            <Brandon-Winkler@am.com>;                      Contract Compliance.docx     and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                                        <Melanie-                                                        obtaining legal advice regarding NRA request for
                                                                                                                                    Montgomery@am.com>;                                                    documents, and work product created in anticipation of
                                                                                                                                    <lacey-cremer@am.com>                                                                        litigation.
296    Attorney-Client   Message_Attachment   8/8/2018 16:28                                                                                                                                                Confidential communication between AMc employee
      Communications;                                                                                                                                                                                        and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                                                                                                         obtaining legal advice regarding NRA request for
                                                                                                                                                                                                           documents, and work product created in anticipation of
                                                                                                                                                                                                                                 litigation.
297    Attorney-Client        Message         8/8/2018 16:36   Bill Winkler <bill-winkler@am.com>   "madrid.jay@dorsey.com"         "betts.gina@dorsey.com"                   RE: 2018.08.07 WP Ltr to AMc Confidential communication between AMc employee
      Communications;                                                                               <madrid.jay@dorsey.com>        <betts.gina@dorsey.com>;                     Contract Compliance.docx     and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                               Brandon Winkler<Brandon-                                                  obtaining legal advice regarding NRA request for
                                                                                                                                  Winkler@am.com>; Melanie                                                 documents, and work product created in anticipation of
                                                                                                                                     Montgomery <Melanie-                                                                        litigation.
                                                                                                                                    Montgomery@am.com>;
                                                                                                                                 "Lacey (Duffy) Cremer" <lacey-
                                                                                                                                       cremer@am.com>
298    Attorney-Client        Message         8/8/2018 16:36   Bill Winkler <bill-winkler@am.com>   "madrid.jay@dorsey.com"         "betts.gina@dorsey.com"                   RE: 2018.08.07 WP Ltr to AMc    Confidential communication between AMc employee
      Communications;                                                                               <madrid.jay@dorsey.com>        <betts.gina@dorsey.com>;                     Contract Compliance.docx       and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                               Brandon Winkler<Brandon-                                                    obtaining legal advice regarding NRA request for
                                                                                                                                  Winkler@am.com>; Melanie                                                   documents, and work product created in anticipation of
                                                                                                                                     Montgomery <Melanie-                                                                          litigation.
                                                                                                                                    Montgomery@am.com>;
                                                                                                                                 "Lacey (Duffy) Cremer" <lacey-
                                                                                                                                       cremer@am.com>




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 #     Privilege Type       Record Type       Document Date            Email From                          Email To                      Email CC               Email BCC           Email Subject                          Privilege Description
299    Attorney-Client        Message         8/8/2018 16:37   Melanie Montgomery <Melanie-           Bill Winkler <bill-        "betts.gina@dorsey.com"                    Re: 2018.08.07 WP Ltr to AMc    Confidential communication between AMc employee
      Communications;                                             Montgomery@am.com>                 winkler@am.com>;           <betts.gina@dorsey.com>;                      Contract Compliance.docx       and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                          "madrid.jay@dorsey.com"<madrid.j Brandon Winkler<Brandon-                                                      obtaining legal advice regarding NRA request for
                                                                                                       ay@dorsey.com>          Winkler@am.com>; "Lacey                                                     documents, and work product created in anticipation of
                                                                                                                                  (Duffy) Cremer" <lacey-                                                                        litigation.
                                                                                                                                    cremer@am.com>
300    Attorney-Client        Message         8/8/2018 16:37   Melanie Montgomery <Melanie-           Bill Winkler <bill-        "betts.gina@dorsey.com"                    Re: 2018.08.07 WP Ltr to AMc    Confidential communication between AMc employee
      Communications;                                             Montgomery@am.com>                 winkler@am.com>;           <betts.gina@dorsey.com>;                      Contract Compliance.docx       and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                          "madrid.jay@dorsey.com"<madrid.j Brandon Winkler<Brandon-                                                      obtaining legal advice regarding NRA request for
                                                                                                       ay@dorsey.com>          Winkler@am.com>; "Lacey                                                     documents, and work product created in anticipation of
                                                                                                                                  (Duffy) Cremer" <lacey-                                                                        litigation.
                                                                                                                                    cremer@am.com>
301    Attorney-Client        Message         8/8/2018 16:56     <madrid.jay@dorsey.com>          <bill-winkler@am.com>         <betts.gina@dorsey.com>;                    Re: 2018.08.07 WP Ltr to AMc  Confidential communication between AMc employee
      Communications;                                                                                                         <Brandon-Winkler@am.com>;                       Contract Compliance.docx      and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                                     <Melanie-                                                          obtaining legal advice regarding NRA request for
                                                                                                                                 Montgomery@am.com>;                                                     documents, and work product created in anticipation of
                                                                                                                                 <lacey-cremer@am.com>                                                                          litigation.
302    Attorney-Client   Message_Attachment   8/8/2018 16:56                                                                                                                                              Confidential communication between AMc employee
      Communications;                                                                                                                                                                                       and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                                                                                                        obtaining legal advice regarding NRA request for
                                                                                                                                                                                                         documents, and work product created in anticipation of
                                                                                                                                                                                                                                litigation.
303    Attorney-Client   Message_Attachment   8/8/2018 16:56                                                                                                                                              Confidential communication between AMc employee
      Communications;                                                                                                                                                                                       and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                                                                                                        obtaining legal advice regarding NRA request for
                                                                                                                                                                                                         documents, and work product created in anticipation of
                                                                                                                                                                                                                                litigation.
304    Attorney-Client        Message         8/8/2018 19:02     <betts.gina@dorsey.com>          <bill-winkler@am.com>           <madrid.jay@dorsey.com>;                  Re: 2018.08.07 WP Ltr to AMc Confidential communication between AMc employee
      Communications;                                                                                                            <Brandon-Winkler@am.com>;                    Contract Compliance.docx      and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                                      <Melanie-                                                         obtaining legal advice regarding NRA request for
                                                                                                                                   Montgomery@am.com>;                                                   documents, and work product created in anticipation of
                                                                                                                                   <lacey-cremer@am.com>                                                                        litigation.
305    Attorney-Client   Message_Attachment   8/8/2018 19:02                                                                                                                                              Confidential communication between AMc employee
      Communications;                                                                                                                                                                                       and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                                                                                                        obtaining legal advice regarding NRA request for
                                                                                                                                                                                                         documents, and work product created in anticipation of
                                                                                                                                                                                                                                litigation.
306    Attorney-Client   Message_Attachment   8/8/2018 19:02                                                                                                                                              Confidential communication between AMc employee
      Communications;                                                                                                                                                                                       and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                                                                                                        obtaining legal advice regarding NRA request for
                                                                                                                                                                                                         documents, and work product created in anticipation of
                                                                                                                                                                                                                                litigation.
307   Attorney-Client         Message         8/8/2018 19:04   Melanie Montgomery <Melanie-       "betts.gina@dorsey.com"                                                   Re: 2018.08.07 WP Ltr to AMc Confidential communication between AMc employee
      Communications                                              Montgomery@am.com>              <betts.gina@dorsey.com>                                                     Contract Compliance.docx      and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                           obtaining legal advice regarding correspondence to
                                                                                                                                                                                                                              NRA counsel.
308    Attorney-Client        Message         8/8/2018 21:43   Melanie Montgomery <Melanie-               Gina Betts              Revan McQueen <Revan-                         Conversation Summary      Confidential communication between AMc employee
      Communications;                                             Montgomery@am.com>              <betts.gina@dorsey.com>         McQueen@am.com>; Bill                                                     and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                                   Winkler <bill-                                                       obtaining legal advice regarding NRA request for
                                                                                                                                    winkler@am.com>                                                      documents, and work product created in anticipation of
                                                                                                                                                                                                                                litigation.



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                                                           Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21                                                   Page 378 of 1087 PageID 30583
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 #      Privilege Type          Record Type       Document Date               Email From                          Email To                     Email CC                Email BCC         Email Subject                          Privilege Description
309     Attorney-Client           Message         8/8/2018 21:43      Melanie Montgomery <Melanie-                Gina Betts             Revan McQueen <Revan-                        Conversation Summary      Confidential communication between AMc employee
       Communications;                                                   Montgomery@am.com>               <betts.gina@dorsey.com>        McQueen@am.com>; Bill                                                    and counsel at Dorsey & Whitney for purposes of
         Work Product                                                                                                                         Winkler <bill-                                                      obtaining legal advice regarding NRA request for
                                                                                                                                           winkler@am.com>                                                     documents, and work product created in anticipation of
                                                                                                                                                                                                                                        litigation.
310   Forwarding Attorney-        Message          8/9/2018 9:21         Revan McQueen <Revan-            Angus McQueen <angus-                                                                                   AMc employee internally forwarding confidential
            Client                                                        McQueen@am.com>                   mcqueen@am.com>                                                                                    communication between AMc employee and counsel at
      Communications and                                                                                                                                                                                         Dorsey & Whitney for purposes of obtaining legal
         Work Product                                                                                                                                                                                            advice regarding pending audit, and work product
                                                                                                                                                                                                                         created in anticipation of litigation.
311   Forwarding Attorney-        Message         8/9/2018 11:33    Bill Winkler <bill-winkler@am.com>   Brandon Winkler <Brandon-                                                  FW: Conversation Summary      AMc employee internally forwarding confidential
            Client                                                                                           Winkler@am.com>                                                                                   communication between AMc employee and counsel at
      Communications and                                                                                                                                                                                         Dorsey & Whitney for purposes of obtaining legal
         Work Product                                                                                                                                                                                            advice regarding pending audit, and work product
                                                                                                                                                                                                                         created in anticipation of litigation.
312     Attorney-Client           Message         8/9/2018 20:50         Revan McQueen <Revan-            "betts.gina@dorsey.com"                                                             Re:               Confidential communication between AMc employee
        Communications                                                    McQueen@am.com>                 <betts.gina@dorsey.com>                                                                                 and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                                    obtaining legal advice regarding media leaks.
313     Attorney-Client           Message         8/9/2018 20:55         <betts.gina@dorsey.com>         <Revan-McQueen@am.com>                                                               Re:               Confidential communication between AMc employee
        Communications                                                                                                                                                                                            and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                                    obtaining legal advice regarding media leaks.
314                          Message_Attachment   8/9/2018 20:55                                                                                                                                                Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                 file). Not privileged.
315     Attorney-Client           Message         8/13/2018 10:01        Revan McQueen <Revan-            "betts.gina@dorsey.com"                                                            Letters            Confidential communication between AMc employee
        Communications                                                    McQueen@am.com>                 <betts.gina@dorsey.com>                                                                                 and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                                 obtaining legal advice regarding letters received by
                                                                                                                                                                                                                                   AMc from NRA.
316     Attorney-Client           Message         8/13/2018 10:04        <betts.gina@dorsey.com>         <Revan-McQueen@am.com>                                                            RE: Letters          Confidential communication between AMc employee
        Communications                                                                                                                                                                                            and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                                 obtaining legal advice regarding letters received by
                                                                                                                                                                                                                                   AMc from NRA.
317     Attorney-Client           Message         8/13/2018 10:05        Revan McQueen <Revan-            "betts.gina@dorsey.com"                                                          Re: Letters          Confidential communication between AMc employee
        Communications                                                    McQueen@am.com>                 <betts.gina@dorsey.com>                                                                                 and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                                 obtaining legal advice regarding letters received by
                                                                                                                                                                                                                                   AMc from NRA.
318                          Message_Attachment   8/13/2018 10:05                                                                                                                                               Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                 file). Not privileged.
319                          Message_Attachment   8/13/2018 10:05                                                                                                                                               Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                 file). Not privileged.
320     Attorney-Client           Message         8/13/2018 10:18        <betts.gina@dorsey.com>         <Revan-McQueen@am.com>                                                            RE: Letters          Confidential communication between AMc employee
        Communications                                                                                                                                                                                            and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                                 obtaining legal advice regarding letters received by
                                                                                                                                                                                                                                   AMc from NRA.
321     Attorney-Client           Message         8/13/2018 10:22        Revan McQueen <Revan-            "betts.gina@dorsey.com"                                                          Re: Letters          Confidential communication between AMc employee
        Communications                                                    McQueen@am.com>                 <betts.gina@dorsey.com>                                                                                 and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                                 obtaining legal advice regarding letters received by
                                                                                                                                                                                                                                   AMc from NRA.
322                          Message_Attachment   8/13/2018 10:22                                                                                                                                               Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                 file). Not privileged.
323                          Message_Attachment   8/13/2018 10:22                                                                                                                                               Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                 file). Not privileged.



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 #     Privilege Type       Record Type       Document Date               Email From                          Email To                      Email CC                Email BCC        Email Subject                            Privilege Description
324    Attorney-Client        Message         8/13/2018 14:18     Melanie Montgomery <Melanie-                Gina Betts             Revan McQueen <Revan-                       Response To W. Phillips       Confidential communication between AMc employee
      Communications;                                                Montgomery@am.com>               <betts.gina@dorsey.com>        McQueen@am.com>; Bill                        Procedures Document           and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                                       Winkler <bill-                                                       obtaining legal advice regarding NRA request for
                                                                                                                                    winkler@am.com>; Brandon                                                  documents, and work product created in anticipation of
                                                                                                                                        Winkler <Brandon-                                                                           litigation.
                                                                                                                                        Winkler@am.com>
325    Attorney-Client   Message_Attachment   8/13/2018 14:18                                                                                                                                                  Confidential communication between AMc employee
      Communications;                                                                                                                                                                                           and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                                                                                                            obtaining legal advice regarding NRA request for
                                                                                                                                                                                                              documents, and work product created in anticipation of
                                                                                                                                                                                                                                    litigation.
326    Attorney-Client   Message_Attachment   8/13/2018 14:18                                                                                                                                                  Confidential communication between AMc employee
      Communications;                                                                                                                                                                                           and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                                                                                                            obtaining legal advice regarding NRA request for
                                                                                                                                                                                                              documents, and work product created in anticipation of
                                                                                                                                                                                                                                    litigation.
327    Attorney-Client        Message         8/13/2018 16:27       <madrid.jay@dorsey.com>           <bill-winkler@am.com>        <Revan-McQueen@am.com>;                      FW: Letter to Wilson Phillips Confidential communication between AMc employee
      Communications;                                                                                                                <betts.gina@dorsey.com>                                                    and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                                                                                                            obtaining legal advice regarding NRA request for
                                                                                                                                                                                                              documents, and work product created in anticipation of
                                                                                                                                                                                                                                    litigation.
328    Attorney-Client   Message_Attachment   8/13/2018 16:27                                                                                                                                                  Confidential communication between AMc employee
      Communications;                                                                                                                                                                                           and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                                                                                                            obtaining legal advice regarding NRA request for
                                                                                                                                                                                                              documents, and work product created in anticipation of
                                                                                                                                                                                                                                    litigation.
329    Attorney-Client        Message         8/13/2018 16:34   Bill Winkler <bill-winkler@am.com>   Brandon Winkler <Brandon-                                                  FW: Letter to Wilson Phillips Confidential communication between AMc employee
      Communications;                                                                                    Winkler@am.com>                                                                                        and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                                                                                                            obtaining legal advice regarding NRA request for
                                                                                                                                                                                                              documents, and work product created in anticipation of
                                                                                                                                                                                                                                    litigation.
330    Attorney-Client   Message_Attachment   8/13/2018 16:34                                                                                                                                                  Confidential communication between AMc employee
      Communications;                                                                                                                                                                                           and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                                                                                                            obtaining legal advice regarding NRA request for
                                                                                                                                                                                                              documents, and work product created in anticipation of
                                                                                                                                                                                                                                    litigation.
331    Attorney-Client        Message         8/13/2018 17:38   Bill Winkler <bill-winkler@am.com>   "madrid.jay@dorsey.com"          Revan McQueen <Revan-                     RE: Letter to Wilson Phillips Confidential communication between AMc employee
      Communications;                                                                                <madrid.jay@dorsey.com>            McQueen@am.com>;                                                        and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                               "betts.gina@dorsey.com"<betts.                                               obtaining legal advice regarding NRA request for
                                                                                                                                          gina@dorsey.com>                                                    documents, and work product created in anticipation of
                                                                                                                                                                                                                                    litigation.
332    Attorney-Client        Message         8/13/2018 17:38   Bill Winkler <bill-winkler@am.com>   "madrid.jay@dorsey.com"          Revan McQueen <Revan-                     RE: Letter to Wilson Phillips Confidential communication between AMc employee
      Communications;                                                                                <madrid.jay@dorsey.com>            McQueen@am.com>;                                                        and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                               "betts.gina@dorsey.com"<betts.                                               obtaining legal advice regarding NRA request for
                                                                                                                                          gina@dorsey.com>                                                    documents, and work product created in anticipation of
                                                                                                                                                                                                                                    litigation.
333    Attorney-Client        Message         8/13/2018 17:45       <madrid.jay@dorsey.com>           <bill-winkler@am.com>        <Revan-McQueen@am.com>;                      RE: Letter to Wilson Phillips Confidential communication between AMc employee
      Communications;                                                                                                                <betts.gina@dorsey.com>                                                    and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                                                                                                            obtaining legal advice regarding NRA request for
                                                                                                                                                                                                              documents, and work product created in anticipation of
                                                                                                                                                                                                                                    litigation.



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 #      Privilege Type          Record Type       Document Date             Email From                     Email To                      Email CC             Email BCC       Email Subject                     Privilege Description
334     Attorney-Client           Message         8/14/2018 11:48     <madrid.jay@dorsey.com>       <bill-winkler@am.com>      <Revan-McQueen@am.com>;                         FW: Letter      Confidential communication between AMc employee
       Communications;                                                                                                           <betts.gina@dorsey.com>                                         and counsel at Dorsey & Whitney for purposes of
         Work Product                                                                                                                                                                            obtaining legal advice regarding NRA request for
                                                                                                                                                                                              documents, and work product created in anticipation of
                                                                                                                                                                                                                      litigation.
335     Attorney-Client      Message_Attachment   8/14/2018 11:48                                                                                                                              Confidential communication between AMc employee
       Communications;                                                                                                                                                                           and counsel at Dorsey & Whitney for purposes of
         Work Product                                                                                                                                                                            obtaining legal advice regarding NRA request for
                                                                                                                                                                                              documents, and work product created in anticipation of
                                                                                                                                                                                                                      litigation.
336     Attorney-Client      Message_Attachment   8/14/2018 11:48                                                                                                                              Confidential communication between AMc employee
       Communications;                                                                                                                                                                           and counsel at Dorsey & Whitney for purposes of
         Work Product                                                                                                                                                                            obtaining legal advice regarding NRA request for
                                                                                                                                                                                              documents, and work product created in anticipation of
                                                                                                                                                                                                                      litigation.
337   Forwarding Attorney-        Message         8/14/2018 13:19   Melanie Montgomery <Melanie-      Bill Winkler <bill-                                                       Re: Letter       AMc employee internally forwarding confidential
            Client                                                     Montgomery@am.com>             winkler@am.com>                                                                         communication between AMc employee and counsel at
      Communications and                                                                                                                                                                         Dorsey & Whitney for purposes of obtaining legal
         Work Product                                                                                                                                                                            advice regarding NRA request for documents, and
                                                                                                                                                                                                  work product created in anticipation of litigation.
338   Forwarding Attorney-   Message_Attachment   8/14/2018 13:19                                                                                                                                AMc employee internally forwarding confidential
            Client                                                                                                                                                                            communication between AMc employee and counsel at
      Communications and                                                                                                                                                                         Dorsey & Whitney for purposes of obtaining legal
         Work Product                                                                                                                                                                            advice regarding NRA request for documents, and
                                                                                                                                                                                                  work product created in anticipation of litigation.
339     Attorney-Client           Message         8/14/2018 14:05     <betts.gina@dorsey.com>      <Revan-McQueen@am.com>                                                                      Confidential communication between AMc employee
       Communications;                                                                                                                                                                           and counsel at Dorsey & Whitney for purposes of
         Work Product                                                                                                                                                                          obtaining legal advice regarding legal compliance and
                                                                                                                                                                                                NRA non-profit status, and work product created in
                                                                                                                                                                                                              anticipation of litigation.
340     Attorney-Client           Message         8/14/2018 14:24   Melanie Montgomery <Melanie-   "madrid.jay@dorsey.com"               Gina Betts                            FW: Letter      Confidential communication between AMc employee
       Communications;                                                 Montgomery@am.com>          <madrid.jay@dorsey.com>       <betts.gina@dorsey.com>;                                        and counsel at Dorsey & Whitney for purposes of
         Work Product                                                                                                             Angus McQueen <angus-                                          obtaining legal advice regarding NRA request for
                                                                                                                                mcqueen@am.com>; Revan                                        documents, and work product created in anticipation of
                                                                                                                                     McQueen <Revan-                                                                  litigation.
                                                                                                                                 McQueen@am.com>; Bill
                                                                                                                                        Winkler <bill-
                                                                                                                                winkler@am.com>; Brandon
                                                                                                                                    Winkler <Brandon-
                                                                                                                                    Winkler@am.com>
341     Attorney-Client      Message_Attachment   8/14/2018 14:24                                                                                                                              Confidential communication between AMc employee
       Communications;                                                                                                                                                                          and counsel at Dorsey & Whitney for purposes of
         Work Product                                                                                                                                                                           obtaining legal advice regarding NRA request for
                                                                                                                                                                                              documents, and work product created in anticipation of
                                                                                                                                                                                                                    litigation.
342     Attorney-Client      Message_Attachment   8/14/2018 14:24                                                                                                                              Confidential communication between AMc employee
       Communications;                                                                                                                                                                          and counsel at Dorsey & Whitney for purposes of
         Work Product                                                                                                                                                                           obtaining legal advice regarding NRA request for
                                                                                                                                                                                              documents, and work product created in anticipation of
                                                                                                                                                                                                                    litigation.




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                                                           Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21                                                        Page 381 of 1087 PageID 30586
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 #      Privilege Type          Record Type       Document Date               Email From                           Email To                          Email CC               Email BCC       Email Subject                      Privilege Description
343     Attorney-Client           Message         8/14/2018 14:24     Melanie Montgomery <Melanie-         "madrid.jay@dorsey.com"                  Gina Betts                               FW: Letter         Confidential communication between AMc employee
       Communications;                                                   Montgomery@am.com>                <madrid.jay@dorsey.com>          <betts.gina@dorsey.com>;                                             and counsel at Dorsey & Whitney for purposes of
         Work Product                                                                                                                        Angus McQueen <angus-                                               obtaining legal advice regarding NRA request for
                                                                                                                                           mcqueen@am.com>; Revan                                              documents, and work product created in anticipation of
                                                                                                                                                McQueen <Revan-                                                                      litigation.
                                                                                                                                            McQueen@am.com>; Bill
                                                                                                                                                   Winkler <bill-
                                                                                                                                           winkler@am.com>; Brandon
                                                                                                                                               Winkler <Brandon-
                                                                                                                                               Winkler@am.com>
344     Attorney-Client      Message_Attachment   8/14/2018 14:24                                                                                                                                               Confidential communication between AMc employee
       Communications;                                                                                                                                                                                            and counsel at Dorsey & Whitney for purposes of
         Work Product                                                                                                                                                                                             obtaining legal advice regarding NRA request for
                                                                                                                                                                                                               documents, and work product created in anticipation of
                                                                                                                                                                                                                                      litigation.
345     Attorney-Client      Message_Attachment   8/14/2018 14:24                                                                                                                                               Confidential communication between AMc employee
       Communications;                                                                                                                                                                                            and counsel at Dorsey & Whitney for purposes of
         Work Product                                                                                                                                                                                             obtaining legal advice regarding NRA request for
                                                                                                                                                                                                               document, and work product created in anticipation of
                                                                                                                                                                                                                                      litigation.
346     Attorney-Client           Message         8/14/2018 17:40     Melanie Montgomery <Melanie-         "madrid.jay@dorsey.com"                  Gina Betts                             Fair Market Value    Confidential communication between AMc employee
       Communications;                                                   Montgomery@am.com>                <madrid.jay@dorsey.com>          <betts.gina@dorsey.com>                                               and counsel at Dorsey & Whitney for purposes of
         Work Product                                                                                                                                                                                             obtaining legal advice regarding NRA document
                                                                                                                                                                                                                requests, and work product created in anticipation of
                                                                                                                                                                                                                                      litigation.
347     Attorney-Client           Message         8/14/2018 18:34       <madrid.jay@dorsey.com>             <bill-winkler@am.com>;   <Brandon-Winkler@am.com>;                                FW: Letter        Confidential communication between AMc employee
       Communications;                                                                                   <Melanie-Montgomery@am.com> <madrid.jay@dorsey.com>;                                                     and counsel at Dorsey & Whitney for purposes of
         Work Product                                                                                                                  <betts.gina@dorsey.com>                                                    obtaining legal advice regarding NRA request for
                                                                                                                                                                                                               documents, and work product created in anticipation of
                                                                                                                                                                                                                                      litigation.
348     Attorney-Client      Message_Attachment   8/14/2018 18:34                                                                                                                                               Confidential communication between AMc employee
       Communications;                                                                                                                                                                                            and counsel at Dorsey & Whitney for purposes of
         Work Product                                                                                                                                                                                             obtaining legal advice regarding NRA request for
                                                                                                                                                                                                               documents, and work product created in anticipation of
                                                                                                                                                                                                                                      litigation.
349   Forwarding Attorney-        Message         8/14/2018 18:36   Bill Winkler <bill-winkler@am.com>      Angus McQueen <angus-          Brandon Winkler <Brandon-                          FW: Letter          AMc employee internally forwarding confidential
            Client                                                                                            mcqueen@am.com>                  Winkler@am.com>                                                 communication between AMc employee and counsel at
      Communications and                                                                                                                                                                                         Dorsey & Whitney for purposes of obtaining legal
         Work Product                                                                                                                                                                                            advice regarding NRA request for documents, and
                                                                                                                                                                                                                  work product created in anticipation of litigation.
350   Forwarding Attorney-   Message_Attachment   8/14/2018 18:36                                                                                                                                                 AMc employee internally forwarding confidential
            Client                                                                                                                                                                                             communication between AMc employee and counsel at
      Communications and                                                                                                                                                                                         Dorsey & Whitney for purposes of obtaining legal
         Work Product                                                                                                                                                                                            advice regarding NRA request for documents, and
                                                                                                                                                                                                                  work product created in anticipation of litigation.
351     Attorney-Client           Message         8/14/2018 18:37   Bill Winkler <bill-winkler@am.com>      "madrid.jay@dorsey.com"        Brandon Winkler <Brandon-                          RE: Letter        Confidential communication between AMc employee
       Communications;                                                                                     <madrid.jay@dorsey.com>;             Winkler@am.com>;                                                  and counsel at Dorsey & Whitney for purposes of
         Work Product                                                                                     Melanie Montgomery<Melanie-     "betts.gina@dorsey.com"<betts.                                          obtaining legal advice regarding NRA request for
                                                                                                             Montgomery@am.com>                  gina@dorsey.com>                                              documents, and work product created in anticipation of
                                                                                                                                                                                                                                      litigation.




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 #     Privilege Type       Record Type       Document Date                 Email From                          Email To                         Email CC              Email BCC         Email Subject                          Privilege Description
352    Attorney-Client        Message         8/14/2018 18:37   Bill Winkler <bill-winkler@am.com>      "madrid.jay@dorsey.com"        Brandon Winkler <Brandon-                          RE: Letter            Confidential communication between AMc employee
      Communications;                                                                                  <madrid.jay@dorsey.com>;             Winkler@am.com>;                                                      and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                  Melanie Montgomery<Melanie-     "betts.gina@dorsey.com"<betts.                                              obtaining legal advice regarding NRA request for
                                                                                                         Montgomery@am.com>                  gina@dorsey.com>                                                  documents, and work product created in anticipation of
                                                                                                                                                                                                                                      litigation.
353    Attorney-Client        Message         8/14/2018 18:47       <madrid.jay@dorsey.com>             <bill-winkler@am.com>;   <Brandon-Winkler@am.com>;                                 RE: Letter           Confidential communication between AMc employee
      Communications;                                                                                <Melanie-Montgomery@am.com>   <betts.gina@dorsey.com>                                                        and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                                                                                                              obtaining legal advice regarding NRA request for
                                                                                                                                                                                                               documents, and work product created in anticipation of
                                                                                                                                                                                                                                      litigation.
354    Attorney-Client        Message         8/14/2018 18:49        Revan McQueen <Revan-              "betts.gina@dorsey.com"                                                       Notes We Discussed        Confidential communication between AMc employee
      Communications;                                                 McQueen@am.com>                   <betts.gina@dorsey.com>                                                                                   and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                                                                                                              obtaining legal advice regarding NRA document
                                                                                                                                                                                                                requests, and work product created in anticipation of
                                                                                                                                                                                                                                      litigation.
355    Attorney-Client   Message_Attachment   8/14/2018 18:49                                                                                                                                                   Confidential communication between AMc employee
      Communications;                                                                                                                                                                                             and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                                                                                                              obtaining legal advice regarding NRA document
                                                                                                                                                                                                                requests, and work product created in anticipation of
                                                                                                                                                                                                                                      litigation.
356    Attorney-Client        Message         8/15/2018 12:04   Bill Winkler <bill-winkler@am.com>     "madrid.jay@dorsey.com"         Brandon Winkler <Brandon-                    Letter/memo with changes    Confidential communication between AMc employee
      Communications;                                                                                  <madrid.jay@dorsey.com>         Winkler@am.com>; Melanie                              attached             and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                                     Montgomery<Melanie-                                                      obtaining legal advice regarding NRA request for
                                                                                                                                         Montgomery@am.com>                                                    documents, and work product created in anticipation of
                                                                                                                                                                                                                                      litigation.
357    Attorney-Client   Message_Attachment   8/15/2018 12:04                                                                                                                                                   Confidential communication between AMc employee
      Communications;                                                                                                                                                                                             and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                                                                                                              obtaining legal advice regarding NRA request for
                                                                                                                                                                                                               documents, and work product created in anticipation of
                                                                                                                                                                                                                                      litigation.
358    Attorney-Client   Message_Attachment   8/15/2018 12:04                                                                                                                                                   Confidential communication between AMc employee
      Communications;                                                                                                                                                                                             and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                                                                                                              obtaining legal advice regarding NRA request for
                                                                                                                                                                                                               documents, and work product created in anticipation of
                                                                                                                                                                                                                                      litigation.
359    Attorney-Client        Message         8/15/2018 12:04   Bill Winkler <bill-winkler@am.com>     "madrid.jay@dorsey.com"         Brandon Winkler <Brandon-                    Letter/memo with changes    Confidential communication between AMc employee
      Communications;                                                                                  <madrid.jay@dorsey.com>         Winkler@am.com>; Melanie                              attached             and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                                     Montgomery<Melanie-                                                      obtaining legal advice regarding NRA request for
                                                                                                                                         Montgomery@am.com>                                                    documents, and work product created in anticipation of
                                                                                                                                                                                                                                      litigation.
360    Attorney-Client   Message_Attachment   8/15/2018 12:04                                                                                                                                                   Confidential communication between AMc employee
      Communications;                                                                                                                                                                                             and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                                                                                                              obtaining legal advice regarding NRA request for
                                                                                                                                                                                                               documents, and work product created in anticipation of
                                                                                                                                                                                                                                      litigation.
361    Attorney-Client   Message_Attachment   8/15/2018 12:04                                                                                                                                                   Confidential communication between AMc employee
      Communications;                                                                                                                                                                                             and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                                                                                                              obtaining legal advice regarding NRA request for
                                                                                                                                                                                                               documents, and work product created in anticipation of
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 #     Privilege Type       Record Type       Document Date               Email From                           Email To                     Email CC                  Email BCC           Email Subject                              Privilege Description
362    Attorney-Client        Message         8/15/2018 12:39       <madrid.jay@dorsey.com>             <bill-winkler@am.com>      <Brandon-Winkler@am.com>;                      RE: Letter/memo with changes        Confidential communication between AMc employee
      Communications;                                                                                                                       <Melanie-                                        attached                  and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                                  Montgomery@am.com>                                                               obtaining legal advice regarding NRA request for
                                                                                                                                                                                                                     documents, and work product created in anticipation of
                                                                                                                                                                                                                                           litigation.
363    Attorney-Client        Message         8/15/2018 12:42   Bill Winkler <bill-winkler@am.com>     "madrid.jay@dorsey.com"      Brandon Winkler <Brandon-                     Re: Letter/memo with changes        Confidential communication between AMc employee
      Communications;                                                                                  <madrid.jay@dorsey.com>      Winkler@am.com>; Melanie                                 attached                  and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                                  Montgomery<Melanie-                                                              obtaining legal advice regarding NRA request for
                                                                                                                                      Montgomery@am.com>                                                             documents, and work product created in anticipation of
                                                                                                                                                                                                                                           litigation.
364    Attorney-Client   Message_Attachment   8/15/2018 12:42                                                                                                                                                         Confidential communication between AMc employee
      Communications;                                                                                                                                                                                                  and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                                                                                                                   obtaining legal advice regarding NRA request for
                                                                                                                                                                                                                     documents, and work product created in anticipation of
                                                                                                                                                                                                                                           litigation.
365    Attorney-Client   Message_Attachment   8/15/2018 12:42                                                                                                                                                         Confidential communication between AMc employee
      Communications;                                                                                                                                                                                                  and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                                                                                                                   obtaining legal advice regarding NRA request for
                                                                                                                                                                                                                     documents, and work product created in anticipation of
                                                                                                                                                                                                                                           litigation.
366    Attorney-Client        Message         8/15/2018 12:42   Bill Winkler <bill-winkler@am.com>     "madrid.jay@dorsey.com"      Brandon Winkler <Brandon-                     Re: Letter/memo with changes        Confidential communication between AMc employee
      Communications;                                                                                  <madrid.jay@dorsey.com>      Winkler@am.com>; Melanie                                 attached                  and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                                  Montgomery<Melanie-                                                              obtaining legal advice regarding NRA request for
                                                                                                                                      Montgomery@am.com>                                                             documents, and work product created in anticipation of
                                                                                                                                                                                                                                           litigation.
367    Attorney-Client   Message_Attachment   8/15/2018 12:42                                                                                                                                                         Confidential communication between AMc employee
      Communications;                                                                                                                                                                                                  and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                                                                                                                   obtaining legal advice regarding NRA request for
                                                                                                                                                                                                                     documents, and work product created in anticipation of
                                                                                                                                                                                                                                           litigation.
368    Attorney-Client   Message_Attachment   8/15/2018 12:42                                                                                                                                                         Confidential communication between AMc employee
      Communications;                                                                                                                                                                                                  and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                                                                                                                   obtaining legal advice regarding NRA request for
                                                                                                                                                                                                                     documents, and work product created in anticipation of
                                                                                                                                                                                                                                           litigation.
369    Attorney-Client        Message         8/15/2018 12:44     Melanie Montgomery <Melanie-            Bill Winkler <bill-         "madrid.jay@dorsey.com"                     Re: Letter/memo with changes        Confidential communication between AMc employee
      Communications;                                                Montgomery@am.com>                   winkler@am.com>            <madrid.jay@dorsey.com>;                                attached                  and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                                 Brandon Winkler<Brandon-                                                          obtaining legal advice regarding NRA request for
                                                                                                                                         Winkler@am.com>                                                             documents, and work product created in anticipation of
                                                                                                                                                                                                                                           litigation.
370    Attorney-Client        Message         8/15/2018 12:44     Melanie Montgomery <Melanie-            Bill Winkler <bill-         "madrid.jay@dorsey.com"                     Re: Letter/memo with changes        Confidential communication between AMc employee
      Communications;                                                Montgomery@am.com>                   winkler@am.com>            <madrid.jay@dorsey.com>;                                attached                  and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                                 Brandon Winkler<Brandon-                                                          obtaining legal advice regarding NRA request for
                                                                                                                                         Winkler@am.com>                                                             documents, and work product created in anticipation of
                                                                                                                                                                                                                                           litigation.
371    Attorney-Client        Message         8/15/2018 14:48       <madrid.jay@dorsey.com>             <bill-winkler@am.com>;       <madrid.jay@dorsey.com>;                     FW: Letter to Phillips (Services    Confidential communication between AMc employee
      Communications;                                                                                           <Melanie-             <betts.gina@dorsey.com>                              Agreement)                  and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                 Montgomery@am.com>; <Revan-                                                                                       obtaining legal advice regarding NRA request for
                                                                                                          McQueen@am.com>                                                                                            documents, and work product created in anticipation of
                                                                                                                                                                                                                                           litigation.




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 #     Privilege Type       Record Type       Document Date                Email From                          Email To                       Email CC                 Email BCC           Email Subject                             Privilege Description
372    Attorney-Client   Message_Attachment   8/15/2018 14:48                                                                                                                                                        Confidential communication between AMc employee
      Communications;                                                                                                                                                                                                  and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                                                                                                                   obtaining legal advice regarding NRA request for
                                                                                                                                                                                                                    documents, and work product created in anticipation of
                                                                                                                                                                                                                                           litigation.
373    Attorney-Client        Message         8/15/2018 14:59   Bill Winkler <bill-winkler@am.com>      Angus McQueen <angus-         Brandon Winkler <Brandon-                    FW: Letter to Phillips (Services Confidential communication between AMc employee
      Communications;                                                                                     mcqueen@am.com>                 Winkler@am.com>                                    Agreement)                and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                                                                                                                   obtaining legal advice regarding NRA request for
                                                                                                                                                                                                                    documents, and work product created in anticipation of
                                                                                                                                                                                                                                           litigation.
374    Attorney-Client   Message_Attachment   8/15/2018 14:59                                                                                                                                                        Confidential communication between AMc employee
      Communications;                                                                                                                                                                                                  and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                                                                                                                   obtaining legal advice regarding NRA request for
                                                                                                                                                                                                                    documents, and work product created in anticipation of
                                                                                                                                                                                                                                           litigation.
375    Attorney-Client        Message         8/15/2018 15:02       <madrid.jay@dorsey.com>          <Melanie-Montgomery@am.com>       <betts.gina@dorsey.com>                         RE: Fair Market Value         Confidential communication between AMc employee
      Communications;                                                                                                                                                                                                  and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                                                                                                                   obtaining legal advice regarding NRA document
                                                                                                                                                                                                                     requests, and work product created in anticipation of
                                                                                                                                                                                                                                           litigation.
376    Attorney-Client        Message         8/15/2018 15:30       <madrid.jay@dorsey.com>                    <Melanie-             <Brandon-Winkler@am.com>;                      FW: Letter to Phillips (Fair     Confidential communication between AMc employee
      Communications;                                                                                 Montgomery@am.com>; <bill-      <madrid.jay@dorsey.com>;                             Market Value)               and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                   winkler@am.com>; <Revan-        <betts.gina@dorsey.com>                                                         obtaining legal advice regarding NRA request for
                                                                                                          McQueen@am.com>                                                                                           documents, and work product created in anticipation of
                                                                                                                                                                                                                                           litigation.
377    Attorney-Client   Message_Attachment   8/15/2018 15:30                                                                                                                                                        Confidential communication between AMc employee
      Communications;                                                                                                                                                                                                  and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                                                                                                                   obtaining legal advice regarding NRA request for
                                                                                                                                                                                                                    documents, and work product created in anticipation of
                                                                                                                                                                                                                                           litigation.
378    Attorney-Client        Message         8/15/2018 15:30        Angus McQueen <angus-                 Bill Winkler <bill-        Brandon Winkler <Brandon-                    Re: Letter to Phillips (Services Confidential communication between AMc employee
      Communications;                                                  mcqueen@am.com>                     winkler@am.com>                Winkler@am.com>                                    Agreement)                and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                                                                                                                   obtaining legal advice regarding NRA request for
                                                                                                                                                                                                                    documents, and work product created in anticipation of
                                                                                                                                                                                                                                           litigation.
379    Attorney-Client   Message_Attachment   8/15/2018 15:30                                                                                                                                                        Confidential communication between AMc employee
      Communications;                                                                                                                                                                                                  and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                                                                                                                   obtaining legal advice regarding NRA request for
                                                                                                                                                                                                                    documents, and work product created in anticipation of
                                                                                                                                                                                                                                           litigation.
380    Attorney-Client        Message         8/15/2018 17:17       <madrid.jay@dorsey.com>           <Revan-McQueen@am.com>;        <Brandon-Winkler@am.com>                         FW: Letter to Muller.pdf       Confidential communication between AMc employee
      Communications;                                                                                   <bill-winkler@am.com>                                                                                          and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                                                                                                                   obtaining legal advice regarding NRA request for
                                                                                                                                                                                                                    documents, and work product created in anticipation of
                                                                                                                                                                                                                                           litigation.
381    Attorney-Client   Message_Attachment   8/15/2018 17:17                                                                                                                                                        Confidential communication between AMc employee
      Communications;                                                                                                                                                                                                  and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                                                                                                                   obtaining legal advice regarding NRA request for
                                                                                                                                                                                                                    documents, and work product created in anticipation of
                                                                                                                                                                                                                                           litigation.




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                                                           Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21                                                        Page 385 of 1087 PageID 30590
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 #      Privilege Type          Record Type       Document Date               Email From                            Email To                         Email CC               Email BCC          Email Subject                           Privilege Description
382     Attorney-Client           Message         8/15/2018 17:23     Melanie Montgomery <Melanie-         "madrid.jay@dorsey.com"         Brandon Winkler <Brandon-                      Re: Letter to Phillips (Fair  Confidential communication between AMc employee
       Communications;                                                   Montgomery@am.com>              <madrid.jay@dorsey.com>; Bill          Winkler@am.com>;                               Market Value)             and counsel at Dorsey & Whitney for purposes of
         Work Product                                                                                    Winkler<bill-winkler@am.com>;    "betts.gina@dorsey.com"<betts.                                                 obtaining legal advice regarding NRA request for
                                                                                                            Revan McQueen <Revan-                gina@dorsey.com>                                                      documents, and work product created in anticipation of
                                                                                                              McQueen@am.com>                                                                                                                 litigation.
383     Attorney-Client      Message_Attachment   8/15/2018 17:23                                                                                                                                                       Confidential communication between AMc employee
       Communications;                                                                                                                                                                                                   and counsel at Dorsey & Whitney for purposes of
         Work Product                                                                                                                                                                                                    obtaining legal advice regarding NRA request for
                                                                                                                                                                                                                       documents, and work product created in anticipation of
                                                                                                                                                                                                                                              litigation.
384     Attorney-Client           Message         8/15/2018 17:23     Melanie Montgomery <Melanie-         "madrid.jay@dorsey.com"         Brandon Winkler <Brandon-                     Re: Letter to Phillips (Fair   Confidential communication between AMc employee
       Communications;                                                   Montgomery@am.com>              <madrid.jay@dorsey.com>; Bill          Winkler@am.com>;                               Market Value)             and counsel at Dorsey & Whitney for purposes of
         Work Product                                                                                    Winkler<bill-winkler@am.com>;    "betts.gina@dorsey.com"<betts.                                                 obtaining legal advice regarding NRA request for
                                                                                                            Revan McQueen <Revan-                gina@dorsey.com>                                                      documents, and work product created in anticipation of
                                                                                                              McQueen@am.com>                                                                                                                 litigation.
385     Attorney-Client      Message_Attachment   8/15/2018 17:23                                                                                                                                                       Confidential communication between AMc employee
       Communications;                                                                                                                                                                                                   and counsel at Dorsey & Whitney for purposes of
         Work Product                                                                                                                                                                                                    obtaining legal advice regarding NRA request for
                                                                                                                                                                                                                       documents, and work product created in anticipation of
                                                                                                                                                                                                                                              litigation.
386   Forwarding Attorney-        Message         8/15/2018 18:01   Bill Winkler <bill-winkler@am.com>   Melanie Montgomery <Melanie-                                                    RE: Letter to Phillips (Fair    AMc employee internally forwarding confidential
            Client                                                                                          Montgomery@am.com>                                                                 Market Value)           communication between AMc employee and counsel at
      Communications and                                                                                                                                                                                                 Dorsey & Whitney for purposes of obtaining legal
         Work Product                                                                                                                                                                                                    advice regarding pending audit, and work product
                                                                                                                                                                                                                                 created in anticipation of litigation.
387   Forwarding Attorney-        Message         8/15/2018 18:03     Melanie Montgomery <Melanie-             Bill Winkler <bill-                                                       Re: Letter to Phillips (Fair    AMc employee internally forwarding confidential
            Client                                                       Montgomery@am.com>                    winkler@am.com>                                                                 Market Value)           communication between AMc employee and counsel at
      Communications and                                                                                                                                                                                                 Dorsey & Whitney for purposes of obtaining legal
         Work Product                                                                                                                                                                                                    advice regarding pending audit, and work product
                                                                                                                                                                                                                                 created in anticipation of litigation.
388   Forwarding Attorney-   Message_Attachment   8/15/2018 18:03                                                                                                                                                        AMc employee internally forwarding confidential
            Client                                                                                                                                                                                                     communication between AMc employee and counsel at
      Communications and                                                                                                                                                                                                 Dorsey & Whitney for purposes of obtaining legal
         Work Product                                                                                                                                                                                                    advice regarding pending audit, and work product
                                                                                                                                                                                                                                 created in anticipation of litigation.
389   Forwarding Attorney-        Message         8/15/2018 18:04   Bill Winkler <bill-winkler@am.com>   Melanie Montgomery <Melanie-                                                    RE: Letter to Phillips (Fair    AMc employee internally forwarding confidential
            Client                                                                                          Montgomery@am.com>                                                                 Market Value)           communication between AMc employee and counsel at
      Communications and                                                                                                                                                                                                 Dorsey & Whitney for purposes of obtaining legal
         Work Product                                                                                                                                                                                                    advice regarding pending audit, and work product
                                                                                                                                                                                                                                 created in anticipation of litigation.
390     Attorney-Client           Message         8/16/2018 17:59       <madrid.jay@dorsey.com>                    <Melanie-               <madrid.jay@dorsey.com>;                     FW: Letter - Fair Market Value Confidential communication between AMc employee
       Communications;                                                                                    Montgomery@am.com>; <bill-        <betts.gina@dorsey.com>                                 Inquiry              and counsel at Dorsey & Whitney for purposes of
         Work Product                                                                                      winkler@am.com>; <Revan-                                                                                      obtaining legal advice regarding NRA request for
                                                                                                              McQueen@am.com>                                                                                          documents, and work product created in anticipation of
                                                                                                                                                                                                                                              litigation.
391     Attorney-Client      Message_Attachment   8/16/2018 17:59                                                                                                                                                       Confidential communication between AMc employee
       Communications;                                                                                                                                                                                                   and counsel at Dorsey & Whitney for purposes of
         Work Product                                                                                                                                                                                                    obtaining legal advice regarding NRA request for
                                                                                                                                                                                                                       documents, and work product created in anticipation of
                                                                                                                                                                                                                                              litigation.




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 #      Privilege Type          Record Type       Document Date                Email From                        Email To                      Email CC              Email BCC           Email Subject                              Privilege Description
392     Attorney-Client      Message_Attachment   8/16/2018 17:59                                                                                                                                                   Confidential communication between AMc employee
       Communications;                                                                                                                                                                                                and counsel at Dorsey & Whitney for purposes of
         Work Product                                                                                                                                                                                                 obtaining legal advice regarding NRA request for
                                                                                                                                                                                                                   documents, and work product created in anticipation of
                                                                                                                                                                                                                                            litigation.
393   Forwarding Attorney-        Message         8/16/2018 18:08   Bill Winkler <bill-winkler@am.com>    Angus McQueen <angus-        Brandon Winkler <Brandon-                 FW: Letter - Fair Market Value       AMc employee internally forwarding confidential
            Client                                                                                          mcqueen@am.com>                Winkler@am.com>                                   Inquiry               communication between AMc employee and counsel at
      Communications and                                                                                                                                                                                             Dorsey & Whitney for purposes of obtaining legal
         Work Product                                                                                                                                                                                                advice regarding pending audit, and work product
                                                                                                                                                                                                                             created in anticipation of litigation.
394   Forwarding Attorney-   Message_Attachment   8/16/2018 18:08                                                                                                                                                     AMc employee internally forwarding confidential
            Client                                                                                                                                                                                                 communication between AMc employee and counsel at
      Communications and                                                                                                                                                                                             Dorsey & Whitney for purposes of obtaining legal
         Work Product                                                                                                                                                                                                advice regarding pending audit, and work product
                                                                                                                                                                                                                             created in anticipation of litigation.
395   Forwarding Attorney-   Message_Attachment   8/16/2018 18:08                                                                                                                                                     AMc employee internally forwarding confidential
            Client                                                                                                                                                                                                 communication between AMc employee and counsel at
      Communications and                                                                                                                                                                                             Dorsey & Whitney for purposes of obtaining legal
         Work Product                                                                                                                                                                                                advice regarding pending audit, and work product
                                                                                                                                                                                                                             created in anticipation of litigation.
396     Attorney-Client           Message         8/16/2018 18:20        <betts.gina@dorsey.com>         <revan-mcqueen@am.com>                                                  Fwd: Letter - Fair Market Value    Confidential communication between AMc employee
       Communications;                                                                                                                                                                       Inquiry                  and counsel at Dorsey & Whitney for purposes of
         Work Product                                                                                                                                                                                                 obtaining legal advice regarding NRA document
                                                                                                                                                                                                                    requests, and work product created in anticipation of
                                                                                                                                                                                                                                            litigation.
397                          Message_Attachment   8/16/2018 18:20                                                                                                                                                   Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                     file). Not privileged.
398     Attorney-Client      Message_Attachment   8/16/2018 18:20                                                                                                                                                   Confidential communication between AMc employee
       Communications;                                                                                                                                                                                                and counsel at Dorsey & Whitney for purposes of
         Work Product                                                                                                                                                                                                 obtaining legal advice regarding NRA document
                                                                                                                                                                                                                    requests, and work product created in anticipation of
                                                                                                                                                                                                                                            litigation.
399                          Message_Attachment   8/16/2018 18:20                                                                                                                                                   Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                     file). Not privileged.
400     Attorney-Client      Message_Attachment   8/16/2018 18:20                                                                                                                                                   Confidential communication between AMc employee
       Communications;                                                                                                                                                                                                and counsel at Dorsey & Whitney for purposes of
         Work Product                                                                                                                                                                                                 obtaining legal advice regarding NRA document
                                                                                                                                                                                                                    requests, and work product created in anticipation of
                                                                                                                                                                                                                                            litigation.
401                          Message_Attachment   8/16/2018 18:20                                                                                                                                                   Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                     file). Not privileged.
402                          Message_Attachment   8/16/2018 18:20                                                                                                                                                   Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                     file). Not privileged.
403     Attorney-Client           Message         8/16/2018 19:15        Revan McQueen <Revan-            "betts.gina@dorsey.com"                                                Re: Letter - Fair Market Value     Confidential communication between AMc employee
        Communications                                                    McQueen@am.com>                 <betts.gina@dorsey.com>                                                             Inquiry                 and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                                      obtaining legal advice regarding NRA document
                                                                                                                                                                                                                                             requests.
404     Attorney-Client           Message         8/16/2018 19:19        <betts.gina@dorsey.com>         <Revan-McQueen@am.com>                                                  Re: Letter - Fair Market Value     Confidential communication between AMc employee
        Communications                                                                                                                                                                        Inquiry                 and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                                      obtaining legal advice regarding NRA document
                                                                                                                                                                                                                                             requests.



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                                                                                                                         AMC Second Amended Privilege Log


 #     Privilege Type       Record Type       Document Date                Email From                           Email To                        Email CC                Email BCC                  Email Subject                                 Privilege Description
405                      Message_Attachment   8/16/2018 19:19                                                                                                                                                                   Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                                  file). Not privileged.
406    Attorney-Client        Message         8/17/2018 8:18         <betts.gina@dorsey.com>            <revan-mcqueen@am.com>                                                             Fwd: attorney work product:         Confidential communication between AMc employee
      Communications;                                                                                                                                                                      bullet point ideas for the letter      and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                                                                                                                           obtaining legal advice regarding draft correspondence
                                                                                                                                                                                                                                to NRA about document requests, and work product
                                                                                                                                                                                                                                         created in anticipation of litigation.
407    Attorney-Client        Message         8/17/2018 8:41         Revan McQueen <Revan-               "betts.gina@dorsey.com"                                                            Re: attorney work product:         Confidential communication between AMc employee
      Communications;                                                 McQueen@am.com>                    <betts.gina@dorsey.com>                                                           bullet point ideas for the letter      and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                                                                                                                           obtaining legal advice regarding draft correspondence
                                                                                                                                                                                                                                to NRA about document requests, and work product
                                                                                                                                                                                                                                         created in anticipation of litigation.
408   Attorney-Client         Message         8/17/2018 9:27         Revan McQueen <Revan-               "betts.gina@dorsey.com"                                                                Fwd: Draft response            Confidential communication between AMc employee
      Communications                                                  McQueen@am.com>                    <betts.gina@dorsey.com>                                                                                                  and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                                               obtaining legal advice regarding correspondence from
                                                                                                                                                                                                                                              NRA about audit requests.
409                      Message_Attachment   8/17/2018 9:27                                                                                                                                                                    Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                                  file). Not privileged.
410                      Message_Attachment   8/17/2018 9:27                                                                                                                                                                       Draft letter from NRA to AMc, dated 8/14/18.
                                                                                                                                                                                                                                    Attached to privileged email. Not privileged.
411    Attorney-Client        Message         8/17/2018 10:44        <betts.gina@dorsey.com>           <Revan-McQueen@am.com>            <madrid.jay@dorsey.com>                            FW: attorney work product:         Confidential communication between AMc employee
      Communications;                                                                                                                                                                      bullet point ideas for the letter      and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                                                                                                                           obtaining legal advice regarding draft correspondence
                                                                                                                                                                                                                                to NRA counsel about document requests, and work
                                                                                                                                                                                                                                     product created in anticipation of litigation.
412                      Message_Attachment   8/17/2018 10:44                                                                                                                                                                   Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                                  file). Not privileged.
413    Attorney-Client        Message         8/17/2018 11:07       <madrid.jay@dorsey.com>          <betts.gina@dorsey.com>; <Revan-                                                       RE: attorney work product:         Confidential communication between AMc employee
      Communications;                                                                                       McQueen@am.com>                                                                bullet point ideas for the letter      and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                                                                                             PERSONAL AND                  obtaining legal advice regarding draft correspondence
                                                                                                                                                                                           CONFIDENTIAL SUBJECT                 to NRA counsel about document requests, and work
                                                                                                                                                                                                TO A/C PRIVILEGE                     product created in anticipation of litigation.
414    Attorney-Client        Message         8/17/2018 15:07   Bill Winkler <bill-winkler@am.com>         "Gina Betts - Dorsey           Revan McQueen <Revan-    Angus McQueen <angus-   FW: Message from KM_C368            Confidential communication between AMc employee
      Communications;                                                                                   (betts.gina@dorsey.com)"        McQueen@am.com>; Brandon     mcqueen@am.com>                                              and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                    <betts.gina@dorsey.com>;             Winkler<Brandon-                                                                     obtaining legal advice regarding NRA document
                                                                                                        "madrid.jay@dorsey.com"         Winkler@am.com>; Melanie                                                                requests, and work product created in anticipation of
                                                                                                        <madrid.jay@dorsey.com>            Montgomery <Melanie-                                                                                          litigation.
                                                                                                                                          Montgomery@am.com>
415                      Message_Attachment   8/17/2018 15:07                                                                                                                                SKM_C36818081510100               Letter from NRA to AMc, dated 8/14/18. Attached to
                                                                                                                                                                                                                                          privileged email. Not privileged.
416    Attorney-Client        Message         8/17/2018 15:07   Bill Winkler <bill-winkler@am.com>         "Gina Betts - Dorsey           Revan McQueen <Revan-    Angus McQueen <angus-   FW: Message from KM_C368            Confidential communication between AMc employee
      Communications;                                                                                   (betts.gina@dorsey.com)"        McQueen@am.com>; Brandon     mcqueen@am.com>                                             and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                    <betts.gina@dorsey.com>;             Winkler<Brandon-                                                                    obtaining legal advice regarding NRA document
                                                                                                        "madrid.jay@dorsey.com"         Winkler@am.com>; Melanie                                                               requests, and work product created in anticipation of
                                                                                                        <madrid.jay@dorsey.com>            Montgomery <Melanie-                                                                                       litigation.
                                                                                                                                          Montgomery@am.com>
417                      Message_Attachment   8/17/2018 15:07                                                                                                                                SKM_C36818081510100               Letter from NRA to AMc, dated 8/14/18. Attached to
                                                                                                                                                                                                                                          privileged email. Not privileged.




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 #     Privilege Type    Record Type   Document Date               Email From                           Email To                     Email CC                Email BCC         Email Subject                      Privilege Description
418    Attorney-Client     Message     8/17/2018 15:18       <madrid.jay@dorsey.com>            <bill-winkler@am.com>;      <Revan-McQueen@am.com>;                      RE: Message from KM_C368  Confidential communication between AMc employee
      Communications;                                                                           <betts.gina@dorsey.com>     <Brandon-Winkler@am.com>;                                               and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                                 <Melanie-                                                      obtaining legal advice regarding NRA request for
                                                                                                                               Montgomery@am.com>                                                 documents, and work product created in anticipation of
                                                                                                                                                                                                                        litigation.
419    Attorney-Client     Message     8/17/2018 15:21   Bill Winkler <bill-winkler@am.com>     "madrid.jay@dorsey.com"         Revan McQueen <Revan-                    RE: Message from KM_C368 Confidential communication between AMc employee
      Communications;                                                                          <madrid.jay@dorsey.com>;       McQueen@am.com>; Brandon                                              and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                        "betts.gina@dorsey.com"<betts.gin      Winkler<Brandon-                                                 obtaining legal advice regarding NRA request for
                                                                                                      a@dorsey.com>           Winkler@am.com>; Melanie                                            documents, and work product created in anticipation of
                                                                                                                                 Montgomery <Melanie-                                                                   litigation.
                                                                                                                                 Montgomery@am.com>
420    Attorney-Client     Message     8/17/2018 15:21   Bill Winkler <bill-winkler@am.com>     "madrid.jay@dorsey.com"         Revan McQueen <Revan-                    RE: Message from KM_C368      Confidential communication between AMc employee
      Communications;                                                                          <madrid.jay@dorsey.com>;       McQueen@am.com>; Brandon                                                  and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                        "betts.gina@dorsey.com"<betts.gin      Winkler<Brandon-                                                     obtaining legal advice regarding NRA request for
                                                                                                      a@dorsey.com>           Winkler@am.com>; Melanie                                                documents, and work product created in anticipation of
                                                                                                                                 Montgomery <Melanie-                                                                       litigation.
                                                                                                                                 Montgomery@am.com>
421    Attorney-Client     Message     8/17/2018 15:23        <madrid.jay@dorsey.com>            <bill-winkler@am.com>          <betts.gina@dorsey.com>                  RE: Message from KM_C368      Confidential communication between AMc employee
      Communications;                                                                                                                                                                                   and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                                                                                                    obtaining legal advice regarding NRA request for
                                                                                                                                                                                                      documents, and work product created in anticipation of
                                                                                                                                                                                                                            litigation.
422    Attorney-Client     Message     8/17/2018 15:41   Bill Winkler <bill-winkler@am.com>    "madrid.jay@dorsey.com"         "betts.gina@dorsey.com"                   RE: Message from KM_C368      Confidential communication between AMc employee
      Communications;                                                                          <madrid.jay@dorsey.com>        <betts.gina@dorsey.com>;                                                  and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                          Brandon Winkler<Brandon-                                                  obtaining legal advice regarding NRA request for
                                                                                                                                  Winkler@am.com>                                                     documents, and work product created in anticipation of
                                                                                                                                                                                                                            litigation.
423    Attorney-Client     Message     8/17/2018 15:41   Bill Winkler <bill-winkler@am.com>    "madrid.jay@dorsey.com"         "betts.gina@dorsey.com"                   RE: Message from KM_C368      Confidential communication between AMc employee
      Communications;                                                                          <madrid.jay@dorsey.com>        <betts.gina@dorsey.com>;                                                  and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                          Brandon Winkler<Brandon-                                                  obtaining legal advice regarding NRA request for
                                                                                                                                  Winkler@am.com>                                                     documents, and work product created in anticipation of
                                                                                                                                                                                                                            litigation.
424    Attorney-Client     Message     8/17/2018 15:42   Bill Winkler <bill-winkler@am.com>     Revan McQueen <Revan-          Angus McQueen <angus-                     FW: Message from KM_C368       AMc employee internally forwarding confidential
      Communications;                                                                         McQueen@am.com>; Melanie           mcqueen@am.com>                                                      communication between AMc employee and counsel at
        Work Product                                                                             Montgomery<Melanie-                                                                                    Dorsey & Whitney for purposes of obtaining legal
                                                                                                Montgomery@am.com>                                                                                      advice regarding NRA request for documents, and
                                                                                                                                                                                                         work product created in anticipation of litigation.
425    Attorney-Client     Message     8/20/2018 11:11   Bill Winkler <bill-winkler@am.com>     "madrid.jay@dorsey.com"         Revan McQueen <Revan-                    RE: Message from KM_C368      Confidential communication between AMc employee
      Communications;                                                                          <madrid.jay@dorsey.com>;       McQueen@am.com>; Brandon                                                  and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                        "betts.gina@dorsey.com"<betts.gin      Winkler<Brandon-                                                     obtaining legal advice regarding NRA request for
                                                                                                      a@dorsey.com>           Winkler@am.com>; Melanie                                                documents, and work product created in anticipation of
                                                                                                                                 Montgomery <Melanie-                                                                       litigation.
                                                                                                                                Montgomery@am.com>
426    Attorney-Client     Message     8/20/2018 11:11   Bill Winkler <bill-winkler@am.com>     "madrid.jay@dorsey.com"         Revan McQueen <Revan-                    RE: Message from KM_C368      Confidential communication between AMc employee
      Communications;                                                                          <madrid.jay@dorsey.com>;       McQueen@am.com>; Brandon                                                  and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                        "betts.gina@dorsey.com"<betts.gin      Winkler<Brandon-                                                     obtaining legal advice regarding NRA request for
                                                                                                      a@dorsey.com>           Winkler@am.com>; Melanie                                                documents, and work product created in anticipation of
                                                                                                                                 Montgomery <Melanie-                                                                       litigation.
                                                                                                                                Montgomery@am.com>




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 #      Privilege Type          Record Type       Document Date                 Email From                        Email To                       Email CC                Email BCC            Email Subject                           Privilege Description
427     Attorney-Client           Message         8/20/2018 11:25        <betts.gina@dorsey.com>          <Revan-McQueen@am.com>                                                     FW: On behalf of Steve Ryan--   Confidential communication between AMc employee
       Communications;                                                                                                                                                               Attached Draft Letter/attorney     and counsel at Dorsey & Whitney for purposes of
         Work Product                                                                                                                                                                 client privilege-attorney work obtaining legal advice regarding draft correspondence
                                                                                                                                                                                                   product            to NRA counsel about document requests, and work
                                                                                                                                                                                                                           product created in anticipation of litigation.
428     Attorney-Client      Message_Attachment   8/20/2018 11:25                                                                                                                                                    Confidential communication between AMc employee
       Communications;                                                                                                                                                                                                  and counsel at Dorsey & Whitney for purposes of
         Work Product                                                                                                                                                                                                obtaining legal advice regarding draft correspondence
                                                                                                                                                                                                                      to NRA counsel about document requests, and work
                                                                                                                                                                                                                           product created in anticipation of litigation.
429   Forwarding Attorney-        Message         8/20/2018 12:06         Ashley Hackler <ashley-             Bill Winkler <bill-                                                    FW: Letter - Fair Market Value    AMc employee internally forwarding confidential
            Client                                                          hackler@am.com>                   winkler@am.com>                                                                    Inquiry            communication between AMc employee and counsel at
      Communications and                                                                                                                                                                                               Dorsey & Whitney for purposes of obtaining legal
         Work Product                                                                                                                                                                                               advice and work product regarding talent contract, and
                                                                                                                                                                                                                        work product created in anticipation of litigation.
430   Forwarding Attorney-   Message_Attachment   8/20/2018 12:06                                                                                                                                                      AMc employee internally forwarding confidential
            Client                                                                                                                                                                                                  communication between AMc employee and counsel at
      Communications and                                                                                                                                                                                               Dorsey & Whitney for purposes of obtaining legal
         Work Product                                                                                                                                                                                               advice and work product regarding talent contract, and
                                                                                                                                                                                                                        work product created in anticipation of litigation.
431   Forwarding Attorney-   Message_Attachment   8/20/2018 12:06                                                                                                                                                      AMc employee internally forwarding confidential
            Client                                                                                                                                                                                                  communication between AMc employee and counsel at
      Communications and                                                                                                                                                                                               Dorsey & Whitney for purposes of obtaining legal
         Work Product                                                                                                                                                                                               advice and work product regarding talent contract, and
                                                                                                                                                                                                                        work product created in anticipation of litigation.
432     Attorney-Client           Message         8/20/2018 14:43       <madrid.jay@dorsey.com>             <bill-winkler@am.com>                                                     RE: Message from KM_C368 Confidential communication between AMc employee
       Communications;                                                                                                                                                                                                  and counsel at Dorsey & Whitney for purposes of
         Work Product                                                                                                                                                                                                   obtaining legal advice regarding NRA request for
                                                                                                                                                                                                                    documents, and work product created in anticipation of
                                                                                                                                                                                                                                            litigation.
433     Attorney-Client           Message         8/20/2018 15:20   Bill Winkler <bill-winkler@am.com>     "madrid.jay@dorsey.com"       Brandon Winkler <Brandon-                    RE: Message from KM_C368 Confidential communication between AMc employee
       Communications;                                                                                     <madrid.jay@dorsey.com>       Winkler@am.com>; Melanie                                                       and counsel at Dorsey & Whitney for purposes of
         Work Product                                                                                                                       Montgomery<Melanie-                                                         obtaining legal advice regarding NRA request for
                                                                                                                                          Montgomery@am.com>;                                                       documents, and work product created in anticipation of
                                                                                                                                        "Lacey (Duffy) Cremer" <lacey-                                                                      litigation.
                                                                                                                                              cremer@am.com>
434     Attorney-Client           Message         8/20/2018 15:20   Bill Winkler <bill-winkler@am.com>     "madrid.jay@dorsey.com"       Brandon Winkler <Brandon-                   RE: Message from KM_C368            Confidential communication between AMc employee
       Communications;                                                                                     <madrid.jay@dorsey.com>       Winkler@am.com>; Melanie                                                         and counsel at Dorsey & Whitney for purposes of
         Work Product                                                                                                                       Montgomery<Melanie-                                                           obtaining legal advice regarding NRA request for
                                                                                                                                          Montgomery@am.com>;                                                           documents, and work product created in anticipation of
                                                                                                                                        "Lacey (Duffy) Cremer" <lacey-                                                                        litigation.
                                                                                                                                              cremer@am.com>
435     Attorney-Client           Message         8/20/2018 15:43   Bill Winkler <bill-winkler@am.com>     "madrid.jay@dorsey.com"                                                    conference call on audit letter    Confidential communication between AMc employee
       Communications;                                                                                    <madrid.jay@dorsey.com>;                                                                                        and counsel at Dorsey & Whitney for purposes of
         Work Product                                                                                     Brandon Winkler<Brandon-                                                                                        obtaining legal advice regarding NRA request for
                                                                                                          Winkler@am.com>; Melanie                                                                                      documents, and work product created in anticipation of
                                                                                                            Montgomery <Melanie-                                                                                                              litigation.
                                                                                                         Montgomery@am.com>; "Lacey
                                                                                                            (Duffy) Cremer" <lacey-
                                                                                                               cremer@am.com>




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                                                                                                                        AMC Second Amended Privilege Log


 #     Privilege Type       Record Type       Document Date                 Email From                          Email To                      Email CC                  Email BCC          Email Subject                              Privilege Description
436    Attorney-Client        Message         8/20/2018 15:43   Bill Winkler <bill-winkler@am.com>      "madrid.jay@dorsey.com"                                                     conference call on audit letter    Confidential communication between AMc employee
      Communications;                                                                                  <madrid.jay@dorsey.com>;                                                                                         and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                   Brandon Winkler<Brandon-                                                                                         obtaining legal advice regarding NRA request for
                                                                                                      Winkler@am.com>; Melanie                                                                                        documents, and work product created in anticipation of
                                                                                                         Montgomery <Melanie-                                                                                                               litigation.
                                                                                                     Montgomery@am.com>; "Lacey
                                                                                                         (Duffy) Cremer" <lacey-
                                                                                                           cremer@am.com>
437    Attorney-Client        Message         8/20/2018 20:37        <betts.gina@dorsey.com>          <Revan-McQueen@am.com>                                                        Re: On behalf of Steve Ryan--      Confidential communication between AMc employee
      Communications;                                                                                                                                                               Attached Draft Letter/attorney        and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                                                                                client privilege-attorney work     obtaining legal advice regarding draft correspondence
                                                                                                                                                                                                 product                to NRA counsel about document requests, and work
                                                                                                                                                                                                                             product created in anticipation of litigation.
438                      Message_Attachment   8/20/2018 20:37                                                                                                                                                           Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                         file). Not privileged.
439                      Message_Attachment   8/20/2018 20:37                                                                                                                                                           Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                         file). Not privileged.
440    Attorney-Client        Message         8/21/2018 11:46        Revan McQueen <Revan-              "betts.gina@dorsey.com"                                                     Re: On behalf of Steve Ryan--      Confidential communication between AMc employee
      Communications;                                                 McQueen@am.com>                   <betts.gina@dorsey.com>                                                     Attached Draft Letter/attorney    and counsel at Dorsey & Whitney and McDermott Will
        Work Product                                                                                                                                                                client privilege-attorney work         & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                 product                   regarding NRA business relationship, and work
                                                                                                                                                                                                                             product created in anticipation of litigation.
441    Attorney-Client        Message         8/21/2018 13:21   Bill Winkler <bill-winkler@am.com>      "madrid.jay@dorsey.com"         Ashley Hackler <ashley-                     RE: Updated Letter to Brewer       Confidential communication between AMc employee
      Communications;                                                                                   <madrid.jay@dorsey.com>           hackler@am.com>                                                                 and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                                                                                                                      obtaining legal advice regarding NRA request for
                                                                                                                                                                                                                      documents, and work product created in anticipation of
                                                                                                                                                                                                                                                litigation.
442    Attorney-Client        Message         8/21/2018 13:21   Bill Winkler <bill-winkler@am.com>      "madrid.jay@dorsey.com"         Ashley Hackler <ashley-                     RE: Updated Letter to Brewer       Confidential communication between AMc employee
      Communications;                                                                                   <madrid.jay@dorsey.com>           hackler@am.com>                                                                 and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                                                                                                                      obtaining legal advice regarding NRA request for
                                                                                                                                                                                                                      documents, and work product created in anticipation of
                                                                                                                                                                                                                                                litigation.
443    Attorney-Client        Message         8/21/2018 14:38       <madrid.jay@dorsey.com>          <bill-winkler@am.com>; <ashley-                                                  FW: Letter to Brewer.pdf         Confidential communication between AMc employee
      Communications;                                                                                        hackler@am.com>                                                                                              and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                                                                                                                      obtaining legal advice regarding NRA request for
                                                                                                                                                                                                                      documents, and work product created in anticipation of
                                                                                                                                                                                                                                                litigation.
444    Attorney-Client   Message_Attachment   8/21/2018 14:38                                                                                                                                                          Confidential communication between AMc employee
      Communications;                                                                                                                                                                                                     and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                                                                                                                      obtaining legal advice regarding NRA request for
                                                                                                                                                                                                                      documents, and work product created in anticipation of
                                                                                                                                                                                                                                                litigation.
445    Attorney-Client        Message         8/21/2018 15:09       <madrid.jay@dorsey.com>             <bill-winkler@am.com>;                                                          FW: Letter to Phillips         Confidential communication between AMc employee
      Communications;                                                                                <Melanie-Montgomery@am.com>                                                                                          and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                                                                                                                     obtaining legal advice regarding correspondence to
                                                                                                                                                                                                                          NRA about document requests, and work product
                                                                                                                                                                                                                                 created in anticipation of litigation.




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 #     Privilege Type       Record Type       Document Date                Email From                         Email To                        Email CC              Email BCC          Email Subject                             Privilege Description
446    Attorney-Client   Message_Attachment   8/21/2018 15:09                                                                                                                                                    Confidential communication between AMc employee
      Communications;                                                                                                                                                                                              and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                                                                                                              obtaining legal advice regarding correspondence to
                                                                                                                                                                                                                   NRA about document requests, and work product
                                                                                                                                                                                                                          created in anticipation of litigation.
447    Attorney-Client        Message         8/21/2018 15:50   Bill Winkler <bill-winkler@am.com>    "madrid.jay@dorsey.com"                                                      RE: Letter to Brewer.pdf      Confidential communication between AMc employee
      Communications;                                                                                 <madrid.jay@dorsey.com>                                                                                      and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                                                                                                               obtaining legal advice regarding NRA request for
                                                                                                                                                                                                                documents, and work product created in anticipation of
                                                                                                                                                                                                                                       litigation.
448    Attorney-Client        Message         8/21/2018 16:37   Bill Winkler <bill-winkler@am.com>     "madrid.jay@dorsey.com"                                                       RE: Letter to Phillips      Confidential communication between AMc employee
      Communications;                                                                                 <madrid.jay@dorsey.com>;                                                                                     and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                 Melanie Montgomery<Melanie-                                                                                  obtaining legal advice regarding correspondence to
                                                                                                        Montgomery@am.com>                                                                                         NRA about document requests, and work product
                                                                                                                                                                                                                          created in anticipation of litigation.
449    Attorney-Client   Message_Attachment   8/21/2018 16:37                                                                                                                                                    Confidential communication between AMc employee
      Communications;                                                                                                                                                                                              and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                                                                                                              obtaining legal advice regarding correspondence to
                                                                                                                                                                                                                   NRA about document requests, and work product
                                                                                                                                                                                                                          created in anticipation of litigation.
450    Attorney-Client        Message         8/21/2018 16:37   Bill Winkler <bill-winkler@am.com>     "madrid.jay@dorsey.com"                                                       RE: Letter to Phillips      Confidential communication between AMc employee
      Communications;                                                                                 <madrid.jay@dorsey.com>;                                                                                     and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                 Melanie Montgomery<Melanie-                                                                                  obtaining legal advice regarding correspondence to
                                                                                                        Montgomery@am.com>                                                                                         NRA about document requests, and work product
                                                                                                                                                                                                                          created in anticipation of litigation.
451    Attorney-Client   Message_Attachment   8/21/2018 16:37                                                                                                                                                    Confidential communication between AMc employee
      Communications;                                                                                                                                                                                              and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                                                                                                              obtaining legal advice regarding correspondence to
                                                                                                                                                                                                                   NRA about document requests, and work product
                                                                                                                                                                                                                          created in anticipation of litigation.
452    Attorney-Client        Message         8/21/2018 17:17   Bill Winkler <bill-winkler@am.com>    "madrid.jay@dorsey.com"        Melanie Montgomery <Melanie-               Jay - including Melanie's input Confidential communication between AMc employee
      Communications;                                                                                 <madrid.jay@dorsey.com>           Montgomery@am.com>                        per our phone conversation.      and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                                                                                                              obtaining legal advice regarding correspondence to
                                                                                                                                                                                                                   NRA about document requests, and work product
                                                                                                                                                                                                                          created in anticipation of litigation.
453    Attorney-Client   Message_Attachment   8/21/2018 17:17                                                                                                                                                    Confidential communication between AMc employee
      Communications;                                                                                                                                                                                              and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                                                                                                              obtaining legal advice regarding correspondence to
                                                                                                                                                                                                                   NRA about document requests, and work product
                                                                                                                                                                                                                          created in anticipation of litigation.
454    Attorney-Client        Message         8/21/2018 17:17   Bill Winkler <bill-winkler@am.com>    "madrid.jay@dorsey.com"        Melanie Montgomery <Melanie-               Jay - including Melanie's input Confidential communication between AMc employee
      Communications;                                                                                 <madrid.jay@dorsey.com>           Montgomery@am.com>                        per our phone conversation.      and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                                                                                                              obtaining legal advice regarding correspondence to
                                                                                                                                                                                                                   NRA about document requests, and work product
                                                                                                                                                                                                                          created in anticipation of litigation.
455    Attorney-Client   Message_Attachment   8/21/2018 17:17                                                                                                                                                    Confidential communication between AMc employee
      Communications;                                                                                                                                                                                              and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                                                                                                              obtaining legal advice regarding correspondence to
                                                                                                                                                                                                                   NRA about document requests, and work product
                                                                                                                                                                                                                          created in anticipation of litigation.




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 #     Privilege Type       Record Type       Document Date               Email From                         Email To                         Email CC             Email BCC           Email Subject                             Privilege Description
456    Attorney-Client        Message         8/21/2018 18:28       <madrid.jay@dorsey.com>           <bill-winkler@am.com>                   <Melanie-                         RE: Jay - including Melanie's     Confidential communication between AMc employee
      Communications;                                                                                                                   Montgomery@am.com>;                         input per our phone            and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                                  <Brandon-Winkler@am.com>                          conversation.              obtaining legal advice regarding NRA request for
                                                                                                                                                                                                                 documents, and work product created in anticipation of
                                                                                                                                                                                                                                        litigation.
457    Attorney-Client        Message         8/22/2018 10:01          "Jordan, Cheryl"               "betts.gina@dorsey.com"              "Ryan, Stephen"                       On behalf of Steve Ryan --       Confidential communication between AMc employee
      Communications;                                                <Cajordan@mwe.com>           <betts.gina@dorsey.com>; "Revan        <SRyan@mwe.com>                        Attached draft/Attorney Work and counsel at Dorsey & Whitney and McDermott Will
        Work Product                                                                                       McQueen (Revan-                                                     Product-attorney client privilege    & Emery for purposes of obtaining legal advice
                                                                                                    McQueen@am.com)" <Revan-                                                                                        regarding NRA business relationship, and work
                                                                                                         McQueen@am.com>                                                                                               product created in anticipation of litigation.
458    Attorney-Client   Message_Attachment   8/22/2018 10:01                                                                                                                                                     Draft correspondence of letter from AMc Counsel to
      Communications;                                                                                                                                                                                                                NRA counsel.
        Work Product
459    Attorney-Client        Message         8/22/2018 11:03   "Ryan, Stephen" <SRyan@mwe.com>       "betts.gina@dorsey.com"                                                  RE: On behalf of Steve Ryan -- Confidential communication between AMc employee
      Communications;                                                                             <betts.gina@dorsey.com>; "Revan                                               Attached draft/Attorney Work and counsel at Dorsey & Whitney and McDermott Will
        Work Product                                                                                       McQueen (Revan-                                                     Product-attorney client privilege   & Emery for purposes of obtaining legal advice
                                                                                                    McQueen@am.com)" <Revan-                                                                                       regarding NRA business relationship, and work
                                                                                                         McQueen@am.com>                                                                                             product created in anticipation of litigation.
460    Attorney-Client        Message         8/22/2018 11:09       <betts.gina@dorsey.com>         <SRyan@mwe.com>; <Revan-                                                   RE: On behalf of Steve Ryan -- Confidential communication between AMc employee
      Communications;                                                                                    McQueen@am.com>                                                        Attached draft/Attorney Work and counsel at Dorsey & Whitney and McDermott Will
        Work Product                                                                                                                                                           Product-attorney client privilege   & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                   regarding NRA business relationship, and work
                                                                                                                                                                                                                     product created in anticipation of litigation.
461    Attorney-Client        Message         8/22/2018 11:16   "Ryan, Stephen" <SRyan@mwe.com>        "betts.gina@dorsey.com"                                                 RE: On behalf of Steve Ryan -- Confidential communication between AMc employee
      Communications;                                                                             <betts.gina@dorsey.com>; "Revan-                                              Attached draft/Attorney Work and counsel at Dorsey & Whitney and McDermott Will
        Work Product                                                                                McQueen@am.com"<Revan-                                                     Product-attorney client privilege   & Emery for purposes of obtaining legal advice
                                                                                                         McQueen@am.com>                                                                                           regarding NRA business relationship, and work
                                                                                                                                                                                                                     product created in anticipation of litigation.
462    Attorney-Client        Message         8/22/2018 11:17       <betts.gina@dorsey.com>        <SRyan@mwe.com>; <Revan-                                                    RE: On behalf of Steve Ryan -- Confidential communication between AMc employee
      Communications;                                                                                 McQueen@am.com>                                                           Attached draft/Attorney Work and counsel at Dorsey & Whitney and McDermott Will
        Work Product                                                                                                                                                           Product-attorney client privilege   & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                   regarding NRA business relationship, and work
                                                                                                                                                                                                                     product created in anticipation of litigation.
463    Attorney-Client        Message         8/22/2018 11:36       Revan McQueen <Revan-                   "Ryan, Stephen"                                                    Re: On behalf of Steve Ryan -- Confidential communication between AMc employee
      Communications;                                                McQueen@am.com>                     <SRyan@mwe.com>;                                                       Attached draft/Attorney Work and counsel at Dorsey & Whitney and McDermott Will
        Work Product                                                                              "betts.gina@dorsey.com"<betts.gin                                            Product-attorney client privilege   & Emery for purposes of obtaining legal advice
                                                                                                            a@dorsey.com>                                                                                          regarding NRA business relationship, and work
                                                                                                                                                                                                                     product created in anticipation of litigation.
464    Attorney-Client   Message_Attachment   8/22/2018 11:36                                                                                                                                                    Draft correspondence of letter from AMc Counsel to
      Communications;                                                                                                                                                                                                              NRA counsel.
        Work Product
465    Attorney-Client        Message         8/22/2018 12:01       <betts.gina@dorsey.com>             <Lbasha@mwe.com>              <Revan-McQueen@am.com>                   Engagement Letter Comments        Confidential communication between AMc employee
      Communications                                                                                                                                                                                              and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                                 obtaining legal advice regarding AMc-NRA business
                                                                                                                                                                                                                                      relationship.
466   Attorney-Client    Message_Attachment   8/22/2018 12:01                                                                                                                                                    Confidential communication between AMc employee
      Communications                                                                                                                                                                                            and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                                                                                                   & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                   regarding NRA business relationship with AMc.




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 #     Privilege Type       Record Type       Document Date                 Email From                            Email To                       Email CC               Email BCC           Email Subject                                Privilege Description
467    Attorney-Client        Message         8/22/2018 12:22   Bill Winkler <bill-winkler@am.com>          "Gina Betts - Dorsey                                                                                         Confidential communication between AMc employee
      Communications;                                                                                    (betts.gina@dorsey.com)"                                                                                          and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                     <betts.gina@dorsey.com>                                                                                           obtaining legal advice regarding NRA request for
                                                                                                                                                                                                                        documents, and work product created in anticipation of
                                                                                                                                                                                                                                               litigation.
468    Attorney-Client   Message_Attachment   8/22/2018 12:22                                                                                                                                                            Confidential communication between AMc employee
      Communications;                                                                                                                                                                                                      and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                                                                                                                       obtaining legal advice regarding NRA request for
                                                                                                                                                                                                                        documents, and work product created in anticipation of
                                                                                                                                                                                                                                               litigation.
469    Attorney-Client        Message         8/22/2018 12:28        <betts.gina@dorsey.com>           <Revan-McQueen@am.com>;                                                      RE: On behalf of Steve Ryan --       Confidential communication between AMc employee
      Communications;                                                                                      <SRyan@mwe.com>                                                           Attached draft/Attorney Work       and counsel at Dorsey & Whitney and McDermott Will
        Work Product                                                                                                                                                                Product-attorney client privilege       & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                            regarding NRA business relationship, and work
                                                                                                                                                                                                                              product created in anticipation of litigation.
470    Attorney-Client        Message         8/22/2018 12:28   "Ryan, Stephen" <SRyan@mwe.com>           "betts.gina@dorsey.com"                                                   RE: On behalf of Steve Ryan --       Confidential communication between AMc employee
      Communications;                                                                                <betts.gina@dorsey.com>; "Revan-                                                Attached draft/Attorney Work       and counsel at Dorsey & Whitney and McDermott Will
        Work Product                                                                                   McQueen@am.com"<Revan-                                                       Product-attorney client privilege       & Emery for purposes of obtaining legal advice
                                                                                                            McQueen@am.com>                                                                                                 regarding NRA business relationship, and work
                                                                                                                                                                                                                              product created in anticipation of litigation.
471    Attorney-Client        Message         8/22/2018 12:48   Bill Winkler <bill-winkler@am.com>      "madrid.jay@dorsey.com"         Melanie Montgomery <Melanie-                     wfw changes attached            Confidential communication between AMc employee
      Communications;                                                                                   <madrid.jay@dorsey.com>            Montgomery@am.com>;                                                             and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                                    "Lacey (Duffy) Cremer"<lacey-                                                     obtaining legal advice regarding correspondence to
                                                                                                                                         cremer@am.com>; Brandon                                                           NRA about document requests, and work product
                                                                                                                                             Winkler <Brandon-                                                                    created in anticipation of litigation.
                                                                                                                                             Winkler@am.com>
472    Attorney-Client   Message_Attachment   8/22/2018 12:48                                                                                                                                                           Confidential communication between AMc employee
      Communications;                                                                                                                                                                                                     and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                                                                                                                     obtaining legal advice regarding correspondence to
                                                                                                                                                                                                                          NRA about document requests, and work product
                                                                                                                                                                                                                                 created in anticipation of litigation.
473    Attorney-Client        Message         8/22/2018 12:48   Bill Winkler <bill-winkler@am.com>      "madrid.jay@dorsey.com"         Melanie Montgomery <Melanie-                     wfw changes attached           Confidential communication between AMc employee
      Communications;                                                                                   <madrid.jay@dorsey.com>            Montgomery@am.com>;                                                            and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                                    "Lacey (Duffy) Cremer"<lacey-                                                    obtaining legal advice regarding correspondence to
                                                                                                                                         cremer@am.com>; Brandon                                                          NRA about document requests, and work product
                                                                                                                                             Winkler <Brandon-                                                                   created in anticipation of litigation.
                                                                                                                                             Winkler@am.com>
474    Attorney-Client   Message_Attachment   8/22/2018 12:48                                                                                                                                                           Confidential communication between AMc employee
      Communications;                                                                                                                                                                                                     and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                                                                                                                     obtaining legal advice regarding correspondence to
                                                                                                                                                                                                                          NRA about document requests, and work product
                                                                                                                                                                                                                                 created in anticipation of litigation.
475    Attorney-Client        Message         8/22/2018 13:06     Melanie Montgomery <Melanie-               Bill Winkler <bill-      "Lacey (Duffy) Cremer" <lacey-                   Re: wfw changes attached         Confidential communication between AMc employee
      Communications;                                                Montgomery@am.com>                     winkler@am.com>;           cremer@am.com>; Brandon                                                            and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                 "madrid.jay@dorsey.com"<madrid.j       Winkler<Brandon-                                                             obtaining legal advice regarding correspondence to
                                                                                                              ay@dorsey.com>               Winkler@am.com>                                                                NRA about document requests, and work product
                                                                                                                                                                                                                                 created in anticipation of litigation.




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 #     Privilege Type       Record Type       Document Date               Email From                         Email To                        Email CC                 Email BCC         Email Subject                             Privilege Description
476    Attorney-Client   Message_Attachment   8/22/2018 13:06                                                                                                                                                     Confidential communication between AMc employee
      Communications;                                                                                                                                                                                               and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                                                                                                               obtaining legal advice regarding correspondence to
                                                                                                                                                                                                                    NRA about document requests, and work product
                                                                                                                                                                                                                           created in anticipation of litigation.
477    Attorney-Client        Message         8/22/2018 13:06     Melanie Montgomery <Melanie-            Bill Winkler <bill-      "Lacey (Duffy) Cremer" <lacey-                  Re: wfw changes attached       Confidential communication between AMc employee
      Communications;                                                Montgomery@am.com>                  winkler@am.com>;           cremer@am.com>; Brandon                                                         and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                              "madrid.jay@dorsey.com"<madrid.j       Winkler<Brandon-                                                          obtaining legal advice regarding correspondence to
                                                                                                           ay@dorsey.com>               Winkler@am.com>                                                             NRA about document requests, and work product
                                                                                                                                                                                                                           created in anticipation of litigation.
478    Attorney-Client   Message_Attachment   8/22/2018 13:06                                                                                                                                                     Confidential communication between AMc employee
      Communications;                                                                                                                                                                                               and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                                                                                                               obtaining legal advice regarding correspondence to
                                                                                                                                                                                                                    NRA about document requests, and work product
                                                                                                                                                                                                                           created in anticipation of litigation.
479    Attorney-Client        Message         8/22/2018 15:40   "Ryan, Stephen" <SRyan@mwe.com>     "Revan-McQueen@am.com"                                                        FW: Attached draft/Attorney     Confidential communication between AMc employee
      Communications;                                                                               <Revan-McQueen@am.com>                                                        Work Product-attorney client   and counsel at Dorsey & Whitney and McDermott Will
        Work Product                                                                                                                                                                       privilege                 & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                     regarding NRA business relationship, and work
                                                                                                                                                                                                                       product created in anticipation of litigation.
480    Attorney-Client   Message_Attachment   8/22/2018 15:40                                                                                                                                                     Confidential communication between AMc employee
      Communications;                                                                                                                                                                                            and counsel at Dorsey & Whitney and McDermott Will
        Work Product                                                                                                                                                                                                 & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                     regarding NRA business relationship, and work
                                                                                                                                                                                                                       product created in anticipation of litigation.
481    Attorney-Client        Message         8/22/2018 15:58       <betts.gina@dorsey.com>         <Revan-McQueen@am.com>                                                        FW: Attached draft/Attorney     Confidential communication between AMc employee
      Communications;                                                                                                                                                             Work Product-attorney client   and counsel at Dorsey & Whitney and McDermott Will
        Work Product                                                                                                                                                                       privilege                 & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                     regarding NRA business relationship, and work
                                                                                                                                                                                                                       product created in anticipation of litigation.
482    Attorney-Client   Message_Attachment   8/22/2018 15:58                                                                                                                                                     Confidential communication between AMc employee
      Communications;                                                                                                                                                                                            and counsel at Dorsey & Whitney and McDermott Will
        Work Product                                                                                                                                                                                                 & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                     regarding NRA business relationship, and work
                                                                                                                                                                                                                       product created in anticipation of litigation.
483   Attorney-Client         Message         8/22/2018 16:04       Revan McQueen <Revan-                   "Ryan, Stephen"                                                       Re: Attached draft/Attorney     Confidential communication between AMc employee
      Communications                                                 McQueen@am.com>                     <SRyan@mwe.com>;                                                         Work Product-attorney client   and counsel at Dorsey & Whitney and McDermott Will
                                                                                                  "betts.gina@dorsey.com"<betts.gin                                                        privilege                 & Emery for purposes of obtaining legal advice
                                                                                                            a@dorsey.com>                                                                                                 regarding NRA business relationship.
484    Attorney-Client        Message         8/24/2018 10:34       <madrid.jay@dorsey.com>            <bill-winkler@am.com>;         <betts.gina@dorsey.com>                        FW: Letter to Phillips       Confidential communication between AMc employee
      Communications;                                                                             <Melanie-Montgomery@am.com>                                                                                       and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                                                                                                               obtaining legal advice regarding correspondence to
                                                                                                                                                                                                                    NRA about document requests, and work product
                                                                                                                                                                                                                           created in anticipation of litigation.
485    Attorney-Client   Message_Attachment   8/24/2018 10:34                                                                                                                                                     Confidential communication between AMc employee
      Communications;                                                                                                                                                                                               and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                                                                                                               obtaining legal advice regarding correspondence to
                                                                                                                                                                                                                    NRA about document requests, and work product
                                                                                                                                                                                                                           created in anticipation of litigation.




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                                                                                                                                                                                                                                                  APP. 01151
                                                      Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21                                    Page 395 of 1087 PageID 30600
                                                                                                          AMC Second Amended Privilege Log


 #     Privilege Type       Record Type       Document Date          Email From                   Email To                      Email CC            Email BCC           Email Subject                           Privilege Description
486    Attorney-Client   Message_Attachment   8/24/2018 10:34                                                                                                                                  Confidential communication between AMc employee
      Communications;                                                                                                                                                                             and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                                                                                             obtaining legal advice regarding correspondence to
                                                                                                                                                                                                  NRA about document requests, and work product
                                                                                                                                                                                                         created in anticipation of litigation.
487    Attorney-Client        Message         8/24/2018 10:52   <betts.gina@dorsey.com>   <Revan-McQueen@am.com>                                                    FW: Letter to Phillips     Confidential communication between AMc employee
      Communications;                                                                                                                                                                             and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                                                                                           obtaining legal advice regarding draft correspondence
                                                                                                                                                                                                to NRA about document requests, and work product
                                                                                                                                                                                                         created in anticipation of litigation.
488    Attorney-Client   Message_Attachment   8/24/2018 10:52                                                                                                                                  Confidential communication between AMc employee
      Communications;                                                                                                                                                                             and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                                                                                           obtaining legal advice regarding draft correspondence
                                                                                                                                                                                                to NRA about document requests, and work product
                                                                                                                                                                                                         created in anticipation of litigation.
489    Attorney-Client   Message_Attachment   8/24/2018 10:52                                                                                                                                  Confidential communication between AMc employee
      Communications;                                                                                                                                                                             and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                                                                                           obtaining legal advice regarding draft correspondence
                                                                                                                                                                                                to NRA about document requests, and work product
                                                                                                                                                                                                         created in anticipation of litigation.
490    Attorney-Client        Message         8/24/2018 12:19   <betts.gina@dorsey.com>   <Revan-McQueen@am.com>                                                    FW: Letter to Phillips     Confidential communication between AMc employee
      Communications;                                                                                                                                                                             and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                                                                                           obtaining legal advice regarding draft correspondence
                                                                                                                                                                                                to NRA about document requests, and work product
                                                                                                                                                                                                         created in anticipation of litigation.
491    Attorney-Client   Message_Attachment   8/24/2018 12:19                                                                                                                                  Confidential communication between AMc employee
      Communications;                                                                                                                                                                             and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                                                                                           obtaining legal advice regarding draft correspondence
                                                                                                                                                                                                to NRA about document requests, and work product
                                                                                                                                                                                                         created in anticipation of litigation.
492    Attorney-Client   Message_Attachment   8/24/2018 12:19                                                                                                                                  Confidential communication between AMc employee
      Communications;                                                                                                                                                                             and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                                                                                           obtaining legal advice regarding draft correspondence
                                                                                                                                                                                                to NRA about document requests, and work product
                                                                                                                                                                                                         created in anticipation of litigation.
493   Attorney-Client         Message         8/24/2018 12:27   Revan McQueen <Revan-      "betts.gina@dorsey.com"                                                  Re: Letter to Phillips     Confidential communication between AMc employee
      Communications                                             McQueen@am.com>           <betts.gina@dorsey.com>                                                                                and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                               obtaining legal advice regarding draft correspondence
                                                                                                                                                                                                          to NRA about document requests.
494                      Message_Attachment   8/24/2018 12:27                                                                                                                                   Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                  file). Not privileged.
495                      Message_Attachment   8/24/2018 12:27                                                                                                                                   Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                  file). Not privileged.
496   Attorney-Client         Message         8/27/2018 13:25   <betts.gina@dorsey.com>   <Revan-McQueen@am.com>                                                FW: On behalf of Steve Ryan -- Confidential communication between AMc employee
      Communications                                                                                                                                                   Attached Letter            and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                               obtaining legal advice regarding correspondence from
                                                                                                                                                                                                                      NRA counsel.
497                      Message_Attachment   8/27/2018 13:25                                                                                                                                   Exhibit from W. Brewer correspondence attached to
                                                                                                                                                                                                           privileged email. Not privileged.
498                      Message_Attachment   8/27/2018 13:25                                                                                                                                   Exhibit from W. Brewer correspondence attached to
                                                                                                                                                                                                           privileged email. Not privileged.



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                                                       Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21                                     Page 396 of 1087 PageID 30601
                                                                                                            AMC Second Amended Privilege Log


 #     Privilege Type       Record Type       Document Date          Email From                    Email To                       Email CC           Email BCC        Email Subject                           Privilege Description
499                      Message_Attachment   8/27/2018 13:25                                                                                                                                  Exhibit from W. Brewer correspondence attached to
                                                                                                                                                                                                         privileged email. Not privileged.
500                      Message_Attachment   8/27/2018 13:25                                                                                                                                  Exhibit from W. Brewer correspondence attached to
                                                                                                                                                                                                         privileged email. Not privileged.
501                      Message_Attachment   8/27/2018 13:25                                                                                                                                  Exhibit from W. Brewer correspondence attached to
                                                                                                                                                                                                         privileged email. Not privileged.
502                      Message_Attachment   8/27/2018 13:25                                                                                                                                  Exhibit from W. Brewer correspondence attached to
                                                                                                                                                                                                         privileged email. Not privileged.
503                      Message_Attachment   8/27/2018 13:25                                                                                                                                  Exhibit from W. Brewer correspondence attached to
                                                                                                                                                                                                         privileged email. Not privileged.
504                      Message_Attachment   8/27/2018 13:25                                                                                                                                  Exhibit from W. Brewer correspondence attached to
                                                                                                                                                                                                         privileged email. Not privileged.
505    Attorney-Client        Message         8/27/2018 14:20   Revan McQueen <Revan-           "SRyan@mwe.com"                                                     Fwd: <no subject>         Confidential communication between AMc employee
      Communications;                                            McQueen@am.com>               <SRyan@mwe.com>;                                                                              and counsel at Dorsey & Whitney and McDermott Will
        Work Product                                                                    "betts.gina@dorsey.com"<betts.gin                                                                        & Emery for purposes of obtaining legal advice
                                                                                                  a@dorsey.com>                                                                                  regarding planned response to letter from NRA
                                                                                                                                                                                               counsel, and work product created in anticipation of
                                                                                                                                                                                                                       litigation.
506                      Message_Attachment   8/27/2018 14:20                                                                                                                                 Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                file). Not privileged.
507    Attorney-Client   Message_Attachment   8/27/2018 14:20                                                                                                                                 Confidential communication between AMc employee
      Communications;                                                                                                                                                                        and counsel at Dorsey & Whitney and McDermott Will
        Work Product                                                                                                                                                                             & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                 regarding planned response to letter from NRA
                                                                                                                                                                                               counsel, and work product created in anticipation of
                                                                                                                                                                                                                       litigation.
508    Attorney-Client        Message         8/27/2018 15:41   Revan McQueen <Revan-         "SRyan@mwe.com"                                                      Fwd: Letter to Phillips    Confidential communication between AMc employee
      Communications;                                            McQueen@am.com>              <SRyan@mwe.com>                                                                                and counsel at McDermott Will & Emery for purposes
        Work Product                                                                                                                                                                            of obtaining legal advice regarding draft response
                                                                                                                                                                                              correspondence to NRA, and work product created in
                                                                                                                                                                                                             anticipation of litigation.
509                      Message_Attachment   8/27/2018 15:41                                                                                                                                 Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                file). Not privileged.
510    Attorney-Client   Message_Attachment   8/27/2018 15:41                                                                                                                                 Confidential communication between AMc employee
      Communications;                                                                                                                                                                        and counsel at McDermott Will & Emery for purposes
        Work Product                                                                                                                                                                            of obtaining legal advice regarding draft response
                                                                                                                                                                                              correspondence to NRA, and work product created in
                                                                                                                                                                                                             anticipation of litigation.
511                      Message_Attachment   8/27/2018 15:41                                                                                                                                 Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                file). Not privileged.
512    Attorney-Client   Message_Attachment   8/27/2018 15:41                                                                                                                                 Confidential communication between AMc employee
      Communications;                                                                                                                                                                        and counsel at McDermott Will & Emery for purposes
        Work Product                                                                                                                                                                            of obtaining legal advice regarding draft response
                                                                                                                                                                                              correspondence to NRA, and work product created in
                                                                                                                                                                                                             anticipation of litigation.
513                      Message_Attachment   8/27/2018 15:41                                                                                                                                 Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                file). Not privileged.
514                      Message_Attachment   8/27/2018 15:41                                                                                                                                 Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                file). Not privileged.




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                                                            Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21                                                    Page 397 of 1087 PageID 30602
                                                                                                                           AMC Second Amended Privilege Log


 #       Privilege Type          Record Type       Document Date              Email From                            Email To                     Email CC                Email BCC           Email Subject                             Privilege Description
515      Attorney-Client           Message         8/27/2018 16:37       Revan McQueen <Revan-                   "Ryan, Stephen"                                                              Please Read             Confidential communication between AMc employee
        Communications;                                                   McQueen@am.com>                     <SRyan@mwe.com>;                                                                                       and counsel at Dorsey & Whitney and McDermott Will
          Work Product                                                                                 "betts.gina@dorsey.com"<betts.gin                                                                                 & Emery for purposes of obtaining legal advice
                                                                                                                a@dorsey.com>;                                                                                        regarding draft response correspondence to NRA, and
                                                                                                           "madrid.jay@dorsey.com"                                                                                       work product created in anticipation of litigation.
                                                                                                           <madrid.jay@dorsey.com>
516      Attorney-Client      Message_Attachment   8/27/2018 16:37                                                                                                                                                   Confidential communication between AMc employee
        Communications;                                                                                                                                                                                             and counsel at Dorsey & Whitney and McDermott Will
          Work Product                                                                                                                                                                                                  & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                     regarding draft response correspondence to NRA, and
                                                                                                                                                                                                                        work product created in anticipation of litigation.
517     Attorney-Client            Message         8/27/2018 16:57       Revan McQueen <Revan-             "betts.gina@dorsey.com"                                                   Re: On behalf of Steve Ryan -- Confidential communication between AMc employee
        Communications                                                    McQueen@am.com>                  <betts.gina@dorsey.com>                                                            Attached Letter          and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                                     obtaining legal advice regarding correspondence from
                                                                                                                                                                                                                                           NRA counsel.
518                           Message_Attachment   8/27/2018 16:57                                                                                                                                                    Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                       file). Not privileged.
519      Attorney-Client           Message         8/27/2018 18:14         Ariana Azimi <ariana-           "betts.gina@dorsey.com"         Revan McQueen <Revan-                        Letter to Wilson H.Phillips  Confidential communication between AMc employee
        Communications;                                                      azimi@am.com>                 <betts.gina@dorsey.com>          McQueen@am.com>                                                            and counsel at Dorsey & Whitney for purposes of
          Work Product                                                                                                                                                                                               obtaining legal advice regarding draft correspondence
                                                                                                                                                                                                                        from AMc to NRA, and work product created in
                                                                                                                                                                                                                                    anticipation of litigation.
520      Attorney-Client      Message_Attachment   8/27/2018 18:14                                                                                                                                                   Confidential communication between AMc employee
        Communications;                                                                                                                                                                                                and counsel at Dorsey & Whitney for purposes of
          Work Product                                                                                                                                                                                               obtaining legal advice regarding draft correspondence
                                                                                                                                                                                                                        from AMc to NRA, and work product created in
                                                                                                                                                                                                                                    anticipation of litigation.
521      Attorney-Client      Message_Attachment   8/27/2018 18:14                                                                                                                                                   Confidential communication between AMc employee
        Communications;                                                                                                                                                                                                and counsel at Dorsey & Whitney for purposes of
          Work Product                                                                                                                                                                                               obtaining legal advice regarding draft correspondence
                                                                                                                                                                                                                        from AMc to NRA, and work product created in
                                                                                                                                                                                                                                    anticipation of litigation.
522     Attorney-Client            Message         8/27/2018 18:25   "Ryan, Stephen" <SRyan@mwe.com>        "betts.gina@dorsey.com"                                                     RE: Please Read. attorney    Confidential communication between AMc employee
        Communications                                                                                 <betts.gina@dorsey.com>; "Revan-                                              client communication and work and counsel at Dorsey & Whitney and McDermott Will
                                                                                                         McQueen@am.com"<Revan-                                                                   product.              & Emery for purposes of obtaining legal advice
                                                                                                             McQueen@am.com>;                                                                                         regarding revisions to draft correspondence to NRA.
                                                                                                           "madrid.jay@dorsey.com"
                                                                                                           <madrid.jay@dorsey.com>
523    Forwarding Attorney-        Message         8/27/2018 18:47       Revan McQueen <Revan-                  Bill Winkler <bill-                                                     Fwd: Please Read. attorney    AMc employee internally forwarding and discussing
      Client Communications                                               McQueen@am.com>                      winkler@am.com>                                                       client communication and work    confidential communication between AMc employee
                                                                                                                                                                                                 product.               and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                                       obtaining legal advice and work product regarding
                                                                                                                                                                                                                                         talent contract.
524    Forwarding Attorney- Message_Attachment     8/27/2018 18:47                                                                                                                                                    AMc employee internally forwarding and discussing
      Client Communications                                                                                                                                                                                           confidential communication between AMc employee
                                                                                                                                                                                                                        and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                                       obtaining legal advice and work product regarding
                                                                                                                                                                                                                                         talent contract.




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                                                                                                                 AMC Second Amended Privilege Log


 #        Privilege Type       Record Type       Document Date          Email From                      Email To                          Email CC                 Email BCC           Email Subject                             Privilege Description
525    Forwarding Attorney- Message_Attachment   8/27/2018 18:47                                                                                                                                                 AMc employee internally forwarding and discussing
      Client Communications                                                                                                                                                                                      confidential communication between AMc employee
                                                                                                                                                                                                                   and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                                   obtaining legal advice and work product regarding
                                                                                                                                                                                                                                       talent contract.
526     Attorney-Client          Message         8/27/2018 18:55   Revan McQueen <Revan-             "Ryan, Stephen"                "betts.gina@dorsey.com"                    Re: Please Read. attorney client Confidential communication between AMc employee
        Communications                                              McQueen@am.com>                <SRyan@mwe.com>                 <betts.gina@dorsey.com>;                      communication and work         and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                 "madrid.jay@dorsey.com"<madr                              product.                 & Emery for purposes of obtaining legal advice
                                                                                                                                      id.jay@dorsey.com>                                                          regarding revisions to draft correspondence to NRA.
527                        Message_Attachment    8/27/2018 18:55                                                                                                                                                 Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                   file). Not privileged.
528                        Message_Attachment    8/27/2018 18:55                                                                                                                                                 Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                   file). Not privileged.
529      Attorney-Client         Message         8/27/2018 19:30   Revan McQueen <Revan-               "Ryan, Stephen"                                                         Re: Please Read. attorney client Confidential communication between AMc employee
        Communications;                                             McQueen@am.com>                 <SRyan@mwe.com>;                                                             communication and work         and counsel at Dorsey & Whitney and McDermott Will
          Work Product                                                                       "betts.gina@dorsey.com"<betts.gin                                                             product.                 & Emery for purposes of obtaining legal advice
                                                                                                      a@dorsey.com>;                                                                                             regarding NRA document request, and work product
                                                                                                 "madrid.jay@dorsey.com"                                                                                                   created in anticipation of litigation.
                                                                                                 <madrid.jay@dorsey.com>
530      Attorney-Client         Message         8/27/2018 19:33   <betts.gina@dorsey.com>     <Revan-McQueen@am.com>               <SRyan@mwe.com>;                           Re: Please Read. attorney client Confidential communication between AMc employee
        Communications;                                                                                                            <madrid.jay@dorsey.com>                       communication and work         and counsel at Dorsey & Whitney and McDermott Will
          Work Product                                                                                                                                                                     product.                 & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                 regarding NRA document request, and work product
                                                                                                                                                                                                                          created in anticipation of litigation.
531                        Message_Attachment    8/27/2018 19:33                                                                                                                                                  Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                  file). Not privileged.
532                        Message_Attachment    8/27/2018 19:33                                                                                                                                                  Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                  file). Not privileged.
533                        Message_Attachment    8/27/2018 19:33                                                                                                                                                  Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                  file). Not privileged.
534     Attorney-Client          Message         8/27/2018 19:35   <betts.gina@dorsey.com>       <ariana-azimi@am.com>            <Revan-McQueen@am.com>                       Re: Letter to Wilson H.Phillips Confidential communication between AMc employee
        Communications                                                                                                                                                                                             and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                                 obtaining legal advice regarding draft correspondence
                                                                                                                                                                                                                                     to NRA counsel.
535                        Message_Attachment    8/27/2018 19:35                                                                                                                                                  Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                  file). Not privileged.
536     Attorney-Client          Message         8/27/2018 20:05   Revan McQueen <Revan-           "SRyan@mwe.com"                                                                    Fwd: Letter Final          Confidential communication between AMc employee
        Communications                                              McQueen@am.com>                <SRyan@mwe.com>                                                                                                 and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                                 obtaining legal advice regarding draft correspondence
                                                                                                                                                                                                                                     to NRA counsel.
537                        Message_Attachment    8/27/2018 20:05                                                                                                                                                  Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                  file). Not privileged.
538      Attorney-Client   Message_Attachment    8/27/2018 20:05                                                                                                                                                 Confidential communication between AMc employee
        Communications;                                                                                                                                                                                            and counsel at Dorsey & Whitney for purposes of
          Work Product                                                                                                                                                                                           obtaining legal advice regarding draft correspondence
                                                                                                                                                                                                                     to NRA counsel, and work product created in
                                                                                                                                                                                                                                anticipation of litigation.
539     Attorney-Client          Message         8/27/2018 20:25   <madrid.jay@dorsey.com>     <Revan-McQueen@am.com>               <SRyan@mwe.com>;                           Re: Please Read. attorney client Confidential communication between AMc employee
        Communications                                                                                                             <betts.gina@dorsey.com>                       communication and work         and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                                                                           product.                 & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                    regarding draft correspondence to NRA counsel.



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                                                      Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21                                                        Page 399 of 1087 PageID 30604
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 #    Privilege Type       Record Type       Document Date               Email From                         Email To                          Email CC                 Email BCC           Email Subject                              Privilege Description
540                     Message_Attachment   8/27/2018 20:25                                                                                                                                                           Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                       file). Not privileged.
541                     Message_Attachment   8/27/2018 20:25                                                                                                                                                           Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                       file). Not privileged.
542                     Message_Attachment   8/27/2018 20:25                                                                                                                                                           Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                       file). Not privileged.
543   Attorney-Client        Message         8/27/2018 20:30   "Ryan, Stephen" <SRyan@mwe.com>       Revan McQueen <Revan-              "betts.gina@dorsey.com"                    Re: Please Read. attorney client    Confidential communication between AMc employee
      Communications                                                                                  McQueen@am.com>                  <betts.gina@dorsey.com>;                      communication and work           and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                     "madrid.jay@dorsey.com"<madr                              product.                  & Emery for purposes of obtaining legal advice
                                                                                                                                          id.jay@dorsey.com>                                                             regarding draft correspondence to NRA counsel.
544                     Message_Attachment   8/27/2018 20:30                                                                                                                                                           Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                       file). Not privileged.
545                     Message_Attachment   8/27/2018 20:30                                                                                                                                                           Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                       file). Not privileged.
546   Attorney-Client        Message         8/27/2018 20:30   "Ryan, Stephen" <SRyan@mwe.com>      "madrid.jay@dorsey.com"           "Revan-McQueen@am.com"                       Re: Please Read. attorney client    Confidential communication between AMc employee
      Communications                                                                                <madrid.jay@dorsey.com>          <Revan-McQueen@am.com>;                         communication and work           and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                     "betts.gina@dorsey.com"<betts.                            product.                  & Emery for purposes of obtaining legal advice
                                                                                                                                            gina@dorsey.com>                                                             regarding draft correspondence to NRA counsel.
547                     Message_Attachment   8/27/2018 20:30                                                                                                                                                           Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                       file). Not privileged.
548   Attorney-Client        Message         8/27/2018 20:37       <betts.gina@dorsey.com>             <SRyan@mwe.com>               <Revan-McQueen@am.com>;                       Re: Please Read. attorney client    Confidential communication between AMc employee
      Communications                                                                                                                  <madrid.jay@dorsey.com>                        communication and work           and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                                                                               product.                  & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                         regarding draft correspondence to NRA counsel.
549                     Message_Attachment   8/27/2018 20:37                                                                                                                                                           Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                       file). Not privileged.
550   Attorney-Client        Message         8/27/2018 20:42       Revan McQueen <Revan-             "betts.gina@dorsey.com"              "SRyan@mwe.com"                          Re: Please Read. attorney client    Confidential communication between AMc employee
      Communications                                                McQueen@am.com>                  <betts.gina@dorsey.com>             <SRyan@mwe.com>;                            communication and work           and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                     "madrid.jay@dorsey.com"<madr                              product.                  & Emery for purposes of obtaining legal advice
                                                                                                                                          id.jay@dorsey.com>                                                           regarding revisions to draft correspondence to NRA.
551                     Message_Attachment   8/27/2018 20:42                                                                                                                                                           Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                       file). Not privileged.
552   Attorney-Client        Message         8/27/2018 20:47       <betts.gina@dorsey.com>         <Revan-McQueen@am.com>               <SRyan@mwe.com>;                           Re: Please Read. attorney client    Confidential communication between AMc employee
      Communications                                                                                                                   <madrid.jay@dorsey.com>                       communication and work           and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                                                                               product.                  & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                         regarding draft correspondence to NRA counsel.
553                     Message_Attachment   8/27/2018 20:47                                                                                                                                                           Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                       file). Not privileged.
554                     Message_Attachment   8/27/2018 20:47                                                                                                                                                           Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                       file). Not privileged.
555   Attorney-Client        Message         8/28/2018 8:46    "Ryan, Stephen" <SRyan@mwe.com>       "betts.gina@dorsey.com"           "Revan-McQueen@am.com"                         RE: Please Read. attorney        Confidential communication between AMc employee
      Communications                                                                                 <betts.gina@dorsey.com>          <Revan-McQueen@am.com>;                      client communication and work      and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                     "madrid.jay@dorsey.com"<madr                             product.                   & Emery for purposes of obtaining legal advice
                                                                                                                                           id.jay@dorsey.com>                                                            regarding draft correspondence to NRA counsel.
556   Attorney-Client        Message         8/28/2018 8:46    "Ryan, Stephen" <SRyan@mwe.com>        Revan McQueen <Revan-             "madrid.jay@dorsey.com"                       RE: Please Read. attorney        Confidential communication between AMc employee
      Communications                                                                                    McQueen@am.com>;                <madrid.jay@dorsey.com>                    client communication and work      and counsel at Dorsey & Whitney and McDermott Will
                                                                                                 "betts.gina@dorsey.com"<betts.gin                                                            product.                   & Emery for purposes of obtaining legal advice
                                                                                                           a@dorsey.com>                                                                                                 regarding draft correspondence to NRA counsel.




                                                                                                                                Page 48 of 194
                                                                                                                                                                                                                                                         APP. 01156
                                                       Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21                                             Page 400 of 1087 PageID 30605
                                                                                                              AMC Second Amended Privilege Log


 #     Privilege Type       Record Type       Document Date          Email From                        Email To                    Email CC                  Email BCC       Email Subject                         Privilege Description
557    Attorney-Client        Message         8/28/2018 9:08    Revan McQueen <Revan-            "SRyan@mwe.com"                                                           Re: Additional Items    Confidential communication between AMc employee
      Communications;                                            McQueen@am.com>                <SRyan@mwe.com>;                                                                                  and counsel at Dorsey & Whitney and McDermott Will
        Work Product                                                                      "madrid.jay@dorsey.com"<madrid.j                                                                            & Emery for purposes of obtaining legal advice
                                                                                                  ay@dorsey.com>;                                                                                  regarding draft correspondence to NRA counsel about
                                                                                              "betts.gina@dorsey.com"                                                                             document request and audit, and work product created
                                                                                              <betts.gina@dorsey.com>                                                                                           in anticipation of litigation.
558    Attorney-Client   Message_Attachment   8/28/2018 9:08                                                                                                                                       Confidential communication between AMc employee
      Communications;                                                                                                                                                                             and counsel at Dorsey & Whitney and McDermott Will
        Work Product                                                                                                                                                                                  & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                   regarding draft correspondence to NRA counsel about
                                                                                                                                                                                                  document request and audit, and work product created
                                                                                                                                                                                                                in anticipation of litigation.
559    Attorney-Client   Message_Attachment   8/28/2018 9:08                                                                                                                                       Confidential communication between AMc employee
      Communications;                                                                                                                                                                             and counsel at Dorsey & Whitney and McDermott Will
        Work Product                                                                                                                                                                                  & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                   regarding draft correspondence to NRA counsel about
                                                                                                                                                                                                  document request and audit, and work product created
                                                                                                                                                                                                                in anticipation of litigation.
560    Attorney-Client        Message         8/28/2018 11:01   Revan McQueen <Revan-            "SRyan@mwe.com"                                                           Re: Additional Items    Confidential communication between AMc employee
      Communications;                                            McQueen@am.com>                <SRyan@mwe.com>;                                                                                  and counsel at Dorsey & Whitney and McDermott Will
        Work Product                                                                      "madrid.jay@dorsey.com"<madrid.j                                                                            & Emery for purposes of obtaining legal advice
                                                                                                  ay@dorsey.com>;                                                                                  regarding draft correspondence to NRA counsel about
                                                                                              "betts.gina@dorsey.com"                                                                             document request and audit, and work product created
                                                                                              <betts.gina@dorsey.com>                                                                                           in anticipation of litigation.
561    Attorney-Client   Message_Attachment   8/28/2018 11:01                                                                                                                                      Confidential communication between AMc employee
      Communications;                                                                                                                                                                             and counsel at Dorsey & Whitney and McDermott Will
        Work Product                                                                                                                                                                                  & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                   regarding draft correspondence to NRA counsel about
                                                                                                                                                                                                  document request and audit, and work product created
                                                                                                                                                                                                                in anticipation of litigation.
562   Attorney-Client         Message         8/28/2018 18:14   <madrid.jay@dorsey.com>     <Revan-McQueen@am.com>            <SRyan@mwe.com>;                             Re: Additional Items    Confidential communication between AMc employee
      Communications                                                                                                         <betts.gina@dorsey.com>                                              and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                                                                                      & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                   regarding draft correspondence to NRA counsel about
                                                                                                                                                                                                                document request and audit.
563                      Message_Attachment   8/28/2018 18:14                                                                                                                                       Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                    file). Not privileged.
564    Attorney-Client        Message         8/29/2018 11:26    Ariana Azimi <ariana-        "betts.gina@dorsey.com"                                                           Timeline           Confidential communication between AMc employee
      Communications;                                              azimi@am.com>              <betts.gina@dorsey.com>                                                                                and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                                                                                              obtaining legal advice regarding Brewer Firm requests
                                                                                                                                                                                                        for documents, and work product created in
                                                                                                                                                                                                                  anticipation of litigation.
565    Attorney-Client   Message_Attachment   8/29/2018 11:26                                                                                                                                      Confidential communication between AMc employee
      Communications;                                                                                                                                                                                and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                                                                                              obtaining legal advice regarding Brewer Firm requests
                                                                                                                                                                                                        for documents, and work product created in
                                                                                                                                                                                                                  anticipation of litigation.




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                                                                                                                                                                                                                                     APP. 01157
                                                      Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21                                                    Page 401 of 1087 PageID 30606
                                                                                                                        AMC Second Amended Privilege Log


 #    Privilege Type       Record Type       Document Date               Email From                             Email To                       Email CC            Email BCC          Email Subject                             Privilege Description
566   Attorney-Client        Message         8/29/2018 16:38       <madrid.jay@dorsey.com>              <betts.gina@dorsey.com>        <Revan-McQueen@am.com>;                        Re: Please Read           Confidential communication between AMc employee
      Communications                                                                                                                       <SRyan@mwe.com>                                                     and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                                                                                                   & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                regarding draft correspondence to NRA counsel about
                                                                                                                                                                                                                             document request and audit.
567                     Message_Attachment   8/29/2018 16:38                                                                                                                                                     Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                 file). Not privileged.
568                     Message_Attachment   8/29/2018 16:38                                                                                                                                                     Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                 file). Not privileged.
569   Attorney-Client        Message         8/30/2018 13:25   Bill Winkler <bill-winkler@am.com>       "betts.gina@dorsey.com"                                                     Fwd: Response Letter        Confidential communication between AMc employee
      Communications                                                                                   <betts.gina@dorsey.com>;                                                                                and counsel at Dorsey & Whitney and McDermott Will
                                                                                                    "madrid.jay@dorsey.com"<madrid.j                                                                               & Emery for purposes of obtaining legal advice
                                                                                                    ay@dorsey.com>; Revan McQueen                                                                                regarding correspondence from NRA counsel about
                                                                                                      <Revan-McQueen@am.com>;                                                                                                     document requests.
                                                                                                      "Brandon Winkler" <Brandon-
                                                                                                           Winkler@am.com>;
                                                                                                           "sryan@mwe.com"
                                                                                                           <sryan@mwe.com>

570                     Message_Attachment   8/30/2018 13:25                                                                                                                                                     Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                  file). Not privileged.
571                     Message_Attachment   8/30/2018 13:25                                                                                                                      SKM_C36818083013210           Letter from NRA to AMc, dated 8/29/18. Attached to
                                                                                                                                                                                                                           privileged email. Not privileged.
572   Attorney-Client        Message         8/30/2018 13:25   Bill Winkler <bill-winkler@am.com>       "betts.gina@dorsey.com"                                                     Fwd: Response Letter        Confidential communication between AMc employee
      Communications                                                                                   <betts.gina@dorsey.com>;                                                                                and counsel at Dorsey & Whitney and McDermott Will
                                                                                                    "madrid.jay@dorsey.com"<madrid.j                                                                               & Emery for purposes of obtaining legal advice
                                                                                                    ay@dorsey.com>; Revan McQueen                                                                               regarding correspondence from NRA about document
                                                                                                      <Revan-McQueen@am.com>;                                                                                                            requests.
                                                                                                      "Brandon Winkler" <Brandon-
                                                                                                           Winkler@am.com>;
                                                                                                           "sryan@mwe.com"
                                                                                                           <sryan@mwe.com>

573                     Message_Attachment   8/30/2018 13:25                                                                                                                                                    Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                 file). Not privileged.
574                     Message_Attachment   8/30/2018 13:25                                                                                                                      SKM_C36818083013210          Letter from NRA to AMc, dated 8/29/18. Attached to
                                                                                                                                                                                                                          privileged email. Not privileged.
575   Attorney-Client        Message         9/1/2018 19:17         <betts.gina@dorsey.com>            <revan-mcqueen@am.com>                                                  Fwd: National Rifle Association Confidential communication between AMc employee
      Communications                                                                                                                                                                                             and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                               obtaining legal advice regarding correspondence from
                                                                                                                                                                                                                    NRA counsel about Oliver North's contract.
576                     Message_Attachment   9/1/2018 19:17                                                                                                                                                     Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                 file). Not privileged.
577                     Message_Attachment   9/1/2018 19:17                                                                                                                     Microsoft Word - 2018.09.01     Letter from NRA to AMc, dated 9/1/18. Attached to
                                                                                                                                                                                Ltr to AMC Counsel re North               privileged email. Not privileged.
                                                                                                                                                                                        Contract.docx




                                                                                                                                  Page 50 of 194
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                                                       Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21                                                    Page 402 of 1087 PageID 30607
                                                                                                                     AMC Second Amended Privilege Log


 #     Privilege Type       Record Type       Document Date                Email From                        Email To                         Email CC              Email BCC          Email Subject                             Privilege Description
578    Attorney-Client        Message         9/1/2018 19:41   "Ryan, Stephen" <SRyan@mwe.com>       Revan McQueen <Revan-                                                      Fwd: National Rifle Association Confidential communication between AMc employee
      Communications;                                                                             McQueen@am.com>; "Gina E.                                                                                     and counsel at Dorsey & Whitney and McDermott Will
        Work Product                                                                             Betts"<betts.gina@dorsey.com>;                                                                                     & Emery for purposes of obtaining legal advice
                                                                                                    "madrid.jay@dorsey.com"                                                                                       regarding correspondence from NRA counsel about
                                                                                                 <madrid.jay@dorsey.com>; "bill-                                                                                           AMc's contract with Oliver North.
                                                                                                     winkler@am.com" <bill-
                                                                                                        winkler@am.com>
579                      Message_Attachment   9/1/2018 19:41                                                                                                                                                      Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                   file). Not privileged.
580                      Message_Attachment   9/1/2018 19:41                                                                                                                    Microsoft Word - 2018.09.01       Letter from NRA to AMc, dated 9/1/18. Attached to
                                                                                                                                                                                Ltr to AMC Counsel re North                 privileged email. Not privileged.
                                                                                                                                                                                        Contract.docx
581   Attorney-Client         Message         9/1/2018 19:43       Revan McQueen <Revan-                 "Ryan, Stephen"                     "Gina E. Betts"                    Re: National Rifle Association    Confidential communication between AMc employee
      Communications                                                McQueen@am.com>                    <SRyan@mwe.com>                 <betts.gina@dorsey.com>;                                                  and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                     "madrid.jay@dorsey.com"<madr                                                    & Emery for purposes of obtaining legal advice
                                                                                                                                       id.jay@dorsey.com>; Bill                                                    regarding correspondence from NRA counsel about
                                                                                                                                              Winkler <bill-                                                                AMc's contract with Oliver North.
                                                                                                                                           winkler@am.com>
582   Attorney-Client         Message         9/1/2018 19:43       Revan McQueen <Revan-                 "Ryan, Stephen"                     "Gina E. Betts"                    Re: National Rifle Association    Confidential communication between AMc employee
      Communications                                                McQueen@am.com>                    <SRyan@mwe.com>                 <betts.gina@dorsey.com>;                                                  and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                     "madrid.jay@dorsey.com"<madr                                                    & Emery for purposes of obtaining legal advice
                                                                                                                                       id.jay@dorsey.com>; Bill                                                    regarding correspondence from NRA counsel about
                                                                                                                                              Winkler <bill-                                                                AMc's contract with Oliver North.
                                                                                                                                           winkler@am.com>
583   Attorney-Client         Message         9/1/2018 23:19       Revan McQueen <Revan-                 "Ryan, Stephen"                                                        Re: National Rifle Association    Confidential communication between AMc employee
      Communications                                                McQueen@am.com>                    <SRyan@mwe.com>                                                                                           and counsel at McDermott Will & Emery for purposes
                                                                                                                                                                                                                   of obtaining legal advice regarding correspondence
                                                                                                                                                                                                                     from NRA counsel about Oliver North's contract.
584   Attorney-Client         Message          9/2/2018 7:15   "Ryan, Stephen" <SRyan@mwe.com>       Revan McQueen <Revan-                                                      Re: National Rifle Association    Confidential communication between AMc employee
      Communications                                                                                  McQueen@am.com>                                                                                            and counsel at McDermott Will & Emery for purposes
                                                                                                                                                                                                                   of obtaining legal advice regarding correspondence
                                                                                                                                                                                                                     from NRA counsel about Oliver North's contract.
585   Attorney-Client         Message          9/2/2018 7:58       Revan McQueen <Revan-                 "Ryan, Stephen"                                                        Re: National Rifle Association    Confidential communication between AMc employee
      Communications                                                McQueen@am.com>                    <SRyan@mwe.com>                                                                                           and counsel at McDermott Will & Emery for purposes
                                                                                                                                                                                                                   of obtaining legal advice regarding correspondence
                                                                                                                                                                                                                     from NRA counsel about Oliver North's contract.
586   Attorney-Client         Message          9/2/2018 9:31   "Ryan, Stephen" <SRyan@mwe.com>       Revan McQueen <Revan-                                                      Re: National Rifle Association    Confidential communication between AMc employee
      Communications                                                                                  McQueen@am.com>                                                                                            and counsel at McDermott Will & Emery for purposes
                                                                                                                                                                                                                   of obtaining legal advice regarding correspondence
                                                                                                                                                                                                                     from NRA counsel about Oliver North's contract.
587   Attorney-Client         Message         9/2/2018 10:13       Revan McQueen <Revan-                 "Ryan, Stephen"                                                        Re: National Rifle Association    Confidential communication between AMc employee
      Communications                                                McQueen@am.com>                    <SRyan@mwe.com>                                                                                           and counsel at McDermott Will & Emery for purposes
                                                                                                                                                                                                                   of obtaining legal advice regarding correspondence
                                                                                                                                                                                                                     from NRA counsel about Oliver North's contract.
588    Attorney-Client        Message         9/2/2018 11:06       Revan McQueen <Revan-                   "Ryan, Stephen"                                                                  Notes                 Confidential communication between AMc employee
      Communications;                                               McQueen@am.com>                     <SRyan@mwe.com>;                                                                                         and counsel at Dorsey & Whitney and McDermott Will
        Work Product                                                                             "betts.gina@dorsey.com"<betts.gin                                                                                    & Emery for purposes of obtaining legal advice
                                                                                                           a@dorsey.com>                                                                                            regarding Lockton/CarryGuard, and work product
                                                                                                                                                                                                                            created in anticipation of litigation.




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                                                      Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21                                                 Page 403 of 1087 PageID 30608
                                                                                                                 AMC Second Amended Privilege Log


 #     Privilege Type       Record Type       Document Date              Email From                      Email To                       Email CC                Email BCC          Email Subject                            Privilege Description
589    Attorney-Client   Message_Attachment   9/2/2018 11:06                                                                                                                                                Confidential communication between AMc employee
      Communications;                                                                                                                                                                                      and counsel at Dorsey & Whitney and McDermott Will
        Work Product                                                                                                                                                                                           & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                              regarding Lockton/CarryGuard, and work product
                                                                                                                                                                                                                     created in anticipation of litigation.
590   Attorney-Client         Message         9/2/2018 13:43       Revan McQueen <Revan-              "Ryan, Stephen"                  "Gina E. Betts"                      Re: National Rifle Association Confidential communication between AMc employee
      Communications                                                McQueen@am.com>                 <SRyan@mwe.com>             <betts.gina@dorsey.com>;                                                   and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                              "madrid.jay@dorsey.com"<madr                                                     & Emery for purposes of obtaining legal advice
                                                                                                                                 id.jay@dorsey.com>; Bill                                                    regarding correspondence from NRA counsel about
                                                                                                                                        Winkler <bill-                                                                AMc's contract with Oliver North.
                                                                                                                                     winkler@am.com>
591   Attorney-Client         Message         9/2/2018 13:43       Revan McQueen <Revan-              "Ryan, Stephen"                  "Gina E. Betts"                      Re: National Rifle Association    Confidential communication between AMc employee
      Communications                                                McQueen@am.com>                 <SRyan@mwe.com>             <betts.gina@dorsey.com>;                                                     and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                              "madrid.jay@dorsey.com"<madr                                                       & Emery for purposes of obtaining legal advice
                                                                                                                                 id.jay@dorsey.com>; Bill                                                      regarding correspondence from NRA counsel about
                                                                                                                                        Winkler <bill-                                                                  AMc's contract with Oliver North.
                                                                                                                                     winkler@am.com>
592   Attorney-Client         Message         9/2/2018 13:48       <betts.gina@dorsey.com>       <Revan-McQueen@am.com>            <SRyan@mwe.com>;                         Re: National Rifle Association    Confidential communication between AMc employee
      Communications                                                                                                            <madrid.jay@dorsey.com>;                                                     and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                  <bill-winkler@am.com>                                                          & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                               regarding correspondence from NRA counsel about
                                                                                                                                                                                                                        AMc's contract with Oliver North.
593                      Message_Attachment   9/2/2018 13:48                                                                                                                                                  Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                file). Not privileged.
594   Attorney-Client         Message         9/2/2018 14:04   "Ryan, Stephen" <SRyan@mwe.com>   "Revan McQueen - Ackerman      ", \"madrid.jay@dorsey.com"                 FW: Confidential: Col. North      Confidential communication between AMc employee
      Communications                                                                                  McQueen (Revan-             <betts.gina@dorsey.com>                     and the National Rifle         and counsel at Dorsey & Whitney and McDermott Will
                                                                                                 McQueen@am.com)"<Revan-                                                           Association                   & Emery for purposes of obtaining legal advice
                                                                                                     McQueen@am.com>                                                                                                    regarding Oliver North's contract.
595                      Message_Attachment   9/2/2018 14:04                                                                                                                                                  Letter from NRA to AMc, dated 9/1/18. Attached to
                                                                                                                                                                                                                         privileged email. Not privileged.
596   Attorney-Client         Message         9/2/2018 14:06   "Ryan, Stephen" <SRyan@mwe.com>   "Revan McQueen - Ackerman      ", \"madrid.jay@dorsey.com"                 RE: Confidential: Col. North      Confidential communication between AMc employee
      Communications                                                                                  McQueen (Revan-             <betts.gina@dorsey.com>                     and the National Rifle         and counsel at Dorsey & Whitney and McDermott Will
                                                                                                 McQueen@am.com)"<Revan-                                                           Association                   & Emery for purposes of obtaining legal advice
                                                                                                     McQueen@am.com>                                                                                                    regarding Oliver North's contract.
597   Attorney-Client         Message         9/2/2018 14:06       Revan McQueen <Revan-               "Ryan, Stephen"                                                      Re: Confidential: Col. North      Confidential communication between AMc employee
      Communications                                                McQueen@am.com>                  <SRyan@mwe.com>                                                           and the National Rifle        and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                                                                    Association                  & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                        regarding Oliver North's contract.
598   Attorney-Client         Message         9/2/2018 14:13   "Ryan, Stephen" <SRyan@mwe.com>    Revan McQueen <Revan-                                                     RE: Confidential: Col. North      Confidential communication between AMc employee
      Communications                                                                               McQueen@am.com>                                                            and the National Rifle         and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                                                                   Association                   & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                        regarding Oliver North's contract.
599   Attorney-Client         Message         9/2/2018 14:17       <betts.gina@dorsey.com>          <SRyan@mwe.com>             <Revan-McQueen@am.com>                      Re: Confidential: Col. North      Confidential communication between AMc employee
      Communications                                                                                                                                                           and the National Rifle        and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                                                                    Association                  & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                        regarding Oliver North's contract.




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                                                      Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21                                                          Page 404 of 1087 PageID 30609
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 #    Privilege Type       Record Type       Document Date              Email From                              Email To                        Email CC                 Email BCC       Email Subject                            Privilege Description
600   Attorney-Client        Message          9/3/2018 9:33        Revan McQueen <Revan-                  "SRyan@mwe.com"                   Bill Winkler <bill-                        Audit Response Letter       Confidential communication between AMc employee
      Communications                                                McQueen@am.com>                      <SRyan@mwe.com>;                   winkler@am.com>                                                       and counsel at Dorsey & Whitney and McDermott Will
                                                                                                   "madrid.jay@dorsey.com"<madrid.j                                                                                  & Emery for purposes of obtaining legal advice
                                                                                                           ay@dorsey.com>;                                                                                                      regarding audit procedures.
                                                                                                       "betts.gina@dorsey.com"
                                                                                                       <betts.gina@dorsey.com>
601   Attorney-Client        Message          9/3/2018 9:33        Revan McQueen <Revan-                  "SRyan@mwe.com"                   Bill Winkler <bill-                        Audit Response Letter       Confidential communication between AMc employee
      Communications                                                McQueen@am.com>                      <SRyan@mwe.com>;                   winkler@am.com>                                                       and counsel at Dorsey & Whitney and McDermott Will
                                                                                                   "madrid.jay@dorsey.com"<madrid.j                                                                                  & Emery for purposes of obtaining legal advice
                                                                                                           ay@dorsey.com>;                                                                                                      regarding audit procedures.
                                                                                                       "betts.gina@dorsey.com"
                                                                                                       <betts.gina@dorsey.com>
602   Attorney-Client        Message         9/3/2018 10:13       <madrid.jay@dorsey.com>            <Revan-McQueen@am.com>                <SRyan@mwe.com>;                           Re: Audit Response Letter    Confidential communication between AMc employee
      Communications                                                                                                                  <betts.gina@dorsey.com>; <bill-                                             and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                             winkler@am.com>                                                         & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                                regarding audit procedures.
603                     Message_Attachment   9/3/2018 10:13                                                                                                                                                        Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                   file). Not privileged.
604   Attorney-Client        Message         9/3/2018 10:21        Revan McQueen <Revan-              "madrid.jay@dorsey.com"               "SRyan@mwe.com"                           Re: Audit Response Letter    Confidential communication between AMc employee
      Communications                                                McQueen@am.com>                   <madrid.jay@dorsey.com>              <SRyan@mwe.com>;                                                       and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                      "betts.gina@dorsey.com"<betts.                                                 & Emery for purposes of obtaining legal advice
                                                                                                                                         gina@dorsey.com>; Bill                                                      regarding audit procedures and NRA request for
                                                                                                                                               Winkler <bill-                                                                            documents.
                                                                                                                                             winkler@am.com>
605                     Message_Attachment   9/3/2018 10:21                                                                                                                                                        Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                   file). Not privileged.
606   Attorney-Client        Message         9/3/2018 10:21        Revan McQueen <Revan-              "madrid.jay@dorsey.com"               "SRyan@mwe.com"                           Re: Audit Response Letter    Confidential communication between AMc employee
      Communications                                                McQueen@am.com>                   <madrid.jay@dorsey.com>              <SRyan@mwe.com>;                                                       and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                      "betts.gina@dorsey.com"<betts.                                                 & Emery for purposes of obtaining legal advice
                                                                                                                                         gina@dorsey.com>; Bill                                                      regarding audit procedures and NRA request for
                                                                                                                                                Winkler <bill-                                                                           documents.
                                                                                                                                             winkler@am.com>
607   Attorney-Client        Message         9/3/2018 10:23       <madrid.jay@dorsey.com>            <Revan-McQueen@am.com>                <SRyan@mwe.com>;                           Re: Audit Response Letter    Confidential communication between AMc employee
      Communications                                                                                                                  <betts.gina@dorsey.com>; <bill-                                             and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                             winkler@am.com>                                                         & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                     regarding audit procedures and NRA request for
                                                                                                                                                                                                                                         documents.
608                     Message_Attachment   9/3/2018 10:23                                                                                                                                                        Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                   file). Not privileged.
609                     Message_Attachment   9/3/2018 10:23                                                                                                                                                        Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                   file). Not privileged.
610   Attorney-Client        Message         9/3/2018 10:30   Bill Winkler <bill-winkler@am.com>      "madrid.jay@dorsey.com"            Revan McQueen <Revan-                        Re: Audit Response Letter    Confidential communication between AMc employee
      Communications                                                                                  <madrid.jay@dorsey.com>             McQueen@am.com>;                                                        and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                           "SRyan@mwe.com"                                                           & Emery for purposes of obtaining legal advice
                                                                                                                                          <SRyan@mwe.com>;                                                           regarding audit procedures and NRA request for
                                                                                                                                         "betts.gina@dorsey.com"                                                                         documents.
                                                                                                                                         <betts.gina@dorsey.com>
611                     Message_Attachment   9/3/2018 10:30                                                                                                                                                        Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                  file). Not privileged.
612                     Message_Attachment   9/3/2018 10:30                                                                                                                                                        Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                  file). Not privileged.



                                                                                                                                 Page 53 of 194
                                                                                                                                                                                                                                                      APP. 01161
                                                      Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21                                                  Page 405 of 1087 PageID 30610
                                                                                                                   AMC Second Amended Privilege Log


 #    Privilege Type        Record Type       Document Date                Email From                       Email To                      Email CC               Email BCC         Email Subject                          Privilege Description
613   Attorney-Client         Message         9/3/2018 10:30   Bill Winkler <bill-winkler@am.com>   "madrid.jay@dorsey.com"       Revan McQueen <Revan-                       Re: Audit Response Letter    Confidential communication between AMc employee
      Communications                                                                                <madrid.jay@dorsey.com>        McQueen@am.com>;                                                       and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                    "SRyan@mwe.com"                                                          & Emery for purposes of obtaining legal advice
                                                                                                                                   <SRyan@mwe.com>;                                                          regarding audit procedures and NRA request for
                                                                                                                                  "betts.gina@dorsey.com"                                                                       documents.
                                                                                                                                  <betts.gina@dorsey.com>
614   Attorney-Client         Message         9/3/2018 10:42        <betts.gina@dorsey.com>          <bill-winkler@am.com>       <madrid.jay@dorsey.com>;                     Re: Audit Response Letter    Confidential communication between AMc employee
      Communications                                                                                                            <Revan-McQueen@am.com>;                                                   and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                    <SRyan@mwe.com>                                                          & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                             regarding audit procedures and NRA request for
                                                                                                                                                                                                                                 documents.
615                      Message_Attachment   9/3/2018 10:42                                                                                                                                               Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                           file). Not privileged.
616                      Message_Attachment   9/3/2018 10:42                                                                                                                                               Microsoft Exchange file (i.e. logo image file or .htm
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617                      Message_Attachment   9/3/2018 10:42                                                                                                                                               Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                           file). Not privileged.
618    Attorney-Client        Message         9/3/2018 11:26       <madrid.jay@dorsey.com>          <Revan-McQueen@am.com>          <SRyan@mwe.com>;                          Re: Audit Response Letter    Confidential communication between AMc employee
      Communications;                                                                                                          <betts.gina@dorsey.com>; <bill-                                            and counsel at Dorsey & Whitney and McDermott Will
        Work Product                                                                                                                  winkler@am.com>                                                        & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                             regarding audit procedures and NRA request for
                                                                                                                                                                                                          documents, and work product created in anticipation of
                                                                                                                                                                                                                                  litigation.
619                      Message_Attachment   9/3/2018 11:26                                                                                                                                               Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                           file). Not privileged.
620                      Message_Attachment   9/3/2018 11:26                                                                                                                                               Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                           file). Not privileged.
621   Attorney-Client         Message         9/3/2018 11:41       <madrid.jay@dorsey.com>           <bill-winkler@am.com>                                                    Re: Audit Response Letter    Confidential communication between AMc employee
      Communications                                                                                                                                                                                      and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                                                                                             & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                             regarding audit procedures and NRA request for
                                                                                                                                                                                                                                 documents.
622                      Message_Attachment   9/3/2018 11:41                                                                                                                                               Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                           file). Not privileged.
623   Attorney-Client         Message         9/3/2018 11:43   Bill Winkler <bill-winkler@am.com>   "madrid.jay@dorsey.com"                                                   Re: Audit Response Letter    Confidential communication between AMc employee
      Communications                                                                                <madrid.jay@dorsey.com>                                                                               and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                                                                                             & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                             regarding audit procedures and NRA request for
                                                                                                                                                                                                                                 documents.
624   Attorney-Client         Message         9/3/2018 13:04       <madrid.jay@dorsey.com>          <Revan-McQueen@am.com>          <SRyan@mwe.com>;                          Re: Audit Response Letter    Confidential communication between AMc employee
      Communications                                                                                                           <betts.gina@dorsey.com>; <bill-                                            and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                      winkler@am.com>                                                        & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                             regarding audit procedures and NRA request for
                                                                                                                                                                                                                                 documents.
625                      Message_Attachment   9/3/2018 13:04                                                                                                                                               Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                           file). Not privileged.
626                      Message_Attachment   9/3/2018 13:04                                                                                                                                               Microsoft Exchange file (i.e. logo image file or .htm
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                                                      Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21                                                    Page 406 of 1087 PageID 30611
                                                                                                                    AMC Second Amended Privilege Log


 #     Privilege Type       Record Type       Document Date              Email From                          Email To                        Email CC                     Email BCC                  Email Subject                           Privilege Description
627    Attorney-Client        Message         9/3/2018 13:05        Revan McQueen <Revan-            "madrid.jay@dorsey.com"            "SRyan@mwe.com"                                         Re: Audit Response Letter     Confidential communication between AMc employee
      Communications;                                                McQueen@am.com>                 <madrid.jay@dorsey.com>           <SRyan@mwe.com>;                                                                      and counsel at Dorsey & Whitney and McDermott Will
        Work Product                                                                                                              "betts.gina@dorsey.com"<betts.                                                                & Emery for purposes of obtaining legal advice
                                                                                                                                     gina@dorsey.com>; Bill                                                                     regarding audit procedures and NRA request for
                                                                                                                                           Winkler <bill-                                                                    documents, and work product created in anticipation of
                                                                                                                                         winkler@am.com>                                                                                            litigation.
628   Attorney-Client         Message         9/3/2018 13:05        Revan McQueen <Revan-            "madrid.jay@dorsey.com"            "SRyan@mwe.com"                                         Re: Audit Response Letter     Confidential communication between AMc employee
      Communications                                                 McQueen@am.com>                 <madrid.jay@dorsey.com>           <SRyan@mwe.com>;                                                                      and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                  "betts.gina@dorsey.com"<betts.                                                                & Emery for purposes of obtaining legal advice
                                                                                                                                     gina@dorsey.com>; Bill                                                                     regarding audit procedures and NRA request for
                                                                                                                                           Winkler <bill-                                                                                          documents.
                                                                                                                                         winkler@am.com>
629   Attorney-Client         Message         9/3/2018 13:05        Revan McQueen <Revan-            "madrid.jay@dorsey.com"            "SRyan@mwe.com"                                         Re: Audit Response Letter     Confidential communication between AMc employee
      Communications                                                 McQueen@am.com>                 <madrid.jay@dorsey.com>           <SRyan@mwe.com>;                                                                      and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                  "betts.gina@dorsey.com"<betts.                                                                & Emery for purposes of obtaining legal advice
                                                                                                                                     gina@dorsey.com>; Bill                                                                     regarding audit procedures and NRA request for
                                                                                                                                           Winkler <bill-                                                                                          documents.
                                                                                                                                         winkler@am.com>
630    Attorney-Client        Message         9/3/2018 17:06       <haydon.jean@dorsey.com>         <Revan-McQueen@am.com>;         <betts.gina@dorsey.com>;                                     On behalf of Jay Madrid      Confidential communication between AMc employee
      Communications;                                                                                 <bill-winkler@am.com>;        <madrid.jay@dorsey.com>                                                                  and counsel at Dorsey & Whitney and McDermott Will
        Work Product                                                                                    <sryan@mwe.com>                                                                                                         & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                                regarding audit procedures and NRA request for
                                                                                                                                                                                                                             documents, and work product created in anticipation of
                                                                                                                                                                                                                                                    litigation.
631    Attorney-Client   Message_Attachment   9/3/2018 17:06                                                                                                                                                                  Confidential communication between AMc employee
      Communications;                                                                                                                                                                                                        and counsel at Dorsey & Whitney and McDermott Will
        Work Product                                                                                                                                                                                                            & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                                regarding audit procedures and NRA request for
                                                                                                                                                                                                                             documents, and work product created in anticipation of
                                                                                                                                                                                                                                                    litigation.
632   Attorney-Client         Message         9/3/2018 17:12   Bill Winkler <bill-winkler@am.com>    "haydon.jean@dorsey.com"       "betts.gina@dorsey.com"                                    RE: On behalf of Jay Madrid    Confidential communication between AMc employee
      Communications                                                                                <haydon.jean@dorsey.com>;      <betts.gina@dorsey.com>;                                                                  and counsel at Dorsey & Whitney and McDermott Will
                                                                                                      Revan McQueen<Revan-       "madrid.jay@dorsey.com"<madr                                                                   & Emery for purposes of obtaining legal advice
                                                                                                       McQueen@am.com>;               id.jay@dorsey.com>                                                                        regarding audit procedures and NRA request for
                                                                                                         "sryan@mwe.com"                                                                                                                           documents.
                                                                                                         <sryan@mwe.com>
633   Attorney-Client         Message         9/3/2018 17:12   Bill Winkler <bill-winkler@am.com>    "haydon.jean@dorsey.com"       "betts.gina@dorsey.com"                                    RE: On behalf of Jay Madrid    Confidential communication between AMc employee
      Communications                                                                                <haydon.jean@dorsey.com>;      <betts.gina@dorsey.com>;                                                                  and counsel at Dorsey & Whitney and McDermott Will
                                                                                                      Revan McQueen<Revan-       "madrid.jay@dorsey.com"<madr                                                                   & Emery for purposes of obtaining legal advice
                                                                                                       McQueen@am.com>;               id.jay@dorsey.com>                                                                        regarding audit procedures and NRA request for
                                                                                                         "sryan@mwe.com"                                                                                                                           documents.
                                                                                                         <sryan@mwe.com>
634   Attorney-Client         Message         9/3/2018 17:13   Bill Winkler <bill-winkler@am.com>    "haydon.jean@dorsey.com"       "betts.gina@dorsey.com"        Brandon Winkler <Brandon-   RE: On behalf of Jay Madrid    Confidential communication between AMc employee
      Communications                                                                                <haydon.jean@dorsey.com>;      <betts.gina@dorsey.com>;            Winkler@am.com>                                       and counsel at Dorsey & Whitney and McDermott Will
                                                                                                      Revan McQueen<Revan-       "madrid.jay@dorsey.com"<madr                                                                   & Emery for purposes of obtaining legal advice
                                                                                                       McQueen@am.com>;               id.jay@dorsey.com>                                                                        regarding audit procedures and NRA request for
                                                                                                         "sryan@mwe.com"                                                                                                                           documents.
                                                                                                         <sryan@mwe.com>




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                                                                                                                                                                                                                                                                APP. 01163
                                                      Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21                                               Page 407 of 1087 PageID 30612
                                                                                                            AMC Second Amended Privilege Log


 #     Privilege Type       Record Type       Document Date          Email From                      Email To                         Email CC                Email BCC         Email Subject                            Privilege Description
635    Attorney-Client        Message         9/3/2018 17:18   <haydon.jean@dorsey.com>    <Revan-McQueen@am.com>;           <betts.gina@dorsey.com>;                       On behalf of Jay Madrid       Confidential communication between AMc employee
      Communications;                                                                        <bill-winkler@am.com>;          <madrid.jay@dorsey.com>                                                     and counsel at Dorsey & Whitney and McDermott Will
        Work Product                                                                           <sryan@mwe.com>                                                                                              & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                            regarding audit procedures and NRA request for
                                                                                                                                                                                                         documents, and work product created in anticipation of
                                                                                                                                                                                                                                 litigation.
636    Attorney-Client   Message_Attachment   9/3/2018 17:18                                                                                                                                              Confidential communication between AMc employee
      Communications;                                                                                                                                                                                    and counsel at Dorsey & Whitney and McDermott Will
        Work Product                                                                                                                                                                                        & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                            regarding audit procedures and NRA request for
                                                                                                                                                                                                         documents, and work product created in anticipation of
                                                                                                                                                                                                                                 litigation.
637    Attorney-Client        Message         9/3/2018 17:34   <madrid.jay@dorsey.com>      <Revan-McQueen@am.com>              <SRyan@mwe.com>;                            Re: Audit Response Letter     Confidential communication between AMc employee
      Communications;                                                                                                      <betts.gina@dorsey.com>; <bill-                                               and counsel at Dorsey & Whitney and McDermott Will
        Work Product                                                                                                              winkler@am.com>                                                           & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                            regarding audit procedures and NRA request for
                                                                                                                                                                                                         documents, and work product created in anticipation of
                                                                                                                                                                                                                                 litigation.
638                      Message_Attachment   9/3/2018 17:34                                                                                                                                              Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                          file). Not privileged.
639                      Message_Attachment   9/3/2018 17:34                                                                                                                                              Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                          file). Not privileged.
640   Attorney-Client         Message         9/3/2018 17:57    <betts.gina@dorsey.com>       <bill-winkler@am.com>         <haydon.jean@dorsey.com>;                      Re: On behalf of Jay Madrid    Confidential communication between AMc employee
      Communications                                                                                                       <Revan-McQueen@am.com>;                                                       and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                               <sryan@mwe.com>;                                                             & Emery for purposes of obtaining legal advice
                                                                                                                             <madrid.jay@dorsey.com>                                                        regarding audit procedures and NRA request for
                                                                                                                                                                                                                                documents.
641                      Message_Attachment   9/3/2018 17:57                                                                                                                                              Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                          file). Not privileged.
642                      Message_Attachment   9/3/2018 17:57                                                                                                                                              Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                          file). Not privileged.
643    Attorney-Client        Message         9/3/2018 20:43   <madrid.jay@dorsey.com>    <revan-mcqueen@am.com>; <bill-                                                       Fwd: Second letter         Confidential communication between AMc employee
      Communications;                                                                           winkler@am.com>;                                                                                         and counsel at Dorsey & Whitney and McDermott Will
        Work Product                                                                           <SRyan@mwe.com>;                                                                                             & Emery for purposes of obtaining legal advice
                                                                                             <betts.gina@dorsey.com>;                                                                                       regarding audit procedures and NRA request for
                                                                                             <madrid.jay@dorsey.com>;                                                                                    documents, and work product created in anticipation of
                                                                                            <Brandon-Winkler@am.com>                                                                                                             litigation.
644                      Message_Attachment   9/3/2018 20:43                                                                                                                                              Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                          file). Not privileged.
645    Attorney-Client   Message_Attachment   9/3/2018 20:43                                                                                                                                              Confidential communication between AMc employee
      Communications;                                                                                                                                                                                    and counsel at Dorsey & Whitney and McDermott Will
        Work Product                                                                                                                                                                                        & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                            regarding audit procedures and NRA request for
                                                                                                                                                                                                         documents, and work product created in anticipation of
                                                                                                                                                                                                                                 litigation.
646   Attorney-Client         Message         9/3/2018 20:49   <madrid.jay@dorsey.com>      <madrid.jay@dorsey.com>;                                                            Re: Second letter         Confidential communication between AMc employee
      Communications                                                                       <Brandon-Winkler@am.com>;                                                                                     and counsel at Dorsey & Whitney and McDermott Will
                                                                                            <SRyan@mwe.com>; <bill-                                                                                         & Emery for purposes of obtaining legal advice
                                                                                            winkler@am.com>; <revan-                                                                                        regarding audit procedures and NRA request for
                                                                                               mcqueen@am.com>;                                                                                                                 documents.
                                                                                             <betts.gina@dorsey.com>



                                                                                                                       Page 56 of 194
                                                                                                                                                                                                                                            APP. 01164
                                                       Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21                                                      Page 408 of 1087 PageID 30613
                                                                                                                     AMC Second Amended Privilege Log


 #    Privilege Type        Record Type       Document Date                Email From                       Email To                            Email CC              Email BCC          Email Subject                             Privilege Description
647   Attorney-Client         Message         9/3/2018 21:56   "Ryan, Stephen" <SRyan@mwe.com>      "madrid.jay@dorsey.com"           "Brandon-Winkler@am.com"                          Re: Second letter           Confidential communication between AMc employee
      Communications                                                                                <madrid.jay@dorsey.com>          <Brandon-Winkler@am.com>;                                                     and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                      "bill-winkler@am.com"<bill-                                                     & Emery for purposes of obtaining legal advice
                                                                                                                                       winkler@am.com>; "revan-                                                       regarding audit procedures and NRA request for
                                                                                                                                       mcqueen@am.com" <revan-                                                                           documents.
                                                                                                                                          mcqueen@am.com>;
                                                                                                                                        "betts.gina@dorsey.com"
                                                                                                                                        <betts.gina@dorsey.com>
648    Attorney-Client        Message          9/4/2018 6:13   "Ryan, Stephen" <SRyan@mwe.com>       "madrid.jay@dorsey.com"          "bill-winkler@am.com" <bill-                Attorney client communication Confidential communication between AMc employee
      Communications;                                                                               <madrid.jay@dorsey.com>;                winkler@am.com>                       and work product Brewer draft. and counsel at Dorsey & Whitney and McDermott Will
        Work Product                                                                             "betts.gina@dorsey.com"<betts.gin                                                                                  & Emery for purposes of obtaining legal advice
                                                                                                 a@dorsey.com>; "Revan McQueen                                                                                      regarding audit procedures and NRA request for
                                                                                                   - Ackerman McQueen (Revan-                                                                                    documents, and work product created in anticipation of
                                                                                                   McQueen@am.com)" <Revan-                                                                                                            litigation.
                                                                                                        McQueen@am.com>
649    Attorney-Client   Message_Attachment    9/4/2018 6:13                                                                                                                                                      Confidential communication between AMc employee
      Communications;                                                                                                                                                                                            and counsel at Dorsey & Whitney and McDermott Will
        Work Product                                                                                                                                                                                                & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                    regarding audit procedures and NRA request for
                                                                                                                                                                                                                 documents, and work product created in anticipation of
                                                                                                                                                                                                                                       litigation.
650    Attorney-Client        Message          9/4/2018 6:16   "Ryan, Stephen" <SRyan@mwe.com>       "madrid.jay@dorsey.com"       "bill-winkler@am.com" <bill-                   Brewer Letter: Attorney client Confidential communication between AMc employee
      Communications;                                                                               <madrid.jay@dorsey.com>;             winkler@am.com>                            communication and work       and counsel at Dorsey & Whitney and McDermott Will
        Work Product                                                                             "betts.gina@dorsey.com"<betts.gin                                                          product.                & Emery for purposes of obtaining legal advice
                                                                                                 a@dorsey.com>; "Revan McQueen                                                                                      regarding audit procedures and NRA request for
                                                                                                   - Ackerman McQueen (Revan-                                                                                    documents, and work product created in anticipation of
                                                                                                   McQueen@am.com)" <Revan-                                                                                                            litigation.
                                                                                                        McQueen@am.com>
651    Attorney-Client   Message_Attachment    9/4/2018 6:16                                                                                                                                                        Confidential communication between AMc employee
      Communications;                                                                                                                                                                                              and counsel at Dorsey & Whitney and McDermott Will
        Work Product                                                                                                                                                                                                  & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                      regarding audit procedures and NRA request for
                                                                                                                                                                                                                   documents, and work product created in anticipation of
                                                                                                                                                                                                                                         litigation.
652    Attorney-Client        Message          9/4/2018 6:25   "Ryan, Stephen" <SRyan@mwe.com>       "madrid.jay@dorsey.com"                                                        draft Letter to Phillips Jr.    Confidential communication between AMc employee
      Communications;                                                                               <madrid.jay@dorsey.com>;                                                       Attorney work product and       and counsel at Dorsey & Whitney and McDermott Will
        Work Product                                                                             "betts.gina@dorsey.com"<betts.gin                                                          privileged                & Emery for purposes of obtaining legal advice
                                                                                                 a@dorsey.com>; "Revan McQueen                                                                                        regarding audit procedures and NRA request for
                                                                                                   - Ackerman McQueen (Revan-                                                                                      documents, and work product created in anticipation of
                                                                                                   McQueen@am.com)" <Revan-                                                                                                              litigation.
                                                                                                     McQueen@am.com>; "bill-
                                                                                                       winkler@am.com"<bill-
                                                                                                         winkler@am.com>
653    Attorney-Client   Message_Attachment    9/4/2018 6:25                                                                                                                                                        Confidential communication between AMc employee
      Communications;                                                                                                                                                                                              and counsel at Dorsey & Whitney and McDermott Will
        Work Product                                                                                                                                                                                                  & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                      regarding audit procedures and NRA request for
                                                                                                                                                                                                                   documents, and work product created in anticipation of
                                                                                                                                                                                                                                         litigation.




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                                                                                                                                                                                                                                                      APP. 01165
                                                       Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21                                                       Page 409 of 1087 PageID 30614
                                                                                                                      AMC Second Amended Privilege Log


 #     Privilege Type       Record Type       Document Date              Email From                          Email To                            Email CC              Email BCC            Email Subject                        Privilege Description
654    Attorney-Client        Message          9/4/2018 7:31        Revan McQueen <Revan-                 "Ryan, Stephen"                "madrid.jay@dorsey.com"                     Re: Brewer Letter: Attorney  Confidential communication between AMc employee
      Communications;                                                McQueen@am.com>                    <SRyan@mwe.com>                 <madrid.jay@dorsey.com>;                   client communication and work and counsel at Dorsey & Whitney and McDermott Will
        Work Product                                                                                                                  "betts.gina@dorsey.com"<betts.                          product.              & Emery for purposes of obtaining legal advice
                                                                                                                                          gina@dorsey.com>; Bill                                                    regarding audit procedures and NRA request for
                                                                                                                                               Winkler <bill-                                                    documents, and work product created in anticipation of
                                                                                                                                             winkler@am.com>                                                                            litigation.
655    Attorney-Client        Message          9/4/2018 7:31        Revan McQueen <Revan-                 "Ryan, Stephen"                "madrid.jay@dorsey.com"                     Re: Brewer Letter: Attorney  Confidential communication between AMc employee
      Communications;                                                McQueen@am.com>                    <SRyan@mwe.com>                 <madrid.jay@dorsey.com>;                   client communication and work and counsel at Dorsey & Whitney and McDermott Will
        Work Product                                                                                                                  "betts.gina@dorsey.com"<betts.                          product.              & Emery for purposes of obtaining legal advice
                                                                                                                                          gina@dorsey.com>; Bill                                                    regarding audit procedures and NRA request for
                                                                                                                                               Winkler <bill-                                                    documents, and work product created in anticipation of
                                                                                                                                             winkler@am.com>                                                                            litigation.
656    Attorney-Client        Message          9/4/2018 9:10        Revan McQueen <Revan-                 "SRyan@mwe.com"                                                                      North              Confidential communication between AMc employee
      Communications;                                                McQueen@am.com>                     <SRyan@mwe.com>;                                                                                        and counsel at Dorsey & Whitney and McDermott Will
        Work Product                                                                              "betts.gina@dorsey.com"<betts.gin                                                                                 & Emery for purposes of obtaining legal advice
                                                                                                            a@dorsey.com>;                                                                                        regarding Oliver North's contract, and work product
                                                                                                      "madrid.jay@dorsey.com"                                                                                              created in anticipation of litigation.
                                                                                                      <madrid.jay@dorsey.com>
657    Attorney-Client   Message_Attachment    9/4/2018 9:10                                                                                                                                                           Confidential communication between AMc employee
      Communications;                                                                                                                                                                                                 and counsel at Dorsey & Whitney and McDermott Will
        Work Product                                                                                                                                                                                                     & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                       regarding Oliver North's contract, and work product
                                                                                                                                                                                                                               created in anticipation of litigation.
658   Attorney-Client         Message          9/4/2018 9:17   "Ryan, Stephen" <SRyan@mwe.com>          Revan McQueen <Revan-                                                        RE: North. Attorney client        Confidential communication between AMc employee
      Communications                                                                                      McQueen@am.com>;                                                           communication and work           and counsel at Dorsey & Whitney and McDermott Will
                                                                                                   "betts.gina@dorsey.com"<betts.gin                                                         product.                    & Emery for purposes of obtaining legal advice
                                                                                                             a@dorsey.com>;                                                                                                     regarding Oliver North's contract.
                                                                                                       "madrid.jay@dorsey.com"
                                                                                                       <madrid.jay@dorsey.com>
659    Attorney-Client        Message         9/4/2018 10:00   Bill Winkler <bill-winkler@am.com>            "Ryan, Stephen"          Brandon Winkler <Brandon-                    RE: draft Letter to Phillips Jr.    Confidential communication between AMc employee
      Communications;                                                                                     <SRyan@mwe.com>;                Winkler@am.com>                           Attorney work product and         and counsel at Dorsey & Whitney and McDermott Will
        Work Product                                                                              "madrid.jay@dorsey.com"<madrid.j                                                           privileged                  & Emery for purposes of obtaining legal advice
                                                                                                            ay@dorsey.com>;                                                                                              regarding audit procedures and NRA request for
                                                                                                        "betts.gina@dorsey.com"                                                                                       documents, and work product created in anticipation of
                                                                                                   <betts.gina@dorsey.com>; Revan                                                                                                           litigation.
                                                                                                            McQueen <Revan-
                                                                                                          McQueen@am.com>
660    Attorney-Client        Message         9/4/2018 10:00   Bill Winkler <bill-winkler@am.com>            "Ryan, Stephen"          Brandon Winkler <Brandon-                    RE: draft Letter to Phillips Jr.    Confidential communication between AMc employee
      Communications;                                                                                     <SRyan@mwe.com>;                Winkler@am.com>                           Attorney work product and         and counsel at Dorsey & Whitney and McDermott Will
        Work Product                                                                              "madrid.jay@dorsey.com"<madrid.j                                                           privileged                  & Emery for purposes of obtaining legal advice
                                                                                                            ay@dorsey.com>;                                                                                              regarding audit procedures and NRA request for
                                                                                                        "betts.gina@dorsey.com"                                                                                       documents, and work product created in anticipation of
                                                                                                   <betts.gina@dorsey.com>; Revan                                                                                                           litigation.
                                                                                                            McQueen <Revan-
                                                                                                          McQueen@am.com>
661    Attorney-Client        Message         9/4/2018 10:04         <betts.gina@dorsey.com>            <bill-winkler@am.com>;       <Brandon-Winkler@am.com>                      RE: draft Letter to Phillips Jr.    Confidential communication between AMc employee
      Communications;                                                                                     <SRyan@mwe.com>;                                                          Attorney work product and         and counsel at Dorsey & Whitney and McDermott Will
        Work Product                                                                                  <madrid.jay@dorsey.com>;                                                               privileged                  & Emery for purposes of obtaining legal advice
                                                                                                     <Revan-McQueen@am.com>                                                                                              regarding audit procedures and NRA request for
                                                                                                                                                                                                                      documents, and work product created in anticipation of
                                                                                                                                                                                                                                            litigation.



                                                                                                                                 Page 58 of 194
                                                                                                                                                                                                                                                         APP. 01166
                                                      Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21                                                       Page 410 of 1087 PageID 30615
                                                                                                                        AMC Second Amended Privilege Log


 #     Privilege Type       Record Type       Document Date                Email From                            Email To                   Email CC                     Email BCC                    Email Subject                               Privilege Description
662    Attorney-Client        Message         9/4/2018 10:05   Bill Winkler <bill-winkler@am.com>       "betts.gina@dorsey.com"     Brandon Winkler <Brandon-                                  RE: draft Letter to Phillips Jr.    Confidential communication between AMc employee
      Communications;                                                                                  <betts.gina@dorsey.com>;         Winkler@am.com>                                         Attorney work product and         and counsel at Dorsey & Whitney and McDermott Will
        Work Product                                                                                "SRyan@mwe.com"<SRyan@mwe.                                                                           privileged                  & Emery for purposes of obtaining legal advice
                                                                                                     com>; "madrid.jay@dorsey.com"                                                                                                   regarding audit procedures and NRA request for
                                                                                                       <madrid.jay@dorsey.com>;                                                                                                   documents, and work product created in anticipation of
                                                                                                       "Revan McQueen" <Revan-                                                                                                                          litigation.
                                                                                                          McQueen@am.com>
663    Attorney-Client        Message         9/4/2018 10:09       <madrid.jay@dorsey.com>              <bill-winkler@am.com>;     <Brandon-Winkler@am.com>                                    RE: draft Letter to Phillips Jr.    Confidential communication between AMc employee
      Communications;                                                                                  <betts.gina@dorsey.com>;                                                                 Attorney work product and         and counsel at Dorsey & Whitney and McDermott Will
        Work Product                                                                                  <SRyan@mwe.com>; <Revan-                                                                           privileged                  & Emery for purposes of obtaining legal advice
                                                                                                          McQueen@am.com>                                                                                                            regarding audit procedures and NRA request for
                                                                                                                                                                                                                                  documents, and work product created in anticipation of
                                                                                                                                                                                                                                                        litigation.
664    Attorney-Client        Message         9/4/2018 10:26       <madrid.jay@dorsey.com>          <bill-winkler@am.com>; <Revan-     <SRyan@mwe.com>;                                             FW: Letter re Audit            Confidential communication between AMc employee
      Communications;                                                                                      McQueen@am.com>           <betts.gina@dorsey.com>;                                                                     and counsel at Dorsey & Whitney and McDermott Will
        Work Product                                                                                                                 <madrid.jay@dorsey.com>                                                                         & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                                     regarding audit procedures and NRA request for
                                                                                                                                                                                                                                  documents, and work product created in anticipation of
                                                                                                                                                                                                                                                        litigation.
665    Attorney-Client   Message_Attachment   9/4/2018 10:26                                                                                                                                                                       Confidential communication between AMc employee
      Communications;                                                                                                                                                                                                             and counsel at Dorsey & Whitney and McDermott Will
        Work Product                                                                                                                                                                                                                 & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                                     regarding audit procedures and NRA request for
                                                                                                                                                                                                                                  documents, and work product created in anticipation of
                                                                                                                                                                                                                                                        litigation.
666    Attorney-Client        Message         9/4/2018 10:33        Revan McQueen <Revan-                 Bill Winkler <bill-            "Ryan, Stephen"                                       Re: draft Letter to Phillips Jr.    Confidential communication between AMc employee
      Communications;                                                McQueen@am.com>                      winkler@am.com>             <SRyan@mwe.com>;                                          Attorney work product and         and counsel at Dorsey & Whitney and McDermott Will
        Work Product                                                                                                             "madrid.jay@dorsey.com"<madr                                            privileged                  & Emery for purposes of obtaining legal advice
                                                                                                                                      id.jay@dorsey.com>;                                                                            regarding audit procedures and NRA request for
                                                                                                                                    "betts.gina@dorsey.com"                                                                       documents, and work product created in anticipation of
                                                                                                                                   <betts.gina@dorsey.com>;                                                                                             litigation.
                                                                                                                                   Brandon Winkler <Brandon-
                                                                                                                                        Winkler@am.com>
667    Attorney-Client        Message         9/4/2018 10:33         Revan McQueen <Revan-               Bill Winkler <bill-             "Ryan, Stephen"                                       Re: draft Letter to Phillips Jr.    Confidential communication between AMc employee
      Communications;                                                  McQueen@am.com>                   winkler@am.com>              <SRyan@mwe.com>;                                          Attorney work product and         and counsel at Dorsey & Whitney and McDermott Will
        Work Product                                                                                                             "madrid.jay@dorsey.com"<madr                                            privileged                  & Emery for purposes of obtaining legal advice
                                                                                                                                      id.jay@dorsey.com>;                                                                            regarding audit procedures and NRA request for
                                                                                                                                    "betts.gina@dorsey.com"                                                                       documents, and work product created in anticipation of
                                                                                                                                   <betts.gina@dorsey.com>;                                                                                             litigation.
                                                                                                                                   Brandon Winkler <Brandon-
                                                                                                                                        Winkler@am.com>
668    Attorney-Client        Message         9/4/2018 10:33   Bill Winkler <bill-winkler@am.com>    "madrid.jay@dorsey.com"           "SRyan@mwe.com"             Brandon Winkler <Brandon-        RE: Letter re Audit            Confidential communication between AMc employee
      Communications;                                                                             <madrid.jay@dorsey.com>; Revan      <SRyan@mwe.com>;             Winkler@am.com>; Lonnie                                        and counsel at Dorsey & Whitney and McDermott Will
        Work Product                                                                                     McQueen<Revan-          "betts.gina@dorsey.com"<betts.   Heim<ldheim@hbc-cpas.com>                                          & Emery for purposes of obtaining legal advice
                                                                                                        McQueen@am.com>                 gina@dorsey.com>                                                                             regarding audit procedures and NRA request for
                                                                                                                                                                                                                                  documents, and work product created in anticipation of
                                                                                                                                                                                                                                                        litigation.




                                                                                                                                 Page 59 of 194
                                                                                                                                                                                                                                                                     APP. 01167
                                               Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21                                                       Page 411 of 1087 PageID 30616
                                                                                                                 AMC Second Amended Privilege Log


 #     Privilege Type    Record Type   Document Date                Email From                          Email To                       Email CC                        Email BCC                  Email Subject                                Privilege Description
669    Attorney-Client     Message     9/4/2018 10:33   Bill Winkler <bill-winkler@am.com>      "madrid.jay@dorsey.com"           "SRyan@mwe.com"               Brandon Winkler <Brandon-        RE: Letter re Audit            Confidential communication between AMc employee
      Communications;                                                                        <madrid.jay@dorsey.com>; Revan      <SRyan@mwe.com>;               Winkler@am.com>; Lonnie                                        and counsel at Dorsey & Whitney and McDermott Will
        Work Product                                                                                McQueen<Revan-          "betts.gina@dorsey.com"<betts.     Heim<ldheim@hbc-cpas.com>                                          & Emery for purposes of obtaining legal advice
                                                                                                   McQueen@am.com>                 gina@dorsey.com>                                                                               regarding audit procedures and NRA request for
                                                                                                                                                                                                                               documents, and work product created in anticipation of
                                                                                                                                                                                                                                                     litigation.
670    Attorney-Client     Message     9/4/2018 10:34        <betts.gina@dorsey.com>         <madrid.jay@dorsey.com>; <bill-        <SRyan@mwe.com>                                              RE: Letter re Audit            Confidential communication between AMc employee
      Communications;                                                                          winkler@am.com>; <Revan-                                                                                                        and counsel at Dorsey & Whitney and McDermott Will
        Work Product                                                                              McQueen@am.com>                                                                                                                 & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                                  regarding audit procedures and NRA request for
                                                                                                                                                                                                                               documents, and work product created in anticipation of
                                                                                                                                                                                                                                                     litigation.
671    Attorney-Client     Message     9/4/2018 10:35   Bill Winkler <bill-winkler@am.com>       Revan McQueen <Revan-                  "Ryan, Stephen"                                     RE: draft Letter to Phillips Jr.    Confidential communication between AMc employee
      Communications;                                                                             McQueen@am.com>                    <SRyan@mwe.com>;                                        Attorney work product and         and counsel at Dorsey & Whitney and McDermott Will
        Work Product                                                                                                            "madrid.jay@dorsey.com"<madr                                          privileged                  & Emery for purposes of obtaining legal advice
                                                                                                                                     id.jay@dorsey.com>;                                                                          regarding audit procedures and NRA request for
                                                                                                                                   "betts.gina@dorsey.com"                                                                     documents, and work product created in anticipation of
                                                                                                                                  <betts.gina@dorsey.com>;                                                                                           litigation.
                                                                                                                                  Brandon Winkler <Brandon-
                                                                                                                                      Winkler@am.com>
672    Attorney-Client     Message     9/4/2018 10:35   Bill Winkler <bill-winkler@am.com>       Revan McQueen <Revan-                  "Ryan, Stephen"                                     RE: draft Letter to Phillips Jr.    Confidential communication between AMc employee
      Communications;                                                                             McQueen@am.com>                    <SRyan@mwe.com>;                                        Attorney work product and         and counsel at Dorsey & Whitney and McDermott Will
        Work Product                                                                                                            "madrid.jay@dorsey.com"<madr                                          privileged                  & Emery for purposes of obtaining legal advice
                                                                                                                                     id.jay@dorsey.com>;                                                                          regarding audit procedures and NRA request for
                                                                                                                                   "betts.gina@dorsey.com"                                                                     documents, and work product created in anticipation of
                                                                                                                                  <betts.gina@dorsey.com>;                                                                                           litigation.
                                                                                                                                  Brandon Winkler <Brandon-
                                                                                                                                      Winkler@am.com>
673    Attorney-Client     Message     9/4/2018 10:37        <betts.gina@dorsey.com>             <bill-winkler@am.com>            <madrid.jay@dorsey.com>;                                  RE: draft Letter to Phillips Jr.    Confidential communication between AMc employee
      Communications;                                                                                                            <Revan-McQueen@am.com>;                                     Attorney work product and         and counsel at Dorsey & Whitney and McDermott Will
        Work Product                                                                                                                 <SRyan@mwe.com>                                                  privileged                  & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                                  regarding audit procedures and NRA request for
                                                                                                                                                                                                                               documents, and work product created in anticipation of
                                                                                                                                                                                                                                                     litigation.
674    Attorney-Client     Message     9/4/2018 10:41   Bill Winkler <bill-winkler@am.com>       "betts.gina@dorsey.com"            "SRyan@mwe.com"                                              RE: Letter re Audit            Confidential communication between AMc employee
      Communications;                                                                           <betts.gina@dorsey.com>;            <SRyan@mwe.com>                                                                            and counsel at Dorsey & Whitney and McDermott Will
        Work Product                                                                         "madrid.jay@dorsey.com"<madrid.j                                                                                                     & Emery for purposes of obtaining legal advice
                                                                                             ay@dorsey.com>; Revan McQueen                                                                                                        regarding audit procedures and NRA request for
                                                                                               <Revan-McQueen@am.com>                                                                                                          documents, and work product created in anticipation of
                                                                                                                                                                                                                                                     litigation.
675    Attorney-Client     Message     9/4/2018 10:41   Bill Winkler <bill-winkler@am.com>       "betts.gina@dorsey.com"            "SRyan@mwe.com"                                              RE: Letter re Audit            Confidential communication between AMc employee
      Communications;                                                                           <betts.gina@dorsey.com>;            <SRyan@mwe.com>                                                                            and counsel at Dorsey & Whitney and McDermott Will
        Work Product                                                                         "madrid.jay@dorsey.com"<madrid.j                                                                                                     & Emery for purposes of obtaining legal advice
                                                                                             ay@dorsey.com>; Revan McQueen                                                                                                        regarding audit procedures and NRA request for
                                                                                               <Revan-McQueen@am.com>                                                                                                          documents, and work product created in anticipation of
                                                                                                                                                                                                                                                     litigation.




                                                                                                                           Page 60 of 194
                                                                                                                                                                                                                                                                  APP. 01168
                                                      Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21                                                            Page 412 of 1087 PageID 30617
                                                                                                                         AMC Second Amended Privilege Log


 #     Privilege Type       Record Type       Document Date                Email From                            Email To                         Email CC                 Email BCC          Email Subject                               Privilege Description
676    Attorney-Client        Message         9/4/2018 10:42   Bill Winkler <bill-winkler@am.com>       "betts.gina@dorsey.com"            "madrid.jay@dorsey.com"                     RE: draft Letter to Phillips Jr.    Confidential communication between AMc employee
      Communications;                                                                                   <betts.gina@dorsey.com>           <madrid.jay@dorsey.com>;                      Attorney work product and         and counsel at Dorsey & Whitney and McDermott Will
        Work Product                                                                                                                        Revan McQueen<Revan-                                 privileged                  & Emery for purposes of obtaining legal advice
                                                                                                                                             McQueen@am.com>;                                                                regarding audit procedures and NRA request for
                                                                                                                                             "SRyan@mwe.com"                                                              documents, and work product created in anticipation of
                                                                                                                                             <SRyan@mwe.com>                                                                                      litigation.
677    Attorney-Client        Message         9/4/2018 10:43        <betts.gina@dorsey.com>             <bill-winkler@am.com>                                                          RE: draft Letter to Phillips Jr.    Confidential communication between AMc employee
      Communications;                                                                                                                                                                   Attorney work product and         and counsel at Dorsey & Whitney and McDermott Will
        Work Product                                                                                                                                                                             privileged                  & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                             regarding audit procedures and NRA request for
                                                                                                                                                                                                                          documents, and work product created in anticipation of
                                                                                                                                                                                                                                                  litigation.
678    Attorney-Client        Message         9/4/2018 10:53   "Ryan, Stephen" <SRyan@mwe.com>             Bill Winkler <bill-              "madrid.jay@dorsey.com"                    RE: draft Letter to Phillips Jr.    Confidential communication between AMc employee
      Communications;                                                                                  winkler@am.com>; Revan              <madrid.jay@dorsey.com>;                     Attorney work product and         and counsel at Dorsey & Whitney and McDermott Will
        Work Product                                                                                      McQueen <Revan-                "betts.gina@dorsey.com"<betts.                          privileged                  & Emery for purposes of obtaining legal advice
                                                                                                         McQueen@am.com>                  gina@dorsey.com>; Brandon                                                          regarding audit procedures and NRA request for
                                                                                                                                                Winkler <Brandon-                                                         documents, and work product created in anticipation of
                                                                                                                                                Winkler@am.com>                                                                                   litigation.
679    Attorney-Client        Message         9/4/2018 10:54   "Ryan, Stephen" <SRyan@mwe.com>          "betts.gina@dorsey.com"             "madrid.jay@dorsey.com"                    RE: draft Letter to Phillips Jr.    Confidential communication between AMc employee
      Communications;                                                                                <betts.gina@dorsey.com>; "bill-       <madrid.jay@dorsey.com>;                     Attorney work product and         and counsel at Dorsey & Whitney and McDermott Will
        Work Product                                                                                     winkler@am.com"<bill-                       "Revan-                                     privileged                  & Emery for purposes of obtaining legal advice
                                                                                                            winkler@am.com>               McQueen@am.com"<Revan-                                                             regarding audit procedures and NRA request for
                                                                                                                                              McQueen@am.com>                                                             documents, and work product created in anticipation of
                                                                                                                                                                                                                                                  litigation.
680    Attorney-Client        Message         9/4/2018 10:54   "Ryan, Stephen" <SRyan@mwe.com>               Bill Winkler <bill-           "madrid.jay@dorsey.com"                     RE: draft Letter to Phillips Jr.    Confidential communication between AMc employee
      Communications;                                                                                       winkler@am.com>;              <madrid.jay@dorsey.com>;                      Attorney work product and         and counsel at Dorsey & Whitney and McDermott Will
        Work Product                                                                                "betts.gina@dorsey.com"<betts.gin       Revan McQueen<Revan-                                 privileged                  & Emery for purposes of obtaining legal advice
                                                                                                              a@dorsey.com>                  McQueen@am.com>                                                                 regarding audit procedures and NRA request for
                                                                                                                                                                                                                          documents, and work product created in anticipation of
                                                                                                                                                                                                                                                  litigation.
681    Attorney-Client        Message         9/4/2018 11:01   Bill Winkler <bill-winkler@am.com>             "Ryan, Stephen"              "madrid.jay@dorsey.com"                     RE: draft Letter to Phillips Jr.    Confidential communication between AMc employee
      Communications;                                                                                      <SRyan@mwe.com>;               <madrid.jay@dorsey.com>;                      Attorney work product and         and counsel at Dorsey & Whitney and McDermott Will
        Work Product                                                                                "betts.gina@dorsey.com"<betts.gin       Revan McQueen<Revan-                                 privileged                  & Emery for purposes of obtaining legal advice
                                                                                                              a@dorsey.com>                  McQueen@am.com>                                                                 regarding audit procedures and NRA request for
                                                                                                                                                                                                                          documents, and work product created in anticipation of
                                                                                                                                                                                                                                                  litigation.
682    Attorney-Client        Message         9/4/2018 11:12        Revan McQueen <Revan-                  Bill Winkler <bill-                   "Ryan, Stephen"                       Re: draft Letter to Phillips Jr.    Confidential communication between AMc employee
      Communications;                                                McQueen@am.com>                       winkler@am.com>                    <SRyan@mwe.com>;                          Attorney work product and         and counsel at Dorsey & Whitney and McDermott Will
        Work Product                                                                                                                     "betts.gina@dorsey.com"<betts.                          privileged                  & Emery for purposes of obtaining legal advice
                                                                                                                                               gina@dorsey.com>;                                                             regarding audit procedures and NRA request for
                                                                                                                                           "madrid.jay@dorsey.com"                                                        documents, and work product created in anticipation of
                                                                                                                                           <madrid.jay@dorsey.com>                                                                                litigation.
683                      Message_Attachment   9/4/2018 11:12                                                                                                                                                               Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                           file). Not privileged.
684                      Message_Attachment   9/4/2018 11:12                                                                                                                                                               Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                           file). Not privileged.




                                                                                                                                       Page 61 of 194
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                                                      Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21                                               Page 413 of 1087 PageID 30618
                                                                                                             AMC Second Amended Privilege Log


 #     Privilege Type       Record Type       Document Date         Email From                      Email To                           Email CC               Email BCC          Email Subject                            Privilege Description
685    Attorney-Client        Message         9/4/2018 12:28   Revan McQueen <Revan-        "madrid.jay@dorsey.com"               "SRyan@mwe.com"                           Re: Audit Response Letter     Confidential communication between AMc employee
      Communications;                                           McQueen@am.com>             <madrid.jay@dorsey.com>              <SRyan@mwe.com>;                                                        and counsel at Dorsey & Whitney and McDermott Will
        Work Product                                                                                                        "betts.gina@dorsey.com"<betts.                                                   & Emery for purposes of obtaining legal advice
                                                                                                                               gina@dorsey.com>; Bill                                                        regarding audit procedures and NRA request for
                                                                                                                                     Winkler <bill-                                                      documents, and work product created in anticipation of
                                                                                                                                   winkler@am.com>                                                                               litigation.
686   Attorney-Client         Message         9/4/2018 12:28   Revan McQueen <Revan-        "madrid.jay@dorsey.com"               "SRyan@mwe.com"                           Re: Audit Response Letter     Confidential communication between AMc employee
      Communications                                            McQueen@am.com>             <madrid.jay@dorsey.com>              <SRyan@mwe.com>;                                                        and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                            "betts.gina@dorsey.com"<betts.                                                   & Emery for purposes of obtaining legal advice
                                                                                                                               gina@dorsey.com>; Bill                                                     regarding draft correspondence to NRA counsel about
                                                                                                                                     Winkler <bill-                                                                    document requests and audit.
                                                                                                                                   winkler@am.com>
687                      Message_Attachment   9/4/2018 12:28                                                                                                                                             Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                         file). Not privileged.
688    Attorney-Client        Message         9/4/2018 13:03   <madrid.jay@dorsey.com>     <Revan-McQueen@am.com>                <SRyan@mwe.com>;                            Re: Audit Response Letter   Confidential communication between AMc employee
      Communications;                                                                                                       <betts.gina@dorsey.com>; <bill-                                             and counsel at Dorsey & Whitney and McDermott Will
        Work Product                                                                                                               winkler@am.com>                                                         & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                           regarding audit procedures and NRA request for
                                                                                                                                                                                                        documents, and work product created in anticipation of
                                                                                                                                                                                                                                litigation.
689                      Message_Attachment   9/4/2018 13:03                                                                                                                                             Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                         file). Not privileged.
690                      Message_Attachment   9/4/2018 13:03                                                                                                                                             Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                         file). Not privileged.
691    Attorney-Client        Message         9/4/2018 15:15   Revan McQueen <Revan-            "sryan@mwe.com"                   Bill Winkler <bill-                       Re: Brewer Letter: Attorney  Confidential communication between AMc employee
      Communications;                                           McQueen@am.com>                <sryan@mwe.com>;                   winkler@am.com>                         client communication and work and counsel at Dorsey & Whitney and McDermott Will
        Work Product                                                                     "madrid.jay@dorsey.com"<madrid.j                                                            product.              & Emery for purposes of obtaining legal advice
                                                                                                 ay@dorsey.com>;                                                                                           regarding audit procedures and NRA request for
                                                                                             "betts.gina@dorsey.com"                                                                                    documents, and work product created in anticipation of
                                                                                             <betts.gina@dorsey.com>                                                                                                            litigation.
692    Attorney-Client   Message_Attachment   9/4/2018 15:15                                                                                                                                             Confidential communication between AMc employee
      Communications;                                                                                                                                                                                   and counsel at Dorsey & Whitney and McDermott Will
        Work Product                                                                                                                                                                                       & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                           regarding audit procedures and NRA request for
                                                                                                                                                                                                        documents, and work product created in anticipation of
                                                                                                                                                                                                                                litigation.
693    Attorney-Client        Message         9/4/2018 15:15   Revan McQueen <Revan-            "sryan@mwe.com"                   Bill Winkler <bill-                       Re: Brewer Letter: Attorney  Confidential communication between AMc employee
      Communications;                                           McQueen@am.com>                <sryan@mwe.com>;                   winkler@am.com>                         client communication and work and counsel at Dorsey & Whitney and McDermott Will
        Work Product                                                                     "madrid.jay@dorsey.com"<madrid.j                                                            product.              & Emery for purposes of obtaining legal advice
                                                                                                 ay@dorsey.com>;                                                                                           regarding audit procedures and NRA request for
                                                                                             "betts.gina@dorsey.com"                                                                                    documents, and work product created in anticipation of
                                                                                             <betts.gina@dorsey.com>                                                                                                            litigation.
694    Attorney-Client   Message_Attachment   9/4/2018 15:15                                                                                                                                             Confidential communication between AMc employee
      Communications;                                                                                                                                                                                   and counsel at Dorsey & Whitney and McDermott Will
        Work Product                                                                                                                                                                                       & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                           regarding audit procedures and NRA request for
                                                                                                                                                                                                        documents, and work product created in anticipation of
                                                                                                                                                                                                                                litigation.




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 #     Privilege Type       Record Type       Document Date             Email From                            Email To                        Email CC                 Email BCC          Email Subject                          Privilege Description
695    Attorney-Client        Message         9/4/2018 16:56       Revan McQueen <Revan-                 "sryan@mwe.com"                                                                    3 letters             Confidential communication between AMc employee
      Communications;                                               McQueen@am.com>                     <sryan@mwe.com>;                                                                                         and counsel at Dorsey & Whitney and McDermott Will
        Work Product                                                                             "betts.gina@dorsey.com"<betts.gin                                                                                  & Emery for purposes of obtaining legal advice
                                                                                                          a@dorsey.com>;                                                                                          regarding Oliver North's contract, and work product
                                                                                                     "madrid.jay@dorsey.com"                                                                                              created in anticipation of litigation.
                                                                                                     <madrid.jay@dorsey.com>
696    Attorney-Client   Message_Attachment   9/4/2018 16:56                                                                                                                                                       Confidential communication between AMc employee
      Communications;                                                                                                                                                                                             and counsel at Dorsey & Whitney and McDermott Will
        Work Product                                                                                                                                                                                                 & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                   regarding Oliver North's contract, and work product
                                                                                                                                                                                                                            created in anticipation of litigation.
697    Attorney-Client   Message_Attachment   9/4/2018 16:56                                                                                                                                                       Confidential communication between AMc employee
      Communications;                                                                                                                                                                                             and counsel at Dorsey & Whitney and McDermott Will
        Work Product                                                                                                                                                                                                 & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                   regarding Oliver North's contract, and work product
                                                                                                                                                                                                                            created in anticipation of litigation.
698    Attorney-Client   Message_Attachment   9/4/2018 16:56                                                                                                                                                       Confidential communication between AMc employee
      Communications;                                                                                                                                                                                             and counsel at Dorsey & Whitney and McDermott Will
        Work Product                                                                                                                                                                                                 & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                   regarding Oliver North's contract, and work product
                                                                                                                                                                                                                            created in anticipation of litigation.
699    Attorney-Client        Message         9/4/2018 17:43   "Ryan, Stephen" <SRyan@mwe.com>     "Revan McQueen - Ackerman            "betts.gina@dorsey.com"                     Ryan revised North letter.     Confidential communication between AMc employee
      Communications;                                                                                   McQueen (Revan-                <betts.gina@dorsey.com>;                       attorney work product.      and counsel at Dorsey & Whitney and McDermott Will
        Work Product                                                                               McQueen@am.com)"<Revan-           "madrid.jay@dorsey.com"<madr                            Privileged              & Emery for purposes of obtaining legal advice
                                                                                                       McQueen@am.com>                    id.jay@dorsey.com>                                                       regarding Oliver North's contract, and work product
                                                                                                                                                                                                                            created in anticipation of litigation.
700    Attorney-Client   Message_Attachment   9/4/2018 17:43                                                                                                                                                       Confidential communication between AMc employee
      Communications;                                                                                                                                                                                             and counsel at Dorsey & Whitney and McDermott Will
        Work Product                                                                                                                                                                                                 & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                   regarding Oliver North's contract, and work product
                                                                                                                                                                                                                            created in anticipation of litigation.
701   Attorney-Client         Message         9/4/2018 17:47       <betts.gina@dorsey.com>         <SRyan@mwe.com>; <Revan-            <madrid.jay@dorsey.com>                     RE: Ryan revised North letter. Confidential communication between AMc employee
      Communications                                                                                  McQueen@am.com>                                                                 attorney work product.      and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                                                                             Privileged              & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                             regarding Oliver North's contract.
702   Attorney-Client         Message         9/4/2018 17:57   "Ryan, Stephen" <SRyan@mwe.com>        "betts.gina@dorsey.com"          "madrid.jay@dorsey.com"                     RE: Ryan revised North letter. Confidential communication between AMc employee
      Communications                                                                             <betts.gina@dorsey.com>; "Revan-      <madrid.jay@dorsey.com>                        attorney work product.      and counsel at Dorsey & Whitney and McDermott Will
                                                                                                   McQueen@am.com"<Revan-                                                                    Privileged              & Emery for purposes of obtaining legal advice
                                                                                                        McQueen@am.com>                                                                                                      regarding Oliver North's contract.
703    Attorney-Client        Message         9/4/2018 18:05       Revan McQueen <Revan-                   "Ryan, Stephen"                                                         Two Letters to be Sent Today Confidential communication between AMc employee
      Communications;                                               McQueen@am.com>                     <SRyan@mwe.com>;                                                                                          and counsel at Dorsey & Whitney and McDermott Will
        Work Product                                                                             "betts.gina@dorsey.com"<betts.gin                                                                                   & Emery for purposes of obtaining legal advice
                                                                                                          a@dorsey.com>;                                                                                            regarding draft correspondence to NRA, and work
                                                                                                     "madrid.jay@dorsey.com"                                                                                            product created in anticipation of litigation.
                                                                                                     <madrid.jay@dorsey.com>
704    Attorney-Client   Message_Attachment   9/4/2018 18:05                                                                                                                                                      Confidential communication between AMc employee
      Communications;                                                                                                                                                                                            and counsel at Dorsey & Whitney and McDermott Will
        Work Product                                                                                                                                                                                                & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                   regarding draft correspondence to NRA, and work
                                                                                                                                                                                                                       product created in anticipation of litigation.




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 #     Privilege Type       Record Type       Document Date              Email From                         Email To                         Email CC                  Email BCC           Email Subject                          Privilege Description
705    Attorney-Client   Message_Attachment   9/4/2018 18:05                                                                                                                                                       Confidential communication between AMc employee
      Communications;                                                                                                                                                                                             and counsel at Dorsey & Whitney and McDermott Will
        Work Product                                                                                                                                                                                                 & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                    regarding draft correspondence to NRA, and work
                                                                                                                                                                                                                        product created in anticipation of litigation.
706   Attorney-Client         Message          9/5/2018 8:43   "Ryan, Stephen" <SRyan@mwe.com>     "Revan McQueen - Ackerman                                                       FW: On behalf of Steve Ryan -- Confidential communication between AMc employee
      Communications                                                                                      McQueen (Revan-                                                                 Attached Letter         and counsel at Dorsey & Whitney and McDermott Will
                                                                                                   McQueen@am.com)"<Revan-                                                                                           & Emery for purposes of obtaining legal advice
                                                                                                       McQueen@am.com>;                                                                                                     regarding Oliver North's contract.
                                                                                                      "betts.gina@dorsey.com"
                                                                                                    <betts.gina@dorsey.com>;
                                                                                                     "madrid.jay@dorsey.com"
                                                                                                    <madrid.jay@dorsey.com>
707   Attorney-Client         Message          9/5/2018 9:13       Revan McQueen <Revan-                   "Ryan, Stephen"             "betts.gina@dorsey.com"                     Re: On behalf of Steve Ryan -- Confidential communication between AMc employee
      Communications                                                McQueen@am.com>                     <SRyan@mwe.com>               <betts.gina@dorsey.com>;                            Attached Letter         and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                    "madrid.jay@dorsey.com"<madr                                                      & Emery for purposes of obtaining legal advice
                                                                                                                                         id.jay@dorsey.com>                                                                  regarding Oliver North's contract.
708   Attorney-Client         Message         9/5/2018 10:06   "Ryan, Stephen" <SRyan@mwe.com>       Revan McQueen <Revan-             "betts.gina@dorsey.com"                     RE: On behalf of Steve Ryan -- Confidential communication between AMc employee
      Communications                                                                                  McQueen@am.com>                 <betts.gina@dorsey.com>;                            Attached Letter         and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                    "madrid.jay@dorsey.com"<madr                                                      & Emery for purposes of obtaining legal advice
                                                                                                                                         id.jay@dorsey.com>                                                        regarding revisions to draft correspondence to NRA.
709   Attorney-Client         Message         9/5/2018 10:12       <betts.gina@dorsey.com>        <SRyan@mwe.com>; <Revan-            <madrid.jay@dorsey.com>                      RE: On behalf of Steve Ryan -- Confidential communication between AMc employee
      Communications                                                                                 McQueen@am.com>                                                                      Attached Letter         and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                                                                                                      & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                   regarding revisions to draft correspondence to NRA.
710    Attorney-Client        Message         9/5/2018 10:17   "Ryan, Stephen" <SRyan@mwe.com>        "betts.gina@dorsey.com"         "madrid.jay@dorsey.com"                      RE: On behalf of Steve Ryan -- Confidential communication between AMc employee
      Communications;                                                                            <betts.gina@dorsey.com>; "Revan-     <madrid.jay@dorsey.com>                             Attached Letter         and counsel at Dorsey & Whitney and McDermott Will
        Work Product                                                                                McQueen@am.com"<Revan-                                                                                            & Emery for purposes of obtaining legal advice
                                                                                                        McQueen@am.com>                                                                                            regarding revisions to draft correspondence to NRA.
711   Attorney-Client         Message         9/5/2018 10:54       <betts.gina@dorsey.com>         <Revan-McQueen@am.com>;                                                         FW: On behalf of Steve Ryan -- Confidential communication between AMc employee
      Communications                                                                                    <SRyan@mwe.com>;                                                                  Attached Letter         and counsel at Dorsey & Whitney and McDermott Will
                                                                                                     <madrid.jay@dorsey.com>                                                                                          & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                    regarding correspondence from NRA counsel about
                                                                                                                                                                                                                                    document requests.
712   Attorney-Client         Message         9/5/2018 11:07   "Ryan, Stephen" <SRyan@mwe.com>        "betts.gina@dorsey.com"                                                      RE: On behalf of Steve Ryan -- Confidential communication between AMc employee
      Communications                                                                             <betts.gina@dorsey.com>; "Revan-                                                         Attached Letter         and counsel at Dorsey & Whitney and McDermott Will
                                                                                                    McQueen@am.com"<Revan-                                                                                            & Emery for purposes of obtaining legal advice
                                                                                                        McQueen@am.com>;                                                                                            regarding correspondence from NRA counsel about
                                                                                                     "madrid.jay@dorsey.com"                                                                                                        document requests.
                                                                                                     <madrid.jay@dorsey.com>
713    Attorney-Client        Message         9/5/2018 11:42       <madrid.jay@dorsey.com>         <Revan-McQueen@am.com>;              <SRyan@mwe.com>;                                FW: Letter to Brewer       Confidential communication between AMc employee
      Communications;                                                                                  <bill-winkler@am.com>          <betts.gina@dorsey.com>;                                                    and counsel at Dorsey & Whitney and McDermott Will
        Work Product                                                                                                                  <madrid.jay@dorsey.com>                                                        & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                     regarding audit procedures and NRA request for
                                                                                                                                                                                                                  documents, and work product created in anticipation of
                                                                                                                                                                                                                                        litigation.




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 #     Privilege Type       Record Type       Document Date              Email From                        Email To                     Email CC                 Email BCC           Email Subject                           Privilege Description
714    Attorney-Client   Message_Attachment   9/5/2018 11:42                                                                                                                                                  Confidential communication between AMc employee
      Communications;                                                                                                                                                                                        and counsel at Dorsey & Whitney and McDermott Will
        Work Product                                                                                                                                                                                            & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                regarding audit procedures and NRA request for
                                                                                                                                                                                                             documents, and work product created in anticipation of
                                                                                                                                                                                                                                   litigation.
715    Attorney-Client        Message         9/5/2018 12:01   "Ryan, Stephen" <SRyan@mwe.com>     "madrid.jay@dorsey.com"       "betts.gina@dorsey.com"                          RE: Letter to Brewer        Confidential communication between AMc employee
      Communications;                                                                             <madrid.jay@dorsey.com>;       <betts.gina@dorsey.com>                                                     and counsel at Dorsey & Whitney and McDermott Will
        Work Product                                                                                          "Revan-                                                                                           & Emery for purposes of obtaining legal advice
                                                                                                  McQueen@am.com"<Revan-                                                                                        regarding audit procedures and NRA request for
                                                                                                  McQueen@am.com>; "bill-                                                                                    documents, and work product created in anticipation of
                                                                                                    winkler@am.com" <bill-                                                                                                         litigation.
                                                                                                       winkler@am.com>
716   Attorney-Client         Message         9/5/2018 12:57   "Ryan, Stephen" <SRyan@mwe.com>      "betts.gina@dorsey.com"                                                  FW: On behalf of Steve Ryan -- Confidential communication between AMc employee
      Communications                                                                           <betts.gina@dorsey.com>; "Revan                                                      Attached Letter         and counsel at Dorsey & Whitney and McDermott Will
                                                                                                McQueen - Ackerman McQueen                                                                                       & Emery for purposes of obtaining legal advice
                                                                                                 (Revan-McQueen@am.com)"                                                                                     regarding draft correspondence to NRA counsel about
                                                                                                 <Revan-McQueen@am.com>                                                                                        document request and Oliver North's contract, and
                                                                                                                                                                                                                work product created in anticipation of litigation
                                                                                                                                                                                                            relating to state agency investigations into the NRA and
                                                                                                                                                                                                            litigation anticipated by AMc from the NRA as a result
                                                                                                                                                                                                               of, in large part, Bill Brewer's threats against AMc.
717                      Message_Attachment   9/5/2018 12:57                                                                                                                                                  Letter from NRA to AMc, dated 9/1/18. Attached to
                                                                                                                                                                                                                          privileged email. Not privileged.
718    Attorney-Client        Message         9/5/2018 12:58        Revan McQueen <Revan-          "madrid.jay@dorsey.com"          Bill Winkler <bill-                           Re: Letter to Brewer       Confidential communication between AMc employee
      Communications;                                                McQueen@am.com>               <madrid.jay@dorsey.com>         winkler@am.com>;                                                         and counsel at Dorsey & Whitney and McDermott Will
        Work Product                                                                                                               "SRyan@mwe.com"                                                               & Emery for purposes of obtaining legal advice
                                                                                                                                  <SRyan@mwe.com>;                                                              regarding audit procedures and NRA request for
                                                                                                                                 "betts.gina@dorsey.com"                                                    documents, and work product created in anticipation of
                                                                                                                                 <betts.gina@dorsey.com>                                                                                litigation.
719                      Message_Attachment   9/5/2018 12:58                                                                                                                                                  Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                 file). Not privileged.
720    Attorney-Client        Message         9/5/2018 12:58        Revan McQueen <Revan-          "madrid.jay@dorsey.com"          Bill Winkler <bill-                           Re: Letter to Brewer       Confidential communication between AMc employee
      Communications;                                                McQueen@am.com>               <madrid.jay@dorsey.com>         winkler@am.com>;                                                         and counsel at Dorsey & Whitney and McDermott Will
        Work Product                                                                                                               "SRyan@mwe.com"                                                               & Emery for purposes of obtaining legal advice
                                                                                                                                  <SRyan@mwe.com>;                                                              regarding audit procedures and NRA request for
                                                                                                                                 "betts.gina@dorsey.com"                                                    documents, and work product created in anticipation of
                                                                                                                                 <betts.gina@dorsey.com>                                                                                litigation.
721                      Message_Attachment   9/5/2018 12:58                                                                                                                                                  Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                 file). Not privileged.
722   Attorney-Client         Message         9/5/2018 13:00        Revan McQueen <Revan-               "Ryan, Stephen"          "betts.gina@dorsey.com"                     Re: On behalf of Steve Ryan -- Confidential communication between AMc employee
      Communications                                                 McQueen@am.com>                  <SRyan@mwe.com>            <betts.gina@dorsey.com>                            Attached Letter         and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                                                                                                 & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                             regarding draft correspondence to NRA counsel about
                                                                                                                                                                                                                  document request and Oliver North's contract.
723   Attorney-Client         Message         9/5/2018 13:06        <betts.gina@dorsey.com>       <Revan-McQueen@am.com>                                                                                     Confidential communication between AMc employee
      Communications                                                                                                                                                                                            and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                                     obtaining legal advice regarding sending
                                                                                                                                                                                                                         correspondence to NRA counsel.




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 #    Privilege Type        Record Type       Document Date             Email From                            Email To                       Email CC                 Email BCC           Email Subject                           Privilege Description
724   Attorney-Client         Message         9/5/2018 13:07       Revan McQueen <Revan-             "betts.gina@dorsey.com"                                                                  Re:                 Confidential communication between AMc employee
      Communications                                                McQueen@am.com>                  <betts.gina@dorsey.com>                                                                                        and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                                        obtaining legal advice regarding sending
                                                                                                                                                                                                                             correspondence to NRA counsel.
725                      Message_Attachment   9/5/2018 13:07                                                                                                                                                       Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                   file). Not privileged.
726    Attorney-Client        Message         9/5/2018 13:23       <betts.gina@dorsey.com>         <Revan-McQueen@am.com>;            <madrid.jay@dorsey.com>                            Draft Response           Confidential communication between AMc employee
      Communications;                                                                                  <SRyan@mwe.com>                                                                                           and counsel at Dorsey & Whitney and McDermott Will
        Work Product                                                                                                                                                                                                 & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                 regarding confidentiality of Oliver North's contract, and
                                                                                                                                                                                                                    work product created in anticipation of litigation.
727    Attorney-Client        Message         9/5/2018 13:26       Revan McQueen <Revan-             "betts.gina@dorsey.com"             "SRyan@mwe.com"                               Re: Draft Response         Confidential communication between AMc employee
      Communications;                                               McQueen@am.com>                  <betts.gina@dorsey.com>            <SRyan@mwe.com>;                                                         and counsel at Dorsey & Whitney and McDermott Will
        Work Product                                                                                                                "madrid.jay@dorsey.com"<madr                                                     & Emery for purposes of obtaining legal advice
                                                                                                                                         id.jay@dorsey.com>                                                      regarding confidentiality of Oliver North's contract, and
                                                                                                                                                                                                                    work product created in anticipation of litigation.
728    Attorney-Client        Message         9/5/2018 13:27       <betts.gina@dorsey.com>         <Revan-McQueen@am.com>              <SRyan@mwe.com>;                                RE: Draft Response         Confidential communication between AMc employee
      Communications;                                                                                                                 <madrid.jay@dorsey.com>                                                    and counsel at Dorsey & Whitney and McDermott Will
        Work Product                                                                                                                                                                                                 & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                 regarding confidentiality of Oliver North's contract, and
                                                                                                                                                                                                                    work product created in anticipation of litigation.
729    Attorney-Client        Message         9/5/2018 13:29   "Ryan, Stephen" <SRyan@mwe.com>        "betts.gina@dorsey.com"         "madrid.jay@dorsey.com"                          RE: Draft Response         Confidential communication between AMc employee
      Communications;                                                                            <betts.gina@dorsey.com>; "Revan-     <madrid.jay@dorsey.com>                                                    and counsel at Dorsey & Whitney and McDermott Will
        Work Product                                                                               McQueen@am.com"<Revan-                                                                                            & Emery for purposes of obtaining legal advice
                                                                                                        McQueen@am.com>                                                                                          regarding confidentiality of Oliver North's contract, and
                                                                                                                                                                                                                    work product created in anticipation of litigation.
730    Attorney-Client        Message         9/5/2018 13:35   "Ryan, Stephen" <SRyan@mwe.com>        "betts.gina@dorsey.com"         "madrid.jay@dorsey.com"                          RE: Draft Response         Confidential communication between AMc employee
      Communications;                                                                            <betts.gina@dorsey.com>; "Revan-     <madrid.jay@dorsey.com>                                                    and counsel at Dorsey & Whitney and McDermott Will
        Work Product                                                                               McQueen@am.com"<Revan-                                                                                            & Emery for purposes of obtaining legal advice
                                                                                                        McQueen@am.com>                                                                                          regarding confidentiality of Oliver North's contract, and
                                                                                                                                                                                                                    work product created in anticipation of litigation.
731    Attorney-Client        Message         9/5/2018 13:35       <madrid.jay@dorsey.com>       <betts.gina@dorsey.com>; <Revan-       <SRyan@mwe.com>                                RE: Draft Response         Confidential communication between AMc employee
      Communications;                                                                                   McQueen@am.com>                                                                                          and counsel at Dorsey & Whitney and McDermott Will
        Work Product                                                                                                                                                                                                 & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                 regarding confidentiality of Oliver North's contract, and
                                                                                                                                                                                                                    work product created in anticipation of litigation.
732   Attorney-Client         Message         9/5/2018 13:57       <betts.gina@dorsey.com>         <Revan-McQueen@am.com>;                                                        RE: On behalf of Steve Ryan -- Confidential communication between AMc employee
      Communications                                                                                  <SRyan@mwe.com>;                                                                   Attached Letter         and counsel at Dorsey & Whitney and McDermott Will
                                                                                                    <madrid.jay@dorsey.com>                                                                                          & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                 regarding correspondence to NRA counsel about Oliver
                                                                                                                                                                                                                                      North's contract.
733   Attorney-Client         Message         9/5/2018 15:17       <betts.gina@dorsey.com>         <Revan-McQueen@am.com>                                                             ATTORNEY CLIENT             Confidential communication between AMc employee
      Communications                                                                                                                                                                  CORRESPONDENCE                and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                                 obtaining legal advice regarding correspondence sent to
                                                                                                                                                                                                                       NRA counsel about Oliver North's contract.




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 #    Privilege Type        Record Type       Document Date                Email From                        Email To                     Email CC                 Email BCC          Email Subject                            Privilege Description
734   Attorney-Client         Message         9/5/2018 15:31   "Ryan, Stephen" <SRyan@mwe.com>   "Revan McQueen - Ackerman                                                             Final to Bill            Confidential communication between AMc employee
      Communications                                                                                    McQueen (Revan-                                                                                        and counsel at Dorsey & Whitney and McDermott Will
                                                                                                 McQueen@am.com)"<Revan-                                                                                           & Emery for purposes of obtaining legal advice
                                                                                                     McQueen@am.com>;                                                                                           regarding correspondence sent to NRA counsel about
                                                                                                    "betts.gina@dorsey.com"                                                                                                    Oliver North's contract.
                                                                                                  <betts.gina@dorsey.com>;
                                                                                                   "madrid.jay@dorsey.com"
                                                                                                   <madrid.jay@dorsey.com>
735   Attorney-Client         Message         9/5/2018 17:14   "Ryan, Stephen" <SRyan@mwe.com>      "betts.gina@dorsey.com"                                                    RE: Conference call. attorney    Confidential communication between AMc employee
      Communications                                                                           <betts.gina@dorsey.com>; "Revan-                                                    client communication        and counsel at Dorsey & Whitney and McDermott Will
                                                                                                  McQueen@am.com"<Revan-                                                                                          & Emery for purposes of obtaining legal advice
                                                                                                     McQueen@am.com>;                                                                                            regarding NRA request for Oliver North's contract.
                                                                                                   "madrid.jay@dorsey.com"
                                                                                                   <madrid.jay@dorsey.com>
736   Attorney-Client         Message         9/5/2018 17:20        <betts.gina@dorsey.com>      <SRyan@mwe.com>; <Revan-                                                      RE: Conference call. attorney  Confidential communication between AMc employee
      Communications                                                                                 McQueen@am.com>;                                                              client communication      and counsel at Dorsey & Whitney and McDermott Will
                                                                                                   <madrid.jay@dorsey.com>                                                                                       & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                               regarding NRA request for Oliver North's contract.
737   Attorney-Client         Message         9/5/2018 17:42   "Ryan, Stephen" <SRyan@mwe.com>     "Revan McQueen - Ackerman                                                   FW: Confidential Information Confidential communication between AMc employee
      Communications                                                                                    McQueen (Revan-                                                                                      and counsel at McDermott Will & Emery for purposes
                                                                                                   McQueen@am.com)"<Revan-                                                                                     of obtaining legal advice regarding correspondence
                                                                                                       McQueen@am.com>                                                                                          from Oliver North's counsel about Oliver North's
                                                                                                                                                                                                                                     contract.
738   Attorney-Client         Message         9/5/2018 18:43        <betts.gina@dorsey.com>        <SRyan@mwe.com>; <Revan-                                                    RE: Conference call. attorney Confidential communication between AMc employee
      Communications                                                                                  McQueen@am.com>;                                                             client communication      and counsel at Dorsey & Whitney and McDermott Will
                                                                                                    <madrid.jay@dorsey.com>                                                                                      & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                               regarding NRA request for Oliver North's contract.
739    Attorney-Client        Message         9/5/2018 20:44        Revan McQueen <Revan-             "betts.gina@dorsey.com"                                                             Response            Confidential communication between AMc employee
      Communications;                                                McQueen@am.com>                <betts.gina@dorsey.com>;                                                                                 and counsel at Dorsey & Whitney and McDermott Will
        Work Product                                                                             "SRyan@mwe.com"<SRyan@mwe.                                                                                      & Emery for purposes of obtaining legal advice
                                                                                                  com>; "madrid.jay@dorsey.com"                                                                              regarding NRA request for Oliver North's contract, and
                                                                                                     <madrid.jay@dorsey.com>                                                                                    work product created in anticipation of litigation.
740    Attorney-Client   Message_Attachment   9/5/2018 20:44                                                                                                                                                  Confidential communication between AMc employee
      Communications;                                                                                                                                                                                        and counsel at Dorsey & Whitney and McDermott Will
        Work Product                                                                                                                                                                                             & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                             regarding NRA request for Oliver North's contract, and
                                                                                                                                                                                                                work product created in anticipation of litigation.
741    Attorney-Client        Message          9/6/2018 6:44        Revan McQueen <Revan-           "madrid.jay@dorsey.com"           Bill Winkler <bill-                           Re: Letter to Brewer      Confidential communication between AMc employee
      Communications;                                                McQueen@am.com>                <madrid.jay@dorsey.com>          winkler@am.com>;                                                        and counsel at Dorsey & Whitney and McDermott Will
        Work Product                                                                                                                 "SRyan@mwe.com"                                                             & Emery for purposes of obtaining legal advice
                                                                                                                                    <SRyan@mwe.com>;                                                            regarding audit procedures and NRA request for
                                                                                                                                   "betts.gina@dorsey.com"                                                   documents, and work product created in anticipation of
                                                                                                                                   <betts.gina@dorsey.com>                                                                          litigation.
742    Attorney-Client        Message          9/6/2018 6:44        Revan McQueen <Revan-           "madrid.jay@dorsey.com"           Bill Winkler <bill-                           Re: Letter to Brewer      Confidential communication between AMc employee
      Communications;                                                McQueen@am.com>                <madrid.jay@dorsey.com>          winkler@am.com>;                                                        and counsel at Dorsey & Whitney and McDermott Will
        Work Product                                                                                                                 "SRyan@mwe.com"                                                             & Emery for purposes of obtaining legal advice
                                                                                                                                    <SRyan@mwe.com>;                                                            regarding audit procedures and NRA request for
                                                                                                                                   "betts.gina@dorsey.com"                                                   documents, and work product created in anticipation of
                                                                                                                                   <betts.gina@dorsey.com>                                                                          litigation.




                                                                                                                               Page 67 of 194
                                                                                                                                                                                                                                                APP. 01175
                                                      Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21                                                 Page 419 of 1087 PageID 30624
                                                                                                                AMC Second Amended Privilege Log


 #    Privilege Type       Record Type       Document Date                Email From                    Email To                         Email CC               Email BCC           Email Subject                             Privilege Description
743   Attorney-Client        Message          9/6/2018 7:31   "Ryan, Stephen" <SRyan@mwe.com>     Revan McQueen <Revan-          "madrid.jay@dorsey.com"                    Re: Status of Remaining Letters Confidential communication between AMc employee
      Communications                                                                               McQueen@am.com>              <madrid.jay@dorsey.com>;                                                    and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                              "betts.gina@dorsey.com"<betts.                                                    & Emery for purposes of obtaining legal advice
                                                                                                                                     gina@dorsey.com>                                                        regarding Oliver North's contract and NRA document
                                                                                                                                                                                                                            and information requests.
744   Attorney-Client        Message          9/6/2018 8:29       Revan McQueen <Revan-               "Ryan, Stephen"            "madrid.jay@dorsey.com"                    Re: Status of Remaining Letters Confidential communication between AMc employee
      Communications                                               McQueen@am.com>                  <SRyan@mwe.com>             <madrid.jay@dorsey.com>;                                                    and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                              "betts.gina@dorsey.com"<betts.                                                    & Emery for purposes of obtaining legal advice
                                                                                                                                     gina@dorsey.com>                                                        regarding Oliver North's contract and NRA document
                                                                                                                                                                                                                            and information requests.
745   Attorney-Client        Message          9/6/2018 8:32       <betts.gina@dorsey.com>       <Revan-McQueen@am.com>;         <madrid.jay@dorsey.com>                     RE: Status of Remaining Letters Confidential communication between AMc employee
      Communications                                                                                <SRyan@mwe.com>                                                                                         and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                                                                                                & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                             regarding Oliver North's contract and NRA document
                                                                                                                                                                                                                            and information requests.
746   Attorney-Client        Message          9/6/2018 8:35       <betts.gina@dorsey.com>       <Revan-McQueen@am.com>;                                                           RE: Conference call        Confidential communication between AMc employee
      Communications                                                                             <madrid.jay@dorsey.com>;                                                                                   and counsel at Dorsey & Whitney and McDermott Will
                                                                                                    <SRyan@mwe.com>                                                                                             & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                             regarding Oliver North's contract and NRA document
                                                                                                                                                                                                                            and information requests.
747   Attorney-Client        Message          9/6/2018 9:41       <madrid.jay@dorsey.com>        <revan-mcqueen@am.com>         <betts.gina@dorsey.com>                      Fwd: On behalf of Jay Madrid Confidential communication between AMc employee
      Communications                                                                                                                                                                                        and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                                                                                                & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                regarding correspondence sent to NRA counsel.
748                     Message_Attachment    9/6/2018 9:41                                                                                                                                                   Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                               file). Not privileged.
749                     Message_Attachment    9/6/2018 9:41                                                                                                                                                   Letter from AMc to NRA, dated 9/5/18. Attached to
                                                                                                                                                                                                                         privilegd email. Not privileged.
750   Attorney-Client   Message_Attachment    9/6/2018 9:41                                                                                                                                                  Confidential communication between AMc employee
      Communications                                                                                                                                                                                        and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                                                                                                & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                regarding correspondence sent to NRA counsel.
751                     Message_Attachment    9/6/2018 9:41                                                                                                                                                   Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                               file). Not privileged.
752   Attorney-Client        Message          9/6/2018 9:43       <betts.gina@dorsey.com>       <Revan-McQueen@am.com>                                                       FW: On behalf of Jay Madrid Confidential communication between AMc employee
      Communications                                                                                                                                                                                        and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                                                                                                & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                regarding correspondence sent to NRA counsel.
753                     Message_Attachment    9/6/2018 9:43                                                                                                                                                   Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                               file). Not privileged.
754                     Message_Attachment    9/6/2018 9:43                                                                                                                                                   Letter from AMc to NRA, dated 9/5/18. Attached to
                                                                                                                                                                                                                         privilegd email. Not privileged.
755   Attorney-Client   Message_Attachment    9/6/2018 9:43                                                                                                                                                  Confidential communication between AMc employee
      Communications                                                                                                                                                                                        and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                                                                                                & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                regarding correspondence sent to NRA counsel.
756                     Message_Attachment    9/6/2018 9:43                                                                                                                                                   Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                               file). Not privileged.




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                                                      Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21                                                   Page 420 of 1087 PageID 30625
                                                                                                                  AMC Second Amended Privilege Log


 #     Privilege Type       Record Type       Document Date               Email From                      Email To                      Email CC                  Email BCC          Email Subject                            Privilege Description
757    Attorney-Client        Message         9/6/2018 10:35       <betts.gina@dorsey.com>        <revan-mcqueen@am.com>                                                       Fwd: Attorney work product    Confidential communication between AMc employee
      Communications;                                                                                                                                                                     draft.                and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                                                                                                         obtaining legal advice regarding correspondence with
                                                                                                                                                                                                             NRA counsel about Oliver North's contract, and work
                                                                                                                                                                                                                    product created in anticipation of litigation.
758    Attorney-Client        Message         9/6/2018 10:43       Revan McQueen <Revan-           "betts.gina@dorsey.com"                                                      Re: Attorney work product    Confidential communication between AMc employee
      Communications;                                               McQueen@am.com>                <betts.gina@dorsey.com>                                                                draft.                and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                                                                                                         obtaining legal advice regarding correspondence with
                                                                                                                                                                                                             NRA counsel about Oliver North's contract, and work
                                                                                                                                                                                                                    product created in anticipation of litigation.
759    Attorney-Client        Message         9/6/2018 11:02       <madrid.jay@dorsey.com>        <revan-mcqueen@am.com>         <betts.gina@dorsey.com>;                      Fwd: Out-of-Pocket Expenses Confidential communication between AMc employee
      Communications;                                                                                                              <SRyan@mwe.com>                                                          and counsel at Dorsey & Whitney and McDermott Will
        Work Product                                                                                                                                                                                             & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                               regarding audit procedure and expenses, and work
                                                                                                                                                                                                                    product created in anticipation of litigation.
760    Attorney-Client        Message         9/6/2018 11:05       <madrid.jay@dorsey.com>       <revan-mcqueen@am.com>;                                                        Fwd: Carry Guard, Special    Confidential communication between AMc employee
      Communications;                                                                             <betts.gina@dorsey.com>;                                                    Assignments and Out-of-Pocket and counsel at Dorsey & Whitney and McDermott Will
        Work Product                                                                                 <SRyan@mwe.com>                                                                     Expenses                & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                            regarding NRA information requests about CarryGuard
                                                                                                                                                                                                                 and AMc expenses, and work product created in
                                                                                                                                                                                                                             anticipation of litigation.
761    Attorney-Client        Message         9/6/2018 11:17       <betts.gina@dorsey.com>        <revan-mcqueen@am.com>                                                       Fwd: Attorney work product    Confidential communication between AMc employee
      Communications;                                                                                                                                                                     draft.                and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                                                                                                         obtaining legal advice regarding draft correspondence
                                                                                                                                                                                                            to NRA about Oliver North's contract, and Confidential
                                                                                                                                                                                                            communication between AMc employee and counsel at
                                                                                                                                                                                                             Dorsey & Whitney and McDermott Will & Emery for
                                                                                                                                                                                                                   purposes of obtaining legal advice regarding.
762                      Message_Attachment   9/6/2018 11:17                                                                                                                                                  Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                               file). Not privileged.
763    Attorney-Client        Message         9/6/2018 11:25   "Ryan, Stephen" <SRyan@mwe.com>   "Revan McQueen - Ackerman       "betts.gina@dorsey.com"                               FW: Update            Confidential communication between AMc employee
      Communications;                                                                                 McQueen (Revan-           <betts.gina@dorsey.com>;                                                        and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                             McQueen@am.com)"<Revan-      "madrid.jay@dorsey.com"<madr                                                   obtaining legal advice regarding draft correspondence
                                                                                                     McQueen@am.com>               id.jay@dorsey.com>                                                       to NRA about Oliver North's contract, and Confidential
                                                                                                                                                                                                            communication between AMc employee and counsel at
                                                                                                                                                                                                             Dorsey & Whitney and McDermott Will & Emery for
                                                                                                                                                                                                                   purposes of obtaining legal advice regarding.
764   Attorney-Client         Message         9/6/2018 12:08       <betts.gina@dorsey.com>           <SRyan@mwe.com>            <Revan-McQueen@am.com>                                 FW: Update            Confidential communication between AMc employee
      Communications                                                                                                                                                                                        and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                                                                                                 & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                               regarding NRA request for Oliver North's contract.
765    Attorney-Client        Message         9/6/2018 12:30      <haydon.jean@dorsey.com>       <Revan-McQueen@am.com>;         <madrid.jay@dorsey.com>                         On behalf of Jay Madrid     Confidential communication between AMc employee
      Communications;                                                                             <betts.gina@dorsey.com>;                                                                                  and counsel at Dorsey & Whitney and McDermott Will
        Work Product                                                                                 <sryan@mwe.com>                                                                                             & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                               regarding draft correspondence to NRA regarding
                                                                                                                                                                                                                special assignments, and work product created in
                                                                                                                                                                                                                             anticipation of litigation.




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                                                      Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21                                                       Page 421 of 1087 PageID 30626
                                                                                                                     AMC Second Amended Privilege Log


 #     Privilege Type       Record Type       Document Date              Email From                         Email To                         Email CC                 Email BCC           Email Subject                             Privilege Description
766    Attorney-Client   Message_Attachment   9/6/2018 12:30                                                                                                                                                        Confidential communication between AMc employee
      Communications;                                                                                                                                                                                              and counsel at Dorsey & Whitney and McDermott Will
        Work Product                                                                                                                                                                                                   & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                     regarding draft correspondence to NRA regarding
                                                                                                                                                                                                                      special assignments, and work product created in
                                                                                                                                                                                                                                   anticipation of litigation.
767   Attorney-Client         Message         9/6/2018 13:29       Revan McQueen <Revan-             "betts.gina@dorsey.com"            "SRyan@mwe.com"                                      Re: Update             Confidential communication between AMc employee
      Communications                                                McQueen@am.com>                  <betts.gina@dorsey.com>            <SRyan@mwe.com>                                                            and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                                                                                                       & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                               regarding Oliver North's contract.
768                      Message_Attachment   9/6/2018 13:29                                                                                                                                                        Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                     file). Not privileged.
769    Attorney-Client        Message         9/6/2018 13:30       <betts.gina@dorsey.com>         <Revan-McQueen@am.com>               <SRyan@mwe.com>                                      RE: Update             Confidential communication between AMc employee
      Communications;                                                                                                                                                                                              and counsel at Dorsey & Whitney and McDermott Will
        Work Product                                                                                                                                                                                                   & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                               regarding Oliver North's contract.
770   Attorney-Client         Message         9/6/2018 14:37       Revan McQueen <Revan-             "betts.gina@dorsey.com"            "SRyan@mwe.com"                                      Re: Update             Confidential communication between AMc employee
      Communications                                                McQueen@am.com>                  <betts.gina@dorsey.com>            <SRyan@mwe.com>                                                            and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                                                                                                       & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                               regarding Oliver North's contract.
771                      Message_Attachment   9/6/2018 14:37                                                                                                                                                        Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                     file). Not privileged.
772                      Message_Attachment   9/6/2018 14:37                                                                                                                                                        Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                     file). Not privileged.
773                      Message_Attachment   9/6/2018 14:37                                                                                                                                                        Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                     file). Not privileged.
774    Attorney-Client        Message         9/6/2018 14:48   "Ryan, Stephen" <SRyan@mwe.com>     "Revan McQueen - Ackerman           "betts.gina@dorsey.com"                     draft. attorney work product     Confidential communication between AMc employee
      Communications;                                                                                   McQueen (Revan-               <betts.gina@dorsey.com>;                                                     and counsel at Dorsey & Whitney and McDermott Will
        Work Product                                                                               McQueen@am.com)"<Revan-          "madrid.jay@dorsey.com"<madr                                                       & Emery for purposes of obtaining legal advice
                                                                                                       McQueen@am.com>                   id.jay@dorsey.com>                                                         regarding Oliver North's contract, and work product
                                                                                                                                                                                                                              created in anticipation of litigation.
775   Attorney-Client         Message         9/6/2018 14:57       <betts.gina@dorsey.com>        <SRyan@mwe.com>; <Revan-                                                            ATTORNEY CLIENT               Confidential communication between AMc employee
      Communications                                                                                 McQueen@am.com>;                                                                 CORRESPONDENCE               and counsel at Dorsey & Whitney and McDermott Will
                                                                                                   <madrid.jay@dorsey.com>                                                                                             & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                               regarding Oliver North's contract.
776                      Message_Attachment   9/6/2018 14:57                                                                                                                                                        Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                     file). Not privileged.
777    Attorney-Client        Message         9/6/2018 15:19       <betts.gina@dorsey.com>        <SRyan@mwe.com>; <Revan-            <madrid.jay@dorsey.com>                     RE: draft. attorney work product Confidential communication between AMc employee
      Communications;                                                                                McQueen@am.com>                                                                                               and counsel at Dorsey & Whitney and McDermott Will
        Work Product                                                                                                                                                                                                   & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                    regarding Oliver North's contract, and work product
                                                                                                                                                                                                                              created in anticipation of litigation.
778    Attorney-Client        Message         9/6/2018 15:28   "Ryan, Stephen" <SRyan@mwe.com>        "betts.gina@dorsey.com"         "madrid.jay@dorsey.com"                     RE: draft. attorney work product Confidential communication between AMc employee
      Communications;                                                                            <betts.gina@dorsey.com>; "Revan-     <madrid.jay@dorsey.com>                                                      and counsel at Dorsey & Whitney and McDermott Will
        Work Product                                                                               McQueen@am.com"<Revan-                                                                                              & Emery for purposes of obtaining legal advice
                                                                                                        McQueen@am.com>                                                                                             regarding Oliver North's contract, and work product
                                                                                                                                                                                                                              created in anticipation of litigation.




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                                                                                                                     AMC Second Amended Privilege Log


 #     Privilege Type       Record Type       Document Date               Email From                     Email To                             Email CC                  Email BCC            Email Subject                           Privilege Description
779    Attorney-Client        Message         9/6/2018 15:29       <betts.gina@dorsey.com>        <SRyan@mwe.com>; <Revan-             <madrid.jay@dorsey.com>                      RE: draft. attorney work product Confidential communication between AMc employee
      Communications;                                                                                McQueen@am.com>                                                                                                 and counsel at Dorsey & Whitney and McDermott Will
        Work Product                                                                                                                                                                                                    & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                      regarding Oliver North's contract, and work product
                                                                                                                                                                                                                              created in anticipation of litigation.
780    Attorney-Client        Message         9/6/2018 15:36   "Ryan, Stephen" <SRyan@mwe.com>        Revan McQueen <Revan-            "madrid.jay@dorsey.com"                      RE: draft. attorney work product Confidential communication between AMc employee
      Communications;                                                                                   McQueen@am.com>;               <madrid.jay@dorsey.com>                                                       and counsel at Dorsey & Whitney and McDermott Will
        Work Product                                                                             "betts.gina@dorsey.com"<betts.gin                                                                                      & Emery for purposes of obtaining legal advice
                                                                                                           a@dorsey.com>                                                                                              regarding Oliver North's contract, and work product
                                                                                                                                                                                                                              created in anticipation of litigation.
781    Attorney-Client        Message         9/6/2018 15:40       <madrid.jay@dorsey.com>         <Revan-McQueen@am.com>              <betts.gina@dorsey.com>;                     Re: draft. attorney work product Confidential communication between AMc employee
      Communications;                                                                                                                    <SRyan@mwe.com>                                                             and counsel at Dorsey & Whitney and McDermott Will
        Work Product                                                                                                                                                                                                    & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                      regarding Oliver North's contract, and work product
                                                                                                                                                                                                                              created in anticipation of litigation.
782                      Message_Attachment   9/6/2018 15:40                                                                                                                                                          Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                      file). Not privileged.
783   Attorney-Client         Message         9/6/2018 16:44   "Ryan, Stephen" <SRyan@mwe.com>        Revan McQueen <Revan-         "madrid.jay@dorsey.com"                         RE: draft. attorney work product Confidential communication between AMc employee
      Communications                                                                                    McQueen@am.com>;            <madrid.jay@dorsey.com>                                                          and counsel at Dorsey & Whitney and McDermott Will
                                                                                                 "betts.gina@dorsey.com"<betts.gin                                                                                      & Emery for purposes of obtaining legal advice
                                                                                                           a@dorsey.com>                                                                                                       regarding Oliver North's contract.
784   Attorney-Client         Message         9/6/2018 18:10       <betts.gina@dorsey.com>              <SRyan@mwe.com>            <Revan-McQueen@am.com>;                          Re: draft. attorney work product Confidential communication between AMc employee
      Communications                                                                                                                <madrid.jay@dorsey.com>                                                          and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                                                                                                        & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                               regarding Oliver North's contract.
785                      Message_Attachment   9/6/2018 18:10                                                                                                                                                          Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                      file). Not privileged.
786   Attorney-Client         Message         9/6/2018 19:05   "Ryan, Stephen" <SRyan@mwe.com>       Revan McQueen <Revan-              "betts.gina@dorsey.com"                     Re: draft. attorney work product Confidential communication between AMc employee
      Communications                                                                                  McQueen@am.com>                  <betts.gina@dorsey.com>;                                                      and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                     "madrid.jay@dorsey.com"<madr                                                       & Emery for purposes of obtaining legal advice
                                                                                                                                          id.jay@dorsey.com>                                                                   regarding Oliver North's contract.
787                      Message_Attachment   9/6/2018 19:05                                                                                                                                                          Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                      file). Not privileged.
788   Attorney-Client         Message         9/6/2018 21:58       Revan McQueen <Revan-             "betts.gina@dorsey.com"                                                               FW: Confidential           Confidential communication between AMc employee
      Communications                                                McQueen@am.com>                  <betts.gina@dorsey.com>                                                                                         and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                                                                                                        & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                               regarding Oliver North's contract.
789   Attorney-Client         Message         9/6/2018 21:59       Revan McQueen <Revan-             "betts.gina@dorsey.com"                                                        FW: Privileged and Confidential Confidential communication between AMc employee
      Communications                                                McQueen@am.com>                  <betts.gina@dorsey.com>                                                                                         and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                                                                                                        & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                               regarding Oliver North's contract.
790   Attorney-Client         Message         9/6/2018 21:59       Revan McQueen <Revan-             "betts.gina@dorsey.com"                                                         FW: Audit Committee agenda Confidential communication between AMc employee
      Communications                                                McQueen@am.com>                  <betts.gina@dorsey.com>                                                                                         and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                                                                                                        & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                               regarding Oliver North's contract.




                                                                                                                                Page 71 of 194
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                                                                                                       AMC Second Amended Privilege Log


 #     Privilege Type       Record Type       Document Date          Email From                  Email To                     Email CC                 Email BCC            Email Subject                            Privilege Description
791    Attorney-Client        Message         9/6/2018 23:24   <madrid.jay@dorsey.com>   <Revan-McQueen@am.com>        <SRyan@mwe.com>;                            Re: draft. attorney work product Confidential communication between AMc employee
      Communications;                                                                                                 <betts.gina@dorsey.com>                                                       and counsel at Dorsey & Whitney and McDermott Will
        Work Product                                                                                                                                                                                    & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                      regarding Oliver North's contract, and Confidential
                                                                                                                                                                                                    communication between AMc employee and counsel at
                                                                                                                                                                                                     Dorsey & Whitney and McDermott Will & Emery for
                                                                                                                                                                                                          purposes of obtaining legal advice regarding
792                      Message_Attachment   9/6/2018 23:24                                                                                                                                         Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                       file). Not privileged.
793   Attorney-Client         Message         9/6/2018 23:25   <madrid.jay@dorsey.com>   <revan-mcqueen@am.com>       <betts.gina@dorsey.com>;                      Fwd: On behalf of Jay Madrid Confidential communication between AMc employee
      Communications                                                                                                    <SRyan@mwe.com>                                                             and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                                                                                        & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                         regarding correspondence from NRA counsel.
794                      Message_Attachment   9/6/2018 23:25                                                                                                                                         Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                       file). Not privileged.
795                      Message_Attachment   9/6/2018 23:25                                                                                                                wdNOSTAMP                Exhibit from W. Brewer correspondence attached to
                                                                                                                                                                                                                privileged email. Not privileged.
796                      Message_Attachment   9/6/2018 23:25                                                                                                                                         Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                       file). Not privileged.
797                      Message_Attachment   9/6/2018 23:25                                                                                                                wdNOSTAMP                Exhibit from W. Brewer correspondence attached to
                                                                                                                                                                                                                privileged email. Not privileged.
798                      Message_Attachment   9/6/2018 23:25                                                                                                                                         Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                       file). Not privileged.
799                      Message_Attachment   9/6/2018 23:25                                                                                                                                         Exhibit from W. Brewer correspondence attached to
                                                                                                                                                                                                                privileged email. Not privileged.
800                      Message_Attachment   9/6/2018 23:25                                                                                                                                         Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                       file). Not privileged.
801                      Message_Attachment   9/6/2018 23:25                                                                                                                                         Exhibit from W. Brewer correspondence attached to
                                                                                                                                                                                                                privileged email. Not privileged.
802                      Message_Attachment   9/6/2018 23:25                                                                                                                                         Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                       file). Not privileged.
803                      Message_Attachment   9/6/2018 23:25                                                                                                                                         Letter from NRA to AMc, dated 9/6/18. Attached to
                                                                                                                                                                                                                privileged email. Not privileged.
804   Attorney-Client    Message_Attachment   9/6/2018 23:25                                                                                                                                         Confidential communication between AMc employee
      Communications                                                                                                                                                                                and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                                                                                        & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                         regarding correspondence from NRA counsel.
805                      Message_Attachment   9/6/2018 23:25                                                                                                                                         Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                       file). Not privileged.
806   Attorney-Client         Message          9/7/2018 8:43   <betts.gina@dorsey.com>   <Revan-McQueen@am.com>        <SRyan@mwe.com>;                            Re: draft. attorney work product Confidential communication between AMc employee
      Communications                                                                                                  <madrid.jay@dorsey.com>                                                       and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                                                                                        & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                   regarding correspondence to NRA counsel about Oliver
                                                                                                                                                                                                              North's contract and audit procedure.
807                      Message_Attachment    9/7/2018 8:43                                                                                                                                         Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                       file). Not privileged.




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                                                                                                                                                                                                                                       APP. 01180
                                                       Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21                                                    Page 424 of 1087 PageID 30629
                                                                                                                    AMC Second Amended Privilege Log


 #    Privilege Type        Record Type       Document Date                 Email From                        Email To                     Email CC                 Email BCC           Email Subject                            Privilege Description
808   Attorney-Client         Message          9/7/2018 9:35    "Ryan, Stephen" <SRyan@mwe.com>       "madrid.jay@dorsey.com"                                                   RE: draft. attorney work product Confidential communication between AMc employee
      Communications                                                                                 <madrid.jay@dorsey.com>;                                                                                    and counsel at Dorsey & Whitney and McDermott Will
                                                                                                  "betts.gina@dorsey.com"<betts.gin                                                                                 & Emery for purposes of obtaining legal advice
                                                                                                       a@dorsey.com>; "Revan-                                                                                   regarding correspondence to NRA counsel about Oliver
                                                                                                    McQueen@am.com" <Revan-                                                                                              North's contract and audit procedure.
                                                                                                         McQueen@am.com>
809   Attorney-Client         Message         9/7/2018 11:07        <betts.gina@dorsey.com>           <madrid.jay@dorsey.com>       <Revan-McQueen@am.com>                       FW: On behalf of Jay Madrid      Confidential communication between AMc employee
      Communications                                                                                                                                                                                                and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                                  obtaining legal advice regarding draft correspondence
                                                                                                                                                                                                                          in response to letter from NRA counsel.
810                      Message_Attachment   9/7/2018 11:07                                                                                                                            wdNOSTAMP                  Exhibit from W. Brewer correspondence attached to
                                                                                                                                                                                                                               privileged email. Not privileged.
811                      Message_Attachment   9/7/2018 11:07                                                                                                                            wdNOSTAMP                  Exhibit from W. Brewer correspondence attached to
                                                                                                                                                                                                                               privileged email. Not privileged.
812                      Message_Attachment   9/7/2018 11:07                                                                                                                                                       Exhibit from W. Brewer correspondence attached to
                                                                                                                                                                                                                               privileged email. Not privileged.
813                      Message_Attachment   9/7/2018 11:07                                                                                                                                                       Exhibit from W. Brewer correspondence attached to
                                                                                                                                                                                                                               privileged email. Not privileged.
814                      Message_Attachment   9/7/2018 11:07                                                                                                                                                       Letter from NRA to AMc, dated 9/6/18. Attached to
                                                                                                                                                                                                                               privileged email. Not privileged.
815   Attorney-Client         Message         9/7/2018 14:11        <madrid.jay@dorsey.com>         <Revan-McQueen@am.com>         <betts.gina@dorsey.com>;                     RE: draft. attorney work product Confidential communication between AMc employee
      Communications                                                                                                                 <SRyan@mwe.com>                                                                and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                                  obtaining legal advice regarding draft correspondence
                                                                                                                                                                                                                           to NRA about Oliver North's contract.
816    Attorney-Client        Message         9/7/2018 18:36        <madrid.jay@dorsey.com>         <Revan-McQueen@am.com>           <SRyan@mwe.com>;                                      FW: Letter             Confidential communication between AMc employee
      Communications;                                                                                                              <betts.gina@dorsey.com>;                                                      and counsel at Dorsey & Whitney and McDermott Will
        Work Product                                                                                                               <madrid.jay@dorsey.com>                                                           & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                  regarding NRA document requests, and work product
                                                                                                                                                                                                                             created in anticipation of litigation.
817    Attorney-Client   Message_Attachment   9/7/2018 18:36                                                                                                                                                      Confidential communication between AMc employee
      Communications;                                                                                                                                                                                            and counsel at Dorsey & Whitney and McDermott Will
        Work Product                                                                                                                                                                                                 & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                  regarding NRA document requests, and work product
                                                                                                                                                                                                                             created in anticipation of litigation.
818   Attorney-Client         Message         9/7/2018 18:43        Revan McQueen <Revan-            "madrid.jay@dorsey.com"           "SRyan@mwe.com"                                      Re: Letter            Confidential communication between AMc employee
      Communications                                                 McQueen@am.com>                 <madrid.jay@dorsey.com>          <SRyan@mwe.com>;                                                           and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                 "betts.gina@dorsey.com"<betts.                                                      & Emery for purposes of obtaining legal advice
                                                                                                                                        gina@dorsey.com>                                                                     regarding NRA document requests.
819                      Message_Attachment   9/7/2018 18:43                                                                                                                                                       Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                      file). Not privileged.
820    Attorney-Client        Message         9/10/2018 12:32       <betts.gina@dorsey.com>           <bill-winkler@am.com>                                                      FW: v. 1 PR issue, attorney      Confidential communication between AMc employee
      Communications;                                                                                                                                                                     work product              and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                                                                                                                obtaining legal advice regarding a public relations
                                                                                                                                                                                                                                             concern.
821    Attorney-Client        Message         9/10/2018 12:33       <betts.gina@dorsey.com>           <bill-winkler@am.com>                                                                FW: Letter             Confidential communication between AMc employee
      Communications;                                                                                                                                                                                               and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                                                                                                               obtaining legal advice regarding correspondence to
                                                                                                                                                                                                                  NRA counsel about NRA request for documents, and
                                                                                                                                                                                                                     work product created in anticipation of litigation.




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                                                      Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21                                                         Page 425 of 1087 PageID 30630
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 #     Privilege Type       Record Type       Document Date                Email From                           Email To                       Email CC                     Email BCC                 Email Subject                           Privilege Description
822    Attorney-Client   Message_Attachment   9/10/2018 12:33                                                                                                                                                                Confidential communication between AMc employee
      Communications;                                                                                                                                                                                                          and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                                                                                                                          obtaining legal advice regarding correspondence to
                                                                                                                                                                                                                             NRA counsel about NRA request for documents, and
                                                                                                                                                                                                                                work product created in anticipation of litigation.
823   Attorney-Client         Message         9/10/2018 12:39   Bill Winkler <bill-winkler@am.com>       "betts.gina@dorsey.com"                                                                        RE: Letter           Confidential communication between AMc employee
      Communications                                                                                     <betts.gina@dorsey.com>                                                                                               and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                                               obtaining legal advice regarding audit procedures.
824   Attorney-Client         Message         9/10/2018 13:21        <betts.gina@dorsey.com>             <bill-winkler@am.com>                                                                          RE: Letter           Confidential communication between AMc employee
      Communications                                                                                                                                                                                                           and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                                               obtaining legal advice regarding audit procedures.
825    Attorney-Client        Message         9/10/2018 13:52       <madrid.jay@dorsey.com>          <bill-winkler@am.com>; <Revan-     <betts.gina@dorsey.com>;                                 FW: Audit Protocol Letter   Confidential communication between AMc employee
      Communications;                                                                                       McQueen@am.com>             <madrid.jay@dorsey.com>                                                                and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                                                                                                                         obtaining legal advice regarding audit procedures, and
                                                                                                                                                                                                                                work product created in anticipation of litigation.
826    Attorney-Client   Message_Attachment   9/10/2018 13:52                                                                                                                                                                Confidential communication between AMc employee
      Communications;                                                                                                                                                                                                          and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                                                                                                                         obtaining legal advice regarding audit procedures, and
                                                                                                                                                                                                                                work product created in anticipation of litigation.
827    Attorney-Client        Message         9/10/2018 14:21   Bill Winkler <bill-winkler@am.com>    "madrid.jay@dorsey.com"            "betts.gina@dorsey.com"                                 RE: Audit Protocol Letter   Confidential communication between AMc employee
      Communications;                                                                              <madrid.jay@dorsey.com>; Revan       <betts.gina@dorsey.com>;                                                               and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                      McQueen<Revan-                Brandon Winkler<Brandon-                                                             obtaining legal advice regarding audit procedures, and
                                                                                                         McQueen@am.com>                    Winkler@am.com>                                                                     work product created in anticipation of litigation.
828    Attorney-Client        Message         9/10/2018 14:21   Bill Winkler <bill-winkler@am.com>    "madrid.jay@dorsey.com"            "betts.gina@dorsey.com"                                 RE: Audit Protocol Letter   Confidential communication between AMc employee
      Communications;                                                                              <madrid.jay@dorsey.com>; Revan       <betts.gina@dorsey.com>;                                                               and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                      McQueen<Revan-                Brandon Winkler<Brandon-                                                             obtaining legal advice regarding audit procedures, and
                                                                                                         McQueen@am.com>                    Winkler@am.com>                                                                     work product created in anticipation of litigation.
829    Attorney-Client        Message         9/10/2018 15:02        <madrid.jay@dorsey.com>           <bill-winkler@am.com>             <betts.gina@dorsey.com>                                 RE: Audit Protocol Letter   Confidential communication between AMc employee
      Communications;                                                                                                                                                                                                          and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                                                                                                                         obtaining legal advice regarding audit procedures, and
                                                                                                                                                                                                                                work product created in anticipation of litigation.
830    Attorney-Client        Message         9/10/2018 16:15   Bill Winkler <bill-winkler@am.com>      "madrid.jay@dorsey.com"         "betts.gina@dorsey.com"      Brandon Winkler <Brandon-   RE: Audit Protocol Letter   Confidential communication between AMc employee
      Communications;                                                                                   <madrid.jay@dorsey.com>         <betts.gina@dorsey.com>          Winkler@am.com>                                       and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                                                                                                                         obtaining legal advice regarding audit procedures, and
                                                                                                                                                                                                                                work product created in anticipation of litigation.
831                      Message_Attachment   9/10/2018 16:15                                                                                                                                                                Letter from NRA to AMc, dated 8/29/18. Attached to
                                                                                                                                                                                                                                        privileged email. Not privileged.
832    Attorney-Client        Message         9/10/2018 17:07       Brandon Winkler <Brandon-                Bill Winkler <bill-        "betts.gina@dorsey.com"                                  RE: Audit Protocol Letter   Confidential communication between AMc employee
      Communications;                                                   Winkler@am.com>                     winkler@am.com>;            <betts.gina@dorsey.com>                                                                and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                 "madrid.jay@dorsey.com"<madrid.j                                                                                        obtaining legal advice regarding audit procedures, and
                                                                                                     ay@dorsey.com>; Revan McQueen                                                                                              work product created in anticipation of litigation.
                                                                                                       <Revan-McQueen@am.com>

833    Attorney-Client        Message         9/10/2018 17:07       Brandon Winkler <Brandon-                Bill Winkler <bill-        "betts.gina@dorsey.com"                                  RE: Audit Protocol Letter   Confidential communication between AMc employee
      Communications;                                                   Winkler@am.com>                     winkler@am.com>;            <betts.gina@dorsey.com>                                                                and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                 "madrid.jay@dorsey.com"<madrid.j                                                                                        obtaining legal advice regarding audit procedures, and
                                                                                                     ay@dorsey.com>; Revan McQueen                                                                                              work product created in anticipation of litigation.
                                                                                                       <Revan-McQueen@am.com>




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 #     Privilege Type       Record Type       Document Date               Email From                            Email To                       Email CC              Email BCC       Email Subject                    Privilege Description
834    Attorney-Client        Message         9/10/2018 17:54        Revan McQueen <Revan-              "madrid.jay@dorsey.com"           "SRyan@mwe.com"                             Re: Letter      Confidential communication between AMc employee
      Communications;                                                 McQueen@am.com>                   <madrid.jay@dorsey.com>          <SRyan@mwe.com>;                                            and counsel at Dorsey & Whitney and McDermott Will
        Work Product                                                                                                                "betts.gina@dorsey.com"<betts.                                       & Emery for purposes of obtaining legal advice
                                                                                                                                           gina@dorsey.com>                                           regarding draft correspondence to NRA counsel, and
                                                                                                                                                                                                        work product created in anticipation of litigation.
835                      Message_Attachment   9/10/2018 17:54                                                                                                                                         Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                       file). Not privileged.
836    Attorney-Client        Message         9/10/2018 17:56       <madrid.jay@dorsey.com>          <bill-winkler@am.com>; <Revan- <Brandon-Winkler@am.com>;                         FW: Letter      Confidential communication between AMc employee
      Communications;                                                                                       McQueen@am.com>           <betts.gina@dorsey.com>;                                          and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                                    <SRyan@mwe.com>;                                             obtaining legal advice regarding audit procedures, and
                                                                                                                                      <madrid.jay@dorsey.com>                                           work product created in anticipation of litigation.
837    Attorney-Client   Message_Attachment   9/10/2018 17:56                                                                                                                                         Confidential communication between AMc employee
      Communications;                                                                                                                                                                                   and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                                                                                                 obtaining legal advice regarding audit procedures, and
                                                                                                                                                                                                        work product created in anticipation of litigation.
838   Attorney-Client         Message         9/10/2018 18:00        <betts.gina@dorsey.com>          <Revan-McQueen@am.com>;           <SRyan@mwe.com>                                RE: Letter     Confidential communication between AMc employee
      Communications                                                                                   <madrid.jay@dorsey.com>                                                                       and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                                                                                         & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                         regarding draft correspondence to NRA counsel.
839    Attorney-Client        Message         9/10/2018 18:06   Bill Winkler <bill-winkler@am.com>    "madrid.jay@dorsey.com"      Brandon Winkler <Brandon-                           RE: Letter     Confidential communication between AMc employee
      Communications;                                                                              <madrid.jay@dorsey.com>; Revan       Winkler@am.com>;                                                and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                      McQueen<Revan-          "betts.gina@dorsey.com"<betts.                                     obtaining legal advice regarding audit procedures, and
                                                                                                         McQueen@am.com>                gina@dorsey.com>;                                               work product created in anticipation of litigation.
                                                                                                                                        "SRyan@mwe.com"
                                                                                                                                        <SRyan@mwe.com>
840    Attorney-Client        Message         9/10/2018 18:06   Bill Winkler <bill-winkler@am.com>    "madrid.jay@dorsey.com"      Brandon Winkler <Brandon-                           RE: Letter    Confidential communication between AMc employee
      Communications;                                                                              <madrid.jay@dorsey.com>; Revan       Winkler@am.com>;                                               and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                      McQueen<Revan-          "betts.gina@dorsey.com"<betts.                                     obtaining legal advice regarding audit procedures, and
                                                                                                         McQueen@am.com>                gina@dorsey.com>;                                               work product created in anticipation of litigation.
                                                                                                                                        "SRyan@mwe.com"
                                                                                                                                        <SRyan@mwe.com>
841    Attorney-Client        Message         9/10/2018 18:42   "Ryan, Stephen" <SRyan@mwe.com>           Bill Winkler <bill-        "madrid.jay@dorsey.com"                           Re: Letter    Confidential communication between AMc employee
      Communications;                                                                                     winkler@am.com>           <madrid.jay@dorsey.com>;                                           and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                                  Revan McQueen<Revan-                                           obtaining legal advice regarding audit procedures, and
                                                                                                                                  McQueen@am.com>; Brandon                                              work product created in anticipation of litigation.
                                                                                                                                         Winkler <Brandon-
                                                                                                                                        Winkler@am.com>;
                                                                                                                                      "betts.gina@dorsey.com"
                                                                                                                                     <betts.gina@dorsey.com>
842                      Message_Attachment   9/10/2018 18:42                                                                                                                                         Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                      file). Not privileged.
843                      Message_Attachment   9/10/2018 18:42                                                                                                                                         Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                      file). Not privileged.
844   Attorney-Client         Message         9/11/2018 7:49         Revan McQueen <Revan-              "betts.gina@dorsey.com"        "madrid.jay@dorsey.com"                         Re: Letter     Confidential communication between AMc employee
      Communications                                                  McQueen@am.com>                   <betts.gina@dorsey.com>       <madrid.jay@dorsey.com>;                                       and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                    "SRyan@mwe.com"<SRyan@m                                             & Emery for purposes of obtaining legal advice
                                                                                                                                               we.com>                                                  regarding draft correspondence to NRA counsel.
845                      Message_Attachment   9/11/2018 7:49                                                                                                                                          Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                      file). Not privileged.
846                      Message_Attachment   9/11/2018 7:49                                                                                                                                          Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                      file). Not privileged.



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                                                                                                                         AMC Second Amended Privilege Log


 #     Privilege Type       Record Type       Document Date                Email From                           Email To                       Email CC                  Email BCC          Email Subject                            Privilege Description
847                      Message_Attachment   9/11/2018 7:49                                                                                                                                                         Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                      file). Not privileged.
848    Attorney-Client        Message         9/11/2018 10:30       <madrid.jay@dorsey.com>            <Revan-McQueen@am.com>             <SRyan@mwe.com>;                                FW: Letter to Brewer       Confidential communication between AMc employee
      Communications;                                                                                                                    <betts.gina@dorsey.com>                                                    and counsel at Dorsey & Whitney and McDermott Will
        Work Product                                                                                                                                                                                                    & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                     regarding draft correspondence to NRA counsel, and
                                                                                                                                                                                                                       work product created in anticipation of litigation.
849    Attorney-Client   Message_Attachment   9/11/2018 10:30                                                                                                                                                        Confidential communication between AMc employee
      Communications;                                                                                                                                                                                               and counsel at Dorsey & Whitney and McDermott Will
        Work Product                                                                                                                                                                                                    & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                     regarding draft correspondence to NRA counsel, and
                                                                                                                                                                                                                       work product created in anticipation of litigation.
850    Attorney-Client   Message_Attachment   9/11/2018 10:30                                                                                                                                                        Confidential communication between AMc employee
      Communications;                                                                                                                                                                                               and counsel at Dorsey & Whitney and McDermott Will
        Work Product                                                                                                                                                                                                    & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                     regarding draft correspondence to NRA counsel, and
                                                                                                                                                                                                                       work product created in anticipation of litigation.
851    Attorney-Client        Message         9/11/2018 16:22   "Ryan, Stephen" <SRyan@mwe.com>          "madrid.jay@dorsey.com"                                                      draft letter to Brewer - SMR   Confidential communication between AMc employee
      Communications;                                                                                   <madrid.jay@dorsey.com>;                                                     Redline. attorney work product and counsel at Dorsey & Whitney and McDermott Will
        Work Product                                                                                 "betts.gina@dorsey.com"<betts.gin                                                                                  & Emery for purposes of obtaining legal advice
                                                                                                     a@dorsey.com>; "Revan McQueen                                                                                   regarding draft correspondence to NRA counsel, and
                                                                                                       - Ackerman McQueen (Revan-                                                                                      work product created in anticipation of litigation.
                                                                                                       McQueen@am.com)" <Revan-
                                                                                                            McQueen@am.com>
852    Attorney-Client   Message_Attachment   9/11/2018 16:22                                                                                                                                                        Confidential communication between AMc employee
      Communications;                                                                                                                                                                                               and counsel at Dorsey & Whitney and McDermott Will
        Work Product                                                                                                                                                                                                    & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                     regarding draft correspondence to NRA counsel, and
                                                                                                                                                                                                                       work product created in anticipation of litigation.
853    Attorney-Client        Message         9/11/2018 17:16   Bill Winkler <bill-winkler@am.com>      "madrid.jay@dorsey.com"       Revan McQueen <Revan-                                  letter attached         Confidential communication between AMc employee
      Communications;                                                                                <madrid.jay@dorsey.com>; "Gina McQueen@am.com>; Brandon                                                           and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                           Betts - Dorsey            Winkler<Brandon-                                                           obtaining legal advice regarding audit procedures, and
                                                                                                        (betts.gina@dorsey.com)"        Winkler@am.com>                                                                work product created in anticipation of litigation.
                                                                                                        <betts.gina@dorsey.com>
854    Attorney-Client   Message_Attachment   9/11/2018 17:16                                                                                                                                                        Confidential communication between AMc employee
      Communications;                                                                                                                                                                                                  and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                                                                                                                 obtaining legal advice regarding audit procedures, and
                                                                                                                                                                                                                        work product created in anticipation of litigation.
855    Attorney-Client        Message         9/11/2018 17:16   Bill Winkler <bill-winkler@am.com>      "madrid.jay@dorsey.com"       Revan McQueen <Revan-                                  letter attached         Confidential communication between AMc employee
      Communications;                                                                                <madrid.jay@dorsey.com>; "Gina McQueen@am.com>; Brandon                                                           and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                           Betts - Dorsey            Winkler<Brandon-                                                            obtaining legal advice regarding audit procedures, and
                                                                                                        (betts.gina@dorsey.com)"        Winkler@am.com>                                                                 work product created in anticipation of litigation.
                                                                                                        <betts.gina@dorsey.com>
856    Attorney-Client   Message_Attachment   9/11/2018 17:16                                                                                                                                                        Confidential communication between AMc employee
      Communications;                                                                                                                                                                                                  and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                                                                                                                 obtaining legal advice regarding audit procedures, and
                                                                                                                                                                                                                        work product created in anticipation of litigation.




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 #    Privilege Type        Record Type       Document Date               Email From                                Email To                   Email CC                  Email BCC          Email Subject                            Privilege Description
857   Attorney-Client         Message         9/11/2018 17:49        Revan McQueen <Revan-                      "Ryan, Stephen"                                                       Re: draft letter to Brewer -    Confidential communication between AMc employee
      Communications                                                  McQueen@am.com>                       <SRyan@mwe.com>;                                                         SMR Redline. attorney work      and counsel at Dorsey & Whitney and McDermott Will
                                                                                                     "madrid.jay@dorsey.com"<madrid.j                                                           product                 & Emery for purposes of obtaining legal advice
                                                                                                              ay@dorsey.com>;                                                                                           regarding draft correspondence to NRA counsel.
                                                                                                           "betts.gina@dorsey.com"
                                                                                                          <betts.gina@dorsey.com>
858    Attorney-Client        Message         9/11/2018 19:05       <madrid.jay@dorsey.com>           <bill-winkler@am.com>; <Revan-       <SRyan@mwe.com>                               FW: Letter to Phillips       Confidential communication between AMc employee
      Communications;                                                                                        McQueen@am.com>                                                                                           and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                                                                                                                 obtaining legal advice regarding audit procedures, and
                                                                                                                                                                                                                        work product created in anticipation of litigation.
859    Attorney-Client   Message_Attachment   9/11/2018 19:05                                                                                                                                                         Confidential communication between AMc employee
      Communications;                                                                                                                                                                                                  and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                                                                                                                 obtaining legal advice regarding audit procedures, and
                                                                                                                                                                                                                        work product created in anticipation of litigation.
860   Attorney-Client         Message         9/11/2018 19:07       <madrid.jay@dorsey.com>            <Revan-McQueen@am.com>;          <betts.gina@dorsey.com>;                     FW: On behalf of Jay Madrid      Confidential communication between AMc employee
      Communications                                                                                       <SRyan@mwe.com>              <madrid.jay@dorsey.com>                                                      and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                                                                                                        & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                        regarding draft correspondence to NRA counsel.
861                      Message_Attachment   9/11/2018 19:07                                                                                                                                                         Letter from AMc to NRA, dated 9/11/18. Attached to
                                                                                                                                                                                                                                 privilegd email. Not privileged.
862   Attorney-Client         Message         9/12/2018 16:31   Bill Winkler <bill-winkler@am.com>      "madrid.jay@dorsey.com"         Brandon Winkler <Brandon-                       FW: Please don't forget       Confidential communication between AMc employee
      Communications                                                                                 <madrid.jay@dorsey.com>; "Gina         Winkler@am.com>                                                            and counsel at Dorsey & Whitney for purposes of
                                                                                                               Betts - Dorsey                                                                                          obtaining legal advice regarding audit procedures.
                                                                                                        (betts.gina@dorsey.com)"
                                                                                                        <betts.gina@dorsey.com>
863   Attorney-Client    Message_Attachment   9/12/2018 16:31                                                                                                                                                        Confidential communication between AMc employee
      Communications                                                                                                                                                                                                  and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                                      obtaining legal advice regarding audit procedures.
864   Attorney-Client         Message         9/12/2018 16:31   Bill Winkler <bill-winkler@am.com>      "madrid.jay@dorsey.com"         Brandon Winkler <Brandon-                       FW: Please don't forget      Confidential communication between AMc employee
      Communications                                                                                 <madrid.jay@dorsey.com>; "Gina         Winkler@am.com>                                                           and counsel at Dorsey & Whitney for purposes of
                                                                                                               Betts - Dorsey                                                                                         obtaining legal advice regarding audit procedures.
                                                                                                        (betts.gina@dorsey.com)"
                                                                                                        <betts.gina@dorsey.com>
865   Attorney-Client    Message_Attachment   9/12/2018 16:31                                                                                                                                                         Confidential communication between AMc employee
      Communications                                                                                                                                                                                                   and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                                       obtaining legal advice regarding audit procedures.
866   Attorney-Client         Message         9/13/2018 9:37        <madrid.jay@dorsey.com>            <Revan-McQueen@am.com>             <SRyan@mwe.com>;                           FW: On behalf of Jay Madrid      Confidential communication between AMc employee
      Communications                                                                                                                     <betts.gina@dorsey.com>                                                     and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                                                                                                        & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                          regarding response letter from NRA counsel.
867                      Message_Attachment   9/13/2018 9:37                                                                                                                                                          Exhibit from W. Brewer correspondence attached to
                                                                                                                                                                                                                                 privileged email. Not privileged.
868                      Message_Attachment   9/13/2018 9:37                                                                                                                                                          Exhibit from W. Brewer correspondence attached to
                                                                                                                                                                                                                                 privileged email. Not privileged.
869                      Message_Attachment   9/13/2018 9:37                                                                                                                                                          Letter from NRA to AMc, dated 9/12/18. Attached to
                                                                                                                                                                                                                                 privilegd email. Not privileged.
870   Attorney-Client         Message         9/13/2018 9:39    "Ryan, Stephen" <SRyan@mwe.com>         "madrid.jay@dorsey.com"          "betts.gina@dorsey.com"                     RE: On behalf of Jay Madrid.     Confidential communication between AMc employee
      Communications                                                                                   <madrid.jay@dorsey.com>;          <betts.gina@dorsey.com>                       Attorney work product.        and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                 "Revan-                                                                                                & Emery for purposes of obtaining legal advice
                                                                                                       McQueen@am.com"<Revan-                                                                                         regarding response correspondence to NRA counsel.
                                                                                                          McQueen@am.com>



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                                                      Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21                                                         Page 429 of 1087 PageID 30634
                                                                                                                     AMC Second Amended Privilege Log


 #    Privilege Type       Record Type       Document Date            Email From                           Email To                             Email CC                Email BCC          Email Subject                           Privilege Description
871   Attorney-Client        Message         9/13/2018 9:42      Revan McQueen <Revan-                  "Ryan, Stephen"                 "madrid.jay@dorsey.com"                     Re: On behalf of Jay Madrid.    Confidential communication between AMc employee
      Communications                                              McQueen@am.com>                     <SRyan@mwe.com>                  <madrid.jay@dorsey.com>;                        Attorney work product.      and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                     "betts.gina@dorsey.com"<betts.                                                   & Emery for purposes of obtaining legal advice
                                                                                                                                            gina@dorsey.com>                                                        regarding response correspondence to NRA counsel.
872                     Message_Attachment   9/13/2018 9:42                                                                                                                                                         Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                    file). Not privileged.
873                     Message_Attachment   9/13/2018 9:42                                                                                                                                                         Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                    file). Not privileged.
874   Attorney-Client        Message         9/13/2018 11:17   "Lacey (Duffy) Cremer" <lacey-       "betts.gina@dorsey.com"               Bill Winkler <bill-                            prep for next week         Confidential communication between AMc employee
      Communications                                                 cremer@am.com>                <betts.gina@dorsey.com>;               winkler@am.com>                                                            and counsel at Dorsey & Whitney for purposes of
                                                                                                "madrid.jay@dorsey.com"<madrid.j                                                                                     obtaining legal advice regarding audit procedures.
                                                                                                         ay@dorsey.com>
875   Attorney-Client        Message         9/13/2018 11:17   "Lacey (Duffy) Cremer" <lacey-       "betts.gina@dorsey.com"               Bill Winkler <bill-                            prep for next week        Confidential communication between AMc employee
      Communications                                                 cremer@am.com>                <betts.gina@dorsey.com>;               winkler@am.com>                                                           and counsel at Dorsey & Whitney for purposes of
                                                                                                "madrid.jay@dorsey.com"<madrid.j                                                                                    obtaining legal advice regarding audit procedures.
                                                                                                         ay@dorsey.com>
876   Attorney-Client        Message         9/13/2018 11:18     <betts.gina@dorsey.com>           <lacey-cremer@am.com>;               <bill-winkler@am.com>                          RE: prep for next week      Confidential communication between AMc employee
      Communications                                                                               <madrid.jay@dorsey.com>                                                                                          and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                                    obtaining legal advice regarding audit procedures.
877   Attorney-Client        Message         9/13/2018 11:20   "Lacey (Duffy) Cremer" <lacey-       "betts.gina@dorsey.com"               Bill Winkler <bill-                          Re: prep for next week      Confidential communication between AMc employee
      Communications                                                 cremer@am.com>                <betts.gina@dorsey.com>;               winkler@am.com>                                                           and counsel at Dorsey & Whitney for purposes of
                                                                                                "madrid.jay@dorsey.com"<madrid.j                                                                                    obtaining legal advice regarding audit procedures.
                                                                                                         ay@dorsey.com>
878   Attorney-Client        Message         9/13/2018 11:20   "Lacey (Duffy) Cremer" <lacey-       "betts.gina@dorsey.com"               Bill Winkler <bill-                          Re: prep for next week      Confidential communication between AMc employee
      Communications                                                 cremer@am.com>                <betts.gina@dorsey.com>;               winkler@am.com>                                                           and counsel at Dorsey & Whitney for purposes of
                                                                                                "madrid.jay@dorsey.com"<madrid.j                                                                                    obtaining legal advice regarding audit procedures.
                                                                                                         ay@dorsey.com>
879   Attorney-Client        Message         9/13/2018 11:22     <betts.gina@dorsey.com>           <lacey-cremer@am.com>;               <bill-winkler@am.com>                          RE: prep for next week      Confidential communication between AMc employee
      Communications                                                                               <madrid.jay@dorsey.com>                                                                                          and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                                    obtaining legal advice regarding audit procedures.
880   Attorney-Client        Message         9/13/2018 11:42     <madrid.jay@dorsey.com>        <betts.gina@dorsey.com>; <lacey-        <bill-winkler@am.com>                          RE: prep for next week      Confidential communication between AMc employee
      Communications                                                                                    cremer@am.com>                                                                                              and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                                    obtaining legal advice regarding audit procedures.
881   Attorney-Client        Message         9/13/2018 11:56     <madrid.jay@dorsey.com>        <betts.gina@dorsey.com>; <lacey-        <bill-winkler@am.com>                          RE: prep for next week      Confidential communication between AMc employee
      Communications                                                                                    cremer@am.com>                                                                                              and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                                    obtaining legal advice regarding audit procedures.
882   Attorney-Client        Message         9/13/2018 12:02   "Lacey (Duffy) Cremer" <lacey-         "betts.gina@dorsey.com"             Bill Winkler <bill-                          Re: prep for next week      Confidential communication between AMc employee
      Communications                                                 cremer@am.com>                  <betts.gina@dorsey.com>;             winkler@am.com>                                                           and counsel at Dorsey & Whitney for purposes of
                                                                                                "madrid.jay@dorsey.com"<madrid.j                                                                                    obtaining legal advice regarding audit procedures.
                                                                                                          ay@dorsey.com>
883   Attorney-Client        Message         9/13/2018 12:03   "Lacey (Duffy) Cremer" <lacey-        "madrid.jay@dorsey.com"              Bill Winkler <bill-                          Re: prep for next week      Confidential communication between AMc employee
      Communications                                                 cremer@am.com>                 <madrid.jay@dorsey.com>;              winkler@am.com>                                                           and counsel at Dorsey & Whitney for purposes of
                                                                                                 "betts.gina@dorsey.com"<betts.gin                                                                                  obtaining legal advice regarding audit procedures.
                                                                                                           a@dorsey.com>
884   Attorney-Client        Message         9/13/2018 12:11     <madrid.jay@dorsey.com>             <lacey-cremer@am.com>;             <bill-winkler@am.com>                          RE: prep for next week      Confidential communication between AMc employee
      Communications                                                                                  <betts.gina@dorsey.com>                                                                                        and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                                     obtaining legal advice regarding audit procedures.
885   Attorney-Client        Message         9/13/2018 12:23     <madrid.jay@dorsey.com>          <Revan-McQueen@am.com>;                <SRyan@mwe.com>;                                  FW: Lockton             Confidential communication between AMc employee
      Communications                                                                                <bill-winkler@am.com>;             <betts.gina@dorsey.com>;                                                      and counsel at Dorsey & Whitney for purposes of
                                                                                                  <Brandon-Winkler@am.com>             <madrid.jay@dorsey.com>                                                     obtaining legal advice regarding Lockton/CarryGuard
                                                                                                                                                                                                                                           matter.



                                                                                                                                Page 78 of 194
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                                                                                                                        AMC Second Amended Privilege Log


 #     Privilege Type       Record Type       Document Date                Email From                          Email To                        Email CC               Email BCC           Email Subject                             Privilege Description
886                      Message_Attachment   9/13/2018 12:23                                                                                                                                                        Joint Stipulation and Protective Order in Lockton
                                                                                                                                                                                                                     Matter. Attached to privileged email and publicly
                                                                                                                                                                                                                                          available.
887   Attorney-Client         Message         9/13/2018 14:32   Bill Winkler <bill-winkler@am.com>      "madrid.jay@dorsey.com"                                                    FW: NRA - 9/13/18 - Lawyer      Confidential communication between AMc employee
      Communications                                                                                 <madrid.jay@dorsey.com>; "Gina                                               representing NRA is kicked out     and counsel at Dorsey & Whitney for purposes of
                                                                                                               Betts - Dorsey                                                         of Virginia federal case     obtaining legal advice regarding Lockton/CarryGuard
                                                                                                        (betts.gina@dorsey.com)"                                                                                               matter and NRA audit request.
                                                                                                        <betts.gina@dorsey.com>
888   Attorney-Client         Message         9/13/2018 15:00        <betts.gina@dorsey.com>             <bill-winkler@am.com>                                                     RE: NRA - 9/13/18 - Lawyer    Confidential communication between AMc employee
      Communications                                                                                                                                                              representing NRA is kicked out   and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                      of Virginia federal case   obtaining legal advice regarding Lockton/CarryGuard
                                                                                                                                                                                                                             matter and NRA audit request.
889   Attorney-Client         Message         9/13/2018 15:02   Bill Winkler <bill-winkler@am.com>      "betts.gina@dorsey.com"                                                    RE: NRA - 9/13/18 - Lawyer    Confidential communication between AMc employee
      Communications                                                                                    <betts.gina@dorsey.com>                                                   representing NRA is kicked out   and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                      of Virginia federal case   obtaining legal advice regarding Lockton/CarryGuard
                                                                                                                                                                                                                             matter and NRA audit request.
890   Attorney-Client         Message         9/13/2018 15:02        <betts.gina@dorsey.com>             <bill-winkler@am.com>                                                     RE: NRA - 9/13/18 - Lawyer    Confidential communication between AMc employee
      Communications                                                                                                                                                              representing NRA is kicked out   and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                      of Virginia federal case   obtaining legal advice regarding Lockton/CarryGuard
                                                                                                                                                                                                                             matter and NRA audit request.
891   Attorney-Client         Message         9/13/2018 15:06   Bill Winkler <bill-winkler@am.com>      "betts.gina@dorsey.com"                                                    RE: NRA - 9/13/18 - Lawyer    Confidential communication between AMc employee
      Communications                                                                                    <betts.gina@dorsey.com>                                                   representing NRA is kicked out   and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                      of Virginia federal case   obtaining legal advice regarding Lockton/CarryGuard
                                                                                                                                                                                                                             matter and NRA audit request.
892   Attorney-Client         Message         9/13/2018 17:05        <betts.gina@dorsey.com>           <Revan-McQueen@am.com>                                                          FW: Brewer team and       Confidential communication between AMc employee
      Communications                                                                                                                                                                   document inspections        and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                                 obtaining legal advice regarding correspondence from
                                                                                                                                                                                                                   NRA about legal representation and pending audit.
893   Attorney-Client         Message         9/13/2018 18:07     "Lacey (Duffy) Cremer" <lacey-        "madrid.jay@dorsey.com"         "betts.gina@dorsey.com"                        Re: prep for next week    Confidential communication between AMc employee
      Communications                                                    cremer@am.com>                  <madrid.jay@dorsey.com>       <betts.gina@dorsey.com>; Bill                                                and counsel at Dorsey & Whitney for purposes of
                                                                                                                                      Winkler<bill-winkler@am.com>                                                obtaining legal advice regarding NRA audit request.

894                      Message_Attachment   9/13/2018 18:07                                                                                                                                                       Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                    file). Not privileged.
895                      Message_Attachment   9/13/2018 18:07                                                                                                                                                       Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                    file). Not privileged.
896                      Message_Attachment   9/13/2018 18:07                                                                                                                                                       Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                    file). Not privileged.
897                      Message_Attachment   9/13/2018 18:07                                                                                                                                                       Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                    file). Not privileged.
898                      Message_Attachment   9/13/2018 18:07                                                                                                                                                       Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                    file). Not privileged.
899                      Message_Attachment   9/13/2018 18:07                                                                                                                                                       Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                    file). Not privileged.
900    Attorney-Client        Message         9/14/2018 13:26       <madrid.jay@dorsey.com>           <Revan-McQueen@am.com>;           <SRyan@mwe.com>; <bill-                             FW: Letter              Confidential communication between AMc employee
      Communications;                                                                                   <betts.gina@dorsey.com>            winkler@am.com>                                                         and counsel at Dorsey & Whitney and McDermott Will
        Work Product                                                                                                                                                                                                   & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                   regarding correspondence to NRA counsel about audit
                                                                                                                                                                                                                   procedures, and work product created in anticipation of
                                                                                                                                                                                                                                           litigation.




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                                                                                                                         AMC Second Amended Privilege Log


 #     Privilege Type       Record Type       Document Date                Email From                           Email To                        Email CC                Email BCC          Email Subject                            Privilege Description
901    Attorney-Client   Message_Attachment   9/14/2018 13:26                                                                                                                                                       Confidential communication between AMc employee
      Communications;                                                                                                                                                                                             and counsel at Dorsey & Whitney and McDermott Will
        Work Product                                                                                                                                                                                                   & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                   regarding correspondence to NRA counsel about audit
                                                                                                                                                                                                                  procedures, and work product created in anticipation of
                                                                                                                                                                                                                                            litigation.
902    Attorney-Client        Message         9/14/2018 13:39        Revan McQueen <Revan-               "madrid.jay@dorsey.com"            "SRyan@mwe.com"                                  Re: Letter             Confidential communication between AMc employee
      Communications;                                                 McQueen@am.com>                   <madrid.jay@dorsey.com>;          <SRyan@mwe.com>; Bill                                                   and counsel at Dorsey & Whitney and McDermott Will
        Work Product                                                                                 "betts.gina@dorsey.com"<betts.gin         Winkler <bill-                                                          & Emery for purposes of obtaining legal advice
                                                                                                               a@dorsey.com>                 winkler@am.com>                                                       regarding correspondence to NRA counsel about audit
                                                                                                                                                                                                                  procedures, and work product created in anticipation of
                                                                                                                                                                                                                                            litigation.
903    Attorney-Client        Message         9/14/2018 14:18   Bill Winkler <bill-winkler@am.com>       Revan McQueen <Revan-            "SRyan@mwe.com"                                    RE: Letter             Confidential communication between AMc employee
      Communications;                                                                                      McQueen@am.com>;           <SRyan@mwe.com>; Brandon                                                    and counsel at Dorsey & Whitney and McDermott Will
        Work Product                                                                                 "madrid.jay@dorsey.com"<madrid.j      Winkler <Brandon-                                                           & Emery for purposes of obtaining legal advice
                                                                                                             ay@dorsey.com>;               Winkler@am.com>                                                         regarding correspondence to NRA counsel about audit
                                                                                                         "betts.gina@dorsey.com"                                                                                  procedures, and work product created in anticipation of
                                                                                                         <betts.gina@dorsey.com>                                                                                                            litigation.
904   Attorney-Client         Message         9/14/2018 15:54        <betts.gina@dorsey.com>            <revan-mcqueen@am.com>                                                         Fwd: Brewer team and         Confidential communication between AMc employee
      Communications                                                                                                                                                                    document inspections          and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                                    obtaining legal advice regarding participants in audit
                                                                                                                                                                                                                                          procedures.
905                      Message_Attachment   9/14/2018 15:54                                                                                                                                                       Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                     file). Not privileged.
906   Attorney-Client         Message         9/14/2018 16:40        <betts.gina@dorsey.com>            <revan-mcqueen@am.com>                                                         Fwd: Brewer team and         Confidential communication between AMc employee
      Communications                                                                                                                                                                    document inspections          and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                                    obtaining legal advice regarding participants in audit
                                                                                                                                                                                                                                          procedures.
907    Attorney-Client        Message         9/17/2018 14:56   Bill Winkler <bill-winkler@am.com>         "Gina Betts - Dorsey          Brandon Winkler <Brandon-                       FW: <no subject>           Confidential communication between AMc employee
      Communications;                                                                                   (betts.gina@dorsey.com)"             Winkler@am.com>                                                          and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                    <betts.gina@dorsey.com>                                                                                      obtaining legal advice regarding, and work product
                                                                                                                                                                                                                              created in anticipation of litigation.
908    Attorney-Client   Message_Attachment   9/17/2018 14:56                                                                                                                                                       Confidential communication between AMc employee
      Communications;                                                                                                                                                                                                 and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                                                                                                                 obtaining legal advice regarding, and work product
                                                                                                                                                                                                                              created in anticipation of litigation.
909    Attorney-Client        Message         9/17/2018 14:56   Bill Winkler <bill-winkler@am.com>         "Gina Betts - Dorsey          Brandon Winkler <Brandon-                       FW: <no subject>           Confidential communication between AMc employee
      Communications;                                                                                   (betts.gina@dorsey.com)"             Winkler@am.com>                                                          and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                    <betts.gina@dorsey.com>                                                                                      obtaining legal advice regarding, and work product
                                                                                                                                                                                                                              created in anticipation of litigation.
910    Attorney-Client   Message_Attachment   9/17/2018 14:56                                                                                                                                                       Confidential communication between AMc employee
      Communications;                                                                                                                                                                                                 and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                                                                                                                 obtaining legal advice regarding, and work product
                                                                                                                                                                                                                              created in anticipation of litigation.
911    Work Product           Message         9/17/2018 15:18     "Lacey (Duffy) Cremer" <lacey-        Revan McQueen <Revan-                 Bill Winkler <bill-                    Report from this morning -        Confidential internal communications to gather
                                                                        cremer@am.com>                 McQueen@am.com>; Angus            winkler@am.com>; Brandon                            ACC/AWP              information to send to counsel at Dorsey & Whitney for
                                                                                                           McQueen <angus-                    Winkler<Brandon-                                                       purposes of obtaining legal advice regarding NRA
                                                                                                          mcqueen@am.com>                    Winkler@am.com>                                                         audits, and work product created in anticipation of
                                                                                                                                                                                                                                            litigation.




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                                                                                                                                                                                                                                                      APP. 01188
                                                       Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21                                                     Page 432 of 1087 PageID 30637
                                                                                                                     AMC Second Amended Privilege Log


 #     Privilege Type       Record Type       Document Date             Email From                          Email To                         Email CC                Email BCC          Email Subject                            Privilege Description
912     Work Product     Message_Attachment   9/17/2018 15:18                                                                                                                                                       Confidential internal communications to gather
                                                                                                                                                                                                                information to send to counsel at Dorsey & Whitney for
                                                                                                                                                                                                                   purposes of obtaining legal advice regarding NRA
                                                                                                                                                                                                                   audits, and work product created in anticipation of
                                                                                                                                                                                                                                        litigation.
913    Work Product           Message         9/17/2018 20:17   "Lacey (Duffy) Cremer" <lacey-      Revan McQueen <Revan-                 Bill Winkler <bill-                    Re: Report from this morning -     Confidential internal communications to gather
                                                                      cremer@am.com>               McQueen@am.com>; Angus            winkler@am.com>; Brandon                             ACC/AWP               information to send to counsel at Dorsey & Whitney for
                                                                                                       McQueen <angus-                    Winkler<Brandon-                                                         purposes of obtaining legal advice regarding NRA
                                                                                                      mcqueen@am.com>                Winkler@am.com>; Melanie                                                      audits, and work product created in anticipation of
                                                                                                                                       Montgomery <Melanie-                                                                             litigation.
                                                                                                                                       Montgomery@am.com>
914    Work Product      Message_Attachment   9/17/2018 20:17                                                                                                                                                       Confidential internal communications to gather
                                                                                                                                                                                                                information to send to counsel at Dorsey & Whitney for
                                                                                                                                                                                                                   purposes of obtaining legal advice regarding NRA
                                                                                                                                                                                                                   audits, and work product created in anticipation of
                                                                                                                                                                                                                                        litigation.
915    Work Product           Message         9/17/2018 21:46   Melanie Montgomery <Melanie-      "Lacey (Duffy) Cremer" <lacey-                                                 Re: Report from this morning -     Confidential internal communications to gather
                                                                   Montgomery@am.com>                   cremer@am.com>                                                                    ACC/AWP               information to send to counsel at Dorsey & Whitney for
                                                                                                                                                                                                                   purposes of obtaining legal advice regarding NRA
                                                                                                                                                                                                                   audits, and work product created in anticipation of
                                                                                                                                                                                                                                        litigation.
916    Attorney-Client        Message         9/17/2018 23:00   "Lacey (Duffy) Cremer" <lacey-       "betts.gina@dorsey.com"                                                           FW: new invoice           Confidential communication between AMc employee
      Communications;                                                 cremer@am.com>                 <betts.gina@dorsey.com>                                                                                       and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                                                                                                             obtaining legal advice regarding Brewer Firm audit of
                                                                                                                                                                                                                   AMc, and work product created in anticipation of
                                                                                                                                                                                                                                        litigation.
917    Attorney-Client        Message         9/18/2018 8:53      Revan McQueen <Revan-                    "Ryan, Stephen"               Bill Winkler <bill-                            Attorney Client          Confidential communication between AMc employee
      Communications;                                              McQueen@am.com>                      <SRyan@mwe.com>;                 winkler@am.com>                           Coverage/Attorney Work       and counsel at Dorsey & Whitney and McDermott Will
        Work Product                                                                             "betts.gina@dorsey.com"<betts.gin                                                           Product                & Emery for purposes of obtaining legal advice
                                                                                                          a@dorsey.com>;                                                                                        regarding NRA audit and document requests, and work
                                                                                                     "madrid.jay@dorsey.com"                                                                                          product created in anticipation of litigation.
                                                                                                     <madrid.jay@dorsey.com>
918    Attorney-Client   Message_Attachment   9/18/2018 8:53                                                                                                                                                     Confidential communication between AMc employee
      Communications;                                                                                                                                                                                           and counsel at Dorsey & Whitney and McDermott Will
        Work Product                                                                                                                                                                                                & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                regarding NRA audit and document requests, and work
                                                                                                                                                                                                                      product created in anticipation of litigation.
919    Attorney-Client   Message_Attachment   9/18/2018 8:53                                                                                                                                                     Confidential communication between AMc employee
      Communications;                                                                                                                                                                                           and counsel at Dorsey & Whitney and McDermott Will
        Work Product                                                                                                                                                                                                & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                regarding NRA audit and document requests, and work
                                                                                                                                                                                                                      product created in anticipation of litigation.
920    Attorney-Client   Message_Attachment   9/18/2018 8:53                                                                                                                                                     Confidential communication between AMc employee
      Communications;                                                                                                                                                                                           and counsel at Dorsey & Whitney and McDermott Will
        Work Product                                                                                                                                                                                                & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                regarding NRA audit and document requests, and work
                                                                                                                                                                                                                      product created in anticipation of litigation.




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                                                       Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21                                                        Page 433 of 1087 PageID 30638
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 #     Privilege Type       Record Type       Document Date                 Email From                         Email To                        Email CC                 Email BCC         Email Subject                           Privilege Description
921    Attorney-Client        Message         9/18/2018 8:58         <betts.gina@dorsey.com>           <Revan-McQueen@am.com>            <SRyan@mwe.com>;                               Re: Attorney Client       Confidential communication between AMc employee
      Communications;                                                                                                                  <madrid.jay@dorsey.com>;                       Coverage/Attorney Work     and counsel at Dorsey & Whitney and McDermott Will
        Work Product                                                                                                                    <bill-winkler@am.com>                                 Product                & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                 regarding NRA audit and document requests, and work
                                                                                                                                                                                                                       product created in anticipation of litigation.
922                      Message_Attachment   9/18/2018 8:58                                                                                                                                                       Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                   file). Not privileged.
923    Attorney-Client        Message         9/18/2018 9:22    Bill Winkler <bill-winkler@am.com>      Revan McQueen <Revan-          Brandon Winkler <Brandon-                        RE: Attorney Client       Confidential communication between AMc employee
      Communications;                                                                                McQueen@am.com>; "Ryan,               Winkler@am.com>                            Coverage/Attorney Work        and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                Stephen" <SRyan@mwe.com>;                                                                 Product            obtaining legal advice regarding audit by Brewer Firm,
                                                                                                        "betts.gina@dorsey.com"                                                                                   and work product created in anticipation of litigation.
                                                                                                       <betts.gina@dorsey.com>;
                                                                                                   "madrid.jay@dorsey.com"<madrid.j
                                                                                                             ay@dorsey.com>
924    Attorney-Client        Message         9/18/2018 9:25    Bill Winkler <bill-winkler@am.com>      Revan McQueen <Revan-          Brandon Winkler <Brandon-                        RE: Attorney Client       Confidential communication between AMc employee
      Communications;                                                                                McQueen@am.com>; "Ryan,               Winkler@am.com>                            Coverage/Attorney Work     and counsel at Dorsey & Whitney and McDermott Will
        Work Product                                                                                Stephen" <SRyan@mwe.com>;                                                                 Product                & Emery for purposes of obtaining legal advice
                                                                                                        "betts.gina@dorsey.com"                                                                                  regarding NRA audit and document requests, and work
                                                                                                       <betts.gina@dorsey.com>;                                                                                        product created in anticipation of litigation.
                                                                                                   "madrid.jay@dorsey.com"<madrid.j
                                                                                                             ay@dorsey.com>
925    Attorney-Client        Message         9/18/2018 9:38         <madrid.jay@dorsey.com>       <betts.gina@dorsey.com>; <Revan-    <SRyan@mwe.com>; <bill-                          RE: Attorney Client       Confidential communication between AMc employee
      Communications;                                                                                     McQueen@am.com>                 winkler@am.com>                             Coverage/Attorney Work     and counsel at Dorsey & Whitney and McDermott Will
        Work Product                                                                                                                                                                          Product                & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                 regarding NRA audit and document requests, and work
                                                                                                                                                                                                                       product created in anticipation of litigation.
926    Attorney-Client        Message         9/18/2018 10:43        Revan McQueen <Revan-                   "Ryan, Stephen"                 Bill Winkler <bill-                        Re: Attorney Client       Confidential communication between AMc employee
      Communications;                                                 McQueen@am.com>                      <SRyan@mwe.com>                  winkler@am.com>;                          Coverage/Attorney Work     and counsel at Dorsey & Whitney and McDermott Will
        Work Product                                                                                                                  "betts.gina@dorsey.com"<betts.                          Product                & Emery for purposes of obtaining legal advice
                                                                                                                                            gina@dorsey.com>;                                                    regarding NRA audit and document requests, and work
                                                                                                                                         "madrid.jay@dorsey.com"                                                       product created in anticipation of litigation.
                                                                                                                                        <madrid.jay@dorsey.com>;
                                                                                                                                       Brandon Winkler <Brandon-
                                                                                                                                             Winkler@am.com>
927                      Message_Attachment   9/18/2018 10:43                                                                                                                                                  Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                file). Not privileged.
928   Attorney-Client         Message         9/18/2018 11:31     "Lacey (Duffy) Cremer" <lacey-          Revan McQueen <Revan-     Melanie Montgomery <Melanie-                    FW: new invoice - ACC/AWP Confidential communication between AMc employee
      Communications                                                    cremer@am.com>                 McQueen@am.com>; Angus          Montgomery@am.com>;                                                    and counsel at Dorsey & Whitney and McDermott Will
                                                                                                              McQueen<angus-        "betts.gina@dorsey.com"<betts.                                                & Emery for purposes of obtaining legal advice
                                                                                                     mcqueen@am.com>; Bill Winkler         gina@dorsey.com>                                                     regarding correspondence from NRA counsel about
                                                                                                     <bill-winkler@am.com>; Brandon                                                                                               audit procedures.
                                                                                                             Winkler<Brandon-
                                                                                                             Winkler@am.com>
929    Attorney-Client        Message         9/18/2018 13:04       <madrid.jay@dorsey.com>           <Revan-McQueen@am.com>;             <SRyan@mwe.com>                               FW: Letter to Frazer      Confidential communication between AMc employee
      Communications;                                                                                     <betts.gina@dorsey.com>                                                                                and counsel at Dorsey & Whitney and McDermott Will
        Work Product                                                                                                                                                                                                & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                   regarding draft correspondence to NRA, and work
                                                                                                                                                                                                                       product created in anticipation of litigation.




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 #     Privilege Type       Record Type       Document Date             Email From                        Email To                         Email CC         Email BCC         Email Subject                        Privilege Description
930    Attorney-Client   Message_Attachment   9/18/2018 13:04                                                                                                                                      Confidential communication between AMc employee
      Communications;                                                                                                                                                                             and counsel at Dorsey & Whitney and McDermott Will
        Work Product                                                                                                                                                                                   & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                     regarding draft correspondence to NRA, and work
                                                                                                                                                                                                         product created in anticipation of litigation.
931    Work Product           Message         9/18/2018 16:11   "Lacey (Duffy) Cremer" <lacey-    Brandon Winkler <Brandon-                                               for review - ACC/AWP         Confidential internal communications to gather
                                                                      cremer@am.com>                Winkler@am.com>; Bill                                                                         information to send to counsel at Dorsey & Whitney for
                                                                                                 Winkler<bill-winkler@am.com>                                                                        purposes of obtaining legal advice regarding NRA
                                                                                                                                                                                                     audits, and work product created in anticipation of
                                                                                                                                                                                                                            litigation.
932    Work Product      Message_Attachment   9/18/2018 16:11                                                                                                                                          Confidential internal communications to gather
                                                                                                                                                                                                  information to send to counsel at Dorsey & Whitney for
                                                                                                                                                                                                     purposes of obtaining legal advice regarding NRA
                                                                                                                                                                                                     audits, and work product created in anticipation of
                                                                                                                                                                                                                            litigation.
933    Work Product      Message_Attachment   9/18/2018 16:11                                                                                                                                          Confidential internal communications to gather
                                                                                                                                                                                                  information to send to counsel at Dorsey & Whitney for
                                                                                                                                                                                                     purposes of obtaining legal advice regarding NRA
                                                                                                                                                                                                     audits, and work product created in anticipation of
                                                                                                                                                                                                                            litigation.
934    Work Product      Message_Attachment   9/18/2018 16:11                                                                                                                                          Confidential internal communications to gather
                                                                                                                                                                                                  information to send to counsel at Dorsey & Whitney for
                                                                                                                                                                                                     purposes of obtaining legal advice regarding NRA
                                                                                                                                                                                                     audits, and work product created in anticipation of
                                                                                                                                                                                                                            litigation.
935    Work Product      Message_Attachment   9/18/2018 16:11                                                                                                                                          Confidential internal communications to gather
                                                                                                                                                                                                  information to send to counsel at Dorsey & Whitney for
                                                                                                                                                                                                     purposes of obtaining legal advice regarding NRA
                                                                                                                                                                                                     audits, and work product created in anticipation of
                                                                                                                                                                                                                            litigation.
936    Attorney-Client        Message         9/18/2018 18:00   "Lacey (Duffy) Cremer" <lacey-     "betts.gina@dorsey.com"                                              Fwd: for review - ACC/AWP Confidential communication between AMc employee
      Communications;                                                 cremer@am.com>               <betts.gina@dorsey.com>                                                                            and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                                                                                               obtaining legal advice regarding Brewer Firm audit of
                                                                                                                                                                                                     AMc, and work product created in anticipation of
                                                                                                                                                                                                                            litigation.
937                      Message_Attachment   9/18/2018 18:00                                                                                                                                       Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                     file). Not privileged.
938                      Message_Attachment   9/18/2018 18:00                                                                                                                                       Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                     file). Not privileged.
939                      Message_Attachment   9/18/2018 18:00                                                                                                                                       Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                     file). Not privileged.
940    Work Product      Message_Attachment   9/18/2018 18:00                                                                                                                                           Work product compilation of AMc invoices.
941                      Message_Attachment   9/18/2018 18:00                                                                                                                                       Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                     file). Not privileged.
942    Work Product      Message_Attachment   9/18/2018 18:00                                                                                                                                           Work product compilation of AMc invoices.
943                      Message_Attachment   9/18/2018 18:00                                                                                                                                       Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                     file). Not privileged.
944    Work Product      Message_Attachment   9/18/2018 18:00                                                                                                                                           Work product compilation of AMc invoices.




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                                                                                                                  AMC Second Amended Privilege Log


 #     Privilege Type       Record Type       Document Date              Email From                       Email To                      Email CC                Email BCC           Email Subject                           Privilege Description
945    Attorney-Client        Message         9/18/2018 18:17     <betts.gina@dorsey.com>          <lacey-cremer@am.com>                                                      Re: for review - ACC/AWP      Confidential communication between AMc employee
      Communications;                                                                                                                                                                                         and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                                                                                                        obtaining legal advice regarding Brewer Firm audit of
                                                                                                                                                                                                              AMc, and work product created in anticipation of
                                                                                                                                                                                                                                    litigation.
946                      Message_Attachment   9/18/2018 18:17                                                                                                                                                Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                             file). Not privileged.
947    Attorney-Client        Message         9/18/2018 18:22   "Lacey (Duffy) Cremer" <lacey-     "betts.gina@dorsey.com"                                                   Re: for review - ACC/AWP       Confidential communication between AMc employee
      Communications;                                                 cremer@am.com>               <betts.gina@dorsey.com>                                                                                    and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                                                                                                        obtaining legal advice regarding Brewer Firm audit of
                                                                                                                                                                                                              AMc, and work product created in anticipation of
                                                                                                                                                                                                                                    litigation.
948    Attorney-Client        Message         9/18/2018 18:24     <betts.gina@dorsey.com>          <lacey-cremer@am.com>                                                     Re: for review - ACC/AWP       Confidential communication between AMc employee
      Communications;                                                                                                                                                                                         and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                                                                                                        obtaining legal advice regarding Brewer Firm audit of
                                                                                                                                                                                                              AMc, and work product created in anticipation of
                                                                                                                                                                                                                                    litigation.
949                      Message_Attachment   9/18/2018 18:24                                                                                                                                                Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                             file). Not privileged.
950    Attorney-Client        Message         9/18/2018 18:29   "Lacey (Duffy) Cremer" <lacey-     "betts.gina@dorsey.com"                                                   Re: for review - ACC/AWP       Confidential communication between AMc employee
      Communications;                                                 cremer@am.com>               <betts.gina@dorsey.com>                                                                                    and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                                                                                                        obtaining legal advice regarding Brewer Firm audit of
                                                                                                                                                                                                              AMc, and work product created in anticipation of
                                                                                                                                                                                                                                    litigation.
951   Attorney-Client         Message         9/18/2018 18:33   "Lacey (Duffy) Cremer" <lacey-     "betts.gina@dorsey.com"        Ariana Azimi <ariana-                     Only document that was taken - Confidential communication between AMc employee
      Communications                                                  cremer@am.com>               <betts.gina@dorsey.com>       azimi@am.com>; Revan                                  acc/awp             and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                    McQueen <Revan-                                                            & Emery for purposes of obtaining legal advice
                                                                                                                                 McQueen@am.com>; Bill                                                               regarding documents in NRA audit.
                                                                                                                                      Winkler <bill-
                                                                                                                                    winkler@am.com>
952                      Message_Attachment   9/18/2018 18:33                                                                                                                                                 Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                              file). Not privileged.
953    Attorney-Client   Message_Attachment   9/18/2018 18:33                                                                                                                                               Excel spreadsheet regarding CarryGuard marketing and
      Communications                                                                                                                                                                                                                  strategy.
957    Attorney-Client        Message         9/18/2018 18:35     <betts.gina@dorsey.com>          <lacey-cremer@am.com>                                                      Re: for review - ACC/AWP       Confidential communication between AMc employee
      Communications;                                                                                                                                                                                          and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                                                                                                         obtaining legal advice regarding Brewer Firm audit of
                                                                                                                                                                                                               AMc, and work product created in anticipation of
                                                                                                                                                                                                                                     litigation.
958                      Message_Attachment   9/18/2018 18:35                                                                                                                                                 Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                              file). Not privileged.
959   Attorney-Client         Message         9/19/2018 7:49      <betts.gina@dorsey.com>         <revan-mcqueen@am.com>;                                                    Fwd: Copies of AMc records      Confidential communication between AMc employee
      Communications                                                                             <Brandon-Winkler@am.com>;                                                                                  and counsel at Dorsey & Whitney and McDermott Will
                                                                                                   <bill-winkler@am.com>;                                                                                       & Emery for purposes of obtaining legal advice
                                                                                                     <SRyan@mwe.com>;                                                                                         regarding correspondence from NRA counsel about
                                                                                                   <madrid.jay@dorsey.com>                                                                                                      audit procedures.
960    Attorney-Client        Message         9/19/2018 9:59    "Lacey (Duffy) Cremer" <lacey-             Gina Betts                                                         Re: for review - ACC/AWP       Confidential communication between AMc employee
      Communications;                                                 cremer@am.com>               <betts.gina@dorsey.com>                                                                                     and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                                                                                                         obtaining legal advice regarding Brewer Firm audit of
                                                                                                                                                                                                               AMc, and work product created in anticipation of
                                                                                                                                                                                                                                     litigation.



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 #     Privilege Type       Record Type       Document Date                Email From                        Email To                      Email CC               Email BCC         Email Subject                           Privilege Description
961                      Message_Attachment   9/19/2018 9:59                                                                                                                                                   AMc invoiced attached to privileged email. Not
                                                                                                                                                                                                                     privileged and previously produced.
962   Attorney-Client         Message         9/19/2018 10:41   Bill Winkler <bill-winkler@am.com>    "betts.gina@dorsey.com"           Revan McQueen <Revan-                  RE: Copies of AMc records    Confidential communication between AMc employee
      Communications                                                                                  <betts.gina@dorsey.com>        McQueen@am.com>; Brandon                                              and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                           Winkler<Brandon-                                                    & Emery for purposes of obtaining legal advice
                                                                                                                                          Winkler@am.com>;                                                   regarding correspondence from NRA counsel about
                                                                                                                                          "SRyan@mwe.com"                                                                     audit procedures.
                                                                                                                                         <SRyan@mwe.com>;
                                                                                                                                       "madrid.jay@dorsey.com"
                                                                                                                                       <madrid.jay@dorsey.com>
963   Attorney-Client         Message         9/19/2018 10:41   Bill Winkler <bill-winkler@am.com>      "betts.gina@dorsey.com"         Revan McQueen <Revan-                  RE: Copies of AMc records    Confidential communication between AMc employee
      Communications                                                                                    <betts.gina@dorsey.com>      McQueen@am.com>; Brandon                                              and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                           Winkler<Brandon-                                                    & Emery for purposes of obtaining legal advice
                                                                                                                                          Winkler@am.com>;                                                   regarding correspondence from NRA counsel about
                                                                                                                                          "SRyan@mwe.com"                                                                     audit procedures.
                                                                                                                                         <SRyan@mwe.com>;
                                                                                                                                       "madrid.jay@dorsey.com"
                                                                                                                                       <madrid.jay@dorsey.com>
964   Attorney-Client         Message         9/19/2018 10:44   "Ryan, Stephen" <SRyan@mwe.com>             Bill Winkler <bill-         Revan McQueen <Revan-                  RE: Copies of AMc records    Confidential communication between AMc employee
      Communications                                                                                       winkler@am.com>;          McQueen@am.com>; Brandon                                              and counsel at Dorsey & Whitney and McDermott Will
                                                                                                   "betts.gina@dorsey.com"<betts.gin       Winkler<Brandon-                                                    & Emery for purposes of obtaining legal advice
                                                                                                             a@dorsey.com>                Winkler@am.com>;                                                   regarding correspondence from NRA counsel about
                                                                                                                                       "madrid.jay@dorsey.com"                                                                audit procedures.
                                                                                                                                       <madrid.jay@dorsey.com>
965   Attorney-Client         Message         9/19/2018 10:47         <betts.gina@dorsey.com>            <bill-winkler@am.com>       <Revan-McQueen@am.com>;                   RE: Copies of AMc records    Confidential communication between AMc employee
      Communications                                                                                                                 <Brandon-Winkler@am.com>;                                             and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                         <SRyan@mwe.com>;                                                      & Emery for purposes of obtaining legal advice
                                                                                                                                       <madrid.jay@dorsey.com>                                               regarding correspondence from NRA counsel about
                                                                                                                                                                                                                               audit procedures.
966    Attorney-Client        Message         9/19/2018 10:57        <betts.gina@dorsey.com>          <lacey-cremer@am.com>                                                    RE: for review - ACC/AWP     Confidential communication between AMc employee
      Communications;                                                                                                                                                                                         and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                                                                                                                        obtaining legal advice regarding Brewer Firm audit of
                                                                                                                                                                                                              AMc, and work product created in anticipation of
                                                                                                                                                                                                                                   litigation.
967   Attorney-Client         Message         9/19/2018 11:51       <madrid.jay@dorsey.com>           <bill-winkler@am.com>;      <Revan-McQueen@am.com>;                      RE: Copies of AMc records    Confidential communication between AMc employee
      Communications                                                                                  <betts.gina@dorsey.com>     <Brandon-Winkler@am.com>;                                                and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                      <SRyan@mwe.com>                                                          & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                             regarding correspondence from NRA counsel about
                                                                                                                                                                                                                               audit procedures.
968   Attorney-Client         Message         9/19/2018 12:39   Bill Winkler <bill-winkler@am.com>    "betts.gina@dorsey.com"       Revan McQueen <Revan-                      RE: Copies of AMc records    Confidential communication between AMc employee
      Communications                                                                                  <betts.gina@dorsey.com>     McQueen@am.com>; Brandon                                                 and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                       Winkler<Brandon-                                                        & Emery for purposes of obtaining legal advice
                                                                                                                                      Winkler@am.com>;                                                       regarding correspondence from NRA counsel about
                                                                                                                                   "madrid.jay@dorsey.com"                                                                     audit procedures.
                                                                                                                                   <madrid.jay@dorsey.com>
969   Attorney-Client         Message         9/19/2018 12:39   Bill Winkler <bill-winkler@am.com>    "betts.gina@dorsey.com"       Revan McQueen <Revan-                      RE: Copies of AMc records    Confidential communication between AMc employee
      Communications                                                                                  <betts.gina@dorsey.com>     McQueen@am.com>; Brandon                                                 and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                       Winkler<Brandon-                                                        & Emery for purposes of obtaining legal advice
                                                                                                                                      Winkler@am.com>;                                                       regarding correspondence from NRA counsel about
                                                                                                                                   "madrid.jay@dorsey.com"                                                                    audit procedures.
                                                                                                                                   <madrid.jay@dorsey.com>



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 #      Privilege Type           Record Type       Document Date                 Email From                        Email To                      Email CC                  Email BCC         Email Subject                              Privilege Description
970     Attorney-Client            Message         9/19/2018 13:28        <betts.gina@dorsey.com>           <bill-winkler@am.com>                                                       RE: Copies of AMc records       Confidential communication between AMc employee
        Communications                                                                                                                                                                                                 and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                                                                                                           & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                         regarding correspondence from NRA counsel about
                                                                                                                                                                                                                                           audit procedures.
971     Attorney-Client            Message         9/19/2018 13:33   Bill Winkler <bill-winkler@am.com>     "betts.gina@dorsey.com"                                                     RE: Copies of AMc records       Confidential communication between AMc employee
        Communications                                                                                      <betts.gina@dorsey.com>                                                                                    and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                                                                                                           & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                         regarding correspondence from NRA counsel about
                                                                                                                                                                                                                                           audit procedures.
972     Attorney-Client            Message         9/19/2018 14:17   Bill Winkler <bill-winkler@am.com>     Revan McQueen <Revan-            "Gina Betts - Dorsey                       FW: Copies of AMc records       Confidential communication between AMc employee
        Communications                                                                                    McQueen@am.com>; Brandon        (betts.gina@dorsey.com)"                                                     and counsel at Dorsey & Whitney and McDermott Will
                                                                                                               Winkler<Brandon-           <betts.gina@dorsey.com>;                                                         & Emery for purposes of obtaining legal advice
                                                                                                              Winkler@am.com>               Ariana Azimi <ariana-                                                        regarding correspondence from NRA counsel about
                                                                                                                                               azimi@am.com>                                                                               audit procedures.
973     Attorney-Client            Message         9/19/2018 14:17   Bill Winkler <bill-winkler@am.com>     Revan McQueen <Revan-            "Gina Betts - Dorsey                       FW: Copies of AMc records       Confidential communication between AMc employee
        Communications                                                                                    McQueen@am.com>; Brandon        (betts.gina@dorsey.com)"                                                     and counsel at Dorsey & Whitney and McDermott Will
                                                                                                               Winkler<Brandon-           <betts.gina@dorsey.com>;                                                         & Emery for purposes of obtaining legal advice
                                                                                                              Winkler@am.com>               Ariana Azimi <ariana-                                                        regarding correspondence from NRA counsel about
                                                                                                                                               azimi@am.com>                                                                               audit procedures.
974     Attorney-Client            Message         9/19/2018 14:21        <betts.gina@dorsey.com>           <bill-winkler@am.com>                                                       RE: Copies of AMc records       Confidential communication between AMc employee
        Communications                                                                                                                                                                                                    and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                                        obtaining legal advice regarding correspondence from
                                                                                                                                                                                                                                NRA counsel about audit procedures.
975    Forwarding Attorney-        Message         9/19/2018 17:00         Ashley Hackler <ashley-             Bill Winkler <bill-                                                      FW: Letter from Gina (Jay         AMc employee internally forwarding confidential
      Client Communications                                                  hackler@am.com>                   winkler@am.com>                                                          drafted) to Frazer yesterday   communication between AMc employee and counsel at
                                                                                                                                                                                                                          Dorsey & Whitney for purposes of obtaining legal
                                                                                                                                                                                                                            advice regarding NRA request for documents.
976    Forwarding Attorney- Message_Attachment     9/19/2018 17:00                                                                                                                                                        AMc employee internally forwarding confidential
      Client Communications                                                                                                                                                                                            communication between AMc employee and counsel at
                                                                                                                                                                                                                          Dorsey & Whitney for purposes of obtaining legal
                                                                                                                                                                                                                            advice regarding NRA request for documents.
977     Attorney-Client            Message         9/19/2018 18:04        <betts.gina@dorsey.com>         <Revan-McQueen@am.com>;                                                      FW: NRA / Ackerman: Video        Confidential communication between AMc employee
        Communications                                                                                      <bill-winkler@am.com>;                                                         Copying, Legal Fees            and counsel at Dorsey & Whitney for purposes of
                                                                                                          <Brandon-Winkler@am.com>;                                                                                       obtaining legal advice regarding NRA request for
                                                                                                            <madrid.jay@dorsey.com>                                                                                                           documents.
978     Attorney-Client       Message_Attachment   9/19/2018 18:04                                                                                                                                                      Confidential communication between AMc employee
        Communications                                                                                                                                                                                                    and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                                          obtaining legal advice regarding NRA request for
                                                                                                                                                                                                                                              documents.
979     Attorney-Client       Message_Attachment   9/19/2018 18:04                                                                                                                                                      Confidential communication between AMc employee
        Communications                                                                                                                                                                                                    and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                                          obtaining legal advice regarding NRA request for
                                                                                                                                                                                                                                              documents.
980     Attorney-Client       Message_Attachment   9/19/2018 18:04                                                                                                                          ackmc agreement             Confidential communication between AMc employee
        Communications                                                                                                                                                                                                    and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                                          obtaining legal advice regarding NRA request for
                                                                                                                                                                                                                                              documents.




                                                                                                                                      Page 86 of 194
                                                                                                                                                                                                                                                         APP. 01194
                                                       Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21                                                  Page 438 of 1087 PageID 30643
                                                                                                                         AMC Second Amended Privilege Log


 #     Privilege Type       Record Type       Document Date                 Email From                          Email To                      Email CC            Email BCC        Email Subject                           Privilege Description
981    Attorney-Client        Message         9/19/2018 18:38        <betts.gina@dorsey.com>          <Revan-McQueen@am.com>;                                                 DRAFT/ATTORNEY CLIENT        Confidential communication between AMc employee
      Communications;                                                                                <madrid.jay@dorsey.com>; <bill-                                          CORRESPONDENCE--please         and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                  winkler@am.com>; <Brandon-                                                       edit.                  obtaining legal advice regarding NRA document
                                                                                                           Winkler@am.com>                                                                                 requests and communications from NRA counsel, and
                                                                                                                                                                                                              work product created in anticipation of litigation.
982    Attorney-Client        Message         9/19/2018 18:45   Bill Winkler <bill-winkler@am.com>       "betts.gina@dorsey.com"                                               RE: DRAFT/ATTORNEY          Confidential communication between AMc employee
      Communications;                                                                                <betts.gina@dorsey.com>; Revan                                                   CLIENT                 and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                         McQueen<Revan-                                                   CORRESPONDENCE--please          obtaining legal advice regarding NRA document
                                                                                                           McQueen@am.com>;                                                             edit.              requests and communications from NRA counsel, and
                                                                                                        "madrid.jay@dorsey.com"                                                                               work product created in anticipation of litigation.
                                                                                                       <madrid.jay@dorsey.com>;
                                                                                                       Brandon Winkler <Brandon-
                                                                                                            Winkler@am.com>
983                      Message_Attachment   9/19/2018 18:45                                                                                                                                              Letter from AMc to NRA, dated 8/15/18. Attached to
                                                                                                                                                                                                                       privilegd email. Not privileged.
984    Attorney-Client        Message         9/19/2018 20:43        Revan McQueen <Revan-                "betts.gina@dorsey.com"                                              Re: DRAFT/ATTORNEY          Confidential communication between AMc employee
      Communications;                                                 McQueen@am.com>                    <betts.gina@dorsey.com>;                                                     CLIENT                 and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                 "madrid.jay@dorsey.com"<madrid.j                                         CORRESPONDENCE--please          obtaining legal advice regarding NRA document
                                                                                                       ay@dorsey.com>; Bill Winkler                                                     edit.              requests and communications from NRA counsel, and
                                                                                                     <bill-winkler@am.com>; Brandon                                                                           work product created in anticipation of litigation.
                                                                                                             Winkler<Brandon-
                                                                                                             Winkler@am.com>
985    Attorney-Client        Message         9/19/2018 21:09        Revan McQueen <Revan-                "betts.gina@dorsey.com"                                              Re: DRAFT/ATTORNEY          Confidential communication between AMc employee
      Communications;                                                 McQueen@am.com>                    <betts.gina@dorsey.com>;                                                     CLIENT                 and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                 "madrid.jay@dorsey.com"<madrid.j                                         CORRESPONDENCE--please          obtaining legal advice regarding NRA document
                                                                                                       ay@dorsey.com>; Bill Winkler                                                     edit.              requests and communications from NRA counsel, and
                                                                                                     <bill-winkler@am.com>; Brandon                                                                           work product created in anticipation of litigation.
                                                                                                             Winkler<Brandon-
                                                                                                             Winkler@am.com>
986    Attorney-Client        Message         9/19/2018 21:17        Revan McQueen <Revan-                "betts.gina@dorsey.com"                                              Re: DRAFT/ATTORNEY          Confidential communication between AMc employee
      Communications;                                                 McQueen@am.com>                    <betts.gina@dorsey.com>;                                                     CLIENT                 and counsel at Dorsey & Whitney for purposes of
        Work Product                                                                                 "madrid.jay@dorsey.com"<madrid.j                                         CORRESPONDENCE--please          obtaining legal advice regarding NRA document
                                                                                                       ay@dorsey.com>; Bill Winkler                                                     edit.              requests and communications from NRA counsel, and
                                                                                                     <bill-winkler@am.com>; Brandon                                                                           work product created in anticipation of litigation.
                                                                                                             Winkler<Brandon-
                                                                                                             Winkler@am.com>
987   Attorney-Client         Message         9/19/2018 21:32        <betts.gina@dorsey.com>            <Revan-McQueen@am.com>                                                 Re: DRAFT/ATTORNEY     Confidential communication between AMc employee
      Communications                                                                                                                                                                  CLIENT         and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                                                              CORRESPONDENCE--please    & Emery for purposes of obtaining legal advice
                                                                                                                                                                                        edit.            regarding draft correspondence to NRA about
                                                                                                                                                                                                            document requests and audit procedures.
988                      Message_Attachment   9/19/2018 21:32                                                                                                                                         Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                      file). Not privileged.
989                      Message_Attachment   9/19/2018 21:32                                                                                                                                         Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                      file). Not privileged.
990                      Message_Attachment   9/19/2018 21:32                                                                                                                                         Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                      file). Not privileged.




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                                                                                                                                                                                                                                              APP. 01195
                                                       Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21                                               Page 439 of 1087 PageID 30644
                                                                                                               AMC Second Amended Privilege Log


 #     Privilege Type        Record Type       Document Date          Email From                        Email To                       Email CC                Email BCC         Email Subject                           Privilege Description
991    Attorney-Client         Message         9/20/2018 10:16   Revan McQueen <Revan-            "SRyan@mwe.com"                                                          Fwd: NR Production invoices    Confidential communication between AMc employee
       Communications                                             McQueen@am.com>                <SRyan@mwe.com>;                                                                                        and counsel at Dorsey & Whitney and McDermott Will
                                                                                           "madrid.jay@dorsey.com"<madrid.j                                                                                 & Emery for purposes of obtaining legal advice
                                                                                                   ay@dorsey.com>;                                                                                                  regarding AMc invoice practices.
                                                                                               "betts.gina@dorsey.com"
                                                                                               <betts.gina@dorsey.com>
992                       Message_Attachment   9/20/2018 10:16                                                                                                                                            Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                          file). Not privileged.
993     Attorney-Client        Message         9/20/2018 10:46   <madrid.jay@dorsey.com>     <Revan-McQueen@am.com>;                                                        RE: NR Production invoices    Confidential communication between AMc employee
       Communications;                                                                          <SRyan@mwe.com>;                                                                                         and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                          <betts.gina@dorsey.com>                                                                                       & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                           regarding AMc invoice practices, and work product
                                                                                                                                                                                                                   created in anticipation of litigation.
994     Attorney-Client        Message         9/20/2018 10:52   <betts.gina@dorsey.com>      <madrid.jay@dorsey.com>         <Revan-McQueen@am.com>;                       Re: NR Production invoices    Confidential communication between AMc employee
       Communications;                                                                                                            <SRyan@mwe.com>                                                        and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                                                        & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                           regarding AMc invoice practices, and work product
                                                                                                                                                                                                                   created in anticipation of litigation.
995                       Message_Attachment   9/20/2018 10:52                                                                                                                                            Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                          file). Not privileged.
996                       Message_Attachment   9/20/2018 10:52                                                                                                                                            Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                          file). Not privileged.
997     Attorney-Client        Message         9/20/2018 10:56   <madrid.jay@dorsey.com>       <betts.gina@dorsey.com>        <Revan-McQueen@am.com>;                       Re: NR Production invoices    Confidential communication between AMc employee
       Communications;                                                                                                            <SRyan@mwe.com>                                                        and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                                                        & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                           regarding AMc invoice practices, and work product
                                                                                                                                                                                                                   created in anticipation of litigation.
998     Attorney-Client        Message         9/20/2018 10:56   Revan McQueen <Revan-         "betts.gina@dorsey.com"           "madrid.jay@dorsey.com"                    Re: NR Production invoices    Confidential communication between AMc employee
       Communications;                                            McQueen@am.com>              <betts.gina@dorsey.com>          <madrid.jay@dorsey.com>;                                                 and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                         "SRyan@mwe.com"<SRyan@m                                                        & Emery for purposes of obtaining legal advice
                                                                                                                                         we.com>                                                           regarding AMc invoice practices, and work product
                                                                                                                                                                                                                   created in anticipation of litigation.
999                       Message_Attachment   9/20/2018 10:56                                                                                                                                            Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                          file). Not privileged.
1000    Attorney-Client        Message         9/20/2018 10:59   Revan McQueen <Revan-        "madrid.jay@dorsey.com"               "SRyan@mwe.com"                         Re: NR Production invoices    Confidential communication between AMc employee
       Communications;                                            McQueen@am.com>             <madrid.jay@dorsey.com>              <SRyan@mwe.com>;                                                      and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                         "betts.gina@dorsey.com"<betts.                                                 & Emery for purposes of obtaining legal advice
                                                                                                                                     gina@dorsey.com>                                                      regarding AMc invoice practices, and work product
                                                                                                                                                                                                                   created in anticipation of litigation.
1001                      Message_Attachment   9/20/2018 10:59                                                                                                                                            Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                          file). Not privileged.
1002                      Message_Attachment   9/20/2018 10:59                                                                                                                                            Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                          file). Not privileged.
1003                      Message_Attachment   9/20/2018 10:59                                                                                                                                            Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                          file). Not privileged.




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                                                                                                                                                                                                                                           APP. 01196
                                                       Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21                                              Page 440 of 1087 PageID 30645
                                                                                                              AMC Second Amended Privilege Log


  #     Privilege Type       Record Type       Document Date           Email From                       Email To                     Email CC                 Email BCC         Email Subject                            Privilege Description
1004    Attorney-Client        Message         9/20/2018 12:26   Christy DeGiusti <christy-        Bill Winkler <bill-          Ariana Azimi <ariana-                     RE: media invoices backup -       Confidential internal communications to gather
       Communications;                                              degiusti@am.com>           winkler@am.com>; "Lacey            azimi@am.com>                                  ACC/AWP                information to send to counsel at Dorsey & Whitney for
         Work Product                                                                            (Duffy) Cremer"<lacey-                                                                                    purposes of obtaining legal advice regarding NRA
                                                                                               cremer@am.com>; Revan                                                                                       audits, and work product created in anticipation of
                                                                                                   McQueen <Revan-                                                                                                              litigation.
                                                                                              McQueen@am.com>; Brandon
                                                                                                   Winkler<Brandon-
1005    Attorney-Client        Message         9/20/2018 12:45   Revan McQueen <Revan-         "madrid.jay@dorsey.com"         "betts.gina@dorsey.com"                     Re: NR Production invoices
                                                                                                                                                                                                  Confidential communication between AMc employee
       Communications;                                            McQueen@am.com>              <madrid.jay@dorsey.com>        <betts.gina@dorsey.com>;                                           and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                       "SRyan@mwe.com"<SRyan@m                                                  & Emery for purposes of obtaining legal advice
                                                                                                                                        we.com>                                                    regarding AMc invoice practices, and work product
                                                                                                                                                                                                            created in anticipation of litigation.
1006                      Message_Attachment   9/20/2018 12:45                                                                                                                                    Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                   file). Not privileged.
1007    Attorney-Client        Message         9/20/2018 13:10   <madrid.jay@dorsey.com>      <Revan-McQueen@am.com>;        <SRyan@mwe.com>; <bill-                       FW: DRAFT/ATTORNEY     Confidential communication between AMc employee
       Communications;                                                                          <betts.gina@dorsey.com>     winkler@am.com>; <Brandon-                            CLIENT            and counsel at Dorsey & Whitney for purposes of
         Work Product                                                                                                            Winkler@am.com>                          CORRESPONDENCE--please     obtaining legal advice regarding NRA document
                                                                                                                                                                                    edit.        requests and communications from NRA counsel, and
                                                                                                                                                                                                     work product created in anticipation of litigation.
1008    Attorney-Client        Message         9/20/2018 13:16   Revan McQueen <Revan-         "madrid.jay@dorsey.com"         "betts.gina@dorsey.com"                     Re: DRAFT/ATTORNEY     Confidential communication between AMc employee
       Communications;                                            McQueen@am.com>              <madrid.jay@dorsey.com>        <betts.gina@dorsey.com>;                            CLIENT         and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                       "SRyan@mwe.com"<SRyan@m                       CORRESPONDENCE--please     & Emery for purposes of obtaining legal advice
                                                                                                                              we.com>; Bill Winkler <bill-                          edit.                 regarding NRA document requests and
                                                                                                                             winkler@am.com>; Brandon                                            communications from NRA counsel, and work product
                                                                                                                                  Winkler<Brandon-                                                          created in anticipation of litigation.
                                                                                                                                  Winkler@am.com>
1009                      Message_Attachment   9/20/2018 13:16                                                                                                                                    Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                  file). Not privileged.
1010                      Message_Attachment   9/20/2018 13:16                                                                                                                                    Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                  file). Not privileged.
1011                      Message_Attachment   9/20/2018 13:16                                                                                                                                    Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                  file). Not privileged.
1012                      Message_Attachment   9/20/2018 13:16                                                                                                                                    Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                  file). Not privileged.
1013    Attorney-Client        Message         9/20/2018 13:18   <madrid.jay@dorsey.com>      <Revan-McQueen@am.com>         <betts.gina@dorsey.com>;                      RE: DRAFT/ATTORNEY     Confidential communication between AMc employee
       Communications;                                                                                                       <SRyan@mwe.com>; <bill-                              CLIENT         and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                       winkler@am.com>; <Brandon-                    CORRESPONDENCE--please    & Emery for purposes of obtaining legal advice
                                                                                                                                 Winkler@am.com>                                    edit.               regarding NRA document requests and
                                                                                                                                                                                                 communications from NRA counsel, and work product
                                                                                                                                                                                                          created in anticipation of litigation.
1014    Attorney-Client        Message         9/20/2018 13:30   <madrid.jay@dorsey.com>      <Revan-McQueen@am.com>;         <bill-winkler@am.com>;                             FW: E-Mail       Confidential communication between AMc employee
       Communications;                                                                          <betts.gina@dorsey.com>     <Brandon-Winkler@am.com>;                                            and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                           <SRyan@mwe.com>                                                     & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                        regarding NRA document requests and
                                                                                                                                                                                                 communications from NRA counsel, and work product
                                                                                                                                                                                                          created in anticipation of litigation.




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                                                       Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21                                              Page 441 of 1087 PageID 30646
                                                                                                               AMC Second Amended Privilege Log


  #    Privilege Type        Record Type       Document Date          Email From                      Email To                         Email CC               Email BCC          Email Subject                     Privilege Description
1015   Attorney-Client    Message_Attachment   9/20/2018 13:30                                                                                                                                    Confidential communication between AMc employee
       Communications                                                                                                                                                                            and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                                                                                     & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                          regarding NRA document requests and
                                                                                                                                                                                                 communications from NRA counsel, and work product
                                                                                                                                                                                                       created in anticipation of litigation relating to
                                                                                                                                                                                                   Lockton/CarryGuard and state agency investigations
                                                                                                                                                                                                  into the NRA, and litigation anticipated by AMc from
                                                                                                                                                                                                    the NRA as a result of, in large part, Bill Brewer's
                                                                                                                                                                                                                    threats against AMc.
1016    Attorney-Client        Message         9/20/2018 13:30   Revan McQueen <Revan-        "madrid.jay@dorsey.com"           "betts.gina@dorsey.com"                    Re: DRAFT/ATTORNEY     Confidential communication between AMc employee
       Communications;                                            McQueen@am.com>             <madrid.jay@dorsey.com>          <betts.gina@dorsey.com>;                           CLIENT         and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                        "SRyan@mwe.com"<SRyan@m                      CORRESPONDENCE--please     & Emery for purposes of obtaining legal advice
                                                                                                                               we.com>; Bill Winkler <bill-                         edit.                 regarding NRA document requests and
                                                                                                                              winkler@am.com>; Brandon                                           communications from NRA counsel, and work product
                                                                                                                                   Winkler<Brandon-                                                         created in anticipation of litigation.
                                                                                                                                   Winkler@am.com>
1017    Attorney-Client        Message         9/20/2018 13:33   Revan McQueen <Revan-         "madrid.jay@dorsey.com"              Bill Winkler <bill-                           Re: E-Mail      Confidential communication between AMc employee
       Communications;                                            McQueen@am.com>             <madrid.jay@dorsey.com>;        winkler@am.com>; Brandon                                           and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                      "betts.gina@dorsey.com"<betts.gin       Winkler<Brandon-                                                 & Emery for purposes of obtaining legal advice
                                                                                                     a@dorsey.com>                Winkler@am.com>;                                                      regarding NRA document requests and
                                                                                                                                  "SRyan@mwe.com"                                                communications from NRA counsel, and work product
                                                                                                                                  <SRyan@mwe.com>                                                         created in anticipation of litigation.
1018    Attorney-Client   Message_Attachment   9/20/2018 13:33                                                                                                                                    Confidential communication between AMc employee
       Communications;                                                                                                                                                                           and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                                               & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                        regarding NRA document requests and
                                                                                                                                                                                                 communications from NRA counsel, and work product
                                                                                                                                                                                                          created in anticipation of litigation.
1019    Attorney-Client        Message         9/20/2018 13:33   Revan McQueen <Revan-         "madrid.jay@dorsey.com"              Bill Winkler <bill-                          Re: E-Mail       Confidential communication between AMc employee
       Communications;                                            McQueen@am.com>             <madrid.jay@dorsey.com>;         winkler@am.com>; Brandon                                          and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                      "betts.gina@dorsey.com"<betts.gin        Winkler<Brandon-                                                & Emery for purposes of obtaining legal advice
                                                                                                     a@dorsey.com>                 Winkler@am.com>;                                                     regarding NRA document requests and
                                                                                                                                   "SRyan@mwe.com"                                               communications from NRA counsel, and work product
                                                                                                                                  <SRyan@mwe.com>                                                         created in anticipation of litigation.
1020    Attorney-Client   Message_Attachment   9/20/2018 13:33                                                                                                                                    Confidential communication between AMc employee
       Communications;                                                                                                                                                                           and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                                               & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                        regarding NRA document requests and
                                                                                                                                                                                                 communications from NRA counsel, and work product
                                                                                                                                                                                                          created in anticipation of litigation.
1021    Attorney-Client        Message         9/20/2018 13:38   <madrid.jay@dorsey.com>     <Revan-McQueen@am.com>             <betts.gina@dorsey.com>;                   RE: DRAFT/ATTORNEY     Confidential communication between AMc employee
       Communications;                                                                                                          <SRyan@mwe.com>; <bill-                           CLIENT         and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                          winkler@am.com>; <Brandon-                 CORRESPONDENCE--please    & Emery for purposes of obtaining legal advice
                                                                                                                                    Winkler@am.com>                                 edit.               regarding NRA document requests and
                                                                                                                                                                                                 communications from NRA counsel, and work product
                                                                                                                                                                                                          created in anticipation of litigation.




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                                                                                                                                                                                                                                      APP. 01198
                                                       Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21                                          Page 442 of 1087 PageID 30647
                                                                                                            AMC Second Amended Privilege Log


  #     Privilege Type       Record Type       Document Date          Email From                      Email To                     Email CC               Email BCC         Email Subject                     Privilege Description
1022    Attorney-Client        Message         9/20/2018 13:46   Revan McQueen <Revan-       "betts.gina@dorsey.com"        "madrid.jay@dorsey.com"                    Re: DRAFT/ATTORNEY     Confidential communication between AMc employee
       Communications;                                            McQueen@am.com>            <betts.gina@dorsey.com>       <madrid.jay@dorsey.com>;                           CLIENT           and counsel at Dorsey & Whitney for purposes of
         Work Product                                                                                                    "SRyan@mwe.com"<SRyan@m                      CORRESPONDENCE--please obtaining legal advice regarding communications from
                                                                                                                           we.com>; Bill Winkler <bill-                         edit.        Brewer Firm, and work product created in anticipation
                                                                                                                          winkler@am.com>; Brandon                                                                 of litigation.
                                                                                                                               Winkler<Brandon-
                                                                                                                               Winkler@am.com>
1023                      Message_Attachment   9/20/2018 13:46                                                                                                                                   Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                  file). Not privileged.
1024                      Message_Attachment   9/20/2018 13:46                                                                                                                                   Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                  file). Not privileged.
1025                      Message_Attachment   9/20/2018 13:46                                                                                                                                   Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                  file). Not privileged.
1026                      Message_Attachment   9/20/2018 13:46                                                                                                                                   Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                  file). Not privileged.
1027    Attorney-Client        Message         9/20/2018 13:48   <betts.gina@dorsey.com>   <Revan-McQueen@am.com>                                                       Re: DRAFT/ATTORNEY       Confidential communication between AMc employee
       Communications;                                                                                                                                                         CLIENT              and counsel at Dorsey & Whitney for purposes of
         Work Product                                                                                                                                                 CORRESPONDENCE--please obtaining legal advice regarding draft correspondence
                                                                                                                                                                                  edit.           to NRA counsel about document requests and audit
                                                                                                                                                                                                procedures, and work product created in anticipation of
                                                                                                                                                                                                                         litigation.
1028                      Message_Attachment   9/20/2018 13:48                                                                                                                                   Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                  file). Not privileged.
1029                      Message_Attachment   9/20/2018 13:48                                                                                                                                   Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                  file). Not privileged.
1030    Attorney-Client        Message         9/20/2018 14:17   <madrid.jay@dorsey.com>   <Revan-McQueen@am.com>;         <bill-winkler@am.com>;                      FW: Email 4820-4813-1955  Confidential communication between AMc employee
       Communications;                                                                       <betts.gina@dorsey.com>     <Brandon-Winkler@am.com>;                               v.2.pdf        and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                        <SRyan@mwe.com>;                                                       & Emery for purposes of obtaining legal advice
                                                                                                                           <madrid.jay@dorsey.com>                                                      regarding NRA document requests and
                                                                                                                                                                                                communications from NRA counsel, and work product
                                                                                                                                                                                                          created in anticipation of litigation.
1031    Attorney-Client   Message_Attachment   9/20/2018 14:17                                                                                                                                   Confidential communication between AMc employee
       Communications;                                                                                                                                                                          and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                                               & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                        regarding NRA document requests and
                                                                                                                                                                                                communications from NRA counsel, and work product
                                                                                                                                                                                                          created in anticipation of litigation.
1032    Attorney-Client        Message         9/20/2018 14:18   <betts.gina@dorsey.com>    <madrid.jay@dorsey.com>      <Revan-McQueen@am.com>;                       Re: Email 4820-4813-1955  Confidential communication between AMc employee
       Communications;                                                                                                     <bill-winkler@am.com>;                                v.2.pdf        and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                    <Brandon-Winkler@am.com>;                                                  & Emery for purposes of obtaining legal advice
                                                                                                                             <SRyan@mwe.com>                                                            regarding NRA document requests and
                                                                                                                                                                                                communications from NRA counsel, and work product
                                                                                                                                                                                                          created in anticipation of litigation.
1033                      Message_Attachment   9/20/2018 14:18                                                                                                                                   Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                  file). Not privileged.




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                                                                                                                                                                                                                                    APP. 01199
                                                       Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21                                                    Page 443 of 1087 PageID 30648
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  #     Privilege Type       Record Type       Document Date            Email From                            Email To                       Email CC               Email BCC         Email Subject                          Privilege Description
1034    Attorney-Client        Message         9/20/2018 14:42     Revan McQueen <Revan-             "betts.gina@dorsey.com"         "madrid.jay@dorsey.com"                     Re: Email 4820-4813-1955     Confidential communication between AMc employee
       Communications;                                              McQueen@am.com>                  <betts.gina@dorsey.com>       <madrid.jay@dorsey.com>; Bill                           v.2.pdf           and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                       Winkler<bill-                                                       & Emery for purposes of obtaining legal advice
                                                                                                                                    winkler@am.com>; Brandon                                                        regarding NRA document requests and
                                                                                                                                         Winkler <Brandon-                                                   communications from NRA counsel, and work product
                                                                                                                                        Winkler@am.com>;                                                              created in anticipation of litigation.
                                                                                                                                        "SRyan@mwe.com"
                                                                                                                                       <SRyan@mwe.com>
1035    Attorney-Client        Message         9/20/2018 14:42     Revan McQueen <Revan-             "betts.gina@dorsey.com"         "madrid.jay@dorsey.com"                     Re: Email 4820-4813-1955     Confidential communication between AMc employee
       Communications;                                              McQueen@am.com>                  <betts.gina@dorsey.com>       <madrid.jay@dorsey.com>; Bill                           v.2.pdf           and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                       Winkler<bill-                                                       & Emery for purposes of obtaining legal advice
                                                                                                                                    winkler@am.com>; Brandon                                                        regarding NRA document requests and
                                                                                                                                         Winkler <Brandon-                                                   communications from NRA counsel, and work product
                                                                                                                                        Winkler@am.com>;                                                              created in anticipation of litigation.
                                                                                                                                        "SRyan@mwe.com"
                                                                                                                                       <SRyan@mwe.com>
1036   Attorney-Client         Message         9/21/2018 9:01      <betts.gina@dorsey.com>        <bill-winkler@am.com>; <revan-                                                Fwd: NRA / Ackerman: Video   Confidential communication between AMc employee
       Communications                                                                                   mcqueen@am.com>;                                                            Copying, Legal Fees       and counsel at Dorsey & Whitney for purposes of
                                                                                                    <madrid.jay@dorsey.com>;                                                                                  obtaining legal advice regarding NRA request for
                                                                                                   <Brandon-Winkler@am.com>;                                                                                                     documents.
                                                                                                        <SRyan@mwe.com>
1037   Attorney-Client    Message_Attachment   9/21/2018 9:01                                                                                                                                                 Confidential communication between AMc employee
       Communications                                                                                                                                                                                           and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                                obtaining legal advice regarding NRA request for
                                                                                                                                                                                                                                     documents.
1038   Attorney-Client    Message_Attachment   9/21/2018 9:01                                                                                                                                                 Confidential communication between AMc employee
       Communications                                                                                                                                                                                           and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                                obtaining legal advice regarding NRA request for
                                                                                                                                                                                                                                     documents.
1039    Work Product           Message         9/21/2018 13:09   "Lacey (Duffy) Cremer" <lacey-      Revan McQueen <Revan-                                                             <no subject>               Confidential internal communications to gather
                                                                       cremer@am.com>                 McQueen@am.com>                                                                                            information regarding Carry Guard requested by
                                                                                                                                                                                                             counsel at Dorsey & Whiteny for purposes of obtaining
                                                                                                                                                                                                             legal advice regarding same, and work product created
                                                                                                                                                                                                                            in anticipation of litigation.
1040    Work Product      Message_Attachment   9/21/2018 13:09                                                                                                                                                    Confidential internal communications to gather
                                                                                                                                                                                                                 information regarding Carry Guard requested by
                                                                                                                                                                                                             counsel at Dorsey & Whiteny for purposes of obtaining
                                                                                                                                                                                                             legal advice regarding same, and work product created
                                                                                                                                                                                                                            in anticipation of litigation.
1041    Work Product      Message_Attachment   9/21/2018 13:09                                                                                                                    Ackerman Analysis.xlsx          Confidential internal communications to gather
                                                                                                                                                                                                                 information regarding Carry Guard requested by
                                                                                                                                                                                                             counsel at Dorsey & Whiteny for purposes of obtaining
                                                                                                                                                                                                             legal advice regarding same, and work product created
                                                                                                                                                                                                                            in anticipation of litigation.
1042    Work Product      Message_Attachment   9/21/2018 13:09                                                                                                                  Exhibit B CG budgets 2016         Confidential internal communications to gather
                                                                                                                                                                                2017 Actuals and 2018 YTD        information regarding Carry Guard requested by
                                                                                                                                                                                        ACC:AWP              counsel at Dorsey & Whiteny for purposes of obtaining
                                                                                                                                                                                                             legal advice regarding same, and work product created
                                                                                                                                                                                                                            in anticipation of litigation.




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  #     Privilege Type       Record Type       Document Date                 Email From                         Email To                        Email CC               Email BCC         Email Subject                              Privilege Description
1043    Attorney-Client        Message         9/21/2018 13:58   "Ryan, Stephen" <SRyan@mwe.com>        "Revan McQueen - Ackerman                                                   FW: Attorney Work Product       Confidential communication between AMc employee
       Communications;                                                                                       McQueen (Revan-                                                                                          and counsel at Dorsey & Whitney for purposes of
         Work Product                                                                                   McQueen@am.com)"<Revan-                                                                                        obtaining legal advice regarding NRA business
                                                                                                            McQueen@am.com>                                                                                         relationship, and work product created in anticipation
                                                                                                                                                                                                                                         of litigation.
1044    Attorney-Client   Message_Attachment   9/21/2018 13:58                                                                                                                                                      Confidential communication between AMc employee
       Communications;                                                                                                                                                                                                and counsel at Dorsey & Whitney for purposes of
         Work Product                                                                                                                                                                                                  obtaining legal advice regarding NRA business
                                                                                                                                                                                                                    relationship, and work product created in anticipation
                                                                                                                                                                                                                                         of litigation.
1045    Attorney-Client        Message         9/24/2018 9:35         Revan McQueen <Revan-                     "Ryan, Stephen"                                                        Attorney Work Product        Confidential communication between AMc employee
       Communications;                                                 McQueen@am.com>                       <SRyan@mwe.com>;                                                                                         and counsel at Dorsey & Whitney for purposes of
         Work Product                                                                                 "betts.gina@dorsey.com"<betts.gin                                                                                obtaining legal advice regarding NRA business
                                                                                                               a@dorsey.com>;                                                                                       relationship, and work product created in anticipation
                                                                                                          "madrid.jay@dorsey.com"                                                                                                        of litigation.
                                                                                                          <madrid.jay@dorsey.com>
1046    Attorney-Client   Message_Attachment   9/24/2018 9:35                                                                                                                                                       Confidential communication between AMc employee
       Communications;                                                                                                                                                                                                and counsel at Dorsey & Whitney for purposes of
         Work Product                                                                                                                                                                                                  obtaining legal advice regarding NRA business
                                                                                                                                                                                                                    relationship, and work product created in anticipation
                                                                                                                                                                                                                                          of litigation.
1047    Attorney-Client        Message         9/24/2018 12:57           "Jordan, Cheryl"                 Revan McQueen <Revan-              "Ryan, Stephen"                       On behalf of Steve Ryan -- RE:   Confidential communication between AMc employee
       Communications;                                                 <Cajordan@mwe.com>                  McQueen@am.com>                 <SRyan@mwe.com>                            Attorney Work Product           and counsel at Dorsey & Whitney for purposes of
         Work Product                                                                                                                                                                                                  obtaining legal advice regarding NRA business
                                                                                                                                                                                                                    relationship, and work product created in anticipation
                                                                                                                                                                                                                                          of litigation.
1048    Attorney-Client   Message_Attachment   9/24/2018 12:57                                                                                                                                                      Confidential communication between AMc employee
       Communications;                                                                                                                                                                                                and counsel at Dorsey & Whitney for purposes of
         Work Product                                                                                                                                                                                                  obtaining legal advice regarding NRA business
                                                                                                                                                                                                                    relationship, and work product created in anticipation
                                                                                                                                                                                                                                          of litigation.
1049    Attorney-Client        Message         9/24/2018 13:10   Bill Winkler <bill-winkler@am.com>       "madrid.jay@dorsey.com"      Brandon Winkler <Brandon-                         RE: meeting letter         Confidential communication between AMc employee
       Communications;                                                                                   <madrid.jay@dorsey.com>;      Winkler@am.com>; Melanie                                                       and counsel at Dorsey & Whitney for purposes of
         Work Product                                                                                 "betts.gina@dorsey.com"<betts.gin   Montgomery<Melanie-                                                              obtaining legal advice regarding drafting
                                                                                                                a@dorsey.com>           Montgomery@am.com>;                                                         correspondence to NRA, and work product created in
                                                                                                                                      "Lacey (Duffy) Cremer" <lacey-                                                               anticipation of litigation.
                                                                                                                                            cremer@am.com>
1050    Attorney-Client        Message         9/24/2018 13:10   Bill Winkler <bill-winkler@am.com>     "madrid.jay@dorsey.com"        Brandon Winkler <Brandon-                         RE: meeting letter         Confidential communication between AMc employee
       Communications;                                                                                 <madrid.jay@dorsey.com>;        Winkler@am.com>; Melanie                                                       and counsel at Dorsey & Whitney for purposes of
         Work Product                                                                               "betts.gina@dorsey.com"<betts.gin     Montgomery<Melanie-                                                             obtaining legal advice regarding drafting
                                                                                                              a@dorsey.com>             Montgomery@am.com>;                                                         correspondence to NRA, and work product created in
                                                                                                                                      "Lacey (Duffy) Cremer" <lacey-                                                              anticipation of litigation.
                                                                                                                                            cremer@am.com>
1051    Attorney-Client        Message         9/24/2018 14:02         Revan McQueen <Revan-                  "Jordan, Cheryl"             "SRyan@mwe.com"                         Re: On behalf of Steve Ryan --   Confidential communication between AMc employee
       Communications;                                                   McQueen@am.com>                  <Cajordan@mwe.com>              <SRyan@mwe.com>                           RE: Attorney Work Product         and counsel at Dorsey & Whitney for purposes of
         Work Product                                                                                                                                                                                                  obtaining legal advice regarding NRA business
                                                                                                                                                                                                                    relationship, and work product created in anticipation
                                                                                                                                                                                                                                         of litigation.




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                                                       Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21                                                       Page 445 of 1087 PageID 30650
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  #     Privilege Type       Record Type       Document Date               Email From                           Email To                      Email CC                 Email BCC        Email Subject                     Privilege Description
1052    Attorney-Client        Message         9/24/2018 15:27       <madrid.jay@dorsey.com>        <bill-winkler@am.com>; <Revan- <Brandon-Winkler@am.com>;                             FW: Letter        Confidential communication between AMc employee
       Communications;                                                                               McQueen@am.com>; <Melanie-      <betts.gina@dorsey.com>;                                                and counsel at Dorsey & Whitney for purposes of
         Work Product                                                                                    Montgomery@am.com>            <SRyan@mwe.com>;                                                          obtaining legal advice regarding drafting
                                                                                                                                     <madrid.jay@dorsey.com>                                               correspondence to NRA, and work product created in
                                                                                                                                                                                                                         anticipation of litigation.
1053    Attorney-Client   Message_Attachment   9/24/2018 15:27                                                                                                                                             Confidential communication between AMc employee
       Communications;                                                                                                                                                                                       and counsel at Dorsey & Whitney for purposes of
         Work Product                                                                                                                                                                                            obtaining legal advice regarding drafting
                                                                                                                                                                                                           correspondence to NRA, and work product created in
                                                                                                                                                                                                                         anticipation of litigation.
1054    Attorney-Client        Message         9/24/2018 16:02   "Ryan, Stephen" <SRyan@mwe.com>        "madrid.jay@dorsey.com"        "Brandon-Winkler@am.com"                           RE: Letter       Confidential communication between AMc employee
       Communications;                                                                               <madrid.jay@dorsey.com>; "bill- <Brandon-Winkler@am.com>;                                               and counsel at Dorsey & Whitney for purposes of
         Work Product                                                                                     winkler@am.com"<bill-       "betts.gina@dorsey.com"<betts.                                             obtaining legal advice regarding drafting
                                                                                                       winkler@am.com>; "Revan-              gina@dorsey.com>                                              correspondence to NRA, and work product created in
                                                                                                      McQueen@am.com" <Revan-                                                                                            anticipation of litigation.
                                                                                                     McQueen@am.com>; "Melanie-
                                                                                                    Montgomery@am.com" <Melanie-
                                                                                                         Montgomery@am.com>
1055    Attorney-Client        Message         9/24/2018 16:03     "Lacey (Duffy) Cremer" <lacey-        Revan McQueen <Revan-               Bill Winkler <bill-                      Letter - ACC / AWP    Confidential communication between AMc employee
       Communications;                                                   cremer@am.com>                    McQueen@am.com>;            winkler@am.com>; Brandon                                            and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                       "SRyan@mwe.com"                  Winkler<Brandon-                                                  & Emery for purposes of obtaining legal advice
                                                                                                           <SRyan@mwe.com>;            Winkler@am.com>; Melanie                                             regarding drafting correspondence to NRA, and work
                                                                                                        "madrid.jay@dorsey.com"           Montgomery <Melanie-                                                   product created in anticipation of litigation.
                                                                                                       <madrid.jay@dorsey.com>;          Montgomery@am.com>
                                                                                                    "betts.gina@dorsey.com"<betts.gin
                                                                                                    a@dorsey.com>; Angus McQueen
                                                                                                       <angus-mcqueen@am.com>
1056    Attorney-Client   Message_Attachment   9/24/2018 16:03                                                                                                                                              Confidential communication between AMc employee
       Communications;                                                                                                                                                                                     and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                                                          & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                            regarding drafting correspondence to NRA, and work
                                                                                                                                                                                                                 product created in anticipation of litigation.
1057    Attorney-Client        Message         9/24/2018 16:03     "Lacey (Duffy) Cremer" <lacey-        Revan McQueen <Revan-               Bill Winkler <bill-                      Letter - ACC / AWP    Confidential communication between AMc employee
       Communications;                                                   cremer@am.com>                    McQueen@am.com>;             winkler@am.com>; Brandon                                           and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                       "SRyan@mwe.com"                  Winkler<Brandon-                                                  & Emery for purposes of obtaining legal advice
                                                                                                           <SRyan@mwe.com>;             Winkler@am.com>; Melanie                                            regarding drafting correspondence to NRA, and work
                                                                                                        "madrid.jay@dorsey.com"           Montgomery <Melanie-                                                   product created in anticipation of litigation.
                                                                                                       <madrid.jay@dorsey.com>;           Montgomery@am.com>
                                                                                                    "betts.gina@dorsey.com"<betts.gin
                                                                                                    a@dorsey.com>; Angus McQueen
                                                                                                       <angus-mcqueen@am.com>
1058    Attorney-Client   Message_Attachment   9/24/2018 16:03                                                                                                                                              Confidential communication between AMc employee
       Communications;                                                                                                                                                                                     and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                                                          & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                            regarding drafting correspondence to NRA, and work
                                                                                                                                                                                                                 product created in anticipation of litigation.




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  #     Privilege Type    Record Type   Document Date                 Email From                        Email To                        Email CC            Email BCC         Email Subject                         Privilege Description
1059    Attorney-Client     Message     9/24/2018 16:04   Bill Winkler <bill-winkler@am.com>  "Lacey (Duffy) Cremer" <lacey-   Brandon Winkler <Brandon-                  RE: Letter - ACC / AWP    Confidential communication between AMc employee
       Communications;                                                                          cremer@am.com>; Revan          Winkler@am.com>; Melanie                                            and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                McQueen<Revan-              Montgomery<Melanie-                                                   & Emery for purposes of obtaining legal advice
                                                                                                   McQueen@am.com>;              Montgomery@am.com>                                                 regarding drafting correspondence to NRA, and work
                                                                                                    "SRyan@mwe.com"                                                                                      product created in anticipation of litigation.
                                                                                                   <SRyan@mwe.com>;
                                                                                                "madrid.jay@dorsey.com"
                                                                                               <madrid.jay@dorsey.com>;
                                                                                            "betts.gina@dorsey.com"<betts.gin
                                                                                            a@dorsey.com>; Angus McQueen
                                                                                               <angus-mcqueen@am.com>
1060    Attorney-Client     Message     9/24/2018 16:04   Bill Winkler <bill-winkler@am.com> "Lacey (Duffy) Cremer" <lacey-    Brandon Winkler <Brandon-                  RE: Letter - ACC / AWP    Confidential communication between AMc employee
       Communications;                                                                          cremer@am.com>; Revan          Winkler@am.com>; Melanie                                            and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                McQueen<Revan-              Montgomery<Melanie-                                                   & Emery for purposes of obtaining legal advice
                                                                                                   McQueen@am.com>;              Montgomery@am.com>                                                 regarding drafting correspondence to NRA, and work
                                                                                                    "SRyan@mwe.com"                                                                                      product created in anticipation of litigation.
                                                                                                   <SRyan@mwe.com>;
                                                                                                "madrid.jay@dorsey.com"
                                                                                               <madrid.jay@dorsey.com>;
                                                                                            "betts.gina@dorsey.com"<betts.gin
                                                                                            a@dorsey.com>; Angus McQueen
                                                                                               <angus-mcqueen@am.com>
1061    Attorney-Client     Message     9/24/2018 16:04        Brandon Winkler <Brandon-      "Lacey (Duffy) Cremer" <lacey-        Bill Winkler <bill-                   RE: Letter - ACC / AWP    Confidential communication between AMc employee
       Communications;                                             Winkler@am.com>              cremer@am.com>; Revan          winkler@am.com>; Melanie                                            and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                McQueen<Revan-              Montgomery<Melanie-                                                   & Emery for purposes of obtaining legal advice
                                                                                                   McQueen@am.com>;              Montgomery@am.com>                                                 regarding drafting correspondence to NRA, and work
                                                                                                    "SRyan@mwe.com"                                                                                      product created in anticipation of litigation.
                                                                                                   <SRyan@mwe.com>;
                                                                                                "madrid.jay@dorsey.com"
                                                                                               <madrid.jay@dorsey.com>;
                                                                                            "betts.gina@dorsey.com"<betts.gin
                                                                                            a@dorsey.com>; Angus McQueen
                                                                                               <angus-mcqueen@am.com>
1062    Attorney-Client     Message     9/24/2018 16:04        Brandon Winkler <Brandon-      "Lacey (Duffy) Cremer" <lacey-        Bill Winkler <bill-                   RE: Letter - ACC / AWP    Confidential communication between AMc employee
       Communications;                                             Winkler@am.com>              cremer@am.com>; Revan          winkler@am.com>; Melanie                                            and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                McQueen<Revan-              Montgomery<Melanie-                                                   & Emery for purposes of obtaining legal advice
                                                                                                   McQueen@am.com>;              Montgomery@am.com>                                                 regarding drafting correspondence to NRA, and work
                                                                                                    "SRyan@mwe.com"                                                                                      product created in anticipation of litigation.
                                                                                                   <SRyan@mwe.com>;
                                                                                                "madrid.jay@dorsey.com"
                                                                                               <madrid.jay@dorsey.com>;
                                                                                            "betts.gina@dorsey.com"<betts.gin
                                                                                            a@dorsey.com>; Angus McQueen
                                                                                               <angus-mcqueen@am.com>
1063    Attorney-Client     Message     9/24/2018 16:06         <betts.gina@dorsey.com>     <lacey-cremer@am.com>; <Revan-      <bill-winkler@am.com>;                    RE: Letter - ACC / AWP    Confidential communication between AMc employee
       Communications;                                                                             McQueen@am.com>;           <Brandon-Winkler@am.com>;                                            and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                              <SRyan@mwe.com>;                      <Melanie-                                                     & Emery for purposes of obtaining legal advice
                                                                                               <madrid.jay@dorsey.com>;          Montgomery@am.com>                                                 regarding drafting correspondence to NRA, and work
                                                                                               <angus-mcqueen@am.com>                                                                                    product created in anticipation of litigation.




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  #     Privilege Type       Record Type       Document Date                 Email From                            Email To                    Email CC              Email BCC         Email Subject                         Privilege Description
1064    Attorney-Client        Message         9/24/2018 16:08   Bill Winkler <bill-winkler@am.com>       "betts.gina@dorsey.com"      Brandon Winkler <Brandon-                   RE: Letter - ACC / AWP    Confidential communication between AMc employee
       Communications;                                                                               <betts.gina@dorsey.com>; "Lacey   Winkler@am.com>; Melanie                                             and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                      (Duffy) Cremer"<lacey-        Montgomery<Melanie-                                                    & Emery for purposes of obtaining legal advice
                                                                                                         cremer@am.com>; Revan           Montgomery@am.com>                                                  regarding drafting correspondence to NRA, and work
                                                                                                             McQueen <Revan-                                                                                      product created in anticipation of litigation.
                                                                                                            McQueen@am.com>;
                                                                                                    "SRyan@mwe.com"<SRyan@mwe.
                                                                                                     com>; "madrid.jay@dorsey.com"
                                                                                                        <madrid.jay@dorsey.com>;
                                                                                                        "Angus McQueen" <angus-
                                                                                                            mcqueen@am.com>
1065    Attorney-Client        Message         9/24/2018 16:08   Bill Winkler <bill-winkler@am.com>       "betts.gina@dorsey.com"      Brandon Winkler <Brandon-                   RE: Letter - ACC / AWP    Confidential communication between AMc employee
       Communications;                                                                               <betts.gina@dorsey.com>; "Lacey   Winkler@am.com>; Melanie                                             and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                      (Duffy) Cremer"<lacey-        Montgomery<Melanie-                                                    & Emery for purposes of obtaining legal advice
                                                                                                         cremer@am.com>; Revan           Montgomery@am.com>                                                  regarding drafting correspondence to NRA, and work
                                                                                                             McQueen <Revan-                                                                                      product created in anticipation of litigation.
                                                                                                            McQueen@am.com>;
                                                                                                    "SRyan@mwe.com"<SRyan@mwe.
                                                                                                     com>; "madrid.jay@dorsey.com"
                                                                                                        <madrid.jay@dorsey.com>;
                                                                                                        "Angus McQueen" <angus-
                                                                                                            mcqueen@am.com>
1066    Attorney-Client        Message         9/24/2018 16:09        <madrid.jay@dorsey.com>            <bill-winkler@am.com>;         <betts.gina@dorsey.com>;                         FW: Letter          Confidential communication between AMc employee
       Communications;                                                                                 <Brandon-Winkler@am.com>         <madrid.jay@dorsey.com>;                                            and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                  <Revan-McQueen@am.com>                                                   & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                             regarding drafting correspondence to NRA, and work
                                                                                                                                                                                                                  product created in anticipation of litigation.
1067    Attorney-Client   Message_Attachment   9/24/2018 16:09                                                                                                                                               Confidential communication between AMc employee
       Communications;                                                                                                                                                                                      and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                                                           & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                             regarding drafting correspondence to NRA, and work
                                                                                                                                                                                                                  product created in anticipation of litigation.
1068    Attorney-Client        Message         9/24/2018 16:09        <betts.gina@dorsey.com>         <bill-winkler@am.com>; <lacey- <Brandon-Winkler@am.com>;                     RE: Letter - ACC / AWP    Confidential communication between AMc employee
       Communications;                                                                                  cremer@am.com>; <Revan-               <Melanie-                                                     and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                       McQueen@am.com>;            Montgomery@am.com>                                                      & Emery for purposes of obtaining legal advice
                                                                                                            <SRyan@mwe.com>;                                                                                 regarding drafting correspondence to NRA, and work
                                                                                                        <madrid.jay@dorsey.com>;                                                                                  product created in anticipation of litigation.
                                                                                                        <angus-mcqueen@am.com>
1069    Attorney-Client        Message         9/24/2018 16:10        <betts.gina@dorsey.com>         <madrid.jay@dorsey.com>; <bill- <Revan-McQueen@am.com>                             RE: Letter          Confidential communication between AMc employee
       Communications;                                                                                 winkler@am.com>; <Brandon-                                                                           and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                        Winkler@am.com>                                                                                    & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                             regarding drafting correspondence to NRA, and work
                                                                                                                                                                                                                  product created in anticipation of litigation.




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  #     Privilege Type    Record Type   Document Date                 Email From                             Email To                     Email CC              Email BCC         Email Subject                         Privilege Description
1070    Attorney-Client     Message     9/24/2018 16:13   Bill Winkler <bill-winkler@am.com>        "betts.gina@dorsey.com"       Brandon Winkler <Brandon-                   RE: Letter - ACC / AWP    Confidential communication between AMc employee
       Communications;                                                                        <betts.gina@dorsey.com>; "Lacey     Winkler@am.com>; Melanie                                             and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                (Duffy) Cremer"<lacey-         Montgomery<Melanie-                                                    & Emery for purposes of obtaining legal advice
                                                                                                   cremer@am.com>; Revan           Montgomery@am.com>;                                                  regarding drafting correspondence to NRA, and work
                                                                                                       McQueen <Revan-               Ariana Azimi <ariana-                                                   product created in anticipation of litigation.
                                                                                                      McQueen@am.com>;                 azimi@am.com>
                                                                                             "SRyan@mwe.com"<SRyan@mwe.
                                                                                               com>; "madrid.jay@dorsey.com"
                                                                                                  <madrid.jay@dorsey.com>;
                                                                                                  "Angus McQueen" <angus-
                                                                                                      mcqueen@am.com>
1071    Attorney-Client     Message     9/24/2018 16:19         Revan McQueen <Revan-                   Bill Winkler <bill-       Brandon Winkler <Brandon-                   Re: Letter - ACC / AWP    Confidential communication between AMc employee
       Communications;                                            McQueen@am.com>                      winkler@am.com>;           Winkler@am.com>; Melanie                                             and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                         "betts.gina@dorsey.com"<betts.gin     Montgomery<Melanie-                                                    & Emery for purposes of obtaining legal advice
                                                                                               a@dorsey.com>; "Lacey (Duffy)       Montgomery@am.com>;                                                  regarding drafting correspondence to NRA, and work
                                                                                                         Cremer" <lacey-             Ariana Azimi <ariana-                                                   product created in anticipation of litigation.
                                                                                                  cremer@am.com>; "Ryan,               azimi@am.com>
                                                                                                Stephen" <SRyan@mwe.com>;
                                                                                                   "madrid.jay@dorsey.com"
                                                                                             <madrid.jay@dorsey.com>; Angus
                                                                                                        McQueen <angus-
                                                                                                      mcqueen@am.com>
1072    Attorney-Client     Message     9/24/2018 16:21     Melanie Montgomery <Melanie-            Revan McQueen <Revan-          Brandon Winkler <Brandon-                  Re: Letter - ACC / AWP    Confidential communication between AMc employee
       Communications;                                          Montgomery@am.com>           McQueen@am.com>; Bill Winkler         Winkler@am.com>; Ariana                                             and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                              <bill-winkler@am.com>;         Azimi<ariana-azimi@am.com>                                               & Emery for purposes of obtaining legal advice
                                                                                                    "betts.gina@dorsey.com"                                                                             regarding drafting correspondence to NRA, and work
                                                                                              <betts.gina@dorsey.com>; "Lacey                                                                                product created in anticipation of litigation.
                                                                                                     (Duffy) Cremer"<lacey-
                                                                                                  cremer@am.com>; "Ryan,
                                                                                                Stephen" <SRyan@mwe.com>;
                                                                                                   "madrid.jay@dorsey.com"
                                                                                             <madrid.jay@dorsey.com>; Angus
                                                                                                        McQueen<angus-
                                                                                                      mcqueen@am.com>
1073    Attorney-Client     Message     9/24/2018 16:21   Bill Winkler <bill-winkler@am.com>        Revan McQueen <Revan-         Brandon Winkler <Brandon-                   RE: Letter - ACC / AWP    Confidential communication between AMc employee
       Communications;                                                                                McQueen@am.com>;            Winkler@am.com>; Melanie                                             and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                         "betts.gina@dorsey.com"<betts.gin     Montgomery<Melanie-                                                    & Emery for purposes of obtaining legal advice
                                                                                               a@dorsey.com>; "Lacey (Duffy)       Montgomery@am.com>;                                                  regarding drafting correspondence to NRA, and work
                                                                                                         Cremer" <lacey-             Ariana Azimi <ariana-                                                   product created in anticipation of litigation.
                                                                                                  cremer@am.com>; "Ryan,               azimi@am.com>
                                                                                                Stephen" <SRyan@mwe.com>;
                                                                                                   "madrid.jay@dorsey.com"
                                                                                             <madrid.jay@dorsey.com>; Angus
                                                                                                        McQueen <angus-
                                                                                                      mcqueen@am.com>




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  #     Privilege Type       Record Type       Document Date                Email From                       Email To                      Email CC                    Email BCC          Email Subject                              Privilege Description
1074    Attorney-Client        Message         9/24/2018 16:21       <betts.gina@dorsey.com>                 <Melanie-          <Brandon-Winkler@am.com>;                             RE: Letter - ACC / AWP         Confidential communication between AMc employee
       Communications;                                                                             Montgomery@am.com>; <Revan-      <ariana-azimi@am.com>                                                           and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                McQueen@am.com>; <bill-                                                                                            & Emery for purposes of obtaining legal advice
                                                                                                     winkler@am.com>; <lacey-                                                                                        regarding drafting correspondence to NRA, and work
                                                                                                         cremer@am.com>;                                                                                                  product created in anticipation of litigation.
                                                                                                       <SRyan@mwe.com>;
                                                                                                     <madrid.jay@dorsey.com>;
1075    Attorney-Client        Message         9/24/2018 16:21       Revan McQueen <Revan-         Melanie Montgomery <Melanie-        Bill Winkler <bill-                            Re: Letter - ACC / AWP         Confidential communication between AMc employee
       Communications;                                                McQueen@am.com>                 Montgomery@am.com>              winkler@am.com>;                                                              and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                           "betts.gina@dorsey.com"<betts.                                                          & Emery for purposes of obtaining legal advice
                                                                                                                                  gina@dorsey.com>; "Lacey                                                           regarding drafting correspondence to NRA, and work
                                                                                                                                    (Duffy) Cremer" <lacey-                                                               product created in anticipation of litigation.
                                                                                                                                  cremer@am.com>; "Ryan,
                                                                                                                                Stephen" <SRyan@mwe.com>;
                                                                                                                                   "madrid.jay@dorsey.com"
                                                                                                                                  <madrid.jay@dorsey.com>;
                                                                                                                                    Angus McQueen <angus-
                                                                                                                                mcqueen@am.com>; Brandon
                                                                                                                                       Winkler<Brandon-
                                                                                                                                  Winkler@am.com>; Ariana
                                                                                                                                Azimi <ariana-azimi@am.com>
1076                      Message_Attachment   9/24/2018 16:21                                                                                                                                                        Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                      file). Not privileged.
1077                      Message_Attachment   9/24/2018 16:21                                                                                                                                                        Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                      file). Not privileged.
1078    Attorney-Client        Message         9/24/2018 16:27   "Ryan, Stephen" <SRyan@mwe.com>            Bill Winkler <bill-      Brandon Winkler <Brandon-                        RE: Letter - ACC / AWP         Confidential communication between AMc employee
       Communications;                                                                                winkler@am.com>; Revan         Winkler@am.com>; Melanie                                                       and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                      McQueen <Revan-             Montgomery<Melanie-                                                              & Emery for purposes of obtaining legal advice
                                                                                                         McQueen@am.com>;             Montgomery@am.com>;                                                            regarding drafting correspondence to NRA, and work
                                                                                                       "betts.gina@dorsey.com"          Ariana Azimi <ariana-                                                             product created in anticipation of litigation.
                                                                                                   <betts.gina@dorsey.com>; "Lacey        azimi@am.com>
                                                                                                        (Duffy) Cremer"<lacey-
                                                                                                           cremer@am.com>;
                                                                                                      "madrid.jay@dorsey.com"
                                                                                                     <madrid.jay@dorsey.com>;
                                                                                                      "Angus McQueen" <angus-
                                                                                                          mcqueen@am.com>
1079    Attorney-Client        Message         9/24/2018 17:24          "Jordan, Cheryl"               Revan McQueen <Revan-              "Ryan, Stephen"                          RE: On behalf of Steve Ryan --   Confidential communication between AMc employee
       Communications;                                                <Cajordan@mwe.com>                  McQueen@am.com>               <SRyan@mwe.com>                             RE: Attorney Work Product         and counsel at Dorsey & Whitney for purposes of
         Work Product                                                                                                                                                                                                  obtaining legal advice regarding NRA business
                                                                                                                                                                                                                    relationship, and work product created in anticipation
                                                                                                                                                                                                                                         of litigation.
1080    Attorney-Client   Message_Attachment   9/24/2018 17:24                                                                                                                                                      Confidential communication between AMc employee
       Communications;                                                                                                                                                                                                and counsel at Dorsey & Whitney for purposes of
         Work Product                                                                                                                                                                                                  obtaining legal advice regarding NRA business
                                                                                                                                                                                                                    relationship, and work product created in anticipation
                                                                                                                                                                                                                                         of litigation.
1081   Attorney-Client         Message         9/24/2018 18:34       <madrid.jay@dorsey.com>        <Revan-McQueen@am.com>;           <betts.gina@dorsey.com>;                           FW: Letter to Hart         Confidential communication between AMc employee
       Communications                                                                              <Melanie-Montgomery@am.com>          <SRyan@mwe.com>                                                               and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                                       obtaining legal advice regarding NRA business
                                                                                                                                                                                                                                         relationship.



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  #     Privilege Type       Record Type       Document Date                Email From                           Email To                          Email CC              Email BCC        Email Subject                        Privilege Description
1082    Attorney-Client   Message_Attachment   9/24/2018 18:34                                                                                                                                                  Draft letter containing attorney advice and mental
       Communications;                                                                                                                                                                                        impressions regarding AMc business relationship with
         Work Product                                                                                                                                                                                                                  NRA.
1083    Attorney-Client        Message         9/24/2018 20:06        Revan McQueen <Revan-               "madrid.jay@dorsey.com"                                                       Services Agreement     Confidential communication between AMc employee
       Communications                                                  McQueen@am.com>                   <madrid.jay@dorsey.com>;                                                                               and counsel at Dorsey & Whitney for purposes of
                                                                                                      "betts.gina@dorsey.com"<betts.gin                                                                          obtaining legal advice regarding AMc services
                                                                                                                a@dorsey.com>;                                                                                                       agreement.
                                                                                                              "SRyan@mwe.com"
                                                                                                             <SRyan@mwe.com>
1084    Attorney-Client        Message         9/24/2018 21:16        Revan McQueen <Revan-              Brandon Winkler <Brandon-               Bill Winkler <bill-                    Re: Attorney Client    Confidential communication between AMc employee
       Communications;                                                 McQueen@am.com>                         Winkler@am.com>                  winkler@am.com>;                         Communication        and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                     "madrid.jay@dorsey.com"<madr                                            & Emery for purposes of obtaining legal advice
                                                                                                                                               id.jay@dorsey.com>;                                             regarding drafting correspondence to NRA, and work
                                                                                                                                                "SRyan@mwe.com"                                                     product created in anticipation of litigation.
                                                                                                                                              <SRyan@mwe.com>;
                                                                                                                                             "betts.gina@dorsey.com"
                                                                                                                                            <betts.gina@dorsey.com>
1085    Attorney-Client        Message         9/24/2018 21:16        Revan McQueen <Revan-             Brandon Winkler <Brandon-                Bill Winkler <bill-                    Re: Attorney Client    Confidential communication between AMc employee
       Communications;                                                 McQueen@am.com>                      Winkler@am.com>                     winkler@am.com>;                         Communication        and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                     "madrid.jay@dorsey.com"<madr                                            & Emery for purposes of obtaining legal advice
                                                                                                                                               id.jay@dorsey.com>;                                             regarding drafting correspondence to NRA, and work
                                                                                                                                                "SRyan@mwe.com"                                                     product created in anticipation of litigation.
                                                                                                                                              <SRyan@mwe.com>;
                                                                                                                                             "betts.gina@dorsey.com"
                                                                                                                                            <betts.gina@dorsey.com>
1086    Attorney-Client        Message         9/24/2018 21:35       Brandon Winkler <Brandon-            Revan McQueen <Revan-                  Bill Winkler <bill-                    Re: Attorney Client    Confidential communication between AMc employee
       Communications;                                                   Winkler@am.com>                   McQueen@am.com>                      winkler@am.com>;                         Communication        and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                     "madrid.jay@dorsey.com"<madr                                            & Emery for purposes of obtaining legal advice
                                                                                                                                               id.jay@dorsey.com>;                                             regarding drafting correspondence to NRA, and work
                                                                                                                                                "SRyan@mwe.com"                                                     product created in anticipation of litigation.
                                                                                                                                              <SRyan@mwe.com>;
                                                                                                                                             "betts.gina@dorsey.com"
                                                                                                                                            <betts.gina@dorsey.com>
1087    Attorney-Client        Message         9/24/2018 21:35       Brandon Winkler <Brandon-            Revan McQueen <Revan-                  Bill Winkler <bill-                    Re: Attorney Client    Confidential communication between AMc employee
       Communications;                                                   Winkler@am.com>                   McQueen@am.com>                      winkler@am.com>;                         Communication        and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                     "madrid.jay@dorsey.com"<madr                                            & Emery for purposes of obtaining legal advice
                                                                                                                                               id.jay@dorsey.com>;                                             regarding drafting correspondence to NRA, and work
                                                                                                                                                "SRyan@mwe.com"                                                     product created in anticipation of litigation.
                                                                                                                                              <SRyan@mwe.com>;
                                                                                                                                             "betts.gina@dorsey.com"
                                                                                                                                            <betts.gina@dorsey.com>
1088    Attorney-Client        Message         9/24/2018 21:57   Bill Winkler <bill-winkler@am.com>     Brandon Winkler <Brandon-           Revan McQueen <Revan-                       Re: Attorney Client    Confidential communication between AMc employee
       Communications;                                                                                      Winkler@am.com>                   McQueen@am.com>;                           Communication        and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                     "madrid.jay@dorsey.com"<madr                                            & Emery for purposes of obtaining legal advice
                                                                                                                                               id.jay@dorsey.com>;                                             regarding drafting correspondence to NRA, and work
                                                                                                                                                "SRyan@mwe.com"                                                     product created in anticipation of litigation.
                                                                                                                                              <SRyan@mwe.com>;
                                                                                                                                             "betts.gina@dorsey.com"
                                                                                                                                            <betts.gina@dorsey.com>




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  #     Privilege Type    Record Type   Document Date                 Email From                          Email To                          Email CC             Email BCC        Email Subject                        Privilege Description
1089    Attorney-Client     Message     9/24/2018 21:57   Bill Winkler <bill-winkler@am.com>      Brandon Winkler <Brandon-         Revan McQueen <Revan-                       Re: Attorney Client    Confidential communication between AMc employee
       Communications;                                                                                Winkler@am.com>                 McQueen@am.com>;                           Communication        and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                           "madrid.jay@dorsey.com"<madr                                              & Emery for purposes of obtaining legal advice
                                                                                                                                      id.jay@dorsey.com>;                                              regarding drafting correspondence to NRA, and work
                                                                                                                                       "SRyan@mwe.com"                                                      product created in anticipation of litigation.
                                                                                                                                      <SRyan@mwe.com>;
                                                                                                                                    "betts.gina@dorsey.com"
                                                                                                                                   <betts.gina@dorsey.com>
1090    Attorney-Client     Message     9/24/2018 22:13     Melanie Montgomery <Melanie-           Revan McQueen <Revan-           "madrid.jay@dorsey.com"                      Re: Attorney Client    Confidential communication between AMc employee
       Communications;                                         Montgomery@am.com>                    McQueen@am.com>              <madrid.jay@dorsey.com>;                       Communication        and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                           "betts.gina@dorsey.com"<betts.                                            & Emery for purposes of obtaining legal advice
                                                                                                                                       gina@dorsey.com>;                                               regarding drafting correspondence to NRA, and work
                                                                                                                                       "SRyan@mwe.com"                                                      product created in anticipation of litigation.
                                                                                                                                   <SRyan@mwe.com>; Bill
                                                                                                                                           Winkler<bill-
                                                                                                                                  winkler@am.com>; "Lacey
                                                                                                                                     (Duffy) Cremer" <lacey-
                                                                                                                                        cremer@am.com>
1091    Attorney-Client     Message     9/24/2018 22:13     Melanie Montgomery <Melanie-           Revan McQueen <Revan-           "madrid.jay@dorsey.com"                      Re: Attorney Client    Confidential communication between AMc employee
       Communications;                                         Montgomery@am.com>                    McQueen@am.com>              <madrid.jay@dorsey.com>;                       Communication        and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                           "betts.gina@dorsey.com"<betts.                                            & Emery for purposes of obtaining legal advice
                                                                                                                                       gina@dorsey.com>;                                               regarding drafting correspondence to NRA, and work
                                                                                                                                       "SRyan@mwe.com"                                                      product created in anticipation of litigation.
                                                                                                                                   <SRyan@mwe.com>; Bill
                                                                                                                                           Winkler<bill-
                                                                                                                                  winkler@am.com>; "Lacey
                                                                                                                                     (Duffy) Cremer" <lacey-
                                                                                                                                        cremer@am.com>
1092    Attorney-Client     Message     9/24/2018 22:37       <madrid.jay@dorsey.com>           <Melanie-Montgomery@am.com> <Revan-McQueen@am.com>;                             Re: Attorney Client    Confidential communication between AMc employee
       Communications;                                                                                                            <betts.gina@dorsey.com>;                       Communication        and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                             <SRyan@mwe.com>; <bill-                                                 & Emery for purposes of obtaining legal advice
                                                                                                                                  winkler@am.com>; <lacey-                                             regarding drafting correspondence to NRA, and work
                                                                                                                                        cremer@am.com>                                                      product created in anticipation of litigation.
1093    Attorney-Client     Message     9/24/2018 22:40     Melanie Montgomery <Melanie-           Revan McQueen <Revan-            "betts.gina@dorsey.com"                     Re: Attorney Client    Confidential communication between AMc employee
       Communications;                                         Montgomery@am.com>                    McQueen@am.com>;             <betts.gina@dorsey.com>;                       Communication        and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                          "madrid.jay@dorsey.com"<madrid.j "SRyan@mwe.com"<SRyan@m                                                   & Emery for purposes of obtaining legal advice
                                                                                                        ay@dorsey.com>            we.com>; Bill Winkler <bill-                                         regarding drafting correspondence to NRA, and work
                                                                                                                                  winkler@am.com>; "Lacey                                                   product created in anticipation of litigation.
                                                                                                                                     (Duffy) Cremer"<lacey-
                                                                                                                                        cremer@am.com>
1094    Attorney-Client     Message     9/24/2018 22:40     Melanie Montgomery <Melanie-           Revan McQueen <Revan-            "betts.gina@dorsey.com"                     Re: Attorney Client    Confidential communication between AMc employee
       Communications;                                         Montgomery@am.com>                    McQueen@am.com>;             <betts.gina@dorsey.com>;                       Communication        and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                          "madrid.jay@dorsey.com"<madrid.j "SRyan@mwe.com"<SRyan@m                                                   & Emery for purposes of obtaining legal advice
                                                                                                        ay@dorsey.com>            we.com>; Bill Winkler <bill-                                         regarding drafting correspondence to NRA, and work
                                                                                                                                  winkler@am.com>; "Lacey                                                   product created in anticipation of litigation.
                                                                                                                                     (Duffy) Cremer"<lacey-
                                                                                                                                        cremer@am.com>




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  #     Privilege Type       Record Type       Document Date             Email From                        Email To                       Email CC              Email BCC        Email Subject                        Privilege Description
1095    Attorney-Client        Message         9/24/2018 23:14   Melanie Montgomery <Melanie-      "madrid.jay@dorsey.com"        Revan McQueen <Revan-                        Re: Attorney Client    Confidential communication between AMc employee
       Communications;                                              Montgomery@am.com>             <madrid.jay@dorsey.com>          McQueen@am.com>;                            Communication        and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                          "betts.gina@dorsey.com"<betts.                                            & Emery for purposes of obtaining legal advice
                                                                                                                                     gina@dorsey.com>;                                                regarding drafting correspondence to NRA, and work
                                                                                                                                     "SRyan@mwe.com"                                                       product created in anticipation of litigation.
                                                                                                                                 <SRyan@mwe.com>; Bill
                                                                                                                                         Winkler<bill-
                                                                                                                                 winkler@am.com>; "Lacey
                                                                                                                                   (Duffy) Cremer" <lacey-
                                                                                                                                      cremer@am.com>
1096    Attorney-Client   Message_Attachment   9/24/2018 23:14                                                                                                                                        Confidential communication between AMc employee
       Communications;                                                                                                                                                                               and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                                                    & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                      regarding drafting correspondence to NRA, and work
                                                                                                                                                                                                           product created in anticipation of litigation.
1097    Attorney-Client        Message         9/24/2018 23:14   Melanie Montgomery <Melanie-      "madrid.jay@dorsey.com"        Revan McQueen <Revan-                        Re: Attorney Client    Confidential communication between AMc employee
       Communications;                                              Montgomery@am.com>             <madrid.jay@dorsey.com>          McQueen@am.com>;                            Communication        and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                          "betts.gina@dorsey.com"<betts.                                            & Emery for purposes of obtaining legal advice
                                                                                                                                     gina@dorsey.com>;                                                regarding drafting correspondence to NRA, and work
                                                                                                                                     "SRyan@mwe.com"                                                       product created in anticipation of litigation.
                                                                                                                                 <SRyan@mwe.com>; Bill
                                                                                                                                         Winkler<bill-
                                                                                                                                 winkler@am.com>; "Lacey
                                                                                                                                   (Duffy) Cremer" <lacey-
                                                                                                                                      cremer@am.com>
1098    Attorney-Client   Message_Attachment   9/24/2018 23:14                                                                                                                                        Confidential communication between AMc employee
       Communications;                                                                                                                                                                               and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                                                    & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                      regarding drafting correspondence to NRA, and work
                                                                                                                                                                                                           product created in anticipation of litigation.
1099    Attorney-Client        Message         9/25/2018 7:25      <madrid.jay@dorsey.com>      <Melanie-Montgomery@am.com> <Revan-McQueen@am.com>;                            Re: Attorney Client    Confidential communication between AMc employee
       Communications;                                                                                                       <betts.gina@dorsey.com>;                           Communication        and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                        <SRyan@mwe.com>; <bill-                                                     & Emery for purposes of obtaining legal advice
                                                                                                                             winkler@am.com>; <lacey-                                                 regarding drafting correspondence to NRA, and work
                                                                                                                                 cremer@am.com>                                                            product created in anticipation of litigation.
1100                      Message_Attachment   9/25/2018 7:25                                                                                                                                          Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                       file). Not privileged.
1101                      Message_Attachment   9/25/2018 7:25                                                                                                                                          Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                       file). Not privileged.
1102    Attorney-Client        Message         9/25/2018 7:35      <betts.gina@dorsey.com>      <Melanie-Montgomery@am.com>      <madrid.jay@dorsey.com>;                      Re: Attorney Client    Confidential communication between AMc employee
       Communications;                                                                                                          <Revan-McQueen@am.com>;                         Communication        and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                            <SRyan@mwe.com>; <bill-                                                 & Emery for purposes of obtaining legal advice
                                                                                                                                 winkler@am.com>; <lacey-                                             regarding drafting correspondence to NRA, and work
                                                                                                                                     cremer@am.com>                                                        product created in anticipation of litigation.
1103                      Message_Attachment   9/25/2018 7:35                                                                                                                                          Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                       file). Not privileged.
1104                      Message_Attachment   9/25/2018 7:35                                                                                                                                          Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                       file). Not privileged.




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  #     Privilege Type       Record Type       Document Date         Email From                    Email To                     Email CC               Email BCC        Email Subject                        Privilege Description
1105    Attorney-Client        Message         9/25/2018 7:45   Revan McQueen <Revan-     "betts.gina@dorsey.com"        "madrid.jay@dorsey.com"                      Re: Attorney Client    Confidential communication between AMc employee
       Communications;                                           McQueen@am.com>         <betts.gina@dorsey.com>;       <madrid.jay@dorsey.com>;                       Communication        and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                   Melanie Montgomery<Melanie-   "SRyan@mwe.com"<SRyan@m                                                   & Emery for purposes of obtaining legal advice
                                                                                           Montgomery@am.com>           we.com>; Bill Winkler <bill-                                         regarding drafting correspondence to NRA, and work
                                                                                                                        winkler@am.com>; "Lacey                                                   product created in anticipation of litigation.
                                                                                                                          (Duffy) Cremer"<lacey-
                                                                                                                            cremer@am.com>
1106    Attorney-Client   Message_Attachment   9/25/2018 7:45                                                                                                                                Confidential communication between AMc employee
       Communications;                                                                                                                                                                      and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                                           & Emery for purposes of obtaining legal advice
                                                                                                                                                                                             regarding drafting correspondence to NRA, and work
                                                                                                                                                                                                  product created in anticipation of litigation.
1107    Attorney-Client        Message         9/25/2018 7:45   Revan McQueen <Revan-     "betts.gina@dorsey.com"        "madrid.jay@dorsey.com"                      Re: Attorney Client    Confidential communication between AMc employee
       Communications;                                           McQueen@am.com>         <betts.gina@dorsey.com>;       <madrid.jay@dorsey.com>;                       Communication        and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                   Melanie Montgomery<Melanie-   "SRyan@mwe.com"<SRyan@m                                                   & Emery for purposes of obtaining legal advice
                                                                                           Montgomery@am.com>           we.com>; Bill Winkler <bill-                                         regarding drafting correspondence to NRA, and work
                                                                                                                        winkler@am.com>; "Lacey                                                   product created in anticipation of litigation.
                                                                                                                          (Duffy) Cremer"<lacey-
                                                                                                                            cremer@am.com>
1108    Attorney-Client   Message_Attachment   9/25/2018 7:45                                                                                                                                Confidential communication between AMc employee
       Communications;                                                                                                                                                                      and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                                           & Emery for purposes of obtaining legal advice
                                                                                                                                                                                             regarding drafting correspondence to NRA, and work
                                                                                                                                                                                                  product created in anticipation of litigation.
1109    Attorney-Client        Message         9/25/2018 8:50   Revan McQueen <Revan-     "betts.gina@dorsey.com"        "madrid.jay@dorsey.com"                      Re: Attorney Client    Confidential communication between AMc employee
       Communications;                                           McQueen@am.com>         <betts.gina@dorsey.com>;       <madrid.jay@dorsey.com>;                       Communication        and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                   Melanie Montgomery<Melanie-   "SRyan@mwe.com"<SRyan@m                                                   & Emery for purposes of obtaining legal advice
                                                                                           Montgomery@am.com>           we.com>; Bill Winkler <bill-                                         regarding drafting correspondence to NRA, and work
                                                                                                                        winkler@am.com>; "Lacey                                                   product created in anticipation of litigation.
                                                                                                                          (Duffy) Cremer"<lacey-
                                                                                                                            cremer@am.com>
1110    Attorney-Client   Message_Attachment   9/25/2018 8:50                                                                                                                                Confidential communication between AMc employee
       Communications;                                                                                                                                                                      and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                                           & Emery for purposes of obtaining legal advice
                                                                                                                                                                                             regarding drafting correspondence to NRA, and work
                                                                                                                                                                                                  product created in anticipation of litigation.
1111    Attorney-Client        Message         9/25/2018 8:50   Revan McQueen <Revan-     "betts.gina@dorsey.com"        "madrid.jay@dorsey.com"                      Re: Attorney Client    Confidential communication between AMc employee
       Communications;                                           McQueen@am.com>         <betts.gina@dorsey.com>;       <madrid.jay@dorsey.com>;                       Communication        and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                   Melanie Montgomery<Melanie-   "SRyan@mwe.com"<SRyan@m                                                   & Emery for purposes of obtaining legal advice
                                                                                           Montgomery@am.com>           we.com>; Bill Winkler <bill-                                         regarding drafting correspondence to NRA, and work
                                                                                                                        winkler@am.com>; "Lacey                                                   product created in anticipation of litigation.
                                                                                                                          (Duffy) Cremer"<lacey-
                                                                                                                            cremer@am.com>
1112    Attorney-Client   Message_Attachment   9/25/2018 8:50                                                                                                                                Confidential communication between AMc employee
       Communications;                                                                                                                                                                      and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                                           & Emery for purposes of obtaining legal advice
                                                                                                                                                                                             regarding drafting correspondence to NRA, and work
                                                                                                                                                                                                  product created in anticipation of litigation.




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                                                       Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21                                                         Page 454 of 1087 PageID 30659
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  #     Privilege Type       Record Type       Document Date                Email From                         Email To                          Email CC                Email BCC          Email Subject                             Privilege Description
1113    Attorney-Client        Message         9/25/2018 8:51        <betts.gina@dorsey.com>          <Revan-McQueen@am.com>;            <madrid.jay@dorsey.com>;                         RE: Attorney Client       Confidential communication between AMc employee
       Communications;                                                                               <Melanie-Montgomery@am.com>         <SRyan@mwe.com>; <bill-                           Communication           and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                    winkler@am.com>; <lacey-                                                      & Emery for purposes of obtaining legal advice
                                                                                                                                             cremer@am.com>                                                         regarding drafting correspondence to NRA, and work
                                                                                                                                                                                                                          product created in anticipation of litigation.
1114   Attorney-Client         Message         9/25/2018 8:55        Revan McQueen <Revan-               "betts.gina@dorsey.com"                                                     Attorney Client Communication Confidential communication between AMc employee
       Communications                                                 McQueen@am.com>                   <betts.gina@dorsey.com>;                                                                                   and counsel at Dorsey & Whitney and McDermott Will
                                                                                                     "madrid.jay@dorsey.com"<madrid.j                                                                                  & Emery for purposes of obtaining legal advice
                                                                                                             ay@dorsey.com>;                                                                                        regarding S. Hart review of North Contract and AMc
                                                                                                            "SRyan@mwe.com"                                                                                        business relationship with NRA; work product created
                                                                                                           <SRyan@mwe.com>                                                                                                   in anticipation of litigation relating to
                                                                                                                                                                                                                     Lockton/CarryGuard and state agency investigations
                                                                                                                                                                                                                    into the NRA, and litigation anticipated by AMc from
                                                                                                                                                                                                                      the NRA as a result of, in large part, Bill Brewer's
                                                                                                                                                                                                                                       threats against AMc.
1115   Attorney-Client         Message         9/25/2018 9:00        <betts.gina@dorsey.com>           <SRyan@mwe.com>; <Revan-           <madrid.jay@dorsey.com>                         RE: Attorney Client       Confidential communication between AMc employee
       Communications                                                                                     McQueen@am.com>                                                                   Communication          and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                                                                                                       & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                          regarding S. Hart review of North Contract.
1116    Attorney-Client        Message         9/25/2018 9:17     Melanie Montgomery <Melanie-          "madrid.jay@dorsey.com"            "betts.gina@dorsey.com"                         Re: Attorney Client      Confidential communication between AMc employee
       Communications;                                               Montgomery@am.com>                 <madrid.jay@dorsey.com>           <betts.gina@dorsey.com>;                          Communication          and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                   "SRyan@mwe.com"<SRyan@m                                                        & Emery for purposes of obtaining legal advice
                                                                                                                                          we.com>; Bill Winkler <bill-                                              regarding drafting correspondence to NRA, and work
                                                                                                                                          winkler@am.com>; "Lacey                                                         product created in anticipation of litigation.
                                                                                                                                             (Duffy) Cremer"<lacey-
                                                                                                                                           cremer@am.com>; Revan
                                                                                                                                               McQueen <Revan-
                                                                                                                                              McQueen@am.com>
1117                      Message_Attachment   9/25/2018 9:17                                                                                                                                                         Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                      file). Not privileged.
1118                      Message_Attachment   9/25/2018 9:17                                                                                                                                                         Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                      file). Not privileged.
1119    Attorney-Client        Message         9/25/2018 9:17   Bill Winkler <bill-winkler@am.com>    Melanie Montgomery <Melanie-         Revan McQueen <Revan-                          Re: Attorney Client        Confidential communication between AMc employee
       Communications;                                                                                   Montgomery@am.com>                  McQueen@am.com>;                              Communication            and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                   "madrid.jay@dorsey.com"<madr                                                    & Emery for purposes of obtaining legal advice
                                                                                                                                             id.jay@dorsey.com>;                                                     regarding drafting correspondence to NRA, and work
                                                                                                                                           "betts.gina@dorsey.com"                                                        product created in anticipation of litigation.
                                                                                                                                          <betts.gina@dorsey.com>;
                                                                                                                                              "SRyan@mwe.com"
                                                                                                                                         <SRyan@mwe.com>; "Lacey
                                                                                                                                            (Duffy) Cremer" <lacey-
                                                                                                                                               cremer@am.com>




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  #     Privilege Type       Record Type       Document Date                Email From                         Email To                            Email CC            Email BCC          Email Subject                             Privilege Description
1120    Attorney-Client        Message         9/25/2018 9:17   Bill Winkler <bill-winkler@am.com>    Melanie Montgomery <Melanie-         Revan McQueen <Revan-                        Re: Attorney Client         Confidential communication between AMc employee
       Communications;                                                                                   Montgomery@am.com>                  McQueen@am.com>;                            Communication             and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                   "madrid.jay@dorsey.com"<madr                                                   & Emery for purposes of obtaining legal advice
                                                                                                                                             id.jay@dorsey.com>;                                                    regarding drafting correspondence to NRA, and work
                                                                                                                                           "betts.gina@dorsey.com"                                                       product created in anticipation of litigation.
                                                                                                                                          <betts.gina@dorsey.com>;
                                                                                                                                              "SRyan@mwe.com"
                                                                                                                                         <SRyan@mwe.com>; "Lacey
                                                                                                                                            (Duffy) Cremer" <lacey-
                                                                                                                                               cremer@am.com>
1121    Attorney-Client        Message         9/25/2018 9:19        <betts.gina@dorsey.com>           <madrid.jay@dorsey.com>;                                                      FW: [Ackerman] Letter to       Confidential communication between AMc employee
       Communications;                                                                                <Revan-McQueen@am.com>;                                                              Steve Hart              and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                   <bill-winkler@am.com>;                                                                                         & Emery for purposes of obtaining legal advice
                                                                                                      <Brandon-Winkler@am.com>;                                                                                     regarding drafting correspondence to NRA, and work
                                                                                                                <Melanie-                                                                                                product created in anticipation of litigation.
                                                                                                        Montgomery@am.com>;
1122    Attorney-Client   Message_Attachment   9/25/2018 9:19                                                                                                                      Letter to Steve Hart - Letter to Confidential communication between AMc employee
       Communications;                                                                                                                                                                      Steve Hart(1)           and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                                                                   & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                     regarding drafting correspondence to NRA, and work
                                                                                                                                                                                                                          product created in anticipation of litigation.
1123    Attorney-Client   Message_Attachment   9/25/2018 9:19                                                                                                                                                        Confidential communication between AMc employee
       Communications;                                                                                                                                                                                              and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                                                                   & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                     regarding drafting correspondence to NRA, and work
                                                                                                                                                                                                                          product created in anticipation of litigation.
1124    Attorney-Client        Message         9/25/2018 9:22   Bill Winkler <bill-winkler@am.com>        "betts.gina@dorsey.com"                                                  RE: [Ackerman] Letter to Steve Confidential communication between AMc employee
       Communications;                                                                                   <betts.gina@dorsey.com>;                                                                Hart               and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                "madrid.jay@dorsey.com"<madrid.j                                                                                   & Emery for purposes of obtaining legal advice
                                                                                                     ay@dorsey.com>; Revan McQueen                                                                                   regarding drafting correspondence to NRA, and work
                                                                                                       <Revan-McQueen@am.com>;                                                                                            product created in anticipation of litigation.
                                                                                                       "Brandon Winkler" <Brandon-
                                                                                                        Winkler@am.com>; Melanie
                                                                                                           Montgomery<Melanie-
                                                                                                          Montgomery@am.com>;
                                                                                                            "SRyan@mwe.com"
                                                                                                            <SRyan@mwe.com>

1125    Attorney-Client        Message         9/25/2018 9:22   Bill Winkler <bill-winkler@am.com>        "betts.gina@dorsey.com"                                                  RE: [Ackerman] Letter to Steve Confidential communication between AMc employee
       Communications;                                                                                   <betts.gina@dorsey.com>;                                                             Hart                and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                "madrid.jay@dorsey.com"<madrid.j                                                                                 & Emery for purposes of obtaining legal advice
                                                                                                     ay@dorsey.com>; Revan McQueen                                                                                 regarding drafting correspondence to NRA, and work
                                                                                                       <Revan-McQueen@am.com>;                                                                                          product created in anticipation of litigation.
                                                                                                       "Brandon Winkler" <Brandon-
                                                                                                        Winkler@am.com>; Melanie
                                                                                                           Montgomery<Melanie-
                                                                                                          Montgomery@am.com>;
                                                                                                            "SRyan@mwe.com"
                                                                                                            <SRyan@mwe.com>




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  #     Privilege Type       Record Type       Document Date            Email From                         Email To                        Email CC           Email BCC          Email Subject                            Privilege Description
1126    Attorney-Client        Message         9/25/2018 9:31      Revan McQueen <Revan-              Bill Winkler <bill-          "betts.gina@dorsey.com"                Re: [Ackerman] Letter to Steve Confidential communication between AMc employee
       Communications;                                              McQueen@am.com>                   winkler@am.com>             <betts.gina@dorsey.com>;                            Hart               and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                          "madrid.jay@dorsey.com"<madr                                                  & Emery for purposes of obtaining legal advice
                                                                                                                                id.jay@dorsey.com>; Brandon                                               regarding drafting correspondence to NRA, and work
                                                                                                                                       Winkler <Brandon-                                                       product created in anticipation of litigation.
                                                                                                                                Winkler@am.com>; "Melanie
                                                                                                                                    Montgomery" <Melanie-
                                                                                                                                   Montgomery@am.com>;
                                                                                                                                      "SRyan@mwe.com"
                                                                                                                                     <SRyan@mwe.com>
1127                      Message_Attachment   9/25/2018 9:31                                                                                                                                              Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                           file). Not privileged.
1128    Attorney-Client        Message         9/25/2018 9:31      Revan McQueen <Revan-              Bill Winkler <bill-          "betts.gina@dorsey.com"                Re: [Ackerman] Letter to Steve Confidential communication between AMc employee
       Communications;                                              McQueen@am.com>                   winkler@am.com>             <betts.gina@dorsey.com>;                            Hart               and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                          "madrid.jay@dorsey.com"<madr                                                  & Emery for purposes of obtaining legal advice
                                                                                                                                id.jay@dorsey.com>; Brandon                                               regarding drafting correspondence to NRA, and work
                                                                                                                                       Winkler <Brandon-                                                       product created in anticipation of litigation.
                                                                                                                                Winkler@am.com>; "Melanie
                                                                                                                                    Montgomery" <Melanie-
                                                                                                                                   Montgomery@am.com>;
                                                                                                                                      "SRyan@mwe.com"
                                                                                                                                     <SRyan@mwe.com>
1129                      Message_Attachment   9/25/2018 9:31                                                                                                                                              Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                           file). Not privileged.
1130    Attorney-Client        Message         9/25/2018 10:20    <haydon.jean@dorsey.com>       <Revan-McQueen@am.com>;         <madrid.jay@dorsey.com>;                     FW: Copy of Letter.pdf        AMc employee internally forwarding confidential
       Communications;                                                                             <bill-winkler@am.com>;         <betts.gina@dorsey.com>                                                 communication between AMc employee and counsel at
         Work Product                                                                            <brandon-winkler@am.com>;                                                                                  Dorsey & Whitney for purposes of obtaining legal
                                                                                                <Melanie-Montgomery@am.com>                                                                                 advice regarding NRA request for documents, and
                                                                                                                                                                                                             work product created in anticipation of litigation.
1131   Attorney-Client    Message_Attachment   9/25/2018 10:20                                                                                                                                              AMc employee internally forwarding confidential
       Communications                                                                                                                                                                                     communication between AMc employee and counsel at
                                                                                                                                                                                                            Dorsey & Whitney for purposes of obtaining legal
                                                                                                                                                                                                              advice regarding NRA request for documents.
1132    Attorney-Client        Message         9/25/2018 10:26   Melanie Montgomery <Melanie-       Nader Tavangar <nader-                                                   Fwd: Copy of Letter.pdf        AMc employee internally forwarding confidential
       Communications;                                              Montgomery@am.com>               tavangar@am.com>                                                                                     communication between AMc employee and counsel at
         Work Product                                                                                                                                                                                       Dorsey & Whitney for purposes of obtaining legal
                                                                                                                                                                                                            advice regarding NRA request for documents, and
                                                                                                                                                                                                             work product created in anticipation of litigation.
1133    Attorney-Client   Message_Attachment   9/25/2018 10:26                                                                                                                                              AMc employee internally forwarding confidential
       Communications;                                                                                                                                                                                    communication between AMc employee and counsel at
         Work Product                                                                                                                                                                                       Dorsey & Whitney for purposes of obtaining legal
                                                                                                                                                                                                            advice regarding NRA request for documents, and
                                                                                                                                                                                                             work product created in anticipation of litigation.
1134    Attorney-Client   Message_Attachment   9/25/2018 10:26                                                                                                                                              AMc employee internally forwarding confidential
       Communications;                                                                                                                                                                                    communication between AMc employee and counsel at
         Work Product                                                                                                                                                                                       Dorsey & Whitney for purposes of obtaining legal
                                                                                                                                                                                                            advice regarding NRA request for documents, and
                                                                                                                                                                                                             work product created in anticipation of litigation.




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  #     Privilege Type       Record Type       Document Date             Email From                     Email To                       Email CC          Email BCC         Email Subject                         Privilege Description
1135    Attorney-Client   Message_Attachment   9/25/2018 10:26                                                                                                                                     AMc employee internally forwarding confidential
       Communications;                                                                                                                                                                           communication between AMc employee and counsel at
         Work Product                                                                                                                                                                              Dorsey & Whitney for purposes of obtaining legal
                                                                                                                                                                                                   advice regarding NRA request for documents, and
                                                                                                                                                                                                    work product created in anticipation of litigation.
1136    Attorney-Client   Message_Attachment   9/25/2018 10:26                                                                                                                                     AMc employee internally forwarding confidential
       Communications;                                                                                                                                                                           communication between AMc employee and counsel at
         Work Product                                                                                                                                                                              Dorsey & Whitney for purposes of obtaining legal
                                                                                                                                                                                                   advice regarding NRA request for documents, and
                                                                                                                                                                                                    work product created in anticipation of litigation.
1137    Attorney-Client        Message         9/25/2018 10:56     Revan McQueen <Revan-         Anthony Makris <Anthony-                                              Fwd: Copy of Letter.pdf    Confidential communication between AMc employee
       Communications;                                              McQueen@am.com>                  makris@am.com>                                                                                and counsel at Dorsey & Whitney for purposes of
         Work Product                                                                                                                                                                              obtaining legal advice regarding NRA request for
                                                                                                                                                                                                 documents, and work product created in anticipation of
                                                                                                                                                                                                                          litigation.
1138                      Message_Attachment   9/25/2018 10:56                                                                                                                                    Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                   file). Not privileged.
1139    Attorney-Client   Message_Attachment   9/25/2018 10:56                                                                                                                                     AMc employee internally forwarding confidential
       Communications;                                                                                                                                                                           communication between AMc employee and counsel at
         Work Product                                                                                                                                                                              Dorsey & Whitney for purposes of obtaining legal
                                                                                                                                                                                                   advice regarding NRA request for documents, and
                                                                                                                                                                                                    work product created in anticipation of litigation.
1140    Attorney-Client   Message_Attachment   9/25/2018 10:56                                                                                                                                    Confidential communication between AMc employee
       Communications;                                                                                                                                                                             and counsel at Dorsey & Whitney for purposes of
         Work Product                                                                                                                                                                              obtaining legal advice regarding NRA request for
                                                                                                                                                                                                 documents, and work product created in anticipation of
                                                                                                                                                                                                                          litigation.
1141                      Message_Attachment   9/25/2018 10:56                                                                                                                                    Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                   file). Not privileged.
1142    Attorney-Client        Message         9/25/2018 11:00   Melanie Montgomery <Melanie-     Angus McQueen <angus-                                                Fwd: Copy of Letter.pdf     AMc employee internally forwarding confidential
       Communications;                                              Montgomery@am.com>          mcqueen@am.com>; Anthony                                                                         communication between AMc employee and counsel at
         Work Product                                                                                Makris<Anthony-                                                                               Dorsey & Whitney for purposes of obtaining legal
                                                                                                     makris@am.com>                                                                                advice regarding NRA request for documents, and
                                                                                                                                                                                                    work product created in anticipation of litigation.
1143                      Message_Attachment   9/25/2018 11:00                                                                                                                                    Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                   file). Not privileged.
1144    Work Product      Message_Attachment   9/25/2018 11:00                                                                                                                                     AMc employee internally forwarding confidential
                                                                                                                                                                                                 communication between AMc employee and counsel at
                                                                                                                                                                                                   Dorsey & Whitney for purposes of obtaining legal
                                                                                                                                                                                                     advice regarding NRA request for documents.
1145    Attorney-Client   Message_Attachment   9/25/2018 11:00                                                                                                                                     AMc employee internally forwarding confidential
       Communications;                                                                                                                                                                           communication between AMc employee and counsel at
         Work Product                                                                                                                                                                              Dorsey & Whitney for purposes of obtaining legal
                                                                                                                                                                                                   advice regarding NRA request for documents, and
                                                                                                                                                                                                    work product created in anticipation of litigation.
1146                      Message_Attachment   9/25/2018 11:00                                                                                                                                    Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                   file). Not privileged.
1147   Attorney-Client         Message         9/25/2018 11:10     Revan McQueen <Revan-           "SRyan@mwe.com"                                                     Fwd: Copy of Letter.pdf    Confidential communication between AMc employee
       Communications                                               McQueen@am.com>                <SRyan@mwe.com>                                                                               and counsel at McDermott Will & Emery for purposes
                                                                                                                                                                                                   of obtaining legal advice regarding AMc business
                                                                                                                                                                                                                 relationship with NRA.



                                                                                                                            Page 106 of 194
                                                                                                                                                                                                                                   APP. 01214
                                                       Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21                                                Page 458 of 1087 PageID 30663
                                                                                                                       AMC Second Amended Privilege Log


  #     Privilege Type       Record Type       Document Date                Email From                        Email To                        Email CC          Email BCC           Email Subject                            Privilege Description
1148                      Message_Attachment   9/25/2018 11:10                                                                                                                                               Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                              file). Not privileged.
1149                      Message_Attachment   9/25/2018 11:10                                                                                                                                              Letter from J. Madrid to S. Hart dated 9/25/18 attached
                                                                                                                                                                                                                       to privilege email. Not privileged.
1150                      Message_Attachment   9/25/2018 11:10                                                                                                                                               Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                              file). Not privileged.
1151                      Message_Attachment   9/25/2018 11:10                                                                                                                                               Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                              file). Not privileged.
1152    Attorney-Client        Message         9/25/2018 12:14        Revan McQueen <Revan-                "Ryan, Stephen"                                                        Re: Attorney client        Confidential communication between AMc employee
       Communications;                                                 McQueen@am.com>                   <SRyan@mwe.com>                                                           communication.           and counsel at McDermott Will & Emery for purposes
         Work Product                                                                                                                                                                                        of obtaining legal advice regarding analysis of AMc's
                                                                                                                                                                                                                               business with NRA.
1153                      Message_Attachment   9/25/2018 12:14                                                                                                                                               Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                              file). Not privileged.
1154   Attorney-Client         Message         9/25/2018 12:19   "Ryan, Stephen" <SRyan@mwe.com>        Revan McQueen <Revan-                                                    RE: Attorney client         Confidential communication between AMc employee
       Communications                                                                                    McQueen@am.com>                                                           communication.           and counsel at McDermott Will & Emery for purposes
                                                                                                                                                                                                             of obtaining legal advice regarding analysis of AMc's
                                                                                                                                                                                                                               business with NRA.
1155   Attorney-Client         Message         9/25/2018 12:21        Revan McQueen <Revan-                "Ryan, Stephen"                                                        Re: Attorney client        Confidential communication between AMc employee
       Communications                                                  McQueen@am.com>                   <SRyan@mwe.com>                                                           communication.           and counsel at McDermott Will & Emery for purposes
                                                                                                                                                                                                             of obtaining legal advice regarding analysis of AMc's
                                                                                                                                                                                                                               business with NRA.
1156                      Message_Attachment   9/25/2018 12:21                                                                                                                                               Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                              file). Not privileged.
1157    Attorney-Client        Message         9/25/2018 12:48   "Ryan, Stephen" <SRyan@mwe.com>      "Revan McQueen - Ackerman                                             Attached: proposed final Letter Confidential communication between AMc employee
       Communications;                                                                                       McQueen (Revan-                                                       re work product.         and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                 McQueen@am.com)"<Revan-                                                                                   & Emery for purposes of obtaining legal advice
                                                                                                          McQueen@am.com>;                                                                                    regarding draft correspondence to NRA about Josh
                                                                                                         "betts.gina@dorsey.com"                                                                              Powell, and work product created in anticipation of
                                                                                                       <betts.gina@dorsey.com>;                                                                                                      litigation.
                                                                                                        "madrid.jay@dorsey.com"
                                                                                                       <madrid.jay@dorsey.com>
1158    Attorney-Client   Message_Attachment   9/25/2018 12:48                                                                                                                                               Confidential communication between AMc employee
       Communications;                                                                                                                                                                                      and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                                                            & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                               regarding draft correspondence to NRA about Josh
                                                                                                                                                                                                              Powell, and work product created in anticipation of
                                                                                                                                                                                                                                      litigation.
1159   Attorney-Client         Message         9/25/2018 13:30   Bill Winkler <bill-winkler@am.com>       "Gina Betts - Dorsey                                                 FW: Backup for OOP job        Confidential communication between AMc employee
       Communications                                                                                  (betts.gina@dorsey.com)"                                                                                 and counsel at Dorsey & Whitney for purposes of
                                                                                                       <betts.gina@dorsey.com>;                                                                                    obtaining legal advice regarding NRA billing
                                                                                                       "madrid.jay@dorsey.com"                                                                                relationship; work product created in anticipation of
                                                                                                       <madrid.jay@dorsey.com>                                                                                 litigation relating to Lockton/CarryGuard and state
                                                                                                                                                                                                                        agency investigations into the NRA.
1160    Attorney-Client        Message         9/25/2018 13:31   Bill Winkler <bill-winkler@am.com>       "Gina Betts - Dorsey                                               FW: letter coming overnight     Confidential communication between AMc employee
       Communications;                                                                                 (betts.gina@dorsey.com)"                                                                                 and counsel at Dorsey & Whitney for purposes of
         Work Product                                                                                  <betts.gina@dorsey.com>;                                                                                    obtaining legal advice regarding NRA billing
                                                                                                       "madrid.jay@dorsey.com"                                                                               relationship, and work product created in anticipation
                                                                                                       <madrid.jay@dorsey.com>                                                                                                       of litigation.
1161                      Message_Attachment   9/25/2018 13:31                                                                                                                                                    Letter to W. Phillips dated 9/12/18 attached to
                                                                                                                                                                                                                          privileged email. Not privileged.



                                                                                                                                   Page 107 of 194
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                                                       Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21                                                         Page 459 of 1087 PageID 30664
                                                                                                                          AMC Second Amended Privilege Log


  #     Privilege Type       Record Type       Document Date               Email From                           Email To                       Email CC                   Email BCC        Email Subject                              Privilege Description
1162    Attorney-Client        Message         9/25/2018 13:36        Revan McQueen <Revan-                 "SRyan@mwe.com"                                                            NRA-Exec-Sum-Aug-2018-       Confidential communication between AMc employee
       Communications;                                                 McQueen@am.com>                      <SRyan@mwe.com>                                                                  RV6[3].pdf             and counsel at McDermott Will & Emery for purposes
         Work Product                                                                                                                                                                                                     of obtaining legal advice regarding NRATV
                                                                                                                                                                                                                    performance, and work product created in anticipation
                                                                                                                                                                                                                                             of litigation.
1163                      Message_Attachment   9/25/2018 13:36                                                                                                                                                       Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                        file). Not privileged.
1164    Attorney-Client   Message_Attachment   9/25/2018 13:36                                                                                                                                                      Confidential communication between AMc employee
       Communications;                                                                                                                                                                                              and counsel at McDermott Will & Emery for purposes
         Work Product                                                                                                                                                                                                     of obtaining legal advice regarding NRATV
                                                                                                                                                                                                                    performance, and work product created in anticipation
                                                                                                                                                                                                                                             of litigation.
1165    Attorney-Client        Message         9/25/2018 14:26       <madrid.jay@dorsey.com>              <bill-winkler@am.com>          <betts.gina@dorsey.com>                           RE: Response to letter    Confidential communication between AMc employee
       Communications;                                                                                                                                                                                                 and counsel at Dorsey & Whitney for purposes of
         Work Product                                                                                                                                                                                                    obtaining legal advice regarding NRA billing
                                                                                                                                                                                                                    relationship, and work product created in anticipation
                                                                                                                                                                                                                                             of litigation.
1166    Attorney-Client        Message         9/25/2018 14:30   Bill Winkler <bill-winkler@am.com>      "madrid.jay@dorsey.com"         "betts.gina@dorsey.com"                           RE: Response to letter    Confidential communication between AMc employee
       Communications;                                                                                   <madrid.jay@dorsey.com>         <betts.gina@dorsey.com>                                                       and counsel at Dorsey & Whitney for purposes of
         Work Product                                                                                                                                                                                                    obtaining legal advice regarding NRA billing
                                                                                                                                                                                                                    relationship, and work product created in anticipation
                                                                                                                                                                                                                                             of litigation.
1167                      Message_Attachment   9/25/2018 14:30                                                                                                                                                           Letter to W. Phillips dated 8/15/18 attached to
                                                                                                                                                                                                                                 privileged email. Not privileged.
1168    Attorney-Client        Message         9/25/2018 15:25   Bill Winkler <bill-winkler@am.com>       "betts.gina@dorsey.com"                                                         Fwd: Response to letter    Confidential communication between AMc employee
       Communications;                                                                                   <betts.gina@dorsey.com>;                                                                                      and counsel at Dorsey & Whitney for purposes of
         Work Product                                                                                 "madrid.jay@dorsey.com"<madrid.j                                                                                   obtaining legal advice regarding NRA billing
                                                                                                               ay@dorsey.com>                                                                                       relationship, and work product created in anticipation
                                                                                                                                                                                                                                             of litigation.
1169                      Message_Attachment   9/25/2018 15:25                                                                                                                                                       Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                        file). Not privileged.
1170                      Message_Attachment   9/25/2018 15:25                                                                                                                           SKM_C36818092515240          Letter from J. Powell to W. Winkler dated 9/25/18
                                                                                                                                                                                                                          attached to privileged email. Not privileged.
1171                      Message_Attachment   9/25/2018 15:25                                                                                                                                                          Email from L. Supernaugh to W. Winkler dated
                                                                                                                                                                                                                     9/25/18 attached to privileged email. Not privileged.
1172                      Message_Attachment   9/25/2018 15:25                                                                                                                                                       Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                        file). Not privileged.
1173   Attorney-Client         Message         9/25/2018 15:26     "Lacey (Duffy) Cremer" <lacey-         "betts.gina@dorsey.com"                                                         FW: Response to letter    Confidential communication between AMc employee
       Communications                                                    cremer@am.com>                   <betts.gina@dorsey.com>                                                                                      and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                                        obtaining legal advice regarding AMc business
                                                                                                                                                                                                                                      relationship with NRA.
1174                      Message_Attachment   9/25/2018 15:26                                                                                                                           SKM_C36818092515240          Letter from J. Powell to W. Winkler dated 9/25/18
                                                                                                                                                                                                                          attached to privileged email. Not privileged.
1175   Attorney-Client         Message         9/25/2018 15:36        Revan McQueen <Revan-                 "SRyan@mwe.com"                                                           Attorney Client Communication Confidential communication between AMc employee
       Communications                                                  McQueen@am.com>                      <SRyan@mwe.com>                                                                                         and counsel at McDermott Will & Emery for purposes
                                                                                                                                                                                                                          of obtaining legal advice regarding Brewer's
                                                                                                                                                                                                                                      representation of NRA.
1176    Attorney-Client        Message         9/25/2018 15:49        Revan McQueen <Revan-                 "SRyan@mwe.com"                                                           Attorney Client Communication Confidential communication between AMc employee
       Communications;                                                 McQueen@am.com>                      <SRyan@mwe.com>                                                                                         and counsel at McDermott Will & Emery for purposes
         Work Product                                                                                                                                                                                                 of obtaining legal advice regarding AMc's business
                                                                                                                                                                                                                                      relationship with NRA.



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                                                                                                                        AMC Second Amended Privilege Log


  #    Privilege Type        Record Type       Document Date                 Email From                          Email To                       Email CC               Email BCC       Email Subject                           Privilege Description
1177   Attorney-Client         Message         9/25/2018 16:43   Bill Winkler <bill-winkler@am.com>     Revan McQueen <Revan-              "Gina Betts - Dorsey                      FW: Response Letter       Confidential communication between AMc employee
       Communications                                                                                 McQueen@am.com>; Brandon         (betts.gina@dorsey.com)"                                                  and counsel at Dorsey & Whitney for purposes of
                                                                                                            Winkler<Brandon-           <betts.gina@dorsey.com>;                                                obtaining legal advice regarding correspondence from
                                                                                                      Winkler@am.com>; Melanie         "madrid.jay@dorsey.com"                                                                          NRA.
                                                                                                         Montgomery <Melanie-          <madrid.jay@dorsey.com>
                                                                                                     Montgomery@am.com>; "Lacey
                                                                                                         (Duffy) Cremer" <lacey-
                                                                                                            cremer@am.com>
1178   Attorney-Client         Message         9/25/2018 16:45   Bill Winkler <bill-winkler@am.com>     "betts.gina@dorsey.com"         Revan McQueen <Revan-                       RE: Response to letter     Confidential communication between AMc employee
       Communications                                                                                  <betts.gina@dorsey.com>;      McQueen@am.com>; Brandon                                                    and counsel at Dorsey & Whitney for purposes of
                                                                                                    "madrid.jay@dorsey.com"<madrid.j        Winkler<Brandon-                                                   obtaining legal advice regarding correspondence from
                                                                                                             ay@dorsey.com>           Winkler@am.com>; Melanie                                                                          NRA.
                                                                                                                                         Montgomery <Melanie-
                                                                                                                                        Montgomery@am.com>;
                                                                                                                                     "Lacey (Duffy) Cremer" <lacey-
                                                                                                                                            cremer@am.com>
1179   Attorney-Client         Message         9/25/2018 16:53        <madrid.jay@dorsey.com>           <bill-winkler@am.com>;       <Revan-McQueen@am.com>;                        RE: Response to letter     Confidential communication between AMc employee
       Communications                                                                                   <betts.gina@dorsey.com>      <Brandon-Winkler@am.com>;                                                   and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                 <Melanie-                                                     obtaining legal advice regarding correspondence from
                                                                                                                                        Montgomery@am.com>;                                                                             NRA.
                                                                                                                                        <lacey-cremer@am.com>
1180   Attorney-Client         Message         9/25/2018 16:57     Melanie Montgomery <Melanie-        "madrid.jay@dorsey.com"              Bill Winkler <bill-                     Re: Response to letter     Confidential communication between AMc employee
       Communications                                                  Montgomery@am.com>              <madrid.jay@dorsey.com>             winkler@am.com>;                                                      and counsel at Dorsey & Whitney for purposes of
                                                                                                                                     "betts.gina@dorsey.com"<betts.                                            obtaining legal advice regarding draft correspondence
                                                                                                                                       gina@dorsey.com>; Revan                                                                      to the NRA.
                                                                                                                                            McQueen <Revan-
                                                                                                                                     McQueen@am.com>; "Brandon
                                                                                                                                           Winkler" <Brandon-
                                                                                                                                       Winkler@am.com>; "Lacey
                                                                                                                                         (Duffy) Cremer"<lacey-
                                                                                                                                            cremer@am.com>
1181                      Message_Attachment   9/25/2018 16:57                                                                                                                                                  Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                file). Not privileged.
1182                      Message_Attachment   9/25/2018 16:57                                                                                                                                                  Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                file). Not privileged.
1183    Attorney-Client        Message         9/25/2018 17:11       <madrid.jay@dorsey.com>             <bill-winkler@am.com>;      <Revan-McQueen@am.com>;                       FW: Letter to Josh Powell   Confidential communication between AMc employee
       Communications;                                                                                           <Melanie-            <betts.gina@dorsey.com>;                                                   and counsel at Dorsey & Whitney for purposes of
         Work Product                                                                                    Montgomery@am.com>;             <SRyan@mwe.com>                                                       obtaining legal advice regarding draft correspondence
                                                                                                       <Brandon-Winkler@am.com>                                                                                to the NRA, and work product created in anticipation
                                                                                                                                                                                                                                     of litigation.
1184    Attorney-Client   Message_Attachment   9/25/2018 17:11                                                                                                                                                 Confidential communication between AMc employee
       Communications;                                                                                                                                                                                           and counsel at Dorsey & Whitney for purposes of
         Work Product                                                                                                                                                                                          obtaining legal advice regarding draft correspondence
                                                                                                                                                                                                               to the NRA, and work product created in anticipation
                                                                                                                                                                                                                                     of litigation.
1185   Attorney-Client         Message         9/25/2018 17:12       <madrid.jay@dorsey.com>          <Melanie-Montgomery@am.com>      <bill-winkler@am.com>;                       RE: Response to letter     Confidential communication between AMc employee
       Communications                                                                                                                  <betts.gina@dorsey.com>;                                                  and counsel at Dorsey & Whitney for purposes of
                                                                                                                                     <Revan-McQueen@am.com>;                                                   obtaining legal advice regarding draft correspondence
                                                                                                                                     <Brandon-Winkler@am.com>;                                                                       to the NRA.
                                                                                                                                        <lacey-cremer@am.com>




                                                                                                                                  Page 109 of 194
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                                                       Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21                                                    Page 461 of 1087 PageID 30666
                                                                                                                         AMC Second Amended Privilege Log


  #    Privilege Type        Record Type       Document Date               Email From                            Email To                       Email CC                 Email BCC               Email Subject                          Privilege Description
1186   Attorney-Client         Message         9/25/2018 17:21     Melanie Montgomery <Melanie-          "madrid.jay@dorsey.com"           Bill Winkler <bill-                              Re: Letter to Josh Powell    Confidential communication between AMc employee
       Communications                                                 Montgomery@am.com>                 <madrid.jay@dorsey.com>      winkler@am.com>; Brandon                                                          and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                           Winkler<Brandon-                                                                & Emery for purposes of obtaining legal advice
                                                                                                                                       Winkler@am.com>; Revan                                                                regarding draft correspondence to the NRA.
                                                                                                                                           McQueen <Revan-
                                                                                                                                         McQueen@am.com>;
                                                                                                                                        "betts.gina@dorsey.com"
                                                                                                                                       <betts.gina@dorsey.com>;
                                                                                                                                     "SRyan@mwe.com"<SRyan@m
                                                                                                                                        we.com>; "Lacey (Duffy)
                                                                                                                                             Cremer" <lacey-
                                                                                                                                           cremer@am.com>
1187                      Message_Attachment   9/25/2018 17:21                                                                                                                                                           Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                         file). Not privileged.
1188   Attorney-Client         Message         9/25/2018 17:21     Melanie Montgomery <Melanie-          "madrid.jay@dorsey.com"           Bill Winkler <bill-                              Re: Letter to Josh Powell    Confidential communication between AMc employee
       Communications                                                 Montgomery@am.com>                 <madrid.jay@dorsey.com>      winkler@am.com>; Brandon                                                          and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                           Winkler<Brandon-                                                                & Emery for purposes of obtaining legal advice
                                                                                                                                       Winkler@am.com>; Revan                                                                regarding draft correspondence to the NRA.
                                                                                                                                           McQueen <Revan-
                                                                                                                                         McQueen@am.com>;
                                                                                                                                        "betts.gina@dorsey.com"
                                                                                                                                       <betts.gina@dorsey.com>;
                                                                                                                                     "SRyan@mwe.com"<SRyan@m
                                                                                                                                        we.com>; "Lacey (Duffy)
                                                                                                                                             Cremer" <lacey-
                                                                                                                                           cremer@am.com>
1189                      Message_Attachment   9/25/2018 17:21                                                                                                                                                           Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                          file). Not privileged.
1190    Attorney-Client        Message         9/25/2018 18:36   Bill Winkler <bill-winkler@am.com>      "madrid.jay@dorsey.com"      Revan McQueen <Revan-         Angus McQueen <angus-   RE: Letter to Josh Powell    Confidential communication between AMc employee
       Communications;                                                                                  <madrid.jay@dorsey.com>;        McQueen@am.com>;              mcqueen@am.com>                                   and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                  Melanie Montgomery<Melanie- "betts.gina@dorsey.com"<betts.                                                          & Emery for purposes of obtaining legal advice
                                                                                                      Montgomery@am.com>; Brandon        gina@dorsey.com>;                                                                regarding draft correspondence to NRA, and work
                                                                                                            Winkler <Brandon-            "SRyan@mwe.com"                                                                      product created in anticipation of litigation.
                                                                                                            Winkler@am.com>              <SRyan@mwe.com>
1191    Attorney-Client   Message_Attachment   9/25/2018 18:36                                                                                                                                                           Confidential communication between AMc employee
       Communications;                                                                                                                                                                                                  and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                                                                      & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                          regarding draft correspondence to NRA, and work
                                                                                                                                                                                                                              product created in anticipation of litigation.
1192    Attorney-Client        Message         9/25/2018 18:36   Bill Winkler <bill-winkler@am.com>      "madrid.jay@dorsey.com"      Revan McQueen <Revan-         Angus McQueen <angus-   RE: Letter to Josh Powell    Confidential communication between AMc employee
       Communications;                                                                                  <madrid.jay@dorsey.com>;        McQueen@am.com>;              mcqueen@am.com>                                   and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                  Melanie Montgomery<Melanie- "betts.gina@dorsey.com"<betts.                                                          & Emery for purposes of obtaining legal advice
                                                                                                      Montgomery@am.com>; Brandon        gina@dorsey.com>;                                                                regarding draft correspondence to NRA, and work
                                                                                                            Winkler <Brandon-            "SRyan@mwe.com"                                                                      product created in anticipation of litigation.
                                                                                                            Winkler@am.com>              <SRyan@mwe.com>
1193    Attorney-Client   Message_Attachment   9/25/2018 18:36                                                                                                                                                           Confidential communication between AMc employee
       Communications;                                                                                                                                                                                                  and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                                                                      & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                          regarding draft correspondence to NRA, and work
                                                                                                                                                                                                                              product created in anticipation of litigation.




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                                                       Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21                                                       Page 462 of 1087 PageID 30667
                                                                                                                         AMC Second Amended Privilege Log


  #    Privilege Type        Record Type       Document Date                Email From                            Email To                         Email CC            Email BCC         Email Subject                           Privilege Description
1194   Attorney-Client         Message         9/25/2018 18:44     "Lacey (Duffy) Cremer" <lacey-         "madrid.jay@dorsey.com"       Melanie Montgomery <Melanie-                Re: Letter to Josh Powell    Confidential communication between AMc employee
       Communications                                                    cremer@am.com>                  <madrid.jay@dorsey.com>;          Montgomery@am.com>                                                     and counsel at Dorsey & Whitney for purposes of
                                                                                                      "betts.gina@dorsey.com"<betts.gin                                                                             obtaining legal advice regarding AMc business
                                                                                                                a@dorsey.com>                                                                                                   relationship with NRA.
1195   Attorney-Client         Message         9/25/2018 18:53       <madrid.jay@dorsey.com>               <bill-winkler@am.com>                   <Melanie-                        Re: Letter to Josh Powell    Confidential communication between AMc employee
       Communications                                                                                                                      Montgomery@am.com>;                                                  and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                        <Brandon-Winkler@am.com>;                                                  & Emery for purposes of obtaining legal advice
                                                                                                                                        <Revan-McQueen@am.com>;                                                        regarding draft correspondence to NRA.
                                                                                                                                          <betts.gina@dorsey.com>;
                                                                                                                                            <SRyan@mwe.com>
1196                      Message_Attachment   9/25/2018 18:53                                                                                                                                                   Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                  file). Not privileged.
1197                      Message_Attachment   9/25/2018 18:53                                                                                                                                                   Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                  file). Not privileged.
1198    Attorney-Client        Message         9/25/2018 19:06        Revan McQueen <Revan-                   Bill Winkler <bill-        "betts.gina@dorsey.com"                    Re: Letter to Josh Powell    Confidential communication between AMc employee
       Communications;                                                 McQueen@am.com>                       winkler@am.com>;           <betts.gina@dorsey.com>;                                                and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                 "madrid.jay@dorsey.com"<madrid.j             "Ryan,                                                          & Emery for purposes of obtaining legal advice
                                                                                                         ay@dorsey.com>; Melanie       Stephen"<SRyan@mwe.com>                                                    regarding draft correspondence to NRA, and work
                                                                                                           Montgomery <Melanie-                                                                                       product created in anticipation of litigation.
                                                                                                      Montgomery@am.com>; Brandon
                                                                                                             Winkler <Brandon-
                                                                                                             Winkler@am.com>
1199    Attorney-Client   Message_Attachment   9/25/2018 19:06                                                                                                                                                    Work product created in anticipation of litigation.
       Communications;
         Work Product
1200    Attorney-Client        Message         9/25/2018 19:06        Revan McQueen <Revan-                   Bill Winkler <bill-        "betts.gina@dorsey.com"                    Re: Letter to Josh Powell    Confidential communication between AMc employee
       Communications;                                                 McQueen@am.com>                       winkler@am.com>;           <betts.gina@dorsey.com>;                                                and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                 "madrid.jay@dorsey.com"<madrid.j             "Ryan,                                                          & Emery for purposes of obtaining legal advice
                                                                                                         ay@dorsey.com>; Melanie       Stephen"<SRyan@mwe.com>                                                    regarding draft correspondence, and work product
                                                                                                           Montgomery <Melanie-                                                                                           created in anticipation of litigation.
                                                                                                      Montgomery@am.com>; Brandon
                                                                                                             Winkler <Brandon-
                                                                                                             Winkler@am.com>
1201    Attorney-Client   Message_Attachment   9/25/2018 19:06                                                                                                                                                   Confidential communication between AMc employee
       Communications;                                                                                                                                                                                          and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                                                              & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                  regarding draft correspondence, and work product
                                                                                                                                                                                                                          created in anticipation of litigation.
1202   Attorney-Client         Message         9/25/2018 19:19   Bill Winkler <bill-winkler@am.com>       Revan McQueen <Revan-         "madrid.jay@dorsey.com"                     Re: Letter to Josh Powell    Confidential communication between AMc employee
       Communications                                                                                      McQueen@am.com>             <madrid.jay@dorsey.com>;                                                 and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                      Melanie Montgomery<Melanie-                                                  & Emery for purposes of obtaining legal advice
                                                                                                                                        Montgomery@am.com>;                                                            regarding draft correspondence to NRA.
                                                                                                                                       Brandon Winkler <Brandon-
                                                                                                                                           Winkler@am.com>;
                                                                                                                                         "betts.gina@dorsey.com"
                                                                                                                                       <betts.gina@dorsey.com>;
                                                                                                                                                   "Ryan,
                                                                                                                                      Stephen"<SRyan@mwe.com>
1203                      Message_Attachment   9/25/2018 19:19                                                                                                                                                   Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                file). Not privileged.




                                                                                                                                   Page 111 of 194
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                                                       Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21                                                    Page 463 of 1087 PageID 30668
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  #     Privilege Type       Record Type       Document Date              Email From                           Email To                      Email CC               Email BCC         Email Subject                          Privilege Description
1204    Attorney-Client        Message         9/25/2018 19:24   "Lacey (Duffy) Cremer" <lacey-           Bill Winkler <bill-      Melanie Montgomery <Melanie-                  Re: Letter to Josh Powell    Confidential communication between AMc employee
       Communications;                                                 cremer@am.com>                    winkler@am.com>;            Montgomery@am.com>;                                                     and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                             "madrid.jay@dorsey.com"<madrid.j     Ariana Azimi<ariana-                                                     & Emery for purposes of obtaining legal advice
                                                                                                     ay@dorsey.com>; Brandon              azimi@am.com>                                                        regarding draft correspondence, and work product
                                                                                                         Winkler <Brandon-                                                                                             created in anticipation of litigation.
                                                                                                         Winkler@am.com>;
                                                                                                      "betts.gina@dorsey.com"
                                                                                                     <betts.gina@dorsey.com>;
                                                                                                  "SRyan@mwe.com"<SRyan@mwe.
                                                                                                   com>; Revan McQueen <Revan-
                                                                                                        McQueen@am.com>
1205    Attorney-Client   Message_Attachment   9/25/2018 19:24                                                                                                                                                Confidential communication between AMc employee
       Communications;                                                                                                                                                                                       and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                                                           & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                               regarding draft correspondence, and work product
                                                                                                                                                                                                                       created in anticipation of litigation.
1206    Attorney-Client        Message         9/25/2018 19:24   "Lacey (Duffy) Cremer" <lacey-           Bill Winkler <bill-      Melanie Montgomery <Melanie-                  Re: Letter to Josh Powell    Confidential communication between AMc employee
       Communications;                                                 cremer@am.com>                    winkler@am.com>;            Montgomery@am.com>;                                                     and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                             "madrid.jay@dorsey.com"<madrid.j     Ariana Azimi<ariana-                                                     & Emery for purposes of obtaining legal advice
                                                                                                     ay@dorsey.com>; Brandon              azimi@am.com>                                                        regarding draft correspondence, and work product
                                                                                                         Winkler <Brandon-                                                                                             created in anticipation of litigation.
                                                                                                         Winkler@am.com>;
                                                                                                      "betts.gina@dorsey.com"
                                                                                                     <betts.gina@dorsey.com>;
                                                                                                  "SRyan@mwe.com"<SRyan@mwe.
                                                                                                   com>; Revan McQueen <Revan-
                                                                                                        McQueen@am.com>
1207    Attorney-Client   Message_Attachment   9/25/2018 19:24                                                                                                                                                Confidential communication between AMc employee
       Communications;                                                                                                                                                                                       and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                                                           & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                               regarding draft correspondence, and work product
                                                                                                                                                                                                                       created in anticipation of litigation.
1208   Attorney-Client         Message         9/25/2018 19:27     Revan McQueen <Revan-           "Lacey (Duffy) Cremer" <lacey- Melanie Montgomery <Melanie-                   Re: Letter to Josh Powell    Confidential communication between AMc employee
       Communications                                               McQueen@am.com>                     cremer@am.com>; Bill           Montgomery@am.com>;                                                   and counsel at Dorsey & Whitney and McDermott Will
                                                                                                  Winkler<bill-winkler@am.com>;          Ariana Azimi<ariana-                                                   & Emery for purposes of obtaining legal advice
                                                                                                      "madrid.jay@dorsey.com"              azimi@am.com>                                                                 regarding draft correspondence.
                                                                                                     <madrid.jay@dorsey.com>;
                                                                                                     Brandon Winkler <Brandon-
                                                                                                          Winkler@am.com>;
                                                                                                  "betts.gina@dorsey.com"<betts.gin
                                                                                                  a@dorsey.com>; "Ryan, Stephen"
                                                                                                         <SRyan@mwe.com>
1209   Attorney-Client         Message         9/25/2018 20:08     <madrid.jay@dorsey.com>          <Revan-McQueen@am.com>          <lacey-cremer@am.com>; <bill-                Re: Letter to Josh Powell    Confidential communication between AMc employee
       Communications                                                                                                                winkler@am.com>; <Brandon-                                              and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                         Winkler@am.com>;                                                       & Emery for purposes of obtaining legal advice
                                                                                                                                      <betts.gina@dorsey.com>;                                                          regarding draft correspondence.
                                                                                                                                    <SRyan@mwe.com>; <Melanie-
                                                                                                                                       Montgomery@am.com>;
                                                                                                                                       <ariana-azimi@am.com>
1210                      Message_Attachment   9/25/2018 20:08                                                                                                                                                Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                             file). Not privileged.



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                                                       Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21                                                 Page 464 of 1087 PageID 30669
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  #     Privilege Type       Record Type       Document Date          Email From                        Email To                       Email CC                  Email BCC           Email Subject                          Privilege Description
1211    Attorney-Client        Message         9/25/2018 20:30   Revan McQueen <Revan-         "betts.gina@dorsey.com"                                                       Attorney Client Communication Confidential communication between AMc employee
       Communications;                                            McQueen@am.com>             <betts.gina@dorsey.com>;                                                                                     and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                      "madrid.jay@dorsey.com"<madrid.j                                                                                    & Emery for purposes of obtaining legal advice
                                                                                                   ay@dorsey.com>;                                                                                         regarding draft correspondence to NRA about NRATV
                                                                                                  "SRyan@mwe.com"                                                                                                                performance.
                                                                                                 <SRyan@mwe.com>
1212    Attorney-Client   Message_Attachment   9/25/2018 20:30                                                                                                                                              Confidential communication between AMc employee
       Communications;                                                                                                                                                                                     and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                                                          & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                           regarding draft correspondence to NRA about NRATV
                                                                                                                                                                                                                                 performance.
1213    Attorney-Client        Message         9/25/2018 20:54   Revan McQueen <Revan-         "betts.gina@dorsey.com"                                                             Re: Attorney Client      Confidential communication between AMc employee
       Communications;                                            McQueen@am.com>             <betts.gina@dorsey.com>;                                                              Communication          and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                      "madrid.jay@dorsey.com"<madrid.j                                                                                    & Emery for purposes of obtaining legal advice
                                                                                                   ay@dorsey.com>;                                                                                         regarding draft correspondence to NRA about NRATV
                                                                                                  "SRyan@mwe.com"                                                                                          performance, and work product created in anticipation
                                                                                                 <SRyan@mwe.com>                                                                                                                 of litigation.
1214    Attorney-Client   Message_Attachment   9/25/2018 20:54                                                                                                                                              Confidential communication between AMc employee
       Communications;                                                                                                                                                                                     and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                                                          & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                           regarding draft correspondence to NRA about NRATV
                                                                                                                                                                                                           performance, and work product created in anticipation
                                                                                                                                                                                                                                 of litigation.
1215   Attorney-Client         Message         9/25/2018 22:38   Revan McQueen <Revan-             "Ryan, Stephen"               "betts.gina@dorsey.com"                     Attorney Client Communication Confidential communication between AMc employee
       Communications                                             McQueen@am.com>                <SRyan@mwe.com>                <betts.gina@dorsey.com>;                                                   and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                              "madrid.jay@dorsey.com"<madr                                                     & Emery for purposes of obtaining legal advice
                                                                                                                                   id.jay@dorsey.com>                                                      regarding draft correspondence to NRA about NRATV
                                                                                                                                                                                                                                 performance.
1216    Attorney-Client        Message         9/25/2018 23:04   <madrid.jay@dorsey.com>     <Revan-McQueen@am.com>             <betts.gina@dorsey.com>;                           Re: Attorney Client      Confidential communication between AMc employee
       Communications;                                                                                                            <SRyan@mwe.com>                                   Communication          and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                                                          & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                           regarding draft correspondence to NRA about NRATV
                                                                                                                                                                                                           performance, and work product created in anticipation
                                                                                                                                                                                                                                 of litigation.
1217    Attorney-Client        Message         9/26/2018 4:22    Revan McQueen <Revan-        "madrid.jay@dorsey.com"            "betts.gina@dorsey.com"                           Re: Attorney Client      Confidential communication between AMc employee
       Communications;                                            McQueen@am.com>             <madrid.jay@dorsey.com>           <betts.gina@dorsey.com>;                            Communication          and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                         "SRyan@mwe.com"<SRyan@m                                                          & Emery for purposes of obtaining legal advice
                                                                                                                                          we.com>                                                          regarding draft correspondence to NRA about NRATV
                                                                                                                                                                                                           performance, and work product created in anticipation
                                                                                                                                                                                                                                 of litigation.
1218    Attorney-Client   Message_Attachment   9/26/2018 4:22                                                                                                                                               Confidential communication between AMc employee
       Communications;                                                                                                                                                                                     and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                                                          & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                           regarding draft correspondence to NRA about NRATV
                                                                                                                                                                                                           performance, and work product created in anticipation
                                                                                                                                                                                                                                 of litigation.




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  #     Privilege Type       Record Type       Document Date               Email From                       Email To                        Email CC                  Email BCC          Email Subject                           Privilege Description
1219    Attorney-Client        Message         9/26/2018 8:18       <betts.gina@dorsey.com>         <Revan-McQueen@am.com>                                                             RE: Attorney Client       Confidential communication between AMc employee
       Communications;                                                                                                                                                                  Communication           and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                                                               & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                regarding draft correspondence to NRA about NRATV
                                                                                                                                                                                                                performance, and work product created in anticipation
                                                                                                                                                                                                                                       of litigation.
1220    Attorney-Client        Message         9/26/2018 8:19       Revan McQueen <Revan-             "betts.gina@dorsey.com"                                                           Re: Attorney Client      Confidential communication between AMc employee
       Communications;                                               McQueen@am.com>                  <betts.gina@dorsey.com>                                                            Communication          and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                                                               & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                regarding draft correspondence to NRA about NRATV
                                                                                                                                                                                                                performance, and work product created in anticipation
                                                                                                                                                                                                                                       of litigation.
1221                      Message_Attachment   9/26/2018 8:19                                                                                                                                                    Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                  file). Not privileged.
1222                      Message_Attachment   9/26/2018 8:19                                                                                                                                                    Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                  file). Not privileged.
1223                      Message_Attachment   9/26/2018 8:19                                                                                                                                                    Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                  file). Not privileged.
1224   Attorney-Client         Message         9/26/2018 8:46       Revan McQueen <Revan-             "madrid.jay@dorsey.com"                                                     Attorney Client Communication Confidential communication between AMc employee
       Communications                                                McQueen@am.com>                 <madrid.jay@dorsey.com>;                                                                                   and counsel at Dorsey & Whitney and McDermott Will
                                                                                                  "betts.gina@dorsey.com"<betts.gin                                                                                 & Emery for purposes of obtaining legal advice
                                                                                                            a@dorsey.com>;                                                                                          regarding public response to AMc productions.
                                                                                                          "SRyan@mwe.com"
                                                                                                         <SRyan@mwe.com>
1225   Attorney-Client         Message         9/26/2018 8:49       <betts.gina@dorsey.com>         <Revan-McQueen@am.com>                                                             RE: Attorney Client        Confidential communication between AMc employee
       Communications                                                                                                                                                                   Communication            and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                                                                                                     & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                     regarding public response to AMc productions.
1226    Attorney-Client        Message         9/26/2018 9:32   "Ryan, Stephen" <SRyan@mwe.com>       Revan McQueen <Revan-           "betts.gina@dorsey.com"                          RE: Attorney Client        Confidential communication between AMc employee
       Communications;                                                                                  McQueen@am.com>;              <betts.gina@dorsey.com>                           Communication            and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                             "madrid.jay@dorsey.com"<madrid.j                                                                                   & Emery for purposes of obtaining legal advice
                                                                                                           ay@dorsey.com>                                                                                        regarding draft correspondence to NRA about NRATV
                                                                                                                                                                                                                 performance, and work product created in anticipation
                                                                                                                                                                                                                                       of litigation.
1227    Attorney-Client        Message         9/26/2018 9:34       Revan McQueen <Revan-                  "Ryan, Stephen"            "betts.gina@dorsey.com"                          Re: Attorney Client        Confidential communication between AMc employee
       Communications;                                               McQueen@am.com>                    <SRyan@mwe.com>;              <betts.gina@dorsey.com>                           Communication            and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                             "madrid.jay@dorsey.com"<madrid.j                                                                                   & Emery for purposes of obtaining legal advice
                                                                                                           ay@dorsey.com>                                                                                        regarding draft correspondence to NRA about NRATV
                                                                                                                                                                                                                 performance, and work product created in anticipation
                                                                                                                                                                                                                                       of litigation.
1228    Attorney-Client   Message_Attachment   9/26/2018 9:34                                                                                                                                                     Confidential communication between AMc employee
       Communications;                                                                                                                                                                                           and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                                                                & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                 regarding draft correspondence to NRA about NRATV
                                                                                                                                                                                                                 performance, and work product created in anticipation
                                                                                                                                                                                                                                       of litigation.




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  #    Privilege Type        Record Type       Document Date                 Email From                        Email To                     Email CC                 Email BCC         Email Subject                           Privilege Description
1229   Attorney-Client         Message         9/26/2018 10:14   "Ryan, Stephen" <SRyan@mwe.com>   "Revan McQueen - Ackerman                                                       RE: (4:00 p.m. 9/25/18)      Confidential communication between AMc employee
       Communications                                                                                     McQueen (Revan-                                                         Meeting -- Steven Hart and   and counsel at Dorsey & Whitney and McDermott Will
                                                                                                   McQueen@am.com)"<Revan-                                                               Steve Ryan                & Emery for purposes of obtaining legal advice
                                                                                                       McQueen@am.com>;                                                                                        regarding update on correspondence with NRA counsel.
                                                                                                      "betts.gina@dorsey.com"
                                                                                                    <betts.gina@dorsey.com>;
                                                                                                     "madrid.jay@dorsey.com"
                                                                                                    <madrid.jay@dorsey.com>
1230   Attorney-Client         Message         9/26/2018 10:24       <betts.gina@dorsey.com>       <SRyan@mwe.com>; <Revan-                                                        RE: (4:00 p.m. 9/25/18)      Confidential communication between AMc employee
       Communications                                                                                  McQueen@am.com>;                                                           Meeting -- Steven Hart and   and counsel at Dorsey & Whitney and McDermott Will
                                                                                                    <madrid.jay@dorsey.com>                                                              Steve Ryan                 & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                               regarding update on correspondence with NRA counsel.
1231   Attorney-Client         Message         9/26/2018 10:25       Revan McQueen <Revan-               "Ryan, Stephen"              "betts.gina@dorsey.com"                       Re: (4:00 p.m. 9/25/18)     Confidential communication between AMc employee
       Communications                                                 McQueen@am.com>                  <SRyan@mwe.com>              <betts.gina@dorsey.com>;                      Meeting -- Steven Hart and   and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                  "madrid.jay@dorsey.com"<madr                             Steve Ryan               & Emery for purposes of obtaining legal advice
                                                                                                                                        id.jay@dorsey.com>                                                     regarding update on correspondence with NRA counsel.
1232   Attorney-Client         Message         9/26/2018 10:45   "Ryan, Stephen" <SRyan@mwe.com>   "Revan McQueen - Ackerman         "madrid.jay@dorsey.com"                        rule 408 learnings from      Confidential communication between AMc employee
       Communications                                                                                   McQueen (Revan-             <madrid.jay@dorsey.com>;                     yesterday's meeting. Attorney and counsel at Dorsey & Whitney and McDermott Will
                                                                                                   McQueen@am.com)"<Revan-        "betts.gina@dorsey.com"<betts.                   work product. Close hold.        & Emery for purposes of obtaining legal advice
                                                                                                       McQueen@am.com>                   gina@dorsey.com>                                                        regarding substance and analysis of communications
                                                                                                                                                                                                                                   with NRA counsel.
1233    Attorney-Client        Message         9/26/2018 10:49   "Ryan, Stephen" <SRyan@mwe.com>   "Revan McQueen - Ackerman         "betts.gina@dorsey.com"                            Attorney Client          Confidential communication between AMc employee
       Communications;                                                                                  McQueen (Revan-              <betts.gina@dorsey.com>                      Communication and work       and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                              McQueen@am.com)"<Revan-                                                                   product                & Emery for purposes of obtaining legal advice
                                                                                                       McQueen@am.com>                                                                                         regarding draft correspondence to NRA about NRATV
                                                                                                                                                                                                                performance, and work product created in anticipation
                                                                                                                                                                                                                                       of litigation.
1234    Attorney-Client   Message_Attachment   9/26/2018 10:49                                                                                                                                                   Confidential communication between AMc employee
       Communications;                                                                                                                                                                                         and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                                                               & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                               regarding draft correspondence to NRA about NRATV
                                                                                                                                                                                                                performance, and work product created in anticipation
                                                                                                                                                                                                                                       of litigation.
1235    Attorney-Client   Message_Attachment   9/26/2018 10:49                                                                                                                                                   Confidential communication between AMc employee
       Communications;                                                                                                                                                                                         and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                                                               & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                  regarding draft correspondence to NRA about Josh
                                                                                                                                                                                                                  Powell, and work product created in anticipation of
                                                                                                                                                                                                                                        litigation.
1236   Attorney-Client         Message         9/26/2018 10:53       <betts.gina@dorsey.com>       <SRyan@mwe.com>; <Revan-                                                           RE: Attorney Client        Confidential communication between AMc employee
       Communications                                                                                 McQueen@am.com>                                                             Communication and work       and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                                                                             product                & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                        regarding draft correspondence to NRA.
1237    Attorney-Client        Message         9/26/2018 12:43   "Ryan, Stephen" <SRyan@mwe.com>   "Revan McQueen - Ackerman                                                      Highly confidential draft to  Confidential communication between AMc employee
       Communications;                                                                                  McQueen (Revan-                                                            Hart. Is this ok or amend.   and counsel at McDermott Will & Emery for purposes
         Work Product                                                                              McQueen@am.com)"<Revan-                                                                                        of obtaining legal advice regarding terms of Oliver
                                                                                                       McQueen@am.com>                                                                                                              North's contract.
1238   Attorney-Client         Message         9/27/2018 9:24        <betts.gina@dorsey.com>       <SRyan@mwe.com>; <Revan-                                                      FW: North Authorization and    Confidential communication between AMc employee
       Communications                                                                                  McQueen@am.com>                                                                       Release            and counsel at McDermott Will & Emery for purposes
                                                                                                                                                                                                                   of obtaining legal advice regarding Oliver North's
                                                                                                                                                                                                                                         contract.



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  #     Privilege Type       Record Type       Document Date               Email From                        Email To                        Email CC                Email BCC           Email Subject                                 Privilege Description
1239                      Message_Attachment   9/27/2018 9:24                                                                                                                                                       Authorization and Release Agreement signed by Oliver
                                                                                                                                                                                                                               North. Attached to privileged email.
1240    Attorney-Client        Message         9/27/2018 9:27    "Ryan, Stephen" <SRyan@mwe.com>    "Revan McQueen - Ackerman                                                    RE: Highly confidential draft to    Confidential communication between AMc employee
       Communications;                                                                                   McQueen (Revan-                                                           Hart. Is this ok or amend.       and counsel at McDermott Will & Emery for purposes
         Work Product                                                                               McQueen@am.com)"<Revan-                                                                                           of obtaining legal advice regarding terms of Oliver
                                                                                                        McQueen@am.com>                                                                                                                   North's contract.
1241   Attorney-Client         Message         9/27/2018 9:46         Revan McQueen <Revan-               "Ryan, Stephen"                Bill Winkler <bill-                     Attorney Client Communication       Confidential communication between AMc employee
       Communications                                                  McQueen@am.com>                  <SRyan@mwe.com>                  winkler@am.com>                                                            and counsel at McDermott Will & Emery for purposes
                                                                                                                                                                                                                       of obtaining legal advice regarding Oliver North's
                                                                                                                                                                                                                     compensation and benefits, and work product created
                                                                                                                                                                                                                       in anticipation of litigation relating to state agency
                                                                                                                                                                                                                     investigations into the NRA and litigation anticipated
                                                                                                                                                                                                                    by AMc from the NRA as a result of, in large part, Bill
                                                                                                                                                                                                                                  Brewer's threats against AMc.
1242    Attorney-Client        Message         9/27/2018 9:46         Revan McQueen <Revan-               "Ryan, Stephen"                Bill Winkler <bill-                     Attorney Client Communication       Confidential communication between AMc employee
       Communications;                                                 McQueen@am.com>                  <SRyan@mwe.com>                  winkler@am.com>                                                            and counsel at McDermott Will & Emery for purposes
         Work Product                                                                                                                                                                                                  of obtaining legal advice regarding Oliver North's
                                                                                                                                                                                                                     compensation and benefits, and work product created
                                                                                                                                                                                                                                    in anticipation of litigation.
1243    Attorney-Client        Message         9/27/2018 11:25        Revan McQueen <Revan-         "madrid.jay@dorsey.com"                                                      Attorney Client Communication       Confidential communication between AMc employee
       Communications;                                                 McQueen@am.com>             <madrid.jay@dorsey.com>;                                                                                         and counsel at McDermott Will & Emery for purposes
         Work Product                                                                           "betts.gina@dorsey.com"<betts.gin                                                                                     of obtaining legal advice regarding terms of Oliver
                                                                                                          a@dorsey.com>;                                                                                                                  North's contract.
                                                                                                        "SRyan@mwe.com"
                                                                                                       <SRyan@mwe.com>
1244    Attorney-Client        Message         9/27/2018 14:24   "Ryan, Stephen" <SRyan@mwe.com> "bill-winkler@am.com" <bill-                                                         FW: Attorney Client            Confidential communication between AMc employee
       Communications;                                                                                   winkler@am.com>                                                               Communication                and counsel at McDermott Will & Emery for purposes
         Work Product                                                                                                                                                                                                  of obtaining legal advice regarding Oliver North's
                                                                                                                                                                                                                     compensation and benefits, and work product created
                                                                                                                                                                                                                                   in anticipation of litigation.
1245   Attorney-Client         Message         9/28/2018 10:19   "Ryan, Stephen" <SRyan@mwe.com>      Revan McQueen <Revan-              Bill Winkler <bill-                           Re: Attorney Client           Confidential communication between AMc employee
       Communications                                                                                  McQueen@am.com>                   winkler@am.com>                                Communication               and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                                                                                                        & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                    regarding correspondence to NRA about Oliver North's
                                                                                                                                                                                                                                             contract.
1246   Attorney-Client         Message         9/28/2018 10:22        Revan McQueen <Revan-               "Ryan, Stephen"                  Bill Winkler <bill-                         Re: Attorney Client           Confidential communication between AMc employee
       Communications                                                  McQueen@am.com>                  <SRyan@mwe.com>                   winkler@am.com>;                              Communication               and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                    "betts.gina@dorsey.com"<betts.                                                      & Emery for purposes of obtaining legal advice
                                                                                                                                           gina@dorsey.com>                                                         regarding correspondence to NRA about Oliver North's
                                                                                                                                                                                                                                             contract.
1247   Attorney-Client         Message         9/28/2018 10:24        <betts.gina@dorsey.com>       <Revan-McQueen@am.com>;            <bill-winkler@am.com>                          RE: Attorney Client            Confidential communication between AMc employee
       Communications                                                                                   <SRyan@mwe.com>                                                                Communication                and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                                                                                                        & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                    regarding correspondence to NRA about Oliver North's
                                                                                                                                                                                                                                             contract.
1248   Attorney-Client         Message         9/28/2018 10:37        <betts.gina@dorsey.com>       <Revan-McQueen@am.com>;            <bill-winkler@am.com>                          RE: Attorney Client            Confidential communication between AMc employee
       Communications                                                                                   <SRyan@mwe.com>                                                                Communication                and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                                                                                                        & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                    regarding correspondence to NRA about Oliver North's
                                                                                                                                                                                                                                             contract.




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  #     Privilege Type       Record Type       Document Date               Email From                        Email To                         Email CC             Email BCC           Email Subject                          Privilege Description
1249    Attorney-Client        Message         9/28/2018 11:34      <barton.casey@dorsey.com>         <bill-winkler@am.com>         <Revan-McQueen@am.com>;                    Attorney Client Correspondence Confidential communication between AMc employee
       Communications;                                                                                                               <lacey-cremer@am.com>;                                                      and counsel at Dorsey & Whitney for purposes of
         Work Product                                                                                                                 <betts.gina@dorsey.com>                                                 obtaining legal advice regarding draft correspondence
                                                                                                                                                                                                               to NRA, and work product created in anticipation of
                                                                                                                                                                                                                                     litigation.
1250    Attorney-Client   Message_Attachment   9/28/2018 11:34                                                                                                                                                Confidential communication between AMc employee
       Communications;                                                                                                                                                                                           and counsel at Dorsey & Whitney for purposes of
         Work Product                                                                                                                                                                                         obtaining legal advice regarding draft correspondence
                                                                                                                                                                                                               to NRA, and work product created in anticipation of
                                                                                                                                                                                                                                     litigation.
1251    Attorney-Client        Message         9/28/2018 11:41     "Lacey (Duffy) Cremer" <lacey-    "barton.casey@dorsey.com"        Revan McQueen <Revan-                          Re: Attorney Client      Confidential communication between AMc employee
       Communications;                                                   cremer@am.com>             <barton.casey@dorsey.com>;     McQueen@am.com>; Brandon                           Correspondence             and counsel at Dorsey & Whitney for purposes of
         Work Product                                                                                 "betts.gina@dorsey.com"             Winkler<Brandon-                                                    obtaining legal advice regarding draft correspondence
                                                                                                      <betts.gina@dorsey.com>         Winkler@am.com>; Bill                                                    to NRA, and work product created in anticipation of
                                                                                                                                            Winkler <bill-                                                                           litigation.
                                                                                                                                          winkler@am.com>
1252    Attorney-Client        Message         9/28/2018 11:42   "Ryan, Stephen" <SRyan@mwe.com>     "betts.gina@dorsey.com"        "Revan-McQueen@am.com"                          Re: Attorney Client        Confidential communication between AMc employee
       Communications;                                                                               <betts.gina@dorsey.com>       <Revan-McQueen@am.com>;                           Communication            and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                               "bill-winkler@am.com"<bill-                                                  & Emery for purposes of obtaining legal advice
                                                                                                                                          winkler@am.com>                                                       regarding draft correspondence to NRA, and work
                                                                                                                                                                                                                    product created in anticipation of litigation.
1253                      Message_Attachment   9/28/2018 11:42                                                                                                                                                 Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                file). Not privileged.
1254                      Message_Attachment   9/28/2018 11:42                                                                                                                                                 Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                file). Not privileged.
1255    Attorney-Client        Message         9/28/2018 11:45       <betts.gina@dorsey.com>           <SRyan@mwe.com>              <Revan-McQueen@am.com>;                         RE: Attorney Client        Confidential communication between AMc employee
       Communications;                                                                                                                <bill-winkler@am.com>                          Communication            and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                                                            & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                regarding draft correspondence to NRA, and work
                                                                                                                                                                                                                    product created in anticipation of litigation.
1256    Attorney-Client        Message         9/28/2018 11:48      <barton.casey@dorsey.com>        <lacey-cremer@am.com>;        <Revan-McQueen@am.com>;                          RE: Attorney Client        Confidential communication between AMc employee
       Communications;                                                                               <betts.gina@dorsey.com>       <Brandon-Winkler@am.com>;                         Correspondence           and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                 <bill-winkler@am.com>                                                      & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                regarding draft correspondence to NRA, and work
                                                                                                                                                                                                                    product created in anticipation of litigation.
1257    Attorney-Client   Message_Attachment   9/28/2018 11:48                                                                                                                                                 Confidential communication between AMc employee
       Communications;                                                                                                                                                                                        and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                                                            & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                regarding draft correspondence to NRA, and work
                                                                                                                                                                                                                    product created in anticipation of litigation.
1258    Attorney-Client        Message         9/28/2018 11:58     "Lacey (Duffy) Cremer" <lacey-    "barton.casey@dorsey.com"       Revan McQueen <Revan-                          Re: Attorney Client        Confidential communication between AMc employee
       Communications;                                                   cremer@am.com>             <barton.casey@dorsey.com>;     McQueen@am.com>; Brandon                          Correspondence           and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                 "betts.gina@dorsey.com"           Winkler<Brandon-                                                         & Emery for purposes of obtaining legal advice
                                                                                                      <betts.gina@dorsey.com>        Winkler@am.com>; Bill                                                      regarding draft correspondence to NRA, and work
                                                                                                                                          Winkler <bill-                                                            product created in anticipation of litigation.
                                                                                                                                    winkler@am.com>; Ariana
                                                                                                                                   Azimi<ariana-azimi@am.com>




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  #     Privilege Type       Record Type       Document Date               Email From                       Email To                         Email CC               Email BCC        Email Subject                       Privilege Description
1259    Attorney-Client   Message_Attachment   9/28/2018 11:58                                                                                                                                            Confidential communication between AMc employee
       Communications;                                                                                                                                                                                   and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                                                       & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                           regarding draft correspondence to NRA, and work
                                                                                                                                                                                                               product created in anticipation of litigation.
1260    Attorney-Client        Message         9/28/2018 11:58     "Lacey (Duffy) Cremer" <lacey-    "barton.casey@dorsey.com"       Revan McQueen <Revan-                         Re: Attorney Client    Confidential communication between AMc employee
       Communications;                                                   cremer@am.com>             <barton.casey@dorsey.com>;     McQueen@am.com>; Brandon                         Correspondence       and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                 "betts.gina@dorsey.com"           Winkler<Brandon-                                                    & Emery for purposes of obtaining legal advice
                                                                                                      <betts.gina@dorsey.com>        Winkler@am.com>; Bill                                                 regarding draft correspondence to NRA, and work
                                                                                                                                          Winkler <bill-                                                       product created in anticipation of litigation.
                                                                                                                                    winkler@am.com>; Ariana
                                                                                                                                   Azimi<ariana-azimi@am.com>
1261    Attorney-Client   Message_Attachment   9/28/2018 11:58                                                                                                                                            Confidential communication between AMc employee
       Communications;                                                                                                                                                                                   and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                                                        & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                           regarding draft correspondence to NRA, and work
                                                                                                                                                                                                               product created in anticipation of litigation.
1262   Attorney-Client         Message         9/28/2018 11:59       <betts.gina@dorsey.com>         <lacey-cremer@am.com>;        <Revan-McQueen@am.com>;                         RE: Attorney Client    Confidential communication between AMc employee
       Communications                                                                               <barton.casey@dorsey.com>      <Brandon-Winkler@am.com>;                        Correspondence       and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                     <bill-winkler@am.com>;                                                  & Emery for purposes of obtaining legal advice
                                                                                                                                      <ariana-azimi@am.com>                                                     regarding draft correspondence to NRA.
1263    Attorney-Client        Message         9/28/2018 12:37   "Ryan, Stephen" <SRyan@mwe.com>     "betts.gina@dorsey.com"        "Revan-McQueen@am.com"                         Re: Attorney Client    Confidential communication between AMc employee
       Communications;                                                                               <betts.gina@dorsey.com>       <Revan-McQueen@am.com>;                          Communication        and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                               "bill-winkler@am.com"<bill-                                              & Emery for purposes of obtaining legal advice
                                                                                                                                          winkler@am.com>                                                 regarding draft correspondence to NRA about Oliver
                                                                                                                                                                                                              North's contract, and work product created in
                                                                                                                                                                                                                        anticipation of litigation.
1264                      Message_Attachment   9/28/2018 12:37                                                                                                                                            Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                           file). Not privileged.
1265    Attorney-Client        Message         9/28/2018 12:41       <betts.gina@dorsey.com>           <SRyan@mwe.com>              <Revan-McQueen@am.com>;                        RE: Attorney Client    Confidential communication between AMc employee
       Communications;                                                                                                                <bill-winkler@am.com>                         Communication        and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                                                        & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                          regarding draft correspondence to NRA about Oliver
                                                                                                                                                                                                              North's contract, and work product created in
                                                                                                                                                                                                                        anticipation of litigation.
1266    Attorney-Client        Message         9/28/2018 12:44       <betts.gina@dorsey.com>           <SRyan@mwe.com>              <Revan-McQueen@am.com>;                        RE: Attorney Client    Confidential communication between AMc employee
       Communications;                                                                                                                <bill-winkler@am.com>                         Communication        and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                                                        & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                          regarding draft correspondence to NRA about Oliver
                                                                                                                                                                                                              North's contract, and work product created in
                                                                                                                                                                                                                        anticipation of litigation.
1267    Attorney-Client        Message         9/28/2018 14:43   "Ryan, Stephen" <SRyan@mwe.com>     "betts.gina@dorsey.com"         "Revan-McQueen@am.com"                        RE: Attorney Client    Confidential communication between AMc employee
       Communications;                                                                               <betts.gina@dorsey.com>        <Revan-McQueen@am.com>;                         Communication        and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                "bill-winkler@am.com"<bill-                                             & Emery for purposes of obtaining legal advice
                                                                                                                                           winkler@am.com>                                                regarding draft correspondence to NRA about Oliver
                                                                                                                                                                                                              North's contract, and work product created in
                                                                                                                                                                                                                        anticipation of litigation.




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  #     Privilege Type       Record Type       Document Date              Email From                          Email To                            Email CC              Email BCC          Email Subject                         Privilege Description
1268    Attorney-Client        Message         9/28/2018 14:51       Revan McQueen <Revan-                 "Ryan, Stephen"               "betts.gina@dorsey.com"                         Re: Attorney Client     Confidential communication between AMc employee
       Communications;                                                McQueen@am.com>                    <SRyan@mwe.com>               <betts.gina@dorsey.com>; Bill                      Communication         and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                  Winkler<bill-winkler@am.com>                                                 & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                 regarding draft correspondence to NRA about Oliver
                                                                                                                                                                                                                     North's contract, and work product created in
                                                                                                                                                                                                                               anticipation of litigation.
1269                      Message_Attachment   9/28/2018 14:51                                                                                                                                                   Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                  file). Not privileged.
1270    Attorney-Client        Message         9/28/2018 14:55   "Ryan, Stephen" <SRyan@mwe.com>       "betts.gina@dorsey.com"         "Revan McQueen - Ackerman                        FW: Attorney Client      Confidential communication between AMc employee
       Communications;                                                                              <betts.gina@dorsey.com>; "bill-         McQueen (Revan-                           Communication Ryan v. 3   and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                   winkler@am.com"<bill-          McQueen@am.com)"<Revan-                                                      & Emery for purposes of obtaining legal advice
                                                                                                           winkler@am.com>                 McQueen@am.com>                                                       regarding draft correspondence to NRA about Oliver
                                                                                                                                                                                                                     North's contract, and work product created in
                                                                                                                                                                                                                               anticipation of litigation.
1271    Attorney-Client        Message         9/28/2018 14:58   "Ryan, Stephen" <SRyan@mwe.com>       Revan McQueen <Revan-             "betts.gina@dorsey.com"                        RE: Attorney Client      Confidential communication between AMc employee
       Communications;                                                                                  McQueen@am.com>                <betts.gina@dorsey.com>; Bill                     Communication          and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                  Winkler<bill-winkler@am.com>                                                 & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                 regarding draft correspondence to NRA about Oliver
                                                                                                                                                                                                                     North's contract, and work product created in
                                                                                                                                                                                                                               anticipation of litigation.
1272    Attorney-Client        Message         9/28/2018 15:01       <betts.gina@dorsey.com>             <SRyan@mwe.com>                 <bill-winkler@am.com>;                         Re: Attorney Client      Confidential communication between AMc employee
       Communications;                                                                                                                  <Revan-McQueen@am.com>                        Communication Ryan v. 3   and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                                                               & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                 regarding draft correspondence to NRA about Oliver
                                                                                                                                                                                                                     North's contract, and work product created in
                                                                                                                                                                                                                               anticipation of litigation.
1273    Attorney-Client        Message         9/28/2018 15:12       Revan McQueen <Revan-             "betts.gina@dorsey.com"              Bill Winkler <bill-                         Re: Attorney Client      Confidential communication between AMc employee
       Communications;                                                McQueen@am.com>                 <betts.gina@dorsey.com>;              winkler@am.com>                           Communication Ryan v. 3   and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                              "SRyan@mwe.com"<SRyan@mwe.                                                                                       & Emery for purposes of obtaining legal advice
                                                                                                                 com>                                                                                            regarding draft correspondence to NRA about Oliver
                                                                                                                                                                                                                     North's contract, and work product created in
                                                                                                                                                                                                                               anticipation of litigation.
1274    Attorney-Client        Message         9/28/2018 15:14   "Ryan, Stephen" <SRyan@mwe.com>        Revan McQueen <Revan-               Bill Winkler <bill-                         RE: Attorney Client      Confidential communication between AMc employee
       Communications;                                                                                    McQueen@am.com>;                  winkler@am.com>                           Communication Ryan v. 3   and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                              "betts.gina@dorsey.com"<betts.gin                                                                                & Emery for purposes of obtaining legal advice
                                                                                                             a@dorsey.com>                                                                                       regarding draft correspondence to NRA about Oliver
                                                                                                                                                                                                                     North's contract, and work product created in
                                                                                                                                                                                                                               anticipation of litigation.
1275    Attorney-Client        Message         9/30/2018 11:24       Revan McQueen <Revan-             "madrid.jay@dorsey.com"         Angus McQueen <angus-                             Attorney Client         Confidential communication between AMc employee
       Communications;                                                McQueen@am.com>                 <madrid.jay@dorsey.com>;       mcqueen@am.com>; Anthony                       Communication/Attorney Work    and counsel at Dorsey & Whitney for purposes of
         Work Product                                                                              "betts.gina@dorsey.com"<betts.gin      Makris<Anthony-                                    Product              obtaining legal advice regarding media coverage of
                                                                                                             a@dorsey.com>;               makris@am.com>                                                           AMc, and work product created in anticipation of
                                                                                                           "SRyan@mwe.com"                                                                                                               litigation.
                                                                                                          <SRyan@mwe.com>
1276    Attorney-Client        Message         9/30/2018 11:24       Revan McQueen <Revan-             "madrid.jay@dorsey.com"         Angus McQueen <angus-                             Attorney Client           Confidential communication between AMc employee
       Communications;                                                McQueen@am.com>                 <madrid.jay@dorsey.com>;       mcqueen@am.com>; Anthony                       Communication/Attorney Work      and counsel at Dorsey & Whitney for purposes of
         Work Product                                                                              "betts.gina@dorsey.com"<betts.gin      Makris<Anthony-                                    Product                obtaining legal advice regarding media coverage of
                                                                                                             a@dorsey.com>;               makris@am.com>                                                             AMc, and work product created in anticipation of
                                                                                                           "SRyan@mwe.com"                                                                                                               litigation.
                                                                                                          <SRyan@mwe.com>




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  #     Privilege Type       Record Type       Document Date            Email From                           Email To                        Email CC                 Email BCC         Email Subject                           Privilege Description
1277    Attorney-Client        Message         10/2/2018 11:37      Melanie Montgomery                 Tony Makris <Anthony-                                                       Fwd: Letter regarding Josh      AMc employee internally forwarding confidential
       Communications;                                           <melomizzou81@gmail.com>                makris@am.com>                                                                     Powell              communicaiton between AMc employee and counsel at
         Work Product                                                                                                                                                                                            Sayles Werbner for purposes of obtaining legal advice
                                                                                                                                                                                                                 regarding communications with counsel at Dorsey &
                                                                                                                                                                                                                 Whitney, and work product created in anticipation of
                                                                                                                                                                                                                                       litigation.
1278    Attorney-Client   Message_Attachment   10/2/2018 11:37                                                                                                                                                     AMc employee internally forwarding confidential
       Communications;                                                                                                                                                                                          communicaiton between AMc employee and counsel at
         Work Product                                                                                                                                                                                            Sayles Werbner for purposes of obtaining legal advice
                                                                                                                                                                                                                 regarding communications with counsel at Dorsey &
                                                                                                                                                                                                                 Whitney, and work product created in anticipation of
                                                                                                                                                                                                                                       litigation.
1279    Attorney-Client   Message_Attachment   10/2/2018 11:37                                                                                                                                                     AMc employee internally forwarding confidential
       Communications;                                                                                                                                                                                          communicaiton between AMc employee and counsel at
         Work Product                                                                                                                                                                                            Sayles Werbner for purposes of obtaining legal advice
                                                                                                                                                                                                                 regarding communications with counsel at Dorsey &
                                                                                                                                                                                                                 Whitney, and work product created in anticipation of
                                                                                                                                                                                                                                       litigation.
1280    Attorney-Client        Message         10/2/2018 16:27   "Lacey (Duffy) Cremer" <lacey-        Revan McQueen <Revan-            Ariana Azimi <ariana-                      ACC/AWP - letter for today    Confidential communication between AMc employee
       Communications;                                                 cremer@am.com>             McQueen@am.com>; Bill Winkler       azimi@am.com>; Melanie                                                    and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                             <bill-winkler@am.com>; Brandon        Montgomery<Melanie-                                                         & Emery for purposes of obtaining legal advice
                                                                                                          Winkler <Brandon-            Montgomery@am.com>                                                         regarding draft correspondence to NRA, and work
                                                                                                          Winkler@am.com>;                                                                                            product created in anticipation of litigation.
                                                                                                  "betts.gina@dorsey.com"<betts.gin
                                                                                                            a@dorsey.com>
1281    Attorney-Client   Message_Attachment   10/2/2018 16:27                                                                                                                                                   Confidential communication between AMc employee
       Communications;                                                                                                                                                                                          and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                                                              & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                  regarding draft correspondence to NRA, and work
                                                                                                                                                                                                                      product created in anticipation of litigation.
1282    Attorney-Client        Message         10/2/2018 16:27   "Lacey (Duffy) Cremer" <lacey-        Revan McQueen <Revan-            Ariana Azimi <ariana-                      ACC/AWP - letter for today    Confidential communication between AMc employee
       Communications;                                                 cremer@am.com>             McQueen@am.com>; Bill Winkler       azimi@am.com>; Melanie                                                    and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                             <bill-winkler@am.com>; Brandon        Montgomery<Melanie-                                                        & Emery for purposes of obtaining legal advice
                                                                                                          Winkler <Brandon-            Montgomery@am.com>                                                         regarding draft correspondence to NRA, and work
                                                                                                          Winkler@am.com>;                                                                                            product created in anticipation of litigation.
                                                                                                  "betts.gina@dorsey.com"<betts.gin
                                                                                                            a@dorsey.com>
1283    Attorney-Client   Message_Attachment   10/2/2018 16:27                                                                                                                                                   Confidential communication between AMc employee
       Communications;                                                                                                                                                                                          and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                                                               & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                  regarding draft correspondence to NRA, and work
                                                                                                                                                                                                                       product created in anticipation of litigation.
1284   Attorney-Client         Message         10/5/2018 10:39     <betts.gina@dorsey.com>             <bill-winkler@am.com>                                                        FW: Additional Invoice       Confidential communication between AMc employee
       Communications                                                                                                                                                              Compliance Guidance Letter      and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                                 obtaining legal advice regarding correspondence from
                                                                                                                                                                                                                                      Josh Powell.
1285                      Message_Attachment   10/5/2018 10:39                                                                                                                      SKM_C36818100414530           Letter from J. Powell to W. Winkler dated 10/4/18
                                                                                                                                                                                                                      attached to privileged email. Not privileged.




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  #    Privilege Type        Record Type       Document Date                 Email From                        Email To                         Email CC                  Email BCC        Email Subject                          Privilege Description
1286   Attorney-Client         Message         10/5/2018 11:49   Bill Winkler <bill-winkler@am.com>      Revan McQueen <Revan-            "Gina Betts - Dorsey                         FW: Budget Adjustments      Confidential communication between AMc employee
       Communications                                                                                  McQueen@am.com>; Brandon        (betts.gina@dorsey.com)"                                                     and counsel at Dorsey & Whitney for purposes of
                                                                                                            Winkler<Brandon-           <betts.gina@dorsey.com>;                                                       obtaining legal advice regarding NRA budget
                                                                                                           Winkler@am.com>              Angus McQueen <angus-                                                                           reductions
                                                                                                                                      mcqueen@am.com>; Melanie
                                                                                                                                         Montgomery<Melanie-
                                                                                                                                        Montgomery@am.com>;
                                                                                                                                     "Lacey (Duffy) Cremer" <lacey-
                                                                                                                                           cremer@am.com>
1287   Attorney-Client    Message_Attachment   10/5/2018 11:49                                                                                                                         SKM_C36818100510230         Confidential communication between AMc employee
       Communications                                                                                                                                                                                                and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                                       obtaining legal advice regarding NRA budget
                                                                                                                                                                                                                                         reductions
1288   Attorney-Client         Message         10/5/2018 11:49   Bill Winkler <bill-winkler@am.com>      Revan McQueen <Revan-            "Gina Betts - Dorsey                         FW: Budget Adjustments      Confidential communication between AMc employee
       Communications                                                                                  McQueen@am.com>; Brandon        (betts.gina@dorsey.com)"                                                      and counsel at Dorsey & Whitney for purposes of
                                                                                                            Winkler<Brandon-           <betts.gina@dorsey.com>;                                                    obtaining legal advice regarding correspondence from
                                                                                                           Winkler@am.com>              Angus McQueen <angus-                                                                 NRA about budget adjustments.
                                                                                                                                      mcqueen@am.com>; Melanie
                                                                                                                                         Montgomery<Melanie-
                                                                                                                                        Montgomery@am.com>;
                                                                                                                                     "Lacey (Duffy) Cremer" <lacey-
                                                                                                                                           cremer@am.com>
1289                      Message_Attachment   10/5/2018 11:49                                                                                                                         SKM_C36818100510230           Letter from C. Spray to W. Winkler dated 10/5/18
                                                                                                                                                                                                                        attached to privileged email. Not privileged.
1290   Attorney-Client         Message         10/5/2018 11:50   Bill Winkler <bill-winkler@am.com>      "betts.gina@dorsey.com"                                                        RE: Additional Invoice     Confidential communication between AMc employee
       Communications                                                                                    <betts.gina@dorsey.com>                                                      Compliance Guidance Letter     and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                                   obtaining legal advice regarding correspondence from
                                                                                                                                                                                                                                        Josh Powell.
1291   Attorney-Client         Message         10/5/2018 12:26   Bill Winkler <bill-winkler@am.com>      "madrid.jay@dorsey.com"           "Gina Betts - Dorsey                        FW: Budget Adjustments      Confidential communication between AMc employee
       Communications                                                                                    <madrid.jay@dorsey.com>        (betts.gina@dorsey.com)"                                                     and counsel at Dorsey & Whitney for purposes of
                                                                                                                                        <betts.gina@dorsey.com>                                                     obtaining legal advice regarding correspondence to
                                                                                                                                                                                                                           Josh Powell about budget adjustments.
1292                      Message_Attachment   10/5/2018 12:26                                                                                                                                                      Letter from W. Winkler to J. Powell dated 9/28/18
                                                                                                                                                                                                                        attached to privileged email. Not privileged.
1293                      Message_Attachment   10/5/2018 12:26                                                                                                                                                      Letter from W. Winkler to J. Powell dated 10/2/18
                                                                                                                                                                                                                        attached to privileged email. Not privileged.
1294                      Message_Attachment   10/5/2018 12:26                                                                                                                         SKM_C36818100510230           Letter from C. Spray to W. Winkler dated 10/5/18
                                                                                                                                                                                                                        attached to privileged email. Not privileged.
1295    Attorney-Client        Message         10/5/2018 16:18       <madrid.jay@dorsey.com>          <bill-winkler@am.com>; <Revan- <Brandon-Winkler@am.com>;                                FW: Letter           Confidential communication between AMc employee
       Communications;                                                                                 McQueen@am.com>; <Melanie-      <lacey-cremer@am.com>;                                                        and counsel at Dorsey & Whitney for purposes of
         Work Product                                                                                      Montgomery@am.com>          <betts.gina@dorsey.com>                                                      obtaining legal advice regarding correspondence to
                                                                                                                                                                                                                     NRA, and work product created in anticipation of
                                                                                                                                                                                                                                          litigation.
1296    Attorney-Client   Message_Attachment   10/5/2018 16:18                                                                                                                                                     Confidential communication between AMc employee
       Communications;                                                                                                                                                                                               and counsel at Dorsey & Whitney for purposes of
         Work Product                                                                                                                                                                                               obtaining legal advice regarding correspondence to
                                                                                                                                                                                                                     NRA, and work product created in anticipation of
                                                                                                                                                                                                                                          litigation.




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                                                       Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21                                                       Page 473 of 1087 PageID 30678
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  #     Privilege Type       Record Type       Document Date               Email From                            Email To                         Email CC              Email BCC      Email Subject                   Privilege Description
1297    Attorney-Client        Message         10/5/2018 16:54     Melanie Montgomery <Melanie-         "madrid.jay@dorsey.com"          Brandon Winkler <Brandon-                      Re: Letter     Confidential communication between AMc employee
       Communications;                                                Montgomery@am.com>              <madrid.jay@dorsey.com>; Bill      Winkler@am.com>; "Lacey                                         and counsel at Dorsey & Whitney for purposes of
         Work Product                                                                                 Winkler<bill-winkler@am.com>;        (Duffy) Cremer"<lacey-                                       obtaining legal advice regarding correspondence to
                                                                                                         Revan McQueen <Revan-               cremer@am.com>;                                             NRA, and work product created in anticipation of
                                                                                                           McQueen@am.com>                "betts.gina@dorsey.com"                                                            litigation.
                                                                                                                                         <betts.gina@dorsey.com>;
                                                                                                                                            Ariana Azimi <ariana-
                                                                                                                                              azimi@am.com>
1298    Attorney-Client   Message_Attachment   10/5/2018 16:54                                                                                                                                         Confidential communication between AMc employee
       Communications;                                                                                                                                                                                   and counsel at Dorsey & Whitney for purposes of
         Work Product                                                                                                                                                                                   obtaining legal advice regarding correspondence to
                                                                                                                                                                                                         NRA, and work product created in anticipation of
                                                                                                                                                                                                                             litigation.
1299    Attorney-Client        Message         10/5/2018 16:54     Melanie Montgomery <Melanie-         "madrid.jay@dorsey.com"          Brandon Winkler <Brandon-                       Re: Letter    Confidential communication between AMc employee
       Communications;                                                Montgomery@am.com>              <madrid.jay@dorsey.com>; Bill      Winkler@am.com>; "Lacey                                         and counsel at Dorsey & Whitney for purposes of
         Work Product                                                                                 Winkler<bill-winkler@am.com>;        (Duffy) Cremer"<lacey-                                       obtaining legal advice regarding correspondence to
                                                                                                         Revan McQueen <Revan-               cremer@am.com>;                                             NRA, and work product created in anticipation of
                                                                                                           McQueen@am.com>                "betts.gina@dorsey.com"                                                            litigation.
                                                                                                                                         <betts.gina@dorsey.com>;
                                                                                                                                            Ariana Azimi <ariana-
                                                                                                                                              azimi@am.com>
1300    Attorney-Client   Message_Attachment   10/5/2018 16:54                                                                                                                                         Confidential communication between AMc employee
       Communications;                                                                                                                                                                                   and counsel at Dorsey & Whitney for purposes of
         Work Product                                                                                                                                                                                   obtaining legal advice regarding correspondence to
                                                                                                                                                                                                         NRA, and work product created in anticipation of
                                                                                                                                                                                                                             litigation.
1301   Attorney-Client         Message         10/5/2018 17:15   Bill Winkler <bill-winkler@am.com>     Melanie Montgomery <Melanie- Brandon Winkler <Brandon-                           RE: Letter    Confidential communication between AMc employee
       Communications                                                                                     Montgomery@am.com>;         Winkler@am.com>; "Lacey                                            and counsel at Dorsey & Whitney for purposes of
                                                                                                      "madrid.jay@dorsey.com"<madrid.j  (Duffy) Cremer"<lacey-                                          obtaining legal advice regarding correspondence to
                                                                                                      ay@dorsey.com>; Revan McQueen       cremer@am.com>;                                                                       NRA.
                                                                                                         <Revan-McQueen@am.com>        "betts.gina@dorsey.com"
                                                                                                                                      <betts.gina@dorsey.com>;
                                                                                                                                         Ariana Azimi <ariana-
                                                                                                                                            azimi@am.com>
1302   Attorney-Client         Message         10/5/2018 17:15   Bill Winkler <bill-winkler@am.com> Melanie Montgomery <Melanie-     Brandon Winkler <Brandon-                           RE: Letter    Confidential communication between AMc employee
       Communications                                                                                  Montgomery@am.com>;            Winkler@am.com>; "Lacey                                            and counsel at Dorsey & Whitney for purposes of
                                                                                                   "madrid.jay@dorsey.com"<madrid.j     (Duffy) Cremer"<lacey-                                          obtaining legal advice regarding correspondence to
                                                                                                   ay@dorsey.com>; Revan McQueen          cremer@am.com>;                                                                      NRA.
                                                                                                      <Revan-McQueen@am.com>           "betts.gina@dorsey.com"
                                                                                                                                      <betts.gina@dorsey.com>;
                                                                                                                                         Ariana Azimi <ariana-
                                                                                                                                            azimi@am.com>
1303   Attorney-Client         Message         10/5/2018 17:17      "Lacey (Duffy) Cremer" <lacey-  Melanie Montgomery <Melanie-     Brandon Winkler <Brandon-                           Re: Letter    Confidential communication between AMc employee
       Communications                                                     cremer@am.com>               Montgomery@am.com>;                Winkler@am.com>;                                               and counsel at Dorsey & Whitney for purposes of
                                                                                                   "madrid.jay@dorsey.com"<madrid.j "betts.gina@dorsey.com"<betts.                                      obtaining legal advice regarding correspondence to
                                                                                                     ay@dorsey.com>; Bill Winkler     gina@dorsey.com>; Ariana                                                                 NRA.
                                                                                                    <bill-winkler@am.com>; Revan Azimi <ariana-azimi@am.com>
                                                                                                           McQueen<Revan-
                                                                                                          McQueen@am.com>




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  #    Privilege Type    Record Type   Document Date                Email From                          Email To                          Email CC               Email BCC      Email Subject                   Privilege Description
1304   Attorney-Client     Message     10/5/2018 17:17     "Lacey (Duffy) Cremer" <lacey-    Melanie Montgomery <Melanie-       Brandon Winkler <Brandon-                        Re: Letter     Confidential communication between AMc employee
       Communications                                            cremer@am.com>                  Montgomery@am.com>;                 Winkler@am.com>;                                             and counsel at Dorsey & Whitney for purposes of
                                                                                            "madrid.jay@dorsey.com"<madrid.j   "betts.gina@dorsey.com"<betts.                                    obtaining legal advice regarding correspondence to
                                                                                              ay@dorsey.com>; Bill Winkler       gina@dorsey.com>; Ariana                                                               NRA.
                                                                                             <bill-winkler@am.com>; Revan      Azimi <ariana-azimi@am.com>
                                                                                                     McQueen<Revan-
                                                                                                   McQueen@am.com>
1305   Attorney-Client     Message     10/5/2018 17:28     Melanie Montgomery <Melanie-       "Lacey (Duffy) Cremer" <lacey-    Brandon Winkler <Brandon-                         Re: Letter    Confidential communication between AMc employee
       Communications                                          Montgomery@am.com>                   cremer@am.com>;                  Winkler@am.com>;                                             and counsel at Dorsey & Whitney for purposes of
                                                                                            "madrid.jay@dorsey.com"<madrid.j   "betts.gina@dorsey.com"<betts.                                    obtaining legal advice regarding correspondence to
                                                                                              ay@dorsey.com>; Bill Winkler       gina@dorsey.com>; Ariana                                                               NRA.
                                                                                             <bill-winkler@am.com>; Revan      Azimi <ariana-azimi@am.com>
                                                                                                     McQueen<Revan-
                                                                                                   McQueen@am.com>
1306   Attorney-Client     Message     10/5/2018 17:28     Melanie Montgomery <Melanie-       "Lacey (Duffy) Cremer" <lacey-    Brandon Winkler <Brandon-                         Re: Letter    Confidential communication between AMc employee
       Communications                                          Montgomery@am.com>                   cremer@am.com>;                  Winkler@am.com>;                                             and counsel at Dorsey & Whitney for purposes of
                                                                                            "madrid.jay@dorsey.com"<madrid.j   "betts.gina@dorsey.com"<betts.                                    obtaining legal advice regarding correspondence to
                                                                                              ay@dorsey.com>; Bill Winkler       gina@dorsey.com>; Ariana                                                               NRA.
                                                                                             <bill-winkler@am.com>; Revan      Azimi <ariana-azimi@am.com>
                                                                                                     McQueen<Revan-
                                                                                                   McQueen@am.com>
1307   Attorney-Client     Message     10/5/2018 17:29   Bill Winkler <bill-winkler@am.com> Melanie Montgomery <Melanie-        Brandon Winkler <Brandon-                         RE: Letter    Confidential communication between AMc employee
       Communications                                                                        Montgomery@am.com>; "Lacey              Winkler@am.com>;                                             and counsel at Dorsey & Whitney for purposes of
                                                                                                  (Duffy) Cremer"<lacey-       "betts.gina@dorsey.com"<betts.                                    obtaining legal advice regarding correspondence to
                                                                                                    cremer@am.com>;              gina@dorsey.com>; Ariana                                                               NRA.
                                                                                                "madrid.jay@dorsey.com"        Azimi <ariana-azimi@am.com>
                                                                                            <madrid.jay@dorsey.com>; Revan
                                                                                                    McQueen <Revan-
                                                                                                   McQueen@am.com>
1308   Attorney-Client     Message     10/5/2018 17:30        <madrid.jay@dorsey.com>           <lacey-cremer@am.com>;         <Brandon-Winkler@am.com>;                          RE: Letter    Confidential communication between AMc employee
       Communications                                                                                   <Melanie-                <betts.gina@dorsey.com>;                                         and counsel at Dorsey & Whitney for purposes of
                                                                                              Montgomery@am.com>; <bill-          <ariana-azimi@am.com>                                          obtaining legal advice regarding correspondence to
                                                                                               winkler@am.com>; <Revan-                                                                                                 NRA.
1309   Attorney-Client     Message     10/5/2018 17:31      "Lacey (Duffy) Cremer" <lacey-      "madrid.jay@dorsey.com"         Brandon Winkler <Brandon-                         Re: Letter    Confidential communication between AMc employee
       Communications                                             cremer@am.com>               <madrid.jay@dorsey.com>;              Winkler@am.com>;                                             and counsel at Dorsey & Whitney for purposes of
                                                                                              Melanie Montgomery<Melanie-      "betts.gina@dorsey.com"<betts.                                    obtaining legal advice regarding correspondence to
                                                                                               Montgomery@am.com>; Bill          gina@dorsey.com>; Ariana                                                               NRA.
                                                                                             Winkler <bill-winkler@am.com>;    Azimi <ariana-azimi@am.com>
                                                                                                "Revan McQueen" <Revan-
                                                                                                   McQueen@am.com>
1310   Attorney-Client     Message     10/5/2018 17:31   Bill Winkler <bill-winkler@am.com>     "madrid.jay@dorsey.com"         Brandon Winkler <Brandon-                         RE: Letter    Confidential communication between AMc employee
       Communications                                                                       <madrid.jay@dorsey.com>; "Lacey          Winkler@am.com>;                                             and counsel at Dorsey & Whitney for purposes of
                                                                                                  (Duffy) Cremer"<lacey-       "betts.gina@dorsey.com"<betts.                                    obtaining legal advice regarding correspondence to
                                                                                               cremer@am.com>; Melanie           gina@dorsey.com>; Ariana                                                  NRA about budget adjustments.
                                                                                                  Montgomery <Melanie-         Azimi <ariana-azimi@am.com>
                                                                                             Montgomery@am.com>; "Revan
                                                                                                    McQueen" <Revan-
                                                                                                   McQueen@am.com>




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  #    Privilege Type        Record Type       Document Date            Email From                         Email To                          Email CC               Email BCC      Email Subject                   Privilege Description
1311   Attorney-Client         Message         10/5/2018 17:31     Revan McQueen <Revan-         "Lacey (Duffy) Cremer" <lacey-      "madrid.jay@dorsey.com"                        Re: Letter     Confidential communication between AMc employee
       Communications                                               McQueen@am.com>                    cremer@am.com>               <madrid.jay@dorsey.com>;                                         and counsel at Dorsey & Whitney for purposes of
                                                                                                                                  Melanie Montgomery<Melanie-                                       obtaining legal advice regarding correspondence to
                                                                                                                                   Montgomery@am.com>; Bill                                                   NRA about budget adjustments.
                                                                                                                                           Winkler <bill-
                                                                                                                                   winkler@am.com>; "Brandon
                                                                                                                                        Winkler" <Brandon-
                                                                                                                                        Winkler@am.com>;
                                                                                                                                  "betts.gina@dorsey.com"<betts.
                                                                                                                                    gina@dorsey.com>; Ariana
                                                                                                                                  Azimi <ariana-azimi@am.com>
1312                      Message_Attachment   10/5/2018 17:31                                                                                                                                     Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                    file). Not privileged.
1313                      Message_Attachment   10/5/2018 17:31                                                                                                                                     Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                    file). Not privileged.
1314    Attorney-Client        Message         10/5/2018 17:34       Ariana Azimi <ariana-         Revan McQueen <Revan-             "madrid.jay@dorsey.com"                         Re: Letter    Confidential communication between AMc employee
       Communications;                                                 azimi@am.com>              McQueen@am.com>; "Lacey           <madrid.jay@dorsey.com>;                                         and counsel at Dorsey & Whitney for purposes of
         Work Product                                                                               (Duffy) Cremer"<lacey-        Melanie Montgomery<Melanie-                                       obtaining legal advice regarding correspondence to
                                                                                                      cremer@am.com>               Montgomery@am.com>; Bill                                                   NRA about budget adjustments.
                                                                                                                                            Winkler <bill-
                                                                                                                                   winkler@am.com>; "Brandon
                                                                                                                                        Winkler" <Brandon-
                                                                                                                                        Winkler@am.com>;
                                                                                                                                  "betts.gina@dorsey.com"<betts.
                                                                                                                                         gina@dorsey.com>
1315    Attorney-Client   Message_Attachment   10/5/2018 17:34                                                                                                                                     Confidential communication between AMc employee
       Communications;                                                                                                                                                                               and counsel at Dorsey & Whitney for purposes of
         Work Product                                                                                                                                                                               obtaining legal advice regarding correspondence to
                                                                                                                                                                                                              NRA about budget adjustments.
1316    Attorney-Client        Message         10/5/2018 17:34       Ariana Azimi <ariana-         Revan McQueen <Revan-             "madrid.jay@dorsey.com"                         Re: Letter    Confidential communication between AMc employee
       Communications;                                                 azimi@am.com>              McQueen@am.com>; "Lacey           <madrid.jay@dorsey.com>;                                         and counsel at Dorsey & Whitney for purposes of
         Work Product                                                                               (Duffy) Cremer"<lacey-        Melanie Montgomery<Melanie-                                       obtaining legal advice regarding correspondence to
                                                                                                      cremer@am.com>               Montgomery@am.com>; Bill                                         NRA about budget adjustments, and work product
                                                                                                                                            Winkler <bill-                                                  created in anticipation of litigation.
                                                                                                                                   winkler@am.com>; "Brandon
                                                                                                                                        Winkler" <Brandon-
                                                                                                                                        Winkler@am.com>;
                                                                                                                                  "betts.gina@dorsey.com"<betts.
                                                                                                                                         gina@dorsey.com>
1317                      Message_Attachment   10/5/2018 17:34                                                                                                                                     Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                    file). Not privileged.
1318    Attorney-Client        Message         10/5/2018 17:36   Melanie Montgomery <Melanie-         Ariana Azimi <ariana-       "madrid.jay@dorsey.com"                            Re: Letter    Confidential communication between AMc employee
       Communications;                                              Montgomery@am.com>          azimi@am.com>; Revan McQueen <madrid.jay@dorsey.com>; Bill                                           and counsel at Dorsey & Whitney for purposes of
         Work Product                                                                             <Revan-McQueen@am.com>;                 Winkler<bill-                                             obtaining legal advice regarding correspondence to
                                                                                                  "Lacey (Duffy) Cremer" <lacey- winkler@am.com>; Brandon                                           NRA about budget adjustments, and work product
                                                                                                        cremer@am.com>                Winkler <Brandon-                                                     created in anticipation of litigation.
                                                                                                                                     Winkler@am.com>;
                                                                                                                                   "betts.gina@dorsey.com"
                                                                                                                                  <betts.gina@dorsey.com>




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                                                                                                                                                                                                                                    APP. 01232
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  #    Privilege Type        Record Type       Document Date            Email From                          Email To                       Email CC              Email BCC         Email Subject                            Privilege Description
1319   Attorney-Client         Message         10/5/2018 17:37     Revan McQueen <Revan-              Ariana Azimi <ariana-    "Lacey (Duffy) Cremer" <lacey-                       Re: Letter              Confidential communication between AMc employee
       Communications                                               McQueen@am.com>                     azimi@am.com>                 cremer@am.com>;                                                         and counsel at Dorsey & Whitney for purposes of
                                                                                                                               "madrid.jay@dorsey.com"<madr                                                  obtaining legal advice regarding correspondence to
                                                                                                                                id.jay@dorsey.com>; Melanie                                                            NRA about budget adjustments.
                                                                                                                                    Montgomery <Melanie-
                                                                                                                                Montgomery@am.com>; Bill
                                                                                                                                         Winkler <bill-
                                                                                                                                 winkler@am.com>; Brandon
                                                                                                                                      Winkler <Brandon-
                                                                                                                                     Winkler@am.com>;
                                                                                                                                   "betts.gina@dorsey.com"
                                                                                                                                   <betts.gina@dorsey.com>
1320   Attorney-Client         Message         10/5/2018 17:37   Melanie Montgomery <Melanie-        Revan McQueen <Revan-     "Lacey (Duffy) Cremer" <lacey-                         Re: Letter            Confidential communication between AMc employee
       Communications                                               Montgomery@am.com>             McQueen@am.com>; Ariana            cremer@am.com>;                                                         and counsel at Dorsey & Whitney for purposes of
                                                                                                  Azimi <ariana-azimi@am.com> "madrid.jay@dorsey.com"<madr                                                   obtaining legal advice regarding correspondence to
                                                                                                                                  id.jay@dorsey.com>; Bill                                                             NRA about budget adjustments.
                                                                                                                                         Winkler <bill-
                                                                                                                                 winkler@am.com>; Brandon
                                                                                                                                      Winkler<Brandon-
                                                                                                                                     Winkler@am.com>;
                                                                                                                                   "betts.gina@dorsey.com"
                                                                                                                                   <betts.gina@dorsey.com>
1321   Attorney-Client         Message         10/5/2018 17:40       Ariana Azimi <ariana-        Melanie Montgomery <Melanie- "Lacey (Duffy) Cremer" <lacey-                         Re: Letter            Confidential communication between AMc employee
       Communications                                                  azimi@am.com>              Montgomery@am.com>; Revan           cremer@am.com>;                                                         and counsel at Dorsey & Whitney for purposes of
                                                                                                        McQueen<Revan-         "madrid.jay@dorsey.com"<madr                                                  obtaining legal advice regarding correspondence to
                                                                                                      McQueen@am.com>             id.jay@dorsey.com>; Bill                                                             NRA about budget adjustments.
                                                                                                                                         Winkler <bill-
                                                                                                                                 winkler@am.com>; Brandon
                                                                                                                                      Winkler<Brandon-
                                                                                                                                     Winkler@am.com>;
                                                                                                                                   "betts.gina@dorsey.com"
                                                                                                                                   <betts.gina@dorsey.com>
1322                      Message_Attachment   10/5/2018 17:40                                                                                                                                              Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                             file). Not privileged.
1323   Attorney-Client         Message         10/5/2018 17:41     <madrid.jay@dorsey.com>                    <Melanie-         <lacey-cremer@am.com>; <bill-                         RE: Letter            Confidential communication between AMc employee
       Communications                                                                             Montgomery@am.com>; <Revan-   winkler@am.com>; <Brandon-                                                    and counsel at Dorsey & Whitney for purposes of
                                                                                                   McQueen@am.com>; <ariana-         Winkler@am.com>;                                                        obtaining legal advice regarding correspondence to
                                                                                                          azimi@am.com>            <betts.gina@dorsey.com>                                                             NRA about budget adjustments.
1324    Attorney-Client        Message         10/5/2018 17:50   "Lacey (Duffy) Cremer" <lacey-          Bill Winkler <bill-    Melanie Montgomery <Melanie-                 Re: Invoice Info - ACP / AWP   Confidential communication between AMc employee
       Communications;                                                 cremer@am.com>              winkler@am.com>; Brandon     Montgomery@am.com>; Revan                                                     and counsel at Dorsey & Whitney for purposes of
         Work Product                                                                                    Winkler<Brandon-              McQueen<Revan-                                                         obtaining legal advice regarding NRA document
                                                                                                        Winkler@am.com>;             McQueen@am.com>                                                        requests, and work product created in anticipation of
                                                                                                     "madrid.jay@dorsey.com"                                                                                                        litigation.
                                                                                                    <madrid.jay@dorsey.com>;
                                                                                                      "betts.gina@dorsey.com"
                                                                                                     <betts.gina@dorsey.com>
1325                      Message_Attachment   10/5/2018 17:50                                                                                                                                              Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                           file). Not privileged.




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  #     Privilege Type       Record Type       Document Date              Email From                       Email To                         Email CC             Email BCC          Email Subject                          Privilege Description
1326    Attorney-Client        Message         10/5/2018 17:53     <betts.gina@dorsey.com>          <lacey-cremer@am.com>           <bill-winkler@am.com>;                   Re: Invoice Info - ACP / AWP   Confidential communication between AMc employee
       Communications;                                                                                                           <Brandon-Winkler@am.com>;                                                    and counsel at Dorsey & Whitney for purposes of
         Work Product                                                                                                              <madrid.jay@dorsey.com>;                                                   obtaining legal advice regarding NRA document
                                                                                                                                            <Melanie-                                                       requests, and work product created in anticipation of
                                                                                                                                    Montgomery@am.com>;                                                                           litigation.
                                                                                                                                  <Revan-McQueen@am.com>
1327                      Message_Attachment   10/5/2018 17:53                                                                                                                                              Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                             file). Not privileged.
1328    Attorney-Client        Message         10/5/2018 18:04     <madrid.jay@dorsey.com>       <lacey-cremer@am.com>; <bill-           <Melanie-                           RE: Invoice Info - ACP / AWP   Confidential communication between AMc employee
       Communications;                                                                           winkler@am.com>; <Brandon-       Montgomery@am.com>;                                                         and counsel at Dorsey & Whitney for purposes of
         Work Product                                                                                 Winkler@am.com>;           <Revan-McQueen@am.com>                                                       obtaining legal advice regarding NRA document
                                                                                                    <betts.gina@dorsey.com>                                                                                 requests, and work product created in anticipation of
                                                                                                                                                                                                                                    litigation.
1329    Attorney-Client        Message         10/5/2018 18:05     <madrid.jay@dorsey.com>       <betts.gina@dorsey.com>; <lacey-   <bill-winkler@am.com>;                   RE: Invoice Info - ACP / AWP   Confidential communication between AMc employee
       Communications;                                                                                   cremer@am.com>           <Brandon-Winkler@am.com>;                                                   and counsel at Dorsey & Whitney for purposes of
         Work Product                                                                                                                       <Melanie-                                                         obtaining legal advice regarding NRA document
                                                                                                                                    Montgomery@am.com>;                                                     requests, and work product created in anticipation of
                                                                                                                                   <Revan-McQueen@am.com>                                                                           litigation.
1330    Attorney-Client        Message         10/5/2018 18:15       Ariana Azimi <ariana-        Melanie Montgomery <Melanie- "Lacey (Duffy) Cremer" <lacey-                         Re: Letter            Confidential communication between AMc employee
       Communications;                                                 azimi@am.com>                 Montgomery@am.com>;             cremer@am.com>; Bill                                                     and counsel at Dorsey & Whitney for purposes of
         Work Product                                                                           "madrid.jay@dorsey.com"<madrid.j           Winkler<bill-                                                      obtaining legal advice regarding NRA document
                                                                                                ay@dorsey.com>; Revan McQueen winkler@am.com>; Brandon                                                      requests, and work product created in anticipation of
                                                                                                   <Revan-McQueen@am.com>              Winkler <Brandon-                                                                            litigation.
                                                                                                                                       Winkler@am.com>;
                                                                                                                                    "betts.gina@dorsey.com"
                                                                                                                                    <betts.gina@dorsey.com>
1331    Attorney-Client   Message_Attachment   10/5/2018 18:15                                                                                                                                              Confidential communication between AMc employee
       Communications;                                                                                                                                                                                        and counsel at Dorsey & Whitney for purposes of
         Work Product                                                                                                                                                                                         obtaining legal advice regarding NRA document
                                                                                                                                                                                                            requests, and work product created in anticipation of
                                                                                                                                                                                                                                  litigation.
1332    Attorney-Client        Message         10/5/2018 18:15   Melanie Montgomery <Melanie-        Ariana Azimi <ariana-        "madrid.jay@dorsey.com"                             Re: Letter            Confidential communication between AMc employee
       Communications;                                              Montgomery@am.com>                 azimi@am.com>             <madrid.jay@dorsey.com>;                                                     and counsel at Dorsey & Whitney for purposes of
         Work Product                                                                                                              Revan McQueen<Revan-                                                       obtaining legal advice regarding NRA document
                                                                                                                                 McQueen@am.com>; "Lacey                                                    requests, and work product created in anticipation of
                                                                                                                                    (Duffy) Cremer" <lacey-                                                                       litigation.
                                                                                                                                   cremer@am.com>; "Bill
                                                                                                                                         Winkler" <bill-
                                                                                                                                 winkler@am.com>; Brandon
                                                                                                                                      Winkler <Brandon-
                                                                                                                                     Winkler@am.com>;
                                                                                                                                   "betts.gina@dorsey.com"
                                                                                                                                  <betts.gina@dorsey.com>
1333                      Message_Attachment   10/5/2018 18:15                                                                                                                                              Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                           file). Not privileged.
1334                      Message_Attachment   10/5/2018 18:15                                                                                                                                              Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                           file). Not privileged.




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  #    Privilege Type        Record Type       Document Date                 Email From                          Email To                       Email CC               Email BCC          Email Subject                           Privilege Description
1335   Attorney-Client         Message         10/5/2018 18:16   Bill Winkler <bill-winkler@am.com>        Ariana Azimi <ariana-     "Lacey (Duffy) Cremer" <lacey-                        RE: Letter             Confidential communication between AMc employee
       Communications                                                                                    azimi@am.com>; Melanie       cremer@am.com>; Brandon                                                       and counsel at Dorsey & Whitney for purposes of
                                                                                                           Montgomery<Melanie-             Winkler<Brandon-                                                       obtaining legal advice regarding draft correspondence
                                                                                                          Montgomery@am.com>;             Winkler@am.com>;                                                                               to NRA.
                                                                                                         "madrid.jay@dorsey.com"        "betts.gina@dorsey.com"
                                                                                                      <madrid.jay@dorsey.com>; Revan    <betts.gina@dorsey.com>
                                                                                                             McQueen <Revan-
                                                                                                            McQueen@am.com>
1336    Attorney-Client        Message         10/5/2018 18:17        <betts.gina@dorsey.com>             <bill-winkler@am.com>        <lacey-cremer@am.com>;                      Re: Invoice Info - ACP / AWP   Confidential communication between AMc employee
       Communications;                                                                                                               <Brandon-Winkler@am.com>;                                                       and counsel at Dorsey & Whitney for purposes of
         Work Product                                                                                                                  <madrid.jay@dorsey.com>;                                                   obtaining legal advice regarding draft correspondence
                                                                                                                                                <Melanie-                                                          to NRA about document requests, and work product
                                                                                                                                        Montgomery@am.com>;                                                                 created in anticipation of litigation.
                                                                                                                                      <Revan-McQueen@am.com>
1337                      Message_Attachment   10/5/2018 18:17                                                                                                                                                   Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                  file). Not privileged.
1338                      Message_Attachment   10/5/2018 18:17                                                                                                                                                   Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                  file). Not privileged.
1339    Attorney-Client        Message         10/5/2018 18:21       <madrid.jay@dorsey.com>           <betts.gina@dorsey.com>; <bill- <lacey-cremer@am.com>;                      RE: Invoice Info - ACP / AWP Confidential communication between AMc employee
       Communications;                                                                                        winkler@am.com>        <Brandon-Winkler@am.com>;                                                     and counsel at Dorsey & Whitney for purposes of
         Work Product                                                                                                                           <Melanie-                                                       obtaining legal advice regarding draft correspondence
                                                                                                                                        Montgomery@am.com>;                                                      to NRA about document requests, and work product
                                                                                                                                      <Revan-McQueen@am.com>                                                              created in anticipation of litigation.
1340    Attorney-Client        Message         10/5/2018 18:23         Ariana Azimi <ariana-                 Bill Winkler <bill-     "Lacey (Duffy) Cremer" <lacey-                          Re: Letter         Confidential communication between AMc employee
       Communications;                                                   azimi@am.com>                  winkler@am.com>; Melanie      cremer@am.com>; Brandon                                                      and counsel at Dorsey & Whitney for purposes of
         Work Product                                                                                      Montgomery<Melanie-             Winkler<Brandon-                                                     obtaining legal advice regarding draft correspondence
                                                                                                         Montgomery@am.com>;              Winkler@am.com>;                                                       to NRA about document requests, and work product
                                                                                                         "madrid.jay@dorsey.com"        "betts.gina@dorsey.com"                                                           created in anticipation of litigation.
                                                                                                      <madrid.jay@dorsey.com>; Revan    <betts.gina@dorsey.com>
                                                                                                             McQueen <Revan-
                                                                                                            McQueen@am.com>
1341                      Message_Attachment   10/5/2018 18:23                                                                                                                                                      Letter from W. Winkler to C. Spray dated 10/5/18
                                                                                                                                                                                                                        attached to privileged email. Not privileged.
1342    Attorney-Client        Message         10/5/2018 18:32     "Lacey (Duffy) Cremer" <lacey-       "madrid.jay@dorsey.com"        Brandon Winkler <Brandon-                   Re: Invoice Info - ACP / AWP   Confidential communication between AMc employee
       Communications;                                                   cremer@am.com>                <madrid.jay@dorsey.com>;        Winkler@am.com>; Melanie                                                      and counsel at Dorsey & Whitney for purposes of
         Work Product                                                                               "betts.gina@dorsey.com"<betts.gin     Montgomery<Melanie-                                                     obtaining legal advice regarding draft correspondence
                                                                                                      a@dorsey.com>; Bill Winkler     Montgomery@am.com>; Revan                                                    to NRA about document requests, and work product
                                                                                                         <bill-winkler@am.com>              McQueen <Revan-                                                                  created in anticipation of litigation.
                                                                                                                                           McQueen@am.com>
1343    Attorney-Client        Message         10/5/2018 18:39   Bill Winkler <bill-winkler@am.com>     "madrid.jay@dorsey.com"       "Lacey (Duffy) Cremer" <lacey-               RE: Invoice Info - ACP / AWP   Confidential communication between AMc employee
       Communications;                                                                                 <madrid.jay@dorsey.com>;        cremer@am.com>; Brandon                                                       and counsel at Dorsey & Whitney for purposes of
         Work Product                                                                               "betts.gina@dorsey.com"<betts.gin       Winkler<Brandon-                                                      obtaining legal advice regarding draft correspondence
                                                                                                              a@dorsey.com>            Winkler@am.com>; Melanie                                                    to NRA about document requests, and work product
                                                                                                                                          Montgomery <Melanie-                                                              created in anticipation of litigation.
                                                                                                                                      Montgomery@am.com>; Revan
                                                                                                                                            McQueen <Revan-
                                                                                                                                           McQueen@am.com>




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  #     Privilege Type       Record Type       Document Date                 Email From                            Email To                       Email CC               Email BCC          Email Subject                           Privilege Description
1344    Attorney-Client        Message         10/5/2018 18:41   Bill Winkler <bill-winkler@am.com>     "Lacey (Duffy) Cremer" <lacey-  Brandon Winkler <Brandon-                    RE: Invoice Info - ACP / AWP   Confidential communication between AMc employee
       Communications;                                                                                       cremer@am.com>;            Winkler@am.com>; Melanie                                                       and counsel at Dorsey & Whitney for purposes of
         Work Product                                                                                 "madrid.jay@dorsey.com"<madrid.j      Montgomery<Melanie-                                                     obtaining legal advice regarding draft correspondence
                                                                                                              ay@dorsey.com>;          Montgomery@am.com>; Revan                                                     to NRA about document requests, and work product
                                                                                                          "betts.gina@dorsey.com"             McQueen <Revan-                                                                 created in anticipation of litigation.
                                                                                                          <betts.gina@dorsey.com>            McQueen@am.com>
1345    Attorney-Client        Message         10/5/2018 18:43     Melanie Montgomery <Melanie-         "Lacey (Duffy) Cremer" <lacey-    "madrid.jay@dorsey.com"                    Re: Invoice Info - ACP / AWP   Confidential communication between AMc employee
       Communications;                                                Montgomery@am.com>                      cremer@am.com>             <madrid.jay@dorsey.com>;                                                      and counsel at Dorsey & Whitney for purposes of
         Work Product                                                                                                                  "betts.gina@dorsey.com"<betts.                                               obtaining legal advice regarding draft correspondence
                                                                                                                                           gina@dorsey.com>; Bill                                                    to NRA about document requests, and work product
                                                                                                                                                Winkler <bill-                                                                created in anticipation of litigation.
                                                                                                                                        winkler@am.com>; Brandon
                                                                                                                                              Winkler<Brandon-
                                                                                                                                         Winkler@am.com>; Revan
                                                                                                                                              McQueen <Revan-
                                                                                                                                             McQueen@am.com>
1346                      Message_Attachment   10/5/2018 18:43                                                                                                                                                      Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                    file). Not privileged.
1347                      Message_Attachment   10/5/2018 18:43                                                                                                                                                      Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                    file). Not privileged.
1348   Attorney-Client         Message         10/8/2018 9:25    Bill Winkler <bill-winkler@am.com>      Revan McQueen <Revan-            "madrid.jay@dorsey.com"                      FW: Budget Adjustments       Confidential communication between AMc employee
       Communications                                                                                  McQueen@am.com>; Brandon          <madrid.jay@dorsey.com>;                                                    and counsel at Dorsey & Whitney for purposes of
                                                                                                            Winkler<Brandon-                 "Gina Betts - Dorsey                                                      obtaining legal advice regarding NRA budget
                                                                                                           Winkler@am.com>                (betts.gina@dorsey.com)"                                                                       adjustments.
                                                                                                                                         <betts.gina@dorsey.com>;
                                                                                                                                           Angus McQueen<angus-
                                                                                                                                        mcqueen@am.com>; Melanie
                                                                                                                                           Montgomery <Melanie-
                                                                                                                                          Montgomery@am.com>;
                                                                                                                                       "Lacey (Duffy) Cremer" <lacey-
                                                                                                                                              cremer@am.com>
1349                      Message_Attachment   10/8/2018 9:25                                                                                                                          SKM_C36818100809040           Letter from C. Spray to W. Winkler dated 10/6/18
                                                                                                                                                                                                                        attached to privileged email. Not privileged.
1350   Attorney-Client         Message         10/8/2018 10:18        <betts.gina@dorsey.com>         <bill-winkler@am.com>; <Revan-     <madrid.jay@dorsey.com>;                      RE: Budget Adjustments       Confidential communication between AMc employee
       Communications                                                                                 McQueen@am.com>; <Brandon-        <angus-mcqueen@am.com>;                                                      and counsel at Dorsey & Whitney for purposes of
                                                                                                             Winkler@am.com>                     <Melanie-                                                             obtaining legal advice regarding NRA budget
                                                                                                                                          Montgomery@am.com>;                                                                           adjustments.
                                                                                                                                          <lacey-cremer@am.com>
1351   Attorney-Client         Message         10/8/2018 10:40   Bill Winkler <bill-winkler@am.com>       "betts.gina@dorsey.com"         "madrid.jay@dorsey.com"                      RE: Budget Adjustments       Confidential communication between AMc employee
       Communications                                                                                 <betts.gina@dorsey.com>; Revan     <madrid.jay@dorsey.com>;                                                    and counsel at Dorsey & Whitney for purposes of
                                                                                                              McQueen<Revan-               Angus McQueen<angus-                                                        obtaining legal advice regarding NRA budget
                                                                                                       McQueen@am.com>; Brandon         mcqueen@am.com>; Melanie                                                                        adjustments.
                                                                                                              Winkler <Brandon-            Montgomery <Melanie-
                                                                                                             Winkler@am.com>              Montgomery@am.com>;
                                                                                                                                       "Lacey (Duffy) Cremer" <lacey-
                                                                                                                                             cremer@am.com>
1352   Attorney-Client         Message         10/8/2018 10:42        <betts.gina@dorsey.com>              <bill-winkler@am.com>                                                       RE: Budget Adjustments       Confidential communication between AMc employee
       Communications                                                                                                                                                                                                and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                                       obtaining legal advice regarding NRA budget
                                                                                                                                                                                                                                        adjustments.




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                                                                                                              AMC Second Amended Privilege Log


  #     Privilege Type       Record Type       Document Date           Email From                    Email To                        Email CC                Email BCC          Email Subject                        Privilege Description
1353    Attorney-Client        Message         10/8/2018 18:01   <madrid.jay@dorsey.com>     <Revan-McQueen@am.com>          <betts.gina@dorsey.com>                      FW: Letter PERSONAL &      Confidential communication between AMc employee
       Communications;                                                                                                                                                   CONFIDENTIAL; SUBJECT and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                        TO A/C PRIVILEGE           & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                     regarding draft correspondence to NRA counsel about
                                                                                                                                                                                                       Services Agreement, and work product created in
                                                                                                                                                                                                                    anticipation of litigation.
1354    Attorney-Client   Message_Attachment   10/8/2018 18:01                                                                                                                                       Confidential communication between AMc employee
       Communications;                                                                                                                                                                              and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                                                   & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                     regarding draft correspondence to NRA counsel about
                                                                                                                                                                                                       Services Agreement, and work product created in
                                                                                                                                                                                                                    anticipation of litigation.
1355    Attorney-Client   Message_Attachment   10/8/2018 18:01                                                                                                                                       Confidential communication between AMc employee
       Communications;                                                                                                                                                                              and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                                                   & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                     regarding draft correspondence to NRA counsel about
                                                                                                                                                                                                       Services Agreement, and work product created in
                                                                                                                                                                                                                    anticipation of litigation.
1356   Attorney-Client         Message         10/8/2018 18:36   Revan McQueen <Revan-        "madrid.jay@dorsey.com"        "betts.gina@dorsey.com"                       Re: Letter PERSONAL &     Confidential communication between AMc employee
       Communications                                             McQueen@am.com>             <madrid.jay@dorsey.com>        <betts.gina@dorsey.com>                     CONFIDENTIAL; SUBJECT and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                                                             TO A/C PRIVILEGE           & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                     regarding draft correspondence to NRA counsel about
                                                                                                                                                                                                                      Services Agreement.
1357                      Message_Attachment   10/8/2018 18:36                                                                                                                                        Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                      file). Not privileged.
1358   Attorney-Client         Message         10/8/2018 20:14   <betts.gina@dorsey.com>      <revan-mcqueen@am.com>                                                     Fwd: NRA / Ackerman: Video Confidential communication between AMc employee
       Communications                                                                                                                                                        Copying, Legal Fees    and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                                                                                        & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                     regarding draft correspondence to NRA counsel about
                                                                                                                                                                                                                      Services Agreement.
1359                      Message_Attachment   10/8/2018 20:14                                                                                                                                        Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                      file). Not privileged.
1360                      Message_Attachment   10/8/2018 20:14                                                                                                                                        Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                      file). Not privileged.
1361                      Message_Attachment   10/8/2018 20:14                                                                                                                                        Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                      file). Not privileged.
1362    Attorney-Client        Message         10/8/2018 20:22   Revan McQueen <Revan-          Angus McQueen <angus-                                                    Fwd: NRA / Ackerman: Video    AMc employee internally forwarding confidential
       Communications;                                            McQueen@am.com>            mcqueen@am.com>; Anthony                                                        Copying, Legal Fees    communication between AMc employee and counsel at
         Work Product                                                                               Makris<Anthony-                                                                                    Dorsey & Whitney for purposes of obtaining legal
                                                                                            makris@am.com>; Bill Winkler                                                                               advice regarding NRA request for documents and
                                                                                           <bill-winkler@am.com>; Brandon                                                                                response to same, and work product created in
                                                                                                   Winkler<Brandon-                                                                                                 anticipation of litigation.
                                                                                             Winkler@am.com>; Melanie
                                                                                                 Montgomery <Melanie-
                                                                                                 Montgomery@am.com>
1363    Attorney-Client   Message_Attachment   10/8/2018 20:22                                                                                                                                           AMc employee internally forwarding confidential
       Communications;                                                                                                                                                                                 communication between AMc employee and counsel at
         Work Product                                                                                                                                                                                    Dorsey & Whitney for purposes of obtaining legal
                                                                                                                                                                                                         advice regarding NRA request for documents and
                                                                                                                                                                                                          response to same, and work product created in
                                                                                                                                                                                                                     anticipation of litigation.



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                                                       Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21                                                 Page 481 of 1087 PageID 30686
                                                                                                                    AMC Second Amended Privilege Log


  #     Privilege Type       Record Type       Document Date             Email From                        Email To                        Email CC              Email BCC           Email Subject                         Privilege Description
1364    Attorney-Client   Message_Attachment   10/8/2018 20:22                                                                                                                                                AMc employee internally forwarding confidential
       Communications;                                                                                                                                                                                      communication between AMc employee and counsel at
         Work Product                                                                                                                                                                                         Dorsey & Whitney for purposes of obtaining legal
                                                                                                                                                                                                              advice regarding NRA request for documents and
                                                                                                                                                                                                               response to same, and work product created in
                                                                                                                                                                                                                          anticipation of litigation.
1365    Attorney-Client   Message_Attachment   10/8/2018 20:22                                                                                                                                                AMc employee internally forwarding confidential
       Communications;                                                                                                                                                                                      communication between AMc employee and counsel at
         Work Product                                                                                                                                                                                         Dorsey & Whitney for purposes of obtaining legal
                                                                                                                                                                                                              advice regarding NRA request for documents and
                                                                                                                                                                                                               response to same, and work product created in
                                                                                                                                                                                                                          anticipation of litigation.
1366    Attorney-Client        Message         10/8/2018 21:14     Anthony Makris <Anthony-         Revan McQueen <Revan-             Angus McQueen <angus-                   Re: NRA / Ackerman: Video       AMc employee internally forwarding confidential
       Communications;                                                 makris@am.com>                McQueen@am.com>                 mcqueen@am.com>; Bill                        Copying, Legal Fees       communication between AMc employee and counsel at
         Work Product                                                                                                                      Winkler <bill-                                                     Dorsey & Whitney for purposes of obtaining legal
                                                                                                                                    winkler@am.com>; Brandon                                                  advice regarding NRA request for documents and
                                                                                                                                        Winkler <Brandon-                                                      response to same, and work product created in
                                                                                                                                    Winkler@am.com>; Melanie                                                              anticipation of litigation.
                                                                                                                                       Montgomery<Melanie-
                                                                                                                                      Montgomery@am.com>
1367    Attorney-Client        Message         10/8/2018 22:02   Melanie Montgomery <Melanie-      Anthony Makris <Anthony-           Angus McQueen <angus-                   Re: NRA / Ackerman: Video       AMc employee internally forwarding confidential
       Communications;                                              Montgomery@am.com>             makris@am.com>; Revan             mcqueen@am.com>; Bill                        Copying, Legal Fees      communication between AMc employee and counsel at
         Work Product                                                                                  McQueen<Revan-                      Winkler <bill-                                                     Dorsey & Whitney for purposes of obtaining legal
                                                                                                     McQueen@am.com>                winkler@am.com>; Brandon                                                  advice regarding NRA request for documents and
                                                                                                                                        Winkler <Brandon-                                                       response to same, and work product created in
                                                                                                                                        Winkler@am.com>                                                                    anticipation of litigation.
1368    Work Product           Message         10/9/2018 8:58       Angus McQueen <angus-           Revan McQueen <Revan-                                                             <no subject>            Confidential internal communications prepared by
                                                                      mcqueen@am.com>                McQueen@am.com>                                                                                           request of and to provide to counsel at Dorsey &
                                                                                                                                                                                                                Whitney for purposes of obtaining legal advice
                                                                                                                                                                                                              regarding NRA request for documents, and work
                                                                                                                                                                                                                  product created in anticipation of litigation.
1369    Work Product      Message_Attachment   10/9/2018 8:58                                                                                                                                                 Confidential internal communications prepared by
                                                                                                                                                                                                               request of and to provide to counsel at Dorsey &
                                                                                                                                                                                                                Whitney for purposes of obtaining legal advice
                                                                                                                                                                                                              regarding NRA request for documents, and work
                                                                                                                                                                                                                  product created in anticipation of litigation.
1370    Attorney-Client        Message         10/9/2018 9:01      Revan McQueen <Revan-            "madrid.jay@dorsey.com"                                                  Attorney Client Communication Confidential communication between AMc employee
       Communications;                                              McQueen@am.com>                <madrid.jay@dorsey.com>;                                                                                and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                           "betts.gina@dorsey.com"<betts.gin                                                                               & Emery for purposes of obtaining legal advice
                                                                                                          a@dorsey.com>;                                                                                     regarding draft correspondence to NRA about NRA
                                                                                                        "SRyan@mwe.com"                                                                                     counsel, and work product created in anticipation of
                                                                                                       <SRyan@mwe.com>                                                                                                              litigation.
1371                      Message_Attachment   10/9/2018 9:01                                                                                                                                               Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                             file). Not privileged.
1372    Attorney-Client   Message_Attachment   10/9/2018 9:01                                                                                                                                               Confidential communication between AMc employee
       Communications;                                                                                                                                                                                     and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                                                           & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                             regarding draft correspondence to NRA about NRA
                                                                                                                                                                                                            counsel, and work product created in anticipation of
                                                                                                                                                                                                                                    litigation.




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  #     Privilege Type       Record Type       Document Date               Email From                           Email To                       Email CC                  Email BCC         Email Subject                           Privilege Description
1373    Attorney-Client        Message         10/9/2018 9:13         Revan McQueen <Revan-             "madrid.jay@dorsey.com"                                                          Re: Attorney Client        Confidential communication between AMc employee
       Communications;                                                 McQueen@am.com>                 <madrid.jay@dorsey.com>;                                                           Communication            and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                               "betts.gina@dorsey.com"<betts.gin                                                                                 & Emery for purposes of obtaining legal advice
                                                                                                              a@dorsey.com>;                                                                                        regarding draft correspondence to NRA about NRA
                                                                                                            "SRyan@mwe.com"                                                                                         counsel, and work product created in anticipation of
                                                                                                           <SRyan@mwe.com>                                                                                                                litigation.
1374   Attorney-Client         Message         10/9/2018 10:40        <betts.gina@dorsey.com>         <Revan-McQueen@am.com>;                                                        RE: NRA / Ackerman: Video      Confidential communication between AMc employee
       Communications                                                                                  <madrid.jay@dorsey.com>;                                                          Copying, Legal Fees       and counsel at Dorsey & Whitney and McDermott Will
                                                                                                           <SRyan@mwe.com>                                                                                            & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                         regarding AMc audit and operating status.
1375   Attorney-Client         Message         10/9/2018 12:11    "Ryan, Stephen" <SRyan@mwe.com>       Revan McQueen <Revan-                                                        RE: NRA / Ackerman: Video      Confidential communication between AMc employee
       Communications                                                                                     McQueen@am.com>;                                                           Copying, Legal Fees. attorney and counsel at Dorsey & Whitney and McDermott Will
                                                                                                    "madrid.jay@dorsey.com"<madrid.j                                                        work product.             & Emery for purposes of obtaining legal advice
                                                                                                            ay@dorsey.com>;                                                                                              regarding access to Oliver North contract.
                                                                                                        "betts.gina@dorsey.com"
                                                                                                        <betts.gina@dorsey.com>
1376   Attorney-Client         Message         10/9/2018 18:35        <madrid.jay@dorsey.com>         <Revan-McQueen@am.com>            <betts.gina@dorsey.com>;                             FW: Letters            Confidential communication between AMc employee
       Communications                                                                                                                     <SRyan@mwe.com>                                                          and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                                                                                                        & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                    regarding draft correspondence to NRA counsel about
                                                                                                                                                                                                                            audit procedures and document requests.
1377    Attorney-Client   Message_Attachment   10/9/2018 18:35                                                                                                                                                      Confidential communication between AMc employee
       Communications;                                                                                                                                                                                             and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                                                                   & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                    regarding draft correspondence to NRA counsel about
                                                                                                                                                                                                                      audit procedures and document requests, and work
                                                                                                                                                                                                                          product created in anticipation of litigation.
1378    Attorney-Client   Message_Attachment   10/9/2018 18:35                                                                                                                                                      Confidential communication between AMc employee
       Communications;                                                                                                                                                                                             and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                                                                   & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                    regarding draft correspondence to NRA counsel about
                                                                                                                                                                                                                      audit procedures and document requests, and work
                                                                                                                                                                                                                          product created in anticipation of litigation.
1379   Attorney-Client         Message         10/10/2018 18:18       <madrid.jay@dorsey.com>           <ariana-azimi@am.com>                                                                 FW: Letter            Confidential communication between AMc employee
       Communications                                                                                                                                                                                                  and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                                    obtaining legal advice regarding prior correspondence
                                                                                                                                                                                                                                         to NRA counsel.
1380                      Message_Attachment   10/10/2018 18:18                                                                                                                                                       Letter from J. Madrid to W. Brewer dated 4/20/18
                                                                                                                                                                                                                         attached to privileged email. Not privileged.
1381   Attorney-Client         Message         10/10/2018 18:43       <madrid.jay@dorsey.com>           <ariana-azimi@am.com>                                                                 RE: Letter            Confidential communication between AMc employee
       Communications                                                                                                                                                                                                  and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                                    obtaining legal advice regarding prior correspondence
                                                                                                                                                                                                                                         to NRA counsel.
1382   Attorney-Client         Message         10/10/2018 18:51         Ariana Azimi <ariana-          "madrid.jay@dorsey.com"                                                                Re: Letter            Confidential communication between AMc employee
       Communications                                                     azimi@am.com>                <madrid.jay@dorsey.com>                                                                                         and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                                    obtaining legal advice regarding prior correspondence
                                                                                                                                                                                                                                         to NRA counsel.
1383                      Message_Attachment   10/10/2018 18:51                                                                                                                                                      Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                      file). Not privileged.
1384                      Message_Attachment   10/10/2018 18:51                                                                                                                                                      Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                      file). Not privileged.



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                                                        Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21                                                Page 483 of 1087 PageID 30688
                                                                                                                AMC Second Amended Privilege Log


  #     Privilege Type       Record Type       Document Date            Email From                    Email To                           Email CC                Email BCC          Email Subject                            Privilege Description
1385    Attorney-Client        Message         10/10/2018 19:08   <madrid.jay@dorsey.com>     <Revan-McQueen@am.com>            <betts.gina@dorsey.com>;                           FW: Letter to Hart       Confidential communication between AMc employee
       Communications;                                                                                                            <SRyan@mwe.com>                                                          and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                                                           & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                            regarding draft correspondence to NRA counsel about
                                                                                                                                                                                                              audit procedures and document requests, and work
                                                                                                                                                                                                                   product created in anticipation of litigation.
1386    Attorney-Client   Message_Attachment   10/10/2018 19:08                                                                                                                                             Confidential communication between AMc employee
       Communications;                                                                                                                                                                                     and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                                                           & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                            regarding draft correspondence to NRA counsel about
                                                                                                                                                                                                              audit procedures and document requests, and work
                                                                                                                                                                                                                   product created in anticipation of litigation.
1387    Attorney-Client        Message         10/11/2018 9:23    Revan McQueen <Revan-         "madrid.jay@dorsey.com"           Ariana Azimi <ariana-                      Attorney Client Communication Confidential communication between AMc employee
       Communications;                                             McQueen@am.com>             <madrid.jay@dorsey.com>;             azimi@am.com>                                                              and counsel at Dorsey & Whitney for purposes of
         Work Product                                                                       "betts.gina@dorsey.com"<betts.gin                                                                               obtaining legal advice regarding draft correspondence
                                                                                                      a@dorsey.com>                                                                                           to Oliver North about the Services Agreement, and
                                                                                                                                                                                                               work product created in anticipation of litigation.
1388    Attorney-Client   Message_Attachment   10/11/2018 9:23                                                                                                                                              Confidential communication between AMc employee
       Communications;                                                                                                                                                                                         and counsel at Dorsey & Whitney for purposes of
         Work Product                                                                                                                                                                                       obtaining legal advice regarding draft correspondence
                                                                                                                                                                                                              to Oliver North about the Services Agreement, and
                                                                                                                                                                                                               work product created in anticipation of litigation.
1389    Attorney-Client        Message         10/11/2018 10:59   <betts.gina@dorsey.com>       <ariana-azimi@am.com>                                                        Fwd: NRA / Ackerman: Video Confidential communication between AMc employee
       Communications;                                                                                                                                                            Copying, Legal Fees          and counsel at Dorsey & Whitney for purposes of
         Work Product                                                                                                                                                                                       obtaining legal advice regarding Brewer Firm request
                                                                                                                                                                                                                  for documents, and work product created in
                                                                                                                                                                                                                            anticipation of litigation.
1390                      Message_Attachment   10/11/2018 10:59                                                                                                                                              Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                              file). Not privileged.
1391                      Message_Attachment   10/11/2018 10:59                                                                                                                                              Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                              file). Not privileged.
1392    Attorney-Client        Message         10/11/2018 11:00   <betts.gina@dorsey.com>       <ariana-azimi@am.com>                                                                 Fwd: Update           Confidential communication between AMc employee
       Communications;                                                                                                                                                                                         and counsel at Dorsey & Whitney for purposes of
         Work Product                                                                                                                                                                                       obtaining legal advice regarding Brewer Firm request
                                                                                                                                                                                                           to review North Contract, and work product created in
                                                                                                                                                                                                                            anticipation of litigation.
1393    Attorney-Client        Message         10/11/2018 11:21   <betts.gina@dorsey.com>       <ariana-azimi@am.com>                                                            Fwd: Brewer team and       Confidential communication between AMc employee
       Communications;                                                                                                                                                            document inspections         and counsel at Dorsey & Whitney for purposes of
         Work Product                                                                                                                                                                                       obtaining legal advice regarding Brewer Firm audit of
                                                                                                                                                                                                               AMc, and work product created in anticipation of
                                                                                                                                                                                                                                     litigation.
1394    Attorney-Client        Message         10/11/2018 11:22   <betts.gina@dorsey.com>       <ariana-azimi@am.com>                                                            Fwd: Brewer team and       Confidential communication between AMc employee
       Communications;                                                                                                                                                            document inspections         and counsel at Dorsey & Whitney for purposes of
         Work Product                                                                                                                                                                                       obtaining legal advice regarding Brewer Firm audit of
                                                                                                                                                                                                               AMc, and work product created in anticipation of
                                                                                                                                                                                                                                     litigation.




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                                                        Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21                                                  Page 484 of 1087 PageID 30689
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  #     Privilege Type       Record Type       Document Date             Email From                         Email To                         Email CC              Email BCC           Email Subject                            Privilege Description
1395    Attorney-Client        Message         10/11/2018 12:09     Revan McQueen <Revan-           "madrid.jay@dorsey.com"                                                    Attorney Client Communication Confidential communication between AMc employee
       Communications;                                               McQueen@am.com>               <madrid.jay@dorsey.com>;                                                                                    and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                           "betts.gina@dorsey.com"<betts.gin                                                                                  & Emery for purposes of obtaining legal advice
                                                                                                          a@dorsey.com>;                                                                                        regarding draft correspondence to Oliver North about
                                                                                                        "SRyan@mwe.com"                                                                                         the Services Agreement, and work product created in
                                                                                                       <SRyan@mwe.com>                                                                                                         anticipation of litigation.
1396                      Message_Attachment   10/11/2018 12:09                                                                                                                                                  Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                 file). Not privileged.
1397    Attorney-Client   Message_Attachment   10/11/2018 12:09                                                                                                                                                 Confidential communication between AMc employee
       Communications;                                                                                                                                                                                         and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                                                              & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                regarding draft correspondence to Oliver North about
                                                                                                                                                                                                                the Services Agreement, and work product created in
                                                                                                                                                                                                                               anticipation of litigation.
1398   Attorney-Client         Message         10/27/2018 16:16    Brandon Winkler <Brandon-        "betts.gina@dorsey.com"                                                    FW: Attorney-Client Privileged: Confidential communication between AMc employee
       Communications                                                  Winkler@am.com>              <betts.gina@dorsey.com>                                                         Template Separation           and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                         Agreements             obtaining legal advice regarding employee separation
                                                                                                                                                                                                                             obligations and preparation.
1399   Attorney-Client    Message_Attachment   10/27/2018 16:16                                                                                                                                                 Confidential communication between AMc employee
       Communications                                                                                                                                                                                             and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                                obtaining legal advice regarding employee separation
                                                                                                                                                                                                                             obligations and preparation.
1400   Attorney-Client    Message_Attachment   10/27/2018 16:16                                                                                                                                                 Confidential communication between AMc employee
       Communications                                                                                                                                                                                             and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                                obtaining legal advice regarding employee separation
                                                                                                                                                                                                                             obligations and preparation.
1401   Attorney-Client         Message         10/29/2018 16:48    <brown.trevor@dorsey.com>      <Brandon-Winkler@am.com>          <Raphan.Melissa@dorsey.com>                  Attorney-Client Privilege:     Confidential communication between AMc employee
       Communications                                                                                                                 ; <betts.gina@dorsey.com>                    Upcoming Separations           and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                                obtaining legal advice regarding employee separation
                                                                                                                                                                                                                             obligations and preparation.
1402   Attorney-Client         Message         10/30/2018 12:36    <brown.trevor@dorsey.com>      <Brandon-Winkler@am.com>          <Raphan.Melissa@dorsey.com>                 RE: Attorney-Client Privilege: Confidential communication between AMc employee
       Communications                                                                                                                 ; <betts.gina@dorsey.com>                    Upcoming Separations           and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                                obtaining legal advice regarding employee separation
                                                                                                                                                                                                                             obligations and preparation.
1403   Attorney-Client    Message_Attachment   10/30/2018 12:36                                                                                                                               _                 Confidential communication between AMc employee
       Communications                                                                                                                                                                                             and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                                obtaining legal advice regarding employee separation
                                                                                                                                                                                                                             obligations and preparation.
1404   Attorney-Client    Message_Attachment   10/30/2018 12:36                                                                                                                                                 Confidential communication between AMc employee
       Communications                                                                                                                                                                                             and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                                obtaining legal advice regarding employee separation
                                                                                                                                                                                                                             obligations and preparation.
1405   Attorney-Client    Message_Attachment   10/30/2018 12:36                                                                                                                                                 Confidential communication between AMc employee
       Communications                                                                                                                                                                                             and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                                obtaining legal advice regarding employee separation
                                                                                                                                                                                                                             obligations and preparation.
1406   Attorney-Client         Message         10/30/2018 15:41   <Raphan.Melissa@dorsey.com>     <Brandon-Winkler@am.com>            <betts.gina@dorsey.com>;                  RE: Attorney-Client Privilege: Confidential communication between AMc employee
       Communications                                                                                                                <brown.trevor@dorsey.com>;                    Upcoming Separations           and counsel at Dorsey & Whitney for purposes of
                                                                                                                                    <knoblauch.cheryl@dorsey.com                                                obtaining legal advice regarding employee separation
                                                                                                                                                  >                                                                          obligations and preparation.




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                                                                                                                        AMC Second Amended Privilege Log


  #    Privilege Type        Record Type       Document Date                Email From                          Email To                          Email CC                       Email BCC                     Email Subject                               Privilege Description
1407   Attorney-Client         Message         11/4/2018 12:03        <madrid.jay@dorsey.com>           <revan-mcqueen@am.com>         <betts.gina@dorsey.com>; <bill-                                    Fwd: Ackerman third-party       Confidential communication between AMc employee
       Communications                                                                                                                         winkler@am.com>                                                    subpoena                   and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                                                         obtaining legal advice regarding subpoena compliance.
1408   Attorney-Client         Message         11/12/2018 11:40   Bill Winkler <bill-winkler@am.com>     "betts.gina@dorsey.com"                                                                                RE: Wed mtg?              Confidential communication between AMc employee
       Communications                                                                                <betts.gina@dorsey.com>; "Lacey                                                                                                        and counsel at Dorsey & Whitney for purposes of
                                                                                                          (Duffy) Cremer"<lacey-                                                                                                             obtaining legal advice regarding NRA document
                                                                                                             cremer@am.com>                                                                                                                          request and budget amendments.
1409   Attorney-Client         Message         11/12/2018 11:52   Bill Winkler <bill-winkler@am.com>        "Gina Betts - Dorsey                                                                              FW: <no subject>            Confidential communication between AMc employee
       Communications                                                                                    (betts.gina@dorsey.com)"                                                                                                           and counsel at Dorsey & Whitney for purposes of
                                                                                                         <betts.gina@dorsey.com>                                                                                                             obtaining legal advice regarding NRA document
                                                                                                                                                                                                                                                     request and budget amendments.
1410   Attorney-Client         Message         12/4/2018 15:56        Brandon Winkler <Brandon-          "betts.gina@dorsey.com"             Bill Winkler <bill-                                           Fwd: [BULK] OLIVER             Confidential communication between AMc employee
       Communications                                                     Winkler@am.com>                <betts.gina@dorsey.com>             winkler@am.com>                                              NORTH EMPLOYMENT                  and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                                CONTRACT                 obtaining legal advice regarding negotiations for Oliver
                                                                                                                                                                                                                                                               North's contract.
1411   Attorney-Client         Message         12/10/2018 14:49        <betts.gina@dorsey.com>           <bill-winkler@am.com>                                                                          RE: status on new OLN contract    Confidential communication between AMc employee
       Communications                                                                                                                                                                                                                       and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                                                               obtaining legal advice regarding drafting and
                                                                                                                                                                                                                                                  negotiations for Oliver North's contract.
1412    Attorney-Client        Message         12/10/2018 17:02        <betts.gina@dorsey.com>         <Brandon-Winkler@am.com>;                                                                        FW: Amendment Number One          Confidential communication between AMc employee
       Communications;                                                                                    <bill-winkler@am.com>                                                                             to Talent Agreement             and counsel at Dorsey & Whitney for purposes of
         Work Product                                                                                                                                                                                                                          obtaining legal advice regarding drafting and
                                                                                                                                                                                                                                            negotiations for Oliver North's contract, and work
                                                                                                                                                                                                                                                product created in anticipation of litigation.
1413    Attorney-Client   Message_Attachment   12/10/2018 17:02                                                                                                                                                                           Confidential communication between AMc employee
       Communications;                                                                                                                                                                                                                      and counsel at Dorsey & Whitney for purposes of
         Work Product                                                                                                                                                                                                                          obtaining legal advice regarding drafting and
                                                                                                                                                                                                                                            negotiations for Oliver North's contract, and work
                                                                                                                                                                                                                                                product created in anticipation of litigation.
1414   Attorney-Client         Message         12/10/2018 17:22   Bill Winkler <bill-winkler@am.com>     "betts.gina@dorsey.com"                                         Melanie Montgomery <Melanie-   RE: Amendment Number One          Confidential communication between AMc employee
       Communications                                                                                   <betts.gina@dorsey.com>;                                            Montgomery@am.com>              to Talent Agreement             and counsel at Dorsey & Whitney for purposes of
                                                                                                        Brandon Winkler<Brandon-                                                                                                               obtaining legal advice regarding drafting and
                                                                                                            Winkler@am.com>                                                                                                                       negotiations for Oliver North's contract.
1415   Attorney-Client         Message         12/10/2018 17:24        <betts.gina@dorsey.com>            <bill-winkler@am.com>         <Brandon-Winkler@am.com>                                        Re: Amendment Number One          Confidential communication between AMc employee
       Communications                                                                                                                                                                                        to Talent Agreement            and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                                                               obtaining legal advice regarding drafting and
                                                                                                                                                                                                                                                  negotiations for Oliver North's contract.
1416                      Message_Attachment   12/10/2018 17:24                                                                                                                                                                           Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                                            file). Not privileged.
1417                      Message_Attachment   12/10/2018 17:24                                                                                                                                                                           Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                                            file). Not privileged.
1418   Attorney-Client         Message         12/10/2018 17:26   Bill Winkler <bill-winkler@am.com>     "betts.gina@dorsey.com"        Brandon Winkler <Brandon-                                       RE: Amendment Number One          Confidential communication between AMc employee
       Communications                                                                                    <betts.gina@dorsey.com>            Winkler@am.com>                                                 to Talent Agreement             and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                                                               obtaining legal advice regarding drafting and
                                                                                                                                                                                                                                                  negotiations for Oliver North's contract.
1419    Attorney-Client        Message         12/21/2018 16:00       <madrid.jay@dorsey.com>          <revan-mcqueen@am.com>;                                                                             Fwd: NRA / Ackerman             Confidential internal communications prepared by
       Communications;                                                                                    <SRyan@mwe.com>;                                                                                       McQueen                     request of and to provide to counsel at Dorsey &
         Work Product                                                                                   <betts.gina@dorsey.com>                                                                                                               Whitney for purposes of obtaining legal advice
                                                                                                                                                                                                                                            regarding NRA request for documents, and work
                                                                                                                                                                                                                                                product created in anticipation of litigation.




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  #    Privilege Type        Record Type       Document Date                Email From                          Email To                        Email CC                Email BCC         Email Subject                             Privilege Description
1420   Attorney-Client         Message         12/21/2018 16:01       <madrid.jay@dorsey.com>         <revan-mcqueen@am.com>;                                                          Fwd: NRA / Ackerman          Confidential communication between AMc employee
       Communications                                                                                  <betts.gina@dorsey.com>;                                                              McQueen               and counsel at Dorsey & Whitney and McDermott Will
                                                                                                          <SRyan@mwe.com>                                                                                             & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                        regarding correspondence from NRA counsel.
1421                      Message_Attachment   12/21/2018 16:01                                                                                                                                                     Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                     file). Not privileged.
1422                      Message_Attachment   12/21/2018 16:01                                                                                                                                                      Letter from S. Rogers to J. Madrid dated 12/21/18
                                                                                                                                                                                                                         attached to privileged email. Not privileged.
1423   Attorney-Client         Message         12/21/2018 16:33   "Ryan, Stephen" <SRyan@mwe.com>      "madrid.jay@dorsey.com"                                                          RE: NRA / Ackerman          Confidential communication between AMc employee
       Communications                                                                               <madrid.jay@dorsey.com>; "revan-                                                   McQueen. attorney work      and counsel at Dorsey & Whitney and McDermott Will
                                                                                                       mcqueen@am.com"<revan-                                                                 product.                & Emery for purposes of obtaining legal advice
                                                                                                          mcqueen@am.com>;                                                                                              regarding correspondence from NRA counsel.
                                                                                                        "betts.gina@dorsey.com"
                                                                                                       <betts.gina@dorsey.com>
1424    Attorney-Client        Message         12/21/2018 16:36       Revan McQueen <Revan-            "madrid.jay@dorsey.com"               "SRyan@mwe.com"                        Attorney Client Communication Confidential communication between AMc employee
       Communications;                                                 McQueen@am.com>                 <madrid.jay@dorsey.com>              <SRyan@mwe.com>;                                                      and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                  "betts.gina@dorsey.com"<betts.                                                 & Emery for purposes of obtaining legal advice
                                                                                                                                              gina@dorsey.com>                                                       regarding draft response correspondence to NRA
                                                                                                                                                                                                                   counsel, and work product created in anticipation of
                                                                                                                                                                                                                                           litigation.
1425   Attorney-Client         Message         12/21/2018 16:41       Revan McQueen <Revan-                 "Ryan, Stephen"               "madrid.jay@dorsey.com"                        Re: NRA / Ackerman        Confidential communication between AMc employee
       Communications                                                  McQueen@am.com>                    <SRyan@mwe.com>                <madrid.jay@dorsey.com>;                      McQueen. attorney work     and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                       "betts.gina@dorsey.com"<betts.                          product.               & Emery for purposes of obtaining legal advice
                                                                                                                                              gina@dorsey.com>                                                       regarding draft response correspondence to NRA
                                                                                                                                                                                                                                            counsel.
1426    Attorney-Client        Message         12/21/2018 16:54       <betts.gina@dorsey.com>         <Revan-McQueen@am.com>            <madrid.jay@dorsey.com>;                          Re: Attorney Client      Confidential communication between AMc employee
       Communications;                                                                                                                    <SRyan@mwe.com>                                  Communication          and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                                                                 & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                     regarding draft response correspondence to NRA
                                                                                                                                                                                                                   counsel, and work product created in anticipation of
                                                                                                                                                                                                                                           litigation.
1427                      Message_Attachment   12/21/2018 16:54                                                                                                                                                    Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                    file). Not privileged.
1428    Attorney-Client        Message         12/21/2018 16:59       Revan McQueen <Revan-             "betts.gina@dorsey.com"           "madrid.jay@dorsey.com"                         Re: Attorney Client      Confidential communication between AMc employee
       Communications;                                                 McQueen@am.com>                  <betts.gina@dorsey.com>          <madrid.jay@dorsey.com>;                          Communication          and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                  "SRyan@mwe.com"<SRyan@m                                                        & Emery for purposes of obtaining legal advice
                                                                                                                                                  we.com>                                                            regarding draft response correspondence to NRA
                                                                                                                                                                                                                   counsel, and work product created in anticipation of
                                                                                                                                                                                                                                           litigation.
1429    Attorney-Client        Message         12/22/2018 21:24       Revan McQueen <Revan-             "betts.gina@dorsey.com"          "madrid.jay@dorsey.com"                          Re: Attorney Client      Confidential communication between AMc employee
       Communications;                                                 McQueen@am.com>                  <betts.gina@dorsey.com>         <madrid.jay@dorsey.com>;                           Communication          and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                             "Ryan,                                                              & Emery for purposes of obtaining legal advice
                                                                                                                                       Stephen"<SRyan@mwe.com>                                                       regarding draft response correspondence to NRA
                                                                                                                                                                                                                   counsel, and work product created in anticipation of
                                                                                                                                                                                                                                           litigation.
1430    Attorney-Client   Message_Attachment   12/22/2018 21:24                                                                                                                                                    Confidential communication between AMc employee
       Communications;                                                                                                                                                                                            and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                                                                 & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                     regarding draft response correspondence to NRA
                                                                                                                                                                                                                   counsel, and work product created in anticipation of
                                                                                                                                                                                                                                           litigation.



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  #     Privilege Type       Record Type       Document Date                  Email From                         Email To                        Email CC                 Email BCC           Email Subject                        Privilege Description
1431    Attorney-Client        Message         12/23/2018 16:10   "Ryan, Stephen" <SRyan@mwe.com>        Revan McQueen <Revan-                                                             RE: Attorney Client     Confidential communication between AMc employee
       Communications;                                                                                     McQueen@am.com>;                                                           Communication/attorney work and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                               "betts.gina@dorsey.com"<betts.gin                                                            product.             & Emery for purposes of obtaining legal advice
                                                                                                             a@dorsey.com>;                                                                                          regarding draft response correspondence to NRA
                                                                                                        "madrid.jay@dorsey.com"                                                                                    counsel, and work product created in anticipation of
                                                                                                        <madrid.jay@dorsey.com>                                                                                                            litigation.
1432    Attorney-Client        Message         12/23/2018 17:27       Revan McQueen <Revan-                   "Ryan, Stephen"              "betts.gina@dorsey.com"                         Re: Attorney Client     Confidential communication between AMc employee
       Communications;                                                 McQueen@am.com>                     <SRyan@mwe.com>                <betts.gina@dorsey.com>;                    Communication/attorney work and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                   "madrid.jay@dorsey.com"<madr                             product.             & Emery for purposes of obtaining legal advice
                                                                                                                                             id.jay@dorsey.com>                                                      regarding draft response correspondence to NRA
                                                                                                                                                                                                                   counsel, and work product created in anticipation of
                                                                                                                                                                                                                                           litigation.
1433                      Message_Attachment   12/23/2018 17:27                                                                                                                                                    Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                    file). Not privileged.
1434    Attorney-Client        Message         12/25/2018 18:08       <madrid.jay@dorsey.com>         <Revan-McQueen@am.com>               <SRyan@mwe.com>;                                Re: Attorney Client     Confidential communication between AMc employee
       Communications;                                                                                                                    <betts.gina@dorsey.com>                     Communication/attorney work and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                                            product.             & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                     regarding draft response correspondence to NRA
                                                                                                                                                                                                                   counsel, and work product created in anticipation of
                                                                                                                                                                                                                                           litigation.
1435                      Message_Attachment   12/25/2018 18:08                                                                                                                                                    Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                    file). Not privileged.
1436   Attorney-Client         Message         12/27/2018 17:38       <betts.gina@dorsey.com>          <revan-mcqueen@am.com>              <bill-winkler@am.com>                      Fwd: Amendment Number One Confidential communication between AMc employee
       Communications                                                                                                                                                                      to Talent Agreement      and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                                       obtaining legal advice regarding drafting and
                                                                                                                                                                                                                          negotiations for Oliver North's contract.
1437                      Message_Attachment   12/27/2018 17:38                                                                                                                                                    Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                    file). Not privileged.
1438    Attorney-Client   Message_Attachment   12/27/2018 17:38                                                                                                                                                   Amendment to Oliver North's Employment Agreement,
       Communications;                                                                                                                                                                                                  dated 1/1/19. Attached to privileged email.
         Work Product
1439                      Message_Attachment   12/27/2018 17:38                                                                                                                                                    Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                    file). Not privileged.
1440                      Message_Attachment   12/27/2018 17:38                                                                                                                                                    Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                    file). Not privileged.
1441    Attorney-Client        Message         12/30/2018 0:12        Revan McQueen <Revan-                 "Ryan, Stephen"                "madrid.jay@dorsey.com"                         Re: Attorney Client     Confidential communication between AMc employee
       Communications;                                                 McQueen@am.com>                    <SRyan@mwe.com>                 <madrid.jay@dorsey.com>;                    Communication/attorney work and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                   "betts.gina@dorsey.com"<betts.                           product.             & Emery for purposes of obtaining legal advice
                                                                                                                                               gina@dorsey.com>                                                      regarding draft response correspondence to NRA
                                                                                                                                                                                                                   counsel, and work product created in anticipation of
                                                                                                                                                                                                                                           litigation.
1442    Attorney-Client   Message_Attachment   12/30/2018 0:12                                                                                                                                                     Confidential communication between AMc employee
       Communications;                                                                                                                                                                                            and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                                                                 & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                     regarding draft response correspondence to NRA
                                                                                                                                                                                                                   counsel, and work product created in anticipation of
                                                                                                                                                                                                                                           litigation.
1443   Attorney-Client         Message         12/31/2018 15:08         Ariana Azimi <ariana-                   Gina Betts                Revan McQueen <Revan-                       Re: Amendment Number One Confidential communication between AMc employee
       Communications                                                     azimi@am.com>                 <betts.gina@dorsey.com>           McQueen@am.com>; Bill                            to Talent Agreement      and counsel at Dorsey & Whitney for purposes of
                                                                                                                                               Winkler <bill-                                                          obtaining legal advice regarding drafting and
                                                                                                                                            winkler@am.com>                                                               negotiations for Oliver North's contract.



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                                                                                                                                                                                                                                                     APP. 01244
                                                        Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21                                                   Page 488 of 1087 PageID 30693
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  #     Privilege Type       Record Type       Document Date                Email From                      Email To                      Email CC                  Email BCC           Email Subject                           Privilege Description
1444                      Message_Attachment   12/31/2018 15:08                                                                                                                                                  Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                 file). Not privileged.
1445    Attorney-Client        Message          1/2/2019 17:35        <madrid.jay@dorsey.com>       <Revan-McQueen@am.com>         <betts.gina@dorsey.com>;                           FW: Letter to Hart        Confidential communication between AMc employee
       Communications;                                                                                                               <SRyan@mwe.com>                                                           and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                                                               & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                regarding draft correspondence to NRA counsel about
                                                                                                                                                                                                                   communications from Brewer, and work product
                                                                                                                                                                                                                         created in anticipation of litigation.
1446    Attorney-Client   Message_Attachment    1/2/2019 17:35                                                                                                                                                  Confidential communication between AMc employee
       Communications;                                                                                                                                                                                         and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                                                               & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                regarding draft correspondence to NRA counsel about
                                                                                                                                                                                                                   communications from Brewer, and work product
                                                                                                                                                                                                                         created in anticipation of litigation.
1447    Attorney-Client        Message          1/2/2019 17:48        <madrid.jay@dorsey.com>       <Revan-McQueen@am.com>         <betts.gina@dorsey.com>;                           FW: Letter to Hart        Confidential communication between AMc employee
       Communications;                                                                                                               <SRyan@mwe.com>                                                           and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                                                               & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                regarding draft correspondence to NRA counsel about
                                                                                                                                                                                                                   communications from Brewer, and work product
                                                                                                                                                                                                                         created in anticipation of litigation.
1448    Attorney-Client   Message_Attachment    1/2/2019 17:48                                                                                                                                                  Confidential communication between AMc employee
       Communications;                                                                                                                                                                                         and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                                                               & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                regarding draft correspondence to NRA counsel about
                                                                                                                                                                                                                   communications from Brewer, and work product
                                                                                                                                                                                                                         created in anticipation of litigation.
1449   Attorney-Client         Message          1/2/2019 18:51        <betts.gina@dorsey.com>        <madrid.jay@dorsey.com>                                                          Re: Letter to Hart        Confidential communication between AMc employee
       Communications                                                                                                                                                                                          and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                                                                                                    & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                regarding draft correspondence to NRA counsel about
                                                                                                                                                                                                                            communications from Brewer.
1450                      Message_Attachment    1/2/2019 18:51                                                                                                                                                   Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                 file). Not privileged.
1451   Attorney-Client         Message          1/2/2019 19:06    "Ryan, Stephen" <SRyan@mwe.com>   "madrid.jay@dorsey.com"       "Revan-McQueen@am.com"                              Re: Letter to Hart        Confidential communication between AMc employee
       Communications                                                                               <madrid.jay@dorsey.com>      <Revan-McQueen@am.com>;                                                       and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                 "betts.gina@dorsey.com"<betts.                                                     & Emery for purposes of obtaining legal advice
                                                                                                                                        gina@dorsey.com>                                                        regarding draft correspondence to NRA counsel about
                                                                                                                                                                                                                            communications from Brewer.
1452                      Message_Attachment    1/2/2019 19:06                                                                                                                                                   Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                 file). Not privileged.
1453    Attorney-Client        Message          1/3/2019 10:20           "Jordan, Cheryl"            "madrid.jay@dorsey.com"        "betts.gina@dorsey.com"                     On behalf of Steve Ryan -- RE: Confidential communication between AMc employee
       Communications;                                                 <Cajordan@mwe.com>           <madrid.jay@dorsey.com>;       <betts.gina@dorsey.com>;                             Letter to Hart         and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                         "Revan-                         "Ryan,                                                                & Emery for purposes of obtaining legal advice
                                                                                                    McQueen@am.com"<Revan-        Stephen"<SRyan@mwe.com>                                                       regarding draft correspondence to NRA counsel about
                                                                                                       McQueen@am.com>                                                                                             communications from Brewer, and work product
                                                                                                                                                                                                                         created in anticipation of litigation.




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  #     Privilege Type       Record Type       Document Date         Email From                    Email To                       Email CC                  Email BCC           Email Subject                           Privilege Description
1454    Attorney-Client   Message_Attachment   1/3/2019 10:20                                                                                                                                           Confidential communication between AMc employee
       Communications;                                                                                                                                                                                 and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                                                       & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                        regarding draft correspondence to NRA counsel about
                                                                                                                                                                                                           communications from Brewer, and work product
                                                                                                                                                                                                                 created in anticipation of litigation.
1455    Attorney-Client   Message_Attachment   1/3/2019 10:20                                                                                                                                           Confidential communication between AMc employee
       Communications;                                                                                                                                                                                 and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                                                       & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                        regarding draft correspondence to NRA counsel about
                                                                                                                                                                                                           communications from Brewer, and work product
                                                                                                                                                                                                                 created in anticipation of litigation.
1456   Attorney-Client         Message         1/3/2019 10:40   <madrid.jay@dorsey.com>   <Cajordan@mwe.com>; <Revan-      <betts.gina@dorsey.com>;                     RE: On behalf of Steve Ryan -- Confidential communication between AMc employee
       Communications                                                                          McQueen@am.com>               <SRyan@mwe.com>                                 RE: Letter to Hart        and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                                                                                            & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                        regarding draft correspondence to NRA counsel about
                                                                                                                                                                                                                    communications from Brewer.
1457    Attorney-Client        Message         1/3/2019 11:02   <madrid.jay@dorsey.com>    <Revan-McQueen@am.com>            <SRyan@mwe.com>;                                FW: Letter to Hart         Confidential communication between AMc employee
       Communications;                                                                                                      <betts.gina@dorsey.com>                                                    and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                                                       & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                        regarding draft correspondence to NRA counsel about
                                                                                                                                                                                                           communications from Brewer, and work product
                                                                                                                                                                                                                 created in anticipation of litigation.
1458    Attorney-Client   Message_Attachment   1/3/2019 11:02                                                                                                                                           Confidential communication between AMc employee
       Communications;                                                                                                                                                                                 and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                                                       & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                        regarding draft correspondence to NRA counsel about
                                                                                                                                                                                                           communications from Brewer, and work product
                                                                                                                                                                                                                 created in anticipation of litigation.
1459    Attorney-Client   Message_Attachment   1/3/2019 11:02                                                                                                                                           Confidential communication between AMc employee
       Communications;                                                                                                                                                                                 and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                                                       & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                        regarding draft correspondence to NRA counsel about
                                                                                                                                                                                                           communications from Brewer, and work product
                                                                                                                                                                                                                 created in anticipation of litigation.
1460   Attorney-Client         Message         1/3/2019 11:05   <betts.gina@dorsey.com>     <madrid.jay@dorsey.com>;          <SRyan@mwe.com>                                RE: Letter to Hart         Confidential communication between AMc employee
       Communications                                                                      <Revan-McQueen@am.com>                                                                                      and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                                                                                            & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                        regarding draft correspondence to NRA counsel about
                                                                                                                                                                                                                    communications from Brewer.
1461   Attorney-Client         Message         1/3/2019 11:56   Revan McQueen <Revan-       "madrid.jay@dorsey.com"            "SRyan@mwe.com"                                Re: Letter to Hart        Confidential communication between AMc employee
       Communications                                            McQueen@am.com>            <madrid.jay@dorsey.com>           <SRyan@mwe.com>;                                                         and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                         "betts.gina@dorsey.com"<betts.                                                     & Emery for purposes of obtaining legal advice
                                                                                                                                gina@dorsey.com>                                                        regarding draft correspondence to NRA counsel about
                                                                                                                                                                                                                    communications from Brewer.
1462                      Message_Attachment   1/3/2019 11:56                                                                                                                                            Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                         file). Not privileged.




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                                                                                                                                                                                                                                          APP. 01246
                                                       Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21                                             Page 490 of 1087 PageID 30695
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  #    Privilege Type        Record Type       Document Date          Email From                    Email To                         Email CC                Email BCC        Email Subject                         Privilege Description
1463   Attorney-Client         Message         1/3/2019 11:57   <madrid.jay@dorsey.com>     <Revan-McQueen@am.com>            <SRyan@mwe.com>;                               RE: Letter to Hart     Confidential communication between AMc employee
       Communications                                                                                                        <betts.gina@dorsey.com>                                               and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                                                                                        & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                    regarding draft correspondence to NRA counsel about
                                                                                                                                                                                                                communications from Brewer.
1464   Attorney-Client         Message         1/3/2019 12:36   Revan McQueen <Revan-        "madrid.jay@dorsey.com"             "SRyan@mwe.com"                             Re: Letter to Hart     Confidential communication between AMc employee
       Communications                                            McQueen@am.com>             <madrid.jay@dorsey.com>            <SRyan@mwe.com>;                                                   and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                           "betts.gina@dorsey.com"<betts.                                               & Emery for purposes of obtaining legal advice
                                                                                                                                  gina@dorsey.com>                                                  regarding draft correspondence to NRA counsel about
                                                                                                                                                                                                                communications from Brewer.
1465                      Message_Attachment   1/3/2019 12:36                                                                                                                                        Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                     file). Not privileged.
1466                      Message_Attachment   1/3/2019 12:36                                                                                                                                        Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                     file). Not privileged.
1467   Attorney-Client         Message         1/3/2019 13:39   <madrid.jay@dorsey.com>     <Revan-McQueen@am.com>            <SRyan@mwe.com>;                               FW: Letter to Hart     Confidential communication between AMc employee
       Communications                                                                                                        <betts.gina@dorsey.com>                                               and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                                                                                        & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                    regarding draft correspondence to NRA counsel about
                                                                                                                                                                                                                communications from Brewer.
1468    Attorney-Client   Message_Attachment   1/3/2019 13:39                                                                                                                                       Confidential communication between AMc employee
       Communications;                                                                                                                                                                             and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                                                   & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                    regarding draft correspondence to NRA counsel about
                                                                                                                                                                                                       communications from Brewer, and work product
                                                                                                                                                                                                              created in anticipation of litigation.
1469    Attorney-Client   Message_Attachment   1/3/2019 13:39                                                                                                                                       Confidential communication between AMc employee
       Communications;                                                                                                                                                                             and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                                                   & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                    regarding draft correspondence to NRA counsel about
                                                                                                                                                                                                       communications from Brewer, and work product
                                                                                                                                                                                                              created in anticipation of litigation.
1470    Attorney-Client        Message         1/3/2019 14:12   Revan McQueen <Revan-          Angus McQueen <angus-                                                       Attorney Work Product       AMc employee internally forwarding confidential
       Communications;                                           McQueen@am.com>            mcqueen@am.com>; Anthony                                                                               communication between AMc Employee and counsel at
         Work Product                                                                              Makris<Anthony-                                                                                    Dorsey & Whitney for purposes of obtaining legal
                                                                                           makris@am.com>; Bill Winkler                                                                               advice, and work product created in anticipation of
                                                                                          <bill-winkler@am.com>; Brandon                                                                                                    litigation.
                                                                                                  Winkler<Brandon-
                                                                                            Winkler@am.com>; Melanie
                                                                                                Montgomery <Melanie-
                                                                                                Montgomery@am.com>
1471    Attorney-Client   Message_Attachment   1/3/2019 14:12                                                                                                                                         AMc employee internally forwarding confidential
       Communications;                                                                                                                                                                             communication between AMc Employee and counsel at
         Work Product                                                                                                                                                                                Dorsey & Whitney for purposes of obtaining legal
                                                                                                                                                                                                     advice, and work product created in anticipation of
                                                                                                                                                                                                                         litigation.
1472    Attorney-Client   Message_Attachment   1/3/2019 14:12                                                                                                                                         AMc employee internally forwarding confidential
       Communications;                                                                                                                                                                             communication between AMc Employee and counsel at
         Work Product                                                                                                                                                                                Dorsey & Whitney for purposes of obtaining legal
                                                                                                                                                                                                     advice, and work product created in anticipation of
                                                                                                                                                                                                                         litigation.




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  #     Privilege Type       Record Type       Document Date              Email From                         Email To                       Email CC           Email BCC         Email Subject                           Privilege Description
1473    Attorney-Client   Message_Attachment   1/3/2019 14:12                                                                                                                                               AMc employee internally forwarding confidential
       Communications;                                                                                                                                                                                  communication between AMc Employee and counsel at
         Work Product                                                                                                                                                                                      Dorsey & Whitney for purposes of obtaining legal
                                                                                                                                                                                                           advice, and work product created in anticipation of
                                                                                                                                                                                                                                litigation.
1474    Attorney-Client   Message_Attachment   1/3/2019 14:12                                                                                                                                               AMc employee internally forwarding confidential
       Communications;                                                                                                                                                                                  communication between AMc Employee and counsel at
         Work Product                                                                                                                                                                                      Dorsey & Whitney for purposes of obtaining legal
                                                                                                                                                                                                          advice and work product regarding communications
                                                                                                                                                                                                             with NRA counse, and work product created in
                                                                                                                                                                                                                        anticipation of litigation.
1475    Attorney-Client   Message_Attachment   1/3/2019 14:12                                                                                                                                               AMc employee internally forwarding confidential
       Communications;                                                                                                                                                                                  communication between AMc Employee and counsel at
         Work Product                                                                                                                                                                                      Dorsey & Whitney for purposes of obtaining legal
                                                                                                                                                                                                           advice, and work product created in anticipation of
                                                                                                                                                                                                                                litigation.
1476    Attorney-Client   Message_Attachment   1/3/2019 14:12                                                                                                                                               AMc employee internally forwarding confidential
       Communications;                                                                                                                                                                                  communication between AMc Employee and counsel at
         Work Product                                                                                                                                                                                      Dorsey & Whitney for purposes of obtaining legal
                                                                                                                                                                                                          advice and work product regarding communications
                                                                                                                                                                                                             with NRA counse, and work product created in
                                                                                                                                                                                                                        anticipation of litigation.
1477    Attorney-Client        Message         1/3/2019 15:49   "Ryan, Stephen" <SRyan@mwe.com>       "madrid.jay@dorsey.com"                                                 attorney work product      Confidential communication between AMc employee
       Communications;                                                                               <madrid.jay@dorsey.com>;                                                                           and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                             "betts.gina@dorsey.com"<betts.gin                                                                          & Emery for purposes of obtaining legal advice
                                                                                                  a@dorsey.com>; "Revan McQueen                                                                          regarding draft correspondence to NRA counsel about
                                                                                                    - Ackerman McQueen (Revan-                                                                              communications from Brewer, and work product
                                                                                                    McQueen@am.com)" <Revan-                                                                                       created in anticipation of litigation.
                                                                                                         McQueen@am.com>
1478    Attorney-Client   Message_Attachment   1/3/2019 15:49                                                                                                                                            Confidential communication between AMc employee
       Communications;                                                                                                                                                                                  and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                                                        & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                         regarding draft correspondence to NRA counsel about
                                                                                                                                                                                                            communications from Brewer, and work product
                                                                                                                                                                                                                  created in anticipation of litigation.
1479   Attorney-Client         Message         1/3/2019 16:14       <madrid.jay@dorsey.com>              <SRyan@mwe.com>;                                                   RE: attorney work product    Confidential communication between AMc employee
       Communications                                                                             <betts.gina@dorsey.com>; <Revan-                                                                      and counsel at Dorsey & Whitney and McDermott Will
                                                                                                         McQueen@am.com>                                                                                     & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                         regarding draft correspondence to NRA counsel about
                                                                                                                                                                                                                     communications from Brewer.
1480    Attorney-Client        Message         1/3/2019 16:32       Revan McQueen <Revan-             "madrid.jay@dorsey.com"                                               Re: attorney work product    Confidential communication between AMc employee
       Communications;                                               McQueen@am.com>                 <madrid.jay@dorsey.com>;                                                                           and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                             "SRyan@mwe.com"<SRyan@mwe.                                                                                 & Emery for purposes of obtaining legal advice
                                                                                                   com>; "betts.gina@dorsey.com"                                                                         regarding draft correspondence to NRA counsel about
                                                                                                      <betts.gina@dorsey.com>                                                                               communications from Brewer, and work product
                                                                                                                                                                                                                  created in anticipation of litigation.




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  #     Privilege Type       Record Type       Document Date          Email From                   Email To                      Email CC           Email BCC          Email Subject                          Privilege Description
1481    Attorney-Client   Message_Attachment   1/3/2019 16:32                                                                                                                                Confidential communication between AMc employee
       Communications;                                                                                                                                                                      and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                                            & Emery for purposes of obtaining legal advice
                                                                                                                                                                                             regarding draft correspondence to NRA counsel about
                                                                                                                                                                                                communications from Brewer, and work product
                                                                                                                                                                                                        created in anticipation of litigation.
1482    Attorney-Client        Message         1/3/2019 17:00   Brandon Winkler <Brandon-   Revan McQueen <Revan-                                                  Attorney Work Product        AMc employee internally forwarding confidential
       Communications;                                              Winkler@am.com>          McQueen@am.com>                                                                                communication between AMc Employee and counsel at
         Work Product                                                                                                                                                                          Dorsey & Whitney for purposes of obtaining legal
                                                                                                                                                                                               advice, and work product created in anticipation of
                                                                                                                                                                                                                      litigation.
1483    Attorney-Client   Message_Attachment   1/3/2019 17:00                                                                                                                                   AMc employee internally forwarding confidential
       Communications;                                                                                                                                                                      communication between AMc Employee and counsel at
         Work Product                                                                                                                                                                          Dorsey & Whitney for purposes of obtaining legal
                                                                                                                                                                                               advice, and work product created in anticipation of
                                                                                                                                                                                                                      litigation.
1484    Attorney-Client        Message         1/3/2019 18:35    Revan McQueen <Revan-      "madrid.jay@dorsey.com"                                              Fwd: Attorney Work Product Confidential communication between AMc employee
       Communications;                                            McQueen@am.com>           <madrid.jay@dorsey.com>                                                                         and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                                            & Emery for purposes of obtaining legal advice
                                                                                                                                                                                             regarding draft correspondence to NRA counsel about
                                                                                                                                                                                                communications from Brewer, and work product
                                                                                                                                                                                                        created in anticipation of litigation.
1485                      Message_Attachment   1/3/2019 18:35                                                                                                                                 Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                               file). Not privileged.
1486    Attorney-Client   Message_Attachment   1/3/2019 18:35                                                                                                                                Confidential communication between AMc employee
       Communications;                                                                                                                                                                      and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                                            & Emery for purposes of obtaining legal advice
                                                                                                                                                                                             regarding draft correspondence to NRA counsel about
                                                                                                                                                                                                communications from Brewer, and work product
                                                                                                                                                                                                        created in anticipation of litigation.
1487    Attorney-Client        Message          1/4/2019 8:31   Anthony Makris <Anthony-    "me@warnerloughlin.com"                                              Fwd: Attorney Work Product     AMc employee internally forwarding confidential
       Communications;                                              makris@am.com>          <me@warnerloughlin.com>                                                                         communication between AMc Employee and counsel at
         Work Product                                                                                                                                                                          Dorsey & Whitney for purposes of obtaining legal
                                                                                                                                                                                               advice, and work product created in anticipation of
                                                                                                                                                                                                                      litigation.
1488    Attorney-Client   Message_Attachment    1/4/2019 8:31                                                                                                                                   AMc employee internally forwarding confidential
       Communications;                                                                                                                                                                      communication between AMc Employee and counsel at
         Work Product                                                                                                                                                                          Dorsey & Whitney for purposes of obtaining legal
                                                                                                                                                                                               advice, and work product created in anticipation of
                                                                                                                                                                                                                      litigation.
1489    Attorney-Client   Message_Attachment    1/4/2019 8:31                                                                                                                                   AMc employee internally forwarding confidential
       Communications;                                                                                                                                                                      communication between AMc Employee and counsel at
         Work Product                                                                                                                                                                          Dorsey & Whitney for purposes of obtaining legal
                                                                                                                                                                                               advice, and work product created in anticipation of
                                                                                                                                                                                                                      litigation.
1490    Attorney-Client   Message_Attachment    1/4/2019 8:31                                                                                                                                 AMc employee internally forwarding, for review and
       Communications;                                                                                                                                                                          input, confidential communication between AMc
         Work Product                                                                                                                                                                            employee and counsel at Dorsey & Whitney for
                                                                                                                                                                                                  purposes of obtaining legal advice regarding
                                                                                                                                                                                              communications to NRA counsel, and work product
                                                                                                                                                                                                        created in anticipation of litigation.



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                                                       Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21                                         Page 493 of 1087 PageID 30698
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  #     Privilege Type       Record Type       Document Date         Email From                  Email To                      Email CC                  Email BCC         Email Subject                           Privilege Description
1491    Attorney-Client   Message_Attachment    1/4/2019 8:31                                                                                                                                       AMc employee internally forwarding, for review and
       Communications;                                                                                                                                                                               input, confidential communication between AMc
         Work Product                                                                                                                                                                                  employee and counsel at Dorsey & Whitney for
                                                                                                                                                                                                        purposes of obtaining legal advice regarding
                                                                                                                                                                                                    communications to NRA counsel, and work product
                                                                                                                                                                                                             created in anticipation of litigation.
1492    Attorney-Client   Message_Attachment    1/4/2019 8:31                                                                                                                                       AMc employee internally forwarding, for review and
       Communications;                                                                                                                                                                               input, confidential communication between AMc
         Work Product                                                                                                                                                                                  employee and counsel at Dorsey & Whitney for
                                                                                                                                                                                                        purposes of obtaining legal advice regarding
                                                                                                                                                                                                    communications to NRA counsel, and work product
                                                                                                                                                                                                             created in anticipation of litigation.
1493    Attorney-Client   Message_Attachment    1/4/2019 8:31                                                                                                                                       AMc employee internally forwarding, for review and
       Communications;                                                                                                                                                                               input, confidential communication between AMc
         Work Product                                                                                                                                                                                  employee and counsel at Dorsey & Whitney for
                                                                                                                                                                                                        purposes of obtaining legal advice regarding
                                                                                                                                                                                                    communications to NRA counsel, and work product
                                                                                                                                                                                                             created in anticipation of litigation.
1494   Attorney-Client         Message          1/4/2019 9:55   Revan McQueen <Revan-     "madrid.jay@dorsey.com"           "SRyan@mwe.com"                           Re: attorney work product    Confidential communication between AMc employee
       Communications                                            McQueen@am.com>          <madrid.jay@dorsey.com>          <SRyan@mwe.com>;                                                       and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                      "betts.gina@dorsey.com"<betts.                                                   & Emery for purposes of obtaining legal advice
                                                                                                                             gina@dorsey.com>                                                      regarding draft correspondence to NRA counsel about
                                                                                                                                                                                                               communications from Brewer.
1495                      Message_Attachment    1/4/2019 9:55                                                                                                                                       Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                    file). Not privileged.
1496    Attorney-Client        Message         1/4/2019 11:29   <madrid.jay@dorsey.com>   <Revan-McQueen@am.com>          <SRyan@mwe.com>;                               FW: Letter to Hart        Confidential communication between AMc employee
       Communications;                                                                                                   <betts.gina@dorsey.com>                                                  and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                                                  & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                   regarding draft correspondence to NRA counsel about
                                                                                                                                                                                                      communications from Brewer, and work product
                                                                                                                                                                                                             created in anticipation of litigation.
1497    Attorney-Client   Message_Attachment   1/4/2019 11:29                                                                                                                                      Confidential communication between AMc employee
       Communications;                                                                                                                                                                            and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                                                  & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                   regarding draft correspondence to NRA counsel about
                                                                                                                                                                                                      communications from Brewer, and work product
                                                                                                                                                                                                             created in anticipation of litigation.
1498    Attorney-Client   Message_Attachment   1/4/2019 11:29                                                                                                                                      Confidential communication between AMc employee
       Communications;                                                                                                                                                                            and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                                                  & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                   regarding draft correspondence to NRA counsel about
                                                                                                                                                                                                      communications from Brewer, and work product
                                                                                                                                                                                                             created in anticipation of litigation.




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  #     Privilege Type       Record Type       Document Date         Email From                     Email To                    Email CC            Email BCC        Email Subject                            Privilege Description
1499    Attorney-Client        Message         1/4/2019 11:31   Revan McQueen <Revan-        Angus McQueen <angus-                                                  Fwd: Letter to Hart          AMc employee internally forwarding confidential
       Communications;                                           McQueen@am.com>        mcqueen@am.com>; Bill Winkler                                                                         communication between AMc Employee and counsel at
         Work Product                                                                   <bill-winkler@am.com>; Brandon                                                                          Dorsey & Whitney for purposes of obtaining legal
                                                                                                Winkler <Brandon-                                                                               advice, and work product created in anticipation of
                                                                                          Winkler@am.com>; Melanie                                                                                                  litigation.
                                                                                              Montgomery<Melanie-
                                                                                        Montgomery@am.com>; Anthony
                                                                                                Makris <Anthony-
                                                                                                makris@am.com>
1500    Attorney-Client   Message_Attachment   1/4/2019 11:31                                                                                                                                     AMc employee internally forwarding confidential
       Communications;                                                                                                                                                                        communication between AMc Employee and counsel at
         Work Product                                                                                                                                                                            Dorsey & Whitney for purposes of obtaining legal
                                                                                                                                                                                                 advice, and work product created in anticipation of
                                                                                                                                                                                                                        litigation.
1501    Attorney-Client   Message_Attachment   1/4/2019 11:31                                                                                                                                     AMc employee internally forwarding confidential
       Communications;                                                                                                                                                                        communication between AMc Employee and counsel at
         Work Product                                                                                                                                                                            Dorsey & Whitney for purposes of obtaining legal
                                                                                                                                                                                                 advice, and work product created in anticipation of
                                                                                                                                                                                                                        litigation.
1502    Attorney-Client   Message_Attachment   1/4/2019 11:31                                                                                                                                     AMc employee internally forwarding confidential
       Communications;                                                                                                                                                                        communication between AMc Employee and counsel at
         Work Product                                                                                                                                                                            Dorsey & Whitney for purposes of obtaining legal
                                                                                                                                                                                                 advice, and work product created in anticipation of
                                                                                                                                                                                                                        litigation.
1503    Attorney-Client   Message_Attachment   1/4/2019 11:31                                                                                                                                   AMc employee internally forwarding, for review and
       Communications;                                                                                                                                                                            input, confidential communication between AMc
         Work Product                                                                                                                                                                              employee and counsel at Dorsey & Whitney for
                                                                                                                                                                                                    purposes of obtaining legal advice regarding
                                                                                                                                                                                                communications to NRA counsel, and work product
                                                                                                                                                                                                          created in anticipation of litigation.
1504    Attorney-Client   Message_Attachment   1/4/2019 11:31                                                                                                                                   AMc employee internally forwarding, for review and
       Communications;                                                                                                                                                                            input, confidential communication between AMc
         Work Product                                                                                                                                                                              employee and counsel at Dorsey & Whitney for
                                                                                                                                                                                                    purposes of obtaining legal advice regarding
                                                                                                                                                                                                communications to NRA counsel, and work product
                                                                                                                                                                                                          created in anticipation of litigation.
1505    Attorney-Client   Message_Attachment   1/4/2019 11:31                                                                                                                                   AMc employee internally forwarding, for review and
       Communications;                                                                                                                                                                            input, confidential communication between AMc
         Work Product                                                                                                                                                                              employee and counsel at Dorsey & Whitney for
                                                                                                                                                                                                    purposes of obtaining legal advice regarding
                                                                                                                                                                                                communications to NRA counsel, and work product
                                                                                                                                                                                                          created in anticipation of litigation.
1506    Attorney-Client        Message         1/4/2019 11:37   Revan McQueen <Revan-      "madrid.jay@dorsey.com"                                               Fwd: attorney work product    Confidential communication between AMc employee
       Communications;                                           McQueen@am.com>           <madrid.jay@dorsey.com>                                                                            and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                                              & Emery for purposes of obtaining legal advice
                                                                                                                                                                                               regarding draft correspondence to NRA counsel about
                                                                                                                                                                                                  communications from Brewer, and work product
                                                                                                                                                                                                          created in anticipation of litigation.
1507                      Message_Attachment   1/4/2019 11:37                                                                                                                                   Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                 file). Not privileged.




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                                                                                                                                                                                                                                 APP. 01251
                                                       Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21                                            Page 495 of 1087 PageID 30700
                                                                                                             AMC Second Amended Privilege Log


  #     Privilege Type       Record Type       Document Date         Email From                      Email To                     Email CC                  Email BCC       Email Subject                        Privilege Description
1508                      Message_Attachment   1/4/2019 11:37                                                                                                                                     Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                  file). Not privileged.
1509                      Message_Attachment   1/4/2019 11:37                                                                                                                                     Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                  file). Not privileged.
1510    Attorney-Client   Message_Attachment   1/4/2019 11:37                                                                                                                                    Confidential communication between AMc employee
       Communications;                                                                                                                                                                          and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                                                & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                 regarding draft correspondence to NRA counsel about
                                                                                                                                                                                                    communications from Brewer, and work product
                                                                                                                                                                                                           created in anticipation of litigation.
1511                      Message_Attachment   1/4/2019 11:37                                                                                                                                     Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                  file). Not privileged.
1512                      Message_Attachment   1/4/2019 11:37                                                                                                                                     Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                  file). Not privileged.
1513    Attorney-Client        Message         1/4/2019 12:19   <madrid.jay@dorsey.com>     <Revan-McQueen@am.com>           <SRyan@mwe.com>;                              FW: Letter to Hart    Confidential communication between AMc employee
       Communications;                                                                                                      <betts.gina@dorsey.com>                                             and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                                                & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                 regarding draft correspondence to NRA counsel about
                                                                                                                                                                                                    communications from Brewer, and work product
                                                                                                                                                                                                           created in anticipation of litigation.
1514    Attorney-Client   Message_Attachment   1/4/2019 12:19                                                                                                                                    Confidential communication between AMc employee
       Communications;                                                                                                                                                                          and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                                                & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                 regarding draft correspondence to NRA counsel about
                                                                                                                                                                                                    communications from Brewer, and work product
                                                                                                                                                                                                           created in anticipation of litigation.
1515    Attorney-Client   Message_Attachment   1/4/2019 12:19                                                                                                                                    Confidential communication between AMc employee
       Communications;                                                                                                                                                                          and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                                                & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                 regarding draft correspondence to NRA counsel about
                                                                                                                                                                                                    communications from Brewer, and work product
                                                                                                                                                                                                           created in anticipation of litigation.
1516    Attorney-Client        Message         1/4/2019 12:20   Revan McQueen <Revan-          Angus McQueen <angus-                                                       FW: Letter to Hart     AMc employee internally forwarding, for review and
       Communications;                                           McQueen@am.com>          mcqueen@am.com>; Bill Winkler                                                                            input, confidential communication between AMc
         Work Product                                                                     <bill-winkler@am.com>; Brandon                                                                             employee and counsel at Dorsey & Whitney for
                                                                                                  Winkler <Brandon-                                                                                   purposes of obtaining legal advice regarding
                                                                                            Winkler@am.com>; Anthony                                                                              communications to NRA counsel, and work product
                                                                                                   Makris<Anthony-                                                                                         created in anticipation of litigation.
                                                                                             makris@am.com>; Melanie
                                                                                                Montgomery <Melanie-
                                                                                                Montgomery@am.com>
1517    Attorney-Client   Message_Attachment   1/4/2019 12:20                                                                                                                                    AMc employee internally forwarding, for review and
       Communications;                                                                                                                                                                            input, confidential communication between AMc
         Work Product                                                                                                                                                                              employee and counsel at Dorsey & Whitney for
                                                                                                                                                                                                    purposes of obtaining legal advice regarding
                                                                                                                                                                                                 communications to NRA counsel, and work product
                                                                                                                                                                                                          created in anticipation of litigation.




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                                                       Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21                                                      Page 496 of 1087 PageID 30701
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  #     Privilege Type       Record Type       Document Date              Email From                         Email To                        Email CC                 Email BCC        Email Subject                        Privilege Description
1518    Attorney-Client   Message_Attachment   1/4/2019 12:20                                                                                                                                                AMc employee internally forwarding, for review and
       Communications;                                                                                                                                                                                        input, confidential communication between AMc
         Work Product                                                                                                                                                                                           employee and counsel at Dorsey & Whitney for
                                                                                                                                                                                                                 purposes of obtaining legal advice regarding
                                                                                                                                                                                                             communications to NRA counsel, and work product
                                                                                                                                                                                                                      created in anticipation of litigation.
1519   Attorney-Client         Message         1/4/2019 12:48   "Ryan, Stephen" <SRyan@mwe.com>      "madrid.jay@dorsey.com"          "betts.gina@dorsey.com"                        RE: Letter to Hart     Confidential communication between AMc employee
       Communications                                                                               <madrid.jay@dorsey.com>;          <betts.gina@dorsey.com>                                              and counsel at Dorsey & Whitney and McDermott Will
                                                                                                              "Revan-                                                                                           & Emery for purposes of obtaining legal advice
                                                                                                    McQueen@am.com"<Revan-                                                                                  regarding draft correspondence to NRA counsel about
                                                                                                       McQueen@am.com>                                                                                                  communications from Brewer.
1520    Attorney-Client        Message         1/4/2019 13:05       Revan McQueen <Revan-            "madrid.jay@dorsey.com"              "SRyan@mwe.com"                             Re: Letter to Hart    Confidential communication between AMc employee
       Communications;                                               McQueen@am.com>                 <madrid.jay@dorsey.com>             <SRyan@mwe.com>;                                                  and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                               "betts.gina@dorsey.com"<betts.                                              & Emery for purposes of obtaining legal advice
                                                                                                                                           gina@dorsey.com>                                                 regarding draft correspondence to NRA counsel about
                                                                                                                                                                                                               communications from Brewer, and work product
                                                                                                                                                                                                                      created in anticipation of litigation.
1521    Attorney-Client   Message_Attachment   1/4/2019 13:05                                                                                                                                               Confidential communication between AMc employee
       Communications;                                                                                                                                                                                     and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                                                           & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                            regarding draft correspondence to NRA counsel about
                                                                                                                                                                                                               communications from Brewer, and work product
                                                                                                                                                                                                                      created in anticipation of litigation.
1522    Attorney-Client        Message         1/4/2019 14:36       <madrid.jay@dorsey.com>         <Revan-McQueen@am.com>             <SRyan@mwe.com>;                              FW: Hart Letter.pdf    Confidential communication between AMc employee
       Communications;                                                                                                                <betts.gina@dorsey.com>                                              and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                                                           & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                            regarding draft correspondence to NRA counsel about
                                                                                                                                                                                                               communications from Brewer, and work product
                                                                                                                                                                                                                      created in anticipation of litigation.
1523    Attorney-Client   Message_Attachment   1/4/2019 14:36                                                                                                                                               Confidential communication between AMc employee
       Communications;                                                                                                                                                                                     and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                                                           & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                            regarding draft correspondence to NRA counsel about
                                                                                                                                                                                                               communications from Brewer, and work product
                                                                                                                                                                                                                      created in anticipation of litigation.
1524    Attorney-Client        Message         1/4/2019 15:52       Revan McQueen <Revan-              Angus McQueen <angus-                                                        Fwd: Hart Letter.pdf     AMc employee internally forwarding, for review and
       Communications;                                               McQueen@am.com>                mcqueen@am.com>; Anthony                                                                                  input, confidential communication between AMc
         Work Product                                                                                      Makris<Anthony-                                                                                      employee and counsel at Dorsey & Whitney for
                                                                                                   makris@am.com>; Bill Winkler                                                                                  purposes of obtaining legal advice regarding
                                                                                                  <bill-winkler@am.com>; "Melanie                                                                            communications to NRA counsel, and work product
                                                                                                        Montgomery" <Melanie-                                                                                         created in anticipation of litigation.
                                                                                                  Montgomery@am.com>; Brandon
                                                                                                          Winkler<Brandon-
                                                                                                          Winkler@am.com>
1525    Attorney-Client   Message_Attachment   1/4/2019 15:52                                                                                                                                               AMc employee internally forwarding, for review and
       Communications;                                                                                                                                                                                       input, confidential communication between AMc
         Work Product                                                                                                                                                                                         employee and counsel at Dorsey & Whitney for
                                                                                                                                                                                                               purposes of obtaining legal advice regarding
                                                                                                                                                                                                            communications to NRA counsel, and work product
                                                                                                                                                                                                                     created in anticipation of litigation.




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  #     Privilege Type       Record Type       Document Date              Email From                     Email To                       Email CC                  Email BCC        Email Subject                        Privilege Description
1526    Attorney-Client   Message_Attachment   1/4/2019 15:52                                                                                                                                            AMc employee internally forwarding, for review and
       Communications;                                                                                                                                                                                    input, confidential communication between AMc
         Work Product                                                                                                                                                                                      employee and counsel at Dorsey & Whitney for
                                                                                                                                                                                                             purposes of obtaining legal advice regarding
                                                                                                                                                                                                         communications to NRA counsel, and work product
                                                                                                                                                                                                                  created in anticipation of litigation.
1527    Attorney-Client   Message_Attachment   1/4/2019 15:52                                                                                                                                            AMc employee internally forwarding, for review and
       Communications;                                                                                                                                                                                    input, confidential communication between AMc
         Work Product                                                                                                                                                                                      employee and counsel at Dorsey & Whitney for
                                                                                                                                                                                                             purposes of obtaining legal advice regarding
                                                                                                                                                                                                         communications to NRA counsel, and work product
                                                                                                                                                                                                                  created in anticipation of litigation.
1528    Attorney-Client   Message_Attachment   1/4/2019 15:52                                                                                                                                            AMc employee internally forwarding, for review and
       Communications;                                                                                                                                                                                    input, confidential communication between AMc
         Work Product                                                                                                                                                                                      employee and counsel at Dorsey & Whitney for
                                                                                                                                                                                                             purposes of obtaining legal advice regarding
                                                                                                                                                                                                         communications to NRA counsel, and work product
                                                                                                                                                                                                                  created in anticipation of litigation.
1529   Attorney-Client         Message         1/4/2019 15:56   "Ryan, Stephen" <SRyan@mwe.com>    "madrid.jay@dorsey.com"        "betts.gina@dorsey.com"                        RE: Hart Letter.pdf    Confidential communication between AMc employee
       Communications                                                                             <madrid.jay@dorsey.com>;        <betts.gina@dorsey.com>                                              and counsel at Dorsey & Whitney and McDermott Will
                                                                                                            "Revan-                                                                                        & Emery for purposes of obtaining legal advice
                                                                                                  McQueen@am.com"<Revan-                                                                                regarding draft correspondence to NRA counsel about
                                                                                                     McQueen@am.com>                                                                                                communications from Brewer.
1530   Attorney-Client         Message         1/4/2019 16:10       Revan McQueen <Revan-          "madrid.jay@dorsey.com"           "SRyan@mwe.com"                             Re: Hart Letter.pdf    Confidential communication between AMc employee
       Communications                                                McQueen@am.com>               <madrid.jay@dorsey.com>          <SRyan@mwe.com>;                                                   and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                               "betts.gina@dorsey.com"<betts.                                              & Emery for purposes of obtaining legal advice
                                                                                                                                      gina@dorsey.com>                                                  regarding draft correspondence to NRA counsel about
                                                                                                                                                                                                                    communications from Brewer.
1531                      Message_Attachment   1/4/2019 16:10                                                                                                                                            Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                         file). Not privileged.
1532   Attorney-Client         Message         1/4/2019 16:13       Revan McQueen <Revan-         "madrid.jay@dorsey.com"            "SRyan@mwe.com"                             Re: Hart Letter.pdf    Confidential communication between AMc employee
       Communications                                                McQueen@am.com>              <madrid.jay@dorsey.com>           <SRyan@mwe.com>;                                                   and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                               "betts.gina@dorsey.com"<betts.                                              & Emery for purposes of obtaining legal advice
                                                                                                                                      gina@dorsey.com>                                                  regarding draft correspondence to NRA counsel about
                                                                                                                                                                                                                    communications from Brewer.
1533   Attorney-Client         Message         1/4/2019 17:09       Revan McQueen <Revan-         "madrid.jay@dorsey.com"                                                        Re: Hart Letter.pdf    Confidential communication between AMc employee
       Communications                                                McQueen@am.com>              <madrid.jay@dorsey.com>                                                                              and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                                                                                           & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                        regarding draft correspondence to NRA counsel about
                                                                                                                                                                                                                    communications from Brewer.
1534                      Message_Attachment   1/4/2019 17:09                                                                                                                                            Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                         file). Not privileged.
1535   Attorney-Client         Message         1/4/2019 17:13       <madrid.jay@dorsey.com>       <Revan-McQueen@am.com>           <SRyan@mwe.com>;                              Re: Letter to Hart     Confidential communication between AMc employee
       Communications                                                                                                             <betts.gina@dorsey.com>                                              and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                                                                                           & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                        regarding draft correspondence to NRA counsel about
                                                                                                                                                                                                                    communications from Brewer.
1536                      Message_Attachment   1/4/2019 17:13                                                                                                                                            Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                         file). Not privileged.
1537                      Message_Attachment   1/4/2019 17:13                                                                                                                                            Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                         file). Not privileged.



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  #     Privilege Type       Record Type       Document Date                Email From                        Email To                    Email CC                Email BCC           Email Subject                            Privilege Description
1538    Attorney-Client        Message         1/6/2019 12:41   "Ryan, Stephen" <SRyan@mwe.com>       Revan McQueen <revan-                                                    Hart talking points. Attorney   Confidential communication between AMc employee
       Communications;                                                                             mcqueen@am.com>; "Gina E.                                                   work product and privileged.   and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                             Betts"<betts.gina@dorsey.com>;                                                                                  & Emery for purposes of obtaining legal advice
                                                                                                            Madrid Jay                                                                                          regarding AMc communications with Brewer, and
                                                                                                     <madrid.jay@dorsey.com>                                                                                     work product created in anticipation of litigation.
1539    Attorney-Client        Message         1/7/2019 15:50       Revan McQueen <Revan-           Anthony Makris <Anthony-                                                      Fwd: my first exchange.      AMc employee internally forwarding, for review and
       Communications;                                               McQueen@am.com>                 makris@am.com>; Angus                                                        Attorney work product.         input, confidential communication between AMc
         Work Product                                                                                    McQueen<angus-                                                                                           employee and counsel at Dorsey & Whitney for
                                                                                                        mcqueen@am.com>                                                                                            purposes of obtaining legal advice regarding
                                                                                                                                                                                                               communications to NRA counsel, and work product
                                                                                                                                                                                                                         created in anticipation of litigation.
1540    Attorney-Client        Message         1/7/2019 16:06       Anthony Makris <Anthony-         Revan McQueen <Revan-          Angus McQueen <angus-                     Re: my first exchange. Attorney AMc employee internally forwarding, for review and
       Communications;                                                  makris@am.com>                McQueen@am.com>                 mcqueen@am.com>                                  work product.             input, confidential communication between AMc
         Work Product                                                                                                                                                                                             employee and counsel at Dorsey & Whitney for
                                                                                                                                                                                                                   purposes of obtaining legal advice regarding
                                                                                                                                                                                                               communications to NRA counsel, and work product
                                                                                                                                                                                                                         created in anticipation of litigation.
1541    Attorney-Client        Message         1/7/2019 16:07       Anthony Makris <Anthony-         Revan McQueen <Revan-          Angus McQueen <angus-                     Re: my first exchange. Attorney AMc employee internally forwarding, for review and
       Communications;                                                  makris@am.com>                McQueen@am.com>                 mcqueen@am.com>                            work product. Correction        input, confidential communication between AMc
         Work Product                                                                                                                                                                                             employee and counsel at Dorsey & Whitney for
                                                                                                                                                                                                                   purposes of obtaining legal advice regarding
                                                                                                                                                                                                               communications to NRA counsel, and work product
                                                                                                                                                                                                                         created in anticipation of litigation.
1542    Attorney-Client        Message         1/7/2019 23:45       Revan McQueen <Revan-           Anthony Makris <Anthony-                                                       Fwd: Hart Letter.pdf        AMc employee internally forwarding, for review and
       Communications;                                               McQueen@am.com>                    makris@am.com>                                                                                           input, confidential communication between AMc
         Work Product                                                                                                                                                                                             employee and counsel at Dorsey & Whitney for
                                                                                                                                                                                                                   purposes of obtaining legal advice regarding
                                                                                                                                                                                                               communications to NRA counsel, and work product
                                                                                                                                                                                                                         created in anticipation of litigation.
1543    Attorney-Client   Message_Attachment   1/7/2019 23:45                                                                                                                                                  AMc employee internally forwarding, for review and
       Communications;                                                                                                                                                                                           input, confidential communication between AMc
         Work Product                                                                                                                                                                                             employee and counsel at Dorsey & Whitney for
                                                                                                                                                                                                                   purposes of obtaining legal advice regarding
                                                                                                                                                                                                               communications to NRA counsel, and work product
                                                                                                                                                                                                                         created in anticipation of litigation.
1544    Attorney-Client   Message_Attachment   1/7/2019 23:45                                                                                                                                                  AMc employee internally forwarding, for review and
       Communications;                                                                                                                                                                                           input, confidential communication between AMc
         Work Product                                                                                                                                                                                             employee and counsel at Dorsey & Whitney for
                                                                                                                                                                                                                   purposes of obtaining legal advice regarding
                                                                                                                                                                                                               communications to NRA counsel, and work product
                                                                                                                                                                                                                         created in anticipation of litigation.
1545    Attorney-Client   Message_Attachment   1/7/2019 23:45                                                                                                                                                  AMc employee internally forwarding, for review and
       Communications;                                                                                                                                                                                           input, confidential communication between AMc
         Work Product                                                                                                                                                                                             employee and counsel at Dorsey & Whitney for
                                                                                                                                                                                                                   purposes of obtaining legal advice regarding
                                                                                                                                                                                                               communications to NRA counsel, and work product
                                                                                                                                                                                                                         created in anticipation of litigation.




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  #     Privilege Type       Record Type       Document Date              Email From                         Email To                          Email CC              Email BCC          Email Subject                              Privilege Description
1546    Attorney-Client   Message_Attachment   1/7/2019 23:45                                                                                                                                                     AMc employee internally forwarding, for review and
       Communications;                                                                                                                                                                                              input, confidential communication between AMc
         Work Product                                                                                                                                                                                                employee and counsel at Dorsey & Whitney for
                                                                                                                                                                                                                       purposes of obtaining legal advice regarding
                                                                                                                                                                                                                   communications to NRA counsel, and work product
                                                                                                                                                                                                                            created in anticipation of litigation.
1547    Attorney-Client        Message         1/8/2019 14:59       Anthony Makris <Anthony-           Nader Tavangar <nader-                                                        Fwd: Hart Letter.pdf         AMc employee internally forwarding, for review and
       Communications;                                                  makris@am.com>                  tavangar@am.com>                                                                                            input, confidential communication between AMc
         Work Product                                                                                                                                                                                                employee and counsel at Dorsey & Whitney for
                                                                                                                                                                                                                       purposes of obtaining legal advice regarding
                                                                                                                                                                                                                   communications to NRA counsel, and work product
                                                                                                                                                                                                                            created in anticipation of litigation.
1548    Attorney-Client   Message_Attachment   1/8/2019 14:59                                                                                                                                                     AMc employee internally forwarding, for review and
       Communications;                                                                                                                                                                                              input, confidential communication between AMc
         Work Product                                                                                                                                                                                                employee and counsel at Dorsey & Whitney for
                                                                                                                                                                                                                       purposes of obtaining legal advice regarding
                                                                                                                                                                                                                   communications to NRA counsel, and work product
                                                                                                                                                                                                                            created in anticipation of litigation.
1549    Attorney-Client   Message_Attachment   1/8/2019 14:59                                                                                                                                                     AMc employee internally forwarding, for review and
       Communications;                                                                                                                                                                                              input, confidential communication between AMc
         Work Product                                                                                                                                                                                                employee and counsel at Dorsey & Whitney for
                                                                                                                                                                                                                       purposes of obtaining legal advice regarding
                                                                                                                                                                                                                   communications to NRA counsel, and work product
                                                                                                                                                                                                                            created in anticipation of litigation.
1550    Attorney-Client   Message_Attachment   1/8/2019 14:59                                                                                                                                                     AMc employee internally forwarding, for review and
       Communications;                                                                                                                                                                                              input, confidential communication between AMc
         Work Product                                                                                                                                                                                                employee and counsel at Dorsey & Whitney for
                                                                                                                                                                                                                       purposes of obtaining legal advice regarding
                                                                                                                                                                                                                   communications to NRA counsel, and work product
                                                                                                                                                                                                                            created in anticipation of litigation.
1551    Attorney-Client   Message_Attachment   1/8/2019 14:59                                                                                                                                                     AMc employee internally forwarding, for review and
       Communications;                                                                                                                                                                                              input, confidential communication between AMc
         Work Product                                                                                                                                                                                                employee and counsel at Dorsey & Whitney for
                                                                                                                                                                                                                       purposes of obtaining legal advice regarding
                                                                                                                                                                                                                   communications to NRA counsel, and work product
                                                                                                                                                                                                                            created in anticipation of litigation.
1552   Attorney-Client         Message          1/9/2019 9:03       Revan McQueen <Revan-                 "Ryan, Stephen"                "betts.gina@dorsey.com"                 Re: We had a pretty busy day     Confidential communication between AMc employee
       Communications                                                McQueen@am.com>                    <SRyan@mwe.com>                 <betts.gina@dorsey.com>;                   yesterday regarding the       and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                      "madrid.jay@dorsey.com"<madr               exchange of letters. attorney       & Emery for purposes of obtaining legal advice
                                                                                                                                           id.jay@dorsey.com>                        client communication             regarding AMc communications with Brewer.
1553                      Message_Attachment    1/9/2019 9:03                                                                                                                                                      Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                    file). Not privileged.
1554    Attorney-Client        Message         1/9/2019 16:12   "Ryan, Stephen" <SRyan@mwe.com>       "madrid.jay@dorsey.com"                                                    FW: Attached: Draft Letter to    Confidential communication between AMc employee
       Communications;                                                                               <madrid.jay@dorsey.com>;                                                     Steve Hart/attorney work       and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                             "betts.gina@dorsey.com"<betts.gin                                                        product                   & Emery for purposes of obtaining legal advice
                                                                                                  a@dorsey.com>; "Revan McQueen                                                                                   regarding audit procedures, and work product created
                                                                                                    - Ackerman McQueen (Revan-                                                                                                  in anticipation of litigation.
                                                                                                    McQueen@am.com)" <Revan-
                                                                                                         McQueen@am.com>




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                                                       Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21                                                  Page 500 of 1087 PageID 30705
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  #     Privilege Type       Record Type       Document Date               Email From                           Email To                     Email CC             Email BCC           Email Subject                             Privilege Description
1555    Attorney-Client   Message_Attachment   1/9/2019 16:12                                                                                                                                                   Confidential communication between AMc employee
       Communications;                                                                                                                                                                                         and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                                                              & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                regarding audit procedures, and work product created
                                                                                                                                                                                                                             in anticipation of litigation.
1556    Attorney-Client        Message         1/9/2019 16:20        Revan McQueen <Revan-                    "Ryan, Stephen"                                                  Re: Attached: Draft Letter to    Confidential communication between AMc employee
       Communications;                                                McQueen@am.com>                      <SRyan@mwe.com>;                                                     Steve Hart/attorney work       and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                "madrid.jay@dorsey.com"<madrid.j                                                    product                   & Emery for purposes of obtaining legal advice
                                                                                                             ay@dorsey.com>;                                                                                    regarding audit procedures, and work product created
                                                                                                         "betts.gina@dorsey.com"                                                                                             in anticipation of litigation.
                                                                                                         <betts.gina@dorsey.com>
1557    Attorney-Client   Message_Attachment   1/9/2019 16:20                                                                                                                                                   Confidential communication between AMc employee
       Communications;                                                                                                                                                                                         and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                                                              & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                regarding audit procedures, and work product created
                                                                                                                                                                                                                              in anticipation of litigation.
1558    Attorney-Client        Message         1/9/2019 16:22        Revan McQueen <Revan-                Angus McQueen <angus-                                               FW: Attached: Draft Letter to     AMc employee internally forwarding, for review and
       Communications;                                                McQueen@am.com>                  mcqueen@am.com>; Anthony                                                Steve Hart/attorney work           input, confidential communication between AMc
         Work Product                                                                                         Makris<Anthony-                                                           product                    employee and counsel at Dorsey & Whitney for
                                                                                                      makris@am.com>; Bill Winkler                                                                                  purposes of obtaining legal advice regarding
                                                                                                     <bill-winkler@am.com>; Brandon                                                                              communications to NRA counsel, and work product
                                                                                                             Winkler<Brandon-                                                                                             created in anticipation of litigation.
                                                                                                       Winkler@am.com>; Melanie
                                                                                                           Montgomery <Melanie-
                                                                                                           Montgomery@am.com>
1559    Attorney-Client   Message_Attachment   1/9/2019 16:22                                                                                                                                                   AMc employee internally forwarding, for review and
       Communications;                                                                                                                                                                                           input, confidential communication between AMc
         Work Product                                                                                                                                                                                             employee and counsel at Dorsey & Whitney for
                                                                                                                                                                                                                   purposes of obtaining legal advice regarding
                                                                                                                                                                                                                communications to NRA counsel, and work product
                                                                                                                                                                                                                         created in anticipation of litigation.
1560    Attorney-Client        Message         1/9/2019 16:49   Bill Winkler <bill-winkler@am.com>       Revan McQueen <Revan-                                                RE: Attached: Draft Letter to     AMc employee internally forwarding, for review and
       Communications;                                                                                 McQueen@am.com>; Angus                                                  Steve Hart/attorney work          input, confidential communication between AMc
         Work Product                                                                                       McQueen<angus-                                                              product                   employee and counsel at Dorsey & Whitney for
                                                                                                       mcqueen@am.com>; Anthony                                                                                    purposes of obtaining legal advice regarding
                                                                                                            Makris <Anthony-                                                                                    communications to NRA counsel, and work product
                                                                                                       makris@am.com>; "Brandon                                                                                          created in anticipation of litigation.
                                                                                                           Winkler" <Brandon-
                                                                                                       Winkler@am.com>; Melanie
                                                                                                          Montgomery<Melanie-
                                                                                                         Montgomery@am.com>
1561    Attorney-Client   Message_Attachment   1/9/2019 16:49                                                                                                                                                   AMc employee internally forwarding, for review and
       Communications;                                                                                                                                                                                            input, confidential communication between AMc
         Work Product                                                                                                                                                                                              employee and counsel at Dorsey & Whitney for
                                                                                                                                                                                                                    purposes of obtaining legal advice regarding
                                                                                                                                                                                                                communications to NRA counsel, and work product
                                                                                                                                                                                                                          created in anticipation of litigation.
1562   Attorney-Client         Message         1/9/2019 17:05        <betts.gina@dorsey.com>           <SRyan@mwe.com>; <Revan-                                               RE: Attached: Draft Letter to     Confidential communication between AMc employee
       Communications                                                                                     McQueen@am.com>                                                      Steve Hart/attorney work        and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                                                                        product                    & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                              regarding audit procedures.



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                                                       Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21                                                         Page 501 of 1087 PageID 30706
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  #    Privilege Type        Record Type       Document Date                 Email From                        Email To                         Email CC                 Email BCC          Email Subject                             Privilege Description
1563   Attorney-Client         Message         1/9/2019 17:06    "Ryan, Stephen" <SRyan@mwe.com>      "betts.gina@dorsey.com"                                                         RE: Attached: Draft Letter to   Confidential communication between AMc employee
       Communications                                                                            <betts.gina@dorsey.com>; "Revan-                                                      Steve Hart/attorney work      and counsel at Dorsey & Whitney and McDermott Will
                                                                                                    McQueen@am.com"<Revan-                                                                      product                  & Emery for purposes of obtaining legal advice
                                                                                                        McQueen@am.com>                                                                                                            regarding audit procedures.
1564   Attorney-Client         Message         1/9/2019 17:38    "Ryan, Stephen" <SRyan@mwe.com>      "betts.gina@dorsey.com"                                                         RE: Attached: Draft Letter to   Confidential communication between AMc employee
       Communications                                                                            <betts.gina@dorsey.com>; "Revan-                                                      Steve Hart/attorney work      and counsel at Dorsey & Whitney and McDermott Will
                                                                                                    McQueen@am.com"<Revan-                                                                      product                  & Emery for purposes of obtaining legal advice
                                                                                                        McQueen@am.com>                                                                                                            regarding audit procedures.
1565   Attorney-Client         Message         1/9/2019 17:45         <betts.gina@dorsey.com>      <SRyan@mwe.com>; <Revan-                                                           RE: Attached: Draft Letter to   Confidential communication between AMc employee
       Communications                                                                                   McQueen@am.com>                                                                Steve Hart/attorney work      and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                                                                                product                  & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                                   regarding audit procedures.
1566   Attorney-Client         Message         1/9/2019 17:48    "Ryan, Stephen" <SRyan@mwe.com>        "betts.gina@dorsey.com"                                                       RE: Attached: Draft Letter to   Confidential communication between AMc employee
       Communications                                                                              <betts.gina@dorsey.com>; "Revan-                                                    Steve Hart/attorney work      and counsel at Dorsey & Whitney and McDermott Will
                                                                                                     McQueen@am.com"<Revan-                                                                     product                  & Emery for purposes of obtaining legal advice
                                                                                                          McQueen@am.com>                                                                                                          regarding audit procedures.
1567   Attorney-Client         Message         1/9/2019 18:03         Revan McQueen <Revan-                  "Ryan, Stephen"             "betts.gina@dorsey.com"                      Re: Attached: Draft Letter to   Confidential communication between AMc employee
       Communications                                                  McQueen@am.com>                    <SRyan@mwe.com>                <betts.gina@dorsey.com>                       Steve Hart/attorney work      and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                                                                                product                  & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                                   regarding audit procedures.
1568                      Message_Attachment   1/9/2019 18:03                                                                                                                                                          Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                       file). Not privileged.
1569    Attorney-Client        Message         1/9/2019 18:21    "Ryan, Stephen" <SRyan@mwe.com>       "madrid.jay@dorsey.com"                                                       End of day draft being held for Confidential communication between AMc employee
       Communications;                                                                                <madrid.jay@dorsey.com>;                                                            now. attorney client       and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                              "betts.gina@dorsey.com"<betts.gin                                                   communication and work            & Emery for purposes of obtaining legal advice
                                                                                                   a@dorsey.com>; "Revan McQueen                                                                product               regarding audit procedures, and work product created
                                                                                                     - Ackerman McQueen (Revan-                                                                                                    in anticipation of litigation.
                                                                                                     McQueen@am.com)" <Revan-
                                                                                                          McQueen@am.com>
1570    Attorney-Client   Message_Attachment   1/9/2019 18:21                                                                                                                                                           Confidential communication between AMc employee
       Communications;                                                                                                                                                                                                 and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                                                                      & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                        regarding audit procedures, and work product created
                                                                                                                                                                                                                                     in anticipation of litigation.
1571   Attorney-Client         Message         1/9/2019 19:52         Revan McQueen <Revan-                "Ryan, Stephen"                "madrid.jay@dorsey.com"                    Re: End of day draft being held    Confidential communication between AMc employee
       Communications                                                  McQueen@am.com>                   <SRyan@mwe.com>                 <madrid.jay@dorsey.com>;                        for now. attorney client      and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                       "betts.gina@dorsey.com"<betts.                  communication and work              & Emery for purposes of obtaining legal advice
                                                                                                                                              gina@dorsey.com>                                   product                             regarding audit procedures.
1572   Attorney-Client         Message         1/10/2019 0:08        <madrid.jay@dorsey.com>             <SRyan@mwe.com>                 <betts.gina@dorsey.com>;                    Re: End of day draft being held    Confidential communication between AMc employee
       Communications                                                                                                                   <Revan-McQueen@am.com>                           for now. attorney client      and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                                                                       communication and work              & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                 product                             regarding audit procedures.
1573   Attorney-Client         Message         1/10/2019 10:21       <madrid.jay@dorsey.com>              <SRyan@mwe.com>;                                                           RE: End of day draft being held    Confidential communication between AMc employee
       Communications                                                                              <betts.gina@dorsey.com>; <Revan-                                                      for now. attorney client      and counsel at Dorsey & Whitney and McDermott Will
                                                                                                          McQueen@am.com>                                                              communication and work              & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                 product                             regarding audit procedures.
1574   Attorney-Client         Message         1/10/2019 13:42   "Ryan, Stephen" <SRyan@mwe.com>      "madrid.jay@dorsey.com"            "betts.gina@dorsey.com"                     Re: End of day draft being held    Confidential communication between AMc employee
       Communications                                                                                 <madrid.jay@dorsey.com>           <betts.gina@dorsey.com>;                         for now. attorney client      and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                                   "Revan-                             communication and work              & Emery for purposes of obtaining legal advice
                                                                                                                                        McQueen@am.com"<Revan-                                   product                    regarding communications with NRA counsel.
                                                                                                                                           McQueen@am.com>



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  #     Privilege Type       Record Type       Document Date               Email From                         Email To                          Email CC                Email BCC          Email Subject                             Privilege Description
1575                      Message_Attachment   1/10/2019 13:42                                                                                                                                                        Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                      file). Not privileged.
1576    Attorney-Client        Message         1/10/2019 15:34   "Ryan, Stephen" <SRyan@mwe.com>       "madrid.jay@dorsey.com"                                                        Draft to Hart - Redline and    Confidential communication between AMc employee
       Communications;                                                                                <madrid.jay@dorsey.com>;                                                       clean attached/attorney work   and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                              "betts.gina@dorsey.com"<betts.gin                                                            product                 & Emery for purposes of obtaining legal advice
                                                                                                   a@dorsey.com>; "Revan McQueen                                                                                     regarding audit procedures, and work product created
                                                                                                     - Ackerman McQueen (Revan-                                                                                                   in anticipation of litigation.
                                                                                                     McQueen@am.com)" <Revan-
                                                                                                          McQueen@am.com>
1577    Attorney-Client   Message_Attachment   1/10/2019 15:34                                                                                                                                                       Confidential communication between AMc employee
       Communications;                                                                                                                                                                                              and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                                                                   & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                     regarding audit procedures, and work product created
                                                                                                                                                                                                                                  in anticipation of litigation.
1578    Attorney-Client   Message_Attachment   1/10/2019 15:34                                                                                                                                                       Confidential communication between AMc employee
       Communications;                                                                                                                                                                                              and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                                                                   & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                     regarding audit procedures, and work product created
                                                                                                                                                                                                                                  in anticipation of litigation.
1579    Attorney-Client        Message         1/10/2019 16:01   "Ryan, Stephen" <SRyan@mwe.com>     "Revan McQueen - Ackerman            "madrid.jay@dorsey.com"                    Letter to Hart-attorney work    Confidential communication between AMc employee
       Communications;                                                                                    McQueen (Revan-                <madrid.jay@dorsey.com>;                               product             and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                McQueen@am.com)"<Revan-           "betts.gina@dorsey.com"<betts.                                                   & Emery for purposes of obtaining legal advice
                                                                                                         McQueen@am.com>                      gina@dorsey.com>                                                       regarding audit procedures, and work product created
                                                                                                                                                                                                                                  in anticipation of litigation.
1580    Attorney-Client   Message_Attachment   1/10/2019 16:01                                                                                                                                                       Confidential communication between AMc employee
       Communications;                                                                                                                                                                                              and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                                                                   & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                     regarding audit procedures, and work product created
                                                                                                                                                                                                                                  in anticipation of litigation.
1581    Attorney-Client        Message         1/10/2019 16:04       Revan McQueen <Revan-          Melanie Montgomery <Melanie-                                                     Fwd: Letter to Hart-attorney      AMc employee internally forwarding confidential
       Communications;                                                McQueen@am.com>               Montgomery@am.com>; Angus                                                              work product             communication between AMc employee and counsel at
         Work Product                                                                                       McQueen<angus-                                                                                                 Dorsey & Whitney regarding substance of
                                                                                                     mcqueen@am.com>; Brandon                                                                                       communications with NRA counsel, and work product
                                                                                                           Winkler <Brandon-                                                                                                  created in anticipation of litigation.
                                                                                                   Winkler@am.com>; "Bill Winkler"
                                                                                                   <bill-winkler@am.com>; Anthony
                                                                                                           Makris <Anthony-
                                                                                                           makris@am.com>
1582    Attorney-Client   Message_Attachment   1/10/2019 16:04                                                                                                                                                        AMc employee internally forwarding confidential
       Communications;                                                                                                                                                                                              communication between AMc employee and counsel at
         Work Product                                                                                                                                                                                                   Dorsey & Whitney regarding substance of
                                                                                                                                                                                                                    communications with NRA counsel, and work product
                                                                                                                                                                                                                            created in anticipation of litigation.
1583    Attorney-Client   Message_Attachment   1/10/2019 16:04                                                                                                                                                        AMc employee internally forwarding confidential
       Communications;                                                                                                                                                                                              communication between AMc employee and counsel at
         Work Product                                                                                                                                                                                                   Dorsey & Whitney regarding substance of
                                                                                                                                                                                                                    communications with NRA counsel, and work product
                                                                                                                                                                                                                            created in anticipation of litigation.




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  #     Privilege Type       Record Type       Document Date              Email From                          Email To                            Email CC              Email BCC          Email Subject                             Privilege Description
1584    Attorney-Client        Message         1/10/2019 16:44       Revan McQueen <Revan-                 "Ryan, Stephen"                "madrid.jay@dorsey.com"                     Re: Letter to Hart-attorney    Confidential communication between AMc employee
       Communications;                                                McQueen@am.com>                    <SRyan@mwe.com>                 <madrid.jay@dorsey.com>;                           work product            and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                  "betts.gina@dorsey.com"<betts.                                                   & Emery for purposes of obtaining legal advice
                                                                                                                                              gina@dorsey.com>                                                       regarding audit procedures, and work product created
                                                                                                                                                                                                                                  in anticipation of litigation.
1585   Attorney-Client         Message         1/10/2019 16:55   "Ryan, Stephen" <SRyan@mwe.com>       "madrid.jay@dorsey.com"                                                      FW: Attached Letter to Mr. Hart Confidential communication between AMc employee
       Communications                                                                                 <madrid.jay@dorsey.com>;                                                                                      and counsel at Dorsey & Whitney and McDermott Will
                                                                                                   "betts.gina@dorsey.com"<betts.gin                                                                                    & Emery for purposes of obtaining legal advice
                                                                                                   a@dorsey.com>; "Revan McQueen                                                                                                  regarding audit procedures.
                                                                                                     - Ackerman McQueen (Revan-
                                                                                                     McQueen@am.com)" <Revan-
                                                                                                          McQueen@am.com>
1586    Attorney-Client   Message_Attachment   1/10/2019 16:55                                                                                                                                                       Confidential communication between AMc employee
       Communications;                                                                                                                                                                                              and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                                                                   & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                     regarding audit procedures, and work product created
                                                                                                                                                                                                                                   in anticipation of litigation.
1587    Attorney-Client        Message         1/10/2019 17:07       Revan McQueen <Revan-          Melanie Montgomery <Melanie-                                                     Fwd: Attached Letter to Mr.     AMc employee internally forwarding, for review and
       Communications;                                                McQueen@am.com>               Montgomery@am.com>; Angus                                                                   Hart                   input, confidential communication between AMc
         Work Product                                                                                       McQueen<angus-                                                                                              employee and counsel at Dorsey & Whitney for
                                                                                                     mcqueen@am.com>; Brandon                                                                                            purposes of obtaining legal advice regarding
                                                                                                           Winkler <Brandon-                                                                                          communications to NRA counsel, and work product
                                                                                                   Winkler@am.com>; "Bill Winkler"                                                                                             created in anticipation of litigation.
                                                                                                   <bill-winkler@am.com>; Anthony
                                                                                                           Makris <Anthony-
                                                                                                           makris@am.com>
1588    Attorney-Client   Message_Attachment   1/10/2019 17:07                                                                                                                                                          AMc employee internally forwarding, for review and
       Communications;                                                                                                                                                                                                   input, confidential communication between AMc
         Work Product                                                                                                                                                                                                     employee and counsel at Dorsey & Whitney for
                                                                                                                                                                                                                            purposes of obtaining legal advice regarding
                                                                                                                                                                                                                        communications to NRA counsel, and work product
                                                                                                                                                                                                                                 created in anticipation of litigation.
1589    Attorney-Client   Message_Attachment   1/10/2019 17:07                                                                                                                                                          AMc employee internally forwarding, for review and
       Communications;                                                                                                                                                                                                   input, confidential communication between AMc
         Work Product                                                                                                                                                                                                     employee and counsel at Dorsey & Whitney for
                                                                                                                                                                                                                            purposes of obtaining legal advice regarding
                                                                                                                                                                                                                        communications to NRA counsel, and work product
                                                                                                                                                                                                                                 created in anticipation of litigation.
1590   Attorney-Client         Message         1/12/2019 15:07   "Ryan, Stephen" <SRyan@mwe.com>       Revan McQueen <Revan-                                                        Should I send this draft to Hart ? Confidential communication between AMc employee
       Communications                                                                                   McQueen@am.com>                                                                                                and counsel at McDermott Will & Emery for purposes
                                                                                                                                                                                                                              of obtaining legal advice regarding draft
                                                                                                                                                                                                                                  correspondence to NRA counsel.
1591   Attorney-Client         Message         1/16/2019 16:23   "Ryan, Stephen" <SRyan@mwe.com>     "Revan McQueen - Ackerman                                                       RE: NRA review of records:         Confidential communication between AMc employee
       Communications                                                                                       McQueen (Revan-                                                          my suggested response please and counsel at Dorsey & Whitney and McDermott Will
                                                                                                     McQueen@am.com)"<Revan-                                                         approve or improve. attorney         & Emery for purposes of obtaining legal advice
                                                                                                         McQueen@am.com>;                                                                client communication                  regarding audit timing and procedures.
                                                                                                        "betts.gina@dorsey.com"
                                                                                                      <betts.gina@dorsey.com>;
                                                                                                       "madrid.jay@dorsey.com"
                                                                                                      <madrid.jay@dorsey.com>




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                                                                                                            AMC Second Amended Privilege Log


  #    Privilege Type     Record Type   Document Date               Email From                        Email To                      Email CC              Email BCC            Email Subject                        Privilege Description
1592   Attorney-Client      Message     1/16/2019 16:33       <madrid.jay@dorsey.com>       <SRyan@mwe.com>; <Revan-                                                   RE: NRA review of records:    Confidential communication between AMc employee
       Communications                                                                          McQueen@am.com>;                                                        my suggested response please and counsel at Dorsey & Whitney and McDermott Will
                                                                                              <betts.gina@dorsey.com>                                                  approve or improve. attorney    & Emery for purposes of obtaining legal advice
                                                                                                                                                                           client communication             regarding audit timing and procedures.
1593   Attorney-Client      Message     1/16/2019 16:38       Revan McQueen <Revan-               "Ryan, Stephen"             "betts.gina@dorsey.com"                 Re: NRA review of records: my Confidential communication between AMc employee
       Communications                                          McQueen@am.com>                  <SRyan@mwe.com>              <betts.gina@dorsey.com>;                   suggested response please   and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                           "madrid.jay@dorsey.com"<madr                approve or improve. attorney    & Emery for purposes of obtaining legal advice
                                                                                                                                id.jay@dorsey.com>                         client communication             regarding audit timing and procedures.
1594    Attorney-Client     Message     1/16/2019 16:51       Revan McQueen <Revan-           Angus McQueen <angus-                                                    Fwd: NRA review of records:    AMc employee internally forwarding confidential
       Communications;                                         McQueen@am.com>              mcqueen@am.com>; Anthony                                                   my suggested response please communication between AMc employee and counsel at
         Work Product                                                                            Makris<Anthony-                                                       approve or improve. attorney   Dorsey & Whitney for purposes of obtaining legal
                                                                                                 makris@am.com>                                                            client communication       advice regarding NRA request for documents, and
                                                                                                                                                                                                       work product created in anticipation of litigation.
1595    Attorney-Client     Message     1/16/2019 17:12       Anthony Makris <Anthony-        Revan McQueen <Revan-                                                   Re: NRA review of records: my   AMc employee internally forwarding confidential
       Communications;                                            makris@am.com>               McQueen@am.com>                                                          suggested response please   communication between AMc employee and counsel at
         Work Product                                                                                                                                                  approve or improve. attorney   Dorsey & Whitney for purposes of obtaining legal
                                                                                                                                                                           client communication       advice regarding NRA request for documents, and
                                                                                                                                                                                                       work product created in anticipation of litigation.
1596   Attorney-Client      Message     1/16/2019 17:20       <betts.gina@dorsey.com>        <madrid.jay@dorsey.com>;                                                  RE: NRA review of records:    Confidential communication between AMc employee
       Communications                                                                       <SRyan@mwe.com>; <Revan-                                                   my suggested response please and counsel at Dorsey & Whitney and McDermott Will
                                                                                               McQueen@am.com>                                                         approve or improve. attorney    & Emery for purposes of obtaining legal advice
                                                                                                                                                                           client communication             regarding audit timing and procedures.
1597   Attorney-Client      Message     1/16/2019 20:34       Revan McQueen <Revan-             "SRyan@mwe.com"                                                        Fwd: NRA review of records: Confidential communication between AMc employee
       Communications                                          McQueen@am.com>                  <SRyan@mwe.com>                                                        my suggested response please and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                                                       approve or improve. attorney    & Emery for purposes of obtaining legal advice
                                                                                                                                                                           client communication             regarding audit timing and procedures.
1598   Attorney-Client      Message     1/16/2019 20:36       Revan McQueen <Revan-               "Ryan, Stephen"                                                     Re: NRA review of records: my Confidential communication between AMc employee
       Communications                                          McQueen@am.com>                  <SRyan@mwe.com>                                                         suggested response please   and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                                                       approve or improve. attorney    & Emery for purposes of obtaining legal advice
                                                                                                                                                                           client communication             regarding audit timing and procedures.
1599   Attorney-Client      Message     1/17/2019 13:38   "Ryan, Stephen" <SRyan@mwe.com>   "Revan McQueen - Ackerman                                                 Re: NRA review of records: my Confidential communication between AMc employee
       Communications                                                                              McQueen (Revan-                                                      suggested response please   and counsel at Dorsey & Whitney and McDermott Will
                                                                                            McQueen@am.com)"<Revan-                                                    approve or improve. attorney    & Emery for purposes of obtaining legal advice
                                                                                                McQueen@am.com>;                                                           client communication             regarding audit timing and procedures.
                                                                                               "betts.gina@dorsey.com"
                                                                                             <betts.gina@dorsey.com>;
                                                                                              "madrid.jay@dorsey.com"
                                                                                             <madrid.jay@dorsey.com>
1600   Attorney-Client      Message     1/17/2019 13:44       <madrid.jay@dorsey.com>       <SRyan@mwe.com>; <Revan-                                                  RE: NRA review of records:      Confidential communication between AMc employee
       Communications                                                                           McQueen@am.com>;                                                      my suggested response please   and counsel at Dorsey & Whitney and McDermott Will
                                                                                              <betts.gina@dorsey.com>                                                 approve or improve. attorney      & Emery for purposes of obtaining legal advice
                                                                                                                                                                          client communication               regarding audit timing and procedures.
1601   Attorney-Client      Message     1/17/2019 14:01   "Ryan, Stephen" <SRyan@mwe.com>   "Revan McQueen - Ackerman                                                 RE: NRA review of records:      Confidential communication between AMc employee
       Communications                                                                              McQueen (Revan-                                                    my suggested response please   and counsel at Dorsey & Whitney and McDermott Will
                                                                                            McQueen@am.com)"<Revan-                                                   approve or improve. attorney      & Emery for purposes of obtaining legal advice
                                                                                                McQueen@am.com>;                                                          client communication               regarding audit timing and procedures.
                                                                                               "betts.gina@dorsey.com"
                                                                                             <betts.gina@dorsey.com>;
                                                                                              "madrid.jay@dorsey.com"
                                                                                             <madrid.jay@dorsey.com>




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                                                       Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21                                                      Page 505 of 1087 PageID 30710
                                                                                                                        AMC Second Amended Privilege Log


  #     Privilege Type       Record Type       Document Date               Email From                              Email To                       Email CC            Email BCC            Email Subject                        Privilege Description
1602    Attorney-Client        Message         1/17/2019 14:15        Revan McQueen <Revan-                    "Ryan, Stephen"               Bill Winkler <bill-                  Re: NRA review of records: my Confidential communication between AMc employee
       Communications;                                                 McQueen@am.com>                      <SRyan@mwe.com>;            winkler@am.com>; Brandon                    suggested response please      and counsel at Dorsey & Whitney for purposes of
         Work Product                                                                                "betts.gina@dorsey.com"<betts.gin       Winkler<Brandon-                      approve or improve. attorney    obtaining legal advice regarding NRA document
                                                                                                              a@dorsey.com>;                 Winkler@am.com>                           client communication     requests and additional audit request, and work product
                                                                                                         "madrid.jay@dorsey.com"                                                                                          created in anticipation of litigation.
                                                                                                         <madrid.jay@dorsey.com>
1603    Attorney-Client        Message         1/17/2019 14:36        Brandon Winkler <Brandon-           Revan McQueen <Revan-              Bill Winkler <bill-                  Re: NRA review of records: my Confidential communication between AMc employee
       Communications;                                                    Winkler@am.com>              McQueen@am.com>; "Ryan,               winkler@am.com>                        suggested response please      and counsel at Dorsey & Whitney for purposes of
         Work Product                                                                                 Stephen" <SRyan@mwe.com>;                                                    approve or improve. attorney    obtaining legal advice regarding NRA document
                                                                                                          "betts.gina@dorsey.com"                                                      client communication     requests and additional audit request, and work product
                                                                                                         <betts.gina@dorsey.com>;                                                                                         created in anticipation of litigation.
                                                                                                    "madrid.jay@dorsey.com"<madrid.j
                                                                                                              ay@dorsey.com>
1604    Attorney-Client        Message         1/17/2019 16:15   "Ryan, Stephen" <SRyan@mwe.com>        Brandon Winkler <Brandon-            Bill Winkler <bill-                  RE: NRA review of records:         Work product created in anticipation of litigation.
       Communications;                                                                                  Winkler@am.com>; Revan               winkler@am.com>                      my suggested response please
         Work Product                                                                                         McQueen<Revan-                                                      approve or improve. attorney
                                                                                                            McQueen@am.com>;                                                          client communication
                                                                                                          "betts.gina@dorsey.com"
                                                                                                         <betts.gina@dorsey.com>;
                                                                                                         "madrid.jay@dorsey.com"
                                                                                                         <madrid.jay@dorsey.com>
1605   Attorney-Client         Message         1/17/2019 16:19   "Ryan, Stephen" <SRyan@mwe.com>          Revan McQueen <Revan-              Bill Winkler <bill-                  RE: NRA review of records:       Confidential communication between AMc employee
       Communications                                                                                 McQueen@am.com>; Brandon               winkler@am.com>                      my suggested response please    and counsel at Dorsey & Whitney and McDermott Will
                                                                                                              Winkler<Brandon-                                                    approve or improve. attorney       & Emery for purposes of obtaining legal advice
                                                                                                             Winkler@am.com>;                                                         client communication                 regarding NRA document requests.
                                                                                                          "betts.gina@dorsey.com"
                                                                                                         <betts.gina@dorsey.com>;
                                                                                                         "madrid.jay@dorsey.com"
                                                                                                         <madrid.jay@dorsey.com>
1606   Attorney-Client         Message         1/17/2019 16:30   Bill Winkler <bill-winkler@am.com>       Revan McQueen <Revan-                "Ryan, Stephen"                    Re: NRA review of records: my Confidential communication between AMc employee
       Communications                                                                                       McQueen@am.com>            <SRyan@mwe.com>; Brandon                     suggested response please   and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                             Winkler <Brandon-                     approve or improve. attorney    & Emery for purposes of obtaining legal advice
                                                                                                                                            Winkler@am.com>;                           client communication              regarding NRA document requests.
                                                                                                                                          "betts.gina@dorsey.com"
                                                                                                                                         <betts.gina@dorsey.com>;
                                                                                                                                       "madrid.jay@dorsey.com"<madr
                                                                                                                                            id.jay@dorsey.com>
1607                      Message_Attachment   1/17/2019 16:30                                                                                                                                                 Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                               file). Not privileged.
1608   Attorney-Client         Message         1/17/2019 16:32   "Ryan, Stephen" <SRyan@mwe.com>      "Revan McQueen - Ackerman                                                   FW: Timing re NRA review of Confidential communication between AMc employee
       Communications                                                                                        McQueen (Revan-                                                                records           and counsel at Dorsey & Whitney and McDermott Will
                                                                                                      McQueen@am.com)"<Revan-                                                                                    & Emery for purposes of obtaining legal advice
                                                                                                          McQueen@am.com>;                                                                                            regarding audit timing and procedures.
                                                                                                        "madrid.jay@dorsey.com"
                                                                                                       <madrid.jay@dorsey.com>;
                                                                                                         "betts.gina@dorsey.com"
                                                                                                        <betts.gina@dorsey.com>




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  #    Privilege Type     Record Type   Document Date                 Email From                       Email To                         Email CC            Email BCC         Email Subject                         Privilege Description
1609   Attorney-Client      Message     1/17/2019 18:24   "Ryan, Stephen" <SRyan@mwe.com>     "madrid.jay@dorsey.com"                                                   FW: Timing re NRA review of Confidential communication between AMc employee
       Communications                                                                        <madrid.jay@dorsey.com>;                                                             records           and counsel at Dorsey & Whitney and McDermott Will
                                                                                          "betts.gina@dorsey.com"<betts.gin                                                                            & Emery for purposes of obtaining legal advice
                                                                                          a@dorsey.com>; "Revan McQueen                                                                                     regarding audit timing and procedures.
                                                                                            - Ackerman McQueen (Revan-
                                                                                            McQueen@am.com)" <Revan-
                                                                                                 McQueen@am.com>
1610    Attorney-Client     Message     1/17/2019 18:58        Revan McQueen <Revan-       Melanie Montgomery <Melanie-                                                 Fwd: Timing re NRA review of   AMc employee internally forwarding confidential
       Communications;                                            McQueen@am.com>          Montgomery@am.com>; Angus                                                              records            communication between AMc employee and counsel at
         Work Product                                                                              McQueen<angus-                                                                                      Dorsey & Whitney for purposes of obtaining legal
                                                                                            mcqueen@am.com>; Brandon                                                                                   advice regarding NRA request for documents, and
                                                                                                  Winkler <Brandon-                                                                                     work product created in anticipation of litigation.
                                                                                          Winkler@am.com>; "Bill Winkler"
                                                                                          <bill-winkler@am.com>; Anthony
                                                                                                   Makris <Anthony-
                                                                                                   makris@am.com>
1611   Attorney-Client      Message     1/21/2019 22:06   "Ryan, Stephen" <SRyan@mwe.com>      Revan McQueen <Revan-                                                    Fwd: Timing re NRA review of Confidential communication between AMc employee
       Communications                                                                      McQueen@am.com>; "Gina E.                                                       records. Attorney client  and counsel at Dorsey & Whitney and McDermott Will
                                                                                           Betts"<betts.gina@dorsey.com>;                                                      communication            & Emery for purposes of obtaining legal advice
                                                                                                    Jay Madrid Esq.                                                                                          regarding audit timing and procedures.
                                                                                              <madrid.jay@dorsey.com>
1612   Attorney-Client      Message     1/21/2019 22:08        Revan McQueen <Revan-                "Ryan, Stephen"                  "Gina E. Betts"                    Re: Timing re NRA review of   Confidential communication between AMc employee
       Communications                                             McQueen@am.com>                <SRyan@mwe.com>             <betts.gina@dorsey.com>; Jay                  records. Attorney client  and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                         Madrid                                communication            & Emery for purposes of obtaining legal advice
                                                                                                                             Esq.<madrid.jay@dorsey.com>                                                     regarding audit timing and procedures.
1613   Attorney-Client      Message     1/21/2019 22:12        Revan McQueen <Revan-                "Ryan, Stephen"                  "Gina E. Betts"                     Re: Timing re NRA review of Confidential communication between AMc employee
       Communications                                             McQueen@am.com>                <SRyan@mwe.com>             <betts.gina@dorsey.com>; Jay                   records. Attorney client and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                         Madrid                                 communication           & Emery for purposes of obtaining legal advice
                                                                                                                             Esq.<madrid.jay@dorsey.com>                                                     regarding audit timing and procedures.
1614   Attorney-Client      Message     1/22/2019 8:23         Revan McQueen <Revan-                "Ryan, Stephen"             "betts.gina@dorsey.com"                  Re: Timing re NRA review of Confidential communication between AMc employee
       Communications                                             McQueen@am.com>                <SRyan@mwe.com>               <betts.gina@dorsey.com>;                              records         and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                            "madrid.jay@dorsey.com"<madr                                                & Emery for purposes of obtaining legal advice
                                                                                                                                  id.jay@dorsey.com>                                                         regarding audit timing and procedures.
1615    Attorney-Client     Message     1/22/2019 8:30         Revan McQueen <Revan-           Angus McQueen <angus-                                                    Fwd: Timing re NRA review of   AMc employee internally forwarding confidential
       Communications;                                            McQueen@am.com>           mcqueen@am.com>; Anthony                                                                 records         communication between AMc employee and counsel at
         Work Product                                                                              Makris<Anthony-                                                                                     Dorsey & Whitney for purposes of obtaining legal
                                                                                             makris@am.com>; Melanie                                                                                   advice regarding NRA request for documents, and
                                                                                                Montgomery <Melanie-                                                                                    work product created in anticipation of litigation.
                                                                                                Montgomery@am.com>
1616   Attorney-Client      Message     1/22/2019 8:33    "Ryan, Stephen" <SRyan@mwe.com>      Revan McQueen <Revan-                                                    RE: Timing re NRA review of Confidential communication between AMc employee
       Communications                                                                            McQueen@am.com>                                                                  records           and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                                                                                       & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                            regarding audit timing and procedures.
1617    Attorney-Client     Message     1/22/2019 9:12        Anthony Makris <Anthony-          Revan McQueen <Revan-                                                   Re: Timing re NRA review of   AMc employee internally forwarding confidential
       Communications;                                            makris@am.com>                 McQueen@am.com>                                                                  records           communication between AMc employee and counsel at
         Work Product                                                                                                                                                                                 Dorsey & Whitney for purposes of obtaining legal
                                                                                                                                                                                                      advice regarding NRA request for documents, and
                                                                                                                                                                                                       work product created in anticipation of litigation.




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  #    Privilege Type     Record Type   Document Date               Email From                        Email To                       Email CC               Email BCC            Email Subject                           Privilege Description
1618   Attorney-Client      Message     1/22/2019 9:50        <madrid.jay@dorsey.com>        <betts.gina@dorsey.com>;                                                    RE: Timing re NRA review of Confidential communication between AMc employee
       Communications                                                                       <SRyan@mwe.com>; <Revan-                                                                 records             and counsel at Dorsey & Whitney and McDermott Will
                                                                                               McQueen@am.com>                                                                                              & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                 regarding audit timing and procedures.
1619    Attorney-Client     Message     1/22/2019 11:10   "Ryan, Stephen" <SRyan@mwe.com>     Revan McQueen <Revan-            Revan McQueen <revan-                      Ryan v. 1 re NRA review of        Work product created in anticipation of litigation.
       Communications;                                                                         McQueen@am.com>              mcqueen@am.com>; "Gina E.                   records Privileged draft can you
         Work Product                                                                                                      Betts"<betts.gina@dorsey.com>;                send around at AMc ? Jay said
                                                                                                                                   Jay Madrid Esq.                                     ok.
                                                                                                                             <madrid.jay@dorsey.com>
1620    Attorney-Client     Message     1/22/2019 12:06       Revan McQueen <Revan-             "SRyan@mwe.com"                                                         Fwd: Ryan v. 1 re NRA review Confidential communication between AMc employee
       Communications;                                         McQueen@am.com>                  <SRyan@mwe.com>                                                         of records Privileged draft can and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                   you send around at AMc ? Jay        & Emery for purposes of obtaining legal advice
                                                                                                                                                                                    said ok.               regarding audit timing and procedures, and work
                                                                                                                                                                                                              product created in anticipation of litigation.
1621   Attorney-Client      Message     1/22/2019 12:10   "Ryan, Stephen" <SRyan@mwe.com>   "Revan McQueen - Ackerman                                                             this just in.          Confidential communication between AMc employee
       Communications                                                                              McQueen (Revan-                                                                                      and counsel at Dorsey & Whitney and McDermott Will
                                                                                            McQueen@am.com)"<Revan-                                                                                         & Emery for purposes of obtaining legal advice
                                                                                                McQueen@am.com>;                                                                                         regarding communications from NRA counsel about
                                                                                              "madrid.jay@dorsey.com"                                                                                                audit timing and procedures.
                                                                                             <madrid.jay@dorsey.com>;
                                                                                               "betts.gina@dorsey.com"
                                                                                              <betts.gina@dorsey.com>
1622   Attorney-Client      Message     1/22/2019 12:13   "Ryan, Stephen" <SRyan@mwe.com>     Revan McQueen <Revan-          Brandon Winkler <Brandon-                  RE: Ryan v. 1 re NRA review Confidential communication between AMc employee
       Communications                                                                            McQueen@am.com>                 Winkler@am.com>                        of records Privileged draft can and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                                                        you send around at AMc ? Jay        & Emery for purposes of obtaining legal advice
                                                                                                                                                                                    said ok.            regarding NRA document request and audit procedures.
1623   Attorney-Client      Message     1/22/2019 12:15       <madrid.jay@dorsey.com>       <SRyan@mwe.com>; <Revan-                                                            RE: this just in.        Confidential communication between AMc employee
       Communications                                                                          McQueen@am.com>;                                                                                         and counsel at Dorsey & Whitney and McDermott Will
                                                                                              <betts.gina@dorsey.com>                                                                                       & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                         regarding communications from NRA counsel about
                                                                                                                                                                                                                     audit timing and procedures.
1624   Attorney-Client      Message     1/22/2019 12:16   "Ryan, Stephen" <SRyan@mwe.com>     "madrid.jay@dorsey.com"                                                           RE: this just in.        Confidential communication between AMc employee
       Communications                                                                        <madrid.jay@dorsey.com>;                                                                                   and counsel at Dorsey & Whitney and McDermott Will
                                                                                                         "Revan-                                                                                            & Emery for purposes of obtaining legal advice
                                                                                             McQueen@am.com"<Revan-                                                                                                   regarding audit procedures.
                                                                                                McQueen@am.com>;
                                                                                               "betts.gina@dorsey.com"
                                                                                              <betts.gina@dorsey.com>
1625   Attorney-Client      Message     1/22/2019 12:17       <madrid.jay@dorsey.com>       <SRyan@mwe.com>; <Revan-                                                            RE: this just in.        Confidential communication between AMc employee
       Communications                                                                           McQueen@am.com>;                                                                                        and counsel at Dorsey & Whitney and McDermott Will
                                                                                              <betts.gina@dorsey.com>                                                                                      & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                      regarding audit procedures.
1626   Attorney-Client      Message     1/22/2019 12:18   "Ryan, Stephen" <SRyan@mwe.com>    "madrid.jay@dorsey.com"                                                            RE: this just in.        Confidential communication between AMc employee
       Communications                                                                       <madrid.jay@dorsey.com>;                                                                                    and counsel at Dorsey & Whitney and McDermott Will
                                                                                                        "Revan-                                                                                            & Emery for purposes of obtaining legal advice
                                                                                            McQueen@am.com"<Revan-                                                                                                    regarding audit procedures.
                                                                                               McQueen@am.com>;
                                                                                              "betts.gina@dorsey.com"
                                                                                             <betts.gina@dorsey.com>




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  #    Privilege Type        Record Type       Document Date              Email From                          Email To                        Email CC                Email BCC           Email Subject                           Privilege Description
1627   Attorney-Client         Message         1/22/2019 12:24       Revan McQueen <Revan-                 "Ryan, Stephen"            Brandon Winkler <Brandon-                    Re: Ryan v. 1 re NRA review Confidential communication between AMc employee
       Communications                                                 McQueen@am.com>                    <SRyan@mwe.com>                  Winkler@am.com>                         of records Privileged draft can and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                                                                  you send around at AMc ? Jay       & Emery for purposes of obtaining legal advice
                                                                                                                                                                                              said ok.               regarding NRA request for documents and audit
                                                                                                                                                                                                                                   procedures for same.
1628                      Message_Attachment   1/22/2019 12:24                                                                                                                                                     Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                   file). Not privileged.
1629   Attorney-Client         Message         1/22/2019 12:40   "Ryan, Stephen" <SRyan@mwe.com>       Revan McQueen <Revan-          Brandon Winkler <Brandon-                   RE: Ryan v. 1 re NRA review Confidential communication between AMc employee
       Communications                                                                                   McQueen@am.com>                   Winkler@am.com>                         of records Privileged draft can and counsel at McDermott Will & Emery for purposes
                                                                                                                                                                                  you send around at AMc ? Jay     of obtaining legal advice regarding NRA request for
                                                                                                                                                                                              said ok.                  documents and audit procedures for same.
1630   Attorney-Client         Message         1/22/2019 13:08   "Ryan, Stephen" <SRyan@mwe.com>     "Revan McQueen - Ackerman          "madrid.jay@dorsey.com"                   FW: AMc response RE: timing Confidential communication between AMc employee
       Communications                                                                                     McQueen (Revan-              <madrid.jay@dorsey.com>;                      of NRA review of records     and counsel at Dorsey & Whitney and McDermott Will
                                                                                                     McQueen@am.com)"<Revan-         "betts.gina@dorsey.com"<betts.                                                  & Emery for purposes of obtaining legal advice
                                                                                                         McQueen@am.com>                 gina@dorsey.com>; "bill-                                                           regarding NRA document requests.
                                                                                                                                         winkler@am.com" <bill-
                                                                                                                                            winkler@am.com>
1631    Attorney-Client        Message         1/22/2019 13:24       Revan McQueen <Revan-          Melanie Montgomery <Melanie-                                                  Fwd: AMc response RE: timing   AMc employee internally forwarding confidential
       Communications;                                                McQueen@am.com>               Montgomery@am.com>; Angus                                                       of NRA review of records   communication between AMc employee and counsel at
         Work Product                                                                                       McQueen<angus-                                                                                       Dorsey & Whitney for purposes of obtaining legal
                                                                                                     mcqueen@am.com>; Brandon                                                                                    advice regarding NRA request for documents, and
                                                                                                           Winkler <Brandon-                                                                                      work product created in anticipation of litigation.
                                                                                                   Winkler@am.com>; "Bill Winkler"
                                                                                                   <bill-winkler@am.com>; Anthony
                                                                                                           Makris <Anthony-
                                                                                                           makris@am.com>
1632   Attorney-Client         Message         1/22/2019 13:29       Revan McQueen <Revan-                "SRyan@mwe.com"                                                         Attorney Client Communication Confidential communication between AMc employee
       Communications                                                 McQueen@am.com>                     <SRyan@mwe.com>                                                                                       and counsel at McDermott Will & Emery for purposes
                                                                                                                                                                                                                      of obtaining legal advice regarding prior
                                                                                                                                                                                                                  communications between AMc and NRA counsel.
1633   Attorney-Client         Message         1/22/2019 13:30       Revan McQueen <Revan-               "SRyan@mwe.com"                                                          Attorney Client Communication Confidential communication between AMc employee
       Communications                                                 McQueen@am.com>                    <SRyan@mwe.com>                                                                                        and counsel at McDermott Will & Emery for purposes
                                                                                                                                                                                                                      of obtaining legal advice regarding prior
                                                                                                                                                                                                                  communications between AMc and NRA counsel.
1634                      Message_Attachment   1/22/2019 13:30                                                                                                                                                   Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                 file). Not privileged.
1635   Attorney-Client         Message         1/22/2019 13:32       Revan McQueen <Revan-               "SRyan@mwe.com"                                                          Attorney Client Communication Confidential communication between AMc employee
       Communications                                                 McQueen@am.com>                    <SRyan@mwe.com>                                                                                        and counsel at McDermott Will & Emery for purposes
                                                                                                                                                                                                                      of obtaining legal advice regarding prior
                                                                                                                                                                                                                  communications between AMc and NRA counsel.
1636                      Message_Attachment   1/22/2019 13:32                                                                                                                                                   Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                 file). Not privileged.
1637   Attorney-Client         Message         1/22/2019 13:32       Revan McQueen <Revan-               "SRyan@mwe.com"                                                          Attorney Client Communication Confidential communication between AMc employee
       Communications                                                 McQueen@am.com>                    <SRyan@mwe.com>                                                                                        and counsel at McDermott Will & Emery for purposes
                                                                                                                                                                                                                      of obtaining legal advice regarding prior
                                                                                                                                                                                                                  communications between AMc and NRA counsel.
1638                      Message_Attachment   1/22/2019 13:32                                                                                                                                                   Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                 file). Not privileged.
1639                      Message_Attachment   1/22/2019 13:32                                                                                                                                                   Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                 file). Not privileged.




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                                                                                                                                                                                                                                                    APP. 01265
                                                       Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21                                               Page 509 of 1087 PageID 30714
                                                                                                                      AMC Second Amended Privilege Log


  #     Privilege Type       Record Type       Document Date               Email From                         Email To                     Email CC            Email BCC           Email Subject                          Privilege Description
1640                      Message_Attachment   1/22/2019 13:32                                                                                                                                             Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                           file). Not privileged.
1641    Attorney-Client        Message         1/22/2019 13:38     Melanie Montgomery <Melanie-       Revan McQueen <Revan-                                                Re: AMc response RE: timing      AMc employee internally forwarding confidential
       Communications;                                                Montgomery@am.com>           McQueen@am.com>; Angus                                                    of NRA review of records     communication between AMc employee and counsel at
         Work Product                                                                                     McQueen<angus-                                                                                    Dorsey & Whitney for purposes of obtaining legal
                                                                                                   mcqueen@am.com>; Brandon                                                                                 advice regarding NRA request for documents, and
                                                                                                         Winkler <Brandon-                                                                                   work product created in anticipation of litigation.
                                                                                                 Winkler@am.com>; "Bill Winkler"
                                                                                                 <bill-winkler@am.com>; Anthony
                                                                                                         Makris <Anthony-
                                                                                                         makris@am.com>
1642   Attorney-Client         Message         1/22/2019 14:00   "Ryan, Stephen" <SRyan@mwe.com>      Revan McQueen <Revan-                                                     RE: Attorney Client        Confidential communication between AMc employee
       Communications                                                                                   McQueen@am.com>                                                          Communication            and counsel at McDermott Will & Emery for purposes
                                                                                                                                                                                                                  of obtaining legal advice regarding prior
                                                                                                                                                                                                             communications between AMc and NRA counsel.
1643   Attorney-Client         Message         1/22/2019 14:29        <betts.gina@dorsey.com>        <Revan-McQueen@am.com>                                                     Re: Attorney Client        Confidential communication between AMc employee
       Communications                                                                                                                                                            Communication               and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                          obtaining legal advice regarding Oliver North's contract.

1644                      Message_Attachment   1/22/2019 14:29                                                                                                                                           Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                         file). Not privileged.
1645    Attorney-Client        Message         1/23/2019 8:28         Revan McQueen <Revan-         Melanie Montgomery <Melanie-                                           Fwd: AMc response RE: timing   AMc employee internally forwarding confidential
       Communications;                                                 McQueen@am.com>              Montgomery@am.com>; Angus                                                of NRA review of records   communication between AMc employee and counsel at
         Work Product                                                                                       McQueen<angus-                                                                                Dorsey & Whitney for purposes of obtaining legal
                                                                                                     mcqueen@am.com>; Brandon                                                                             advice regarding NRA request for documents, and
                                                                                                           Winkler <Brandon-                                                                               work product created in anticipation of litigation.
                                                                                                   Winkler@am.com>; "Bill Winkler"
                                                                                                   <bill-winkler@am.com>; Anthony
                                                                                                           Makris <Anthony-
                                                                                                           makris@am.com>
1646    Attorney-Client        Message         1/23/2019 8:31        Anthony Makris <Anthony-           Revan McQueen <Revan-                                              Re: AMc response RE: timing     AMc employee internally forwarding confidential
       Communications;                                                   makris@am.com>                   McQueen@am.com>                                                    of NRA review of records    communication between AMc employee and counsel at
         Work Product                                                                                                                                                                                      Dorsey & Whitney for purposes of obtaining legal
                                                                                                                                                                                                           advice regarding NRA request for documents, and
                                                                                                                                                                                                            work product created in anticipation of litigation.
1647   Attorney-Client         Message         1/23/2019 23:01        Revan McQueen <Revan-              "SRyan@mwe.com"                                                   Attorney Client Communication Confidential communication between AMc employee
       Communications                                                  McQueen@am.com>                   <SRyan@mwe.com>                                                                                 and counsel at McDermott Will & Emery for purposes
                                                                                                                                                                                                                of obtaining legal advice regarding prior
                                                                                                                                                                                                           communications between AMc and NRA counsel.
1648                      Message_Attachment   1/23/2019 23:01                                                                                                                                            Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                           file). Not privileged.
1649   Attorney-Client         Message         1/24/2019 9:19    "Ryan, Stephen" <SRyan@mwe.com>       Revan McQueen <Revan-                                                     Re: Attorney Client      Confidential communication between AMc employee
       Communications                                                                                   McQueen@am.com>                                                           Communication          and counsel at McDermott Will & Emery for purposes
                                                                                                                                                                                                                of obtaining legal advice regarding prior
                                                                                                                                                                                                           communications between AMc and NRA counsel.
1650                      Message_Attachment   1/24/2019 9:19                                                                                                                                             Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                           file). Not privileged.
1651   Attorney-Client         Message         1/24/2019 22:13        Revan McQueen <Revan-              "SRyan@mwe.com"                                                   Attorney Client Communication Confidential communication between AMc employee
       Communications                                                  McQueen@am.com>                   <SRyan@mwe.com>                                                                                 and counsel at McDermott Will & Emery for purposes
                                                                                                                                                                                                          of obtaining legal advice regarding communications
                                                                                                                                                                                                                    with NRA about media inquiries.



                                                                                                                                Page 158 of 194
                                                                                                                                                                                                                                              APP. 01266
                                                      Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21                                                  Page 510 of 1087 PageID 30715
                                                                                                                    AMC Second Amended Privilege Log


  #    Privilege Type       Record Type       Document Date               Email From                        Email To                       Email CC              Email BCC          Email Subject                          Privilege Description
1652                     Message_Attachment   1/24/2019 22:13                                                                                                                                              Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                            file). Not privileged.
1653   Attorney-Client        Message         1/28/2019 15:18   "Ryan, Stephen" <SRyan@mwe.com>      "betts.gina@dorsey.com"         "madrid.jay@dorsey.com"                 RE: NRA audit. attorney work Confidential communication between AMc employee
       Communications                                                                                <betts.gina@dorsey.com>        <madrid.jay@dorsey.com>;                          product.            and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                   "Revan McQueen - Ackerman                                                 & Emery for purposes of obtaining legal advice
                                                                                                                                          McQueen (Revan-                                                                regarding timing of audit.
                                                                                                                                   McQueen@am.com)" <Revan-
                                                                                                                                        McQueen@am.com>
1654   Attorney-Client        Message         1/28/2019 15:23       Revan McQueen <Revan-                "Ryan, Stephen"              "betts.gina@dorsey.com"                Re: NRA audit. attorney work  Confidential communication between AMc employee
       Communications                                                McQueen@am.com>                   <SRyan@mwe.com>              <betts.gina@dorsey.com>;                          product.            and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                  "madrid.jay@dorsey.com"<madr                                               & Emery for purposes of obtaining legal advice
                                                                                                                                        id.jay@dorsey.com>                                                               regarding timing of audit.
1655                     Message_Attachment   1/28/2019 15:23                                                                                                                                              Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                            file). Not privileged.
1656                     Message_Attachment   1/28/2019 15:23                                                                                                                                              Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                            file). Not privileged.
1657   Attorney-Client        Message         1/28/2019 15:39       <betts.gina@dorsey.com>         <Revan-McQueen@am.com>           <SRyan@mwe.com>;                        Re: NRA audit. attorney work Confidential communication between AMc employee
       Communications                                                                                                               <madrid.jay@dorsey.com>                           product.            and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                                                                                             & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                         regarding timing of audit.
1658                     Message_Attachment   1/28/2019 15:39                                                                                                                                              Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                            file). Not privileged.
1659   Attorney-Client        Message         1/28/2019 16:03   "Ryan, Stephen" <SRyan@mwe.com>        "betts.gina@dorsey.com"     "madrid.jay@dorsey.com"                   RE: NRA audit. attorney work Confidential communication between AMc employee
       Communications                                                                             <betts.gina@dorsey.com>; "Revan- <madrid.jay@dorsey.com>                            product.            and counsel at Dorsey & Whitney and McDermott Will
                                                                                                    McQueen@am.com"<Revan-                                                                                   & Emery for purposes of obtaining legal advice
                                                                                                         McQueen@am.com>                                                                                                 regarding timing of audit.
1660   Attorney-Client        Message         1/28/2019 18:08       <betts.gina@dorsey.com>              <SRyan@mwe.com>          <Revan-McQueen@am.com>;                    Re: NRA audit. attorney work Confidential communication between AMc employee
       Communications                                                                                                              <madrid.jay@dorsey.com>                            product.            and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                                                                                             & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                         regarding timing of audit.
1661                     Message_Attachment   1/28/2019 18:08                                                                                                                                              Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                            file). Not privileged.
1662   Attorney-Client        Message         1/30/2019 13:41   "Ryan, Stephen" <SRyan@mwe.com>    "Revan McQueen - Ackerman                                                 FW: AMc response RE: timing Confidential communication between AMc employee
       Communications                                                                                     McQueen (Revan-                                                      of NRA review of records   and counsel at Dorsey & Whitney and McDermott Will
                                                                                                   McQueen@am.com)"<Revan-                                                                                   & Emery for purposes of obtaining legal advice
                                                                                                       McQueen@am.com>;                                                                                           regarding audit scope and procedure.
                                                                                                     "madrid.jay@dorsey.com"
                                                                                                    <madrid.jay@dorsey.com>;
                                                                                                      "betts.gina@dorsey.com"
                                                                                                     <betts.gina@dorsey.com>
1663   Attorney-Client        Message         1/30/2019 13:46       <betts.gina@dorsey.com>          <bill-winkler@am.com>;                                                  FW: AMc response RE: timing Confidential communication between AMc employee
       Communications                                                                              <Brandon-Winkler@am.com>                                                    of NRA review of records  and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                                                                                            & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                              regarding NRA document requests and audit
                                                                                                                                                                                                                              procedures.




                                                                                                                                Page 159 of 194
                                                                                                                                                                                                                                             APP. 01267
                                                       Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21                                                     Page 511 of 1087 PageID 30716
                                                                                                                        AMC Second Amended Privilege Log


  #     Privilege Type       Record Type       Document Date              Email From                             Email To                    Email CC                Email BCC          Email Subject                         Privilege Description
1664    Attorney-Client        Message         1/30/2019 13:49       Revan McQueen <Revan-           Melanie Montgomery <Melanie-                                                Fwd: AMc response RE: timing   AMc employee internally forwarding confidential
       Communications;                                                McQueen@am.com>                Montgomery@am.com>; Angus                                                     of NRA review of records   communication between AMc employee and counsel at
         Work Product                                                                                        McQueen<angus-                                                                                     Dorsey & Whitney for purposes of obtaining legal
                                                                                                      mcqueen@am.com>; Brandon                                                                                  advice regarding NRA request for documents, and
                                                                                                            Winkler <Brandon-                                                                                    work product created in anticipation of litigation.
                                                                                                    Winkler@am.com>; "Bill Winkler"
                                                                                                    <bill-winkler@am.com>; Anthony
                                                                                                             Makris <Anthony-
                                                                                                             makris@am.com>
1665    Attorney-Client        Message         1/30/2019 14:19     Melanie Montgomery <Melanie-          Revan McQueen <Revan-      "Lacey (Duffy) Cremer" <lacey-               Re: AMc response RE: timing      AMc employee internally forwarding confidential
       Communications;                                                Montgomery@am.com>              McQueen@am.com>; Angus              cremer@am.com>                           of NRA review of records     communication between AMc employee and counsel at
         Work Product                                                                                        McQueen<angus-                                                                                       Dorsey & Whitney for purposes of obtaining legal
                                                                                                      mcqueen@am.com>; Brandon                                                                                    advice regarding NRA request for documents, and
                                                                                                            Winkler <Brandon-                                                                                      work product created in anticipation of litigation.
                                                                                                    Winkler@am.com>; "Bill Winkler"
                                                                                                    <bill-winkler@am.com>; Anthony
                                                                                                             Makris <Anthony-
                                                                                                             makris@am.com>
1666   Attorney-Client         Message         1/30/2019 18:48       <betts.gina@dorsey.com>              <bill-winkler@am.com>                                                  Re: AMc response RE: timing
                                                                                                                                                                                                         Confidential communication between AMc employee
       Communications                                                                                                                                                              of NRA review of records
                                                                                                                                                                                                        and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                                                                                            & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                             regarding NRA document requests and audit
                                                                                                                                                                                                                               procedures.
1667                      Message_Attachment   1/30/2019 18:48                                                                                                                                           Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                          file). Not privileged.
1668                      Message_Attachment   1/30/2019 18:48                                                                                                                                           Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                          file). Not privileged.
1669   Attorney-Client         Message         1/31/2019 13:32     "Lacey (Duffy) Cremer" <lacey-       "betts.gina@dorsey.com"                                                   FW: 161996 - ATTORNEY  Confidential communication between AMc employee
       Communications                                                    cremer@am.com>                 <betts.gina@dorsey.com>                                                  CLIENT COMMUNICATION      and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                        / PRIVILEGE       obtaining legal advice regarding AMc-NRA billing
                                                                                                                                                                                                                                  matter.
1670   Attorney-Client    Message_Attachment   1/31/2019 13:32                                                                                                                                                Invoice detail attached to privileged email.
       Communications
1671   Attorney-Client         Message         1/31/2019 13:35     "Lacey (Duffy) Cremer" <lacey-       "betts.gina@dorsey.com"                                                  FW: OOP Job - ATTORNEY        Confidential communication between AMc employee
       Communications                                                    cremer@am.com>                 <betts.gina@dorsey.com>                                                  CLIENT COMMUNICATION            and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                       / PRIVILEGE              obtaining legal advice regarding AMc-NRA billing
                                                                                                                                                                                                                                       matter.
1672   Attorney-Client         Message          2/3/2019 9:11        <betts.gina@dorsey.com>        <bill-winkler@am.com>; <revan-                                               Fwd: AMc response RE: timing Confidential communication between AMc employee
       Communications                                                                               mcqueen@am.com>; <Brandon-                                                      of NRA review of records  and counsel at Dorsey & Whitney and McDermott Will
                                                                                                           Winkler@am.com>                                                                                        & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                    regarding NRA document requests and audit
                                                                                                                                                                                                                                     procedures.
1673   Attorney-Client         Message         2/4/2019 11:50        Revan McQueen <Revan-              "betts.gina@dorsey.com"                                                   Re: AMc response RE: timing Confidential communication between AMc employee
       Communications                                                 McQueen@am.com>                   <betts.gina@dorsey.com>                                                     of NRA review of records  and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                                                                                                  & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                        regarding audit scope and procedure.
1674   Attorney-Client         Message         2/4/2019 12:43    "Ryan, Stephen" <SRyan@mwe.com>      "Revan McQueen - Ackerman                                                       FW: Emailing - NRA       Confidential communication between AMc employee
       Communications                                                                                      McQueen (Revan-                                                               INVOICE.pdf          and counsel at McDermott Will & Emery for purposes
                                                                                                      McQueen@am.com)"<Revan-                                                                                    of obtaining legal advice regarding prior business
                                                                                                          McQueen@am.com>                                                                                                        practices at AMc.




                                                                                                                                  Page 160 of 194
                                                                                                                                                                                                                                                  APP. 01268
                                                      Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21                                                    Page 512 of 1087 PageID 30717
                                                                                                                      AMC Second Amended Privilege Log


  #    Privilege Type       Record Type       Document Date               Email From                        Email To                       Email CC                Email BCC          Email Subject                            Privilege Description
1675   Attorney-Client   Message_Attachment   2/4/2019 12:43                                                                                                                                                   Confidential communication between AMc employee
       Communications                                                                                                                                                                                         and counsel at McDermott Will & Emery for purposes
                                                                                                                                                                                                                 of obtaining legal advice regarding prior business
                                                                                                                                                                                                                                 practices at AMc.
1676   Attorney-Client        Message         2/4/2019 15:05   "Ryan, Stephen" <SRyan@mwe.com> Melanie Montgomery <Melanie-        "Revan McQueen - Ackerman                    RE: ATTORNEY/CLIENT            Confidential communication between AMc employee
       Communications                                                                             Montgomery@am.com>                     McQueen (Revan-                        PRIVILEGE/attorney work       and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                   McQueen@am.com)"<Revan-                             product                    & Emery for purposes of obtaining legal advice
                                                                                                                                      McQueen@am.com>;                                                         regarding communications with AMc employees and
                                                                                                                                     "betts.gina@dorsey.com"                                                                           NRA.
                                                                                                                                     <betts.gina@dorsey.com>
1677   Attorney-Client        Message         2/4/2019 21:05        Revan McQueen <Revan-              "SRyan@mwe.com"                                                          Fwd: AM : Media Inquiry        Confidential communication between AMc employee
       Communications                                                McQueen@am.com>                   <SRyan@mwe.com>                                                                                        and counsel at McDermott Will & Emery for purposes
                                                                                                                                                                                                                of obtaining legal advice regarding media inquiries.
1678   Attorney-Client        Message         2/5/2019 13:10   "Ryan, Stephen" <SRyan@mwe.com>      "Revan McQueen - Ackerman                                                  FW: Urgent need someone to      Confidential communication between AMc employee
       Communications                                                                                    McQueen (Revan-                                                       go take notes on the meeting   and counsel at McDermott Will & Emery for purposes
                                                                                                    McQueen@am.com)"<Revan-                                                        below. 106234=0011         of obtaining legal advice regarding media engagement
                                                                                                        McQueen@am.com>                                                                                                           by NRA counsel.
1679   Attorney-Client        Message         2/6/2019 13:56        <betts.gina@dorsey.com>           <bill-winkler@am.com>                                                       Fwd: Document copies         Confidential communication between AMc employee
       Communications                                                                                                                                                                                         and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                                                                                                  & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                   regarding NRA document requests and audit
                                                                                                                                                                                                                                     procedures.
1680   Attorney-Client        Message         2/6/2019 14:43   Bill Winkler <bill-winkler@am.com>      "SRyan@mwe.com"                 "Gina Betts - Dorsey                     FW: Follow-Up Questions        Confidential communication between AMc employee
       Communications                                                                                  <SRyan@mwe.com>              (betts.gina@dorsey.com)"                                                  and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                    <betts.gina@dorsey.com>;                                                      & Emery for purposes of obtaining legal advice
                                                                                                                                     Revan McQueen <Revan-                                                           regarding information requests from FRA.
                                                                                                                                   McQueen@am.com>; Angus
                                                                                                                                        McQueen <angus-
                                                                                                                                  mcqueen@am.com>; Brandon
                                                                                                                                        Winkler <Brandon-
                                                                                                                                   Winkler@am.com>; Melanie
                                                                                                                                      Montgomery<Melanie-
                                                                                                                                     Montgomery@am.com>;
                                                                                                                                  "Lacey (Duffy) Cremer" <lacey-
                                                                                                                                        cremer@am.com>
1681   Attorney-Client        Message         2/6/2019 14:48   "Ryan, Stephen" <SRyan@mwe.com>          Bill Winkler <bill-            "Gina Betts - Dorsey                     RE: Follow-Up Questions        Confidential communication between AMc employee
       Communications                                                                                   winkler@am.com>             (betts.gina@dorsey.com)"                                                  and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                    <betts.gina@dorsey.com>;                                                     & Emery for purposes of obtaining legal advice
                                                                                                                                     Revan McQueen <Revan-                                                          regarding information requests from FRA.
                                                                                                                                   McQueen@am.com>; Angus
                                                                                                                                        McQueen <angus-
                                                                                                                                  mcqueen@am.com>; Brandon
                                                                                                                                        Winkler <Brandon-
                                                                                                                                        Winkler@am.com>
1682   Attorney-Client        Message         2/6/2019 14:49        <betts.gina@dorsey.com>          <SRyan@mwe.com>; <bill-      <Revan-McQueen@am.com>;                       RE: Follow-Up Questions        Confidential communication between AMc employee
       Communications                                                                                   winkler@am.com>            <angus-mcqueen@am.com>;                                                    and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                   <Brandon-Winkler@am.com>                                                      & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                    regarding information requests from FRA.




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                                                                                                                                                                                                                                                APP. 01269
                                                       Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21                                                         Page 513 of 1087 PageID 30718
                                                                                                                          AMC Second Amended Privilege Log


  #    Privilege Type        Record Type       Document Date                Email From                          Email To                           Email CC              Email BCC          Email Subject                           Privilege Description
1683   Attorney-Client         Message         2/6/2019 14:49   Bill Winkler <bill-winkler@am.com>           "Ryan, Stephen"                 "Gina Betts - Dorsey                      RE: Follow-Up Questions       Confidential communication between AMc employee
       Communications                                                                                      <SRyan@mwe.com>                (betts.gina@dorsey.com)"                                                  and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                          <betts.gina@dorsey.com>;                                                     & Emery for purposes of obtaining legal advice
                                                                                                                                           Revan McQueen <Revan-                                                          regarding information requests from FRA.
                                                                                                                                         McQueen@am.com>; Angus
                                                                                                                                              McQueen <angus-
                                                                                                                                         mcqueen@am.com>; Brandon
                                                                                                                                              Winkler <Brandon-
                                                                                                                                              Winkler@am.com>
1684   Attorney-Client         Message         2/6/2019 14:57   "Ryan, Stephen" <SRyan@mwe.com>             Bill Winkler <bill-              "Gina Betts - Dorsey                      RE: Follow-Up Questions       Confidential communication between AMc employee
       Communications                                                                                       winkler@am.com>               (betts.gina@dorsey.com)"                                                  and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                          <betts.gina@dorsey.com>;                                                     & Emery for purposes of obtaining legal advice
                                                                                                                                           Revan McQueen <Revan-                                                          regarding information requests from FRA.
                                                                                                                                         McQueen@am.com>; Angus
                                                                                                                                              McQueen <angus-
                                                                                                                                         mcqueen@am.com>; Brandon
                                                                                                                                              Winkler <Brandon-
                                                                                                                                              Winkler@am.com>
1685   Attorney-Client         Message         2/6/2019 16:04   "Ryan, Stephen" <SRyan@mwe.com>        "betts.gina@dorsey.com"                                                       FW: Audit bumps and scrapes     Confidential communication between AMc employee
       Communications                                                                              <betts.gina@dorsey.com>; "Revan                                                    and requests for copies and   and counsel at Dorsey & Whitney and McDermott Will
                                                                                                    McQueen - Ackerman McQueen                                                            follow-up answers.           & Emery for purposes of obtaining legal advice
                                                                                                     (Revan-McQueen@am.com)"                                                                                              regarding information requests from FRA.
                                                                                                     <Revan-McQueen@am.com>
1686   Attorney-Client         Message         2/6/2019 16:11   Bill Winkler <bill-winkler@am.com>     "betts.gina@dorsey.com"                                                        RE: ATTORNEY-CLIENT            Confidential communication between AMc employee
       Communications                                                                                 <betts.gina@dorsey.com>;                                                          CORRESPONDENCE              and counsel at Dorsey & Whitney and McDermott Will
                                                                                                   "SRyan@mwe.com"<SRyan@mwe.                                                                                           & Emery for purposes of obtaining legal advice
                                                                                                                 com>                                                                                                             regarding audit procedures.
1687   Attorney-Client         Message         2/6/2019 16:14         <betts.gina@dorsey.com>           <bill-winkler@am.com>                <SRyan@mwe.com>                          Re: ATTORNEY-CLIENT            Confidential communication between AMc employee
       Communications                                                                                                                                                                   CORRESPONDENCE              and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                                                                                                        & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                                  regarding audit procedures.
1688                      Message_Attachment   2/6/2019 16:14                                                                                                                                                         Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                      file). Not privileged.
1689    Attorney-Client        Message         2/6/2019 16:16   Bill Winkler <bill-winkler@am.com>       "betts.gina@dorsey.com"   Revan McQueen <Revan-                              RE: ATTORNEY-CLIENT            Confidential communication between AMc employee
       Communications;                                                                                  <betts.gina@dorsey.com>; McQueen@am.com>; Brandon                               CORRESPONDENCE              and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                "SRyan@mwe.com"<SRyan@mwe.       Winkler<Brandon-                                                                  & Emery for purposes of obtaining legal advice
                                                                                                                   com>              Winkler@am.com>                                                                 regarding audit procedures, and work product created
                                                                                                                                                                                                                                  in anticipation of litigation.
1690    Attorney-Client   Message_Attachment   2/6/2019 16:16                                                                                                                                                        Confidential communication between AMc employee
       Communications;                                                                                                                                                                                              and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                                                                   & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                     regarding audit procedures, and work product created
                                                                                                                                                                                                                                  in anticipation of litigation.
1691   Attorney-Client         Message         2/6/2019 16:46   "Ryan, Stephen" <SRyan@mwe.com>         Brandon Winkler <Brandon-          Revan McQueen <Revan-                      RE: ATTORNEY-CLIENT            Confidential communication between AMc employee
       Communications                                                                                        Winkler@am.com>;               McQueen@am.com>                             CORRESPONDENCE              and counsel at Dorsey & Whitney and McDermott Will
                                                                                                     "betts.gina@dorsey.com"<betts.gin                                                                                  & Emery for purposes of obtaining legal advice
                                                                                                       a@dorsey.com>; Bill Winkler                                                                                                regarding audit procedures.
                                                                                                          <bill-winkler@am.com>




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  #     Privilege Type    Record Type   Document Date                Email From                      Email To                         Email CC                Email BCC            Email Subject                         Privilege Description
1692    Attorney-Client     Message     2/6/2019 17:38   "Ryan, Stephen" <SRyan@mwe.com>     "Revan McQueen - Ackerman        "betts.gina@dorsey.com"                      Ryan/Betts v.1 response RE:   Confidential communication between AMc employee
       Communications;                                                                            McQueen (Revan-             <betts.gina@dorsey.com>                      Document copies. Attorney    and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                        McQueen@am.com)"<Revan-                                                        client communication. For       & Emery for purposes of obtaining legal advice
                                                                                                 McQueen@am.com>                                                             Revan's review, edits or     regarding information requests from FRA and audit
                                                                                                                                                                                     approval.          procedures, and work product created in anticipation of
                                                                                                                                                                                                                               litigation.
1693    Attorney-Client     Message     2/6/2019 17:50        Revan McQueen <Revan-              Angus McQueen <angus-                                                     Fwd: Ryan/Betts v.1 response    AMc employee internally forwarding confidential
       Communications;                                         McQueen@am.com>              mcqueen@am.com>; Bill Winkler                                                 RE: Document copies. Attorney communication between AMc employee and counsel at
         Work Product                                                                       <bill-winkler@am.com>; Brandon                                                  client communication. For      Dorsey & Whitney for purposes of obtaining legal
                                                                                                    Winkler <Brandon-                                                        Revan's review, edits or      advice regarding NRA request for documents, and
                                                                                              Winkler@am.com>; Anthony                                                               approval.              work product created in anticipation of litigation.
                                                                                                     Makris<Anthony-
1694   Attorney-Client      Message     2/6/2019 18:02   Bill Winkler <bill-winkler@am.com>           "Ryan, Stephen"         Revan McQueen <Revan-                         RE: ATTORNEY-CLIENT            Confidential communication between AMc employee
       Communications                                                                        <SRyan@mwe.com>; Brandon          McQueen@am.com>                                CORRESPONDENCE              and counsel at Dorsey & Whitney and McDermott Will
                                                                                                    Winkler <Brandon-                                                                                        & Emery for purposes of obtaining legal advice
                                                                                                   Winkler@am.com>;                                                                                                     regarding audit procedures.
                                                                                                 "betts.gina@dorsey.com"
                                                                                                 <betts.gina@dorsey.com>
1695    Attorney-Client     Message     2/6/2019 18:08        Anthony Makris <Anthony-           Revan McQueen <Revan-                                                     Re: Ryan/Betts v.1 response     AMc employee internally forwarding confidential
       Communications;                                            makris@am.com>                   McQueen@am.com>                                                        RE: Document copies. Attorney communication between AMc employee and counsel at
         Work Product                                                                                                                                                       client communication. For          Dorsey & Whitney regarding substance of
                                                                                                                                                                             Revan's review, edits or   communications with NRA counsel, and work product
                                                                                                                                                                                     approval.                    created in anticipation of litigation.
1696    Attorney-Client     Message     2/6/2019 22:58        Revan McQueen <Revan-                "Ryan, Stephen"            "betts.gina@dorsey.com"                      Re: Ryan/Betts v.1 response   Confidential communication between AMc employee
       Communications;                                         McQueen@am.com>                   <SRyan@mwe.com>              <betts.gina@dorsey.com>                     RE: Document copies. Attorney and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                       client communication. For       & Emery for purposes of obtaining legal advice
                                                                                                                                                                             Revan's review, edits or     regarding information requests from FRA and audit
                                                                                                                                                                                     approval.          procedures, and work product created in anticipation of
                                                                                                                                                                                                                               litigation.
1697    Attorney-Client     Message      2/7/2019 8:28   "Ryan, Stephen" <SRyan@mwe.com>       Revan McQueen <Revan-          "betts.gina@dorsey.com"                      Re: Ryan/Betts v.1 response   Confidential communication between AMc employee
       Communications;                                                                          McQueen@am.com>               <betts.gina@dorsey.com>                     RE: Document copies. Attorney and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                       client communication. For       & Emery for purposes of obtaining legal advice
                                                                                                                                                                             Revan's review, edits or     regarding information requests from FRA and audit
                                                                                                                                                                                     approval.          procedures, and work product created in anticipation of
                                                                                                                                                                                                                               litigation.
1698    Attorney-Client     Message      2/7/2019 8:33        Revan McQueen <Revan-                "Ryan, Stephen"            "betts.gina@dorsey.com"                      Re: Ryan/Betts v.1 response   Confidential communication between AMc employee
       Communications;                                         McQueen@am.com>                   <SRyan@mwe.com>              <betts.gina@dorsey.com>                     RE: Document copies. Attorney and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                       client communication. For       & Emery for purposes of obtaining legal advice
                                                                                                                                                                             Revan's review, edits or     regarding information requests from FRA and audit
                                                                                                                                                                                     approval.          procedures, and work product created in anticipation of
                                                                                                                                                                                                                               litigation.
1699    Attorney-Client     Message      2/7/2019 9:19   "Ryan, Stephen" <SRyan@mwe.com>       Revan McQueen <Revan-          "betts.gina@dorsey.com"                      RE: Ryan/Betts v.1 response   Confidential communication between AMc employee
       Communications;                                                                          McQueen@am.com>               <betts.gina@dorsey.com>                     RE: Document copies. Attorney and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                       client communication. For       & Emery for purposes of obtaining legal advice
                                                                                                                                                                             Revan's review, edits or     regarding information requests from FRA and audit
                                                                                                                                                                                     approval.          procedures, and work product created in anticipation of
                                                                                                                                                                                                                               litigation.




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  #    Privilege Type        Record Type       Document Date                Email From                       Email To                          Email CC            Email BCC           Email Subject                            Privilege Description
1700   Attorney-Client         Message         2/7/2019 10:51   "Ryan, Stephen" <SRyan@mwe.com>     "betts.gina@dorsey.com"                                                      privileged communication.      Confidential communication between AMc employee
       Communications                                                                           <betts.gina@dorsey.com>; "Revan                                                                                and counsel at Dorsey & Whitney and McDermott Will
                                                                                                 McQueen - Ackerman McQueen                                                                                       & Emery for purposes of obtaining legal advice
                                                                                                  (Revan-McQueen@am.com)"                                                                                                     regarding media inquiries.
                                                                                                  <Revan-McQueen@am.com>
1701   Attorney-Client         Message         2/7/2019 10:52   "Ryan, Stephen" <SRyan@mwe.com>     "betts.gina@dorsey.com"                                                    privileged communication #2.     Confidential communication between AMc employee
       Communications                                                                           <betts.gina@dorsey.com>; "Revan                                                                                and counsel at Dorsey & Whitney and McDermott Will
                                                                                                 McQueen - Ackerman McQueen                                                                                        & Emery for purposes of obtaining legal advice
                                                                                                  (Revan-McQueen@am.com)"                                                                                        regarding communications with NRA counsel about
                                                                                                  <Revan-McQueen@am.com>                                                                                                      audit information requests.
1702   Attorney-Client         Message         2/7/2019 10:53   "Ryan, Stephen" <SRyan@mwe.com>     "betts.gina@dorsey.com"                                                     privileged communication 3.     Confidential communication between AMc employee
       Communications                                                                           <betts.gina@dorsey.com>; "Revan                                                                                and counsel at Dorsey & Whitney and McDermott Will
                                                                                                 McQueen - Ackerman McQueen                                                                                        & Emery for purposes of obtaining legal advice
                                                                                                  (Revan-McQueen@am.com)"                                                                                        regarding communications with NRA counsel about
                                                                                                  <Revan-McQueen@am.com>                                                                                                              audit scope.
1703   Attorney-Client         Message         2/7/2019 10:53   "Ryan, Stephen" <SRyan@mwe.com> "Revan McQueen - Ackerman                                                       Privileged communication 4.     Confidential communication between AMc employee
       Communications                                                                                    McQueen (Revan-                                                                                       and counsel at Dorsey & Whitney and McDermott Will
                                                                                                  McQueen@am.com)"<Revan-                                                                                          & Emery for purposes of obtaining legal advice
                                                                                                       McQueen@am.com>                                                                                           regarding communications with NRA counsel about
                                                                                                                                                                                                                                      audit scope.
1704    Attorney-Client        Message         2/7/2019 11:28        Revan McQueen <Revan-              Anthony Makris <Anthony-                                               FW: Privileged communication       AMc employee internally forwarding confidential
       Communications;                                                McQueen@am.com>                       makris@am.com>                                                                   4.                communication between AMc employee and counsel at
         Work Product                                                                                                                                                                                             Dorsey & Whitney for purposes of obtaining legal
                                                                                                                                                                                                                  advice regarding NRA request for documents, and
                                                                                                                                                                                                                   work product created in anticipation of litigation.
1705    Attorney-Client        Message         2/7/2019 11:34       Anthony Makris <Anthony-             Revan McQueen <Revan-                                                 Re: Privileged communication       AMc employee internally forwarding confidential
       Communications;                                                  makris@am.com>                    McQueen@am.com>                                                                    4.                communication between AMc employee and counsel at
         Work Product                                                                                                                                                                                             Dorsey & Whitney for purposes of obtaining legal
                                                                                                                                                                                                                  advice regarding NRA request for documents, and
                                                                                                                                                                                                                   work product created in anticipation of litigation.
1706   Attorney-Client         Message         2/7/2019 18:37        <betts.gina@dorsey.com>         <revan-mcqueen@am.com>; <bill-                                            Fwd: Interim response to NRA     Confidential communication between AMc employee
       Communications                                                                                  winkler@am.com>; <Brandon-                                                re: AMc document copies.         and counsel at Dorsey & Whitney for purposes of
                                                                                                            Winkler@am.com>                                                                                     obtaining legal advice regarding correspondence from
                                                                                                                                                                                                                                     NRA counsel.
1707    Attorney-Client        Message         2/7/2019 18:54        Revan McQueen <Revan-              Angus McQueen <angus-                                                  Fwd: Interim response to NRA       AMc employee internally forwarding confidential
       Communications;                                                McQueen@am.com>                 mcqueen@am.com>; Anthony                                                   re: AMc document copies.      communication between AMc employee and counsel at
         Work Product                                                                                      Makris<Anthony-                                                                                        Dorsey & Whitney for purposes of obtaining legal
                                                                                                           makris@am.com>                                                                                         advice regarding NRA request for documents, and
                                                                                                                                                                                                                   work product created in anticipation of litigation.
1708   Attorney-Client         Message         2/7/2019 19:39   Bill Winkler <bill-winkler@am.com>           "sryan@mwe.com"             Revan McQueen <Revan-                          Fwd: today              Confidential communication between AMc employee
       Communications                                                                                       <sryan@mwe.com>;           McQueen@am.com>; Brandon                                                and counsel at Dorsey & Whitney and McDermott Will
                                                                                                     "betts.gina@dorsey.com"<betts.gin      Winkler<Brandon-                                                       & Emery for purposes of obtaining legal advice
                                                                                                               a@dorsey.com>               Winkler@am.com>                                                            regarding information requests from FRA.
1709                      Message_Attachment   2/7/2019 19:39                                                                                                                                                    Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                 file). Not privileged.
1710    Attorney-Client        Message         2/7/2019 22:48        Revan McQueen <Revan-               "madrid.jay@dorsey.com"                                               Attorney Client Communication    Confidential communication between AMc employee
       Communications;                                                McQueen@am.com>                   <madrid.jay@dorsey.com>;                                                                               and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                "betts.gina@dorsey.com"<betts.gin                                                                             & Emery for purposes of obtaining legal advice
                                                                                                               a@dorsey.com>;                                                                                   regarding draft correspondence to NRA counsel, and
                                                                                                             "SRyan@mwe.com"                                                                                       work product created in anticipation of litigation.
                                                                                                            <SRyan@mwe.com>



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                                                                                                                      AMC Second Amended Privilege Log


  #     Privilege Type       Record Type       Document Date              Email From                          Email To                        Email CC                  Email BCC          Email Subject                              Privilege Description
1711                      Message_Attachment   2/7/2019 22:48                                                                                                                                                        Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                       file). Not privileged.
1712                      Message_Attachment   2/7/2019 22:48                                                                                                                                                        Letter from S. Ryan to S. Hart dated 1/10/19 attached
                                                                                                                                                                                                                               to privileged email. Not privileged.
1713    Attorney-Client        Message          2/8/2019 6:01        Revan McQueen <Revan-                "SRyan@mwe.com"                                                           Attorney Client Communication    Confidential communication between AMc employee
       Communications;                                                McQueen@am.com>                    <SRyan@mwe.com>;                                                                                           and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                             "betts.gina@dorsey.com"<betts.gin                                                                                     & Emery for purposes of obtaining legal advice
                                                                                                            a@dorsey.com>;                                                                                            regarding draft correspondence to NRA about audit
                                                                                                      "madrid.jay@dorsey.com"                                                                                        protocol, and work product created in anticipation of
                                                                                                      <madrid.jay@dorsey.com>                                                                                                                 litigation.
1714    Attorney-Client   Message_Attachment    2/8/2019 6:01                                                                                                                                                        Confidential communication between AMc employee
       Communications;                                                                                                                                                                                              and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                                                                   & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                      regarding draft correspondence to NRA about audit
                                                                                                                                                                                                                     protocol, and work product created in anticipation of
                                                                                                                                                                                                                                              litigation.
1715   Attorney-Client         Message         2/8/2019 13:19   "Ryan, Stephen" <SRyan@mwe.com>        Revan McQueen <Revan-                 "Gina E. Betts"                        Fwd: Interim response to NRA     Confidential communication between AMc employee
       Communications                                                                                   McQueen@am.com>                 <betts.gina@dorsey.com>                       re: AMc document copies.      and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                                                                                                        & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                       regarding communications from NRA about audit
                                                                                                                                                                                                                                              protocol.
1716   Attorney-Client         Message         2/8/2019 13:46   "Ryan, Stephen" <SRyan@mwe.com>        Revan McQueen <Revan-                 "Gina E. Betts"                        Fwd: Interim response to NRA     Confidential communication between AMc employee
       Communications                                                                                   McQueen@am.com>                 <betts.gina@dorsey.com>                       re: AMc document copies.      and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                                                                                                        & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                       regarding communications from NRA about audit
                                                                                                                                                                                                                                              protocol.
1717   Attorney-Client         Message         2/8/2019 14:53   "Ryan, Stephen" <SRyan@mwe.com>        Revan McQueen <Revan-                                                        Fwd: Interim response to NRA     Confidential communication between AMc employee
       Communications                                                                                   McQueen@am.com>                                                               re: AMc document copies.      and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                                                                                                        & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                       regarding communications from NRA about audit
                                                                                                                                                                                                                                              protocol.
1718   Attorney-Client         Message         2/8/2019 15:19   "Ryan, Stephen" <SRyan@mwe.com>        Revan McQueen <Revan-                                                        Attorney client communication    Confidential communication between AMc employee
       Communications                                                                              McQueen@am.com>; "Gina E.                                                                                        and counsel at Dorsey & Whitney and McDermott Will
                                                                                                   Betts"<betts.gina@dorsey.com>;                                                                                       & Emery for purposes of obtaining legal advice
                                                                                                          Winkler Bill <bill-                                                                                               regarding draft correspondence to NRA.
                                                                                                          winkler@am.com>
1719   Attorney-Client         Message         2/8/2019 16:09   Bill Winkler <bill-winkler@am.com>         "Ryan, Stephen"                                                                   FW: today               Confidential communication between AMc employee
       Communications                                                                                    <SRyan@mwe.com>                                                                                            and counsel at McDermott Will & Emery for purposes
                                                                                                                                                                                                                       of obtaining legal advice regarding information
                                                                                                                                                                                                                                      requests from FRA.
1720   Attorney-Client         Message         2/8/2019 16:16        <betts.gina@dorsey.com>           <bill-winkler@am.com>;         <Revan-McQueen@am.com>;                                RE: today               Confidential communication between AMc employee
       Communications                                                                                <JBradley@forensicrisk.com>          <SRyan@mwe.com>                                                           and counsel at McDermott Will & Emery for purposes
                                                                                                                                                                                                                       of obtaining legal advice regarding information
                                                                                                                                                                                                                                      requests from FRA.
1721    Attorney-Client        Message         2/8/2019 16:38        <betts.gina@dorsey.com>             <SRyan@mwe.com>              <Revan-McQueen@am.com>                         FW: [Ackerman McQueen]          Confidential communication between AMc employee
       Communications;                                                                                                                                                               Letter to John Frazer, NRA     and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                                                                  & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                      regarding communications from NRA about audit
                                                                                                                                                                                                                     protocol, and work product created in anticipation of
                                                                                                                                                                                                                                           litigation.




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                                                                                                                        AMC Second Amended Privilege Log


  #     Privilege Type       Record Type       Document Date               Email From                          Email To                        Email CC                 Email BCC          Email Subject                          Privilege Description
1722    Attorney-Client   Message_Attachment   2/8/2019 16:38                                                                                                                                                      Confidential communication between AMc employee
       Communications;                                                                                                                                                                                            and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                                                                & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                    regarding communications from NRA about audit
                                                                                                                                                                                                                   protocol, and work product created in anticipation of
                                                                                                                                                                                                                                         litigation.
1723   Attorney-Client         Message         2/8/2019 16:39   Bill Winkler <bill-winkler@am.com>      "betts.gina@dorsey.com"        Revan McQueen <Revan-                                  RE: today            Confidential communication between AMc employee
       Communications                                                                                   <betts.gina@dorsey.com>          McQueen@am.com>;                                                         and counsel at McDermott Will & Emery for purposes
                                                                                                                                          "SRyan@mwe.com"                                                            of obtaining legal advice regarding information
                                                                                                                                         <SRyan@mwe.com>                                                                            requests from FRA.
1724   Attorney-Client         Message         2/8/2019 17:19   Bill Winkler <bill-winkler@am.com>         "Gina Betts - Dorsey        Revan McQueen <Revan-                                  RE: today            Confidential communication between AMc employee
       Communications                                                                                  (betts.gina@dorsey.com)"      McQueen@am.com>; Brandon                                                     and counsel at Dorsey & Whitney and McDermott Will
                                                                                                        <betts.gina@dorsey.com>            Winkler<Brandon-                                                          & Emery for purposes of obtaining legal advice
                                                                                                                                      Winkler@am.com>; Melanie                                                          regarding information requests from FRA.
                                                                                                                                        Montgomery <Melanie-
                                                                                                                                       Montgomery@am.com>;
                                                                                                                                     "Lacey (Duffy) Cremer" <lacey-
                                                                                                                                           cremer@am.com>
1725    Attorney-Client        Message         2/8/2019 19:07        Brandon Winkler <Brandon-             "SRyan@mwe.com"             Revan McQueen <Revan-                             Attorney-Client           Confidential communication between AMc employee
       Communications;                                                   Winkler@am.com>                  <SRyan@mwe.com>;             McQueen@am.com>; Bill                          Communication FW: today     and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                              "betts.gina@dorsey.com"<betts.gin         Winkler <bill-                                                          & Emery for purposes of obtaining legal advice
                                                                                                             a@dorsey.com>                 winkler@am.com>                                                         regarding information requests from FRA, and work
                                                                                                                                                                                                                        product created in anticipation of litigation.
1726    Attorney-Client        Message         2/8/2019 19:54     "Lacey (Duffy) Cremer" <lacey-             "SRyan@mwe.com"             Revan McQueen <Revan-                      Attorney Client Communication Confidential communication between AMc employee
       Communications;                                                  cremer@am.com>                      <SRyan@mwe.com>;           McQueen@am.com>; Brandon                                                   and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                "betts.gina@dorsey.com"<betts.gin      Winkler<Brandon-                                                         & Emery for purposes of obtaining legal advice
                                                                                                               a@dorsey.com>             Winkler@am.com>; Bill                                                     regarding information requests from FRA, and work
                                                                                                                                              Winkler <bill-                                                            product created in anticipation of litigation.
                                                                                                                                       winkler@am.com>; "Melanie
                                                                                                                                         Montgomery" <Melanie-
                                                                                                                                         Montgomery@am.com>
1727    Attorney-Client   Message_Attachment   2/8/2019 19:54                                                                                                                                                      Confidential communication between AMc employee
       Communications;                                                                                                                                                                                            and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                                                                & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                   regarding information requests from FRA, and work
                                                                                                                                                                                                                        product created in anticipation of litigation.
1728    Attorney-Client        Message          2/9/2019 9:00   "Ryan, Stephen" <SRyan@mwe.com>        Brandon Winkler <Brandon-        "betts.gina@dorsey.com"                         Re: Attorney-Client        Confidential communication between AMc employee
       Communications;                                                                                     Winkler@am.com>             <betts.gina@dorsey.com>;                       Communication FW: today     and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                   Revan McQueen<Revan-                                                         & Emery for purposes of obtaining legal advice
                                                                                                                                       McQueen@am.com>; Bill                                                       regarding information requests from FRA, and work
                                                                                                                                              Winkler <bill-                                                            product created in anticipation of litigation.
                                                                                                                                           winkler@am.com>
1729                      Message_Attachment    2/9/2019 9:00                                                                                                                                                       Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                   file). Not privileged.
1730                      Message_Attachment    2/9/2019 9:00                                                                                                                                                       Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                   file). Not privileged.
1731                      Message_Attachment    2/9/2019 9:00                                                                                                                                                       Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                   file). Not privileged.
1732                      Message_Attachment    2/9/2019 9:00                                                                                                                                                       Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                   file). Not privileged.




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                                                                                                                                                                                                                                                      APP. 01274
                                                       Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21                                                      Page 518 of 1087 PageID 30723
                                                                                                                      AMC Second Amended Privilege Log


  #     Privilege Type       Record Type       Document Date               Email From                        Email To                        Email CC                 Email BCC           Email Subject                          Privilege Description
1733                      Message_Attachment    2/9/2019 9:00                                                                                                                                                     Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                  file). Not privileged.
1734    Attorney-Client        Message         2/9/2019 10:58       Brandon Winkler <Brandon-             "Ryan, Stephen"              "betts.gina@dorsey.com"                        RE: Attorney-Client         Confidential communication between AMc employee
       Communications;                                                  Winkler@am.com>                 <SRyan@mwe.com>               <betts.gina@dorsey.com>;                      Communication FW: today      and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                  Revan McQueen<Revan-                                                         & Emery for purposes of obtaining legal advice
                                                                                                                                      McQueen@am.com>; Bill                                                       regarding information requests from FRA, and work
                                                                                                                                             Winkler <bill-                                                            product created in anticipation of litigation.
                                                                                                                                          winkler@am.com>
1735    Attorney-Client        Message         2/9/2019 13:27    "Ryan, Stephen" <SRyan@mwe.com>      "betts.gina@dorsey.com"        "Revan McQueen - Ackerman                           Attorney Client         Confidential communication between AMc employee
       Communications;                                                                             <betts.gina@dorsey.com>; "bill-        McQueen (Revan-                          Communication answers.docx and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                  winkler@am.com"<bill-         McQueen@am.com)"<Revan-                                                       & Emery for purposes of obtaining legal advice
                                                                                                          winkler@am.com>                McQueen@am.com>                                                         regarding information requests from FRA, and work
                                                                                                                                                                                                                      product created in anticipation of litigation.
1736    Attorney-Client   Message_Attachment   2/9/2019 13:27                                                                                                                                                    Confidential communication between AMc employee
       Communications;                                                                                                                                                                                          and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                                                              & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                 regarding information requests from FRA, and work
                                                                                                                                                                                                                      product created in anticipation of litigation.
1737    Attorney-Client        Message         2/9/2019 14:40    "Ryan, Stephen" <SRyan@mwe.com>   "Revan McQueen - Ackerman                                                      FW: Letter to John Frazer NRA Confidential communication between AMc employee
       Communications;                                                                                  McQueen (Revan-                                                            02-08-2019 4825-4465-7288 and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                              McQueen@am.com)"<Revan-                                                                   v.1.docx              & Emery for purposes of obtaining legal advice
                                                                                                       McQueen@am.com>                                                                                            regarding communications from NRA about audit
                                                                                                                                                                                                                 protocol, and work product created in anticipation of
                                                                                                                                                                                                                                        litigation.
1738    Attorney-Client   Message_Attachment   2/9/2019 14:40                                                                                                                                                    Confidential communication between AMc employee
       Communications;                                                                                                                                                                                          and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                                                              & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                  regarding communications from NRA about audit
                                                                                                                                                                                                                 protocol, and work product created in anticipation of
                                                                                                                                                                                                                                        litigation.
1739    Attorney-Client        Message         2/10/2019 12:33       Revan McQueen <Revan-                "Ryan, Stephen"             "betts.gina@dorsey.com"                     Attorney Client Communication Confidential communication between AMc employee
       Communications;                                                McQueen@am.com>                   <SRyan@mwe.com>               <betts.gina@dorsey.com>                                                   and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                                                              & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                  regarding communications from NRA about audit
                                                                                                                                                                                                                 protocol, and work product created in anticipation of
                                                                                                                                                                                                                                        litigation.
1740    Attorney-Client   Message_Attachment   2/10/2019 12:33                                                                                                                                                   Confidential communication between AMc employee
       Communications;                                                                                                                                                                                          and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                                                              & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                  regarding communications from NRA about audit
                                                                                                                                                                                                                 protocol, and work product created in anticipation of
                                                                                                                                                                                                                                        litigation.
1741   Attorney-Client         Message         2/10/2019 15:02   "Ryan, Stephen" <SRyan@mwe.com>      Revan McQueen <Revan-           "betts.gina@dorsey.com"                           Re: Attorney Client      Confidential communication between AMc employee
       Communications                                                                                  McQueen@am.com>                <betts.gina@dorsey.com>                            Communication          and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                                                                                                   & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                  regarding communications from NRA about audit
                                                                                                                                                                                                                                        protocol.
1742                      Message_Attachment   2/10/2019 15:02                                                                                                                                                   Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                 file). Not privileged.




                                                                                                                                 Page 167 of 194
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                                                       Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21                                                     Page 519 of 1087 PageID 30724
                                                                                                                       AMC Second Amended Privilege Log


  #    Privilege Type        Record Type       Document Date                Email From                       Email To                      Email CC                  Email BCC          Email Subject                             Privilege Description
1743   Attorney-Client         Message         2/10/2019 15:17       <betts.gina@dorsey.com>             <SRyan@mwe.com>            <Revan-McQueen@am.com>                            Re: Attorney Client          Confidential communication between AMc employee
       Communications                                                                                                                                                                  Communication              and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                                                                                                     & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                    regarding communications from NRA about audit
                                                                                                                                                                                                                                         protocol.
1744    Attorney-Client        Message         2/10/2019 16:53     "Lacey (Duffy) Cremer" <lacey-           "SRyan@mwe.com"             Revan McQueen <Revan-                         Re: Attorney Client          Confidential communication between AMc employee
       Communications;                                                   cremer@am.com>                    <SRyan@mwe.com>;           McQueen@am.com>; Brandon                         Communication              and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                               "betts.gina@dorsey.com"<betts.gin      Winkler<Brandon-                                                          & Emery for purposes of obtaining legal advice
                                                                                                              a@dorsey.com>             Winkler@am.com>; Bill                                                      regarding information requests from FRA, and work
                                                                                                                                             Winkler <bill-                                                             product created in anticipation of litigation.
                                                                                                                                      winkler@am.com>; "Melanie
                                                                                                                                        Montgomery" <Melanie-
                                                                                                                                        Montgomery@am.com>
1745    Attorney-Client   Message_Attachment   2/10/2019 16:53                                                                                                                                                     Confidential communication between AMc employee
       Communications;                                                                                                                                                                                            and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                                                                  & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                    regarding information requests from FRA, and work
                                                                                                                                                                                                                         product created in anticipation of litigation.
1746   Attorney-Client         Message         2/11/2019 10:50       <betts.gina@dorsey.com>         <Brandon-Winkler@am.com>                                                       RE: Attorney-Client            Confidential communication between AMc employee
       Communications                                                                                                                                                             Communication FW: today             and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                                      obtaining legal advice regarding NRA request for
                                                                                                                                                                                                                          documents and audit procedures for same.
1747    Attorney-Client        Message         2/11/2019 10:55      Brandon Winkler <Brandon-          "betts.gina@dorsey.com"           Bill Winkler <bill-                        RE: Attorney-Client            Confidential communication between AMc employee
       Communications;                                                  Winkler@am.com>                <betts.gina@dorsey.com>           winkler@am.com>                          Communication FW: today         and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                                                                  & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                    regarding information requests from FRA, and work
                                                                                                                                                                                                                         product created in anticipation of litigation.
1748   Attorney-Client         Message         2/11/2019 10:57       <betts.gina@dorsey.com>         <Brandon-Winkler@am.com>                                                       RE: Attorney-Client            Confidential communication between AMc employee
       Communications                                                                                                                                                             Communication FW: today             and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                                      obtaining legal advice regarding NRA request for
                                                                                                                                                                                                                          documents and audit procedures for same.
1749    Attorney-Client        Message         2/11/2019 11:44     "Lacey (Duffy) Cremer" <lacey-      "betts.gina@dorsey.com"                                                        FW: Attorney Client          Confidential communication between AMc employee
       Communications;                                                   cremer@am.com>                <betts.gina@dorsey.com>                                                         Communication                  and counsel at Dorsey & Whitney for purposes of
         Work Product                                                                                                                                                                                              obtaining legal advice regarding FRA audit, and work
                                                                                                                                                                                                                         product created in anticipation of litigation.
1750    Attorney-Client   Message_Attachment   2/11/2019 11:44                                                                                                                                                     Confidential communication between AMc employee
       Communications;                                                                                                                                                                                                and counsel at Dorsey & Whitney for purposes of
         Work Product                                                                                                                                                                                              obtaining legal advice regarding FRA audit, and work
                                                                                                                                                                                                                         product created in anticipation of litigation.
1751   Attorney-Client         Message         2/11/2019 11:50       <betts.gina@dorsey.com>         <Brandon-Winkler@am.com>                                                       ATTORNEY-CLIENT                Confidential communication between AMc employee
       Communications                                                                                                                                                                  PRIVILEGE                      and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                                      obtaining legal advice regarding NRA request for
                                                                                                                                                                                                                          documents and audit procedures for same.
1752    Attorney-Client        Message         2/11/2019 12:19   "Ryan, Stephen" <SRyan@mwe.com>     "Revan McQueen - Ackerman                                                    Proposed final letter to John    Confidential communication between AMc employee
       Communications;                                                                                     McQueen (Revan-                                                        Frazer NRA. attorney client     and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                McQueen@am.com)"<Revan-                                                            communication                  & Emery for purposes of obtaining legal advice
                                                                                                        McQueen@am.com>;                                                                                             regarding communications from NRA about audit
                                                                                                       "betts.gina@dorsey.com"                                                                                      protocol, and work product created in anticipation of
                                                                                                       <betts.gina@dorsey.com>                                                                                                            litigation.




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  #     Privilege Type       Record Type       Document Date               Email From                         Email To                        Email CC                 Email BCC         Email Subject                            Privilege Description
1753    Attorney-Client   Message_Attachment   2/11/2019 12:19                                                                                                                                                    Confidential communication between AMc employee
       Communications;                                                                                                                                                                                           and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                                                                & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                    regarding communications from NRA about audit
                                                                                                                                                                                                                  protocol, and work product created in anticipation of
                                                                                                                                                                                                                                           litigation.
1754    Attorney-Client   Message_Attachment   2/11/2019 12:19                                                                                                                                                    Confidential communication between AMc employee
       Communications;                                                                                                                                                                                           and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                                                                & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                    regarding communications from NRA about audit
                                                                                                                                                                                                                  protocol, and work product created in anticipation of
                                                                                                                                                                                                                                           litigation.
1755    Attorney-Client        Message         2/11/2019 12:42       Revan McQueen <Revan-                 "SRyan@mwe.com"                                                          Re: Proposed final letter to  Confidential communication between AMc employee
       Communications;                                                McQueen@am.com>                     <SRyan@mwe.com>;                                                          John Frazer NRA. attorney    and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                              "betts.gina@dorsey.com"<betts.gin                                                   client communication          & Emery for purposes of obtaining legal advice
                                                                                                             a@dorsey.com>                                                                                          regarding communications from NRA about audit
                                                                                                                                                                                                                  protocol, and work product created in anticipation of
                                                                                                                                                                                                                                           litigation.
1756                      Message_Attachment   2/11/2019 12:42                                                                                                                                                    Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                    file). Not privileged.
1757   Attorney-Client         Message         2/11/2019 13:54      Brandon Winkler <Brandon-          "betts.gina@dorsey.com"            Bill Winkler <bill-                       RE: ATTORNEY-CLIENT           Confidential communication between AMc employee
       Communications                                                   Winkler@am.com>                <betts.gina@dorsey.com>            winkler@am.com>                                   PRIVILEGE               and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                                  obtaining legal advice regarding information requests
                                                                                                                                                                                                                                          from FRA.
1758   Attorney-Client         Message         2/11/2019 15:36   "Ryan, Stephen" <SRyan@mwe.com>       "betts.gina@dorsey.com"                                                     FW: Ackerman letter to NRA Confidential communication between AMc employee
       Communications                                                                              <betts.gina@dorsey.com>; "Revan                                                                               and counsel at Dorsey & Whitney and McDermott Will
                                                                                                    McQueen - Ackerman McQueen                                                                                       & Emery for purposes of obtaining legal advice
                                                                                                     (Revan-McQueen@am.com)"                                                                                      regarding communications from NRA counsel about
                                                                                                     <Revan-McQueen@am.com>                                                                                                  documents received from AMc.
1759   Attorney-Client         Message         2/11/2019 15:44       Revan McQueen <Revan-                  "Ryan, Stephen"                                                        Re: Ackerman letter to NRA     Confidential communication between AMc employee
       Communications                                                 McQueen@am.com>                     <SRyan@mwe.com>                                                                                        and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                                                                                                     & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                  regarding communications from NRA counsel about
                                                                                                                                                                                                                             documents received from AMc.
1760    Attorney-Client        Message         2/11/2019 15:49   "Ryan, Stephen" <SRyan@mwe.com>       "betts.gina@dorsey.com"                                                     FW: Ackerman letter to NRA Confidential communication between AMc employee
       Communications;                                                                             <betts.gina@dorsey.com>; "Revan                                                                               and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                               McQueen - Ackerman McQueen                                                                                       & Emery for purposes of obtaining legal advice
                                                                                                     (Revan-McQueen@am.com)"                                                                                       regarding draft correspondence to NRA about status
                                                                                                     <Revan-McQueen@am.com>                                                                                          and scope of audit, and work product created in
                                                                                                                                                                                                                                 anticipation of litigation.
1761    Attorney-Client   Message_Attachment   2/11/2019 15:49                                                                                                                                                    Confidential communication between AMc employee
       Communications;                                                                                                                                                                                           and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                                                                & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                   regarding draft correspondence to NRA about status
                                                                                                                                                                                                                     and scope of audit, and work product created in
                                                                                                                                                                                                                                 anticipation of litigation.
1762   Attorney-Client         Message         2/11/2019 16:01       Revan McQueen <Revan-                 "Ryan, Stephen"             "betts.gina@dorsey.com"                     Re: Ackerman letter to NRA     Confidential communication between AMc employee
       Communications                                                 McQueen@am.com>                    <SRyan@mwe.com>               <betts.gina@dorsey.com>                                                   and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                                                                                                     & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                   regarding draft correspondence to NRA about status
                                                                                                                                                                                                                                     and scope of audit.



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                                                           Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21                                                      Page 521 of 1087 PageID 30726
                                                                                                                           AMC Second Amended Privilege Log


  #      Privilege Type          Record Type       Document Date                 Email From                      Email To                         Email CC                Email BCC          Email Subject                           Privilege Description
1763     Attorney-Client           Message         2/11/2019 16:16   "Ryan, Stephen" <SRyan@mwe.com>       Revan McQueen <Revan-          "betts.gina@dorsey.com"                      RE: Ackerman letter to NRA    Confidential communication between AMc employee
         Communications                                                                                     McQueen@am.com>               <betts.gina@dorsey.com>                                                   and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                                                                                                        & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                      regarding draft correspondence to NRA about status
                                                                                                                                                                                                                                        and scope of audit.
1764     Attorney-Client           Message         2/11/2019 18:09       <betts.gina@dorsey.com>              <sryan@mwe.com>            <revan-mcqueen@am.com>                         Fwd: Contract—Attorney       Confidential communication between AMc employee
         Communications                                                                                                                                                                     Client Privilege        and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                                                                                                        & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                               regarding Oliver North's contract.
1765                          Message_Attachment   2/11/2019 18:09                                                                                                                                                   Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                       file). Not privileged.
1766     Attorney-Client           Message         2/11/2019 18:49     "Lacey (Duffy) Cremer" <lacey-           "SRyan@mwe.com"             Revan McQueen <Revan-                         Re: Attorney Client        Confidential communication between AMc employee
        Communications;                                                      cremer@am.com>                    <SRyan@mwe.com>;           McQueen@am.com>; Brandon                         Communication               and counsel at Dorsey & Whitney for purposes of
          Work Product                                                                                  "betts.gina@dorsey.com"<betts.gin      Winkler<Brandon-                                                      obtaining legal advice regarding information requests
                                                                                                                  a@dorsey.com>             Winkler@am.com>; Bill                                                   from FRA, and work product created in anticipation of
                                                                                                                                                 Winkler <bill-                                                                               litigation.
                                                                                                                                          winkler@am.com>; "Melanie
                                                                                                                                            Montgomery" <Melanie-
                                                                                                                                            Montgomery@am.com>
1767     Attorney-Client      Message_Attachment   2/11/2019 18:49                                                                                                                                                   Confidential communication between AMc employee
        Communications;                                                                                                                                                                                                and counsel at Dorsey & Whitney for purposes of
          Work Product                                                                                                                                                                                               obtaining legal advice regarding information requests
                                                                                                                                                                                                                    from FRA, and work product created in anticipation of
                                                                                                                                                                                                                                              litigation.
1768     Attorney-Client           Message         2/12/2019 18:53   "Ryan, Stephen" <SRyan@mwe.com>       Revan McQueen <Revan-                                                      Fwd: Ackerman letter to NRA    Confidential communication between AMc employee
         Communications                                                                                     McQueen@am.com>                                                                                         and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                                                                                                        & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                      regarding correspondence from NRA counsel about
                                                                                                                                                                                                                                                 audit.
1769                          Message_Attachment   2/12/2019 18:53                                                                                                                                                   Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                       file). Not privileged.
1770                          Message_Attachment   2/12/2019 18:53                                                                                                                    00206BB492F5190212173210      Letter from J. Frazer to S. Ryan dated 2/12/19 attached
                                                                                                                                                                                                                               to privileged email. Not privileged.
1771   Forwarding Attorney-        Message         2/12/2019 19:16       Revan McQueen <Revan-             Angus McQueen <angus-                                                      Fwd: Ackerman letter to NRA      AMc employee internally forwarding confidential
             Client                                                       McQueen@am.com>                mcqueen@am.com>; Anthony                                                                                   communication between AMc employee and counsel at
       Communications and                                                                                     Makris<Anthony-                                                                                          Dorsey & Whitney for purposes of obtaining legal
          Work Product                                                                                        makris@am.com>                                                                                          advice regarding draft memo prepared for the NRA,
                                                                                                                                                                                                                     and work product created in anticipation of litigation.
1772   Forwarding Attorney-   Message_Attachment   2/12/2019 19:16                                                                                                                                                     AMc employee internally forwarding confidential
             Client                                                                                                                                                                                                 communication between AMc employee and counsel at
       Communications and                                                                                                                                                                                              Dorsey & Whitney for purposes of obtaining legal
          Work Product                                                                                                                                                                                                advice regarding draft memo prepared for the NRA,
                                                                                                                                                                                                                     and work product created in anticipation of litigation.
1773      Work Product        Message_Attachment   2/12/2019 19:16                                                                                                                    00206BB492F5190212173210         AMc employee internally forwarding confidential
                                                                                                                                                                                                                    communication between AMc employee and counsel at
                                                                                                                                                                                                                       Dorsey & Whitney for purposes of obtaining legal
                                                                                                                                                                                                                         advice regarding NRA request for documents.




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                                                                                                                           AMC Second Amended Privilege Log


  #       Privilege Type         Record Type       Document Date               Email From                           Email To                     Email CC                     Email BCC                 Email Subject                              Privilege Description
1774   Forwarding Attorney-        Message         2/12/2019 19:16        Revan McQueen <Revan-            Brandon Winkler <Brandon-                                                              Fwd: Ackerman letter to NRA        AMc employee internally forwarding confidential
              Client                                                       McQueen@am.com>                   Winkler@am.com>; Bill                                                                                                communication between AMc employee and counsel at
       Communications and                                                                                 Winkler<bill-winkler@am.com>                                                                                               Dorsey & Whitney for purposes of obtaining legal
           Work Product                                                                                                                                                                                                            advice regarding draft memo prepared for the NRA,
                                                                                                                                                                                                                                   and work product created in anticipation of litigation.
1775     Attorney-Client      Message_Attachment   2/12/2019 19:16                                                                                                                                                                   AMc employee internally forwarding confidential
        Communications;                                                                                                                                                                                                           communication between AMc employee and counsel at
          Work Product                                                                                                                                                                                                               Dorsey & Whitney for purposes of obtaining legal
                                                                                                                                                                                                                                     advice regarding NRA request for documents, and
                                                                                                                                                                                                                                      work product created in anticipation of litigation.
1776     Attorney-Client      Message_Attachment   2/12/2019 19:16                                                                                                                                00206BB492F5190212173210           AMc employee internally forwarding confidential
        Communications;                                                                                                                                                                                                           communication between AMc employee and counsel at
          Work Product                                                                                                                                                                                                               Dorsey & Whitney for purposes of obtaining legal
                                                                                                                                                                                                                                     advice regarding NRA request for documents, and
                                                                                                                                                                                                                                      work product created in anticipation of litigation.
1777     Attorney-Client           Message         2/13/2019 15:39        Revan McQueen <Revan-               "SRyan@mwe.com"                                                                               Fwd: Audit             Confidential communication between AMc employee
         Communications                                                    McQueen@am.com>                    <SRyan@mwe.com>                                                                                                     and counsel at McDermott Will & Emery for purposes
                                                                                                                                                                                                                                  of obtaining legal advice regarding information request
                                                                                                                                                                                                                                                          from FRA.
1778                          Message_Attachment   2/13/2019 15:39                                                                                                                                                                 Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                                    file). Not privileged.
1779                          Message_Attachment   2/13/2019 15:39                                                                                                                                                                 Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                                    file). Not privileged.
1780     Attorney-Client           Message         2/14/2019 9:34         <betts.gina@dorsey.com>          <sryan@mwe.com>; <revan-                                                                         Fwd: Audit             Confidential communication between AMc employee
         Communications                                                                                        mcqueen@am.com>                                                                                                    and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                                                                                                                      & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                                         regarding information request from FRA.
1781                          Message_Attachment   2/14/2019 9:34                                                                                                                                                                  Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                                    file). Not privileged.
1782                          Message_Attachment   2/14/2019 9:34                                                                                                                                                                  Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                                    file). Not privileged.
1783     Attorney-Client           Message         2/15/2019 13:36        <betts.gina@dorsey.com>             <SRyan@mwe.com>              <bill-winkler@am.com>                                   Re: what's happening on the     Confidential communication between AMc employee
         Communications                                                                                                                                                                           audit front today? or have they and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                                                                                            gone home?                & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                                               regarding status of FRA audit.
1784     Attorney-Client           Message         2/15/2019 13:51   Bill Winkler <bill-winkler@am.com>         "Ryan, Stephen"            "betts.gina@dorsey.com"       Revan McQueen <Revan-     Re: what's happening on the     Confidential communication between AMc employee
         Communications                                                                                       <SRyan@mwe.com>              <betts.gina@dorsey.com>     McQueen@am.com>; Brandon   audit front today? or have they and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                                                            Winkler<Brandon-                gone home?                & Emery for purposes of obtaining legal advice
                                                                                                                                                                        Winkler@am.com>; Angus                                                 regarding status of FRA audit.
                                                                                                                                                                            McQueen <angus-
                                                                                                                                                                           mcqueen@am.com>
1785     Attorney-Client           Message         2/17/2019 13:53        <betts.gina@dorsey.com>         <revan-mcqueen@am.com>;                                                                    Fwd: Additional Request       Confidential communication between AMc employee
         Communications                                                                                   <Brandon-Winkler@am.com>                                                                                                  and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                                                   obtaining legal advice regarding information request
                                                                                                                                                                                                                                                        from auditors.
1786                          Message_Attachment   2/17/2019 13:53                                                                                                                                                                 Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                                    file). Not privileged.
1787                          Message_Attachment   2/17/2019 13:53                                                                                                                                                                 Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                                    file). Not privileged.
1788                          Message_Attachment   2/17/2019 13:53                                                                                                                                                                 Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                                    file). Not privileged.



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  #    Privilege Type        Record Type       Document Date                 Email From                         Email To                      Email CC                Email BCC          Email Subject                            Privilege Description
1789   Attorney-Client         Message         2/20/2019 11:46   "Ryan, Stephen" <SRyan@mwe.com>     "Revan McQueen - Ackerman        "betts.gina@dorsey.com"                        FW: Review of North K.        Confidential communication between AMc employee
       Communications                                                                                      McQueen (Revan-            <betts.gina@dorsey.com>                                                     and counsel at Dorsey & Whitney and McDermott Will
                                                                                                     McQueen@am.com)"<Revan-                                                                                         & Emery for purposes of obtaining legal advice
                                                                                                         McQueen@am.com>                                                                                                    regarding Oliver North's contract.
1790   Attorney-Client         Message         2/20/2019 16:47   "Ryan, Stephen" <SRyan@mwe.com>     "Revan McQueen - Ackerman                                                       FW: Review of North K.        Confidential communication between AMc employee
       Communications                                                                                      McQueen (Revan-                                                                                        and counsel at Dorsey & Whitney and McDermott Will
                                                                                                     McQueen@am.com)"<Revan-                                                                                         & Emery for purposes of obtaining legal advice
                                                                                                        McQueen@am.com>;                                                                                                    regarding Oliver North's contract.
                                                                                                       "betts.gina@dorsey.com"
                                                                                                       <betts.gina@dorsey.com>
1791   Attorney-Client         Message         2/22/2019 20:50        Revan McQueen <Revan-              "SRyan@mwe.com"                                                              Fwd: Revan McQueen           Confidential communication between AMc employee
       Communications                                                  McQueen@am.com>                   <SRyan@mwe.com>                                                                                          and counsel at McDermott Will & Emery for purposes
                                                                                                                                                                                                                    of obtaining legal advice regarding media inquiries.
1792   Attorney-Client         Message         2/23/2019 9:44    "Ryan, Stephen" <SRyan@mwe.com>       Revan McQueen <Revan-                                                           Re: Revan McQueen           Confidential communication between AMc employee
       Communications                                                                                   McQueen@am.com>                                                                                           and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                                                                                                      & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                                  regarding media inquiries.
1793                      Message_Attachment   2/23/2019 9:44                                                                                                                                                      Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                     file). Not privileged.
1794   Attorney-Client         Message         2/23/2019 10:03        Revan McQueen <Revan-                "Ryan, Stephen"                                                        Attorney Client Communication    Confidential communication between AMc employee
       Communications                                                  McQueen@am.com>                   <SRyan@mwe.com>                                                                                          and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                                                                                                      & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                    regarding media inquiries and possible media leaks.
1795    Attorney-Client        Message         2/23/2019 14:06   "Ryan, Stephen" <SRyan@mwe.com>     "Revan McQueen - Ackerman                                                     Why he needs to go. attorney    Confidential communication between AMc employee
       Communications;                                                                                    McQueen (Revan-                                                                work product             and counsel at McDermott Will & Emery for purposes
         Work Product                                                                                McQueen@am.com)"<Revan-                                                                                          of obtaining legal advice regarding NRA outside
                                                                                                         McQueen@am.com>                                                                                           counsel and possible media leaks, and work product
                                                                                                                                                                                                                             created in anticipation of litigation.
1796   Attorney-Client         Message         2/25/2019 15:39   "Ryan, Stephen" <SRyan@mwe.com>         "betts.gina@dorsey.com"      "Revan McQueen - Ackerman                       Tomorrow's NRA visit.        Confidential communication between AMc employee
       Communications                                                                                <betts.gina@dorsey.com>; "bill-       McQueen (Revan-                        attorney client communication   and counsel at Dorsey & Whitney and McDermott Will
                                                                                                          winkler@am.com"<bill-       McQueen@am.com)"<Revan-                                                         & Emery for purposes of obtaining legal advice
                                                                                                            winkler@am.com>               McQueen@am.com>                                                                        regarding audit procedures.
1797   Attorney-Client         Message         2/25/2019 15:54   Bill Winkler <bill-winkler@am.com>           "Ryan, Stephen"           Revan McQueen <Revan-                      RE: Tomorrow's NRA visit.       Confidential communication between AMc employee
       Communications                                                                                      <SRyan@mwe.com>;           McQueen@am.com>; Brandon                    attorney client communication   and counsel at Dorsey & Whitney and McDermott Will
                                                                                                    "betts.gina@dorsey.com"<betts.gin      Winkler<Brandon-                                                           & Emery for purposes of obtaining legal advice
                                                                                                              a@dorsey.com>               Winkler@am.com>                                                                        regarding audit procedures.
1798   Attorney-Client         Message         2/25/2019 16:05        Brandon Winkler <Brandon-               "Ryan, Stephen"           Revan McQueen <Revan-                      RE: Tomorrow's NRA visit.       Confidential communication between AMc employee
       Communications                                                     Winkler@am.com>                  <SRyan@mwe.com>;            McQueen@am.com>; Bill                      attorney client communication   and counsel at Dorsey & Whitney and McDermott Will
                                                                                                    "betts.gina@dorsey.com"<betts.gin        Winkler <bill-                                                           & Emery for purposes of obtaining legal advice
                                                                                                              a@dorsey.com>                winkler@am.com>                                                                       regarding audit procedures.
1799   Attorney-Client    Message_Attachment   2/25/2019 16:05                                                                                                                     2015 - 2019 Employees.xlsx      Confidential communication between AMc employee
       Communications                                                                                                                                                                                             and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                                                                                                      & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                                 regarding audit procedures.
1800   Attorney-Client         Message         2/26/2019 11:55   "Ryan, Stephen" <SRyan@mwe.com>       "betts.gina@dorsey.com"                                                            FW: Heads up.            Confidential communication between AMc employee
       Communications                                                                              <betts.gina@dorsey.com>; "Revan                                                                                and counsel at Dorsey & Whitney and McDermott Will
                                                                                                    McQueen - Ackerman McQueen                                                                                        & Emery for purposes of obtaining legal advice
                                                                                                     (Revan-McQueen@am.com)"                                                                                         regarding NRA's review of Oliver North's contract.
                                                                                                     <Revan-McQueen@am.com>




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  #    Privilege Type        Record Type       Document Date                 Email From                      Email To                       Email CC                  Email BCC         Email Subject                             Privilege Description
1801   Attorney-Client         Message         2/26/2019 11:55   "Ryan, Stephen" <SRyan@mwe.com>    "betts.gina@dorsey.com"                                                        FW: Can we have an update       Confidential communication between AMc employee
       Communications                                                                           <betts.gina@dorsey.com>; "Revan                                                              call.                and counsel at Dorsey & Whitney and McDermott Will
                                                                                                 McQueen - Ackerman McQueen                                                                                          & Emery for purposes of obtaining legal advice
                                                                                                  (Revan-McQueen@am.com)"                                                                                           regarding NRA's review of Oliver North's contract.
                                                                                                  <Revan-McQueen@am.com>
1802   Attorney-Client         Message         3/4/2019 15:31    "Ryan, Stephen" <SRyan@mwe.com> "Revan McQueen - Ackerman            "betts.gina@dorsey.com"                     AMc review - follow up letter    Confidential communication between AMc employee
       Communications                                                                                    McQueen (Revan-              <betts.gina@dorsey.com>                             from NRA.               and counsel at Dorsey & Whitney and McDermott Will
                                                                                                  McQueen@am.com)"<Revan-                                                                                            & Emery for purposes of obtaining legal advice
                                                                                                   McQueen@am.com>; "bill-                                                                                             regarding correspondence from NRA counsel.
                                                                                                     winkler@am.com" <bill-
                                                                                                        winkler@am.com>
1803                      Message_Attachment   3/4/2019 15:31                                                                                                                                                      Letter from J. Frazer to S. Ryan dated 3/4/19 attached
                                                                                                                                                                                                                             to privileged email. Not privileged.
1804   Attorney-Client         Message          3/5/2019 9:36    "Ryan, Stephen" <SRyan@mwe.com>       "betts.gina@dorsey.com"                                                        attorney work product        Confidential communication between AMc employee
       Communications                                                                              <betts.gina@dorsey.com>; "Revan                                                                                and counsel at Dorsey & Whitney and McDermott Will
                                                                                                    McQueen - Ackerman McQueen                                                                                        & Emery for purposes of obtaining legal advice
                                                                                                     (Revan-McQueen@am.com)"                                                                                       regarding communication from NRA about document
                                                                                                     <Revan-McQueen@am.com>                                                                                                                requests.
1805                      Message_Attachment    3/5/2019 9:36                                                                                                                                                     Letter from J. Frazer to S. Ryan dated 2/12/19 attached
                                                                                                                                                                                                                             to privileged email. Not privileged.
1806   Attorney-Client         Message          3/5/2019 9:36    "Ryan, Stephen" <SRyan@mwe.com>     "Revan McQueen - Ackerman                                                        attorney work product        Confidential communication between AMc employee
       Communications                                                                                      McQueen (Revan-                                                                                        and counsel at Dorsey & Whitney and McDermott Will
                                                                                                     McQueen@am.com)"<Revan-                                                                                          & Emery for purposes of obtaining legal advice
                                                                                                        McQueen@am.com>;                                                                                           regarding communication from NRA about document
                                                                                                       "betts.gina@dorsey.com"                                                                                                             requests.
                                                                                                       <betts.gina@dorsey.com>
1807                      Message_Attachment    3/5/2019 9:36                                                                                                                                                      Letter from J. Frazer to S. Ryan dated 3/4/19 attached
                                                                                                                                                                                                                             to privileged email. Not privileged.
1808   Attorney-Client         Message          3/5/2019 9:47    "Ryan, Stephen" <SRyan@mwe.com>    "Revan McQueen - Ackerman                                                      FW: AMc review - follow up      Confidential communication between AMc employee
       Communications                                                                                     McQueen (Revan-                                                                    letter               and counsel at Dorsey & Whitney and McDermott Will
                                                                                                    McQueen@am.com)"<Revan-                                                                                           & Emery for purposes of obtaining legal advice
                                                                                                       McQueen@am.com>;                                                                                            regarding communication from NRA about document
                                                                                                      "betts.gina@dorsey.com"                                                                                                              requests.
                                                                                                      <betts.gina@dorsey.com>
1809   Attorney-Client         Message         3/5/2019 12:08         <betts.gina@dorsey.com>       <Revan-McQueen@am.com>;                                                       Talent Contract--ATTORNEY Confidential communication between AMc employee
       Communications                                                                               <angus-mcqueen@am.com>;                                                       CLIENT CORRESPONDENCE and counsel at Dorsey & Whitney and McDermott Will
                                                                                                     <madrid.jay@dorsey.com>;                                                                                   & Emery for purposes of obtaining legal advice
                                                                                                        <SRyan@mwe.com>                                                                                               regarding Oliver North's contract.
1810    Attorney-Client        Message         3/5/2019 16:53        <madrid.jay@dorsey.com>        <Revan-McQueen@am.com>;            <SRyan@mwe.com>;                                FW: Letter to Frazer  Confidential communication between AMc employee
       Communications;                                                                               <angus-mcqueen@am.com>           <betts.gina@dorsey.com>                                               and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                                                           & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                             regarding draft correspondence to NRA counsel, and
                                                                                                                                                                                                               work product created in anticipation of litigation.
1811    Attorney-Client   Message_Attachment   3/5/2019 16:53                                                                                                                                                Confidential communication between AMc employee
       Communications;                                                                                                                                                                                      and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                                                           & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                             regarding draft correspondence to NRA counsel, and
                                                                                                                                                                                                               work product created in anticipation of litigation.




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  #     Privilege Type       Record Type       Document Date              Email From                         Email To                      Email CC            Email BCC          Email Subject                              Privilege Description
1812    Attorney-Client        Message         3/6/2019 15:06     Melanie Montgomery <Melanie-         Ariana Azimi <ariana-                                                FW: [BULK] PLEASE PASS              Confidential internal communications collecting
       Communications;                                               Montgomery@am.com>                  azimi@am.com>                                                             TO MILLIE                 documents requested by counsel at Dorsey & Whitney
         Work Product                                                                                                                                                                                           for purposes of obtaining legal advice, and work
                                                                                                                                                                                                                   product created in anticipation of litigation.
1813    Attorney-Client   Message_Attachment   3/6/2019 15:06                                                                                                                  American Heroes(RV2)             Confidential internal communications collecting
       Communications;                                                                                                                                                                                       documents requested by counsel at Dorsey & Whitney
         Work Product                                                                                                                                                                                           for purposes of obtaining legal advice, and work
                                                                                                                                                                                                                   product created in anticipation of litigation.
1814    Attorney-Client   Message_Attachment   3/6/2019 15:06                                                                                                                                                   Confidential internal communications collecting
       Communications;                                                                                                                                                                                       documents requested by counsel at Dorsey & Whitney
         Work Product                                                                                                                                                                                           for purposes of obtaining legal advice, and work
                                                                                                                                                                                                                   product created in anticipation of litigation.
1815    Attorney-Client        Message         3/6/2019 15:07     Melanie Montgomery <Melanie-         Ariana Azimi <ariana-                                                      FW: North Videos              Confidential internal communications collecting
       Communications;                                               Montgomery@am.com>                  azimi@am.com>                                                                                       documents requested by counsel at Dorsey & Whitney
         Work Product                                                                                                                                                                                           for purposes of obtaining legal advice, and work
                                                                                                                                                                                                                   product created in anticipation of litigation.
1816    Attorney-Client   Message_Attachment   3/6/2019 15:07                                                                                                                                                   Confidential internal communications collecting
       Communications;                                                                                                                                                                                       documents requested by counsel at Dorsey & Whitney
         Work Product                                                                                                                                                                                           for purposes of obtaining legal advice, and work
                                                                                                                                                                                                                   product created in anticipation of litigation.
1817   Attorney-Client         Message          3/7/2019 8:45   "Ryan, Stephen" <SRyan@mwe.com>     "betts.gina@dorsey.com"                                                Can I call both of you right now Confidential communication between AMc employee
       Communications                                                                           <betts.gina@dorsey.com>; "Revan                                                  and link us together?      and counsel at Dorsey & Whitney and McDermott Will
                                                                                                 McQueen - Ackerman McQueen                                                                                      & Emery for purposes of obtaining legal advice
                                                                                                  (Revan-McQueen@am.com)"                                                                                      regarding communications with NRA about Oliver
                                                                                                  <Revan-McQueen@am.com>                                                                                                        North's contract.
1818    Attorney-Client        Message          3/7/2019 9:59   "Ryan, Stephen" <SRyan@mwe.com>     "betts.gina@dorsey.com"                                                      Suggested response.         Confidential communication between AMc employee
       Communications;                                                                          <betts.gina@dorsey.com>; "Revan                                                                             and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                            McQueen - Ackerman McQueen                                                                                      & Emery for purposes of obtaining legal advice
                                                                                                  (Revan-McQueen@am.com)"                                                                                    regarding draft correspondence to NRA counsel about
                                                                                                  <Revan-McQueen@am.com>                                                                                      NRA requests to review Oliver North's contract, and
                                                                                                                                                                                                                work product created in anticipation of litigation.
1819    Attorney-Client        Message         3/7/2019 10:06        <betts.gina@dorsey.com>       <SRyan@mwe.com>; <Revan-                                                    ATTORNEY CLIENT               Confidential communication between AMc employee
       Communications;                                                                                McQueen@am.com>                                                          CORRESPONDENCE               and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                                                            & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                             regarding draft correspondence to NRA counsel about
                                                                                                                                                                                                              NRA requests to review Oliver North's contract, and
                                                                                                                                                                                                                work product created in anticipation of litigation.
1820    Attorney-Client        Message         3/7/2019 10:10   "Ryan, Stephen" <SRyan@mwe.com>        "betts.gina@dorsey.com"                                               RE: ATTORNEY CLIENT             Confidential communication between AMc employee
       Communications;                                                                            <betts.gina@dorsey.com>; "Revan-                                             CORRESPONDENCE               and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                               McQueen@am.com"<Revan-                                                                                       & Emery for purposes of obtaining legal advice
                                                                                                         McQueen@am.com>                                                                                     regarding draft correspondence to NRA counsel about
                                                                                                                                                                                                              NRA requests to review Oliver North's contract, and
                                                                                                                                                                                                                work product created in anticipation of litigation.
1821    Attorney-Client        Message         3/7/2019 10:28        Revan McQueen <Revan-            "betts.gina@dorsey.com"          "SRyan@mwe.com"                       Re: ATTORNEY CLIENT             Confidential communication between AMc employee
       Communications;                                                McQueen@am.com>                 <betts.gina@dorsey.com>          <SRyan@mwe.com>                         CORRESPONDENCE               and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                                                            & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                             regarding draft correspondence to NRA counsel about
                                                                                                                                                                                                              NRA requests to review Oliver North's contract, and
                                                                                                                                                                                                                work product created in anticipation of litigation.




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  #     Privilege Type       Record Type       Document Date             Email From                          Email To                           Email CC                Email BCC          Email Subject                                  Privilege Description
1822    Attorney-Client        Message         3/7/2019 10:41       Revan McQueen <Revan-                 "Ryan, Stephen"               "betts.gina@dorsey.com"                       Re: ATTORNEY CLIENT               Confidential communication between AMc employee
       Communications;                                               McQueen@am.com>                    <SRyan@mwe.com>                 <betts.gina@dorsey.com>                        CORRESPONDENCE                 and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                                                                      & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                       regarding draft correspondence to NRA counsel about
                                                                                                                                                                                                                         NRA requests to review Oliver North's contract, and
                                                                                                                                                                                                                           work product created in anticipation of litigation.
1823                      Message_Attachment   3/7/2019 10:41                                                                                                                                                            Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                           file). Not privileged.
1824    Attorney-Client        Message         3/7/2019 10:47       Revan McQueen <Revan-                   "Ryan, Stephen"                                                            Re: Suggested response.          Confidential communication between AMc employee
       Communications;                                               McQueen@am.com>                     <SRyan@mwe.com>;                                                                                             and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                             "betts.gina@dorsey.com"<betts.gin                                                                                        & Emery for purposes of obtaining legal advice
                                                                                                            a@dorsey.com>                                                                                              regarding draft correspondence to NRA counsel about
                                                                                                                                                                                                                         NRA requests to review Oliver North's contract, and
                                                                                                                                                                                                                           work product created in anticipation of litigation.
1825    Attorney-Client        Message         3/7/2019 11:25       Revan McQueen <Revan-                 "Ryan, Stephen"                "betts.gina@dorsey.com"                      Re: amended draft. attorney       Confidential communication between AMc employee
       Communications;                                               McQueen@am.com>                    <SRyan@mwe.com>                 <betts.gina@dorsey.com>;                     work product. I highlighted in   and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                 "madrid.jay@dorsey.com"<madr                  yellow some of my changes but          & Emery for purposes of obtaining legal advice
                                                                                                                                           id.jay@dorsey.com>                       dropped language is not shown.     regarding draft correspondence to NRA counsel about
                                                                                                                                                                                        Revan's original below.          NRA requests to review Oliver North's contract, and
                                                                                                                                                                                                                           work product created in anticipation of litigation.
1826    Attorney-Client        Message         3/7/2019 11:29       <madrid.jay@dorsey.com>              <SRyan@mwe.com>;                                                             RE: amended draft. attorney       Confidential communication between AMc employee
       Communications;                                                                            <betts.gina@dorsey.com>; <Revan-                                                   work product. I highlighted in   and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                    McQueen@am.com>                                                            yellow some of my changes but          & Emery for purposes of obtaining legal advice
                                                                                                                                                                                    dropped language is not shown.     regarding draft correspondence to NRA counsel about
                                                                                                                                                                                        Revan's original below.          NRA requests to review Oliver North's contract, and
                                                                                                                                                                                                                           work product created in anticipation of litigation.
1827   Attorney-Client         Message         3/7/2019 12:00   "Ryan, Stephen" <SRyan@mwe.com>       "betts.gina@dorsey.com"                                                        FW: AMc review - North K           Confidential communication between AMc employee
       Communications                                                                                <betts.gina@dorsey.com>;                                                         issue in follow-up letter       and counsel at Dorsey & Whitney and McDermott Will
                                                                                                  "madrid.jay@dorsey.com"<madrid.j                                                                                         & Emery for purposes of obtaining legal advice
                                                                                                      ay@dorsey.com>; "Revan                                                                                            regarding correspondence sent to NRA counsel about
                                                                                                   McQueen - Ackerman McQueen                                                                                            NRA requests to review Oliver North's contract, and
                                                                                                    (Revan-McQueen@am.com)"                                                                                                work product created in anticipation of litigation
                                                                                                    <Revan-McQueen@am.com>                                                                                            relating to state agency investigations into the NRA and
                                                                                                                                                                                                                      litigation anticipated by AMc from the NRA as a result
                                                                                                                                                                                                                          of, in large part, Bill Brewer's threats against AMc.
1828    Attorney-Client        Message         3/7/2019 13:22     Melanie Montgomery <Melanie-         Ariana Azimi <ariana-                                                        Re: Past North Travel & Videos          Confidential internal communications drafting
       Communications;                                               Montgomery@am.com>                  azimi@am.com>                                                                                                   correspondence to counsel at Dorsey & Whitney for
         Work Product                                                                                                                                                                                                         purposes of obtaining legal advice regarding
                                                                                                                                                                                                                         documents collected by counsel's request, and work
                                                                                                                                                                                                                               product created in anticipation of litigation.
1829   Attorney-Client         Message         3/7/2019 13:44   "Ryan, Stephen" <SRyan@mwe.com>     "Revan McQueen - Ackerman                                                        FW: AMc review - North K           Confidential communication between AMc employee
       Communications                                                                                      McQueen (Revan-                                                            issue in follow-up letter.      and counsel at Dorsey & Whitney and McDermott Will
                                                                                                    McQueen@am.com)"<Revan-                                                            Attorney work product               & Emery for purposes of obtaining legal advice
                                                                                                        McQueen@am.com>;                                                                                                     regarding correspondence from NRA counsel
                                                                                                       "betts.gina@dorsey.com"                                                                                         requesting additional review of Oliver North's contract.
                                                                                                     <betts.gina@dorsey.com>;
                                                                                                      "madrid.jay@dorsey.com"
                                                                                                     <madrid.jay@dorsey.com>




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  #    Privilege Type        Record Type       Document Date               Email From                      Email To                         Email CC                  Email BCC         Email Subject                            Privilege Description
1830   Attorney-Client         Message         3/7/2019 13:45       <betts.gina@dorsey.com>        <Revan-McQueen@am.com>;                                                         FW: AMc review - North K       Confidential communication between AMc employee
       Communications                                                                                 <SRyan@mwe.com>;                                                              issue in follow-up letter    and counsel at Dorsey & Whitney and McDermott Will
                                                                                                    <madrid.jay@dorsey.com>                                                                                         & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                      regarding correspondence from NRA counsel
                                                                                                                                                                                                                 requesting additional review of Oliver North's contract.
1831   Attorney-Client         Message         3/7/2019 13:49   "Ryan, Stephen" <SRyan@mwe.com>        "betts.gina@dorsey.com"                                                      RE: AMc review - North K      Confidential communication between AMc employee
       Communications                                                                             <betts.gina@dorsey.com>; "Revan-                                                   issue in follow-up letter   and counsel at Dorsey & Whitney and McDermott Will
                                                                                                    McQueen@am.com"<Revan-                                                                                          & Emery for purposes of obtaining legal advice
                                                                                                         McQueen@am.com>;                                                                                             regarding correspondence from NRA counsel
                                                                                                      "madrid.jay@dorsey.com"                                                                                    requesting additional review of Oliver North's contract.
                                                                                                      <madrid.jay@dorsey.com>
1832    Attorney-Client        Message         3/7/2019 14:19       Revan McQueen <Revan-                   "Ryan, Stephen"                                                       Attorney Client Communication Confidential communication between AMc employee
       Communications;                                               McQueen@am.com>                     <SRyan@mwe.com>;                                                                                       and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                             "betts.gina@dorsey.com"<betts.gin                                                                                 & Emery for purposes of obtaining legal advice
                                                                                                           a@dorsey.com>;                                                                                        regarding improper disclosure of North Contract, and
                                                                                                      "madrid.jay@dorsey.com"                                                                                      work product created in anticipation of litigation.
                                                                                                      <madrid.jay@dorsey.com>
1833    Attorney-Client        Message         3/7/2019 14:22     Melanie Montgomery <Melanie-           Ariana Azimi <ariana-                                                               For RM             Confidential internal communications drafting
       Communications;                                               Montgomery@am.com>                     azimi@am.com>                                                                                     correspondence to counsel at Dorsey & Whitney for
         Work Product                                                                                                                                                                                             purposes of obtaining legal advice regarding
                                                                                                                                                                                                              documents collected by counsel's request, and work
                                                                                                                                                                                                                   product created in anticipation of litigation.
1834    Attorney-Client   Message_Attachment   3/7/2019 14:22                                                                                                                                                   Confidential internal communications drafting
       Communications;                                                                                                                                                                                        correspondence to counsel at Dorsey & Whitney for
         Work Product                                                                                                                                                                                             purposes of obtaining legal advice regarding
                                                                                                                                                                                                              documents collected by counsel's request, and work
                                                                                                                                                                                                                   product created in anticipation of litigation.
1835    Attorney-Client        Message         3/7/2019 14:28       <betts.gina@dorsey.com>        <Revan-McQueen@am.com>;                                                              RE: Attorney Client  Confidential communication between AMc employee
       Communications;                                                                                <SRyan@mwe.com>;                                                                    Communication     and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                               <madrid.jay@dorsey.com>                                                                                     & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                             regarding improper disclosure of North Contract, and
                                                                                                                                                                                                               work product created in anticipation of litigation.
1836   Attorney-Client         Message         3/7/2019 14:57      <george.linda@dorsey.com>         <revan-mcqueen@am.com>           <betts.gina@dorsey.com>                     [SENT ON BEHALF OF GINA Confidential communication between AMc employee
       Communications                                                                                                                                                             BETTS] ATTORNEY CLIENT       and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                   CORRESPONDENCE: North      obtaining legal advice regarding the North Contract.
                                                                                                                                                                                          Contract Excerpt
1837   Attorney-Client    Message_Attachment   3/7/2019 14:57                                                                                                                                                Confidential communication between AMc employee
       Communications                                                                                                                                                                                          and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                              obtaining legal advice regarding the North Contract.
1838   Attorney-Client         Message         3/7/2019 15:00       Revan McQueen <Revan-               "SRyan@mwe.com"                                                            Fwd: [SENT ON BEHALF OF Confidential communication between AMc employee
       Communications                                                McQueen@am.com>                    <SRyan@mwe.com>                                                             GINA BETTS] ATTORNEY and counsel at McDermott Will & Emery for purposes
                                                                                                                                                                                             CLIENT         of obtaining legal advice regarding the North Contract.
                                                                                                                                                                                   CORRESPONDENCE: North
                                                                                                                                                                                          Contract Excerpt
1839                      Message_Attachment   3/7/2019 15:00                                                                                                                                                 Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                              file). Not privileged.
1840   Attorney-Client    Message_Attachment   3/7/2019 15:00                                                                                                                                                Confidential communication between AMc employee
       Communications                                                                                                                                                                                       and counsel at McDermott Will & Emery for purposes
                                                                                                                                                                                                            of obtaining legal advice regarding the North Contract.
1841                      Message_Attachment   3/7/2019 15:00                                                                                                                                                 Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                              file). Not privileged.



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                                                                                                                                                                                                                                                    APP. 01284
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  #     Privilege Type       Record Type       Document Date         Email From                      Email To                         Email CC             Email BCC           Email Subject                          Privilege Description
1842                      Message_Attachment   3/7/2019 15:00                                                                                                                                          Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                       file). Not privileged.
1843    Attorney-Client        Message         3/7/2019 15:07   Revan McQueen <Revan-         Angus McQueen <angus-                                                        Attorney Work Product         Confidential internal communications collecting
       Communications;                                           McQueen@am.com>                mcqueen@am.com>                                                                                       documents requested by counsel at Dorsey & Whitney
         Work Product                                                                                                                                                                                    for purposes of obtaining legal advice, and work
                                                                                                                                                                                                            product created in anticipation of litigation.
1844    Attorney-Client   Message_Attachment   3/7/2019 15:07                                                                                                                                             Confidential internal communications drafting
       Communications;                                                                                                                                                                                 correspondence to counsel at Dorsey & Whitney for
         Work Product                                                                                                                                                                                      purposes of obtaining legal advice regarding
                                                                                                                                                                                                       documents collected by counsel's request, and work
                                                                                                                                                                                                            product created in anticipation of litigation.
1845    Attorney-Client   Message_Attachment   3/7/2019 15:07                                                                                                                                             Confidential internal communications drafting
       Communications;                                                                                                                                                                                 correspondence to counsel at Dorsey & Whitney for
         Work Product                                                                                                                                                                                      purposes of obtaining legal advice regarding
                                                                                                                                                                                                       documents collected by counsel's request, and work
                                                                                                                                                                                                            product created in anticipation of litigation.
1846    Attorney-Client        Message         3/7/2019 15:34   <madrid.jay@dorsey.com>    <Revan-McQueen@am.com>;                                                          RE: Attorney Client       Confidential communication between AMc employee
       Communications;                                                                        <SRyan@mwe.com>;                                                                Communication          and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                        <betts.gina@dorsey.com>                                                                                      & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                      regarding the NRA's improper disclosure of the North
                                                                                                                                                                                                      Contract, and work product created in anticipation of
                                                                                                                                                                                                                              litigation.
1847    Attorney-Client        Message         3/7/2019 17:05    Ariana Azimi <ariana-     Melanie Montgomery <Melanie-                                                    Fw: Documents for GB          Confidential internal communications collecting
       Communications;                                             azimi@am.com>              Montgomery@am.com>                                                                                      documents requested by counsel at Dorsey & Whitney
         Work Product                                                                                                                                                                                    for purposes of obtaining legal advice, and work
                                                                                                                                                                                                            product created in anticipation of litigation.
1848                      Message_Attachment   3/7/2019 17:05                                                                                                                                          Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                       file). Not privileged.
1849    Attorney-Client        Message          3/8/2019 6:55   Revan McQueen <Revan-             "SRyan@mwe.com"                                                      Attorney Client Communication Confidential communication between AMc employee
       Communications;                                           McQueen@am.com>                 <SRyan@mwe.com>;                                                                                    and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                     "betts.gina@dorsey.com"<betts.gin                                                                               & Emery for purposes of obtaining legal advice
                                                                                                    a@dorsey.com>;                                                                                   regarding AMc's billing relationship with the NRA and
                                                                                              "madrid.jay@dorsey.com"                                                                                Oliver North, and work product created in anticipation
                                                                                              <madrid.jay@dorsey.com>                                                                                                       of litigation.
1850    Attorney-Client        Message         3/8/2019 10:02   <betts.gina@dorsey.com>     <Revan-McQueen@am.com>                                                           Re: Attorney Client      Confidential communication between AMc employee
       Communications;                                                                                                                                                        Communication             and counsel at Dorsey & Whitney for purposes of
         Work Product                                                                                                                                                                                     obtaining legal advice regarding AMc's billing
                                                                                                                                                                                                     relationship with the NRA and Oliver North, and work
                                                                                                                                                                                                            product created in anticipation of litigation.
1851                      Message_Attachment   3/8/2019 10:02                                                                                                                                          Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                       file). Not privileged.
1852    Attorney-Client        Message         3/8/2019 10:09   <betts.gina@dorsey.com>         <SRyan@mwe.com>                <madrid.jay@dorsey.com>;                    Re: V1. for Friday am      Confidential communication between AMc employee
       Communications;                                                                                                        <Revan-McQueen@am.com>                    consideration. attorney work and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                              product                & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                        regarding NRA unauthorized disclosure of North
                                                                                                                                                                                                      Contract, and work product created in anticipation of
                                                                                                                                                                                                                              litigation.




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  #     Privilege Type       Record Type       Document Date               Email From                          Email To                       Email CC               Email BCC          Email Subject                             Privilege Description
1853    Attorney-Client        Message         3/8/2019 10:48        <madrid.jay@dorsey.com>          <betts.gina@dorsey.com>;         <Revan-McQueen@am.com>                        RE: V1. for Friday am         Confidential communication between AMc employee
       Communications;                                                                                  <SRyan@mwe.com>                                                           consideration. attorney work    and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                                        product                  & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                     regarding NRA unauthorized disclosure of North
                                                                                                                                                                                                                   Contract, and work product created in anticipation of
                                                                                                                                                                                                                                        litigation.
1854    Attorney-Client        Message         3/8/2019 11:40    "Ryan, Stephen" <SRyan@mwe.com>  "Revan McQueen - Ackerman                                                         FW: V1. for Friday am          Confidential communication between AMc employee
       Communications;                                                                                   McQueen (Revan-                                                          consideration. attorney work and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                             McQueen@am.com)"<Revan-                                                         product. I reorganized this. I      & Emery for purposes of obtaining legal advice
                                                                                                       McQueen@am.com>;                                                          kept your first question but not    regarding NRA unauthorized disclosure of North
                                                                                                     "betts.gina@dorsey.com"                                                            the why question.          Contract, and work product created in anticipation of
                                                                                                    <betts.gina@dorsey.com>;                                                                                                            litigation.
                                                                                                    "madrid.jay@dorsey.com"
                                                                                                    <madrid.jay@dorsey.com>
1855    Attorney-Client        Message         3/8/2019 11:50         Revan McQueen <Revan-               "Ryan, Stephen"                                                            Re: V1. for Friday am         Confidential communication between AMc employee
       Communications;                                                   McQueen@am.com>               <SRyan@mwe.com>;                                                           consideration. attorney work and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                           "betts.gina@dorsey.com"<betts.gin                                                 product. I reorganized this. I      & Emery for purposes of obtaining legal advice
                                                                                                         a@dorsey.com>;                                                          kept your first question but not    regarding NRA unauthorized disclosure of North
                                                                                                    "madrid.jay@dorsey.com"                                                              the why question.         Contract, and work product created in anticipation of
                                                                                                    <madrid.jay@dorsey.com>                                                                                                             litigation.
1856    Attorney-Client        Message         3/8/2019 12:13    "Ryan, Stephen" <SRyan@mwe.com> "Revan McQueen - Ackerman                                                         FW: North K leak to NYT.        Confidential communication between AMc employee
       Communications;                                                                                   McQueen (Revan-                                                              attorney work product       and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                             McQueen@am.com)"<Revan-                                                                                             & Emery for purposes of obtaining legal advice
                                                                                                       McQueen@am.com>;                                                                                              regarding NRA unauthorized disclosure of North
                                                                                                     "betts.gina@dorsey.com"                                                                                       Contract, and work product created in anticipation of
                                                                                                    <betts.gina@dorsey.com>;                                                                                                            litigation.
                                                                                                    "madrid.jay@dorsey.com"
                                                                                                    <madrid.jay@dorsey.com>
1857                      Message_Attachment   3/8/2019 12:13                                                                                                                                                   Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                file). Not privileged.
1858    Attorney-Client        Message         3/8/2019 17:57         Revan McQueen <Revan-                "Ryan, Stephen"               "betts.gina@dorsey.com"                 Attorney Client Communication Confidential communication between AMc employee
       Communications;                                                 McQueen@am.com>                   <SRyan@mwe.com>                <betts.gina@dorsey.com>;                                               and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                 "madrid.jay@dorsey.com"<madr                                                 & Emery for purposes of obtaining legal advice
                                                                                                                                           id.jay@dorsey.com>                                                     regarding NRA unauthorized disclosure of North
                                                                                                                                                                                                                Contract, and work product created in anticipation of
                                                                                                                                                                                                                                       litigation.
1859    Attorney-Client        Message         3/9/2019 10:13    "Ryan, Stephen" <SRyan@mwe.com>       "betts.gina@dorsey.com"          "Revan-McQueen@am.com"                         Re: Attorney Client      Confidential communication between AMc employee
       Communications;                                                                                 <betts.gina@dorsey.com>         <Revan-McQueen@am.com>;                          Communication          and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                 "madrid.jay@dorsey.com"<madr                                                 & Emery for purposes of obtaining legal advice
                                                                                                                                            id.jay@dorsey.com>                                                    regarding NRA unauthorized disclosure of North
                                                                                                                                                                                                                Contract, and work product created in anticipation of
                                                                                                                                                                                                                                       litigation.
1860    Attorney-Client        Message         3/11/2019 12:06        Revan McQueen <Revan-               "SRyan@mwe.com"                                                        Attorney Client Communication Confidential communication between AMc employee
       Communications;                                                 McQueen@am.com>                   <SRyan@mwe.com>;                                                                                      and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                              "madrid.jay@dorsey.com"<madrid.j                                                                                & Emery for purposes of obtaining legal advice
                                                                                                           ay@dorsey.com>;                                                                                        regarding NRA unauthorized disclosure of North
                                                                                                       "betts.gina@dorsey.com"                                                                                  Contract, and work product created in anticipation of
                                                                                                       <betts.gina@dorsey.com>                                                                                                         litigation.




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  #     Privilege Type       Record Type       Document Date           Email From                     Email To                        Email CC              Email BCC          Email Subject                         Privilege Description
1861    Attorney-Client        Message         3/12/2019 9:53     Revan McQueen <Revan-         Revan McQueen <Revan-                                                           AWP/ACC              AMc employee drafting confidential memo by request
       Communications;                                             McQueen@am.com>               McQueen@am.com>                                                                                     of and to provide to counsel at Dorsey & Whitney for
         Work Product                                                                                                                                                                                purposes of obtaining legal advice regarding concerns
                                                                                                                                                                                                     about Brewer leaking information to media, and work
                                                                                                                                                                                                           product created in anticipation of litigation.
1862    Attorney-Client        Message         3/12/2019 10:00    Revan McQueen <Revan-          Ariana Azimi <ariana-                                                     Please print 3 copies.         AMc employee forwarding to AMc employee
       Communications;                                             McQueen@am.com>                 azimi@am.com>                                                                                       confidential memo by request of and to provide to
         Work Product                                                                                                                                                                               counsel at Dorsey & Whitney for purposes of obtaining
                                                                                                                                                                                                     legal advice regarding concerns about Brewer leaking
                                                                                                                                                                                                       information to media, and work product created in
                                                                                                                                                                                                                    anticipation of litigation.
1863    Attorney-Client   Message_Attachment   3/12/2019 10:00                                                                                                                                            AMc employee forwarding to AMc employee
       Communications;                                                                                                                                                                                 confidential memo by request of and to provide to
         Work Product                                                                                                                                                                               counsel at Dorsey & Whitney for purposes of obtaining
                                                                                                                                                                                                     legal advice regarding concerns about Brewer leaking
                                                                                                                                                                                                       information to media, and work product created in
                                                                                                                                                                                                                    anticipation of litigation.
1864    Attorney-Client        Message         3/12/2019 10:16    Revan McQueen <Revan-          Ariana Azimi <ariana-                                                           3 copies                 AMc employee forwarding to AMc employee
       Communications;                                             McQueen@am.com>                 azimi@am.com>                                                                                       confidential memo by request of and to provide to
         Work Product                                                                                                                                                                               counsel at Dorsey & Whitney for purposes of obtaining
                                                                                                                                                                                                     legal advice regarding concerns about Brewer leaking
                                                                                                                                                                                                       information to media, and work product created in
                                                                                                                                                                                                                    anticipation of litigation.
1865    Attorney-Client   Message_Attachment   3/12/2019 10:16                                                                                                                                            AMc employee forwarding to AMc employee
       Communications;                                                                                                                                                                                 confidential memo by request of and to provide to
         Work Product                                                                                                                                                                               counsel at Dorsey & Whitney for purposes of obtaining
                                                                                                                                                                                                     legal advice regarding concerns about Brewer leaking
                                                                                                                                                                                                       information to media, and work product created in
                                                                                                                                                                                                                    anticipation of litigation.
1866    Attorney-Client        Message         3/12/2019 10:25    Revan McQueen <Revan-            "SRyan@mwe.com"                                                           Attorney Client         Confidential communication between AMc employee
       Communications;                                             McQueen@am.com>                <SRyan@mwe.com>;                                                      Communication/Attorney Work and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                       "madrid.jay@dorsey.com"<madrid.j                                                      Product                & Emery for purposes of obtaining legal advice
                                                                                                    ay@dorsey.com>;                                                                                 regarding NRA media leaks by Brewer Firm, and work
                                                                                                "betts.gina@dorsey.com"                                                                                    product created in anticipation of litigation.
                                                                                                <betts.gina@dorsey.com>
1867    Attorney-Client   Message_Attachment   3/12/2019 10:25                                                                                                                                         Confidential communication between AMc employee
       Communications;                                                                                                                                                                                and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                                                     & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                      regarding NRA media leaks by Brewer Firm, and work
                                                                                                                                                                                                            product created in anticipation of litigation.
1868   Attorney-Client         Message         3/12/2019 13:55    Revan McQueen <Revan-            "SRyan@mwe.com"             Anthony Makris <Anthony-                        Attorney Work           Confidential communication between AMc employee
       Communications                                              McQueen@am.com>                <SRyan@mwe.com>;             makris@am.com>; Angus                       Product/Attorney Client    and counsel at Dorsey & Whitney and McDermott Will
                                                                                            "madrid.jay@dorsey.com"<madrid.j        McQueen<angus-                             Communication              & Emery for purposes of obtaining legal advice
                                                                                                    ay@dorsey.com>;            mcqueen@am.com>; Bill                                                            regarding media coverage of AMc.
                                                                                                "betts.gina@dorsey.com"               Winkler <bill-
                                                                                                <betts.gina@dorsey.com>            winkler@am.com>
1869    Attorney-Client        Message         3/12/2019 14:18   <haydon.jean@dorsey.com>     <Revan-McQueen@am.com>;            <sryan@mwe.com>;                          On behalf of Jay Madrid     Confidential communication between AMc employee
       Communications;                                                                         <angus-mcqueen@am.com>          <betts.gina@dorsey.com>;                                               and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                          <madrid.jay@dorsey.com>                                                    & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                       regarding draft correspondence to NRA counsel, and
                                                                                                                                                                                                         work product created in anticipation of litigation.



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  #     Privilege Type       Record Type       Document Date               Email From                        Email To                       Email CC                Email BCC          Email Subject                              Privilege Description
1870    Attorney-Client   Message_Attachment   3/12/2019 14:18                                                                                                                                                    Confidential communication between AMc employee
       Communications;                                                                                                                                                                                           and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                                                                & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                  regarding draft correspondence to NRA counsel, and
                                                                                                                                                                                                                    work product created in anticipation of litigation.
1871    Attorney-Client        Message         3/12/2019 14:23      <haydon.jean@dorsey.com>        <Revan-McQueen@am.com>;            <sryan@mwe.com>;                          Additional Revision to Letter    Confidential communication between AMc employee
       Communications;                                                                               <angus-mcqueen@am.com>          <betts.gina@dorsey.com>;                                                    and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                <madrid.jay@dorsey.com>                                                         & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                  regarding draft correspondence to NRA counsel, and
                                                                                                                                                                                                                    work product created in anticipation of litigation.
1872    Attorney-Client   Message_Attachment   3/12/2019 14:23                                                                                                                                                    Confidential communication between AMc employee
       Communications;                                                                                                                                                                                           and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                                                                & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                  regarding draft correspondence to NRA counsel, and
                                                                                                                                                                                                                    work product created in anticipation of litigation.
1873   Attorney-Client         Message         3/12/2019 14:43       Anthony Makris <Anthony-         Revan McQueen <Revan-              "SRyan@mwe.com"                             Re: Attorney Work            Confidential communication between AMc employee
       Communications                                                    makris@am.com>                McQueen@am.com>                 <SRyan@mwe.com>;                            Product/Attorney Client       and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                   "madrid.jay@dorsey.com"<madr                        Communication                 & Emery for purposes of obtaining legal advice
                                                                                                                                        id.jay@dorsey.com>;                                                               regarding media coverage for AMc.
                                                                                                                                      "betts.gina@dorsey.com"
                                                                                                                                     <betts.gina@dorsey.com>;
                                                                                                                                      Angus McQueen <angus-
                                                                                                                                      mcqueen@am.com>; Bill
                                                                                                                                             Winkler <bill-
                                                                                                                                          winkler@am.com>
1874   Attorney-Client         Message         3/12/2019 15:15       <betts.gina@dorsey.com>         <haydon.jean@dorsey.com>       <Revan-McQueen@am.com>;                       Re: Additional Revision to Confidential communication between AMc employee
       Communications                                                                                                               <angus-mcqueen@am.com>;                                 Letter          and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                        <sryan@mwe.com>;                                                        & Emery for purposes of obtaining legal advice
                                                                                                                                     <madrid.jay@dorsey.com>                                                   regarding draft correspondence to NRA counsel.
1875                      Message_Attachment   3/12/2019 15:15                                                                                                                                               Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                              file). Not privileged.
1876    Attorney-Client        Message         3/12/2019 15:53       Revan McQueen <Revan-            "haydon.jean@dorsey.com"           "sryan@mwe.com"                             Attorney Client         Confidential communication between AMc employee
       Communications;                                                McQueen@am.com>                <haydon.jean@dorsey.com>;          <sryan@mwe.com>;                        Communication/Attorney Work and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                   Angus McQueen<angus-       "betts.gina@dorsey.com"<betts.                        Product                & Emery for purposes of obtaining legal advice
                                                                                                         mcqueen@am.com>                 gina@dorsey.com>;                                                   regarding draft correspondence to NRA counsel, and
                                                                                                                                     "madrid.jay@dorsey.com"                                                   work product created in anticipation of litigation.
                                                                                                                                     <madrid.jay@dorsey.com>
1877    Attorney-Client   Message_Attachment   3/12/2019 15:53                                                                                                                                               Confidential communication between AMc employee
       Communications;                                                                                                                                                                                      and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                                                           & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                             regarding draft correspondence to NRA counsel, and
                                                                                                                                                                                                               work product created in anticipation of litigation.
1878   Attorney-Client         Message         3/12/2019 15:54   "Ryan, Stephen" <SRyan@mwe.com>       Revan McQueen <Revan-         "betts.gina@dorsey.com"                        RE: Attorney Client      Confidential communication between AMc employee
       Communications                                                                                    McQueen@am.com>;           <betts.gina@dorsey.com>;                    Communication/Attorney Work and counsel at Dorsey & Whitney and McDermott Will
                                                                                                   "haydon.jean@dorsey.com"<haydo "madrid.jay@dorsey.com"<madr                           Product                & Emery for purposes of obtaining legal advice
                                                                                                     n.jean@dorsey.com>; Angus         id.jay@dorsey.com>                                                      regarding draft correspondence to NRA counsel.
                                                                                                           McQueen <angus-
                                                                                                          mcqueen@am.com>




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                                                                                                                                                                                                                                                   APP. 01288
                                                       Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21                                                    Page 532 of 1087 PageID 30737
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  #     Privilege Type       Record Type       Document Date              Email From                          Email To                        Email CC              Email BCC          Email Subject                            Privilege Description
1879    Attorney-Client        Message         3/12/2019 15:57       Revan McQueen <Revan-            "haydon.jean@dorsey.com"           "sryan@mwe.com"                         Re: On behalf of Jay Madrid    Confidential communication between AMc employee
       Communications;                                                McQueen@am.com>                <haydon.jean@dorsey.com>;          <sryan@mwe.com>;                                                       and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                   Angus McQueen<angus-       "betts.gina@dorsey.com"<betts.                                                  & Emery for purposes of obtaining legal advice
                                                                                                         mcqueen@am.com>                 gina@dorsey.com>;                                                      regarding draft correspondence to NRA counsel, and
                                                                                                                                     "madrid.jay@dorsey.com"                                                      work product created in anticipation of litigation.
                                                                                                                                     <madrid.jay@dorsey.com>
1880    Attorney-Client   Message_Attachment   3/12/2019 15:57                                                                                                                                                  Confidential communication between AMc employee
       Communications;                                                                                                                                                                                         and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                                                              & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                regarding draft correspondence to NRA counsel, and
                                                                                                                                                                                                                  work product created in anticipation of litigation.
1881    Attorney-Client        Message         3/12/2019 15:57       Revan McQueen <Revan-            "haydon.jean@dorsey.com"           "sryan@mwe.com"                         Re: On behalf of Jay Madrid    Confidential communication between AMc employee
       Communications;                                                McQueen@am.com>                <haydon.jean@dorsey.com>;          <sryan@mwe.com>;                                                       and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                   Angus McQueen<angus-       "betts.gina@dorsey.com"<betts.                                                  & Emery for purposes of obtaining legal advice
                                                                                                         mcqueen@am.com>                 gina@dorsey.com>;                                                      regarding draft correspondence to NRA counsel, and
                                                                                                                                     "madrid.jay@dorsey.com"                                                      work product created in anticipation of litigation.
                                                                                                                                     <madrid.jay@dorsey.com>
1882    Attorney-Client   Message_Attachment   3/12/2019 15:57                                                                                                                                                  Confidential communication between AMc employee
       Communications;                                                                                                                                                                                         and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                                                              & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                regarding draft correspondence to NRA counsel, and
                                                                                                                                                                                                                  work product created in anticipation of litigation.
1883   Attorney-Client         Message         3/12/2019 16:01   "Ryan, Stephen" <SRyan@mwe.com>       Revan McQueen <Revan-          "betts.gina@dorsey.com"                    RE: On behalf of Jay Madrid    Confidential communication between AMc employee
       Communications                                                                                    McQueen@am.com>;           <betts.gina@dorsey.com>;                                                   and counsel at Dorsey & Whitney and McDermott Will
                                                                                                   "haydon.jean@dorsey.com"<haydo "madrid.jay@dorsey.com"<madr                                                     & Emery for purposes of obtaining legal advice
                                                                                                     n.jean@dorsey.com>; Angus          id.jay@dorsey.com>                                                        regarding draft correspondence to NRA counsel.
                                                                                                           McQueen <angus-
                                                                                                          mcqueen@am.com>
1884   Attorney-Client         Message         3/12/2019 17:14       Revan McQueen <Revan-                 "Ryan, Stephen"          "haydon.jean@dorsey.com"                    Attorney Client Communication Confidential communication between AMc employee
       Communications                                                 McQueen@am.com>                    <SRyan@mwe.com>           <haydon.jean@dorsey.com>;                                                  and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                      Angus McQueen<angus-                                                       & Emery for purposes of obtaining legal advice
                                                                                                                                        mcqueen@am.com>;                                                         regarding draft correspondence to NRA counsel.
                                                                                                                                      "betts.gina@dorsey.com"
                                                                                                                                    <betts.gina@dorsey.com>;
                                                                                                                                     "madrid.jay@dorsey.com"
                                                                                                                                    <madrid.jay@dorsey.com>
1885                      Message_Attachment   3/12/2019 17:14                                                                                                                                                  Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                file). Not privileged.
1886                      Message_Attachment   3/12/2019 17:14                                                                                                                                                  Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                file). Not privileged.
1887    Attorney-Client        Message         3/12/2019 17:23   "Ryan, Stephen" <SRyan@mwe.com>    "Revan McQueen - Ackerman                                                     attorney work product and     Confidential communication between AMc employee
       Communications;                                                                                     McQueen (Revan-                                                                 privileged          and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                               McQueen@am.com)"<Revan-                                                                                        & Emery for purposes of obtaining legal advice
                                                                                                        McQueen@am.com>;                                                                                       regarding NRA media leaks by Brewer Firm, and work
                                                                                                      "madrid.jay@dorsey.com"                                                                                        product created in anticipation of litigation.
                                                                                                     <madrid.jay@dorsey.com>;
                                                                                                       "betts.gina@dorsey.com"
                                                                                                      <betts.gina@dorsey.com>




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  #     Privilege Type       Record Type       Document Date               Email From                         Email To                         Email CC                Email BCC          Email Subject                          Privilege Description
1888    Attorney-Client   Message_Attachment   3/12/2019 17:23                                                                                                                                                    Confidential communication between AMc employee
       Communications;                                                                                                                                                                                           and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                                                                & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                 regarding NRA media leaks by Brewer Firm, and work
                                                                                                                                                                                                                       product created in anticipation of litigation.
1889    Attorney-Client        Message         3/12/2019 17:24   "Ryan, Stephen" <SRyan@mwe.com>     "Revan McQueen - Ackerman                                                             redline intact,        Confidential communication between AMc employee
       Communications;                                                                                      McQueen (Revan-                                                                                      and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                McQueen@am.com)"<Revan-                                                                                         & Emery for purposes of obtaining legal advice
                                                                                                         McQueen@am.com>;                                                                                        regarding NRA media leaks by Brewer Firm, and work
                                                                                                       "madrid.jay@dorsey.com"                                                                                         product created in anticipation of litigation.
                                                                                                      <madrid.jay@dorsey.com>;
                                                                                                        "betts.gina@dorsey.com"
                                                                                                       <betts.gina@dorsey.com>
1890    Attorney-Client   Message_Attachment   3/12/2019 17:24                                                                                                                                                   Confidential communication between AMc employee
       Communications;                                                                                                                                                                                          and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                                                               & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                regarding NRA media leaks by Brewer Firm, and work
                                                                                                                                                                                                                      product created in anticipation of litigation.
1891    Attorney-Client        Message         3/12/2019 18:09       Revan McQueen <Revan-                  "Ryan, Stephen"                                                        Attorney Client Communicaton Confidential communication between AMc employee
       Communications;                                                McQueen@am.com>                    <SRyan@mwe.com>;                                                                                       and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                              "madrid.jay@dorsey.com"<madrid.j                                                                                 & Emery for purposes of obtaining legal advice
                                                                                                           ay@dorsey.com>;                                                                                      regarding NRA media leaks by Brewer Firm, and work
                                                                                                       "betts.gina@dorsey.com"                                                                                        product created in anticipation of litigation.
                                                                                                       <betts.gina@dorsey.com>
1892    Attorney-Client   Message_Attachment   3/12/2019 18:09                                                                                                                                                  Confidential communication between AMc employee
       Communications;                                                                                                                                                                                         and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                                                              & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                               regarding NRA media leaks by Brewer Firm, and work
                                                                                                                                                                                                                     product created in anticipation of litigation.
1893    Attorney-Client        Message         3/12/2019 18:39       Revan McQueen <Revan-                 "Ryan, Stephen"               "madrid.jay@dorsey.com"                      Re: Attorney Client       Confidential communication between AMc employee
       Communications;                                                McQueen@am.com>                    <SRyan@mwe.com>                <madrid.jay@dorsey.com>;                        Communicaton           and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                 "betts.gina@dorsey.com"<betts.                                               & Emery for purposes of obtaining legal advice
                                                                                                                                             gina@dorsey.com>                                                  regarding NRA media leaks by Brewer Firm, and work
                                                                                                                                                                                                                     product created in anticipation of litigation.
1894                      Message_Attachment   3/12/2019 18:39                                                                                                                                                  Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                  file). Not privileged.
1895                      Message_Attachment   3/12/2019 18:39                                                                                                                                                  Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                  file). Not privileged.
1896   Attorney-Client         Message         3/12/2019 18:47      <haydon.jean@dorsey.com>         <Revan-McQueen@am.com>;           <madrid.jay@dorsey.com>;                    FW: On behalf of Jay Madrid Confidential communication between AMc employee
       Communications                                                                                 <angus-mcqueen@am.com>            <betts.gina@dorsey.com>                                                   and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                               obtaining legal advice regarding correspondence sent to
                                                                                                                                                                                                                                      NRA counsel.
1897                      Message_Attachment   3/12/2019 18:47                                                                                                                                                     Letter from J. Madrid to J. Frazer dated 3/12/19
                                                                                                                                                                                                                     attached to privileged email. Not privileged.




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  #    Privilege Type        Record Type       Document Date          Email From                    Email To                    Email CC            Email BCC         Email Subject                            Privilege Description
1898   Attorney-Client         Message         3/12/2019 18:50   Revan McQueen <Revan-     Anthony Makris <Anthony-                                             Fwd: On behalf of Jay Madrid     AMc employee internally forwarding confidential
       Communications                                             McQueen@am.com>            makris@am.com>; Bill                                                                              communication between AMc employee and counsel at
                                                                                         Winkler<bill-winkler@am.com>;                                                                           Dorsey & Whitney for purposes of obtaining legal
                                                                                           Brandon Winkler <Brandon-                                                                              advice regarding concerns about Brewer leaking
                                                                                          Winkler@am.com>; "Melanie                                                                                            information to media.
                                                                                            Montgomery" <Melanie-
                                                                                         Montgomery@am.com>; Angus
                                                                                                McQueen <angus-
                                                                                              mcqueen@am.com>
1899   Attorney-Client    Message_Attachment   3/12/2019 18:50                                                                                                                                  AMc employee internally forwarding confidential
       Communications                                                                                                                                                                        communication between AMc employee and counsel at
                                                                                                                                                                                                Dorsey & Whitney for purposes of obtaining legal
                                                                                                                                                                                                advice regarding concerns about Brewer leaking
                                                                                                                                                                                                               information to media.
1900   Attorney-Client    Message_Attachment   3/12/2019 18:50                                                                                                                                  AMc employee internally forwarding confidential
       Communications                                                                                                                                                                        communication between AMc employee and counsel at
                                                                                                                                                                                                Dorsey & Whitney for purposes of obtaining legal
                                                                                                                                                                                                advice regarding concerns about Brewer leaking
                                                                                                                                                                                                               information to media.
1901   Attorney-Client    Message_Attachment   3/12/2019 18:50                                                                                                                                  AMc employee internally forwarding confidential
       Communications                                                                                                                                                                        communication between AMc employee and counsel at
                                                                                                                                                                                                Dorsey & Whitney for purposes of obtaining legal
                                                                                                                                                                                                advice regarding concerns about Brewer leaking
                                                                                                                                                                                                               information to media.
1902   Attorney-Client    Message_Attachment   3/12/2019 18:50                                                                                                                                  AMc employee internally forwarding confidential
       Communications                                                                                                                                                                        communication between AMc employee and counsel at
                                                                                                                                                                                                Dorsey & Whitney for purposes of obtaining legal
                                                                                                                                                                                                advice regarding concerns about Brewer leaking
                                                                                                                                                                                                               information to media.
1903   Attorney-Client    Message_Attachment   3/12/2019 18:50                                                                                                                                  AMc employee internally forwarding confidential
       Communications                                                                                                                                                                        communication between AMc employee and counsel at
                                                                                                                                                                                                Dorsey & Whitney for purposes of obtaining legal
                                                                                                                                                                                                advice regarding concerns about Brewer leaking
                                                                                                                                                                                                               information to media.
1904   Attorney-Client    Message_Attachment   3/12/2019 18:50                                                                                                                                  AMc employee internally forwarding confidential
       Communications                                                                                                                                                                        communication between AMc employee and counsel at
                                                                                                                                                                                                Dorsey & Whitney for purposes of obtaining legal
                                                                                                                                                                                                advice regarding concerns about Brewer leaking
                                                                                                                                                                                                               information to media.
1905    Attorney-Client        Message         3/12/2019 19:02   Revan McQueen <Revan-        "SRyan@mwe.com"                                                   Fwd: On behalf of Jay Madrid Confidential communication between AMc employee
       Communications;                                            McQueen@am.com>             <SRyan@mwe.com>                                                                                and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                                            & Emery for purposes of obtaining legal advice
                                                                                                                                                                                             regarding NRA media leaks by Brewer Firm, and work
                                                                                                                                                                                                   product created in anticipation of litigation.
1906                      Message_Attachment   3/12/2019 19:02                                                                                                                                Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                file). Not privileged.
1907                      Message_Attachment   3/12/2019 19:02                                                                                                                                   Letter from J. Madrid to J. Frazer dated 3/12/19
                                                                                                                                                                                                   attached to privileged email. Not privileged.
1908                      Message_Attachment   3/12/2019 19:02                                                                                                                                Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                file). Not privileged.




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                                                                                                                                                                                                                                APP. 01291
                                                       Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21                                                   Page 535 of 1087 PageID 30740
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  #     Privilege Type       Record Type       Document Date               Email From                        Email To                        Email CC              Email BCC          Email Subject                            Privilege Description
1909                      Message_Attachment   3/12/2019 19:02                                                                                                                                                  Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                file). Not privileged.
1910                      Message_Attachment   3/12/2019 19:02                                                                                                                                                  Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                file). Not privileged.
1911                      Message_Attachment   3/12/2019 19:02                                                                                                                                                  Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                file). Not privileged.
1912   Attorney-Client         Message         3/12/2019 23:21       Anthony Makris <Anthony-          Revan McQueen <Revan-              Bill Winkler <bill-                   Re: On behalf of Jay Madrid      AMc employee internally forwarding confidential
       Communications                                                    makris@am.com>                 McQueen@am.com>              winkler@am.com>; Brandon                                                  communication between AMc employee and counsel at
                                                                                                                                          Winkler<Brandon-                                                       Dorsey & Whitney for purposes of obtaining legal
                                                                                                                                     Winkler@am.com>; Melanie                                                     advice regarding concerns about Brewer leaking
                                                                                                                                       Montgomery <Melanie-                                                                    information to media.
                                                                                                                                      Montgomery@am.com>;
                                                                                                                                      Angus McQueen <angus-
                                                                                                                                         mcqueen@am.com>
1913   Attorney-Client         Message         3/13/2019 7:51        Anthony Makris <Anthony-          Revan McQueen <Revan-        Melanie Montgomery <Melanie-                Re: On behalf of Jay Madrid       AMc employee internally forwarding confidential
       Communications                                                    makris@am.com>                 McQueen@am.com>               Montgomery@am.com>;                                                      communication between AMc employee and counsel at
                                                                                                                                       Angus McQueen<angus-                                                       Dorsey & Whitney for purposes of obtaining legal
                                                                                                                                         mcqueen@am.com>                                                          advice regarding concerns about Brewer leaking
                                                                                                                                                                                                                                information to media.
1914   Attorney-Client         Message         3/13/2019 8:23      Melanie Montgomery <Melanie-       Anthony Makris <Anthony-        Revan McQueen <Revan-                     Re: On behalf of Jay Madrid       AMc employee internally forwarding confidential
       Communications                                                 Montgomery@am.com>                  makris@am.com>             McQueen@am.com>; Angus                                                    communication between AMc employee and counsel at
                                                                                                                                         McQueen <angus-                                                          Dorsey & Whitney for purposes of obtaining legal
                                                                                                                                        mcqueen@am.com>                                                           advice regarding concerns about Brewer leaking
                                                                                                                                                                                                                                information to media.
1915   Attorney-Client         Message         3/13/2019 9:17        Anthony Makris <Anthony-       Melanie Montgomery <Melanie-      Revan McQueen <Revan-                     Re: On behalf of Jay Madrid       AMc employee internally forwarding confidential
       Communications                                                    makris@am.com>                Montgomery@am.com>            McQueen@am.com>; Angus                                                    communication between AMc employee and counsel at
                                                                                                                                         McQueen <angus-                                                          Dorsey & Whitney for purposes of obtaining legal
                                                                                                                                        mcqueen@am.com>                                                           advice regarding concerns about Brewer leaking
                                                                                                                                                                                                                                information to media.
1916    Attorney-Client        Message         3/14/2019 17:22   "Ryan, Stephen" <SRyan@mwe.com>    "Revan McQueen - Ackerman                                                   NRA's response letter to Jay    Confidential communication between AMc employee
       Communications;                                                                                     McQueen (Revan-                                                               Madrid                and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                               McQueen@am.com)"<Revan-                                                                                        & Emery for purposes of obtaining legal advice
                                                                                                        McQueen@am.com>;                                                                                       regarding NRA media leaks by Brewer Firm, and work
                                                                                                      "madrid.jay@dorsey.com"                                                                                        product created in anticipation of litigation.
                                                                                                     <madrid.jay@dorsey.com>;
                                                                                                       "betts.gina@dorsey.com"
                                                                                                      <betts.gina@dorsey.com>
1917                      Message_Attachment   3/14/2019 17:22                                                                                                                                                  Letter from J. Frazer to J. Madrid dated 3/14/19
                                                                                                                                                                                                                  attached to privileged email. Not privileged.
1918   Attorney-Client         Message         3/14/2019 18:04       Revan McQueen <Revan-              Angus McQueen <angus-                                                  Fwd: NRA's response letter to   AMc employee internally forwarding confidential
       Communications                                                 McQueen@am.com>              mcqueen@am.com>; Bill Winkler                                                      Jay Madrid             communication between AMc employee and counsel at
                                                                                                   <bill-winkler@am.com>; Anthony                                                                              Dorsey & Whitney for purposes of obtaining legal
                                                                                                           Makris <Anthony-                                                                                     advice regarding concerns about Brewer leaking
                                                                                                      makris@am.com>; Brandon                                                                                                 information to media.
                                                                                                           Winkler<Brandon-
                                                                                                           Winkler@am.com>
1919   Attorney-Client    Message_Attachment   3/14/2019 18:04                                                                                                                                                   AMc employee internally forwarding confidential
       Communications                                                                                                                                                                                          communication between AMc employee and counsel at
                                                                                                                                                                                                                 Dorsey & Whitney for purposes of obtaining legal
                                                                                                                                                                                                                  advice regarding concerns about Brewer leaking
                                                                                                                                                                                                                               information to media.



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  #     Privilege Type       Record Type       Document Date               Email From                         Email To                     Email CC            Email BCC          Email Subject                          Privilege Description
1920                      Message_Attachment   3/14/2019 18:04                                                                                                                                            Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                          file). Not privileged.
1921    Attorney-Client        Message         3/18/2019 15:19        Revan McQueen <Revan-              "SRyan@mwe.com"                                                          Attorney Work           Confidential communication between AMc employee
       Communications;                                                 McQueen@am.com>                  <SRyan@mwe.com>;                                                      Product/Attorney Client    and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                            "betts.gina@dorsey.com"<betts.gin                                                Communication             & Emery for purposes of obtaining legal advice
                                                                                                           a@dorsey.com>;                                                                                  regarding NRA audits of AMc, and work product
                                                                                                     "madrid.jay@dorsey.com"                                                                                      created in anticipation of litigation.
                                                                                                     <madrid.jay@dorsey.com>
1922    Attorney-Client        Message         3/18/2019 15:24   "Ryan, Stephen" <SRyan@mwe.com>      Revan McQueen <Revan-                                                     RE: Attorney Work         Confidential communication between AMc employee
       Communications;                                                                                  McQueen@am.com>;                                                      Product/Attorney Client    and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                            "betts.gina@dorsey.com"<betts.gin                                                Communication             & Emery for purposes of obtaining legal advice
                                                                                                           a@dorsey.com>;                                                                                  regarding NRA audits of AMc, and work product
                                                                                                     "madrid.jay@dorsey.com"                                                                                      created in anticipation of litigation.
                                                                                                     <madrid.jay@dorsey.com>
1923    Attorney-Client        Message         3/18/2019 15:29   "Ryan, Stephen" <SRyan@mwe.com>      "betts.gina@dorsey.com"                                                   RE: Attorney Work         Confidential communication between AMc employee
       Communications;                                                                           <betts.gina@dorsey.com>; "Revan-                                             Product/Attorney Client    and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                               McQueen@am.com"<Revan-                                                        Communication             & Emery for purposes of obtaining legal advice
                                                                                                        McQueen@am.com>;                                                                                   regarding NRA audits of AMc, and work product
                                                                                                     "madrid.jay@dorsey.com"                                                                                      created in anticipation of litigation.
                                                                                                     <madrid.jay@dorsey.com>
1924    Attorney-Client        Message         3/18/2019 16:30        <betts.gina@dorsey.com>      <SRyan@mwe.com>; <Revan-                                                     RE: Attorney Work         Confidential communication between AMc employee
       Communications;                                                                                  McQueen@am.com>;                                                      Product/Attorney Client    and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                <madrid.jay@dorsey.com>                                                      Communication             & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                           regarding NRA audits of AMc, and work product
                                                                                                                                                                                                                  created in anticipation of litigation.
1925    Attorney-Client        Message         3/18/2019 17:25       <madrid.jay@dorsey.com>        <Revan-McQueen@am.com>;                                                   FW: Dorsey and MWE          Confidential communication between AMc employee
       Communications;                                                                                 <SRyan@mwe.com>;                                                     Correspondence to and from   and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                 <betts.gina@dorsey.com>                                               the NRA/collection is work      & Emery for purposes of obtaining legal advice
                                                                                                                                                                                     product               regarding NRA audits of AMc, and work product
                                                                                                                                                                                                                  created in anticipation of litigation.
1926    Work Product      Message_Attachment   3/18/2019 17:25                                                                                                                                                Work product compilation of non-privileged
                                                                                                                                                                                                                            communications.
1927    Work Product      Message_Attachment   3/18/2019 17:25                                                                                                                                                Work product compilation of non-privileged
                                                                                                                                                                                                                            communications.
1928    Work Product      Message_Attachment   3/18/2019 17:25                                                                                                                                                Work product compilation of non-privileged
                                                                                                                                                                                                                            communications.
1929    Work Product      Message_Attachment   3/18/2019 17:25                                                                                                                                                Work product compilation of non-privileged
                                                                                                                                                                                                                            communications.
1930    Work Product      Message_Attachment   3/18/2019 17:25                                                                                                                                                Work product compilation of non-privileged
                                                                                                                                                                                                                            communications.
1931    Work Product      Message_Attachment   3/18/2019 17:25                                                                                                                                                Work product compilation of non-privileged
                                                                                                                                                                                                                            communications.
1932    Work Product      Message_Attachment   3/18/2019 17:25                                                                                                                                                Work product compilation of non-privileged
                                                                                                                                                                                                                            communications.
1933    Work Product      Message_Attachment   3/18/2019 17:25                                                                                                                                                Work product compilation of non-privileged
                                                                                                                                                                                                                            communications.
1934    Work Product      Message_Attachment   3/18/2019 17:25                                                                                                                                                Work product compilation of non-privileged
                                                                                                                                                                                                                            communications.
1935    Work Product      Message_Attachment   3/18/2019 17:25                                                                                                                                                Work product compilation of non-privileged
                                                                                                                                                                                                                            communications.




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  #     Privilege Type       Record Type       Document Date               Email From                      Email To                       Email CC          Email BCC          Email Subject                          Privilege Description
1936     Work Product     Message_Attachment   3/18/2019 17:25                                                                                                                                             Work product compilation of non-privileged
                                                                                                                                                                                                                         communications.
1937    Work Product      Message_Attachment   3/18/2019 17:25                                                                                                                                             Work product compilation of non-privileged
                                                                                                                                                                                                                         communications.
1938    Work Product      Message_Attachment   3/18/2019 17:25                                                                                                                                             Work product compilation of non-privileged
                                                                                                                                                                                                                         communications.
1939    Work Product      Message_Attachment   3/18/2019 17:25                                                                                                                                             Work product compilation of non-privileged
                                                                                                                                                                                                                         communications.
1940    Work Product      Message_Attachment   3/18/2019 17:25                                                                                                                                             Work product compilation of non-privileged
                                                                                                                                                                                                                         communications.
1941    Work Product      Message_Attachment   3/18/2019 17:25                                                                                                                                             Work product compilation of non-privileged
                                                                                                                                                                                                                         communications.
1942    Work Product      Message_Attachment   3/18/2019 17:25                                                                                                                                             Work product compilation of non-privileged
                                                                                                                                                                                                                         communications.
1943    Work Product      Message_Attachment   3/18/2019 17:25                                                                                                                                             Work product compilation of non-privileged
                                                                                                                                                                                                                         communications.
1944    Work Product      Message_Attachment   3/18/2019 17:25                                                                                                                                             Work product compilation of non-privileged
                                                                                                                                                                                                                         communications.
1945    Work Product      Message_Attachment   3/18/2019 17:25                                                                                                                                             Work product compilation of non-privileged
                                                                                                                                                                                                                         communications.
1946    Work Product      Message_Attachment   3/18/2019 17:25                                                                                                                                             Work product compilation of non-privileged
                                                                                                                                                                                                                         communications.
1947    Work Product      Message_Attachment   3/18/2019 17:25                                                                                                                                             Work product compilation of non-privileged
                                                                                                                                                                                                                         communications.
1948    Work Product      Message_Attachment   3/18/2019 17:25                                                                                                                                             Work product compilation of non-privileged
                                                                                                                                                                                                                         communications.
1949    Work Product      Message_Attachment   3/18/2019 17:25                                                                                                                                             Work product compilation of non-privileged
                                                                                                                                                                                                                         communications.
1950    Work Product      Message_Attachment   3/18/2019 17:25                                                                                                                                             Work product compilation of non-privileged
                                                                                                                                                                                                                         communications.
1951    Work Product      Message_Attachment   3/18/2019 17:25                                                                                                                                             Work product compilation of non-privileged
                                                                                                                                                                                                                         communications.
1952    Work Product      Message_Attachment   3/18/2019 17:25                                                                                                                                             Work product compilation of non-privileged
                                                                                                                                                                                                                         communications.
1953    Work Product      Message_Attachment   3/18/2019 17:25                                                                                                                                             Work product compilation of non-privileged
                                                                                                                                                                                                                         communications.
1954    Work Product      Message_Attachment   3/18/2019 17:25                                                                                                                                             Work product compilation of non-privileged
                                                                                                                                                                                                                         communications.
1955    Attorney-Client        Message         3/19/2019 11:26   "Ryan, Stephen" <SRyan@mwe.com>    "madrid.jay@dorsey.com"                                                RE: Dorsey and MWE          Confidential communication between AMc employee
       Communications;                                                                             <madrid.jay@dorsey.com>;                                              Correspondence to and from   and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                          "Revan-                                                   the NRA/collection is work      & Emery for purposes of obtaining legal advice
                                                                                                   McQueen@am.com"<Revan-                                                         product               regarding NRA audits of AMc, and work product
                                                                                                      McQueen@am.com>;                                                                                         created in anticipation of litigation.
                                                                                                     "betts.gina@dorsey.com"
                                                                                                    <betts.gina@dorsey.com>




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  #       Privilege Type       Record Type        Document Date                 Email From                          Email To                     Email CC                  Email BCC         Email Subject                           Privilege Description
1956      Attorney-Client        Message          3/19/2019 11:27   "Ryan, Stephen" <SRyan@mwe.com>       "madrid.jay@dorsey.com"                                                      FW: Requested information for Confidential communication between AMc employee
         Communications;                                                                                 <madrid.jay@dorsey.com>;                                                              NRA Board             and counsel at Dorsey & Whitney and McDermott Will
           Work Product                                                                                 "Revan McQueen - Ackerman                                                                                       & Emery for purposes of obtaining legal advice
                                                                                                               McQueen (Revan-                                                                                         regarding NRA audits of AMc, and work product
                                                                                                        McQueen@am.com)" <Revan-                                                                                              created in anticipation of litigation.
                                                                                                            McQueen@am.com>;
                                                                                                           "betts.gina@dorsey.com"
                                                                                                          <betts.gina@dorsey.com>
1957      Attorney-Client         Message         3/19/2019 11:29       <betts.gina@dorsey.com>             <SRyan@mwe.com>;                                                              RE: Dorsey and MWE             Confidential communication between AMc employee
         Communications;                                                                                 <madrid.jay@dorsey.com>;                                                       Correspondence to and from      and counsel at Dorsey & Whitney and McDermott Will
           Work Product                                                                                 <Revan-McQueen@am.com>                                                          the NRA/collection is work         & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                 product                  regarding NRA audits of AMc, and work product
                                                                                                                                                                                                                                 created in anticipation of litigation.
1958      Attorney-Client         Message         3/19/2019 11:30   "Ryan, Stephen" <SRyan@mwe.com>       "betts.gina@dorsey.com"                                                         RE: Dorsey and MWE             Confidential communication between AMc employee
         Communications;                                                                                 <betts.gina@dorsey.com>;                                                       Correspondence to and from      and counsel at Dorsey & Whitney and McDermott Will
           Work Product                                                                               "madrid.jay@dorsey.com"<madrid.j                                                  the NRA/collection is work         & Emery for purposes of obtaining legal advice
                                                                                                          ay@dorsey.com>; "Revan-                                                                product                  regarding NRA audits of AMc, and work product
                                                                                                        McQueen@am.com" <Revan-                                                                                                  created in anticipation of litigation.
                                                                                                            McQueen@am.com>
1959      Attorney-Client         Message         3/25/2019 10:08       <betts.gina@dorsey.com>         <SRyan@mwe.com>; <Revan-                                                         RE: NRA demands further    Confidential communication between AMc employee
         Communications;                                                                                    McQueen@am.com>;                                                               contract review. note isand counsel at Dorsey & Whitney and McDermott Will
           Work Product                                                                                  <madrid.jay@dorsey.com>                                                         privileged and confidential.  & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                   regarding NRA audits of AMc and leaks of confidential
                                                                                                                                                                                                                      information by NRA, and work product created in
                                                                                                                                                                                                                                   anticipation of litigation.
1960      Attorney-Client         Message         3/25/2019 10:28       Revan McQueen <Revan-                   "Ryan, Stephen"             Angus McQueen <angus-                           Attorney Client         Confidential communication between AMc employee
         Communications;                                                 McQueen@am.com>                     <SRyan@mwe.com>;              mcqueen@am.com>; Bill                       Communication/Attorney Work and counsel at Dorsey & Whitney and McDermott Will
           Work Product                                                                               "betts.gina@dorsey.com"<betts.gin          Winkler <bill-                                 Product                & Emery for purposes of obtaining legal advice
                                                                                                               a@dorsey.com>;             winkler@am.com>; Brandon                                                    regarding draft correspondence to NRA, and work
                                                                                                          "madrid.jay@dorsey.com"             Winkler <Brandon-                                                           product created in anticipation of litigation.
                                                                                                          <madrid.jay@dorsey.com>             Winkler@am.com>
1961    Forwarding Attorney-      Message         3/25/2019 10:38       Revan McQueen <Revan-            Brandon Winkler <Brandon-                                                       Fw: NRA demands further          AMc employee internally forwarding confidential
       Client Communications                                             McQueen@am.com>                   Winkler@am.com>; Bill                                                           contract review. note is     communication between AMc employee and counsel at
                                                                                                       Winkler<bill-winkler@am.com>                                                      privileged and confidential.     Dorsey & Whitney for purposes of obtaining legal
                                                                                                                                                                                                                             advice regarding NRA request for documents.
1962    Forwarding Attorney- Message_Attachment   3/25/2019 10:38                                                                                                                                                         AMc employee internally forwarding confidential
       Client Communications                                                                                                                                                                                            communication between AMc employee and counsel at
                                                                                                                                                                                                                          Dorsey & Whitney for purposes of obtaining legal
                                                                                                                                                                                                                             advice regarding NRA request for documents.
1963      Attorney-Client         Message         3/25/2019 10:49       <madrid.jay@dorsey.com>                <Melanie-                  <betts.gina@dorsey.com>;                        Proposed e-mail to Frazer      Confidential communication between AMc employee
         Communications;                                                                              Montgomery@am.com>; <Revan-           <SRyan@mwe.com>                                                             and counsel at Dorsey & Whitney and McDermott Will
           Work Product                                                                                    McQueen@am.com>                                                                                                 & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                          regarding Dana Loesch media statements, Loesch
                                                                                                                                                                                                                          contract, and leaks of confidential information by
                                                                                                                                                                                                                          NRA, and work product created in anticipation of
                                                                                                                                                                                                                                               litigation.




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  #     Privilege Type       Record Type       Document Date          Email From                      Email To                       Email CC                Email BCC          Email Subject                            Privilege Description
1964    Attorney-Client        Message         3/25/2019 10:51   Revan McQueen <Revan-        "madrid.jay@dorsey.com"     Melanie Montgomery <Melanie-                   Re: Proposed e-mail to Frazer   Confidential communication between AMc employee
       Communications;                                            McQueen@am.com>             <madrid.jay@dorsey.com>        Montgomery@am.com>;                                                        and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                     "betts.gina@dorsey.com"<betts.                                                    & Emery for purposes of obtaining legal advice
                                                                                                                                gina@dorsey.com>;                                                          regarding Dana Loesch media statements, Loesch
                                                                                                                                "SRyan@mwe.com"                                                            contract, and leaks of confidential information by
                                                                                                                                <SRyan@mwe.com>                                                            NRA, and work product created in anticipation of
                                                                                                                                                                                                                                 litigation.
1965                      Message_Attachment   3/25/2019 10:51                                                                                                                                           Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                          file). Not privileged.
1966    Attorney-Client        Message         3/25/2019 11:11   <madrid.jay@dorsey.com>     <Revan-McQueen@am.com>                  <Melanie-                           RE: Proposed e-mail to Frazer Confidential communication between AMc employee
       Communications;                                                                                                       Montgomery@am.com>;                                                        and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                       <betts.gina@dorsey.com>;                                                        & Emery for purposes of obtaining legal advice
                                                                                                                              <SRyan@mwe.com>                                                              regarding Dana Loesch media statements, Loesch
                                                                                                                                                                                                           contract, and leaks of confidential information by
                                                                                                                                                                                                           NRA, and work product created in anticipation of
                                                                                                                                                                                                                                 litigation.
1967    Attorney-Client        Message         3/25/2019 11:16   <madrid.jay@dorsey.com>    <Revan-McQueen@am.com>;           <SRyan@mwe.com>;                            FW: [Ackerman McQueen]         Confidential communication between AMc employee
       Communications;                                                                     <Melanie-Montgomery@am.com>      <betts.gina@dorsey.com>;                             Letter to Frazer       and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                       <madrid.jay@dorsey.com>                                                         & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                         regarding leaks of confidential information by NRA,
                                                                                                                                                                                                         and work product created in anticipation of litigation.
1968    Attorney-Client   Message_Attachment   3/25/2019 11:16                                                                                                                                           Confidential communication between AMc employee
       Communications;                                                                                                                                                                                  and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                                                       & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                         regarding leaks of confidential information by NRA,
                                                                                                                                                                                                         and work product created in anticipation of litigation.
1969    Attorney-Client        Message         3/25/2019 16:23   <madrid.jay@dorsey.com>     <Revan-McQueen@am.com>;        <betts.gina@dorsey.com>;                      FW: [Ackerman McQueen]         Confidential communication between AMc employee
       Communications;                                                                     <angus-mcqueen@am.com>; <bill- <SRyan@mwe.com>; <Melanie-                      Letter to J Frazer 3/25/2019 and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                             winkler@am.com>            Montgomery@am.com>                                                             & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                         regarding draft correspondence to NNRA, and work
                                                                                                                                                                                                              product created in anticipation of litigation.
1970    Attorney-Client   Message_Attachment   3/25/2019 16:23                                                                                                                                           Confidential communication between AMc employee
       Communications;                                                                                                                                                                                  and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                                                       & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                         regarding draft correspondence to NNRA, and work
                                                                                                                                                                                                              product created in anticipation of litigation.
1971    Attorney-Client        Message         3/25/2019 16:53   <betts.gina@dorsey.com>      <madrid.jay@dorsey.com>;    <SRyan@mwe.com>; <Melanie-                      RE: [Ackerman McQueen]         Confidential communication between AMc employee
       Communications;                                                                       <Revan-McQueen@am.com>;         Montgomery@am.com>                           Letter to J Frazer 3/25/2019 and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                      <angus-mcqueen@am.com>; <bill-                                                                                   & Emery for purposes of obtaining legal advice
                                                                                                  winkler@am.com>                                                                                         regarding draft correspondence to NRA, and work
                                                                                                                                                                                                              product created in anticipation of litigation.
1972    Attorney-Client        Message         3/25/2019 17:04   <madrid.jay@dorsey.com>    <Revan-McQueen@am.com>;           <SRyan@mwe.com>;                            RE: [Ackerman McQueen]         Confidential communication between AMc employee
       Communications;                                                                     <Melanie-Montgomery@am.com>       <betts.gina@dorsey.com>                             Letter to Frazer       and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                                                       & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                         regarding AMc business relationship with NRA, and
                                                                                                                                                                                                            work product created in anticipation of litigation.
1973    Attorney-Client        Message         3/25/2019 17:40   <madrid.jay@dorsey.com>    <Revan-McQueen@am.com>;         <betts.gina@dorsey.com>;                      FW: [Ackerman McQueen]         Confidential communication between AMc employee
       Communications;                                                                      <angus-mcqueen@am.com>;           <SRyan@mwe.com>;                            Letter to J. Frazer 3/25/2019 and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                      <Melanie-Montgomery@am.com>      <madrid.jay@dorsey.com>                                                         & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                         regarding draft correspondence to NRA counsel, and
                                                                                                                                                                                                            work product created in anticipation of litigation.



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  #     Privilege Type       Record Type       Document Date               Email From                        Email To                      Email CC                  Email BCC           Email Subject                             Privilege Description
1974    Attorney-Client   Message_Attachment   3/25/2019 17:40                                                                                                                                                     Confidential communication between AMc employee
       Communications;                                                                                                                                                                                            and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                                                                 & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                   regarding draft correspondence to NRA counsel, and
                                                                                                                                                                                                                     work product created in anticipation of litigation.
1975    Attorney-Client   Message_Attachment   3/25/2019 17:40                                                                                                                                                     Confidential communication between AMc employee
       Communications;                                                                                                                                                                                            and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                                                                 & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                   regarding draft correspondence to NRA counsel, and
                                                                                                                                                                                                                     work product created in anticipation of litigation.
1976    Attorney-Client        Message         3/25/2019 17:55       <madrid.jay@dorsey.com>        <Revan-McQueen@am.com>;         <betts.gina@dorsey.com>;                      FW: [Ackerman McQueen]           Confidential communication between AMc employee
       Communications;                                                                              <angus-mcqueen@am.com>;           <SRyan@mwe.com>                             Letter to J. Frazer 3/25/2019   and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                              <Melanie-Montgomery@am.com>                                                                                        & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                   regarding draft correspondence to NRA counsel, and
                                                                                                                                                                                                                     work product created in anticipation of litigation.
1977    Attorney-Client   Message_Attachment   3/25/2019 17:55                                                                                                                                                     Confidential communication between AMc employee
       Communications;                                                                                                                                                                                            and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                                                                 & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                   regarding draft correspondence to NRA counsel, and
                                                                                                                                                                                                                     work product created in anticipation of litigation.
1978    Attorney-Client   Message_Attachment   3/25/2019 17:55                                                                                                                                                     Confidential communication between AMc employee
       Communications;                                                                                                                                                                                            and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                                                                 & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                   regarding draft correspondence to NRA counsel, and
                                                                                                                                                                                                                     work product created in anticipation of litigation.
1979    Attorney-Client        Message         3/25/2019 19:12   "Ryan, Stephen" <SRyan@mwe.com>      "madrid.jay@dorsey.com"      "Revan-McQueen@am.com"                         Re: [Ackerman McQueen]           Confidential communication between AMc employee
       Communications;                                                                                <madrid.jay@dorsey.com>     <Revan-McQueen@am.com>;                         Letter to J. Frazer 3/25/2019   and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                          "angus-                                                                & Emery for purposes of obtaining legal advice
                                                                                                                                    mcqueen@am.com"<angus-                                                         regarding draft correspondence to NRA counsel, and
                                                                                                                                  mcqueen@am.com>; "Melanie-                                                         work product created in anticipation of litigation.
                                                                                                                                  Montgomery@am.com"<Melani
                                                                                                                                    e-Montgomery@am.com>;
                                                                                                                                     "betts.gina@dorsey.com"
                                                                                                                                     <betts.gina@dorsey.com>
1980                      Message_Attachment   3/25/2019 19:12                                                                                                                                                  Microsoft Exchange file (i.e. logo image file or .htm
                                                                                                                                                                                                                                 file). Not privileged.
1981    Attorney-Client        Message         3/26/2019 10:59          "Jordan, Cheryl"              "madrid.jay@dorsey.com"     "betts.gina@dorsey.com"                        On behalf of Steve Ryan -- RE: Confidential communication between AMc employee
       Communications;                                                <Cajordan@mwe.com>             <madrid.jay@dorsey.com>;    <betts.gina@dorsey.com>;                        [Ackerman McQueen] Letter to and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                          "Revan-                      "Ryan,                                    J. Frazer 3/25/2019          & Emery for purposes of obtaining legal advice
                                                                                                     McQueen@am.com"<Revan-     Stephen"<SRyan@mwe.com>                                                         regarding draft correspondence to NRA counsel, and
                                                                                                    McQueen@am.com>; "angus-                                                                                      work product created in anticipation of litigation.
                                                                                                     mcqueen@am.com" <angus-
                                                                                                    mcqueen@am.com>; "Melanie-
                                                                                                   Montgomery@am.com" <Melanie-
                                                                                                       Montgomery@am.com>
1982    Attorney-Client   Message_Attachment   3/26/2019 10:59                                                                                                                                                     Confidential communication between AMc employee
       Communications;                                                                                                                                                                                            and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                                                                 & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                   regarding draft correspondence to NRA counsel, and
                                                                                                                                                                                                                     work product created in anticipation of litigation.




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  #     Privilege Type       Record Type       Document Date               Email From                         Email To                          Email CC                Email BCC          Email Subject                            Privilege Description
1983    Attorney-Client        Message         3/26/2019 15:54       <madrid.jay@dorsey.com>         <Revan-McQueen@am.com>;           <bill-winkler@am.com>;                            FW: Letter to Frazer        Confidential communication between AMc employee
       Communications;                                                                                <angus-mcqueen@am.com>           <betts.gina@dorsey.com>;                                                     and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                    <SRyan@mwe.com>                                                                & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                      regarding draft correspondence to NRA, and work
                                                                                                                                                                                                                          product created in anticipation of litigation.
1984    Attorney-Client   Message_Attachment   3/26/2019 15:54                                                                                                                                                       Confidential communication between AMc employee
       Communications;                                                                                                                                                                                              and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                                                                   & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                      regarding draft correspondence to NRA, and work
                                                                                                                                                                                                                          product created in anticipation of litigation.
1985    Attorney-Client   Message_Attachment   3/26/2019 15:54                                                                                                                                                       Confidential communication between AMc employee
       Communications;                                                                                                                                                                                              and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                                                                   & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                      regarding draft correspondence to NRA, and work
                                                                                                                                                                                                                          product created in anticipation of litigation.
1986    Attorney-Client        Message         3/26/2019 15:55   "Ryan, Stephen" <SRyan@mwe.com>       "madrid.jay@dorsey.com"                                                      NRA new and further contract     Confidential communication between AMc employee
       Communications;                                                                                <madrid.jay@dorsey.com>;                                                               review                 and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                              "betts.gina@dorsey.com"<betts.gin                                                                                    & Emery for purposes of obtaining legal advice
                                                                                                   a@dorsey.com>; "Revan McQueen                                                                                      regarding Oliver North and American Heroes, and
                                                                                                     - Ackerman McQueen (Revan-                                                                                        work product created in anticipation of litigation.
                                                                                                     McQueen@am.com)" <Revan-
                                                                                                          McQueen@am.com>
1987    Attorney-Client   Message_Attachment   3/26/2019 15:55                                                                                                                                                      Letter from J. Frazer to S. Ryan dated 3/26/19 attached
       Communications;                                                                                                                                                                                                        to privileged email. Not privileged.
         Work Product
1988    Attorney-Client        Message         3/26/2019 16:49       <betts.gina@dorsey.com>         <Revan-McQueen@am.com>;                                                        FW: Confidentiality Agreement Confidential communication between AMc employee
       Communications;                                                                                <madrid.jay@dorsey.com>;                                                                                    and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                    <SRyan@mwe.com>                                                                                              & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                  regarding Oliver North NDA; work product created in
                                                                                                                                                                                                                      anticipation of litigation relating to state agency
                                                                                                                                                                                                                   investigations into the NRA and litigation anticipated
                                                                                                                                                                                                                  by AMc from the NRA as a result of, in large part, Bill
                                                                                                                                                                                                                                Brewer's threats against AMc.
1989    Attorney-Client   Message_Attachment   3/26/2019 16:49                                                                                                                                                       Draft NDA Agreement for Brewer Firm and NRA.
       Communications;
         Work Product
1990    Attorney-Client        Message         3/26/2019 16:56       <betts.gina@dorsey.com>         <SRyan@mwe.com>; <Revan-                                                       RE: Confidentiality Agreement  Confidential communication between AMc employee
       Communications;                                                                                  McQueen@am.com>;                                                                                          and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                 <madrid.jay@dorsey.com>                                                                                         & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                    regarding leaks of confidential information by NRA
                                                                                                                                                                                                                  and NDA for North Contract, and work product created
                                                                                                                                                                                                                                 in anticipation of litigation.
1991    Attorney-Client        Message         3/26/2019 17:11       <betts.gina@dorsey.com>            <MOConnor@wc.com>                                                           RE: Confidentiality Agreement Confidential communication between AMc employee
       Communications;                                                                                                                                                                                            and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                                                                 & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                    regarding leaks of confidential information by NRA
                                                                                                                                                                                                                  and NDA for North Contract, and work product created
                                                                                                                                                                                                                                 in anticipation of litigation.




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  #     Privilege Type       Record Type       Document Date                 Email From                        Email To                         Email CC              Email BCC            Email Subject                            Privilege Description
1992    Attorney-Client        Message         3/28/2019 16:18        <betts.gina@dorsey.com>          <Revan-McQueen@am.com>;                                                    FW: Confidentiality Agreement Confidential communication between AMc employee
       Communications;                                                                                     <SRyan@mwe.com>                                                                                         and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                                                                  & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                   regarding NDA for review of North Contract, and work
                                                                                                                                                                                                                         product created in anticipation of litigation.
1993    Attorney-Client   Message_Attachment   3/28/2019 16:18                                                                                                                                                      Confidential communication between AMc employee
       Communications;                                                                                                                                                                                             and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                                                                  & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                    regarding draft of NDA for North Contract, and work
                                                                                                                                                                                                                         product created in anticipation of litigation.
1994    Attorney-Client        Message         3/28/2019 16:24   "Ryan, Stephen" <SRyan@mwe.com>        "Revan McQueen - Ackerman                                                 Letter to Frazer - attorney work Confidential communication between AMc employee
       Communications;                                                                                         McQueen (Revan-                                                                product.             and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                   McQueen@am.com)"<Revan-                                                                                        & Emery for purposes of obtaining legal advice
                                                                                                            McQueen@am.com>;                                                                                         regarding leaks of confidential information by NRA
                                                                                                           "betts.gina@dorsey.com"                                                                                  and NRA requests for information, and work product
                                                                                                         <betts.gina@dorsey.com>;                                                                                            created in anticipation of litigation.
                                                                                                          "madrid.jay@dorsey.com"
                                                                                                         <madrid.jay@dorsey.com>
1995    Attorney-Client   Message_Attachment   3/28/2019 16:24                                                                                                                                                    Confidential communication between AMc employee
       Communications;                                                                                                                                                                                           and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                                                                & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                                   regarding leaks of confidential information by NRA
                                                                                                                                                                                                                  and NRA requests for information, and work product
                                                                                                                                                                                                                           created in anticipation of litigation.
1996    Attorney-Client        Message         4/2/2019 17:40         <betts.gina@dorsey.com>               <sryan@mwe.com>;                                                      Fwd: Confidentiality Agreement Confidential communication between AMc employee
       Communications;                                                                                   <madrid.jay@dorsey.com>;                                                                                   and counsel at Dorsey & Whitney for purposes of
         Work Product                                                                                   <revan-mcqueen@am.com>;                                                                                     obtaining legal advice regarding NRA request for
                                                                                                      <angus-mcqueen@am.com>; <bill-                                                                            documents, and work product created in anticipation of
                                                                                                        winkler@am.com>; <Brandon-                                                                                                      litigation.
                                                                                                             Winkler@am.com>
1997   Attorney-Client         Message          4/3/2019 7:40         <betts.gina@dorsey.com>            <madrid.jay@dorsey.com>;                                                 Fwd: Confidentiality Agreement Confidential communication between AMc employee
       Communications                                                                                   <revan-mcqueen@am.com>;                                                                                  and counsel at Dorsey & Whitney and McDermott Will
                                                                                                      <angus-mcqueen@am.com>; <bill-                                                                                & Emery for purposes of obtaining legal advice
                                                                                                             winkler@am.com>;                                                                                           regarding NRA request for documents.
                                                                                                             <sryan@mwe.com>
1998   Attorney-Client         Message          4/3/2019 7:48         <betts.gina@dorsey.com>               <SRyan@mwe.com>              <madrid.jay@dorsey.com>;                 Re: Confidentiality Agreement. Confidential communication between AMc employee
       Communications                                                                                                                   <revan-mcqueen@am.com>;                   attorney client communication and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                                        <angus-mcqueen@am.com>;                                                      & Emery for purposes of obtaining legal advice
                                                                                                                                          <bill-winkler@am.com>                                                          regarding NRA request for documents.
1999   Attorney-Client         Message          4/3/2019 9:48         <betts.gina@dorsey.com>           <Revan-McQueen@am.com>;                                                           Brewer Emails           Confidential communication between AMc employee
       Communications                                                                                 <angus-mcqueen@am.com>; <bill-                                                                                and counsel at Dorsey & Whitney for purposes of
                                                                                                             winkler@am.com>                                                                                          obtaining legal advice regarding substance of
                                                                                                                                                                                                                             correspondence to NRA counsel.
2000   Attorney-Client         Message         4/3/2019 12:01         <betts.gina@dorsey.com>             <bill-winkler@am.com>                                                             FW: NDA               Confidential communication between AMc employee
       Communications                                                                                                                                                                                               and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                                    obtaining legal advice regarding NRA request to
                                                                                                                                                                                                                              review Oliver North's contract.
2001   Attorney-Client         Message         4/3/2019 12:46    Bill Winkler <bill-winkler@am.com>      "betts.gina@dorsey.com"                                                            RE: NDA               Confidential communication between AMc employee
       Communications                                                                                    <betts.gina@dorsey.com>                                                                                    and counsel at Dorsey & Whitney for purposes of
                                                                                                                                                                                                                 obtaining legal advice regarding Oliver North's contract.




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                                                       Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21                                            Page 543 of 1087 PageID 30748
                                                                                                             AMC Second Amended Privilege Log


  #     Privilege Type       Record Type       Document Date          Email From                    Email To                        Email CC                Email BCC          Email Subject                          Privilege Description
2002    Attorney-Client        Message         4/5/2019 13:25   <madrid.jay@dorsey.com>     <Revan-McQueen@am.com>          <betts.gina@dorsey.com>                          4/2 E-mail re: NDA        Confidential communication between AMc employee
       Communications;                                                                                                                                                                                  and counsel at Dorsey & Whitney for purposes of
         Work Product                                                                                                                                                                                    obtaining legal advice regarding access to Oliver
                                                                                                                                                                                                       North's contract and possible media leaks, and work
                                                                                                                                                                                                            product created in anticipation of litigation.
2003    Attorney-Client        Message         4/5/2019 13:40   Revan McQueen <Revan-        "madrid.jay@dorsey.com"        "betts.gina@dorsey.com"                        Re: 4/2 E-mail re: NDA      Confidential communication between AMc employee
       Communications;                                           McQueen@am.com>             <madrid.jay@dorsey.com>        <betts.gina@dorsey.com>                                                     and counsel at Dorsey & Whitney for purposes of
         Work Product                                                                                                                                                                                    obtaining legal advice regarding access to Oliver
                                                                                                                                                                                                       North's contract and possible media leaks, and work
                                                                                                                                                                                                            product created in anticipation of litigation.
2004    Attorney-Client        Message         4/5/2019 18:18   Revan McQueen <Revan-         Angus McQueen <angus-                                                        Fwd: 4/2 E-mail re: NDA      AMc employee internally forwarding confidential
       Communications;                                           McQueen@am.com>           mcqueen@am.com>; Anthony                                                                                   communication between AMc employee and counsel at
         Work Product                                                                            Makris<Anthony-                                                                                        Dorsey & Whitney for purposes of obtaining legal
                                                                                            makris@am.com>; Brandon                                                                                     advice regarding NRA request for documents, and
                                                                                                 Winkler <Brandon-                                                                                       work product created in anticipation of litigation.
                                                                                          Winkler@am.com>; "Bill Winkler"
                                                                                              <bill-winkler@am.com>
2005    Attorney-Client   Message_Attachment   4/5/2019 18:18                                                                                                                                           AMc employee internally forwarding confidential
       Communications;                                                                                                                                                                                communication between AMc employee and counsel at
         Work Product                                                                                                                                                                                   Dorsey & Whitney for purposes of obtaining legal
                                                                                                                                                                                                        advice regarding NRA request for documents, and
                                                                                                                                                                                                         work product created in anticipation of litigation.
2006    Attorney-Client   Message_Attachment   4/5/2019 18:18                                                                                                                                           AMc employee internally forwarding confidential
       Communications;                                                                                                                                                                                communication between AMc employee and counsel at
         Work Product                                                                                                                                                                                   Dorsey & Whitney for purposes of obtaining legal
                                                                                                                                                                                                        advice regarding NRA request for documents, and
                                                                                                                                                                                                         work product created in anticipation of litigation.
2007    Attorney-Client        Message         4/5/2019 21:15   Revan McQueen <Revan-          Angus McQueen <angus-                                                       Fwd: 4/2 E-mail re: NDA      AMc employee internally forwarding confidential
       Communications;                                           McQueen@am.com>          mcqueen@am.com>; Bill Winkler                                                                               communication between AMc employee and counsel at
         Work Product                                                                     <bill-winkler@am.com>; Anthony                                                                                Dorsey & Whitney for purposes of obtaining legal
                                                                                                  Makris <Anthony-                                                                                      advice regarding NRA request for documents, and
                                                                                             makris@am.com>; Brandon                                                                                     work product created in anticipation of litigation.
                                                                                                  Winkler<Brandon-
                                                                                                  Winkler@am.com>
2008    Attorney-Client   Message_Attachment   4/5/2019 21:15                                                                                                                                        AMc employee internally forwarding confidential
       Communications;                                                                                                                                                                             communication between AMc employee and counsel at
         Work Product                                                                                                                                                                                Dorsey & Whitney for purposes of obtaining legal
                                                                                                                                                                                                     advice regarding NRA request for documents, and
                                                                                                                                                                                                      work product created in anticipation of litigation.
2009   Attorney-Client         Message         4/8/2019 17:56   Revan McQueen <Revan-         "betts.gina@dorsey.com"                                                   FW: Request for NRATV data Confidential communication between AMc employee
       Communications                                            McQueen@am.com>             <betts.gina@dorsey.com>;                                                                                and counsel at Dorsey & Whitney for purposes of
                                                                                          "madrid.jay@dorsey.com"<madrid.j                                                                           obtaining legal advice regarding NRA request for
                                                                                                  ay@dorsey.com>;                                                                                                  NRATV information.
                                                                                                 "sryan@mwe.com"
                                                                                                 <sryan@mwe.com>
2010    Attorney-Client        Message         4/8/2019 17:57   Revan McQueen <Revan-         "betts.gina@dorsey.com"        Angus McQueen <angus-                           Attorney Client         Confidential communication between AMc employee
       Communications;                                           McQueen@am.com>             <betts.gina@dorsey.com>;      mcqueen@am.com>; Anthony                     Communication/Attorney Work and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                     "madrid.jay@dorsey.com"<madrid.j      Makris<Anthony-                                  Product                & Emery for purposes of obtaining legal advice
                                                                                                  ay@dorsey.com>;           makris@am.com>; Melanie                                                  regarding draft correspondence to the NRA, and work
                                                                                                 "sryan@mwe.com"              Montgomery <Melanie-                                                        product created in anticipation of litigation.
                                                                                                 <sryan@mwe.com>             Montgomery@am.com>



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                                                       Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21                                             Page 544 of 1087 PageID 30749
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  #     Privilege Type       Record Type       Document Date          Email From                      Email To                         Email CC              Email BCC           Email Subject                        Privilege Description
2011    Attorney-Client   Message_Attachment   4/8/2019 17:57                                                                                                                                         Confidential communication between AMc employee
       Communications;                                                                                                                                                                               and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                                                    & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                      regarding draft correspondence to the NRA, and work
                                                                                                                                                                                                           product created in anticipation of litigation.
2012    Attorney-Client        Message         4/8/2019 17:57   Revan McQueen <Revan-          "betts.gina@dorsey.com"        Angus McQueen <angus-                           Attorney Client         Confidential communication between AMc employee
       Communications;                                           McQueen@am.com>              <betts.gina@dorsey.com>;      mcqueen@am.com>; Anthony                     Communication/Attorney Work and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                      "madrid.jay@dorsey.com"<madrid.j      Makris<Anthony-                                  Product                & Emery for purposes of obtaining legal advice
                                                                                                   ay@dorsey.com>;           makris@am.com>; Melanie                                                  regarding draft correspondence to the NRA, and work
                                                                                                  "sryan@mwe.com"              Montgomery <Melanie-                                                        product created in anticipation of litigation.
                                                                                                  <sryan@mwe.com>             Montgomery@am.com>
2013    Attorney-Client   Message_Attachment   4/8/2019 17:57                                                                                                                                             Confidential communication between AMc employee
       Communications;                                                                                                                                                                                   and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                                                                                                                                        & Emery for purposes of obtaining legal advice
                                                                                                                                                                                                          regarding draft correspondence to the NRA, and work
                                                                                                                                                                                                                product created in anticipation of litigation.
2014    Attorney-Client        Message         4/8/2019 18:15   Revan McQueen <Revan-             "sryan@mwe.com"                                                        FW: Letter to Frazer - attorney Confidential communication between AMc employee
       Communications;                                           McQueen@am.com>                 <sryan@mwe.com>;                                                               work product.            and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                      "madrid.jay@dorsey.com"<madrid.j                                                                                  & Emery for purposes of obtaining legal advice
                                                                                                   ay@dorsey.com>;                                                                                         regarding leaks of confidential information by NRA
                                                                                               "betts.gina@dorsey.com"                                                                                     and NRA requests for documents, and work product
                                                                                               <betts.gina@dorsey.com>                                                                                               created in anticipation of litigation.
2015    Attorney-Client   Message_Attachment   4/8/2019 18:15                                                                                                                                             Draft letter to J. Frazer regarding leaks of confidential
       Communications;                                                                                                                                                                                   information by NRA and NRA requests for documents.
         Work Product
2016    Attorney-Client        Message         4/8/2019 18:29   Anthony Makris <Anthony-       Revan McQueen <Revan-             "betts.gina@dorsey.com"                     Re: Attorney Client      Confidential communication between AMc employee
       Communications                                               makris@am.com>              McQueen@am.com>                 <betts.gina@dorsey.com>;                 Communication/Attorney Work and counsel at Dorsey & Whitney and McDermott Will
                                                                                                                              "madrid.jay@dorsey.com"<madr                        Product               & Emery for purposes of obtaining legal advice
                                                                                                                                   id.jay@dorsey.com>;                                                  regarding draft correspondence to NRA counsel.
                                                                                                                                    "sryan@mwe.com"
                                                                                                                                <sryan@mwe.com>; Angus
                                                                                                                                     McQueen<angus-
                                                                                                                               mcqueen@am.com>; Melanie
                                                                                                                                  Montgomery <Melanie-
                                                                                                                                  Montgomery@am.com>
2017    Attorney-Client        Message         4/8/2019 20:33   Revan McQueen <Revan-             "SRyan@mwe.com"                                                             Attorney Client         Confidential communication between AMc employee
       Communications;                                           McQueen@am.com>                 <SRyan@mwe.com>;                                                        Communication/Attorney Work and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                      "madrid.jay@dorsey.com"<madrid.j                                                       Product               & Emery for purposes of obtaining legal advice
                                                                                                   ay@dorsey.com>;                                                                                    regarding leaks of confidential information by NRA
                                                                                               "betts.gina@dorsey.com"                                                                                and NRA requests for documents, and work product
                                                                                               <betts.gina@dorsey.com>                                                                                         created in anticipation of litigation.
2018    Attorney-Client   Message_Attachment   4/8/2019 20:33                                                                                                                                           Draft letter to J. Frazer regarding NRA leaks of
       Communications;                                                                                                                                                                                confidential information and requests for documents.
         Work Product
2019    Attorney-Client        Message         4/8/2019 21:13   Revan McQueen <Revan-             "SRyan@mwe.com"                                                            Re: Attorney Client      Confidential communication between AMc employee
       Communications;                                           McQueen@am.com>                 <SRyan@mwe.com>;                                                        Communication/Attorney Work and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                      "madrid.jay@dorsey.com"<madrid.j                                                       Product               & Emery for purposes of obtaining legal advice
                                                                                                   ay@dorsey.com>;                                                                                    regarding leaks of confidential information by NRA
                                                                                               "betts.gina@dorsey.com"                                                                                and NRA requests for documents, and work product
                                                                                               <betts.gina@dorsey.com>                                                                                        created in anticipation of litigation.




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                                                                                                                                                                                                                                              APP. 01301
                                                       Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21                                           Page 545 of 1087 PageID 30750
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  #     Privilege Type       Record Type       Document Date          Email From                      Email To                      Email CC               Email BCC           Email Subject                            Privilege Description
2020    Attorney-Client   Message_Attachment   4/8/2019 21:13                                                                                                                                             Draft letter to J. Frazer regarding NRA leaks of
       Communications;                                                                                                                                                                                  confidential information and requests for documents.
         Work Product
2021    Attorney-Client        Message         4/9/2019 18:48   Revan McQueen <Revan-          "betts.gina@dorsey.com"         Angus McQueen <angus-                   Fwd: Request for NRATV data      Confidential communication between AMc employee
       Communications                                            McQueen@am.com>              <betts.gina@dorsey.com>;        mcqueen@am.com>; Bill                                                      and counsel at Dorsey & Whitney for purposes of
                                                                                           "madrid.jay@dorsey.com"<madrid.j           Winkler <bill-                                                     obtaining legal advice regarding NRA request for
                                                                                                   ay@dorsey.com>;           winkler@am.com>; Brandon                                                                  NRATV information.
                                                                                                  "SRyan@mwe.com"                  Winkler <Brandon-
                                                                                                 <SRyan@mwe.com>             Winkler@am.com>; Anthony
                                                                                                                                   Makris<Anthony-
                                                                                                                                   makris@am.com>
2022   Attorney-Client         Message         4/9/2019 18:48   Revan McQueen <Revan-          "betts.gina@dorsey.com"         Angus McQueen <angus-                   Fwd: Request for NRATV data      Confidential communication between AMc employee
       Communications                                            McQueen@am.com>              <betts.gina@dorsey.com>;        mcqueen@am.com>; Bill                                                      and counsel at Dorsey & Whitney for purposes of
                                                                                           "madrid.jay@dorsey.com"<madrid.j           Winkler <bill-                                                     obtaining legal advice regarding NRA request for
                                                                                                   ay@dorsey.com>;           winkler@am.com>; Brandon                                                                  NRATV information.
                                                                                                  "SRyan@mwe.com"                  Winkler <Brandon-
                                                                                                 <SRyan@mwe.com>             Winkler@am.com>; Anthony
                                                                                                                                   Makris<Anthony-
                                                                                                                                   makris@am.com>
2023   Attorney-Client         Message         4/9/2019 19:00   Anthony Makris <Anthony-       Revan McQueen <Revan-           "betts.gina@dorsey.com"                  Re: Request for NRATV data      Confidential communication between AMc employee
       Communications                                               makris@am.com>               McQueen@am.com>              <betts.gina@dorsey.com>;                                                   and counsel at Dorsey & Whitney for purposes of
                                                                                                                            "madrid.jay@dorsey.com"<madr                                                 obtaining legal advice regarding NRA request for
                                                                                                                                 id.jay@dorsey.com>;                                                                   NRATV information.
                                                                                                                                  "SRyan@mwe.com"
                                                                                                                             <SRyan@mwe.com>; Angus
                                                                                                                                   McQueen<angus-
                                                                                                                              mcqueen@am.com>; Bill
                                                                                                                                      Winkler <bill-
                                                                                                                             winkler@am.com>; Brandon
                                                                                                                                   Winkler<Brandon-
                                                                                                                                   Winkler@am.com>
2024   Attorney-Client         Message         4/9/2019 19:00   Anthony Makris <Anthony-       Revan McQueen <Revan-           "betts.gina@dorsey.com"                  Re: Request for NRATV data      Confidential communication between AMc employee
       Communications                                               makris@am.com>               McQueen@am.com>              <betts.gina@dorsey.com>;                                                   and counsel at Dorsey & Whitney for purposes of
                                                                                                                            "madrid.jay@dorsey.com"<madr                                                 obtaining legal advice regarding NRA request for
                                                                                                                                 id.jay@dorsey.com>;                                                                   NRATV information.
                                                                                                                                  "SRyan@mwe.com"
                                                                                                                             <SRyan@mwe.com>; Angus
                                                                                                                                   McQueen<angus-
                                                                                                                              mcqueen@am.com>; Bill
                                                                                                                                      Winkler <bill-
                                                                                                                             winkler@am.com>; Brandon
                                                                                                                                   Winkler<Brandon-
                                                                                                                                   Winkler@am.com>
2025    Attorney-Client        Message         4/10/2019 7:41   Revan McQueen <Revan-             "SRyan@mwe.com"                                                      Attorney Client Communication Confidential communication between AMc employee
       Communications;                                           McQueen@am.com>                 <SRyan@mwe.com>;                                                                                    and counsel at Dorsey & Whitney and McDermott Will
         Work Product                                                                      "madrid.jay@dorsey.com"<madrid.j                                                                             & Emery for purposes of obtaining legal advice
                                                                                                   ay@dorsey.com>;                                                                                      regarding communication from W. LaPierre and
                                                                                               "betts.gina@dorsey.com"                                                                                appointment of designee under Services Agreement,
                                                                                               <betts.gina@dorsey.com>                                                                                and work product created in anticipation of litigation.




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                        EXHIBIT 40
                     (Filed Under Seal)




                                                               APP. 01303-APP. 01325
Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21   Page 547 of 1087 PageID 30752




                        EXHIBIT 41
                     (Filed Under Seal)




                                                               APP. 01326-APP. 01444
Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21   Page 548 of 1087 PageID 30753




                      EXHIBIT 42




                                                                       APP. 01445
Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21                                                   Page 549 of 1087 PageID 30754
11/23/21, 4:58 PM                                         NRA, Dana Loesch put 'Thomas & Friends' in KKK hoods over diversity push




NATION NOW


Angry over diversity in children's show, NRA TV
depicts 'Thomas & Friends' in KKK hoods
Ryan W. Miller USA TODAY
Published 11:08 p.m. ET Sept. 12, 2018   Updated 3:24 p.m. ET Sept. 13, 2018


Using a jarring image to blast increased diversity on a children's TV show, a National Rifle Association online show
depicted characters from "Thomas & Friends" in white, Ku Klux Klan-style hoods on burning train tracks.

Host of NRA TV's "Relentless," Dana Loesch went after the classic children's character Thomas The Tank Engine after its
maker, Mattel, joined forces with the United Nations in efforts to increase gender diversity and representation on the
program and include new characters from around the globe.

Loesch, a conservative spokeswomen for the gun rights group, specifically called out one new character – Nia, a steam
engine from Kenya.

"That's where it gets really strange to me," Loesch says on Friday's episode. "Am I to understand this entire time that
Thomas and his trains were white? Because they all have gray faces. How do you bring ethnic diversity? I mean they had
to paint what I guess they thought was some sort of African pattern on the side of Nia's engine."

The program cut to an image with three trains wearing white hoods and tracks on fire. "Fair, I get it," Loesch
sarcastically says. "Thomas the Tank Engine has been a blight on race relations for far too long. Clearly this is overdue."

The NRA did not immediately respond to USA TODAY's request for comment.

Mattel announced Friday that "Thomas & Friends," a Nick Jr. show, would add characters to its newest season from
around the world and partner with the UN to promote its Sustainable Development Goals.

In the new season, Thomas will travel from his fictional home Sodor for the first time in the series to visit China, India
and Australia, Mattel said. More female characters will also be represented, the company added.

"This change will deepen the brand's engagement with girls who represent over 40% of the show's viewership and
provide a strong message of gender equality to the young audience," Mattel said in a statement.

Follow Ryan Miller on Twitter @RyanW_Miller




https://www.usatoday.com/story/news/nation-now/2018/09/12/nra-tv-dana-loesch-thomas-tank-engine-kkk-hood/1286727002/                              1/1


                                                                                                                                     APP. 01446
Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21   Page 550 of 1087 PageID 30755




                      EXHIBIT 43




                                                                       APP. 01447
    Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21                                        Page 551 of 1087 PageID 30756

         Opinion                                                                                                              LIVE TV




What’s behind NRA TV’s grotesque take on ‘Thomas & Friends’
By Robert J. Spitzer
Updated 10:08 PM EDT, Fri September 14, 2018




                                                                                                                                    02:07 - Source: CNN

NRATV host slammed over KKK reference




Editor’s Note: Robert J. Spitzer is Distinguished Service Professor of Political Science at SUNY Cortland, and the author of 5 books on gun
policy, including “Guns across America” and “The Politics of Gun Control.” The views expressed here are solely the author’s. View more
opinion articles on CNN.

(CNN) — NRA TV host Dana Loesch seems to thrive on dog whistle controversy. Case in point: in a recent segment of her internet
show “Relentless,” she castigated the British cartoon series “Thomas & Friends,” featuring Thomas the Tank Engine, for seeking to
bring “gender balance” and “ethnic diversity” to the show.

                                        The special focus of her ire? A tank character named Nia from Kenya who was introduced as part of
                                        the program’s effort to internationalize and diversify its characters. Horrible as that may seem to
                                        Loesch, she capped her critique by displaying a doctored picture of Thomas and two of his friends in
                                        KKK hoods riding on track seen to be burning in the background.


Robert Spitzer
                                        Loesch considers the program “creepy.” But next to the image of children cartoon characters in Klan
                                        outfits – well, readers and viewers can draw their own conclusions about what constitutes “creepy.”
                                        But what does Loesch’s grotesque distortion of a children’s cartoon have to do with gun rights?
Nothing, according to the laws of common sense. But in the era of President Donald Trump, everything.


                                                                                                                           APP. 01448
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This tale begins with the NRA’s early and fulsome endorsement of Trump’s presidential campaign – even before he had officially
captured the nomination. That political move was significant for two reasons: first, the gun rights group has normally not made
political endorsements so early in an election cycle; second, the NRA was taking a political risk because of the unorthodox nature of
Trump’s campaign. But the NRA’s gamble hit the jackpot. Trump won the nomination, and the presidency.

                   RELATED VIDEO
                   Cooper presses Loesch on Trump's gun comments

   VIDEO




The NRA has taken its culture war cues from Trump, especially through NRA TV where, according to Time magazine, “its segments
are anti-Black Lives Matter, pro-cop, anti-media and pro-Trump.” Add to that list that it’s against Hollywood liberals and so-called
coastal liberal elites, all Trump targets. The point is that it’s not just guns the NRA is defending, but its way of life, its identity. If
these messaging themes are good enough for the President, then why not for the NRA? Absent a demonic figure in the White House
like Barack Obama or Bill Clinton, here is a new focus to gin up fear, anger, and gun sales.

Despite the fact that a decade earlier, Trump had supported gun measures like the assault weapons ban and longer gun waiting
periods, his conversion to NRA dogma was thorough and unwavering. But more than that, Trump’s core constituencies coincided
closely with that of the NRA – especially older white males from rural areas, who are also highly likely to be gun owners.

It was a natural fit. Multiple studies have found that fears of “racial and global status threat,” as political scientist Diana Mutz puts it,
and fear of change in an increasingly multiethnic nation were core forces driving much of the Trump vote. This does not mean that
all or even most Trump voters were racists, but that race-based fear and anxiety was nevertheless an important animating force
explaining Trump’s victory. NRA core supporters share many of the same beliefs.

                   RELATED ARTICLE
                   Finally, a cop is convicted for recklessly shooting an unarmed teenager




One need look no further than Trump’s obsessive condemnation of NFL players, mostly African-Americans, who chose to kneel
before the start of games to protest unjust police shootings of African-Americans, to understand Trump’s dog whistle race baiting.
When Nike recently featured Colin Kaepernick, who led the kneeling movement, in an advertisement, Trump used it as a convenient
symbol to rally his base and divert attention from the parade of scandals and missteps that have characterized his administration.

Even if one questions whether there was racial animus embedded in Trump’s verbal attacks on NFL players, Trump’s shocking
defense of neo-Nazi protestors who demonstrated in Charlottesville in 2017 as including “some very fine people” – and which neo-
Nazis were the “fine people,” I wonder? – has to lead us to realize that Trump has carved out a safe space for virulent racists.

Admittedly, there is nothing the NRA would like more than to cultivate gun ownership and use among segments of the population
that have shown little or substantially less interest in guns, including women, African-Americans, Latinos, and the LGBT community.
To date, however, efforts to increase gun ownership among these groups don’t seem to be yielding many gains. Surely the angry,
dark, and relentlessly apocalyptic messaging that is the steady rhetorical diet of the NRA is not disposed to broaden the NRA’s
appeal, which goes double for its recent Trumpish foray into the culture wars.

                   RELATED VIDEO
                   CNN anchor to NRA spokeswoman: How dare you

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The NRA’s reaction, or lack of reaction, to recent shootings involving police and African-Americans certainly hasn’t helped it
broaden its base. Consider the case of Philando Castile, a 32-year-old African-American pulled over by police outside of St. Paul,
Minnesota, in 2016. When the officer asked for the man’s license and registration, Castile told the officer that he had a firearm (and
was a licensed gun owner). In the car was Castile’s girlfriend and young daughter. After yelling at the man to not pull out his gun,
and after Castile replied that he was not, within seconds the officer fired 7 shots, killing Castile. (The officer was acquitted of
mansla ghte b t       as emo ed f om the fo ce )
                                                                                                                          APP. 01449
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manslaughter, but was removed from the force.)

For its part, the NRA has been quick to defend, in a highly public way both with words and legal assistance, civilians who were, in
its view, properly exercising their gun rights – even if authorities said otherwise. From Bernhard Goetz, the 1980s “subway vigilante”
who shot four African-American youths he said were harassing him, to its fierce advocacy for expanded “stand your ground” laws
that give special legal protections to people who kill others who feel threatened in public places, the NRA has been unstinting in
extolling civilian gun use.


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Yet in the Castile case, and despite the fact that the man wound up dead for simply exercising his so-called “gun rights,” they were
silent. In the culture wars debate the NRA wants to have, criticism of police, even when they mistakenly use deadly force against
African-Americans, is a bridge too far – even if invoking the KKK isn’t.




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Giants fire offensive                             Even Jeffrey Epstein’s                              Malcolm X daughter suffered                     Maryland police offic
coordinator Jason Garrett as                      girlfriend, the last person to                      from long-term illness before                   convicted of rape, ass
season spirals: source                            speak on phone with him…                            she died, NYPD commission…                      allowed to serve enti



     U. S.       NE WS




   'Thomas & Friends’ owner fires back after NRA show
   portrays characters in KKK hoods
                                                                      By DANIELLE CINONE
                                                               NEW YORK DAILY NEWS | SEP 14, 2018




   Screengrab from NRATV showing Thomas & Friends wearing white Ku Klux Klan hoods on fiery train tracks. (NRATV)




                  Listen to this article




   That idea sure Tank-ed!



                                                                                                                                              APP. 01453
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Mattel — the company that owns Thomas the Tank Engine — is firing back at NRA TV host Dana Loesch for portraying “Thomas &
Friends” characters in Ku Klux Klan hoods.


On Friday, Loesch showed characters from the children’s TV show “Thomas & Friends” in white hoods while discussing the
show’s move to diversify its characters.


“We are not associated with images that promote hate and denounce any images of our brands that are being used to convey a
message not in line with the values of the company,” the company said in a statement.


“For more than 70 years, Thomas & Friends has delivered life lessons about friendship and teamwork to young children. At
Mattel, insuring our brands promote a message of inclusivity and kindness has always been a priority.”


“Thomas & Friends” announced on Friday Sept. 7 it was collaborating with the United Nations to promote Sustainable
Development Goals and inspire future global citizens.


The show’s upcoming Season 22 will have a more contemporary feel — including a gender-balanced cast with international
characters.


In response to the announcement, NRA’s online show “Relentless” depicted “Thomas & Friends” characters wearing white Ku
Klux Klan hoods on fiery train tracks, as Loesch criticized the ethnic diversity of the children’s show.




“I’ve looked at “Thomas and Friends,” at their pictures, and I see gray and blue. Am I to understand this entire time that Thomas
and his trains were white? Because they all have gray faces,” Loesch said.


“How do you bring ethnic diversity to a show that literally has no ethnicities because they're trains. They don't even have skin
pigmentation.”


The new series of “Thomas & Friends” will feature an African steam engine from Kenya named Nia, as well as three other female
characters — Isla from Australia, Noor Jehan from India, and Hong-Mei from China.


Thomas will explore new countries such as China, India, and Australia — leaving their island of Sodor for the first time in the
show’s history.

                                                                                                                 APP. 01454
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    Michelle Chidoni, Mattel’s VP of Global Brand Communications, explained how the trains are “characters that teach kids about
    teamwork and collaboration — these are loving and notable characters which the team felt it was important to evolve and
    modernize.”


          MOST READ



          Giants fire offensive coordinator Jason Garrett as season spirals: source




          Even Jeffrey Epstein’s girlfriend, the last person to speak on phone with him before suicide, shocked he killed himself: source




          Malcolm X daughter suffered from long-term illness before she died, NYPD commissioner says




    In an effort to connect with the audience, the newly modernized series will have Thomas end each episode with a sing-along and
    deliver a “life lesson”


    “As we looked to modernize Thomas & Friends and make it more culturally relevant, there was no better partner than the UN to
    help us deliver the important messages of the Sustainable Development Goals,” Richard Dickson, President and COO of Mattel,
    said in a statement.


    “This in turn allows us to convey the discovery and learning of other countries and cultures with a character that is known and
    loved to inspire the next generation of global citizens.”


    This all-new series titled “Big World! Big Adventures!” will come to Nick Jr. on Sept. 17.




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11/27/21, 12:27 PM                Dear NRA: Putting KKK Hoods on Beloved Childhood Characters Probably Isn’t the Best Strategy – Mother Jones




MEDIA          SEPTEMBER 11, 2018

Dear NRA: Putting KKK Hoods on Beloved Childhood
Characters Probably Isn’t the Best Strategy
Nobody ever said Thomas the Tank Engine was a racist. Geez.

EDWIN RIOS




NRATV



Fight disinformation. Get a daily recap of the facts that matter. Sign up for the free Mother Jones
newsletter.

The producers of Thomas the Tank Engine’s decades-old hit television show recently made Thomas & Friends more modern. They
changed the theme song and brought in new female characters, including Nia, a train from Kenya created in cahoots with the UN.
“Through Nia, we’re able to see an African character really taking a leadership role as a female engine with lots of strong values and goals,
herself,” Women’s Africa program adviser Tolulope Lewis-Tamoka told CBS News.

But over at Relentless, a show on NRATV—the TV channel of the National Rifle Association—NRA spokesman Dana Loesch didn’t see why
Thomas & Friends needed ethnic diversity. After all, Thomas and his friends are gray and blue.

“How do you bring ethnic diversity? I mean they had to paint, what I guess they thought was some sort of African pattern on the side of
Nia’s engine?” Loesch says in a video clip shared by Media Matters. “How do you bring ethnic diversity to a show that literally has no
ethnicities because they’re trains. They don’t even have skin pigmentation. Was there some concern that the show had racist undertones? ”




https://www.motherjones.com/media/2018/09/dear-nra-putting-kkk-hoods-on-beloved-childhood-characters-probably-isnt-the-best-strategy/           1/2


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11/27/21, 12:27 PM                Dear NRA: Putting KKK Hoods on Beloved Childhood Characters Probably Isn’t the Best Strategy – Mother Jones

The segment then cuts to Thomas and his friends riding on flaming tracks and wearing white KKK hoods. “I get it. Thomas the Tank
Engine has been a blight on race relations for far too long,” Loesch told viewers. “Clearly this is overdue, right? Seriously, with trains?”

Classy.



               Media Matters
               @mmfa

    While complaining about diversity, NRATV put a KKK hood
    on Thomas the Tank Engine mm4a.org/4o9




    5:27 PM · Sep 10, 2018

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11/23/21, 4:28 PM                   N.R.A. Show Puts Thomas the Tank Engine in White Hood to Criticize Diversity Move - The New York Times

                          https://www.nytimes.com/2018/09/12/us/nra-tv-thomas-tank-engine.html



N.R.A. Show Puts Thomas the Tank Engine in White Hood to Criticize Diversity Move

By Niraj Chokshi
Sept. 12, 2018



Even by the standards of today’s political culture, it was a startling image: the talking trains from the children’s television show “Thomas
& Friends,” wearing Ku Klux Klan hoods.

That was what viewers of the National Rifle Association’s online video channel saw as Dana Loesch, a spokeswoman for the gun rights
group, took the show to task for diversifying its cast.

“They’ve decided that the next stop is Virtue Town,” Ms. Loesch said Friday on “Relentless,” the NRATV program that she hosts. She was
responding to news that the children’s show was adding several female and international characters.

The segment echoed complaints by some that the additions amounted to politically correct pandering. But it confounded many others who
wondered why a spokeswoman for an organization known for fierce advocacy of gun rights would weigh in on programming aimed at
preschoolers.


In the segment, Ms. Loesch, an outspoken conservative commentator, questioned the decision to add the new characters, including Nia, a
train from Kenya. How, she asked, could the children’s show introduce “ethnic diversity” when its anthropomorphized characters are
mostly trains?

“I’m really, really struggling to understand how in the world there isn’t any diversity in any of this,” she said, before showing a photo of
several characters in Ku Klux Klan hoods in front of burning tracks.

“Fair, I get it,” she deadpanned in response to the image. “Thomas the Tank Engine has been a blight on race relations for far too long.”

The segment drew the beloved children’s franchise, whose story was created more than 70 years ago, into the increasingly partisan debate
over diversity and multiculturalism.

In response, Mattel, which owns the Thomas the Tank Engine brand, said it had “always been a priority” for the company to promote
inclusivity and kindness.

“We are not associated with images that promote hate and denounce any images of our brands that are being used to convey a message
not in line with the values of the company,” it said.

“Thomas & Friends” had announced on Friday that it was adding the new characters in partnership with the United Nations, part of an
effort to introduce its preschool audience to new cultures and issues.

In the show’s coming 22nd season, which begins this month on Nick Jr., the main character, Thomas the Tank Engine, will leave his home
on the fictional island of Sodor for the first time in series history. He will travel to China, India and Australia, where he will meet other
trains. The show will also add several new female characters.

The character Thomas the Tank Engine was invented more than 70 years ago by the Rev. W. Awdry, as a story for his son. Mr. Awdry
turned the story into the first of many books in 1945, and in 1984, Thomas became the star of a new British animated show that was
narrated by Ringo Starr. The show made its American debut in 1989 on PBS.

The N.R.A. did not immediately respond to a request for comment.




https://www.nytimes.com/2018/09/12/us/nra-tv-thomas-tank-engine.html                                                                           1/1


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In N.R.A. Power Struggle, Insurgents Seek to
Oust Wayne LaPierre
By Danny Hakim

April 26, 2019

INDIANAPOLIS — Turmoil wracking the National Riﬂe Association is threatening to turn the
group’s annual convention into outright civil war, as insurgents maneuver to oust Wayne
LaPierre, the foremost voice of the American gun rights movement.

The confrontation pits Mr. LaPierre, the organization’s longtime chief executive, against its
recently installed president, Oliver L. North, the central ﬁgure in the Reagan-era Iran-contra
affair, who remains a hero to many on the right.

Behind it is a widening crisis involving a legal battle between the N.R.A. and its most inﬂuential
contractor, Ackerman McQueen, amid renewed threats from regulators in New York, where the
N.R.A. is chartered, to investigate the group’s tax-exempt status. With contributions lagging, the
N.R.A. is also facing an increasingly well-ﬁnanced gun rights movement, motivated by a string of
mass shootings.

Mr. North asked Mr. LaPierre to resign on Wednesday, according to documents reviewed by The
New York Times. He said he had also created a committee to review allegations of ﬁnancial
improprieties that threaten the N.R.A.’s status as a nonproﬁt organization.

But Mr. LaPierre, in a stinging letter sent on Thursday night to the N.R.A.’s board, accused Mr.
North of threatening to leak damaging information about him and other N.R.A. executives unless
he stepped down.

“Yesterday evening, I was forced to confront one of those deﬁning choices — styled, in the
parlance of extortionists — as an offer I couldn’t refuse,” Mr. LaPierre wrote. “I refused it.”

Even as the leadership tussled behind the scenes, President Trump addressed the N.R.A. faithful
at the convention on Friday and proclaimed himself a champion of gun rights. In a speech that
was part political rally and part pep talk, he said his administration would not ratify an arms
treaty designed to regulate the international sale of conventional weapons.

The power struggle within the N.R.A. is an abrupt escalation of a legal battle between the
organization and Ackerman McQueen. The Times reported earlier this year that prominent
members of the N.R.A. board had grown dismayed at the performance of Ackerman because of its


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NRATV online media service, which has drifted into right-wing politics far beyond gun rights.
Ackerman employs Mr. North, who hosts an NRATV series called “American Heroes.”

It is not clear whether Mr. North has the board support to oust Mr. LaPierre, who has led the
N.R.A. for decades. Previously, the presidency has been a ceremonial position, though Mr. North,
in documents reviewed by The Times, has asked for it to be a paid post. A key factor will be Chris
Cox, who runs the N.R.A.’s Institute for Legislative Action and is effectively the group’s second-
ranking ofﬁcial.

The dispute represents the N.R.A.’s deepest internal crisis since a struggle for control of the
board in the late 1990s, when Mr. LaPierre and Ackerman were on the same side.

The crisis has led to the splintering of a more than three-decade relationship between the N.R.A.
and Ackerman, which crafted such memorable lines as Charlton Heston’s proclaiming that his
gun would have to be pried “from my cold, dead hands.” Ackerman’s NRATV has taken on an
apocalyptic tone, warning of race wars, calling for a march on the Federal Bureau of Investigation
and portraying the talking trains in the children’s show “Thomas & Friends” in Ku Klux Klan
hoods.




            The request for Mr. LaPierre’s resignation came from Oliver L. North, the N.R.A.’s
            recently installed president. Scott Olson/Getty Images




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A lawsuit recently ﬁled by the N.R.A. against Ackerman raised concerns that the company might
have overbilled the N.R.A. and that Mr. North was conﬂicted in his duties because Ackerman paid
him. Mr. North, it said, had refused to provide his contract with Ackerman to the N.R.A.

In the suit, the N.R.A. claimed that Ackerman had resisted providing ﬁnancial records as part of a
review of contractors it was conducting amid the threats of aggressive regulatory action.

“As you know, the N.R.A. has over this past year taken steps to strengthen its efforts to document
and verify compliance by our vendors with our purchasing practices and their contracts,” Mr.
LaPierre wrote in his letter on Thursday to the board. “We’ve met extraordinary resistance from
one vendor — Ackerman McQueen.”

He noted that Ackerman paid Mr. North “millions of dollars annually,” and that Ackerman, via Mr.
North, was threatening to release a letter that would be “a devastating account of our ﬁnancial
status, sexual harassment charges against a staff member, accusations of wardrobe expenses and
excessive staff travel expenses.”

He also wrote that Mr. North said “the letter would not be sent — if I were to abruptly resign,”
adding, “He stated that he could ʻnegotiate’ an ʻexcellent retirement’ for me.”

Later on Thursday evening, close to midnight, in his own letter to the board, Mr. North said he
was creating a special committee to investigate allegations of ﬁnancial impropriety reported by
The Times, The Wall Street Journal and The New Yorker. “I did this because I am deeply
concerned that these allegations of ﬁnancial improprieties could threaten our nonproﬁt status.”

He also said he tasked the special committee with “investigating allegations of ﬁnancial
misconduct related to Mr. LaPierre” that have been made by Ackerman in the wake of the
lawsuit.

In a statement, a lawyer for the N.R.A., William A. Brewer III, said the organization had been
reviewing many of the issues raised by Mr. North since last year.

“In our view,” Mr. Brewer said, “the items involving Mr. LaPierre may reﬂect a misinformed view
of his and the N.R.A.’s commitment to good governance.”

Ackerman McQueen declined to comment.

With the N.R.A.’s board due to meet on Monday, the crisis could come to a head soon.

“All of this is painful for me,” Mr. LaPierre wrote. “I will not judge Col. North, but must report
what many of you already know: He has contractual and ﬁnancial loyalties to AM.”

Mr. North, for his part, wrote, “We are facing a serious crisis,” adding, “To date, my repeated
efforts to inquire about the propriety of management’s ﬁnancial decisions have consistently been
rebuffed.”

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New York Attorney General investigating NRA finances amid group's
internal dispute - CNNPolitics
  cnn.com/2019/04/27/politics/nra-new-york-investigation/index.html


"As part of this investigation, the Attorney General has issued subpoenas," a spokesperson for
New York Attorney General Letitia James said in a statement to CNN. "We will not have further
comment at this time."

The spokesperson would not confirm what the investigation was regarding.

However, the gun-safety group, Everytown for Gun Safety, said it filed a complaint about the
NRA's tax-exempt status with the IRS.

The group said it was prompted by a recent report by The Trace, in conjunction with the New
Yorker, alleging that a small group of executives, contractors and vendors affiliated with the
NRA "have extracted hundreds of millions of dollars from non-profit's budget."
"In light of the recent, credible allegations of excessive invoicing and personal enrichment by
insiders, it's encouraging that the New York Attorney General is looking into the NRA, and we
renew our call for other state and federal authorities to do the same," said John Feinblatt,
president of Everytown for Gun Safety.

The investigation comes after a dispute between the group's president, Oliver North, and chief
executive officer, Wayne LaPierre, in which North accused LaPierre of financial misconduct,
according to the Wall Street Journal.
James' office sent the NRA on Friday a document preservation order, according to the Journal.
NPR was the first to report on the New York attorney general investigation.
The Journal said New York investigators plan to look into alleged financial misconduct like the
kind North recently raised in internal disputes.

The New York attorney general's probe centers on "related-party transactions between the NRA
and its board members; unauthorized political activity; and potentially false or misleading
disclosures in regulatory filings," a person familiar with language used in the order told the
Journal.


"The NRA will fully cooperate with any inquiry into its finances," said William A. Brewer III,
partner at Brewer, Attorneys & Counselors and counsel to the NRA in a statement to CNN. "The
NRA is prepared for this, and has full confidence in its accounting practices and commitment to
good governance."

In a letter to the NRA board Thursday, LaPierre claimed North was pressuring him to resign and
attempting to extort him, the Journal reported Friday.
North sent the board his own letter, telling them he was forming a crisis committee to look into
the NRA's finances, the newspaper noted.
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He had previously accused LaPierre of charging over $200,000 in wardrobe purchases to a NRA
vendor, according to the Journal.

North also raised other allegations to the board, including excessive travel expenses charged to
a vendor and sexual harassment accusations against a senior NRA official, the Journal reported,
citing people familiar with the matter.

On Saturday, North informed members in a letter he will not be renominated president of the
gun rights group.
The dispute between LaPierre and North had stemmed in part from the NRA's relationship with
its contracted ad agency, Ackerman McQueen Inc., the Journal noted.

CNN's Eli Watkins and Kate Sullivan contributed to this report.




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                     (Filed Under Seal)




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                        EXHIBIT 57
                     (Filed Under Seal)




                                                               APP. 01675-APP. 01680
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                        EXHIBIT 58
                     (Filed Under Seal)




                                                               APP. 01681-APP. 01687
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                        EXHIBIT 59
                     (Filed Under Seal)




                                                               APP. 01688-APP. 01730
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                        EXHIBIT 60
                     (Filed Under Seal)




                                                               APP. 01731-APP. 01744
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                        EXHIBIT 61
                     (Filed Under Seal)




                                                               APP. 01745-APP. 01746
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                        EXHIBIT 62
                     (Filed Under Seal)




                                                               APP. 01747-APP. 01763
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                      EXHIBIT 63




                                                                       APP. 01764
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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION


 NATIONAL RIFLE ASSOCIATION                         §
 OF AMERICA,                                        §
                                                    §
         Plaintiff and Counter-Defendant,           §
                                                    §
 and                                                §   Case No. 3:19-cv-02074-G
                                                    §
 WAYNE LAPIERRE                                     §
                                                    §
                                                    §
         Third-Party Defendant,                     §
                                                    §
 v.                                                 §
                                                    §
 ACKERMAN MCQUEEN, INC.;                            §
                                                    §
         Defendant and Counter-Plaintiff            §
                                                    §
 and                                                §
                                                    §
 MERCURY GROUP, INC., HENRY                         §
 MARTIN, WILLIAM WINKLER                            §
 and MELANIE MONTGOMERY,                            §
                                                    §
         Defendants                                 §
                                                    §


                       EXPERT REPORT OF AUTUMN V. KRAUS

                                    July 15, 2021




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 I.      INTRODUCTION

 1. The parties to this action worked together for nearly forty years, during which
      Ackerman McQueen, Inc. (“Ackerman” or “AMc”) provided various services,
      which included advertising, branding, speech writing, and digital network
      support, to the National Rifle Association of America (“NRA”). Throughout 2017
      and 2018, complaints about AMc began to reach a forward pitch. For that and
      other reasons, the NRA sought information from AMc regarding its services and
      whether it was complying with its obligations. When Ackerman refused to
      comply with certain provisions of the Services Agreement, notably the provision
      which obligated Ackerman to provide the NRA with information about services
      it rendered, the NRA filed suit in the Circuit Court of Virginia demanding, among
      other things, access to files, books and records. The lawsuits filed by the NRA in
      Virginia against Ackerman are currently stayed, pending resolution of the instant
      litigation pending in Texas. In Texas, through its Second Amended Complaint,
      the NRA asserts claims against Ackerman for violations of the Lanham Act,
      fraud, breaches of fiduciary duties, trademark infringement, conversion, breach
      of contract, and conspiracy. Ackerman has filed a counter-suit against the NRA.
      By way of its Second Amended Counterclaim, Ackerman asserts claims against
      the NRA for breach of contract, defamation, tortious interference with third-party
      contracts, business disparagement, fraud and civil conspiracy, declaratory
      judgment, and piercing the corporate veil. Ackerman seeks damages in excess of
      $50 million in their counter-suit against the NRA.

 2. I have been retained by Brewer Attorneys & Counselors, attorneys for the NRA,
      and have been asked to review documents and testimony and render opinions
      concerning the damages Ackerman claims to have incurred.


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 3. A list of the documents I considered to render my opinion is attached as Exhibit
       C.
 4. My opinions are summarized as follows:
        •     Ackerman has not produced documents or information capable of
              supporting its claimed damages of over $50 million as alleged in their
              pleadings.
        •     Ackerman has not provided sufficient information to correctly assess their
              damages related to the Services Agreement contract termination and certain
              damages are unsupported and speculative.

 5. I am being compensated at the rate of $465/hour for my time. Whitley Penn is
       being compensated for time incurred by other professionals who have supported
       my analysis in this matter at $110 to $465 per hour. Neither Whitley Penn nor
       my compensation is dependent on the outcome of this litigation.

 6. The services performed by Whitley Penn do not constitute an examination of
       financial statements or financial data in accordance with generally accepted
       auditing standards. I am not issuing any opinions based on an audit or examination
       of any financial statements in accordance with generally accepted auditing
       standards. The opinions contained in this report have been formulated based on
       an independent third-party perspective, utilizing generally accepted procedures.

 7. This report is not to be copied or made available to third parties not associated
       with the above described litigation without the express written consent of Whitley
       Penn. Whitley Penn is not responsible for any unauthorized use of this report.

 II.        QUALIFICATIONS
 8. I have a Bachelor of Science (BS) degree in accounting and marketing from
       Millikin University, which I received in 1984. I have a Masters in Business
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      Administration (MBA) from Stephen F. Austin University, which I received in
      1994. I have a Juris Doctorate (JD) from Texas Wesleyan University School of
      Law (n/k/a Texas A&M School of Law) which I received in 2005. I have earned
      the following credentials: Certified Public Accountant (CPA), Accredited in
      Business Valuation (ABV), and Certified Fraud Examiner (CFE). I am also a
      licensed attorney in the state of Texas.

 9. As a Certified Public Accountant with specializations in business valuation, fraud
      and forensics, I am required to participate annually in continuing professional
      education courses with emphasis in my areas of specialization (120 hours every
      3 years). I am and always have stayed in compliance with the continuing
      professional education hours. As a licensed attorney, I am required to participate
      annually in continuing legal education (at least 15 hours every year). I am and
      always have stayed in compliance with the continuing legal education hours,
      exceeding the requirements most years.

 10. I am a member of numerous professional organizations that provide additional
      resources and up-to-date information on changes in the areas of forensic
      accounting, business valuations, and economic damages.             A list of the
      professional organizations is included in my CV attached as Exhibit A.

 11. My accounting career spans over thirty years. My experience includes work as an
      internal auditor at a Fortune 100 company, a corporate controller at a financial
      institution, and for the past fifteen years as a public accountant serving as a
      financial expert specializing in the areas of business valuation, forensic
      investigations, tracing and characterization, lost profits and economic damages. I
      regularly prepare analyses related to economic damage claims as well as review
      claims of other experts, offering rebuttal testimony on those claims, as warranted.

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        A copy of my curriculum vitae is attached as Exhibit A. Exhibit B includes a list
        of prior cases in which I have testified as an expert at trial or deposition in the
        preceding four (4) years.

 12. I regularly speak at continuing education courses for attorneys and accounting
        professionals. Certain of those courses also require the submission of a paper. A
        list of publications I have authored in the preceding ten (10) years is included in
        my CV, attached as Exhibit A.


 III.     OPINIONS
 In my opinion, Ackerman has not produced documents and information which
 support its claimed damages.

 13. Several causes of action include the allegation Ackerman suffered financial harm
        of not less than $50 million as a result of business Ackerman has lost or did not
        receive. The precise amounts of the financial harm are not determined for each
        cause of action.

 14. I understand that regarding financial harm, Ackerman must prove first the loss is
        related to the alleged wrongful act and NRA caused the damages. Once the
        fact/causation of damages has been established, the amount of damages may be
        calculated. One need not determine the exact amount of the economic damages,
        but any assumptions and projections must have a reasonable basis. Opinions or
        estimates of lost profits must be based on objective facts, figures, or data from
        which the amount of lost profits can be ascertained. When economic damages are
        remote, speculative, hypothetical, and not within the realm of reasonable
        certainty, they cannot be recovered.

 15. To perform such an analysis, I would expect to be provided with an expert report
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      identifying and quantifying lost business profits from other Ackerman clients that
      quit doing business with Ackerman and evidence they did so as a result of the
      NRA, as well as an analysis of lost profits from new clients that specifically
      refused to contract with Ackerman because of the business reputation harm and
      disparagement allegedly caused by NRA. The supporting documentation for such
      an analysis would likely include evidence from clients describing their reasons
      for leaving Ackerman, as well as evidence from prospective clients refusing to
      engage with Ackerman as a result of reputational harm. Additional evidence
      would include forecasts of expected revenue, costs and net profits from this lost
      business based on quantifiable deliverables. This damage analysis would also
      have to specifically exclude any lost profits/lost business that affected Ackerman
      as a result of the recent global pandemic, among other factors that could adversely
      affect Ackerman’s operating results. Additionally, Ackerman has a duty to
      mitigate damages. As of the date of this report, no information of this kind has
      been provided by Ackerman related to these damage claims.

 16. Ackerman provided their 2016-2019 Income Statement and Consolidating
     Schedule of Revenues, Expenses and Net Income for the years 2016 -2019.1 The
     net income results of Ackerman, including its wholly owned subsidiary, The
     Mercury Group, Inc., indicate Ackerman had between $89,592 and $197,621 in
     operating profits for the years 2016 through 2018.2 In 2019, Ackerman reported
     an operating loss of $970,240.3

 17.Given their historical net income, to arrive at a damage claim in excess of $50


 1
   The Income Statements for 2016, 2018 and 2019 did not include the accompanying notes to the financial statements,
 which are relevant to make the income statements complete. Other pertinent financial statements such as the Balance
 Sheet and Statement of Cash Flows were not provided, nor was the Auditor’s Opinion Letter.
 2
   See AMcTX-00053145 – 53146, 53164 – 53165, and 53183 – 53184.
 3
   See AMcTX-00053204 – 53205.

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     million would require proof of lost new highly profitable relationship(s) that would
     have allowed Ackerman to increase profits substantially, with little risk of failure.
     As of the date of this report, no information has been provided by Ackerman to
     warrant this size damage claim. And, given the small operating profits of
     Ackerman for the years 2016 - 2018, their claim of over $50 million in damages
     is remote, speculative, not within the realm of reasonable certainty, and
     unsupported by any information. At this point, a claim of over $50 million in
     damages is contradictory to any evidence produced.

 18. The NRA has not received sufficient discovery relevant for a damages analysis. I
      have reviewed the NRA’s request for documents and several of the documents
      requested by the NRA could be relevant to a damages assessment. I will update
      my report if and when these documents become available.

     In my opinion, Ackerman has not provided sufficient information to reliably
     support their damages related to the Services Agreement contract
     termination, and its damages are not supported and speculative.

 19. I reviewed the expert damages report of Daniel L. Jackson of Alix Partners
      (“Initial Jackson Report”) filed in the Virginia litigation on January 7th, 2020
      addressing amounts allegedly due to Ackerman from the NRA as a result of the
      termination of the Services Agreement, including Ackerman-Third Party NRA
      Contracts, Termination Fees, and Unpaid Invoices and Interest.

 20. Jackson filed an expert damages report in the Texas litigation on June 15, 2021
      addressing the same topics as the Virginia litigation report. In the new report, Mr.
      Jackson does not address the previously issued report; however, the new report
      appears to update Mr. Jackson’s damages calculations originally presented in the
      Virginia report. I reviewed the June 15, 2021 expert damages report and the
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      critiques and opinions expressed in this report are in response to the report filed
      in the Texas litigation, which I refer to as the “Jackson Report,” unless indicated
      otherwise.

      A. Ackerman Contract Damages

 21. The Jackson Report presents several damages calculations related to contractual
      commitments made by Ackerman. These contracts generally relate to office space
      leases, employment agreements, and other technological and operational support
      contracts. I reviewed documents provided regarding these contracts and have
      several critiques regarding the damage calculations in the Jackson Report.

      i. Office Leases

 22. The Jackson Report alleges damages for three separate office spaces leased by
      Ackerman:

              a. 10,390 square feet of space in Alexandria, Virginia at a base rate of
                  $33,767 a month through December 31, 2020;4

              b. 4,567 square feet of space in Colorado Springs, Colorado at a base rate
                  between $5,270-$6,013 a month through June 30, 2022;5 and

              c. 25,343 square feet of space in Dallas, Texas at a base rate between
                  $81,837-$97,148 a month through May 31, 2023;6

 23. Mr. Jackson makes calculations of amounts owed to Ackerman for the leases
      related to the rental office space at the three locations described above. Part of his


 4
   See AMcTX-00046341 – 46349.
 5
   See AMcTX-00046265 – 46268.
 6
   See AMxTX-00046290 – 46340.

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         rationale for assessing 100% of these costs against the NRA is based on the terms
         of the Amendment to the Services Agreement, and specifically the terms at
         Section XI.E that state

            “ … For all noncancellable contracts entered into between AMc and third parties for
            the benefit of the NRA (herein "AMc-Third Party NRA Contracts''), the NRA agrees
            to pay AMc upon such expiration or termination the balance of the compensation
            payable (emphasis added) under such AMc-Third Party NRA Contracts (including
            but not limited to, the AMc-Third Party NRA Contracts with Dana Loesch and Oliver
            North) as of the date of expiration or termination so that AMc can fulfill its
            obligations under said Contracts after expiration or termination…”

 24. This section of the Services Agreement discusses the payment of compensation
         payable under Third Party Contracts. Compensation is not generally a term used
         for amounts owed under lease agreements and other service contracts. Based on
         the specific use of the term compensation in this section of the Services
         Agreement, this provision seems only relevant to the contracts with the three
         identified individuals: Oliver North, Dave Valinski, and Dana Loesch.

 25. We reviewed the Services Agreement and find no other provisions indicating the
         NRA would be responsible for the payment of the three leases through the end of
         their term. All three office lease agreements were negotiated by Ackerman.
         Ackerman accepted the business risk when it signed long-term lease agreements
         for these various office spaces knowing their concentration of business revenue
         was heavily dependent on one primary client, the NRA. Regarding the Dallas
         property, Ackerman independently rented office space in one of the most
         expensive sub-markets in the Dallas-Fort Worth area.7

 26. Further, neither Ackerman nor the Jackson Report have provided any information
         regarding what the office spaces were used for and how the use specifically relates


 7
     McKinney Avenue is one of the priciest office addresses in U.S. Dallas Business Journal. November 19, 2015.

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      to the NRA. Based on publicly available information, it appears that Ackerman
      planned to or actually supported numerous clients out of its Dallas property.8 No
      support is provided to show the employees occupying the office space provided
      any services to the NRA. In addition, the Jackson Report or Ackerman should
      have provided documentation showing employees located in each of the three
      office spaces were either part of the employees whose services were severed or
      were relocated.

 27. The number of employees included within the severance calculations is twenty-
      seven employees. The office space Ackerman is requesting reimbursement for
      totals 40,300 square feet or approximately 1,493 square feet per employee.
      Without more information about the employees and their job duties and the
      specific purpose of these office spaces, the square footage per employee appears
      extremely high9 and outside the realm of reasonableness. It is my opinion the
      damages related to the office space allocation against the NRA lacks any
      appropriate analysis to show how or why these leases should be assessed against
      the NRA and, as such, is improper or is unsupported and speculative.

 28.The Jackson Report briefly mentions the impact of the COVID-19 global
     pandemic on Ackerman’s operations as it relates to the Colorado Springs,
     Colorado Office Space and its respective lease agreement and attempt to mitigate
     damages through a sub-lease. However, there is no substantive discussion or


 8
   Ackerman McQueen's Dallas office designed to reinforce client relationships. Dallas Business Journal, February 28,
 2018.
 9
   Supreme Spaces estimates employee square footage requirements are between 80 to a maximum of 500 square feet
 per employee. How Much Office Space Per Employee Do You Need? - Supreme Spaces accessed July 9, 2021.
 Antham Construction Group, Inc. suggest between 150 to 300 square feet per employee. How Much Office Space Per
 Employee Do You Need? (anthamgroup.com) accessed July 9, 2021.
 Robin at Work indicates current standard office space is 150-175 square feet per employee.
 https://robinpowered.com/blog/new-office-determine-right-office-space-size accessed July 9, 2021.


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      analysis of the impact of the pandemic on the damage assessment as it relates to
      the various office leases. According to publicly available information, Ackerman
      received $2,940,000 in 2020 and an additional $2,000,000 in 2021 for Payroll
      Protection Program (“PPP”) loans,10 which is an admission that the agency was
      impacted by the pandemic. The PPP loans were put in place to allow businesses to
      retain employees and pay rent and related expenses. Businesses have been granted
      forgiveness on many of these loans. To the extent Ackerman used forgiven PPP
      loan funds to pay rent on the office leases addressed in the damage assessment,
      there should be a reduction in the damage assessment for these forgiven PPP funds.
      Otherwise the receipt of damages from the NRA in addition to the PPP loan
      proceeds would result in a wind-fall double payment to Ackerman.

      ii. Firewall Storage and Disaster Recovery Contracts

 29. In Section A(iv.)(f.), the Jackson Report calculates damages owed to Ackerman
      for upgraded firewall, storage, and disaster recovery solutions. There are three
      contracts for which damages are calculated:

              a. Cisco Systems contract for $5,526 per month for 36 months through
                  April 30, 2021;11

              b. Dell Financial Services contract for $6,426 per month for 60 months
                  through June 1, 2023;12 and

              c. iLand Internet Solutions contract for $10,253 per month for 36 months
                  through March 22, 2021;13


 10
    See Exhibit 1.
 11
    See AMcTX-00045403 – 0045407.
 12
    See AMcTX-00045408 – 0045413.
 13
    See AMcTX-00045414 – 0045455.

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 30.Although the contracts with Cisco and Dell appear to be for leasing equipment, the
     contract with iLand Internet Solutions is different. Most of the contract with iLand
     is for cloud storage which is sold per gigabyte (GB). With the termination of the
     NRA services agreement, this amount of cloud storage was likely no longer
     needed. Therefore, Ackerman could have potentially mitigated its damages by
     renegotiating the terms of the iLand contract and reducing the storage fees. The
     Jackson report instead calculates damages assuming the entire contract is in place
     for the entire time frame.

 31.Furthermore, in calculating the damages for all three IT contracts, the Jackson
     report relies on the initial contract to estimate the damages for the entire time
     frame, rather than providing documentation showing the costs actually incurred by
     Ackerman from July 2019 to the present.

 32.We note the contract provided to us and used to estimate damages for the iLand
     contract is based on an unexecuted contract. We were not provided any documents
     to indicate this contract was actually executed without any changes to the terms.

 33.The Jackson Report assesses 25% of the costs related to the upgraded firewall,
     storage and disaster recovery solutions to the NRA. His only statement regarding
     this is he “understands that it is estimated that the equipment was utilized to
     approximately 25-40% of its used capacity for purposes of the work related to the
     NRA.” As a financial expert calculating damages, I would expect Mr. Jackson to
     perform his own assessment on the costs related to the NRA work. This would
     require him to receive substantial additional information from Ackerman
     regarding both their other clients and more detail about the NRA client and the
     costs related to NRA. Without this independent assessment, Mr. Jackson’s analysis
     is inadequate to sufficiently support the use of 25% of the total costs as an

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      appropriate percentage to use for the claim against the NRA.

      iii. Ackerman Employment Agreements

 34. Section A(v.) of the Jackson Report presents damage calculations for employment
      agreements with three individuals:

              a. Oliver North through May 15, 2021 to serve as the host of NRATV
                   documentary series titled “American Heroes”;14

              b. Dave Valinski through May 15, 2021 to serve as Executive Assistant to
                   Col. North;15 and

              c. Dana Loesch through December 31, 2020 to serve as National
                   Spokesperson for the NRA.16

 35. Similar to our critiques previously, employment agreement calculations discussed
      in Section A(v.) of the Jackson Report do not require estimation, as these contracts
      have run their term and actual payments made would be additional and better
      source documents we would expect to see to prove out these claims. We believe
      the amounts calculated by Mr. Jackson are overstated.

 36. Specifically, it is our understanding Dana Loesch entered into arbitration with
      Ackerman in mid-2019.17 It is now two years later and except for some legal
      invoices, Ackerman has not provided documentation regarding the Loesch
      arbitration or any information regarding any settlement with Ms. Loesch of the
      amounts to be paid. Matters are complicated (and not discussed in the Jackson

 14
    See AMc-056595 – 056604.
 15
    See AMc-036766 – 036775.
 16
    See AMc-000055 – 000076.
 17
    See Jackson Report, pg.15 which refers to “expenses that arise from the Loesch arbitration.”


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      Report) by Ms. Loesch’s highly publicized remarks during her time on NRATV,
      which generated significant negative media attention for the NRA, such as the
      Thomas the Tank Engine incident.18 Ms. Loesch’s contract includes termination
      provisions for cause and is cancellable.

 37. Similarly, Ackerman has not provided adequate documentation to assess Mr.
      North’s contract. For example, I lack critical information related to Mr. North’s
      admission to the NRA that he was not performing on his contract to film TV
      episodes of “American Heroes.”19

 38. In regards to Mr. Valinski’s payments, we reviewed the Valinski Employment
      Agreement and determined it allowed for either party to terminate the agreement
      for “convenience” upon 30 days written notice to the other party. 20 Ackerman
      could have exercised this option and mitigated any potential damages it might
      have under the Valinski Employment Agreement. Applying this 30 day
      termination clause, Ackerman would be entitled to damages for only 30 days after
      the termination of the Services Agreement, regardless of the amount actually paid
      by Ackerman. The Jackson Report calculates the remaining costs relating to Mr.
      Valinski’s contract are approximately $229,000 as damages owed to Ackerman
      by NRA. We disagree with this because of the Termination for Convenience
      provision in this employment contract. Applying the 30 day termination clause,
      the most the damages might be due to Ackerman for Mr. Valinski’s contract



 18
    Perez, Maria, September 11, 2019. N RA TV Airs Photo of Thomas The Tank Engine In KKK Hood In 'Ethnic
 Diversity'     Segment:    https://www.newsweek.com/nra-tv-thomas-tank-engine-kk-hood-ethnic-diversity-segment-
 1115652.
 19
    NRA-AMc_00059426 – 00059430.
 20
    See AMc-036766. Per Employment Agreement effective September 4, 2018 between Dave Valinski and Ackerman
 McQueen. There is a provision in the contract entitled “Termination for Convenience”, which states either party may
 terminate the agreement at any time prior to the expiration of the term, without cause or penalty, upon 30 days’ written
 notice to the other party.

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      would be approximately $10,000.21

      B. Termination Fees
      i. Employee Severance


 39. The Jackson Report provides damages calculations as a result of the termination
      of the Services Agreement, including a discussion of the termination fee allegedly
      owed by NRA to Ackerman. We disagree with the termination fee calculations in
      regard to employee severance. Similar to our critiques previously, employee
      severance calculations discussed in Section B(i) of the report should no longer be
      an estimation calculation. Instead, supporting documentation of the actual
      amounts paid to the employees for their termination of service should be used to
      identify an amount to claim for damages against the NRA.

 40. In order to assess the damages related to employee severance, we would need
      information to show all employees who were terminated actually worked on NRA
      projects including their job description, duties, and a list of clients each employee
      worked on. Mr. Jackson should have been provided information to make an
      independent assessment of each of the employees listed on the severance
      worksheet. Instead, he merely opines that the calculations performed by
      Ackerman are reasonable, without reviewing any supporting documents to verify
      the salaries paid or the actual amounts paid as severance to these employees that
      were allegedly terminated.

 41. To the extent the PPP loans received by Ackerman were used to retain employees,
      then the damage calculations may be lower than the Jackson report estimates.


 21
   Calculated as $9,167 for one month of salary plus $420 in FUTA, $568 in Social Security, and $133 in Medicare, the
 total damages for the Valinski contract are $10,288.

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      ii. Wind-Down Fees

 42. The Initial Jackson Report provides an analysis of $1.26 million for a Wind-Down
      Fee     related      to     television   and   video   and   business   intelligence/data
      resources/analytics services. Mr. Jackson states this Wind-Down Fee is owed to
      Ackerman to provide “a fair and equitable termination fee to compensate it for
      inevitable severances and other reasonable costs incurred in conjunction with
      such expiration or termination” of the Services Agreement. This fee appears to be
      an attempt to double-dip under the terms of the Agreement as other portions of
      the Jackson Report create specific calculations for severance payments to the
      employees as well as other costs for winding-down and terminating outside
      services used for the NRA Service Agreement. The updated Jackson Report filed
      in Texas on June 15, 2021 does not include an analysis for Wind-Down Fees that,
      in our opinion, appropriately should be excluded from any damage calculations
      alleged by Ackerman.

      C. Past Due Invoices and Invoices Paid Late

 43. Section C. of the Jackson Report consists of a list of invoices which Ackerman
     alleges the NRA is contractually obligated to pay for which NRA has not yet
     remitted payment along with accruing interest charges for the alleged late payment
     of those invoices. Section C also includes calculations of interest owed on invoices
     paid late.
 44.While documents were provided showing each invoice, many invoices are
     extremely vague and fail to identify details of the services provided by or paid for
     by Ackerman and how those expenses relate to the NRA Services Agreement. For
     example, Exhibit 7 of the Jackson Report, references an invoice #166109 for “NR-
     Legal – Legal Fees” for $81,811. An examination of this invoice, shows there are

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      actually two invoices, one from McDermott Will and Emery for $39,938 for “0011
      contract dispute” and another from Dorsey & Whitney, LLP for $42,773 for “legal
      services rendered.”22 There is no additional documentation provided by Ackerman
      to support these legal fees should be paid by the NRA. Other invoices included in
      Exhibit 7 are similarly vague. Based on my review of the Services Agreement,
      Sections 3(A) and 3(D), as well as projects outlined in Section I(B), AMc is clearly
      required to obtain approval for a variety of the expenses outlined in Exhibit 7,
      including advertising and creative services, travel expenses and special
      assignments.
 45. The Services Agreement, Section III(E) states the “NRA shall notify AMc of any
      questions concerning any invoices.”23 The NRA has repeatedly asked for
      documentation surrounding the invoices, provided clear instructions surrounding
      their documentation requests,24 and Ackerman failed to comply . Because the NRA
      has questioned the validity of invoices and has requested additional detail
      supporting documents to support the amounts charged by Ackerman, until
      Ackerman complies with the request for additional supporting documents, NRA
      should not be assessed interest on late payments for the invoices it disputes.


 IV.     CONCLUSION & RIGHT TO SUPPLEMENT
 46. A list of documents considered and reviewed for this report is included as Exhibit
       C attached to this report.

 47. Discovery is ongoing, and I reserve the right to consider any additional
      information produced by either party and amend my report, as necessary, up to the
      point of my intended testimony.

 22
    See AMcTX-00046116 – 46118.
 23
    See AM 00000162 – 172.
 24
    NRA-AMc_00064218 – 64230.

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  Respectfully submitted,




  Autumn V. Kraus, CPA·ABV, CFE, JD
  Whitley Penn
  Date: July 15, 2021




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                                   EXHIBIT A - CV




  Whitley Penn Report 07.15.2021      Exhibit A

                                                                       APP. 01783
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                                   EXHIBIT B – Testimony List




  Whitley Penn Report 07.15.2021            Exhibit B

                                                                            APP. 01784
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                                         EXHIBIT C
                                     Documents Reviewed


          •    AMc-000001 – 003143                    •   AMc-006168 – 006170
          •    AMc-002488 – 002494                    •   AMc-006173 – 006177
          •    AMc-003369 – 003372                    •   AMc-006203 – 006206
          •    AMc-003445                             •   AMc-006214 – 006224
          •    AMc-003494 – 003498                    •   AMc-006264 – 006269
          •    AMc-003549 – 003551                    •   AMc-006339 – 006342
          •    AMc-003553 – 003555                    •   AMc-006416 – 006423
          •    AMc-003602 – 003606                    •   AMc-006490 – 006495
          •    AMc-003643 – 003649                    •   AMc-006626 – 006630
          •    AMc-003979 – 003984                    •   AMc-006635 – 006642
          •    AMc-004100 – 004120                    •   AMc-006673 – 006682
          •    AMc-004269 – 004272                    •   AMc-006719 – 006726
          •    AMc-004495 – 004499                    •   AMc-006872 – 006876
          •    AMc-004570 – 004575                    •   AMc-006887 – 006898
          •    AMc-004607 – 004609                    •   AMc-006996 – 007002
          •    AMc-004634 – 004639                    •   AMc-007051 – 007054
          •    AMc-004664 – 004666                    •   AMc-007060 – 007065
          •    AMc-004671 – 004676                    •   AMc-007071 – 007073
          •    AMc-004823 – 004826                    •   AMc-007169 – 007175
          •    AMc-004960 – 004970                    •   AMc-007234 – 007240
          •    AMc-004989 – 004995                    •   AMc-007295 – 007299
          •    AMc-005042 – 005045                    •   AMc-007314 – 007317
          •    AMc-005077 – 005081                    •   AMc-007321 – 007325
          •    AMc-005129 – 005137                    •   AMc-007341 – 007347
          •    AMc-005184 – 005194                    •   AMc-007367 – 007370
          •    AMc-005233 – 005235                    •   AMc-007385 – 007399
          •    AMc-005439                             •   AMc-007490 – 007492
          •    AMc-005573 – 005580                    •   AMc-007627 – 007634
          •    AMc-005746 – 005748                    •   AMc-007637 – 007641
          •    AMc-005891 – 005895                    •   AMc-007674 – 007678
          •    AMc-005921 – 005924                    •   AMc-007690 – 007695
          •    AMc-005946 – 005950                    •   AMc-008026 – 008030
          •    AMc-006017 – 006020                    •   AMc-008125 – 008128
          •    AMc-006073 – 006077                    •   AMc-008402 – 008408
          •    AMc-006152 – 006154                    •   AMc-008471 – 008477


  Whitley Penn Report 07.15.2021          Exhibit C

                                                                                APP. 01785
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          •    AMc-008614 – 008621               •    AMc-013114 – 013115
          •    AMc-008731 – 008752               •    AMc-013266
          •    AMc-008766 – 008771               •    AMc-013407 – 013482
          •    AMc-008818 – 008823               •    AMc-015002 – 015004
          •    AMc-008837 – 008842               •    AMc-018990
          •    AMc-008917 – 008927               •    AMc-019097 – 019098
          •    AMc-009340 – 009345               •    AMc-019708 – 019720
          •    AMc-009438 – 009445               •    AMc-019738 – 019753
          •    AMc-009592 – 009598               •    AMc-019791 – 019824
          •    AMc-009651 – 009661               •    AMc-019826
          •    AMc-009757 – 009789               •    AMc-019828 – 019829
          •    AMc-009793 – 009803               •    AMc-019965 – 019973
          •    AMc-009813 – 009816               •    AMc-020429
          •    AMc-009833 – 009843               •    AMc-021089
          •    AMc-009877 – 009913               •    AMc-021220
          •    AMc-009975 – 009984               •    AMc-021241 – 021254
          •    AMc-010007 – 010015               •    AMc-021267 – 021293
          •    AMc-010079 – 010092               •    AMc-021335 – 021340
          •    AMc-010169 – 010176               •    AMc-021426 – 021431
          •    AMc-010181 – 010191               •    AMc-021630 – 021639
          •    AMc-010207 – 010213               •    AMc-021712 – 021717
          •    AMc-010277 – 010284               •    AMc-021980 – 021982
          •    AMc-010391 – 010396               •    AMc-021990 - 022043
          •    AMc-010405 – 010414               •    AMc-022045 – 022063
          •    AMc-010454 – 010457               •    AMc-022224
          •    AMc-010519 – 010528               •    AMc-022393 – 022395
          •    AMc-010546 – 010551               •    AMc-022401 – 022402
          •    AMc-010606 – 010614               •    AMc-022404 – 022427
          •    AMc-010624 – 010628               •    AMc-022540 – 022542
          •    AMc-010654 – 010660               •    AMc-022552 – 022553
          •    AMc-010667 – 010671               •    AMc-022570
          •    AMc-010934 – 010937               •    AMc-022653 – 022655
          •    AMc-010943 – 010947               •    AMc-022696
          •    AMc-010959 – 010967               •    AMc-022710 – 022727
          •    AMc-011140 – 011144               •    AMc-023003 – 023004
          •    AMc-011210 – 011214               •    AMc-023006 – 023008
          •    AMc-011370 – 011372               •    AMc-023405 – 023416
          •    AMc-011515 – 011580               •    AMc-023422 – 023433
          •    AMc-012968 – 012970               •    AMc-023491 – 023502
          •    AMc-013093                        •    AMc-025321 – 025323
          •    AMc-013100                        •    AMc-025594

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                                                                            APP. 01786
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          •    AMc-025730                        •    AMcTX-00036891 – 00043494
          •    AMc-025732 – 025734               •    AMcTX-00043499
          •    AMc-025741 – 025754               •    AMcTX-00045364 – 00045365
          •    AMc-025810 – 025885               •    AMcTX-00045368 – 00045387
          •    AMc-026263 – 026275               •    AMcTX-00045395 – 00045462
          •    AMc-026303 – 026315               •    AMcTX-00045467 – 00045470
          •    AMc-027617                        •    AMcTX-00045502 – 00045504
          •    AMc-027622 – 027623               •    AMcTX-00045510 – 00045519
          •    AMc-027625                        •    AMcTX-00045556 – 00045578
          •    AMc-027634 – 027635               •    NRA-AMc_00045619
          •    AMc-027639 – 027820               •    NRA-AMc_00045626 –
          •    AMc-036766 – 036775                    00045627
          •    AMc-039154 – 039168               •    NRA-AMc_00048503 –
          •    AMc-040053 – 040067                    00048514
          •    AMc-041806 – 041820               •    NRA-AMc_00050600 –
          •    AMc-041863 – 041868                    00050610
          •    AMc-041869                        •    NRA-AMc_00052210 –
          •    AMc-041973                             00052352
          •    AMc-041988 – 041990               •    NRA-AMc_00052461 –
          •    AMc-041994 – 042000                    00052505
          •    AMc-042009 – 042015               •    NRA-AMc_00052595 –
          •    AMc-042051 – 042061                    00052639
          •    AMc-042066                        •    NRA-AMc_00052665 –
                                                      00052711
          •    AMc-042087 – 042088
                                                 •    NRA-AMc_00054474 –
          •    AMc-042092 – 042098
                                                      00054874
          •    AMc-042111 – 042121
                                                 •    NRA-AMc_00054878 –
          •    AMc-042125 – 042131
                                                      00055122
          •    AMc-042136
                                                 •    NRA-AMc_00055834
          •    AMc-056592 – 056593
                                                 •    NRA-AMc_00055944
          •    AMc-056595 – 056604
                                                 •    NRA-AMc_00056150 –
          •    AMc-056721 - 056730
                                                      00056556
          •    AMc-057610 – 057611
                                                 •    NRA-AMc_00057262 –
          •    AMc-058265 – 058266
                                                      00057265
          •    AMc-058561 – 058563
                                                 •    NRA-AMc_00059415 –
          •    AMc-059032 – 059036                    00059432
          •    AMc-059376 – 059377               •    NRA-AMc_00059931 –
          •    AMc-059298 – 059299                    00059934
          •    AMc-059503 – 059504               •    NRA-AMc_00059956 –
          •    AMc-059822 – 059823                    00059957
          •    AMcTX-00000763                    •    NRA-AMc_00060185
          •    AMcTX-00019289

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                                                                         APP. 01787
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         •    NRA-AMc_00060542 –                •     NRA-AMc_00071193 –
              00060559                                00071194
         •    NRA-AMc_00061215                  •     NRA-AMc_00071259 –
         •    NRA-AMc_00061216 –                      00071291
              00061226                          •     NRA-AMc_00079126
         •    NRA-AMc_00062672 –                •     NRA-AMc_00079132
              00062827                          •     NRA-BK-00037422 – 00037429
         •    NRA-AMc_00062871 –                •     NRA-NYAG-00060085 –
              00063095                                00060089
         •    NRA-AMc_00063292 –                •     OLN00009
              00063319                          •     OLN00043 – 00045
         •    NRA-AMc_00063518 –                •     OLN00052 – 00055
              00063714                          •     OLN00131 – 00133
         •    NRA-AMc_00063992                  •     OLN00155 – 00160
         •    NRA-AMc_00064235 –                •     OLN00178 – 00184
              00064250                          •     OLN00210 – 00211
         •    NRA-AMc_00064256 –                •     OLN00225 – 00397
              00064275                          •     OLN00398 – 00402
         •    NRA-AMc_00064316 –                •     PIP-00000001 - PIP-00004465
              00064318                          •     AMcTX-00046111 – 00046116
         •    NRA-AMc_00068702 –                •     AMcTX-00046084 – 00046101
              00068704
                                                •     AMcTX-00046126 – 00046140
         •    NRA-AMc_00068869 –
                                                •     AMcTX-00046141 – 00046167
              00068871
                                                •     AMcTX-00046119 – 00046125
         •    NRA-AMc_00068943 –
                                                •     AMcTX-00046102 – 00046110
              00068945
                                                •     AMcTX-00046341 – 00046349
         •    NRA-AMc_00068947 –
                                                •     AMcTX-00046179 – 00046198
              00068949
                                                •     AMcTX-00045464
         •    NRA-AMc_00068951 –
                                                •     AMcTX-00045471 – 00045476
              00068955
                                                •     AMcTX-00045483 – 00045501
         •    NRA-AMc_00068957 –
              00068962                          •     AMcTX-00045506 – 00045509
         •    NRA-AMc_00068964 –                •     AMcTX-00046071 – 00046083
              00068967                          •     AMcTX-00046169 – 00046173
         •    NRA-AMc_00068969 –                •     AMcTX-00046199
              00068973                          •     AMcTX-00046213 – 00046257
         •    NRA-AMc_00068975 –                •     AMcTX-00046259 – 00046263
              00068979                          •     AMcTX-00046265 – 00046269
         •    NRA-AMc_00068981 –                •     AMcTX-00046274 – 00046281
              00068988                          •     AMcTX-00046286 – 00046382
         •    NRA-AMc_00069739 –                •     AMcTX-00046389
              00069740                          •     AMcTX-00054116 – 00054117

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                                                                           APP. 01788
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          •    AMcTX-00054698 – 00054699               •   AMcTX-00061094 – 00061095
          •    AMcTX-00055789 – 00055790               •   AMcTX-00061256 – 00061257
          •    AMcTX-00055926 – 00055927               •   AMcTX-00061352 – 00061353
          •    AMcTX-00056632 – 00056633               •   AMcTX-00061482 – 00061483
          •    AMcTX-00059825 – 00059826               •   AMcTX-00061581 – 00061582
          •    AMcTX-00059946 – 00059947               •   NRA-AMc_00166094 –
          •    AMcTX-00060469 – 00060470                   00166125
          •    AMcTX-00060676 – 00060677               •   AM 00000162 – 00000172
          •    AMcTX-00060876 – 00060878               •   NRA-AMc_00056994 –
          •    AMcTX-00061002 – 00061003                   00056997




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                      EXHIBIT 64




                                                                       APP. 01790
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                                                                      APP. 01791
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                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION


   NATIONAL RIFLE ASSOCIATION OF                     §
   AMERICA,                                          §
                                                     §
          Plaintiff and Counter-Defendant,           §
                                                     §
   And                                               §
                                                     §
   WAYNE LAPIERRE,                                   §
                                                     §
          Third-Party Defendant                      §
                                                     §      Case No. 3:19-cv-02074-G
   v.                                                §
                                                     §
   ACKERMAN MCQUEEN, INC.,                           §
                                                     §
          Defendant and Counter-Plaintiff,           §
                                                     §
   And                                               §
   MERCURY GROUP, INC., HENRY                        §
   MARTIN, WILLIAM WINKLER, and                      §
   MELANIE MONTGOMERY,                               §
                                                     §
          Defendants.




           Expert Report of Larry Kanter CPA, CFF, CFE
                           July 15, 2021
                                          Introduction

   Kanter Financial Forensics, LLC (“KFF”) has been retained by the NRA (the “Association”)
   to assist their law firm, Brewer, Attorneys & Counselors (“Brewer”) in connection with its
   lawsuit against Ackerman McQueen, Inc and Mercury Group, Inc.; Henry Martin, William
   Winkler, and Melanie Montgomery (for simplicity, in this report we will refer to the
   defendants collectively as (“AMc”). Generally, the purpose of our retention is to perform an
   analysis of the available documents and information produced in connection with this
   litigation for the purpose of investigating and commenting on the opinions contained in the
   Expert Report submitted by Daniel Jackson dated June 15, 2021.




                                                1

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                                    Qualifications and Experience

    My Curriculum Vitea as well as my Rule 26 Disclosures can be found in Exhibit A to this
    report.
                                       Understanding

    We understand that the above captioned lawsuit involves a range of claims and
    counterclaims among the parties. In his Expert Report, Mr. Jackson refers to AMc’s
    counterclaims and identified the following breaches alleged by AMc:

       •   Breach of the NRA’s obligations to pay for services rendered during litigation;
       •   Breach of the NRA’s obligation to pay invoices for services prior to termination;
       •   Breach of the indemnification clause of the Services Agreement;
       •   Breach of the NRA’s obligation to post a $3 million letter of credit;
       •   Breach of the NRA’s obligation to pay invoices timely; and
       •   Breach of the NRA’s obligation to pay a termination fee.

                                          Information Sources

    In his Expert Report, Mr. Jackson has segmented his opinions into four sections, each of
    which has a subsection:

       A. AMc-Third Party Contracts
              i. Alexandria, Virginia Office Space (Mercury Group)
              ii. Colorado Springs, Colorado Office Space
              iii. Dallas, Texas Office Space
              iv. Other AMc -Third Party Contracts
                       a. Additional Contracts Related to the Alexandria Office
                       b. Additional Contracts Related to the Colorado Springs Office
                       c. Additional Contracts Related to the Dallas Office
                       d. NRATV Farmville Studio
                       e. Stock Photography
                        f. Firewall, Storage, and Disaster Recovery
                       g. Federal Firearms License (FFL) Services
                       h. Other Cellular Services
              v. AMc Employment Agreements
                       a. Oliver North
                       b. Dave Valinski
                       c. Dana Loesch
       B. Termination Fee
              i. Employee Severance
              ii. Office Disassembly
       C. Past Due Invoices and Invoices Paid Late
       D. Legal Fees

    A list of the materials considered in the preparation of this report has been provided in
    Exhibit B to this report.

                                                       2

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                                                Opinions

   Additional support for the following opinions can be found in Exhibit C which is an Excel
   Workbook that will be produced in .pdf form as well as electronically as an Excel file.

   Opinion 1

   Mr. Jackson submitted an Expert Report that alleges that AMc incurred expenses to
   various parties on behalf of, or as a result of, work performed for the NRA for which the
   NRA is contractually liable. However, Mr. Jackson has performed little, if any independent
   analysis of AMc’s damage claims and has provided inadequate documentation that
   evidences the actual payment of monies to third parties. If AMc is attempting to recover
   monies in excess of amounts actually paid to third parties, those amounts are not
   recoverable.

   Basis for Opinion 1

   As an expert witness, it is my understanding that Mr. Jackson is required to provide
   testimony that will help the trier-of-fact understand the evidence or determine a fact at
   issue and that his opinions: (a) will be based on sufficient reliable facts or data, (b) will be
   the product of reliable methods that have been applied to the facts of the case, and (c) that
   the principles and methods utilized can be tested. Mr. Jackson’s Expert Report contains
   little information that can be subjected to independent analysis.

   Opinion 2

   Many of the supporting documents included as justification or evidence of AMc’s damages
   are incomplete or inappropriate. In the case of certain contracts, the contracts provided
   were not executed. Further, Mr. Jackson has given no indication that he traced back or
   confirmed that the documents provided by AMc evidence payments made by, are liabilities
   of, or solely relate to work performed on behalf of the NRA.

   Basis for Opinion 2

   We noted that evidence of budgets for work to be performed by AMc may exist, such as
   NRA-AMc_00185553 - NRA-AMc_00185568. However, those documents appear to be drafts
   and there is no evidence that the NRA actually approved those budgets. Significantly, we
   found no references to the existence of approved budgets in Mr. Jackson’s Expert Report.

   In addition, the following are examples of the issues identified in the above opinion:

      •   AMcTX-00045414-AMcTX-00045455: is a $369,123 item from iland Internet Solutions
          Corporation in Mr. Jackson’s Expert Report, Exhibit 3a. This document is not completed, nor is it
          executed.
      •   AMcTX-00045408: is a $385,582 item from Dell in Mr. Jackson’s Expert Report, Exhibit 3a that is
          again, not executed.


                                                      3

                                                                                                  APP. 01794
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        •    AMc-036766: is a $228,659 item from an Employment Agreement (Valinski) in Mr. Jackson’s
             report, Exhibit 4 that is labeled draft and again, not executed.
        •    AMcTX-00046389: allegedly supports a $9,900 item for FFL services from Axis Corporate Security
             in Mr. Jackson’s Expert Report, Exhibit 3. This document is an invoice from Axis Corporate
             Security for a May 2019 retainer fee for Firearms Acquisition, Storage, Transport, Transfer, RSO
             duties and Investigations. There is no reference this was not a one-time fee and no evidence the
             services were continued monthly from July through September 2019.
        •    AMcTX-00046372: is an Excel spreadsheet that Mr. Jackson alleges supports a $509,492 item for
             COBRA bonus payments set forth in his Exhibit 5a. This support is nothing more than an Excel
             sheet listing employees and monthly amounts that sum to the total listed in Mr. Jackson’s
             Expert Report. There is no third-party support such as bank statements, payroll records, or
             COBRA documents of actual payment to support the amounts. In addition, there is no evidence
             that Mr. Jackson performed any tests or procedures that substantiate the numbers provided.
        •    AMcTX-00046381 and AMcTX-00046382: allegedly supports the $1,929,146 in unpaid employee
             severance in Mr. Jackson’s Expert Report, Exhibit 5. This support contains two Excel files which
             list individuals’ names, personnel data, and amounts. There are no third-party support
             documents such as payroll records, employee payroll registers, bank statements, or other data.
             In addition, there is no evidence that Mr. Jackson performed any tests or procedures that
             substantiates the numbers provided.

  In addition, Gary B. Goolsby, an expert retained in this case to examine AMc’s compliance
  with its obligations under the Services Agreement, opined that, among other things, AMc
  failed to maintain adequate internal controls and failed to create and maintain adequate
  records. When employee time records were produced, Mr. Goolsby noted that those records
  were insufficient to validate that projects and personnel were correctly allocated and billed
  to the NRA as required by this Services Agreement1. In one example, Mr. Goolsby
  determined that AMc billed the NRA at least $8.8 million for the production of the
  American Heroes documentary series without having actually produced the series or
  providing appropriate supporting documentation.

  Opinion 3

  Ackerman McQueen is an independent business that is not affiliated with the NRA and, as
  such, has its own employees, offices, and corporate overhead. Ackerman McQueen has
  clients other than the NRA. Mr. Jackson attempts to attribute all office and employee
  related expenses in his Expert Report as the responsibility of the NRA without any analysis
  of how those offices or employees were utilized.

  Basis for Opinion 3

  According to Mr. Jackson, “AMc is a corporation organized and existing under the laws of
  the State of Oklahoma with its principal place of business in Oklahoma City, Oklahoma
  and is in the business of providing comprehensive communications services including public
  relations, crisis management, strategic marketing, advertising and creative, as well as
  owned media and internet services.”2 Mr. Jackson provided no evidence that the NRA has

  1
      Expert Report of Gary B. Goolsby dated June 1, 2021.
  2
      Expert Report of Daniel Jackson dated June 15, 2021, p. 8.

                                                            4

                                                                                                    APP. 01795
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   any ownership interest in or, management control over AMc, its affiliate Mercury Group
   nor does he allege that AMc is not an independent enterprise that is responsible for its own
   strategic direction and pursuit of clients.

   Throughout his Expert Report, Mr. Jackson attributes costs of employee severance and
   office closures in Alexandria, VA, Colorado Springs, CO, and Dallas, TX to the NRA.
   However, at no point does Mr. Jackson reveal that he performed an analysis of how each
   one of these offices or employees were utilized, whether other clients were serviced out of
   that office or undertake any effort to determine how much, if any of the costs are even
   properly attributable to the NRA. Significantly, Mr. Jackson provides no evidence that the
   NRA approved AMc’s entering into any of those leases.

   In fact, the evidence supports the opposite conclusion, namely, that AMc attempted to
   leverage its client relationship with the NRA by expanding its geographic reach to other
   markets and other non-NRA related clients.

   As an example of their reach, AMc had clients that included Leap Frog in San Francisco,
   CA, which was supported by a San Francisco office, an office in London to support a push
   into the European market3, and an office in Colorado Springs to support a client
   relationship with the Colorado Springs Tourism Board that was reported to be a $750,000
   to $1,000,000 account.4

   In the early 2000s, AMc President David Lipson, stated “Dallas and San Francisco are
   really going to be the epicenters of the agency.”5 The move to 1717 McKinney Avenue in
   downtown Dallas from its former office in Irving, TX, a suburb of Dallas, was meant to
   provide the “wow factor” of the Dallas skyline and the AMc move was meant to “reinforce
   the relationships with [AMc] clients.”6 7

   During 2013 and 2014, the period shortly before the AMc’s expansion into its new Dallas
   office space, AMc had various clients, including Lone Star Park, INTEGRIS Health,
   Chesapeake Energy, Oklahoma City Thunder, Winstar World Casino, and Chickasaw
   Nation.8

   Attempting to attribute the entirety of the employee severance and office closures of the
   Dallas, TX, Colorado Springs, CO, and Alexandria, VA offices entirely to the NRA, when
   there were clearly other accounts supported from those offices, is not appropriate. Once
   again, Mr. Jackson provides no evidence of performing any analysis as to the actual use of
   those spaces that were used by AMc’s various clients, nor has he considered that the loss of
   those client (to the extend AMc lost those clients) eliminated the need for those offices.

   Also of significance is the effect the pandemic had on AMc. According to a report published
   by ProPublica, which bills itself as an independent, nonprofit newsroom that produces
   3
     Adweek, The Ride's Far From Over At Ackerman McQueen, August 4, 2004
   4
     Adweek, Ackerman McQueen Collects 4 for $5 Mil., August 24, 1998; Colorado Springs Business Journal, CSCVB
   Hires Ackerman McQueen, October 2, 1998.
   5
     Adweek, The Ride's Far From Over At Ackerman McQueen, August 4, 2004
   6
     Dallas Business Journal, Ackerman McQueen's Dallas office designed to reinforce client relationships, February 28,
   2018
   7
     Staffelbach, Ackerman McQueen’s New Dallas Uptown Office Offers VIP Client Experience, February 12, 2014.
   8
     Largest North Texas Advertising Agencies – Dallas Business Journal – August 22, 2014.

                                                            5

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   investigative journalism, AMc was approved for a $2.9 million PPP loan on April 12, 2020,
   and another $2.0 million PPP loan on March 6, 2021. According to ProPublica, the loans
   were attributed to the preservation of 153 jobs and 125 jobs, respectively. Mr. Jackson does
   not acknowledge or consider these funds in his damage calculation. Nor is there any
   discussion regarding the current status of those jobs. It is notable that Mr. Jackson’s
   Expert Report attempts to recover $1.929 million of costs related to the severance, medical
   and payroll taxes for 27 employees, a number that is similar to the change in employee
   headcount referenced in ProPublica (153-125 = 28) as the employee count change between
   April 12, 2020, and March 6, 2021. Mr. Jackson failed to consider how these funds were
   used by AMc, as AMc apparently received these funds to assist with covering employee
   salaries and benefits during the pandemic.

   In addition, Mr. Jackson failed to provide any evidence that the opening of these offices
   were required by or approved by the NRA, nor did he even consider that the opening of
   these offices was anything other than a business decision taken by an entity independent of
   and separately operated by the owners of AMc.

   Opinion 4

   Mr. Jackson’s Expert Report attempts to recover Firewall, Storage and Disaster Recovery
   Costs. Recovery of these costs is inappropriate because AMc, as an independent
   organization that services other clients, would likely need these services to operate its
   business. Mr. Jackson, arbitrarily, without any support, assigned an allocation factor of
   25% of the cost for these services to the NRA. Assigning any of these overhead costs to the
   NRA is inappropriate.

   Basis for Opinion 4

   In Mr. Jackson’s report, the alleged termination fees related to Firewall, Storage and
   Disaster Recovery are allocated based on estimated usage, which decreased the fees to the
   percentage attributable to the NRA. Mr. Jackson has apparently, without support or
   analysis of AMc’s client mix allocated 25% of these costs, totaling $238,787, to the NRA.9 In
   his Expert Report, Mr. Jackson states, “I understand that it is estimated that the
   equipment was utilized 25-40% of its used capacity for purposes of the work related to the
   NRA.” 10

   Significantly, Mr. Jackson has provided no evidence that these alleged termination fees are
   costs that have actually been paid by AMc and he has failed to explain why these types of
   technology fees are nothing more than normal AMc overhead that are the responsibility of
   AMc.

   Opinion 5

   In his opinion attempting to recover damages for Employee Severance, Office and Leases,
   Other Contracts, Office Disassembly and Moveout, Mr. Jackson opines that 100% of those
   costs are the responsibility of the NRA. In addition to not being recoverable as damages

   9
       Jackson Report, Exhibit 3A.
   10
        Jackson Report, p. 24.

                                                 6

                                                                                        APP. 01797
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   under the Services Agreement, his attempt to recover damages for Firewall, Storage and
   Disaster Recovery Costs directly contradicts his calculation of damages for Employee
   Severance, Office and Leases, Other Contracts, Office Disassembly and Moveout.

   In paragraph 64 of his Expert Report, Mr. Jackson uses a cost allocation factor of 25% for
   Firewall, Storage and Disaster Recovery Costs. As stated in my opinion addressing those
   costs, Mr. Jackson arbitrarily, without any support, assigned an allocation factor of 25% of
   the cost for these services to the NRA. It is contradictory to, on the one hand use an
   allocation factor on one overhead related damage element while not using an allocation
   factor on another overhead related damage element.

   By using the 25% allocation, Mr. Jackson has in effect proven that AMc has other clients
   and that his attempt to recover 100% of Employee Severance, Office and Leases, Other
   Contracts, Office Disassembly and Moveout is unsupported, erroneous, and intellectually
   dishonest.

   Basis for Opinion 5

   Section XI Paragraph F of the Services Agreement dated April 30, 2017, states:

          In consideration of the dedication of a substantial number of personnel and resources to
          provide the services under this Agreement (and the necessity to maintain such staffing levels
          and resource allocations to enable AMc to continue to provide such services upon any renewals
          hereof), the NRA agrees to pay AMc a fair and equitable termination fee to compensate it for
          the inevitable severances and other reasonable costs incurred in conjunction with such
          expiration or termination. Such termination fees shall be negotiated in good faith by the parties
          and paid to AMc no later than the last day of this Agreement.

   There is no evidence that Mr. Jackson has attempted to calculate a “fair and equitable
   termination fee” as set forth in the Services Agreement dated April 30, 2017. Significantly,
   Mr. Jackson does not characterize his attempt to recover damages for the items described
   as Employee Severance, Office and Leases, Other Contracts, Office Disassembly and
   Moveout in his Expert Report as part of a “fair and equitable termination fee”.

   Section 3(A) and 3(D) of the Services Agreement dated April 30, 2017, states:

          Section 3(A) - Mailing and express charges, long distance telephone calls, photocopies,
          deliveries, sales taxes and reasonable out-of-town travel including transportation, meals and
          lodging, etc. on NRA’s express behalf, shall be billed at NRA’s cost. All out of town travel
          expenses shall require prior written approval in accordance with written procedures established
          by the NRA Executive Vice President or his designee. Payment of travel expenses not approved
          in advance may result in denial of reimbursement. Expenses not listed above shall be
          considered to be normal business expenses of AMc and not billable to NRA unless specifically
          authorized by the NRA Executive Vice president or his designee.”

          Section 3(D) - Special assignments not included this Agreement which cannot reasonably be
          included under the monthly fee must be approved in accordance with written procedures
          established by the NRA Executive Vice President or his designee, and the charges made by AMc

                                                      7

                                                                                                  APP. 01798
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           shall be agreed upon in advance otherwise such charges shall not be greater than the usual and
           customary charges for such services or expenses in the industry.11 12

   In his Expert Report, Mr. Jackson does not provide evidence that the approval
   requirements set forth in the Services Agreement were met prior to requesting payment for
   these items. In addition, he states directly in his Expert Report that “I understand that the
   upgraded firewall, storage, and disaster recovery solutions can be (and has been) also
   utilized by AMc for its other clients”.

   Opinion 6

   In Exhibit 5 and Exhibit 6 to his Expert Report, Mr. Jackson attempts to recover damages
   associated with severance payments to 27 employees and COBRA payments on behalf of 14
   employees. Mr. Jackson’s attempt to recover damages for these items is not supported by
   reliable data, has not been independently tested by Mr. Jackson and has not been computed
   in accordance with the termination fee provision of the Services Agreement.

   Basis for Opinion 6

   Section XI Paragraph F of the Services Agreement dated April 30, 2017, states:

           In consideration of the dedication of a substantial number of personnel and resources to
           provide the services under this Agreement (and the necessity to maintain such staffing levels
           and resource allocations to enable AMc to continue to provide such services upon any renewals
           hereof), the NRA agrees to pay AMc a fair and equitable termination fee to compensate it for
           the inevitable severances and other reasonable costs incurred in conjunction with such
           expiration or termination. Such termination fees shall be negotiated in good faith by the parties
           and paid to AMc no later than the last day of this Agreement.

   There is no evidence that Mr. Jackson has attempted to calculate a “fair and equitable
   termination fee” as set forth in the Services Agreement dated April 30, 2017. Mr. Jackson
   does not opine that his attempt to recover damages for the items in Exhibit 5 and 6 of his
   Expert Report are part of a “fair and equitable termination fee”. He does, however, state
   that AMc severance calculation is “reasonable” but provides no data or analysis to support
   that assertion.

   Mr. Jackson states “these employees have been placed on unpaid leave (i.e. furloughed)”. If
   an employee is placed on unpaid leave, by definition, that employee has not been
   terminated. As such, said employee has not been severed nor terminated and no
   termination fee has been incurred.

   Opinion 7

   Mr. Jackson includes costs of $6,310,698 for amounts allegedly owed to Oliver North, Dave
   Valinski and Dana Loesch as amounts due to AMc. Mr. Jackson does not provide any

   11
     Services Agreement, p.5.
   12
     The terms “shall not be greater than the usual and customary charges for such services or expenses in the
   industry” is addressed in detail in the Expert Report of Andrew McLean, dated June 1, 2021.

                                                           8

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   evidence these costs were agreed upon in advance, does not consider whether the
   terminations were for violations of rules established in the AMc Agency Handbook, nor does
   he provide evidence of approval by a NRA Executive Vice President or his designee, as
   outlined in the Services Agreement. Further, Mr. Jackson does not consider the
   Employment Agreement between Ackerman and its employees.

   Basis for Opinion 7

   I have reviewed Exhibit D to the Petition for Judicial Review and Motion to Quash or in the
   Alternative, to Modify Subpoena Duces Tecum Served on Non-Party in an Action Pending
   Outside of This State filed in December of 2019. Exhibit D apparently contains the index
   from what is represented to be AMc’s Agency Handbook. The index indicates that pages 5-
   28 contain various policies that relate to various personnel policies. Mr. Jackson has not
   referred to, or inquired of, AMc as to whether the terminations of North, Valinski and
   Loesch were made in accordance with the policies set forth in the AMc Agency Handbook
   nor has he inquired as to whether any of the aforementioned employees violated any of the
   policies contained in the Handbook.

   For example, while a host of NRATV, Ms. Loesch made several inflammatory remarks
   which generated significant negative media attention, both domestically and
   internationally, for the NRA, such as Thomas the Tank Engine13. To assess the ability of
   Ms. Loesch to make any recovery would require review of the Handbook, specially it’s
   professional conduct section. Other potential violations concern the contract with Mr.
   North. Nearly eleven months after signing his employment contract (i.e. April 2018), Mr.
   North wrote a letter to the NRA and admitted that he was not fulfilling his duties to
   produce episodes of American Heroes14.

   Mr. Jackson apparently relies on the language in Paragraph 3 of Amendment No 1 to the
   Services Agreement dated May 6, 2018, which states:

           …… For all non-cancellable contracts entered into between AMc and third parties for the benefit
           of the NRA (herein “AMc-Third Party NRA Contracts”), the NRA agrees to pay AMc upon such
           expiration or termination the balance of the compensation payable under such AMc-Third
           Party NRA Contracts (including, but not limited to, the AMc-Third Party NRA Contracts
           with Dana Loesch and Oliver North) as of the date of expiration or termination so that AMc
           can fulfill its obligations under said Contracts after expiration or termination.15

   I have reviewed the Employment Agreements identified (but not included in) Mr. Jackson’s
   Expert Report. The Employment Agreements in question do not state that they are “non-
   cancellable”. In fact, each Employment Agreement contains termination provisions.




   13
      Newsweek, “NRATV Airs Photo of Thomas The Tank Engine in KKK Hood in ‘Ethnic Diversity’ Segment.”
   September 11, 2018.
   14
      NRA-AMc_00059426 - NRA-AMc_00059430.
   15
      Amendment No. 1 to Services Agreement, pp. 1-2. AMc-056592 – AMc-056593.

                                                         9

                                                                                                      APP. 01800
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  Opinion 8

  Mr. Jackson attempts to recover legal fees of $593,264. The fees apparently relate to work
  AMc’s lawyers purportedly provided in connection with an investigation of the NRA by the
  New York Attorney General, as well as AMc’s defense of an employment arbitration
  brought by Dana Loesch. It appears that AMc seeks these fees based upon its claimed right
  to indemnification, pursuant to the Services Agreement. My understanding is that the issue
  of indemnification is legally disputed.

  Basis for Opinion 8

  Mr. Jackson is providing an opinion that is a matter of law. I have reviewed the letter from
  the General Counsel of the NRA, John Frazer, to AMc’s counsel, Gina Betts, in response to
  letters from Bill Winkler, AMc’s Chief Financial Officer.16 This letter, which Mr. Jackson
  fails to cite in his report, demonstrates the legal controversary regarding indemnification. I
  am not in a position to render a legal opinion, as I am not a lawyer, but I do note that a
  legal controversy exists.

  Opinion 9

  In August 2018, the NRA notified AMc that it was strengthening its procedures for
  documentation and verification of compliance with vendor contracts.17 The NRA followed up
  with a letter in October of 201818 providing additional guidance regarding procedures for
  compliance with the contract provisions identified in the August 2018 letter. In his Exhibit
  7 & 8, Mr. Jackson attempts to recover costs associated with allegedly unpaid vendor
  invoices and calculated interest on late payments of invoices. Mr. Jackson provides no
  evidence that the invoices identified in Exhibit 8 were, in-fact approved by the NRA, paid
  late nor does he provide any evidence that AMc actually paid interest on these invoices. In
  addition, Mr. Jackson wrongly attempts to apply the obligation set forth under Section III.
  Paragraph E. of the Services Agreement dated April 30, 2017, regarding interest associated
  with the late payment of invoices while failing to apply other relevant sections of the
  Services Agreement and the NRA’s August 2018 correspondence regarding proper support
  for invoices.

  Basis for Opinion 9

  Mr. Jackson has not provided any evidence of the approvals for payment of invoices as
  required in Section 3(A) and 3(D) of the Services Agreement dated April 30, 2017. That
  Agreement states:

             Section 3(A) - Mailing and express charges, long distance telephone calls, photocopies,
             deliveries, sales taxes and reasonable out-of-town travel including transportation, meals and
             lodging, etc. on NRA’s express behalf, shall be billed at NRA’s cost. All out of town travel
             expenses shall require prior written approval in accordance with written procedures established

  16
       Letter from John Frazer to Gina Betts dated March 4, 2020.
  17
       NRA-AMc_00068323.
  18
       NRA-AMc_00064218 – 64230.

                                                           10

                                                                                                   APP. 01801
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                                                                      APP. 01802
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                                               Exhibit A
                                           Curriculum Vitea




                                                                       APP. 01803
Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21                            Page 626 of 1087 PageID 30831




  Larry Kanter
  CPA/CFF, CFE


  Managing Director
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  Dallas, Texas 75204
  214 207-5238
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  Overview                                                Licenses, Memberships and Affiliations

  Larry Kanter, who formed Kanter Financial Forensics,    Certified Public Accountant
  LLC in 2011 is a forensic accounting professional       Certified Fraud Examiner
  with more than 20 years of combined Big 4 and
                                                          AICPA Certificate in Financial Forensics
  international consulting firm experience. He was a
  Partner at PwC, EY and was a Managing Director at       American Institute of Certified Public Accountants
  noted restructuring firm Alvarez and Marsal. He has     Member - AICPA Forensics and Valuation Section
  served in leadership and testifying expert roles in     Texas Society of Certified Public Accountants
  numerous large, complex engagements involving
                                                          Dallas Chapter, Texas Society of Certified Public
  GAAP, internal control, damage quantification and
                                                               Accountants
  fraud/forensic investigative issues. Additionally, he
  has served as a consultant in a number of               Association of Certified Fraud Examiners
  extrajudicial loan restructuring and business           Member - Business Valuations, Forensics and Litigation
  restructuring engagements involving a wide range of          Services Committee of the Texas Society of
  businesses and assets.                                       Certified Public Accountants
                                                          Faculty Member – SMU Cox School of Business
  Since 2009, Mr. Kanter has been an adjunct
  professor at Southern Methodist University’s Cox        Speaking Engagements
  School of Business where he teaches a master’s level
  course in Forensic Accounting and previously, he        Panelist – Texas Society of CPA’s Webinar – The CPA
  developed and taught SMU’s first course in Data         Expert in the COVID-19 Era.
  Analytics for masters level accounting students.
                                                          Speaker – SMU Dedman School of Law, Maguire Center for
  During his tenure in the Big 4, Mr. Kanter was on the   Ethics, Certificate in Ethics & Compliance 2018 and 2019.
  leading edge of the integration of technology and
                                                          Panelist – Texas Society of CPA’s 2017 Forensic, Valuation
  forensic accounting, having founded one of the first    and Litigation Services Conference - Using the Right E-
  forensic technology labs among the world’s largest      Discovery Firm, Data Analytics, and Data Mining in
  international accounting firms.                         Litigation.

  One of Mr. Kanter’s most noteworthy engagements         Panelist, Dallas Bar Association Business Litigation Section,
  was leading the forensic data analytics component       February 2016 – Attaining Reasonable Certainty in
  of the international investigation of the role of 26    Economic Damages Calculations.
  Swiss banks in their appropriation of funds
                                                          Speaker, Association of Certified Fraud Examiners - Dallas
  belonging to the victims of Nazi persecution.
                                                          Chapter – Institutional Fraud, November 2013.




                                                                                                               APP. 01804
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    Representative Experience                                        that were necessary for inclusion in a database of sales
                                                                     that were potentially in violation of certain non-
    Global Industrial Products Company, contract dispute –           competition covenants. We worked with the client’s IT,
    retained as a testifying expert to quantify damages              Product Development, Sales and Accounting personnel to
    associated with the breach of a long-term supply                 identify and extract all potentially relevant sales and
    agreement. The dispute was resolved shortly after the            production data over a multi-year period. The data was
    release of our report to the opposing party.                     used to reach a successful settlement with the plaintiff.

    Private equity fund, partnership dispute - calculated the        Governmental entity, forensic Investigation – retained to
    amounts to be contributed pursuant to a complex                  investigate the alleged embezzling of funds from a
    partnership like arrangement involving two large private         governmental entity by its CEO. Our work involved the
    equity investors. In addition, investigated a fraud claim        analysis of several bank accounts spanning a three-year
    filed against our client related to the management and           period and concluded with the indictment and plea
    operation of the arrangement. Presented our findings to a        agreement of the now former leader of the organization.
    three-judge arbitration panel in New York.
                                                                     Nationwide retailer, destruction of business - the plaintiff,
    Electric utility, earn-out litigation – performed an analysis    a neurologist, alleged that he sustained an injury in one of
    of the financial performance of an electricity retailer after    our client’s stores that resulted in his private neurology
    the retailer was sold to our client. Calculated the amounts      practice sustaining millions of dollars of lost income. Our
    due the seller under the earn-out agreement and                  work involved the forensic analysis of the physician’s
    submitted an expert report to the arbitrator.                    historical CPT code data as well the plaintiff’s expert’s
                                                                     damage analysis. The dispute was favorably settled
    Global retailer, point-of-sale sales tax collection litigation   shortly after Mr. Kanter’s deposition.
    – investigated the processes used to calculate the amount
    of sales tax that should be refunded when retail purchases       Physician practice – retained to reconstruct the business
    are returned by customers across sales tax jurisdictions.        records for a physician who had failed to file his tax
    Our analysis involved the matching of original sales tax         returns for a 4-year period. The engagement involved the
    collections to the sales tax refunds in an effort to             analysis of collections and disbursements involving every
    determine the accuracy of the refund calculations.               aspect of the physician’s business.

    Family office, forensic analysis – initially retained by         Nationally noted litigator and investor, shareholder
    outside counsel to perform an analysis of the accounting         oppression - performed a forensic investigation on behalf
    for a range of separate legal entities spanning several          of our client, the minority shareholder of a real estate and
    industries including real estate and investment companies        timber mining operation regarding the use of funds by the
    in an effort to determine whether a fraud investigation          majority shareholder. Our work uncovered actions by the
    was warranted. Ultimately determined that the books and          majority shareholder that resulted in a favorable buy-out
    records had been improperly maintained by the then CFO           of the minority shareholder’s interest by the majority
    and assisted with the restatement of the financial               shareholder.
    information of 30+ legal entities.
                                                                     HVAC manufacturer, product defect damage
    Class action plaintiffs, mortgage loan servicer –                quantification – evaluated and rebutted the damage
    quantified damages as a result of the wrongful collection        model prepared by the plaintiff who alleged that the raw
    of lender placed insurance premiums by one of the                material used in a/c compressors was defective thereby
    nation’s largest home mortgage loan servicers. This              leading to the early failure of the units.
    complex analysis involved almost $1 billion of premiums
    collected from both escrow accounts and through monthly          Building materials supplier, forensic investigation –
    borrower payments on more than 500,000 hazard                    investigated the embezzlement of funds by an officer of
    insurance policies spanning 10 years. Our work involved          the company. Presented our findings to the district
    the quantification of the amounts wrongfully collected by        attorney who then used the results of our work to
    the servicer and resulted in a negotiated settlement.            prosecute the officer. Our work was also used as a basis
                                                                     for a successful claim on the client’s insurance policies.
    Industrial equipment manufacturer, profits disgorgement
    litigation - located, extracted and analyzed sales,              Media company, failed acquisition litigation – the
    production and shipping data from U.S., Italy, Mexico and        proposed acquirer of a dozen television stations
    Canada based operations of a global heavy industrial             terminated its acquisition. Our work included the
    equipment manufacturer. The engagement involved the              investigation of the reasons for the failure to close the
    analysis of the data dictionaries for multiple ERP systems       transaction and involved the study of numerous GAAP
    in multiple locations in an effort to identify the data fields   accounting issues.

                                                                                                                       APP. 01805
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Larry Kanter, CPA/CFF, CFE
Rule 26 Disclosure – Testimony in the previous 4 years

  Year                      Jurisdiction                           Type                                Matter

 2021       In The Circuit Court of Cook County,           Courtroom              SunAmerica Housing Fund 229, For
            Illinois County Department, Chancery           Testimony              Itself and on Behalf Of Eden’s Garden
            Division - District Court 1                    (ZOOM)                 Partners, L.P., v. Eddie R. Williams, Eden’s
                                                                                  Garden Development Group Inc., And
                                                                                  South Parkway Management, Inc.
 2019       62nd Judicial District Court Lamar County,     Deposition             Peter J. Edenhoffer, M.D. v. Office Depot, Inc.
            Texas                                                                 D/B/A OfficeMax, et al
 2018       116th Judicial District Court of Dallas        Courtroom              Valtech Services, Inc. v. Cornerstone Staffing
            County, Texas                                  Testimony              Solutions, Inc. v. Valtech Solutions, Inc.
 2018       116th Judicial District Court of Dallas        Deposition             Valtech Services, Inc. v. Cornerstone Staffing
            County, Texas                                                         Solutions, Inc. v. Valtech Solutions, Inc.




Larry Kanter, CPA/CFF, CFE
Rule 26 Disclosure - Publications

Date    Publication                                      Title

2000    Microsoft Press                                  “E-Commerce Strategy” Contributor
2011    Texas Lawyer                                     Uncertainties Regarding GAAP and the IFRS
2014    Today’s General Counsel                          In Legal Disputes, Make the Most of Your Own Big Data
2015    Texas Lawbook                                    Finding a Road Map to “Reasonable Certainty” in
                                                                 Economic Damage Calculations
2019    Texas Society of CPA’s                           The Era of Visualization Based Analytics Has Arrived
2020    Texas Lawbook                                    Artificial Intelligence on the Witness Stand




                                                                                                                     APP. 01806
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                                            Exhibit B
                                       Materials Considered




                                                                       APP. 01807
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                         Larry Kanter Materials Considered
        I also include by reference any materials cited in my report.

         AMc-000001- AMc-003143                           AMc-000917
         AMc-000055                                       AMc-000934
         AMc-000177                                       AMc-000936
         AMc-000203                                       AMc-000947
         AMc-000203- AMc-000207                           AMc-000948
         AMc-000213                                       AMc-000950
         AMc-000215                                       AMc-000952
         AMc-000218                                       AMc-000977
         AMc-000222                                       AMc-000978
         AMc-000225                                       AMc-000993
         AMc-000228                                       AMc-000997
         AMc-000232                                       AMc-000999- AMc-001000
         AMc-000266                                       AMc-001001
         AMc-000269                                       AMc-001001- AMc-001002
         AMc-000323                                       AMc-001012
         AMc-000328                                       AMc-001018
         AMc-000332                                       AMc-001025- AMc-001026
         AMc-000342                                       AMc-001030
         AMc-000348                                       AMc-001040
         AMc-000367                                       AMc-001043
         AMc-000372                                       AMc-001058
         AMc-000381                                       AMc-001059
         AMc-000399                                       AMc-001060
         AMc-000403                                       AMc-001099
         AMc-000443                                       AMc-001107
         AMc-000447                                       AMc-001123
         AMc-000452                                       AMc-001125
         AMc-000588                                       AMc-001201
         AMc-000589                                       AMc-001209
         AMc-000679                                       AMc-001210
         AMc-000700                                       AMc-001228
         AMc-000719                                       AMc-001237
         AMc-000720                                       AMc-001239
         AMc-000723                                       AMc-001241
         AMc-000766                                       AMc-001263
         AMc-000767                                       AMc-001277




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                AMc-001282                                AMc-003979
                AMc-001284                                AMc-004100
                AMc-001298                                AMc-004269
                AMc-001329 - AMc-001332                   AMc-004495
                AMc-001335                                AMc-004570
                AMc-002488                                AMc-004607
                AMc-002628                                AMc-004634
                AMc-002656                                AMc-004664
                AMc-002656- AMc-2685                      AMc-004671
                AMc-002700                                AMc-004823
                AMc-002700- AMc-2712                      AMc-004960
                AMc-002713                                AMc-004989
                AMc-002713- AMc-2740                      AMc-005042
                AMc-002741                                AMc-005077
                AMc-002741- AMc-2771                      AMc-005129
                AMc-002772                                AMc-005184
                AMc-002772- AMc-2817                      AMc-005233
                AMc-002818                                AMc-005439
                AMc-002818- AMc-2834                      AMc-005573
                AMc-002835                                AMc-005746
                AMc-002844                                AMc-005891
                AMc-002844- AMc-2852                      AMc-005921
                AMc-002853                                AMc-005946
                AMc-0028792                               AMc-006017
                AMc-002929                                AMc-006073
                AMc-002956                                AMc-006152
                AMc-002956- AMc-2990                      AMc-006168
                AMc-0031227 - AMc-0031231                 AMc-006173
                AMc-003369                                AMc-006203
                AMc-003445                                AMc-006214
                AMc-003494                                AMc-006218
                AMc-003549                                AMc-006222
                AMc-003552                                AMc-006264
                AMc-003602                                AMc-006267
                AMc-003643                                AMc-006339




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                AMc-006416                                AMc-008837
                AMc-006490                                AMc-008917
                AMc-006626                                AMc-008920
                AMc-006635                                AMc-009340
                AMc-006673                                AMc-009438
                AMc-006719                                AMc-009592
                AMc-006872                                AMc-009651
                AMc-006887                                AMc-009757
                AMc-006996                                AMc-009768
                AMc-007051                                AMc-009779
                AMc-007060                                AMc-009793
                AMc-007071                                AMc-009813
                AMc-007169                                AMc-009833
                AMc-007234                                AMc-009839
                AMc-007295                                AMc-009877
                AMc-007314                                AMc-009883
                AMc-007321                                AMc-009892
                AMc-007341                                AMc-009901
                AMc-007367                                AMc-009904
                AMc-007385                                AMc-009908
                AMc-007490                                AMc-009911
                AMc-007627                                AMc-009975
                AMc-007637                                AMc-009980
                AMc-007674                                AMc-010007
                AMc-007690                                AMc-010012
                AMc-008026                                AMc-010079
                AMc-008125                                AMc-010082
                AMc-008402                                AMc-010085
                AMc-008471                                AMc-010089
                AMc-008614                                AMc-010169
                AMc-008731                                AMc-010173
                AMc-008735                                AMc-010181
                AMc-008739                                AMc-010187
                AMc-008744                                AMc-010207
                AMc-008749                                AMc-010277
                AMc-008766                                AMc-010391
                AMc-008818                                AMc-010405


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                AMc-010454                                AMc-019823
                AMc-010519                                AMc-019826
                AMc-010523                                AMc-019828
                AMc-010546                                AMc-019940
                AMc-010606                                AMc-019965
                AMc-010624                                AMc-020429
                AMc-010654                                AMc-021089
                AMc-010667                                AMc-021220
                AMc-010934                                AMc-021241
                AMc-010943                                AMc-021248
                AMc-010959                                AMc-021267
                AMc-011140                                AMc-021274
                AMc-011210                                AMc-021280
                AMc-011370                                AMc-021287
                AMc-011515                                AMc-021335
                AMc-011519                                AMc-021426
                AMc-011574                                AMc-021630
                AMc-011577                                AMc-021712
                AMc-012968                                AMc-021980
                AMc-012969                                AMc-021990
                AMc-012970                                AMc-022045
                AMc-013093                                AMc-022224
                AMc-013100                                AMc-022393
                AMc-013114                                AMc-022394
                AMc-013115                                AMc-022395
                AMc-013266                                AMc-022401
                AMc-013407                                AMc-022402
                AMc-015002                                AMc-022404
                AMc-018990                                AMc-022405
                AMc-019097                                AMc-022406
                AMc-019098                                AMc-022407
                AMc-019694                                AMc-022408
                AMc-019809                                AMc-022410
                AMc-019812                                AMc-022412
                AMc-019815                                AMc-022414
                AMc-019817                                AMc-022416
                AMc-019820                                AMc-022419




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          AMc-022422                               AMc-027617
          AMc-022425                               AMc-027622
          AMc-022540                               AMc-027623
          AMc-022541                               AMc-027625
          AMc-022552                               AMc-027634
          AMc-022570                               AMc-027639
          AMc-022653                               AMc-036176
          AMc-022654                               AMc-036766
          AMc-022655                               AMc-039154
          AMc-022696                               AMc-039154- AMc-39157
          AMc-022710                               AMc-039158
          AMc-022712                               AMc-039158- AMc-39161
          AMc-022713                               AMc-039162
          AMc-022715                               AMc-039162- AMc-39168
          AMc-022717                               AMc-040053
          AMc-022719                               AMc-040053- AMc-40067
          AMc-022722                               AMc-041806
          AMc-022725                               AMc-041807
          AMc-023003                               AMc-041807- AMc-41820
          AMc-023006                               AMc-041862
          AMc-023405                               AMc-041863
          AMc-023422                               AMc-041869
          AMc-023491                               AMc-041973
          AMc-025321                               AMc-041988
          AMc-025594                               AMc-041994
          AMc-025730                               AMc-042009
          AMc-025732                               AMc-042051
          AMc-025733                               AMc-042066
          AMc-025741                               AMc-042078
          AMc-025743                               AMc-042092
          AMc-025745                               AMc-042111
          AMc-025747                               AMc-042125
          AMc-025749                               AMc-042136
          AMc-025752                               AMc-047065 - AMc-047144
          AMc-025810                               AMc-047791 - AMc-047868
          AMc-026263                               AMc-049136 - AMc049212
          AMc-026303                               AMc-053074 - AMc-053150




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       AMc-053385 - AMc-053462                  AMcTX-00045414
       AMc-053812 - AMc-053889                  AMcTX-00045456
       AMc-056592                               AMcTX-00045457
       AMc-056595                               AMcTX-00045459
       AMc-056721                               AMcTX-00045461
       AMc-057580                               AMcTX-00045464
       AMc-057610                               AMcTX-00045467
       AMc-058265                               AMcTX-00045468
       AMc-058561 - AMc-058563                  AMcTX-00045469
       AMc-059032                               AMcTX-00045470
       AMc-059225                               AMcTX-00045471
       AMc-059225 - AMc-059226                  AMcTX-00045483
       AMc-059298 - AMc-059299                  AMcTX-00045490
       AMc-059376                               AMcTX-00045496
       AMc-059377                               AMcTX-00045502
       AMc-059503 – AMc-059504                  AMcTX-00045503
       AMc-059822                               AMcTX-00045504
       AMcTX-00000763                           AMcTX-00045506
       AMcTX-00001636                           AMcTX-00045507
       AMcTX-00002191                           AMcTX-00045510
       AMcTX-00003282- AMcTX-3308               AMcTX-00045515
       AMcTX-00019289                           AMcTX-00045516
       AMcTX-00024842- AMcTX-00024845           AMcTX-00045556
       AMcTX-00036891                           AMcTX-00045557
       AMcTX-00039540                           AMcTX-00045668
       AMcTX-00039541                           AMcTX-00045966- AMcTX-46043
       AMcTX-00041568                           AMcTX-00046071
       AMcTX-00041571                           AMcTX-00046077
       AMcTX-00042383                           AMcTX-00046084
       AMcTX-00042384                           AMcTX-00046089
       AMcTX-00043494                           AMcTX-00046093
       AMcTX-00043499                           AMcTX-00046098
       AMcTX-00045364                           AMcTX-00046102
       AMcTX-00045368                           AMcTX-00046107
       AMcTX-00045395                           AMcTX-00046111
       AMcTX-00045403                           AMcTX-00046116
       AMcTX-00045408                           AMcTX-00046119




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      AMcTX-00046126                          AMcTX-00046373
      AMcTX-00046130                          AMcTX-00046374
      AMcTX-00046134                          AMcTX-00046381
      AMcTX-00046137                          AMcTX-00046382
      AMcTX-00046141                          AMcTX-00046389
      AMcTX-00046144                          AMcTX-00053145
      AMcTX-00046147                          AMcTX-00053147
      AMcTX-00046168                          AMcTX-00053157
      AMcTX-00046169                          AMcTX-00053164
      AMcTX-00046170                          AMcTX-00053166
      AMcTX-00046171                          AMcTX-00053176
      AMcTX-00046172                          AMcTX-00053183
      AMcTX-00046173                          AMcTX-00053185
      AMcTX-00046179                          AMcTX-00053196
      AMcTX-00046181                          AMcTX-00053204
      AMcTX-00046199                          AMcTX-00053206
      AMcTX-00046213                          AMcTX-00053216
      AMcTX-00046257                          AMcTX-00053224
      AMcTX-00046259                          AMcTX-00053225
      AMcTX-00046260                          AMcTX-00053226
      AMcTX-00046261                          AMcTX-00053241
      AMcTX-00046262                          AMcTX-00053242
      AMcTX-00046263                          AMcTX-00053243
      AMcTX-00046265                          AMcTX-00053244
      AMcTX-00046269                          AMcTX-00053245
      AMcTX-00046274                          AMcTX-00053246
      AMcTX-00046286                          AMcTX-00053247
      AMcTX-00046290                          AMcTX-00053248
      AMcTX-00046341                          AMcTX-00053249
      AMcTX-00046350                          AMcTX-00053250
      AMcTX-00046366                          AMcTX-00053251
      AMcTX-00046367                          AMcTX-00054116
      AMcTX-00046368                          AMcTX-00054117
      AMcTX-00046369                          AMcTX-00054698
      AMcTX-00046370                          AMcTX-00054699
      AMcTX-00046371                          AMcTX-00055789 – AMcTX-00055790
      AMcTX-00046372                          AMcTX-00055926 – AMcTX-00055927




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           AMcTX-00056632                           NRA_AM_FRA_0002690
           AMcTX-00056633                           NRA_AM_FRA_0002701
           AMcTX-00059825                           NRA_AM_FRA_0002712
           AMcTX-00059826                           NRA_AM_FRA_0002723
           AMcTX-00059946                           NRA_AM_FRA_0002734
           AMcTX-00059947                           NRA_AM_FRA_0002746
           AMcTX-00060469                           NRA_AM_FRA_0002758
           AMcTX-00060470                           NRA_AM_FRA_0002770
           AMcTX-00060676                           NRA_AM_FRA_0002782
           AMcTX-00060677                           NRA_AM_FRA_0002792
           AMcTX-00060876                           NRA_AM_FRA_0002802
           AMcTX-00060878                           NRA_AM_FRA_0002814
           AMcTX-00061002                           NRA_AM_FRA_0002828
           AMcTX-00061003                           NRA_AM_FRA_0002842
           AMcTX-00061094                           NRA_AM_FRA_0002856
           AMcTX-00061095                           NRA_AM_FRA_0002862
           AMcTX-00061256                           NRA_AM_FRA_0002873
           AMcTX-00061257                           NRA_AM_FRA_0002885
           AMcTX-00061352                           NRA_AM_FRA_0002895
           AMcTX-00061353                           NRA_AM_FRA_0002910
           AMcTX-00061482                           NRA_AM_FRA_0002925
           AMcTX-00061483                           NRA_AM_FRA_0003033
           AMcTX-00061581                           NRA_AM_FRA_0003034
           AMcTX-00061582                           NRA_AM_FRA_0003035
           NRA_AM_FRA_0000668                       NRA_AM_FRA_0003142
           NRA_AM_FRA_0002613                       NRA_AM_FRA_0003791
           NRA_AM_FRA_0002614                       NRA_AM_FRA_0004391
           NRA_AM_FRA_0002621                       NRA_AM_FRA_0004398
           NRA_AM_FRA_0002626                       NRA_AM_FRA_0004405
           NRA_AM_FRA_0002628                       NRA_AM_FRA_0004411
           NRA_AM_FRA_0002639                       NRA_AM_FRA_0004417
           NRA_AM_FRA_0002646                       NRA_AM_FRA_0004423
           NRA_AM_FRA_0002652                       NRA_AM_FRA_0004432
           NRA_AM_FRA_0002658                       NRA_AM_FRA_0004438
           NRA_AM_FRA_0002664                       NRA_AM_FRA_0004449
           NRA_AM_FRA_0002673                       NRA_AM_FRA_0004460
           NRA_AM_FRA_0002679                       NRA_AM_FRA_0004471




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           NRA_AM_FRA_0004482                       NRA_AM_FRA_0004892
           NRA_AM_FRA_0004493                       NRA_AM_FRA_0004904
           NRA_AM_FRA_0004505                       NRA_AM_FRA_0004918
           NRA_AM_FRA_0004517                       NRA_AM_FRA_0004932
           NRA_AM_FRA_0004529                       NRA_AM_FRA_0004946
           NRA_AM_FRA_0004541                       NRA_AM_FRA_0004956
           NRA_AM_FRA_0004551                       NRA_AM_FRA_0004966
           NRA_AM_FRA_0004561                       NRA_AM_FRA_0004977
           NRA_AM_FRA_0004573                       NRA_AM_FRA_0004988
           NRA_AM_FRA_0004587                       NRA_AM_FRA_0005002
           NRA_AM_FRA_0004601                       NRA_AM_FRA_0005128
           NRA_AM_FRA_0004615                       NRA_AM_FRA_0005255
           NRA_AM_FRA_0004621                       NRA_AM_FRA_0005258
           NRA_AM_FRA_0004632                       NRA_AM_FRA_0005261
           NRA_AM_FRA_0004644                       NRA_AM_FRA_0005264
           NRA_AM_FRA_0004654                       NRA_AM_FRA_0005267
           NRA_AM_FRA_0004669                       NRA_AM_FRA_0005271
           NRA_AM_FRA_0004684                       NRA_AM_FRA_0005274
           NRA_AM_FRA_0004698                       NRA_AM_FRA_0005277
           NRA_AM_FRA_0004713                       NRA_AM_FRA_0005281
           NRA_AM_FRA_0004724                       NRA_AM_FRA_0005285
           NRA_AM_FRA_0004736                       NRA_AM_FRA_0005288
           NRA_AM_FRA_0004745                       NRA_AM_FRA_0005291
           NRA_AM_FRA_0004754                       NRA_AM_FRA_0005294
           NRA_AM_FRA_0004764                       NRA_AM_FRA_0005297
           NRA_AM_FRA_0004774                       NRA_AM_FRA_0005299
           NRA_AM_FRA_0004775                       NRA_AM_FRA_0005301
           NRA_AM_FRA_0004785                       NRA_AM_FRA_0005305
           NRA_AM_FRA_0004795                       NRA_AM_FRA_0005309
           NRA_AM_FRA_0004805                       NRA_AM_FRA_0005311
           NRA_AM_FRA_0004815                       NRA_AM_FRA_0005313
           NRA_AM_FRA_0004825                       NRA_AM_FRA_0005316
           NRA_AM_FRA_0004837                       NRA_AM_FRA_0005319
           NRA_AM_FRA_0004848                       NRA_AM_FRA_0005323
           NRA_AM_FRA_0004859                       NRA_AM_FRA_0005327
           NRA_AM_FRA_0004870                       NRA_AM_FRA_0005331
           NRA_AM_FRA_0004881                       NRA_AM_FRA_0005332




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   NRA_AM_FRA_0005334                       NRA-AMc_00048503
   NRA_AM_FRA_0005336                       NRA-AMc_00050600
   NRA_AM_FRA_0005338                       NRA-AMc_00052210
   NRA_AM_FRA_0005340                       NRA-AMc_00052210 - NRA-AMc_00052291
   NRA_AM_FRA_0005342                       NRA-AMc_00052210 - NRA-AMc_00052352
   NRA_AM_FRA_0005345                       NRA-AMc_00052292
   NRA_AM_FRA_0005346                       NRA-AMc_00052461
   NRA_AM_FRA_0005347                       NRA-AMc_00052461 - NRA-AMc_00052505
   NRA_AM_FRA_0005349                       NRA-AMc_00052595
   NRA_AM_FRA_0005351                       NRA-AMc_00052595 - NRA-AMc_00052639
   NRA_AM_FRA_0005354                       NRA-AMc_00052665
   NRA_AM_FRA_0005357                       NRA-AMc_00052665 - NRA-AMc_00052688
   NRA_AM_FRA_0005358                       NRA-AMc_00052689
   NRA_AM_FRA_0005359                       NRA-AMc_00052689 - NRA-AMc_00052711
   NRA_AM_FRA_0005360                       NRA-AMc_00052789 - NRA-AMc_00052801
   NRA_AM_FRA_0005361                       NRA-AMc_00054474
   NRA_AM_FRA_0005363                       NRA-AMc_00054474 - NRA-AMc_00054529
   NRA_AM_FRA_0005365                       NRA-AMc_00054530
   NRA_AM_FRA_0005367                       NRA-AMc_00054583
   NRA_AM_FRA_0005369                       NRA-AMc_00054635
   NRA_AM_FRA_0005371                       NRA-AMc_00054698
   NRA_AM_FRA_0005373                       NRA-AMc_00054765
   NRA_AM_FRA_0005505                       NRA-AMc_00054856
   NRA_AM_FRA_0005507                       NRA-AMc_00054878
   NRA_AM_FRA_0005509                       NRA-AMc_00054944
   NRA_AM_FRA_0005511                       NRA-AMc_00054976
   NRA_AM_FRA_0005512                       NRA-AMc_00054999
   NRA_AM_FRA_0005513                       NRA-AMc_00055055
   NRA_AM_FRA_0005514                       NRA-AMc_00055055 - NRA-AMc_00055122
   NRA_AM_FRA_0005515                       NRA-AMc_00055834
   NRA_AM_FRA_0005516                       NRA-AMc_00055834 - NRA-AMc_00055941
   NRA_AM_FRA_0005517                       NRA-AMc_00055944
   NRA_AM_FRA_0005519                       NRA-AMc_00055944 - NRA-AMc_00056149
   NRA_AM_FRA_0005521                       NRA-AMc_00056150
   NRA-00406                                NRA-AMc_00056393
   NRA-AMc_00045619                         NRA-AMc_00056393 - NRA-AMc_00056556
   NRA-AMc_00045626                         NRA-AMc_00057152




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   NRA-AMc_00057262                           NRA-AMc_00063089
   NRA-AMc_00057263                           NRA-AMc_00063292
   NRA-AMc_00057265                           NRA-AMc_00063292 - NRA-AMc_00063516
   NRA-AMc_00059409- NRA-AMc_59411            NRA-AMc_00063518
   NRA-AMc_00059415                           NRA-AMc_00063518 - NRA-AMc_00063714
   NRA-AMc_00059416                           NRA-AMc_00063978 - NRA-AMc_00063981
   NRA-AMc_00059426                           NRA-AMc_00063992
   NRA-AMc_00059431                           NRA-AMc_00064218
   NRA-AMc_00059522- NRA-AMc_00059523         NRA-AMc_00064218 - NRA-AMc_00064230
   NRA-AMc_00059652                           NRA-AMc_00064235
   NRA-AMc_00059930                           NRA-AMc_00064236
   NRA-AMc_00059931                           NRA-AMc_00064237
   NRA-AMc_00059956                           NRA-AMc_00064239
   NRA-AMc_00059982                           NRA-AMc_00064250
   NRA-AMc_00059983                           NRA-AMc_00064256
   NRA-AMc_00059991                           NRA-AMc_00064257
   NRA-AMc_00059992                           NRA-AMc_00064257 - NRA-AMc_00064258
   NRA-AMc_00060114                           NRA-AMc_00064269
   NRA-AMc_00060115                           NRA-AMc_00064316
   NRA-AMc_00060185                           NRA-AMc_00064316 - NRA-AMc_00064318
   NRA-AMc_00060542                           NRA-AMc_00065065
   NRA-AMc_00061215                           NRA-AMc_00065066
   NRA-AMc_00061216                           NRA-AMc_00065094
   NRA-AMc_00061638 - NRA-AMc_00061648        NRA-AMc_00065098
   NRA-AMc_00062672                           NRA-AMc_00065102
   NRA-AMc_00062672 - NRA-AMc_00062708        NRA-AMc_00065378
   NRA-AMc_00062709                           NRA-AMc_00068307 - NRA-AMc_00068308
   NRA-AMc_00062758                           NRA-AMc_00068320
   NRA-AMc_00062826                           NRA-AMc_00068323
   NRA-AMc_00062826 - NRA-AMc_00062863        NRA-AMc_00068332
   NRA-AMc_00062871                           NRA-AMc_00068702
   NRA-AMc_00062871 - NRA-AMc_00062911        NRA-AMc_00068703
   NRA-AMc_00062912                           NRA-AMc_00068869
   NRA-AMc_00062912 - NRA-AMc_00062965        NRA-AMc_00068870
   NRA-AMc_00062966                           NRA-AMc_00068870 - NRA-AMc_00068871
   NRA-AMc_00062966 - NRA-AMc_00063021        NRA-AMc_00068874 - NRA-AMc_00068887
   NRA-AMc_00063022                           NRA-AMc_00068943




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   NRA-AMc_00068943 - NRA-AMc_00068945        NRA-AMc_00141097
   NRA-AMc_00068947                           NRA-AMc_00162483
   NRA-AMc_00068947 - NRA-AMc_00068949        NRA-AMc_00163614 - NRA-AMc_00163623
   NRA-AMc_00068951                           NRA-AMc_00166094
   NRA-AMc_00068951 - NRA-AMc_00068955        NRA-AMc_00173893 - NRA-AMc_00173897
   NRA-AMc_00068957                           NRA-AMc_00173989-00173990
   NRA-AMc_00068957 - NRA-AMc_00068962        NRA-AMc_00174005 - NRA-AMc_00174007
   NRA-AMc_00068964                           NRA-AMc_00174032 - NRA-AMc_00174033
   NRA-AMc_00068964 - NRA-AMc_00068967        NRA-AMc_00174083 - NRA-AMc_00174131
   NRA-AMc_00068969                           NRA-AMc_00174132-00174135
   NRA-AMc_00068969 - NRA-AMc_00068973        NRA-AMc_00174160 - NRA-AMc_00174210
   NRA-AMc_00068975                           NRA-AMc_00174211 - NRA-AMc_00174233
   NRA-AMc_00068975 - NRA-AMc_00068979        NRA-AMc_00174234-00174250
   NRA-AMc_00068981                           NRA-AMc_00174253 - NRA-AMc_00174298
   NRA-AMc_00068981 - NRA-AMc_00068988        NRA-AMc_00174417 - NRA-AMc_00174442
   NRA-AMc_00069739                           NRA-AMc_00185519 - NRA-AMc_00185551
   NRA-AMc_00071193                           NRA-AMc_00185553 - NRA-AMc_00185568
   NRA-AMc_00071193 - NRA-AMc_00071194        NRA-AMc_00185589 - NRA-AMc_00185598
   NRA-AMc_00071259                           NRA-AMc_00185712
   NRA-AMc_00071260                           NRA-AMc-00068873
   NRA-AMc_00071263                           NRA-BK-00037422 - NRA-BK-00037429
   NRA-AMc_00071265                           NRA-NYAG-00060085 - NRA-NYAG-00060089
   NRA-AMc_00071267                           NYAG-00120835
   NRA-AMc_00071290                           OLN00009
   NRA-AMc_00075497 - NRA-AMc_00075757        OLN00043
   NRA-AMc_00076056 - NRA-AMc_00076394        OLN00052
   NRA-AMc_00077292 - NRA-AMc_00077593        OLN00131
   NRA-AMc_00078927 - NRA-AMc_00078937        OLN00155
   NRA-AMc_00079033 - NRA-AMc_00079035        OLN00178
   NRA-AMc_00079036 - NRA-AMc_00079041        OLN00210
   NRA-AMc_00079043 - NRA-AMc_00079048        OLN00225 - OLN00372
   NRA-AMc_00079126                           OLN00398
   NRA-AMc_00079132                           PIP-00000001 - PIP-00004465
   NRA-AMc_00079132 - NRA-AMc_00079133        PIP-00000214
   NRA-AMc_00090556 - NRA-AMc_00090564        PIP-00000215
   NRA-AMc_00100010                           PIP-00000216
   NRA-AMc_00124518 - NRA-AMc_00124518        PIP-00000218




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                     PIP-00000219
                     PIP-00000220
                     PIP-00000246
                     PIP-00000287
                     PIP-00000288
                     PIP-00000289
                     PIP-00000290
                     PIP-00000291
                     PIP-00001190
                     PIP-00001196
                     PIP-00001283
                     PIP-00001294
                     PIP-00001322
                     PIP-00001339
                     PIP-00001348
                     PIP-00002807
                     PIP-00002890
                     PIP-00004232
                     PIP-00004365
                     PIP-00004392




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                    Larry Kanter Materials Considered (Not Bate Stamped)

      Filed Documents

      9/5/2019 - Plaintiffs Complaint and Jury Demand [VA Case]

      10/8/2019 - VA protective order

      11/5/2019 - Plaintiffs 1st Set-RFP-Defendants [TX Case]

      6/22/2020 - TX protective order

      3/12/2021 - Plaintiff's 2nd Amended Complaint [TX Case] (ECF # 209)

      5/24/2021 - AMc 2nd Amended Counterclaim [TX Case] (ECF # 241)



      Expert Reports

      Expert Report of Dr. Richard Bergin, Dated July 1, 2021

      Expert Report of Gary B. Goolsby, Dated June 1, 2021

      Expert Report of Daniel L. Jackson, Dated June 15, 2021
      Expert Report of Daniel L. Jackson, Dated July 1, 2021

      Expert Report of Andrew Mclean, Dated June 1, 2021



      Transcripts
      6/26/2019 Hearing Transcript re Preliminary Injunction Motion

      Deposition Transcript of Anthony Ferate - 7/8/2019 With Exhibits

      Deposition Transcript of Melanie Montgomery – 3/31/2021 With Exhibits

      Deposition Transcript of Craig Spray – 10/3/2019 With Exhibits

      Deposition Transcript of Lisa Supernaugh - 1/30/2020 With Exhibits
      Deposition Transcript of Mike Trahar - 9/18/2019 With Exhibits



      Not Produced Documents

      6/4/2019 D. Schertler Letter to J Frazer re: NRA invoices owed

      6/14/2019 A. Arulanandam Email Fwd to D. Schertler re: Attached Correspondence

      6/14/2019 Ackerman McQueen Invoices (attachment to above referenced email)




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   3/4/2020 J. Frazer Reply Letter to G. Betts

   AMc Agency Handbook-Personnel-Confidentiality Policies



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                Other Public Documents

                AMC - 2020 PPP loan

                AMC - 2021 PPP loan

                Borrower application (final 3-18-21)

                ProPublica, Ackerman McQueen First 100 Loans

                FederalPay.org, PPP Loan Data – Ackerman McQueen Inc.




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                                               Exhibit C
                                          Additional Support




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                                                                  Exhibit C
                                                                  Summary

Jackson Report Analysis
Exhibit 1


 Jackson     Jackson                                    Jackson                                   KFF Analysis
                                                                                                  Comments
AMc-Third Party NRA Contracts
           Offices and Leases                       $ 6,216,735               Refer to [1]
           Other Contracts                               230,185              Refer to [2]
           Employment Contracts                        6,310,698              Refer to [3]
                                                    $ 12,757,618

Termination Fee
           Employee Severance                       $ 1,929,146               Refer to [4]
           Office Disassembly/Move-Out                   78,516               Refer to [5]
                                                    $ 2,007,662               $1 rounding error

Unpaid Invoices, Late-Paid Invoices, and Interest
           Past Due Invoices                        $ 4,371,037               Refer to [6]
           Interest on Past Due Invoices              1,057,969               Refer to [6]
           Interest on Late Payments                     39,077               Refer to [7]
                                                    $ 5,468,083               $1 rounding error

Legal Fees                                          $    593,264              Refer to [8]

Total                                               $ 20,826,627              $1 rounding error




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                                                                                                                                                                           Exhibit C
                                                                                                                                                                      Offices and Leases




Jackson Report Analysis
Exhibit 2

Jackson                 Jackson               Jackson          Jackson          Jackson          Jackson         Jackson         Jackson                                       Jackson                                            KFF Analysis                                                   KFF Analysis
                                               2019             2020             2021             2022            2023            Total       Jackson Footnotes                                                            Document tieout                Comments
Alexandria, VA
          Office Space                    $    208,683     $     71,648                                                      $    280,331     Based on January 3, 2019 letter from Edward P. McCrystal [AMcTX-             AMcTX-00046341 - 00046345 Agrees to document.
                                                                                                                                              00046345], and the January 2020 invoice to Mercury Group [AMcTX-
                                                                                                                                              00046347]. Amount for 2020 consists of rental amounts for January and                                       No evidence of approval.
                                                                                                                                              February.
             Operating Expeses/Parking           3,119             1,101                                                             4,220    Operating expenses per January 3, 2019 letter from Edward P. McCrystal       Operating Expenses = AMcTX- 2019 Calculation = $3,389 per year = $1,694.65 for 6-months of 2019 + 4 months of
                                                                                                                                              [AMcTX-00046345]. Parking is based on $356 per month for July - October      00046341 - 00046345         parking at $356/month ($1,424 total) = $3,119.
                                                                                                                                              2019 (per Colonial Parking invoice). Parking fees in 2020 equal to
                                                                                                                                              $367/month for three months (per Colonial Parking invoices) [AMcTX-          Parking = AMcTX-00045556,      2020 Calculation = 3 months of parking at $367/month = $1,101.
                                                                                                                                              00046366]; [AMcTX-00046370] and [AMcTX-00046371].                            AMcTX-00046366, AMcTX-
                                                                                                                                                                                                                           00046370, and AMcTX-           No evidence of approval.
                                                                                                                                                                                                                           00046371
             Sublease Realtor Fee                                  9,485                                                             9,485    Stream Realty Partners fee related to sublease agreement [AMcTX-             AMcTX-00046369                 Agrees to document.
                                                                                                                                              00046369]
                                                                                                                                                                                                                                                          No evidence of approval.
             Termination Fee                                    235,298                                                           235,298     Per Termination Agreement between the Mercury Group/Ackerman                 AMcTX-00046350-46356           Agrees to document.
                                                                                                                                              McQueen and Boundary 201 N Union LLC. Consists of AMc's Post-                AMcTX-00046259
                                                                                                                                              Termination Obligations, the Moving and Cleaning Allowance, and a                                           No evidence of approval.
                                                                                                                                              repayment of AMc's Security Deposit. [AMcTX-00046350-46356]. Also
                                                                                                                                              includes charges to produce copies of the office lease termination
                                                                                                                                              agreement and notary for execution of the agreement ($13.13) [AMcTX-
                                                                                                                                              00046259]
                                          $    211,802     $    317,532     $             - $              - $             - $    529,334

Colorado Springs, CO
          Office Space                    $     33,851     $     68,816     $     71,045     $     36,079                    $    209,791     Per Third Amendment to Lease between Ackerman McQueen and RDJ                Agrees to [1a]                 Agrees to document.
                                                                                                                                              Cascade Properties, LLC [AMcTX-00046265-46266].                                                             No evidence of approval.
             Operating Expenses                 13,572           27,143           27,143           13,572                          81,430     Operating expenses from July 2019 through June 2021 = $2,261.93 per          Agrees to [1a]                 Agrees to document.
                                                                                                                                              month [AMcTX-00046367] and [AMcTX-00046368]. No increases assumed                                           No evidence of approval.
                                                                                                                                              in subsequent years
             Sublease Realtor Fees              13,818                                                                             13,818     Realtor fee = 6% of gross lease payments per Sublease Contract ($230,300).   Agrees to document at AMcTX-   Agrees to document.
                                                                                                                                              Per TLUX invoice [AMcTX-00046269]                                            00046269.                      No evidence of approval.
             Less: Sublease Income               (6,500)         (58,500)         (29,250)                                         (94,250)   Per Email correspondence between Ackerman McQueen and Innate.ly.             Amount agrees to AMcTX-        Agrees to document
                                                                                                                                              Innate.ly made 8 rent payments in 2020 of $6,500 each. Innate.ly planned     00046274-46281                 Unable to locate sublet lease.
                                                                                                                                              to vacate by the end of January 2021. Unpaid balance of $29,250 to be paid                                  No evidence of approval.
                                                                                                                                              in 2021 [AMcTX-00046274-46281].
                                          $     54,741     $     37,459     $     68,938     $     49,651    $             - $    210,789

Dallas, TX
             Office Space                 $    491,021     $ 1,044,871      $ 1,112,980      $ 1,138,323     $ 483,629       $ 4,270,824      Per First Amendment to Office Lease between Ackerman McQueen [AMcTX-         See documents as follows:      Excludes the expansion premises.
                                                                                                                                              00046290-46302] and GPI-M Uptown, LP and Basic Office Lease                  AMcTX-00046290-46302           Discrepancy of $8k noted in recalculation. See tab [1a]
                                                                                                                                              Information for Suite 1800 [AMcTX-00046303]                                  AMcTX-00046303                 No evidence of approval.
             Operating Expenses/Parking        144,883          310,779          310,779          310,779        128,569         1,205,789    Based on actual 2019 and 2020 Electricity and Operating Expense for Suite    AMcTX-00046373 - AMc G/L       No evidence of approval.
                                                                                                                                              1800 and actual 2019 and 2020 parking costs allocated to Suite 1800.         Detail of parking costs        Discrepancy noted in recalculation. See tab [1a]
                                                                                                                                              [AMcTX-00046323-46324, AMcTX-00046288-46289, and AMcTX-                      AMcTX-00046323-46324 -
                                                                                                                                              00046373]. No increases assumed in subsequent years                          2019 expenses
                                                                                                                                                                                                                           AMcTX-00046309-00046310 -
                                                                                                                                                                                                                           2020 expenses carried-
                                                                                                                                                                                                                           forward
                                          $    635,904     $ 1,355,650      $ 1,423,759      $ 1,449,102     $ 612,198       $ 5,476,613                                                                                                                  $1 rounding error per the Jackson report

                                          $    902,447     $ 1,710,641      $ 1,492,697      $ 1,498,753     $ 612,198       $ 6,216,736                                                                                                                  $1 rounding error per the Jackson report




                                                                                                                                                                                                                                                                                                                    APP. 01827
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                                                                                                                                                                      Exhibit C
                                                                                                                                                                 Office Calcualtons




Jackson Report Analysis
Exhibit 1 - tieout calculations


ALEXANDRIA, VA

Termination Fee
           Moving & Cleaning allow              (10,000.00)   AMcTX-00046352
           Security Deposit                      (8,016.66)   AMcTX-00046354
           Initial Payment                       72,372.00    AMcTX-00046352
           April Payment                         72,372.00    AMcTX-00046352
           May Payment                           72,372.00    AMcTX-00046352
           June Payment                          36,186.00    AMcTX-00046352
           Copies/Notary                             13.13    AMcTX-00046259
                                                235,298.47

              Per Jackson                       235,298.00 [1]
              Difference                               -

COLORADO SPRINGS, CO

Lease                                                                                                                                                                                             OpEx                                          2,261.93 Monthly amount

Independent calc                               Note: Lease commences 5/31/17 - Agrees to table at AMcTX-00045510.pdf                                                                                            Note: OpEx from 7/1/19 forward agrees to email at AMcTX-00045514
                                                                                                                                                       Total during
   Year                     Lease                 2017           2018              2019             2020             2021             2022                period                                                    2019          2020          2021           2022           Total
    1         $                     5,270.40   $ 31,622.40    $ 31,622.40                                                                                                                                       $    13,572   $    27,143   $    27,143    $     13,572   $    81,430
    2         $                     5,456.11                  $ 32,736.66     $ 32,736.66
    3         $                     5,641.82                                  $ 33,850.92      $ 33,850.92                                                                                        Per Jackson        13,572        27,143         27,143         13,572        81,430 [1]
    4         $                     5,827.53                                                   $ 34,965.18      $ 34,965.18
    5         $                     6,013.24                                                                    $ 36,079.44     $     36,079.44                                                   Difference    $        -    $        -    $         -    $         -    $        -
                                               $ 31,622.40    $ 64,359.06     $ 66,587.58      $ 68,816.10      $ 71,044.62     $     36,079.44    $ 209,791.08

Per Jackson                                                                   $     33,851     $     68,816     $     71,045    $       36,079     $        209,791 [1]

                                                              Difference      $           -    $           -    $           -   $             -    $             -




Dallas, TX
                                                Sq footage
              2012 Agreement                        25,343
              2016 Agreement                         2,948
                                                    28,291


Office                                                        Per file starting with: AMcTX-00046290
                                                                   2017            2018         2019                 2020             2021                2022                   2023
                                                                   393,344         398,624      403,904              409,184           454,062               92,924                      95,036
                                                                   558,074         565,466      572,857              635,687           650,470            1,045,399                     388,593

                                                                  951,418          964,090          976,761         1,044,871         1,104,532           1,138,323                     483,629
                                                                                                    491,021

                                                              Per Jackson                      $    491,021 $ 1,044,871 $             1,112,980 $         1,138,323   $                 483,629 [1]
                                                              Difference                                  (0)         (0)                 (8,448)                 0                           (0)


                                                 2019             2020            2021             2022        2023                   Total
              Independent Recalculation        $ 491,021      $ 1,044,871     $ 1,104,532      $ 1,138,323 $ 483,629            $     4,262,376
              Jackson Calculation                491,021        1,044,871       1,112,980        1,138,323     483,629                4,270,824 [1]
              Difference                       $       0      $         0     $     8,448      $         (0) $       0          $         8,448




Other Costs                                        2019           2020             2021             2022             2023             Total

              Parking Costs                      28,442.69       57,480.78        57,480.78  57,480.78   19160.26                     220,045.29 AMcTX-00046373
              Electrical                        116,440.00              0                 0           0          0                    116,440.00 AMcTX-00046323-46324
                                                         0      248161.67         248161.67 248,161.67  82,720.56                     827,205.57 AMcTX-00046288-46289
                                                                                                                                                               Tied to AMcTX-00046309-AMcTX-00046310
                                                144,882.69      305642.45         305642.45 305642.45 101880.817                    1,163,690.85

                                                   144,883        310,779          310,779          310,779       128,569             1,205,789
                                                     (0.32)      (5,136.55)       (5,136.55)       (5,136.55)   (26,688.18)          (42,098.15)

                                                                                                                                                                                                                                                                                   APP. 01828
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                                                                                                                                                                                                Exhibit C
                                                                                                                                                                                             Other Contracts




Jackson Report Analysis
Exhibit 3 & 3a
                                                                                                   Jackson           Jackson                                                 Jackson                                           Jackson                                             KFF Analysis                                                  KFF Analysis
                                                                                                Alexandria, VA                                                                             Jackson Notes                                                                     Document tieout          Comments
                                                                                                                 WAN Services                                            $     18,954      CenturyLink Early Termination Charge [AMcTX-00046374, AMcTX-00045364, and         Amount ties to AMcTX-    Cannot tie this directly tied to the services being disconnected at VA location. Noted the
                                                                                                                                                                                           AMcTX-00045395].                                                                  00045395 - 00045402      customer-level disconnect charge on the invoice. No evidence of NRA approval of initial
                                                                                                                                                                                                                                                                                                      contract or termination charges.
                                                                                                                 Internet Services                                             10,788      AT&T Early Termination Charge [AMcTX-00045459 and AMcTX-00045457]                 Invoice - AMcTX-00045459 Amount ties to invoice. Service cancelation charges of $9,804.41. Also includes Oklahoma
                                                                                                                                                                                                                                                                                                      state taxes of $578.64 and surcharges of $404.88. No evidence of NRA approval of initial
                                                                                                                                                                                                                                                                                                      contract or termination charges.
                                                                                                                                                                         $     29,742

                                                                                                Colorado Springs, CO
                                                                                                              WAN Services                                               $      8,928      CenturyLink Early Termination Charge [AMcTX-00046374, AMcTX-00045364, and         AMcTX-00045364              Agrees to invoice. MLPS/IP VPN disconnect charges. No evidence of NRA approval of initial
                                                                                                                                                                                           AMcTX-00045395].                                                                                              contract or termination charges.
                                                                                                                 Internet Services                                              4,807      CenturyLink Early Termination Charge [AMcTX-00046374, AMcTX-00045364, and         AMcTX-00046374 -            Agrees to invoice. Email noting this is for Denver. No evidence of NRA approval of initial
                                                                                                                                                                                           AMcTX-00045395].                                                                  00046380                    contract or termination charges.
                                                                                                                                                                         $     13,735

                                                                                                Dallas, TX
                                                                                                                 Internet Services                                       $      2,186      AT&T Early Termination Charge [AMcTX-00045459 and AMcTX-00045457]                 Invoice - AMcTX-00045457 Agrees to document. Service cancelation charges of $2,367.91. Also includes Surcharges of
                                                                                                                                                                                                                                                                                                      $113.53, Oklahoma taxes of $162.25, and Credits of ($458.17). No evidence of NRA
                                                                                                                                                                                                                                                                                                      approval of initial contract or termination charges.
                                                                                                                                                                         $      2,186

                                                                                                Additional Services
                                                                                                               NRATV Farmville Studio - Kyle Morgan                      $      1,200      AMcTX-00045456 and AMcTX-00036891.                                                Lease agreement - AMcTX- Lease agreement identifies dates effective 1/1/19-6/30/19. Invoice dated 8/1/19-8/31/19.
                                                                                                                                                                                                                                                                             00036891                 Report says the report was month-to-month, but no evidence as such. No evidence of NRA
                                                                                                                                                                                                                                                                             Invoice - AMcTX-00045456 approval of initial contract or month-to-month charges.

                                                                                                                 Cellular Servics - Wayne LaPierre                                    70   AT&T Cancellation Fee [AMcTX-00045368]                                            AMcTX-00045368 -            Cancelation fee on bill at AMcTX-00045383. Did not include related taxes, fees and
                                                                                                                                                                                                                                                                             00045387                    surcharges of $14.07. No evidence of NRA approval.
                                                                                                                 Stock Photography                                             15,000      Getty Images fees through October 2019 [AMcTX-00045461]                           Email communication         Amounts agree to $3,750/mo. Assuming July through October 2019. No evidence of NRA
                                                                                                                                                                                                                                                                             outlining costs at AMcTX-   approval of initial contract or recurring fees.
                                                                                                                                                                                                                                                                             00045461
                                                                                                                 FFL Services                                                   9,900      Based on $3,300/month retainer for three months [AMcTX-00046389].                 May 2019 invoice - AMcTX-   Invoice shows monthly retainer fee for FFL services for $3,300 during the period of May
                                                                                                                                                                                                                                                                             00046389                    2019. No comment/relation to period in question. No evidence of NRA approval for initial
                                                                                                                                                                                                                                                                                                         contract or subsequent fees.
                                                                                                                 Firewall/Storage/Disaster Recovery                          158,353       See Below                                                                         See below                   See detail below. Similar to employees, this software was used "25-40%" for NRA work. No
                                                                                                                                                                                                                                                                                                         support for this allocation. See below for additional. No evidence of NRA approval.
                                                                                                                                                                         $ 184,523

                                                                                                                 Total                                                   $ 230,186                                                                                                                       Rounding error per the Jackson report




Firewall/Storage/Disaster Recovery




                          Jackson             Jackson         Jackson    Jackson     Jackson        Jackson          Jackson         Jackson   Jackson       Jackson         Jackson                                          KFF Analysis                                          KFF Analysis                                                 KFF Analysis
                                                                         Jan-Jun     Jul-Dec                                                                Post-June
                       Category            Monthly Pmt         2018                                  2020             2021            2022      2023                          Total                                              Notes                                           Document tieout                                                  Comments
                                                                          2019        2019                                                                  2019 Total
     Cisco Systems                          $ 5,526.18    $    49,736   $ 33,157    $ 33,157    $     66,314     $        16,579                           $ 116,050     $ 198,943         Per Cisco Lease Agreement. Term of lease: April 2018 - March 2021 [AMcTX-         AMcTX-00045403 -            Amounts agree to lease amount ($5,526.18) with the contract commencing 5/1/18 for 36
                                                                                                                                                                                           00045403].                                                                        00045403                    months.

                                                                                                                                                                                                                                                                                                         No evidence of approval of initial contract.
     Dell                                   $ 6,426.36         44,985      38,558      38,558         77,116              77,116      77,116    32,132        302,038        385,581       Per Dell Lease Agreement. Term of lease: June 2018 - May 2023 [AMcTX-00045408]    AMcTX-00045408 -            Amounts agree to lease. Lease terms are at AMc-TX-00045409, NOT AMc-TX-00045408.
                                                                                                                                                                                                                                                                             00045413                    Attachment A (Amc-TX-00045413).
                                                                                                                                                                                                                                                                                                         Lease not signed/executed.
                                                                                                                                                                                                                                                                                                         No evidence of approval.
     iland Internet Solutions               $ 10,253.42        92,281      61,521      61,521        123,041              30,760                              215,322        369,124       Per iland Internet Solutions Work Order. Term of lease: April 2018 - March 2021   AMcTX-00045414 -            Agrees to invoice and contract.
                                                                                                                                                                                           [AMcTX-00045414]                                                                  00045455                    Lease not signed/executed.
                                                                                                                                                                                                                                                                                                         No evidence of approval of initial contract or invoice.
     iland Internet Solutions Set-up Fee    $ 1,500.00        1,500                                                                                                 -    1,500             Per iland Internet Solutions Work Order [AMcTX-00045415].                                                     Does not appear to be claimed as damages by Jackson.
                                                          $ 188,502     $ 133,236   $ 133,236   $    266,471     $       124,455   $ 77,116    $ 32,132    $ 633,410 $ 955,148

                                                                                                                                   % Attributable to NRA          25%             25%                                                                                                                    No support for allocation percentage.

                                                                                                                                                           $ 158,353     $ 238,787




                                                                                                                                                                                                                                                                                                                                                                   APP. 01829
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                                                                                                                                                                          Exhibit C
                                                                                                                                                                        Emp Contracts




Jackson Report Analysis
Exhibit 4

            Jackson           Jackson             Jackson               Jackson                                   Jackson                                     KFF Analysis                                        KFF Analysis                                      KFF Analysis   KFF Analysis    KFF Analysis KFF Analysis   KFF Analysis KFF Analysis KFF Analysis
                            Oliver North        Dave Valinski                                                                                                                                                                                                                                                                  Check total - Check total - Check total -
                                                                 Dana Loesch Salary                            Jackson Notes                                Document tieout                                        Comments                                                        Oliver Recalc   Dave Recalc   Dana Recalc
                               Salary              Salary                                                                                                                                                                                                                                                                         Oliver        Dave          Dana

  July 2019                $     145,833    $           9,167    $         129,708      Oliver North                                                   Original - AMc-056595 -    Salary amounts/year agree to Amendment 1 of North contract.                    July 2019             145,833          9,167       129,708               -             -              -
  August 2019                    145,833                9,167              129,708      Per Employment Agreement effective May 15, 2018 [AMc-          056604                                                                                                    August 2019           145,833          9,167       129,708               -             -              -
  September 2019                 145,833                9,167              129,708      056595], and Amendment Number One to Employment                                           No evidence of approval of initial contract or final payment amount.           September 2019        145,833          9,167       129,708               -             -              -
  October 2019                   145,833                9,167              129,708      Agreement effective January 1, 2019, between Oliver North      Ammendment 1 - AMc-                                                                                       October 2019          145,833          9,167       129,708               -             -              -
  November 2019                  145,833                9,167              129,708      and Ackerman McQueen [AMc-059822].                             059822 - 059823                                                                                           November 2019         145,833          9,167       129,708               -             -              -
  December 2019                  145,833                9,167              129,708                                                                                                                                                                               December 2019         145,833          9,167       129,708               -             -              -
  January 2020                   145,833                9,167              142,679                                                                     Apparent NRA approval                                                                                     January 2020          145,833          9,167       142,679               -             -              -
  February 2020                  145,833                9,167              142,679                                                                     request for ammendment -                                                                                  February 2020         145,833          9,167       142,679               -             -              -
  March 2020                     145,833                9,167              142,679                                                                     NRA-AMc_00059415                                                                                          March 2020            145,833          9,167       142,679               -             -              -
  April 2020                     145,833                9,167              142,679                                                                                                                                                                               April 2020            145,833          9,167       142,679               -             -              -
  May 2020                       145,833                9,583              142,679                                                                                                                                                                               May 2020              145,833          9,583       142,679               -             -              -
  June 2020                      145,833               10,000              142,679      Dave Valinski                                                  Contract - AMc-036766 -    Salary amounts/years agree to agreement.                                       June 2020             145,833         10,000       142,679               -             -              -
  July 2020                      145,833               10,000              142,679      Per Employment Agreement effective September 4, 2018,          036775                     Lease not signed/executed.                                                     July 2020             145,833         10,000       142,679               -             -              -
  August 2020                    145,833               10,000              142,679      between Dave Valinski and Ackerman McQueen [AMc-                                          No evidence of approval of initial contract or final payment amount.           August 2020           145,833         10,000       142,679               -             -              -
  September 2020                 145,833               10,000              142,679      036766]                                                                                                                                                                  September 2020        145,833         10,000       142,679               -             -              -
  October 2020                   145,833               10,000              142,679                                                                                                                                                                               October 2020          145,833         10,000       142,679               -             -              -
  November 2020                  145,833               10,000              142,679      Dana Loesch                                                    AMc000055 - AMc000076      Salary amounts/years agree to agreement.                                       November 2020         145,833         10,000       142,679               -             -              -
  December 2020                  145,833               10,000              142,679      Per Employment Agreement effective January 1, 2018,                                       No evidence of approval of initial contract or final payment amount.           December 2020         145,833         10,000       142,679               -             -              -
  January 2021                   145,833               10,000                           between Dana Loesch and Ackerman McQueen [AMc000055].                                                                                                                    January 2021          145,833         10,000                             -             -              -
  February 2021                  145,833               10,000                           These numbers are exclusive of any penalties, interests, or                               NRA-AMc_00052665 - 00052688 - Details of $105k billed to the NRA for           February 2021         145,833         10,000                             -             -              -
  March 2021                     145,833               10,000                           other additional costs or expenses                                                        Dana home studio equipment. This appears to be greater than was                March 2021            145,833         10,000                             -             -              -
  April 2021                     145,833               10,000                                                                                                                     contractually obligated based on the AMc contract (Article II.2.4)             April 2021            145,833         10,000                             -             -              -
  May 2021                        72,917                5,000                                                                                                                                                                                                    May 2021               72,917          5,000                             -             -              -
                           $   3,281,243    $         216,253    $        2,490,396                                                                                               $1 rounding error per the Jackson report

  Payroll Taxes            $       56,852   $           12,409   $           45,384                                                                    See Below                  See below
  Life Insurance                  193,991                                               Based on monthly premium of $8,621.82 [AMc-058265].            AMc-058265 - 058266        Amount agrees to monthly rate of $8,621.82 * 22.5 Months after July
                                                                                                                                                                                  2019.

  Long-term Care                   14,162                                               Based on annual premium of $7,552.88 [AMc-057610] and          AMc-057610 - 057611     Amount agrees to annual rate of $7,552.88 from June 2019 through May
                                                                                        [AMc-001335].                                                  AMc-001335 - AMc-001336 15, 2021.

                                                                                                                                                                                  No evidence of approval of initial contract.
                           $      265,005   $           12,409   $           45,384

  Total                    $   3,546,248    $         228,662    $        2,535,780     $                                                 6,310,690




  Payroll Tax


           Jackson             Jackson             Jackson              Jackson                                   Jackson                                     KFF Analysis                                         KFF Analysis
  2021 Salaries            $    3,281,243   $          216,253   $        2,490,396                                                                                               Incorrect header for this dataset. This number is not 2021 Salaries, this is
                                                                                                                                                                                  total salaries from July 1, 2019 until the end of the contract.

  Federal Unemployment     $      196,875   $           12,975   $         149,424      FUTA tax rate is 6.0% with $7,000 FUTA wage base. I have not
  Tax                                                                                   included any SUTA costs.
  FUTA Cap per Employee              420                   420                    420                                                                                             Recalculation OK. No evidence of approval of charges.

  Annual Calculated FUTA   $         420    $              420   $                420
  Owed

  Social Security (6.2%)   $      203,437   $           13,408   $         154,405      2021 Social Security employer tax rate is 6.2% with a
                                                                                        maximum wage base of $142,800
  Soc. Security Cap per             8,854                8,854                8,854                                                                                               Recalculation OK. No evidence of approval of charges.
  employee
  Annual Soc Sec Owed      $        8,854   $            8,854   $            8,854

  Medicare (1.45%)         $       47,578   $            3,136   $           36,111     2021 Medicare employer tax rate is 1.45%                                                  Recalculation OK. No evidence of approval of charges.
  Medicare Cap per         None             None                 None
  Employee
  Annual Medicare Owed     $       47,578   $            3,136   $           36,111

  2021 Payroll Taxes -     $       56,852   $           12,410   $           45,385                                                                                               Total calculation based on full salaries during period, not just 2021.
  Subtotal




                                                                                                                                                                                                                                                                                                                                  APP. 01830
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                                                                                                                                                                                                                   Exhibit C
                                                                                                                                                                                                                  Severance




Jackson Report Analysis
Exhibit 5

                                                                            Jackson     Jackson
              Jackson            Jackson            Jackson     Jackson     Benchmark Rates Note B    Jackson      Jackson          Jackson                             Jackson                            KFF Analysis                                   KFF Analysis                                 KFF Analysis      KFF Analysis
             Employee          Tenure Note A         Salary     Weekly     One week    Two weeks      1-week       2-week        Actual per AMc                      Jackson Notes                       Document tieout                                  Comments                                   Recalc'd per AMc   Difference from
                                                                 Salary     per year    per year     Severance    severance       Methodolgy                                                                                                                                                          Methodology        Methodology

     Suzie Clinton                       19.48       50,100         963         19.48        38.96     18,768        37,536             25,468    Note A - Per AMc employment records [AMcTX-            Agrees to native   Amounts agree to AMcTX-0046382 file. However, no specific                          23,460            2,008
     Mark Chestnut                       19.04      240,000       4,615         19.04        38.08     87,877       175,754            120,000    00046382]                                              file at AMcTX-     documentation related to the source of this Excel spreadsheet, or                 109,846           10,154
     Michael Ives                        32.27      165,000       3,173         32.27        64.54    102,395       204,790            138,875                                                           0046382            how the amounts were determined. No evidence of any approvals                     127,994           10,881
     Nany Martin                         33.45       88,500       1,702         33.45         66.9     56,929       113,859             77,438    Note B - Lee Hecht Harrison/Compensation                                  from the NRA.                                                                      71,162            6,276
     James Parsons                        5.42       70,000       1,346          5.42        10.84      7,296        14,592              9,917    Resources study. "Severance & Separation Benefits.                                                                                                            9,120              797
     George Szucs                         1.24      150,000       2,885          1.24         2.48      3,577         7,154              5,000    2017-2018. Seventh Edition"                                               Per Jay Madrid correspondence [NRA-Amc_000065378-000065382] -                       4,471              529
     Clay Turner                         28.36      282,500       5,433         28.36        56.72    154,071       308,142            209,521                                                                              "Some Amc employees perform work for NRA and for AMc unrelated                    192,589           16,932
     Stephen Walkters                     8.87      135,000       2,596          8.87        17.74     23,028        46,056             31,500                                                                              to the NRA. The NRA is only obligated for the annualized percentage of             28,785            2,715
     Clarl Warner                         2.95      225,000       4,327          2.95          5.9     12,764        25,529             17,813                                                                              work commitment allocable to the work performed for the NRA by                     15,956            1,857
     Stephanie West                      19.58       61,000       1,173         19.58        39.16     22,969        45,938             31,263                                                                              employees that are on any fee."                                                    28,711            2,552
     Charles Berthelot                    1.15       90,000       1,731          1.15          2.3      1,990         3,981              3,000                                                                                                                                                                  2,488              512
     Rachel Bonilla                       1.37       95,000       1,827          1.37         2.74      2,503         5,006              3,563                                                                              No evidence of payments by AMc to "furloughed" employees.                           3,129              434
     Andrew Butler                        1.21       60,000       1,154          1.21         2.42      1,396         2,792              2,000                                                                                                                                                                  1,745              255
     Timothy Herr                         5.63      100,000       1,923          5.63        11.26     10,827        21,654             15,000                                                                              Language in report leads reader to understand severance payments                   13,534            1,466
     Collins Idehen                       6.08      385,000       7,404          6.08        12.16     45,015        90,031             62,563                                                                              have not been made.                                                                56,269            6,294
     Guy Mitchell                         1.49      120,000       2,308          1.49         2.98      3,438         6,877              5,000                                                                                                                                                                  4,298              702
     Denise Sinisi                        2.62      120,000       2,308          2.62         5.24      6,046        12,092              8,500                                                                              When we do the exact math outlined in Mr. Jackson's report, the                     7,558              942
     Grant Spofford                       14.3      255,000       4,904          14.3         28.6     70,125       140,250             95,625                                                                              total payment should be $110K lower than being requested.                          87,656            7,969
     Eric Van-Horn                        3.56       70,000       1,346          3.56         7.12      4,792         9,585              6,708                                                                                                                                                                  5,990              718
     Alexander Varney                     1.36       85,000       1,635          1.36         2.72      2,223         4,446              3,188                                                                                                                                                                  2,779              409
     Jace Whatcott                        1.24       60,000       1,154          1.24         2.48      1,431         2,862              2,000                                                                                                                                                                  1,788              212
     Michael Aitken                      18.95      158,000       3,038         18.95         37.9     57,579       115,158             78,342                                                                                                                                                                 71,974            6,368
     Dennis Azato                         19.9      175,000       3,365          19.9         39.8     66,971       133,942             91,146                                                                                                                                                                 83,714            7,432
     Jon Carter                          21.97      155,000       2,981         21.97        43.94     65,488       130,975             89,125                                                                                                                                                                 81,859            7,266
     Edward Selfridge                    15.32      270,000       5,192         15.32        30.64     79,546       159,092            108,000                                                                                                                                                                 99,433            8,567
     Carly Jimeson                        3.49       50,000         962          3.49         6.98      3,356         6,712              4,583                                                                                                                                                                  4,195              388
     John Popp                           19.06      137,000       2,635         19.06        38.12     50,216       100,432             68,500                                                                                                                                                                 62,770            5,730
                                                                                                      962,618     1,925,236          1,313,638                                                           N/A                $1 rounding error per the Jackson report.                                       1,203,272          110,366


     Employee count                            27                                                     Add: Additional Medical          509,492 See below
                                                                                                                  Add: Payroll         106,019 See below
                                                                                                                                     1,929,149


Additional Medical

Exhibit 5A
             Jackson           Jackson                                                                                                                                  Jackson                             KFF Analysis                                  KFF Analysis
                           COBRA Premiums
             Employee                                                                                    `                                                           Jackson Notes                       Document tieout                                  Comments
                             Paid by AMc
     Michael Aitken        $     55,248.00                                                                                                        Source: AMc COBRA Reconciliation [AMcTX-               Agrees to native   Amounts agree to AMcTX-00046372. However, no specific
     Dennis Azato                55,248.00                                                                                                        00046372].AMc Payments of COBRA Premiums for           file at AMcTX-     documentation related to the source of this Excel spreadsheet, or
     Charles Berthelot           23,307.00                                                                                                        Furloughed Employees                                   00046372           how the amounts were determined. No evidence of any approvals
     Andrew Butler               23,307.00                                                                                                                                                                                  from the NRA.
     Mark Chesnut                55,248.00
     Timothy Herr                13,150.63
     Michael Ives                55,248.00
     Carly Jimeson                 5,463.80
     Oliver North                55,248.00
     James Parsons               23,307.00
     Clay Turner                 55,248.00
     David Valinski              10,914.00
     Stephen Walters             23,307.00
     Carl Warner                 55,248.00
                           $    509,492.43




Additional Payroll Taxes

             Jackson          Jackson               Jackson      Jackson   Jackson                                                                                      Jackson                             KFF Analysis                                  KFF Analysis
                             Calculated              FUTA         Social   Medicare
                                                                                                                                                                     Jackson Notes                       Document tieout                                  Comments
                             Severance                          Security
     Suzie Clinton         $       25,468           $    420    $ 1,579    $     369                                                              2. FUTA tax rate is 6.0% with $7,000 FUTA wage base.   N/A                Error on his medicare tax rate footnote. Footnote tax rate is left
                                                                                                                                                  I have not included any SUTA costs.                                       blank.

                                                                                                                                                  3. 2021 Social Security employer tax rate is 6.2%
                                                                                                                                                  with a maximum wage base of $142,800.

                                                                                                                                                  4. 2021 Medicare employer tax rate is
     Mark Chestnut                   120,000              420      7,440        1,740
     Michael Ives                    138,875              420      8,610        2,014
     Nany Martin                      77,438              420      4,801        1,123
     James Parsons                     9,917              420        615          144
     George Szucs                      5,000              300        310           73
     Clay Turner                     209,521              420      8,854        3,038
     Stephen Walkters                 31,500              420      1,953          457
     Clarl Warner                     17,813              420      1,104          258
     Stephanie West                   31,263              420      1,938          453
     Charles Berthelot                 3,000              180        186           44
     Rachel Bonilla                    3,563              214        221           52
     Andrew Butler                     2,000              120        124           29
     Timothy Herr                     15,000              420        930          218
     Collins Idehen                   62,563              420      3,879          907
     Guy Mitchell                      5,000              300        310           73
     Denise Sinisi                     8,500              420        527          123
     Grant Spofford                   95,625              420      5,929        1,387
     Eric Van-Horn                     6,708              402        416           97
     Alexander Varney                  3,188              191        198           46
     Jace Whatcott                     2,000              120        124           29
     Michael Aitken                   78,342              420      4,857        1,136
     Dennis Azato                     91,146              420      5,651        1,322
     Jon Carter                       89,125              420      5,526        1,292
     Edward Selfridge                108,000              420      6,696        1,566
     Carly Jimeson                     4,583              275        284           66
     John Popp                        68,500              420      4,247          993
                           $       1,313,638        $   9,662   $ 77,309   $   19,049   $ 106,020                                                                                                                           $1 rounding error per the Jackson report in FUTA and Medicare




                                                                                                                                                                                                                                                                                                                                          APP. 01831
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                                                                                                                                                                        Exhibit C
                                                                                                                                                                    Diss and Moving




        Jackson Report Analysis
        Exhibit 6


                    Jackson Jackson                      Jackson         Jackson              Jackson              KFF Analysis                                   KFF Analysis
                   Alexandria, VA Office                                                   Jackson Notes         Document tieout                                  Comments
                               Justin C Geiger                                      AMcTX-00046173 and AMcTX-
                                                                                    00046181
                                               Airfare to DC         $     562.80                               AMcTX-00046173 - Amount agrees to document.
                                                                                                                00046178         No evidence of NRA approval.
                                               Meal                          5.42                               AMcTX-00046177 Amount agrees to document.
                                                                                                                                 No evidence of NRA approval.
                                               March 2020 Expenses       1,154.56                               AMcTX-00046181 - Amount agrees to document.
                                                                                                                AMcTX-00046198 No evidence of NRA approval.

                                  Other costs                            6,220.00   AMcTX-00046257              AMcTX-00046257      Agrees to document.
                                                                                                                                    No detail here outside of a single screenshot of the balance of $6,220.
                                                                                                                                    No evidence of approval.



                   Alexandria Total                                  $ 7,942.78

                   Colorado Springs, CO Office

                                  Local Move                         $ 3,153.50
                                  Material                               436.00
                                  Transport                            1,000.00
                                  Pallet Delivery                        408.00
                                              Subtotal               $ 4,997.50     AMcTX-00046168              AMcTX-00046168      Amount agrees to document.

                                  Relocate Xerox Equipment           $     964.46   AMcTX-00046262 and AMcTX-   AMcTX-00046262      Amounts agree to two Xerox invoices. No location for pickup or
                                                                                    00046263                    and AMcTX-          delivery.
                                                                                                                00046263

                   CO Springs Total                                  $ 5,961.96


                   Dallas, TX Office

                                  Materials & Equipment               5,949.00
                                  Crating                             6,380.00
                                  Modular Disassembly                 2,550.00
                                  Transportation                      9,000.00
                                  Valuation $500K                     4,500.00
                                  Project Manager                       800.00
                                  Moving Expenses - 11/4              2,802.00
                                  Moving Expenses - 11/5              6,510.00
                                  Moving Expenses - 11/6              8,130.00
                                  Moving Expenses - 11/7              6,440.00
                                  Moving Expenses - 11/8              7,096.00
                                             Subtotal                60,157.00      AMcTX-00046169              AMcTX-00046169      Amounts agree to A-1 Freeman Moving & Storage invoice.
                                                                                                                                    No evidence of NRA approval.

                                  Michael Dennehy                                   AMcTX-00046170 and AMcTX-
                                                                                    00046213-46214.
                                               Hotel                       936.76                               AMcTX-00046170   Amounts agree to hotel folio.
                                                                                                                                 No evidence of NRA approval.
                                               Meals                       265.98                               AMcTX-00046213 - Amount agrees to three invoices ($111.28 + $106.00 + $48.70) for
                                                                                                                46256            meals.
                                                                                                                                 No evidence of NRA approval.

                                  Josh Himes                                        AMcTX-00046172
                                            Hotel                          806.84                               AMcTX-00046172      Amounts agree to screenshots of some type of expense listing. No
                                                                                                                                    evidence of invoices.
                                                                                                                                    No evidence of NRA approval.
                                               Meals                       210.56                               AMcTX-00046172      Amounts agree to screenshots of some type of expense listing. No
                                                                                                                                    evidence of invoices.
                                                                                                                                    No evidence of NRA approval.

                                  Justin Gelger                                     AMcTX-00046199-46200
                                             Hotel                         806.84                               AMcTX-00046199-     Amounts agree to hotel folio.
                                                                                                                46200               No evidence of NRA approval.
                                               Meals                       106.74                               AMcTX-00046199-     Amount agrees to two invoices ($19.78 + $86.96) for meals.
                                                                                                                46200               No evidence of NRA approval.

                                  Jason Peak                                        AMcTX-00046171
                                               Mileage                     242.44                               AMcTX-00046171      Amount matches expense report--and mileage from OKC to Dallas.
                                                                                                                                    No evidence of NRA approval.

                                  Relocate Xerox                         1,077.64   AMcTX-00046260 and AMcTX-   AMcTX-00046260      Amounts agree to two Xerox invoices. No way to specify location for
                                                                                    00046261                    and AMcTX-          pickup or delivery.
                                                                                                                00046261            No evidence of NRA approval.

                   Dallas Total                                      64,610.80

                   Grand Total                                       78,515.54



                                                                                                                                                                                                              APP. 01832
Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21                                                                                                                                                                                                                                                                                                                        Page 655 of 1087 PageID 30860
               Exhibit C
               Past Due Invoices




               Jackson Report Analysis
               Exhibit 7

               Jackson Jackson Jackson      Jackson     Jackson                         Jackson                       Jackson          Jackson    Jackson            Jackson                Jackson                         Jackson                          KFF Analysis              KFF Analysis            KFF Analysis                 KFF Analysis               KFF Analysis     KFF Analysis KFF Analysis              KFF Analysis                       KFF Analysis     KFF Analysis         KFF Analysis
                       Type    Reference Invoice Date Due Date          Project                                   Amount Due          Days Late Months Late   Monthly Interest Rate    Interest Due                      Jackson Notes                  BREAKOUT OF SUMMARY         Link to documents         Bates number               Summary comment            Invoice no.        Invoice date Due date      Description of svcs                            Amount           Difference      Evidence of approval?
                                                                                                                                                                                                                                                           JACKSON NOTES
               NR - National Rifle Association
                        Invoice       166104        4/15/19    5/15/19 18-NR-296 - '19 A/M Travel                       $1,935.08          792           26                    1.00%              $503      Source: AMcTX-00019289; AMc-041869; AMc-   AMcTX-00019289         AMcTX-00019289            AMcTX-00019289              Agrees to invoice.                        166104          4/15/19          5/15/19 18-NR-296 - '19 A/M Travel - Approved          1,935.08              -     No
                                                                                                                                                                                                            041994; AMc-042051; AMc-042136; AMcTX-                                                                                  No evidence of approval.                                                           by C. Spray on 2/12/19
                       Invoice       166106         4/15/19    5/15/19 19-NR-049 - '20 A/M Logo                        $10,000.00          792           26                    1.00%            $2,600      00045468; AMcTX-00045469; AMcTX-                                  n/a                       n/a                         No evidence of invoice. No      n/a                n/a              n/a            n/a                                                 -       $10,000.00     No
                                                                                                                                                                                                            00045470; AMcTX-00045502; AMcTX-                                                                                        evidence of approval
                       Invoice       166107         4/15/19    5/15/19 19-NR-051 - '19 A/M Radio                        $5,488.25          792           26                    1.00%            $1,427      00045503; AMcTX-00045504; NRA-                                    n/a                       n/a                         No evidence of invoice. No      n/a                n/a              n/a             n/a                                                -         $5,488.25    No
                                                                                                                                                                                                            AMc_00079126; NRA-AMc_00079132; AMc-                                                                                    evidence of approval
                       Invoice       166108         4/15/19    5/15/19 19-NR-062 - Publications Google Ad               $5,500.00          792           26                    1.00%            $1,430      041862; AMcTX-00045467; AMc-041863.                               n/a                       n/a                         No evidence of invoice. No      n/a                n/a              n/a             n/a                                                -         $5,500.00    No
                                                                       Manager Website Staging & Integration                                                                                                                                                                                                                        evidence of approval
                       Invoice       166109         4/15/19    5/15/19 NR-LEGAL - Legal Fees                           $81,810.84          792           26                    1.00%           $21,271                                                                        n/a                       n/a                         No evidence of invoice. No      n/a                n/a              n/a             n/a                                                -       $81,810.84     No
                                                                                                                                                                                                                                                                                                                                    evidence of approval
                       Invoice       166110         4/15/19    5/15/19 NR-TRAV - Travel Expenses                       $13,725.51          792           26                    1.00%            $3,569                                                                        n/a                       n/a                         No evidence of invoice. No      n/a                n/a              n/a             n/a                                                -       $13,725.51     No
                                                                                                                                                                                                                                                                                                                                    evidence of approval
                       Invoice       166340          5/1/19    5/31/19 19-NR-001 - Talent Fee                         $680,355.45          776           25                    1.00%          $170,089                                                 AMc-042136             AMc-041863                AMc-041863                  Agrees to invoice.                        166340           5/1/19          5/31/19 19-NR-001 - Talent Fee - Per approved       680,355.45            $0.00    No
                                                                                                                                                                                                                                                       AMc-041863                                                                   No evidence of approval.                                                           budget
                       Invoice       166341          5/1/19    5/31/19 19-NR-002 - NRATV Programming C4               $185,416.67          776           25                    1.00%           $46,354                                                 AMc-041863             AMc-041863                AMc-041864                  Not referenced in Jackson's               166341           5/1/19          5/31/19 19-NR-002 - NRATV Programming C4            185,416.67               -     No
                                                                                                                                                                                                                                                                                                                                    report, however we identified
                                                                                                                                                                                                                                                                                                                                    a similar document in
                                                                                                                                                                                                                                                                                                                                    production, documented
                                                                                                                                                                                                                                                                                                                                    herein.
                                                                                                                                                                                                                                                                                                                                    No evidence of approval.
                       Invoice       166342          5/1/19    5/31/19 19-NR-003 - Monthly Video Support C4           $104,166.67          776           25                    1.00%           $26,042                                                 AMc-041863             AMc-041863                AMc-041865                  Not referenced in Jackson's               166342           5/1/19          5/31/19 19-NR-003 - Monthly Video Support           104,166.67               -     No
                                                                                                                                                                                                                                                                                                                                    report, however we identified                                                      C4 - Per approved budget
                                                                                                                                                                                                                                                                                                                                    a similar document in
                                                                                                                                                                                                                                                                                                                                    production, documented
                                                                                                                                                                                                                                                                                                                                    herein.
                                                                                                                                                                                                                                                                                                                                    No evidence of approval.
                       Invoice       166343          5/1/19    5/31/19 19-NR-004 - Support Staff Fee                  $200,702.50          776           25                    1.00%           $50,176                                                 AMc-041863             AMc-041863                AMc-041866                  Not referenced in Jackson's               166343           5/1/19          5/31/19 19-NR-004 - Support Staff Fee - Per         200,702.50               -     No
                                                                                                                                                                                                                                                                                                                                    report, however we identified                                                      approved budget
                                                                                                                                                                                                                                                                                                                                    a similar document in
                                                                                                                                                                                                                                                                                                                                    production, documented
                                                                                                                                                                                                                                                                                                                                    herein.
                                                                                                                                                                                                                                                                                                                                    No evidence of approval.
                       Invoice       166344          5/1/19    5/31/19 19-NR-005 - Online/Digital Management          $107,212.50          776           25                    1.00%           $26,803                                                 AMc-041863             AMc-041863                AMc-041867                  Not referenced in Jackson's               166344           5/1/19          5/31/19 19-NR-005Online/Digital                     107,212.50               -     No
                                                                       Fee                                                                                                                                                                                                                                                          report, however we identified                                                      Management Fee
                                                                                                                                                                                                                                                                                                                                    a similar document in
                                                                                                                                                                                                                                                                                                                                    production, documented
                                                                                                                                                                                                                                                                                                                                    herein.
                                                                                                                                                                                                                                                                                                                                    No evidence of approval.
                       Invoice       166345          5/1/19    5/31/19 19-NR-006 - Business Intelligence/Data          $35,416.66          776           25                    1.00%            $8,854                                                 AMc-041863                                       AMc-041868                  Not referenced in Jackson's               166345           5/1/19          5/31/19 19-NR-006 - Business                         35,416.66               -     No
                                                                       Resources/Analytics                                                                                                                                                                                                                                          report, however we identified                                                      Intelligence/Data Resources/Analytics -
                                                                                                                                                                                                                                                                                                                                    a similar document in                                                              Per approved budget
                                                                                                                                                                                                                                                                                                                                    production, documented
                                                                                                                                                                                                                                                                                                                                    herein.
                                                                                                                                                                                                                                                                                                                                    No evidence of approval.
                       Invoice       166339          5/1/19    5/31/19 19-MG/NR-001 - Strategic Management            $258,613.17          776           25                    1.00%           $64,653                                                 AMc-041869             AMc-041869                AMc-041869                  Agrees to invoice.                        166339           5/1/19          5/31/19 19-MG/NR-001 - Strategic                    258,613.17               -     No
                                                                                                                                                                                                                                                                                                                                    No evidence of approval.                                                           Management - Strategic Planning and
                                                                                                                                                                                                                                                                                                                                                                                                                       Crisis Management
                       Credit        167449         6/12/19    6/12/19 19-NR-029 - '19 A/M Media                      ($13,689.50) N/A           N/A          N/A                      N/A                                                                                    AMcTX-00045464            AMcTX-00045464              Not referenced in Jackson's               167449          6/12/19          6/12/19 19-NR-029 - '19 A/M Media - Credit for     ($13,689.50)              -     No
                                                                                                                                                                                                                                                                                                                                    report, however we identified                                                      2019 Annual Meetings Radio, Print
                                                                                                                                                                                                                                                                                                                                    a similar document in                                                              and Outdoor
                                                                                                                                                                                                                                                                                                                                    production, documented
                                                                                                                                                                                                                                                                                                                                    herein.
                                                                                                                                                                                                                                                                                                                                    No evidence of approval.
                       Invoice       166804         5/17/19    6/16/19 18-NR-431 - '19 A/M Signage - Mechanical        $22,235.89          760           24                    1.00%            $5,337                                                 AMc-041994             AMc-041994 (2)            AMc-041994                  Agrees to invoice.                        166804          5/17/19          6/16/19 18-NR-431 - '19 A/M Signage -                22,235.89               -     Email with Craig
                                                                                                                                                                                                                                                                                                                                    No evidence of approval.                                                           Mechanical - Preflight Disk. Partial                                       approving costs up to
                                                                                                                                                                                                                                                                                                                                                                                                                       Billing Costs approved by C. Spray on                                      $40,900. Over budget
                                                                                                                                                                                                                                                                                                                                                                                                                       4/17.                                                                      outlined in 4/17 email
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  from Craig. No way to
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  specifically tie out these
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  charges to two invoices.
                       Invoice       166805         5/17/19    6/16/19 19-NR-010 - Fundraising Consulting State           $230.00          760           24                    1.00%                  $55                                                                     AMc-041994 (2)            AMc-041995                  Not referenced in Jackson's               166805          5/17/19          6/16/19 19-NR-010 - Fudraising Consulting                230.00              -     No
                                                                       Registrations                                                                                                                                                                                                                                                report, however we identified                                                      State Regulations - Dorsey & Whitney -
                                                                                                                                                                                                                                                                                                                                    a similar document in                                                              Approved by C. Spray on 1/5/19
                                                                                                                                                                                                                                                                                                                                    production, documented
                                                                                                                                                                                                                                                                                                                                    herein.
                                                                                                                                                                                                                                                                                                                                    No evidence of approval.
                       Invoice       166806         5/17/19    6/16/19 19-NR-045 - '19 A/M Backstage Signage            $1,009.75          760           24                    1.00%              $242                                                                        AMc-041994 (2)            AMc-041996                  Not referenced in Jackson's               166806          5/17/19          6/16/19 19-NR-045 - '19 A/M Backstage Signage          1,009.75              -     No
                                                                                                                                                                                                                                                                                                                                    report, however we identified                                                      - Costs approved by S. Supernaugh on
                                                                                                                                                                                                                                                                                                                                    a similar document in                                                              4/13
                                                                                                                                                                                                                                                                                                                                    production, documented
                                                                                                                                                                                                                                                                                                                                    herein.
                                                                                                                                                                                                                                                                                                                                    No evidence of approval.
                       Invoice       166807         5/17/19    6/16/19 19-NR-051 - '19 A/M Radio                           $14.81          760           24                    1.00%                   $4                                                                     AMc-041994 (2)            AMc-041997                  Not referenced in Jackson's               166807          5/17/19          6/16/19 19-NR-051 - '19 A/M Radio - Approved              14.81              -     No
                                                                                                                                                                                                                                                                                                                                    report, however we identified                                                      by L. Supernaugh on 2/7
                                                                                                                                                                                                                                                                                                                                    a similar document in
                                                                                                                                                                                                                                                                                                                                    production, documented
                                                                                                                                                                                                                                                                                                                                    herein.
                                                                                                                                                                                                                                                                                                                                    No evidence of approval.
                       Invoice       166808         5/17/19    6/16/19 19-NR-056 - '19 A/M Media Kit Premium            $1,422.16          760           24                    1.00%              $341                                                                        AMc-041994 (2)            AMc-041998                  Not referenced in Jackson's               166808          5/17/19          6/16/19 19-NR-056 - '19 A/M Media Kit                  1,422.16              -     No
                                                                                                                                                                                                                                                                                                                                    report, however we identified                                                      Premium - Approved by C. Spray on
                                                                                                                                                                                                                                                                                                                                    a similar document in                                                              4/4/19
                                                                                                                                                                                                                                                                                                                                    production, documented
                                                                                                                                                                                                                                                                                                                                    herein.
                                                                                                                                                                                                                                                                                                                                    No evidence of approval.
                       Invoice       166809         5/17/19    6/16/19 NR-TRAV - Travel Expenses                        $3,401.82          760           24                    1.00%              $816                                                                        AMc-041994 (2)            AMc-041999                  Not referenced in Jackson's               166809          5/17/19          6/16/19 NR-TRAV - Travel Expenses - Details            3,401.82              -     No
                                                                                                                                                                                                                                                                                                                                    report, however we identified                                                      attached….
                                                                                                                                                                                                                                                                                                                                    a similar document in
                                                                                                                                                                                                                                                                                                                                    production, documented
                                                                                                                                                                                                                                                                                                                                    herein.
                                                                                                                                                                                                                                                                                                                                    No evidence of approval.
                       Invoice       167007         5/17/19    6/16/19 18-NR-296 - '19 A/M Travel                      $21,936.68          760           24                    1.00%            $5,265                                                                        AMc-041994 (2)            AMc-042000                  Not referenced in Jackson's               167007          5/17/19          6/16/19 18-NR-296 - '19 A/M Travel - Details         21,936.68               -     No
                                                                                                                                                                                                                                                                                                                                    report, however we identified                                                      attached….
                                                                                                                                                                                                                                                                                                                                    a similar document in
                                                                                                                                                                                                                                                                                                                                    production, documented
                                                                                                                                                                                                                                                                                                                                    herein.
                                                                                                                                                                                                                                                                                                                                    No evidence of approval.
                       Invoice       167038          6/1/19     7/1/19 19-NR-001 - Talent Fee                         $680,355.45          745           24                    1.00%          $163,285                                                                        AMc-042051 (2)            AMc-042052                  Not referenced in Jackson's               167038           6/1/19           7/1/19 19-NR-001 - Talent Fee - Per Approved       680,355.45               -     No
                                                                                                                                                                                                                                                                                                                                    report, however we identified                                                      Budget
                                                                                                                                                                                                                                                                                                                                    a similar document in
                                                                                                                                                                                                                                                                                                                                    production, documented
                                                                                                                                                                                                                                                                                                                                    herein.
                                                                                                                                                                                                                                                                                                                                    No evidence of approval.
                       Invoice       167039          6/1/19     7/1/19 19-NR-002 - NRATV Programming C4               $185,416.67          745           24                    1.00%           $44,500                                                                        AMc-042051 (2)            AMc-042053                  Not referenced in Jackson's               167039           6/1/19           7/1/19 19-NR-002 - NRATV Programming C4            185,416.67               -     No
                                                                                                                                                                                                                                                                                                                                    report, however we identified
                                                                                                                                                                                                                                                                                                                                    a similar document in
                                                                                                                                                                                                                                                                                                                                    production, documented
                                                                                                                                                                                                                                                                                                                                    herein.
                                                                                                                                                                                                                                                                                                                                    No evidence of approval.
                       Invoice       167040          6/1/19     7/1/19 19-NR-003 - Monthly Video Support C4           $104,166.67          745           24                    1.00%           $25,000                                                                        AMc-042051 (2)            AMc-042054                  Not referenced in Jackson's               167040           6/1/19           7/1/19 19-NR-003 - Monthly Video Support           104,166.67               -     No
                                                                                                                                                                                                                                                                                                                                    report, however we identified                                                      C4 - Per approved budget
                                                                                                                                                                                                                                                                                                                                    a similar document in
                                                                                                                                                                                                                                                                                                                                    production, documented
                                                                                                                                                                                                                                                                                                                                    herein.
                                                                                                                                                                                                                                                                                                                                    No evidence of approval.
                       Invoice       167041          6/1/19     7/1/19 19-NR-004 - Support Staff Fee                  $200,702.50          745           24                    1.00%           $48,169                                                                        AMc-042051 (2)            AMc-042055                  Not referenced in Jackson's               167041           6/1/19           7/1/19 19-NR-004 - Support Staff Fee - Per         200,702.50               -     No
                                                                                                                                                                                                                                                                                                                                    report, however we identified                                                      approved budget
                                                                                                                                                                                                                                                                                                                                    a similar document in
                                                                                                                                                                                                                                                                                                                                    production, documented
                                                                                                                                                                                                                                                                                                                                    herein.
                                                                                                                                                                                                                                                                                                                                    No evidence of approval.
                       Invoice       167042          6/1/19     7/1/19 19-NR-005 - Online/Digital Management          $107,212.50          745           24                    1.00%           $25,731                                                                        AMc-042051 (2)            AMc-042056                  Not referenced in Jackson's               167042           6/1/19           7/1/19 19-NR-005 - Online/Digital                  107,212.50               -     No
                                                                       Fee                                                                                                                                                                                                                                                          report, however we identified                                                      Management Fee
                                                                                                                                                                                                                                                                                                                                    a similar document in
                                                                                                                                                                                                                                                                                                                                    production, documented
                                                                                                                                                                                                                                                                                                                                    herein.
                                                                                                                                                                                                                                                                                                                                    No evidence of approval.
                       Invoice       167043          6/1/19     7/1/19 19-NR-006 - Business Intelligence/Data          $35,416.66          745           24                    1.00%            $8,500                                                                        AMc-042051 (2)            AMc-042057                  Not referenced in Jackson's               167043           6/1/19           7/1/19 19-NR-006 - Business                         35,416.66               -     No
                                                                       Resources/Analytics                                                                                                                                                                                                                                          report, however we identified                                                      Intelligence/Data Resources/Analytics -
                                                                                                                                                                                                                                                                                                                                    a similar document in                                                              Per approved budget
                                                                                                                                                                                                                                                                                                                                    production, documented
                                                                                                                                                                                                                                                                                                                                    herein.
                                                                                                                                                                                                                                                                                                                                    No evidence of approval.
                       Invoice       167037          6/1/19     7/1/19 19-MG/NR-001 - Strategic Management            $258,613.17          745           24                    1.00%           $62,067                                                 AMc-042051             AMc-042051 (2)            AMc-042051                  Agrees to invoice.                        167037           6/1/19           7/1/19 19-MG/NR-001 - Strategic                    258,613.17               -     No
                                                                                                                                                                                                                                                                                                                                    No evidence of approval.                                                           Management - Strategic Planning and
                                                                                                                                                                                                                                                                                                                                                                                                                       Crisis Management
                       Invoice       167453         6/12/19    7/12/19 18-NR-296 - '19 A/M Travel                          $24.77          734           24                    1.00%                   $6                                              NRA-AMc_00079126       AMcTX-00045496            AMcTX-00045496              Agrees to invoice.                        167453          6/12/19          7/12/19 18-NR-296 - '19 A/M Travel - Costs                24.77              -     No
                                                                                                                                                                                                                                                                                                                                    No evidence of approval.                                                           approved by C. Spray on 4/5.
                       Invoice       167454         6/12/19    7/12/19 18-NR-431 - '19 A/M Signage - Mechanical        $33,572.64          734           24                    1.00%            $8,057                                                                        AMcTX-00045496            AMcTX-00045497              Not referenced in Jackson's               167454          6/12/19          7/12/19 18-NR-431 - '19 A/M Signage -                33,572.64               -     Email with Craig
                                                                                                                                                                                                                                                                                                                                    report, however we identified                                                      Mechanical - Costs approved by C.                                          approving costs up to
                                                                                                                                                                                                                                                                                                                                    a similar document in                                                              Spray 4/17.                                                                $40,900. Over budget
                                                                                                                                                                                                                                                                                                                                    production, documented                                                                                                                                        outlined in 4/17 email
                                                                                                                                                                                                                                                                                                                                    herein.                                                                                                                                                       from Craig. No way to
                                                                                                                                                                                                                                                                                                                                    No evidence of approval.                                                                                                                                      specifically tie out these
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  charges to two invoices.
                       Invoice       167455         6/12/19    7/12/19 18-NR-441 - '19 A/M Photography                 $18,350.00          734           24                    1.00%            $4,404                                                                        AMcTX-00045496            AMcTX-00045498              Not referenced in Jackson's               167455          6/12/19          7/12/19 18-NR-441 - '19 A/M Photography -            18,350.00               -     No
                                                                                                                                                                                                                                                                                                                                    report, however we identified                                                      Photo Materials and Processing
                                                                                                                                                                                                                                                                                                                                    a similar document in
                                                                                                                                                                                                                                                                                                                                    production, documented
                                                                                                                                                                                                                                                                                                                                    herein.
                                                                                                                                                                                                                                                                                                                                    No evidence of approval.
                       Invoice       167456         6/12/19    7/12/19 18-NR-443 - '19 A/M NRATV Set                    $1,352.98          734           24                    1.00%              $325                                                                        AMcTX-00045496            AMcTX-00045499              Not referenced in Jackson's               167456          6/12/19          7/12/19 18-NR-443 - '19 A/M NRATV Set                  1,352.98              -     No
                                                                       Production                                                                                                                                                                                                                                                   report, however we identified                                                      Production. Preflight Disk. Costs
                                                                                                                                                                                                                                                                                                                                    a similar document in                                                              approved by C. Spray on 4/17.
                                                                                                                                                                                                                                                                                                                                    production, documented
                                                                                                                                                                                                                                                                                                                                    herein.
                                                                                                                                                                                                                                                                                                                                    No evidence of approval.
                       Invoice       167457         6/12/19    7/12/19 18-NR-445 - '19 A/M Podium Signage              $10,588.50          734           24                    1.00%            $2,541                                                                        AMcTX-00045496            AMcTX-00045500              Not referenced in Jackson's               167457          6/12/19          7/12/19 18-NR-445 - '19 A/M Podium Signage.          10,588.50               -     No
                                                                                                                                                                                                                                                                                                                                    report, however we identified                                                      Preflight Disk. Approved by C. Spray
                                                                                                                                                                                                                                                                                                                                    a similar document in                                                              on 4/17.
                                                                                                                                                                                                                                                                                                                                    production, documented
                                                                                                                                                                                                                                                                                                                                    herein.
                                                                                                                                                                                                                                                                                                                                    No evidence of approval.
                       Invoice       167458         6/12/19    7/12/19 19-NR-031 - '19 A/M GROF Presentation              $650.00          734           24                    1.00%              $156                                                                        AMcTX-00045496            AMcTX-00045501              Not referenced in Jackson's               167458          6/12/19          7/12/19 19-NR-031 - '19 A/M GROF                         650.00              -     No
                                                                                                                                                                                                                                                                                                                                    report, however we identified                                                      Presentation - Make-up
                                                                                                                                                                                                                                                                                                                                    a similar document in
                                                                                                                                                                                                                                                                                                                                    production, documented
                                                                                                                                                                                                                                                                                                                                    herein.
                                                                                                                                                                                                                                                                                                                                    No evidence of approval.
                       Invoice       168015          7/9/19     8/8/19 19-NR-010 - Fundraising Consulting State           $204.98          707           23                    1.00%                  $47                                              AMcTX-00045502         AMcTX-00045502            AMcTX-00045502              Agrees to invoice.                        168015           7/9/19           8/8/19 19-NR-010 - Fundraising Consulting               204.98              -     No
                                                                       Registrations                                                                                                                                                                                                                                                No evidence of approval.                                                           State Registrations - Dorsey & Whitney
                                                                                                                                                                                                                                                                                                                                                                                                                       - Approved by C. Spray on 1/5/19

                       Invoice       169524         9/12/19   10/12/19 NR-LEGAL - Legal Fees                          $264,008.09          642           21                    1.00%           $55,442                                                 AMcTX-00045504         AMcTX-00045504            AMcTX-00045504              Agrees to invoice.                        169524          9/12/20         10/12/20 NR-Legal - Legal fees for NY Attorney       264,008.09               -     No
                                                                                                                                                                                                                                                                                                                                    No evidence of approval.                                                           General and U.S. Senate Finance
                                                                                                                                                                                                                                                                                                                                                                                                                       Committee investigations of the NRA
                       Invoice       170388        10/10/19    11/9/19 19-NR-010 - Fundraising Consulting State           $409.50          614           20                    1.00%                  $82                                              AMcTX-00045503         AMcTX-00045503            AMcTX-00045503              Agrees to invoice.                        170388         10/10/19          11/9/19 19-NR-010 - Fundraising Consulting               409.50              -     No
                                                                       Registrations                                                                                                                                                                                                                                                No evidence of approval.                                                           State Registrations - Dorsey & Whitney
                                                                                                                                                                                                                                                                                                                                                                                                                       - Approved by C. Spray on 1/5/19

                       Invoice       170464         12/2/19     1/1/20 NR-LEGAL - Legal Fees                           $17,258.01          561           18                    1.00%            $3,106                                                 AMcTX-00045470         AMcTX-00045470            AMcTX-00045470              Agrees to invoice.                        170464          12/2/19           1/1/20 NR-Legal - Legal fees for NY Attorney        17,258.01               -     No
                                                                                                                                                                                                                                                                                                                                    No evidence of approval.                                                           General and U.S. Senate Finance
                                                                                                                                                                                                                                                                                                                                                                                                                       Committee investigations of the NRA
                       Invoice       171144         12/2/19     1/1/20 NR-LEGAL - Legal Fees                           $42,432.84          561           18                    1.00%            $7,638                                                 AMcTX-00045468         AMcTX-00045468            AMcTX-00045468              Agrees to invoice.                        171144          12/2/19           1/1/20 NR-Legal - Legal fees for NY Attorney        42,432.84               -     No
                                                                                                                                                                                                                                                                                                                                    No evidence of approval.                                                           General and U.S. Senate Finance
                                                                                                                                                                                                                                                                                                                                                                                                                       Committee investigations of the NRA
                       Invoice       171498         12/2/19     1/1/20 NR-LEGAL - Legal Fees                           $56,314.60          561           18                    1.00%           $10,137                                                 AMcTX-00045469         AMcTX-00045469            AMcTX-00045469              Agrees to invoice.                        171498          12/2/19           1/1/20 NR-Legal - Legal fees for NY Attorney        56,314.60               -     No
                                                                                                                                                                                                                                                                                                                                    No evidence of approval.                                                           General and U.S. Senate Finance
                                                                                                                                                                                                                                                                                                                                                                                                                       Committee investigations of the NRA
                                                                                                                    $3,743,955.44

               NRAF - National Rifle Association
                       Invoice        166346         5/1/19    5/31/19 19-NRAF-002 - A1F 8/19 ISSUE                   $124,583.33          776           25                    1.00%           $31,146                                                 AMc-041862             AMc-041862                AMc-041862                  Agrees to invoice.                        166346           5/1/19          5/31/19 19-NRAF-002 - A1F 8/19 ISSUE -              124,583.33               -     No
                                                                                                                                                                                                                                                                                                                                    No evidence of approval.                                                           Various procedures re: August '19
                                                                                                                                                                                                                                                                                                                                                                                                                       issue of "America's 1st Freedom"
                       Invoice       167044          6/1/19     7/1/19 19-NRAF-003 - A1F 9/19 ISSUE                   $124,583.33          745           24                    1.00%           $29,900                                                                        AMc-042051 (2)            AMc-042058                  Not referenced in Jackson's               167044           6/1/19           7/1/19 19-NRAF-002 - 19-NRAF-003 - A1F             124,583.33               -     No
                                                                                                                                                                                                                                                                                                                                    report, however we identified                                                      9/19 ISSUE - Various procedures re:
                                                                                                                                                                                                                                                                                                                                    a similar document in                                                              September '19 issue of "America's 1st
                                                                                                                                                                                                                                                                                                                                    production, documented                                                             Freedom"
                                                                                                                                                                                                                                                                                                                                    herein.
                                                                                                                                                                                                                                                                                                                                    No evidence of approval.
                                                                                                                      $249,166.66

               NRF - NRA Foundation
                       Invoice      167045           6/1/19     7/1/19 19-NRF-001 - NRATV Programming C3              $250,000.00          745           24                    1.00%           $60,000                                                                        AMc-042051 (2)            AMc-042059                  Not referenced in Jackson's               167045           6/1/19           7/1/19 19-NRF-001 - NRATV Programming C3 -         250,000.00               -     No
                                                                                                                                                                                                                                                                                                                                    report, however we identified                                                      additional description of services
                                                                                                                                                                                                                                                                                                                                    a similar document in
                                                                                                                                                                                                                                                                                                                                    production, documented
                                                                                                                                                                                                                                                                                                                                    herein.
                                                                                                                                                                                                                                                                                                                                    No evidence of approval.
                       Invoice       167046          6/1/19     7/1/19 19-NRF-002 - Monthly Video Support C3           $62,500.00          745           24                    1.00%           $15,000                                                                        AMc-042051 (2)            AMc-042060                  Not referenced in Jackson's               167046           6/1/19           7/1/19 19-NRF-002 - Monthly Video Support           62,500.00               -     No
                                                                                                                                                                                                                                                                                                                                    report, however we identified                                                      C3 - Per approved budget
                                                                                                                                                                                                                                                                                                                                    a similar document in
                                                                                                                                                                                                                                                                                                                                    production, documented
                                                                                                                                                                                                                                                                                                                                    herein.
                                                                                                                                                                                                                                                                                                                                    No evidence of approval.
                       Invoice       167047          6/1/19     7/1/19 19-NRF-003 - FSP Production Ongoing C3          $62,500.00          745           24                    1.00%           $15,000                                                                        AMc-042051 (2)            AMc-042061                  Not referenced in Jackson's               167047           6/1/19           7/1/19 19-NRF-003 - FSP Production Ongoing          62,500.00               -     No
                                                                                                                                                                                                                                                                                                                                    report, however we identified                                                      C3 - Per approved budget
                                                                                                                                                                                                                                                                                                                                    a similar document in
                                                                                                                                                                                                                                                                                                                                    production, documented
                                                                                                                                                                                                                                                                                                                                    herein.
                                                                                                                                                                                                                                                                                                                                    No evidence of approval.
                                                                                                                      $375,000.00

               NRM - National Rifle Association
                      Invoice        167448         6/12/19    7/12/19 19-NRM-001 - '19 A/M Digital Media               $7,915.03          734           24                    1.00%            $1,900                                                 NRA-AMc_00079132       NRA-AMc_00079132          NRA-AMc_00079132            Agrees to invoice.                        167448          6/12/19          7/12/19 19-NRM-001 - '19 A/M Digital Media -           7,915.03              -     No
                                                                                                                                                                                                                                                                                                                                    No evidence of approval.                                                           2019 Annual Meeting Digital Media
                                                                                                                                                                                                                                                                                                                                                                                                                       and Paid Social - Total invoices
                                                                                                                                                                                                                                                                                                                                                                                                                       received from vendors = $61,915.03
                                                                                                                                                                                                                                                                                                                                                                                                                       less amount already paid ($54,000).
                                                                                                                        $7,915.03

               NI-NRA-ILA
                       Credit        163943         1/15/19    1/15/19 18-NI-003 - '18 November Cover Wrap              ($5,000.00) N/A          N/A          N/A                      N/A                                                             AMcTX-00045467         AMcTX-00045467            AMcTX-00045467              Agrees to invoice.                        163943          1/15/19          1/15/19 18-NI-003 - '18 November Cover Wrap -         (5,000.00)             -     No
                                                                                                                                                                                                                                                                                                                                    No evidence of approval.                                                           Credit due to not executing projected
                                                                                                                                                                                                                                                                                                                                                                                                                       preflight expenses
                                                                                                                        ($5,000.00)

                                                                        Total                                       $4,371,037.13                                                            $1,057,970                                                                                                                             $1 rounding error per Jackson
                                                                                                                                                                                                                                                                                                                                    report.



                                                                                                                                                                                                                                                                                                        Summary of items above

                                                                                                                                                                                                                                                                                                                                                Count                Invoice Amount
                                                                                                                                                                                                                                                                                                        AMc invoice provided, no                               15      $1,734,903.91
                                                                                                                                                                                                                                                                                                        evidence of approval
                                                                                                                                                                                                                                                                                                        AMc invoice not provided,                              32      $2,636,133.22
                                                                                                                                                                                                                                                                                                        no evidence of approval

                                                                                                                                                                                                                                                                                                                                                               47      $4,371,037.13




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               APP. 01833
                            Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21                                                                                               Page 656 of 1087 PageID 30861
                                                                                                                                                  Exhibit C
                                                                                                                                                  Interest




Jackson Report Analysis
Exhibit 8

     Jackson     Jackson      Jackson      Jackson                                   Jackson                          Jackson    Jackson      Jackson           Jackson       Jackson     Jackson           KFF Analysis                    KFF Analysis    KFF Analysis
                                                                                                                                 No. Days    No. Months         Monthly       Interest    Jackson     BREAKOUT PER JACKSON                 Recalculation    Difference
      Type      Reference   Invoice Date   Pay Date                                  Project                        Amount Due
                                                                                                                                   Late          Late         interest rate     Due        Notes               NOTES
    Invoice        160162        8/9/18       12/20/18   18-NR-046 - CG Magazine '18 Issue 5                        $269,000.00       133                 4           1.00%   $10,760     Source:   No documents provided                        $10,760              $0
    Invoice        160229       8/10/18       12/20/18   18-NR-002 - 2018 NRATV Programming                          $50,000.00       132                 4           1.00%    $2,000       AMc-    that show the date AMc                        $2,000              $0
    Invoice        160252       8/10/18       12/20/18   18-NR-346 - 2018 Night Race Suite Signage                    $1,000.00       132                 4           1.00%        $40    002628    received payment on these                        $40              $0
    Invoice        160254       8/10/18       12/20/18   NR-TRAV - Travel Expenses                                    $6,090.65       132                 4           1.00%       $244              invoices.                                       $244              $0
    Invoice        160251       8/10/18       12/20/18   18-NR-341 - 2018 October OJ WLP Column                       $2,000.00       132                 4           1.00%        $80                                                               $80              $0
    Invoice        160253       8/10/18       12/20/18   NR-NEWS - NRANews Monthly Costs                             $15,355.39       132                 4           1.00%       $614                                                              $614              $0
    Invoice        160161       8/13/18       12/20/18   NR-OOP - Out of Pocket Expenses                             $25,524.04       129                 4           1.00%    $1,021                                                             $1,021              $0
    Invoice        160472       8/15/18       12/20/18   MG/NR-OPEX - MG Operating Expenses for NRA                  $18,458.62       127                 4           1.00%       $738                                                              $738              $0
    Invoice        160163        8/9/18        12/7/18   18-NR-355 - ’19 Members Meeting Coordination                $10,000.00       120                 3           1.00%       $300                                                              $400              $0
    Invoice        160166        8/9/18        12/7/18   18-NR-358 - '19 A/M ILA Forum Coordination                  $10,000.00       120                 3           1.00%       $300                                                              $400              $0
    Invoice        160165        8/9/18        12/7/18   18-NR-357 - '19 A/M A/V Coordination                        $10,000.00       120                 3           1.00%       $300                                                              $400              $0
    Invoice        160164        8/9/18        12/7/18   18-NR-356 - '19 A/M Sat. Evening Event Coordination         $20,000.00       120                 3           1.00%       $600                                                              $800              $0
    Invoice        160245       8/10/18        12/7/18   18-NR-328 - 2018 Night Race Fence Banners                      $500.00       119                 3           1.00%        $15                                                               $20              $0
    Invoice        160234       8/10/18        12/7/18   18-NR-267 - '18 WLF Summit Keynotes                            $500.00       119                 3           1.00%        $15                                                               $20              $0
    Invoice        160220       8/10/18        12/7/18   18-NR-153 - '18 A/M HLF Brochure Update                     $10,752.85       119                 3           1.00%       $323                                                              $430              $0
    Invoice        160226       8/10/18        12/7/18   18-NR-331 - '18 Election Issue ROF Magazine                  $2,353.00       119                 3           1.00%        $71                                                               $94              $0
    Invoice        160230       8/10/18        12/7/18   18-NR-103 - '18 Executive Speeches                           $6,500.00       119                 3           1.00%       $195                                                              $260              $0
    Invoice        160233       8/10/18        12/7/18   18-NR-266 - '18 WLF Summit Coordination/Scripting           $15,000.00       119                 3           1.00%       $450                                                              $600              $0
    Invoice        160240       8/10/18        12/7/18   18-NR-276 - '19 A/M ROF Magazine/Redesign                   $25,700.00       119                 3           1.00%       $771                                                            $1,028              $0
    Invoice        160219       8/10/18        12/7/18   18-NR-148 - '18 A/M Filming                                    $609.14       119                 3           1.00%        $18                                                               $24              $0
    Invoice        160222       8/10/18        12/7/18   18-NR-252 - 2018 Bristol August Program Ad                     $294.13       119                 3           1.00%         $9                                                               $12              $0
    Invoice        160225       8/10/18        12/7/18   18-NR-302 - 2018 Night Race August A1F Ad                      $294.13       119                 3           1.00%         $9                                                               $12              $0
    Invoice        160241       8/10/18        12/7/18   18-NR-285 - 2018 Night Race Coordination                     $5,000.00       119                 3           1.00%       $150                                                              $200              $0
    Invoice        160223       8/10/18        12/7/18   18-NR-253 - 2018 Bristol August Guest Guide Ad                 $294.13       119                 3           1.00%         $9                                                               $12              $0
    Invoice        160238       8/10/18        12/7/18   18-NR-271 - '18 WLF Summit WIWO Video                          $750.00       119                 3           1.00%        $23                                                               $30              $0
    Invoice        160221       8/10/18        12/7/18   18-NR-246 - '18 WLF Summit Invitation                          $352.95       119                 3           1.00%        $11                                                               $14              $0
    Invoice        160247       8/10/18        12/7/18   18-NR-330 - 2018 Night Race Concourse Banners                  $500.00       119                 3           1.00%        $15                                                               $20              $0
    Invoice        160248       8/10/18        12/7/18   18-NR-336 - 2018 September OJ President's Column             $2,000.00       119                 3           1.00%        $60                                                               $80              $0
    Invoice        160236       8/10/18        12/7/18   18-NR-269 - '18 WLF Summit Social Graphics                     $500.00       119                 3           1.00%        $15                                                               $20              $0
    Invoice        160218       8/10/18        12/7/18   17-NR-473 - '17 WLF Summit Filming                             $590.00       119                 3           1.00%        $18                                                               $24              $0
    Invoice        160224       8/10/18        12/7/18   18-NR-296 - '19 A/M Travel                                   $1,288.07       119                 3           1.00%        $39                                                               $52              $0
    Invoice        160244       8/10/18        12/7/18   18-NR-327 - 2018 Night Race Mobile Shooting Range            $3,500.00       119                 3           1.00%       $105                                                              $140              $0
    Invoice        160250       8/10/18        12/7/18   18-NR-338 - 2018 October OJ President's Column               $2,000.00       119                 3           1.00%        $60                                                               $80              $0
    Invoice        160227       8/10/18        12/7/18   NR-DUP - Duplicate Materials                                   $360.95       119                 3           1.00%        $11                                                               $14              $0
    Invoice        160235       8/10/18        12/7/18   18-NR-268 - '18 WLF Summit Podium Signage                      $500.00       119                 3           1.00%        $15                                                               $20              $0
    Invoice        160249       8/10/18        12/7/18   18-NR-337 - 2018 September OJ WLP Column                     $2,000.00       119                 3           1.00%        $60                                                               $80              $0
    Invoice        160232       8/10/18        12/7/18   18-NR-246 - '18 WLF Summit Invitation                        $4,500.00       119                 3           1.00%       $135                                                              $180              $0
    Invoice        160246       8/10/18        12/7/18   18-NR-329 - 2018 Brownell Photography Project                  $750.00       119                 3           1.00%        $23                                                               $30              $0
    Invoice        160231       8/10/18        12/7/18   18-NR-189 - 2018 Freedom Cruise Photography                 $15,000.00       119                 3           1.00%       $450                                                              $600              $0
    Invoice        160242       8/10/18        12/7/18   18-NR-286 - 2018 Night Race Photography                      $4,000.00       119                 3           1.00%       $120                                                              $160              $0
    Invoice        160243       8/10/18        12/7/18   18-NR-319 - 2018 Lindy's Digital Ads                         $1,250.00       119                 3           1.00%        $38                                                               $50              $0
    Invoice        160696        9/1/18       12/20/18   NR-OPEX - Operating Expenses                               $115,175.64       110                 3           1.00%    $3,455                                                             $3,455              $0
    Invoice        160886       9/11/18       12/20/18   MG/NR-OPEX - MG Operating Expenses for NRA                  $17,064.06       100                 3           1.00%       $512                                                              $512              $0
    Invoice        160964       9/14/18       12/20/18   17-NR-591 - '18 A/M Podium Signage                          $10,235.55         97                3           1.00%       $307                                                              $307              $0
    Credit         160896       9/14/18       12/20/18   NR-OOP - Out of Pocket Expenses                             ($3,596.33)        97                3           1.00%      ($108)                                                            ($108)             $0
    Invoice        160968       9/14/18       12/20/18   18-NR-327 - 2018 Night Race Mobile Shooting Range            $3,529.53         97                3           1.00%       $106                                                              $106              $0
    Invoice        160969       9/14/18       12/20/18   NR-NEWS - NRANews Monthly Costs                             $12,577.98         97                3           1.00%       $377                                                              $377              $0
    Invoice        160962       9/14/18       12/20/18   17-NR-473 - '17 WLF Summit Filming                             $226.99         97                3           1.00%         $7                                                                $7              $0
    Invoice        160961       9/14/18       12/20/18   16-NR-437 - YFT M&A Center - Marketing Materials             $3,175.00         97                3           1.00%        $95                                                               $95              $0
    Invoice        160963       9/14/18       12/20/18   17-NR-477 - '18 A/M ROF Magazine                             $1,176.50         97                3           1.00%        $35                                                               $35              $0
    Invoice        160966       9/14/18       12/20/18   18-NR-189 - 2018 Freedom Cruise Photography                 $14,500.00         97                3           1.00%       $435                                                              $435              $0
    Invoice        160967       9/14/18       12/20/18   18-NR-286 - 2018 Night Race Photography                      $7,620.00         97                3           1.00%       $229                                                              $229              $0
    Invoice        160960       9/14/18       12/20/18   15-NR-118 - Website Unification                             $15,060.00         97                3           1.00%       $452                                                              $452              $0
    Invoice        161007       9/14/18       12/20/18   NR-TRAV - Travel Expenses                                   $18,770.25         97                3           1.00%       $563                                                              $563              $0
    Invoice        161066       9/17/18       12/20/18   18-NR-405 - '19 A/M Interior Signage                        $10,000.00         94                3           1.00%       $300                                                              $300              $0
    Invoice        161060       9/17/18       12/20/18   18-NR-103 - '18 Executive Speeches                          $15,700.00         94                3           1.00%       $471                                                              $471              $0
    Invoice        161069       9/17/18       12/20/18   18-NR-408 - '19 Members Meeting Staging                     $10,000.00         94                3           1.00%       $300                                                              $300              $0
    Invoice        161065       9/17/18       12/20/18   18-NR-358 - '19 A/M ILA Forum Coordination                  $20,000.00         94                3           1.00%       $600                                                              $600              $0
    Invoice        161067       9/17/18       12/20/18   18-NR-406 - '19 A/M Exterior Signage                        $10,000.00         94                3           1.00%       $300                                                              $300              $0
    Invoice        161064       9/17/18       12/20/18   18-NR-357 - '19 A/M A/V Coordination                        $40,000.00         94                3           1.00%    $1,200                                                             $1,200              $0
    Invoice        161063       9/17/18       12/20/18   18-NR-356 - '19 A/M Sat. Evening Event Coordination         $30,000.00         94                3           1.00%       $900                                                              $900              $0
    Invoice        161068       9/17/18       12/20/18   18-NR-407 - '19 A/M Sat. Evening Event Staging              $10,000.00         94                3           1.00%       $300                                                              $300              $0
    Invoice        161062       9/17/18       12/20/18   18-NR-355 - ’19 Members Meeting Coordination                $30,000.00         94                3           1.00%       $900                                                              $900              $0
    Invoice        161061       9/17/18       12/20/18   18-NR-276 - '19 A/M ROF Magazine/Redesign                   $44,650.00         94                3           1.00%    $1,340                                                             $1,340              $1 Rounding
    Invoice        161399       10/1/18       12/20/18   NR-OPEX - Operating Expenses                               $143,906.24         80                2           1.00%    $2,878                                                             $2,878              $0
    Invoice        161856      10/16/18       12/20/18   18-NR-344 - 2018 YFT Lindsay Ell Forbes Ad                     $250.00         65                2           1.00%         $5                                                                $5              $0
    Invoice        161914      10/16/18       12/20/18   NR-TRAV - Travel Expenses                                    $7,980.40         65                2           1.00%       $160                                                              $160              $0
    Invoice        161860      10/16/18       12/20/18   NR-NEWS - NRANews Monthly Costs                             $11,505.94         65                2           1.00%       $230                                                              $230              $0
    Invoice        161857      10/16/18       12/20/18   18-NR-346 - 2018 Night Race Suite Signage                    $1,470.63         65                2           1.00%        $29                                                               $29              $0
    Invoice        161859      10/16/18       12/20/18   18-NR-388 - '18 WLF Summit Special Logo / Photo Backdrop     $1,168.49         65                2           1.00%        $23                                                               $23              $0
    Invoice        161913      10/16/18       12/20/18   18-NR-276 - '19 A/M ROF Magazine/Redesign                  $105,626.08         65                2           1.00%    $2,113                                                             $2,113              $0
    Invoice        161858      10/16/18       12/20/18   18-NR-369 - '19 A/M WLF L&A Save the Date                      $120.00         65                2           1.00%         $2                                                                $2              $0
    Invoice        161902      10/16/18       12/20/18   MG/NR-OPEX - MG Operating Expenses for NRA                  $16,723.19         65                2           1.00%       $334                                                              $334              $0
                                                                                                                     $1,269,684                                               $39,080               $1 rounding error per Jackson Report


                                                                                                                                                                                                                                                                   APP. 01834
                                      Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21                                                                                         Page 657 of 1087 PageID 30862




                                                                                                                                            Exhibit C
                                                                                                                                             Legal




Jackson Report Analysis
Exhibit 9
                                                                                                                                                                                                                              KFF Analysis KFF Analysis  KFF Analysis    KFF Analysis KFF Analysis KFF Analysis
  Jackson                                               Jackson                                        Jackson              Jackson        KFF Analysis                 KFF Analysis                KFF Analysis                                               Detailed Analysis
                                                                                                                         Jackson Notes       Link to file provided by   Tieout to alternate AMcTX        Comments              Invoice no.   Invoice Date   Amount         Bill from    Bill from   Evidence of
    Date                                              Description                                      Amount
                                                                                                                                                     Counsel                  bates number                                                                                 Counsel?       AMc        approval
1/16/20      Legal Fees Incurred from NRA-Related Government Proceedings                           $     4,900.90   AMcTX-00046071-46167   AMcTX-00046071 - 46076       AMcTX-00046071 - 46076      Agree to documents             173001        1/16/20      4,900.90 Yes            Yes          No
2/12/20      Legal Fees Incurred from NRA-Related Government Proceedings                                 7,155.34                          2277001_00068315             AMcTX-00046111 -            listed in column H.            173476        2/12/20      7,155.34 Yes            Yes          No
                                                                                                                                                                        00046115
4/17/20      Legal Fees Incurred from NRA-Related Contract Litigation and Government Proceedings       119,566.93                          2277001_00068322             AMcTX-00046119 -            No evidence of NRA             175009        4/17/20     119,566.93 Yes           Yes          No
                                                                                                                                                                        00046125                    approval.
5/22/20      Legal Fees Incurred from NRA-Related Contract Litigation and Government Proceedings       119,757.38                          2277001_00068320             AMcTX-00046126 -                                           175569        5/22/20     119,757.38 Yes           Yes          No
                                                                                                                                                                        00046129                    Note invoices for legal
7/8/20       Legal Fees Incurred from NRA-Related Contract Litigation and Government Proceedings       158,542.40                          2277001_00068324             AMcTX-00046134 -            fees also included in          176072         7/8/20     158,542.40 Yes           Yes          No
                                                                                                                                                                        00046136                    the Past Due Invoice
7/23/20      Legal Fees Incurred from NRA-Related Contract Litigation and Government Proceedings        74,261.49                          2277001_00068314             AMcTX-00046130 -            Category.                      176234        7/23/20      74,261.49 Yes           Yes          No
                                                                                                                                                                        00046133
8/11/20      Legal Fees Incurred from NRA-Related Contract Litigation and Government Proceedings        12,566.55                          2277001_00068331             AMcTX-00046137 -                                           176436        8/11/20      12,566.55 Yes           Yes          No
                                                                                                                                                                        00046140
9/3/20       Legal Fees Incurred from NRA-Related Government Proceedings                                29,224.45                          2277001_00068332             AMcTX-00046144 -                                           176681         9/3/20      29,224.45 Yes           Yes          No
                                                                                                                                                                        00046146
9/23/20      Legal Fees Incurred from NRA-Related Government Proceedings                                 9,738.65                          2277001_00068321             AMcTX-00046141 -                                           176933        9/23/20         9738.65 Yes          Yes          No
                                                                                                                                                                        00046143
10/12/20     Legal Fees Incurred from NRA-Related Contract Litigation and Government Proceedings        31,730.93                          2277001_00068316             AMcTX-00046084 -                                           177162       10/12/20      31,730.93 Yes           Yes          No
                                                                                                                                                                        00046088
10/28/20     Legal Fees Incurred from NRA-Related Contract Litigation and Government Proceedings         9,469.50                          2277001_00068311             AMcTX-00046089 -                                           177323       10/28/20        9,469.50 Yes          Yes          No
                                                                                                                                                                        00046092
11/18/20     Legal Fees Incurred from NRA-Related Contract Litigation and Government Proceedings        10,929.49                          2277001_00068326             AMcTX-00046098 -                                           177628       11/18/20      10,929.49 Yes           Yes          No
                                                                                                                                                                        00046101
12/15/20     Legal Fees Incurred from NRA-Related Contract Litigation and Government Proceedings         5,419.49                          2277001_00068312             AMcTX-00046107 -                                           177917       12/15/20        5,419.49 Yes          Yes          No
                                                                                                                                                                        00046110
                                                                                                   $ 593,263.50                                                                                                                                             $ 593,263.50




                                                                                                                                                                                                                                                                                   APP. 01835
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                        EXHIBIT 65
                     (Filed Under Seal)




                                                               APP. 01836-APP. 01912
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                        EXHIBIT 66
                     (Filed Under Seal)




                                                               APP. 01913-APP. 01914
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                        EXHIBIT 67
                     (Filed Under Seal)




                                                               APP. 01915-APP. 01916
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                        EXHIBIT 68
                     (Filed Under Seal)




                                                               APP. 01917-APP. 01940
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                      EXHIBIT 69




                                                                       APP. 01941
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Privileged and Confidential                                                           Overview of Out of Pocket Expenses

       Summary of Contents
       The following analysis shows all expenses processed on behalf of Tony Makris which were billed by Ackerman to the NRA as out of pocket expenses. The total value of these expenses is $1,299,017 out of
       $2,755,689 billed by Ackerman to the NRA in 2016, 2017, and 2018 as out of pocket expenses.
       Limitations
       The source information for the following analysis is (1) transcribed from the documentation provided by Ackerman or (2) information obtained through analysis by FRA.
       Glossary of Columns on 'Detail' Tab
       Line Reference                                     Unique reference assigned to each line item by FRA.
       Code                                               Examples of observations as defined in Note 1 at the bottom of the tab.
       Year                                               Year of invoice from Ackerman to NRA per the listing of invoices received from the NRA.
       Invoice Number                                     Invoice number from Ackerman to NRA invoice per the listing of invoices received from the NRA.
       Expense Report #                                   Expense report number transcribed from the documentation received while on-site.
       Date of Expense Report                             Date of the submitted expense report transcribed from the documentation received while on-site.
       Expense Report Submitted By                        Name of the individual that submitted the expense report transcribed from the documentation received while on-site.
       Position                                           Position of the individual that submitted the expense report identified by FRA using the Ackerman McQueen website.
       Date of Transaction                                Date of the transaction transcribed from the documentation received while on-site.
       Vendor                                             Standardized vendor name by FRA based on the vendor name transcribed from the documentation received while on-site.
       Amount                                             Amount of expense transcribed from the documentation received while on-site.
       Location                                           Location of the transaction transcribed from the documentation received while on-site or based on knowledge of recurring vendors by FRA.
       Expense Report Business Purpose                    Business purpose related to an entire expense report transcribed from the documentation received while on-site.
       Transaction Business Purpose                       Business purpose related to a specific line item transcribed from the documentation received while on-site.
       Individuals Related to the Expense                 Transcription of names and/or initials directly related to the expense per the documentation received while on-site.
       Expense Type                                       Categorized by FRA based on information collected from (1) documentation provided or (2) desktop search of vendors.
       Expense Subcategory                                Categorized by FRA based on information collected from (1) documentation provided or (2) desktop search of vendors.
       Additional Information                             Additional information collected from (1) documentation provided or (2) desktop search of vendors by FRA.
       Expenses by Year
       Total expenses by year:
                                                   2016                   $411,974.12
                                                   2017                   $467,830.02
                                                   2018                   $419,212.46




                                                                                                                                                                                                      APP. 01942
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Privileged and Confidential

Table of Contents
Tab                           Description
Key Observations              Observations resulting from the analysis of expenses
Detail                        Expense line items submitted on behalf of Tony Makris
Graph                         Graphical depiction of total expenses by month and year
By Category                   Breakdown of expenses by category
Assumed Names                 Reconciliation of names transcribed from documentation and FRA'S assumptions as to the identity of the individuals
Key Individuals               Total amount of expenses attributable to key individuals where the key individuals were the only participants
Total Cost by Individual      Total expense amount by assumed name
Quantity by Individual        Total quantity of expenses by assumed name
By Vendor                     Total expense amount and quantity of expenses by vendor




                                                                                                                                                   APP. 01943
                                                              Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21                                                Page 665 of 1087 PageID 30870




Privileged and Confidential                                                                                    Overview of Out of Pocket Expenses


Key Observations
The contract between NRA and Ackerman McQueen states, "Mailing and express charges, long distance telephone calls, photocopies, deliveries, sales taxes and reasonable out-of-town travel including transportation, meals and lodging, etc. on NRA's express
behalf, shall be billed at AMc's cost. All out of town travel expenses shall require prior written approval in accordance with written procedures established by the NRA Executive Vice President or his designee. Payment of travel expenses not approved in
advance may result in denial of reimbursement. Expenses not listed above shall be considered to be normal business expenses of AMc and not billable to NRA unless specifically authorized in writing by the NRA Executive Vice president or his designee." FRA
was not provided with any evidence of written approval by the NRA Executive Vice President or his designee for any of the out of pocket expenses for 2015 and 2016.

The contract states, "Special assignments not included in this Agreement which cannot reasonably be included under the monthly fee must be approved in accordance with written procedures established by the NRA Executive Vice President or his designee, and
the charges made by AMc shall be agreed upon in advance, where reasonable, otherwise such charges shall not be greater than the usual and customary charges for such services or expenses in the industry." FRA was not provided with any evidence to indicate
that the out of pocket expenses were in connection with Special Assignments or approved by the NRA Executive Vice President or his designee.

Ackerman McQueen's internal controls and policy in regard to expense processing is unknown. FRA was not provided with evidence that common business practices for expense processing were followed. The following observations were noted:
1) FRA noted that several of the expenses submitted on Ackerman employee expense accounts (such as Tony Makris, Nader Tavanagar, etc.) did not appear to pertain to the Ackerman employee. The expense reports included charges for others including NRA
employees;
2) FRA noted expenses that appeared to relate to coordination of travel and meeting locations for several individuals. Event coordination is not typically handled through expense reporting. Such expenses included costs for advanced deposits on hotels for
conferences and meetings. One particular deposit processed through Tony Makris' expenses for $20,000 was made one year in advance. FRA saw no competitive bids for hotel conference locations etc. contained in support for the expense;
3) In regard to the "usual and customary charges” FRA noted that many of the travel expenses were for high dollar amounts: i.e. private planes, Forbes travel guide five star hotels, private car service and Landini Brothers.
4) The business purpose for the expense was not always documented; this is particularly important as several expenses involved spouses and/or other related parties. Additionally Josh Powell’s moving expenses were included in OOP, and expenses related to a
“Heart to Heart” gala sponsored by Susan LaPierre were charged to the NRA through OOP;
5) In addition, attendees were not always noted on the expenses submitted. For example, there were several expense line items recorded on Tyler Schropp's credit card statement that did not specifically identify Tyler Schropp or other attendees and therefore
FRA was unable to determine which individuals the transactions were related to;
6) FRA received additional supporting documentation for Tony Makris' expenses such as calendars with attendees names, receipts, invoices, etc.; however, the same level of documentation was not provided for the other expense reports submitted as out of
pocket expenses. For example, FRA was provided with American Express Statements for Tyler Schropp; no expense reports or other documentation to support the statements was provided. FRA notes that this additional support may have provided additional
insight into attendees and business purposes.
7) Tips for large round dollar amounts were collated and paid in routine intervals. Often times these payments were made in advance;
8) There were several methods by which an individual could submit an expense. For instance, Tyler Schropp had a corporate credit card issued in his name through Ackerman McQueen that was charged back to the NRA via out of pocket expenses. Additionally,
we noted that expenses were paid for by Tony Makris on behalf of Tyler Schropp. Similarly, Nader Tavangar submitted his own expense reports and we noted that expenses were paid for by Nader Tavangar on behalf of Tyler Schropp. The inconsistent manner
in which expenses were submitted makes it difficult to monitor individual expenses;
9) Gifts for NRA executives were purchased and charged to the NRA; parking in Dallas for Woody Phillips was also routinely charged to the NRA; and
10) Attendees at events and for travel were labeled with only initials, alias', and individuals went by multiple names (i.e. Warner Loughlin Makris) this makes tracking attendance and volume of expense by individual difficult.




                                                                                                                                                                                                                                                      APP. 01944
                                                                                                  Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21                                                                                                            Page 666 of 1087 PageID 30871




Line        Code           Year   Invoice Number   Expense Report #   Date of Expense Report   Expense Report Submitted By   Position            Date of       Vendor               Amount          Location         Expense Report Business Purpose Transaction Business Purpose                                 Individuals Related to the Expense   Expense Type   Expense Subcategory   Additional Information
Reference   (see Note 1)                                                                                                                         Transaction
1                          2017   153476           EXP-11222          9/30/2000 - 11/14/2017   Jeff Minson                   Financial Analyst   9/30/2000     Grand America        $      719.58 Salt Lake City     TM OCT Travel                        Lodging Arrival: 9/28/2017 Departure: 9/30/2017         TM                                   Travel         Lodging               Guest: Tony Makris


2           9              2016   137631/136135    EXP-6836           12/1/2015 - 3/10/2016    Jeff Minson                   Financial Analyst   1/14/2016     Ritz Carlton         $    1,573.05 Dallas, TX         TM TRAVEL January 2016 Florida       WLP Lodging Jan 12-14 Dallas.                           WLP                                  Travel         Lodging               Arrival 1/12
                                                                                                                                                                                                                     Dallas Vegas (SHOT Show) and Los                                                                                                                                       Departure 1/14
                                                                                                                                                                                                                     Angeles
3                          2016   137631/136135    EXP-6836           12/1/2015 - 3/10/2016    Jeff Minson                   Financial Analyst   1/14/2016     Ritz Carlton         $    1,357.78 Dallas, TX         TM TRAVEL January 2016 Florida       TM Lodging Jan 12-14 Dallas.                            TM                                   Travel         Lodging               Arrival 1/12
                                                                                                                                                                                                                     Dallas Vegas (SHOT Show) and Los                                                                                                                                       Departure 1/14
                                                                                                                                                                                                                     Angeles
4           4; 9           2016   137631/136135    EXP-6836           12/1/2015 - 3/10/2016    Jeff Minson                   Financial Analyst   1/15/2016     Wynn                 $    3,106.88 Las Vegas, NV      TM TRAVEL January 2016 Florida       HH Lodging Haley Holmes Jan 18-22 SHOt Show.            Hayley Holmes                        Travel         Lodging               Deposit Ledger Transfer
                                                                                                                                                                                                                     Dallas Vegas (SHOT Show) and Los
                                                                                                                                                                                                                     Angeles
5           4; 9           2016   137631/136135    EXP-6836           12/1/2015 - 3/10/2016    Jeff Minson                   Financial Analyst   1/15/2016     Wynn                 $    3,050.88 Las Vegas, NV      TM TRAVEL January 2016 Florida       LD Lodging Lacey Duffy Jan 18-22 SHOT SHOW              Lacey Duffy                          Travel         Lodging               Deposit Ledger Transfer
                                                                                                                                                                                                                     Dallas Vegas (SHOT Show) and Los
                                                                                                                                                                                                                     Angeles
6           4; 9           2016   137631/136135    EXP-6836           12/1/2015 - 3/10/2016    Jeff Minson                   Financial Analyst   1/15/2016     Wynn                 $    2,400.16 Las Vegas, NV      TM TRAVEL January 2016 Florida       MM Lodging Melanie Montgomery Jan 18-22 SHOt            Melanie Montgomery                   Travel         Lodging               Deposit Ledger Transfer
                                                                                                                                                                                                                     Dallas Vegas (SHOT Show) and Los     Show.
                                                                                                                                                                                                                     Angeles
7           1; 9           2016   137631/136135    EXP-6836           12/1/2015 - 3/10/2016    Jeff Minson                   Financial Analyst   1/19/2016     Ritz Carlton         $    4,246.20 Orlando, FL        TM TRAVEL January 2016 Florida       WLP lodging Jan 14-16 Orlando FL ROOM 932               Wayne Roberts; Monica                Travel         Lodging               Handwritten note on Tony's CC statement says 'Monica' and 'Wayne Roberts'
                                                                                                                                                                                                                     Dallas Vegas (SHOT Show) and Los
                                                                                                                                                                                                                     Angeles                                                                                                                                                                Invoice emailed on 1/14/16 from The Ritz-Carlton.


8                          2018   157570           11839              1/2/2018-                Jeff Minson                   Financial Analyst   1/2/2018      Omni Air Transport   $   18,656.44   Montrose, CO     TM April Travel                      NRA meeting in Dallas for NRA Advancement w/            Tony Makris                          Travel         Airfare               Attached email correspondence indicates that the business purpose was for a
                                                                      5/11/2018                                                                                                                                                                           Josh Powell per SW (Note on Omni Receipt, not                                                                                     "client meeting" by Tony Makris
                                                                                                                                                                                                                                                          expense report).
9           9              2016   140440           EXP-8075           5/2/16 to 7/22/16        Jeff Minson                   Financial Analyst   6/14/2016     Delta Airlines       $   17,593.56   Unknown          TM June Travel                       Flight for Michael Baker from Tulsa OK to Atlanta       Michael Baker                        Travel         Airfare
                                                                                                                                                                                                                                                          GA to Johannesburg S Africa to Port Elizabeth SA to
                                                                                                                                                                                                                                                          Johannesburg S. Africa
10                         2016   137631/136135    EXP-6836           12/1/2015 - 3/10/2016    Jeff Minson                   Financial Analyst   1/19/2016     Ritz Carlton         $    3,045.93 Orlando, FL        TM TRAVEL January 2016 Florida       TM lodging Jan 14-18 Orlando FL Room 1001               TM                                   Travel         Lodging               Invoice emailed on 1/14/16 from The Ritz-Carlton.
                                                                                                                                                                                                                     Dallas Vegas (SHOT Show) and Los
                                                                                                                                                                                                                     Angeles
11          1; 9           2018   158118           EXP-11895          5/1/2018 - 6/4/2018      Jeff Minson                   Financial Analyst   5/11/2018     Ready to Roll        $   15,038.10   Unknown          TM May Travel Part 1                 Unknown                                                 Burgundy                             Auto           Car Service           Billing information: II & IS 6100 kentland Ave.
12          4              2017   146420/145983    EXP-9902           12/3/2016-               Jeff Minson                   Financial Analyst   1/1/2016      Little Katana        $   15,000.00   Dallas, TX       TM January Travel                    LK Concepts LLC Jan 5th thru 7th 3 day event $45K Eric Van Horn; Tony Makris                 Event          Food                  Safari Club- Tony Makris Event C/O Eric Van Horn-Mercury
                                                                      2/14/2017                                                                                                                                                                           Tax 8.25 $3,712.50 Gratuity $9,000 $57,712.50                                                                                     3-day subtotal: $45,000.00
                                                                                                                                                                                                                                                          BUYOUT Deposit                                                                                                                    Tax 8.25% : $3,712.50
                                                                                                                                                                                                                                                                                                                                                                                            Gratuity: 20% $9,000.00
                                                                                                                                                                                                                                                                                                                                                                                            Total: $57,712.50 (furniture rental will be a separate invoice)
                                                                                                                                                                                                                                                                                                                                                                                            Deposit $15,000
13          9              2016   137066           EXP-7303           3/4/2016 - 4/15/2016     Jeff Minson                   Financial Analyst   3/4/2016      American Airlines    $   14,305.76   Unknown          May TM Prebilled Argentina Airfare   DC Miami Airfare for WLP Argentina Hunting May          Wayne LaPierre                       Travel         Airfare               Email from Stephanie West states "The airline tickets to Argentina is to
                                                                                                                                                                                                                                                          2016                                                                                                                              produce NRA support for hunting episodes on Under Wild Skies with tony,
                                                                                                                                                                                                                                                                                                                                                                                            Wayne & Susan LaPierre. The trip is from May 25 - June 7, 2016."


14          9              2016   137066           EXP-7303           3/4/2016 - 4/15/2016     Jeff Minson                   Financial Analyst   3/4/2016      American Airlines    $   14,305.76   Unknown          May TM Prebilled Argentina Airfare   DC Miami Airfare for SLP Argentina Hunting May          Susan LaPierre                       Travel         Airfare               Email from Stephanie West states "The airline tickets to Argentina is to
                                                                                                                                                                                                                                                          2016                                                                                                                              produce NRA support for hunting episodes on Under Wild Skies with tony,
                                                                                                                                                                                                                                                                                                                                                                                            Wayne & Susan LaPierre. The trip is from May 25 - June 7, 2016."


15                         2016   137066           EXP-7303           3/4/2016 - 4/15/2016     Jeff Minson                   Financial Analyst   3/8/2016      American Airlines    $   14,303.76   Unknown          May TM Prebilled Argentina Airfare   DC Miami Airfare for TM Argentina Hunting May           TM                                   Travel         Airfare               Cost is not included on the Amex statement - handwritten note states
                                                                                                                                                                                                                                                          2016                                                                                                                              "Tickets to Argentina May 25 - June 7 2016 PLUS American Airlines
                                                                                                                                                                                                                                                                                                                                                                                            $14,3030.76 per Devin @ Amex"
16          4              2017   146420/145983    EXP-9902           12/3/2016-               Jeff Minson                   Financial Analyst   1/5/2017      Little Katana        $   14,237.50   Dallas, TX       TM January Travel                    LK Concepts LLC Jan 5th thru 7th 3 day event $45K TM                                         Event          Food
                                                                      2/14/2017                                                                                                                                                                           Tax 8.25 $3,712.50 Gratuity $9,000 $57,712.50
                                                                                                                                                                                                                                                          BUYOUT Deposit
17          4              2017   146420/145983    EXP-9902           12/3/2016-               Jeff Minson                   Financial Analyst   1/6/2017      Little Katana        $   14,237.50   Dallas, TX       TM January Travel                    LK Concepts LLC Jan 5th thru 7th 3 day event $45K TM                                         Event          Food
                                                                      2/14/2017                                                                                                                                                                           Tax 8.25 $3,712.50 Gratuity $9,000 $57,712.50
                                                                                                                                                                                                                                                          BUYOUT Deposit
18          4              2017   146420/145983    EXP-9902           12/3/2016-               Jeff Minson                   Financial Analyst   1/7/2017      Little Katana        $   14,237.50   Dallas, TX       TM January Travel                    LK Concepts LLC Jan 5th thru 7th 3 day event $45K TM                                         Event          Food
                                                                      2/14/2017                                                                                                                                                                           Tax 8.25 $3,712.50 Gratuity $9,000 $57,712.50
                                                                                                                                                                                                                                                          BUYOUT Deposit
19          2; 9           2018   158118           EXP-11895          5/1/2018 - 6/4/2018      Jeff Minson                   Financial Analyst   5/8/2018      Delta Airlines       $   13,029.31   Atlanta, GA      TM May Travel Part 1                 Elicia Loughlin Depart ATL: 05/29/18 8:22 PM            Elicia Loughlin                      Travel         Airfare
                                                                                                                                                                                                                                                          Elicia Loughlin Arrive South Africa: 05/29/18 5:35 PM


20                         2018   158118           EXP-11895          5/1/2018 - 6/4/2018      Jeff Minson                   Financial Analyst   5/8/2018      Delta Airlines       $   13,029.31   Atlanta, GA      TM May Travel Part 1                 TM Depart ATL: 05/29/18 8:22 PM                         Tony Makris                          Travel         Airfare
                                                                                                                                                                                                                                                          TM Arrive South Africa: 05/29/18 5:35 PM
21          1; 9           2016   139727           EXP-7842           4/1/2016 to 6/30/16      Jeff Minson                   Financial Analyst   5/25/2016     Ready to Roll        $   12,049.50   Louisville, KY   TM May Travel                        ground transportation during NRA annual meetings        Burgundy                             Auto           Car Service
                                                                                                                                                                                                                                                          May 17 18 19 20 21 22 & 23rd
22          1; 9           2016   137631/136135    EXP-6836           12/1/2015 - 3/10/2016    Jeff Minson                   Financial Analyst   1/19/2016     Ritz Carlton         $    2,481.71 Orlando, FL        TM TRAVEL January 2016 Florida       WLP lodging Jan 14-16 Orlando FL ROOM 924               Wayne Roberts                        Travel         Lodging               Handwritten note on Tony's CC statement says 'Wayne Roberts'
                                                                                                                                                                                                                     Dallas Vegas (SHOT Show) and Los
                                                                                                                                                                                                                     Angeles                                                                                                                                                                Invoice emailed on 1/14/16 from The Ritz-Carlton.
23          4; 9           2016   137631/136135    EXP-6836           12/1/2015 - 3/10/2016    Jeff Minson                   Financial Analyst   1/19/2016     Ritz Carlton         $      760.48 Orlando, FL        TM TRAVEL January 2016 Florida       Deposit Jack Ramsey (TS) lodging                        Jack Ramsey (TS)                     Travel         Lodging               Not on Ritz Carlton Invoice. Invoices provided for transactions before
                                                                                                                                                                                                                     Dallas Vegas (SHOT Show) and Los                                                                                                                                       1/18/16
                                                                                                                                                                                                                     Angeles
24          9              2016   137631/136135    EXP-6836           12/1/2015 - 3/10/2016    Jeff Minson                   Financial Analyst   1/21/2016     Four Seasons         $     (704.48) Las Vegas, NV     TM TRAVEL January 2016 Florida       Four Seasons cancellation for Mark Dycio                Mark Dycio                           Travel         Lodging               Hotel receipt provided for advance deposit with arrival date of 1/21/16 and
                                                                                                                                                                                                                     Dallas Vegas (SHOT Show) and Los                                                                                                                                       departure of 1/23/16 for Mark Dycio
                                                                                                                                                                                                                     Angeles




                                                                                                                                                                                                                                                                                                                                                                                                                                         APP. 01945
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25   1; 9       2017   149459          EXP-10720   4/4/2017 - 7/11/2017    Jeff Minson   Financial Analyst   5/24/2017   Ready to Roll            $   11,169.77   Atlanta, GA     Unknown                            Unknown                                               Burgundy                                             Auto              Car Service          ready to roll invoice Passenger: Burgundy


                                                                                                                                                                                                                                                                                                                                                                       4/24/17 PU: Intl Blvd Atlanta DO: Intl Blvd Atlanta $426.87


                                                                                                                                                                                                                                                                                                                                                                       4/25/17 PU: Four Seasons Atlanta DO: Four Seasons Atlanta $1,138.32


                                                                                                                                                                                                                                                                                                                                                                       4/26/17 PU: Four Seasons Atlanta DO: Four Seasons Atlanta $1,707.48


                                                                                                                                                                                                                                                                                                                                                                       4/27/17 PU: Four Seasons Atlanta DO: Four Seasons Atlanta $1,707.48


                                                                                                                                                                                                                                                                                                                                                                       4/28/17 PU: Four Seasons Atl DO: Four Seasons Atl $1,849.77


                                                                                                                                                                                                                                                                                                                                                                       4/29/17 PU: Four Seasons Atl DO: Four Seasons Atl $2,632.37


                                                                                                                                                                                                                                                                                                                                                                       4/30/17 PU: Four Seasons Atl DO: Four Seasons Atl $1,707.48




26   9          2016   137631/136135   EXP-6836    12/1/2015 - 3/10/2016   Jeff Minson   Financial Analyst   1/22/2016   Venetian                 $      (24.29) Las Vegas, NV    TM TRAVEL January 2016 Florida     Credit to lodging suite 30111 Jan 18-22 SHOT show Hayley H                                                 Travel            Lodging              Statement emailed to Hayley H. on 1/28/16.
                                                                                                                                                                                  Dallas Vegas (SHOT Show) and Los
                                                                                                                                                                                  Angeles
27              2016   137631/136135   EXP-6836    12/1/2015 - 3/10/2016   Jeff Minson   Financial Analyst   1/23/2016   Four Seasons             $   15,661.42   Las Vegas, NV   TM TRAVEL January 2016 Florida     TM Lodging dinner & bev charges groups Laundry        TM                                                   Travel            Lodging
                                                                                                                                                                                  Dallas Vegas (SHOT Show) and Los   Show Show
                                                                                                                                                                                  Angeles
28   9          2016   137631/136135   EXP-6836    12/1/2015 - 3/10/2016   Jeff Minson   Financial Analyst   1/23/2016   Four Seasons             $    1,434.13 Las Vegas, NV     TM TRAVEL January 2016 Florida     Lodging Jack Ramsey(TS) Jan 20-22 SHOT Show           TS                                                   Travel            Lodging
                                                                                                                                                                                  Dallas Vegas (SHOT Show) and Los
                                                                                                                                                                                  Angeles
29   9          2016   137631/136135   EXP-6836    12/1/2015 - 3/10/2016   Jeff Minson   Financial Analyst   1/23/2016   Four Seasons             $    1,243.71 Las Vegas, NV     TM TRAVEL January 2016 Florida     Lodging David Muntz Jan 20-22 Shot Show               David Muntz                                          Travel            Lodging
                                                                                                                                                                                  Dallas Vegas (SHOT Show) and Los
                                                                                                                                                                                  Angeles
30   9          2016   137631/136135   EXP-6836    12/1/2015 - 3/10/2016   Jeff Minson   Financial Analyst   1/23/2016   Four Seasons             $    1,189.96 Las Vegas, NV     TM TRAVEL January 2016 Florida     Lodging Dustin Gehring Jan 20-22 Shot Show            Dustin Gehring                                       Travel            Lodging
                                                                                                                                                                                  Dallas Vegas (SHOT Show) and Los
                                                                                                                                                                                  Angeles
31   9          2016   137631/136135   EXP-6836    12/1/2015 - 3/10/2016   Jeff Minson   Financial Analyst   1/23/2016   Four Seasons             $    1,067.88 Las Vegas, NV     TM TRAVEL January 2016 Florida     Lodging Will Estes Jan 20-22 Shot Show                Will Estes                                           Travel            Lodging
                                                                                                                                                                                  Dallas Vegas (SHOT Show) and Los
                                                                                                                                                                                  Angeles
32   1          2018   159388          EXP-12039   5/29/2018-              Jeff Minson   Financial Analyst   6/7/2018    CXIII/Landini Brothers   $    8,157.58 Alexandria, VA    TM June Travel                     5/8/2018: $1762.50 TM, WLP, JP, AA, SH                TM; WLP; JP; AA; SH; CN; SLP; W Loughlin; TS; M Meals/Beverages        Group
                                                   7/11/2018                                                                                                                                                         5/10/2018: 275.62 TM, CN                              Dycio; Millie Hallow; NRA BOD
                                                                                                                                                                                                                     5/16/2018: $590.84 TM, WLP, SLP, W. Loughlin
                                                                                                                                                                                                                     5/17/218: $164.28 TM, JP
                                                                                                                                                                                                                     5/18/2018: $452.40 TM, TS, JP, CN
                                                                                                                                                                                                                     5/20/2018: $180.15 TM, M. Dycio
                                                                                                                                                                                                                     5/22/2018: $353.86 TM, MD, WLP
                                                                                                                                                                                                                     5/23/2018: $98.78 TM, SH
                                                                                                                                                                                                                     5/29/2018: (charges for Josh Powell) - $120.78 JP
                                                                                                                                                                                                                     5/31/2018: (charges for Josh Powell) - $201.12 JP
                                                                                                                                                                                                                     5/11/2018: (charges for Millie Hallow) - $3741.60 -
                                                                                                                                                                                                                     MH + NRA BOD Meeting Dinner




33   9          2016   137631/136135   EXP-6836    12/1/2015 - 3/10/2016   Jeff Minson   Financial Analyst   1/19/2016   Entertainment A/V        $    7,875.00 Las Vegas, NV     TM TRAVEL January 2016 Florida     AV wifi stereo spot lights & related events           S West; H Holmes                                     Miscellaneous     Telecommunications   Relates to telecommunications charges at Venetian Resort Hotel
                                                                                                                                                                                  Dallas Vegas (SHOT Show) and Los
                                                                                                                                                                                  Angeles
34   9          2016   137631/136135   EXP-6836    12/1/2015 - 3/10/2016   Jeff Minson   Financial Analyst   1/24/2016   Wynn                     $      (13.44) Las Vegas, NV    TM TRAVEL January 2016 Florida     Lodging Hayley Holmes Jan 18-22 Shot Show             Hayley Holmes                                        Travel            Lodging
                                                                                                                                                                                  Dallas Vegas (SHOT Show) and Los
                                                                                                                                                                                  Angeles
35   5; 9; 13   2017   153476          EXP-11078   8/16/2017 - 8/16/2017   Jeff Minson   Financial Analyst   8/16/2017   Blaser USA               $    6,497.00 San Antonio, TX   TM WLP 25                          WLP 25 Anniversary gift                               WLP                                                  Miscellaneous     Gift                 Invoice email from Blaser reads "Hi Christian, This gun has never been paid
                                                                                                                                                                                                                                                                                                                                                                       for. Am I supposed to be getting payment from Tony? Thanks! -Janet"


36              2016   141517          EXP-8278    6/7/2016 - 8/5/2016     Jeff Minson   Financial Analyst   7/8/2016    CXIII/Landini Brothers   $    6,088.61 Alexandria, VA    TM JULY TRAVEL                     6/17/16 Tony Makris meal with Wayne LaPierre, C.      Tony Makris; Wayne LaPierre; C Nash; RK; Daniel      Meals/Beverages   Group
                                                                                                                                                                                                                     Nash, & RK $1,037.12                                  Unkocic; Ken Miller; Sony Masso; Nick Kocic; Tyler
                                                                                                                                                                                                                     6/20/16 Tony Makris meal with Wayne LaPierre,         Schropp; Millie Hallow; Josh Powell
                                                                                                                                                                                                                     Daniel Unkocic, Ken Miller, Sony Masso $300.42
                                                                                                                                                                                                                     6/21/16 Tony Makris meal with Daniel Unkocic, Nick
                                                                                                                                                                                                                     Kocic, Tyler Schropp, Wayne LaPierre & Millie
                                                                                                                                                                                                                     Hallow $1,945.82
                                                                                                                                                                                                                     6/22/16 Tony Makris meal with C. Nash & KM
                                                                                                                                                                                                                     $240.62
                                                                                                                                                                                                                     6/23/16 Tony Makris meal with Nick & Daniel Kocic
                                                                                                                                                                                                                     KM Sony Masso & C. Nash $1,648.93
                                                                                                                                                                                                                     6/24/16 Tony Makris meal with C. Nash, Josh Powell,
                                                                                                                                                                                                                     & RK $710.20
                                                                                                                                                                                                                     6/29/16 Tony Makris meal with Wayne LaPierre &
                                                                                                                                                                                                                     Josh Powell $205.50


37   9          2016   137631/136135   EXP-6836    12/1/2015 - 3/10/2016   Jeff Minson   Financial Analyst   1/24/2016   Wynn                     $      (13.44) Las Vegas, NV    TM TRAVEL January 2016 Florida     Lodging Lacey Duffy Holmes Jan 18-22 Shot Show        Lacey Duffy; Holmes                                  Travel            Lodging
                                                                                                                                                                                  Dallas Vegas (SHOT Show) and Los
                                                                                                                                                                                  Angeles




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38          2018   155996          EXP-11652   1/26/2018 to 3/27/2018   Jeff Minson   Financial Analyst   2/13/2018    Wright Personal Logistics   $   5,895.42 Unknown                             TM FEB EXP                              Transportation Management Services:                   Tony Makris; Lance Olson; Mark Dycio; Charlie   Auto              Car Service   Invoice subtotal: $5458.73
                                                                                                                                                                                                                                            Item #13018 - $690.00, Gratuity = $138.00, Fuel       Marx                                                                            Tax rate: 8.25%
                                                                                                                                                                                                                                            Surcharge = $40.00, PCF = $28.98, Total = $896.98                                                                                     Sales tax: $436.69
                                                                                                                                                                                                                                            Item #13118 - $690.00, Gratuity = $138.00, Fuel                                                                                       Total: $5895.42
                                                                                                                                                                                                                                            Surcharge = $40.00, PCF = $28.98, Total = $896.98
                                                                                                                                                                                                                                            Item #2118 - $828.00, Gratuity = cannot read, Fuel
                                                                                                                                                                                                                                            surcharge = $48.00, PCF = $29.80, Total = $1071.40
                                                                                                                                                                                                                                            Item #2218 - $897.00, Gratuity = $179.40, Fuel
                                                                                                                                                                                                                                            surcharge = $52.00, PCF = $32.29, Total = $1160.69
                                                                                                                                                                                                                                            Item #2318 - $690.00, Gratuity = $138.00, Fuel
                                                                                                                                                                                                                                            surcharge = $40.00, PCF = $28.98, Total = $896.98
                                                                                                                                                                                                                                            Item #2418 - $414.00, Gratuity = unable to read,
                                                                                                                                                                                                                                            Fuel surchase = $24.00, PCF = $14.90, Total =
                                                                                                                                                                                                                                            $535.70




39   9      2018   154706/155170   11424       11/28/2017-              Jeff Minson   Financial Analyst   12/21/2017   AFR Furniture Rental        $   5,554.75 Dallas, TX                          TM December                             Unknown                                               Eric Van Horn                                   Miscellaneous     Other         Furniture rental by Eric Van Horn, but shipped to Black Ship Little Katana.
                                               1/5/2018                                                                                                                                                                                                                                                                                                                           Purchased Nob Hill Sofa x3, Love seat x3, chairs x3, and cocktail table x3.


40          2016   136859          EXP-6997    1/7/2016 - 3/22/2016     Jeff Minson   Financial Analyst   2/7/2016     Four Seasons                $   8,646.18 Las Vegas, NV                       TM February Travel                      Feb2-7 lodging/laundry/food/bev 4 seasons vegas       Anthony Makris and Wife                         Travel            Lodging


41   4      2016   136859          EXP-6997    1/7/2016 - 3/22/2016     Jeff Minson   Financial Analyst   2/17/2016    Four Seasons                $    603.68 Las Vegas, NV                        TM February Travel                      Deposit Four Seasons Vegas TM WLM March 3-6           TM; WLM                                         Travel            Lodging


42   7      2016   140440          EXP-8075    5/2/16 to 7/22/16        Jeff Minson   Financial Analyst   5/7/2016     CXIII/Landini Brothers      $   5,371.47 Alexandria, VA                      TM June Travel                          TM annual meeting preparation and budgets part of     TM                                              Meals/Beverages   Individual
                                                                                                                                                                                                                                            $11,124.91
43   4; 9   2016   136859          EXP-6997    1/7/2016 - 3/22/2016     Jeff Minson   Financial Analyst   2/17/2016    Four Seasons                $    435.68 Las Vegas, NV                        TM February Travel                      Deposit Four Seasons Vegas M Dycio March 3-6          M Dycio                                         Travel            Lodging


44          2016   139727          EXP-7845    2/29/16 to 5/5/16        Jeff Minson   Financial Analyst   5/5/2016     Cash Tips                   $   5,000.00 Vegas/Minnesota/LA                  TM travel tips Mar - May tips - Vegas   TM annual meeting tips drivers concierge room         TM                                              Miscellaneous     Tips
                                                                                                                                                                                                    Dallas Minnesota los angeles may        service bellman charter staff & housekeeping
                                                                                                                                                                                                    louisville ky annual meetings
45          2017   149459          EXP-10486   3/19/2017 - 3/19/2017    Jeff Minson   Financial Analyst   3/19/2017    Bray's Island Plantation    $   4,979.64 Sheldon, SC                         TM NRA Shoot at Bray's Island           NR Shoot at Bray's Island expenses                    TM                                              Event             Other         Email from Stephanie West to Jeff Manison regarding OOP amount for Brays.


46          2016   136859          EXP-6997    1/7/2016 - 3/22/2016     Jeff Minson   Financial Analyst   2/18/2016    Atlantis Casino             $    249.91 Unknown                              TM February Travel                      Feb 18-19 Lodging TM                                  TM                                              Travel            Lodging
47   4      2016   136859          EXP-6997    1/7/2016 - 3/22/2016     Jeff Minson   Financial Analyst   2/22/2016    Four Seasons                $    760.48 Las Vegas, NV                        TM February Travel                      Four Seasons Deposit Feb 22 TM                        TM                                              Travel            Lodging
48   9      2016   137631          EXP-7293    2/7/2016 - 4/15/2016     Jeff Minson   Financial Analyst   3/3/2016     Beverly Hills Hotel         $   1,093.46 Beverly Hills, CA                   TM March Travel                         Lodging Mark Dycio March 7-8                          Mark Dycio                                      Travel            Lodging
49   7      2016   140440          EXP-8075    5/2/16 to 7/22/16        Jeff Minson   Financial Analyst   5/3/2016     CXIII/Landini Brothers      $   4,623.53 Alexandria, VA                      TM June Travel                          TM meal with BOD meeting with WLP part of             TM; WLP; BOD                                    Meals/Beverages   Group
                                                                                                                                                                                                                                            $9,371.27
50   1; 9   2017   150823          EXP-10975   7/1/2017 - 8/24/2017     Jeff Minson   Financial Analyst   7/6/2017     CXIII/Landini Brothers      $   4,586.90 Alexandria, VA                      Unknown                                 6/2/2017 $3,382.16 Millie Hallow and NRA Guest        Millie Hallow; Josh Powell; NRA Guest           Meals/Beverages   Group
                                                                                                                                                                                                                                            6/13/2017 $368.34 Josh Powell
                                                                                                                                                                                                                                            6/13/2017 $170.73 Millie Hallow
                                                                                                                                                                                                                                            6/21/2017 $117.23 Josh Powell
                                                                                                                                                                                                                                            6/27/2017 $133.27 Josh Powell
                                                                                                                                                                                                                                            6/29/2017 $415.17 Josh Powell


51          2018   159388          EXP-12039   5/29/2018-               Jeff Minson   Financial Analyst   6/21/2018    Delta Airlines              $   4,572.89 Unknown                             TM June Travel                          Jun 26: LA/ATL                                        TM                                              Travel            Airfare
                                               7/11/2018                                                                                                                                                                                    June 26: ATL/SAV
                                                                                                                                                                                                                                            Jul 9: SAV/ATL
                                                                                                                                                                                                                                            Jul 9: ATL/PHX
                                                                                                                                                                                                                                            Jul 14: PHX/ATL
                                                                                                                                                                                                                                            Ju; 14: ATL/SAV
52          2016   137631          EXP-7293    2/7/2016 - 4/15/2016     Jeff Minson   Financial Analyst   3/8/2016     Four Seasons                $   4,116.24 Las Vegas, NV                       TM March Travel                         Lodging Tony Makris Mar 4 - 7th 2016                  Tony Makris                                     Travel            Lodging
53   9      2016   137631          EXP-7293    2/7/2016 - 4/15/2016     Jeff Minson   Financial Analyst   3/8/2016     Four Seasons                $   1,836.91 Las Vegas, NV                       TM March Travel                         Lodgning Mark Dycio Mar 4 to 7th 2016                 Mark Dycio                                      Travel            Lodging
54          2017   146420/145983   EXP-9902    12/3/2016-               Jeff Minson   Financial Analyst   1/3/2017     AFR Furniture Rental        $   4,411.74 Arlington, TX                       TM January Travel                       AFR Furniture Rental for LK Concepts Event 3 days     Tony Makris                                     Event             Other
                                               2/14/2017
55          2016   137631          EXP-7293    2/7/2016 - 4/15/2016     Jeff Minson   Financial Analyst   3/12/2016    Four Seasons                $   5,913.99 Las Vegas, NV                       TM March Travel                         Tony Makris March 8th thru 13th                       Tony Makris                                     Travel            Lodging
56   4; 9   2016   137631          EXP-7293    2/7/2016 - 4/15/2016     Jeff Minson   Financial Analyst   3/12/2016    Four Seasons                $    726.88 Las Vegas, NV                        TM March Travel                         Mark Dycio deposit - April 1 through 4th              Mark Dycio                                      Travel            Lodging
57          2018   158521          EXP-11943   2/6/2018 - 4/25/2018     Jeff Minson   Financial Analyst   2/22/2018    Cash Tips                   $   4,000.00   Travel: LA, Texas, Tenn., South   TM Travel Expenses Feb-May              Travel Advance - Ck #2184 Tips for housekeeping,      Tony Makris                                     Travel            Tips          Travel: LA, Texas, Tenn., South Carolina, Arizona, DC
                                                                                                                                                                  Carolina, Arizona, DC                                                     Doorman, Drivers, Flight crew, roomservice


58          2018   158521          EXP-11943   2/6/2018 - 4/25/2018     Jeff Minson   Financial Analyst   4/25/2018    Cash Tips                   $   4,000.00   Travel: LA, Texas, Tenn., South   TM Travel Expenses Feb-May              Travel Advance - Ck #2198 Tips for housekeeping,      Tony Makris                                     Travel            Tips          Travel: LA, Texas, Tenn., South Carolina, Arizona, DC
                                                                                                                                                                  Carolina, Arizona, DC                                                     doorman, bellman, concierge, drivers, flight crew


59          2016   139727          EXP-7842    4/1/2016 to 6/30/16      Jeff Minson   Financial Analyst   5/26/2016    21C Hotel                   $   3,895.92 Louisville, KY                      TM May Travel                           may 26 knar banquet dinner balance TM with staff      TM; Staff; NRA Board; Donors; Ashley Hackler    Event             Food          Credit card statement includes: "Ashley Hackler - dinner". Invoice is titled
                                                                                                                                                                                                                                            NRA board and donors                                                                                                                  'Ashley Hackler Dinner'. Documentation indicates it is for a NRA Private
                                                                                                                                                                                                                                                                                                                                                                                  Dinner.
60   1; 9   2016   137631          EXP-7293    2/7/2016 - 4/15/2016     Jeff Minson   Financial Analyst   3/13/2016    Four Seasons                $   4,454.06 Las Vegas, NV                       TM March Travel                         WLP March 8th through 13th                            WLP                                             Travel            Lodging
61   4      2018   156967          EXP-11653   12/29/2017 - 3/27/2018   Jeff Minson   Financial Analyst   1/30/2018    Cash Tips                   $   3,500.00 Unknown                             TM FEB Supplemental                     Travel Advance - NRA                                  TM                                              Miscellaneous     Tips          Tips for housekeeping, doorman, drivers, flight crew. Room service
                                                                                                                                                                                                                                                                                                                                                                                  Amount: $3500
62          2017   148749          EXP-10485   3/9/2017 - 7/11/2017     Jeff Minson   Financial Analyst   3/15/2017    Cash Tips                   $   3,500.00 Unknown                             Unknown                                 Unknown                                               TM                                              Miscellaneous     Tips
63          2017   150457          EXP-10485   3/9/2017-                Jeff Minson   Financial Analyst   3/15/2018    Cash Tips                   $   3,500.00 Unknown                             Unknown                                 Unknown                                               TM                                              Miscellaneous     Tips
                                               7/11/2017
64          2017   152775          EXP-11059   4/18/2017 - 5/30/2017    Jeff Minson   Financial Analyst   4/18/2017    Cash Tips                   $   3,500.00 Atlanta, GA                         TM TRAVEL TIPS                          Tips for drivers, room service, bell hop, concierge   TM                                              Travel            Tips
                                                                                                                                                                                                                                            and helpers ATLANTA NRA Meetings


65          2018   154706/155170   11444       9/27/2017-               Jeff Minson   Financial Analyst   9/27/2017    Cash Tips                   $   3,500.00 Unknown                             TM SEP OCT                              NRA meetings - tips                                   Tony Makris                                     Miscellaneous     Tips          Tips on NRA Meetings Grand Rapids Dallas Chicago and LA
                                               1/5/2017
66   9      2016   137631          EXP-7293    2/7/2016 - 4/15/2016     Jeff Minson   Financial Analyst   3/14/2016    Four Seasons                $   4,889.18 Unknown                             TM March Travel                         Lodging Mark Dycio March 8-13                         Mark Dycio                                      Travel            Lodging




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67             2018   159388          EXP-12039   5/29/2018-               Jeff Minson   Financial Analyst   6/7/2018     CXIII/Landini Brothers   $     3,432.47 Alexandria, VA                    TM June Travel                          05/08/2018: $313.80 TM, JP, AA                           TM; JP; AA; S Haut; Jim Staples; TS; Nash; Ray       Meals/Beverages   Group         Balance for CXIII account began at $3248.93
                                                  7/11/2018                                                                                                                                                                                 5/09/2018: $250.35 TM, S. Haut                           Kenny; Dino Avilez; M Dycio; Alex Castellano                                         $1439.12 & $1809.82 amount paid on 5/14/2018
                                                                                                                                                                                                                                            5/11/2018: $790.70 TM, Jim Staples, A. Castellano
                                                                                                                                                                                                                                            5/17/2018: $361.35 TM, TS, JP, Nash
                                                                                                                                                                                                                                            5/18/2018: 463.05 TM, CN, Ray Kenny, Dino Avilez
                                                                                                                                                                                                                                            5/19/2018: $972.21 TM, JP, CN, M. Dycio, Alex
                                                                                                                                                                                                                                            Castellano
                                                                                                                                                                                                                                            5/21/2018: $281.01 TM, JP, TS



68   1         2017   153476          EXP-11222   9/30/2000 - 11/14/2017   Jeff Minson   Financial Analyst   10/6/2017    CXIII/Landini Brothers   $     3,315.70 Alexandria, VA                    TM OCT Travel                           9/13 CXIII REX $271.88 TM L. Olson                       T Makris; W LaPierre; Josh Powell; Steve Holt; L     Meals/Beverages   Group         Calendar with these charges are labeled "club",
                                                                                                                                                                                                                                            9/14 CXIII REX $180.04 T. Makris Steve Holt W            Olson
                                                                                                                                                                                                                                            LaPierre
                                                                                                                                                                                                                                            9/14/ CXIII REX $398.31 T. Makris Steve Holt W
                                                                                                                                                                                                                                            LaPierre
                                                                                                                                                                                                                                            9/15 CXIII REX $7.60 Josh Powell
                                                                                                                                                                                                                                            9/15 CXIII REX $297.38 Josh Powell
                                                                                                                                                                                                                                            9/16 CXIII REX $438.48 Josh Powell
                                                                                                                                                                                                                                            9/18 CXIII REX $534.45 Josh Powell
                                                                                                                                                                                                                                            9/19 CXIII REX $19.78 Josh Powell
                                                                                                                                                                                                                                            9/19 CXIII REX $1,105.91 Josh Powell
                                                                                                                                                                                                                                            9/21 CXIII REX $61.87 Josh Powell
69   9         2016   137631/136135   EXP-6836    12/1/2015 - 3/10/2016    Jeff Minson   Financial Analyst   1/15/2016    Venetian                 $     3,154.24 Las Vegas, NV                     TM TRAVEL January 2016 Florida          Sponsor meeting suite at SHOT show vegas Jan18-22 Hayley Holmes                                               Event             Room Rental   Arrival 1/18/16
                                                                                                                                                                                                    Dallas Vegas (SHOT Show) and Los        resort fee, room & bev charges                                                                                                                Departure NOT provided
                                                                                                                                                                                                    Angeles
70             2017   147112          EXP-10160   1/6/17 - 3/31/17         Jeff Minson   Financial Analyst   2/4/2017     Ready to Roll            $3,130.38       Las Vegas, NV                    TM FEB Travel                           Ground Transportation from Four Seasons Vegas            Anthony Makris                                       Auto              Car Service   PU: Four Seasons Hotel (Las Vegas) Las Vegas, NV 89119
                                                                                                                                                                                                                                                                                                                                                                                          Drop: Four Seasons Hotel (Las Vegas) Las Vegas, NV 89119
                                                                                                                                                                                                                                                                                                                                                                                          Pickup: 09:00 Dropoff: 18:30
                                                                                                                                                                                                                                                                                                                                                                                          Passenger: Makris, Anthony
                                                                                                                                                                                                                                                                                                                                                                                          Total: $3130.38
71   9         2016   137631          EXP-7293    2/7/2016 - 4/15/2016     Jeff Minson   Financial Analyst   3/14/2016    Ritz Carlton             $       856.79 Dallas, TX                        TM March Travel                         Lodging WLP March 13-14                                  WLP                                                  Travel            Lodging
72   9         2016   137631          EXP-7293    2/7/2016 - 4/15/2016     Jeff Minson   Financial Analyst   3/14/2016    Ritz Carlton             $       609.72 Dallas, TX                        TM March Travel                         Lodging Audra Fischer March 13-14                        Audra Fischer                                        Travel            Lodging
73             2016   137631          EXP-7293    2/7/2016 - 4/15/2016     Jeff Minson   Financial Analyst   3/14/2016    Ritz Carlton             $       586.69 Dallas, TX                        TM March Travel                         Lodging Tony Makris March 13-14                          Tony Makris                                          Travel            Lodging
74             2017   148014          EXP-10201   1/11/2017 - 1/26/2017    Jeff Minson   Financial Analyst   1/11/2017    Cash Tips                $     3,000.00 Unknown                           TM January travel tips                  Jan Dallas LA & Vegas tips - Drviers, concierge,         TM                                                   Travel            Tips          Date: 01/11/17
                                                                                                                                                                                                                                            doorman, room service, housekeeping & concierge                                                                                               Travel Dallas, TX, Los Angeles, CA, Vegas
                                                                                                                                                                                                                                            services                                                                                                                                      Tips for drivers, concierge, doorman, room service and housekeeping,
                                                                                                                                                                                                                                                                                                                                                                                          concierge services - Charter service attendants
                                                                                                                                                                                                                                                                                                                                                                                          Amount: $3000
75             2016   137631          EXP-6869    1/4/2016 - 1/31/2016     Jeff Minson   Financial Analyst   1/12/2016    Cash Tips                $     3,000.00 Florida; Las Vegas; Los Angeles   TM January Supplemental                 Tips FL VEGA & LA - Car svc, room svc, bellmen,          TM                                                   Miscellaneous     Tips
                                                                                                                                                                                                                                            charters, housekeeping concierge room svc


76             2016   137631          EXP-7076    2/10/2016 - 2/29/2016    Jeff Minson   Financial Analyst   2/29/2016    Cash Tips                $     3,000.00 Las Vegas, NV; Los Angeles, CA    TM Travel TIPS FEB 2016                 TIPS Vegas & LA - car svc, room svc, bellman, charter TM                                                      Miscellaneous     Tips
                                                                                                                                                                                                                                            staff housekeeping & concierges
77             2016   137631          EXP-7304    2/18/2016- -2/29/2016    Jeff Minson   Financial Analyst   2/29/2016    Cash Tips                $     3,000.00 Scottsdale, Vegas, LA             TIPS and Airfare reimbursement          TIPS Scottsdale, Vegas, LA, for car service, sky caps,   Tony Makris                                          Miscellaneous     Tips
                                                                                                                                                                                                    (PAID on TM personal AMEX)              housekeeping, room service, charter staff
78             2016   139727          EXP-7845    2/29/16 to 5/5/16        Jeff Minson   Financial Analyst   2/29/2016    Cash Tips                $     3,000.00 Vegas/Minnesota/LA                TM travel tips Mar - May tips - Vegas   TM tips car service room service bellman charter         TM                                                   Miscellaneous     Tips
                                                                                                                                                                                                    Dallas Minnesota los angeles may        staff housekeeping & concierge
                                                                                                                                                                                                    louisville ky annual meetings
79             2017   152775          EXP-11059   4/18/17-5/30-17          Jeff Minson   Financial Analyst   5/30/2017    Cash Tips                $     3,000.00 Unknown                           TM Travel Tips                          Tips for drivers, room service, aircraft staffers, room TM                                                    Miscellaneous     Tips
                                                                                                                                                                                                                                            service, bell cap LA, AZ, SC and Africa
80             2016   143559          EXP-8980    9/7/2016 - 9/30/2016     Jeff Minson   Financial Analyst   9/30/2016    Cash Tips                $     3,000.00 Dallas, TX                        TM September Travel Tips                TIPS: drivers, concierge, doormen, room service,         TM                                                   Travel            Tips
                                                                                                                                                                                                                                            housekeeping in Scottsdale Dallas LA
81   1         2018   160896          EXP-12196   7/23/2018 to 9/13/2018   Jeff Minson   Financial Analyst   8/3/2018     CXIII/Landini Brothers   $     2,949.87 Unknown                           TM August Travel                        7/12/81: $604.52 - Millie Hallow                         Millie Hallow; TM; Josh Powell; Colleen Gallagher;   Meals/Beverages   Group         Statement for July 2018
                                                                                                                                                                                                                                            7/25/18: 421.56 - TM, Josh Powell, Colleen Gallagher, Andrew Arulunde; T Schropp; J Perrar; Mark Dycio                                        Account 0257-00
                                                                                                                                                                                                                                            Andrew Arulunde
                                                                                                                                                                                                                                            7/26/18: $637.79 - TM, Josh Powell, Colleen
                                                                                                                                                                                                                                            Gallagher, T. Schropp, J. Perrar
                                                                                                                                                                                                                                            7/28/18: $334.5 - TM, Mark Dycio, J. Perrar
                                                                                                                                                                                                                                            7/29/18: $472.69 - Josh Powell
                                                                                                                                                                                                                                            7/31/18: $39.43 - Josh Powell
                                                                                                                                                                                                                                            7/17/18 (charges for Josh Powell): $129.78 - Josh
                                                                                                                                                                                                                                            Powell
                                                                                                                                                                                                                                            7/27/18 (charges for Josh Powell): $150.40 - Josh
                                                                                                                                                                                                                                            Powell
                                                                                                                                                                                                                                            7/3/18 (charges for Millie Hallow): $150.65


82             2018   154706/155170   11424       11/28/2017-              Jeff Minson   Financial Analyst   12/29/2017   American Airlines        $     2,894.49 Unknown                           TM December                             Unknown                                                  Tony                                                 Travel            Airfare       trip purchase for Tony
                                                  1/5/2018                                                                                                                                                                                                                                                                                                                                12/29: Savannah to Dallas
                                                                                                                                                                                                                                                                                                                                                                                          12/29: Dallas to Montrose
                                                                                                                                                                                                                                                                                                                                                                                          1/3/18: Montrose to Dallas
83   9         2018   154706/155170   11424       11/28/2017-              Jeff Minson   Financial Analyst   12/29/2017   American Airlines        $     2,894.49 Unknown                           TM December                             Unknown                                                  Warner                                               Travel            Airfare       trip purchase for Warner:
                                                  1/5/2018                                                                                                                                                                                                                                                                                                                                12/29: Savannah to Dallas
                                                                                                                                                                                                                                                                                                                                                                                          12/29: Dallas to Montrose
                                                                                                                                                                                                                                                                                                                                                                                          1/3/18: Montrose to Dallas
84   4         2016   137631          EXP-7293    2/7/2016 - 4/15/2016     Jeff Minson   Financial Analyst   3/26/2016    Four Seasons             $       592.48 Las Vegas, NV                     TM March Travel                         Lodging deposit Tony Makris Jan 17 -22 2017              Tony Makris                                          Travel            Lodging
85   7; 1; 9   2017   147112          EXP-10160   1/6/17 - 3/31/17         Jeff Minson   Financial Analyst   1/6/2017     CXIII/Landini Brothers   $2,836.18       Alexandria, VA                   TM FEB Travel                           Millie Hallow with guests (part of 3,819.58) 20.85 of    Millie Hallow; Guests                                Meals/Beverages   Group         Date: 01/06/17
                                                                                                                                                                                                                                            this personal                                                                                                                                 Landini Brothers
                                                                                                                                                                                                                                                                                                                                                                                          Charge: $2123.80
                                                                                                                                                                                                                                                                                                                                                                                          Scv: $500.00
                                                                                                                                                                                                                                                                                                                                                                                          Tax: $212.38
                                                                                                                                                                                                                                                                                                                                                                                          Total: $2836.18
86             2018   159388          EXP-12039   6/30/2018                Jeff Minson   Financial Analyst   6/30/2018    CXIII/Landini Brothers   $     2,826.16 Alexandria, VA                    TM June Travel                          Room rental for meeting re: NRATV, BOD, NRAW,            TM                                                   Event             Room Rental
                                                                                                                                                                                                                                            CCI, D
87   4         2016   137631          EXP-7293    2/7/2016 - 4/15/2016     Jeff Minson   Financial Analyst   3/26/2016    Four Seasons             $       536.48 Las Vegas, NV                     TM March Travel                         Lodging deposit Tony Makris Jan 31 - Feb 17 2017         Tony Makris                                          Travel            Lodging


88   4; 1; 9   2016   137631          EXP-7293    2/7/2016 - 4/15/2016     Jeff Minson   Financial Analyst   3/26/2016    Four Seasons             $       424.48 Las Vegas, NV                     TM March Travel                         Lodging deposit Lance Olsen Jan 17-22 2017               Lance Olsen                                          Travel            Lodging




                                                                                                                                                                                                                                                                                                                                                                                                                                      APP. 01948
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89              2017   148749          EXP-10485   3/9/2017 - 7/11/2017      Jeff Minson   Financial Analyst   4/25/2017    Four Seasons             $    2,729.41 Atlanta, GA                         Unknown                            Unknown                                                   TM                                               Meals/Beverages    Individual    Date: 04/25/17
                                                                                                                                                                                                                                                                                                                                                                                      Total food cost: $484.00
                                                                                                                                                                                                                                                                                                                                                                                      Total liquor cost: $55.00
                                                                                                                                                                                                                                                                                                                                                                                      Wine: $184.00
                                                                                                                                                                                                                                                                                                                                                                                      Misc: $1000.00 (room rental)
                                                                                                                                                                                                                                                                                                                                                                                      NA Bevs: $20.00
                                                                                                                                                                                                                                                                                                                                                                                      Srvc/Grat Chg: $798.60
                                                                                                                                                                                                                                                                                                                                                                                      Tax: $187.81
                                                                                                                                                                                                                                                                                                                                                                                      Payment: $2729.41
90    4; 1; 9   2016   137631          EXP-7293    2/7/2016 - 4/15/2016      Jeff Minson   Financial Analyst   3/26/2016    Four Seasons             $      368.48 Las Vegas, NV                       TM March Travel                    Lodging deposit Lance Olsen Jan 31- Feb 17 2017           Lance Olsen                                      Travel             Lodging


91              2016   138653          EXP-7581    3/1/2016 - 6/30/2016      Jeff Minson   Financial Analyst   4/5/2016     Four Seasons             $    2,682.47 Las Vegas, NV                       TM April Travel                    Lodging food and bev Tony Makris April 1-4                Anthony Makris; S Makris                         Travel             Lodging
92    1; 9      2018   154261          EXP-11340   11/1/2017 to 12/11/2017   Jeff Minson   Financial Analyst   11/6/2017    CXIII/Landini Brothers   $    2,678.66 Alexandria, VA                      TM November Travel                 Unknown                                                   Millie Hallow; Josh Powell                       Meals/Beverages    Group         "All Millie on 10/18, all others are Josh Powell"
                                                                                                                                                                                                                                                                                                                                                                                      Date: 10/08/2017, Landini Brothers, Charge = $140.05, SCV =$30.00, Tax =
                                                                                                                                                                                                                                                                                                                                                                                      $14.00, Total = $184.05
                                                                                                                                                                                                                                                                                                                                                                                      Date: 10/09/2017, Landini Brothers, Charge = $569.85, SCV =$125.00, Tax =
                                                                                                                                                                                                                                                                                                                                                                                      $56.88, Total = $750.73
                                                                                                                                                                                                                                                                                                                                                                                      Date: 10/10/2017, Landini Brothers, Charge = $507.10, SCV =$110.00, Tax =
                                                                                                                                                                                                                                                                                                                                                                                      $50.71, Total = $667.81
                                                                                                                                                                                                                                                                                                                                                                                      Date: 10/11/2017, Landini Brothers, Charge = $542.80, SCV =$108.56, Tax =
                                                                                                                                                                                                                                                                                                                                                                                      $54.28, Total = $705.64
                                                                                                                                                                                                                                                                                                                                                                                      Date: 10/31/2017, Landini Brothers, Charge = $55.85, SCV =$11.17, Tax =
                                                                                                                                                                                                                                                                                                                                                                                      $5.58, Total = $72.60
                                                                                                                                                                                                                                                                                                                                                                                      Date: 10/22/2017, Landini Brothers, Charge = $67.90, SCV =$15.00, Tax =
                                                                                                                                                                                                                                                                                                                                                                                      $6.79, Total = $89.69
                                                                                                                                                                                                                                                                                                                                                                                      Date: 10/18/2017, Landini Brothers, Charge = $157.40, SCV =$35.00, Tax =
                                                                                                                                                                                                                                                                                                                                                                                      $15.74, Total = $208.14
                                                                                                                                                                                                                                                                                                                                                                                      Overall total: $2678.66


93    9         2016   138653          EXP-7581    3/1/2016 - 6/30/2016      Jeff Minson   Financial Analyst   4/5/2016     Four Seasons             $    1,910.96 Las Vegas, NV                       TM April Travel                    Lodging food and bev Mark Dycio April 1-4                 Mark Dycio                                       Travel             Lodging
94              2016   138653          EXP-7581    3/1/2016 - 6/28/2016      Jeff Minson   Financial Analyst   4/11/2016    Ritz Carlton             $    3,484.10 Dallas, TX                          TM April Travel                    Lodging food bev T Makris Dallas April 11-12              T Makris                                         Travel             Lodging
95    7         2016   137631/136135   EXP-6836    12/1/2015 - 3/10/2016     Jeff Minson   Financial Analyst   12/3/2015    CXIII/Landini Brothers   $    2,649.39 Alexandria, VA                      TM TRAVEL January 2016 Florida     Lunch TM with Navy Seals Dinner Meeting part of           TM; Navy Seals                                   Meals/Beverages    Group
                                                                                                                                                                                                       Dallas Vegas (SHOT Show) and Los   $13,196.57
                                                                                                                                                                                                       Angeles
96              2016   138653          EXP-7581    3/1/2016 - 6/28/2016      Jeff Minson   Financial Analyst   4/24/2016    Ritz Carlton             $    1,519.15 Dallas, TX                          TM April Travel                    Lodging Tony Makris April 22-24                           Tony Makris                                      Travel             Lodging
97    1; 9      2018   154706/155170   11424       11/28/2017-               Jeff Minson   Financial Analyst   12/6/2017    CXIII/Landini Brothers   $    2,539.89 Alexandria, VA                      TM December                        Unknown                                                   Wayne LaPierre                                   Meals/Beverages    Individual    Statement for Wayne LaPierre to the attention of Stephanie West at 201 N
                                                   1/5/2018                                                                                                                                                                                                                                                                                                                           Union Street Suite 510, Alexandria. Charges for 11/24
98    1         2018   160896          EXP-12196   7/23/2018 to 9/13/2018    Jeff Minson   Financial Analyst   8/3/2018     CXIII/Landini Brothers   $    2,527.37 Unknown                             TM August Travel                   7/25/18: $661.27 - Josh Powell, Andrew Arundalde,         Josh Powell; Andrew Arundalde; Colleen Gallagher; Meals/Beverages   Group         Statement for July 2018
                                                                                                                                                                                                                                          Colleen Gallagher, TM                                     TM                                                                                Account 0700-00
                                                                                                                                                                                                                                          7/26/18: $858.3 - Josh Powell, Andrew Arundalde,
                                                                                                                                                                                                                                          Colleen Gallagher, TM
                                                                                                                                                                                                                                          7/29/18: $67.84 - Josh Powell
                                                                                                                                                                                                                                          7/30/18: $939.96 - Josh Powell


99    9         2016   138653          EXP-7581    3/1/2016 - 6/28/2016      Jeff Minson   Financial Analyst   4/24/2016    Ritz Carlton             $      988.92 Dallas, TX                          TM April Travel                    Lodging Mark Dycio Dallas April 12                        Mark Dycio                                       Travel             Lodging
100             2017   148014          EXP-10201   1/11/2017 - 1/26/2017     Jeff Minson   Financial Analyst   1/26/2017    Cash Tips                $    2,500.00 Unknown                             TM January travel tips             Feb Nashville Vegas, Dallas & LA tips - drivers,          TM                                               Travel             Tips          Date: 01/26/17
                                                                                                                                                                                                                                          concierge, doorman, room service, housekeeping, &                                                                                           Travel to Nashville, Vegas, Dallas, CA
                                                                                                                                                                                                                                          concierge services                                                                                                                          Tips for drivers, concierge, doorman, room service and housekeeping,
                                                                                                                                                                                                                                                                                                                                                                                      concierge services - Charter service attendants
                                                                                                                                                                                                                                                                                                                                                                                      Amount: $2500
101             2017   145564          EXP-9731    10/1/16 - 11/30/16        Jeff Minson   Financial Analyst   10/31/2016   Cash Tips                $    2,500.00 Unknown                             TM OCT NOV travel tips and         Tips Scottsdale, Dallas, & LA (Drivers, Concierge,        TM                                               Travel             Tips
                                                                                                                                                                                                       reimbursable expenses              Doorman, Room Service, Housekeeping, Charter
                                                                                                                                                                                                                                          Concierge)
102             2017   145564          EXP-9731    10/1/16 - 11/30/16        Jeff Minson   Financial Analyst   11/30/2016   Cash Tips                $    2,500.00 Unknown                             TM OCT NOV travel tips and         Tips nashville, phx, austin, tulsa (drivers, concierge,   TM                                               Travel             Tips
                                                                                                                                                                                                       reimbursable expenses              doorman, room service, housekeeping, charter
                                                                                                                                                                                                                                          concierge)
103             2018   156967          EXP-11653   12/29/2017 - 3/27/2018    Jeff Minson   Financial Analyst   2/6/2018     Cash Tips                $    2,500.00 Unknown                             TM FEB Supplemental                Travel Advance                                            TM                                               Miscellaneous      Tips          Tips for doorman, housekeeping, drivers, flight crew, concierge service,
                                                                                                                                                                                                                                                                                                                                                                                      bellman, doorman, room service
                                                                                                                                                                                                                                                                                                                                                                                      Amount: $2500
104             2018   158521          EXP-11943   2/6/2018 - 4/25/2018      Jeff Minson   Financial Analyst   2/6/2018     Cash Tips                $    2,500.00   Travel: LA, Texas, Tenn., South   TM Travel Expenses Feb-May         Travel Advance - Ck #2186 Tips for Doorman                Tony Makris                                      Travel             Tips          Travel: LA, Texas, Tenn., South Carolina, Arizona, DC
                                                                                                                                                                     Carolina, Arizona, DC                                                housekeeping, drivers, flight crew, concierge service,
                                                                                                                                                                                                                                          bellman, doorman, roomservice
105             2018   158521          EXP-11943   2/6/2018 - 4/25/2018      Jeff Minson   Financial Analyst   3/14/2018    Cash Tips                $    2,500.00   Travel: LA, Texas, Tenn., South   TM Travel Expenses Feb-May         Travel Advance - Ck #2185 Tips for Doorman, flight Tony Makris                                             Travel             Tips          Travel: LA, Texas, Tenn., South Carolina, Arizona, DC
                                                                                                                                                                     Carolina, Arizona, DC                                                crew, housekeeping, bellman, drivres, room service


106             2016   142347          EXP-8605    7/14/16 - 9/28/16         Jeff Minson   Financial Analyst   9/28/2016    Cash Tips                $    2,500.00 Nebraska, Oklahoma, Texas and       TM travel tips June thru August    Tips - flight attendants on charters, drivers,            TM                                               Travel             Tips          Travel to Nebraska, OK and SC June-August. Tips for flight attendants on
                                                                                                                                                                     South Carolina                                                       concierges, doorman, room service & housekeeping                                                                                            charters, tips for drivers, concierge, doorman, room service and
                                                                                                                                                                                                                                                                                                                                                                                      housekeeping.
107             2018   154706/155170   11444       9/27/2017-                Jeff Minson   Financial Analyst   10/24/2017   Cash Tips                $    2,500.00 Unknown                             TM SEP OCT                         NRA meetings - tips                                       Tony Makris                                      Miscellaneous      Tips          Tips on Dallas Utah and LA travel
                                                   1/5/2017
108             2017   151745          EXP-11046   8/1/2017 - 9/29/2017      Jeff Minson   Financial Analyst   8/15/2017    Ready to Roll            $    2,490.08 Scottsdale, AZ                      TM AUG TRAVEL                      Passenger (total): Tony Makris (1) PU: Four Seasons       Tony Makris                                      Auto               Car Service   Ordered by" Stephanie West
                                                                                                                                                                                                                                          Resort Scottsdale, AZ DO: 3204 Ledgewood Dr Los
                                                                                                                                                                                                                                          Angeles, CA
109   1; 9      2016   138653          EXP-7581    3/1/2016 - 6/28/2016      Jeff Minson   Financial Analyst   4/24/2016    Ritz Carlton             $      923.38 Dallas, TX                          TM April Travel                    Lodging W Roberts April 22-24                             W Roberts                                        Travel             Lodging
110   8; 9      2016   140440          EXP-8075    5/2/16 to 7/22/16         Jeff Minson   Financial Analyst   5/14/2016    21C Hotel                $   29,786.87   Louisville, KY                    TM June Travel                     Arrival date 5/14/16; departure date 6/22/216; NR         NR Guest                                         Travel             Lodging
                                                                                                                                                                                                                                          guest lodging confidential per WLP
111             2016   139727          EXP-7842    4/1/2016 to 6/30/16       Jeff Minson   Financial Analyst   5/15/2016    Sea Island               $    4,562.93 Isle in the Glynn County, GA        TM May Travel                      lodging/food may 10-15 balance                            Tony Makris                                      Travel             Lodging
112   7         2016   137631/136135   EXP-6836    12/1/2015 - 3/10/2016     Jeff Minson   Financial Analyst   12/7/2015    CXIII/Landini Brothers   $    2,366.83 Alexandria, VA                      TM TRAVEL January 2016 Florida     Lunch TM with WLP & Navy Seals Group part of              TM; W LaPierre; Navy Seals Group                 Meals/Beverages    Group         Note on calendar T. Makris, W. LaPierre, Navy Seals.
                                                                                                                                                                                                       Dallas Vegas (SHOT Show) and Los   $13,196.57
                                                                                                                                                                                                       Angeles
113   4         2016   139727          EXP-7842    4/1/2016 to 6/30/16       Jeff Minson   Financial Analyst   5/15/2016    Sea Island               $    1,124.56 Isle in the Glynn County, GA        TM May Travel                      lodging food may 10-15 deposit Tony Makris                Tony Makris                                      Travel             Lodging
114             2016   136859          EXP-6997    1/7/2016 - 3/22/2016      Jeff Minson   Financial Analyst   2/4/2016     Ready to Roll            $    2,354.50 Las Vegas, NV                       TM February Travel                 Feb 4 4 seasons vegas to vegas airport                    Tony Makris                                      Auto               Car Service   PU: Four Seasons Hotel
                                                                                                                                                                                                                                                                                                                                                                                      DO: Four Seasons Hotel
                                                                                                                                                                                                                                                                                                                                                                                      Passenger - Tony Makris
115   9         2018   158118          EXP-11895   5/1/2018 - 6/4/2018       Jeff Minson   Financial Analyst   5/11/2018    Ready to Roll            $    2,343.60 Dallas, TX                          TM May Travel Part 1               PU: DFW                                                   Mark Dycio                                       Auto               Car Service   Base Charge - [12 @ $140]
                                                                                                                                                                                                                                          ST: Hotel Zaza, 2332 Leonard St. Dallas, TX.
                                                                                                                                                                                                                                          DO: As directed
116   1; 9      2016   139727          EXP-7842    4/1/2016 to 6/30/16       Jeff Minson   Financial Analyst   5/15/2016    Sea Island               $       60.95 Isle in the Glynn County, GA        TM May Travel                      lodging/food may 11-15 balance wlp                        WLP                                              Travel             Lodging




                                                                                                                                                                                                                                                                                                                                                                                                                                   APP. 01949
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117   1; 9   2016   139727          EXP-7842    4/1/2016 to 6/30/16     Jeff Minson   Financial Analyst   5/24/2016    21C Hotel                  $     5,482.40 Louisville, KY   TM May Travel                      lodging/food T Schropp May 16-May 24 NRA annual      T Schropp                                      Travel            Lodging
                                                                                                                                                                                                                     meetings
118   7      2016   138653          EXP-7581    3/1/2016 - 6/30/2016    Jeff Minson   Financial Analyst   3/21/2016    CXIII/Landini Brothers     $     2,308.54 Alexandria, VA   TM April Travel                    TM seals dinner meeting part of $5999.21             TM; Seals                                      Meals/Beverages   Group
119   7      2016   137631/136135   EXP-6836    12/1/2015 - 3/10/2016   Jeff Minson   Financial Analyst   12/18/2015   CXIII/Landini Brothers     $     2,299.04 Alexandria, VA   TM TRAVEL January 2016 Florida     Lunch TM with Navy Seals Group part of $13,196.57 TM; Navy Seals Group                              Meals/Beverages   Group
                                                                                                                                                                                  Dallas Vegas (SHOT Show) and Los
                                                                                                                                                                                  Angeles
120          2017   147112          EXP-10160   1/6/17 - 3/31/17        Jeff Minson   Financial Analyst   2/1/2017     Ready to Roll              $2,276.64       Las Vegas, NV   TM FEB Travel                      Ground Transportation Vegas airport to Four          Anthony Makris                                 Auto              Car Service   PU: Four Seasons Hotel (Las Vegas) Las Vegas, NV 89119
                                                                                                                                                                                                                     Seasons                                                                                                                             Drop: Four Seasons Hotel (Las Vegas) Las Vegas, NV 89119
                                                                                                                                                                                                                                                                                                                                                         Pickup: 08:00 Dropoff: 23:00
                                                                                                                                                                                                                                                                                                                                                         Passenger: Makris, Anthony
                                                                                                                                                                                                                                                                                                                                                         Total: $2276.64
121   1; 9   2018   154707/155520   11516       1/1/2018 to 2/8/2018    Jeff Minson   Financial Analyst   1/8/2018     CXIII/Landini Brothers     $     2,266.04 Alexandria, VA   TM Jan Travel                      Unknown                                              Josh Powell                                    Meals/Beverages   Individual    The statement from Landini Brothers is for Tony Makris, but the hand written
                                                                                                                                                                                                                                                                                                                                                         note says, "All Josh Powell. Tony was on travel." The charges accumulated
                                                                                                                                                                                                                                                                                                                                                         from 12/6 to 12/11/ 2017
122          2017   147112          EXP-10160   1/6/17 - 3/31/17        Jeff Minson   Financial Analyst   2/2/2017     Ready to Roll              $2,205.50       Las Vegas, NV   TM FEB Travel                      Ground Transportation from Four Seasons Vegas        Anthony Makris                                 Auto              Car Service   PU: Four Seasons Hotel (Las Vegas) Las Vegas, NV 89119
                                                                                                                                                                                                                                                                                                                                                         Drop: Four Seasons Hotel (Las Vegas) Las Vegas, NV 89119
                                                                                                                                                                                                                                                                                                                                                         Pickup: 10:00 Dropoff: 00:30
                                                                                                                                                                                                                                                                                                                                                         Passenger: Makris, Anthony
                                                                                                                                                                                                                                                                                                                                                         Total: $2205.50
123          2017   147112          EXP-10160   1/6/17 - 3/31/17        Jeff Minson   Financial Analyst   2/3/2017     Ready to Roll              $2,205.50       Las Vegas, NV   TM FEB Travel                      Ground Transportation from Four Seasons Vegas        Anthony Makris                                 Auto              Car Service   PU: Four Seasons Hotel (Las Vegas) Las Vegas, NV 89119
                                                                                                                                                                                                                                                                                                                                                         Drop: Four Seasons Hotel (Las Vegas) Las Vegas, NV 89119
                                                                                                                                                                                                                                                                                                                                                         Pickup: 10:00 Dropoff: 00:30
                                                                                                                                                                                                                                                                                                                                                         Passenger: Makris, Anthony
                                                                                                                                                                                                                                                                                                                                                         Total: $2205.50
124   1      2017   150457          EXP-10850   6/7/2017-               Jeff Minson   Financial Analyst   6/12/2017    CXIII/Landini Brothers     $     2,189.58 Alexandria, VA   Unknown                            Unknown                                              Tony Makris; Josh Powell; Millie Hallow        Meals/Beverages   Group         Date: 05/22/17
                                                7/31/2017                                                                                                                                                                                                                                                                                                CXIII Rex
                                                                                                                                                                                                                                                                                                                                                         Total: $271.10 (charge for Josh Powell)
                                                                                                                                                                                                                                                                                                                                                         Date: 05/23/17
                                                                                                                                                                                                                                                                                                                                                         Landini Brothers
                                                                                                                                                                                                                                                                                                                                                         Total: $169.13 (charge for Josh Powell)
                                                                                                                                                                                                                                                                                                                                                         Date: 05/13/17
                                                                                                                                                                                                                                                                                                                                                         Total: $1707.10 (charge for Millie Hallow)
                                                                                                                                                                                                                                                                                                                                                         Date: 05/13/17
                                                                                                                                                                                                                                                                                                                                                         Total: $42.25 (charge for Millie Hallow)
                                                                                                                                                                                                                                                                                                                                                         Overall total: $2189.58
125          2016   141517          EXP-8278    6/7/2016 - 8/5/2016     Jeff Minson   Financial Analyst   7/8/2018     CXIII/Landini Brothers     $     2,140.64 Alexandria, VA   TM JULY TRAVEL                     6/7/16 Tony Makris meal with Wayne LaPierre          Tony Makris; Wayne LaPierre; Nader Tavangar;   Meals/Beverages   Group
                                                                                                                                                                                                                     $129.58                                              Josh Powell; Lance Olson; DA
                                                                                                                                                                                                                     6/19/16 Tony Makris meal with Wayne LaPierre &
                                                                                                                                                                                                                     Nader Tavangar $494.81
                                                                                                                                                                                                                     6/20/16 Tony Makris meal with Wayne LaPierre, Josh
                                                                                                                                                                                                                     Powell & CN $319.42
                                                                                                                                                                                                                     6/22/16 Tony Makris meal with Wayne LaPierre,
                                                                                                                                                                                                                     Nader Tavangar, Josh Powell & Lance Olson $930.39
                                                                                                                                                                                                                     6/23/16 Tony Makris meal with Lance Olson $147.88
                                                                                                                                                                                                                     6/29/16 Tony Makris meal with C. Nash & DA
                                                                                                                                                                                                                     $118.56



126          2017   146420/145983   EXP-9902    12/3/2016-              Jeff Minson   Financial Analyst   1/20/2017    Ready to Roll              $     2,134.35 Las Vegas, NV    TM January Travel                  TM Ground Transportation 15 hours as directed        Tony Makris                                    Auto              Car Service   Passenger: Tony Makris Requested by: Stephanie West
                                                2/14/2017                                                                                                                                                            while in Las Vegas
127   9      2016   139727          EXP-7842    4/1/2016 to 6/30/16     Jeff Minson   Financial Analyst   5/26/2016    21C Hotel                  $     2,522.80 Louisville, KY   TM May Travel                      lodging/food Nader Tavangar may 16 - may 26          Nader Tavangar                                 Travel            Lodging       Dinner and lunch for Nader.
                                                                                                                                                                                                                     balance
128   9      2016   139727          EXP-7842    4/1/2016 to 6/30/16     Jeff Minson   Financial Analyst   5/26/2016    21C Hotel                  $       892.06 Louisville, KY   TM May Travel                      balance lodging Nader Tavangar                       Nader Tavangar                                 Travel            Lodging       Dinner; lunch and room rental for Nader.
129          2016   136859          EXP-6997    1/7/2016 - 3/22/2016    Jeff Minson   Financial Analyst   2/9/2016     Ready to Roll              $     2,077.50 Las Vegas, NV    TM February Travel                 Feb 5 Pickup drop off 4 seasons vegas 15 as directed Tony Makris                                    Auto              Car Service   PU: Four Seasons Hotel
                                                                                                                                                                                                                                                                                                                                                         DO: Four Seasons Hotel
                                                                                                                                                                                                                                                                                                                                                         Passenger - Tony Makris
130          2016   136859          EXP-6997    1/7/2016 - 3/22/2016    Jeff Minson   Financial Analyst   2/9/2016     Ready to Roll              $     2,077.50 Las Vegas, NV    TM February Travel                 Feb 6 Pickup drop off 4 seasons vegas 15 as directed Tony Makris                                    Auto              Car Service   PU: Four Seasons Hotel
                                                                                                                                                                                                                                                                                                                                                         DO: Four Seasons Hotel
                                                                                                                                                                                                                                                                                                                                                         Passenger - Tony Makris
131          2016   137631/136135   EXP-6836    12/1/2015 - 3/10/2016   Jeff Minson   Financial Analyst   1/21/2016    Ready to Roll              $     2,077.50 Las Vegas, NV    TM TRAVEL January 2016 Florida     Ground trans 15 hrs as directed Vegas 4 seasons      Anthony Makris                                 Auto              Car Service   PU: Four Seasons Hotel (Las Vegas)
                                                                                                                                                                                  Dallas Vegas (SHOT Show) and Los   dropoffs as needed                                                                                                                  DO: As Directed Las Vegas
                                                                                                                                                                                  Angeles
132          2017   147112          EXP-10160   1/6/17 - 3/31/17        Jeff Minson   Financial Analyst   1/18/2017    Ready to Roll              $2,063.21       Las Vegas, NV   TM FEB Travel                      Tony Makris Ground Transportation Four Seasons as Tony Makris                                       Auto              Car Service   PU: Four Seasons Hotel (Las Vegas) Las Vegas, NV 89119
                                                                                                                                                                                                                     directed to McCarran INTL airport 14.5 hours as                                                                                     Drop: As directed for the day, Las Vegas, McCarran International NV Las
                                                                                                                                                                                                                     directed                                                                                                                            Pickup: 09:00 Dropoff: 22:30
                                                                                                                                                                                                                                                                                                                                                         Passenger: Makris, Anthony
                                                                                                                                                                                                                                                                                                                                                         Requested by: Stephanie West
                                                                                                                                                                                                                                                                                                                                                         Total: $2063.21



133   7      2016   137631          EXP-7293    2/7/2016 - 4/15/2016    Jeff Minson   Financial Analyst   2/9/2016     CXIII/Landini Brothers     $     2,056.19 Alexandria, VA   TM March Travel                    Lunch TM with Minnie Hallow sponsored BOD            TM; Millie Hallow                              Meals/Beverages   Group
                                                                                                                                                                                                                     meeting part of $7430.39
134          2017   148749          EXP-10337   2/28/2017 - 2/28/2017   Jeff Minson   Financial Analyst   2/28/2017    Bray's Island Plantation   $     2,033.16 Sheldon, SC      TM expenses for NRATV Shoot at     TM expenses for NRATV Shoot at Bray's Island         TM                                             Event             Other         Date: 02/28/17
                                                                                                                                                                                  Bray's Island                                                                                                                                                          NRA/TV Shoot at Brays Island Plantation Colony - Sheldon, SC
135   1      2018   156967          EXP-11729   3/1/2018 - 4/30/2018    Jeff Minson   Financial Analyst   3/6/2018     CXIII/Landini Brothers     $     2,026.85 Alexandria, VA   TM March Travel                    Unknown                                              Tony Makris; Josh Powell                       Meals/Beverages   Group         CXIII Rex
                                                                                                                                                                                                                                                                                                                                                         Date: 02/17/18
                                                                                                                                                                                                                                                                                                                                                         Total: 836.96
                                                                                                                                                                                                                                                                                                                                                         Date: 02/22/18
                                                                                                                                                                                                                                                                                                                                                         Total: $206.05
                                                                                                                                                                                                                                                                                                                                                         Date: 02/25/18
                                                                                                                                                                                                                                                                                                                                                         Total: $56.98
                                                                                                                                                                                                                                                                                                                                                         Date: 02/05/18
                                                                                                                                                                                                                                                                                                                                                         Total: $926.86
                                                                                                                                                                                                                                                                                                                                                         "All Josh Powell" handwritten on invoice
                                                                                                                                                                                                                                                                                                                                                         Total: $2026.85
136          2016   140440          EXP-8075    5/2/16 to 7/22/16       Jeff Minson   Financial Analyst   6/17/2016    Ritz Carlton               $       587.54 Dallas, TX       TM June Travel                     Arrival date 6/16/16; departure 6/17; tm lodging/food Anthony Makris                                Travel            Lodging
                                                                                                                                                                                                                     in Dallas June 16-17




                                                                                                                                                                                                                                                                                                                                                                                                      APP. 01950
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137   8; 9   2016   140440          EXP-8075    5/2/16 to 7/22/16        Jeff Minson   Financial Analyst   6/20/2016   21C Hotel                $   7,550.23 Louisville, KY   TM June Travel                     Arrival date 6/20/16; departure date 6/22/16; NR      NR Guest                                           Travel            Lodging
                                                                                                                                                                                                                 guest lodging confidential per WLP
138   7      2016   137631/136135   EXP-6836    12/1/2015 - 3/10/2016    Jeff Minson   Financial Analyst   12/2/2015   CXIII/Landini Brothers   $   1,996.62 Alexandria, VA   TM TRAVEL January 2016 Florida     Lunch TM with CN WLP MD KM & JC part of               TM; CN; WLP; MD; KM; JC                            Meals/Beverages   Group                Note on calendar T. Makris Navy seals dinner meeting.
                                                                                                                                                                              Dallas Vegas (SHOT Show) and Los   $13,196.57
                                                                                                                                                                              Angeles
139          2017   146420/145983   EXP-9902    12/3/2016-               Jeff Minson   Financial Analyst   1/19/2017   Ready to Roll            $   1,992.06 Las Vegas, NV    TM January Travel                  TM Ground Transportation Four Seasons Hotel Lsa       Tony Makris                                        Auto              Car Service          Passenger: Tony Makris Requested by: Stephanie West
                                                2/14/2017                                                                                                                                                        Vegas as directed 13 hours
140   7      2016   140440          EXP-8075    5/2/16 to 7/22/16        Jeff Minson   Financial Analyst   5/5/2016    CXIII/Landini Brothers   $   1,974.69 Alexandria, VA   TM June Travel                     TM meal with BOD meeting with WLP part of             TM; WLP; BOD                                       Meals/Beverages   Group
                                                                                                                                                                                                                 $9,371.27
141          2016   138653          EXP-7581    3/1/2016 - 6/30/2016     Jeff Minson   Financial Analyst   4/4/2016    Ready to Roll            $   1,939.00 Las Vegas, NV    TM April Travel                    Ground trans PU/dropoff Las Vegas 4 seasons 5         TM                                                 Auto              Car Service
                                                                                                                                                                                                                 hours as directed April 1
142   3      2016   140440          EXP-8075    5/2/16 to 7/22/16        Jeff Minson   Financial Analyst   6/25/2016   Cobblestone Hotel        $    251.32 Broken Bow, NE    TM June Travel                     Arrival date 6/25/16; departure date ; TM hotel for   TM                                                 Travel            Lodging
                                                                                                                                                                                                                 Joaquin Jackson's funeral June 24 - 25
143   3      2016   140440          EXP-8075    5/2/16 to 7/22/16        Jeff Minson   Financial Analyst   6/26/2016   Arrow Hotel              $    106.02 Broken Bow, NE    TM June Travel                     Arrival date 6/25/16; departure date 6/26/16; TM      TM                                                 Travel            Lodging
                                                                                                                                                                                                                 hotel for Joaquin Jackson's funeral June 25-26


144   3      2016   141517          EXP-8278    6/7/2016 - 8/5/2016      Jeff Minson   Financial Analyst   7/2/2016    Hampton Inn              $    181.65 Kearney, NE       TM JULY TRAVEL                     Lodging 6/25/2016 - 6/26/2017 1 Guest: Tony Makris Tony Makris                                           Travel            Lodging


145   7      2016   136859          EXP-6997    1/7/2016 - 3/22/2016     Jeff Minson   Financial Analyst   1/9/2016    CXIII/Landini Brothers   $   1,861.51 Alexandria, VA   TM February Travel                 Dinner TM NR Board of Directors Dinner Meeting        TM; Board of Directors                             Meals/Beverages   Group
                                                                                                                                                                                                                 part of $3032.68
146          2017   146420/145983   EXP-9902    12/3/2016-               Jeff Minson   Financial Analyst   1/16/2017   Ready to Roll            $   1,849.77 Las Vegas, NV    TM January Travel                  TM Ground Transportation Four Seasons Hotel Lsa       Tony Makris                                        Auto              Car Service          Passenger: Tony Makris Requested by: Stephanie West
                                                2/14/2017                                                                                                                                                        Vegas as directed 13 hours
147          2017   146420/145983   EXP-9902    12/3/2016-               Jeff Minson   Financial Analyst   1/17/2017   Ready to Roll            $   1,849.77 Las Vegas, NV    TM January Travel                  TM Ground Transportation Four Seasons Hotel Lsa       Tony Makris                                        Auto              Car Service          Passenger: Tony Makris Requested by: Stephanie West
                                                2/14/2017                                                                                                                                                        Vegas as directed 13 hours
148          2017   149459          EXP-10720   4/4/2017 - 7/11/2017     Jeff Minson   Financial Analyst   5/26/2017   Ready to Roll            $   1,849.77 Atlanta, GA      Unknown                            Unknown                                               Tony Makris; Burgundy                              Auto              Car Service          Passenger: Burgundy, Tony Makris PU: Ritz Carlton Atl DO: Ritz Cartlon Atl


149          2017   150457          EXP-10850   6/7/2017-                Jeff Minson   Financial Analyst   5/31/2017   Ready to Roll            $   1,849.77 Arizona          Unknown                            Unknown                                               Anthony Makris                                     Auto              Car Service          Customer: Makris/Anthony
                                                7/31/2017                                                                                                                                                                                                                                                                                                        Passenger (total): Makris/Anthony
                                                                                                                                                                                                                                                                                                                                                                 Start time: 05/22/2017 05:15
                                                                                                                                                                                                                                                                                                                                                                 Drop-off time: 05/22/2017 18:15
                                                                                                                                                                                                                                                                                                                                                                 Pick-up / Stops: Four Seasons Resort Scottsdale at Troon North, 10600 East
                                                                                                                                                                                                                                                                                                                                                                 Crescent Moon Drive Scottsdale AZ 85262 United States 05/22/2017 6:50am
                                                                                                                                                                                                                                                                                                                                                                 / 6:50 (stop) - 13400 E Shea Blvd
                                                                                                                                                                                                                                                                                                                                                                 Drop-off: As directed
                                                                                                                                                                                                                                                                                                                                                                 Amount: $1849.77
150          2017   143169          EXP-8888    8/1/2016 - 10/24/2016    Jeff Minson   Financial Analyst   8/10/2016   Ritz Carlton             $    302.11 Dallas, TX        TM September Travel                TM additional lodging not prev reported               TM                                                 Travel            Lodging
151   7      2016   137631          EXP-7293    2/7/2016 - 4/15/2016     Jeff Minson   Financial Analyst   2/25/2016   CXIII/Landini Brothers   $   1,845.67 Alexandria, VA   TM March Travel                    Lunch TM with WLP Dr. RO & RD & Navy Seals part TM; WLP; Dr RO; Dr RD; Navy Seals                        Meals/Beverages   Group
                                                                                                                                                                                                                 of $5853.02
152   3      2016   142347          EXP-8604    7/7/2016 - 9/28/2016     Jeff Minson   Financial Analyst   8/24/2016   Ritz Carlton             $   1,104.18 Dallas, TX       TM august travel                   TM lodging                                            TM                                                 Travel            Lodging
153   3      2017   143169          EXP-8888    8/1/2016 - 10/24/2016    Jeff Minson   Financial Analyst   9/13/2016   Ritz Carlton             $    646.43 Dallas, TX        TM September Travel                Lodging TM lodging/dining room 610 charge             Tony Makris                                        Travel            Lodging              Guest: Tony Makris
                                                                                                                                                                                                                                                                                                                                                                 Arrive: 9/12/16 Depart: 9/13/16
154   3      2017   143169          EXP-8888    8/1/2016 - 10/24/2016    Jeff Minson   Financial Analyst   9/13/2016   Ritz Carlton             $      10.83 Dallas, TX       TM September Travel                Lodging TM honor bar food room 610                    Tony Makris                                        Travel            Lodging              Guest: Tony Makris
                                                                                                                                                                                                                                                                                                                                                                 Arrive: 9/12/16 Depart: 9/13/16
155          2018   155996          EXP-11652   1/26/2018 to 3/27/2018   Jeff Minson   Financial Analyst   2/7/2018    CXIII/Landini Brothers   $   1,816.05 Alexandria, VA   TM FEB EXP                         Date: January 9, 2018 - T. Makris, Steve H., Josh     T Makris; Steve H; Josh Powell; Josh Perren; NRA   Meals/Beverages   Group
                                                                                                                                                                                                                 Powell - $234.32 & $80.32                             BD members; Lance Olson; Wayne L
                                                                                                                                                                                                                 Date: January 13, 2018 - T. Makris, NRA - BD
                                                                                                                                                                                                                 members $886.44
                                                                                                                                                                                                                 Date: January 16, 2018 - T. Makris, Lance Olson, J.
                                                                                                                                                                                                                 Powell, Wayne L, J. Perrar - $614.97
156          2018   158521          EXP-11942   5/14/2018-6/14/2018      Jeff Minson   Financial Analyst   5/14/2018   CXIII/Landini Brothers   $   1,809.82 Alexandria, VA   TM May Travel part 2               Unknown                                               Tony Makris                                        Meals/Beverages   Individual
157   7      2017   148014          EXP-10319   2/11/2017 - 5/10/2017    Jeff Minson   Financial Analyst   2/22/2017   CXIII/Landini Brothers   $   1,803.98 Alexandria, VA   TM March travel                    Meal Tony Makris with Navy Seals group part of        Tony Makris; Navy Seals Group                      Meals/Beverages   Group                Date: 02/22/17
                                                                                                                                                                                                                 $4,325.30                                                                                                                                       CXIII Rex
                                                                                                                                                                                                                                                                                                                                                                 Charge: $1367.25
                                                                                                                                                                                                                                                                                                                                                                 Scv: $300.00
                                                                                                                                                                                                                                                                                                                                                                 Tax: $136.73
                                                                                                                                                                                                                                                                                                                                                                 Total: $1803.98
158          2018   155996          EXP-11652   1/26/2018 to 3/27/2018   Jeff Minson   Financial Analyst   2/23/2018   American Airlines        $   1,801.01 Unknown          TM FEB EXP                         Passenger: Tony Makris                                Anthony Makris                                     Travel            Airfare              Passenger: Makris/Anthony S
                                                                                                                                                                                                                 Flight details: 27 Feb 2018, Jacksonville/Dallas/Ft                                                                                             Total ticket amount: $1801.01
                                                                                                                                                                                                                 Worth
                                                                                                                                                                                                                 Flight details: 27 Feb 2018, Dallas/Ft Worth/Los
                                                                                                                                                                                                                 Angeles
159          2016   136859          EXP-6997    1/7/2016 - 3/22/2016     Jeff Minson   Financial Analyst   2/4/2016    Ready to Roll            $   1,800.50 Las Vegas, NV    TM February Travel                 Feb 3 PU DO 4 seasons vegas 13 hours as directed      Tony Makris                                        Auto              Car Service          PU: Four Seasons Hotel
                                                                                                                                                                                                                                                                                                                                                                 DO: Four Seasons Hotel
                                                                                                                                                                                                                                                                                                                                                                 Passenger - Tony Makris
160          2016   137631/136135   EXP-6836    12/1/2015 - 3/10/2016    Jeff Minson   Financial Analyst   1/22/2016   Ready to Roll            $   1,800.50 Las Vegas, NV    TM TRAVEL January 2016 Florida     Ground trans 13 hrs as directed Vegas Four Seasons    Anthony Makris                                     Auto              Car Service          PU: Four Seasons Hotel (Las Vegas)
                                                                                                                                                                              Dallas Vegas (SHOT Show) and Los   dropoff as needed                                                                                                                               DO: As Directed Las Vegas
                                                                                                                                                                              Angeles
161          2016   137631          EXP-7293    2/7/2016 - 4/15/2016     Jeff Minson   Financial Analyst   3/10/2016   Ready to Roll            $   1,800.50 Phoenix, AZ      TM March Travel                    March 9 ground trans 13 hours as directed             Anthony Makris                                     Auto              Car Service          PU: 5200 East Camel Park Road Phoenix, AZ
                                                                                                                                                                                                                                                                                                                                                                 DO: 5200 East Camel Park Road Phoenix, AZ
162          2016   138653          EXP-7581    3/1/2016 - 6/30/2016     Jeff Minson   Financial Analyst   4/5/2016    Ready to Roll            $   1,800.50 Las Vegas, NV    TM April Travel                    Ground Trans PU Las Vegas Blvd to 4 Seasons 5         Anthony Makris                                     Auto              Car Service          PU: Four Seasons Hotel (Las Vegas)
                                                                                                                                                                                                                 hours as directed April 3                                                                                                                       DO: Four Seasons Hotel (Las Vegas)
163          2018   155996          EXP-11652   1/26/2018 to 3/27/2018   Jeff Minson   Financial Analyst   2/1/2018    Verizon                  $   1,796.60 Unknown          TM FEB EXP                         Unknown                                               Tony Makris; Elicia Warner                         Miscellaneous     Telecommunications




                                                                                                                                                                                                                                                                                                                                                                                                          APP. 01951
                                                                            Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21                                                                                         Page 673 of 1087 PageID 30878

164   1; 9   2018   154261          EXP-11340   11/1/2017 to 12/11/2017   Jeff Minson   Financial Analyst   11/6/2017    CXIII/Landini Brothers   $   1,793.31 Alexandria, VA     TM November Travel               Unknown                                                     Joshua Powell                                    Meals/Beverages   Individual    Date: 10/08/2017
                                                                                                                                                                                                                                                                                                                                                                CXIII Rex
                                                                                                                                                                                                                                                                                                                                                                Charge = $596.25
                                                                                                                                                                                                                                                                                                                                                                SCV = $131.00
                                                                                                                                                                                                                                                                                                                                                                Tax = $59.63
                                                                                                                                                                                                                                                                                                                                                                Total = $786.88
                                                                                                                                                                                                                                                                                                                                                                Date: 10/09/2017
                                                                                                                                                                                                                                                                                                                                                                CXIII Rex
                                                                                                                                                                                                                                                                                                                                                                Charge = $44.50
                                                                                                                                                                                                                                                                                                                                                                SCV = $9.00
                                                                                                                                                                                                                                                                                                                                                                Tax = $4.45
                                                                                                                                                                                                                                                                                                                                                                Total = $57.95
                                                                                                                                                                                                                                                                                                                                                                Date: 10/25/2017
                                                                                                                                                                                                                                                                                                                                                                CXIII Rex
                                                                                                                                                                                                                                                                                                                                                                Charge = $716.80
                                                                                                                                                                                                                                                                                                                                                                SCV = $160.00
                                                                                                                                                                                                                                                                                                                                                                Tax = $71.68
                                                                                                                                                                                                                                                                                                                                                                Total = $948.48
                                                                                                                                                                                                                                                                                                                                                                Balance: $1793.31
165   3      2017   143169          EXP-8888    8/1/2016 - 10/24/2016     Jeff Minson   Financial Analyst   9/14/2016    Ritz Carlton             $    632.78 Dallas, TX          TM September Travel              Lodging TM lodging/dining room 715 charge                   Tony Makris                                      Travel            Lodging       Guest: Tony makris
                                                                                                                                                                                                                                                                                                                                                                Arrive: 9/13/16 Depart: 9/14/16
166          2017   150457          EXP-10850   6/7/2017-                 Jeff Minson   Financial Analyst   6/5/2017     Ready to Roll            $   1,778.63 Arizona            Unknown                          Unknown                                                     Anthony Makris                                   Auto              Car Service   Customer: Makris/Anthony
                                                7/31/2017                                                                                                                                                                                                                                                                                                       Passenger (total): Makris/Anthony
                                                                                                                                                                                                                                                                                                                                                                Start time: 05/24/2017 06:00
                                                                                                                                                                                                                                                                                                                                                                Drop-off time: 05/24/2017 18:30
                                                                                                                                                                                                                                                                                                                                                                Pick-up / Stops: Four Seasons Resort Scottsdale at Troon North, 10600 East
                                                                                                                                                                                                                                                                                                                                                                Crescent Moon Drive, Scottsdale AZ 85262 United States 05/24/2017 9:00am
                                                                                                                                                                                                                                                                                                                                                                / 09:00 (stop) - 13400 E Shea blvd
                                                                                                                                                                                                                                                                                                                                                                Drop-off: As directed
                                                                                                                                                                                                                                                                                                                                                                Amount: $1778.63
167   9      2017   145564          EXP-9659    12/21/2006 - 1/11/2017    Jeff Minson   Financial Analyst   11/26/2016   CXIII/Landini Brothers   $   1,756.22 Alexandria, VA     TM December travel expenses      Josh Powell and company meal with TM out of town            Josh Powell; Company                             Meals/Beverages   Group


168   3      2017   143169          EXP-8888    8/1/2016 - 10/24/2016     Jeff Minson   Financial Analyst   9/14/2016    Ritz Carlton             $      6.50 Dallas, TX          TM September Travel              Lodging TM honor bar food room 715                          Tony Makris                                      Travel            Lodging       Guest: Tony makris
                                                                                                                                                                                                                                                                                                                                                                Arrive: 9/13/16 Depart: 9/14/16
169   2; 9   2018   160161          12119       6/28/2018 - 8/8/2018      Jeff Minson   Financial Analyst   7/31/2018    Delta Airlines           $   1,748.60 Unknown            TM July Travel                   Unknown                                                     Warner                                           Travel            Airfare       Airfare purchased for Warner.
                                                                                                                                                                                                                                                                                                                                                                7/9: Savanna to ATL
                                                                                                                                                                                                                                                                                                                                                                7/9: ATL to PHX
                                                                                                                                                                                                                                                                                                                                                                7/14: PHX to LA
170          2017   145564          EXP-9659    12/21/2006 - 1/11/2017    Jeff Minson   Financial Analyst   12/1/2016    Ready to Roll            $   1,745.10 Nashville, TN      TM December travel expenses      TM ground transportation as directed 14 hours while Tony Makris                                              Auto              Car Service   Passenger: Tony Makris
                                                                                                                                                                                                                   in Nashville
171          2018   155996          EXP-11652   1/26/2018 to 3/27/2018    Jeff Minson   Financial Analyst   2/22/2018    Ready to Roll            $   1,743.05 Florida            TM FEB EXP                       Pick-up / Stops:                                            Tony Makris                                      Auto              Car Service   Customer: Tony Makris
                                                                                                                                                                                                                   Hotel Duval 850-224-6000, 415 N. Monroe St.                                                                                                  Passenger: Tony Makris (1)
                                                                                                                                                                                                                   Tallahassee, FL 32301 (Stop) - 10100 Dream Tree                                                                                              Start time: 02/18/2018 7:00
                                                                                                                                                                                                                   Boulevard, Orlando, FL 32836                                                                                                                 End time: 02/18/2018 19:15
                                                                                                                                                                                                                   Drop-off:                                                                                                                                    Ordered by: Stephanie West
                                                                                                                                                                                                                   Departure Orlando International Airport
172          2017   150457          EXP-10850   6/7/2017-                 Jeff Minson   Financial Analyst   5/31/2017    Ready to Roll            $   1,743.05 Arizona            Unknown                          Unknown                                                     Anthony Makris                                   Auto              Car Service   Customer: Makris/Anthony
                                                7/31/2017                                                                                                                                                                                                                                                                                                       Passenger (total): Makris/Anthony
                                                                                                                                                                                                                                                                                                                                                                Start time: 05/23/2017 05:45
                                                                                                                                                                                                                                                                                                                                                                Drop-off time: 05/23/2017 18:00
                                                                                                                                                                                                                                                                                                                                                                Pick-up / Stops: Four Seasons Resort Scottsdale at Troon North, 10600 East
                                                                                                                                                                                                                                                                                                                                                                Crescent Moon Drive Scottsdale AZ 85262 United States 05/23/2017 9:00am
                                                                                                                                                                                                                                                                                                                                                                / 9:00 (stop) - 13400 E Shea Blvd
                                                                                                                                                                                                                                                                                                                                                                Drop-off: As directed
                                                                                                                                                                                                                                                                                                                                                                Amount: $1743.05
173   7      2017   143169          EXP-8888    8/1/2016 - 10/24/2016     Jeff Minson   Financial Analyst   8/10/2016    CXIII/Landini Brothers   $   1,735.26 Alexandria, VA     TM September Travel              Meal TM with CN RK KM LO JC & SM part of                    TM; CN; RK; KM; LO; JC; SM                       Meals/Beverages   Group
                                                                                                                                                                                                                   $7463.82
174   1      2018   155996          EXP-11652   1/26/2018 to 3/27/2018    Jeff Minson   Financial Analyst   2/7/2018     CXIII/Landini Brothers   $   1,723.05 Alexandria, VA     TM FEB EXP                       Date: January 9, 2018 - T. Makris, Steve H., Josh           T Makris; Steve H; Josh Powell; Josh Perren; C   Meals/Beverages   Group
                                                                                                                                                                                                                   Powell - $412.90                                            Nash; Andrew A; Ray K
                                                                                                                                                                                                                   Date: January 12, 2018 - T. Makris, C. N., Ray K. -
                                                                                                                                                                                                                   $194.85
                                                                                                                                                                                                                   Date: January 13, 2018 - T. Makris, C.N., J. Perrar -
                                                                                                                                                                                                                   $122.58
                                                                                                                                                                                                                   Date: January 14, 2018 - T. Makris, J. Perrar, J. Powell,
                                                                                                                                                                                                                   C. Nash(?) - $270.50
                                                                                                                                                                                                                   Date: January 16, 2018 - T. Makris, J. Powell, Andrew
                                                                                                                                                                                                                   Arunlandoun (?), Josh Perrar - $84.50 & $380.63
                                                                                                                                                                                                                   Date: January 25, 2018 - Josh Powell - $256.69


175          2016   137631          EXP-7304    2/18/2016- -2/29/2016     Jeff Minson   Financial Analyst   2/18/2016    Alaska Airlines          $   1,682.20 Unknown            TIPS and Airfare reimbursement   Air transportation TM DC-LAX and return Feb 11th            TM                                               Travel            Airfare
                                                                                                                                                                                  (PAID on TM personal AMEX)       and Feb 18th
176   9      2016   137631          EXP-7293    2/7/2016 - 4/15/2016      Jeff Minson   Financial Analyst   3/8/2016     Alaska Airlines          $   1,682.20 Los Angeles, CA    TM March Travel                  Airfare Warner Loughlin LAX to DC RT                        Warner Loughlin                                  Travel            Airfare
177          2016   139727          EXP-7842    4/1/2016 to 6/30/16       Jeff Minson   Financial Analyst   4/25/2016    CXIII/Landini Brothers   $   1,650.44 Alexandria, VA     TM May Travel                    TM with WLM WLP M Hallow LO & MD                            TM; WLM; WLP; M Hallow; LO; MD                   Meals/Beverages   Group
178          2017   143169          EXP-8888    8/1/2016 - 10/24/2016     Jeff Minson   Financial Analyst   9/15/2016    Colcord Hotel            $    394.33 Oklahoma City, OK   TM September Travel              Lodging OKC TM                                              Tony Makris                                      Travel            Lodging       Arrival: 9/14/16 Depart: 9/15/16 Guest: Tony Makris
179   4; 9   2016   139727          EXP-7842    4/1/2016 to 6/30/16       Jeff Minson   Financial Analyst   5/26/2016    21C Hotel                $   1,643.00 Louisville, KY     TM May Travel                    deposit may 26 knar banquet for room: knar private          Ashley Hackler                                   Event             Food          Credit card statement includes: "Ashley Hackler - dinner". Invoice is titled
                                                                                                                                                                                                                   banquet dinner                                                                                                                               'Ashley Hackler Dinner'.
180          2017   150457          EXP-10850   6/7/2017-                 Jeff Minson   Financial Analyst   5/31/2017    Ready to Roll            $   1,636.34 Arizona            Unknown                          Unknown                                                     Anthony Makris                                   Auto              Car Service   Customer: Makris/Anthony
                                                7/31/2017                                                                                                                                                                                                                                                                                                       Passenger (total): Makris/Anthony
                                                                                                                                                                                                                                                                                                                                                                Start time: 05/253/2017 05:00
                                                                                                                                                                                                                                                                                                                                                                Drop-off time: 05/25/2017 16:30
                                                                                                                                                                                                                                                                                                                                                                Pick-up / Stops: Four Seasons Resort Scottsdale at Troon North, 10600 East
                                                                                                                                                                                                                                                                                                                                                                Crescent Moon Drive Scottsdale AZ 85262 United States 05/23/2017 9:00am
                                                                                                                                                                                                                                                                                                                                                                / 9:00 (stop) - 13400 E Shea Blvd
                                                                                                                                                                                                                                                                                                                                                                Drop-off: As directed
                                                                                                                                                                                                                                                                                                                                                                Amount: $1636.34
181   1; 9   2017   143169          EXP-8888    8/1/2016 - 10/24/2016     Jeff Minson   Financial Analyst   9/15/2016    Colcord Hotel            $    368.36 Oklahoma City, OK   TM September Travel              Lodging OKC WLP                                             Wayne Roberts                                    Travel            Lodging       Arrival: 9/14/16 Depart: 9/15/16 Guest: Wayne Roberts
182   7      2017   146420/145983   EXP-9902    12/3/2016-                Jeff Minson   Financial Analyst   12/13/2016   CXIII/Landini Brothers   $   1,619.04 Alexandria, VA     TM January Travel                TM lunch with T Schropp L olson WLP M Dycio &               TM; T Schropp; L Olson; WLP; M Dycio; Josh       Meals/Beverages   Group
                                                2/14/2017                                                                                                                                                          Josh Powell part of $5,408.13                               Powell




                                                                                                                                                                                                                                                                                                                                                                                                           APP. 01952
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183   7      2017   144737          EXP-9318    10/13/2013 - 1/5/2017    Jeff Minson   Financial Analyst   10/20/2016   CXIII/Landini Brothers   $   1,609.92 Alexandria, VA     TM November Travel                 Meal TM with JP MD DA CN WLP part of 4465.38           TM; JP; MD; DA; CN; WLP                    Meals/Beverages   Group


184   7      2017   146420/145983   EXP-9902    12/3/2016-               Jeff Minson   Financial Analyst   12/14/2016   CXIII/Landini Brothers   $   1,607.44 Alexandria, VA     TM January Travel                  TM lunch with Mark Dycio WLP J Powell Dino Avilez TM; Mark Dycio; WLP; J Powell; Dino Avilez; S   Meals/Beverages   Group
                                                2/14/2017                                                                                                                                                           & S Hart part of $4,576.99                             Hart
185          2017   143169          EXP-8888    8/1/2016 - 10/24/2016    Jeff Minson   Financial Analyst   9/21/2016    Ritz Carlton             $   1,644.31 Dallas, TX         TM September Travel                Lodging TM lodging/dining/laundry TM room 610          TM                                         Travel            Lodging       Guest: Tony Makris
                                                                                                                                                                                                                                                                                                                                                      Arrive: 9/19/16 Depart: 9/22/16
186   9      2017   143169          EXP-8888    8/1/2016 - 10/24/2016    Jeff Minson   Financial Analyst   9/21/2016    Ritz Carlton             $   1,630.95 Dallas, TX         TM September Travel                Lodging WLP lodging/dining/laundry TM room 802         Wayne Roberts                              Travel            Lodging       Guest: Wayne Roberts
                                                                                                                                                                                                                                                                                                                                                      Arrive: 9/19/16 Depart: 9/21/16
187   9      2018   154707/155520   11516       1/1/2018 to 2/8/2018     Jeff Minson   Financial Analyst   1/2/2018     Rocky Patel              $   1,575.00 Centreville, VA    TM Jan Travel                      Unknown                                                Mark Dycio; Mauricio Cremer                Unknown           Unknown       Sold to: Mark Dycio | Ship to: Mauricio Cremer in Dallas Tx
                                                                                                                                                                                                                                                                                                                                                      Box of 20 NRA Valedor Toro 6x52 (Band, Cello)
188          2017   143169          EXP-8888    8/1/2016 - 10/24/2016    Jeff Minson   Financial Analyst   9/23/2016    Four Seasons             $   2,018.76 Scottsdale, AZ     TM September Travel                Lodging dinner charges laundry TM Scottsdale Troon Tony Makris                                    Travel            Lodging       Guest: Tony Makris
                                                                                                                                                                                                                    North room 715                                                                                                                    Arrive: 9/21/16 Depart: 9/23/26
189   9      2017   146420/145983   EXP-9902    12/3/2016-               Jeff Minson   Financial Analyst   1/20/2017    Ready to Roll            $   1,565.19 Las Vegas, NV      TM January Travel                  TM Ground Transportation Four Seasons Hotel Lsa        Mr Dustin                                  Auto              Car Service   Passenger: Mr. Dustin Requested by: Stephanie west
                                                2/14/2017                                                                                                                                                           Vegas as directed 11 hours
190   7      2017   143169          EXP-8888    8/1/2016 - 10/24/2016    Jeff Minson   Financial Analyst   8/9/2016     CXIII/Landini Brothers   $   1,557.69 Alexandria, VA     TM September Travel                Meal TM with MD WLP JP & SP part of $7463.82           TM; MD; WLP; JP; SP                        Meals/Beverages   Group


191   1; 9   2017   143169          EXP-8888    8/1/2016 - 10/24/2016    Jeff Minson   Financial Analyst   9/23/2016    Four Seasons             $   1,308.88 Scottsdale, AZ     TM September Travel                Lodging dinner charges laundry WLP Scottsdale          Wayne Roberts                              Travel            Lodging       Guest: Wayne Roberts
                                                                                                                                                                                                                    Troon North room 703                                                                                                              Arrive: 9/21/16 Depart: 9/23/16
192   7      2016   140440          EXP-8075    5/2/16 to 7/22/16        Jeff Minson   Financial Analyst   5/5/2016     CXIII/Landini Brothers   $   1,546.43 Alexandria, VA     TM June Travel                     TM meal with WLP & guests part of $11,124.91           TM; WLP; Guests                            Meals/Beverages   Group
193          2017   145564          EXP-9659    12/21/2006 - 1/11/2017   Jeff Minson   Financial Analyst   11/30/2016   Ready to Roll            $   1,526.96 Nashville, TN      TM December travel expenses        TM ground transport as directed 12.25hours while in TM; Melanie Montgomery                        Auto              Car Service   Passenger Melanie Montgomery
                                                                                                                                                                                                                    Nascville including pickiup from Airport for Melanie
                                                                                                                                                                                                                    Montgomery
194          2016   137631/136135   EXP-6836    12/1/2015 - 3/10/2016    Jeff Minson   Financial Analyst   1/21/2016    Ready to Roll            $   1,523.50 Las Vegas, NV      TM TRAVEL January 2016 Florida     Ground trans 11 hrs as directed Vegas 4 seasons        Anthony Makris                             Auto              Car Service   PU: Four Seasons Hotel (Las Vegas)
                                                                                                                                                                                 Dallas Vegas (SHOT Show) and Los   dropoffs as needed                                                                                                                DO: As Directed Las Vegas
                                                                                                                                                                                 Angeles
195          2016   137631/136135   EXP-6836    12/1/2015 - 3/10/2016    Jeff Minson   Financial Analyst   1/27/2016    Ready to Roll            $   1,523.50 Las Vegas, NV      TM TRAVEL January 2016 Florida     Ground trans vegas 11 hours as directed                Anthony Makris                             Auto              Car Service   Unable to read handwritten note on CC statement
                                                                                                                                                                                 Dallas Vegas (SHOT Show) and Los   from/return to Four Seasons
                                                                                                                                                                                 Angeles                                                                                                                                                              PU: Four Seasons Hotel (Las Vegas)
                                                                                                                                                                                                                                                                                                                                                      DO: As Directed Las Vegas
196          2016   137631          EXP-7293    2/7/2016 - 4/15/2016     Jeff Minson   Financial Analyst   3/8/2016     Ready to Roll            $   1,523.50 Las Vegas, NV      TM March Travel                    March 5 ground trans TM WLP 11 hours as directed       TM; WLP                                    Auto              Car Service   PU: Four Seasons Hotel (Las Vegas)
                                                                                                                                                                                                                    to Four Seasons - Vegas                                                                                                           DO: AS Directed Las Vegas
197          2016   139727          EXP-7842    4/1/2016 to 6/30/16      Jeff Minson   Financial Analyst   4/6/2016     CXIII/Landini Brothers   $   1,523.16 Alexandria, VA     TM May Travel                      TM with WLP GS CN TK & MD                              TM; WLP; GS; CN; TK; MD                    Meals/Beverages   Group
198   2; 9   2017   145564          EXP-9731    10/1/16 - 11/30/16       Jeff Minson   Financial Analyst   10/31/2016   Hermitage                $   1,192.64 Nashville, TN      TM OCT NOV travel tips and         WLM lodging split with NRA on cost lodging             Warner Loughlin                            Travel            Lodging       bill divided between NRA and Warner Loughlin
                                                                                                                                                                                 reimbursable expenses
199   4      2017   144737          EXP-9318    10/13/2013 - 1/5/2017    Jeff Minson   Financial Analyst   11/1/2016    Four Seasons             $   1,752.75 Orlando, FL        TM November Travel                 Deposit - Lodging Lake Buena Vista FL                  TM                                         Travel            Lodging
200          2016   142347          EXP-8604    7/7/2016 - 9/28/2016     Jeff Minson   Financial Analyst   8/24/2016    American Airlines        $   1,474.20 Brays Island, SC   TM august travel                   TM airfare savannah dallas                             Anthony Makris                             Travel            Airfare       Flight from Savannah GA to Dallas TX for Anthony Makris
201   2; 9   2016   142347          EXP-8604    7/7/2016 - 9/28/2016     Jeff Minson   Financial Analyst   8/24/2016    American Airlines        $   1,474.20 Savannah, GA       TM august travel                   EL (WM) airfare Savannah Dallas                        Elicia Loughlin                            Travel            Airfare       Flight from Savannah GA to Dallas TX for Elicia Loughlin
202          2016   140440          EXP-8075    5/2/16 to 7/22/16        Jeff Minson   Financial Analyst   6/15/2016    American Airlines        $   1,471.10 Unknown            TM June Travel                     TM airfare phx to dal                                  TM                                         Travel            Airfare
203          2016   142347          EXP-8604    7/7/2016 - 9/28/2016     Jeff Minson   Financial Analyst   7/20/2016    CXIII/Landini Brothers   $   1,455.12 Alexandria, VA     TM august travel                   TM meal with JP WLP WP MH & TS                         TM; JP; WLP; WP; MH; TS                    Meals/Beverages   Group
204          2016   137631          EXP-7293    2/7/2016 - 4/15/2016     Jeff Minson   Financial Analyst   3/11/2016    Ready to Roll            $   1,454.25 Phoenix, AZ        TM March Travel                    Mar 10 Ground trans 10 hours as directed               Anthony Makris                             Auto              Car Service   PU: 5200 East Camel Park Road Phoenix, AZ
                                                                                                                                                                                                                                                                                                                                                      DO: 5200 East Camel Park Road Phoenix, AZ
205   2; 9   2018   156967          EXP-11729   3/1/2018 - 4/30/2018     Jeff Minson   Financial Analyst   3/12/2018    Delta Airlines           $   1,439.45 Phoenix, AZ        TM March Travel                    Passenger Loughlin/Elicia Warner from LA to ATL        Elicia Warner Loughlin                     Travel            Airfare       Passenger name: Loughlin/Elicia Warner
                                                                                                                                                                                                                                                                                                                                                      Airline: Delta Airlines
                                                                                                                                                                                                                                                                                                                                                      Flight details: 19 Mar 2018 Los Angeles/Atlanta
                                                                                                                                                                                                                                                                                                                                                      Flight details: 19 Mar 2018 Atlanta/Savannah
                                                                                                                                                                                                                                                                                                                                                      Amount: $1439.45
206          2018   158521          EXP-11942   5/14/2018-6/14/2018      Jeff Minson   Financial Analyst   5/14/2018    CXIII/Landini Brothers   $   1,439.12 Alexandria, VA     TM May Travel part 2               3/14/18: $819.48 TM, JP, Colleen Gallagher, Andrew Tony Makris; JP; Colleen Gallagher; Andrew     Meals/Beverages   Group
                                                                                                                                                                                                                    Arunlorde, Ray Kenny                                   Arunlorde; Ray Kenny
                                                                                                                                                                                                                    3/15/18: $619.64 TM
207          2018   160161          12119       6/28/2018 - 8/8/2018     Jeff Minson   Financial Analyst   7/31/2018    Jet Limousine            $   1,437.00 Unknown            TM July Travel                     Unknown                                                Tony; Warner                               Auto              Car Service   Trip was from 7/18 to 7/19. From Four Seasons in Scottsdale to PHX to drop
                                                                                                                                                                                                                                                                                                                                                      off Tony and Hollywood Hills, CA for Warner's final destination


208   3      2017   144737          EXP-9318    10/13/2013 - 1/5/2017    Jeff Minson   Financial Analyst   11/1/2016    Holiday Inn              $      96.05 Mt. Pleasant, TX   TM November Travel                 Lodging TM                                             Tony Makris                                Travel            Lodging       Guest: Tony Makris Arrival: 10/31/16 Depart: 11/1/16
209   7      2016   137631/136135   EXP-6836    12/1/2015 - 3/10/2016    Jeff Minson   Financial Analyst   12/15/2015   CXIII/Landini Brothers   $   1,415.93 Alexandria, VA     TM TRAVEL January 2016 Florida     Lunch TM with WLP CK JP MD CN JC & ZM part of T Makris; W LaPierre; C Kinney; J Perran; M Dycio; Meals/Beverages    Group         Cost is split into 2 charges with a handwritten note on the statement that says
                                                                                                                                                                                 Dallas Vegas (SHOT Show) and Los   $2,791.96                                              C Nash; John Cotton; Zane Markowitz                                        'for vegas'
                                                                                                                                                                                 Angeles
                                                                                                                                                                                                                                                                                                                                                      Handwritten notes on calendar states 'T. Makris, W. LaPierre, C. Kinney, J.
                                                                                                                                                                                                                                                                                                                                                      perran, M. Dycio, C. Nash, John Cotton, Zane Markowitz'
210          2016   139727          EXP-7842    4/1/2016 to 6/30/16      Jeff Minson   Financial Analyst   4/7/2016     CXIII/Landini Brothers   $   1,410.81 Alexandria, VA     TM May Travel                      TM with WLP GS CN TK & MD                              TM; WLP; GS; CN; TK; MD                    Meals/Beverages   Group
211   2; 9   2018   156967          EXP-11729   3/1/2018 - 4/30/2018     Jeff Minson   Financial Analyst   3/28/2018    American Airlines        $   1,404.45 Phoenix, AZ        TM March Travel                    Passenger Loughlin/Elicia Warner from Savannah to      Elicia Warner Loughlin                     Travel            Airfare       Date: 03/28/18
                                                                                                                                                                                                                    Dallas                                                                                                                            American Airline
                                                                                                                                                                                                                                                                                                                                                      Flight details: 08 Apr 2018 Savannah/Dallas/Ft Worth
212          2018   156967          EXP-11729   3/1/2018 - 4/30/2018     Jeff Minson   Financial Analyst   3/28/2018    American Airlines        $   1,404.45 Phoenix, AZ        TM March Travel                    Passenger TM from Savannah to Dallas                   TM                                         Travel            Airfare       Date: 03/28/18
                                                                                                                                                                                                                                                                                                                                                      American Airline
                                                                                                                                                                                                                                                                                                                                                      Flight details: 08 Apr 2018 Savannah/Dallas/Ft Worth
213          2018   156967          EXP-11729   3/1/2018 - 4/30/2018     Jeff Minson   Financial Analyst   3/10/2018    American Airlines        $   1,395.56 Phoenix, AZ        TM March Travel                    Passenger TM from LA to WAS                            Anthony Makris                             Travel            Airfare       Passenger name: Makris/Anthony S
                                                                                                                                                                                                                                                                                                                                                      Airlines: American Airlines
                                                                                                                                                                                                                                                                                                                                                      Flight Details: 13 Mar 2018 Los Angeles/Washington Dc-National
                                                                                                                                                                                                                                                                                                                                                      Amount: $1395.56
214          2017   150457          EXP-10850   6/7/2017-                Jeff Minson   Financial Analyst   6/5/2017     Ready to Roll            $   1,387.33 Arizona            Unknown                            Unknown                                                Anthony Makris                             Auto              Car Service   Customer: Makris/Anthony
                                                7/31/2017                                                                                                                                                                                                                                                                                             Passenger (total): Makris/Anthony
                                                                                                                                                                                                                                                                                                                                                      Start time: 05/31/2017 15:00
                                                                                                                                                                                                                                                                                                                                                      Drop-off time: 06/01/2017 00:45
                                                                                                                                                                                                                                                                                                                                                      Pick-up / Stops: 3204 Ledgewood Dr. Hollywood, CA 90068 05/31/2017
                                                                                                                                                                                                                                                                                                                                                      12:00am / 0:00 (stop) - as directed, westwood
                                                                                                                                                                                                                                                                                                                                                      Drop-off: 3204 Ledgewood Dr. Hollywood, CA 90068
                                                                                                                                                                                                                                                                                                                                                      Amount: $1387.33
215          2016   137631          EXP-7293    2/7/2016 - 4/15/2016     Jeff Minson   Financial Analyst   3/8/2016     Ready to Roll            $   1,385.00 Las Vegas, NV      TM March Travel                    March 6 ground trans TM WLP 6 hours as directed        TM; WLP                                    Auto              Car Service   PU: Four Seasons Hotel (Las Vegas)
                                                                                                                                                                                                                    to Four Seasons - Vegas                                                                                                           DO: Four Seasons Hotel (Las Vegas)
216          2016   143559          EXP-9110    9/1/2016 - 11/16/2016    Jeff Minson   Financial Analyst   10/11/2016   Mistral                  $   1,382.68 Sherman Oaks, CA   TM October Travel Expense          Dinner TM with GC KE & HLF                             TM; GC; KE; HLF                            Meals/Beverages   Group
217   3      2017   144737          EXP-9318    10/13/2013 - 1/5/2017    Jeff Minson   Financial Analyst   11/4/2016    Ritz Carlton             $   2,565.07 Dallas, TX         TM November Travel                 lodgining Dallas 2653.87 less 88 charge                Tony Makris                                Travel            Lodging       Guest: Tony Makris Arrive: 10/31/16 Depart: 11/4/16
218   7      2017   146420/145983   EXP-9902    12/3/2016-               Jeff Minson   Financial Analyst   12/17/2016   CXIII/Landini Brothers   $   1,372.21 Alexandria, VA     TM January Travel                  TM lunch with C Nash R Kwong J Cotton D Stafford TM; C Nash; R Kwong; J Cotton; D Stafford; K     Meals/Beverages   Group
                                                2/14/2017                                                                                                                                                           K Miller & Sonny Masso part of $5,408.13               Miller; Sonny Masso


219   7      2016   136859          EXP-6997    1/7/2016 - 3/22/2016     Jeff Minson   Financial Analyst   1/8/2016     CXIII/Landini Brothers   $   1,367.08 Alexandria, VA     TM February Travel                 Dinner TM NR Board of Directors Dinner Meeting         TM; Board of Directors                     Meals/Beverages   Group
                                                                                                                                                                                                                    part of $2217.87
220   7      2016   143559          EXP-9110    9/1/2016 - 11/16/2016    Jeff Minson   Financial Analyst   9/1/2016     CXIII/Landini Brothers   $   1,366.13 Alexandria, VA     TM October Travel Expense          TM lunch with JC DA JP & CN part of 5279.91            TM; JC; DA; JP; CN                         Meals/Beverages   Group
221          2017   144737          EXP-9318    10/13/2013 - 1/5/2017    Jeff Minson   Financial Analyst   11/12/2016   Tulsa Ambassador         $    253.14 Tulsa, OK           TM November Travel                 Lodging Tulsa                                          Tony Makris                                Travel            Lodging       Guest: Tony Makris Arrive:11/12/16 Depart: 11/13/16




                                                                                                                                                                                                                                                                                                                                                                                                 APP. 01953
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222   1; 9      2017   144737          EXP-9318    10/13/2013 - 1/5/2017    Jeff Minson   Financial Analyst   11/15/2016   Four Seasons             $   1,846.69 Austin, TX        TM November Travel                 Lodging WLP Austin TX Media meetings                Wayne Roberts                                     Travel            Lodging       Guest: Wayne Roberts
                                                                                                                                                                                                                                                                                                                                                            Arrive: 11/13/16 Depart: 11/14/16
223             2018   155996          EXP-11652   1/26/2018 to 3/27/2018   Jeff Minson   Financial Analyst   2/13/2018    LBT Prime Trump          $   1,348.90 Washington, DC    TM FEB EXP                         Unknown                                             Tony Makris                                       Meals/Beverages   Individual    Date: February 12, 2018
                                                                                                                                                                                                                                                                                                                                                            Subtotal: $1098.90
                                                                                                                                                                                                                                                                                                                                                            Tip: $250.00
                                                                                                                                                                                                                                                                                                                                                            Total: $1348.90
                                                                                                                                                                                                                                                                                                                                                            Tony Makris signature present
224             2017   153476          EXP-11222   9/30/2000 - 11/14/2017   Jeff Minson   Financial Analyst   10/19/2017   Delta Airlines           $   1,339.60 Unknown           TM OCT Travel                      Passenger: Tony Makris                              Tony Makris                                       Travel            Airfare       combined with Elicia ticket (2 charges of $1,339.60)
                                                                                                                                                                                                                      Sav > Atl
                                                                                                                                                                                                                      Atl > Dal
                                                                                                                                                                                                                      Dal > Atl
                                                                                                                                                                                                                      Atl > Sav
225   2; 9      2017   153476          EXP-11222   9/30/2000 - 11/14/2017   Jeff Minson   Financial Analyst   10/19/2017   Delta Airlines           $   1,339.60 Unknown           TM OCT Travel                      Passenger: Elicia W Loughlin                        Elicia W Loughlin                                 Travel            Airfare       Combined with Tony ticket (2 charges of $1,339.60)
                                                                                                                                                                                                                      Sav > Atl
                                                                                                                                                                                                                      Atl > Dal
                                                                                                                                                                                                                      Dal > Atl
                                                                                                                                                                                                                      Atl > Sav
226   1         2018   154706/155170   11424       11/28/2017-              Jeff Minson   Financial Analyst   12/6/2017    CXIII/Landini Brothers   $   1,322.06 Alexandria, VA    TM December                        Unknown                                             Tony Makris; Josh Powell                          Meals/Beverages   Group         Charges for Josh Powell at the Landini Brothers on 11/30
                                                   1/5/2018
227             2018   155996          EXP-11652   1/26/2018 to 3/27/2018   Jeff Minson   Financial Analyst   2/9/2018     American Airlines        $   1,318.46 Unknown           TM FEB EXP                         Passenger: Tony Makris                              Anthony Makris                                    Travel            Airfare       Passenger: Makris/Anthony S
                                                                                                                                                                                                                      Flight details: 11 Feb 2018, Dallas/Ft                                                                                                Total ticket amount: $1318.46
                                                                                                                                                                                                                      Worth/Washington DC-National
228             2017   144737          EXP-9318    10/13/2013 - 1/5/2017    Jeff Minson   Financial Analyst   11/15/2016   Four Seasons             $   1,073.36 Austin, TX        TM November Travel                 Lodging TM Austin TX media meetings                 Tony Makris                                       Travel            Lodging       guest: tony makris
229   2; 9      2018   154706/155170   11424       11/28/2017-              Jeff Minson   Financial Analyst   11/28/2017   American Airlines        $   1,292.01 Unknown           TM December                        Unknown                                             Warner                                            Travel            Airfare       Trip for Warner from Savannah to Dallas on 12/29/17; Dallas to Montrose on
                                                   1/5/2018                                                                                                                                                                                                                                                                                                 12/29/17, and Montrose to Dallas on 1/3/18
230             2017   151745          EXP-11046   8/1/2017 - 9/29/2017     Jeff Minson   Financial Analyst   8/22/2017    Ready to Roll            $   1,280.61 Los Angeles, CA   TM AUG TRAVEL                      Passenger (total): Tony Makris (1) PU: 3204         Tony Makris                                       Auto              Car Service   Ordered by: Stephanie West
                                                                                                                                                                                                                      Ledgewood Dr Los Angeles, CA ST: as directed DO:
                                                                                                                                                                                                                      3204 Ledgewood Dr
231   1; 9      2017   144737          EXP-9318    10/13/2013 - 1/5/2017    Jeff Minson   Financial Analyst   11/15/2016   Four Seasons             $    654.35 Austin, TX         TM November Travel                 Lodging No Show fee JP Austin TX Media meetings     Josh Powell                                       Travel            Lodging       Guest: Josh Powell
                                                                                                                                                                                                                                                                                                                                                            Arrive: 11/14/16 Depart: 11/14/16
232   7; 1; 9   2017   148014          EXP-10319   2/11/2017 - 5/10/2017    Jeff Minson   Financial Analyst   2/24/2017    CXIII/Landini Brothers   $   1,222.84 Alexandria, VA    TM March travel                    Meal Josh Powell and group part of $3,550.03        Josh Powell; Guests                               Meals/Beverages   Group         Date: 02/24/17
                                                                                                                                                                                                                                                                                                                                                            Landini Brothers
                                                                                                                                                                                                                                                                                                                                                            Charge: $466.65
                                                                                                                                                                                                                                                                                                                                                            Scv: $100.00
                                                                                                                                                                                                                                                                                                                                                            Tax: $46.67
                                                                                                                                                                                                                                                                                                                                                            Total: $613.32
                                                                                                                                                                                                                                                                                                                                                            Charge: $463.20
                                                                                                                                                                                                                                                                                                                                                            Scv: $100.00
                                                                                                                                                                                                                                                                                                                                                            Tax: $46.32
                                                                                                                                                                                                                                                                                                                                                            Total: $609.52
                                                                                                                                                                                                                                                                                                                                                            Overall total: $1222.84
233             2016   142347          EXP-8604    7/7/2016 - 9/28/2016     Jeff Minson   Financial Analyst   7/29/2016    CXIII/Landini Brothers   $   1,211.78 Alexandria, VA    TM august travel                   TM meal with CN WLP JP AA & MD                      TM; CN; WLP; JP; AA; MD                           Meals/Beverages   Group
234   2; 9      2016   143559          EXP-9110    9/1/2016 - 11/16/2016    Jeff Minson   Financial Analyst   10/10/2016   American Airlines        $   1,211.12 Unknown           TM October Travel Expense          Air travel E Loughlin Nashville Dallas savannah -   E Louglin                                         Travel            Airfare
                                                                                                                                                                                                                      canceled credit to follow
235             2017   151745          EXP-11046   8/1/2017 - 9/29/2017     Jeff Minson   Financial Analyst   8/23/2017    Ready to Roll            $   1,209.47 Los Angeles, CA   TM AUG TRAVEL                      Passenger (total): Tony Makris (1) PU: 3204         Tony Makris                                       Auto              Car Service   Ordered by: Stephanie West
                                                                                                                                                                                                                      Ledgewood Dr Los Angeles, CA ST: 11441 Ayrshire
                                                                                                                                                                                                                      Rd DO: 3204 Ledgewood Dr
236             2016   143559          EXP-9110    9/1/2016 - 11/16/2016    Jeff Minson   Financial Analyst   10/24/2016   Morton's Steakhouse      $   1,202.10 Arlington, VA     TM October Travel Expense          dinner TM with Josh Powell Woody Phillips and       TM; Josh Powell; Woody Phillips; Colleen Powell   Meals/Beverages   Group
                                                                                                                                                                                                                      Colleen Powell
237   9         2016   137631/136135   EXP-6836    12/1/2015 - 3/10/2016    Jeff Minson   Financial Analyst   1/22/2016    Venetian                 $   1,201.74 Las Vegas, NV     TM TRAVEL January 2016 Florida     Hospitality check via Hayley Holmes coffee water soft Hayley Holmes                                   Event             Food          Attendees are stated as 10; event date is 1/20/2016 and includes food,
                                                                                                                                                                                   Dallas Vegas (SHOT Show) and Los   drinks chips pretzels cookies                                                                                                         meeting services, and technical services
                                                                                                                                                                                   Angeles
238             2018   159388          EXP-12039   5/29/2018-               Jeff Minson   Financial Analyst   6/8/2018     CXIII/Landini Brothers   $   1,193.45 Alexandria, VA    TM June Travel                     05/08/2018: $313.80 TM, JP, AA                      TM; JP; AA; S Haut; Jim Staples; TS; Nash; Ray    Meals/Beverages   Group
                                                   7/11/2018                                                                                                                                                          5/09/2018: $250.35 TM, S. Haut                      Kenny; Dino Avilez; M Dycio; Alex Castellano
                                                                                                                                                                                                                      5/11/2018: $790.70 TM, Jim Staples, A. Castellano
                                                                                                                                                                                                                      5/17/2018: $361.35 TM, TS, JP, Nash
                                                                                                                                                                                                                      5/18/2018: 463.05 TM, CN, Ray Kenny, Dino Avilez
                                                                                                                                                                                                                      5/19/2018: $972.21 TM, JP, CN, M. Dycio, Alex
                                                                                                                                                                                                                      Castellano
                                                                                                                                                                                                                      5/21/2018: $281.01 TM, JP, TS



239             2017   144737          EXP-9318    10/13/2013 - 1/5/2017    Jeff Minson   Financial Analyst   11/16/2016   Four Seasons             $   1,150.11 Orlando, FL       TM November Travel                 Lodging TM Lake Buena Vista FL                      Tony Makris                                       Travel            Lodging       Guest: Tony Makris
240             2018   158118          EXP-11895   5/1/2018 - 6/4/2018      Jeff Minson   Financial Analyst   6/4/2018     Unknown                  $   1,192.50 Unknown           TM May Travel Part 1               Account reconciliation                              TM                                                Unknown           Unknown       Account reconciliation - prebilling difference "to be credited to June"
241   3         2017   145564          EXP-9659    12/21/2006 - 1/11/2017   Jeff Minson   Financial Analyst   12/1/2016    Hermitage                $   1,123.48 Nashville, TN     TM December travel expenses        TM lodging nashville nove 29-dec1                   Tony Makris                                       Travel            Lodging       Guest: Tony Makris Arrive: 11/29/16 Depart: 12/1/16
242             2017   144737          EXP-9318    10/13/2013 - 1/5/2017    Jeff Minson   Financial Analyst   11/4/2016    Avis                     $   1,181.10 Unknown           TM November Travel                 Car rental TM Nashville Arkansas Bray Island        TM                                                Auto              Car Rental
243   3         2017   145564          EXP-9659    12/21/2006 - 1/11/2017   Jeff Minson   Financial Analyst   12/1/2016    Hermitage                $    407.72 Nashville, TN      TM December travel expenses        TM lodging nashville nove 29-dec1                   Tony Makris                                       Travel            Lodging       Guest: Tony Makris Arrive: 11/29/16 Depart: 12/1/16
244             2018   156967          EXP-11729   3/1/2018 - 4/30/2018     Jeff Minson   Financial Analyst   3/13/2018    Ready to Roll            $   1,173.89 Los Angeles, CA   TM March Travel                    Unknown                                             Anthony Makris                                    Auto              Car Service   ref# cu2173


                                                                                                                                                                                                                                                                                                                                                            Customer: Makris/Anthony
                                                                                                                                                                                                                                                                                                                                                            Passenger (total): Makris/Anthony (1)
                                                                                                                                                                                                                                                                                                                                                            Start time: 03/12/18 14:30
                                                                                                                                                                                                                                                                                                                                                            End time: 03/12/18 22:45
                                                                                                                                                                                                                                                                                                                                                            Pick-up / Stops: 3204 Ledgewood Dr. Los Angeles CA 90068 (stop) -
                                                                                                                                                                                                                                                                                                                                                            Thousand Oaks, CA WAIT
                                                                                                                                                                                                                                                                                                                                                            Drop-off: 3204 Ledgewood Dr. Los Angeles, CA 90068
                                                                                                                                                                                                                                                                                                                                                            Amount: $1173.89
245             2017   145564          EXP-9659    12/21/2006 - 1/11/2017   Jeff Minson   Financial Analyst   12/8/2016    Ritz Carlton             $   1,551.28 Dallas, TX        TM December travel expenses        TM Lodging dallas for meetings                      Tony Makris                                       Travel            Lodging       Guest: Tony Makris Arrive:12/6/2016 Depart: 12/8/16
246             2017   146420/145983   EXP-9902    12/3/2016-               Jeff Minson   Financial Analyst   1/12/2017    Carey International      $   1,151.49 Dallas, TX        TM January Travel                  TM ground transportation dallas Hotel Zaza as       Tony Makris                                       Auto              Car Service   Passenger: Tony Makris, Arranged by: Eric Van Horn
                                                   2/14/2017                                                                                                                                                          directed ending 1919 Briar oaks Ln Houdson
247   1; 9      2017   145564          EXP-9659    12/21/2006 - 1/11/2017   Jeff Minson   Financial Analyst   12/8/2016    Ritz Carlton             $   1,376.95 Dallas, TX        TM December travel expenses        WLP Lodging in Dallas for meetings                  Wayne Roberts                                     Travel            Lodging       Guest: Wayne Roberts Arrive:12/6/2016 Depart: 12/8/16
248             2017   147112          EXP-10160   1/6/17 - 3/31/17         Jeff Minson   Financial Analyst   1/31/2017    Ready to Roll            $   1,144.32 Las Vegas, NV     TM FEB Travel                      Ground Transportation Vegas airport to Four         Anthony Makris                                    Auto              Car Service   PU: HSH N35455
                                                                                                                                                                                                                      Seasons                                                                                                                               Drop: Four Seasons Hotel (Las Vegas) Las Vegas, NV 89119
                                                                                                                                                                                                                                                                                                                                                            Pickup: 15:15 Dropoff: 22:15
                                                                                                                                                                                                                                                                                                                                                            Passenger: Makris, Anthony
                                                                                                                                                                                                                                                                                                                                                            Total: $1144.32




                                                                                                                                                                                                                                                                                                                                                                                                        APP. 01954
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249          2018   155996          EXP-11652   1/26/2018 to 3/27/2018   Jeff Minson   Financial Analyst   1/30/2018    Estrella                 $    1,142.90 Beverly Hills, CA   TM FEB EXP                         Unknown                                                Tony Makris; Amy Adams; Damen LaSanta; Wayne         Meals/Beverages   Group         Date: 1/30/2018
                                                                                                                                                                                                                                                                                                                                                                  Amount: $942.90
                                                                                                                                                                                                                                                                                                                                                                  Tip: $200.00
                                                                                                                                                                                                                                                                                                                                                                  Total: $1,142.90
                                                                                                                                                                                                                                                                                                                                                                  Tony Makris signature present
                                                                                                                                                                                                                                                                                                                                                                  No further details provided
250   4      2017   146420/145983   EXP-9902    12/3/2016-               Jeff Minson   Financial Analyst   1/4/2017     Beverly Hills Hotel      $    2,004.86 Beverly Hills, CA   TM January Travel                  TM deposit for stay at Beverly Hills Hotel Feb 11-14   Mr and Mrs Tony Makris                               Travel            Lodging       Guest: Mr. & Mrs. Tony Makris Arrive: 2/11/17 Depart: 2/15/17. No hotel
                                                2/14/2017                                                                                                                                                                                                                                                                                                         header on invoice.
251          2017   146420/145983   EXP-9902    12/3/2016-               Jeff Minson   Financial Analyst   1/4/2017     Omni Hotel               $      193.42 Dallas, TX          TM January Travel                  TM lodging room service charges, laundry business      TM                                                   Travel            Lodging       Guest: Tony Makris Arrive: 1/4/17 Depart: 1/9/17
                                                2/14/2017                                                                                                                                                             center charges Jan 4-9
252          2016   136859          EXP-6997    1/7/2016 - 3/22/2016     Jeff Minson   Financial Analyst   2/1/2016     Mistral                  $    1,124.05 Unknown             TM February Travel                 Lunch TM with T Selleck D Selleck D Muntz J Milius     TM; T Selleck; D Selleck; D Muntz; J Milius; C       Meals/Beverages   Group
                                                                                                                                                                                                                      C Kenney K Elliott                                     Kenney; K Elliott
253   9      2017   146420/145983   EXP-9902    12/3/2016-               Jeff Minson   Financial Analyst   1/11/2017    Wynn                     $    2,362.98 Las Vegas, NV       TM January Travel                  Lodging/tax Jan 15-21 Hayley Holmes                    Hayley Holmes                                        Travel            Lodging       Guest: Hayley Holmes Arrive: 1/15/17 Depart: 1/21/17, no header on invoice
                                                2/14/2017
254   7      2017   143169          EXP-8888    8/1/2016 - 10/24/2016    Jeff Minson   Financial Analyst   8/2/2016     CXIII/Landini Brothers   $    1,121.45 Alexandria, VA      TM September Travel                Meal TM with JP AA MD & WLP part of $7,463.82          TM; SH; WLP; MD; JP                                  Meals/Beverages   Group


255   9      2017   146420/145983   EXP-9902    12/3/2016-               Jeff Minson   Financial Analyst   1/11/2017    Wynn                     $    1,779.32 Las Vegas, NV       TM January Travel                  Lodging/tax Jan 16-19 Lacey Duffy                      Lacey Duffy                                          Travel            Lodging       Guest: Lacey Duffy Arrive: 1/16/17 Depart: 1/20/17
                                                2/14/2017
256   7      2016   143559          EXP-9110    9/1/2016 - 11/16/2016    Jeff Minson   Financial Analyst   9/20/2016    CXIII/Landini Brothers   $    1,103.01 Alexandria, VA      TM October Travel Expense          TM lunch with MD CN WLP JP part of 5279.91             TM; MD; CN; WLP; JP                                  Meals/Beverages   Group


257          2016   136859          EXP-6997    1/7/2016 - 3/22/2016     Jeff Minson   Financial Analyst   1/28/2016    Grand Havana             $    1,101.33 Unknown             TM February Travel                 Dinner TM with T Selleck D Selleck D Muntz K           TM; T Selleck; D Selleck; D Muntz; K Elliott; T      Meals/Beverages   Group
                                                                                                                                                                                                                      Elliott & T Calleton                                   Calleton
258          2017   153476          EXP-11222   9/30/2000 - 11/14/2017   Jeff Minson   Financial Analyst   10/3/2017    Delta Airlines           $    1,101.05 Unknown             TM OCT Travel                      Passenger: Tony Makris LA/ATL ATL/SAV                  Tony Makris                                          Travel            Airfare
259   9      2017   146420/145983   EXP-9902    12/3/2016-               Jeff Minson   Financial Analyst   1/11/2017    Wynn                     $    1,358.40 Las Vegas, NV       TM January Travel                  Lodging/tax Jan 16-19 Melanie Montgomery               Melanie Hill                                         Travel            Lodging       Guest: melanie hill Arrive: 1/16/17 Depart: 1/19/17
                                                2/14/2017
260          2017   146420/145983   EXP-9902    12/3/2016-               Jeff Minson   Financial Analyst   1/12/2017    Hotel Zaza               $    5,278.71 Dallas, TX          TM January Travel                  TM lodging, food and beverage Dallas Jan               Tony Makris                                          Travel            Lodging       Guest: Tony Makris Arrive: 1/8/17 Depart: 1/12/17
                                                2/14/2017
261   7      2016   140440          EXP-8075    5/2/16 to 7/22/16        Jeff Minson   Financial Analyst   5/4/2016     CXIII/Landini Brothers   $    1,086.87 Alexandria, VA      TM June Travel                     TM meal with BOD meeting with WLP part of              TM; WLP; BOD                                         Meals/Beverages   Group
                                                                                                                                                                                                                      $9,371.27
262          2017   146420/145983   EXP-9902    12/3/2016-               Jeff Minson   Financial Analyst   1/16/2017    St. Regis                $    1,919.35 Houston, TX         TM January Travel                  TM lodging food and beverage Jan 12 -15                Tony Makris                                          Travel            Lodging       Guest: Tony Makris Arrive: 1/12/17 Depart: 1/15/17
                                                2/14/2017
263   1; 9   2017   146420/145983   EXP-9902    12/3/2016-               Jeff Minson   Financial Analyst   1/18/2017    Four Seasons             $    2,333.54 Las Vegas, NV       TM January Travel                  WLP Lodging in Las vegas Jan 14-18                     Mr & Mrs Wayne Roberts                               Travel            Lodging       Guest: Mr. & Mrs. Wayne Roberts Arrive: 1/14/17 Depart: 1/18/17
                                                2/14/2017
264   9      2017   146420/145983   EXP-9902    12/3/2016-               Jeff Minson   Financial Analyst   1/18/2017    Four Seasons             $      426.38 Las Vegas, NV       TM January Travel                  Jack Mayfield NO show charge on Lodging Jan 14-18      Jack Mayfield                                        Travel            Lodging       Guest: Jack Mayfield Arrive: 1/18/17 Depart: 1/18/17
                                                2/14/2017
265   7      2016   138653          EXP-7581    3/1/2016 - 6/30/2016     Jeff Minson   Financial Analyst   3/24/2016    CXIII/Landini Brothers   $    1,042.60 Alexandria, VA      TM April Travel                    TM lunch with GS MD SH DA & TS part of $3289.50 TM; GS; MD; SH; DA; TS                                      Meals/Beverages   Group


266          2016   137631/136135   EXP-6836    12/1/2015 - 3/10/2016    Jeff Minson   Financial Analyst   1/18/2016    Ready to Roll            $    1,038.75 Las Vegas, NV       TM TRAVEL January 2016 Florida     TM Ground trans Vegas 7.5 hours as directed airport TM                                                      Auto              Car Service   PU: LAS N
                                                                                                                                                                                   Dallas Vegas (SHOT Show) and Los   to Four Seasons                                                                                                                             DO: Four Seasons Hotel LV
                                                                                                                                                                                   Angeles
267          2017   147112          EXP-10160   1/6/17 - 3/31/17         Jeff Minson   Financial Analyst   2/6/2017     The Ivy                  $    1,030.73 Los Angeles, CA     TM FEB Travel                      Dinner with Dan Selleck, Wayne LaPierre, WP, WLM Dan Selleck; Wayne LaPierre; WP; WLM; TS; Tony Meals/Beverages               Group         Date: 02/06/17
                                                                                                                                                                                                                      & TS, Tony Makris                                      Makris                                                                               Amount: $980.73
                                                                                                                                                                                                                                                                                                                                                                  Tip: $50.00
                                                                                                                                                                                                                                                                                                                                                                  Total: $1030.73
                                                                                                                                                                                                                                                                                                                                                                  Tony Makris signature present at bottom of receipt
268          2017   144737          EXP-9318    10/13/2013 - 1/5/2017    Jeff Minson   Financial Analyst   10/28/2016   Palm Restaurant          $    1,022.09 Nashville, TN       TM November Travel                 Lunch TM with WL and David Corlew (manager             TM; David Corlew; WL                                 Meals/Beverages   Group         handwritten note "TM, WL David Corlew"
                                                                                                                                                                                                                      charlie daniels band)
269   7      2016   137631/136135   EXP-6836    12/1/2015 - 3/10/2016    Jeff Minson   Financial Analyst   12/12/2015   CXIII/Landini Brothers   $    1,019.37 Alexandria, VA      TM TRAVEL January 2016 Florida     Lunch TM with RB LO JC CN JP & KM part of              T Makris; R Bair; L Olson; J Cotton; C Nash; J       Meals/Beverages   Group         Note on calendar T. Makris, R. Bair, L. Olson, J. Cotton, C. Nash, J. Perrar, K.
                                                                                                                                                                                   Dallas Vegas (SHOT Show) and Los   $13,196.57                                             Perrar; K Miller                                                                     Miller.
                                                                                                                                                                                   Angeles
270          2016   140440          EXP-8075    5/2/16 to 7/22/16        Jeff Minson   Financial Analyst   6/13/2016    Old Oaks Cigar & Wine    $    1,010.50 Thousand Oaks, CA   TM June Travel                     amenities for T selleck with TM                        T Selleck; TM                                        Meals/Beverages   Group
271   7      2017   143169          EXP-8888    8/1/2016 - 10/24/2016    Jeff Minson   Financial Analyst   8/8/2016     CXIII/Landini Brothers   $    1,007.66 Alexandria, VA      TM September Travel                Meal TM with SH WLP MD & JP part of $7463.82           TM; SH; WLP; MD; JP                                  Meals/Beverages   Group


272   1; 9   2016   139727          EXP-7842    4/1/2016 to 6/30/16      Jeff Minson   Financial Analyst   4/29/2016    CXIII/Landini Brothers   $    1,006.81 Alexandria, VA      TM May Travel                      Millie Hallow with guests                              Millie Hallow; Guests                                Meals/Beverages   Group
273          2017   148749          EXP-10485   3/9/2017 - 7/11/2017     Jeff Minson   Financial Analyst   4/21/2017    Four Seasons             $    1,000.00 Atlanta, GA         Unknown                            Banquet event order                                    TM                                                   Event             Room Rental   Banquet Event order
                                                                                                                                                                                                                                                                                                                                                                  Account: Lquinones - Advertising
                                                                                                                                                                                                                                                                                                                                                                  Post As: Ackerman McQueen Dinner
                                                                                                                                                                                                                                                                                                                                                                  Event Date: Thursday, April 27, 2017
                                                                                                                                                                                                                                                                                                                                                                  Total rental: $1000
274   7      2016   137631          EXP-7293    2/7/2016 - 4/15/2016     Jeff Minson   Financial Analyst   2/22/2016    CXIII/Landini Brothers   $      999.13 Alexandria, VA      TM March Travel                    Lunch TM with WLP Dr.RO CN & TS part of                TM; WLP; Dr RO; CN; TS                               Meals/Beverages   Group
                                                                                                                                                                                                                      $5853.02
275          2018   160161          12119       6/28/2018-8/8/2018       Jeff Minson   Financial Analyst   7/31/2018    Alaska Airlines          $      998.20 Unknown             TM July Travel                     Unknown                                                TM                                                   Travel            Airfare       July 24 travel from LAX to WAS
276          2018   160161          12119       6/28/2018-8/8/2018       Jeff Minson   Financial Analyst   7/31/2018    Alaska Airlines          $      998.20 Unknown             TM July Travel                     Unknown                                                TM                                                   Travel            Airfare       Aug 12 travel from WAS to LAX
277          2017   146420/145983   EXP-9902    12/3/2016-               Jeff Minson   Financial Analyst   1/20/2017    Ready to Roll            $      996.03 Las Vegas, NV       TM January Travel                  Mr. Dustin Ground Transportation 7 hours as            Tony Makris                                          Auto              Car Service   Passenger: Tony Makris Requested by: Stephanie West
                                                2/14/2017                                                                                                                                                             directed while in Las Vegas
278   9      2017   146420/145983   EXP-9902    12/3/2016-               Jeff Minson   Financial Analyst   1/21/2017    Ready to Roll            $      996.03 Las Vegas, NV       TM January Travel                  TM Ground Transportation 7 hours as directed while Mr Dustin                                                Auto              Car Service   Passenger: Mr. Dustin Requested by: Stephanie west
                                                2/14/2017                                                                                                                                                             in Las Vegas
279          2017   152775          EXP-11176   8/30/2017 - 10/20/2017   Jeff Minson   Financial Analyst   9/26/2017    Ready to Roll            $      996.03 Dallas, TX          TM SEPT Travel                     Passenger: Tony Makris PU: DFW Intl ST: as directed Tony Makris                                             Auto              Car Service   Ordered by: Stephanie West
                                                                                                                                                                                                                      DO: Hotel ZaZa 2332 leonard st dallas, tx


280          2016   140440          EXP-8075    5/2/16 to 7/22/16        Jeff Minson   Financial Analyst   6/10/2016    Il Piccolino             $      993.47 W. Hollywood, CA    TM June Travel                     TM meal with SB SJ & WLP                               TM; SB; SJ; WLP                                      Meals/Beverages   Group
281          2017   146420/145983   EXP-9902    12/3/2016-               Jeff Minson   Financial Analyst   1/19/2017    Four Seasons             $   11,849.03   Las Vegas, NV     TM January Travel                  Four Seasons lodging & Meals for T Makris Room         Mr & Mrs Tony Makris                                 Travel            Lodging       Guest: Mr. & Mrs. Tony Makris
                                                2/14/2017
282          2016   142347          EXP-8604    7/7/2016 - 9/28/2016     Jeff Minson   Financial Analyst   7/27/2016    CXIII/Landini Brothers   $      985.95 Alexandria, VA      TM august travel                   TM meal with KP SM JC & SH                             TM; KP; SM; JC; SH                                   Meals/Beverages   Group
283   7      2016   138653          EXP-7581    3/1/2016 - 6/30/2016     Jeff Minson   Financial Analyst   3/3/2016     CXIII/Landini Brothers   $      971.47 Alexandria, VA      TM April Travel                    TM lunch with TS WLP BS WP & JP part of $5999.21 TM; TS; WLP; BS; WP; JP                                    Meals/Beverages   Group


284          2018   154706/155170   11444       9/27/2017-               Jeff Minson   Financial Analyst   10/19/2017   Carey International      $      964.89 Dallas, TX          TM SEP OCT                         NRA meetings - ground transportation                   Tony Makris                                          Auto              Car Service   Trip for Tony Makris from Love Field to Hotel ZAZA. The trip took 8.5
                                                1/5/2017                                                                                                                                                                                                                                                                                                          hours
285   7      2016   137631/136135   EXP-6836    12/1/2015 - 3/10/2016    Jeff Minson   Financial Analyst   12/14/2015   CXIII/Landini Brothers   $      956.47 Alexandria, VA      TM TRAVEL January 2016 Florida     Lunch TM with RB MW JP CN & KM part of                 TM; RB; MW; JP; CN; KM                               Meals/Beverages   Group
                                                                                                                                                                                   Dallas Vegas (SHOT Show) and Los   $13,196.57
                                                                                                                                                                                   Angeles
286          2017   143169          EXP-8888    8/1/2016 - 10/24/2016    Jeff Minson   Financial Analyst   9/6/2016     Mistral                  $      950.80 Sherman Oaks, CA    TM September Travel                Lunch TM with KE PM MV & KM                            Ken Elliott; Pat Marias; Mike Vedeen; Kate Marias;   Meals/Beverages   Group         handwritten "Ken Elliott, Pat Marias, Mike Vedeen, Kate Marias, Tony Makris"
                                                                                                                                                                                                                                                                             Tony Makris
287          2017   144737          EXP-9318    10/13/2013 - 1/5/2017    Jeff Minson   Financial Analyst   11/7/2016    Delta Airlines           $      949.80 Unknown             TM November Travel                 Air transportation TM Savannah - ATL - Tulsa           Tony Makris                                          Travel            Airfare       Passenger: Tony Makris
288          2017   144737          EXP-9318    10/13/2013 - 1/5/2017    Jeff Minson   Financial Analyst   11/13/2016   Jeffrey's                $      934.53 Austin, TX          TM November Travel                 Lunch TM with JP WP RM and WLP                         TM; J Powell; Woody; Revan; Wayne                    Meals/Beverages   Group         handwritten note "TM J Powell, Woody, Revan, Wayne"
289          2016   137631          EXP-7293    2/7/2016 - 4/15/2016     Jeff Minson   Financial Analyst   3/11/2016    Mastro's City            $      931.84 Scottsdale, AZ      TM March Travel                    Dinner TM with WLP MD Dr. RO Dr. Nyguen,               TM; WLP; MD; Dr RO; Dr Nyguen; Warner                Meals/Beverages   Group
                                                                                                                                                                                                                      Warner Louglin & Caroline Oxford                       Loughlin; Caroline Oxford




                                                                                                                                                                                                                                                                                                                                                                                                              APP. 01955
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290             2018   154707/155520   11516       1/1/2018 to 2/8/2018     Jeff Minson   Financial Analyst   1/10/2018    Delta Airlines           $      927.56 West Palm Beach, FL   TM Jan Travel                      Unknown                                             TM                                               Travel             Airfare       The invoice is for travel from West Palm Beach to ATL on 1/26/18 and ATL
                                                                                                                                                                                                                                                                                                                                                                 to LAX on 1/26/18. The hand written note states, "From West Palm to LA."


291   7         2016   138653          EXP-7581    3/1/2016 - 6/30/2016     Jeff Minson   Financial Analyst   3/18/2019    CXIII/Landini Brothers   $      924.55 Alexandria, VA        TM April Travel                    TM lunch with CN RK KC & LC part of $5999.21        TM; CN; RK; KC; LC                               Meals/Beverages    Group


292             2016   143559          EXP-9110    9/1/2016 - 11/16/2016    Jeff Minson   Financial Analyst   10/7/2016    Madeo Restorante         $      924.09 Los Angeles, CA       TM October Travel Expense          TM Dinner with WLM NT WLP & CM                      TM; WLM; NT; WLP; CM                             Meals/Beverages    Group
293   4; 1; 9   2017   146420/145983   EXP-9902    12/3/2016-               Jeff Minson   Financial Analyst   1/20/2017    Four Seasons             $      730.13 Las Vegas, NV         TM January Travel                  Lance Olson lodging deposit                         Lance Olson                                      Travel             Lodging       Guest: Lance Olson Advanced Deposit
                                                   2/14/2017
294             2016   142347          EXP-8604    7/7/2016 - 9/28/2016     Jeff Minson   Financial Analyst   7/23/2016    CXIII/Landini Brothers   $      921.74 Alexandria, VA        TM august travel                   TM meal with JP WLP AA & MD                         TM; JP; WLP; AA; MD                              Meals/Beverages    Group
295   2; 9      2018   157570          11839       1/2/2018-                Jeff Minson   Financial Analyst   4/25/2018    American Airlines        $      916.20 Savannah, GA          TM April Travel                    Unknown                                             Elicia Warner Loughlin                           Travel             Airfare       Trip on 05/01 from Savannah to Dallas
                                                   5/11/2018
296             2018   157570          11839       1/2/2018-                Jeff Minson   Financial Analyst   4/24/2018    American Airlines        $      916.20 Savannah, GA          TM April Travel                    Unknown                                             Tony Makris                                      Travel             Airfare       Trip from Savannah to Dallas
                                                   5/11/2018
297   7         2016   137631          EXP-7293    2/7/2016 - 4/15/2016     Jeff Minson   Financial Analyst   2/27/2016    CXIII/Landini Brothers   $      915.13 Alexandria, VA        TM March Travel                    Lunch TM with WLP CN PS Drs. RO & RD part of        TM; WLP; CN; PS; Dr RO; Dr RD                    Meals/Beverages    Group
                                                                                                                                                                                                                           $5853.02
298             2018   158521          EXP-11942   5/14/2018-6/14/2018      Jeff Minson   Financial Analyst   5/14/2018    CXIII/Landini Brothers   $      912.03 Alexandria, VA        TM May Travel part 2               3/18/18: $747.30 TM, Chuck Nash, JP, MD             Tony Makris; CN; JP; MD                          Meals/Beverages    Group
299   9         2018   156967          EXP-11653   12/29/2017 - 3/27/2018   Jeff Minson   Financial Analyst   1/10/2018    American Airlines        $      906.30 Unknown               TM FEB Supplemental                Air travel for James Rosen to meet with in Dallas   James Rosen                                      Travel             Airfare       Date: 01/10/18
                                                                                                                                                                                                                                                                                                                                                                 Airline ticket for James Rosen
                                                                                                                                                                                                                                                                                                                                                                 Travel to Dallas from Washington, DC and return
                                                                                                                                                                                                                                                                                                                                                                 Amount $906.30
300   2; 9      2018   160161          12119       6/28/2018 - 8/8/2018     Jeff Minson   Financial Analyst   7/31/2018    Ready to Roll            $      903.96 Unknown               TM July Travel                     Unknown                                             Elicia Warner; Passenger                         Auto               Car Service   The note says the car picked up Elicia Warner and the trip was directed for
                                                                                                                                                                                                                                                                                                                                                                 the day. Passenger count says 2, base charges indicate 9 @72.00.


301             2017   146420/145983   EXP-9902    12/3/2016-               Jeff Minson   Financial Analyst   1/15/2017    Cosmopolitan             $      901.57 Las Vegas, NV         TM January Travel                  TM Dinner with Chris McKinney and WLP               TM; Chris McKinney; WLP                          Meals/Beverages    Group         handwritten "TM WLP Chris McKinney"
                                                   2/14/2017
302             2017   152775          EXP-11176   8/30/2017 - 10/20/2017   Jeff Minson   Financial Analyst   9/26/2017    Virgin America           $      901.20 Dallas, TX            TM SEPT Travel                     Passenger: Tony Makris From: DFW To: Washington Tony Makris                                          Travel             Airfare
                                                                                                                                                                                                                           Natl
303             2018   154707/155520   11516       1/1/2018 to 2/8/2018     Jeff Minson   Financial Analyst   1/10/2018    Alaska Airlines          $      898.30 Washington, DC        TM Jan Travel                      Unknown                                             Tony Makris                                      Travel             Airfare       The invoice is for travel from WAS to LAX on 1/17/18.
304   2; 9      2018   157570          11839       1/2/2018-                Jeff Minson   Financial Analyst   4/24/2018    Alaska Airlines          $      898.20 Dallas, TX            TM April Travel                    Unknown                                             Elicia Warner Loughlin                           Travel             Airfare       Trip from Dallas to LA
                                                   5/11/2018
305             2017   143169          EXP-8888    8/1/2016 - 10/24/2016    Jeff Minson   Financial Analyst   8/29/2016    Virgin Airlines          $      898.10 Unknown               TM September Travel                Air transportation TM DAL to DC                     TM                                               Travel             Airfare
306             2017   146420/145983   EXP-9902    12/3/2016-               Jeff Minson   Financial Analyst   1/21/2017    Four Seasons             $   11,843.32   Las Vegas, NV       TM January Travel                  Balance on Four Seasons lodging & meals T Makris    Mr & Mrs Tony Makris                             Travel             Lodging       Guest: Mr. & Mrs. Tony Makris Arrive: 1/14/17 Depart: 1/20/17
                                                   2/14/2017                                                                                                                                                               Room
307             2017   149459          EXP-10720   4/4/2017 - 7/11/2017     Jeff Minson   Financial Analyst   5/22/2017    Ready to Roll            $      889.31 Los Angeles, CA       Unknown                            PU: 3204 Ledgewood Drive, Los Angeles, CA           Tony Makris                                      Auto               Car Service
                                                                                                                                                                                                                           ST: 8501 Wilshire Bvd. #316, Beverly Hills, CA.
                                                                                                                                                                                                                           DO: 3204 Ledgewood Drive, Los Angeles, CA
308   4; 9      2017   146420/145983   EXP-9902    12/3/2016-               Jeff Minson   Financial Analyst   1/26/2017    Four Seasons             $      561.38 Las Vegas, NV         TM January Travel                  Mark Dycio Las Vegas Lodging deposit                Mark Dycio                                       Travel             Lodging       Guest: Tony Makris ADVANCE DEPOSIT
                                                   2/14/2017
309             2017   144737          EXP-9318    10/13/2013 - 1/5/2017    Jeff Minson   Financial Analyst   10/27/2016   Ready to Roll            $      872.55 Nashville, TN         TM November Travel                 Ground transportation BNA 5578 AA airport           Tony Makris                                      Auto               Car Service   Passenger: Tony Makris
                                                                                                                                                                                                                           Nashville to Hermitage Hotel
310   7         2016   137631          EXP-7293    2/7/2016 - 4/15/2016     Jeff Minson   Financial Analyst   2/23/2016    CXIII/Landini Brothers   $      868.12 Alexandria, VA        TM March Travel                    Lunch TM with CN KM SH RK & JP part of $7430.39 TM; CN; KM; SH; RK; JP                               Meals/Beverages    Group


311   7         2016   137631          EXP-7293    2/7/2016 - 4/15/2016     Jeff Minson   Financial Analyst   2/25/2016    CXIII/Landini Brothers   $      866.77 Alexandria, VA        TM March Travel                    Lunch TM with Dr.O Dr. D WLP and Navy Seals         TM; Dr O; Dr D; WLP; Navy Seals Group            Meals/Beverages    Group
                                                                                                                                                                                                                           Group part of $7430.39
312             2016   143559          EXP-9110    9/1/2016 - 11/16/2016    Jeff Minson   Financial Analyst   10/8/2016    Crustacean               $      858.64 Beverly Hills, CA     TM October Travel Expense          TM Dinner with WLP WLM CM & NT                      TM; WLP; WLM; CM; NT                             Meals/Beverages    Group
313             2017   151745          EXP-11046   8/1/2017 - 9/29/2017     Jeff Minson   Financial Analyst   8/7/2017     Alaska Airlines          $      858.20 Unknown               TM AUG TRAVEL                      Passenger: Tony Makris From: Los Angeles, CA To:    Tony Makris                                      Travel             Airfare
                                                                                                                                                                                                                           Washington Natl
314             2018   157570          11839       1/2/2018-                Jeff Minson   Financial Analyst   4/23/2018    The Standard             $      857.65 Nashville, TN         TM April Travel                    Unknown                                             Keith Wallender; Jaine; Tony Makris; David Corlew Meals/Beverages   Group
                                                   5/11/2018
315             2017   147112          EXP-10160   1/6/17 - 3/31/17         Jeff Minson   Financial Analyst   2/4/2017     Four Seasons             $   32,897.50   Las Vegas, NV       TM FEB Travel                      Lodging Food and Beverage Jan 31 - Feb 4            Mr and Mrs Anthony Makris                        Travel             Lodging       Arrival: 01/31/17
                                                                                                                                                                                                                                                                                                                                                                 Departure: 02/04/17
                                                                                                                                                                                                                                                                                                                                                                 Charges for PRESS Lounge Lunch, resort fee, resort fee tax, room charge,
                                                                                                                                                                                                                                                                                                                                                                 room tax, room tax increase, Charlie Palmer Steak House, Private Bar, room
                                                                                                                                                                                                                                                                                                                                                                 service breakfast, laundry, House of Blues, business center
                                                                                                                                                                                                                                                                                                                                                                 Total: $32897.50


316             2018   158118          EXP-11895   5/1/2018 - 6/4/2018      Jeff Minson   Financial Analyst   5/5/2018     Flashlight Outlet        $      855.00 Valparaiso, IN        TM May Travel Part 1               Flashlights and Batteries                           Tony Makris                                      Miscellaneous      Other         Email from Stephanie West to Jeff Minson - "For NRA Advancement - Give
                                                                                                                                                                                                                                                                                                                                                                 aways
317             2017   149459          EXP-10720   4/4/2017 - 7/11/2017     Jeff Minson   Financial Analyst   5/13/2017    Alaska Airlines          $      854.21 Unknown               Unknown                            Unknown                                             AM                                               Travel             Airfare       Flight from LA to DCA
318             2016   137631/136135   EXP-6836    12/1/2015 - 3/10/2016    Jeff Minson   Financial Analyst   1/19/2016    Ready to Roll            $      854.08 Florida               TM TRAVEL January 2016 Florida     TM Ground trans Jupiter FL 8.5 hrs as directed      TM                                               Auto               Car Service   PU: 209 Commodore Dr. Jupiter, FL
                                                                                                                                                                                        Dallas Vegas (SHOT Show) and Los                                                                                                                                         DO: 4012 Central Florida Parkway Orlando, FL
                                                                                                                                                                                        Angeles
319             2017   150457          EXP-10850   6/7/2017-                Jeff Minson   Financial Analyst   6/7/2017     Ready to Roll            $      853.74 Los Angeles, CA       Unknown                            Unknown                                             Anthony Makris                                   Auto               Car Service   Customer: Makris/Anthony
                                                   7/31/2017                                                                                                                                                                                                                                                                                                     Passenger (total): Makris/Anthony
                                                                                                                                                                                                                                                                                                                                                                 Start time: 06/05/2017 14:15
                                                                                                                                                                                                                                                                                                                                                                 Drop-off time: 06/05/2017 22:45
                                                                                                                                                                                                                                                                                                                                                                 Pick-up / Stops: 3204 Ledgewood Dr. Hollywood, CA 90068 (stop) -
                                                                                                                                                                                                                                                                                                                                                                 Westlake A/D
                                                                                                                                                                                                                                                                                                                                                                 Drop-off: 3204 Ledgewood Dr. Hollywood, CA 90068
                                                                                                                                                                                                                                                                                                                                                                 Amount: $853.74
320             2017   150457          EXP-10850   6/7/2017-                Jeff Minson   Financial Analyst   6/7/2017     Ready to Roll            $      853.74 Unknown               Unknown                            Unknown                                             TM                                               Auto               Car Service
                                                   7/31/2017
321   9         2017   147112          EXP-10160   1/6/17 - 3/31/17         Jeff Minson   Financial Analyst   2/4/2017     Four Seasons             $    1,817.91 Las Vegas, NV         TM FEB Travel                      M Dycio Lodging Food and Beverage Jan 31 - Feb 4    M Dycio                                          Travel             Lodging       Arrival: 01/31/17
                                                                                                                                                                                                                                                                                                                                                                 Departure: 02/04/17
                                                                                                                                                                                                                                                                                                                                                                 Charges for resort fee, resort fee tax, room charge, room tax, room tax
                                                                                                                                                                                                                                                                                                                                                                 increase
                                                                                                                                                                                                                                                                                                                                                                 Total: $1817.91
322   1; 9      2017   145564          EXP-9659    12/21/2006 - 1/11/2017   Jeff Minson   Financial Analyst   11/5/2016    CXIII/Landini Brothers   $      846.30 Alexandria, VA        TM December travel expenses        JP and company meal wih out of TM out of town       JP; Company                                      Meals/Beverages    Group
                                                                                                                                                                                                                           during this period
323             2017   146420/145983   EXP-9902    12/3/2016-               Jeff Minson   Financial Analyst   1/24/2017    Alaska Airlines          $      844.20 Unknown               TM January Travel                  TM Feb 20th LAX to DC                               Tony Makris                                      Travel             Airfare       Passenger: Tony Makris
                                                   2/14/2017
324             2016   137631/136135   EXP-6836    12/1/2015 - 3/10/2016    Jeff Minson   Financial Analyst   1/20/2016    Venetian                 $      833.95 Las Vegas, NV         TM TRAVEL January 2016 Florida     Hospitality check via Hayley Holmes coffee water soft Hayley Holmes                                  Event              Food          Attendees are stated as 10; event date is 1/20/2016 and includes food,
                                                                                                                                                                                        Dallas Vegas (SHOT Show) and Los   drinks chips pretzels cookies                                                                                                         meeting services, and technical services
                                                                                                                                                                                        Angeles
325             2016   138653          EXP-7581    3/1/2016 - 6/30/2016     Jeff Minson   Financial Analyst   4/4/2016     Ready to Roll            $      831.00 Las Vegas, NV         TM April Travel                    Ground Trans PU Las Vegas Blvd to 4 Seasons 5       Anthony Makris                                   Auto               Car Service   PU: 6005 S. Las Vegas Blvd Las Vegas, NV
                                                                                                                                                                                                                           hours as directed April 1                                                                                                             DO: Four Seasons Hotel (Las Vegas)
326             2016   142347          EXP-8604    7/7/2016 - 9/28/2016     Jeff Minson   Financial Analyst   7/21/2016    CXIII/Landini Brothers   $      829.72 Alexandria, VA        TM august travel                   TM meal with WLP MH JP & JP                         TM; WLP; MH; JP; JP                              Meals/Beverages    Group




                                                                                                                                                                                                                                                                                                                                                                                                            APP. 01956
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327          2017   152775          EXP-11176   8/30/2017 - 10/20/2017    Jeff Minson   Financial Analyst   9/14/2017    American Airlines        $       826.20 Unknown                TM SEPT Travel                     Passenger: Tony Makris Depart: DRR Arrive: DFW         Tony Makris                                       Travel            Airfare


328   7      2016   137631/136135   EXP-6836    12/1/2015 - 3/10/2016     Jeff Minson   Financial Analyst   12/10/2015   CXIII/Landini Brothers   $       822.71 Alexandria, VA         TM TRAVEL January 2016 Florida     Lunch TM with CN LO KM JP & MD part of                 T Makris; M Dycio; L Olson; C Nash; J Perrar; K   Meals/Beverages   Group         Note on calendar T. Makris, M. Dycio, L. Olson, C. Nash, J. Perrar, K. Miller.
                                                                                                                                                                                        Dallas Vegas (SHOT Show) and Los   $13,196.57                                             Miller
                                                                                                                                                                                        Angeles
329          2016   138653          EXP-7581    3/1/2016 - 6/28/2016      Jeff Minson   Financial Analyst   4/22/2016    Enterprise               $       817.38 Savannah, GA           TM April Travel                    car rental savannah, GA April 12                       Anthony Makris                                    Auto              Car Rental    9 day rental - picked up at Savannah Airport
330          2017   149459          EXP-10720   4/4/2017 - 7/11/2017      Jeff Minson   Financial Analyst   5/16/2017    Tuscany                  $       816.75 Westlake Village, CA   Unknown                            Unknown                                                Tony Makris                                       Meals/Beverages   Individual
331   1; 9   2017   147112          EXP-10160   1/6/17 - 3/31/17          Jeff Minson   Financial Analyst   2/5/2017     Four Seasons             $     2,430.21 Las Vegas, NV          TM FEB Travel                      L Olsen Lodging Food and Beverage                      L Olsen                                           Travel            Lodging       Arrival: 02/01/17
                                                                                                                                                                                                                                                                                                                                                                    Departure: 02/05/17
                                                                                                                                                                                                                                                                                                                                                                    Charges for resort fee, resort fee tax, room charge, room tax, room tax
                                                                                                                                                                                                                                                                                                                                                                    increase, Private Bar, Veranda Lunch
                                                                                                                                                                                                                                                                                                                                                                    Total: $2430.21
332          2016   138653          EXP-7581    3/1/2016 - 6/28/2016      Jeff Minson   Financial Analyst   4/13/2016    Carey International      $       814.47 Dallas, TX             TM April Travel                    TM ground transportation while in Dallas               TM                                                Auto              Car Service   PU: Ritz Carlton Dallas
                                                                                                                                                                                                                                                                                                                                                                    DO: TBA
333   7      2016   140440          EXP-8075    5/2/16 to 7/22/16         Jeff Minson   Financial Analyst   5/9/2016     CXIII/Landini Brothers   $       808.77 Alexandria, VA         TM June Travel                     TM meal with WLP part of $11,124.91                    TM; WLP                                           Meals/Beverages   Group
334          2018   158521          EXP-11942   5/14/2018-6/14/2018       Jeff Minson   Financial Analyst   5/22/2018    American Airlines        $       805.20 Unknown                TM May Travel part 2               Depart: DCA                                            Tony Makris                                       Travel            Airfare
                                                                                                                                                                                                                           Arrive: Savannah
335          2017   151745          EXP-11046   8/1/2017 - 9/29/2017      Jeff Minson   Financial Analyst   8/1/2017     Ready to Roll            $       803.52 Scottsdale, AZ         TM AUG TRAVEL                      Passenger (total): Tony Makris (1) PU: Four Seasons    Tony Makris; Warner Loughlin                      Auto              Car Service   Ordered by: Warner Loughlin
                                                                                                                                                                                                                           Resort Scottsdale, AZ ST: Mayo clinic ST: Lunch Add
                                                                                                                                                                                                                           New Passenger: Warner Loughlin DO: Four Seasons
                                                                                                                                                                                                                           Resort Scottsdale, AZ


336          2017   151745          EXP-11019   5/9/2017 - 5/31/2017      Jeff Minson   Financial Analyst   5/10/2017    Delta Airlines           $       802.30 Unknown                TM Bray's Island & OOP expenses    Passenger: Tony Makris From: Savannah intl To:         Tony Makris                                       Travel            Airfare       handwritten note on AMEX stmt shows two charges from Delta of $802.30,
                                                                                                                                                                                        May 14 - May 30                    Atlanta Hartsfield/LA intl                                                                                                               which equals the online receipt of $1604.60, Delta receipt shows 2
                                                                                                                                                                                                                                                                                                                                                                    passengers flying from SAV to ATL to LAX
337   2      2017   151745          EXP-11019   5/9/2017 - 5/31/2017      Jeff Minson   Financial Analyst   5/10/2017    Delta Airlines           $       802.30 Unknown                TM Bray's Island & OOP expenses    Passenger: Elicia W Loughlin From: Savannah intl To:   Elicia W Loughlin                                 Travel            Airfare       handwritten note on AMEX stmt shows two charges from Delta of $802.30,
                                                                                                                                                                                        May 14 - May 30                    Atlanta Hartsfield/LA intl                                                                                                               which equals the online receipt of $1604.60, Delta receipt shows 2
                                                                                                                                                                                                                                                                                                                                                                    passengers flying from SAV to ATL to LAX
338          2018   154261          EXP-11340   11/1/2017 to 12/11/2017   Jeff Minson   Financial Analyst   11/16/2017   American Airlines        $       801.24 Unknown                TM November Travel                 Passenger: Tony Makris                                 Tony Makris; Elicia Warner Loughlin               Travel            Airfare       There was an email sent from Stephanie West to Tony Makris on November
                                                                                                                                                                                                                           Flight Details: 29 Dec 2017 Savannah/Dallas/Ft Worth                                                                                     30, 2017 stating "Tony, How should I handle the cost of the airline ticket to
                                                                                                                                                                                                                           Flight Details: 29 Dec 2017 Dallas/Ft                                                                                                    Colorado? The total of the ticket is $1,602.48. I placed the charged on your
                                                                                                                                                                                                                           Worth/Montrose                                                                                                                           corporate card, but after speaking with you today, I realize a portion of the
                                                                                                                                                                                                                           Flight Details: 03 Jan 2018 Montrose/Dallas/Ft Worth                                                                                     trip is personal and the return to Dallas is business. Split it in half?
                                                                                                                                                                                                                           Total: $1602.48                                                                                                                          Tony responded on December 1, 2017 "yes"
                                                                                                                                                                                                                           Passenger: Elicia Warner Loughlin
                                                                                                                                                                                                                           Flight Details: 29 Dec 2017 Savannah/Dallas/Ft Worth
                                                                                                                                                                                                                           Flight Details: 29 Dec 2017 Dallas/Ft
                                                                                                                                                                                                                           Worth/Montrose
                                                                                                                                                                                                                           Flight Details: 03 Jan 2018 Montrose/Los Angeles
                                                                                                                                                                                                                           Total: $1602.48




339          2017   147112          EXP-10160   1/6/17 - 3/31/17          Jeff Minson   Financial Analyst   2/15/2017    Beverly Hills Hotel      $8,802.13        Beverly Hills, CA    TM FEB Travel                      Lodging Food Parking & Beverage                        Mr and Mrs Anthony Makris                         Travel            Lodging       Arrival: 02/11/17
                                                                                                                                                                                                                                                                                                                                                                    Departure: 02/15/17
                                                                                                                                                                                                                                                                                                                                                                    Total: $9944.76
                                                                                                                                                                                                                                                                                                                                                                    Personal expenses were deducted from total:
                                                                                                                                                                                                                                                                                                                                                                    Spa services $342.00, IBAHN Movies $11.99, Polo Lounge Dinner - Food
                                                                                                                                                                                                                                                                                                                                                                    $806.64 = $1142.63
                                                                                                                                                                                                                                                                                                                                                                    Overall total: $8802.13
340          2016   138653          EXP-7581    3/1/2016 - 6/30/2016      Jeff Minson   Financial Analyst   4/2/2016     Cosmopolitan             $       797.81 Las Vegas, NV          TM April Travel                    TM dinner with WLP SLP NT MD with Terry and            TM; WLP; SLP; NT; MD; Terry; Colleen              Meals/Beverages   Group
                                                                                                                                                                                                                           Colleen (guests of WLP)
341   7      2017   144737          EXP-9318    10/13/2013 - 1/5/2017     Jeff Minson   Financial Analyst   10/21/2016   CXIII/Landini Brothers   $       792.92 Alexandria, VA         TM November Travel                 Meal TM with CN MD JP part of 4465.38                  TM; CN; MD; JP                                    Meals/Beverages   Group
342   7      2016   140440          EXP-8075    5/2/16 to 7/22/16         Jeff Minson   Financial Analyst   5/2/2016     CXIII/Landini Brothers   $       781.97 Alexandria, VA         TM June Travel                     TM MEAL with WL JP & HM part of $9,371.27              TM; WL; JP; HM                                    Meals/Beverages   Group
343   7      2016   137631          EXP-7293    2/7/2016 - 4/15/2016      Jeff Minson   Financial Analyst   2/26/2016    CXIII/Landini Brothers   $       779.61 Alexandria, VA         TM March Travel                    Lunch TM with WLP M Hallow Dr. O Dr. D part of         TM; WLP; M Hallow; Dr O; Dr D                     Meals/Beverages   Group
                                                                                                                                                                                                                           $7430.39
344   2; 9   2017   149459          EXP-10720   4/4/2017 - 7/11/2017      Jeff Minson   Financial Analyst   5/22/2017    American Airlines        $       777.00 Phoenix, AZ            Unknown                            Unknown                                                Elicia Loughlin                                   Travel            Airfare       Flight from Phoenix AZ to Burbank CA
345          2017   153476          EXP-11222   9/30/2000 - 11/14/2017    Jeff Minson   Financial Analyst   10/12/2017   Ca Del Sole              $       772.37 Toluca Lake, CA        TM OCT Travel                      Unknown                                                TM; GG; Joe Schubeck; WL; Ken Elliott             Meals/Beverages   Group         Handwritten note on receipt says "G.G. Joe Schubeck TM WL Ken Elliott"


346          2016   143559          EXP-9110    9/1/2016 - 11/16/2016     Jeff Minson   Financial Analyst   10/18/2016   American Airlines        $       766.41 Los Angeles, CA        TM October Travel Expense          Air transit TM LA to DC                                TM                                                Travel            Airfare
347          2018   158118          EXP-11895   5/1/2018 - 6/4/2018       Jeff Minson   Financial Analyst   5/6/2018     Trulucks                 $       766.23 Dallas, TX             TM May Travel Part 1               Unknown                                                Tony Makris                                       Meals/Beverages   Individual
348   7      2016   138653          EXP-7581    3/1/2016 - 6/30/2016      Jeff Minson   Financial Analyst   3/17/2019    CXIII/Landini Brothers   $       763.36 Alexandria, VA         TM April Travel                    TM lunch with LO JP CN JC ZM & Monty part of           TM; LO; JP; CN; JC; ZM; Monty                     Meals/Beverages   Group
                                                                                                                                                                                                                           $3289.50
349          2016   137631/136135   EXP-6836    12/1/2015 - 3/10/2016     Jeff Minson   Financial Analyst   1/23/2016    Ready to Roll            $       761.75 Las Vegas, NV          TM TRAVEL January 2016 Florida     Ground trans Vegas 5.5 hours as directed Four          Anthony Makris                                    Auto              Car Service   PU: Four Seasons Hotel (Las Vegas)
                                                                                                                                                                                        Dallas Vegas (SHOT Show) and Los   Seasons drop off Las Vegas Blvd                                                                                                          DO: 6005 S. Las Vegas Blvd, Las Vegas, NV
                                                                                                                                                                                        Angeles
350          2017   148014          EXP-10319   2/11/2017 - 5/10/2017     Jeff Minson   Financial Analyst   3/1/2017     Beverly Hills Hotel      $       (18.00) Beverly Hills, CA     TM March travel                    Credit for personal charge Feb 11-15                   TM                                                Travel            Lodging       Note on invoice from Beverly Hills hotel states "$18.00 additional from TM
                                                                                                                                                                                                                                                                                                                                                                    credit TM report March"
                                                                                                                                                                                                                                                                                                                                                                    Arrow on note points up to $1142.63 and states $1160.63.
351   4      2017   148749          EXP-10485   3/9/2017 - 7/11/2017      Jeff Minson   Financial Analyst   4/14/2017    Hotel Zaza               $    20,000.00   Dallas, TX           Unknown                            Advance deposit. 32 rooms were reserved. "Always       TM                                                Travel            Lodging       Date: 04/14/17
                                                                                                                                                                                                                           Mystical, Always Memorable" event                                                                                                        Advance deposit for Hotel Zaza for $20000.00
                                                                                                                                                                                                                                                                                                                                                                    Arrival: 04/30/18
                                                                                                                                                                                                                                                                                                                                                                    Departure: 05/14/18
352          2017   149459          EXP-10720   4/4/2017 - 7/11/2017      Jeff Minson   Financial Analyst   5/23/2017    Ready to Roll            $       755.02 Phoenix, AZ            Unknown                            Unknown                                                Tony Makris                                       Auto              Car Service   Passenger: Tony Makris PU: Phoenix Sky Harbor Intl DO: Four Seasons resort
                                                                                                                                                                                                                                                                                                                                                                    scottsdale, az
353   4      2017   148749          EXP-10485   3/9/2017 - 7/11/2017      Jeff Minson   Financial Analyst   4/22/2017    Four Seasons             $     1,132.67 Atlanta, GA            Unknown                            Unknown                                                Mr and Mrs Anthony Makris                         Travel            Lodging       Advance deposit
                                                                                                                                                                                                                                                                                                                                                                    Date: 03/21/17
                                                                                                                                                                                                                                                                                                                                                                    Arrival: 01/23/18
                                                                                                                                                                                                                                                                                                                                                                    Departure: 01/28/18
                                                                                                                                                                                                                                                                                                                                                                    Amount; $1132.67
354   9      2017   145564          EXP-9659    12/21/2006 - 1/11/2017    Jeff Minson   Financial Analyst   11/2/2016    CXIII/Landini Brothers   $       749.54 Alexandria, VA         TM December travel expenses        JP and company meal wih out of TM out of town          JP; Company                                       Meals/Beverages   Group
                                                                                                                                                                                                                           during this period
355          2018   156967          EXP-11729   3/1/2018 - 4/30/2018      Jeff Minson   Financial Analyst   3/15/2018    Delta Airlines           $       741.15 Phoenix, AZ            TM March Travel                    Passenger TM from WAS to ATL to Savannah               Anthony Makris                                    Travel            Airfare       Passenger name: Makris/Anthony S
                                                                                                                                                                                                                                                                                                                                                                    Airline: Delta Airlines
                                                                                                                                                                                                                                                                                                                                                                    Flight details: 19 Mar 2018 Washington Dc-National/Atlanta
                                                                                                                                                                                                                                                                                                                                                                    Flight details: 19 Mar 2018 Atlanta/Savannah
                                                                                                                                                                                                                                                                                                                                                                    Amount: $741.15




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356             2017   146420/145983   EXP-9902    12/3/2016-               Jeff Minson   Financial Analyst   1/8/2017     Trulucks                 $   739.45 Dallas, TX             TM January Travel                  TM dinner for Brad Johnson, Chris McKinney and        T Makris; Brad Johnson; Chris McKinney; Warner       Meals/Beverages   Group                handwritten "T. Makris Brad Johnson, Chris McKinney, Wayne LaPierre"
                                                   2/14/2017                                                                                                                                                             Warner Loughlin                                       Louglin
357   4         2017   148749          EXP-10485   3/9/2017 - 7/11/2017     Jeff Minson   Financial Analyst   4/23/2017    Four Seasons             $   883.23 Atlanta, GA            Unknown                            Unknown                                               Mr and Mrs Anthony Makris                            Travel            Lodging              Advance deposit
                                                                                                                                                                                                                                                                                                                                                                           Date: 04/22/17
                                                                                                                                                                                                                                                                                                                                                                           Arrival: 01/30/18
                                                                                                                                                                                                                                                                                                                                                                           Departure: 02/04/18
                                                                                                                                                                                                                                                                                                                                                                           Amount; $883.23
358   4; 1; 9   2017   148749          EXP-10485   3/9/2017 - 7/11/2017     Jeff Minson   Financial Analyst   4/24/2017    Four Seasons             $   304.99 Atlanta, GA            Unknown                            Unknown                                               Lance Olson                                          Travel            Lodging              Advance deposit
                                                                                                                                                                                                                                                                                                                                                                           Date: 04/23/17
                                                                                                                                                                                                                                                                                                                                                                           Arrival: 01/30/18
                                                                                                                                                                                                                                                                                                                                                                           Departure: 02/04/18
                                                                                                                                                                                                                                                                                                                                                                           Amount; $304.99
359   9         2016   137631/136135   EXP-6836    12/1/2015 - 3/10/2016    Jeff Minson   Financial Analyst   1/19/2016    Venetian                 $   723.89 Las Vegas, NV          TM TRAVEL January 2016 Florida     Hospitality check via Hayley Holmes coffee water soft Hayley Holmes                                        Event             Food                 Guests are indicated as '10'
                                                                                                                                                                                      Dallas Vegas (SHOT Show) and Los   drinks chips pretzels cookies
                                                                                                                                                                                      Angeles
360             2017   149459          EXP-10720   4/4/2017 - 7/11/2017     Jeff Minson   Financial Analyst   5/16/2017    Mistral                  $   721.60 Sherman Oaks, CA       Unknown                            Unknown                                               Tony Makris                                          Meals/Beverages   Individual
361   7         2016   143559          EXP-9110    9/1/2016 - 11/16/2016    Jeff Minson   Financial Analyst   9/6/2016     CXIII/Landini Brothers   $   721.46 Alexandria, VA         TM October Travel Expense          TM lunch with navy seal group part of 5279.91         TM; Navy Seals Group                                 Meals/Beverages   Group
362             2018   154707/155520   11516       1/1/2018 to 2/8/2018     Jeff Minson   Financial Analyst   1/5/2018     Ready to Roll            $   721.45 Telluride, CO          TM Jan Travel                      Unknown                                               TM; Passenger                                        Auto              Car Service          Trip from New Sheridan Hotel to Montrose Atlantic
                                                                                                                                                                                                                                                                                                                                                                           Passengers: 2
                                                                                                                                                                                                                                                                                                                                                                           Base Charges: 5 @ 102
363   4; 1; 9   2017   148749          EXP-10485   3/9/2017 - 7/11/2017     Jeff Minson   Financial Analyst   4/25/2017    Four Seasons             $   588.44 Atlanta, GA            Unknown                            Unknown                                               Lance Olson                                          Travel            Lodging              Advance deposit
                                                                                                                                                                                                                                                                                                                                                                           Date: 04/24/17
                                                                                                                                                                                                                                                                                                                                                                           Arrival: 01/23/18
                                                                                                                                                                                                                                                                                                                                                                           Departure: 01/28/18
                                                                                                                                                                                                                                                                                                                                                                           Amount; $588.44
364             2017   145564          EXP-9659    12/21/2006 - 1/11/2017   Jeff Minson   Financial Analyst   12/8/2016    The Standard             $   716.68 Nashville, TN          TM December travel expenses        TM meal with MM LD and HH Nashville                   TM; Mel Montgomery; Lacey Duffy; Hayley Holmes Meals/Beverages         Group                handwritten note "Lauren Wulf 734-646-3328 TM Mel Montgomery Lacey
                                                                                                                                                                                                                                                                                                                                                                           Duffy Hayley Holmes"
365             2018   160896          EXP-12196   7/23/2018 to 9/13/2018   Jeff Minson   Financial Analyst   8/3/2018     Delta Airlines           $   716.30 Unknown                TM August Travel                   Unknown                                               Tony Makris                                          Travel            Airfare              Departure: Savannah, SC
                                                                                                                                                                                                                                                                                                                                                                           Arrival: ATL, GA.
366             2018   158521          EXP-11942   5/14/2018-6/14/2018      Jeff Minson   Financial Analyst   5/14/2018    CXIII/Landini Brothers   $   711.95 Alexandria, VA         TM May Travel part 2               Unknown                                               TM                                                   Meals/Beverages   Individual           Email from TM to Stephanie West
367             2018   157570          11839       1/2/2018-                Jeff Minson   Financial Analyst   4/12/2018    Alto Plaza               $   704.63 Centreville, VA        TM April Travel                    Unknown                                               Tony Makris; Sonny Masso; J Perren; Elain            Meals/Beverages   Group
                                                   5/11/2018                                                                                                                                                                                                                   Lamment; Mark Dycio; Kyle Manatis
368             2016   142347          EXP-8604    7/7/2016 - 9/28/2016     Jeff Minson   Financial Analyst   7/29/2016    CXIII/Landini Brothers   $   704.07 Alexandria, VA         TM august travel                   TM meal with JP WLP JP & MD                           TM; JP; WLP; JP; MD                                  Meals/Beverages   Group
369   7         2017   146420/145983   EXP-9902    12/3/2016-               Jeff Minson   Financial Analyst   12/10/2016   CXIII/Landini Brothers   $   703.47 Alexandria, VA         TM January Travel                  TM lunch with Dino Avlez part of $4,567.99            TM; Dino Avilez                                      Meals/Beverages   Group
                                                   2/14/2017
370   1; 9      2017   147112          EXP-10160   1/6/17 - 3/31/17         Jeff Minson   Financial Analyst   1/19/2017    CXIII/Landini Brothers   $   700.82 Alexandria, VA         TM FEB Travel                      MEAL Josh Powell and guests                           Josh Powell; Guests                                  Meals/Beverages   Group                Date: 01/19/17
                                                                                                                                                                                                                                                                                                                                                                           Landini Brothers
                                                                                                                                                                                                                                                                                                                                                                           Charge: $258.00
                                                                                                                                                                                                                                                                                                                                                                           Scv: $56.00
                                                                                                                                                                                                                                                                                                                                                                           Tax: $25.82
                                                                                                                                                                                                                                                                                                                                                                           Total: $340.02
                                                                                                                                                                                                                                                                                                                                                                           Charge: $273.45
                                                                                                                                                                                                                                                                                                                                                                           Scv: $60.00
                                                                                                                                                                                                                                                                                                                                                                           Tax: $27.35
                                                                                                                                                                                                                                                                                                                                                                           Total: $360.80
                                                                                                                                                                                                                                                                                                                                                                           Overall total: $700.02
371             2017   147112          EXP-10160   1/6/17 - 3/31/17         Jeff Minson   Financial Analyst   2/9/2017     Mistral                  $   700.18 Sherman Oaks, CA       TM FEB Travel                      Tony Makris lunch with Ken Eliott Dan and Tom         Tony Makris; Ken Elliott; Dan Selleck; Tom Selleck   Meals/Beverages   Group                Date: 02/09/17
                                                                                                                                                                                                                         Selleck                                                                                                                                           Pre-tip Amount: $580.18
                                                                                                                                                                                                                                                                                                                                                                           Tip: $120.00
                                                                                                                                                                                                                                                                                                                                                                           Total Amount: $700.18
                                                                                                                                                                                                                                                                                                                                                                           "TM, Dan Selleck, Tom Selleck, Ken Elliott" handwritten on top
372   7; 1; 9   2017   148014          EXP-10319   2/11/2017 - 5/10/2017    Jeff Minson   Financial Analyst   2/23/2017    CXIII/Landini Brothers   $   697.37 Alexandria, VA         TM March travel                    Meal Josh Powell and group part of $3,550.03          Josh Powell; Guests                                  Meals/Beverages   Group                Date: 02/23/17
                                                                                                                                                                                                                                                                                                                                                                           Landini Brothers
                                                                                                                                                                                                                                                                                                                                                                           Charge: $255.70
                                                                                                                                                                                                                                                                                                                                                                           Scv: $56.00
                                                                                                                                                                                                                                                                                                                                                                           Tax: $25.57
                                                                                                                                                                                                                                                                                                                                                                           Total: $337.27
                                                                                                                                                                                                                                                                                                                                                                           Charge: $277.00
                                                                                                                                                                                                                                                                                                                                                                           Scv: $55.40
                                                                                                                                                                                                                                                                                                                                                                           Tax: $27.70
                                                                                                                                                                                                                                                                                                                                                                           Total: $360.10
                                                                                                                                                                                                                                                                                                                                                                           Overall total: $697.37
373             2017   150457          EXP-10850   6/7/2017-                Jeff Minson   Financial Analyst   6/5/2017     Tuscany                  $   697.01 Westlake Village, CA   Unknown                            Unknown                                               Anthony Makris                                       Meals/Beverages   Individual           Date: 06/05/17
                                                   7/31/2017                                                                                                                                                                                                                                                                                                               Amount: $577.01
                                                                                                                                                                                                                                                                                                                                                                           Tip: $120.00
                                                                                                                                                                                                                                                                                                                                                                           Total: $697.01
                                                                                                                                                                                                                                                                                                                                                                           Tony Makris signature present at bottom of receipt
374   7         2016   140440          EXP-8075    5/2/16 to 7/22/16        Jeff Minson   Financial Analyst   5/11/2016    CXIII/Landini Brothers   $   694.16 Alexandria, VA         TM June Travel                     TM meal with JP JC & DA part of $9,371.27             TM; JP; JC; DA                                       Meals/Beverages   Group
375             2016   136859          EXP-6997    1/7/2016 - 3/22/2016     Jeff Minson   Financial Analyst   2/3/2016     Ready to Roll            $   692.50 Las Vegas, NV          TM February Travel                 Feb 2 vegas airport to 4 seasons vegas                Tony Makris                                          Auto              Car Service          PU: LAS N
                                                                                                                                                                                                                                                                                                                                                                           DO: Four Seasons Hotel LV
                                                                                                                                                                                                                                                                                                                                                                           Passenger - Tony Makris
376             2016   141517          EXP-8278    6/7/2016 - 8/5/2016      Jeff Minson   Financial Analyst   7/1/2016     Verizon                  $   692.09 Unknown                TM JULY TRAVEL                     Tony Makris cells & 2 tablet service may 8 - june 7   Tony Makris                                          Miscellaneous     Telecommunications


377             2017   143169          EXP-8888    8/1/2016 - 10/24/2016    Jeff Minson   Financial Analyst   9/26/2016    Mistral                  $   690.34 Sherman Oaks, CA       TM September Travel                Lunch TM with KE MJ & DS                              T Makris; Ken Elliott; Mike Johnson; Dan Selleck     Meals/Beverages   Group                Handwritten "T. Makris, Ken Elliott, Mike Johnson, Dan Selleck"


378             2017   147112          EXP-10160   1/6/17 - 3/31/17         Jeff Minson   Financial Analyst   1/30/2017    Paley Restaurant         $   679.61 Los Angeles, CA        TM FEB Travel                      Tony Makris dinner with Tom Selleck, Dan Selleck      Tony Makris; Tom Selleck; Dan Selleck; David         Meals/Beverages   Group                Date: 1/30/2017
                                                                                                                                                                                                                         and David Muntz                                       Muntz                                                                                       Amount: $529.61
                                                                                                                                                                                                                                                                                                                                                                           Tip: $150.00
                                                                                                                                                                                                                                                                                                                                                                           Total: $679.61
                                                                                                                                                                                                                                                                                                                                                                           Tony Makris signature present
                                                                                                                                                                                                                                                                                                                                                                           "TM, T Selleck, D Selleck, David Muntz" handwritten on top of receipt


379             2016   139727          EXP-7842    4/1/2016 to 6/30/16      Jeff Minson   Financial Analyst   4/26/2016    CXIII/Landini Brothers   $   678.32 Alexandria, VA         TM May Travel                      TM with WLP MD CN & LO                                TM; WLP; MD; CN; LO                                  Meals/Beverages   Group




                                                                                                                                                                                                                                                                                                                                                                                                                     APP. 01958
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380   3      2017   148749          EXP-10485   3/9/2017 - 7/11/2017     Jeff Minson   Financial Analyst   4/26/2017    W Hotel                  $      798.75 Atlanta, GA            Unknown                            Unknown                                               Tony Makris                                        Travel            Lodging              Arrival date: 04/25/17
                                                                                                                                                                                                                                                                                                                                                                         Depart date: 04/25/17
                                                                                                                                                                                                                                                                                                                                                                         Guaranteed No Show: $679.00
                                                                                                                                                                                                                                                                                                                                                                         State Tax: $60.43
                                                                                                                                                                                                                                                                                                                                                                         Occupancy/Tourism Tax: $54.32
                                                                                                                                                                                                                                                                                                                                                                         GA Hotel Fee: $5.00
                                                                                                                                                                                                                                                                                                                                                                         Total: $798.75


381          2017   146420/145983   EXP-9902    12/3/2016-               Jeff Minson   Financial Analyst   1/24/2017    Mistral                  $      673.54 Sherman Oaks, CA       TM January Travel                  TM lunch with Ken Elliot Gigi Carlton and Dan         T Makris; Ken Elliott; Gigi Carlton; Dan Selleck   Meals/Beverages   Group                handwritten "T Makris Ken Elliott Gigi carlton Dan Selleck"
                                                2/14/2017                                                                                                                                                                Selleck
382   7      2017   146420/145983   EXP-9902    12/3/2016-               Jeff Minson   Financial Analyst   12/12/2016   CXIII/Landini Brothers   $      671.42 Alexandria, VA         TM January Travel                  TM lunch with C Nash W Ball part of $4,576.99         TM; C Nash; W Ball                                 Meals/Beverages   Group
                                                2/14/2017
383          2016   140440          EXP-8075    5/2/16 to 7/22/16        Jeff Minson   Financial Analyst   6/13/2016    Tuscany                  $      667.98 Westlake Village, CA   TM June Travel                     TM meal with D & T Selleck and WLP                    TM; D & T Selleck; WLP                             Meals/Beverages   Group
384          2016   137631          EXP-7293    2/7/2016 - 4/15/2016     Jeff Minson   Financial Analyst   3/15/2016    Ready to Roll            $      665.88 Phoenix, AZ            TM March Travel                    Mar 11 ground trans 4.75 hrs as directed              Anthony Makris                                     Auto              Car Service          PU: 5200 East Camel Park Road Phoenix, AZ
                                                                                                                                                                                                                                                                                                                                                                         DO: 5200 East Camel Park Road Phoenix, AZ
385          2016   137631          EXP-7293    2/7/2016 - 4/15/2016     Jeff Minson   Financial Analyst   3/15/2016    Ready to Roll            $      665.88 Phoenix, AZ            TM March Travel                    Mar 13 ground trans 4.75 hours as directed            Anthony Makris                                     Auto              Car Service          PU: 5200 East Camel Park Road Phoenix, AZ
                                                                                                                                                                                                                                                                                                                                                                         DO: 5200 East Camel Park Road Phoenix, AZ
386          2017   152775          EXP-11176   8/30/2017 - 10/20/2017   Jeff Minson   Financial Analyst   9/14/2017    Delta Airlines           $      665.20 Unknown                TM SEPT Travel                     Passenger: Tony Makris Washington Natl/Detroit-       Tony Makris                                        Travel            Airfare
                                                                                                                                                                                                                         metro
387          2016   142347          EXP-8604    7/7/2016 - 9/28/2016     Jeff Minson   Financial Analyst   7/19/2016    CXIII/Landini Brothers   $      661.37 Alexandria, VA         TM august travel                   TM meal with DA CN KM & WLP                           TM; DA; CN; KM; WLP                                Meals/Beverages   Group
388          2016   137631/136135   EXP-6836    12/1/2015 - 3/10/2016    Jeff Minson   Financial Analyst   1/19/2016    Ready to Roll            $      660.18 Florida                TM TRAVEL January 2016 Florida     TM Ground trans Orlando & Jupiter FL 6.5 hrs as       TM                                                 Auto              Car Service          PU: 4012 Central Florida Parkway Orlando, FL
                                                                                                                                                                                      Dallas Vegas (SHOT Show) and Los   directed                                                                                                                                        DO: 200 Admirals Cove Blvd. Jupiter, FL
                                                                                                                                                                                      Angeles
389   7      2016   137631          EXP-7293    2/7/2016 - 4/15/2016     Jeff Minson   Financial Analyst   2/7/2016     CXIII/Landini Brothers   $      659.34 Alexandria, VA         TM March Travel                    Lunch TM with WLP CN MD SH & KM part of               TM; WLP; CN; MD; SH; KM                            Meals/Beverages   Group
                                                                                                                                                                                                                         $7430.39
390   2; 9   2017   153476          EXP-11222   9/30/2000 - 11/14/2017   Jeff Minson   Financial Analyst   10/17/2017   Delta Airlines           $      659.20 Unknown                TM OCT Travel                      Passenger: Elicia Warner Loughlin Savannah/Atlanta    Elicia Warner Loughlin                             Travel            Airfare


391          2016   137631/136135   EXP-6836    12/1/2015 - 3/10/2016    Jeff Minson   Financial Analyst   1/16/2016    Smoke INN LLC            $      659.07 Tequesta, FL           TM TRAVEL January 2016 Florida     Amenities for Las Vegas Events                        TM                                                 Event             Other                Invoice is for 44 zino cigars; 1 davidoff mill piramides pack; and 2 lighters
                                                                                                                                                                                      Dallas Vegas (SHOT Show) and Los
                                                                                                                                                                                      Angeles                                                                                                                                                                            Handwritten note on Tony's CC statement states 'cigar and lighters for 2
                                                                                                                                                                                                                                                                                                                                                                         vegas trip'; also has note that states 'Steward'


                                                                                                                                                                                                                                                                                                                                                                         Email from Jeff M. to Stephanie W. and Hayket H. requesting receipts.



392          2016   143559          EXP-9110    9/1/2016 - 11/16/2016    Jeff Minson   Financial Analyst   10/12/2016   Mistral                  $      654.37 Sherman Oaks, CA       TM October Travel Expense          Lunch TM with DM JE & MB                              TM; DM; KE; MB                                     Meals/Beverages   Group
393   3      2017   148749          EXP-10485   3/9/2017 - 7/11/2017     Jeff Minson   Financial Analyst   4/26/2017    W Hotel                  $      471.43 Atlanta, GA            Unknown                            Unknown                                               Tony Makris                                        Travel            Lodging              Arrival date: 04/25/17
                                                                                                                                                                                                                                                                                                                                                                         Depart date: 04/25/17
                                                                                                                                                                                                                                                                                                                                                                         Guaranteed No Show: $399.00
                                                                                                                                                                                                                                                                                                                                                                         State Tax: $35.51
                                                                                                                                                                                                                                                                                                                                                                         Occupancy/Tourism Tax: $31.92
                                                                                                                                                                                                                                                                                                                                                                         GA Hotel Fee: $5.00
                                                                                                                                                                                                                                                                                                                                                                         Total: $471.43


394          2018   155996          EXP-11652   1/26/2018 to 3/27/2018   Jeff Minson   Financial Analyst   2/1/2018     Alaska Airlines          $      650.30 Unknown                TM FEB EXP                         Passenger: Tony Makris                                Anthony Makris                                     Travel            Airfare              Passenger: Makris/Anthony S
                                                                                                                                                                                                                         Flight details: 10 Mar 2018, Los Angeles/Washington                                                                                             Total ticket amount: $650.30
                                                                                                                                                                                                                         DC - National
395   2; 9   2018   155996          EXP-11652   1/26/2018 to 3/27/2018   Jeff Minson   Financial Analyst   2/1/2018     Alaska Airlines          $      650.30 Unknown                TM FEB EXP                         Passenger: Elicia Warner                              Elicia Warner                                      Travel            Airfare              Passenger: Warner/Elicia Warner
                                                                                                                                                                                                                         Flight details: 10 Mar 2018, Los Angeles/Washington                                                                                             Total ticket amount: $650.30
                                                                                                                                                                                                                         DC - National
396          2017   149459          EXP-10720   4/4/2017 - 7/11/2017     Jeff Minson   Financial Analyst   5/1/2017     Four Seasons             $   21,628.29   Atlanta, GA          Unknown                            Unknown                                               Tony Makris                                        Travel            Lodging              Hotel room for Tony Makris @ Four Seasons
                                                                                                                                                                                                                                                                                                                                                                         Arrive: 4/25/17
                                                                                                                                                                                                                                                                                                                                                                         Depart: 5/1/2017
397          2018   158118          EXP-11895   5/1/2018 - 6/4/2018      Jeff Minson   Financial Analyst   5/2/2018     Del Frisco               $      640.68 Dallas, TX             TM May Travel Part 1               Unknown                                               Tony Makris                                        Meals/Beverages   Individual
398   7      2017   146420/145983   EXP-9902    12/3/2016-               Jeff Minson   Financial Analyst   12/5/2016    CXIII/Landini Brothers   $      639.50 Alexandria, VA         TM January Travel                  TM Lunch with Josh Powell WLP & Mark Dycio part       TM; Josh Powell; WLP; Mark Dycio                   Meals/Beverages   Group
                                                2/14/2017                                                                                                                                                                of $4,576.99
399   7      2016   140440          EXP-8075    5/2/16 to 7/22/16        Jeff Minson   Financial Analyst   5/16/2016    CXIII/Landini Brothers   $      638.88 Alexandria, VA         TM June Travel                     TM meal with LO JP WLP CN & JC part of                TM; LO; JP; WLP; CN; JC                            Meals/Beverages   Group
                                                                                                                                                                                                                         $11,124.91
400          2017   147112          EXP-10160   1/6/17 - 3/31/17         Jeff Minson   Financial Analyst   2/17/2017    Mistral                  $      633.41 Sherman Oaks, CA       TM FEB Travel                      Lunch with Ken Elliott, Mike Winston, and Greg N.,    Ken Elliott; Mike Winston; Greg N; Tony Makris     Meals/Beverages   Group                Date: 02/17/17
                                                                                                                                                                                                                         Tony Makris                                                                                                                                     Pre-tip amount: $508.41
                                                                                                                                                                                                                                                                                                                                                                         Tip: $125.00
                                                                                                                                                                                                                                                                                                                                                                         Total amount: $633.41
                                                                                                                                                                                                                                                                                                                                                                         Tony Makris signature present at bottom of receipt
                                                                                                                                                                                                                                                                                                                                                                         "Ken E., Mike, Greg N., TM" handwritten
401          2017   149459          EXP-10720   4/4/2017 - 7/11/2017     Jeff Minson   Financial Analyst   5/1/2017     Four Seasons             $   (1,000.00) Atlanta, GA           Unknown                            Unknown                                               Tony Makris                                        Travel            Lodging              Hotel room for Tony Makris @ Four Seasons
                                                                                                                                                                                                                                                                                                                                                                         Arrive: 4/25/17
                                                                                                                                                                                                                                                                                                                                                                         Depart: 5/1/2017
402   7      2016   137631          EXP-7293    2/7/2016 - 4/15/2016     Jeff Minson   Financial Analyst   2/10/2016    CXIII/Landini Brothers   $      629.45 Alexandria, VA         TM March Travel                    Lunch TM with CN ZM KM & MD part of $5853.02          TM; CN; ZM; KM; MD                                 Meals/Beverages   Group


403   9      2016   137631/136135   EXP-6836    12/1/2015 - 3/10/2016    Jeff Minson   Financial Analyst   1/20/2016    Entertainment A/V        $      626.00 Las Vegas, NV          TM TRAVEL January 2016 Florida     Polycom speaker phone plus time                       S West; H Holmes                                   Miscellaneous     Telecommunications   Handwritten note on Tony's CC statement states 'Not Me'
                                                                                                                                                                                      Dallas Vegas (SHOT Show) and Los
                                                                                                                                                                                      Angeles
404          2016   142347          EXP-8604    7/7/2016 - 9/28/2016     Jeff Minson   Financial Analyst   8/25/2016    Magnolia's               $      625.85 Charleston, SC         TM august travel                   TM lunch with David & Rosemary Gardner and WLM TM; David Gardner; Rosemary Gardner; WLM                  Meals/Beverages   Group


405          2018   160161          12119       6/28/2018 - 8/8/2018     Jeff Minson   Financial Analyst   7/31/2018    Jet Limousine            $      624.00 Unknown                TM July Travel                     Unknown                                               Tony                                               Auto              Car Service          Tony got picked up at the Four Seasons with the same drop off. There were
                                                                                                                                                                                                                                                                                                                                                                         two stops, one with a note "requests Wally" and the other "as directed per
                                                                                                                                                                                                                                                                                                                                                                         client." Passenger count was 1 and base charges were 8 @ 65


406   7      2017   148014          EXP-10319   2/11/2017 - 5/10/2017    Jeff Minson   Financial Analyst   2/25/2017    CXIII/Landini Brothers   $      623.70 Alexandria, VA         TM March travel                    Meal Tony Makris with CN JC MD & KM part of           Tony Makris; CN; JC; MD; KM                        Meals/Beverages   Group                Date: 02/25/17
                                                                                                                                                                                                                         $4,325.30                                                                                                                                       CXIII Rex
                                                                                                                                                                                                                                                                                                                                                                         Charge: $471.55
                                                                                                                                                                                                                                                                                                                                                                         Scv: $105.00
                                                                                                                                                                                                                                                                                                                                                                         Tax: $47.15
                                                                                                                                                                                                                                                                                                                                                                         Total: $623.70
407          2016   137631/136135   EXP-6836    12/1/2015 - 3/10/2016    Jeff Minson   Financial Analyst   1/19/2016    Joe's Seafood            $      619.60 Las Vegas, NV          TM TRAVEL January 2016 Florida     TM lunch w Audra Fischer WLP NT TS and SLP            TM; Audra Fischer; WLP; NT; TS; SLP                Meals/Beverages   Group                Receipt states 'cover count' 6
                                                                                                                                                                                      Dallas Vegas (SHOT Show) and Los
                                                                                                                                                                                      Angeles




                                                                                                                                                                                                                                                                                                                                                                                                                       APP. 01959
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408             2017   149459          EXP-10720   4/4/2017 - 7/11/2017     Jeff Minson   Financial Analyst   5/11/2017    Mistral                    $    615.63 Los Angeles, CA        Unknown                           Unknown                                               Tony Makris; Ken Elliott; Mike Braum; Henry Radett Meals/Beverages   Group         Support states NRA HLF


409             2016   143559          EXP-9110    9/1/2016 - 11/16/2016    Jeff Minson   Financial Analyst   9/28/2016    Olio E Limone Restaurant   $    614.86 Westlake Village, CA   TM October Travel Expense         TM dinner with DS KS & WLM                            TM; DS; KS; WLM                                   Meals/Beverages    Group
410             2017   149459          EXP-10720   4/4/2017 - 7/11/2017     Jeff Minson   Financial Analyst   5/11/2017    Hotel Booking Fee          $      12.99 Hyannis, MA           Unknown                           Unknown                                               TM                                                Travel             Lodging       Non-refundable booking fee for 3 night stay at The International Inn - stay
                                                                                                                                                                                                                                                                                                                                                                    scheduled from July 27 - July 30 2017 but canceled
411   7; 1; 9   2017   148014          EXP-10319   2/11/2017 - 5/10/2017    Jeff Minson   Financial Analyst   2/26/2017    CXIII/Landini Brothers     $    608.53 Alexandria, VA         TM March travel                   Meal Josh Powell & guests part of $3,550.03           Josh Powell; Guests                               Meals/Beverages    Group         Date: 02/26/17
                                                                                                                                                                                                                                                                                                                                                                    Landini Brothers
                                                                                                                                                                                                                                                                                                                                                                    Charge: $462.30
                                                                                                                                                                                                                                                                                                                                                                    Scv: $100.00
                                                                                                                                                                                                                                                                                                                                                                    Tax: $46.23
                                                                                                                                                                                                                                                                                                                                                                    Total: $608.53
412             2016   140440          EXP-8075    5/2/16 to 7/22/16        Jeff Minson   Financial Analyst   6/10/2016    Grand Havana               $    605.65 Los Angeles, CA        TM June Travel                    TM dinner with JM GG KH AN & GG                       TM; JM; GG; KH; AN; GG                            Meals/Beverages    Group
413   7         2017   146420/145983   EXP-9902    12/3/2016-               Jeff Minson   Financial Analyst   12/21/2016   CXIII/Landini Brothers     $    604.80 Alexandria, VA         TM January Travel                 TM lunch with Admiral Marc Fitzgerald Sonny Masso     TM; Admiral Marc Fitzgerald; Sony Masso; C Nash   Meals/Beverages    Group
                                                   2/14/2017                                                                                                                                                               & C Nash part of $5,408.13
414             2017   149459          EXP-10720   4/4/2017 - 7/11/2017     Jeff Minson   Financial Analyst   5/13/2017    Priceline Hotel            $    848.97 Hyannis, MA            Unknown                           Unknown                                               TM                                                Travel             Lodging       Notes say " Credit? Your booking"


                                                                                                                                                                                                                                                                                                                                                                    Hotel room cancelation.
415             2016   143559          EXP-9110    9/1/2016 - 11/16/2016    Jeff Minson   Financial Analyst   10/6/2016    Tuscany                    $    603.38 Westlake Village, CA   TM October Travel Expense         TM Dinner with D Selleck T Selleck & WLP              TM; D Selleck; T Selleck; WLP                     Meals/Beverages    Group
416   7         2016   137631          EXP-7293    2/7/2016 - 4/15/2016     Jeff Minson   Financial Analyst   2/19/2016    CXIII/Landini Brothers     $    602.31 Alexandria, VA         TM March Travel                   Lunch TM with RB MW CN & KM part of $7430.39          TM; RB; MW; CN; KM                                Meals/Beverages    Group


417   7         2017   144737          EXP-9318    10/13/2013 - 1/5/2017    Jeff Minson   Financial Analyst   10/25/2016   CXIII/Landini Brothers     $    600.53 Alexandria, VA         TM November Travel                Meal TM with RK CN & JC part of 4465.38               TM; RK; CN; JC                                    Meals/Beverages    Group
418             2018   157570          11839       1/2/2018-                Jeff Minson   Financial Analyst   4/27/2018    Tomahawk Stategy           $    597.00 Unknown                TM April Travel                   Unknown                                               Tony Makris                                       Unknown            Unknown
                                                   5/11/2018
419   1; 9      2017   150457          EXP-10850   6/7/2017-                Jeff Minson   Financial Analyst   6/12/2017    CXIII/Landini Brothers     $    595.72 Alexandria, VA         Unknown                           Unknown                                               Wayne LaPierre; Josh Powell                       Meals/Beverages    Group         Date: 05/18/17
                                                   7/31/2017                                                                                                                                                                                                                                                                                                        Landini Brothers
                                                                                                                                                                                                                                                                                                                                                                    Charge: $342.90
                                                                                                                                                                                                                                                                                                                                                                    Scv: $68.58
                                                                                                                                                                                                                                                                                                                                                                    Tax: $34.29
                                                                                                                                                                                                                                                                                                                                                                    Total: $445.77
                                                                                                                                                                                                                                                                                                                                                                    Date: 05/25/17
                                                                                                                                                                                                                                                                                                                                                                    Landini Brothers
                                                                                                                                                                                                                                                                                                                                                                    Charge: $115.35
                                                                                                                                                                                                                                                                                                                                                                    Scv: $23.07
                                                                                                                                                                                                                                                                                                                                                                    Tax: $11.53
                                                                                                                                                                                                                                                                                                                                                                    Total: $149.95
                                                                                                                                                                                                                                                                                                                                                                    Overall total: $595.72


420             2016   138653          EXP-7581    3/1/2016 - 6/30/2016     Jeff Minson   Financial Analyst   4/8/2016     Lonesome Dove              $    593.08 Fort Worth, TX         TM April Travel                   "Need receipt and info"                               TM                                                Unknown            Unknown
421             2017   149459          EXP-10720   4/4/2017 - 7/11/2017     Jeff Minson   Financial Analyst   5/13/2017    Anchor-In                  $    431.00 Hyannis, MA            Unknown                           Unknown                                               AM                                                Travel             Lodging       Handwritten notes on AMEX: Billy Rirdz Wedding (unclear due to
                                                                                                                                                                                                                                                                                                                                                                    handwriting)
                                                                                                                                                                                                                                                                                                                                                                    Email from Anchor In with reservation details
422             2016   143559          EXP-9110    9/1/2016 - 11/16/2016    Jeff Minson   Financial Analyst   10/6/2016    Madeo Restorante           $    589.41 Los Angeles, CA        TM October Travel Expense         TM lunch with KE TS & DS                              TM; KE; TS; DS                                    Meals/Beverages    Group
423             2017   149459          EXP-10720   4/4/2017 - 7/11/2017     Jeff Minson   Financial Analyst   5/27/2017    Four Seasons               $   8,960.40 Scottsdale, AZ        Unknown                           Lodging for Anthony Makris                            Anthony Makris                                    Travel             Lodging       Spa charges over 600USD and two salon charges totaling 200USD and
                                                                                                                                                                                                                           05/20/17 to 05/27/17                                                                                                                     318USD for Liquor on the same day: 05/26/17
                                                                                                                                                                                                                           Invoice No. 384778
424             2017   149459          EXP-10720   4/4/2017 - 7/11/2017     Jeff Minson   Financial Analyst   5/27/2017    Four Seasons               $    255.00 Scottsdale, AZ         Unknown                           Unknown                                               TM                                                Travel             Lodging       Arrival 5/20
                                                                                                                                                                                                                                                                                                                                                                    Departure 5/27


                                                                                                                                                                                                                                                                                                                                                                    Notes say Personal.
425             2017   150457          EXP-10850   6/7/2017-                Jeff Minson   Financial Analyst   6/28/2017    Hotel Book Online          $    (848.97) Unknown              Unknown                           Unknown                                               TM                                                Travel             Lodging       "Cancelled Hotel for Billy Birdzedls wedding" handwritten; difficult to read.
                                                   7/31/2017                                                                                                                                                                                                                                                                                                        Subtotal: $710.19
                                                                                                                                                                                                                                                                                                                                                                    Taxes & Fees: $138.78
                                                                                                                                                                                                                                                                                                                                                                    Service Fee: $12.99
                                                                                                                                                                                                                                                                                                                                                                    Total Cost: $861.96


                                                                                                                                                                                                                                                                                                                                                                    Subtotal + Taxes/Fees = $848.97
                                                                                                                                                                                                                                                                                                                                                                    Service Fee = non refundable


426             2018   158118          EXP-11895   5/1/2018 - 6/4/2018      Jeff Minson   Financial Analyst   5/11/2018    Ready to Roll              $    585.90 Dallas, TX             TM May Travel Part 1              PU: Hotel ZaZa Dallas, TX (5/6/2018)                  Tony Makris; Mark Dycio                           Auto               Car Service   Invoice: Base charge 3 @ $140 but two passengers are indicated
                                                                                                                                                                                                                           DO: DFW
427             2017   143169          EXP-8888    8/1/2016 - 10/24/2016    Jeff Minson   Financial Analyst   9/25/2016    Beachwood Market           $    580.58 Los Angeles, CA        TM September Travel               Groceries in lieu of meals while in Los Angeles on    TM                                                Meals/Beverages    Individual
                                                                                                                                                                                                                           travel
428             2017   151745          EXP-11019   5/9/2017 - 5/31/2017     Jeff Minson   Financial Analyst   5/31/2017    Tuscany                    $    572.44 Westlake Village, CA   TM Bray's Island & OOP expenses   Unknown                                               TM; TWS                                           Meals/Beverages    Group         Tony Makris signed receipt, handwritten "TM TWS" on receipt
                                                                                                                                                                                         May 14 - May 30
429             2017   147112          EXP-10160   1/6/17 - 3/31/17         Jeff Minson   Financial Analyst   2/16/2017    Madeo Restorante           $    570.89 West Hollywood, CA     TM FEB Travel                     Dinner with Tom Selleck Dan Selleck and Chris         Tom Selleck; Dan Selleck; Chris McKinney; Tony    Meals/Beverages    Group         Date: 02/16/17
                                                                                                                                                                                                                           McKinney, Tony Makris                                 Makris                                                                             Amount: $470.89
                                                                                                                                                                                                                                                                                                                                                                    Tip amount: $100.00
                                                                                                                                                                                                                                                                                                                                                                    Total amount: $570.89
                                                                                                                                                                                                                                                                                                                                                                    Tony Makris signature present at bottom
430             2017   146420/145983   EXP-9902    12/3/2016-               Jeff Minson   Financial Analyst   1/4/2017     Bobs Steak & Chop          $    570.89 Dallas, TX             TM January Travel                 TM dinner with Brad Johnson and Lance Olson           Tony Makris; Brad Johnson; Lance Olson            Meals/Beverages    Group         handwritten on receipt "Tony Makris Brad Johnson Lance Olson"
                                                   2/14/2017
431   9         2018   155996          EXP-11652   1/26/2018 to 3/27/2018   Jeff Minson   Financial Analyst   2/12/2018    Silverleaf Cigar           $    570.35 Fort Worth, TX         TM FEB EXP                        Unknown                                               Mark Dycio; AL Mocallef; Wally; Mike              Miscellaneous      Other         Date: February 10, 2018
                                                                                                                                                                                                                                                                                                                                                                    Time: 10:04pm
                                                                                                                                                                                                                                                                                                                                                                    Total: $570.35
432             2017   149459          EXP-10720   4/4/2017 - 7/11/2017     Jeff Minson   Financial Analyst   5/26/2017    Ready to Roll              $    569.16 Atlanta, GA            Unknown                           Ordered by Gayle Stanford: land transportation from Tony Makris; Burgundy                               Auto               Car Service
                                                                                                                                                                                                                           Four Seasons Hotel in Atlanta GA to Four Seasons in
                                                                                                                                                                                                                           Atlanta GA. Date: 05/02/2017 from 0900 to 1300


433             2017   153476          EXP-11222   9/30/2000 - 11/14/2017   Jeff Minson   Financial Analyst   9/28/2017    Delta Airlines             $    563.20 Unknown                TM OCT Travel                     Passenger: Tony Makris DFW/ATL                        Tony Makris                                       Travel             Airfare
434   1; 9      2017   145564          EXP-9659    12/21/2006 - 1/11/2017   Jeff Minson   Financial Analyst   11/4/2016    CXIII/Landini Brothers     $    561.78 Alexandria, VA         TM December travel expenses       JP and company meal wih out of TM out of town         JP; Company                                       Meals/Beverages    Group
                                                                                                                                                                                                                           during this period
435   4         2017   150823          EXP-10975   7/1/2017 - 8/24/2017     Jeff Minson   Financial Analyst   7/17/2017    Anchor-In                  $    (411.00) Hyannis, MA          Unknown                           Advance Deposit Arrival: 7/26/2017                    Tony Makris                                       Travel             Lodging       Handwritten note on AMEX stmt next to credit says "return of $436- deposit
                                                                                                                                                                                                                                                                                                                                                                    on EXP-10720 May EXP RPT less $20-
436   7         2016   143559          EXP-9110    9/1/2016 - 11/16/2016    Jeff Minson   Financial Analyst   9/17/2016    CXIII/Landini Brothers     $    558.69 Alexandria, VA         TM October Travel Expense         TM lunch with CN MD part of 5279.91                   TM; CN; MD                                        Meals/Beverages    Group




                                                                                                                                                                                                                                                                                                                                                                                                                APP. 01960
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437          2018   155996          EXP-11652   1/26/2018 to 3/27/2018    Jeff Minson   Financial Analyst   1/28/2018    Nearano                          $    557.72 Beverly Hills, CA   TM FEB EXP                         Unknown                                             Tony Makris                                        Meals/Beverages   Individual           Date: January 28, 2018
                                                                                                                                                                                                                                                                                                                                                                           Subtotal: $457.72
                                                                                                                                                                                                                                                                                                                                                                           Tip: $100.00
                                                                                                                                                                                                                                                                                                                                                                           Total: $557.72
                                                                                                                                                                                                                                                                                                                                                                           Tony Makris signature present
438   7      2016   137631/136135   EXP-6836    12/1/2015 - 3/10/2016     Jeff Minson   Financial Analyst   12/11/2015   CXIII/Landini Brothers           $    557.48 Alexandria, VA      TM TRAVEL January 2016 Florida     Lunch TM with LO KM JP & DA part of $13,196.57      T Makris; M Dycio; L Olson; C Nash; J Perrar; K    Meals/Beverages   Group                Note on calendar T. Makris, M. Dycio, L. Olson, C. Nash, J. Perrar, K. Miller.
                                                                                                                                                                                          Dallas Vegas (SHOT Show) and Los                                                       Miller
                                                                                                                                                                                          Angeles
439          2017   151745          EXP-11046   8/1/2017 - 9/29/2017      Jeff Minson   Financial Analyst   8/22/2017    Luxe Summit Hotel                $      40.00 Los Angeles, CA    TM AUG TRAVEL                      Unknown                                             Tony Makris                                        Travel            Lodging              handwritten note "Tony Makris"
440          2018   154261          EXP-11340   11/1/2017 to 12/11/2017   Jeff Minson   Financial Analyst   11/7/2017    Varidesk                         $    555.00 Alexandria, VA      TM November Travel                 Item 49912 - The Mat 36 $60.00                      Tony Makris                                        Unknown           Unknown
                                                                                                                                                                                                                             Item 49921 - Cube Plus $ 495.00
                                                                                                                                                                                                                             Total: $555.00
441   7      2016   137631          EXP-7293    2/7/2016 - 4/15/2016      Jeff Minson   Financial Analyst   2/8/2016     CXIII/Landini Brothers           $    554.64 Alexandria, VA      TM March Travel                    Lunch TM with CN KM DA & MW part of $7430.39        TM; CN; KM; DA; MW                                 Meals/Beverages   Group


442   7      2016   143559          EXP-9110    9/1/2016 - 11/16/2016     Jeff Minson   Financial Analyst   9/28/2016    CXIII/Landini Brothers           $    554.04 Alexandria, VA      TM October Travel Expense          TM lunch with MD DA JP part of 5279.91              TM; MD; DA; JP                                     Meals/Beverages   Group
443   9      2017   151745          EXP-11046   8/1/2017 - 9/29/2017      Jeff Minson   Financial Analyst   8/23/2017    1st National                     $    552.48 Beverly Hills, CA   TM AUG TRAVEL                      Sedan; Passenger: Tom Selleck PU: Beverly Hills     Tom Selleck                                        Auto              Car Service          Bill To: TWS Productions / Pualani McGinness
                                                                                                                                                                                                                             Hotel ST: 11441 Ayrshire Rd Los Angeles, CA DO:
                                                                                                                                                                                                                             Beveryly Hills Hotel
444   2; 9   2018   154707/155520   11516       1/1/2018 to 2/8/2018      Jeff Minson   Financial Analyst   1/11/2018    Ready to Roll                    $    552.42 Telluride, CO       TM Jan Travel                      Unknown                                             Elicia Warner Loughlin; Passenger                  Auto              Car Service          PU: New Sheridan Hotel
                                                                                                                                                                                                                                                                                                                                                                           DO: Montrose Regional Airport
                                                                                                                                                                                                                                                                                                                                                                           Passenger: Elicia Warner Loughlin
                                                                                                                                                                                                                                                                                                                                                                           Passenger count is marked as 2, but the base charges are for 5 @ 72
                                                                                                                                                                                                                                                                                                                                                                           1/03/18
445          2017   146420/145983   EXP-9902    12/3/2016-                Jeff Minson   Financial Analyst   1/4/2017     American Airlines                $    550.00 Unknown             TM January Travel                  TM Ticket                                           Tony Makris                                        Travel            Airfare              Passenger: Tony Makris
                                                2/14/2017
446          2017   153476          EXP-11222   9/30/2000 - 11/14/2017    Jeff Minson   Financial Analyst   9/29/2017    Hotel Zaza                       $   4,773.72 Dallas, TX         TM OCT Travel                      Balance paid towards hotel stay 9/25/2017 -         TM                                                 Travel            Lodging
                                                                                                                                                                                                                             9/28/2017
447   1      2017   153476          EXP-11222   9/30/2000 - 11/14/2017    Jeff Minson   Financial Analyst   10/6/2017    CXIII/Landini Brothers           $    546.73 Alexandria, VA      TM OCT Travel                      9/15 Landini Brothers $58.40 Josh Powell            T Makris; Millie Hallow; Josh Powell; W LaPierre   Meals/Beverages   Group                handwritten note circles 2 transactions and specified "Millie" 9/27 $12.95,
                                                                                                                                                                                                                             9/27 Landini Brothers $12.95 Millie Hallow                                                                                                    9/12 $241.47, labeled "restaurant" on calendar,
                                                                                                                                                                                                                             9/28 Landini Brothers $134.03 Josh Powell
                                                                                                                                                                                                                             9/30 Landini Brothers $99.88 T. Makris W LaPierre
                                                                                                                                                                                                                             9/12 Landini Brothers $ 241.47 Millie Hallow


448          2018   158521          EXP-11944   4/9/2018 - 4/20/2018      Jeff Minson   Financial Analyst   4/20/2018    Bray's Island Plantation         $    545.22   Sheldon, SC       TM Travel MISC                     NRA Advancement - Steve Barnett, Lance Olson, Pat Steve Barnett; Lance Olson; Pat Ryan; Boyd Meyers; Meals/Beverages     Group                Food and Drink Expenses at Brays Island Highlighted on invoice
                                                                                                                                                                                                                             Ryan, Boyd Meyers, Tony Makris                      Tony Makris                                                                               $135.28
                                                                                                                                                                                                                                                                                                                                                                           $79.92
                                                                                                                                                                                                                                                                                                                                                                           $16.39
                                                                                                                                                                                                                                                                                                                                                                           $107.35
                                                                                                                                                                                                                                                                                                                                                                           $138.24
                                                                                                                                                                                                                                                                                                                                                                           $68.04
449   1      2017   152775          EXP-11176   8/30/2017 - 10/20/2017    Jeff Minson   Financial Analyst   9/7/2017     CXIII/Landini Brothers           $    544.21 Alexandria, VA      TM SEPT Travel                     Unknown                                             Tony Makris; Josh Powell; Millie Hallow            Meals/Beverages   Group                handwritten note "All charges are for Josh Powell and Millie Hallow", charged
                                                                                                                                                                                                                                                                                                                                                                           to Tony Makris account
450          2017   146420/145983   EXP-9902    12/3/2016-                Jeff Minson   Financial Analyst   1/13/2017    Brenners at Bayou Hou            $    540.87 Houston, TX         TM January Travel                  TM dinner with Chris McKinney and Warner            Tony Makris; Chris McKinney; Warner Loughlin       Meals/Beverages   Group                handwritten 'T. makris chris mckinney WL"
                                                2/14/2017                                                                                                                                                                    Loughlin
451          2017   146420/145983   EXP-9902    12/3/2016-                Jeff Minson   Financial Analyst   1/18/2017    Joe's Seafood                    $    539.71 Las Vegas, NV       TM January Travel                  TM lunch with Dino Aviles Warner Loughlin Mark      T Makris; Dino Avilez; Warner Loughlin; Mark       Meals/Beverages   Group                Joe's Seafood: Seafood, Steak & Stone Crab, handwritten "Dino Aviles, WL,
                                                2/14/2017                                                                                                                                                                    Dycio and Chris McKinney                            Dycio; Chris McKinney                                                                     Mark Dycio, Chris Mckinney, T Makris"
452   9      2018   160161          12119       6/28/2018 - 8/8/2018      Jeff Minson   Financial Analyst   7/31/2018    CXIII/Landini Brothers           $    538.96 Alexandria, VA      TM July Travel                     Unknown                                             Josh Powell                                        Meals/Beverages   Individual           Statement shows charges for Josh Powell
                                                                                                                                                                                                                                                                                                                                                                           6/4 for 279.63 - Landini Brothers
                                                                                                                                                                                                                                                                                                                                                                           6/11 for 259.33 - CXIII Rex
453   7      2017   143169          EXP-8888    8/1/2016 - 10/24/2016     Jeff Minson   Financial Analyst   8/9/2016     CXIII/Landini Brothers           $    538.48 Alexandria, VA      TM September Travel                Meal TM with CN KM MD & DA part of $715.26          TM; CN; KM; MD; DA                                 Meals/Beverages   Group


454          2017   153476          EXP-11222   9/30/2000 - 11/14/2017    Jeff Minson   Financial Analyst   9/29/2017    Hotel Zaza                       $      38.97 Dallas, TX         TM OCT Travel                      Balance paid towards hotel stay 9/25/2017 -         TM                                                 Travel            Lodging
                                                                                                                                                                                                                             9/28/2017
455   7      2016   136859          EXP-6997    1/7/2016 - 3/22/2016      Jeff Minson   Financial Analyst   1/11/2016    CXIII/Landini Brothers           $    534.54 Alexandria, VA      TM February Travel                 Lunch TM with C Nash J Cotton & Lance Olsen part TM; C Nash; J Cotton; Lance Olson                     Meals/Beverages   Group
                                                                                                                                                                                                                             of 3032.68
456   1; 9   2018   154707/155520   11516       1/1/2018 to 2/8/2018      Jeff Minson   Financial Analyst   1/8/2018     CXIII/Landini Brothers           $    530.31 Alexandria, VA      TM Jan Travel                      Unknown                                             Wayne LaPierre                                     Meals/Beverages   Individual           The charges are for Landini Brothers. The bill is for Wayne LaPierre to the
                                                                                                                                                                                                                                                                                                                                                                           attention of Stephanie West.
457   7      2016   137631/136135   EXP-6836    12/1/2015 - 3/10/2016     Jeff Minson   Financial Analyst   12/1/2015    CXIII/Landini Brothers           $    528.66 Alexandria, VA      TM TRAVEL January 2016 Florida     Lunch TM with CN XM KM & MD part of $13,196.57 T Makris; L Olson; J Perrar; K Miller; D Avilez         Meals/Beverages   Group                Note on calendar T. Makris, L. Olson, J. Perrar, K. Miller, D. Avilez
                                                                                                                                                                                          Dallas Vegas (SHOT Show) and Los
                                                                                                                                                                                          Angeles
458   7      2017   148014          EXP-10319   2/11/2017 - 5/10/2017     Jeff Minson   Financial Analyst   2/24/2017    CXIII/Landini Brothers           $    528.12 Alexandria, VA      TM March travel                    Meal Tony Makris & TH part of $4,325.30             Tony Makris; TH                                    Meals/Beverages   Group                Date: 02/24/17
                                                                                                                                                                                                                                                                                                                                                                           CXIII Rex
                                                                                                                                                                                                                                                                                                                                                                           Charge: $407.00
                                                                                                                                                                                                                                                                                                                                                                           Scv: $88.02
                                                                                                                                                                                                                                                                                                                                                                           Tax: $33.10
                                                                                                                                                                                                                                                                                                                                                                           Total: $528.12
459          2017   146420/145983   EXP-9902    12/3/2016-                Jeff Minson   Financial Analyst   1/16/2017    Joe's Seafood                    $    527.46 Las Vegas, NV       TM January Travel                  TM lunch with WLP                                   TM; Wayne; Mark Dycio; C McKinney                  Meals/Beverages   Group                Joe's Seafood: Seafood, Steak & Stone Crab, handwritten "TM Wayne Mark
                                                2/14/2017                                                                                                                                                                                                                                                                                                                  Dycio C McKinney"
460   7      2016   138653          EXP-7581    3/1/2016 - 6/30/2016      Jeff Minson   Financial Analyst   3/1/2016     CXIII/Landini Brothers           $    527.24 Alexandria, VA      TM April Travel                    TM lunch with JC ZM CN & RK part of $3289.50        TM; JC; ZM; CN; RK                                 Meals/Beverages   Group


461          2018   160161          12123       7/20/2018-8/13/2018       Jeff Minson   Financial Analyst   7/20/2018    Cesaro Mure Italian Restaurant   $    527.05 Venice, CA          TM July Travel                     7/20/18 - T. Makris meal with T. Selleck and D.     T Makris; T Selleck; D Muntz                       Meals/Beverages   Group                Email from Stephanie West to Jeff Minson: Items below were charged on
                                                                                                                                                                                                                             Muntz                                                                                                                                         Tony's (Makris) personal card.
462          2016   137631/136135   EXP-6836    12/1/2015 - 3/10/2016     Jeff Minson   Financial Analyst   1/1/2016     Verizon                          $    526.67 Unknown             TM TRAVEL January 2016 Florida     TM Service 11.8-12.7 2 Tablets and Cell service.    TM                                                 Miscellaneous     Telecommunications
                                                                                                                                                                                          Dallas Vegas (SHOT Show) and Los
                                                                                                                                                                                          Angeles
463          2017   146420          EXP-9922    12/2/2016-                Jeff Minson   Financial Analyst   12/28/2016   Bray's Island Plantation         $    525.85 Sheldon, SC         TM Bray Island expenses December   TM meal with Walt & Sandy Boyer, Pat & Susan Ryan TM; Walt Boyer; Sandy Boyer; Pat Ryan; Susan         Meals/Beverages   Group
                                                12/28/2016                                                                                                                                2016                               and David & Rosemary Gardner                        Ryan; David Gardner; Rosemary Gardner


464   1; 9   2017   153476          EXP-11222   9/30/2000 - 11/14/2017    Jeff Minson   Financial Analyst   10/6/2017    Ritz Carlton                     $   2,771.14 Dallas, TX         TM OCT Travel                      Arrival: 10/3/2017 Departure: 10/6/2017             Wayne Roberts                                      Travel            Lodging              Guest: Mr. Wayne Roberts
465   7      2016   137631/136135   EXP-6836    12/1/2015 - 3/10/2016     Jeff Minson   Financial Analyst   12/7/2015    CXIII/Landini Brothers           $    523.88 Alexandria, VA      TM TRAVEL January 2016 Florida     Lunch TM with WLP TS & CM part of $2,791.96         TM; W Lapierre; Chris McKinney; T Mulin; T         Meals/Beverages   Group                Cost is split into 3 charges per receipt but no detail for the charges.
                                                                                                                                                                                          Dallas Vegas (SHOT Show) and Los                                                       Schropp
                                                                                                                                                                                          Angeles                                                                                                                                                                          Note on calendar states 'W. Lapierre, Chris McKinney, T.Mulin, T. Schropp'




466          2016   140440          EXP-8075    5/2/16 to 7/22/16         Jeff Minson   Financial Analyst   6/10/2016    Mistral                          $    523.47 Sherman Oaks, CA    TM June Travel                     TM meal with KE BJ & HW                             TM; KE; BJ; HW                                     Meals/Beverages   Group
467          2017   153476          EXP-11222   9/30/2000 - 11/14/2017    Jeff Minson   Financial Analyst   10/6/2017    Ritz Carlton                     $   2,668.18 Dallas, TX         TM OCT Travel                      Arrival: 10/3/2017 Departure: 10/6/2017             Tony Makris                                        Travel            Lodging              Guest: Tony Makris




                                                                                                                                                                                                                                                                                                                                                                                                                        APP. 01961
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468             2017   150457          EXP-10850   6/7/2017-                Jeff Minson   Financial Analyst   6/8/2017     Cliffs                   $      522.48 Los Angeles, CA   Unknown                            Unknown                                          Tony Makris                               Meals/Beverages   Individual           Date: 06/08/17
                                                   7/31/2017                                                                                                                                                                                                                                                                                             Amount: $388.50
                                                                                                                                                                                                                                                                                                                                                         Tax: $33.98
                                                                                                                                                                                                                                                                                                                                                         Subtotal: $422.48
                                                                                                                                                                                                                                                                                                                                                         Tip: $100.00
                                                                                                                                                                                                                                                                                                                                                         Total: $522.48
                                                                                                                                                                                                                                                                                                                                                         Tony Makris signature present at bottom of receipt
469             2016   143559          EXP-9110    9/1/2016 - 11/16/2016    Jeff Minson   Financial Analyst   10/12/2016   Rao's                    $      521.83 Los Angeles, CA   TM October Travel Expense          Dinner TM with WLM SB & SJ                       TM; WLM; SB; SJ                           Meals/Beverages   Group
470             2016   137631/136135   EXP-6836    12/1/2015 - 3/10/2016    Jeff Minson   Financial Analyst   1/23/2016    Ready to Roll            $      519.38 Los Angeles, CA   TM TRAVEL January 2016 Florida     Ground trans Burbank airport to Hollwood         Anthony Makris                            Auto              Car Service          PU: 855 Aviation Dr. Camarillo, CA
                                                                                                                                                                                    Dallas Vegas (SHOT Show) and Los                                                                                                                                     DO: 3204 Ledgewood Dr. Hollywood, CA
                                                                                                                                                                                    Angeles
471   7         2016   137631          EXP-7293    2/7/2016 - 4/15/2016     Jeff Minson   Financial Analyst   2/22/2016    CXIII/Landini Brothers   $      517.48 Alexandria, VA    TM March Travel                    Lunch TM with WLP WP MD & DA part of $7430.39 TM; WLP; WP; MD; DA                          Meals/Beverages   Group


472   1; 9      2017   149459          EXP-10720   4/4/2017 - 7/11/2017     Jeff Minson   Financial Analyst   4/19/2017    CXIII/Landini Brothers   $      516.72 Alexandria, VA    Unknown                            4/19/17: $516.72 - WLP                           WLP                                       Meals/Beverages   Individual
473             2018   154707/155520   11516       1/1/2018 to 2/8/2018     Jeff Minson   Financial Analyst   1/1/2018     Verizon                  $      516.29 Alexandria, VA    TM Jan Travel                      Unknown                                          TM                                        Miscellaneous     Telecommunications   Additional $225.17 due to travelpass in Italy and UK, and data limit overage
                                                                                                                                                                                                                                                                                                                                                         charge.
474   1; 9      2017   144737          EXP-9318    10/13/2013 - 1/5/2017    Jeff Minson   Financial Analyst   11/29/2016   CXIII/Landini Brothers   $      512.08 Alexandria, VA    TM November Travel                 WLP Account - WLF meal w guest                   WLP; Guest                                Meals/Beverages   Group
475             2016   139727          EXP-7842    4/1/2016 to 6/30/16      Jeff Minson   Financial Analyst   4/29/2016    CXIII/Landini Brothers   $      508.35 Alexandria, VA    TM May Travel                      TM with WLM CN MD & TS                           TM; WLM; CN; MD; TS                       Meals/Beverages   Group
476             2016   137631/136135   EXP-6836    12/1/2015 - 3/10/2016    Jeff Minson   Financial Analyst   1/27/2016    Pistola LA Ristora       $      502.21 Los Angeles, CA   TM TRAVEL January 2016 Florida     Dinner TM with WLP & Diane Valentine             TM; WLP; Diane Valentine                  Meals/Beverages   Group
                                                                                                                                                                                    Dallas Vegas (SHOT Show) and Los
                                                                                                                                                                                    Angeles
477   7         2017   143169          EXP-8888    8/1/2016 - 10/24/2016    Jeff Minson   Financial Analyst   8/3/2016     CXIII/Landini Brothers   $      501.68 Alexandria, VA    TM September Travel                Meal TM with KM SM JC & CN part of $7463.82      TM; KM; SM; JC; CN                        Meals/Beverages   Group


478             2017   150457          EXP-10850   6/7/2017-                Jeff Minson   Financial Analyst   6/12/2017    Beauty and Essex         $      501.29 Los Angeles, CA   Unknown                            Unknown                                          Tony Makris                               Unknown           Unknown              Date: 06/11/17
                                                   7/31/2017                                                                                                                                                                                                                                                                                             Subtotal: $401.29
                                                                                                                                                                                                                                                                                                                                                         Gratuity: $100.00
                                                                                                                                                                                                                                                                                                                                                         Total: $501.29
479             2016   136859          EXP-6997    1/7/2016 - 3/22/2016     Jeff Minson   Financial Analyst   2/18/2016    Bricks Restaurant        $      498.43 Unknown           TM February Travel                 Dinner TM with WLP Tom Selleck and Dave Muntz    TM; WLP; Tom Selleck; Dave Muntz          Meals/Beverages   Group


480             2016   137631          EXP-7293    2/7/2016 - 4/15/2016     Jeff Minson   Financial Analyst   3/5/2016     Davidoff of Geneva       $      498.43 Las Vegas, NV     TM March Travel                    Dinner TM with MD JG BS & TS                     TM; MD; JG; BS; TS                        Meals/Beverages   Group
481             2016   137631/136135   EXP-6836    12/1/2015 - 3/10/2016    Jeff Minson   Financial Analyst   1/25/2016    Mistral                  $      497.57 Los Angeles, CA   TM TRAVEL January 2016 Florida     Lunch TM with Ken Elliotte, Henry GURR & Pat     TM; Ken Elliott; Henry Gurr; Pat Taylor   Meals/Beverages   Group
                                                                                                                                                                                    Dallas Vegas (SHOT Show) and Los   Taylor
                                                                                                                                                                                    Angeles
482             2017   152775          EXP-11176   8/30/2017 - 10/20/2017   Jeff Minson   Financial Analyst   9/18/2017    United Airlines          $      496.20 Unknown           TM SEPT Travel                     Passenger: Tony Makris Washington                Tony Makris                               Travel            Airfare
                                                                                                                                                                                                                       Natl/Chicago/Ohare Intl Airport
483   2; 9      2017   149459          EXP-10720   4/4/2017 - 7/11/2017     Jeff Minson   Financial Analyst   5/11/2017    Cliffs                   $      495.62 Unknown           Unknown                            Unknown                                          Elicia Loughlin                           Meals/Beverages   Individual           Flight from Burbank CA to Phoenix AZ
484             2017   153476          EXP-11222   9/30/2000 - 11/14/2017   Jeff Minson   Financial Analyst   10/14/2017   TST Alimento             $      488.72 Los Angeles, CA   TM OCT Travel                      Unknown                                          TM                                        Unknown           Unknown
485   7; 1; 9   2017   148014          EXP-10319   2/11/2017 - 5/10/2017    Jeff Minson   Financial Analyst   2/11/2017    CXIII/Landini Brothers   $      486.28 Alexandria, VA    TM March travel                    Meal Josh Powell and Group part of $4,325.30     Josh Powell; Group                        Meals/Beverages   Group                Date: 02/11/17
                                                                                                                                                                                                                                                                                                                                                         Landini Brothers
                                                                                                                                                                                                                                                                                                                                                         Charge: $369.35
                                                                                                                                                                                                                                                                                                                                                         Scv: $80.00
                                                                                                                                                                                                                                                                                                                                                         Tax: $36.93
                                                                                                                                                                                                                                                                                                                                                         Total: $486.28
486             2016   138653          EXP-7581    3/1/2016 - 6/28/2016     Jeff Minson   Financial Analyst   4/9/2016     Trulucks                 $      483.77 Dallas, TX        TM April Travel                    Lunch TM with Lacey Duffy Dr. Drew & Hayley      TM; Lacey Duffy; Dr Drew; Hayley Holmes   Meals/Beverages   Group
                                                                                                                                                                                                                       Holmes
487   7         2016   138653          EXP-7581    3/1/2016 - 6/30/2016     Jeff Minson   Financial Analyst   3/16/2016    CXIII/Landini Brothers   $      482.16 Alexandria, VA    TM April Travel                    TM lunch with CN WLP & Mariah part of $5999.21   TM; CN; WLP; Mariah                       Meals/Beverages   Group


488             2017   153476          EXP-11222   9/30/2000 - 11/14/2017   Jeff Minson   Financial Analyst   10/21/2017   Hotel Zaza               $    1,885.67 Dallas, TX        TM OCT Travel                      Balance Paid towards hotel stay 10/19/2017 -     TM                                        Travel            Lodging
                                                                                                                                                                                                                       10/20/2017
489             2017   148749          EXP-10485   3/9/2017 - 7/11/2017     Jeff Minson   Financial Analyst   3/31/2017    CXIII/Landini Brothers   $      478.25 Alexandria, VA    Unknown                            Unknown                                          Tony Makris; Josh Powell                  Meals/Beverages   Group                Date: 03/31/17
                                                                                                                                                                                                                                                                                                                                                         Landini Brothers
                                                                                                                                                                                                                                                                                                                                                         Charge: $362.05
                                                                                                                                                                                                                                                                                                                                                         Scv: $80.00
                                                                                                                                                                                                                                                                                                                                                         Tax: $36.20
                                                                                                                                                                                                                                                                                                                                                         Total: $478.25
490   2; 9      2018   160161          12119       6/28/2018 - 8/8/2018     Jeff Minson   Financial Analyst   7/31/2018    Ready to Roll            $      477.09 Scottsdale, AZ    TM July Travel                     Unknown                                          Elicia Warner; Passenger                  Auto              Car Service          Trip from Four Seasons in Scottsdale to Four Seasons with a Stop at the Mayo
                                                                                                                                                                                                                                                                                                                                                         Clinic from 645am to 830pm. Passenger was marked as Elicia Warner with a
                                                                                                                                                                                                                                                                                                                                                         total of 2 passengers.
491             2017   153476          EXP-11222   9/30/2000 - 11/14/2017   Jeff Minson   Financial Analyst   10/21/2017   Hotel Zaza               $      146.14 Dallas, TX        TM OCT Travel                      Balance Paid towards hotel stay 10/19/2017 -     TM                                        Travel            Lodging
                                                                                                                                                                                                                       10/20/2017
492             2016   142347          EXP-8604    7/7/2016 - 9/28/2016     Jeff Minson   Financial Analyst   8/24/2016    Ritz Carlton             $      474.64 Dallas, TX        TM august travel                   TM spa/salon charge                              TM                                        Travel            Other
493   4         2018   154706/155170   11424       11/28/2017-              Jeff Minson   Financial Analyst   12/22/2017   Omni Hotel               $   30,000.00   Dallas, TX      TM December                        Unknown                                          TM                                        Travel            Lodging              Advance deposit for room 9108/Conf 1129595 at the Opera Micros Fidelio
                                                   1/5/2018                                                                                                                                                                                                                                                                                              on 12/26/17
494             2016   138653          EXP-7581    3/1/2016 - 6/30/2016     Jeff Minson   Financial Analyst   4/2/2016     Joe's Seafood            $      471.10 Las Vegas, NV     TM April Travel                    TM lunch with SLP WLP Chris Kenney and MD        TM; SLP; WLP; Chris Keeney; MD            Meals/Beverages   Group


495   7         2016   138653          EXP-7581    3/1/2016 - 6/30/2016     Jeff Minson   Financial Analyst   3/16/2016    CXIII/Landini Brothers   $      463.94 Alexandria, VA    TM April Travel                    TM lunch with CN DA LO & MW part of $3289.50     TM; CN; DA; LO; MW                        Meals/Beverages   Group


496             2018   154707/155520   11516       1/1/2018 to 2/8/2018     Jeff Minson   Financial Analyst   1/10/2018    Omni Hotel               $   50,743.37   Dallas, TX      TM Jan Travel                      Unknown                                          TM                                        Travel            Lodging              Invoice indicates room number is 9108, arrival was 12/31/17 and departure
                                                                                                                                                                                                                                                                                                                                                         was 1/10/18 with a conference # of 1129595.
497             2018   155996          EXP-11652   1/26/2018 to 3/27/2018   Jeff Minson   Financial Analyst   1/31/2018    Joe's Seafood            $      460.82 Las Vegas, NV     TM FEB EXP                         Unknown                                          Tony Makris; Wayne LaPierre               Meals/Beverages   Group                Date: January 31, 2018
                                                                                                                                                                                                                                                                                                                                                         Subtotal: $380.82
                                                                                                                                                                                                                                                                                                                                                         Gratuity: $80.00
                                                                                                                                                                                                                                                                                                                                                         Final Total: $460.82
                                                                                                                                                                                                                                                                                                                                                         Tony Makris signature present
498   7         2017   143169          EXP-8888    8/1/2016 - 10/24/2016    Jeff Minson   Financial Analyst   8/4/2016     CXIII/Landini Brothers   $      460.68 Alexandria, VA    TM September Travel                Meal TM with CN RB & DA part of $7463.82         TM; CN; RB; DA                            Meals/Beverages   Group
499             2017   153476          EXP-11222   9/30/2000 - 11/14/2017   Jeff Minson   Financial Analyst   10/1/2017    Trader Joe's             $      459.34 Los Angeles, CA   TM OCT Travel                      Unknown                                          TM                                        Meals/Beverages   Individual
500             2017   150457          EXP-10850   6/7/2017-                Jeff Minson   Financial Analyst   6/9/2017     Rao's                    $      450.84 Los Angeles, CA   Unknown                            Unknown                                          TM                                        Meals/Beverages   Individual           Date: 06/09/17
                                                   7/31/2017                                                                                                                                                                                                                                                                                             Amount: $370.84
                                                                                                                                                                                                                                                                                                                                                         Tip: $80.00
                                                                                                                                                                                                                                                                                                                                                         Total: $450.84
                                                                                                                                                                                                                                                                                                                                                         Tony Makris signature present at bottom of receipt
501             2017   152775          EXP-11176   8/30/2017 - 10/20/2017   Jeff Minson   Financial Analyst   9/22/2017    United Airlines          $      450.00 Unknown           TM SEPT Travel                     3 Excess Baggage Fees (3 x 150)                  TM                                        Travel            Other
502   1; 9      2017   153476          EXP-11222   9/30/2000 - 11/14/2017   Jeff Minson   Financial Analyst   10/6/2017    CXIII/Landini Brothers   $      449.21 Alexandria, VA    TM OCT Travel                      9/12 Landini Brothers $117.28                    Wayne LaPierre                            Meals/Beverages   Individual           Wayne LaPierre LB account, handwritten note says "all Wayne"
                                                                                                                                                                                                                       9/14 Landini Brothers $180.98
                                                                                                                                                                                                                       9/26 Landini Brothers $150.95




                                                                                                                                                                                                                                                                                                                                                                                                    APP. 01962
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503   9         2016   137631/136135   EXP-6836    12/1/2015 - 3/10/2016    Jeff Minson   Financial Analyst   1/21/2016   Entertainment A/V        $    448.00 Las Vegas, NV           TM TRAVEL January 2016 Florida     Polycom speaker phone                                S West; H Holmes                                  Miscellaneous     Telecommunications   Arrival 1/20
                                                                                                                                                                                       Dallas Vegas (SHOT Show) and Los                                                                                                                                                 Departure 1/21
                                                                                                                                                                                       Angeles                                                                                                                                                                          Email From Jeff M. to Stephanie W. and Hayley H. requesting receipts.


504             2017   146420/145983   EXP-9902    12/3/2016-               Jeff Minson   Financial Analyst   1/10/2017   Trulucks                 $    444.55 Dallas, TX              TM January Travel                  TM dinner with Chris McKinney and Warner             T Makris; Chris McKinney; Warner Louglin          Meals/Beverages   Group                handwritten 'T. makris chris mckinney WL"
                                                   2/14/2017                                                                                                                                                              Loughlin
505             2017   151745          EXP-11046   8/1/2017 - 9/29/2017     Jeff Minson   Financial Analyst   8/14/2017   Cliffs                   $    439.96 Unknown                 TM AUG TRAVEL                      Unknown                                              Tony Makris; David Muntz; Tom Selleck; Lance      Meals/Beverages   Group                Dining receipt with handwritten names "Tony Makris David Muntz Tom
                                                                                                                                                                                                                                                                               Olson                                                                                    Selleck Lance Olson"
506   7         2016   137631          EXP-7293    2/7/2016 - 4/15/2016     Jeff Minson   Financial Analyst   2/26/2016   CXIII/Landini Brothers   $    439.57 Alexandria, VA          TM March Travel                    Lunch TM with WLP DR. O WP Dr. D & Navy Seal         TM; WLP; Dr O; WP; Dr D; Navy Seal Group          Meals/Beverages   Group
                                                                                                                                                                                                                          Group part $5853.02
507   7         2016   140440          EXP-8075    5/2/16 to 7/22/16        Jeff Minson   Financial Analyst   5/4/2016    CXIII/Landini Brothers   $    437.03 Alexandria, VA          TM June Travel                     TM meal with DH WLP & MH part of $11,124.91          TM; DH; WLP; MH                                   Meals/Beverages   Group


508   9         2017   143169          EXP-8888    8/1/2016 - 10/24/2016    Jeff Minson   Financial Analyst   9/8/2016    Ready to Roll            $    436.28 Pacific Palisades, CA   TM September Travel                Ground transportation 1369 Aveenida De Cortex        Carol Lanning                                     Auto              Car Service          Passenger: Carol Lanning
                                                                                                                                                                                                                          pacific palisades & return                                                                                                                    Name on Ride Receipt: Stephanie West Tony Makris
509   4         2018   154707/155520   11516       1/1/2018 to 2/8/2018     Jeff Minson   Financial Analyst   1/18/2018   Four Seasons             $    815.20 Las Vegas, NV           TM Jan Travel                      Unknown                                              TM                                                Travel            Lodging              The bill from Four Seasons is an advance deposit for a scheduled stay from
                                                                                                                                                                                                                                                                                                                                                                        1/31/18 to 2/3/18
510             2016   142347          EXP-8604    7/7/2016 - 9/28/2016     Jeff Minson   Financial Analyst   7/25/2016   CXIII/Landini Brothers   $    435.00 Alexandria, VA          TM august travel                   TM meal with JP MD & WLP                             TM; JP; MD; WLP                                   Meals/Beverages   Group
511             2017   150457          EXP-10850   6/7/2017-                Jeff Minson   Financial Analyst   5/31/2017   Ready to Roll            $    434.87 Arizona                 Unknown                            Unknown                                              Anthony Makris                                    Auto              Car Service          Customer: Makris/Anthony
                                                   7/31/2017                                                                                                                                                                                                                                                                                                            Passenger (total): Makris/Anthony
                                                                                                                                                                                                                                                                                                                                                                        Start time: 05/27/2017 10:30
                                                                                                                                                                                                                                                                                                                                                                        Drop-off time: 05/27/2017 13:00
                                                                                                                                                                                                                                                                                                                                                                        Pick-up / Stops: Four Seasons Resort Scottsdale at Troon North, 10600 East
                                                                                                                                                                                                                                                                                                                                                                        Crescent Moon Drive, Scottsdale AZ 85262 United States
                                                                                                                                                                                                                                                                                                                                                                        Drop-off: Departure American Airlines #5976 Phoenix Sky Harbor
                                                                                                                                                                                                                                                                                                                                                                        International Airport
                                                                                                                                                                                                                                                                                                                                                                        Amount: $434.87


512   9         2018   157570          11839       1/2/2018-                Jeff Minson   Financial Analyst   4/11/2018   Ready to Roll            $    433.37 Dallas, TX              TM April Travel                    Unknown                                              Stephanie West                                    Auto              Car Service          PU:1321 Commerce Street Dallas (Passenger - Stephanie West)
                                                   5/11/2018                                                                                                                                                                                                                                                                                                            Stop: Ritz Dallas
                                                                                                                                                                                                                                                                                                                                                                        DO: Dallas Love Field
                                                                                                                                                                                                                                                                                                                                                                        Passenger total: 2
                                                                                                                                                                                                                                                                                                                                                                        Base charges: 3 @ 102
513             2018   154707/155520   11516       1/1/2018 to 2/8/2018     Jeff Minson   Financial Analyst   1/24/2018   Four Seasons             $   2,651.21 Las Vegas, NV          TM Jan Travel                      Unknown                                              TM                                                Travel            Lodging              Arrival 1/19/18 to 1/23/18
514             2018   154707/155520   11516       1/1/2018 to 2/8/2018     Jeff Minson   Financial Analyst   1/27/2018   Four Seasons             $   4,753.28 Scottsdale, AZ         TM Jan Travel                      Unknown                                              Anthony Makris                                    Travel            Lodging              The invoice is to Anthony Makris. Charges for stay during 1/23 to 1/27


515             2017   143169          EXP-8888    8/1/2016 - 10/24/2016    Jeff Minson   Financial Analyst   9/27/2016   Mistral                  $    427.71 Sherman Oaks, CA        TM September Travel                Lunch TM with AA CMcK JG & KE                        TM; Aron Algrin; Chris McKinney; Jon Gutierrez;   Meals/Beverages   Group                handwritten on receipt "T.M., Aron Algrin, Chris McKinney, Jon Gutierrez,
                                                                                                                                                                                                                                                                               Ken Elliott                                                                              Ken Elliott"
516             2018   154707/155520   11516       1/1/2018 to 2/8/2018     Jeff Minson   Financial Analyst   1/10/2018   Ready to Roll            $    426.87 Dallas, TX              TM Jan Travel                      Unknown                                              TM                                                Auto              Car Service          PU: Omni Dallas
                                                                                                                                                                                                                                                                                                                                                                        ST: 1717 McKiney Avenue, Dallas - drop off luggage
                                                                                                                                                                                                                                                                                                                                                                        DO: Dallas Love Field
                                                                                                                                                                                                                                                                                                                                                                        Passenger count is 1, but the base charges are for 3 @ 102
                                                                                                                                                                                                                                                                                                                                                                        1/08/18
517             2018   154707/155520   11516       1/1/2018 to 2/8/2018     Jeff Minson   Financial Analyst   1/24/2018   Ready to Roll            $    426.87 Los Angeles, CA         TM Jan Travel                      Unknown                                              TM                                                Auto              Car Service          PU: 3204 Ledgewood Dr
                                                                                                                                                                                                                                                                                                                                                                        DO: Burbank Airport
                                                                                                                                                                                                                                                                                                                                                                        Passenger count 1, base charge 3@72
                                                                                                                                                                                                                                                                                                                                                                        1/19/18
518             2018   155996          EXP-11652   1/26/2018 to 3/27/2018   Jeff Minson   Financial Analyst   2/1/2018    Ready to Roll            $    426.87 California              TM FEB EXP                         Pick-up / Stops:                                     Tony Makris                                       Auto              Car Service          Customer: Tony Makris
                                                                                                                                                                                                                          3204 Ledgewood Dr., Los Angeles, CA 90068                                                                                                     Passenger: Tony Makris (1)
                                                                                                                                                                                                                          Drop-off:                                                                                                                                     Start time: 01/31/2018 7:45
                                                                                                                                                                                                                          7415 Hayvenhurst Place Castle & Cooke Aviation                                                                                                End time: 01/31/2018 9:45
                                                                                                                                                                                                                          #N399LF, Los Angeles, CA 91406                                                                                                                Ordered by: Stephanie West


519             2018   155996          EXP-11652   1/26/2018 to 3/27/2018   Jeff Minson   Financial Analyst   2/5/2018    Ready to Roll            $    426.87 California              TM FEB EXP                         Pick-up / Stops:                                     Tony Makris                                       Auto              Car Service          Customer: Tony Makris
                                                                                                                                                                                                                          JetSuiteX Hangar 2 Flight XE-558, 4561 West Empire                                                                                            Passenger: Tony Makris (1)
                                                                                                                                                                                                                          Avenue Burbank, CA 91505 United States                                                                                                        Start time: 02/04/2018 11:00
                                                                                                                                                                                                                          Drop-off:                                                                                                                                     End time: 02/04/2018 12:45
                                                                                                                                                                                                                          3204 Ledgewood Dr. Los Angeles, CA 90068                                                                                                      Ordered by: Stephanie West


520             2018   155996          EXP-11652   1/26/2018 to 3/27/2018   Jeff Minson   Financial Analyst   2/22/2018   Ready to Roll            $    426.87 Texas                   TM FEB EXP                         Pick-up / Stops:                                     Tony Makris                                       Auto              Car Service          Customer: Tony Makris
                                                                                                                                                                                                                          Arrival Virgin America #1874 Dallas Love Field                                                                                                Passenger: Tony Makris (1)
                                                                                                                                                                                                                          Airport                                                                                                                                       Start time: 02/07/2018 15:50
                                                                                                                                                                                                                          Drop-off:                                                                                                                                     End time: 02/07/2018 16:22
                                                                                                                                                                                                                          Ritz Carlton (Dallas)- HOTEL - 214-922-0200, 2121                                                                                             Ordered by: Stephanie West
                                                                                                                                                                                                                          McKinney Ave, Dallas, TX 75201
521             2017   147112          EXP-10160   1/6/17 - 3/31/17         Jeff Minson   Financial Analyst   1/31/2017   Ready to Roll            $    426.87 Hollywood, CA           TM FEB Travel                      Ground transportation for Anthony Makris             Anthony Makris                                    Auto              Car Service          PU: 3204 Ledgewood Dr. Hollywood, CA 90068
                                                                                                                                                                                                                                                                                                                                                                        Drop: VNY N35455
                                                                                                                                                                                                                                                                                                                                                                        Pickup: 13:00 Dropoff: 13:45
                                                                                                                                                                                                                                                                                                                                                                        Passenger: Makris, Anthony
                                                                                                                                                                                                                                                                                                                                                                        Total: $426.87
522   9         2017   147112          EXP-10160   1/6/17 - 3/31/17         Jeff Minson   Financial Analyst   2/5/2017    Ready to Roll            $    426.87 Las Vegas, NV           TM FEB Travel                      Ground Transportation 3204 Ledgewood Dr. to          Charles Marx                                      Auto              Car Service          PU: Four Seasons Hotel (Las Vegas) Las Vegas, NV 89119
                                                                                                                                                                                                                          airport                                                                                                                                       Drop: LAS
                                                                                                                                                                                                                                                                                                                                                                        Pickup: 11:00 Dropoff: 13:00
                                                                                                                                                                                                                                                                                                                                                                        Passenger: Marx, Charles
                                                                                                                                                                                                                                                                                                                                                                        Requested by: Stephanie West
                                                                                                                                                                                                                                                                                                                                                                        Total: $426.87


523   1; 4; 9   2018   154707/155520   11516       1/1/2018 to 2/8/2018     Jeff Minson   Financial Analyst   1/27/2018   Four Seasons             $    463.72 Las Vegas, NV           TM Jan Travel                      Unknown                                              Wayne Roberts                                     Travel            Lodging              Invoice is to Wayne Roberts. Advance deposit for stay during 1/31 to 2/4


524             2016   140440          EXP-8075    5/2/16 to 7/22/16        Jeff Minson   Financial Analyst   6/10/2016   Ready to Roll            $    425.50 Los Angeles, CA         TM June Travel                     TM ground transportation LAX pickup to 3204          TM                                                Auto              Car Service
                                                                                                                                                                                                                          Ledgewood 3 hours
525             2017   150457          EXP-10850   6/7/2017-                Jeff Minson   Financial Analyst   6/1/2017    Verizon                  $    424.50 Alexandria, VA          Unknown                            Unknown                                              Anthony Makris                                    Miscellaneous     Telecommunications   Billing period: 04/08/17 - 05/07/17
                                                   7/31/2017                                                                                                                                                                                                                                                                                                            Three numbers associated with account (571.414.1189 - iPad mini)
                                                                                                                                                                                                                                                                                                                                                                        (703.201.2938 - iPad 4g) (703.622.3636 - iPhone 6)




                                                                                                                                                                                                                                                                                                                                                                                                                  APP. 01963
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526          2018   155996          EXP-11652   1/26/2018 to 3/27/2018    Jeff Minson   Financial Analyst   1/28/2018    Four Seasons               $   277.76 Beverly Hills, CA      TM FEB EXP                         Unknown                                             Tony; Wayne                                          Travel            Lodging       Receipt provided but difficult to read.
                                                                                                                                                                                                                                                                                                                                                                  Date: 1/26/2018
                                                                                                                                                                                                                                                                                                                                                                  Amount : $207.99
                                                                                                                                                                                                                                                                                                                                                                  Tax: $19.77
                                                                                                                                                                                                                                                                                                                                                                  Tip: $50.00
                                                                                                                                                                                                                                                                                                                                                                  Total: $277.76
                                                                                                                                                                                                                                                                                                                                                                  Tony Makris signed receipt and paid with American Express
                                                                                                                                                                                                                                                                                                                                                                  Tony and Wayne's names handwritten on top
527          2017   145564          EXP-9659    12/21/2006 - 1/11/2017    Jeff Minson   Financial Analyst   12/21/2016   American Airlines          $   422.60 Savannah, GA           TM December travel expenses        TM airfare savannah to dallas                       Tony Makris                                          Travel            Airfare       Passenger: Tony Makris
528   7      2016   143559          EXP-9110    9/1/2016 - 11/16/2016     Jeff Minson   Financial Analyst   9/26/2016    CXIII/Landini Brothers     $   420.86 Alexandria, VA         TM October Travel Expense          TM lunch with JP & guest part of 5279.91            TM; JP; Guest                                        Meals/Beverages   Group
529   7      2016   140440          EXP-8075    5/2/16 to 7/22/16         Jeff Minson   Financial Analyst   5/10/2016    CXIII/Landini Brothers     $   419.96 Alexandria, VA         TM June Travel                     TM meal with LO & JP part of $11,124.91             TM; LO; JP                                           Meals/Beverages   Group
530   7      2016   136859          EXP-6997    1/7/2016 - 3/22/2016      Jeff Minson   Financial Analyst   1/10/2016    CXIII/Landini Brothers     $   417.24 Alexandria, VA         TM February Travel                 Lunch TM with Mark Dycio WLP & Lance Olsen part TM; Mark Dycio; WLP; Lance Olson                         Meals/Beverages   Group
                                                                                                                                                                                                                         of 3032.68
531   7      2017   146420/145983   EXP-9902    12/3/2016-                Jeff Minson   Financial Analyst   12/15/2016   CXIII/Landini Brothers     $   415.71 Alexandria, VA         TM January Travel                  TM lunch with Lance Olson Josh Powell & Dino        TM; Lance Olson; Josh Powell; Dino Avilez            Meals/Beverages   Group
                                                2/14/2017                                                                                                                                                                Avilez part of $5,408.13
532          2017   151745          EXP-11019   5/9/2017 - 5/31/2017      Jeff Minson   Financial Analyst   5/9/2017     Bray's Island Plantation   $   415.68 Sheldon, SC            TM Bray's Island & OOP expenses    5/7/2017 Food/Drink @ Plantation Grille $35.64      Tony Makris                                          Meals/Beverages   Individual    Total statement amount is $2,774.14 but 4 charges from the statement are
                                                                                                                                                                                      May 14 - May 30                    5/9/2017 Food/Drink @ Plantation Grille $249.15                                                                                          circled and total the $415.68, I included those in the business purpose; there
                                                                                                                                                                                                                         5/9/2017 Food/Drink @ Plantation Grille $115.23                                                                                          is a handwritten note that says "EXP to NRA $415.68
                                                                                                                                                                                                                         5/9/2017 Food/Drink @ The Inn $15.66




533          2016   136859          EXP-6997    1/7/2016 - 3/22/2016      Jeff Minson   Financial Analyst   2/9/2016     Ready to Roll              $   415.50 Las Vegas, NV          TM February Travel                 Feb 7 Pickup drop off 4 seasons vegas 15 as directed Tony Makris                                         Auto              Car Service   PU: Four Seasons Hotel
                                                                                                                                                                                                                                                                                                                                                                  DO: LAS N
                                                                                                                                                                                                                                                                                                                                                                  Passenger - Tony Makris
534          2017   145564          EXP-9659    12/21/2006 - 1/11/2017    Jeff Minson   Financial Analyst   12/1/2016    Ready to Roll              $   415.50 Nashville, TN          TM December travel expenses        TM ground transportation Hermitage from airport     TM; Hayley Holmes                                    Auto              Car Service   Passenger: Hayley Holmes


535          2016   137631          EXP-7293    2/7/2016 - 4/15/2016      Jeff Minson   Financial Analyst   3/8/2016     Ready to Roll              $   415.50 Las Vegas, NV          TM March Travel                    Mar 4Ground trans 3 hrs to four seasons             Anthony Makris                                       Auto              Car Service   PU: 6005 Las Vegas Blvd S. Las Vegas, NV
                                                                                                                                                                                                                                                                                                                                                                  DO: Four Seasons Hotel
                                                                                                                                                                                                                                                                                                                                                                  For Wayne Roberts Event
536          2016   137631          EXP-7293    2/7/2016 - 4/15/2016      Jeff Minson   Financial Analyst   3/8/2016     Ready to Roll              $   415.50 Las Vegas, NV          TM March Travel                    March 4 ground trans TM WLP 3 hours as directed     TM; WLP                                              Auto              Car Service   PU: 6005 Las Vegas Blvd S. Las Vegas, NV
                                                                                                                                                                                                                         to Four Seasons - Vegas                                                                                                                  DO: Four Seasons Hotel
537          2017   143169          EXP-8888    8/1/2016 - 10/24/2016     Jeff Minson   Financial Analyst   9/23/2016    Ready to Roll              $   415.50 Scottsdale, AZ         TM September Travel                Ground transportation Scottsdale (10600 E Crescent TM                                                    Auto              Car Service
                                                                                                                                                                                                                         Moon Dr to 15290 N 78th Way)
538          2017   143169          EXP-8888    8/1/2016 - 10/24/2016     Jeff Minson   Financial Analyst   9/26/2016    Ready to Roll              $   415.50 Los Angeles, CA        TM September Travel                Ground transportation Van Nuys airport to           TM                                                   Auto              Car Service
                                                                                                                                                                                                                         Ledgewood Drive
539   7      2017   146420/145983   EXP-9902    12/3/2016-                Jeff Minson   Financial Analyst   12/4/2016    CXIII/Landini Brothers     $   415.34 Alexandria, VA         TM January Travel                  TM lunch with Josh Powell Andrew Arulankim &        TM; Josh Powell; Andrew Arulankim; WLP               Meals/Beverages   Group
                                                2/14/2017                                                                                                                                                                WLP Part of $5,408.13
540   1; 9   2017   149459          EXP-10720   4/4/2017 - 7/11/2017      Jeff Minson   Financial Analyst   4/18/2017    CXIII/Landini Brothers     $   413.62 Alexandria, VA         Unknown                            4/18/2017: $413.62                                  JP                                                   Meals/Beverages   Individual
541          2017   148749          EXP-10485   3/9/2017 - 7/11/2017      Jeff Minson   Financial Analyst   4/18/2017    AC Limousine               $   410.00 South Carolina         Unknown                            Unknown                                             Team Makris (2 passengers)                           Auto              Car Service   Customer: Makris/Tony
                                                                                                                                                                                                                                                                                                                                                                  Passenger (total): Team Makris/2 passengers
                                                                                                                                                                                                                                                                                                                                                                  Start time: 04/16/2017 8:17pm
                                                                                                                                                                                                                                                                                                                                                                  Drop-off time: 04/26/2017 9:17pm
                                                                                                                                                                                                                                                                                                                                                                  Pick-up / Stops: Arrival Delta Air Lines #730 Savannah / Hilton Head
                                                                                                                                                                                                                                                                                                                                                                  International
                                                                                                                                                                                                                                                                                                                                                                  Drop-off: 9 Frederick Place, Brays Island, SC 29941
                                                                                                                                                                                                                                                                                                                                                                  Total: $263.00


                                                                                                                                                                                                                                                                                                                                                                  Missing page 1, only have page 2. Page 2 includes the ride notated above.
                                                                                                                                                                                                                                                                                                                                                                  Total cost of tips: $410.00
542          2018   156967          EXP-11729   3/1/2018 - 4/30/2018      Jeff Minson   Financial Analyst   3/12/2018    Tuscany                    $   409.99 Westlake Village, CA   TM March Travel                    Unknown                                             Tom Selleck; Dan Selleck; Tony Makris                Meals/Beverages   Group         Date: 03/12/18
                                                                                                                                                                                                                                                                                                                                                                  Amount: $339.99
                                                                                                                                                                                                                                                                                                                                                                  Tip: $70.00
                                                                                                                                                                                                                                                                                                                                                                  Total: $409.99
                                                                                                                                                                                                                                                                                                                                                                  Tony Makris signature present at bottom of receipt
543   1; 9   2018   155996          EXP-11652   1/26/2018 to 3/27/2018    Jeff Minson   Financial Analyst   2/1/2018     Four Seasons               $   (304.99) Las Vegas, NV        TM FEB EXP                         Unknown                                             Lance Olson                                          Travel            Lodging       Arrival date: 01/31/18
                                                                                                                                                                                                                                                                                                                                                                  Departure: 02/04/18
                                                                                                                                                                                                                                                                                                                                                                  Amount: ($304.99)
544          2018   156967          EXP-11729   3/1/2018 - 4/30/2018      Jeff Minson   Financial Analyst   3/6/2018     CXIII/Landini Brothers     $   405.23 Alexandria, VA         TM March Travel                    Unknown                                             Tony Makris; Josh Powell                             Meals/Beverages   Group         Date: 02/05/18
                                                                                                                                                                                                                                                                                                                                                                  CXIII Rex
                                                                                                                                                                                                                                                                                                                                                                  Charge: $310.50
                                                                                                                                                                                                                                                                                                                                                                  Scv: $60.00
                                                                                                                                                                                                                                                                                                                                                                  Tax: $28.73
                                                                                                                                                                                                                                                                                                                                                                  Total: $405.23
545   7      2017   148014          EXP-10319   2/11/2017 - 5/10/2017     Jeff Minson   Financial Analyst   2/22/2017    CXIII/Landini Brothers     $   405.15 Alexandria, VA         TM March travel                    Meal Tony Makris with WLP Mark Dycio & Joe          Tony Makris; WLP; Mark Dycio; Joe McQuire            Meals/Beverages   Group         Date: 02/22/17
                                                                                                                                                                                                                         McQuire part of $3,550.03                                                                                                                Landini Brothers
                                                                                                                                                                                                                                                                                                                                                                  Charge: $311.65
                                                                                                                                                                                                                                                                                                                                                                  Scv: $62.33
                                                                                                                                                                                                                                                                                                                                                                  Tax: $31.17
                                                                                                                                                                                                                                                                                                                                                                  Total: $405.15
546   7      2017   146420/145983   EXP-9902    12/3/2016-                Jeff Minson   Financial Analyst   12/5/2016    CXIII/Landini Brothers     $   402.77 Alexandria, VA         TM January Travel                  TM lunch with S Hart, M Dycio & WLP Part of         TM; S Hart; M Dycio; WLP                             Meals/Beverages   Group
                                                2/14/2017                                                                                                                                                                $5,408.13
547   7      2016   137631/136135   EXP-6836    12/1/2015 - 3/10/2016     Jeff Minson   Financial Analyst   12/26/2015   CXIII/Landini Brothers     $   402.60 Alexandria, VA         TM TRAVEL January 2016 Florida     LUNCH TM with RH CM KE & Tom S part of              TM; R Holden; Charlie Marx; Ken Elliott; T Selleck   Meals/Beverages   Group         Note on calendar states 'R. Holden, Charlie Marx, Ken Elliott, T. Sellack'
                                                                                                                                                                                      Dallas Vegas (SHOT Show) and Los   $2,791.96.
                                                                                                                                                                                      Angeles
548          2017   146420/145983   EXP-9902    12/3/2016-                Jeff Minson   Financial Analyst   1/20/2017    Spago                      $   402.43 Beverly Hills, CA      TM January Travel                  TM Dinner with Chris McKinney Dino Aviles and       TM; Chris McKinney; Dino Avilez; Warner Loughlin Meals/Beverages       Group         handwritten: TM C McKinney WL Dino Avilez"
                                                2/14/2017                                                                                                                                                                Warner Loughlin
549          2017   146420/145983   EXP-9902    12/3/2016-                Jeff Minson   Financial Analyst   1/23/2017    Ready to Roll              $   401.76 Hollywood, CA          TM January Travel                  TM Gorund transportation Camarillo CA to 3204       Tony Makris                                          Auto              Car Service   Passenger: Tony Makris Requested by: Stephanie West
                                                2/14/2017                                                                                                                                                                Ledgewood
550          2016   137631          EXP-7293    2/7/2016 - 4/15/2016      Jeff Minson   Financial Analyst   3/8/2016     Yamashiro                  $   399.18 Los Angeles, CA        TM March Travel                    Dinner TM with Tom Selleck and David Muntz & Ted TM; Tom Selleck; David Muntz; Ted Calleton              Meals/Beverages   Group
                                                                                                                                                                                                                         Calleton
551   7      2017   143169          EXP-8888    8/1/2016 - 10/24/2016     Jeff Minson   Financial Analyst   8/1/2016     CXIII/Landini Brothers     $   397.27 Alexandria, VA         TM September Travel                Meal TM with RK & DA part of $7,463.82              TM; RK; DA                                           Meals/Beverages   Group
552   7      2016   138653          EXP-7581    3/1/2016 - 6/30/2016      Jeff Minson   Financial Analyst   3/15/2016    CXIII/Landini Brothers     $   396.66 Alexandria, VA         TM April Travel                    TM lunch with WLP MD & SH part of $3289.50          TM; WLP; MD; SH                                      Meals/Beverages   Group


553          2018   154261          EXP-11340   11/1/2017 to 12/11/2017   Jeff Minson   Financial Analyst   11/21/2017   Wall Street Journal        $   395.88 Unknown                TM November Travel                 Annual WSJ renewal - Stmt only/no receipt           Makris                                               Miscellaneous     Other
554          2017   148014          EXP-10319   2/11/2017 - 5/10/2017     Jeff Minson   Financial Analyst   2/28/2017    AMEX                       $   395.00 Unknown                TM March travel                    Amex annual renewal fee statement is receipt        Anthony Makris                                       Miscellaneous     Other         Annual membership renewal fee
                                                                                                                                                                                                                                                                                                                                                                  Period 04/17 thru 03/18
555          2016   137631          EXP-7293    2/7/2016 - 4/15/2016      Jeff Minson   Financial Analyst   2/28/2016    AMEX                       $   395.00 Unknown                TM March Travel                    Amex annual card fee TM                             TM                                                   Miscellaneous     Other




                                                                                                                                                                                                                                                                                                                                                                                                              APP. 01964
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556             2018   156967          EXP-11729   3/1/2018 - 4/30/2018     Jeff Minson   Financial Analyst   2/28/2018    AMEX                       $    395.00 Unknown           TM March Travel                   Annual membership renewal fee for period 4/18 thru TM                                                  Miscellaneous     Other                Date: 02/28/18
                                                                                                                                                                                                                      3/19                                                                                                                                          Annual membership renewal fee
                                                                                                                                                                                                                                                                                                                                                                    Amount: $395.00
557             2018   155996          EXP-11652   1/26/2018 to 3/27/2018   Jeff Minson   Financial Analyst   2/3/2018     Four Seasons               $   9,809.33 Las Vegas, NV    TM FEB EXP                        Unknown                                                 Mr and Mrs Tony Makris                         Travel            Lodging              Arrival date: 01/31/18
                                                                                                                                                                                                                                                                                                                                                                    Departure: 02/04/18
                                                                                                                                                                                                                                                                                                                                                                    Amount: $9809.33
                                                                                                                                                                                                                                                                                                                                                                    Charges include Charlie Palmer Steak House during stay, daily resort fee +
                                                                                                                                                                                                                                                                                                                                                                    tax, room charges, laundry
558             2016   142347          EXP-8604    7/7/2016 - 9/28/2016     Jeff Minson   Financial Analyst   7/26/2017    CXIII/Landini Brothers     $    390.36 Alexandria, VA    TM august travel                  TM meal with MD CN & JP                                 TM; MD; CN; JP                                 Meals/Beverages   Group
559             2016   143559          EXP-9110    9/1/2016 - 11/16/2016    Jeff Minson   Financial Analyst   10/14/2016   La Quinta                  $    389.68 La Quinta, CA     TM October Travel Expense         Dessert/Drinks TM with GC SB & WLP                      TM; GC; SB; WLP                                Meals/Beverages   Group
560   7         2016   137631          EXP-7293    2/7/2016 - 4/15/2016     Jeff Minson   Financial Analyst   2/24/2016    CXIII/Landini Brothers     $    389.40 Alexandria, VA    TM March Travel                   Lunch TM with CN JC & JP part of $7430.39               TM; CN; JC; JP                                 Meals/Beverages   Group
561             2016   136859          EXP-6997    1/7/2016 - 3/22/2016     Jeff Minson   Financial Analyst   1/29/2016    Ready to Roll              $    387.80 Los Angeles, CA   TM February Travel                Jan 27 4 as directed PU dropoff 3204 ledgewood          Tony Makris                                    Auto              Car Service          PU: 3204 Ledgewood Dr. Hollywood, CA
                                                                                                                                                                                                                                                                                                                                                                    DO: 3204 Ledgewood Dr. Hollywood, CA
                                                                                                                                                                                                                                                                                                                                                                    Passenger - Tony Makris
562             2016   143559          EXP-9110    9/1/2016 - 11/16/2016    Jeff Minson   Financial Analyst   10/14/2016   La Quinta                  $    385.36 La Quinta, CA     TM October Travel Expense         Dinner TM with GC SB & WLP                              TM; GC; SB; WLP                                Meals/Beverages   Group
563   7         2017   144737          EXP-9318    10/13/2013 - 1/5/2017    Jeff Minson   Financial Analyst   10/3/2016    CXIII/Landini Brothers     $    384.97 Alexandria, VA    TM November Travel                Meal TM with JP WLP and AA part of 4465.38              TM; JP; WLP; AA                                Meals/Beverages   Group
564             2016   136859          EXP-6997    1/7/2016 - 3/22/2016     Jeff Minson   Financial Analyst   2/17/2016    Pistola LA Ristora         $    384.56 Los Angeles, CA   TM February Travel                Dinner TM with T Selleck D Selleck and WLP              TM; T Selleck; D Selleck; WLP                  Meals/Beverages   Group
565             2017   152775          EXP-11176   8/30/2017 - 10/20/2017   Jeff Minson   Financial Analyst   9/1/2017     Verizon                    $    382.60 Unknown           TM SEPT Travel                    Unknown                                                 Tony Makris                                    Miscellaneous     Telecommunications   bill to: tony makris
566   2; 9      2017   149459          EXP-10720   4/4/2017 - 7/11/2017     Jeff Minson   Financial Analyst   5/20/2017    American Airlines          $    382.40 Unknown           Unknown                           Unknown                                                 Elicia Loughlin                                Travel            Airfare              Flight from Burbank CA to Phoenix AZ
567   7         2016   136859          EXP-6997    1/7/2016 - 3/22/2016     Jeff Minson   Financial Analyst   1/28/2016    CXIII/Landini Brothers     $    382.30 Alexandria, VA    TM February Travel                Lunch TM with C Nash M Dycio & WLP part of              TM; C Nash; M Dycio; WLP                       Meals/Beverages   Group
                                                                                                                                                                                                                      2217.87
568             2016   140440          EXP-8075    5/2/16 to 7/22/16        Jeff Minson   Financial Analyst   6/11/2016    Sushi of ari               $    382.28 Los Angeles, CA   TM June Travel                    TM meal with DV & GM                                    TM; DV; GM                                     Meals/Beverages   Group
569             2018   155996          EXP-11652   1/26/2018 to 3/27/2018   Jeff Minson   Financial Analyst   2/10/2018    Silverleaf Cigar           $    374.46 Fort Worth, TX    TM FEB EXP                        Unknown                                                 Tony Makris; Mark Dycio; Al McCalhot; Wallet   Miscellaneous     Other                Date: February 10, 2018
                                                                                                                                                                                                                                                                              Wagner; Nike Billeau                                                                  Subtotal: $304.46
                                                                                                                                                                                                                                                                                                                                                                    Tip: $70.00
                                                                                                                                                                                                                                                                                                                                                                    Total: $374.46
                                                                                                                                                                                                                                                                                                                                                                    Tony Makris signature present
570             2018   157570          11839       1/2/2018-                Jeff Minson   Financial Analyst   4/18/2018    North Kierland             $    373.53 Scottsdale, AZ    TM April Travel                   Unknown                                                 Tony Makris; Elicia Warner Loughlin; Wayne     Meals/Beverages   Group
                                                   5/11/2018                                                                                                                                                                                                                  LaPierre; Susan LaPierre
571             2018   155996          EXP-11652   1/26/2018 to 3/27/2018   Jeff Minson   Financial Analyst   2/4/2018     Four Seasons               $   2,322.55 Las Vegas, NV    TM FEB EXP                        Unknown                                                 Mr and Mrs Tony Makris                         Travel            Lodging              Arrival date: 01/31/18
                                                                                                                                                                                                                                                                                                                                                                    Departure: 02/04/18
                                                                                                                                                                                                                                                                                                                                                                    Amount: $2322.55
                                                                                                                                                                                                                                                                                                                                                                    Charges include Charlie Palmer Steak House during stay, daily resort fee +
                                                                                                                                                                                                                                                                                                                                                                    tax, room charges, laundry
572             2018   156967          EXP-11653   12/29/2017 - 3/27/2018   Jeff Minson   Financial Analyst   2/9/2018     Ritz Carlton               $   2,838.29 Dallas, TX       TM FEB Supplemental               Lodging T Makris Dallas for meetings with NR * AM       T Makris                                       Travel            Lodging              Date: 02/06/18
                                                                                                                                                                                                                      staff with James Rosen                                                                                                                        Amount: $2838.29
573             2018   160161          12119       6/28/2016                Jeff Minson   Financial Analyst   7/31/2018    Verizon                    $    367.01 Unknown           TM July Travel                    Unknown                                                 TM                                             Miscellaneous     Telecommunications   Bill includes South Africa for May 30 to Jun 7 and additional international
                                                                                                                                                                                                                                                                                                                                                                    travel charges
574             2018   156967          EXP-11653   12/29/2017 - 3/27/2018   Jeff Minson   Financial Analyst   12/29/2017   Bray's Island Plantation   $    367.00 Sheldon, SC       TM FEB Supplemental               TM dinner Mr. Horseman NRA Advancement - Bray's TM; Mr Horseman                                        Meals/Beverages   Group                Date: 12/29/17
                                                                                                                                                                                                                      Island                                                                                                                                        Brays Island Grill - Tony - Dinner with Mr. Horseman - NRA Advancement
                                                                                                                                                                                                                                                                                                                                                                    Amount: $367.00


575             2017   146420/145983   EXP-9902    12/3/2016-               Jeff Minson   Financial Analyst   1/15/2017    Joe Stone Crab             $    366.88 Las Vegas, NV     TM January Travel                 TM lunch with Chris McKinney and WLP                    TM; Chris McKinney; WLaP                       Meals/Beverages   Group                Joe's Seafood: Seafood, Steak & Stone Crab, handwritten "TM Chris McKinney
                                                   2/14/2017                                                                                                                                                                                                                                                                                                        WLaP
576   9         2018   155996          EXP-11652   1/26/2018 to 3/27/2018   Jeff Minson   Financial Analyst   2/10/2018    Silverleaf Cigar           $    366.11 Fort Worth, TX    TM FEB EXP                        Unknown                                                 Mark Dycio; AL Mocallef; Wally; Mike           Miscellaneous     Other                Date: February 9, 2018
                                                                                                                                                                                                                                                                                                                                                                    Time: 11:35pm
                                                                                                                                                                                                                                                                                                                                                                    Total: $366.11
577             2017   151745          EXP-11019   5/9/2017 - 5/31/2017     Jeff Minson   Financial Analyst   5/15/2017    The Ivy                    $    364.71 Los Angeles, CA   TM Bray's Island & OOP expenses   Unknown                                                 Tony Makris                                    Meals/Beverages   Individual           Tony Makris signed receipt.
                                                                                                                                                                                    May 14 - May 30
578   7         2017   146420/145983   EXP-9902    12/3/2016-               Jeff Minson   Financial Analyst   12/19/2016   CXIII/Landini Brothers     $    363.79 Alexandria, VA    TM January Travel                 TM lunch with J Cotton C Nash & Roger Bair part of TM; J Cotton; C Nash; Roger Bair                    Meals/Beverages   Group
                                                   2/14/2017                                                                                                                                                          $4,576.13
579             2017   149459          EXP-10720   4/4/2017 - 7/11/2017     Jeff Minson   Financial Analyst   5/27/2017    Cliffs                     $    363.50 Los Angeles, CA   Unknown                           The scan image of the receipt has a name hand           Anthony Makris; Diane Valentine                Meals/Beverages   Group
                                                                                                                                                                                                                      written: Diane Valentine
580   7; 1; 9   2017   148014          EXP-10319   2/11/2017 - 5/10/2017    Jeff Minson   Financial Analyst   2/23/2017    CXIII/Landini Brothers     $    363.22 Alexandria, VA    TM March travel                   Meal Josh Powell and group part of $4,325.30            Josh Powell; Group; Tom Held                   Meals/Beverages   Group                Date: 02/23/17
                                                                                                                                                                                                                                                                                                                                                                    CXIII Rex
                                                                                                                                                                                                                                                                                                                                                                    Charge: $281.25
                                                                                                                                                                                                                                                                                                                                                                    Scv: $60.00
                                                                                                                                                                                                                                                                                                                                                                    Tax: $21.97
                                                                                                                                                                                                                                                                                                                                                                    Total: $363.22
581             2017   149459          EXP-10720   4/4/2017 - 7/11/2017     Jeff Minson   Financial Analyst   5/13/2017    Kettle Black               $    362.33 Los Angeles, CA   Unknown                           Unknown                                                 Diane Valentine; Tony Makris; Wayne LaPierre   Meals/Beverages   Group


582   1; 9      2017   146420/145983   EXP-9902    12/3/2016-               Jeff Minson   Financial Analyst   12/11/2016   CXIII/Landini Brothers     $    358.67 Alexandria, VA    TM January Travel                 Lunch with WP and guests                                WP; Guests                                     Meals/Beverages   Group
                                                   2/14/2017
583             2018   154707/155520   11516       1/1/2018 to 2/8/2018     Jeff Minson   Financial Analyst   1/7/2018     Trulucks                   $    355.53 Dallas, TX        TM Jan Travel                     Unknown                                                 Tony Makris; Josh Powell; Lance Olson; Wayne   Meals/Beverages   Group                Receipt was not itemized - no additional detail provided. The amex statement
                                                                                                                                                                                                                                                                              LaPierre                                                                              had a hand written note indicating attendance of Josh Powell, Lance Olson,
                                                                                                                                                                                                                                                                                                                                                                    and Wayne LaPierre
584   5         2016   139727          EXP-7842    4/1/2016 to 6/30/16      Jeff Minson   Financial Analyst   5/17/2016    Brite Strike               $    355.00 Plymouth, MA      TM May Travel                     6 pen lights for distribution at knar meetings louisville TM                                           Miscellaneous     Gift                 FEDEX overnight to 21c Museum Hotel, Louisville, KY @55.00
                                                                                                                                                                                                                      KY
585             2017   144737          EXP-9318    10/13/2013 - 1/5/2017    Jeff Minson   Financial Analyst   11/21/2016   Wall Street Journal        $    347.88 Unknown           TM November Travel                Annual Auto Renual TM WSF statement only no             TM                                             Miscellaneous     Other
                                                                                                                                                                                                                      receipt
586             2017   151745          EXP-11019   5/9/2017 - 5/31/2017     Jeff Minson   Financial Analyst   5/30/2017    Yamashiro                  $    345.45 Unknown           TM Bray's Island & OOP expenses   Unknown                                                 TM; TWS                                        Meals/Beverages   Group                handwritten initials "TM TWS" on receipt
                                                                                                                                                                                    May 14 - May 30
587   1; 9      2017   151745          EXP-11046   8/1/2017 - 9/29/2017     Jeff Minson   Financial Analyst   8/8/2017     CXIII/Landini Brothers     $    340.57 Alexandria, VA    TM AUG TRAVEL                     Millie Hallow + Guests                                  Millie Hallow; Guests                          Meals/Beverages   Group                reflected on Tony Makris's CXIII REX stmt
588             2017   146420/145983   EXP-9902    12/3/2016-               Jeff Minson   Financial Analyst   1/17/2017    Joe's Seafood              $    340.43 Las Vegas, NV     TM January Travel                 TM lunch with Chris McKinney and Warner Loughlin Tony Makris; Chris McKinney; Warner Loughlin          Meals/Beverages   Group                Joe's Seafood: Seafood, Steak & Stone Crab, handwritten "W TM Chris"
                                                   2/14/2017
589   1; 9      2017   149459          EXP-10720   4/4/2017 - 7/11/2017     Jeff Minson   Financial Analyst   4/4/2017     CXIII/Landini Brothers     $    340.13 Alexandria, VA    Unknown                           4/4/17; $340.13 - WLP                                   WLP                                            Meals/Beverages   Individual
590             2018   154707/155520   11516       1/1/2018 to 2/8/2018     Jeff Minson   Financial Analyst   1/18/2018    Jetsuitex                  $    339.00 Unknown           TM Jan Travel                     Unknown                                                 TM                                             Travel            Airfare              The transaction was for a flight purchased on JetSuiteX for a trip from
                                                                                                                                                                                                                                                                                                                                                                    Burbank to Las Vegas on 1/19/18
591             2018   155996          EXP-11652   1/26/2018 to 3/27/2018   Jeff Minson   Financial Analyst   2/1/2018     Jetsuitex                  $    339.00 Unknown           TM FEB EXP                        Flight details: 4-Feb-2018                              Tony Makris                                    Travel            Airfare              Passenger: Tony Makris
                                                                                                                                                                                                                      Departing: Las Vegas 10:35am                                                                                                                  Flight details: 4-Feb-2018
                                                                                                                                                                                                                      Arrival: Burbank 11:40am                                                                                                                      Departing: Las Vegas 10:35am
                                                                                                                                                                                                                                                                                                                                                                    Arrival: Burbank 11:40am
                                                                                                                                                                                                                                                                                                                                                                    Payment: VISA …5006 $339.00
592             2017   153476          EXP-11222   9/30/2000 - 11/14/2017   Jeff Minson   Financial Analyst   10/11/2017   Apple Store                $    337.08 Unknown           TM OCT Travel                     AirPods Qty 2 $159.00                                   Tony Makris                                    Miscellaneous     Other
                                                                                                                                                                                                                      Subtotal $318.00
                                                                                                                                                                                                                      Est. Tax $19.08
                                                                                                                                                                                                                      Order Total $337.08
593             2016   142347          EXP-8604    7/7/2016 - 9/28/2016     Jeff Minson   Financial Analyst   7/18/2016    CXIII/Landini Brothers     $    336.87 Alexandria, VA    TM august travel                  TM meal with RK & JP                                    TM; RK; JP                                     Meals/Beverages   Group




                                                                                                                                                                                                                                                                                                                                                                                                                APP. 01965
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594          2018   155996          EXP-11652   1/26/2018 to 3/27/2018   Jeff Minson   Financial Analyst   2/1/2018     Verizon                    $   334.97 Unknown            TM FEB EXP                         Unknown                                            Tony Makris                                        Miscellaneous     Telecommunications   Bill date: January 7, 2018
                                                                                                                                                                                                                                                                                                                                                                 3 phone numbers on bill (571.414.1189 = $17.08, 702.201.2938 = $10.08,
                                                                                                                                                                                                                                                                                                                                                                 703.622.3636 = $207.81)
595   7      2016   140440          EXP-8075    5/2/16 to 7/22/16        Jeff Minson   Financial Analyst   5/15/2016    CXIII/Landini Brothers     $   333.63 Alexandria, VA     TM June Travel                     TM meal with JP WL & LO part of $11,124.91         TM; JP; WL; LO                                     Meals/Beverages   Group
596   1; 9   2018   155996          EXP-11652   1/26/2018 to 3/27/2018   Jeff Minson   Financial Analyst   2/7/2018     CXIII/Landini Brothers     $   329.73 Alexandria, VA     TM FEB EXP                         Wayne LaPierre                                     Wayne LaPierre                                     Meals/Beverages   Individual           Date: 01/09
                                                                                                                                                                                                                                                                                                                                                                 Description: Landini Brothers
                                                                                                                                                                                                                                                                                                                                                                 Charge: $249.75
                                                                                                                                                                                                                                                                                                                                                                 SCV: $55.00
                                                                                                                                                                                                                                                                                                                                                                 Tax: $24.98
                                                                                                                                                                                                                                                                                                                                                                 Total: $329.73
597   7      2016   138653          EXP-7581    3/1/2016 - 6/30/2016     Jeff Minson   Financial Analyst   3/30/2016    CXIII/Landini Brothers     $   329.30 Alexandria, VA     TM April Travel                    TM lunch with JP KA & RK part of $5999.21          TM; JP; KA; RK                                     Meals/Beverages   Group
598   1; 9   2017   149459          EXP-10720   4/4/2017 - 7/11/2017     Jeff Minson   Financial Analyst   4/6/2017     CXIII/Landini Brothers     $   328.84 Alexandria, VA     Unknown                            4/6/17: $328.84 - WLP                              WLP                                                Meals/Beverages   Individual
599          2016   139727          EXP-7842    4/1/2016 to 6/30/16      Jeff Minson   Financial Analyst   4/5/2016     CXIII/Landini Brothers     $   326.27 Alexandria, VA     TM May Travel                      TM with WLP & M Hallow                             TM; WLP; M Hallow                                  Meals/Beverages   Group
600   7      2017   148014          EXP-10319   2/11/2017 - 5/10/2017    Jeff Minson   Financial Analyst   2/18/2017    CXIII/Landini Brothers     $   321.72 Alexandria, VA     TM March travel                    Meal Tony Makris w Mark Dycio WLP & S H part of    Tony Makris; Mark Dycio; WLP; SH                   Meals/Beverages   Group                Date: 02/18/17
                                                                                                                                                                                                                    $4,325.30                                                                                                                                    CXIII Rex
                                                                                                                                                                                                                                                                                                                                                                 Charge: $245.20
                                                                                                                                                                                                                                                                                                                                                                 Scv: $52.00
                                                                                                                                                                                                                                                                                                                                                                 Tax: $24.52
                                                                                                                                                                                                                                                                                                                                                                 Total: $321.72
601   7      2017   144737          EXP-9318    10/13/2013 - 1/5/2017    Jeff Minson   Financial Analyst   10/12/2016   CXIII/Landini Brothers     $   320.30 Alexandria, VA     TM November Travel                 Meal TM with WP JP and WLP part of 4465.38         TM; WP; JP; WLP                                    Meals/Beverages   Group


602   9      2018   155996          EXP-11652   1/26/2018 to 3/27/2018   Jeff Minson   Financial Analyst   2/9/2018     Silverleaf Cigar           $   319.80 Fort Worth, TX     TM FEB EXP                         Unknown                                            Mark Dycio; AL Mocallef; Wally; Mike               Miscellaneous     Other                Date: February 9, 2018
                                                                                                                                                                                                                                                                                                                                                                 Time: 4:51pm
                                                                                                                                                                                                                                                                                                                                                                 Total: $319.80
603          2017   147112          EXP-10160   1/6/17 - 3/31/17         Jeff Minson   Financial Analyst   2/12/2017    Four Seasons               $   318.83 Los Angeles, CA    TM FEB Travel                      Dinner with WLM Dan & Kristen Selleck              TM; WLM; Dan Selleck; Kristen Selleck              Meals/Beverages   Group                Date: 02/12/17
                                                                                                                                                                                                                                                                                                                                                                 Amount: $258.83
                                                                                                                                                                                                                                                                                                                                                                 Tip: $60.00
                                                                                                                                                                                                                                                                                                                                                                 Total: $318.83
                                                                                                                                                                                                                                                                                                                                                                 Tony Makris signature present at bottom of receipt
                                                                                                                                                                                                                                                                                                                                                                 "TM, WLM, Dan Selleck, Kristen Selleck" handwritten on top
604          2017   143169          EXP-8888    8/1/2016 - 10/24/2016    Jeff Minson   Financial Analyst   9/24/2016    La Poubelle                $   316.46 Los Angeles, CA    TM September Travel                Dinner TM with D Selleck & T Selleck               TM; Dan Selleck; Tom Selleck                       Meals/Beverages   Group                handwritten on receipt "TM, Dan Selleck, Tom Selleck"
605          2016   143559          EXP-9110    9/1/2016 - 11/16/2016    Jeff Minson   Financial Analyst   10/16/2016   Rao's                      $   316.15 Los Angeles, CA    TM October Travel Expense          Dinner TM with WLP MV & DV                         TM; WLP; MV; DV                                    Meals/Beverages   Group
606   7      2016   143559          EXP-9110    9/1/2016 - 11/16/2016    Jeff Minson   Financial Analyst   9/8/2016     CXIII/Landini Brothers     $   315.52 Alexandria, VA     TM October Travel Expense          TM lunch with JP part of 5279.91                   TM; JP                                             Meals/Beverages   Group
607          2016   137631/136135   EXP-6836    12/1/2015 - 3/10/2016    Jeff Minson   Financial Analyst   1/24/2016    Rao's                      $   314.69 Los Angeles, CA    TM TRAVEL January 2016 Florida     Dinner TM WL & Daniel Turaosil & Erin Tayler       Tony Makris; WL; Daniel Turaosil; Erin Tayler      Meals/Beverages   Group                Note says Tony Makris, Daniel Turaosil, Erin Tayler.
                                                                                                                                                                                 Dallas Vegas (SHOT Show) and Los
                                                                                                                                                                                 Angeles
608          2017   152775          EXP-11176   8/30/2017 - 10/20/2017   Jeff Minson   Financial Analyst   9/14/2017    Ready to Roll              $   314.57 Los Angeles, CA    TM SEPT Travel                     Passenger (total): Tony Makris (1) PU: 3204        Tony Makris                                        Auto              Car Service          Ordered by: Stephanie West
                                                                                                                                                                                                                    Ledgewood DO: LAX, Departure Alaska Airlines Los
                                                                                                                                                                                                                    Angeles intl
609   7      2017   148014          EXP-10319   2/11/2017 - 5/10/2017    Jeff Minson   Financial Analyst   2/21/2017    CXIII/Landini Brothers     $   311.08 Alexandria, VA     TM March travel                    Meal Tony Makris with T Schropp David Lehman and Tony Makris; T Schropp; David Lehman; Woody          Meals/Beverages   Group                Date: 02/21/17
                                                                                                                                                                                                                    Woody Phillips part of $3,550.03                   Phillips                                                                                  Landini Brothers
                                                                                                                                                                                                                                                                                                                                                                 Charge: $223.25
                                                                                                                                                                                                                                                                                                                                                                 Scv: $44.65
                                                                                                                                                                                                                                                                                                                                                                 Tax: $22.33
                                                                                                                                                                                                                                                                                                                                                                 Total: $290.23
                                                                                                                                                                                                                                                                                                                                                                 Charge: $18.95
                                                                                                                                                                                                                                                                                                                                                                 Scv: $0.00
                                                                                                                                                                                                                                                                                                                                                                 Tax: $1.90
                                                                                                                                                                                                                                                                                                                                                                 Total: $20.85
                                                                                                                                                                                                                                                                                                                                                                 Overall total: $311.08
610   7      2016   140440          EXP-8075    5/2/16 to 7/22/16        Jeff Minson   Financial Analyst   5/11/2016    CXIII/Landini Brothers     $   310.95 Alexandria, VA     TM June Travel                     TM meal with JP WLP & LO part of $11,124.91        TM; JP; WLP; LO                                    Meals/Beverages   Group
611          2017   143169          EXP-8888    8/1/2016 - 10/24/2016    Jeff Minson   Financial Analyst   9/10/2016    Gelson's Markets           $   310.93 Unknown            TM September Travel                Groceries in lieu of meals while in Los Angeles    TM                                                 Meals/Beverages   Individual
612          2016   138653          EXP-7581    3/1/2016 - 6/30/2016     Jeff Minson   Financial Analyst   4/3/2016     Bellagio Olives            $   309.85 Las Vegas, NV      TM April Travel                    TM lunch with WLP SLP & Chris Kenney               TM; WLP; SLP; Chris Kenney                         Meals/Beverages   Group
613          2018   154707/155520   11516       1/1/2018 to 2/8/2018     Jeff Minson   Financial Analyst   1/22/2018    Casa fuente                $   309.00 Las Vegas, NV      TM Jan Travel                      Unknown                                            Tony Makris; Tom Selleck; Dave Muntz               Meals/Beverages   Group                Customer copy with no itemized detail. Amex statement has a note indicating
                                                                                                                                                                                                                                                                                                                                                                 the presence of Tom Selleck and Dave Muntz.
614          2018   156967          EXP-11729   3/1/2018 - 4/30/2018     Jeff Minson   Financial Analyst   3/24/2018    HEGES                      $   308.60 Johns Island, SC   TM March Travel                    Unknown                                            Tony Makris; Wayne LaPierre; Susan; Chris Kinney   Meals/Beverages   Group                Date: 03/24/18
                                                                                                                                                                                                                                                                                                                                                                 Subtotal: $248.60
                                                                                                                                                                                                                                                                                                                                                                 Gratuity: $60.00
                                                                                                                                                                                                                                                                                                                                                                 Total: $308.60
                                                                                                                                                                                                                                                                                                                                                                 Tony Makris signature present at bottom of receipt
615   7      2016   140440          EXP-8075    5/2/16 to 7/22/16        Jeff Minson   Financial Analyst   5/24/2016    CXIII/Landini Brothers     $   306.54 Alexandria, VA     TM June Travel                     TM meal with CN JP & WB part of $11,124.91         TM; CN; JP; WB                                     Meals/Beverages   Group
616   7      2016   140440          EXP-8075    5/2/16 to 7/22/16        Jeff Minson   Financial Analyst   5/2/2016     CXIII/Landini Brothers     $   305.82 Alexandria, VA     TM June Travel                     TM meal with CN & JC part of $11,124.91            TM; CN; JC; MD; KM                                 Meals/Beverages   Group
617          2016   137631          EXP-7293    2/7/2016 - 4/15/2016     Jeff Minson   Financial Analyst   2/29/2016    CXIII/Landini Brothers     $   305.70 Alexandria, VA     TM March Travel                    Lunch TM with Millie Hallow WLP WP & AF            TM; Millie Hallow; WLP; WP; AF                     Meals/Beverages   Group
618   2; 9   2016   137631          EXP-7293    2/7/2016 - 4/15/2016     Jeff Minson   Financial Analyst   3/1/2016     Delta Airlines             $   305.10 Phoenix, AZ        TM March Travel                    Airfare Warner Loughlin PHX to LAX                 Warner Loughlin                                    Travel            Airfare
619   9      2018   155996          EXP-11652   1/26/2018 to 3/27/2018   Jeff Minson   Financial Analyst   2/11/2018    Ashton Hotel               $   480.56 Fort Worth, TX     TM FEB EXP                         Unknown                                            Mark Dycio; Duffy/Cremer                           Travel            Lodging              Email sent to Tony Makris. Mark Dycio's name was printed along with
                                                                                                                                                                                                                                                                                                                                                                 Duffy/Cremer
                                                                                                                                                                                                                                                                                                                                                                 Arrival date: 02/09/18
                                                                                                                                                                                                                                                                                                                                                                 Departure date: 02/11/18
                                                                                                                                                                                                                                                                                                                                                                 Amount: $480.56
620   9      2018   160161          12123       7/20/2018-8/13/2018      Jeff Minson   Financial Analyst   7/27/2018    Alto Plaza                 $   304.52 Centreville, VA    TM July Travel                     Mark Dycio dinner with NRA                         Mark Dycio                                         Meals/Beverages   Individual           Email from Stephanie West to Jeff Minson: Items below were charged on
                                                                                                                                                                                                                                                                                                                                                                 Tony's (Makris) personal card.
621          2017   145564          EXP-9731    10/1/16 - 11/30/16       Jeff Minson   Financial Analyst   11/18/2016   Bray's Island Plantation   $   304.50 Sheldon, SC        TM OCT NOV travel tips and         Meal with Gen. Walter Boomer and David Gardner     TM; Gen Walter Boomer; David Gardner               Meals/Beverages   Group
                                                                                                                                                                                 reimbursable expenses
622   7      2016   136859          EXP-6997    1/7/2016 - 3/22/2016     Jeff Minson   Financial Analyst   1/7/2016     CXIII/Landini Brothers     $   302.67 Alexandria, VA     TM February Travel                 Lunch TM with WLP Millie Hallow and Andra Fisher   TM; WLP; Millie Hallow; Audra Fischer              Meals/Beverages   Group
                                                                                                                                                                                                                    part of $2217.87
623   1; 9   2017   145564          EXP-9659    12/21/2006 - 1/11/2017   Jeff Minson   Financial Analyst   11/1/2016    CXIII/Landini Brothers     $   302.35 Alexandria, VA     TM December travel expenses        JP and company meal wih out of TM out of town      JP; Company                                        Meals/Beverages   Group
                                                                                                                                                                                                                    during this period
624          2018   160896          EXP-12196   7/23/2018 to 9/13/2018   Jeff Minson   Financial Analyst   8/1/2018     Verizon                    $   302.23 Alexandria, VA     TM August Travel                   Unknown                                            TM                                                 Miscellaneous     Telecommunications   Bill for 3 phone numbers for TM
625   9      2018   155996          EXP-11652   1/26/2018 to 3/27/2018   Jeff Minson   Financial Analyst   2/12/2018    Ashton Hotel               $   522.80 Fort Worth, TX     TM FEB EXP                         Unknown                                            Mark Dycio; Duffy/Cremer                           Travel            Lodging              Email sent to Tony Makris. Mark Dycio's name was printed along with
                                                                                                                                                                                                                                                                                                                                                                 Duffy/Cremer
                                                                                                                                                                                                                                                                                                                                                                 Arrival date: 02/09/18
                                                                                                                                                                                                                                                                                                                                                                 Departure date: 02/12/18
                                                                                                                                                                                                                                                                                                                                                                 Amount: $522.80




                                                                                                                                                                                                                                                                                                                                                                                                           APP. 01966
                                                                            Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21                                                                                    Page 688 of 1087 PageID 30893

626   5      2018   155996          EXP-11652   1/26/2018 to 3/27/2018    Jeff Minson   Financial Analyst   1/30/2018    Harry & David            $    298.75 Unknown            TM FEB EXP                    Unknown                                         Tony Makris                               Miscellaneous     Gift                 Order confirmation for order placed on January 30, 2018.
                                                                                                                                                                                                                                                                                                                                                Billing Address listed:
                                                                                                                                                                                                                                                                                                                                                Tony Makris
                                                                                                                                                                                                                                                                                                                                                52 Wolfe Street, Alexandria, VA 22314-3865
                                                                                                                                                                                                                                                                                                                                                southernbell2764@yahoo.com
                                                                                                                                                                                                                                                                                                                                                Paid with AMEX ending in 5006
                                                                                                                                                                                                                                                                                                                                                Merchandise: $239.98
                                                                                                                                                                                                                                                                                                                                                Shipping charge: $36.00
                                                                                                                                                                                                                                                                                                                                                Total before tax: $275.98
                                                                                                                                                                                                                                                                                                                                                Estimated tax: $22.77
                                                                                                                                                                                                                                                                                                                                                Oder total: $298.75
627          2017   151745          EXP-11046   8/1/2017 - 9/29/2017      Jeff Minson   Financial Analyst   8/1/2017     Verizon                  $    290.60 Alexandria, VA     TM AUG TRAVEL                 Unknown                                         Tony Makris                               Miscellaneous     Telecommunications   Billed to: Tony Makris
628   7      2017   143169          EXP-8888    8/1/2016 - 10/24/2016     Jeff Minson   Financial Analyst   8/24/2016    CXIII/Landini Brothers   $    290.22 Alexandria, VA     TM September Travel           Meal TM with JP MD & WLP part of $7463.82       TM; JP; MD; WLP                           Meals/Beverages   Group
629   7      2016   137631          EXP-7293    2/7/2016 - 4/15/2016      Jeff Minson   Financial Analyst   2/20/2016    CXIII/Landini Brothers   $    290.00 Alexandria, VA     TM March Travel               Lunch TM with TS CN & BS part of $5853.02       TM; TS; CN; BS                            Meals/Beverages   Group
630          2017   150457          EXP-10850   6/7/2017-                 Jeff Minson   Financial Analyst   5/22/2017    American Airlines        $    289.67 Unknown            Unknown                       Unknown                                         Anthony Makris                            Travel            Airfare              Passenger name: Makris/Anthony S
                                                7/31/2017                                                                                                                                                                                                                                                                                       American Airlines
                                                                                                                                                                                                                                                                                                                                                Amount: $289.67
631          2017   143169          EXP-8888    8/1/2016 - 10/24/2016     Jeff Minson   Financial Analyst   9/7/2016     Hotel Belair             $    287.62 Unknown            TM September Travel           Lunch TM with Carol Lanning                     Tony Makris; Carol Lanning                Meals/Beverages   Group                Receipt is from Wolfgang Puck Restaurant at Hotel Bel Air, handwritten on
                                                                                                                                                                                                                                                                                                                                                receipt says "Tony Makris Carol Lanning"
632   1; 9   2017   145564          EXP-9659    12/21/2006 - 1/11/2017    Jeff Minson   Financial Analyst   11/3/2016    CXIII/Landini Brothers   $    287.13 Alexandria, VA     TM December travel expenses   JP and company meal wih out of TM out of town   JP; Company                               Meals/Beverages   Group
                                                                                                                                                                                                               during this period
633          2018   154707/155520   11516       1/1/2018 to 2/8/2018      Jeff Minson   Financial Analyst   1/19/2018    Ready to Roll            $    287.00 Los Angeles, CA    TM Jan Travel                 Unknown                                         TM                                        Auto              Car Service          PU: LAX
                                                                                                                                                                                                                                                                                                                                                DO: 3204 Ledgewood Dr
                                                                                                                                                                                                                                                                                                                                                Date 1/17/18
                                                                                                                                                                                                                                                                                                                                                Passenger count 1 and base charge for 1 @ 200
634   7      2016   140440          EXP-8075    5/2/16 to 7/22/16         Jeff Minson   Financial Analyst   5/6/2016     CXIII/Landini Brothers   $    283.17 Alexandria, VA     TM June Travel                TM meal with WLP CN & SH part of $11,124.91     TM; WLP; CN; SH                           Meals/Beverages   Group


635          2018   156967          EXP-11729   3/1/2018 - 4/30/2018      Jeff Minson   Financial Analyst   3/1/2018     Verizon                  $    283.08 Alexandria, VA     TM March Travel               Unknown                                         Anthony Makris                            Miscellaneous     Telecommunications   Billing period: 01/08/18 - 02/07/18
                                                                                                                                                                                                                                                                                                                                                Three numbers associated with account (571.414.1189 - iPad min)
                                                                                                                                                                                                                                                                                                                                                (703.201.2938 - iPad 4g) (703.622.3636 - iPhone 7)
636          2018   154261          EXP-11340   11/1/2017 to 12/11/2017   Jeff Minson   Financial Analyst   11/1/2017    Verizon                  $    282.88 Alexandria, VA     TM November Travel            Unknown                                         Tony Makris                               Miscellaneous     Telecommunications   Billing period: Oct 8, 2017 - Nov 7, 2017
                                                                                                                                                                                                                                                                                                                                                Bill for 3 phone numbers (571.414.1189, 703.201.2938, 703.622.3636)
                                                                                                                                                                                                                                                                                                                                                Total: $282.88


637          2018   154706/155170   11424       11/28/2017-               Jeff Minson   Financial Analyst   12/1/2017    Verizon                  $    282.88 Alexandria, VA     TM December                   Uknown                                          Makris                                    Miscellaneous     Telecommunications   Monthly wireless bill for Makris and 3 numbers and additional charges
                                                1/5/2018                                                                                                                                                                                                                                                                                        incurred on international travel
638          2017   153476          EXP-11222   9/30/2000 - 11/14/2017    Jeff Minson   Financial Analyst   10/1/2017    Verizon                  $    282.60 Unknown            TM OCT Travel                 Unknown                                         Tony Makris                               Miscellaneous     Telecommunications   bill to: tony makris
639          2017   149459          EXP-10720   4/4/2017 - 7/11/2017      Jeff Minson   Financial Analyst   5/1/2017     Verizon                  $    282.56 Unknown            Unknown                       Unknown                                         TM                                        Miscellaneous     Telecommunications
640          2017   150823          EXP-10975   7/1/2017 - 8/24/2017      Jeff Minson   Financial Analyst   7/1/2017     Verizon                  $    282.56 Alexandria, VA     Unknown                       Verizon Bill Payment by Tony Makris             Tony Makris                               Miscellaneous     Telecommunications   Billed to Tony Makris
641          2018   159388          EXP-12039   5/29/2018-                Jeff Minson   Financial Analyst   6/1/2018     Verizon                  $    282.05 Unknown            TM June Travel                Unknown                                         Tony Makris                               Miscellaneous     Telecommunications   Verizon bill for 3 separate phone numbers;
                                                7/11/2018                                                                                                                                                                                                                                                                                       iphone 7
                                                                                                                                                                                                                                                                                                                                                iPad 4G
                                                                                                                                                                                                                                                                                                                                                iPad Mini
642          2017   146420/145983   EXP-9902    12/3/2016-                Jeff Minson   Financial Analyst   1/11/2017    Trulucks                 $    281.66 Dallas, TX         TM January Travel             TM lunch with Brad Johnson                      TM; Brad Johnson                          Meals/Beverages   Group                handwritten "TM Brad Johnson"
                                                2/14/2017
643          2018   157570          11839       1/2/2018-                 Jeff Minson   Financial Analyst   4/1/2018     Verizon                  $    281.10 Alexandria, VA     TM April Travel               Unknown                                         Tony Makris                               Miscellaneous     Telecommunications
                                                5/11/2018
644          2018   158118          EXP-11895   5/1/2018 - 6/4/2018       Jeff Minson   Financial Analyst   5/1/2018     Verizon                  $    280.88 Unknown            TM May Travel Part 1          Unknown                                         Tony Makris                               Miscellaneous     Telecommunications   Bill for 3 phone numbers
                                                                                                                                                                                                                                                                                                                                                iPhone 7
                                                                                                                                                                                                                                                                                                                                                iPad Mini
                                                                                                                                                                                                                                                                                                                                                iPad 4G
645          2018   155996          EXP-11652   1/26/2018 to 3/27/2018    Jeff Minson   Financial Analyst   2/13/2018    Ready to Roll            $    279.00 California         TM FEB EXP                    Pick-up / Stops:                                Tony Makris                               Auto              Car Service          Customer: Tony Makris
                                                                                                                                                                                                               3204 Ledgewood Dr., Los Angeles, CA 90068                                                                                        Passenger: Tony Makris
                                                                                                                                                                                                               Drop-off:                                                                                                                        Start time: 02/07/2018 7:30
                                                                                                                                                                                                               Departure Virgin America #1874 Los Angeles                                                                                       End time: 02/07/2018 9:30
                                                                                                                                                                                                               International Airport                                                                                                            Ordered by: Stephanie West
646          2017   147112          EXP-10160   1/6/17 - 3/31/17          Jeff Minson   Financial Analyst   2/18/2017    Ready to Roll            $    279.00 California         TM FEB Travel                 Ground Transportation 3204 Ledgewood Hollywood Anthony Makris                             Auto              Car Service          PU: 3204 Ledgewood Dr. Hollywood, CA 90068
                                                                                                                                                                                                               to LAX                                                                                                                           Drop: LAX 6 AS
                                                                                                                                                                                                                                                                                                                                                Pickup: 10:00 Dropoff: 11:00
                                                                                                                                                                                                                                                                                                                                                Passenger: Makris, Anthony
                                                                                                                                                                                                                                                                                                                                                Total: $279.00
647          2018   156967          EXP-11729   3/1/2018 - 4/30/2018      Jeff Minson   Financial Analyst   3/14/2018    Ready to Roll            $    279.00 Los Angeles, CA    TM March Travel               Unknown                                         Anthony Makris                            Auto              Car Service          ref# cu2173


                                                                                                                                                                                                                                                                                                                                                Customer: Makris/Anthony
                                                                                                                                                                                                                                                                                                                                                Passenger (total): Makris/Anthony (1)
                                                                                                                                                                                                                                                                                                                                                Start time: 03/13/18 09:45
                                                                                                                                                                                                                                                                                                                                                End time: 03/13/18 11:45
                                                                                                                                                                                                                                                                                                                                                Pick-up / Stops: 3204 Ledgewood Dr. Los Angeles CA 90068
                                                                                                                                                                                                                                                                                                                                                Drop-off: Departure American Airlines #52 Los Angeles International airport
                                                                                                                                                                                                                                                                                                                                                Amount: $279.00


648          2017   149459          EXP-10720   4/4/2017 - 7/11/2017      Jeff Minson   Financial Analyst   5/22/2017    Ready to Roll            $    279.00 Los Angeles, CA    Unknown                       Unknown                                         Tony Makris                               Auto              Car Service          Passenger: Tony Makris PU: 3204 Ledgewood DO: Bob Hope Airport


649   7      2016   138653          EXP-7581    3/1/2016 - 6/30/2016      Jeff Minson   Financial Analyst   3/22/2016    CXIII/Landini Brothers   $    278.21 Alexandria, VA     TM April Travel               TM lunch with DA MD & WLP part of $5999.21      TM; DA; MD; WLP                           Meals/Beverages   Group


650          2018   155996          EXP-11652   1/26/2018 to 3/27/2018    Jeff Minson   Financial Analyst   2/13/2018    Four Seasons             $   1,180.13 Golden Oaks, FL   TM FEB EXP                    Unknown                                         Tony                                      Travel            Lodging              "This is on the folio for Tony - Adv. Dep."
651   7      2017   144737          EXP-9318    10/13/2013 - 1/5/2017     Jeff Minson   Financial Analyst   10/13/2016   CXIII/Landini Brothers   $    272.75 Alexandria, VA     TM November Travel            Meal TM with MH WLP and AA part of 4465.38      TM; MH; WLP; AA                           Meals/Beverages   Group


652          2016   142347          EXP-8604    7/7/2016 - 9/28/2016      Jeff Minson   Financial Analyst   7/14/2016    CXIII/Landini Brothers   $    272.60 Alexandria, VA     TM august travel              TM Meal with KM & SM                            TM; KM; SM                                Meals/Beverages   Group
653          2016   136859          EXP-6997    1/7/2016 - 3/22/2016      Jeff Minson   Financial Analyst   2/15/2016    Messh'all                $    270.63 Unknown            TM February Travel            Dinner TM w WLP Diana Valentine Matt Goldberg   TM; WLP; Diana Valentine; Matt Goldberg   Meals/Beverages   Group


654          2018   155996          EXP-11652   1/26/2018 to 3/27/2018    Jeff Minson   Financial Analyst   2/22/2018    Palm Restaurant          $    270.48 Mclean, VA         TM FEB EXP                    Unknown                                         Tony Makris; Josh Powell                  Meals/Beverages   Individual           Date: February 21, 2018
                                                                                                                                                                                                                                                                                                                                                Subtotal: $220.48
                                                                                                                                                                                                                                                                                                                                                Tip: $50.00
                                                                                                                                                                                                                                                                                                                                                Total: $270.48
                                                                                                                                                                                                                                                                                                                                                Tony Makris signature present
655   7      2016   138653          EXP-7581    3/1/2016 - 6/30/2016      Jeff Minson   Financial Analyst   3/1/2016     CXIII/Landini Brothers   $    267.80 Alexandria, VA     TM April Travel               TM lunch with CN JC & ZM part of $5999.21       TM; CN; JC; ZM                            Meals/Beverages   Group
656          2016   136859          EXP-6997    1/7/2016 - 3/22/2016      Jeff Minson   Financial Analyst   2/3/2016     Ready to Roll            $    266.61 Los Angeles, CA    TM February Travel            Feb 2 3204 ledgewood to van nuys airport        Tony Makris                               Auto              Car Service          Passenger - Tony Makris




                                                                                                                                                                                                                                                                                                                                                                                              APP. 01967
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657              2016   138653          EXP-7581    3/1/2016 - 6/30/2016     Jeff Minson   Financial Analyst   4/6/2016     Ready to Roll              $    266.61 Los Angeles, CA   TM April Travel                    Ground trans pickup/dropoff 3204 Ledgewood driver Anthony Makris                                      Auto              Car Service   PU: 3204 Ledgewood Dr. Hollywood, CA
                                                                                                                                                                                                                        2.75 hours as directed April 5                                                                                                        DO: VYN N261NA


658              2016   137631/136135   EXP-6836    12/1/2015 - 3/10/2016    Jeff Minson   Financial Analyst   1/15/2016    Tropical Wine/Spirits      $    264.99 Tequesta, FL      TM TRAVEL January 2016 Florida     Amenities for Las Vegas Events                        TM                                              Meals/Beverages   Group         Handwritten note on Tony's CC statement states 'cigar and lighters for 2
                                                                                                                                                                                     Dallas Vegas (SHOT Show) and Los                                                                                                                                         vegas trip'; also has note that states 'Darshak'
                                                                                                                                                                                     Angeles
659   7          2016   143559          EXP-9110    9/1/2016 - 11/16/2016    Jeff Minson   Financial Analyst   9/28/2016    CXIII/Landini Brothers     $    264.11 Alexandria, VA    TM October Travel Expense          TM meal with WLP and guests part of 511.52            TM; WLP; Guests                                 Meals/Beverages   Group
660   1; 9       2016   137631          EXP-7293    2/7/2016 - 4/15/2016     Jeff Minson   Financial Analyst   2/25/2016    CXIII/Landini Brothers     $    261.99 Alexandria, VA    TM March Travel                    Lunch Millie Hallow group lunch                       Millie Hallow; Group                            Meals/Beverages   Group
661   1; 9       2017   147112          EXP-10160   1/6/17 - 3/31/17         Jeff Minson   Financial Analyst   1/21/2017    CXIII/Landini Brothers     $    261.73 Alexandria, VA    TM FEB Travel                      MEAL Josh Powell and guests                           Josh Powell; Guests                             Meals/Beverages   Group         Date: 01/21/17
                                                                                                                                                                                                                                                                                                                                                              Landini Brothers
                                                                                                                                                                                                                                                                                                                                                              Charge: $198.85
                                                                                                                                                                                                                                                                                                                                                              Scv: $43.00
                                                                                                                                                                                                                                                                                                                                                              Tax: $19.88
                                                                                                                                                                                                                                                                                                                                                              Total: $261.83
662   5; 9; 13   2018   160161          12119       6/28/2018 - 8/8/2018     Jeff Minson   Financial Analyst   7/31/2018    Dean & Deluca              $    260.00 Unknown           TM July Travel                     Unknown                                               Craig Spray                                     Miscellaneous     Gift          Online order for fruit gift box to Craig Spray from Tony Makris on July 25.


663              2018   156967          EXP-11729   3/1/2018 - 4/30/2018     Jeff Minson   Financial Analyst   3/6/2018     Rao's                      $    259.62 Los Angeles, CA   TM March Travel                    Unknown                                               Tony Makris; Wayne LaPierre                     Meals/Beverages   Group         Date: 03/06/18
                                                                                                                                                                                                                                                                                                                                                              Amount: $214.62
                                                                                                                                                                                                                                                                                                                                                              Tip: $45.00
                                                                                                                                                                                                                                                                                                                                                              Total: $259.62
                                                                                                                                                                                                                                                                                                                                                              Tony Makris signature present at bottom of receipt
                                                                                                                                                                                                                                                                                                                                                              "TM & WL NRA/PR" handwritten on top
664   1; 9       2017   152775          EXP-11176   8/30/2017 - 10/20/2017   Jeff Minson   Financial Analyst   9/7/2017     CXIII/Landini Brothers     $    259.40 Alexandria, VA    TM SEPT Travel                     Unknown                                               Wayne LaPierre                                  Meals/Beverages   Individual    handwritten "Wayne LaPierre", Billed to Wayne LaPierre - LB account on stmt


665              2017   149459          EXP-10720   4/4/2017 - 7/11/2017     Jeff Minson   Financial Analyst   4/30/2017    South City Kitchen         $    258.44 Atlanta, GA       Unknown                            Unknown                                               Tony Makris                                     Meals/Beverages   Individual
666   1; 9       2018   155996          EXP-11652   1/26/2018 to 3/27/2018   Jeff Minson   Financial Analyst   2/15/2018    Charleston Place           $   1,578.59 Charleston, SC   TM FEB EXP                         Unknown                                               Wayne Roberts                                   Travel            Lodging       Arrival Date: 02/14/18
                                                                                                                                                                                                                                                                                                                                                              Departure: 02/15/2018
                                                                                                                                                                                                                                                                                                                                                              Date:
                                                                                                                                                                                                                                                                                                                                                              02/14/18 - In-room dining $87.18, room charge $1288.00, city destination fee
                                                                                                                                                                                                                                                                                                                                                              $2.00, room taxes $180.60
                                                                                                                                                                                                                                                                                                                                                              02/15/18 - in-room dining $20.81
                                                                                                                                                                                                                                                                                                                                                              Total: $1578.59
667              2018   154707/155520   11516       1/1/2018 to 2/8/2018     Jeff Minson   Financial Analyst   1/17/2018    Beachwood Market           $    254.71 Los Angeles, CA   TM Jan Travel                      Unknown                                               Tony Makris; Gigi Carlton; Joe Schoubuck; Ken   Meals/Beverages   Group         The receipt provided is signed, but not itemized. Unclear as to what was
                                                                                                                                                                                                                                                                              Elliott; Brandon                                                                purchased and the business purpose.


                                                                                                                                                                                                                                                                                                                                                              Amex statement has a note that includes:
                                                                                                                                                                                                                                                                                                                                                              - number for Beachwood Cafe with "Brandon" (or Brendon - handwriting is
                                                                                                                                                                                                                                                                                                                                                              not clear) under it.
                                                                                                                                                                                                                                                                                                                                                              - Gigi Carlton, Joe Schoubuck (or Schouback - handwriting is not clear), and
                                                                                                                                                                                                                                                                                                                                                              Ken Elliott
668   5          2018   160161          12119       6/28/2018-8/8/2018       Jeff Minson   Financial Analyst   7/31/2018    Aimpoint                   $    254.51 Unknown           TM July Travel                     Unknown                                               Tony Makris; Eric Van Horn; Dallas PD           Miscellaneous     Gift          Tony paid for the item, but Aimpoint sent the receipt to Eric Van Horn. The
                                                                                                                                                                                                                                                                                                                                                              purchase was a patrol rifle optic (pro) and the note read, "This order is for a
                                                                                                                                                                                                                                                                                                                                                              member of Dallas PD. Please include a Thin Blue Line patch and a tan
                                                                                                                                                                                                                                                                                                                                                              Aimpoint hat." The note was from Andrea Crewinske from Aimpoint.


669              2017   146420          EXP-9922    12/2/2016-               Jeff Minson   Financial Analyst   12/20/2016   Bray's Island Plantation   $    253.56 Sheldon, SC       TM Bray Island expenses December   TM meal with Sal Giannetti at Bray Island             TM; Sal Giannetti                               Meals/Beverages   Group
                                                    12/28/2016                                                                                                                       2016
670              2018   155996          EXP-11652   1/26/2018 to 3/27/2018   Jeff Minson   Financial Analyst   2/15/2018    Charleston Place           $    476.52 Charleston, SC    TM FEB EXP                         Unknown                                               Tony Makris                                     Travel            Lodging       Arrival Date: 02/14/18
                                                                                                                                                                                                                                                                                                                                                              Departure: 02/15/2018
                                                                                                                                                                                                                                                                                                                                                              Date:
                                                                                                                                                                                                                                                                                                                                                              02/14/18 - room charge $416.00, city destination fee $2.00, room taxes
                                                                                                                                                                                                                                                                                                                                                              $58.52
                                                                                                                                                                                                                                                                                                                                                              Total: $476.52
671   1; 9       2017   148749          EXP-10485   3/9/2017 - 7/11/2017     Jeff Minson   Financial Analyst   3/21/2017    CXIII/Landini Brothers     $    252.54 Alexandria, VA    Unknown                            Unknown                                               Wayne LaPierre                                  Meals/Beverages   Individual    Date: 03/21/17
                                                                                                                                                                                                                                                                                                                                                              Landini Brothers
                                                                                                                                                                                                                                                                                                                                                              Charge: $191.40
                                                                                                                                                                                                                                                                                                                                                              Scv: $42.00
                                                                                                                                                                                                                                                                                                                                                              Tax: $19.14
                                                                                                                                                                                                                                                                                                                                                              Total: $252.54
672              2016   139727          EXP-7842    4/1/2016 to 6/30/16      Jeff Minson   Financial Analyst   4/1/2016     CXIII/Landini Brothers     $    252.47 Alexandria, VA    TM May Travel                      TM with TS WLP & M Hallow                             TM; TS; WLP; M Hallow                           Meals/Beverages   Group
673   1; 9       2018   155996          EXP-11652   1/26/2018 to 3/27/2018   Jeff Minson   Financial Analyst   2/15/2018    Charleston Place           $      9.53 Charleston, SC    TM FEB EXP                         Unknown                                               Wayne Roberts                                   Travel            Lodging       Arrival Date: 02/14/18
                                                                                                                                                                                                                                                                                                                                                              Departure: 02/15/2018
                                                                                                                                                                                                                                                                                                                                                              Date:
                                                                                                                                                                                                                                                                                                                                                              02/15/18 - refreshment center $9.53
                                                                                                                                                                                                                                                                                                                                                              Total: $9.53
674   2; 9       2018   160161          12119       6/28/2018 - 8/8/2018     Jeff Minson   Financial Analyst   7/31/2018    Ready to Roll              $    251.10 Phoenix, AZ       TM July Travel                     Unknown                                               Elicia Warner; Passenger                        Auto              Car Service   Trip from PHX to Four Seasons in Scottsdale for Elicia Warner and another
                                                                                                                                                                                                                                                                                                                                                              passenger
675              2017   153476          EXP-11222   9/30/2000 - 11/14/2017   Jeff Minson   Financial Analyst   10/3/2017    Ready to Roll              $    251.10 Van Nuys, CA      TM OCT Travel                      Passenger: Tony Makris PU: Signature Flight Support   TM                                              Auto              Car Service   Ordered by: Stephanie West
                                                                                                                                                                                                                        DO: 3204 Ledgewood Los Angeles, CA


676   7; 1; 9    2017   148014          EXP-10319   2/11/2017 - 5/10/2017    Jeff Minson   Financial Analyst   2/13/2017    CXIII/Landini Brothers     $    251.03 Alexandria, VA    TM March travel                    Meal for Josh Powell part of $3,550.03                Josh Powell                                     Meals/Beverages   Individual    Date: 02/13/17
                                                                                                                                                                                                                                                                                                                                                              Landini Brothers
                                                                                                                                                                                                                                                                                                                                                              Charge: $193.10
                                                                                                                                                                                                                                                                                                                                                              Scv: $38.62
                                                                                                                                                                                                                                                                                                                                                              Tax: $19.31
                                                                                                                                                                                                                                                                                                                                                              Total: $251.03
677              2017   143169          EXP-8888    8/1/2016 - 10/24/2016    Jeff Minson   Financial Analyst   9/9/2016     Cliffs                     $    251.01 Silver Lake, CA   TM September Travel                Dinner TM with T Selleck D Sellect & C McKinney       TM; T Selleck; D Selleck; C McKinney            Meals/Beverages   Group         handwritten on receipt "T.M., T. Selleck, Dan Selleck, Chris Mckinney"


678   5; 9       2018   160896          EXP-12196   7/23/2018 to 9/13/2018   Jeff Minson   Financial Analyst   8/10/2018    Dean & Deluca              $    250.00 Unknown           TM August Travel                   Unknown                                               Stephanie West                                  Miscellaneous     Gift          Dean & Deluca Organic Fruit Gift Box
679   4          2018   155996          EXP-11652   1/26/2018 to 3/27/2018   Jeff Minson   Financial Analyst   2/16/2018    St. Simons Island          $   1,591.86 Georgia          TM FEB EXP                         "This is on the Sea Island folio - Dep. On 2.22"      Tony Makris                                     Travel            Lodging       Arrival Date: 02/22/18
                                                                                                                                                                                                                                                                                                                                                              Departure Date: 02/27/18
                                                                                                                                                                                                                                                                                                                                                              Date: 02/22/2018 - Deposit transferred at check-in = $1591.86
680              2018   154707/155520   11516       1/1/2018 to 2/8/2018     Jeff Minson   Financial Analyst   1/21/2018    Joe's Seafood              $    249.32 Las Vegas, NV     TM Jan Travel                      Unknown                                               TM                                              Meals/Beverages   Individual
681   7          2016   137631/136135   EXP-6836    12/1/2015 - 3/10/2016    Jeff Minson   Financial Analyst   12/14/2015   CXIII/Landini Brothers     $    246.97 Alexandria, VA    TM TRAVEL January 2016 Florida     Lunch TM with CN CK & JP part of $12,791.96           T Makris; C Nash; C Kinney; J Perran            Meals/Beverages   Group         Note on calendar states 'T. Markis, C. Nash, C. Kinmey, J. Perran'
                                                                                                                                                                                     Dallas Vegas (SHOT Show) and Los
                                                                                                                                                                                     Angeles
682   7          2017   143169          EXP-8888    8/1/2016 - 10/24/2016    Jeff Minson   Financial Analyst   8/26/2016    CXIII/Landini Brothers     $    246.25 Alexandria, VA    TM September Travel                Meal TM with JP WLP & MD part of $7463.82             TM; JP; WLP; MD                                 Meals/Beverages   Group
683              2017   149459          EXP-10720   4/4/2017 - 7/11/2017     Jeff Minson   Financial Analyst   4/24/2017    CXIII/Landini Brothers     $    244.16 Alexandria, VA    Unknown                            Unknown                                               TM                                              Meals/Beverages   Individual




                                                                                                                                                                                                                                                                                                                                                                                                            APP. 01968
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684          2016   136859          EXP-6997    1/7/2016 - 3/22/2016      Jeff Minson   Financial Analyst   2/24/2016    Ready to Roll            $   242.38 Reno, NV           TM February Travel            Feb 18 655 Rock Blvd Reno to 3800 S Virginia St        TM                                  Auto              Car Service
                                                                                                                                                                                                              Reno
685          2016   137631          EXP-7293    2/7/2016 - 4/15/2016      Jeff Minson   Financial Analyst   3/8/2016     Ready to Roll            $   242.38 Unknown            TM March Travel               Mar 8 ground trans ledgewood drive to van nuys         TM                                  Auto              Car Service
                                                                                                                                                                                                              airport TM
686          2016   138653          EXP-7581    3/1/2016 - 6/30/2016      Jeff Minson   Financial Analyst   4/5/2016     Ready to Roll            $   242.38 Las Vegas, NV      TM April Travel               Ground trans PU Van Nuys airport to 3204               Anthony Makris                      Auto              Car Service          PU: VYN N261NA
                                                                                                                                                                                                              Ledgewood Hollywood April 4                                                                                                       DO: 3204 Ledgewood Dr. Hollywood, CA


687   9      2016   138653          EXP-7581    3/1/2016 - 6/30/2016      Jeff Minson   Financial Analyst   4/5/2016     Ready to Roll            $   242.38 Las Vegas, NV      TM April Travel               Ground trans PU Las Vegas 4 seasons to airport 1.4     Mark Dycio                          Auto              Car Service          PU: Four Seasons Hotel (Las Vegas)
                                                                                                                                                                                                              hours as directed April 4                                                                                                         DO: LAS
688   1; 9   2018   154261          EXP-11340   11/1/2017 to 12/11/2017   Jeff Minson   Financial Analyst   11/6/2017    CXIII/Landini Brothers   $   242.07 Alexandria, VA     TM November Travel            Unknown                                                Wayne LaPierre                      Meals/Beverages   Individual           Date: 10/25/2017
                                                                                                                                                                                                                                                                                                                                                Landini Brothers
                                                                                                                                                                                                                                                                                                                                                Charge = $183.40
                                                                                                                                                                                                                                                                                                                                                SCV = $40.00
                                                                                                                                                                                                                                                                                                                                                Tax = $18.37
                                                                                                                                                                                                                                                                                                                                                Total = $242.07
689          2016   142347          EXP-8604    7/7/2016 - 9/28/2016      Jeff Minson   Financial Analyst   7/20/2016    CXIII/Landini Brothers   $   241.96 Alexandria, VA     TM august travel              TM meal with CN RK & SM                                TM; CN; RK; SM                      Meals/Beverages   Group
690   1; 9   2017   149459          EXP-10720   4/4/2017 - 7/11/2017      Jeff Minson   Financial Analyst   4/5/2017     CXIII/Landini Brothers   $   241.35 Alexandria, VA     Unknown                       4/5/17: $241.35 carry out - JP                         JP                                  Meals/Beverages   Individual
691   7      2016   143559          EXP-9110    9/1/2016 - 11/16/2016     Jeff Minson   Financial Analyst   9/7/2016     CXIII/Landini Brothers   $   240.20 Alexandria, VA     TM October Travel Expense     TM lunch with JP part of 5279.91                       TM; JP                              Meals/Beverages   Group
692          2017   144737          EXP-9318    10/13/2013 - 1/5/2017     Jeff Minson   Financial Analyst   10/28/2016   Giovanni                 $   238.66 Nashville, TN      TM November Travel            Dinner TM with David Corlew (mgr Charlie Daniels       TM; David Corlew                    Meals/Beverages   Group                handwritten note: TM and David Cerlew
                                                                                                                                                                                                              Band)
693   1; 9   2017   145564          EXP-9659    12/21/2006 - 1/11/2017    Jeff Minson   Financial Analyst   11/11/2016   CXIII/Landini Brothers   $   230.94 Alexandria, VA     TM December travel expenses   WLP acct meal - detail not provided                    WLP                                 Meals/Beverages   Individual
694          2016   139727          EXP-7842    4/1/2016 to 6/30/16       Jeff Minson   Financial Analyst   4/7/2016     CXIII/Landini Brothers   $   230.28 Alexandria, VA     TM May Travel                 TM with WLP & M Hallow                                 TM; WLP; M Hallow                   Meals/Beverages   Group
695   7      2017   146420/145983   EXP-9902    12/3/2016-                Jeff Minson   Financial Analyst   12/9/2016    CXIII/Landini Brothers   $   228.09 Alexandria, VA     TM January Travel             TM lunch with C Nash & R kwong part of $4,576.99       TM; C Nash; R Kwong                 Meals/Beverages   Group
                                                2/14/2017
696          2018   155996          EXP-11652   1/26/2018 to 3/27/2018    Jeff Minson   Financial Analyst   2/5/2018     Katsuya                  $   226.15 Los Angeles, CA    TM FEB EXP                    Unknown                                                Tony; Tyler                         Meals/Beverages   Group                Date: February 5, 2018
                                                                                                                                                                                                                                                                                                                                                Subtotal: $186.15
                                                                                                                                                                                                                                                                                                                                                Gratuity: $40.00
                                                                                                                                                                                                                                                                                                                                                Total: $226.15
                                                                                                                                                                                                                                                                                                                                                Tony Makris signature present
697          2016   136859          EXP-6997    1/7/2016 - 3/22/2016      Jeff Minson   Financial Analyst   2/1/2016     Verizon                  $   226.02 Unknown            TM February Travel            Verizon service 2 tablets & cell TM dec 8 - jan 7      TM                                  Miscellaneous     Telecommunications
698          2016   137631          EXP-7293    2/7/2016 - 4/15/2016      Jeff Minson   Financial Analyst   3/1/2016     Verizon                  $   226.02 Unknown            TM March Travel               Verizon cell service Jan 8-Feb 7 plus servce on 2      Anthony Makris                      Miscellaneous     Telecommunications
                                                                                                                                                                                                              tablets
699          2016   138653          EXP-7581    3/1/2016 - 6/30/2016      Jeff Minson   Financial Analyst   4/1/2016     Verizon                  $   226.02 Unknown            TM April Travel               TM 2 Pad service and cell service Feb 8 - Mar 7        TM                                  Miscellaneous     Telecommunications
700          2016   142347          EXP-8604    7/7/2016 - 9/28/2016      Jeff Minson   Financial Analyst   7/7/2016     Verizon                  $   226.00 Unknown            TM august travel              Cell & tablet (2) service June 8th - July 7th          AM                                  Miscellaneous     Telecommunications   Monthly Verizon charges for July - August
701          2017   143169          EXP-8888    8/1/2016 - 10/24/2016     Jeff Minson   Financial Analyst   9/1/2016     Verizon                  $   226.00 Unknown            TM September Travel           Service for cell & 2 tablets July 08 - August 07       TM                                  Miscellaneous     Telecommunications
702          2018   155996          EXP-11652   1/26/2018 to 3/27/2018    Jeff Minson   Financial Analyst   2/13/2018    Ready to Roll            $   225.99 Texas              TM FEB EXP                    Pick-up / Stops:                                       Tony Makris                         Auto              Car Service          Customer: Tony Makris
                                                                                                                                                                                                              Ritz Carlton (Dallas) - HOTEL - 214-922-0200, 2121                                                                                Passenger: Tony Makris (1)
                                                                                                                                                                                                              McKinney Ave, Dallas, TX 75201                                                                                                    Start time: 02/09/201812:30
                                                                                                                                                                                                              Drop-off:                                                                                                                         End time: 02/09/2018 14:45
                                                                                                                                                                                                              The Ashton Hotel, 610 Main Street, Fort Worth, TX                                                                                 Ordered by: Stephanie West
                                                                                                                                                                                                              76102 United States
703   2; 9   2018   160161          12119       6/28/2018 - 8/8/2018      Jeff Minson   Financial Analyst   7/31/2018    Ready to Roll            $   225.99 Scottsdale, AZ     TM July Travel                Unknown                                                Elicia Warner Loughlin; Passenger   Auto              Car Service          The note says stop as directed. Pickup and drop off are the same and the
                                                                                                                                                                                                                                                                                                                                                passenger count is 2
704          2017   153476          EXP-11222   9/30/2000 - 11/14/2017    Jeff Minson   Financial Analyst   10/4/2017    Ready to Roll            $   225.99 Los Angeles, CA    TM OCT Travel                 Passenger: Tony Makris PU: 3204 Ledgewood DO:          TM                                  Auto              Car Service
                                                                                                                                                                                                              Signature Flight Support
705          2016   139727          EXP-7842    4/1/2016 to 6/30/16       Jeff Minson   Financial Analyst   5/2/2016     Verizon                  $   225.98 Alexandria, VA     TM May Travel                 Cell & 2 tablet service Apr. 8 - may 7                 TM                                  Miscellaneous     Telecommunications   This phone bill has 3 phone numbers listed. Two have data usage exclusively
                                                                                                                                                                                                                                                                                                                                                and one that has minutes, message, and data usage.
706          2016   140440          EXP-8075    5/2/16 to 7/22/16         Jeff Minson   Financial Analyst   6/1/2016     Verizon                  $   225.98 Unknown            TM June Travel                TM Verizon cell and tablet service Apr. 8 thru may 7 TM                                    Miscellaneous     Telecommunications


707          2016   142347          EXP-8604    7/7/2016 - 9/28/2016      Jeff Minson   Financial Analyst   7/15/2016    CXIII/Landini Brothers   $   223.83 Alexandria, VA     TM august travel              TM Meal with JC & KM                                   TM; JC; KM                          Meals/Beverages   Group
708          2017   147112          EXP-10160   1/6/17 - 3/31/17          Jeff Minson   Financial Analyst   2/1/2017     Verizon                  $   222.94 Alexandria, VA     TM FEB Travel                 Cell and Tablet (2) service Dec 8 thru Jan 7 2017      Anthony Makris                      Miscellaneous     Telecommunications   Billing period: Dec 8, 2016 - Jan 7, 2017
                                                                                                                                                                                                                                                                                                                                                3 phone numbers associated with account (571.414.1189 - Ipad Mini)
                                                                                                                                                                                                                                                                                                                                                (703.201.2938 - Ipad 4g) (703.622.3636 - iPhone 6)
709          2017   144737          EXP-9318    10/13/2013 - 1/5/2017     Jeff Minson   Financial Analyst   10/31/2016   Verizon                  $   222.94 Unknown            TM November Travel            cell and 2 tablet service OCT 8 to NOV 7               TM                                  Miscellaneous     Telecommunications
710          2017   145564          EXP-9659    12/21/2006 - 1/11/2017    Jeff Minson   Financial Analyst   12/1/2016    Verizon                  $   222.94 Unknown            TM December travel expenses   TM cell and tablet service (2) nov 8 thru dec 7        TM                                  Miscellaneous     Telecommunications
711          2017   146420/145983   EXP-9902    12/3/2016-                Jeff Minson   Financial Analyst   1/1/2016     Verizon                  $   222.94 Unknown            TM January Travel             Monthly cell and tablet (2) service November-8 to      TM                                  Miscellaneous     Telecommunications
                                                2/14/2017                                                                                                                                                     Dec 7 2016
712          2017   148014          EXP-10319   2/11/2017 - 5/10/2017     Jeff Minson   Financial Analyst   3/1/2017     Verizon                  $   222.94 Alexandria, VA     TM March travel               Verizon service for cell and two iPad tablets          Anthony Makris                      Miscellaneous     Telecommunications   Billing period: Jan 8, 2017 - Feb 7, 2017
                                                                                                                                                                                                                                                                                                                                                Three numbers associated with account (571.414.1189 - iPad mini)
                                                                                                                                                                                                                                                                                                                                                (703.201.2938 - iPhone 4g) (703.622.3636 - iPhone 6)
713          2017   148749          EXP-10485   3/9/2017 - 7/11/2017      Jeff Minson   Financial Analyst   4/1/2017     Verizon                  $   222.94 Alexandria, VA     Unknown                       Unknown                                                Anthony Makris                      Miscellaneous     Telecommunications   Billing period: 02/08/17 - 03/07/17
                                                                                                                                                                                                                                                                                                                                                Three numbers associated with account (571.414.1189 - iPad Mini)
                                                                                                                                                                                                                                                                                                                                                (703.201.2938 - iPad 4g) (703.622.3636 - iPhone 6)
                                                                                                                                                                                                                                                                                                                                                Total: $222.94
714          2016   139727          EXP-7842    4/1/2016 to 6/30/16       Jeff Minson   Financial Analyst   4/26/2016    CXIII/Landini Brothers   $   221.52 Alexandria, VA     TM May Travel                 TM with Chuck Nash & R Bair                            TM; Chuck Nash; R Bair              Meals/Beverages   Group
715          2016   143559          EXP-9110    9/1/2016 - 11/16/2016     Jeff Minson   Financial Analyst   10/1/2016    Verizon                  $   220.70 Unknown            TM October Travel Expense     TM service for cell & 2 tablets August 8th thru Sept   TM                                  Miscellaneous     Telecommunications
                                                                                                                                                                                                              7th
716          2017   144737          EXP-9318    10/13/2013 - 1/5/2017     Jeff Minson   Financial Analyst   11/6/2016    10 Market A Chef's       $   220.42 Beaufort, SC       TM November Travel            Meal TM with WLM and Walter Boomer of NRA              TM; WLM; Walter Boomer              Meals/Beverages   Group
                                                                                                                                                                                                              receipt not retained statement attached pending
                                                                                                                                                                                                              receipt
717          2017   152775          EXP-11176   8/30/2017 - 10/20/2017    Jeff Minson   Financial Analyst   9/11/2017    Mistral                  $   220.26 Sherman Oaks, CA   TM SEPT Travel                Unknown                                                TM                                  Meals/Beverages   Individual
718          2017   143169          EXP-8888    8/1/2016 - 10/24/2016     Jeff Minson   Financial Analyst   9/16/2016    Morton's Steakhouse      $   219.85 Arlington, VA      TM September Travel           Dinner TM with CN & KM                                 T Makris; Chuck Nash; Ken Miller    Meals/Beverages   Group                Handwritten "T. Makris, Chuck Nash, Ken Miller"
719          2018   155996          EXP-11652   1/26/2018 to 3/27/2018    Jeff Minson   Financial Analyst   1/29/2018    Mistral                  $   219.58 Sherman Oaks, CA   TM FEB EXP                    Unknown                                                Tony Makris                         Meals/Beverages   Individual           Date: January 29, 2018
                                                                                                                                                                                                                                                                                                                                                Subtotal: $179.58
                                                                                                                                                                                                                                                                                                                                                Tip: $40.00
                                                                                                                                                                                                                                                                                                                                                Total: $219.58
                                                                                                                                                                                                                                                                                                                                                Tony Makris signature present
720   7      2016   136859          EXP-6997    1/7/2016 - 3/22/2016      Jeff Minson   Financial Analyst   1/8/2016     CXIII/Landini Brothers   $   219.39 Alexandria, VA     TM February Travel            Lunch TM with Lance Olsen & WLP part of $3032.68 TM; Lance Olsen; WLP                      Meals/Beverages   Group


721          2018   160161          12123       7/20/2018-8/13/2018       Jeff Minson   Financial Analyst   7/23/2018    Mistral                  $   219.03 Sherman Oaks, CA   TM July Travel                7/20/18 - T. Makris meal with K. Elliott               T Makris; Ken Elliott               Meals/Beverages   Group                Email from Stephanie West to Jeff Minson: Items below were charged on
                                                                                                                                                                                                                                                                                                                                                Tony's (Makris) personal card.
722   9      2018   154707/155520   11516       1/1/2018 to 2/8/2018      Jeff Minson   Financial Analyst   1/16/2018    Jetsuitex                $   219.00 Unknown            TM Jan Travel                 Unknown                                                Nader Tavangar                      Travel            Airfare              The charge is for a flight from Burbank CA to Las Vegas on 1/31/18,
                                                                                                                                                                                                                                                                                                                                                purchased through JetSuiteX.com. A hand-written note says that the purchase
                                                                                                                                                                                                                                                                                                                                                was cancelled and credit was to follow. An accompanying cancellation
                                                                                                                                                                                                                                                                                                                                                confirmation shows the funds were refunded to a credit card belonging to
                                                                                                                                                                                                                                                                                                                                                Nader Tavangar
723          2016   137631          EXP-7293    2/7/2016 - 4/15/2016      Jeff Minson   Financial Analyst   3/8/2016     Ready to Roll            $   218.14 Unknown            TM March Travel               Mar 7 ground trans van nuys airport to ledgewood       TM                                  Auto              Car Service
                                                                                                                                                                                                              drive TM




                                                                                                                                                                                                                                                                                                                                                                                            APP. 01969
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724   7      2017   146420/145983   EXP-9902    12/3/2016-               Jeff Minson   Financial Analyst   12/3/2016    CXIII/Landini Brothers     $   217.50 Alexandria, VA      TM January Travel             TM lunch with C Nash & J Perran part of $4576.99   TM; C Nash; J Perran                   Meals/Beverages   Group
                                                2/14/2017
725   9      2017   146420/145983   EXP-9902    12/3/2016-               Jeff Minson   Financial Analyst   1/17/2017    Ready to Roll              $   215.88 Las Vegas, NV       TM January Travel             mark Dycio Ground Transportation LAS airport to    Mark Dycio                             Auto              Car Service   Passenger: Mark Dycio Requested by: Stephanie West
                                                2/14/2017                                                                                                                                                       Four Seasons (Las Vegas)
726          2017   145564          EXP-9731    10/1/16 - 11/30/16       Jeff Minson   Financial Analyst   11/17/2016   Bray's Island Plantation   $   214.50 Sheldon, SC         TM OCT NOV travel tips and    Meal with Gen. Walter Boomer and David Gardner     TM; Gen Walter Boomer; David Gardner   Meals/Beverages   Group
                                                                                                                                                                                  reimbursable expenses
727          2018   155996          EXP-11652   1/26/2018 to 3/27/2018   Jeff Minson   Financial Analyst   2/16/2018    Omni Hotel                 $   557.33 San Antonio, TX     TM FEB EXP                    Unknown                                            Tony Makris                            Travel            Lodging       Arrival: 02/15/18
                                                                                                                                                                                                                                                                                                                                          Departure: 02/16/18
                                                                                                                                                                                                                                                                                                                                          Date: 02/15/18 - room charge $435.00, 6% state occupancy tax $26.10, 9%
                                                                                                                                                                                                                                                                                                                                          city occupancy tax $39.15, 1.75% county occupancy tax $7.61
                                                                                                                                                                                                                                                                                                                                          Total: $557.33


728   1; 9   2017   145564          EXP-9659    12/21/2006 - 1/11/2017   Jeff Minson   Financial Analyst   11/16/2016   CXIII/Landini Brothers     $   213.97 Alexandria, VA      TM December travel expenses   WLP and company meal with TM out of town           WLP; Company                           Meals/Beverages   Group
729          2017   147112          EXP-10160   1/6/17 - 3/31/17         Jeff Minson   Financial Analyst   2/4/2017     Oaks Gourmet               $   213.53 Los Angeles, CA     TM FEB Travel                 Groceries in Lieu of Meals with in LA              Anthony Makris                         Meals/Beverages   Individual    Email sent from Anthony Makris to Stephanie West, forwarding electronic
                                                                                                                                                                                                                                                                                                                                          receipt. Total was $213.53 paid with American Express ending in 4009


730          2017   150457          EXP-10850   6/7/2017-                Jeff Minson   Financial Analyst   6/18/2017    AC Limousine               $   213.00 South Carolina      Unknown                       Unknown                                            Team Makris (2 passengers)             Auto              Car Service   Customer: Makris/Tony
                                                7/31/2017                                                                                                                                                                                                                                                                                 Passenger (total): Team Makris (2)
                                                                                                                                                                                                                                                                                                                                          Start time: 06/17/2017 10:15pm
                                                                                                                                                                                                                                                                                                                                          Drop-off time: 06/17/2017 11:15pm
                                                                                                                                                                                                                                                                                                                                          Pick-up / Stops: Arrival Delta Air Lines #2010 Savannah / Hilton Head
                                                                                                                                                                                                                                                                                                                                          International Airport
                                                                                                                                                                                                                                                                                                                                          Drop-off: 9 Frederick Place, Brays Island, SC 29941
                                                                                                                                                                                                                                                                                                                                          Amount: $213.00
731          2018   160161          12123       7/20/2018-8/13/2018      Jeff Minson   Financial Analyst   7/24/2018    Mistral                    $   212.74 Sherman Oaks, CA    TM July Travel                7/23/18 - T. Makris meal with K. Elliott           T Makris; Ken Elliott                  Meals/Beverages   Group         Email from Stephanie West to Jeff Minson: Items below were charged on
                                                                                                                                                                                                                                                                                                                                          Tony's (Makris) personal card.
732   1; 9   2016   138653          EXP-7581    3/1/2016 - 6/30/2016     Jeff Minson   Financial Analyst   3/23/2016    CXIII/Landini Brothers     $   209.96 Alexandria, VA      TM April Travel               Lunch 3.23 WLP account                             WLP                                    Meals/Beverages   Individual
733   2; 9   2018   157570          11839       1/2/2018-                Jeff Minson   Financial Analyst   4/17/2018    Ready to Roll              $   208.88 Phoenix, AZ         TM April Travel               Unknown                                            Elicia Warner Loughlin                 Auto              Car Service   PHX to Four Seasons in Scottsdale
                                                5/11/2018                                                                                                                                                                                                                                                                                 Date: 4/16
                                                                                                                                                                                                                                                                                                                                          Passenger: Elicia Warner Loughlin
                                                                                                                                                                                                                                                                                                                                          Passenger Count: 1
                                                                                                                                                                                                                                                                                                                                          Base charge: 2 @ 72
734          2018   157570          11839       1/2/2018-                Jeff Minson   Financial Analyst   4/10/2018    Ready to Roll              $   207.38 Dallas, TX          TM April Travel               Unknown                                            Tony Makris                            Auto              Car Service   PU: DFW/DO:Ritz Dallas
                                                5/11/2018                                                                                                                                                                                                                                                                                 Passenger count shows 1 (one), but base charge is for 2 @ $72
735   9      2018   155996          EXP-11652   1/26/2018 to 3/27/2018   Jeff Minson   Financial Analyst   2/13/2018    Ready to Roll              $   207.38 Texas               TM FEB EXP                    Pick-up / Stops:                                   James Rosen                            Auto              Car Service   Customer: Tony Makris
                                                                                                                                                                                                                The Ritz-Carlton, Dallas, 2121 McKinney Avenue,                                                                           Passenger: James Rosen (1)
                                                                                                                                                                                                                Dallas, TX 75201 United States                                                                                            Start time: 02/09/2018 11:30
                                                                                                                                                                                                                Drop-off:                                                                                                                 End time: 02/09/2018 13:30
                                                                                                                                                                                                                Departure Virgin America #1872 Dallas Love Field                                                                          Ordered by: Stephanie West
                                                                                                                                                                                                                Airport
736          2018   155996          EXP-11652   1/26/2018 to 3/27/2018   Jeff Minson   Financial Analyst   2/13/2018    Ready to Roll              $   207.38 Texas               TM FEB EXP                    Tony Makris                                        Tony Makris                            Auto              Car Service   Customer: Tony Makris
                                                                                                                                                                                                                                                                                                                                          Passenger: Tony Makris (1)
                                                                                                                                                                                                                                                                                                                                          Start time: 02/11/2018 10:45
                                                                                                                                                                                                                                                                                                                                          End time: 02/11/2018 12:45
                                                                                                                                                                                                                                                                                                                                          Ordered by: Stephanie West
737   9      2018   155996          EXP-11652   1/26/2018 to 3/27/2018   Jeff Minson   Financial Analyst   2/13/2018    Ready to Roll              $   207.38 Texas               TM FEB EXP                    Pick-up / Stops:                                   James Rosen                            Auto              Car Service   Customer: Tony Makris
                                                                                                                                                                                                                Arrival Alaska Airlines #1715 Dallas Love Field                                                                           Passenger: James Rosen (1)
                                                                                                                                                                                                                Airport                                                                                                                   Start time: 02/07/2018 13:45
                                                                                                                                                                                                                Drop-off:                                                                                                                 End time: 02/07/2018 15:45
                                                                                                                                                                                                                The Ritz-Carlton, Dallas, 2121 McKinney Avenue                                                                            Ordered by: Stephanie West
                                                                                                                                                                                                                Dallas, TX 75201 United States
738          2017   146420/145983   EXP-9902    12/3/2016-               Jeff Minson   Financial Analyst   1/4/2017     Ready to Roll              $   207.38 Dallas, TX          TM January Travel             TM Ground Transportation DFW airport Dallas to     TM                                     Auto              Car Service   Requested by: Stephanie West
                                                2/14/2017                                                                                                                                                       Omni Hotel Dallas
739   9      2018   158118          EXP-11895   5/1/2018 - 6/4/2018      Jeff Minson   Financial Analyst   5/11/2018    Ready to Roll              $   207.38 Dallas, TX          TM May Travel Part 1          PU: DWF (5/3/18)                                   Josephine Bird                         Auto              Car Service
                                                                                                                                                                                                                DO: Omni Hotel (5/3/18)
740   9      2018   158118          EXP-11895   5/1/2018 - 6/4/2018      Jeff Minson   Financial Analyst   5/11/2018    Ready to Roll              $   206.88 Philadelphia, PA.   TM May Travel Part 1          PU: PHL                                            Josephine Bird                         Auto              Car Service
                                                                                                                                                                                                                DO: 1800 North Broom Street Wilmington, DE.


741          2018   160896          EXP-12196   7/23/2018 to 9/13/2018   Jeff Minson   Financial Analyst   8/13/2018    Ready to Roll              $   206.70 Unknown             TM August Travel              PU: LAX                                            Tony Makris                            Auto              Car Service
                                                                                                                                                                                                                DO: 3204 Ledgewood Dr. Los Angeles, CA.
742          2017   147112          EXP-10160   1/6/17 - 3/31/17         Jeff Minson   Financial Analyst   2/21/2017    American Airlines          $   206.10 Unknown             TM FEB Travel                 Airfare DC to Charleston Feb 26                    Anthony Makris                         Travel            Airfare       Passenger name: Makris/Anthony S
                                                                                                                                                                                                                                                                                                                                          American Airlines
                                                                                                                                                                                                                                                                                                                                          Flight details: 26 Feb 2017 Washington Dc-National/Charleston
                                                                                                                                                                                                                                                                                                                                          Amount: $206.10
743          2017   149459          EXP-10720   4/4/2017 - 7/11/2017     Jeff Minson   Financial Analyst   5/22/2017    North Kierland             $   205.62 Phoenix, AZ         Unknown                       Unknown                                            TM; 3 Guests                           Meals/Beverages   Group
744          2017   143169          EXP-8888    8/1/2016 - 10/24/2016    Jeff Minson   Financial Analyst   9/15/2016    Proof on Main Street       $   204.30 Louisville, KY      TM September Travel           Dinner TM with WLP                                 TM; WLaP                               Meals/Beverages   Group         handwritten "TM WLaP"
745          2017   150457          EXP-10850   6/7/2017-                Jeff Minson   Financial Analyst   5/31/2017    Ready to Roll              $   201.70 California          Unknown                       Unknown                                            Anthony Makris                         Auto              Car Service   Customer: Makris/Anthony
                                                7/31/2017                                                                                                                                                                                                                                                                                 Passenger (total): Makris/Anthony
                                                                                                                                                                                                                                                                                                                                          Start time: 05/27/2017 14:30
                                                                                                                                                                                                                                                                                                                                          Drop-off time: 05/27/2017 17:00
                                                                                                                                                                                                                                                                                                                                          Pick-up / Stops: Arrival American Airlines #5976 Bob Hope Airport
                                                                                                                                                                                                                                                                                                                                          Drop-off: 3204 Ledgewood Dr. Los Angeles, CA 90068
                                                                                                                                                                                                                                                                                                                                          Amount: $201.70
746          2018   154707/155520   11516       1/1/2018 to 2/8/2018     Jeff Minson   Financial Analyst   1/5/2018     Ready to Roll              $   200.88 Dallas, TX          TM Jan Travel                 Unknown                                            Tony Makris; Elicia Loughlin Warner    Auto              Car Service   Trip from Dallas FTW to Omni Hotels & Resorts in Dallas
                                                                                                                                                                                                                                                                                                                                          Passenger: Elicia Loughlin Warner, Tony Makris
747          2018   155996          EXP-11652   1/26/2018 to 3/27/2018   Jeff Minson   Financial Analyst   2/1/2018     Ready to Roll              $   200.88 Florida             TM FEB EXP                    Pick-up / Stops:                                   Tony Makris                            Auto              Car Service   Customer: Tony Makris
                                                                                                                                                                                                                209 Commodore Drive, Jupiter, FL 33477                                                                                    Passenger: Tony Makris (1)
                                                                                                                                                                                                                Drop-off:                                                                                                                 Start time: 01/26/2018 6:15
                                                                                                                                                                                                                Departure Delta Air Lines #2271 Palm Beach                                                                                End time: 01/26/2018 8:15
                                                                                                                                                                                                                International Airport                                                                                                     Ordered by: Stephanie West


748   9      2017   146420/145983   EXP-9902    12/3/2016-               Jeff Minson   Financial Analyst   1/4/2017     Ready to Roll              $   200.88 Dallas, TX          TM January Travel             Mark Dycio Ground Transportation DWF airport to    Mark Dycio                             Auto              Car Service   Requested by: Stephanie West
                                                2/14/2017                                                                                                                                                       Ritz Carlton Dallas
749   9      2018   158118          EXP-11895   5/1/2018 - 6/4/2018      Jeff Minson   Financial Analyst   5/11/2018    Ready to Roll              $   200.88 Wilmington, DE.     TM May Travel Part 1          PU: 1800 North Broom Street Wilmington, DE.        Josephine Bird                         Auto              Car Service
                                                                                                                                                                                                                DO: PHL (Airport)
750   9      2018   158118          EXP-11895   5/1/2018 - 6/4/2018      Jeff Minson   Financial Analyst   5/11/2018    Ready to Roll              $   200.88 Dallas, TX          TM May Travel Part 1          PU: Omni Dallas Hotel (5/6/18)                     Josephine Bird                         Auto              Car Service
                                                                                                                                                                                                                DO: DFW (5/6/18)




                                                                                                                                                                                                                                                                                                                                                                                    APP. 01970
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751              2017   153476          EXP-11222   9/30/2000 - 11/14/2017    Jeff Minson   Financial Analyst   9/29/2017    Ready to Roll            $   200.88 Dallas, TX               TM OCT Travel                    Passenger: Tony Makris PU: Hotel ZaZa DO:              TM                              Auto              Car Service
                                                                                                                                                                                                                           Departure Virgin America Dallas Love Field
752              2016   138653          EXP-7581    3/1/2016 - 6/28/2016      Jeff Minson   Financial Analyst   4/11/2016    Ready to Roll            $   200.40 Dallas, TX               TM April Travel                  Ground trans pickup/dropoff Lemon Ave & McKinney Anthony Makris                        Auto              Car Service   PU: 8611 Lemmon Ave. Dallas, TX
                                                                                                                                                                                                                           Ave 2 hours as directed TM April 5                                                                                     DO: 2121 McKinney Ave. Dallas, TX
753              2016   142347          EXP-8604    7/7/2016 - 9/28/2016      Jeff Minson   Financial Analyst   8/24/2016    Ready to Roll            $   200.40 Dallas, TX               TM august travel                 TM ground trans airport to dallas ritz                 TM                              Auto              Car Service
754              2016   142347          EXP-8604    7/7/2016 - 9/28/2016      Jeff Minson   Financial Analyst   8/25/2016    Ready to Roll            $   200.40 Dallas, TX               TM august travel                 TM gorund trans dallas ritz to airport                 TM                              Auto              Car Service
755              2017   143169          EXP-8890    9/8/2016 - 9/12/2016      Jeff Minson   Financial Analyst   9/12/2016    Ready to Roll            $   200.40 Dallas, TX               TM September travel paid by TM   Ground transportation Dallas Airport to Ritz Carlton Tony Makris                       Auto              Car Service   Passenger: Tony Makris


756              2018   160161          12119       6/28/2018 - 8/8/2018      Jeff Minson   Financial Analyst   7/31/2018    Ready to Roll            $   200.00 Unknown                  TM July Travel                   Unknown                                                Tony                            Auto              Car Service   The fee is for a greeter to meet Tony at the airport
757   7          2017   148014          EXP-10319   2/11/2017 - 5/10/2017     Jeff Minson   Financial Analyst   2/21/2017    CXIII/Landini Brothers   $   198.28 Alexandria, VA           TM March travel                  Meal Tony Makris with RK & CN part of $4,325.30        Tony Makris; RK; CN             Meals/Beverages   Group         Date: 02/21/17
                                                                                                                                                                                                                                                                                                                                                  CXIII Rex
                                                                                                                                                                                                                                                                                                                                                  Charge: $150.25
                                                                                                                                                                                                                                                                                                                                                  Scv: $33.00
                                                                                                                                                                                                                                                                                                                                                  Tax: $15.03
                                                                                                                                                                                                                                                                                                                                                  Total: $198.28
758              2017   149459          EXP-10720   4/4/2017 - 7/11/2017      Jeff Minson   Financial Analyst   5/8/2017     AC Limousine             $   198.00 Brays Island, SC         Unknown                          PU: 9 Frederick Place Brays Island, SC (05/08/17)      Team Makris (2 passengers)      Auto              Car Service   Written Notes: NRA/APT RUN. TM was picked up in Brays Island and
                                                                                                                                                                                                                           DO: Savannah Airport                                                                                                   dropped off at Savannah / Hilton Head International Airport


759              2017   150457          EXP-10850   6/7/2017-                 Jeff Minson   Financial Analyst   6/22/2017    Ready to Roll            $   196.70 Los Angeles, CA          Unknown                          Unknown                                                Anthony Makris                  Auto              Car Service   Customer: Makris/Anthony
                                                    7/31/2017                                                                                                                                                                                                                                                                                     Passenger (total): Makris/Anthony
                                                                                                                                                                                                                                                                                                                                                  Start time: 06/12/2017 11:30
                                                                                                                                                                                                                                                                                                                                                  Drop-off time: 06/12/2017 14:00
                                                                                                                                                                                                                                                                                                                                                  Pick-up / Stops: 3204 Ledgewood Dr. Hollywood, CA 90068
                                                                                                                                                                                                                                                                                                                                                  Drop-off: LAX, Departure Delta Air Lines #1257 Los Angeles International
                                                                                                                                                                                                                                                                                                                                                  Airport
                                                                                                                                                                                                                                                                                                                                                  Amount: $196.70
760   5; 9; 13   2017   144737          EXP-9318    10/13/2013 - 1/5/2017     Jeff Minson   Financial Analyst   11/22/2016   Harry & David            $   195.01 Unknown                  TM November Travel               Gift for JD Williams                                   JD Williams                     Miscellaneous     Gift          handwritten "JD William"
761              2016   136859          EXP-6997    1/7/2016 - 3/22/2016      Jeff Minson   Financial Analyst   2/24/2016    Ready to Roll            $   193.90 Los Angeles, CA          TM February Travel               Feb 18 3204 Ledgewood Dr to Van Nuys Airport           TM                              Auto              Car Service


762              2017   145564          EXP-9659    12/21/2006 - 1/11/2017    Jeff Minson   Financial Analyst   11/29/2016   Ready to Roll            $   193.90 Nashville, TN            TM December travel expenses      TM ground transport hermitave in nashville as          Tony Makris                     Auto              Car Service   Passenger: Tony Makris
                                                                                                                                                                                                                           directed
763              2016   138653          EXP-7581    3/1/2016 - 6/28/2016      Jeff Minson   Financial Analyst   4/13/2016    Ready to Roll            $   193.90 Dallas, TX               TM April Travel                  Ground trans McKinney Ave to Lemmon Ave April          Anthony Makris                  Auto              Car Service   PU: 2121 McKinney Ave. Dallas, TX
                                                                                                                                                                                                                           12                                                                                                                     DO: 8611 Lemmon Ave. Dallas, TX
764   7          2016   140440          EXP-8075    5/2/16 to 7/22/16         Jeff Minson   Financial Analyst   5/7/2016     CXIII/Landini Brothers   $   193.88 Alexandria, VA           TM June Travel                   TM meal with LO CN & WLP part of $9,371.27             TM; LO; CN; WLP                 Meals/Beverages   Group
765              2016   142347          EXP-8604    7/7/2016 - 9/28/2016      Jeff Minson   Financial Analyst   7/22/2016    CXIII/Landini Brothers   $   193.55 Alexandria, VA           TM august travel                 TM meal with CN & DA                                   TM; CN; DA                      Meals/Beverages   Group
766   9          2018   155996          EXP-11652   1/26/2018 to 3/27/2018    Jeff Minson   Financial Analyst   2/16/2018    Omni Hotel               $   525.37 San Antonio, TX          TM FEB EXP                       Unknown                                                Christopher Kinney              Travel            Lodging       Arrival: 02/15/18
                                                                                                                                                                                                                                                                                                                                                  Departure: 02/16/18
                                                                                                                                                                                                                                                                                                                                                  Date: 02/15/18 - stay rate $450.00, 6% state occupancy tax $27.00, 9% city
                                                                                                                                                                                                                                                                                                                                                  occupancy tax $40.50, 1.75% county occupancy tax $7.87
                                                                                                                                                                                                                                                                                                                                                  Total: $525.37
767   1; 9       2018   155996          EXP-11652   1/26/2018 to 3/27/2018    Jeff Minson   Financial Analyst   2/16/2018    Omni Hotel               $   151.52 San Antonio, TX          TM FEB EXP                       Unknown                                                Wayne and Susan Roberts         Travel            Lodging       Arrival: 02/14/18
                                                                                                                                                                                                                                                                                                                                                  Departure: 02/16/18
                                                                                                                                                                                                                                                                                                                                                  Date: 02/15/18 - long distance phone call($78.24
                                                                                                                                                                                                                                                                                                                                                  Date: 02/15/18 - private dining $73.28
                                                                                                                                                                                                                                                                                                                                                  Total: $151.52
768              2018   154706/155170   11444       9/27/2017-                Jeff Minson   Financial Analyst   10/20/2017   Carey International      $   192.80 Dallas, TX               TM SEP OCT                       NRA meetings - ground transportation                   Tony                            Auto              Car Service   Travel from Hotel ZAZA to Love Field on 11/20/17; Only passenger listed is
                                                    1/5/2017                                                                                                                                                                                                                                                                                      Tony.
769              2018   154261          EXP-11340   11/1/2017 to 12/11/2017   Jeff Minson   Financial Analyst   11/22/2017   AC Limousine             $   192.00 South Carolina           TM November Travel               Pick-up / Stops:                                       Team Makris (2 passengers)      Auto              Car Service   Customer: Tony Makris
                                                                                                                                                                                                                           Arrival Delta Air Lines #2307 Savannah / Hilton Head                                                                   Passenger: Team Makris (2)
                                                                                                                                                                                                                           International Airport                                                                                                  Start Time: 11/21/2017 8:45pm
                                                                                                                                                                                                                           Drop-off:                                                                                                              End time: 11/21/2017 9:45pm
                                                                                                                                                                                                                           9 Frederick Place Brays Island, SC 29941
                                                                                                                                                                                                                           Customer: Tony Makris
                                                                                                                                                                                                                           Passenger: Team Makris (2)
                                                                                                                                                                                                                           Start Time: 11/21/2017 8:45pm
                                                                                                                                                                                                                           End time: 11/21/2017 9:45pm
770              2018   154706/155170   11424       11/28/2017-               Jeff Minson   Financial Analyst   12/14/2017   AC Limousine             $   192.00 Hilton Head Island, SC   TM December                      Unknown                                                Team Makris (2 passengers)      Auto              Car Service   Travel from airport to Bray's Island. Passenger total was 2. date: 12/12/17
                                                    1/5/2018
771              2018   158521          EXP-11942   5/14/2018-6/14/2018       Jeff Minson   Financial Analyst   5/24/2018    AC Limousine             $   192.00 Savannah, GA             TM May Travel part 2             PU: Savannah / Hilton Head Airport                     Team Makris (2 passengers)      Auto              Car Service   $160 trip
                                                                                                                                                                                                                           DO: 9 Frederick Place Brays Island                                                                                     $32 tip
772              2018   159388          EXP-12039   5/29/2018-                Jeff Minson   Financial Analyst   6/10/2018    AC Limousine             $   192.00 Savannah, GA             TM June Travel                   PU: TM: Hilton Head International Airport              Tony Makris                     Auto              Car Service   $160 base fare
                                                    7/11/2018                                                                                                                                                              (6/10/2018 10:51 AM)                                                                                                   $32 tip
                                                                                                                                                                                                                           DO: 9 Frederick Place Brays Island
773              2017   153476          EXP-11222   9/30/2000 - 11/14/2017    Jeff Minson   Financial Analyst   10/21/2017   AC Limousine             $   192.00 Savannah, GA             TM OCT Travel                    Passenger (total): Team Makris (2) PU: Arrival Delta   Team Makris (2 passengers)      Auto              Car Service
                                                                                                                                                                                                                           Savannah / hilton head intl airport DO: 9 frederick
                                                                                                                                                                                                                           place brays island, sc
774   7          2016   140440          EXP-8075    5/2/16 to 7/22/16         Jeff Minson   Financial Analyst   5/25/2016    CXIII/Landini Brothers   $   190.78 Alexandria, VA           TM June Travel                   TM meal with WLP MH & AF part of $11,124.91            TM; WLP; MH; AF                 Meals/Beverages   Group


775              2016   137631          EXP-7293    2/7/2016 - 4/15/2016      Jeff Minson   Financial Analyst   3/7/2016     Grand Havana             $   190.75 Los Angeles, CA          TM March Travel                  Dinner take out TM with Tom Selleck and David          TM; Tom Selleck; David Muntz    Meals/Beverages   Group
                                                                                                                                                                                                                           Muntz
776   1; 9       2017   145564          EXP-9659    12/21/2006 - 1/11/2017    Jeff Minson   Financial Analyst   11/16/2016   CXIII/Landini Brothers   $   189.74 Alexandria, VA           TM December travel expenses      Josh Powell and company meal with TM out of town       Josh Powell; Company            Meals/Beverages   Group


777              2016   139727          EXP-7842    4/1/2016 to 6/30/16       Jeff Minson   Financial Analyst   4/22/2016    CXIII/Landini Brothers   $   188.23 Alexandria, VA           TM May Travel                    TM with WLP & TS                                       TM; WLP; TS; Chuck Nash         Meals/Beverages   Group         Calendar includes Chuck Nash.
778              2017   149459          EXP-10720   4/4/2017 - 7/11/2017      Jeff Minson   Financial Analyst   5/14/2017    Malo                     $   188.08 Los Angeles, CA          Unknown                          Unknown                                                Tony Makris                     Unknown           Unknown
779   2; 9       2016   137631          EXP-7293    2/7/2016 - 4/15/2016      Jeff Minson   Financial Analyst   3/16/2016    Four Seasons             $   188.05 Las Vegas, NV            TM March Travel                  Mar 13 ground trans LAX to Ledgewood Warner            Warner Loughlin                 Auto              Car Service
                                                                                                                                                                                                                           Loughlin
780   7          2017   144737          EXP-9318    10/13/2013 - 1/5/2017     Jeff Minson   Financial Analyst   10/19/2016   CXIII/Landini Brothers   $   183.90 Alexandria, VA           TM November Travel               Meal TM with RK part of 4465.38                        TM; RK                          Meals/Beverages   Group
781   9          2018   155996          EXP-11652   1/26/2018 to 3/27/2018    Jeff Minson   Financial Analyst   2/17/2018    Omni Hotel               $    18.92 San Antonio, TX          TM FEB EXP                       Unknown                                                Christopher Kinney              Travel            Lodging       Arrival: 02/15/18
                                                                                                                                                                                                                                                                                                                                                  Departure: 02/16/18
                                                                                                                                                                                                                                                                                                                                                  Date: 02/16/18 - refreshment center water $18.92
                                                                                                                                                                                                                                                                                                                                                  Total: $18.92
782              2016   142347          EXP-8604    7/7/2016 - 9/28/2016      Jeff Minson   Financial Analyst   7/28/2016    CXIII/Landini Brothers   $   181.30 Alexandria, VA           TM august travel                 TM meal with CN & KM                                   TM; CN; KM                      Meals/Beverages   Group
783              2017   145564          EXP-9659    12/21/2006 - 1/11/2017    Jeff Minson   Financial Analyst   12/1/2016    Sheraton                 $   180.11 Birmingham, AL           TM December travel expenses      TM meal with Pat Ryan and Warner Loughlin Makris       Tony Makris; Pat Ryan; Warner   Meals/Beverages   Group         handwritten note "Tony Makris Pat Ryan Warner"


784              2017   149459          EXP-10720   4/4/2017 - 7/11/2017      Jeff Minson   Financial Analyst   5/10/2017    La Poubelle              $   180.08 Los Angeles, CA          Unknown                          Unknown                                                Tony Makris; Wayne LaPierre     Meals/Beverages   Group
785   2; 9       2018   158118          EXP-11895   5/1/2018 - 6/4/2018       Jeff Minson   Financial Analyst   5/11/2018    Ready to Roll            $   179.59 Los Angeles, CA          TM May Travel Part 1             PU: LAX (5/5/18)                                       Elicia Loughlin                 Auto              Car Service
                                                                                                                                                                                                                           DO: 3204 Ledgewood Dr. Los Angeles, CA.




                                                                                                                                                                                                                                                                                                                                                                                              APP. 01971
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786          2017   151745          EXP-11046   8/1/2017 - 9/29/2017     Jeff Minson   Financial Analyst   8/22/2017    Ready to Roll            $   179.59 Los Angeles, CA     TM AUG TRAVEL                      Passenger (total): Tony Makris (1) PU: Arrival Delta   TM                                     Auto              Car Service   Ordered by: Stephanie West
                                                                                                                                                                                                                   Airlines LA intl Airport DO: N Beachwood Dr Los
                                                                                                                                                                                                                   Angeles, CA
787          2017   151745          EXP-11046   8/1/2017 - 9/29/2017     Jeff Minson   Financial Analyst   8/18/2017    Katsuya                  $   178.58 Hollywood, CA       TM AUG TRAVEL                      Unknown                                                TM                                     Meals/Beverages   Individual    signed by Tony Makris
788          2018   156967          EXP-11729   3/1/2018 - 4/30/2018     Jeff Minson   Financial Analyst   3/25/2018    LA Tela Pizzeria         $   177.57 Charleston, SC      TM March Travel                    Unknown                                                Anthony Makris                         Meals/Beverages   Group         Date: 03/25/18
                                                                                                                                                                                                                                                                                                                                                 5 guests
                                                                                                                                                                                                                                                                                                                                                 Payment amount: $142.57
                                                                                                                                                                                                                                                                                                                                                 Tip: $35.00
                                                                                                                                                                                                                                                                                                                                                 Total: $177.57
                                                                                                                                                                                                                                                                                                                                                 Tony Makris signature present at bottom of receipt
789          2017   149459          EXP-10720   4/4/2017 - 7/11/2017     Jeff Minson   Financial Analyst   4/5/2017     CXIII/Landini Brothers   $   177.45 Alexandria, VA      Unknown                            Unknown                                                TM                                     Meals/Beverages   Individual
790          2017   143169          EXP-8888    8/1/2016 - 10/24/2016    Jeff Minson   Financial Analyst   9/7/2016     Four Seasons             $   174.97 Beverly Hills, CA   TM September Travel                Lunch TM with WLP                                      Tony Makris; Wayne                     Meals/Beverages   Group         Receipt is from The Blvd Beverly Wilshire, handwritten "Tony Makris +
                                                                                                                                                                                                                                                                                                                                                 Wayne" on receipt
791          2016   140440          EXP-8075    5/2/16 to 7/22/16        Jeff Minson   Financial Analyst   6/8/2016     Il Capriccio             $   174.14 Los Angeles, CA     TM June Travel                     TM meal with WLP                                       TM; WLP                                Meals/Beverages   Group
792   5      2018   157570          11839       1/2/2018-                Jeff Minson   Financial Analyst   4/18/2018    Beverages and More       $   173.51 Scottsdale, AZ      TM April Travel                    Unknown                                                Tony Makris                            Miscellaneous     Gift          Bottle of Glenfarclas 25yr
                                                5/11/2018                                                                                                                                                                                                                                                                                        4/18/18
793   7      2016   143559          EXP-9110    9/1/2016 - 11/16/2016    Jeff Minson   Financial Analyst   9/16/2016    CXIII/Landini Brothers   $   171.66 Alexandria, VA      TM October Travel Expense          TM meal with RL & WLP part of 511.52                   TM; RL; WLP                            Meals/Beverages   Group
794          2018   160161          12119       6/28/2018 - 8/8/2018     Jeff Minson   Financial Analyst   7/31/2018    Ready to Roll            $   171.59 Unknown             TM July Travel                     Unknown                                                TM                                     Auto              Car Service   3204 Ledgewood to LAX on 7/24
795          2017   150457          EXP-10850   6/7/2017-                Jeff Minson   Financial Analyst   6/10/2017    Gelson's Markets         $   171.18 Unknown             Unknown                            Unknown                                                TM                                     Meals/Beverages   Individual    Date: 07/19/17
                                                7/31/2017                                                                                                                                                                                                                                                                                        Total: $171.18
796          2016   140440          EXP-8075    5/2/16 to 7/22/16        Jeff Minson   Financial Analyst   6/27/2016    Enterprise               $   168.22 Kearney, NE         TM June Travel                     pick up 6/24/16; return 6/27/16 Makris; M rental car   Makris                                 Auto              Car Rental    Includes daily rate, fuel, sales tax and NE rental fee
                                                                                                                                                                                                                   for Joaquin Jackson's funeral June 24-26


797   1; 9   2016   140440          EXP-8075    5/2/16 to 7/22/16        Jeff Minson   Financial Analyst   6/8/2016     Kill Cliff               $   168.00 Unknown             TM June Travel                     Beverage for Wayne LaPierre; kill cliff energy supplies Wayne LaPierre                        Meals/Beverages   Individual
                                                                                                                                                                                                                   for WLP
798   2; 9   2017   144737          EXP-9318    10/13/2013 - 1/5/2017    Jeff Minson   Financial Analyst   11/14/2016   Ready to Roll            $   167.81 Hollywood, CA       TM November Travel                 Ground transportation LAX to 3204 Ledgewood            Elicia Warner Loughlin                 Auto              Car Service   Passenger: Elicia Warner Loughlin
                                                                                                                                                                                                                   Warner Loughlin Makris
799   7      2016   136859          EXP-6997    1/7/2016 - 3/22/2016     Jeff Minson   Financial Analyst   1/8/2016     CXIII/Landini Brothers   $   165.82 Alexandria, VA      TM February Travel                 Lunch TM with L Olson WLP & W Phillips part of         TM; L Olson; WLP; W Phillips           Meals/Beverages   Group
                                                                                                                                                                                                                   $2217.87
800   7      2017   146420/145983   EXP-9902    12/3/2016-               Jeff Minson   Financial Analyst   12/14/2016   CXIII/Landini Brothers   $   165.49 Alexandria, VA      TM January Travel                  TM lunch with Lance Olson & Dino Avilez part of        TM; Lance Olson; Dino Avilez           Meals/Beverages   Group
                                                2/14/2017                                                                                                                                                          $5,408.13
801   2; 9   2018   157570          11839       1/2/2018-                Jeff Minson   Financial Analyst   4/17/2018    Ready to Roll            $   165.00 Los Angeles, CA     TM April Travel                    Unknown                                                Warner Loughlin                        Auto              Car Service   Greeter
                                                5/11/2018                                                                                                                                                                                                                                                                                        DO: LAX
                                                                                                                                                                                                                                                                                                                                                 Date: 4/16
                                                                                                                                                                                                                                                                                                                                                 Customer: T Makris
                                                                                                                                                                                                                                                                                                                                                 Passenger: Warner Loughlin
802          2018   155996          EXP-11652   1/26/2018 to 3/27/2018   Jeff Minson   Financial Analyst   2/22/2018    Ready to Roll            $   165.00 Los Angeles, CA     TM FEB EXP                         Pick-up / Stops:                                       Tony Makris                            Auto              Car Service   Customer: Tony Makris
                                                                                                                                                                                                                                                                                                                                                 Passenger: Tony Makris (1)
                                                                                                                                                                                                                   Drop-off:                                                                                                                     Start time: 02/07/18 8:00
                                                                                                                                                                                                                   Departure Virgin America #1874 Los Angeles                                                                                    End time: 02/07/18 12:13
                                                                                                                                                                                                                   International Airport                                                                                                         Ordered by: Stephanie West


803          2017   147112          EXP-10160   1/6/17 - 3/31/17         Jeff Minson   Financial Analyst   2/18/2017    Ready to Roll            $   165.00 California          TM FEB Travel                      Greeter LAX to flight                                  Anthony Makris                         Auto              Car Service   PU: Lax Departure Greet Westchester, CA 90045
                                                                                                                                                                                                                                                                                                                                                 Drop: Lax 6 AS
                                                                                                                                                                                                                                                                                                                                                 Pickup: 10:00 Dropoff: nothing documented
804          2018   156967          EXP-11729   3/1/2018 - 4/30/2018     Jeff Minson   Financial Analyst   3/14/2018    Ready to Roll            $   165.00 Los Angeles, CA     TM March Travel                    Unknown                                                Anthony Makris                         Auto              Car Service   ref# cu2173


                                                                                                                                                                                                                                                                                                                                                 Customer: Makris/Anthony
                                                                                                                                                                                                                                                                                                                                                 Passenger (total): Makris/Anthony (1)
                                                                                                                                                                                                                                                                                                                                                 Start time: 03/13/18 10:15
                                                                                                                                                                                                                                                                                                                                                 End time: 03/13/18 11:15
                                                                                                                                                                                                                                                                                                                                                 Pick-up / Stops: Departure Greeter record locator LSHYWY
                                                                                                                                                                                                                                                                                                                                                 Drop-off: Departure American Airlines #52 Los Angeles International airport
                                                                                                                                                                                                                                                                                                                                                 Amount: $165.00


805   2; 9   2018   159388          EXP-12039   5/29/2018-               Jeff Minson   Financial Analyst   5/30/2018    Ready to Roll            $   165.00 Los Angeles, CA     TM June Travel                     PU: 90068 (5/12/2018 10:00)                            Elicia Warner Loughlin                 Auto              Car Service   Trip type: Airport
                                                7/11/2018                                                                                                                                                          DO: LAX 5/12/2018 (11:00)
806          2018   159388          EXP-12039   5/29/2018-               Jeff Minson   Financial Analyst   6/27/2018    Ready to Roll            $   165.00 Los Angeles, CA     TM June Travel                     PU: Westchester, CA 90045 (6/26/2018)                  Tony Makris                            Auto              Car Service
                                                7/11/2018                                                                                                                                                          DO: LAX (6/26/2018)
807          2017   150457          EXP-10850   6/7/2017-                Jeff Minson   Financial Analyst   6/22/2017    Ready to Roll            $   165.00 Los Angeles, CA     Unknown                            Unknown                                                Anthony Makris                         Auto              Car Service   Customer: Makris/Anthony
                                                7/31/2017                                                                                                                                                                                                                                                                                        Passenger (total): Makris/Anthony
                                                                                                                                                                                                                                                                                                                                                 Start time: 06/12/2017 12:00
                                                                                                                                                                                                                                                                                                                                                 Drop-off time: 06/12/2017 14:00
                                                                                                                                                                                                                                                                                                                                                 Pick-up / Stops: Los Angeles CA 90068
                                                                                                                                                                                                                                                                                                                                                 Drop-off: LAX, Departure Delta Air Lines #1257 Los Angeles International
                                                                                                                                                                                                                                                                                                                                                 Airport
                                                                                                                                                                                                                                                                                                                                                 Amount: $165.00
808          2017   152775          EXP-11176   8/30/2017 - 10/20/2017   Jeff Minson   Financial Analyst   9/14/2017    Ready to Roll            $   165.00 Los Angeles, CA     TM SEPT Travel                     Passenger (total): Tony Makris (1) PU: LAX             Tony Makris                            Auto              Car Service   Ordered by: Stephanie West
                                                                                                                                                                                                                   Departure Greeter DO: LAX, Departure Alaska
                                                                                                                                                                                                                   Airlines Los Angeles intl
809          2017   153476          EXP-11222   9/30/2000 - 11/14/2017   Jeff Minson   Financial Analyst   10/16/2017   Ready to Roll            $   165.00 Los Angeles, CA     TM OCT Travel                      Passenger: Tony Makris PU: Departure gate greet        TM                                     Auto              Car Service
                                                                                                                                                                                                                   DO: LA Intl
810          2017   149459          EXP-10720   4/4/2017 - 7/11/2017     Jeff Minson   Financial Analyst   5/19/2017    La Poubelle              $   164.85 Los Angeles, CA     Unknown                            Unknown                                                Tony Makris                            Meals/Beverages   Individual
811          2016   137631          EXP-7293    2/7/2016 - 4/15/2016     Jeff Minson   Financial Analyst   3/8/2016     Argentina Gov Svcs       $   164.64 Argentina           TM March Travel                    Reciprocity permit Argentina - permit to allow         Anthony Makris                         Travel            Other         Reciprocity permit Argentina in email from Provincia Net to Anthony Makris.
                                                                                                                                                                                                                   hunting firearms into and out of country
812          2017   143169          EXP-8888    8/1/2016 - 10/24/2016    Jeff Minson   Financial Analyst   9/3/2016     Ready to Roll            $   163.81 Los Angeles, CA     TM September Travel                Ground transportation LAX to 3204 Ledgewood            TM                                     Auto              Car Service
                                                                                                                                                                                                                   Drive, Hollywood
813   2; 9   2018   157570          11894       4/10/2018-               Jeff Minson   Financial Analyst   4/10/2018    Carey International      $   163.44 Dallas, TX          TM April Supplement                Unknown                                                L Warner                               Auto              Car Service   Trip from Dallas Ritz Carlton to DFW for L Warner on 4/10/2018
                                                5/15/2018
814   9      2016   137631/136135   EXP-6836    12/1/2015 - 3/10/2016    Jeff Minson   Financial Analyst   1/18/2016    Venetian                 $   162.23 Las Vegas, NV       TM TRAVEL January 2016 Florida     Hospitality check via Hayley Holmes coffee water soft Hayley Holmes                           Event             Food          Charge is for hospitality labor; number of guests is not listed on receipt
                                                                                                                                                                                Dallas Vegas (SHOT Show) and Los   drinks chips pretzels cookies
                                                                                                                                                                                Angeles
815          2017   148014          EXP-10319   2/11/2017 - 5/10/2017    Jeff Minson   Financial Analyst   3/5/2017     SO Florida Shooting      $   159.00 Florida             TM March travel                    Supplies for shooting for Tony Makris Lance Olsen      Tony Makris; Lance Olsen; Ron Holder   Miscellaneous     Other         Date: 03/05/17
                                                                                                                                                                                                                   and Ron Holder                                                                                                                Sub-Total: $150.00
                                                                                                                                                                                                                                                                                                                                                 Sales Tax: $9.00
                                                                                                                                                                                                                                                                                                                                                 Chit Total: $159.00




                                                                                                                                                                                                                                                                                                                                                                                               APP. 01972
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816          2017   147112          EXP-10160   1/6/17 - 3/31/17         Jeff Minson   Financial Analyst   2/27/2017    Ready to Roll            $    156.00 South Carolina      TM FEB Travel               Tony Makris with 3 passengers Airport SC to Bray's   Tony Makris; 3 passengers   Auto              Car Service   Customer: Makris/Tony
                                                                                                                                                                                                             Island                                                                                                           Passenger (total): team Makris/3 passengers
                                                                                                                                                                                                                                                                                                                              Start time: 02/27/2017 1:27pm
                                                                                                                                                                                                                                                                                                                              Drop-off time: 02/27/2017 2:27pm
                                                                                                                                                                                                                                                                                                                              Pick-up / Stops: Stephanie, when available, please provide the jet tail number,
                                                                                                                                                                                                                                                                                                                              Arriva Sheltair Savannah Aviation
                                                                                                                                                                                                                                                                                                                              Drop-off: 9 Frederick Place, Brays Island, SC 29941
                                                                                                                                                                                                                                                                                                                              Amount: $156.00
817   2; 9   2016   139727          EXP-7842    4/1/2016 to 6/30/16      Jeff Minson   Financial Analyst   5/9/2016     Ready to Roll            $    155.81 Los Angeles, CA     TM May Travel               ground trans Ledgewood drive to lax drop off warner Warner Loughlin Elicia       Auto              Car Service   PU 3204 ledgewood dr hollywood ca
                                                                                                                                                                                                             Loughlin Makris                                                                                                  DO LAX; Passenger Warner Loughlin Elicia
818          2017   143169          EXP-8888    8/1/2016 - 10/24/2016    Jeff Minson   Financial Analyst   9/12/2016    Ready to Roll            $    155.81 Los Angeles, CA     TM September Travel         Ground transportation Ledgewood driver to LAX        TM                          Auto              Car Service
                                                                                                                                                                                                             domestic
819          2016   143559          EXP-9110    9/1/2016 - 11/16/2016    Jeff Minson   Financial Analyst   10/8/2016    Beverly Hills Hotel      $    155.35 Beverly Hills, CA   TM October Travel Expense   Lunch TM with WLP & WLM                              TM; WLP; WLM                Meals/Beverages   Group
820   2; 9   2016   138653          EXP-7581    3/1/2016 - 6/28/2016     Jeff Minson   Financial Analyst   4/15/2016    Ready to Roll            $    155.00 Westchester, CA     TM April Travel             LAX greeter LAX April 12                             Elicia Warner Loughlin      Auto              Car Service   PU: Lax departure greeter Westchester CA
                                                                                                                                                                                                                                                                                                                              DO: LAX
821   2; 9   2016   139727          EXP-7842    4/1/2016 to 6/30/16      Jeff Minson   Financial Analyst   5/9/2016     Ready to Roll            $    155.00 Los Angeles, CA     TM May Travel               Ground trans greeter for warner Loughlin Makris      Warner Loughlin; Elicia     Auto              Car Service   PU: LAX departure greeter Westchester CA
                                                                                                                                                                                                                                                                                                                              DO: LAX 6 AS
                                                                                                                                                                                                                                                                                                                              Passenger: Warner Loughlin, Elicia
822          2017   143169          EXP-8888    8/1/2016 - 10/24/2016    Jeff Minson   Financial Analyst   9/13/2016    Ready to Roll            $    155.00 Los Angeles, CA     TM September Travel         Ground transportation LAX Intl to LAX domestic       TM                          Auto              Car Service


823          2016   143559          EXP-9110    9/1/2016 - 11/16/2016    Jeff Minson   Financial Analyst   10/20/2016   Ready to Roll            $    155.00 Westchester, CA     TM October Travel Expense   Greeter LAX airport                                  AM                          Auto              Car Service
824          2018   156967          EXP-11729   3/1/2018 - 4/30/2018     Jeff Minson   Financial Analyst   3/1/2018     Ready to Roll            $    154.48 Los Angeles, CA     TM March Travel             Unknown                                              Anthony Makris              Auto              Car Service   ref# cu2173


                                                                                                                                                                                                                                                                                                                              Customer: Makris/Anthony
                                                                                                                                                                                                                                                                                                                              Passenger (total): Makris/Anthony (1)
                                                                                                                                                                                                                                                                                                                              Start time: 02/27/18 21:30
                                                                                                                                                                                                                                                                                                                              End time: 02/27/18 23:30
                                                                                                                                                                                                                                                                                                                              Pick-up / Stops: AA #2649, Arrival American Airlines #2649 Los Angeles
                                                                                                                                                                                                                                                                                                                              International airport
                                                                                                                                                                                                                                                                                                                              Drop-off: 3204 Ledgewood Dr. Los Angeles, CA 90068
825   1; 9   2017   149459          EXP-10720   4/4/2017 - 7/11/2017     Jeff Minson   Financial Analyst   4/4/2017     CXIII/Landini Brothers   $    152.57 Alexandria, VA      Unknown                     4/4/18; $340.13 - JP                                 JP                          Meals/Beverages   Individual
826   7      2017   144737          EXP-9318    10/13/2013 - 1/5/2017    Jeff Minson   Financial Analyst   10/11/2016   CXIII/Landini Brothers   $    151.67 Alexandria, VA      TM November Travel          Meal TM with JP and AA part of 4465.38               TM; JP; AA                  Meals/Beverages   Group
827          2017   146420/145983   EXP-9902    12/3/2016-               Jeff Minson   Financial Analyst   1/11/2017    Hotel Zaza               $    151.55 Dallas, TX          TM January Travel           TM Supplement beverage charges to room               Tony Makris                 Meals/Beverages   Individual    Guest: Tony Makris Arrive: 1/8/17 Depart: 1/12/16
                                                2/14/2017
828          2018   155996          EXP-11652   1/26/2018 to 3/27/2018   Jeff Minson   Financial Analyst   2/17/2018    Omni Hotel               $      5.91 San Antonio, TX     TM FEB EXP                  Unknown                                              Tony Makris                 Travel            Lodging       Arrival: 02/15/18
                                                                                                                                                                                                                                                                                                                              Departure: 02/16/18
                                                                                                                                                                                                                                                                                                                              Date: 02/16/18 - refreshment center water $5.91
                                                                                                                                                                                                                                                                                                                              Total: $5.91
829          2018   155996          EXP-11652   1/26/2018 to 3/27/2018   Jeff Minson   Financial Analyst   2/11/2018    American Airlines        $    150.00 Unknown             TM FEB EXP                  Unknown                                              Tony Makris                 Travel            Airfare       Passenger: Tony Makris
                                                                                                                                                                                                                                                                                                                              Date: 11-Feb-18
                                                                                                                                                                                                                                                                                                                              Place of issue: Dallas/ Ft. Worth
830          2018   155996          EXP-11652   1/26/2018 to 3/27/2018   Jeff Minson   Financial Analyst   2/27/2018    American Airlines        $    150.00 Unknown             TM FEB EXP                  Unknown                                              Tony Makris                 Travel            Airfare       Passenger: Tony Makris
                                                                                                                                                                                                                                                                                                                              Total Sale Amount: $150.00
                                                                                                                                                                                                                                                                                                                              Ticket description: Non-transport
831   2; 9   2017   146420/145983   EXP-9902    12/3/2016-               Jeff Minson   Financial Analyst   1/4/2017     American Airlines        $    150.00 Unknown             TM January Travel           ELM Ticket                                           Elicia Warner Loughlin      Travel            Airfare       Passenger: Elicia Warner Loughlin
                                                2/14/2017
832          2018   156967          EXP-11729   3/1/2018 - 4/30/2018     Jeff Minson   Financial Analyst   3/13/2018    American Airlines        $    150.00 Los Angeles, CA     TM March Travel             Passenger TM excess baggage                          TM                          Travel            Airfare       Date: 03/13/18
                                                                                                                                                                                                                                                                                                                              Amount: $150.00
833          2017   149459          EXP-10720   4/4/2017 - 7/11/2017     Jeff Minson   Financial Analyst   5/28/2017    American Airlines        $    150.00 Phoenix, AZ         Unknown                     Baggage fee                                          AM                          Travel            Airfare
834          2017   149459          EXP-10720   4/4/2017 - 7/11/2017     Jeff Minson   Financial Analyst   5/11/2017    Delta Airlines           $    150.00 Atlanta, GA         Unknown                     5/11/17- $150 in excess baggage AM                   AM                          Travel            Other         Email from ticket receipt to SW with receipt for excess baggage.
835          2016   141517          EXP-8278    6/7/2016 - 8/5/2016      Jeff Minson   Financial Analyst   7/18/2016    United Airlines          $    150.00 Houston, TX         TM JULY TRAVEL              Baggage fee for Makris from Savannah to Dulles       Makris                      Travel            Airfare
836          2017   152775          EXP-11176   8/30/2017 - 10/20/2017   Jeff Minson   Financial Analyst   9/25/2017    American Airlines        $    150.00 Unknown             TM SEPT Travel              Unknown                                              TM                          Travel            Airfare
837          2016   143559          EXP-9110    9/1/2016 - 11/16/2016    Jeff Minson   Financial Analyst   10/27/2016   American Airlines        $    150.00 Unknown             TM October Travel Expense   Baggage fee                                          AM                          Travel            Other
838   7      2017   144737          EXP-9318    10/13/2013 - 1/5/2017    Jeff Minson   Financial Analyst   10/31/2016   CXIII/Landini Brothers   $    148.42 Alexandria, VA      TM November Travel          Meal TM with MD & JP part of 4465.38                 TM; MD; JP                  Meals/Beverages   Group
839          2017   149459          EXP-10720   4/4/2017 - 7/11/2017     Jeff Minson   Financial Analyst   5/18/2017    Mistral                  $    147.18 Sherman Oaks, CA    Unknown                     Unknown                                              Tony Makris                 Meals/Beverages   Individual
840          2017   150457          EXP-10850   6/7/2017-                Jeff Minson   Financial Analyst   6/13/2017    AC Limousine             $    147.00 South Carolina      Unknown                     Unknown                                              Tony Makris                 Auto              Car Service   Customer: Makris/Tony
                                                7/31/2017                                                                                                                                                                                                                                                                     Passenger (total): Makris/Tony
                                                                                                                                                                                                                                                                                                                              Start time: 06/13/2017 12:40am
                                                                                                                                                                                                                                                                                                                              Drop-off time: 06/13/2017 1:40am
                                                                                                                                                                                                                                                                                                                              Pick-up / Stops: Arrival Delta Air Lines #1320 Savannah / Hilton Head
                                                                                                                                                                                                                                                                                                                              International Airport
                                                                                                                                                                                                                                                                                                                              Drop-off: 9 Frederick Place, Brays Island, SC 29941
                                                                                                                                                                                                                                                                                                                              Amount: $147.00
841   2; 9   2018   157570          11839       1/2/2018-                Jeff Minson   Financial Analyst   4/17/2018    Ready to Roll            $    146.48 Los Angeles, CA     TM April Travel             Unknown                                              Warner Loughlin             Auto              Car Service   3204 Ledgewood Dr to LA Int'l
                                                5/11/2018                                                                                                                                                                                                                                                                     Date: 4/16
                                                                                                                                                                                                                                                                                                                              Customer: T Makris
                                                                                                                                                                                                                                                                                                                              Passenger: Warner Loughlin
                                                                                                                                                                                                                                                                                                                              Passenger count: 1
                                                                                                                                                                                                                                                                                                                              Base charge: 1 @ 105
842   2; 9   2018   159388          EXP-12039   5/29/2018-               Jeff Minson   Financial Analyst   5/29/2018    Ready to Roll            $    146.48 Unknown             TM June Travel              PU: Location not provided (5/27/2018 6:45)           Elicia Warner Loughlin      Auto              Car Service   Invoice billed to Tony Makris 3204 Ledgewood Dr. LA, CA.
                                                7/11/2018                                                                                                                                                    DO: Location not provided (5/27/2018 8:30)
843          2018   159388          EXP-12039   5/29/2018-               Jeff Minson   Financial Analyst   6/28/2018    Ready to Roll            $    146.48 Los Angeles, CA     TM June Travel              PU: 3204 Ledgewood Dr. Los Angeles, CA.              Tony Makris                 Auto              Car Service
                                                7/11/2018                                                                                                                                                    DO: LAX
844          2017   153476          EXP-11222   9/30/2000 - 11/14/2017   Jeff Minson   Financial Analyst   10/13/2017   Ready to Roll            $    146.48 Burbank, CA         TM OCT Travel               Passenger: Tony Makris PU: Atlantic Aviation         TM                          Auto              Car Service
                                                                                                                                                                                                             DO:3204 Ledgewood
845          2017   153476          EXP-11222   9/30/2000 - 11/14/2017   Jeff Minson   Financial Analyst   10/16/2017   Ready to Roll            $    146.48 Burbank, CA         TM OCT Travel               Passenger: Tony Makris PU: Bob Hope Airport DO:      TM                          Auto              Car Service
                                                                                                                                                                                                             3204 Ledgewood
846          2018   155996          EXP-11652   1/26/2018 to 3/27/2018   Jeff Minson   Financial Analyst   2/18/2018    Four Seasons             $   2,766.57 Orlando, FL        TM FEB EXP                  Unknown                                              Tony Makris                 Travel            Lodging       Arrival date: 02/16/18
                                                                                                                                                                                                                                                                                                                              Departure date: 02/18/18
                                                                                                                                                                                                                                                                                                                              Amount: $2766.57
847   7      2017   143169          EXP-8888    8/1/2016 - 10/24/2016    Jeff Minson   Financial Analyst   8/5/2016     CXIII/Landini Brothers   $    145.66 Alexandria, VA      TM September Travel         Meal TM with TS & BS part of $7463.82                TM; TS; BS                  Meals/Beverages   Group
848   7      2017   143169          EXP-8888    8/1/2016 - 10/24/2016    Jeff Minson   Financial Analyst   8/9/2016     CXIII/Landini Brothers   $    145.05 Alexandria, VA      TM September Travel         Meal TM with CN part of $715.26                      TM; CN                      Meals/Beverages   Group




                                                                                                                                                                                                                                                                                                                                                                            APP. 01973
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849   5; 9   2018   155996          EXP-11652   1/26/2018 to 3/27/2018    Jeff Minson   Financial Analyst   2/9/2018     In Knife Alley House     $   144.95 Fort Worth, TX      TM FEB EXP                         Gifts for Mark Dycio                                   Mark Dycio                     Miscellaneous     Gift          Receipt from House of Blades for $144.95. Purchased 2 items (BOK-Boker
                                                                                                                                                                                                                                                                                                                                          01BO733 Urban Brad Zinker $104.95 @ 36.37% discount = $60.00), (BUK-
                                                                                                                                                                                                                                                                                                                                          Buck Knives Vertex 0418RDS Red Manual Folding Knife $28.95 @35.67
                                                                                                                                                                                                                                                                                                                                          discount = $16.05)
                                                                                                                                                                                                                                                                                                                                          No signature
                                                                                                                                                                                                                                                                                                                                          Handwritten note stating "anthony-makris@am.com" & "gifts Mark dycio"


850          2016   136859          EXP-6997    1/7/2016 - 3/22/2016      Jeff Minson   Financial Analyst   1/29/2016    Red Door                 $   144.00 Toluca Lake, CA     TM February Travel                 Dinner TM with John Milius                             TM; John Milius                Meals/Beverages   Group
851          2016   137631          EXP-7293    2/7/2016 - 4/15/2016      Jeff Minson   Financial Analyst   3/12/2016    North Kierland           $   143.10 Phoenix, AZ         TM March Travel                    Lunch TM with MD AND WLP                               TM; MD; WLP                    Meals/Beverages   Group
852          2016   137631          EXP-7293    2/7/2016 - 4/15/2016      Jeff Minson   Financial Analyst   3/7/2016     Grand Havana             $   142.83 Los Angeles, CA     TM March Travel                    Dinner TM with Tom Selleck and David Muntz             TM; Tom Selleck; David Muntz   Meals/Beverages   Group
853          2018   155996          EXP-11652   1/26/2018 to 3/27/2018    Jeff Minson   Financial Analyst   2/10/2018    Grace                    $   141.21 Fort Worth, TX      TM FEB EXP                         Unknown                                                Tony Makris; Mark Dycio        Meals/Beverages   Group         Date: 02/10/18
                                                                                                                                                                                                                                                                                                                                          Base: $101.21
                                                                                                                                                                                                                                                                                                                                          Tip: $40.00
                                                                                                                                                                                                                                                                                                                                          Total: $141.21
                                                                                                                                                                                                                                                                                                                                          Tony Makris signature present
854          2017   146420/145983   EXP-9902    12/3/2016-                Jeff Minson   Financial Analyst   1/21/2017    Beachwood Market         $   140.58 Los Angeles, CA     TM January Travel                  Groceries in leiu of meals while in Las Angeles        TM                             Meals/Beverages   Individual    handwritten "TM"
                                                2/14/2017
855          2016   136859          EXP-6997    1/7/2016 - 3/22/2016      Jeff Minson   Financial Analyst   2/12/2016    Ready to Roll            $   139.58 Los Angeles, CA     TM February Travel                 Feb 11 Pickup LAX Airport to 3204 Ledgewood            Tony Makris                    Auto              Car Service   PU: LAX
                                                                                                                                                                                                                                                                                                                                          DO: Hollywood, CA for Tony Makris
856   2; 9   2016   138653          EXP-7581    3/1/2016 - 6/28/2016      Jeff Minson   Financial Analyst   4/25/2016    Ready to Roll            $   139.58 Los Angeles, CA     TM April Travel                    Ground Trans PU LAX drop off 3204 Ledgewood            Warner Laughlin                Auto              Car Service
                                                                                                                                                                                                                    Drive Hollywood CA April 23
857   9      2016   137631/136135   EXP-6836    12/1/2015 - 3/10/2016     Jeff Minson   Financial Analyst   1/20/2016    Venetian                 $   138.40 Las Vegas, NV       TM TRAVEL January 2016 Florida     In suite dining hospitality charges                    Hayley Holmes                  Meals/Beverages   Individual    Receipt states that the charges are for Hayley Holmes inclusive of 6 guests
                                                                                                                                                                                 Dallas Vegas (SHOT Show) and Los
                                                                                                                                                                                 Angeles
858          2017   151745          EXP-11019   5/9/2017 - 5/31/2017      Jeff Minson   Financial Analyst   5/30/2017    Fred at Barneys          $   137.82 Beverly Hills, CA   TM Bray's Island & OOP expenses    Unknown                                                TM; WL                         Meals/Beverages   Group         Handwritten on receipt "TM WL"
                                                                                                                                                                                 May 14 - May 30
859   7      2017   146420/145983   EXP-9902    12/3/2016-                Jeff Minson   Financial Analyst   12/20/2016   CXIII/Landini Brothers   $   137.68 Alexandria, VA      TM January Travel                  TM lunch with C Nash & J Cotton part of $5,408.13 TM; C Nash; J Cotton                Meals/Beverages   Group
                                                2/14/2017
860   1; 9   2016   137631/136135   EXP-6836    12/1/2015 - 3/10/2016     Jeff Minson   Financial Analyst   12/20/2015   CXIII/Landini Brothers   $   137.06 Alexandria, VA      TM TRAVEL January 2016 Florida     LUNCH WLP.                                             Wayne LaPierre                 Meals/Beverages   Individual    Statement is for 'Wayne LaPierre'.
                                                                                                                                                                                 Dallas Vegas (SHOT Show) and Los
                                                                                                                                                                                 Angeles
861   7      2016   137631          EXP-7293    2/7/2016 - 4/15/2016      Jeff Minson   Financial Analyst   2/27/2016    CXIII/Landini Brothers   $   136.53 Alexandria, VA      TM March Travel                    Lunch TM with CN & TS part of $7430.39                 TM; CN; TS                     Meals/Beverages   Group
862   7      2016   138653          EXP-7581    3/1/2016 - 6/30/2016      Jeff Minson   Financial Analyst   3/29/2016    CXIII/Landini Brothers   $   135.81 Alexandria, VA      TM April Travel                    TM lunch with SH part of $5999.21                      TM; SH                         Meals/Beverages   Group
863          2017   147112          EXP-10160   1/6/17 - 3/31/17          Jeff Minson   Financial Analyst   2/16/2017    Grand Havana             $   134.45 Unknown             TM FEB Travel                      Lunch with Ken Elliott                                 TM; Ken Elliott                Meals/Beverages   Group         Date: 02/16/2017
                                                                                                                                                                                                                                                                                                                                          1 item purchased (Lotus One Touch Lighter $105.00)
                                                                                                                                                                                                                                                                                                                                          Subtotal: $105.00
                                                                                                                                                                                                                                                                                                                                          Tax: $9.45
                                                                                                                                                                                                                                                                                                                                          Total: $114.45
                                                                                                                                                                                                                                                                                                                                          Tip: $20.00
                                                                                                                                                                                                                                                                                                                                          Total: $134.45
864   7      2016   138653          EXP-7581    3/1/2016 - 6/30/2016      Jeff Minson   Financial Analyst   3/2/2016     CXIII/Landini Brothers   $   132.60 Alexandria, VA      TM April Travel                    TM lunch with TS & WLP part of $5999.21                TM; TS; WLP                    Meals/Beverages   Group
865          2016   142347          EXP-8604    7/7/2016 - 9/28/2016      Jeff Minson   Financial Analyst   8/24/2016    Ritz Carlton             $   132.07 Dallas, TX          TM august travel                   TM honor bar food charge                               TM                             Meals/Beverages   Individual
866          2018   157570          11839       1/2/2018-                 Jeff Minson   Financial Analyst   4/9/2018     AC Limousine             $   132.00 Brays Island, SC    TM April Travel                    Tony Makris/Team Makris ground transport to            Team Makris (2 passengers)     Auto              Car Service
                                                5/11/2018                                                                                                                                                           Savannah/Hilton Head Int't Airport
867          2018   157570          11839       1/2/2018-                 Jeff Minson   Financial Analyst   4/20/2018    AC Limousine             $   132.00 Savannah, GA        TM April Travel                    Unknown                                                Team Makris (2 passengers)     Auto              Car Service   Trip from Savannah Signature Flight to 9 Fredrick Place, Bray's Island SC
                                                5/11/2018                                                                                                                                                                                                                                                                                 Date: 4/19
                                                                                                                                                                                                                                                                                                                                          Passenger total 2 - no additional names provided


868          2017   144737          EXP-9318    10/13/2013 - 1/5/2017     Jeff Minson   Financial Analyst   11/4/2016    AC Limousine             $   132.00 Savannah, GA        TM November Travel                 Ground transportation airport pickup 2 passengers to Tony Makris & Wife               Auto              Car Service
                                                                                                                                                                                                                    Bray Island
869          2017   144737          EXP-9318    10/13/2013 - 1/5/2017     Jeff Minson   Financial Analyst   11/12/2016   AC Limousine             $   132.00 Brays Island, SC    TM November Travel                 Ground Transportation 2 passengers to bray island to Tony Makris & Wife               Auto              Car Service
                                                                                                                                                                                                                    hilton head int'l
870          2017   144737          EXP-9318    10/13/2013 - 1/5/2017     Jeff Minson   Financial Analyst   11/16/2016   AC Limousine             $   132.00 Savannah, GA        TM November Travel                 Ground transportation airport transfer savannah GA     Tony Makris                    Auto              Car Service
                                                                                                                                                                                                                    1 passenger to Bray Island
871          2018   154261          EXP-11340   11/1/2017 to 12/11/2017   Jeff Minson   Financial Analyst   11/10/2017   AC Limousine             $   132.00 South Carolina      TM November Travel                 Pick-up / Stops:                                       Tony Makris                    Auto              Car Service   Customer: Tony Makris
                                                                                                                                                                                                                    9 Frederick Place, Brays Island, SC 29941                                                                             Passenger: Tony Markis
                                                                                                                                                                                                                    Drop-off:                                                                                                             Start Time: 11/10/2017 12:30pm
                                                                                                                                                                                                                    Departure Savannah / Hilton Head International                                                                        End time: 11/10/2017 1:30pm
                                                                                                                                                                                                                    Airport
                                                                                                                                                                                                                    Customer: Tony Makris
                                                                                                                                                                                                                    Passenger: Tony Markis
                                                                                                                                                                                                                    Start Time: 11/10/2017 12:30pm
                                                                                                                                                                                                                    End time: 11/10/2017 1:30pm
872          2018   154261          EXP-11340   11/1/2017 to 12/11/2017   Jeff Minson   Financial Analyst   11/6/2017    AC Limousine             $   132.00 South Carolina      TM November Travel                 Pick-up / Stops:                                       Tony Makris; Mrs Makris        Auto              Car Service   Customer: Tony Makris
                                                                                                                                                                                                                    9 Frederick Place, Brays Island, SC 29941                                                                             Passenger: Mrs. Makris
                                                                                                                                                                                                                    Drop-off:                                                                                                             Start Time: 11/06/2017 12:00pm
                                                                                                                                                                                                                    Departure Savannah / Hilton Head International                                                                        End time: 11/06/2017 1:00pm
                                                                                                                                                                                                                    Airport
                                                                                                                                                                                                                    Customer: Tony Makris
                                                                                                                                                                                                                    Passenger: Mrs. Makris
                                                                                                                                                                                                                    Start Time: 11/06/2017 12:00pm
                                                                                                                                                                                                                    End time: 11/06/2017 1:00pm
873          2018   154706/155170   11424       11/28/2017-               Jeff Minson   Financial Analyst   11/28/2017   AC Limousine             $   132.00 Brays Island, SC    TM December                        Unknown                                                Team Makris (2 passengers)     Auto              Car Service   Invoice shows pickup from Brays Island SC to HHI Airport on 11/28/17.
                                                1/5/2018                                                                                                                                                                                                                                                                                  Passenger total was 2
874          2018   154706/155170   11424       11/28/2017-               Jeff Minson   Financial Analyst   12/31/2017   AC Limousine             $   132.00 Brays Island, SC    TM December                        Unknown                                                Team Makris (2 passengers)     Auto              Car Service   Trip from Brays Island to HHI Airport on 12/29
                                                1/5/2018                                                                                                                                                                                                                                                                                  Total passengers @ 2
875          2017   146420/145983   EXP-9902    12/3/2016-                Jeff Minson   Financial Analyst   1/4/2017     AC Limousine             $   132.00 Brays Island, SC    TM January Travel                  TM & WLM Ground Transportation Bray's Island to        Mr & Mrs Makris                Auto              Car Service   Passenger (total): Mr. & Mrs. Makris (2) Airport Drop-Off
                                                2/14/2017                                                                                                                                                           airport drop off
876          2017   148014          EXP-10319   2/11/2017 - 5/10/2017     Jeff Minson   Financial Analyst   3/20/2017    AC Limousine             $   132.00 South Carolina      TM March travel                    AC Limousine & Shuttle Shuttle for T Makris with 2     Team Makris (2 passengers)     Auto              Car Service   Customer: Makris/Tony
                                                                                                                                                                                                                    guests from Bray Island SC to Savannah International                                                                  Passenger (total): team Makris/2 passengers
                                                                                                                                                                                                                    Airport                                                                                                               Start time: 03/20/2017 12:00pm
                                                                                                                                                                                                                                                                                                                                          Drop-off time: 03/20/2017 1:00pm
                                                                                                                                                                                                                                                                                                                                          Pick-up / Stops: 9 Frederick Place, Brays Island, SC 29941
                                                                                                                                                                                                                                                                                                                                          Drop-off: Departure Savannah / Hilton Head International Airport




                                                                                                                                                                                                                                                                                                                                                                                     APP. 01974
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877              2018   156967          EXP-11729   3/1/2018 - 4/30/2018     Jeff Minson   Financial Analyst   3/20/2018    AC Limousine               $   132.00 South Carolina     TM March Travel                    Unknown                                               Team Makris (2 passengers)   Auto              Car Service   Customer: Makris/Tony
                                                                                                                                                                                                                                                                                                                                           Passenger (total): Team Makris (2)
                                                                                                                                                                                                                                                                                                                                           Start time: 03/20/18 12:14pm
                                                                                                                                                                                                                                                                                                                                           Drop-off time: 03/20/18 1:14pm
                                                                                                                                                                                                                                                                                                                                           Pick-up / Stops: Arrival Delta Air Lines #1752 Savannah / Hilton Head
                                                                                                                                                                                                                                                                                                                                           International Airport
                                                                                                                                                                                                                                                                                                                                           Drop-off: 9 Frederick Place, Brays Island SC 29941
                                                                                                                                                                                                                                                                                                                                           Total: $132.00
878              2017   149459          EXP-10720   4/4/2017 - 7/11/2017     Jeff Minson   Financial Analyst   5/10/2017    AC Limousine               $   132.00 Brays Island, SC   Unknown                            Unknown                                               TM                           Auto              Car Service   TM was picked up in Brays Island and dropped off at Savannah / Hilton Head
                                                                                                                                                                                                                                                                                                                                           International Airport
879              2018   158118          EXP-11895   5/1/2018 - 6/4/2018      Jeff Minson   Financial Analyst   5/2/2018     AC Limousine               $   132.00 Brays Island, SC   TM May Travel Part 1               PU: 9 Frederick Place Brays Island, SC (5/1/18 3:30   Team Makris (2 passengers)   Auto              Car Service
                                                                                                                                                                                                                        PM)
                                                                                                                                                                                                                        DO: Hilton Head International Airport (5/1/18 4:30
                                                                                                                                                                                                                        PM)
880              2018   158521          EXP-11942   5/14/2018-6/14/2018      Jeff Minson   Financial Analyst   5/24/2018    AC Limousine               $   132.00 Savannah, GA       TM May Travel part 2               PU: Savannah / Hilton Head Airport                    Tony Makris                  Auto              Car Service   $110 trip
                                                                                                                                                                                                                        DO: 9 Frederick Place Brays Island                                                                                 $22 tip
881              2018   159388          EXP-12039   5/29/2018-               Jeff Minson   Financial Analyst   5/29/2018    AC Limousine               $   132.00 Savannah, GA       TM June Travel                     PU: 9 Frederick Place Brays Island SC (5/29/2018      Tony Makris                  Auto              Car Service   Trip Type: Airport Dropoff
                                                    7/11/2018                                                                                                                                                           2:00PM)                                                                                                            AC Limo Invoice No: 113765
                                                                                                                                                                                                                        DO: Savannah Hilton Head International Airport
                                                                                                                                                                                                                        (3:00PM)
882              2018   160161          12119       6/28/2018 - 8/8/2018     Jeff Minson   Financial Analyst   7/31/2018    AC Limousine               $   132.00 Brays Island, SC   TM July Travel                     Unknown                                               Tony Makris; Passenger       Auto              Car Service   Trip for 2 from Brays Island to HHI Airport
883              2017   150457          EXP-10850   6/7/2017-                Jeff Minson   Financial Analyst   6/19/2017    AC Limousine               $   132.00 South Carolina     Unknown                            Unknown                                               Team Makris (2 passengers)   Auto              Car Service   Customer: Makris/Tony
                                                    7/31/2017                                                                                                                                                                                                                                                                              Passenger (total): Team Makris (2)
                                                                                                                                                                                                                                                                                                                                           Start time: 06/19/2017 12:00pm
                                                                                                                                                                                                                                                                                                                                           Drop-off time: 06/19/2017 1:00pm
                                                                                                                                                                                                                                                                                                                                           Pick-up / Stops: 9 Frederick Place, Brays Island, SC 29941
                                                                                                                                                                                                                                                                                                                                           Drop-off: Departure Savannah / Hilton Head International Airport
                                                                                                                                                                                                                                                                                                                                           Amount: $132.00
884              2017   150823          EXP-10975   7/1/2017 - 8/24/2017     Jeff Minson   Financial Analyst   7/26/2017    AC Limousine               $   132.00 Beaufort, SC       Unknown                            Passenger (total): Team Makris (2) Vehicle: 4-        Team Makris (2 passengers)   Auto              Car Service
                                                                                                                                                                                                                        Passenger SUV Trip Type: Airport Drop-Off PU: 9
                                                                                                                                                                                                                        Fredericksplace Brays Island SC DO: Departure
                                                                                                                                                                                                                        Savannah / Hilton Head International Airport


885              2017   150823          EXP-10975   7/1/2017 - 8/24/2017     Jeff Minson   Financial Analyst   7/9/2017     AC Limousine               $   132.00 Beaufort, SC       Unknown                            Passenger (total): Team Makris (2) Vehicle: 4-        Team Makris (2 passengers)   Auto              Car Service
                                                                                                                                                                                                                        Passenger SUV Trip Type: Airport Pickup PU: Arrival
                                                                                                                                                                                                                        Delta Airlines #2041 Savannah / Hilton Head
                                                                                                                                                                                                                        International Airport DO: 9 Fredericksplace Brays
                                                                                                                                                                                                                        Island SC
886              2018   160896          EXP-12196   7/23/2018 to 9/13/2018   Jeff Minson   Financial Analyst   8/3/2018     AC Limousine               $   132.00 Unknown            TM August Travel                   PU: Hilton Head Airport                               Tony Makris                  Auto              Car Service
                                                                                                                                                                                                                        DO: 27 Scotts Necks Place Brays Island SC
887              2018   160896          EXP-12196   7/23/2018 to 9/13/2018   Jeff Minson   Financial Analyst   8/12/2018    AC Limousine               $   132.00 Unknown            TM August Travel                   PU: 27 Scotts Neck Place Brays Island, SC             Tony Makris                  Auto              Car Service
                                                                                                                                                                                                                        DO: Hilton Head International Airport
888              2016   142347          EXP-8604    7/7/2016 - 9/28/2016     Jeff Minson   Financial Analyst   8/23/2016    AC Limousine               $   132.00 Brays Island, SC   TM august travel                   TM Ground trans bray island ot airport (4             TM                           Auto              Car Service
                                                                                                                                                                                                                        passengers)
889              2016   142347          EXP-8604    7/7/2016 - 9/28/2016     Jeff Minson   Financial Analyst   8/24/2016    AC Limousine               $   132.00 Brays Island, SC   TM august travel                   TM gorund trans aiprort to bray island (4 passengers) TM                           Auto              Car Service   Passenger TM picked up at 1:45pm on 8/22 and dropped off at 2:45


890              2017   153476          EXP-11222   9/30/2000 - 11/14/2017   Jeff Minson   Financial Analyst   10/15/2017   AC Limousine               $   132.00 Savannah, GA       TM OCT Travel                      Passenger (total): Team Makris (2) PU/ST: Arrival     Team Makris (2 passengers)   Auto              Car Service
                                                                                                                                                                                                                        Delta Air Lines Savannah / Hilton Head Intl Airport
                                                                                                                                                                                                                        DO: 9 Frederick Place Brays Island, SC


891              2017   153476          EXP-11222   9/30/2000 - 11/14/2017   Jeff Minson   Financial Analyst   10/19/2017   AC Limousine               $   132.00 Brays Island, SC   TM OCT Travel                      Passenger (total): Team Makris (2) PU: 9 Frederick    Team Makris (2 passengers)   Auto              Car Service
                                                                                                                                                                                                                        Place Brays Island, SC DO: Departure Savannah /
                                                                                                                                                                                                                        Hilton Head Intl Airport
892   2; 9       2016   138653          EXP-7581    3/1/2016 - 6/28/2016     Jeff Minson   Financial Analyst   4/13/2016    Ready to Roll              $   131.58 Los Angeles, CA    TM April Travel                    Ground trans pickup 3204 Ledgewood to LAX April       Elicia Warner Loughlin       Auto              Car Service
                                                                                                                                                                                                                        12
893              2016   143559          EXP-9110    9/1/2016 - 11/16/2016    Jeff Minson   Financial Analyst   10/20/2016   Ready to Roll              $   131.58 Los Angeles, CA    TM October Travel Expense          Ground transportation 3204 Ledgewood Hollywood        AM                           Auto              Car Service
                                                                                                                                                                                                                        to LAX
894              2017   147112          EXP-10160   1/6/17 - 3/31/17         Jeff Minson   Financial Analyst   1/28/2017    Oaks Gourmet               $   131.48 Los Angeles, CA    TM FEB Travel                      Tony Makris Groceries in Lieu of meals in LA          Tony Makris                  Meals/Beverages   Individual    Email sent from Anthony Makris to Stephanie West, forwarding electronic
                                                                                                                                                                                                                                                                                                                                           receipt. He stated "dinner" and total was $131.48 paid with American Express
                                                                                                                                                                                                                                                                                                                                           ending in 4009
895   5; 9       2018   157570          11839       1/2/2018-                Jeff Minson   Financial Analyst   4/28/2018    Palmetta Purse             $   130.00 Unknown            TM April Travel                    Email correspondence to Stephanie West: gift for      Gigi                         Miscellaneous     Gift
                                                    5/11/2018                                                                                                                                                           GiGi…NRA Advancement
896              2017   153476          EXP-11222   9/30/2000 - 11/14/2017   Jeff Minson   Financial Analyst   10/20/2017   Sam Sneads                 $   129.63 Savannah, GA       TM OCT Travel                      Unknown                                               TM                           Unknown           Unknown
897              2016   137631          EXP-6869    1/4/2016 - 1/31/2016     Jeff Minson   Financial Analyst   1/4/2016     Bray's Island Plantation   $   128.82 Sheldon, SC        TM January Supplemental            Plantation Grille - food/beverage TM, Meyer, Boomer, TM; Meyer; Boomer; Hayes      Meals/Beverages   Group
                                                                                                                                                                                                                        Hayes
898   1; 9       2017   143169          EXP-8888    8/1/2016 - 10/24/2016    Jeff Minson   Financial Analyst   9/7/2016     Kill Cliff                 $   128.63 Unknown            TM September Travel                Case of WLP Kill Cliff kept for WLP use               WLP                          Meals/Beverages   Individual
899   1; 9       2017   143169          EXP-8888    8/1/2016 - 10/24/2016    Jeff Minson   Financial Analyst   9/7/2016     Kill Cliff                 $   125.08 Unknown            TM September Travel                Case of WLP Kill Cliff kept for WLP use               WLP                          Meals/Beverages   Individual
900              2016   136859          EXP-6997    1/7/2016 - 3/22/2016     Jeff Minson   Financial Analyst   2/3/2016     Border Grill               $   125.04 Unknown            TM February Travel                 Lunch TM with Dave Muntz & T Selleck                  TM; Dave Muntz; T Selleck    Meals/Beverages   Group
901   5; 9; 13   2018   154706/155170   11424       11/28/2017-              Jeff Minson   Financial Analyst   11/28/2017   Harry & David              $   120.12 Unknown            TM December                        Unknown                                               JD Williams                  Miscellaneous     Gift          Order confirmation shows an online order of a gift basket to JD Williams in
                                                    1/5/2018                                                                                                                                                                                                                                                                               Rocky Ranch Pearsall, TX. The email correspondence mentions an original
                                                                                                                                                                                                                                                                                                                                           charge of 120.12 and a final payment of 114.2 after credits. Jeff Minson's email
                                                                                                                                                                                                                                                                                                                                           shows three charges from H&D for 96.98, 104.98, and 89.98, but none of
                                                                                                                                                                                                                                                                                                                                           these were addressed by Stephanie West


902              2016   138653          EXP-7581    3/1/2016 - 6/30/2016     Jeff Minson   Financial Analyst   4/9/2016     Lonesome Dove              $   119.59 Fort Worth, TX     TM April Travel                    Lunch TM with Melanie Montgomery                      TM; Melanie Montgomery       Meals/Beverages   Group
903   1; 9       2016   137631/136135   EXP-6836    12/1/2015 - 3/10/2016    Jeff Minson   Financial Analyst   1/7/2016     Kill Cliff                 $   118.72 Unknown            TM TRAVEL January 2016 Florida     Premium energy bev for WLP only.                      WLP                          Meals/Beverages   Individual    Emailed receipt from Kill Cliff.
                                                                                                                                                                                     Dallas Vegas (SHOT Show) and Los
                                                                                                                                                                                     Angeles
904   1; 9       2016   142347          EXP-8604    7/7/2016 - 9/28/2016     Jeff Minson   Financial Analyst   8/24/2016    Kill Cliff                 $   118.00 Unknown            TM august travel                   Kill cliff energey drink supply for WLP               WLP                          Meals/Beverages   Individual
905   9          2017   150457          EXP-10850   6/7/2017-                Jeff Minson   Financial Analyst   6/22/2017    Kill Cliff                 $   117.98 Alexandria, VA     Unknown                            Unknown                                               Patrick McCarty              Meals/Beverages   Individual    Date: 06/22/17
                                                    7/31/2017                                                                                                                                                                                                                                                                              Qty: 2
                                                                                                                                                                                                                                                                                                                                           Blood orange - 24-pack
                                                                                                                                                                                                                                                                                                                                           Subtotal: $117.98
906   2; 9       2016   140440          EXP-8075    5/2/16 to 7/22/16        Jeff Minson   Financial Analyst   6/16/2016    Delta Airlines             $   116.00 Unknown            TM June Travel                     ticket for Elicia Loughlin from Phoenix to Los        Elicia Loughlin              Travel            Airfare
                                                                                                                                                                                                                        Angeles; airfare warner Loughlin phx to lax
907              2017   153476          EXP-11222   9/30/2000 - 11/14/2017   Jeff Minson   Financial Analyst   10/20/2017   Sky Canyon                 $   114.18 Dallas, TX         TM OCT Travel                      Unknown                                               TM                           Unknown           Unknown
908   7          2017   146420/145983   EXP-9902    12/3/2016-               Jeff Minson   Financial Analyst   12/8/2016    CXIII/Landini Brothers     $   113.63 Alexandria, VA     TM January Travel                  TM lunch with C Nash K Miller part of $5,408.13       TM; C Nash; K Miller         Meals/Beverages   Group
                                                    2/14/2017




                                                                                                                                                                                                                                                                                                                                                                                       APP. 01975
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909              2017   145564          EXP-9731    10/1/16 - 11/30/16       Jeff Minson   Financial Analyst   10/1/2016    Package Cottage            $    112.80 Avalon, CA         TM OCT NOV travel tips and         TM breakfast with Ken Elliott                        TM; Ken Elliott                                 Meals/Beverages   Group
                                                                                                                                                                                      reimbursable expenses
910              2017   146420          EXP-9922    12/2/2016-               Jeff Minson   Financial Analyst   12/2/2016    Pancake Cottage            $    112.80 Avalon, CA         TM Bray Island expenses December   TM meal with Tony Makris & Pat Ryan                  TM; Pat Ryan                                    Meals/Beverages   Group
                                                    12/28/2016                                                                                                                        2016
911              2017   148749          EXP-10485   3/9/2017 - 7/11/2017     Jeff Minson   Financial Analyst   3/13/2017    CXIII/Landini Brothers     $    112.25 Alexandria, VA     Unknown                            Unknown                                              Tony Makris; Chuck Nash; Ray K                  Meals/Beverages   Group                Date: 03/13/17
                                                                                                                                                                                                                                                                                                                                                                     Landini Brothers
                                                                                                                                                                                                                                                                                                                                                                     Charge: $86.35
                                                                                                                                                                                                                                                                                                                                                                     Scv: $17.27
                                                                                                                                                                                                                                                                                                                                                                     Tax: $8.63
                                                                                                                                                                                                                                                                                                                                                                     Total: $112.25
912              2016   140440          EXP-8075    5/2/16 to 7/22/16        Jeff Minson   Financial Analyst   6/17/2016    Café Pacifico              $    112.20 Dallas, TX         TM June Travel                     meal for TM with WLP                                 TM; WLP                                         Meals/Beverages   Group
913   7          2016   137631/136135   EXP-6836    12/1/2015 - 3/10/2016    Jeff Minson   Financial Analyst   12/13/2015   CXIII/Landini Brothers     $    111.55 Alexandria, VA     TM TRAVEL January 2016 Florida     Lunch TM with WLP & SLP part of $2,791.96            TM; W LaPierre; S LaPierre                      Meals/Beverages   Group                Note on calendar states 'T. Makris, W. LaPierre, S. LaPierre'.
                                                                                                                                                                                      Dallas Vegas (SHOT Show) and Los
                                                                                                                                                                                      Angeles
914   9          2016   137631          EXP-6869    1/4/2016 - 1/31/2016     Jeff Minson   Financial Analyst   1/31/2016    Bray's Island Plantation   $    110.00 Sheldon, SC        TM January Supplemental            Hunting Fees for Boyd Meyer, Gen Boomer & Robin      Boyd Meyer; Gen Boomer; Robin Hayes             Miscellaneous     Other
                                                                                                                                                                                                                         Hayes
915   9          2016   137631          EXP-6869    1/4/2016 - 1/31/2016     Jeff Minson   Financial Analyst   1/31/2016    Bray's Island Plantation   $    110.00 Sheldon, SC        TM January Supplemental            Hunting Fees for Boyd Meyer, Gen Boomer & Robin      Boyd Meyer; Gen Boomer; Robin Hayes             Miscellaneous     Other
                                                                                                                                                                                                                         Hayes
916   9          2016   137631          EXP-6869    1/4/2016 - 1/31/2016     Jeff Minson   Financial Analyst   1/31/2016    Bray's Island Plantation   $    110.00 Sheldon, SC        TM January Supplemental            Hunting Fees for Boyd Meyer, Gen Boomer & Robin      Boyd Meyer; Gen Boomer; Robin Hayes             Miscellaneous     Other
                                                                                                                                                                                                                         Hayes
917              2017   147112          EXP-10160   1/6/17 - 3/31/17         Jeff Minson   Financial Analyst   2/11/2017    Kabuki                     $    109.72 Hollywood, CA      TM FEB Travel                      Lunch with Ken Elliott                               TM; Ken Elliott                                 Meals/Beverages   Group                Date: 02/11/17
                                                                                                                                                                                                                                                                                                                                                                     Amount: $89.72
                                                                                                                                                                                                                                                                                                                                                                     Tip: $20.00
                                                                                                                                                                                                                                                                                                                                                                     Total: $109.72
                                                                                                                                                                                                                                                                                                                                                                     Tony Makris signature present at bottom of receipt
                                                                                                                                                                                                                                                                                                                                                                     "TM - Ken Elliott" handwritten on top
918              2017   145564          EXP-9659    12/21/2006 - 1/11/2017   Jeff Minson   Financial Analyst   11/28/2016   Galley and Garden          $    108.20 Unknown            TM December travel expenses        TM meal with Pat Ryan                                TM; Pat Ryan; C Ryan                            Meals/Beverages   Group                handwritten "Tony Makris Pat Ryan C Ryan"
919              2017   145564          EXP-9659    12/21/2006 - 1/11/2017   Jeff Minson   Financial Analyst   12/1/2016    The Standard               $    108.00 Nashville, TN      TM December travel expenses        TM meal with MM LC and HH                            T Makris; Mel Montgomery; Lacey Duffy; Hayley   Meals/Beverages   Group                handwritten note "T Makris, Mel Montgomery, Lacey Duffy, Hayley Holmes
                                                                                                                                                                                                                                                                              Holmes                                                                                 Bal on Account"
920              2017   144737          EXP-9318    10/13/2013 - 1/5/2017    Jeff Minson   Financial Analyst   10/31/2016   Applebee's                 $    107.15 Mt. Pleasant, TX   TM November Travel                 Dinner TM with WL while on road                      TM; WL                                          Meals/Beverages   Group                handwritten note on receipt "TM WL"
921   1; 9       2018   157570          11839       1/2/2018-                Jeff Minson   Financial Analyst   4/19/2018    Four Seasons               $    107.04 Scottsdale, AZ     TM April Travel                    Unknown                                              Wayne Roberts                                   Meals/Beverages   Individual           Breakfast charge routed from Wayne Roberts room
                                                    5/11/2018
922              2017   143169          EXP-8888    8/1/2016 - 10/24/2016    Jeff Minson   Financial Analyst   9/11/2016    Beachwood Market           $    106.90 Los Angeles, CA    TM September Travel                Groceries in lieu of meals while in Los Angeles on   TM                                              Meals/Beverages   Individual
                                                                                                                                                                                                                         travel
923   5; 9       2018   154707/155520   11516       1/1/2018 to 2/8/2018     Jeff Minson   Financial Analyst   1/2/2018     Harry & David              $    106.19 Porter Ranch, CA   TM Jan Travel                      Unknown                                              Elizabeth Elliott                               Miscellaneous     Gift                 Deluxe Favorites Gift basked sent to Elizabeth Elliot on 01/01/18
924              2016   136859          EXP-6997    1/7/2016 - 3/22/2016     Jeff Minson   Financial Analyst   1/30/2016    Nordstrom                  $    106.16 Unknown            TM February Travel                 Lunch TM with WLP Ken Elliott & Gigi Carlton         TM; WLP; Ken Elliott; Gigi Carlton              Meals/Beverages   Group
925   1; 9       2018   155996          EXP-11652   1/26/2018 to 3/27/2018   Jeff Minson   Financial Analyst   2/18/2018    Four Seasons               $   1,833.86 Orlando, FL       TM FEB EXP                         Unknown                                              Wayne Roberts                                   Travel            Lodging              Arrival date: 02/15/18
                                                                                                                                                                                                                                                                                                                                                                     Departure date: 02/18/18
                                                                                                                                                                                                                                                                                                                                                                     Amount: $1833.86
926   5; 9; 13   2018   154706/155170   11424       11/28/2017-              Jeff Minson   Financial Analyst   12/19/2017   Harry & David              $    104.98 Unknown            TM December                        Unknown                                              JD Williams                                     Miscellaneous     Gift                 Holiday gift basket to JD Williams wishing Merry Christmas.
                                                    1/5/2018
927   7          2016   140440          EXP-8075    5/2/16 to 7/22/16        Jeff Minson   Financial Analyst   5/17/2016    CXIII/Landini Brothers     $    104.60 Alexandria, VA     TM June Travel                     TM meal with JP part of $11,124.91                   TM; JP                                          Meals/Beverages   Group
928              2018   158118          EXP-11895   5/1/2018 - 6/4/2018      Jeff Minson   Financial Analyst   5/1/2018     PGA Tour Grill             $    102.35 Savannah, GA       TM May Travel Part 1               Unknown                                              TM                                              Meals/Beverages   Individual
929              2016   142347          EXP-8604    7/7/2016 - 9/28/2016     Jeff Minson   Financial Analyst   7/22/2016    CXIII/Landini Brothers     $    101.38 Alexandria, VA     TM august travel                   TM meal with TS                                      TM; TS                                          Meals/Beverages   Group
930              2018   157570          11839       1/2/2018-                Jeff Minson   Financial Analyst   4/8/2018     PGA Tour Grill             $    100.97 Savannah, GA       TM April Travel                    T. Makris and Walt Boomer                            T Makris; Walt Boomer                           Meals/Beverages   Group
                                                    5/11/2018
931              2016   140440          EXP-8075    5/2/16 to 7/22/16        Jeff Minson   Financial Analyst   6/24/2016    Applebee's                 $    100.52 Kearney, NE        TM June Travel                     TM meal with WLP and SLP during Joaquin Jackson's    TM; WLP; SLP                                    Meals/Beverages   Group
                                                                                                                                                                                                                         funeral (NRA board members)
932              2018   154707/155520   11516       1/1/2018 to 2/8/2018     Jeff Minson   Financial Analyst   1/26/2018    North Kierland             $    100.36 Phoenix, AZ        TM Jan Travel                      Unknown                                              Tony Makris; Wayne LaPierre                     Meals/Beverages   Group                The receipt is not itemized. Amex statement note indicates presence of
                                                                                                                                                                                                                                                                                                                                                                     Wayne LaPierre
933              2018   154707/155520   11516       1/1/2018 to 2/8/2018     Jeff Minson   Financial Analyst   1/8/2018     CXIII/Landini Brothers     $    100.00 Alexandria, VA     TM Jan Travel                      Unknown                                              TM                                              Meals/Beverages   Other                Description states that the amount was for an individual minimum
934              2017   147112          EXP-10160   1/6/17 - 3/31/17         Jeff Minson   Financial Analyst   1/31/2017    CXIII/Landini Brothers     $    100.00 Alexandria, VA     TM FEB Travel                      Minimum charge required for account- no activity     TM                                              Meals/Beverages   Other                Minimum charge required for account - no activity for month


935              2018   154706/155170   11424       11/28/2017-              Jeff Minson   Financial Analyst   12/6/2017    CXIII/Landini Brothers     $    100.00 Alexandria, VA     TM December                        Unknown                                              TM                                              Meals/Beverages   Other                Individual minimum charge on 11/30
                                                    1/5/2018
936              2017   148749          EXP-10485   3/9/2017 - 7/11/2017     Jeff Minson   Financial Analyst   3/31/2017    CXIII/Landini Brothers     $    100.00 Alexandria, VA     Unknown                            Individual Minimum                                   Tony Makris                                     Meals/Beverages   Other                Individual minimum charge of $100.00 on 03/31/17
937              2017   149459          EXP-10720   4/4/2017 - 7/11/2017     Jeff Minson   Financial Analyst   4/30/2017    CXIII/Landini Brothers     $    100.00 Alexandria, VA     Unknown                            Unknown                                              TM                                              Meals/Beverages   Individual
938              2018   160161          12119       6/28/2018 - 8/8/2018     Jeff Minson   Financial Analyst   7/31/2018    CXIII/Landini Brothers     $    100.00 Alexandria, VA     TM July Travel                     Unknown                                              TM                                              Meals/Beverages   Other                payment is for individual minimum on 6/30
939              2017   150823          EXP-10975   7/1/2017 - 8/24/2017     Jeff Minson   Financial Analyst   7/6/2017     CXIII/Landini Brothers     $    100.00 Alexandria, VA     Unknown                            6/30 Balance Forward: Individual Minimum             Tony Makris                                     Meals/Beverages   Other                Handwritten note next to circled charge says "no activity for June @ REX"


940              2017   151745          EXP-11046   8/1/2017 - 9/29/2017     Jeff Minson   Financial Analyst   8/8/2017     CXIII/Landini Brothers     $    100.00 Alexandria, VA     TM AUG TRAVEL                      Balance Forward: Individual Minimum                  Tony Makris                                     Meals/Beverages   Other
941              2017   152775          EXP-11176   8/30/2017 - 10/20/2017   Jeff Minson   Financial Analyst   9/7/2017     CXIII/Landini Brothers     $    100.00 Alexandria, VA     TM SEPT Travel                     Balance Forward: Individual Minimum                  Tony Makris                                     Meals/Beverages   Other
942              2017   149459          EXP-10720   4/4/2017 - 7/11/2017     Jeff Minson   Financial Analyst   5/16/2017    La Poubelle                $      97.22 Los Angeles, CA   Unknown                            Unknown                                              Tony Makris                                     Meals/Beverages   Individual
943   5          2018   154706/155170   11424       11/28/2017-              Jeff Minson   Financial Analyst   12/19/2017   Harry & David              $      96.98 Unknown           TM December                        Unknown                                              TM                                              Miscellaneous     Gift                 Holiday gift basket to Bray's P Bray's Plantation Island with a note that reads,
                                                    1/5/2018                                                                                                                                                                                                                                                                                                         "Merry Christmas! Thanks for all you do for us Tony and Warner Makris"


944   9          2018   155996          EXP-11652   1/26/2018 to 3/27/2018   Jeff Minson   Financial Analyst   2/18/2018    Four Seasons               $   1,095.75 Orlando, FL       TM FEB EXP                         Unknown                                              Christopher Kinney                              Travel            Lodging              Arrival date: 02/16/18
                                                                                                                                                                                                                                                                                                                                                                     Departure date: 02/18/18
                                                                                                                                                                                                                                                                                                                                                                     Amount: $1095.75
945              2017   147112          EXP-10160   1/6/17 - 3/31/17         Jeff Minson   Financial Analyst   1/29/2017    Kabuki                     $      95.99 Hollywood, CA     TM FEB Travel                      Tony Makris lunch with Ken Eliott while in           Tony Makris; Ken Elliott                        Meals/Beverages   Group                Date: 01/29/2017
                                                                                                                                                                                                                         Hollywood                                                                                                                                   Amount: $79.99
                                                                                                                                                                                                                                                                                                                                                                     Tip: $16.00
                                                                                                                                                                                                                                                                                                                                                                     Total: $95.99
                                                                                                                                                                                                                                                                                                                                                                     Tony Makris signature present
                                                                                                                                                                                                                                                                                                                                                                     "TM - Ken Elliott" handwritten on top of receipt
946              2016   138653          EXP-7581    3/1/2016 - 6/30/2016     Jeff Minson   Financial Analyst   4/9/2016     Meso Mayo                  $      95.94 Dallas, TX        TM April Travel                    Lunch TM with Marizio (NRA events scouting)          TM; Marizio                                     Meals/Beverages   Group
947   7          2016   138653          EXP-7581    3/1/2016 - 6/30/2016     Jeff Minson   Financial Analyst   3/15/2106    CXIII/Landini Brothers     $      95.70 Alexandria, VA    TM April Travel                    TM lunch with WLP part of $3289.50                   TM; WLP                                         Meals/Beverages   Group
948              2016   136859          EXP-6997    1/7/2016 - 3/22/2016     Jeff Minson   Financial Analyst   2/11/2016    Ca Del Sole                $      94.70 Los Angeles, CA   TM February Travel                 Lunch TM with Ken Elliott                            TM; Ken Elliott                                 Meals/Beverages   Group
949   9          2016   137631/136135   EXP-6836    12/1/2015 - 3/10/2016    Jeff Minson   Financial Analyst   1/7/2016     Verizon                    $      94.08 Unknown           TM TRAVEL January 2016 Florida     SW Cell Service 11.24-12.23.                         SW                                              Miscellaneous     Telecommunications
                                                                                                                                                                                      Dallas Vegas (SHOT Show) and Los
                                                                                                                                                                                      Angeles
950              2016   143559          EXP-9110    9/1/2016 - 11/16/2016    Jeff Minson   Financial Analyst   10/27/2016   Legal Sea Food             $      94.05 Washington, DC    TM October Travel Expense          Lunch TM only DC Airport                             TM                                              Meals/Beverages   Individual
951              2017   149459          EXP-10720   4/4/2017 - 7/11/2017     Jeff Minson   Financial Analyst   5/13/2017    Kabuki                     $      92.38 Hollywood, CA     Unknown                            Unknown                                              Tony Makris; Wayne LaPierre                     Unknown           Unknown              Support states NRA Speeches


952   7          2016   137631/136135   EXP-6836    12/1/2015 - 3/10/2016    Jeff Minson   Financial Analyst   12/3/2015    CXIII/Landini Brothers     $      91.03 Alexandria, VA    TM TRAVEL January 2016 Florida     Lunch TM with TS & CN part of $2,791.96              Tony Makris; T Schropp; C Nash                  Meals/Beverages   Group                Note on calendar states 'T. Makris, T. Schropp, C. Nash'
                                                                                                                                                                                      Dallas Vegas (SHOT Show) and Los
                                                                                                                                                                                      Angeles




                                                                                                                                                                                                                                                                                                                                                                                                                  APP. 01976
                                                                           Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21                                                                                      Page 698 of 1087 PageID 30903

953          2018   154707/155520   11516       1/1/2018 to 2/8/2018     Jeff Minson   Financial Analyst   1/24/2018    North Kierland           $   90.59 Phoenix, AZ         TM Jan Travel                    Unknown                                           Tony; Wayne                                      Meals/Beverages   Group         The receipt is for North Italia, dining for 1, but amex statement indicates
                                                                                                                                                                                                                                                                                                                                                   Wayne accompanied tony
954          2018   155996          EXP-11652   1/26/2018 to 3/27/2018   Jeff Minson   Financial Analyst   1/31/2018    North Kierland           $   90.05 Scottsdale, AZ      TM FEB EXP                       Unknown                                           Tony Makris; Wayne LaPierre                      Meals/Beverages   Group         Date: January 31. 2018
                                                                                                                                                                                                                                                                                                                                                   Amount: $70.05
                                                                                                                                                                                                                                                                                                                                                   Tip: $20.00
                                                                                                                                                                                                                                                                                                                                                   Total: $90.05
                                                                                                                                                                                                                                                                                                                                                   Tony Makris signature present
955   5; 9   2018   154706/155170   11424       11/28/2017-              Jeff Minson   Financial Analyst   12/19/2017   Harry & David            $   89.98 Unknown             TM December                      Unknown                                           Ken Elliott                                      Miscellaneous     Gift          Holiday gift basked from Tony and Warner to Ken Elliott
                                                1/5/2018
956   7      2017   146420/145983   EXP-9902    12/3/2016-               Jeff Minson   Financial Analyst   12/3/2016    CXIII/Landini Brothers   $   89.08 Alexandria, VA      TM January Travel                TM lunch with J. Perran Part of $5,408.13         TM; J Perran                                     Meals/Beverages   Group
                                                2/14/2017
957   7      2016   137631          EXP-7293    2/7/2016 - 4/15/2016     Jeff Minson   Financial Analyst   2/8/2016     CXIII/Landini Brothers   $   87.50 Alexandria, VA      TM March Travel                  Lunch TM with WLP part of $5853.02                TM; WLP                                          Meals/Beverages   Group
958          2017   149459          EXP-10720   4/4/2017 - 7/11/2017     Jeff Minson   Financial Analyst   5/10/2017    Cat Cora's Kitchen       $   87.50 Atlanta, GA         Unknown                          Unknown                                           Tony Makris; WLP                                 Meals/Beverages   Group
959          2017   143169          EXP-8888    8/1/2016 - 10/24/2016    Jeff Minson   Financial Analyst   9/23/2016    Kabuki                   $   87.50 Hollywood, CA       TM September Travel              Lunch TM with WLP                                 TM; WLP                                          Meals/Beverages   Group         handwritten "TM, WL" on receipt
960          2017   143169          EXP-8888    8/1/2016 - 10/24/2016    Jeff Minson   Financial Analyst   9/22/2016    True Food Quarters       $   87.00 Arizona             TM September Travel              Lunch TM with KE                                  TM; Ken Elliott                                  Meals/Beverages   Group         handwritten on receipt "TM, Ken Elliott"
961          2018   157570          11839       1/2/2018-                Jeff Minson   Financial Analyst   4/10/2018    Dubliner Resaurant       $   86.44 Washington, DC      TM April Travel                  Tony Makris                                       TM                                               Meals/Beverages   Individual
                                                5/11/2018
962          2017   147112          EXP-10160   1/6/17 - 3/31/17         Jeff Minson   Financial Analyst   2/16/2017    Beverly Hills Hotel      $   85.25 Beverly Hills, CA   TM FEB Travel                    Lunch with WLM                                    TM; WLM                                          Meals/Beverages   Group         Date: 02/15/17
                                                                                                                                                                                                                                                                                                                                                   2 guests
                                                                                                                                                                                                                                                                                                                                                   Sub total: $60.00
                                                                                                                                                                                                                                                                                                                                                   Tax: $5.25
                                                                                                                                                                                                                                                                                                                                                   Service charge: $20.00
                                                                                                                                                                                                                                                                                                                                                   Check total: $85.25
963          2018   154707/155520   11516       1/1/2018 to 2/8/2018     Jeff Minson   Financial Analyst   1/21/2018    Casa fuente              $   85.10 Las Vegas, NV       TM Jan Travel                    Unknown                                           Tony Makris; Tom Selleck                         Meals/Beverages   Group         Customer copy with no itemized detail. Amex statement has a note indicating
                                                                                                                                                                                                                                                                                                                                                   the presence of Tom Selleck.
964          2018   158118          EXP-11895   5/1/2018 - 6/4/2018      Jeff Minson   Financial Analyst   5/5/2018     Café Herrera             $   84.95 Dallas, TX          TM May Travel Part 1             Unknown                                           Tony Makris                                      Meals/Beverages   Individual
965          2016   142347          EXP-8604    7/7/2016 - 9/28/2016     Jeff Minson   Financial Analyst   8/24/2016    Dallas Airport           $   83.09 Dallas, TX          TM august travel                 TM lunch with WLM Dal airport                     TM; WLM                                          Meals/Beverages   Group         Friday's bar at Dallas airport.
966          2017   150457          EXP-10850   6/7/2017-                Jeff Minson   Financial Analyst   6/4/2017     Kabuki                   $   81.99 Hollywood, CA       Unknown                          Unknown                                           TM                                               Meals/Beverages   Individual    Date: 06/04/17
                                                7/31/2017                                                                                                                                                                                                                                                                                          Amount: $66.99
                                                                                                                                                                                                                                                                                                                                                   Tip: $15.00
                                                                                                                                                                                                                                                                                                                                                   Total: $81.99
967          2017   151745          EXP-11046   8/1/2017 - 9/29/2017     Jeff Minson   Financial Analyst   8/22/2017    Kabuki                   $   81.54 Hollywood, CA       TM AUG TRAVEL                    Unknown                                           TM                                               Unknown           Unknown       signed by Tony Makris
968          2016   139727          EXP-7842    4/1/2016 to 6/30/16      Jeff Minson   Financial Analyst   4/27/2016    CXIII/Landini Brothers   $   78.64 Alexandria, VA      TM May Travel                    TM with WLP                                       TM; WLP                                          Meals/Beverages   Group
969          2017   143169          EXP-8888    8/1/2016 - 10/24/2016    Jeff Minson   Financial Analyst   9/21/2016    True Food Quarters       $   78.37 Arizona             TM September Travel              Lunch TM with WLP                                 TM; W LaP                                        Meals/Beverages   Group         handwritten on receipt "TM W. LaP"
970          2017   144737          EXP-9318    10/13/2013 - 1/5/2017    Jeff Minson   Financial Analyst   11/23/2016   Murphy's Chophouse       $   77.49 North Carolina      TM November Travel               lunch with TM with Bill Hughes                    TM; Bill Hughes                                  Meals/Beverages   Group         handwritten note says "TM Bill Hughes"
971          2017   146420/145983   EXP-9902    12/3/2016-               Jeff Minson   Financial Analyst   1/4/2017     Dewar's Club             $   77.04 Savannah, GA        TM January Travel                TM lunch with WLM Savannah Airport                Tony; Warner                                     Meals/Beverages   Group         handwritten "Tony & Warner"
                                                2/14/2017
972          2017   148749          EXP-10485   3/9/2017 - 7/11/2017     Jeff Minson   Financial Analyst   3/10/2017    CXIII/Landini Brothers   $   76.79 Alexandria, VA      Unknown                          Unknown                                           Tony Makris; John Perren; Lament                 Meals/Beverages   Group         Date: 03/10/17
                                                                                                                                                                                                                                                                                                                                                   Landini Brothers
                                                                                                                                                                                                                                                                                                                                                   Charge: $58.90
                                                                                                                                                                                                                                                                                                                                                   Scv: $12.00
                                                                                                                                                                                                                                                                                                                                                   Tax: $5.89
                                                                                                                                                                                                                                                                                                                                                   Total: $76.79
973          2017   153476          EXP-11222   9/30/2000 - 11/14/2017   Jeff Minson   Financial Analyst   10/19/2017   PGA Tour Grill           $   76.06 Savannah, GA        TM OCT Travel                    Unknown                                           TM                                               Meals/Beverages   Individual
974          2017   150823          EXP-10975   7/1/2017 - 8/24/2017     Jeff Minson   Financial Analyst   7/26/2017    PGA Tour Grill           $   75.76 Savannah, GA        Unknown                          PGA Tour food order                               Tony Makris; Guest                               Meals/Beverages   Group         Guests: 2 Location: Savannah Intl S
975   7      2016   143559          EXP-9110    9/1/2016 - 11/16/2016    Jeff Minson   Financial Analyst   9/27/2016    CXIII/Landini Brothers   $   75.75 Alexandria, VA      TM October Travel Expense        TM meal with JP & guest part of 511.52            TM; JP; Guest                                    Meals/Beverages   Group
976          2017   152775          EXP-11176   8/30/2017 - 10/20/2017   Jeff Minson   Financial Analyst   9/9/2017     Oaks Gourmet             $   75.37 Los Angeles, CA     TM SEPT Travel                   Unknown                                           Tony Makris                                      Meals/Beverages   Individual    email from Abbry Karr, management at oaks gourmet, to Tony Makris
                                                                                                                                                                                                                                                                                                                                                   showing picture of 2 receipts
977          2017   151745          EXP-11046   8/1/2017 - 9/29/2017     Jeff Minson   Financial Analyst   8/23/2017    Oaks Gourmet             $   75.31 Los Angeles, CA     TM AUG TRAVEL                    Unknown                                           TM; WL                                           Meals/Beverages   Group         handwritten "TM WL"
978          2018   154707/155520   11516       1/1/2018 to 2/8/2018     Jeff Minson   Financial Analyst   1/25/2018    North Kierland           $   75.27 Phoenix, AZ         TM Jan Travel                    Unknown                                           Tony Makris; Wayne LaPierre                      Meals/Beverages   Group         The receipt is not itemized. Amex statement note indicates presence of
                                                                                                                                                                                                                                                                                                                                                   Wayne LaPierre
979   9      2016   140440          EXP-8075    5/2/16 to 7/22/16        Jeff Minson   Financial Analyst   6/14/2016    Travel Agency Service    $   75.00 Unknown             TM June Travel                   Travel fee for Mike Baker                         Mike Baker                                       Travel            Airfare       Woodland Hills Travel Fee
980          2017   152775          EXP-11176   8/30/2017 - 10/20/2017   Jeff Minson   Financial Analyst   9/13/2017    Alaska Airlines          $   75.00 Unknown             TM SEPT Travel                   Baggage Fee                                       TM                                               Travel            Airfare       "Please accept this letter as confirmation of your recent charges. We have
                                                                                                                                                                                                                                                                                                                                                   charged your AMEX ending in 5006 a total of $75.00 for a baggage fee
                                                                                                                                                                                                                                                                                                                                                   collected on 9/13/2017" Reference # 3122031
981          2018   157570          11839       1/2/2018-                Jeff Minson   Financial Analyst   4/24/2018    Hermitage                $   74.29 Nashville, TN       TM April Travel                  Unknown                                           TM                                               Miscellaneous     Other
                                                5/11/2018
982          2017   149459          EXP-10720   4/4/2017 - 7/11/2017     Jeff Minson   Financial Analyst   5/20/2017    Burbank Airport          $   74.16 Burbank, CA         Unknown                          Unknown                                           Tony Makris                                      Meals/Beverages   Individual
983          2017   147112          EXP-10160   1/6/17 - 3/31/17         Jeff Minson   Financial Analyst   2/8/2017     Oaks Gourmet             $   73.62 Los Angeles, CA     TM FEB Travel                    Tony Makris with Warner Loughin Makris            Tony Makris; Warner Loughlin Makris              Meals/Beverages   Group         Date: 02/08/2017
                                                                                                                                                                                                                                                                                                                                                   Guests: 7 (none listed on receipt)
                                                                                                                                                                                                                                                                                                                                                   Total: $73.62
984          2017   144737          EXP-9318    10/13/2013 - 1/5/2017    Jeff Minson   Financial Analyst   11/12/2016   Dewar's Club             $   73.53 Phoenix, AZ         TM November Travel               Breakfast / Beverages TM Savanna Airport          Tony Makris                                      Meals/Beverages   Individual    handwritten note "TM"
985   7      2017   146420/145983   EXP-9902    12/3/2016-               Jeff Minson   Financial Analyst   12/4/2016    CXIII/Landini Brothers   $   72.50 Alexandria, VA      TM January Travel                TM lunch with Josh Powell part or $4,576.99       TM; Josh Powell                                  Meals/Beverages   Group
                                                2/14/2017
986   7      2017   146420/145983   EXP-9902    12/3/2016-               Jeff Minson   Financial Analyst   12/16/2016   CXIII/Landini Brothers   $   72.38 Alexandria, VA      TM January Travel                TM lunch with J Perran part of $5,408.13          TM; J Perran                                     Meals/Beverages   Group
                                                2/14/2017
987   7      2016   137631          EXP-7293    2/7/2016 - 4/15/2016     Jeff Minson   Financial Analyst   2/23/2016    CXIII/Landini Brothers   $   71.23 Alexandria, VA      TM March Travel                  Lunch TM with TS part of $5853.02                 TM; TS                                           Meals/Beverages   Group
988          2018   160161          12123       7/20/2018-8/13/2018      Jeff Minson   Financial Analyst   7/25/2018    Uber                     $   71.02 Los Angeles, CA     TM July Travel                   7/23/18 - Uber ride from Los Angeles to Sherman   Anthony Makris                                   Auto              Car Service   Email from Stephanie West to Jeff Minson: Items below were charged on
                                                                                                                                                                                                                Oaks                                                                                                                               Tony's (Makris) personal card.
989          2016   136859          EXP-6997    1/7/2016 - 3/22/2016     Jeff Minson   Financial Analyst   1/28/2016    The Farm                 $   70.21 Beverly Hills, CA   TM February Travel               Lunch TM with WLP                                 TM; WLP                                          Meals/Beverages   Group
990          2018   154707/155520   11516       1/1/2018 to 2/8/2018     Jeff Minson   Financial Analyst   1/18/2018    Kabuki                   $   68.56 Los Angeles, CA     TM Jan Travel                    Unknown                                           Tony Makris; Wayne LaPierre                      Meals/Beverages   Group         Itemized receipt indicates two guests on the bill. Amex statement indicates
                                                                                                                                                                                                                                                                                                                                                   that Wayne LaPierre accompanied Tony Makris
991          2017   146420/145983   EXP-9902    12/3/2016-               Jeff Minson   Financial Analyst   1/8/2017     Trulucks                 $   68.29 Dallas, TX          TM January Travel                TM Beverages for Brad Johnson, Chris McKinney and TM; Brad Johnson; Chris McKinney; Warner Louglin Meals/Beverages   Group         handwritten "TM BJ CMK WL"
                                                2/14/2017                                                                                                                                                       Warner Loughlin
992          2017   143169          EXP-8890    9/8/2016 - 9/12/2016     Jeff Minson   Financial Analyst   9/8/2016     Boran Thai               $   67.28 Los Angeles, CA     TM September travel paid by TM   Dinner TM with D Selleck Los Angeles              TM; Dan Selleck                                  Meals/Beverages   Group         handwritten on receipt "TM, Dan Selleck"
993   7      2016   140440          EXP-8075    5/2/16 to 7/22/16        Jeff Minson   Financial Analyst   5/3/2016     CXIII/Landini Brothers   $   66.88 Alexandria, VA      TM June Travel                   TM meal with WLP part of $11,124.91               TM; WLP                                          Meals/Beverages   Group
994          2017   148749          EXP-10485   3/9/2017 - 7/11/2017     Jeff Minson   Financial Analyst   3/9/2017     CXIII/Landini Brothers   $   66.58 Alexandria, VA      Unknown                          Unknown                                           Tony Makris; Wayne LaPierre                      Meals/Beverages   Group         Date: 03/09/17
                                                                                                                                                                                                                                                                                                                                                   Landini Brothers
                                                                                                                                                                                                                                                                                                                                                   Charge: $52.35
                                                                                                                                                                                                                                                                                                                                                   Scv: $9.00
                                                                                                                                                                                                                                                                                                                                                   Tax: $5.23
                                                                                                                                                                                                                                                                                                                                                   Total: $66.58
995          2016   136859          EXP-6997    1/7/2016 - 3/22/2016     Jeff Minson   Financial Analyst   2/16/2016    Oaks Gourmet             $   66.12 Unknown             TM February Travel               Lunch TM with WLP                                 TM; WLP                                          Meals/Beverages   Group
996          2017   146420/145983   EXP-9902    12/3/2016-               Jeff Minson   Financial Analyst   1/15/2017    Liberty Kitchen          $   63.82 Houston, TX         TM January Travel                TM breakfast with Chris McKinney Houston          TM; Chris McKinney                               Meals/Beverages   Group         handwritten "TM Chris McKinney"
                                                2/14/2017
997          2017   149459          EXP-10720   4/4/2017 - 7/11/2017     Jeff Minson   Financial Analyst   5/27/2017    Blanco Tacos             $   63.71 Phoenix, AZ         Unknown                          Unknown                                           TM; WL                                           Meals/Beverages   Group         Scan copy of receipt shows TM and WL hand written on the edges of scan




                                                                                                                                                                                                                                                                                                                                                                                               APP. 01977
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998           2017   150457          EXP-10850   6/7/2017-                 Jeff Minson   Financial Analyst   6/10/2017    Minibar                  $   63.00 Hollywood, CA      Unknown                            Unknown                                              Tony Makris; TWS; D Muritz   Meals/Beverages   Group                Date: 06/09/17
                                                 7/31/2017                                                                                                                                                                                                                                                                                  3 guests
                                                                                                                                                                                                                                                                                                                                            Total payments: $51.00
                                                                                                                                                                                                                                                                                                                                            Total tips: $12.00
                                                                                                                                                                                                                                                                                                                                            Overall total: $63.00
999           2018   160161          12123       7/20/2018-8/13/2018       Jeff Minson   Financial Analyst   7/28/2018    Uber                     $   62.77 Sherman Oaks, CA   TM July Travel                     7/23/18 - Uber ride from Sherman Oaks to Beverly     Anthony Makris               Auto              Car Service          Email from Stephanie West to Jeff Minson: Items below were charged on
                                                                                                                                                                                                                   Hills - part of $72.18 charge (includes $9.41 tip)                                                                       Tony's (Makris) personal card.


1000          2016   141517          EXP-8278    6/7/2016 - 8/5/2016       Jeff Minson   Financial Analyst   7/16/2016    El Ranchito              $   62.71 Ridgeland, SC      TM JULY TRAVEL                     Meal for Tony Makris and Lance Olson enroute to      Tony Makris; Lance Olson     Meals/Beverages   Group
                                                                                                                                                                                                                   gun show in Beaufort, SC
1001   7      2016   138653          EXP-7581    3/1/2016 - 6/30/2016      Jeff Minson   Financial Analyst   3/19/2016    CXIII/Landini Brothers   $   61.87 Alexandria, VA     TM April Travel                    TM lunch with CN part of $5999.21                    TM; CN                       Meals/Beverages   Group
1002   7      2017   144737          EXP-9318    10/13/2013 - 1/5/2017     Jeff Minson   Financial Analyst   10/21/2016   CXIII/Landini Brothers   $   61.43 Alexandria, VA     TM November Travel                 Meal with Josh Powell part of 126.17                 TM; Josh Powell              Meals/Beverages   Group
1003          2018   157570          11839       1/2/2018-                 Jeff Minson   Financial Analyst   4/15/2018    Outfitter Satellite      $   61.22 Alexandria, VA     TM April Travel                    Unknown                                              Tony Makris                  Miscellaneous     Telecommunications   1 iridium standard plan
                                                 5/11/2018
1004          2018   158521          EXP-11942   5/14/2018-6/14/2018       Jeff Minson   Financial Analyst   5/15/2018    Outfitter Satellite      $   61.22 Unknown            TM May Travel part 2               1 Iridium Standard 0 Plan                            Tony Makris                  Miscellaneous     Telecommunications   Monthly service fee: 05/01/18 - 5/31/18
1005          2018   159388          EXP-12039   5/29/2018-                Jeff Minson   Financial Analyst   6/15/2018    Outfitter Satellite      $   61.22 Unknown            TM June Travel                     1 Ieidium Standard 0 Plan                            Tony Makris                  Miscellaneous     Telecommunications   Invoices describes monthly service: 6/01/18 - 6/30/18
                                                 7/11/2018                                                                                                                                                                                                                                                                                  Billed to TM 52 Wolfe Street, Alexandria, VA.
1006   7      2017   146420/145983   EXP-9902    12/3/2016-                Jeff Minson   Financial Analyst   12/11/2016   CXIII/Landini Brothers   $   61.10 Alexandria, VA     TM January Travel                  TM lunch with Mark Dycio part of $4,576.99           TM; Mark Dycio               Meals/Beverages   Group
                                                 2/14/2017
1007          2018   160161          12119       6/28/2018 - 8/8/2018      Jeff Minson   Financial Analyst   7/31/2018    Outfitter Satellite      $   61.08 Unknown            TM July Travel                     Unknown                                              TM                           Miscellaneous     Telecommunications   1 iridium standard plan
1008          2018   160896          EXP-12196   7/23/2018 to 9/13/2018    Jeff Minson   Financial Analyst   8/15/2018    Outfitter Satellite      $   61.08 Unknown            TM August Travel                   Unknown                                              Tony Makris                  Miscellaneous     Telecommunications   1 Iridium Standard Plan
1009   1; 9   2018   155996          EXP-11652   1/26/2018 to 3/27/2018    Jeff Minson   Financial Analyst   2/18/2018    Omni Hotel               $   26.02 San Antonio, TX    TM FEB EXP                         Unknown                                              Wayne and Susan Roberts      Travel            Lodging              Arrival: 02/14/18
                                                                                                                                                                                                                                                                                                                                            Departure: 02/16/18
                                                                                                                                                                                                                                                                                                                                            Date: 02/16/18 - refreshment center water $26.02
                                                                                                                                                                                                                                                                                                                                            Total: $26.02
1010          2016   140440          EXP-8075    5/2/16 to 7/22/16         Jeff Minson   Financial Analyst   6/26/2016    Hy vee                   $   60.94 Kearney, NE        TM June Travel                     TM groceries in lieu of meals while in LA            TM                           Meals/Beverages   Individual
1011   1; 9   2016   137631          EXP-7293    2/7/2016 - 4/15/2016      Jeff Minson   Financial Analyst   3/3/2016     Frog Performance         $   60.53 Unknown            TM March Travel                    Case (24) Frog Fuel Repair (Medical bev for WLP)     WLP                          Miscellaneous     Other                Purchased 1 box of medical food 30oz bottles.


1012   1; 9   2017   145564          EXP-9659    12/21/2006 - 1/11/2017    Jeff Minson   Financial Analyst   12/8/2016    United Airlines          $   60.00 Dallas, TX         TM December travel expenses        Ticket fee for Josh Powell - dallas to chicago -     Josh Powell                  Travel            Airfare
                                                                                                                                                                                                                   statement only
1013          2017   151745          EXP-11046   8/1/2017 - 9/29/2017      Jeff Minson   Financial Analyst   8/24/2017    Oaks Gourmet             $   59.90 Los Angeles, CA    TM AUG TRAVEL                      Unknown                                              Tony; WL                     Meals/Beverages   Group                handwritten "Tony + WL"
1014          2016   139727          EXP-7842    4/1/2016 to 6/30/16       Jeff Minson   Financial Analyst   5/19/2016    B&H Photo                $   59.50 Unknown            TM May Travel                      pro gaffer tape x 12 yds. black for annual meeting   TM                           Event             Other


1015          2017   152775          EXP-11176   8/30/2017 - 10/20/2017    Jeff Minson   Financial Analyst   9/16/2017    Hummingbird              $   59.50 Unknown            TM SEPT Travel                     Unknown                                              TM                           Unknown           Unknown
1016          2018   154707/155520   11516       1/1/2018 to 2/8/2018      Jeff Minson   Financial Analyst   1/15/2018    Outfitter Satellite      $   59.24 Unknown            TM Jan Travel                      Unknown                                              TM                           Miscellaneous     Telecommunications   for 1 iridium basic plan VIZ_BP
1017          2018   155996          EXP-11652   1/26/2018 to 3/27/2018    Jeff Minson   Financial Analyst   2/15/2018    Outfitter Satellite      $   59.24 Alexandria, VA     TM FEB EXP                         Unknown                                              Tony Makris                  Miscellaneous     Telecommunications   Date: 02/15/18
                                                                                                                                                                                                                                                                                                                                            Monthly service fee: 02/01/18 - 02/28/18
                                                                                                                                                                                                                                                                                                                                            1 Iridium basic plan
                                                                                                                                                                                                                                                                                                                                            Subtotal: $52.95
                                                                                                                                                                                                                                                                                                                                            Fees:
                                                                                                                                                                                                                                                                                                                                            Cost recovery fee: $0.79
                                                                                                                                                                                                                                                                                                                                            USF Fee: $5.50
                                                                                                                                                                                                                                                                                                                                            Total fee: 46.29
                                                                                                                                                                                                                                                                                                                                            Total: $59.24
1018          2018   156967          EXP-11729   3/1/2018 - 4/30/2018      Jeff Minson   Financial Analyst   3/15/2018    Outfitter Satellite      $   59.24 Alexandria, VA     TM March Travel                    Unknown                                              Anthony Makris               Miscellaneous     Telecommunications   Monthly service fee: 02/01/18 - 02/28/18
                                                                                                                                                                                                                                                                                                                                            1 Iridium basic plan: $52.95
                                                                                                                                                                                                                                                                                                                                            Cost recovery fee: $0.79
                                                                                                                                                                                                                                                                                                                                            USF Fee: $5.50
                                                                                                                                                                                                                                                                                                                                            Fee total: $6.29
                                                                                                                                                                                                                                                                                                                                            Total: $59.24
1019          2018   154261          EXP-11340   11/1/2017 to 12/11/2017   Jeff Minson   Financial Analyst   11/15/2017   Outfitter Satellite      $   59.05 Alexandria, VA     TM November Travel                 Unknown                                              Tony Makris                  Miscellaneous     Telecommunications   Monthly service fee: 11/01/17 - 11/30/17
                                                                                                                                                                                                                                                                                                                                            1 iridium basic plan = $52.95
                                                                                                                                                                                                                                                                                                                                            Fees;
                                                                                                                                                                                                                                                                                                                                            Cost recovery fee = $0.79
                                                                                                                                                                                                                                                                                                                                            USF Fee = $5.31
                                                                                                                                                                                                                                                                                                                                            Total fees = $6.10
                                                                                                                                                                                                                                                                                                                                            Total: $59.05
1020          2018   154706/155170   11424       11/28/2017-               Jeff Minson   Financial Analyst   12/15/2017   Outfitter Satellite      $   59.05 Unknown            TM December                        Unknown                                              Tony Makris                  Miscellaneous     Telecommunications   1 iridium standard plan
                                                 1/5/2018
1021          2017   153476          EXP-11222   9/30/2000 - 11/14/2017    Jeff Minson   Financial Analyst   10/15/2017   Outfitter Satellite      $   59.05 Nashville, TN      TM OCT Travel                      Monthly service fee 10/1/2017 - 10/31/2017 IRIDIUM TM                             Miscellaneous     Telecommunications
                                                                                                                                                                                                                   BASIC PLAN VIZ_BP
1022   1; 9   2017   146420/145983   EXP-9902    12/3/2016-                Jeff Minson   Financial Analyst   1/4/2017     Kill Cliff               $   59.00 Unknown            TM January Travel                  TM Beverage restock kept on hard for WLP             WLP                          Meals/Beverages   Individual           Shipped to Tony Makris Alexandria VA
                                                 2/14/2017
1023   9      2017   148749          EXP-10485   3/9/2017 - 7/11/2017      Jeff Minson   Financial Analyst   3/30/2017    Kill Cliff               $   58.99 Alexandria, VA     Unknown                            Unknown                                              Patrick McCarty              Meals/Beverages   Individual           Date: 03/30/17
                                                                                                                                                                                                                                                                                                                                            1 order of Blood Orange 24-pack $58.99
                                                                                                                                                                                                                                                                                                                                            Total: $58.99
1024          2016   136859          EXP-6997    1/7/2016 - 3/22/2016      Jeff Minson   Financial Analyst   2/16/2016    Outfitter Satellite      $   58.88 Unknown            TM February Travel                 Monthly satellite phone service 2.1-29 TM            TM                           Miscellaneous     Telecommunications
1025          2016   137631/136135   EXP-6836    12/1/2015 - 3/10/2016     Jeff Minson   Financial Analyst   1/16/2016    Outfitter Satellite      $   58.88 Unknown            TM TRAVEL January 2016 Florida     Satellite Service Jan 1-31                           Anthony Makris               Miscellaneous     Telecommunications   1 Basic Plan VIZ_BP
                                                                                                                                                                                Dallas Vegas (SHOT Show) and Los
                                                                                                                                                                                Angeles
1026          2016   137631          EXP-7293    2/7/2016 - 4/15/2016      Jeff Minson   Financial Analyst   3/16/2016    Outfitter Satellite      $   58.88 Unknown            TM March Travel                    outfitter satellite service march 1-31               Anthony Makris               Miscellaneous     Telecommunications
1027          2016   138653          EXP-7581    3/1/2016 - 6/28/2016      Jeff Minson   Financial Analyst   4/16/2016    Outfitter Satellite      $   58.79 Unknown            TM April Travel                    outfitter satellite service April 1-30               TM                           Miscellaneous     Telecommunications
1028          2016   139727          EXP-7842    4/1/2016 to 6/30/16       Jeff Minson   Financial Analyst   5/15/2016    Outfitter Satellite      $   58.79 Alexandria, VA     TM May Travel                      satellite phone service 5-1 to 5-31                  TM                           Miscellaneous     Telecommunications
1029          2016   140440          EXP-8075    5/2/16 to 7/22/16         Jeff Minson   Financial Analyst   6/16/2016    Outfitter Satellite      $   58.79 Unknown            TM June Travel                     satellite phone service June 1 - June 30 (alp)       Anthony Makris               Miscellaneous     Telecommunications
1030          2016   141517          EXP-8278    6/7/2016 - 8/5/2016       Jeff Minson   Financial Analyst   7/16/2016    Outfitter Satellite      $   58.79 Nashville, TN      TM JULY TRAVEL                     Monthly Service Fee 7/1/16 - 7/31/16 1 BASIC PLAN TM                              Miscellaneous     Telecommunications
                                                                                                                                                                                                                   VIZ_BP
1031          2016   142347          EXP-8604    7/7/2016 - 9/28/2016      Jeff Minson   Financial Analyst   8/15/2016    Outfitter Satellite      $   58.79 Unknown            TM august travel                   Satellite Service August 1 thru August 31            TM                           Miscellaneous     Telecommunications
1032          2017   143169          EXP-8888    8/1/2016 - 10/24/2016     Jeff Minson   Financial Analyst   9/18/2016    Outfitter Satellite      $   58.79 Nashville, TN      TM September Travel                Satellite cell service Sep 1-30                      TM                           Miscellaneous     Telecommunications
1033          2017   144737          EXP-9318    10/13/2013 - 1/5/2017     Jeff Minson   Financial Analyst   11/15/2016   Outfitter Satellite      $   58.65 Nashville, TN      TM November Travel                 Sattelite Service Nov 1-30                           TM                           Miscellaneous     Telecommunications
1034          2017   145564          EXP-9659    12/21/2006 - 1/11/2017    Jeff Minson   Financial Analyst   12/15/2016   Outfitter Satellite      $   58.65 Unknown            TM December travel expenses        Sattelite phone service Dec 1 - Dec 31               TM                           Miscellaneous     Telecommunications
1035          2017   149459          EXP-10720   4/4/2017 - 7/11/2017      Jeff Minson   Financial Analyst   5/16/2017    Outfitter Satellite      $   58.65 Alexandria, VA     Unknown                            Unknown                                              TM                           Miscellaneous     Telecommunications   1 Iridium Basic Plan
1036          2017   150457          EXP-10850   6/7/2017-                 Jeff Minson   Financial Analyst   6/16/2017    Outfitter Satellite      $   58.65 Alexandria, VA     Unknown                            Unknown                                              Anthony Makris               Miscellaneous     Telecommunications   Monthly service fee: 06/01/17 - 06/30/17
                                                 7/31/2017                                                                                                                                                                                                                                                                                  1 Iridium basic plan $52.95
                                                                                                                                                                                                                                                                                                                                            Cost recovery fee: $0.79
                                                                                                                                                                                                                                                                                                                                            USF Fee: $4.91
                                                                                                                                                                                                                                                                                                                                            Fee Total: $5.70
                                                                                                                                                                                                                                                                                                                                            Total: $58.65
1037          2016   143559          EXP-9110    9/1/2016 - 11/16/2016     Jeff Minson   Financial Analyst   10/16/2016   Outfitter Satellite      $   58.65 Unknown            TM October Travel Expense          Satellite service OCT 1-31                           AM                           Miscellaneous     Telecommunications




                                                                                                                                                                                                                                                                                                                                                                                       APP. 01978
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1038       2017   150823          EXP-10975   7/1/2017 - 8/24/2017      Jeff Minson   Financial Analyst   7/15/2017    Outfitter Satellite      $   58.56 Nashville, TN       Unknown                            Monthly Service Fee 7/1/2017 - 7/31/2017, IRIDIUM    Tony Makris                      Miscellaneous     Telecommunications
                                                                                                                                                                                                                 BASIC PLAN VIZ_BP
1039       2017   151745          EXP-11046   8/1/2017 - 9/29/2017      Jeff Minson   Financial Analyst   8/22/2017    Outfitter Satellite      $   58.56 Nashville, TN       TM AUG TRAVEL                      Monthly Service Fee 8/1/2017 - 8/31/2017, IRIDIUM    TM                               Miscellaneous     Telecommunications   says "CREDIT CARD DECLINED" on invoice
                                                                                                                                                                                                                 BASIC PLAN VIZ_BP
1040       2017   152775          EXP-11176   8/30/2017 - 10/20/2017    Jeff Minson   Financial Analyst   9/15/2017    Outfitter Satellite      $   58.56 Alexandria, VA      TM SEPT Travel                     Monthly service fee IRIDIUM BASIC PLAN VIZ_BP        TM                               Miscellaneous     Telecommunications


1041       2017   147112          EXP-10160   1/6/17 - 3/31/17          Jeff Minson   Financial Analyst   2/15/2017    Outfitter Satellite      $   58.45 Alexandria, VA      TM FEB Travel                      Satellite Phone Service                              Anthony Makris                   Miscellaneous     Telecommunications   Monthly service fee: 02/01/17 - 02/28/17
                                                                                                                                                                                                                                                                                                                                              1 Iridium basic plan: $52.95
                                                                                                                                                                                                                                                                                                                                              Cost recovery fee: $0.79
                                                                                                                                                                                                                                                                                                                                              USF Fee: $4.71
                                                                                                                                                                                                                                                                                                                                              Fee total: $5.50
                                                                                                                                                                                                                                                                                                                                              Total: $58.45
1042       2017   146420/145983   EXP-9902    12/3/2016-                Jeff Minson   Financial Analyst   1/15/2017    Outfitter Satellite      $   58.45 Nashville, TN       TM January Travel                  Monthly Satellite Phone service January 2017         TM                               Miscellaneous     Telecommunications   Basic plan
                                              2/14/2017
1043       2017   148014          EXP-10319   2/11/2017 - 5/10/2017     Jeff Minson   Financial Analyst   3/15/2017    Outfitter Satellite      $   58.45 Alexandria, VA      TM March travel                    Satellite service March 1-31                         Anthony Makris                   Miscellaneous     Telecommunications   Monthly service fee: 03/01/17 - 03/31/17
                                                                                                                                                                                                                                                                                                                                              1 Iridium basic plan: $52.95
                                                                                                                                                                                                                                                                                                                                              Cost recovery fee: $0.79
                                                                                                                                                                                                                                                                                                                                              USF Fee: $4.71
                                                                                                                                                                                                                                                                                                                                              Fee total: $5.50
                                                                                                                                                                                                                                                                                                                                              Total: $58.45
1044       2017   148749          EXP-10485   3/9/2017 - 7/11/2017      Jeff Minson   Financial Analyst   4/15/2017    Outfitter Satellite      $   58.45 Alexandria, VA      Unknown                            Unknown                                              Anthony Makris                   Miscellaneous     Telecommunications   Monthly Service Fee: 04/01/17 - 04/30/17
                                                                                                                                                                                                                                                                                                                                              1 iridium basic plan $52.95
                                                                                                                                                                                                                                                                                                                                              Cost recovery fee: $0.79
                                                                                                                                                                                                                                                                                                                                              USF fee: $4.71
                                                                                                                                                                                                                                                                                                                                              Total: $5.50
                                                                                                                                                                                                                                                                                                                                              Overall total: $58.45
1045       2018   154707/155520   11516       1/1/2018 to 2/8/2018      Jeff Minson   Financial Analyst   1/17/2018    Beachwood Market         $   58.04 Los Angeles, CA     TM Jan Travel                      Unknown                                              Tony Makris                      Meals/Beverages   Individual           The support provided was an email from Jeff Minson to Stephanie West. Kurt
                                                                                                                                                                                                                                                                                                                                              Atterberry cc'd, to provide a signed AMEX statement plus the Beach Wood
                                                                                                                                                                                                                                                                                                                                              Market receipt.
1046       2016   139727          EXP-7842    4/1/2016 to 6/30/16       Jeff Minson   Financial Analyst   4/25/2016    CXIII/Landini Brothers   $   57.90 Alexandria, VA      TM May Travel                      TM with WLP WLM M Hallow LO & MD                     TM; WLP; WLM; M Hallow; LO; MD   Meals/Beverages   Group
1047       2016   136859          EXP-6997    1/7/2016 - 3/22/2016      Jeff Minson   Financial Analyst   2/17/2016    Oaks Gourmet             $   56.38 Unknown             TM February Travel                 Lunch TM with Warner Loughlin                        TM; Warner Loughlin              Meals/Beverages   Group
1048       2018   160161          12123       7/20/2018-8/13/2018       Jeff Minson   Financial Analyst   7/20/2018    Uber                     $   55.33 Sherman Oaks, CA    TM July Travel                     7/20/18 - Uber ride from Sherman Oaks to Los         Anthony Makris                   Auto              Car Service          Email from Stephanie West to Jeff Minson: Items below were charged on
                                                                                                                                                                                                                 Angeles                                                                                                                      Tony's (Makris) personal card.
1049   7   2016   138653          EXP-7581    3/1/2016 - 6/30/2016      Jeff Minson   Financial Analyst   3/15/2016    CXIII/Landini Brothers   $   55.31 Alexandria, VA      TM April Travel                    TM lunch with WLP part of $5999.21                   TM; WLP                          Meals/Beverages   Group
1050       2017   143169          EXP-8888    8/1/2016 - 10/24/2016     Jeff Minson   Financial Analyst   9/10/2016    The Sushi House          $   54.86 Studio City, CA     TM September Travel                Lunch TM with T Selleck                              TM; T Selleck                    Meals/Beverages   Group                handwritten on receipt "TM T Selleck"
1051       2017   150457          EXP-10850   6/7/2017-                 Jeff Minson   Financial Analyst   6/10/2017    Beachwood Café           $   54.29 Los Angeles, CA     Unknown                            Unknown                                              TM; WL                           Meals/Beverages   Group                Date: 06/10/17
                                              7/31/2017                                                                                                                                                                                                                                                                                       Amount: $44.59
                                                                                                                                                                                                                                                                                                                                              Tip: $10.00
                                                                                                                                                                                                                                                                                                                                              Total: $54.59
                                                                                                                                                                                                                                                                                                                                              "TM WL" handwritten on top
1052   7   2017   148014          EXP-10319   2/11/2017 - 5/10/2017     Jeff Minson   Financial Analyst   2/20/2017    CXIII/Landini Brothers   $   54.03 Alexandria, VA      TM March travel                    Meal Tony Makris with Josh Powell part of $3,550.03 Tony Makris; Josh Powell          Meals/Beverages   Group                Date: 02/20/17
                                                                                                                                                                                                                                                                                                                                              Landini Brothers
                                                                                                                                                                                                                                                                                                                                              Charge: $41.85
                                                                                                                                                                                                                                                                                                                                              Scv: $8.00
                                                                                                                                                                                                                                                                                                                                              Tax: $4.18
                                                                                                                                                                                                                                                                                                                                              Total: $54.03
1053       2017   143169          EXP-8890    9/8/2016 - 9/12/2016      Jeff Minson   Financial Analyst   9/8/2016     Beachwood Café           $   53.22 Los Angeles, CA     TM September travel paid by TM     Lunch TM while in Los Angeles                        TM; WL                           Meals/Beverages   Group                handwritten note on email "please reimburse tony for the attached $120.42;
                                                                                                                                                                                                                                                                                                                                              handwritten on receipt "TM WL", email states that restaurant wouldn’t accept
                                                                                                                                                                                                                                                                                                                                              amex so reimburse tony for using personal card


1054       2016   140440          EXP-8075    5/2/16 to 7/22/16         Jeff Minson   Financial Analyst   6/8/2016     Oaks Gourmet             $   53.04 Los Angeles, CA     TM June Travel                     T. Makris lunch; TM dinner while in los angeles TM   TM                               Meals/Beverages   Individual
                                                                                                                                                                                                                 only
1055       2016   143559          EXP-9110    9/1/2016 - 11/16/2016     Jeff Minson   Financial Analyst   10/13/2016   The Sushi House          $   52.68 Studio City, CA     TM October Travel Expense          Lunch TM with WLM while in LA                        TM; WLM                          Meals/Beverages   Group
1056   7   2016   138653          EXP-7581    3/1/2016 - 6/30/2016      Jeff Minson   Financial Analyst   3/31/2016    CXIII/Landini Brothers   $   51.59 Alexandria, VA      TM April Travel                    TM lunch with LO part of $5999.21                    TM; LO; JP; CN; JC; ZM; Monty    Meals/Beverages   Group
1057       2018   160161          12123       7/20/2018-8/13/2018       Jeff Minson   Financial Analyst   7/20/2018    Uber                     $   51.42 Sherman Oaks, CA    TM July Travel                     7/20/18 - Tip for Uber driver for ride from Los      Anthony Makris                   Auto              Car Service          Email from Stephanie West to Jeff Minson: Items below were charged on
                                                                                                                                                                                                                 Angeles to Sherman Oaks                                                                                                      Tony's (Makris) personal card.
1058       2016   137631/136135   EXP-6836    12/1/2015 - 3/10/2016     Jeff Minson   Financial Analyst   1/27/2016    El Port                  $   50.77 Pasadena, CA        TM TRAVEL January 2016 Florida     Lunch TM while LA                                    TM                               Meals/Beverages   Individual
                                                                                                                                                                              Dallas Vegas (SHOT Show) and Los
                                                                                                                                                                              Angeles
1059       2017   150457          EXP-10850   6/7/2017-                 Jeff Minson   Financial Analyst   6/11/2017    Sharkey's                $   50.47 Beverly Hills, CA   Unknown                            Unknown                                              Anthony Makris                   Meals/Beverages   Individual           Date: 06/11/17
                                              7/31/2017                                                                                                                                                                                                                                                                                       Subtotal: $45.47
                                                                                                                                                                                                                                                                                                                                              Tip: $5.00
                                                                                                                                                                                                                                                                                                                                              Total: $50.47
1060       2018   156967          EXP-11729   3/1/2018 - 4/30/2018      Jeff Minson   Financial Analyst   3/8/2018     Beachwood Café           $   48.21 Los Angeles, CA     TM March Travel                    Unknown                                              TM; WL                           Meals/Beverages   Group                Date: 03/08/18
                                                                                                                                                                                                                                                                                                                                              Amount: $39.04
                                                                                                                                                                                                                                                                                                                                              Tip: $9.00
                                                                                                                                                                                                                                                                                                                                              Total: $48.21
1061   9   2016   139727          EXP-7842    4/1/2016 to 6/30/16       Jeff Minson   Financial Analyst   5/18/2016    Verizon                  $   47.70 Hughesville, MD     TM May Travel                      cell service s west phone mar 24-apr 23              S West                           Miscellaneous     Telecommunications
1062   9   2017   152775          EXP-11176   8/30/2017 - 10/20/2017    Jeff Minson   Financial Analyst   9/13/2017    Verizon                  $   47.64 Unknown             TM SEPT Travel                     Total current charges due by 9/18/17                 Stephanie West                   Miscellaneous     Telecommunications   Bill to: Stephanie west
1063       2017   151745          EXP-11046   8/1/2017 - 9/29/2017      Jeff Minson   Financial Analyst   8/15/2017    Union 76                 $   47.52 Los Angeles, CA     TM AUG TRAVEL                      Unknown                                              TM                               Auto              Gas                  Premium 11.883G Price/Gal $3.999 Fuel Total: $47.52
1064       2018   157570          11839       1/2/2018-                 Jeff Minson   Financial Analyst   4/13/2018    Verizon                  $   47.19 Hughesville, MD     TM April Travel                    Unknown                                              Stephanie West; Tony Makris      Miscellaneous     Telecommunications
                                              5/11/2018
1065   9   2018   155996          EXP-11652   1/26/2018 to 3/27/2018    Jeff Minson   Financial Analyst   2/13/2018    Verizon                  $   47.19 Hughesville, MD     TM FEB EXP                         Unknown                                              Stephanie West                   Miscellaneous     Telecommunications   Bill date: January 23, 2018
                                                                                                                                                                                                                                                                                                                                              Stephanie West (703)399-1088
                                                                                                                                                                                                                                                                                                                                              Total amount due: $47.19


1066   9   2018   156967          EXP-11729   3/1/2018 - 4/30/2018      Jeff Minson   Financial Analyst   3/13/2018    Verizon                  $   47.19 Hughesville, MD     TM March Travel                    Unknown                                              Stephanie West                   Miscellaneous     Telecommunications   Billing period: 01/24/18 - 02/23/18
                                                                                                                                                                                                                                                                                                                                              Amount: $47.19
1067   9   2018   154707/155520   11516       1/1/2018 to 2/8/2018      Jeff Minson   Financial Analyst   1/13/2018    Verizon                  $   47.08 Hughesville, MD     TM Jan Travel                      Unknown                                              Stephanie West                   Miscellaneous     Telecommunications   Bill is to Stephanie West for one number
1068       2018   154261          EXP-11340   11/1/2017 to 12/11/2017   Jeff Minson   Financial Analyst   11/13/2017   Verizon                  $   47.08 Hughesville, MD     TM November Travel                 Unknown                                              Makris                           Miscellaneous     Telecommunications   Bill date: November 23, 2017
                                                                                                                                                                                                                                                                                                                                              Bill period: October 24-November 23
                                                                                                                                                                                                                                                                                                                                              Total: $47.08


1069   9   2018   154706/155170   11424       11/28/2017-               Jeff Minson   Financial Analyst   12/13/2017   Verizon                  $   47.08 Hughesville, MD     TM December                        Unknown                                              Stephanie West                   Miscellaneous     Telecommunications   Monthly wireless bill for Stephanie West
                                              1/5/2018
1070   9   2018   158118          EXP-11895   5/1/2018 - 6/4/2018       Jeff Minson   Financial Analyst   5/13/2018    Verizon                  $   47.08 Hughesville, MD     TM May Travel Part 1               Unknown                                              Stephanie West                   Miscellaneous     Telecommunications
1071   9   2018   159388          EXP-12039   5/29/2018-                Jeff Minson   Financial Analyst   6/13/2018    Verizon                  $   47.08 Unknown             TM June Travel                     Unknown                                              Stephanie West                   Miscellaneous     Telecommunications   Billed to Stephanie West
                                              7/11/2018




                                                                                                                                                                                                                                                                                                                                                                                         APP. 01979
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1072   9      2018   160161          12119       6/28/2018 - 8/8/2018     Jeff Minson   Financial Analyst   7/31/2018    Verizon                  $      47.08 Unknown             TM July Travel                     Unknown                                                Stephanie                        Miscellaneous     Telecommunications   Monthly bill for Stephanie's phone
1073   1; 9   2016   142347          EXP-8604    7/7/2016 - 9/28/2016     Jeff Minson   Financial Analyst   8/18/2016    Verizon                  $      47.02 Unknown             TM august travel                   Cell service June 24th - July 23rd SW line for WLP     WLP                              Miscellaneous     Telecommunications   Monthly Verizon charges for June - July


1074   1; 9   2017   143169          EXP-8888    8/1/2016 - 10/24/2016    Jeff Minson   Financial Analyst   9/6/2016     Verizon                  $      47.02 Unknown             TM September Travel                Cell service S West for WLP service 7-24 to 8-23       Wayne LaPierre; Stephanie West   Miscellaneous     Telecommunications   Bill To: Stephanie West for Wayne LaPierre cell service


1075   1; 9   2016   143559          EXP-9110    9/1/2016 - 11/16/2016    Jeff Minson   Financial Analyst   10/7/2016    Verizon                  $      47.02 Unknown             TM October Travel Expense          Cell service s west utilized for WLP line Aug 24 -     S West; WLP                      Miscellaneous     Telecommunications   Recurring phone Service. Telecom SVN: Prepaid
                                                                                                                                                                                                                      Sept 23
1076   9      2016   136859          EXP-6997    1/7/2016 - 3/22/2016     Jeff Minson   Financial Analyst   2/16/2015    Verizon                  $      47.01 Unknown             TM February Travel                 Cell service S West Dec 24 - Jan 23                    S West                           Miscellaneous     Telecommunications
1077   9      2016   138653          EXP-7581    3/1/2016 - 6/30/2016     Jeff Minson   Financial Analyst   3/30/2016    Verizon                  $      47.01 Unknown             TM April Travel                    Cell service Jan 24 - Feb 23 Stephanie West TM         Stephanie West                   Miscellaneous     Telecommunications
                                                                                                                                                                                                                      assistant
1078   9      2016   140440          EXP-8075    5/2/16 to 7/22/16        Jeff Minson   Financial Analyst   6/16/2016    Verizon                  $      46.99 Unknown             TM June Travel                     Recurring phone service; cell service Stephanie west   Stephanie West                   Miscellaneous     Telecommunications
                                                                                                                                                                                                                      Apr. 24-may 23
1079   1; 9   2016   141517          EXP-8278    6/7/2016 - 8/5/2016      Jeff Minson   Financial Analyst   7/19/2016    Verizon                  $      46.99 Unknown             TM JULY TRAVEL                     Cell service 5/24-6/23 Wayne LaPierre                  Wayne LaPierre; Stephanie West   Miscellaneous     Telecommunications   Billed to Stephanie West for Wayne LaPierre
1080   9      2018   160896          EXP-12196   7/23/2018 to 9/13/2018   Jeff Minson   Financial Analyst   8/13/2018    Verizon                  $      46.97 Alexandria, VA      TM August Travel                   Unknown                                                Stephanie West                   Miscellaneous     Telecommunications
1081   1; 9   2017   144737          EXP-9318    10/13/2013 - 1/5/2017    Jeff Minson   Financial Analyst   11/16/2016   Verizon                  $      46.96 Unknown             TM November Travel                 Call service Sep 23 - Oct 23 S West utilized by WLP S West; WLP                         Miscellaneous     Telecommunications


1082   1; 9   2017   145564          EXP-9659    12/21/2006 - 1/11/2017   Jeff Minson   Financial Analyst   12/20/2016   Verizon                  $      46.96 Unknown             TM December travel expenses        Cell service for WLP - phone in name of S West         WLP; S West                      Miscellaneous     Telecommunications


1083   1; 9   2017   146420/145983   EXP-9902    12/3/2016-               Jeff Minson   Financial Analyst   1/17/2017    Verizon                  $      46.96 Unknown             TM January Travel                  Cell service for WLP phone - S West on account         WLP; S West                      Miscellaneous     Telecommunications
                                                 2/14/2017
1084   9      2017   152775          EXP-11176   8/30/2017 - 10/20/2017   Jeff Minson   Financial Analyst   8/30/2017    Verizon                  $      46.94 Unknown             TM SEPT Travel                     Balance Forward Due Immediately                        Stephanie West                   Miscellaneous     Telecommunications   Bill to: Stephanie west
1085   9      2017   153476          EXP-11222   9/30/2000 - 11/14/2017   Jeff Minson   Financial Analyst   10/13/2017   Verizon                  $      46.94 Unknown             TM OCT Travel                      Unknown                                                Stephanie West                   Miscellaneous     Telecommunications   Bill to: Stephanie west
1086   9      2017   149459          EXP-10720   4/4/2017 - 7/11/2017     Jeff Minson   Financial Analyst   5/17/2017    Verizon                  $      46.91 Hughesville, MD     Unknown                            Unknown                                                Stephanie West                   Miscellaneous     Telecommunications
1087   9      2017   150457          EXP-10850   6/7/2017-                Jeff Minson   Financial Analyst   6/22/2017    Verizon                  $      46.90 Hughesville, MD     Unknown                            Unknown                                                Stephanie West                   Miscellaneous     Telecommunications   Billing period: 04/24/17 - 05/23/17
                                                 7/31/2017                                                                                                                                                                                                                                                                                           Amount: $46.90
1088   9      2017   150823          EXP-10975   7/1/2017 - 8/24/2017     Jeff Minson   Financial Analyst   7/18/2017    Verizon                  $      46.90 Hughesville, MD     Unknown                            Verizon Bill Payment by Stephanie West                 Stephanie West                   Miscellaneous     Telecommunications   Billed to Stephanie West
1089   1; 9   2017   147112          EXP-10160   1/6/17 - 3/31/17         Jeff Minson   Financial Analyst   2/8/2017     Verizon                  $      46.89 Hughesville, MD     TM FEB Travel                      Cell service for Wayne LaPierre phones                 Wayne LaPierre; Stephanie West   Miscellaneous     Telecommunications   Billing period: Dec 24 - Jan 23
                                                                                                                                                                                                                                                                                                                                                     Bill is in Stephanie West's name
                                                                                                                                                                                                                                                                                                                                                     Total: $46.89
1090   1; 9   2017   148014          EXP-10319   2/11/2017 - 5/10/2017    Jeff Minson   Financial Analyst   3/15/2017    Verizon                  $      46.89 Hughesville, MD     TM March travel                    Cell service Jan 24-Feb 23 for SW line utlized by      Stephanie West; WLP              Miscellaneous     Telecommunications   Billing period: Jan 24 - Feb 23
                                                                                                                                                                                                                      WLP                                                                                                                            Total: $46.89
                                                                                                                                                                                                                                                                                                                                                     Bill is under Stephanie West's name
1091          2017   147112          EXP-10160   1/6/17 - 3/31/17         Jeff Minson   Financial Analyst   1/29/2017    Union 76                 $      46.87 Los Angeles, CA     TM FEB Travel                      Tony Makris Fuel for vehicle utilized while in LA      Tony Makris                      Auto              Gas                  Gas receipt from 01/29/2017 at 1:17pm.
                                                                                                                                                                                                                                                                                                                                                     Premium gas: 12.739G
                                                                                                                                                                                                                                                                                                                                                     Price/Gal: $3.679
                                                                                                                                                                                                                                                                                                                                                     Fuel Total: $46.87
1092          2017   143169          EXP-8888    8/1/2016 - 10/24/2016    Jeff Minson   Financial Analyst   9/23/2016    Union 76                 $      46.72 Los Angeles, CA     TM September Travel                Gasoline for vehicle borrow for day's used from        TM                               Auto              Gas
                                                                                                                                                                                                                      friend in Los Angeles
1093   9      2017   148749          EXP-10485   3/9/2017 - 7/11/2017     Jeff Minson   Financial Analyst   4/6/2017     Verizon                  $      46.35 Hughesville, MD     Unknown                            Unknown                                                Stephanie West                   Miscellaneous     Telecommunications   Billing period: 02/24/17 - 03/23/17
                                                                                                                                                                                                                                                                                                                                                     Total: $46.83
                                                                                                                                                                                                                                                                                                                                                     "Paid 46.35" handwritten and circled
1094          2017   144737          EXP-9318    10/13/2013 - 1/5/2017    Jeff Minson   Financial Analyst   10/29/2016   Puckett's Grocery        $      44.81 Nashville, TN       TM November Travel                 Lunch TM w WL                                          TM; WL                           Meals/Beverages   Group                handwritten note "TM WL"
1095          2018   156967          EXP-11729   3/1/2018 - 4/30/2018     Jeff Minson   Financial Analyst   3/26/2018    Sunoco                   $      44.78 Jacksonboro SC      TM March Travel                    Unknown                                                Tony Makris                      Auto              Gas                  Date: 03/27/18
                                                                                                                                                                                                                                                                                                                                                     Sunoco Jacksonboro, SC
                                                                                                                                                                                                                                                                                                                                                     Unleaded (88 octane)
                                                                                                                                                                                                                                                                                                                                                     Amount: $44.78
                                                                                                                                                                                                                                                                                                                                                     No receipt provided.
1096   9      2016   137631          EXP-7293    2/7/2016 - 4/15/2016     Jeff Minson   Financial Analyst   3/9/2016     Beverly Hills Hotel      $      43.45 Beverly Hills, CA   TM March Travel                    Bev charges Mark Dycio March 7-8                       Mark Dycio                       Meals/Beverages   Individual
1097          2017   151745          EXP-11019   5/9/2017 - 5/31/2017     Jeff Minson   Financial Analyst   5/30/2017    Uber                     $      42.85 Unknown             TM Bray's Island & OOP expenses    Unknown                                                Tony Makris                      Auto              Taxi
                                                                                                                                                                                   May 14 - May 30
1098          2017   144737          EXP-9318    10/13/2013 - 1/5/2017    Jeff Minson   Financial Analyst   11/26/2016   Uber                     $      41.86 Birmingham, AL      TM November Travel                 Ground transportation birmingham alabama richard       Tony Makris                      Auto              Car Service
                                                                                                                                                                                                                      arrington jr blvd to 2680 saddlecreek trail


1099   9      2018   155996          EXP-11652   1/26/2018 to 3/27/2018   Jeff Minson   Financial Analyst   2/18/2018    Four Seasons             $   (1,123.88) Orlando, FL       TM FEB EXP                         Unknown                                                Christopher Kinney               Travel            Lodging              Arrival date: 02/16/18
                                                                                                                                                                                                                                                                                                                                                     Departure: 02/18/18
                                                                                                                                                                                                                                                                                                                                                     Amount: ($1123.88)
                                                                                                                                                                                                                                                                                                                                                     "This is on the folio for Four Seasons Hotel - Orlando - Adv. Dep. Chris
                                                                                                                                                                                                                                                                                                                                                     Kinney"
1100          2018   155996          EXP-11652   1/26/2018 to 3/27/2018   Jeff Minson   Financial Analyst   2/19/2018    Four Seasons             $     431.87 Orlando, FL         TM FEB EXP                         Pick-up / Stops:                                       Tony Makris                      Travel            Lodging              Customer: Tony Makris
                                                                                                                                                                                                                      Tallahassee Regional Airport Million Air Tallahassee                                                                           Passenger: Tony Makris
                                                                                                                                                                                                                      Tail #N302GV, 3254 Capital Circle Southwest,                                                                                   Start time: 02/16/18 12:00
                                                                                                                                                                                                                      Tallahassee Fl 32310 United States                                                                                             End time: 02/16/18 15:00
                                                                                                                                                                                                                      Drop-off:                                                                                                                      Ordered by: Stephanie West
                                                                                                                                                                                                                      415 North Monroe Street, Tallahassee FL 32301
                                                                                                                                                                                                                      United States
                                                                                                                                                                                                                      "Ready to Roll submitted with 1 batch"
1101          2016   139727          EXP-7842    4/1/2016 to 6/30/16      Jeff Minson   Financial Analyst   4/15/2016    CXIII/Landini Brothers   $      38.83 Alexandria, VA      TM May Travel                      TM with TS                                             TM; TS                           Meals/Beverages   Group
1102          2017   151745          EXP-11019   5/9/2017 - 5/31/2017     Jeff Minson   Financial Analyst   5/14/2017    Uber                     $      38.79 Unknown             TM Bray's Island & OOP expenses    Unknown                                                Tony Makris                      Auto              Taxi
                                                                                                                                                                                   May 14 - May 30
1103          2017   150457          EXP-10850   6/7/2017-                Jeff Minson   Financial Analyst   6/8/2017     Beachwood Café           $      38.32 Los Angeles, CA     Unknown                            Unknown                                                Tony Makris                      Meals/Beverages   Individual           Date: 06/08/17
                                                 7/31/2017                                                                                                                                                                                                                                                                                           Amount: $31.32
                                                                                                                                                                                                                                                                                                                                                     Tip: $7.00
                                                                                                                                                                                                                                                                                                                                                     Total: $38.32


1104          2016   137631/136135   EXP-6836    12/1/2015 - 3/10/2016    Jeff Minson   Financial Analyst   1/24/2016    Oaks Gourmet             $      37.61 Los Angeles, CA     TM TRAVEL January 2016 Florida     Lunch TM                                               TM                               Meals/Beverages   Individual           Receipt states 'lunch TM only per SW'
                                                                                                                                                                                   Dallas Vegas (SHOT Show) and Los
                                                                                                                                                                                   Angeles
1105          2017   152775          EXP-11176   8/30/2017 - 10/20/2017   Jeff Minson   Financial Analyst   9/5/2017     Oaks Gourmet             $      37.36 Los Angeles, CA     TM SEPT Travel                     Unknown                                                Tony Makris                      Meals/Beverages   Individual           email from Abbry Karr, management at oaks gourmet, to Tony Makris
                                                                                                                                                                                                                                                                                                                                                     showing picture of 2 receipts
1106   9      2016   137631/136135   EXP-6836    12/1/2015 - 3/10/2016    Jeff Minson   Financial Analyst   1/23/2016    Four Seasons             $      36.77 Las Vegas, NV       TM TRAVEL January 2016 Florida     Food/bev Dusting Gerhing Jan 20-22 Shot Show           Dustin Gehring                   Meals/Beverages   Individual           Private Bar.
                                                                                                                                                                                   Dallas Vegas (SHOT Show) and Los
                                                                                                                                                                                   Angeles
1107          2016   143559          EXP-9110    9/1/2016 - 11/16/2016    Jeff Minson   Financial Analyst   10/14/2016   Union 76                 $      36.16 Los Angeles, CA     TM October Travel Expense          gasoline for vehicle borrowed from Friend/utilized in TM                                Auto              Gas
                                                                                                                                                                                                                      LA (no receipt retained)
1108          2017   151745          EXP-11019   5/9/2017 - 5/31/2017     Jeff Minson   Financial Analyst   5/31/2017    Beachwood Café           $      36.06 Los Angeles, CA     TM Bray's Island & OOP expenses    Unknown                                                TM; WL                           Meals/Beverages   Group                Handwritten note on receipt says "Expense TM WL"
                                                                                                                                                                                   May 14 - May 30




                                                                                                                                                                                                                                                                                                                                                                                               APP. 01980
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1109          2017   150457          EXP-10850   6/7/2017-                Jeff Minson   Financial Analyst   6/1/2017     Beachwood Café           $      35.55 Los Angeles, CA     Unknown                           Unknown                                               Tony Makris                   Meals/Beverages   Individual    Date: 06/01/17
                                                 7/31/2017                                                                                                                                                                                                                                                                               Amount: $28.55
                                                                                                                                                                                                                                                                                                                                         Tip: $7.00
                                                                                                                                                                                                                                                                                                                                         Total: $35.55
                                                                                                                                                                                                                                                                                                                                         Tony Makris signature present at bottom of receipt
1110   7      2017   144737          EXP-9318    10/13/2013 - 1/5/2017    Jeff Minson   Financial Analyst   10/12/2016   CXIII/Landini Brothers   $      35.15 Alexandria, VA      TM November Travel                Meal with Josh Powell part of 126.17                  TM; Josh Powell               Meals/Beverages   Group
1111          2016   142347          EXP-8604    7/7/2016 - 9/28/2016     Jeff Minson   Financial Analyst   7/28/2016    CXIII/Landini Brothers   $      35.15 Alexandria, VA      TM august travel                  TM carryout meal with J Perrar                        TM; J Perrar                  Meals/Beverages   Group
1112   2; 9   2017   149459          EXP-10720   4/4/2017 - 7/11/2017     Jeff Minson   Financial Analyst   5/20/2017    American Airlines        $      35.00 Unknown             Unknown                           Unknown                                               Elicia Loughlin               Travel            Airfare       Departure PHX on 5/27/17
                                                                                                                                                                                                                                                                                                                                         Arrival BUR




1113          2017   144737          EXP-9318    10/13/2013 - 1/5/2017    Jeff Minson   Financial Analyst   11/13/2016   Mcalister's Deli         $      34.42 Unknown             TM November Travel                Lunch TM with WLP                                     Tony Makris; Wayne LaPierre   Meals/Beverages   Group         handwritten note "tony makris wayne lapierre"
1114          2017   151745          EXP-11046   8/1/2017 - 9/29/2017     Jeff Minson   Financial Analyst   8/18/2017    Beachwood Café           $      34.09 Los Angeles, CA     TM AUG TRAVEL                     Unknown                                               Tony Makris                   Meals/Beverages   Individual
1115          2017   145564          EXP-9659    12/21/2006 - 1/11/2017   Jeff Minson   Financial Analyst   12/2/2016    ExxonMobile              $      33.07 Unknown             TM December travel expenses       TM gasoline for Lance Olsen and Pat Ryan for their    TM; Lance Olson; Pat Ryan     Auto              Gas
                                                                                                                                                                                                                     vehicles - statement only
1116          2017   143169          EXP-8888    8/1/2016 - 10/24/2016    Jeff Minson   Financial Analyst   9/12/2016    Hudson                   $      32.64 Los Angeles, CA     TM September Travel               TM bev at LAX airport & 3 periodicals and WSJ         T Makris                      Meals/Beverages   Individual    handwritten on receipt "T. Makris"
                                                                                                                                                                                                                     (Rifles shotguns, concealed handguns & F& S)
1117   7      2017   143169          EXP-8888    8/1/2016 - 10/24/2016    Jeff Minson   Financial Analyst   8/2/2016     CXIII/Landini Brothers   $      31.73 Alexandria, VA      TM September Travel               Meal TM with JP part of $715.26                       TM; JP                        Meals/Beverages   Group
1118          2016   137631          EXP-7293    2/7/2016 - 4/15/2016     Jeff Minson   Financial Analyst   3/13/2016    Royal Palms Inn          $      30.95 Phoenix, AZ         TM March Travel                   Bevs Tony Makris March 8th through 13th               Tony Makris                   Meals/Beverages   Individual
1119   7      2017   144737          EXP-9318    10/13/2013 - 1/5/2017    Jeff Minson   Financial Analyst   10/24/2016   CXIII/Landini Brothers   $      29.59 Alexandria, VA      TM November Travel                Meal with Josh Powell part of 126.17                  TM; Josh Powell               Meals/Beverages   Group
1120          2017   147112          EXP-10160   1/6/17 - 3/31/17         Jeff Minson   Financial Analyst   2/5/2017     Subway                   $      29.31 Barstow, CA         TM FEB Travel                     Lunch on travel in Barstow CA                         TM                            Meals/Beverages   Individual    Date: 02/04/2017
                                                                                                                                                                                                                                                                                                                                         Amount: 29.31
                                                                                                                                                                                                                                                                                                                                         "TM" handwritten on top
1121          2017   145564          EXP-9659    12/21/2006 - 1/11/2017   Jeff Minson   Financial Analyst   12/1/2016    Lawlers BBQ              $      29.16 Unknown             TM December travel expenses       TM meal with Pat Ryan                                 TM; Pat Ryan                  Meals/Beverages   Group         handwritten note "TM Pat Ryan"
1122   9      2017   148749          EXP-10485   3/9/2017 - 7/11/2017     Jeff Minson   Financial Analyst   4/3/2017     Quill                    $      29.14 Alexandria, VA      Unknown                           Unknown                                               Patrick McCarty               Meals/Beverages   Individual    Date: 03/30/17
                                                                                                                                                                                                                                                                                                                                         2 orders of Hersheys nugget asst. 38.5 oz @ $11.04/each
                                                                                                                                                                                                                                                                                                                                         Merchandise total: $22.08
                                                                                                                                                                                                                                                                                                                                         Tax: $1.07
                                                                                                                                                                                                                                                                                                                                         Shipping: $0.00
                                                                                                                                                                                                                                                                                                                                         Handling: $5.99
                                                                                                                                                                                                                                                                                                                                         Total: $29.14
1123   9      2017   150457          EXP-10850   6/7/2017-                Jeff Minson   Financial Analyst   6/22/2017    Boxed Boxed              $      26.75 Alexandria, VA      Unknown                           Unknown                                               Patrick McCarty               Unknown           Unknown       Subtotal: $31.47
                                                 7/31/2017                                                                                                                                                                                                                                                                               Promo discount: ($4.72)
                                                                                                                                                                                                                                                                                                                                         Order total: $26.75
1124          2016   143559          EXP-9110    9/1/2016 - 11/16/2016    Jeff Minson   Financial Analyst   10/20/2016   Hudson News              $      26.27 Unknown             TM October Travel Expense         News periodicals and magazine purchased at airport    TM                            Miscellaneous     Other
                                                                                                                                                                                                                     (receipt not retained)
1125          2017   151745          EXP-11019   5/9/2017 - 5/31/2017     Jeff Minson   Financial Analyst   5/14/2017    Uber                     $      26.22 Unknown             TM Bray's Island & OOP expenses   Unknown                                               Tony Makris                   Auto              Taxi
                                                                                                                                                                                   May 14 - May 30
1126          2018   155996          EXP-11652   1/26/2018 to 3/27/2018   Jeff Minson   Financial Analyst   2/21/2018    Four Seasons             $   2,725.97 Dallas, TX          TM FEB EXP                        Unknown                                               Tony Makris                   Travel            Lodging       Arrival date: 02/18/18
                                                                                                                                                                                                                                                                                                                                         Departure date: 02/21/18
                                                                                                                                                                                                                                                                                                                                         Amount: $2725.97
1127          2017   151745          EXP-11019   5/9/2017 - 5/31/2017     Jeff Minson   Financial Analyst   5/14/2017    Uber                     $      25.44 Unknown             TM Bray's Island & OOP expenses   Unknown                                               Tony Makris                   Auto              Taxi
                                                                                                                                                                                   May 14 - May 30
1128          2018   160161          12123       7/20/2018-8/13/2018      Jeff Minson   Financial Analyst   7/29/2018    Uber                     $      25.28 Beverly Hills, CA   TM July Travel                    7/23/18 - Uber ride from Rodeo Dr. Beverly Hills to   Anthony Makris                Auto              Car Service   Email from Stephanie West to Jeff Minson: Items below were charged on
                                                                                                                                                                                                                     Canon Dr. Beverly Hills                                                                                             Tony's (Makris) personal card.
1129          2018   155996          EXP-11652   1/26/2018 to 3/27/2018   Jeff Minson   Financial Analyst   2/7/2018     Virgin America           $      25.00 Unknown             TM FEB EXP                        Unknown                                               TM                            Travel            Other         Expense report states "additional collection, no receipt"
1130          2017   143169          EXP-8888    8/1/2016 - 10/24/2016    Jeff Minson   Financial Analyst   9/12/2016    Virgin America           $      25.00 Unknown             TM September Travel               Baggage fee - no receipt - statement only             TM                            Travel            Other
1131          2017   152775          EXP-11176   8/30/2017 - 10/20/2017   Jeff Minson   Financial Analyst   9/27/2017    Virgin America           $      25.00 Dallas, TX          TM SEPT Travel                    Baggage Fee 0-50lbs                                   TM                            Travel            Other
1132          2018   154707/155520   11516       1/1/2018 to 2/8/2018     Jeff Minson   Financial Analyst   1/25/2018    Four Seasons             $      23.36 Las Vegas, NV       TM Jan Travel                     Unknown                                               TM                            Unknown           Unknown
1133          2017   152775          EXP-11176   8/30/2017 - 10/20/2017   Jeff Minson   Financial Analyst   9/22/2017    Washington National      $      23.28 Washington, DC      TM SEPT Travel                    Unknown                                               Tony Makris                   Meals/Beverages   Individual    refreshments, handwritten "Tony Makris NRAH adv."
1134   1; 9   2016   137631          EXP-7293    2/7/2016 - 4/15/2016     Jeff Minson   Financial Analyst   3/13/2016    Royal Palms Inn          $      23.14 Phoenix, AZ         TM March Travel                   Bev WLP march 8th thru 13th                           WLP                           Meals/Beverages   Individual
1135          2018   158521          EXP-11944   4/9/2018 - 4/20/2018     Jeff Minson   Financial Analyst   4/9/2018     Washington Post          $      21.20 Unknown             TM Travel MISC                    The Washington Post Company (per Amc Extract)         TM                            Miscellaneous     Other         Email from TM to Stephanie West with an American Express online charge for
                                                                                                                                                                                                                                                                                                                                         The Washington Post - TM says "Bill it"
1136          2017   143169          EXP-8888    8/1/2016 - 10/24/2016    Jeff Minson   Financial Analyst   9/17/2016    Harris Teeter            $      20.97 Unknown             TM September Travel               Lunch TM with John Perran                             TM; John Perran               Meals/Beverages   Group
1137          2017   147112          EXP-10160   1/6/17 - 3/31/17         Jeff Minson   Financial Analyst   1/4/2017     CXIII/Landini Brothers   $      20.85 Alexandria, VA      TM FEB Travel                     20.85 to be credited back next month                  Tony Makris                   Meals/Beverages   Individual    Date: 01/04/17
                                                                                                                                                                                                                                                                                                                                         Landini Brothers
                                                                                                                                                                                                                                                                                                                                         Charge: $18.95
                                                                                                                                                                                                                                                                                                                                         Tax: $1.90
                                                                                                                                                                                                                                                                                                                                         Total: $20.85


                                                                                                                                                                                                                                                                                                                                         $20.85 was not listed in expense report, but the charge was listed in a CXIII
                                                                                                                                                                                                                                                                                                                                         Rex invoice. Part of a Total bill: $3819.58
1138          2017   144737          EXP-9318    10/13/2013 - 1/5/2017    Jeff Minson   Financial Analyst   10/31/2016   ExxonMobile              $      20.65 Hazen, AR           TM November Travel                gas for avis rental                                   TM                            Auto              Gas
1139          2017   147112          EXP-10160   1/6/17 - 3/31/17         Jeff Minson   Financial Analyst   2/16/2017    Beverly Hills Hotel      $      20.50 Beverly Hills, CA   TM FEB Travel                     Laundry charge                                        Mr and Mrs Anthony Makris     Travel            Other         Arrival: 02/11/17
                                                                                                                                                                                                                                                                                                                                         Departure: 02/15/17
                                                                                                                                                                                                                                                                                                                                         Total: $20.50
                                                                                                                                                                                                                                                                                                                                         Laundry/dry cleaning guest
1140          2018   160161          12123       7/20/2018-8/13/2018      Jeff Minson   Financial Analyst   7/20/2018    Uber                     $      20.00 Los Angeles, CA     TM July Travel                    7/20/18 - Uber ride from Los Angeles to Sherman       Anthony Makris                Auto              Car Service   Email from Stephanie West to Jeff Minson: Items below were charged on
                                                                                                                                                                                                                     Oaks                                                                                                                Tony's (Makris) personal card.
1141          2017   144737          EXP-9318    10/13/2013 - 1/5/2017    Jeff Minson   Financial Analyst   10/27/2016   Hudson                   $      19.63 Nashville, TN       TM November Travel                Periodical coffee mints whil nashville airport october TM                           Miscellaneous     Other         receipt has handwritten note "Item for Travel reading material, beverage, gum"
                                                                                                                                                                                                                     amex statement
1142   1; 9   2018   155996          EXP-11652   1/26/2018 to 3/27/2018   Jeff Minson   Financial Analyst   2/21/2018    Four Seasons             $   2,116.39 Dallas, TX          TM FEB EXP                        Unknown                                               Wayne Roberts                 Travel            Lodging       Arrival date: 02/18/18
                                                                                                                                                                                                                                                                                                                                         Departure date: 02/21/18
                                                                                                                                                                                                                                                                                                                                         Amount: $2116.39
1143   7      2016   140440          EXP-8075    5/2/16 to 7/22/16        Jeff Minson   Financial Analyst   5/9/2016     CXIII/Landini Brothers   $      16.17 Alexandria, VA      TM June Travel                    TM bev charge part of $9,371.27                       TM                            Meals/Beverages   Individual
1144          2016   140440          EXP-8075    5/2/16 to 7/22/16        Jeff Minson   Financial Analyst   6/17/2016    Ritz Carlton             $      15.16 Dallas, TX          TM June Travel                    tm honor bar charges Dallas June 16-17                TM                            Meals/Beverages   Individual
1145          2017   144737          EXP-9318    10/13/2013 - 1/5/2017    Jeff Minson   Financial Analyst   10/31/2016   Shell Oil                $      13.63 Holladay, TN        TM November Travel                gas for avis rental                                   TM                            Auto              Gas           handwritten note says "on the road snacks TM"
1146          2016   136859          EXP-6997    1/7/2016 - 3/22/2016     Jeff Minson   Financial Analyst   2/11/2016    Hudson                   $      13.59 Washington, DC      TM February Travel                Reading/Ref materials/bev for flight                  TM                            Meals/Beverages   Individual
1147          2017   149459          EXP-10720   4/4/2017 - 7/11/2017     Jeff Minson   Financial Analyst   5/27/2017    Four Seasons             $      13.07 Scottsdale, AZ      Unknown                           Unknown                                               TM                            Meals/Beverages   Individual    Private Bar food
1148          2017   147112          EXP-10160   1/6/17 - 3/31/17         Jeff Minson   Financial Analyst   2/15/2017    Beverly Hills Hotel      $      13.05 Beverly Hills, CA   TM FEB Travel                     Private food charge                                   Mr and Mrs Anthony Makris     Meals/Beverages   Individual    Arrival: 02/11/17
                                                                                                                                                                                                                                                                                                                                         Departure: 02/15/17
                                                                                                                                                                                                                                                                                                                                         Total: $13.05
                                                                                                                                                                                                                                                                                                                                         Private bar - food
1149   9      2018   155996          EXP-11652   1/26/2018 to 3/27/2018   Jeff Minson   Financial Analyst   2/21/2018    Four Seasons             $   2,112.84 Dallas, TX          TM FEB EXP                        Unknown                                               Christopher Kinney            Travel            Lodging       Arrival date: 02/18/18
                                                                                                                                                                                                                                                                                                                                         Departure date: 02/21/18
                                                                                                                                                                                                                                                                                                                                         Amount: $2112.84
1150   9      2016   138653          EXP-7581    3/1/2016 - 6/28/2016     Jeff Minson   Financial Analyst   4/5/2016     Four Seasons             $      12.98 Las Vegas, NV       TM April Travel                   Bev charge to room Mark Dycio April 4                 Mark Dycio                    Meals/Beverages   Individual




                                                                                                                                                                                                                                                                                                                                                                                       APP. 01981
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1151   1; 9      2016   137631/136135   EXP-6836    12/1/2015 - 3/10/2016    Jeff Minson   Financial Analyst   1/19/2016    Ritz Carlton             $    12.78 Orlando, FL         TM TRAVEL January 2016 Florida     WLP bev Jan 18 Orlando FL ROOM 924                    WLP                           Meals/Beverages   Individual    Purchase at Honor Bar.
                                                                                                                                                                                    Dallas Vegas (SHOT Show) and Los
                                                                                                                                                                                    Angeles
1152   9         2016   137631          EXP-7293    2/7/2016 - 4/15/2016     Jeff Minson   Financial Analyst   3/13/2016    Royal Palms Inn          $    12.38 Phoenix, AZ         TM March Travel                    Bevs Mark Dycio March 8th thru 13th                   Mark Dycio                    Meals/Beverages   Individual
1153   7; 1; 9   2017   146420/145983   EXP-9902    12/3/2016-               Jeff Minson   Financial Analyst   12/15/2016   CXIII/Landini Brothers   $    12.18 Alexandria, VA      TM January Travel                  Lunch for Josh Powell part of $4,576.99               Josh Powell                   Meals/Beverages   Individual
                                                    2/14/2017
1154             2017   145564          EXP-9659    12/21/2006 - 1/11/2017   Jeff Minson   Financial Analyst   11/29/2016   Uber                     $    10.95 Birmingham, AL      TM December travel expenses        TM ground transport in birmingham 11 ct street to     TM                            Auto              Car Service
                                                                                                                                                                                                                       richard arrington jr blvd
1155             2017   145564          EXP-9659    12/21/2006 - 1/11/2017   Jeff Minson   Financial Analyst   11/29/2016   Uber                     $    10.88 Birmingham, AL      TM December travel expenses        TM ground transport in birmingham 2nd ave to 11 ct TM                               Auto              Car Service
                                                                                                                                                                                                                       street
1156   9         2018   155996          EXP-11652   1/26/2018 to 3/27/2018   Jeff Minson   Financial Analyst   2/21/2018    Ritz Carlton             $   676.04 Mclean, VA          TM FEB EXP                         Unknown                                               Christopher Kinney            Travel            Lodging       Arrival Date: 02/21/18
                                                                                                                                                                                                                                                                                                                                           Departure Date: 02/22/18
                                                                                                                                                                                                                                                                                                                                           Total: $676.04
1157             2018   160161          12123       7/20/2018-8/13/2018      Jeff Minson   Financial Analyst   7/27/2018    Uber                     $    10.65 Los Angeles, CA     TM July Travel                     7/23/18 - Tip for Uber driver for ride from Los       Anthony Makris                Auto              Car Service   Email from Stephanie West to Jeff Minson: Items below were charged on
                                                                                                                                                                                                                       Angeles to Sherman Oaks                                                                                             Tony's (Makris) personal card.
1158             2017   147112          EXP-10160   1/6/17 - 3/31/17         Jeff Minson   Financial Analyst   2/13/2017    Beverly Hills Cab        $    10.00 Beverly Hills, CA   TM FEB Travel                      BH Cab to meet Ken Elliott                            TM                            Auto              Taxi
1159             2017   144737          EXP-9318    10/13/2013 - 1/5/2017    Jeff Minson   Financial Analyst   10/31/2016   Shell Oil                $    10.00 Holladay, TN        TM November Travel                 gas for avis rental                                   TM                            Auto              Gas
1160   9         2016   137631/136135   EXP-6836    12/1/2015 - 3/10/2016    Jeff Minson   Financial Analyst   1/23/2016    Four Seasons             $    9.73 Las Vegas, NV        TM TRAVEL January 2016 Florida     Food/Bev Jack Ramsey(TS) Jan 20-22 SHOT Show          Jack Ramsey (TS)              Meals/Beverages   Individual    Arrival 1/20
                                                                                                                                                                                    Dallas Vegas (SHOT Show) and Los                                                                                                                       Departure 1/23
                                                                                                                                                                                    Angeles
1161             2018   154707/155520   11516       1/1/2018 to 2/8/2018     Jeff Minson   Financial Analyst   1/24/2018    MMs Mayo                 $    9.72 Phoenix, AZ          TM Jan Travel                      Unknown                                               Tony Makris; Wayne LaPierre   Meals/Beverages   Group         Charge for purchase of breakfast and drinks at the Mayo Clinic with Wayne
                                                                                                                                                                                                                                                                                                                                           LaPierre
1162   9         2018   155996          EXP-11652   1/26/2018 to 3/27/2018   Jeff Minson   Financial Analyst   2/21/2018    Four Seasons             $   192.88 Dallas, TX          TM FEB EXP                         Unknown                                               Christopher Kinney            Travel            Lodging       Arrival date: 02/18/18
                                                                                                                                                                                                                                                                                                                                           Departure: 02/21/18
                                                                                                                                                                                                                                                                                                                                           Amount: $192.88
1163             2018   160161          12123       7/20/2018-8/13/2018      Jeff Minson   Financial Analyst   7/26/2018    Uber                     $    9.41 Sherman Oaks, CA     TM July Travel                     7/23/18 - Tip for Uber driver for ride from Sherman   Anthony Makris                Auto              Car Service   Email from Stephanie West to Jeff Minson: Items below were charged on
                                                                                                                                                                                                                       Oaks to Beverly Hills                                                                                               Tony's (Makris) personal card.
1164             2017   153476          EXP-11222   9/30/2000 - 11/14/2017   Jeff Minson   Financial Analyst   10/11/2017   Delta Airlines           $    9.00 Unknown              TM OCT Travel                      Passenger: Tony Makris DFW/ATL                        Tony Makris                   Travel            Airfare
1165   1; 9      2016   137631/136135   EXP-6836    12/1/2015 - 3/10/2016    Jeff Minson   Financial Analyst   1/19/2016    Ritz Carlton             $    8.52 Orlando, FL          TM TRAVEL January 2016 Florida     WLP bev Jan 18 Orlando FL ROOM 932                    WLP                           Meals/Beverages   Individual    Handwritten note on Tony's CC statement says 'mini bar'
                                                                                                                                                                                    Dallas Vegas (SHOT Show) and Los
                                                                                                                                                                                    Angeles
1166   7         2016   137631          EXP-7293    2/7/2016 - 4/15/2016     Jeff Minson   Financial Analyst   2/11/2016    CXIII/Landini Brothers   $    7.65 Alexandria, VA       TM March Travel                    Lunch TM beverage charged added to Feb 10th meal      TM                            Meals/Beverages   Individual
                                                                                                                                                                                                                       part of $5853.02
1167             2017   144737          EXP-9318    10/13/2013 - 1/5/2017    Jeff Minson   Financial Analyst   10/31/2016   Pilot                    $    7.59 Caddo Valley, AR     TM November Travel                 gas for avis rental                                   TM                            Auto              Gas
1168             2018   154707/155520   11516       1/1/2018 to 2/8/2018     Jeff Minson   Financial Analyst   1/24/2018    Four Seasons             $    6.50 Las Vegas, NV        TM Jan Travel                      Unknown                                               TM                            Unknown           Unknown
1169             2016   137631/136135   EXP-6836    12/1/2015 - 3/10/2016    Jeff Minson   Financial Analyst   1/14/2016    Ritz Carlton             $    6.50 Dallas, TX           TM TRAVEL January 2016 Florida     TM Food/Bev charge jan 14 Dallas                      TM                            Meals/Beverages   Individual    Arrival 1/12
                                                                                                                                                                                    Dallas Vegas (SHOT Show) and Los                                                                                                                       Departure 1/14
                                                                                                                                                                                    Angeles
1170             2016   138653          EXP-7581    3/1/2016 - 6/28/2016     Jeff Minson   Financial Analyst   4/12/2016    Ritz Carlton             $    6.50 Dallas, TX           TM April Travel                    Food bev T Makris Dallas April 11-12                  Anthony Makris                Meals/Beverages   Individual
1171             2018   155996          EXP-11652   1/26/2018 to 3/27/2018   Jeff Minson   Financial Analyst   2/21/2018    Four Seasons             $   (22.10) Dallas, TX         TM FEB EXP                         Unknown                                               Tony Makris                   Travel            Lodging       Arrival date: 02/18/18
                                                                                                                                                                                                                                                                                                                                           Departure: 02/21/18
                                                                                                                                                                                                                                                                                                                                           Amount: ($22.10)
1172             2016   136859          EXP-6997    1/7/2016 - 3/22/2016     Jeff Minson   Financial Analyst   2/7/2016     Four Seasons             $    6.49 Unknown              TM February Travel                 feb 2-7 supplemental bev charge seasons vegas TM      TM                            Meals/Beverages   Individual


1173             2016   137631          EXP-7293    2/7/2016 - 4/15/2016     Jeff Minson   Financial Analyst   3/8/2016     Four Seasons             $    6.49 Las Vegas, NV        TM March Travel                    Bev charges Tony Makris Mar 4 - 7th 2016              Tony Makris                   Meals/Beverages   Individual
1174             2018   155996          EXP-11652   1/26/2018 to 3/27/2018   Jeff Minson   Financial Analyst   2/22/2018    Ritz Carlton             $   753.81 Mclean, VA          TM FEB EXP                         Unknown                                               Tony Makris                   Travel            Lodging       Arrival Date: 02/21/18
                                                                                                                                                                                                                                                                                                                                           Departure Date: 02/22/18
                                                                                                                                                                                                                                                                                                                                           Total: $753.81
1175             2017   145564          EXP-9659    12/21/2006 - 1/11/2017   Jeff Minson   Financial Analyst   12/1/2016    Hermitage                $    5.48 Nashville, TN        TM December travel expenses        TM first aid kit purchased @ hermitage minibar        TM                            Miscellaneous     Other
1176   1; 9      2017   144737          EXP-9318    10/13/2013 - 1/5/2017    Jeff Minson   Financial Analyst   11/15/2016   Four Seasons             $    5.41 Austin, TX           TM November Travel                 breakfast WLP Austin TX Media Meetings                Wayne Roberts                 Meals/Beverages   Individual    Guest: Wayne Roberts
                                                                                                                                                                                                                                                                                                                                           Arrive: 11/13/16 Depart: 11/14/16
1177             2018   157570          11839       1/2/2018-                Jeff Minson   Financial Analyst   4/10/2018    Dallas Airport           $    5.00 Dallas, TX           TM April Travel                    Unknown                                               TM                            Travel            Other
                                                    5/11/2018
1178             2018   157570          11839       1/2/2018-                Jeff Minson   Financial Analyst   4/10/2018    Dallas Airport           $    5.00 Dallas, TX           TM April Travel                    Unknown                                               TM                            Travel            Other
                                                    5/11/2018
1179             2018   155996          EXP-11652   1/26/2018 to 3/27/2018   Jeff Minson   Financial Analyst   2/28/2018    Jacksonville Airport     $    5.00 Jacksonville, TN     TM FEB EXP                         Unknown                                               TM                            Travel            Airfare
1180             2018   155996          EXP-11652   1/26/2018 to 3/27/2018   Jeff Minson   Financial Analyst   2/11/2018    National Airport         $    5.00 Washington, DC       TM FEB EXP                         Unknown                                               TM                            Travel            Airfare       Cart rental
1181             2017   146420/145983   EXP-9902    12/3/2016-               Jeff Minson   Financial Analyst   1/19/2017    Dallas Airport           $    5.00 Dallas, TX           TM January Travel                  TM Cart Rental for Dallas Airport                     TM                            Travel            Other
                                                    2/14/2017
1182             2017   146420/145983   EXP-9902    12/3/2016-               Jeff Minson   Financial Analyst   1/19/2017    Dallas Airport           $    5.00 Dallas, TX           TM January Travel                  TM Cart Rental for Dallas Airport                     TM                            Travel            Other
                                                    2/14/2017
1183             2018   156967          EXP-11729   3/1/2018 - 4/30/2018     Jeff Minson   Financial Analyst   3/13/2018    National Airport         $    5.00 Arlington, VA        TM March Travel                    Unknown                                               TM                            Travel            Other         Date: 03/14/18
                                                                                                                                                                                                                                                                                                                                           National AP Cart rental Arlington, VA
                                                                                                                                                                                                                                                                                                                                           Amount: $5.00
                                                                                                                                                                                                                                                                                                                                           No receipt provided
1184             2018   158118          EXP-11895   5/1/2018 - 6/4/2018      Jeff Minson   Financial Analyst   5/4/2018     Dallas Airport           $    5.00 Dallas, TX           TM May Travel Part 1               DFW Cart Rental                                       Tony Makris                   Travel            Airfare
1185             2018   158118          EXP-11895   5/1/2018 - 6/4/2018      Jeff Minson   Financial Analyst   5/4/2018     Dallas Airport           $    5.00 Dallas, TX           TM May Travel Part 1               DFW Cart Rental                                       Tony Makris                   Travel            Airfare
1186             2017   152775          EXP-11176   8/30/2017 - 10/20/2017   Jeff Minson   Financial Analyst   9/13/2017    National Airport         $    5.00 Washington, DC       TM SEPT Travel                     airport cart rental                                   TM                            Travel            Other
1187             2017   152775          EXP-11176   8/30/2017 - 10/20/2017   Jeff Minson   Financial Analyst   9/22/2017    National Airport         $    5.00 Chicago, IL          TM SEPT Travel                     airport cart rental                                   TM                            Travel            Other
1188             2017   152775          EXP-11176   8/30/2017 - 10/20/2017   Jeff Minson   Financial Analyst   9/27/2017    National Airport         $    5.00 Arlington, VA        TM SEPT Travel                     airport cart rental                                   TM                            Travel            Other
1189             2016   143559          EXP-9110    9/1/2016 - 11/16/2016    Jeff Minson   Financial Analyst   10/27/2016   Nashville Airport        $    5.00 Nashville, TN        TM October Travel Expense          cart rental at Nashville airport                      TM                            Travel            Other
1190             2017   153476          EXP-11222   9/30/2000 - 11/14/2017   Jeff Minson   Financial Analyst   9/29/2017    Dallas Airport           $    5.00 Dallas, TX           TM OCT Travel                      cart rental                                           TM                            Travel            Other
1191             2017   149459          EXP-10720   4/4/2017 - 7/11/2017     Jeff Minson   Financial Analyst   5/28/2017    Burbank Airport          $    4.00 Burbank, CA          Unknown                            Unknown                                               TM                            Travel            Other
1192             2017   149459          EXP-10720   4/4/2017 - 7/11/2017     Jeff Minson   Financial Analyst   5/28/2017    Burbank Airport          $    4.00 Burbank, CA          Unknown                            Unknown                                               TM                            Meals/Beverages   Individual
1193             2017   149459          EXP-10720   4/4/2017 - 7/11/2017     Jeff Minson   Financial Analyst   5/28/2017    Burbank Airport          $    4.00 Burbank, CA          Unknown                            Unknown                                               TM                            Meals/Beverages   Individual
1194             2017   143169          EXP-8888    8/1/2016 - 10/24/2016    Jeff Minson   Financial Analyst   9/18/2016    Baggage Cart             $    4.00 Unknown              TM September Travel                Baggage cart rental airport no receipt                TM                            Travel            Other
                                                                                                                                                                                                                       retained/dispensed
1195             2018   157570          11839       1/2/2018-                Jeff Minson   Financial Analyst   4/8/2018     CMS Vending              $    2.10 Dallas, TX           TM April Travel                    Unknown                                               Tony Makris                   Meals/Beverages   Individual    Note in CC: Bottle of water vending machine per SW
                                                    5/11/2018
1196   1; 9      2017   146420/145983   EXP-9902    12/3/2016-               Jeff Minson   Financial Analyst   1/18/2017    Four Seasons             $    1.90 Las Vegas, NV        TM January Travel                  Room tax increase on Lance Olson room - deposit       Lance Olson                   Travel            Toll          Guest: Lance Olson Arrive: 1/18/17 Depart: 1/18/17
                                                    2/14/2017                                                                                                                                                          previously charged
1197             2018   155996          EXP-11652   1/26/2018 to 3/27/2018   Jeff Minson   Financial Analyst   2/14/2018    USA Canteen              $    1.60 Unknown              TM FEB EXP                         "Snack from vending machine"                          TM                            Meals/Beverages   Individual    Expense report states "USA Canteen vending machine no receipt"
1198             2016   136859          EXP-6997    1/7/2016 - 3/22/2016     Jeff Minson   Financial Analyst   1/29/2016    LA City Parking          $    1.50 Unknown              TM February Travel                 city parking                                          Tony Makris                   Auto              Parking
1199             2018   156967          EXP-11729   3/1/2018 - 4/30/2018     Jeff Minson   Financial Analyst   3/15/2018    USA*A                    $    1.10 Manassas, VA         TM March Travel                    Unknown                                               Tony Makris                   Meals/Beverages   Individual    Date: 03/16/18
                                                                                                                                                                                                                                                                                                                                           USA Prince William Manassas, VA
                                                                                                                                                                                                                                                                                                                                           Fast Food Restaurant
                                                                                                                                                                                                                                                                                                                                           Amount: $1.10
                                                                                                                                                                                                                                                                                                                                           No receipt provided




                                                                                                                                                                                                                                                                                                                                                                                    APP. 01982
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1200   9; 13   2018   154706/155170   11424       11/28/2017-               Jeff Minson   Financial Analyst   12/21/2017   Harry & David               $       (1.45) Unknown            TM December            Unknown                                                  JD Williams                  Miscellaneous   Gift      Holiday gift basket to JD Williams wishing Merry Christmas.
                                                  1/5/2018
1201   13      2018   154706/155170   11424       11/28/2017-               Jeff Minson   Financial Analyst   11/28/2017   Harry & David               $       (1.66) Unknown            TM December            Unknown                                                  Tony Makris; JD Williams     Miscellaneous   Gift      credit associated with 120.12
                                                  1/5/2018
1202   13      2018   154706/155170   11424       11/28/2017-               Jeff Minson   Financial Analyst   12/7/2017    Harry & David               $       (1.69) Unknown            TM December            Unknown                                                  Tony Makris; JD Williams     Miscellaneous   Gift      credit associated with 120.12
                                                  1/5/2018
1203           2018   155996          EXP-11652   1/26/2018 to 3/27/2018    Jeff Minson   Financial Analyst   1/31/2018    Harry & David               $       (2.08) Unknown            TM FEB EXP             Internet generated tax credit                            Tony Makris                  Miscellaneous   Gift      Expense report stated "No receipt INET generated credit"
1204   9; 13   2017   144737          EXP-9318    10/13/2013 - 1/5/2017     Jeff Minson   Financial Analyst   11/23/2016   Harry & David               $       (2.25) Unknown            TM November Travel     credit for jd williams gift shipping no receipt          JD Williams                  Miscellaneous   Gift
1205   13      2018   154706/155170   11424       11/28/2017-               Jeff Minson   Financial Analyst   12/7/2017    Harry & David               $       (2.57) Unknown            TM December            Unknown                                                  Tony Makris; JD Williams     Miscellaneous   Gift      credit associated with 120.12
                                                  1/5/2018
1206   9       2018   155996          EXP-11652   1/26/2018 to 3/27/2018    Jeff Minson   Financial Analyst   2/22/2018    Ritz Carlton                $      548.46 Mclean, VA          TM FEB EXP             Unknown                                                  Joshua Powell                Travel          Lodging   Arrival Date: 02/21/18
                                                                                                                                                                                                                                                                                                                                Departure Date: 02/22/18
                                                                                                                                                                                                                                                                                                                                Total: $548.46
1207   9       2018   155996          EXP-11652   1/26/2018 to 3/27/2018    Jeff Minson   Financial Analyst   2/27/2018    Simon Islands               $    8,761.85 Georgia             TM FEB EXP             Unknown                                                  Wayne Roberts                Travel          Lodging   Arrival Date: 02/22/18
                                                                                                                                                                                                                                                                                                                                Departure Date: 02/27/18
                                                                                                                                                                                                                                                                                                                                Total: $8761.85
1208   2; 9    2017   149459          EXP-10720   4/4/2017 - 7/11/2017      Jeff Minson   Financial Analyst   5/26/2017    American Airlines           $      (15.00) Phoenix, AZ        Unknown                Unknown                                                  Elicia Loughlin              Travel          Airfare   Flight from Burbank CA to Phoenix AZ
1209           2018   155996          EXP-11652   1/26/2018 to 3/27/2018    Jeff Minson   Financial Analyst   2/27/2018    Simon Islands               $    5,434.36 Georgia             TM FEB EXP             Unknown                                                  Tony Makris                  Travel          Lodging   Arrival Date: 02/22/18
                                                                                                                                                                                                                                                                                                                                Departure Date: 02/27/18
                                                                                                                                                                                                                                                                                                                                Total: $5434.36
1210           2017   148014          EXP-10160   1/6/17-3/31/17            Jeff Minson   Financial Analyst   n/a          Unknown                     $      (20.85) Unknown            TM FEB Travel          Unknown                                                  TM                           Unknown         Unknown   $20.85 credited back from $69,757.57 expense report - Related to invoice #
                                                                                                                                                                                                                                                                                                                                147112
                                                                                                                                                                                                                                                                                                                                Line item did not appear on an expense report - handwritten note saying
                                                                                                                                                                                                                                                                                                                                amount was to be credited back next month (March)
1211           2018   155996          EXP-11652   1/26/2018 to 3/27/2018    Jeff Minson   Financial Analyst   1/31/2018    Harry & David               $      (20.89) Unknown            TM FEB EXP             Unknown                                                  Tony Makris                  Miscellaneous   Gift      Order summary email screenshot for order placed on January 30, 2018.
                                                                                                                                                                                                                                                                                                                                Billing Address:
                                                                                                                                                                                                                                                                                                                                Tony Makris
                                                                                                                                                                                                                                                                                                                                52 Wolfe Street, Alexandria, VA 22314-3865
                                                                                                                                                                                                                                                                                                                                Email: southernbell2764@yahoo.com
                                                                                                                                                                                                                                                                                                                                Payment method: American Express …5006 - $298.75
                                                                                                                                                                                                                                                                                                                                Payment method: Alternate ….5006 - ($20.89)
                                                                                                                                                                                                                                                                                                                                Order total: $277.86
                                                                                                                                                                                                                                                                                                                                Shipping Address:
                                                                                                                                                                                                                                                                                                                                The Carol Jo Williams
                                                                                                                                                                                                                                                                                                                                7343 County Road 3000
                                                                                                                                                                                                                                                                                                                                Pearsall, TX 78061


1212   9       2018   155996          EXP-11652   1/26/2018 to 3/27/2018    Jeff Minson   Financial Analyst   2/27/2018    Simon Islands               $    3,656.16 Georgia             TM FEB EXP             Unknown                                                  Christopher Kinney           Travel          Lodging   Arrival Date: 02/22/18
                                                                                                                                                                                                                                                                                                                                Departure Date: 02/27/18
                                                                                                                                                                                                                                                                                                                                Total: $3656.16
1213           2018   155996          EXP-11652   1/26/2018 to 3/27/2018    Jeff Minson   Financial Analyst   2/27/2018    Simon Islands               $      214.22 Georgia             TM FEB EXP             Unknown                                                  Tony Makris                  Travel          Lodging   Arrival Date: 02/22/18
                                                                                                                                                                                                                                                                                                                                Departure Date: 02/27/18
                                                                                                                                                                                                                                                                                                                                Total: $214.22 (guest transpiration charge on 02/27/18)
1214           2017   148014          EXP-10319   2/11/2017 - 5/10/2017     Jeff Minson   Financial Analyst   2/26/2017    American Airlines           $     (206.10) Unknown            TM March travel        AA air credit for ticket 00179488871803 reported in Anthony Makris                    Travel          Airfare   "Debit reported with Feb report" handwritten
                                                                                                                                                                                                                Feb travel expenses
1215   9       2018   155996          EXP-11652   1/26/2018 to 3/27/2018    Jeff Minson   Financial Analyst   1/31/2018    Jetsuitex                   $     (219.00) Unknown            TM FEB EXP             Unknown                                                  Nader Tavangar               Travel          Airfare   Booking confirmation W7GJ02 - reservation cancellation email
                                                                                                                                                                                                                                                                                                                                Payment details:
                                                                                                                                                                                                                                                                                                                                Nader Tavangar - $219.00, January 17, 2018
                                                                                                                                                                                                                                                                                                                                Nader Tavangar - ($219.00), January 30, 2018
                                                                                                                                                                                                                                                                                                                                Original reservation was departing from Burbank @ 9:00am and arriving in Las
                                                                                                                                                                                                                                                                                                                                Vegas @ 10:05am on January 31, 2018
                                                                                                                                                                                                                                                                                                                                Handwritten note stating "Cancelled credit to follow"
1216   2; 9    2018   160161          12119       6/28/2018 - 8/8/2018      Jeff Minson   Financial Analyst   7/31/2018    Delta Airlines              $     (293.20) Unknown            TM July Travel         Unknown                                                  Warner                       Travel          Airfare   Email correspondence between Stephanie West and Jeff Minson:
                                                                                                                                                                                                                                                                                                                                Delta airline credit for unused portion of Warner's
1217   3       2018   156967          EXP-11729   3/1/2018 - 4/30/2018      Jeff Minson   Financial Analyst   3/21/2018    Kiawah Island Golf Resort   $    1,056.55 Kiawah Island, SC   TM March Travel        Lodging Arrival 3/24 - 3/26                              Anthony Makris               Travel          Lodging   Arrival: 03/24/18
                                                                                                                                                                                                                                                                                                                                Departure: 03/26/18
                                                                                                                                                                                                                                                                                                                                Amount: $1056.55
1218   3       2018   156967          EXP-11729   3/1/2018 - 4/30/2018      Jeff Minson   Financial Analyst   3/27/2018    Kiawah Island Golf Resort   $    1,157.39 Kiawah Island, SC   TM March Travel        Lodging Arrival 3/24 - 3/26                              Anthony Makris               Travel          Lodging   Arrival: 03/24/18
                                                                                                                                                                                                                                                                                                                                Departure: 03/26/18
                                                                                                                                                                                                                                                                                                                                Amount: $1157.39
1219           2017   144737          EXP-9318    10/13/2013 - 1/5/2017     Jeff Minson   Financial Analyst   10/31/2016   American Airlines           $     (557.60) Unknown            TM November Travel     Credit el airfair part of 1211.12 booked and billed in   Tony Makris                  Travel          Airfare
                                                                                                                                                                                                                october
1220           2018   154261          EXP-11340   11/1/2017 to 12/11/2017   Jeff Minson   Financial Analyst   11/16/2017   Delta Airlines              $     (572.20) Unknown            TM November Travel     Support refund                                           Tony Makris                  Travel          Airfare
1221   9       2017   150457          EXP-10850   6/7/2017-                 Jeff Minson   Financial Analyst   6/15/2017    AMEX                        $     (623.54) Unknown            Unknown                Unknown                                                  Nicole Capiselo              Unknown         Unknown   "Travel Nicole Capiselo"
                                                  7/31/2017
1222           2017   144737          EXP-9318    10/13/2013 - 1/5/2017     Jeff Minson   Financial Analyst   11/4/2016    American Airlines           $     (653.52) Unknown            TM November Travel     Credit el airfair part of 1211.12 booked and billed in   Tony Makris                  Travel          Airfare
                                                                                                                                                                                                                october
1223           2017   153476          EXP-11222   9/30/2000 - 11/14/2017    Jeff Minson   Financial Analyst   9/27/2017    Delta Airlines              $     (665.20) Unknown            TM OCT Travel          Refunded, charged on sept report                         TM                           Travel          Airfare   handwritten parenthesis on amount saying "refunded charged on sept report,
                                                                                                                                                                                                                                                                                                                                credit on oct report"
1224           2018   157570          11839       1/2/2018-                 Jeff Minson   Financial Analyst   4/10/2018    Ritz Carlton                $    1,502.01 Dallas, TX          TM April Travel        Unknown                                                  Tony Makris                  Travel          Lodging   4/8-4/10
                                                  5/11/2018
1225           2018   155996          EXP-11652   1/26/2018 to 3/27/2018    Jeff Minson   Financial Analyst   2/14/2018    Virgin America              $     (836.63) Unknown            TM FEB EXP             Passenger: Tony Makris                                   Tony Makris; Elicia Warner   Travel          Airfare   Passenger: Tony Makris
                                                                                                                                                                                                                Flight details: 07 Feb 2018, Los Angeles/Dallas-Love                                                            Flight details: 07 Feb 2018, Los Angeles/Dallas-Love Field
                                                                                                                                                                                                                Field                                                                                                           Flight details: 13 Feb 2018, Dallas-Love Field/Los Angeles
                                                                                                                                                                                                                Flight details: 13 Feb 2018, Dallas-Love Field/Los                                                              "Credit to follow"
                                                                                                                                                                                                                Angeles                                                                                                         Elicia Warner's name circled --> "2nd half not utilized, charge to support the
                                                                                                                                                                                                                "Credit to follow"                                                                                              credit of $836.65"
                                                                                                                                                                                                                Elicia Warner's name circled --> "2nd half not
                                                                                                                                                                                                                utilized, charge to support the credit of $836.65"


1226   1; 9    2018   157570          11839       1/2/2018-                 Jeff Minson   Financial Analyst   4/19/2018    Four Seasons                $    9,550.42 Scottsdale, AZ      TM April Travel        Unknown                                                  Wayne Roberts                Travel          Lodging   There are several charges for Residence Club Rack Rental (1700USD), Resort
                                                  5/11/2018                                                                                                                                                                                                                                                                     Fees, Lunch charge, and breakfast charge with the note "Routed From Roberts
                                                                                                                                                                                                                                                                                                                                Wayne of Room 3911"
1227           2017   150457          EXP-10850   6/7/2017-                 Jeff Minson   Financial Analyst   6/1/2017     Alaska Airlines             $     (854.21) Unknown            Unknown                Unknown                                                  TM                           Travel          Airfare   Supported refund
                                                  7/31/2017
1228           2018   158118          EXP-11895   5/1/2018 - 6/4/2018       Jeff Minson   Financial Analyst   5/1/2018     Mansion on Turtle Creek     $   11,511.20   Dallas, TX        TM May Travel Part 1   Arrival: 5/1/18                                          Tony Makris                  Travel          Lodging   Room 816 - Room Type: MST
                                                                                                                                                                                                                Departure: 5/8/18                                                                                               $1200 a night + $159 Room Occupancy Tax




                                                                                                                                                                                                                                                                                                                                                                            APP. 01983
                                                                                                                                                 Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21                                                                                                                   Page 705 of 1087 PageID 30910




1229                               2018        155996                      EXP-11652                       1/26/2018 to 3/27/2018             Jeff Minson                                 Financial Analyst    1/26/2018                Delta Airlines      $     (927.56) Unknown         TM FEB EXP             Flight details: 26-Jan-2018 West Palm Beach/Atlanta    Anthony Makris                                    Travel          Airfare   Passenger: Makris/Anthony S
                                                                                                                                                                                                                                                                                                                  Flight details: 26-Jan-2018 Atlanta/Los Angeles                                                                                    Total ticket amount: $927.56
                                                                                                                                                                                                                                                                                                                  "Reported last mnoth - posted on Jan. 11, 2018"                                                                                    Handwritten note that says "Credited in Feb, Reported in Jan" and "From
                                                                                                                                                                                                                                                                                                                                                                                                                                                     West Palm Beach to LA"


1230                               2018        160896                      EXP-12196                       7/23/2018 to 9/13/2018             Jeff Minson                                 Financial Analyst    8/2/2018                 Alaska Airlines     $     (998.20) Unknown         TM August Travel       Unknown                                                Tony Makris                                       Travel          Airfare   Refunded - trip canceled
                                                                                                                                                                                                                                                                                                                                                                                                                                                     Original ticket date - 7/18/2018
1231                               2018        158118                      EXP-11895                       5/1/2018 - 6/4/2018                Jeff Minson                                 Financial Analyst    5/11/2018                Hotel Zaza          $   34,619.97   Dallas, TX     TM May Travel Part 1   Hotel Room + Charges:                                  Mark Dycio; Colleen Gallagher; Jon Gutierrez; Tony Travel         Lodging   Guests: Mark Dycio; Colleen Gallagher; Jon Gutierrez; Tony Makris; Danielle
                                                                                                                                                                                                                                                                                                                  Arrival: 4/28/18                                       Makris; Danielle Quinn                                                      Quinn
                                                                                                                                                                                                                                                                                                                  Departure: 5/10/18
1232                               2018        154706/155170               11424                           11/28/2017-                        Jeff Minson                                 Financial Analyst    12/1/2018                Four Seasons        $     (883.23) Las Vegas, NV   TM December            Unknown                                                TM                                                Travel          Lodging
                                                                                                           1/5/2018
1233                               2018        158521                      EXP-11895                       5/1/2018 - 6/4/2018                Jeff Minson                                 Financial Analyst    n/a                      Unknown             $    (1,192.50) Unknown        TM May Travel Part 1   Overbilled in May by $1192.50. Billed $95,265.67       TM                                                Unknown         Unknown   Note on EXP-11895: ($1,19250) overbilled for the month of May - $95,264.6
                                                                                                                                                                                                                                                                                                                  instead of $94,072.17
1234                               2018        160896                      EXP-12196                       7/23/2018 to 9/13/2018             Jeff Minson                                 Financial Analyst    7/23/2018                Delta Airlines      $    (1,469.64) Unknown        TM August Travel       Unknown                                                Tony Makris                                       Travel          Airfare   Trip was originally booked at $2687.66
                                                                                                                                                                                                                                                                                                                                                                                                                                                     Refund of $1,469.63 for trip cancelation
                                                                                                                                                                                                                                                                                                                                                                                                                                                     Airfare from Savannah to PHX - JUL 17; did not take return trip
1235                               2018        159388                      EXP-12039                       5/29/2018-                         Jeff Minson                                 Financial Analyst    6/21/2018                Delta Airlines      $    (1,633.60) Unknown        TM June Travel         Per CC Statement: Supported Refund - From              TM                                                Travel          Airfare
                                                                                                           7/11/2018                                                                                                                                                                                              Savannah, GA., Atlanta, GA., Phoenix, AZ, Atlanta
                                                                                                                                                                                                                                                                                                                  GA., Savannah, GA.
1236                               2018        154707/155520               11516                           1/1/2018 to 2/8/2018               Jeff Minson                                 Financial Analyst    1/2/2018                 American Airlines   $    (2,894.49) Unknown        TM Jan Travel          Unknown                                                Tony Makris                                       Travel          Airfare   originally reported on Exp 11424
1237                               2017        148749                      EXP-10485                       3/9/2017 - 7/11/2017               Jeff Minson                                 Financial Analyst    3/14/2017                Cash Tips           $    (3,500.00) Unknown        Unknown                Annual Meeting Advance                                 TM                                                Miscellaneous   Tips      Date: 03/14/17
                                                                                                                                                                                                                                                                                                                                                                                                                                                     Annual Meeting Advance
                                                                                                                                                                                                                                                                                                                                                                                                                                                     Amount: $3500
                                                                                                                                                                                                                                                                                                                                                                                                                                                     Tips for drivers, room service, bell hop, concierge, and helpers while at the
                                                                                                                                                                                                                                                                                                                                                                                                                                                     convention
1238            6; 9               2016        140440                      EXP-8075                        5/2/16 to 7/22/16                  Jeff Minson                                 Financial Analyst    6/3/2018                 American Airlines   $   (14,303.76) Unknown        TM June Travel         Refund for ticket 00177696257295 for Susan             SLP                                               Travel          Airfare
                                                                                                                                                                                                                                                                                                                  LaPierre; credit air for SLP could not make the trip


1239            6; 9               2016        140440                      EXP-8075                        5/2/16 to 7/22/16                  Jeff Minson                                 Financial Analyst    6/3/2018                 American Airlines   $   (14,303.76) Unknown        TM June Travel         Refund for ticket 0017766257284 for Wayne              WLP                                               Travel          Airfare
                                                                                                                                                                                                                                                                                                                  LaPierre; credit air for WLP could not make the trip



Note 1
The following categories were assigned to example transactions:
             1 Examples include expenses charged by NRA executives (Millie Hallow, Josh Powell, John Perren, Lance Olson and Wayne LaPierre) to Tony Makris' expense account. There is no evidence that Tony Makris was at the event.
             2 Examples include charges for Warner Louglin with no business purpose indicated.
             3 Examples include duplicate lodging charges for Tony Makris on the same date.
             4 Examples include advance deposits made by Tony Makris. One advance deposit was for $20,000 and made for a year in advance.
             5 Examples include expenses for gifts purchased including NRA employees.
             6 Examples reflect airfare refunds for Wayne and Susan LaPierre.
             7 Examples include expenses that are portions of a larger expense.
             8 Examples include expenses that represent WLP requesting lodging for a confidential guest.
             9 Examples include expenses charged to Tony Makris' expense account. There is no evidence that Tony Makris was at the event.
            10 Examples include expenses charged by NRA executives (Millie Hallow, Josh Powell, John Perren, Lance Olson and Wayne LaPierre) to Nader Tavangar's expense account. There is no evidence that Nader Tavangar was at the event.
            11 Examples include expenses charged for relocation of Josh Powell.
            12 Examples include expenses incurred in regard to the H2H Gala sponsored by Susan LaPierre.
            13 Gifts for NRA employees that are charged to NRA via out of pocket expenses




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 APP. 01984
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Total Expenses by Month and Year
The following graphic visually depicts Tony Makris' total expenses by month and year. Source: 'Detail' tab


 160000



 140000



 120000



 100000



  80000

                                                                                                                        Total

  60000



  40000



  20000



       0
           Aug




           Aug
            Jan
           Feb

           Apr




           Aug
           Sep



            Jan
           Feb

           Apr




           Sep




           Sep
           Nov



            Jan
           Feb

           Apr




           Nov
           Mar

           May




           Mar

           May




           Mar

           May
           Jun
             Jul



           Oct




           Jun
             Jul



           Oct




           Jun
             Jul



           Oct
           Dec




           Dec
           n/a




           Dec
           n/a
                         2016                                    2017                                        2018
 -20000




                                                                                                                                APP. 01985
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Privileged and Confidential                                                         Expenses by Category

The following table shows the total amount of expenses by category and
to the total. A separate table is shown for gifts that were purchased for
of pocket expenses. Source: Columns P, Q, and K on 'Detail' tab




                                                                                                            APP. 01986
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The following table shows the names transcribed from the documents and FRA's assumptions as to the identity of the individuals.


Transcribed Names from Support1                       Assumed Name2                               Assumed NRA Affiliation2               Assumed Position2
3 Guests                                              Unnamed guests                              Non-NRA                                Unnamed Guests
3 passengers                                          Unnamed guests                              Non-NRA                                Unnamed Guests
AA                                                    Andrew Arulanandam                          NRA Affiliated                         Managing Director of Public Affairs at NRA
Admiral Marc Fitzgerald                               Admiral Marc Fitzgerald                     Non-NRA                                Retired US Navy Admiral
AF                                                    Andra Fischer                               NRA Affiliated                         NRA Pistol Instructor; Wayne's Office Manager/Exec Assistant
Al McCalhot                                           Al Micallef                                 Non-NRA                                Al McCalhot & AL Mocallef = Al Micallef, Micallef Cigars Ft. Worth, TX
AL Mocallef                                           Al Micallef                                 Non-NRA                                Al McCalhot & AL Mocallef = Al Micallef, Micallef Cigars Ft. Worth, TX
Alex Castellano                                       Alex Castellanos                            Non-NRA                                GOP Strategist, Political Consultant
AM                                                    Tony Makris                                 Non-NRA                                President of Mercury Group
Amy Adams                                             Amy Adams                                   Non-NRA                                Actress
AN                                                    AN                                          Non-NRA                                Unknown
Andrew A                                              Andrew Arulanandam                          NRA Affiliated                         Managing Director of Public Affairs at NRA
Andrew Arulankim                                      Andrew Arulanandam                          NRA Affiliated                         Managing Director of Public Affairs at NRA
Andrew Arulunde                                       Andrew Arulanandam                          NRA Affiliated                         Managing Director of Public Affairs at NRA
Andrew Arundalde                                      Andrew Arulanandam                          NRA Affiliated                         Managing Director of Public Affairs at NRA
Andrew Arunlorde                                      Andrew Arulanandam                          NRA Affiliated                         Managing Director of Public Affairs at NRA
Anthony Makris and Wife                               Mr. and Mrs. Tony Makris                    Non-NRA                                President of Mercury Group
Anthony Makris                                        Tony Makris                                 Non-NRA                                President of Mercury Group
Aron Algrin                                           Aron Algrin                                 Non-NRA                                Unknown
Ashley Hackler                                        Ashley Hackler                              Non-NRA                                Vice President, Office of the CEO, Ackerman McQueen
Audra Fischer                                         Andra Fischer                               NRA Affiliated                         NRA Pistol Instructor; Wayne's Office Manager/Exec Assistant
Bill Hughes                                           Bill Hughes                                 Non-NRA                                Unknown
BJ                                                    Brad Johnson                                Non-NRA                                Actor nominated for NRA board; withdrew
Board of Directors                                    Board of Directors                          NRA Affiliated                         Board of Directors, NRA
BOD                                                   Board of Directors                          NRA Affiliated                         Board of Directors, NRA
Boomer                                                General Walter Boomer                       Non-NRA                                Retired four star general and assistant commandant of the US Marine Corps
                                                                                                                                         and business executives.
Boyd Meyer                                            Boyd Meyer                                  Non-NRA                                Unknown
Boyd Meyers                                           Boyd Meyer                                  Non-NRA                                Unknown
Brad Johnson                                          Brad Johnson                                Non-NRA                                Actor nominated for NRA board; withdrew
Brandon                                               Brandon                                     Non-NRA                                Unknown
BS                                                    Bart Skelton                                NRA Affiliated                         Director, NRA



                                                                                                                                                                                                       APP. 01987
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Burgundy               Wayne LaPierre               NRA Affiliated                EVP, NRA
C Kenney               Chris Kinney                 Non-NRA                       Unknown
C Kinney               Chris Kinney                 Non-NRA                       Unknown
C McKinney             Chris McKinney               NRA Affiliated                Executive Protection Contractor for Wayne
C Nash                 Chuck Nash                   Non-NRA                       Retired US Navy Captain and Fox News Analyst
C Ryan                 C Ryan                       Non-NRA                       Unknown
Carol Lanning          Carol Lanning                Non-NRA                       Personal Assistant to Charlton Heston
Caroline Oxford        Caroline Oxford              Non-NRA                       Unknown
Charles Marx           Charles Marx                 Non-NRA                       Unknown
Charlie Marx           Charles Marx                 Non-NRA                       Unknown
Chris Keeney           Chris Kinney                 Non-NRA                       Unknown
Chris Kenney           Chris Kinney                 Non-NRA                       Unknown
Chris Kinney           Chris Kinney                 Non-NRA                       Unknown
Chris McKinney         Chris McKinney               NRA Affiliated                Executive Protection Contractor for Wayne
Christopher Kinney     Chris Kinney                 Non-NRA                       Unknown
Chuck Nash             Chuck Nash                   Non-NRA                       Retired US Navy Captain and Fox News Analyst
CM                     Chris McKinney               NRA Affiliated                Executive Protection Contractor for Wayne
CN                     Chuck Nash                   Non-NRA                       Retired US Navy Captain and Fox News Analyst
Colleen Gallagher      Colleen Powell               Non-NRA                       Wife of Josh Powell
Colleen Powell         Colleen Powell               Non-NRA                       Wife of Josh Powell
Colleen                Colleen Powell               Non-NRA                       Wife of Josh Powell
Company                Unnamed guests               Non-NRA                       Unnamed Guests
Craig Spray            Craig Spray                  NRA Affiliated                Treasurer, NRA
D & T Selleck          Selleck Family Member        NRA Affiliated                Tom Selleck and family members
D Avilez               Dionel M Aviles              Non-NRA                       Former Secretary of the Navy (04 - 09)
D Muntz                David Muntz                  Non-NRA                       Unknown
D Muritz               David Muntz                  Non-NRA                       Unknown
D Selleck              Selleck Family Member        NRA Affiliated                Tom Selleck and family members
D Stafford             D Stafford                   Non-NRA                       Professional consulting firm specializing in campus safety.
DA                     Dionel M Aviles              Non-NRA                       Former Secretary of the Navy (04 - 09)
Dallas PD              Dallas PD                    Non-NRA                       Unknown
Damen LaSanta          Darren LaSorte               Non-NRA                       SVP Acount Service Ackerman McQueen
Dan Selleck            Selleck Family Member        NRA Affiliated                Tom Selleck and family members
Daniel Turaosil        Daniel Turaosil              Non-NRA                       Unknown
Daniel Unkocic         Daniel Unkocic               Non-NRA                       May be related to Rob Unkovic



                                                                                                                                                APP. 01988
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Danielle Quinn             Daniell Quinn                Non-NRA                       Unknown
Dave Muntz                 David Muntz                  Non-NRA                       Unknown
David Corlew               David Corlew                 Non-NRA                       Nashville music industry veteran
David Gardner              David Gardner                Non-NRA                       Assemblyman in Nevada
David Lehman               David Lehman                 NRA Affiliated                Director, NRA; Deputy Executive Director and General Counsel of the
                                                                                      National Rifle Association's Institute for Legislative Action.
David Muntz                David Muntz                  Non-NRA                       Unknown
DH                         Douglas Hamlin               NRA Affiliated                Executive Director, NRA Publications
Diana Valentine            Diane Valentine              Non-NRA                       Unknown
Diane Valentine            Diane Valentine              Non-NRA                       Unknown
Dino Avilez                Dionel M Aviles              Non-NRA                       Former Secretary of the Navy (04 - 09)
DM                         David Muntz                  Non-NRA                       Unknown
Donors                     Unnamed guests               Non-NRA                       Unnamed Guests
Dr D                       Dr. D.                       Non-NRA                       Unknown
Dr Drew                    Dr. Drew                     Non-NRA                       Unknown
Dr Nyguen                  Dr. Nyguen                   Non-NRA                       Unknown
Dr O                       Dr. O                        Non-NRA                       Unknown
Dr RD                      Dr. RD                       Non-NRA                       Unknown
Dr RO                      Dr. RO                       Non-NRA                       Unknown
DS                         Selleck Family Member        NRA Affiliated                Tom Selleck and family members
Duffy/Cremer               Lacey Duffy                  Non-NRA                       Ackerman McQueen SVP and Account Supervisor
Dustin Gehring             Dustin Gehring               Non-NRA                       Ulta 4 National Championship Winner
DV                         Diane Valentine              Non-NRA                       Unknown
E Louglin                  Warner Loughlin Makris       Non-NRA                       Wife of Tony Makris
Elain Lamment              Elaine Lammert               Non-NRA                       Former Deputy General Counsel of FBI; NRA Consultant
Elicia Loughlin Warner     Warner Loughlin Makris       Non-NRA                       Wife of Tony Makris
Elicia Loughlin            Warner Loughlin Makris       Non-NRA                       Wife of Tony Makris
Elicia W Loughlin          Warner Loughlin Makris       Non-NRA                       Wife of Tony Makris
Elicia Warner Loughlin     Warner Loughlin Makris       Non-NRA                       Wife of Tony Makris
Elicia Warner              Warner Loughlin Makris       Non-NRA                       Wife of Tony Makris
Elicia                     Warner Loughlin Makris       Non-NRA                       Wife of Tony Makris
Elizabeth Elliott          Elizabeth Elliott            Non-NRA                       Unknown
Eric Van Horn              Eric Van Horn                Non-NRA                       Account Executive Ackerman McQueen
Erin Tayler                Erin Tayler                  Non-NRA                       Wyoming Registered Lobbyist
GC                         Gigi Carlton                 Non-NRA                       Professional involved in race car industry.



                                                                                                                                                  APP. 01989
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Gen Boomer           General Walter Boomer         Non-NRA                       Retired four star general and assistant commandant of the US Marine Corps
                                                                                 and business executives.
Gen Walter Boomer    General Walter Boomer         Non-NRA                       Retired four star general and assistant commandant of the US Marine Corps
                                                                                 and business executives.
GG                   Gigi Carlton                  Non-NRA                       Professional involved in race car industry.
Gigi Carlton         Gigi Carlton                  Non-NRA                       Professional involved in race car industry.
Gigi                 Gigi Carlton                  Non-NRA                       Professional involved in race car industry.
GM                   GM                            Non-NRA                       Unknown
Greg N               Greg N                        Non-NRA                       Unknown
Group                Unnamed guests                Non-NRA                       Unnamed Guests
GS                   Gurney Sloan                  Non-NRA                       VP of Special Projects for PM Direct Marketing-- Fairfax, VA-based
                                                                                 consultancy that handles mailings for the NRA; Membership Marketing Partner

Guest                Unnamed guests                Non-NRA                       Unnamed Guests
Guests               Unnamed guests                Non-NRA                       Unnamed Guests
H Holmes             Hayley Holmes                 Non-NRA                       Account Executive Ackerman McQueen
Hayes                Hayley Holmes                 Non-NRA                       Account Executive Ackerman McQueen
Hayley H             Hayley Holmes                 Non-NRA                       Account Executive Ackerman McQueen
Hayley Holmes        Hayley Holmes                 Non-NRA                       Account Executive Ackerman McQueen
Henry Gurr           Henry Gurr                    Non-NRA                       Unknown
Henry Radett         Henry Radett                  Non-NRA                       Unknown
HLF                  Hunters Leadership Forum      NRA Affiliated                NRA Organization
HM                   Henry Martin Garrison         Non-NRA                       Unknown
Holmes               Hayley Holmes                 Non-NRA                       Account Executive Ackerman McQueen
HW                   HW                            Non-NRA                       Unknown
J Cotton             John Cotton                   Non-NRA                       Retired Admiral; Personal friend of Tony Makris; Current NRA Committee
                                                                                 Member (as of May 2018)
J Milius             John Milius                   NRA Affiliated                Former Director, NRA
J Perran             John Perren                   NRA Affiliated                Senior Advisor to NRA EVP
J Perrar             John Perren                   NRA Affiliated                Senior Advisor to NRA EVP
J Perren             John Perren                   NRA Affiliated                Senior Advisor to NRA EVP
J Powell             Josh Powell                   NRA Affiliated                Chief of Staff and Executive Director, General Operations
Jack Mayfield        Jack Mayfield                 Non-NRA                       Major donor to the Dallas Safari Club
Jack Ramsey (TS)     Tyler Schropp                 NRA Affiliated                Executive Director of Advancement, NRA
Jaine                Jaine                         Non-NRA                       Unknown



                                                                                                                                               APP. 01990
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James Rosen         James Rosen                  Non-NRA                       Former Fox News Washington Correspondent; current investigative report--
                                                                               Sinclair Broadcasting
JC                  John Cotton                  Non-NRA                       Retired Admiral; Personal friend of Tony Makris; Current NRA Committee
                                                                               Member (as of May 2018)
JD Williams         JD Williams                  NRA Affiliated                Former NRA Board Member and Executive Council
JG                  Jon Gutierrez                Non-NRA                       Unknown
Jim Staples         Jim Staples                  NRA Affiliated                Security Director
JM                  John Milius                  NRA Affiliated                Former Director, NRA
Joe McQuire         Joe McQuire                  Non-NRA                       Unknown
Joe Schoubuck       Joe Schubeck                 Non-NRA                       Unknown
Joe Schubeck        Joe Schubeck                 Non-NRA                       Unknown
John Cotton         John Cotton                  Non-NRA                       Retired Admiral; Personal friend of Tony Makris; Current NRA Committee
                                                                               Member (as of May 2018)
John Milius         John Milius                  NRA Affiliated                Former Director, NRA
John Perran         John Perren                  NRA Affiliated                Senior Advisor to NRA EVP
John Perren         John Perren                  NRA Affiliated                Senior Advisor to NRA EVP
Jon Gutierrez       Jon Gutierrez                Non-NRA                       Unknown
Josephine Bird      Josephine Bird               Non-NRA                       Plaintiff in 2nd Amendment Lawsuit in Delaware
Josh Perren         John Perren                  NRA Affiliated                Senior Advisor to NRA EVP
Josh Powell         Josh Powell                  NRA Affiliated                Chief of Staff and Executive Director, General Operations
Joshua Powell       Josh Powell                  NRA Affiliated                Chief of Staff and Executive Director, General Operations
JP                  Josh Powell                  NRA Affiliated                Chief of Staff and Executive Director, General Operations
K Elliott           Ken Elliott                  NRA Affiliated                Author on NRA's website
K Miller            Ken Miller                   Non-NRA                       Unknown
KA                  KA                           Non-NRA                       Unknown
Kate Marias         Kate Marias                  Non-NRA                       Unknown
KC                  KC                           Non-NRA                       Unknown
KE                  Ken Elliott                  NRA Affiliated                Author on NRA's website
Keith Wallender     Keith Walawender             Non-NRA                       CEO, Tomahawk Strategic Solutions
Ken Elliott         Ken Elliott                  NRA Affiliated                Author on NRA's website
Ken Miller          Ken Miller                   Non-NRA                       Unknown
KH                  KH                           Non-NRA                       Unknown
KM                  Ken Miller                   Non-NRA                       Unknown
KP                  KP                           Non-NRA                       Unknown
Kristen Selleck     Selleck Family Member        NRA Affiliated                Tom Selleck and family members



                                                                                                                                           APP. 01991
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KS                     Selleck Family Member        NRA Affiliated                Tom Selleck and family members
Kyle Manatis           Kyle Manatis                 Non-NRA                       Unknown
L Olsen                Lance Olson                  NRA Affiliated                Director, NRA
L Olson                Lance Olson                  NRA Affiliated                Director, NRA
L Warner               Warner Loughlin Makris       Non-NRA                       Wife of Tony Makris
Lacey Duffy            Lacey Duffy                  Non-NRA                       Ackerman McQueen SVP and Account Supervisor
Lament                 Elaine Lammert               Non-NRA                       Former Deputy General Counsel of FBI; NRA Consultant
Lance Olsen            Lance Olson                  NRA Affiliated                Director, NRA
Lance Olson            Lance Olson                  NRA Affiliated                Director, NRA
LC                     Lacey Duffy                  Non-NRA                       Ackerman McQueen SVP and Account Supervisor
LO                     Lance Olson                  NRA Affiliated                Director, NRA
M Dycio                Mark Dycio                   Non-NRA                       Attorney for Wayne LaPierre
M Hallow               Millie Hallow                NRA Affiliated                National Rifle Association, Managing Director, Executive Operations and
                                                                                  Assistant to Wayne LaPierre
Makris                 Tony Makris                  Non-NRA                       President of Mercury Group
Mariah                 Mariah                       Non-NRA                       Unknown
Marizio                Mauricio Cremer              Non-NRA                       Lacey Duffy's husband and Vice President of Creative Services
Mark Dycio             Mark Dycio                   Non-NRA                       Attorney for Wayne LaPierre
Matt Goldberg          Matt Goldberg                Non-NRA                       Unknown
Mauricio Cremer        Mauricio Cremer              Non-NRA                       Lacey Duffy's husband and Vice President of Creative Services
MB                     MB                           Non-NRA                       Unknown
MD                     Mark Dycio                   Non-NRA                       Attorney for Wayne LaPierre
Mel Montgomery         Melanie Montgomery           Non-NRA                       EVP/Management Supervisor
Melanie Hill           Melanie Montgomery           Non-NRA                       EVP/Management Supervisor
Melanie Montgomery     Melanie Montgomery           Non-NRA                       EVP/Management Supervisor
Meyer                  Boyd Meyer                   Non-NRA                       Unknown
MH                     Millie Hallow                NRA Affiliated                National Rifle Association, Managing Director, Executive Operations and
                                                                                  Assistant to Wayne LaPierre
Michael Baker          Michael Baker                Non-NRA                       Unknown
Mike Baker             Michael Baker                Non-NRA                       Unknown
Mike Braum             Mike Braum                   Non-NRA                       Unknown
Mike Johnson           Mike Johnson                 Non-NRA                       Unknown
Mike Vedeen            Mike Vedeen                  Non-NRA                       Unknown
Mike Winston           Mike Winston                 Non-NRA                       Unknown
Mike                   Michael Baker                Non-NRA                       Unknown



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Millie Hallow                 Millie Hallow                NRA Affiliated                National Rifle Association, Managing Director, Executive Operations and
                                                                                         Assistant to Wayne LaPierre
Monica                        Monica                       Non-NRA                       Unknown
Monty                         Monty Whitley                Non-NRA                       Collectible Arms Dealer; Father of two former NRA staffers one of whom is
                                                                                         current ACM employee
Mr & Mrs Makris               Mr. and Mrs. Tony Makris     Non-NRA                       President of Mercury Group
Mr & Mrs Tony Makris          Mr. and Mrs. Tony Makris     Non-NRA                       President of Mercury Group
Mr & Mrs Wayne Roberts        Wayne and Susan LaPierre     NRA Affiliated                EVP, NRA
Mr and Mrs Anthony Makris     Mr. and Mrs. Tony Makris     Non-NRA                       President of Mercury Group
Mr and Mrs Tony Makris        Mr. and Mrs. Tony Makris     Non-NRA                       President of Mercury Group
Mr Dustin                     Dustin Gehring               Non-NRA                       Ulta 4 National Championship Winner
Mr Horseman                   Mr Horseman                  Non-NRA                       Unknown
Mrs Makris                    Warner Loughlin Makris       Non-NRA                       Wife of Tony Makris
MV                            Mike Vedeen                  Non-NRA                       Unknown
MW                            MW                           Non-NRA                       Unknown
Nader Tavangar                Nader Tavangar               Non-NRA                       EVP/Managing Director at the Mercury Group
Nash                          Chuck Nash                   Non-NRA                       Retired US Navy Captain and Fox News Analyst
Navy Seal Group               Navy Seal Group              Non-NRA                       Navy Seal Group
Navy Seals Group              Navy Seal Group              Non-NRA                       Navy Seal Group
Navy Seals                    Navy Seal Group              Non-NRA                       Navy Seal Group
Nick Kocic                    Nick Kocic                   Non-NRA                       Unknown
Nicole Capiselo               Nicole Capossela             Non-NRA                       Senior Vice President, Ackerman McQueen
Nike Billeau                  Nike Billeau                 Non-NRA                       Unknown
NR Guest                      Unnamed guests               Non-NRA                       Unnamed Guests
NRA BD members                NRA Board                    NRA Affiliated                NRA Board
NRA Board                     NRA Board                    NRA Affiliated                NRA Board
NRA BOD                       NRA Board                    NRA Affiliated                NRA Board
NRA Guest                     Unnamed guests               Non-NRA                       Unnamed Guests
NT                            Nader Tavangar               Non-NRA                       EVP/Managing Director at the Mercury Group
Passenger                     Unnamed guests               Non-NRA                       Unnamed Guests
Pat Marias                    Pat Marias                   Non-NRA                       Unknown
Pat Ryan                      Pat Ryan                     Non-NRA                       Unknown
Pat Taylor                    Pat Taylor                   Non-NRA                       Unknown
Patrick McCarty               Patrick McCarty              Non-NRA                       Unknown
PS                            PS                           Non-NRA                       Unknown



                                                                                                                                                       APP. 01993
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R Bair               Roger Bain                   Non-NRA                       Owner Roger Bain, Inc. Fine Sporting Arms and Collectibles
R Holden             Ron Holden                   Non-NRA                       Unknown
R Kwong              Ray Kwong                    NRA Affiliated                Committee Member (Public Affairs)
Ray K                Ray Kenny                    Non-NRA                       Unknown
Ray Kenny            Ray Kenny                    Non-NRA                       Unknown
RB                   Roger Bain                   Non-NRA                       Owner Roger Bain, Inc. Fine Sporting Arms and Collectibles
Revan                Revan McQueen                Non-NRA                       Chief Executive Officer
RK                   Ray Kenny                    Non-NRA                       Unknown
RL                   RL                           Non-NRA                       Unknown
Robin Hayes          Robin Hayes                  Non-NRA                       Former NC Congressman
Roger Bair           Roger Bain                   Non-NRA                       Owner Roger Bain, Inc. Fine Sporting Arms and Collectibles
Ron Holder           Ron Holden                   Non-NRA                       Unknown
Rosemary Gardner     Rosemary Gardner             Non-NRA                       Unknown
S Hart               Steve Hart                   NRA Affiliated                Attorney for NRA
S Haut               Steve Hart                   NRA Affiliated                Attorney for NRA
S LaPierre           Susan LaPierre               NRA Affiliated                Wife of EVP for NRA
S Makris             Tony Makris                  Non-NRA                       President of Mercury Group
S West               Stephanie West               Non-NRA                       Assistant to the President Mercury Group
Sal Giannetti        Sal Giannetti                Non-NRA                       Unknown
Sandy Boyer          Sandy Boyer                  Non-NRA                       Unknown
SB                   Sandy Boyer                  Non-NRA                       Unknown
Seals                Navy Seal Group              Non-NRA                       Navy Seal Group
SH                   Steve Hart                   NRA Affiliated                Attorney for NRA
SJ                   SJ                           Non-NRA                       Unknown
SLP                  Susan LaPierre               NRA Affiliated                Wife of EVP for NRA
SM                   Sonny Masso                  Non-NRA                       Retired Admiral
Sonny Masso          Sonny Masso                  Non-NRA                       Retired Admiral
Sony Masso           Sonny Masso                  Non-NRA                       Retired Admiral
SP                   Susan LaPierre               NRA Affiliated                Wife of EVP for NRA
Staff                Unnamed guests               Non-NRA                       Unnamed Guests
Stephanie West       Stephanie West               Non-NRA                       Assistant to the President Mercury Group
Stephanie            Stephanie West               Non-NRA                       Assistant to the President Mercury Group
Steve Barnett        Steve Barnett                Non-NRA                       Steve Barnett's fine guns in Westpoint Mississippi
Steve H              Steve Hart                   NRA Affiliated                Attorney for NRA
Steve Holt           Steve Hart                   NRA Affiliated                Attorney for NRA



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Susan LaPierre                 Susan LaPierre               NRA Affiliated                Wife of EVP for NRA
Susan Ryan                     Susan Ryan                   Non-NRA                       Unknown
Susan                          Susan LaPierre               NRA Affiliated                Wife of EVP for NRA
SW                             Stephanie West               Non-NRA                       Assistant to the President Mercury Group
T Calleton                     Ted Calleton                 Non-NRA                       Unknown
T Makris                       Tony Makris                  Non-NRA                       President of Mercury Group
T Mulin                        T Mulin                      Non-NRA                       Unknown
T Schropp                      Tyler Schropp                NRA Affiliated                Executive Director of Advancement, NRA
T Selleck                      Selleck Family Member        NRA Affiliated                Tom Selleck and family members
Team Makris (2 passengers)     Mr. and Mrs. Tony Makris     Non-NRA                       President of Mercury Group
Ted Calleton                   Ted Calleton                 Non-NRA                       Unknown
Terry                          Terry                        Non-NRA                       Unknown
TH                             Tom Held                     Non-NRA                       Unknown
TK                             TK                           Non-NRA                       Wife of Randal Garrett
TM                             Tony Makris                  Non-NRA                       President of Mercury Group
Tom Held                       Tom Held                     Non-NRA                       Unknown
Tom Selleck                    Selleck Family Member        NRA Affiliated                Tom Selleck and family members
Tony Makris & Wife             Mr. and Mrs. Tony Makris     Non-NRA                       President of Mercury Group
Tony Makris                    Tony Makris                  Non-NRA                       President of Mercury Group
Tony                           Tony Makris                  Non-NRA                       President of Mercury Group
TS                             Tony Makris                  Non-NRA                       President of Mercury Group
TWS                            Tyler Schropp                NRA Affiliated                Executive Director of Advancement, NRA
Tyler Schropp                  Tyler Schropp                NRA Affiliated                Executive Director of Advancement, NRA
Tyler                          Tyler Schropp                NRA Affiliated                Executive Director of Advancement, NRA
W Ball                         W Ball                       Non-NRA                       Unknown
W LaP                          Wayne LaPierre               NRA Affiliated                EVP, NRA
W LaPierre                     Wayne LaPierre               NRA Affiliated                EVP, NRA
W Loughlin                     Warner Loughlin Makris       Non-NRA                       Wife of Tony Makris
W Phillips                     Woody Phillips               NRA Affiliated                Treasurer, NRA
W Roberts                      Wayne LaPierre               NRA Affiliated                EVP, NRA
Wallet Wagner                  Wallet Wagner                Non-NRA                       Unknown
Wally                          Wallet Wagner                Non-NRA                       Unknown
Walt Boomer                    General Walter Boomer        Non-NRA                       Retired four star general and assistant commandant of the US Marine Corps
                                                                                          and business executives.




                                                                                                                                                        APP. 01995
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Walt Boyer                                             General Walter Boomer                      Non-NRA                                 Retired four star general and assistant commandant of the US Marine Corps
                                                                                                                                          and business executives.
Walter Boomer                                          General Walter Boomer                      Non-NRA                                 Retired four star general and assistant commandant of the US Marine Corps
                                                                                                                                          and business executives.
Warner Laughlin                                        Warner Loughlin Makris                     Non-NRA                                 Wife of Tony Makris
Warner Loughlin Elicia                                 Warner Loughlin Makris                     Non-NRA                                 Wife of Tony Makris
Warner Loughlin Makris                                 Warner Loughlin Makris                     Non-NRA                                 Wife of Tony Makris
Warner Loughlin                                        Warner Loughlin Makris                     Non-NRA                                 Wife of Tony Makris
Warner Louglin                                         Warner Loughlin Makris                     Non-NRA                                 Wife of Tony Makris
Warner                                                 Warner Loughlin Makris                     Non-NRA                                 Wife of Tony Makris
Wayne and Susan Roberts                                Wayne and Susan LaPierre                   NRA Affiliated                          EVP, NRA
Wayne L                                                Wayne LaPierre                             NRA Affiliated                          EVP, NRA
Wayne LaPierre                                         Wayne LaPierre                             NRA Affiliated                          EVP, NRA
Wayne Roberts                                          Wayne LaPierre                             NRA Affiliated                          EVP, NRA
Wayne                                                  Wayne LaPierre                             NRA Affiliated                          EVP, NRA
WB                                                     General Walter Boomer                      Non-NRA                                 Retired four star general and assistant commandant of the US Marine Corps
                                                                                                                                          and business executives.
Will Estes                                             Will Estes                                 Non-NRA                                 Actor on TV show with Tom Selleck
WL                                                     Warner Loughlin Makris                     Non-NRA                                 Wife of Tony Makris
WLaP                                                   Wayne LaPierre                             NRA Affiliated                          EVP, NRA
WLM                                                    Warner Loughlin Makris                     Non-NRA                                 Wife of Tony Makris
WLP                                                    Wayne LaPierre                             NRA Affiliated                          EVP, NRA
Woody Phillips                                         Woody Phillips                             NRA Affiliated                          Treasurer, NRA
Woody                                                  Woody Phillips                             NRA Affiliated                          Treasurer, NRA
WP                                                     Woody Phillips                             NRA Affiliated                          Treasurer, NRA
Zane Markowitz                                         Zane Markowitz                             Non-NRA                                 Friend of Oliver North and owner of ZNM Shooting.
ZM                                                     Zane Markowitz                             Non-NRA                                 Friend of Oliver North and owner of ZNM Shooting.

1
    The names were transcribed from the documentation received by FRA. See column O in the 'Detail' tab.
2
 Based on knowledge of NRA employees and others, FRA assigned an 'Assumed Name' to the transcribed names. In addition, FRA identified whether the assumed name is affiliated with the NRA as well as the assumed
position of the person identified based on (1) knowledge of the individual or (2) desktop research performed by FRA.




                                                                                                                                                                                                        APP. 01996
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                    The following tables show the total amount of expenses a
                    documentation. These figures exclude any expenses wher
                    tab

                    Basis of Selection: (1) All individuals identified as NRA em
                    individuals identified on the documentation and (2) top tw
                    Tavangar).


                            NRA Employees or Affiliates


                    Wayne and Susan LaPierre
                    Assumed Name                             Value
                    Wayne and Susan LaPierre           $      2,511
                    Wayne LaPierre                     $    101,290 *
                    Wayne LaPierre & Guest(s)          $        726
                    Grand Total                         $ 104,527


                    Josh Powell
                    Assumed Name                             Value
                    Josh Powell                        $     15,473 **
                    Josh Powell & Guest(s)             $      9,034
                    Grand Total                         $   24,507
                    Note: Colleen Powell; Josh Powell's wife; was
                    identified in six transactions, amongst other
                    participants.

                    Millie Hallow
                    Assumed Name                             Value
                    Millie Hallow & Guest(s)           $     11,569 ***
                    Millie Hallow                      $      1,388 ****
                    Grand Total                         $   12,958


                    Tyler Schropp



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The following table shows the total expense amount by assumed name; regardless as to the number of attendees. Note that the total will not tie to the total amount of Tony Makris' expenses as the
same expense will be counted multiple times if there is more than one attendee. Source: 'Assumed Name' tab and column K on 'Detail' tab

Assumed Name                        Position                                                                                        NRA Employee or Former Employee                          Value
Tony Makris                         President of Mercury Group                                                                      Non-NRA                                            $    910,977
Wayne LaPierre                      EVP, NRA                                                                                        NRA Affiliated                                     $    205,688
Mark Dycio                          Attorney for Wayne LaPierre                                                                     Non-NRA                                            $    117,912
Josh Powell                         Chief of Staff and Executive Director, General Operations                                       NRA Affiliated                                     $    100,692
Mr. and Mrs. Tony Makris            President of Mercury Group                                                                      Non-NRA                                            $     93,793
Unnamed guests                      Unnamed Guests                                                                                  Non-NRA                                            $     70,289
Warner Loughlin Makris              Wife of Tony Makris                                                                             Non-NRA                                            $     68,898
Chuck Nash                          Retired US Navy Captain and Fox News Analyst                                                    Non-NRA                                            $     62,532
Colleen Powell                      Wife of Josh Powell                                                                             Non-NRA                                            $     43,536
Millie Hallow                       National Rifle Association, Managing Director, Executive Operations and Assistant to Wayne      NRA Affiliated                                     $     41,335
                                    LaPierre
Jon Gutierrez                       Unknown                                                                                         Non-NRA                                            $     35,546
Daniell Quinn                       Unknown                                                                                         Non-NRA                                            $     34,620
Lance Olson                         Director, NRA                                                                                   NRA Affiliated                                     $     33,641
Steve Hart                          Attorney for NRA                                                                                NRA Affiliated                                     $     28,471
Andrew Arulanandam                  Managing Director of Public Affairs at NRA                                                      NRA Affiliated                                     $     24,781
Selleck Family Member               Tom Selleck and family members                                                                  NRA Affiliated                                     $     22,607
Hayley Holmes                       Account Executive Ackerman McQueen                                                              Non-NRA                                            $     22,435
Ken Miller                          Unknown                                                                                         Non-NRA                                            $     22,034
Eric Van Horn                       Account Executive Ackerman McQueen                                                              Non-NRA                                            $     20,809
Dionel M Aviles                     Former Secretary of the Navy (04 - 09)                                                          Non-NRA                                            $     20,462
Ray Kenny                           Unknown                                                                                         Non-NRA                                            $     20,332
Tyler Schropp                       Executive Director of Advancement, NRA                                                          NRA Affiliated                                     $     19,043
Michael Baker                       Unknown                                                                                         Non-NRA                                            $     18,925
John Cotton                         Retired Admiral; Personal friend of Tony Makris; Current NRA Committee Member (as of May        Non-NRA                                            $     16,515
                                    2018)
Navy Seal Group                     Navy Seal Group                                                                                 Non-NRA                                            $     15,301
NRA Board                           NRA Board                                                                                       NRA Affiliated                                     $     13,870
Ken Elliott                         Author on NRA's website                                                                         NRA Affiliated                                     $     13,257
Susan LaPierre                      Wife of EVP for NRA                                                                             NRA Affiliated                                     $     12,810
Sonny Masso                         Retired Admiral                                                                                 Non-NRA                                            $     12,508



                                                                                                                                                                                                     APP. 01998
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John Perren                Senior Advisor to NRA EVP                                                                     NRA Affiliated        $   12,297
Stephanie West             Assistant to the President Mercury Group                                                      Non-NRA               $   11,043
Chris Kinney               Unknown                                                                                       Non-NRA               $   11,031
Board of Directors         Board of Directors, NRA                                                                       NRA Affiliated        $   10,914
Nader Tavangar             EVP/Managing Director at the Mercury Group                                                    Non-NRA               $    8,756
Chris McKinney             Executive Protection Contractor for Wayne                                                     NRA Affiliated        $    8,492
Lacey Duffy                Ackerman McQueen SVP and Account Supervisor                                                   Non-NRA               $    8,053
Woody Phillips             Treasurer, NRA                                                                                NRA Affiliated        $    8,013
David Muntz                Unknown                                                                                       Non-NRA               $    7,498
Charles Marx               Unknown                                                                                       Non-NRA               $    6,725
Melanie Montgomery         EVP/Management Supervisor                                                                     Non-NRA               $    6,230
Daniel Unkocic             May be related to Rob Unkovic                                                                 Non-NRA               $    6,089
Nick Kocic                 Unknown                                                                                       Non-NRA               $    6,089
Ashley Hackler             Vice President, Office of the CEO, Ackerman McQueen                                           Non-NRA               $    5,539
Gigi Carlton               Professional involved in race car industry.                                                   Non-NRA               $    4,700
Dr. RO                     Unknown                                                                                       Non-NRA               $    4,692
Alex Castellanos           GOP Strategist, Political Consultant                                                          Non-NRA               $    4,626
Jim Staples                Security Director                                                                             NRA Affiliated        $    4,626
Monica                     Unknown                                                                                       Non-NRA               $    4,246
Gurney Sloan               VP of Special Projects for PM Direct Marketing-- Fairfax, VA-based consultancy that handles   Non-NRA               $    3,977
                           mailings for the NRA; Membership Marketing Partner
Dustin Gehring             Ulta 4 National Championship Winner                                                           Non-NRA               $    3,788
Zane Markowitz             Friend of Oliver North and owner of ZNM Shooting.                                             Non-NRA               $    3,655
Roger Bain                 Owner Roger Bain, Inc. Fine Sporting Arms and Collectibles                                    Non-NRA               $    3,624
TK                         Wife of Randal Garrett                                                                        Non-NRA               $    2,934
Sandy Boyer                Unknown                                                                                       Non-NRA               $    2,816
Dr. RD                     Unknown                                                                                       Non-NRA               $    2,761
MW                         Unknown                                                                                       Non-NRA               $    2,577
Wayne and Susan LaPierre   EVP, NRA                                                                                      NRA Affiliated        $    2,511
Diane Valentine            Unknown                                                                                       Non-NRA               $    2,197
Brad Johnson               Actor nominated for NRA board; withdrew                                                       Non-NRA               $    2,184
General Walter Boomer      Retired four star general and assistant commandant of the US Marine Corps and business        Non-NRA               $    2,132
                           executives.
David Corlew               Nashville music industry veteran                                                              Non-NRA               $    2,118
Dr. D.                     Unknown                                                                                       Non-NRA               $    2,086



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Dr. O                      Unknown                                                                                    Non-NRA                 $   2,086
Andra Fischer              NRA Pistol Instructor; Wayne's Office Manager/Exec Assistant                               NRA Affiliated          $   2,028
Bart Skelton               Director, NRA                                                                              NRA Affiliated          $   1,906
John Milius                Former Director, NRA                                                                       NRA Affiliated          $   1,874
Mauricio Cremer            Lacey Duffy's husband and Vice President of Creative Services                              Non-NRA                 $   1,671
David Gardner              Assemblyman in Nevada                                                                      Non-NRA                 $   1,671
Al Micallef                Al McCalhot & AL Mocallef = Al Micallef, Micallef Cigars Ft. Worth, TX                     Non-NRA                 $   1,631
Wallet Wagner              Unknown                                                                                    Non-NRA                 $   1,631
Ray Kwong                  Committee Member (Public Affairs)                                                          NRA Affiliated          $   1,600
Pat Ryan                   Unknown                                                                                    Non-NRA                 $   1,534
SJ                         Unknown                                                                                    Non-NRA                 $   1,515
Ted Calleton               Unknown                                                                                    Non-NRA                 $   1,501
Hunters Leadership Forum   NRA Organization                                                                           NRA Affiliated          $   1,383
D Stafford                 Professional consulting firm specializing in campus safety.                                Non-NRA                 $   1,372
James Rosen                Former Fox News Washington Correspondent; current investigative report--Sinclair           Non-NRA                 $   1,321
                           Broadcasting
Mike Vedeen                Unknown                                                                                    Non-NRA                 $   1,267
Rosemary Gardner           Unknown                                                                                    Non-NRA                 $   1,152
Darren LaSorte             SVP Acount Service Ackerman McQueen                                                        Non-NRA                 $   1,143
Amy Adams                  Actress                                                                                    Non-NRA                 $   1,143
Will Estes                 Actor on TV show with Tom Selleck                                                          Non-NRA                 $   1,068
Joe Schubeck               Unknown                                                                                    Non-NRA                 $   1,027
Boyd Meyer                 Unknown                                                                                    Non-NRA                 $   1,004
KP                         Unknown                                                                                    Non-NRA                 $     986
Kate Marias                Unknown                                                                                    Non-NRA                 $     951
Pat Marias                 Unknown                                                                                    Non-NRA                 $     951
Revan McQueen              Chief Executive Officer                                                                    Non-NRA                 $     935
Dr. Nyguen                 Unknown                                                                                    Non-NRA                 $     932
Caroline Oxford            Unknown                                                                                    Non-NRA                 $     932
KC                         Unknown                                                                                    Non-NRA                 $     925
PS                         Unknown                                                                                    Non-NRA                 $     915
Tom Held                   Unknown                                                                                    Non-NRA                 $     891
Keith Walawender           CEO, Tomahawk Strategic Solutions                                                          Non-NRA                 $     858
Jaine                      Unknown                                                                                    Non-NRA                 $     858
Josephine Bird             Plaintiff in 2nd Amendment Lawsuit in Delaware                                             Non-NRA                 $     816



                                                                                                                                                    APP. 02000
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Monty Whitley             Collectible Arms Dealer; Father of two former NRA staffers one of whom is current ACM emplo Non-NRA            $   815
Terry                     Unknown                                                                                     Non-NRA            $   798
Henry Martin Garrison     Unknown                                                                                     Non-NRA            $   782
Elaine Lammert            Former Deputy General Counsel of FBI; NRA Consultant                                        Non-NRA            $   781
Carol Lanning             Personal Assistant to Charlton Heston                                                       Non-NRA            $   724
Kyle Manatis              Unknown                                                                                     Non-NRA            $   705
Mike Johnson              Unknown                                                                                     Non-NRA            $   690
W Ball                    Unknown                                                                                     Non-NRA            $   671
MB                        Unknown                                                                                     Non-NRA            $   654
Mike Winston              Unknown                                                                                     Non-NRA            $   633
Greg N                    Unknown                                                                                     Non-NRA            $   633
Henry Radett              Unknown                                                                                     Non-NRA            $   616
Mike Braum                Unknown                                                                                     Non-NRA            $   616
KH                        Unknown                                                                                     Non-NRA            $   606
AN                        Unknown                                                                                     Non-NRA            $   606
Admiral Marc Fitzgerald   Retired US Navy Admiral                                                                     Non-NRA            $   605
Ron Holden                Unknown                                                                                     Non-NRA            $   562
Steve Barnett             Steve Barnett's fine guns in Westpoint Mississippi                                          Non-NRA            $   545
Susan Ryan                Unknown                                                                                     Non-NRA            $   526
T Mulin                   Unknown                                                                                     Non-NRA            $   524
HW                        Unknown                                                                                     Non-NRA            $   523
Pat Taylor                Unknown                                                                                     Non-NRA            $   498
Henry Gurr                Unknown                                                                                     Non-NRA            $   498
Dr. Drew                  Unknown                                                                                     Non-NRA            $   484
Mariah                    Unknown                                                                                     Non-NRA            $   482
Douglas Hamlin            Executive Director, NRA Publications                                                        NRA Affiliated     $   437
Aron Algrin               Unknown                                                                                     Non-NRA            $   428
Jack Mayfield             Major donor to the Dallas Safari Club                                                       Non-NRA            $   426
JD Williams               Former NRA Board Member and Executive Council                                               NRA Affiliated     $   410
Joe McQuire               Unknown                                                                                     Non-NRA            $   405
GM                        Unknown                                                                                     Non-NRA            $   382
Nike Billeau              Unknown                                                                                     Non-NRA            $   374
Mr Horseman               Unknown                                                                                     Non-NRA            $   367
Robin Hayes               Former NC Congressman                                                                       Non-NRA            $   330
KA                        Unknown                                                                                     Non-NRA            $   329



                                                                                                                                              APP. 02001
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Daniel Turaosil     Unknown                                                                                  Non-NRA                 $   315
Erin Tayler         Wyoming Registered Lobbyist                                                              Non-NRA                 $   315
David Lehman        Director, NRA; Deputy Executive Director and General Counsel of the National Rifle       NRA Affiliated          $   311
                    Association's Institute for Legislative Action.
Matt Goldberg       Unknown                                                                                  Non-NRA                 $    271
Craig Spray         Treasurer, NRA                                                                           NRA Affiliated          $    260
Brandon             Unknown                                                                                  Non-NRA                 $    255
Dallas PD           Unknown                                                                                  Non-NRA                 $    255
Sal Giannetti       Unknown                                                                                  Non-NRA                 $    254
Patrick McCarty     Unknown                                                                                  Non-NRA                 $    233
RL                  Unknown                                                                                  Non-NRA                 $    172
C Ryan              Unknown                                                                                  Non-NRA                 $    108
Elizabeth Elliott   Unknown                                                                                  Non-NRA                 $    106
Bill Hughes         Unknown                                                                                  Non-NRA                 $     77
Nicole Capossela    Senior Vice President, Ackerman McQueen                                                  Non-NRA                 $   (624)




                                                                                                                                           APP. 02002
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The following tables shows the number of expenses for which each individual is included. Source: 'Assumed Name' tab and column K on 'Detail' tab

Assumed Name                                 Position                                                                            NRA Employee or Former Employee   Quantity
Tony Makris                                  President of Mercury Group                                                          Non-NRA                               954
Wayne LaPierre                               EVP, NRA                                                                            NRA Affiliated                        202
Josh Powell                                  Chief of Staff and Executive Director, General Operations                           NRA Affiliated                        105
Warner Loughlin Makris                       Wife of Tony Makris                                                                 Non-NRA                                 97
Mark Dycio                                   Attorney for Wayne LaPierre                                                         Non-NRA                                 87
Chuck Nash                                   Retired US Navy Captain and Fox News Analyst                                        Non-NRA                                 74
Selleck Family Member                        Tom Selleck and family members                                                      NRA Affiliated                          43
Lance Olson                                  Director, NRA                                                                       NRA Affiliated                          42
Unnamed guests                               Unnamed Guests                                                                      Non-NRA                                 40
Stephanie West                               Assistant to the President Mercury Group                                            Non-NRA                                 34
Mr. and Mrs. Tony Makris                     President of Mercury Group                                                          Non-NRA                                 34
Ken Elliott                                  Author on NRA's website                                                             NRA Affiliated                          27
Millie Hallow                                National Rifle Association, Managing Director, Executive Operations and Assistant   NRA Affiliated                          26
                                             to Wayne LaPierre
Ken Miller                                   Unknown                                                                       Non-NRA                                       24
Dionel M Aviles                              Former Secretary of the Navy (04 - 09)                                        Non-NRA                                       24
John Cotton                                  Retired Admiral; Personal friend of Tony Makris; Current NRA Committee Member Non-NRA                                       22
                                             (as of May 2018)
Hayley Holmes                                Account Executive Ackerman McQueen                                                  Non-NRA                                 19
Steve Hart                                   Attorney for NRA                                                                    NRA Affiliated                          18
Chris McKinney                               Executive Protection Contractor for Wayne                                           NRA Affiliated                          17
Ray Kenny                                    Unknown                                                                             Non-NRA                                 17
John Perren                                  Senior Advisor to NRA EVP                                                           NRA Affiliated                          16
Chris Kinney                                 Unknown                                                                             Non-NRA                                 14
David Muntz                                  Unknown                                                                             Non-NRA                                 14
Tyler Schropp                                Executive Director of Advancement, NRA                                              NRA Affiliated                          13
Andrew Arulanandam                           Managing Director of Public Affairs at NRA                                          NRA Affiliated                          13
Susan LaPierre                               Wife of EVP for NRA                                                                 NRA Affiliated                          12
Woody Phillips                               Treasurer, NRA                                                                      NRA Affiliated                          12
General Walter Boomer                        Retired four star general and assistant commandant of the US Marine Corps and       Non-NRA                                 10
                                             business executives.
Gigi Carlton                                 Professional involved in race car industry.                                         Non-NRA                                 10



                                                                                                                                                                              APP. 02003
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Sonny Masso                Retired Admiral                                                                       Non-NRA          9
Nader Tavangar             EVP/Managing Director at the Mercury Group                                            Non-NRA          9
Lacey Duffy                Ackerman McQueen SVP and Account Supervisor                                           Non-NRA          9
Navy Seal Group            Navy Seal Group                                                                       Non-NRA          9
JD Williams                Former NRA Board Member and Executive Council                                         NRA Affiliated   8
Pat Ryan                   Unknown                                                                               Non-NRA          7
Zane Markowitz             Friend of Oliver North and owner of ZNM Shooting.                                     Non-NRA          6
Colleen Powell             Wife of Josh Powell                                                                   Non-NRA          6
Melanie Montgomery         EVP/Management Supervisor                                                             Non-NRA          6
Diane Valentine            Unknown                                                                               Non-NRA          6
Roger Bain                 Owner Roger Bain, Inc. Fine Sporting Arms and Collectibles                            Non-NRA          6
Brad Johnson               Actor nominated for NRA board; withdrew                                               Non-NRA          5
Boyd Meyer                 Unknown                                                                               Non-NRA          5
Andra Fischer              NRA Pistol Instructor; Wayne's Office Manager/Exec Assistant                          NRA Affiliated   5
Michael Baker              Unknown                                                                               Non-NRA          5
Board of Directors         Board of Directors, NRA                                                               NRA Affiliated   5
Sandy Boyer                Unknown                                                                               Non-NRA          5
MW                         Unknown                                                                               Non-NRA          4
Bart Skelton               Director, NRA                                                                         NRA Affiliated   4
Al Micallef                Al McCalhot & AL Mocallef = Al Micallef, Micallef Cigars Ft. Worth, TX                Non-NRA          4
Dustin Gehring             Ulta 4 National Championship Winner                                                   Non-NRA          4
Patrick McCarty            Unknown                                                                               Non-NRA          4
David Gardner              Assemblyman in Nevada                                                                 Non-NRA          4
Dr. RO                     Unknown                                                                               Non-NRA          4
Wallet Wagner              Unknown                                                                               Non-NRA          4
Josephine Bird             Plaintiff in 2nd Amendment Lawsuit in Delaware                                        Non-NRA          4
John Milius                Former Director, NRA                                                                  NRA Affiliated   3
Gurney Sloan               VP of Special Projects for PM Direct Marketing-- Fairfax, VA-based consultancy that   Non-NRA          3
                           handles mailings for the NRA; Membership Marketing Partner

Charles Marx               Unknown                                                                               Non-NRA          3
Dr. D.                     Unknown                                                                               Non-NRA          3
Eric Van Horn              Account Executive Ackerman McQueen                                                    Non-NRA          3
NRA Board                  NRA Board                                                                             NRA Affiliated   3



                                                                                                                                      APP. 02004
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James Rosen                      Former Fox News Washington Correspondent; current investigative report--       Non-NRA            3
                                 Sinclair Broadcasting
Wayne and Susan LaPierre         EVP, NRA                                                                       NRA Affiliated     3
Robin Hayes                      Former NC Congressman                                                          Non-NRA            3
Dr. O                            Unknown                                                                        Non-NRA            3
Jon Gutierrez                    Unknown                                                                        Non-NRA            3
David Corlew                     Nashville music industry veteran                                               Non-NRA            3
Ray Kwong                        Committee Member (Public Affairs)                                              NRA Affiliated     2
Monty Whitley                    Collectible Arms Dealer; Father of two former NRA staffers one of whom is      Non-NRA            2
                                 current ACM employee
Carol Lanning                    Personal Assistant to Charlton Heston                                          Non-NRA            2
Rosemary Gardner                 Unknown                                                                        Non-NRA            2
Joe Schubeck                     Unknown                                                                        Non-NRA            2
Elaine Lammert                   Former Deputy General Counsel of FBI; NRA Consultant                           Non-NRA            2
SJ                               Unknown                                                                        Non-NRA            2
Alex Castellanos                 GOP Strategist, Political Consultant                                           Non-NRA            2
Jim Staples                      Security Director                                                              NRA Affiliated     2
Dr. RD                           Unknown                                                                        Non-NRA            2
Mike Vedeen                      Unknown                                                                        Non-NRA            2
Ted Calleton                     Unknown                                                                        Non-NRA            2
Ron Holden                       Unknown                                                                        Non-NRA            2
TK                               Wife of Randal Garrett                                                         Non-NRA            2
Ashley Hackler                   Vice President, Office of the CEO, Ackerman McQueen                            Non-NRA            2
Tom Held                         Unknown                                                                        Non-NRA            2
Mauricio Cremer                  Lacey Duffy's husband and Vice President of Creative Services                  Non-NRA            2
Terry                            Unknown                                                                        Non-NRA            1
Mariah                           Unknown                                                                        Non-NRA            1
Elizabeth Elliott                Unknown                                                                        Non-NRA            1
Monica                           Unknown                                                                        Non-NRA            1
David Lehman                     Director, NRA; Deputy Executive Director and General Counsel of the National   NRA Affiliated     1
                                 Rifle Association's Institute for Legislative Action.
Mr Horseman                      Unknown                                                                        Non-NRA            1
Kate Marias                      Unknown                                                                        Non-NRA            1
Caroline Oxford                  Unknown                                                                        Non-NRA            1
KP                               Unknown                                                                        Non-NRA            1



                                                                                                                                       APP. 02005
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Craig Spray                      Treasurer, NRA                                                         NRA Affiliated         1
MB                               Unknown                                                                Non-NRA                1
Nick Kocic                       Unknown                                                                Non-NRA                1
GM                               Unknown                                                                Non-NRA                1
Nike Billeau                     Unknown                                                                Non-NRA                1
KA                               Unknown                                                                Non-NRA                1
Henry Gurr                       Unknown                                                                Non-NRA                1
W Ball                           Unknown                                                                Non-NRA                1
Pat Marias                       Unknown                                                                Non-NRA                1
Bill Hughes                      Unknown                                                                Non-NRA                1
Henry Radett                     Unknown                                                                Non-NRA                1
C Ryan                           Unknown                                                                Non-NRA                1
Pat Taylor                       Unknown                                                                Non-NRA                1
Matt Goldberg                    Unknown                                                                Non-NRA                1
Hunters Leadership Forum         NRA Organization                                                       NRA Affiliated         1
Keith Walawender                 CEO, Tomahawk Strategic Solutions                                      Non-NRA                1
PS                               Unknown                                                                Non-NRA                1
Nicole Capossela                 Senior Vice President, Ackerman McQueen                                Non-NRA                1
HW                               Unknown                                                                Non-NRA                1
Greg N                           Unknown                                                                Non-NRA                1
Revan McQueen                    Chief Executive Officer                                                Non-NRA                1
Amy Adams                        Actress                                                                Non-NRA                1
RL                               Unknown                                                                Non-NRA                1
Aron Algrin                      Unknown                                                                Non-NRA                1
Jack Mayfield                    Major donor to the Dallas Safari Club                                  Non-NRA                1
KC                               Unknown                                                                Non-NRA                1
Jaine                            Unknown                                                                Non-NRA                1
Darren LaSorte                   SVP Acount Service Ackerman McQueen                                    Non-NRA                1
Douglas Hamlin                   Executive Director, NRA Publications                                   NRA Affiliated         1
KH                               Unknown                                                                Non-NRA                1
Sal Giannetti                    Unknown                                                                Non-NRA                1
Will Estes                       Actor on TV show with Tom Selleck                                      Non-NRA                1
D Stafford                       Professional consulting firm specializing in campus safety.            Non-NRA                1
Kyle Manatis                     Unknown                                                                Non-NRA                1
Dr. Drew                         Unknown                                                                Non-NRA                1



                                                                                                                                   APP. 02006
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Admiral Marc Fitzgerald         Retired US Navy Admiral                                       Non-NRA                1
Joe McQuire                     Unknown                                                       Non-NRA                1
AN                              Unknown                                                       Non-NRA                1
Dr. Nyguen                      Unknown                                                       Non-NRA                1
Erin Tayler                     Wyoming Registered Lobbyist                                   Non-NRA                1
Dallas PD                       Unknown                                                       Non-NRA                1
Henry Martin Garrison           Unknown                                                       Non-NRA                1
Steve Barnett                   Steve Barnett's fine guns in Westpoint Mississippi            Non-NRA                1
Brandon                         Unknown                                                       Non-NRA                1
Daniel Turaosil                 Unknown                                                       Non-NRA                1
Mike Braum                      Unknown                                                       Non-NRA                1
Daniel Unkocic                  May be related to Rob Unkovic                                 Non-NRA                1
Mike Johnson                    Unknown                                                       Non-NRA                1
Susan Ryan                      Unknown                                                       Non-NRA                1
Mike Winston                    Unknown                                                       Non-NRA                1
T Mulin                         Unknown                                                       Non-NRA                1
Daniell Quinn                   Unknown                                                       Non-NRA                1




                                                                                                                         APP. 02007
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  The following table shows the amounts spent by vendor. Source:          Total Spend: $    1,299,017
  Columns J and K on 'Detail' tab                                       Total Quantity:          1239

  Vendor                                              Value        % of Value Quantity % of Quantity
  Four Seasons                                    $    213,645          16.45%      83         6.70%
  CXIII/Landini Brothers                          $    197,790          15.23%     258        20.82%
  Ready to Roll                                   $    150,838          11.61%     160        12.91%
  Omni Hotel                                      $     82,222           6.33%        9        0.73%
  Cash Tips1                                      $      68,000         5.23%       24         1.94%
  Hotel Zaza                                      $      66,895         5.15%        8         0.65%
  Little Katana                                   $      57,713         4.44%        4         0.32%
  Delta Airlines                                  $      57,039         4.39%       28         2.26%
  21C Hotel                                       $      51,773         3.99%        7         0.56%
  Ritz Carlton                                    $      46,907         3.61%       39         3.15%
  American Airlines                               $      39,667         3.05%       43         3.47%
  Omni Air Transport                              $      18,656         1.44%        1         0.08%
  Simon Islands                                   $      18,067         1.39%        4         0.32%
  Wynn                                            $      14,032         1.08%        8         0.65%
  Verizon                                         $      12,820         0.99%       64         5.17%
  Beverly Hills Hotel                             $      12,200         0.94%        9         0.73%
  Mansion on Turtle Creek                         $      11,511         0.89%        1         0.08%
  Mistral                                         $      10,614         0.82%       18         1.45%
  Bray's Island Plantation                        $      10,098         0.78%       13         1.05%
  AFR Furniture Rental                            $       9,966         0.77%        2         0.16%
  Alaska Airlines                                 $       9,237         0.71%       14         1.13%
  Entertainment A/V                               $       8,949         0.69%        3         0.24%
  Blaser USA                                      $       6,497         0.50%        1         0.08%
  Venetian                                        $       6,190         0.48%        7         0.56%
  Wright Personal Logistics                       $       5,895         0.45%        1         0.08%
  Sea Island                                      $       5,748         0.44%        3         0.24%
  AC Limousine                                    $       5,360         0.41%       35         2.82%
  Tuscany                                         $       3,768         0.29%        6         0.48%
  Carey International                             $       3,287         0.25%        5         0.40%
  Joe's Seafood                                   $       3,208         0.25%        7         0.56%
  Trulucks                                        $       3,139         0.24%        7         0.56%
  Hermitage                                       $       2,804         0.22%        5         0.40%
  Kiawah Island Golf Resort                       $       2,214         0.17%        2         0.16%
  Grand Havana                                    $       2,175         0.17%        5         0.40%
  Madeo Restorante                                $       2,084         0.16%        3         0.24%
  Cliffs                                          $       2,073         0.16%        5         0.40%
  Charleston Place                                $       2,065         0.16%        3         0.24%
  Jet Limousine                                   $       2,061         0.16%        2         0.16%
  St. Regis                                       $       1,919         0.15%        1         0.08%
  Outfitter Satellite                             $       1,893         0.15%       32         2.58%
  Rao's                                           $       1,863         0.14%        5         0.40%
  Cosmopolitan                                    $       1,699         0.13%        2         0.16%




                                                                                              APP. 02008
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  The Standard                      $    1,682        0.13%      3        0.24%
  Silverleaf Cigar                  $    1,631        0.13%      4        0.32%
  St. Simons Island                 $    1,592        0.12%      1        0.08%
  Rocky Patel                       $    1,575        0.12%      1        0.08%
  Morton's Steakhouse               $    1,422        0.11%      2        0.16%
  The Ivy                           $    1,395        0.11%      2        0.16%
  LBT Prime Trump                   $    1,349        0.10%      1        0.08%
  Palm Restaurant                   $    1,293        0.10%      2        0.16%
  W Hotel                           $    1,270        0.10%      2        0.16%
  Avis                              $    1,181        0.09%      1        0.08%
  United Airlines                   $    1,156        0.09%      4        0.32%
  Estrella                          $    1,143        0.09%      1        0.08%
  Beachwood Market                  $    1,141        0.09%      5        0.40%
  North Kierland                    $    1,079        0.08%      7        0.56%
  Old Oaks Cigar & Wine             $    1,011        0.08%      1        0.08%
  Alto Plaza                        $    1,009        0.08%      2        0.16%
  Ashton Hotel                      $    1,003        0.08%      2        0.16%
  Il Piccolino                      $      993        0.08%      1        0.08%
  Enterprise                        $      986        0.08%      2        0.16%
  Harry & David                     $      979        0.08%     14        1.13%
  Jeffrey's                         $      935        0.07%      1        0.08%
  Mastro's City                     $      932        0.07%      1        0.08%
  Virgin Airlines                   $      898        0.07%      1        0.08%
  Kill Cliff                        $      894        0.07%      8        0.65%
  Pistola LA Ristora                $      887        0.07%      2        0.16%
  Oaks Gourmet                      $      880        0.07%     11        0.89%
  Ca Del Sole                       $      867        0.07%      2        0.16%
  Crustacean                        $      859        0.07%      1        0.08%
  Flashlight Outlet                 $      855        0.07%      1        0.08%
  Priceline Hotel                   $      849        0.07%      1        0.08%
  La Quinta                         $      775        0.06%      2        0.16%
  Colcord Hotel                     $      763        0.06%      2        0.16%
  La Poubelle                       $      759        0.06%      4        0.32%
  Yamashiro                         $      745        0.06%      2        0.16%
  Wall Street Journal               $      744        0.06%      2        0.16%
  Grand America                     $      720        0.06%      1        0.08%
  Lonesome Dove                     $      713        0.05%      2        0.16%
  Paley Restaurant                  $      680        0.05%      1        0.08%
  Jetsuitex                         $      678        0.05%      4        0.32%
  Smoke INN LLC                     $      659        0.05%      1        0.08%
  Del Frisco                        $      641        0.05%      1        0.08%
  Magnolia's                        $      626        0.05%      1        0.08%
  Kabuki                            $      618        0.05%      7        0.56%
  Olio E Limone Restaurant          $      615        0.05%      1        0.08%
  Tomahawk Stategy                  $      597        0.05%      1        0.08%
  Bobs Steak & Chop                 $      571        0.04%      1        0.08%
  AMEX                              $      561        0.04%      4        0.32%



                                                                         APP. 02009
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  Nearano                           $     558         0.04%      1        0.08%
  Varidesk                          $     555         0.04%      1        0.08%
  1st National                      $     552         0.04%      1        0.08%
  Brenners at Bayou Hou             $     541         0.04%      1        0.08%
  Cesaro Mure Italian Restaurant    $     527         0.04%      1        0.08%
  Dean & Deluca                     $     510         0.04%      2        0.16%
  Uber                              $     503         0.04%     15        1.21%
  Beauty and Essex                  $     501         0.04%      1        0.08%
  Bricks Restaurant                 $     498         0.04%      1        0.08%
  Davidoff of Geneva                $     498         0.04%      1        0.08%
  TST Alimento                      $     489         0.04%      1        0.08%
  Gelson's Markets                  $     482         0.04%      2        0.16%
  Trader Joe's                      $     459         0.04%      1        0.08%
  Katsuya                           $     405         0.03%      2        0.16%
  Spago                             $     402         0.03%      1        0.08%
  Casa fuente                       $     394         0.03%      2        0.16%
  Sushi of ari                      $     382         0.03%      1        0.08%
  Joe Stone Crab                    $     367         0.03%      1        0.08%
  Kettle Black                      $     362         0.03%      1        0.08%
  PGA Tour Grill                    $     355         0.03%      4        0.32%
  Brite Strike                      $     355         0.03%      1        0.08%
  Apple Store                       $     337         0.03%      1        0.08%
  Bellagio Olives                   $     310         0.02%      1        0.08%
  HEGES                             $     309         0.02%      1        0.08%
  Beachwood Café                    $     300         0.02%      7        0.56%
  Hotel Belair                      $     288         0.02%      1        0.08%
  Messh'all                         $     271         0.02%      1        0.08%
  Tropical Wine/Spirits             $     265         0.02%      1        0.08%
  South City Kitchen                $     258         0.02%      1        0.08%
  Aimpoint                          $     255         0.02%      1        0.08%
  Tulsa Ambassador                  $     253         0.02%      1        0.08%
  Cobblestone Hotel                 $     251         0.02%      1        0.08%
  Atlantis Casino                   $     250         0.02%      1        0.08%
  Giovanni                          $     239         0.02%      1        0.08%
  10 Market A Chef's                $     220         0.02%      1        0.08%
  Applebee's                        $     208         0.02%      2        0.16%
  Proof on Main Street              $     204         0.02%      1        0.08%
  Malo                              $     188         0.01%      1        0.08%
  Hampton Inn                       $     182         0.01%      1        0.08%
  Sheraton                          $     180         0.01%      1        0.08%
  LA Tela Pizzeria                  $     178         0.01%      1        0.08%
  Union 76                          $     177         0.01%      4        0.32%
  Il Capriccio                      $     174         0.01%      1        0.08%
  Beverages and More                $     174         0.01%      1        0.08%
  True Food Quarters                $     165         0.01%      2        0.16%
  Argentina Gov Svcs                $     165         0.01%      1        0.08%
  SO Florida Shooting               $     159         0.01%      1        0.08%



                                                                         APP. 02010
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  Dewar's Club                      $     151         0.01%      2        0.16%
  In Knife Alley House              $     145         0.01%      1        0.08%
  Red Door                          $     144         0.01%      1        0.08%
  Grace                             $     141         0.01%      1        0.08%
  Virgin America                    $     140         0.01%      5        0.40%
  Fred at Barneys                   $     138         0.01%      1        0.08%
  Palmetta Purse                    $     130         0.01%      1        0.08%
  Sam Sneads                        $     130         0.01%      1        0.08%
  Border Grill                      $     125         0.01%      1        0.08%
  Dallas Airport                    $     118         0.01%      8        0.65%
  Sky Canyon                        $     114         0.01%      1        0.08%
  Package Cottage                   $     113         0.01%      1        0.08%
  Pancake Cottage                   $     113         0.01%      1        0.08%
  Café Pacifico                     $     112         0.01%      1        0.08%
  Galley and Garden                 $     108         0.01%      1        0.08%
  The Sushi House                   $     108         0.01%      2        0.16%
  Nordstrom                         $     106         0.01%      1        0.08%
  Arrow Hotel                       $     106         0.01%      1        0.08%
  Holiday Inn                       $      96         0.01%      1        0.08%
  Meso Mayo                         $      96         0.01%      1        0.08%
  Legal Sea Food                    $      94         0.01%      1        0.08%
  Cat Cora's Kitchen                $      88         0.01%      1        0.08%
  Dubliner Resaurant                $      86         0.01%      1        0.08%
  Burbank Airport                   $      86         0.01%      4        0.32%
  Café Herrera                      $      85         0.01%      1        0.08%
  Murphy's Chophouse                $      77         0.01%      1        0.08%
  Travel Agency Service             $      75         0.01%      1        0.08%
  The Farm                          $      70         0.01%      1        0.08%
  Boran Thai                        $      67         0.01%      1        0.08%
  Royal Palms Inn                   $      66         0.01%      3        0.24%
  Hudson                            $      66         0.01%      3        0.24%
  Liberty Kitchen                   $      64         0.00%      1        0.08%
  Blanco Tacos                      $      64         0.00%      1        0.08%
  Minibar                           $      63         0.00%      1        0.08%
  El Ranchito                       $      63         0.00%      1        0.08%
  Hy vee                            $      61         0.00%      1        0.08%
  Frog Performance                  $      61         0.00%      1        0.08%
  B&H Photo                         $      60         0.00%      1        0.08%
  Hummingbird                       $      60         0.00%      1        0.08%
  ExxonMobile                       $      54         0.00%      2        0.16%
  El Port                           $      51         0.00%      1        0.08%
  Sharkey's                         $      50         0.00%      1        0.08%
  Puckett's Grocery                 $      45         0.00%      1        0.08%
  Sunoco                            $      45         0.00%      1        0.08%
  Luxe Summit Hotel                 $      40         0.00%      1        0.08%
  Mcalister's Deli                  $      34         0.00%      1        0.08%
  Subway                            $      29         0.00%      1        0.08%



                                                                         APP. 02011
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  Lawlers BBQ                                $     29     0.00%      1        0.08%
  Quill                                      $     29     0.00%      1        0.08%
  Boxed Boxed                                $     27     0.00%      1        0.08%
  Hudson News                                $     26     0.00%      1        0.08%
  National Airport                           $     25     0.00%      5        0.40%
  Shell Oil                                  $     24     0.00%      2        0.16%
  Washington National                        $     23     0.00%      1        0.08%
  Washington Post                            $     21     0.00%      1        0.08%
  Harris Teeter                              $     21     0.00%      1        0.08%
  Anchor-In                                  $     20     0.00%      2        0.16%
  Hotel Booking Fee                          $     13     0.00%      1        0.08%
  Beverly Hills Cab                          $     10     0.00%      1        0.08%
  MMs Mayo                                   $     10     0.00%      1        0.08%
  Pilot                                      $      8     0.00%      1        0.08%
  Jacksonville Airport                       $      5     0.00%      1        0.08%
  Nashville Airport                          $      5     0.00%      1        0.08%
  Baggage Cart                               $      4     0.00%      1        0.08%
  CMS Vending                                $      2     0.00%      1        0.08%
  USA Canteen                                $      2     0.00%      1        0.08%
  LA City Parking                            $      2     0.00%      1        0.08%
  USA*A                                      $      1     0.00%      1        0.08%
  Unknown                                    $    (21)    0.00%      3        0.24%
  Hotel Book Online                          $   (849)   -0.07%      1        0.08%

  1
      See note 1 on the 'By Category' tab.




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                      EXHIBIT 70




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Privileged and Confidential                                                          Overview of Out of Pocket Expenses

Summary of Contents
The following anlaysis shows all expenses from Tyler Schropp's credit card statements which were billed by Ackerman to the NRA as out of pocket expenses. The total value of these expenses
is $237,849 out of $2,755,689 billed by Ackerman to the NRA in 2016, 2017, and 2018 as out of pocket expenses.
Limitations
The source information for the following analysis is (1) transcribed from the documentation provided by Ackerman or (2) information obtained through analysis by FRA.
Glossary of Columns on 'Detail' Tab
Line Reference                        Unique reference assigned to each line item by FRA.
Code                                  Examples of observations as defined in Note 1 at the bottom of the tab.
Year                                  Year of invoice from Ackerman to NRA per the listing of invoices received from the NRA.
Invoice Number                        Invoice number from Ackerman to NRA invoice per the listing of invoices received from the NRA.
Date of Transaction                   Date of the transaction transcribed from the documentation received while on-site.
Vendor                                Standardized vendor name by FRA based on the vendor name transcribed from the documentation received while on-site.
Amount                                Amount of expense transcribed from the documentation received while on-site.
Location                              Location of the transaction transcribed from the documentation received while on-site or based on knowledge of recurring vendors by FRA.
Individuals Related to the Expense    Transcription of names and/or initials directly related to the expense per the documentation received while on-site.
Expense Type                          Categorized by FRA based on information collected from (1) documentation provided or (2) desktop search of vendors.
Expense Subcategory                   Categorized by FRA based on information collected from (1) documentation provided or (2) desktop search of vendors.
Additional Information                Additional information collected from (1) documentation provided or (2) desktop search of vendors by FRA.
Expenses by Year
Total expenses by year:
                                 2016           $66,976.65
                                 2017          $101,810.62
                                 2018           $69,062.15




                                                                                                                                                                                         APP. 02014
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Table of Contents
Tab                           Description
Detail                        Expense line items submitted on behalf of Tony Makris
Graph                         Graphical depiction of total expenses by month and year
By Category                   Breakdown of expenses by category
By Vendor                     Total expense amount and quantity of expenses by vendor




                                                                                                                        APP. 02015
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Privileged and Confidential                                                                                 Out of Pocket Expenses
                                                                                                             Tyler Schropp Expenses

Year       Invoice Number     Date of       Vendor                      Amount          Location                  Individuals Related to the Expense Type   Expense          Additional Information
                              Transaction                                                                         Expense                                   Subcategory
2016       136165             1/6/2016      Kindle                      $     22.99 n/a                           Tyler Schropp            Miscellaneous    Other
2016       136165             1/7/2016      CXIII/Landini Brothers      $    349.23 Alexandria, VA                Tyler Schropp            Meal/Beverages   Meal/Beverages
2016       136165             1/8/2016      American Airlines           $ 1,926.10 n/a                            Tyler Schropp            Travel           Airfare          Ticket for Tyler Schropp from DCA to Las Vegas
2016       136165             1/11/2016     CXIII/Landini Brothers      $    146.60 Alexandria, VA                Tyler Schropp            Meal/Beverages   Meal/Beverages
2016       136165             1/11/2016     American Airlines           $ (1,291.10) n/a                          Tyler Schropp            Travel           Airfare          Refund for Ticket 00176411061252 for Tyler Schropp
2016       136165             1/19/2016     Four Seasons                $    592.48 Las Vegas, NV                 Tyler Schropp            Travel           Lodging          TS Arrival 1/18/16
                                                                                                                                                                             TS Departure 1/19/16
2016       136165             1/21/2016     Il Fornaiso - Canalet       $     104.50 Las Vegas, NV                Tyler Schropp            Meal/Beverages   Meal/Beverages
2016       136165             1/22/2016     Four Seasons                $   1,846.09 Las Vegas, NV                Tyler Schropp            Travel           Lodging          TS Arrival 1/19/16
                                                                                                                                                                             TS Departure 1/22/16
2016       136859             1/28/2016     CXIII/Landini Brothers      $      95.79    Alexandria, VA            Tyler Schropp            Meal/Beverages   Meal/Beverages
2016       136859             1/31/2016     Taverna Tony                $     387.63    Malibu, CA                Tyler Schropp            Meal/Beverages   Meal/Beverages
2016       136859             2/2/2016      Beverly Hills Hotel         $   4,510.91    Beverly Hills, CA         Tyler Schropp            Travel           Lodging          Lodging Arrival: 1/30/2016 Departure: 2/2/2016
2016       136859             2/2/2016      Midway Car Rental           $     583.35    Los Angeles, CA           Tyler Schropp            Auto             Car Service
2016       136859             2/3/2016      Hakkasan                    $     889.00    Las Vegas, NV             Tyler Schropp            Meal/Beverages   Meal/Beverages
2016       136859             2/4/2016      Davidoff of Geneva          $     287.71    Las Vegas, NV             Tyler Schropp            Meal/Beverages   Meal/Beverages
2016       136859             2/6/2016      Kindle                      $      22.99    n/a                       Tyler Schropp            Miscellaneous    Other
2016       136859             2/7/2016      Four Seasons                $   2,382.73    Las Vegas, NV             Tyler Schropp            Travel           Lodging          Lodging; Arrival: 2/2/2016 Departure: 2/7/2016
2016       136859             2/8/2016      Four Seasons                $    (162.40)   Las Vegas, NV             Tyler Schropp            Travel           Lodging
2016       136859             2/15/2016     American Airlines           $     593.10    n/a                       Tyler Schropp            Travel           Airfare          Passenger: Tyler Schropp From: Washington Natl To: Orlando

2016       136859             2/17/2016     American Airlines           $   1,956.10 n/a                          Tyler Schropp            Travel           Airfare          Passenger: Tyler Schropp From: Las Vegas, NV TO: Washington
                                                                                                                                                                             Natl
2016       136859             2/17/2016     American Airlines           $   1,926.10 n/a                          Tyler Schropp            Travel           Airfare          Passenger: Tyler Schropp From: Washington Natl To: Las Vegas,
                                                                                                                                                                             NV
2016       136859             2/18/2016     Hertz                       $    172.22 Orlando, FL                   Tyler Schropp            Auto             Car Rental       Day Rental 2/18/2016
2016       136859             2/18/2016     Salt Life                   $    102.62 Jacksonville, FL              Tyler Schropp            Miscellaneous    Other
2016       136859             2/19/2016     TPC at Sawgrass             $     67.65 Unknown                       Tyler Schropp            Miscellaneous    Other            Gold Course - Desktop search indicates the establishment is a golf
                                                                                                                                                                             course.
2016       136859             2/21/2016     Shores at Daytona           $   2,424.42    Daytona Beach, FL         Tyler Schropp            Travel           Lodging
2016       136859             2/21/2016     Shores at Daytona           $     521.10    Daytona Beach, FL         Tyler Schropp            Travel           Lodging
2016       136859             2/22/2016     Kiawah Island Golf Resort   $   1,237.50    Kiawah Island, SC         Tyler Schropp            Travel           Lodging          Room Rate: $904
2016       136859             2/22/2016     Kiawah Island Golf Resort   $     693.00    Kiawah Island, SC         Tyler Schropp            Travel           Lodging          Room Rate: $404
2016       136859             2/23/2016     DoubleTree                  $     209.76    Midland, TX               Tyler Schropp            Travel           Lodging          Lodging; Arrival: 2/23/2016 Departure: 2/25/2016
2016       136859             2/23/2016     DoubleTree                  $     209.76    Midland, TX               Tyler Schropp            Travel           Lodging          Lodging; Arrival: 2/23/2016 Departure: 2/25/2016
2016       136859             2/24/2016     Trulucks                    $     276.24    Houston, TX               Tyler Schropp            Meal/Beverages   Meal/Beverages
2016       136859             2/25/2016     St. Regis                   $   1,209.19    Houston, TX               Tyler Schropp            Travel           Lodging          Lodging; Arrival: 2/25/2016 Departure: 2/25/2016
2016       136859             2/26/2016     American Airlines           $   1,208.10    n/a                       Tyler Schropp            Travel           Airfare          Passenger: Tyler Schropp From: Columbia, SC To: DFW
2016       137631             2/28/2016     American Express            $     125.00    n/a                       Tyler Schropp            Miscellaneous    Other            Annual corp gold membership renewal fee


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Privileged and Confidential                                                                                Out of Pocket Expenses
                                                                                                            Tyler Schropp Expenses

Year       Invoice Number     Date of       Vendor                      Amount          Location                 Individuals Related to the Expense Type   Expense          Additional Information
                              Transaction                                                                        Expense                                   Subcategory
2016       137631             3/2/2016      National Airport            $     101.30    n/a                      Tyler Schropp            Auto             Car Rental       Car rental for 2/23 to 2/24
2016       137631             3/4/2016      Davidoff of Geneva          $     298.00    Las Vegas, NV            Tyler Schropp            Meal/Beverages   Meal/Beverages
2016       137631             3/4/2016      Capital Grille              $     169.18    Las Vegas, NV            Tyler Schropp            Meal/Beverages   Meal/Beverages
2016       137631             3/6/2016      Mirage - Shadow Creek       $   2,000.00    Las Vegas, NV            Tyler Schropp            Miscellaneous    Other            Desktop search indicates the establishment is a golf course.
2016       137631             3/6/2016      Kindle                      $      22.99    n/a                      Tyler Schropp            Miscellaneous    Other
2016       137631             3/7/2016      Four Seasons                $   2,033.78    Las Vegas, NV            Tyler Schropp            Travel           Lodging          Stay 3/2 to 3/6
2016       137631             3/7/2016      Four Seasons                $      22.71    Las Vegas, NV            Tyler Schropp            Travel           Lodging          Stay 3/2 to 3/6
2016       137631             3/7/2016      Hertz                       $       7.20    Mesa, AZ                 Tyler Schropp            Auto             Toll             The credit card statement stated Platepasshertztolls.
2016       137631             3/11/2016     CXIII/Landini Brothers      $     172.40    Alexandria, VA           Tyler Schropp            Meal/Beverages   Meal/Beverages
2016       137631             3/16/2016     CXIII/Landini Brothers      $     460.71    Alexandria, VA           Tyler Schropp            Meal/Beverages   Meal/Beverages
2016       137631             3/28/2016     Four Seasons                $     592.48    Las Vegas, NV            Tyler Schropp            Travel           Lodging          Stay 3/25 to 3/26
2016       137631             3/28/2016     Four Seasons                $     526.48    Las Vegas, NV            Tyler Schropp            Travel           Lodging          Stay 3/25 to 3/26
2016       138653             4/5/2016      American Airlines           $   1,628.10    n/a                      Tyler Schropp            Travel           Airfare          Passenger: Tyler Schropp From: Washington Intl To: DFW
2016       138653             4/5/2016      Travel Agency Service       $      45.00    Woodland Hills, CA       Tyler Schropp            Travel           Travel Service   Tyler Schropp - Misc Charge, prepaid ticket
2016       138653             4/6/2016      Kindle                      $      22.99    n/a                      Tyler Schropp            Miscellaneous    Other
2016       138653             4/6/2016      Kiawah Island Golf Resort   $    (693.00)   Kiawah Island, SC        Tyler Schropp            Travel           Lodging          Tyler Schropp - Lodging Arrival: 4/5/2016 Departure: 4/5/2016
                                                                                                                                                                            Room rate $404
2016       138653             4/6/2016      Kiawah Island Golf Resort   $ (1,237.50) Kiawah Island, SC           Tyler Schropp            Travel           Lodging          Tyler Schropp - Lodging Arrival: 4/5/2016 Departure: 4/5/2016
                                                                                                                                                                            Room rate $904
2016       138653             4/8/2016      Bobs Steak & Chop           $     301.08 Grapevine, TX               Tyler Schropp            Meal/Beverages   Meal/Beverages
2016       138653             4/11/2016     Hertz                       $     269.69 Irving, TX                  Tyler Schropp            Auto             Car Rental       Tyler Schropp - Car Rental 4/9/2016-4/11/2016
2016       138653             4/12/2016     Four Seasons                $   2,785.76 Irving, TX                  Tyler Schropp            Travel           Lodging          Tyler Schropp - Lodging Arrival: 4/7/2016 Departure: 4/12/2016

2016       138653             4/13/2016     CXIII/Landini Brothers      $     313.31    Alexandria, VA           Tyler Schropp            Meal/Beverages   Meal/Beverages
2016       138653             4/22/2016     CXIII/Landini Brothers      $     123.77    Alexandria, VA           Tyler Schropp            Meal/Beverages   Meal/Beverages
2016       138653             4/27/2016     CXIII/Landini Brothers      $     427.31    Alexandria, VA           Tyler Schropp            Meal/Beverages   Meal/Beverages
2016       139727             5/3/2016      CXIII/Landini Brothers      $     118.80    Alexandria, VA           Tyler Schropp            Meal/Beverages   Meal/Beverages
2016       139727             5/6/2016      Kindle                      $      22.99    n/a                      Tyler Schropp            Miscellaneous    Other
2016       139727             5/17/2016     Carnegie Hotel              $   1,952.56    Johnson City, TN         Tyler Schropp            Travel           Lodging          Arrival 5/18/16; departure 5/18/16
2016       139727             5/17/2016     Carnegie Hotel              $   1,952.56    Johnson City, TN         Tyler Schropp            Travel           Lodging          Arrival 5/18/16; departure 5/18/16
2016       139727             5/17/2016     Carnegie Hotel              $   1,952.56    Johnson City, TN         Tyler Schropp            Travel           Lodging          Arrival 5/18/16; departure 5/18/16
2016       139727             5/17/2016     Carnegie Hotel              $   1,952.56    Johnson City, TN         Tyler Schropp            Travel           Lodging          Arrival 5/18/16; departure 5/18/16
2016       139727             5/19/2016     Le Moo                      $     431.92    Louisville, KY           Tyler Schropp            Meal/Beverages   Meal/Beverages
2016       139727             5/21/2016     Le Moo                      $      78.60    Louisville, KY           Tyler Schropp            Meal/Beverages   Meal/Beverages
2016       139727             5/22/2016     21C Hotel                   $   3,110.31    Louisville, KY           Tyler Schropp            Travel           Lodging          Arrival 5/17/16; Departure 5/22/16
2016       139727             5/24/2016     CXIII/Landini Brothers      $     274.54    Alexandria, VA           Tyler Schropp            Meal/Beverages   Meal/Beverages
2016       140440             6/2/2016      Delta Airlines              $     545.10    n/a                      Tyler Schropp            Travel           Airfare          Passenger Tyler Schropp; Washington National to Atlanta GA

2016       140440             6/2/2016      Delta Airlines              $    545.10 n/a                          Tyler Schropp            Travel           Airfare          Passenger Tyler Schropp; Atlanta to DCA


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                                                                                                      Tyler Schropp Expenses

Year       Invoice Number     Date of       Vendor                   Amount          Location              Individuals Related to the Expense Type   Expense          Additional Information
                              Transaction                                                                  Expense                                   Subcategory
2016       140440             6/6/2016      CXIII/Landini Brothers   $     129.16    Alexandria, VA        Tyler Schropp            Meal/Beverages   Meal/Beverages
2016       140440             6/6/2016      Kindle                   $      22.99    n/a                   Tyler Schropp            Miscellaneous    Other
2016       140440             6/13/2016     CXIII/Landini Brothers   $     300.18    Alexandria, VA        Tyler Schropp            Meal/Beverages   Meal/Beverages
2016       140440             6/14/2016     CXIII/Landini Brothers   $     833.66    Alexandria, VA        Tyler Schropp            Meal/Beverages   Meal/Beverages
2016       140440             6/17/2016     CXIII/Landini Brothers   $     109.79    Alexandria, VA        Tyler Schropp            Meal/Beverages   Meal/Beverages
2016       140440             6/19/2016     Pinehurst Lodging        $     469.24    Pinehurst, NC         Tyler Schropp            Travel           Lodging          6/19/16 to 6/21/16
2016       140440             6/20/2016     Fairmont Hotel           $   1,613.98    Sonoma, CA            Tyler Schropp            Travel           Lodging          6/24/16 to 6/26/16
2016       140440             6/21/2016     Pinehurst Lodging        $       6.61    Pinehurst, NC         Tyler Schropp            Travel           Lodging          6/19/16 to 6/21/16
2016       140440             6/23/2016     New York Prime           $     599.45    Atlanta, GA           Tyler Schropp            Meal/Beverages   Meal/Beverages
2016       140440             6/24/2016     Ritz Carlton             $     669.11    Atlanta, GA           Tyler Schropp            Travel           Lodging          6/23/16 to 6/24/16
2016       141517             6/30/2016     CXIII/Landini Brothers   $     136.91    Alexandria, VA        Tyler Schropp            Meal/Beverages   Meal/Beverages
2016       141517             7/6/2016      Kindle                   $      22.99    n/a                   Tyler Schropp            Miscellaneous    Other
2016       141517             7/11/2016     CXIII/Landini Brothers   $     218.58    Alexandria, VA        Tyler Schropp            Meal/Beverages   Meal/Beverages
2016       141517             7/13/2016     CXIII/Landini Brothers   $     137.36    Alexandria, VA        Tyler Schropp            Meal/Beverages   Meal/Beverages
2016       141517             7/20/2016     CXIII/Landini Brothers   $     226.53    Alexandria, VA        Tyler Schropp            Meal/Beverages   Meal/Beverages
2016       142347             7/28/2016     American Airlines        $     585.10    n/a                   Tyler Schropp            Travel           Airfare          Ticket for Tyler Schropp from DCA to Laguardia
2016       142347             7/28/2016     American Airlines        $     585.10    n/a                   Tyler Schropp            Travel           Airfare          Ticket for Tyler Schropp from Laguardia to DCA
2016       142347             8/3/2016      CXIII/Landini Brothers   $     307.63    Alexandria, VA        Tyler Schropp            Meal/Beverages   Meal/Beverages
2016       142347             8/4/2016      United Airlines          $   1,267.10    n/a                   Tyler Schropp            Travel           Airfare          Ticket for Tyler Schropp from DCA to San Francisco
2016       142347             8/4/2016      United Airlines          $   1,267.10    n/a                   Tyler Schropp            Travel           Airfare          Ticket for Tyler Schropp from San Francisco to DCA
2016       142347             8/4/2016      American Airlines        $     585.10    n/a                   Tyler Schropp            Travel           Airfare          Ticket for Tyler Schropp from DCA to Laguardia
2016       142347             8/4/2016      American Airlines        $    (585.10)   n/a                   Tyler Schropp            Travel           Airfare          Ticket refund for Tyler Schropp ticket 00178822642430
2016       142347             8/5/2016      United Airlines          $   1,267.10    n/a                   Tyler Schropp            Travel           Airfare          Ticket for Tyler Schropp from DCA to San Francisco
2016       142347             8/6/2016      Kindle                   $      22.99    n/a                   Tyler Schropp            Miscellaneous    Other
2016       142347             8/9/2016      Alaska Airlines          $     844.10    n/a                   Tyler Schropp            Travel           Airfare          Ticket for Tyler Schropp from Los Angeles to DCA
2016       142347             8/9/2016      Alaska Airlines          $    (844.10)   n/a                   Tyler Schropp            Travel           Airfare          Refund for Tyler Schropp ticket #02778822642665
2016       142347             8/10/2016     Alaska Airlines          $     844.10    n/a                   Tyler Schropp            Travel           Airfare          Ticket for Tyler Schropp from Los Angeles to DCA
2016       142347             8/10/2016     The Kingside             $     170.45    New York, NY          Tyler Schropp            Meal/Beverages   Meal/Beverages
2016       142347             8/11/2016     Lowell Hotel             $     791.41    New York, NY          Tyler Schropp            Travel           Lodging          Arrival date 8/10/16; departure 8/11/16
2016       142347             8/22/2016     Carnegie Hotel           $      32.92    Johnson City, TN      Tyler Schropp            Travel           Lodging          Arrival 8/17/16; departure 8/22/16
2016       142347             8/24/2016     CXIII/Landini Brothers   $     122.90    Alexandria, VA        Tyler Schropp            Meal/Beverages   Meal/Beverages
2017       143169             8/29/2016     Bouchon                  $     288.44    Beverly Hills, CA     Tyler Schropp            Meal/Beverages   Meal/Beverages
2017       143169             8/30/2016     Craig's                  $     191.96    West Hollywood, CA    Tyler Schropp            Meal/Beverages   Meal/Beverages
2017       143169             9/1/2016      Beverly Hills Hotel      $   4,057.64    Beverly Hills, CA     Tyler Schropp            Travel           Lodging          TS Arrival 8/29/16
                                                                                                                                                                      TS Departure 9/1/16
2017       143169             9/1/2016      Midway Car Rental        $    731.61 Los Angeles, CA           Tyler Schropp            Auto             Car Service
2017       143169             9/2/2016      Beverly Hills Hotel      $     15.26 Beverly Hills, CA         Tyler Schropp            Travel           Lodging          TS Arrival 8/29/16
                                                                                                                                                                      TS Departure 9/1/16
2017       143169             9/6/2016      Kindle                   $     22.99 n/a                       Tyler Schropp            Miscellaneous    Other


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Privileged and Confidential                                                                        Out of Pocket Expenses
                                                                                                    Tyler Schropp Expenses

Year       Invoice Number     Date of       Vendor                   Amount       Location               Individuals Related to the Expense Type   Expense          Additional Information
                              Transaction                                                                Expense                                   Subcategory
2017       143169             9/8/2016      United Airlines          $   2,048.10 n/a                    Tyler Schropp            Travel           Airfare          Ticket from San Francisco, CA to Washington National
2017       143169             9/12/2016     CXIII/Landini Brothers   $     324.08 Alexandria, VA         Tyler Schropp            Meal/Beverages   Meal/Beverages
2017       143169             9/15/2016     Colcord Hotel            $     280.86 Oklahoma City, OK      Tyler Schropp            Travel           Lodging          TS Arrival 9/14/16
                                                                                                                                                                    TS Departure 9/15/16
2017       143169             9/16/2016     United Airlines          $   1,641.60 n/a                    Tyler Schropp            Travel           Airfare          Ticket from Albuquerque, NM to O' Hare Field, IL
2017       143169             9/16/2016     American Airlines        $     846.48 n/a                    Tyler Schropp            Travel           Airfare          Ticket from Washington National to Dallas/Ft. Worth, Texas

2017       143169             9/19/2016     United Airlines          $ 1,217.10 n/a                      Tyler Schropp            Travel           Airfare          Ticket from San Francisco, CA to Washington National
2017       143169             9/19/2016     Ritz Carlton             $     80.40 Moon Bay, CA            Tyler Schropp            Travel           Lodging
2017       143169             9/19/2016     United Airlines          $ (2,048.10) n/a                    Tyler Schropp            Travel           Airfare          Refunded flight
2017       143169             9/20/2016     Ritz Carlton             $ 2,189.66 Moon Bay, CA             Tyler Schropp            Travel           Lodging          TS Arrival 9/18/16
                                                                                                                                                                    TS Departure 9/20/16
2017       143169             9/20/2016     Ritz Carlton             $   2,181.08 Moon Bay, CA           Tyler Schropp            Travel           Lodging          TS Arrival 9/18/16
                                                                                                                                                                    TS Departure 9/20/16
2017       143169             9/20/2016     Union Los Angeles        $     27.10 Los Angeles, CA         Tyler Schropp            Miscellaneous    Other            Desktop search indicates the establishment is a clothing store in
                                                                                                                                                                    LA.
2017       143169             9/26/2016     United Airlines          $ 1,267.10 n/a                      Tyler Schropp            Travel           Airfare          Ticket from San Francisco, CA to Dulles Airport
2016       143559             9/30/2016     The Girl & the Fig       $    304.15 Sonoma, CA              Tyler Schropp            Meal/Beverages   Meal/Beverages
2016       143559             9/30/2016     United Airlines          $ (1,267.10) n/a                    Tyler Schropp            Travel           Airfare          Canceled flight
2016       143559             10/2/2016     Hertz                    $ 1,518.67 Unknown                  Tyler Schropp            Auto             Car Rental       from 9/28 - 10/02
2016       143559             10/2/2016     Lafayette Park Hotel     $    577.45 Lafayette, CA           Tyler Schropp            Travel           Lodging          Lodging 9/28 - 10/02
2016       143559             10/3/2016     CXIII/Landini Brothers   $    282.29 Alexandria, VA          Tyler Schropp            Meal/Beverages   Meal/Beverages
2016       143559             10/5/2016     CXIII/Landini Brothers   $    165.12 Alexandria, VA          Tyler Schropp            Meal/Beverages   Meal/Beverages
2016       143559             10/6/2016     Kindle                   $     22.99 n/a                     Tyler Schropp            Miscellaneous    Other
2016       143559             10/20/2016    Hertz                    $    644.54 Unknown                 Tyler Schropp            Auto             Car Rental       From 10/16/16 to 10/20/16
2016       143559             10/23/2016    United Airlines          $ 1,248.10 n/a                      Tyler Schropp            Travel           Airfare          Omaha Ne to O'Hare Il
2016       143559             10/23/2016    Delta Airlines           $ 1,113.10 n/a                      Tyler Schropp            Travel           Airfare          Washington DC to Omaha NE
2016       143559             10/23/2016    American Airlines        $    649.10 n/a                     Tyler Schropp            Travel           Airfare          Dallas to Washington
2017       144737             11/4/2016     Four Seasons             $ 1,117.04 Dallas, TX               Tyler Schropp            Travel           Lodging          Stay 11/2 - 11/6
2017       144737             11/4/2016     Four Seasons             $      4.00 Dallas, TX              Tyler Schropp            Travel           Lodging          Stay 11/2 - 11/6
2017       144737             11/6/2016     Amazon                   $     22.99 n/a                     Tyler Schropp            Miscellaneous    Other
2017       144737             11/8/2016     United Airlines          $    483.60 n/a                     Tyler Schropp            Travel           Airfare          Airfare for travel from Omaha to O'Hare to DCA
2017       144737             11/8/2016     United Airlines          $   (483.60) n/a                    Tyler Schropp            Travel           Airfare          Airfare credit for travel from Omaha to O'Hare to DCA
2017       144737             11/8/2016     United Airlines          $ (1,248.10) n/a                    Tyler Schropp            Travel           Airfare          Refunded flight
2017       144737             11/9/2016     Delta Airlines           $ 1,064.60 n/a                      Tyler Schropp            Travel           Airfare          Airfare for travel from Aberdeen to Minneapolis to DCA
2017       144737             11/9/2016     SG ROI Tobacconist       $    252.23 Omaha, NE               Tyler Schropp            Miscellaneous    Other
2017       144737             11/9/2016     Upstream Brewing         $     56.43 Omaha, NE               Tyler Schropp            Meal/Beverages   Meal/Beverages
2017       144737             11/14/2016    Hartford B Hartford      $     58.00 San Diego, CA           Tyler Schropp            Meal/Beverages   Meal/Beverages
2017       144737             11/16/2016    Delta Airlines           $    777.10 n/a                     Tyler Schropp            Travel           Airfare          MN to DC


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Privileged and Confidential                                                                                 Out of Pocket Expenses
                                                                                                             Tyler Schropp Expenses

Year       Invoice Number     Date of       Vendor                       Amount         Location                  Individuals Related to the Expense Type   Expense          Additional Information
                              Transaction                                                                         Expense                                   Subcategory
2017       144737             11/16/2016    Delta Airlines               $ (1,064.60) n/a                         Tyler Schropp            Travel           Airfare          Refunded flight
2017       144737             11/17/2016    Hertz                        $ 2,607.61 Omaha, NE                     Tyler Schropp            Auto             Car Rental       Car rental from Omaha to Saint Paul, MN
2017       144737             11/17/2016    Prairie Stop                 $     53.00 Watertown, SD                Tyler Schropp            Auto             Gas
2017       144737             11/20/2016    CXIII/Landini Brothers       $    194.59 Alexandria, VA               Tyler Schropp            Meal/Beverages   Meal/Beverages
2017       145564             11/30/2016    American Airlines            $    880.10 n/a                          Tyler Schropp            Travel           Airfare          Airfare for travel from DCA to Las Vegas
2017       145564             11/30/2016    American Airlines            $    607.10 n/a                          Tyler Schropp            Travel           Airfare          Ticket from Washington National to Charlotte, NC
2017       145564             11/30/2016    American Airlines            $    605.60 n/a                          Tyler Schropp            Travel           Airfare          Ticket from Charlotte, NC to Washington National
2017       145564             12/6/2016     CXIII/Landini Brothers       $    694.01 Alexandria, VA               Tyler Schropp            Meal/Beverages   Meal/Beverages
2017       145564             12/6/2016     Amazon                       $     22.99 n/a                          Tyler Schropp            Miscellaneous    Other
2017       145564             12/8/2016     CXIII/Landini Brothers       $     90.12 Alexandria, VA               Tyler Schropp            Meal/Beverages   Meal/Beverages
2017       145564             12/9/2016     Daytona Shores Resort        $    813.61 Daytona Beach, FL            Tyler Schropp            Travel           Lodging
2017       145564             12/9/2016     CXIII/Landini Brothers       $    125.05 Alexandria, VA               Tyler Schropp            Meal/Beverages   Meal/Beverages
2017       145564             12/12/2016    Bourbon Steak                $    100.30 Washington, DC               Tyler Schropp            Meal/Beverages   Meal/Beverages
2017       145564             12/19/2016    Four Seasons                 $    962.08 Las Vegas, NV                Tyler Schropp            Travel           Lodging
2017       145564             12/19/2016    Four Seasons                 $    816.48 Las Vegas, NV                Tyler Schropp            Travel           Lodging
2017       145564             12/19/2016    Four Seasons                 $   (816.48) Las Vegas, NV               Tyler Schropp            Travel           Lodging
2017       145564             12/21/2016    United Airlines              $ 1,941.10 n/a                           Tyler Schropp            Travel           Airfare          Airfare for travel from Las Vegas to Dulles
2017       146420             1/6/2017      Amazon                       $     22.99 n/a                          Tyler Schropp            Miscellaneous    Other
2017       146420             1/17/2017     Charlie Palmer Steak House   $ 1,212.28 Las Vegas, NV                 Tyler Schropp            Meal/Beverages   Meal/Beverages
2017       146420             1/17/2017     Joe Stone Crab               $    152.35 Las Vegas, NV                Tyler Schropp            Meal/Beverages   Meal/Beverages
2017       146420             1/19/2017     Four Seasons                 $ 2,834.26 Las Vegas, NV                 Tyler Schropp            Travel           Lodging          TS Arrival 1/14/17
                                                                                                                                                                             TS Departure 1/19/17
2017       146420             1/21/2017     Ritz Carlton                 $    450.63 Charlotte, NC                Tyler Schropp            Travel           Lodging          TS Arrival 1/20/2017
                                                                                                                                                                             TS Departure 1/21/2017
2017       147112             1/31/2017     American Airlines            $   1,106.20   n/a                       Tyler Schropp            Travel           Airfare          TS Airfare from LAX to DCA
2017       147112             2/3/2017      Joe Stone Crab               $      80.81   Las Vegas, NV             Tyler Schropp            Meal/Beverages   Meal/Beverages
2017       147112             2/4/2017      Cigar Bar                    $     223.32   Las Vegas, NV             Tyler Schropp            Meal/Beverages   Meal/Beverages
2017       147112             2/5/2017      Four Seasons                 $   1,759.78   Las Vegas, NV             Tyler Schropp            Travel           Lodging          TS Arrival 1/31/17
                                                                                                                                                                             TS Departure 2/04/17
2017       147112             2/6/2017      Amazon                       $      22.99   n/a                       Tyler Schropp            Miscellaneous    Other
2017       147112             2/8/2017      Crustacean                   $     838.12   Beverly Hills, CA         Tyler Schropp            Meal/Beverages   Meal/Beverages
2017       147112             2/9/2017      Grand Havana                 $     127.60   New York, NY              Tyler Schropp            Meal/Beverages   Meal/Beverages
2017       147112             2/10/2017     Beverly Hills Hotel          $   3,769.88   Beverly Hills, CA         Tyler Schropp            Travel           Lodging          TS Arrival 2/6/2017
                                                                                                                                                                             TS Departure 2/9/2017
2017       147112             2/10/2017     Midway Car Rental            $    590.48 Los Angeles, CA              Tyler Schropp            Auto             Car Service
2017       147112             2/10/2017     American Airlines            $    539.20 n/a                          Tyler Schropp            Travel           Airfare          TS Airfare from DCA to JAX
2017       147112             2/10/2017     Beverly Hills Hotel          $      6.53 Beverly Hills, CA            Tyler Schropp            Travel           Lodging          TS Arrival 2/6/2017
                                                                                                                                                                             TS Departure 2/9/2017
2017       147112             2/11/2017     American Airlines            $   1,126.20 n/a                         Tyler Schropp            Travel           Airfare          TS Airfare from DCA to JAX


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Privileged and Confidential                                                                           Out of Pocket Expenses
                                                                                                         Tyler Schropp Expenses

Year       Invoice Number     Date of       Vendor                   Amount          Location                 Individuals Related to the Expense Type   Expense          Additional Information
                              Transaction                                                                     Expense                                   Subcategory
2017       147112             2/11/2017     American Airlines        $   1,116.20 n/a                         Tyler Schropp            Travel           Airfare          TS Airfare from JAX to DCA
2017       147112             2/18/2017     American Airlines        $   1,262.20 n/a                         Tyler Schropp            Travel           Airfare          TS Airfare from Orlando International Airport to DCA
2017       147112             2/18/2017     Lodge Hotel              $     340.35 Ponte Verda, FL             Tyler Schropp            Travel           Lodging          TS Arrival 2/16/2017
                                                                                                                                                                         TS Departure 2/17/2017
2017       147112             2/18/2017     Travel Agency Service    $      45.00    Woodland Hills, CA       Tyler Schropp            Travel           Travel Service
2017       147112             2/18/2017     American Airlines        $    (539.20)   n/a                      Tyler Schropp            Travel           Airfare          Canceled flight
2017       147112             2/23/2017     American Airlines        $   1,262.20    n/a                      Tyler Schropp            Travel           Airfare          TS Airfare from DCA to Orlando International Airport
2017       147112             2/26/2017     TPC at Sawgrass          $      71.45    Ponte Verda, FL          Tyler Schropp            Miscellaneous    Other            Gold Course - Desktop search indicates the establishment is a golf
                                                                                                                                                                         course.
2017       147112             2/27/2017     Daytona Shores Resort    $   1,712.51    Daytona Beach, FL        Tyler Schropp            Travel           Lodging
2017       147112             2/27/2017     Shell Oil                $      20.00    Unknown                  Tyler Schropp            Auto             Gas
2017       147112             2/28/2017     Daytona Shores Resort    $     813.61    Daytona Beach, FL        Tyler Schropp            Travel           Lodging
2017       148014             2/28/2017     American Express         $     125.00    n/a                      Tyler Schropp            Miscellaneous    Other            Annual corp gold membership renewal fee
2017       148014             3/2/2017      American Airlines        $   1,192.21    n/a                      Tyler Schropp            Travel           Airfare          Ticket from Washington National to Augusta, GA
2017       148014             3/2/2017      Delta Airlines           $     611.20    n/a                      Tyler Schropp            Travel           Airfare          Ticket from Atlanta, GA to Dallas/FT Worth, Texas
2017       148014             3/3/2017      American Airlines        $   1,198.40    n/a                      Tyler Schropp            Travel           Airfare          Ticket from Washington National to St Louis, MO
2017       148014             3/3/2017      Four Seasons             $    (962.08)   Las Vegas, NV            Tyler Schropp            Travel           Lodging          Lodging:
                                                                                                                                                                         Arrival: 3/2/2017
                                                                                                                                                                         Departure: 3/3/2017
2017       148014             3/6/2017      Amazon                   $     22.99 n/a                          Tyler Schropp            Miscellaneous    Other
2017       148014             3/10/2017     St. Louis Airport        $    432.82 Saint Louis, MO              Tyler Schropp            Travel           Lodging          Lodging:
                                                                                                                                                                         Arrival: 3/8/2017
                                                                                                                                                                         Departure: 3/9/2017
2017       148014             3/21/2017     CXIII/Landini Brothers   $     145.33    Alexandria, VA           Tyler Schropp            Meal/Beverages   Meal/Beverages
2017       148014             3/27/2017     CXIII/Landini Brothers   $     196.37    Alexandria, VA           Tyler Schropp            Meal/Beverages   Meal/Beverages
2017       148014             3/29/2017     Dugan's Pub              $      83.83    Pinehurst, NC            Tyler Schropp            Meal/Beverages   Meal/Beverages
2017       148749             3/30/2017     ExxonMobil               $      38.00    Bracey, VA               Tyler Schropp            Auto             Gas
2017       148749             4/4/2017      American Airlines        $   1,661.20    n/a                      Tyler Schropp            Travel           Airfare          Ticket from Washington National to Dallas/FT Worth, TX
2017       148749             4/4/2017      Delta Airlines           $    (611.20)   n/a                      Tyler Schropp            Travel           Airfare          Refunded flight
2017       148749             4/6/2017      Amazon                   $      22.99    n/a                      Tyler Schropp            Miscellaneous    Other
2017       148749             4/10/2017     Four Seasons             $   2,361.87    Irving, TX               Tyler Schropp            Travel           Lodging          Lodging:
                                                                                                                                                                         Arrival: 4/7/2017
                                                                                                                                                                         Departure: 4/10/2017
2017       148749             4/10/2017     Four Seasons             $       5.00 Irving, TX                  Tyler Schropp            Travel           Lodging          Lodging:
                                                                                                                                                                         Arrival: 4/7/2017
                                                                                                                                                                         Departure: 4/10/2017
2017       148749             4/14/2017     American Airlines        $   1,139.20 n/a                         Tyler Schropp            Travel           Airfare          Ticket from Charleston, SC to Washington National




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Privileged and Confidential                                                                          Out of Pocket Expenses
                                                                                                         Tyler Schropp Expenses

Year       Invoice Number     Date of       Vendor                      Amount       Location                 Individuals Related to the Expense Type   Expense          Additional Information
                              Transaction                                                                     Expense                                   Subcategory
2017       148749             4/15/2017     Kiawah Island Golf Resort   $   1,146.38 Kiawah Island, SC        Tyler Schropp            Travel           Lodging          Lodging:
                                                                                                                                                                         Arrival: 4/15/2017
                                                                                                                                                                         Departure: 4/15/2017
2017       148749             4/21/2017     Kiawah Island Golf Resort   $   1,063.48 Kiawah Island, SC        Tyler Schropp            Travel           Lodging          Lodging:
                                                                                                                                                                         Arrival: 4/21/2017
                                                                                                                                                                         Departure: 4/21/2017
2017       148749             4/21/2017     Kiawah Island Golf Resort   $    156.00 Kiawah Island, SC         Tyler Schropp            Travel           Lodging          Lodging:
                                                                                                                                                                         Arrival: 4/21/2017
                                                                                                                                                                         Departure: 4/21/2017
2017       148749             4/22/2017     Four Seasons                $   1,132.67 Las Vegas, NV            Tyler Schropp            Travel           Lodging          Lodging:
                                                                                                                                                                         Arrival: 4/21/2017
                                                                                                                                                                         Departure: 4/22/2017
2017       148749             4/23/2017     Four Seasons                $    883.23 Las Vegas, NV             Tyler Schropp            Travel           Lodging          Lodging:
                                                                                                                                                                         Arrival: 4/22/2017
                                                                                                                                                                         Departure: 4/23/2017
2017       149459             5/1/2017      Four Seasons                $   3,782.54 Atlanta, GA              Tyler Schropp            Travel           Lodging
2017       149459             5/2/2017      Ritz Carlton                $     128.42 Atlanta, GA              Tyler Schropp            Travel           Lodging          TS Arrival 4/25/17
                                                                                                                                                                         TS Departure 5/2/2017
2017       149459             5/6/2017      Amazon                      $     22.99 n/a                       Tyler Schropp            Miscellaneous    Other
2017       149459             5/11/2017     United Airlines             $ 1,300.20 n/a                        Tyler Schropp            Travel           Airfare          From Washington DC to San Francisco, CA
2017       149459             5/11/2017     United Airlines             $ 1,300.20 n/a                        Tyler Schropp            Travel           Airfare          From San Francisco to Washington DC
2017       149459             5/13/2017     American Airlines           $   (607.20) n/a                      Tyler Schropp            Travel           Airfare          Refund flight from Washington to Charlotte
2017       149459             5/14/2017     American Airlines           $    607.20 n/a                       Tyler Schropp            Travel           Airfare          From Washington DC to Charlotte, NC
2017       149459             5/16/2017     American Airlines           $    607.20 n/a                       Tyler Schropp            Travel           Airfare          From Washington DC to Charlotte, NC
2017       149459             5/18/2017     United Airlines             $ (1,300.20) n/a                      Tyler Schropp            Travel           Airfare          Refunded flight
2017       149459             5/21/2017     CXIII/Landini Brothers      $    236.27 Alexandria, VA            Tyler Schropp            Meal/Beverages   Meal/Beverages
2017       149459             5/21/2017     United Airlines             $ (1,300.20) n/a                      Tyler Schropp            Travel           Airfare          Refunded flight
2017       149459             5/23/2017     American Airlines           $   (607.20) n/a                      Tyler Schropp            Travel           Airfare          Refunded flight
2017       149459             5/25/2017     American Airlines           $    648.20 n/a                       Tyler Schropp            Travel           Airfare          From Dallas, TX to Washington, DC
2017       149459             5/25/2017     American Airlines           $    648.20 n/a                       Tyler Schropp            Travel           Airfare          From Washington DC to Dallas, TX
2017       149459             5/26/2017     CXIII/Landini Brothers      $    175.83 Alexandria, VA            Tyler Schropp            Meal/Beverages   Meal/Beverages
2017       150457             5/30/2017     CXIII/Landini Brothers      $     97.66 Alexandria, VA            Tyler Schropp            Meal/Beverages   Meal/Beverages
2017       150457             6/1/2017      CXIII/Landini Brothers      $    353.91 Alexandria, VA            Tyler Schropp            Meal/Beverages   Meal/Beverages
2017       150457             6/5/2017      CXIII/Landini Brothers      $    110.56 Alexandria, VA            Tyler Schropp            Meal/Beverages   Meal/Beverages
2017       150457             6/6/2017      Amazon                      $     22.99 n/a                       Tyler Schropp            Miscellaneous    Other
2017       150457             6/14/2017     Capital Grille              $    518.67 Unknown                   Tyler Schropp            Meal/Beverages   Meal/Beverages
2017       150457             6/15/2017     Casa de Montecristo         $    122.86 Dallas, TX                Tyler Schropp            Miscellaneous    Other            Desktop search indicates this establishment is a cigar bar.
2017       150457             6/16/2017     Hertz                       $    478.00 Unknown                   Tyler Schropp            Auto             Car Rental




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                                                                                                         Tyler Schropp Expenses

Year       Invoice Number     Date of       Vendor                    Amount         Location                 Individuals Related to the Expense Type   Expense          Additional Information
                              Transaction                                                                     Expense                                   Subcategory
2017       150457             6/17/2017     Mansion on Turtle Creek   $   1,753.68 Dallas, TX                 Tyler Schropp            Travel           Lodging          TS Arrival 6/13/2017
                                                                                                                                                                         TS Departure 6/16/2017
2017       150823             6/28/2017     CXIII/Landini Brothers    $    368.48    Alexandria, VA           Tyler Schropp            Meal/Beverages   Meal/Beverages
2017       150823             7/6/2017      Kindle                    $     22.99    n/a                      Tyler Schropp            Miscellaneous    Other
2017       150823             7/14/2017     American Airlines         $    424.20    n/a                      Tyler Schropp            Travel           Airfare          Ticket from Washington National to Charlotte, NC
2017       150823             7/14/2017     American Airlines         $    422.70    n/a                      Tyler Schropp            Travel           Airfare          Ticket from Charlotte, NC to Washington National
2017       150823             7/24/2017     American Airlines         $    648.20    n/a                      Tyler Schropp            Travel           Airfare          Ticket from Washington National to Dallas/FT Worth, Texas

2017       150823             7/24/2017     American Airlines         $     634.20 n/a                        Tyler Schropp            Travel           Airfare          Ticket from Dallas/FT Worth, Texas to Charlotte, NC
2017       150823             7/24/2017     American Airlines         $    (424.20) n/a                       Tyler Schropp            Travel           Airfare          Refunded flight
2017       151745             8/1/2017      British Airways           $   5,664.16 n/a                        Tyler Schropp            Travel           Airfare          Passenger: Tyler Schropp From: Dulles DC To: London Heathrow
                                                                                                                                                                         UK To: Dulles DC
2017       151745             8/1/2017      American Airlines         $    569.20 n/a                         Tyler Schropp            Travel           Airfare          Passenger: Tyler Schropp From: Washington Intl To: Kansas City

2017       151745             8/6/2017      Kindle                    $      22.99   n/a                      Tyler Schropp            Miscellaneous    Other
2017       151745             8/9/2017      Four Seasons              $   1,016.86   Las Vegas, NV            Tyler Schropp            Travel           Lodging          Lodging; Arrive: 8/7/2017 Depart: 8/9/2017
2017       151745             8/9/2017      Tinder Box                $     177.38   Charlotte, NC            Tyler Schropp            Meal/Beverages   Meal/Beverages
2017       151745             8/10/2017     Baku                      $     418.56   Charlotte, NC            Tyler Schropp            Meal/Beverages   Meal/Beverages
2017       151745             8/10/2017     Sullivans                 $     202.38   Unknown                  Tyler Schropp            Meal/Beverages   Meal/Beverages
2017       151745             8/12/2017     Westin Hotel              $   1,283.35   Charlotte, NC            Tyler Schropp            Travel           Lodging          Lodging; Arrive: 8/12/2017 Depart: 8/12/2017
2017       151745             8/15/2017     CXIII/Landini Brothers    $     368.94   Alexandria, VA           Tyler Schropp            Meal/Beverages   Meal/Beverages
2017       151745             8/16/2017     ExxonMobil                $      31.00   Daleville, VA            Tyler Schropp            Auto             Gas
2017       151745             8/17/2017     The Olde Farm             $     761.10   Bristol, VA              Tyler Schropp            Meal/Beverages   Meal/Beverages
2017       151745             8/18/2017     The Olde Farm             $     105.83   Unknown                  Tyler Schropp            Meal/Beverages   Meal/Beverages
2017       151745             8/20/2017     Ironwood                  $     115.01   Unknown                  Tyler Schropp            Meal/Beverages   Meal/Beverages
2017       151745             8/20/2017     Shell Oil                 $      36.00   Unknown                  Tyler Schropp            Auto             Gas
2017       151745             8/20/2017     Pinehurst Lodging         $      31.08   Pinehurst, NC            Tyler Schropp            Meal/Beverages   Meal/Beverages
2017       151745             8/21/2017     ExxonMobil                $      32.00   Unknown                  Tyler Schropp            Auto             Gas
2017       151745             8/21/2017     Pinehurst Lodging         $       4.73   Pinehurst, NC            Tyler Schropp            Meal/Beverages   Meal/Beverages
2017       152775             9/6/2017      Hotel Vandivort           $   1,205.08   Springfield, MO          Tyler Schropp            Travel           Lodging
2017       152775             9/6/2017      Kindle                    $      22.99   n/a                      Tyler Schropp            Miscellaneous    Other
2017       152775             9/7/2017      Marriott                  $     234.31   Overland Park, KS        Tyler Schropp            Travel           Lodging          Lodging; Arrive: 9/5/2017 Departure: 9/6/2017
2017       152775             9/9/2017      Hertz                     $     730.86   Kansas City, MO          Tyler Schropp            Auto             Car Rental       Rental Car Arrive: 9/5/2017 Departure: 9/9/2017
2017       152775             9/11/2017     American Airlines         $     648.20   n/a                      Tyler Schropp            Travel           Airfare          Passenger: Tyler Schropp FROM: DFW TO: Washington Natl

2017       152775             9/15/2017     Alaska Airlines           $    858.20 n/a                         Tyler Schropp            Travel           Airfare          Passenger: Tyler Schropp FROM: Washington Natl TO: Los
                                                                                                                                                                         Angeles, CA
2017       152775             9/19/2017     Cool River                $    156.11 Irving, TX                  Tyler Schropp            Meal/Beverages   Meal/Beverages




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                                                                                                        Tyler Schropp Expenses

Year       Invoice Number     Date of       Vendor                 Amount          Location                  Individuals Related to the Expense Type   Expense       Additional Information
                              Transaction                                                                    Expense                                   Subcategory
2017       152775             9/20/2017     American Airlines      $    648.20 n/a                           Tyler Schropp            Travel           Airfare       Passenger: Tyler Schropp FROM: Washington Natl TO: DFW

2017       152775             9/22/2017     Hertz                  $     162.06    Irving, TX                Tyler Schropp            Auto             Car Rental    Car Rental 9/21/2017 - 9/22/2017
2017       152775             9/23/2017     Four Seasons           $   2,506.62    Dallas, TX                Tyler Schropp            Travel           Lodging       Lodging; Arrive: 9/19/2017 Departure: 9/23/2017
2017       152775             9/23/2017     Four Seasons           $       7.70    Dallas, TX                Tyler Schropp            Travel           Lodging       Lodging; Arrive: 9/19/2017 Departure: 9/23/2017
2017       152775             9/26/2017     American Airlines      $     104.20    n/a                       Tyler Schropp            Travel           Airfare       Passenger: Tyler Schropp FROM: Charleston, SC TO: Washington
                                                                                                                                                                     Natl
2017       153476             10/2/2017     American Airlines      $     648.20    n/a                       Tyler Schropp            Travel           Airfare       Ticket from Dallas/FT Worth Texas to Washington National
2017       153476             10/2/2017     Village on Canon AMC   $      19.60    Beverly Hills, CA         Tyler Schropp            Auto             Parking       Parking fees
2017       153476             10/2/2017     American Airlines      $    (648.20)   n/a                       Tyler Schropp            Travel           Airfare       Refunded flight
2017       153476             10/3/2017     Beverly Hills Hotel    $   4,685.20    Beverly Hills, CA         Tyler Schropp            Travel           Lodging       Lodging:
                                                                                                                                                                     Arrival date: 10/1/2017
                                                                                                                                                                     Departure date: 10/3/2017
2017       153476             10/3/2017     American Airlines      $    648.20 n/a                           Tyler Schropp            Travel           Airfare       Ticket from Dallas/FT Worth Texas to Washington National
2017       153476             10/3/2017     Midway Car Rental      $    396.91 Los Angeles, CA               Tyler Schropp            Auto             Car Service
2017       153476             10/3/2017     Beverly Hills Hotel    $     13.14 Beverly Hills, CA             Tyler Schropp            Travel           Lodging       Lodging:
                                                                                                                                                                     Arrival date: 10/1/2017
                                                                                                                                                                     Departure date: 10/3/2017
2017       153476             10/4/2017     Beverly Hills Hotel    $     31.00 Beverly Hills, CA             Tyler Schropp            Travel           Lodging       Lodging:
                                                                                                                                                                     Arrival date: 10/1/2017
                                                                                                                                                                     Departure date: 10/3/2017
2017       153476             10/5/2017     Ritz Carlton           $   1,470.01 Dallas, TX                   Tyler Schropp            Travel           Lodging       Lodging:
                                                                                                                                                                     Arrival date: 10/3/2017
                                                                                                                                                                     Departure date: 10/5/2017
2017       153476             10/6/2017     Kindle                 $     22.99 n/a                           Tyler Schropp            Miscellaneous    Other
2017       153476             10/9/2017     American Airlines      $    244.20 n/a                           Tyler Schropp            Travel           Airfare       Ticket from Washington National to Charlotte, NC
2017       153476             10/12/2017    Ritz Carlton           $    991.27 Charlotte, NC                 Tyler Schropp            Travel           Lodging       Lodging:
                                                                                                                                                                     Arrival: 10/11/2017
                                                                                                                                                                     Departure: 10/12/2017
2017       153476             10/12/2017    Ritz Carlton           $       5.00 Charlotte, NC                Tyler Schropp            Travel           Lodging       Lodging:
                                                                                                                                                                     Arrival: 10/11/2017
                                                                                                                                                                     Departure: 10/12/2017
2017       153476             10/13/2017    Hertz                  $   1,035.73 NC                           Tyler Schropp            Auto             Car Rental
2017       153476             10/18/2017    Hertz                  $     153.25 IL                           Tyler Schropp            Auto             Car Rental
2017       153476             10/19/2017    Hermitage              $   1,415.41 Nashville, TN                Tyler Schropp            Travel           Lodging       Lodging:
                                                                                                                                                                     Arrival: 10/17/2017
                                                                                                                                                                     Departure: 10/19/2017




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Privileged and Confidential                                                                           Out of Pocket Expenses
                                                                                                       Tyler Schropp Expenses

Year       Invoice Number     Date of       Vendor                    Amount         Location               Individuals Related to the Expense Type   Expense          Additional Information
                              Transaction                                                                   Expense                                   Subcategory
2017       153476             10/19/2017    Four Seasons              $    832.57 Chicago, IL               Tyler Schropp            Travel           Lodging          Lodging:
                                                                                                                                                                       Arrival: 10/19/2017
                                                                                                                                                                       Departure: 10/19/2017
2017       153476             10/20/2017    CXIII/Landini Brothers    $     166.48 Alexandria, VA           Tyler Schropp            Meal/Beverages   Meal/Beverages
2017       153476             10/24/2017    Four Seasons              $   1,123.88 Golden Oaks, FL          Tyler Schropp            Travel           Lodging          Lodging:
                                                                                                                                                                       Arrival: 10/23/2017
                                                                                                                                                                       Departure: 10/24/2017
2017       153476             10/26/2017    CXIII/Landini Brothers    $     120.19 Alexandria, VA           Tyler Schropp            Meal/Beverages   Meal/Beverages
2018       154261             10/30/2017    American Airlines         $   1,435.80 n/a                      Tyler Schropp            Travel           Airfare          Ticket for Tyler Schropp from Orlando, FL to Dallas and Omaha

2018       154261             10/31/2017    United Airlines           $    880.20 n/a                       Tyler Schropp            Travel           Airfare          Ticket for Tyler Schropp from Houston, TX to Washington, DCA

2018       154261             11/2/2017     CXIII/Landini Brothers    $     118.17   Alexandria, VA         Tyler Schropp            Meal/Beverages   Meal/Beverages
2018       154261             11/3/2017     CXIII/Landini Brothers    $      52.37   Alexandria, VA         Tyler Schropp            Meal/Beverages   Meal/Beverages
2018       154261             11/5/2017     Hertz                     $     182.58   Irving, TX             Tyler Schropp            Auto             Car Rental       Rental dates from 11/4 to 11/5 for Tyler Schropp
2018       154261             11/6/2017     Four Seasons              $   2,748.32   Dallas, TX             Tyler Schropp            Travel           Lodging          Arrival 11/3
2018       154261             11/6/2017     Delta Airlines            $   1,129.20   n/a                    Tyler Schropp            Travel           Airfare          Airline ticket for Tyler Schropp from Orlando FL to Minneapolis,
                                                                                                                                                                       MN and Aberdeen SD
2018       154261             11/6/2017     Kindle                    $     22.99 n/a                       Tyler Schropp            Miscellaneous    Other
2018       154261             11/6/2017     Four Seasons              $      4.00 Dallas, TX                Tyler Schropp            Travel           Lodging          TS Arrival 11/3/17
                                                                                                                                                                       TS Departure 11/6/17
2018       154261             11/6/2017     American Airlines         $ (1,435.80) n/a                      Tyler Schropp            Travel           Airfare          Credit for ticket #00186673876030
2018       154261             11/7/2017     United Airlines           $      7.99 n/a                       Tyler Schropp            Travel           Other            Wifi
2018       154261             11/9/2017     American Airlines         $    524.70 n/a                       Tyler Schropp            Travel           Airfare          Ticket from Charlotte, NC to Washington National
2018       154261             11/11/2017    Gallie                    $     52.83 Melbourne, FL             Tyler Schropp            Meal/Beverages   Meal/Beverages
2018       154261             11/12/2017    Four Seasons              $    (18.75) Orlando, FL              Tyler Schropp            Travel           Lodging          Arrival date of 11/11/17; departure date of 11/12/17
2018       154261             11/21/2017    CXIII/Landini Brothers    $     89.47 Alexandria, VA            Tyler Schropp            Meal/Beverages   Meal/Beverages
2018       154261             11/27/2017    American Airlines         $    632.20 n/a                       Tyler Schropp            Travel           Airfare          Ticket for Tyler Schropp from DCA to New Orleans
2018       154261             11/27/2017    American Airlines         $    632.20 n/a                       Tyler Schropp            Travel           Airfare          Ticket for Tyler Schropp from New Orleans to DCA
2018       154706/155170      11/28/2017    Costal Flats Restaurant   $     90.00 Fairfax, VA               Tyler Schropp            Meal/Beverages   Meal/Beverages
2018       154706/155170      12/1/2017     CXIII/Landini Brothers    $     78.20 Alexandria, VA            Tyler Schropp            Meal/Beverages   Meal/Beverages
2018       154706/155170      12/1/2017     Four Seasons              $   (883.23) Las Vegas, NV            Tyler Schropp            Travel           Lodging          Arrival 11/30/17
                                                                                                                                                                       Departure 12/1/17
2018       154706/155170      12/4/2017     CXIII/Landini Brothers    $     150.44   Alexandria, VA         Tyler Schropp            Meal/Beverages   Meal/Beverages
2018       154706/155170      12/5/2017     CXIII/Landini Brothers    $     105.34   Alexandria, VA         Tyler Schropp            Meal/Beverages   Meal/Beverages
2018       154706/155170      12/6/2017     Kindle                    $      22.99   n/a                    Tyler Schropp            Miscellaneous    Other
2018       154706/155170      12/12/2017    American Airlines         $   1,556.20   n/a                    Tyler Schropp            Travel           Airfare          TS Airfare from DFW to DCA
2018       154706/155170      12/12/2017    CXIII/Landini Brothers    $     303.30   Alexandria, VA         Tyler Schropp            Meal/Beverages   Meal/Beverages
2018       154706/155170      12/14/2017    CXIII/Landini Brothers    $     299.42   Alexandria, VA         Tyler Schropp            Meal/Beverages   Meal/Beverages


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                                                                                                    Tyler Schropp Expenses

Year       Invoice Number     Date of       Vendor                    Amount      Location               Individuals Related to the Expense Type   Expense          Additional Information
                              Transaction                                                                Expense                                   Subcategory
2018       154706/155170      12/15/2017    CXIII/Landini Brothers    $    168.49 Alexandria, VA         Tyler Schropp            Meal/Beverages   Meal/Beverages
2018       154706/155170      12/20/2017    Waldorf Roosevelt Hotel   $    267.07 New Orleans, LA        Tyler Schropp            Travel           Lodging          TS Arrival 12/18/2017
                                                                                                                                                                    TS Departure 12/19/2017
2018       154706/155170      12/20/2017    Waldorf Roosevelt Hotel   $     68.50 New Orleans, LA        Tyler Schropp            Travel           Lodging          TS Arrival 12/18/2017
                                                                                                                                                                    TS Departure 12/19/2017
2018       154707             1/2/2018      American Airlines         $ (1,576.20) n/a                   Tyler Schropp            Travel           Airfare          Refund for ticket #00170921788210 for Tyler Schropp
2018       154707             1/4/2018      Hertz                     $    122.68 Unknown                Tyler Schropp            Auto             Car Rental       Car rental on 1/4/2018 for OKC for Tyler Schropp
2018       154707             1/4/2018      Cool River                $    100.00 Irving, TX             Tyler Schropp            Meal/Beverages   Meal/Beverages
2018       154707             1/4/2018      Up in Smoke               $     58.94 Dallas, TX             Tyler Schropp            Miscellaneous    Other
2018       154707             1/5/2018      Hertz                     $    108.16 Irving, TX             Tyler Schropp            Auto             Car Rental       Car rental on 1/42018 through 1/5/2018 for Tyler Schropp
2018       154707             1/5/2018      Texas Spice Omni DCC      $     46.05 Dallas, TX             Tyler Schropp            Meal/Beverages   Meal/Beverages
2018       154707             1/6/2018      Four Seasons              $ 1,600.25 Dallas, TX              Tyler Schropp            Travel           Lodging          Arrival date 1/3/2018; departure date 1/6/2018
2018       154707             1/6/2018      Four Seasons              $     62.20 Dallas, TX             Tyler Schropp            Travel           Lodging          Arrival date 1/3/2018; departure date 1/6/2018
2018       154707             1/6/2018      Kindle                    $     22.99 n/a                    Tyler Schropp            Miscellaneous    Other
2018       154707             1/8/2018      CXIII/Landini Brothers    $    199.07 Alexandria, VA         Tyler Schropp            Meal/Beverages   Meal/Beverages
2018       154707             1/9/2018      Four Seasons              $ 2,067.76 Golden Oaks, FL         Tyler Schropp            Travel           Lodging          Arrival date 1/8/2018; departure date 1/9/2018
2018       154707             1/9/2018      Four Seasons              $ 2,067.76 Golden Oaks, FL         Tyler Schropp            Travel           Lodging          Arrival date 1/8/2018; departure date 1/9/2018
2018       154707             1/14/2018     Four Seasons              $    713.16 Las Vegas, NV          Tyler Schropp            Travel           Lodging          Arrival date 1/13/2018; departure date 1/14/2018
2018       154707             1/15/2018     American Airlines         $ 1,929.30 n/a                     Tyler Schropp            Travel           Airfare          Ticket for Tyler Schropp from Las Vegas to DCA
2018       154707             1/15/2018     American Airlines         $ 1,639.30 n/a                     Tyler Schropp            Travel           Airfare          Ticket for Tyler Schropp from Los Angeles to DCA
2018       154707             1/15/2018     American Airlines         $    996.30 n/a                    Tyler Schropp            Travel           Airfare          Ticket for Tyler Schropp from DCA to Las Vegas
2018       154707             1/15/2018     American Airlines         $    996.30 n/a                    Tyler Schropp            Travel           Airfare          Ticket for Tyler Schropp from DCA to Las Vegas
2018       154707             1/16/2018     Hertz                     $     26.95 Mesa, CA               Tyler Schropp            Auto             Toll
2018       154707             1/17/2018     American Airlines         $ 1,026.30 n/a                     Tyler Schropp            Travel           Airfare          Ticket for Tyler Schropp from Las Vegas to DCA
2018       154707             1/18/2018     Four Seasons              $    951.26 Las Vegas, NV          Tyler Schropp            Travel           Lodging          Arrival date 1/17/2018; departure date 1/18/2018
2018       154707             1/19/2018     CXIII/Landini Brothers    $    122.96 Alexandria, VA         Tyler Schropp            Meal/Beverages   Meal/Beverages
2018       154707             1/23/2018     American Airlines         $ 1,629.30 n/a                     Tyler Schropp            Travel           Airfare          Ticket for Tyler Schropp from DCA to Orlando, FL
2018       154707             1/23/2018     American Airlines         $ 1,276.30 n/a                     Tyler Schropp            Travel           Airfare          Ticket for Tyler Schropp from Orlando, FL to DCA
2018       154707             1/25/2018     American Airlines         $    814.30 n/a                    Tyler Schropp            Travel           Airfare          Ticket for Tyler Schropp from Orlando, FL to DCA
2018       154707             1/25/2018     Il Fornaiso - Canalet     $    104.00 Las Vegas, NV          Tyler Schropp            Meal/Beverages   Meal/Beverages
2018       154707             1/27/2018     Four Seasons              $ 2,471.78 Las Vegas, NV           Tyler Schropp            Travel           Lodging          Arrival date 1/23/18; departure date 1/26/18
2018       155996             1/27/2018     American Airlines         $    317.30 n/a                    Tyler Schropp            Travel           Airfare          Passenger Tyler Schropp; from Las Vegas to Los Angeles
2018       154707             1/29/2018     American Airlines         $ (1,276.30) n/a                   Tyler Schropp            Travel           Airfare          Refund for ticket 00170921788571
2018       155996             1/30/2018     CXIII/Landini Brothers    $    120.28 Alexandria, VA         Tyler Schropp            Meal/Beverages   Meal/Beverages
2018       155996             2/1/2018      Joe Stone Crab            $    529.30 Las Vegas, NV          Tyler Schropp            Meal/Beverages   Meal/Beverages
2018       155996             2/1/2018      Cigar Bar                 $    198.10 Las Vegas, NV          Tyler Schropp            Meal/Beverages   Meal/Beverages
2018       156967             2/2/2018      American Express          $    125.00 n/a                    Tyler Schropp            Miscellaneous    Other            Annual corp gold membership renewal fee
2018       155996             2/2/2018      Palm Restaurant           $     89.15 Las Vegas, NV          Tyler Schropp            Meal/Beverages   Meal/Beverages




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                                                                                                          Tyler Schropp Expenses

Year       Invoice Number     Date of       Vendor                   Amount          Location                  Individuals Related to the Expense Type   Expense          Additional Information
                              Transaction                                                                      Expense                                   Subcategory
2018       155996             2/3/2018      Four Seasons             $   2,137.53 Las Vegas, NV                Tyler Schropp            Travel           Lodging          TS Arrival 1/30/18
                                                                                                                                                                          TS Departure 2/3/18
2018       155996             2/3/2018      Grill Concepts           $     435.26    Beverly Hills, CA         Tyler Schropp            Meal/Beverages   Meal/Beverages
2018       155996             2/4/2018      American Airlines        $   2,454.30    n/a                       Tyler Schropp            Travel           Airfare          TS Airfare from DCA to PHX
2018       155996             2/4/2018      American Airlines        $     814.30    n/a                       Tyler Schropp            Travel           Airfare          TS Airfare from Orlando International Airport to DCA
2018       155996             2/4/2018      American Airlines        $     452.30    n/a                       Tyler Schropp            Travel           Airfare          TS Airfare from PHX to Las Vegas
2018       155996             2/4/2018      American Airlines        $    (814.30)   n/a                       Tyler Schropp            Travel           Airfare          Canceled flight
2018       155996             2/6/2018      ABM Parking              $      35.00    Los Angeles, CA           Tyler Schropp            Auto             Parking
2018       155996             2/6/2018      Kindle                   $      22.99    n/a                       Tyler Schropp            Miscellaneous    Other
2018       155996             2/7/2018      Beverly Hills Hotel      $   5,703.07    Beverly Hills, CA         Tyler Schropp            Travel           Lodging          TS Arrival 2/3/2018
                                                                                                                                                                          TS Departure 2/8/2018
2018       155996             2/7/2018      Midway Car Rental        $    864.23 Los Angeles, CA               Tyler Schropp            Auto             Car Service
2018       155996             2/7/2018      Beverly Hills Hotel      $     20.75 Beverly Hills, CA             Tyler Schropp            Travel           Lodging          TS Arrival 2/3/2018
                                                                                                                                                                          TS Departure 2/8/2018
2018       155996             2/14/2018     American Airlines        $   (814.30) n/a                          Tyler Schropp            Travel           Airfare          Canceled flight
2018       155996             2/14/2018     American Airlines        $ (1,629.30) n/a                          Tyler Schropp            Travel           Airfare          Canceled flight
2018       155996             2/15/2018     CXIII/Landini Brothers   $     98.75 Alexandria, VA                Tyler Schropp            Meal/Beverages   Meal/Beverages
2018       155996             2/22/2018     CXIII/Landini Brothers   $    129.50 Alexandria, VA                Tyler Schropp            Meal/Beverages   Meal/Beverages
2018       156967             2/28/2018     Virgin America           $ 1,998.30 n/a                            Tyler Schropp            Travel           Airfare          T Schropp SFO to WAS
2018       156967             2/28/2018     United Airlines          $ 1,318.30 n/a                            Tyler Schropp            Travel           Airfare          Pass. T Schropp From WAS to SFO
2018       156967             3/2/2018      Four Seasons             $ 1,839.09 Scottsdale, AZ                 Tyler Schropp            Travel           Lodging          Lodging Arrival 2/28 - 3/2
2018       156967             3/2/2018      Four Seasons             $      6.54 Scottsdale, AZ                Tyler Schropp            Travel           Lodging          Lodging Arrival 2/28 - 3/2
2018       156967             3/3/2018      Cigar Bar                $    251.91 Las Vegas, NV                 Tyler Schropp            Meal/Beverages   Meal/Beverages
2018       156967             3/4/2018      Sushi Roku               $    720.79 Las Vegas, NV                 Tyler Schropp            Meal/Beverages   Meal/Beverages
2018       156967             3/5/2018      Four Seasons             $    983.12 Las Vegas, NV                 Tyler Schropp            Travel           Lodging          Lodging Arrival 3/2 - 3/4
2018       156967             3/5/2018      Go Rentals               $    583.19 Scottsdale, AZ                Tyler Schropp            Auto             Car Rental       Car rental 2/28 - 3/2
2018       156967             3/6/2018      Kindle                   $     22.99 n/a                           Tyler Schropp            Miscellaneous    Other
2018       156967             3/9/2018      American Airlines        $ 1,576.30 n/a                            Tyler Schropp            Travel           Airfare          Was to Dallas
2018       156967             3/9/2018      American Airlines        $ 1,556.30 n/a                            Tyler Schropp            Travel           Airfare          Dallas to Was
2018       156967             3/9/2018      CXIII/Landini Brothers   $    111.77 Alexandria, VA                Tyler Schropp            Meal/Beverages   Meal/Beverages
2018       156967             3/19/2018     Pinehurst Lodging        $    590.07 Pinehurst, NC                 Tyler Schropp            Travel           Lodging
2018       156967             3/19/2018     Shell Oil                $     30.01 Henderson NC                  Tyler Schropp            Auto             Gas
2018       156967             3/20/2018     Dugan's Pub              $     95.96 Pinehurst, NC                 Tyler Schropp            Meal/Beverages   Meal/Beverages
2018       156967             3/21/2018     Shell Oil                $     36.00 Henderson NC                  Tyler Schropp            Auto             Gas
2018       156967             3/21/2018     Pinehurst Lodging        $      7.16 Pinehurst, NC                 Tyler Schropp            Travel           Lodging
2018       156967             3/22/2018     American Airlines        $ 2,747.00 n/a                            Tyler Schropp            Travel           Airfare          Airfare from PHX to SFO
2018       156967             3/22/2018     United Airlines          $ (1,318.30) n/a                          Tyler Schropp            Travel           Airfare          Canceled flight
2018       156967             3/25/2018     Lafayette Park Hotel     $    708.52 Lafayette, CA                 Tyler Schropp            Travel           Lodging          3/23 - 3/25




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Privileged and Confidential                                                                             Out of Pocket Expenses
                                                                                                         Tyler Schropp Expenses

Year       Invoice Number     Date of       Vendor                    Amount         Location                 Individuals Related to the Expense Type   Expense          Additional Information
                              Transaction                                                                     Expense                                   Subcategory
2018       156967             3/25/2018     Lafayette Park Hotel      $      4.33 Lafayette, CA               Tyler Schropp            Travel           Lodging          TS Arrival 3/23/2018
                                                                                                                                                                         TS Departure 3/25/2018
2018       157570             4/5/2018      Cool River                $     125.97    Irving, TX              Tyler Schropp            Meal/Beverages   Meal/Beverages
2018       157570             4/6/2018      Kindle                    $      22.99   n/a                      Tyler Schropp            Miscellaneous    Other
2018       157570             4/7/2018      Casa de Montecristo       $     231.93   Dallas, TX               Tyler Schropp            Miscellaneous    Other            Desktop search indicates this establishment is a cigar bar.
2018       157570             4/7/2018      Hard 8 BBQ                $      61.61   Unknown                  Tyler Schropp            Meal/Beverages   Meal/Beverages
2018       157570             4/9/2018      Four Seasons              $   3,776.28   Irving, TX               Tyler Schropp            Travel           Lodging          Arrival 04/04/18
                                                                                                                                                                         Departure 4/9/18
2018       157570             4/9/2018      Hertz                     $     720.91 Unknown                    Tyler Schropp            Auto             Car Rental
2018       157570             4/20/2018     CXIII/Landini Brothers    $     103.97 Alexandria, VA             Tyler Schropp            Meal/Beverages   Meal/Beverages
2018       158521             4/30/2018     Mansion on Turtle Creek   $   6,156.13 Dallas, TX                 Tyler Schropp            Travel           Lodging          Tyler Schropp - Lodging Arrival: 5/1/2018 Departure: 5/8/2018

2018       158521             4/30/2018     Mansion on Turtle Creek   $   3,209.25 Dallas, TX                 Tyler Schropp            Travel           Lodging          Tyler Schropp - Lodging Arrival: 4/30/18 Departure: 5/8/2018

2018       158521             5/3/2018      Perry's                   $    231.77    Dallas, TX               Tyler Schropp            Meal/Beverages   Meal/Beverages
2018       158521             5/4/2018      Cool River                $    159.42    Irving, TX               Tyler Schropp            Meal/Beverages   Meal/Beverages
2018       158521             5/6/2018      Kindle                    $     22.99    n/a                      Tyler Schropp            Miscellaneous    Other
2018       158521             5/8/2018      Four Seasons              $ (2,067.76)   Orlando, FL              Tyler Schropp            Travel           Lodging          Tyler Schropp - Lodging Arrival: 5/7/2018 Departure 5/8/2018

2018       159388             5/15/2018     White Dog Café            $     53.22 Unknown                     Tyler Schropp            Meal/Beverages   Meal/Beverages
2018       158521             5/25/2018     American Airlines         $    565.20 n/a                         Tyler Schropp            Travel           Airfare          Tyler Schropp Passenger From: Washington Natl To: LaGuardia
                                                                                                                                                                         Intl
2018       159388             6/1/2018      Colonial Parking          $    356.00    Unknown                  Tyler Schropp            Auto             Parking
2018       159388             6/6/2018      Kindle                    $     22.99    n/a                      Tyler Schropp            Miscellaneous    Other
2018       159388             6/14/2018     Del Frisco                $    547.86    Philadelphia, PA         Tyler Schropp            Meal/Beverages   Meal/Beverages
2018       159388             6/15/2018     Ritz Carlton              $    597.73    Philadelphia, PA         Tyler Schropp            Travel           Lodging          TS Arrival 6/13/2018
                                                                                                                                                                         TS Departure 6/14/2018
2018       159388             6/15/2018     American Hotel            $    279.06 Freehold, NJ                Tyler Schropp            Travel           Lodging          TS Arrival 6/12/18
                                                                                                                                                                         TS Departure 6/13/2018
2018       159388             6/15/2018     ExxonMobil                $     46.00    Alexandria, VA           Tyler Schropp            Auto             Gas
2018       159388             6/19/2018     Sunoco                    $     40.00    Unknown                  Tyler Schropp            Auto             Gas
2018       159388             6/21/2018     Shell Oil                 $     38.00    Unknown                  Tyler Schropp            Auto             Gas
2018       159388             6/21/2018     Circle KS                 $     23.00    Durham, NC               Tyler Schropp            Auto             Gas
2018       159388             6/22/2018     Capital City Chop         $     68.84    Unknown                  Tyler Schropp            Meal/Beverages   Meal/Beverages
2018       159388             6/25/2018     Westin Hotel              $    494.35    Charlotte, NC            Tyler Schropp            Travel           Lodging          TS Arrival 6/20/2018
                                                                                                                                                                         TS Departure 6/21/2018
2018       159388             6/27/2018     CXIII/Landini Brothers    $    331.50 Alexandria, VA              Tyler Schropp            Meal/Beverages   Meal/Beverages
2018       159388             6/27/2018     Sweetwater                $     59.03 Falls Church, VA            Tyler Schropp            Meal/Beverages   Meal/Beverages




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                                                                                                                                                                                                                                   APP. 02028
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Privileged and Confidential                                                                   Out of Pocket Expenses
                                                                                               Tyler Schropp Expenses

Year       Invoice Number     Date of       Vendor              Amount          Location            Individuals Related to the Expense Type   Expense       Additional Information
                              Transaction                                                           Expense                                   Subcategory
2018       160161             7/29/2018     American Airlines   $   (543.70) n/a                    Tyler Schropp            Travel           Airfare       Expense refunded - note that expense will be applied to following
                                                                                                                                                            month
2018       160896             7/29/2018     American Airlines   $    (543.70)   n/a                 Tyler Schropp            Travel           Airfare       Refund for Tyler Schropp ticket #00171959162085
2018       160896             7/30/2018     Four Seasons        $    (472.50)   Orlando, FL         Tyler Schropp            Travel           Lodging       Arrival date 7/6/18; departure date 7/7/18
2018       160896             8/6/2018      Kindle              $      22.99    n/a                 Tyler Schropp            Miscellaneous    Other
2018       154706/155170      12/12/2018    American Airlines   $   1,576.20    n/a                 Tyler Schropp            Travel           Airfare       TS Airfare from DCA to DFW




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Total Expenses by Month and Year
The following graphic visually depicts total for Tyler Schropp by month and year. Source: 'Detail' tab


 25000




 20000




 15000




 10000                                                                                                                                                                                                         Total




  5000




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                                                                                                               Aug




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                                                                                                                                                                                                         Dec




                                  2016                                                              2017                                                               2018


 -5000




                                                                                                                                                                                                         APP. 02030
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The following table shows the total amount of expenses by category and the percentage for each category as compared
to the total. Source: Columns P, Q, and K on 'Detail' tab                                                                                     Code
                                                                                                                                                     1
Categories of Expenses              Value       % of Total
Auto                              $ 13,626           5.73%                                                                                           1
    Car Rental                    $   9,591          4.03%
    Car Service                   $   3,167          1.33%
    Parking                       $     411          0.17%
    Toll                          $      34          0.01%
    Gas                           $     423          0.18%
Miscellaneous                     $ 4,022            1.69%
    Other                         $   4,022          1.69%
Travel                            $ 194,174         81.64%
    Airfare                       $ 71,103          29.89%
    Lodging                       $ 122,974         51.70%
    Travel Service                $      90          0.04%
    Other                         $       8          0.00%
Meal/Beverages                    $ 26,027          10.94%
    Meal/Beverages                $ 26,027          10.94%
Grand Total                       $ 237,849        100.00%




                                                                                                                                       APP. 02031
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     The following table shows the amounts spent by vendor.           Total Spend: $     237,849
                                                                    Total Quantity:           415

     Vendor                                          Value     % of Value Quantity % of Quantity
     American Airlines                           $    48,147        20.24%      76        18.31%
     Four Seasons                                $    47,975        20.17%      45        10.84%
     Beverly Hills Hotel                         $    22,813         9.59%      10         2.41%
     CXIII/Landini Brothers                      $    11,803         4.96%      55        13.25%
     Mansion on Turtle Creek                     $    11,119         4.67%       3         0.72%
     United Airlines                             $     9,489         3.99%      22         5.30%
     Hertz                                       $     8,941         3.76%      16         3.86%
     Ritz Carlton                                $     8,763         3.68%      10         2.41%
     Carnegie Hotel                              $     7,843         3.30%       5         1.20%
     British Airways                             $     5,664         2.38%       1         0.24%
     Delta Airlines                              $     4,110         1.73%       9         2.17%
     Daytona Shores Resort                       $     3,340         1.40%       3         0.72%
     Midway Car Rental                           $     3,167         1.33%       5         1.20%
     21C Hotel                                   $     3,110         1.31%       1         0.24%
     Shores at Daytona                           $     2,946         1.24%       2         0.48%
     Kiawah Island Golf Resort                   $     2,366         0.99%       7         1.69%
     Mirage - Shadow Creek                       $     2,000         0.84%       1         0.24%
     Virgin America                              $     1,998         0.84%       1         0.24%
     Westin Hotel                                $     1,778         0.75%       2         0.48%
     Alaska Airlines                             $     1,702         0.72%       4         0.96%
     Fairmont Hotel                              $     1,614         0.68%       1         0.24%
     Hermitage                                   $     1,415         0.60%       1         0.24%
     Lafayette Park Hotel                        $     1,290         0.54%       3         0.72%
     Charlie Palmer Steak House                  $     1,212         0.51%       1         0.24%
     St. Regis                                   $     1,209         0.51%       1         0.24%
     Hotel Vandivort                             $     1,205         0.51%       1         0.24%
     Pinehurst Lodging                           $     1,109         0.47%       6         1.45%
     Hakkasan                                    $       889         0.37%       1         0.24%
     The Olde Farm                               $       867         0.36%       2         0.48%
     Crustacean                                  $       838         0.35%       1         0.24%
     Lowell Hotel                                $       791         0.33%       1         0.24%
     Joe Stone Crab                              $       762         0.32%       3         0.72%
     Sushi Roku                                  $       721         0.30%       1         0.24%
     Capital Grille                              $       688         0.29%       2         0.48%
     Cigar Bar                                   $       673         0.28%       3         0.72%
     New York Prime                              $       599         0.25%       1         0.24%
     Davidoff of Geneva                          $       586         0.25%       2         0.48%
     Go Rentals                                  $       583         0.25%       1         0.24%
     Del Frisco                                  $       548         0.23%       1         0.24%
     Cool River                                  $       542         0.23%       4         0.96%
     Kindle                                      $       529         0.22%      23         5.54%
     Le Moo                                      $       511         0.21%       2         0.48%
     Grill Concepts                              $       435         0.18%       1         0.24%



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     St. Louis Airport             $    433      0.18%       1        0.24%
     DoubleTree                    $    420      0.18%       2        0.48%
     Baku                          $    419      0.18%       1        0.24%
     Taverna Tony                  $    388      0.16%       1        0.24%
     American Express              $    375      0.16%       3        0.72%
     Colonial Parking              $    356      0.15%       1        0.24%
     Casa de Montecristo           $    355      0.15%       2        0.48%
     Lodge Hotel                   $    340      0.14%       1        0.24%
     Waldorf Roosevelt Hotel       $    336      0.14%       2        0.48%
     The Girl & the Fig            $    304      0.13%       1        0.24%
     Bobs Steak & Chop             $    301      0.13%       1        0.24%
     Bouchon                       $    288      0.12%       1        0.24%
     Colcord Hotel                 $    281      0.12%       1        0.24%
     American Hotel                $    279      0.12%       1        0.24%
     Trulucks                      $    276      0.12%       1        0.24%
     SG ROI Tobacconist            $    252      0.11%       1        0.24%
     Marriott                      $    234      0.10%       1        0.24%
     Perry's                       $    232      0.10%       1        0.24%
     Il Fornaiso - Canalet         $    209      0.09%       2        0.48%
     Sullivans                     $    202      0.09%       1        0.24%
     Craig's                       $    192      0.08%       1        0.24%
     Amazon                        $    184      0.08%       8        1.93%
     Dugan's Pub                   $    180      0.08%       2        0.48%
     Tinder Box                    $    177      0.07%       1        0.24%
     The Kingside                  $    170      0.07%       1        0.24%
     Shell Oil                     $    160      0.07%       5        1.20%
     ExxonMobil                    $    147      0.06%       4        0.96%
     TPC at Sawgrass               $    139      0.06%       2        0.48%
     Grand Havana                  $    128      0.05%       1        0.24%
     Ironwood                      $    115      0.05%       1        0.24%
     Salt Life                     $    103      0.04%       1        0.24%
     National Airport              $    101      0.04%       1        0.24%
     Bourbon Steak                 $    100      0.04%       1        0.24%
     Travel Agency Service         $     90      0.04%       2        0.48%
     Costal Flats Restaurant       $     90      0.04%       1        0.24%
     Palm Restaurant               $     89      0.04%       1        0.24%
     Capital City Chop             $     69      0.03%       1        0.24%
     Hard 8 BBQ                    $     62      0.03%       1        0.24%
     Sweetwater                    $     59      0.02%       1        0.24%
     Up in Smoke                   $     59      0.02%       1        0.24%
     Hartford B Hartford           $     58      0.02%       1        0.24%
     Upstream Brewing              $     56      0.02%       1        0.24%
     White Dog Café                $     53      0.02%       1        0.24%
     Prairie Stop                  $     53      0.02%       1        0.24%
     Gallie                        $     53      0.02%       1        0.24%
     Texas Spice Omni DCC          $     46      0.02%       1        0.24%
     Sunoco                        $     40      0.02%       1        0.24%



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     ABM Parking                   $      35     0.01%       1        0.24%
     Union Los Angeles             $      27     0.01%       1        0.24%
     Circle KS                     $      23     0.01%       1        0.24%
     Village on Canon AMC          $      20     0.01%       1        0.24%
     Grand Total                   $ 237,849   100.00%     415      100.00%




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                      EXHIBIT 71




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Table of Contents
Tab                                 Description
Summary                             Summary of analysis and observations
Detail                              Budgets provided by Ackerman McQueen
Detail - Line by Line               Calculation of budget variances on budgets provided by Ackerman McQueen
Budget Comparison                   High level budget comparison
Ackerman McQueen Spending Summary   Overiview of Ackerman spending




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Summary of Budgets
Pursuant to our discussion with Ackerman McQueen, Ackerman McQueen's budget is determined through multiple confidential conversations between Wayne LaPierre,
Woody Phillips and Ackerman McQueen executives. FRA was informed by Ackerman McQueen representatives that the budget categories do not tie to the contract
between Ackerman McQueen and the NRA. Lacey Duffy stated that she did not know why budget categories change from year to year as budgets are verbally agreed upon
by Wayne LaPierre and Angus McQueen. Ackerman McQueen does not have account codes for their budget line items. FRA was provided budgets for 2015 - 2018. The
budget schedules for 2016 and 2017 provided included an actual column. However, we were informed by Bill Winkler that the actual incurred expense balances are an
"educated guess".

Observation:
1) The budgets provided are significantly less than the amounts NRA actually pays to Ackerman McQueen. The 2017 budget provided is 52% less than NRA's actual
payments to Ackerman McQueen. The 2016 budget provided is 12% less than NRA's actual payments to Ackerman McQueen. There appears to be a lack of analysis in
regard to budget versus actual spending at Ackerman McQueen. This lack of internal control can lead to overspending. There also appears to be a lack of transparency
regarding the budgets discussed between the executives and the individuals incurring or monitoring the costs. This lack of transparency can lead to overspending.


Observation:
2) The budgets have varied significantly year over year from 2015 - 2017. The budget grew by 21% from 2015 to 2016 and 55% from 2016 to 2017. It appears the variance
from 2015 to 2016 is largely due to increased spending on NRA "Commentators". FRA noted that Dana Loesch was hired as special advisor to the NRA in 2016, and this
may be related to the increase. It appears the variance from 2016 to 2017 was due to the advent of NRA TV and the Carry Guard Initiative. The budget grew by 3% from
2017 to 2018. It is interesting to note that a 'Talent Fee" of $5.5M and "Support Staff Fee" of $3.6M for Mercury Group, was added to the budget.


Observation:
3) The compensation section of the contract between NRA and Ackerman McQueen contains language that requires budgeting. For instance, the Public Relations/Political
Strategy/Strategic Marketing Services, Owned Media and Internet Services and Digital Systems Operations Support contract sections require that "NRA will pay AMc a fee as
mutually agreed upon each year." In regard to "Other Projects", "the charges made by AMc will be agreed-upon in advance whenever possible." Despite this contractual
requirement, FRA was told by Ackerman McQueen representatives that the budget categories do not tie to the contract.


Observation:
4) It is interesting to note that a separate Paid Media Budget was provided for 2016 and 2017. FRA is unaware as to why this information was not included in the main
budget. FRA is unaware as to whether it was added because of our interest in the "Media Buys."




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Budget Detail
Ackerman McQueen provided FRA with the budgets listed below for 2016, 2017 and 2018. The following information was transcribed from the budgets provided while on-
site.



                                                         2016 Budget                                                                                                 2017 Budget                                           2018 NRA Budget                           2018 NRA Budget
                                                                                                                                                                     Revised 12/6/16                                                                                     NRA FINAL
PR Budget - Online Network                              2014 2015 Budget     2015 Actual     2016 Proposed Budget                     NRATV                          2016 Actual       2017 Revised Budget      NRATV                  2018 Budget        NRATV                  2018 Budget
NRA News                             $             1,804,380 $     2,073,636 $     2,073,632 $              2,073,632                 NRA News                        $      2,399,394 $            2,727,642   Talent Fee              $     5,533,282   Talent Fee              $     5,533,282
NRA News Commentators                $             2,200,000 $       335,000 $       575,819 $              2,200,000                 Commentators/Spokespeople       $      2,400,000 $            3,672,920   Commentators            $           -     Commentators            $           -
NRA News Travel and Broadcast        $               990,000   $        160,000   $       160,000    $                 230,000        NRATV Programming              $        4,761,895   $         4,725,000   NRATV Programming $           8,493,394   NRATV Programming      $      5,363,672
Expenses / Farmville Facility
NRA Women Programming and            $             1,200,000   $        800,000   $       850,000    $               1,200,000        NRATV Promotion/Outreach       $          400,000   $           400,000   NRATV                  $            -     NRATV                  $             -
Outreach                                                                                                                                                                                                        Promotion/Outreach                        Promotion/Outreach
Super Channel Programming            $             3,900,000   $      2,530,000   $      2,530,000   $               2,330,000        NRA News Travel and            $          307,433   $           230,000   Monthly Video          $      2,723,000   Monthly Video          $      2,723,000
(Previously LOD and Freestyle)                                                                                                        Broadcast Expenses / Farmville                                            Support/Video Essays                      Support/Video Essays
                                                                                                                                      Facility
Hispanic Programming Outreach        $               750,000   $        500,000   $       500,000    $                 750,000        Monthly Video Support/Video $           1,860,000   $         1,650,000
                                                                                                                                      Essays
Super Channel Promotion              $               240,000   $        240,000   $       240,000    $                 400,000
NRA Country                          $               300,000   $            -     $           -      $                     -
NRA Impact                           $               250,000   $            -     $           -      $                     -
NRA Spotlight                        $               250,000   $            -     $           -      $                     -
Trident Security (Paid by NRA        $               200,000   $            -     $           -      $                     -
Directly)
Dallas Production Studio             $               211,500   $         82,000   $         82,000   $                      -
Super Channel                        $                   -     $            -     $      1,000,000   $                      -




Subtotal                             $           12,295,880    $     6,720,636    $    8,011,451     $              9,183,632         Subtotal                        $ 12,128,722.00     $    13,405,562.00    Subtotal               $    16,749,676    Subtotal               $    13,619,954

PR Budget - Services                                    2014 2015 Budget     2015 Actual     2016 Proposed Budget                     Mercury Group                  2016 Actual       2017 Revised Budget      Operations             2018 Budget        Operations             2018 Budget
Mercury Group Fee                    $             2,386,296 $     2,486,296 $     2,486,292 $              2,486,292                 Mercury Group Fee               $      2,476,409 $            2,605,694   Support Staff Fee      $     3,591,570    Support Staff Fee      $     3,591,570
Mercury Group OPEX                   $               100,000 $       100,000 $       100,000 $                100,000                 Mercury Group OPEX              $        206,111 $              150,000   Travel/Broadcast       $       230,000    Travel/Broadcast       $       230,000
                                                                                                                                                                                                                Expenses + Farmville                      Expenses + Farmville
                                                                                                                                                                                                                Facility                                  Facility
Pass-through Expenses                $               950,000   $        950,000   $        950,000   $                 950,000        Pass-through Expenses          $        1,108,670   $           950,000   MG OPEX                $        150,000   MG OPEX               $         150,000
America's First Freedom - Print      $             1,590,000   $      1,590,000   $      1,590,000   $               1,590,000        Emerson and Associates         $          174,000   $           174,000   Emerson and            $        186,000   Emerson and           $         186,000
                                                                                                                                                                                                                Associates                                Associates
Super Blog                           $               670,000   $        500,000   $       500,004    $                 500,004                                                                                  Pass-through           $        950,000   Pass-through Expenses $         950,000
                                                                                                                                                                                                                Expenses
Subtotal                             $            5,696,296    $     5,626,296    $    5,626,296     $              5,626,296         Subtotal                        $      3,965,190    $        3,879,694    Subtotal               $     5,107,570    Subtotal               $     5,107,570

Total of PR Budget                   $           17,992,176    $    12,346,932    $   13,637,747     $             14,809,928                                                                                   Mercury Group          2018 Budget        Mercury Group          2018 Budget
                                                                                                                                                                                                                MG Fee                 $      2,285,312   MG Fee                 $      2,285,312
PR Budget - Services                                    2014 2015 Budget     2015 Actual     2016 Proposed Budget                                                                                               Subtotal               $     2,285,312    Subtotal               $     2,285,312
Level 4/5 Branding                   $             1,397,000 $     1,500,000 $     1,500,000 $              1,500,000
Video Essays                         $                   -    $          -    $      620,000 $              1,550,000


                                                                                                                                                                                                                                                                               APP. 02038
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Subtotal                              $     1,397,000    $    1,500,000   $    2,120,000    $           3,050,000

                                                                                                                       Initiatives                      2016 Actual       2017 Revised Budget        Initiatives           2018 Budget        Initiatives             2018 Budget
                                                                                                                       FSP-Year Two                      $      1,575,000 $            1,000,000     FSP - Ongoing         $           -      FSP - Ongoing           $           -
                                                                                                                       Carry Initiative                  $      2,131,250 $            3,550,000     NRA Carry Guard       $     4,350,820    NRA Carry Guard         $     4,350,820
                                                                                                                       Carry Initiative (Additional)     $            -    $             775,000     Historical            $           -      Historical              $           -
                                                                                                                                                                                                     Initiative/WLP Center                    Initiative/WLP Center

                                                                                                                       Hunting Initiative               $       2,050,000   $                  -
                                                                                                                       Historical Initiative/Database   $         500,000   $              325,000
                                                                                                                       Subtotal                         $      6,256,250    $           5,650,000    Subtotal               $    4,350,820    Subtotal                $    4,350,820

Additional Projects                               2014 2015 Budget     2015 Actual     2016 Proposed Budget            Projects                      2016 Actual      2017 Revised Budget            Projects               2018 Budget       Projects                2018 Budget
Onlin/Digital Management Fee          $      1,000,000 $     1,000,000 $       999,996 $               999,996         Online/Digital Management Fee $        999,996 $             999,996          Online/Digital         $     1,309,130   Online/Digital          $     1,309,130
                                                                                                                                                                                                     Management Fee                           Management Fee
Interactive Projects/BI               $      1,275,000   $      700,000   $     1,265,000   $              500,000     Unification                     $        1,900,000   $              500,000   Unification/Digital    $       750,000   Unification/Digital     $       750,000
HLF                                   $            -     $          -     $       150,000   TBD                        Business Intelligence/Data Reso $              -     $              500,000   Business               $       500,000   Business                $       500,000
                                                                                                                                                                                                     Intelligence/Data                        Intelligence/Data
                                                                                                                                                                                                     Resources/Analytics                      Resources/Analytics
Annual Meetings - AM                  $       750,000    $      750,000   $       813,000   $              780,500     Annual Meetings - AM             $         740,530   $              750,000   Annual Meetings - AM   $       750,000   Annual Meetings - AM    $       750,000

Emerson and Associates - Crime Initiat $      132,000    $      132,000   $       132,000   $              132,000     America's First Freedom - Print $        1,590,000   $            1,590,000   America's First        $     1,590,000   America's First         $     1,590,000
                                                                                                                                                                                                     Freedom - Print                          Freedom - Print
Speeches                              $       115,000    $      115,000   $       100,000   $              100,000     Super Blog                     $           500,004   $              500,004   Super Blog             $           -     Super Blog              $           -
Magazine Covers (3 to 4 per yr)       $       115,000    $      100,000   $        70,000   $              105,000     Speeches                       $           140,000   $              100,000   Speeches               $       100,000   Speeches                $       100,000
Eddie Eagle                           $       755,000    $      250,000   $       250,000   $                  -       Magazine Covers (2-3 per year) $            70,000   $               70,000
NRA SHARP Quarterly - Print           $       167,400    $          -     $           -     $                  -                                                                                     Magazine Covers (2-3   $        70,000
                                                                                                                                                                                                     per year)
RTBAV                               $         250,000    $          -     $           -     $                  -
Washington Times (Production and Me $         852,000    $          -     $           -     $                  -                                                                                                                              Magazine Covers (2-3    $        70,000
                                                                                                                                                                                                                                              per year)
Subtotal                              $     5,411,400    $    3,047,000   $    3,779,996    $           2,617,496      Subtotal                         $      5,940,530    $           5,010,000    Subtotals              $    5,069,130    Subtotals               $    5,069,130

Grand Total                           $    24,800,576    $   16,893,932   $   19,537,743    $          20,477,424
                                                                                                                        Paid Media                      2016 Actual         2017 Revised Budget
Paid Media                                        2014 2015 Budget        2015 Actual     2016 Proposed Budget          Carry Initiatives                $            -      $           1,500,000
Paid Media                            $      4,000,000 $           -       $    5,300,000 $             11,000,000      Subtotal                         $            -      $           1,500,000
Paid Media (Digital)                  $            -    $          -       $          -    $               500,000

                                                                                                                                                        2016 Actual       2017 Revised Budget                               2018 Budget                               2018 Budget
                                                                                                                       Grand Total                       $     28,290,692 $          29,445,256      Grand Total            $    33,562,508   Grand Total             $    30,432,786

11/18/2015                                                                                                                                                                                                                                    1/5/2018
WP Final                                                                                                               Additional Paid Media            2016 Actual         2017 Revised Budget
                                                                                                                       Recommendations
                                                                                                                       FSP                              $      13,600,000   $            5,000,000
                                                                                                                       Hunting                          $             -     $            3,500,000
                                                                                                                       Carry Initiatives                $             -     $            1,500,000
                                                                                                                       Misc. Digital                    $         500,000   $              500,000
                                                                                                                       CoPart                           $       1,000,000   $              500,000


                                                                                                                                                                                                                                                                  APP. 02039
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                      Subtotal                      $    15,100,000   $   11,000,000

                      12/6/2016




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                                                                                                                                                                                                                                                                                           DRAFT Privileged and Confidential
                                                                                                                                                                                                                                                                                          Prepared at the Request of Counsel




Line by Line Analysis of Budgets                                                                                                               Legend:                        Indicates a new line item when comparing year over year
The following analysis shows a line by line comparison of budgets.                                                                                                            Shown on budget as 'TBD'
                                                                     4

2016 Budget                                                                                                                                                                                                                                                       2017 Budget                                                                                                                                                                                                    2018 Budget
                                                                                                                                                                                                                                                                  Revised 12/6/16                                                                                                                                                                                                NRA FINAL
PR Budget - Online Network                                                   2014              2015 Budget          2015 Actual      Budget to Actual $ Budget to Actual %        2016 Proposed             Budget to Budget $          Budget to Budget %        NRATV                                                            2016 Actual       2017 Revised Budget         2017 Revised Budget       2017 Revised Budget       2017 Budget to 2016      2017 Budget to NRATV                                                    2018 Budget       2018 Budget compared           2018 Budget
                                                                                                                                       Variance 2015      Variance 2015              Budget                  Variance 2015-16            Variance 2015-16                                                                                                                          to 2016 Actual $          to 2016 Actual %             Budget $            2016 Budget %                                                                                to 2017 Budget $          compared to 2017
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Budget %
NRA News                                                                 $    1,804,380    $        2,073,636   $       2,073,632    $                (4)              0%     $             2,073,632   $                      (4)                        0% NRA News                                                          $        2,399,394   $              2,727,642    $             328,248                        14% $                654,010                32%                                                                            $            (2,727,642)                  -100%
NRA News Commentators                                                    $    2,200,000    $          335,000   $         575,819    $          240,819               72%     $             2,200,000   $              1,865,000                        557% Commentators/Spokespeople                                         $        2,400,000   $              3,672,920    $           1,272,920                        53% $              1,472,920                67% Commentators                                         $              -      $            (3,672,920)                  -100%
NRA News Travel and Broadcast Expenses / Farmville Facility              $      990,000    $          160,000   $         160,000    $              -                  0%     $               230,000   $                 70,000                         44% NRA News Travel and Broadcast Expenses / Farmville Facility       $          307,433   $                230,000    $             (77,433)                      -25% $                    -                   0% Travel/Broadcast Expenses + Farmville Facility       $          230,000    $                   -                        0%
NRA Women Programming and Outreach                                       $    1,200,000    $          800,000   $         850,000    $           50,000                6%     $             1,200,000   $                400,000                         50%
Super Channel Programming (Previously LOD and Freestyle)                 $    3,900,000    $        2,530,000   $       2,530,000    $              -                  0%     $             2,330,000   $               (200,000)                        -8%
Hispanic Programming Outreach                                            $      750,000    $          500,000   $         500,000    $              -                  0%     $               750,000   $                250,000                         50%
Super Channel Promotion                                                  $      240,000    $          240,000   $         240,000    $              -                  0%     $               400,000   $                160,000                         67%
NRA Country                                                              $      300,000    $              -     $             -      $              -                    -    $                   -     $                    -                              -
NRA Impact                                                               $      250,000    $              -     $             -      $              -                    -    $                   -     $                    -                              -
NRA Spotlight                                                            $      250,000    $              -     $             -      $              -                    -    $                   -     $                    -                              -
Trident Security (Paid by NRA Directly)                                  $      200,000    $              -     $             -      $              -                    -    $                   -     $                    -                              -
Dallas Production Studio                                                 $      211,500    $           82,000   $          82,000    $              -                  0%     $                   -     $                (82,000)                      -100%
Super Channel                                                            $          -      $              -     $       1,000,000    $        1,000,000                  -    $                   -     $                    -                              -
                                                                                                                                                                                                                                                              NRATV Programming                                                $        4,761,895   $              4,725,000    $             (36,895)                       -1% $              4,725,000                   - NRATV Programming                                   $        5,363,672    $              638,672                       14%
                                                                                                                                                                                                                                                              NRATV Promotion/Outreach                                         $          400,000   $                400,000    $                 -                           0% $                400,000                   - NRATV Promotion/Outreach                            $              -      $             (400,000)                    -100%
                                                                                                                                                                                                                                                              Monthly Video Support/Video Essays                               $        1,860,000   $              1,650,000    $            (210,000)                      -11% $              1,650,000                   - Monthly Video Support/Video Essays                  $        2,723,000    $            1,073,000                       65%
                                                                                                                                                                                                                                                                                                                                                                                                                                                                              Talent Fee                                          $        5,533,282    $            5,533,282                          -
Subtotal                                                                 $   12,295,880    $       6,720,636    $       8,011,451    $       1,290,815                19% $                9,183,632    $             2,462,996                         37% Subtotal                                                           $      12,128,722    $         13,405,562        $          1,276,840                        11% $              4,221,930                 46% Subtotal                                             $      13,849,954     $             444,392                         3%

PR Budget - Services                                                         2014              2015 Budget          2015 Actual      Budget to Actual $ Budget to Actual %        2016 Proposed             Budget to Budget $          Budget to Budget %        Mercury Group                                                2016 Actual          2017 Revised                2017 Revised Budget       2017 Revised Budget       2017 Budget to 2016       2017 Budget to MG/Operations                                            2018 Budget       2018 Budget compared           2018 Budget
                                                                                                                                       Variance 2015      Variance 2015              Budget                  Variance 2015-16            Variance 2015-16                                                                                                                       to 2016 Actual $          to 2016 Actual %          Budget $                  2016 Budget %                                                                                to 2017 Budget $          compared to 2017
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Budget %
Mercury Group Fee                                                        $    2,386,296    $        2,486,296   $       2,486,292    $                  (4) $             (0) $             2,486,292   $                        (4)                         0%   Mercury Group Fee                                            $        2,476,409   $              2,605,694    $             129,285                         5%    $             119,402                 5% MG Fee                                               $         2,285,312   $              (320,382)                   -12%
Mercury Group OPEX                                                       $      100,000    $          100,000   $         100,000    $              -       $         -       $               100,000   $                    -                               0%   Mercury Group OPEX                                           $          206,111   $                150,000    $             (56,111)                      -27%    $              50,000                50% MG OPEX                                              $           150,000   $                   -                        0%
Pass-through Expenses                                                    $      950,000    $          950,000   $         950,000    $              -       $         -       $               950,000   $                    -                               0%   Pass-through Expenses                                        $        1,108,670   $                950,000    $            (158,670)                      -14%    $                 -                   0% Pass-through Expenses                                $           950,000   $                   -                        0%
America's First Freedom - Print                                          $    1,590,000    $        1,590,000   $       1,590,000    $              -       $         -       $             1,590,000   $                    -                               0%   America's First Freedom - Print                              $        1,590,000   $              1,590,000    $                 -                           0%    $                 -                   0% America's First Freedom - Print                      $         1,590,000   $                   -                        0%
Super Blog                                                               $      670,000    $          500,000   $         500,004    $                   4 $               0 $                500,004   $                        4                           0%   Super Blog                                                   $          500,004   $                500,004    $                 -                           0%    $                 -                   0% Super Blog                                           $               -     $              (500,004)                  -100%
                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Support Staff Fee                                    $         3,591,570   $             3,591,570          #DIV/0!
Subtotal                                                                 $    5,696,296    $       5,626,296    $       5,626,296    $              -                     0% $             5,626,296    $                    -                               0% Subtotal                                                       $       5,881,194    $              5,795,698    $             (85,496)                       -1% $               169,402                  3% Subtotal                                             $        8,566,882    $            2,771,184                      48%

Total of PR Budget                                                       $   17,992,176    $      12,346,932    $      13,637,747    $       1,290,815                10% $               14,809,928    $             2,462,996                         20%

PR Budget - Services                                                         2014              2015 Budget          2015 Actual      Budget to Actual $ Budget to Actual %        2016 Proposed             Budget to Budget $          Budget to Budget %
                                                                                                                                       Variance 2015      Variance 2015              Budget                  Variance 2015-16            Variance 2015-16
Level 4/5 Branding                                                       $     1,397,000   $        1,500,000   $        1,500,000   $              -                  0% $                 1,500,000   $                    -                           0%
Video Essays                                                             $           -     $              -     $          620,000   $          620,000                  - $                1,550,000   $              1,550,000                           -
Subtotal                                                                 $    1,397,000    $       1,500,000    $       2,120,000    $         620,000                41% $                3,050,000    $             1,550,000                        103%



Additional Projects                                                          2014              2015 Budget          2015 Actual      Budget to Actual $ Budget to Actual %        2016 Proposed             Budget to Budget $          Budget to Budget %        Projects                                                         2016 Actual       2017 Revised Budget         2017 Revised Budget       2017 Revised Budget       2017 Budget to 2016      2017 Budget to Projects                                             2018 Budget           2018 Budget compared       2018 Budget
                                                                                                                                       Variance 2015      Variance 2015              Budget                  Variance 2015-16            Variance 2015-16                                                                                                                          to 2016 Actual $          to 2016 Actual %             Budget $            2016 Budget %                                                                             to 2017 Budget $           compared to 2017
Online/Digital Management Fee                                            $    1,000,000    $        1,000,000   $         999,996    $               (4)                0%    $               999,996   $                     (4)                         0%      Online/Digital Management Fee                                $         999,996    $                999,996    $                 -                          0% $                     -                    0%    Online/Digital Management Fee                    $        1,309,130    $              309,134                        31%
Interactive Projects/BI                                                  $    1,275,000    $          700,000   $       1,265,000    $         565,000                 81%    $               500,000   $              (200,000)                        -29%                                                                                                                    $                 -              #DIV/0!         $               (500,000)             -100%                                                                            $                  -                             -
HLF                                                                      $          -      $              -     $         150,000    $         150,000                    -   $                   -     $                   -                               -                                                                                       $                    -      $                 -              #DIV/0!         $                    -                      -                                                                          $                  -                             -
Annual Meetings - AM                                                     $      750,000    $          750,000   $         813,000    $          63,000                  8%    $               780,500   $                30,500                           4%      Annual Meetings - AM                                         $         740,530    $                750,000    $               9,470                        1% $                 (30,500)                -4%    Annual Meetings - AM                             $          750,000    $                  -                           0%
Emerson and Associates - Crime Initiatives                               $      132,000    $          132,000   $         132,000    $             -                    0%    $               132,000   $                   -                             0%      Emerson and Associates                                       $         174,000    $                174,000    $                 -                          0% $                  42,000                32%     Emerson and Associates                           $          186,000    $               12,000                         7%
Speeches                                                                 $      115,000    $          115,000   $         100,000    $         (15,000)               -13%    $               100,000   $               (15,000)                        -13%      Speeches                                                     $         140,000    $                100,000    $             (40,000)                     -29% $                     -                    0%    Speeches                                         $          100,000    $                  -                           0%
Magazine Covers (3 to 4 per yr)                                          $      115,000    $          100,000   $          70,000    $         (30,000)               -30%    $               105,000   $                 5,000                           5%      Magazine Covers (2-3 per year)                               $          70,000    $                 70,000    $                 -                          0% $                 (35,000)              -33%     Magazine Covers (2-3 per year)                   $           70,000    $                  -                           0%
Eddie Eagle                                                              $      755,000    $          250,000   $         250,000    $             -                    0%    $                   -     $              (250,000)                       -100%                                                                                                                    $                 -                            - $                    -                      -                                                                          $                  -                             -
NRA SHARP Quarterly - Print                                              $      167,400    $              -     $             -                                               $                   -     $                   -                               -                                                                                                                   $                 -                            - $                    -                      -                                                                          $                  -                             -
RTBAV                                                                    $      250,000    $              -     $             -                                               $                   -     $                   -                               -                                                                                                                   $                 -                            - $                    -                      -                                                                          $                  -                             -
Washington Times (Production and Media)                                  $      852,000    $              -     $             -                                               $                   -     $                   -                               -                                                                                                                   $                 -                            - $                    -                      -                                                                          $                  -                             -
                                                                                                                                                                                                                                                             Unification                                                       $        1,900,000   $                 500,000   $          (1,400,000)                     -74% $                 500,000                    -   Unification/Digital                              $           750,000   $              250,000                        50%
                                                                                                                                                                                                                                                             Business Intelligence/Data Resources                              $              -     $                 500,000   $             500,000                          - $                500,000                    -   Business Intelligence/Data Resources/Analytics   $           500,000   $                  -                           0%
Subtotal                                                                 $    5,411,400    $       3,047,000    $       3,779,996    $         732,996                24% $                2,617,496    $              (429,504)                        -14% Subtotal                                                          $       4,024,526    $              3,093,996    $           (930,530)                      -23% $                476,500                 18%     Subtotal                                         $        3,665,130    $             571,134                         18%

                                                                                                                                                                                                                                                                  Initiatives                                                      2016 Actual       2017 Revised Budget         2017 Revised Budget       2017 Revised Budget       2017 Budget to 2016      2017 Budget to Initiatives                                          2018 Budget           2018 Budget compared       2018 Budget
                                                                                                                                                                                                                                                                                                                                                                                   to 2016 Actual $          to 2016 Actual %             Budget $            2016 Budget %                                                                             to 2017 Budget $           compared to 2017
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   Budget %
                                                                                                                                                                                                                                                                  FSP-Year Two                                                 $        1,575,000   $               1,000,000   $            (575,000)                      -37%    $           1,000,000                    -   FSP - Ongoing                                    $              -      $            (1,000,000)                  -100%
                                                                                                                                                                                                                                                                  Carry Initiative                                             $        2,131,250   $               3,550,000   $           1,418,750                        67%    $           3,550,000                    -   NRA Carry Guard                                  $        4,350,820    $               800,820                      23%
                                                                                                                                                                                                                                                                  Carry Initiative (Additional)                                $              -     $                 775,000   $             775,000                           -   $             775,000                    -                                                                          $              (775,000)                  -100%
                                                                                                                                                                                                                                                                  Hunting Initiative                                           $        2,050,000   $                     -     $          (2,050,000)                     -100%    $                 -                      -                                                                          $                   -                           -
                                                                                                                                                                                                                                                                  Historical Initiative/Database                               $          500,000   $                 325,000   $            (175,000)                      -35%    $             325,000                    -   Historical Initiative/WLP Center                 $               -     $              (325,000)                  -100%
                                                                                                                                                                                                                                                                  Subtotal                                                     $       6,256,250    $              5,650,000    $           (606,250)                       -10%    $          5,650,000                     -   Subtotal                                         $        4,350,820    $           (1,299,180)                     -23%

                                                                                                                                                                                                                                                                  Paid Media                                                       2016 Actual          2017 Revised             2017 Revised Budget       2017 Revised Budget       2017 Budget to 2016      2017 Budget to
                                                                                                                                                                                                                                                                                                                                                                                   to 2016 Actual $          to 2016 Actual %             Budget $            2016 Budget %

                                                                                                                                                                                                                                                                   Carry Initiatives                                           $             -      $               1,500,000   $           1,500,000                            - $            1,500,000                    -
                                                                                                                                                                                                                                                                  Subtotal                                                     $             -      $              1,500,000    $          1,500,000                             - $           1,500,000                     -



                                                                                                                                                                                                                                                                                                                                   2016 Actual          2017 Revised             2017 Revised Budget       2017 Revised Budget       2017 Budget to 2016      2017 Budget to                                                          2018 Budget       2018 Budget compared           2018 Budget
                                                                                                                                                                                                                                                                                                                                                                                   to 2016 Actual $          to 2016 Actual %             Budget $            2016 Budget %                                                                                to 2017 Budget $          compared to 2017
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Budget %
Grand Total                                                              $   24,800,576    $      16,893,932    $      19,537,743    $       2,643,811                16% $               20,477,424    $             3,583,492                         21% Grand Total                                                        $      28,290,692    $         29,445,256        $          1,154,564                         4% $              8,967,832                 44% Grand Total                                          $      30,432,786     $             987,530                        3%

Paid Media                                                                   2014              2015 Budget          2015 Actual      Budget to Actual $ Budget to Actual %        2016 Proposed             Budget to Budget $          Budget to Budget %        Additional Paid Media Recommendations                            2016 Actual       2017 Revised Budget         2017 Revised Budget       2017 Revised Budget       2017 Budget to 2016      2017 Budget to
                                                                                                                                       Variance 2015      Variance 2015              Budget                  Variance 2015-16            Variance 2015-16                                                                                                                          to 2016 Actual $          to 2016 Actual %             Budget $            2016 Budget %

Paid Media                                                               $    4,000,000    $             -      $       5,300,000    $        5,300,000                    - $             11,000,000   $            11,000,000                               - FSP                                                            $       13,600,000   $           5,000,000       $           (8,600,000)                    -63%     $           (6,000,000)             -55%
Paid Media (Digital)                                                     $          -      $             -      $             -      $              -                      - $                500,000   $               500,000                               - Hunting                                                        $              -     $           3,500,000       $            3,500,000                         -    $            3,000,000              600%
                                                                                                                                                                                                                                                                Carry Initiatives                                              $              -     $           1,500,000       $            1,500,000                         -    $            1,500,000                  -
                                                                                                                                                                                                                                                                Misc. Digital                                                  $          500,000   $             500,000       $                  -                         0%     $              500,000                  -
                                                                                                                                                                                                                                                                CoPart                                                         $        1,000,000   $             500,000       $             (500,000)                    -50%     $              500,000                  -
                                                                                                                                                                                                                                                                Subtotal                                                       $      15,100,000    $         11,000,000        $          (4,100,000)                     -27%     $            (500,000)                  -




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           APP. 02041
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Comparison of Expenditures to Budget for NRA                         2015               2016               2017                2018
Amount Paid to Ackerman
                                                                    Unknown       $      42,679,412   $      33,566,423   $     40,211,315
Source: NRA's G/L provided by Brewer Attorneys and Counselors
Amount Per Budget
Source: Ackerman Budgets provided during the onsite visits
                                                                $    16,893,932   $      20,477,424   $      29,445,256       Unknown

$ Variance between amount paid and amount budgeted                  Unknown       $      22,201,988   $       4,121,167       Unknown
% Variance between amount paid and amount budgeted                  Unknown             52%                 12%               Unknown

Comparison of Year over Year Budgets for NRA                         2015               2016               2017                2018
Amount Per Budget
Source: Ackerman Budgets provided during the onsite visits
                                                                $    16,893,932   $      20,477,424   $      29,445,256   $     30,432,786

Year over Year Variance ($ change)                                                $       3,583,492   $       8,967,832   $          987,530
Year over Year Variance (% change)                                                      21%                 44%                 3%




                                                                                                                                               APP. 02042
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                                                                                                                                                                         DRAFT Privileged and Confidential
                                                                                                                                                                        Prepared at the Request of Counsel




Ackerman McQueen Spending Summary

                                                      2015                2016                 2017               2018
Amount Paid to Ackerman
Source: NRA's G/L provided by Brewer Attorneys       Unknown         $   42,679,412.00   $   33,566,423.00   $    40,211,315.00
and Counselors
Amount Per Budget
Source: Ackerman Budgets provided during the     $   16,893,932.00   $   20,477,424.00   $   29,445,256.00   $    30,432,786.00
onsite visits
Actuals Per Budget
Source: Ackerman Budgets provided during the     $   19,537,743.00   $   28,290,692.00       Unknown             Unknown
onsite visits
Ackerman Compensation per 990s
                                                 $   13,807,643.00   $   21,356,593.00   $   20,324,364.00       Unknown
Source: NRA's 990s




                                                                                                                                                                                                                                             APP. 02043
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                      EXHIBIT 72




                                                                       APP. 02044
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Summary of Contents
The following analysis shows all expenses processed that were not expensed by or on behalf of Tyler Schropp, Nader Tavangar or Tony Makris which were billed by Ackerman to the NRA as out of pocket
expenses. The total value of these expenses is $855,829 out of $2,755,689 billed by Ackerman to the NRA in 2016, 2017, and 2018 as out of pocket expenses.
Limitations
The source information for the following analysis is (1) transcribed from the documentation provided by Ackerman or (2) information obtained through analysis by FRA.
Glossary of Columns on 'Detail' Tab
Line Reference                                       Unique reference assigned to each line item by FRA.
Code                                                 Examples of observations as defined in Note 1 at the bottom of the tab.
Year                                                 Year of invoice from Ackerman to NRA per the listing of invoices received from the NRA.
Invoice Number                                       Invoice number from Ackerman to NRA invoice per the listing of invoices received from the NRA.
Expense Report #                                     Expense report number transcribed from the documentation received while on-site.
Date of Expense Report                               Date of the submitted expense report transcribed from the documentation received while on-site.
Expense Report Submitted By                          Name of the individual that submitted the expense report transcribed from the documentation received while on-site.
Position                                             Position of the individual that submitted the expense report identified by FRA using the Ackerman McQueen website.
Date of Transaction                                  Date of the transaction transcribed from the documentation received while on-site.
Vendor                                               Standardized vendor name by FRA based on the vendor name transcribed from the documentation received while on-site.
Amount                                               Amount of expense transcribed from the documentation received while on-site.
Location                                             Location of the transaction transcribed from the documentation received while on-site or based on knowledge of recurring vendors by FRA.
Expense Report Business Purpose                      Business purpose related to an entire expense report transcribed from the documentation received while on-site.
Transaction Business Purpose                         Business purpose related to a specific line item transcribed from the documentation received while on-site.
Individuals Related to the Expense                   Transcription of names and/or initials directly related to the expense per the documentation received while on-site.
Expense Type                                         Categorized by FRA based on information collected from (1) documentation provided or (2) desktop search of vendors.
Expense Subcategory                                  Categorized by FRA based on information collected from (1) documentation provided or (2) desktop search of vendors.
Additional Information                               Additional information collected from (1) documentation provided or (2) desktop search of vendors by FRA.
Expenses by Year
Total expenses by year:
                                             2016                      $189,520.34
                                             2017                      $293,361.93
                                             2018                      $372,946.88




                                                                                                                                                                                                APP. 02045
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Table of Contents
Tab                        Description
Detail                     Expense line items submitted on behalf of Tony Makris
Graph                      Graphical depiction of total expenses by month and year
By Category                Breakdown of expenses by category
Assumed Names              Reconciliation of names transcribed from documentation and FRA'S assumptions as to the identity of the individuals
Key Individuals            Total amount of expenses attributable to key individuals where the key individuals were the only participants
Total Cost by Individual   Total expense amount by assumed name
Quantity by Individual     Total quantity of expenses by assumed name
By Vendor                  Total expense amount and quantity of expenses by vendor




                                                                                                                                                   APP. 02046
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Line Reference   Code   Year   Invoice Number Expense Report #   Date of Expense Report   Expense Report Submitted By Position            Date of       Vendor              Amount           Location         Expense Report Business Purpose                   Transaction Business Purpose                     Individuals Related to the Expense      Expense Type     Expense Subcategory   Additional Information
                                                                                                                                          Transaction
2145                    2016   139727         EXP-7701           5/20/2016 to 5/25/2016   Eric Van Horn               Account Executive   5/20/2016     21C Hotel           $        33.42 Unknown            Eric Van Horn NRA annual meetings expenses        Dinner on 520 for Brad Johnson, a guest of       Brad Johnson                            Meal/Beverages   Individual
                                                                                                                                                                                                                                                                Tony Makris
2146                    2016   139727         EXP-7701           5/20/2016 to 5/25/2016   Eric Van Horn               Account Executive   5/21/2016     21C Hotel           $        46.98 Unknown            Eric Van Horn NRA annual meetings expenses        lunch on 5/21 for brad Johnson, a guest of Tony Brad Johnson                             Meal/Beverages   Individual
                                                                                                                                                                                                                                                                Makris
2147                    2016   138653         EXP-7554           3/25/2016 - 5/10/2016    Hayley Holmes               Account Executive   3/25/2016     American Airlines   $    656.70 Unknown               MM and LD Travel to Louisville for A/M (SG) ;     Flight for MM to Louisville for A/M              MM                                      Travel           Airfare
                                                                                                                                                                                                              vendor ID: E-Melanie Montgomery
2148                    2016   138653         EXP-7554           3/25/2016 - 5/10/2016    Hayley Holmes               Account Executive   3/25/2016     American Airlines   $    656.70 Unknown               MM and LD Travel to Louisville for A/M (SG) ;     Flight for LD to Louisville for A/M - booked     LD                                      Travel           Airfare
                                                                                                                                                                                                              vendor ID: E-Melanie Montgomery                     together to work with MM on the plane
2149                    2016   140440         EXP-7759           5/5/2016 to 6/24/16      Hayley Holmes               Account Executive   5/23/2016     21C Hotel           $        14.84 Louisville, KY     travel/expenses for the 2016 knar a/m in louisville honor bar charges during stay                  Lacey Duffy                             Meal/Beverages   Individual
                                                                                                                                                                                                              (SG)
2150                    2016   140440         EXP-7759           5/5/2016 to 6/24/16      Hayley Holmes               Account Executive   5/23/2016     21C Hotel           $        26.50 Louisville, KY     L. Duffy travel/expenses for the 2016 knar a/m in snacks for LD, MM, HH at Proof                   Lacey Duffy; MM; HH                     Meal/Beverages   Group
                                                                                                                                                                                                              louisville (SG)'
2151                    2016   140440         EXP-7759           5/5/2016 to 6/24/16      Hayley Holmes               Account Executive   5/23/2016     21C Hotel           $        41.75 Louisville, KY     L. Duffy travel/expenses for the 2016 knar a/m in phone charges for conference call w/Julie golob, Lacey Duffy; Julie Golob; BL            Miscellaneous    Telecommunications
                                                                                                                                                                                                              louisville (SG)                                   BL, LD
2152                    2016   140440         EXP-7887           5/6/2016 to 6/30/2016    Hayley Holmes               Account Executive   5/18/2016     American Airlines   $    388.00 Unknown               MM travel/expenses for 2016 NRA annual            flight change fee for MM - changed return flight Melanie Montgomery                      Travel           Airfare
                                                                                                                                                                                                              meetings in Louisville
2153                    2016   140440         EXP-7887           5/6/2016 to 6/30/2016    Hayley Holmes               Account Executive   5/22/2016     21C Hotel           $        15.90 Louisville, KY     MM travel/expenses for 2016 NRA annual            Honor bar charges during stay                    Melanie Montgomery                      Meal/Beverages   Individual
                                                                                                                                                                                                              meetings in Louisville
2154                    2016   140440         EXP-7887           5/6/2016 to 6/30/2016    Hayley Holmes               Account Executive   5/6/2016      American Airlines   $    466.00 Unknown               MM travel/expenses for 2016 NRA annual            Flight change for MM - changed return flight     Melanie Montgomery                      Travel           Airfare
                                                                                                                                                                                                              meetings in Louisville                            from A/M to accommodate meeting schedule
2155                    2016   140440         EXP-7887           5/6/2016 to 6/30/2016    Hayley Holmes               Account Executive   5/22/2016     21C Hotel           $    466.41 Louisville, KY        MM travel/expenses for 2016 NRA annual            Proof lounge - meals/snacks/refreshments for     HH; Melanie Montgomery; LD; NRA Execs   Meal/Beverages   Group
                                                                                                                                                                                                              meetings in Louisville                            MM, HH, LD, NRA execs during stay
2156                    2016   140440         EXP-7887           5/6/2016 to 6/30/2016    Hayley Holmes               Account Executive   5/16/2016     American Airlines   $    466.00 Unknown               MM travel/expenses for 2016 NRA annual            Flight change fee for L. Duffy - changed         L Duffy                                 Travel           Airfare
                                                                                                                                                                                                              meetings in Louisville                            returned flight from A/M to accommodate
2157                    2016   136859         Unknown            Unknown                  Unknown                     n/a                 2/11/2016     ABC Limo Service    $        80.50 Alexandria, VA     Unknown                                           Tony Makris PU: 52 Wolfe St DO: DCA-             Tony Makris                             Auto             Car Service
                                                                                                                                                                                                                                                                Ronald Reagan Washington Natl
2158                    2016   136859         Unknown            Unknown                  Unknown                     n/a                 2/25/2016     ABC Limo Service    $        82.23 Alexandria, VA     Unknown                                           Stephanie West PU: 201 N Union St Suite 510      Stephanie West                          Auto             Car Service
                                                                                                                                                                                                                                                                Alexandria DO: Mary E. Switzer Memorial Bldg
2159                    2016   136859         Unknown            Unknown                  Unknown                     n/a                 2/13/2016     ABC Limo Service    $        94.88 Alexandria, VA     Unknown                                           Nader Tavangar PU: The Ritz-Carlton 1700     Nader Tavangar                              Auto             Car Service
                                                                                                                                                                                                                                                                Tysons Blvd DO: 1214 W Braddock Rd
2160                    2016   136859         Unknown            Unknown                  Unknown                     n/a                 2/13/2016     ABC Limo Service    $    120.18 Alexandria, VA        Unknown                                           Nader Tavangar PU: 1214 W Braddock ST: En        Nader Tavangar                          Auto             Car Service
                                                                                                                                                                                                                                                                route Alexandria DO: The Ritz-Carlton 1700
2161                    2016   136859         Unknown            Unknown                  Unknown                     n/a                 2/19/2016     ABC Limo Service    $    142.60 Alexandria, VA        Unknown                                           Tony Makris PU: Signature Flight Support DO:     Tony Makris                             Auto             Car Service
                                                                                                                                                                                                                                                                52 Wolfe St
2162                    2016   136859         Unknown            Unknown                  Unknown                     n/a                 2/14/2016     ABC Limo Service    $    208.73 Alexandria, VA        Unknown                                           Williams PU: Ritz-Carlton 1700 Tyson Blvd        Williams                                Auto             Car Service
                                                                                                                                                                                                                                                                DO: Union Station Washington DC
2163                    2016   136859         Unknown            Unknown                  Unknown                     n/a                 2/14/2016     ABC Limo Service    $    214.48 Alexandria, VA        Unknown                                           Mark hively PU: The Ritz-Carlton 1700 Tysons Mark Hively                                 Auto             Car Service
                                                                                                                                                                                                                                                                Blvd DO: IAD-Washington, Dulles Intl Airport
2164                    2016   136859         Unknown            Unknown                  Unknown                     n/a                 2/14/2016     ABC Limo Service    $    232.30 Alexandria, VA        Unknown                                           Mark Hively PU: the Ritz-Carlton 1700 Tysons     Mark Hively                             Auto             Car Service
                                                                                                                                                                                                                                                                Blvd DO: IAD-Washington, Dulles Intl Airport
2165                    2016   136859         Unknown            Unknown                  Unknown                     n/a                 2/13/2016     ABC Limo Service    $    250.13 Alexandria, VA        Unknown                                           Mark Hively PU: IAD-Washington, Dulles Intl      Mark Hively                             Auto             Car Service
                                                                                                                                                                                                                                                                Airport DO: The Ritz-Carlton, 1700 Tysons
2166                    2016   136859         Unknown            Unknown                  Unknown                     n/a                 2/13/2016     ABC Limo Service    $    250.13 Alexandria, VA        Unknown                                           Mark Hively PU: IAD-Washington, Dulles Intl      Mark Hively                             Auto             Car Service
                                                                                                                                                                                                                                                                Airport DO: The Ritz-Carlton, 1700 Tysons
2167                    2016   136859         Unknown            Unknown                  Unknown                     n/a                 2/7/2016      ABC Limo Service    $    284.05 Alexandria, VA        Unknown                                           Tony Makris PU: Signature Flight Support ST:     Tony Makris                             Auto             Car Service
                                                                                                                                                                                                                                                                52 Wolfe St DO: As directed by pax Alexandria
2168                    2016   136859         Unknown            Unknown                  Unknown                     n/a                 2/13/2016     ABC Limo Service    $    379.50 Alexandria, VA        Unknown                                           Eric Van Horn PU: Ritz-Carlton 1700 Tyson     Eric Van Horn                              Auto             Car Service
                                                                                                                                                                                                                                                                Mclean Blvd ST: Union Station Washington DC
2169                    2016   137631         Unknown            Unknown                  Unknown                     n/a                 1/20/2016     ABC Limo Service    $        80.50 Alexandria, VA     Unknown                                           TS ground transportation from Alexandria    TS                                           Auto             Car Service
                                                                                                                                                                                                                                                                location to DCA
2170                    2016   137631         Unknown            Unknown                  Unknown                     n/a                 1/12/2016     ABC Limo Service    $    220.23 Alexandria, VA        Unknown                                           Ground transportation from alexandria location Unknown                                   Auto             Car Service
                                                                                                                                                                                                                                                                to Dulles Airport
2171                    2016   137631         Unknown            Unknown                  Unknown                     n/a                 1/22/2016     ABC Limo Service    $    271.98 Alexandria, VA        Unknown                                           TS ground transportation from IAD to             TS                                      Auto             Car Service
                                                                                                                                                                                                                                                                Alexandria
2172                    2016   138653         Unknown            Unknown                  Unknown                     n/a                 3/3/2016      ABC Limo Service    $        80.50   Alexandria, VA   Unknown                                           Tyler Schropp - PU: 609 S Fairfax St DO: DCA- Tyler Schropp                              Auto             Car Service
                                                                                                                                                                                                                                                                Washington Natl Airport
2173                    2016   138653         Unknown            Unknown                  Unknown                     n/a                 3/4/2016      ABC Limo Service    $    128.80      Alexandria, VA   Unknown                                           Tony Makris - PU: 52 Wolfe St DO: Signature      Tony Makris                             Auto             Car Service
                                                                                                                                                                                                                                                                Flight Support IAD- Washington Dulles Intl
2174                    2016   138653         Unknown            Unknown                  Unknown                     n/a                 3/4/2016      ABC Limo Service    $    128.80      Alexandria, VA   Unknown                                           Tony Makris - PU: 52 Wolfe St DO: Signature      Tony Makris                             Auto             Car Service
                                                                                                                                                                                                                                                                Flight Support IAD- Washington Dulles Intl
2175                    2016   138653         Unknown            Unknown                  Unknown                     n/a                 3/30/2016     ABC Limo Service    $    178.77      Alexandria, VA   Unknown                                           Nader Tavangar - PU: Signature Flight Support    Nader Tavangar                          Auto             Car Service
                                                                                                                                                                                                                                                                23950 Windsock Dr Sterling VA DO: As
2176                    2016   138653         Unknown            Unknown                  Unknown                     n/a                 3/22/2016     ABC Limo Service    $    208.73      Alexandria, VA   Unknown                                           Wayne Black - PU: 201 N Union St WT: As          Wayne Black                             Auto             Car Service
                                                                                                                                                                                                                                                                Directed by Pax Washington DC DO: As
2177                    2016   138653         Unknown            Unknown                  Unknown                     n/a                 3/10/2016     ABC Limo Service    $    227.70      Alexandria, VA   Unknown                                           John Bolton - PU: 1150 17th St NW                John Bolton                             Auto             Car Service
                                                                                                                                                                                                                                                                Washington DC WT: 201 N Union St DO:
2178                    2016   138653         Unknown            Unknown                  Unknown                     n/a                 3/23/2016     ABC Limo Service    $    284.05      Alexandria, VA   Unknown                                           Tony Makris - PU: IAD Signature Aviation ST:     Tony Makris                             Auto             Car Service
                                                                                                                                                                                                                                                                52 Wolfe St ST: 312 South Fayette St DO:
2179                    2016   138653         Unknown            Unknown                  Unknown                     n/a                 3/23/2016     ABC Limo Service    $    299.00      Alexandria, VA   Unknown                                           Nader Tavangar - PU: 1214 W Braddox Rd ST: Nader Tavangar                                Auto             Car Service
                                                                                                                                                                                                                                                                Mr. Bill Powers home ST: 52 Wolfe St ST: DCA
2180                    2016   138653         Unknown            Unknown                  Unknown                     n/a                 3/3/2016      ABC Limo Service    $    347.88      Alexandria, VA   Unknown                                           Nader Tavangar - PU: 201 N Union St WT:      Nader Tavangar                              Auto             Car Service
                                                                                                                                                                                                                                                                Gaylord 201 Waterfront Rd DO: 201 N Union
2181                    2016   138653         Unknown            Unknown                  Unknown                     n/a                 3/14/2016     ABC Limo Service    $    376.63      Alexandria, VA   Unknown                                           Tony Makris - PU: Signature Flight Support Tony Makris                                   Auto             Car Service
                                                                                                                                                                                                                                                                Dulles Intl Airport DO: 52 Wolfe St Alexandria
2182                    2016   138653         Unknown            Unknown                  Unknown                     n/a                 3/3/2016      ABC Limo Service    $    474.38      Alexandria, VA   Unknown                                           Nader Tavangar - PU: 201 N Union St WT:        Nader Tavangar                            Auto             Car Service
                                                                                                                                                                                                                                                                Gaylord 201 Waterfront Rd DO: 201 N Union
2183                    2016   139727         Unknown            Unknown                  Unknown                     n/a                 3/3/2016      ABC Limo Service    $        80.50 Unknown            Unknown                                           Passenger Tyler Schropp; PU 609 s. Fairfax St Tyler Schropp                              Auto             Car Service
                                                                                                                                                                                                                                                                Alexandria; DO DCA
2184                    2016   139727         Unknown            Unknown                  Unknown                     n/a                 4/7/2016      ABC Limo Service    $    125.12 Unknown               Unknown                                           Passenger Tony Makris; PU 52 Wolfe Street,       Tony Makris                             Auto             Car Service
                                                                                                                                                                                                                                                                DO IAD
2185                    2016   139727         Unknown            Unknown                  Unknown                     n/a                 4/23/2016     ABC Limo Service    $    125.12 Unknown               Unknown                                           passenger Tony Makris; PU 52 Wolfe Street;       Tony Makris                             Auto             Car Service
                                                                                                                                                                                                                                                                DO IAD
2186                    2016   139727         Unknown            Unknown                  Unknown                     n/a                 4/28/2016     ABC Limo Service    $    125.12 Unknown               Unknown                                           Passenger Tony Makris; PU 52 Wolfe Street        Tony Makris                             Auto             Car Service
                                                                                                                                                                                                                                                                Alexandria; DO IAD
2187                    2016   139727         Unknown            Unknown                  Unknown                     n/a                 4/1/2016      ABC Limo Service    $    127.08 Unknown               Unknown                                           Passenger Tony Makris; PU 52 Wolfe Street        Tony Makris                             Auto             Car Service
                                                                                                                                                                                                                                                                Alexandria; DO IAD
2188                    2016   139727         Unknown            Unknown                  Unknown                     n/a                 3/4/2016      ABC Limo Service    $    128.80 Unknown               Unknown                                           Passenger Tony Makris; PU 52 Wolfe Street        Tony Makris                             Auto             Car Service
                                                                                                                                                                                                                                                                Alexandria; DO IAD
2189                    2016   139727         Unknown            Unknown                  Unknown                     n/a                 3/4/2016      ABC Limo Service    $    128.80 Unknown               Unknown                                           Passenger Tony Makris; PU 52 Wolfe Street        Tony Makris                             Auto             Car Service
                                                                                                                                                                                                                                                                Alexandria; DO IAD
2190                    2016   139727         Unknown            Unknown                  Unknown                     n/a                 4/24/2016     ABC Limo Service    $    138.92 Unknown               Unknown                                           Passenger tony Makris; PU IAD, DO 52 Wolfe Tony Makris                                   Auto             Car Service
                                                                                                                                                                                                                                                                Street Alexandria
2191                    2016   139727         Unknown            Unknown                  Unknown                     n/a                 4/28/2016     ABC Limo Service    $    138.92 Unknown               Unknown                                           Passenger Tony Makris; PU IAD; DO 52 Wolfe Tony Makris                                   Auto             Car Service
                                                                                                                                                                                                                                                                Street Alexandria
2192                    2016   139727         Unknown            Unknown                  Unknown                     n/a                 4/12/2016     ABC Limo Service    $    139.15 Unknown               Unknown                                           Passenger Tyler Schropp; PU IAD, DO 609 S.       Tyler Schropp                           Auto             Car Service
                                                                                                                                                                                                                                                                Fairfax Street Alexandria
2193                    2016   139727         Unknown            Unknown                  Unknown                     n/a                 4/21/2016     ABC Limo Service    $    156.75 Unknown               Unknown                                           Passenger Tony Makris; PU 201 N Union Street Tony Makris                                 Auto             Car Service
                                                                                                                                                                                                                                                                Alexandria; pick up Mr. Nader; ST 52 Wolfe
2194                    2016   139727         Unknown            Unknown                  Unknown                     n/a                 3/30/2016     ABC Limo Service    $    178.77 Unknown               Unknown                                           Passenger Nader Tavangar; PU Signature Flight    Nader Tavangar                          Auto             Car Service
                                                                                                                                                                                                                                                                Sterling, VA; DO as directed by PAX
2195                    2016   139727         Unknown            Unknown                  Unknown                     n/a                 3/22/2016     ABC Limo Service    $    208.73 Unknown               Unknown                                           Passenger Wayne; PU 201 N Union Street; WT Wayne                                         Auto             Car Service
                                                                                                                                                                                                                                                                as directed by PAX Alexandria VA; DO as
2196                    2016   139727         Unknown            Unknown                  Unknown                     n/a                 4/27/2016     ABC Limo Service    $    208.73 Unknown               Unknown                                           Passenger Tyler Schropp; PU 609 S. Fairfax       Tyler Schropp                           Auto             Car Service
                                                                                                                                                                                                                                                                Street; WT 3030 K Street NW; DO 9101




                                                                                                                                                                                                                                                                                                                                                                                                                         APP. 02047
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2197   2016   139727   Unknown   Unknown   Unknown         n/a    3/10/2016    ABC Limo Service   $   227.70 Unknown          Unknown          Passenger John Bolton; PU 150 17th Street         John Bolton                   Auto   Car Service
                                                                                                                                               NW, WT 201 N Union St Alexandria; DO
2198   2016   139727   Unknown   Unknown   Unknown         n/a    4/5/2016     ABC Limo Service   $   242.94 Unknown          Unknown          Passenger Tony Makris; PU IAD; ST 52 Wolfe        Tony Makris                   Auto   Car Service
                                                                                                                                               Street Alexandria; ST 115 King Street
2199   2016   139727   Unknown   Unknown   Unknown         n/a    3/23/2016    ABC Limo Service   $   284.05 Unknown          Unknown          Passenger Tony Makris; PU IAD; ST 52 Wolfe        Tony Makris                   Auto   Car Service
                                                                                                                                               St Alexandria; ST 312 S. Fayette St Alexandria;
2200   2016   139727   Unknown   Unknown   Unknown         n/a    3/23/2016    ABC Limo Service   $   299.00 Unknown          Unknown          Passenger Nader Tavangar; PU 1214 W.              Nader Tavangar                Auto   Car Service
                                                                                                                                               Braddock Rd Alexandria; ST Mr. Bill Powers
2201   2016   139727   Unknown   Unknown   Unknown         n/a    3/3/2016     ABC Limo Service   $   347.88 Unknown          Unknown          Passenger nader Tavangar; PU 201 N union          Nader Tavangar                Auto   Car Service
                                                                                                                                               street alexandria, WT Gaylord, DO 201 N
2202   2016   139727   Unknown   Unknown   Unknown         n/a    3/14/2016    ABC Limo Service   $   376.63 Unknown          Unknown          Passenger Tony Makris; PU IAD; DO 52 Wolfe Tony Makris                          Auto   Car Service
                                                                                                                                               Street Alexandria
2203   2016   139727   Unknown   Unknown   Unknown         n/a    3/3/2016     ABC Limo Service   $   474.38 Unknown          Unknown          Passenger nader Tavangar; PU 201 N union          Nader Tavangar                Auto   Car Service
                                                                                                                                               street alexandria, WT Gaylord, DO 201 N
2204   2016   140440   Unknown   Unknown   Unknown         n/a    5/17/2016    ABC Limo Service   $   118.45 Alexandria, VA   Unknown          PU: 609 South Fairfax St. Alexandria, Va.         Unknown                       Auto   Car Service
                                                                                                                                               DO: Signature Aviation IAD Airport
2205   2016   140440   Unknown   Unknown   Unknown         n/a    5/11/2016    ABC Limo Service   $   125.12 Alexandria, VA   Unknown          PU: 52 Wolfe St. Alexandria, Va.                  Unknown                       Auto   Car Service
                                                                                                                                               DO: Signature Flight Support - 23950 Windsock
2206   2016   140440   Unknown   Unknown   Unknown         n/a    5/15/2016    ABC Limo Service   $   138.92 Alexandria, VA   Unknown          PU: Signature Flight Support - 23950 Windsock Unknown                           Auto   Car Service
                                                                                                                                               DR. Dulles Va.
2207   2016   140440   Unknown   Unknown   Unknown         n/a    5/17/2016    ABC Limo Service   $   138.92 Alexandria, VA   Unknown          PU: 52 Wolfe St. Alexandria, Va.                  Unknown                       Auto   Car Service
                                                                                                                                               DO: Signature Flight Support - 23950 Windsock
2208   2016   140440   Unknown   Unknown   Unknown         n/a    5/23/2016    ABC Limo Service   $   211.03 Alexandria, VA   Unknown          PU: Manasas Airport                           Unknown                           Auto   Car Service
                                                                                                                                               DO: 609 South Siarfax St. Alexandria, Va.
2209   2016   140440   Unknown   Unknown   Unknown         n/a    5/25/2016    ABC Limo Service   $   213.33 Alexandria, VA   Unknown          PU: 52 Wolfe St. Alexandria, Va.                  Unknown                       Auto   Car Service
                                                                                                                                               DO: DCA
2210   2016   140440   Unknown   Unknown   Unknown         n/a    5/23/2016    ABC Limo Service   $   284.05 Alexandria, VA   Unknown          PU: Signature Flight Support - 23950 Windsock Unknown                           Auto   Car Service
                                                                                                                                               DR. Dulles Va.
2211   2016   141517   Unknown   Unknown   Unknown         n/a    6/24/2018    ABC Limo Service   $    80.50 Virginia         Unknown          DCA to 609 South Fairfax Street                   Unknown                       Auto   Car Service

2212   2016   141517   Unknown   Unknown   Unknown         n/a    6/23/2018    ABC Limo Service   $   111.49 Virginia         Unknown          609 South Fairfax Street to DCA                   Unknown                       Auto   Car Service

2213   2016   141517   Unknown   Unknown   Unknown         n/a    6/24/2018    ABC Limo Service   $   118.45 Virginia         Unknown          52 Wolfe St to Signature Flight Support/Dulles    Unknown                       Auto   Car Service

2214   2016   141517   Unknown   Unknown   Unknown         n/a    6/17/2016    ABC Limo Service   $   191.38 Virginia         Unknown          Signature Flight support to 52 Wolfe St           Unknown                       Auto   Car Service

2215   2016   141517   Unknown   Unknown   Unknown         n/a    6/8/2016     ABC Limo Service   $   213.33 Virginia         Unknown          DCA to 52 Wolfe St                                Unknown                       Auto   Car Service

2216   2016   141517   Unknown   Unknown   Unknown         n/a    6/19/2016    ABC Limo Service   $   284.63 Virginia         Unknown          201 N Union Street - Wait at 2020 M Street        Unknown                       Auto   Car Service
                                                                                                                                               NW - Drop off at 201 N Union St
2217   2016   141517   Unknown   Unknown   Unknown         n/a    6/20/2018    ABC Limo Service   $   284.63 Virginia         Unknown          201 N Union Street - Wait at 400 North            Unknown                       Auto   Car Service
                                                                                                                                               Capitol St NW Suite 550 - Drop off at 201 N
2218   2016   142347   Unknown   Unknown   Unknown         n/a    7/18/2016    ABC Limo Service   $   190.50 Alexandria, VA   Unknown          Passenger Tony Makris; PU IAD (from               Tony Makris                   Auto   Car Service
                                                                                                                                               Savannah), ST en route Alexandria; DO 52
2219   2016   142347   Unknown   Unknown   Unknown         n/a    7/19/2016    ABC Limo Service   $   531.30 Alexandria, VA   Unknown          Passenger Tony Makris; PU 52 Wolfe Street         Tony Makris                   Auto   Car Service
                                                                                                                                               Alexandria; WT FBI Building; ST: as directed by
2220   2017   143169   Unknown   Unknown   Unknown         n/a    8/10/2016    ABC Limo Service   $    80.50 Alexandria, VA   Unknown          PU: 609 South Fairfax Street, Alexandria, VA    Unknown                         Auto   Car Service
                                                                                                                                               22314
2221   2017   143169   Unknown   Unknown   Unknown         n/a    8/29/2016    ABC Limo Service   $   118.45 Alexandria, VA   Unknown          PU: 609 South Fairfax Street, Alexandria, VA      Unknown                       Auto   Car Service
                                                                                                                                               22314
2222   2017   143169   Unknown   Unknown   Unknown         n/a    8/11/2016    ABC Limo Service   $   130.99 Alexandria, VA   Unknown          PU: 52 Wolfe Street, Alexandria, VA 22314         Unknown                       Auto   Car Service
                                                                                                                                               DO: IAD - Washington Dulles International
2223   2017   143169   Unknown   Unknown   Unknown         n/a    8/3/2016     ABC Limo Service   $   194.35 Alexandria, VA   Unknown          PU: One Washington Circle Hotel, 1                David A Clark, Jr             Auto   Car Service
                                                                                                                                               Washington Cir NW, Washington, DC 20037
2224   2017   143169   Unknown   Unknown   Unknown         n/a    8/2/2016     ABC Limo Service   $   480.13 Alexandria, VA   Unknown          PU: One Washington Circle Hotel, 1                David A Clark, Jr             Auto   Car Service
                                                                                                                                               Washington Cir NW, Washington, DC 20037
2225   2017   143169   Unknown   Unknown   Unknown         n/a    8/6/2016     ABC Limo Service   $   487.03 Alexandria, VA   Unknown          PU: 52 Wolfe Street, Alexandria, VA 22314         Unknown                       Auto   Car Service
                                                                                                                                               WT: As directed by passenger
2226   2016   143559   Unknown   Unknown   Unknown         n/a    9/20/2016    ABC Limo Service   $    80.50 Alexandria, VA   Unknown          Tyler Schropp - PU: DCA Ronald Reagan             Tyler Schropp                 Auto   Car Service
                                                                                                                                               Washington National Airport From/To: DFW
2227   2016   143559   Unknown   Unknown   Unknown         n/a    9/28/2016    ABC Limo Service   $    80.50 Alexandria, VA   Unknown          Tyler Schropp - PU: 609 S Fairfax St DO: DCA- Tyler Schropp                     Auto   Car Service
                                                                                                                                               Washington Natl Airport
2228   2016   143559   Unknown   Unknown   Unknown         n/a    9/12/2016    ABC Limo Service   $    86.83 Alexandria, VA   Unknown          Tony Makris - PU: 52 Wolfe St DO: DCA-            Tony Makris                   Auto   Car Service
                                                                                                                                               Ronald Reagan Washington natl airport
2229   2016   143559   Unknown   Unknown   Unknown         n/a    9/10/2016    ABC Limo Service   $    94.88 Alexandria, VA   Unknown          Michael Ives - PU: 3200 Mt. Vernon Memorial       Michael Ives                  Auto   Car Service
                                                                                                                                               Hwy DO: Ritz Carlton 1700 Tyson Blvd
2230   2016   143559   Unknown   Unknown   Unknown         n/a    9/19/2016    ABC Limo Service   $   276.57 Alexandria, VA   Unknown          Tony Makris - PU: 201 N Union St ST: 52           Tony Makris                   Auto   Car Service
                                                                                                                                               Wolfe St DO: Signature Flight Support
2231   2016   143559   Unknown   Unknown   Unknown         n/a    9/9/2016     ABC Limo Service   $   278.30 Alexandria, VA   Unknown          Tyler Schropp - PU: 609 S Fairfax St WT: Omni Tyler Schropp                     Auto   Car Service
                                                                                                                                               Shoreham 2500 Calvert Washington DC DO:
2232   2016   143559   Unknown   Unknown   Unknown         n/a    9/15/2016    ABC Limo Service   $   284.05 Alexandria, VA   Unknown          Tony Makris - PU: Signature Flight Support        Tony Makris                   Auto   Car Service
                                                                                                                                               Dulles Airport ST: as directed by passenger
2233   2016   143559   Unknown   Unknown   Unknown         n/a    9/10/2016    ABC Limo Service   $   474.38 Alexandria, VA   Unknown          Lacey Duffy - PU: Ritz Carlton 1700 Tyson Blvd Lacey Duffy                      Auto   Car Service
                                                                                                                                               WT: As directed by pax DO: Ritz Carlton 1700
2234   2016   143559   Unknown   Unknown   Unknown         n/a    9/8/2016     ABC Limo Service   $   569.25 Alexandria, VA   Unknown          Hayley Holmes - PU: Ritz Carlton 1700 Tyson Hayley Holmes                       Auto   Car Service
                                                                                                                                               Blvd VA WT: As directed by pax DO: Ritz
2235   2016   143559   Unknown   Unknown   Unknown         n/a    9/8/2016     ABC Limo Service   $   576.15 Alexandria, VA   Unknown          Hayley Holmes - PU: Ritz Carlton 1700 Tyson       Hayley Holmes                 Auto   Car Service
                                                                                                                                               Blvd VA WT: As directed by pax DO: Ritz
2236   2017   144737   Unknown   Unknown   Unknown         n/a    10/20/2016   ABC Limo Service   $    80.50 Alexandria, VA   Unknown          DCA to 609 South Fairfax                          Unknown                       Auto   Car Service

2237   2017   144737   Unknown   Unknown   Unknown         n/a    10/20/2016   ABC Limo Service   $    80.50 Alexandria, VA   Unknown          DCA to 52 Wolfe St                                Unknown                       Auto   Car Service

2238   2017   144737   Unknown   Unknown   Unknown         n/a    10/16/2016   ABC Limo Service   $    86.83 Alexandria, VA   Unknown          609 South Fairfax to DCA                          Unknown                       Auto   Car Service

2239   2017   144737   Unknown   Unknown   Unknown         n/a    10/27/2016   ABC Limo Service   $   103.50 Alexandria, VA   Unknown          52 Wolf to DCA                                    Unknown                       Auto   Car Service

2240   2017   144737   Unknown   Unknown   Unknown         n/a    10/2/2016    ABC Limo Service   $   139.15 Alexandria, VA   Unknown          IAD to 609 South Fairfax Street                   Unknown                       Auto   Car Service

2241   2017   145564   Unknown   Unknown   Unknown         n/a    11/9/2016    ABC Limo Service   $    80.50 Alexandria, VA   Unknown          PU: 609 South Fairfax Street, DU: DCA             Unknown                       Auto   Car Service

2242   2017   145564   Unknown   Unknown   Unknown         n/a    11/17/2016   ABC Limo Service   $    80.50 Arlington, VA    Unknown          PU: DCA (from Minneapolis - St. Paul Int'l) DO: Unknown                         Auto   Car Service
                                                                                                                                               Home 609 South Fairfax
2243   2017   145564   Unknown   Unknown   Unknown         n/a    11/4/2016    ABC Limo Service   $    86.83 Arlington, VA    Unknown          PU: DCA (from DFW), DO: 609 South Fairfax         Unknown                       Auto   Car Service

2244   2017   145564   Unknown   Unknown   Unknown         n/a    11/2/2016    ABC Limo Service   $   118.45 Alexandria, VA   Unknown          PU: 609 South Fairfax Street, DU: IAD             Unknown                       Auto   Car Service
                                                                                                                                               Signature Aviation
2245   2017   145564   Unknown   Unknown   Unknown         n/a    12/6/2016    ABC Limo Service   $   277.15 Alexandria, VA   Unknown          PU: 201 N Union St, Alexandria, VA                Unknown                       Auto   Car Service
                                                                                                                                               ST: 52 Wolfe St (Stephanie West)
2246   2017   145564   Unknown   Unknown   Unknown         n/a    12/8/2016    ABC Limo Service   $   284.05 Dulles, VA       Unknown          PU: Signature Flight Support                      Stephanie West                Auto   Car Service
                                                                                                                                               ST: 52 Wolf St (Stephanie West)
2247   2017   145564   Unknown   Unknown   Unknown         n/a    12/2/2016    ABC Limo Service   $   379.50 Fairfax, VA      Unknown          PU: Eagle Banke Arena                             Hannah Kerr; Stephanie West   Auto   Car Service
                                                                                                                                               WT: 11835 Hazel Circl Dr, Bristow, VA
2248   2017   146420   Unknown   Unknown   Unknown         n/a    1/15/2017    ABC Limo Service   $    74.18 Alexandria, VA   Unknown          PU: Home - 609 South Fairfax Street               Unknown                       Auto   Car Service
                                                                                                                                               Alexandria, Va.
2249   2017   146420   Unknown   Unknown   Unknown         n/a    1/20/2017    ABC Limo Service   $    74.18 Alexandria, VA   Unknown          PU: Home - 609 South Fairfax Street               Unknown                       Auto   Car Service
                                                                                                                                               Alexandria, Va.




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2250   2017   146420   Unknown                Unknown                 Unknown               n/a                    1/21/2017    ABC Limo Service      $      74.18 Alexandria, VA    Unknown                                       PU: DCA                                         Unknown                       Auto             Car Service
                                                                                                                                                                                                                                   DO: 609 South Fairfax Street Alexandria, Va.
2251   2017   146420   Unknown                Unknown                 Unknown               n/a                    1/7/2017     ABC Limo Service      $     278.30 Alexandria, VA    Unknown                                       PU: Home - 609 South Fairfax Street             Unknown                       Auto             Car Service
                                                                                                                                                                                                                                   Alexandria, Va.
2252   2017   146420   Unknown                Unknown                 Unknown               n/a                    1/19/2017    ABC Limo Service      $     777.40 Alexandria, VA    Unknown                                       PU: IAD                                         Unknown                       Auto             Car Service
                                                                                                                                                                                                                                   ST: 609 South Fairfax Street Alexandria, Va.
2253   2017   146420   Unknown                Unknown                 Unknown               n/a                    1/20/2017    ABC Limo Service      $    1,090.20 Alexandria, VA   Unknown                                       PU: The Churchill Hotel 1914 Connecticut Ave Jim Powell                       Auto             Car Service
                                                                                                                                                                                                                                   NW, Washington, DC
2254   2017   146420   Unknown                Unknown                 Unknown               n/a                    1/20/2017    ABC Limo Service      $    1,090.20 Alexandria, VA   Unknown                                       PU: 5416 Southport Ln, Fairfax, VA              Unknown                       Auto             Car Service
                                                                                                                                                                                                                                   WT: 12:00 AM - 101 Constitution Ave NW,
2255   2017   146420   Unknown                Unknown                 Unknown               n/a                    1/19/2017    ABC Limo Service      $    1,262.70 Alexandria, VA   Unknown                                       PU: The Churchill Hotel 1914 Connecticut Ave Jim Powell                       Auto             Car Service
                                                                                                                                                                                                                                   NW, Washington, DC
2256   2017   146420   Unknown                Unknown                 Unknown               n/a                    1/19/2017    ABC Limo Service      $    1,262.70 Alexandria, VA   Unknown                                       PU: TBD                                         Unknown                       Auto             Car Service
                                                                                                                                                                                                                                   DO: TBD
2257   2017   146420   Unknown                Unknown                 Unknown               n/a                    1/19/2017    ABC Limo Service      $    1,262.70 Alexandria, VA   Unknown                                       PU: 5416 Southport Ln, Fairfax, VA              Unknown                       Auto             Car Service
                                                                                                                                                                                                                                   WT: 101 Constitution Ave NW, Washington,
2258   2017   147112   Unknown                Unknown                 Unknown               n/a                    2/14/2017    ABC Limo Service      $      86.83 Alexandria, VA    Unknown                                       PU: The Ritz -Carlton Tysons Croner Blvd        Unknown                       Auto             Car Service
                                                                                                                                                                                                                                   McLean VA 22102 DO: IAD
2259   2017   147112   Unknown                Unknown                 Unknown               n/a                    2/11/2017    ABC Limo Service      $     100.63 Alexandria, VA    Unknown                                       PU: IAD DO: The Ritz -Carlton Tysons            Unknown                       Auto             Car Service
                                                                                                                                                                                                                                   Croner Blvd McLean VA 22102
2260   2017   147112   Unknown                Unknown                 Unknown               n/a                    2/6/2017     ABC Limo Service      $     118.45 Alexandria, VA    Unknown                                       PU: 609 South Fairfax St. Alexandrian, VA       Unknown                       Auto             Car Service
                                                                                                                                                                                                                                   22314 DO: Sterling VA
2261   2017   147112   Unknown                Unknown                 Unknown               n/a                    2/14/2017    ABC Limo Service      $     194.35 Alexandria, VA    Unknown                                       PU: The Ritz -Carlton Tysons Croner Blvd        Unknown                       Auto             Car Service
                                                                                                                                                                                                                                   McLean VA 22102 DO: IAD
2262   2017   147112   Unknown                Unknown                 Unknown               n/a                    2/12/2017    ABC Limo Service      $     853.88 Alexandria, VA    Unknown                                       PU: The Ritz -Carlton Tysons Croner Blvd        Unknown                       Auto             Car Service
                                                                                                                                                                                                                                   McLean VA 22102 DO: AS DIRECTED BY
2263   2017   147112   Unknown                Unknown                 Unknown               n/a                    2/11/2017    ABC Limo Service      $    1,224.75 Alexandria, VA   Unknown                                       PU: The Muse 130 W 46th St NY, NY DO:           Unknown                       Auto             Car Service
                                                                                                                                                                                                                                   The Ritz -Carlton Tysons Croner Blvd McLean
2264   2017   148749   Unknown                Unknown                 Unknown               n/a                    2/18/2017    ABC Limo Service      $      77.05 Alexandria, VA    Unknown                                       PU: DCA - Ronald Reagan Washington National Unknown                           Auto             Car Service
                                                                                                                                                                                                                                   Airport / AS - Alaska Airlines
2265   2017   148749   Unknown                Unknown                 Unknown               n/a                    2/16/2017    ABC Limo Service      $      80.50 Alexandria, VA    Unknown                                       PU: 609 South Fairfax Street, Alexandria VA     Unknown                       Auto             Car Service
                                                                                                                                                                                                                                   22314
2266   2017   148749   Unknown                Unknown                 Unknown               n/a                    2/17/2017    ABC Limo Service      $      80.50 Alexandria, VA    Unknown                                       PU: DCA - Ronald Reagan Washington National Unknown                           Auto             Car Service
                                                                                                                                                                                                                                   Airport / AA - American Airlines
2267   2017   148749   Unknown                Unknown                 Unknown               n/a                    2/24/2017    ABC Limo Service      $      80.50 Alexandria, VA    Unknown                                       PU: 609 South Fairfax Street, Alexandria VA     Unknown                       Auto             Car Service
                                                                                                                                                                                                                                   22314
2268   2017   148749   Unknown                Unknown                 Unknown               n/a                    2/26/2017    ABC Limo Service      $      80.50 Alexandria, VA    Unknown                                       PU: DCA - Ronald Reagan Washington National Unknown                           Auto             Car Service
                                                                                                                                                                                                                                   Airport / AA - American Airlines
2269   2017   148749   Unknown                Unknown                 Unknown               n/a                    3/9/2017     ABC Limo Service      $      80.50 Alexandria, VA    Unknown                                       PU: DCA - Washington National Airport / AA - Unknown                          Auto             Car Service
                                                                                                                                                                                                                                   American Airlines, From/To: STL - Lambert - St.
2270   2017   148749   Unknown                Unknown                 Unknown               n/a                    2/24/2017    ABC Limo Service      $     284.63 Alexandria, VA    Unknown                                       PU: 201 N Union Street, Alexandria, VA 22314 Unknown                          Auto             Car Service
                                                                                                                                                                                                                                   DO: As directed by passenger
2271   2017   148749   Unknown                Unknown                 Unknown               n/a                    2/27/2017    ABC Limo Service      $     289.23 Alexandria, VA    Unknown                                       PU: The Kingsley Apartments 500 Madison St.     Nader Tavangar; Tony Makris   Auto             Car Service
                                                                                                                                                                                                                                   Alexandria, VA 22314
2272   2017   148749   Unknown                Unknown                 Unknown               n/a                    2/24/2017    ABC Limo Service      $     474.38 Alexandria, VA    Unknown                                       PU: 201 N Union Street, Alexandria, VA 22314 Unknown                          Auto             Car Service
                                                                                                                                                                                                                                   WT: Gaylord National Resort and Convention
2273   2017   148749   Unknown                Unknown                 Unknown               n/a                    2/24/2017    ABC Limo Service      $     664.13 Alexandria, VA    Unknown                                       PU: 201 N Union Street, Alexandria, VA 22314 Unknown                          Auto             Car Service
                                                                                                                                                                                                                                   WT: Gaylord National Resort and Convention
2274   2017   149459   Unknown                Unknown                 Unknown               n/a                    4/21/2017    ABC Limo Service      $      86.83 Alexandria, VA    Unknown                                       PU: DCA DO: 609 South Fiarfax Street       Unknown                            Auto             Car Service
                                                                                                                                                                                                                                   Alexandria, VA 22314
2275   2017   149459   Unknown                Unknown                 Unknown               n/a                    4/10/2017    ABC Limo Service      $     113.28 Alexandria, VA    Unknown                                       PU: IAD DO: 609 South Fiarfax Street            Unknown                       Auto             Car Service
                                                                                                                                                                                                                                   Alexandria, VA 22314
2276   2017   149459   Unknown                Unknown                 Unknown               n/a                    4/20/2017    ABC Limo Service      $     125.35 Alexandria, VA    Unknown                                       PU: 609 South Fiarfax Street Alexandria, VA     Unknown                       Auto             Car Service
                                                                                                                                                                                                                                   22314 DO: IAD
2277   2017   152775   Unknown                Unknown                 Unknown               n/a                    8/8/2017     ABC Limo Service      $      80.50 Alexandria, VA    Unknown                                       Passenger: Tyler Schropp PU: Home 609 S         Tyler Schropp                 Auto             Car Service
                                                                                                                                                                                                                                   Fairfax St DO: DCA-Ronald Reagan
2278   2018   154261   Unknown                Unknown                 Unknown               n/a                    10/5/2017    ABC Limo Service      $      86.82 Alexandria, VA    Unknown                                       Car from DCA (from DFW) to 609 S. Fairfax       Tyler Schropp                 Auto             Car Service
                                                                                                                                                                                                                                   Street, Alexandria VA; passenger is Tyler
2279   2018   154261   Unknown                Unknown                 Unknown               n/a                    6/16/2017    ABC Limo Service      $      86.83 Alexandria, VA    Unknown                                       Car from DCA (from DFW) to 609 S. Fairfax       Tyler Schropp                 Auto             Car Service
                                                                                                                                                                                                                                   Street, Alexandria VA; passenger is Tyler
2280   2018   154261   Unknown                Unknown                 Unknown               n/a                    10/13/2017   ABC Limo Service      $      86.83 Alexandria, VA    Unknown                                       Car form DCA (from CHS) to 609 S. Fairfax       Tyler Schropp                 Auto             Car Service
                                                                                                                                                                                                                                   Street, Alexandria. Passenger is Tyler Schropp.
2281   2018   154261   Unknown                Unknown                 Unknown               n/a                    6/13/2017    ABC Limo Service      $      86.83 Alexandria, VA    Unknown                                       Car from 609 S. Fairfax Street, Alexandria VA Tyler Schropp                   Auto             Car Service
                                                                                                                                                                                                                                   to DCA (to DFW); passenger is Tyler Schropp
2282   2018   154261   Unknown                Unknown                 Unknown               n/a                    10/12/2017   ABC Limo Service      $     134.90 Alexandria, VA    Unknown                                       Car from 52 Wolfe St. Alexandria; drop off at Tony Makris                     Auto             Car Service
                                                                                                                                                                                                                                   IAD. Passenger is Tony Makris.
2283   2018   154261   Unknown                Unknown                 Unknown               n/a                    10/6/2017    ABC Limo Service      $     315.68 Alexandria, VA    Unknown                                       Car from IAD; stop at 52 Wolf Street            Nadar Tavangar                Auto             Car Service
                                                                                                                                                                                                                                   Alexandria, drop off at 1214 W. Braddock Rd.
2284   2018   154261   Unknown                Unknown                 Unknown               n/a                    10/8/2017    ABC Limo Service      $     379.50 Alexandria, VA    Unknown                                       Car from 1214 W. Braddock Rd. Alexandria;       Nadar Tavangar                Auto             Car Service
                                                                                                                                                                                                                                   stop at 201 N. Union Street Alexandra; wait at
2285   2018   154707   Unknown                Unknown                 Unknown               n/a                    1/17/2018    ABC Limo Service      $      86.83 Alexandria, VA    Unknown                                       Car pick-up for Tony Makris from 52 Wolfe St. Tony Makris                     Auto             Car Service
                                                                                                                                                                                                                                   Alexandria, VA to Dulles (flight to LAX)
2286   2018   154707   Unknown                Unknown                 Unknown               n/a                    1/29/2018    ABC Limo Service      $      88.55 Alexandria, VA    Unknown                                       Car pick-up for Tyler Schropp from 609 S.       Tyler Schropp                 Auto             Car Service
                                                                                                                                                                                                                                   Fairfax Street Alexandria to 223 C Street NE
2287   2018   154707   Unknown                Unknown                 Unknown               n/a                    1/8/2018     ABC Limo Service      $     148.70 Alexandria, VA    Unknown                                       Car pick-up for Tony Makris from Dulles to 52 Tony Makris                     Auto             Car Service
                                                                                                                                                                                                                                   Wolfe St. Alexandria, VA
2372   2018   155929   Unknown                Unknown                 Unknown               n/a                    2/20/2018    I.I. & I.S Inc.       $   73,775.00 Unknown          Unknown                                       Air Transportation from Dallas to Fort          Dana Loesch                   Travel           Airfare
                                                                                                                                                                                                                                   Lauderdale to Washington to Dallas for Dana
2374   2018   155996   Unknown                Unknown                 Unknown               n/a                    2/28/2018    Omni Air Transport    $   35,345.32 Unknown          Unknown                                       Leg 1 - 2/24 from Fort Worth, TX to             Unknown                       Travel           Airfare
                                                                                                                                                                                                                                   Teterboro, NJ
2371   2018   155929   Unknown                Unknown                 Unknown               n/a                    2/23/2018    I.I. & I.S Inc.       $   34,000.00 Unknown          Unknown                                       Air Transportation from Washington to Dallas Dana Loesch                      Travel           Airfare
                                                                                                                                                                                                                                   for Dana Loesch on 2/22
3099   2018   155996   6389EB67530742FD8BEE   2/9/2018                Melanie Montgomery    EVP / Management       2/2/2018     Wynn                  $    2,733.25 Las Vegas, NV    Feb18                                         Meeting with WLP re: NRATV                      Melanie Montgomery            Travel           Lodging
                                                                                            Supervisor
3002   2018   155996   70D203104889478CA519   2/28/2018               Ariana Azimi          VP / Office of the CEO 2/26/2018    Lowell Hotel          $    2,610.11 Unknown          Lowell Hotel                                  Room for H Martin and D. Loesch while doing     H Martin; D Loesch            Travel           Lodging          Hotel receipt shows cash paid out as an advance for $200, room
                                                                                                                                                                                                                                   ABC Stephanopoulos appearance                                                                                   rates for two rooms and room service food
2960   2018   156967   EXP-11555              1/25/2018 - 2/3/2018    Jon Carter            Senior Associate       2/3/2018     Four Seasons          $    2,347.11 Las Vegas, NV    Coordination & management of 2018 SCI event   hotel room, tax and fees                        Unknown                       Travel           Lodging
                                                                                            Political Strategist                                                                     and Cox speech
2990   2018   155996   0948CFA77AEC415BB610   2/5/2018                Lacey Cremer/Duffy    SVP / Account          2/2/2018     Hudson                $    2,306.68 Unknown          Feb18                                         (water) during LD trip to Vegas for meeting     LD                            Meal/Beverages   Individual
                                                                                            Supervisor                                                                                                                             with NR exec
3307   2018   156967   Unknown                Unknown                 Unknown               n/a                    2/6/2018     Egencia               $    2,157.52 Las Vegas, NV    Unknown                                       Hotel Purchase -Out of Policy - Jan 16, 2018    Robert McCarty                Travel           Travel Service
                                                                                                                                                                                                                                   Robert McCarty (camera operator/editor)
2546   2018   155996   Unknown                Unknown                 Unknown               n/a                    2/23/2018    Carey International   $    2,106.38 Frederick, MD    Unknown                                       Passenger Henry Martin; pick up from Gaylord Henry Martin                     Auto             Car Service
                                                                                                                                                                                                                                   drop off at Dulles. Service date is 2/22/2018
2992   2018   156967   D8D6CBF63D5542149A90   3/12/2018               Lacey Cremer/Duffy    SVP / Account          2/28/2018    Hotel Indigo          $    1,074.50 Alexandria, VA   March18                                       Non-cancelable rooms for MM and LD during       MM; LD                        Travel           Lodging
                                                                                            Supervisor                                                                                                                             OOA mtg
2549   2018   154707   EXP-11517              1/22/2018 to 2/1/2018   Hayley Holmes         Account Executive      2/1/2018     Carey International   $     947.87 Unknown           SHOT Show 2018 Car Services                   Car service for clients/meetings on 1/26        Clients                       Auto             Car Service

2963   2018   156967   EXP-11557              2/3/2018 - 2/3/2018     Jon Carter            Senior Associate       2/3/2018     Four Seasons          $     766.02 Unknown           Hotel Rooms for SCI Show                      Room for MD (donor) per TM                      MD (donor)                    Travel           Lodging
                                                                                            Political Strategist
2300   2018   157570   Unknown                Unknown                 Unknown               n/a                    3/25/2018    ABC Limo Service      $      80.50 Alexandria, VA    Unknown                                       PU: DCA                                         Unknown                       Auto             Car Service
                                                                                                                                                                                                                                   DO: Home - 609 South Fairfax St. Alexandria,
2301   2018   157570   Unknown                Unknown                 Unknown               n/a                    3/19/2018    ABC Limo Service      $      80.50 Alexandria, VA    Unknown                                       PU: 52 Wolfe St. Alexandria, Va.                Unknown                       Auto             Car Service
                                                                                                                                                                                                                                   DO: DCA
2302   2018   157570   Unknown                Unknown                 Unknown               n/a                    3/13/2018    ABC Limo Service      $      86.83 Alexandria, VA    Unknown                                       PU: DCA                                         Unknown                       Auto             Car Service
                                                                                                                                                                                                                                   DO: 52 Wolf St Alexandria, VA




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2303        2018   157570          Unknown     Unknown                  Unknown               n/a                     3/16/2018    ABC Limo Service        $    186.59 Alexandria, VA     Unknown                                        PU: 52 Wolfe St. Alexandria, Va.                 Unknown            Auto            Car Service
                                                                                                                                                                                                                                         ST: Union Station
2304        2018   157570          Unknown     Unknown                  Unknown               n/a                     3/14/2018    ABC Limo Service        $    213.33 Alexandria, VA     Unknown                                        PU: 1214 West Bradock Rd. Alexandria, Va.        Unknown            Auto            Car Service
                                                                                                                                                                                                                                         DO:DCA
2305        2018   158521          Unknown     Unknown                  Unknown               n/a                     4/9/2018     ABC Limo Service        $     80.50 Alexandria, VA     Unknown                                        Tyler Schropp - PU: DCA Ronald Reagan            Tyler Schropp      Auto            Car Service
                                                                                                                                                                                                                                         Washington National Airport From/To: DFW
2306        2018   158521          Unknown     Unknown                  Unknown               n/a                     4/11/2018    ABC Limo Service        $     80.50 Alexandria, VA     Unknown                                        J. Eric Deitz - PU: DCA Ronald Reagan            J Eric Deitz       Auto            Car Service
                                                                                                                                                                                                                                         Washington National Airport From/To: IND
2307        2018   158521          Unknown     Unknown                  Unknown               n/a                     4/12/2018    ABC Limo Service        $     86.83 Alexandria, VA     Unknown                                        Wayne Black - PU: DCA From/To: FLL DO: N Wayne Black                Auto            Car Service
                                                                                                                                                                                                                                         Union St Alexandra VA
2308        2018   158521          Unknown     Unknown                  Unknown               n/a                     4/16/2018    ABC Limo Service        $    124.20 Alexandria, VA     Unknown                                        Tony Makris - PU: 52 Wolfe St DO: Signature      Tony Makris        Auto            Car Service
                                                                                                                                                                                                                                         Aviation at Dulles Airport
2309        2018   158521          Unknown     Unknown                  Unknown               n/a                     4/11/2018    ABC Limo Service        $    125.87 Alexandria, VA     Unknown                                        J. Eric Deitz - PU: 201 N Union St DO: IAD       J Eric Deitz       Auto            Car Service

2310        2018   158521          Unknown     Unknown                  Unknown               n/a                     4/11/2018    ABC Limo Service        $    278.30 Alexandria, VA     Unknown                                        Rosa Blackwell - PU: 2121 Mass Ave               Rosa Blackwell     Auto            Car Service
                                                                                                                                                                                                                                         Washington DC ST: 201 N Union St DO: as
2311        2018   158521          Unknown     Unknown                  Unknown               n/a                     4/12/2018    ABC Limo Service        $    487.03 Alexandria, VA     Unknown                                        Tony Makris - PU: 52 Wolfe St DO: As             Tony Makris        Auto            Car Service
                                                                                                                                                                                                                                         directed by passenger
2312        2018   158521          Unknown     Unknown                  Unknown               n/a                     4/10/2018    ABC Limo Service        $    853.88 Alexandria, VA     Unknown                                        Tony Makris - PU: Signature Flight Support       Tony Makris        Auto            Car Service
                                                                                                                                                                                                                                         Dulles Intl Airport ST: 52 Wolfe St Alexandria
2313        2018   160896          Unknown     Unknown                  Unknown               n/a                     7/24/2018    ABC Limo Service        $     86.83 Alexandria, VA     Unknown                                        Passenger Tony Makris; PU DCA (from LAX);        Tony Makris        Auto            Car Service
                                                                                                                                                                                                                                         DO 52 Wolfe St Alexandria
2314        2018   160896          Unknown     Unknown                  Unknown               n/a                     6/12/2018    ABC Limo Service        $    169.05 Alexandria, VA     Unknown                                        Passenger Terri Michaels; PU 235 12th St NE;     Terri Michaels     Auto            Car Service
                                                                                                                                                                                                                                         DO DCA
2315        2018   160896          Unknown     Unknown                  Unknown               n/a                     6/7/2018     ABC Limo Service        $    227.13 Alexandria, VA     Unknown                                        Passenger Terri Michaels; PU DCA (from MKE), Terri Michaels         Auto            Car Service
                                                                                                                                                                                                                                         stop at Trader Joes 750 PA Ave SE, DO 235
2316        2018   160896          Unknown     Unknown                  Unknown               n/a                     6/11/2018    ABC Limo Service        $    251.28 Alexandria, VA     Unknown                                        Passenger Mike Bauman; PU 235 12th St NE;        Mike Bauman        Auto            Car Service
                                                                                                                                                                                                                                         DO IAD (to Denver)
2317        2018   160896          Unknown     Unknown                  Unknown               n/a                     6/7/2018     ABC Limo Service        $    277.73 Alexandria, VA     Unknown                                        Passenger Mike Bauman; PU IAD (from              Mike Bauman        Auto            Car Service
                                                                                                                                                                                                                                         Denver); DO at 235 12th St NE
2318        2018   160896          Unknown     Unknown                  Unknown               n/a                     6/8/2018     ABC Limo Service        $   1,076.40 Alexandria, VA    Unknown                                        Passenger Terri Michaels; PU 235 12th St NE;     Terri Michaels     Auto            Car Service
                                                                                                                                                                                                                                         ST FBI Academy Stafford; DO as directed by
2319        2018   154706/155170   Unknown     Unknown                  Unknown               n/a                     9/23/2017    ABC Limo Service        $     86.82 Alexandria, VA     Unknown                                        PU: DCA                                          Unknown            Auto            Car Service
                                                                                                                                                                                                                                         DO: Home - 609 South Fairfax St. Alexandria,
2320        2018   154706/155170   Unknown     Unknown                  Unknown               n/a                     10/1/2017    ABC Limo Service        $     86.82 Alexandria, VA     Unknown                                        PU: Home - 609 South Fairfax St. Alexandraia.    Unknown            Auto            Car Service
                                                                                                                                                                                                                                         Va.
2321        2018   154706/155170   Unknown     Unknown                  Unknown               n/a                     9/22/2017    ABC Limo Service        $     86.82 Alexandria, VA     Unknown                                        PU: 52 Wolfe St. Alexandria, Va.                 Unknown            Auto            Car Service
                                                                                                                                                                                                                                         DO: DCA
2322        2018   154706/155170   Unknown     Unknown                  Unknown               n/a                     9/27/2017    ABC Limo Service        $     86.82 Alexandria, VA     Unknown                                        PU: DCA                                          Unknown            Auto            Car Service
                                                                                                                                                                                                                                         DO: 52 Wolfe St. Alexandria, Va.
2323        2018   154706/155170   Unknown     Unknown                  Unknown               n/a                     11/16/2017   ABC Limo Service        $     86.83 Unknown            Unknown                                        PU: DCA                                          Unknown            Auto            Car Service
                                                                                                                                                                                                                                         DO: Home - 609 South Fairfax St. Alexandria,
2324        2018   154706/155170   Unknown     Unknown                  Unknown               n/a                     12/12/2017   ABC Limo Service        $     93.15 Unknown            Unknown                                        PU: 12777 Fair Lakes Circle Fairfax, Va.         Claire Whitefoot   Auto            Car Service
                                                                                                                                                                                                                                         DO: IAD
2325        2018   154706/155170   Unknown     Unknown                  Unknown               n/a                     12/12/2017   ABC Limo Service        $     93.15 Unknown            Unknown                                        PU: 12777 Fair Lakes Circle Va.                  Unknown            Auto            Car Service
                                                                                                                                                                                                                                         DO: DCA
2326        2018   154706/155170   Unknown     Unknown                  Unknown               n/a                     12/10/2017   ABC Limo Service        $    106.95 Unknown            Unknown                                        PU: IAD                                          Carrie Lightfoot   Auto            Car Service
                                                                                                                                                                                                                                         DO:12777 Fair Lakes Circle Fairfax, Va.
2327        2018   154706/155170   Unknown     Unknown                  Unknown               n/a                     12/10/2017   ABC Limo Service        $    106.95 Unknown            Unknown                                        PU: IAD                                          Unknown            Auto            Car Service
                                                                                                                                                                                                                                         DO:12777 Fair Lakes Circle Fairfax, Va.
2328        2018   154706/155170   Unknown     Unknown                  Unknown               n/a                     12/10/2017   ABC Limo Service        $    106.95 Unknown            Unknown                                        PU: IAD                                          Unknown            Auto            Car Service
                                                                                                                                                                                                                                         DO:12777 Fair Lakes Circle Fairfax, Va.
2329        2018   154706/155170   Unknown     Unknown                  Unknown               n/a                     12/10/2017   ABC Limo Service        $    106.95 Unknown            Unknown                                        PU: IAD                                          Unknown            Auto            Car Service
                                                                                                                                                                                                                                         DO:12777 Fair Lakes Circle Fairfax, Va.
2330        2018   154706/155170   Unknown     Unknown                  Unknown               n/a                     12/10/2017   ABC Limo Service        $    106.95 Alexandria, VA     Unknown                                        PU: IAD                                          Ashly Suris        Auto            Car Service
                                                                                                                                                                                                                                         DO:12777 Fair Lakes Circle Fairfax, Va.
2331        2018   154706/155170   Unknown     Unknown                  Unknown               n/a                     9/19/2017    ABC Limo Service        $    118.45 Alexandria, VA     Unknown                                        PU: Home - 609 South Fairfax St. Alexandraia.    Unknown            Auto            Car Service
                                                                                                                                                                                                                                         Va.
2332        2018   154706/155170   Unknown     Unknown                  Unknown               n/a                     11/11/2017   ABC Limo Service        $    129.38 Alexandria, VA     Unknown                                        PU: Home - 609 South Fairfax St. Alexandraia.    Unknown            Auto            Car Service
                                                                                                                                                                                                                                         Va.
2333        2018   154706/155170   Unknown     Unknown                  Unknown               n/a                     9/13/2017    ABC Limo Service        $    149.44 Alexandria, VA     Unknown                                        PU: DCA                                          Unknown            Auto            Car Service
                                                                                                                                                                                                                                         ST: Landini Brothers
2334        2018   154706/155170   Unknown     Unknown                  Unknown               n/a                     12/12/2017   ABC Limo Service        $    201.77 Alexandria, VA     Unknown                                        PU: 12777 Fair Lakes Circle Fairfax, Va.         Ashly Suris        Auto            Car Service
                                                                                                                                                                                                                                         DO: IAD
2335        2018   154706/155170   Unknown     Unknown                  Unknown               n/a                     9/13/2017    ABC Limo Service        $    208.73 Alexandria, VA     Unknown                                        PU: 201 N Union St. Alexandria, Va.              Unknown            Auto            Car Service
                                                                                                                                                                                                                                         ST: As directed by pass.
2336        2018   154706/155170   Unknown     Unknown                  Unknown               n/a                     9/28/2017    ABC Limo Service        $    213.32 Alexandria, VA     Unknown                                        PU: 201 N Union St. Alexandria, Va.              Unknown            Auto            Car Service
                                                                                                                                                                                                                                         DO: IAD
2337        2018   154706/155170   Unknown     Unknown                  Unknown               n/a                     9/9/2017     ABC Limo Service        $    227.13 Alexandria, VA     Unknown                                        PU: IAD                                          Unknown            Auto            Car Service
                                                                                                                                                                                                                                         ST: 609 South Fairfax St. Alexandria, Va.
2338        2018   154706/155170   Unknown     Unknown                  Unknown               n/a                     9/29/2017    ABC Limo Service        $    229.77 Alexandria, VA     Unknown                                        PU: 1214 West Bradock Rd. Alexandria, Va.        Unknown            Auto            Car Service
                                                                                                                                                                                                                                         DO: IAD
2339        2018   154706/155170   Unknown     Unknown                  Unknown               n/a                     12/6/2017    ABC Limo Service        $    349.77 Alexandria, VA     Unknown                                        PU: 201 N Union St. Alexandria, Va.              Unknown            Auto            Car Service
                                                                                                                                                                                                                                         ST: As directed by pass.
2340        2018   154706/155170   Unknown     Unknown                  Unknown               n/a                     9/21/2017    ABC Limo Service        $    365.12 Alexandria, VA     Unknown                                        PU: Martin State Airport                         Dennis Azato       Auto            Car Service
                                                                                                                                                                                                                                         ST: 210 Wickersham Way, Cockeysville, MD
2341        2018   154706/155170   Unknown     Unknown                  Unknown               n/a                     12/10/2017   ABC Limo Service        $    474.38 Alexandria, VA     Unknown                                        PU: 1214 West Bradock Rd. Alexandria, Va.        Unknown            Auto            Car Service
                                                                                                                                                                                                                                         ST: Hotel, 220 South Union St. Alexandria, Va.
2342        2018   154706/155170   Unknown     Unknown                  Unknown               n/a                     9/20/2017    ABC Limo Service        $    516.92 Alexandria, VA     Unknown                                        PU: 201 N Union St. Alexandria, Va.              Dennis Azato       Auto            Car Service
                                                                                                                                                                                                                                         ST: 210 Wickersham Way, Cockeysville, MD
2343        2018   154706/155170   Unknown     Unknown                  Unknown               n/a                     12/10/2017   ABC Limo Service        $    573.85 Alexandria, VA     Unknown                                        PU: 12777 Fair Lakes Circle Va.                  Unknown            Auto            Car Service
                                                                                                                                                                                                                                         WT: 4100 Monument Circle Drive Faifax, va.
2344        2018   154706/155170   Unknown     Unknown                  Unknown               n/a                     12/11/2017   ABC Limo Service        $   1,143.10 Alexandria, VA    Unknown                                        PU: 12777 Fair Lakes Circle Va.                  Unknown            Auto            Car Service
                                                                                                                                                                                                                                         ST: 11250 Waples Mill Rd. Fairfax, Va.
2345        2018   154706/155170   Unknown     Unknown                  Unknown               n/a                     12/11/2017   ABC Limo Service        $   1,151.67 Alexandria, VA    Unknown                                        PU: 12777 Fair Lakes Circle Va.                  Unknown            Auto            Car Service
                                                                                                                                                                                                                                         ST: 11250 Waples Mill Rd. Fairfax, Va.
2346        2016   136859          EXP-6784    1/22/2002 - 2/17/2016    Hayley Holmes         Account Executive       1/22/2016    Ace Cab                 $     19.69 Las Vegas, NV      LD SHOT Show Travel/Expenses (DG)              Transportation to hotel                          LD                 Auto            Taxi

2962        2018   156967          EXP-11557   2/3/2018 - 2/3/2018      Jon Carter            Senior Associate        2/3/2018     Four Seasons            $    755.19 Unknown            Hotel Rooms for SCI Show                       Room for MD (donor) per TM                       MD (donor)         Travel          Lodging
                                                                                              Political Strategist
2348        2016   136859          EXP-6749    1/13/2016 - 2/17/2016    Hayley Holmes         Account Executive       1/13/2016    Adobe Acrobat Pro       $     23.99 Unknown            HH Travel/Expenses for 2016 SHOT Show (DG) Subscription to Acrobat Pro - needed to make         Hayley Holmes      Miscellaneous   Other
                                                                                                                                                                                                                                         last minute edits to sponsor analytics/docs.
2349   12   2017   148014          EXP-10175   12/29/2016 - 3/10/2017   Kurt Atterberry       Billing / Accounts      2/10/2017    Alaska Airlines         $    468.40 Unknown            Expenses associated with meetings with Revan   H Martin to attend Youth for Tomorrow's          H Martin           Miscellaneous   Other
                                                                                              Receivable Supervisor                                                                       and Youth for Tomorrow's Heart 2 Heart Event   Heart 2 Heart Event (NR-OOP)
2350   12   2017   148014          EXP-10175   12/29/2016 - 3/10/2017   Kurt Atterberry       Billing / Accounts      2/10/2017    Alaska Airlines         $    468.40 Unknown            Expenses associated with meetings with Revan   A Lair to attend Youth for Tomorrow's Heart      A Lair             Miscellaneous   Other
                                                                                              Receivable Supervisor                                                                       and Youth for Tomorrow's Heart 2 Heart Event   2 Heart Event (NR-OOP)
2351        2017   149459          Unknown     Unknown                  Unknown               n/a                     n/a          Brady Wardlaw           $    375.00 Mt. Juliet, TN     Unknown                                        Unknown                                          Susan LaPierre     Miscellaneous   Other         5 days @ $75 makeup left/given for Susan LaPierre

2352        2016   138653          Unknown     Unknown                  Unknown               n/a                     3/4/2016     Alexandria Yellow Cab   $     20.49   Alexandria, VA   Unknown                                        Passenger Name: Justine Charles Pickup: 201 N Justine Charles       Auto            Car Service
                                                                                                                                                                                                                                         Union St Destination: Gaylord National Resort
2353        2016   138653          Unknown     Unknown                  Unknown               n/a                     3/3/2016     Alexandria Yellow Cab   $     22.00   Alexandria, VA   Unknown                                        Passenger Name: Jenni S Pickup: 201 N Union Jenni S                 Auto            Car Service
                                                                                                                                                                                                                                         St Destination: Gaylord National Resort and
2354        2016   138653          Unknown     Unknown                  Unknown               n/a                     3/2/2016     Alexandria Yellow Cab   $     32.08   Alexandria, VA   Unknown                                        Passenger Name: Wendy Fitzgerald Pickup 201 Wendy Fitzgerald        Auto            Car Service
                                                                                                                                                                                                                                         N Union St Destination: Gaylord National
2355        2016   138653          Unknown     Unknown                  Unknown               n/a                     3/2/2016     Alexandria Yellow Cab   $     52.12   Alexandria, VA   Unknown                                        Passenger Name: Eric Pickup: 201 N Union St      Eric               Auto            Car Service
                                                                                                                                                                                                                                         Destination: National Harbor Blvd MD 20745




                                                                                                                                                                                                                                                                                                                                                                                    APP. 02050
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2356   2017   145564          EXP-9695               9/2/16 - 1/6/17         Sam Guertler          Unknown                9/2/2016       American Airlines            $    (200.00) Unknown        travel account clean up                              Airfare reported on EXP 8653 never hit card      Unknown                      Travel           Airfare

2357   2017   147112          EXP-10033              1/30/2017 - 2/21/17     Hayley Holmes         Account Executive      1/30/2017      American Airlines            $     229.20 Unknown         L. Duffy trip to DC for YFT event and meetings       Flight for M. Cremer to DC for YFT event, at     M Cremer                     Travel           Airfare
                                                                                                                                                                                                   w/ NRA Executives (SG)                               request of S. LaPierre
2358   2016   136859          EXP-6907               1/8/2016 - 2/17/2016    Hayley Holmes         Account Executive      1/18/2016      Amazon                       $      43.21 Las Vegas, NV   MM SHOT Show Travel/Expenses                         Supplies ordered for sponsor meeting suite       MM                           Miscellaneous    Other

2359   2017   148014          EXP-10122              1/11/2017 - 3/22/2017   Hayley Holmes         Account Executive      1/16/2017      Amazon                       $      33.95 Unknown         M. Montgomery February Clean Up report (SG)          Canned beverages purchased for client            M Montgomery                 Meal/Beverages   Individual
                                                                                                                                                                                                                                                        meetings at SHOT Show (no receipt)
2360   2018   155996          6389EB67530742FD8BEE   2/9/2018                Melanie Montgomery    EVP / Management       1/26/2018      American Airlines            $     279.30 Unknown         Feb18                                                Meeting with WLP re: NRATV                       Melanie Montgomery           Travel           Airfare
                                                                                                   Supervisor
2361   2018   160161          Unknown                Unknown                 Unknown               n/a                    7/27/2018      American Airlines            $     428.70 Unknown         Unknown                                              Unknown                                          Unknown                      Travel           Airfare

2362   2018   160161          Unknown                Unknown                 Unknown               n/a                    7/14/2018      American Airlines            $     543.70 Unknown         Unknown                                              Unknown                                          Unknown                      Travel           Airfare

2363   2018   160161          Unknown                Unknown                 Unknown               n/a                    7/18/2018      American Airlines            $     545.20 Unknown         Unknown                                              Unknown                                          Unknown                      Travel           Airfare

2364   2017   143169          Unknown                Unknown                 Unknown               n/a                    9/13/2016      Brady Wardlaw                $     900.00 Unknown         Unknown                                              Travel from Nashville to DC                      Unknown                      Travel           Airfare

2365   2017   149459          Unknown                Unknown                 Unknown               n/a                    5/9/2017       B&H Photo                    $    1,008.42 Unknown        Unknown                                              Unknown                                          Unknown                      Miscellaneous    Other                Apple iPad Pro

2366   2017   150457          Unknown                Unknown                 Unknown               n/a                    6/15/2017      Lyndsey Peck                 $     912.00 Unknown         Unknown                                              Hair and Makeup Half Day + Parking 6/14 -        Hayley Holmes                Miscellaneous    Other                Approved by Hayley Holmes 6/21/2017; No PO due to last minute
                                                                                                                                                                                                                                                        6/15                                                                                                                scheduling
2367   2017   149459          Unknown                Unknown                 Unknown               n/a                    5/19/2017      Debbie Dover                 $      54.70 Joelton, TN     Unknown                                              Uber reimbursements                              Unknown                      Auto             Taxi

2368   2017   149459          EXP-10496              4/26/2017 - 6/5/2017    Jeff Minson           Financial Analyst      4/26/2017      Corporate America Aviation   $   25,300.00 Unknown        NR air charter for dana loesch - dallas to atlanta   NR charter to get dana loesch to atlanta for     Dana Loesch                  Travel           Airfare
                                                                                                                                                                                                   to attend NR annual meetings and pre-meetings        NRA annual meetings
2369   2018   160161          Unknown                Unknown                 Unknown               n/a                    7/30/2018      Delta Airlines               $     (14.25) Unknown        Unknown                                              Unknown                                          Unknown                      Travel           Airfare

2370   2017   149459          EXP-10496              4/26/2017 - 6/5/2017    Jeff Minson           Financial Analyst      4/26/2017      I.I. & I.S Inc.              $    5,060.00 Unknown        NR air charter for dana loesch - dallas to atlanta   Commission on air charter for dana loesch to     Dana Loesch                  Travel           Airfare
                                                                                                                                                                                                   to attend NR annual meetings and pre-meetings        atlanta for pre-meetings on Media issues
2946   2018   155996          Unknown                Unknown                 Unknown               n/a                    2/24/2018      Global Road Show Limo        $     734.49 Unknown         Unknown                                              Car for the day; 6 hours total x 80 per hour -   Angus McQueen; Henry Party   Auto             Car Service
                                                                                                                                                                                                                                                        passengers are Angus McQueen (Henry + 3).
2299   2018   156967          Unknown                Unknown                 Unknown               n/a                    2/22/2018      ABC Limo Service             $     598.94 Virginia        Unknown                                              PU 1214 West Braddock                            Unknown                      Auto             Car Service
                                                                                                                                                                                                                                                        WT Ritz Tyson's
2373   2017   151745          Unknown                Unknown                 Unknown               n/a                    8/29/2017      Omni Air Transport           $   29,225.23 Unknown        Unknown                                              Aircraft Charter Leg 1: 8/24/2017 Depart: Ft.    Unknown                      Travel           Airfare
                                                                                                                                                                                                                                                        Worth Arrive: Milwaukee, WI Leg 2: 8/26/2017
2846   2018   155996          6389EB67530742FD8BEE   2/9/2018                Melanie Montgomery    EVP / Management       2/1/2018       Southwest                    $     528.18 Unknown         Feb18                                                Meeting with WLP re: NRATV                   Melanie Montgomery               Travel           Airfare
                                                                                                   Supervisor
2375   2018   156967          Unknown                Unknown                 Unknown               n/a                    March 11-12,   Omni Air Transport           $    9,423.45 Unknown        Unknown                                              Aircraft repositioned to DFW before              Unknown                      Travel           Airfare
                                                                                                                          2018                                                                                                                          cancelation notice was received. Invoice
2376   2016   136859          EXP-6907               1/8/2016 - 2/17/2016    Hayley Holmes         Account Executive      1/20/2016      Southwest                    $     538.98 Unknown         MM SHOT Show Travel/Expenses                         LD flight to vegas - new flight booked day of    LD                           Travel           Airfare
                                                                                                                                                                                                                                                        trip due to travel delays/cancellations. Booked
2945   2018   155996          Unknown                Unknown                 Unknown               n/a                    2/25/2018      Global Road Show Limo        $     517.50 Unknown         Unknown                                              Car for the day; 4.5 hours total x 80 per hour - Angus McQueen; Henry Party   Auto             Car Service
                                                                                                                                                                                                                                                        passengers are Angus McQueen (Henry + 3).
2961   2018   156967          EXP-11557              2/3/2018 - 2/3/2018     Jon Carter            Senior Associate       2/3/2018       Four Seasons                 $     463.72 Unknown         Hotel Rooms for SCI Show                             Room deposit for BS per TM                       BS                           Travel           Lodging
                                                                                                   Political Strategist
2379   2018   156967          EXP-11555              1/25/2018 - 2/3/2018    Jon Carter            Senior Associate       1/31/2018      ANLV                         $      18.00 Las Vegas, NV   Coordination & management of 2018 SCI event          cab to SCI Show                                  Unknown                      Auto             Taxi
                                                                                                   Political Strategist                                                                            and Cox speech
2380   2016   136859          EXP-6907               1/8/2016 - 2/17/2016    Hayley Holmes         Account Executive      1/18/2016      Apple Store                  $     457.85 Unknown         MM SHOT Show Travel/Expenses                         Business supplies/chargers for HH?LD?MM for      HH; LD; MM                   Miscellaneous    Other
                                                                                                                                                                                                                                                        SHOT travel/sponsor meetings
2381   2016   140440          EXP-7557               1/14/2016-              Hayley Holmes         Account Executive      4/14/2016      Apple Store                  $     138.96 Unknown         MM Clean Up Report                                   Phone case/charger for T. Makis - purchased      T Makris                     Miscellaneous    Other
                                                     6/27/2016                                                                                                                                                                                          during meeting w/ NRA Execs
2382   2017   145564          EXP-9056               8/28/16 - 12/21/16      Hayley Holmes         Account Executive      11/4/2016      Apple Store                  $     360.81 Unknown         HH Clean Up Report - Dec                             Favor - Apple store chargers/phone cases         J Powell; T Makris           Miscellaneous    Other
                                                                                                                                                                                                                                                        ordered for J. Powell/T. Makris - per TM
2383   2017   145564          EXP-9587               9/28/16 - 1/3/17        Hayley Holmes         Account Executive      12/7/2016      Apple Store                  $     165.47 Unknown         MM December clean up report                          Favor - computer charger purchased for J         J Powell                     Miscellaneous    Other
                                                                                                                                                                                                                                                        Powell
2384   2017   147112          EXP-9957               1/3/17 - 2/9/17         Mike Dennehy          EVP / Corporate        1/11/2017      Apple Store                  $     421.83 Unknown         Purchases for NRA                                    I.AM headphones, Apple TV & HDMI cable for       Susan LaPierre               Miscellaneous    Other
                                                                                                   Technology                                                                                                                                           Susan LaPierre
2385   2017   147112          EXP-9985               1/11/17 - 2/13/17       Mike Dennehy          EVP / Corporate        1/11/2017      Apple Store                  $      82.68 Las Vegas, NV   Melanie Montgomery - 2017 SHOT Show Car              Apple adapters for Susan Oden new MacBook        Susan Oden                   Miscellaneous    Other
                                                                                                   Technology                                                                                      Service Expenses                                     Pro
2386   2017   148014          EXP-10182              2/17/2017 - 3/15/2017   Edward Ned            Technology Manager     2/17/2017      Apple Store                  $     817.29 Dallas, TX      LD - Josh Powell computer repair expenses            Josh Powell's computer repairs                   Josh Powell                  Miscellaneous    Telecommunications

2387   2017   149459          EXP-10618              2/15/2017 - 5/31/2017   Hayley Holmes         Account Executive      4/6/2017       Apple Store                  $     107.17 Unknown         HH Misc. cleanup report                              Phone charging case purchased for A/M - for      HH                           Miscellaneous    Other
                                                                                                                                                                                                                                                        HH
2388   2017   149459          EXP-10618              2/15/2017 - 5/31/2017   Hayley Holmes         Account Executive      4/6/2017       Apple Store                  $     107.17 Unknown         HH Misc. cleanup report                              Phone charging case purchased for A/M - for      MM                           Miscellaneous    Other
                                                                                                                                                                                                                                                        MM
2389   2017   150457          EXP-10724              3/16/2017-              Hayley Holmes         Account Executive      4/6/2017       Apple Store                  $      32.42 Unknown         H. Holmes clean up report                            Screen protector for J. Powell                   J Powell                     Miscellaneous    Other
                                                     6/16/2017
2390   2018   154707          02528FE380E14576A01F   1/16/2018               Eric Van Horn         Account Executive      1/7/2018       Apple Store                  $      20.57 Dallas, TX      January                                              Phone charger for Tony Makris                    Tony Makris                  Miscellaneous    Other

2391   2018   158521          434403E136C841FFB796   5/8/2018                Eric Van Horn         Account Executive      5/1/2018       Apple Store                  $     489.25 Unknown         May 2018 - JG                                        Chargers, phone case, screen protectors,         Tony Makris                  Miscellaneous    Other
                                                                                                                                                                                                                                                        mobile charger per Tony Makris
2392   2017   148749          EXP-10507              4/26/2017 - 4/30/2017   Patrick McCarty       Traffic Director       4/26/2017      AT&T                         $      49.98 Unknown         Patrick McCarty Out of Pocket expenses for           Purchase of two iPhone chargers for Tony         Tony Makris                  Miscellaneous    Other
                                                                                                                                                                                                   NRA Annual Meetings in Atlanta 4/26-4/30             Makris
2393   2017   147112          EXP-9957               1/3/17 - 2/9/17         Mike Dennehy          EVP / Corporate        1/9/2017       B&H Photo                    $    3,763.65 Unknown        Purchases for NRA                                    Purchased a MacBook Pro, iPad Pro & iPod for Susan LaPierre                   Miscellaneous    Other
                                                                                                   Technology                                                                                                                                           Susan LaPierre
2394   2017   149459          Unknown                Unknown                 Unknown               n/a                    5/9/2017       B&H Photo                    $      22.38 Unknown         Unknown                                              Unknown                                          Unknown                      Miscellaneous    Other                Macally PRTCTV CS/Stand F/iPad Pro

2395   2017   149459          Unknown                Unknown                 Unknown               n/a                    5/19/2017      Debbie Dover                 $     535.19 Joelton, TN     Unknown                                              Food/beverage reimbursments                      Unknown                      Meal/Beverages   Individual

2396   2017   143169          Unknown                Unknown                 Unknown               n/a                    9/15/2016      Debbie Dover                 $     500.00 Joelton, TN     Unknown                                              NRA travel rate                                  Unknown                      Travel           Other                Approved by Lacy Duffy
                                                                                                                                                                                                                                                                                                                                                                            PO: 110838
2298   2018   156967          Unknown                Unknown                 Unknown               n/a                    2/12/2018      ABC Limo Service             $     379.50 Virginia        Unknown                                              PU: 52 Wolfe ST Alexandria                       Unknown                      Auto             Car Service
                                                                                                                                                                                                                                                        WT: Trump International DC
2398   2017   147112          EXP-9983               1/15/17 - 2/15/17       Hayley Holmes         Account Executive      1/15/2017      Baccarat                     $      25.09 Las Vegas, NV   HH Travel to Vegas for 2017 SHOT Show                Client refreshments - HH, and OOA C.             HH; C Sprangers              Meal/Beverages   Group
                                                                                                                                                                                                                                                        Sprangers - meeting to discuss sponsor
2399   2018   158521          95D136D9FFEF487BA53B   5/23/2018               Eric Van Horn         Account Executive      5/6/2018       Bass Pro                     $      43.28 Grapevine, TX   May Expenses Report - 1st                            Rifle magazines for TM                           TM                           Miscellaneous    Other

2400   2017   147112          EXP-9983               1/15/17 - 2/15/17       Hayley Holmes         Account Executive      1/18/2017      Bellini                      $      48.56 Las Vegas, NV   HH Travel to Vegas for 2017 SHOT Show                Refreshments                                     HH                           Meal/Beverages   Individual

2401   2017   148014          EXP-10252              1/19/2017 - 3/23/2017   Hayley Holmes         Account Executive      1/19/2017      Bellini                      $      32.12 Unknown         HH SHOT Show Clean Up report                         Refreshments for clients (OOA) during SHOT       OOA clients                  Meal/Beverages   Group
                                                                                                                                                                                                                                                        show
2754   2018   155996          Unknown                Unknown                 Unknown               n/a                    2/1/2018       Colonial Parking             $     356.00 Baltimore, MD   Unknown                                              Reserved monthly parking for 1 parker @          Unknown                      Auto             Parking
                                                                                                                                                                                                                                                   $356.00
2403   2017   146420          EXP-9763               1/5/2017-               Eric Van Horn         Account Executive      1/5/2017       Blackship Little Katana      $      20.00 Dallas, TX      Eric Van Horb expenses for Tony Makris event in Tip for waiter per Tony Makris                        Eric Van Horn                Miscellaneous    Tips
                                                     1/7/2017                                                                                                                                      Dallas, TX
2404   2017   146420          EXP-9763               1/5/2017-               Eric Van Horn         Account Executive      1/6/2017       Blackship Little Katana      $      20.00 Dallas, TX      Eric Van Horb expenses for Tony Makris event in Tip for waiter per Tony Makris                        Eric Van Horn                Miscellaneous    Tips
                                                     1/7/2017                                                                                                                                      Dallas, TX
2405   2017   146420          EXP-9763               1/5/2017-               Eric Van Horn         Account Executive      1/7/2017       Blackship Little Katana      $      20.00 Dallas, TX      Eric Van Horb expenses for Tony Makris event in Tip for waiter per Tony Makris                        Eric Van Horn                Miscellaneous    Tips
                                                     1/7/2017                                                                                                                                      Dallas, TX
2406   2018   154706/155170   EXP-11430              12/31/2017-             Eric Van Horn         Account Executive      1/3/2018       Blackship Little Katana      $     100.00 Dallas, TX      EVH - expenses for Tony Makris / event in Dallas, Cash tip to waiter per Tony Makris                  Eric Van Horn                Miscellaneous    Tips
                                                     1/6/2018                                                                                                                                      TX.
2407   2018   154706/155170   EXP-11430              12/31/2017-             Eric Van Horn         Account Executive      1/4/2018       Blackship Little Katana      $     100.00 Dallas, TX      EVH - expenses for Tony Makris / event in Dallas, Cash tip to waiter per Tony Makris                  Eric Van Horn                Miscellaneous    Tips
                                                     1/6/2018                                                                                                                                      TX.
2408   2018   154706/155170   EXP-11430              12/31/2017-             Eric Van Horn         Account Executive      1/5/2018       Blackship Little Katana      $     100.00 Dallas, TX      EVH - expenses for Tony Makris / event in Dallas, Cash tip to waiter per Tony Makris                  Eric Van Horn                Miscellaneous    Tips
                                                     1/6/2018                                                                                                                                      TX.




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2409   2018   154706/155170   EXP-11430              12/31/2017-             Eric Van Horn         Account Executive      1/5/2018     Blackship Little Katana             $           100.00 Dallas, TX          EVH - expenses for Tony Makris / event in Dallas, Cash tip to bartender per Tony Makris         Eric Van Horn                                   Miscellaneous    Tips
                                                     1/6/2018                                                                                                                                                     TX.
2410   2018   154706/155170   EXP-11430              12/31/2017-             Eric Van Horn         Account Executive      1/6/2018     Blackship Little Katana             $           100.00 Dallas, TX          EVH - expenses for Tony Makris / event in Dallas, Cash tip to bartender per Tony Makris         Eric Van Horn                                   Miscellaneous    Tips
                                                     1/6/2018                                                                                                                                                     TX.
2411   2018   154706/155170   EXP-11430              12/31/2017-             Eric Van Horn         Account Executive      1/6/2018     Blackship Little Katana             $           100.00 Dallas, TX          EVH - expenses for Tony Makris / event in Dallas, Cash tip to waiter per Tony Makris            Eric Van Horn                                   Miscellaneous    Tips
                                                     1/6/2018                                                                                                                                                     TX.
3086   2018   156967          EXP-11555              1/25/2018 - 2/3/2018    Jon Carter            Senior Associate       2/2/2018     MGM                                 $           329.72 Las Vegas, NV       Coordination & management of 2018 SCI event      beverages and podium for cox speech            Cox                                             Meal/Beverages   Individual
                                                                                                   Political Strategist                                                                                           and Cox speech
2413   2018   156967          EXP-11555              1/25/2018 - 2/3/2018    Jon Carter            Senior Associate       1/31/2018    Border Grill                        $            75.62 Las Vegas, NV       Coordination & management of 2018 SCI event      Lunch with P McCarty                           Jon Carter; P McCarty                           Meal/Beverages   Group
                                                                                                   Political Strategist                                                                                           and Cox speech
2414   2016   136859          EXP-6784               1/22/2002 - 2/17/2016   Hayley Holmes         Account Executive      1/21/2016    Bouchon                             $             9.00 Beverly Hills, CA   LD SHOT Show Travel/Expenses (DG)                coffee for LD                                  LD                                              Meal/Beverages   Individual

2415   2016   136859          EXP-6784               1/22/2002 - 2/17/2016   Hayley Holmes         Account Executive      1/19/2016    Bouchon                             $            15.00 Beverly Hills, CA   LD SHOT Show Travel/Expenses (DG)                Breakfast/coffee for LD (paid cash)            LD                                              Meal/Beverages   Individual

2416   2016   136859          EXP-6784               1/22/2002 - 2/17/2016   Hayley Holmes         Account Executive      1/20/2016    Bouchon                             $            17.00 Beverly Hills, CA   LD SHOT Show Travel/Expenses (DG)                Breakfast/coffee for LD (paid cash)            LD                                              Meal/Beverages   Individual

2417   2017   147112          EXP-9983               1/15/17 - 2/15/17       Hayley Holmes         Account Executive      1/16/2017    Bouchon                             $            42.23 Beverly Hills, CA   HH Travel to Vegas for 2017 SHOT Show            Client refreshments                            Client                                          Meal/Beverages   Individual

2418   2017   149459          Unknown                Unknown                 Unknown               n/a                    5/1/2017     Brady Wardlaw                       $            53.00 Atlanta, GA         Unknown                                          Unknown                                        Unknown                                         Meal/Beverages   Individual

2419   2016   138653          Unknown                Unknown                 Unknown               n/a                    4/30/2016    JM Uber Transportation Recoveries   $           127.20 Unknown             Unknown                                          Uber April Reclass for Billing                 Unknown                                         Auto             Taxi         Billed to account "15000NRCONF

2420   2017   143169          Unknown                Unknown                 Unknown               n/a                    9/13/2016    Brady Wardlaw                       $             5.82 Mt. Juliet, TN      Unknown                                          Travel expenses - meals - Tropical Smoothie    Unknown                                         Meal/Beverages   Individual
                                                                                                                                                                                                                                                                   Café
2421   2017   143169          Unknown                Unknown                 Unknown               n/a                    9/13/2016    Brady Wardlaw                       $             5.82 Mt. Juliet, TN      Unknown                                          Travel expenses - meals - Tropical Smoothie    Unknown                                         Meal/Beverages   Individual
                                                                                                                                                                                                                                                                   Café
2422   2017   143169          Unknown                Unknown                 Unknown               n/a                    9/13/2016    Brady Wardlaw                       $             5.82 Mt. Juliet, TN      Unknown                                          Travel expenses - meals - Tropical Smoothie    Unknown                                         Meal/Beverages   Individual
                                                                                                                                                                                                                                                                   Café
2423   2017   143169          Unknown                Unknown                 Unknown               n/a                    9/13/2016    Brady Wardlaw                       $             6.35 Mt. Juliet, TN      Unknown                                          Travel expenses - Uber                         Unknown                                         Auto             Taxi

2424   2017   143169          Unknown                Unknown                 Unknown               n/a                    9/13/2016    Brady Wardlaw                       $             6.35 Mt. Juliet, TN      Unknown                                          Travel expenses - Uber                         Unknown                                         Auto             Taxi

2425   2017   143169          Unknown                Unknown                 Unknown               n/a                    9/13/2016    Brady Wardlaw                       $             8.42 Mt. Juliet, TN      Unknown                                          Travel expenses - Uber                         Unknown                                         Auto             Taxi

2426   2017   143169          Unknown                Unknown                 Unknown               n/a                    9/13/2016    Brady Wardlaw                       $             8.46 Mt. Juliet, TN      Unknown                                          Travel expenses - Uber                         Unknown                                         Auto             Taxi

2427   2017   143169          Unknown                Unknown                 Unknown               n/a                    9/13/2016    Brady Wardlaw                       $             8.51 Mt. Juliet, TN      Unknown                                          Travel expenses - meals - Starbucks            Unknown                                         Meal/Beverages   Individual

2428   2017   143169          Unknown                Unknown                 Unknown               n/a                    9/13/2016    Brady Wardlaw                       $             8.55 Mt. Juliet, TN      Unknown                                          Travel expenses - Uber                         Unknown                                         Auto             Taxi

2429   2017   143169          Unknown                Unknown                 Unknown               n/a                    9/13/2016    Brady Wardlaw                       $             9.05 Mt. Juliet, TN      Unknown                                          Travel expenses - Uber                         Unknown                                         Auto             Taxi

2430   2017   143169          Unknown                Unknown                 Unknown               n/a                    9/13/2016    Brady Wardlaw                       $            10.07 Mt. Juliet, TN      Unknown                                          Travel expenses - meals - Starbucks            Unknown                                         Meal/Beverages   Individual

2431   2017   143169          Unknown                Unknown                 Unknown               n/a                    9/13/2016    Brady Wardlaw                       $            11.56 Mt. Juliet, TN      Unknown                                          Travel expenses - Uber                         Unknown                                         Auto             Taxi

2432   2017   143169          Unknown                Unknown                 Unknown               n/a                    9/13/2016    Brady Wardlaw                       $            12.44 Mt. Juliet, TN      Unknown                                          Travel expenses - Uber                         Unknown                                         Auto             Taxi

2433   2017   143169          Unknown                Unknown                 Unknown               n/a                    9/13/2016    Brady Wardlaw                       $            16.40 Mt. Juliet, TN      Unknown                                          Travel expenses - Uber                         Unknown                                         Auto             Taxi

2434   2017   143169          Unknown                Unknown                 Unknown               n/a                    9/13/2016    Brady Wardlaw                       $            26.87 Mt. Juliet, TN      Unknown                                          Travel expenses - Uber                         Unknown                                         Auto             Taxi

2435   2017   143169          Unknown                Unknown                 Unknown               n/a                    9/13/2016    Brady Wardlaw                       $            35.33 Mt. Juliet, TN      Unknown                                          Travel expenses - meals - California Pizza     Unknown                                         Meal/Beverages   Individual
                                                                                                                                                                                                                                                                   Kitchen
2436   2017   143169          Unknown                Unknown                 Unknown               n/a                    9/13/2016    Brady Wardlaw                       $            40.71 Mt. Juliet, TN      Unknown                                          Travel expenses - meals - Legal Sea Foods      Unknown                                         Meal/Beverages   Individual

2437   2017   143169          Unknown                Unknown                 Unknown               n/a                    9/13/2016    Brady Wardlaw                       $            44.94 Mt. Juliet, TN      Unknown                                          Travel expenses - Uber                         Unknown                                         Auto             Taxi

2438   2017   143169          Unknown                Unknown                 Unknown               n/a                    9/13/2016    Brady Wardlaw                       $           300.00 Mt. Juliet, TN      Unknown                                          4 days @ $75.00 makeup left/given              Unknown                                         Miscellaneous    Other

2439   2016   136859          EXP-6913               1/11/2016 - 2/15/2016   Hayley Holmes         Account Executive      1/11/2016    Southwest                           $       (535.98) Unknown               MM SHOT Show Flight Refund                       Flight canceled/refunded due to change in travel MM                                            Travel           Airfare
                                                                                                                                                                                                                                                                   plans
2440   2017   143169          Unknown                Unknown                 Unknown               n/a                    9/13/2016    Brady Wardlaw                       $      1,800.00 Mt. Juliet, TN         Unknown                                          Full day makeup                                Unknown                                         Miscellaneous    Other

2441   2017   143169          Unknown                Unknown                 Unknown               n/a                    9/13/2016    Brady Wardlaw                       $      1,800.00 Mt. Juliet, TN         Unknown                                          Full day makeup                                Unknown                                         Miscellaneous    Other

2442   2017   143169          Unknown                Unknown                 Unknown               n/a                    9/13/2016    Brady Wardlaw                       $      1,800.00 Mt. Juliet, TN         Unknown                                          Full day makeup                                Unknown                                         Miscellaneous    Other

2443   2017   143169          Unknown                Unknown                 Unknown               n/a                    9/13/2016    Brady Wardlaw                       $      1,800.00 Mt. Juliet, TN         Unknown                                          Full day makeup/travel                         Unknown                                         Miscellaneous    Other

2444   2017   149459          Unknown                Unknown                 Unknown               n/a                    5/1/2017     Brady Wardlaw                       $             5.02 Mt. Juliet, TN      Unknown                                          Unknown                                        Unknown                                         Meal/Beverages   Individual

2445   2016   138653          Unknown                Unknown                 Unknown               n/a                    3/31/2016    JM Uber Transportation Recoveries   $            34.97 Unknown             Unknown                                          JM Record March Uber Recoveries for NR         Unknown                                         Auto             Taxi         Coded to account "15000NRCONF" for March Uber OOP Usage
                                                                                                                                                                                                                                                                   OOP and New Business use for March 2016                                                                                      Journal
2446   2018   158521          9A3E1369F403CC4B307    5/17/2018               Melanie Montgomery    EVP / Management       5/6/2018     Saint Ann Restaurant                $           107.85 Unknown             May18                                            NRA OOA meal during annual meeting             OOA full team; T Schropp; L Duffy; N Tavangar   Meal/Beverages   Group        Comment on Expense Report: dinner during annual meetings with
                                                                                                   Supervisor                                                                                                                                                                                                                                                                                   OOA full team including T Schropp, L Duffy, N. Tavangar
2447   2018   158521          9A3E1369F403CC4B307    5/17/2018               Melanie Montgomery    EVP / Management       5/6/2018     Saint Ann Restaurant                $      1,464.57 Unknown                May18                                            NRA OOA meal during annual meeting             OOA full team; T Schropp; L Duffy; N Tavangar   Meal/Beverages   Group        Comment on Expense Report: dinner during annual meetings with
                                                                                                   Supervisor                                                                                                                                                                                                                                                                                   OOA full team including T Schropp, L Duffy, N. Tavangar
2448   2018   158521          35C2A431AA9340AD9E05   5/31/2018               Jeff Minson           Financial Analyst      5/24/2018    TX Pref Health                      $           708.00 Dallas, TX          NOP May 2                                        D Loesch Medical Concierge                     D Loesch                                        Miscellaneous    Other        Comment: Jeff Minson: Prorated portion of $2,000 annual - $708

2449   2017   149459          Unknown                Unknown                 Unknown               n/a                    5/1/2017     Delta                               $            60.00 Unknown             Unknown                                          Unknown                                        Unknown                                         Travel           Airfare

2450   2017   149459          Unknown                Unknown                 Unknown               n/a                    5/1/2017     Brady Wardlaw                       $            45.00 Atlanta, GA         Unknown                                          Unknown                                        Unknown                                         Meal/Beverages   Individual   Ecco

2451   2018   154706/155170   Unknown                Unknown                 Unknown               n/a                    12/18/2017   Carolyn Comfort                     $           380.00 Unknown             Unknown                                          See notes                                      Carolyn Comfort                                 Travel           Other        Email from Patrick McCarty to Stephanie West - request to
                                                                                                                                                                                                                                                                                                                                                                                                provide Carolyn Comfort with a check for 380.63 which will cover
2452   2016   137631          Unknown                Unknown                 Unknown               n/a                    5/15/2016    Gaedeke Holdings/Granite Properties $            75.78 Dallas, TX          Unknown                                          Unknown                                        Unknown                                         Auto             Parking      Email indicated parking statemet was attached, but attachment was
                                                                                                                                                                                                                                                                                                                                                                                                not provided. Note also states 15000NRCONF and that it is a
2453   2017   143169          Unknown                Unknown                 Unknown               n/a                    n/a          Gaedeke Holdings/Granite Properties $            75.78 Unknown             Unknown                                          Monthly parking expense                        Woody                                           Auto             Parking      Email regarding monthly parking expense for Woody sent from
                                                                                                                                                                                                                                                                                                                                                                                                Lesia Aguilar to Terri Voskuhl on April 27, 2015
2454   2017   149459          Unknown                Unknown                 Unknown               n/a                    5/1/2017     Brady Wardlaw                       $            64.99 Atlanta, GA         Unknown                                          Unknown                                        Unknown                                         Meal/Beverages   Group        Empire State South

2455   2018   158232          Unknown                Unknown                 Unknown               n/a                    5/25/2018    Washington Speakers Bureau          $      5,364.36 Dallas, TX             Unknown                                          Invoice from Washington Speakers Bureau for    Tucker Carlson                                  Miscellaneous    Other        Event date 5/4/2018; Contract number J7882
                                                                                                                                                                                                                                                                   expense incurred by WLF speaker (Tucker
2456   2016   141517          EXP-8005               3/29/2016 - 7/27/2016   Hayley Holmes         Account Executive      6/20/2016    Office Depot                        $           887.54 Unknown             HH clean up report - July 2016 (SG)              NR - office supplies for NRA exec WLP          WLP                                             Miscellaneous    Other        Expense by Haley Holmes for Haley Holmes - clean up report -
                                                                                                                                                                                                                                                                                                                                                                                                July 2016
2457   2018   160161          Unknown                Unknown                 Unknown               n/a                    7/30/2018    Four Seasons                        $       (472.50) Orlando, FL           Unknown                                          Unknown                                        Unknown                                         Travel           Lodging      Expense refunded - note that expense will be applied to following
                                                                                                                                                                                                                                                                                                                                                                                                month
2458   2016   139727          EXP-7701               3/7/2016 to 5/25/2016   Hayley Holmes         Account Executive      3/7/2016     PayPal                              $           125.00 Unknown             Eric Van Horn NRA annual meetings expenses       NRA online training certification for RSO      Lacey Duffy                                     Miscellaneous    Other        Expense report states "L. Duffy Misc. travel/expenses (SG)"
                                                                                                                                                                                                                                                                   license for executive training
2459   2017   146420          Unknown                Unknown                 Unknown               n/a                    1/5/2017     Uber                                $            19.68 Unknown             Unknown                                          Unknown                                        Unknown                                         Auto             Taxi

2460   2017   149459          Unknown                Unknown                 Unknown               n/a                    5/3/2017     Debbie Dover                        $3,600.00           Joelton, TN        Unknown                                          Unknown                                        Susan LaPierre                                  Miscellaneous    Other        Flat Day 1200 rate; related to Susan LaPierre

2461   2017   150823          EXP-10942              5/27/2017 - 7/31/2017   Jeff Minson           Financial Analyst      5/27/2017    Four Seasons                        $       (255.00) Scottsdale, AZ        CREDIT - 5.27 FOUR SEASONS REIMBURSED            Arrival: 5/20/2017 Departure: 5/27/2017        Unknown                                         Travel           Lodging      Four Seasons Resort--Scottsdale at Troon North
                                                                                                                                                                                                                  FOR CHARGE




                                                                                                                                                                                                                                                                                                                                                                                                                                           APP. 02052
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2462   2017   149459   Unknown                Unknown                 Unknown               n/a                 5/3/2017     Debbie Dover          $3,600.00           Joelton, TN     Unknown                                             Unknown                                          Susan LaPierre            Miscellaneous    Other         Full day Glam 1800 rate; related to Susan LaPierre

2463   2017   149459   Unknown                Unknown                 Unknown               n/a                 4/26/2017    Brady Wardlaw         $      1,800.00 Mt. Juliet, TN      Unknown                                             Unknown                                          Susan LaPierre            Miscellaneous    Other         Full day makeup for Susan LaPierre

2464   2017   149459   Unknown                Unknown                 Unknown               n/a                 4/27/2017    Brady Wardlaw         $      1,800.00 Mt. Juliet, TN      Unknown                                             Unknown                                          Susan LaPierre            Miscellaneous    Other         Full day makeup for Susan LaPierre

2465   2017   145564   EXP-9331               8/29/2016 - 12/5/2016   Hayley Holmes         Account Executive   11/2/2016    Southwest             $           763.96 Unknown          MM Clean up Report Oct/Nov                          Flight to Nashville for NRA Country event        MM                        Travel           Airfare

2466   2017   149459   Unknown                Unknown                 Unknown               n/a                 4/28/2017    Brady Wardlaw         $      1,800.00 Mt. Juliet, TN      Unknown                                             Unknown                                          Susan LaPierre            Miscellaneous    Other         Full day makeup for Susan LaPierre

2467   2017   149459   Unknown                Unknown                 Unknown               n/a                 4/29/2017    Brady Wardlaw         $      1,800.00 Mt. Juliet, TN      Unknown                                             Unknown                                          Susan LaPierre            Miscellaneous    Other         Full day makeup for Susan LaPierre

2468   2017   149459   Unknown                Unknown                 Unknown               n/a                 4/30/2017    Brady Wardlaw         $      1,800.00 Mt. Juliet, TN      Unknown                                             Unknown                                          Susan LaPierre            Miscellaneous    Other         Full day makeup/travel for Susan LaPierre

2469   2017   145564   EXP-9516               11/30/16 - 12/21/16     Hayley Holmes         Account Executive   12/1/2016    Southwest             $           365.84 Unknown          travel to Nashville for NRA Country Event with      Rescheduled flight/return to Dallas due to       Hayley Holmes             Travel           Airfare
                                                                                                                                                                                       NRA Execs                                           meetings w/ NRA donors - approved by MM to
2470   2016   137631   Unknown                Unknown                 Unknown               n/a                 3/7/2016     Colonial Parking      $           356.00 Washington, DC   Unknown                                             Reserved monthly parking for 1 parker @    Tyler Schropp; Woody            Auto             Parking       GL entry dated 1/1/2016 but invoiced 3/7 for 4/1
                                                                                                                                                                                                                                           $356.00
2471   2018   157570   Unknown                Unknown                 Unknown               n/a                 4/27/2018    Uber                  $            43.43 Unknown          Unknown                                             2 Trips                                          Anthony Makris            Auto             Taxi          GL: "JM Reclass April Uber to 15000NRCONF"
                                                                                                                                                                                                                                           DO: 101 N Market St. Charleston, SC                                                                       Passenger: Anthony Makris
2472   2016   136859   Unknown                Unknown                 Unknown               n/a                 12/6/2015    Kimpton Hotel         $           457.72 Alexandria, VA   Unknown                                             Eric Thomas; Arrival: 12/6/2015 Departure:       Eric Thomas               Travel           Lodging       Handwritten Note: "Ethomas 12/6-12/8 per WLP"
                                                                                                                                                                                                                                           12/8/2015 Hotel Monaco
2473   2016   136859   Unknown                Unknown                 Unknown               n/a                 12/6/2015    Kimpton Hotel         $           511.72 Alexandria, VA   Unknown                                             Eric Thomas; Arrival: 12/6/2015 Departure:       Eric Thomas               Travel           Lodging       Handwritten Note: "Ethomas 12/6-12/8 per WLP"
                                                                                                                                                                                                                                           12/8/2015 Hotel Monaco
2474   2016   139727   Unknown                Unknown                 Unknown               n/a                 4/26/2016    Hotel Monaco          $           244.88 Alexandria, VA   Unknown                                             Josh Powell (Guest) NRA Board Member per         Josh Powell               Travel           Lodging       Hotel purchase for Josh Powell; check in Monday April 25th
                                                                                                                                                                                                                                           Tony Makris                                                                                               through April 26th @ 206.10 per night
2475   2017   149459   Unknown                Unknown                 Unknown               n/a                 5/1/2017     Brady Wardlaw         $            18.93 Mt. Juliet, TN   Unknown                                             Unknown                                          Unknown                   Miscellaneous    Other         Hudson Booksellers

2476   2018   158521   Unknown                Unknown                 Hayley Holmes         Account Executive   5/10/2018    Brady Wardlaw         $            17.05 Mt. Juliet, TN   Unknown                                             Hayley Holmes - Lyft                             Hayley Holmes             Auto             Taxi

2477   2018   158521   Unknown                Unknown                 Hayley Holmes         Account Executive   5/10/2018    Brady Wardlaw         $            17.05 Mt. Juliet, TN   Unknown                                             Hayley Holmes - Lyft                             Hayley Holmes             Auto             Taxi

2478   2018   158521   Unknown                Unknown                 Hayley Holmes         Account Executive   5/10/2018    Brady Wardlaw         $            17.32 Mt. Juliet, TN   Unknown                                             Hayley Holmes - Lyft                             Hayley Holmes             Auto             Taxi

2479   2018   158521   Unknown                Unknown                 Hayley Holmes         Account Executive   5/10/2018    Brady Wardlaw         $            17.61 Mt. Juliet, TN   Unknown                                             Hayley Holmes - Lyft                             Hayley Holmes             Auto             Taxi

2480   2018   158521   Unknown                Unknown                 Hayley Holmes         Account Executive   5/10/2018    Brady Wardlaw         $            26.86 Mt. Juliet, TN   Unknown                                             Hayley Holmes - Lyft                             Hayley Holmes             Auto             Taxi

2481   2018   158521   Unknown                Unknown                 Hayley Holmes         Account Executive   5/10/2018    Brady Wardlaw         $            29.47 Mt. Juliet, TN   Unknown                                             Hayley Holmes - Lyft                             Hayley Holmes             Auto             Taxi

2482   2018   158521   Unknown                Unknown                 Hayley Holmes         Account Executive   5/10/2018    Brady Wardlaw         $            34.00 Mt. Juliet, TN   Unknown                                             Hayley Holmes - Ojeda's Restaurant               Hayley Holmes             Meal/Beverages   Individual

2483   2018   158521   Unknown                Unknown                 Hayley Holmes         Account Executive   5/10/2018    Brady Wardlaw         $            65.00 Mt. Juliet, TN   Unknown                                             Hayley Holmes - Ojeda's Restaurant               Hayley Holmes             Meal/Beverages   Individual

2484   2018   158521   Unknown                Unknown                 Hayley Holmes         Account Executive   5/10/2018    Brady Wardlaw         $           112.00 Mt. Juliet, TN   Unknown                                             Hayley Holmes - Parigi                           Hayley Holmes             Meal/Beverages   Individual

2485   2018   158521   Unknown                Unknown                 Hayley Holmes         Account Executive   5/1/2018-    Brady Wardlaw         $           375.00 Mt. Juliet, TN   Unknown                                             Hayley Holmes - makeup left/given                Hayley Holmes             Miscellaneous    Other
                                                                                                                5/6/2018
2486   2018   159388   EXP-11842              4/30/2018-              Eric Van Horn         Account Executive   5/5/2018     Cash Tips             $           100.00 Unknown          LDC A/M Expenses                                    Cash Tips during EVH Annual Meeting; "Tip to     Unknown                   Miscellaneous    Tips          Invoice #159013 L. Cremer - Exp-11842 & Concur for 688.43 to
                                              5/6/2018                                                                                                                                                                                     driver for client/staff transportation"                                                                   OOP (main costs for driving services)
2487   2018   159388   EXP-11842              4/30/2018-              Eric Van Horn         Account Executive   5/6/2018     Cash Tips             $           200.00 Unknown          LDC A/M Expenses                                    Cash Tips during EVH Annual Meeting; "Tip to     Unknown                   Miscellaneous    Tips          Invoice #159013 L. Cremer - Exp-11842 & Concur for 688.43 to
                                              5/6/2018                                                                                                                                                                                     driver for client/staff transportation"                                                                   OOP (main costs for driving services)
2488   2018   159388   EXP-11855              4/30/2018-              Eric Van Horn         Account Executive   5/2/2018     Cash Tips             $             5.00 Unknown          EVH - Annual Meeting Expenses                       Cash Tips during EVH Annual Meeting; "Tip to     Unknown                   Miscellaneous    Tips          Invoice #159013 L. Cremer - Exp-11842 & Concur for 688.43 to
                                              5/6/2018                                                                                                                                                                                     bellman at Omni hotel for help with bags"                                                                 OOP (main costs for driving services)
2489   2018   159388   EXP-11855              4/30/2018-              Eric Van Horn         Account Executive   5/1/2018     Cash Tips             $            10.00 Unknown          EVH - Annual Meeting Expenses                       Cash Tips during EVH Annual Meeting; "Tip to     Unknown                   Miscellaneous    Tips          Invoice #159013 L. Cremer - Exp-11842 & Concur for 688.43 to
                                              5/6/2018                                                                                                                                                                                     bellman at Omni hotel for help with bags"                                                                 OOP (main costs for driving services)
2490   2018   159388   EXP-11855              4/30/2018-              Eric Van Horn         Account Executive   5/4/2018     Cash Tips             $            10.00 Unknown          EVH - Annual Meeting Expenses                       Cash Tips during EVH Annual Meeting; "Tip to     Unknown                   Miscellaneous    Tips          Invoice #159013 L. Cremer - Exp-11842 & Concur for 688.43 to
                                              5/6/2018                                                                                                                                                                                     concierge at Hotel Zaza for package delivery                                                              OOP (main costs for driving services)
2491   2018   159388   EXP-11855              4/30/2018-              Eric Van Horn         Account Executive   5/1/2018     Cash Tips             $            20.00 Unknown          EVH - Annual Meeting Expenses                       Cash Tips during EVH Annual Meeting; "Tip to     Unknown                   Miscellaneous    Tips          Invoice #159013 L. Cremer - Exp-11842 & Concur for 688.43 to
                                              5/6/2018                                                                                                                                                                                     concierge at Rosewood Mansion for package                                                                 OOP (main costs for driving services)
2492   2017   145564   EXP-9516               11/30/16 - 12/21/16     Hayley Holmes         Account Executive   11/30/2016   Bridgestone Arena     $           122.00 Nashville, TN    travel to Nashville for NRA Country Event with      Refreshments for donors at NRA Country           Donors                    Meal/Beverages   Group
                                                                                                                                                                                       NRA Execs                                           event
2493   2017   145564   EXP-9584               11/30/16 - 1/4/17       Hayley Holmes         Account Executive   11/30/2016   Bridgestone Arena     $            22.00 Nashville, TN    L Duffy travel to Nashville for NRA Country         Refreshments purchased for NRA                   NRA clients; NRA donors   Meal/Beverages   Group
                                                                                                                                                                                       event w/ NRA Execs                                  clients/donors at NRA Country event
2494   2017   145564   EXP-9584               11/30/16 - 1/4/17       Hayley Holmes         Account Executive   11/30/2016   Bridgestone Arena     $           120.00 Nashville, TN    L Duffy travel to Nashville for NRA Country         Refreshments purchased for NRA                   NRA clients; NRA donors   Meal/Beverages   Group
                                                                                                                                                                                       event w/ NRA Execs                         clients/donors at NRA Country event
2495   2016   136859   EXP-6749               1/13/2016 - 2/17/2016   Hayley Holmes         Account Executive   1/22/2016    Burger King           $            16.96 Unknown          HH Travel/Expenses for 2016 SHOT Show (DG) Snack at the airport (no receipt)                         Hayley Holmes             Meal/Beverages   Individual

2496   2018   159388   0F0A7329E0DC41FCA114   5/7/2018                Lacey Cremer/Duffy    SVP / Account       5/4/2018     Café Herrera          $            78.58 Dallas, TX       May18                                               Lunch during NRAAM                               Unknown                   Meal/Beverages   Individual
                                                                                            Supervisor
2497   2016   136859   EXP-6941               2/18/2016 - 2/20/2016   Hayley Holmes         Account Executive   1/22/2016    Carey International   $           565.78 Las Vegas, NV    Car service at SHOT Show for client/sponsor         Car service for Fri.                             Hayley Holmes             Auto             Car Service
                                                                                                                                                                                       meetings (SG)
2498   2016   136859   EXP-6941               2/18/2016 - 2/20/2016   Hayley Holmes         Account Executive   1/19/2016    Carey International   $           884.29 Las Vegas, NV    Car service at SHOT Show for client/sponsor         Car service for Tue.                             Hayley Holmes             Auto             Car Service
                                                                                                                                                                                       meetings (SG)
2499   2016   136859   EXP-6941               2/18/2016 - 2/20/2016   Hayley Holmes         Account Executive   1/18/2016    Carey International   $           963.92 Las Vegas, NV    Car service at SHOT Show for client/sponsor         Car service for Mon.                             Hayley Holmes             Auto             Car Service
                                                                                                                                                                                       meetings (SG)
2500   2016   136859   EXP-6941               2/18/2016 - 2/20/2016   Hayley Holmes         Account Executive   1/20/2016    Carey International   $           963.92 Las Vegas, NV    Car service at SHOT Show for client/sponsor         Car service for Wed.                             Hayley Holmes             Auto             Car Service
                                                                                                                                                                                       meetings (SG)
2501   2016   136859   EXP-6941               2/18/2016 - 2/20/2016   Hayley Holmes         Account Executive   1/21/2016    Carey International   $      1,003.74 Las Vegas, NV       Car service at SHOT Show for client/sponsor         Car service for Thurs.                           Hayley Holmes             Auto             Car Service
                                                                                                                                                                                       meetings (SG)
2502   2016   139727   EXP-7766               5/16/2016 to 6/1/2016   Hayley Holmes         Account Executive   5/18/2016    Carey International   $           106.74 Louisville, KY   Expense report states 'transportation services in   Transportation FOR Chris and Dana Loesch         Chris; Dana Loesch        Auto             Car Service
                                                                                                                                                                                       Louisville for NRA A/M for MM, HH, LD, D, D.        from airport to hotel in Louisville
2503   2016   139727   EXP-7766               5/16/2016 to 6/1/2016   Hayley Holmes         Account Executive   5/16/2016    Carey International   $           252.08 Louisville, KY   Expense report states 'transportation services in   transportation for HH in Louisville (Monday      HH                        Auto             Car Service
                                                                                                                                                                                       Louisville for NRA A/M for MM, HH, LD, D, D.        morning)
2504   2016   139727   EXP-7766               5/16/2016 to 6/1/2016   Hayley Holmes         Account Executive   5/23/2016    Carey International   $           378.12 Louisville, KY   Expense report states 'transportation services in   Transportation in Louisville for MM, HH, LD,     MM; HH; LD; OOA           Auto             Car Service
                                                                                                                                                                                       Louisville for NRA A/M for MM, HH, LD, D, D.        OOA
2505   2016   139727   EXP-7766               5/16/2016 to 6/1/2016   Hayley Holmes         Account Executive   5/22/2016    Carey International   $      1,134.36 Louisville, KY      Expense report states 'transportation services in   Transportation in Louisville for MM, HH, LD,     MM; HH; LD; OOA           Auto             Car Service
                                                                                                                                                                                       Louisville for NRA A/M for MM, HH, LD, D, D.        OOA
2506   2016   139727   EXP-7766               5/16/2016 to 6/1/2016   Hayley Holmes         Account Executive   5/17/2016    Carey International   $      1,260.40 Louisville, KY      Expense report states 'transportation services in   Transportation in Louisville for MM, HH, LD,     MM; HH; LD; OOA           Auto             Car Service
                                                                                                                                                                                       Louisville for NRA A/M for MM, HH, LD, D, D.        OOA
2507   2016   139727   EXP-7766               5/16/2016 to 6/1/2016   Hayley Holmes         Account Executive   5/16/2016    Carey International   $      1,324.67 Louisville, KY      Expense report states 'transportation services in   Transportation for MM/LD in Louisville           MM; LD                    Auto             Car Service
                                                                                                                                                                                       Louisville for NRA A/M for MM, HH, LD, D, D.        (Monday afternoon)
2508   2016   139727   EXP-7766               5/16/2016 to 6/1/2016   Hayley Holmes         Account Executive   5/20/2016    Carey International   $      1,512.48 Louisville, KY      Expense report states 'transportation services in   Transportation in Louisville for MM, HH, LD,     MM; HH; LD; OOA           Auto             Car Service
                                                                                                                                                                                       Louisville for NRA A/M for MM, HH, LD, D, D.        OOA
2509   2016   139727   EXP-7766               5/16/2016 to 6/1/2016   Hayley Holmes         Account Executive   5/18/2016    Carey International   $      1,827.58 Louisville, KY      Expense report states 'transportation services in   Transportation in Louisville for MM, HH, LD,     MM; HH; LD; OOA           Auto             Car Service
                                                                                                                                                                                       Louisville for NRA A/M for MM, HH, LD, D, D.        OOA
2510   2016   139727   EXP-7766               5/16/2016 to 6/1/2016   Hayley Holmes         Account Executive   5/19/2016    Carey International   $      2,016.64 Louisville, KY      Expense report states 'transportation services in   Transportation in Louisville for MM, HH, LD,     MM; HH; LD; OOA           Auto             Car Service
                                                                                                                                                                                       Louisville for NRA A/M for MM, HH, LD, D, D.        OOA
2511   2016   139727   EXP-7766               5/16/2016 to 6/1/2016   Hayley Holmes         Account Executive   5/21/2016    Carey International   $      2,079.66 Unknown             Expense report states 'transportation services in   Transportation in Louisville for MM, HH, LD,     MM; HH; LD; OOA           Auto             Car Service
                                                                                                                                                                                       Louisville for NRA A/M for MM, HH, LD, D, D.        OOA
2512   2016   140440   EXP-7992               6/13/16 to 6/27/16      Hayley Holmes         Account Executive   6/13/2016    Carey International   $           110.00 Unknown          Transportation Services for Level 5 filming         transportation for MM from airport to office -   Melanie Montgomery        Auto             Car Service
                                                                                                                                                                                                                                           returning from business trip w/NRA execs
2513   2016   141517   EXP-8220               3/6/2016 - 7/27/2016    Hayley Holmes         Account Executive   5/26/2016    Carey International   $           729.53 Louisville, KY   clean up report - transportation invoices (SG)      transportation in Louisville during 2016 NRA     Hayley Holmes             Auto             Car Service
                                                                                                                                                                                                                                           annual meetings
2514   2017   143169   EXP-8802               8/4/2016 - 10/3/2016    Hayley Holmes         Account Executive   9/22/2016    Carey International   $           224.68 Dallas, TX       HH clean up report (Sept. 2016)                     Transportation for J. Powell to/from dinner in   J Powell                  Auto             Car Service
                                                                                                                                                                                                                                           Dallas




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2515   2017   147112   EXP-10057              1/27/17 - 2/21/17        Hayley Holmes         Account Executive   2/9/2017    Carey International   $   1,138.40 Washington, DC   M. Montgomery travel to DC for YFT event &        Car service in DC                               M Montgomery                               Auto            Car Service
                                                                                                                                                                                 meetings w/ NRA Execs
2516   2017   147112   EXP-9985               1/15/17 - 2/13/17        Eric Van Horn         Account Executive   1/21/2017   Carey International   $    494.54 Las Vegas, NV     Melanie Montgomery - 2017 SHOT Show Car           Car service for Saturday                        Melanie Montgomery                         Auto            Car Service
                                                                                                                                                                                 Service Expenses
2517   2017   147112   EXP-9985               1/15/17 - 2/13/17        Eric Van Horn         Account Executive   1/17/2017   Carey International   $    576.96 Las Vegas, NV     Melanie Montgomery - 2017 SHOT Show Car           Car service for Tuesday                         Melanie Montgomery                         Auto            Car Service
                                                                                                                                                                                 Service Expenses
2518   2017   147112   EXP-9985               1/15/17 - 2/13/17        Eric Van Horn         Account Executive   1/16/2017   Carey International   $    880.90 Las Vegas, NV     Melanie Montgomery - 2017 SHOT Show Car           Car service for Monday                          Melanie Montgomery                         Auto            Car Service
                                                                                                                                                                                 Service Expenses
2519   2017   147112   EXP-9985               1/15/17 - 2/13/17        Eric Van Horn         Account Executive   1/15/2017   Carey International   $    989.08 Las Vegas, NV     Melanie Montgomery - 2017 SHOT Show Car           Car service for Sunday                          Melanie Montgomery                         Auto            Car Service
                                                                                                                                                                                 Service Expenses
2520   2017   147112   EXP-9985               1/15/17 - 2/13/17        Eric Van Horn         Account Executive   1/18/2017   Carey International   $   1,030.29 Las Vegas, NV    Melanie Montgomery - 2017 SHOT Show Car           Car service for Wednesday                       Melanie Montgomery                         Auto            Car Service
                                                                                                                                                                                 Service Expenses
2521   2017   147112   EXP-9985               1/15/17 - 2/13/17        Eric Van Horn         Account Executive   1/19/2017   Carey International   $   1,030.29 Las Vegas, NV    Melanie Montgomery - 2017 SHOT Show Car           Car service for Thursday                        Melanie Montgomery                         Auto            Car Service
                                                                                                                                                                                 Service Expenses
2522   2017   147112   EXP-9985               1/15/17 - 2/13/17        Eric Van Horn         Account Executive   1/20/2017   Carey International   $   1,153.92 Las Vegas, NV    Melanie Montgomery - 2017 SHOT Show Car           Car service for Friday                          Melanie Montgomery                         Auto            Car Service
                                                                                                                                                                                 Service Expenses
2523   2017   149459   EXP-10610              4/26/2017 - 5/31/2017    Sam Guertler          Unknown             4/26/2017   Carey International   $    333.33 Unknown           Carey car service                                 transportation during 2017 NRA AM in ATL        Unknown                                    Auto            Car Service

2524   2017   149459   EXP-10610              4/26/2017 - 5/31/2017    Sam Guertler          Unknown             5/4/2017    Carey International   $    903.88 Unknown           Carey car service                                 transportation during 2017 NRA AM in ATL        Unknown                                    Auto            Car Service

2525   2017   149459   EXP-10663              4/27/2017 - 6/2/2017     Sam Guertler          Unknown             5/4/2017    Carey International   $    348.33 Unknown           Carey car service annual meetings                 Transportation during 2017 NRA AM               Unknown                                    Auto            Car Service

2526   2017   149459   EXP-10663              4/27/2017 - 6/2/2017     Sam Guertler          Unknown             4/28/2017   Carey International   $   1,249.98 Unknown          Carey car service annual meetings                 Transportation during 2017 NRA AM (Melanie) Unknown                                        Auto            Car Service

2527   2017   149459   EXP-10663              4/27/2017 - 6/2/2017     Sam Guertler          Unknown             4/27/2017   Carey International   $   1,394.80 Unknown          Carey car service annual meetings                 Transportation during 2017 NRA AM               Unknown                                    Auto            Car Service

2528   2017   149459   EXP-10663              4/27/2017 - 6/2/2017     Sam Guertler          Unknown             5/4/2017    Carey International   $   1,416.65 Unknown          Carey car service annual meetings                 Transportation during 2017 NRA AM               Unknown                                    Auto            Car Service

2529   2017   149459   EXP-10663              4/27/2017 - 6/2/2017     Sam Guertler          Unknown             5/4/2017    Carey International   $   1,487.20 Unknown          Carey car service annual meetings                 Transportation during 2017 NRA AM               Unknown                                    Auto            Car Service

2530   2017   149459   EXP-10663              4/27/2017 - 6/2/2017     Sam Guertler          Unknown             5/4/2017    Carey International   $   1,514.98 Unknown          Carey car service annual meetings                 Transportation during 2017 NRA AM               Unknown                                    Auto            Car Service

2531   2017   149459   EXP-10663              4/27/2017 - 6/2/2017     Sam Guertler          Unknown             5/4/2017    Carey International   $   1,777.75 Unknown          Carey car service annual meetings                 Transportation during 2017 NRA AM (Melanie) Melanie                                        Auto            Car Service

2532   2017   149459   EXP-10663              4/27/2017 - 6/2/2017     Sam Guertler          Unknown             5/4/2017    Carey International   $   1,777.75 Unknown          Carey car service annual meetings                 Transportation during 2017 NRA AM               Unknown                                    Auto            Car Service

2533   2017   149459   EXP-10663              4/27/2017 - 6/2/2017     Sam Guertler          Unknown             5/4/2017    Carey International   $   1,916.64 Unknown          Carey car service annual meetings                 Transportation during 2017 NRA AM               Unknown                                    Auto            Car Service

2534   2017   151745   Unknown                Unknown                  Unknown               n/a                 8/25/2017   Carey International   $    191.80 Dallas, TX        Unknown                                           Passenger: Chris Service Type: Premium          Chris                                      Auto            Car Service
                                                                                                                                                                                                                                   Vehicle: SUV PU: 303 Chestnut Cove DO:
2535   2017   151745   Unknown                Unknown                  Unknown               n/a                 8/28/2017   Carey International   $    191.80 Dallas, TX        Unknown                                           Passenger: Chris Service Type: Premium          Chris                                      Auto            Car Service
                                                                                                                                                                                                                                   Vehicle: SUV PU: DFW Intl Airport DO: 303
2536   2017   151745   Unknown                Unknown                  Unknown               n/a                 8/29/2017   Carey International   $    398.00 Milwaukee, WI     Unknown                                           Passenger: Chris Vehicle: SUV PU: 50 W Florida Chris                                       Auto            Car Service
                                                                                                                                                                                                                                   St Milwaukee DO: Hourly A/N wait then Iron
2537   2017   151745   Unknown                Unknown                  Unknown               n/a                 8/30/2017   Carey International   $   1,102.15 Milwaukee, WI    Unknown                                           Passenger: Chris Vehicle: SUV PU: Iron Horse    Chris                                      Auto            Car Service
                                                                                                                                                                                                                                   DO: Hourly A/D wait then SF support
2538   2017   151745   Unknown                Unknown                  Unknown               n/a                 8/30/2017   Carey International   $   1,561.38 Milwaukee, WI    Unknown                                           Passenger: Chris Vehicle: SUV PU: The Iron      Chris                                      Auto            Car Service
                                                                                                                                                                                                                                   Horse 500 W Forida St DO: Hourly A/D wait
2539   2017   151745   Unknown                Unknown                  Unknown               n/a                 8/30/2017   Carey International   $   1,989.99 Milwaukee, WI    Unknown                                           Passenger: Lacey Duffy Vehicle: SUV PU:         Lacey Duffy                                Auto            Car Service
                                                                                                                                                                                                                                   Kimpton jour 310 E Chicago St DO: Hourly
2540   2017   151745   Unknown                Unknown                  Unknown               n/a                 8/30/2017   Carey International   $   2,326.76 Milwaukee, WI    Unknown                                           Passenger: Lacey Duffy Vehicle: SUV PU:         Lacey Duffy                                Auto            Car Service
                                                                                                                                                                                                                                   Kimpton jour 310 E Chicago St DO: Hourly
2541   2017   150457   EXP-10752              5/1/2017-                Sam Guertler          Unknown             5/1/2017    Carey International   $    333.33 Unknown           Carey Car Service during Annual Meeting           4.24 Danielle Harris Atlanta                    Danielle Harris                            Auto            Car Service
                                              6/21/2017
2542   2017   150457   EXP-10752              5/1/2017-                Sam Guertler          Unknown             5/1/2017    Carey International   $   1,638.87 Unknown          Carey Car Service during Annual Meeting           4.26 Atlanta                                    Unknown                                    Auto            Car Service
                                              6/21/2017
2557   2018   156967   EXP-11671              1/31/2018 - 3/19/18      Eric Van Horn         Account Executive   2/2/2018    Carey International   $    329.69 Las Vegas, NV     MM Las Vegas Car Service                          Transportation for MM and LC for meetings       MM; LC                                     Auto            Car Service
                                                                                                                                                                                                                                   with NRA Executives in Las Vegas
2297   2018   156967   Unknown                Unknown                  Unknown               n/a                 2/21/2018   ABC Limo Service      $    284.63 Virginia          Unknown                                           PU Signature Flight Support IAD                 Unknown                                    Auto            Car Service
                                                                                                                                                                                                                                   ST 1214 West Braddock Rd
2296   2018   156967   Unknown                Unknown                  Unknown               n/a                 2/18/2018   ABC Limo Service      $    256.74 Virginia          Unknown                                           IAD to 1214 West Braddock Rd                    Unknown                                    Auto            Car Service

2903   2018   156967   EXP-11541              1/30/2018 - 2/4/2018     Patrick McCarty       Traffic Director    2/4/2018    Four Seasons          $    221.10 Las Vegas, NV     Patrick McCarty - expense from 1/30 - 2/4 for     report fee plus OCC taxes 1/30-2/4              Patrick McCarty                            Miscellaneous   Other
                                                                                                                                                                                 attending SCI to assist with Chris Cox's speech
2547   2018   154707   EXP-11517              1/22/2018 to 2/1/2018    Hayley Holmes         Account Executive   1/27/2018   Carey International   $    288.49 Unknown           SHOT Show 2018 Car Services                       Car service for clients/meetings on 1/27        Clients                                    Auto            Car Service

2548   2018   154707   EXP-11517              1/22/2018 to 2/1/2018    Hayley Holmes         Account Executive   1/22/2018   Carey International   $    783.02 Unknown           SHOT Show 2018 Car Services                       Car service for clients/meetings on 1/22        Clients                                    Auto            Car Service

3394   2018   155996   6389EB67530742FD8BEE   2/9/2018                 Melanie Montgomery    EVP / Management    2/8/2018    Wynn                  $    205.00 Las Vegas, NV     Feb18                                             A/V for meeting with WLP re NRATV               Melanie Montgomery                         Event           Room Rental
                                                                                             Supervisor
2550   2018   154707   EXP-11517              1/22/2018 to 2/1/2018    Hayley Holmes         Account Executive   1/23/2018   Carey International   $   1,071.50 Unknown          SHOT Show 2018 Car Services                       Car service for clients/meetings on 1/23        Clients                                    Auto            Car Service

2551   2018   154707   EXP-11517              1/22/2018 to 2/1/2018    Hayley Holmes         Account Executive   1/24/2018   Carey International   $   1,251.80 Unknown          SHOT Show 2018 Car Services                       Car service for clients/meetings on 1/24        Clients                                    Auto            Car Service

2552   2018   154707   EXP-11517              1/22/2018 to 2/1/2018    Hayley Holmes         Account Executive   1/25/2018   Carey International   $   1,277.56 Unknown          SHOT Show 2018 Car Services                       Car service for clients/meetings on 1/25        Clients                                    Auto            Car Service

2553   2018   155996   EXP-11610              1/2/2018 to 2/28/2018    Eric Van Horn         Account Executive   1/2/2018    Carey International   $    224.68 Unknown           TM DSC Car Service                                Transportation for tony Makris from airport to Tony Makris                                 Auto            Car Service
                                                                                                                                                                                                                                   his hotel (Omni Dallas) during Dallas Safari Club
2554   2018   155996   EXP-11611              1/21/2018 to 2/28/2018   Hayley Holmes         Account Executive   1/21/2018   Carey International   $    146.07 Unknown           SHOT Show 2018 Car Service Clean Up               Car service for client meetings on 1/21           Unknown                                  Auto            Car Service

2555   2018   156967   EXP-11610              1/2/2018 - 2/28/2018     Eric Van Horn         Account Executive   1/2/2018    Carey International   $    224.68 Dallas, TX        TM DSC Car Service                                Transportation for Tony Makris from airport to Tony Makris                                 Auto            Car Service
                                                                                                                                                                                                                                   his hotel (Omni Dallas) during Dallas Safari Club
2556   2018   156967   EXP-11671              1/31/2018 - 3/19/18      Eric Van Horn         Account Executive   1/31/2018   Carey International   $    146.07 Las Vegas, NV     MM Las Vegas Car Service                          Transportation for MM and LC for meetings         MM; LC                                   Auto            Car Service
                                                                                                                                                                                                                                   with NRA Executives in Las Vegas
2543   2018   155996   Unknown                Unknown                  Unknown               n/a                 2/26/2018   Carey International   $    191.80 Frederick, MD     Unknown                                           Passenger Henry Martin; pick up from DFW        Henry Martin                               Auto            Car Service
                                                                                                                                                                                                                                   drop off at 115 Oak Lawn Avenue, Dallas
2558   2018   159547   EXP-12009              4/30/2018 to 6/26/2018   Hayley Holmes         Account Executive   5/6/2018    Carey International   $    477.45 Unknown           2018 NRA A/M Transportation                       Transportation for MM, LC (Duffy), OOA          MM; LC (Duffy); OOA clients; EVP clients   Auto            Car Service
                                                                                                                                                                                                                                   clients, EVP clients during NRA A/M
2559   2018   159547   EXP-12009              4/30/2018 to 6/26/2018   Hayley Holmes         Account Executive   5/6/2018    Carey International   $   1,039.15 Unknown          2018 NRA A/M Transportation                       Transportation for HH, EVH, OOA clients, etc. HH; EVH; OOA clients                         Auto            Car Service
                                                                                                                                                                                                                                   during NRA A/M
2560   2018   159547   EXP-12009              4/30/2018 to 6/26/2018   Hayley Holmes         Account Executive   5/1/2018    Carey International   $   1,291.91 Unknown          2018 NRA A/M Transportation                       Transportation for HH, EVH, OOA clients, etc. HH; EVH; OOA clients                         Auto            Car Service
                                                                                                                                                                                                                                   during NRA A/M
2561   2018   159547   EXP-12009              4/30/2018 to 6/26/2018   Hayley Holmes         Account Executive   5/2/2018    Carey International   $   1,291.91 Unknown          2018 NRA A/M Transportation                       Transportation for HH, EVH, OOA clients, etc. HH; EVH; OOA clients                         Auto            Car Service
                                                                                                                                                                                                                                   during NRA A/M
2562   2018   159547   EXP-12009              4/30/2018 to 6/26/2018   Hayley Holmes         Account Executive   5/3/2018    Carey International   $   1,376.17 Unknown          2018 NRA A/M Transportation                       Transportation for MM, LC (Duffy), OOA          MM; LC (Duffy); OOA clients; EVP clients   Auto            Car Service
                                                                                                                                                                                                                                   clients, EVP clients during NRA A/M
2563   2018   159547   EXP-12009              4/30/2018 to 6/26/2018   Hayley Holmes         Account Executive   5/3/2018    Carey International   $   1,600.85 Unknown          2018 NRA A/M Transportation                       Transportation for HH, EVH, OOA clients, etc. HH; EVH; OOA clients                         Auto            Car Service
                                                                                                                                                                                                                                   during NRA A/M
2564   2018   159547   EXP-12009              4/30/2018 to 6/26/2018   Hayley Holmes         Account Executive   5/4/2018    Carey International   $   1,657.02 Unknown          2018 NRA A/M Transportation                       Transportation for MM, LC (Duffy), OOA          MM; LC; OOA clients; EVP clients           Auto            Car Service
                                                                                                                                                                                                                                   clients, EVP clients during NRA A/M
2565   2018   159547   EXP-12009              4/30/2018 to 6/26/2018   Hayley Holmes         Account Executive   5/5/2018    Carey International   $   1,713.19 Unknown          2018 NRA A/M Transportation                       Transportation for MM, LC (Duffy), OOA          MM; LC; OOA clients; EVP clients           Auto            Car Service
                                                                                                                                                                                                                                   clients, EVP clients during NRA A/M
2566   2018   159547   EXP-12009              4/30/2018 to 6/26/2018   Hayley Holmes         Account Executive   5/5/2018    Carey International   $   1,741.27 Unknown          2018 NRA A/M Transportation                       Transportation for HH, EVH, OOA clients, etc. HH; EVH; OOA clients                         Auto            Car Service
                                                                                                                                                                                                                                   during NRA A/M
2567   2018   159547   EXP-12009              4/30/2018 to 6/26/2018   Hayley Holmes         Account Executive   5/4/2018    Carey International   $   1,797.44 Unknown          2018 NRA A/M Transportation                       Transportation for HH, EVH, OOA clients, etc. HH; EVH; OOA clients                         Auto            Car Service
                                                                                                                                                                                                                                   during NRA A/M




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2568   2018   154707          DB3ACE300C6F411B97E4   1/30/2018               Lacey Cremer/Duffy    SVP / Account       1/26/2018    Southwest               $   1,047.96 Unknown         JAN18                                             OOP travel for meeting with WLP and T         Lacey Duffy                      Travel           Airfare
                                                                                                   Supervisor                                                                                                                            Makris re NRATV
2569   2017   146420          EXP-9763               1/5/2017-               Eric Van Horn         Account Executive   1/7/2017     Casa de Montecristo     $     26.79 Dallas, TX       Eric Van Horb expenses for Tony Makris event in Cigar materials for Tony Makris' event          Eric Van Horn                    Miscellaneous    Gift
                                                     1/7/2017                                                                                                                            Dallas, TX
2570   2017   146420          EXP-9763               1/5/2017-               Eric Van Horn         Account Executive   1/5/2017     Casa de Montecristo     $    232.63 Dallas, TX       Eric Van Horb expenses for Tony Makris event in Cigar materials for Tony Makris' event          Eric Van Horn                    Miscellaneous    Gift
                                                     1/7/2017                                                                                                                            Dallas, TX
2571   2018   158521          95D136D9FFEF487BA53B   5/23/2018               Eric Van Horn         Account Executive   4/29/2018    Casa de Montecristo     $     81.26 Dallas, TX       May Expenses Report - 1st                         Cash - Cigar materials for TM and NRA         TM; NRA executives; OOA donors   Miscellaneous    Gift
                                                                                                                                                                                                                                           executives/OOA donors
2572   2018   154706/155170   EXP-11430              12/31/2017-             Eric Van Horn         Account Executive   1/4/2018     Casa de Montecristo     $    119.03 Dallas, TX       EVH - expenses for Tony Makris / event in Dallas, Cigar materials for Tony Makris' event        Eric Van Horn                    Miscellaneous    Gift
                                                     1/6/2018                                                                                                                            TX.
2573   2018   154706/155170   EXP-11430              12/31/2017-             Eric Van Horn         Account Executive   12/31/2017   Casa de Montecristo     $    285.57 Dallas, TX       EVH - expenses for Tony Makris / event in Dallas, Cigar materials for Tony Makris' event        Eric Van Horn                    Miscellaneous    Gift
                                                     1/6/2018                                                                                                                            TX.
2574   2018   154706/155170   EXP-11430              12/31/2017-             Eric Van Horn         Account Executive   1/3/2018     Casa de Montecristo     $    323.67 Dallas, TX       EVH - expenses for Tony Makris / event in Dallas, Cigars for Tony Makris' event                 Eric Van Horn                    Miscellaneous    Gift
                                                     1/6/2018                                                                                                                            TX.
2575   2018   159388          Unknown                Unknown                 Patrick McCarty       Traffic Director    6/13/2018    Casa de Montecristo     $     14.02 Dallas, TX       Unknown                                           For TM                                        TM                               Miscellaneous    Gift

2576   2017   147112          EXP-9983               1/15/17 - 2/15/17       Hayley Holmes         Account Executive   1/19/2017    Cash Bar                $     30.00 Las Vegas, NV    HH Travel to Vegas for 2017 SHOT Show             Client refreshments for A. Crimmins, J. Golob, A Crimmins; J Golob; N Foster   Meal/Beverages   Group
                                                                                                                                                                                                                                           N Foster re NRAW, LAFS, WLF
2577   2017   147112          EXP-10033              1/30/2017 - 2/21/17     Hayley Holmes         Account Executive   2/11/2017    Cash Beverage Station   $     40.00 Washington, DC   L. Duffy trip to DC for YFT event and meetings    For beverage tickets at YFT event             L Duffy                          Meal/Beverages   Individual
                                                                                                                                                                                         w/ NRA Executives (SG)                     (entertinment for clients)
2578   2016   136859          EXP-6749               1/13/2016 - 2/17/2016   Hayley Holmes         Account Executive   1/18/2016    Cash Tips               $     10.00 Dallas, TX       HH Travel/Expenses for 2016 SHOT Show (DG) Cash tip for HH/CN bags at Dallas airport            HH; CN                           Miscellaneous    Tips

2579   2016   136859          EXP-6749               1/13/2016 - 2/17/2016   Hayley Holmes         Account Executive   1/18/2016    Cash Tips               $     10.00 Las Vegas, NV    HH Travel/Expenses for 2016 SHOT Show (DG) Cash tip for Colion Noir bags at Venetian            Colion Noir                      Miscellaneous    Tips
                                                                                                                                                                                                                                    check in
2580   2016   136859          EXP-6749               1/13/2016 - 2/17/2016   Hayley Holmes         Account Executive   1/19/2016    Cash Tips               $     10.00 Las Vegas, NV    HH Travel/Expenses for 2016 SHOT Show (DG) cash tip for package delivery to Wynn room           HH                               Miscellaneous    Tips

2581   2016   136859          EXP-6749               1/13/2016 - 2/17/2016   Hayley Holmes         Account Executive   1/22/2016    Cash Tips               $     10.00 Las Vegas, NV    HH Travel/Expenses for 2016 SHOT Show (DG) Cash tip for bags at Vegas airport                   HH                               Miscellaneous    Tips

2582   2016   136859          EXP-6749               1/13/2016 - 2/17/2016   Hayley Holmes         Account Executive   1/18/2016    Cash Tips               $     20.00 Las Vegas, NV    HH Travel/Expenses for 2016 SHOT Show (DG) Cash tip for package delivery to sponsor suite       HH                               Miscellaneous    Tips

2583   2016   136859          EXP-6749               1/13/2016 - 2/17/2016   Hayley Holmes         Account Executive   1/18/2016    Cash Tips               $     20.00 Las Vegas, NV    HH Travel/Expenses for 2016 SHOT Show (DG) Cash tip for HH bags at Wynn check in                HH                               Miscellaneous    Tips

2584   2016   136859          EXP-6749               1/13/2016 - 2/17/2016   Hayley Holmes         Account Executive   1/18/2016    Cash Tips               $     20.00 Las Vegas, NV    HH Travel/Expenses for 2016 SHOT Show (DG) Cash tip for hospitality set-up at venetian          HH                               Miscellaneous    Tips
                                                                                                                                                                                                                                    sponsor suite
2585   2016   136859          EXP-6749               1/13/2016 - 2/17/2016   Hayley Holmes         Account Executive   1/19/2016    Cash Tips               $     20.00 Las Vegas, NV    HH Travel/Expenses for 2016 SHOT Show (DG) Cash tip for hospitality set-up at venetian          HH                               Miscellaneous    Tips
                                                                                                                                                                                                                                    sponsor suite
2586   2016   136859          EXP-6749               1/13/2016 - 2/17/2016   Hayley Holmes         Account Executive   1/20/2016    Cash Tips               $     20.00 Las Vegas, NV    HH Travel/Expenses for 2016 SHOT Show (DG) cash tip for package delivery to Wynn room           HH                               Miscellaneous    Tips

2587   2016   136859          EXP-6749               1/13/2016 - 2/17/2016   Hayley Holmes         Account Executive   1/21/2016    Cash Tips               $     20.00 Las Vegas, NV    HH Travel/Expenses for 2016 SHOT Show (DG) Cash tip for hospitality set-up at venetian          HH                               Miscellaneous    Tips
                                                                                                                                                                                                                                    sponsor suite
2588   2016   136859          EXP-6749               1/13/2016 - 2/17/2016   Hayley Holmes         Account Executive   1/22/2016    Cash Tips               $     20.00 Las Vegas, NV    HH Travel/Expenses for 2016 SHOT Show (DG) Cash tip for bellman at Wynn check out               HH                               Miscellaneous    Tips

2589   2016   136859          EXP-6749               1/13/2016 - 2/17/2016   Hayley Holmes         Account Executive   1/19/2016    Cash Tips               $    100.00 Las Vegas, NV    HH Travel/Expenses for 2016 SHOT Show (DG) Cash tip for driver (Tuesday)                        HH                               Miscellaneous    Tips

2590   2016   136859          EXP-6749               1/13/2016 - 2/17/2016   Hayley Holmes         Account Executive   1/22/2016    Cash Tips               $    100.00 Las Vegas, NV    HH Travel/Expenses for 2016 SHOT Show (DG) Cash tip for driver (Friday)                         HH                               Miscellaneous    Tips

2591   2016   136859          EXP-6784               1/22/2002 - 2/17/2016   Hayley Holmes         Account Executive   1/18/2016    Cash Tips               $     10.00 Unknown          LD SHOT Show Travel/Expenses (DG)                 tip for bags at airport                       LD                               Miscellaneous    Tips

2592   2016   136859          EXP-6784               1/22/2002 - 2/17/2016   Hayley Holmes         Account Executive   1/18/2016    Cash Tips               $     10.00 Las Vegas, NV    LD SHOT Show Travel/Expenses (DG)                 cash tip for doorman at Wynn arrival          LD                               Miscellaneous    Tips

2593   2016   136859          EXP-6784               1/22/2002 - 2/17/2016   Hayley Holmes         Account Executive   1/19/2016    Cash Tips               $     10.00 Las Vegas, NV    LD SHOT Show Travel/Expenses (DG)                 waters - show floor (paid cash)               LD                               Meal/Beverages   Individual

2594   2016   136859          EXP-6784               1/22/2002 - 2/17/2016   Hayley Holmes         Account Executive   1/21/2016    Cash Tips               $     10.00 Las Vegas, NV    LD SHOT Show Travel/Expenses (DG)                 waters - show floor (paid cash)               LD                               Meal/Beverages   Individual

2595   2016   136859          EXP-6784               1/22/2002 - 2/17/2016   Hayley Holmes         Account Executive   1/22/2016    Cash Tips               $     10.00 Las Vegas, NV    LD SHOT Show Travel/Expenses (DG)                 cash tip for doorman at Wynn departure        LD                               Miscellaneous    Tips

2596   2016   136859          EXP-6784               1/22/2002 - 2/17/2016   Hayley Holmes         Account Executive   1/22/2016    Cash Tips               $     10.00 Las Vegas, NV    LD SHOT Show Travel/Expenses (DG)                 Cash tip for bags at Vegas airport            LD                               Miscellaneous    Tips

2597   2016   136859          EXP-6784               1/22/2002 - 2/17/2016   Hayley Holmes         Account Executive   1/18/2016    Cash Tips               $     20.00 Las Vegas, NV    LD SHOT Show Travel/Expenses (DG)                 cash tip for bellman at check in Wynn         LD                               Miscellaneous    Tips

2598   2016   136859          EXP-6784               1/22/2002 - 2/17/2016   Hayley Holmes         Account Executive   1/20/2016    Cash Tips               $     20.00 Las Vegas, NV    LD SHOT Show Travel/Expenses (DG)                 cash tip- box/supplies delivery to venetian   LD                               Miscellaneous    Tips
                                                                                                                                                                                                                                           meeting suite
2599   2016   136859          EXP-6784               1/22/2002 - 2/17/2016   Hayley Holmes         Account Executive   1/22/2016    Cash Tips               $     20.00 Las Vegas, NV    LD SHOT Show Travel/Expenses (DG)                 cash tip for cleaning service/maids           LD                               Miscellaneous    Tips

2600   2016   136859          EXP-6784               1/22/2002 - 2/17/2016   Hayley Holmes         Account Executive   1/22/2016    Cash Tips               $     20.00 Las Vegas, NV    LD SHOT Show Travel/Expenses (DG)                 Cash tip for bellman (Wynn) at check out      LD                               Miscellaneous    Tips

2601   2016   136859          EXP-6784               1/22/2002 - 2/17/2016   Hayley Holmes         Account Executive   1/22/2016    Cash Tips               $     29.63 Las Vegas, NV    LD SHOT Show Travel/Expenses (DG)                 Dry cleaning for meetings                     LD                               Miscellaneous    Other

2602   2016   136859          EXP-6784               1/22/2002 - 2/17/2016   Hayley Holmes         Account Executive   1/18/2016    Cash Tips               $     40.00 Las Vegas, NV    LD SHOT Show Travel/Expenses (DG)                 cash tip for venetian A/V team - set up for   LD                               Miscellaneous    Tips
                                                                                                                                                                                                                                           client/sponsor meeting
2603   2016   136859          EXP-6784               1/22/2002 - 2/17/2016   Hayley Holmes         Account Executive   1/22/2016    Cash Tips               $     40.00 Las Vegas, NV    LD SHOT Show Travel/Expenses (DG)                 cash tip for driver Friday                    LD                               Miscellaneous    Tips

2604   2016   136859          EXP-6784               1/22/2002 - 2/17/2016   Hayley Holmes         Account Executive   1/18/2016    Cash Tips               $    100.00 Las Vegas, NV    LD SHOT Show Travel/Expenses (DG)                 tip for driver (Monday)                       LD                               Miscellaneous    Tips

2605   2016   136859          EXP-6784               1/22/2002 - 2/17/2016   Hayley Holmes         Account Executive   1/20/2016    Cash Tips               $    100.00 Las Vegas, NV    LD SHOT Show Travel/Expenses (DG)                 cash tip for driver (Wednesday)               LD                               Miscellaneous    Tips

2606   2016   136859          EXP-6784               1/22/2002 - 2/17/2016   Hayley Holmes         Account Executive   1/21/2016    Cash Tips               $    100.00 Las Vegas, NV    LD SHOT Show Travel/Expenses (DG)                 Cash tip for driver (thurs)                   LD                               Miscellaneous    Tips

2607   2016   140440          EXP-7759               5/5/2016 to 6/24/16     Hayley Holmes         Account Executive   5/16/2016    Cash Tips               $      5.00 Louisville, KY   Expense report states 'L. Duffy travel/expenses   tip for bags at DFW                           Lacey Duffy                      Miscellaneous    Tips
                                                                                                                                                                                         for the 2016 knar a/m in louisville (SG)'
2608   2016   140440          EXP-7759               5/5/2016 to 6/24/16     Hayley Holmes         Account Executive   5/16/2016    Cash Tips               $     10.00 Louisville, KY   Expense report states 'L. Duffy travel/expenses   cash tip for hotel bellman at check in        Lacey Duffy                      Miscellaneous    Tips
                                                                                                                                                                                         for the 2016 knar a/m in louisville (SG)'
2609   2016   140440          EXP-7759               5/5/2016 to 6/24/16     Hayley Holmes         Account Executive   5/19/2016    Cash Tips               $     10.00 Louisville, KY   Expense report states 'L. Duffy travel/expenses   cash tip for box delivery                     Lacey Duffy                      Miscellaneous    Tips
                                                                                                                                                                                         for the 2016 knar a/m in louisville (SG)'
2610   2016   140440          EXP-7759               5/5/2016 to 6/24/16     Hayley Holmes         Account Executive   5/22/2016    Cash Tips               $     10.00 Louisville, KY   Expense report states 'L. Duffy travel/expenses   cash tip for bags at KY airport               Lacey Duffy                      Miscellaneous    Tips
                                                                                                                                                                                         for the 2016 knar a/m in louisville (SG)'
2611   2016   140440          EXP-7759               5/5/2016 to 6/24/16     Hayley Holmes         Account Executive   5/16/2016    Cash Tips               $     20.00 Louisville, KY   Expense report states 'L. Duffy travel/expenses   cash tip for hotel bellman at 21c hotel       Lacey Duffy                      Miscellaneous    Tips
                                                                                                                                                                                         for the 2016 knar a/m in louisville (SG)'
2612   2016   140440          EXP-7759               5/5/2016 to 6/24/16     Hayley Holmes         Account Executive   5/17/2016    Cash Tips               $     20.00 Louisville, KY   Expense report states 'L. Duffy travel/expenses   cash tip for bellman/box delivery at 21c      Lacey Duffy                      Miscellaneous    Tips
                                                                                                                                                                                         for the 2016 knar a/m in louisville (SG)'
2613   2016   140440          EXP-7759               5/5/2016 to 6/24/16     Hayley Holmes         Account Executive   5/22/2016    Cash Tips               $     20.00 Louisville, KY   Expense report states 'L. Duffy travel/expenses   cash tip for bellman at hotel check out       Lacey Duffy                      Miscellaneous    Tips
                                                                                                                                                                                         for the 2016 knar a/m in louisville (SG)'
2614   2016   140440          EXP-7759               5/5/2016 to 6/24/16     Hayley Holmes         Account Executive   5/22/2016    Cash Tips               $     20.00 Louisville, KY   Expense report states 'L. Duffy travel/expenses   cash tip for doorman at hotel check out       Lacey Duffy                      Miscellaneous    Tips
                                                                                                                                                                                         for the 2016 knar a/m in louisville (SG)'
2615   2016   140440          EXP-7759               5/5/2016 to 6/24/16     Hayley Holmes         Account Executive   5/22/2016    Cash Tips               $     60.00 Louisville, KY   Expense report states 'L. Duffy travel/expenses   cash tip for driver (Sunday morning trip)     Lacey Duffy                      Miscellaneous    Tips
                                                                                                                                                                                         for the 2016 knar a/m in louisville (SG)'
2616   2016   140440          EXP-7759               5/5/2016 to 6/24/16     Hayley Holmes         Account Executive   5/16/2016    Cash Tips               $    100.00 Louisville, KY   Expense report states 'L. Duffy travel/expenses   cash tip for driver (Monday)                  Lacey Duffy                      Miscellaneous    Tips
                                                                                                                                                                                         for the 2016 knar a/m in louisville (SG)'
2617   2016   140440          EXP-7759               5/5/2016 to 6/24/16     Hayley Holmes         Account Executive   5/17/2016    Cash Tips               $    100.00 Louisville, KY   Expense report states 'L. Duffy travel/expenses   cash tip for driver (Tuesday)                 Lacey Duffy                      Miscellaneous    Tips
                                                                                                                                                                                         for the 2016 knar a/m in louisville (SG)'
2618   2016   140440          EXP-7759               5/5/2016 to 6/24/16     Hayley Holmes         Account Executive   5/20/2016    Cash Tips               $    100.00 Louisville, KY   Expense report states 'L. Duffy travel/expenses   cash tip for driver (Friday)                  Lacey Duffy                      Miscellaneous    Tips
                                                                                                                                                                                         for the 2016 knar a/m in louisville (SG)'
2619   2016   140440          EXP-7759               5/5/2016 to 6/24/16     Hayley Holmes         Account Executive   5/20/2016    Cash Tips               $    100.00 Louisville, KY   Expense report states 'L. Duffy travel/expenses   cash tip for driver (Wednesday)               Lacey Duffy                      Miscellaneous    Tips
                                                                                                                                                                                         for the 2016 knar a/m in louisville (SG)'
2620   2016   140440          EXP-7759               5/5/2016 to 6/24/16     Hayley Holmes         Account Executive   5/21/2016    Cash Tips               $    100.00 Louisville, KY   Expense report states 'L. Duffy travel/expenses   cash tip for driver (Saturday night)          Lacey Duffy                      Miscellaneous    Tips
                                                                                                                                                                                         for the 2016 knar a/m in louisville (SG)'




                                                                                                                                                                                                                                                                                                                                                        APP. 02055
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2621   2016   140440   EXP-7887    5/6/2016 to 6/30/2016   Hayley Holmes         Account Executive   5/16/2016    Cash Tips   $   100.00 Louisville, KY   MM travel/expenses for 2016 NRA annual            Cash tip for driver - transportation services for Client; talent; Melanie Montgomery; LD   Miscellaneous   Tips
                                                                                                                                                          meetings in Louisville                            client/talent/MM/LD
2622   2016   140440   EXP-7887    5/6/2016 to 6/30/2016   Hayley Holmes         Account Executive   5/17/2016    Cash Tips   $   100.00 Louisville, KY   MM travel/expenses for 2016 NRA annual            Cash tip for driver - transportation services for Client                                   Miscellaneous   Tips
                                                                                                                                                          meetings in Louisville                            client
2623   2016   140440   EXP-7887    5/6/2016 to 6/30/2016   Hayley Holmes         Account Executive   5/18/2016    Cash Tips   $   100.00 Louisville, KY   MM travel/expenses for 2016 NRA annual            Cash tip for driver - transportation services for Client; talent; Melanie Montgomery; LD   Miscellaneous   Tips
                                                                                                                                                          meetings in Louisville                            client/talent/MM/LD
2624   2016   140440   EXP-7887    5/6/2016 to 6/30/2016   Hayley Holmes         Account Executive   5/21/2016    Cash Tips   $   100.00 Louisville, KY   MM travel/expenses for 2016 NRA annual            Cash tip for driver - transportation services for Client; talent; Melanie Montgomery; LD   Miscellaneous   Tips
                                                                                                                                                          meetings in Louisville                            client/talent/MM/LD
2625   2016   140440   EXP-7887    5/6/2016 to 6/30/2016   Hayley Holmes         Account Executive   5/22/2016    Cash Tips   $   100.00 Louisville, KY   MM travel/expenses for 2016 NRA annual            Cash tip for driver - transportation services for Client; talent; Melanie Montgomery; LD   Miscellaneous   Tips
                                                                                                                                                          meetings in Louisville                            client/talent/MM/LD
2626   2017   145564   EXP-9584    11/30/16 - 1/4/17       Hayley Holmes         Account Executive   11/30/2016   Cash Tips   $     5.00 Nashville, TN    L Duffy travel to Nashville for NRA Country       cash tip for bags at the airport                 L Duffy                                   Miscellaneous   Tips
                                                                                                                                                          event w/ NRA Execs
2627   2017   145564   EXP-9584    11/30/16 - 1/4/17       Hayley Holmes         Account Executive   11/30/2016   Cash Tips   $    10.00 Nashville, TN    L Duffy travel to Nashville for NRA Country       Cash tip for bellman at hotel check in           L Duffy                                   Miscellaneous   Tips
                                                                                                                                                          event w/ NRA Execs
2628   2017   145564   EXP-9584    11/30/16 - 1/4/17       Hayley Holmes         Account Executive   11/30/2016   Cash Tips   $    10.00 Nashville, TN    L Duffy travel to Nashville for NRA Country       cash tip for bags at hotel checkout              L Duffy                                   Miscellaneous   Tips
                                                                                                                                                          event w/ NRA Execs
2629   2017   145564   EXP-9584    11/30/16 - 1/4/17       Hayley Holmes         Account Executive   11/30/2016   Cash Tips   $    50.00 Nashville, TN    L Duffy travel to Nashville for NRA Country       cash tip for driver - transportation for LD MM   L Duffy; MM; HH; NC; TM                   Miscellaneous   Tips
                                                                                                                                                          event w/ NRA Execs                               TM NC HH et all during NRA country event
2630   2017   145564   EXP-9682    11/30/16 - 1/6/17       Hayley Holmes         Account Executive   11/30/2016   Cash Tips   $    10.00 Nashville, TN    HH additional Nashville expenses (travel for NRA Cash tip for bellman at hotel check in            HH                                        Miscellaneous   Tips
                                                                                                                                                          Country event - other expenses reported on ER
2631   2017   145564   EXP-9682    11/30/16 - 1/6/17       Hayley Holmes         Account Executive   12/1/2016    Cash Tips   $    10.00 Nashville, TN    HH additional Nashville expenses (travel for NRA Cash tip for bellman at hotel checkout            HH                                        Miscellaneous   Tips
                                                                                                                                                          Country event - other expenses reported on ER
2632   2017   145564   EXP-9682    11/30/16 - 1/6/17       Hayley Holmes         Account Executive   11/30/2016   Cash Tips   $   100.00 Nashville, TN    HH additional Nashville expenses (travel for NRA Cash tip for driver in Nashville                  HH                                        Miscellaneous   Tips
                                                                                                                                                          Country event - other expenses reported on ER
2633   2017   146420   EXP-9895    1/19/2016-              Hayley Holmes         Account Executive   1/16/2017    Cash Tips   $     5.00 Las Vegas, NV    L. Duffy travel to Las Vegas fpr 2017 SHOT Show Cash tips for bags at the airport                  L Duffy                                   Miscellaneous   Tips
                                   2/8/2017                                                                                                               (SG)
2634   2017   146420   EXP-9895    1/19/2016-              Hayley Holmes         Account Executive   1/20/2017    Cash Tips   $     5.00 Las Vegas, NV    L. Duffy travel to Las Vegas fpr 2017 SHOT Show Cash tip for bags at the airport                   L Duffy                                   Miscellaneous   Tips
                                   2/8/2017                                                                                                               (SG)
2635   2017   146420   EXP-9895    1/19/2016-              Hayley Holmes         Account Executive   1/20/2017    Cash Tips   $    10.00 Las Vegas, NV    L. Duffy travel to Las Vegas fpr 2017 SHOT Show Cash tip for doorman at hotel check out            L Duffy                                   Miscellaneous   Tips
                                   2/8/2017                                                                                                               (SG)
2636   2017   146420   EXP-9895    1/19/2016-              Hayley Holmes         Account Executive   1/16/2017    Cash Tips   $    20.00 Las Vegas, NV    L. Duffy travel to Las Vegas fpr 2017 SHOT Show Cash tip for doorman at hotel check in             L Duffy                                   Miscellaneous   Tips
                                   2/8/2017                                                                                                               (SG)
2637   2017   146420   EXP-9895    1/19/2016-              Hayley Holmes         Account Executive   1/16/2017    Cash Tips   $    20.00 Las Vegas, NV    L. Duffy travel to Las Vegas fpr 2017 SHOT Show Cash tip for bellman at hotel check in             L Duffy                                   Miscellaneous   Tips
                                   2/8/2017                                                                                                               (SG)
2638   2017   146420   EXP-9895    1/19/2016-              Hayley Holmes         Account Executive   1/16/2017    Cash Tips   $    20.00 Las Vegas, NV    L. Duffy travel to Las Vegas fpr 2017 SHOT Show Cash tip for package delivery at hotel             L Duffy                                   Miscellaneous   Tips
                                   2/8/2017                                                                                                               (SG)
2639   2017   146420   EXP-9895    1/19/2016-              Hayley Holmes         Account Executive   1/17/2017    Cash Tips   $    20.00 Las Vegas, NV    L. Duffy travel to Las Vegas fpr 2017 SHOT Show Cash tip for bellman at Venetian - helped carry L Duffy                                      Miscellaneous   Tips
                                   2/8/2017                                                                                                               (SG)                                            boxes to meeting room
2640   2017   146420   EXP-9895    1/19/2016-              Hayley Holmes         Account Executive   1/18/2017    Cash Tips   $    20.00 Las Vegas, NV    L. Duffy travel to Las Vegas fpr 2017 SHOT Show Cash tip for package delivery at hotel             L Duffy                                   Miscellaneous   Tips
                                   2/8/2017                                                                                                               (SG)
2641   2017   146420   EXP-9895    1/19/2016-              Hayley Holmes         Account Executive   1/20/2017    Cash Tips   $    20.00 Las Vegas, NV    L. Duffy travel to Las Vegas fpr 2017 SHOT Show cash tip for bellman at check out                  L Duffy                                   Miscellaneous   Tips
                                   2/8/2017                                                                                                               (SG)
2642   2017   146420   EXP-9895    1/19/2016-              Hayley Holmes         Account Executive   1/17/2017    Cash Tips   $   100.00 Las Vegas, NV    L. Duffy travel to Las Vegas fpr 2017 SHOT Show Cash tip for driver on Tues.                       L Duffy                                   Miscellaneous   Tips
                                   2/8/2017                                                                                                               (SG)
2643   2017   146420   EXP-9895    1/19/2016-              Hayley Holmes         Account Executive   1/18/2017    Cash Tips   $   100.00 Las Vegas, NV    L. Duffy travel to Las Vegas fpr 2017 SHOT Show Cash tip for driver on Wed.                        L Duffy                                   Miscellaneous   Tips
                                   2/8/2017                                                                                                               (SG)
2644   2017   146420   EXP-9895    1/19/2016-              Hayley Holmes         Account Executive   1/18/2017    Cash Tips   $   100.00 Las Vegas, NV    L. Duffy travel to Las Vegas fpr 2017 SHOT Show Cash tip for service in meeting room (for client L Duffy                                     Miscellaneous   Tips
                                   2/8/2017                                                                                                               (SG)                                            meetings w/ sponsors etc.)
2645   2017   146420   EXP-9895    1/19/2016-              Hayley Holmes         Account Executive   1/20/2017    Cash Tips   $   100.00 Las Vegas, NV    L. Duffy travel to Las Vegas fpr 2017 SHOT Show Cash tip for driver                                L Duffy                                   Miscellaneous   Tips
                                   2/8/2017                                                                                                               (SG)
2646   2017   146420   EXP-9901    1/16/2017-              Hayley Holmes         Account Executive   1/16/2017    Cash Tips   $    50.00 Las Vegas, NV    M. Montgomery travel to Vegas for 2017 SHOT       Cash tip for bellman                             M Montgomery                              Miscellaneous   Tips
                                   1/31/2017                                                                                                              Show
2647   2017   146420   EXP-9901    1/16/2017-              Hayley Holmes         Account Executive   1/19/2017    Cash Tips   $    50.00 Las Vegas, NV    M. Montgomery travel to Vegas for 2017 SHOT       Cash tip for bellman                             M Montgomery                              Miscellaneous   Tips
                                   1/31/2017                                                                                                              Show
2648   2017   146420   EXP-9901    1/16/2017-              Hayley Holmes         Account Executive   1/16/2017    Cash Tips   $   100.00 Las Vegas, NV    M. Montgomery travel to Vegas for 2017 SHOT       Cash tip for driver                              M Montgomery                              Miscellaneous   Tips
                                   1/31/2017                                                                                                              Show
2649   2017   146420   EXP-9901    1/16/2017-              Hayley Holmes         Account Executive   1/17/2017    Cash Tips   $   100.00 Las Vegas, NV    M. Montgomery travel to Vegas for 2017 SHOT       Cash tip for meeting room set up / A/V staff     M Montgomery                              Miscellaneous   Tips
                                   1/31/2017                                                                                                              Show
2650   2017   146420   EXP-9901    1/16/2017-              Hayley Holmes         Account Executive   1/17/2017    Cash Tips   $   100.00 Las Vegas, NV    M. Montgomery travel to Vegas for 2017 SHOT       Cash tip for driver                              M Montgomery                              Miscellaneous   Tips
                                   1/31/2017                                                                                                              Show
2651   2017   146420   EXP-9901    1/16/2017-              Hayley Holmes         Account Executive   1/18/2017    Cash Tips   $   100.00 Las Vegas, NV    M. Montgomery travel to Vegas for 2017 SHOT       Cash tip for food / beverage server for meeting M Montgomery                               Miscellaneous   Tips
                                   1/31/2017                                                                                                              Show                                              room
2652   2017   146420   EXP-9901    1/16/2017-              Hayley Holmes         Account Executive   1/19/2017    Cash Tips   $   100.00 Las Vegas, NV    M. Montgomery travel to Vegas for 2017 SHOT       Cash tip for driver                              M Montgomery                              Miscellaneous   Tips
                                   1/31/2017                                                                                                              Show
2653   2017   147112   EXP-10033   1/30/2017 - 2/21/17     Hayley Holmes         Account Executive   2/10/2017    Cash Tips   $     5.00 Washington, DC   L. Duffy trip to DC for YFT event and meetings    Tip for bellman at Alexandrian hotel check-in    L Duffy                                   Miscellaneous   Tips
                                                                                                                                                          w/ NRA Executives (SG)
2654   2017   147112   EXP-10033   1/30/2017 - 2/21/17     Hayley Holmes         Account Executive   2/11/2017    Cash Tips   $     5.00 Washington, DC   L. Duffy trip to DC for YFT event and meetings    Tip for doorman at Ritz hotel check-in           L Duffy                                   Miscellaneous   Tips
                                                                                                                                                          w/ NRA Executives (SG)
2655   2017   147112   EXP-10033   1/30/2017 - 2/21/17     Hayley Holmes         Account Executive   2/12/2017    Cash Tips   $     5.00 Washington, DC   L. Duffy trip to DC for YFT event and meetings    Cash Tip for bags at airport                     L Duffy                                   Miscellaneous   Tips
                                                                                                                                                          w/ NRA Executives (SG)
2656   2017   147112   EXP-10033   1/30/2017 - 2/21/17     Hayley Holmes         Account Executive   2/10/2017    Cash Tips   $    10.00 Washington, DC   L. Duffy trip to DC for YFT event and meetings    For bags at airport                              L Duffy                                   Miscellaneous   Tips
                                                                                                                                                          w/ NRA Executives (SG)
2657   2017   147112   EXP-10033   1/30/2017 - 2/21/17     Hayley Holmes         Account Executive   2/10/2017    Cash Tips   $    10.00 Washington, DC   L. Duffy trip to DC for YFT event and meetings    Tip for doorman at Alexandrian hotel check-in    L Duffy                                   Miscellaneous   Tips
                                                                                                                                                          w/ NRA Executives (SG)
2658   2017   147112   EXP-10033   1/30/2017 - 2/21/17     Hayley Holmes         Account Executive   2/12/2017    Cash Tips   $    10.00 Washington, DC   L. Duffy trip to DC for YFT event and meetings    Tip for bellman at Ritz hotel check-out          L Duffy                                   Miscellaneous   Tips
                                                                                                                                                          w/ NRA Executives (SG)
2659   2017   147112   EXP-10033   1/30/2017 - 2/21/17     Hayley Holmes         Account Executive   2/11/2017    Cash Tips   $    10.00 Washington, DC   L. Duffy trip to DC for YFT event and meetings    Tip for bellman at Alexandrian hotel check-out L Duffy                                     Miscellaneous   Tips
                                                                                                                                                          w/ NRA Executives (SG)
2660   2017   147112   EXP-10033   1/30/2017 - 2/21/17     Hayley Holmes         Account Executive   2/11/2017    Cash Tips   $    10.00 Washington, DC   L. Duffy trip to DC for YFT event and meetings    Tip for bellman at Ritz hotel check-in           L Duffy                                   Miscellaneous   Tips
                                                                                                                                                          w/ NRA Executives (SG)
2661   2017   147112   EXP-10057   1/27/17 - 2/21/17       Hayley Holmes         Account Executive   2/9/2017     Cash Tips   $    20.00 Washington, DC   M. Montgomery travel to DC for YFT event &        Tip for bellman at Alexandrian upon check-in     M Montgomery                              Miscellaneous   Tips
                                                                                                                                                          meetings w/ NRA Execs
2662   2017   147112   EXP-10057   1/27/17 - 2/21/17       Hayley Holmes         Account Executive   2/11/2017    Cash Tips   $    20.00 Washington, DC   M. Montgomery travel to DC for YFT event &        Tip for bellman at the Ritz upon check-in        M Montgomery                              Miscellaneous   Tips
                                                                                                                                                          meetings w/ NRA Execs
2663   2017   147112   EXP-10057   1/27/17 - 2/21/17       Hayley Holmes         Account Executive   2/9/2017     Cash Tips   $   100.00 Washington, DC   M. Montgomery travel to DC for YFT event &        Tip for car service driver                       M Montgomery                              Miscellaneous   Tips
                                                                                                                                                          meetings w/ NRA Execs
2664   2017   147112   EXP-9983    1/15/17 - 2/15/17       Hayley Holmes         Account Executive   1/21/2017    Cash Tips   $     5.00 Las Vegas, NV    HH Travel to Vegas for 2017 SHOT Show             Cash tip for bags to Vegas airport               HH                                        Miscellaneous   Tips

2665   2017   147112   EXP-9983    1/15/17 - 2/15/17       Hayley Holmes         Account Executive   1/21/2017    Cash Tips   $     8.00 Las Vegas, NV    HH Travel to Vegas for 2017 SHOT Show             Wifi to work on plane                            HH                                        Miscellaneous   Other

2666   2017   147112   EXP-9983    1/15/17 - 2/15/17       Hayley Holmes         Account Executive   1/15/2017    Cash Tips   $    10.00 Las Vegas, NV    HH Travel to Vegas for 2017 SHOT Show             Cash Tip for doorman at the Wynn                 HH                                        Miscellaneous   Tips

2667   2017   147112   EXP-9983    1/15/17 - 2/15/17       Hayley Holmes         Account Executive   1/16/2017    Cash Tips   $    10.00 Las Vegas, NV    HH Travel to Vegas for 2017 SHOT Show             Cash Tip for box delivery                        HH                                        Miscellaneous   Tips

2668   2017   147112   EXP-9983    1/15/17 - 2/15/17       Hayley Holmes         Account Executive   1/21/2017    Cash Tips   $    10.00 Las Vegas, NV    HH Travel to Vegas for 2017 SHOT Show             Cash tip for bellman/bag at Venetian             HH                                        Miscellaneous   Tips

2669   2017   147112   EXP-9983    1/15/17 - 2/15/17       Hayley Holmes         Account Executive   1/15/2017    Cash Tips   $    20.00 Las Vegas, NV    HH Travel to Vegas for 2017 SHOT Show             Cash Tip for bellman/bags at hotel check in at   HH                                        Miscellaneous   Tips
                                                                                                                                                                                                            the Wynn
2670   2017   147112   EXP-9983    1/15/17 - 2/15/17       Hayley Holmes         Account Executive   1/19/2017    Cash Tips   $    20.00 Las Vegas, NV    HH Travel to Vegas for 2017 SHOT Show             Cash tip for box delivery to women's only meet HH                                          Miscellaneous   Tips
                                                                                                                                                                                                            and mingle
2671   2017   147112   EXP-9983    1/15/17 - 2/15/17       Hayley Holmes         Account Executive   1/20/2017    Cash Tips   $    20.00 Las Vegas, NV    HH Travel to Vegas for 2017 SHOT Show             Tip for box delivery to client/sponsor meeting   HH                                        Miscellaneous   Tips
                                                                                                                                                                                                            room
2672   2017   147112   EXP-9983    1/15/17 - 2/15/17       Hayley Holmes         Account Executive   1/21/2017    Cash Tips   $    20.00 Las Vegas, NV    HH Travel to Vegas for 2017 SHOT Show             Cash tip for bellman/bag at Wynn                 HH                                        Miscellaneous   Tips

2673   2017   147112   EXP-9983    1/15/17 - 2/15/17       Hayley Holmes         Account Executive   1/19/2017    Cash Tips   $    50.00 Las Vegas, NV    HH Travel to Vegas for 2017 SHOT Show             Cash tip for A/V setup in meeting room           HH                                        Miscellaneous   Tips




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2674   2017   147112   EXP-9983                1/15/17 - 2/15/17       Hayley Holmes         Account Executive      1/20/2017   Cash Tips                          $      50.00 Las Vegas, NV         HH Travel to Vegas for 2017 SHOT Show             Cash tip for A/V set up/staff in meeting room     HH                                  Miscellaneous    Tips

2675   2017   147112   EXP-9983                1/15/17 - 2/15/17       Hayley Holmes         Account Executive      1/15/2017   Cash Tips                          $     100.00 Las Vegas, NV         HH Travel to Vegas for 2017 SHOT Show             Cash tip for driver/car service                   HH                                  Miscellaneous    Tips

2676   2017   147112   EXP-9983                1/15/17 - 2/15/17       Hayley Holmes         Account Executive      1/19/2017   Cash Tips                          $     100.00 Las Vegas, NV         HH Travel to Vegas for 2017 SHOT Show             Cash tip for food/beverage service all day in     HH                                  Miscellaneous    Tips
                                                                                                                                                                                                                                                        meeting room
2677   2017   147112   EXP-9983                1/15/17 - 2/15/17       Hayley Holmes         Account Executive      1/20/2017   Cash Tips                          $     100.00 Las Vegas, NV         HH Travel to Vegas for 2017 SHOT Show             Tip for food/bev service all day in meeting       HH                                  Miscellaneous    Tips
                                                                                                                                                                                                                                                        room
2678   2017   147112   EXP-9983                1/15/17 - 2/15/17       Hayley Holmes         Account Executive      1/20/2017   Cash Tips                          $     100.00 Las Vegas, NV         HH Travel to Vegas for 2017 SHOT Show             Cash tip for driver/car service                   HH                                  Miscellaneous    Tips

2679   2017   147112   EXP-9983                1/15/17 - 2/15/17       Hayley Holmes         Account Executive      1/21/2017   Cash Tips                          $     100.00 Las Vegas, NV         HH Travel to Vegas for 2017 SHOT Show             Cash tip for driver/car service                   HH                                  Miscellaneous    Tips

2680   2017   147112   EXP-9983                1/15/17 - 2/15/17       Hayley Holmes         Account Executive      1/16/2017   Cash Tips                          $      10.00 Las Vegas, NV         HH Travel to Vegas for 2017 SHOT Show             Cash tip for bellman/bags at the Venetian during HH                                   Miscellaneous    Tips
                                                                                                                                                                                                                                                        check in for C. Noir
2681   2017   147112   EXP-9983                1/15/17 - 2/15/17       Hayley Holmes         Account Executive      1/17/2017   Cash Tips                          $      10.00 Las Vegas, NV         HH Travel to Vegas for 2017 SHOT Show             Cash Tip for box delivery                         HH                                  Miscellaneous    Tips

2682   2017   147112   EXP-9983                1/15/17 - 2/15/17       Hayley Holmes         Account Executive      1/16/2017   Cash Tips                          $      50.00 Las Vegas, NV         HH Travel to Vegas for 2017 SHOT Show             Cash Tip for A/V set up                           HH                                  Miscellaneous    Tips

2683   2017   147112   EXP-9983                1/15/17 - 2/15/17       Hayley Holmes         Account Executive      1/16/2017   Cash Tips                          $     100.00 Las Vegas, NV         HH Travel to Vegas for 2017 SHOT Show             Cash tip for driver/car service                   HH                                  Miscellaneous    Tips

2684   2017   147112   EXP-9983                1/15/17 - 2/15/17       Hayley Holmes         Account Executive      1/15/2017   Cash Tips                          $       5.00 Las Vegas, NV         HH Travel to Vegas for 2017 SHOT Show             Cash tip for bags at Dallas airport               HH                                  Miscellaneous    Tips

2685   2018   156967   EXP-11555               1/25/2018 - 2/3/2018    Jon Carter            Senior Associate       1/30/2018   Cash Tips                          $       2.00 Las Vegas, NV         Coordination & management of 2018 SCI event       cab called by valet                               Unknown                             Miscellaneous    Tips
                                                                                             Political Strategist                                                                                     and Cox speech
2686   2018   156967   EXP-11555               1/25/2018 - 2/3/2018    Jon Carter            Senior Associate       1/31/2018   Cash Tips                          $       2.00 Las Vegas, NV         Coordination & management of 2018 SCI event       cab called by valet                               Unknown                             Miscellaneous    Tips
                                                                                             Political Strategist                                                                                     and Cox speech
2544   2018   155996   Unknown                 Unknown                 Unknown               n/a                    2/26/2018   Carey International                $     191.80 Frederick, MD         Unknown                                           Passenger Ari Azimi; pick up from 150 Lilac       Ari Azimi                           Auto             Car Service
                                                                                                                                                                                                                                                        Lane Southlake TX, drop off at DFW
2545   2018   155996   Unknown                 Unknown                 Unknown               n/a                    2/26/2018   Carey International                $     191.80 Frederick, MD         Unknown                                           Passenger Ari Azimi; pick up from DFW, drop       Ari Azimi                           Auto             Car Service
                                                                                                                                                                                                                                                        off at 150 Lilac Lane Southlake
2295   2018   156967   Unknown                 Unknown                 Unknown               n/a                    2/10/2018   ABC Limo Service                   $     190.90 Virginia              Unknown                                           PU BWI DO Ritz Tyson's                            Luc Kammerer                        Auto             Car Service
                                                                                                                                                                                                                                                        Luc Kammerer (musician)
2412   2018   156967   EXP-11541               1/30/2018 - 2/4/2018    Patrick McCarty       Traffic Director       2/2/2018    Border Grill                       $     177.22 Las Vegas, NV         Patrick McCarty - expense from 1/30 - 2/4 for     dinner for Jon Carter , Megan Allen (client), and Jon Carter; Megan Allen (client)    Meal/Beverages   Group
                                                                                                                                                                                                      attending SCI to assist with Chris Cox's speech   PM
2691   2018   156967   EXP-11555               1/25/2018 - 2/3/2018    Jon Carter            Senior Associate       1/30/2018   Cash Tips                          $       3.00 Las Vegas, NV         Coordination & management of 2018 SCI event       cab called by valet                               Unknown                             Miscellaneous    Tips
                                                                                             Political Strategist                                                                                     and Cox speech
2692   2018   156967   EXP-11555               1/25/2018 - 2/3/2018    Jon Carter            Senior Associate       1/31/2018   Cash Tips                          $      10.00 Las Vegas, NV         Coordination & management of 2018 SCI event       concierge                                         Unknown                             Miscellaneous    Tips
                                                                                             Political Strategist                                                                                     and Cox speech
2294   2018   156967   Unknown                 Unknown                 Unknown               n/a                    2/22/2018   ABC Limo Service                   $     150.94 Virginia              Unknown                                           PU 201 n Union St                                 Unknown                             Auto             Car Service
                                                                                                                                                                                                                                                        ST 52 Wolfe St
2293   2018   156967   Unknown                 Unknown                 Unknown               n/a                    2/25/2018   ABC Limo Service                   $     136.79 Virginia              Unknown                                           IAD Signature to 52 Wolfe                         Unknown                             Auto             Car Service

2292   2018   156967   Unknown                 Unknown                 Unknown               n/a                    2/14/2018   ABC Limo Service                   $     118.45 Virginia              Unknown                                           52 Wolfe ST to IAD                                Unknown                             Auto             Car Service

2696   2018   156967   EXP-11555               1/25/2018 - 2/3/2018    Jon Carter            Senior Associate       1/30/2018   Cash Tips                          $      25.00 Las Vegas, NV         Coordination & management of 2018 SCI event       valet * bellman bags                              Unknown                             Miscellaneous    Tips
                                                                                             Political Strategist                                                                                     and Cox speech
3393   2018   155996   0948CFA77AEC415BB610    2/5/2018                Lacey Cremer/Duffy    SVP / Account          2/2/2018    Wynn                               $     117.00 Las Vegas, NV         Feb18                                             LD stay and MM/LD + client meals etc. for         LD; MM; client                      Meal/Beverages   Group
                                                                                             Supervisor                                                                                                                                                 meeting with NR exec
2397   2018   155996   5839ADFF31CAF4DB5B08D   2/5/2018                Hayley Holmes         Account Executive      2/8/2018    B&H Photo                          $     116.91 Unknown               Feb18                                             iPad travel protective cover/case for T. Makris   T Makris                            Miscellaneous    Other

3127   2018   156967   EXP-11555               1/25/2018 - 2/3/2018    Jon Carter            Senior Associate       2/2/2018    Pub 1843                           $     102.60 Las Vegas, NV         Coordination & management of 2018 SCI event       Lunch with P McCarty                              Jon Carter; P McCarty               Meal/Beverages   Group
                                                                                             Political Strategist                                                                                     and Cox speech
2700   2018   157570   EXP-11580               1/31/2018-              Hayley Holmes         Account Executive      1/31/2018   Cash Tips                          $       5.00 Unknown               L. Cremer travel to Vagas for NRATV meeting w/ Cash tip for bag check at airport                    L Cremer                            Miscellaneous    Tips
                                               2/1/2018                                                                                                                                               NRA Execs. (tv)
2710   2018   157570   EXP-11580               1/31/2018-              Hayley Holmes         Account Executive      2/1/2018    Cash Tips                          $     100.00 Unknown               L. Cremer travel to Vagas for NRATV meeting w/ Cash tip for driver                                  L Cremer                            Miscellaneous    Tips
                                               2/1/2018                                                                                                                                               NRA Execs. (tv)
2882   2018   156967   EXP-11555               1/25/2018 - 2/3/2018    Jon Carter            Senior Associate       2/3/2018    Emeril's New Orleans Fish House    $      94.40 Las Vegas, NV         Coordination & management of 2018 SCI event       Lunch with P McCarty                              Jon Carter; P McCarty               Meal/Beverages   Group
                                                                                             Political Strategist                                                                                     and Cox speech
2291   2018   156967   Unknown                 Unknown                 Unknown               n/a                    2/10/2018   ABC Limo Service                   $      94.30 Virginia              Unknown                                           PU DCA DO Ritz Tyson's; Bryan Frasher             Bryan Frasher                       Auto             Car Service

2704   2018   157570   EXP-11580               1/31/2018-              Hayley Holmes         Account Executive      1/31/2018   Cash Tips                          $      10.00 Unknown               L. Cremer travel to Vagas for NRATV meeting w/ Cash tip for doorman at hotel check in               L Cremer                            Miscellaneous    Tips
                                               2/1/2018                                                                                                                                               NRA Execs. (tv)
2881   2018   156967   EXP-11541               1/30/2018 - 2/4/2018    Patrick McCarty       Traffic Director       2/1/2018    Emeril's New Orleans Fish House    $      92.40 Las Vegas, NV         Patrick McCarty - expense from 1/30 - 2/4 for     lunch for Jon Carter and PM                       Jon Carter; Patrick McCarty         Meal/Beverages   Group
                                                                                                                                                                                                      attending SCI to assist with Chris Cox's speech
2706   2018   157570   EXP-11580               1/31/2018-              Hayley Holmes         Account Executive      1/31/2018   Cash Tips                          $      20.00 Unknown               L. Cremer travel to Vagas for NRATV meeting w/ Cash tip for bellman at check in                     L Cremer                            Miscellaneous    Tips
                                               2/1/2018                                                                                                                                               NRA Execs. (tv)
2290   2018   156967   Unknown                 Unknown                 Unknown               n/a                    2/11/2018   ABC Limo Service                   $      86.83 Virginia              Unknown                                           PU DCA DO Ritz Tyson's                            Unknown                             Auto             Car Service

2708   2018   157570   EXP-11580               1/31/2018-              Hayley Holmes         Account Executive      1/31/2018   Cash Tips                          $      50.00 Unknown               L. Cremer travel to Vagas for NRATV meeting w/ Cash tip for A/V set up in meeting room              L Cremer                            Miscellaneous    Tips
                                               2/1/2018                                                                                                                                               NRA Execs. (tv)
2709   2018   157570   EXP-11580               1/31/2018-              Hayley Holmes         Account Executive      1/31/2018   Cash Tips                          $     100.00 Unknown               L. Cremer travel to Vagas for NRATV meeting w/ Cash tip for driver                                  L Cremer                            Miscellaneous    Tips
                                               2/1/2018                                                                                                                                               NRA Execs. (tv)
2724   2018   156967   EXP-11555               1/25/2018 - 2/3/2018    Jon Carter            Senior Associate       2/3/2018    Charlottesville Airport            $      78.00 Charlottesville, VA   Coordination & management of 2018 SCI event       parking                                           Unknown                             Auto             Parking
                                                                                             Political Strategist                                                                                     and Cox speech
2711   2018   159388   EXP-11855               4/30/2018-              Eric Van Horn         Account Executive      5/2/2018    Cash Tips                          $      20.00 Unknown               EVH - Annual Meeting Expenses                     Cash Tips during EVH Annual Meeting; "Tip to      Unknown                             Miscellaneous    Tips             Invoice #159013 L. Cremer - Exp-11842 & Concur for 688.43 to
                                               5/6/2018                                                                                                                                                                                                 concierge at Hotel Zaza for package delivery                                                                            OOP (main costs for driving services)
2712   2018   159388   EXP-11855               4/30/2018-              Eric Van Horn         Account Executive      5/3/2018    Cash Tips                          $      20.00 Unknown               EVH - Annual Meeting Expenses                     Cash Tips during EVH Annual Meeting; "Tip to      Unknown                             Miscellaneous    Tips             Invoice #159013 L. Cremer - Exp-11842 & Concur for 688.43 to
                                               5/6/2018                                                                                                                                                                                                 concierge at Hotel Zaza for package delivery                                                                            OOP (main costs for driving services)
2713   2018   159388   EXP-11842               4/30/2018-              Lacey Cremer/Duffy    SVP / Account          5/7/2018    Cash Tips                          $     500.00 Unknown               LDC A/M Expenses                                  Cash Tips for LDC A/M Expenses                    Unknown                             Miscellaneous    Tips
                                               5/7/2018                                      Supervisor
2714   2018   159388   EXP-11855               4/30/2018-              Eric Van Horn         Account Executive      5/6/2018    Cash Tips                          $      20.00 Unknown               EVH - Annual Meeting Expenses                     Cash Tips during EVH Annual Meeting; "Tip to      Unknown                             Miscellaneous    Tips             Invoice #159013 L. Cremer - Exp-11842 & Concur for 688.43 to
                                               5/6/2018                                                                                                                                                                                                 concierge at Rosewood Mansion for package                                                                               OOP (main costs for driving services)
2715   2018   159388   EXP-11855               4/30/2018-              Eric Van Horn         Account Executive      5/2/2018    Cash Tips                          $     100.00 Unknown               EVH - Annual Meeting Expenses                     Cash Tips during EVH Annual Meeting; "Tip to      Unknown                             Miscellaneous    Tips             Invoice #159013 L. Cremer - Exp-11842 & Concur for 688.43 to
                                               5/6/2018                                                                                                                                                                                                 driver for client/staff transportation"                                                                                 OOP (main costs for driving services)
2716   2018   159388   EXP-11855               4/30/2018-              Eric Van Horn         Account Executive      5/4/2018    Cash Tips                          $     100.00 Unknown               EVH - Annual Meeting Expenses                     Cash Tips during EVH Annual Meeting; "Tip to      Unknown                             Miscellaneous    Tips             Invoice #159013 L. Cremer - Exp-11842 & Concur for 688.43 to
                                               5/6/2018                                                                                                                                                                                                 driver for client/staff transportation"                                                                                 OOP (main costs for driving services)
2717   2018   158521   Unknown                 Unknown                 Unknown               n/a                    5/8/2018    Debbie Dover                       $      72.98 Joelton, TN           Unknown                                           Unknown                                           Susan LaPierrre                     Miscellaneous    Other            Invoice billed to NRA Convention/Susan LaPierre; not signed

2718   2018   158521   Unknown                 Unknown                 Unknown               n/a                    5/7/2018    Debbie Dover                       $      50.00 Joelton, TN           Unknown                                           Hayley Holmes - Processing Fee                    Hayley Holmes; Susan LaPierre       Miscellaneous    Other            Invoice is approved by Hayley Holmes but billed to Susan
                                                                                                                                                                                                                                                                                                                                                                                LaPierre/NRA Convention/ vendor didn’t submit estimate prior to
2719   2018   158521   Unknown                 Unknown                 Unknown               n/a                    5/7/2018    Debbie Dover                       $    7,500.00 Joelton, TN          Unknown                                           Hayley Holmes - Full Day 1500                     Hayley Holmes; Susan LaPierre       Miscellaneous    Other            Invoice is approved by Hayley Holmes but Billed to Susan
                                                                                                                                                                                                                                                                                                                                                                                LaPierre/NRA Convention/ vendor didn’t submit estimate prior to
2720   2018   158521   Unknown                 Unknown                 Unknown               n/a                    5/7/2018    Debbie Dover                       $     750.00 Joelton, TN           Unknown                                           Hayley Holmes - NRA travel rate                   Hayley Holmes; Susan LaPierre       Travel           Other            Invoice is approved by Hayley Holmes but Billed to Susan
                                                                                                                                                                                                                                                                                                                                                                                LaPierre/NRA Convention/ vendor didn’t submit estimate prior to
2721   2018   154261   Unknown                 Unknown                 Unknown               n/a                    11/1/2017   I.I. & I.S Inc.                    $    4,000.00 Woodland Hills, CA   Unknown                                           November - travel coordination                    Unknown                             Travel           Travel Service

2722   2018   155520   Unknown                 Unknown                 Unknown               n/a                    1/5/2018    Brady Wardlaw                      $      85.29 Mt. Juliet, TN        Unknown                                           Lyft (36.24 and 17.05) and Cantina Laredo (32); Unknown                               Auto             Taxi
                                                                                                                                                                                                                                                        re Makeup for headshots and events - Dallas,
2723   2016   140440   EXP-7759                5/5/2016 to 6/24/16     Hayley Holmes         Account Executive      5/19/2016   Champ                              $      56.76 Louisville, KY        Expense report states 'L. Duffy travel/expenses   lunch for HH, LD, MM, Gabby Franco                Lacey Duffy; HH; MM; Gabby Franco   Meal/Beverages   Group
                                                                                                                                                                                                      for the 2016 knar a/m in louisville (SG)'
2937   2018   155996   Unknown                 Unknown                 Unknown               n/a                    2/1/2018    Gaedeke Holdings/Granite Properties $     75.78 Dallas, TX            Unknown                                           Woody's parking in Dallas                         Woody                               Auto             Parking

2725   2016   136859   EXP-6784                1/22/2002 - 2/17/2016   Hayley Holmes         Account Executive      1/18/2016   ChickFilA                          $       3.78 Las Vegas, NV         LD SHOT Show Travel/Expenses (DG)                 Meal for LD                                       LD                                  Meal/Beverages   Individual

2726   2017   148749   E43A14921EC446BCB1A5    4/28/2017               Eric Van Horn         Account Executive      4/27/2017   Cigar Times                        $      11.34 Unknown               April Expenses                                    Cigar materials for Tony Makris event             Tony Makris                         Miscellaneous    Gift




                                                                                                                                                                                                                                                                                                                                                                                                                          APP. 02057
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2727   2017   148749          E43A14921EC446BCB1A5    4/28/2017                Eric Van Horn         Account Executive      4/25/2017   Cigar Times              $    246.08 Unknown             April Expenses                                    Cigar materials for Tony Makris event           Tony Makris                                    Miscellaneous    Gift

2728   2017   146420          EXP-9895                1/19/2016-               Hayley Holmes         Account Executive      1/20/2017   Coffee Bean & Tea Leaf   $      9.60 Las Vegas, NV       L. Duffy travel to Las Vegas fpr 2017 SHOT Show Coffee/Bagel at the airport                       L Duffy                                        Meal/Beverages   Individual
                                                      2/8/2017                                                                                                                                   (SG)
2729   2017   148014          EXP-10252               1/19/2017 - 3/23/2017    Hayley Holmes         Account Executive      1/23/2017   Coffee Bean & Tea Leaf   $      7.55 Unknown             HH SHOT Show Clean Up report                      Coffee for D. Lasorte & HH at the airport (no   D LaSorte; HH                                  Meal/Beverages   Group
                                                                                                                                                                                                                                                   receipt)
2730   2016   136165          Unknown                 Unknown                  Unknown               n/a                    1/7/2016    Colonial Parking         $    356.00 Baltimore, MD       Unknown                                           Reserved monthly parking for 1 parker @         Unknown                                        Auto             Parking
                                                                                                                                                                                                                                                   $356.00
2731   2016   136859          Unknown                 Unknown                  Unknown               n/a                    2/8/2016    Colonial Parking         $    356.00 Unknown             Unknown                                           Reserved monthly parking for 1 parker @         Unknown                                        Auto             Parking
                                                                                                                                                                                                                                                   $356.00
2732   2018   155520          Unknown                 Unknown                  Unknown               n/a                    1/4/2018    Debbie Dover             $   3,800.00 Joelton, TN        Unknown                                           Full Day 1500 x 2, Half day Travel 750,         Hayley Holmes                                  Miscellaneous    Other
                                                                                                                                                                                                                                                   Processing Fee 50
2733   2016   138653          Unknown                 Unknown                  Unknown               n/a                    4/6/2016    Colonial Parking         $    356.00 Washington, DC      Unknown                                           Parking - Tyler and Woody                       Tyler; Woody                                   Auto             Parking

2734   2016   139727          Unknown                 Unknown                  Unknown               n/a                    6/1/2016    Colonial Parking         $    356.00 Baltimore, MD       Unknown                                           Reserved monthly parking for 1 parker @         Unknown                                        Auto             Parking
                                                                                                                                                                                                                                                   $356.00
2735   2016   140440          Unknown                 Unknown                  Unknown               n/a                    6/1/2016    Colonial Parking         $    356.00 Unknown             Unknown                                           Reserved monthly parking for 1 parker @         Unknown                                        Auto             Parking
                                                                                                                                                                                                                                                   $356.00
2736   2016   141517          Unknown                 Unknown                  Unknown               n/a                    8/1/2016    Colonial Parking         $    356.00 Washington, DC      Unknown                                           Reserved monthly parking for 1 parker @         Unknown                                        Auto             Parking
                                                                                                                                                                                                                                                   $356.00
2737   2016   142347          Unknown                 Unknown                  Unknown               n/a                    7/6/2016    Colonial Parking         $    356.00 Baltimore, MD       Unknown                                           Reserved parking for 1 spot @ 356.00            The Mercury Group                              Auto             Parking

2738   2017   143169          Unknown                 Unknown                  Unknown               n/a                    10/1/2016   Colonial Parking         $    356.00 Unknown             Unknown                                           Unknown                                         Unknown                                        Auto             Parking

2739   2016   143559          Unknown                 Unknown                  Unknown               n/a                    11/1/2016   Colonial Parking         $    356.00 Washington, DC      Unknown                                           Reserved parking                                Unknown                                        Auto             Parking

2740   2017   144737          Unknown                 Unknown                  Unknown               n/a                    12/1/2016   Colonial Parking         $    534.00 Washington, DC      Unknown                                           Parking Spot fo 16 @178 and 2 for 356           Unknown                                        Auto             Parking

2741   2017   145564          Unknown                 Unknown                  Unknown               n/a                    11/1/2017   Colonial Parking         $    534.00 Washington, DC      Unknown                                           15 Parkers (Regular @ 178); 2 Parkers           Unknown                                        Auto             Parking
                                                                                                                                                                                                                                                   (Reserved @356)
2742   2017   146420          Unknown                 Unknown                  Unknown               n/a                    2/1/2017    Colonial Parking         $    356.00 Unknown             Unknown                                           Unknown                                         G Peterson; Tyler Schropp                      Auto             Parking

2743   2017   147112          Unknown                 Unknown                  Unknown               n/a                    3/1/2017    Colonial Parking         $    356.00 Oklahoma City, OK   Unknown                                           Parking                                         G Peterson; Tyler Schropp                      Auto             Parking

2744   2017   148014          Unknown                 Unknown                  Unknown               n/a                    4/1/2017    Colonial Parking         $    356.00 Unknown             Unknown                                           Unknown                                         Unknown                                        Auto             Parking

2745   2017   148749          Unknown                 Unknown                  Unknown               n/a                    5/1/2017    Colonial Parking         $    356.00 Washington, DC      Unknown                                           Unknown                                         Unknown                                        Auto             Parking

2746   2017   149459          Unknown                 Unknown                  Unknown               n/a                    6/1/2017    Colonial Parking         $    356.00 Unknown             Unknown                                           Unknown                                         G Peterson; Tyler Schropp                      Auto             Parking

2747   2017   150457          Unknown                 Unknown                  Unknown               n/a                    7/1/2017    Colonial Parking         $    356.00 Unknown             Unknown                                           Unknown                                         G Peterson; Tyler Schropp                      Auto             Parking

2748   2017   150823          Unknown                 Unknown                  Unknown               n/a                    7/6/2017    Colonial Parking         $    356.00 Washington, DC      Unknown                                           Unknown                                         Unknown                                        Auto             Parking

2749   2017   151745          Unknown                 Unknown                  Unknown               n/a                    8/7/2017    Colonial Parking         $    356.00 Unknown             Unknown                                           Reserved monthly parking for 1 parker @         Unknown                                        Auto             Parking
                                                                                                                                                                                                                                                   $356.00
2750   2017   152775          Unknown                 Unknown                  Unknown               n/a                    9/6/2017    Colonial Parking         $    356.00 Unknown             Unknown                                           Reserved monthly parking for 1 parker @         Unknown                                        Auto             Parking
                                                                                                                                                                                                                                                   $356.00
2751   2017   153476          Unknown                 Unknown                  Unknown               n/a                    11/1/2017   Colonial Parking         $    356.00 Washington, DC      Unknown                                           Unknown                                         Unknown                                        Auto             Parking

2752   2018   154261          Unknown                 Unknown                  Unknown               n/a                    12/1/2017   Colonial Parking         $    356.00 Washington, DC      Unknown                                           Monthly cost for 1 reserved parking space       Unknown                                        Auto             Parking

2753   2018   154707          Unknown                 Unknown                  Unknown               n/a                    1/1/2018    Colonial Parking         $    356.00 Baltimore, MD       Unknown                                           Reserved monthly parking for 1 parker @         Unknown                                        Auto             Parking
                                                                                                                                                                                                                                                   $356.00
2699   2018   156967          EXP-11555               1/25/2018 - 2/3/2018     Jon Carter            Senior Associate       2/3/2018    Cash Tips                $     75.00 Las Vegas, NV       Coordination & management of 2018 SCI event       tip for housekeeping for 6 days                 Unknown                                        Miscellaneous    Tips
                                                                                                     Political Strategist                                                                        and Cox speech
2755   2018   156967          Unknown                 Unknown                  Unknown               n/a                    3/1/2018    Colonial Parking         $    356.00 Washington, DC      Unknown                                           Parking- Tyler and G Peterson                   G Peterson; Tyler                              Auto             Parking

2756   2018   157570          Unknown                 Unknown                  Unknown               n/a                    4/1/2018    Colonial Parking         $    356.00 Unknown             Unknown                                           Unknown                                         G Peterson; Tyler Schropp                      Auto             Parking

2757   2018   158521          Unknown                 Unknown                  Unknown               n/a                    5/1/2018    Colonial Parking         $    356.00 Washington, DC      Unknown                                           Parking - Tyler and G. Peterson                 G Peterson; Tyler                              Auto             Parking

2758   2018   160161          Unknown                 Unknown                  Unknown               n/a                    7/1/2018    Colonial Parking         $    356.00 Unknown             Unknown                                           Unknown                                         G Peterson; Tyler Schropp; The Mercury Group   Auto             Parking

2759   2018   160896          Unknown                 Unknown                  Unknown               n/a                    8/1/2018    Colonial Parking         $    356.00 Baltimore, MD       Unknown                                           Reserved monthly parking for 1 parker @         Unknown                                        Auto             Parking
                                                                                                                                                                                                                                                   $356.00
2760   2018   154706/155170   Unknown                 Unknown                  Unknown               n/a                    4/1/2018    Colonial Parking         $    356.00 Unknown             Unknown                                           Unknown                                         G Peterson; Tyler Schropp                      Auto             Parking

2761   2017   147112          EXP-9983                1/15/17 - 2/15/17        Hayley Holmes         Account Executive      1/17/2017   Convention Floor         $      9.00 Las Vegas, NV       HH Travel to Vegas for 2017 SHOT Show             Waters on the show floor for HH, LD, C.         HH; LD; NC                                     Meal/Beverages   Group
                                                                                                                                                                                                                                                   Fiandt
2762   2017   147112          EXP-9983                1/15/17 - 2/15/17        Hayley Holmes         Account Executive      1/19/2017   Convention Floor         $      9.00 Las Vegas, NV       HH Travel to Vegas for 2017 SHOT Show             Waters on the show floor for HH, LD, NC         HH; LD; NC                                     Meal/Beverages   Group

2763   2018   155520          F5EFF307B84F4419C9E49   1/31/2018                Hayley Holmes         Account Executive      1/1/2018    Southwest                $    735.96 Unknown             JAN18                                             Flight for Deb Dover (make up artist) for NRA Deb Dover                                        Travel           Airfare
                                                                                                                                                                                                                                                   exec. Photo shoot
2764   2018   156967          EXP-11541               1/30/2018 - 2/4/2018     Patrick McCarty       Traffic Director       1/30/2018   Craftsteak               $    224.03 Las Vegas, NV       Patrick McCarty - expense from 1/30 - 2/4 for     dinner for Jon Carter and PM                    Jon Carter; Patrick McCarty                    Meal/Beverages   Group
                                                                                                                                                                                                 attending SCI to assist with Chris Cox's speech
2765   2016   136859          EXP-6907                1/8/2016 - 2/17/2016     Hayley Holmes         Account Executive      1/18/2016   Cru Love Field           $     43.81 Dallas, TX          MM SHOT Show Travel/Expenses                      Dinner for LD/MM at airport                     LD; MM                                         Meal/Beverages   Group

2766   2018   154707          02528FE380E14576A01F    1/16/2018                Eric Van Horn         Account Executive      1/3/2018    CVS                      $      9.99 Unknown             January                                           Cold medicine for Tony Makris                   Tony Makris                                    Miscellaneous    Other

2767   2016   136859          EXP-6939                2/19/2016 - 2/20/2016    Hayley Holmes         Account Executive      2/19/2016   CXIII/Landini Brothers   $   5,848.70 Alexandria, VA     Meeting room rental for NRA Meetings re NRA       December meals                                  Hayley Holmes                                  Meal/Beverages   Group
                                                                                                                                                                                                 LOD, NRAW, Digital Work, etc.
2768   2016   136859          EXP-7013                1/31/2016 - 3/3/2016     Hayley Holmes         Account Executive      1/31/2016   CXIII/Landini Brothers   $   1,750.00 Alexandria, VA     Meeting room rental for NRA meetings re NRA       January meals                                   Hayley Holmes                                  Meal/Beverages   Group
                                                                                                                                                                                                 LOD, NRAW, Digital Work, etc
2769   2016   138653          EXP-7553                5/4/2016 - 5/10/2016     Hayley Holmes         Account Executive      5/4/2016    CXIII/Landini Brothers   $   1,750.00 Alexandria, VA     Meeting room rental for NRA meetings re NRA       March Meals (minimum amount per contact)        Hayley Holmes                                  Meal/Beverages   Group
                                                                                                                                                                                                 LOD, NRAW, Digital Work, etc.
2770   2016   138653          EXP-7553                5/4/2016 - 5/10/2016     Hayley Holmes         Account Executive      5/4/2016    CXIII/Landini Brothers   $   1,750.00 Alexandria, VA     Meeting room rental for NRA meetings re NRA       April Meals (minimum amount per contact)        Hayley Holmes                                  Meal/Beverages   Group
                                                                                                                                                                                                 LOD, NRAW, Digital Work, etc.
2771   2016   138653          EXP-7553                5/4/2016 - 5/10/2016     Hayley Holmes         Account Executive      5/4/2016    CXIII/Landini Brothers   $   5,905.86 Alexandria, VA     Meeting room rental for NRA meetings re NRA       February Meals                                  Hayley Holmes                                  Meal/Beverages   Group
                                                                                                                                                                                                 LOD, NRAW, Digital Work, etc.
2772   2018   158521          EB623CB0188A454DB4D9    5/2/2018                 Jeff Minson           Financial Analyst      5/14/2018   CXIII/Landini Brothers   $   3,208.02 Alexandria, VA     May Billable                                      4/11/18: $817.86 TM, MD, WLP, SH, JP            TM; MD; WLP; SH; JP; A Castellanos; LO; CN     Meal/Beverages   Group
                                                                                                                                                                                                                                                   4/13/18: $545.96 same as 11th
2773   2016   143559          EXP-9180                5/1/2016 to 11/10/2016   Hayley Holmes         Account Executive      5/1/2016    CXIII/Landini Brothers   $   1,750.00 Alexandria, VA     meeting room rental for NRA meetings re           May meals (minimum amount per contract)         Unknown                                        Meal/Beverages   Group
                                                                                                                                                                                                 NRATV, LOD, NRAW<DIGITAL work (tv -
2774   2016   143559          EXP-9180                5/1/2016 to 11/10/2016   Hayley Holmes         Account Executive      7/1/2016    CXIII/Landini Brothers   $   1,750.00 Alexandria, VA     meeting room rental for NRA meetings re           July meals ( minimum amount per contract)       Unknown                                        Meal/Beverages   Group
                                                                                                                                                                                                 NRATV, LOD, NRAW<DIGITAL work (tv -
2775   2016   143559          EXP-9180                5/1/2016 to 11/10/2016   Hayley Holmes         Account Executive      8/1/2016    CXIII/Landini Brothers   $   1,750.00 Alexandria, VA     meeting room rental for NRA meetings re           august meals (minimum amount per contract)      Unknown                                        Meal/Beverages   Group
                                                                                                                                                                                                 NRATV, LOD, NRAW<DIGITAL work (tv -
2776   2016   143559          EXP-9180                5/1/2016 to 11/10/2016   Hayley Holmes         Account Executive      9/1/2016    CXIII/Landini Brothers   $   1,750.00 Alexandria, VA     meeting room rental for NRA meetings re           September meals (minimum amount per             Unknown                                        Meal/Beverages   Group
                                                                                                                                                                                                 NRATV, LOD, NRAW<DIGITAL work (tv -               contract)
2777   2016   143559          EXP-9180                5/1/2016 to 11/10/2016   Hayley Holmes         Account Executive      10/1/2016   CXIII/Landini Brothers   $   1,750.00 Alexandria, VA     meeting room rental for NRA meetings re           October meals (minimum amount per contract) Unknown                                            Meal/Beverages   Group
                                                                                                                                                                                                 NRATV, LOD, NRAW<DIGITAL work (tv -
2778   2016   143559          EXP-9180                5/1/2016 to 11/10/2016   Hayley Holmes         Account Executive      6/1/2016    CXIII/Landini Brothers   $   1,967.07 Alexandria, VA     meeting room rental for NRA meetings re           June meals                                      Unknown                                        Meal/Beverages   Group
                                                                                                                                                                                                 NRATV, LOD, NRAW<DIGITAL work (tv -
2779   2017   144737          EXP-9238                6/30/2016 - 11/17/2016   Terri Voskuhl         Unknown                6/30/2016   CXIII/Landini Brothers   $   (720.33) Alexandria, VA     correct Landini reported on Exp#9180 - minimum June charges total $964.52 and Landini charged Unknown                                            Event            Room Rental
                                                                                                                                                                                                 $1750 was not charged as per contract             65.15 for minimum charge. Total is 1029.67




                                                                                                                                                                                                                                                                                                                                                                                 APP. 02058
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2780   2017   144737   EXP-9238               6/30/2016 - 11/17/2016   Terri Voskuhl         Unknown                8/31/2016   CXIII/Landini Brothers   $   (369.10) Alexandria, VA   correct Landini reported on Exp#9180 - minimum Aug charges total 964.52 and Landini charged     Unknown              Event            Room Rental
                                                                                                                                                                                       $1750 was not charged as per contract           677.35 for minimum charge. Tota is 1380.9
2781   2016   137631   Unknown                Unknown                  Unknown               n/a                    3/25/2016   Wynn                     $    (56.00) Las Vegas, NV    Unknown                                         Travel advance for Lacey Duffy - Reverse        Lacey Duffy          Travel           Lodging
                                                                                                                                                                                                                                       adjustment to Wynne Hotel for L Duffy during
2782   2017   148749   EXP-10372              1/11/2017 - 4/18/2017    Hayley Holmes         Account Executive      2/11/2017   CXIII/Landini Brothers   $   3,500.00 Alexandria, VA   Meeting room rental for NRA meetings re         February meals                               Unknown                 Meal/Beverages   Group
                                                                                                                                                                                       NRATB, LOD, NRAW, CCI, Digital Work, etc.
2783   2017   148749   EXP-10372              1/11/2017 - 4/18/2017    Hayley Holmes         Account Executive      3/11/2017   CXIII/Landini Brothers   $   3,500.00 Alexandria, VA   Meeting room rental for NRA meetings re         March meals                                     Unknown              Meal/Beverages   Group
                                                                                                                                                                                       NRATB, LOD, NRAW, CCI, Digital Work, etc.
2784   2017   148749   EXP-10372              1/11/2017 - 4/18/2017    Hayley Holmes         Account Executive      1/11/2017   CXIII/Landini Brothers   $   4,142.99 Alexandria, VA   Meeting room rental for NRA meetings re         January meals                                   Unknown              Meal/Beverages   Group
                                                                                                                                                                                       NRATB, LOD, NRAW, CCI, Digital Work, etc.
2785   2017   152775   EXP-11137              2/8/2017 - 10/3/2017     Shahada Kari          Production Assistant   2/8/2017    CXIII/Landini Brothers   $   (104.78) Alexandria, VA   Meeting room rental for NRA meetings re         previously reported on Nader's card             Nader Tavangar       Event            Room Rental
                                                                                                                                                                                       NRATV, LOD, NRAW, CCI, Digital Work, etc
2786   2017   152775   EXP-11137              2/8/2017 - 10/3/2017     Shahada Kari          Production Assistant   6/12/2017   CXIII/Landini Brothers   $     22.48 Alexandria, VA    Meeting room rental for NRA meetings re         may meals for chris cox                         Chris Cox            Meal/Beverages   Individual
                                                                                                                                                                                       NRATV, LOD, NRAW, CCI, Digital Work, etc
2787   2017   152775   EXP-11137              2/8/2017 - 10/3/2017     Shahada Kari          Production Assistant   2/8/2017    CXIII/Landini Brothers   $     84.18 Alexandria, VA    Meeting room rental for NRA meetings re         Jan meals for Bill Powers                       Bill Powers          Meal/Beverages   Individual
                                                                                                                                                                                       NRATV, LOD, NRAW, CCI, Digital Work, etc
2788   2017   152775   EXP-11137              2/8/2017 - 10/3/2017     Shahada Kari          Production Assistant   5/9/2017    CXIII/Landini Brothers   $    221.53 Alexandria, VA    Meeting room rental for NRA meetings re         april meals for bill powers                     Bill Powers          Meal/Beverages   Individual
                                                                                                                                                                                       NRATV, LOD, NRAW, CCI, Digital Work, etc
2789   2017   152775   EXP-11137              2/8/2017 - 10/3/2017     Shahada Kari          Production Assistant   5/9/2017    CXIII/Landini Brothers   $    302.29 Alexandria, VA    Meeting room rental for NRA meetings re         april meals for chris cox                       Chris Cox            Meal/Beverages   Individual
                                                                                                                                                                                       NRATV, LOD, NRAW, CCI, Digital Work, etc
2790   2017   152775   EXP-11137              2/8/2017 - 10/3/2017     Shahada Kari          Production Assistant   6/12/2017   CXIII/Landini Brothers   $    393.17 Alexandria, VA    Meeting room rental for NRA meetings re         may meals for bill powers                       Bill Powers          Meal/Beverages   Individual
                                                                                                                                                                                       NRATV, LOD, NRAW, CCI, Digital Work, etc
2791   2017   152775   EXP-11137              2/8/2017 - 10/3/2017     Shahada Kari          Production Assistant   8/9/2017    CXIII/Landini Brothers   $    456.26 Alexandria, VA    Meeting room rental for NRA meetings re         july meals for chris cox                        Chris Cox            Meal/Beverages   Individual
                                                                                                                                                                                       NRATV, LOD, NRAW, CCI, Digital Work, etc
2792   2017   152775   EXP-11137              2/8/2017 - 10/3/2017     Shahada Kari          Production Assistant   2/8/2017    CXIII/Landini Brothers   $    499.56 Alexandria, VA    Meeting room rental for NRA meetings re         Jan meals for chris cox                         Chris Cox            Meal/Beverages   Individual
                                                                                                                                                                                       NRATV, LOD, NRAW, CCI, Digital Work, etc
2793   2017   152775   EXP-11137              2/8/2017 - 10/3/2017     Shahada Kari          Production Assistant   8/9/2017    CXIII/Landini Brothers   $    732.98 Alexandria, VA    Meeting room rental for NRA meetings re         july meals for bill powers                      Bill Powers          Meal/Beverages   Individual
                                                                                                                                                                                       NRATV, LOD, NRAW, CCI, Digital Work, etc
2794   2017   152775   EXP-11137              2/8/2017 - 10/3/2017     Shahada Kari          Production Assistant   7/6/2017    CXIII/Landini Brothers   $    847.01 Alexandria, VA    Meeting room rental for NRA meetings re         june meals for lacey duffy-- account was        Lacey Duffy          Meal/Beverages   Individual
                                                                                                                                                                                       NRATV, LOD, NRAW, CCI, Digital Work, etc        charged to hit the 3500 charge/month
2795   2017   152775   EXP-11137              2/8/2017 - 10/3/2017     Shahada Kari          Production Assistant   8/9/2017    CXIII/Landini Brothers   $    959.84 Alexandria, VA    Meeting room rental for NRA meetings re         July meals for lacey duffy--account was charged Lacey Duffy          Meal/Beverages   Individual
                                                                                                                                                                                       NRATV, LOD, NRAW, CCI, Digital Work, etc        to hit the 3500 charge/month
2796   2017   152775   EXP-11137              2/8/2017 - 10/3/2017     Shahada Kari          Production Assistant   8/9/2017    CXIII/Landini Brothers   $    968.07 Alexandria, VA    Meeting room rental for NRA meetings re         july meals for josh                             Josh                 Meal/Beverages   Individual
                                                                                                                                                                                       NRATV, LOD, NRAW, CCI, Digital Work, etc
2797   2017   152775   EXP-11137              2/8/2017 - 10/3/2017     Shahada Kari          Production Assistant   5/9/2017    CXIII/Landini Brothers   $    978.04 Alexandria, VA    Meeting room rental for NRA meetings re         april meals for josh                            Josh                 Meal/Beverages   Individual
                                                                                                                                                                                       NRATV, LOD, NRAW, CCI, Digital Work, etc
2798   2017   152775   EXP-11137              2/8/2017 - 10/3/2017     Shahada Kari          Production Assistant   6/12/2017   CXIII/Landini Brothers   $   1,319.45 Alexandria, VA   Meeting room rental for NRA meetings re         may meals for josh                              Josh                 Meal/Beverages   Individual
                                                                                                                                                                                       NRATV, LOD, NRAW, CCI, Digital Work, etc
2799   2017   152775   EXP-11137              2/8/2017 - 10/3/2017     Shahada Kari          Production Assistant   5/9/2017    CXIII/Landini Brothers   $   1,515.54 Alexandria, VA   Meeting room rental for NRA meetings re         april meals for lacey duffy--account was charged Lacey Duffy         Meal/Beverages   Individual
                                                                                                                                                                                       NRATV, LOD, NRAW, CCI, Digital Work, etc        to hit the $3500 charge/month
2800   2017   152775   EXP-11137              2/8/2017 - 10/3/2017     Shahada Kari          Production Assistant   6/12/2017   CXIII/Landini Brothers   $   1,764.90 Alexandria, VA   Meeting room rental for NRA meetings re         may meals for lacey duffy- $156.79. Charged an Lacey Duffy           Meal/Beverages   Individual
                                                                                                                                                                                       NRATV, LOD, NRAW, CCI, Digital Work, etc        extra amount of 1608.11 on this account to hit
2801   2017   152775   EXP-11137              2/8/2017 - 10/3/2017     Shahada Kari          Production Assistant   7/6/2017    CXIII/Landini Brothers   $   2,652.99 Alexandria, VA   Meeting room rental for NRA meetings re         june meals for josh                            Josh                  Meal/Beverages   Individual
                                                                                                                                                                                       NRATV, LOD, NRAW, CCI, Digital Work, etc
2802   2017   152775   EXP-11137              2/8/2017 - 10/3/2017     Shahada Kari          Production Assistant   2/8/2017    CXIII/Landini Brothers   $   3,454.47 Alexandria, VA   Meeting room rental for NRA meetings re         jan meals for josh                              Josh                 Meal/Beverages   Individual
                                                                                                                                                                                       NRATV, LOD, NRAW, CCI, Digital Work, etc
2803   2017   152775   EXP-11140              9/7/2017 - 10/3/2017     Shahada Kari          Production Assistant   9/7/2017    CXIII/Landini Brothers   $     85.67 Alexandria, VA    Meeting room rental for NRA meetings re         august meals for chris cox                      Chris Cox            Meal/Beverages   Individual
                                                                                                                                                                                       NRATV, LOD, NRAW, CCI, Digital Work, etc
2804   2017   152775   EXP-11140              9/7/2017 - 10/3/2017     Shahada Kari          Production Assistant   9/7/2017    CXIII/Landini Brothers   $    537.58 Alexandria, VA    Meeting room rental for NRA meetings re         august meals for melanie montgomery             Melanie Montgomery   Meal/Beverages   Individual
                                                                                                                                                                                       NRATV, LOD, NRAW, CCI, Digital Work, etc
2805   2017   152775   EXP-11140              9/7/2017 - 10/3/2017     Shahada Kari          Production Assistant   9/7/2017    CXIII/Landini Brothers   $   2,061.87 Alexandria, VA   Meeting room rental for NRA meetings re         august meals for josh                           Josh                 Meal/Beverages   Individual
                                                                                                                                                                                       NRATV, LOD, NRAW, CCI, Digital Work, etc
2806   2017   152775   EXP-11140              9/7/2017 - 10/3/2017     Shahada Kari          Production Assistant   9/7/2017    CXIII/Landini Brothers   $   2,238.43 Alexandria, VA   Meeting room rental for NRA meetings re         august meals for lehman                         Lehman               Meal/Beverages   Individual
                                                                                                                                                                                       NRATV, LOD, NRAW, CCI, Digital Work, etc
2807   2017   152775   EXP-11152              1/11/2017 - 10/3/2017    Shahada Kari          Production Assistant   1/11/2017   CXIII/Landini Brothers   $    232.78 Alexandria, VA    Meeting room rental for NRA meetings re         december meals for chris cox                    Chris Cox            Meal/Beverages   Individual
                                                                                                                                                                                       NRATV, LOD, NRAW, CCI, Digital Work, etc
2808   2017   152775   EXP-11152              1/11/2017 - 10/3/2017    Shahada Kari          Production Assistant   1/11/2017   CXIII/Landini Brothers   $    243.55 Alexandria, VA    Meeting room rental for NRA meetings re         december meals for josh powell                  Josh Powell          Meal/Beverages   Individual
                                                                                                                                                                                       NRATV, LOD, NRAW, CCI, Digital Work, etc
2809   2017   152775   EXP-11152              1/11/2017 - 10/3/2017    Shahada Kari          Production Assistant   1/11/2017   CXIII/Landini Brothers   $    555.86 Alexandria, VA    Meeting room rental for NRA meetings re         december meals for bill powers                  Bill Powers          Meal/Beverages   Individual
                                                                                                                                                                                       NRATV, LOD, NRAW, CCI, Digital Work, etc
2810   2017   152775   EXP-11152              1/11/2017 - 10/3/2017    Shahada Kari          Production Assistant   1/11/2017   CXIII/Landini Brothers   $    867.57 Alexandria, VA    Meeting room rental for NRA meetings re         december meals for david lehman                 David Lehman         Meal/Beverages   Individual
                                                                                                                                                                                       NRATV, LOD, NRAW, CCI, Digital Work, etc
2811   2017   152775   EXP-11152              1/11/2017 - 10/3/2017    Shahada Kari          Production Assistant   1/11/2017   CXIII/Landini Brothers   $   1,116.14 Alexandria, VA   Meeting room rental for NRA meetings re         december meals for lacey duffy--account was     Lacey Duffy          Meal/Beverages   Individual
                                                                                                                                                                                       NRATV, LOD, NRAW, CCI, Digital Work, etc        charged to hit the 3500 charg/month
2812   2017   153476   EXP-11170              8/9/2017 - 10/17/2017    Shahada Kari          Production Assistant   8/9/2017    CXIII/Landini Brothers   $      9.00 Alexandria, VA    Meeting room rental for NRA meetings re         Correct amount previously reported on ER        Chris Cox            Event            Room Rental
                                                                                                                                                                                       NRATV, LOD, NRAW, CCI, Digital Work, etc.       #11137 for Chris Cox
2813   2017   153476   EXP-11170              8/9/2017 - 10/17/2017    Shahada Kari          Production Assistant   10/6/2017   CXIII/Landini Brothers   $    115.14 Alexandria, VA    Meeting room rental for NRA meetings re         September meals for Josh Powell                 Josh Powell          Meal/Beverages   Individual
                                                                                                                                                                                       NRATV, LOD, NRAW, CCI, Digital Work, etc.
2814   2017   153476   EXP-11170              8/9/2017 - 10/17/2017    Shahada Kari          Production Assistant   10/6/2017   CXIII/Landini Brothers   $    791.26 Alexandria, VA    Meeting room rental for NRA meetings re         September meals for Chris Cox                   Chris Cox            Meal/Beverages   Individual
                                                                                                                                                                                       NRATV, LOD, NRAW, CCI, Digital Work, etc.
2815   2017   153476   EXP-11170              8/9/2017 - 10/17/2017    Shahada Kari          Production Assistant   10/6/2017   CXIII/Landini Brothers   $   2,467.11 Alexandria, VA   Meeting room rental for NRA meetings re         September meals for Lacey Duffy - account was Lacey Duffy            Meal/Beverages   Individual
                                                                                                                                                                                       NRATV, LOD, NRAW, CCI, Digital Work, etc.       charged to hit the $3,500/month
2816   2018   154261   EXP-11268              11/6/2017 - 11/6/17      Shahada Kari          Production Assistant   11/6/2017   CXIII/Landini Brothers   $    378.78 Alexandria, VA    Meeting room rental for NRA meetings re         October meals for Bill Powers                   Bill Powers          Meal/Beverages   Individual
                                                                                                                                                                                       NRATV, LOD, NRAW, CCI, Digital work etc.
2817   2018   154261   EXP-11268              11/6/2017 - 11/6/17      Shahada Kari          Production Assistant   11/6/2017   CXIII/Landini Brothers   $    574.22 Alexandria, VA    Meeting room rental for NRA meetings re         October meals for Josh Powell                   Josh Powell          Meal/Beverages   Individual
                                                                                                                                                                                       NRATV, LOD, NRAW, CCI, Digital work etc.
2818   2018   154261   EXP-11268              11/6/2017 - 11/6/17      Shahada Kari          Production Assistant   11/6/2017   CXIII/Landini Brothers   $    864.32 Alexandria, VA    Meeting room rental for NRA meetings re         October meals for Lacey - account was charged Lacey                  Meal/Beverages   Individual
                                                                                                                                                                                       NRATV, LOD, NRAW, CCI, Digital work etc.        to hit the $3,500/month
2819   2018   154261   EXP-11268              11/6/2017 - 11/6/17      Shahada Kari          Production Assistant   11/6/2017   CXIII/Landini Brothers   $   1,029.83 Alexandria, VA   Meeting room rental for NRA meetings re         October meals for Chris Cox                     Chris Cox            Meal/Beverages   Individual
                                                                                                                                                                                       NRATV, LOD, NRAW, CCI, Digital work etc.
2820   2018   154707   877ADCC750C84508AC76   1/31/2018                Jeff Minson           Financial Analyst      1/8/2018    CXIII/Landini Brothers   $    142.95 Alexandria, VA    Jan NOP                                         meeting room rental for NRA meetings re         Unknown              Event            Room Rental
                                                                                                                                                                                                                                       NRATV, LOD, NRAW, CCI, D
2821   2018   154707   877ADCC750C84508AC76   1/31/2018                Jeff Minson           Financial Analyst      1/8/2018    CXIII/Landini Brothers   $    704.19 Alexandria, VA    Jan NOP                                         meeting room rental for NRA meetings re         Unknown              Event            Room Rental
                                                                                                                                                                                                                                       NRATV, LOD, NRAW, CCI, D
2822   2018   154707   877ADCC750C84508AC76   1/31/2018                Jeff Minson           Financial Analyst      1/8/2018    CXIII/Landini Brothers   $   1,148.36 Alexandria, VA   Jan NOP                                         meeting room rental for NRA meetings re         Unknown              Event            Room Rental
                                                                                                                                                                                                                                       NRATV, LOD, NRAW, CCI, D
2823   2018   154707   877ADCC750C84508AC76   1/31/2018                Jeff Minson           Financial Analyst      1/8/2018    CXIII/Landini Brothers   $   1,504.50 Alexandria, VA   Jan NOP                                         meeting room rental for NRA meetings re         Unknown              Event            Room Rental
                                                                                                                                                                                                                                       NRATV, LOD, NRAW, CCI, D
2824   2018   156967   139678F582304D208A77   3/12/2018                Jeff Minson           Financial Analyst      3/6/2018    CXIII/Landini Brothers   $     59.72 Alexandria, VA    Mar Billable                                    Meeting room rental for NRA meetings re         Unknown              Event            Room Rental
                                                                                                                                                                                                                                       NRATV, LOD, NRAW, CCI, D
2825   2018   156967   139678F582304D208A77   3/12/2018                Jeff Minson           Financial Analyst      3/6/2018    CXIII/Landini Brothers   $    986.67 Alexandria, VA    Mar Billable                                    Meeting room rental for NRA meetings re         Unknown              Event            Room Rental
                                                                                                                                                                                                                                       NRATV, LOD, NRAW, CCI, D
2826   2018   156967   139678F582304D208A77   3/12/2018                Jeff Minson           Financial Analyst      3/6/2018    CXIII/Landini Brothers   $   1,598.89 Alexandria, VA   Mar Billable                                    Meeting room rental for NRA meetings re         Unknown              Event            Room Rental
                                                                                                                                                                                                                                       NRATV, LOD, NRAW, CCI, D
2827   2018   156967   139678F582304D208A77   3/12/2018                Jeff Minson           Financial Analyst      3/6/2018    CXIII/Landini Brothers   $   4,331.46 Alexandria, VA   Mar Billable                                    Meeting room rental for NRA meetings re         Unknown              Event            Room Rental
                                                                                                                                                                                                                                       NRATV, LOD, NRAW, CCI, D
2828   2018   160161   F78D842C7E574B31B747   7/2/2018                 Jeff Minson           Financial Analyst      7/2/2018    CXIII/Landini Brothers   $     98.39 Alexandria, VA    JULY BILLABLE                                   Room Rental for NRA Meetings re NRATV,          Unknown              Event            Room Rental
                                                                                                                                                                                                                                       LOD, NRAW, CCI, D
2829   2018   160161   F78D842C7E574B31B747   7/2/2018                 Jeff Minson           Financial Analyst      7/2/2018    CXIII/Landini Brothers   $    318.12 Alexandria, VA    JULY BILLABLE                                    Room Rental for NRA Meetings re NRATV,         Unknown              Event            Room Rental
                                                                                                                                                                                                                                       LOD, NRAW, CCI, D
2830   2018   160161   F78D842C7E574B31B747   7/2/2018                 Jeff Minson           Financial Analyst      7/2/2018    CXIII/Landini Brothers   $   1,016.20 Alexandria, VA   JULY BILLABLE                                    Room Rental for NRA Meetings                   Unknown              Event            Room Rental

2831   2018   160161   F78D842C7E574B31B747   7/2/2018                 Jeff Minson           Financial Analyst      7/2/2018    CXIII/Landini Brothers   $   1,400.48 Alexandria, VA   JULY BILLABLE                                    Room Rental for NRA Meetings re NRATV,         Unknown              Event            Room Rental
                                                                                                                                                                                                                                       LOD, NRAW, CCI, D
2832   2018   160161   F78D842C7E574B31B747   7/2/2018                 Jeff Minson           Financial Analyst      7/2/2018    CXIII/Landini Brothers   $   2,941.88 Alexandria, VA   JULY BILLABLE                                    Room Rental for NRA Meetings re NRATV,         Unknown              Event            Room Rental
                                                                                                                                                                                                                                       LOD, NRAW, CCI, D




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2833   2018   160161          F78D842C7E574B31B747    7/2/2018                 Jeff Minson           Financial Analyst       7/2/2018     CXIII/Landini Brothers              $   3,206.95 Alexandria, VA     JULY BILLABLE                                     Room Rental for NRA Meetings re NRATV,          Unknown                                      Event            Room Rental
                                                                                                                                                                                                                                                                LOD, NRAW, CCI, D
2834   2016   137631          Unknown                 Unknown                  Unknown               n/a                     3/25/2016    Wynn                                $     (56.00) Las Vegas, NV     Unknown                                           Travel advance for Lacey Duffy - Correctly      Lacey Duffy                                  Travel           Lodging
                                                                                                                                                                                                                                                                report adjustment to Wynne Hotel for L Duffy
2835   2018   154706/155170   EXP-11393               1/31/2017-               Christy Degiusti      Controller, Media       1/31/2017    CXIII/Landini Brothers              $   (3,454.47) Alexandria, VA   correct exp rpt 11137 and exp 10372 - double      January Meals                                Unknown                                         Meal/Beverages   Individual    correct exp rpt 11137 and exp 10372 - double reporting of Jan 17
                                                      12/20/2017                                                                                                                                              reporting of Jan 17 CXIII charges                                                                                                                                             CXIII charges
2836   2018   154706/155170   EXP-11393               1/31/2017-               Christy Degiusti      Controller, Media       1/31/2017    CXIII/Landini Brothers              $    (499.56) Alexandria, VA    correct exp rpt 11137 and exp 10372 - double      January Meals                                   Unknown                                      Meal/Beverages   Individual    correct exp rpt 11137 and exp 10372 - double reporting of Jan 17
                                                      12/20/2017                                                                                                                                              reporting of Jan 17 CXIII charges                                                                                                                                             CXIII charges
2837   2018   154706/155170   FAE0DCBCBBDF43DFAC6A    12/31/2017               Jeff Minson           Financial Analyst       12/6/2017    CXIII/Landini Brothers              $     123.23 Alexandria, VA     NO DESCRIPTION PROVIDED                           Bill Winkler: Meeting Room rental for NRA       Bill Winkler                                 Event            Room Rental
                                                                                                                                                                                                                                                                meetings re NRATV, LOD, NRAW, CCI,
2838   2018   154706/155170   FAE0DCBCBBDF43DFAC6A    12/31/2017               Jeff Minson           Financial Analyst       12/6/2017    CXIII/Landini Brothers              $     470.62 Alexandria, VA     NO DESCRIPTION PROVIDED                           Bill Winkler: Meeting Room rental for NRA       Bill Winkler                                 Event            Room Rental
                                                                                                                                                                                                                                                                meetings re NRATV, LOD, NRAW, CCI,
2839   2018   154706/155170   FAE0DCBCBBDF43DFAC6A    12/31/2017               Jeff Minson           Financial Analyst       12/6/2017    CXIII/Landini Brothers              $   2,896.61 Alexandria, VA     NO DESCRIPTION PROVIDED                           Meeting Room rental for NRA meetings re         Unknown                                      Event            Room Rental
                                                                                                                                                                                                                                                                NRATV, LOD, NRAW, CCI, Digital work, etc
2907   2018   156967          EXP-11555               1/25/2018 - 2/3/2018     Jon Carter            Senior Associate        2/3/2018     Four Seasons                        $      73.05 Las Vegas, NV      Coordination & management of 2018 SCI event       dinner (multiple receipts                       Unknown                                      Meal/Beverages   Individual
                                                                                                     Political Strategist                                                                                     and Cox speech
2841   2018   159388          95D136D9FFEF487BA53B    5/23/2018                Eric Van Horn         Account Executive       5/5/2018     Dal Steak and Chop House            $      62.79 Unknown            May Expenses Report - 1st                         Dinnner during AM                               Eric Van Horn                                Meal/Beverages   Individual

2842   2016   139727          Unknown                 Unknown                  Unknown               n/a                     7/1/2016     Ridgewood by Windsor                $   4,500.00 Fairfax, VA        Unknown                                           July rent for Nader Tavangar                    Nader Tavangar                               Travel           Lodging       Lease agreement is for a one bedroom/one bathroom apartment
                                                                                                                                                                                                                                                                                                                                                                                            with den in the Ridgewood by Windsor with an address of 4209
2843   2016   139727          Unknown                 Unknown                  Unknown               n/a                     8/1/2016     Ridgewood by Windsor                $   4,500.00 Fairfax, VA        Unknown                                           August rent for Nader Tavangar                  Nader Tavangar                               Travel           Lodging       Lease agreement is for a one bedroom/one bathroom apartment
                                                                                                                                                                                                                                                                                                                                                                                            with den in the Ridgewood by Windsor with an address of 4209
2844   2017   143169          Unknown                 Unknown                  Unknown               n/a                     9/15/2016    Debbie Dover                        $      50.00 Joelton, TN        Unknown                                           Processing fee                                  Unknown                                      Miscellaneous    Other

2845   2017   143169          Unknown                 Unknown                  Unknown               n/a                     9/15/2016    Debbie Dover                        $     155.44 Joelton, TN        Unknown                                           NRA Summit reimnursement for Uber and food Unknown                                           Miscellaneous    Other

2288   2018   156967          Unknown                 Unknown                  Unknown               n/a                     2/7/2018     ABC Limo Service                    $      67.85 Virginia           Unknown                                           PU 2445 39th s nw DC / DO DCA to DALLAS James Rosen                                          Auto             Car Service
                                                                                                                                                                                                                                                                James Rosen
2847   2016   136859          EXP-6907                1/8/2016 - 2/17/2016     Hayley Holmes         Account Executive       1/8/2016     Virgin America                      $     548.10 Unknown            MM SHOT Show Travel/Expenses                      LD flight - booked on MM's corp card so         LD                                           Travel           Airfare
                                                                                                                                                                                                                                                                LD/MM could work together during travel.
2848   2017   149459          Unknown                 Unknown                  Unknown               n/a                     5/1/2017     Brady Wardlaw                       $       6.95 Mt. Juliet, TN     Unknown                                           Unknown                                         Unknown                                      Auto             Taxi          Lyft

2849   2017   149459          Unknown                 Unknown                  Unknown               n/a                     5/1/2017     Brady Wardlaw                       $       7.95 Mt. Juliet, TN     Unknown                                           Unknown                                         Unknown                                      Auto             Taxi          Lyft

2850   2017   149459          Unknown                 Unknown                  Unknown               n/a                     5/1/2017     Brady Wardlaw                       $       7.95 Mt. Juliet, TN     Unknown                                           Unknown                                         Unknown                                      Auto             Taxi          Lyft

2851   2016   140440          EXP-8006                2/13/2016 to 6/30/2016   Hayley Holmes         Account Executive       2/13/2016    Virgin America                      $      75.00 Unknown            Expense report states 'LD Clean Up Report'        Seat upgrade to cover multiple checked bag      Lacey Duffy                                  Travel           Airfare
                                                                                                                                                                                                                                                                fees - upgrade less expensive than bag fees -
2852   2017   149459          Unknown                 Unknown                  Unknown               n/a                     5/1/2017     Brady Wardlaw                       $       7.95 Mt. Juliet, TN     Unknown                                           Unknown                                         Unknown                                      Auto             Taxi          Lyft

2853   2017   149459          Unknown                 Unknown                  Unknown               n/a                     5/1/2017     Brady Wardlaw                       $       7.95 Mt. Juliet, TN     Unknown                                           Unknown                                         Unknown                                      Auto             Taxi          Lyft

2854   2017   149459          Unknown                 Unknown                  Unknown               n/a                     5/1/2017     Brady Wardlaw                       $       7.95 Mt. Juliet, TN     Unknown                                           Unknown                                         Unknown                                      Auto             Taxi          Lyft

2855   2017   149459          Unknown                 Unknown                  Unknown               n/a                     5/1/2017     Brady Wardlaw                       $       7.95 Mt. Juliet, TN     Unknown                                           Unknown                                         Unknown                                      Auto             Taxi          Lyft

2856   2017   149459          Unknown                 Unknown                  Unknown               n/a                     5/1/2017     Brady Wardlaw                       $       7.95 Mt. Juliet, TN     Unknown                                           Unknown                                         Unknown                                      Auto             Taxi          Lyft

2857   2018   158521          Unknown                 Unknown                  Unknown               n/a                     5/7/2018     Debbie Dover                        $     360.85 Joelton, TN        Unknown                                           Hayley Holmes - NRA Convention                  Hayley Holmes                                Auto             Taxi
                                                                                                                                                                                                                                                                Reimbursement for Uber and baggage
2858   2017   147112          EXP-10001               1/3/17 - 2/15/17         Hayley Holmes         Account Executive       1/3/2017     Virgin America                      $     746.40 Unknown            MM - Additional travel expense for 2017 SHOT      Unknown                                         Unknown                                      Travel           Airfare
                                                                                                                                                                                                              Show
2859   2017   149459          Unknown                 Unknown                  Unknown               n/a                     5/1/2017     Brady Wardlaw                       $       7.95 Mt. Juliet, TN     Unknown                                           Unknown                                         Unknown                                      Auto             Taxi          Lyft

2860   2017   147112          EXP-10033               1/30/2017 - 2/21/17      Hayley Holmes         Account Executive       1/30/2017    Virgin America                      $     298.20 Unknown            L. Duffy trip to DC for YFT event and meetings    Flight for M. Cremer to DC for YFT event, at    M Cremer                                     Travel           Airfare
                                                                                                                                                                                                              w/ NRA Executives (SG)                            request of S. LaPierre
2861   2018   156967          EXP-11555               1/25/2018 - 2/3/2018     Jon Carter            Senior Associate        1/30/2018    Deluxe Cab                          $      10.00 Las Vegas, NV      Coordination & management of 2018 SCI event       cab hotel to hotel (?)                          Unknown                                      Auto             Taxi
                                                                                                     Political Strategist                                                                                     and Cox speech
2862   2016   136859          EXP-6907                1/8/2016 - 2/17/2016     Hayley Holmes         Account Executive       1/22/2016    Desert Cab                          $      11.77 Las Vegas, NV      MM SHOT Show Travel/Expenses                      Ride to hotel (wynn)                            MM                                           Auto             Taxi

2863   2016   136859          EXP-6907                1/8/2016 - 2/17/2016     Hayley Holmes         Account Executive       1/19/2016    Desert Cab                          $      20.00 Las Vegas, NV      MM SHOT Show Travel/Expenses                      Cab ride to hotel/SHOT expo                     Unknown                                      Auto             Taxi

2289   2018   156967          Unknown                 Unknown                  Unknown               n/a                     2/9/2018     ABC Limo Service                    $      67.85 Virginia           Unknown                                           PU DCA to 2445 39th ST NW                       James Rosen                                  Auto             Car Service
                                                                                                                                                                                                                                                                James Rosen
3188   2018   156967          EXP-11555               1/25/2018 - 2/3/2018     Jon Carter            Senior Associate        2/1/2018     sports lounge                       $      62.63 Las Vegas, NV      Coordination & management of 2018 SCI event       Lunch with P McCarty                            Jon Carter; P McCarty                        Meal/Beverages   Group
                                                                                                     Political Strategist                                                                                     and Cox speech
2866   2018   156967          EXP-11555               1/25/2018 - 2/3/2018     Jon Carter            Senior Associate        1/30/2018    Desert Cab                          $      27.00 Las Vegas, NV      Coordination & management of 2018 SCI event       cab airport to hotel                            Unknown                                      Auto             Taxi
                                                                                                     Political Strategist                                                                                     and Cox speech
2867   2016   140440          EXP-7759                5/5/2016 to 6/24/16      Hayley Holmes         Account Executive       5/21/2016    Dizzy whiz                          $      22.91 Louisville, KY     Expense report states 'L. Duffy travel/expenses   lunch for HH, MM, LD                            Lacey Duffy; HH; MM                          Meal/Beverages   Group
                                                                                                                                                                                                              for the 2016 knar a/m in louisville (SG)'
2868   2017   145564          EXP-9357                11/30/16 - 12/7/16       Nicole Capossela      Senior Vice President   11/30/2016   DNC Sportservice                    $      70.00 Nashville, TN      trip to Nashville for NRA Country/Charlie         Dinner in Nashville                             Nicole Capossela                             Meal/Beverages   Individual
                                                                                                                                                                                                              Daniels (SG)
3143   2018   156967          EXP-11555               1/25/2018 - 2/3/2018     Jon Carter            Senior Associate        2/3/2018     American Airlines                   $      60.00 Las Vegas, NV      Coordination & management of 2018 SCI event       baggage fee                                     Unknown                                      Travel           Other
                                                                                                     Political Strategist                                                                                     and Cox speech
2870   2018   159388          434403E136C841FFB796    5/8/2018                 Eric Van Horn         Account Executive       5/3/2018     Dolce Riviera                       $     253.25 Unknown            May 2018 - JG                                     Dinner for EVH, JD, AA amd HH during annual EVH; JD; HH; AA                                  Meal/Beverages   Group
                                                                                                                                                                                                                                                                meetings
2871   2017   149459          Unknown                 Unknown                  Unknown               n/a                     5/1/2017     Brady Wardlaw                       $       7.95 Mt. Juliet, TN     Unknown                                           Unknown                                         Unknown                                      Auto             Taxi          Lyft

2872   2016   141517          EXP-8212                1/14/2016 - 7/27/2016    Hayley Holmes         Account Executive       1/14/2016    East Hampton                        $     327.10 Dallas, TX         MM Clean up report (SG)                           lunch brought in for meeting w/ NRA execs in    AM; RM; TM; NT; MM; LD; HM                   Meal/Beverages   Group
                                                                                                                                                                                                                                                                Dallas - AM RM TM NT MM LD HM et al ( no
2873   2017   147112          EXP-9983                1/15/17 - 2/15/17        Hayley Holmes         Account Executive       1/19/2017    Eastside Lounge                     $      62.99 Las Vegas, NV      HH Travel to Vegas for 2017 SHOT Show             Client refreshments - MM, T. Schropp, LD, HH MM; T Schropp; LD; HH                           Meal/Beverages   Group

2874   2016   140440          EXP-7887                5/6/2016 to 6/30/2016    Hayley Holmes         Account Executive       5/19/2016    Eddie Merlot's                      $     608.22 Louisville, KY     MM travel/expenses for 2016 NRA annual            dinner for MM, LD, HH, N. Caposella, C.         HH; Melanie Montgomery; LD; N Caposella; C   Meal/Beverages   Group
                                                                                                                                                                                                              meetings in Louisville                            Springers                                       Springers
2875   2017   147112          EXP-10033               1/30/2017 - 2/21/17      Hayley Holmes         Account Executive       1/30/2017    Virgin America                      $     696.40 Unknown            L. Duffy trip to DC for YFT event and meetings    Flight for L. Duffy to/from DC for YFT event    L Duffy                                      Travel           Airfare
                                                                                                                                                                                                              w/ NRA Executives (SG)                            and meeting with NRA executives (meal during
2876   2017   147112          EXP-10057               1/27/17 - 2/21/17        Hayley Holmes         Account Executive       1/27/2017    Virgin America                      $   1,196.40 Unknown            M. Montgomery travel to DC for YFT event &        Flight to/from DC for MM                     M Montgomery                                    Travel           Airfare
                                                                                                                                                                                                              meetings w/ NRA Execs
2877   2017   147112          EXP-10057               1/27/17 - 2/21/17        Hayley Holmes         Account Executive       1/27/2017    Virgin America                      $   1,196.40 Unknown            M. Montgomery travel to DC for YFT event &        Flight to/from DC for D. Dimmitt (per SLP's     D Dimmitt                                    Travel           Airfare
                                                                                                                                                                                                              meetings w/ NRA Execs                             request)
2878   2017   148014          EXP-10290               1/5/2017 - 3/29/2017     Hayley Holmes         Account Executive       1/5/2017     Virgin America                      $     746.40 Unknown            Shot Show                                         Flight for 2017 SHOT Show - flew w/ MM to       HH; MM                                       Travel           Airfare
                                                                                                                                                                                                                                                                work together on the plane prep fo meetings
2879   2018   156967          EXP-11541               1/30/2018 - 2/4/2018     Patrick McCarty       Traffic Director        1/30/2018    El Centro                           $      22.53 Washington, DC     Patrick McCarty - expense from 1/30 - 2/4 for     breakfast at Reagan Airport                     Patrick McCarty                              Meal/Beverages   Individual
                                                                                                                                                                                                              attending SCI to assist with Chris Cox's speech
2880   2017   149459          F6FA23635A7E4DCEA766    5/10/17 - 5/25/17        Melanie Montgomery    EVP / Management        4/30/2017    El Taco Term                        $      19.72 Unknown            May Expenses                                      NR Annual Mtg                                   Unknown                                      Miscellaneous    Other
                                                                                                     Supervisor
2402   2018   155996          5839ADFF31CAF4DB5B08D   2/5/2018                 Hayley Holmes         Account Executive       2/8/2018     Best Buy                            $      57.36 Unknown            Feb18                                             protective case for T. Makris iPad              T Makris                                     Miscellaneous    Other

3052   2018   155996          Unknown                 Unknown                  Unknown               n/a                     2/7/2018     JM Uber Transportation Recoveries   $      55.23 Unknown            Unknown                                           Car for Tony Makris from 404 S. Figueroa St.    Tony Makris                                  Auto             Car Service
                                                                                                                                                                                                                                                                LA to 2851 N. Beachwood Dr. LA
2883   2018   154707          5260BE9D30F046589A20    1/31/2018                Hayley Holmes         Account Executive       1/7/2018     Favor Gas Station                   $      31.89 Dallas, TX         JAN18A                                            T. Makris cigar smoker event during DSC in      T Makris                                     Miscellaneous    Other
                                                                                                                                                                                                                                                                Dallas
2884   2017   144737          Unknown                 Unknown                  Unknown               n/a                     11/4/2016    FedEx                               $      45.98 Sheldon, SC        Unknown                                           Overnight package deliver from Trevor           Trevor Dahlkemper; Anthony Makris            Miscellaneous    Other
                                                                                                                                                                                                                                                                Dahlkemper to Anthony Makris in 115 Bays
2885   2017   146420          Unknown                 Unknown                  Unknown               n/a                     1/19/2017    FedEx                               $     188.73 Unknown            Unknown                                           Sender: Trevor Dahlkemper (AMC)                 Trevor Dahlkemper; Warner Loughlin (Warner   Miscellaneous    Other
                                                                                                                                                                                                                                                                Recipient: Warner Loughlin (Warner Loughlin     Loughlin Studios)




                                                                                                                                                                                                                                                                                                                                                                                                                                      APP. 02060
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2886        2017   148014   Unknown                Unknown                  Unknown               n/a                    n/a         FedEx                               $     63.23 Unknown           Unknown                                           Unknown                                            Unknown                         Miscellaneous    Other

2887        2017   148014   EXP-10252              1/19/2017 - 3/23/2017    Hayley Holmes         Account Executive      1/23/2017   FedEx                               $       3.78 Unknown          HH SHOT Show Clean Up report                      Shipping tape,bubble wrap for office supplies      HH                              Miscellaneous    Other
                                                                                                                                                                                                                                                         (no receipt)
2888        2018   158521   Unknown                Unknown                  Unknown               n/a                    5/17/2018   FedEx                               $     39.24 Unknown           Unknown                                           Sender: Alex Zimmerman (Amc) Recipient:            Alex Zimmerman; Larry D Moody   Miscellaneous    Other
                                                                                                                                                                                                                                                         Larry D. Moody)
2889   12   2017   149459   EXP-10612              2/12/2017 - 5/26/2017    Eric Van Horn         Account Executive      2/12/2017   Virgin America                      $     80.00 Unknown           HH - cleanup report (SK)                          LD - airline seat change fee for travel home       LD                              Travel           Airfare
                                                                                                                                                                                                                                                        from Virginia after SLP's Heart to Heart Gala
2890        2016   137631   EXP-7135               3/9/2016 - 3/18/2016     Terri Voskuhl         Unknown                3/18/2016   Four Seasons                        $     (35.00) Unknown         Charges related to business entertainment during Refund of spa charge billed in error. No            Unknown                         Miscellaneous    Other
                                                                                                                                                                                                       Shot Show                                         identifiable information.
2891   12   2017   149459   EXP-10612              2/12/2017 - 5/26/2017    Eric Van Horn         Account Executive      2/12/2017   Virgin America                      $     80.00 Unknown           HH - cleanup report (SK)                          Mauricio Cremer - airline seat change fee for      Mauricio Cremer                 Travel           Airfare
                                                                                                                                                                                                                                                         travel home from Virginia after SLP's Heart to
2892        2017   149459   Unknown                Unknown                  Unknown               n/a                    5/1/2017    Brady Wardlaw                       $       8.95 Mt. Juliet, TN   Unknown                                           Unknown                                            Unknown                         Auto             Taxi          Lyft

2893        2017   151745   7AF5F206FDC541EAA945   8/2/2017                 Melanie Montgomery    EVP / Management       7/24/2017   Virgin America                      $    802.40 Unknown           August                                            Trip to Liberty U for New Center mtg               Unknown                         Travel           Airfare
                                                                                                  Supervisor
2894        2017   149459   Unknown                Unknown                  Unknown               n/a                    5/1/2017    Brady Wardlaw                       $     11.15 Mt. Juliet, TN    Unknown                                           Unknown                                            Unknown                         Auto             Taxi          Lyft

2905        2018   156967   EXP-11555              1/25/2018 - 2/3/2018     Jon Carter            Senior Associate       2/3/2018    Four Seasons                        $     48.72 Las Vegas, NV     Coordination & management of 2018 SCI event       breakfast - hotel room bar (multiple receipts)     Unknown                         Meal/Beverages   Individual
                                                                                                  Political Strategist                                                                                 and Cox speech
2902        2018   156967   EXP-11541              1/30/2018 - 2/4/2018     Patrick McCarty       Traffic Director       2/4/2018    Four Seasons                        $     47.80 Las Vegas, NV     Patrick McCarty - expense from 1/30 - 2/4 for     room service dinner 2/3                            Patrick McCarty                 Meal/Beverages   Individual
                                                                                                                                                                                                       attending SCI to assist with Chris Cox's speech
3125        2018   156967   EXP-11541              1/30/2018 - 2/4/2018     Patrick McCarty       Traffic Director       2/4/2018    Philips Famous Seafood              $     46.94 Las Vegas, NV     Patrick McCarty - expense from 1/30 - 2/4 for     Lunch at Charlotte Airport during layover          Patrick McCarty                 Meal/Beverages   Individual
                                                                                                                                                                                                       attending SCI to assist with Chris Cox's speech
2869        2018   155996   9CF80CE180C0442B9768   2/7/2018                 Eric Van Horn         Account Executive      2/7/2018    Dolce Riviera                       $     44.89 Unknown           Feb18                                             Appetizers/drinks with Tony Makris                 Eric Van Horn; Tony Makris      Meal/Beverages   Group

2901        2018   156967   EXP-11541              1/30/2018 - 2/4/2018     Patrick McCarty       Traffic Director       2/4/2018    Four Seasons                        $     41.64 Las Vegas, NV     Patrick McCarty - expense from 1/30 - 2/4 for     veranda bar lunch grats 1/30                       Patrick McCarty                 Meal/Beverages   Individual
                                                                                                                                                                                                       attending SCI to assist with Chris Cox's speech
2698        2018   156967   EXP-11555              1/25/2018 - 2/3/2018     Jon Carter            Senior Associate       2/3/2018    Cash Tips                           $     40.00 Las Vegas, NV     Coordination & management of 2018 SCI event       tip for valet staff and beverages to cox holding   Unknown                         Miscellaneous    Tips
                                                                                                  Political Strategist                                                                                 and Cox speech                                    room
2900        2018   156967   EXP-11541              1/30/2018 - 2/4/2018     Patrick McCarty       Traffic Director       2/4/2018    Four Seasons                        $     40.00 Las Vegas, NV     Patrick McCarty - expense from 1/30 - 2/4 for     cash tip to four seasons employees for service     Patrick McCarty                 Miscellaneous    Tips
                                                                                                                                                                                                       attending SCI to assist with Chris Cox's speech   during stay
2899        2018   156967   EXP-11541              1/30/2018 - 2/4/2018     Patrick McCarty       Traffic Director       2/4/2018    Four Seasons                        $     35.98 Las Vegas, NV     Patrick McCarty - expense from 1/30 - 2/4 for     Press lounge breakfast 2/3                         Patrick McCarty                 Meal/Beverages   Individual
                                                                                                                                                                                                       attending SCI to assist with Chris Cox's speech
3051        2018   155996   Unknown                Unknown                  Unknown               n/a                    2/6/2018    JM Uber Transportation Recoveries   $     31.75 Unknown           Unknown                                           Car for Tony Makris from 3200 Ledgewood Dr Tony Makris                             Auto             Car Service
                                                                                                                                                                                                                                                         LA to 1690 Vine St LA
3050        2018   155996   Unknown                Unknown                  Unknown               n/a                    2/6/2018    JM Uber Transportation Recoveries   $     27.02 Unknown           Unknown                                           Car for tony Makris from 1691 Vine St. LA to       Tony Makris                     Auto             Car Service
                                                                                                                                                                                                                                                         3211 Ledgewood Dr. LA
2697        2018   156967   EXP-11555              1/25/2018 - 2/3/2018     Jon Carter            Senior Associate       2/2/2018    Cash Tips                           $     25.00 Las Vegas, NV     Coordination & management of 2018 SCI event       tip for deliveries to Cos Speech Rehearsal         Unknown                         Miscellaneous    Tips
                                                                                                  Political Strategist                                                                                 and Cox speech
2906        2018   156967   EXP-11555              1/25/2018 - 2/3/2018     Jon Carter            Senior Associate       1/30/2018   Four Seasons                        $     57.80 Las Vegas, NV     Coordination & management of 2018 SCI event       multiple receipts - lunch                          Unknown                         Meal/Beverages   Individual
                                                                                                  Political Strategist                                                                                 and Cox speech
3140        2018   156967   EXP-11541              1/30/2018 - 2/4/2018     Patrick McCarty       Traffic Director       2/4/2018    American Airlines                   $     25.00 Las Vegas, NV     Patrick McCarty - expense from 1/30 - 2/4 for     baggage fee                                        Patrick McCarty; Chris Cox      Travel           Other
                                                                                                                                                                                                       attending SCI to assist with Chris Cox's speech
2908        2016   139727   EXP-7701               5/20/2016 to 5/25/2016   Eric Van Horn         Account Executive      5/21/2016   21C Hotel                           $    230.98 Unknown           Eric Van Horn NRA annual meetings expenses        late departure fee on 5/21 for Brad Johnson, a     Brad Johnson                    Travel           Lodging
                                                                                                                                                                                                                                                         guest of Tony Makris
2909        2016   139727   EXP-7701               5/20/2016 to 5/25/2016   Eric Van Horn         Account Executive      5/20/2016   21C Hotel                           $    347.05 Unknown           Eric Van Horn NRA annual meetings expenses        hotel stay on 5/20 for Brad Johnson, a guest of Brad Johnson                       Travel           Lodging
                                                                                                                                                                                                                                                         Tony Makris
2910        2016   140440   EXP-7759               5/5/2016 to 6/24/16      Hayley Holmes         Account Executive      5/23/2016   21C Hotel                           $   3,243.01 Louisville, KY   L. Duffy travel/expenses for the 2016 knar a/m in hotel room for LD for annual meetings              Lacey Duffy                     Travel           Lodging
                                                                                                                                                                                                       louisville (SG)
2911        2016   140440   EXP-7887               5/6/2016 to 6/30/2016    Hayley Holmes         Account Executive      5/22/2016   21C Hotel                           $   3,243.01 Louisville, KY   MM travel/expenses for 2016 NRA annual            hotel room for MM during A/M                       Melanie Montgomery              Travel           Lodging
                                                                                                                                                                                                       meetings in Louisville
2912        2017   147112   EXP-10033              1/30/2017 - 2/21/17      Hayley Holmes         Account Executive      2/10/2017   Alexandrian                         $    514.96 Washington, DC    L. Duffy trip to DC for YFT event and meetings    Hotel room for Friday night in DC for meetings L Duffy                             Travel           Lodging
                                                                                                                                                                                                       w/ NRA Executives (SG)
2913        2016   136165   Unknown                Unknown                  Unknown               n/a                    1/1/2016    Gaedeke Holdings/Granite Properties $     75.78 Dallas, TX        Unknown                                           Woody's parking in Dallas                          Woody                           Auto             Parking

2914        2016   136859   Unknown                Unknown                  Unknown               n/a                    n/a         Gaedeke Holdings/Granite Properties $     75.78 Unknown           Unknown                                           Woodys parking in Dallas                           Woody                           Auto             Parking

2915        2017   149459   Unknown                Unknown                  Unknown               n/a                    5/1/2017    Brady Wardlaw                       $     13.74 Mt. Juliet, TN    Unknown                                           Unknown                                            Unknown                         Auto             Taxi          Lyft

2916        2016   138653   Unknown                Unknown                  Unknown               n/a                    4/1/2016    Gaedeke Holdings/Granite Properties $     75.78 Dallas, TX        Unknown                                           Woodys parking in Dallas                           Woody                           Auto             Parking

2917        2016   139727   Unknown                Unknown                  Unknown               n/a                    5/1/2016    Gaedeke Holdings/Granite Properties $     75.78 Dallas, TX        Unknown                                           Woody's parking in Dallas                          Woody                           Auto             Parking

2918        2016   140440   Unknown                Unknown                  Unknown               n/a                    6/1/2016    Gaedeke Holdings/Granite Properties $     75.78 Unknown           Unknown                                           Woody's parking in Dallas                          Woody                           Auto             Parking

2919        2016   141517   Unknown                Unknown                  Unknown               n/a                    8/1/2016    Gaedeke Holdings/Granite Properties $     75.78 Dallas, TX        Unknown                                           Woody's Parking in Dallas                          Woody                           Auto             Parking

2920        2016   142347   Unknown                Unknown                  Unknown               n/a                    n/a         Gaedeke Holdings/Granite Properties $     75.78 Dallas, TX        Unknown                                           Woody's parking in Dallas                          Woody                           Auto             Parking

2921        2017   149459   Unknown                Unknown                  Unknown               n/a                    5/1/2017    Brady Wardlaw                       $     15.99 Mt. Juliet, TN    Unknown                                           Unknown                                            Unknown                         Auto             Taxi          Lyft

2922        2016   143559   Unknown                Unknown                  Unknown               n/a                    11/1/2016   Gaedeke Holdings/Granite Properties $     75.78 Unknown           Unknown                                           Woody's parking, monthly charge                    Woody                           Auto             Parking

2923        2017   144737   Unknown                Unknown                  Unknown               n/a                    n/a         Gaedeke Holdings/Granite Properties $     75.78 Dallas, TX        Unknown                                           Parking for Woody Phillips in Dallas               Woody Phillips                  Auto             Parking

2924        2017   145564   Unknown                Unknown                  Unknown               n/a                    n/a         Gaedeke Holdings/Granite Properties $     75.78 Dallas, TX        Unknown                                           Woody's parking in dallas                          Woody                           Auto             Parking

2925        2017   146420   Unknown                Unknown                  Unknown               n/a                    4/30/2015   Gaedeke Holdings/Granite Properties $     75.78 Dallas, TX        Unknown                                           Unknown                                            Unknown                         Auto             Parking

2926        2017   149459   Unknown                Unknown                  Unknown               n/a                    5/1/2017    Brady Wardlaw                       $     21.70 Mt. Juliet, TN    Unknown                                           Unknown                                            Unknown                         Auto             Taxi          Lyft

2927        2017   148014   Unknown                Unknown                  Unknown               n/a                    n/a         Gaedeke Holdings/Granite Properties $     75.78 Unknown           Unknown                                           Monthly parking expense                            Woody                           Auto             Parking       Email regarding monthly parking expense for Woody sent from
                                                                                                                                                                                                                                                                                                                                                                           Lesia Aguilar to Terri Voskuhl on April 27, 2015
2928        2017   148749   Unknown                Unknown                  Unknown               n/a                    n/a         Gaedeke Holdings/Granite Properties $     75.78 Unknown           Unknown                                           Monthly parking expense                            Woody                           Auto             Parking       Email regarding monthly parking expense for Woody sent from
                                                                                                                                                                                                                                                                                                                                                                           Lesia Aguilar to Terri Voskuhl on April 27, 2015
2929        2017   147112   Unknown                Unknown                  Unknown               n/a                    n/a         Gaedeke Holdings/Granite Properties $     75.78 Dallas, TX        Unknown                                           Parking                                            Unknown                         Auto             Parking       May parking statement

2930        2017   150457   Unknown                Unknown                  Unknown               n/a                    4/30/2015   Gaedeke Holdings/Granite Properties $     75.78 Dallas, TX        Unknown                                           Unknown                                            Unknown                         Auto             Parking

2931        2017   150823   Unknown                Unknown                  Unknown               n/a                    n/a         Gaedeke Holdings/Granite Properties $     75.78 Unknown           Unknown                                           Monthly parking expense                            Woody                           Auto             Parking       Email regarding monthly parking expense for Woody sent from
                                                                                                                                                                                                                                                                                                                                                                           Lesia Aguilar to Terri Voskuhl on April 27, 2015
2932        2017   151745   Unknown                Unknown                  Unknown               n/a                    n/a         Gaedeke Holdings/Granite Properties $     75.78 Dallas, TX        Unknown                                           woodys monthly parking                             Woody                           Auto             Parking

2933        2017   152775   Unknown                Unknown                  Unknown               n/a                    n/a         Gaedeke Holdings/Granite Properties $     75.78 Dallas, TX        Unknown                                           Woodys parking in Dallas                           Woody                           Auto             Parking

2934        2017   153476   Unknown                Unknown                  Unknown               n/a                    n/a         Gaedeke Holdings/Granite Properties $     75.78 Unknown           Unknown                                           Monthly parking expense                            Woody                           Auto             Parking       Email regarding monthly parking expense for Woody sent from
                                                                                                                                                                                                                                                                                                                                                                           Lesia Aguilar to Terri Voskuhl on April 27, 2015
2935        2018   154261   Unknown                Unknown                  Unknown               n/a                    4/27/2015   Gaedeke Holdings/Granite Properties $     75.78 Dallas, TX        Unknown                                           Monthly charge for Woody's parking in Dallas       Woody                           Auto             Parking

2936        2018   154707   Unknown                Unknown                  Unknown               n/a                    1/1/2018    Gaedeke Holdings/Granite Properties $     75.78 Dallas, TX        Unknown                                           Woody's parking in Dallas                          Woody                           Auto             Parking

3399        2018   156967   EXP-11555              1/25/2018 - 2/3/2018     Jon Carter            Senior Associate       2/3/2018    Yellow Checker Star                 $     25.00 Las Vegas, NV     Coordination & management of 2018 SCI event       cab to airport                                     Unknown                         Auto             Taxi
                                                                                                  Political Strategist                                                                                 and Cox speech
2938        2018   156967   Unknown                Unknown                  Unknown               n/a                    3/31/2018   Gaedeke Holdings/Granite Properties $     75.78 Dallas, TX        Unknown                                           Parking for Woody in Dallas - Monthly charge       Woody                           Auto             Parking




                                                                                                                                                                                                                                                                                                                                                                                                                      APP. 02061
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2939        2018   157570          Unknown                Unknown                 Unknown               n/a                     4/1/2018     Gaedeke Holdings/Granite Properties $      75.78 Dallas, TX        Unknown                                           Email from Terri Voskuhl referencing monthly    Unknown                                     Auto             Parking       GL: "JT - To properly record WP April 2018 Gaedeke parking"
                                                                                                                                                                                                                                                                  parking charge of 75.78 in Dallas
2940        2018   158521          Unknown                Unknown                 Unknown               n/a                     5/1/2018     Gaedeke Holdings/Granite Properties $      75.78 Dallas, TX        Unknown                                           Woodys parking in Dallas                        Woody                                       Auto             Parking

2941        2018   159388          Unknown                Unknown                 Unknown               n/a                     6/1/2018     Gaedeke Holdings/Granite Properties $      75.78 Dallas, TX        Unknown                                           Email from Terri Voskuhl referencing monthly    Unknown                                     Auto             Parking
                                                                                                                                                                                                                                                                  parking charge of 75.78 in Dallas
2942        2018   160161          Unknown                Unknown                 Unknown               n/a                     7/1/2018     Gaedeke Holdings/Granite Properties $      75.78 Dallas, TX        Unknown                                           Email from Terri Voskuhl referencing monthly    Unknown                                     Auto             Parking
                                                                                                                                                                                                                                                                  parking charge of 75.78 in Dallas
2943        2018   160896          Unknown                Unknown                 Unknown               n/a                     8/1/2018     Gaedeke Holdings/Granite Properties $      75.78 Dallas, TX        Unknown                                           Woody's parking in Dallas                       Woody                                       Auto             Parking

2944        2018   154706/155170   Unknown                Unknown                 Unknown               n/a                     12/1/2017    Gaedeke Holdings/Granite Properties $      75.78 Dallas, TX        Unknown                                           Email from Terri Voskuhl referencing monthly    Unknown                                     Auto             Parking
                                                                                                                                                                                                                                                                  parking charge of 75.78 in Dallas
2347        2018   156967          EXP-11541              1/30/2018 - 2/4/2018    Patrick McCarty       Traffic Director        2/3/2018     Ace Cab                            $       20.00 Las Vegas, NV     Patrick McCarty - expense from 1/30 - 2/4 for     Cab from MGM grand ballroom to four seasons Patrick McCarty                                 Auto             Taxi
                                                                                                                                                                                                                attending SCI to assist with Chris Cox's speech   plus tip
2695        2018   156967          EXP-11555              1/25/2018 - 2/3/2018    Jon Carter            Senior Associate        2/3/2018     Cash Tips                          $       20.00 Las Vegas, NV     Coordination & management of 2018 SCI event       tip for bellman and valet bags and cab called   Unknown                                     Miscellaneous    Tips
                                                                                                        Political Strategist                                                                                    and Cox speech
2947        2017   147112          EXP-10057              1/27/17 - 2/21/17       Hayley Holmes         Account Executive       2/10/2017    Alexandrian                        $      403.47 Washington, DC    M. Montgomery travel to DC for YFT event &        Hotel room in Alexandrian for meeting with      M Montgomery                                Travel           Lodging
                                                                                                                                                                                                                meetings w/ NRA Execs                            NRA execs
2948        2016   136859          EXP-7135               3/9/2016 - 3/18/2016    Terri Voskuhl         Unknown                 3/9/2016     Four Seasons                       $    21,546.18 Las Vegas, NV    Charges related to business entertainment during Room charges for L. Olsen and various meals      L Olsen                                     Travel           Lodging
                                                                                                                                                                                                                SHOT Show
2949        2017   149459          Unknown                Unknown                 Unknown               n/a                     n/a          Gaedeke Holdings/Granite Properties $      75.78 Dallas, TX        Unknown                                           Parking                                         Unknown                                     Auto             Parking       May parking statement

2950        2017   148749          EXP-10476              4/29/2017 - 5/1/2017    Jon Carter            Senior Associate        4/29/2017    Four Seasons                       $      120.79 Unknown           T. Selleck and Security Team @ NRA Annual Mtg Hotel charges for T. Selleck                        T Selleck                                   Travel           Lodging
                                                                                                        Political Strategist                                                                                    (SK)
2951        2017   151745          7AF5F206FDC541EAA945   8/2/2017                Melanie Montgomery    EVP / Management        8/1/2017     Hanks Oyster Bar                   $      152.70 Washington, DC    August                                            Dinner with N Capossela while in DC for NRA N Capossela; Melanie Montgomery                 Meal/Beverages   Group
                                                                                                        Supervisor                                                                                                                                         meetings with W Phillips
2952        2016   136859          EXP-6749               1/13/2016 - 2/17/2016   Hayley Holmes         Account Executive       1/21/2016    Hard Rock                          $       41.00 Las Vegas, NV     HH Travel/Expenses for 2016 SHOT Show (DG) Meal for HH                                            HH                                          Meal/Beverages   Group

2953        2016   136859          EXP-6784               1/22/2002 - 2/17/2016   Hayley Holmes         Account Executive       1/21/2016    Hard Rock                          $      144.00 Las Vegas, NV     LD SHOT Show Travel/Expenses (DG)                 Refreshments/snacks for LD, HH, Mil personnel LD; HH; Mil personnel; (2/no names) + wives   Meal/Beverages   Group
                                                                                                                                                                                                                                                                 (2/no names) + wives
2954        2017   145564          EXP-9682               11/30/16 - 1/6/17       Hayley Holmes         Account Executive       11/30/2016   Hattie B's                         $       88.48 Nashville, TN     HH additional Nashville expenses (travel for NRA Lunch in Nashville for HH NC TM - travel to      HH; NC; TM                                  Meal/Beverages   Group
                                                                                                                                                                                                                Country event - other expenses reported on ER     Nashville for NRA Country event
2955   11   2017   151745          EXP-10999              8/2/2017 - 8/6/2017     Patrick McCarty       Traffic Director        8/6/2017     HD Full Moving Services            $       80.00 Unknown           Patrick McCarty's personal charges for            Difference due moving company less deposit      Mr Powell                                   Miscellaneous    Other         Patrick McCarty's personal charges for coordinating Josh Powell
                                                                                                                                                                                                                coordinating Josh Powell moving apartments        supplied by Mr. Powell                                                                                                     moving apartments
2956        2017   145564          EXP-9357               11/30/16 - 12/7/16      Nicole Capossela      Senior Vice President   11/30/2016   Hermitage                          $       49.61 Nashville, TN     trip to Nashville for NRA Country/Charlie         snacks at hotel bar in Nashville                Nicole Capossela                            Meal/Beverages   Individual
                                                                                                                                                                                                                Daniels (SG)
2957        2017   148749          EXP-10476              4/29/2017 - 5/1/2017    Jon Carter            Senior Associate        5/1/2017     Four Seasons                       $      163.22 Unknown           T. Selleck and Security Team @ NRA Annual Mtg Hotel charges for D. Gehering                       D Gehering                                  Travel           Lodging
                                                                                                        Political Strategist                                                                                    (SK)
2958        2017   148749          EXP-10476              4/29/2017 - 5/1/2017    Jon Carter            Senior Associate        4/29/2017    Four Seasons                       $      361.80 Unknown           T. Selleck and Security Team @ NRA Annual Mtg Hotel charges for D. Muntz                          D Muntz                                     Travel           Lodging
                                                                                                        Political Strategist                                                                                    (SK)
2959        2017   145564          EXP-9516               11/30/16 - 12/21/16     Hayley Holmes         Account Executive       11/30/2016   Hermitage                          $         7.67 Nashville, TN    travel to Nashville for NRA Country Event with    Honor bar charges for HH during stay            HH                                          Meal/Beverages   Individual
                                                                                                                                                                                                                NRA Execs
2707        2018   157570          EXP-11580              1/31/2018-              Hayley Holmes         Account Executive       2/1/2018     Cash Tips                          $       20.00 Unknown           L. Cremer travel to Vagas for NRATV meeting w/ Cash tip for bellman at check out                  L Cremer                                    Miscellaneous    Tips
                                                          2/1/2018                                                                                                                                              NRA Execs. (tv)
3300        2018   156967          EXP-11541              1/30/2018 - 2/4/2018    Patrick McCarty       Traffic Director        2/4/2018     VeriFone                           $       20.00 Las Vegas, NV     Patrick McCarty - expense from 1/30 - 2/4 for     Cab from four seasons to McCarran airport       Patrick McCarty                             Auto             Taxi
                                                                                                                                                                                                                attending SCI to assist with Chris Cox's speech   plus tip
3301        2018   156967          EXP-11541              1/30/2018 - 2/4/2018    Patrick McCarty       Traffic Director        2/4/2018     VIP Receipt Taxicab                $       20.00 Las Vegas, NV     Patrick McCarty - expense from 1/30 - 2/4 for     Cab from Reagan to MG plus tip                  Patrick McCarty                             Auto             Taxi
                                                                                                                                                                                                                attending SCI to assist with Chris Cox's speech
3398        2018   156967          EXP-11555              1/25/2018 - 2/3/2018    Jon Carter            Senior Associate        2/2/2018     Yellow Checker Star                $       17.00 Las Vegas, NV     Coordination & management of 2018 SCI event       cab to SCI Show                                 Unknown                                     Auto             Taxi
                                                                                                        Political Strategist                                                                                    and Cox speech
2964        2018   160161          Unknown                Unknown                 Unknown               n/a                     7/27/2018    Hertz                              $      127.49 North Carolina    Unknown                                           Unknown                                         Unknown                                     Auto             Car Rental

2965        2017   145564          EXP-9357               11/30/16 - 12/7/16      Nicole Capossela      Senior Vice President   11/30/2016   HMS                                $         3.46 Nashville, TN    trip to Nashville for NRA Country/Charlie         Coffee for trip to Nashville                    Nicole Capossela                            Meal/Beverages   Individual
                                                                                                                                                                                                                Daniels (SG)
2966        2017   145564          EXP-9357               11/30/16 - 12/7/16      Nicole Capossela      Senior Vice President   12/1/2016    HMS                                $       22.90 Nashville, TN     trip to Nashville for NRA Country/Charlie         breakfast for trip hom from Nashville           Nicole Capossela                            Meal/Beverages   Individual
                                                                                                                                                                                                                Daniels (SG)
2967        2017   145808          EXP-9740               1/10/2017 - 12/9/2017   Hayley Holmes         Account Executive       12/9/2017    CXIII/Landini Brothers             $     3,500.00 Alexandria, VA   Unknown                                           Unknown                                         Unknown                                     Event            Room Rental   Meeting room rental for NRA meetings re NRATV, NRA LOD,
                                                                                                                                                                                                                                                                                                                                                                                             NRA Women, Digital Work, etc.
2968        2017   145564          EXP-9357               11/30/16 - 12/7/16      Nicole Capossela      Senior Vice President   12/1/2016    Hermitage                          $      407.72 Nashville, TN     trip to Nashville for NRA Country/Charlie         Hotel for trip to Nashville for NRA             Nicole Capossela                            Travel           Lodging
                                                                                                                                                                                                                Daniels (SG)                                      Country/Charlie Daniels
2969        2017   145564          EXP-9516               11/30/16 - 12/21/16     Hayley Holmes         Account Executive       11/30/2016   Hermitage                          $         6.56 Nashville, TN    travel to Nashville for NRA Country Event with    LD hotel room: honor bar charge during stay     LD                                          Travel           Lodging
                                                                                                                                                                                                                NRA Execs
2970        2017   145564          EXP-9516               11/30/16 - 12/21/16     Hayley Holmes         Account Executive       11/30/2016   Hermitage                          $       43.60 Nashville, TN     travel to Nashville for NRA Country Event with    LD hotel room: Meal/honor bar charge during     LD                                          Travel           Lodging
                                                                                                                                                                                                                NRA Execs                                         stay
2971        2017   145564          EXP-9516               11/30/16 - 12/21/16     Hayley Holmes         Account Executive       11/30/2016   Hermitage                          $      407.72 Nashville, TN     travel to Nashville for NRA Country Event with    hotel room for MM in Nashville for NRAC         MM                                          Travel           Lodging
                                                                                                                                                                                                                NRA Execs                                         event
2972        2018   155520          5260BE9D30F046589A20   1/31/2018               Hayley Holmes         Account Executive       1/5/2018     Hotel Zaza                         $       22.73 Dallas, TX        January 18A                                       Meal for Brady Wardlaw for NRA executive        Brady Wardlaw                               Meal/Beverages   Individual
                                                                                                                                                                                                                                                                  photoshoot in Dallas
2973        2018   155520          5260BE9D30F046589A20   1/31/2018               Hayley Holmes         Account Executive       1/5/2018     Hotel Zaza                         $       23.82 Dallas, TX        January 18A                                       Meal for Deb Dover for NRA executive            Deb Dover                                   Meal/Beverages   Individual
                                                                                                                                                                                                                                                                  photoshoot in Dallas
2974        2017   145564          EXP-9516               11/30/16 - 12/21/16     Hayley Holmes         Account Executive       11/30/2016   Hermitage                          $      407.72 Nashville, TN     travel to Nashville for NRA Country Event with    LD hotel room Nashville for NRAC event          LD                                          Travel           Lodging
                                                                                                                                                                                                                NRA Execs
2975        2017   145564          EXP-9516               11/30/16 - 12/21/16     Hayley Holmes         Account Executive       11/30/2016   Hermitage                          $      407.72 Nashville, TN     travel to Nashville for NRA Country Event with    Hotel room for HH in Nashville for NRAC         HH                                          Travel           Lodging
                                                                                                                                                                                                                NRA Execs                                         event
2976        2018   155520          94F0140E9B3E48448126   01/31/2018              Eric Van Horn         Account Executive       1/5/2018     Hotel Zaza                         $       67.12 Dallas, TX        JAN18                                             Photography location fee/craft                  Unknown                                     Miscellaneous    Other

2977        2018   155520          94F0140E9B3E48448126   01/31/2018              Eric Van Horn         Account Executive       1/5/2018     Hotel Zaza                         $     3,073.81 Dallas, TX       JAN18                                             Photography location fee/craft services for SLP SLP                                         Miscellaneous    Other
                                                                                                                                                                                                                                                                  photo shoot
2978        2017   151745          7AF5F206FDC541EAA945   8/2/2017                Melanie Montgomery    EVP / Management        8/3/2017     Hotel Indigo                       $      360.82 Washington, DC    August                                            Meetings in DC with W Phillips                  W Phillips; Melanie Montgomery              Travel           Lodging
                                                                                                        Supervisor
2979        2016   136859          EXP-6784               1/22/2002 - 2/17/2016   Hayley Holmes         Account Executive       1/24/2016    Hudson                             $       16.11 Las Vegas, NV     LD SHOT Show Travel/Expenses (DG)                 Waters/snacks at airport                        LD                                          Meal/Beverages   Individual

2980        2016   136859          EXP-6784               1/22/2002 - 2/17/2016   Hayley Holmes         Account Executive       1/22/2016    Hudson                             $       24.34 Las Vegas, NV     LD SHOT Show Travel/Expenses (DG)                 Water/snacks at airport                         LD                                          Meal/Beverages   Individual

2981        2016   136859          EXP-6784               1/22/2002 - 2/17/2016   Hayley Holmes         Account Executive       1/18/2016    Hudson                             $       25.32 Las Vegas, NV     LD SHOT Show Travel/Expenses (DG)                 Water/snacks at airport                         LD                                          Meal/Beverages   Individual

2982        2017   145564          EXP-9357               11/30/16 - 12/7/16      Nicole Capossela      Senior Vice President   11/30/2016   Hudson                             $         5.29 Nashville, TN    trip to Nashville for NRA Country/Charlie         Snacks for Trip to Nashville                    Nicole Capossela                            Meal/Beverages   Individual
                                                                                                                                                                                                                Daniels (SG)
2983        2017   145564          EXP-9516               11/30/16 - 12/21/16     Hayley Holmes         Account Executive       11/30/2016   Hudson                             $       22.78 Nashville, TN     travel to Nashville for NRA Country Event with    Waters/snacks at airport (no receipt)           Hayley Holmes                               Meal/Beverages   Individual
                                                                                                                                                                                                                NRA Execs
2984        2017   146420          EXP-9895               1/19/2016-              Hayley Holmes         Account Executive       1/16/2017    Hudson                             $       14.68 Las Vegas, NV     L. Duffy travel to Las Vegas fpr 2017 SHOT Show Water/Snacks at the airport (no reciept)          L Duffy                                     Meal/Beverages   Individual
                                                          2/8/2017                                                                                                                                              (SG)
2985        2017   146420          EXP-9895               1/19/2016-              Hayley Holmes         Account Executive       1/20/2017    Hudson                             $         5.29 Las Vegas, NV    L. Duffy travel to Las Vegas fpr 2017 SHOT Show Water at the airport                              L Duffy                                     Meal/Beverages   Individual
                                                          2/8/2017                                                                                                                                              (SG)
2986        2017   147112          EXP-10033              1/30/2017 - 2/21/17     Hayley Holmes         Account Executive       2/10/2017    Hudson                             $       10.86 Washington, DC    L. Duffy trip to DC for YFT event and meetings    Meal/water at airport                           L Duffy                                     Meal/Beverages   Individual
                                                                                                                                                                                                                w/ NRA Executives (SG)
2987        2017   147112          EXP-9983               1/15/17 - 2/15/17       Hayley Holmes         Account Executive       1/21/2017    Hudson                             $       21.13 Las Vegas, NV     HH Travel to Vegas for 2017 SHOT Show             Water/snack at airport                          HH                                          Meal/Beverages   Individual

2988        2017   147112          EXP-9983               1/15/17 - 2/15/17       Hayley Holmes         Account Executive       1/15/2017    Hudson                             $       23.81 Las Vegas, NV     HH Travel to Vegas for 2017 SHOT Show             Water/breakfast for DLS at airport              DLS                                         Meal/Beverages   Individual

2989        2017   147112          EXP-9983               1/15/17-2/15/2017       Hayley Holmes         Account Executive       1/15/2017    Hudson                             $       26.36 Las Vegas, NV     HH Travel to Vegas for 2017 SHOT Show             Water/juice/snack for HH at airport             HH                                          Meal/Beverages   Individual

3085        2018   156967          EXP-11541              1/30/2018 - 2/4/2018    Patrick McCarty       Traffic Director        2/3/2018     MGM                                $       15.00 Las Vegas, NV     Patrick McCarty - expense from 1/30 - 2/4 for     cash tip to MGM staff to help prepare Chris'    Patrick McCarty                             Miscellaneous    Tips
                                                                                                                                                                                                                attending SCI to assist with Chris Cox's speech   green room leading up to SCI show speech
2991        2016   140440          EXP-7759               5/5/2016 to 6/24/16     Hayley Holmes         Account Executive       5/16/2016    Hudson Brooks                      $         3.79 Louisville, KY   Expense report states 'L. Duffy travel/expenses   Water/snack at the airport                      Lacey Duffy                                 Meal/Beverages   Individual
                                                                                                                                                                                                                for the 2016 knar a/m in louisville (SG)'




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3298   2018   156967   EXP-11541              1/30/2018 - 2/4/2018    Patrick McCarty       Traffic Director    2/2/2018     Vegas Western Cab                   $     15.00 Las Vegas, NV     Patrick McCarty - expense from 1/30 - 2/4 for        Cab from Four Seasons to MGM Grand plus tip Patrick McCarty                   Auto             Taxi
                                                                                                                                                                                               attending SCI to assist with Chris Cox's speech
2993   2018   159388   Unknown                Unknown                 Unknown               n/a                 6/6/2018     Hotel Indigo                        $   (537.25) Unknown          Unknown                                              Hotel Indigo Refund - Room canceled              Unknown                      Travel           Lodging

2994   2018   159547   0F0A7329E0DC41FCA114   05/07/2018              Lacey Cremer/Duffy    SVP / Account       4/24/2018    Dolce Riviera                       $    586.62 Unknown           May18                                                meal for LDC, MM HH and NRA donor                LDC; HH; MM; NRA donor       Meal/Beverages   Group
                                                                                            Supervisor
2995   2016   139727   Unknown                Unknown                 Unknown               n/a                 5/13/2016    Hotel Monaco                        $    834.63 Alexandria, VA    Unknown                                              Hotel room for Josh Powell from 5/3/16 to        Josh Powell                  Travel           Lodging
                                                                                                                                                                                                                                                    5/6/16
2996   2018   155520   5260BE9D30F046589A20   1/31/2018               Hayley Holmes         Account Executive   1/5/2018     Hotel Zaza                          $    747.65 Dallas, TX        January 18A                                          Hotel room for Deb Dover for NRA executive Deb Dover                          Travel           Lodging
                                                                                                                                                                                                                                                    photoshoot in Dallas
2997   2018   155520   5260BE9D30F046589A20   1/31/2018               Hayley Holmes         Account Executive   1/5/2018     Hotel Zaza                          $    886.89 Dallas, TX        January 18A                                          Hotel room for Brady Wardlaw for NRA             Brady Wardlaw                Travel           Lodging
                                                                                                                                                                                                                                                    executive photoshoot in Dallas
2998   2018   159388   95D136D9FFEF487BA53B   5/23/2018               Eric Van Horn         Account Executive   5/2/2018     Hotel Zaza                          $    459.89 Unknown           May Expenses Report - 1st                            EVH Hotel Room stay during Annual Meetings       EVH                          Travel           Lodging

2999   2016   139727   Unknown                Unknown                 Unknown               n/a                 5/25/2016    Brady Wardlaw                       $    753.19 Mt. Juliet, TN    Unknown                                              Meals - Hotel Folio of $330.96; Meals of         Unknown                      Meal/Beverages   Individual
                                                                                                                                                                                                                                                    $261.23; Uber of $161
3000   2018   158521   Unknown                Unknown                 Hayley Holmes         Account Executive   5/1/2018     Brady Wardlaw                       $    900.00 Unknown           Unknown                                              Hayley Holmes - Travel from Nashville to         Hayley Holmes                Travel           Airfare
                                                                                                                                                                                                                                                    Dallas
3001   2016   142347   Unknown                Unknown                 Unknown               n/a                 8/5/2016     Lenon Security Corporation          $   5,500.00 Alexandria, VA   Unknown                                              For security services conducted for the          The Mercury Group            Travel           Lodging
                                                                                                                                                                                                                                                    Mercury Group located in Alexandria, VA on
2864   2018   156967   EXP-11541              1/30/2018 - 2/4/2018    Patrick McCarty       Traffic Director    2/3/2018     Desert Cab                          $     13.00 Las Vegas, NV     Patrick McCarty - expense from 1/30 - 2/4 for        Cab from MGM grand to four seasons plus tip      Patrick McCarty; Chris Cox   Auto             Taxi
                                                                                                                                                                                               attending SCI to assist with Chris Cox's speech
3003   2018   154707   02528FE380E14576A01F   1/16/2018               Eric Van Horn         Account Executive   1/7/2018     Omni Hotel                          $   1,128.20 Dallas, TX       January                                              Hotel stay for Tony Makris guest during DSC      Tony Makris                  Travel           Lodging

3004   2018   154707   02528FE380E14576A01F   1/16/2018               Eric Van Horn         Account Executive   1/8/2018     Omni Hotel                          $   1,908.10 Dallas, TX       January                                              Hotel stay for Tony Makris during DSC            Tony Makris                  Travel           Lodging

3005   2018   154707   94F0140E9B3E48448126   1/31/2018               Eric Van Horn         Account Executive   1/8/2018     Omni Hotel                          $     52.22 Dallas, TX        18-Jan                                               Hotel stay for Tony Makris during DSC            Tony Makris                  Travel           Lodging

3006   2018   158521   Unknown                Unknown                 Hayley Holmes         Account Executive   5/2/2018     Brady Wardlaw                       $   1,800.00 Mt. Juliet, TN   Unknown                                              Hayley Holmes - full day makeup                  Hayley Holmes                Miscellaneous    Other

3007   2018   158521   Unknown                Unknown                 Hayley Holmes         Account Executive   5/3/2018     Brady Wardlaw                       $   1,800.00 Mt. Juliet, TN   Unknown                                              Hayley Holmes - full day makeup                  Hayley Holmes                Miscellaneous    Other

3008   2016   139727   Unknown                Unknown                 Unknown               n/a                 5/27/2016    Ridgewood by Windsor                $   4,950.00 Fairfax, VA      Unknown                                              June 6/2 - 6/30 pro-rated rent; $100 application Nader Tavangar               Travel           Lodging
                                                                                                                                                                                                                                                    fee and $500 security deposit for Nader
3009   2017   149459   EXP-10496              4/26/2017 - 6/5/2017    Jeff Minson           Financial Analyst   4/26/2017    I.I. & I.S Inc.                     $    426.87 Unknown           NR air charter for dana loesch - dallas to atlanta   Ground transportation Dallas to air center       Dana Loesch                  Auto             Car Service
                                                                                                                                                                                               to attend NR annual meetings and pre-meetings        petty
3010   2017   149459   EXP-10496              4/26/2017 - 6/5/2017    Jeff Minson           Financial Analyst   4/26/2017    I.I. & I.S Inc.                     $    433.37 Unknown           NR air charter for dana loesch - dallas to atlanta   Ground transportation dallas to air center dana Dana Loesch                   Auto             Car Service
                                                                                                                                                                                               to attend NR annual meetings and pre-meetings        loesch
3011   2017   149459   EXP-10496              4/26/2017 - 6/5/2017    Jeff Minson           Financial Analyst   4/26/2017    I.I. & I.S Inc.                     $    462.44 Unknown           NR air charter for dana loesch - dallas to atlanta   ground transportation atlanta to air center to   Dana Loesch                  Auto             Car Service
                                                                                                                                                                                               to attend NR annual meetings and pre-meetings        atlanta four seasons dana loesch
3012   2017   143169   EXP-8798               9/11/2016 - 10/3/2016   Hayley Holmes         Account Executive   9/11/2016    Ritz Carlton                        $    801.92 Unknown           Hotel room for Exec H/MU for 2016 Summit (in         Hotel room for Deb Dover (H/MU) during           Deb Dover                    Travel           Lodging
                                                                                                                                                                                               HH's name/on HH's card)                              Summit
3013   2018   158521   Unknown                Unknown                 Hayley Holmes         Account Executive   5/4/2018     Brady Wardlaw                       $   1,800.00 Mt. Juliet, TN   Unknown                                              Hayley Holmes - full day makeup                  Hayley Holmes                Miscellaneous    Other

3014   2017   150457   Unknown                Unknown                 Unknown               n/a                 5/20/2017    I.I. & I.S Inc.                     $   2,000.00 Unknown          Unknown                                              Gratuity for Driver                              Unknown                      Miscellaneous    Tips

3015   2017   143169   EXP-8798               9/11/2016 - 10/3/2016   Hayley Holmes         Account Executive   9/11/2016    Ritz Carlton                        $    801.92 Unknown           Hotel room for Exec H/MU for 2016 Summit (in         Hotel room for Brady Wardlaw (H/MU) during Brady Wardlaw                      Travel           Lodging
                                                                                                                                                                                               HH's name/on HH's card)                              Summit
3016   2017   147112   EXP-10033              1/30/2017 - 2/21/17     Hayley Holmes         Account Executive   2/12/2017    Ritz Carlton                        $    207.20 Washington, DC    L. Duffy trip to DC for YFT event and meetings       Hotel room in McLean, VA for YFT event w/        L Duffy                      Travel           Lodging
                                                                                                                                                                                               w/ NRA Executives (SG)                               NRA execs
3017   2017   147112   EXP-10057              1/27/17 - 2/21/17       Hayley Holmes         Account Executive   2/11/2017    Ritz Carlton                        $    278.88 Washington, DC    M. Montgomery travel to DC for YFT event &           Hotel room at the Ritz Tysons Corner for YFT M Montgomery                     Travel           Lodging
                                                                                                                                                                                               meetings w/ NRA Execs                                event
3018   2018   158521   Unknown                Unknown                 Hayley Holmes         Account Executive   5/5/2018     Brady Wardlaw                       $   1,800.00 Mt. Juliet, TN   Unknown                                              Hayley Holmes - full day makeup                  Hayley Holmes                Miscellaneous    Other

3019   2017   150457   284DF493669C41A2BC88   6/2/2017                Hayley Holmes         Account Executive   4/26/2017    W Hotel                             $    339.50 Unknown           May Expense 2                                        J. Powell no-show hotel charge during A/M (2     J Powell                     Travel           Lodging
                                                                                                                                                                                                                                                    of 2)
3020   2017   150457   284DF493669C41A2BC88   6/2/2017                Hayley Holmes         Account Executive   4/26/2017    W Hotel                             $    339.50 Unknown           May Expense 2                                        J. Powell no-show hotel charge during A/M (1     J Powell                     Travel           Lodging
                                                                                                                                                                                                                                                    of 2)
3021   2017   148749   EXP-10507              4/26/2017 - 4/30/2017   Patrick McCarty       Traffic Director    4/30/2017    Westin Hotel                        $     38.00 Unknown           Patrick McCarty Out of Pocket expenses for           Tony Makris guests' Sherry and Jerry Collins     Sherry & Jerry Collins       Travel           Lodging
                                                                                                                                                                                               NRA Annual Meetings in Atlanta 4/26-4/30             hotel room incidentals - valet parking charge
3022   2018   160161   Unknown                Unknown                 Unknown               n/a                 7/28/2018    Westin Hotel                        $    400.22 Charlotte, NC     Unknown                                              Unknown                                          Unknown                      Travel           Lodging

3023   2016   136859   EXP-6749               1/13/2016 - 2/17/2016   Hayley Holmes         Account Executive   1/22/2016    Wynn                                $     56.00 Las Vegas, NV     HH Travel/Expenses for 2016 SHOT Show (DG) Early check-in fee; arrived early to set up                HH                           Travel           Lodging
                                                                                                                                                                                                                                                    sponsor meeting room
3024   2016   136859   EXP-6784               1/22/2002 - 2/17/2016   Hayley Holmes         Account Executive   1/18/2016    Wynn                                $   (614.88) Las Vegas, NV    LD SHOT Show Travel/Expenses (DG)                    Room deposit refund to LD's corp card            LD                           Travel           Lodging
                                                                                                                                                                                                                                                    (previously reported on ER 5187)
3025   2016   136859   EXP-6784               1/22/2002 - 2/17/2016   Hayley Holmes         Account Executive   1/18/2016    Wynn                                $   (614.88) Las Vegas, NV    LD SHOT Show Travel/Expenses (DG)                    Room deposit refund to LD's corp card            LD                           Travel           Lodging
                                                                                                                                                                                                                                                    (previously reported on ER 5187)
3026   2016   136859   EXP-6907               1/8/2016 - 2/17/2016    Hayley Holmes         Account Executive   1/18/2016    Wynn                                $   (614.88) Las Vegas, NV    MM SHOT Show Travel/Expenses                         Room deposit refund to MM's corp card            MM                           Travel           Lodging
                                                                                                                                                                                                                                                    (previously reported on ER 5241)
3027   2016   136859   EXP-6907               1/8/2016 - 2/17/2016    Hayley Holmes         Account Executive   1/21/2016    Wynn                                $    278.88 Las Vegas, NV     MM SHOT Show Travel/Expenses                         Additional room charges (early check-in/room     MM; T Makris                 Travel           Lodging
                                                                                                                                                                                                                                                    change, etc.) for MM; partial charges
3028   2018   159388   Unknown                Unknown                 Unknown               n/a                 6/1/2018     I.I. & I.S Inc.                     $   4,000.00 Unknown          Unknown                                              Unknown                                          Unknown                      Travel           Travel Service

3029   2016   136859   EXP-6907               1/8/2016 - 2/17/2016    Hayley Holmes         Account Executive   1/18/2016    Wynn                                $    515.20 Las Vegas, NV     MM SHOT Show Travel/Expenses                         Additional room charges (early check-in/room     LD                           Travel           Lodging
                                                                                                                                                                                                                                                    change, etc.) for LD on MM's corp card
3030   2018   158521   Unknown                Unknown                 Hayley Holmes         Account Executive   5/6/2018     Brady Wardlaw                       $   1,800.00 Mt. Juliet, TN   Unknown                                              Hayley Holmes - full day makeup/travel           Hayley Holmes                Miscellaneous    Other

3031   2016   139727   Unknown                Unknown                 Unknown               n/a                 5/21/2016    Debbie Dover                        $   3,803.93 Joelton, TN      Unknown                                              NRA rate 1000 x 3; NRA travel rate of $500;      Unknown                      Miscellaneous    Other            Note on invoice states additional amount approved by LD; PO
                                                                                                                                                                                                                                                    food/beverage reimbursements; processing fee                                                                    110097
3032   2016   141517   EXP-8212               1/14/2016 - 7/27/2016   Hayley Holmes         Account Executive   1/20/2016    Wynn                                $   (614.88) Las Vegas, NV    MM Clean up report (SG)                              Refunded deposit for Shot Show hotel room        MM                           Travel           Lodging

3033   2016   140440   EXP-7887               5/6/2016 to 6/30/2016   Hayley Holmes         Account Executive   5/21/2016    J. Nicolle Salon                    $    150.00 Louisville, KY    MM travel/expenses for 2016 NRA annual               Hair/make up for NRA Exec                        NRA exec                     Miscellaneous    Other
                                                                                                                                                                                               meetings in Louisville
3034   2017   150457   Unknown                Unknown                 Unknown               n/a                 5/20/2017    I.I. & I.S Inc.                     $   1,700.00 Unknown          Unknown                                              Gratuity for Driver                              Unknown                      Miscellaneous    Tips

3035   2018   154261   8AB3D34A54624056A865   11/7/2017               Lacey Cremer/Duffy    SVP / Account       10/26/2017   Virgin America                      $    902.41 Unknown           November                                             Travel w/M. Montgomery for meeting with Josh M Montgomery; Lacey Duffy        Travel           Airfare
                                                                                            Supervisor                                                                                                                                              Powell (booked to travel/work with MM on
3036   2016   143559   Unknown                Unknown                 Unknown               n/a                 10/1/2016    JM Uber Transportation Recoveries   $    891.43 Unknown           Unknown                                              Black cars for Anthony Makris (13 trips) in CA Anthony Makris                 Auto             Taxi
                                                                                                                                                                                                                                                    from 10/6 to 10/16
3037   2018   154707   Unknown                Unknown                 Unknown               n/a                 1/31/2018    JM Uber Transportation Recoveries   $       9.77 Unknown          Unknown                                              Pick up Eric Van Horn from 635 S Lamar Dallas Eric Van Horn                   Auto             Car Service
                                                                                                                                                                                                                                                    to 1602 Cedar; transportation to pick up
3038   2018   154707   Unknown                Unknown                 Unknown               n/a                 1/31/2018    JM Uber Transportation Recoveries   $     10.70 Unknown           Unknown                                              Pick up Eric Van Horn from 808 Young Street      Eric Van Horn                Auto             Car Service
                                                                                                                                                                                                                                                    Dallas to 1709 McKinney; transportation after
3039   2018   154707   Unknown                Unknown                 Unknown               n/a                 1/31/2018    JM Uber Transportation Recoveries   $     19.58 Unknown           Unknown                                              Pick up Eric Van Horn from 725 S. Austin         Eric Van Horn                Auto             Car Service
                                                                                                                                                                                                                                                    Street Dallas to 6115 Owe; transportation
3040   2018   154707   Unknown                Unknown                 Unknown               n/a                 1/31/2018    JM Uber Transportation Recoveries   $     21.27 Unknown           Unknown                                              Pick up Eric van Horn from 72 S Austin Street    Eric Van Horn                Auto             Car Service
                                                                                                                                                                                                                                                    Dallas to 6115 Owe; transportation home from
3041   2018   154707   Unknown                Unknown                 Unknown               n/a                 1/31/2018    JM Uber Transportation Recoveries   $     23.68 Unknown           Unknown                                              Pick up Eric Van Horn from 5914 Maple        Eric Van Horn                    Auto             Car Service
                                                                                                                                                                                                                                                    Avenue to 810 Young; transportation to Tony
3042   2018   154707   Unknown                Unknown                 Unknown               n/a                 1/31/2018    JM Uber Transportation Recoveries   $     24.71 Unknown           Unknown                                              Pick up Eric Van Horn from 6008 Maple Ave        Eric Van Horn                Auto             Car Service
                                                                                                                                                                                                                                                    Dallas to 798 Young; transportation to Tony
3043   2018   154707   Unknown                Unknown                 Unknown               n/a                 1/31/2018    JM Uber Transportation Recoveries   $     28.08 Unknown           Unknown                                              Pick up Eric Van horn from 1798 McKinney Ave Eric Van Horn                    Auto             Car Service
                                                                                                                                                                                                                                                    Dallas to 1798 McKinney; transportation to
3044   2018   154707   Unknown                Unknown                 Unknown               n/a                 1/31/2018    JM Uber Transportation Recoveries   $     45.12 Unknown           Unknown                                              Pick up Melanie Montgomery at 2199 Wolf St.      Melanie Montgomery           Auto             Car Service
                                                                                                                                                                                                                                                    Dallas and drop off at 7889 Herb; billable NR




                                                                                                                                                                                                                                                                                                                                                                                                            APP. 02063
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3045        2018   154707   Unknown                Unknown                   Unknown               n/a                    1/31/2018    JM Uber Transportation Recoveries   $      59.56 Unknown           Unknown                                           Pick up Nader Tavangar from 1709 McKinney        Nader Tavangar                                      Auto             Car Service
                                                                                                                                                                                                                                                            Ave. Dallas to 4150 N. MacArthur; return from
3046        2018   154707   Unknown                Unknown                   Unknown               n/a                    1/31/2018    JM Uber Transportation Recoveries   $      60.66 Unknown           Unknown                                           Pick up Nader Tavangar from 4150 N.           Nader Tavangar                                         Auto             Car Service
                                                                                                                                                                                                                                                            MacArthur Blvd Irving TX to 1709 McKinney;
3047        2018   154707   Unknown                Unknown                   Unknown               n/a                    1/31/2018    JM Uber Transportation Recoveries   $      61.91 Unknown           Unknown                                           Pick up Nader Tavangar from 2121 N. Akard St. Nader Tavangar                                         Auto             Car Service
                                                                                                                                                                                                                                                            Dallas to 1063 Dyr; travel to hotel venue to
3048        2018   154707   Unknown                Unknown                   Unknown               n/a                    1/31/2018    JM Uber Transportation Recoveries   $      68.34 Unknown           Unknown                                           Pick up Tony Makris at 3212 Ledgewood Drive, Tony Makris                                             Auto             Car Service
                                                                                                                                                                                                                                                            Los Angeles and drop at IAC Building
3049        2018   154707   Unknown                Unknown                   Unknown               n/a                    1/31/2018    JM Uber Transportation Recoveries   $      71.47 Unknown           Unknown                                           Pick up Eric Van Horn from 2215 N. Akard         Eric Van Horn                                       Auto             Car Service
                                                                                                                                                                                                                                                            Street Dallas to 808 Young; transportation for
2377        2018   156967   EXP-11555              1/25/2018 - 2/3/2018      Jon Carter            Senior Associate       2/2/2018     ANLV                                $      12.00 Las Vegas, NV     Coordination & management of 2018 SCI event       Cab to mgm                                       Unknown                                             Auto             Taxi
                                                                                                   Political Strategist                                                                                   and Cox speech
2378        2018   156967   EXP-11555              1/25/2018 - 2/3/2018      Jon Carter            Senior Associate       2/3/2018     ANLV                                $      12.00 Las Vegas, NV     Coordination & management of 2018 SCI event       cab to SCI Show                                  Unknown                                             Auto             Taxi
                                                                                                   Political Strategist                                                                                   and Cox speech
2897        2018   156967   EXP-11541              1/30/2018 - 2/4/2018      Patrick McCarty       Traffic Director       2/4/2018     Four Seasons                        $      11.91 Las Vegas, NV     Patrick McCarty - expense from 1/30 - 2/4 for     press lounge breakfast 1/31                      Patrick McCarty                                     Meal/Beverages   Individual
                                                                                                                                                                                                          attending SCI to assist with Chris Cox's speech
3053        2018   158521   Unknown                Unknown                   Unknown               n/a                    5/14/2018-   JM Uber Transportation Recoveries   $     128.41 NYC               Unknown                                           4 Black Cars for Tony Makris NYC                 Tony Makris                                         Auto             Taxi
                                                                                                                          5/15/2018
3054        2016   140440   EXP-7759               5/5/2016 to 6/24/16       Hayley Holmes         Account Executive      5/21/2016    KFC Yum! Center                     $      23.50 Louisville, KY    Expense report states 'L. Duffy travel/expenses   snack/waters for LD/HH/MM/clients                Lacey Duffy; HH; MM; clients                        Meal/Beverages   Group
                                                                                                                                                                                                          for the 2016 knar a/m in louisville (SG)'
3055        2016   141517   EXP-7759               5/5/2016 - 5/31/2016      Hayley Holmes         Account Executive      5/20/2016    KFC Yum! Center                     $      33.00 Louisville, KY    travel expenses for the 2016 NRA A/M in           Snacks/waters for HH/LD/clients at Yum!          HH; LD; clients                                     Meal/Beverages   Group
                                                                                                                                                                                                          Louisville
3056        2017   144737   EXP-9238               10/24/2016 - 11/30/2016   Hayley Holmes         Account Executive      10/26/2016   Wynn                                $     284.65 Las Vegas, NV     2017 SOT Show Expenses/Registration/etc.          Hotel Room deposit for Shot show                 Hayley Holmes                                       Travel           Lodging

3057        2017   145564   EXP-9331               8/29/2016 - 12/5/2016     Hayley Holmes         Account Executive      10/26/2016   Wynn                                $     284.65 Las Vegas, NV     MM Clean up Report Oct/Nov                        Hotel Deposit for MM for 2017 SHOT Show          MM                                                  Travel           Lodging
                                                                                                                                                                                                                                                            (room under HH - deposit charged to MM)
3058        2018   160161   Unknown                Unknown                   Unknown               n/a                    7/6/2018     Kindle                              $      22.99 Unknown           Unknown                                           Unknown                                          Unknown                                             Miscellaneous    Other

3059        2017   146420   EXP-9895               1/19/2016-                Hayley Holmes         Account Executive      1/18/2017    Laguna                              $      13.36 Las Vegas, NV     L. Duffy travel to Las Vegas fpr 2017 SHOT Show Cokes/waters for LD, MM, HH                        MM; HH; L Duffy                                     Meal/Beverages   Group
                                                   2/8/2017                                                                                                                                               (SG)
3060        2017   146420   EXP-9895               1/19/2016-                Hayley Holmes         Account Executive      1/18/2017    Laguna                              $      88.62 Las Vegas, NV     L. Duffy travel to Las Vegas fpr 2017 SHOT Show Clients refreshments - G. Peterson, LD, MM,        G Peterson; L Duffy; MM; HH; Navy Personnel         Meal/Beverages   Group
                                                   2/8/2017                                                                                                                                               (SG)                                              HH, Navy Personnel
3061        2017   146420   EXP-9901               1/16/2017-                Hayley Holmes         Account Executive      1/17/2017    Laguna                              $      17.14 Las Vegas, NV     M. Montgomery travel to Vegas for 2017 SHOT       Sodas and waters for HH and MM (No reciept) HH; M Montgomery                                         Meal/Beverages   Group
                                                   1/31/2017                                                                                                                                              Show
3062        2017   147112   EXP-9983               1/15/17 - 2/15/17         Hayley Holmes         Account Executive      1/18/2017    Laguna                              $      13.36 Las Vegas, NV     HH Travel to Vegas for 2017 SHOT Show             Sodas/waters for MM and HH                       HH; MM                                              Meal/Beverages   Group

3063        2017   147112   EXP-9983               1/15/17 - 2/15/17         Hayley Holmes         Account Executive      1/18/2017    Laguna                              $      20.20 Las Vegas, NV     HH Travel to Vegas for 2017 SHOT Show             Sodas/waters for MM and HH, LD                   HH; MM; LD                                          Meal/Beverages   Group

3064        2017   147112   EXP-9983               1/15/17 - 2/15/17         Hayley Holmes         Account Executive      1/18/2017    Laguna                              $     428.27 Las Vegas, NV     HH Travel to Vegas for 2017 SHOT Show             Client refreshments                              HH                                                  Meal/Beverages   Individual

3065        2017   150457   EXP-10723              2/16/2017-                Hayley Holmes         Account Executive      2/16/2017    Laguna                              $      (20.20) Unknown         H. Holmes reversal report                         Reversal of ER 9983                              Unknown                                             Miscellaneous    Other         H. Holmes reversal report
                                                   6/14/2017
3066        2017   147112   EXP-9983               1/15/17 - 2/15/17         Hayley Holmes         Account Executive      1/19/2017    Lamonts                             $      12.98 Las Vegas, NV     HH Travel to Vegas for 2017 SHOT Show             Water                                            HH                                                  Meal/Beverages   Individual

3067        2018   156967   Unknown                Unknown                   Unknown               n/a                    3/18/2018    Laurey Peat & Associates            $   10,000.00 Dallas, TX       Unknown                                           NO PO; Approved NT Billable NR OOP               G Pond; W Phillips                                  Miscellaneous    Other
                                                                                                                                                                                                                                                            purpose: G Pond/W Phillips approved for
3068        2018   159388   Unknown                Unknown                   Unknown               n/a                    6/30/2018    Laurey Peat & Associates            $    5,000.00 Unknown          Unknown                                           Public Relations for all activities              Unknown                                             Miscellaneous    Other

3069        2018   159388   Unknown                Unknown                   Unknown               n/a                    6/30/2018    Laurey Peat & Associates            $     605.50 Unknown           Unknown                                           Public Relations for all activities              Unknown                                             Miscellaneous    Other

3070        2018   155520   Unknown                Unknown                   Unknown               n/a                    1/4/2018     Laurie Graham King                  $    1,875.00 Frisco, TX       Unknown                                           Full day of photo shoot + styling                Hayley Holmes                                       Miscellaneous    Other

3071        2018   159388   434403E136C841FFB796   5/8/2018                  Eric Van Horn         Account Executive      5/6/2018     Le Bilboquet                        $     286.48 Unknown           May 2018 - JG                                     Dinner for EVH, HH, AA during AM                 EVH; HH; AA                                         Meal/Beverages   Group

3072        2017   145564   EXP-9331               8/29/2016 - 12/5/2016     Hayley Holmes         Account Executive      10/26/2016   Wynn                                $     284.65 Las Vegas, NV     MM Clean up Report Oct/Nov                        Hotel Deposit for Nic Capossela for 2017         Nic Capossela                                       Travel           Lodging
                                                                                                                                                                                                                                                            SHOT Show (room under HH - deposit
3073        2016   140440   EXP-7887               5/6/2016 to 6/30/2016     Hayley Holmes         Account Executive      5/18/2016    Lilly's Bistro                      $      69.30 Louisville, KY    MM travel/expenses for 2016 NRA annual            Lunch for MM, LD,HH                              HH; LD; Melanie Montgomery                          Meal/Beverages   Group
                                                                                                                                                                                                          meetings in Louisville
3074        2017   147112   EXP-9983               1/15/17 - 2/15/17         Hayley Holmes         Account Executive      1/15/2017    Lobby Bar Café                      $      48.02 Las Vegas, NV     HH Travel to Vegas for 2017 SHOT Show             Client refreshments - HH, C. Sprangers, C.       HH; C Sprangers; C Fiandt; R Kirk; R Vandevoort     Meal/Beverages   Group
                                                                                                                                                                                                                                                            Fiandt, R. Kirk/R. Vandevoort
3075        2017   147112   EXP-9983               1/15/17 - 2/15/17         Hayley Holmes         Account Executive      1/15/2017    Lobby Bar Café                      $      52.26 Las Vegas, NV     HH Travel to Vegas for 2017 SHOT Show             Client refreshments - C. Sprangers, C. Fiandt,   C Sprangers; C Fiandt; R Kirk                       Meal/Beverages   Group
                                                                                                                                                                                                                                                            R. Kirk
3076        2017   147112   EXP-9983               1/15/17 - 2/15/17         Hayley Holmes         Account Executive      1/16/2017    Lobby Bar Café                      $      72.02 Las Vegas, NV     HH Travel to Vegas for 2017 SHOT Show             Working dinner w/ WLF staff to discuss           WLF staff; HH                                       Meal/Beverages   Group
                                                                                                                                                                                                                                                            NRA/WLF
3077        2017   151745   7AF5F206FDC541EAA945   8/2/2017                  Melanie Montgomery    EVP / Management       8/3/2017     Love Field Airport                  $      66.00 Dallas, TX        August                                            Parking at Love Field during DC trip             Unknown                                             Auto             Parking
                                                                                                   Supervisor
2898        2018   156967   EXP-11541              1/30/2018 - 2/4/2018      Patrick McCarty       Traffic Director       2/4/2018     Four Seasons                        $      11.91 Las Vegas, NV     Patrick McCarty - expense from 1/30 - 2/4 for     press lounge breakfast 2/1                       Patrick McCarty                                     Meal/Beverages   Individual
                                                                                                                                                                                                          attending SCI to assist with Chris Cox's speech
3079        2017   145564   EXP-9331               8/29/2016 - 12/5/2016     Hayley Holmes         Account Executive      10/26/2016   Wynn                                $     284.65 Las Vegas, NV     MM Clean up Report Oct/Nov                        Hotel Deposit for D LaSorte for 2017 SHOT        D LaSorte                                           Travel           Lodging
                                                                                                                                                                                                                                                            Show (room under HH - deposit charged to
3080        2016   136859   EXP-6784               1/22/2002 - 2/17/2016     Hayley Holmes         Account Executive      1/20/2016    Luxe                                $        7.00 Las Vegas, NV    LD SHOT Show Travel/Expenses (DG)                 coffee (paid cash)                               LD                                                  Meal/Beverages   Individual

3081        2016   137631   EXP-7058               1/25/2016 - 3/8/2016      Hayley Holmes         Account Executive      1/25/2016    Luxe                                $      25.00 Unknown           L. Duffy - SHOT Adjustment report. Refund         Correction from previous expense report/         Lacey Duffy                                         Miscellaneous    Other
                                                                                                                                                                                                          adjustment - refund more than expected (original March NR OOP expenses
3082        2017   145564   EXP-9371               8/23/16 - 1/3/17          Hayley Holmes         Account Executive      10/26/2016   Wynn                                $     284.65 Las Vegas, NV     L Duffy Nov Clean up report (SG)                 Hotel room deposit for 2017 SHOT Show -           L Duffy                                             Travel           Lodging
                                                                                                                                                                                                                                                     room under H Holmes/charged to LD's card
3083        2016   136859   EXP-6749               1/13/2016 - 2/17/2016     Hayley Holmes         Account Executive      1/20/2016    Mandalay Bay                        $     332.41 Las Vegas, NV     HH Travel/Expenses for 2016 SHOT Show (DG) Food/refreshments for HH/LD/Mil personnel               HH; LD; Mil                                         Meal/Beverages   Group
                                                                                                                                                                                                                                                            (3/no names) + wives
3084        2016   140440   EXP-7887               5/6/2016 to 6/30/2016     Hayley Holmes         Account Executive      5/16/2016    McDonalds                           $        8.87 Louisville, KY   MM travel/expenses for 2016 NRA annual            Snack/coffee for MM at airport (no receipt)      Melanie Montgomery                                  Meal/Beverages   Individual
                                                                                                                                                                                                          meetings in Louisville
3239        2018   156967   EXP-11541              1/30/2018 - 2/4/2018      Patrick McCarty       Traffic Director       2/1/2018     Uber                                $      11.91 Las Vegas, NV     Patrick McCarty - expense from 1/30 - 2/4 for     four seasons to las Vegas convention center      Patrick McCarty                                     Auto             Taxi
                                                                                                                                                                                                          attending SCI to assist with Chris Cox's speech
3089        2018   156967   EXP-11555              1/25/2018 - 2/3/2018      Jon Carter            Senior Associate       2/1/2018     Nelli's Taxi                        $      11.11 Las Vegas, NV     Coordination & management of 2018 SCI event       Cab to mgm                                       Unknown                                             Auto             Taxi
                                                                                                   Political Strategist                                                                                   and Cox speech
3087        2016   142347   EXP-8600               5/22/2016                 Jeff Minson           Financial Analyst      5/22/2016    Morton's Steakhouse                 $    3,680.37 Louisville, KY   TM meal at NRA annual meeting - paid on T.        Dinner TM with DA JM NT TS MD LO BS &            T Makris; Dino Aviles; Joe MacQuire; Nader          Meal/Beverages   Group
                                                                                                                                                                                                          Makris' personal AMEX with Dino Aviles, Joe DM at NRA Annual Mtgs in Louisville                    Tavangar; Dustin Johnson; Lance Olsen; Bart Skelton;
3088        2016   136859   EXP-6749               1/13/2016 - 2/17/2016     Hayley Holmes         Account Executive      1/20/2016    Nelli's Taxi                        $      11.54 Las Vegas, NV     HH Travel/Expenses for 2016 SHOT Show (DG) Taxi to SHOT Show expo (no reciept)                     HH                                                   Auto            Taxi

2896        2018   156967   EXP-11541              1/30/2018 - 2/4/2018      Patrick McCarty       Traffic Director       2/4/2018     Four Seasons                        $      10.83 Las Vegas, NV     Patrick McCarty - expense from 1/30 - 2/4 for     press lounge breakfast 2/2                       Patrick McCarty                                     Meal/Beverages   Individual
                                                                                                                                                                                                          attending SCI to assist with Chris Cox's speech
3090        2017   151745   DAE67E95A5554027A866   8/4/2017                  Eric Van Horn         Account Executive      8/24/2017    Nordstrom                           $     517.44 Unknown           August                                            Requested clothing by Josh Powell for Carry      Josh Powell                                         Miscellaneous    Other
                                                                                                                                                                                                                                                          Guard Expo
3091        2017   146420   EXP-9895               1/19/2016-                Hayley Holmes         Account Executive      1/20/2017    Wynn                                $     292.52 Las Vegas, NV     L. Duffy travel to Las Vegas fpr 2017 SHOT Show Wynn Room upgrade fees for early check in -        L Duffy                                             Travel           Lodging
                                                   2/8/2017                                                                                                                                               (SG)                                              no other rooms avaliable upon arrival
3092        2018   159388   Unknown                Unknown                   Unknown               n/a                    6/20/2018    NRA                                 $     688.43 Unknown           Unknown                                           Invoice #159013 L. Cremer - Exp-11842 &          Tyler Schropp                                       Meal/Beverages   Individual
                                                                                                                                                                                                                                                            Concur for 688.43 to OOP (main cosTyler
3093        2017   144737   EXP-9238               10/24/2016 - 11/30/2016   Hayley Holmes         Account Executive      10/24/2016   NSSF                                $     525.00 Las Vegas, NV     2017 SOT Show Expenses/Registration/etc.          SHOT registration fees for D. LaSorte, H.        D LaSorte; H Holmes; M Montgomery                   Miscellaneous    Other
                                                                                                                                                                                                                                                            Holmes, M. Montgomery (Total 875)
3094        2017   144737   EXP-9238               10/24/2016 - 11/30/2016   Hayley Holmes         Account Executive      10/24/2016   NSSF                                $     350.00 Las Vegas, NV     2017 SOT Show Expenses/Registration/etc.          SHOT registration fees for L Duffy and N         L Duffy; N Capossela                                Miscellaneous    Other
                                                                                                                                                                                                                                                            Capossela (Total 875)
3095        2017   149459   Unknown                Unknown                   Unknown               n/a                    5/1/2017     Brady Wardlaw                       $      40.00 Mt. Juliet, TN    Unknown                                           Unknown                                          Unknown                                             Auto             Taxi          Omega Taxi Co.

3096   12   2017   149459   EXP-10625              1/11/2017 - 5/26/2017     Eric Van Horn         Account Executive      2/10/2017    Old Ebbitt Grill                    $     213.21 Unknown           MM - cleanup report                               Lunch for MM, LD, and colleen powell during      MM; LD; Colleen Powell                              Meal/Beverages   Group
                                                                                                                                                                                                                                                            trip to virginia for SLP's H2H gala
3097        2017   146420   EXP-9901               1/16/2017-                Hayley Holmes         Account Executive      1/19/2017    Wynn                                $     219.39 Las Vegas, NV     M. Montgomery travel to Vegas for 2017 SHOT       Wynn room upgrade for early check in - no        M Montgomery                                        Travel           Lodging
                                                   1/31/2017                                                                                                                                              Show                                              other rooms avaliable upon arrival




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3098        2017   148014          EXP-10252              1/19/2017 - 3/23/2017    Hayley Holmes         Account Executive      1/30/2017   Wynn                                $     (284.65) Las Vegas, NV     HH SHOT Show Clean Up report                      Hotel room deposit refunded to HH's card -      HH; T Makris                                 Travel           Lodging
                                                                                                                                                                                                                                                                   room/deposit transferred to T. Makris's card
2693        2018   156967          EXP-11555              1/25/2018 - 2/3/2018     Jon Carter            Senior Associate       2/1/2018    Cash Tips                           $       10.00 Las Vegas, NV      Coordination & management of 2018 SCI event       tip for concierge                               Unknown                                      Miscellaneous    Tips
                                                                                                         Political Strategist                                                                                    and Cox speech
3100        2016   136859          EXP-6749               1/13/2016 - 2/17/2016    Hayley Holmes         Account Executive      1/16/2016   Unknown                             $      295.92 Unknown            HH Travel/Expenses for 2016 SHOT Show (DG) Mileage to/from Tulsa to pick up NRA booth             HH                                           Travel           Mileage
                                                                                                                                                                                                                                                                   video USBs - couldn't ship them in time to
3101        2018   159388          434403E136C841FFB796   5/8/2018                 Eric Van Horn         Account Executive      5/6/2018    Omni Convention Center              $       34.64 Unknown            May 2018 - JG                                     Jesse Davidson parking during annual meeting    Jesse Davidson                               Auto             Parking

3102        2016   140440          EXP-7759               5/5/2016 to 6/24/16      Hayley Holmes         Account Executive      5/16/2016   Unknown                             $       11.61 Louisville, KY     Expense report states 'L. Duffy travel/expenses   mileage to airport                              Lacey Duffy                                  Travel           Mileage
                                                                                                                                                                                                                 for the 2016 knar a/m in louisville (SG)'
3103        2016   140440          EXP-7759               5/5/2016 to 6/24/16      Hayley Holmes         Account Executive      5/22/2016   Unknown                             $       11.61 Louisville, KY     Expense report states 'L. Duffy travel/expenses   mileage from airport to house                   Lacey Duffy                                  Travel           Mileage
                                                                                                                                                                                                                 for the 2016 knar a/m in louisville (SG)'
3104        2016   140440          EXP-7887               5/6/2016 to 6/30/2016    Hayley Holmes         Account Executive      5/22/2016   21C Hotel                           $       27.20 Louisville, KY     MM travel/expenses for 2016 NRA annual            dry cleaning services during stay               Melanie Montgomery                           Travel           Other
                                                                                                                                                                                                                 meetings in Louisville
3105        2018   154706/155170   EXP-11430              12/31/2017-              Eric Van Horn         Account Executive      1/3/2018    Omni Hotel                          $         5.00 Dallas, TX        EVH - expenses for Tony Makris / event in Dallas, Cash tip tp bellman for package delivery to     Eric Van Horn                                Miscellaneous    Tips
                                                          1/6/2018                                                                                                                                               TX.                                               Tony Makris
3106        2018   154706/155170   EXP-11430              12/31/2017-              Eric Van Horn         Account Executive      1/3/2018    Omni Hotel                          $       10.00 Dallas, TX         EVH - expenses for Tony Makris / event in Dallas, Cash tip tp bellman for package delivery to     Eric Van Horn                                Miscellaneous    Tips
                                                          1/6/2018                                                                                                                                               TX.                                               Tony Makris
3107        2018   154706/155170   EXP-11430              12/31/2017-              Eric Van Horn         Account Executive      1/4/2018    Omni Hotel                          $         5.00 Dallas, TX        EVH - expenses for Tony Makris / event in Dallas, Cash tip tp bellman for package delivery to     Eric Van Horn                                Miscellaneous    Tips
                                                          1/6/2018                                                                                                                                               TX.                                               Tony Makris
3108        2018   154706/155170   EXP-11430              12/31/2017-              Eric Van Horn         Account Executive      1/4/2018    Omni Hotel                          $       10.00 Dallas, TX         EVH - expenses for Tony Makris / event in Dallas, Cash tip tp bellman for package delivery to     Eric Van Horn                                Miscellaneous    Tips
                                                          1/6/2018                                                                                                                                               TX.                                               Tony Makris
3109        2017   148749          2E715A89651542DE9B06   4/30/2017                Melanie Montgomery    EVP / Management       4/24/2017   Optimist                            $      456.77 Unknown            April Expenses                                    CG/NRA peronnel to dicuss launch at Annual      CG; NRA personnel; LD; HH; MM                Meal/Beverages   Group
                                                                                                         Supervisor                                                                                                                                                Meetings LD HH MM
3110        2017   147112          EXP-9999               1/4/17 - 2/15/17         Eric Van Horn         Account Executive      1/4/2017    Owner's Box                         $       76.86   Dallas, TX       LD - expenses for NRA meetings/events during      Refreshments for Tony Markis & Office of        Tony Makris; Donors                          Meal/Beverages   Group
                                                                                                                                                                                                                 DSC in Dallas, Texas                              advancement hosted donors
3111        2018   159388          0F0A7329E0DC41FCA114   5/7/2018                 Lacey Cremer/Duffy    SVP / Account          5/1/2018    Owner's Box                         $         6.50 Unknown           May18                                             Waters for LDC/HH during NRAAM                  LDC; HH                                      Meal/Beverages   Group
                                                                                                         Supervisor
3112        2018   159388          434403E136C841FFB796   5/8/2018                 Eric Van Horn         Account Executive      5/3/2018    Pappas Brothers Steakhouse          $      243.24 Unknown            May 2018 - JG                                     Dinner for EVH, JD, AA amd HH during annual EVH; JD; HH; AA                                  Meal/Beverages   Group
                                                                                                                                                                                                                                                                   meetings
3113        2016   140440          EXP-7759               5/5/2016 to 6/24/16      Hayley Holmes         Account Executive      5/22/2016   Paradies                            $       14.13 Louisville, KY     Expense report states 'L. Duffy travel/expenses   snacks/waters at airport (no receipt)           Lacey Duffy                                  Meal/Beverages   Individual
                                                                                                                                                                                                                 for the 2016 knar a/m in louisville (SG)'
3114        2017   147112          EXP-10033              1/30/2017 - 2/21/17      Hayley Holmes         Account Executive      2/12/2017   Paradies                            $         3.70 Washington, DC    L. Duffy trip to DC for YFT event and meetings    Water at the airport                            L Duffy                                      Meal/Beverages   Individual
                                                                                                                                                                                                                 w/ NRA Executives (SG)
3115        2018   156967          EXP-11555              1/25/2018 - 2/3/2018     Jon Carter            Senior Associate       1/30/2018   Paradies                            $       12.24 Las Vegas, NV      Coordination & management of 2018 SCI event       Breakfast                                       Unknown                                      Meal/Beverages   Individual
                                                                                                         Political Strategist                                                                                    and Cox speech
3116        2018   159388          2FD4E5E481B144019409   4/27/2018                Eric Van Horn         Account Executive      4/5/2018    Parking                             $       25.00 Unknown            April Expense Report - reimb                      Parking at the Omni Hotel to do a walkthrough Unknown                                        Auto             Parking
                                                                                                                                                                                                                                                                   for the Education & Training event for Annual
3117        2017   149459          Unknown                Unknown                  Unknown               n/a                    5/1/2017    Brady Wardlaw                       $      136.07 Atlanta, GA        Unknown                                           Unknown                                         Unknown                                      Meal/Beverages   Group        Optimist

3118        2016   141517          Unknown                Unknown                  Unknown               n/a                    6/24/2016   PCM                                 $      687.96 Unknown            Unknown                                           IPAD shipped overnight for Josh Powell at NRA Josh Powell                                    Miscellaneous    Other

3119        2017   149459          Unknown                Unknown                  Unknown               n/a                    5/23/2017   PCM                                 $       34.99 Unknown            Unknown                                           Unknown                                         Unknown                                      Miscellaneous    Other        Shipping and handling

3120        2017   149459          Unknown                Unknown                  Unknown               n/a                    5/23/2017   PCM                                 $      161.00 Unknown            Unknown                                           Unknown                                         Unknown                                      Miscellaneous    Other        iPad Pro

3121        2017   149459          Unknown                Unknown                  Unknown               n/a                    5/23/2017   PCM                                 $      180.63 Unknown            Unknown                                           Unknown                                         Unknown                                      Miscellaneous    Other        Sales Tax

3122        2017   149459          Unknown                Unknown                  Unknown               n/a                    5/23/2017   PCM                                 $      541.00 Unknown            Unknown                                           Unknown                                         Unknown                                      Miscellaneous    Other        iPad Wifi Cell

3123        2017   149459          Unknown                Unknown                  Unknown               n/a                    5/23/2017   PCM                                 $     1,093.00 Unknown           Unknown                                           Unknown                                         Unknown                                      Miscellaneous    Other        iPad Pro

3124        2017   152775          92B92DDBBAFC4F04A8BC   9/7/2017                 Eric Van Horn         Account Executive      9/21/2017   Pecan Lodge BBQ                     $      695.51 Dallas, TX         September                                         Lunch for an NR meeting per Tony Makris         Unknown                                      Meal/Beverages   Individual

2694        2018   156967          EXP-11555              1/25/2018 - 2/3/2018     Jon Carter            Senior Associate       2/2/2018    Cash Tips                           $       10.00 Las Vegas, NV      Coordination & management of 2018 SCI event       bellman tip for deliveries to room              Unknown                                      Miscellaneous    Tips
                                                                                                         Political Strategist                                                                                    and Cox speech
3126        2017   147112          EXP-9983               1/15/17 - 2/15/17        Hayley Holmes         Account Executive      1/15/2017   PT's Pub                            $      114.29 Las Vegas, NV      HH Travel to Vegas for 2017 SHOT Show             Meals for Holmes, D. LaSorte and C. Noir        Holmes; D LaSorte; C Noir                    Meal/Beverages   Group

2705        2018   157570          EXP-11580              1/31/2018-               Hayley Holmes         Account Executive      2/1/2018    Cash Tips                           $       10.00 Unknown            L. Cremer travel to Vagas for NRATV meeting w/ Cash tip for doorman at hotel check out            L Cremer                                     Miscellaneous    Tips
                                                          2/1/2018                                                                                                                                               NRA Execs. (tv)
3128   11   2017   151745          EXP-10999              8/2/2017 - 8/6/2017      Patrick McCarty       Traffic Director       8/2/2017    Public Storage                      $       44.79 Unknown            Patrick McCarty's personal charges for            Purchase of moving boxes for Josh Powell        Josh Powell                                  Miscellaneous    Other        Patrick McCarty's personal charges for coordinating Josh Powell
                                                                                                                                                                                                                 coordinating Josh Powell moving apartments                                                                                                                                   moving apartments
3129        2018   158521          95D136D9FFEF487BA53B   5/23/2018                Eric Van Horn         Account Executive      5/8/2018    Ray's Hardware and Sporting Goods   $      103.60 Unknown            May Expenses Report - 1st                         Rifle magazines for TM                          TM                                           Miscellaneous    Other

3130        2018   156967          EXP-11555              1/25/2018 - 2/3/2018     Jon Carter            Senior Associate       1/31/2018   ricks rollin in smoke bbq           $      222.00 Las Vegas, NV      Coordination & management of 2018 SCI event       dinner with p McCarty j popp d lyon             Jon Carter; p McCarty; J Popp; D Lyon        Meal/Beverages   Group
                                                                                                         Political Strategist                                                                                    and Cox speech
3131        2016   140440          EXP-7887               5/6/2016 to 6/30/2016    Hayley Holmes         Account Executive      5/16/2016   American Airlines                   $       25.00 Louisville, KY     MM travel/expenses for 2016 NRA annual            Checked bag fee - Hayley Holmes                 Hayley Holmes                                Travel           Other
                                                                                                                                                                                                                 meetings in Louisville
3132        2016   140440          EXP-7887               5/6/2016 to 6/30/2016    Hayley Holmes         Account Executive      5/22/2016   American Airlines                   $       25.00 Louisville, KY     MM travel/expenses for 2016 NRA annual            Checked bag fee - Hayley Holmes                 Hayley Holmes                                Travel           Other
                                                                                                                                                                                                                 meetings in Louisville
3133        2018   156967          EXP-11541              1/30/2018 - 2/4/2018     Patrick McCarty       Traffic Director       1/30/2018   American Airlines                   $       25.00 Unknown            Patrick McCarty - expense from 1/30 - 2/4 for     baggage fee                                     Patrick McCarty; Chris Cox                   Travel           Other
                                                                                                                                                                                                                 attending SCI to assist with Chris Cox's speech
3134   12   2016   140440          EXP-8006               2/13/2016 to 6/30/2016   Hayley Holmes         Account Executive      2/13/2016   Ritz Carlton                        $      202.74 Unknown            Expense report states 'LD Clean Up Report'        Refreshments for LD, RM, KM, HM, AL, NT         RM; Lacey Duffy; KM; HM; AL; NT; NRA Execs   Meal/Beverages   Group
                                                                                                                                                                                                                                                                   and NRA Execs at the Heart to Heart Gala
3135        2017   143169          EXP-8798               9/11/2016 - 10/3/2016    Hayley Holmes         Account Executive      9/11/2016   Ritz Carlton                        $       26.00 Unknown            Hotel room for Exec H/MU for 2016 Summit (in      Honor bar charges/snacks during stay            Hayley Holmes                                Meal/Beverages   Individual
                                                                                                                                                                                                                 HH's name/on HH's card)
3136        2017   143169          EXP-8798               9/11/2016 - 10/3/2016    Hayley Holmes         Account Executive      9/11/2016   Ritz Carlton                        $       40.00 Unknown            Hotel room for Exec H/MU for 2016 Summit (in      Valet parking fee                               Hayley Holmes                                Auto             Parking
                                                                                                                                                                                                                 HH's name/on HH's card)
3137        2017   143169          EXP-8798               9/11/2016 - 10/3/2016    Hayley Holmes         Account Executive      9/11/2016   Ritz Carlton                        $      102.50 Unknown            Hotel room for Exec H/MU for 2016 Summit (in      Honor bar charges/snacks/etc. during stay       Hayley Holmes                                Meal/Beverages   Group
                                                                                                                                                                                                                 HH's name/on HH's card)
3138        2017   143169          EXP-8798               9/11/2016 - 10/3/2016    Hayley Holmes         Account Executive      9/11/2016   Ritz Carlton                        $      581.66 Unknown            Hotel room for Exec H/MU for 2016 Summit (in      Meals for B. Wardlaw throughout Summit week B Wardlaw                                        Meal/Beverages   Individual
                                                                                                                                                                                                                 HH's name/on HH's card)
3139        2017   143169          EXP-8798               9/11/2016 - 10/3/2016    Hayley Holmes         Account Executive      9/11/2016   Ritz Carlton                        $      601.33 Unknown            Hotel room for Exec H/MU for 2016 Summit (in      Meals for DD (H/MU) throughout the week         DD                                           Meal/Beverages   Individual
                                                                                                                                                                                                                 HH's name/on HH's card)
2865        2018   156967          EXP-11555              1/25/2018 - 2/3/2018     Jon Carter            Senior Associate       2/2/2018    Desert Cab                          $       10.00 Las Vegas, NV      Coordination & management of 2018 SCI event       cab to hotel                                    Unknown                                      Auto             Taxi
                                                                                                         Political Strategist                                                                                    and Cox speech
3141        2018   156967          EXP-11555              1/25/2018 - 2/3/2018     Jon Carter            Senior Associate       1/30/2018   American Airlines                   $       60.00 Las Vegas, NV      Coordination & management of 2018 SCI event       baggage fee                                     Unknown                                      Travel           Other
                                                                                                         Political Strategist                                                                                    and Cox speech
3142        2017   147112          EXP-10033              1/30/2017 - 2/21/17      Hayley Holmes         Account Executive      2/12/2017   Ritz Carlton                        $       36.25 Washington, DC     L. Duffy trip to DC for YFT event and meetings    Honor bar charges during stay                   L Duffy                                      Meal/Beverages   Individual
                                                                                                                                                                                                                 w/ NRA Executives (SG)
2895        2018   156967          EXP-11541              1/30/2018 - 2/4/2018     Patrick McCarty       Traffic Director       2/4/2018    Four Seasons                        $       10.00 Las Vegas, NV      Patrick McCarty - expense from 1/30 - 2/4 for     business center 2/5                             Patrick McCarty                              Miscellaneous    Other
                                                                                                                                                                                                                 attending SCI to assist with Chris Cox's speech
3144        2017   147112          EXP-10033              1/30/2017 - 2/21/17      Hayley Holmes         Account Executive      2/12/2017   Ritz Carlton                        $      392.82 Washington, DC     L. Duffy trip to DC for YFT event and meetings    Meals/refreshments during stay - w/ HM, LD,     HM; L Duffy; MM; NRA Execs                   Meal/Beverages   Group
                                                                                                                                                                                                                 w/ NRA Executives (SG)                            MM, NRA execs
3145        2018   160896          Unknown                Unknown                  Unknown               n/a                    4/17/2018   Alexander Historical Auctions       $   (13,630.00) Alexandria, VA   Unknown                                           Abraham Lincoln                                 Nader Tavangar; Tony Makris                  Miscellaneous    Other        Post it note on invoice states 'Hi JJ, the attached invoice was paid
                                                                                                                                                                                                                                                                                                                                                                                              with Nader's corporate card. Tony is purchasing the item,
3146        2017   149459          Unknown                Unknown                  Unknown               n/a                    5/3/2017    Debbie Dover                        $       50.00 Joelton, TN        Unknown                                           Unknown                                         Susan LaPierre                               Miscellaneous    Other        Processing fee; related to Susan LaPierre

3147        2017   148014          Unknown                Unknown                  W Brandon Winkler     Chief Accounting       2/10/2017   The Alexandrian                     $      104.33 Alexandria, VA     Unknown                                           Unknown                                         Henry Martin Garrison                        Travel           Lodging      Purchase Description on Statemnet
                                                                                                         Officer                                                                                                                                                                                                                                                                              Egencia
3148        2018   159388          0F0A7329E0DC41FCA114   5/7/2018                 Lacey Cremer/Duffy    SVP / Account          5/6/2018    Saint Ann Restaurant                $      103.35 Unknown            May18                                             Meal with OOA staff during NRAAM                Lacey Cremer; OOA staff                      Meal/Beverages   Group
                                                                                                         Supervisor
3149        2018   155996          EXP-11555              1/25/2018 to 2/3/2018    Jon Carter            Senior Associate       1/26/2018   SCI Fund                            $      700.00 Unknown            Cordination & Managemnet of 2018 SCI Event        Tickets to SCI Auction for J. Carter/P. McCarty J Carter; P McCarty; NT                      Miscellaneous    Other
                                                                                                         Political Strategist                                                                                    and Cox Speech                                    to purchase auction items for T. Makris (per
3150        2018   156967          EXP-11555              1/25/2018 - 2/3/2018     Jon Carter            Senior Associate       1/26/2018   SCI Fund                            $     (700.00) Unknown           Coordination & management of 2018 SCI event       Tickets to SCI Auction for J. Carter/P. McCarty J Carter; P McCarty                          Miscellaneous    Other
                                                                                                         Political Strategist                                                                                    and Cox speech                                    to purchase auction items for T. Makris (per




                                                                                                                                                                                                                                                                                                                                                                                                                                           APP. 02065
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3151        2018   156967   EXP-11555              1/25/2018 - 2/3/2018      Jon Carter            Senior Associate        1/1/2018     SCI Fund                       $     700.00 Las Vegas, NV      Coordination & management of 2018 SCI event       tickets to SCI Auction for J. Carter/P. McCarty J Carter; P McCarty; NT         Miscellaneous    Other
                                                                                                   Political Strategist                                                                                and Cox speech                                    to purchase auction items for T Makris (Per
3152        2017   147112   EXP-9948               1/31/17 - 1/31/17         Jon Carter            Senior Associate        1/31/2017    SCI Membership & Show Fee      $     370.00 Unknown            For SCI membership & Show 2017                    For Nadar Tavangar                                 Nader Tavangar               Miscellaneous    Other
                                                                                                   Political Strategist
3153        2017   147112   EXP-9948               1/31/17 - 1/31/17         Jon Carter            Senior Associate        1/31/2017    SCI Membership & Show Fee      $     370.00 Unknown            For SCI membership & Show 2017                    For Sienna Sterner                                 Sienna Sterner               Miscellaneous    Other
                                                                                                   Political Strategist
3154        2017   147112   EXP-9948               1/31/17 - 1/31/17         Jon Carter            Senior Associate        1/31/2017    SCI Membership & Show Fee      $     370.00 Unknown            For SCI membership & Show 2017                    For Terry Sterner                                  Terry Sterner                Miscellaneous    Other
                                                                                                   Political Strategist
3155        2017   143169   Unknown                Unknown                   Unknown               n/a                     9/10/2016    Shauné Hayes Makeup and Hair   $     750.00 Unknown            Unknown                                           Makeup and hair for WLF summit                     Unknown                      Miscellaneous    Other
                                                                                                                                        Artists
3156        2018   154552   Unknown                Unknown                   Unknown               n/a                     11/14/2017   Sheppard Mullin                $    4,617.00 Los Angeles, CA   Unknown                                           Professional Services thorugh 10/31/17 - Dana      Dana Loesch                  Miscellaneous    Other
                                                                                                                                                                                                                                                         Loesch Talent Agreement
3157        2018   154552   Unknown                Unknown                   Unknown               n/a                     12/14/2017   Sheppard Mullin                $    9,956.00 Los Angeles, CA   Unknown                                           Professional Services thorugh 12/14/17 - Dana      Dana Loesch                  Miscellaneous    Other
                                                                                                                                                                                                                                                         Loesch Talent Agreement
3158        2018   154552   Unknown                Unknown                   Unknown               n/a                     10/20/2017   Sheppard Mullin                $   15,057.00 Los Angeles, CA   Unknown                                           Professional Services thorugh 9/30/17 - Dana       Dana Loesch                  Miscellaneous    Other
                                                                                                                                                                                                                                                         Loesch Talent Agreement
3159        2016   136859   EXP-6784               1/22/2002 - 2/17/2016     Hayley Holmes         Account Executive       1/20/2016    SHOT Show                      $      10.00 Las Vegas, NV      LD SHOT Show Travel/Expenses (DG)                 waters on the show floor (paid cash)               LD                           Meal/Beverages   Individual

3160        2016   140440   EXP-7759               5/5/2016 to 6/24/16       Hayley Holmes         Account Executive       5/16/2016    Sidebar                        $     261.64 Louisville, KY     Expense report states 'L. Duffy travel/expenses   Dinner for MM, LD, HH                              Lacey Duffy; MM; HH          Meal/Beverages   Group
                                                                                                                                                                                                       for the 2016 knar a/m in louisville (SG)'
3161        2016   140440   EXP-7887               5/6/2016 to 6/30/2016     Hayley Holmes         Account Executive       5/18/2016    Sidebar                        $     193.56 Louisville, KY     MM travel/expenses for 2016 NRA annual            dinner for MM, LD, HH                              LD; HH; Melanie Montgomery   Meal/Beverages   Group
                                                                                                                                                                                                       meetings in Louisville
3162        2016   136859   EXP-6907               1/8/2016 - 2/17/2016      Hayley Holmes         Account Executive       1/21/2016    Sinatra                        $      70.16 Las Vegas, NV      MM SHOT Show Travel/Expenses                      refreshments for WP/AM/LD/MM before                WP; AM; LD; MM               Meal/Beverages   Group
                                                                                                                                                                                                                                                         dinner
3163        2016   140440   EXP-7887               5/6/2016 to 6/30/2016     Hayley Holmes         Account Executive       5/16/2016    Skybox                         $      31.60 Louisville, KY     MM travel/expenses for 2016 NRA annual            Breakfast for HH, LD, MM                           LD; HH; Melanie Montgomery   Meal/Beverages   Group
                                                                                                                                                                                                       meetings in Louisville
3164        2017   149459   F6FA23635A7E4DCEA766   5/10/17 - 5/25/17         Melanie Montgomery    EVP / Management        4/30/2017    Sotto Sotto                    $      16.98 Unknown            May Expenses                                      NR Annual Mtg                                      Unknown                      Miscellaneous    Other
                                                                                                   Supervisor
3165        2017   149459   F6FA23635A7E4DCEA766   5/10/17 - 5/25/17         Melanie Montgomery    EVP / Management        4/30/2017    Sotto Sotto                    $     101.13 Unknown            May Expenses                                      NR Annual Mtg                                      Unknown                      Miscellaneous    Other
                                                                                                   Supervisor
3166        2016   139727   Unknown                Unknown                   Unknown               n/a                     5/25/2016    Brady Wardlaw                  $    8,625.00 Mt. Juliet, TN    Unknown                                           Makeup artist - 5/17 travel from new Orleans       Unknown                      Miscellaneous    Other        References PO 109593
                                                                                                                                                                                                                                                         to Louisville; 5/18, 19, 20, 21 - full day makeup;
3167        2017   143169   Unknown                Unknown                   Unknown               n/a                     9/15/2016    Debbie Dover                   $    4,000.00 Joelton, TN       Unknown                                           NRA rate 1000                                      Unknown                      Travel           Other

3168        2017   149459   Unknown                Unknown                   Unknown               n/a                     5/3/2017     Debbie Dover                   $     600.00 Joelton, TN        Unknown                                           Unknown                                            Susan LaPierre               Travel           Other        Half day travel; related to Susan LaPierre

3169        2017   149459   Unknown                Unknown                   Unknown               n/a                     5/9/2017     B&H Photo                      $      30.50 Unknown            Unknown                                           Unknown                                            Unknown                      Miscellaneous    Other        Shipping and handling

3170        2017   145564   EXP-9584               11/30/16 - 1/4/17         Hayley Holmes         Account Executive       12/1/2016    Go Go Wifi                     $      16.95 Nashville, TN      L Duffy travel to Nashville for NRA Country       Inflight wifi to work on the plane                 L Duffy                      Travel           Other
                                                                                                                                                                                                       event w/ NRA Execs
3171        2017   146420   EXP-9895               1/19/2016-                Hayley Holmes         Account Executive       1/16/2017    Go Go Wifi                     $      17.27 Las Vegas, NV      L. Duffy travel to Las Vegas fpr 2017 SHOT Show In-flight wifi                                       L Duffy                      Travel           other
                                                   2/8/2017                                                                                                                                            (SG)
3172        2017   148749   2E715A89651542DE9B06   4/30/2017                 Melanie Montgomery    EVP / Management        4/24/2017    Go Go Wifi                     $      25.93 Unknown            April Expenses                                    Working on flight to DC                            Melanie Montgomery           Travel           Other
                                                                                                   Supervisor
3173        2017   151745   7AF5F206FDC541EAA945   8/2/2017                  Melanie Montgomery    EVP / Management        8/1/2017     Go Go Wifi                     $      23.76 Unknown            August                                            Working inflight to DC for NRA meetings            Unknown                      Travel           Other
                                                                                                   Supervisor
3174        2017   144737   EXP-9311               11/21/2000 - 11/30/2016   Hayley Holmes         Account Executive       11/3/2016    North Face                     $     312.84 Unknown            HH Clean Up Report - OCT/NOV                      Suitcase purchased per T. Makris                   HH                           Travel           Other

3175        2016   136859   EXP-6749               1/13/2016 - 2/17/2016     Hayley Holmes         Account Executive       1/18/2016    Southwest                      $        8.00 Unknown           HH Travel/Expenses for 2016 SHOT Show (DG) inflight wifi to work on the plane                        HH                           Travel           Other

3176        2016   136859   EXP-6749               1/13/2016 - 2/17/2016     Hayley Holmes         Account Executive       1/22/2016    Southwest                      $        8.00 Unknown           HH Travel/Expenses for 2016 SHOT Show (DG) inflight wifi to work on the plane                        HH                           Travel           Other

3177        2016   136859   EXP-6784               1/22/2002 - 2/17/2016     Hayley Holmes         Account Executive       1/18/2016    Southwest                      $        8.00 Las Vegas, NV     LD SHOT Show Travel/Expenses (DG)                 Wifi to work on the plane                          LD                           Travel           Other

3178        2016   136859   EXP-6907               1/8/2016 - 2/17/2016      Hayley Holmes         Account Executive       1/18/2016    Southwest                      $        8.00 Unknown           MM SHOT Show Travel/Expenses                      inflight wifi to work on the plane                 MM                           Travel           Other

3179        2016   136859   EXP-6907               1/8/2016 - 2/17/2016      Hayley Holmes         Account Executive       1/22/2016    Southwest                      $        8.00 Unknown           MM SHOT Show Travel/Expenses                      inflight wifi to work on the plane                 MM                           Travel           Other

3180        2017   145564   EXP-9357               11/30/16 - 12/7/16        Nicole Capossela      Senior Vice President   11/30/2016   Southwest                      $        8.00 Nashville, TN     trip to Nashville for NRA Country/Charlie         internet on Plane to Nashville                     Nicole Capossela             Travel           Other
                                                                                                                                                                                                       Daniels (SG)
3181        2017   145564   EXP-9516               11/30/16 - 12/21/16       Hayley Holmes         Account Executive       12/1/2016    Southwest                      $        8.00 Nashville, TN     travel to Nashville for NRA Country Event with    Inflight wifi to work on plane during return fligh Hayley Holmes                Travel           Other
                                                                                                                                                                                                       NRA Execs                                         tto Dallas (no receipt)
3182        2017   149459   F6FA23635A7E4DCEA766   5/10/17 - 5/25/17         Melanie Montgomery    EVP / Management        4/30/2017    Southwest                      $      75.00 Unknown            May Expenses                                      NR Annual Mtg                                      Unknown                      Miscellaneous    Other
                                                                                                   Supervisor
3183        2017   145564   EXP-9516               11/30/16 - 12/21/16       Hayley Holmes         Account Executive       11/30/2016   Southwest                      $        8.00 Nashville, TN     travel to Nashville for NRA Country Event with    inflight wifi to work on plane during return fligh Hayley Holmes                Travel           Other
                                                                                                                                                                                                       NRA Execs                                         tto Nashville (no receipt)
3184        2018   154707   5672F468243E4F1FB834   1/31/2018                 Melanie Montgomery    EVP / Management        1/26/2018    Southwest                      $     523.98 Unknown            JAN18                                             Mtg w/WLP re NRATV                                 WLP; Melanie Montgomery      Miscellaneous    Other
                                                                                                   Supervisor
3185        2017   145564   EXP-9516               11/30/16 - 12/21/16       Hayley Holmes         Account Executive       11/30/2016   Southwest                      $        8.00 Nashville, TN     travel to Nashville for NRA Country Event with    inflight wifi for phone to be able to              Hayley Holmes                Travel           Other
                                                                                                                                                                                                       NRA Execs                                         communicate w/ client via message during flight
3186        2017   147112   EXP-9983               1/15/17 - 2/15/17         Hayley Holmes         Account Executive       1/15/2017    Southwest                      $        8.00 Las Vegas, NV     HH Travel to Vegas for 2017 SHOT Show             Wifi to work on plane                           HH                              Travel           Other

3187        2017   148014   EXP-10122              1/11/2017 - 3/22/2017     Hayley Holmes         Account Executive       2/15/2017    Southwest                      $      11.20 Unknown            M. Montgomery February Clean Up report (SG)       Wifi to work on the plane (no receipt)             M Montgomery                 Travel           Other

2904        2018   156967   EXP-11555              1/25/2018 - 2/3/2018      Jon Carter            Senior Associate        2/2/2018     Four Seasons                   $      10.00 Las Vegas, NV      Coordination & management of 2018 SCI event       business center fee                                Unknown                      Miscellaneous    Other
                                                                                                   Political Strategist                                                                                and Cox speech
3189        2016   140440   EXP-7759               5/5/2016 to 6/24/16       Hayley Holmes         Account Executive       5/19/2016    Starbucks                      $      10.60 Louisville, KY     Expense report states 'L. Duffy travel/expenses   coffee for HH, LD, C. Sterner                      Lacey Duffy; HH; C Sterner   Meal/Beverages   Group
                                                                                                                                                                                                       for the 2016 knar a/m in louisville (SG)'
3190        2016   140440   EXP-7759               5/5/2016 to 6/24/16       Hayley Holmes         Account Executive       5/17/2016    Starbucks                      $      12.00 Louisville, KY     Expense report states 'L. Duffy travel/expenses   Starbucks breakfast/coffee (no receipt)            Lacey Duffy                  Meal/Beverages   Individual
                                                                                                                                                                                                       for the 2016 knar a/m in louisville (SG)'
3191        2016   140440   EXP-7759               5/5/2016 to 6/24/16       Hayley Holmes         Account Executive       5/21/2016    Starbucks                      $      12.00 Louisville, KY     Expense report states 'L. Duffy travel/expenses   Starbucks breakfast/coffee (no receipt)            Lacey Duffy                  Meal/Beverages   Individual
                                                                                                                                                                                                       for the 2016 knar a/m in louisville (SG)'
3192        2016   140440   EXP-7759               5/5/2016 to 6/24/16       Hayley Holmes         Account Executive       5/18/2016    Starbucks                      $      14.68 Louisville, KY     Expense report states 'L. Duffy travel/expenses   coffee/waters for LD, HH                           Lacey Duffy; HH              Meal/Beverages   Group
                                                                                                                                                                                                       for the 2016 knar a/m in louisville (SG)'
3193        2017   145564   EXP-9516               11/30/16 - 12/21/16       Hayley Holmes         Account Executive       11/30/2016   Starbucks                      $      10.12 Nashville, TN      travel to Nashville for NRA Country Event with    Coffee for N Capossela/H Holmes (no receipt) H Holmes; N Capossela              Meal/Beverages   Group
                                                                                                                                                                                                       NRA Execs
3194        2017   147112   EXP-9983               1/15/17 - 2/15/17         Hayley Holmes         Account Executive       1/19/2017    SW                             $      75.81 Las Vegas, NV      HH Travel to Vegas for 2017 SHOT Show             Client refreshments before dinner re CCI           Client                       Meal/Beverages   Group

3195        2017   148749   2E715A89651542DE9B06   4/30/2017                 Melanie Montgomery    EVP / Management        4/25/2017    SWA inflight wifi              $        8.00 Unknown           April Expenses                                    Working on flight to ATL                           Melanie Montgomery           Travel           Other
                                                                                                   Supervisor
3196        2016   136859   EXP-6749               1/13/2016 - 2/17/2016     Hayley Holmes         Account Executive       1/19/2016    Taxi                           $      18.04 Unknown            HH Travel/Expenses for 2016 SHOT Show (DG) Taxi to SHOT Show expo (no reciept)                       HH                           Auto             Taxi

3197        2018   156967   EXP-11541              1/30/2018 - 2/4/2018      Patrick McCarty       Traffic Director        1/30/2018    Taxi                           $      12.00 Las Vegas, NV      Patrick McCarty - expense from 1/30 - 2/4 for     cab plus tip from MGM back to Four Seasons         Patrick McCarty              Auto             Taxi
                                                                                                                                                                                                       attending SCI to assist with Chris Cox's speech   (no receipt)
3198        2017   145564   EXP-9516               11/30/16 - 12/21/16       Hayley Holmes         Account Executive       12/1/2016    TexsPress                      $      16.53 Nashville, TN      travel to Nashville for NRA Country Event with    snack for mm, hh at airport (no receipt)           MM; HH                       Meal/Beverages   Group
                                                                                                                                                                                                       NRA Execs
3199        2016   136859   EXP-6784               1/22/2002 - 2/17/2016     Hayley Holmes         Account Executive       1/22/2016    Virgin America                 $      75.00 Unknown            LD SHOT Show Travel/Expenses (DG)                 Bag check fee for 3 bags                           LD                           Travel           Other

3200        2016   140440   EXP-7887               5/6/2016 to 6/30/2016     Hayley Holmes         Account Executive       5/17/2016    The Brown                      $     205.38 Louisville, KY     MM travel/expenses for 2016 NRA annual            dinner for MM, LD, HH                              LD; HH; Melanie Montgomery   Meal/Beverages   Group
                                                                                                                                                                                                       meetings in Louisville
3201        2018   156967   Unknown                Unknown                   Unknown               n/a                     1/31/2018    The Drug Store                 $      47.20 Unknown            Unknown                                           Unknown                                            Unknown                      Miscellaneous    Other

3202   12   2017   149459   EXP-10625              1/11/2017 - 5/26/2017     Eric Van Horn         Account Executive       2/10/2017    The Willard Intercontinental   $     119.00 Unknown            MM - cleanup report                               refreshments for MM, LD, and colleen powell        MM; LD; Colleen Powell       Meal/Beverages   Group
                                                                                                                                                                                                                                                         during trip to virginia for SLP's Heart to Heart
3203        2016   140440   EXP-7759               5/5/2016 to 6/24/16       Hayley Holmes         Account Executive       5/17/2016    Toast on Market                $      38.86 Louisville, KY     Expense report states 'L. Duffy travel/expenses   lunch for MM, HH, LD                               Lacey Duffy; MM; HH          Meal/Beverages   Group
                                                                                                                                                                                                       for the 2016 knar a/m in louisville (SG)'




                                                                                                                                                                                                                                                                                                                                                                                                                    APP. 02066
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3204        2017   147112   EXP-9983               1/15/17 - 2/15/17      Hayley Holmes         Account Executive        1/21/2017   Tower Suite Bar          $     12.57 Las Vegas, NV      HH Travel to Vegas for 2017 SHOT Show             Coffees for DLS and HH                         HH; DLS                 Meal/Beverages   Group

3205        2018   160896   EXP-12197              8/30/2018              Jeff Minson           Financial Analyst        8/3/2018    CXIII/Landini Brothers   $   3,500.00 Alexandria, VA    AUG Billable 2                                    Meeting room rental for NRA meetings re        Lacey Duffy             Event            Room Rental   Statement from CXIII Rex is for Lacey Duffy
                                                                                                                                                                                                                                               NRATV, LOD, NRAW, CCI, D
3206        2016   136859   Unknown                Unknown                Unknown               n/a                      1/9/2016    Uber                     $     54.80 Washington, DC     Unknown                                           Tony Makris Black Car - Board Meetings         Tony Makris             Auto             Taxi

3207        2016   136859   Unknown                Unknown                Unknown               n/a                      1/14/2016   Uber                     $     55.34 Washington, DC     Unknown                                           Nader Tavangar SUV - Dallas Presentation       Nader Tavangar          Auto             Taxi

3208        2016   140440   Unknown                Unknown                Unknown               n/a                      6/30/2016   Uber                     $    620.12 Unknown            Unknown                                           June; tony Makris - 8 trips                    Tony Makris             Auto             Taxi

3209        2017   144737   Unknown                Unknown                Nader Tavangar        EVP / Managing           11/7/2016   Uber                     $    143.48 Dallas, TX         Unknown                                           Travel with Wayne to Dallas for mtg and race   Nader Tavangar; Wayne   Auto             Taxi
                                                                                                Director
3210        2017   146420   Unknown                Unknown                Hayley Holmes         Account Executive        1/5/2017    Uber                     $     15.75 Unknown            Unknown                                           Uber to T. Makris DSC reception                Unknown                 Auto             Taxi

3211        2017   146420   EXP-9763               1/5/2017-              Eric Van Horn         Account Executive        1/7/2017    Uber                     $      9.00 Dallas, TX         Eric Van Horb expenses for Tony Makris event in Transportation for Tony Makris event             Eric Van Horn           Auto             Taxi
                                                   1/7/2017                                                                                                                                  Dallas, TX
3212        2017   146420   EXP-9763               1/5/2017-              Eric Van Horn         Account Executive        1/7/2017    Uber                     $      9.01 Dallas, TX         Eric Van Horb expenses for Tony Makris event in Transportation for Tony Makris event             Eric Van Horn           Auto             Taxi
                                                   1/7/2017                                                                                                                                  Dallas, TX
3213        2017   146420   EXP-9763               1/5/2017-              Eric Van Horn         Account Executive        1/7/2017    Uber                     $      9.38 Dallas, TX         Eric Van Horb expenses for Tony Makris event in Transportation for Tony Makris event             Eric Van Horn           Auto             Taxi
                                                   1/7/2017                                                                                                                                  Dallas, TX
3214        2017   146420   EXP-9763               1/5/2017-              Eric Van Horn         Account Executive        1/7/2017    Uber                     $      9.63 Dallas, TX         Eric Van Horb expenses for Tony Makris event in Transportation for Tony Makris event             Eric Van Horn           Auto             Taxi
                                                   1/7/2017                                                                                                                                  Dallas, TX
3215        2017   146420   Unknown                Unknown                Hayley Holmes         Account Executive        1/5/2017    Uber                     $     15.75 Unknown            Unknown                                           Ride home from T. Makris reception in Dallas   Unknown                 Auto             Taxi

3216        2017   149459   Unknown                Unknown                Unknown               n/a                      4/25/2017   Brady Wardlaw            $    900.00 Unknown            Unknown                                           Unknown                                        Unknown                 Travel           Airfare       Travel from Nashville to Atlanta

3217        2017   147112   Unknown                Unknown                Unknown               n/a                      2/10/2017   Uber                     $     12.88 Unknown            Unknown                                           Unknown                                        Unknown                 Auto             Taxi

3218        2017   147112   Unknown                Unknown                Nader Tavangar        EVP / Managing           2/9/2017    Uber                     $     16.86 Unknown            Unknown                                           Travel w/ W for St. H speech                   W; Nader Tavangar       Auto             Taxi
                                                                                                Director
3219   12   2017   147112   Unknown                Unknown                Henry Martin          Chief Creative Officer   2/12/2017   Uber                     $     26.64 Unknown            Unknown                                           Attend YFT Heart 2 Heart event                 Unknown                 Auto             Taxi

3220        2017   147112   Unknown                Unknown                Nader Tavangar        EVP / Managing           2/9/2017    Uber                     $     42.97 Unknown            Unknown                                           St. Hubertus meeting/speech - return airport to Unknown                Auto             Taxi
                                                                                                Director                                                                                                                                       office
3221   12   2017   147112   Unknown                Unknown                Henry Martin          Chief Creative Officer   2/12/2017   Uber                     $     57.08 Unknown            Unknown                                           Attend YFT Heart 2 Heart event                 Unknown                 Auto             Taxi

3222   12   2017   147112   Unknown                Unknown                Nader Tavangar        EVP / Managing           2/7/2017    Uber                     $     68.47 Unknown            Unknown                                           Attend YFT Heart 2 Heart event                 Unknown                 Auto             Taxi
                                                                                                Director
3223        2017   147112   Unknown                Unknown                Nader Tavangar        EVP / Managing           2/10/2017   Uber                     $    138.97 Unknown            Unknown                                           St. Hubertus speech                            Unknown                 Auto             Taxi
                                                                                                Director
3224        2017   149459   Unknown                Unknown                Unknown               n/a                      5/11/2017   Uber                     $    442.35 Unknown            Unknown                                           Tony Makris 5 black cars                       Tony Makris             Auto             Taxi

3225        2017   150457   Unknown                Unknown                Nader Tavangar        EVP / Managing           6/8/2017    Uber                     $     38.01 Unknown            Unknown                                           Unknown                                        Unknown                 Auto             Taxi
                                                                                                Director
3226        2017   150457   Unknown                Unknown                Nader Tavangar        EVP / Managing           6/9/2017    Uber                     $     38.82 Unknown            Unknown                                           Travel with W/S to Nashville for CMA/ J.       W; S; Nader Tavangar    Auto             Taxi
                                                                                                Director                                                                                                                                       Wayne /Belmont
3227        2017   150457   Unknown                Unknown                Nader Tavangar        EVP / Managing           6/8/2017    Uber                     $     39.49 Unknown            Unknown                                           Unknown                                        Unknown                 Auto             Taxi
                                                                                                Director
3228        2017   150457   Unknown                Unknown                Nader Tavangar        EVP / Managing           6/9/2017    Uber                     $     47.25 Unknown            Unknown                                           Travel with Wayne for meetings around CMA      Wayne; Nader Tavangar   Auto             Taxi
                                                                                                Director                                                                                                                                       and Jimmy Wayne
3229        2017   150457   Unknown                Unknown                Unknown               n/a                      6/10/2017   Uber                     $     98.68 Unknown            Unknown                                           Unknown                                        Unknown                 Auto             Taxi

3230        2017   150457   Unknown                Unknown                Nader Tavangar        EVP / Managing           6/7/2017    Uber                     $    144.98 Unknown            Unknown                                           Travel with W and S toNashville for Belmont    W; S; Nader Tavangar    Auto             Taxi
                                                                                                Director                                                                                                                                       meetings
3231        2017   151745   Unknown                Unknown                Unknown               n/a                      8/31/2017   Uber                     $    164.47 Washington, DC     Unknown                                           AJE 4974; N Tavangar Travel SUV Washington, N Tavangar                 Auto             Car Service
                                                                                                                                                                                                                                               DC
3232        2017   152775   Unknown                Unknown                Unknown               n/a                      9/26/2017   Uber                     $     17.42 Dallas, TX         Unknown                                           Tony Makris Black car - PU: 2401-2499 Thomas Tony Makris               Auto             Taxi
                                                                                                                                                                                                                                               Ave, Dallas, TX DO: 1709 McKinney Ave Dallas
3233        2017   152775   Unknown                Unknown                Unknown               n/a                      9/11/2017   Uber                     $     54.40 Sherman Oaks, CA   Unknown                                           Tony Makris Black car - PU: 1932 N Cahuenga Tony Makris                Auto             Taxi
                                                                                                                                                                                                                                               Blvd, Los Angeles DO: 13428 Ventura Blvd,
3234        2017   152775   Unknown                Unknown                Unknown               n/a                      9/11/2017   Uber                     $     66.40 Unknown            Unknown                                           Tony Makris Black car - PU: 13428 Ventura      Tony Makris             Auto             Taxi
                                                                                                                                                                                                                                               Blvd DO: 3204 Ledgewood
3235        2017   153476   Unknown                Unknown                Nader Tavangar        EVP / Managing           10/1/2017   Uber                     $     27.85 Unknown            Unknown                                           Unknown                                        Unknown                 Auto             Taxi
                                                                                                Director
3236        2018   156967   Unknown                Unknown                Unknown               n/a                      3/8/2018    Uber                     $    153.45 Los Angeles, CA    Unknown                                           Pickup and drop off are 2697 N Beachwood Dr, Unknown                   Auto             Taxi
                                                                                                                                                                                                                                               LA/ No additional notes
3237        2018   156967   EXP-11541              1/30/2018 - 2/4/2018   Patrick McCarty       Traffic Director         1/30/2018   Uber                     $      6.77 Las Vegas, NV      Patrick McCarty - expense from 1/30 - 2/4 for     las Vegas convention center to Four seasons    Patrick McCarty         Auto             Taxi
                                                                                                                                                                                             attending SCI to assist with Chris Cox's speech
3238        2018   156967   EXP-11541              1/30/2018 - 2/4/2018   Patrick McCarty       Traffic Director         2/2/2018    Uber                     $      9.41 Las Vegas, NV      Patrick McCarty - expense from 1/30 - 2/4 for     MGM to four seasons                            Patrick McCarty         Auto             Taxi
                                                                                                                                                                                             attending SCI to assist with Chris Cox's speech
2703        2018   157570   EXP-11580              1/31/2018-             Hayley Holmes         Account Executive        2/1/2018    Cash Tips                $      8.00 Unknown            L. Cremer travel to Vagas for NRATV meeting w/ wifi to work on the plane - NRATV                 L Cremer                Miscellaneous    Tips
                                                   2/1/2018                                                                                                                                  NRA Execs. (tv)                                   monetization (no reciept)
3240        2018   156967   EXP-11541              1/30/2018 - 2/4/2018   Patrick McCarty       Traffic Director         1/30/2018   Uber                     $     12.11 Las Vegas, NV      Patrick McCarty - expense from 1/30 - 2/4 for     four seasons to las Vegas convention center    Patrick McCarty         Auto             Taxi
                                                                                                                                                                                             attending SCI to assist with Chris Cox's speech
3241        2018   156967   EXP-11541              1/30/2018 - 2/4/2018   Patrick McCarty       Traffic Director         1/30/2018   Uber                     $     13.64 Arlington, VA      Patrick McCarty - expense from 1/30 - 2/4 for     MG to Reagan airport                           Patrick McCarty         Auto             Taxi
                                                                                                                                                                                             attending SCI to assist with Chris Cox's speech
3242        2018   156967   EXP-11541              1/30/2018 - 2/4/2018   Patrick McCarty       Traffic Director         1/30/2018   Uber                     $     14.18 Las Vegas, NV      Patrick McCarty - expense from 1/30 - 2/4 for     McCarran Airport to Four Seasons               Patrick McCarty         Auto             Taxi
                                                                                                                                                                                             attending SCI to assist with Chris Cox's speech
3243        2018   156967   EXP-11541              1/30/2018 - 2/4/2018   Patrick McCarty       Traffic Director         1/31/2018   Uber                     $     40.96 Las Vegas, NV      Patrick McCarty - expense from 1/30 - 2/4 for     Dinner back to Four Seasons with Jon Carter,   Patrick McCarty         Auto             Taxi
                                                                                                                                                                                             attending SCI to assist with Chris Cox's speech   Danny, Lyon, John Popp
3244        2018   156967   EXP-11541              1/30/2018 - 2/4/2018   Patrick McCarty       Traffic Director         1/31/2018   Uber                     $     41.80 Las Vegas, NV      Patrick McCarty - expense from 1/30 - 2/4 for     Four seasons to dinner with Jon Carter, Danny Patrick McCarty          Auto             Taxi
                                                                                                                                                                                             attending SCI to assist with Chris Cox's speech   Lyon, John Popp
3245        2017   149459   Unknown                Unknown                Unknown               n/a                      5/1/2017    Brady Wardlaw            $     33.19 Mt. Juliet, TN     Unknown                                           Unknown                                        Unknown                 Auto             Taxi          Uber

3246        2018   159388   95D136D9FFEF487BA53B   5/23/2018              Eric Van Horn         Account Executive        5/1/2018    Uber                     $     18.36 Unknown            May Expenses Report - 1st                         Transportation during annual meeting           Unknown                 Auto             Taxi

3247        2016   137631   Unknown                Unknown                Unknown               n/a                      2/1/2016    Uber                     $     55.44 Los Angeles, CA    Unknown                                           unknown                                        Unknown                 Auto             Car Service

3248        2017   143169   Unknown                Unknown                Unknown               n/a                      9/9/2016    Uber                     $     37.81 Los Angeles, CA    NO DESCRIPTION PROVIDED                           Unknown                                        Unknown                 Auto             Taxi

3249        2017   143169   Unknown                Unknown                Unknown               n/a                      9/10/2016   Uber                     $     40.37 Los Angeles, CA    NO DESCRIPTION PROVIDED                           Unknown                                        Unknown                 Auto             Taxi

3250        2017   143169   Unknown                Unknown                Unknown               n/a                      9/11/2016   Uber                     $     43.77 Los Angeles, CA    NO DESCRIPTION PROVIDED                           Unknown                                        Unknown                 Auto             Taxi

3251        2017   143169   Unknown                Unknown                Unknown               n/a                      9/7/2016    Uber                     $     44.28 Los Angeles, CA    NO DESCRIPTION PROVIDED                           Unknown                                        Unknown                 Auto             Taxi

3252        2017   143169   Unknown                Unknown                Unknown               n/a                      9/26/2016   Uber                     $     51.53 Los Angeles, CA    NO DESCRIPTION PROVIDED                           Unknown                                        Unknown                 Auto             Taxi

3253        2017   143169   Unknown                Unknown                Unknown               n/a                      9/6/2016    Uber                     $     53.85 Los Angeles, CA    NO DESCRIPTION PROVIDED                           Unknown                                        Unknown                 Auto             Taxi

3254        2017   143169   Unknown                Unknown                Unknown               n/a                      9/6/2016    Uber                     $     56.79 Los Angeles, CA    NO DESCRIPTION PROVIDED                           Unknown                                        Unknown                 Auto             Taxi

3255        2017   143169   Unknown                Unknown                Unknown               n/a                      9/26/2016   Uber                     $     60.34 Los Angeles, CA    NO DESCRIPTION PROVIDED                           Unknown                                        Unknown                 Auto             Taxi

3256        2017   143169   Unknown                Unknown                Unknown               n/a                      9/27/2016   Uber                     $     60.72 Los Angeles, CA    NO DESCRIPTION PROVIDED                           Unknown                                        Unknown                 Auto             Taxi




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3257        2017   143169   Unknown                Unknown                 Unknown               n/a                 9/9/2016    Uber                  $     63.21 Los Angeles, CA       NO DESCRIPTION PROVIDED                           Unknown                                          Unknown              Auto             Taxi

3258        2017   143169   Unknown                Unknown                 Unknown               n/a                 9/7/2016    Uber                  $     67.48 Los Angeles, CA       NO DESCRIPTION PROVIDED                           Unknown                                          Unknown              Auto             Taxi

3259        2017   143169   Unknown                Unknown                 Unknown               n/a                 9/7/2016    Uber                  $    101.29 Los Angeles, CA       NO DESCRIPTION PROVIDED                           Unknown                                          Unknown              Auto             Taxi

3260        2017   143169   Unknown                Unknown                 Unknown               n/a                 9/28/2016   Uber                  $    153.08 Los Angeles, CA       NO DESCRIPTION PROVIDED                           Unknown                                          Unknown              Auto             Taxi

3261        2017   143169   Unknown                Unknown                 Unknown               n/a                 9/28/2016   Uber                  $    166.82 Los Angeles, CA       NO DESCRIPTION PROVIDED                           Unknown                                          Unknown              Auto             Taxi

3262        2017   146420   Unknown                Unknown                 Unknown               n/a                 1/30/2017   Uber                  $     20.61 Los Angeles, CA       NO DESCRIPTION PROVIDED                           Unknown                                          Unknown              Auto             Taxi

3263        2017   146420   Unknown                Unknown                 Unknown               n/a                 1/20/2017   Uber                  $     47.21 Los Angeles, CA       NO DESCRIPTION PROVIDED                           Unknown                                          Unknown              Auto             Taxi

3264        2017   146420   Unknown                Unknown                 Unknown               n/a                 1/24/2017   Uber                  $     55.21 Los Angeles, CA       NO DESCRIPTION PROVIDED                           Unknown                                          Unknown              Auto             Taxi

3265        2017   146420   Unknown                Unknown                 Unknown               n/a                 1/24/2017   Uber                  $     56.55 Los Angeles, CA       NO DESCRIPTION PROVIDED                           Unknown                                          Unknown              Auto             Taxi

3266        2017   146420   Unknown                Unknown                 Unknown               n/a                 1/13/2017   Uber                  $     99.05 Houston, TX           NO DESCRIPTION PROVIDED                           Unknown                                          Unknown              Auto             Taxi

3267        2017   147112   Unknown                Unknown                 Unknown               n/a                 2/12/2017   Uber                  $     19.39 Los Angeles, CA       No expense report provided                        Unknown                                          Unknown              Auto             Taxi             Uber Black car - 1.4 miles Los Angeles
                                                                                                                                                                                                                                                                                                                                                   No expense report found for these Uber charges
3268        2017   147112   Unknown                Unknown                 Unknown               n/a                 2/17/2017   Uber                  $     71.56 Los Angeles, CA       No expense report provided                        Unknown                                          Unknown              Auto             Taxi             Uber Black car - 11.04 miles Los Angeles
                                                                                                                                                                                                                                                                                                                                                   No expense report found for these Uber charges
3269        2017   147112   Unknown                Unknown                 Unknown               n/a                 2/6/2017    Uber                  $     45.74 Los Angeles, CA       No expense report provided                        Unknown                                          Unknown              Auto             Taxi             Uber Black car - 6.64 miles Los Angeles
                                                                                                                                                                                                                                                                                                                                                   No expense report found for these Uber charges
3270        2017   147112   Unknown                Unknown                 Unknown               n/a                 2/16/2017   Uber                  $     50.14 Los Angeles, CA       No expense report provided                        Unknown                                          Unknown              Auto             Taxi             Uber Black car - 7.16 miles Los Angeles
                                                                                                                                                                                                                                                                                                                                                   No expense report found for these Uber charges
3271        2017   147112   Unknown                Unknown                 Unknown               n/a                 2/6/2017    Uber                  $     48.79 Los Angeles, CA       No expense report provided                        Unknown                                          Unknown              Auto             Taxi             Uber Black car - 7.25 miles Los Angeles
                                                                                                                                                                                                                                                                                                                                                   No expense report found for these Uber charges
3272        2017   147112   Unknown                Unknown                 Unknown               n/a                 2/9/2017    Uber                  $     49.05 Los Angeles, CA       No expense report provided                        Unknown                                          Unknown              Auto             Taxi             Uber Black car - 7.4 miles Los Angeles
                                                                                                                                                                                                                                                                                                                                                   No expense report found for these Uber charges
3273        2017   147112   Unknown                Unknown                 Unknown               n/a                 2/7/2017    Uber                  $     50.86 Los Angeles, CA       No expense report provided                        Unknown                                          Unknown              Auto             Taxi             Uber Black car - 7.66 miles Los Angeles
                                                                                                                                                                                                                                                                                                                                                   No expense report found for these Uber charges
3274        2017   147112   Unknown                Unknown                 Unknown               n/a                 2/16/2017   Uber                  $     64.01 Los Angeles, CA       No expense report provided                        Unknown                                          Unknown              Auto             Taxi             Uber Black car - 7.98 miles Los Angeles
                                                                                                                                                                                                                                                                                                                                                   No expense report found for these Uber charges
3275        2017   147112   Unknown                Unknown                 Unknown               n/a                 2/17/2017   Uber                  $     50.13 Los Angeles, CA       No expense report provided                        Unknown                                          Unknown              Auto             Taxi             Uber Black car - 9.05 miles Los Angeles
                                                                                                                                                                                                                                                                                                                                                   No expense report found for these Uber charges
3276        2017   147112   Unknown                Unknown                 Unknown               n/a                 2/9/2017    Uber                  $     65.21 Los Angeles, CA       No expense report provided                        Unknown                                          Unknown              Auto             Taxi             Uber Black car - 9.47 miles Los Angeles
                                                                                                                                                                                                                                                                                                                                                   No expense report found for these Uber charges
3277        2017   147112   Unknown                Unknown                 Unknown               n/a                 2/9/2017    Uber                  $     50.93 Los Angeles, CA       No expense report provided                        Unknown                                          Unknown              Auto             Taxi             Uber Black car - 9.49 miles Los Angeles
                                                                                                                                                                                                                                                                                                                                                   No expense report found for these Uber charges
3278        2018   156967   EXP-11541              1/30/2018 - 2/4/2018    Patrick McCarty       Traffic Director    1/31/2018   Union Cab             $     25.00 Las Vegas, NV         Patrick McCarty - expense from 1/30 - 2/4 for     Cab from Four Seasons to Las Vegas               Patrick McCarty      Auto             Taxi
                                                                                                                                                                                         attending SCI to assist with Chris Cox's speech   Convention Center plus tip
3279        2016   136859   EXP-6784               1/22/2002 - 2/17/2016   Hayley Holmes         Account Executive   1/24/2016   Virgin America        $     75.00 Unknown               LD SHOT Show Travel/Expenses (DG)                 Bag check fee for 3 bags                         LD                   Travel           Other

3280        2016   136859   EXP-6907               1/8/2016 - 2/17/2016    Hayley Holmes         Account Executive   1/18/2016   Unknown               $     20.00 Las Vegas, NV         MM SHOT Show Travel/Expenses                      Cash tip for bags at hotel check in              MM                   Miscellaneous    Tips

3281        2016   136859   EXP-6907               1/8/2016 - 2/17/2016    Hayley Holmes         Account Executive   1/20/2016   Unknown               $     20.00 Las Vegas, NV         MM SHOT Show Travel/Expenses                      snacks/waters on the show floor (paid cash)      MM                   Meal/Beverages   Individual

3282        2016   136859   EXP-6907               1/8/2016 - 2/17/2016    Hayley Holmes         Account Executive   1/20/2016   Unknown               $     20.00 Las Vegas, NV         MM SHOT Show Travel/Expenses                      Cash tip for venetian polycom set up for brand MM                     Miscellaneous    Tips
                                                                                                                                                                                                                                           sponsor conference call
3283        2016   136859   EXP-6907               1/8/2016 - 2/17/2016    Hayley Holmes         Account Executive   1/20/2016   Unknown               $     20.00 Las Vegas, NV         MM SHOT Show Travel/Expenses                      Cash tip for box delivery to sponsor suites      MM                   Miscellaneous    Tips

3284        2016   136859   EXP-6907               1/8/2016 - 2/17/2016    Hayley Holmes         Account Executive   1/21/2016   Unknown               $     20.00 Las Vegas, NV         MM SHOT Show Travel/Expenses                      Cash tip for bags/bellman at hotel check out     MM                   Miscellaneous    Tips

3285        2016   136859   EXP-6907               1/8/2016 - 2/17/2016    Hayley Holmes         Account Executive   1/18/2016   Unknown               $     40.00 Las Vegas, NV         MM SHOT Show Travel/Expenses                      Cash tip for doorman at hotel check in           MM                   Miscellaneous    Tips

3286        2016   136859   EXP-6907               1/8/2016 - 2/17/2016    Hayley Holmes         Account Executive   1/21/2016   Unknown               $     40.00 Las Vegas, NV         MM SHOT Show Travel/Expenses                      Cash tip for doorman at hotel check out          MM                   Miscellaneous    Tips

3287        2016   136859   EXP-6907               1/8/2016 - 2/17/2016    Hayley Holmes         Account Executive   1/21/2016   Unknown               $     50.00 Las Vegas, NV         MM SHOT Show Travel/Expenses                      Cash tip for driver for client drop off          MM                   Miscellaneous    Tips

3288        2016   136859   EXP-6907               1/8/2016 - 2/17/2016    Hayley Holmes         Account Executive   1/20/2016   Unknown               $     60.00 Las Vegas, NV         MM SHOT Show Travel/Expenses                      Cash tip for maid services during stay           MM                   Miscellaneous    Tips

3289        2016   136859   EXP-6907               1/8/2016 - 2/17/2016    Hayley Holmes         Account Executive   1/19/2016   Unknown               $    100.00 Las Vegas, NV         MM SHOT Show Travel/Expenses                      Cash tip for driver (Tuesday)                    MM                   Miscellaneous    Tips

3290        2016   136859   EXP-6907               1/8/2016 - 2/17/2016    Hayley Holmes         Account Executive   1/20/2016   Unknown               $    100.00 Las Vegas, NV         MM SHOT Show Travel/Expenses                      cash tip for driver (Wednesday)                  MM                   Miscellaneous    Tips

3291        2017   146420   EXP-9895               1/19/2016-              Hayley Holmes         Account Executive   1/16/2017   Virgin America        $     25.00 Las Vegas, NV         L. Duffy travel to Las Vegas fpr 2017 SHOT Show Checked Bagged Fee                                 L Duffy              Travel           Other
                                                   2/8/2017                                                                                                                              (SG)
3292        2017   146420   EXP-9895               1/19/2016-              Hayley Holmes         Account Executive   1/20/2017   Virgin America        $     25.00 Las Vegas, NV         L. Duffy travel to Las Vegas fpr 2017 SHOT Show Checked Bagged Fee                                 L Duffy              Travel           Other
                                                   2/8/2017                                                                                                                              (SG)
3293        2017   149459   EXP-10629              4/20/2017 - 4/24/2017   Hayley Holmes         Account Executive   4/24/2017   Unknown               $    500.00 Unknown               MM A/M travel advance (SK)                        cash tips for driver/concierge/etc. throughout   MM                   Miscellaneous    Tips
                                                                                                                                                                                                                                           week of NRA A/M
3294        2018   156967   Unknown                Unknown                 Unknown               n/a                 2/1/2018    Unknown               $      8.00 Unknown               Unknown                                           Unknown                                          Unknown              Miscellaneous    Other

3295        2017   146420   EXP-9763               1/5/2017-               Eric Van Horn         Account Executive   1/5/2017    Up in Smoke           $    113.55 Dallas, TX            Eric Van Horb expenses for Tony Makris event in Cigar materials for Tony Makris' event             Eric Van Horn        Miscellaneous    Gift
                                                   1/7/2017                                                                                                                              Dallas, TX
3296        2017   150457   EXP-10733              2/15/2017-              Hayley Holmes         Account Executive   2/15/2017   UPS                   $    140.55 Unknown               HH clean up report                                Overnight shipping charge to ship J. Powell's    J Powell             Miscellaneous    Other
                                                   6/19/2017                                                                                                                                                                               lost labtop
3297        2016   136859   EXP-6784               1/22/2002 - 2/17/2016   Hayley Holmes         Account Executive   1/19/2016   Vegas Western Cab     $     10.65 Las Vegas, NV         LD SHOT Show Travel/Expenses (DG)                 Transportation to SHOT Show                      LD                   Auto             Taxi

2840        2018   156967   EXP-11541              1/30/2018 - 2/4/2018    Patrick McCarty       Traffic Director    2/4/2018    D Fresh Attractions   $      5.94 Las Vegas, NV         Patrick McCarty - expense from 1/30 - 2/4 for     breakfast at airport                             Patrick McCarty      Meal/Beverages   Individual
                                                                                                                                                                                         attending SCI to assist with Chris Cox's speech
3299        2016   136859   EXP-6749               1/13/2016 - 2/17/2016   Hayley Holmes         Account Executive   1/23/2016   Venetian              $      5.00 Las Vegas, NV         HH Travel/Expenses for 2016 SHOT Show (DG) Water for CN after checkout (no receipt)                CN                   Meal/Beverages   Individual

3078        2018   155996   0948CFA77AEC415BB610   2/5/2018                Lacey Cremer/Duffy    SVP / Account       2/2/2018    Love Field Valet      $      5.29 Dallas, TX            Feb18                                             LD travel to Las Vegas for meeting with NR       LD                   Auto             Parking
                                                                                                 Supervisor                                                                                                                             exec (parking for personal vehicle during trip)
2701        2018   157570   EXP-11580              1/31/2018-              Hayley Holmes         Account Executive   2/1/2018    Cash Tips             $      5.00 Unknown               L. Cremer travel to Vagas for NRATV meeting w/ Cash tip for box delivery                           L Cremer             Miscellaneous    Tips
                                                   2/1/2018                                                                                                                              NRA Execs. (tv)
3302   12   2017   149459   EXP-10614              1/30/2017 - 5/26/2017   Eric Van Horn         Account Executive   2/12/2017   Virgin America        $     25.00 Unknown               LD - cleanup report (SK)                          checked bag for trip to Virginia for Heart to    LD                   Travel           Other
                                                                                                                                                                                                                                           Heart Gala
3303        2017   147112   EXP-9983               1/15/17 - 2/15/17       Hayley Holmes         Account Executive   1/21/2017   Wynn                  $    168.50 Las Vegas, NV         HH Travel to Vegas for 2017 SHOT Show             Laundry services after cigar event               HH                   Travel           Other

3304        2016   136859   Unknown                Unknown                 Unknown               n/a                 1/7/2016    Egencia               $      7.00 Unknown               Unknown                                           Travel to SHOT Show Melanie Montgomery           Melanie Montgomery   Travel           Travel Service

3305        2016   136859   Unknown                Unknown                 Unknown               n/a                 1/18/2016   Egencia               $     10.00 Unknown               Unknown                                           Travel to SHOT Show Melanie Montgomery           Melanie Montgomery   Travel           Travel Service

3306        2016   136859   Unknown                Unknown                 Unknown               n/a                 1/18/2016   Egencia               $     58.00 Unknown               Unknown                                           Travel to SHOT Show Melanie Montgomery           Melanie Montgomery   Travel           Travel Service

2702        2018   157570   EXP-11580              1/31/2018-              Hayley Holmes         Account Executive   2/1/2018    Cash Tips             $      5.00 Unknown               L. Cremer travel to Vagas for NRATV meeting w/ Cash tip for bag check at airport                   L Cremer             Miscellaneous    Tips
                                                   2/1/2018                                                                                                                              NRA Execs. (tv)
3308        2016   136165   Unknown                Unknown                 Unknown               n/a                 1/1/2016    I.I. & I.S Inc.       $   4,000.00 Woodland Hills, CA   Unknown                                           January 2016 - travel co-ordination              Unknown              Travel           Travel Service

3309        2016   136165   Unknown                Unknown                 Unknown               n/a                 1/1/2016    I.I. & I.S Inc.       $   4,000.00 Woodland Hills, CA   Unknown                                           February 2016 - travel co-ordination             Unknown              Travel           Travel Service




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3310   2016   136859   Unknown                 Unknown                 Unknown               n/a                    3/1/2016    I.I. & I.S Inc.       $      4,000.00 Woodland Hills, CA      Unknown                                           March - Travel Coordination                     Unknown                                          Travel           Travel Service

3311   2016   138653   Unknown                 Unknown                 Unknown               n/a                    4/1/2016    I.I. & I.S Inc.       $      4,000.00 Woodland Hills, CA      Unknown                                           April - Travel Coordination                     Unknown                                          Travel           Travel Service

3312   2016   138653   Unknown                 Unknown                 Unknown               n/a                    5/1/2016    I.I. & I.S Inc.       $      4,000.00 Woodland Hills, CA      Unknown                                           May - Travel Coordination                       Unknown                                          Travel           Travel Service

3313   2016   140440   Unknown                 Unknown                 Unknown               n/a                    6/1/2016    I.I. & I.S Inc.       $      4,000.00 Unknown                 Unknown                                           June - travel coordination                      Unknown                                          Travel           Travel Service

3314   2016   141517   Unknown                 Unknown                 Unknown               n/a                    8/1/2016    I.I. & I.S Inc.       $      4,000.00 Unknown                 Unknown                                           August - Travel co-ordination                   Unknown                                          Travel           Travel Service

3315   2016   141517   Unknown                 Unknown                 Unknown               n/a                    7/1/2016    I.I. & I.S Inc.       $      4,000.00 Unknown                 Unknown                                           July - Travel co-ordination                     Unknown                                          Travel           Travel Service

3316   2016   142347   Unknown                 Unknown                 Unknown               n/a                    9/1/2016    I.I. & I.S Inc.       $      4,000.00 Woodland Hills, CA      Unknown                                           September - Travel co-ordination                Unknown                                          Travel           Travel Service

3317   2017   143169   Unknown                 Unknown                 Unknown               n/a                    10/1/2016   I.I. & I.S Inc.       $      4,000.00 Unknown                 Unknown                                           October - Travel co-ordination                  Unknown                                          Travel           Travel Service

3318   2016   143559   Unknown                 Unknown                 Unknown               n/a                    11/1/2016   I.I. & I.S Inc.       $      4,000.00 Unknown                 Unknown                                           November Travel coordination                    Unknown                                          Travel           Travel Service

3319   2017   145564   Unknown                 Unknown                 Unknown               n/a                    12/1/2016   I.I. & I.S Inc.       $      4,000.00 Woodland Hills, CA      Unknown                                           December - travel coordination                  Unknown                                          Travel           Travel Service

3320   2017   145564   Unknown                 Unknown                 Unknown               n/a                    1/1/2017    I.I. & I.S Inc.       $      4,000.00 Woodland Hills, CA      Unknown                                           January - travel coordination                   Unknown                                          Travel           Travel Service

3321   2017   149459   F6FA23635A7E4DCEA766    5/10/17 - 5/25/17       Melanie Montgomery    EVP / Management       5/1/2017    W Hotel               $            25.05 Unknown              May Expenses                                      NR Annual Mtg                                   Unknown                                          Miscellaneous    Other
                                                                                             Supervisor
3322   2017   149459   F6FA23635A7E4DCEA766    5/10/17 - 5/25/17       Melanie Montgomery    EVP / Management       5/1/2017    W Hotel               $2,687.57          Unknown              May Expenses                                      NR Annual Mtg                                   Unknown                                          Miscellaneous    Other
                                                                                             Supervisor
3323   2017   149459   F6FA23635A7E4DCEA766    5/10/17 - 5/25/17       Melanie Montgomery    EVP / Management       5/1/2017    W Hotel               $2,816.57          Unknown              May Expenses                                      NR Annual Mtg                                   Unknown                                          Miscellaneous    Other
                                                                                             Supervisor
3324   2017   147112   Unknown                 Unknown                 Unknown               n/a                    2/1/2017    I.I. & I.S Inc.       $4,000.00          Woodland Hills, CA   Unknown                                           Unknown                                         Unknown                                          Travel           Travel Service

3325   2017   147112   Unknown                 Unknown                 Unknown               n/a                    3/1/2017    I.I. & I.S Inc.       $4,000.00          Woodland Hills, CA   Unknown                                           Unknown                                         Unknown                                          Travel           Travel Service

3326   2017   150823   F6FA23635A7E4DCEA766    5/10/2017               Melanie Montgomery    EVP / Management       5/1/2017    W Hotel               $           (21.77) Unknown             May Expenses                                      NR annual meeting                               Unknown                                          Miscellaneous    Other
                                                                                             Supervisor
3327   2017   150823   F6FA23635A7E4DCEA766    5/10/2017               Melanie Montgomery    EVP / Management       5/1/2017    W Hotel               $           (19.88) Unknown             May Expenses                                      NR annual meeting                               Unknown                                          Miscellaneous    Other
                                                                                             Supervisor
3328   2016   136859   EXP-6749                1/13/2016 - 2/17/2016   Hayley Holmes         Account Executive      1/18/2016   Walgreens             $            23.94 Las Vegas, NV        HH Travel/Expenses for 2016 SHOT Show (DG) Office supplies for sponsor meetings (personal         HH                                               Miscellaneous    Other
                                                                                                                                                                                                                                                card/no recipt)
3329   2018   154707   02528FE380E14576A01F    1/16/2018               Eric Van Horn         Account Executive      1/3/2018    Walgreens             $            21.99 Unknown              January                                           Cold medicine for Tony Makris                   Tony Makris                                      Miscellaneous    Other

3330   2018   154707   5260BE9D30F046589A20    1/31/2018               Hayley Holmes         Account Executive      1/4/2018    Walgreens             $            54.28 Dallas, TX           JAN18A                                            T. Makris cigar smoker event during DSC in      T Makris                                         Miscellaneous    Other
                                                                                                                                                                                                                                                Dallas
3331   2017   149459   F6FA23635A7E4DCEA766    5/10/17 - 5/25/17       Melanie Montgomery    EVP / Management       4/29/2017   Dantanna's CNN        $            51.51 Unknown              May Expenses                                      NR Annual Mtg                                   WP; MM                                           Meal/Beverages   Group            Voskuhl, Terri (05/10/17) Billable dinner w/ WP and MM during
                                                                                             Supervisor                                                                                                                                                                                                                                                                            Annual Meeting for budget discussions part 1
3332   2017   148014   Unknown                 Unknown                 Unknown               n/a                    4/1/2017    I.I. & I.S Inc.       $      4,000.00 Unknown                 Unknown                                           April - Travel co-ordination                    Unknown                                          Travel           Travel Service

3333   2017   148749   Unknown                 Unknown                 Unknown               n/a                    5/1/2017    I.I. & I.S Inc.       $      4,000.00 Unknown                 Unknown                                           May - Travel co-ordination                      Unknown                                          Travel           Travel Service

3334   2018   156967   EXP-11541               1/30/2018 - 2/4/2018    Patrick McCarty       Traffic Director       1/31/2018   Whittlesea Blue Cab   $            25.00 Las Vegas, NV        Patrick McCarty - expense from 1/30 - 2/4 for     Cab from Four Seasons to Las Vegas              Patrick McCarty                                  Auto             Taxi
                                                                                                                                                                                              attending SCI to assist with Chris Cox's speech   Convention Center plus tip
3335   2018   155520   0B353E2A227140005AC96   January Expenses        Shree H. Tripathi     Operations Manager /   1/2/2018    Whole Foods           $           207.04 Unknown              January Expenses                                  Snacks and beverages for client/set. Requested Client                                            Meal/Beverages   Individual
                                                                                             Content Manager                                                                                                                                    by Hayley Holmes
3336   2018   156967   Unknown                 Unknown                 Unknown               n/a                    1/31/2018   World DutyFree        $            17.97 Dallas, TX           Unknown                                           Unknown                                         Unknown                                          Miscellaneous    Other

3337   2016   136859   EXP-6749                1/13/2016 - 2/17/2016   Hayley Holmes         Account Executive      1/22/2016   Wynn                  $            28.63 Las Vegas, NV        HH Travel/Expenses for 2016 SHOT Show (DG) Zoozacrackers - lunch for HH                           HH                                               Meal/Beverages   Individual

3338   2016   136859   EXP-6749                1/13/2016 - 2/17/2016   Hayley Holmes         Account Executive      1/22/2016   Wynn                  $            47.35 Las Vegas, NV        HH Travel/Expenses for 2016 SHOT Show (DG) Additional office supplies needed for                  HH                                               Miscellaneous    Other
                                                                                                                                                                                                                                         meetings/etc. (Wynn Drug Store)
3339   2016   136859   EXP-6749                1/13/2016 - 2/17/2016   Hayley Holmes         Account Executive      1/22/2016   Wynn                  $            55.00 Las Vegas, NV        HH Travel/Expenses for 2016 SHOT Show (DG) Business center printing/package/shipping fees         HH                                               Miscellaneous    Other

3340   2017   150457   Unknown                 Unknown                 Unknown               n/a                    6/1/2017    I.I. & I.S Inc.       $      4,000.00 Unknown                 Unknown                                           June - Travel Coordination                      Unknown                                          Travel           Travel Service

3341   2016   136859   EXP-6749                1/13/2016 - 2/17/2016   Hayley Holmes         Account Executive      1/22/2016   Wynn                  $            56.00 Las Vegas, NV        HH Travel/Expenses for 2016 SHOT Show (DG) Honor bar charges during stay (waters/snacks)          HH                                               Meal/Beverages   Individual

3342   2016   136859   EXP-6749                1/13/2016 - 2/17/2016   Hayley Holmes         Account Executive      1/22/2016   Wynn                  $            93.17 Las Vegas, NV        HH Travel/Expenses for 2016 SHOT Show (DG) In room dining/meals for HH during stay                HH                                               Meal/Beverages   Individual

3343   2016   136859   EXP-6749                1/13/2016 - 2/17/2016   Hayley Holmes         Account Executive      1/22/2016   Wynn                  $           120.04 Las Vegas, NV        HH Travel/Expenses for 2016 SHOT Show (DG) Refreshments for HH, MM, KS, LD, LS, Mil               HH; MM; KS; LD; LS; Mil personnel (2/no names)   Meal/Beverages   Group
                                                                                                                                                                                                                                                personnel (2/no names) before dinner
3344   2017   150457   Unknown                 Unknown                 Unknown               n/a                    7/1/2017    I.I. & I.S Inc.       $      4,000.00 Unknown                 Unknown                                           July - Travel Coordination                      Unknown                                          Travel           Travel Service

3345   2017   150823   Unknown                 Unknown                 Unknown               n/a                    8/1/2017    I.I. & I.S Inc.       $      4,000.00 Unknown                 Unknown                                           August - Travel co-ordination                   Unknown                                          Travel           Travel Service

3346   2016   136859   EXP-6784                1/22/2002 - 2/17/2016   Hayley Holmes         Account Executive      1/21/2016   Wynn                  $             8.64 Las Vegas, NV        LD SHOT Show Travel/Expenses (DG)                 Zoozacrackers - snack for LD                    LD                                               Meal/Beverages   Individual

3347   2016   136859   EXP-6784                1/22/2002 - 2/17/2016   Hayley Holmes         Account Executive      1/22/2002   Wynn                  $            43.00 Las Vegas, NV        LD SHOT Show Travel/Expenses (DG)                 Honor bar charges during stay (waters/snacks)   LD                                               Meal/Beverages   Individual

3348   2016   136859   EXP-6784                1/22/2002 - 2/17/2016   Hayley Holmes         Account Executive      1/21/2016   Wynn                  $            45.15 Las Vegas, NV        LD SHOT Show Travel/Expenses (DG)                 Terrace Pointe - Breakfast for LD               LD                                               Meal/Beverages   Individual

3349   2016   136859   EXP-6784                1/22/2002 - 2/17/2016   Hayley Holmes         Account Executive      1/21/2016   Wynn                  $           484.48 Las Vegas, NV        LD SHOT Show Travel/Expenses (DG)                 Mizumi - Dinner for LD, HH, Mil Personnel       LD; HH; Mil personnel; (2/no names)              Meal/Beverages   Group
                                                                                                                                                                                                                                                (2/no names)
3350   2016   136859   EXP-6784                1/22/2002 - 2/17/2016   Hayley Holmes         Account Executive      1/22/2016   Wynn                  $           105.85 Las Vegas, NV        LD SHOT Show Travel/Expenses (DG)                 Tableau - HH/LD breakfast                       HH; LD                                           Meal/Beverages   Group

3351   2017   152775   Unknown                 Unknown                 Unknown               n/a                    9/1/2017    I.I. & I.S Inc.       $      4,000.00 Unknown                 Unknown                                           September Travel Coordination                   Unknown                                          Travel           Travel Service

3352   2016   136859   EXP-6907                1/8/2016 - 2/17/2016    Hayley Holmes         Account Executive      1/20/2016   Wynn                  $            12.82 Las Vegas, NV        MM SHOT Show Travel/Expenses                      Soda/snack - B Bar                              MM                                               Meal/Beverages   Individual

3353   2016   136859   EXP-6907                1/8/2016 - 2/17/2016    Hayley Holmes         Account Executive      1/21/2016   Wynn                  $            33.00 Las Vegas, NV        MM SHOT Show Travel/Expenses                      Honor bar charges during stay (waters/snacks)   MM                                               Meal/Beverages   Individual

3354   2016   136859   EXP-6907                1/8/2016 - 2/17/2016    Hayley Holmes         Account Executive      1/20/2016   Wynn                  $            49.10 Las Vegas, NV        MM SHOT Show Travel/Expenses                      Snacks/sodas for HH/MM - B Bar                  HH; MM                                           Meal/Beverages   Group

3355   2016   136859   EXP-6907                1/8/2016 - 2/17/2016    Hayley Holmes         Account Executive      1/18/2016   Wynn                  $           116.96 Las Vegas, NV        MM SHOT Show Travel/Expenses                      Refreshments w/ brand sponsors                  MM; brand sponsors                               Meal/Beverages   Group

3356   2016   136859   EXP-6907                1/8/2016 - 2/17/2016    Hayley Holmes         Account Executive      1/19/2016   Wynn                  $           159.11 Las Vegas, NV        MM SHOT Show Travel/Expenses                      High Limit- pre dinner refreshments w/ brand    MM; brand sponsors                               Meal/Beverages   Group
                                                                                                                                                                                                                                                sponsors
3357   2016   136859   EXP-6907                1/8/2016 - 2/17/2016    Hayley Holmes         Account Executive      1/18/2016   Wynn                  $           169.14 Las Vegas, NV        MM SHOT Show Travel/Expenses                      Dinner for HH, LD, MM (allegro)                 HH; LD; MM                                       Meal/Beverages   Group

3358   2017   152775   Unknown                 Unknown                 Unknown               n/a                    10/1/2017   I.I. & I.S Inc.       $      4,000.00 Unknown                 Unknown                                           October Travel Coordination                     Unknown                                          Travel           Travel Service

3359   2016   136859   EXP-6907                1/8/2016 - 2/17/2016    Hayley Holmes         Account Executive      1/20/2016   Wynn                  $           292.73 Las Vegas, NV        MM SHOT Show Travel/Expenses                      Pre-dinner refreshments for MM, LD, HH, W.      MM; LD; HH; W Phillips; AM; T Schropp            Meal/Beverages   Group
                                                                                                                                                                                                                                                Phillips, AM, T. Schropp (Parasol Bar)
3360   2017   149459   F6FA23635A7E4DCEA766    5/10/17 - 5/25/17       Melanie Montgomery    EVP / Management       4/12/2017   Virgin America        $           648.20 Unknown              May Expenses                                      Flight to DC for Audit/Contract meeting         W Phillips; L Duffy; M Montgomery                Travel           Airfare          Voskuhl, Terri (05/10/17) Lunch w/ W. Phillips, L. Duffy, M.
                                                                                             Supervisor                                                                                                                                                                                                                                                                            Montgomery during Annual Meetings
3361   2016   136859   EXP-6907                1/8/2016 - 2/17/2016    Hayley Holmes         Account Executive      1/19/2016   Wynn                  $      1,698.68 Las Vegas, NV           MM SHOT Show Travel/Expenses                      Dinner w/ W. Phillips and A. McKenna to         MM; W Phillips; A McKenna                        Meal/Beverages   Group
                                                                                                                                                                                                                                                discuss NRA fundraising
3362   2016   137631   EXP-7058                1/25/2016 - 3/8/2016    Hayley Holmes         Account Executive      1/29/2016   Wynn                  $            56.00 Las Vegas, NV        Tip adjustment. L. Duffy - SHOT Adjustment        Correction from previous expense report/        Lacey Duffy                                      Miscellaneous    Tips             Tip adjustment
                                                                                                                                                                                              report. Refund adjustment - refund more than      March NR OOP expenses




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3363                                    2018              154707              Unknown                          Unknown                          Unknown                           n/a                     1/1/2018          I.I. & I.S Inc.        $   4,000.00 Woodland Hills, CA   Unknown                                          February - travel co-ordination                   Unknown                                           Travel           Travel Service

3364                                    2018              156967              Unknown                          Unknown                          Unknown                           n/a                     3/1/2018          I.I. & I.S Inc.        $   4,000.00 Woodland Hills, CA   Unknown                                          March - Travel Co-ordination                      Unknown                                           Travel           Travel Service

3365                                    2018              157570              Unknown                          Unknown                          Unknown                           n/a                     5/1/2018          I.I. & I.S Inc.        $   4,000.00 Unknown              Unknown                                          May Travel Co-coodination                         Unknown                                           Travel           Travel Service

3366                                    2018              157570              Unknown                          Unknown                          Unknown                           n/a                     4/1/2018          I.I. & I.S Inc.        $   4,000.00 Unknown              Unknown                                          April Travel Co-coodination                       Unknown                                           Travel           Travel Service

3367                                    2018              158521              Unknown                          Unknown                          Unknown                           n/a                     5/1/2018          I.I. & I.S Inc.        $   4,000.00 Woodland Hills, CA   Unknown                                          June Travel Coordination                          Unknown                                           Travel           Travel Service

3368                                    2018              160161              Unknown                          Unknown                          Unknown                           n/a                     7/1/2018          I.I. & I.S Inc.        $   4,000.00 Unknown              Unknown                                          August - Travel Co-Cordination                    Unknown                                           Travel           Travel Service

3369                                    2018              160896              Unknown                          Unknown                          Unknown                           n/a                     8/1/2018          I.I. & I.S Inc.        $   (4,000.00) Unknown            Unknown                                          August - travel co-ordination                     Unknown                                           Travel           Travel Service   Attached email from JJ Treadwell to Kurt Atterberry on 8/31/2018
                                                                                                                                                                                                                                                                                                                                                                                                                                                                            states "Per Bill, we need to zero out invoice #3322 as these
3370                                    2018              154706/155170       Unknown                          Unknown                          Unknown                           n/a                     5/1/2017          I.I. & I.S Inc.        $   4,000.00 Unknown              Unknown                                          December Travel Co-coodination                    Unknown                                           Travel           Travel Service

3371                                    2017              146420              EXP-9895                         1/19/2016-                       Hayley Holmes                     Account Executive       1/19/2017         Wynn                   $      34.12 Las Vegas, NV        L. Duffy travel to Las Vegas fpr 2017 SHOT Show Parasol Down - client refreshments: LD and         K Walawender; L Duffy                             Meal/Beverages   Group
                                                                                                               2/8/2017                                                                                                                                                              (SG)                                            CG instructor K. Walawender
3372                                    2017              146420              EXP-9895                         1/19/2016-                       Hayley Holmes                     Account Executive       1/17/2017         Wynn                   $    155.00 Las Vegas, NV         L. Duffy travel to Las Vegas fpr 2017 SHOT Show Hotel services - personal item - LD to send        L Duffy                                           Miscellaneous    Other
                                                                                                               2/8/2017                                                                                                                                                              (SG)                                             check to companny to reimburse
3373                                    2018              154706/155170       Unknown                          Unknown                          Unknown                           n/a                     5/1/2017          I.I. & I.S Inc.        $   4,000.00 Unknown              Unknown                                          January Travel Co-coodination                     Unknown                                           Travel           Travel Service

3374                                    2017              146420              EXP-9895                         1/19/2016-                       Hayley Holmes                     Account Executive       1/16/2017         Wynn                   $    708.34 Las Vegas, NV         L. Duffy travel to Las Vegas fpr 2017 SHOT Show SW - client dinner re CG: J. Kohlmeyer, Navy       SW; CG; J Kohlmeyer; Navy Personnel; HH; DLS; L   Meal/Beverages   Group
                                                                                                               2/8/2017                                                                                                                                                              (SG)                                             Personnel, LD, HH, DLS                            Duffy
3375                                    2017              146420              EXP-9901                         1/16/2017-                       Hayley Holmes                     Account Executive       1/18/2017         Wynn                   $       7.75 Las Vegas, NV        M. Montgomery travel to Vegas for 2017 SHOT      The Drug Store - water / snacks for MM            M Montgomery                                      Meal/Beverages   Individual
                                                                                                               1/31/2017                                                                                                                                                             Show
3376                                    2017              146420              EXP-9901                         1/16/2017-                       Hayley Holmes                     Account Executive       1/16/2017         Wynn                   $      48.83 Las Vegas, NV        M. Montgomery travel to Vegas for 2017 SHOT      Zoocrackers - Lunch for LD, MM, HH                HH; LD; M Montgomery                              Meal/Beverages   Group
                                                                                                               1/31/2017                                                                                                                                                             Show
3377                                    2017              146420              EXP-9901                         1/16/2017-                       Hayley Holmes                     Account Executive       1/16/2017         Wynn                   $      49.90 Las Vegas, NV        M. Montgomery travel to Vegas for 2017 SHOT      The Drug Store - lunch for LD, MM, HH             HH; LD; M Montgomery                              Meal/Beverages   Group
                                                                                                               1/31/2017                                                                                                                                                             Show
3378                                    2017              146420              EXP-9901                         1/16/2017-                       Hayley Holmes                     Account Executive       1/17/2017         Wynn                   $      51.26 Las Vegas, NV        M. Montgomery travel to Vegas for 2017 SHOT      High Limit Bar - client entertainment /           J Kohlmeyer; LD; HH; M Montgomery                 Meal/Beverages   Group
                                                                                                               1/31/2017                                                                                                                                                             Show                                             refreshments - J. Kohlmeyer, LD, MM, HH
3379                                    2017              146420              EXP-9901                         1/16/2017-                       Hayley Holmes                     Account Executive       1/16/2017         Wynn                   $      79.22 Las Vegas, NV        M. Montgomery travel to Vegas for 2017 SHOT      High Limit Bar - client entertainmnet /           C Sprangers; C Fliandt; LD; M Montgomery; HH      Meal/Beverages   Group
                                                                                                               1/31/2017                                                                                                                                                             Show                                             refreshments - C. Sprangers, C. Fliandt, LD,
3380                                    2017              146420              EXP-9901                         1/16/2017-                       Hayley Holmes                     Account Executive       1/17/2017         Wynn                   $    175.00 Las Vegas, NV         M. Montgomery travel to Vegas for 2017 SHOT      The Saloon - client entertainment /               LD; HH; Navy Personnel; M Montgomery; T Schropp Meal/Beverages     Group
                                                                                                               1/31/2017                                                                                                                                                             Show                                             refreshments - T. Schropp, LD, MM, HH +
3381                                    2017              146420              EXP-9901                         1/16/2017-                       Hayley Holmes                     Account Executive       1/17/2017         Wynn                   $    175.08 Las Vegas, NV         M. Montgomery travel to Vegas for 2017 SHOT      Eastside Lounge - Client Entertainment /          C Sprangers; C Fliandt; LD; M Montgomery; HH      Meal/Beverages   Group
                                                                                                               1/31/2017                                                                                                                                                             Show                                             refreshments - C. Sprangers, C. Fliandt, LD,
3382                                    2017              146420              EXP-9901                         1/16/2017-                       Hayley Holmes                     Account Executive       1/18/2017         Wynn                   $    195.00 Las Vegas, NV         M. Montgomery travel to Vegas for 2017 SHOT      The Saloon - client entertainment /               OOA Team; LD; M Montgomery; HH; Navy              Meal/Beverages   Group
                                                                                                               1/31/2017                                                                                                                                                             Show                                             refreshments - OOA Team + LD, MM, HH +            Personnel
3383                                    2017              149459              F6FA23635A7E4DCEA766             5/10/17 - 5/25/17                Melanie Montgomery                EVP / Management        3/16/2017         Southwest              $    687.86 Unknown               May Expenses                                     Updated annual meetings flight                    Melanie Montgomery                                Travel           Airfare          Winkler, William B. (6/2/17) Billable flight to DC for
                                                                                                                                                                                  Supervisor                                                                                                                                                                                                                                                                                Audit/Contract meeting
3384                                    2017              146420              EXP-9901                         1/16/2017-                       Hayley Holmes                     Account Executive       1/17/2017         Wynn                   $    298.75 Las Vegas, NV         M. Montgomery travel to Vegas for 2017 SHOT      Allegro - meal for HH, LD, MM,P. Kobler +         HH; LD; M Montgomery; P Kobler; Couf (Navy)       Meal/Beverages   Group
                                                                                                               1/31/2017                                                                                                                                                             Show                                             Couf (Navy)
3385                                    2017              146420              EXP-9901                         1/16/2017-                       Hayley Holmes                     Account Executive       1/17/2017         Wynn                   $    550.99 Las Vegas, NV         M. Montgomery travel to Vegas for 2017 SHOT      Sinatra - client dinner - J. Kohlmeyer, LD, MM,   J Kohlmeyer; LD; HH; M Montgomery                 Meal/Beverages   Group
                                                                                                               1/31/2017                                                                                                                                                             Show                                             HH
3386                                    2017              147112              EXP-9983                         1/15/17 - 2/15/17                Hayley Holmes                     Account Executive       1/21/2017         Wynn                   $      40.00 Las Vegas, NV        HH Travel to Vegas for 2017 SHOT Show            Business center charges for package               HH                                                Miscellaneous    Other
                                                                                                                                                                                                                                                                                                                                      deliveries/printing
3387                                    2017              147112              EXP-9983                         1/15/17 - 2/15/17                Hayley Holmes                     Account Executive       1/21/2017         Wynn                   $      40.61 Las Vegas, NV        HH Travel to Vegas for 2017 SHOT Show            Eastside Lounge - refreshments for OOA C.         C                                                 Meal/Beverages   Individual

3388                                    2017              147112              EXP-9983                         1/15/17 - 2/15/17                Hayley Holmes                     Account Executive       1/21/2017         Wynn                   $      60.56 Las Vegas, NV        HH Travel to Vegas for 2017 SHOT Show            Office supplies for meeting w/ OOA sponsors       OOA sponsors; HH                                  Miscellaneous    Other

3389                                    2017              147112              EXP-9983                         1/15/17 - 2/15/17                Hayley Holmes                     Account Executive       1/21/2017         Wynn                   $    104.03 Las Vegas, NV         HH Travel to Vegas for 2017 SHOT Show            Honor bar charges (water/snacks)                  HH                                                Meal/Beverages   Individual

3390                                    2017              147112              EXP-9983                         1/15/17 - 2/15/17                Hayley Holmes                     Account Executive       1/21/2017         Wynn                   $    104.35 Las Vegas, NV         HH Travel to Vegas for 2017 SHOT Show            In room dining meals during stay                  HH                                                Meal/Beverages   Individual

3391                                    2018              157570              Unknown                          Unknown                          Unknown                           n/a                     4/12/2018         Omni Air Transport     $   6,300.00 Unknown              Unknown                                          Cancelation charges for trip scheduled March      Unknown                                           Travel           Airfare
                                                                                                                                                                                                                                                                                                                                      24-25, 2018
3392                                    2016              136859              Unknown                          Unknown                          Unknown                           n/a                     1/18/2016         Southwest              $    538.98 Unknown               Unknown                                          Travel to SHOT Show Melanie Montgomery            Melanie Montgomery                                Travel           Airfare

2687                                    2018              156967              EXP-11555                        1/25/2018 - 2/3/2018             Jon Carter                        Senior Associate        2/1/2018          Cash Tips              $       2.00 Las Vegas, NV        Coordination & management of 2018 SCI event      cab called by valet                               Unknown                                           Miscellaneous    Tips
                                                                                                                                                                                  Political Strategist                                                                               and Cox speech
2688                                    2018              156967              EXP-11555                        1/25/2018 - 2/3/2018             Jon Carter                        Senior Associate        2/2/2018          Cash Tips              $       2.00 Las Vegas, NV        Coordination & management of 2018 SCI event      tip for valet called cab                          Unknown                                           Miscellaneous    Tips
                                                                                                                                                                                  Political Strategist                                                                               and Cox speech
3395                                    2016              136859              Unknown                          Unknown                          Unknown                           n/a                     1/7/2016          Virgin America         $    532.08 Unknown               Unknown                                          Travel to SHOT Show Melanie Montgomery            Melanie Montgomery                                Travel           Airfare

3396                                    2017              147112              EXP-9983                         1/15/17 - 2/15/17                Hayley Holmes                     Account Executive       1/16/2017         Yardbird               $      51.26 Las Vegas, NV        HH Travel to Vegas for 2017 SHOT Show            Lunch w/ OOA C. Fiandt to discuss sponsor         C Fiandt; HH                                      Meal/Beverages   Group
                                                                                                                                                                                                                                                                                                                                      meeting
3397                                    2018              156967              EXP-11555                        1/25/2018 - 2/3/2018             Jon Carter                        Senior Associate        1/30/2018         Yellow Checker Star    $      12.00 Las Vegas, NV        Coordination & management of 2018 SCI event      from hotel to hotel                               Unknown                                           Auto             Taxi
                                                                                                                                                                                  Political Strategist                                                                               and Cox speech
2689                                    2018              156967              EXP-11555                        1/25/2018 - 2/3/2018             Jon Carter                        Senior Associate        2/2/2018          Cash Tips              $       2.00 Las Vegas, NV        Coordination & management of 2018 SCI event      tip for valet called cab                          Unknown                                           Miscellaneous    Tips
                                                                                                                                                                                  Political Strategist                                                                               and Cox speech
2690                                    2018              156967              EXP-11555                        1/25/2018 - 2/3/2018             Jon Carter                        Senior Associate        2/3/2018          Cash Tips              $       2.00 Las Vegas, NV        Coordination & management of 2018 SCI event      tip for valet called cab                          Unknown                                           Miscellaneous    Tips
                                                                                                                                                                                  Political Strategist                                                                               and Cox speech
3400                                    2016              136859              EXP-6784                         1/22/2002 - 2/17/2016            Hayley Holmes                     Account Executive       1/20/2016         Zoozacrackers          $      78.50 Las Vegas, NV        LD SHOT Show Travel/Expenses (DG)                Lunch for LD/MM                                   LD; MM                                            Meal/Beverages   Group

3401                                    2016              136859              EXP-6784                         1/22/2002 - 2/17/2016            Hayley Holmes                     Account Executive       1/21/2016         Zoozacrackers          $      97.02 Las Vegas, NV        LD SHOT Show Travel/Expenses (DG)                Lunch for LD/MM/HH                                LD; MM; HH                                        Meal/Beverages   Group




Note 1
The following categories were assigned to example transactions:
                 1 Examples include expenses charged by NRA executives (Millie Hallow, Josh Powell, John Perren, Lance Olson and Wayne LaPierre) to Tony Makris' expense account. There is no evidence that Tony Makris was at the event.
                 2 Examples include charges for Warner Louglin with no business purpose indicated.
                 3 Examples include duplicate lodging charges for Tony Makris on the same date.
                 4 Examples include advance deposits made by Tony Makris. One advance deposit was for $20,000 and made for a year in advance.
                 5 Examples include expenses for gifts purchased including NRA employees.
                 6 Examples reflect airfare refunds for Wayne and Susan LaPierre.
                 7 Examples include expenses that are portions of a larger expense.
                 8 Examples include expenses that represent WLP requesting lodging for a confidential guest.
                 9 Examples include expenses charged to Tony Makris' expense account. There is no evidence that Tony Makris was at the event.
                10 Examples include expenses charged by NRA executives (Millie Hallow, Josh Powell, John Perren, Lance Olson and Wayne LaPierre) to Nader Tavangar's expense account. There is no evidence that Nader Tavangar was at the event.
                11 Examples include expenses charged for relocation of Josh Powell.
                12 Examples include expenses incurred in regard to the H2H Gala sponsored by Susan LaPierre.
                13 Gifts for NRA employees that are charged to NRA via out of pocket expenses




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Total Expenses by Month and Year
The following graphic visually depicts total OOP expenses excluding Tyler Schropp, Tony Makris and Nader Tavanagar by month and year.
Source: 'Detail' tab


 180000



 160000



 140000



 120000



 100000



  80000                                                                                                                           Total



  60000



  40000



  20000



       0
           Aug




           Feb

           Apr




           Aug
           Sep




           Apr




           Aug
           Sep
           Nov



            Jan
           Feb




           Nov
            Jan
           Feb

           Apr




           Sep

           Nov



            Jan
           Mar

           May




           Mar

           May




           Mar

           May
           Jun
             Jul



           Oct




           Jun
             Jul



           Oct




           Jun
             Jul



           Oct
           Dec
           n/a




           Dec
           n/a




           Dec
 -20000                    2016                                   2017                                   2018




                                                                                                                                          APP. 02071
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The following table shows the total amount of expenses by category and the percentage for each category as compared
to the total. Source: Columns P, Q, and K on 'Detail' tab                                                                                                         Code
                                                                                                                                                                         1
Categories of Expenses                  Value       % of Total
Auto                                 $ 144,378         16.87%                                                                                                            1
  Car Rental                         $      127          0.01%
  Car Service                        $ 123,045          14.38%
  Parking                            $ 14,066            1.64%
  Taxi                               $    7,140          0.83%
Miscellaneous                        $ 139,192         16.26%
  Gift                               $    1,454          0.17%
  Other                              $ 125,255          14.64%
  Telecommunications                 $      859          0.10%
  Tips1                              $ 11,624           1.36%
Travel                               $ 444,397        51.93%
  Airfare                            $ 238,854         27.91%
  Lodging                            $ 71,624           8.37%
  Other                              $    7,367         0.86%
  Mileage                            $      319         0.04%
  Travel Service                     $ 126,233         14.75%
Meal/Beverages                       $ 98,893         11.56%
  Group                              $ 61,880           7.23%
  Individual                         $ 37,013           4.32%
Event                                $ 28,969           3.38%
  Room Rental                        $ 28,969           3.38%
Grand Total                          $ 855,829        100.00%


1
    The 'Tips' category does not include gratuity that was grouped with travel expenses.
Therefore, the amount for tips as shown on the 'By Category' and 'By Vendor' tabs are
understated.




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The following table shows the names transcribed from the documents and FRA's assumptions as to the identity of the individuals.


Transcribed Names from Support1           Assumed Name2                     Assumed NRA Affiliation2                          Assumed Position2

(2/no names)                              Unnamed guests                    Non-NRA                                           Unnamed Guests
(2/no names) + wives                      Unnamed guests                    Non-NRA                                           Unnamed Guests
A Castellanos                             Alex Castellanos                  Non-NRA                                           GOP Strategist, Political Consultant
A Crimmins                                Addie Crimmins                    NRA Affiliated                                    Women's leadership forum staff
A Lair                                    A Lair                            Non-NRA                                           Unknown
A McKenna                                 Andrew McKenna                    NRA Affiliated                                    NRA Contractor
AA                                        Andrew Arulanandam                NRA Affiliated                                    Managing Director of Public Affairs at NRA
AL                                        AL                                Non-NRA                                           Unknown
Alex Zimmerman                            Alex Zimmerman                    Non-NRA                                           Unknown
AM                                        Tony Makris                       Non-NRA                                           President of Mercury Group
Angus McQueen                             Angus McQueen                     Non-NRA                                           Co-Chief Executive Officer, AMC
Anthony Makris                            Tony Makris                       Non-NRA                                           President of Mercury Group
Ari Azimi                                 Ari Azimi                         Non-NRA                                           Unknown
Ashly Suris                               Ashley Suris                      Non-NRA                                           National Program Director at "The Well-Armed Woman" Shooting
                                                                                                                              Chapter
B Wardlaw                                 Brady Wardlaw                     Non-NRA                                           Makeup Artist
Bart Skelton                              Bart Skelton                      NRA Affiliated                                    Director, NRA
Bill Powers                               Bill Powers                       Non-NRA                                           EVP / Public Relations at Ackerman McQueen
Bill Winkler                              Bill Winkler                      Non-NRA                                           Chief Financial Officer, AMC
BL                                        BL                                Non-NRA                                           Unknown
Brad Johnson                              Brad Johnson                      Non-NRA                                           Actor nominated for NRA board; withdrew
Brady Wardlaw                             Brady Wardlaw                     Non-NRA                                           Makeup Artist
brand sponsors                            Sponsor(s)                        Non-NRA                                           Unknown
Bryan Frasher                             Bryan Frasher                     Non-NRA                                           Unknown
BS                                        Bart Skelton                      NRA Affiliated                                    Director, NRA
C                                         C                                 Non-NRA                                           Unknown
C Fiandt                                  Caitlin Fiandt                    NRA Affiliated                                    Director of Corporate Partnerships
C Fliandt                                 Caitlin Fiandt                    NRA Affiliated                                    Director of Corporate Partnerships
C Noir                                    Colion Noir                       NRA Affiliated                                    NRA Activist, Host of NRA web series, NOIR
C Sprangers                               Chris Sprangers                   NRA Affiliated                                    Former Senior Managing Director of Corporate Partnerships



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C Springers          Chris Sprangers        NRA Affiliated                    Former Senior Managing Director of Corporate Partnerships
C Sterner            Colleen Sterner        NRA Affiliated                    NRAWomenTV; Wayne's Neice by marriage
Carolyn Comfort      Carolyn Comfort        NRA Affiliated                    The Well-Armed Woman Caertified Instructor; NRA Pistol Instructor

Carrie Lightfoot     Carrie Lightfoot       NRA Affiliated                    Owner of The Well-Armed Woman, LLC, The Well-Armed Woman
                                                                              Training Company, LLC, Chairwoman/CEO; Active in NRA WLF; 2019
                                                                              NRA Director Nominee
CG                   Colleen Powell         NRA Affiliated                    Wife of Josh Powell
Chris                Chris                  Non-NRA                           Unknown
Chris Cox            Chris Cox              NRA Affiliated                    Executive Director, NRAILA
Claire Whitefoot     Carrie Lightfoot       NRA Affiliated                    Owner of The Well-Armed Woman, LLC, The Well-Armed Woman
                                                                              Training Company, LLC, Chairwoman/CEO; Active in NRA WLF; 2019
                                                                              NRA Director Nominee
Client               Client(s)              Non-NRA                           Unknown
Clients              Client(s)              Non-NRA                           Unknown
CN                   Chuck Nash             Non-NRA                           Retired US Navy Captain and Fox News Analyst
Colion Noir          Colion Noir            NRA Affiliated                    NRA Activist, Host of NRA web series, NOIR
Colleen Powell       Colleen Powell         Non-NRA                           Wife of Josh Powell
Couf (Navy)          Couf (Navy)            Non-NRA                           Unknown
Cox                  Chris Cox              NRA Affiliated                    Executive Director, NRAILA
D Dimmitt            D Dimmitt              Non-NRA                           Unknown
D Gehering           D Gehering             Non-NRA                           Unknown
D LaSorte            Darren LaSorte         Non-NRA                           SVP Acount Service Ackerman McQueen
D Loesch             Dana Loesch            NRA Affiliated                    NRA Spokesperson
D Lyon               D Lyon                 Non-NRA                           Unknown
D Muntz              David Muntz            Non-NRA                           Unknown
Dana Loesch          Dana Loesch            NRA Affiliated                    NRA Spokesperson
Danielle Harris      Danielle Harris        Non-NRA                           Unknown
Dave Muntz           David Muntz            Non-NRA                           Unknown
David A Clark, Jr    David A Clarke, Jr     Non-NRA                           Milwaukee County Sheriff
David Lehman         David Lehman           NRA Affiliated                    Director, NRA; Deputy Executive Director and General Counsel of
                                                                              the National Rifle Association's Institute for Legislative Action.

DD                   DD                     Non-NRA                           Unknown



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Deb Dover                 Deb Dover               Non-NRA                         Stylist
Dennis Azato              Dennis Azato            Non-NRA                         Unknown
Dino Aviles               Dionel M Aviles         Non-NRA                         Former Secretary of the Navy (04 - 09)
DLS                       DLS                     Non-NRA                         Unknown
Donors                    Unnamed guests          Non-NRA                         Unnamed Guests
Dustin Johnson            Dustin Johnson          Non-NRA                         Unknown
Eric                      Eric                    Non-NRA                         Unknown
Eric Thomas               Eric Thomas             Non-NRA                         Unknown
Eric Van Horn             Eric Van Horn           Non-NRA                         Account Executive Ackerman McQueen
EVH                       Eric Van Horn           Non-NRA                         Account Executive Ackerman McQueen
EVP clients               EVP clients             Non-NRA                         Unknown
G Peterson                George Petersen         NRA Affiliated                  Committee member
G Pond                    George Pond             NRA Affiliated                  Advancement employee
Gabby Franco              Gabby Franco            Non-NRA                         Unknown
H Holmes                  Hayley Holmes           Non-NRA                         Account Executive Ackerman McQueen
H Martin                  Henry Martin Garrison   Non-NRA                         Former Ackerman employee
Hannah Kerr               Hannah Kerr             Non-NRA                         Unknown
Hayley Holmes             Hayley Holmes           Non-NRA                         Account Executive Ackerman McQueen
Henry Martin              Henry Martin Garrison   Non-NRA                         Unknown
Henry Martin Garrison     Henry Martin Garrison   Non-NRA                         Unknown
HH                        Hayley Holmes           Non-NRA                         Account Executive Ackerman McQueen
HM                        Henry Martin Garrison   Non-NRA                         Unknown
Holmes                    Hayley Holmes           Non-NRA                         Account Executive Ackerman McQueen
J Carter                  Jon Carter              Non-NRA                         Ackerman employee
J Eric Deitz              J Eric Deitz            Non-NRA                         Unknown
J Golob                   Julie Golob             NRA Affiliated                  Member of NRA Board of Directors
J Kohlmeyer               Jim Kohlmeyer           NRA Affiliated                  Senior Managing Director of Programs and Shooting Activities
J Popp                    John Popp               Non-NRA                         Ackerman employee
J Powell                  Josh Powell             NRA Affiliated                  Chief of Staff and Executive Director, General Operations
James Rosen               James Rosen             Non-NRA                         Former Fox News Washington Correspondent; current investigative
                                                                                  report--Sinclair Broadcasting
JD                        JD Williams             NRA Affiliated                  Former NRA Board Member and Executive Council
Jenni S                   Jenni S                 Non-NRA                         Unknown
Jesse Davidson            Jesse Davidson          Non-NRA                         Unknown



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Jim Powell          Jim Powell              NRA Affiliated                   Josh Powell's father?
Joe MacQuire        Joe MacQuire            Non-NRA                          Unknown
John Bolton         John Bolton             NRA Affiliated                   Ambassador; national security advisor
Jon Carter          Jon Carter              Non-NRA                          Ackerman employee
Josh                Josh Powell             NRA Affiliated                   Chief of Staff and Executive Director, General Operations
Josh Powell         Josh Powell             NRA Affiliated                   Chief of Staff and Executive Director, General Operations
JP                  Josh Powell             NRA Affiliated                   Chief of Staff and Executive Director, General Operations
Julie Golob         Julie Golob             NRA Affiliated                   Member of NRA Board of Directors
Justine Charles     Justine Charles         Non-NRA                          Unknown
K Walawender        Keith Walawender        Non-NRA                          CEO, Tomahawk Strategic Solutions
KM                  Ken Miller              Non-NRA                          Unknown
KS                  Selleck Family Member   NRA Affiliated                   Tom Selleck and family members
L Cremer            Lacey Duffy             Non-NRA                          Ackerman McQueen SVP and Account Supervisor
L Duffy             Lacey Duffy             Non-NRA                          Ackerman McQueen SVP and Account Supervisor
L Olsen             Lance Olson             NRA Affiliated                   Director, NRA
Lacey               Lacey Duffy             Non-NRA                          Ackerman McQueen SVP and Account Supervisor
Lacey Cremer        Lacey Duffy             Non-NRA                          Ackerman McQueen SVP and Account Supervisor
Lacey Duffy         Lacey Duffy             Non-NRA                          Ackerman McQueen SVP and Account Supervisor
Lance Olsen         Lance Olson             NRA Affiliated                   Director, NRA
Larry D Moody       Larry D Moody           Non-NRA                          Unknown
LC                  Lacey Duffy             Non-NRA                          Ackerman McQueen SVP and Account Supervisor
LC (Duffy)          Lacey Duffy             Non-NRA                          Ackerman McQueen SVP and Account Supervisor
LD                  Lacey Duffy             Non-NRA                          Ackerman McQueen SVP and Account Supervisor
LDC                 Lacey Duffy             Non-NRA                          Ackerman McQueen SVP and Account Supervisor
Lehman              David Lehman            NRA Affiliated                   Director, NRA; Deputy Executive Director and General Counsel of
                                                                             the National Rifle Association's Institute for Legislative Action.

LO                  Lance Olson             NRA Affiliated                   Director, NRA
LS                  LS                      Non-NRA                          Unknown
Luc Kammerer        Luc Kammerer            Non-NRA                          Unknown
M Cremer            Mauricio Cremer         Non-NRA                          Lacey Duffy's husband and Vice President of Creative Services
M Montgomery        Melanie Montgomery      Non-NRA                          EVP/Management Supervisor
Mark Hively         Mark Hively             Non-NRA                          Unknown
Mauricio Cremer     Mauricio Cremer         Non-NRA                          Lacey Duffy's husband and Vice President of Creative Services



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MD                             Mark Dycio                       Non-NRA                 Attorney for Wayne LaPierre
MD (donor)                     MD                               Non-NRA                 Donor
Megan Allen (client)           Megan Allen                      NRA Affiliated          Unknown
Melanie                        Melanie Montgomery               Non-NRA                 EVP/Management Supervisor
Melanie Montgomery             Melanie Montgomery               Non-NRA                 EVP/Management Supervisor
Michael Ives                   Michael Ives                     Non-NRA                 Ackerman photographer
Mike Bauman                    Mike Bauman                      Non-NRA                 Unknown
Mil                            Millie Hallow                    NRA Affiliated          National Rifle Association, Managing Director, Executive Operations
                                                                                        and Assistant to Wayne LaPierre
Mil personnel                  Millie Hallow                    Non-NRA                 National Rifle Association, Managing Director, Executive Operations
                                                                                        and Assistant to Wayne LaPierre
Mil personnel (2/no names)     Millie Hallow                    Non-NRA                 National Rifle Association, Managing Director, Executive Operations
                                                                                        and Assistant to Wayne LaPierre
MM                             Melanie Montgomery               Non-NRA                 EVP/Management Supervisor
Mr Powell                      Josh Powell                      NRA Affiliated          Chief of Staff and Executive Director, General Operations
N Caposella                    Nicole Capossela                 Non-NRA                 Senior Vice President, Ackerman McQueen
N Capossela                    Nicole Capossela                 Non-NRA                 Senior Vice President, Ackerman McQueen
N Foster                       Natalie Foster                   Non-NRA                 Ackerman contractor?
N Tavangar                     Nader Tavangar                   Non-NRA                 EVP/Managing Director at the Mercury Group
Nadar Tavangar                 Nader Tavangar                   Non-NRA                 EVP/Managing Director at the Mercury Group
Nader Tavangar                 Nader Tavangar                   Non-NRA                 EVP/Managing Director at the Mercury Group
Navy Personnel                 Navy Personnel                   Non-NRA                 Unknown
NC                             Nicole Capossela                 Non-NRA                 Senior Vice President, Ackerman McQueen
Nic Capossela                  Nicole Capossela                 Non-NRA                 Senior Vice President, Ackerman McQueen
Nicole Capossela               Nicole Capossela                 Non-NRA                 Senior Vice President, Ackerman McQueen
NRA clients                    NRA VIPs, Donor(s) and Clients   NRA Affiliated          Unknown

NRA donor                      NRA VIPs, Donor(s) and Clients NRA Affiliated            Unknown

NRA donors                     NRA VIPs, Donor(s) and Clients NRA Affiliated            Unknown

NRA exec                       NRA Group, Staff, Personnel or NRA Affiliated            Unknown
                               Executives




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NRA Execs                  NRA Group, Staff, Personnel or NRA Affiliated            Unknown
                           Executives
NRA executives             NRA Group, Staff, Personnel or NRA Affiliated            Unknown
                           Executives
NRA personnel              NRA Group, Staff, Personnel or NRA Affiliated            Unknown
                           Executives
NT                         Nader Tavangar                 Non-NRA                   EVP/Managing Director at the Mercury Group
OOA                        OOA                            NRA Affiliated            Office of Advancement
OOA clients                OOA clients/donors/sponsors    Non-NRA                   Unknown

OOA donors                 OOA clients/donors/sponsors    Non-NRA                   Unknown

OOA full team              OOA                            NRA Affiliated            Office of Advancement
OOA sponsors               OOA clients/donors/sponsors    Non-NRA                   Unknown

OOA staff                  OOA                            NRA Affiliated            Office of Advancement
OOA Team                   OOA                            NRA Affiliated            Office of Advancement
P Kobler                   P Kobler                       Non-NRA                   Unknown
P McCarty                  Patrick McCarty                Non-NRA                   Former Ackerman employee
Patrick McCarty            Patrick McCarty                Non-NRA                   Former Ackerman employee
R Kirk                     R Kirk                         Non-NRA                   Unknown
R Vandevoort               R Vandevoort                   Non-NRA                   Unknown
RM                         Robert McCarty                 Non-NRA                   Unknown
Robert McCarty             Robert McCarty                 Non-NRA                   Unknown
Rosa Blackwell             Rosa Blackwell                 NRA Affiliated            Wife of NRA Board Member Ken Blackwell
S                          Susan LaPierre                 NRA Affiliated            Wife of EVP for NRA
SH                         Steve Hart                     NRA Affiliated            Attorney for NRA
Sherry & Jerry Collins     Sherry & Jerry Collins         Non-NRA                   Unknown
Sienna Sterner             Sienna Sterner                 Non-NRA                   Related to other Sterner's??
SLP                        Susan LaPierre                 NRA Affiliated            Wife of EVP for NRA
Stephanie West             Stephanie West                 Non-NRA                   Assistant to the President Mercury Group
Susan LaPierre             Susan LaPierre                 NRA Affiliated            Wife of EVP for NRA
Susan LaPierrre            Susan LaPierre                 NRA Affiliated            Wife of EVP for NRA
Susan Oden                 Susan Oden                     Non-NRA                   Unknown



                                                                                                                                 APP. 02078
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SW                                          Stephanie West                  Non-NRA                                           Assistant to the President Mercury Group
T Makris                                    Tony Makris                     Non-NRA                                           President of Mercury Group
T Schropp                                   Tyler Schropp                   NRA Affiliated                                    Executive Director of Advancement, NRA
T Selleck                                   Selleck Family Member           NRA Affiliated                                    Tom Selleck and family members
Talent                                      Talent                          Non-NRA                                           Unknown
Terri Michaels                              Terri Michaels                  Non-NRA                                           Unknown
Terry Sterner                               Terry Sterner                   Non-NRA                                           Related to other Sterner's??
The Mercury Group                           The Mercury Group               Non-NRA                                           Unknown
TM                                          Tony Makris                     Non-NRA                                           President of Mercury Group
Tony Makris                                 Tony Makris                     Non-NRA                                           President of Mercury Group
Trevor Dahlkemper                           Trevor Dahlkemper               Non-NRA                                           Unknown
TS                                          Tyler Schropp                   NRA Affiliated                                    executive director
Tucker Carlson                              Tucker Carlson                  Non-NRA                                           Host of the Tucker Carlson Show - Fox
Tyler                                       Tyler Schropp                   NRA Affiliated                                    Executive Director of Advancement, NRA
Tyler Schropp                               Tyler Schropp                   NRA Affiliated                                    Executive Director of Advancement, NRA
Unknown                                     Unnamed guests                  Non-NRA                                           Unnamed Guests
W                                           Wayne LaPierre                  NRA Affiliated                                    EVP, NRA
W Phillips                                  Woody Phillips                  NRA Affiliated                                    Treasurer, NRA
Warner Loughlin (Warner Loughlin            Warner Loughlin Makris          Non-NRA                                           Wife of Tony Makris
Studios)
Wayne                                       Wayne LaPierre                  NRA Affiliated                                    EVP, NRA
Wayne Black                                 Wayne LaPierre                  NRA Affiliated                                    EVP, NRA
Wendy Fitzgerald                            Wendy Fitzgerald                Non-NRA                                           Unknown
Williams                                    Williams                        Non-NRA                                           Unknown
WLF staff                                   WLF staff                       NRA Affiliated                                    Womens Leadership Forum
WLP                                         Wayne LaPierre                  NRA Affiliated                                    EVP, NRA
Woody                                       Woody Phillips                  NRA Affiliated                                    Treasurer, NRA
Woody Phillips                              Woody Phillips                  NRA Affiliated                                    Treasurer, NRA
WP                                          Woody Phillips                  NRA Affiliated                                    Treasurer, NRA

1
    The names were transcribed from the documentation received by FRA. See column O in the 'Detail' tab.
2
    Based on knowledge of NRA employees and others, FRA assigned an 'Assumed Name' to the transcribed names. In addition, FRA identified whether the assumed name is affiliated with the NRA as
well as the assumed position of the person identified based on (1) knowledge of the individual or (2) desktop research performed by FRA.




                                                                                                                                                                                              APP. 02079
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The following tables show the total amount of expenses attributable to the individuals listed below where they are the only individuals identified on the documentation. These
figures exclude any expenses where the individuals listed were participants; amongst other participants. Source: Columns O and K on 'Detail' tab


Basis of Selection: (1) All individuals identified as NRA employees or NRA affiliated with expenses greater than $100 where the individuals listed below were the only
individuals identified on the documentation and (2) top two Ackerman employees with the most expenses for out of pocket expenses (Tony Makris and Nader Tavangar).


       NRA Employees or Affiliates                                  Ackerman Employees
                                                                                                                                                                                                                                  1
Dana Loesch                                               Nader Tavangar                                                                                                                                                          1
Assumed Name              Sum of Amount                   Assumed Name             Sum of Amount                                                                                                                                  1
Dana Loesch               $            169,796            Nader Tavangar          $             18,127
Grand Total               $            169,796            Grand Total             $             18,127                                                                                                                            1
                                                                                                                                                                                                                                  1
Wayne and Susan LaPierre                                  Tony Makris                                                                                                                                                             1
Assumed Name              Sum of Amount                   Assumed Name             Sum of Amount                                                                                                                                  1
Susan LaPierre            $             24,557            Tony Makris             $             14,616
Wayne LaPierre            $              1,392            Grand Total             $             14,616                                                                                                                            1
Grand Total               $             25,949                                                                                                                                                                                    1
                                                                                                                                                                                                                                  1
Lance Olson
Assumed Name              Sum of Amount                                                                                                                                                                                           1
Lance Olson               $             21,546                                                                                                                                                                                    1
Grand Total               $             21,546                                                                                                                                                                                    1
                                                                                                                                                                                                                                  1
Josh Powell
Assumed Name              Sum of Amount
Josh Powell               $             16,837
Grand Total               $             16,837


Chris Cox
Assumed Name              Sum of Amount
Chris Cox                 $              3,759
Grand Total               $              3,759


David Lehman
Assumed Name              Sum of Amount                                                                                                                                                                                           1
David Lehman              $              3,106                                                                                                                                                                                    1
Grand Total               $              3,106                                                                                                                                                                                    1


Tyler Schropp
Assumed Name              Sum of Amount
Tyler Schropp             $              2,233
Grand Total               $              2,233


Woody Phillips                                                                                                                                                                                                   1
Assumed Name              Sum of Amount                                                                                                                                                                                           1
Woody Phillips            $              1,743
Grand Total               $              1,743

Bart Skelton
Assumed Name              Sum of Amount                                                                                                                                                                          1
Bart Skelton              $                464                                                                                                                                                                   1
Grand Total               $                464                                                                                                                                                                   1


Carolyn Comfort (NRA Affiliate)
Assumed Name              Sum of Amount
Carolyn Comfort           $                380




                                                                                                                                                                                                                     APP. 02080
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Grand Total             $          380


NRA Group, Staff, Personnel or Executives                                                                                         1
Assumed Name            Sum of Amount                                                                                                              1
NRA Group, Staff, Person $         150
Grand Total             $          150


Selleck Family Member
Assumed Name            Sum of Amount
Selleck Family Member   $          121
Grand Total             $          121


Carrie Lightfoot
Assumed Name            Sum of Amount
Carrie Lightfoot        $          107
Grand Total             $          107




                                                                                                                                      APP. 02081
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The following table shows the total expense amount by assumed name; regardless as to the number of attendees. Note that the total will not tie to the total amount of the expenses on the 'Detail' tab as
the same expense will be counted multiple times if there is more than one attendee. Source: 'Assumed Name' tab and column K on 'Detail' tab


Assumed Name                        Position                                                                                         NRA Employee or Former Employee                               Value
Unnamed guests                      Unnamed Guests                                                                                   Non-NRA                                             $        350,425
Dana Loesch                         NRA Spokesperson                                                                                 NRA Affiliated                                      $        172,513
Hayley Holmes                       Account Executive Ackerman McQueen                                                               Non-NRA                                             $         83,491
Lacey Duffy                         Ackerman McQueen SVP and Account Supervisor                                                      Non-NRA                                             $         63,518
Melanie Montgomery                  EVP/Management Supervisor                                                                        Non-NRA                                             $         56,354
Susan LaPierre                      Wife of EVP for NRA                                                                              NRA Affiliated                                      $         33,041
Lance Olson                         Director, NRA                                                                                    NRA Affiliated                                      $         28,435
Josh Powell                         Chief of Staff and Executive Director, General Operations                                        NRA Affiliated                                      $         20,406
Woody Phillips                      Treasurer, NRA                                                                                   NRA Affiliated                                      $         15,577
OOA clients/donors/sponsors         Unknown                                                                                          Non-NRA                                             $         14,160
Eric Van Horn                       Account Executive Ackerman McQueen                                                               Non-NRA                                             $         12,530
Nader Tavangar                      EVP/Managing Director at the Mercury Group                                                       Non-NRA                                             $         12,361
OOA                                 Office of Advancement                                                                            NRA Affiliated                                      $         12,080
G Pond                              Unknown                                                                                          Non-NRA                                             $         10,000
Tony Makris                         President of Mercury Group                                                                       Non-NRA                                             $          9,923
Tyler Schropp                       Executive Director of Advancement, NRA                                                           NRA Affiliated                                      $          8,253
Client(s)                           Unknown                                                                                          Non-NRA                                             $          6,619
Henry Martin Garrison               Unknown                                                                                          Non-NRA                                             $          6,404
The Mercury Group                   Unknown                                                                                          Non-NRA                                             $          6,212
Wayne LaPierre                      EVP, NRA                                                                                         NRA Affiliated                                      $          5,515
Tucker Carlson                      Host of the Tucker Carlson Show - Fox                                                            Non-NRA                                             $          5,364
EVP clients                         Unknown                                                                                          Non-NRA                                             $          5,224
Bart Skelton                        Director, NRA                                                                                    NRA Affiliated                                      $          4,144
David Muntz                         Unknown                                                                                          Non-NRA                                             $          4,042
Chris Cox                           Executive Director, NRAILA                                                                       NRA Affiliated                                      $          3,822
Joe MacQuire                        Unknown                                                                                          Non-NRA                                             $          3,680
Dustin Johnson                      Unknown                                                                                          Non-NRA                                             $          3,680
Dionel M Aviles                     Former Secretary of the Navy (04 - 09)                                                           Non-NRA                                             $          3,680
Chris                               Unknown                                                                                          Non-NRA                                             $          3,552
G Peterson                          Unknown                                                                                          Non-NRA                                             $          3,293



                                                                                                                                                                                                     APP. 02082
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Chuck Nash                         Retired US Navy Captain and Fox News Analyst                                                Non-NRA                  $   3,223
Mark Dycio                         Attorney for Wayne LaPierre                                                                 Non-NRA                  $   3,208
Alex Castellanos                   GOP Strategist, Political Consultant                                                        Non-NRA                  $   3,208
Steve Hart                         Attorney for NRA                                                                            NRA Affiliated           $   3,208
David Lehman                       Director, NRA; Deputy Executive Director and General Counsel of the National Rifle          NRA Affiliated           $   3,106
                                   Association's Institute for Legislative Action.
Robert McCarty                     Unknown                                                                                     Non-NRA                  $   2,687
Patrick McCarty                    Unknown                                                                                     Non-NRA                  $   2,446
Bill Powers                        EVP / Public Relations at Ackerman McQueen                                                  Non-NRA                  $   2,367
Jim Powell                         Unknown                                                                                     Non-NRA                  $   2,353
Deb Dover                          Stylist                                                                                     Non-NRA                  $   2,309
Brady Wardlaw                      Makeup Artist                                                                               Non-NRA                  $   2,293
Nicole Capossela                   Senior Vice President, Ackerman McQueen                                                     Non-NRA                  $   2,129
Jon Carter                         Unknown                                                                                     Non-NRA                  $   1,751
NRA Group, Staff, Personnel or ExecUnknown                                                                                     NRA Affiliated           $   1,750
A McKenna                          Unknown                                                                                     Non-NRA                  $   1,699
MD                                 Donor                                                                                       Non-NRA                  $   1,521
Colleen Powell                     Wife of Josh Powell                                                                         Non-NRA                  $   1,497
Terri Michaels                     Unknown                                                                                     Non-NRA                  $   1,473
Stephanie West                     Assistant to the President Mercury Group                                                    Non-NRA                  $   1,454
Jim Kohlmeyer                      Senior Managing Director of Programs and Shooting Activities                                NRA Affiliated           $   1,311
Angus McQueen                      Co-Chief Executive Officer, AMC                                                             Non-NRA                  $   1,252
D Dimmitt                          Unknown                                                                                     Non-NRA                  $   1,196
Navy Personnel                     Unknown                                                                                     Non-NRA                  $   1,167
Mil                                Unknown                                                                                     Non-NRA                  $   1,081
Chris Sprangers                    Former Senior Managing Director of Corporate Partnerships                                   NRA Affiliated           $     988
Eric Thomas                        Unknown                                                                                     Non-NRA                  $     969
Mark Hively                        Unknown                                                                                     Non-NRA                  $     947
Darren LaSorte                     SVP Acount Service Ackerman McQueen                                                         Non-NRA                  $     931
Dennis Azato                       Unknown                                                                                     Non-NRA                  $     882
NRA VIPs, Donor(s) and Clients     Unknown                                                                                     NRA Affiliated           $     871
Andrew Arulanandam                 Managing Director of Public Affairs at NRA                                                  NRA Affiliated           $     783
DLS                                Unknown                                                                                     Non-NRA                  $     745
David A Clark, Jr                  Milwaukee County Sheriff                                                                    Non-NRA                  $     674



                                                                                                                                                             APP. 02083
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Brad Johnson             Actor nominated for NRA board; withdrew                                       Non-NRA                  $   658
Mauricio Cremer          Lacey Duffy's husband and Vice President of Creative Services                 Non-NRA                  $   607
DD                       Unknown                                                                       Non-NRA                  $   601
Bill Winkler             Chief Financial Officer, AMC                                                  Non-NRA                  $   594
Mike Bauman              Unknown                                                                       Non-NRA                  $   529
JD Williams              Former NRA Board Member and Executive Council                                 NRA Affiliated           $   496
A Lair                   Unknown                                                                       Non-NRA                  $   468
John Bolton              Unknown                                                                       Non-NRA                  $   455
Caitlin Fiandt           Director of Corporate Partnerships                                            NRA Affiliated           $   406
Talent                   Unknown                                                                       Non-NRA                  $   400
Ari Azimi                Unknown                                                                       Non-NRA                  $   384
Carolyn Comfort          The Well-Armed Woman Caertified Instructor; NRA Pistol Instructor             NRA Affiliated           $   380
Hannah Kerr              Unknown                                                                       Non-NRA                  $   380
Terry Sterner            Unknown                                                                       Non-NRA                  $   370
Sienna Sterner           Unknown                                                                       Non-NRA                  $   370
Danielle Harris          Unknown                                                                       Non-NRA                  $   333
Ashley Suris             National Program Director at "The Well-Armed Woman" Shooting Chapter          Non-NRA                  $   309
P Kobler                 Unknown                                                                       Non-NRA                  $   299
Couf (Navy)              Unknown                                                                       Non-NRA                  $   299
Rosa Blackwell           Unknown                                                                       Non-NRA                  $   278
Sponsor(s)               Unknown                                                                       Non-NRA                  $   276
Selleck Family Member    Tom Selleck and family members                                                NRA Affiliated           $   241
Trevor Dahlkemper        Unknown                                                                       Non-NRA                  $   235
J Popp                   Unknown                                                                       Non-NRA                  $   222
D Lyon                   Unknown                                                                       Non-NRA                  $   222
Williams                 Unknown                                                                       Non-NRA                  $   209
J Eric Deitz             Unknown                                                                       Non-NRA                  $   206
AL                       Unknown                                                                       Non-NRA                  $   203
Ken Miller               Unknown                                                                       Non-NRA                  $   203
Luc Kammerer             Unknown                                                                       Non-NRA                  $   191
Warner Loughlin Makris   Wife of Tony Makris                                                           Non-NRA                  $   189
Megan Allen              Unknown                                                                       Non-NRA                  $   177
D Gehering               Unknown                                                                       Non-NRA                  $   163




                                                                                                                                    APP. 02084
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James Rosen              Former Fox News Washington Correspondent; current investigative report--Sinclair          Non-NRA                  $   136
                         Broadcasting
Colion Noir              NRA Activist, Host of NRA web series, NOIR                                                NRA Affiliated           $   124
LS                       Unknown                                                                                   Non-NRA                  $   120
Carrie Lightfoot         Owner of The Well-Armed Woman, LLC, The Well-Armed Woman Training Company, LLC,           NRA Affiliated           $   107
                         Chairwoman/CEO; Active in NRA WLF; 2019 NRA Director Nominee
R Kirk                   Unknown                                                                                   Non-NRA                  $   100
Michael Ives             Unknown                                                                                   Non-NRA                  $    95
Bryan Frasher            Unknown                                                                                   Non-NRA                  $    94
Claire Whitefoot         Unknown                                                                                   Non-NRA                  $    93
Susan Oden               Unknown                                                                                   Non-NRA                  $    83
WLF staff                Unknown                                                                                   Non-NRA                  $    72
Julie Golob              Member of NRA Board of Directors                                                          NRA Affiliated           $    72
Gabby Franco             Unknown                                                                                   Non-NRA                  $    57
Eric                     Unknown                                                                                   Non-NRA                  $    52
R Vandevoort             Unknown                                                                                   Non-NRA                  $    48
BL                       Unknown                                                                                   Non-NRA                  $    42
C                        Unknown                                                                                   Non-NRA                  $    41
Larry D Moody            Unknown                                                                                   Non-NRA                  $    39
Alex Zimmerman           Unknown                                                                                   Non-NRA                  $    39
Sherry & Jerry Collins   Unknown                                                                                   Non-NRA                  $    38
Jesse Davidson           Unknown                                                                                   Non-NRA                  $    35
Keith Walawender         CEO, Tomahawk Strategic Solutions                                                         Non-NRA                  $    34
Wendy Fitzgerald         Unknown                                                                                   Non-NRA                  $    32
A Crimmins               Unknown                                                                                   Non-NRA                  $    30
N Foster                 Unknown                                                                                   Non-NRA                  $    30
Jenni S                  Unknown                                                                                   Non-NRA                  $    22
Justine Charles          Unknown                                                                                   Non-NRA                  $    20
C Sterner                Unknown                                                                                   Non-NRA                  $    11




                                                                                                                                                APP. 02085
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The following tables shows the number of expenses for which each individual is included. Source: 'Assumed Name' tab and column K on 'Detail' tab

Assumed Name                                 Position                                                                           NRA Employee or Former Employee   Quantity
Unnamed guests                               Unnamed Guests                                                                     Non-NRA                               400
Lacey Duffy                                  Ackerman McQueen SVP and Account Supervisor                                        Non-NRA                               219
Hayley Holmes                                Account Executive Ackerman McQueen                                                 Non-NRA                               191
Melanie Montgomery                           EVP/Management Supervisor                                                          Non-NRA                               149
Tony Makris                                  President of Mercury Group                                                         Non-NRA                                 83
Eric Van Horn                                Account Executive Ackerman McQueen                                                 Non-NRA                                 44
Patrick McCarty                              Unknown                                                                            Non-NRA                                 41
Nader Tavangar                               EVP/Managing Director at the Mercury Group                                         Non-NRA                                 36
Woody Phillips                               Treasurer, NRA                                                                     NRA Affiliated                          32
Tyler Schropp                                Executive Director of Advancement, NRA                                             NRA Affiliated                          31
Josh Powell                                  Chief of Staff and Executive Director, General Operations                          NRA Affiliated                          24
Susan LaPierre                               Wife of EVP for NRA                                                                NRA Affiliated                          19
Client(s)                                    Unknown                                                                            Non-NRA                                 18
Nicole Capossela                             Senior Vice President, Ackerman McQueen                                            Non-NRA                                 16
Chris Cox                                    Executive Director, NRAILA                                                         NRA Affiliated                          13
OOA clients/donors/sponsors                  Unknown                                                                            Non-NRA                                 13
Dana Loesch                                  NRA Spokesperson                                                                   NRA Affiliated                          13
Wayne LaPierre                               EVP, NRA                                                                           NRA Affiliated                          11
OOA                                          Office of Advancement                                                              NRA Affiliated                          11
Jon Carter                                   Unknown                                                                            Non-NRA                                 11
G Peterson                                   Unknown                                                                            Non-NRA                                 10
Henry Martin Garrison                        Unknown                                                                            Non-NRA                                  8
NRA Group, Staff, Personnel or Executives    Unknown                                                                            NRA Affiliated                           6
Chris Sprangers                              Former Senior Managing Director of Corporate Partnerships                          NRA Affiliated                           6
Bill Powers                                  EVP / Public Relations at Ackerman McQueen                                         Non-NRA                                  6
Chris                                        Unknown                                                                            Non-NRA                                  6
Caitlin Fiandt                               Director of Corporate Partnerships                                                 NRA Affiliated                           5
NRA VIPs, Donor(s) and Clients               Unknown                                                                            NRA Affiliated                           5
Mark Hively                                  Unknown                                                                            Non-NRA                                  4
EVP clients                                  Unknown                                                                            Non-NRA                                  4
Mil                                          Unknown                                                                            Non-NRA                                  4



                                                                                                                                                                  APP. 02086
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Navy Personnel          Unknown                                                                      Non-NRA                             4
Talent                  Unknown                                                                      Non-NRA                             4
Brady Wardlaw           Makeup Artist                                                                Non-NRA                             4
Darren LaSorte          SVP Acount Service Ackerman McQueen                                          Non-NRA                             4
Stephanie West          Assistant to the President Mercury Group                                     Non-NRA                             4
Brad Johnson            Actor nominated for NRA board; withdrew                                      Non-NRA                             4
Colleen Powell          Wife of Josh Powell                                                          Non-NRA                             4
Deb Dover               Stylist                                                                      Non-NRA                             4
Lance Olson             Director, NRA                                                                NRA Affiliated                      3
Jim Kohlmeyer           Senior Managing Director of Programs and Shooting Activities                 NRA Affiliated                      3
Mauricio Cremer         Lacey Duffy's husband and Vice President of Creative Services                Non-NRA                             3
DLS                     Unknown                                                                      Non-NRA                             3
Robert McCarty          Unknown                                                                      Non-NRA                             3
Sponsor(s)              Unknown                                                                      Non-NRA                             3
Terri Michaels          Unknown                                                                      Non-NRA                             3
Chuck Nash              Retired US Navy Captain and Fox News Analyst                                 Non-NRA                             3
The Mercury Group       Unknown                                                                      Non-NRA                             3
Andrew Arulanandam      Managing Director of Public Affairs at NRA                                   NRA Affiliated                      3
Selleck Family Member   Tom Selleck and family members                                               NRA Affiliated                      2
Angus McQueen           Co-Chief Executive Officer, AMC                                              Non-NRA                             2
Eric Thomas             Unknown                                                                      Non-NRA                             2
JD Williams             Former NRA Board Member and Executive Council                                NRA Affiliated                      2
Ari Azimi               Unknown                                                                      Non-NRA                             2
J Eric Deitz            Unknown                                                                      Non-NRA                             2
Dennis Azato            Unknown                                                                      Non-NRA                             2
Julie Golob             Member of NRA Board of Directors                                             NRA Affiliated                      2
James Rosen             Former Fox News Washington Correspondent; current investigative report--     Non-NRA                             2
                        Sinclair Broadcasting
Colion Noir             NRA Activist, Host of NRA web series, NOIR                                   NRA Affiliated                      2
Trevor Dahlkemper       Unknown                                                                      Non-NRA                             2
Jim Powell              Unknown                                                                      Non-NRA                             2
Ashley Suris            National Program Director at "The Well-Armed Woman" Shooting Chapter         Non-NRA                             2

John Bolton             Unknown                                                                      Non-NRA                             2



                                                                                                                                   APP. 02087
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R Kirk                   Unknown                                                                          Non-NRA                             2
David Muntz              Unknown                                                                          Non-NRA                             2
Bart Skelton             Director, NRA                                                                    NRA Affiliated                      2
MD                       Donor                                                                            Non-NRA                             2
Bill Winkler             Chief Financial Officer, AMC                                                     Non-NRA                             2
Mike Bauman              Unknown                                                                          Non-NRA                             2
David Lehman             Director, NRA; Deputy Executive Director and General Counsel of the National     NRA Affiliated                      2
                         Rifle Association's Institute for Legislative Action.
David A Clark, Jr        Milwaukee County Sheriff                                                         Non-NRA                             2
Warner Loughlin Makris   Wife of Tony Makris                                                              Non-NRA                             1
Ken Miller               Unknown                                                                          Non-NRA                             1
Rosa Blackwell           Unknown                                                                          Non-NRA                             1
Dustin Johnson           Unknown                                                                          Non-NRA                             1
Alex Zimmerman           Unknown                                                                          Non-NRA                             1
Eric                     Unknown                                                                          Non-NRA                             1
P Kobler                 Unknown                                                                          Non-NRA                             1
BL                       Unknown                                                                          Non-NRA                             1
Mark Dycio               Attorney for Wayne LaPierre                                                      Non-NRA                             1
Steve Hart               Attorney for NRA                                                                 NRA Affiliated                      1
Alex Castellanos         GOP Strategist, Political Consultant                                             Non-NRA                             1
Bryan Frasher            Unknown                                                                          Non-NRA                             1
N Foster                 Unknown                                                                          Non-NRA                             1
G Pond                   Unknown                                                                          Non-NRA                             1
D Gehering               Unknown                                                                          Non-NRA                             1
Gabby Franco             Unknown                                                                          Non-NRA                             1
R Vandevoort             Unknown                                                                          Non-NRA                             1
Hannah Kerr              Unknown                                                                          Non-NRA                             1
Sienna Sterner           Unknown                                                                          Non-NRA                             1
C                        Unknown                                                                          Non-NRA                             1
Terry Sterner            Unknown                                                                          Non-NRA                             1
A Crimmins               Unknown                                                                          Non-NRA                             1
Wendy Fitzgerald         Unknown                                                                          Non-NRA                             1
A Lair                   Unknown                                                                          Non-NRA                             1
Michael Ives             Unknown                                                                          Non-NRA                             1



                                                                                                                                        APP. 02088
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A McKenna                Unknown                                                                Non-NRA                             1
Claire Whitefoot         Unknown                                                                Non-NRA                             1
J Popp                   Unknown                                                                Non-NRA                             1
WLF staff                Unknown                                                                Non-NRA                             1
Jenni S                  Unknown                                                                Non-NRA                             1
D Dimmitt                Unknown                                                                Non-NRA                             1
Jesse Davidson           Unknown                                                                Non-NRA                             1
Dionel M Aviles          Former Secretary of the Navy (04 - 09)                                 Non-NRA                             1
C Sterner                Unknown                                                                Non-NRA                             1
D Lyon                   Unknown                                                                Non-NRA                             1
Joe MacQuire             Unknown                                                                Non-NRA                             1
Danielle Harris          Unknown                                                                Non-NRA                             1
Carolyn Comfort          The Well-Armed Woman Caertified Instructor; NRA Pistol Instructor      NRA Affiliated                      1
Sherry & Jerry Collins   Unknown                                                                Non-NRA                             1
Justine Charles          Unknown                                                                Non-NRA                             1
Susan Oden               Unknown                                                                Non-NRA                             1
Larry D Moody            Unknown                                                                Non-NRA                             1
DD                       Unknown                                                                Non-NRA                             1
LS                       Unknown                                                                Non-NRA                             1
Keith Walawender         CEO, Tomahawk Strategic Solutions                                      Non-NRA                             1
Luc Kammerer             Unknown                                                                Non-NRA                             1
Tucker Carlson           Host of the Tucker Carlson Show - Fox                                  Non-NRA                             1
Carrie Lightfoot         Owner of The Well-Armed Woman, LLC, The Well-Armed Woman Training      NRA Affiliated                      1
                         Company, LLC, Chairwoman/CEO; Active in NRA WLF; 2019 NRA Director
                         Nominee
Williams                 Unknown                                                                Non-NRA                             1
AL                       Unknown                                                                Non-NRA                             1
Megan Allen              Unknown                                                                Non-NRA                             1
Couf (Navy)              Unknown                                                                Non-NRA                             1




                                                                                                                              APP. 02089
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     The following table shows the amounts spent by vendor.          Total Spend: $     855,829
     Source: Columns J and K on 'Detail' tab                       Total Quantity:         1257

     Vendor                                         Value     % of Value Quantity % of Quantity
     I.I. & I.S Inc.                            $   241,858        28.26%      41         3.26%
     CXIII/Landini Brothers                     $    98,215        11.48%      73         5.81%
     Omni Air Transport                         $    80,294         9.38%       4         0.32%
     Carey International                        $    71,848         8.40%      71         5.65%
     ABC Limo Service                           $    47,657         5.57%     189        15.04%
     Brady Wardlaw                              $    39,568         4.62%      73         5.81%
     Sheppard Mullin                            $    29,630         3.46%       3         0.24%
     Debbie Dover                               $    29,483         3.44%      17         1.35%
     Four Seasons                               $    26,382         3.08%      24         1.91%
     Corporate America Aviation                 $    25,300         2.96%       1         0.08%
     Laurey Peat & Associates                   $    15,606         1.82%       3         0.24%
     Ridgewood by Windsor                       $    13,950         1.63%       3         0.24%
     Colonial Parking                           $    11,392         1.33%      31         2.47%
     Wynn                                       $     9,706         1.13%      59         4.69%
     Virgin America                             $     8,773         1.03%      19         1.51%
     21C Hotel                                  $     7,737         0.90%      12         0.95%
     Cash Tips1                                 $     6,211       0.73%       145        11.54%
     W Hotel                                    $     6,167       0.72%         7         0.56%
     Lenon Security Corporation                 $     5,500       0.64%         1         0.08%
     Washington Speakers Bureau                 $     5,364       0.63%         1         0.08%
     Southwest                                  $     5,362       0.63%        22         1.75%
     Hotel Zaza                                 $     5,282       0.62%         7         0.56%
     B&H Photo                                  $     4,942       0.58%         5         0.40%
     Uber                                       $     4,773       0.56%        72         5.73%
     American Airlines                          $     4,680       0.55%        17         1.35%
     Ritz Carlton                               $     4,073       0.48%        12         0.95%
     Morton's Steakhouse                        $     3,680       0.43%         1         0.08%
     Apple Store                                $     3,201       0.37%        12         0.95%
     Omni Hotel                                 $     3,119       0.36%         7         0.56%
     PCM                                        $     2,699       0.32%         6         0.48%
     Lowell Hotel                               $     2,610       0.30%         1         0.08%
     Hudson                                     $     2,503       0.29%        12         0.95%
     Gaedeke Holdings/Granite Properties        $     2,425       0.28%        32         2.55%
     Egencia                                    $     2,233       0.26%         4         0.32%
     Laurie Graham King                         $     1,875       0.22%         1         0.08%
     JM Uber Transportation Recoveries          $     1,801       0.21%        20         1.59%
     Hermitage                                  $     1,738       0.20%         8         0.64%
     Saint Ann Restaurant                       $     1,676       0.20%         3         0.24%
     Unknown                                    $     1,317       0.15%        16         1.27%
     Global Road Show Limo                      $     1,252       0.15%         2         0.16%
     SCI Membership & Show Fee                  $     1,110       0.13%         3         0.24%
     Casa de Montecristo                        $     1,083       0.13%         7         0.56%




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     Hotel Monaco                           $   1,080   0.13%         2        0.16%
     Kimpton Hotel                          $     969   0.11%         2        0.16%
     Alaska Airlines                        $     937   0.11%         2        0.16%
     Alexandrian                            $     918   0.11%         2        0.16%
     Lyndsey Peck                           $     912   0.11%         1        0.08%
     Hotel Indigo                           $     898   0.10%         3        0.24%
     Office Depot                           $     888   0.10%         1        0.08%
     Dolce Riviera                          $     885   0.10%         3        0.24%
     NSSF                                   $     875   0.10%         2        0.16%
     Shauné Hayes Makeup and Hair Artists   $     750   0.09%         1        0.08%
     TX Pref Health                         $     708   0.08%         1        0.08%
     SCI Fund                               $     700   0.08%         3        0.24%
     Pecan Lodge BBQ                        $     696   0.08%         1        0.08%
     NRA                                    $     688   0.08%         1        0.08%
     Blackship Little Katana                $     660   0.08%         9        0.72%
     Eddie Merlot's                         $     608   0.07%         1        0.08%
     Laguna                                 $     561   0.07%         7        0.56%
     Nordstrom                              $     517   0.06%         1        0.08%
     Optimist                               $     457   0.05%         1        0.08%
     Sidebar                                $     455   0.05%         2        0.16%
     Westin Hotel                           $     438   0.05%         2        0.16%
     Carolyn Comfort                        $     380   0.04%         1        0.08%
     MGM                                    $     345   0.04%         2        0.16%
     FedEx                                  $     341   0.04%         5        0.40%
     Mandalay Bay                           $     332   0.04%         1        0.08%
     East Hampton                           $     327   0.04%         1        0.08%
     North Face                             $     313   0.04%         1        0.08%
     Le Bilboquet                           $     286   0.03%         1        0.08%
     Bridgestone Arena                      $     264   0.03%         3        0.24%
     Cigar Times                            $     257   0.03%         2        0.16%
     Border Grill                           $     253   0.03%         2        0.16%
     Pappas Brothers Steakhouse             $     243   0.03%         1        0.08%
     Craftsteak                             $     224   0.03%         1        0.08%
     ricks rollin in smoke bbq              $     222   0.03%         1        0.08%
     Old Ebbitt Grill                       $     213   0.02%         1        0.08%
     Whole Foods                            $     207   0.02%         1        0.08%
     The Brown                              $     205   0.02%         1        0.08%
     Emeril's New Orleans Fish House        $     187   0.02%         2        0.16%
     Hard Rock                              $     185   0.02%         2        0.16%
     Zoozacrackers                          $     176   0.02%         2        0.16%
     Lobby Bar Café                         $     172   0.02%         3        0.24%
     Hanks Oyster Bar                       $     153   0.02%         1        0.08%
     J. Nicolle Salon                       $     150   0.02%         1        0.08%
     UPS                                    $     141   0.02%         1        0.08%
     Hertz                                  $     127   0.01%         1        0.08%
     Alexandria Yellow Cab                  $     127   0.01%         4        0.32%
     PayPal                                 $     125   0.01%         1        0.08%



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     The Willard Intercontinental        $   119   0.01%         1        0.08%
     Sotto Sotto                         $   118   0.01%         2        0.16%
     PT's Pub                            $   114   0.01%         1        0.08%
     Up in Smoke                         $   114   0.01%         1        0.08%
     The Alexandrian                     $   104   0.01%         1        0.08%
     Ray's Hardware and Sporting Goods   $   104   0.01%         1        0.08%
     Pub 1843                            $   103   0.01%         1        0.08%
     Walgreens                           $   100   0.01%         3        0.24%
     Hattie B's                          $    88   0.01%         1        0.08%
     Go Go Wifi                          $    84   0.01%         4        0.32%
     Owner's Box                         $    83   0.01%         2        0.16%
     Bouchon                             $    83   0.01%         4        0.32%
     Desert Cab                          $    82   0.01%         5        0.40%
     Bellini                             $    81   0.01%         2        0.16%
     HD Full Moving Services             $    80   0.01%         1        0.08%
     Café Herrera                        $    79   0.01%         1        0.08%
     Charlottesville Airport             $    78   0.01%         1        0.08%
     Amazon                              $    77   0.01%         2        0.16%
     SW                                  $    76   0.01%         1        0.08%
     Sinatra                             $    70   0.01%         1        0.08%
     DNC Sportservice                    $    70   0.01%         1        0.08%
     Lilly's Bistro                      $    69   0.01%         1        0.08%
     Love Field Airport                  $    66   0.01%         1        0.08%
     Eastside Lounge                     $    63   0.01%         1        0.08%
     Dal Steak and Chop House            $    63   0.01%         1        0.08%
     sports lounge                       $    63   0.01%         1        0.08%
     Delta                               $    60   0.01%         1        0.08%
     Starbucks                           $    59   0.01%         5        0.40%
     Best Buy                            $    57   0.01%         1        0.08%
     Champ                               $    57   0.01%         1        0.08%
     KFC Yum! Center                     $    57   0.01%         2        0.16%
     Yellow Checker Star                 $    54   0.01%         3        0.24%
     Dantanna's CNN                      $    52   0.01%         1        0.08%
     Yardbird                            $    51   0.01%         1        0.08%
     AT&T                                $    50   0.01%         1        0.08%
     The Drug Store                      $    47   0.01%         1        0.08%
     Philips Famous Seafood              $    47   0.01%         1        0.08%
     Public Storage                      $    45   0.01%         1        0.08%
     Cru Love Field                      $    44   0.01%         1        0.08%
     Bass Pro                            $    43   0.01%         1        0.08%
     ANLV                                $    42   0.00%         3        0.24%
     Cash Beverage Station               $    40   0.00%         1        0.08%
     Ace Cab                             $    40   0.00%         2        0.16%
     Toast on Market                     $    39   0.00%         1        0.08%
     Omni Convention Center              $    35   0.00%         1        0.08%
     Luxe                                $    32   0.00%         2        0.16%
     Favor Gas Station                   $    32   0.00%         1        0.08%



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     Skybox                                     $        32     0.00%         1        0.08%
     Paradies                                   $        30     0.00%         3        0.24%
     Taxi                                       $        30     0.00%         2        0.16%
     Cash Bar                                   $        30     0.00%         1        0.08%
     HMS                                        $        26     0.00%         2        0.16%
     Vegas Western Cab                          $        26     0.00%         2        0.16%
     Baccarat                                   $        25     0.00%         1        0.08%
     Union Cab                                  $        25     0.00%         1        0.08%
     Whittlesea Blue Cab                        $        25     0.00%         1        0.08%
     Parking                                    $        25     0.00%         1        0.08%
     Adobe Acrobat Pro                          $        24     0.00%         1        0.08%
     Kindle                                     $        23     0.00%         1        0.08%
     Dizzy whiz                                 $        23     0.00%         1        0.08%
     Nelli's Taxi                               $        23     0.00%         2        0.16%
     El Centro                                  $        23     0.00%         1        0.08%
     VeriFone                                   $        20     0.00%         1        0.08%
     VIP Receipt Taxicab                        $        20     0.00%         1        0.08%
     El Taco Term                               $        20     0.00%         1        0.08%
     Convention Floor                           $        18     0.00%         2        0.16%
     World DutyFree                             $        18     0.00%         1        0.08%
     Coffee Bean & Tea Leaf                     $        17     0.00%         2        0.16%
     Burger King                                $        17     0.00%         1        0.08%
     TexsPress                                  $        17     0.00%         1        0.08%
     Lamonts                                    $        13     0.00%         1        0.08%
     Tower Suite Bar                            $        13     0.00%         1        0.08%
     Deluxe Cab                                 $        10     0.00%         1        0.08%
     SHOT Show                                  $        10     0.00%         1        0.08%
     CVS                                        $        10     0.00%         1        0.08%
     McDonalds                                  $         9     0.00%         1        0.08%
     SWA inflight wifi                          $         8     0.00%         1        0.08%
     D Fresh Attractions                        $         6     0.00%         1        0.08%
     Love Field Valet                           $         5     0.00%         1        0.08%
     Venetian                                   $         5     0.00%         1        0.08%
     Hudson Brooks                              $         4     0.00%         1        0.08%
     ChickFilA                                  $         4     0.00%         1        0.08%
     Delta Airlines                             $       (14)    0.00%         1        0.08%
     Alexander Historical Auctions              $   (13,630)   -1.59%         1        0.08%

     1
         See note 1 on the 'By Category' tab.




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                      EXHIBIT 73




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Privileged and Confidential                                                          Overview of Out of Pocket Expenses

Summary of Contents
The following analysis shows all expenses from Nader Tavangar's Expense Reports which were billed by Ackerman to the NRA as out of pocket expenses. The total value of these
expenses is $362,944 out of $2,755,689 billed by Ackerman to the NRA in 2016, 2017, and 2018 as out of pocket expenses.
Limitations
The source information for the following analysis is (1) transcribed from the documentation provided by Ackerman or (2) information obtained through analysis by FRA.
Glossary of Columns on 'Detail' Tab
Line Reference                                     Unique reference assigned to each line item by FRA.
Code                                               Examples of observations as defined in Note 1 at the bottom of the tab.
Year                                               Year of invoice from Ackerman to NRA per the listing of invoices received from the NRA.
Invoice Number                                     Invoice number from Ackerman to NRA invoice per the listing of invoices received from the NRA.
Expense Report #                                   Expense report number transcribed from the documentation received while on-site.
Date of Expense Report                             Date of the submitted expense report transcribed from the documentation received while on-site.
Expense Report Submitted By                        Name of the individual that submitted the expense report transcribed from the documentation received while on-site.
Position                                           Position of the individual that submitted the expense report identified by FRA using the Ackerman McQueen website.
Date of Transaction                                Date of the transaction transcribed from the documentation received while on-site.
Vendor                                             Standardized vendor name by FRA based on the vendor name transcribed from the documentation received while on-site.
Amount                                             Amount of expense transcribed from the documentation received while on-site.
Location                                           Location of the transaction transcribed from the documentation received while on-site or based on knowledge of recurring vendors by
                                                  FRA.
Expense Report Business Purpose                   Business purpose related to an entire expense report transcribed from the documentation received while on-site.
Transaction Business Purpose                      Business purpose related to a specific line item transcribed from the documentation received while on-site.
Individuals Related to the Expense                Transcription of names and/or initials directly related to the expense per the documentation received while on-site.
Expense Type                                      Categorized by FRA based on information collected from (1) documentation provided or (2) desktop search of vendors.
Expense Subcategory                               Categorized by FRA based on information collected from (1) documentation provided or (2) desktop search of vendors.
Additional Information                            Additional information collected from (1) documentation provided or (2) desktop search of vendors by FRA.
Expenses by Year
Total expenses by year:
                                           2016                   $99,459.56
                                           2017                   $153,809.12
                                           2018                   $109,725.39




                                                                                                                                                                                         APP. 02095
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Table of Contents                                                                                                                                                                         Code
Tab                        Description                                                                                                                                                           1
Detail                     Expense line items submitted on behalf of Nader Tavangar                                                                                                              1
Graph                      Graphical depiction of total expenses by month and year
By Category                Breakdown of expenses by category
Assumed Names              Reconciliation of names transcribed from documentation and FRA'S assumptions as to the identity of the individuals
Key Individuals            Total amount of expenses attributable to key individuals where the key individuals were the only participants                                                         1
Total Cost by Individual   Total expense amount by assumed name                                                                                                                                  1
Quantity by Individual     Total quantity of expenses by assumed name                                                                                                                            1
By Vendor                  Total expense amount and quantity of expenses by vendor
                                                                                                                                                                                                 1
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Line      Code      Year Invoice Number Expense Report #       Date of Expense Report    Expense Report Submitted Position                           Date of       Vendor                   Amount        Location         Expense Report Business Purpose            Transaction Business Purpose                 Individuals Related to the   Expense Type      Expense       Additional Information
Reference (see                                                                           By                                                          Transaction                                                                                                                                                   Expense                                        Subcategory
          Note 1)
1240      10        2018 155996         346C1D9C8C2049D6B71F   2/15/2018                 Nader Tavangar           Executive VP / Managing Director at 1/30/2018    Autograph Hotel          $     13.75 Alexandria, VA     Feb18                                      Room, tax for donor request by W             W;                           Travel            Lodging
                                                                                                                  The Mercury Group


1241      10        2018 155996         346C1D9C8C2049D6B71F   2/15/2018                 Nader Tavangar           Executive VP / Managing Director at 1/25/2018    Autograph Hotel          $    274.51 Alexandria, VA     Feb18                                      Room, tax for donor request by W             W;                           Travel            Lodging
                                                                                                                  The Mercury Group


1242      10; 5     2017 143169         EXP-8620               9/6/2016 - 9/13/2016      Nader Tavangar           EVP / Managing Director at The     9/6/2017      Buchanan                 $   1,018.58 Alexandria, VA    NR Exec office requests (SG)               Framing as requested by J. Powell            J Powell;                    Miscellaneous     Gift
                                                                                                                  Mercury Group


1243      10; 5     2017 143169         EXP-8620               9/6/2016 - 9/13/2016      Nader Tavangar           EVP / Managing Director at The     9/6/2016      Buchanan                 $     27.95 Alexandria, VA     NR Exec office requests (SG)               Tax for framing as requested by J. Powell    J Powell;                    Miscellaneous     Gift
                                                                                                                  Mercury Group


1244      10        2018 154707         6EOF5662264C4B639269   1/16/2018                 Nader Tavangar           Executive VP / Managing Director at 1/8/2018     CXIII/Landini Brothers   $        9.54 Alexandria, VA   January                                    Drink TS during mtg to discuss current       TS;                          Meals/Beverages   Individual    Date: 11/27/17 $9.54
                                                                                                                  The Mercury Group                                                                                                                                   events and DSC travel/
1245      10        2016 139727         EXP-7751               12/2/2015 to 12/16/2016   Danielle Gregory         Executive Assistant                3/18/2016     CXIII/Landini Brothers   $     39.49 Alexandria, VA     NR OOP Misc. expenses                      lunch to go - M. Hallow                      M Hallow;                    Meals/Beverages   Individual


1246      10        2016 139727         EXP-7751               12/2/2015 to 12/16/2016   Danielle Gregory         Executive Assistant                1/7/2016      CXIII/Landini Brothers   $     39.49 Alexandria, VA     NR OOP Misc. expenses                      Lunch to go - C.C./DL pre debate prep        CC; DL;                      Meals/Beverages   Group



1247                2016 139727         EXP-7751               12/2/2015 to 12/16/2016   Danielle Gregory         Executive Assistant                4/8/2016      CXIII/Landini Brothers   $     39.49 Alexandria, VA     NR OOP Misc. expenses                      lunch to go - working session T.             T Schropp; NT;               Meals/Beverages   Group
                                                                                                                                                                                                                                                                      Schropp/NT



1248      10        2016 139727         EXP-7751               12/2/2015 to 12/16/2016   Danielle Gregory         Executive Assistant                12/2/2015     CXIII/Landini Brothers   $     46.09 Alexandria, VA     NR OOP Misc. expenses                      Dinner to go for Wayne                       Wayne;                       Meals/Beverages   Individual
1249      10; 7     2017 144737         EXP-9255               9/10/2016 - 11/28/2016    Nader Tavangar           EVP / Managing Director at The     9/26/2016     CXIII/Landini Brothers   $     48.23 Alexandria, VA     Misc meal charges - cc charge 442.14       lunch for Josh P in rehearsal prep - portion Josh P;                      Meals/Beverages   Individual
                                                                                                                  Mercury Group                                                                                                                                       f total cc charge 442.14
1250      10        2017 145564         EXP-9590               10/28/16 - 12/30/16       Nader Tavangar           EVP / Managing Director at The     11/16/2016    CXIII/Landini Brothers   $     57.09 Alexandria, VA     Misc Billing/Exec requests - WBW audited   Food order requested by W                    W;                           Meals/Beverages   Individual
                                                                                                                  Mercury Group



1251                2017 147112         EXP-10084              1/3/17 - 2/28/17          Nader Tavangar           EVP / Managing Director at The     1/12/2017     CXIII/Landini Brothers   $     57.59 Alexandria, VA     MISC charges                               Lunch w/ C. Meadows to discuss GA            C Meadows; Nader Tavangar;   Meals/Beverages   Group
                                                                                                                  Mercury Group                                                                                                                                       speech to women


1252      10        2018 156967         71877DD1FE2845CAA329   3/9/2018                  Nader Tavangar           EVP / Managing Director Mercury    3/6/2018      CXIII/Landini Brothers   $     63.30 Alexandria, VA     March19                                    lunch for W/MH during meeting at MG to W; MH;                             Meals/Beverages   Group
                                                                                                                  Group                                                                                                                                               discuss events


1253      10        2017 150457         EXP-10792              3/30/2017-                Nader Tavangar           Executive VP / Managing Director at 3/30/2017    CXIII/Landini Brothers   $     75.57 Alexandria, VA     Misc charges for NRA                       lunch for JP during meetings at MG           JP;                          Meals/Beverages   Individual
                                                               6/26/2017                                          The Mercury Group                                                                                                                                   discussing CG launch


1254      10        2017 145564         EXP-9590               10/28/16 - 12/30/16       Nader Tavangar           EVP / Managing Director at The     11/8/2016     CXIII/Landini Brothers   $     88.81 Alexandria, VA     Misc Billing/Exec requests - WBW audited   Food order requested by W                    W;                           Meals/Beverages   Individual
                                                                                                                  Mercury Group


1255      10        2017 150823         BEE94B9B32324293B110   7/14/2017                 Nader Tavangar           Executive VP / Managing Director at 7/6/2017     CXIII/Landini Brothers   $    102.03 Alexandria, VA     July expenses                              Lunch for Wayne                              Wayne;                       Meals/Beverages   Individual
                                                                                                                  The Mercury Group



1256      10        2016 139727         EXP-7751               12/2/2015 to 12/16/2016   Danielle Gregory         Executive Assistant                1/15/2016     CXIII/Landini Brothers   $    103.29 Alexandria, VA     NR OOP Misc. expenses                      lunch to go for CC/DL defend America         CC; DL;                      Meals/Beverages   Group
                                                                                                                                                                                                                                                                      speech prep




1257      10; 7     2017 144737         EXP-9255               9/10/2016 - 11/28/2016    Nader Tavangar           EVP / Managing Director at The     9/30/2016     CXIII/Landini Brothers   $    104.28 Alexandria, VA     Misc meal charges - cc charge 442.14       dinner to go - requested by W - portion      W;                           Meals/Beverages   Individual
                                                                                                                  Mercury Group                                                                                                                                       of total cc charge 442.14



1258                2017 148014         EXP-10230              2/9/2017 - 3/21/2017      Nader Tavangar           Executive VP / Managing Director at 2/9/2017     CXIII/Landini Brothers   $    104.78 Alexandria, VA     Misc charges                               NT/TS lunch to review ROF magazine           NT; TS;                      Meals/Beverages   Group
                                                                                                                  The Mercury Group                                                                                                                                   layout and CFF program



1259      10        2016 139727         EXP-7751               12/2/2015 to 12/16/2016   Danielle Gregory         Executive Assistant                2/22/2016     CXIII/Landini Brothers   $    115.28 Alexandria, VA     NR OOP Misc. expenses                      lunch to go CC/DL speech prep                CC; DL;                      Meals/Beverages   Group



1260      7         2017 144737         EXP-9255               9/10/2016 - 11/28/2016    Nader Tavangar           EVP / Managing Director at The     9/10/2016     CXIII/Landini Brothers   $    125.07 Alexandria, VA     Misc meal charges - cc charge 442.14       Lunch to go for W/TM/S/NT in transit to      W; TM; S; NT;                Meals/Beverages   Group
                                                                                                                  Mercury Group                                                                                                                                       Dallas - portion of total cc charge 442.14



1261                2018 154261         C74AE674200D42CABE50   11/8/2017                 Nader Tavangar           EVP / Managing Director            11/6/2017     CXIII/Landini Brothers   $    126.49 Alexandria, VA     November                                   Meeting with C. Davis to discuss ROF         Nader Tavangar;              Meals/Beverages   Individual
                                                                                                                                                                                                                                                                      magazine page cast


1262      10        2016 139727         EXP-7751               12/2/2015 to 12/16/2016   Danielle Gregory         Executive Assistant                12/18/2015    CXIII/Landini Brothers   $    140.47 Alexandria, VA     NR OOP Misc. expenses                      Lunch to go for C.C./DL                      CC; DL;                      Meals/Beverages   Group




1263      10        2016 139727         EXP-7751               12/2/2015 to 12/16/2016   Danielle Gregory         Executive Assistant                1/7/2016      CXIII/Landini Brothers   $    141.68 Alexandria, VA     NR OOP Misc. expenses                      Dinner to go - C. Cox/D. Lehman pre          C Cox; D Lehman;             Meals/Beverages   Group
                                                                                                                                                                                                                                                                      interview prep
1264      10        2017 150457         EXP-10792              3/30/2017-                Nader Tavangar           Executive VP / Managing Director at 4/13/2017    CXIII/Landini Brothers   $    147.02 Alexandria, VA     Misc charges for NRA                       lunch for JP /Team prior to MG meeting re JP; NRA Group;                  Meals/Beverages   Group
                                                               6/26/2017                                          The Mercury Group                                                                                                                                   CG with G. Sloan re marketing




                                                                                                                                                                                                                                                                                                                                                                                                         APP. 02097
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1265           2016 143559   EXP-9069               4/18/2016 - 10/28/2016    Nader Tavangar     EVP / Managing Director at The     4/18/2016    CXIII/Landini Brothers   $   151.84 Alexandria, VA   misc. charges during multiple events       dinner requested for W after meeting with W; N Tavangar;                 Meals/Beverages   Group
                                                                                                 Mercury Group                                                                                                                                   MG



1266   10; 7   2017 144737   EXP-9255               9/10/2016 - 11/28/2016    Nader Tavangar     EVP / Managing Director at The     9/19/2016    CXIII/Landini Brothers   $   164.56 Alexandria, VA   Misc meal charges - cc charge 442.14       dinner to go - requested by W - portion     W;                           Meals/Beverages   Individual
                                                                                                 Mercury Group                                                                                                                                   of total cc charge 442.14



1267   10      2017 145564   EXP-9590               10/28/16 - 12/30/16       Nader Tavangar     EVP / Managing Director at The     10/28/2016   CXIII/Landini Brothers   $   164.78 Alexandria, VA   Misc Billing/Exec requests - WBW audited   Food order requested by W                   W;                           Meals/Beverages   Individual
                                                                                                 Mercury Group



1268   10      2017 148014   EXP-10230              2/9/2017 - 3/21/2017      Nader Tavangar     Executive VP / Managing Director at 3/10/2017   CXIII/Landini Brothers   $   169.96 Alexandria, VA   Misc charges                               Lunch order JP and JD (NRA), MH post        JP; JD; MH;                  Meals/Beverages   Group
                                                                                                 The Mercury Group                                                                                                                               CPAC speech



1269           2016 143559   EXP-9069               4/18/2016 - 10/28/2016    Nader Tavangar     EVP / Managing Director at The     5/25/2016    CXIII/Landini Brothers   $   171.91 Alexandria, VA   misc. charges during multiple events       lunch and dinner with W during Meetings     W; N Tavangar;               Meals/Beverages   Group
                                                                                                 Mercury Group                                                                                                                                   at MG to discuss current events



1270   10      2016 139727   EXP-7751               12/2/2015 to 12/16/2016   Danielle Gregory   Executive Assistant                1/8/2016     CXIII/Landini Brothers   $   177.71 Alexandria, VA   NR OOP Misc. expenses                      dinner to go. W after meeting at MG         W;                           Meals/Beverages   Individual




1271   10      2016 143559   EXP-9069               4/18/2016 - 10/28/2016    Nader Tavangar     EVP / Managing Director at The     7/5/2016     CXIII/Landini Brothers   $   195.97 Alexandria, VA   misc. charges during multiple events       lunches to go for W and also CC during      W; CC;                       Meals/Beverages   Group
                                                                                                 Mercury Group                                                                                                                                   meetings at MG to discuss upcoming
                                                                                                                                                                                                                                                 remarks


1272           2017 151745   B03030AEC14E4D879E1D   8/2/2017                  Nader Tavangar     Executive VP / Managing Director at 8/8/2017    CXIII/Landini Brothers   $   204.16 Alexandria, VA   August                                     Lunch per JP during meetings at MG          JP; Nader Tavangar;          Meals/Beverages   Group
                                                                                                 The Mercury Group



1273           2016 143559   EXP-9069               4/18/2016 - 10/28/2016    Nader Tavangar     EVP / Managing Director at The     6/1/2016     CXIII/Landini Brothers   $   217.30 Alexandria, VA   misc. charges during multiple events       lunch and dinner with W during Meetings     W; N Tavangar;               Meals/Beverages   Group
                                                                                                 Mercury Group                                                                                                                                   at MG to discuss current events



1274           2016 139727   EXP-7751               12/2/2015 to 12/16/2016   Danielle Gregory   Executive Assistant                12/16/2016   CXIII/Landini Brothers   $   232.13 Alexandria, VA   NR OOP Misc. expenses                      dinner w. sheets (HLK)                      HLK;                         Meals/Beverages   Individual




1275   10      2016 139727   EXP-7751               12/2/2015 to 12/16/2016   Danielle Gregory   Executive Assistant                12/2/2015    CXIII/Landini Brothers   $   247.75 Alexandria, VA   NR OOP Misc. expenses                      Lunch for W, BP, MH, TS                     W; BP; MH; TS;               Meals/Beverages   Group




1276   10      2016 143559   EXP-9069               4/18/2016 - 10/28/2016    Nader Tavangar     EVP / Managing Director at The     8/2/2016     CXIII/Landini Brothers   $   322.80 Alexandria, VA   misc. charges during multiple events       lunches to go for W and CC/DL during        W; CC; DL;                   Meals/Beverages   Group
                                                                                                 Mercury Group                                                                                                                                   speeches rehearsal and current event
1277           2017 150457   4D48C7B00DD4454AB1BA   6/22/2017                 Nader Tavangar     Executive VP / Managing Director at 6/12/2017   CXIII/Landini Brothers   $   332.22 Alexandria, VA   Travel to Nashville for CMA Meetings,      lunch for WLP, NT & SL while traveling to WLP; NT; SL;                   Meals/Beverages   Group
                                                                                                 The Mercury Group                                                                                    Belmont U                                  SC
1278           2016 139727   EXP-7751               12/2/2015 to 12/16/2016   Danielle Gregory   Executive Assistant                1/12/2016    CXIII/Landini Brothers   $   335.78 Alexandria, VA   NR OOP Misc. expenses                      Lunch - W, MH, NT, BP after meeting with W; BP; MH; NT; BP;              Meals/Beverages   Group
                                                                                                                                                                                                                                                 AM @ MG
1279   10      2017 151745   B03030AEC14E4D879E1D   8/2/2017                  Nader Tavangar     Executive VP / Managing Director at 8/8/2017    CXIII/Landini Brothers   $   373.85 Alexandria, VA   August                                     Lunch per J Powell and M Hallow             J Powell; M Hallow;          Meals/Beverages   Group
                                                                                                 The Mercury Group



1280   10      2017 145564   EXP-9590               10/28/16 - 12/30/16       Nader Tavangar     EVP / Managing Director at The     11/11/2016   CXIII/Landini Brothers   $   383.07 Alexandria, VA   Misc Billing/Exec requests - WBW audited   Catering order requested by W               W;                           Meals/Beverages   Group
                                                                                                 Mercury Group
1281   10      2017 148014   EXP-10230              2/9/2017 - 3/21/2017      Nader Tavangar     Executive VP / Managing Director at 2/9/2017    CXIII/Landini Brothers   $   478.66 Alexandria, VA   Misc charges                               Take out for NRA staff during BDO,          W; TM; JP; NR Staff;         Meals/Beverages   Group
                                                                                                 The Mercury Group                                                                                                                               W&TM, and lunch order at MG for
                                                                                                                                                                                                                                                 meeting with JP and NRA team to discuss
                                                                                                                                                                                                                                                 NRA FB
1282           2017 150457   EXP-10794              5/10/2017-                Nader Tavangar     Executive VP / Managing Director at 5/10/2017   CXIII/Landini Brothers   $   482.60 Alexandria, VA   Misc NRA Charges                           Lunch following mtg with SH BW BW MM SH; BW; BW; MM; NT; TS;             Meals/Beverages   Group
                                                    7/5/2017                                     The Mercury Group                                                                                                                               NT; $36.20 lunch NT/TS discuss ATL '18
1283           2017 147112   EXP-10084              1/3/17 - 2/28/17          Nader Tavangar     EVP / Managing Director at The     1/12/2017    CXIII/Landini Brothers   $   484.10 Alexandria, VA   MISC charges                               Lunches w/ T. Schropp to discuss various    T Schropp; Nader Tavangar;   Meals/Beverages   Group
                                                                                                 Mercury Group                                                                                                                                   projects for annual meeting, magazine and
                                                                                                                                                                                                                                                 new initiatives


1284   10      2018 154261   C74AE674200D42CABE50   11/8/2017                 Nader Tavangar     EVP / Managing Director            11/6/2017    CXIII/Landini Brothers   $   522.79 Alexandria, VA   November                                   Various lunch order to go/in house          NR Staff;                    Meals/Beverages   Group
                                                                                                                                                                                                                                                 requested by NR


1285   10      2018 156967   71877DD1FE2845CAA329   3/9/2018                  Nader Tavangar     EVP / Managing Director Mercury    3/6/2018     CXIII/Landini Brothers   $   529.59 Alexandria, VA   March19                                    Food order for NR staff/team during         NR Staff;                    Meals/Beverages   Individual
                                                                                                 Group                                                                                                                                           discussions/meetings



1286           2018 154707   6EOF5662264C4B639269   1/16/2018                 Nader Tavangar     Executive VP / Managing Director at 1/8/2018    CXIII/Landini Brothers   $   832.52 Alexandria, VA   January                                    Food charges for NR staff/meetings          W; NT; TS; AA; JP;           Meals/Beverages   Group        Date: 12/11/17 - Lunch with W following meeting at MG with
                                                                                                 The Mercury Group                                                                                                                                                                                                                                       AM to review current events/interview $347.52
                                                                                                                                                                                                                                                                                                                                                         Date: 11/01/17 - Lunch NT and TS to discuss current events,
                                                                                                                                                                                                                                                                                                                                                         ROF at AM Dallas and ROF mag $18.59
1287           2017 151745   B03030AEC14E4D879E1D   8/2/2017                  Nader Tavangar     Executive VP / Managing Director at 8/15/2017   Passport Health          $   377.92 Alexandria, VA   August                                     Travel with G Shepstone ROF member          Nader Tavangar; G Shepstone; Miscellaneous     Other
                                                                                                 The Mercury Group




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1288        2018 154707          6EOF5662264C4B639269   1/16/2018                Nader Tavangar     Executive VP / Managing Director at 1/10/2018   PF Changs                      $     71.44 Alexandria, VA   January                                      Lunch takeout during meetings for AF,      AF; MH; NT;                  Meals/Beverages    Group        Date: 01/10/18
                                                                                                    The Mercury Group                                                                                                                                        MH, NT                                                                                                  Amount: $61.44
                                                                                                                                                                                                                                                                                                                                                                     Tip: $10.00
                                                                                                                                                                                                                                                                                                                                                                     Total: $71.44
1289        2016 136859          EXP-6932               2/13/2016 - 2/19/2016    Danielle Gregory   Executive Assistant                2/13/2016    Ritz Carlton                   $     55.05 Alexandria, VA   Travel to YFT H2H event                      drinks for w/s guest during H2H event      Multiple;                    Meals/Beverages    Individual




1290        2016 136859          EXP-6932               2/13/2016 - 2/19/2016    Danielle Gregory   Executive Assistant                2/13/2016    Ritz Carlton                   $    110.10 Alexandria, VA   Travel to YFT H2H event                      drinks for w/s guest during H2H event      Multiple;                    Meals/Beverages    Individual




1291        2018 154706/155170   1A1CC7F4725548009361   12/13/2017               Nader Tavangar     Executive VP / Managing Director at 12/9/2017   The Pipe Dream of Alexandria   $     42.40 Alexandria, VA   December                                     humidor items for donor package delivery Unknown;                       Miscellaneous      Other
                                                                                                    The Mercury Group
1292        2016 141517          EXP-8078               7/5/2016 - 7/12/2016     Danielle Gregory   Executive Assistant                7/6/2016     Cash Tips                      $     20.00 Arlington, VA    Travel to WY for speaking engagement (SG) DC airport valet luggage assistance           Nader Tavangar;              Miscellaneous      Tips




1293        2016 141517          EXP-8078               7/5/2016 - 7/12/2016     Danielle Gregory   Executive Assistant                7/5/2016     Cash Tips                      $     40.00 Arlington, VA    Travel to WY for speaking engagement (SG) tip - Dc airport valet assistance             Nader Tavangar;              Miscellaneous      Tips




1294        2016 139727          EXP-7748               5/1/2016 to 6/2/2016     Danielle Gregory   Executive Assistant                5/16/2016    Paradies                       $      6.02 Arlington, VA    Louisville Annual Meeting                    breakfast N. Tavangar                      Nader Tavangar;              Meals/Beverages    Individual




1295        2016 141517          EXP-8078               7/5/2016 - 7/12/2016     Danielle Gregory   Executive Assistant                7/5/2016     Starbucks                      $      7.31 Arlington, VA    Travel to WY for speaking engagement (SG) drinks for W/NT                               W; NT;                       Meals/Beverages    Group




1296        2016 140440          EXP-7991               1/11/2016 to 6/28/2016   Nader Tavangar     Executive Assistant                1/11/2016    Westin                         $      5.72 Arlington, VA    NO DESCRIPTION PROVIDED                      coffee JP/NT NRA BOD mtg                   JP; NT;                      Meals/Beverages    Group


1297        2017 149459          EXP-10578              4/18/2017 - 5/19/2017    Nader Tavangar     Executive VP / Managing Director at 4/26/2017   Cash Tips                      $    100.00 Atlanta, GA      NRA A/M travel to ATL (SK)                   driver tip                                 Nader Tavangar;              Miscellaneous      Tips
                                                                                                    The Mercury Group




1298        2017 149459          EXP-10578              4/18/2017 - 5/19/2017    Nader Tavangar     Executive VP / Managing Director at 4/27/2017   Cash Tips                      $    100.00 Atlanta, GA      NRA A/M travel to ATL (SK)                   driver tip                                 Nader Tavangar;              Miscellaneous      Tips
                                                                                                    The Mercury Group



1299        2017 149459          EXP-10578              4/18/2017 - 5/19/2017    Nader Tavangar     Executive VP / Managing Director at 4/28/2017   Cash Tips                      $    100.00 Atlanta, GA      NRA A/M travel to ATL (SK)                   driver tip                                 Nader Tavangar;              Miscellaneous      Tips
                                                                                                    The Mercury Group



1300        2017 149459          EXP-10578              4/18/2017 - 5/19/2017    Nader Tavangar     Executive VP / Managing Director at 4/29/2017   Cash Tips                      $    100.00 Atlanta, GA      NRA A/M travel to ATL (SK)                   driver tip                                 Nader Tavangar;              Miscellaneous      Tips
                                                                                                    The Mercury Group


1301        2017 149459          EXP-10578              4/18/2017 - 5/19/2017    Nader Tavangar     Executive VP / Managing Director at 4/30/2017   Cash Tips                      $    100.00 Atlanta, GA      NRA A/M travel to ATL (SK)                   driver tip                                 Nader Tavangar;              Miscellaneous      Tips
                                                                                                    The Mercury Group



1302        2017 149459          EXP-10578              4/18/2017 - 5/19/2017    Nader Tavangar     Executive VP / Managing Director at 5/1/2017    Cash Tips                      $    100.00 Atlanta, GA      NRA A/M travel to ATL (SK)                   driver tip                                 Nader Tavangar;              Miscellaneous      Tips
                                                                                                    The Mercury Group



1303        2017 149459          EXP-10578              4/18/2017 - 5/19/2017    Nader Tavangar     Executive VP / Managing Director at 4/25/2017   Cash Tips                      $    100.00 Atlanta, GA      NRA A/M travel to ATL (SK)                   driver tip                                 Nader Tavangar;              Miscellaneous      Tips
                                                                                                    The Mercury Group
1304        2016 140440          EXP-7997               6/23/16 to 6/27/16       Danielle Gregory   Executive Assistant                6/23/2016    Euro Café                      $     10.63 Atlanta, GA      Travel with T. Schropp to ATL for pre-site   lunch during travel                        Nader Tavangar;              Meals/Beverages    Individual
                                                                                                                                                                                                                committee fundraiser



1305   4    2017 149459          EXP-10578              4/18/2017 - 5/19/2017    Nader Tavangar     Executive VP / Managing Director at 5/4/2018    Four Seasons                   $    588.33 Atlanta, GA      NRA A/M travel to ATL (SK)                   hotel room and tax - 1 night advance       Nader Tavangar;              Travel             Lodging
                                                                                                    The Mercury Group                                                                                                                                        booking for early check in the following
1306        2017 149459          EXP-10578              4/18/2017 - 5/19/2017    Nader Tavangar     Executive VP / Managing Director at 4/30/2017   Four Seasons                   $   2,353.32 Atlanta, GA     NRA A/M travel to ATL (SK)                   Hotel Room and Tax (M. Dycio) booked       M Dycio;                     Travel             Lodging
                                                                                                    The Mercury Group                                                                                                                                        by P. McCarty
1307        2017 149459          EXP-10578              4/18/2017 - 5/19/2017    Nader Tavangar     Executive VP / Managing Director at 5/1/2017    Four Seasons                   $   4,269.38 Atlanta, GA     NRA A/M travel to ATL (SK)                   3992 + 151.06 + 126.32; Hotel room and     Nader Tavangar;              Travel             Lodging
                                                                                                    The Mercury Group                                                                                                                                        tax (N. Tavangar). Charges include room
1308        2017 149459          EXP-10578              4/18/2017 - 5/19/2017    Nader Tavangar     Executive VP / Managing Director at 4/29/2017   Hudson Grill                   $     27.73 Atlanta, GA      NRA A/M travel to ATL (SK)                   Drinks with C. DeWitt to review Co-        C DeWitt; Nader Tavangar;    Meals/Beverages    Group
                                                                                                    The Mercury Group                                                                                                                                        Chair event prior to Sat night concert
1309        2017 149459          EXP-10578              4/18/2017 - 5/19/2017    Nader Tavangar     Executive VP / Managing Director at 4/26/2017   Hudson Grill                   $    139.78 Atlanta, GA      NRA A/M travel to ATL (SK)                   Lunch LD, NT, BP, JC, EVH                  LD; NT; BP; JC; EVH;         Meals/Beverages    Group
                                                                                                    The Mercury Group
1310        2017 149459          EXP-10578              4/18/2017 - 5/19/2017    Nader Tavangar     Executive VP / Managing Director at 5/1/2017    Marriott                       $    866.35 Atlanta, GA      NRA A/M travel to ATL (SK)                   Hotel charges (J. Reed)                    J Reed;                      Travel             Lodging
                                                                                                    The Mercury Group
1311        2017 149459          EXP-10578              4/18/2017 - 5/19/2017    Nader Tavangar     Executive VP / Managing Director at 5/1/2017    McCormick & Schmick's          $    204.98 Atlanta, GA      NRA A/M travel to ATL (SK)                   Lunch JD, AA, WP, LS, TS, S, R, NT         JD; AA; WP; LS; TS; S; R; NT; Meals/Beverages   Group
                                                                                                    The Mercury Group
1312   10   2017 149459          EXP-10578              4/18/2017 - 5/19/2017    Nader Tavangar     Executive VP / Managing Director at 5/1/2017    Morsel's                       $     20.10 Atlanta, GA      NRA A/M travel to ATL (SK)                   coffee/drinks for W/security               W;                           Meals/Beverages    Individual
                                                                                                    The Mercury Group
1313        2017 150457          EXP-10779              4/1/2017-                Nader Tavangar     Executive VP / Managing Director at 4/30/2017   Omni Hotel                     $    677.82 Atlanta, GA      AM '17 travel expenses                       Hotel room and tax for D. Corlew guest     D Corlew;                    Travel             Lodging      Arrival: 04/27/17
                                                        6/23/2017                                   The Mercury Group                                                                                                                                        of W/TM                                                                                                 Departure: 04/30/17




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1314        2017 150457   EXP-10779              4/1/2017-                Nader Tavangar     Executive VP / Managing Director at 4/30/2017   Omni Hotel            $     677.85 Atlanta, GA           AM '17 travel expenses                         Hotel room and Tax for A. Wheeler guest A Wheeler;                          Travel            Lodging       Arrival: 04/27/17
                                                 6/23/2017                                   The Mercury Group                                                                                                                                       of W/TM                                                                                                     Departure: 04/30/17
1315   4    2017 151745   B03030AEC14E4D879E1D   8/2/2017                 Nader Tavangar     Executive VP / Managing Director at 7/28/2017   PM Wildlife Studios   $    2,000.00 Atlanta, GA          August                                         NRA HLF Dinner in ATL taxidermy              Multiple;                      Meals/Beverages   Individual    ADVANCE DEPOSIT for MeadowView Conference Resort &
                                                                                             The Mercury Group                                                                                                                                       decoration per M Pepper                                                                                     Conferene Center under the name "Mercury Group" for
1316   10   2017 150457   EXP-10779              4/1/2017-                Nader Tavangar     Executive VP / Managing Director at 5/12/2017   Ready to Roll         $    1,849.77 Atlanta, GA          AM '17 travel expenses                         Car service for 1 day in ATL during AM       Wayne Roberts;                 Auto              Car Service   Customer: Roberts/Wayne
                                                 6/23/2017                                   The Mercury Group                                                                                                                                       BOD meetings                                                                                                Passenger (total): Aqua
1317   10   2017 150457   EXP-10779              4/1/2017-                Nader Tavangar     Executive VP / Managing Director at 4/1/2017    Ready to Roll         $   11,596.64 Atlanta, GA          AM '17 travel expenses                         Car service charges for 7 days in ATL        Aqua;                          Auto              Car Service   AM '17 travel expenses
                                                 6/23/2017                                   The Mercury Group                                                                                                                                                                                                                                                   Date: 04/25/17
1318        2017 149459   EXP-10578              4/18/2017 - 5/19/2017    Nader Tavangar     Executive VP / Managing Director at 4/29/2017   Twin Smokers          $     180.28 Atlanta, GA           NRA A/M travel to ATL (SK)                     Lunch JC, NT, PM, CJ, EVH, AA, BL            JC; NT; PM; CJ; EVH; AA; BL;   Meals/Beverages   Group
                                                                                             The Mercury Group



1319   10   2017 149459   EXP-10578              4/18/2017 - 5/19/2017    Nader Tavangar     Executive VP / Managing Director at 4/30/2017   Business Center       $      22.46 Atlanta, GA           NRA A/M travel to ATL (SK)                     Business Center- B&W print outs for J        J Powell;                      Miscellaneous     Other
                                                                                             The Mercury Group                                                                                                                                       Powell remarks




1320   10   2017 149459   EXP-10578              4/18/2017 - 5/19/2017    Nader Tavangar     Executive VP / Managing Director at 4/30/2017   Business Center       $      23.53 Atlanta, GA           NRA A/M travel to ATL (SK)                     Business Center- B&W print outs for J        J Powell;                      Miscellaneous     Other
                                                                                             The Mercury Group                                                                                                                                       Powell remarks



1321   10   2017 149459   EXP-10578              4/18/2017 - 5/19/2017    Nader Tavangar     Executive VP / Managing Director at 4/27/2017   Business Center       $      24.60 Atlanta, GA           NRA A/M travel to ATL (SK)                     Business Center- B&W print outs for W - W;                                  Miscellaneous     Other
                                                                                             The Mercury Group                                                                                                                                       show script



1322   10   2017 149459   EXP-10578              4/18/2017 - 5/19/2017    Nader Tavangar     Executive VP / Managing Director at 4/30/2017   Business Center       $      26.74 Atlanta, GA           NRA A/M travel to ATL (SK)                     Business Center- B&W print outs for J        J Powell;                      Miscellaneous     Other
                                                                                             The Mercury Group                                                                                                                                       Powell remarks



1323        2016 143559   EXP-9067               5/13/2016 - 10/28/2016   Nader Tavangar     EVP / Managing Director at The     10/25/2016   Beverly Hills Hotel   $      (24.00) Beverly Hills, CA   misc. charges, clean up from past trips with   credit for mini bar charges noted above      Nader Tavangar;                Meals/Beverages   Individual
                                                                                             Mercury Group                                                                                            W from meetings and events                     plus tax as previously charged on my
                                                                                                                                                                                                                                                     original bill exp 8999


1324        2016 143559   EXP-9067               5/13/2016 - 10/28/2016   Nader Tavangar     EVP / Managing Director at The     10/9/2016    Beverly Hills Hotel   $      22.89 Beverly Hills, CA     misc. charges, clean up from past trips with   mini bar charges - 2 bottles of water and    Nader Tavangar;                Meals/Beverages   Individual
                                                                                             Mercury Group                                                                                            W from meetings and events                     juice



1325        2017 147112   EXP-10053              1/3/17 - 2/22/17         Nader Tavangar     EVP / Managing Director at The     2/13/2017    Beverly Hills Hotel   $      21.75 Beverly Hills, CA     Misc OOP requests as directed                  minibar charges (water and snacks) during ST;                               Meals/Beverages   Individual
                                                                                             Mercury Group                                                                                                                                           ST. H trip



1326        2016 143559   EXP-8999               10/5/2016-               Nader Tavangar     EVP / Managing Director at The     10/9/2016    Beverly Hills Hotel   $    3,981.39 Beverly Hills, CA    Travel with Wayne for NRA business to          hotel room, tax, breakfast, laundry,         Nader Tavangar;                Travel            Lodging
                                                 10/21/2016                                  Mercury Group                                                                                            Dallas (video shoot) and Bakersfield for       sundries
                                                                                                                                                                                                      speaking engagement


1327        2017 147112   EXP-10040              2/6/17 - 2/20/17         Nader Tavangar     EVP / Managing Director at The     2/10/2017    Beverly Hills Hotel   $    4,021.95 Beverly Hills, CA    Travel to CA for St. H speech/presentation     Hotel room, tax, laundry, meals NT           NT;                            Travel            Lodging
                                                                                             Mercury Group                                                                                            (NRAH)



1328        2017 147112   EXP-10040              2/6/17 - 2/20/17         Nader Tavangar     EVP / Managing Director at The     2/10/2017    USPS                  $        7.20 Beverly Hills, CA    Travel to CA for St. H speech/presentation     Mail credential return to Bakersfield from   Nader Tavangar;                Miscellaneous     Other
                                                                                             Mercury Group                                                                                            (NRAH)                                         Bakerfield



1329        2017 147112   EXP-10053              1/3/17 - 2/22/17         Nader Tavangar     EVP / Managing Director at The     1/3/2017     Hertz                 $      22.02 Bristol, TN           Misc OOP requests as directed                  Toll charges during trip with W to Bristol   Nader Tavangar;                Auto              Toll
                                                                                             Mercury Group                                                                                                                                           TN for race promo
1330   10   2017 151745   B03030AEC14E4D879E1D   8/2/2017                 Nader Tavangar     Executive VP / Managing Director at 8/16/2017   Virginian Golf Club   $      26.01 Bristol, TN           August                                         Beverages for TS, BS, JG during travel to    TS; BS; JG;                    Meals/Beverages   Group
                                                                                             The Mercury Group                                                                                                                                       Bristol for night race



1331        2017 151745   B03030AEC14E4D879E1D   8/2/2017                 Nader Tavangar     Executive VP / Managing Director at 8/19/2017   Walgreens             $      38.61 Bristol, TN           August                                         Travel for Bristol NRA race supplies for     Nader Tavangar;                Miscellaneous     Other
                                                                                             The Mercury Group                                                                                                                                       shared house
1332        2017 153476   EXP-11178              9/18/2017 - 10/6/2017    Nader Tavangar     Executive VP / Managing Director at 10/1/2017   Cash Tips             $      20.00 California            Travel with W to MT, UT, CA, TX, and KS        CA event hotel car park                      Nader Tavangar;                Miscellaneous     Tips
                                                                                             The Mercury Group                                                                                        for various events/meetings/speaking
1333        2017 153476   EXP-11178              9/18/2017 - 10/6/2017    Nader Tavangar     Executive VP / Managing Director at 10/1/2017   Cash Tips             $      20.00 California            Travel with W to MT, UT, CA, TX, and KS        CA hotel concierge car rental assistance     Nader Tavangar;                Miscellaneous     Tips
                                                                                             The Mercury Group                                                                                        for various events/meetings/speaking
1334        2017 153476   EXP-11178              9/18/2017 - 10/6/2017    Nader Tavangar     Executive VP / Managing Director at 10/2/2017   Cash Tips             $      20.00 California            Travel with W to MT, UT, CA, TX, and KS        CA hotel restaurant reservation (dinner)     Nader Tavangar;                Miscellaneous     Tips
                                                                                             The Mercury Group                                                                                        for various events/meetings/speaking
                                                                                                                                                                                                      engagements
1335        2017 153476   EXP-11178              9/18/2017 - 10/6/2017    Nader Tavangar     Executive VP / Managing Director at 10/2/2017   Cash Tips             $      20.00 California            Travel with W to MT, UT, CA, TX, and KS        CA hotel restaurant reservation (lunch)      Nader Tavangar;                Miscellaneous     Tips
                                                                                             The Mercury Group                                                                                        for various events/meetings/speaking
1336   10   2017 153476   FEC63AFC7EA04775A9D6   10/12/2017               Nader Tavangar     Executive VP / Managing Director at 10/1/2017   Shell Oil             $      18.38 California            October                                        CA speaking engagement - sundries for W, W; TS; CK; MH;                     Meals/Beverages   Group
                                                                                             The Mercury Group                                                                                                                                       TS, CK, MH
1337        2016 139727   EXP-7642               4/15/2016 to 5/25/2016   Danielle Gregory   Executive Assistant                4/15/2016    Cash Tips             $      10.00 Charleston, SC        NR OOP misc. Expenses/ Charleston SC trip tip - concierge assistance with car hire          Nader Tavangar;                Miscellaneous     Tips
                                                                                                                                                                                                      for donor event at Brays Island- Wayne
                                                                                                                                                                                                      Speech (SG)




                                                                                                                                                                                                                                                                                                                                                                                                  APP. 02100
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1338   2016 139727   EXP-7642               4/15/2016 to 5/25/2016   Danielle Gregory   Executive Assistant                4/15/2016    Cash Tips                       $      10.00 Charleston, SC         NR OOP misc. Expenses/ Charleston SC trip tip - hotel valet luggage assistance SC trip   Nader Tavangar;   Miscellaneous     Tips
                                                                                                                                                                                                            for donor event at Brays Island- Wayne
                                                                                                                                                                                                            Speech (SG)


1339   2016 139727   EXP-7642               4/15/2016 to 5/25/2016   Danielle Gregory   Executive Assistant                4/15/2016    Cash Tips                       $      20.00 Charleston, SC         NR OOP misc. Expenses/ Charleston SC trip tip - Charleston, SC                           Nader Tavangar;   Miscellaneous     Tips
                                                                                                                                                                                                            for donor event at Brays Island- Wayne
                                                                                                                                                                                                            Speech (SG)
1340   2018 157570   8F41F718E3D441568868   4/5/2018                 Nader Tavangar     Executive VP / Managing Director at 4/19/2018   Alexander Historical Auctions   $   13,630.00 Chesapeake City, MD   April18                                      Purchase requested by TM for W              TM;               Travel            Lodging
                                                                                        The Mercury Group
1341   2017 150457   4D48C7B00DD4454AB1BA   6/22/2017                Nader Tavangar     Executive VP / Managing Director at 6/16/2017   Agent Fee                       $      45.00 Dallas, TX             Travel to Nashville for CMA Meetings,        agent fee for travel to DFw                 Nader Tavangar;   Travel            Other
                                                                                        The Mercury Group                                                                                                   Belmont U
1342   2016 136165   EXP-6672               1/6/2016 to 1/25/2016    Danielle Gregory   Executive Assistant                1/13/2016    Carey International             $    1,104.13 Dallas, TX            January OOP expenses                         Dallas car transport                        Nader Tavangar;   Auto              Car Service


1343   2016 136165   EXP-6672               1/6/2016 to 1/25/2016    Danielle Gregory   Executive Assistant                1/12/2016    Carey International             $    1,187.83 Dallas, TX            January OOP expenses                         Dallas car transport                        Nader Tavangar;   Auto              Car Service



1344   2016 136165   EXP-6672               1/6/2016 to 1/25/2016    Danielle Gregory   Executive Assistant                1/14/2016    Carey International             $    1,487.73 Dallas, TX            January OOP expenses                         Dallas car transportation                   Nader Tavangar;   Auto              Car Service


1345   2016 136165   EXP-6672               1/6/2016 to 1/25/2016    Danielle Gregory   Executive Assistant                1/14/2016    Carey International             $    1,542.53 Dallas, TX            January OOP expenses                         Dallas car transportation                   Nader Tavangar;   Auto              Car Service


1346   2017 153476   EXP-11178              9/18/2017 - 10/6/2017    Nader Tavangar     Executive VP / Managing Director at 10/4/2017   Casa de Montecristo             $     166.71 Dallas, TX             Travel with W to MT, UT, CA, TX, and KS      Sundries for TS/TM                          TS; TM;           Meals/Beverages   Group
                                                                                        The Mercury Group                                                                                                   for various events/meetings/speaking
                                                                                                                                                                                                            engagements
1347   2017 148749   EXP-10508              3/10/2017 - 5/9/2017     Nader Tavangar     Executive VP / Managing Director at 3/13/2017   Cash Tips                       $      20.00 Dallas, TX             Travel to Dallas, TX for meetings with AM    Bellman assistance with luggage             Nader Tavangar;   Miscellaneous     Tips
                                                                                        The Mercury Group                                                                                                   on NRAAM, CG and presentation to CoPart
1348   2017 148749   EXP-10508              3/10/2017 - 5/9/2017     Nader Tavangar     Executive VP / Managing Director at 3/10/2017   Cash Tips                       $      20.00 Dallas, TX             Travel to Dallas, TX for meetings with AM    Bellman assistance with room check in and Nader Tavangar;     Miscellaneous     Tips
                                                                                        The Mercury Group                                                                                                   on NRAAM, CG and presentation to CoPart bags
1349   2018 158521   EXP-11886              5/1/2018 - 5/18/2018     Nader Tavangar     Executive VP / Managing Director at 5/7/2018    Cash Tips                       $      20.00 Dallas, TX             NRA Annual Meeting - Dallas Transportation Dallas driver tip                             Nader Tavangar;   Miscellaneous     Tips
                                                                                        The Mercury Group                                                                                                   services
1350   2018 158521   EXP-11886              5/1/2018 - 5/18/2018     Nader Tavangar     Executive VP / Managing Director at 5/2/2018    Cash Tips                       $      25.00 Dallas, TX             NRA Annual Meeting - Dallas Transportation Dallas airport (x 3) for luggage for 5        Nader Tavangar;   Miscellaneous     Tips
                                                                                        The Mercury Group                                                                                                   services                                     people Tip
1351   2017 145564   EXP-9523               11/3/16 - 12/22/16       Nader Tavangar     EVP / Managing Director at The     12/6/2016    Cash Tips                       $      40.00 Dallas, TX             executive travel and misc purchases          DFW airport valet tip - during travel to    Nader Tavangar;   Miscellaneous     Tips
                                                                                        Mercury Group                                                                                                                                                    Dallas for current events meeting/CCL
1352   2018 158521   EXP-11886              5/1/2018 - 5/18/2018     Nader Tavangar     Executive VP / Managing Director at 5/7/2018    Cash Tips                       $      40.00 Dallas, TX             NRA Annual Meeting - Dallas Transportation Hotel bellman tip                             Nader Tavangar;   Miscellaneous     Tips
                                                                                        The Mercury Group                                                                                                   services
1353   2018 158521   EXP-11886              5/1/2018 - 5/18/2018     Nader Tavangar     Executive VP / Managing Director at 5/2/2018    Cash Tips                       $      60.00 Dallas, TX             NRA Annual Meeting - Dallas Transportation Dallas driver tip                             Nader Tavangar;   Miscellaneous     Tips
                                                                                        The Mercury Group                                                                                                   services
1354   2018 158521   EXP-11886              5/1/2018 - 5/18/2018     Nader Tavangar     Executive VP / Managing Director at 5/7/2018    Cash Tips                       $      60.00 Dallas, TX             NRA Annual Meeting - Dallas Transportation Hotel valet - x2 for assistance during stay   Nader Tavangar;   Miscellaneous     Tips
                                                                                        The Mercury Group                                                                                                   services                                     tip
1355   2018 158521   EXP-11886              5/1/2018 - 5/18/2018     Nader Tavangar     Executive VP / Managing Director at 5/7/2018    Cash Tips                       $      80.00 Dallas, TX             NRA Annual Meeting - Dallas Transportation Dallas airport valet x3 tip                   Nader Tavangar;   Miscellaneous     Tips
                                                                                        The Mercury Group                                                                                                   services


1356   2018 158521   EXP-11886              5/1/2018 - 5/18/2018     Nader Tavangar     Executive VP / Managing Director at 5/3/2018    Cash Tips                       $     100.00 Dallas, TX             NRA Annual Meeting - Dallas Transportation Dallas driver tip                             Nader Tavangar;   Miscellaneous     Tips
                                                                                        The Mercury Group                                                                                                   services


1357   2018 158521   EXP-11886              5/1/2018 - 5/18/2018     Nader Tavangar     Executive VP / Managing Director at 5/5/2018    Cash Tips                       $     100.00 Dallas, TX             NRA Annual Meeting - Dallas Transportation Dallas driver tip                             Nader Tavangar;   Miscellaneous     Tips
                                                                                        The Mercury Group                                                                                                   services



1358   2018 158521   EXP-11886              5/1/2018 - 5/18/2018     Nader Tavangar     Executive VP / Managing Director at 5/5/2018    Cash Tips                       $     100.00 Dallas, TX             NRA Annual Meeting - Dallas Transportation Dallas driver tip                             Nader Tavangar;   Miscellaneous     Tips
                                                                                        The Mercury Group                                                                                                   services


1359   2018 158521   EXP-11886              5/1/2018 - 5/18/2018     Nader Tavangar     Executive VP / Managing Director at 5/7/2018    Cash Tips                       $     100.00 Dallas, TX             NRA Annual Meeting - Dallas Transportation Dallas driver tip                             Nader Tavangar;   Miscellaneous     Tips
                                                                                        The Mercury Group                                                                                                   services




1360   2018 158521   EXP-11886              5/1/2018 - 5/18/2018     Nader Tavangar     Executive VP / Managing Director at 5/3/2018    Cash Tips                       $     100.00 Dallas, TX             NRA Annual Meeting - Dallas Transportation Dallas hotel valet Tip                        Nader Tavangar;   Miscellaneous     Tips
                                                                                        The Mercury Group                                                                                                   services


1361   2018 158521   EXP-11886              5/1/2018 - 5/18/2018     Nader Tavangar     Executive VP / Managing Director at 5/4/2018    Cash Tips                       $     100.00 Dallas, TX             NRA Annual Meeting - Dallas Transportation Dallas driver (J. Byrd) Tip                   J Byrd;           Miscellaneous     Tips
                                                                                        The Mercury Group                                                                                                   services
1362   2018 158521   EXP-11886              5/1/2018 - 5/18/2018     Nader Tavangar     Executive VP / Managing Director at 5/6/2018    Cash Tips                       $     100.00 Dallas, TX             NRA Annual Meeting - Dallas Transportation Dallas driver (J. Byrd) tip                   J Byrd;           Miscellaneous     Tips
                                                                                        The Mercury Group                                                                                                   services
1363   2018 158521   EXP-11886              5/1/2018 - 5/18/2018     Nader Tavangar     Executive VP / Managing Director at 5/6/2018    Cash Tips                       $     100.00 Dallas, TX             NRA Annual Meeting - Dallas Transportation Dallas driver (J. Byrd) Tip                   J Byrd;           Miscellaneous     Tips
                                                                                        The Mercury Group                                                                                                   services
1364   2018 158521   EXP-11886              5/1/2018 - 5/18/2018     Nader Tavangar     Executive VP / Managing Director at 5/4/2018    Cash Tips                       $     100.00 Dallas, TX             NRA Annual Meeting - Dallas Transportation Per diem for J. Byrd during travel to         J Byrd;           Miscellaneous     Tips
                                                                                        The Mercury Group                                                                                                   services                                     convention Tip



1365   2018 158521   EXP-11886              5/1/2018 - 5/18/2018     Nader Tavangar     Executive VP / Managing Director at 5/3/2018    Cash Tips                       $     200.00 Dallas, TX             NRA Annual Meeting - Dallas Transportation Dallas driver (J. Byrd) per diem              J Byrd;           Miscellaneous     Tips
                                                                                        The Mercury Group                                                                                                   services
1366   2018 154261   C74AE674200D42CABE50   11/8/2017                Nader Tavangar     EVP / Managing Director            11/5/2017    DFW                             $       2.00 Dallas, TX             November                                     Toll charge to collect invited guest from   Nader Tavangar;   Auto              Toll
                                                                                                                                                                                                                                                         airport



1367   2016 136165   EXP-6800               1/11/2016 to 2/1/2016    Danielle Gregory   Executive Assistant                1/14/2016    Dunkin Donuts                   $       6.13 Dallas, TX             NR OOP January expenses                      breakfast NT - meeting in Dallas with W     NT;               Meals/Beverages   Individual
                                                                                                                                                                                                                                                         for FSP shoot and presentation




                                                                                                                                                                                                                                                                                                                                                       APP. 02101
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1368        2018 154707          6EOF5662264C4B639269   1/16/2018               Nader Tavangar     Executive VP / Managing Director at 1/5/2018    Four Seasons              $     11.54 Dallas, TX    January                                     Travel for DSC show and meetings with        Nader Tavangar;              Travel            Lodging
                                                                                                   The Mercury Group                                                                                                                               AM on current events



1369        2018 155996          346C1D9C8C2049D6B71F   2/15/2018               Nader Tavangar     Executive VP / Managing Director at 2/9/2018    Four Seasons              $    117.43 Dallas, TX    Feb18                                       Travel with W D funeral                      Nader Tavangar;              Travel            Lodging
                                                                                                   The Mercury Group



1370        2017 152775          713A46CF2A39489F8701   9/27/2017               Nader Tavangar     Executive VP / Managing Director at 9/22/2017   Four Seasons              $   1,575.54 Dallas, TX   2-Sep                                       WLF Summit meetings Hotel room and           NT; TS;                      Travel            Lodging
                                                                                                   The Mercury Group                                                                                                                               tax/laundry/food - NT/TS



1371        2018 154707          6EOF5662264C4B639269   1/16/2018               Nader Tavangar     Executive VP / Managing Director at 1/5/2018    Four Seasons              $   1,696.38 Dallas, TX   January                                     Travel for DSC show and meetings with        Nader Tavangar;              Travel            Lodging      Arrival: 01/02/18
                                                                                                   The Mercury Group                                                                                                                               AM on current events                                                                                     Departure: 01/05/18
                                                                                                                                                                                                                                                                                                                                                            Guest: Nader Tavangar
                                                                                                                                                                                                                                                                                                                                                            Amount: $$1696.38
1372        2018 154261          C74AE674200D42CABE50   11/8/2017               Nader Tavangar     EVP / Managing Director            11/6/2017    Four Seasons              $   2,273.92 Dallas, TX   November                                    Travel to TX for race sponsorship            Nader Tavangar;              Travel            Lodging
                                                                                                                                                                                                                                                   agreement/ROF magazine feature



1373        2017 148749          EXP-10508              3/10/2017 - 5/9/2017    Nader Tavangar     Executive VP / Managing Director at 3/10/2017   Go Go Wifi                $     26.95 Dallas, TX    Travel to Dallas, TX for meetings with AM   In flight wifi to communicate with staff and Nader Tavangar;              Travel            Other
                                                                                                   The Mercury Group                                                                                   on NRAAM, CG and presentation to CoPart client via email/text
                                                                                                                                                                                                       for CFF campaign (SK)


1374        2017 148749          EXP-10508              3/10/2017 - 5/9/2017    Nader Tavangar     Executive VP / Managing Director at 3/13/2017   Go Go Wifi                $     32.42 Dallas, TX    Travel to Dallas, TX for meetings with AM   In flight wifi to communicate with staff and Nader Tavangar;              Travel            Other
                                                                                                   The Mercury Group                                                                                   on NRAAM, CG and presentation to CoPart client via email/text
                                                                                                                                                                                                       for CFF campaign (SK)


1375        2018 154261          C74AE674200D42CABE50   11/8/2017               Nader Tavangar     EVP / Managing Director            11/5/2017    Hertz                     $    462.76 Dallas, TX    November                                    Car rental for TX race/donor transport       Nader Tavangar;              Auto              Car Rental




1376        2018 158521          9D47EF1FE0084EZB8319   5/8/2018                Nader Tavangar     Executive VP / Managing Director at 5/8/2018    Mansion on Turtle Creek   $   8,414.71 Dallas, TX   May18                                       Hotel Room and tax, laundry and dining       NT;                          Travel            Lodging      Arrival: 05/01/18
                                                                                                   The Mercury Group                                                                                                                               for NT during NRA convention                                                                             Departure: 05/08/18
1377        2017 150457          4D48C7B00DD4454AB1BA   6/22/2017               Nader Tavangar     Executive VP / Managing Director at 6/16/2017   Mansion Turtle Creek      $   1,836.59 Dallas, TX   Travel to Nashville for CMA Meetings,       hotel for NT for travel to DFW               NT;                          Travel            Lodging
                                                                                                   The Mercury Group                                                                                   Belmont U



1378        2018 158521          9D47EF1FE0084EZB8319   5/8/2018                Nader Tavangar     Executive VP / Managing Director at 5/5/2018    NRAStore                  $    132.00 Dallas, TX    May18                                       Event merchandise purchase for J. Byrd       J Byrd;                      Miscellaneous     Other        9 items purchased (hats and t shirts) for $132.00
                                                                                                   The Mercury Group                                                                                                                               attending NRA AM approved



1379        2016 136859          EXP-6868               2/10/2016 - 2/11/2016   Danielle Gregory   Executive Assistant                2/10/2016    Omni Hotel                $   (661.77) Dallas, TX   Additional charge and corrections from      Correction from expense report 6672-not Nader Tavangar;                   Travel            Lodging
                                                                                                                                                                                                       previous reports                            paid by Nader


1380        2016 136165          EXP-6672               1/6/2016 to 1/25/2016   Danielle Gregory   Executive Assistant                1/6/2016     Omni Hotel                $    173.98 Dallas, TX    January OOP expenses                        Dining (D. kriley/S.Kriley) at the request of D Kriley; S Kriley; Nader   Meals/Beverages   Group
                                                                                                                                                                                                                                                   C. Dewitt                                    Tavangar;



1381   4    2016 136165          EXP-6672               1/6/2016 to 1/25/2016   Danielle Gregory   Executive Assistant                1/6/2016     Omni Hotel                $    194.79 Dallas, TX    January OOP expenses                        Omni hotel deposit                           Nader Tavangar;              Travel            Lodging




1382        2016 136165          EXP-6672               1/6/2016 to 1/25/2016   Danielle Gregory   Executive Assistant                1/6/2016     Omni Hotel                $    487.79 Dallas, TX    January OOP expenses                        Hotel room charge and tax (3 nights)         Nader Tavangar;              Travel            Lodging




1383        2017 145564          EXP-9523               11/3/16 - 12/22/16      Nader Tavangar     EVP / Managing Director at The     12/7/2016    Paradies                  $      7.56 Dallas, TX    executive travel and misc purchases         dinner NT - during travel to dallas for      NT;                          Meals/Beverages   Individual
                                                                                                   Mercury Group                                                                                                                                   current events comm/CCL


1384        2016 141517          EXP-8051               3/5/2016 - 7/12/2016    Danielle Gregory   Executive Assistant                3/9/2016     Paradies                  $      8.64 Dallas, TX    NR OOP miscellaneous expenses. (SG)         Dallas/OKC trip (KW OTT mtg) lunch N.        Nader Tavangar;              Meals/Beverages   Individual
                                                                                                                                                                                                                                                   Tavangar



1385        2018 159388          40613652050848B7B98E   6/6/2018                Nader Tavangar     Executive VP / Managing Director at 6/6/2018    Ritz Carlton              $    644.30 Dallas, TX    Nader Tavangar Expense Report (Concur)      Travel with OLN for AH meeting with          Nader Tavangar;              Travel            Lodging
                                                                                                   The Mercury Group                                                                                                                               CW/HM and FSP shoot



1386        2018 157570          8F41F718E3D441568868   4/5/2018                Nader Tavangar     Executive VP / Managing Director at 4/9/2018    Ritz Carlton              $    681.48 Dallas, TX    April18                                     Hotel room and tax plus lunch - NT/TS        NT; TS;                      Travel            Lodging      Arrival date: 04/08/18
                                                                                                   The Mercury Group                                                                                                                               during travel to Dallas for meeting with                                                                 Departure date: 04/09/18
1387        2017 145564          EXP-9523               11/3/16 - 12/22/16      Nader Tavangar     EVP / Managing Director at The     12/7/2016    Ritz Carlton              $    760.64 Dallas, TX    executive travel and misc purchases         hotel room and tax - dallas mtg re current Unknown;                       Travel            Lodging
                                                                                                   Mercury Group                                                                                                                                   events/CCL
1388        2018 154706/155170   1A1CC7F4725548009361   12/13/2017              Nader Tavangar     Executive VP / Managing Director at 12/6/2017   Ritz Carlton              $    807.98 Dallas, TX    December                                    Hotel room and tax during presentation -     Jay A Freeman;               Travel            Lodging      Arrival: 12/05/17
                                                                                                   The Mercury Group                                                                                                                               cars for Freedom/Jay A.                                                                                  Departure: 12/06/17
                                                                                                                                                                                                                                                                                                                                                            Amount: $807.98


1389   10   2017 152775          7F8296F587114923A0C7   9/7/2017                Nader Tavangar     Executive VP / Managing Director at 9/6/2017    Ritz Carlton              $   1,323.10 Dallas, TX   September                                   DFW mtg with AM/W current events             AM; W;                       Travel            Lodging
                                                                                                   The Mercury Group                                                                                                                               future planning incl food/laundry



1390        2018 155996          346C1D9C8C2049D6B71F   2/15/2018               Nader Tavangar     Executive VP / Managing Director at 2/21/2018   Ritz Carlton              $   1,345.64 Dallas, TX   Feb18                                       Travel with W to DAL for meeting on          Nader Tavangar;              Travel            Lodging
                                                                                                   The Mercury Group                                                                                                                               current events and CPAC speech




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1391           2017 148749          EXP-10508              3/10/2017 - 5/9/2017    Nader Tavangar   Executive VP / Managing Director at 3/13/2017    Ritz Carlton               $   1,840.71 Dallas, TX        Travel to Dallas, TX for meetings with AM     Hotel room and tax                            Nader Tavangar;     Travel            Lodging
                                                                                                    The Mercury Group                                                                                          on NRAAM, CG and presentation to CoPart
                                                                                                                                                                                                               for CFF campaign (SK)


1392           2017 153476          FEC63AFC7EA04775A9D6   10/12/2017              Nader Tavangar   Executive VP / Managing Director at 10/6/2017    Ritz Carlton               $   2,232.44 Dallas, TX        October                                       Hotel room, tax and laundry during travel     Nader Tavangar;     Travel            Lodging
                                                                                                    The Mercury Group                                                                                                                                        to Dallas for Current



1393   5       2017 145564          EXP-9523               11/3/16 - 12/22/16      Nader Tavangar   EVP / Managing Director at The     12/16/2016    Smoke Zone                 $    180.00 Dallas, TX         executive travel and misc purchases           donor items requested by TM                   TM;                 Miscellaneous     Gift
                                                                                                    Mercury Group
1394   10; 5   2017 145564          EXP-9523               11/3/16 - 12/22/16      Nader Tavangar   EVP / Managing Director at The     12/11/2016    Smoke Zone                 $   1,900.00 Dallas, TX        executive travel and misc purchases           donor items requested by TS                   TS;                 Miscellaneous     Gift
                                                                                                    Mercury Group
1395   5       2017 145564          EXP-9523               11/3/16 - 12/22/16      Nader Tavangar   EVP / Managing Director at The     12/11/2016    Smoke Zone                 $   2,400.00 Dallas, TX        executive travel and misc purchases           donor items requested by TM                   TM;                 Miscellaneous     Gift
                                                                                                    Mercury Group
1396           2017 150457          7544D308BE914C298353   6/21/2017               Nader Tavangar   Executive VP / Managing Director at 6/13/2017    Town Earth                 $    405.16 Dallas, TX         Dallas, TX                                    Dinner with TS, NT, MM, DM during             TS; NT; MM; DM;     Meals/Beverages   Group
                                                                                                    The Mercury Group                                                                                                                                        Dallas trip to present Cars For Freedom
1397           2018 158521          9D47EF1FE0084EZB8319   5/8/2018                Nader Tavangar   Executive VP / Managing Director at 5/1/2018     Trulucks                   $    781.67 Dallas, TX         May18                                         Billable N R OOP Dinner with W, S, CS,        W; S; CS; CK; NT;   Meals/Beverages   Group        Date: 05/01/18
                                                                                                    The Mercury Group                                                                                                                                        CK, NT during travel to Dallas for NRA                                                           Amount: $781.67
1398           2018 154706/155170   1A1CC7F4725548009361   12/13/2017              Nader Tavangar   Executive VP / Managing Director at 12/12/2017   Hyatt                      $       8.00 Fairfax, VA       December                                      Guests at the hotel and likely for water      Nader Tavangar;     Travel            Lodging
                                                                                                    The Mercury Group                                                                                                                                        during stay


1399           2018 154706/155170   1A1CC7F4725548009361   12/13/2017              Nader Tavangar   Executive VP / Managing Director at 12/12/2017   Hyatt                      $       8.00 Fairfax, VA       December                                      Guests at the hotel and likely for water      Nader Tavangar;     Travel            Lodging
                                                                                                    The Mercury Group                                                                                                                                        during stay
1400           2018 154706/155170   1A1CC7F4725548009361   12/13/2017              Nader Tavangar   Executive VP / Managing Director at 12/10/2017   Hyatt                      $     15.90 Fairfax, VA        December                                      Waters for initial team meeting with          TWAW;               Travel            Lodging
                                                                                                    The Mercury Group                                                                                                                                        interview subjects - interview with
1401           2018 154706/155170   1A1CC7F4725548009361   12/13/2017              Nader Tavangar   Executive VP / Managing Director at 12/12/2017   Hyatt                      $     20.95 Fairfax, VA        December                                      Room, tax , incidentals for A. Suris during   A Suris;            Travel            Lodging
                                                                                                    The Mercury Group                                                                                                                                        interview for NRA
1402           2018 154706/155170   1A1CC7F4725548009361   12/13/2017              Nader Tavangar   Executive VP / Managing Director at 12/12/2017   Hyatt                      $     20.95 Fairfax, VA        December                                      Room, tax , incidentals for J. Park during    J Park;             Travel            Lodging
                                                                                                    The Mercury Group                                                                                                                                        interview for NRA
1403           2018 154706/155170   1A1CC7F4725548009361   12/13/2017              Nader Tavangar   Executive VP / Managing Director at 12/12/2017   Hyatt                      $     57.30 Fairfax, VA        December                                      Room, tax incidentals for C. Comfort          C Comfort;          Travel            Lodging
                                                                                                    The Mercury Group                                                                                                                                        during interview for NRA
1404           2018 154706/155170   1A1CC7F4725548009361   12/13/2017              Nader Tavangar   Executive VP / Managing Director at 12/12/2017   Hyatt                      $    300.16 Fairfax, VA        December                                      Room, tax , incidentals for P. Harold         P Harold;           Travel            Lodging      Arrival: 12/10/17
                                                                                                    The Mercury Group                                                                                                                                        during interview for NRA                                                                         Departure: 12/12/17
1405           2018 154706/155170   1A1CC7F4725548009361   12/13/2017              Nader Tavangar   Executive VP / Managing Director at 12/12/2017   Hyatt                      $    325.81 Fairfax, VA        December                                      Room, tax , incidentals for J. Park during    J Park;             Travel            Lodging      Arrival: 12/10/17
                                                                                                    The Mercury Group                                                                                                                                        interview for NRA                                                                                Departure: 12/12/17
1406           2018 154706/155170   1A1CC7F4725548009361   12/13/2017              Nader Tavangar   Executive VP / Managing Director at 12/12/2017   Hyatt                      $    332.66 Fairfax, VA        December                                      Room, tax , incidentals for A. Suris during   A Suris;            Travel            Lodging      Arrival: 12/10/17
                                                                                                    The Mercury Group                                                                                                                                        interview for NRA                                                                                Departure: 12/12/17
1407           2018 154706/155170   1A1CC7F4725548009361   12/13/2017              Nader Tavangar   Executive VP / Managing Director at 12/12/2017   Hyatt                      $    342.36 Fairfax, VA        December                                      Room, tax incidentals for C. Comfort          C Comfort;          Travel            Lodging      Arrival: 12/10/17
                                                                                                    The Mercury Group                                                                                                                                        during interview for NRA                                                                         Departure: 12/12/17
1408           2018 154706/155170   1A1CC7F4725548009361   12/13/2017              Nader Tavangar   Executive VP / Managing Director at 12/12/2017   Hyatt                      $    345.75 Fairfax, VA        December                                      Room, tax , incidentals for R. Compton        R Compton;          Travel            Lodging      Arrival: 12/10/17
                                                                                                    The Mercury Group                                                                                                                                        during interview for NRA                                                                         Departure: 12/12/17
1409           2018 154706/155170   1A1CC7F4725548009361   12/13/2017              Nader Tavangar   Executive VP / Managing Director at 12/12/2017   Hyatt                      $    359.23 Fairfax, VA        December                                      Room, tax , incidentals for C. Lightfoot      C Lightfoot;        Travel            Lodging      Arrival: 12/10/17
                                                                                                    The Mercury Group                                                                                                                                        during interview for NRA                                                                         Departure: 12/12/17
1410           2018 154706/155170   1A1CC7F4725548009361   12/13/2017              Nader Tavangar   Executive VP / Managing Director at 12/11/2017   Panera Bread               $    209.75 Fairfax, VA        December                                      Lunch order for 15 - TWAW                     TWAW;               Meals/Beverages   Individual   People served: 16
                                                                                                    The Mercury Group
1411           2018 154706/155170   1A1CC7F4725548009361   12/13/2017              Nader Tavangar   Executive VP / Managing Director at 12/11/2017   Ruth's Chris Steak House   $   2,010.60 Fairfax, VA       December                                      Dinner with TWAW ladies prior to 12/10 TWAW;                      Meals/Beverages   Individual   Date: 12/10/17
                                                                                                    The Mercury Group                                                                                                                                        interview for NRA                                                                                Amount: $1635.60
                                                                                                                                                                                                                                                                                                                                                              Tip: $375.00
1412           2017 150823          C9DE02FA6577488598C5   7/26/2017               Nader Tavangar   Executive VP / Managing Director at 7/20/2017    Hertz                      $    122.43 Florida            July expenses 2                               7/20 travel to FL friends dinner              Nader Tavangar;     Auto              Car Rental
                                                                                                    The Mercury Group


1413           2017 146420          EXP-9803               1/11/2017-              Nader Tavangar   EVP / Managing Director at The     1/12/2017     Cibo                       $       9.49 Houston, TX       Houston Safari Club Presentations (SG)        Breakfast NT                                  NT;                 Meals/Beverages   Individual
                                                           1/25/2017                                Mercury Group


1414           2017 146420          EXP-9803               1/11/2017-              Nader Tavangar   EVP / Managing Director at The     1/14/2017     CVS                        $     21.47 Houston, TX        Houston Safari Club Presentations (SG)        Sundries requested by W and TM                W; TM;              Miscellaneous     Other
                                                           1/25/2017                                Mercury Group


1415           2017 150457          EXP-9803               1/11/2017-              Nader Tavangar   Executive VP / Managing Director at 1/14/2017    Eleven Wireless            $     (10.09) Houston, TX      Houston Safari Club Presentations (SG)        hotel business center computer and            Nader Tavangar;     Miscellaneous     Other
                                                           1/25/2017                                The Mercury Group                                                                                                                                        printing charges


1416           2017 146420          EXP-9803               1/11/2017-              Nader Tavangar   EVP / Managing Director at The     1/13/2017     Eleven Wireless            $     10.09 Houston, TX        Houston Safari Club Presentations (SG)        hotel business center computer and            Nader Tavangar;     Miscellaneous     Other
                                                           1/25/2017                                Mercury Group                                                                                                                                            printing charges


1417   10      2017 146420          EXP-9803               1/11/2017-              Nader Tavangar   EVP / Managing Director at The     1/14/2017     HEB                        $     17.43 Houston, TX        Houston Safari Club Presentations (SG)        snacks for W                                  W;                  Meals/Beverages   Individual
                                                           1/25/2017                                Mercury Group


1418           2017 146420          EXP-9803               1/11/2017-              Nader Tavangar   EVP / Managing Director at The     1/14/2017     Liberty Kitchen            $    140.43 Houston, TX        Houston Safari Club Presentations (SG)        Lunch NT, CM, TM                              NT; CM; TM;         Meals/Beverages   Group
                                                           1/25/2017                                Mercury Group


1419           2017 146420          EXP-9803               1/11/2017-              Nader Tavangar   EVP / Managing Director at The     1/12/2017     Ragin Cajun                $     56.28 Houston, TX        Houston Safari Club Presentations (SG)        Dinner NT                                     NT;                 Meals/Beverages   Individual
                                                           1/25/2017                                Mercury Group


1420           2017 146420          EXP-9803               1/11/2017-              Nader Tavangar   EVP / Managing Director at The     1/15/2017     St. Regis                  $   1,335.97 Houston, TX       Houston Safari Club Presentations (SG)        Hotel, laundry, wifi, room                    Nader Tavangar;     Travel            Lodging
                                                           1/25/2017                                Mercury Group


1421           2016 142347          EXP-8580               5/24/16 to 9/8/16       Nader Tavangar   EVP / Managing Director at The     7/7/2016      Hertz                      $    840.18 Jackson, Wyoming   Misc travel expenses related to travel with   rental car for WY during travel with W for Nader Tavangar;        Auto              Car Rental
                                                                                                    Mercury Group                                                                                              W and special projects (SG)                   speaking engagement


1422           2017 153476          EXP-11178              9/18/2017 - 10/6/2017   Nader Tavangar   Executive VP / Managing Director at 10/6/2017    Cash Tips                  $     20.00 Kansas             Travel with W to MT, UT, CA, TX, and KS       KS airport valet assistance with car rental   Nader Tavangar;     Miscellaneous     Tips
                                                                                                    The Mercury Group                                                                                          for various events/meetings/speaking
                                                                                                                                                                                                               engagements




                                                                                                                                                                                                                                                                                                                                                                                    APP. 02103
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1423       2016 139727          EXP-7642               4/15/2016 to 5/25/2016   Danielle Gregory   Executive Assistant                4/15/2016    Kiawah Island Golf Resort   $      30.16 Kiawah Island, SC   NR OOP misc. Expenses/ Charleston SC trip Travel with Wayne to SC - remaining               Nader Tavangar;               Travel            Lodging
                                                                                                                                                                                                                for donor event at Brays Island- Wayne        amount on report 7404
                                                                                                                                                                                                                Speech (SG)
1424       2016 139727          EXP-7404               4/15/2016 to 5/17/2016   Danielle Gregory   Executive Assistant                4/15/2016    Kiawah Island Golf Resort   $     613.12 Kiawah Island, SC   Travel with Wayne to South Carolina for       Includes room, tax, breakfast for 1 (N.       Nader Tavangar;               Travel            Lodging
                                                                                                                                                                                                                fundraising event (SG)                        Tavangar) and car transportation to airport


1425   4   2016 142347          EXP-8580               5/24/16 to 9/8/16        Nader Tavangar     EVP / Managing Director at The     8/2/2016     Marriott                    $    2,000.00 Kingsport, TN      Misc travel expenses related to travel with   hotel room deposit for donor rooms            Dewitt; Nader Tavangar; M     Travel            Lodging
                                                                                                   Mercury Group                                                                                                W and special projects (SG)                   during fall night race                        Allen; Kozuch; Johnson;
                                                                                                                                                                                                                                                                                                            Jimeson; Gregory; Van Horn;
1426       2016 142347          EXP-8463               8/18/16 to 8/23/16       Shahada Kari       Production Assistant at Amc        8/18/2016    Marriott                    $   20,028.37 Kingsport, TN      August NR OOP                                 Room and tax charges for 16 during NRA Dewitt; Nader Tavangar; M            Travel            Lodging      MeadowView Conference Resort & Conferene Center under
                                                                                                                                                                                                                                                              Bristol night race; see attachment for        Allen; Kozuch; Johnson;                                      the name "Mercury Group" for "NRA Fall Race"
                                                                                                                                                                                                                                                              names                                         Jimeson; Gregory; Van Horn;
1427       2017 151745          B03030AEC14E4D879E1D   8/2/2017                 Nader Tavangar     Executive VP / Managing Director at 8/23/2017   Starbucks                   $       7.82 Korea               August                                        Travel with G Shepstone ROF member            Nader Tavangar; G Shepstone; Meals/Beverages    Group
                                                                                                   The Mercury Group


1428       2016 136165          EXP-6783               1/15/2016 to 2/10/2016   Danielle Gregory   Executive Assistant                1/19/2016    ?? 5225                     $     386.71 Las Vegas, NV       Travel with Wayne to las Vegas for Shot       Lunch: TS, TM, AF, W, NT, CK, CM              TS; TM; AF; W; NT; CK; CM; Meals/Beverages      Group
                                                                                                                                                                                                                show



1429       2016 136165          EXP-6783               1/15/2016 to 2/10/2016   Danielle Gregory   Executive Assistant                1/21/2016    Cash Tips                   $      20.00 Las Vegas, NV       Travel with Wayne to las Vegas for Shot       tip - car from airport to office              Nader Tavangar;               Miscellaneous     Tips
                                                                                                                                                                                                                show



1430       2016 136165          EXP-6783               1/15/2016 to 2/10/2016   Danielle Gregory   Executive Assistant                1/18/2016    Cash Tips                   $      20.00 Las Vegas, NV       Travel with Wayne to las Vegas for Shot       tip - car service to hotel                    Nader Tavangar;               Miscellaneous     Tips
                                                                                                                                                                                                                show
1431       2016 136165          EXP-6783               1/15/2016 to 2/10/2016   Danielle Gregory   Executive Assistant                1/20/2016    Cash Tips                   $      20.00 Las Vegas, NV       Travel with Wayne to las Vegas for Shot       tip - car to airport                          Nader Tavangar;               Miscellaneous     Tips
                                                                                                                                                                                                                show



1432       2016 136165          EXP-6783               1/15/2016 to 2/10/2016   Danielle Gregory   Executive Assistant                1/18/2016    Cash Tips                   $      20.00 Las Vegas, NV       Travel with Wayne to las Vegas for Shot       tip - luggage to room                         Nader Tavangar;               Miscellaneous     Tips
                                                                                                                                                                                                                show



1433       2017 147112          EXP-10070              1/31/17 - 2/23/17        Nader Tavangar     EVP / Managing Director at The     2/4/2017     Cash Tips                   $      40.00 Las Vegas, NV       Travel to LV SCI Show                         LV airport valet -luggage x4                  Nader Tavangar;               Miscellaneous     Tips
                                                                                                   Mercury Group
1434       2016 136165          EXP-6783               1/15/2016 to 2/10/2016   Danielle Gregory   Executive Assistant                1/19/2016    Cash Tips                   $      40.00 Las Vegas, NV       Travel with Wayne to las Vegas for Shot       tip - hotel bell men                          Unknown;                      Miscellaneous     Tips
                                                                                                                                                                                                                show


1435       2016 136165          EXP-6783               1/15/2016 to 2/10/2016   Danielle Gregory   Executive Assistant                1/21/2016    Cash Tips                   $      40.00 Las Vegas, NV       Travel with Wayne to las Vegas for Shot       tip - DC airport valet                        Nader Tavangar;               Miscellaneous     Tips
                                                                                                                                                                                                                show


1436       2016 136165          EXP-6783               1/15/2016 to 2/10/2016   Danielle Gregory   Executive Assistant                1/19/2016    Cash Tips                   $      40.00 Las Vegas, NV       Travel with Wayne to las Vegas for Shot       tip - joe's restaurant maitre'd - lunch       Nader Tavangar;               Miscellaneous     Tips
                                                                                                                                                                                                                show


1437       2016 136165          EXP-6783               1/15/2016 to 2/10/2016   Danielle Gregory   Executive Assistant                1/20/2016    Cash Tips                   $      40.00 Las Vegas, NV       Travel with Wayne to las Vegas for Shot       tip - las Vegas valet                         Nader Tavangar;               Miscellaneous     Tips
                                                                                                                                                                                                                show
1438       2016 136165          EXP-6783               1/15/2016 to 2/10/2016   Danielle Gregory   Executive Assistant                1/18/2016    Cash Tips                   $      50.00 Las Vegas, NV       Travel with Wayne to las Vegas for Shot       Tip - Joe's restaurant maitre'd - dinner      Nader Tavangar;               Miscellaneous     Tips
                                                                                                                                                                                                                show



1439       2016 136165          EXP-6783               1/15/2016 to 2/10/2016   Danielle Gregory   Executive Assistant                1/18/2016    Cash Tips                   $      50.00 Las Vegas, NV       Travel with Wayne to las Vegas for Shot       tip - SW steakhouse maitre'd                  Nader Tavangar;               Miscellaneous     Tips
                                                                                                                                                                                                                show


1440       2017 147112          EXP-10070              1/31/17 - 2/23/17        Nader Tavangar     EVP / Managing Director at The     1/31/2017    Cash Tips                   $      80.00 Las Vegas, NV       Travel to LV SCI Show                         LV airport valet x2 luggage assistance for 5 Nader Tavangar;                Miscellaneous     Tips
                                                                                                   Mercury Group


1441       2016 136165          EXP-6783               1/15/2016 to 2/10/2016   Danielle Gregory   Executive Assistant                1/19/2016    Cash Tips                   $     100.00 Las Vegas, NV       Travel with Wayne to las Vegas for Shot       tip - driver                                  Nader Tavangar;               Miscellaneous     Tips
                                                                                                                                                                                                                show


1442       2016 136165          EXP-6783               1/15/2016 to 2/10/2016   Danielle Gregory   Executive Assistant                1/19/2016    Centra Lounge               $      19.30 Las Vegas, NV       Travel with Wayne to las Vegas for Shot       drinks for donor/NT                           Donor; NT;                    Meals/Beverages   Group
                                                                                                                                                                                                                show


1443       2016 136165          EXP-6783               1/15/2016 to 2/10/2016   Danielle Gregory   Executive Assistant                1/19/2016    Delano                      $      33.60 Las Vegas, NV       Travel with Wayne to las Vegas for Shot       resort fee                                    Nader Tavangar;               Travel            Lodging      Guest: Nader Tavangar
                                                                                                                                                                                                                show                                                                                                                                                     Arrive: 1/19/16 Depart: 1/20/16


1444       2016 136165          EXP-6783               1/15/2016 to 2/10/2016   Danielle Gregory   Executive Assistant                1/18/2016    Dunkin Donuts               $       2.52 Las Vegas, NV       Travel with Wayne to las Vegas for Shot       coffee                                        Nader Tavangar;               Meals/Beverages   Individual
                                                                                                                                                                                                                show


1445       2018 154706/155170   1A1CC7F4725548009361   12/13/2017               Nader Tavangar     Executive VP / Managing Director at 12/1/2017   Four Seasons                $    (758.88) Las Vegas, NV      December                                      Hotel credit for cancelation                  Nader Tavangar;               Travel            Lodging      Arrival: 01/30/18
                                                                                                   The Mercury Group                                                                                                                                                                                                                                                     Departure: 02/04/18
                                                                                                                                                                                                                                                                                                                                                                         Cancellation
1446   4   2018 154707          F4EC047425544C8DA759   1/31/2018                Nader Tavangar     Executive VP / Managing Director at 1/16/2018   Four Seasons                $     463.72 Las Vegas, NV       JAN18                                         Hotel Deposit - MD 2 approved by TM           MD;                           Travel            Lodging
                                                                                                   The Mercury Group                                                                                                                                          during SCI show
1447   4   2018 154707          F4EC047425544C8DA759   1/31/2018                Nader Tavangar     Executive VP / Managing Director at 1/16/2018   Four Seasons                $     463.72 Las Vegas, NV       JAN18                                         Hotel Deposit - MD approved by TM             MD;                           Travel            Lodging
                                                                                                   The Mercury Group                                                                                                                                          during SCI show


1448       2016 136165          EXP-6783               1/15/2016 to 2/10/2016   Danielle Gregory   Executive Assistant                1/18/2016    Four Seasons                $    4,814.90 Las Vegas, NV      Travel with Wayne to las Vegas for Shot       hotel stay x 4, food an bev for NRA staff     Nader Tavangar; NRA Staff;    Travel            Lodging      Guest: Nader Tavangar
                                                                                                                                                                                                                show                                          and donors
                                                                                                                                                                                                                                                                                                                                                                         Arrive: 1/18/16 Depart: 1/22/16
1449       2016 136165          EXP-6672               1/6/2016 to 1/25/2016    Danielle Gregory   Executive Assistant                1/14/2016    Go Go Wifi                  $      25.93 Las Vegas, NV       January OOP expenses                          in flight internet                            Nader Tavangar;               Travel            Other




                                                                                                                                                                                                                                                                                                                                                                                                            APP. 02104
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1450        2016 136165   EXP-6783    1/15/2016 to 2/10/2016   Danielle Gregory   Executive Assistant              1/18/2016   Go Go Wifi          $     29.95 Las Vegas, NV       Travel with Wayne to las Vegas for Shot      in flight internet                         Nader Tavangar;               Travel            Other        Gogo flight pass via printed email receipt
                                                                                                                                                                                   show
1451        2016 136859   EXP-7034    3/4/2016 - 3/4/2016      Danielle Gregory   Executive Assistant              3/4/2016    Joe's Seafood       $   (528.61) Las Vegas, NV      Correction on amount from expense report Lunch (W, S, TS, NT, CK)                       W; S; TS; NT; CK;             Meals/Beverages   Group
                                                                                                                                                                                   6926
1452   10   2016 136165   EXP-6783    1/15/2016 to 2/10/2016   Danielle Gregory   Executive Assistant              1/21/2016   Joe's Seafood       $     37.31 Las Vegas, NV       Travel with Wayne to las Vegas for Shot      lunch to go for SLP                        SLP;                          Meals/Beverages   Individual
                                                                                                                                                                                   show


1453        2016 136859   EXP-6926    1/27/2016 - 2/20/2016    Danielle Gregory   Executive Assistant              2/4/2016    Joe's Seafood       $     64.64 Las Vegas, NV       Travel with Wayne to SCI                     Lunch (DB)                                 DB;                           Meals/Beverages   Individual



1454        2016 136859   EXP-6868    2/10/2016 - 2/11/2016    Danielle Gregory   Executive Assistant              2/10/2016   Joe's Seafood       $     20.00 Las Vegas, NV       Additional charge and corrections from       Additional tip from expense report 6783    Nader Tavangar;               Miscellaneous     Tips
                                                                                                                                                                                   previous reports


1455        2017 147112   EXP-10070   1/31/17 - 2/23/17        Nader Tavangar     EVP / Managing Director at The   2/3/2017    Joe's Seafood       $    259.69 Las Vegas, NV       Travel to LV SCI Show                        Dinner w/ K. Hogan and CDW                 K Hogan; CDW; Nader           Meals/Beverages   Group
                                                                                  Mercury Group                                                                                                                                                                            Tavangar;



1456        2016 136859   EXP-6926    1/27/2016 - 2/20/2016    Danielle Gregory   Executive Assistant              2/5/2016    Joe's Seafood       $    317.94 Las Vegas, NV       Travel with Wayne to SCI                     Lunch (W, TS, NT, CK, DB)                  W; TS; NT; CK; DB;            Meals/Beverages   Group



1457        2016 136165   EXP-6783    1/15/2016 to 2/10/2016   Danielle Gregory   Executive Assistant              1/19/2016   Joe's Seafood       $    330.32 Las Vegas, NV       Travel with Wayne to las Vegas for Shot      lunch: TS, TM, AF, W, NT, CK, CM, Terry TS; TM; AF; W; NT; CK; CM; Meals/Beverages         Group
                                                                                                                                                                                   show                                         S                                          Terry S;


1458        2016 136165   EXP-6783    1/15/2016 to 2/10/2016   Danielle Gregory   Executive Assistant              1/20/2016   Joe's Seafood       $    386.71 Las Vegas, NV       Travel with Wayne to las Vegas for Shot      Lunch: TS, TM, AF, W, NT, CK, CM           TS; TM; AF; W; NT; CK; CM; Meals/Beverages      Group
                                                                                                                                                                                   show


1459        2016 136859   EXP-7034    3/4/2016 - 3/4/2016      Danielle Gregory   Executive Assistant              3/4/2016    Joe's Seafood       $    528.41 Las Vegas, NV       Correction on amount from expense report Lunch (W, S, TS, NT, CK)                       W; S; TS; NT; CK;             Meals/Beverages   Group
                                                                                                                                                                                   6926


1460        2016 136859   EXP-6926    1/27/2016 - 2/20/2016    Danielle Gregory   Executive Assistant              2/4/2016    Joe's Seafood       $    528.61 Las Vegas, NV       Travel with Wayne to SCI                     Lunch (W, TS, NT, CK, S)                   W; TS; NT; CK; CK; S;         Meals/Beverages   Group



1461        2016 136165   EXP-6783    1/15/2016 to 2/10/2016   Danielle Gregory   Executive Assistant              1/20/2016   Joe's Seafood       $    637.44 Las Vegas, NV       Travel with Wayne to las Vegas for Shot      lunch: TS, TM, AF, W, NT, CK, CM, Terry TS; TM; AF; W; NT; CK; CM; Meals/Beverages         Group
                                                                                                                                                                                   show                                         S                                          Terry S;


1462        2017 147112   EXP-10070   1/31/17 - 2/23/17        Nader Tavangar     EVP / Managing Director at The   2/3/2017    Joe's Seafood       $    681.41 Las Vegas, NV       Travel to LV SCI Show                        Lunch (W, S, TS, CK, CM, NT)               W; S; TS; CK; CM; NT;         Meals/Beverages   Group
                                                                                  Mercury Group


1463        2016 136859   EXP-6926    1/27/2016 - 2/20/2016    Danielle Gregory   Executive Assistant              2/3/2016    Joe's Seafood       $    723.64 Las Vegas, NV       Travel with Wayne to SCI                     lunch (W, TS, NT, CK, DB, BS)              W; TS; NT; CK; DB; BS;        Meals/Beverages   Group



1464        2016 136165   EXP-6783    1/15/2016 to 2/10/2016   Danielle Gregory   Executive Assistant              1/18/2016   Joe's Seafood       $   1,119.84 Las Vegas, NV      Travel with Wayne to las Vegas for Shot      dinner with W, TM, TS, NT, AF, S           W; TM; TS; NT; AF; S;         Meals/Beverages   Group
                                                                                                                                                                                   show


1465        2016 136165   EXP-6783    1/15/2016 to 2/10/2016   Danielle Gregory   Executive Assistant              1/19/2016   Mandalay Bay        $    284.89 Las Vegas, NV       Travel with Wayne to las Vegas for Shot      Hotel reservation for NRA donor K.         K Karakaya;                   Travel            Lodging      Email is sent to Nader
                                                                                                                                                                                   show                                         Karakaya                                                                                                Arrive: 1/19/16 Depart: 1/20/16


1466        2016 136165   EXP-6783    1/15/2016 to 2/10/2016   Danielle Gregory   Executive Assistant              1/18/2016   Paradies            $     10.99 Las Vegas, NV       Travel with Wayne to las Vegas for Shot      lunch at airport                           Nader Tavangar;               Meals/Beverages   Individual
                                                                                                                                                                                   show


1467        2016 136165   EXP-6783    1/15/2016 to 2/10/2016   Danielle Gregory   Executive Assistant              1/19/2016   RC 214 Steakhouse   $    339.03 Las Vegas, NV       Travel with Wayne to las Vegas for Shot      dinner with donor (K. Karakaya)            K Karakaya; Nader Tavangar;   Meals/Beverages   Group
                                                                                                                                                                                   show


1468        2016 136165   EXP-6783    1/15/2016 to 2/10/2016   Danielle Gregory   Executive Assistant              1/19/2016   Sands Concession    $     10.76 Las Vegas, NV       Travel with Wayne to las Vegas for Shot      refreshments                               Nader Tavangar;               Meals/Beverages   Individual
                                                                                                                                                                                   show


1469   10   2016 136165   EXP-6783    1/15/2016 to 2/10/2016   Danielle Gregory   Executive Assistant              1/18/2016   SHOT Show           $    250.00 Las Vegas, NV       Travel with Wayne to las Vegas for Shot      entry fees for convention                  Dionel M Avilez; Lance Olson; Miscellaneous     Other        Dional M. Aviles - Exhibitor guest - NRA - $50
                                                                                                                                                                                   show                                                                                    Jon Carter; Eric van Horn;                                   Lance Olson - Exhibitor guest - NRA - $50
                                                                                                                                                                                                                                                                           Anna Maria Hofman;                                           Jon Carter - Exhibitor guest - NRA - $50
1470        2016 136165   EXP-6783    1/15/2016 to 2/10/2016   Danielle Gregory   Executive Assistant              1/19/2016   Union Cab           $     21.80 Las Vegas, NV       Travel with Wayne to las Vegas for Shot      taxi return from convention floor          Nader Tavangar;               Auto              Taxi
                                                                                                                                                                                   show


1471        2017 147112   EXP-10053   1/3/17 - 2/22/17         Nader Tavangar     EVP / Managing Director at The   1/18/2017   Venetian            $    390.88 Las Vegas, NV       Misc OOP requests as directed                Hotel room and tax - D. Aviles requested   TM;                           Travel            Lodging
                                                                                  Mercury Group                                                                                                                                 by TM


1472        2016 136165   EXP-6783    1/15/2016 to 2/10/2016   Danielle Gregory   Executive Assistant              1/19/2016   VeriFone            $     22.81 Las Vegas, NV       Travel with Wayne to las Vegas for Shot      taxi to convention floor from hotel        Nader Tavangar;               Auto              Taxi         Start: 1/19/16 21:05
                                                                                                                                                                                   show                                                                                                                                                 End: 1/19/16 21:15


1473        2016 136165   EXP-6783    1/15/2016 to 2/10/2016   Danielle Gregory   Executive Assistant              1/20/2016   VeriFone            $     23.66 Las Vegas, NV       Travel with Wayne to las Vegas for Shot      taxi form convention floor to hotel        Nader Tavangar;               Auto              Taxi         Start: 1/2016 16:17
                                                                                                                                                                                   show                                                                                                                                                 End: 1/20/16 16:27


1474        2016 136165   EXP-6783    1/15/2016 to 2/10/2016   Danielle Gregory   Executive Assistant              1/19/2016   VeriFone            $     28.18 Las Vegas, NV       Travel with Wayne to las Vegas for Shot      taxi to convention                         Nader Tavangar;               Auto              Taxi         Start: 1/19/16 3:27pm
                                                                                                                                                                                   show                                                                                                                                                 End: 1/19/16 3:45pm


1475   10   2016 136165   EXP-6783    1/15/2016 to 2/10/2016   Danielle Gregory   Executive Assistant              1/19/2016   Walgreens           $     32.41 Las Vegas, NV       Travel with Wayne to las Vegas for Shot      sundries for Wayne                         Wayne;                        Miscellaneous     Other
                                                                                                                                                                                   show


1476        2017 147112   EXP-10040   2/6/17 - 2/20/17         Nader Tavangar     EVP / Managing Director at The   2/6/2017    Cash Tips           $     20.00 Los Angeles, CA     Travel to CA for St. H speech/presentation   Driver tip LA airport to hotel             Nader Tavangar;               Miscellaneous     Tips
                                                                                  Mercury Group                                                                                    (NRAH)


1477        2017 147112   EXP-10040   2/6/17 - 2/20/17         Nader Tavangar     EVP / Managing Director at The   2/6/2017    Cash Tips           $     40.00   Los Angeles, CA   Travel to CA for St. H speech/presentation   LA airport valet luggage x3                Nader Tavangar;               Miscellaneous     Tips
                                                                                  Mercury Group                                                                                    (NRAH)




                                                                                                                                                                                                                                                                                                                                                                               APP. 02105
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1478        2017 147112   EXP-10040              2/6/17 - 2/20/17        Nader Tavangar     EVP / Managing Director at The     2/10/2017    Cash Tips                        $     40.00   Los Angeles, CA    Travel to CA for St. H speech/presentation    LA airport valet luggage x3                   Nader Tavangar;              Miscellaneous      Tips
                                                                                            Mercury Group                                                                                                     (NRAH)


1479        2016 139727   EXP-7748               5/1/2016 to 6/2/2016    Danielle Gregory   Executive Assistant                5/19/2016    21C Hotel                        $    275.60 Louisville, KY       Louisville Annual Meeting                     Lunch for                                     W; TM; MD; NT; MH; AF; CC; Meals/Beverages      Group
                                                                                                                                                                                                                                                            W,TM,MD,NT,MH,AF,CC,CM,WL,BP,HM CM; WL; BP; HM;


1480        2016 142347   EXP-8580               5/24/16 to 9/8/16       Nader Tavangar     EVP / Managing Director at The     5/24/2016    21C Hotel                        $    579.19 Louisville, KY       Misc travel expenses related to travel with   additional night room and tax during          Nader Tavangar;              Travel             Lodging
                                                                                            Mercury Group                                                                                                     W and special projects (SG)                   Louisville annual meeting (see exp 7748)


1481        2016 139727   EXP-7748               5/1/2016 to 6/2/2016    Danielle Gregory   Executive Assistant                5/19/2016    21C Hotel                        $   5,041.21 Louisville, KY      Louisville Annual Meeting                     hotel stay, laundry and dining NT             Nader Tavangar;              Travel             Lodging       Guest: Nader Tavangar
                                                                                                                                                                                                                                                                                                                                                                        Arrive: 5/15/16 Depart: 5/24/16



1482        2016 139727   EXP-7748               5/1/2016 to 6/2/2016    Danielle Gregory   Executive Assistant                5/18/2016    Cash Tips                        $    120.00 Louisville, KY       Louisville Annual Meeting                     to restaurant                                 Unknown;                     Miscellaneous      Tips
                                                                                                                                                                                                                                                            employees/expediters/hostess/assistance
                                                                                                                                                                                                                                                            with lunch catering
1483        2016 139727   EXP-7748               5/1/2016 to 6/2/2016    Danielle Gregory   Executive Assistant                5/22/2016    El Camino                        $     52.40 Louisville, KY       Louisville Annual Meeting                     lunch with J. Carter and N. Tavangar          J Carter; N Tavangar;        Meals/Beverages    Group



1484        2016 139727   EXP-7748               5/1/2016 to 6/2/2016    Danielle Gregory   Executive Assistant                5/19/2016    Jack Fry's Restaurant            $    211.37 Louisville, KY       Louisville Annual Meeting                     dinner: Jon Carter, B. Powers, N. Tavangar Jon Carter; B Powers; N         Meals/Beverages    Group
                                                                                                                                                                                                                                                                                                          Tavangar;


1485        2016 139727   EXP-7748               5/1/2016 to 6/2/2016    Danielle Gregory   Executive Assistant                5/17/2016    Proof of Main                    $   1,488.00 Louisville, KY      Louisville Annual Meeting                     Dinner: TM<MD, JP,CP,W,S,BS,TS,NT             TM; MD; JP; CP; W; S; BS; TS; Meals/Beverages   Group
                                                                                                                                                                                                                                                                                                          NT;


1486        2016 139727   EXP-7748               5/1/2016 to 6/2/2016    Danielle Gregory   Executive Assistant                5/16/2016    Starbucks                        $       8.43 Louisville, KY      Louisville Annual Meeting                     breakfast                                     Nader Tavangar;              Meals/Beverages    Individual



1487        2018 158521   9D47EF1FE0084EZB8319   5/8/2018                Nader Tavangar     Executive VP / Managing Director at 5/19/2018   Ritz Carlton                     $     41.98 McLean, VA           May18                                         Dinner - NT during AV event for CNP for NT;                                Travel             Lodging       Date: 05/19/18
                                                                                            The Mercury Group                                                                                                                                               Pres OLN                                                                                                    Amount: $34.98
                                                                                                                                                                                                                                                                                                                                                                        Tip: $7.00
1488   10   2017 147112   EXP-10070              1/31/17 - 2/23/17       Nader Tavangar     EVP / Managing Director at The     2/3/2017     Boyt Harness                     $    192.42 Mt. Juliet, TN       Travel to LV SCI Show                         duffle bag purchase requested by S for        S;                           Miscellaneous      Other
                                                                                            Mercury Group                                                                                                                                                   return items


1489        2017 150823   EXP-10877              5/20/2017 - 7/13/2017   Nader Tavangar     Executive VP / Managing Director at 6/8/2017    Cash Tips                        $     40.00 Nashville, TN        Travel to Nashville for CMA/Belmont           DC airport luggage assistance (front valet    Nader Tavangar;              Miscellaneous      Tips
                                                                                            The Mercury Group                                                                                                 meetings and mileage report                   and rear valet (4 valet/3 passengers)



1490        2017 150823   EXP-10877              5/20/2017 - 7/13/2017   Nader Tavangar     Executive VP / Managing Director at 6/8/2017    Cash Tips                        $     40.00 Nashville, TN        Travel to Nashville for CMA/Belmont           Travel to Nashville for CMA/Belmont           Nader Tavangar;              Miscellaneous      Tips
                                                                                            The Mercury Group                                                                                                 meetings and mileage report                   meetings



1491        2017 150823   EXP-10877              5/20/2017 - 7/13/2017   Nader Tavangar     Executive VP / Managing Director at 6/8/2017    Cash Tips                        $     80.00 Nashville, TN        Travel to Nashville for CMA/Belmont           Nashville Hotel bellman tip for luggage       Nader Tavangar;              Miscellaneous      Tips
                                                                                            The Mercury Group                                                                                                 meetings and mileage report                   assistance (3 guests)



1492   10   2017 150457   4D48C7B00DD4454AB1BA   6/22/2017               Nader Tavangar     Executive VP / Managing Director at 6/16/2017   Four Seasons                     $       8.13 Nashville, TN       Travel to Nashville for CMA Meetings,         sundries for WLP speaking event               WLP;                         Travel             Lodging
                                                                                            The Mercury Group                                                                                                 Belmont U


1493        2017 150457   9C0D88CF6A9D4CA187AB   6/16/2017               Nader Tavangar     Executive VP / Managing Director at 6/9/2017    Signature Transportation         $    672.00 Nashville, TN        June expenses                                 Transportation services in Nashville for      Nader Tavangar;              Auto               Car Service
                                                                                            The Mercury Group                                                                                                                                               Christy DeGiusti


1494   5    2017 150457   4D48C7B00DD4454AB1BA   6/22/2017               Nader Tavangar     Executive VP / Managing Director at 6/8/2017    Ticketmaster Ticket              $     55.61 Nashville, TN        Travel to Nashville for CMA Meetings,         Ticketed event with W during trip to          Nader Tavangar;              Miscellaneous      Gift
                                                                                            The Mercury Group                                                                                                 Belmont U                                     nashville for meetings


1495        2017 150457   4D48C7B00DD4454AB1BA   6/22/2017               Nader Tavangar     Executive VP / Managing Director at 6/15/2017   Walgreens                        $       7.31 Nashville, TN       Travel to Nashville for CMA Meetings,         waters for security                           Nader Tavangar;              Miscellaneous      Other
                                                                                            The Mercury Group                                                                                                 Belmont U


1496        2017 149459   EXP-10511              3/22/17 - 5/10/17       Nader Tavangar     Executive VP / Managing Director at 3/24/2017   21C Hotel                        $    784.11 Oklahoma City, OK    Travel to OKC for meetings with W/AM re       hotel room and tax, plus breakfast for N.     N Tavangar; J Powell; MM;    Travel             Lodging
                                                                                            The Mercury Group                                                                                                 CG presentation and AM discussion (SK)        Travangar and drinks for J. Powell, NT, and
                                                                                                                                                                                                                                                            MM
1497        2017 149459   EXP-10511              3/22/17 - 5/10/17       Nader Tavangar     Executive VP / Managing Director at 3/22/2017   Cash Tips                        $     20.00 Oklahoma City, OK    Travel to OKC for meetings with W/AM re       Bellman assistance with luggage for two       Nader Tavangar;              Miscellaneous      Tips
                                                                                            The Mercury Group                                                                                                 CG presentation and AM discussion (SK)


1498        2017 149459   EXP-10511              3/22/17 - 5/10/17       Nader Tavangar     Executive VP / Managing Director at 3/24/2017   Cash Tips                        $     20.00 Oklahoma City, OK    Travel to OKC for meetings with W/AM re       Bellman assistance with luggage for two       Nader Tavangar;              Miscellaneous      Tips
                                                                                            The Mercury Group                                                                                                 CG presentation and AM discussion (SK)


1499   10   2018 154707   6EOF5662264C4B639269   1/16/2018               Nader Tavangar     Executive VP / Managing Director at 1/4/2018    Favor Gas Station                $       8.52 Oklahoma City, OK   January                                       coffee with W/TS during OKC meeting           W; TS;                       Meals/Beverages    Group
                                                                                            The Mercury Group                                                                                                                                               with donor



1500   10   2017 143169   EXP-8715               9/17/2016 - 9/23/2016   Nader Tavangar     EVP / Managing Director at The     9/17/2016    Hertz                            $    236.94 Oklahoma City, OK    Travel expenses for meetings (OKC and         OKC car rental - W/TS donor meeting           W; TS;                       Auto               Car Rental
                                                                                            Mercury Group                                                                                                     Dallas) with W



1501        2017 149459   EXP-10511              3/22/17 - 5/10/17       Nader Tavangar     Executive VP / Managing Director at 3/23/2017   St. Anthony Hospital Starbucks   $       6.34 Oklahoma City, OK   Travel to OKC for meetings with W/AM re       Coffee for W, WP, NT                          W; WP; NT;                   Meals/Beverages    Group
                                                                                            The Mercury Group                                                                                                 CG presentation and AM discussion (SK)
1502        2018 155996   346C1D9C8C2049D6B71F   2/15/2018               Nader Tavangar     Executive VP / Managing Director at 2/19/2018   Four Seasons                     $     81.10 Orlando, FL          Feb18                                         Lunch NT/SLP return travel from summit        NT; SLP;                     Travel             Lodging
                                                                                            The Mercury Group                                                                                                                                               site visit



1503        2016 141517   EXP-8051               3/5/2016 - 7/12/2016    Danielle Gregory   Executive Assistant                4/19/2016    MediaQuest                       $   2,737.06 Pittsburg, PA       NR OOP miscellaneous expenses. (SG)           AV for Wayne/TM at Duquesne club              Wayne; TM;                   Miscellaneous      Other




                                                                                                                                                                                                                                                                                                                                                                                                          APP. 02106
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1504   5    2016 139727   EXP-7642    4/15/2016 to 5/25/2016   Danielle Gregory   Executive Assistant                4/25/2016    Smoke Zone            $   2,000.00 Providence, RI   NR OOP misc. Expenses/ Charleston SC trip request from T. Makris to purchase items         Nader Tavangar;      Miscellaneous     Gift
                                                                                                                                                                                      for donor event at Brays Island- Wayne        for donors
                                                                                                                                                                                      Speech (SG)


1505   5    2016 142347   EXP-8320    8/5/16 to 8/15/16        Shahada Kari       Production Assistant               8/5/2016     Smoke Zone            $   2,100.00 Providence, RI   August NR OOP Expenses                        Gifts for donors requested by T. Makris/T. T Makris; T Schropp;   Miscellaneous     Gift
                                                                                                                                                                                                                                    Schroop



1506        2016 142347   EXP-8580    5/24/16 to 9/8/16        Nader Tavangar     EVP / Managing Director at The     6/29/2016    Bar Bocce             $     36.52 Sausalito, CA     Misc travel expenses related to travel with   dinner NT during travel to SF for HG A&F Nader Tavangar;          Meals/Beverages   Individual
                                                                                  Mercury Group                                                                                       W and special projects (SG)                   reshoot



1507        2016 139727   EXP-7404    4/15/2016 to 5/17/2016   Danielle Gregory   Executive Assistant                4/15/2016    Cash Tips             $     20.00 South Carolina    Travel with Wayne to South Carolina for       hotel valet car                              Nader Tavangar;      Miscellaneous     Tips
                                                                                                                                                                                      fundraising event (SG)



1508        2016 139727   EXP-7404    4/15/2016 to 5/17/2016   Danielle Gregory   Executive Assistant                4/15/2016    Cash Tips             $     20.00 South Carolina    Travel with Wayne to South Carolina for       tip - SC airport valet - luggage             Nader Tavangar;      Miscellaneous     Tips
                                                                                                                                                                                      fundraising event (SG)



1509        2016 139727   EXP-7404    4/15/2016 to 5/17/2016   Danielle Gregory   Executive Assistant                4/15/2016    Cash Tips             $     20.00 South Carolina    Travel with Wayne to South Carolina for       tip - SC airport valet - rental car          Nader Tavangar;      Miscellaneous     Tips
                                                                                                                                                                                      fundraising event (SG)



1510        2017 150457   EXP-10789   4/21/2017-               Nader Tavangar     Executive VP / Managing Director at 4/22/2017   Charleston Airport    $     21.54 South Carolina    Travel to SC for HLF donnor event             Lunch NT                                     NT;                  Meals/Beverages   Individual
                                      6/27/2017                                   The Mercury Group



1511   10   2018 154261   EXP-11256   11/2/17 to 11/8/17       Nader Tavangar     EVP / Managing Director            11/6/2017    Carey International   $    150.70 Texas             Travel to TX - Race sponsorship               Carey - car service requested by W for       W;                   Auto              Car Service
                                                                                                                                                                                                                                    collection from TX Speedway to hotel



1512        2018 154261   EXP-11256   11/2/17 to 11/8/17       Nader Tavangar     EVP / Managing Director            11/4/2017    Cash Tips             $     20.00 Texas             Travel to TX - Race sponsorship               tip - concierge assistance with car rental   Nader Tavangar;      Miscellaneous     Tips




1513        2018 154261   EXP-11256   11/2/17 to 11/8/17       Nader Tavangar     EVP / Managing Director            11/5/2017    Cash Tips             $     20.00 Texas             Travel to TX - Race sponsorship               tip - concierge rental car return assistance Nader Tavangar;      Miscellaneous     Tips




1514        2018 154261   EXP-11256   11/2/17 to 11/8/17       Nader Tavangar     EVP / Managing Director            11/4/2017    Cash Tips             $     20.00 Texas             Travel to TX - Race sponsorship               tip - driver from airport to hotel           Nader Tavangar;      Miscellaneous     Tips




1515        2018 154261   EXP-11256   11/2/17 to 11/8/17       Nader Tavangar     EVP / Managing Director            11/6/2017    Cash Tips             $     20.00 Texas             Travel to TX - Race sponsorship               tip - driver tip - to airport for invited    Nader Tavangar;      Miscellaneous     Tips
                                                                                                                                                                                                                                    guests



1516        2018 154261   EXP-11256   11/2/17 to 11/8/17       Nader Tavangar     EVP / Managing Director            11/4/2017    Cash Tips             $     20.00 Texas             Travel to TX - Race sponsorship               tip - hotel valet - car assistance in/out    Nader Tavangar;      Miscellaneous     Tips




1517        2018 154261   EXP-11256   11/2/17 to 11/8/17       Nader Tavangar     EVP / Managing Director            11/5/2017    Cash Tips             $     20.00 Texas             Travel to TX - Race sponsorship               tip - hotel valet - car assistance in/out    Nader Tavangar;      Miscellaneous     Tips




1518        2018 154261   EXP-11256   11/2/17 to 11/8/17       Nader Tavangar     EVP / Managing Director            11/5/2017    Cash Tips             $     20.00 Texas             Travel to TX - Race sponsorship               tip - hotel valet - car assistance in/out    Nader Tavangar;      Miscellaneous     Tips




1519        2018 154261   EXP-11256   11/2/17 to 11/8/17       Nader Tavangar     EVP / Managing Director            11/4/2017    Cash Tips             $     20.00 Texas             Travel to TX - Race sponsorship               tip - hotel valet (luggage assistance x 2)   Nader Tavangar;      Miscellaneous     Tips




1520        2017 145564   EXP-9523    11/3/16 - 12/22/16       Nader Tavangar     EVP / Managing Director at The     12/6/2016    Cash Tips             $     40.00 Texas             executive travel and misc purchases           DC airport valet tip - travel to TX for AM Nader Tavangar;        Miscellaneous     Tips
                                                                                  Mercury Group                                                                                                                                     current events mtg



1521        2017 145564   EXP-9523    11/3/16 - 12/22/16       Nader Tavangar     EVP / Managing Director at The     12/6/2016    Cash Tips             $     40.00 Texas             executive travel and misc purchases           Hotel valet - luggage W, TM, NT during       W; TM; NT;           Miscellaneous     Tips
                                                                                  Mercury Group                                                                                                                                     TX meeting for current events comm/CCL



1522        2018 154261   EXP-11256   11/2/17 to 11/8/17       Nader Tavangar     EVP / Managing Director            11/4/2017    Cash Tips             $     40.00 Texas             Travel to TX - Race sponsorship               tip - airport valet luggage                  Nader Tavangar;      Miscellaneous     Tips




1523        2018 154261   EXP-11256   11/2/17 to 11/8/17       Nader Tavangar     EVP / Managing Director            11/5/2017    Cash Tips             $    100.00 Texas             Travel to TX - Race sponsorship               tip - driver tip - for invited guests from   Nader Tavangar;      Miscellaneous     Tips
                                                                                                                                                                                                                                    track to hotel




                                                                                                                                                                                                                                                                                                                                      APP. 02107
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1524           2018 154261          EXP-11256              11/2/17 to 11/8/17       Nader Tavangar     EVP / Managing Director            11/5/2017     Cash Tips           $     100.00 Texas               Travel to TX - Race sponsorship              tip - rack track runner assistance with     Nader Tavangar;   Miscellaneous     Tips
                                                                                                                                                                                                                                                          donors (x2 - 50 each )



1525           2017 145564          EXP-9523               11/3/16 - 12/22/16       Nader Tavangar     EVP / Managing Director at The     11/3/2016     Hertz               $   1,466.14 Texas               executive travel and misc purchases          travel with W for AM current events         Nader Tavangar;   Auto              Car Rental
                                                                                                       Mercury Group                                                                                                                                      meeting and Texas Race



1526   5       2018 154707          6EOF5662264C4B639269   1/16/2018                Nader Tavangar     Executive VP / Managing Director at 1/19/2018    Old Palace LLC      $   1,000.00 Thousand Oaks, CA   January                                      Donor gifts requested by TM                 TM;               Miscellaneous     Gift
                                                                                                       The Mercury Group



1527   5       2018 154706/155170   1A1CC7F4725548009361   12/13/2017               Nader Tavangar     Executive VP / Managing Director at 12/8/2017    Old Palace LLC      $   1,050.00 Thousand Oaks, CA   December                                     items for donors requested by TM            TM;               Miscellaneous     Gift
                                                                                                       The Mercury Group


1528   10; 5   2018 154707          6EOF5662264C4B639269   1/16/2018                Nader Tavangar     Executive VP / Managing Director at 1/3/2018     Old Palace LLC      $   1,180.00 Thousand Oaks, CA   January                                      Donor items requested by TM/TS              TM; TS;           Miscellaneous     Gift
                                                                                                       The Mercury Group



1529   10; 5   2018 154706/155170   1A1CC7F4725548009361   12/13/2017               Nader Tavangar     Executive VP / Managing Director at 12/6/2017    Old Palace LLC      $   5,870.00 Thousand Oaks, CA   December                                     Donor items requested by TM/TS              TM; TS;           Miscellaneous     Gift          Date: 12/05/17
                                                                                                       The Mercury Group                                                                                                                                                                                                                                Miscellaneous material
                                                                                                                                                                                                                                                                                                                                                        Amount $5870


1530           2017 148749          EXP-10519              4/20/2017 - 5/10/2017    Nader Tavangar     Executive VP / Managing Director at 4/20/2017    AC Limo             $     270.00 unknown             Travel with W and TS for HLF fundraiser in   Roundtrip car service from airport to       Nader Tavangar;   Auto              Car Service
                                                                                                       The Mercury Group                                                                                     SC (SK)                                      event venue



1531           2016 141517          EXP-8051               3/5/2016 - 7/12/2016     Danielle Gregory   Executive Assistant                4/4/2016      Agent Fee           $      35.00 unknown             NR OOP miscellaneous expenses. (SG)          Gayle travel agent fee for travel           Nader Tavangar;   Travel            Other




1532           2016 141517          EXP-8078               7/5/2016 - 7/12/2016     Danielle Gregory   Executive Assistant                7/6/2016      Amangani            $   3,022.20 unknown             Travel to WY for speaking engagement (SG) hotel room and tax and breakfast for NT        Nader Tavangar;   Travel            Lodging




1533   5       2016 139727          EXP-7642               4/15/2016 to 5/25/2016   Danielle Gregory   Executive Assistant                5/9/2016      Amazon              $      91.56 unknown             NR OOP misc. Expenses/ Charleston SC trip purchase football for signature to place in    Unknown;          Miscellaneous     Gift
                                                                                                                                                                                                             for donor event at Brays Island- Wayne       auction for fundraiser
                                                                                                                                                                                                             Speech (SG)


1534   10      2017 148014          EXP-10311              3/30/2017 - 4/3/2017     Nader Tavangar     Executive VP / Managing Director at 3/30/2017    Amazon              $     174.78 unknown             No description provided                      Espresso machine requested J. Powell        J Powell;         Miscellaneous     Other
                                                                                                       The Mercury Group



1535           2016 137631          EXP-7195               3/3/2016 - 3/25/2016     Danielle Gregory   Executive Assistant                3/24/2016     American Airlines   $   (1,291.10) unknown           Correction from previous expense report/     Cred for American Airlines report           Nader Tavangar;   Travel            Airfare
                                                                                                                                                                                                             March NR OOP expenses                        (#6672) ticket never issued



1536           2017 150823          BEE94B9B32324293B110   7/14/2017                Nader Tavangar     Executive VP / Managing Director at 6/16/2017    American Airlines   $    (650.20) unknown            July expenses                                AA Airfare credit                           Nader Tavangar;   Travel            Airfare
                                                                                                       The Mercury Group



1537           2017 150457          4D48C7B00DD4454AB1BA   6/22/2017                Nader Tavangar     Executive VP / Managing Director at 6/1/2017     American Airlines   $    (648.20) unknown            Travel to Nashville for CMA Meetings,        Credit for flight not taken                 Nader Tavangar;   Travel            Airfare
                                                                                                       The Mercury Group                                                                                     Belmont U



1538           2017 150457          4D48C7B00DD4454AB1BA   6/22/2017                Nader Tavangar     Executive VP / Managing Director at 6/1/2017     American Airlines   $    (648.20) unknown            Travel to Nashville for CMA Meetings,        Credit for flight not taken                 Nader Tavangar;   Travel            Airfare
                                                                                                       The Mercury Group                                                                                     Belmont U



1539   10      2018 159388          40613652050848B7B98E   6/6/2018                 Nader Tavangar     Executive VP / Managing Director at 6/2/2018     American Airlines   $    (230.01) unknown            Nader Tavangar Expense Report (Concur)       revised flight itinerary during travel      Tyler Schropp;    Travel            Airfare
                                                                                                       The Mercury Group                                                                                                                                  arrangemenTyler Schropp to dallas


1540           2018 156967          71877DD1FE2845CAA329   3/9/2018                 Nader Tavangar     EVP / Managing Director Mercury    3/15/2018     American Airlines   $    (117.94) unknown            March19                                      Unknown                                     Nader Tavangar;   Travel            Airfare
                                                                                                       Group


1541           2017 153476          FEC63AFC7EA04775A9D6   10/12/2017               Nader Tavangar     Executive VP / Managing Director at 10/12/2017   American Airlines   $       2.00 unknown             October                                      There was a $2 fare difference due to       Nader Tavangar;   Travel            Airfare
                                                                                                       The Mercury Group                                                                                                                                  travel date change



1542           2016 136859          EXP-6926               1/27/2016 - 2/20/2016    Danielle Gregory   Executive Assistant                1/27/2016     American Airlines   $      13.96 unknown             Travel with Wayne to SCI                     seat upgrade                                Nader Tavangar;   Travel            Airfare




1543           2017 150457          EXP-10787              3/23/2017-               Nader Tavangar     Executive VP / Managing Director at 3/23/2017    American Airlines   $      18.18 unknown             Travel with W to OKC for CG launch           lunch                                       Nader Tavangar;   Meals/Beverages   Individual
                                                           6/27/2017                                   The Mercury Group                                                                                     review/AM 17 preparation



1544           2018 156967          71877DD1FE2845CAA329   3/9/2018                 Nader Tavangar     EVP / Managing Director Mercury    3/9/2018      American Airlines   $      19.27 unknown             March19                                      Flight change - fare difference travel to   Nader Tavangar;   Travel            Airfare
                                                                                                       Group                                                                                                                                              Denver




                                                                                                                                                                                                                                                                                                                                                                                 APP. 02108
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1545   2017 150457          EXP-10789              4/21/2017-               Nader Tavangar     Executive VP / Managing Director at 4/21/2017    American Airlines   $   25.00 unknown    Travel to SC for HLF donnor event           luggage fee                                Nader Tavangar;   Travel   Airfare
                                                   6/27/2017                                   The Mercury Group



1546   2017 147112          EXP-10053              1/3/17 - 2/22/17         Nader Tavangar     EVP / Managing Director at The     2/6/2017      American Airlines   $   33.71 unknown    Misc OOP requests as directed               upgraded seeating assignment for special   T Kyle;           Travel   Airfare
                                                                                               Mercury Group                                                                                                                         guests of honor attending H2H gala - T.
                                                                                                                                                                                                                                     Kyle family


1547   2017 147112          EXP-10053              1/3/17 - 2/22/17         Nader Tavangar     EVP / Managing Director at The     2/6/2017      American Airlines   $   33.71 unknown    Misc OOP requests as directed               upgraded seeating assignment for special   T Kyle;           Travel   Airfare
                                                                                               Mercury Group                                                                                                                         guests of honor attending H2H gala - T.
                                                                                                                                                                                                                                     Kyle family


1548   2017 147112          EXP-10053              1/3/17 - 2/22/17         Nader Tavangar     EVP / Managing Director at The     2/6/2017      American Airlines   $   33.71 unknown    Misc OOP requests as directed               upgraded seeating assignment for special   T Kyle;           Travel   Airfare
                                                                                               Mercury Group                                                                                                                         guests of honor attending H2H gala - T.
                                                                                                                                                                                                                                     Kyle family


1549   2017 147112          EXP-10053              1/3/17 - 2/22/17         Nader Tavangar     EVP / Managing Director at The     2/6/2017      American Airlines   $   35.06 unknown    Misc OOP requests as directed               upgraded seeating assignment for special   T Kyle;           Travel   Airfare
                                                                                               Mercury Group                                                                                                                         guests of honor attending H2H gala - T.
                                                                                                                                                                                                                                     Kyle family


1550   2018 154707          F4EC047425544C8DA759   1/31/2018                Nader Tavangar     Executive VP / Managing Director at 1/19/2018    American Airlines   $   78.56 unknown    JAN18                                       Flight seat change for JC approved by TM   JC;               Travel   Airfare
                                                                                               The Mercury Group                                                                                                                     during travel to SCI



1551   2017 147112          EXP-10053              1/3/17 - 2/22/17         Nader Tavangar     EVP / Managing Director at The     2/6/2017      American Airlines   $   89.20 unknown    Misc OOP requests as directed               One-way fare return from DC to DFW -       T Kyle;           Travel   Airfare
                                                                                               Mercury Group                                                                                                                         T. Kyle family



1552   2017 147112          EXP-10053              1/3/17 - 2/22/17         Nader Tavangar     EVP / Managing Director at The     2/6/2017      American Airlines   $   89.20 unknown    Misc OOP requests as directed               One-way fare return from DC to DFW -       T Kyle;           Travel   Airfare
                                                                                               Mercury Group                                                                                                                         T. Kyle family



1553   2017 147112          EXP-10053              1/3/17 - 2/22/17         Nader Tavangar     EVP / Managing Director at The     2/6/2017      American Airlines   $   89.20 unknown    Misc OOP requests as directed               One-way fare return from DC to DFW -       T Kyle;           Travel   Airfare
                                                                                               Mercury Group                                                                                                                         T. Kyle family



1554   2017 147112          EXP-10053              1/3/17 - 2/22/17         Nader Tavangar     EVP / Managing Director at The     2/6/2017      American Airlines   $   89.20 unknown    Misc OOP requests as directed               One-way fare return from DC to DFW -       T Kyle;           Travel   Airfare
                                                                                               Mercury Group                                                                                                                         T. Kyle family



1555   2016 139727          EXP-7404               4/15/2016 to 5/17/2016   Danielle Gregory   Executive Assistant                4/15/2016     American Airlines   $   182.10 unknown   Travel with Wayne to South Carolina for     airfare from SC to DC                      Nader Tavangar;   Travel   Airfare
                                                                                                                                                                                         fundraising event (SG)



1556   2017 143169          EXP-8653               8/31/2016 - 9/16/2016    Nader Tavangar     EVP / Managing Director at The     9/2/2016      American Airlines   $   200.00 unknown   Travel to DFW, OKC, and Louisville - nraH   Airefare change fee                        Nader Tavangar;   Travel   Airfare
                                                                                               Mercury Group                                                                             and DA (SG)



1557   2016 138653          EXP-7331               4/4/2016 - 4/11/2016     Danielle Gregory   Executive Assistant                4/5/2016      American Airlines   $   230.10 unknown   Travel with Wayne to NC for DA              Travel with Wayne to NC for DA             Nader Tavangar;   Travel   Airfare
                                                                                                                                                                                         fundraising event                           fundraising event



1558   2018 155996          346C1D9C8C2049D6B71F   2/15/2018                Nader Tavangar     Executive VP / Managing Director at 2/16/2018    American Airlines   $   313.30 unknown   Feb18                                       Meeting with W to discuss current events Nader Tavangar;     Travel   Airfare
                                                                                               The Mercury Group                                                                                                                     and rehearse CPAC



1559   2016 136859          EXP-6925               2/1/2016 - 2/19/2016     Danielle Gregory   Executive Assistant                2/1/2016      American Airlines   $   358.09 unknown   Travel with Chris Cox to Dallas for         air travel from DC to Dallas               Nader Tavangar;   Travel   Airfare
                                                                                                                                                                                         commercial shoot



1560   2017 152775          7F8296F587114923A0C7   9/7/2017                 Nader Tavangar     Executive VP / Managing Director at 9/19/2017    American Airlines   $   364.20 unknown   September                                   Return travel from DFW following WLF       Nader Tavangar;   Travel   Airfare
                                                                                               The Mercury Group                                                                                                                     Summit



1561   2017 143169          EXP-8653               8/31/2016 - 9/16/2016    Nader Tavangar     EVP / Managing Director at The     8/31/2016     American Airlines   $   451.10 unknown   Travel to DFW, OKC, and Louisville - nraH   Airfare to Dallas                          Nader Tavangar;   Travel   Airfare
                                                                                               Mercury Group                                                                             and DA (SG)



1562   2017 153476          FEC63AFC7EA04775A9D6   10/12/2017               Nader Tavangar     Executive VP / Managing Director at 9/28/2017    American Airlines   $   468.20 unknown   October                                     Travel to Nashville for NR/DW event        TS; W;            Travel   Airfare
                                                                                               The Mercury Group                                                                                                                     requested by TS/W



1563   2018 154706/155170   CDE5ECC7CC614FEAABD5   12/31/2017               Nader Tavangar     Executive VP / Managing Director at 12/27/2017   American Airlines   $   489.00 unknown   December Expenses                           Travel change fee to meet with M. Pepper Nader Tavangar;     Travel   Airfare
                                                                                               The Mercury Group



1564   2016 136859          EXP-6926               1/27/2016 - 2/20/2016    Danielle Gregory   Executive Assistant                1/27/2016     American Airlines   $   498.10 unknown   Travel with Wayne to SCI                    Flight from Dallas to Ft. Worth            Nader Tavangar;   Travel   Airfare




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1565   2017 143169          EXP-8825               9/12/2016 - 10/4/2016    Nader Tavangar     EVP / Managing Director at The     9/21/2016     American Airlines   $    527.10 unknown    Donor materials requested by TM and TS       Travel from DFW to DC following W           Nader Tavangar;   Travel   Airfare
                                                                                               Mercury Group                                                                               and travel with WLP                          meeting on HLF



1566   2018 154706/155170   1A1CC7F4725548009361   12/13/2017               Nader Tavangar     Executive VP / Managing Director at 12/8/2017    American Airlines   $    642.41 unknown    December                                     Travel to Dallas for mtg with W to discuss Nader Tavangar;    Travel   Airfare   Flight date: 01/02/18
                                                                                               The Mercury Group                                                                                                                        current events and co                                                            DCA to DFW
                                                                                                                                                                                                                                                                                                                         Flight date: 01/05/18
                                                                                                                                                                                                                                                                                                                         DFW to DCA
1567   2017 150457          EXP-10814              2/3/2017-                Nader Tavangar     Executive VP / Managing Director at 5/26/2017    American Airlines   $    648.20 unknown    (WBW) - Misc NRA Charges                     Return travel from Dallas with W for        Nader Tavangar;   Travel   Airfare
                                                   6/30/2017                                   The Mercury Group                                                                                                                        meetings with AM (offsetting credit
                                                                                                                                                                                                                                        reported in Concur)


1568   2017 152775          7F8296F587114923A0C7   9/7/2017                 Nader Tavangar     Executive VP / Managing Director at 9/20/2017    American Airlines   $    648.20 unknown    September                                    Return travel from DFW for mtgs with        Nader Tavangar;   Travel   Airfare
                                                                                               The Mercury Group                                                                                                                        TS/W SMI for BPS/NRA event



1569   2017 150457          EXP-10814              2/3/2017-                Nader Tavangar     Executive VP / Managing Director at 5/17/2017    American Airlines   $    648.20 unknown    (WBW) - Misc NRA Charges                     Travel to Dallas with W for meetings with Nader Tavangar;     Travel   Airfare
                                                   6/30/2017                                   The Mercury Group                                                                                                                        AM (Offsetting credit reported in Concur)
1570   2017 150457          4D48C7B00DD4454AB1BA   6/22/2017                Nader Tavangar     Executive VP / Managing Director at 6/13/2017    American Airlines   $    650.20 unknown    Travel to Nashville for CMA Meetings,        airfare for travel to dfw                   Nader Tavangar;   Travel   Airfare
                                                                                               The Mercury Group                                                                           Belmont U
1571   2017 150457          4D48C7B00DD4454AB1BA   6/22/2017                Nader Tavangar     Executive VP / Managing Director at 6/1/2017     American Airlines   $    651.20 unknown    Travel to Nashville for CMA Meetings,        Travel to Dallsa for presentation on CFF,   Nader Tavangar;   Travel   Airfare
                                                                                               The Mercury Group                                                                           Belmont U                                    Tyler OOA, W YWLS even


1572   2018 159388          40613652050848B7B98E   6/6/2018                 Nader Tavangar     Executive VP / Managing Director at 5/31/2018    American Airlines   $    724.21 unknown    Nader Tavangar Expense Report (Concur)       Travel to Dallas with OLN for meeting       Nader Tavangar;   Travel   Airfare
                                                                                               The Mercury Group                                                                                                                        with CW/HM on AH and new F




1573   2018 159388          40613652050848B7B98E   6/6/2018                 Nader Tavangar     Executive VP / Managing Director at 5/29/2018    American Airlines   $    724.21 unknown    Nader Tavangar Expense Report (Concur)       Travel to Dallas with OLN for meeting       Nader Tavangar;   Travel   Airfare
                                                                                               The Mercury Group                                                                                                                        with CW/HM on AH and new F




1574   2017 150823          C9DE02FA6577488598C5   7/26/2017                Nader Tavangar     Executive VP / Managing Director at 7/24/2017    American Airlines   $    743.40 unknown    July expenses 2                              Travel to Dallas for Carry Guard Expo       Nader Tavangar;   Travel   Airfare
                                                                                               The Mercury Group                                                                                                                        meeting




1575   2018 159388          40613652050848B7B98E   6/6/2018                 Nader Tavangar     Executive VP / Managing Director at 6/14/2018    American Airlines   $    810.40 unknown    Nader Tavangar Expense Report (Concur)       Travel for LH from ATL to DC for DC         LH;               Travel   Airfare
                                                                                               The Mercury Group                                                                                                                        Project Girl and Gun speaking
1576   2017 150457          4D48C7B00DD4454AB1BA   6/22/2017                Nader Tavangar     Executive VP / Managing Director at 6/1/2017     American Airlines   $   1,012.20 unknown   Travel to Nashville for CMA Meetings,        Travel with @ to Nashville for CMA,         Nader Tavangar;   Travel   Airfare
                                                                                               The Mercury Group                                                                           Belmont U                                    Belmont
1577   2016 138653          EXP-7403               4/10/2016 - 4/19/2016    Danielle Gregory   Executive Assistant                4/10/2106     American Airlines   $   1,014.20 unknown   Travel with Wayne to Dallas for meetings     Roundtrip airfare from DC to Dallas         Nader Tavangar;   Travel   Airfare
                                                                                                                                                                                           with AM (SG)
1578   2016 136165          EXP-6672               1/6/2016 to 1/25/2016    Danielle Gregory   Executive Assistant                1/14/2016     American Airlines   $   1,291.10 unknown   January OOP expenses                         travel to Dallas for video shoot and        Nader Tavangar;   Travel   Airfare
                                                                                                                                                                                                                                        meeting/presentation on upcoming
1579   2017 148749          EXP-10519              4/20/2017 - 5/10/2017    Nader Tavangar     Executive VP / Managing Director at 4/21/2017    American Airlines   $   1,455.21 unknown   Travel with W and TS for HLF fundraiser in   One-way airfare                             Nader Tavangar;   Travel   Airfare
                                                                                               The Mercury Group                                                                           SC (SK)
1580   2018 154261          C74AE674200D42CABE50   11/8/2017                Nader Tavangar     EVP / Managing Director            11/2/2017     American Airlines   $   1,543.20 unknown   November                                     Travel to TX for race sponsorship           Nader Tavangar;   Travel   Airfare


1581   2018 157570          8F41F718E3D441568868   4/5/2018                 Nader Tavangar     Executive VP / Managing Director at 3/26/2018    American Airlines   $   1,573.21 unknown   April18                                      Travel to Dallas for meeting with W for     Nader Tavangar;   Travel   Airfare   Flight Date: 04/08/18
                                                                                               The Mercury Group                                                                                                                        AM confab                                                                        DCA to DFW




1582   2018 155996          346C1D9C8C2049D6B71F   2/15/2018                Nader Tavangar     Executive VP / Managing Director at 2/14/2018    American Airlines   $   1,872.00 unknown   Feb18                                        Travel to present CPAC speech/WLF           Nader Tavangar;   Travel   Airfare
                                                                                               The Mercury Group                                                                                                                        fundraiser
1583   2016 136165          EXP-6783               1/15/2016 to 2/10/2016   Danielle Gregory   Executive Assistant                1/18/2016     American Airlines   $   1,926.10 unknown   Travel with Wayne to las Vegas for Shot      airfare from DC to las Vegas                Nader Tavangar;   Travel   Airfare   Passenger: Nader Tavangar
                                                                                                                                                                                           show                                                                                                                          Origin City: DCA
1584   2018 154706/155170   1A1CC7F4725548009361   12/13/2017               Nader Tavangar     Executive VP / Managing Director at 12/12/2017   American Airlines   $   2,016.60 unknown   December                                     Airfare to/from Reno for ROF mag. Shoot Nader Tavangar;       Travel   Airfare   Flight Date: 12/19/2017
                                                                                               The Mercury Group                                                                                                                        with A. Lee                                                                      DCA to DFW to RNO
                                                                                                                                                                                                                                                                                                                         Flight Date: 12/21/17




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1585        2018 156967   71877DD1FE2845CAA329   3/9/2018                  Nader Tavangar     EVP / Managing Director Mercury    3/9/2018     American Airlines          $   2,043.87 unknown   March19                                      Travel to Denver for NDRATV                  Nader Tavangar;              Travel            Airfare
                                                                                              Group                                                                                                                                          presentation fro licensing meeting with
                                                                                                                                                                                                                                             outdoor channel
1586        2018 157570   8F41F718E3D441568868   4/5/2018                  Nader Tavangar     Executive VP / Managing Director at 4/2/2018    American Airlines          $   2,297.39 unknown   April18                                      Travel to Dallas for meeting with            Nader Tavangar; M. Hammer;   Travel            Airfare              Flight Date: 04/05/18
                                                                                              The Mercury Group                                                                                                                              T.S./CoPart and video shoot with S.                                                                              DCA to DFW
1587        2018 157570   8F41F718E3D441568868   4/5/2018                  Nader Tavangar     Executive VP / Managing Director at 4/2/2018    American Airlines          $   2,350.40 unknown   April18                                      Travel to Dallas to meet with WP for         Nader Tavangar;              Travel            Airfare              Flight Date: 04/11/18
                                                                                              The Mercury Group                                                                                                                              overview meeting with CEO                                                                                        DCA to DFW
1588        2018 154707   6EOF5662264C4B639269   1/16/2018                 Nader Tavangar     Executive VP / Managing Director at 1/15/2018   American Airlines          $   2,404.61 unknown   January                                      Travel with TS to SHOT for NRA industry Nader Tavangar;                   Travel            Airfare
                                                                                              The Mercury Group                                                                                                                              meetings/coordination
1589   10   2018 158521   9D47EF1FE0084EZB8319   5/8/2018                  Nader Tavangar     Executive VP / Managing Director at 5/7/2018    Apple Store                $      9.74 unknown    May18                                        IPAD Pro requested by J. Powell for use      J Powell;                    Miscellaneous     Other
                                                                                              The Mercury Group                                                                                                                              during NRA Convention


1590   10   2018 158521   9D47EF1FE0084EZB8319   5/8/2018                  Nader Tavangar     Executive VP / Managing Director at 5/7/2018    Apple Store                $     85.52 unknown    May18                                        IPAD Pro requested by J. Powell for use      J Powell;                    Miscellaneous     Other
                                                                                              The Mercury Group                                                                                                                              during NRA Convention
1591   10   2018 158521   9D47EF1FE0084EZB8319   5/8/2018                  Nader Tavangar     Executive VP / Managing Director at 5/7/2018    Apple Store                $    107.17 unknown    May18                                        IPAD Pro requested by J. Powell for use      J Powell;                    Miscellaneous     Other
                                                                                              The Mercury Group                                                                                                                              during NRA Convention
1592   10   2018 158521   9D47EF1FE0084EZB8319   5/8/2018                  Nader Tavangar     Executive VP / Managing Director at 5/7/2018    Apple Store                $   1,243.79 unknown   May18                                        IPAD Pro requested by J. Powell for use      J Powell;                    Miscellaneous     Other
                                                                                              The Mercury Group                                                                                                                              during NRA Convention


1593        2017 152775   EXP-11119              8/24/2017 - 8/24/2017     Nader Tavangar     Executive VP / Managing Director at 8/24/2017   AT&T                       $     60.00 unknown    NR Travel with G. Shepstone                  one time charge for wireless international   Nader Tavangar;              Miscellaneous     Telecommunications
                                                                                              The Mercury Group                                                                                                                              plan to maintain client/agency business
1594        2017 150457   9C0D88CF6A9D4CA187AB   6/16/2017                 Nader Tavangar     Executive VP / Managing Director at 6/8/2017    Athens Family Restaurant   $    111.19 unknown    June expenses                                Lunch for NT , W, S, J, JW                   NT; W; S; J; JW;             Meals/Beverages   Group
                                                                                              The Mercury Group



1595        2016 138653   EXP-7331               4/4/2016 - 4/11/2016      Danielle Gregory   Executive Assistant                4/5/2016     Avis                       $    234.93 unknown    Travel with Wayne to NC for DA               Travel with Wayne to NC for DA               Nader Tavangar;              Auto              Car Rental
                                                                                                                                                                                                fundraising event                            fundraising event
1596        2016 138653   EXP-7381               1/29/2016 - 4/15/2016     Danielle Gregory   Executive Assistant                1/29/2016    Barbizon Lighting          $    425.84 unknown    NR OOP Expenses                              Gobo for fundraising event                   Nader Tavangar;              Miscellaneous     Other




1597   10   2016 136859   EXP-6926               1/27/2016 - 2/20/2016     Danielle Gregory   Executive Assistant                2/6/2016     Beretta USA Corp           $    161.14 unknown    Travel with Wayne to SCI                     extra bag for Susan to transport auction     Susan;                       Miscellaneous     Other
                                                                                                                                                                                                                                             items for WLF lunch


1598        2017 153476   FEC63AFC7EA04775A9D6   10/12/2017                Nader Tavangar     Executive VP / Managing Director at 10/3/2017   Beverly Hills Hotel        $      6.57 unknown    October                                      Beverage charge from the room during my Nader Tavangar;                   Travel            Lodging
                                                                                              The Mercury Group                                                                                                                              stay


1599        2017 153476   FEC63AFC7EA04775A9D6   10/12/2017                Nader Tavangar     Executive VP / Managing Director at 10/3/2017   Beverly Hills Hotel        $   3,703.46 unknown   October                                      Hotel room, tax, laundry, parking and food NT;                            Travel            Lodging
                                                                                              The Mercury Group                                                                                                                              for NT during travel


1600        2017 148749   EXP-10518              4/7/2017 - 5/10/2017      Nader Tavangar     Executive VP / Managing Director at 4/7/2017    Bigby Coffee               $     13.13 unknown    Travel with Wayne to MI for Hillsdale        Coffee for W, MH, CK, NT                     W; MH; CK; NT;               Meals/Beverages   Group
                                                                                              The Mercury Group                                                                                 speech, then Dallas to meet with CC re CG,
                                                                                                                                                                                                then return to DC (SK)
1601        2017 150457   9C0D88CF6A9D4CA187AB   6/16/2017                 Nader Tavangar     Executive VP / Managing Director at 6/9/2017    Bistro Berry               $     18.57 unknown    June expenses                                Lunch for NT at airport                      NT;                          Meals/Beverages   Individual
                                                                                              The Mercury Group


1602        2017 144737   EXP-9186               10/17/2016 - 11/15/2016   Nader Tavangar     EVP / Managing Director at The     11/5/2016    Bobs Steak & Chop          $    565.04 unknown    travel to DFW for hunting presentation and dinner BS NT TM KM MD                          BS; NT; TM; KM; MD;          Meals/Beverages   Group
                                                                                              Mercury Group                                                                                     race event


1603   10   2018 155996   346C1D9C8C2049D6B71F   2/15/2018                 Nader Tavangar     Executive VP / Managing Director at 2/15/2018   Bohanan's Prime Steak      $    567.77 unknown    Feb18                                        Travel with W/S/T for WLF AM fundraiser W; S; T;                          Meals/Beverages   Group
                                                                                              The Mercury Group                                                                                                                              dinner during travel
1604        2017 151745   B03030AEC14E4D879E1D   8/2/2017                  Nader Tavangar     Executive VP / Managing Director at 8/17/2017   Cabela's                   $    322.14 unknown    August                                       Travel with G Shepstone ROF member           Nader Tavangar; G Shepstone; Miscellaneous     Other
                                                                                              The Mercury Group
1605        2016 141517   EXP-8078               7/5/2016 - 7/12/2016      Danielle Gregory   Executive Assistant                7/6/2016     Café Genevieve             $     68.18 unknown    Travel to WY for speaking engagement (SG) lunch for W/NT                                  W; NT;                       Meals/Beverages   Group


1606        2016 143559   EXP-8999               10/5/2016-                Nader Tavangar     EVP / Managing Director at The     10/7/2016    Carey International        $    191.80 unknown    Travel with Wayne for NRA business to        car service for Wayne in Dallas on 10/7      Nader Tavangar;              Auto              Car Service
                                                 10/21/2016                                   Mercury Group                                                                                     Dallas (video shoot) and Bakersfield for
                                                                                                                                                                                                speaking engagement
1607        2017 145564   EXP-9523               11/3/16 - 12/22/16        Nader Tavangar     EVP / Managing Director at The     12/6/2016    Carey International        $    477.45 unknown    executive travel and misc purchases          car services - paid by company account.      Nader Tavangar; W;           Auto              Car Service
                                                                                              Mercury Group                                                                                                                                  Travel with W for AM current events
1608   10   2016 143559   EXP-8999               10/5/2016-                Nader Tavangar     EVP / Managing Director at The     10/6/2016    Carey International        $    702.13 unknown    Travel with Wayne for NRA business to        car service for Wayne in Dallas on 10/5      Wayne;                       Auto              Car Service
                                                 10/21/2016                                   Mercury Group                                                                                     Dallas (video shoot) and Bakersfield for
                                                                                                                                                                                                speaking engagement
1609   10   2016 143559   EXP-8999               10/5/2016-                Nader Tavangar     EVP / Managing Director at The     10/6/2016    Carey International        $   1,460.42 unknown   Travel with Wayne for NRA business to        car service for Wayne in Dallas on 10/6      Wayne;                       Auto              Car Service
                                                 10/21/2016                                   Mercury Group                                                                                     Dallas (video shoot) and Bakersfield for
                                                                                                                                                                                                speaking engagement
1610        2017 146420   EXP-9803               1/11/2017-                Nader Tavangar     EVP / Managing Director at The     1/13/2017    Cash Tips                  $      5.00 unknown    Houston Safari Club Presentations (SG)       bellman package delivery                     Nader Tavangar;              Miscellaneous     Tips
                                                 1/25/2017                                    Mercury Group


1611        2016 139727   EXP-7748               5/1/2016 to 6/2/2016      Danielle Gregory   Executive Assistant                5/16/2016    Cash Tips                  $      5.00 unknown    Louisville Annual Meeting                    bellman room delivery                        Nader Tavangar;              Miscellaneous     Tips



1612        2017 147112   EXP-10070              1/31/17 - 2/23/17         Nader Tavangar     EVP / Managing Director at The     2/1/2017     Cash Tips                  $      5.00 unknown    Travel to LV SCI Show                        cab assistance - hotel bellman               Nader Tavangar;              Miscellaneous     Tips
                                                                                              Mercury Group


1613        2017 147112   EXP-10070              1/31/17 - 2/23/17         Nader Tavangar     EVP / Managing Director at The     2/1/2017     Cash Tips                  $      5.00 unknown    Travel to LV SCI Show                        cab assistance - hotel bellman (return)      Nader Tavangar;              Miscellaneous     Tips
                                                                                              Mercury Group


1614        2016 136859   EXP-6925               2/1/2016 - 2/19/2016      Danielle Gregory   Executive Assistant                2/2/2016     Cash Tips                  $      5.00 unknown    Travel with Chris Cox to Dallas for          cash tip hotel valet luggage assistance      Nader Tavangar;              Miscellaneous     Tips
                                                                                                                                                                                                commercial shoot




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1615   2018 155996   EXP-11616   1/17/2018 to 2/22/2018    Nader Tavangar     Executive VP / Managing Director at 2/15/2018   Cash Tips   $   10.00 unknown   Misc expenses for multiple travel related    bell hop assistance at Argyle Club during     Nader Tavangar;   Miscellaneous   Tips
                                                                              The Mercury Group                                                               requests on behalf of NRA                    WLF AM fundraiser baggage hold


1616   2018 155996   EXP-11616   1/17/2018 to 2/22/2018    Nader Tavangar     Executive VP / Managing Director at 2/16/2018   Cash Tips   $   10.00 unknown   Misc expenses for multiple travel related    bell hop assistance with luggage - hotel in   Nader Tavangar;   Miscellaneous   Tips
                                                                              The Mercury Group                                                               requests on behalf of NRA                    Tallahassee during MH video shoot
1617   2018 155996   EXP-11616   1/17/2018 to 2/22/2018    Nader Tavangar     Executive VP / Managing Director at 2/16/2018   Cash Tips   $   10.00 unknown   Misc expenses for multiple travel related    bell hop assistance with luggage - hotel in   Nader Tavangar;   Miscellaneous   Tips
                                                                              The Mercury Group                                                               requests on behalf of NRA                    Tallahassee during MH video shoot


1618   2018 155996   EXP-11616   1/17/2018 to 2/22/2018    Nader Tavangar     Executive VP / Managing Director at 2/15/2018   Cash Tips   $   10.00 unknown   Misc expenses for multiple travel related    bell hop assistance with luggage (SA, TX      Nader Tavangar;   Miscellaneous   Tips
                                                                              The Mercury Group                                                               requests on behalf of NRA                    review CPAC speech/current events)


1619   2017 146420   EXP-9803    1/11/2017-                Nader Tavangar     EVP / Managing Director at The     1/13/2017    Cash Tips   $   10.00 unknown   Houston Safari Club Presentations (SG)       bellman assistance with presentation          Nader Tavangar;   Miscellaneous   Tips
                                 1/25/2017                                    Mercury Group                                                                                                                materials transfer to car


1620   2016 136859   EXP-6932    2/13/2016 - 2/19/2016     Danielle Gregory   Executive Assistant                2/14/2016    Cash Tips   $   10.00 unknown   Travel to YFT H2H event                      cash tip bell hop bag service for Montel      Nader Tavangar;   Miscellaneous   Tips



1621   2016 136859   EXP-6925    2/1/2016 - 2/19/2016      Danielle Gregory   Executive Assistant                2/1/2016     Cash Tips   $   10.00 unknown   Travel with Chris Cox to Dallas for          cash tip hotel bellman-luggage room drop      Nader Tavangar;   Miscellaneous   Tips
                                                                                                                                                              commercial shoot                             off


1622   2016 136859   EXP-6925    2/1/2016 - 2/19/2016      Danielle Gregory   Executive Assistant                2/1/2016     Cash Tips   $   10.00 unknown   Travel with Chris Cox to Dallas for          cash tip hotel valet                          Nader Tavangar;   Miscellaneous   Tips
                                                                                                                                                              commercial shoot


1623   2016 136859   EXP-6932    2/13/2016 - 2/19/2016     Danielle Gregory   Executive Assistant                2/14/2016    Cash Tips   $   10.00 unknown   Travel to YFT H2H event                      cash tip valet package hold/drop off          Nader Tavangar;   Miscellaneous   Tips



1624   2017 153476   EXP-11178   9/18/2017 - 10/6/2017     Nader Tavangar     Executive VP / Managing Director at 9/30/2017   Cash Tips   $   10.00 unknown   Travel with W to MT, UT, CA, TX, and KS      Hotel bell hop luggage assistance to room     Nader Tavangar;   Miscellaneous   Tips
                                                                              The Mercury Group                                                               for various events/meetings/speaking
                                                                                                                                                              engagements
1625   2016 139727   EXP-7748    5/1/2016 to 6/2/2016      Danielle Gregory   Executive Assistant                5/16/2016    Cash Tips   $   10.00 unknown   Louisville Annual Meeting                    hotel bellman assistance with bags            Nader Tavangar;   Miscellaneous   Tips



1626   2017 143169   EXP-8653    8/31/2016 - 9/16/2016     Nader Tavangar     EVP / Managing Director at The     9/12/2016    Cash Tips   $   10.00 unknown   Travel to DFW, OKC, and Louisville - nraH    Hotel bellman baggage delivery                Nader Tavangar;   Miscellaneous   Tips
                                                                              Mercury Group                                                                   and DA (SG)


1627   2017 143169   EXP-8653    8/31/2016 - 9/16/2016     Nader Tavangar     EVP / Managing Director at The     9/14/2016    Cash Tips   $   10.00 unknown   Travel to DFW, OKC, and Louisville - nraH    Hotel car valet                               Nader Tavangar;   Miscellaneous   Tips
                                                                              Mercury Group                                                                   and DA (SG)


1628   2018 155996   EXP-11616   1/17/2018 to 2/22/2018    Nader Tavangar     Executive VP / Managing Director at 2/19/2018   Cash Tips   $   10.00 unknown   Misc expenses for multiple travel related    hotel luggage assistance - during travel to   Nader Tavangar;   Miscellaneous   Tips
                                                                              The Mercury Group                                                               requests on behalf of NRA                    Dallas to participate in current events
                                                                                                                                                                                                           mgmt. and CPAC speech rehearsal
1629   2016 136165   EXP-6672    1/6/2016 to 1/25/2016     Danielle Gregory   Executive Assistant                1/11/2016    Cash Tips   $   10.00 unknown   January OOP expenses                         hotel valet                                   Nader Tavangar;   Miscellaneous   Tips



1630   2016 136165   EXP-6672    1/6/2016 to 1/25/2016     Danielle Gregory   Executive Assistant                1/13/2016    Cash Tips   $   10.00 unknown   January OOP expenses                         hotel valet                                   Nader Tavangar;   Miscellaneous   Tips



1631   2017 144737   EXP-9186    10/17/2016 - 11/15/2016   Nader Tavangar     EVP / Managing Director at The     11/3/2016    Cash Tips   $   10.00 unknown   travel to DFW for hunting presentation and hotel valet - car                               Nader Tavangar;   Miscellaneous   Tips
                                                                              Mercury Group                                                                   race event


1632   2017 144737   EXP-9186    10/17/2016 - 11/15/2016   Nader Tavangar     EVP / Managing Director at The     11/3/2016    Cash Tips   $   10.00 unknown   travel to DFW for hunting presentation and hotel valet - car                               Nader Tavangar;   Miscellaneous   Tips
                                                                              Mercury Group                                                                   race event


1633   2017 143169   EXP-8653    8/31/2016 - 9/16/2016     Nader Tavangar     EVP / Managing Director at The     9/12/2016    Cash Tips   $   10.00 unknown   Travel to DFW, OKC, and Louisville - nraH    Hotel valet baggage hold                      Nader Tavangar;   Miscellaneous   Tips
                                                                              Mercury Group                                                                   and DA (SG)


1634   2017 143169   EXP-8653    8/31/2016 - 9/16/2016     Nader Tavangar     EVP / Managing Director at The     9/14/2016    Cash Tips   $   10.00 unknown   Travel to DFW, OKC, and Louisville - nraH    Hotel valet car                               Nader Tavangar;   Miscellaneous   Tips
                                                                              Mercury Group                                                                   and DA (SG)


1635   2017 143169   EXP-8653    8/31/2016 - 9/16/2016     Nader Tavangar     EVP / Managing Director at The     9/15/2016    Cash Tips   $   10.00 unknown   Travel to DFW, OKC, and Louisville - nraH    Hotel valet car                               Nader Tavangar;   Miscellaneous   Tips
                                                                              Mercury Group                                                                   and DA (SG)


1636   2017 147112   EXP-10040   2/6/17 - 2/20/17          Nader Tavangar     EVP / Managing Director at The     2/7/2017     Cash Tips   $   10.00 unknown   Travel to CA for St. H speech/presentation   Hotel valet car assistance                    Nader Tavangar;   Miscellaneous   Tips
                                                                              Mercury Group                                                                   (NRAH)


1637   2017 147112   EXP-10040   2/6/17 - 2/20/17          Nader Tavangar     EVP / Managing Director at The     2/7/2017     Cash Tips   $   10.00 unknown   Travel to CA for St. H speech/presentation   Package delivery (printouts/hard drive)       Nader Tavangar;   Miscellaneous   Tips
                                                                              Mercury Group                                                                   (NRAH)


1638   2017 143169   EXP-8715    9/17/2016 - 9/23/2016     Nader Tavangar     EVP / Managing Director at The     9/20/2016    Cash Tips   $   10.00 unknown   Travel expenses for meetings (OKC and        RC hotel bell hop                             Nader Tavangar;   Miscellaneous   Tips
                                                                              Mercury Group                                                                   Dallas) with W


1639   2017 143169   EXP-8715    9/17/2016 - 9/23/2016     Nader Tavangar     EVP / Managing Director at The     9/21/2016    Cash Tips   $   10.00 unknown   Travel expenses for meetings (OKC and        RC hotel bell hop                             Nader Tavangar;   Miscellaneous   Tips
                                                                              Mercury Group                                                                   Dallas) with W


1640   2017 144737   EXP-9186    10/17/2016 - 11/15/2016   Nader Tavangar     EVP / Managing Director at The     11/4/2016    Cash Tips   $   10.00 unknown   travel to DFW for hunting presentation and restaurant valet - car in and out               Nader Tavangar;   Miscellaneous   Tips
                                                                              Mercury Group                                                                   race event


1641   2017 144737   EXP-9186    10/17/2016 - 11/15/2016   Nader Tavangar     EVP / Managing Director at The     11/5/2016    Cash Tips   $   10.00 unknown   travel to DFW for hunting presentation and restaurant valet - car in and out               Nader Tavangar;   Miscellaneous   Tips
                                                                              Mercury Group                                                                   race event


1642   2017 143169   EXP-8653    8/31/2016 - 9/16/2016     Nader Tavangar     EVP / Managing Director at The     9/14/2016    Cash Tips   $   10.00 unknown   Travel to DFW, OKC, and Louisville - nraH    Restaurant valet car                          Nader Tavangar;   Miscellaneous   Tips
                                                                              Mercury Group                                                                   and DA (SG)




                                                                                                                                                                                                                                                                                                  APP. 02112
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1643   2016 138653   EXP-7403    4/10/2016 - 4/19/2016     Danielle Gregory   Executive Assistant                4/11/2016     Cash Tips   $   10.00 unknown   Travel with Wayne to Dallas for meetings     Tip hotel valet car                          Nader Tavangar;   Miscellaneous   Tips
                                                                                                                                                               with AM (SG)


1644   2017 153476   EXP-11178   9/18/2017 - 10/6/2017     Nader Tavangar     Executive VP / Managing Director at 10/3/2017    Cash Tips   $   10.00 unknown   Travel with W to MT, UT, CA, TX, and KS      TX hotel bell hop luggage to room (NT)       NT;               Miscellaneous   Tips
                                                                              The Mercury Group                                                                for various events/meetings/speaking
                                                                                                                                                               engagements
1645   2017 153476   EXP-11178   9/18/2017 - 10/6/2017     Nader Tavangar     Executive VP / Managing Director at 10/4/2017    Cash Tips   $   10.00 unknown   Travel with W to MT, UT, CA, TX, and KS      TX hotel valet package delivery              Nader Tavangar;   Miscellaneous   Tips
                                                                              The Mercury Group                                                                for various events/meetings/speaking
                                                                                                                                                               engagements
1646   2017 153476   EXP-11178   9/18/2017 - 10/6/2017     Nader Tavangar     Executive VP / Managing Director at 9/29/2017    Cash Tips   $   10.00 unknown   Travel with W to MT, UT, CA, TX, and KS      UT hotel bell hop car park                   Nader Tavangar;   Miscellaneous   Tips
                                                                              The Mercury Group                                                                for various events/meetings/speaking
                                                                                                                                                               engagements
1647   2017 153476   EXP-11178   9/18/2017 - 10/6/2017     Nader Tavangar     Executive VP / Managing Director at 9/29/2017    Cash Tips   $   10.00 unknown   Travel with W to MT, UT, CA, TX, and KS      UT hotel bell hop car return                 Nader Tavangar;   Miscellaneous   Tips
                                                                              The Mercury Group                                                                for various events/meetings/speaking
                                                                                                                                                               engagements
1648   2017 147112   EXP-10053   1/3/17 - 2/22/17          Nader Tavangar     EVP / Managing Director at The     2/13/2017     Cash Tips   $   10.00 unknown   Misc OOP requests as directed                Valet car service in and out during YFT      Nader Tavangar;   Miscellaneous   Tips
                                                                              Mercury Group                                                                                                                 presentation


1649   2016 143559   EXP-8999    10/5/2016-                Nader Tavangar     EVP / Managing Director at The     10/6/2016     Cash Tips   $   15.00 unknown   Travel with Wayne for NRA business to        Hotel staff assistance                       Nader Tavangar;   Miscellaneous   Tips
                                 10/21/2016                                   Mercury Group                                                                    Dallas (video shoot) and Bakersfield for
                                                                                                                                                               speaking engagement
1650   2017 143169   EXP-8653    8/31/2016 - 9/16/2016     Nader Tavangar     EVP / Managing Director at The     9/15/2016     Cash Tips   $   20.00 unknown   Travel to DFW, OKC, and Louisville - nraH    Airport valet car drop off                   Nader Tavangar;   Miscellaneous   Tips
                                                                              Mercury Group                                                                    and DA (SG)


1651   2017 149459   EXP-10512   2/15/17 - 5/10/17         Nader Tavangar     Executive VP / Managing Director at 2/15/2017    Cash Tips   $   20.00 unknown   Travel with W for meeting commercial         Airport valet luggage assistance             Nader Tavangar;   Miscellaneous   Tips
1652   2017 153476   EXP-11208   10/17/2017 - 10/19/2017   Nader Tavangar     Executive VP / Managing Director at 10/19/2017   Cash Tips   $   20.00 unknown   Travel to Waltrip Charity event              Airport valet luggage assitance              Nader Tavangar;   Miscellaneous   Tips
1653   2016 143559   EXP-8999    10/5/2016-                Nader Tavangar     EVP / Managing Director at The     10/7/2016     Cash Tips   $   20.00 unknown   Travel with Wayne for NRA business to        Baggage assistance DFW airport valet         Nader Tavangar;   Miscellaneous   Tips
1654   2017 147112   EXP-10040   2/6/17 - 2/20/17          Nader Tavangar     EVP / Managing Director at The     2/10/2017     Cash Tips   $   20.00 unknown   Travel to CA for St. H speech/presentation   Bellman luggage assistance                   Nader Tavangar;   Miscellaneous   Tips
1655   2016 139727   EXP-7748    5/1/2016 to 6/2/2016      Danielle Gregory   Executive Assistant                5/16/2016     Cash Tips   $   20.00 unknown   Louisville Annual Meeting                    bellman ship handling and deliver (galt      Nader Tavangar;   Miscellaneous   Tips
1656   2016 139727   EXP-7748    5/1/2016 to 6/2/2016      Danielle Gregory   Executive Assistant                5/16/2016     Cash Tips   $   20.00 unknown   Louisville Annual Meeting                    bellman shipping handling and delivery       Nader Tavangar;   Miscellaneous   Tips
1657   2017 153476   EXP-11178   9/18/2017 - 10/6/2017     Nader Tavangar     Executive VP / Managing Director at 10/3/2017    Cash Tips   $   20.00 unknown   Travel with W to MT, UT, CA, TX, and KS      CA driver hotel to airport                   Nader Tavangar;   Miscellaneous   Tips
                                                                              The Mercury Group                                                                for various events/meetings/speaking
1658   2017 153476   EXP-11178   9/18/2017 - 10/6/2017     Nader Tavangar     Executive VP / Managing Director at 10/1/2017    Cash Tips   $   20.00 unknown   Travel with W to MT, UT, CA, TX, and KS      CA hotel valet car call assistance           Nader Tavangar;   Miscellaneous   Tips
                                                                              The Mercury Group                                                                for various events/meetings/speaking
1659   2017 153476   EXP-11178   9/18/2017 - 10/6/2017     Nader Tavangar     Executive VP / Managing Director at 10/2/2017    Cash Tips   $   20.00 unknown   Travel with W to MT, UT, CA, TX, and KS      CA hotel valet car call assistance           Nader Tavangar;   Miscellaneous   Tips
                                                                              The Mercury Group                                                                for various events/meetings/speaking
1660   2017 153476   EXP-11178   9/18/2017 - 10/6/2017     Nader Tavangar     Executive VP / Managing Director at 10/2/2017    Cash Tips   $   20.00 unknown   Travel with W to MT, UT, CA, TX, and KS      CA hotel valet car return assistance         Nader Tavangar;   Miscellaneous   Tips
                                                                              The Mercury Group                                                                for various events/meetings/speaking
1661   2017 153476   EXP-11178   9/18/2017 - 10/6/2017     Nader Tavangar     Executive VP / Managing Director at 10/2/2017    Cash Tips   $   20.00 unknown   Travel with W to MT, UT, CA, TX, and KS      CA hotel valet car return assistance         Nader Tavangar;   Miscellaneous   Tips
                                                                              The Mercury Group                                                                for various events/meetings/speaking
1662   2017 147112   EXP-10070   1/31/17 - 2/23/17         Nader Tavangar     EVP / Managing Director at The     1/31/2017     Cash Tips   $   20.00 unknown   Travel to LV SCI Show                        Car driver to airport                        Nader Tavangar;   Miscellaneous   Tips
                                                                              Mercury Group
1663   2017 147112   EXP-10070   1/31/17 - 2/23/17         Nader Tavangar     EVP / Managing Director at The     2/1/2017      Cash Tips   $   20.00 unknown   Travel to LV SCI Show                        car driver to hotel                          Nader Tavangar;   Miscellaneous   Tips
                                                                              Mercury Group
1664   2017 150823   EXP-10920   7/20/2017 - 7/21/2017     Nader Tavangar     Executive VP / Managing Director at 7/20/2017    Cash Tips   $   20.00 unknown   NRA Mileage and Travel                       Cash advance for travel with Wayne to        Nader Tavangar;   Miscellaneous   Tips
                                                                              The Mercury Group                                                                                                             Florida for FONRA dinner
1665   2016 136859   EXP-6926    1/27/2016 - 2/20/2016     Danielle Gregory   Executive Assistant                2/7/2016      Cash Tips   $   20.00 unknown   Travel with Wayne to SCI                     cash tip for driver from airport             Nader Tavangar;   Miscellaneous   Tips


1666   2016 136859   EXP-6932    2/13/2016 - 2/19/2016     Danielle Gregory   Executive Assistant                2/13/2016     Cash Tips   $   20.00 unknown   Travel to YFT H2H event                      cash tip for driver from event               Nader Tavangar;   Miscellaneous   Tips


1667   2016 136859   EXP-6932    2/13/2016 - 2/19/2016     Danielle Gregory   Executive Assistant                2/13/2016     Cash Tips   $   20.00 unknown   Travel to YFT H2H event                      cash tip for driver to chauffer Montel       Nader Tavangar;   Miscellaneous   Tips
                                                                                                                                                                                                            Williams from train station
1668   2016 136859   EXP-6932    2/13/2016 - 2/19/2016     Danielle Gregory   Executive Assistant                2/14/2016     Cash Tips   $   20.00 unknown   Travel to YFT H2H event                      cash tip for driver to chauffer Montel       Nader Tavangar;   Miscellaneous   Tips
                                                                                                                                                                                                            Williams to train station
1669   2016 136859   EXP-6932    2/13/2016 - 2/19/2016     Danielle Gregory   Executive Assistant                2/13/2016     Cash Tips   $   20.00 unknown   Travel to YFT H2H event                      cash tip for driver to event                 Nader Tavangar;   Miscellaneous   Tips


1670   2016 136859   EXP-6925    2/1/2016 - 2/19/2016      Danielle Gregory   Executive Assistant                2/1/2016      Cash Tips   $   20.00 unknown   Travel with Chris Cox to Dallas for          Cash tip hotel car service                   Nader Tavangar;   Miscellaneous   Tips
                                                                                                                                                               commercial shoot


1671   2016 136859   EXP-6926    1/27/2016 - 2/20/2016     Danielle Gregory   Executive Assistant                2/2/2016      Cash Tips   $   20.00 unknown   Travel with Wayne to SCI                     cash tip hotel valet assistance with check   Nader Tavangar;   Miscellaneous   Tips
                                                                                                                                                                                                            in/luggage


1672   2016 136859   EXP-6932    2/13/2016 - 2/19/2016     Danielle Gregory   Executive Assistant                2/14/2016     Cash Tips   $   20.00 unknown   Travel to YFT H2H event                      cash tip security personnel walkthrough      Nader Tavangar;   Miscellaneous   Tips
                                                                                                                                                                                                            assistance


1673   2017 144737   EXP-9186    10/17/2016 - 11/15/2016   Nader Tavangar     EVP / Managing Director at The     11/3/2016     Cash Tips   $   20.00 unknown   travel to DFW for hunting presentation and concierge - rental car assistance              Nader Tavangar;   Miscellaneous   Tips
                                                                              Mercury Group                                                                    race event



1674   2017 144737   EXP-9186    10/17/2016 - 11/15/2016   Nader Tavangar     EVP / Managing Director at The     11/7/2016     Cash Tips   $   20.00 unknown   travel to DFW for hunting presentation and concierge - rental car return                  Nader Tavangar;   Miscellaneous   Tips
                                                                              Mercury Group                                                                    race event



1675   2017 144737   EXP-9186    10/17/2016 - 11/15/2016   Nader Tavangar     EVP / Managing Director at The     11/4/2016     Cash Tips   $   20.00 unknown   travel to DFW for hunting presentation and concierge - restaurant reservation             Nader Tavangar;   Miscellaneous   Tips
                                                                              Mercury Group                                                                    race event



1676   2018 155996   EXP-11616   1/17/2018 to 2/22/2018    Nader Tavangar     Executive VP / Managing Director at 2/15/2018    Cash Tips   $   20.00 unknown   Misc expenses for multiple travel related    concierge assistance with restaurant         Nader Tavangar;   Miscellaneous   Tips
                                                                              The Mercury Group                                                                requests on behalf of NRA                    reservation during SA, TX travel to review
                                                                                                                                                                                                            CPAC speech/current events




                                                                                                                                                                                                                                                                                                  APP. 02113
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1677        2017 147112   EXP-10040   2/6/17 - 2/20/17          Nader Tavangar     EVP / Managing Director at The     2/7/2017      Cash Tips   $   20.00 unknown   Travel to CA for St. H speech/presentation   Concierge car rental assistance             Nader Tavangar;    Miscellaneous   Tips
                                                                                   Mercury Group                                                                    (NRAH)



1678        2016 143559   EXP-8999    10/5/2016-                Nader Tavangar     EVP / Managing Director at The     10/8/2016     Cash Tips   $   20.00 unknown   Travel with Wayne for NRA business to        concierge restaurant assistance             `                  Miscellaneous   Tips
                                      10/21/2016                                   Mercury Group                                                                    Dallas (video shoot) and Bakersfield for
                                                                                                                                                                    speaking engagement


1679        2017 153476   EXP-11178   9/18/2017 - 10/6/2017     Nader Tavangar     Executive VP / Managing Director at 10/6/2017    Cash Tips   $   20.00 unknown   Travel with W to MT, UT, CA, TX, and KS      Concierge restaurant assistance - private   Nader Tavangar;    Miscellaneous   Tips
                                                                                   The Mercury Group                                                                for various events/meetings/speaking         room (lunch)
                                                                                                                                                                    engagements


1680        2017 153476   EXP-11208   10/17/2017 - 10/19/2017   Nader Tavangar     Executive VP / Managing Director at 10/18/2017   Cash Tips   $   20.00 unknown   Travel to Waltrip Charity event              Concierge restaurant reservation            Nader Tavangar;    Miscellaneous   Tips
                                                                                   The Mercury Group



1681        2016 136165   EXP-6672    1/6/2016 to 1/25/2016     Danielle Gregory   Executive Assistant                1/11/2016     Cash Tips   $   20.00 unknown   January OOP expenses                         bell hop luggage - TM                       TM;                Miscellaneous   Tips




1682        2016 139727   EXP-7748    5/1/2016 to 6/2/2016      Danielle Gregory   Executive Assistant                5/21/2016     Cash Tips   $   20.00 unknown   Louisville Annual Meeting                    J. Byrd (NRA guest) for lunch (no receipt) J Byrd;             Miscellaneous   Tips




1683        2016 139727   EXP-7748    5/1/2016 to 6/2/2016      Danielle Gregory   Executive Assistant                5/22/2016     Cash Tips   $   20.00 unknown   Louisville Annual Meeting                    J. Byrd (NRA guest) for lunch (no receipt) J Byrd;             Miscellaneous   Tips




1684        2017 147112   EXP-10070   1/31/17 - 2/23/17         Nader Tavangar     EVP / Managing Director at The     2/1/2017      Cash Tips   $   20.00 unknown   Travel to LV SCI Show                        DC airport valet (front) luggage            Nader Tavangar;    Miscellaneous   Tips
                                                                                   Mercury Group



1685        2017 143169   EXP-8715    9/17/2016 - 9/23/2016     Nader Tavangar     EVP / Managing Director at The     9/19/2016     Cash Tips   $   20.00 unknown   Travel expenses for meetings (OKC and        DC airport front valet (TM/NT)              TM; NT;            Miscellaneous   Tips
                                                                                   Mercury Group                                                                    Dallas) with W



1686   10   2017 143169   EXP-8715    9/17/2016 - 9/23/2016     Nader Tavangar     EVP / Managing Director at The     9/19/2016     Cash Tips   $   20.00 unknown   Travel expenses for meetings (OKC and        DC airport front valets (W/S)               W; S;              Miscellaneous   Tips
                                                                                   Mercury Group                                                                    Dallas) with W



1687        2017 147112   EXP-10070   1/31/17 - 2/23/17         Nader Tavangar     EVP / Managing Director at The     2/1/2017      Cash Tips   $   20.00 unknown   Travel to LV SCI Show                        DC airport valet (rear) luggage             Nader Tavangar;    Miscellaneous   Tips
                                                                                   Mercury Group



1688        2017 148749   EXP-10518   4/7/2017 - 5/10/2017      Nader Tavangar     Executive VP / Managing Director at 4/7/2017     Cash Tips   $   20.00 unknown   Travel with Wayne to MI for Hillsdale        DC airport valet tip assistance with luggage Nader Tavangar;   Miscellaneous   Tips
                                                                                   The Mercury Group                                                                speech, then Dallas to meet with CC re CG,
                                                                                                                                                                    then return to DC (SK)


1689        2017 143169   EXP-8715    9/17/2016 - 9/23/2016     Nader Tavangar     EVP / Managing Director at The     9/19/2016     Cash Tips   $   20.00 unknown   Travel expenses for meetings (OKC and        DC driver to airport                        Nader Tavangar;    Miscellaneous   Tips
                                                                                   Mercury Group                                                                    Dallas) with W



1690        2017 147112   EXP-10070   1/31/17 - 2/23/17         Nader Tavangar     EVP / Managing Director at The     1/31/2017     Cash Tips   $   20.00 unknown   Travel to LV SCI Show                        DC valet luggage                            Nader Tavangar;    Miscellaneous   Tips
                                                                                   Mercury Group



1691        2016 143559   EXP-8999    10/5/2016-                Nader Tavangar     EVP / Managing Director at The     10/5/2016     Cash Tips   $   20.00 unknown   Travel with Wayne for NRA business to        DFW airport valet for luggage assistance    Nader Tavangar;    Miscellaneous   Tips
                                      10/21/2016                                   Mercury Group                                                                    Dallas (video shoot) and Bakersfield for
                                                                                                                                                                    speaking engagement
1692        2017 149459   EXP-10512   2/15/17 - 5/10/17         Nader Tavangar     Executive VP / Managing Director at 2/15/2017    Cash Tips   $   20.00 unknown   Travel with W for meeting commercial         DFW airport valet luggage assistance        Nader Tavangar;    Miscellaneous   Tips
                                                                                   The Mercury Group                                                                shoot with AM (SK)


1693        2017 149459   EXP-10512   2/15/17 - 5/10/17         Nader Tavangar     Executive VP / Managing Director at 2/16/2017    Cash Tips   $   20.00 unknown   Travel with W for meeting commercial         DFW airport valet luggage assistance        Nader Tavangar;    Miscellaneous   Tips
                                                                                   The Mercury Group                                                                shoot with AM (SK)


1694        2017 149459   EXP-10512   2/15/17 - 5/10/17         Nader Tavangar     Executive VP / Managing Director at 2/16/2017    Cash Tips   $   20.00 unknown   Travel with W for meeting commercial         DFW airport valet luggage assistance        Nader Tavangar;    Miscellaneous   Tips
                                                                                   The Mercury Group                                                                shoot with AM (SK)


1695        2017 143169   EXP-8653    8/31/2016 - 9/16/2016     Nader Tavangar     EVP / Managing Director at The     9/14/2016     Cash Tips   $   20.00 unknown   Travel to DFW, OKC, and Louisville - nraH    Hotel valet luggage (TM/NT)                 TM; NT;            Miscellaneous   Tips
                                                                                   Mercury Group                                                                    and DA (SG)



1696   10   2017 143169   EXP-8653    8/31/2016 - 9/16/2016     Nader Tavangar     EVP / Managing Director at The     9/14/2016     Cash Tips   $   20.00 unknown   Travel to DFW, OKC, and Louisville - nraH    OKC airport valet luggage (W, TS)           W; TS;             Miscellaneous   Tips
                                                                                   Mercury Group                                                                    and DA (SG)



1697        2017 148749   EXP-10518   4/7/2017 - 5/10/2017      Nader Tavangar     Executive VP / Managing Director at 4/7/2017     Cash Tips   $   20.00 unknown   Travel with Wayne to MI for Hillsdale        DFW airport valet tip assistance with       Nader Tavangar;    Miscellaneous   Tips
                                                                                   The Mercury Group                                                                speech, then Dallas to meet with CC re CG, luggage
                                                                                                                                                                    then return to DC (SK)




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1698   2016 139727   EXP-7748    5/1/2016 to 6/2/2016      Danielle Gregory   Executive Assistant                5/20/2016     Cash Tips   $   20.00 unknown   Louisville Annual Meeting                    driver                                        Nader Tavangar;   Miscellaneous   Tips




1699   2016 139727   EXP-7748    5/1/2016 to 6/2/2016      Danielle Gregory   Executive Assistant                5/23/2016     Cash Tips   $   20.00 unknown   Louisville Annual Meeting                    driver airport to office                      Nader Tavangar;   Miscellaneous   Tips




1700   2017 143169   EXP-8653    8/31/2016 - 9/16/2016     Nader Tavangar     EVP / Managing Director at The     9/15/2016     Cash Tips   $   20.00 unknown   Travel to DFW, OKC, and Louisville - nraH    Driver from airport                           Nader Tavangar;   Miscellaneous   Tips
                                                                              Mercury Group                                                                    and DA (SG)



1701   2017 153476   EXP-11208   10/17/2017 - 10/19/2017   Nader Tavangar     Executive VP / Managing Director at 10/18/2017   Cash Tips   $   20.00 unknown   Travel to Waltrip Charity event              Driver from airport to hotel                  Nader Tavangar;   Miscellaneous   Tips
                                                                              The Mercury Group



1702   2016 140440   EXP-7997    6/23/16 to 6/27/16        Danielle Gregory   Executive Assistant                6/23/2016     Cash Tips   $   20.00 unknown   Travel with T. Schropp to ATL for pre-site   driver from airport to hotel                  Nader Tavangar;   Miscellaneous   Tips
                                                                                                                                                               committee fundraiser



1703   2016 140440   EXP-7997    6/23/16 to 6/27/16        Danielle Gregory   Executive Assistant                6/24/2016     Cash Tips   $   20.00 unknown   Travel with T. Schropp to ATL for pre-site   driver hotel to airport                       Nader Tavangar;   Miscellaneous   Tips
                                                                                                                                                               committee fundraiser



1704   2016 137631   EXP-7195    3/3/2016 - 3/25/2016      Danielle Gregory   Executive Assistant                3/3/2016      Cash Tips   $   20.00 unknown   Correction from previous expense report/     Driver tip - CPAC                             Nader Tavangar;   Miscellaneous   Tips
                                                                                                                                                               March NR OOP expenses



1705   2016 137631   EXP-7195    3/3/2016 - 3/25/2016      Danielle Gregory   Executive Assistant                3/3/2016      Cash Tips   $   20.00 unknown   Correction from previous expense report/     Driver tip - CPAC                             Nader Tavangar;   Miscellaneous   Tips
                                                                                                                                                               March NR OOP expenses



1706   2016 137631   EXP-7195    3/3/2016 - 3/25/2016      Danielle Gregory   Executive Assistant                3/23/2016     Cash Tips   $   20.00 unknown   Correction from previous expense report/     Driver tip - Liberty University speech        Nader Tavangar;   Miscellaneous   Tips
                                                                                                                                                               March NR OOP expenses




1707   2017 153476   EXP-11178   9/18/2017 - 10/6/2017     Nader Tavangar     Executive VP / Managing Director at 9/30/2017    Cash Tips   $   20.00 unknown   Travel with W to MT, UT, CA, TX, and KS      Driver tip CA airport to hotel                Nader Tavangar;   Miscellaneous   Tips
                                                                              The Mercury Group                                                                for various events/meetings/speaking
                                                                                                                                                               engagements


1708   2018 159388   EXP-12026   3/29/2018-                Nader Tavangar     Executive VP / Managing Director at 4/6/2018     Cash Tips   $   20.00 unknown   Misc Travel                                  driver tip DC car service airport to office   Nader Tavangar;   Miscellaneous   Tips
                                 6/27/2018                                    The Mercury Group                                                                                                             during stategic mtg with AM/RM on
                                                                                                                                                                                                            current events and A/M Dallas 4/5 4/6


1709   2018 155996   EXP-11616   1/17/2018 to 2/22/2018    Nader Tavangar     Executive VP / Managing Director at 2/21/2018    Cash Tips   $   20.00 unknown   Misc expenses for multiple travel related    driver tip form airport to office - return    Nader Tavangar;   Miscellaneous   Tips
                                                                              The Mercury Group                                                                requests on behalf of NRA                    from Dallas CPAC speech
                                                                                                                                                                                                            rehearsal/current event mgmt.


1710   2017 147112   EXP-10070   1/31/17 - 2/23/17         Nader Tavangar     EVP / Managing Director at The     2/4/2017      Cash Tips   $   20.00 unknown   Travel to LV SCI Show                        Driver tip from airport                       Nader Tavangar;   Miscellaneous   Tips
                                                                              Mercury Group



1711   2018 159388   EXP-12026   3/29/2018-                Nader Tavangar     Executive VP / Managing Director at 4/5/2018     Cash Tips   $   20.00 unknown   Misc Travel                                  driver tip from airport to hotel during       Nader Tavangar;   Miscellaneous   Tips
                                 6/27/2018                                    The Mercury Group                                                                                                             stategic mtg with AM/RM on current
                                                                                                                                                                                                            events and A/M Dallas 4/5 and 4/6


1712   2017 149459   EXP-10512   2/15/17 - 5/10/17         Nader Tavangar     Executive VP / Managing Director at 2/15/2017    Cash Tips   $   20.00 unknown   Travel with W for meeting commercial         Driver tip from airport to hotel/office       Nader Tavangar;   Miscellaneous   Tips
                                                                              The Mercury Group                                                                shoot with AM (SK)



1713   2017 148749   EXP-10518   4/7/2017 - 5/10/2017      Nader Tavangar     Executive VP / Managing Director at 4/7/2017     Cash Tips   $   20.00 unknown   Travel with Wayne to MI for Hillsdale        Driver tip from airport to office             Nader Tavangar;   Miscellaneous   Tips
                                                                              The Mercury Group                                                                speech, then Dallas to meet with CC re CG,
                                                                                                                                                               then return to DC (SK)


1714   2017 148749   EXP-10519   4/20/2017 - 5/10/2017     Nader Tavangar     Executive VP / Managing Director at 4/20/2017    Cash Tips   $   20.00 unknown   Travel with W and TS for HLF fundraiser in   Driver tip from airport to venue              Nader Tavangar;   Miscellaneous   Tips
                                                                              The Mercury Group                                                                SC (SK)



1715   2017 149459   EXP-10512   2/15/17 - 5/10/17         Nader Tavangar     Executive VP / Managing Director at 2/16/2017    Cash Tips   $   20.00 unknown   Travel with W for meeting commercial         driver tip from office to airport             Nader Tavangar;   Miscellaneous   Tips
                                                                              The Mercury Group                                                                shoot with AM (SK)



1716   2018 155996   EXP-11616   1/17/2018 to 2/22/2018    Nader Tavangar     Executive VP / Managing Director at 2/22/2018    Cash Tips   $   20.00 unknown   Misc expenses for multiple travel related    driver tip from office to Gaylord hotel and Nader Tavangar;     Miscellaneous   Tips
                                                                              The Mercury Group                                                                requests on behalf of NRA                    back - travel to escort W/attendees to
                                                                                                                                                                                                            CPAC speaking engagement


1717   2017 148749   EXP-10519   4/20/2017 - 5/10/2017     Nader Tavangar     Executive VP / Managing Director at 4/21/2017    Cash Tips   $   20.00 unknown   Travel with W and TS for HLF fundraiser in   Driver tip from venue to airport              Nader Tavangar;   Miscellaneous   Tips
                                                                              The Mercury Group                                                                SC (SK)




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1718   2017 153476   EXP-11178   9/18/2017 - 10/6/2017     Nader Tavangar     Executive VP / Managing Director at 10/6/2017    Cash Tips   $   20.00 unknown   Travel with W to MT, UT, CA, TX, and KS      Driver tip hotel to airport                 Nader Tavangar;    Miscellaneous   Tips
                                                                              The Mercury Group                                                                for various events/meetings/speaking
                                                                                                                                                               engagements


1719   2017 147112   EXP-10040   2/6/17 - 2/20/17          Nader Tavangar     EVP / Managing Director at The     2/10/2017     Cash Tips   $   20.00 unknown   Travel to CA for St. H speech/presentation   Driver tip hotel to airport                 Nader Tavangar;    Miscellaneous   Tips
                                                                              Mercury Group                                                                    (NRAH)



1720   2016 136165   EXP-6672    1/6/2016 to 1/25/2016     Danielle Gregory   Executive Assistant                1/11/2016     Cash Tips   $   20.00 unknown   January OOP expenses                         driver to airport                           Nader Tavangar;    Miscellaneous   Tips




1721   2017 147112   EXP-10070   1/31/17 - 2/23/17         Nader Tavangar     EVP / Managing Director at The     1/31/2017     Cash Tips   $   20.00 unknown   Travel to LV SCI Show                        Driver to airport                           Nader Tavangar;    Miscellaneous   Tips
                                                                              Mercury Group



1722   2017 147112   EXP-10070   1/31/17 - 2/23/17         Nader Tavangar     EVP / Managing Director at The     2/4/2017      Cash Tips   $   20.00 unknown   Travel to LV SCI Show                        Driver to airport                           Nader Tavangar;    Miscellaneous   Tips
                                                                              Mercury Group
1723   2016 143559   EXP-8999    10/5/2016-                Nader Tavangar     EVP / Managing Director at The     10/5/2016     Cash Tips   $   20.00 unknown   Travel with Wayne for NRA business to        Driver to airport                           Nader Tavangar;    Miscellaneous   Tips
                                 10/21/2016                                   Mercury Group                                                                    Dallas (video shoot) and Bakersfield for
1724   2017 153476   EXP-11178   9/18/2017 - 10/6/2017     Nader Tavangar     Executive VP / Managing Director at 10/6/2017    Cash Tips   $   20.00 unknown   Travel with W to MT, UT, CA, TX, and KS      Driver top airport to office                Nader Tavangar;    Miscellaneous   Tips
                                                                              The Mercury Group                                                                for various events/meetings/speaking
1725   2017 153476   EXP-11178   9/18/2017 - 10/6/2017     Nader Tavangar     Executive VP / Managing Director at 9/30/2017    Cash Tips   $   20.00 unknown   Travel with W to MT, UT, CA, TX, and KS      MT airport valet car rental assistance      MT;                Miscellaneous   Tips
                                                                              The Mercury Group                                                                for various events/meetings/speaking
1726   2017 153476   EXP-11178   9/18/2017 - 10/6/2017     Nader Tavangar     Executive VP / Managing Director at 9/30/2017    Cash Tips   $   20.00 unknown   Travel with W to MT, UT, CA, TX, and KS      MT airport valet car rental return          MT;                Miscellaneous   Tips
                                                                              The Mercury Group                                                                for various events/meetings/speaking         assistance
1727   2017 147112   EXP-10070   1/31/17 - 2/23/17         Nader Tavangar     EVP / Managing Director at The     2/3/2017      Cash Tips   $   20.00 unknown   Travel to LV SCI Show                        Head matradee                               Nader Tavangar;    Miscellaneous   Tips
                                                                              Mercury Group
1728   2016 136165   EXP-6672    1/6/2016 to 1/25/2016     Danielle Gregory   Executive Assistant                1/11/2016     Cash Tips   $   20.00 unknown   January OOP expenses                         hotel bell hop - luggage to room            Nader Tavangar;    Miscellaneous   Tips



1729   2016 143559   EXP-8999    10/5/2016-                Nader Tavangar     EVP / Managing Director at The     10/5/2016     Cash Tips   $   20.00 unknown   Travel with Wayne for NRA business to        hotel bell hop (outside)                    Nader Tavangar;    Miscellaneous   Tips
                                 10/21/2016                                   Mercury Group                                                                    Dallas (video shoot) and Bakersfield for
                                                                                                                                                               speaking engagement
1730   2016 143559   EXP-8999    10/5/2016-                Nader Tavangar     EVP / Managing Director at The     10/7/2016     Cash Tips   $   20.00 unknown   Travel with Wayne for NRA business to        hotel bell hop assistance                   Nader Tavangar;    Miscellaneous   Tips
                                 10/21/2016                                   Mercury Group                                                                    Dallas (video shoot) and Bakersfield for
                                                                                                                                                               speaking engagement
1731   2018 155996   EXP-11616   1/17/2018 to 2/22/2018    Nader Tavangar     Executive VP / Managing Director at 2/16/2018    Cash Tips   $   20.00 unknown   Misc expenses for multiple travel related    hotel bellhop assistance with luggage (slap) Nader Tavangar;   Miscellaneous   Tips
                                                                              The Mercury Group                                                                requests on behalf of NRA                    to airport
1732   2017 153476   EXP-11178   9/18/2017 - 10/6/2017     Nader Tavangar     Executive VP / Managing Director at 9/29/2017    Cash Tips   $   20.00 unknown   Travel with W to MT, UT, CA, TX, and KS      Driver tip to airport from office (TM/NT)   TM; NT;            Miscellaneous   Tips
                                                                              The Mercury Group                                                                for various events/meetings/speaking
1733   2017 147112   EXP-10070   1/31/17 - 2/23/17         Nader Tavangar     EVP / Managing Director at The     2/4/2017      Cash Tips   $   20.00 unknown   Travel to LV SCI Show                        hotel bellman - luggage                     Nader Tavangar;    Miscellaneous   Tips
                                                                              Mercury Group
1734   2017 146420   EXP-9803    1/11/2017-                Nader Tavangar     EVP / Managing Director at The     1/12/2017     Cash Tips   $   20.00 unknown   Houston Safari Club Presentations (SG)       hotel bellman and valet assistance with     Nader Tavangar;    Miscellaneous   Tips
                                 1/25/2017                                    Mercury Group                                                                                                                 luggage
1735   2017 147112   EXP-10040   2/6/17 - 2/20/17          Nader Tavangar     EVP / Managing Director at The     2/6/2017      Cash Tips   $   20.00 unknown   Travel to CA for St. H speech/presentation   Hotel bellman luggage assistance            Nader Tavangar;    Miscellaneous   Tips
                                                                              Mercury Group                                                                    (NRAH)
1736   2017 149459   EXP-10512   2/15/17 - 5/10/17         Nader Tavangar     Executive VP / Managing Director at 2/15/2017    Cash Tips   $   20.00 unknown   Travel with W for meeting commercial         hotel bellman luggage assistance            Nader Tavangar;    Miscellaneous   Tips
                                                                              The Mercury Group                                                                shoot with AM (SK)
1737   2017 149459   EXP-10512   2/15/17 - 5/10/17         Nader Tavangar     Executive VP / Managing Director at 2/16/2017    Cash Tips   $   20.00 unknown   Travel with W for meeting commercial         hotel bellman luggage assistance            Nader Tavangar;    Miscellaneous   Tips
                                                                              The Mercury Group                                                                shoot with AM (SK)
1738   2017 147112   EXP-10070   1/31/17 - 2/23/17         Nader Tavangar     EVP / Managing Director at The     1/31/2017     Cash Tips   $   20.00 unknown   Travel to LV SCI Show                        hotel bellman luggage assistance to car     Nader Tavangar;    Miscellaneous   Tips
                                                                              Mercury Group
1739   2017 147112   EXP-10070   1/31/17 - 2/23/17         Nader Tavangar     EVP / Managing Director at The     1/31/2017     Cash Tips   $   20.00 unknown   Travel to LV SCI Show                        hotel bellman luggage return to rooms       Nader Tavangar;    Miscellaneous   Tips
                                                                              Mercury Group
1740   2017 143169   EXP-8653    8/31/2016 - 9/16/2016     Nader Tavangar     EVP / Managing Director at The     9/13/2016     Cash Tips   $   20.00 unknown   Travel to DFW, OKC, and Louisville - nraH    Hotel concierge (bag/laundry)               Nader Tavangar;    Miscellaneous   Tips
                                                                              Mercury Group                                                                    and DA (SG)
1741   2017 147112   EXP-10040   2/6/17 - 2/20/17          Nader Tavangar     EVP / Managing Director at The     2/6/2017      Cash Tips   $   20.00 unknown   Travel to CA for St. H speech/presentation   Hotel concierge resturant assistance        Nader Tavangar;    Miscellaneous   Tips
                                                                              Mercury Group                                                                    (NRAH)
1742   2016 136165   EXP-6672    1/6/2016 to 1/25/2016     Danielle Gregory   Executive Assistant                1/11/2016     Cash Tips   $   20.00 unknown   January OOP expenses                         hotel curbside valet                        Nader Tavangar;    Miscellaneous   Tips


1743   2016 143559   EXP-8999    10/5/2016-                Nader Tavangar     EVP / Managing Director at The     10/7/2016     Cash Tips   $   20.00 unknown   Travel with Wayne for NRA business to        hotel luggage assistance to ca              Nader Tavangar;    Miscellaneous   Tips
                                 10/21/2016                                   Mercury Group                                                                    Dallas (video shoot) and Bakersfield for
1744   2017 144737   EXP-9186    10/17/2016 - 11/15/2016   Nader Tavangar     EVP / Managing Director at The     11/2/2016     Cash Tips   $   20.00 unknown   travel to DFW for hunting presentation and hotel valet                                   Nader Tavangar;    Miscellaneous   Tips
                                                                              Mercury Group                                                                    race event
1745   2017 144737   EXP-9186    10/17/2016 - 11/15/2016   Nader Tavangar     EVP / Managing Director at The     11/4/2016     Cash Tips   $   20.00 unknown   travel to DFW for hunting presentation and hotel valet - car in/out                      Nader Tavangar;    Miscellaneous   Tips
                                                                              Mercury Group                                                                    race event



1746   2017 144737   EXP-9186    10/17/2016 - 11/15/2016   Nader Tavangar     EVP / Managing Director at The     11/6/2016     Cash Tips   $   20.00 unknown   travel to DFW for hunting presentation and hotel valet - car in/out                      Nader Tavangar;    Miscellaneous   Tips
                                                                              Mercury Group                                                                    race event




1747   2017 144737   EXP-9186    10/17/2016 - 11/15/2016   Nader Tavangar     EVP / Managing Director at The     11/4/2016     Cash Tips   $   20.00 unknown   travel to DFW for hunting presentation and hotel valet - car in/out - with W for mtg     Nader Tavangar;    Miscellaneous   Tips
                                                                              Mercury Group                                                                    race event
1748   2017 144737   EXP-9186    10/17/2016 - 11/15/2016   Nader Tavangar     EVP / Managing Director at The     11/5/2016     Cash Tips   $   20.00 unknown   travel to DFW for hunting presentation and hotel valet - cat in/out                      Nader Tavangar;    Miscellaneous   Tips
                                                                              Mercury Group                                                                    race event
1749   2016 140440   EXP-7997    6/23/16 to 6/27/16        Danielle Gregory   Executive Assistant                6/24/2016     Cash Tips   $   20.00 unknown   Travel with T. Schropp to ATL for pre-site   hotel valet - luggage assistance x 2        Nader Tavangar;    Miscellaneous   Tips
                                                                                                                                                               committee fundraiser
1750   2017 153476   EXP-11208   10/17/2017 - 10/19/2017   Nader Tavangar     Executive VP / Managing Director at 10/19/2017   Cash Tips   $   20.00 unknown   Travel to Waltrip Charity event              Hotel valet luggage assistance              Nader Tavangar;    Miscellaneous   Tips
                                                                              The Mercury Group




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1751   2016 143559   EXP-8999    10/5/2016-                Nader Tavangar     EVP / Managing Director at The     10/7/2016     Cash Tips   $   20.00 unknown   Travel with Wayne for NRA business to        Hotel valet luggage assistance               Nader Tavangar;   Miscellaneous   Tips
                                 10/21/2016                                   Mercury Group                                                                    Dallas (video shoot) and Bakersfield for
1752   2017 147112   EXP-10070   1/31/17 - 2/23/17         Nader Tavangar     EVP / Managing Director at The     1/31/2017     Cash Tips   $   20.00 unknown   Travel to LV SCI Show                        hotel valet luggage assistance               Nader Tavangar;   Miscellaneous   Tips
                                                                              Mercury Group
1753   2016 143559   EXP-8999    10/5/2016-                Nader Tavangar     EVP / Managing Director at The     10/5/2016     Cash Tips   $   20.00 unknown   Travel with Wayne for NRA business to        Hotel valet luggage to rooms                 Nader Tavangar;   Miscellaneous   Tips
                                 10/21/2016                                   Mercury Group                                                                    Dallas (video shoot) and Bakersfield for
                                                                                                                                                               speaking engagement
1754   2017 153476   EXP-11178   9/18/2017 - 10/6/2017     Nader Tavangar     Executive VP / Managing Director at 10/6/2017    Cash Tips   $   20.00 unknown   Travel with W to MT, UT, CA, TX, and KS      KS airport valet assistance with car return Nader Tavangar;    Miscellaneous   Tips
                                                                              The Mercury Group                                                                for various events/meetings/speaking
                                                                                                                                                               engagements
1755   2017 153476   EXP-11208   10/17/2017 - 10/19/2017   Nader Tavangar     Executive VP / Managing Director at 10/18/2017   Cash Tips   $   20.00 unknown   Travel to Waltrip Charity event              Luggage assistance hotel                     Nader Tavangar;   Miscellaneous   Tips
                                                                              The Mercury Group


1756   2018 155996   EXP-11616   1/17/2018 to 2/22/2018    Nader Tavangar     Executive VP / Managing Director at 2/21/2018    Cash Tips   $   20.00 unknown   Misc expenses for multiple travel related    luggage hold for 3 - during travel to Dallas Nader Tavangar;   Miscellaneous   Tips
                                                                              The Mercury Group                                                                requests on behalf of NRA                    to Dallas to participate in current events
                                                                                                                                                                                                            mgmt. and CPAC speech rehearsal
1757   2017 147112   EXP-10070   1/31/17 - 2/23/17         Nader Tavangar     EVP / Managing Director at The     1/31/2017     Cash Tips   $   20.00 unknown   Travel to LV SCI Show                        LV airport valet luggage                     Nader Tavangar;   Miscellaneous   Tips
                                                                              Mercury Group


1758   2017 147112   EXP-10070   1/31/17 - 2/23/17         Nader Tavangar     EVP / Managing Director at The     2/1/2017      Cash Tips   $   20.00 unknown   Travel to LV SCI Show                        LV airport valet luggage                     Nader Tavangar;   Miscellaneous   Tips
                                                                              Mercury Group
1759   2017 143169   EXP-8653    8/31/2016 - 9/16/2016     Nader Tavangar     EVP / Managing Director at The     9/14/2016     Cash Tips   $   20.00 unknown   Travel to DFW, OKC, and Louisville - nraH    OKC airport valet car drop off               Nader Tavangar;   Miscellaneous   Tips
                                                                              Mercury Group                                                                    and DA (SG)
1760   2017 146420   EXP-9803    1/11/2017-                Nader Tavangar     EVP / Managing Director at The     1/13/2017     Cash Tips   $   20.00 unknown   Houston Safari Club Presentations (SG)       Restaurant staff assistance with AV set up   Nader Tavangar;   Miscellaneous   Tips
                                 1/25/2017                                    Mercury Group                                                                                                                 and preperations
1761   2017 144737   EXP-9186    10/17/2016 - 11/15/2016   Nader Tavangar     EVP / Managing Director at The     11/3/2016     Cash Tips   $   20.00 unknown   travel to DFW for hunting presentation and restaurant valet - car in and out              Nader Tavangar;   Miscellaneous   Tips
                                                                              Mercury Group                                                                    race event
1762   2017 147112   EXP-10070   1/31/17 - 2/23/17         Nader Tavangar     EVP / Managing Director at The     2/3/2017      Cash Tips   $   20.00 unknown   Travel to LV SCI Show                        resturant matradee                           Nader Tavangar;   Miscellaneous   Tips
                                                                              Mercury Group
1763   2016 137631   EXP-7195    3/3/2016 - 3/25/2016      Danielle Gregory   Executive Assistant                3/23/2016     Cash Tips   $   20.00 unknown   Correction from previous expense report/     Tip - aiport valet parking passes            Nader Tavangar;   Miscellaneous   Tips
                                                                                                                                                               March NR OOP expenses
1764   2016 139727   EXP-7748    5/1/2016 to 6/2/2016      Danielle Gregory   Executive Assistant                5/16/2016     Cash Tips   $   20.00 unknown   Louisville Annual Meeting                    tip - driver from airport to hotel           Nader Tavangar;   Miscellaneous   Tips


1765   2016 141517   EXP-8078    7/5/2016 - 7/12/2016      Danielle Gregory   Executive Assistant                7/5/2016      Cash Tips   $   20.00 unknown   Travel to WY for speaking engagement (SG) tip - hotel concierge - restaurant              Nader Tavangar;   Miscellaneous   Tips
                                                                                                                                                                                                            reservation assistance
1766   2016 141517   EXP-8078    7/5/2016 - 7/12/2016      Danielle Gregory   Executive Assistant                7/6/2016      Cash Tips   $   20.00 unknown   Travel to WY for speaking engagement (SG) Tip - hotel valet                               Nader Tavangar;   Miscellaneous   Tips


1767   2016 141517   EXP-8078    7/5/2016 - 7/12/2016      Danielle Gregory   Executive Assistant                7/6/2016      Cash Tips   $   20.00 unknown   Travel to WY for speaking engagement (SG) tip - hotel valet                               Nader Tavangar;   Miscellaneous   Tips


1768   2016 141517   EXP-8078    7/5/2016 - 7/12/2016      Danielle Gregory   Executive Assistant                7/5/2016      Cash Tips   $   20.00 unknown   Travel to WY for speaking engagement (SG) tip - hotel valet - car park                    Nader Tavangar;   Miscellaneous   Tips


1769   2016 141517   EXP-8078    7/5/2016 - 7/12/2016      Danielle Gregory   Executive Assistant                7/5/2016      Cash Tips   $   20.00 unknown   Travel to WY for speaking engagement (SG) tip - hotel valet - car park                    Nader Tavangar;   Miscellaneous   Tips


1770   2016 141517   EXP-8078    7/5/2016 - 7/12/2016      Danielle Gregory   Executive Assistant                7/5/2016      Cash Tips   $   20.00 unknown   Travel to WY for speaking engagement (SG) tip - hotel valet (luggage 2)                   Nader Tavangar;   Miscellaneous   Tips



1771   2016 141517   EXP-8078    7/5/2016 - 7/12/2016      Danielle Gregory   Executive Assistant                7/5/2016      Cash Tips   $   20.00 unknown   Travel to WY for speaking engagement (SG) tip - WY airport valet assistance               Nader Tavangar;   Miscellaneous   Tips


1772   2016 141517   EXP-8078    7/5/2016 - 7/12/2016      Danielle Gregory   Executive Assistant                7/5/2016      Cash Tips   $   20.00 unknown   Travel to WY for speaking engagement (SG) tip - WY airport valet car rental assistance Nader Tavangar;      Miscellaneous   Tips




1773   2016 141517   EXP-8078    7/5/2016 - 7/12/2016      Danielle Gregory   Executive Assistant                7/6/2016      Cash Tips   $   20.00 unknown   Travel to WY for speaking engagement (SG) tip - WY Airport valet luggage car              Nader Tavangar;   Miscellaneous   Tips
                                                                                                                                                                                                            assistance
1774   2018 159388   EXP-12026   3/29/2018-                Nader Tavangar     Executive VP / Managing Director at 5/23/2018    Cash Tips   $   20.00 unknown   Misc Travel                                  tip (airport valet - luggage x 4 for SMI SCC Nader Tavangar;   Miscellaneous   Tips
                                 6/27/2018                                    The Mercury Group                                                                                                             fundraising event on 5/23)
1775   2018 159388   EXP-12026   3/29/2018-                Nader Tavangar     Executive VP / Managing Director at 5/23/2018    Cash Tips   $   20.00 unknown   Misc Travel                                  tip (airport valet - luggage x 4 for SMI SCC Nader Tavangar;   Miscellaneous   Tips
                                 6/27/2018                                    The Mercury Group                                                                                                             fundraising event on 5/23)
1776   2017 152775   EXP-11108   9/20/2017 - 9/20/2017     Nader Tavangar     Executive VP / Managing Director at 9/20/2017    Cash Tips   $   20.00 unknown   BSA / BPS / WLF Summit events                Tip airport valet to assist in Baton Rouge   Nader Tavangar;   Miscellaneous   Tips
                                                                              The Mercury Group
1777   2016 138653   EXP-7405    4/17/2016 - 4/17/2016     Danielle Gregory   Executive Assistant                4/17/2016     Cash Tips   $   20.00 unknown   Travel with Wayne and Tyler to Bristol, TN Tip DC airport valet (front)                   Nader Tavangar;   Miscellaneous   Tips
                                                                                                                                                               (SG)
1778   2016 138653   EXP-7405    4/17/2016 - 4/17/2016     Danielle Gregory   Executive Assistant                4/17/2016     Cash Tips   $   20.00 unknown   Travel with Wayne and Tyler to Bristol, TN Tip DC airport valet luggage (back)            Nader Tavangar;   Miscellaneous   Tips
                                                                                                                                                               (SG)




1779   2016 138653   EXP-7331    4/4/2016 - 4/11/2016      Danielle Gregory   Executive Assistant                4/6/2016      Cash Tips   $   20.00 unknown   Travel with Wayne to NC for DA               Tip DC to office car service                 Nader Tavangar;   Miscellaneous   Tips
                                                                                                                                                               fundraising event




1780   2017 152775   EXP-11108   9/20/2017 - 9/20/2017     Nader Tavangar     Executive VP / Managing Director at 9/20/2017    Cash Tips   $   20.00 unknown   BSA / BPS / WLF Summit events                tip driver                                   Nader Tavangar;   Miscellaneous   Tips
                                                                              The Mercury Group




                                                                                                                                                                                                                                                                                                  APP. 02117
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1781   2016 138653   EXP-7405    4/17/2016 - 4/17/2016     Danielle Gregory   Executive Assistant                4/17/2016     Cash Tips   $   20.00 unknown   Travel with Wayne and Tyler to Bristol, TN Tip Driver                                       Nader Tavangar;   Miscellaneous   Tips
                                                                                                                                                               (SG)




1782   2018 159388   EXP-12026   3/29/2018-                Nader Tavangar     Executive VP / Managing Director at 4/5/2018     Cash Tips   $   20.00 unknown   Misc Travel                                  Tip for car service to airport during          Nader Tavangar;   Miscellaneous   Tips
                                 6/27/2018                                    The Mercury Group                                                                                                             strategic mtg with AM/RM on current
1783   2018 159388   EXP-12026   3/29/2018-                Nader Tavangar     Executive VP / Managing Director at 4/5/2018     Cash Tips   $   20.00 unknown   Misc Travel                                  tip for hotel valet during stategic mtg with   Nader Tavangar;   Miscellaneous   Tips
                                 6/27/2018                                    The Mercury Group                                                                                                             AM/RM on current events and A/M Dallas
1784   2016 138653   EXP-7403    4/10/2016 - 4/19/2016     Danielle Gregory   Executive Assistant                4/10/2016     Cash Tips   $   20.00 unknown   Travel with Wayne to Dallas for meetings     Tip hotel valet                                Nader Tavangar;   Miscellaneous   Tips
                                                                                                                                                               with AM (SG)
1785   2016 138653   EXP-7403    4/10/2016 - 4/19/2016     Danielle Gregory   Executive Assistant                4/10/2016     Cash Tips   $   20.00 unknown   Travel with Wayne to Dallas for meetings     Tip hotel valet car                            Nader Tavangar;   Miscellaneous   Tips
                                                                                                                                                               with AM (SG)
1786   2017 152775   EXP-11108   9/20/2017 - 9/20/2017     Nader Tavangar     Executive VP / Managing Director at 9/20/2017    Cash Tips   $   20.00 unknown   BSA / BPS / WLF Summit events                tip hotel valet luggage assistance             Nader Tavangar;   Miscellaneous   Tips
                                                                              The Mercury Group
1787   2016 138653   EXP-7403    4/10/2016 - 4/19/2016     Danielle Gregory   Executive Assistant                4/11/2016     Cash Tips   $   20.00 unknown   Travel with Wayne to Dallas for meetings     Tip restaurant car valet                       Nader Tavangar;   Miscellaneous   Tips
                                                                                                                                                               with AM (SG)
1788   2017 153476   EXP-11178   9/18/2017 - 10/6/2017     Nader Tavangar     Executive VP / Managing Director at 10/3/2017    Cash Tips   $   20.00 unknown   Travel with W to MT, UT, CA, TX, and KS      TX driver airport to hotel                     Nader Tavangar;   Miscellaneous   Tips
                                                                              The Mercury Group                                                                for various events/meetings/speaking
1789   2017 153476   EXP-11178   9/18/2017 - 10/6/2017     Nader Tavangar     Executive VP / Managing Director at 9/29/2017    Cash Tips   $   20.00 unknown   Travel with W to MT, UT, CA, TX, and KS      UT event hotel valet car park                  Nader Tavangar;   Miscellaneous   Tips
                                                                              The Mercury Group                                                                for various events/meetings/speaking
1790   2017 153476   EXP-11178   9/18/2017 - 10/6/2017     Nader Tavangar     Executive VP / Managing Director at 9/29/2017    Cash Tips   $   20.00 unknown   Travel with W to MT, UT, CA, TX, and KS      UT hotel bell hop car park                     Nader Tavangar;   Miscellaneous   Tips
                                                                              The Mercury Group                                                                for various events/meetings/speaking
1791   2018 155996   EXP-11616   1/17/2018 to 2/22/2018    Nader Tavangar     Executive VP / Managing Director at 2/9/2018     Cash Tips   $   20.00 unknown   Misc expenses for multiple travel related    valet park and tip at RC Tysons for H2H        Nader Tavangar;   Miscellaneous   Tips
                                                                              The Mercury Group                                                                requests on behalf of NRA                    gala event set up
1792   2018 155996   EXP-11616   1/17/2018 to 2/22/2018    Nader Tavangar     Executive VP / Managing Director at 2/10/2018    Cash Tips   $   20.00 unknown   Misc expenses for multiple travel related    valet park and tip at RC Tysons for H2H        Nader Tavangar;   Miscellaneous   Tips
                                                                              The Mercury Group                                                                requests on behalf of NRA                    gala event set up
1793   2016 140440   EXP-7997    6/23/16 to 6/27/16        Danielle Gregory   Executive Assistant                6/23/2016     Cash Tips   $   20.00 unknown   Travel with T. Schropp to ATL for pre-site   venue valet                                    Nader Tavangar;   Miscellaneous   Tips
                                                                                                                                                               committee fundraiser
1794   2018 155996   EXP-11616   1/17/2018 to 2/22/2018    Nader Tavangar     Executive VP / Managing Director at 2/18/2018    Cash Tips   $   25.00 unknown   Misc expenses for multiple travel related    driver tip from hotel to airport after WLF Nader Tavangar;       Miscellaneous   Tips
                                                                              The Mercury Group                                                                requests on behalf of NRA                    summit site survey with SLP
1795   2016 139727   EXP-7748    5/1/2016 to 6/2/2016      Danielle Gregory   Executive Assistant                5/22/2016     Cash Tips   $   25.00 unknown   Louisville Annual Meeting                    cash for J. Byrd luggage transport             J Byrd;           Miscellaneous   Tips


1796   2016 139727   EXP-7748    5/1/2016 to 6/2/2016      Danielle Gregory   Executive Assistant                5/22/2016     Cash Tips   $   25.00 unknown   Louisville Annual Meeting                    cash for J. Byrd luggage transport return      J Byrd;           Miscellaneous   Tips



1797   2017 153476   EXP-11208   10/17/2017 - 10/19/2017   Nader Tavangar     Executive VP / Managing Director at 10/18/2017   Cash Tips   $   25.00 unknown   Travel to Waltrip Charity event              Luggage assistance for three                   Nader Tavangar;   Miscellaneous   Tips
                                                                              The Mercury Group


1798   2016 136165   EXP-6672    1/6/2016 to 1/25/2016     Danielle Gregory   Executive Assistant                1/11/2016     Cash Tips   $   30.00 unknown   January OOP expenses                         backside airport valet                         Nader Tavangar;   Miscellaneous   Tips



1799   2016 136165   EXP-6672    1/6/2016 to 1/25/2016     Danielle Gregory   Executive Assistant                1/11/2016     Cash Tips   $   30.00 unknown   January OOP expenses                         Dallas airport valet                           Nader Tavangar;   Miscellaneous   Tips


1800   2017 144737   EXP-9186    10/17/2016 - 11/15/2016   Nader Tavangar     EVP / Managing Director at The     11/7/2016     Cash Tips   $   30.00 unknown   travel to DFW for hunting presentation and hotel vale - luggage assistance                  Nader Tavangar;   Miscellaneous   Tips
                                                                              Mercury Group                                                                    race event
1801   2016 136165   EXP-6672    1/6/2016 to 1/25/2016     Danielle Gregory   Executive Assistant                1/11/2016     Cash Tips   $   30.00 unknown   January OOP expenses                         front side airport valet - TM/NT/W             TM; NT; W;        Miscellaneous   Tips


1802   2017 143169   EXP-8715    9/17/2016 - 9/23/2016     Nader Tavangar     EVP / Managing Director at The     9/19/2016     Cash Tips   $   30.00 unknown   Travel expenses for meetings (OKC and        RC hotel valet/bell hop (TM/NT/W/S)            TM; NT; W; S;     Miscellaneous   Tips
                                                                              Mercury Group                                                                    Dallas) with W
1803   2017 150823   EXP-10920   7/20/2017 - 7/21/2017     Nader Tavangar     Executive VP / Managing Director at 7/20/2017    Cash Tips   $   35.31 unknown   NRA Mileage and Travel                       Tip for DC valet parking and luggage           Nader Tavangar;   Miscellaneous   Tips
                                                                              The Mercury Group                                                                                                             assistance for 3 for travel with Wayne to
1804   2018 159388   EXP-12026   3/29/2018-                Nader Tavangar     Executive VP / Managing Director at 5/23/2018    Cash Tips   $   40.00 unknown   Misc Travel                                  66 miles roundtrip at 54.5 cents/mile -        Nader Tavangar;   Miscellaneous   Tips
                                 6/27/2018                                    The Mercury Group                                                                                                             travel to IAS and return for SMI SCC
1805   2016 143559   EXP-8999    10/5/2016-                Nader Tavangar     EVP / Managing Director at The     10/7/2016     Cash Tips   $   40.00 unknown   Travel with Wayne for NRA business to        additional tip to driver                       Nader Tavangar;   Miscellaneous   Tips
                                 10/21/2016                                   Mercury Group                                                                    Dallas (video shoot) and Bakersfield for
1806   2017 144737   EXP-9186    10/17/2016 - 11/15/2016   Nader Tavangar     EVP / Managing Director at The     11/4/2016     Cash Tips   $   40.00 unknown   travel to DFW for hunting presentation and airport valet - luggage assistance x 3           Nader Tavangar;   Miscellaneous   Tips
                                                                              Mercury Group                                                                    race event
1807   2017 144737   EXP-9186    10/17/2016 - 11/15/2016   Nader Tavangar     EVP / Managing Director at The     11/6/2016     Cash Tips   $   40.00 unknown   travel to DFW for hunting presentation and airport valet - luggage assistance x 3           Nader Tavangar;   Miscellaneous   Tips
                                                                              Mercury Group                                                                    race event
1808   2017 152775   EXP-11074   8/30/2017 - 9/6/2017      Nader Tavangar     Executive VP / Managing Director at 9/4/2017     Cash Tips   $   40.00 unknown   Travel to DAL and Springfield for mtg with   Cash tip for DAL airport valet (2) for         Nader Tavangar;   Miscellaneous   Tips
                                                                              The Mercury Group                                                                AM on current events and NRA Board mtg       luggage assistance
1809   2017 152775   EXP-11074   8/30/2017 - 9/6/2017      Nader Tavangar     Executive VP / Managing Director at 9/6/2017     Cash Tips   $   40.00 unknown   Travel to DAL and Springfield for mtg with   Cash tip for DAL airport valet (2) for         Nader Tavangar;   Miscellaneous   Tips
                                                                              The Mercury Group                                                                AM on current events and NRA Board mtg       luggage assistance
1810   2017 152775   EXP-11074   8/30/2017 - 9/6/2017      Nader Tavangar     Executive VP / Managing Director at 9/4/2017     Cash Tips   $   40.00 unknown   Travel to DAL and Springfield for mtg with   Cash tip for DAL hotel valet (luggage)         Nader Tavangar;   Miscellaneous   Tips
                                                                              The Mercury Group                                                                AM on current events and NRA Board mtg
1811   2017 152775   EXP-11074   8/30/2017 - 9/6/2017      Nader Tavangar     Executive VP / Managing Director at 9/6/2017     Cash Tips   $   40.00 unknown   Travel to DAL and Springfield for mtg with   Cash tip for DAL hotel valet (luggage)         Nader Tavangar;   Miscellaneous   Tips
                                                                              The Mercury Group                                                                AM on current events and NRA Board mtg


1812   2017 152775   EXP-11074   8/30/2017 - 9/6/2017      Nader Tavangar     Executive VP / Managing Director at 9/6/2017     Cash Tips   $   40.00 unknown   Travel to DAL and Springfield for mtg with   Cash tip for Springfield airport valet (2)     Nader Tavangar;   Miscellaneous   Tips
                                                                              The Mercury Group                                                                AM on current events and NRA Board mtg       luggages


1813   2016 143559   EXP-8999    10/5/2016-                Nader Tavangar     EVP / Managing Director at The     10/20/2016    Cash Tips   $   40.00 unknown   Travel with Wayne for NRA business to        DC airport luggage assistance                  Nader Tavangar;   Miscellaneous   Tips
                                 10/21/2016                                   Mercury Group                                                                    Dallas (video shoot) and Bakersfield for
1814   2016 143559   EXP-8999    10/5/2016-                Nader Tavangar     EVP / Managing Director at The     10/5/2016     Cash Tips   $   40.00 unknown   Travel with Wayne for NRA business to        DC airport valet for luggage assistance        Nader Tavangar;   Miscellaneous   Tips
                                 10/21/2016                                   Mercury Group                                                                    Dallas (video shoot) and Bakersfield for
1815   2017 153476   EXP-11178   9/18/2017 - 10/6/2017     Nader Tavangar     Executive VP / Managing Director at 10/6/2017    Cash Tips   $   40.00 unknown   Travel with W to MT, UT, CA, TX, and KS      DC airport valet luggage assistance            Nader Tavangar;   Miscellaneous   Tips
                                                                              The Mercury Group                                                                for various events/meetings/speaking
1816   2017 153476   EXP-11208   10/17/2017 - 10/19/2017   Nader Tavangar     Executive VP / Managing Director at 10/19/2017   Cash Tips   $   40.00 unknown   Travel to Waltrip Charity event              DC airport valet luggage assistance            Nader Tavangar;   Miscellaneous   Tips
                                                                              The Mercury Group                                                                                                             (front/back - 4)
1817   2017 144737   EXP-9186    10/17/2016 - 11/15/2016   Nader Tavangar     EVP / Managing Director at The     11/7/2016     Cash Tips   $   40.00 unknown   travel to DFW for hunting presentation and DFW airport valet - luggage assistance           Nader Tavangar;   Miscellaneous   Tips
                                                                              Mercury Group                                                                    race event




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1818        2017 146420          EXP-9803    1/11/2017-                Nader Tavangar     EVP / Managing Director at The     1/14/2017     Cash Tips   $   40.00 unknown   Houston Safari Club Presentations (SG)        Driver tip                                     Nader Tavangar;     Miscellaneous   Tips
                                             1/25/2017                                    Mercury Group
1819        2017 153476          EXP-11178   9/18/2017 - 10/6/2017     Nader Tavangar     Executive VP / Managing Director at 9/30/2017    Cash Tips   $   40.00 unknown   Travel with W to MT, UT, CA, TX, and KS       Hotel bell hop luggage assistance x 5          Nader Tavangar;     Miscellaneous   Tips
                                                                                          The Mercury Group                                                                for various events/meetings/speaking          (front)
1820        2017 153476          EXP-11178   9/18/2017 - 10/6/2017     Nader Tavangar     Executive VP / Managing Director at 10/6/2017    Cash Tips   $   40.00 unknown   Travel with W to MT, UT, CA, TX, and KS       Hotel valet assistance luggage                 Nader Tavangar;     Miscellaneous   Tips
                                                                                          The Mercury Group                                                                for various events/meetings/speaking
1821        2017 143169          EXP-8715    9/17/2016 - 9/23/2016     Nader Tavangar     EVP / Managing Director at The     9/19/2016     Cash Tips   $   40.00 unknown   Travel expenses for meetings (OKC and         DC airport back valets (TM/NT/W/S)             TM; NT; W; S;       Miscellaneous   Tips
                                                                                          Mercury Group                                                                    Dallas) with W


1822        2017 143169          EXP-8715    9/17/2016 - 9/23/2016     Nader Tavangar     EVP / Managing Director at The     9/19/2016     Cash Tips   $   40.00 unknown   Travel expenses for meetings (OKC and         DAL airport valet (TM/NT/W/S)                  TM; NT; W; S;       Miscellaneous   Tips
                                                                                          Mercury Group                                                                    Dallas) with W
1823        2017 153476          EXP-11178   9/18/2017 - 10/6/2017     Nader Tavangar     Executive VP / Managing Director at 10/6/2017    Cash Tips   $   40.00 unknown   Travel with W to MT, UT, CA, TX, and KS       Luggage assistance and check prior to          Nader Tavangar;     Miscellaneous   Tips
                                                                                          The Mercury Group                                                                for various events/meetings/speaking          check out
1824   10   2017 143169          EXP-8653    8/31/2016 - 9/16/2016     Nader Tavangar     EVP / Managing Director at The     9/14/2016     Cash Tips   $   40.00 unknown   Travel to DFW, OKC, and Louisville - nraH     OKC airport valet luggage (W, TS)              W; TS;              Miscellaneous   Tips
                                                                                          Mercury Group                                                                    and DA (SG)
1825        2018 159388          EXP-12026   3/29/2018-                Nader Tavangar     Executive VP / Managing Director at 4/5/2018     Cash Tips   $   40.00 unknown   Misc Travel                                   tip for airport valet (front 4 passengers)     Nader Tavangar;     Miscellaneous   Tips
                                             6/27/2018                                    The Mercury Group                                                                                                              during stategic mtg with AM/RM on
1826        2018 159388          EXP-12026   3/29/2018-                Nader Tavangar     Executive VP / Managing Director at 4/5/2018     Cash Tips   $   40.00 unknown   Misc Travel                                   tip for DAL airport valet (4 passengers)       Nader Tavangar;     Miscellaneous   Tips
                                             6/27/2018                                    The Mercury Group                                                                                                              during stategic mtg with AM/RM on
1827        2017 153476          EXP-11178   9/18/2017 - 10/6/2017     Nader Tavangar     Executive VP / Managing Director at 10/6/2017    Cash Tips   $   40.00 unknown   Travel with W to MT, UT, CA, TX, and KS       TX airport valet luggage assistance            Nader Tavangar;     Miscellaneous   Tips
                                                                                          The Mercury Group                                                                for various events/meetings/speaking
1828        2017 153476          EXP-11178   9/18/2017 - 10/6/2017     Nader Tavangar     Executive VP / Managing Director at 10/3/2017    Cash Tips   $   40.00 unknown   Travel with W to MT, UT, CA, TX, and KS       TX hotel valet assistance (front)              Nader Tavangar;     Miscellaneous   Tips
                                                                                          The Mercury Group                                                                for various events/meetings/speaking
1829        2017 153476          EXP-11178   9/18/2017 - 10/6/2017     Nader Tavangar     Executive VP / Managing Director at 9/29/2017    Cash Tips   $   40.00 unknown   Travel with W to MT, UT, CA, TX, and KS       UT hotel bell hop luggage assistance for 5     Nader Tavangar;     Miscellaneous   Tips
                                                                                          The Mercury Group                                                                for various events/meetings/speaking
1830        2016 143559          EXP-8999    10/5/2016-                Nader Tavangar     EVP / Managing Director at The     10/5/2016     Cash Tips   $   50.00 unknown   Travel with Wayne for NRA business to         additional tip to driver                       Nader Tavangar;     Miscellaneous   Tips
                                             10/21/2016                                   Mercury Group                                                                    Dallas (video shoot) and Bakersfield for
1831        2016 136859          EXP-6926    1/27/2016 - 2/20/2016     Danielle Gregory   Executive Assistant                2/5/2016      Cash Tips   $   50.00 unknown   Travel with Wayne to SCI                      Cash tip Milos maitre d                        Nader Tavangar;     Miscellaneous   Tips


1832        2016 139727          EXP-7748    5/1/2016 to 6/2/2016      Danielle Gregory   Executive Assistant                5/16/2016     Cash Tips   $   50.00 unknown   Louisville Annual Meeting                     driver                                         Nader Tavangar;     Miscellaneous   Tips



1833        2016 136165          EXP-6672    1/6/2016 to 1/25/2016     Danielle Gregory   Executive Assistant                1/12/2016     Cash Tips   $   50.00 unknown   January OOP expenses                          driver 1 Tuesday                               Nader Tavangar;     Miscellaneous   Tips


1834        2016 136165          EXP-6672    1/6/2016 to 1/25/2016     Danielle Gregory   Executive Assistant                1/13/2016     Cash Tips   $   50.00 unknown   January OOP expenses                          driver 1 Wednesday                             Nader Tavangar;     Miscellaneous   Tips


1835        2016 136165          EXP-6672    1/6/2016 to 1/25/2016     Danielle Gregory   Executive Assistant                1/12/2016     Cash Tips   $   50.00 unknown   January OOP expenses                          driver 2 Tuesday                               Nader Tavangar;     Miscellaneous   Tips


1836        2016 139727          EXP-7748    5/1/2016 to 6/2/2016      Danielle Gregory   Executive Assistant                5/22/2016     Cash Tips   $   50.00 unknown   Louisville Annual Meeting                     driver (J. Byrd) to airport/assistance with    J Byrd;             Miscellaneous   Tips
                                                                                                                                                                                                                         wheelchair/ticket
1837        2016 138653          EXP-7331    4/4/2016 - 4/11/2016      Danielle Gregory   Executive Assistant                4/5/2016      Cash Tips   $   50.00 unknown   Travel with Wayne to NC for DA                Tip airport valet to assist with rental        Nader Tavangar;     Miscellaneous   Tips
                                                                                                                                                                           fundraising event                             return
1838        2018 155996          EXP-11616   1/17/2018 to 2/22/2018    Nader Tavangar     Executive VP / Managing Director at 2/21/2018    Cash Tips   $   50.00 unknown   Misc expenses for multiple travel related     tip for luggage assistance for 8 (dc airport   Nader Tavangar;     Miscellaneous   Tips
                                                                                          The Mercury Group                                                                requests on behalf of NRA                     valet) return from Dallas cpac speech
1839        2016 139727          EXP-7748    5/1/2016 to 6/2/2016      Danielle Gregory   Executive Assistant                5/19/2016     Cash Tips   $   50.00 unknown   Louisville Annual Meeting                     to restaurant employees for lunch catering Nader Tavangar;         Miscellaneous   Tips


1840        2017 153476          EXP-11178   9/18/2017 - 10/6/2017     Nader Tavangar     Executive VP / Managing Director at 10/4/2017    Cash Tips   $   50.00 unknown   Travel with W to MT, UT, CA, TX, and KS       TX driver hotel to office to restaurant and Nader Tavangar;        Miscellaneous   Tips
                                                                                          The Mercury Group                                                                for various events/meetings/speaking          return
1841        2017 143169          EXP-8620    9/6/2016 - 9/13/2016      Nader Tavangar     EVP / Managing Director at The     9/9/2016      Cash Tips   $   50.00 unknown   NR Exec office requests (SG)                  Valet parking (BOD meeting and WLF) tips Nader Tavangar;           Miscellaneous   Tips
                                                                                          Mercury Group                                                                                                                  x 10 @ $5/each
1842        2017 144737          EXP-9186    10/17/2016 - 11/15/2016   Nader Tavangar     EVP / Managing Director at The     11/6/2016     Cash Tips   $   50.00 unknown   travel to DFW for hunting presentation and BMS - sponsors volunteer aid                      Nader Tavangar;     Miscellaneous   Tips
                                                                                          Mercury Group                                                                    race event
1843        2017 144737          EXP-9186    10/17/2016 - 11/15/2016   Nader Tavangar     EVP / Managing Director at The     11/7/2016     Cash Tips   $   55.00 unknown   travel to DFW for hunting presentation and DC airport vale - luggage assistance x 4          Nader Tavangar;     Miscellaneous   Tips
                                                                                          Mercury Group                                                                    race event
1844        2017 153476          EXP-11178   9/18/2017 - 10/6/2017     Nader Tavangar     Executive VP / Managing Director at 10/3/2017    Cash Tips   $   60.00 unknown   Travel with W to MT, UT, CA, TX, and KS       CA airport valet x 3 luggage assistance x 5 Nader Tavangar;        Miscellaneous   Tips
                                                                                          The Mercury Group                                                                for various events/meetings/speaking
1845        2017 153476          EXP-11178   9/18/2017 - 10/6/2017     Nader Tavangar     Executive VP / Managing Director at 10/3/2017    Cash Tips   $   60.00 unknown   Travel with W to MT, UT, CA, TX, and KS       CA hotel bell hop luggage assistance x 5       Nader Tavangar;     Miscellaneous   Tips
                                                                                          The Mercury Group                                                                for various events/meetings/speaking
1846        2017 153476          EXP-11178   9/18/2017 - 10/6/2017     Nader Tavangar     Executive VP / Managing Director at 9/29/2017    Cash Tips   $   60.00 unknown   Travel with W to MT, UT, CA, TX, and KS       DC airport valet x 3 for assistance with       Nader Tavangar;     Miscellaneous   Tips
                                                                                          The Mercury Group                                                                for various events/meetings/speaking          luggage for 5
1847        2017 145564          EXP-9523    11/3/16 - 12/22/16        Nader Tavangar     EVP / Managing Director at The     12/6/2016     Cash Tips   $   60.00 unknown   executive travel and misc purchases           driver tip - car service - paid by company     Nader Tavangar;     Miscellaneous   Tips
                                                                                          Mercury Group                                                                                                                  account. Travel with W for AM current
1848        2018 155996          EXP-11616   1/17/2018 to 2/22/2018    Nader Tavangar     Executive VP / Managing Director at 2/21/2018    Cash Tips   $   60.00 unknown   Misc expenses for multiple travel related     luggage assistance for 6 - during travel to    Nader Tavangar;     Miscellaneous   Tips
                                                                                          The Mercury Group                                                                requests on behalf of NRA                     Dallas to participate in current events
1849        2018 154706/155170   EXP-11419   12/5/2017-                Nader Tavangar     Executive VP / Managing Director at 12/13/2017   Cash Tips   $   60.00 unknown   (12.5 - 7 ) Dallas / Charlotte - Copart/ROF   driver tips - three cars to transport          TWAW;               Miscellaneous   Tips
                                             12/18/2017                                   The Mercury Group                                                                Mag Shoot M. Smith & (12.11 - 12) TWAW        TWAW from hotel to airport
1850        2017 148749          EXP-10519   4/20/2017 - 5/10/2017     Nader Tavangar     Executive VP / Managing Director at 4/20/2017    Cash Tips   $   60.00 unknown   Travel with W and TS for HLF fundraiser in    SC airport valet luggage assistance for four Nader Tavangar;       Miscellaneous   Tips
                                                                                          The Mercury Group                                                                SC (SK)
1851        2016 136859          EXP-6926    1/27/2016 - 2/20/2016     Danielle Gregory   Executive Assistant                2/7/2016      Cash Tips   $   60.00 unknown   Travel with Wayne to SCI                      cash tip for three airport valet to assist     W; S; TM; TS; NT;   Miscellaneous   Tips
                                                                                                                                                                                                                         with luggage in DC for W, S, TM, TS, NT
1852        2017 153476          EXP-11178   9/18/2017 - 10/6/2017     Nader Tavangar     Executive VP / Managing Director at 10/3/2017    Cash Tips   $   60.00 unknown   Travel with W to MT, UT, CA, TX, and KS       TX airport valet x 3 luggage assistance        Nader Tavangar;     Miscellaneous   Tips
                                                                                          The Mercury Group                                                                for various events/meetings/speaking
1853        2017 153476          EXP-11178   9/18/2017 - 10/6/2017     Nader Tavangar     Executive VP / Managing Director at 9/30/2017    Cash Tips   $   60.00 unknown   Travel with W to MT, UT, CA, TX, and KS       UT airport valet x 3 for assistance with       Nader Tavangar;     Miscellaneous   Tips   (12.5 - 7 ) Dallas / Charlotte - Copart/ROF Mag Shoot M.
                                                                                          The Mercury Group                                                                for various events/meetings/speaking          luggage for 5                                                                             Smith & (12.11 - 12) TWAW Interview
1854        2017 153476          EXP-11178   9/18/2017 - 10/6/2017     Nader Tavangar     Executive VP / Managing Director at 9/29/2017    Cash Tips   $   60.00 unknown   Travel with W to MT, UT, CA, TX, and KS       UT airport valet x 4 for assistance with       Nader Tavangar;     Miscellaneous   Tips
                                                                                          The Mercury Group                                                                for various events/meetings/speaking          luggage for 5
1855        2017 153476          EXP-11178   9/18/2017 - 10/6/2017     Nader Tavangar     Executive VP / Managing Director at 9/30/2017    Cash Tips   $   80.00 unknown   Travel with W to MT, UT, CA, TX, and KS       CA airport valet x 4 luggage assistance x 5 Nader Tavangar;        Miscellaneous   Tips
                                                                                          The Mercury Group                                                                for various events/meetings/speaking
                                                                                                                                                                           engagements
1856        2017 152775          EXP-11074   8/30/2017 - 9/6/2017      Nader Tavangar     Executive VP / Managing Director at 9/4/2017     Cash Tips   $   80.00 unknown   Travel to DAL and Springfield for mtg with    Cash tip to DC airport valet (4) for luggage Nader Tavangar;       Miscellaneous   Tips
                                                                                          The Mercury Group                                                                AM on current events and NRA Board mtg        assistance for 7
1857        2017 148749          EXP-10519   4/20/2017 - 5/10/2017     Nader Tavangar     Executive VP / Managing Director at 4/20/2017    Cash Tips   $   80.00 unknown   Travel with W and TS for HLF fundraiser in    DC airport valet (front and back) luggage      Nader Tavangar;     Miscellaneous   Tips
                                                                                          The Mercury Group                                                                SC (SK)                                       for 4




                                                                                                                                                                                                                                                                                                                                                        APP. 02119
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1858   2017 152775          EXP-11108   9/20/2017 - 9/20/2017    Nader Tavangar     Executive VP / Managing Director at 9/20/2017    Cash Tips   $     80.00 unknown    BSA / BPS / WLF Summit events                 tip DFW airport valet x 4 assistance with       Nader Tavangar;     Miscellaneous     Tips
                                                                                    The Mercury Group                                                                                                                 luggage for 4 passengers
1859   2017 152775          EXP-11108   9/20/2017 - 9/20/2017    Nader Tavangar     Executive VP / Managing Director at 9/20/2017    Cash Tips   $     80.00 unknown    BSA / BPS / WLF Summit events                 tip luggage assistance by 4 valets for 4        Nader Tavangar;     Miscellaneous     Tips
                                                                                    The Mercury Group                                                                                                                 passengers from DC to Baton Rouge for
1860   2016 143559          EXP-8999    10/5/2016-               Nader Tavangar     EVP / Managing Director at The     10/6/2016     Cash Tips   $    100.00 unknown    Travel with Wayne for NRA business to         additonal tip to driver                         Nader Tavangar;     Miscellaneous     Tips
                                        10/21/2016                                  Mercury Group                                                                       Dallas (video shoot) and Bakersfield for
1861   2016 136859          EXP-6926    1/27/2016 - 2/20/2016    Danielle Gregory   Executive Assistant                2/7/2016      Cash Tips   $    100.00 unknown    Travel with Wayne to SCI                      cash tip driver (car 2)                         Nader Tavangar;     Miscellaneous     Tips


1862   2016 136859          EXP-6926    1/27/2016 - 2/20/2016    Danielle Gregory   Executive Assistant                2/3/2016      Cash Tips   $    100.00 unknown    Travel with Wayne to SCI                      Cash tip Joe's maitre d                         Nader Tavangar;     Miscellaneous     Tips


1863   2018 158521          EXP-11886   5/1/2018 - 5/18/2018     Nader Tavangar     Executive VP / Managing Director at 5/2/2018     Cash Tips   $    100.00 unknown    NRA Annual Meeting - Dallas Transportation DC airport valet (x 2 front x 2 back) for 5 Nader Tavangar;            Miscellaneous     Tips
                                                                                    The Mercury Group                                                                   services                                      people Tip
1864   2016 139727          EXP-7748    5/1/2016 to 6/2/2016     Danielle Gregory   Executive Assistant                5/23/2016     Cash Tips   $    100.00 unknown    Louisville Annual Meeting                     driver                                          Nader Tavangar;     Miscellaneous     Tips



1865   2018 155996          EXP-11616   1/17/2018 to 2/22/2018   Nader Tavangar     Executive VP / Managing Director at 2/18/2018    Cash Tips   $    100.00 unknown    Misc expenses for multiple travel related     driver tip for travel from Tallahassee to       Nader Tavangar;     Miscellaneous     Tips
                                                                                    The Mercury Group                                                                   requests on behalf of NRA                     Orlando for WLF summit site survey with
                                                                                                                                                                                                                      SLP
1866   2018 159388          EXP-12026   3/29/2018-               Nader Tavangar     Executive VP / Managing Director at 4/6/2018     Cash Tips   $    100.00 unknown    Misc Travel                                   driver tip full day during strategic mtg with Nader Tavangar;       Miscellaneous     Tips
                                        6/27/2018                                   The Mercury Group                                                                                                                 AM/RM on current events and A/M Dallas
                                                                                                                                                                                                                      4/5 and 4/6
1867   2016 139727          EXP-7748    5/1/2016 to 6/2/2016     Danielle Gregory   Executive Assistant                5/17/2016     Cash Tips   $    100.00 unknown    Louisville Annual Meeting                     DRIVER, cash tip                                Nader Tavangar;     Miscellaneous     Tips



1868   2016 139727          EXP-7748    5/1/2016 to 6/2/2016     Danielle Gregory   Executive Assistant                5/18/2016     Cash Tips   $    100.00 unknown    Louisville Annual Meeting                     DRIVER, cash tip                                Nader Tavangar;     Miscellaneous     Tips



1869   2016 139727          EXP-7748    5/1/2016 to 6/2/2016     Danielle Gregory   Executive Assistant                5/19/2016     Cash Tips   $    100.00 unknown    Louisville Annual Meeting                     DRIVER, cash tip                                Nader Tavangar;     Miscellaneous     Tips



1870   2016 139727          EXP-7748    5/1/2016 to 6/2/2016     Danielle Gregory   Executive Assistant                5/21/2016     Cash Tips   $    100.00 unknown    Louisville Annual Meeting                     DRIVER, cash tip                                Nader Tavangar;     Miscellaneous     Tips



1871   2018 154706/155170   EXP-11419   12/5/2017-               Nader Tavangar     Executive VP / Managing Director at 12/11/2017   Cash Tips   $    100.00 unknown    (12.5 - 7 ) Dallas / Charlotte - Copart/ROF   driver tip - two cars to transport TWAW TWAW;                       Miscellaneous     Tips
                                        12/18/2017                                  The Mercury Group                                                                   Mag Shoot M. Smith & (12.11 - 12) TWAW        group of 8 to/from airport/hotel/restaurant
1872   2016 139727          EXP-7748    5/1/2016 to 6/2/2016     Danielle Gregory   Executive Assistant                5/23/2016     Cash Tips   $    100.00 unknown    Louisville Annual Meeting                     KY airport valets assistance with luggage       Multiple;           Miscellaneous     Tips
                                                                                                                                                                                                                      for 8



1873   2016 139727          EXP-7748    5/1/2016 to 6/2/2016     Danielle Gregory   Executive Assistant                5/23/2016     Cash Tips   $    100.00 unknown    Louisville Annual Meeting                     driver TM for assistance/drop off/packaging TM;                     Miscellaneous     Tips
                                                                                                                                                                                                                      for luggage to ship via FED EX
1874   2016 139727          EXP-7748    5/1/2016 to 6/2/2016     Danielle Gregory   Executive Assistant                5/21/2016     Cash Tips   $    100.00 unknown    Louisville Annual Meeting                     driver (LD/Mel car)                             Unknown;            Miscellaneous     Tips


1875   2018 158521          EXP-11886   5/1/2018 - 5/18/2018     Nader Tavangar     Executive VP / Managing Director at 5/2/2018     Cash Tips   $    100.00 unknown    NRA Annual Meeting - Dallas Transportation Tip                                                Nader Tavangar;     Miscellaneous     Tips
                                                                                    The Mercury Group                                                                   services


1876   2016 136859          EXP-6926    1/27/2016 - 2/20/2016    Danielle Gregory   Executive Assistant                2/7/2016      Cash Tips   $    100.00 unknown    Travel with Wayne to SCI                      cash tip two airport valet to assist with       W; S; TM; TS; NT;   Miscellaneous     Tips    (12.5 - 7 ) Dallas / Charlotte - Copart/ROF Mag Shoot M.
                                                                                                                                                                                                                      luggage in LAS for W, S, TM, TS, NT                                                           Smith & (12.11 - 12) TWAW Interview


1877   2017 151745          EXP-11031   8/15/2017 - 8/19/2017    Nader Tavangar     Executive VP / Managing Director at 8/19/2017    Cash Tips   $    100.00 unknown    Bristol Racing event                          tip driver transportation for donor             Nader Tavangar;     Miscellaneous     Tips
                                                                                    The Mercury Group




1878   2016 142347          EXP-8467    8/17/16 to 8/24/16       Shahada Kari                                          8/18/2016     Cash Tips   $    100.00 unknown    Equiptment and merchandise for NRA            to Birstol track volunteer to collect cart      Nader Tavangar;     Miscellaneous     Tips
                                                                                                                                                                        Bristol Night race in Bristol, TN             and escort special guest M. Geist
1879   2017 147112          EXP-10070   1/31/17 - 2/23/17        Nader Tavangar     EVP / Managing Director at The     2/4/2017      Cash Tips   $    150.00 unknown    Travel to LV SCI Show                         Driver tip during stay                          Nader Tavangar;     Miscellaneous     Tips
                                                                                    Mercury Group
1880   2017 151745          EXP-11031   8/15/2017 - 8/19/2017    Nader Tavangar     Executive VP / Managing Director at 8/18/2017    Cash Tips   $    200.00 unknown    Bristol Racing event                          Bristol Event volunteers - 2 local track        Nader Tavangar;     Miscellaneous     Tips
                                                                                    The Mercury Group                                                                                                                 support team to assist with
1881   2016 136859          EXP-6926    1/27/2016 - 2/20/2016    Danielle Gregory   Executive Assistant                2/7/2016      Cash Tips   $    200.00 unknown    Travel with Wayne to SCI                      cash tip driver (car 1)                         Nader Tavangar;     Miscellaneous     Tips


1882   2018 154706/155170   EXP-11419   12/5/2017-               Nader Tavangar     Executive VP / Managing Director at 12/12/2017   Cash Tips   $    200.00 unknown    (12.5 - 7 ) Dallas / Charlotte - Copart/ROF   driver tips - two cars to transport TWAW TWAW;                      Miscellaneous     Tips
                                        12/18/2017                                  The Mercury Group                                                                   Mag Shoot M. Smith & (12.11 - 12) TWAW        group x 6 from NRA HQ for 6 hour
1883   2016 142347          EXP-8467    8/17/16 to 8/24/16       Shahada Kari                                          8/18/2016     Cash Tips   $    200.00 unknown    Equiptment and merchandise for NRA            to Bristol track volunteer (2) runners to       Nader Tavangar;     Miscellaneous     Tips
                                                                                                                                                                        Bristol Night race in Bristol, TN             collect cards and escort (7) donors
1884   2016 142347          EXP-8467    8/17/16 to 8/24/16       Shahada Kari                                          8/18/2016     Cash Tips   $    200.00 unknown    Equiptment and merchandise for NRA            to drivers (2) for sweepstakes winners          Nader Tavangar;     Miscellaneous     Tips
                                                                                                                                                                        Bristol Night race in Bristol, TN             (airport/hotel/track/hotel/airport)
1885   2016 140440          EXP-7997    6/23/16 to 6/27/16       Danielle Gregory   Executive Assistant                6/23/2016     Cash Tips   $    200.00 unknown    Travel with T. Schropp to ATL for pre-site    venue uniform security                          Nader Tavangar;     Miscellaneous     Tips    (12.5 - 7 ) Dallas / Charlotte - Copart/ROF Mag Shoot M.
                                                                                                                                                                        committee fundraiser                                                                                                                        Smith & (12.11 - 12) TWAW Interview
1886   2018 160896          EXP-12144   8/16/2018 to 8/18/2018   Nader Tavangar     Executive VP / Managing Director at 8/18/2018    Cash Tips   $    250.00 unknown    Bass Pro NRA night race ROF event             Tip to wait staff (2) working race suite 11 - Nader Tavangar;       Miscellaneous     Tips
                                                                                    The Mercury Group                                                                                                                 Bristol night race ROF donors
1887   2018 160896          EXP-12144   8/16/2018 to 8/18/2018   Nader Tavangar     Executive VP / Managing Director at 8/18/2018    Cash Tips   $    250.00 unknown    Bass Pro NRA night race ROF event             Tip to wait staff (2) working VIP tent near Nader Tavangar;         Miscellaneous     Tips
                                                                                    The Mercury Group                                                                                                                 gate 11 - Bristol night race ROF donors
1888   2017 151745          EXP-11031   8/15/2017 - 8/19/2017    Nader Tavangar     Executive VP / Managing Director at 8/19/2017    Cash Tips   $    300.00 unknown    Bristol Racing event                          3 catering staff inside the suite for invited   Nader Tavangar;     Miscellaneous     Tips
                                                                                    The Mercury Group                                                                                                                 guests
1889   2017 151745          EXP-11054   8/15/2017 - 8/25/2017    Nader Tavangar     Executive VP / Managing Director at 8/25/2017    Cash Tips   $   2,500.00 unknown   NRA Travel with GS                            tips distributed to various personnel           Nader Tavangar;     Miscellaneous     Tips
                                                                                    The Mercury Group                                                                                                                 handling travel arrangements (drivers (2)
1890   2017 149459          EXP-10650   3/15/2017 - 6/1/2017     Nader Tavangar     Executive VP / Managing Director at 3/15/2017    CLEAR       $     99.00 unknown    MISC charges on behalf of NRA                 Expedited screening through airport             NRA Group;          Travel            Other
                                                                                    The Mercury Group                                                                                                                 security for nRA travel
1891   2017 147112          EXP-10053   1/3/17 - 2/22/17         Nader Tavangar     EVP / Managing Director at The     1/11/2017     Clydes      $     85.21 unknown    Misc OOP requests as directed                 Lunch W, S, MD, R, NT - computer tech           W; S; MD; R; NT;    Meals/Beverages   Group
                                                                                    Mercury Group                                                                                                                     install requested by W




                                                                                                                                                                                                                                                                                                                                                         APP. 02120
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1892        2017 143169          EXP-8653               8/31/2016 - 9/16/2016     Nader Tavangar     EVP / Managing Director at The     9/15/2016    Colcord Hotel            $   558.55 unknown     Travel to DFW, OKC, and Louisville - nraH      Hotel rm, tax, laundry, dinner/drinks (TM, TM; TS; W; NT;     Travel            Lodging
                                                                                                     Mercury Group                                                                                   and DA (SG)                                    TS, W, NT)
1893   10   2017 147112          EXP-10070              1/31/17 - 2/23/17         Nader Tavangar     EVP / Managing Director at The     2/3/2017     Convention Center        $    29.65 unknown     Travel to LV SCI Show                          pens and markets for W, plus                W;                Miscellaneous     Other
                                                                                                     Mercury Group                                                                                                                                  beverage/snack
1894        2017 147112          EXP-10053              1/3/17 - 2/22/17          Nader Tavangar     EVP / Managing Director at The     2/6/2017     Corner Bakery            $    28.65 unknown     Misc OOP requests as directed                  lunch - NT/Crew snacks H2H gala             NT; Multiple;     Meals/Beverages   Group
                                                                                                     Mercury Group
1895   10   2017 153476          FEC63AFC7EA04775A9D6   10/12/2017                Nader Tavangar     Executive VP / Managing Director at 10/4/2017   CVS                      $     9.99 unknown     October                                        Antihistamine for W prior to interview      W;                Miscellaneous     Other
                                                                                                     The Mercury Group
1896        2017 153476          FEC63AFC7EA04775A9D6   10/12/2017                Nader Tavangar     Executive VP / Managing Director at 10/5/2017   CVS                      $    49.57 unknown     October                                        Meds for team member that required          Nader Tavangar;   Miscellaneous     Other
                                                                                                     The Mercury Group                                                                                                                              emergency dental surgery
1897        2018 155996          346C1D9C8C2049D6B71F   2/15/2018                 Nader Tavangar     Executive VP / Managing Director at 2/19/2018   Del Frisco               $   268.62 unknown     Feb18                                          Dinner - BP, NT, JD, JP Meeting to discuss BP; NT; JD; JP;    Meals/Beverages   Group
                                                                                                     The Mercury Group                                                                                                                              SS, current events
1898        2016 140440          EXP-7997               6/23/16 to 6/27/16        Danielle Gregory   Executive Assistant                6/23/2016    Delta Airlines           $   545.10 unknown     Travel with T. Schropp to ATL for pre-site     RT airfare from DC to ATL - Nader           Nader Tavangar;   Travel            Airfare
                                                                                                                                                                                                     committee fundraiser
1899   10   2016 140440          EXP-7997               6/23/16 to 6/27/16        Danielle Gregory   Executive Assistant                6/23/2016    Delta Airlines           $   545.10 unknown     Travel with T. Schropp to ATL for pre-site     RT airfare from DC to ATL - Tyler           Tyler;            Travel            Airfare
                                                                                                                                                                                                     committee fundraiser


1900   5    2016 139727          EXP-7642               4/15/2016 to 5/25/2016    Danielle Gregory   Executive Assistant                5/9/2016     Dick's                   $   105.99 unknown     NR OOP misc. Expenses/ Charleston SC trip purchase football for signature to place in      Unknown;          Miscellaneous     Gift
                                                                                                                                                                                                     for donor event at Brays Island- Wayne         auction for fundraiser
1901        2017 153476          FEC63AFC7EA04775A9D6   10/12/2017                Nader Tavangar     Executive VP / Managing Director at 10/2/2017   Duane Sparks Chevrolet   $    97.86 unknown     October                                        Car rental Lewistown, MT for FONRA          MT;               Auto              Car Rental
                                                                                                     The Mercury Group                                                                                                                              event
1902        2016 136859          EXP-6925               2/1/2016 - 2/19/2016      Danielle Gregory   Executive Assistant                2/1/2016     Dunkin Donuts            $     2.29 unknown     Travel with Chris Cox to Dallas for            coffee                                      Nader Tavangar;   Meals/Beverages   Individual
                                                                                                                                                                                                     commercial shoot
1903        2017 144737          EXP-9186               10/17/2016 - 11/15/2016   Nader Tavangar     EVP / Managing Director at The     11/2/2016    Dunkin Donuts            $     2.37 unknown     travel to DFW for hunting presentation and breakfast NT                                    NT;               Meals/Beverages   Individual
                                                                                                     Mercury Group                                                                                   race event
1904        2016 136165          EXP-6800               1/11/2016 to 2/1/2016     Danielle Gregory   Executive Assistant                1/11/2016    EZ Pass                  $    35.00 unknown     NR OOP January expenses                        expedited travel to NRA office and return Nader Tavangar;     Auto              Toll



1905        2017 149459          EXP-10650              3/15/2017 - 6/1/2017      Nader Tavangar     Executive VP / Managing Director at 4/24/2017   EZ Pass                  $    35.00 unknown     MISC charges on behalf of NRA                  toll charges exclusive for NRA travel       NRA Group;        Auto              Toll
                                                                                                     The Mercury Group



1906        2017 149459          EXP-10650              3/15/2017 - 6/1/2017      Nader Tavangar     Executive VP / Managing Director at 5/16/2017   EZ Pass                  $    35.00 unknown     MISC charges on behalf of NRA                  toll charges exclusive for NRA travel       NRA Group;        Auto              Toll
                                                                                                     The Mercury Group
1907        2017 149459          EXP-10650              3/15/2017 - 6/1/2017      Nader Tavangar     Executive VP / Managing Director at 5/29/2017   EZ Pass                  $    35.00 unknown     MISC charges on behalf of NRA                  toll charges exclusive for NRA travel       NRA Group;        Auto              Toll
                                                                                                     The Mercury Group



1908        2017 146420          EXP-9800               1/2/2017-                 Nader Tavangar     EVP / Managing Director at The     1/2/2017     EZ Pass                  $    35.00 unknown     Misc purchase on behalf of NRA                 Toll charges for NRA Travel                 NRA Group;        Auto              Toll
                                                        1/19/2017                                    Mercury Group


1909        2017 147112          EXP-10084              1/3/17 - 2/28/17          Nader Tavangar     EVP / Managing Director at The     1/16/2017    EZ Pass                  $    35.00 unknown     MISC charges                                   toll charges for travel on NRA business     Nader Tavangar;   Auto              Toll
                                                                                                     Mercury Group
1910        2018 154706/155170   1A1CC7F4725548009361   12/13/2017                Nader Tavangar     Executive VP / Managing Director at 12/3/2017   EZ Pass                  $    35.00 unknown     December                                       toll charges for travel related to NRA      Nader Tavangar;   Auto              Toll
                                                                                                     The Mercury Group                                                                                                                              business
1911        2016 139727          EXP-7751               12/2/2015 to 12/16/2016   Danielle Gregory   Executive Assistant                3/21/2016    EZ Pass                  $    35.00 unknown     NR OOP Misc. expenses                          toll charges traveling to/from NRA          Nader Tavangar;   Auto              Toll
                                                                                                                                                                                                                                                    business


1912        2016 139727          EXP-7751               12/2/2015 to 12/16/2016   Danielle Gregory   Executive Assistant                4/26/2016    EZ Pass                  $    35.00 unknown     NR OOP Misc. expenses                          toll charges traveling to/from NRA          Nader Tavangar;   Auto              Toll
                                                                                                                                                                                                                                                    business


1913        2017 147112          EXP-10053              1/3/17 - 2/22/17          Nader Tavangar     EVP / Managing Director at The     2/22/2017    EZ Pass                  $    35.00 unknown     Misc OOP requests as directed                  Toll fare for NRA travel                    Nader Tavangar;   Auto              Toll
                                                                                                     Mercury Group


1914        2017 145564          EXP-9590               10/28/16 - 12/30/16       Nader Tavangar     EVP / Managing Director at The     11/4/2016    EZ Pass                  $    35.00 unknown     Misc Billing/Exec requests - WBW audited       Toll pass exclusive for NRA travel          Nader Tavangar;   Auto              Toll
                                                                                                     Mercury Group


1915        2017 145564          EXP-9590               10/28/16 - 12/30/16       Nader Tavangar     EVP / Managing Director at The     11/30/2016   EZ Pass                  $    35.00 unknown     Misc Billing/Exec requests - WBW audited       Toll pass exclusive for NRA travel          Nader Tavangar;   Auto              Toll
                                                                                                     Mercury Group
1916        2017 150457          EXP-10730              5/25/2017-                Nader Tavangar     Executive VP / Managing Director at 5/25/2017   EZ Pass                  $    35.00 unknown     Misc purchases for NRA (SK)                    tolls for travel on behalf of NRA           Nader Tavangar;   Auto              Toll         Date: 12/03/17
                                                        6/22/2017                                    The Mercury Group                                                                                                                                                                                                                           Amount: $35.00
1917        2016 143559          EXP-9067               5/13/2016 - 10/28/2016    Nader Tavangar     EVP / Managing Director at The     10/7/2016    Fairmont Hotel           $   482.94 unknown     misc. charges, clean up from past trips with   hotel cancellation charge due to hotel      Nader Tavangar;   Travel            Lodging
                                                                                                     Mercury Group                                                                                   W from meetings and events                     change as requested by W
1918        2017 153476          FEC63AFC7EA04775A9D6   10/12/2017                Nader Tavangar     Executive VP / Managing Director at 10/6/2017   Fearings Restaurant      $   183.72 unknown     October                                        Lunch W, TM, CK, NT during travel to        W; TM; CK; NT;    Meals/Beverages   Group
1919   10   2017 152775          7F8296F587114923A0C7   9/7/2017                  Nader Tavangar     Executive VP / Managing Director at 9/18/2017   Fish Market              $    45.22 unknown     September                                      MH lunch order during meeting               MH;               Meals/Beverages   Individual
                                                                                                     The Mercury Group
1920        2017 151745          B03030AEC14E4D879E1D   8/2/2017                  Nader Tavangar     Executive VP / Managing Director at 8/17/2017   Food City                $    94.51 unknown     August                                         Travel for Bristol NRA race food supplies   Nader Tavangar;   Meals/Beverages   Individual
                                                                                                     The Mercury Group                                                                                                                              for shared house


1921        2017 147112          EXP-10084              1/3/17 - 2/28/17          Nader Tavangar     EVP / Managing Director at The     1/3/2017     Four Seasons             $   (536.48) unknown   MISC charges                                   St. Hubertus meeting                        Nader Tavangar;   Travel            Lodging
                                                                                                     Mercury Group
1922        2017 150457          EXP-10814              2/3/2017-                 Nader Tavangar     Executive VP / Managing Director at 2/3/2017    Four Seasons             $   (480.48) unknown   (WBW) - Misc NRA Charges                       Hotel Credit                                Nader Tavangar;   Travel            Lodging
                                                        6/30/2017                                    The Mercury Group
1923        2016 136859          EXP-6926               1/27/2016 - 2/20/2016     Danielle Gregory   Executive Assistant                2/7/2016     Four Seasons             $   (162.40) unknown   Travel with Wayne to SCI                       hotel credits                               Nader Tavangar;   Travel            Lodging


1924        2016 136859          EXP-6926               1/27/2016 - 2/20/2016     Danielle Gregory   Executive Assistant                2/7/2016     Four Seasons             $     6.49 unknown     Travel with Wayne to SCI                       incidentals after checkout                  Nader Tavangar;   Travel            Lodging


1925   10   2018 155996          346C1D9C8C2049D6B71F   2/15/2018                 Nader Tavangar     Executive VP / Managing Director at 2/8/2018    Four Seasons             $    10.84 unknown     Feb18                                          Sundries for W return from DFW for D        W;                Travel            Lodging
                                                                                                     The Mercury Group                                                                                                                              funeral
1926        2016 136859          EXP-6926               1/27/2016 - 2/20/2016     Danielle Gregory   Executive Assistant                2/7/2016     Four Seasons             $    (41.10) unknown   Travel with Wayne to SCI                       personal items                              Nader Tavangar;   Miscellaneous     Other


1927   10   2016 136859          EXP-6926               1/27/2016 - 2/20/2016     Danielle Gregory   Executive Assistant                2/3/2016     Four Seasons             $     4.87 unknown     Travel with Wayne to SCI                       Hotel business center copier services for   Susan;            Miscellaneous     Other
                                                                                                                                                                                                                                                    Susan




                                                                                                                                                                                                                                                                                                                                                                  APP. 02121
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1928   10   2016 136859          EXP-6926               1/27/2016 - 2/20/2016     Danielle Gregory   Executive Assistant                2/3/2016      Four Seasons       $     14.87 unknown    Travel with Wayne to SCI                    Hotel business center copier services for      Susan;               Miscellaneous     Other
                                                                                                                                                                                                                                            Susan
1929   4    2016 139727          EXP-7760               1/18/2016 to 6/1/2016     Danielle Gregory   Executive Assistant                1/18/2016     Four Seasons       $    480.48 unknown    Deposit from shot show hotel missed on      hotel deposit                                  Nader Tavangar;      Travel            Lodging
                                                                                                                                                                                                report 6783
1930   4    2016 141517          EXP-8051               3/5/2016 - 7/12/2016      Danielle Gregory   Executive Assistant                3/27/2016     Four Seasons       $    536.48 unknown    NR OOP miscellaneous expenses. (SG)         advance deposit hotel for shot show 2017 Nader Tavangar;            Travel            Lodging


1931   4    2016 136859          EXP-6926               1/27/2016 - 2/20/2016     Danielle Gregory   Executive Assistant                2/7/2016      Four Seasons       $    536.48 unknown    Travel with Wayne to SCI                    advanced deposit                               Nader Tavangar;      Travel            Lodging


1932   4    2017 149459          EXP-10650              3/15/2017 - 6/1/2017      Nader Tavangar     Executive VP / Managing Director at 4/23/2017    Four Seasons       $    758.51 unknown    MISC charges on behalf of NRA               hotel deposit for SCI 18                       Nader Tavangar;      Travel            Lodging
                                                                                                     The Mercury Group
1933   4    2017 149459          EXP-10650              3/15/2017 - 6/1/2017      Nader Tavangar     Executive VP / Managing Director at 4/23/2017    Four Seasons       $   1,053.30 unknown   MISC charges on behalf of NRA               hotel deposit for shot show 18                 Nader Tavangar;      Travel            Lodging
                                                                                                     The Mercury Group
1934        2017 144737          EXP-9186               10/17/2016 - 11/15/2016   Nader Tavangar     EVP / Managing Director at The     11/7/2016     Four Seasons       $   1,360.21 unknown   travel to DFW for hunting presentation and Hotel MD (room and tax x2 nights)               Nader Tavangar;      Travel            Lodging
                                                                                                     Mercury Group                                                                              race event
1935        2017 147112          EXP-10070              1/31/17 - 2/23/17         Nader Tavangar     EVP / Managing Director at The     2/4/2017      Four Seasons       $   2,343.55 unknown   Travel to LV SCI Show                       hotel, tax, laundry, breakfast - NT and        NT; S;               Travel            Lodging
                                                                                                     Mercury Group                                                                                                                          iphone charges requested for S
1936        2016 136859          EXP-6926               1/27/2016 - 2/20/2016     Danielle Gregory   Executive Assistant                2/7/2016      Four Seasons       $   2,541.56 unknown   Travel with Wayne to SCI                    Room charges, incl. incidentals, room          Nader Tavangar;      Travel            Lodging
                                                                                                                                                                                                                                            service
1937        2017 144737          EXP-9186               10/17/2016 - 11/15/2016   Nader Tavangar     EVP / Managing Director at The     11/7/2016     Four Seasons       $   2,840.49 unknown   travel to DFW for hunting presentation and Hotel BS (room and tax x6 nights)               Nader Tavangar;      Travel            Lodging
                                                                                                     Mercury Group                                                                              race event


1938        2017 144737          EXP-9186               10/17/2016 - 11/15/2016   Nader Tavangar     EVP / Managing Director at The     11/7/2016     Four Seasons       $   3,409.15 unknown   travel to DFW for hunting presentation and Hotel NT (room and tax 6 nights)                NT;                  Travel            Lodging
                                                                                                     Mercury Group                                                                              race event
1939        2016 136859          EXP-6926               1/27/2016 - 2/20/2016     Danielle Gregory   Executive Assistant                2/2/2016      Freshens #21       $     15.75 unknown    Travel with Wayne to SCI                    lunch                                          Nader Tavangar;      Meals/Beverages   Individual


1940   10   2017 150457          9C0D88CF6A9D4CA187AB   6/16/2017                 Nader Tavangar     Executive VP / Managing Director at 6/9/2017     Frothy Monkey      $      5.24 unknown    June expenses                               Tea for SLP                                    SLP;                 Meals/Beverages   Individual
                                                                                                     The Mercury Group
1941        2017 150457          9C0D88CF6A9D4CA187AB   6/16/2017                 Nader Tavangar     Executive VP / Managing Director at 6/9/2017     Frothy Monkey      $      5.24 unknown    June expenses                               Coffee for NT                                  NT;                  Meals/Beverages   Individual
                                                                                                     The Mercury Group
1942        2017 153476          FEC63AFC7EA04775A9D6   10/12/2017                Nader Tavangar     Executive VP / Managing Director at 10/18/2017   Frothy Monkey      $      7.98 unknown    October                                     Travel to Waltrip Charity event beverages TS; NT;                   Meals/Beverages   Group
                                                                                                     The Mercury Group                                                                                                                      for TS/NT
1943        2016 138653          EXP-7381               1/29/2016 - 4/15/2016     Danielle Gregory   Executive Assistant                3/7/2016      Go Go Wifi         $     49.95 unknown    NR OOP Expenses                             AA inflight internet (3 round trip flights)    Nader Tavangar;      Travel            Other


1944        2017 143169          EXP-8653               8/31/2016 - 9/16/2016     Nader Tavangar     EVP / Managing Director at The     9/12/2016     Go Go Wifi         $      6.00 unknown    Travel to DFW, OKC, and Louisville - nraH   In flight internet 30 minutes                  Nader Tavangar;      Travel            Other
                                                                                                     Mercury Group                                                                              and DA (SG)
1945        2017 143169          EXP-8653               8/31/2016 - 9/16/2016     Nader Tavangar     EVP / Managing Director at The     9/12/2016     Go Go Wifi         $      6.00 unknown    Travel to DFW, OKC, and Louisville - nraH   In flight internet 30 minutes                  Nader Tavangar;      Travel            Other
                                                                                                     Mercury Group                                                                              and DA (SG)
1946        2017 143169          EXP-8715               9/17/2016 - 9/23/2016     Nader Tavangar     EVP / Managing Director at The     9/21/2016     Go Go Wifi         $     25.93 unknown    Travel to DFW, OKC, and Louisville - nraH   In flight internet                             Nader Tavangar;      Travel            Other
                                                                                                     Mercury Group                                                                              and DA (SG)
1947        2017 144737          EXP-9186               10/17/2016 - 11/15/2016   Nader Tavangar     EVP / Managing Director at The     11/2/2016     Go Go Wifi         $      4.95 unknown    travel to DFW for hunting presentation and Wifi on plane                                   Nader Tavangar;      Travel            Other
                                                                                                     Mercury Group                                                                              race event
1948        2016 136859          EXP-6926               1/27/2016 - 2/20/2016     Danielle Gregory   Executive Assistant                2/2/2016      Go Go Wifi         $      5.96 unknown    Travel with Wayne to SCI                    wifi                                           Nader Tavangar;      Travel            Other


1949        2016 136859          EXP-6925               2/1/2016 - 2/19/2016      Danielle Gregory   Executive Assistant                2/1/2016      Go Go Wifi         $     21.95 unknown    Travel with Chris Cox to Dallas for         inflight wifi                                  Nader Tavangar;      Travel            Other
                                                                                                                                                                                                commercial shoot
1950        2017 148749          EXP-10518              4/7/2017 - 5/10/2017      Nader Tavangar     Executive VP / Managing Director at 4/7/2017     Go Go Wifi         $     23.76 unknown    Travel with Wayne to MI for Hillsdale       In flight wifi to continue email               Nader Tavangar;      Travel            Other
                                                                                                     The Mercury Group                                                                          speech, then Dallas to meet with CC re CG, communication with staff and client
1951        2018 154706/155170   1A1CC7F4725548009361   12/13/2017                Nader Tavangar     Executive VP / Managing Director at 12/4/2017    Go Go Wifi         $     49.95 unknown    December                                    In flight wifi - travel Dallas/Charlotte for   Nader Tavangar;      Travel            Other        Date: 12/04/17
                                                                                                     The Mercury Group                                                                                                                      meetings for AM site visit and ROF                                                                 American Airlines plan $49.95
1952        2017 149459          EXP-10650              3/15/2017 - 6/1/2017      Nader Tavangar     Executive VP / Managing Director at 5/23/2017    GOES               $    100.00 unknown    MISC charges on behalf of NRA               global entry 5-year renewal for expedited      Nader Tavangar;      Travel            Other
                                                                                                     The Mercury Group                                                                                                                      screening during domestic/international
1953        2017 153476          FEC63AFC7EA04775A9D6   10/12/2017                Nader Tavangar     Executive VP / Managing Director at 9/30/2017    Grand America      $   1,052.55 unknown   October                                     Room and tax, laundry and meal for W,          W; NT; SL; CK; TM;   Travel            Lodging
                                                                                                     The Mercury Group                                                                                                                      NT, SL, CK, TM during spe
1954   5    2018 155996          346C1D9C8C2049D6B71F   2/15/2018                 Nader Tavangar     Executive VP / Managing Director at 1/30/2018    Guitarcenter.com   $     31.79 unknown    Feb18                                       raffle items - gala                            Unknown;             Miscellaneous     Gift
                                                                                                     The Mercury Group
1955   5    2018 155996          346C1D9C8C2049D6B71F   2/15/2018                 Nader Tavangar     Executive VP / Managing Director at 1/29/2018    Guitarcenter.com   $     31.79 unknown    Feb18                                       raffle items - gala                            Unknown;             Miscellaneous     Gift
                                                                                                     The Mercury Group


1956   5    2018 155996          346C1D9C8C2049D6B71F   2/15/2018                 Nader Tavangar     Executive VP / Managing Director at 1/28/2018    Guitarcenter.com   $     31.79 unknown    Feb18                                       raffle items - gala                            Unknown;             Miscellaneous     Gift
                                                                                                     The Mercury Group
1957   5    2018 155996          346C1D9C8C2049D6B71F   2/15/2018                 Nader Tavangar     Executive VP / Managing Director at 2/4/2018     Guitarcenter.com   $    153.69 unknown    Feb18                                       Auction items for gala fundraiser              Unknown;             Miscellaneous     Gift
                                                                                                     The Mercury Group
1958   5    2018 158521          9D47EF1FE0084EZB8319   5/8/2018                  Nader Tavangar     Executive VP / Managing Director at 4/27/2018    GuitarCenter.com   $    204.05 unknown    May18                                       Giveaways                                      Unknown;             Miscellaneous     Gift         Invoice includes two charges: $228.20 + $204.05
                                                                                                     The Mercury Group
1959   5    2016 136859          EXP-6932               2/13/2016 - 2/19/2016     Danielle Gregory   Executive Assistant                2/13/2016     GuitarCenter.com   $    209.88 unknown    Travel to YFT H2H event                     guitars for YFT auction                        Nader Tavangar;      Miscellaneous     Gift


1960   5    2018 158521          9D47EF1FE0084EZB8319   5/8/2018                  Nader Tavangar     Executive VP / Managing Director at 4/27/2018    GuitarCenter.com   $    228.20 unknown    May18                                       Giveaways                                      Unknown;             Miscellaneous     Gift         Invoice includes two charges: $228.20 + $204.05
                                                                                                     The Mercury Group
1961   5    2016 141517          EXP-8051               3/5/2016 - 7/12/2016      Danielle Gregory   Executive Assistant                5/9/2016      Guitarcenter.com   $    327.72 unknown    NR OOP miscellaneous expenses. (SG)         Guitars purchased for auction                  Nader Tavangar;      Miscellaneous     Gift



1962   5    2018 155996          346C1D9C8C2049D6B71F   2/15/2018                 Nader Tavangar     Executive VP / Managing Director at 2/3/2018     Guitarcenter.com   $    543.70 unknown    Feb18                                       Auction items for gala fundraiser              Unknown;             Miscellaneous     Gift
                                                                                                     The Mercury Group


1963   5    2018 155996          346C1D9C8C2049D6B71F   2/15/2018                 Nader Tavangar     Executive VP / Managing Director at 2/3/2018     Guitarcenter.com   $    545.18 unknown    Feb18                                       Auction items for gala fundraiser              Unknown;             Miscellaneous     Gift
                                                                                                     The Mercury Group


1964   5    2018 155996          346C1D9C8C2049D6B71F   2/15/2018                 Nader Tavangar     Executive VP / Managing Director at 1/26/2018    Guitarcenter.com   $    572.37 unknown    Feb18                                       raffle items - gala                            Unknown;             Miscellaneous     Gift
                                                                                                     The Mercury Group


1965        2017 153476          FEC63AFC7EA04775A9D6   10/12/2017                Nader Tavangar     Executive VP / Managing Director at 10/1/2017    Hampton Inn        $    145.77 unknown    October                                     Room and tax speaking event in Provo, UT Nader Tavangar;            Travel            Lodging
                                                                                                     The Mercury Group                                                                                                                      - THAW




                                                                                                                                                                                                                                                                                                                                                                                   APP. 02122
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1966        2017 143169   EXP-8620               9/6/2016 - 9/13/2016   Nader Tavangar   EVP / Managing Director at The     9/9/2016      Harris Teeter               $      41.93 unknown    NR Exec office requests (SG)                Refreshments for exec suite honorary       Nader Tavangar; BOD;         Meals/Beverages   Group
                                                                                         Mercury Group                                                                                                                                    guests during board meeting


1967        2017 153476   5373DA0158EF450F8AFA   10/30/2017             Nader Tavangar   Executive VP / Managing Director at 10/19/2017   Hermitage                   $    1,515.53 unknown   2-Oct                                       Hotel room and tax + laundry and meal for NT;                           Travel            Lodging
                                                                                         The Mercury Group                                                                                                                                NT




1968        2018 155996   346C1D9C8C2049D6B71F   2/15/2018              Nader Tavangar   Executive VP / Managing Director at 2/18/2018    HNDiscover                  $      23.75 unknown    Feb18                                       Return travel with SLP for Summit site visit Nader Tavangar;            Meals/Beverages   Individual
                                                                                         The Mercury Group


1969        2016 142347   EXP-8467               8/17/16 to 8/24/16     Shahada Kari                                        8/18/2016     Home Depot                  $      33.96 unknown    Equiptment and merchandise for NRA          equipment for rental house                 Nader Tavangar;              Miscellaneous     Other
                                                                                                                                                                                              Bristol Night race in Bristol, TN


1970   10   2018 155996   346C1D9C8C2049D6B71F   2/15/2018              Nader Tavangar   Executive VP / Managing Director at 2/18/2018    Hotel Duval                 $     481.51 unknown    Feb18                                       Hotel room and tax JP Marion hammer        JP; Marion Hammer;           Travel            Lodging
                                                                                         The Mercury Group                                                                                                                                video shoot


1971   10   2018 155996   346C1D9C8C2049D6B71F   2/15/2018              Nader Tavangar   Executive VP / Managing Director at 2/18/2018    Hotel Duval                 $     481.51 unknown    Feb18                                       hotel room and tax TM Marion Hammer        TM; Marion Hammer;           Travel            Lodging
                                                                                         The Mercury Group                                                                                                                                video shoot


1972        2018 155996   346C1D9C8C2049D6B71F   2/15/2018              Nader Tavangar   Executive VP / Managing Director at 2/18/2018    Hotel Duval                 $     606.44 unknown    Feb18                                       Hotel room and tax, dinner NT Marion       NT; Marion Hammer;           Travel            Lodging
                                                                                         The Mercury Group                                                                                                                                hammer video shoot


1973        2017 145564   EXP-9579               12/19/16 - 1/3/17      Nader Tavangar   EVP / Managing Director at The     12/20/2016    Hotel Monaco                $     194.51 unknown    Misc Hotel Charges                          Hotel room and tax for Eric Thomas         Eric Thomas;                 Travel            Lodging
                                                                                         Mercury Group                                                                                                                                    requested WLP


1974        2017 152775   7F8296F587114923A0C7   9/7/2017               Nader Tavangar   Executive VP / Managing Director at 9/6/2017     Hotel Vandivort             $     226.42 unknown    September                                   Hotel/Laundry/Food TS/NT/CK/W              TS; NT; CK; W;               Travel            Lodging
                                                                                         The Mercury Group


1975        2017 152775   7F8296F587114923A0C7   9/7/2017               Nader Tavangar   Executive VP / Managing Director at 9/6/2017     Hotel Vandivort             $    1,323.02 unknown   September                                   Hotel/Laundry/Food TS/NT/CK/W              TS; NT; CK; W;               Travel            Lodging
                                                                                         The Mercury Group


1976        2017 150457   EXP-10788              3/10/2017-             Nader Tavangar   Executive VP / Managing Director at 3/10/2017    Hudson                      $      13.93 unknown    Travel to dallas for CFF presentation and   Lunch NT                                   Nader Tavangar;              Meals/Beverages   Individual
                                                 6/27/2017                               The Mercury Group                                                                                    meeting with AM/RM re ATL '18


1977        2017 151745   B03030AEC14E4D879E1D   8/2/2017               Nader Tavangar   Executive VP / Managing Director at 8/22/2017    Hudson                      $      41.76 unknown    August                                      Supplies for travel with G Shepstone ROF Nader Tavangar;                Miscellaneous     Other
                                                                                         The Mercury Group                                                                                                                                member


1978        2018 158521   EXP-11886              5/1/2018 - 5/18/2018   Nader Tavangar   Executive VP / Managing Director at 5/11/2018    I. I. & I. S. Inc.          $   18,114.08 Unknown   NRA Annual Meeting - Dallas Transportation Car transportation NT and NRA VIPs to       NT; NRA VIPs;                Auto              Car Service   Date of invoice: 05/11/18
                                                                                         The Mercury Group                                                                                    services                                    and from event convention center, hotel                                                                 For: Nader Tavangar - Transportation
                                                                                                                                                                                                                                          and venues (during NRA Annual Meeting)                                                                  April 30 - Drivers meeting: $1757.70
1979        2017 153476   FEC63AFC7EA04775A9D6   10/12/2017             Nader Tavangar   Executive VP / Managing Director at 10/2/2017    JT Schmids restaurant & B   $      70.13 unknown    October                                     Dinner CK/NT during CA speaking event      CK; NT;                      Meals/Beverages   Group
                                                                                         The Mercury Group


1980        2017 150823   BEE94B9B32324293B110   7/14/2017              Nader Tavangar   Executive VP / Managing Director at 7/6/2017     Korean Air                  $   10,413.91 unknown   July expenses                               Travel to Mongolia with Gene Shepstone     Nader Tavangar;              Travel            Airfare
                                                                                         The Mercury Group


1981        2017 150823   BEE94B9B32324293B110   7/14/2017              Nader Tavangar   Executive VP / Managing Director at 7/11/2017    KUIU Inc.                   $    3,226.50 unknown   July expenses                               Equipment for Mongolia trip                Nader Tavangar;              Miscellaneous     Other
                                                                                         The Mercury Group


1982        2017 151745   B03030AEC14E4D879E1D   8/2/2017               Nader Tavangar   Executive VP / Managing Director at 8/15/2017    KUIU Inc.                   $     781.77 unknown    August                                      Travel with G Shepstone ROF member         Nader Tavangar; G Shepstone; Travel            Airfare
                                                                                         The Mercury Group


1983        2018 155996   346C1D9C8C2049D6B71F   2/15/2018              Nader Tavangar   Executive VP / Managing Director at 2/15/2018    La Gloria                   $     119.04 unknown    Feb18                                       Travel with W/S/T for WLF AM fundraiser W; S; T;                        Meals/Beverages   Group
                                                                                         The Mercury Group                                                                                                                                lunch


1984        2017 152775   7F8296F587114923A0C7   9/7/2017               Nader Tavangar   Executive VP / Managing Director at 8/31/2017    Levy GRP                    $    6,119.91 unknown   September                                   Catering service for BPS/NR suite during   BPS Group; NR Group;         Meals/Beverages   Group
                                                                                         The Mercury Group                                                                                                                                night race 1/2 of cost


1985        2017 147112   EXP-10053              1/3/17 - 2/22/17       Nader Tavangar   EVP / Managing Director at The     1/21/2017     Lorien Hotel                $       0.01 unknown    Misc OOP requests as directed               addt'l tax for hotel room for donor        Nader Tavangar;              Travel            Lodging
                                                                                         Mercury Group                                                                                                                                    previously reported


1986        2017 147112   EXP-10053              1/3/17 - 2/22/17       Nader Tavangar   EVP / Managing Director at The     1/21/2017     Lorien Hotel                $       0.01 unknown    Misc OOP requests as directed               addt'l tax for hotel room for donor        Nader Tavangar;              Travel            Lodging
                                                                                         Mercury Group                                                                                                                                    previously reported


1987   10   2017 152775   7F8296F587114923A0C7   9/7/2017               Nader Tavangar   Executive VP / Managing Director at 9/5/2017     Lorien Hotel                $       7.42 unknown    September                                   Hotel for guests as requested by W/AF      W; AF;                       Travel            Lodging
                                                                                         The Mercury Group


1988   10   2017 152775   7F8296F587114923A0C7   9/7/2017               Nader Tavangar   Executive VP / Managing Director at 9/5/2017     Lorien Hotel                $     389.02 unknown    September                                   Accomodations for guests at request of A A Fisher; W;                   Travel            Lodging
                                                                                         The Mercury Group                                                                                                                                Fisher per W


1989   10   2017 152775   7F8296F587114923A0C7   9/7/2017               Nader Tavangar   Executive VP / Managing Director at 9/5/2017     Lorien Hotel                $     517.02 unknown    September                                   Accomodations for guests at request of A A Fisher; W;                   Travel            Lodging
                                                                                         The Mercury Group                                                                                                                                Fisher per W


1990        2017 145564   EXP-9579               12/19/16 - 1/3/17      Nader Tavangar   EVP / Managing Director at The     12/19/2016    Lorien Hotel                $    1,144.71 unknown   Misc Hotel Charges                          Hotel room and taxk for K Karakaya (NRA K Karakaya;                     Travel            Lodging
                                                                                         Mercury Group                                                                                                                                    Donor) inauguration


1991        2017 145564   EXP-9579               12/19/16 - 1/3/17      Nader Tavangar   EVP / Managing Director at The     12/19/2016    Lorien Hotel                $    1,144.71 unknown   Misc Hotel Charges                          Hotel room and taxk for K Karakaya (NRA K Karakaya;                     Travel            Lodging
                                                                                         Mercury Group                                                                                                                                    Donor) inauguration




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1992           2017 147112          EXP-10070              1/31/17 - 2/23/17         Nader Tavangar     EVP / Managing Director at The     2/3/2017      Lucky Cab                     $     37.60 unknown    Travel to LV SCI Show                        taxi return from meeting with KH and        KH; CDW;                  Auto               Taxi
                                                                                                        Mercury Group                                                                                                                                      CDW


1993           2016 138653          EXP-7381               1/29/2016 - 4/15/2016     Danielle Gregory   Executive Assistant                3/8/2016      Mahsa Grill and Market        $     42.32 unknown    NR OOP Expenses                              Dinner (N. Tavangar)                        Nader Tavangar;           Meals/Beverages    Individual



1994   10      2016 136165          EXP-6800               1/11/2016 to 2/1/2016     Danielle Gregory   Executive Assistant                1/14/2016     Mansion Schools               $     15.16 unknown    NR OOP January expenses                      pens special order for Wayne                Wayne;                    Miscellaneous      Other



1995           2017 153476          FEC63AFC7EA04775A9D6   10/12/2017                Nader Tavangar     Executive VP / Managing Director at 9/30/2017    Market Street Grill Down      $    216.01 unknown    October                                      Lunch W. CK, TM, SL, NT during travel       W; CK; TM; SL; NT;        Meals/Beverages    Group
                                                                                                        The Mercury Group                                                                                                                                  for UT speaking event


1996           2017 153476          FEC63AFC7EA04775A9D6   10/12/2017                Nader Tavangar     Executive VP / Managing Director at 9/29/2017    Market Street Oyster Bar      $    214.57 unknown    October                                      Lunch NT, W, SL, CK, TM during travel to NT; W; SL; CK; TM;           Meals/Beverages    Group
                                                                                                        The Mercury Group                                                                                                                                  UT for speaking event


1997           2017 147112          EXP-10084              1/3/17 - 2/28/17          Nader Tavangar     EVP / Managing Director at The     1/15/2017     Marriott                      $    387.83 unknown    MISC charges                                 Hotel room and tax during SCI Houston       Nader Tavangar;           Travel             Lodging
                                                                                                        Mercury Group                                                                                                                                      show/W presentation


1998           2017 143169          EXP-8653               8/31/2016 - 9/16/2016     Nader Tavangar     EVP / Managing Director at The     9/14/2016     Mary Eddies                   $    349.84 unknown    Travel to DFW, OKC, and Louisville - nraH    Dinner (TM, TS, W, NT)                      TM; TS; W; NT;            Meals/Beverages    Group
                                                                                                        Mercury Group                                                                                         and DA (SG)


1999           2017 147112          EXP-10070              1/31/17 - 2/23/17         Nader Tavangar     EVP / Managing Director at The     2/3/2017      MBCC Snack bar                $     13.00 unknown    Travel to LV SCI Show                        drinks for W and Charlie M                  W; Charlie M;             Meals/Beverages    Group
                                                                                                        Mercury Group


2000           2017 147112          EXP-10070              1/31/17 - 2/23/17         Nader Tavangar     EVP / Managing Director at The     2/2/2017      MBCC Snack bar                $     20.00 unknown    Travel to LV SCI Show                        lunch (NT)                                  NT;                       Meals/Beverages    Individual
                                                                                                        Mercury Group


2001           2017 153476          FEC63AFC7EA04775A9D6   10/12/2017                Nader Tavangar     Executive VP / Managing Director at 10/3/2017    MCAR WLA                      $    598.01 unknown    October                                      Car rental for travel to Anaheim speaking   Nader Tavangar;           Auto               Car Rental
                                                                                                        The Mercury Group                                                                                                                                  event


2002           2018 159388          40613652050848B7B98E   6/6/2018                  Nader Tavangar     Executive VP / Managing Director at 5/25/2018    Mens Wearhouse                $     21.40 unknown    Nader Tavangar Expense Report (Concur)       Additonal day Tux rental business rental:   Nader Tavangar;           Miscellaneous      Other
                                                                                                        The Mercury Group                                                                                                                                  Travel with Wayne


2003           2017 150457          EXP-10814              2/3/2017-                 Nader Tavangar     Executive VP / Managing Director at 5/22/2017    Mens Wearhouse                $    195.26 unknown    (WBW) - Misc NRA Charges                     Tux Rental for SCC fundraiser in NC with Nader Tavangar;              Miscellaneous      Other
                                                           6/30/2017                                    The Mercury Group                                                                                                                                  W


2004           2018 159388          40613652050848B7B98E   6/6/2018                  Nader Tavangar     Executive VP / Managing Director at 5/21/2018    Mens Wearhouse                $    200.08 unknown    Nader Tavangar Expense Report (Concur)       Tux rental, business purpose: Travel with   Nader Tavangar;           Miscellaneous      Other
                                                                                                        The Mercury Group                                                                                                                                  Wayne/Susan to SMI SCC Gala Billable: NR
                                                                                                                                                                                                                                                           OOP
2005           2017 147112          EXP-10040              2/6/17 - 2/20/17          Nader Tavangar     EVP / Managing Director at The     2/7/2017      Merchant: Audio Visual        $   3,987.56 unknown   Travel to CA for St. H speech/presentation   AV charges for ST. H presentation           ST;                       Miscellaneous      Other
                                                                                                        Mercury Group                                                                                         (NRAH)


2006           2017 147112          EXP-10070              1/31/17 - 2/23/17         Nader Tavangar     EVP / Managing Director at The     2/3/2017      MGM Copperfield TKTS          $    265.98 unknown    Travel to LV SCI Show                        Tickets for show CDW, KH, NT                CDW; KH; NT;              Miscellaneous      Other
                                                                                                        Mercury Group


2007           2016 136859          EXP-6926               1/27/2016 - 2/20/2016     Danielle Gregory   Executive Assistant                2/5/2016      Milos                         $    579.28 unknown    Travel with Wayne to SCI                     Dinner (W, S, NT, CK, DB)                   W; S; NT; CK; DB;         Meals/Beverages    Group



2008           2018 159388          40613652050848B7B98E   6/6/2018                  Nader Tavangar     Executive VP / Managing Director at 5/21/2018    MIQ Logistics                 $    985.62 unknown    Nader Tavangar Expense Report (Concur)       Internal freight forwarding services Donor Unknown;                   Miscellaneous      Other
                                                                                                        The Mercury Group                                                                                                                                  services GS
2009           2018 155996          346C1D9C8C2049D6B71F   2/15/2018                 Nader Tavangar     Executive VP / Managing Director at 2/16/2018    Mokara and La Mansion Hotel   $    489.41 unknown    Feb18                                        Hotel, room, tax, dining for NT travel to   Unknown;                  Travel             Lodging
                                                                                                        The Mercury Group                                                                                                                                  SA for WLF am fundraiser


2010           2017 151745          B03030AEC14E4D879E1D   8/2/2017                  Nader Tavangar     Executive VP / Managing Director at 8/22/2017    Mountain House                $    113.98 unknown    August                                       Food supplies for travel with G Shepstone Nader Tavangar; G Shepstone; Meals/Beverages   Group
                                                                                                        The Mercury Group                                                                                                                                  ROF member


2011           2017 143169          EXP-8653               8/31/2016 - 9/16/2016     Nader Tavangar     EVP / Managing Director at The     9/12/2016     NaaY limo                     $    115.00 unknown    Travel to DFW, OKC, and Louisville - nraH    Car service from DFW to airport             Nader Tavangar;           Auto               Car Service
                                                                                                        Mercury Group                                                                                         and DA (SG)


2012           2018 154707          6EOF5662264C4B639269   1/16/2018                 Nader Tavangar     Executive VP / Managing Director at 1/2/2018     National Shooting Sports      $    420.00 unknown    January                                      Credentials for industry show requested     TM;                       Miscellaneous      Other         3 registered @ $140.00/each
                                                                                                        The Mercury Group                                                                                                                                  by TM


2013           2018 154707          6EOF5662264C4B639269   1/16/2018                 Nader Tavangar     Executive VP / Managing Director at 1/8/2018     National Shooting Sports      $    700.00 unknown    January                                      Credentials for industry show requested     Teresa Marshall; Robert   Miscellaneous      Other         Teresa Marshall - $175.00
                                                                                                        The Mercury Group                                                                                                                                  by TM                                       Marshall; Mark Dycio;                                      Robert Marshall - $175.00
                                                                                                                                                                                                                                                                                                                                                                  Mark Dycio - $350.00
2014           2018 154706/155170   1A1CC7F4725548009361   12/13/2017                Nader Tavangar     Executive VP / Managing Director at 12/14/2017   National Shooting Sports      $    105.00 unknown    December                                     Credentials for NR reps requested by TM TM;                           Miscellaneous      Other
                                                                                                        The Mercury Group


2015           2017 151745          B03030AEC14E4D879E1D   8/2/2017                  Nader Tavangar     Executive VP / Managing Director at 8/9/2017     Nosler Inc.                   $    129.80 unknown    August                                       Equipment for G Shepstone Trip              Robert Nosler;            Miscellaneous      Other         Robert Nosler (Director) owns Nosler Inc
                                                                                                        The Mercury Group


2016   5       2017 144737          EXP-9186               10/17/2016 - 11/15/2016   Nader Tavangar     EVP / Managing Director at The     11/5/2016     old Grapvine Cigar            $    866.00 unknown    travel to DFW for hunting presentation and gift for donors requested by TM               TM;                       Miscellaneous      Gift
                                                                                                        Mercury Group                                                                                         race event


2017   10; 5   2018 160896          734F3FC401714C0FBBD6   8/3/2018                  Nader Tavangar     Executive VP / Managing Director at 8/3/2018     Old Oaks Liquor               $   1,000.00 unknown   August18                                     Donor gifts requested by TM/TS              TM; TS;                   Miscellaneous      Gift
                                                                                                        The Mercury Group


2018   10; 5   2018 160896          734F3FC401714C0FBBD6   8/3/2018                  Nader Tavangar     Executive VP / Managing Director at 8/2/2018     Old Oaks Liquor               $   2,650.00 unknown   August18                                     Donor gifts requested by TM/TS              TM; TS;                   Miscellaneous      Gift
                                                                                                        The Mercury Group


2019   5       2018 156967          71877DD1FE2845CAA329   3/9/2018                  Nader Tavangar     EVP / Managing Director Mercury    3/12/2018     Old Palace LLC                $   1,050.00 unknown   March19                                      Items for TM requested by TM                TM;                       Miscellaneous      Gift
                                                                                                        Group




                                                                                                                                                                                                                                                                                                                                                                                                     APP. 02124
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2020   5       2018 155996   346C1D9C8C2049D6B71F   2/15/2018                 Nader Tavangar     Executive VP / Managing Director at 1/31/2018    Old Palace LLC              $   1,050.00 unknown   Feb18                                          Request from TM                             TM;                  Miscellaneous     Gift
                                                                                                 The Mercury Group


2021   10; 5   2018 155996   346C1D9C8C2049D6B71F   2/15/2018                 Nader Tavangar     Executive VP / Managing Director at 2/13/2018    Old Palace LLC              $   1,050.00 unknown   Feb18                                          Request from TS                             TS;                  Miscellaneous     Gift
                                                                                                 The Mercury Group


2022   5       2017 153476   FEC63AFC7EA04775A9D6   10/12/2017                Nader Tavangar     Executive VP / Managing Director at 10/19/2017   Old Palace LLC              $   2,150.00 unknown   October                                        Donor materials requested by TS/TM          TS; TM;              Miscellaneous     Gift
                                                                                                 The Mercury Group


2023           2017 150823   C9DE02FA6577488598C5   7/26/2017                 Nader Tavangar     Executive VP / Managing Director at 7/25/2017    Old Town Shoe and Luggage   $     60.39 unknown    July expenses 2                                Travel locks for Gun case                   Nader Tavangar;      Miscellaneous     Other
                                                                                                 The Mercury Group


2024           2017 145564   EXP-9590               10/28/16 - 12/30/16       Nader Tavangar     EVP / Managing Director at The     11/29/2016    Olive Sinclair              $     49.48 unknown    Misc Billing/Exec requests - WBW audited       confectionery order requested by TM         TM;                  Miscellaneous     Other
                                                                                                 Mercury Group


2025           2016 136859   EXP-6925               2/1/2016 - 2/19/2016      Danielle Gregory   Executive Assistant                2/1/2016      Paradies                    $      8.14 unknown    Travel with Chris Cox to Dallas for            breakfast                                   Nader Tavangar;      Meals/Beverages   Individual
                                                                                                                                                                                                     commercial shoot


2026           2017 144737   EXP-9186               10/17/2016 - 11/15/2016   Nader Tavangar     EVP / Managing Director at The     11/2/2016     Paradies                    $      9.84 unknown    travel to DFW for hunting presentation and breakfast NT                                    NT;                  Meals/Beverages   Individual
                                                                                                 Mercury Group                                                                                       race event


2027           2017 150457   EXP-10788              3/10/2017-                Nader Tavangar     Executive VP / Managing Director at 3/13/2017    Paradies                    $     14.28 unknown    Travel to dallas for CFF presentation and      Lunch NT                                    Nader Tavangar;      Meals/Beverages   Individual
                                                    6/27/2017                                    The Mercury Group                                                                                   meeting with AM/RM re ATL '18


2028   5       2018 158521   9D47EF1FE0084EZB8319   5/8/2018                  Nader Tavangar     Executive VP / Managing Director at 5/15/2018    PayPal                      $    500.00 unknown    May18                                          Donation in lieu of payments for services   W Lain;              Miscellaneous     Gift         Date: 05/15/18
                                                                                                 The Mercury Group                                                                                                                                  to sing national anthem during the NRA                                                          Player payment - $125.00/each - 4 quantity - $500.00
                                                                                                                                                                                                                                                    AM in Dallas (W. Lain)
2029           2017 152775   7F8296F587114923A0C7   9/7/2017                  Nader Tavangar     Executive VP / Managing Director at 9/19/2017    RaceTrac                    $      3.27 unknown    September                                      Sundries during travel to Baton Rouge with Nader Tavangar;       Meals/Beverages   Individual
                                                                                                 The Mercury Group                                                                                                                                  W for BSA event


2030           2017 147112   EXP-10070              1/31/17 - 2/23/17         Nader Tavangar     EVP / Managing Director at The     2/1/2017      Rangoon News Bureau         $     19.07 unknown    Travel to LV SCI Show                          Dinner                                      Nader Tavangar;      Meals/Beverages   Individual
                                                                                                 Mercury Group


2031           2018 158521   9D47EF1FE0084EZB8319   5/8/2018                  Nader Tavangar     Executive VP / Managing Director at 4/26/2018    Redbubble.com               $     63.80 unknown    May18                                          NRA security purchase                       Unknown;             Miscellaneous     Other
                                                                                                 The Mercury Group


2032           2016 142347   EXP-8467               8/17/16 to 8/24/16        Shahada Kari                                          8/17/2016     REI                         $   (298.92) unknown   Equiptment and merchandise for NRA             personal portion of REI charges on          Nader Tavangar;      Miscellaneous     Other
                                                                                                                                                                                                     Bristol Night race in Bristol, TN              corporate credit card - to be paid by
                                                                                                                                                                                                                                                    personal check
2033   10; 5   2016 142347   EXP-8467               8/17/16 to 8/24/16        Shahada Kari                                          8/17/2016     REI                         $    714.97 unknown    Equiptment and merchandise for NRA             fishing/camo shirts to be monogrammed       NRA Bristol Group;   Miscellaneous     Gift
                                                                                                                                                                                                     Bristol Night race in Bristol, TN              with NRA race moniker for donors, NRA
                                                                                                                                                                                                                                                    staff and special guest
2034   10      2017 143169   EXP-8653               8/31/2016 - 9/16/2016     Nader Tavangar     EVP / Managing Director at The     9/15/2016     Renaissance Hotels          $      4.75 unknown    Travel to DFW, OKC, and Louisville - nraH      Coffee (TS)                                 TS;                  Meals/Beverages   Individual
                                                                                                 Mercury Group                                                                                       and DA (SG)


2035           2016 138653   EXP-7381               1/29/2016 - 4/15/2016     Danielle Gregory   Executive Assistant                1/29/2016     Renaissance Hotels          $    203.84 unknown    NR OOP Expenses                                Travel to Dallas and OKC for meetings       Nader Tavangar;      Travel            Lodging
                                                                                                                                                                                                                                                    with K Weaver


2036           2017 147112   EXP-10053              1/3/17 - 2/22/17          Nader Tavangar     EVP / Managing Director at The     2/13/2017     Ritz Carlton                $      6.46 unknown    Misc OOP requests as directed                  breakfast - NT presentation to YFT for JM Nader Tavangar;        Meals/Beverages   Individual
                                                                                                 Mercury Group                                                                                                                                      center


2037           2018 156967   71877DD1FE2845CAA329   3/9/2018                  Nader Tavangar     EVP / Managing Director Mercury    2/22/2018     Ritz Carlton                $      7.42 unknown    March19                                        computer prints during travel with W for    Nader Tavangar;      Travel            Lodging
                                                                                                 Group                                                                                                                                              CPAC rehearsal and curr…


2038           2017 147112   EXP-10053              1/3/17 - 2/22/17          Nader Tavangar     EVP / Managing Director at The     2/11/2017     Ritz Carlton                $     10.22 unknown    Misc OOP requests as directed                  Coffee w/ N. Baugh (46 entertainment) to N Baugh;                Meals/Beverages   Individual
                                                                                                 Mercury Group                                                                                                                                      discuss H2H specifics


2039           2016 136859   EXP-6932               2/13/2016 - 2/19/2016     Danielle Gregory   Executive Assistant                2/14/2016     Ritz Carlton                $     20.00 unknown    Travel to YFT H2H event                        Parking charge - Eric Van Horn (Paid cash) Eric Van Horn;        Auto              Parking



2040           2017 147112   EXP-10053              1/3/17 - 2/22/17          Nader Tavangar     EVP / Managing Director at The     2/13/2017     Ritz Carlton                $     20.00 unknown    Misc OOP requests as directed                  parking for meeting w/ YFT presentation     Nader Tavangar;      Auto              Parking
                                                                                                 Mercury Group                                                                                                                                      re JM Center


2041           2017 150457   EXP-10796              2/15/2017-                Nader Tavangar     Executive VP / Managing Director at 5/10/2017    Ritz Carlton                $     28.85 unknown    Misc NRA Charges (SK)                          beverages for perspective donnors during Donors;                 Travel            Lodging
                                                    6/28/2017                                    The Mercury Group                                                                                                                                  B&G Fundraiser


2042           2016 143559   EXP-8999               10/5/2016-                Nader Tavangar     EVP / Managing Director at The     10/20/2016    Ritz Carlton                $     61.74 unknown    Travel with Wayne for NRA business to          Breakfast NT                                NT;                  Meals/Beverages   Individual
                                                    10/21/2016                                   Mercury Group                                                                                       Dallas (video shoot) and Bakersfield for
                                                                                                                                                                                                     speaking engagement
2043           2016 143559   EXP-9067               5/13/2016 - 10/28/2016    Nader Tavangar     EVP / Managing Director at The     5/13/2016     Ritz Carlton                $     34.95 unknown    misc. charges, clean up from past trips with   drinks for donors                           Multiple;            Meals/Beverages   Group
                                                                                                 Mercury Group                                                                                       W from meetings and events


2044           2016 136165   EXP-6672               1/6/2016 to 1/25/2016     Danielle Gregory   Executive Assistant                1/14/2016     Ritz Carlton                $     56.29 unknown    January OOP expenses                           laundry/valet charge/coffee                 Nader Tavangar;      Travel            Lodging



2045           2017 147112   EXP-10053              1/3/17 - 2/22/17          Nader Tavangar     EVP / Managing Director at The     2/6/2017      Ritz Carlton                $    110.10 unknown    Misc OOP requests as directed                  Dinner - NT/N. Baugh (H2H gala)             NT; N Baugh;         Meals/Beverages   Group
                                                                                                 Mercury Group


2046           2018 155996   346C1D9C8C2049D6B71F   2/15/2018                 Nader Tavangar     Executive VP / Managing Director at 2/10/2018    Ritz Carlton                $    144.67 unknown    Feb18                                          Lunch with LR, EA, NB prior to              LR; EA; NB;          Travel            Lodging
                                                                                                 The Mercury Group                                                                                                                                  show/rehearsal for YFT H2H Gala




                                                                                                                                                                                                                                                                                                                                                                                         APP. 02125
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2047           2018 155996   346C1D9C8C2049D6B71F   2/15/2018                 Nader Tavangar     Executive VP / Managing Director at 2/14/2018   Ritz Carlton         $     302.08 unknown     Feb18                                        Room/tax for talent H2H Gala                   Nader Tavangar;      Travel            Lodging
                                                                                                 The Mercury Group


2048           2017 147112   EXP-10053              1/3/17 - 2/22/17          Nader Tavangar     EVP / Managing Director at The     2/12/2017    Ritz Carlton         $     401.60 unknown     Misc OOP requests as directed                hotel room, tax, dining - guest of honor       T Kyle;              Travel            Lodging
                                                                                                 Mercury Group                                                                                                                              during H2H gala T- Kyle


2049           2016 136859   EXP-6925               2/1/2016 - 2/19/2016      Danielle Gregory   Executive Assistant                2/2/2016     Ritz Carlton         $     563.37 unknown     Travel with Chris Cox to Dallas for          Hotel room and tax and dining x1 (NT)          NT;                  Travel            Lodging
                                                                                                                                                                                               commercial shoot


2050           2016 140440   EXP-7997               6/23/16 to 6/27/16        Danielle Gregory   Executive Assistant                6/23/2016    Ritz Carlton         $     583.84 unknown     Travel with T. Schropp to ATL for pre-site   hotel room and tax                             Nader Tavangar;      Travel            Lodging
                                                                                                                                                                                               committee fundraiser


2051           2017 143169   EXP-8653               8/31/2016 - 9/16/2016     Nader Tavangar     EVP / Managing Director at The     9/13/2016    Ritz Carlton         $     609.72 unknown     Travel to DFW, OKC, and Louisville - nraH    Hotel stay and tax                             Nader Tavangar;      Travel            Lodging
                                                                                                 Mercury Group                                                                                 and DA (SG)


2052           2018 155996   346C1D9C8C2049D6B71F   2/15/2018                 Nader Tavangar     Executive VP / Managing Director at 2/11/2018   Ritz Carlton         $     626.73 unknown     Feb18                                        Talen accommodation, room, tax, dining         Nader Tavangar;      Travel            Lodging
                                                                                                 The Mercury Group                                                                                                                          during H2H gala


2053           2017 149459   EXP-10512              2/15/17 - 5/10/17         Nader Tavangar     Executive VP / Managing Director at 2/16/2017   Ritz Carlton         $     642.74 unknown     Travel with W for meeting commercial         hotel room and tax, plus dinner for NT         NT;                  Travel            Lodging
                                                                                                 The Mercury Group                                                                             shoot with AM (SK)


2054           2017 143169   EXP-8653               8/31/2016 - 9/16/2016     Nader Tavangar     EVP / Managing Director at The     9/14/2016    Ritz Carlton         $     796.10 unknown     Travel to DFW, OKC, and Louisville - nraH    Hotel room and tax, plus laundry, bar          TM; NT;              Travel            Lodging
                                                                                                 Mercury Group                                                                                 and DA (SG)                                  charge (TM, NT)


2055           2016 143559   EXP-8999               10/5/2016-                Nader Tavangar     EVP / Managing Director at The     10/21/2016   Ritz Carlton         $   1,228.46 unknown     Travel with Wayne for NRA business to        Hotel room, tax, laundry                       Nader Tavangar;      Travel            Lodging
                                                    10/21/2016                                   Mercury Group                                                                                 Dallas (video shoot) and Bakersfield for
                                                                                                                                                                                               speaking engagement
2056           2017 143169   EXP-8715               9/17/2016 - 9/23/2016     Nader Tavangar     EVP / Managing Director at The     9/21/2016    Ritz Carlton         $   1,275.52 unknown     Travel expenses for meetings (OKC and        Dallas hotel room. Tax, and laundry            Nader Tavangar;      Travel            Lodging
                                                                                                 Mercury Group                                                                                 Dallas) with W


2057           2016 136165   EXP-6672               1/6/2016 to 1/25/2016     Danielle Gregory   Executive Assistant                1/14/2016    Ritz Carlton         $   1,588.30 unknown     January OOP expenses                         hotel stay (2 nights)                          Nader Tavangar;      Travel            Lodging



2058           2016 138653   EXP-7403               4/10/2016 - 4/19/2016     Danielle Gregory   Executive Assistant                4/10/2016    Ritz Carlton         $   1,620.68 unknown     Travel with Wayne to Dallas for meetings     Includes room, tax, laundry, and breakfast     Nader Tavangar;      Travel            Lodging
                                                                                                                                                                                               with AM (SG)                                 for 1


2059           2017 153476   FEC63AFC7EA04775A9D6   10/12/2017                Nader Tavangar     Executive VP / Managing Director at 10/8/2017   Safeway              $       7.15 unknown     October                                      Beverages for TM/CK prior to interview         TM; CK;              Meals/Beverages   Group
                                                                                                 The Mercury Group                                                                                                                          travel - current events


2060           2016 143559   EXP-9008               9/28/2016 - 10/24/16      Nader Tavangar     EVP / Managing Director at The     9/28/2016    SMI Properties       $   (2,412.25) unknown   NT from SMI relating to NRA Night RACE       Refund relates to charges from SMI in          Nader Tavangar;      Miscellaneous     Other
                                                                                                 Mercury Group                                                                                 merch                                        august. They are refunding because they
                                                                                                                                                                                                                                            double billed and invoiced NRA directly.
2061   5       2016 142347   EXP-8467               8/17/16 to 8/24/16        Shahada Kari                                          8/17/2016    SMIC Holdings Inc.   $     611.80 unknown     Equiptment and merchandise for NRA           track merchandise for partner gift/sales.      Multiple;            Miscellaneous     Gift
                                                                                                                                                                                               Bristol Night race in Bristol, TN            Includes tshirts, back packs, hats, koozies,
                                                                                                                                                                                                                                            pins and patches
2062   5       2016 142347   EXP-8467               8/17/16 to 8/24/16        Shahada Kari                                          8/17/2016    SMIC Holdings Inc.   $     871.82 unknown     Equiptment and merchandise for NRA           track merchandise for partner gift/sales.      Multiple;            Miscellaneous     Gift
                                                                                                                                                                                               Bristol Night race in Bristol, TN            Includes tshirts, back packs, hats, koozies,
                                                                                                                                                                                                                                            pins and patches
2063   5       2016 142347   EXP-8467               8/17/16 to 8/24/16        Shahada Kari                                          8/17/2016    SMIC Holdings Inc.   $     928.63 unknown     Equiptment and merchandise for NRA           track merchandise for partner gift/sales.      Multiple;            Miscellaneous     Gift
                                                                                                                                                                                               Bristol Night race in Bristol, TN            Includes tshirts, back packs, hats, koozies,
                                                                                                                                                                                                                                            pins and patches
2064   10; 5   2017 143169   EXP-8825               9/12/2016 - 10/4/2016     Nader Tavangar     EVP / Managing Director at The     9/12/2016    Smoke Zone           $   2,260.00 unknown     Donor materials requested by TM and TS       Misc material                                  TM; TS;              Miscellaneous     Gift
                                                                                                 Mercury Group                                                                                 and travel with WLP


2065   5       2017 149459   EXP-10650              3/15/2017 - 6/1/2017      Nader Tavangar     Executive VP / Managing Director at 5/11/2017   Smoke Zone           $   1,050.00 unknown     MISC charges on behalf of NRA                donor gifts requested by TM                    TM;                  Miscellaneous     Gift
                                                                                                 The Mercury Group


2066   5       2017 147112   EXP-10053              1/3/17 - 2/22/17          Nader Tavangar     EVP / Managing Director at The     1/14/2017    Smoke Zone           $   2,100.00 unknown     Misc OOP requests as directed                Donor gifts requeted by TM                     TM;                  Miscellaneous     Gift
                                                                                                 Mercury Group


2067   5       2016 136859   EXP-6924               1/27/2016 - 2/19/2016     Danielle Gregory   Executive Assistant                1/27/2016    Smoke Zone           $   2,332.00 unknown     NR OOP Expenses                              Cigars requested by Tony/Tyler for donor Nader Tavangar;            Miscellaneous     Gift
                                                                                                                                                                                                                                            meetings


2068   10; 5   2017 149459   EXP-10650              3/15/2017 - 6/1/2017      Nader Tavangar     Executive VP / Managing Director at 4/23/2017   Smoke Zone           $   2,700.00 unknown     MISC charges on behalf of NRA                donor gifts requested by TM/TS                 TM; TS;              Miscellaneous     Gift
                                                                                                 The Mercury Group


2069   10; 5   2017 144737   EXP-9186               10/17/2016 - 11/15/2016   Nader Tavangar     EVP / Managing Director at The     10/17/2016   Smoke Zone           $   2,750.00 unknown     travel to DFW for hunting presentation and gifts for donors requested by TM and TS          TM; TS;              Miscellaneous     Gift
                                                                                                 Mercury Group                                                                                 race event


2070   5       2016 136859   EXP-6924               1/27/2016 - 2/19/2016     Danielle Gregory   Executive Assistant                2/3/2016     Smoke Zone           $   2,770.00 unknown     NR OOP Expenses                              Cigars requested by Tony/Tyler for donor Nader Tavangar;            Miscellaneous     Gift
                                                                                                                                                                                                                                            meetings


2071   5       2017 148014   EXP-10228              1/24/2017 - 3/21/2017     Nader Tavangar     Executive VP / Managing Director at 3/7/2017    Smoke Zone           $   3,375.00 unknown     Misc travel and purchases on behalf of NRA Donor gifts requested by TM and TS               TM; TS; NRA Group;   Miscellaneous     Gift
                                                                                                 The Mercury Group


2072           2016 141517   EXP-8078               7/5/2016 - 7/12/2016      Danielle Gregory   Executive Assistant                7/5/2016     Snake River Grill    $     155.08 unknown     Travel to WY for speaking engagement (SG) dinner W/NT                                       W; NT;               Meals/Beverages   Group



2073           2017 146420   EXP-9803               1/11/2017-                Nader Tavangar     EVP / Managing Director at The     1/11/2017    Southwest            $       8.00 unknown     Houston Safari Club Presentations (SG)       Wifi on plane                                  Nader Tavangar;      Travel            Other
                                                    1/25/2017                                    Mercury Group




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2074   10   2017 153476   FEC63AFC7EA04775A9D6   10/12/2017                Nader Tavangar     Executive VP / Managing Director at 10/18/2017   SQ *Outback Steakhouse   $      7.00 unknown    October                                      Beverage for TS and BS during Charity        TS; BS;                  Meals/Beverages   Group
                                                                                              The Mercury Group                                                                                                                             Waltrip event


2075        2017 147112   EXP-10084              1/3/17 - 2/28/17          Nader Tavangar     EVP / Managing Director at The     1/7/2017      Starbucks                $      2.20 unknown    MISC charges                                 Coffee - NRA BOD mgt                         Nader Tavangar;          Meals/Beverages   Individual
                                                                                              Mercury Group


2076        2017 147112   EXP-10084              1/3/17 - 2/28/17          Nader Tavangar     EVP / Managing Director at The     1/7/2017      Starbucks                $      3.58 unknown    MISC charges                                 Coffee - NRA BOD mgt                         Nader Tavangar;          Meals/Beverages   Individual
                                                                                              Mercury Group


2077   10   2017 153476   FEC63AFC7EA04775A9D6   10/12/2017                Nader Tavangar     Executive VP / Managing Director at 10/8/2017    Starbucks                $      4.02 unknown    October                                      Beverages for W prior to interview -         W;                       Meals/Beverages   Individual
                                                                                              The Mercury Group                                                                                                                             Current events



2078        2017 143169   EXP-8653               8/31/2016 - 9/16/2016     Nader Tavangar     EVP / Managing Director at The     9/15/2016     Starbucks                $      5.26 unknown    Travel to DFW, OKC, and Louisville - nraH    Coffee/tea (W, TM)                           W; TM;                   Meals/Beverages   Group
                                                                                              Mercury Group                                                                                    and DA (SG)


2079        2017 153476   FEC63AFC7EA04775A9D6   10/12/2017                Nader Tavangar     Executive VP / Managing Director at 9/29/2017    Starbucks                $      7.26 unknown    October                                      Beverages for Tm/W prior to travel to        TM; W;                   Meals/Beverages   Group
                                                                                              The Mercury Group                                                                                                                             UT/MT/CA speaking engagement


2080   10   2017 148749   EXP-10518              4/7/2017 - 5/10/2017      Nader Tavangar     Executive VP / Managing Director at 4/7/2017     Starbucks                $      9.53 unknown    Travel with Wayne to MI for Hillsdale        Coffee for CC, MH                            CC; MH;                  Meals/Beverages   Group
                                                                                              The Mercury Group                                                                                speech, then Dallas to meet with CC re CG,
                                                                                                                                                                                               then return to DC (SK)
2081        2017 144737   EXP-9186               10/17/2016 - 11/15/2016   Nader Tavangar     EVP / Managing Director at The     11/2/2016     Sunny Bryans             $     56.36 unknown    travel to DFW for hunting presentation and dinner TS NT BS                                TS; NT; BS;              Meals/Beverages   Group
                                                                                              Mercury Group                                                                                    race event


2082   10   2017 152775   7F8296F587114923A0C7   9/7/2017                  Nader Tavangar     Executive VP / Managing Director at 9/4/2017     Sunoco                   $     12.12 unknown    September                                    Sundries for W/AF for travel to Springfield W; AF;                    Meals/Beverages   Group
                                                                                              The Mercury Group                                                                                                                             board meetings



2083        2017 152775   7F8296F587114923A0C7   9/7/2017                  Nader Tavangar     Executive VP / Managing Director at 9/19/2017    Sunoco                   $     14.59 unknown    September                                    Sundries during travel to BSA event          Nader Tavangar;          Meals/Beverages   Individual
                                                                                              The Mercury Group



2084        2017 147112   EXP-10070              1/31/17 - 2/23/17         Nader Tavangar     EVP / Managing Director at The     1/31/2017     Taxi                     $     34.10 unknown    Travel to LV SCI Show                        taxi return NT from gala event w/ TS, CD NT; TS; CD;                  Auto              Taxi
                                                                                              Mercury Group


2085        2017 147112   EXP-10070              1/31/17 - 2/23/17         Nader Tavangar     EVP / Managing Director at The     2/2/2017      Taxi                     $     37.88 unknown    Travel to LV SCI Show                        taxi to meet K. Hogan (NRA Donor) for        Nader Tavangar;          Auto              Taxi
                                                                                              Mercury Group                                                                                                                                 GROF video planning


2086   5    2017 150823   BEE94B9B32324293B110   7/14/2017                 Nader Tavangar     Executive VP / Managing Director at 7/4/2017     The Smoke Zone           $   1,050.00 unknown   July expenses                                Donor gifts requested                        Nader Tavangar;          Miscellaneous     Gift
                                                                                              The Mercury Group


2087   5    2016 141517   EXP-8051               3/5/2016 - 7/12/2016      Danielle Gregory   Executive Assistant                5/11/2016     The Smoke Zone           $   2,050.00 unknown   NR OOP miscellaneous expenses. (SG)          Gifts for donors requested by TM/TS          Nader Tavangar;          Miscellaneous     Gift



2088        2017 153476   FEC63AFC7EA04775A9D6   10/12/2017                Nader Tavangar     Executive VP / Managing Director at 10/18/2017   The Southern             $    132.86 unknown    October                                      Lunch W, TS, CK, NT travel to Waltrip        W; TS; CK; NT;           Meals/Beverages   Group
                                                                                              The Mercury Group                                                                                                                             charity event


2089        2017 153476   FEC63AFC7EA04775A9D6   10/12/2017                Nader Tavangar     Executive VP / Managing Director at 10/18/2017   The UPS Store            $      4.98 unknown    October                                      Computer time/copies for approval while      Nader Tavangar;          Miscellaneous     Other
                                                                                              The Mercury Group                                                                                                                             on travel with W to Wal


2090   5    2017 146420   EXP-9800               1/2/2017-                 Nader Tavangar     EVP / Managing Director at The     1/3/2017      Thomson Cigars           $   1,720.00 unknown   Misc purchase on behalf of NRA               cigars requested by TM for DSC event         TM; NRA Group;           Miscellaneous     Gift
                                                 1/19/2017                                    Mercury Group



2091   10   2018 157570   8F41F718E3D441568868   4/5/2018                  Nader Tavangar     Executive VP / Managing Director at 4/12/2018    Tomahawk Stategy         $    884.00 unknown    April18                                      Purchase by TM requested by W/JS             W; JS;                   Miscellaneous     Other
                                                                                              The Mercury Group



2092        2016 141517   EXP-8051               3/5/2016 - 7/12/2016      Danielle Gregory   Executive Assistant                3/5/2016      Torpedo Factory          $      7.00 unknown    NR OOP miscellaneous expenses. (SG)          Parking for rental car                       Nader Tavangar;          Auto              Parking




2093        2017 144737   EXP-9186               10/17/2016 - 11/15/2016   Nader Tavangar     EVP / Managing Director at The     11/4/2016     Trulucks                 $    668.16 unknown    travel to DFW for hunting presentation and Dinner with W S NT BS TS MD                    W; S; NT; BS; TS; MD;    Meals/Beverages   Group
                                                                                              Mercury Group                                                                                    race event


2094        2017 144737   EXP-9186               10/17/2016 - 11/15/2016   Nader Tavangar     EVP / Managing Director at The     11/6/2016     Trulucks                 $    696.69 unknown    travel to DFW for hunting presentation and dinner W BS MD NT TM TS                        W; BS; MD; NT; TM; TS;   Meals/Beverages   Group
                                                                                              Mercury Group                                                                                    race event


2095        2018 155996   346C1D9C8C2049D6B71F   2/15/2018                 Nader Tavangar     Executive VP / Managing Director at 2/16/2018    United Airlines          $   1,279.30 unknown   Feb18                                        Travel with SLP return from site visit for   Nader Tavangar;          Travel            Airfare
                                                                                              The Mercury Group                                                                                                                             Summit


2096        2017 152775   7F8296F587114923A0C7   9/7/2017                  Nader Tavangar     Executive VP / Managing Director at 8/28/2017    Unknown                  $      1.66 unknown    September                                    Applies to food purchases abroad during      Nader Tavangar;          Meals/Beverages   Individual
                                                                                              The Mercury Group                                                                                                                             travel for G. Shepstone


2097        2018 155996   EXP-11616              1/17/2018 to 2/22/2018    Nader Tavangar     Executive VP / Managing Director at 1/17/2018    Unknown                  $     27.25 unknown    Misc expenses for multiple travel related    50 miles @54.5/mile round trip to NRA        Nader Tavangar;          Auto              Mileage
                                                                                              The Mercury Group                                                                                requests on behalf of NRA                    HQ to meet with J. Poole for input on AM
                                                                                                                                                                                                                                            promotion materials
2098        2017 147112   EXP-10084              1/3/17 - 2/28/17          Nader Tavangar     EVP / Managing Director at The     1/11/2017     Unknown                  $     28.89 unknown    MISC charges                                 54 miles roundtrip to W home for IT          Nader Tavangar;          Auto              Mileage
                                                                                              Mercury Group                                                                                                                                 repair




                                                                                                                                                                                                                                                                                                                                                 APP. 02127
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2099   2017 152775   7F8296F587114923A0C7   9/7/2017                 Nader Tavangar     Executive VP / Managing Director at 8/27/2017   Unknown                     $    166.38 unknown          September                                      R/T airfare hovd to ullanbataar with g        Nader Tavangar;      Travel            Airfare
                                                                                        The Mercury Group                                                                                                                                       sheptstone



2100   2016 136859   EXP-6783               1/15/2016 - 2/10/2016    Danielle Gregory   Executive Assistant                n/a          Unknown                     $   (383.71) unknown         Travel with Wayne to las Vegas for Shot        ADJ for correction after JAN billing          Nader Tavangar;      Miscellaneous     Other
                                                                                                                                                                                                 show


2101   2017 151745   B03030AEC14E4D879E1D   8/2/2017                 Nader Tavangar     Executive VP / Managing Director at 8/25/2017   Unknown                     $      0.08 unknown          August                                         International Transaction                     Nader Tavangar;      Miscellaneous     Other
                                                                                        The Mercury Group


2102   2016 137631   EXP-7195               3/3/2016 - 3/25/2016     Danielle Gregory   Executive Assistant                3/23/2016    Unknown                     $     20.00 unknown          Correction from previous expense report/       airport to office - liberty university        Nader Tavangar;      Miscellaneous     Other
                                                                                                                                                                                                 March NR OOP expenses


2103   2017 153476   FEC63AFC7EA04775A9D6   10/12/2017               Nader Tavangar     Executive VP / Managing Director at 10/4/2017   Uptown Mint Dentistry PLL   $    350.00 unknown          October                                        Approved by W for CK                          CK;                  Miscellaneous     Other
                                                                                        The Mercury Group


2104   2017 149459   EXP-10650              3/15/2017 - 6/1/2017     Nader Tavangar     Executive VP / Managing Director at 3/23/2017   USA Canteen                 $      1.35 unknown          MISC charges on behalf of NRA                  snacks/drinks for plane travel with W to      Nader Tavangar;      Meals/Beverages   Individual
                                                                                        The Mercury Group                                                                                                                                       MI


2105   2017 149459   EXP-10650              3/15/2017 - 6/1/2017     Nader Tavangar     Executive VP / Managing Director at 4/10/2017   USA Canteen                 $      2.60 unknown          MISC charges on behalf of NRA                  snacks/drinks for plane travel with W to      Nader Tavangar; W;   Meals/Beverages   Group
                                                                                        The Mercury Group                                                                                                                                       Dallas


2106   2017 149459   EXP-10650              3/15/2017 - 6/1/2017     Nader Tavangar     Executive VP / Managing Director at 4/10/2017   USA Canteen                 $      2.60 unknown          MISC charges on behalf of NRA                  snacks/drinks for plane travel with W to      Nader Tavangar;      Meals/Beverages   Individual
                                                                                        The Mercury Group                                                                                                                                       Dallas


2107   2017 149459   EXP-10650              3/15/2017 - 6/1/2017     Nader Tavangar     Executive VP / Managing Director at 4/10/2017   USA Canteen                 $      2.60 unknown          MISC charges on behalf of NRA                  snacks/drinks for plane travel with W to      Nader Tavangar;      Meals/Beverages   Individual
                                                                                        The Mercury Group                                                                                                                                       Dallas for dallas meeting


2108   2017 150457   EXP-10796              2/15/2017-               Nader Tavangar     Executive VP / Managing Director at 5/22/2017   USA Canteen                 $      3.95 unknown          Misc NRA Charges (SK)                          Drinks for AF and NT during travel to SC AF; NT;                   Meals/Beverages   Group
                                            6/28/2017                                   The Mercury Group                                                                                                                                       for FONRA dinner


2109   2017 149459   EXP-10650              3/15/2017 - 6/1/2017     Nader Tavangar     Executive VP / Managing Director at 3/23/2017   USA Canteen                 $      3.95 unknown          MISC charges on behalf of NRA                  snacks/drinks for plane travel with W to      Nader Tavangar;      Meals/Beverages   Individual
                                                                                        The Mercury Group                                                                                                                                       MI


2110   2018 159388   40613652050848B7B98E   6/6/2018                 Nader Tavangar     Executive VP / Managing Director at 5/29/2018   USPS                        $    112.00 unknown          Nader Tavangar Expense Report (Concur)         PO Box Secure mail at request of BW           BW;                  Miscellaneous     Other
                                                                                        The Mercury Group
2111   2016 136859   EXP-6926               1/27/2016 - 2/20/2016    Danielle Gregory   Executive Assistant                2/2/2016     VeriFone                    $     31.55 unknown          Travel with Wayne to SCI                       taxi from airport to hotel                    Nader Tavangar;      Auto              Taxi



2112   2016 142347   EXP-8580               5/24/16 to 9/8/16        Nader Tavangar     EVP / Managing Director at The     6/27/2016    Virgin Air                  $    150.00 unknown          Misc travel expenses related to travel with    penalty fee for flight change during travel   Nader Tavangar;      Travel            Airfare
                                                                                        Mercury Group                                                                                            W and special projects (SG)                    to SF for HG A&F reshoot


2113   2017 148749   EXP-10518              4/7/2017 - 5/10/2017     Nader Tavangar     Executive VP / Managing Director at 4/7/2017    Virgin Air                  $    898.20 unknown          Travel with Wayne to MI for Hillsdale          Unknown                                       Nader Tavangar;      Travel            Airfare
                                                                                        The Mercury Group                                                                                        speech, then Dallas to meet with CC re CG,
                                                                                                                                                                                                 then return to DC (SK)


2114   2016 143559   EXP-9067               5/13/2016 - 10/28/2016   Nader Tavangar     EVP / Managing Director at The     9/13/2016    Virgin America              $    648.10 unknown          Misc charges - clean up from past trips with   airfare to Dallas for meeting in Dallas to    Nader Tavangar;      Travel            Airfare
                                                                                        Mercury Group                                                                                            W for meetings and events                      discuss hunting efforts


2115   2017 150457   4D48C7B00DD4454AB1BA   6/22/2017                Nader Tavangar     Executive VP / Managing Director at 6/16/2017   Virgin America              $    901.20 unknown          Travel to Nashville for CMA Meetings,          airfare for travel to dfw                     Nader Tavangar;      Travel            Airfare
                                                                                        The Mercury Group                                                                                        Belmont U


2116   2016 141517   EXP-8061               6/23/2016 - 7/12/2016    Danielle Gregory   Executive Assistant                6/23/2016    Virgin America              $   1,696.20 unknown         travel to SF for reshoot with Hillary          flight to for SF trip                         Nader Tavangar;      Travel            Airfare
                                                                                                                                                                                                 Goldschlager for A&F Profile (SG)



2117   2017 147112   EXP-10070              1/31/17 - 2/23/17        Nader Tavangar     EVP / Managing Director at The     2/3/2017     WeedsSB Taxi                $     22.54 unknown          Travel to LV SCI Show                          taxi to Joe's resturant to meet w/ K.         Nader Tavangar;      Auto              Taxi
                                                                                        Mercury Group                                                                                                                                           Hogan and CDW



2118   2017 147112   EXP-10084              1/3/17 - 2/28/17         Nader Tavangar     EVP / Managing Director at The     1/7/2017     Westin Hotel                $      4.57 unknown          MISC charges                                   Coffee - NRA BOD mgt                          Nader Tavangar;      Meals/Beverages   Individual
                                                                                        Mercury Group



2119   2016 141517   EXP-8051               3/5/2016 - 7/12/2016     Danielle Gregory   Executive Assistant                3/24/2016    Whole Foods                 $      8.37 unknown          NR OOP miscellaneous expenses. (SG)            Drinks for plan WT/TM/NT - Travel to          WT; TM; NT;          Meals/Beverages   Group
                                                                                                                                                                                                                                                Dallas for shoot
2120   2016 140440   EXP-7991               1/11/2016 to 6/28/2016   Nader Tavangar     Executive Assistant                1/13/2016    Whole Foods                 $     14.21 unknown          NO DESCRIPTION PROVIDED                        beverages W/T/TS/N - travel to Dallas         W; T; TS; N;         Meals/Beverages   Group
                                                                                                                                                                                                                                                (weatherby)
2121   2017 147112   EXP-10070              1/31/17 - 2/23/17        Nader Tavangar     EVP / Managing Director at The     2/1/2017     Yellow Checker Star         $     36.47 unknown          Travel to LV SCI Show                          Taxi (NT) to gala event w/ TS, CD             NT;                  Auto              Taxi
                                                                                        Mercury Group
2122   2016 141517   EXP-8051               3/5/2016 - 7/12/2016     Danielle Gregory   Executive Assistant                3/25/2016    Liberty University          $     14.78 Virginia         NR OOP miscellaneous expenses. (SG)            Lunch B powers N Tavangar during speech B Powers; N Tavangar;      Meals/Beverages   Group


2123   2016 141517   EXP-8078               7/5/2016 - 7/12/2016     Danielle Gregory   Executive Assistant                7/5/2016     Unknown                     $     30.36 Virginia         Travel to WY for speaking engagement (SG) Mileage - 66 miles round trip @.46/mile to Nader Tavangar;              Auto              Mileage
                                                                                                                                                                                                                                                airport
2124   2017 147112   EXP-10070              1/31/17 - 2/23/17        Nader Tavangar     EVP / Managing Director at The     1/31/2017    Alvin Cabural               $      7.40 Washington, DC   Travel to LV SCI Show                          taxi to CVS interrupted by reroute to DC Nader Tavangar;           Auto              Taxi
                                                                                        Mercury Group
2125   2017 147112   EXP-10040              2/6/17 - 2/20/17         Nader Tavangar     EVP / Managing Director at The     2/20/2017    Cash Tips                   $     20.00 Washington, DC   Travel to CA for St. H speech/presentation     DC airport valet (front) luggage              Nader Tavangar;      Miscellaneous     Tips
                                                                                        Mercury Group                                                                                            (NRAH)
2126   2018 158521   EXP-11886              5/1/2018 - 5/18/2018     Nader Tavangar     Executive VP / Managing Director at 5/7/2018    Cash Tips                   $     20.00 Washington, DC   NRA Annual Meeting - Dallas Transportation DC airport x4 for luggage for 5 tip               Nader Tavangar;      Miscellaneous     Tips
                                                                                        The Mercury Group                                                                                        services
2127   2017 147112   EXP-10070              1/31/17 - 2/23/17        Nader Tavangar     EVP / Managing Director at The     2/4/2017     Cash Tips                   $     40.00 Washington, DC   Travel to LV SCI Show                          DC airport valet (front) - luggage            Nader Tavangar;      Miscellaneous     Tips
                                                                                        Mercury Group




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2128                       2017 147112                   EXP-10070                           1/31/17 - 2/23/17            Nader Tavangar                    EVP / Managing Director at The          2/4/2017                Cash Tips            $    40.00 Washington, DC     Travel to LV SCI Show                        DC airport valet (rear) - luggage            Nader Tavangar;   Miscellaneous     Tips
                                                                                                                                                            Mercury Group



2129                       2017 147112                   EXP-10040                           2/6/17 - 2/20/17             Nader Tavangar                    EVP / Managing Director at The          2/10/2017               Cash Tips            $    40.00 Washington, DC     Travel to CA for St. H speech/presentation   DC airport valet (rear) luggage x3           Nader Tavangar;   Miscellaneous     Tips
                                                                                                                                                            Mercury Group                                                                                                      (NRAH)
2130                       2017 147112                   EXP-10040                           2/6/17 - 2/20/17             Nader Tavangar                    EVP / Managing Director at The          2/6/2017                Cash Tips            $    40.00   Washington, DC   Travel to CA for St. H speech/presentation   DC to airport valet front luggage x3         Nader Tavangar;   Miscellaneous     Tips
                                                                                                                                                            Mercury Group                                                                                                      (NRAH)
2131                       2017 147112                   EXP-10040                           2/6/17 - 2/20/17             Nader Tavangar                    EVP / Managing Director at The          2/6/2017                Cash Tips            $    40.00   Washington, DC   Travel to CA for St. H speech/presentation   DC to airport valet front luggage x3         Nader Tavangar;   Miscellaneous     Tips
                                                                                                                                                            Mercury Group                                                                                                      (NRAH)
2132                       2016 139727                   EXP-7404                            4/15/2016 to 5/17/2016       Danielle Gregory                  Executive Assistant                     4/15/2016               Cash Tips            $    40.00 Washington, DC     Travel with Wayne to South Carolina for      tip - DC airport valet                       Nader Tavangar;   Miscellaneous     Tips
                                                                                                                                                                                                                                                                               fundraising event (SG)
2133                       2016 138653                   EXP-7331                            4/4/2016 - 4/11/2016         Danielle Gregory                  Executive Assistant                     4/5/2016                Cash Tips            $    40.00 Washington, DC     Travel with Wayne to NC for DA               Tip DC airport valet to assist with luggage Nader Tavangar;    Miscellaneous     Tips
                                                                                                                                                                                                                                                                               fundraising event                            for 4 passengers
2134                       2017 147112                   EXP-10070                           1/31/17 - 2/23/17            Nader Tavangar                    EVP / Managing Director at The          1/31/2017               Cash Tips            $    80.00 Washington, DC     Travel to LV SCI Show                        DC airport valet x2 luggage assistance for   Nader Tavangar;   Miscellaneous     Tips
                                                                                                                                                            Mercury Group                                                                                                                                                   5
2135                       2016 139727                   EXP-7748                            5/1/2016 to 6/2/2016         Danielle Gregory                  Executive Assistant                     5/23/2016               Cash Tips            $   120.00 Washington, DC     Louisville Annual Meeting                    DC airport valets assistance with luggage    Multiple;         Miscellaneous     Tips
                                                                                                                                                                                                                                                                                                                            for 8
2136                       2016 139727                   EXP-7748                            5/1/2016 to 6/2/2016         Danielle Gregory                  Executive Assistant                     5/16/2016               Dunkin Donuts        $     2.37 Washington, DC     Louisville Annual Meeting                    coffee                                       Nader Tavangar;   Meals/Beverages   Individual


2137                       2018 154261                   C74AE674200D42CABE50                11/8/2017                    Nader Tavangar                    EVP / Managing Director                 10/28/2017              EZ Pass              $    35.00 Washington, DC     November                                     Toll charges related to travel               Nader Tavangar;   Auto              Toll


2138          5            2018 154706/155170            1A1CC7F4725548009361                12/13/2017                   Nader Tavangar                    Executive VP / Managing Director at 12/10/2017                  Georgetown Cupcake   $   121.30 Washington, DC     December                                     Gifts for TWAW group attending VA for        TWAW;             Miscellaneous     Gift
                                                                                                                                                            The Mercury Group                                                                                                                                               interview


2139                       2018 159388                   40613652050848B7B98E                6/6/2018                     Nader Tavangar                    Executive VP / Managing Director at 5/22/2018                   Kimpton Hotel        $   737.00 Washington, DC     Nader Tavangar Expense Report (Concur)       Hotel Room for C.K. per W                    CK;               Travel            Lodging
                                                                                                                                                            The Mercury Group
2140                       2018 154261                   C74AE674200D42CABE50                11/8/2017                    Nader Tavangar                    EVP / Managing Director                 11/4/2017               Paradies             $     7.02 Washington, DC     November                                     Breakfast NT during travel                   NT;               Meals/Beverages   Individual


2141                       2018 158521                   9D47EF1FE0084EZB8319                5/8/2018                     Nader Tavangar                    Executive VP / Managing Director at 4/11/2018                   Paradies             $     9.88 Washington, DC     May18                                        Travel to Dallas for meeting with W/AM       Nader Tavangar;   Meals/Beverages   Individual
                                                                                                                                                            The Mercury Group                                                                                                                                               and annual meetings
2142                       2018 155996                   346C1D9C8C2049D6B71F                2/15/2018                    Nader Tavangar                    Executive VP / Managing Director at 2/15/2018                   Paradies             $    15.54 Washington, DC     Feb18                                        travel to review/rehearse CPAC speech        Nader Tavangar;   Meals/Beverages   Individual
                                                                                                                                                            The Mercury Group                                                                                                                                               with W
2143                       2018 154261                   C74AE674200D42CABE50                11/8/2017                    Nader Tavangar                    EVP / Managing Director                 11/4/2017               The Grove            $     2.49 Washington, DC     November                                     Breakfast NT during travel                   NT;               Travel            Lodging


2144                       2017 153476                   FEC63AFC7EA04775A9D6                10/12/2017                   Nader Tavangar                    Executive VP / Managing Director at 10/18/2017                  The Grove            $     5.18 Washington, DC     October                                      Breakfast NT during travel to Waltrip        NT;               Travel            Lodging
                                                                                                                                                            The Mercury Group                                                                                                                                               Charity event




Note 1
The following categories were assigned to example transactions:
            1 Examples include expenses charged by NRA executives (Millie Hallow, Josh Powell, John Perren, Lance Olson and Wayne LaPierre) to Tony Makris' expense account. There is no evidence that Tony Makris was at the event.
            2 Examples include charges for Warner Louglin with no business purpose indicated.
            3 Examples include duplicate lodging charges for Tony Makris on the same date.
            4 Examples include advance deposits made by Tony Makris. One advance deposit was for $20,000 and made for a year in advance.
            5 Examples include expenses for gifts purchased including NRA employees.
            6 Examples reflect airfare refunds for Wayne and Susan LaPierre.
            7 Examples include expenses that are portions of a larger expense.
            8 Examples include expenses that represent WLP requesting lodging for a confidential guest.
            9 Examples include expenses charged to Tony Makris' expense account. There is no evidence that Tony Makris was at the event.
           10 Examples include expenses charged by NRA executives (Millie Hallow, Josh Powell, John Perren, Lance Olson and Wayne LaPierre) to Nader Tavangar's expense account. There is no evidence that Nader Tavangar was at the event.
           11 Examples include expenses charged for relocation of Josh Powell.
           12 Examples include expenses incurred in regard to the H2H Gala sponsored by Susan LaPierre.
           13 Gifts for NRA employees that are charged to NRA via out of pocket expenses




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Total Expenses by Month and Year
The following graphic visually depicts Nader Tavangar's total expenses by month and year. Source: 'Detail' tab


 40000



 35000



 30000



 25000



 20000

                                                                                                                                                                                                                     Total

 15000



 10000



  5000



     0
         Jan
               Feb


                           Apr




                                                   Aug
                                                         Sep




                                                                                 Jan
                                                                                       Feb


                                                                                                   Apr




                                                                                                                           Aug
                                                                                                                                 Sep




                                                                                                                                                         Jan
                                                                                                                                                               Feb


                                                                                                                                                                           Apr



                                                                                                                                                                                             Aug
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                     Mar


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                                                                     Dec
                                                                           n/a




                                                                                                                                                   Dec




                                                                                                                                                                                                               Dec




                                       2016                                                                    2017                                                              2018
 -5000




                                                                                                                                                                                                               APP. 02130
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The following table shows the total amount of expenses by category and the percentage for each category as compared
to the total. Source: Columns P, Q, and K on 'Detail' tab                                                                                     Code
                                                                                                                                                     1
Categories of Expenses                Value     % of Total
Auto                              $    45,933      12.65%                                                                                            1
    Car Rental                    $     4,059        1.12%
    Car Service                   $    40,922       11.27%
    Parking                       $        47        0.01%
    Taxi                          $       304        0.08%
    Toll                          $       514        0.14%
    Mileage                       $        87        0.02%
Meals/Beverages                   $    36,027        9.92%
    Group                         $    28,798        7.93%
    Individual                    $     7,229        1.99%
Miscellaneous                     $    92,279      25.42%
    Gift                          $    59,581       16.41%
    Other                         $    15,312        4.22%
    Telecommunications            $        60        0.02%
    Tips1                         $ 17,325           4.77%
Travel                            $ 188,755         52.00%
    Airfare                       $ 48,843          13.46%
    Lodging                       $ 139,315         38.38%
    Other                         $     597          0.16%
Grand Total                       $ 362,994        100.00%

1
The 'Tips' category does not include gratuity that was grouped with travel expenses.
Therefore, the amount for tips as shown on the 'By Category' and 'By Vendor' tabs are
understated.




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The following table shows the names transcribed from the documents and FRA's assumptions as to the identity of the individuals.

                                      1                      2                                                   2                                   2
Transcribed Names from Support             Assumed Name                              Assumed NRA Affiliation                      Assumed Position

A Wheeler                                  A Wheeler                                 Non-NRA                                      Unknown
AF                                         Andra Fischer                             NRA Affiliated                               NRA Pistol Instructor; Wayne's Office Manager/Exec Assistant
AA                                         Andrew Arulanandam                        NRA Affiliated                               Managing Director of Public Affairs at NRA
Anna Maria Hofman                          Anna Maria Hofman                         Non-NRA                                      Unknown
Aqua                                       Aqua                                      Non-NRA                                      Unknown
A Suris                                    Ashley Suris                              Non-NRA                                      National Program Director at "The Well-Armed Woman" Shooting Chapter
A Fisher                                   Andra Fisher                              NRA Affiliated                               NRA Pistol Instructor; Wayne's Office Manager/Exec Assistant
BS                                         Bart Skelton                              NRA Affiliated                               Director, NRA
B Powers                                   Bill Powers                               Non-NRA                                      EVP / Public Relations at Ackerman McQueen
BP                                         Bill Powers                               Non-NRA                                      EVP / Public Relations at Ackerman McQueen
BL                                         BL                                        Non-NRA                                      Unknown
BOD                                        Board of Directors                        NRA Affiliated                               Board of Directors, NRA
BPS Group                                  BPS Group                                 Non-NRA                                      Unknown
BW                                         BW                                        Non-NRA                                      Unknown
C Smith                                    C Smith                                   Non-NRA                                      Unknown
C Comfort                                  Carolyn Comfort                           NRA Affiliated                               The Well-Armed Woman Caertified Instructor; NRA Pistol Instructor
C Meadows                                  Carolyn D. Meadows                        NRA Affiliated                               Second Vice President, NRA
C Lightfoot                                Carrie Lightfoot                          NRA Affiliated                               Owner of The Well-Armed Woman, LLC, The Well-Armed Woman Training Company, LLC,
                                                                                                                                  Chairwoman/CEO; Active in NRA WLF; 2019 NRA Director Nominee
Charlie M                                  Charlie Marx                              Non-NRA                                      Unknown
C Cox                                      Chris Cox                                 NRA Affiliated                               Executive Director, NRAILA
CC                                         Chris Cox                                 NRA Affiliated                               Executive Director, NRAILA
C DeWitt                                   Chris DeWitt                              Non-NRA                                      Ring of Freedom Manager
CD                                         Chris DeWitt                              Non-NRA                                      Ring of Freedom Manager
CDW                                        Chris DeWitt                              Non-NRA                                      Ring of Freedom Manager
Dewitt                                     Chris DeWitt                              Non-NRA                                      Ring of Freedom Manager
CK                                         Chris Kinney                              Non-NRA                                      Unknown
CM                                         Chris McKinney                            NRA Affiliated                               Executive Protection Contractor for Wayne
CJ                                         CJ                                        Non-NRA                                      Unknown
CP                                         Colleen Powell                            Non-NRA                                      Wife of Josh Powell
Conigli                                    Conigli                                   Non-NRA                                      Unknown
CS                                         Craig Spray                               NRA Affiliated                               Treasurer, NRA
D Kriley                                   D Kriley                                  Non-NRA                                      Unknown
D Corlew                                   David Corlew                              Non-NRA                                      Nashville music industry veteran
D Lehman                                   David Lehman                              NRA Affiliated                               Director, NRA; Deputy Executive Director and General Counsel of the National Rifle Association's
                                                                                                                                  Institute for Legislative Action.
DL                                         David Lehman                              NRA Affiliated                               Director, NRA; Deputy Executive Director and General Counsel of the National Rifle Association's
                                                                                                                                  Institute for Legislative Action.
DM                                         David Muntz                               Non-NRA                                      Unknown
DB                                         DB                                        Non-NRA                                      Unknown
Dionel M Avilez                            Dionel M Aviles                           Non-NRA                                      Former Secretary of the Navy (04 - 09)
EA                                         EA                                        Non-NRA                                      Unknown
Eric Thomas                                Eric Thomas                               Non-NRA                                      Unknown
Eric Van Horn                              Eric Van Horn                             Non-NRA                                      Account Executive Ackerman McQueen
EVH                                        Eric Van Horn                             Non-NRA                                      Account Executive Ackerman McQueen
Van Horn                                   Eric Van Horn                             Non-NRA                                      Account Executive Ackerman McQueen
G Shepstone                                G Shepstone                               Non-NRA                                      Unknown
Gregory                                    Gregory                                   Non-NRA                                      Unknown
HM                                         Henry Martin Garrison                     Non-NRA                                      Chief Creative Officer, Ackerman McQueen
HLK                                        HLK                                       Non-NRA                                      Unknown
J                                          J                                         Non-NRA                                      Unknown
J Byrd                                     Josephine Byrd                            Non-NRA                                      Plaintiff in civil rights lawsuit Delaware; Commercial
J Park                                     J Park                                    Non-NRA                                      Unknown
J Reed                                     J Reed                                    Non-NRA                                      Unknown
Jay A Freeman                              Jay A Freeman                             Non-NRA                                      Unknown
JD                                         JD Williams                               NRA Affiliated                               Former NRA Board Member and Executive Council
Jimeson                                    Jimeson                                   Non-NRA                                      Unknown
JC                                         John Cotton                               Non-NRA                                      Retired Admiral; Personal friend of Tony Makris; Current NRA Committee Member (as of May 2018)

Johnson                                    Johnson                                   Non-NRA                                      Unknown
J Carter                                   Jon Carter                                Non-NRA                                      Ackerman employee
Jon Carter                                 Jon Carter                                Non-NRA                                      Ackerman employee
JG                                         Jon Gutierrez                             Non-NRA                                      Unknown
J Powell                                   Josh Powell                               NRA Affiliated                               Chief of Staff and Executive Director, General Operations
Josh P                                     Josh Powell                               NRA Affiliated                               Chief of Staff and Executive Director, General Operations
JP                                         Josh Powell                               NRA Affiliated                               Chief of Staff and Executive Director, General Operations
JS                                         JS                                        Non-NRA                                      Unknown
JW                                         JW                                        Non-NRA                                      Unknown
K Hogan                                    K Hogan                                   Non-NRA                                      Unknown
K Karakaya                                 Kaan Karakaya                             NRA Affiliated                               NRA Ring of Freedom Member; Operates 'Shakar Safaris'
KM                                         Ken Miller                                Non-NRA                                      Unknown
KH                                         KH                                        Non-NRA                                      Unknown
Kozuch                                     Randy Kozuch                              NRA Affiliated                               Director, Political Affairs, Office of Advancement at NRA
LD                                         Lacey Duffy                               Non-NRA                                      Ackerman McQueen SVP and Account Supervisor
Lance Olson                                Lance Olson                               NRA Affiliated                               Director, NRA
LH                                         LH                                        Non-NRA                                      Unknown
LR                                         LR                                        Non-NRA                                      Unknown
LS                                         LS                                        Non-NRA                                      Unknown
M Allen                                    M Allen                                   Non-NRA                                      Unknown
M. Hammer                                  Marion Hammer                             NRA Affiliated                               Director, NRA
Marion Hammer                              Marion Hammer                             NRA Affiliated                               Director, NRA
M Dycio                                    Mark Dycio                                Non-NRA                                      Attorney for Wayne LaPierre
Mark Dycio                                 Mark Dycio                                Non-NRA                                      Attorney for Wayne LaPierre
MD                                         Mark Dycio                                Non-NRA                                      Attorney for Wayne LaPierre
Mark Geist                                 Mark Geist                                Non-NRA                                      Special Guest; spokesperson for "Truth about Benghazi" commercial; NRA 2019 Director Nominee

MM                                         Melanie Montgomery                        Non-NRA                                      EVP/Management Supervisor
M Hallow                                   Millie Hallow                             NRA Affiliated                               National Rifle Association, Managing Director, Executive Operations and Assistant to Wayne LaPierre




                                                                                                                                                                                                              APP. 02132
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MH                                        Millie Hallow                            NRA Affiliated                                    National Rifle Association, Managing Director, Executive Operations and Assistant to Wayne LaPierre

MT                                        MT                                       Non-NRA                                           Unknown
Multiple                                  Multiple                                 Non-NRA                                           Unknown
N                                         N                                        Non-NRA                                           Unknown
N Baugh                                   N Baugh                                  Non-NRA                                           Unknown
N Tavangar                                Nader Tavangar                           Non-NRA                                           EVP/Managing Director at the Mercury Group
Nader Tavangar                            Nader Tavangar                           Non-NRA                                           EVP/Managing Director at the Mercury Group
NT                                        Nader Tavangar                           Non-NRA                                           EVP/Managing Director at the Mercury Group
NB                                        NB                                       Non-NRA                                           Unknown
NR Group                                  NRA Group, Staff, Personnel or           NRA Affiliated                                    Unknown
                                          Executives
NR Staff                                  NRA Group, Staff, Personnel or           NRA Affiliated                                    Unknown
                                          Executives
NRA Bristol Group                         NRA Group, Staff, Personnel or           NRA Affiliated                                    Unknown
                                          Executives
NRA Group                                 NRA Group, Staff, Personnel or           NRA Affiliated                                    Unknown
                                          Executives
NRA Staff                                 NRA Group, Staff, Personnel or           NRA Affiliated                                    Unknown
                                          Executives
NRA VIPs                                  NRA VIPs, Donor(s) and Clients           NRA Affiliated                                    Unknown
P Harold                                  P Harold                                 Non-NRA                                           Unknown
PM                                        Patrick McCarty                          Non-NRA                                           Former Ackerman Employee (Traffic Director)
R                                         R                                        Non-NRA                                           Unknown
R Compton                                 R Compton                                Non-NRA                                           Unknown
R Kouch                                   Randy Kozuch                             NRA Affiliated                                    Director, Political Affairs, Office of Advancement at NRA
Robert Marshall                           Robert Marshall                          Non-NRA                                           Unknown
Robert Nosler                             Robert Nosler                            NRA Affiliated                                    Director, NRA; Owns Nosler, Inc.
Savage                                    Savage                                   Non-NRA                                           Unknown
ST                                        St. Hubertus                             NRA Affiliated                                    Presentation / Event / Organization, NRA; high end hunting club
SH                                        Steve Hart                               NRA Affiliated                                    Attorney for NRA
S Kriley                                  Susan Kriley (Springhorn)                NRA Affiliated                                    Featured story on NRAwomen.tv, "Spirit of the Huntress; donor; NRA foundation trustee
S                                         Susan LaPierre                           NRA Affiliated                                    Wife of EVP for NRA
SL                                        Susan LaPierre                           NRA Affiliated                                    Wife of EVP for NRA
SLP                                       Susan LaPierre                           NRA Affiliated                                    Wife of EVP for NRA
Susan                                     Susan LaPierre                           NRA Affiliated                                    Wife of EVP for NRA
T                                         T                                        Non-NRA                                           Unknown
T Kyle                                    Taya Kyle?                               Non-NRA                                           Chris Kyle widow?
Teresa Marshall                           Teresa Marshall                          Non-NRA                                           Unknown
Terry S                                   Terry Sterner                            Non-NRA                                           Unknown
TWAW                                      The Well-Armed Woman, LLC                Non-NRA                                           Owned by Carrie Lightfoot, NRA Director Nominee
AM                                        Tony Makris                              Non-NRA                                           President of Mercury Group
T Makris                                  Tony Makris                              Non-NRA                                           President of Mercury Group
TM                                        Tony Makris                              Non-NRA                                           President of Mercury Group
TS                                        Tony Makris                              Non-NRA                                           President of Mercury Group
T Schropp                                 Tyler Schropp                            NRA Affiliated                                    Executive Director of Advancement, NRA
Tyler                                     Tyler Schropp                            NRA Affiliated                                    Executive Director of Advancement, NRA
Tyler Schropp                             Tyler Schropp                            NRA Affiliated                                    Executive Director of Advancement, NRA
Donor                                     Unnamed guests                           Non-NRA                                           Unnamed Guests
Donors                                    Unnamed guests                           Non-NRA                                           Unnamed Guests
Unknown                                   Unnamed guests                           Non-NRA                                           Unnamed Guests
W Lain                                    W Lain                                   Non-NRA                                           Unknown
WL                                        Warner Loughlin Makris                   Non-NRA                                           Wife of Tony Makris
W                                         Wayne LaPierre                           NRA Affiliated                                    EVP, NRA
Wayne                                     Wayne LaPierre                           NRA Affiliated                                    EVP, NRA
Wayne Roberts                             Wayne LaPierre                           NRA Affiliated                                    EVP, NRA
WLP                                       Wayne LaPierre                           NRA Affiliated                                    EVP, NRA
William                                   William                                  Non-NRA                                           Unknown
WP                                        Woody Phillips                           NRA Affiliated                                    Treasurer, NRA
WT                                        WT                                       Non-NRA                                           Unknown

1
 The names were transcribed from the documentation received by FRA. See column O in the 'Detail' tab.
2
  Based on knowledge of NRA employees and others, FRA assigned an 'Assumed Name' to the transcribed names. In addition, FRA identified whether the assumed name is affiliated with the NRA as well as the assumed position of the person
identified based on (1) knowledge of the individual or (2) desktop research performed by FRA.




                                                                                                                                                                                                                 APP. 02133
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The following tables show the total amount of expenses attributable to the individuals listed below where they are the only individuals identified on the documentation. These
figures exclude any expenses where the individuals listed were participants; amongst other participants. Source: Columns O and K on 'Detail' tab

Basis of Selection: (1) All individuals identified as NRA employees or NRA affiliates with expenses greater than $100 where the individuals listed below were the only individuals
identified on the documentation and (2) top two Ackerman employees with the most expenses for out of pocket expenses (Tony Makris and Nader Tavangar).


       NRA Employees or Affiliates                                   Ackerman Employees
                                                                                                                                                                                                                                      1
Wayne and Susan LaPierre                                  Nader Tavangar                                                                                                                                                              1
Assumed Name               Sum of Amount                   Assumed Name              Sum of Amount                                                                                                                                    1
Susan LaPierre            $                416            Nader Tavangar             $           154,195
Wayne LaPierre            $              5,912            Grand Total                $           154,195                                                                                                                              1
Grand Total               $              6,328                                                                                                                                                                                        1
                                                                                                                                                                                                                                      1
Josh Powell                                               Tony Makris
Assumed Name               Sum of Amount                   Assumed Name              Sum of Amount                                                                                                                                    1
Josh Powell               $              2,864            Tony Makris                $            28,426                                                                                                                              1
Grand Total               $              2,864            Grand Total                $            28,426                                                                                                                              1
                                                                                                                                                                                                                                      1
Kaan Karakaya
 Assumed Name             Sum of Amount                                                                                                                                                                                               1
Kaan Karakaya             $         2,574                                                                                                                                                                                             1
Grand Total               $         2,574                                                                                                                                                                                             1

NRA Group, Staff, Personnel or Executives
Assumed Name               Sum of Amount                                                                                                                                                                             1
NRA Group, Staff, Person $               2,006                                                                                                                                                                       1
Grand Total               $              2,006                                                                                                                                                                       1


Carolyn Comfort                                                                                                                                                                                                      1
 Assumed Name             Sum of Amount                                                                                                                                                                                               1
Carolyn Comfort           $          400
Grand Total               $          400


Carrie Lightfoot                                                                                                                                                                                                     1
 Assumed Name             Sum of Amount                                                                                                                                                                                               1
Carrie Lightfoot          $          359
Grand Total               $          359


Tyler Schropp                                                                                                                                                                                                                         1
 Assumed Name             Sum of Amount                                                                                                                                                                                               1
Tyler Schropp             $          315                                                                                                                                                                                              1
Grand Total               $          315                                                                                                                                                                                              1


Robert Nosler                                                                                                                                                                                                        1
 Assumed Name             Sum of Amount                                                                                                                                                                                               1
Robert Nosler             $          130
Grand Total               $          130
                                                                                                                                                                                                                                      1




                                                                                                                                                                                                                         APP. 02134
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The following table shows the total expense amount by assumed name; regardless as to the number of attendees. Note that the total will not tie to the total amount of Nader's expenses as the same
expense will be counted multiple times if there is more than one attendee. Source: 'Assumed Name' tab and column K on 'Detail' tab


Assumed Name                        Position                                                                                         NRA Employee or Former Employee                       Value
Nader Tavangar                      EVP/Managing Director at the Mercury Group                                                       Non-NRA                                          $   182,296
Tyler Schropp                       Executive Director of Advancement, NRA                                                           NRA Board                                        $   109,720
NB                                  Unknown                                                                                          Non-NRA                                          $    68,172
Susan LaPierre                      Wife of EVP for NRA                                                                              NRA Affiliated                                   $    33,911
Wayne LaPierre                      EVP, NRA                                                                                         NRA Board                                        $    29,814
Eric Van Horn                       Account Executive Ackerman McQueen                                                               Non-NRA                                          $    27,490
W Lain                              Unknown                                                                                          Non-NRA                                          $    24,657
R Kouch                             Unknown                                                                                          Non-NRA                                          $    22,028
Carolyn Comfort                     The Well-Armed Woman Caertified Instructor; NRA Pistol Instructor                                NRA Affiliated                                   $    22,028
Chris McKinney                      Executive Protection Contractor for Wayne                                                        Non-NRA                                          $    22,028
Dionel M Avilez                     Unknown                                                                                          Non-NRA                                          $    22,028
Gregory                             Unknown                                                                                          Non-NRA                                          $    22,028
Kozuch                              Unknown                                                                                          Non-NRA                                          $    22,028
Jay A Freeman                       Unknown                                                                                          Non-NRA                                          $    22,028
M Allen                             Unknown                                                                                          Non-NRA                                          $    22,028
Mark Geist                          Special Guest; spokesperson for "Truth about Benghazi" commercial; NRA 2019 Director             Non-NRA                                          $    22,028
                                    Nominee
JD Williams                         Former NRA Board Member and Executive Council                                                    NRA Board                                        $    22,028
NRA                                 Unknown                                                                                          NRA Affiliated                                   $    18,807
Andrew Arulanandam                  Managing Director, Public Affairs                                                                NRA Employee or Former Employee                  $    11,597
Charlie Marx                        Unknown                                                                                          Non-NRA                                          $     9,898
Mark Dycio                          Attorney for Wayne LaPierre                                                                      Non-NRA                                          $     8,675
BPS Group                           Unknown                                                                                          Non-NRA                                          $     6,120
Josh Powell                         Chief of Staff and Executive Director, General Operations                                        NRA Board                                        $     5,008
Multiple                            Unknown                                                                                          Non-NRA                                          $     4,861
Jon Carter                          Unknown                                                                                          Non-NRA                                          $     4,245
Aqua                                Unknown                                                                                          Non-NRA                                          $     4,231
Susan Kriley                        Featured story on NRAwomen.tv, "Spirit of the Huntress                                           NRA Affiliated                                   $     4,009
Tony Makris                         President of Mercury Group                                                                       Non-NRA                                          $     3,706
Anna Maria Hofman                   Unknown                                                                                          Non-NRA                                          $     3,232



                                                                                                                                                                                                 APP. 02135
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Marion Hammer               Director, NRA                                                                                NRA Board           $   3,053
Kaan Karakaya               NRA Ring of Freedom Member; Operates 'Shakar Safaris'                                        NRA Affiliated      $   2,913
CJ                          Unknown                                                                                      Non-NRA             $   2,839
Teresa Marshall             Unknown                                                                                      Non-NRA             $   2,718
The Well-Armed Woman, LLC   Owned by Carrie Lightfoot, NRA Director Nominee                                              Non-NRA             $   2,624
Millie Hallow               National Rifle Association, Managing Director, Executive Operations and Assistant to Wayne   NRA Board           $   1,983
                            LaPierre
Dewitt                      Unknown                                                                                      Non-NRA             $   1,686
G Shepstone                 Unknown                                                                                      Non-NRA             $   1,604
Conigli                     Unknown                                                                                      Non-NRA             $   1,488
Terry Sterner               Unknown                                                                                      Non-NRA             $   1,323
BL                          Unknown                                                                                      Non-NRA             $   1,268
Melanie Montgomery          EVP/Management Supervisor                                                                    Non-NRA             $   1,250
Ashley Suris                National Program Director at "The Well-Armed Woman" Shooting Chapter (run by Carrie          Non-NRA             $   1,218
                            Lightfoot, 2019 NRA Director Nominee)
CDW                         Unknown                                                                                      Non-NRA             $   1,202
Audra Fisher                NRA Pistol Instructor                                                                        NRA Affiliated      $   1,031
David Lehman                Director, NRA; Deputy Executive Director and General Counsel of the National Rifle           NRA Board           $     971
                            Association's Institute for Legislative Action.
T Kyle                      Unknown                                                                                      Non-NRA             $    895
JS                          Unknown                                                                                      Non-NRA             $    884
J Byrd                      Unknown                                                                                      Non-NRA             $    872
J Park                      Unknown                                                                                      Non-NRA             $    866
LH                          Unknown                                                                                      Non-NRA             $    810
CP                          Unknown                                                                                      Non-NRA             $    782
T                           Unknown                                                                                      Non-NRA             $    701
Robert Marshall             Unknown                                                                                      Non-NRA             $    700
CS                          Unknown                                                                                      Non-NRA             $    678
J Reed                      Unknown                                                                                      Non-NRA             $    644
Bart Skelton                Director, NRA                                                                                NRA Board           $    595
KH                          Unknown                                                                                      Non-NRA             $    565
C Smith                     Unknown                                                                                      Non-NRA             $    563
Savage                      Unknown                                                                                      Non-NRA             $    483
Jimeson                     Unknown                                                                                      Non-NRA             $    461



                                                                                                                                                    APP. 02136
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Chris Cox            Executive Director, NRAILA                                                                 NRA Board         $   413
DB                   Unknown                                                                                    Non-NRA           $   405
John Cotton          Retired Admiral; Personal friend of Tony Makris; Current NRA Committee Member (as of May   Non-NRA           $   399
                     2018)
Carrie Lightfoot     Owner of The Well-Armed Woman, LLC, The Well-Armed Woman Training Company, LLC,            Non-NRA           $   359
                     Chairwoman/CEO; Active in NRA WLF; 2019 NRA Director Nominee
R Compton            Unknown                                                                                    Non-NRA           $   346
Ken Miller           Unknown                                                                                    Non-NRA           $   304
P Harold             Unknown                                                                                    Non-NRA           $   300
R                    Unknown                                                                                    Non-NRA           $   290
HM                   Unknown                                                                                    Non-NRA           $   276
William              Unknown                                                                                    Non-NRA           $   276
Eric Thomas          Unknown                                                                                    Non-NRA           $   270
Bill Powers          EVP / Public Relations at Ackerman McQueen                                                 Non-NRA           $   268
K Hogan              Unknown                                                                                    Non-NRA           $   260
A Wheeler            Unknown                                                                                    Non-NRA           $   250
Lacey Cremer Duffy   Ackerman McQueen SVP and Account Supervisor                                                Non-NRA           $   250
HLK                  Unknown                                                                                    Non-NRA           $   232
Woody Phillips       NRA Treasurer                                                                              NRA Board         $   211
LS                   Unknown                                                                                    Non-NRA           $   205
EA                   Unknown                                                                                    Non-NRA           $   195
Chris Kenney         Unknown                                                                                    Non-NRA           $   180
Board of Directors   Board of Directors, NRA                                                                    NRA Board         $   180
Patrick McCarty      Unknown                                                                                    Non-NRA           $   180
Steve Hart           Attorney for NRA                                                                           NRA Affiliated    $   174
D Corlew             Unknown                                                                                    Non-NRA           $   174
Donors               Unknown                                                                                    Non-NRA           $   145
LR                   Unknown                                                                                    Non-NRA           $   145
D Kriley             Unknown                                                                                    Non-NRA           $   142
CD                   Unknown                                                                                    Non-NRA           $   142
Lance Olson          Director, NRA                                                                              NRA Board         $   140
MT                   Unknown                                                                                    Non-NRA           $   138
Robert Nosler        Director, NRA; Owns Nosler, Inc.                                                           NRA Board         $   130
St. Huberus          Presentation / Event / Organization, NRA                                                   Non-NRA           $   124



                                                                                                                                       APP. 02137
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N Baugh              Unknown                                                          Non-NRA                $    120
JW                   Unknown                                                          Non-NRA                $    111
J                    Unknown                                                          Non-NRA                $    111
C DeWitt             Unknown                                                          Non-NRA                $     58
Jon Gutierrez        Unknown                                                          Non-NRA                $     52
Carolyn D. Meadows   Second Vice President, NRA                                       NRA Board              $     34
Donor                Unknown                                                          Non-NRA                $     29
BW                   Unknown                                                          Non-NRA                $     28
Johnson              Unknown                                                          Non-NRA                $     26
David Muntz          Unknown                                                          Non-NRA                $     19
N                    Unknown                                                          Non-NRA                $     14
WT                   Unknown                                                          Non-NRA                $      8
Unknown              Unknown                                                          Non-NRA                $   (230)




                                                                                                                   APP. 02138
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The following tables shows the number of expenses for which each individual is included. Source: 'Assumed Name' tab and column K on 'Detail' tab

Assumed Name                                 Position                                                                                              NRA Employee or Former Employee    Quantity
Nader Tavangar                               EVP/Managing Director at the Mercury Group                                                            Non-NRA                                680
Tony Makris                                  President of Mercury Group                                                                            Non-NRA                                120
Wayne LaPierre                               EVP, NRA                                                                                              NRA Affiliated                         100
Susan LaPierre                               Wife of EVP for NRA                                                                                   NRA Affiliated                           33
Chris Kinney                                 Unknown                                                                                               Non-NRA                                  26
Josh Powell                                  Chief of Staff and Executive Director, General Operations                                             NRA Affiliated                           23
Unnamed guests                               Unnamed Guests                                                                                        Non-NRA                                  21
NRA Group, Staff, Personnel or Executives    Unknown                                                                                               NRA Affiliated                           14
Millie Hallow                                National Rifle Association, Managing Director, Executive Operations and Assistant to Wayne LaPierre   NRA Affiliated                           12

J Byrd                                       Unknown                                                                                               Non-NRA                                   11
Multiple                                     Unknown                                                                                               Non-NRA                                   10
Andra Fischer                                NRA Pistol Instructor; Wayne's Office Manager/Exec Assistant                                          NRA Affiliated                            10
Mark Dycio                                   Attorney for Wayne LaPierre                                                                           Non-NRA                                   10
Chris Cox                                    Executive Director, NRAILA                                                                            NRA Affiliated                             9
T Kyle                                       Unknown                                                                                               Non-NRA                                    9
Bill Powers                                  EVP / Public Relations at Ackerman McQueen                                                            Non-NRA                                    8
Bart Skelton                                 Director, NRA                                                                                         NRA Affiliated                             8
The Well-Armed Woman, LLC                    Owned by Carrie Lightfoot, NRA Director Nominee                                                       Non-NRA                                    7
Chris DeWitt                                 Ring of Freedom Manager                                                                               Non-NRA                                    7
Chris McKinney                               Executive Protection Contractor for Wayne                                                             NRA Affiliated                             7
David Lehman                                 Director, NRA; Deputy Executive Director and General Counsel of the National Rifle Association's      NRA Affiliated                             6
                                             Institute for Legislative Action.
Eric Van Horn                                Account Executive Ackerman McQueen                                                                    Non-NRA                                    6
G Shepstone                                  Unknown                                                                                               Non-NRA                                    5
Tyler Schropp                                Executive Director of Advancement, NRA                                                                NRA Affiliated                             5
Kaan Karakaya                                NRA Ring of Freedom Member; Operates 'Shakar Safaris'                                                 NRA Affiliated                             4
DB                                           Unknown                                                                                               Non-NRA                                    4
Marion Hammer                                Director, NRA                                                                                         NRA Affiliated                             4
John Cotton                                  Retired Admiral; Personal friend of Tony Makris; Current NRA Committee Member (as of May 2018)        Non-NRA                                    3




                                                                                                                                                                                     APP. 02139
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BW                   Unknown                                                                                        Non-NRA                   3
T                    Unknown                                                                                        Non-NRA                   3
JD Williams          Former NRA Board Member and Executive Council                                                  NRA Affiliated            3
Jon Carter           Unknown                                                                                        Non-NRA                   3
Melanie Montgomery   EVP/Management Supervisor                                                                      Non-NRA                   3
MT                   Unknown                                                                                        Non-NRA                   3
Andrew Arulanandam   Managing Director of Public Affairs at NRA                                                     NRA Affiliated            3
Carolyn Comfort      The Well-Armed Woman Caertified Instructor; NRA Pistol Instructor                              NRA Affiliated            2
R                    Unknown                                                                                        Non-NRA                   2
Audra Fisher         NRA Pistol Instructor                                                                          NRA Affiliated            2
Mark Geist           Special Guest; spokesperson for "Truth about Benghazi" commercial; NRA 2019 Director Nominee   Non-NRA                   2

Terry Sterner        Unknown                                                                                        Non-NRA                   2
M Allen              Unknown                                                                                        Non-NRA                   2
William              Unknown                                                                                        Non-NRA                   2
Kozuch               Unknown                                                                                        Non-NRA                   2
J Park               Unknown                                                                                        Non-NRA                   2
KH                   Unknown                                                                                        Non-NRA                   2
Conigli              Unknown                                                                                        Non-NRA                   2
St. Huberus          Presentation / Event / Organization, NRA                                                       Non-NRA                   2
N Baugh              Unknown                                                                                        Non-NRA                   2
Savage               Unknown                                                                                        Non-NRA                   2
C Smith              Unknown                                                                                        Non-NRA                   2
Johnson              Unknown                                                                                        Non-NRA                   2
Woody Phillips       Treasurer, NRA                                                                                 NRA Affiliated            2
R Kouch              Unknown                                                                                        Non-NRA                   2
Ashley Suris         National Program Director at "The Well-Armed Woman" Shooting Chapter                           Non-NRA                   2
Jimeson              Unknown                                                                                        Non-NRA                   2
Gregory              Unknown                                                                                        Non-NRA                   2
Carolyn D. Meadows   Second Vice President, NRA                                                                     NRA Affiliated            1
Colleen Powell       Wife of Josh Powell                                                                            Non-NRA                   1
Jon Gutierrez        Unknown                                                                                        Non-NRA                   1
Lacey Duffy          Ackerman McQueen SVP and Account Supervisor                                                    Non-NRA                   1
Anna Maria Hofman    Unknown                                                                                        Non-NRA                   1



                                                                                                                                     APP. 02140
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R Compton                        Unknown                                                                              Non-NRA                    1
BPS Group                        Unknown                                                                              Non-NRA                    1
Jay A Freeman                    Unknown                                                                              Non-NRA                    1
Lance Olson                      Director, NRA                                                                        NRA Affiliated             1
J Reed                           Unknown                                                                              Non-NRA                    1
NB                               Unknown                                                                              Non-NRA                    1
Steve Hart                       Attorney for NRA                                                                     NRA Affiliated             1
Charlie Marx                     Unknown                                                                              Non-NRA                    1
Susan Kriley                     Featured story on NRAwomen.tv, "Spirit of the Huntress                               NRA Affiliated             1
WT                               Unknown                                                                              Non-NRA                    1
J                                Unknown                                                                              Non-NRA                    1
BL                               Unknown                                                                              Non-NRA                    1
HLK                              Unknown                                                                              Non-NRA                    1
LH                               Unknown                                                                              Non-NRA                    1
Henry Martin Garrison            Unknown                                                                              Non-NRA                    1
Ken Miller                       Unknown                                                                              Non-NRA                    1
Warner Loughlin Makris           Wife of Tony Makris                                                                  Non-NRA                    1
CJ                               Unknown                                                                              Non-NRA                    1
Patrick McCarty                  Unknown                                                                              Non-NRA                    1
LS                               Unknown                                                                              Non-NRA                    1
P Harold                         Unknown                                                                              Non-NRA                    1
N                                Unknown                                                                              Non-NRA                    1
Eric Thomas                      Unknown                                                                              Non-NRA                    1
Carrie Lightfoot                 Owner of The Well-Armed Woman, LLC, The Well-Armed Woman Training Company, LLC,      NRA Affiliated             1
                                 Chairwoman/CEO; Active in NRA WLF; 2019 NRA Director Nominee
EA                               Unknown                                                                              Non-NRA                    1
LR                               Unknown                                                                              Non-NRA                    1
Dionel M Aviles                  Former Secretary of the Navy (04 - 09)                                               Non-NRA                    1
Teresa Marshall                  Unknown                                                                              Non-NRA                    1
NRA VIPs, Donor(s) and Clients   Unknown                                                                              NRA Affiliated             1
Board of Directors               Board of Directors, NRA                                                              NRA Affiliated             1
David Muntz                      Unknown                                                                              Non-NRA                    1
Robert Nosler                    Director, NRA; Owns Nosler, Inc.                                                     NRA Affiliated             1
W Lain                           Unknown                                                                              Non-NRA                    1



                                                                                                                                        APP. 02141
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Robert Marshall   Unknown                                                                Non-NRA                    1
David Corlew      Nashville music industry veteran                                       Non-NRA                    1
Aqua              Unknown                                                                Non-NRA                    1
D Kriley          Unknown                                                                Non-NRA                    1
Craig Spray       Treasurer, NRA                                                         NRA Affiliated             1
K Hogan           Unknown                                                                Non-NRA                    1
A Wheeler         Unknown                                                                Non-NRA                    1
JW                Unknown                                                                Non-NRA                    1
JS                Unknown                                                                Non-NRA                    1




                                                                                                           APP. 02142
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   The following table shows the amounts spent by vendor.               Total Spend: $      362,994
   Source: Columns J and K on 'Detail' tab                            Total Quantity:            905

   Vendor                                      Value    % of Value Quantity           % of Quantity
   Four Seasons                                $ 32,635       8.99%              32            3.54%
   American Airlines                           $ 30,836       8.49%              54            5.97%
   Smoke Zone                                  $ 27,917       7.69%              13            1.44%
   Marriott                                    $ 23,283       6.41%               4            0.44%
   Ritz Carlton                                $ 20,583       5.67%              34            3.76%
   I. I. & I. S. Inc.                          $ 18,114       4.99%               1            0.11%
   Cash Tips1                                   $   17,305    4.77%             365           40.33%
   Old Palace LLC                               $   14,400    3.97%               8            0.88%
   Alexander Historical Auctions                $   13,630    3.75%               1            0.11%
   Ready to Roll                                $   13,446    3.70%               2            0.22%
   Beverly Hills Hotel                          $   11,734    3.23%               7            0.77%
   Korean Air                                   $   10,414    2.87%               1            0.11%
   CXIII/Landini Brothers                       $    8,951    2.47%              43            4.75%
   Mansion on Turtle Creek                      $    8,415    2.32%               1            0.11%
   Carey International                          $    8,305    2.29%               9            0.99%
   21C Hotel                                    $    6,680    1.84%               4            0.44%
   Levy GRP                                     $    6,120    1.69%               1            0.11%
   Joe's Seafood                                $    5,107    1.41%              14            1.55%
   KUIU Inc.                                    $    4,008    1.10%               2            0.22%
   Merchant: Audio Visual                       $    3,988    1.10%               1            0.11%
   Old Oaks Liquor                              $    3,650    1.01%               2            0.22%
   Virgin America                               $    3,246    0.89%               3            0.33%
   Lorien Hotel                                 $    3,203    0.88%               7            0.77%
   Hertz                                        $    3,150    0.87%               6            0.66%
   The Smoke Zone                               $    3,100    0.85%               2            0.22%
   Amangani                                     $    3,022    0.83%               1            0.11%
   Guitarcenter.com                             $    2,880    0.79%              11            1.22%
   MediaQuest                                   $    2,737    0.75%               1            0.11%
   SMIC Holdings Inc.                           $    2,412    0.66%               3            0.33%
   Trulucks                                     $    2,147    0.59%               3            0.33%
   Hyatt                                        $    2,137    0.59%              12            1.33%
   Ruth's Chris Steak House                     $    2,011    0.55%               1            0.11%
   PM Wildlife Studios                          $    2,000    0.55%               1            0.11%
   Mansion Turtle Creek                         $    1,837    0.51%               1            0.11%
   Thomson Cigars                               $    1,720    0.47%               1            0.11%
   Hotel Duval                                  $    1,569    0.43%               3            0.33%
   Omni Hotel                                   $    1,550    0.43%               6            0.66%
   Hotel Vandivort                              $    1,549    0.43%               2            0.22%
   Hermitage                                    $    1,516    0.42%               1            0.11%
   Proof of Main                                $    1,488    0.41%               1            0.11%
   Apple Store                                  $    1,446    0.40%               4            0.44%
   St. Regis                                    $    1,336    0.37%               1            0.11%




                                                                                               APP. 02143
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   United Airlines                $   1,279    0.35%            1       0.11%
   National Shooting Sports       $   1,225    0.34%            3       0.33%
   Delta Airlines                 $   1,090    0.30%            2       0.22%
   Grand America                  $   1,053    0.29%            1       0.11%
   Virgin Air                     $   1,048    0.29%            2       0.22%
   Buchanan                       $   1,047    0.29%            2       0.22%
   MIQ Logistics                  $     986    0.27%            1       0.11%
   Tomahawk Stategy               $     884    0.24%            1       0.11%
   old Grapvine Cigar             $     866    0.24%            1       0.11%
   Kimpton Hotel                  $     737    0.20%            1       0.11%
   Signature Transportation       $     672    0.19%            1       0.11%
   Kiawah Island Golf Resort      $     643    0.18%            2       0.22%
   MCAR WLA                       $     598    0.16%            1       0.11%
   Milos                          $     579    0.16%            1       0.11%
   Bohanan's Prime Steak          $     568    0.16%            1       0.11%
   Bobs Steak & Chop              $     565    0.16%            1       0.11%
   Colcord Hotel                  $     559    0.15%            1       0.11%
   PayPal                         $     500    0.14%            1       0.11%
   EZ Pass                        $     490    0.13%           14       1.55%
   Mokara and La Mansion Hotel    $     489    0.13%            1       0.11%
   Fairmont Hotel                 $     483    0.13%            1       0.11%
   Barbizon Lighting              $     426    0.12%            1       0.11%
   Mens Wearhouse                 $     417    0.11%            3       0.33%
   REI                            $     416    0.11%            2       0.22%
   Town Earth                     $     405    0.11%            1       0.11%
   Venetian                       $     391    0.11%            1       0.11%
   ?? 5225                        $     387    0.11%            1       0.11%
   Passport Health                $     378    0.10%            1       0.11%
   Uptown Mint Dentistry PLL      $     350    0.10%            1       0.11%
   Mary Eddies                    $     350    0.10%            1       0.11%
   RC 214 Steakhouse              $     339    0.09%            1       0.11%
   Cabela's                       $     322    0.09%            1       0.11%
   Go Go Wifi                     $     310    0.09%           13       1.44%
   Autograph Hotel                $     288    0.08%            2       0.22%
   Mandalay Bay                   $     285    0.08%            1       0.11%
   AC Limo                        $     270    0.07%            1       0.11%
   Del Frisco                     $     269    0.07%            1       0.11%
   Amazon                         $     266    0.07%            2       0.22%
   MGM Copperfield TKTS           $     266    0.07%            1       0.11%
   SHOT Show                      $     250    0.07%            1       0.11%
   Avis                           $     235    0.06%            1       0.11%
   Market Street Grill Down       $     216    0.06%            1       0.11%
   Market Street Oyster Bar       $     215    0.06%            1       0.11%
   Jack Fry's Restaurant          $     211    0.06%            1       0.11%
   Panera Bread                   $     210    0.06%            1       0.11%
   Renaissance Hotels             $     209    0.06%            2       0.22%
   McCormick & Schmick's          $     205    0.06%            1       0.11%



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   Hotel Monaco                   $    195     0.05%            1       0.11%
   Boyt Harness                   $    192     0.05%            1       0.11%
   Fearings Restaurant            $    184     0.05%            1       0.11%
   Twin Smokers                   $    180     0.05%            1       0.11%
   Hudson Grill                   $    168     0.05%            2       0.22%
   Casa de Montecristo            $    167     0.05%            1       0.11%
   Beretta USA Corp               $    161     0.04%            1       0.11%
   Snake River Grill              $    155     0.04%            1       0.11%
   Hampton Inn                    $    146     0.04%            1       0.11%
   Liberty Kitchen                $    140     0.04%            1       0.11%
   The Southern                   $    133     0.04%            1       0.11%
   NRAStore                       $    132     0.04%            1       0.11%
   Nosler Inc.                    $    130     0.04%            1       0.11%
   Georgetown Cupcake             $    121     0.03%            1       0.11%
   USPS                           $    119     0.03%            2       0.22%
   La Gloria                      $    119     0.03%            1       0.11%
   NaaY limo                      $    115     0.03%            1       0.11%
   Mountain House                 $    114     0.03%            1       0.11%
   Athens Family Restaurant       $    111     0.03%            1       0.11%
   VeriFone                       $    106     0.03%            4       0.44%
   Dick's                         $    106     0.03%            1       0.11%
   GOES                           $    100     0.03%            1       0.11%
   CLEAR                          $     99     0.03%            1       0.11%
   Paradies                       $     98     0.03%           10       1.10%
   Duane Sparks Chevrolet         $     98     0.03%            1       0.11%
   Business Center                $     97     0.03%            4       0.44%
   Food City                      $     95     0.03%            1       0.11%
   Clydes                         $     85     0.02%            1       0.11%
   CVS                            $     81     0.02%            3       0.33%
   Agent Fee                      $     80     0.02%            2       0.22%
   Walgreens                      $     78     0.02%            3       0.33%
   Taxi                           $     72     0.02%            2       0.22%
   PF Changs                      $     71     0.02%            1       0.11%
   JT Schmids restaurant & B      $     70     0.02%            1       0.11%
   Café Genevieve                 $     68     0.02%            1       0.11%
   Redbubble.com                  $     64     0.02%            1       0.11%
   Old Town Shoe and Luggage      $     60     0.02%            1       0.11%
   AT&T                           $     60     0.02%            1       0.11%
   Sunny Bryans                   $     56     0.02%            1       0.11%
   Ragin Cajun                    $     56     0.02%            1       0.11%
   Hudson                         $     56     0.02%            2       0.22%
   Ticketmaster Ticket            $     56     0.02%            1       0.11%
   Starbucks                      $     55     0.02%            9       0.99%
   El Camino                      $     52     0.01%            1       0.11%
   Olive Sinclair                 $     49     0.01%            1       0.11%
   Fish Market                    $     45     0.01%            1       0.11%
   The Pipe Dream of Alexandria   $     42     0.01%            1       0.11%



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   Mahsa Grill and Market           $   42     0.01%            1       0.11%
   Harris Teeter                    $   42     0.01%            1       0.11%
   Lucky Cab                        $   38     0.01%            1       0.11%
   Bar Bocce                        $   37     0.01%            1       0.11%
   Yellow Checker Star              $   36     0.01%            1       0.11%
   Home Depot                       $   34     0.01%            1       0.11%
   Delano                           $   34     0.01%            1       0.11%
   MBCC Snack bar                   $   33     0.01%            2       0.22%
   Convention Center                $   30     0.01%            1       0.11%
   Corner Bakery                    $   29     0.01%            1       0.11%
   Sunoco                           $   27     0.01%            2       0.22%
   Virginian Golf Club              $   26     0.01%            1       0.11%
   HNDiscover                       $   24     0.01%            1       0.11%
   Whole Foods                      $   23     0.01%            2       0.22%
   WeedsSB Taxi                     $   23     0.01%            1       0.11%
   Union Cab                        $   22     0.01%            1       0.11%
   Charleston Airport               $   22     0.01%            1       0.11%
   Morsel's                         $   20     0.01%            1       0.11%
   Centra Lounge                    $   19     0.01%            1       0.11%
   Rangoon News Bureau              $   19     0.01%            1       0.11%
   Bistro Berry                     $   19     0.01%            1       0.11%
   Frothy Monkey                    $   18     0.01%            3       0.33%
   Shell Oil                        $   18     0.01%            1       0.11%
   HEB                              $   17     0.00%            1       0.11%
   USA Canteen                      $   17     0.00%            6       0.66%
   Freshens #21                     $   16     0.00%            1       0.11%
   Dunkin Donuts                    $   16     0.00%            5       0.55%
   Mansion Schools                  $   15     0.00%            1       0.11%
   Liberty University               $   15     0.00%            1       0.11%
   Bigby Coffee                     $   13     0.00%            1       0.11%
   Sands Concession                 $   11     0.00%            1       0.11%
   Euro Café                        $   11     0.00%            1       0.11%
   Cibo                             $    9     0.00%            1       0.11%
   Favor Gas Station                $    9     0.00%            1       0.11%
   Southwest                        $    8     0.00%            1       0.11%
   The Grove                        $    8     0.00%            2       0.22%
   Alvin Cabural                    $    7     0.00%            1       0.11%
   Safeway                          $    7     0.00%            1       0.11%
   Torpedo Factory                  $    7     0.00%            1       0.11%
   SQ *Outback Steakhouse           $    7     0.00%            1       0.11%
   St. Anthony Hospital Starbucks   $    6     0.00%            1       0.11%
   Westin                           $    6     0.00%            1       0.11%
   The UPS Store                    $    5     0.00%            1       0.11%
   Westin Hotel                     $    5     0.00%            1       0.11%
   RaceTrac                         $    3     0.00%            1       0.11%
   DFW                              $    2     0.00%            1       0.11%
   Eleven Wireless                  $    -     0.00%            2       0.22%



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   Unknown                                    $     (109)   -0.03%            8       0.88%
   SMI Properties                             $   (2,412)   -0.66%            1       0.11%

   1
       See note 1 on the 'By Category' tab.




                                                                                      APP. 02147
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                      EXHIBIT 74




                                                                       APP. 02148
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To:       haydon.jean@dorsey.com[haydon.jean@dorsey.com]
From:     Frazer, John
Sent:     2019-03-14T23:37:42Z
Importance:          Normal
Subject: Fwd: Response to Jay Madrid
Received:            2019-03-14T23:37:43Z
Madrid Letter.pdf
ATT00001.htm

I’m not sure if this went through the first time. Apologies for any inconvenience.

 John Frazer
 Secretary and General Counsel
 National Rifle Association of America
 11250 Waples Mill Rd.
 Fairfax, VA 22030
 (703) 267-1254
 john.frazer@nrahq.org

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 Begin forwarded message:


      From: "Frazer, John" <John.Frazer@nrahq.org>
Date: March 14, 2019 at 4:03:58 PM CDT
Cc: "SRyan@mwe.com" <SRyan@mwe.com>, Steve Hart <jstevenhart@gmail.com>
Subject: Response to Jay Madrid


       Please see attached.

       John Frazer
       Secretary and General Counsel
       National Rifle Association of America
       11250 Waples Mill Rd.
       Fairfax, VA 22030
       (703) 267-1254
       john.frazer@nrahq.org

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       distribute, or copy it.
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                                                                                            2277002:06345766

                                                                                                     APP. 02149
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                  From: <haydon.jean@dorsey.com>
Date: March 12, 2019 at 5:45:27 PM CDT
To: <john.frazer@nrahq.org>
Cc: <jstevenhart@gmail.com>, <SRyan@mwe.com>
Subject: On behalf of Jay Madrid

                 Mr. Frazer,



                 Please see attached correspondence from Mr. Madrid.



                 Thank you



                 Jean Haydon, Legal Assistant to

                 Jay J. Madrid, Esq., Brian Vanderwoude, Esq.,

                 Ron Miller, Esq., and Kara Grimes, Esq.




                                                                              2277002:06345766




                                                                                    APP. 02150
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                                 2277002:06345755




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                                                                     2277002:06345749
                                                                       APP. 02152
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                                                                     2277002:06345749
                                                                       APP. 02153
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                        EXHIBIT 75
                     (Filed Under Seal)




                                                               APP. 02154-APP. 02156
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                        EXHIBIT 76
                     (Filed Under Seal)




                                                               APP. 02157-APP. 02160
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                                EXHIBIT 77




                                                                       APP. 02161
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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

  NATIONAL RIFLE ASSOCIATION OF                  §
  AMERICA,                                       §
                                                 §
          Plaintiff and Counter-Defendant        §
                                                 §
  and                                            §
                                                 §
  WAYNE LAPIERRE,                                §
                                                 §
          Third-Party Defendant,                 §
                                                 §
  v.                                             § Civil Action No. 3:19-cv-02074-G
                                                 §
  ACKERMAN MCQUEEN, INC.,                        §
                                                 §
          Defendant and Counter-Plaintiff,       §
                                                 §
  and                                            §
                                                 §
  MERCURY GROUP, INC., HENRY                     §
  MARTIN, WILLIAM WINKLER,                       §
  MELANIE MONTGOMERY, and JESSE                  §
  GREENBERG,                                     §
                                                 §
          Defendants.                            §


                        PLAINTIFF’S SECOND SET OF REQUESTS
                   FOR PRODUCTION OF DOCUMENTS TO DEFENDANTS

        Plaintiff National Rifle Association (the “NRA”), by counsel and in accordance with Virginia

Supreme Court Rule 4:9, hereby propounds its Fourth Set of Requests for Production of Documents

(“Requests”) to Defendants Ackerman McQueen, Inc. (“Ackerman”) and Mercury Group, Inc.

(“Mercury”) (collectively, “Defendants” or “AMc”). You are requested to respond to these Requests

separately and fully, subject to the Instructions and Definitions set forth herein, and to produce the




                                                                                          APP. 02162
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requested documents to the undersigned counsel for Plaintiff NRA within twenty-one (21) days after

service of these Requests.

                                            I.
                               INSTRUCTIONS AND DEFINITIONS

       The Instructions and Definitions set forth in Plaintiff’s Second Set of Requests for Production of

Documents to Defendants, dated August 1, 2019, are incorporated as if repeated verbatim and fully set

forth herein.

       You are to produce the requested documents in the form(s) specified in Appendix A to these

Requests.

       For the avoidance of doubt, you are instructed to provide all documents responsive to our

requests, which include:

    • Responsive text messages sent or received from mobile phones provided to AMc employees for

    business use;

    • Responsive text messages sent or received from any personal devices;

    • Responsive electronic mail from personal email accounts.

                                            II.
                                  REQUEST FOR PRODUCTION

REQUEST FOR PRODUCTION NO. 82:

       All files and books and records concerning matters covered under the Services Agreement dated

April 30, 2017 (as amended May 6, 2018), as required under Section VIII.

       RESPONSE:




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REQUEST FOR PRODUCTION NO. 83:

       All documents and communications referring or relating to invoices or billing requests provided

by Defendants to the NRA, including but not limited to, any and all backup documentation, substantiation,

justification, and supporting documentation.

       RESPONSE:




REQUEST FOR PRODUCTION NO. 84:

       All documents referring or relating to time records or time logs for all AMc employees who

worked on the NRA account, including all data stored by AMc through third-party providers, including

but not limited to, information contained on web-based project management software, Workamajig.

       RESPONSE:




REQUEST FOR PRODUCTION NO. 85:

       All documents and communications referring or relating to the daily time records or time logs for

all AMc employees who worked on the NRA account produced in response to Request No. 84 above,

including specifically information to identify all project descriptions for each time record or time log, and

categories of billable services as defined in Section I of the Services Agreement.

       RESPONSE:




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                                                                                                APP. 02164
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REQUEST FOR PRODUCTION NO. 86:

       All documents referring or relating to AMc company policies, including but not limited to

employee handbooks, employee reference guides, and any other similar documents.

       RESPONSE:




REQUEST FOR PRODUCTION NO. 87:

       All documents referring or relating to complaints about AMc, including but not limited to its

services, officers, and executives from any sources.

       RESPONSE:




REQUEST FOR PRODUCTION NO. 88:

       Documents to show a list of all AMc projects or services that were billed to the NRA as “Other

Projects” as defined in Section II.E of the Services Agreement, including but not limited to, such “Other

Projects” for which no specific agreement was made and for which AMc charged a fair market value price

for the work performed.


RESPONSE:




                                                       4


                                                                                            APP. 02165
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REQUEST FOR PRODUCTION NO. 89:

       All documents and communications referring or relating to backup, substantiation, support and

justification relied on in assessing and determining the “fair market value” of the projects listed in

response to Request No. 60 above.


       RESPONSE:




REQUEST FOR PRODUCTION NO. 90:

       All documents and communications referring or relating to “Special Assignments” as defined in

Section III.D of the Services Agreement that were billed to the NRA, and for which AMc determined

could not be “reasonably be included under the monthly fee.”

       RESPONSE:




REQUEST FOR PRODUCTION NO. 91:

       For each “special assignment,” provide all documents related to the special assignment, procedures

related to the special assignment, and all backup information for the monthly fee that was approved or

agreed upon

       RESPONSE




                                                      5


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REQUEST FOR PRODUCTION NO.92:
          Documents which list all “Jobs”, as defined in Section I.B. of the Services Agreement, that were

billed to the NRA.

          RESPONSE:




REQUEST FOR PRODUCTION NO. 93:

          All documents and communications referring or relating to the fair market value work and cost

estimates submitted for approval by NRA prior to the initiation of all “Jobs” that were billed to the NRA,

as defined in Section I.B. of the Services Agreement.

          RESPONSE:




REQUEST FOR PRODUCTION NO. 94:
          All documents and communications referring or relating to backup information for all “Media

Planning and Placement Services,” as defined in Section I.C. of the Services Agreement, concerning the

NRA, including but not limited to documents to show AMc’s work to verify broadcasts, insertions,

displays, or other means used to ensure proper fulfillment of all media purchases made by AMc on NRA’s

behalf.

          RESPONSE:




                                                     6


                                                                                              APP. 02167
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REQUEST FOR PRODUCTION NO. 95:

       All documents and communications referring or relating to backup information for cost quotations

submitted by AMc for approval by the NRA for art concepts, design layout, photography, and film

processing, copywriting, music composition and arrangement, audio and video production and any other

“Advertising/Creative/Media Planning and Placement Services” performed by AMc pursuant to II.B.3 of

the Services Agreement.

       RESPONSE:




REQUEST FOR PRODUCTION NO. 96:

       All documents and communications referring or relating to backup information for and procedures

to determine cost quotations for “2018 FSP Media C4,” pursuant to II.B.3 of the Services Agreement,

whether or not submitted by AMc for approval by the NRA.


       RESPONSE:




REQUEST FOR PRODUCTION NO. 97:

       Produce all D&O liability insurance, professional liability insurance, and any other insurance

policies or indemnity contracts and agreements that refer or relate to services provided by AMc to the

NRA or any other AMc clients.

       RESPONSE:




                                                  7


                                                                                           APP. 02168
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REQUEST FOR PRODUCTION NO. 98:
         All prior drafts of the letters sent on April 22, 2019 by William Winkler to (i) Wayne LaPierre

entitled, “RE: Clothing purchases by Ackerman McQueen (AMc) on your behalf”; (ii) Tyler Schropp

entitled, “RE: Documentation of expenses incurred by Ackerman McQueen (AMc) and billed to the

National Rifle Association (NRA)”; and (iii) Craig Spray entitled, “RE: Documentation of expenses

incurred by Ackerman McQueen (AMc) and billed to the National Rifle Association (NRA).”

RESPONSE:




REQUEST FOR PRODUCTION NO. 99:

         All documents and communications referring or relating to AMc’s identification of the target

NRATV consumer, including but not limited to any studies, focus groups, presentations, surveys, reports

on demographics, or target content for programing, whether performed or conducted by AMc or any third-

party.

         RESPONSE:




REQUEST FOR PRODUCTION NO. 100:
         All documents and communications referring or relating to any valuation of NRATV, the NRATV

brand, or the valuations of parts of NRATV (e.g., NRATV TV shows) or NRATV brand, including but

not limited to, any analyses regarding the same.

         RESPONSE:




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                                                                                               APP. 02169
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REQUEST FOR PRODUCTION NO. 101:

       Documents concerning the performance, significance, and/or importance of the live broadcasting

portion of NRATV.

       RESPONSE:




REQUEST FOR PRODUCTION NO. 102:

       Documents concerning the meaning or definition of “engaged views” and “completed views,” as

outlined on slide labeled “Valuation Methodology To Calculate Duration” (Bates No. AMC-002741-

002771) and whether the definition or meaning for “engaged views” and “completed views” can be

applied to the broader document (Bates No. AMC-002741-002771) or not.

       RESPONSE:




REQUEST FOR PRODUCTION NO. 103:

       Documents concerning how you determined “4.89MM Completed Views” and “9.30MM

Engaged Views” as outlined on slide labeled “NRATV vs. NRA News 1 Year Comparison” | Oct –

Sept” (Bates No. AMC-002741-002771).

       RESPONSE:




                                                 9


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REQUEST FOR PRODUCTION NO. 104:

               All documents and communications referring or relating to measures of “engagement,” defined

as the percentage of the available content that was consumed by customers, including third party studies

and proprietary data collected, as well as any other similar measures of customer engagement that AMc

measured.

               RESPONSE:




REQUEST FOR PRODUCTION NO. 105:

               All documents and communications referring or relating to AMc’s “Unified Data Source” outline

in the graphic below and that was presented to the NRA (see Bates No. AMC-002741-002771) including

but not limited to data used to analyze the “Unified Data Source”.


   EXAMPLE FLOW OF DISTRIBUTION ANO DATA COLLECTION                                              EXAMPLE FLOW OF DISTRIBUTION ANO DATA COLLECTION
               CORE PLATFORM PENETRATION                      DISSEMINATION TO MEDIA PLATFORMS      BRANCHING FROM DIVERSIFIED CHANNELS




  IIATAAVAUBIIJTYANDN8TES             EN6A60JYDDEJIIITIIIIS           COJfPUilDVlEWflfltfTIIIS            YouTube Excluded for Consistency > Valuation Model Based on Vlewershlp Count;
                                                                                                          YouTube Uses Watch Time

  _..,.TV..,,   A---··.c---
  -0.,0.-•.......V.... -
  _,.IJII... _ _ _          C.-,_



                                                                                                          YouTube's Defl nltlon of a Video View> Alaorithm Makes Reoortlna a Black BH




               RESPONSE:




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                                                                                                                                                                                        APP. 02171
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REQUEST FOR PRODUCTION NO. 106:

       All documents and communications referring or relating to concerning viewpoints, perceptions,

evaluations, and/or beliefs concerning NRATV communicated by the NRA to AMc, including but not

limited to, documents AMc contends evince “praise,” “support,” “approval,” or any other type of positive

affirmation for NRATV.

       RESPONSE:




REQUEST FOR PRODUCTION NO. 107:

       All documents and communications referring or relating to any analyses or assessments of the

actual or potential benefits or detriments of operating a live online broadcasting service in house versus

alternative mediums for distributing live online broadcasting content.

       RESPONSE:




REQUEST FOR PRODUCTION NO. 108:

       All documents and communications referring or relating to the employment, work, services, and

activities of Tamara (“Tammy”) Payne.

       RESPONSE:




                                                   11


                                                                                             APP. 02172
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REQUEST FOR PRODUCTION NO. 109:

       All budgets and business plans for NRATV, whether in draft form or otherwise.

       RESPONSE:




REQUEST FOR PRODUCTION NO. 110:

       All documents and communications referring or relating to key performance indicators (“KPIs”)

that Defendants used to measure the performance and success of NRATV, including but not limited to,

documents concerning any decision-making process about which KPIs to use or which KPIs not to use-

for what?

       RESPONSE:




REQUEST FOR PRODUCTION NO. 111:

       All documents and communications referring or relating to the raw data used to construct the

following table on the slide labeled “NRATV Talent Valuation By Tv Show | Valuation By Duration”

(Bates No. AMC-002772-002817), including but not limited to documents regarding the “media buying

prices based on 60s Buys in Q2 and Q3.”




                                                  12


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 NRATV TALENT VALUATION BY TV SHOW I VALUATION BY DURATION                                                                                            [ MASS MEDIA APPROACH I

                 PROGRAM                            NETWORK              DURATION OF CONTENT ISi                 ASSUMED VALUE PER SECOND'                 VALUATION
  Anderson Cooper 360                                   CNN                             405                                    $462.47                      $187,299.00
  CNN Townhall                                          CNN                             2016                                   $895.67                     $1.805,664.00
  Fox&Fnends                                          fi>,News                         5,795                                   S359.40                     $1,274,665.34

  Fox News at Ng,.t                                   fi>,News                          '39                                    $95270                       $322,965.30
  Hanlllty                                            r.,,New,                         13.454                                 $1.548.08                    $5,206,612.33

  -Angle                                              fi>,News                         6,881                                  Sl.274.33                     $894,783.20
  Justice w ith Judge Jeal'Wle                        H><News                           3,991                                  $507.53                      $209,611.27
  Loo Dobbs Tonight                                 Fox Business                        1.637                                  $49.54                       $18,354.47
  New Day                                               CNN                            1.004                                    $127.13                     $127,641.87
  The Story with Martha MacCallum                     r.,,New,                          m                                      $14 6.93                     $49,222 .67
  This Wool< with George Stephanopoulos                 ABC                             67'                                   $1,000.00                    $673,000.00
  Tu::ker Car1son                                     fi>,News                         5.967                                  $1,478.14                    $3,729 ,40 7.80
  Fox and FllQnds Satuday                             fi>,News                          895                                    $327.52                      $28,494.28
  Tucker Carlson                                      fi>,News                          361                                    $112.93                       $4,076.89

              GRAND TOTAL                                                             43,753                               5332.13 (avg.)                $14,531,798.42

        Note: v.tluu1on1nctudesonlylO'loat<l1t1fidnowledgedu N'RATVRep1es-ent.111vebutnotspeak1ngduectlyoniA1Srues.   •oer1vedlrommed~buytng pr1ces~on60SBUystnQl'-OdQ3


                                                                   January 1, 201!..,t.2,..october 3, 2018



               RESPONSE:




REQUEST FOR PRODUCTION NO. 112
               The raw data used to construct the slide labeled “Earned Media Valuation | Online Media

Publications” (Bates No. AMC-002772-002817), including but not limited to, supporting information

for “$2,500/mention” and “3,973 Online Mentions” and documents and communications regarding the

same.

EARNED MEDIA VALUATION I ONLINE MEDIA PUBLICATIONS                                                                                             [ MASS MEDIA APPROACH




      DIGITAL MEDIA
        PRESENCE
             (ESTIMATE D)


 3,973 ONLINE MENTIONS
                                                 X
                                                               VALUEPER MENTION
                                                                         ($/M EN TION)


                                                                               -
                                                                             IIASEDUIONCOS'TTOGET




                                                                      $2,500/MENTION
                                                                                                                      -             PRINT/DIGITAL
                                                                                                                                     VALUATION
                                                                                                                                                ($)


                                                                                                                                            $9.9 MM




                                                              January 1 ,    201~•.,t.2.5>ctober    3, 2018



               RESPONSE:



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                                                                                                                                                                                              APP. 02174
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REQUEST FOR PRODUCTION NO. 113
        The raw data used to construct the slide labeled “Monetization – Q3 2018” (Bates No. AMC-

002772-002817), including but not limited to, supporting information for “Revenue – Digital Efforts”,

“Revenue – NRA Store”, “Revenue – Phone Upsells” and documents and communications regarding the

same.



        MONETIZATION - Q3 2018                                                                                                                                                              1AM APPROACH 1

                                                                                                                                                                  REVENUE - DIGITAL EFFORTS•

                                                                                                        80%
          03 2018 MONETIZATION
                                                                            ---+--1ODA------                                                                          REVENUE - NRA STORE..




                                                                                                                                                                  REVENUE - PHONE UPSELLS-

                                                                                                          10°/o
              ' Dlgtl.11 Oforts began on ]nlW.IJ u,. mil. Truly focused effons were only limited to (e5,1. than :ui day5 (februily u , »:is t o Mud!,, 21ll(i which conl.llbuted OV!!f So'loof revenue-
                               '' NRA SlDII! merchandl51! !. odes efforu b!!gan on ~uy ;io, ail ' ''Phone Up5ell efforts began on ].iln1UJJ 21, mil, but halted on FebnlllJ' zl, 2UI.


                                                                             January 1, 201t_t,g,,9ctober 3, 2018



        RESPONSE:




REQUEST FOR PRODUCTION NO. 114:
        The raw data for “Owned Digital Platforms”, “Facebook”, Youtube, Twitter, Instagram” that is

noted as available on the left-hand side of following slide labeled “Appendix | Data Notes” (Bates No.

AMC-002772-002817).




                                                                                                                                14


                                                                                                                                                                                                             APP. 02175
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         APPENDIX I DATA NOTES

             DATA AVAIUBILJTY AND NOlIS                                                 ENGAIID VIEW IIAIITIJNS                                                   COMPlETED VD DEFINmONS

            OWNED DIGITAi. PLATFORMS NRATV, NRA Won.n                                   FACEBOOK ORGANIC: "'""'"""                                                FACEBOOK ORGANIC: '"'
             FACEBOOK ~ATV, ~A Womc,n.NlAI..A."                                         FACEBOOK PAID ""                                                          FACEBOOK PAID ""'
            Colion"br",NRAM-i."
                                                                                        TWITTER ORGANIC ""                                                        TWITTER ORGANIC """
            YQlJTUBE NRATV, NRA Wamen, NRA M.x,. Coian Nair"
                                                                                        TWITTER PAID ""                                                           TWITTER PAID """'
            TWITTER N>ATV
                                                                                        GOOGLE ANALYTl:S [NON-Om ,,,,                                             GOOGLE ANALYTICS CNON·OTTI """
             INSTAGRAM NRATV(poid-,Cd---
                                                                                        GOOGLE ANALYTl:S com ...........                                          GOOGLE ANALYTICS com """'
                                                                                        YOUTUBE , _                                                               YOUTUBE ....,.._
                                                                                        INSTAGRAM PAID ,,,,                                                       INSTAGRAM PAID """
                                                                                        INSTAGRAM ORGANIC .....,..,...                                            INSTAGRAM ORGANIC u....a.-


                             ~   NRA It.A raceboolt was prevtously named NRA Main ilnd refers to the «;rNaUonalRLfleAssocauon account The new, NRA Main raceboot ~•NRA) datasource was added 111 Jlll.8_
        • Please note tro t fat the NRA 11.A Faeeboat, new NRA Main Facebook, COilon NOit racehoot, and Gallon NOLt YOul\ibe d.iusowces - data 1scwrently up through August 15, 2011(NRAtand septembet 21, 20114(:ohon Na1Q.
                                                      •• f\ease note that llle new, NRA Ma LO racebooktalNRA>wasadded Jar 2018. Hlstor1cda..t.a was. 1101 reuoacuvelyback-populated




      RESPONSE:




REQUEST FOR PRODUCTION NO. 115:

      The raw data for all listed information on the following slide labeled “NRATV Video

Performance | YTD Q3 2018” (Bates No. AMC-002772-002817), including but not limited to, “13.1MM

completed views”, “41.8MM engaged views, “206.0MM total views”, “6.7MM reactions”, “3.0MM

shares” and “443k comments” and documents and communications concerning the same.




                                                                                                                           15


                                                                                                                                                                                                                               APP. 02176
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                        13.1 MM COMPLETED VIEWS'                                         41.B MM ENGAGED VIEWS*                                                   206.0MM TOTAL VIEWS



                    I           6.7 MM REACTIONS                                   ~               3.0 MM SHARES                                                              443 KCOMMENTS

                                                  "Note: ~,ces and dehn1t1ons of Eng.iged ,md completed V\ews on Noles Pase •Eni;:aged V1ews do not loclude YouTU.be or OTT
                                                                 tcompleted vtews do not tnclude YOlffilbe •• lDtl Includes the new. NRA M.aln F"aceboat data
                                   NUmbers provided do 0011ndude data from NRA. social outside of NRATV aftei 1VJS118 Exc:ludesanyv1ewersh1p dat.1 ue-d toAudlemeAamy 01 lean Medi.a l:uys..



                                                                                    Jan uary 1,      201!•..t.£nPctober       3, 2018



           RESPONSE:




REQUEST FOR PRODUCTION NO.116:

           For slide labeled, “YTD Q3 2018 Vs YTD Q3 2017” (Bates No. AMC-002772-002817), the raw

data to support all information listed, including but not limited to “Completed Views”, “Engaged

Views”, “Total Views” and “Engaged+, Non-YT Total Watch Duration (Min),” as well as all documents

and communications regarding the same in the slide referenced below

VTD 03 2018 vs VTD 03 2017                                                                                                           [ AM APPROACH 1


                  YTD 03 2018                                                                 YTD 03 2017
                              COMPLETEDVIEWS                                                  COMPLETED VIEWS
                               13,121,613                        87.0% _..                    7,016,477
                                ENGAGED VIEWS                                                 ENGAGED VIEWS
                              41,756,339                         80.2% _..                    23,167,226
                                   TOTALVIEWS                                                 TOTAL VIEWS
                            205,985,618                          50.9% _..                    136,547,012
    ENGAGED•, NON-YTTOTAL WATCH DURATION !MINI                                                ENGAGED•, NON-YTTOTALWATCH DURATION !MINI
                             59,750,689                          96.2% _..                    30,448,712

                           January 1, 2017 t o October 3, 2017,_.yJ,;January 1, 2018 to October 3, 2018



           RESPONSE:


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                                                                                                                                                                                               APP. 02177
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REQUEST FOR PRODUCTION NO. 117:

       For slide labeled “Valuation Overview” (Bates No. AMC-002772-002817) below, the raw data

to support all information listed, including but not limited to, “Total Watch Duration (Sec)”, “Value Per

Second Watched (Sec)”, the regression analysis referenced and the calculation of “$0.003/S*,” as well

as all communications and documents regarding the same.

        VALUATION OVERVIEW                                                                                       I MASS MEDIA APPROACH I




          TOTAL WATCH                                        VALUE PER
            DURATION
                       (S EC)
         CAI..CUI..AlEOB"f!IGGREGAllNGUNE-81'-u,,,E
         U O { ~ l m lO'TAL. WATCH DURATlONS
         (Wddng~-TbtalYGW0-1.ar'J"")
                                                      X
                                                          SECOND WATCHED
                                                                        (SEC)
                                                           IIASEDUPONPRIORREGAESSION ANAl.l'SIS OF
                                                                 FllADSNANAGERCArAPCall>



                                                                   S0.003/S*
                                                               ·w,o MAX VALUE CAP
                                                                                                      --   ESTIMATED VALUE OF
                                                                                                           TIME WITH CONTENT
                                                                                                                    ($)

                                                                                                              S20,303,173.33
        6,767,724,444 SECS
                   1214.6 YEARS)




                                                           January 1, 201t..t.,2J)ctober 3, 2018



       RESPONSE:




REQUEST FOR PRODUCTION NO. 118:

       All documents and communications referring or relating to the strategy and tactics, as well as the

ultimate goals, for NRATV, that were developed prior to the launch of NRATV, including but not

limited to documents describing the process for selecting the specific shows to be filmed, produced and

televised on NRATV.

       RESPONSE:




                                                                                                     17


                                                                                                                                           APP. 02178
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REQUEST FOR PRODUCTION NO. 119:

       Produce the rental contracts for Alexandria, VA and Oklahoma City, OK office properties, as

well as any other office property rental contracts not produced to date.


RESPONSE:




REQUEST FOR PRODUCTION NO. 120:

       Produce the Commercial Sublease dated October 2, 2019, by and between AMc and

Innate.ly/New Planet Technologies, Inc.

       RESPONSE:




REQUEST FOR PRODUCTION NO. 121:

       Produce all records of payments made on all leased properties where NRA activities were

performed.

       RESPONSE:




REQUEST FOR PRODUCTION NO. 122:

       Produce justification / supporting documentation for allocation percentages applied on Exhibit 2

labeled, “Summary of Amounts Payable by AMc Related to Office Leases. Subsequent to the

Termination of the Services Agreement,” as referenced in the Jackson Expert Report of Daniel L.

Jackson, dated January 7, 2020.

       RESPONSE:


                                                    18


                                                                                           APP. 02179
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REQUEST FOR PRODUCTION NO. 123:

         Produce the “A-1 Freeman Moving & Storage invoice for $60,157” referenced in the Expert

Report of Daniel L. Jackson, dated January 7, 2020.

         RESPONSE:




REQUEST FOR PRODUCTION NO. 124:

         All documents and communications referring or relating to the development of the Carry Guard

brand.

         RESPONSE:




REQUEST FOR PRODUCTION NO. 125:

         All documents and communications referring or relating to the Carry Guard training platform.

         RESPONSE:




REQUEST FOR PRODUCTION NO. 126:

         All documents and communications referring or relating to the Carry Guard media strategy.

         RESPONSE:




                                                   19


                                                                                           APP. 02180
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REQUEST FOR PRODUCTION NO. 127:

       All documents and communications referring or relating to the Carry Guard customer acquisition

and sales strategy.


       RESPONSE:




REQUEST FOR PRODUCTION NO. 128:

       All documents and communications referring or relating to the performance management of the

Carry Guard program.


       RESPONSE:




REQUEST FOR PRODUCTION NO. 129:

       All presentation and reports delivered to the NRA regarding the Carry Guard program.


       RESPONSE:




REQUEST FOR PRODUCTION NO. 130:

       All documents and communications referring or relating to data AMc maintained regarding

celebrity brand awareness such as scores and social media following, including but not limited to,

documents and data provided by third party reports such as Q Score.

       RESPONSE:



                                                   20


                                                                                             APP. 02181
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REQUEST FOR PRODUCTION NO. 131:

The NRA-account documents that AMc relied upon and performed to, by year, for the annual budget.

       RESPONSE:




REQUEST FOR PRODUCTION NO. 132:

       Produce an organizational chart for AMc describing the owner relationships between legal entities

in the corporate family of AMc, including but not limited to, ownership lines and percentages, all

subsidiaries and corporate forms.

       RESPONSE:




REQUEST FOR PRODUCTION NO. 133:

       Documents showing all personnel, including their titles, departments and salaries, employed by

AMc at the end of each calendar year.

       RESPONSE:




REQUEST FOR PRODUCTION NO. 134:

       All documents and communications referring or relating to the data from “AMc employment

records” used to construct Exhibit 5 of the "Expert Report of Daniel L. Jackson” dated January 7, 2020.

       RESPONSE:




                                                  21


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REQUEST FOR PRODUCTION NO. 135:

       For each year from 2015 – 2019, documents or data that show the total number of hours spent on

NRA account activities and the total number of hours spent on all activities at Ackerman McQueen for

each employee listed in Exhibit 5 to the Jackson. Report details should be provided in excel or native

format, or via username access to electronic records, such that NRA project details are available for all

employee hours billed to the NRA.

       RESPONSE:




REQUEST FOR PRODUCTION NO. 136:

       All documents referring or relating to Vox Media, LLC journalist Dylan Matthews’s 08/03/18

article entitled, “The National Rifle Association, America's most powerful lobby, claims it’s in financial

crisis. What?," including but not limited to, documents and communications concerning outlining steps

taken by AMc, as agent of the NRA, to identify the “anonymous source at AMc” who provided the

confidential information to Vox Media, LLC.

       RESPONSE:




REQUEST FOR PRODUCTION NO. 137:

       All documents referred to in or relied on by the “Expert Report of Daniel L. Jackson” dated January

7, 2020.

       RESPONSE:




                                                   22


                                                                                             APP. 02183
 Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21                Page 900 of 1087 PageID 31105

REQUEST FOR PRODUCTION NO. 138:

       Documents that show the office locations and production studios operated in part or in whole for

AMc’s Branded News subsidiary.

       RESPONSE:




REQUEST FOR PRODUCTION NO. 139:

       Documents that show the clients managed by AMc’s Branded News subsidiary from 2000-2019.

       RESPONSE:




REQUEST FOR PRODUCTION NO. 140:
    All documents referring or relating to, and including, communications between and among AMc

and Dan Boren regarding the NRA, after January 1, 2016.

       RESPONSE:




REQUEST FOR PRODUCTION NO. 141:

       All documents referring or relating to, and including, communications between and among AMc

and David Lehman regarding the NRA, after January 1, 2015.


       RESPONSE:




                                                  23


                                                                                           APP. 02184
Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21              Page 901 of 1087 PageID 31106

REQUEST FOR PRODUCTION NO. 142:

       All documents referring or relating to, and including, communications between and among AMc

and Steven Hart regarding the NRA, after January 1, 2017.

       RESPONSE:



REQUEST FOR PRODUCTION NO. 143:

       All documents referring or relating to, and including, communications between and among AMc

and Chris Cox regarding the NRA, after January 1, 2019.

       RESPONSE:



REQUEST FOR PRODUCTION NO. 144:
    All documents referring or relating to, and including, communications between and among AMc

and Oliver North regarding the NRA, after January 1, 2018.

       RESPONSE:



REQUEST FOR PRODUCTION NO. 145:
    All documents referring or relating to, and including, communications between and among AMc

and Lance Olson regarding the NRA, after January 1, 2015.

       RESPONSE:




REQUEST FOR PRODUCTION NO. 146:
    All documents referring or relating to, and including, communications between and among AMc

and any NRA Board members regarding the NRA, after January 1, 2015.

       RESPONSE:


                                                 24


                                                                                       APP. 02185
Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21                 Page 902 of 1087 PageID 31107




REQUEST FOR PRODUCTION NO. 147:

       Documents that show Ackerman’s gross revenue throughout 2012, 2013, 2014, 2015, 2016,

2017, 2018 and 2019, on a monthly basis.


       RESPONSE:




REQUEST FOR PRODUCTION NO. 148:

       All documents and communications referring or relating to letters sent by William Winkler to

Craig Spray, Wayne LaPierre and Tyler Schropp on April 22, 2019.


       RESPONSE:




REQUEST FOR PRODUCTION NO. 149:

       Documents to show the services category attributable to invoices of A-E, as outlined in Section I

of the Services Agreement.


       RESPONSE:




                                                  25


                                                                                            APP. 02186
Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21               Page 903 of 1087 PageID 31108

REQUEST FOR PRODUCTION NO. 150:

       All documents and communications referring or relating to any vendor who provides goods or

services to the NRA, including AMc, in which Oliver North maintains any ownership interest, manages,

operates or controls.


       RESPONSE:



REQUEST FOR PRODUCTION NO. 151:

       All documents and communications referring or relating to any vendor who provides goods or

services to the NRA, other than AMc, in which Revan McQueen maintains any ownership interest,

manages, operates or controls.


       RESPONSE:



REQUEST FOR PRODUCTION NO. 152:

       All documents and communications referring or relating to any vendor who provides goods or

services to the NRA, other than AMc, in which Anthony Makris maintains any ownership interest,

manages, operates or controls.


         RESPONSE:




                                                 26


                                                                                        APP. 02187
Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21               Page 904 of 1087 PageID 31109

REQUEST FOR PRODUCTION NO. 153:

       All documents and communications referring or relating to any vendor who provides goods or

services to the NRA, other than AMc, in which Nader Tavangar maintains any ownership interest,

manages, operates or controls.


        RESPONSE:



REQUEST FOR PRODUCTION NO. 154:

       All documents and communications referring or relating to any vendor who provides goods or

services to the NRA, other than AMc, in which Edmund Martin maintains any ownership interest,

manages, operates or controls.


       RESPONSE:




REQUEST FOR PRODUCTION NO. 155:

       All documents and communications referring or relating to any vendor who provides goods or

services to the NRA, other than AMc, in which Bill Powers maintains any ownership interest, manages,

operates or controls.


       RESPONSE:




                                                 27


                                                                                        APP. 02188
Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21              Page 905 of 1087 PageID 31110

REQUEST FOR PRODUCTION NO. 156:

       All documents and communications referring or relating to any vendor who provides goods or

services to the NRA, other than AMc, in which Lacey Duffy-Cremer maintains any ownership interest,

manages, operates or controls.


       RESPONSE:




REQUEST FOR PRODUCTION NO. 157:

       All documents and communications referring or relating to any vendor who provides goods or

services to the NRA, other than AMc, in which Melanie Montgomery maintains any ownership interest,

manages, operates or controls.


       RESPONSE:



REQUEST FOR PRODUCTION NO. 158:

       All documents and communications referring or relating to any vendor who provides goods or

services to the NRA, other than AMc, in which Brandon Winkler maintains any ownership interest,

manages, operates or controls.


       RESPONSE:




                                                28


                                                                                        APP. 02189
Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21               Page 906 of 1087 PageID 31111

REQUEST FOR PRODUCTION NO. 159:

       All documents and communications referring or relating to any vendor who provides goods or

services to the NRA, other than AMc, in which William Winkler maintains any ownership interest,

manages, operates or controls.


       RESPONSE:




REQUEST FOR PRODUCTION NO. 160:

       All documents and communications referring or relating to any vendor who provides goods or

services to the NRA, other than AMc, in which Carl Warner maintains any ownership interest, manages,

operates or controls.


       RESPONSE:




REQUEST FOR PRODUCTION NO. 161:

       All documents and communications referring or relating to any vendor who provides goods or

services to the NRA, other than AMc, in which Jesse Greenberg maintains any ownership interest,

manages, operates or controls.


       RESPONSE:




                                                 29


                                                                                         APP. 02190
 Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21               Page 907 of 1087 PageID 31112

REQUEST FOR PRODUCTION NO. 162:

       All documents and communications referring or relating to any vendor who provides goods or

services to the NRA, other than AMc, in which Henry Martin maintains any ownership interest,

manages, operates or controls.


       RESPONSE:



REQUEST FOR PRODUCTION NO. 163:

       All documents and communications referring or relating to any vendor who provides goods or

services to the NRA, other than AMc, in which Kyle Millar maintains any ownership interest, manages,

operates or controls.


       RESPONSE:



REQUEST FOR PRODUCTION NO. 164:

       All documents and communications referring or relating to any vendor who provides goods or

services to the NRA, other than AMc, in which David Valinski maintains any ownership interest,

manages, operates or controls.


       RESPONSE:



REQUEST FOR PRODUCTION NO. 165:
    All documents referring or relating to the production and management of Shale.tv (http://shale.tv)

by AMc.

       RESPONSE:


                                                 30


                                                                                          APP. 02191
 Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21                  Page 908 of 1087 PageID 31113

REQUEST FOR PRODUCTION NO. 166:

        All documents and communications referring or relating to viewership analytics (defined as any

analysis or presentation of viewership numbers, including but not limited to, any analysis or presentation

of viewership metrics, viewership data, viewership analytics, and/or viewership statistics) for Shale.tv

(http://shale.tv).

        RESPONSE:




REQUEST FOR PRODUCTION NO. 167:

        All documents referring or relating to the production and management of OklaTravelNet.com by

AMc.

        RESPONSE:




REQUEST FOR PRODUCTION NO. 168:

        All documents and communications referring or relating to viewership analytics (defined as any

analysis or presentation of viewership numbers, including but not limited to, any analysis or presentation

of viewership metrics, viewership data, viewership analytics, and/or viewership statistics) for

OklaTravelNet.com.

        RESPONSE:




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                                                                                             APP. 02192
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REQUEST FOR PRODUCTION NO. 169:

       All documents referring or relating to the production and management of EnergyNewsLive.com

by AMc.

          RESPONSE:



REQUEST FOR PRODUCTION NO. 170:

       All documents and communications referring or relating to viewership analytics (defined as any

analysis or presentation of viewership numbers, including but not limited to, any analysis or presentation

of viewership metrics, viewership data, viewership analytics, and/or viewership statistics) for

EnergyNewsLive.com.

       RESPONSE:




REQUEST FOR PRODUCTION NO. 171:

       All documents referring or relating to the production and management of "6FL," or Six Flags Live

by AMc.

       RESPONSE:




REQUEST FOR PRODUCTION NO. 172:

       All documents and communications referring or relating to viewership analytics (defined as any

analysis or presentation of viewership numbers, including but not limited to, any analysis or presentation

of viewership metrics, viewership data, viewership analytics, and/or viewership statistics) for "6FL," or

Six Flags Live.


                                                   32


                                                                                             APP. 02193
 Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21                Page 910 of 1087 PageID 31115

        RESPONSE:




REQUEST FOR PRODUCTION NO. 173:

        All documents and communications referring or relating to any audits of or accounting of AMc

services by any of its clients.

        RESPONSE:




REQUEST FOR PRODUCTION NO. 174:

        All documents and communications referring or relating to AMc’s loans, borrowings or other

financial relationships.

        RESPONSE:



REQUEST FOR PRODUCTION NO. 175:

        All documents and communications referring or relating to clothing stores where AMc maintains

corporate accounts whose services are obtained by AMc and passed on, directly or indirectly, to the NRA.

        RESPONSE:



REQUEST FOR PRODUCTION NO. 176:

        All documents and communications referring or relating to makeup artists, including but not

limited to makeup artists located in Nashville, TN, whose services are obtained by AMc and passed on,

directly or indirectly, to the NRA.

        RESPONSE:




                                                  33


                                                                                            APP. 02194
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REQUEST FOR PRODUCTION NO. 177:

       All documents and communications referring or relating to any lawyers, accountants, and any other

professional service firms whose services are obtained by AMc and passed on, directly or indirectly, to

the NRA.

       RESPONSE:



REQUEST FOR PRODUCTION NO. 178:

       All documents and communications referring or relating to any restaurants, clubs, concierge

services obtained by AMc and passed on, directly or indirectly, to the NRA.

       RESPONSE:



REQUEST FOR PRODUCTION NO. 179:

       All documents and communications referring or relating to any and all limousine or chauffeur

services obtained by AMc and passed on, directly or indirectly, to the NRA.

       RESPONSE:



REQUEST FOR PRODUCTION NO. 180:

       All documents and communications referring or relating to any and all security services obtained

by AMc and passed on, directly or indirectly, to the NRA.

       RESPONSE:




                                                  34


                                                                                            APP. 02195
 Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21                  Page 912 of 1087 PageID 31117

REQUEST FOR PRODUCTION NO. 181:

       All documents and communications referring or relating to any and all philanthropic and not-for-

profit entities in which AMc has invested on behalf of the NRA that was passed on, directly or indirectly,

to the NRA.

       RESPONSE:



REQUEST FOR PRODUCTION NO. 182:

       All documents and communications referring or relating to Youth for Tomorrow and the Women’s

Leadership Forum in which AMc has invested on behalf of the NRA that was passed on, directly or

indirectly, to the NRA.

       RESPONSE:




REQUEST FOR PRODUCTION NO. 183:

       All documents and communications referring or relating to travel and entertainment by Angus

McQueen, Revan McQueen, Anthony Makris, Oliver North, Nadar Tavangar, Edmund Martin, William

Powers, Lacey Duffey-Cremer, Melanie Montgomery, Brandon Winkler, William Winkler, Carl Warner,

Jesse Greenberg, Henry Martin, Kyle Millar, and David Valinski that were billed, directly or indirectly,

to the NRA.

       RESPONSE:




                                                   35


                                                                                             APP. 02196
 Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21                  Page 913 of 1087 PageID 31118

REQUEST FOR PRODUCTION NO. 184:

       All documents and communications referring or relating to the identity of family members or

extended family by third degree of separation that work for AMc currently and that worked for the NRA

in any period in the past.

       RESPONSE:



REQUEST FOR PRODUCTION NO. 185:

       All documents and communications referring or relating to any regular providers of food, drink,

cigars, alcohol, and other substances obtained by AMc personnel that were billed, directly or indirectly,

to the NRA.

       RESPONSE:



REQUEST FOR PRODUCTION NO. 186:

       All documents and communications referring or relating to in any way to tangible or intangible

assets obtained by AMc whose acquisition cost or maintenance costs were billed, directly or indirectly, to

the NRA.

       RESPONSE:



REQUEST FOR PRODUCTION NO. 187:

       All documents and communications referring or relating to any communications with

spokespeople whose services were obtained by AMc and billed, directly or indirectly, to the NRA.

       RESPONSE:




                                                   36


                                                                                             APP. 02197
 Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21                  Page 914 of 1087 PageID 31119

REQUEST FOR PRODUCTION NO. 188:

       All documents and communications referring or relating to any communications regarding

fundraising activities organized by AMc, including but not limited to Anthony Makris, and billed, directly

or indirectly, to the NRA.

       RESPONSE:




REQUEST FOR PRODUCTION NO. 189:

       All documents and communications referring or relating to other contracts for services obtained

by AMc for the benefit of the NRA and billed, directly or indirectly, to the NRA.

       RESPONSE:




REQUEST FOR PRODUCTION NO. 190:

       All documents and communications related to annual audit and audit process of AMc’s financial

statements.

       RESPONSE:




                                                   37


                                                                                             APP. 02198
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Dated: February 3, 2020            Respectfully submitted,

                                   BREWER, ATTORNEYS & COUNSELORS


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                                   ATTORNEYS FOR THE PLAINTIFF COUNTER-
                                   DEFENDANT NATIONAL RIFLE ASSOCIATION
                                   OF AMERICA




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                                                                         APP. 02199
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                                 CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing document was electronically

 served via the Court’s electronic case filing system upon all counsel of record on this 3rd day of

 February 2020




                                              /s/ Jason C. McKenney
                                              Jason C. McKenney




                                                                                          APP. 02200
Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21   Page 917 of 1087 PageID 31122




                                EXHIBIT 78




                                                                       APP. 02201
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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

  NATIONAL RIFLE ASSOCIATION OF                     §
  AMERICA,                                          §
                                                    §
          Plaintiff and Counter-Defendant           §
                                                    §
  and                                               §
                                                    §
  WAYNE LAPIERRE,                                   §
                                                    §
          Third-Party Defendant,                    §
                                                    §
  v.                                                § Civil Action No. 3:19-cv-02074-G
                                                    §
  ACKERMAN MCQUEEN, INC.,                           §
                                                    §
          Defendant and Counter-Plaintiff,          §
                                                    §
  and                                               §
                                                    §
  MERCURY GROUP, INC., HENRY                        §
  MARTIN, WILLIAM WINKLER,                          §
  MELANIE MONTGOMERY, and JESSE                     §
  GREENBERG,                                        §
                                                    §
          Defendants.                               §


                         PLAINTIFF’S SECOND SET OF REQUESTS
                    FOR PRODUCTION OF DOCUMENTS TO DEFENDANTS

        Plaintiff National Rifle Association (the “NRA”), by counsel, hereby propounds its Second Set of

Requests for Production of Documents (“Requests”) to Defendants Ackerman McQueen, Inc.

(“Ackerman”) and Mercury Group, Inc. (“Mercury”) (collectively, “Defendants” or “AMc”). You are

requested to respond to these Requests separately and fully, subject to the Instructions and Definitions set

forth herein, and to produce the requested documents to the undersigned counsel for Plaintiff within thirty

days (30) after service of these Requests.




                                                                                               APP. 02202
 Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21                    Page 919 of 1087 PageID 31124

                                             I.
                                INSTRUCTIONS AND DEFINITIONS

        The Instructions and Definitions set forth in Plaintiff’s First Set of Requests for Production of

Documents to Defendants, dated November 5, 2019, are incorporated as if repeated verbatim and fully

set forth herein.

        You are to produce the requested documents in the form(s) specified in Appendix A to these

Requests.

        For the avoidance of doubt, you are instructed to provide all documents responsive to our

requests, which include:

     • Responsive text messages sent or received from mobile phones provided to AMc employees for

     business use;

     • Responsive text messages sent or received from any personal devices;

     • Responsive electronic mail from personal email accounts.

                                              II.
                                    REQUEST FOR PRODUCTION

REQUEST FOR PRODUCTION NO. 82:

        All files and books and records concerning matters covered under the Services Agreement dated

April 30, 2017 (as amended May 6, 2018), as required under Section VIII.

        RESPONSE:




                                                     2


                                                                                                APP. 02203
 Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21                    Page 920 of 1087 PageID 31125

REQUEST FOR PRODUCTION NO. 83:

       All documents and communications referring or relating to invoices or billing requests provided

by Defendants to the NRA, including but not limited to, any and all backup documentation, substantiation,

justification, and supporting documentation.

       RESPONSE:




REQUEST FOR PRODUCTION NO. 84:

       All documents referring or relating to time records or time logs for all AMc employees who

worked on the NRA account, including all data stored by AMc through third-party providers, including

but not limited to, information contained on web-based project management software, Workamajig.

       RESPONSE:




REQUEST FOR PRODUCTION NO. 85:

       All documents and communications referring or relating to the daily time records or time logs for

all AMc employees who worked on the NRA account produced in response to Request No. 84 above,

including specifically information to identify all project descriptions for each time record or time log, and

categories of billable services as defined in Section I of the Services Agreement.

       RESPONSE:




                                                     3


                                                                                                APP. 02204
 Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21                 Page 921 of 1087 PageID 31126

REQUEST FOR PRODUCTION NO. 86:

       All documents referring or relating to AMc company policies, including but not limited to

employee handbooks, employee reference guides, and any other similar documents.

       RESPONSE:




REQUEST FOR PRODUCTION NO. 87:

       All documents referring or relating to complaints about AMc, including but not limited to its

services, officers, and executives from any sources.

       RESPONSE:




REQUEST FOR PRODUCTION NO. 88:

       Documents to show a list of all AMc projects or services that were billed to the NRA as “Other

Projects” as defined in Section II.E of the Services Agreement, including but not limited to, such “Other

Projects” for which no specific agreement was made and for which AMc charged a fair market value price

for the work performed.


RESPONSE:




                                                       4


                                                                                            APP. 02205
 Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21                    Page 922 of 1087 PageID 31127

REQUEST FOR PRODUCTION NO. 89:

       All documents and communications referring or relating to backup, substantiation, support and

justification relied on in assessing and determining the “fair market value” of the projects listed in

response to Request No. 88 above.


       RESPONSE:




REQUEST FOR PRODUCTION NO. 90:

       All documents and communications referring or relating to “Special Assignments” as defined in

Section III.D of the Services Agreement that were billed to the NRA, and for which AMc determined

could not be “reasonably be included under the monthly fee.”

       RESPONSE:




REQUEST FOR PRODUCTION NO. 91:

       For each “special assignment,” provide all documents related to the special assignment, procedures

related to the special assignment, and all backup information for the monthly fee that was approved or

agreed upon

       RESPONSE




                                                      5


                                                                                                APP. 02206
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REQUEST FOR PRODUCTION NO.92:
          Documents which list all “Jobs”, as defined in Section I.B. of the Services Agreement, that were

billed to the NRA.

          RESPONSE:




REQUEST FOR PRODUCTION NO. 93:

          All documents and communications referring or relating to the fair market value work and cost

estimates submitted for approval by NRA prior to the initiation of all “Jobs” that were billed to the NRA,

as defined in Section I.B. of the Services Agreement.

          RESPONSE:




REQUEST FOR PRODUCTION NO. 94:
          All documents and communications referring or relating to backup information for all “Media

Planning and Placement Services,” as defined in Section I.C. of the Services Agreement, concerning the

NRA, including but not limited to documents to show AMc’s work to verify broadcasts, insertions,

displays, or other means used to ensure proper fulfillment of all media purchases made by AMc on NRA’s

behalf.

          RESPONSE:




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                                                                                              APP. 02207
 Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21                Page 924 of 1087 PageID 31129

REQUEST FOR PRODUCTION NO. 95:

       All documents and communications referring or relating to backup information for cost quotations

submitted by AMc for approval by the NRA for art concepts, design layout, photography, and film

processing, copywriting, music composition and arrangement, audio and video production and any other

“Advertising/Creative/Media Planning and Placement Services” performed by AMc pursuant to II.B.3 of

the Services Agreement.

       RESPONSE:




REQUEST FOR PRODUCTION NO. 96:

       All documents and communications referring or relating to backup information for and procedures

to determine cost quotations for “2018 FSP Media C4,” pursuant to II.B.3 of the Services Agreement,

whether or not submitted by AMc for approval by the NRA.


       RESPONSE:




REQUEST FOR PRODUCTION NO. 97:

       Produce all D&O liability insurance, professional liability insurance, and any other insurance

policies or indemnity contracts and agreements that refer or relate to services provided by AMc to the

NRA or any other AMc clients.

       RESPONSE:




                                                  7


                                                                                           APP. 02208
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REQUEST FOR PRODUCTION NO. 98:
         All prior drafts of the letters sent on April 22, 2019 by William Winkler to (i) Wayne LaPierre

entitled, “RE: Clothing purchases by Ackerman McQueen (AMc) on your behalf”; (ii) Tyler Schropp

entitled, “RE: Documentation of expenses incurred by Ackerman McQueen (AMc) and billed to the

National Rifle Association (NRA)”; and (iii) Craig Spray entitled, “RE: Documentation of expenses

incurred by Ackerman McQueen (AMc) and billed to the National Rifle Association (NRA).”

RESPONSE:




REQUEST FOR PRODUCTION NO. 99:

         All documents and communications referring or relating to AMc’s identification of the target

NRATV consumer, including but not limited to any studies, focus groups, presentations, surveys, reports

on demographics, or target content for programing, whether performed or conducted by AMc or any third-

party.

         RESPONSE:




REQUEST FOR PRODUCTION NO. 100:
         All documents and communications referring or relating to any valuation of NRATV, the NRATV

brand, or the valuations of parts of NRATV (e.g., NRATV TV shows) or NRATV brand, including but

not limited to, any analyses regarding the same.

         RESPONSE:




                                                     8


                                                                                               APP. 02209
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REQUEST FOR PRODUCTION NO. 101:

       Documents concerning the performance, significance, and/or importance of the live broadcasting

portion of NRATV.

       RESPONSE:




REQUEST FOR PRODUCTION NO. 102:

       Documents concerning the meaning or definition of “engaged views” and “completed views,” as

outlined on slide labeled “Valuation Methodology To Calculate Duration” (Bates No. AMC-002741-

002771) and whether the definition or meaning for “engaged views” and “completed views” can be

applied to the broader document (Bates No. AMC-002741-002771) or not.

       RESPONSE:




REQUEST FOR PRODUCTION NO. 103:

       Documents concerning how you determined “4.89MM Completed Views” and “9.30MM

Engaged Views” as outlined on slide labeled “NRATV vs. NRA News 1 Year Comparison” | Oct –

Sept” (Bates No. AMC-002741-002771).

       RESPONSE:




                                                 9


                                                                                         APP. 02210
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REQUEST FOR PRODUCTION NO. 104:

               All documents and communications referring or relating to measures of “engagement,” defined

as the percentage of the available content that was consumed by customers, including third party studies

and proprietary data collected, as well as any other similar measures of customer engagement that AMc

measured.

               RESPONSE:




REQUEST FOR PRODUCTION NO. 105:

               All documents and communications referring or relating to AMc’s “Unified Data Source” outline

in the graphic below and that was presented to the NRA (see Bates No. AMC-002741-002771) including

but not limited to data used to analyze the “Unified Data Source”.


   EXAMPLE FLOW OF DISTRIBUTION ANO DATA COLLECTION                                              EXAMPLE FLOW OF DISTRIBUTION ANO DATA COLLECTION
               CORE PLATFORM PENETRATION                      DISSEMINATION TO MEDIA PLATFORMS      BRANCHING FROM DIVERSIFIED CHANNELS




  IIATAAVAUBIIJTYANDN8TES             EN6A60JYDDEJIIITIIIIS           COJfPUilDVlEWflfltfTIIIS            YouTube Excluded for Consistency > Valuation Model Based on Vlewershlp Count;
                                                                                                          YouTube Uses Watch Time

  _..,.TV..,,   A---··.c---
  -0.,0.-•.......V.... -
  _,.IJII... _ _ _          C.-,_



                                                                                                          YouTube's Defl nltlon of a Video View> Alaorithm Makes Reoortlna a Black BH




               RESPONSE:




                                                                                                 10


                                                                                                                                                                                        APP. 02211
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REQUEST FOR PRODUCTION NO. 106:

       All documents and communications referring or relating to concerning viewpoints, perceptions,

evaluations, and/or beliefs concerning NRATV communicated by the NRA to AMc, including but not

limited to, documents AMc contends evince “praise,” “support,” “approval,” or any other type of positive

affirmation for NRATV.

       RESPONSE:




REQUEST FOR PRODUCTION NO. 107:

       All documents and communications referring or relating to any analyses or assessments of the

actual or potential benefits or detriments of operating a live online broadcasting service in house versus

alternative mediums for distributing live online broadcasting content.

       RESPONSE:




REQUEST FOR PRODUCTION NO. 108:

       All documents and communications referring or relating to the employment, work, services, and

activities of Tamara (“Tammy”) Payne.

       RESPONSE:




                                                   11


                                                                                             APP. 02212
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REQUEST FOR PRODUCTION NO. 109:

       All budgets and business plans for NRATV, whether in draft form or otherwise.

       RESPONSE:




REQUEST FOR PRODUCTION NO. 110:

       All documents and communications referring or relating to key performance indicators (“KPIs”)

that Defendants used to measure the performance and success of NRATV, including but not limited to,

documents concerning any decision-making process about which KPIs to use or which KPIs not to use-

for what?

       RESPONSE:




REQUEST FOR PRODUCTION NO. 111:

       All documents and communications referring or relating to the raw data used to construct the

following table on the slide labeled “NRATV Talent Valuation By Tv Show | Valuation By Duration”

(Bates No. AMC-002772-002817), including but not limited to documents regarding the “media buying

prices based on 60s Buys in Q2 and Q3.”




                                                  12


                                                                                           APP. 02213
Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21                                                                                                                          Page 930 of 1087 PageID 31135

 NRATV TALENT VALUATION BY TV SHOW I VALUATION BY DURATION                                                                                            [ MASS MEDIA APPROACH I

                 PROGRAM                            NETWORK              DURATION OF CONTENT ISi                 ASSUMED VALUE PER SECOND'                 VALUATION
  Anderson Cooper 360                                   CNN                             405                                    $462.47                      $187,299.00
  CNN Townhall                                          CNN                             2016                                   $895.67                     $1.805,664.00
  Fox&Fnends                                          fi>,News                         5,795                                   S359.40                     $1,274,665.34

  Fox News at Ng,.t                                   fi>,News                          '39                                    $95270                       $322,965.30
  Hanlllty                                            r.,,New,                         13.454                                 $1.548.08                    $5,206,612.33

  -Angle                                              fi>,News                         6,881                                  Sl.274.33                     $894,783.20
  Justice w ith Judge Jeal'Wle                        H><News                           3,991                                  $507.53                      $209,611.27
  Loo Dobbs Tonight                                 Fox Business                        1.637                                  $49.54                       $18,354.47
  New Day                                               CNN                            1.004                                    $127.13                     $127,641.87
  The Story with Martha MacCallum                     r.,,New,                          m                                      $14 6.93                     $49,222 .67
  This Wool< with George Stephanopoulos                 ABC                             67'                                   $1,000.00                    $673,000.00
  Tu::ker Car1son                                     fi>,News                         5.967                                  $1,478.14                    $3,729 ,40 7.80
  Fox and FllQnds Satuday                             fi>,News                          895                                    $327.52                      $28,494.28
  Tucker Carlson                                      fi>,News                          361                                    $112.93                       $4,076.89

              GRAND TOTAL                                                             43,753                               5332.13 (avg.)                $14,531,798.42

        Note: v.tluu1on1nctudesonlylO'loat<l1t1fidnowledgedu N'RATVRep1es-ent.111vebutnotspeak1ngduectlyoniA1Srues.   •oer1vedlrommed~buytng pr1ces~on60SBUystnQl'-OdQ3


                                                                   January 1, 201!..,t.2,..october 3, 2018



               RESPONSE:




REQUEST FOR PRODUCTION NO. 112
               The raw data used to construct the slide labeled “Earned Media Valuation | Online Media

Publications” (Bates No. AMC-002772-002817), including but not limited to, supporting information

for “$2,500/mention” and “3,973 Online Mentions” and documents and communications regarding the

same.

EARNED MEDIA VALUATION I ONLINE MEDIA PUBLICATIONS                                                                                             [ MASS MEDIA APPROACH




      DIGITAL MEDIA
        PRESENCE
             (ESTIMATE D)


 3,973 ONLINE MENTIONS
                                                 X
                                                               VALUEPER MENTION
                                                                         ($/M EN TION)


                                                                               -
                                                                             IIASEDUIONCOS'TTOGET




                                                                      $2,500/MENTION
                                                                                                                      -             PRINT/DIGITAL
                                                                                                                                     VALUATION
                                                                                                                                                ($)


                                                                                                                                            $9.9 MM




                                                              January 1 ,    201~•.,t.2.5>ctober    3, 2018



               RESPONSE:



                                                                                                                                          13


                                                                                                                                                                                              APP. 02214
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REQUEST FOR PRODUCTION NO. 113
        The raw data used to construct the slide labeled “Monetization – Q3 2018” (Bates No. AMC-

002772-002817), including but not limited to, supporting information for “Revenue – Digital Efforts”,

“Revenue – NRA Store”, “Revenue – Phone Upsells” and documents and communications regarding the

same.



        MONETIZATION - Q3 2018                                                                                                                                                              1AM APPROACH 1

                                                                                                                                                                  REVENUE - DIGITAL EFFORTS•

                                                                                                        80%
          03 2018 MONETIZATION
                                                                            ---+--1ODA------                                                                          REVENUE - NRA STORE..




                                                                                                                                                                  REVENUE - PHONE UPSELLS-

                                                                                                          10°/o
              ' Dlgtl.11 Oforts began on ]nlW.IJ u,. mil. Truly focused effons were only limited to (e5,1. than :ui day5 (februily u , »:is t o Mud!,, 21ll(i which conl.llbuted OV!!f So'loof revenue-
                               '' NRA SlDII! merchandl51! !. odes efforu b!!gan on ~uy ;io, ail ' ''Phone Up5ell efforts began on ].iln1UJJ 21, mil, but halted on FebnlllJ' zl, 2UI.


                                                                             January 1, 201t_t,g,,9ctober 3, 2018



        RESPONSE:




REQUEST FOR PRODUCTION NO. 114:
        The raw data for “Owned Digital Platforms”, “Facebook”, Youtube, Twitter, Instagram” that is

noted as available on the left-hand side of following slide labeled “Appendix | Data Notes” (Bates No.

AMC-002772-002817).




                                                                                                                                14


                                                                                                                                                                                                             APP. 02215
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         APPENDIX I DATA NOTES

             DATA AVAIUBILJTY AND NOlIS                                                 ENGAIID VIEW IIAIITIJNS                                                   COMPlETED VD DEFINmONS

            OWNED DIGITAi. PLATFORMS NRATV, NRA Won.n                                   FACEBOOK ORGANIC: "'""'"""                                                FACEBOOK ORGANIC: '"'
             FACEBOOK ~ATV, ~A Womc,n.NlAI..A."                                         FACEBOOK PAID ""                                                          FACEBOOK PAID ""'
            Colion"br",NRAM-i."
                                                                                        TWITTER ORGANIC ""                                                        TWITTER ORGANIC """
            YQlJTUBE NRATV, NRA Wamen, NRA M.x,. Coian Nair"
                                                                                        TWITTER PAID ""                                                           TWITTER PAID """'
            TWITTER N>ATV
                                                                                        GOOGLE ANALYTl:S [NON-Om ,,,,                                             GOOGLE ANALYTICS CNON·OTTI """
             INSTAGRAM NRATV(poid-,Cd---
                                                                                        GOOGLE ANALYTl:S com ...........                                          GOOGLE ANALYTICS com """'
                                                                                        YOUTUBE , _                                                               YOUTUBE ....,.._
                                                                                        INSTAGRAM PAID ,,,,                                                       INSTAGRAM PAID """
                                                                                        INSTAGRAM ORGANIC .....,..,...                                            INSTAGRAM ORGANIC u....a.-


                             ~   NRA It.A raceboolt was prevtously named NRA Main ilnd refers to the «;rNaUonalRLfleAssocauon account The new, NRA Main raceboot ~•NRA) datasource was added 111 Jlll.8_
        • Please note tro t fat the NRA 11.A Faeeboat, new NRA Main Facebook, COilon NOit racehoot, and Gallon NOLt YOul\ibe d.iusowces - data 1scwrently up through August 15, 2011(NRAtand septembet 21, 20114(:ohon Na1Q.
                                                      •• f\ease note that llle new, NRA Ma LO racebooktalNRA>wasadded Jar 2018. Hlstor1cda..t.a was. 1101 reuoacuvelyback-populated




      RESPONSE:




REQUEST FOR PRODUCTION NO. 115:

      The raw data for all listed information on the following slide labeled “NRATV Video

Performance | YTD Q3 2018” (Bates No. AMC-002772-002817), including but not limited to, “13.1MM

completed views”, “41.8MM engaged views, “206.0MM total views”, “6.7MM reactions”, “3.0MM

shares” and “443k comments” and documents and communications concerning the same.




                                                                                                                           15


                                                                                                                                                                                                                               APP. 02216
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                        13.1 MM COMPLETED VIEWS'                                         41.B MM ENGAGED VIEWS*                                                   206.0MM TOTAL VIEWS



                    I           6.7 MM REACTIONS                                   ~               3.0 MM SHARES                                                              443 KCOMMENTS

                                                  "Note: ~,ces and dehn1t1ons of Eng.iged ,md completed V\ews on Noles Pase •Eni;:aged V1ews do not loclude YouTU.be or OTT
                                                                 tcompleted vtews do not tnclude YOlffilbe •• lDtl Includes the new. NRA M.aln F"aceboat data
                                   NUmbers provided do 0011ndude data from NRA. social outside of NRATV aftei 1VJS118 Exc:ludesanyv1ewersh1p dat.1 ue-d toAudlemeAamy 01 lean Medi.a l:uys..



                                                                                    Jan uary 1,      201!•..t.£nPctober       3, 2018



           RESPONSE:




REQUEST FOR PRODUCTION NO.116:

           For slide labeled, “YTD Q3 2018 Vs YTD Q3 2017” (Bates No. AMC-002772-002817), the raw

data to support all information listed, including but not limited to “Completed Views”, “Engaged

Views”, “Total Views” and “Engaged+, Non-YT Total Watch Duration (Min),” as well as all documents

and communications regarding the same in the slide referenced below

VTD 03 2018 vs VTD 03 2017                                                                                                           [ AM APPROACH 1


                  YTD 03 2018                                                                 YTD 03 2017
                              COMPLETEDVIEWS                                                  COMPLETED VIEWS
                               13,121,613                        87.0% _..                    7,016,477
                                ENGAGED VIEWS                                                 ENGAGED VIEWS
                              41,756,339                         80.2% _..                    23,167,226
                                   TOTALVIEWS                                                 TOTAL VIEWS
                            205,985,618                          50.9% _..                    136,547,012
    ENGAGED•, NON-YTTOTAL WATCH DURATION !MINI                                                ENGAGED•, NON-YTTOTALWATCH DURATION !MINI
                             59,750,689                          96.2% _..                    30,448,712

                           January 1, 2017 t o October 3, 2017,_.yJ,;January 1, 2018 to October 3, 2018



           RESPONSE:


                                                                                                                            16


                                                                                                                                                                                               APP. 02217
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REQUEST FOR PRODUCTION NO. 117:

       For slide labeled “Valuation Overview” (Bates No. AMC-002772-002817) below, the raw data

to support all information listed, including but not limited to, “Total Watch Duration (Sec)”, “Value Per

Second Watched (Sec)”, the regression analysis referenced and the calculation of “$0.003/S*,” as well

as all communications and documents regarding the same.

        VALUATION OVERVIEW                                                                                       I MASS MEDIA APPROACH I




          TOTAL WATCH                                        VALUE PER
            DURATION
                       (S EC)
         CAI..CUI..AlEOB"f!IGGREGAllNGUNE-81'-u,,,E
         U O { ~ l m lO'TAL. WATCH DURATlONS
         (Wddng~-TbtalYGW0-1.ar'J"")
                                                      X
                                                          SECOND WATCHED
                                                                        (SEC)
                                                           IIASEDUPONPRIORREGAESSION ANAl.l'SIS OF
                                                                 FllADSNANAGERCArAPCall>



                                                                   S0.003/S*
                                                               ·w,o MAX VALUE CAP
                                                                                                      --   ESTIMATED VALUE OF
                                                                                                           TIME WITH CONTENT
                                                                                                                    ($)

                                                                                                              S20,303,173.33
        6,767,724,444 SECS
                   1214.6 YEARS)




                                                           January 1, 201t..t.,2J)ctober 3, 2018



       RESPONSE:




REQUEST FOR PRODUCTION NO. 118:

       All documents and communications referring or relating to the strategy and tactics, as well as the

ultimate goals, for NRATV, that were developed prior to the launch of NRATV, including but not

limited to documents describing the process for selecting the specific shows to be filmed, produced and

televised on NRATV.

       RESPONSE:




                                                                                                     17


                                                                                                                                           APP. 02218
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REQUEST FOR PRODUCTION NO. 119:

       Produce the rental contracts for Alexandria, VA and Oklahoma City, OK office properties, as

well as any other office property rental contracts not produced to date.


RESPONSE:




REQUEST FOR PRODUCTION NO. 120:

       Produce the Commercial Sublease dated October 2, 2019, by and between AMc and

Innate.ly/New Planet Technologies, Inc.

       RESPONSE:




REQUEST FOR PRODUCTION NO. 121:

       Produce all records of payments made on all leased properties where NRA activities were

performed.

       RESPONSE:




REQUEST FOR PRODUCTION NO. 122:

       Produce justification / supporting documentation for allocation percentages applied on Exhibit 2

labeled, “Summary of Amounts Payable by AMc Related to Office Leases. Subsequent to the

Termination of the Services Agreement,” as referenced in the Jackson Expert Report of Daniel L.

Jackson, dated January 7, 2020.

       RESPONSE:


                                                    18


                                                                                           APP. 02219
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REQUEST FOR PRODUCTION NO. 123:

         Produce the “A-1 Freeman Moving & Storage invoice for $60,157” referenced in the Expert

Report of Daniel L. Jackson, dated January 7, 2020.

         RESPONSE:




REQUEST FOR PRODUCTION NO. 124:

         All documents and communications referring or relating to the development of the Carry Guard

brand.

         RESPONSE:




REQUEST FOR PRODUCTION NO. 125:

         All documents and communications referring or relating to the Carry Guard training platform.

         RESPONSE:




REQUEST FOR PRODUCTION NO. 126:

         All documents and communications referring or relating to the Carry Guard media strategy.

         RESPONSE:




                                                   19


                                                                                           APP. 02220
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REQUEST FOR PRODUCTION NO. 127:

       All documents and communications referring or relating to the Carry Guard customer acquisition

and sales strategy.


       RESPONSE:




REQUEST FOR PRODUCTION NO. 128:

       All documents and communications referring or relating to the performance management of the

Carry Guard program.


       RESPONSE:




REQUEST FOR PRODUCTION NO. 129:

       All presentation and reports delivered to the NRA regarding the Carry Guard program.


       RESPONSE:




REQUEST FOR PRODUCTION NO. 130:

       All documents and communications referring or relating to data AMc maintained regarding

celebrity brand awareness such as scores and social media following, including but not limited to,

documents and data provided by third party reports such as Q Score.

       RESPONSE:



                                                   20


                                                                                             APP. 02221
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REQUEST FOR PRODUCTION NO. 131:

The NRA-account documents that AMc relied upon and performed to, by year, for the annual budget.

       RESPONSE:




REQUEST FOR PRODUCTION NO. 132:

       Produce an organizational chart for AMc describing the owner relationships between legal entities

in the corporate family of AMc, including but not limited to, ownership lines and percentages, all

subsidiaries and corporate forms.

       RESPONSE:




REQUEST FOR PRODUCTION NO. 133:

       Documents showing all personnel, including their titles, departments and salaries, employed by

AMc at the end of each calendar year.

       RESPONSE:




REQUEST FOR PRODUCTION NO. 134:

       All documents and communications referring or relating to the data from “AMc employment

records” used to construct Exhibit 5 of the "Expert Report of Daniel L. Jackson” dated January 7, 2020.

       RESPONSE:




                                                  21


                                                                                            APP. 02222
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REQUEST FOR PRODUCTION NO. 135:

       For each year from 2015 – 2019, documents or data that show the total number of hours spent on

NRA account activities and the total number of hours spent on all activities at Ackerman McQueen for

each employee listed in Exhibit 5 to the Jackson. Report details should be provided in excel or native

format, or via username access to electronic records, such that NRA project details are available for all

employee hours billed to the NRA.

       RESPONSE:




REQUEST FOR PRODUCTION NO. 136:

       All documents referring or relating to Vox Media, LLC journalist Dylan Matthews’s 08/03/18

article entitled, “The National Rifle Association, America's most powerful lobby, claims it’s in financial

crisis. What?," including but not limited to, documents and communications concerning outlining steps

taken by AMc, as agent of the NRA, to identify the “anonymous source at AMc” who provided the

confidential information to Vox Media, LLC.

       RESPONSE:




REQUEST FOR PRODUCTION NO. 137:

       All documents referred to in or relied on by the “Expert Report of Daniel L. Jackson” dated January

7, 2020.

       RESPONSE:




                                                   22


                                                                                             APP. 02223
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REQUEST FOR PRODUCTION NO. 138:

       Documents that show the office locations and production studios operated in part or in whole for

AMc’s Branded News subsidiary.

       RESPONSE:




REQUEST FOR PRODUCTION NO. 139:

       Documents that show the clients managed by AMc’s Branded News subsidiary from 2000-2019.

       RESPONSE:




REQUEST FOR PRODUCTION NO. 140:

       All documents referring or relating to, and including, communications between and among AMc

and Dan Boren regarding the NRA, after January 1, 2016.

       RESPONSE:




REQUEST FOR PRODUCTION NO. 141:

       All documents referring or relating to, and including, communications between and among AMc

and David Lehman regarding the NRA, after January 1, 2015.


       RESPONSE:




                                                  23


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REQUEST FOR PRODUCTION NO. 142:

       All documents referring or relating to, and including, communications between and among AMc

and Steven Hart regarding the NRA, after January 1, 2017.

       RESPONSE:



REQUEST FOR PRODUCTION NO. 143:

       All documents referring or relating to, and including, communications between and among AMc

and Chris Cox regarding the NRA, after January 1, 2019.

       RESPONSE:



REQUEST FOR PRODUCTION NO. 144:

       All documents referring or relating to, and including, communications between and among AMc

and Oliver North regarding the NRA, after January 1, 2018.

       RESPONSE:



REQUEST FOR PRODUCTION NO. 145:

       All documents referring or relating to, and including, communications between and among AMc

and Lance Olson regarding the NRA, after January 1, 2015.

       RESPONSE:




                                                 24


                                                                                       APP. 02225
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REQUEST FOR PRODUCTION NO. 146:

       All documents referring or relating to, and including, communications between and among AMc

and any NRA Board members regarding the NRA, after January 1, 2015.

       RESPONSE:




REQUEST FOR PRODUCTION NO. 147:

       Documents that show Ackerman’s gross revenue throughout 2012, 2013, 2014, 2015, 2016,

2017, 2018 and 2019, on a monthly basis.


       RESPONSE:




REQUEST FOR PRODUCTION NO. 148:

       All documents and communications referring or relating to letters sent by William Winkler to

Craig Spray, Wayne LaPierre and Tyler Schropp on April 22, 2019.


       RESPONSE:




REQUEST FOR PRODUCTION NO. 149:

       Documents to show the services category attributable to invoices of A-E, as outlined in Section I

of the Services Agreement.


       RESPONSE:




                                                  25


                                                                                            APP. 02226
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REQUEST FOR PRODUCTION NO. 150:

       All documents and communications referring or relating to any vendor who provides goods or

services to the NRA, including AMc, in which Oliver North maintains any ownership interest, manages,

operates or controls.


       RESPONSE:



REQUEST FOR PRODUCTION NO. 151:

       All documents and communications referring or relating to any vendor who provides goods or

services to the NRA, other than AMc, in which Revan McQueen maintains any ownership interest,

manages, operates or controls.


       RESPONSE:



REQUEST FOR PRODUCTION NO. 152:

       All documents and communications referring or relating to any vendor who provides goods or

services to the NRA, other than AMc, in which Anthony Makris maintains any ownership interest,

manages, operates or controls.


         RESPONSE:




                                                 26


                                                                                        APP. 02227
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REQUEST FOR PRODUCTION NO. 153:

       All documents and communications referring or relating to any vendor who provides goods or

services to the NRA, other than AMc, in which Nader Tavangar maintains any ownership interest,

manages, operates or controls.


        RESPONSE:



REQUEST FOR PRODUCTION NO. 154:

       All documents and communications referring or relating to any vendor who provides goods or

services to the NRA, other than AMc, in which Edmund Martin maintains any ownership interest,

manages, operates or controls.


       RESPONSE:




REQUEST FOR PRODUCTION NO. 155:

       All documents and communications referring or relating to any vendor who provides goods or

services to the NRA, other than AMc, in which Bill Powers maintains any ownership interest, manages,

operates or controls.


       RESPONSE:




                                                 27


                                                                                        APP. 02228
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REQUEST FOR PRODUCTION NO. 156:

       All documents and communications referring or relating to any vendor who provides goods or

services to the NRA, other than AMc, in which Lacey Duffy-Cremer maintains any ownership interest,

manages, operates or controls.


       RESPONSE:




REQUEST FOR PRODUCTION NO. 157:

       All documents and communications referring or relating to any vendor who provides goods or

services to the NRA, other than AMc, in which Melanie Montgomery maintains any ownership interest,

manages, operates or controls.


       RESPONSE:



REQUEST FOR PRODUCTION NO. 158:

       All documents and communications referring or relating to any vendor who provides goods or

services to the NRA, other than AMc, in which Brandon Winkler maintains any ownership interest,

manages, operates or controls.


       RESPONSE:




                                                28


                                                                                        APP. 02229
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REQUEST FOR PRODUCTION NO. 159:

       All documents and communications referring or relating to any vendor who provides goods or

services to the NRA, other than AMc, in which William Winkler maintains any ownership interest,

manages, operates or controls.


       RESPONSE:



REQUEST FOR PRODUCTION NO. 160:

       All documents and communications referring or relating to any vendor who provides goods or

services to the NRA, other than AMc, in which Carl Warner maintains any ownership interest, manages,

operates or controls.


       RESPONSE:



REQUEST FOR PRODUCTION NO. 161:

       All documents and communications referring or relating to any vendor who provides goods or

services to the NRA, other than AMc, in which Jesse Greenberg maintains any ownership interest,

manages, operates or controls.


       RESPONSE:




                                                 29


                                                                                         APP. 02230
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REQUEST FOR PRODUCTION NO. 162:

       All documents and communications referring or relating to any vendor who provides goods or

services to the NRA, other than AMc, in which Henry Martin maintains any ownership interest,

manages, operates or controls.


       RESPONSE:



REQUEST FOR PRODUCTION NO. 163:

       All documents and communications referring or relating to any vendor who provides goods or

services to the NRA, other than AMc, in which Kyle Millar maintains any ownership interest, manages,

operates or controls.


       RESPONSE:



REQUEST FOR PRODUCTION NO. 164:

       All documents and communications referring or relating to any vendor who provides goods or

services to the NRA, other than AMc, in which David Valinski maintains any ownership interest,

manages, operates or controls.


       RESPONSE:



REQUEST FOR PRODUCTION NO. 165:

       All documents referring or relating to the production and management of Shale.tv (http://shale.tv)

by AMc.

       RESPONSE:

                                                  30


                                                                                            APP. 02231
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REQUEST FOR PRODUCTION NO. 166:

        All documents and communications referring or relating to viewership analytics (defined as any

analysis or presentation of viewership numbers, including but not limited to, any analysis or presentation

of viewership metrics, viewership data, viewership analytics, and/or viewership statistics) for Shale.tv

(http://shale.tv).

        RESPONSE:




REQUEST FOR PRODUCTION NO. 167:

        All documents referring or relating to the production and management of OklaTravelNet.com by

AMc.

        RESPONSE:




REQUEST FOR PRODUCTION NO. 168:

        All documents and communications referring or relating to viewership analytics (defined as any

analysis or presentation of viewership numbers, including but not limited to, any analysis or presentation

of viewership metrics, viewership data, viewership analytics, and/or viewership statistics) for

OklaTravelNet.com.

        RESPONSE:




                                                   31


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REQUEST FOR PRODUCTION NO. 169:

       All documents referring or relating to the production and management of EnergyNewsLive.com

by AMc.

          RESPONSE:



REQUEST FOR PRODUCTION NO. 170:

       All documents and communications referring or relating to viewership analytics (defined as any

analysis or presentation of viewership numbers, including but not limited to, any analysis or presentation

of viewership metrics, viewership data, viewership analytics, and/or viewership statistics) for

EnergyNewsLive.com.

       RESPONSE:




REQUEST FOR PRODUCTION NO. 171:

       All documents referring or relating to the production and management of "6FL," or Six Flags Live

by AMc.

       RESPONSE:




REQUEST FOR PRODUCTION NO. 172:

       All documents and communications referring or relating to viewership analytics (defined as any

analysis or presentation of viewership numbers, including but not limited to, any analysis or presentation

of viewership metrics, viewership data, viewership analytics, and/or viewership statistics) for "6FL," or

Six Flags Live.


                                                   32


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        RESPONSE:




REQUEST FOR PRODUCTION NO. 173:

        All documents and communications referring or relating to any audits of or accounting of AMc

services by any of its clients.

        RESPONSE:




REQUEST FOR PRODUCTION NO. 174:

        All documents and communications referring or relating to AMc’s loans, borrowings or other

financial relationships.

        RESPONSE:



REQUEST FOR PRODUCTION NO. 175:

        All documents and communications referring or relating to clothing stores where AMc maintains

corporate accounts whose services are obtained by AMc and passed on, directly or indirectly, to the NRA.

        RESPONSE:



REQUEST FOR PRODUCTION NO. 176:

        All documents and communications referring or relating to makeup artists, including but not

limited to makeup artists located in Nashville, TN, whose services are obtained by AMc and passed on,

directly or indirectly, to the NRA.

        RESPONSE:




                                                  33


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REQUEST FOR PRODUCTION NO. 177:

       All documents and communications referring or relating to any lawyers, accountants, and any other

professional service firms whose services are obtained by AMc and passed on, directly or indirectly, to

the NRA.

       RESPONSE:



REQUEST FOR PRODUCTION NO. 178:

       All documents and communications referring or relating to any restaurants, clubs, concierge

services obtained by AMc and passed on, directly or indirectly, to the NRA.

       RESPONSE:



REQUEST FOR PRODUCTION NO. 179:

       All documents and communications referring or relating to any and all limousine or chauffeur

services obtained by AMc and passed on, directly or indirectly, to the NRA.

       RESPONSE:



REQUEST FOR PRODUCTION NO. 180:

       All documents and communications referring or relating to any and all security services obtained

by AMc and passed on, directly or indirectly, to the NRA.

       RESPONSE:




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REQUEST FOR PRODUCTION NO. 181:

       All documents and communications referring or relating to any and all philanthropic and not-for-

profit entities in which AMc has invested on behalf of the NRA that was passed on, directly or indirectly,

to the NRA.

       RESPONSE:



REQUEST FOR PRODUCTION NO. 182:

       All documents and communications referring or relating to Youth for Tomorrow and the Women’s

Leadership Forum in which AMc has invested on behalf of the NRA that was passed on, directly or

indirectly, to the NRA.

       RESPONSE:




REQUEST FOR PRODUCTION NO. 183:

       All documents and communications referring or relating to travel and entertainment by Angus

McQueen, Revan McQueen, Anthony Makris, Oliver North, Nadar Tavangar, Edmund Martin, William

Powers, Lacey Duffey-Cremer, Melanie Montgomery, Brandon Winkler, William Winkler, Carl Warner,

Jesse Greenberg, Henry Martin, Kyle Millar, and David Valinski that were billed, directly or indirectly,

to the NRA.

       RESPONSE:




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REQUEST FOR PRODUCTION NO. 184:

       All documents and communications referring or relating to the identity of family members or

extended family by third degree of separation that work for AMc currently and that worked for the NRA

in any period in the past.

       RESPONSE:



REQUEST FOR PRODUCTION NO. 185:

       All documents and communications referring or relating to any regular providers of food, drink,

cigars, alcohol, and other substances obtained by AMc personnel that were billed, directly or indirectly,

to the NRA.

       RESPONSE:



REQUEST FOR PRODUCTION NO. 186:

       All documents and communications referring or relating to in any way to tangible or intangible

assets obtained by AMc whose acquisition cost or maintenance costs were billed, directly or indirectly, to

the NRA.

       RESPONSE:



REQUEST FOR PRODUCTION NO. 187:

       All documents and communications referring or relating to any communications with

spokespeople whose services were obtained by AMc and billed, directly or indirectly, to the NRA.

       RESPONSE:




                                                   36


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REQUEST FOR PRODUCTION NO. 188:

       All documents and communications referring or relating to any communications regarding

fundraising activities organized by AMc, including but not limited to Anthony Makris, and billed, directly

or indirectly, to the NRA.

       RESPONSE:




REQUEST FOR PRODUCTION NO. 189:

       All documents and communications referring or relating to other contracts for services obtained

by AMc for the benefit of the NRA and billed, directly or indirectly, to the NRA.

       RESPONSE:




REQUEST FOR PRODUCTION NO. 190:

       All documents and communications related to annual audit and audit process of AMc’s financial

statements.

       RESPONSE:




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Original Date: February 3, 2020
Revised Date: February 25, 2020          Respectfully submitted,

                                        BREWER, ATTORNEYS & COUNSELORS


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                                        ATTORNEYS FOR THE PLAINTIFF COUNTER-
                                        DEFENDANT NATIONAL RIFLE ASSOCIATION
                                        OF AMERICA




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                                CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing document was electronically

 served via the Court’s electronic case filing system upon all counsel of record on this 25th day

 of February 2020




                                             /s/ Jason C. McKenney
                                             Jason C. McKenney




                                                                                         APP. 02240
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                      EXHIBIT 79




                                                                       APP. 02241
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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

   NATIONAL RIFLE ASSOCIATION OF        §
   AMERICA,                             §
                                        §
       Plaintiff and Counter-Defendant, §
                                        §
   and                                  §
                                        §
       WAYNE LAPIERRE,                  §
                                        §
       Third-Party Defendant,           §
                                        §
   v.                                   §                    Case No. 3:19-cv-02074-G
                                        §
   ACKERMAN MCQUEEN, INC.,              §
                                        §
       Defendant and Counter-Plaintiff, §
                                        §
   and                                  §
                                        §
   MERCURY GROUP, INC., HENRY           §
   MARTIN, WILLIAM WINKLER,             §
   MELANIE MONTGOMERY, AND JESSE §
   GREENBERG,                           §
                                        §
       Defendants.

             DEFENDANTS’ OBJECTIONS AND RESPONSES TO PLAINTIFF’S
                 SECOND SET OF REQUESTS FOR PRODUCTION OF
                                DOCUMENTS

   TO:    Plaintiff National Rifle Association of America by and through their attorneys of record,
          Michael J. Collins, Brewer Attorneys and Counselors, 1717 Main Street, Suite 5900,
          Dallas, Texas 75201

          Defendants Ackerman McQueen, Inc. and Mercury Group, Inc. (collectively,

   “Defendants”) by and through their undersigned counsel submit their responses and objections to

   Plaintiff National Rifle Association’s (the “NRA”), Second Set of Requests for Production of

   Documents.


   DEFENDANTS’ OBJECTIONS AND RESPONSES TO PLAINTIFF’S SECOND REQUESTS FOR PRODUCTION       PAGE 1
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                                      GENERAL OBJECTIONS

         As an objection to each of the Requests for Production of Documents by Plaintiff,
   Defendants assert the following objections:

          1.      Defendants’ objections are made without waiving or intending to waive, but on the
   contrary, intending to preserve and preserving:

              a. All questions as to competency, relevancy, materiality, privilege and admissibility
                 as evidence for any purpose of the answers or responses or subject matter thereof,
                 in any subsequent proceedings in, or the trial of, this or any other action;

              b. The right to object on any ground to the use of said answers or responses or the
                 subject matter thereof, in any subsequent proceeding and in the trial of this or any
                 other action; and

              c. The right to object on any ground at any time to other discovery requests or other
                 discovery procedures involving or relating to the subject of these discovery
                 requests.

           2.      Defendants object to each and every definition, instruction, and request for
   production to the extent that it purports to impose any requirement or discovery obligation upon
   Defendants other than those set forth in the FEDERAL RULES OF CIVIL PROCEDURE, any applicable
   local rule of the Northern District of Texas, or any other applicable statute, rule, or common-law
   principle. Defendants further object to the terms “AMc” as overly broad and unduly burdensome.
   The inclusion of “agents,” “contractors,” and “others acting on their behalf” makes the request
   overbroad and would require Defendants to seek documents outside its possession, custody or
   control. Accordingly, Defendants’ responses to the Requests will define the terms “AMc” to mean
   Defendant Ackerman McQueen, Inc., Mercury Group, Inc., and any of their officers, directors, or
   employees.

          3.      Defendants object to the Requests to the extent that they seek a response,
   information, or documents based upon information not in the possession, custody, or control of
   Defendants.

          4.      Defendants object to each Request that is vague, ambiguous, overbroad and unduly
   burdensome, or seeks information neither relevant to the claim or defense of any party nor
   reasonably calculated to lead to the discovery of admissible evidence.

           5.     Defendants object to each and every definition, instruction, and request for
   production to the extent it seeks information protected by the attorney-client privilege, the work-
   product doctrine, the common-interest defense doctrine, or any other evidentiary privilege
   available under applicable law. The inadvertent disclosure of any information subject to such
   privileges and protections is not intended to relinquish any privilege or protection and shall not be
   deemed to be a waiver of any applicable privilege or protection.




   DEFENDANTS’ OBJECTIONS AND RESPONSES TO PLAINTIFF’S SECOND REQUESTS FOR PRODUCTION           PAGE 2
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           6.     Defendants object to each Request that seeks to ascribe meanings to words that are
   beyond or different from their ordinary and commonly understood meanings. Defendants do not
   agree to be bound by any of the requirements of any Request that extend(s) beyond, among other
   boundaries and limitations, the ordinary and commonly understood meanings of words or terms
   or the FEDERAL RULES OF CIVIL PROCEDURE, as applicable.

           7.      Defendants object to each Request that seeks the production of confidential,
   sensitive, trade secret, or proprietary business or financial documents, information, or data of
   Defendants, its clients, or its affiliates (“confidential documents”). To the extent any such
   confidential documents are responsive to any Request and are non-privileged, Defendants object
   to production of such documents except pursuant to an agreement among counsel or entered by
   the Court to restrict the use of such information or documents and to maintain their confidentiality,
   unless otherwise objectionable.

          8.     Defendants object to each Requests that seeks disclosure of documents from
   January 1, 2015 to present as overly broad and unduly burdensome. Unless specifically set forth
   below, Defendants will produce responsive non-privileged documents from January 1, 2018 to the
   commencement of this lawsuit.

           9.     Defendants object to the Requests on the grounds that they seek to impose
   obligations not imposed by law and subject Defendants to unreasonable burden and expense,
   including, but not limited to, organizing and labeling the documents to correspond with the
   numbered Requests to which they are responsive.

           10.     Defendants object to each Request as overly broad and unduly burdensome to the
   extent that it seeks “All Documents” and/or “All Communications” relating to a given subject
   matter. Such Request is improper under Federal Rule of Civil Procedure 34 and contrary to the
   proportionality mandate in Federal Rule of Civil Procedure 26(b)(1). See Nerium SkinCare, Inc.
   v. Olson, No. 3:16-cv-1217-B, 2017 U.S. Dist. LEXIS 7986, at *22-23 (N.D. Tex. Jan. 20, 2017)
   (finding request for “all documents” overbroad and ultimately narrowing the scope); Gondola v.
   USMD PPM, LLC, 223 F. Supp. 3d 575, 586 (N.D. Tex. 2016) (sustaining objection that “all
   documents” interrogatory was an overbroad “blockbuster interrogatory”); TWP Dev., LLP v. 1-8—
   Flowers.Com, Inc., No. 2:11-CV-248-JRG-RSP, 2013 U.S. Dist. LEXIS 101781 (E.D. Tex. Jul.
   19, 2013) (denying motion to compel concerning request for ”all documents” relating to a
   particular topic). Defendants will make a diligent, good faith search of files identified as most
   likely to contain documents responsive to the Requests and will produce responsive, non-
   privileged discovery material located in connection therewith. If any discovery material is
   inadvertently overlooked in the course of such search, such discovery material will be produced
   when located, subject to the objections set forth herein.

           11.     Discovery in this lawsuit is still in its early stages. Defendants will respond to these
   Requests based on its current knowledge, information, belief, and diligent investigation. It is
   possible that further investigation, discovery, analysis, legal research and/or preparation may result
   in the discovery of additional information or documentation, or provide additional meaning to
   known information or documentation, or establish additional or new factual conclusions or legal
   contentions, all of which may result in the modification of these responses and objections.
   Accordingly, Defendants reserve the right, but do not assume the obligation, to modify their

   DEFENDANTS’ OBJECTIONS AND RESPONSES TO PLAINTIFF’S SECOND REQUESTS FOR PRODUCTION              PAGE 3
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  responses and objections, based upon subsequently ascertained or developed information,
  documentation, facts and/or contentions. Defendants reserve the right to supplement these
  responses if additional relevant information is obtained.

          12.    These Objections are incorporated by reference into each of the Specific Objections
  set forth below. The articulation of Specific Objections is not intended to be, and shall not be
  deemed to be, a waiver of these Objections. The articulation of neither these Objections nor the
  Specific Objections is not intended to be, and shall not be deemed to be, a waiver of any other
  general or specific objections either made in this document or that may be asserted in the future.

         13.      In addition, in responding to the Requests, Defendants do not concede the import
  of any misleading statement, false premise, inaccurate assumption, or mischaracterization of facts.
  Defendants’ responses do not constitute an admission that any facts or allegations made in the
  requests are true.

         Subject to and without waiving these Objections, Defendants respond as follows:

                        RESPONSES TO REQUESTS FOR PRODUCTION

  REQUEST FOR PRODUCTION NO. 82: All files and books and records concerning matters

  covered under the Services Agreement dated April 30, 2017 (as amended May 6, 2018), as required

  under Section VIII.

         RESPONSE:

         Defendants object to this Request as overly broad, unduly burdensome, vague, and not
         reasonably relevant to any party’s claim or defense and the proportional needs of the case.
         The Request, as constructed, appears to request any file, book, or record, relating to the
         NRA. This alone could potentially implicate large volumes of documents unrelated to the
         subject matter of this case and disproportionately burdensome to collect. But the use of
         the phrase “concerning” makes the request even less manageable. Including the phrase “as
         required under Section VIII” further complicates and confuses the request because this
         clause simply authorizes examinations and thus fails to impose a reasonable limitation on
         the request. Moreover, Section VIII does not require the production of any documents, so
         it cannot be used as a justification for a document production request. Defendants object
         to the Request because it was apparently formulated without regard to the documents that
         Plaintiff has already received in discovery. To date, Defendants have turned over more
         than 60,000 pages of documents in the Virginia Action which provide documents
         concerning and relating to the Services Agreement.

  REQUEST FOR PRODUCTION NO. 83: All documents and communications referring or

  relating to invoices or billing requests provided by Defendants to the NRA, including but not

  limited to, any and all backup documentation, substantiation, justification, and supporting

  DEFENDANTS’ OBJECTIONS AND RESPONSES TO PLAINTIFF’S SECOND REQUESTS FOR PRODUCTION          PAGE 4
                                                                                              APP. 02245
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  documentation.

           RESPONSE:

           Defendants object to this Request as overly broad, unduly burdensome, vague, and not
           reasonably relevant to any party’s claim or defense and the proportional needs of the case.
           The phrase “[a]ll documents and communications referring or relating” in this context lacks
           any kind of reasonable limitation and potentially implicates large volumes of documents
           unrelated to the subject matter of this case and disproportionately burdensome to collect.
           While certain non-privileged communications and related documentation may be within
           the scope of discovery, the request as constructed, is flawed. Additionally, to the extent
           that this request seeks documents already “provided by Defendants to the NRA,” it is
           objectionable on the grounds that the information is already in the NRA’s possession.
           Defendants further object that this request is duplicative of discovery requests previously
           served, including but not limited to Request for Production 17, 21, and 25 and refer Plaintiff
           to Defendants’ responses to same.

  REQUEST FOR PRODUCTION NO. 84: All documents referring or relating to time records

  or time logs for all AMc employees who worked on the NRA account, including all data stored by

  AMc through third-party providers, including but not limited to, information contained on web-

  based project management software, Workamajig.

           RESPONSE:

           Defendants object to this Request as overly broad, unduly burdensome, vague, and not
           reasonably relevant to any party’s claim or defense and the proportional needs of the case.
           The phrase “All documents referring or relating” in this context lacks any kind of
           reasonable limitation and potentially implicates large volumes of documents unrelated to
           the subject matter of this case and disproportionately burdensome to collect. Defendant
           further objects because it has already produced “time records or time logs for all AMc
           employees who worked on the NRA account” in the Virginia Action.1 These include a
           717-page print out via Workamajig software that contains the time records and over 10,000
           pages in time sheets, and this information has not changed The phrase “all data stored by
           AMc through third-party providers” is also overly broad for the reasons set forth in
           Defendants’ Motion to Quash Third Party Subpoena on Workamajig.



  1
    National Rifle Association of America v. Ackerman McQueen, Inc., et al., Civil Case No. CL19001757, pending in
  the Circuit Court for the City of Alexandria, Virginia (filed on April 12, 2019); National Rifle Association of America
  v. Ackerman McQueen, Inc., et al., Civil Case No. CL19002067, pending in the Circuit Court for the City of
  Alexandria, Virginia (filed on May 22, 2019); National Rifle Association of America v. Ackerman McQueen, Inc., et
  al., Civil Case No. CL19002886, pending in the Circuit Court for the City of Alexandria, Virginia (filed on September
  5, 2019) (collectively the “Virginia Action”).

  DEFENDANTS’ OBJECTIONS AND RESPONSES TO PLAINTIFF’S SECOND REQUESTS FOR PRODUCTION                            PAGE 5
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  REQUEST FOR PRODUCTION NO. 85: All documents and communications referring or

  relating to the daily time records or time logs for all AMc employees who worked on the NRA

  account produced in response to Request No. 84 above, including specifically information to

  identify all project descriptions for each time record or time log, and categories of billable services

  as defined in Section I of the Services Agreement.

         RESPONSE:

         Defendants object to this Request as overly broad, unduly burdensome, vague, and not
         reasonably relevant to any party’s claim or defense and the proportional needs of the case.
         The phrase “All documents and communications referring or relating” in this context lacks
         any kind of reasonable limitation and potentially implicates large volumes of documents
         unrelated to the subject matter of this case and disproportionately burdensome to collect.
         Defendant further objects because it has already produced “time records or time logs for
         all AMc employees who worked on the NRA account” in the Virginia Action. These
         include a 717-page print out via Workamajig software that contains the time records and
         over 10,000 pages in time sheets. Defendants further object because the final clause of the
         request, which begins with “specifically information to identify…,” appears to attempt to
         impose on AMc document-collection and/or document-creation obligations not required
         under the Rules.

  REQUEST FOR PRODUCTION NO. 86: All documents referring or relating to AMc company

  policies, including but not limited to employee handbooks, employee reference guides, and any

  other similar documents.

         RESPONSE:

         Defendants object to this Request as overly broad, unduly burdensome, vague, and not
         reasonably relevant to any party’s claim or defense and the proportional needs of the case.
         The phrase “All documents referring or relating” in this context lacks any kind of
         reasonable limitation and potentially implicates large volumes of documents unrelated to
         the subject matter of this case and disproportionately burdensome to collect. Defendants
         further object to this Request because the documents explicitly requested are not relevant
         to the subject matter of the lawsuit. The request is designed to harass the Defendants and
         fish into other areas to oppress the Defendant, and further, appears to be an attempt by the
         Brewer Firm to gain access to proprietary data of the Defendants about their work and is
         not related to any valid issue in this litigation. Defendants are prepared to meet and confer
         to receive any rationale for why these requested documents should be produced in this case.
         Defendants further object to this request to the extent that it is duplicative of discovery
         requests previously served, including but not limited to Request for Production 20.

  DEFENDANTS’ OBJECTIONS AND RESPONSES TO PLAINTIFF’S SECOND REQUESTS FOR PRODUCTION             PAGE 6
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  REQUEST FOR PRODUCTION NO. 87: All documents referring or relating to complaints

  about AMc, including but not limited to its services, officers, and executives from any sources.

         RESPONSE:

         Defendants object to this Request as overly broad, unduly burdensome, vague, and not
         reasonably relevant to any party’s claim or defense and the proportional needs of the case.
         The phrases “All documents referring or relating” and “any sources” in this context lack
         any kind of reasonable limitation. Moreover, the term “complaints” is vague and therefore
         needs additional clarification. The request is designed solely to harass the Defendants and
         fish into other areas solely to oppress the Defendant. Defendants further object to this
         request to the extent that it is duplicative of discovery requests previously served, including
         but not limited to Request for Production 59.

  REQUEST FOR PRODUCTION NO. 88: Documents to show a list of all AMc projects or

  services that were billed to the NRA as “Other Projects” as defined in Section II.E of the Services

  Agreement, including but not limited to, such “Other Projects” for which no specific agreement

  was made and for which AMc charged a fair market value price for the work performed.

         RESPONSE:

         Defendants object to this Request as overly broad, unduly burdensome, vague, and not
         reasonably relevant to any party’s claim or defense and the proportional needs of the case.
         Defendants further object because the phrase “Documents to show a list” appears to attempt
         to impose on AMc document-collection and/or document-creation obligations not required
         under the Rules. Defendants do not need to produce documents that do not exist.
         Defendants further object because it is unclear what information the NRA wants on the
         “list” that it is requesting.

  REQUEST FOR PRODUCTION NO. 89: All documents and communications referring or

  relating to backup, substantiation, support and justification relied on in assessing and determining

  the “fair market value” of the projects listed in response to Request No. 88 above.

         RESPONSE:

         Defendants object to this Request as overly broad, unduly burdensome, vague, and not
         reasonably relevant to any party’s claim or defense and the proportional needs of the case.
         The phrase “All documents and communications referring or relating” in this context lacks
         any kind of reasonable limitation and potentially implicates large volumes of documents
         unrelated to the subject matter of this case and disproportionately burdensome to collect.


  DEFENDANTS’ OBJECTIONS AND RESPONSES TO PLAINTIFF’S SECOND REQUESTS FOR PRODUCTION            PAGE 7
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         Defendants further object to this because it relies on the creation of a “list” which is not
         appropriate through this discovery tool. Defendants further object because it inaccurately
         assumes certain steps in relation to fair market value determinations. Since Defendants
         object to the creation of a list in response to No. 88, it follows that there are no documents
         to back up that list. Defendants further object to this Request to the extent that it is
         duplicative of discovery requests previously served, including but not limited to Request
         for Production 17, 21, 25, and 83, and refer Plaintiff to Defendants’ responses to same.

  REQUEST FOR PRODUCTION NO. 90: All documents and communications referring or

  relating to “Special Assignments” as defined in Section III.D of the Services Agreement that were

  billed to the NRA, and for which AMc determined could not be “reasonably be included under the

  monthly fee.”

         RESPONSE:

         Defendants object to this Request as overly broad, unduly burdensome, vague, and not
         reasonably relevant to any party’s claim or defense and the proportional needs of the case.
         The phrase “All documents and communications referring or relating” in this context lacks
         any kind of reasonable limitation and potentially implicates large volumes of documents
         unrelated to the subject matter of this case and disproportionately burdensome to collect.
         Defendants have already produced many documents that relate to “Special Assignments”
         and many more such documents were provided to the NRA during the parties’ contractual
         period. Defendants further object to this request to the extent that it is duplicative of
         discovery requests previously served, including but not limited to Request for Production
         17, 21, 25, and 83.

         Subject to and without waiving the foregoing objections, following a reasonably diligent
         search, Defendants will produce non-privileged documents responsive to this Request at a
         mutually agreeable time and place.

  REQUEST FOR PRODUCTION NO. 91: For each “special assignment,” provide all documents

  related to the special assignment, procedures related to the special assignment, and all backup

  information for the monthly fee that was approved or agreed upon

         RESPONSE:

         Defendants incorporate by reference the response to No. 90. Defendants object to this
         Request as overly broad, unduly burdensome, vague, and not reasonably relevant to any
         party’s claim or defense and the proportional needs of the case. The terms “procedures”
         and “backup information” are unclear in this context. Defendants further object because
         the Request contains factual assumptions of “approved or agreed upon” are contradicted


  DEFENDANTS’ OBJECTIONS AND RESPONSES TO PLAINTIFF’S SECOND REQUESTS FOR PRODUCTION           PAGE 8
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         by the Services Agreement clause upon which the Request relies. Defendants object to the
         Request because it was apparently formulated without regard to the documents that
         Plaintiffs have already received in discovery. To date, Defendants have turned over more
         than 60,000 pages of documents in the Virginia Action which provide many documents
         concerning and relating to special assignments. Defendants further object to this request
         to the extent that it is duplicative of discovery requests previously served, including but not
         limited to Request for Production 17, 21, 25, and 83.

  REQUEST FOR PRODUCTION NO. 92: Documents which list all “Jobs”, as defined in Section

  I.B. of the Services Agreement, that were billed to the NRA.

         RESPONSE:

         Defendants object to this Request as overly broad, unduly burdensome, vague, and not
         reasonably relevant to any party’s claim or defense and the proportional needs of the case.
         The word “all” in this context lacks any kind of reasonable limitation and potentially
         implicates large volumes of documents unrelated to the subject matter of this case and
         disproportionately burdensome to collect. Defendants further object to the request for a
         “list” to the extent that it attempts to impose on AMc document-collection and/or
         document-creation obligations not required under the Rules.

         Subject to and without waiving the foregoing objections, following a reasonably diligent
         search, Defendants will produce non-privileged documents responsive to this Request at a
         mutually agreeable time and place, if any exist. However, Defendants note that they are
         not presently aware of any document that lists all “Jobs” defined in section I.B of the
         Services Agreement.

  REQUEST FOR PRODUCTION NO. 93: All documents and communications referring or

  relating to the fair market value work and cost estimates submitted for approval by NRA prior to

  the initiation of all “Jobs” that were billed to the NRA, as defined in Section I.B. of the Services

  Agreement.

         RESPONSE:

         Defendants object to this Request as overly broad, unduly burdensome, vague, and not
         reasonably relevant to any party’s claim or defense and the proportional needs of the case.

         The phrase “All documents and communications referring or relating” in this context lacks
         any kind of reasonable limitation and potentially implicates large volumes of documents
         unrelated to the subject matter of this case and disproportionately burdensome to collect.
         Defendants further object because it inaccurately assumes certain steps in relation to fair
         market value determinations. Defendants further object to this request to the extent that it
         is duplicative of discovery requests previously served, including but not limited to Request

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         for Production 17, 21-26, and 83.Defendants note that they are not presently aware of any
         written or electronic documentation that was submitted for approval prior to the initiation
         of all “Jobs” billed to the NRA. It is believed that each job was handled separately.

  REQUEST FOR PRODUCTION NO. 94: All documents and communications referring or

  relating to backup information for all “Media Planning and Placement Services,” as defined in

  Section I.C. of the Services Agreement, concerning the NRA, including but not limited to

  documents to show AMc’s work to verify broadcasts, insertions, displays, or other means used to

  ensure proper fulfillment of all media purchases made by AMc on NRA’s behalf.

         RESPONSE:

         Defendants object to this Request as overly broad, unduly burdensome, vague, and not
         reasonably relevant to any party’s claim or defense and the proportional needs of the case.
         The phrase “All documents and communications referring or relating” in this context lacks
         any kind of reasonable limitation and potentially implicates large volumes of documents
         unrelated to the subject matter of this case and disproportionately burdensome to search
         for and/or collect. Defendants further object because the term “backup information” is
         unclear in this context and appears to rely on inaccurate assumptions about AMc
         operations. Defendants further object to this Request because it seeks “documents to
         show” which is not appropriate through this discovery tool. Defendants object to the
         Request because it was apparently formulated without regard to the documents that
         Plaintiffs have already received in discovery, and which were previously provided during
         the contractual period. To date, Defendants have turned over more than 60,000 pages of
         documents in the Virginia Action which provide documents concerning and relating to the
         Services Agreement. Moreover, Defendants have allowed Plaintiff’s audit firm FRA to
         examine the media purchases, and the documents produced to FRA have already been
         provided in discovery.

  REQUEST FOR PRODUCTION NO. 95: All documents and communications referring or

  relating to backup information for cost quotations submitted by AMc for approval by the NRA for

  art concepts, design layout, photography, and film processing, copywriting, music composition

  and arrangement, audio and video production and any other “Advertising/Creative/Media Planning

  and Placement Services” performed by AMc pursuant to II.B.3 of the Services Agreement.

         RESPONSE:

         Defendants object to this Request as overly broad, unduly burdensome, vague, and not


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         reasonably relevant to any party’s claim or defense and the proportional needs of the case.
         The phrase “All documents and communications referring or relating” in this context lacks
         any kind of reasonable limitation and potentially implicates large volumes of documents
         unrelated to the subject matter of this case and disproportionately burdensome to search
         for and/or collect. Defendants further object because the term “backup information” is
         unclear in this context and appears to rely on inaccurate assumptions about AMc
         operations. Defendants further object to this request to the extent that it is duplicative of
         discovery requests previously served, including but not limited to Request for Production
         17, 21, and 83. Defendants object to the Request because it was apparently formulated
         without regard to the documents that Plaintiffs have already received in discovery. To
         date, Defendants have turned over more than 60,000 pages of documents in the Virginia
         Action, which provide documents concerning and relating to the Services Agreement. In
         addition, Defendants have offered to turn over all of the NRA’s intellectual property in
         their possession, which will include documents and communications relating to film
         processing, music composition, etc., but to date, the NRA has failed to comply with the
         turnover requirement that it pay for the transfer of such information. The NRA cannot
         avoid its contractual obligation to pay for such communications by simply demanding it in
         discovery.

         Subject to and without waiving the foregoing objections, following a reasonably diligent
         search, Defendants will supplement their prior document production with non-privileged
         documents responsive to this Request at a mutually agreeable time and place.

  REQUEST FOR PRODUCTION NO. 96: All documents and communications referring or

  relating to backup information for and procedures to determine cost quotations for “2018 FSP

  Media C4,” pursuant to II.B.3 of the Services Agreement, whether or not submitted by AMc for

  approval by the NRA.

         RESPONSE:

         Defendants object to this Request as overly broad, unduly burdensome, vague, and not
         reasonably relevant to any party’s claim or defense and the proportional needs of the case.
         The phrase “All documents and communications referring or relating” in this context lacks
         any kind of reasonable limitation and potentially implicates large volumes of documents
         unrelated to the subject matter of this case and disproportionately burdensome to search
         for and/or collect. Defendants further object because the term “backup information” is
         unclear in this context and appears to rely on inaccurate assumptions about AMc
         operations. Defendants further object to this request to the extent that it is duplicative of
         discovery requests previously served, including but not limited to Request for Production
         17, 21, 25, and 83. Defendants object to the Request because it was apparently formulated
         without regard to the documents that Plaintiffs have already received in discovery. To
         date, Defendants have turned over more than 60,000 pages of documents in the Virginia
         Action, which provide documents concerning and relating to the Services Agreement. In


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         addition, Defendants have offered to turn over all of the NRA’s intellectual property in
         their possession, which will include documents and communications relating to film
         processing, music composition, etc., but to date, the NRA has failed to comply with the
         turnover requirement that it pay for the transfer of such information. The NRA cannot
         avoid its contractual obligation to pay for such communications by simply demanding it in
         discovery.

         Subject to and without waiving the foregoing objections, following a reasonably diligent
         search, Defendants will produce non-privileged documents responsive to this Request at a
         mutually agreeable time and place.

  REQUEST FOR PRODUCTION NO. 97: Produce all D&O liability insurance, professional

  liability insurance, and any other insurance policies or indemnity contracts and agreements that

  refer or relate to services provided by AMc to the NRA or any other AMc clients.

         RESPONSE:

         Defendants object to this Request as overly broad, unduly burdensome, vague, and not
         reasonably relevant to any party’s claim or defense and the proportional needs of the case.
         The phrase “refer or relate to services” in this context lacks any kind of reasonable
         limitation and potentially implicates documents unrelated to the subject matter of this case
         and disproportionately burdensome to search for and/or collect. Defendants further object
         because AMc’s agreements with other clients, and documents related to such agreements
         are not relevant to the case. Releasing such documents to anyone associated with the
         Brewer Firm would jeopardize AMc’s business interests and relationships by providing
         documents to a competitor. Defendants further object to this request to the extent that it is
         duplicative of discovery requests previously served, including but not limited to Request
         for Production 79.

         Subject to and without waiving the foregoing objections, following a reasonably diligent
         search, Defendants will produce any applicable insuring agreement related to the above-
         captioned litigation.

  REQUEST FOR PRODUCTION NO. 98: All prior drafts of the letters sent on April 22, 2019

  by William Winkler to (i) Wayne LaPierre entitled, “RE: Clothing purchases by Ackerman

  McQueen (AMc) on your behalf”; (ii) Tyler Schropp entitled, “RE: Documentation of expenses

  incurred by Ackerman McQueen (AMc) and billed to the National Rifle Association (NRA)”; and

  (iii) Craig Spray entitled, “RE: Documentation of expenses incurred by Ackerman McQueen

  (AMc) and billed to the National Rifle Association (NRA).”


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         RESPONSE:

         Defendants object to this Request because it calls for the production of documents or
         information protected by the attorney-client privilege, the work-product doctrine, the
         common interest doctrine, and/or any other privilege or immunity from disclosure.
         Defendants further object to this request to the extent that it is duplicative of discovery
         requests previously served, including but not limited to Request for Production 62.

  REQUEST FOR PRODUCTION NO. 99: All documents and communications referring or

  relating to AMc’s identification of the target NRATV consumer, including but not limited to any

  studies, focus groups, presentations, surveys, reports on demographics, or target content for

  programing, whether performed or conducted by AMc or any third-party.

         RESPONSE:

         Defendants object to this Request as overly broad, unduly burdensome, vague, and not
         reasonably relevant to any party’s claim or defense and the proportional needs of the case.
         The phrase “All documents and communications referring or relating” in this context lacks
         any kind of reasonable limitation and potentially implicates large volumes of documents
         unrelated to the subject matter of this case and disproportionately burdensome to search
         for and/or collect. Defendant further objects because the phrase “identification of the target
         NRATV consumer” is unclear in the Request.

         Subject to and without waiving the foregoing objections, following a reasonably diligent
         search, Defendants will produce non-privileged documents responsive to this Request at a
         mutually agreeable time and place.

  REQUEST FOR PRODUCTION NO. 100: All documents and communications referring or

  relating to any valuation of NRATV, the NRATV brand, or the valuations of parts of NRATV

  (e.g., NRATV TV shows) or NRATV brand, including but not limited to, any analyses regarding

  the same.

         RESPONSE:

         Defendants object to this Request as overly broad, unduly burdensome, vague, and not
         reasonably relevant to any party’s claim or defense and the proportional needs of the case.
         The phrase “All documents and communications referring or relating” in this context lacks
         any kind of reasonable limitation and potentially implicates large volumes of documents
         unrelated to the subject matter of this case and disproportionately burdensome to search
         for and/or collect. Defendants further object because the Request appears to rely on


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         inaccurate assumptions about AMc operations and/ or analyses. Defendants object to the
         Request because it was apparently formulated without regard to the documents that
         Plaintiffs have already received in discovery. To date, Defendants have turned over more
         than 60,000 pages of documents in the Virginia Action, which provide documents
         concerning and relating to NRATV and NRATV analytics. Defendants further object to
         this request as duplicative of discovery requests previously served, including but not
         limited to Request for Production 33-37 and 51, and refer Plaintiff to Defendants’
         responses to same.

  REQUEST FOR PRODUCTION NO. 101: Documents concerning the performance,

  significance, and/or importance of the live broadcasting portion of NRATV.

         RESPONSE:

         Defendants object to this Request as overly broad, unduly burdensome, vague, and not
         reasonably relevant to any party’s claim or defense and the proportional needs of the case.
         The phrase “concerning” in this context lacks any kind of reasonable limitation and
         potentially implicates large volumes of documents unrelated to the subject matter of this
         case and disproportionately burdensome to search for and/or collect. Defendants further
         object because the Request appears to rely on inaccurate assumptions about AMc
         operations and/ or analyses. Defendants further object to this Request because the terms
         “significance” and “importance” are unclear in the context of the Request. Defendants
         object to the Request because it was apparently formulated without regard to the documents
         that Plaintiffs have already received in discovery. To date, Defendants have turned over
         more than 60,000 pages of documents in the Virginia Action, which provide documents
         concerning and relating to NRATV and NRATV analytics. There is nothing more to
         supplement to this Request.

  REQUEST FOR PRODUCTION NO. 102: Documents concerning the meaning or definition of

  “engaged views” and “completed views,” as outlined on slide labeled “Valuation Methodology To

  Calculate Duration” (Bates No. AMC-002741-002771) and whether the definition or meaning for

  “engaged views” and “completed views” can be applied to the broader document (Bates No. AMC-

  002741-002771) or not.

         RESPONSE:

         Defendants object to this Request as overly broad, unduly burdensome, vague, and not
         reasonably relevant to any party’s claim or defense and the proportional needs of the case.
         The phrase “concerning” in this context lacks any kind of reasonable limitation and
         potentially implicates large volumes of documents unrelated to the subject matter of this
         case and disproportionately burdensome to search for and/or collect. Defendants further


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         object because the Request appears to rely on inaccurate assumptions about AMc
         operations and/ or analyses. Defendants further object to this Request because it seeks
         information which is not appropriate through this discovery tool. Defendants further object
         to this Request as duplicative of discovery requests previously served, including but not
         limited to Request for Production 44, and refer Plaintiff to Defendants’ response to same.

  REQUEST FOR PRODUCTION NO. 103: Documents concerning how you determined

  “4.89MM Completed Views” and “9.30MM Engaged Views” as outlined on slide labeled

  “NRATV vs. NRA News 1 Year Comparison” | Oct – Sept” (Bates No. AMC-002741-002771).

         RESPONSE:

         Defendants object to this Request as overly broad, unduly burdensome, vague, and not
         reasonably relevant to any party’s claim or defense and the proportional needs of the case.
         The phrase “concerning” in this context lacks any kind of reasonable limitation and
         potentially implicates large volumes of documents unrelated to the subject matter of this
         case and disproportionately burdensome to search for and/or collect. Defendants further
         object because the Request appears to rely on inaccurate assumptions about AMc
         operations and/ or analyses. Defendants further object to this Request because it seeks
         information which is not appropriate through this discovery tool. Defendants further object
         to this Request as duplicative of discovery requests previously served, including but not
         limited to Request for Production 44, and refer Plaintiff to Defendants’ response to same.

  REQUEST FOR PRODUCTION NO. 104: All documents and communications referring or

  relating to measures of “engagement,” defined as the percentage of the available content that was

  consumed by customers, including third party studies and proprietary data collected, as well as

  any other similar measures of customer engagement that AMc measured.

         RESPONSE:

         Defendants object to this Request as overly broad, unduly burdensome, vague, and not
         reasonably relevant to any party’s claim or defense and the proportional needs of the case.
         The phrase “All documents and communications referring or relating” in this context lacks
         any kind of reasonable limitation and potentially implicates large volumes of documents
         unrelated to the subject matter of this case and disproportionately burdensome to search
         for and/or collect. Defendants further object because the Request appears to rely on
         inaccurate assumptions about AMc operations and/ or analyses. Defendants further object
         to this Request because it seeks information which is not appropriate through this discovery
         tool and is not limited to the NRA. Defendants further object to this Request to the extent
         it seeks AMc’s proprietary information. Defendants further object to this Request as
         duplicative of discovery requests previously served, including but not limited to Request


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         for Production 44, and refer Plaintiff to Defendants’ response to same.

  REQUEST FOR PRODUCTION NO. 105: All documents and communications referring or

  relating to AMc’s “Unified Data Source” outline in the graphic below and that was presented to

  the NRA (see Bates No. AMC-002741-002771) including but not limited to data used to analyze

  the “Unified Data Source”.




         RESPONSE:

         Defendants object to this Request as overly broad, unduly burdensome, vague, and not
         reasonably relevant to any party’s claim or defense and the proportional needs of the case.
         The phrase “All documents and communications referring or relating” in this context lacks
         any kind of reasonable limitation and potentially implicates large volumes of documents
         unrelated to the subject matter of this case and disproportionately burdensome to search
         for and/or collect. Defendants further object because the Request appears to rely on
         inaccurate assumptions about AMc operations and/ or analyses.

         Subject to and without waiving the foregoing objections, following a reasonably diligent
         search, Defendants will produce non-privileged documents responsive to this Request at a
         mutually agreeable time and place.

  REQUEST FOR PRODUCTION NO. 106: All documents and communications referring or

  relating to concerning viewpoints, perceptions, evaluations, and/or beliefs concerning NRATV

  communicated by the NRA to AMc, including but not limited to, documents AMc contends evince

  “praise,” “support,” “approval,” or any other type of positive affirmation for NRATV.


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         RESPONSE:

         Defendants object to this Request as overly broad, unduly burdensome, vague, and not
         reasonably relevant to any party’s claim or defense and the proportional needs of the case.
         The phrase “All documents and communications referring or relating” in this context lacks
         any kind of reasonable limitation and potentially implicates large volumes of documents
         unrelated to the subject matter of this case and disproportionately burdensome to search
         for and/or collect. Defendants further object because the term “viewpoints” is vague in this
         context. Defendants further object to this Request to the extent that it is duplicative of
         discovery requests previously served, including but not limited to Request for Production
         47.

         Subject to and without waiving the foregoing objections, following a reasonably diligent
         search, Defendants will produce non-privileged documents responsive to this Request at a
         mutually agreeable time and place.

  REQUEST FOR PRODUCTION NO. 107: All documents and communications referring or

  relating to any analyses or assessments of the actual or potential benefits or detriments of operating

  a live online broadcasting service in house versus alternative mediums for distributing live online

  broadcasting content.

         RESPONSE:

         Defendants object to this Request as overly broad, unduly burdensome, vague, and not
         reasonably relevant to any party’s claim or defense and the proportional needs of the case.
         The phrase “All documents and communications referring or relating” in this context lacks
         any kind of reasonable limitation and potentially implicates large volumes of documents
         unrelated to the subject matter of this case and disproportionately burdensome to search
         for and/or collect. Defendants further object because the phrase “potential benefits or
         detriments” is vague in this context.

         Subject to and without waiving the foregoing objections, following a reasonably diligent
         search, Defendants are in possession of no documents responsive to this Request.

  REQUEST FOR PRODUCTION NO. 108: All documents and communications referring or

  relating to the employment, work, services, and activities of Tamara (“Tammy”) Payne.

         RESPONSE:

         Defendants object to this Request as overly broad, unduly burdensome, vague, and not
         reasonably relevant to any party’s claim or defense and the proportional needs of the case.
         The phrase “All documents and communications referring or relating” in this context lacks


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         any kind of reasonable limitation and potentially implicates large volumes of documents
         unrelated to the subject matter of this case and disproportionately burdensome to search
         for and/or collect. Defendants further object because the phrase to the “employment, work,
         services, and activities” is near limitless and also lacks relevance.

  REQUEST FOR PRODUCTION NO. 109: All budgets and business plans for NRATV, whether

  in draft form or otherwise.

         RESPONSE:

         Defendants object to this Request as overly broad, unduly burdensome, vague, and not
         reasonably relevant to any party’s claim or defense and the proportional needs of the case.
         The phrase “All documents and communications referring or relating” in this context lacks
         any kind of reasonable limitation and potentially implicates large volumes of documents
         unrelated to the subject matter of this case and disproportionately burdensome to search
         for and/or collect.

         Subject to and without waiving the foregoing objections, following a reasonably diligent
         search, Defendants produce non-privileged documents responsive to this Request at a
         mutually agreeable time and place.

  REQUEST FOR PRODUCTION NO. 110: All documents and communications referring or

  relating to key performance indicators (“KPIs”) that Defendants used to measure the performance

  and success of NRATV, including but not limited to, documents concerning any decision-making

  process about which KPIs to use or which KPIs not to use- for what?

         RESPONSE:

         Defendants object to this Request as overly broad, unduly burdensome, vague, and not
         reasonably relevant to any party’s claim or defense and the proportional needs of the case.
         The phrase “All documents and communications referring or relating” in this context lacks
         any kind of reasonable limitation and potentially implicates large volumes of documents
         unrelated to the subject matter of this case and disproportionately burdensome to search
         for and/or collect. Defendants further object because the Request appears to rely on
         inaccurate assumptions about AMc operations and/ or analyses. Defendants further object
         because the last clause of the sentence appears nonsensical. Defendants further object to
         this Request as duplicative of discovery requests previously served, including but not
         limited to Request for Production 44, and refer Plaintiff to Defendants’ response to same.

  REQUEST FOR PRODUCTION NO. 111: All documents and communications referring or

  relating to the raw data used to construct the following table on the slide labeled “NRATV Talent


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  Valuation By Tv Show | Valuation By Duration” (Bates No. AMC-002772-002817), including but

  not limited to documents regarding the “media buying prices based on 60s Buys in Q2 and Q3.”




         RESPONSE:

         Defendants object to this Request as overly broad, unduly burdensome, vague, and not
         reasonably relevant to any party’s claim or defense and the proportional needs of the case.
         The phrase “All documents and communications referring or relating” in this context lacks
         any kind of reasonable limitation and potentially implicates large volumes of documents
         unrelated to the subject matter of this case and disproportionately burdensome to search
         for and/or collect.

         Subject to and without waiving the foregoing objections, following a reasonably diligent
         search, Defendants will produce non-privileged documents responsive to this Request at a
         mutually agreeable time and place.

  REQUEST FOR PRODUCTION NO. 112: The raw data used to construct the slide labeled

  “Earned Media Valuation | Online Media Publications” (Bates No. AMC-002772-002817),

  including but not limited to, supporting information for “$2,500/mention” and “3,973 Online

  Mentions” and documents and communications regarding the same.




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         RESPONSE:

         Defendants object to this Request as overly broad, unduly burdensome, vague, and not
         reasonably relevant to any party’s claim or defense and the proportional needs of the case.
         The phrase “All documents and communications referring or relating” in this context lacks
         any kind of reasonable limitation and potentially implicates large volumes of documents
         unrelated to the subject matter of this case and disproportionately burdensome to search
         for and/or collect.

         Subject to and without waiving the foregoing objections, following a reasonably diligent
         search, Defendants will produce documents responsive to this Request at a mutually
         agreeable time and place.

  REQUEST FOR PRODUCTION NO. 113: The raw data used to construct the slide labeled

  “Monetization – Q3 2018” (Bates No. AMC- 002772-002817), including but not limited to,

  supporting information for “Revenue – Digital Efforts”, “Revenue – NRA Store”, “Revenue –

  Phone Upsells” and documents and communications regarding the same.




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         RESPONSE:

         Defendants object to this Request as overly broad, unduly burdensome, vague, and not
         reasonably relevant to any party’s claim or defense and the proportional needs of the case.

         Subject to and without waiving the foregoing objections, following a reasonably diligent
         search, Defendants will produce documents responsive to this Request at a mutually
         agreeable time and place.

  REQUEST FOR PRODUCTION NO. 114: The raw data for “Owned Digital Platforms”,

  “Facebook”, Youtube, Twitter, Instagram” that is noted as available on the left-hand side of

  following slide labeled “Appendix | Data Notes” (Bates No. AMC-002772-002817).




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         RESPONSE:

         Defendants object to this Request as overly broad, unduly burdensome, vague, and not
         reasonably relevant to any party’s claim or defense and the proportional needs of the case.

         Subject to and without waiving the foregoing objections, following a reasonably diligent
         search, Defendants will produce documents responsive to this Request at a mutually
         agreeable time and place.

  REQUEST FOR PRODUCTION NO. 115: The raw data for all listed information on the

  following slide labeled “NRATV Video Performance | YTD Q3 2018” (Bates No. AMC-002772-

  002817), including but not limited to, “13.1MM completed views”, “41.8MM engaged views,

  “206.0MM total views”, “6.7MM reactions”, “3.0MM shares” and “443k comments” and

  documents and communications concerning the same.




         RESPONSE:

         Defendants object to this Request as overly broad, unduly burdensome, vague, and not
         reasonably relevant to any party’s claim or defense and the proportional needs of the case.
         The word “all” in this context lacks any kind of reasonable limitation and potentially
         implicates large volumes of documents unrelated to the subject matter of this case and
         disproportionately burdensome to search for and/or collect.

         Subject to and without waiving the foregoing objections, following a reasonably diligent
         search, Defendants will produce documents responsive to this Request at a mutually
         agreeable time and place.

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  REQUEST FOR PRODUCTION NO. 116: For slide labeled, “YTD Q3 2018 Vs YTD Q3 2017”

  (Bates No. AMC-002772-002817), the raw data to support all information listed, including but not

  limited to “Completed Views”, “Engaged Views”, “Total Views” and “Engaged+, Non-YT Total

  Watch Duration (Min),” as well as all documents and communications regarding the same in the

  slide referenced below:




         RESPONSE:

         Defendants object to this Request as overly broad, unduly burdensome, vague, and not
         reasonably relevant to any party’s claim or defense and the proportional needs of the case.
         The word “all” in this context lacks any kind of reasonable limitation and potentially
         implicates large volumes of documents unrelated to the subject matter of this case and
         disproportionately burdensome to search for and/or collect.

         Subject to and without waiving the foregoing objections, following a reasonably diligent
         search, Defendants will produce documents responsive to this Request at a mutually
         agreeable time and place.

  REQUEST FOR PRODUCTION NO. 117: For slide labeled “Valuation Overview” (Bates No.

  AMC-002772-002817) below, the raw data to support all information listed, including but not

  limited to, “Total Watch Duration (Sec)”, “Value Per Second Watched (Sec)”, the regression

  analysis referenced and the calculation of “$0.003/S*,” as well as all communications and

  documents regarding the same.


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         RESPONSE:

         Defendants object to this Request as overly broad, unduly burdensome, vague, and not
         reasonably relevant to any party’s claim or defense and the proportional needs of the case.
         The word “all” in this context lacks any kind of reasonable limitation and potentially
         implicates large volumes of documents unrelated to the subject matter of this case and
         disproportionately burdensome to search for and/or collect.

         Subject to and without waiving the foregoing objections, following a reasonably diligent
         search, Defendants will produce documents responsive to this Request at a mutually
         agreeable time and place.

  REQUEST FOR PRODUCTION NO. 118: All documents and communications referring or

  relating to the strategy and tactics, as well as the ultimate goals, for NRATV, that were developed

  prior to the launch of NRATV, including but not limited to documents describing the process for

  selecting the specific shows to be filmed, produced and televised on NRATV.

         RESPONSE:

         Defendants object to this Request as overly broad, unduly burdensome, vague, and not
         reasonably relevant to any party’s claim or defense and the proportional needs of the case.
         The phrase “All documents and communications referring or relating” in this context lacks
         any kind of reasonable limitation and potentially implicates large volumes of documents
         unrelated to the subject matter of this case and disproportionately burdensome to search
         for and/or collect. Defendants further object because the Request appears to rely on
         inaccurate assumptions about AMc operations and/ or analyses. Defendants further object
         to this Request because it is a compound request, which is further complicated by the vague
         phrase the “strategy and tactics” and the conceptually distinct request for the “process for

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          selecting the specific shows to be filmed[.]” Defendants object to the Request because it
          was apparently formulated without regard to the documents that Plaintiffs have already
          received in discovery and documents made available to the NRA. To date, Defendants
          have turned over more than 60,000 pages of documents in the Virginia Action, which
          provide documents concerning and relating to NRATV and NRATV analytics. In addition,
          Defendants have offered to turn over all of the NRA’s intellectual property in their
          possession, which will include documents and communications relating to NRATV, but to
          date, the NRA has failed to comply with the turnover requirement that it pay for the transfer
          of such information. The NRA cannot avoid its contractual obligation to pay for such
          communications by simply demanding it in discovery. Defendants object to this Request
          as duplicative of Request for Production 31 and refer Plaintiff to Defendants’ Response to
          same.

   REQUEST FOR PRODUCTION NO. 119: Produce the rental contracts for Alexandria, VA and

   Oklahoma City, OK office properties, as well as any other office property rental contracts not

   produced to date.

          RESPONSE:

          Defendants object that this Request seeks information about expert testimony that is
          premature and exceeds the limits on expert discovery allowed under the Federal Rules of
          Civil Procedure. Defendants will comply with the applicable Federal Rules, the local rules,
          and this Court’s scheduling order related to expert witnesses.

   REQUEST FOR PRODUCTION NO. 120: Produce the Commercial Sublease dated October 2,

   2019, by and between AMc and Innate.ly/New Planet Technologies, Inc.

          RESPONSE:

          Defendants object that this Request seeks information about expert testimony that is
          premature and exceeds the limits on expert discovery allowed under the Federal Rules of
          Civil Procedure. Defendants will comply with the applicable Federal Rules, the local rules,
          and this Court’s scheduling order related to expert witnesses.

   REQUEST FOR PRODUCTION NO. 121: Produce all records of payments made on all leased

   properties where NRA activities were performed.

          RESPONSE:

          Defendants object that this Request seeks information about expert testimony that is
          premature and exceeds the limits on expert discovery allowed under the Federal Rules of
          Civil Procedure. Defendants will comply with the applicable Federal Rules, the local rules,


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         and this Court’s scheduling order related to expert witnesses.

  REQUEST FOR PRODUCTION NO. 122: Produce justification / supporting documentation

  for allocation percentages applied on Exhibit 2 labeled, “Summary of Amounts Payable by AMc

  Related to Office Leases. Subsequent to the Termination of the Services Agreement,” as referenced

  in the Jackson Expert Report of Daniel L. Jackson, dated January 7, 2020.

         RESPONSE:

         Defendants object that this Request seeks information about expert testimony that is
         premature and exceeds the limits on expert discovery allowed under the Federal Rules of
         Civil Procedure. Defendants will comply with the applicable Federal Rules, the local rules,
         and this Court’s scheduling order related to expert witnesses.

  REQUEST FOR PRODUCTION NO. 123: Produce the “A-1 Freeman Moving & Storage

  invoice for $60,157” referenced in the Expert Report of Daniel L. Jackson, dated January 7, 2020.

         RESPONSE:

         Defendants object that this Request seeks information about expert testimony that is
         premature and exceeds the limits on expert discovery allowed under the Federal Rules of
         Civil Procedure. Defendants will comply with the applicable Federal Rules, the local rules,
         and this Court’s scheduling order related to expert witnesses.

  REQUEST FOR PRODUCTION NO. 124: All documents and communications referring or

  relating to the development of the Carry Guard brand.

         RESPONSE:

         Defendants object to this Request as overly broad, unduly burdensome, vague, and not
         reasonably relevant to any party’s claim or defense and the proportional needs of the case.
         The phrase “All documents and communications referring or relating” in this context lacks
         any kind of reasonable limitation and potentially implicates large volumes of documents
         unrelated to the subject matter of this case and disproportionately burdensome to search
         for and/or collect. The NRA needs to further reduce the scope of this request so that AMc
         can engage in a manageable and reasonably proportionate search. Defendants further
         object that this information has already been provided to Plaintiff during the months-long
         “investigation” conducted by the NRA and the Brewer Firm in connection with the Lockton
         Lawsuit.

  REQUEST FOR PRODUCTION NO. 125: All documents and communications referring or


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  relating to the Carry Guard training platform.

         RESPONSE:

         Defendants object to this Request as overly broad, unduly burdensome, vague, and not
         reasonably relevant to any party’s claim or defense and the proportional needs of the case.
         The phrase “All documents and communications referring or relating” in this context lacks
         any kind of reasonable limitation and potentially implicates large volumes of documents
         unrelated to the subject matter of this case and disproportionately burdensome to search
         for and/or collect. Defendants further object because the Request appears to rely on
         inaccurate assumptions about AMc operations and/ or analyses. Defendants further object
         to the extent that this information has already been provided to Plaintiff during the months-
         long “investigation” conducted by the NRA and the Brewer Firm in connection with the
         Lockton Lawsuit.

  REQUEST FOR PRODUCTION NO. 126: All documents and communications referring or

  relating to the Carry Guard media strategy.

         RESPONSE:

         Defendants object to this Request as overly broad, unduly burdensome, vague, and not
         reasonably relevant to any party’s claim or defense and the proportional needs of the case.
         The phrase “All documents and communications referring or relating” in this context lacks
         any kind of reasonable limitation and potentially implicates large volumes of documents
         unrelated to the subject matter of this case and disproportionately burdensome to search
         for and/or collect. Defendants further object to the extent that this information has already
         been provided to Plaintiff during the months-long “investigation” conducted by the NRA
         and the Brewer Firm in connection with the Lockton Lawsuit.

  REQUEST FOR PRODUCTION NO. 127: All documents and communications referring or

  relating to the Carry Guard customer acquisition and sales strategy.

         RESPONSE:

         Defendants object to this Request as overly broad, unduly burdensome, vague, and not
         reasonably relevant to any party’s claim or defense and the proportional needs of the case.
         The phrase “All documents and communications referring or relating” in this context lacks
         any kind of reasonable limitation and potentially implicates large volumes of documents
         unrelated to the subject matter of this case and disproportionately burdensome to search
         for and/or collect. Defendants further object because the Request appears to rely on
         inaccurate assumptions about AMc operations and/ or analyses. Defendants further object
         to the extent that this information has already been provided to Plaintiff during the months-
         long “investigation” conducted by the NRA and the Brewer Firm in connection with the
         Lockton Lawsuit.


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  REQUEST FOR PRODUCTION NO. 128: All documents and communications referring or

  relating to the performance management of the Carry Guard program.

         RESPONSE:

         Defendants object to this Request as overly broad, unduly burdensome, vague, and not
         reasonably relevant to any party’s claim or defense and the proportional needs of the case.
         The phrase “All documents and communications referring or relating” in this context lacks
         any kind of reasonable limitation and potentially implicates large volumes of documents
         unrelated to the subject matter of this case and disproportionately burdensome to search
         for and/or collect. Defendants further object because the Request appears to rely on
         inaccurate assumptions about AMc operations and/ or analyses. Defendants further object
         because the phrase “performance management” is vague. Defendants further object to the
         extent that this information has already been provided to Plaintiff during the months-long
         “investigation” conducted by the NRA and the Brewer Firm in connection with the Lockton
         Lawsuit.

  REQUEST FOR PRODUCTION NO. 129: All presentation and reports delivered to the NRA

  regarding the Carry Guard program.

         RESPONSE:

         Defendants object to this Request as overly broad, unduly burdensome, vague, and not
         reasonably relevant to any party’s claim or defense and the proportional needs of the case.
         The phrase “All documents and communications referring or relating” in this context lacks
         any kind of reasonable limitation and potentially implicates large volumes of documents
         unrelated to the subject matter of this case and disproportionately burdensome to search
         for and/or collect. Defendants further object to the extent that this information has already
         been provided to Plaintiff during the months-long “investigation” conducted by the NRA
         and the Brewer Firm in connection with the Lockton Lawsuit.

  REQUEST FOR PRODUCTION NO. 130: All documents and communications referring or

  relating to data AMc maintained regarding celebrity brand awareness such as scores and social

  media following, including but not limited to, documents and data provided by third party reports

  such as Q Score.

         RESPONSE:

         Defendants object to this Request as overly broad, unduly burdensome, vague, and not
         reasonably relevant to any party’s claim or defense and the proportional needs of the case.
         This request appears to be a poorly-worded effort by the Brewer Firm to gain access to


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         proprietary data of the Defendants about their work and is not related to any valid issue in
         this litigation. The phrase “All documents and communications referring or relating” in
         this context lacks any kind of reasonable limitation and potentially implicates large
         volumes of documents unrelated to the subject matter of this case and disproportionately
         burdensome to search for and/or collect. Defendants further object because the focus of
         this request is not relevant to the subject matter of the case. Defendants further object
         because the Request appears to rely on inaccurate assumptions about AMc operations and/
         or analyses.

  REQUEST FOR PRODUCTION NO. 131: The NRA-account documents that AMc relied upon

  and performed to, by year, for the annual budget.

         RESPONSE:

         Defendants object to this Request as vague because it is unclear what is meant by “NRA-
         account documents” and “performed to[.]” Defendants further object to this Request as
         overly broad, unlimited in scope, unduly burdensome and not reasonably relevant to any
         party’s claim or defense and the proportional needs of the case. The failure to clarify the
         meaning of these two phrases in this context potentially seeks documents unrelated to the
         subject matter of this case and disproportionately burdensome to search for and/or collect.
         Defendants further object because the Request appears to rely on inaccurate assumptions
         about AMc operations and/ or analyses.

  REQUEST FOR PRODUCTION NO. 132: Produce an organizational chart for AMc describing

  the owner relationships between legal entities in the corporate family of AMc, including but not

  limited to, ownership lines and percentages, all subsidiaries and corporate forms.

         RESPONSE:

         Defendants object to this Request because it seeks the creation of a document rather than
         the production of an existing document which is not appropriate through this discovery
         tool. Defendants further object to this Request as not reasonably relevant to any party’s
         claim or defense and the proportional needs of the case.

  REQUEST FOR PRODUCTION NO. 133: Documents showing all personnel, including their

  titles, departments and salaries, employed by AMc at the end of each calendar year.

         RESPONSE:

         Defendants object to this Request because it seeks the creation of a document rather than
         the production of an existing document which is not appropriate through this discovery
         tool. Defendants further object to this Request as not reasonably relevant to any party’s


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          claim or defense and the proportional needs of the case. Defendants further object because
          it has already provided a document that lists all AMc employees that worked on NRA
          matters and the hours they worked in the Virginia Action.

   REQUEST FOR PRODUCTION NO. 134: All documents and communications referring or

   relating to the data from “AMc employment records” used to construct Exhibit 5 of the "Expert

   Report of Daniel L. Jackson” dated January 7, 2020.

          RESPONSE:

          Defendants object that this Request seeks information about expert testimony that is
          premature and exceeds the limits on expert discovery allowed under the Federal Rules of
          Civil Procedure. Defendants will comply with the applicable Federal Rules, the local rules,
          and this Court’s scheduling order related to expert witnesses.

   REQUEST FOR PRODUCTION NO. 135: For each year from 2015 – 2019, documents or data

   that show the total number of hours spent on NRA account activities and the total number of hours

   spent on all activities at Ackerman McQueen for each employee listed in Exhibit 5 to the Jackson.

   Report details should be provided in excel or native format, or via username access to electronic

   records, such that NRA project details are available for all employee hours billed to the NRA.

          RESPONSE:

          Defendants object that this Request seeks information about expert testimony that is
          premature and exceeds the limits on expert discovery allowed under the Federal Rules of
          Civil Procedure. Defendants will comply with the applicable Federal Rules, the local rules,
          and this Court’s scheduling order related to expert witnesses.

   REQUEST FOR PRODUCTION NO. 136: All documents referring or relating to Vox Media,

   LLC journalist Dylan Matthews’s 08/03/18 article entitled, “The National Rifle Association,

   America's most powerful lobby, claims it’s in financial crisis. What?," including but not limited

   to, documents and communications concerning outlining steps taken by AMc, as agent of the NRA,

   to identify the “anonymous source at AMc” who provided the confidential information to Vox

   Media, LLC.



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         RESPONSE:

         Defendants object to the premise of this request that there is a source at AMc who provided
         confidential information to Vox Media. Defendants also object to the legal conclusion that
         AMc has taken steps “as agent of the NRA” in this matter. Defendants object to this
         Request as not reasonably relevant to any party’s claim or defense and the proportional
         needs of the case. The statements in this Request are not the subject matter of the case.
         Defendants further object to this Request to the extent it calls for the production of
         documents or information protected by the attorney-client privilege, the work-product
         doctrine, the common interest doctrine, and/or any other privilege or immunity from
         disclosure.

  REQUEST FOR PRODUCTION NO. 137: All documents referred to in or relied on by the

  “Expert Report of Daniel L. Jackson” dated January 7, 2020.

         RESPONSE:

         Defendants object that this Request seeks information about expert testimony that is
         premature and exceeds the limits on expert discovery allowed under the Federal Rules of
         Civil Procedure. Defendants will comply with the applicable Federal Rules, the local rules,
         and this Court’s scheduling order related to expert witnesses.

  REQUEST FOR PRODUCTION NO. 138: Documents that show the office locations and

  production studios operated in part or in whole for AMc’s Branded News subsidiary.

         RESPONSE:

         Defendants object to this Request as overly broad, unduly burdensome, vague, and not
         reasonably relevant to any party’s claim or defense and the proportional needs of the case.
         The phrase “documents that show” in this context lacks any kind of reasonable limitation
         and appears to attempt to impose on AMc document-collection and/or document-creation
         obligations not required under the Rules.

  REQUEST FOR PRODUCTION NO. 139: Documents that show the clients managed by AMc’s

  Branded News subsidiary from 2000-2019.

         RESPONSE:

         Defendants object to this Request as overly broad, unduly burdensome, vague, and not
         reasonably relevant to any party’s claim or defense and the proportional needs of the case.
         The phrase “documents that show” in this context lacks any kind of reasonable limitation
         and appears to attempt to impose on AMc document-collection and/or document-creation
         obligations not required under the Rules. Defendants object that this request seeks


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         documents outside of the time parameters addressed as the relevant period in the
         instructions. Defendants also object that this request seeks proprietary information
         unrelated to the litigation, but that would potentially be valuable to the Brewer Firm and
         thus, the purpose of this request is improper and an abuse of the discovery process.

  REQUEST FOR PRODUCTION NO. 140: All documents referring or relating to, and

  including, communications between and among AMc and Dan Boren regarding the NRA, after

  January 1, 2016.

         RESPONSE:

         Defendants object to this Request as overly broad, unduly burdensome, vague, and not
         reasonably relevant to any party’s claim or defense and the proportional needs of the case.
         The phrase “All documents referring or relating to, and including” in this context lacks any
         kind of reasonable limitation and potentially implicates large volumes of documents
         unrelated to the subject matter of this case and disproportionately burdensome to search
         for and/or collect. Defendants object to the Request because it was apparently formulated
         without regard to the documents that Plaintiffs have already received in discovery. To
         date, Defendants have turned over more than 60,000 pages of documents in the Virginia
         Action, some of which provide documents concerning and relating to Dan Boren and the
         NRA. Moreover, the NRA has obtained document production from Dan Boren himself
         and then failed to take his deposition. Consequently, this request is merely another
         burdensome request by the NRA for information that it already possesses. Defendants
         further object to the extent that this Request is duplicative of Requests for Production 68
         and 69, and refer Plaintiff to Defendants’ responses to same.

  REQUEST FOR PRODUCTION NO. 141: All documents referring or relating to, and

  including, communications between and among AMc and David Lehman regarding the NRA, after

  January 1, 2015.

         RESPONSE:

         Defendants object to this Request as overly broad, unduly burdensome, vague, and not
         reasonably relevant to any party’s claim or defense and the proportional needs of the case.
         The phrase “All documents referring or relating to, and including” in this context lacks any
         kind of reasonable limitation and potentially implicates large volumes of documents
         unrelated to the subject matter of this case and disproportionately burdensome to search
         for and/or collect. Defendants object to the Request because it was apparently formulated
         without regard to the documents that Plaintiffs have already received in discovery. To
         date, Defendants have turned over more than 60,000 pages of documents in the Virginia
         Action, of which 274 specifically refer to David Lehman. Defendants further object to the
         extent that this Request is duplicative of Request for Production 70, and refer Plaintiff to

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         Defendants’ responses to same.

  REQUEST FOR PRODUCTION NO. 142: All documents referring or relating to, and

  including, communications between and among AMc and Steven Hart regarding the NRA, after

  January 1, 2017.

         RESPONSE:

         Defendants object to this Request as overly broad, unduly burdensome, vague, and not
         reasonably relevant to any party’s claim or defense and the proportional needs of the case.
         The phrase “All documents referring or relating to, and including” in this context lacks any
         kind of reasonable limitation and potentially implicates large volumes of documents
         unrelated to the subject matter of this case and disproportionately burdensome to search
         for and/or collect. Defendants object to the Request because it was apparently formulated
         without regard to the documents that Plaintiffs have already received in discovery. To
         date, Defendants have turned over more than 60,000 pages of documents in the Virginia
         Action, many of which relate to Steven Hart. In addition, Defendants have served a
         subpoena on Mr. Hart for relevant documents, but the NRA has blocked substantial
         production of documents on the grounds of attorney-client and work product privileges.
         Defendants further object to the extent that this Request is duplicative of Requests for
         Production 71, and refer Plaintiff to Defendants’ response to same.

  REQUEST FOR PRODUCTION NO. 143: All documents referring or relating to, and

  including, communications between and among AMc and Chris Cox regarding the NRA, after

  January 1, 2019.

         RESPONSE:

         Defendants object to this Request as overly broad, unduly burdensome, vague, and not
         reasonably relevant to any party’s claim or defense and the proportional needs of the case.
         The phrase “All documents referring or relating to, and including” in this context lacks any
         kind of reasonable limitation and potentially implicates large volumes of documents
         unrelated to the subject matter of this case and disproportionately burdensome to search
         for and/or collect. AMc will agree to perform a reasonable search subject to a limitation
         of subject matter. Defendants object to the Request because it was apparently formulated
         without regard to the documents that Plaintiffs have already received in discovery. To
         date, Defendants have turned over more than 60,000 pages of documents in the Virginia
         Action, many of which provide documents concerning and relating to Chris Cox.

  REQUEST FOR PRODUCTION NO. 144: All documents referring or relating to, and

  including, communications between and among AMc and Oliver North regarding the NRA, after

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  January 1, 2018.

         RESPONSE:

         Defendants object to this Request as overly broad, unduly burdensome, vague, and not
         reasonably relevant to any party’s claim or defense and the proportional needs of the case.
         The phrase “All documents referring or relating to, and including” in this context lacks any
         kind of reasonable limitation and potentially implicates large volumes of documents
         unrelated to the subject matter of this case and disproportionately burdensome to search
         for and/or collect. AMc will agree to perform a reasonable search subject to a more limited
         date range, limitation of subject matter, and clarification. Defendants object to the Request
         because it was apparently formulated without regard to the documents that Plaintiffs have
         already received in discovery. To date, Defendants have turned over more than 60,000
         pages of documents in the Virginia Action, which provide documents concerning and
         relating to Lt. Col. Oliver North. Defendants further object to the extent that this Request
         is duplicative of Requests for Production 57 and 66, and refer Plaintiff to Defendants’
         responses to same.

  REQUEST FOR PRODUCTION NO. 145: All documents referring or relating to, and

  including, communications between and among AMc and Lance Olson regarding the NRA, after

  January 1, 2015.

         RESPONSE:

         Defendants object to this Request as overly broad, unduly burdensome, vague, and not
         reasonably relevant to any party’s claim or defense and the proportional needs of the case.
         The phrase “All documents referring or relating to, and including” in this context lacks any
         kind of reasonable limitation and potentially implicates large volumes of documents
         unrelated to the subject matter of this case and disproportionately burdensome to search
         for and/or collect. AMc will agree to perform a reasonable search subject to a more limited
         date range, limitation of subject matter, and clarification. Defendants object to the Request
         because it was apparently formulated without regard to the documents that Plaintiffs have
         already received in discovery. To date, Defendants have turned over more than 60,000
         pages of documents in the Virginia Action, some of which provide documents concerning
         and relating to Lance Olson.

  REQUEST FOR PRODUCTION NO. 146: All documents referring or relating to, and

  including, communications between and among AMc and any NRA Board members regarding the

  NRA, after January 1, 2015.

         RESPONSE:


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         Defendants object to this Request as overly broad, unduly burdensome, vague, and not
         reasonably relevant to any party’s claim or defense and the proportional needs of the case.
         The phrase “All documents referring or relating to, and including” in this context lacks any
         kind of reasonable limitation and potentially implicates large volumes of documents
         unrelated to the subject matter of this case and disproportionately burdensome to search
         for and/or collect. The NRA has approximately 75 board members and AMc has numerous
         employees. Defendants object to the Request because it was apparently formulated without
         regard to the documents that Plaintiffs have already received in discovery. To date,
         Defendants have turned over more than 60,000 pages of documents in the Virginia Action,
         many of which provide documents concerning and relating to NRA board members,
         including Oliver North.

  REQUEST FOR PRODUCTION NO. 147: Documents that show Ackerman’s gross revenue

  throughout 2012, 2013, 2014, 2015, 2016, 2017, 2018 and 2019, on a monthly basis.

         RESPONSE:

         Defendants object to this Request as overly broad, unduly burdensome, vague, and not
         reasonably relevant to any party’s claim or defense and the proportional needs of the case.
         The Request lacks any kind of reasonable limitation and potentially implicates large
         volumes of documents unrelated to the subject matter of this case and disproportionately
         burdensome to search for and/or collect. Defendants further object to this Request because
         the date range is excessively large and the “monthly basis” frequency not relevant and
         disproportionate. Defendants further object to this Request because the terms “show” and
         is unclear in this context and appears to impose document-collection obligations not
         required under the Rules. Defendants further object to this Request because it seeks
         information which is not appropriate through this discovery tool. To the extent that this
         request is a demand that Defendants create a document rather than merely produce a
         document, it is also objectionable.

  REQUEST FOR PRODUCTION NO. 148: All documents and communications referring or

  relating to letters sent by William Winkler to Craig Spray, Wayne LaPierre and Tyler Schropp on

  April 22, 2019.

         RESPONSE:

         Defendants object to the Request because it was apparently formulated without regard to
         the documents that Plaintiffs have already received in discovery. To date, Defendants have
         turned over more than 60,000 pages of documents in the Virginia Action, some of which
         provide documents concerning and relating to the Winkler letters. The NRA has already
         issued this discovery request and AMc has already made a substantial production of
         documents in response to it. Defendants object that this Request is duplicative of Request
         for Production 62 and refers Plaintiff to Defendants’ response to same.


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  REQUEST FOR PRODUCTION NO. 149: Documents to show the services category

  attributable to invoices of A-E, as outlined in Section I of the Services Agreement.

         RESPONSE:

         Defendants object to this Request as overly broad, unduly burdensome, vague, and not
         reasonably relevant to any party’s claim or defense and the proportional needs of the case.
         Defendants cannot interpret this vague request. The Request lacks any kind of reasonable
         limitation and potentially implicates large volumes of documents unrelated to the subject
         matter of this case and disproportionately burdensome to search for and/or collect.
         Defendants further object to this Request because it is unclear what the NRA means by
         “invoices of A-E” and what the phrase “to show” means in the context, and further objects
         that it appears to impose document-collection and/or document-creation obligations not
         required under the Rules. Defendants further object to this Request because it seeks
         information which is not appropriate through this discovery tool.

  REQUEST FOR PRODUCTION NO. 150: All documents and communications referring or

  relating to any vendor who provides goods or services to the NRA, including AMc, in which Oliver

  North maintains any ownership interest, manages, operates or controls.

         RESPONSE:

         Defendants object to this Request as overly broad, unduly burdensome, vague, and not
         reasonably relevant to any party’s claim or defense and the proportional needs of the case.
         The phrase “All documents and communications referring or relating” in this context lacks
         any kind of reasonable limitation and potentially implicates documents unrelated to the
         subject matter of this case and disproportionately burdensome to search for and/or collect.
         The Amended Complaint does not concern claims that AMc employees had ownership
         interests in non-AMc vendors that provided goods or services to the NRA. Defendants
         further object to this Request because it presupposes that AMc has intimate knowledge of
         North’s finances and business endeavors and knows every vendor that provides services or
         goods to the NRA. Defendants object to the premise of the question that Oliver North
         maintains an ownership interest, manages, operates or controls AMc. To the extent that
         this request seeks information about Oliver North’s private business interests unrelated to
         AMc, the request is objectionable and not calculated to lead to the discovery of information
         within the custody, possession and control of the Defendants.

  REQUEST FOR PRODUCTION NO. 151: All documents and communications referring or

  relating to any vendor who provides goods or services to the NRA, other than AMc, in which

  Revan McQueen maintains any ownership interest, manages, operates or controls.



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         RESPONSE:

         Defendants object to this Request as overly broad, unduly burdensome, vague, and not
         reasonably relevant to any party’s claim or defense and the proportional needs of the case.
         The phrase “All documents and communications referring or relating” in this context lacks
         any kind of reasonable limitation and potentially implicates documents unrelated to the
         subject matter of this case and disproportionately burdensome to search for and/or collect.
         The Amended Complaint does not concern claims that AMc employees had ownership
         interests in non-AMc vendors that provided goods or services to the NRA. Defendants
         further object to this Request because it presupposes that AMc knows every vendor that
         provides services or goods to the NRA. This request appears designed only to harass
         Defendants with a question that assumes a business relationship unrelated to the litigation
         and demands that such assumption be investigated at the expense of the Defendants.
         Subject to and without waiving the foregoing, Defendants are not in possession of any
         documents responsive to this Request.

  REQUEST FOR PRODUCTION NO. 152: All documents and communications referring or

  relating to any vendor who provides goods or services to the NRA, other than AMc, in which

  Anthony Makris maintains any ownership interest, manages, operates or controls.

         RESPONSE:

         Defendants object to this Request as overly broad, unduly burdensome, vague, and not
         reasonably relevant to any party’s claim or defense and the proportional needs of the case.
         The phrase “All documents and communications referring or relating” in this context lacks
         any kind of reasonable limitation and potentially implicates documents unrelated to the
         subject matter of this case and disproportionately burdensome to search for and/or collect.
         The Amended Complaint does not concern claims that AMc employees had ownership
         interests in non-AMc vendors that provided goods or services to the NRA. Defendants
         further object to this Request because it presupposes that AMc knows every vendor that
         provides services or goods to the NRA. This request appears designed only to harass
         Defendants with a question that assumes a business relationship unrelated to the litigation
         and demands that such assumption be investigated at the expense of the Defendants.
         Subject to and without waiving the foregoing, Defendants are not in possession of any
         documents responsive to this Request.

  REQUEST FOR PRODUCTION NO. 153: All documents and communications referring or

  relating to any vendor who provides goods or services to the NRA, other than AMc, in which

  Nader Tavangar maintains any ownership interest, manages, operates or controls.

         RESPONSE:



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         Defendants object to this Request as overly broad, unduly burdensome, vague, and not
         reasonably relevant to any party’s claim or defense and the proportional needs of the case.
         The phrase “All documents and communications referring or relating” in this context lacks
         any kind of reasonable limitation and potentially implicates documents unrelated to the
         subject matter of this case and disproportionately burdensome to search for and/or collect.
         The Amended Complaint does not concern claims that AMc employees had ownership
         interests in non-AMc vendors that provided goods or services to the NRA. Defendants
         further object to this Request because it presupposes that AMc knows every vendor that
         provides services or goods to the NRA. This request appears designed only to harass
         Defendants with a question that assumes a business relationship unrelated to the litigation
         and demands that such assumption be investigated at the expense of the Defendants.
         Subject to and without waiving the foregoing, Defendants are not in possession of any
         documents responsive to this Request.

  REQUEST FOR PRODUCTION NO. 154: All documents and communications referring or

  relating to any vendor who provides goods or services to the NRA, other than AMc, in which

  Edmund Martin maintains any ownership interest, manages, operates or controls.

         RESPONSE:

         Defendants object to this Request as overly broad, unduly burdensome, vague, and not
         reasonably relevant to any party’s claim or defense and the proportional needs of the case.
         The phrase “All documents and communications referring or relating” in this context lacks
         any kind of reasonable limitation and potentially implicates documents unrelated to the
         subject matter of this case and disproportionately burdensome to search for and/or collect.
         The Amended Complaint does not concern claims that AMc employees had ownership
         interests in non-AMc vendors that provided goods or services to the NRA. Defendants
         further object to this Request because it presupposes that AMc knows every vendor that
         provides services or goods to the NRA. This request appears designed only to harass
         Defendants with a question that assumes a business relationship unrelated to the litigation
         and demands that such assumption be investigated at the expense of the Defendants.
         Subject to and without waiving the foregoing, Defendants are not in possession of any
         documents responsive to this Request.

  REQUEST FOR PRODUCTION NO. 155: All documents and communications referring or

  relating to any vendor who provides goods or services to the NRA, other than AMc, in which Bill

  Powers maintains any ownership interest, manages, operates or controls.

         RESPONSE:

         Defendants object to this Request as overly broad, unduly burdensome, vague, and not
         reasonably relevant to any party’s claim or defense and the proportional needs of the case.

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         The phrase “All documents and communications referring or relating” in this context lacks
         any kind of reasonable limitation and potentially implicates documents unrelated to the
         subject matter of this case and disproportionately burdensome to search for and/or collect.
         The Amended Complaint does not concern claims that AMc employees had ownership
         interests in non-AMc vendors that provided goods or services to the NRA. Defendants
         further object to this Request because it presupposes that AMc knows every vendor that
         provides services or goods to the NRA. This request appears designed only to harass
         Defendants with a question that assumes a business relationship unrelated to the litigation
         and demands that such assumption be investigated at the expense of the Defendants.
         Subject to and without waiving the foregoing, Defendants are not in possession of any
         documents responsive to this Request.

  REQUEST FOR PRODUCTION NO. 156: All documents and communications referring or

  relating to any vendor who provides goods or services to the NRA, other than AMc, in which

  Lacey Duffy-Cremer maintains any ownership interest, manages, operates or controls.

         RESPONSE:

         Defendants object to this Request as overly broad, unduly burdensome, vague, and not
         reasonably relevant to any party’s claim or defense and the proportional needs of the case.
         The phrase “All documents and communications referring or relating” in this context lacks
         any kind of reasonable limitation and potentially implicates documents unrelated to the
         subject matter of this case and disproportionately burdensome to search for and/or collect.
         The Amended Complaint does not concern claims that AMc employees had ownership
         interests in non-AMc vendors that provided goods or services to the NRA. Defendants
         further object to this Request because it presupposes that AMc knows every vendor that
         provides services or goods to the NRA. This request appears designed only to harass
         Defendants with a question that assumes a business relationship unrelated to the litigation
         and demands that such assumption be investigated at the expense of the Defendants.
         Subject to and without waiving the foregoing, Defendants are not in possession of any
         documents responsive to this Request.

  REQUEST FOR PRODUCTION NO. 157: All documents and communications referring or

  relating to any vendor who provides goods or services to the NRA, other than AMc, in which

  Melanie Montgomery maintains any ownership interest, manages, operates or controls.

         RESPONSE:

         Defendants object to this Request as overly broad, unduly burdensome, vague, and not
         reasonably relevant to any party’s claim or defense and the proportional needs of the case.
         The phrase “All documents and communications referring or relating” in this context lacks
         any kind of reasonable limitation and potentially implicates documents unrelated to the

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         subject matter of this case and disproportionately burdensome to search for and/or collect.
         The Amended Complaint does not concern claims that AMc employees had ownership
         interests in non-AMc vendors that provided goods or services to the NRA. Defendants
         further object to this Request because it presupposes that AMc knows every vendor that
         provides services or goods to the NRA. This request appears designed only to harass
         Defendants with a question that assumes a business relationship unrelated to the litigation
         and demands that such assumption be investigated at the expense of the Defendants.
         Subject to and without waiving the foregoing, Defendants are not in possession of any
         documents responsive to this Request.

  REQUEST FOR PRODUCTION NO. 158: All documents and communications referring or

  relating to any vendor who provides goods or services to the NRA, other than AMc, in which

  Brandon Winkler maintains any ownership interest, manages, operates or controls.

         RESPONSE:

         Defendants object to this Request as overly broad, unduly burdensome, vague, and not
         reasonably relevant to any party’s claim or defense and the proportional needs of the case.
         The phrase “All documents and communications referring or relating” in this context lacks
         any kind of reasonable limitation and potentially implicates documents unrelated to the
         subject matter of this case and disproportionately burdensome to search for and/or collect.
         The Amended Complaint does not concern claims that AMc employees had ownership
         interests in non-AMc vendors that provided goods or services to the NRA. Defendants
         further object to this Request because it presupposes that AMc knows every vendor that
         provides services or goods to the NRA. This request appears designed only to harass
         Defendants with a question that assumes a business relationship unrelated to the litigation
         and demands that such assumption be investigated at the expense of the Defendants.
         Subject to and without waiving the foregoing, Defendants are not in possession of any
         documents responsive to this Request.

  REQUEST FOR PRODUCTION NO. 158: All documents and communications referring or

  relating to any vendor who provides goods or services to the NRA, other than AMc, in which

  William Winkler maintains any ownership interest, manages, operates or controls.

         RESPONSE:

         Defendants object to this Request as overly broad, unduly burdensome, vague, and not
         reasonably relevant to any party’s claim or defense and the proportional needs of the case.
         The phrase “All documents and communications referring or relating” in this context lacks
         any kind of reasonable limitation and potentially implicates documents unrelated to the
         subject matter of this case and disproportionately burdensome to search for and/or collect.
         The Amended Complaint does not concern claims that AMc employees had ownership

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         interests in non-AMc vendors that provided goods or services to the NRA. Defendants
         further object to this Request because it presupposes that AMc knows every vendor that
         provides services or goods to the NRA. This request appears designed only to harass
         Defendants with a question that assumes a business relationship unrelated to the litigation
         and demands that such assumption be investigated at the expense of the Defendants.
         Subject to and without waiving the foregoing, Defendants are not in possession of any
         documents responsive to this Request.

  REQUEST FOR PRODUCTION NO. 160: All documents and communications referring or

  relating to any vendor who provides goods or services to the NRA, other than AMc, in which Carl

  Warner maintains any ownership interest, manages, operates or controls.

         RESPONSE:

         Defendants object to this Request as overly broad, unduly burdensome, vague, and not
         reasonably relevant to any party’s claim or defense and the proportional needs of the case.
         The phrase “All documents and communications referring or relating” in this context lacks
         any kind of reasonable limitation and potentially implicates documents unrelated to the
         subject matter of this case and disproportionately burdensome to search for and/or collect.
         The Amended Complaint does not concern claims that AMc employees had ownership
         interests in non-AMc vendors that provided goods or services to the NRA. Defendants
         further object to this Request because it presupposes that AMc knows every vendor that
         provides services or goods to the NRA. This request appears designed only to harass
         Defendants with a question that assumes a business relationship unrelated to the litigation
         and demands that such assumption be investigated at the expense of the Defendants.
         Subject to and without waiving the foregoing, Defendants are not in possession of any
         documents responsive to this Request.

  REQUEST FOR PRODUCTION NO. 161: All documents and communications referring or

  relating to any vendor who provides goods or services to the NRA, other than AMc, in which Jesse

  Greenberg maintains any ownership interest, manages, operates or controls.

         RESPONSE:

         Defendants object to this Request as overly broad, unduly burdensome, vague, and not
         reasonably relevant to any party’s claim or defense and the proportional needs of the case.
         The phrase “All documents and communications referring or relating” in this context lacks
         any kind of reasonable limitation and potentially implicates documents unrelated to the
         subject matter of this case and disproportionately burdensome to search for and/or collect.
         The Amended Complaint does not concern claims that AMc employees had ownership
         interests in non-AMc vendors that provided goods or services to the NRA. Defendants
         further object to this Request because it presupposes that AMc knows every vendor that

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         provides services or goods to the NRA. This request appears designed only to harass
         Defendants with a question that assumes a business relationship unrelated to the litigation
         and demands that such assumption be investigated at the expense of the Defendants.
         Subject to and without waiving the foregoing, Defendants are not in possession of any
         documents responsive to this Request.

  REQUEST FOR PRODUCTION NO. 162: All documents and communications referring or

  relating to any vendor who provides goods or services to the NRA, other than AMc, in which

  Henry Martin maintains any ownership interest, manages, operates or controls.

         RESPONSE:

         Defendants object to this Request as overly broad, unduly burdensome, vague, and not
         reasonably relevant to any party’s claim or defense and the proportional needs of the case.
         The phrase “All documents and communications referring or relating” in this context lacks
         any kind of reasonable limitation and potentially implicates documents unrelated to the
         subject matter of this case and disproportionately burdensome to search for and/or collect.
         The Amended Complaint does not concern claims that AMc employees had ownership
         interests in non-AMc vendors that provided goods or services to the NRA. Defendants
         further object to this Request because it presupposes that AMc knows every vendor that
         provides services or goods to the NRA. This request appears designed only to harass
         Defendants with a question that assumes a business relationship unrelated to the litigation
         and demands that such assumption be investigated at the expense of the Defendants.
         Subject to and without waiving the foregoing, Defendants are not in possession of any
         documents responsive to this Request.

  REQUEST FOR PRODUCTION NO. 163: All documents and communications referring or

  relating to any vendor who provides goods or services to the NRA, other than AMc, in which Kyle

  Millar maintains any ownership interest, manages, operates or controls.

         RESPONSE:

         Defendants object to this Request as overly broad, unduly burdensome, vague, and not
         reasonably relevant to any party’s claim or defense and the proportional needs of the case.
         The phrase “All documents and communications referring or relating” in this context lacks
         any kind of reasonable limitation and potentially implicates documents unrelated to the
         subject matter of this case and disproportionately burdensome to search for and/or collect.
         The Amended Complaint does not concern claims that AMc employees had ownership
         interests in non-AMc vendors that provided goods or services to the NRA. Defendants
         further object to this Request because it presupposes that AMc knows every vendor that
         provides services or goods to the NRA. This request appears designed only to harass
         Defendants with a question that assumes a business relationship unrelated to the litigation

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          and demands that such assumption be investigated at the expense of the Defendants.
          Subject to and without waiving the foregoing, Defendants are not in possession of any
          documents responsive to this Request.

   REQUEST FOR PRODUCTION NO. 164: All documents and communications referring or

   relating to any vendor who provides goods or services to the NRA, other than AMc, in which

   David Valinski maintains any ownership interest, manages, operates or controls.

          RESPONSE:

          Defendants object to this Request as overly broad, unduly burdensome, vague, and not
          reasonably relevant to any party’s claim or defense and the proportional needs of the case.
          The phrase “All documents and communications referring or relating” in this context lacks
          any kind of reasonable limitation and implicates documents unrelated to the subject matter
          of this case and disproportionately burdensome to search for and/or collect. The Amended
          Complaint does not concern claims that AMc employees had ownership interests in non-
          AMc vendors that provided goods or services to the NRA. Defendants further object to
          this Request because it presupposes that AMc knows every vendor that provides services
          or goods to the NRA. This request appears designed only to harass Defendants with a
          question that assumes a business relationship unrelated to the litigation and demands that
          such assumption be investigated at the expense of the Defendants. Subject to and without
          waiving the foregoing, Defendants are not in possession of any documents responsive to
          this Request.

   REQUEST FOR PRODUCTION NO. 165: All documents referring or relating to the production

   and management of Shale.tv (http://shale.tv) by AMc.

          RESPONSE:

          Defendants object to this Request as overly broad, unduly burdensome, vague, and not
          reasonably relevant to any party’s claim or defense and the proportional needs of the case.
          The phrase “All documents and communications referring or relating” in this context lacks
          any kind of reasonable limitation and implicates documents unrelated to the subject matter
          of this case and disproportionately burdensome to search for and/or collect. The Amended
          Complaint does not concern Shale.tv. and the NRA has no entitlement to this information.
          Defendants further object to this Request as an unlawful effort by the NRA and the Brewer
          Firm to obtain sensitive information regarding other AMc clients in an effort to damage
          AMc’s client relationships.

   REQUEST FOR PRODUCTION NO. 166: All documents and communications referring or

   relating to viewership analytics (defined as any analysis or presentation of viewership numbers,



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   including but not limited to, any analysis or presentation of viewership metrics, viewership data,

   viewership analytics, and/or viewership statistics) for Shale.tv (http://shale.tv).

          RESPONSE:

          Defendants object to this Request as overly broad, unduly burdensome, vague, and not
          reasonably relevant to any party’s claim or defense and the proportional needs of the case.
          The phrase “All documents and communications referring or relating” in this context lacks
          any kind of reasonable limitation and implicates documents unrelated to the subject matter
          of this case and disproportionately burdensome to search for and/or collect. The Amended
          Complaint does not concern Shale.tv. and the NRA has no entitlement to this information.
          Defendants further object to this Request as an unlawful effort by the NRA and the Brewer
          Firm to obtain sensitive information regarding other AMc clients in an effort to damage
          AMc’s client relationships.

   REQUEST FOR PRODUCTION NO. 167: All documents referring or relating to the production

   and management of OklaTravelNet.com by AMc.

          RESPONSE:

          Defendants object to this Request as overly broad, unduly burdensome, vague, and not
          reasonably relevant to any party’s claim or defense and the proportional needs of the case.
          The phrase “All documents and communications referring or relating” in this context lacks
          any kind of reasonable limitation and implicates documents unrelated to the subject matter
          of this case and disproportionately burdensome to search for and/or collect. The Amended
          Complaint does not concern OklaTravelNet.com and the NRA has no entitlement to this
          information. Defendants further object to this Request as an unlawful effort by the NRA
          and the Brewer Firm to obtain sensitive information regarding other AMc clients in an
          effort to damage AMc’s client relationships.

   REQUEST FOR PRODUCTION NO. 168: All documents and communications referring or

   relating to viewership analytics (defined as any analysis or presentation of viewership numbers,

   including but not limited to, any analysis or presentation of viewership metrics, viewership data,

   viewership analytics, and/or viewership statistics) for OklaTravelNet.com.

          RESPONSE:

          Defendants object to this Request as overly broad, unduly burdensome, vague, and not
          reasonably relevant to any party’s claim or defense and the proportional needs of the case.
          The phrase “All documents and communications referring or relating” in this context lacks
          any kind of reasonable limitation and implicates documents unrelated to the subject matter


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          of this case and disproportionately burdensome to search for and/or collect. The Amended
          Complaint does not concern OklaTravelNet.com and the NRA has no entitlement to this
          information. Defendants further object to this Request as an unlawful effort by the NRA
          and the Brewer Firm to obtain sensitive information regarding other AMc clients in an
          effort to damage AMc’s client relationships.

   REQUEST FOR PRODUCTION NO. 169: All documents referring or relating to the production

   and management of EnergyNewsLive.com by AMc.

          RESPONSE:

          Defendants object to this Request as overly broad, unduly burdensome, vague, and not
          reasonably relevant to any party’s claim or defense and the proportional needs of the case.
          The phrase “All documents and communications referring or relating” in this context lacks
          any kind of reasonable limitation and implicates documents unrelated to the subject matter
          of this case and disproportionately burdensome to search for and/or collect. The Amended
          Complaint does not concern EnergyNewsLive.com and the NRA has no entitlement to this
          information. Defendants further object to this Request as an unlawful effort by the NRA
          and the Brewer Firm to obtain sensitive information regarding other AMc clients in an
          effort to damage AMc’s client relationships.

   REQUEST FOR PRODUCTION NO. 170: All documents and communications referring or

   relating to viewership analytics (defined as any analysis or presentation of viewership numbers,

   including but not limited to, any analysis or presentation of viewership metrics, viewership data,

   viewership analytics, and/or viewership statistics) for EnergyNewsLive.com.

          RESPONSE:

          Defendants object to this Request as overly broad, unduly burdensome, vague, and not
          reasonably relevant to any party’s claim or defense and the proportional needs of the case.
          The phrase “All documents and communications referring or relating” in this context lacks
          any kind of reasonable limitation and implicates documents unrelated to the subject matter
          of this case and disproportionately burdensome to search for and/or collect. The Amended
          Complaint does not concern EnergyNewsLive.com and the NRA has no entitlement to this
          information. Defendants further object to this Request as an unlawful effort by the NRA
          and the Brewer Firm to obtain sensitive information regarding other AMc clients in an
          effort to damage AMc’s client relationships.

   REQUEST FOR PRODUCTION NO. 171: All documents referring or relating to the production

   and management of "6FL," or Six Flags Live by AMc.



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          RESPONSE:

          Defendants object to this Request as overly broad, unduly burdensome, vague, and not
          reasonably relevant to any party’s claim or defense and the proportional needs of the case.
          The phrase “All documents and communications referring or relating” in this context lacks
          any kind of reasonable limitation and implicates documents unrelated to the subject matter
          of this case and disproportionately burdensome to search for and/or collect. The Amended
          Complaint does not concern “6FL” or Six Flags Live and the NRA has no entitlement to
          this information. Defendants further object to this Request as an unlawful effort by the
          NRA and the Brewer Firm to obtain sensitive information regarding other AMc clients in
          an effort to damage AMc’s client relationships.

   REQUEST FOR PRODUCTION NO. 172: All documents and communications referring or

   relating to viewership analytics (defined as any analysis or presentation of viewership numbers,

   including but not limited to, any analysis or presentation of viewership metrics, viewership data,

   viewership analytics, and/or viewership statistics) for "6FL," or Six Flags Live.

          RESPONSE:

          Defendants object to this Request as overly broad, unduly burdensome, vague, and not
          reasonably relevant to any party’s claim or defense and the proportional needs of the case.
          The phrase “All documents and communications referring or relating” in this context lacks
          any kind of reasonable limitation and implicates documents unrelated to the subject matter
          of this case and disproportionately burdensome to search for and/or collect. The Amended
          Complaint does not concern "6FL," or Six Flags Live and the NRA has no entitlement to
          this information. Defendants further object to this Request as an unlawful effort by the
          NRA and the Brewer Firm to obtain sensitive information regarding other AMc clients in
          an effort to damage AMc’s client relationships.

   REQUEST FOR PRODUCTION NO. 173: All documents and communications referring or

   relating to any audits of or accounting of AMc services by any of its clients.

          RESPONSE:

          Defendants object to this Request as overly broad, unduly burdensome, vague, and not
          reasonably relevant to any party’s claim or defense and the proportional needs of the case.
          The phrase “All documents and communications referring or relating” in this context lacks
          any kind of reasonable limitation and implicates documents unrelated to the subject matter
          of this case and disproportionately burdensome to search for and/or collect. The Amended
          Complaint does not concern the activities of AMc’s other clients and the NRA has no
          entitlement to this information. This request is made solely to oppress and harass the
          Defendants and it seeks information that is confidential information relating to other client


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          finances. Defendants further object to this Request as an unlawful effort by the NRA and
          the Brewer Firm to obtain sensitive information regarding other AMc clients in an effort
          to damage AMc’s client relationships.

   REQUEST FOR PRODUCTION NO. 174: All documents and communications referring or

   relating to AMc’s loans, borrowings or other financial relationships.

          RESPONSE:

          Defendants object to this Request as overly broad, unduly burdensome, vague, and not
          reasonably relevant to any party’s claim or defense and the proportional needs of the case.
          The phrase “All documents and communications referring or relating” in this context lacks
          any kind of reasonable limitation and potentially implicates large volumes of documents
          unrelated to the subject matter of this case and disproportionately burdensome to search
          for and/or collect. Defendant further objects because a detailed accounting of AMc’s loans,
          borrowings or other financial relationships is not relevant to this case and therefore
          harassing. Defendants further object to this Request as an unlawful effort by the NRA and
          the Brewer Firm to obtain sensitive information regarding AMc in an effort to damage
          AMc.

   REQUEST FOR PRODUCTION NO. 175: All documents and communications referring or

   relating to clothing stores where AMc maintains corporate accounts whose services are obtained

   by AMc and passed on, directly or indirectly, to the NRA.

          RESPONSE:

          Defendants object to this Request as overly broad, unduly burdensome, vague, and not
          reasonably relevant to any party’s claim or defense and the proportional needs of the case.
          The phrase “All documents and communications referring or relating” in this context lacks
          any kind of reasonable limitation and potentially implicates large volumes of documents
          unrelated to the subject matter of this case and disproportionately burdensome to search
          for and/or collect. The lack of a specific date range, subject matter, or other scope
          limitation adds to overbreadth and undue burden. Defendants further object to this Request
          because the phrase “obtained by AMc” is vague and thus fails to adequately explain the
          type of interaction at issue. It appears that this request is intended to obtain documents
          relating to the Zegna clothing store purchases by Wayne LaPierre, and such information
          has been provided in prior document production.

          Subject to and without waiving the foregoing objections, following a reasonably diligent
          search, Defendants will produce non-privileged documents responsive to this Request at a
          mutually agreeable time and place, if any exist that have not already been produced.

   REQUEST FOR PRODUCTION NO. 176: All documents and communications referring or


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   relating to makeup artists, including but not limited to makeup artists located in Nashville, TN,

   whose services are obtained by AMc and passed on, directly or indirectly, to the NRA.

          RESPONSE:

          Defendants object to this Request as overly broad, unduly burdensome, vague, and not
          reasonably relevant to any party’s claim or defense and the proportional needs of the case.
          The phrase “All documents and communications referring or relating” in this context lacks
          any kind of reasonable limitation and potentially implicates large volumes of documents
          unrelated to the subject matter of this case and disproportionately burdensome to search
          for and/or collect. The lack of a specific date range, subject matter, or other scope
          limitation adds to overbreadth and undue burden. Defendants further object to this Request
          because the phrase “obtained by AMc” is vague and thus fails to adequately explain the
          type of interaction at issue. Defendants object to the Request because it was apparently
          formulated without regard to the documents that Plaintiffs have already received in
          discovery. To date, Defendants have turned over more than 60,000 pages of documents in
          the Virginia Action, some of which provide documents concerning and relating to the
          Nashville make-up artists. Defendants further object to this Request to the extent that it is
          duplicative of Request for Production 17 and 21.

          Subject to and without waiving the foregoing objections, following a reasonably diligent
          search, Defendants will produce non-privileged documents responsive to this Request at a
          mutually agreeable time and place, if any exist that have not already been produced.

   REQUEST FOR PRODUCTION NO. 177: All documents and communications referring or

   relating to any lawyers, accountants, and any other professional service firms whose services are

   obtained by AMc and passed on, directly or indirectly, to the NRA.

          RESPONSE:

          Defendants object to this Request as overly broad, unduly burdensome, vague, and not
          reasonably relevant to any party’s claim or defense and the proportional needs of the case.
          The phrase “All documents and communications referring or relating” in this context lacks
          any kind of reasonable limitation and potentially implicates large volumes of documents
          unrelated to the subject matter of this case and disproportionately burdensome to search
          for and/or collect. The lack of a specific date range or other scope limitation adds to
          overbreadth and undue burden. Defendants further object to this Request because the
          phrase “obtained by AMc” is vague and thus fails to adequately explain the type of
          interaction at issue. Defendants object to the Request because it was apparently formulated
          without regard to the documents that Plaintiffs have already received in discovery. To
          date, Defendants have turned over more than 60,000 pages of documents in the Virginia
          Action, some of which provide documents concerning and relating to professional services
          billed to the NRA. Defendants further object to this Request to the extent that it is


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          duplicative of Request for Production 17 and 21.

          Subject to and without waiving the foregoing objections, following a reasonably diligent
          search, Defendants will produce non-privileged documents responsive to this Request at a
          mutually agreeable time and place, if any exist that have not already been produced.

   REQUEST FOR PRODUCTION NO. 178: All documents and communications referring or

   relating to any restaurants, clubs, concierge services obtained by AMc and passed on, directly or

   indirectly, to the NRA.

          RESPONSE:

          Defendants object to this Request as overly broad, unduly burdensome, vague, and not
          reasonably relevant to any party’s claim or defense and the proportional needs of the case.
          The phrase “All documents and communications referring or relating” in this context lacks
          any kind of reasonable limitation and potentially implicates large volumes of documents
          unrelated to the subject matter of this case and disproportionately burdensome to search
          for and/or collect. The lack of a specific date range, sufficiently narrow subject matter, or
          other scope limitation adds to overbreadth and undue burden. Defendants further object to
          this Request because the phrase “obtained by AMc” is vague and thus fails to adequately
          explain the type of interaction at issue. Defendants further object to this Request to the
          extent that it is duplicative of Request for Production 17 and 21. Defendants object to the
          Request because it was apparently formulated without regard to the documents that
          Plaintiffs have already received in discovery. To date, Defendants have turned over more
          than 60,000 pages of documents in the Virginia Action, some of which provide documents
          concerning and relating to the out of pocket expenses passed through to the NRA.

          Subject to and without waiving the foregoing objections, following a reasonably diligent
          search, Defendants will produce non-privileged documents responsive to this Request at a
          mutually agreeable time and place, if any exist that have not already been produced.

   REQUEST FOR PRODUCTION NO. 179: All documents and communications referring or

   relating to any and all limousine or chauffeur services obtained by AMc and passed on, directly or

   indirectly, to the NRA.

          RESPONSE:

          Defendants object to this Request as overly broad, unduly burdensome, vague, and not
          reasonably relevant to any party’s claim or defense and the proportional needs of the case.
          The phrase “All documents and communications referring or relating” in this context lacks
          any kind of reasonable limitation and potentially implicates large volumes of documents
          unrelated to the subject matter of this case and disproportionately burdensome to search
          for and/or collect. The lack of a specific date range or other scope limitation adds to

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          overbreadth and undue burden. Defendants further object to this Request because the
          phrase “obtained by AMc” is vague and thus fails to adequately explain the type of
          interaction at issue. Defendants further object to this Request to the extent that it is
          duplicative of Request for Production 17 and 21. Defendants object to the Request because
          it was apparently formulated without regard to the documents that Plaintiffs have already
          received in discovery. To date, Defendants have turned over more than 60,000 pages of
          documents in the Virginia Action, some of which provide documents concerning and
          relating to the out of pocket expenses passed through to the NRA.

          Subject to and without waiving the foregoing objections, following a reasonably diligent
          search, Defendants will produce non-privileged documents responsive to this Request at a
          mutually agreeable time and place, if any exist that have not already been produced.

   REQUEST FOR PRODUCTION NO. 180: All documents and communications referring or

   relating to any and all security services obtained by AMc and passed on, directly or indirectly, to

   the NRA.

          RESPONSE:

          Defendants object to this Request as overly broad, unduly burdensome, vague, and not
          reasonably relevant to any party’s claim or defense and the proportional needs of the case.
          The phrase “All documents and communications referring or relating” in this context lacks
          any kind of reasonable limitation and potentially implicates large volumes of documents
          unrelated to the subject matter of this case and disproportionately burdensome to search
          for and/or collect. The lack of a specific date range, sufficiently narrow subject matter, or
          other scope limitation adds to overbreadth and undue burden. Defendants further object
          because the term “security services” is vague. Defendants further object to this Request
          because the phrase “indirectly” is vague and thus fails to adequately explain the type of
          interaction at issue. Defendants further object to this Request to the extent that it is
          duplicative of Request for Production 17 and 21. Defendants object to the Request because
          it was apparently formulated without regard to the documents that Plaintiffs have already
          received in discovery. To date, Defendants have turned over more than 60,000 pages of
          documents in the Virginia Action, some of which provide documents concerning and
          relating to the out of pocket expenses passed through to the NRA.

          Subject to and without waiving the foregoing objections, following a reasonably diligent
          search, Defendants will produce non-privileged documents responsive to this Request at a
          mutually agreeable time and place, if any exist that have not already been produced.

   REQUEST FOR PRODUCTION NO. 181: All documents and communications referring or

   relating to any and all philanthropic and not-for- profit entities in which AMc has invested on

   behalf of the NRA that was passed on, directly or indirectly, to the NRA.


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          RESPONSE:

          Defendants object to this Request as overly broad, unduly burdensome, vague, and not
          reasonably relevant to any party’s claim or defense and the proportional needs of the case.
          The phrase “All documents and communications referring or relating” in this context lacks
          any kind of reasonable limitation and potentially implicates large volumes of documents
          unrelated to the subject matter of this case and disproportionately burdensome to search
          for and/or collect. The lack of a specific date range, sufficiently narrow subject matter, or
          other scope limitation adds to overbreadth and undue burden. Defendants further object to
          this Request because the phrases “in which AMc has invested on behalf of the NRA” and
          “indirectly” are vague and thus fail to adequately explain the type of interaction at issue.
          Defendants further object to this Request to the extent that it is duplicative of Request for
          Production 17 and 21. Defendants object to the Request because it was apparently
          formulated without regard to the documents that Plaintiffs have already received in
          discovery. To date, Defendants have turned over more than 60,000 pages of documents in
          the Virginia Action, some of which provide documents concerning and relating to the out
          of pocket expenses passed through to the NRA.

          Subject to and without waiving the foregoing objections, following a reasonably diligent
          search, Defendants will produce non-privileged documents responsive to this Request at a
          mutually agreeable time and place, if any exist that have not already been produced.

   REQUEST FOR PRODUCTION NO. 182: All documents and communications referring or

   relating to Youth for Tomorrow and the Women’s Leadership Forum in which AMc has invested

   on behalf of the NRA that was passed on, directly or indirectly, to the NRA.

          RESPONSE:

          Defendants object to this Request as overly broad, unduly burdensome, vague, and not
          reasonably relevant to any party’s claim or defense and the proportional needs of the case.
          The phrase “All documents and communications referring or relating” in this context lacks
          any kind of reasonable limitation and potentially implicates large volumes of documents
          unrelated to the subject matter of this case and disproportionately burdensome to search
          for and/or collect. The lack of a specific date range or other scope limitation adds to
          overbreadth and undue burden. Defendants further object to this Request because the
          phrases “in which AMc has invested on behalf of the NRA” and “indirectly” are vague and
          thus fail to adequately explain the type of interaction at issue. Defendants further object to
          this Request to the extent that it is duplicative of Request for Production 17 and 21.
          Defendants object to the Request because it was apparently formulated without regard to
          the documents that Plaintiffs have already received in discovery. To date, Defendants have
          turned over more than 60,000 pages of documents in the Virginia Action, some of which
          provide documents concerning and relating to the out of pocket expenses passed through
          to the NRA.



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          Subject to and without waiving the foregoing objections, following a reasonably diligent
          search, Defendants will produce non-privileged documents responsive to this Request at a
          mutually agreeable time and place, if any exist that have not already been produced.

   REQUEST FOR PRODUCTION NO. 183: All documents and communications referring or

   relating to travel and entertainment by Angus McQueen, Revan McQueen, Anthony Makris, Oliver

   North, Nadar Tavangar, Edmund Martin, William Powers, Lacey Duffey-Cremer, Melanie

   Montgomery, Brandon Winkler, William Winkler, Carl Warner, Jesse Greenberg, Henry Martin,

   Kyle Millar, and David Valinski that were billed, directly or indirectly, to the NRA.

          RESPONSE:

          Defendants object to this Request as overly broad, unduly burdensome, vague, and not
          reasonably relevant to any party’s claim or defense and the proportional needs of the case.
          The phrase “All documents and communications referring or relating” in this context lacks
          any kind of reasonable limitation and potentially implicates large volumes of documents
          unrelated to the subject matter of this case and disproportionately burdensome to search
          for and/or collect. The lack of a specific date range or other scope limitation adds to
          overbreadth and undue burden. Defendants further object to this Request because the
          phrase “indirectly” is vague and thus fails to adequately explain the type of interaction at
          issue. Defendants further object to this Request to the extent that it is duplicative of
          Request for Production 17 and 21. Defendants object to the Request because it was
          apparently formulated without regard to the documents that Plaintiffs have already received
          in discovery. To date, Defendants have turned over more than 60,000 pages of documents
          in the Virginia Action, some of which provide documents concerning and relating to the
          expenses passed through to the NRA.

          Subject to and without waiving the foregoing objections, following a reasonably diligent
          search, Defendants will produce non-privileged documents responsive to this Request at a
          mutually agreeable time and place, if any exist that have not already been produced.

   REQUEST FOR PRODUCTION NO. 184: All documents and communications referring or

   relating to the identity of family members or extended family by third degree of separation that

   work for AMc currently and that worked for the NRA in any period in the past.

          RESPONSE:

          Defendants object to this Request as overly broad, unduly burdensome, vague, and not
          reasonably relevant to any party’s claim or defense and the proportional needs of the case.
          The phrase “All documents and communications referring or relating” in this context lacks


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          any kind of reasonable limitation and potentially implicates large volumes of documents
          unrelated to the subject matter of this case and disproportionately burdensome to search
          for and/or collect. The lack of a specific date range or other scope limitation adds to
          overbreadth and undue burden. Defendants further object to this Request because it seeks
          information which is not appropriate through this discovery tool. In addition, to the extent
          that this request demands that the Defendants research and create a new document that
          compiles requested information, it is objectionable.

   REQUEST FOR PRODUCTION NO. 185: All documents and communications referring or

   relating to any regular providers of food, drink, cigars, alcohol, and other substances obtained by

   AMc personnel that were billed, directly or indirectly, to the NRA.

          RESPONSE:

          Defendants object to this Request as overly broad, unduly burdensome, vague, and not
          reasonably relevant to any party’s claim or defense and the proportional needs of the case.
          The phrase “All documents and communications referring or relating” in this context lacks
          any kind of reasonable limitation and potentially implicates large volumes of documents
          unrelated to the subject matter of this case and disproportionately burdensome to search
          for and/or collect. The lack of a specific date range or other scope limitation adds to
          overbreadth and undue burden. If the NRA is seeking billing related to Landini Brothers
          it needs to reformulate this request so that AMc can respond accordingly. Defendants
          further object to this Request to the extent that it is duplicative of Request for Production
          17 and 21. Defendants object to the Request because it was apparently formulated without
          regard to the documents that Plaintiffs have already received in discovery. To date,
          Defendants have turned over more than 60,000 pages of documents in the Virginia Action,
          some of which provide documents concerning and relating to the out of pocket expenses
          passed through to the NRA.

          Subject to and without waiving the foregoing objections, following a reasonably diligent
          search, Defendants will produce non-privileged documents responsive to this Request at a
          mutually agreeable time and place, if any exist that have not already been produced.

   REQUEST FOR PRODUCTION NO. 186: All documents and communications referring or

   relating to in any way to tangible or intangible assets obtained by AMc whose acquisition cost or

   maintenance costs were billed, directly or indirectly, to the NRA.

          RESPONSE:

          Defendants object to this Request as overly broad, unduly burdensome, vague, and not
          reasonably relevant to any party’s claim or defense and the proportional needs of the case.
          The phrase “All documents and communications referring or relating” in this context lacks


   DEFENDANTS’ OBJECTIONS AND RESPONSES TO PLAINTIFF’S SECOND REQUESTS FOR PRODUCTION          PAGE 53
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          any kind of reasonable limitation and potentially implicates large volumes of documents
          unrelated to the subject matter of this case and disproportionately burdensome to search
          for and/or collect. Defendants further object to this Request because the phrase “tangible
          or intangible assets” is vague and thus fails to adequately explain the focus of the Request.
          In addition, to the extent that this request demands that the Defendants research and create
          a new document that compiles requested information, it is objectionable. Defendants
          further object to this Request to the extent that it is duplicative of Request for Production
          13, 17, and 21.

          Subject to and without waiving the foregoing objections, following a reasonably diligent
          search, Defendants will produce non-privileged documents responsive to this Request at a
          mutually agreeable time and place, if any exist that have not already been produced.

   REQUEST FOR PRODUCTION NO. 187: All documents and communications referring or

   relating to any communications with spokespeople whose services were obtained by AMc and

   billed, directly or indirectly, to the NRA.

          RESPONSE:

          Defendants object to this Request as overly broad, unduly burdensome, vague, and not
          reasonably relevant to any party’s claim or defense and the proportional needs of the case.
          The phrase “spokespeople whose services were obtained by AMc” is undefined and
          indecipherable. The phrase “All documents and communications referring or relating” in
          this context lacks any kind of reasonable limitation and potentially implicates large
          volumes of documents unrelated to the subject matter of this case and disproportionately
          burdensome to search for and/or collect. Defendants further object to this Request because
          the phrase “communications referring or relating to any communications” multiplies the
          complexity of the request and thus the burden. Defendants further object to this Request
          to the extent that it is duplicative of Request for Production 17 and 21.

   REQUEST FOR PRODUCTION NO. 188: All documents and communications referring or

   relating to any communications regarding fundraising activities organized by AMc, including but

   not limited to Anthony Makris, and billed, directly or indirectly, to the NRA.

          RESPONSE:

          Defendants object to this Request as overly broad, unduly burdensome, vague, and not
          reasonably relevant to any party’s claim or defense and the proportional needs of the case.
          The term “fundraising activities” is undefined and overbroad. The phrase “All documents
          and communications referring or relating” in this context lacks any kind of reasonable
          limitation and potentially implicates large volumes of documents unrelated to the subject
          matter of this case and disproportionately burdensome to search for and/or collect.


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          Defendants further object to this Request because the phrase “communications referring or
          relating to any communications” multiplies the complexity of the request and thus the
          burden. Defendants further object to this Request to the extent that it is duplicative of
          Request for Production 17 and 21.

   REQUEST FOR PRODUCTION NO. 189: All documents and communications referring or

   relating to other contracts for services obtained by AMc for the benefit of the NRA and billed,

   directly or indirectly, to the NRA.

          RESPONSE:

          Defendants object to this Request as overly broad, unduly burdensome, vague, and not
          reasonably relevant to any party’s claim or defense and the proportional needs of the case.
          The phrase “All documents and communications referring or relating” in this context lacks
          any kind of reasonable limitation and potentially implicates large volumes of documents
          unrelated to the subject matter of this case and disproportionately burdensome to search
          for and/or collect. Defendants further object to this Request to the extent that it is
          duplicative of Request for Production 17 and 21. Subject to and without waiving the
          foregoing objections, following a reasonably diligent search, Defendants will produce non-
          privileged documents responsive to this Request at a mutually agreeable time and place, if
          any exist that have not already been produced.

   REQUEST FOR PRODUCTION NO. 190: All documents and communications related to

   annual audit and audit process of AMc’s financial statements.

          RESPONSE:

          Defendants object to this Request as overly broad, unduly burdensome, vague, and not
          reasonably relevant to any party’s claim or defense and the proportional needs of the case.
          The phrase “All documents and communications related” in this context lacks any kind of
          reasonable limitation and potentially implicates large volumes of documents unrelated to
          the subject matter of this case and disproportionately burdensome to search for and/or
          collect. Defendants further object that the phrase “annual audit and audit process” is vague
          and confusing because it is not clear whether the Request calls for information related to
          audits conducted by the NRA or some other party. Defendants object to the Request
          because it was apparently formulated without regard to the documents that Plaintiffs have
          already received in discovery. To date, Defendants have turned over more than 60,000
          pages of documents in the Virginia Action, some of which provide documents concerning
          and relating to AMc’s audits. Defendants further object to this Request because it has
          already provided the NRA its annual audit for the last three years. Defendants further
          object to this Request as a continuing unlawful effort by the NRA and the Brewer Firm to
          obtain sensitive information regarding AMc in an effort to damage AMc business interests
          unrelated to this litigation.


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   Dated: March 26, 2020.

                                                Respectfully submitted,

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                                                ATTORNEYS FOR DEFENDANTS


                                   CERTIFICATE OF SERVICE

          I hereby certify that on March 26, 2020, that I have served the document on all counsel
   and/or pro se parties of record by a manner authorized by Federal Rules of Civil Procedure 5(b)(2).

                                                /s/ Brian E. Mason
                                                BRIAN E. MASON




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                         EXHIBIT 80
                      (Filed Under Seal)




                                                                APP. 02298-APP. 02303
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                         EXHIBIT 81
                      (Filed Under Seal)




                                                                APP. 02304-APP. 02405
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                         EXHIBIT 82
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                         EXHIBIT 83
                      (Filed Under Seal)




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                         EXHIBIT 84
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                         EXHIBIT 85
                      (Filed Under Seal)




                                                                APP. 02786-APP. 02788
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                         EXHIBIT 86
                      (Filed Under Seal)




                                                                APP. 02789-APP. 02907
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                         EXHIBIT 87
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                         EXHIBIT 89
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                         EXHIBIT 90
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                      EXHIBIT 




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NYSCEF DOC. NO. 25                                                                                 RECEIVED NYSCEF: 10/23/2019




          SUPREME COURT OF THE STATE OF NEW YORK
          COUNTY OF NEW YORK
          --------------------------------------------------------------------------------x
          THE PEOPLE OF THE STATE OF NEW YORK, by LETITIA :
          JAMES, Attorney General of the State of New York,                                :
                                                                                           :
                                                                Petitioners,               :   Index # 451825/2019
                                                                                           :
                                     -against-                                             :   Hon.
                                                                                           :
          ACKERMAN MCQUEEN and NATIONAL RIFLE                                              :
          ASSOCIATION OF AMERICA,                                                          :
                                                                                           :
                                                                Respondents.               :
          --------------------------------------------------------------------------------x

             MEMORANDUM OF LAW IN OPPOSITION TO THE ATTORNEY GENERAL’S
              SPECIAL PROCEEDING AND APPLICATION TO COMPEL RESPONDENT
            ACKERMAN MCQUEEN TO COMPLY WITH AN INVESTIGATORY SUBPOENA




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                                                                         ATTORNEYS FOR THE NATIONAL
                                                                         RIFLE ASSOCIATION OF AMERICA




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                                             PRELIMINARY STATEMENT

                     The New York State Office of the Attorney General (the “OAG”) styles its Petition as a

          proceeding to compel production of documents by Ackerman McQueen, Inc. (“AMQ”) pursuant

          to a subpoena dated July 8, 2019 (the “Subpoena”). However, as the OAG admits, AMQ never

          refused to produce the subpoenaed documents—instead, the OAG has refused to receive them,

          until and unless the documents can be secreted from AMQ’s longtime client and principal, the

          National Rifle Association of America (the “NRA”). The power to enforce secrecy in connection

          with a third-party document subpoena is one for which it has been unable to cite any authority.

          The OAG instigated the current dispute in the apparent hope of forging new case law that will

          enable it to steamroll valid objections to civil subpoenas, vitiate agency relationships, and

          undermine principals’ privileges in this case and others. The Court should decline the OAG’s

          invitation to expand the state’s subpoena power, and should dismiss the Petition.

                     For decades, AMQ served as the NRA’s agent and its most trusted collaborator. AMQ

          employees performed roles functionally equivalent to those of NRA employees, and became party

          to the NRA’s most sensitive communications and information. For example, AMQ employees

          sought and received legal advice from the NRA’s General Counsel, and learned the identities of

          NRA donors.1 The relationship was one of extensive trust and confidence, characterized by

          common-law fiduciary duties of loyalty and confidentiality on the part of AMQ to the NRA which

          were codified in the parties’ Services Agreement. Pursuant to these duties, when AMQ receives a

          subpoena seeking NRA-related documents, it is required to notify the NRA so that the NRA may

          take lawful steps to protect its interests, including by interposing objections and by redacting and

          logging privileged material.



          1
              See discussion infra at 5-6.

                                                           1


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                  Unlike contractual nondisclosure obligations analogized by the Petition (e.g., the

          confidentiality clause in the Cosby case),2 AMQ’s obligation to apprise the NRA of outgoing

          document productions was not imposed in the aftermath of an alleged crime in order to conceal

          events from authorities. Rather, AMQ’s duty of confidentiality was a foundational feature of a

          longstanding, lawful business relationship—it is the basis on which AMQ was entrusted, in the

          first place, with the material sought by the Subpoena. Moreover, AMQ’s duties have been

          adhered-to throughout the OAG’s investigation (and a contemporaneous regulatory inquiry),

          without any discernible burden on document production. The NRA has been presented with

          outgoing batches of documents by AMQ on two occasions; within days, it has completed its

          privilege review and (where applicable) furnished a privilege log. Similarly, when the OAG

          subpoenaed another NRA contractor—the NRA’s accounting firm—the NRA reviewed outgoing

          documents and logged those which were privileged. To date, the OAG has not challenged any of

          the NRA’s privilege logs.

                  Against this backdrop, the NRA was surprised to receive a telephone call from the OAG

          days before the filing of this Petition, demanding that the NRA stipulate to void AMQ’s

          nondisclosure obligation as a matter of public policy. Incredibly, the OAG refused to explain why

          it required that extraordinary relief. Nonetheless, in an effort to reach some accommodation, NRA

          counsel explained that the NRA had rapidly consented to the production of every document

          identified by AMQ to date in response to the Subpoena, and promptly provided privilege logs to

          the OAG and regulators— and if there were additional documents outstanding from AMQ, the

          NRA was not the cause of the bottleneck. The OAG sharply responded that they did not “want to



          2
           See Memorandum of Law in Support of the Attorney General’s Special Proceeding and Application to Compel
          Respondent Ackerman McQueen to Comply with an Investigatory Subpoena (“Mem. Supp. Pet.”) at 14-17;
          discussion infra at 17-18.

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          talk about [AMQ]” and, indeed, the impetus to “talk to” the NRA about what documents were

          being sought “gets at the whole problem.” The OAG stated that they did not want the NRA

          “monitoring” their investigation.

                   This was a familiar theme. The OAG had previously subpoenaed the NRA’s accounting

          firm, insisting unsuccessfully that the firm conceal the subpoena from the NRA in violation of the

          Internal Revenue Code.3 Similarly, the Subpoena that is now before the Court contains an

          instruction to AMQ that its existence and any response be kept secret.4 Although the Petition states

          that the NRA purports to “preview and potentially veto”5 any document production, the NRA’s

          “veto” power is circumscribed to privileged material,6 which it has promptly and transparently

          logged. Thus, the real controversy before the Court is whether the NRA should be able to

          “preview” subpoenas issued to its agent, and documents being produced in response, as a means

          of asserting its privileges. Although courts have previously found that government investigators

          have no universal, by-default obligation to notify investigative subjects about third-party

          subpoenas,7 no authority empowers the OAG to forbid the recipient of the third-party subpoena

          from making the disclosure on its own.8 And where, as here, a principal has carefully bargained


          3
            See Frazer Aff. Ex. F (Letter to J. Frazer from C. Weller dated May 15, 2019).
          4
            See Verified Petition (“Pet.”), Ex. 8 at 1 (instructing AMQ “not to disclose the existence of this subpoena, its
          contents, or any subsequent communications with the Office of the Attorney General”).
          5
            See, e.g., Pet. para. 29.
          6
            Indeed, in an effort to avoid this dispute, the NRA offered to stipulate in writing that it would only redact and log
          privileged material and, for the avoidance of doubt, would waive any potential nondisclosure rights with respect to
          nonprivileged material. The NRA received no response to its offer. See discussion infra at 12-13.
          7
            See Mem. Supp. Pet. at 18, citing S.E.C. v. Jerry T. O’Brien, Inc., 467 U.S. 735, 743 (1984).
          8
            Indeed, even in the context of a grand jury subpoena (where the law typically favors secrecy), the witness receiving
          the subpoena is free to disclose it—and outgoing documents may be subject to a principal’s privilege review. See,
          e.g., See, e.g., Matter of Grand Jury Applications for Court-Ordered Subpoenas and Nondisclosure Orders, 142
          Misc. 2d 241, 248 (N.Y. Sup. 1988) (noting that witnesses are generally exempt from secrecy provisions pertaining
          to grand jury subpoenas, and questioning whether it is even within the power of a court to impose a nondisclosure
          order on a witness); In Re Grand Jury Subpoenas 04-124-03 and 04-124-05, 454 F.3d 511, 523 (6th Cir. July 12,
          2006) (reversing a district court order that a denied motion, by investigative target, to conduct a privilege review of
          documents subpoenaed by a grand jury from a third party, and noting that relying on a government “taint team” to
          identify potentially privileged documents would leave “the government’s fox . . . in charge of the [target’s]
          henhouse . . . [where it may] err by neglect or malice, as well as by honest differences of opinion” in identifying
          privileged documents.”).

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          for an assurance from its agent that it will receive such a disclosure, and has historically relied on

          that framework as a means of asserting important privileges, no public policy requires the Court

          to upend the parties’ arrangement for the sake of secrecy.

                   Importantly and regrettably, the NRA and AMQ are now adverse to one another in multiple

          lawsuits, wherein the NRA alleges that AMQ has made affirmative efforts to misappropriate and

          “leak” the NRA’s information in a manner calibrated to cause maximum reputational harm. Thus,

          the traditional risk considered by courts weighing similar facts—the risk that the investigative

          subject, here the NRA, could unlawfully collude with the subpoena recipient to destroy documents

          should it receive notice or a “preview” of a pending production9— does not exist.

                   None of the statutes cited by the OAG as the basis of its subpoena power would have

          authorized the OAG to issue a subpoena containing the condition now sought to imposed via CPLR

          § 2308: namely, the condition that AMQ produce documents without notifying the NRA or

          allowing the NRA to conduct a privilege review. Based on the Petition, AMQ apparently stands

          ready to produce documents—and the NRA stands ready to conduct its privilege review. Only the

          OAG’s insistence upon secrecy has obstructed compliance. The Court should therefore deny the

          Petition.




          9
            See, e.g., Nat'l Abortion Fed'n, NAF v. Ctr. for Med. Progress, 685 F. App'x 623, 627 (9th Cir. 2017), cert. denied
          sub nom. Daleiden v. Nat'l Abortion Fed'n, 138 S. Ct. 1438, 200 L. Ed. 2d 716 (2018), and cert. denied sub nom.
          Newman v. Nat'l Abortion Fed'n, 138 S. Ct. 1439, 200 L. Ed. 2d 716 (2018) (“notifying the target of a third-party
          subpoena might allow that target to thwart an investigation by intimidating the third party and destroying
          documents” a risk in “investigations in which a target is unaware of an ongoing investigation”).


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                                          STATEMENT OF RELEVANT FACTS

          A.      For Decades, AMQ Served as the NRA’s Agent and Fiduciary, Acquiring Voluminous
                  Privileged Information.

                  For more than thirty years, the NRA relied on AMQ to provide public-affairs advice and

          services requiring a high level of trust. Together, the NRA and AMQ crafted iconic, impactful

          Second Amendment advocacy that featured Charlton Heston (“from my cold, head hands”) and

          others. Importantly, during the course of the parties’ deep, decades-long collaboration, AMQ acted

          as the NRA’s agent and fiduciary in multiple capacities. AMQ entered into contracts on the NRA’s

          behalf,10 deployed the NRA’s intellectual property across a wide range of media,11 and liaised

          closely with NRA members and donors—including by operating public-facing websites that

          ingested vast troves of personal information (e.g., names, email addresses, and I.P. addresses)

          about NRA supporters.12 AMQ and its employees, such as Dan Bongino and Dana Loesch,

          frequently represented the NRA in public fora.13

                  Given the closeness of their relationship, it is unsurprising that the NRA and AMQ were

          jointly party to numerous attorney-client and work-product privileged communications. Many

          AMQ employees were so closely integrated into the NRA’s operations that they were functionally

          equivalent to NRA employees, and directly sought legal advice from NRA counsel regarding work

          performed for the NRA.14 AMQ and the NRA also shared common legal interests in multiple

          pending and anticipated investigations and lawsuits.15




          10
             See Frazer Aff. ¶ 4, Ex. B at 11-13 (First Amended Complaint, Case No. CL19001757 (Vir. Cir. Ct.)), Ex. C at 7-
          8. (Complaint, Case No. CL19002067 (Vir. Cir. Ct.)).
          11
             See id.
          12
             See id.
          13
             See Frazer Aff. ¶ 4.
          14
             See Frazer Aff. ¶ 5-6.
          15
             See Frazer Aff. ¶ 7-8.

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                   The NRA and AMQ memorialized their relationship in successive incarnations of a

          Services Agreement that specified, inter alia, how the NRA’s confidential information should be

          handled and how AMQ’s services should be budgeted and billed.16 The most recent version of the

          Services Agreement, dated as of April 30, 2017 (as amended May 6, 2018, the “Services

          Agreement”) prohibited AMQ’s unauthorized disclosure of nonpublic information entrusted to it

          by the NRA in the course of its work—a robust duty of confidentiality that befit AMQ’s fiduciary

          role. Although the Services Agreement’s confidentiality provision (the “NDA”) is silent regarding

          subpoena compliance, the parties’ practice under the contract mirrored that of many principals and

          agents confronting legal process: when AMQ received a subpoena implicating NRA-related

          documents, it would inform NRA, allowing the NRA an opportunity to object or move to quash.17

          The parties would then make arrangements for the NRA to review outgoing documents for

          potential privilege.18

                   Although the NRA and AMQ continued to adhere to the above-described subpoena-

          response protocol during the months preceding the OAG’s inquiry, other aspects of the NRA-

          AMQ relationship had begun to fray. The main driver of the parties’ deepening distrust was

          AMQ’s strange, strident refusal to allow the NRA to inspect the same documents and data the

          OAG would later seek.

          B.       In 2018, After the NRA Began to More Rigorously Enforce its Contractual Record-
                   Examination Right, the AMQ Relationship Became Adverse.

                   Consistent with the scope and importance of services rendered by AMQ for the NRA, the

          NRA bargained for transparent insight into AMQ’s books and records pursuant to the Services

          Agreement. The Services Agreement incorporated a records-examination clause (the “Records-


          16
             See Frazer Aff. ¶ 3 .
          17
             See Frazer Aff. ¶ 10.
          18
             See id.

                                                          6


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          Examination Clause”) that required AMQ to open its files for the NRA’s inspection upon

          reasonable notice during the contract’s term;19 moreover, immediately upon expiration or

          termination of the Services Agreement, the contract required AMQ to return the NRA’s

          confidential documents, along with certain fixed assets and creative work-for-hire, to the NRA

          (such requirement, the “Property-Return Clause”).20

                   For years, the NRA conducted annual audits of AMQ’s books and records pursuant to the

          Records-Examination Clause.21 Frequently, however, the audited records consisted of “samples”

          assembled in advance by AMQ. During 2018, responding in part to numerous reports that accused

          AMQ of deceptive billing,22 the NRA sought greater insight into AMQ’s activities and spending—

          including full access to some of the same categories of records now requested by the Subpoena.23

          AMQ aggressively stonewalled these requests.24 Ultimately, on April 12, 2019, two weeks before

          the OAG announced its investigation, the NRA sued AMQ for specific performance of the

          Records-Examination Clause.25 AMQ responded to the specific-performance claim in scorched

          earth fashion: by attempting to oust Wayne LaPierre from the leadership of the NRA, and by

          threatening (then delivering) a coordinated media “leak” of snippets of employee-expense

          information curated to cause the NRA maximum reputational harm.26 In response to these

          egregious, material breaches of the Services Agreement, the NRA sued AMQ for breach of the

          NDA.27 The NRA also terminated the Services Agreement, which triggered the Property-Return




          19
             See Frazer Aff. Ex. A at 10 (Section VIII), Ex. B. at 13 (¶ 15).
          20
             See Frazer Aff. Ex. A at 11 (Section XI.E).
          21
             See Frazer Aff. Ex. B at 13 (¶ 16).
          22
             See Frazer Aff. ¶ 11.
          23
             See Frazer Aff. Ex. B at 14 (¶ 18).
          24
             See Frazer Aff. Ex. B at 14-15 (¶¶ 19-20).
          25
             See Frazer Aff. Ex. B.
          26
             See Frazer Aff. Ex. C at 12 (¶¶ 22-23).
          27
             See Frazer Aff. Ex. C at 12-16 (¶¶ 23-32).

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          Clause.28 Importantly, these events—the NRA’s demand that AMQ produce documents to it, and

          the NRA’s lawsuit for breach of the NDA—predated and had nothing to do with the OAG’s

          Subpoena.

          C.      The NRA Confronts Hostilities from New York State That Are Nakedly Politically
                  Motivated, Are Subject to Pending First Amendment Claims, and Justifiably Alarm
                  NRA Members and Donors.

                  In 2018, amid the polarized political aftermath of the Parkland tragedy, AMQ’s apparent

          billing fraud was not the only concern facing the NRA. New York Governor Andrew Cuomo has

          a longstanding political vendetta against “Second Amendment Types,”29 especially the NRA,

          which he accuses of exerting a “stranglehold” over national gun policy. 30                During 2018, Cuomo

          boasted to supporters via Facebook that he would leverage New York’s regulatory powers to

          #BankruptTheNRA, thereby silencing its undesirable political speech.31 And he took steps to

          deliver on his promise: along with longtime lieutenant Maria Vullo (then the Superintendent of the

          Department of Financial Services), Cuomo orchestrated a campaign of selective enforcement,

          backroom exhortations, and public threats designed to coerce financial institutions to blacklist pro-

          gun advocacy groups, especially NRA.32 The NRA’s First Amendment claims arising from this




          28
             See Rogers Aff. ¶ 6.
          29
             On February 15, 2018, Cuomo appeared on the MSNBC program “The Beat,” where he discussed championing
          legislation that “trampled the Second Amendment.” YOUTUBE, Gov. Andrew Cuomo On Background Checks:
          “Bunch Of Boloney” | The Beat With Ari Melber | MSNBC, https://www.youtube.com/watch?v=Tz8X07fZ39o (last
          visited May 7, 2018). However, Cuomo lamented that his “favorability rating” had dropped thereafter due to
          “backlash from conservatives and Second Amendment types.” Id.
          30
             See Lovett, Kenneth, Exclusive: Cuomo Fires Back at Jeb Bush for ‘Stupid’ and ‘Insensitive’ Gun Tweet, NY
          DAILY NEWS (Feb. 17, 2016), http://www.nydailynews.com/news/politics/cuomo-blasts-jeb-stupid-insensitive-gun-
          tweet-article-1.2534528.
          31
             Andrew Cuomo, New York is Forcing the NRA into financial crisis. It’s time to put the gun lobby out of business.
          #BankruptTheNRA, FACEBOOK (Aug. 8, 2018), https://www.facebook.com/andrewcuomo/posts/new-york-is-
          forcing-the-nra-into-financial-crisis-its-time-to-put-the-gun-lobby-/10155989594858401/
          32
             Complaint, Case No. 18-cv-00566-LEK-CFH (N.D.N.Y.); see also Clark, Dan, Federal Judge Allows NRA
          Lawsuit Against NY to Continue on First Amendment Claims, NEW YORK LAW JOURNAL, (Nov. 6, 2018),
          https://www.law.com/newyorklawjournal/2018/11/06/federal-judge-allows-nra-lawsuit-against-ny-to-continue-on-
          first-amendment-claims/

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          conduct drew amicus support from the ACLU,33 withstood a motion to dismiss, and are currently

          pending in the United States District Court for the Northern District of New York.34 Letitia James,

          Cuomo’s chosen candidate for the Office of the Attorney General, echoed Cuomo’s threats from

          the campaign trail—vowing to pursue the NRA’s financial supporters if elected.35

                  Although the NRA regrets New York’s antipathy toward the Second Amendment, it does

          not assert that campaign-trail invective ought to bar the Attorney General from issuing otherwise-

          lawful subpoenas. However, the NRA seeks maximum protection for personally identifying

          information pertaining to its members and donors, which is privileged under the First

          Amendment.36 As Tyler Schropp, the NRA’s Executive Director of the Office of Advancement,

          attests, “Donors have stated to me that they fear that their spouses or children may be harassed, or

          that business partners may be pressured to abandon them, by those who bear animosity toward the

          NRA and its political speech.”37 For that reason, when the NRA solicits donations, it “frequently

          assure[s] donors that the NRA closely guards their confidential information.”38 Thus, based on his

          prior experience dealing with donors, Schropp “strongly believe[s] that a compelled bulk

          disclosure of AMQ’s records to the New York Attorney General would alarm donors who

          interacted with AMQ, and would likely inhibit the NRA’s ability to raise funds, particularly if the




          33
             Dkt. 49, Case No. 18-cv-00566-LEK-CFH (N.D.N.Y.).
          34
             Case No. 18-cv-00566-LEK-CFH (N.D.N.Y.).
          35
             Tish James becomes New York’s Attorney General – First Black Woman Elected to Statewide Office,
          https://www.ourtimepress.com/tish-james-becomes-new-yorks-attorney-general-first-black-woman-elected-to-
          statewide-office/
          36
             See discussion infra at 20.
          37
             Affidavit of Tyler Schropp (“Schropp Aff.”) ¶ 3. See also id. ¶ 8 (providing examples of donors who have
          expressed concerns about the New York Attorney General’s animus towards NRA supporters).
          38
             Id. ¶ 4.

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          disclosure occurred without any opportunity for the NRA to be informed about the documents

          being produced and take steps to protect its donors’ information.”39

                  Because of these considerations, the NRA closely guards its member and donor

          information, entrusting relevant data only to fiduciaries with strict nondisclosure obligations—

          such as AMQ. This practice ensures that if a third party possessing such data is subpoenaed, it

          will cooperate with the NRA to protect the NRA’s privileges, including the identities of individual

          NRA supporters. Unfortunately, this is the protection the OAG aims to eviscerate.

          D.      Against This Backdrop, the NRA Has Consented Freely to the Production of
                  Documents Possessed by AMQ, Asking Only That It Be Permitted to Redact and Log
                  Privileged Information.

                  Even before the issuance of the Subpoena, the NRA informed both AMQ and the OAG

          that it did not object, per se, to AMQ’s production or disclosure—even voluntarily, absent a

          subpoena—of information that might be contractually protected.40 The NRA requested merely

          that it be alerted to any proposed production, so that it could assert objections or preserve privileges

          consistent with the parties’ practice under the NDA. The NRA received no response from AMQ.

          Then, on Friday, July 26, 2019, the NRA learned for the first time of the Subpoena’s existence,

          via a cursory letter from AMQ enclosing a proposed production in response to the Subpoena.41

          The NRA swiftly reviewed the documents for privilege, found none, and gave a blanket consent

          to the proposed production on Tuesday July 30, 2019—less than two business days after receiving

          notice.42 The NRA did not lodge objections to the Subpoena because, as far as it was aware, the




          39
             Id. ¶ 9. See also id. (“Moreover, even current and prospective donors who have no interacted with AMQ would
          likely be alarmed by a voluminous disclosure of other donors’ information and could hesitate to donate in the
          future”).
          40
             See Frazer Aff. Ex. D (J. Frazer email to D. Schertler dated May 17, 2019).
          41
             See Frazer Aff. ¶ 14.
          42
             See Frazer Aff. ¶ 14.

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          documents it had received constituted AMQ’s entire proposed production—none were privileged,

          nor otherwise objectionable as would warrant motion practice.

                   Although the NRA heard nothing further from the OAG or AMQ regarding the Subpoena

          until just before this Petition was filed,43 the NRA has continued to review and consent to proposed

          productions by AMQ and others in response to government subpoenas.44 In each instance, the

          NRA has consented promptly and without exception to the production of all nonprivileged

          documents. The NRA’s privilege claims have been narrowly tailored, promptly logged, and to

          date remain unchallenged by any subpoena-issuing authority—including the OAG. Accordingly,

          Petition’s accusation that the NRA has made a “blanket and vague assertions of privilege”45 is

          confusing and unfounded.

          E.       The OAG Instigated This Dispute Without Any Legitimate Need for Court
                   Intervention to Obtain Information.

                   Since the outset of its investigation regarding the NRA, the OAG has apparently insisted

          upon secrecy in connection with multiple third-party subpoenas.                         For example, a previous

          subpoena to the NRA’s accounting firm purported to forbid the firm from obtaining the NRA’s

          consent to produce documents,46 in violation of the Internal Revenue Code.47 The OAG likewise

          instructed AMQ not to disclose the existence of the Subpoena to the NRA48—although it

          apparently does not dispute that the NRA has standing to assert privilege and other objections, the




          43
            See Rogers Aff. ¶¶ 8-11.
          44
             Id. at ¶ 9.
          45
             See Mem. Supp. Pet. at 13.
          46
             See Rogers Aff. ¶ 7.
          47
             See Frazer Aff. Ex. F (Letter to J. Frazer from C. Weller dated May 15, 2019).
          48
             See Verified Petition (“Pet.”), Exhibit 8 at 1 (instructing AMQ “not to disclose the existence of this subpoena, its
          contents, or any subsequent communications with the Office of the Attorney General”).
          48
             See, e.g., Pet. para. 29.

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          OAG would deny the NRA any meaningful opportunity to do so. During meet-and-confer

          discussions, the OAG was unable to city any authority supporting its insistence on secrecy.49

                  On August 16, 2019, this Court rejected a request by the NRA to have its counsel

          participate in the OAG’s upcoming interview of its former president and current Board member,

          Lt. Col. Oliver North, despite the possibility that the interview would touch upon privileged

          information. The Court based its ruling on assurances that North, a member of the NRA Board of

          Directors, would have competent counsel present who would make efforts to preserve the NRA’s

          privileges, as well as the OAG’s promise not to inquire into potentially privileged areas.50

          Strikingly, the Court expressly limited its reasoning to “live” interviews, as distinguished from

          document productions, noting: “A document review for privilege is very different than a

          deposition,” because it is “harder . . . to catch privilege” 51 in a substantial volume of documents,

          compared to live testimony.

                  To create this dispute, the OAG apparently instructed AMQ to forbear from future

          document productions in the hope that it could obtain a follow-up ruling enshrining in law, for the

          first time, its legally-unsupported policy of secrecy in connection with document subpoenas and

          document productions. On September 26, 2019, the OAG placed a telephone call to the NRA’s

          counsel, purporting to meet and confer regarding the NDA; that call was adjourned until September

          27, 2019, due to scheduling conflicts. During the course of the ensuing conversation, the NRA’s

          counsel expressed confusion regarding what, precisely, was being disputed—after all, the NRA

          had consented to AMQ’s entire document production. The NRA offered to promptly review and

          consent to any additional documents, if additional documents were sought, and said the NRA


          49
             See Rogers Aff. ¶ 7.
          50
             Hearing Transcript at 8:10-14, 8:23-9:4, Aug. 16, 2019, Case No. 158019/2019 (N.Y. Sup. Ct.); Hearing
          Transcript at 7:6-12, 18:12-15, Aug. 19, 2019, Case No. 158019/2019 (N.Y. Sup. Ct.).
          51
             Hearing Transcript at 14:25-15:3, Aug. 16, 2019, Case No. 158019/2019 (N.Y. Sup. Ct.).

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          would acquiesce to a live interview of AMQ, if the OAG wanted one—but the OAG refused to
                                                       52
          meet or confer on any of these points.            Instead, without providing any context or justification,

          the OAG simply demanded that the NRA decree its NDA with AMQ to be void as a matter of

          public policy.53 Of course, the NRA declined. By email later that day, the NRA reiterated its

          position, but offered a compromise: it would stipulate to formally waive its rights under the NDA,

          except with respect to privileged information—which the NRA would agree to redact and log.54

          Rather than respond to the NRA’s offer (which it now dismisses as “inflammatory” and “self-

          serving”), the OAG commenced this proceeding.

                                          ARGUMENTS AND AUTHORITIES

          A.      The Court Need Not Reach the OAG’s Public Policy Arguments, Because the Petition
                  Is Defective: The OAG Fails to Allege Noncompliance With Its Subpoena.

                  The sole count in this proceeding seeks to compel subpoena compliance under CPLR §

          2308.55 However, that provision (entitled, “Disobedience of subpoena”), only authorizes relief in

          the event of “failure to comply” with a subpoena—which, with respect to a nonjudicial subpoena

          duces tecum, means that the subpoenaed person “refuses without reasonable cause . . . to produce

          a book, paper, or other thing which he was directed to produce by the subpoena.” 56 Where, as

          here, a petition pursuant to CPLR § 2308 fails to adequately allege noncompliance with a

          subpoena, the petition must be dismissed on its merits.57

                  The OAG does not allege, nor can it, that AMQ has refused (or the NRA has caused AMQ

          to refuse) to produce any documents. Instead, both AMQ and the NRA notified the OAG about

          the NDA’s notice-and-consent mechanic; in compliance with that mechanic, the NRA consented


          52
             Rogers Aff. ¶ 9.
          53
             Id. .
          54
             Id. at ¶ 11.
          55
             See Pet. at ¶¶ 39-34.
          56
             N.Y. C.P.L.R. 2308(b) (McKinney).
          57
             See, e.g., Maragos v. Town of Hempstead Indus. Dev. Agency, 174 A.D.3d 611, 614 (2d Dep’t 2019).

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          swiftly to every document that AMQ proposed to produce.58 Remarkably, the OAG then

          “instructed [AMQ] to defer any additional document productions . . . if it meant first giving the

          NRA a right to review” the documents slated for production. In other words, the OAG does not

          want AMQ’s documents unless it can obtain them without the NRA’s knowledge.

                  CPLR § 2308 entitles the OAG to compel AMQ to produce documents, but does not entitle

          the OAG to inject additional conditions for compliance, such as secrecy, which could not lawfully

          have been imposed within the four corners of the Subpoena. The OAG cites no case, and counsel

          are aware of no case, where a party propounding a subpoena told the recipient not to produce

          documents unless a requested condition could be attained, then successfully wielded CPLR § 2308

          to imbue that request with the force of law. This Court need not be the first to order such an

          outcome. The NRA and AMQ stand ready to produce documents, and only the OAG’s preference

          for secrecy stands in their way. Because there has been no refusal to comply with the Subpoena,

          the Petition must be dismissed.

          B.      No Public Policy Prevents the NRA From Enforcing Its NDA to Redact And Log
                  Privileged Information.

                  In New York, “in determining whether a contract is illegal[,] the test is not what might be

          done under the contract, but what the parties intended to do under it.”59 Accordingly, to the extent

          that the Court reaches questions of public policy with respect to the Services Agreement’s NDA,

          the proper analysis is not whether the provision, as drafted, could conceivably be enforced to

          violate the law, but whether a “careful balancing” of “all the circumstances” surrounding the

          parties’ actions here precludes enforcement.60 That fact-specific, as-applied analysis decisively



          58
             See Rogers Aff. ¶ 9.
          59
             22 N.Y. Jur. 2d Contracts § 137, citing Commoss v. Pearson, 190 A.D. 699, 180 N.Y.S. 482 (1st Dep't 1920)
          (contract for shipping goods deemed legal and enforceable, despite government embargo, because there was no
          evidence the parties intended to perform the provision in a manner contrary to law).
          60
             See Restatement (Second) of Contracts § 178 (1981), cmt b.

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          sustains the NDA. As invoked by the NRA throughout its course of dealing with AMQ (including

          in response to the Subpoena), the NDA aligns with and advances important public policies of New

          York State: it protects the First Amendment privileges of innocent third parties (and the attorney-

          client and work-product privileges of the NRA), while still allowing for prompt disclosure of

          relevant information. The NDA accords so thoroughly with New York law that even if it were

          voided, AMQ would retain common-law obligations virtually identical to those the NRA seeks to

          enforce.

                  1.       The NDA Does Not Create A Novel Legal Right, But Merely Reinforces
                           Common-Law Agency Principles.

                  Importantly, the disputed NDA provision codifies, but does not materially alter, AMQ’s

          confidentiality obligations as an agent to its former principal, the NRA. As such, AMQ continues

          to have an active and ongoing fiduciary duty to the NRA, which includes a duty to preserve the

          confidentiality of the NRA’s information absent the NRA’s consent.

                  Agency is a “legal relationship between a principal and an agent” and is fiduciary in

          nature.61 Under New York law62, an agency relationship “results from a manifestation of consent

          by one person to another that the other shall act on his behalf and subject to his control and the

          consent by the other to act.”63 Agency requires that both principal and agent agree to the

          relationship and, where applicable, that mutual understandings between the parties are operative.64

          Control exists where the principal exercises a high degree of authority over the “method and means




          61
             Faith Assembly v. Titledge of New York Abstract, LLC, 106 A.D.3d 47, 58 (2d Dep’t 2013) (internal citations and
          quotation marks omitted).
          62
             The NRA is a not-for-profit organized under the laws of New York. However, its principal place of business is
          Virginia. Virginia’s common law agency law substantially mirrors that of New York. See Reistroffer v. Person,
          247 Va. 45, 48 (Va. 1994).
          63
             Gulf Ins. Co. v. Transatlantic Reinsurance Co., 69 A.D.3d 71, 96-7 (1st Dep’t 2009) (internal citations and
          quotation marks omitted).
          64
             See Restatement (Third) Of Agency § 8.01 (2006), cmt d.

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          by which work is to be performed.”65 Importantly, parties need not explicitly enter into a contract

          for an agency relationship to exist66; indeed, even where parties may disclaim agency, courts are

          not bound by such a disclaimer in “determining their true relationship.”67

                  As a fiduciary, an agent’s duty to maintain the confidentiality of information entrusted to

          it by its principal “do[es] not end when the agency relationship terminates.”68 Accordingly, a

          former agent “is not free to use or disclose a principal’s trade secrets or other confidential

          information” absent the principal’s consent.69 In addition, an agent is “obligated to disclose to [its

          principal] in plain terms all material facts within the scope of the agency.”70

                  For more than thirty years, the NRA relied on AMQ to carry out a substantial part of its

          business on the NRA’s behalf, including but not limited to entering into contracts on the NRA’s

          behalf, deploying the NRA’s intellectual property, liaising closely with NRA members and donors,

          and operating the NRA’s websites, all with access to the NRA’s most confidential and important

          information.71 AMQ and its employees frequently represented the NRA, communicating with the

          public as the face of the NRA. During this time, the NRA consented, through frequent payments,

          side-by-side employee relations, and frequent iterations of contractual relationships to AMQ acting

          on the NRA’s behalf in these and countless other capacities. 72 AMQ consented to this agency

          relationship, too—by accepting payment, performing its duties, and entering into third-party

          contracts on the NRA’s behalf. 73 It is undisputed that the relationship was, notionally, structured


          65
             Quik Park West 57, LLC v. Bridgewater Operating Corp., 148 A.D.3d 444, 445 (1st Dep’t 2017) [need to find
          better case factually]
          66
             Levine v. Levine, 184 A.D.2d 53, 61 (1st Dep’t 1992) (“An agency may be implied from the parties’ words and
          conduct as construed in light of the surrounding circumstances”).
          67
             Gulf, 69 A.D.3d at 96 (internal citations and quotation marks omitted).
          68
             Restatement (Third) Of Agency § 8.05 (2006).
          69
             Id.
          70
             Scher v. Stendhal Gallery, 117 A.D.3d 146, 159 (1st Dep’t 2014).
          71
             See, supra at 5.
          72
             See id.
          73
             See id.

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          to grant the NRA substantial control over AMQ’s actions on its behalf, consistent with agency

          principles.74

                   Therefore, even if the NDA were void, AMQ would retain a common-law fiduciary duty

          to seek the NRA’s consent before disclosing information entrusted to it in the course of its work.

          Far from contravening public policy, the NDA aligns closely with longstanding principles of

          agency law.

                   2.       Contrary to Petitioner’s Accusations, the NRA Has Not Used the NDA to
                            “Block” or “Delay” AMQ’s Compliance With The Subpoena

                   Without basis, the Petition alleges that the NRA has invoked the NDA “to prevent, delay,

          or limit disclosure of relevant materials and testimony sought from third parties.”75 In fact, with

          the exception of narrowly tailored, uncontested redactions of privileged information, the NRA has

          not sought to impose any limits whatsoever on cooperation by third parties with the OAG’s

          inquiry—by leveraging the NDA, or otherwise. Even before the issuance of the Subpoena, the

          NRA advised AMQ that it would consent to AMQ’s voluntary disclosure of relevant information

          to the OAG, subject to privilege review.76 And in the sole instance where the NRA invoked the

          NDA to “monitor” documents slated for production in response to the Subpoena, it completed its

          review over a single weekend and withheld nothing.77

                   Although the Petition references efforts by the NRA to demand access to its confidential

          materials pursuant to the Services Agreement, such efforts long predate the OAG’s inquiry, and

          could not reasonably be construed to interfere with AMQ’s Subpoena compliance. If anything,



          74
             Recent revelations about AMQ’s conduct indicate that it undertook additional activities which the NRA did not
          control—those activities are the subject of multiple lawsuits. See Frazer Aff. 11; see also Case No. CL19001757
          (Vir. Cir. Ct.)); Case No. CL19002067 (Vir. Cir. Ct.)). However, a frolic and detour by a faithless agent does not
          vitiate its obligations to its principal with respect to activities conducted within the scope of the agency.
          75
             Mem. Supp. Pet. at 7.
          76
             See Frazer Aff. Ex. D.
          77
             See Frazer Aff. ¶ 14 (discussing weekend doc review after 7/26 subpoena notice)

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          mustering documents for production to the OAG would facilitate production of the same

          documents to the NRA, and vice versa. Simply put, the NRA has made extensive efforts to obtain

          its own documents from AMQ, but has never prevented the OAG from obtaining documents from

          AMQ.

                     The cases Petitioner cites, wherein NDAs were invoked to impede criminal investigations

          (and were thus void as a matter of public policy) stand in stark contrast to the facts here. In Cosby,

          an accused serial rapist sued several alleged victims for breach of a confidential settlement

          agreement, specifically because they sought to cooperate with a police investigation.78 His breach-

          of-contract claims were dismissed. Fomby-Denson, likewise, involved an attempt to enforce a

          nondisclosure provision of a civil settlement agreement in order to prevent, or recover damages

          for, disclosure of underlying events to criminal authorities.79 If the NRA had sued AMQ for

          reporting crimes to the OAG, Cosby and Fomby-Denson would support dismissal of the NRA’s

          breach-of-contract claims—but the situation before this Court is far different. Here, NRA has not

          attempted to block disclosure of any criminal activity. Instead, it has invoked the NDA in the

          context of a civil inquiry and, crucially, has invoked the NDA only with respect to privileged

          information.

                     3.      No Public Policy Prevents AMQ from Disclosing, or the NRA From
                             “Monitoring,” An Outgoing Document Production In Response to a Civil
                             Investigative Subpoena.

                     Aware that it cannot establish any actual delay or obstruction by the NRA as a consequence

          of the NDA’s enforcement, the OAG alternatively alleges that the NRA’s mere “monitoring” of

          AMQ’s proposed document production is so nefarious, and so devastating to the integrity of the




          78
               See Cosby v. American Media, Inc., 197 F.Supp.3d 735, 740-41 (E.D.Pa. 2016).
          79
               See Fomby-Denson v. Dept. of Army, 247 F.3d 1366, 1368 (Fed. Cir. 2001).

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          OAG’s inquiry, that public policy forbids the NRA from being made aware of outgoing document

          productions and mandates, instead, that a veil of secrecy shroud the OAG’s activities.80

                  Although some courts have held that a law-enforcement authority or regulator issuing a

          subpoena to a third party need not notify the investigative target of the subpoena’s existence,81 this

          is very different from forbidding—or empowering the OAG to forbid—the subpoena’s recipient

          from making the same disclosure. The latter, greater level of secrecy is what the OAG seeks to

          mandate as a matter of public policy in this case: it has instructed AMQ to forbear from producing

          documents until, and unless, the production can occur without notice to the NRA. 82 If the

          legislature had intended to grant the OAG the power to enforce investigative secrecy in the context

          of a subpoena duces tecum under the statutes at issue here, it would have done so. Instead, New

          York’s statutory scheme provides little if any basis to constrain disclosure by a witness regarding

          a subpoena he has received, or responsive information he plans to provide—even in the context of

          a criminal grand jury subpoena,83 where secrecy is generally paramount.

                  Moreover, the public policy considerations that favor secreting a third-party subpoena from

          its target are strongest when the target “is unaware of an ongoing investigation and still possesses

          material that would be the subject of a subpoena or potential investigation,” which it has the motive

          and opportunity to destroy.84 By contrast, public policy arguments favoring secrecy are weakest

          in cases like this one, where the NRA “already knows that . . . law enforcement authorities seek”

          certain information from AMQ, and lacks the practical ability compel AMQ, a hostile party, to




          80
             See Mem. Supp. Pet. at 3.
          81
             See, e.g., S.E.C. v. Jerry T. O’Brien, Inc., 467 U.S. 735 (1984).
          82
             See Pet. at 33.
          83
             See, e.g., Matter of Grand Jury Applications for Court-Ordered Subpoenas and Nondisclosure Orders, 142 Misc.
          2d 241, 248 (N.Y. Sup. 1988).
          84
             Nat'l Abortion Fed'n, NAF, 685 F. App'x at 627.

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          destroy the subpoenaed material.85 Instead, the NRA merely seeks to review material slated for

          production in order to protect its privileges.

                  4.         Public Policy Favors Allowing the NRA to Assert Its Attorney-Client, Work-
                             Product, and First Amendment Privileges.

                  The attorney-client privilege “protects the need for free, uninhibited exchange of

          information with an attorney,” which is a need “recognized by the public policy of New York.”86

          Similarly, public policy strongly favors safeguarding, from government inquest, the identities of

          members and donors of controversial political groups who seek anonymity.87 As the United States

          Supreme Court held in NAACP v. Alabama, forced disclosure of such information is “likely to

          affect adversely the ability of [the group] and its members to pursue their collective effort to foster

          beliefs which they admittedly have the right to advocate.”88                  Here, before launching her

          investigation, Petitioner vowed to “take down the NRA” by targeting its financial supporters—

          giving rise to demonstrated chilling effects exactly like those envisioned by the NAACP court.89

          Accordingly, to the extent that the NDA preserves the NRA’s practical ability to assert its First

          Amendment associational privileges, its existence and enforcement advance, rather than hinder,

          an important public policy.


                                                        CONCLUSION

                  For the foregoing reasons, the NRA respectfully requests that the Court deny the Petition

          in its entirety.



                                                             By:          /s/ Sarah B. Rogers
                                                                      William A. Brewer III
          85
             See id.
          86
             Prizel v. Karelsen, Karelson, Lawrence & Nathan, 74 F.R.D. 134, 138 (S.D.N.Y. 1977).
          87
             See, e.g., FAIR, 547 U.S. at 69.
          88
             357 U.S. at 462-63.
          89
             See also Schropp Aff. ¶ 3.

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                                               RIFLE ASSOCIATION OF AMERICA




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                      EXHIBIT 92




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                                                                        APP. 03108
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Invoice No.            Amount              Invoice Date      Desription from Detailed Invoice                                                                                                                        Description Summary from List of Invoices
              140965            150,000.00         7/14/2016 Research, Discovery and Concepting per approved budget                                                                                                  Research, Discovery and Concepting per approved budget
                                                                                                                                                                                                                     Proprietary program development and competitive advantage
              141871            500,000.00         9/1/2016 Proprietary program development and competitive advantage initiative (per Woody ‐ Concealed Carry Initiative)                                            initiative
              143306            250,000.00       10/13/2016 Per approved budget                                                                                                                                      CCI
              143476            615,625.00       10/18/2016 Per approved budget                                                                                                                                      CCI
              143991            615,625.00       11/11/2016 Per approved budget                                                                                                                                      CCI
              146482             75,000.00        2/10/2017 Training instructor per approved budget                                                                                                                  Additional Approved Instructor ‐ EF
              146484            270,000.00        2/10/2017 CCI Subscriber database & content delivery system                                                                                                        CCI Website
                                                            Concepting and development of CCI 4‐page cover wrap and insert for the May issues of American Hunter, American Rifleman America's First Freedom
              146485             50,000.00        2/10/2017 and Shooting Illustrated. Includes design, copywriting/editing, art production, art supplies and computer graphics.                                      May OJ Cover Wrap
              146488            225,000.00        2/10/2017 Concepting and initial design standards for the CCI Magazine. Includes copywriting, art production, photography, computer graphics and art supplies      Magazine
              146491            436,000.00        2/10/2017 CCI Influencer Training Endorsement Videos                                                                                                               CCI Influencer Training and Endorsement Videos
                                                                                                                                                                                                                     CCI ‐ Influencer Talent for Endorements. Cont Ed and Training
              147454            220,000.00        3/15/2017   Influencer Talent for Endorsements, Continuing Education and Training Tips ‐ Per approved budget                                                       Tips
              147466            350,000.00        3/15/2017   360/Virtual Reality Video Development ‐ Per approved budget                                                                                            CCI V /R Video
              147467            214,000.00        3/15/2017   Per approved budget                                                                                                                                    CCI Influencer Training and Endorsement Videos
              147474            475,000.00        3/15/2017   Per approved budget ‐ Partial Billing                                                                                                                  CCI Media Assets
              147622            585,513.00        3/27/2017   Cable, Radio, Digital Video Ads (Pre‐roll/Social), Magazine May‐December; Partial Billing                                                              Cable, Radio, Digital Video Ads , Magazine




              148173            150,000.00        4/13/2017   Additional instructor ‐ Per approved budget                                                                                                            Additional Approved Instructor ‐ JH ‐ Using Bl$ from PR Budget
              148177            750,000.00        4/13/2017   Per approved budget                                                                                                                                    CCI Media Assets
              148332             75,000.00        4/19/2017   Per approved budget                                                                                                                                    FB Concept & Design
              148761              2,882.36        5/11/2017   Preflight Disk                                                                                                                                         May OJ Cover Wrap ‐ Pre‐flight Disk
              148762                588.25        5/11/2017   Preflight Disk                                                                                                                                         Annual Meeting Flyer
              148763                588.25        5/11/2017   Preflight Disk                                                                                                                                         Drop Card
              148764                352.95        5/11/2017   Preflight Disk                                                                                                                                         A/M Table Top Footh Display ‐ Pre‐flight Disk
              148765              1,176.50        5/11/2017   Preflight Disk                                                                                                                                         Card Handouts ‐ Pre‐flight Disk
              148766                823.55        5/11/2017   Preflight Disk                                                                                                                                         May OJ Feature ‐ Pre‐flight Disk
              148767                411.78        5/11/2017   Preflight Disk                                                                                                                                         June OJ Ad ‐ Pre‐flight Disk
              148768             57,095.55        5/11/2017   Printing (qty 25,000)                                                                                                                                  New Member Booklet
              148769                588.25        5/11/2017   Preflight Disk                                                                                                                                         A/M Program Insert ‐ Pre‐flight Disk
              148784             17,000.43        5/11/2017   Preflight Disk                                                                                                                                         A/M Signage ‐ Pre‐flight Disk
              148788             17,015.08        5/11/2017   Preflight Disk                                                                                                                                         A/M Signage ‐ Mechanical
              148807              6,470.75        5/11/2017   Preflight Disk                                                                                                                                         A/M NRA Booth
              148815                880.93        5/11/2017   Talent/ Audio Recording ‐ $845.00; EdNet ‐ $35. 93                                                                                                     IVR Recording ‐ Talent/Audio Recording
                                                              Creation and design on the physical presence materials for range/ classroom training. Includes art production and design, copywriting, graphics, and
              148939            150,000.00        5/15/2017   printing/production coordination                                                                                                                       Materials for range/classroom training
              148941             80,000.00        5/15/2017   Website updated for physical training and digital training                                                                                             Website ‐ Training and Digital training
              148957             75,000.00        5/15/2017   Costs for design and coordination of te CG tradeshow booth. Includes design, concept, copy, and production coordination.                               CCI Trade Show Booth Design and Coordination
                                                              Concepting and design for the CCI Magazine, Fall issue. Includes copywriting, art production, photography, computer graphincs, freelance writers,
              148958            269,000.00        5/15/2017   art supplies and pre‐flighting. Does not include printing, postage or mailing.                                                                         Fall 2017 Magazine
                                                              Videography and Photography to support Basic Pistol Training. Includes original photography, photo materials and processing original videography,
              148959            175,000.00        5/15/2017   production and filming, editing, sound design and graphics                                                                                             Basic Pistol Training Videography/Photography
                                                              Costs to produce a CCI one sheet with opportunitied for use in presentations to potential sponsors. Includes art production, copywriting and
              148960              5,000.00        5/15/2017   computer graphics.                                                                                                                                     Magazine One Sheet ‐ Presentations to potential sponsors
              149596                  283         6/14/2017   Static Clings ‐ qty 100                                                                                                                                A/M NRA Booth ‐ Static Clings




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                                                                                                                                                                                                                                                                     APP. 03109
                                                            Case 3:19-cv-02074-G-BK Document 421 Filed 11/29/21                                                            Page 1058 of 1087 PageID 31263
Invoice No.            Amount                Invoice Date       Desription from Detailed Invoice                                                                                                                       Description Summary from List of Invoices
                                                                Costs to produce a spread ad promoting the CCI Expo for August OJ's. Includes new design, art production and layout, copywriting, and computer
              149674              2,500.00          6/15/2017   graphics.                                                                                                                                              CCI Expo August OJ Ad
              150664              1,000.00          7/17/2017   Costs to develop a billboard including tagline info for Under Wild Skies, Include art productoin and computer animated graphics.                       CCI UWS Billboard & Tagline
              150716             85,513.00           8/1/2017   2017 CCI National Media ‐ Cable, Radio, September                                                                                                      CCI National Media
                                                                Costs for three‐day location photography at the NRA Carry Guard Expo in Milwaukee August 25‐27th. Does not include photo materials & processing,
              151229              7,500.00          8/14/2017   assistant or travel.                                                                                                                                   CCI Expo Photography
              151236             50,000.00          8/14/2017   Costs to develop a 30 minute and a :90 infomercial. Partial Billing.                                                                                   CCI Infomercial
                                                                Concepting and design for the CCI Magazine, Winter '18 issue. Includes copywriting, art production, photography, computer graphics, freelance
              153041            269,000.00         10/17/2017   writers, art supplies and pre‐flighting. Does not include printing, postage or mailing.                                                                Magazine Winter '18 Issue
              153045            150,000.00         10/17/2017   Partial Billing. Per Approved Budget.                                                                                                                  CCI/ NRATV CRM
              153562            150,000.00          11/9/2017   Partial Billing. Per Approved Budget.                                                                                                                  CCI / NRATV CRM
                                                                Visioning/concepting, pre‐production, rehearsals, equipment, home studio set‐up, graphics packages, show schedules and programming visions for
              153730             75,000.00         11/17/2017   CCI regular live shows. Half of budget.                                                                                                                Live Programing
                                                                CCI social media concepting, strategic visioning, theming and creative production. Includes ongoing strategy, copywriting, graphic design, video
              153731             50,000.00         11/17/2017   editing and implementation                                                                                                                             Social Media
              153858            275,000.00          12/1/2017   Revisions                                                                                                                                              CCI Website
                                                                Visioning/concepting, pre‐production, rehearsals, equipment, home studio set‐up, graphics packages, show schedules and programming visions for
              153859             75,000.00          12/1/2017   CCI regular live shows. Balance of budget.                                                                                                             CCI Live Programming
              153927            ‐24,129.20          12/4/2017   Media Credits                                                                                                                                          CCI Expo Media
              153929             ‐6,991.12          12/4/2017   Media Credits                                                                                                                                          CCI National Media
              154571             58,903.00           1/1/2018   Per approved budget                                                                                                                                    CG Talent
                                                                Overall project management, talent management, strategic contribution and coordination with external and internal stakeholders on project,
              154572             12,500.00           1/1/2018   including support for lead instructors and coordination with influencers.                                                                              CG Ongoing Program Management/Oversight
                                                                Ongoing management, maintenance and updates to CG website(s), kiosks, etc. Includes, but is not limited to: concepting, copywriting, art direction
                                                                and content management (both of video and written content); quality assurance/testing/IT support; working with IS and outside partners on
              154573             20,833.00           1/1/2018   functionality, production requests, updates                                                                                                            CG Website Management/Ongoing Updates
                                                                Social media concepting, strategic visioning, theming and creative production. Includes ongoing strategy, copywriting, graphic design, video editing
              154574             20,833.00           1/1/2018   and implementation.                                                                                                                                    CG Social Media
              154575             54,167.00           1/1/2018   Per approved budget                                                                                                                                    CG Media Assets
              154576             12,500.00           1/1/2018   Coordination, management and optimization of CC CRM platform.                                                                                          CG CRM Management/Consulting
                                                                Ongoing, daily coordination of the CG blog and content creation for such. Includes concepting, researching, interviewing, copywriting, editing, and
              154577             16,667.00           1/1/2018   proofreading, art direction/ design and layout.                                                                                                        CG Blog
              155037             12,000.00          1/15/2018   CG Booth Peronnel Travel ‐ Partial Billing                                                                                                             Shot Show CG Booth
              155307             58,903.00           2/1/2018   Per approved budget.                                                                                                                                   CG Talent
                                                                Overall project management, talent management, strategic contribution and coordination with external and internal stakeholders on project,
              155308             12,500.00           2/1/2018   including support for lead instructors and coordination with influencers.                                                                              CG Ongoing Program Management/Oversight
                                                                Ongoing management, maintenance and updates to CG website(s), kiosks, etc. Includes, but is not limited to: concepting, copywriting, art direction
                                                                and content management (both of video and written content); quality assurance/testing/IT support; working with IS and outside partners on
              155309             20,833.00           2/1/2018   functionality, production requests, updates.
                                                                Social media concepting, strategic visioning, theming and creative production. Includes ongoing strategy, copywriting, graphic design, video editing
              155310             20,833.00           2/1/2018   and implementation.                                                                                                                                    CG Social Media
              155311             54,167.00           2/1/2018   Per approved budget.                                                                                                                                   CG Media Assets
              155312             12,500.00           2/1/2018   Coordination, management and optimization of CC CRM platform.                                                                                          CG CRM Management/Consulting
                                                                Ongoing, daily coordination of the CG blog and content creation for such. Includes concepting, researching, interviewing, copywriting, editing, and
              155313             16,667.00           2/1/2018   proofreading, art direction/ design and layout.                                                                                                        CG Blog
                                                                Concepting and design for CG Magazine '18 Issue 3. Includes copywriting, art production, photography, computer graphics, freelance writers, art
              155906            269,000.00          2/19/2018   supplies and pre‐flighting. Does not include printing, postage or mailing.                                                                             Magazine ' 18 Issue 3
              155907            100,000.00          2/19/2018   Partial Billing. Per Approved Budget.                                                                                                                  CG Booth Updates
              155908             50,000.00          2/19/2018   Partial Billing. Per Approved Budget.                                                                                                                  Training Video/Mag/Blog Contributors
              155972             66,831.27           3/1/2018   Per approved budget.                                                                                                                                   CG Talent




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Invoice No.            Amount                Invoice Date       Desription from Detailed Invoice                                                                                                                       Description Summary from List of Invoices
                                                                Overall project management, talent management, strategic contribution and coordination with external and internal stakeholders on project,
              155973             12,500.00           3/1/2018   including support for lead instructors and coordination with influencers.                                                                              CG Ongoing Program Management/Oversight
                                                                Ongoing management, maintenance and updates to CG website(s), kiosks, etc. Includes, but is not limited to: concepting, copywriting, art direction
                                                                and content management (both of video and written content); quality assurance/testing/IT support; working with IS and outside partners on
              155974             20,833.00           3/1/2018   functionality, production requests, updates.                                                                                                           CG Website Management/Ongoing Updates
                                                                Social media concepting, strategic visioning, theming and creative production. Includes ongoing strategy, copywriting, graphic design, video editing
              155975             20,833.00           3/1/2018   and implementation.                                                                                                                                    CG Social Media
              155976             54,167.00           3/1/2018   Per approved budget.                                                                                                                                   CG Media Assets
              155977             12,500.00           3/1/2018   Coordination, management and optimization of CC CRM platform.                                                                                          CG CRM Management/Consulting
                                                                Ongoing, daily coordination of the CG blog and content creation for such. Includes concepting, researching, interviewing, copywriting, editing, and
              155978             16,667.00           3/1/2018   proofreading, art direction/ design and layout.                                                                                                        CG Blog
              156455            150,000.00          3/14/2018   Per approved budget
              156731             66,831.27           4/1/2018   Per approved budget.
                                                                Overall project management, talent management, strategic contribution and coordination with external and internal stakeholders on project,
              156732             12,500.00           4/1/2018   including support for lead instructors and coordination with influencers.
                                                                Ongoing management, maintenance and updates to CG website(s), kiosks, etc. Includes, but is not limited to: concepting, copywriting, art direction
                                                                and content management (both of video and written content); quality assurance/testing/IT support; working with IS and outside partners on
              156733             20,833.00           4/1/2018   functionality, production requests, updates.
                                                                Social media concepting, strategic visioning, theming and creative production. Includes ongoing strategy, copywriting, graphic design, video editing
              156734             20,833.00           4/1/2018   and implementation.
              156735             54,167.00           4/1/2018   Per approved budget.
              156736             12,500.00           4/1/2018   Coordination, management and optimization of CC CRM platform.
                                                                Ongoing, daily coordination of the CG blog and content creation for such. Includes concepting, researching, interviewing, copywriting, editing, and
              156737             16,667.00           4/1/2018   proofreading, art direction/ design and layout.
              157301             75,000.00          4/16/2018   Partial Billing. Per Approved Budget.
              157454             66,831.27           5/1/2018   Per approved budget.
                                                                Overall project management, talent management, strategic contribution and coordination with external and internal stakeholders on project,
              157455             12,500.00           5/1/2018   including support for lead instructors and coordination with influencers.
                                                                Ongoing management, maintenance and updates to CG website(s), kiosks, etc. Includes, but is not limited to: concepting, copywriting, art direction
                                                                and content management (both of video and written content); quality assurance/testing/IT support; working with IS and outside partners on
              157456             20,833.00           5/1/2018   functionality, production requests, updates.
                                                                Social media concepting, strategic visioning, theming and creative production. Includes ongoing strategy, copywriting, graphic design, video editing
              157457             20,833.00           5/1/2018   and implementation.
              157458             54,167.00           5/1/2018   Per approved budget.
              157459             12,500.00           5/1/2018   Coordination, management and optimization of CC CRM platform.
                                                                Ongoing, daily coordination of the CG blog and content creation for such. Includes concepting, researching, interviewing, copywriting, editing, and
              157460             16,667.00           5/1/2018   proofreading, art direction/ design and layout.
                                                                Concepting and design for the CG Magazine '18 Issue 4. Includes copywriting, art production, photography, computer graphics, freelance writers,
              158032            269,000.00          5/16/2018   art supplies and pre‐flighting. Does not include printing, postage or mailing.
              158033             25,000.00          5/16/2018   Partial Billing. Per Approved Budget.
              158039            100,000.00          5/16/2018   Per approved budget.
              158202             66,831.27           6/1/2018   Per approved budget.
                                                                Overall project management, talent management, strategic contribution and coordination with external and internal stakeholders on project,
              158203             12,500.00           6/1/2018   including support for lead instructors and coordination with influencers.
                                                                Ongoing management, maintenance and updates to CG website(s), kiosks, etc. Includes, but is not limited to: concepting, copywriting, art direction
                                                                and content management (both of video and written content); quality assurance/testing/IT support; working with IS and outside partners on
              158204             20,833.00           6/1/2018   functionality, production requests, updates.
                                                                Social media concepting, strategic visioning, theming and creative production. Includes ongoing strategy, copywriting, graphic design, video editing
              158205             20,833.00           6/1/2018   and implementation.
              158206             54,167.00           6/1/2018   Per approved budget.
              158207             12,500.00           6/1/2018   Coordination, management and optimization of CC CRM platform.




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Invoice No.            Amount                Invoice Date       Desription from Detailed Invoice                                                                                                                                      Description Summary from List of Invoices
                                                                Ongoing, daily coordination of the CG blog and content creation for such. Includes concepting, researching, interviewing, copywriting, editing, and
              158208             16,667.00           6/1/2018   proofreading, art direction/ design and layout.
              159062             66,831.27           7/1/2018   Per approved budget.
                                                                Overall project management, talent management, strategic contribution and coordination with external and internal stakeholders on project,
              159063             12,500.00           7/1/2018   including support for lead instructors and coordination with influencers.
                                                                Ongoing management, maintenance and updates to CG website(s), kiosks, etc. Includes, but is not limited to: concepting, copywriting, art direction
                                                                and content management (both of video and written content); quality assurance/testing/IT support; working with IS and outside partners on
              159064             20,833.00           7/1/2018   functionality, production requests, updates.
                                                                Social media concepting, strategic visioning, theming and creative production. Includes ongoing strategy, copywriting, graphic design, video editing
              159065             20,833.00           7/1/2018   and implementation.
              159066             54,167.00           7/1/2018   Per approved budget.
              159067             12,500.00           7/1/2018   Coordination, management and optimization of CC CRM platform.
                                                                Ongoing, daily coordination of the CG blog and content creation for such. Includes concepting, researching, interviewing, copywriting, editing, and
              159068             16,667.00           7/1/2018   proofreading, art direction/ design and layout.
              159656              1,764.76          7/13/2018   Preflight Disk
              159724             66,831.27           8/1/2018   Per approved budget.
                                                                Overall project management, talent management, strategic contribution and coordination with external and internal stakeholders on project,
              159725             12,500.00           8/1/2018   including support for lead instructors and coordination with influencers.
                                                                Ongoing management, maintenance and updates to CG website(s), kiosks, etc. Includes, but is not limited to: concepting, copywriting, art direction
                                                                and content management (both of video and written content); quality assurance/testing/IT support; working with IS and outside partners on
              159726             20,833.00           8/1/2018   functionality, production requests, updates.
                                                                Social media concepting, strategic visioning, theming and creative production. Includes ongoing strategy, copywriting, graphic design, video editing
              159727             20,833.00           8/1/2018   and implementation.
              159728             54,167.00           8/1/2018   Per approved budget.
              159729             12,500.00           8/1/2018   Coordination, management and optimization of CG CRM platform.
                                                                Ongoing daily coordination of the CG blog, and content creation for such. Includes concepting, researching,
              159730             16,667.00           8/1/2018   interviewing, copywriting, editing and proofreading, art direction/design and layout
                                                                Concepting and design for the CG Magazine '18 Issue 5. Includes copywriting, art production, photography, computer
              160162            269,000.00           8/9/2018   gra'pbiM, fre nce writers, art supplies and pre‐flighting. Does not include printing, postage or mailing
              160510             66,831.00           9/1/2018   Per approved budget.
                                                                Overall project management, talent management, strategic contribution and coordination with external and interna
              160511             12,500.00           9/1/2018   stakeholders on project, including support for lead instructors and coordination with influencers.
                                                                Ongoing management, maintenance and updates to CG website(s), kiosks, etc. Includes, but is not limited to:
                                                                concepting, copywriting, art direction and content management (both of video and written content); quality
              160512             20,833.00           9/1/2018   assurance/testing/IT support; working with IS and outside partners on functionality, production requests, updates.
                                                                Social media concepting, strategic visioning, theming and creative production. includes ongoing strategy, copywriting,
              160513             20,833.00           9/1/2018   graphic design, video editing and implementation
              160514             54,167.00           9/1/2018   Per approved budget.
              160515             12,500.00           9/1/2018   Coordination , management and optimization of CG CRM platform.
              160516             16,667.00           9/1/2018   Ongoing, daily coordination of the CG blog and content creation for such. Includes concepting, researching interviewing, copywriting, editing and proofreading, art direction/design and layout
              161959             66,831.27          11/1/2018   Per approved budget.
              161239             66,831.27          10/1/2018   Per approved budget.
                                                                Overall project management, talent management, strategic contribution and coordination with external and interna
              161240             12,500.00          10/1/2018   stakeholders on project, including support for lead instructors and coordination with influencers.
                                                                Ongoing management, maintenance and updates to CG website(s), kiosks, etc. Includes, but is not limited to:
                                                                concepting, copywriting, art direction and content management (both of video and written content); quality
              161241             20,833.00          10/1/2018   assurance/testing/IT support; working with IS and outside partners on functionality, production requests, updates.
                                                                Social media concepting, strategic visioning, theming and creative production. includes ongoing strategy, copywriting,
              161242             20,833.00          10/1/2018   graphic design, video editing and implementation
              161243             54,167.00          10/1/2018   Per approved budget.
              161244             12,500.00          10/1/2018   Coordination, management and optimization of CG CRM platform.
              161245             16,667.00          10/1/2018   Ongoing, daily coordination of the CG blog and content creation for such. Includes concepting, researching interviewing, copywriting, editing and proofreading, art direction/design and layout



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Invoice No.            Amount               Invoice Date        Desription from Detailed Invoice                                            Description Summary from List of Invoices
              161616            54,167.00           10/8/2018   Credit for Invoice # 161243
              161618            16,667.00           10/8/2018   Credit for Invoice # 161245
              161621            12,500.00           10/8/2018   Credit for Invoice # 161240
              161622            20,833.00           10/8/2018   Credit for Invoice # 161241
              161623            20,833.00           10/8/2018   Credit for Invoice # 161242
              161624            12,500.00           10/8/2018   Credit for Invoice # 161244




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There are multiple
detailed invoices for
this, noting different
payment amounts. The
amount listed here is
from the list of
invoices.




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     NATIONAL RIFLE ASSOCIATION OF AMERICA
      OFFICE OF THE GENERAL COUNSEL
      112<;0 WAPLES MILL ROAD
      FAIRFAX, VIRGINIA 22030




                                                                                         (703) 267-1250
                                                                                      (703) 267-3985 fax
                                                March 14, 2019


       Jay J. Madrid
       Dorsey & Whitney LLP
       300 Crecent Ct, Suite 400
       Dallas, TX 75201


       Dear Mr. Madrid:

               I write in response to your letter dated March 12, 2019, as well as to Steve Ryan's emails
       of March 8 and 11, regarding the National Rifle Association and Ackerman McQueen (AMc).
       These communications make claims that are so clearly in error that they do not merit a point-by-
       point response. However, I do want to address a few key issues in the hope that we can prevent
       this dispute from critically damaging an important, longstanding, and productive relationship
       between our clients.

               Most importantly, the NRA has never promised not to make basic disclosures regarding
       the nature and existence of the contract between Lt. Col. North and AMc-nor could we lawfully
       do so. As you may know, New York law compels significant disclosures in this respect, and the
       NRA complies fully with its obligations. Similarly, compensation paid directly or indirectly to
       Lt. Col. North in 2018 will ultimately have to be reported to the Internal Revenue Service on the
       NRA's Form 990. That form will be available to the public when it is filed in the fall of 2019.
               Related to that point, Mr. Ryan's e-mail of March 8, 2019 suggests that AMc allowed the
       NRA to review the North contract "under the claim that it was for the Audit Committee's review,
       and no other, not unrelated board members at large, outside counsel, or anyone outside the small
       circle of authorized personnel." Although it is true that I conducted my review in order to inform
       the Audit Committee's assessment, I did not promise to refrain from discussing the review with
       anyone else. Such a promise would have been inappropriate, given my prerogative to share my
       review with the NRA's counsel of choice, as well as the right of NRA board members to be fully
       informed about material facts in a confidential setting.

              With regard to the Brewer firm, as emphasized most recently by Steve Hart in his email
       dated January 16, 2019, the NRA has the right to choose its own counsel. It is no secret that we
       have chosen Mr. Brewer's firm to represent us in several significant matters. Some of those
       matters concern the NRA's relationship with AMc. To facilitate Ackerman's compliance with
       the Services Agreement, the NRA agreed to appoint other professionals to work with your
       client-which has occurred during Forensic Risk Alliance's productive review of AMc records.




                                                                                                   APP. 03120
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       However, the NRA made no promise and has no obligation to refrain from conferring with
       Brewer on matters relevant to the firm's work.
               Although Mr. Brewer provided statements to the New York Times, he never spoke with
       Mr. Hakim or communicated with him directly. Therefore, it is doubtful that Mr. Hakim
       described Mr. Brewer as a "primary provider of information" regarding the NRA, or named Mr.
       Brewer as a "source of . .. critical remarks" from Board members. Nor did the NRA or the
       Brewer firm, or anyone acting at their direction or with their knowledge, alert Mr. Hakim to the
       existence of the North contract as your recent communications insinuate. As noted by Wayne
       LaPierre in his recent communication to the Board, 1 the NRA engaged with Mr. Hakim to
       address claims and correct misinformation received from other, undisclosed sources. In this
       regard, I also reiterate my invitation (which I previously issued to Steve Ryan by phone) for
       AMc to provide any detail of the content of Mr. Hakim's inquiry that might suggest an
       unauthorized disclosure occurred.
                The NRA respectfully declines to retract any of its "references" to AMc. Moreover, your
       letter identifies no statement of fact attributed to the NRA which AMc contends is false. (Indeed,
       NRA spokesman Andrew Arulanandam refers in the article to the NRA's long and successful
       partnership with AMc.) The NRA also reminds AMc of its confidentiality obligations pursuant
       to the parties' Services Agreement including, without limitation, Section IV thereof. 2 Any
       breach of those obligations would obviously be very damaging to the relationship and would be
       met appropriately by the NRA.
              We hope that this resolves any potential misunderstanding, and look forward to working
       with you to move past this unproductive dispute in the interest of both of our clients.


                                                                      Sincerely,


                                                                 ~~x   Secretary and General Counsel




                The board communication quoted on page 2 of your letter (the "Board Communication") was addressed to
       the NRA's directors, not to Ackerman McQueen. The NRA reserves all rights and remedies relating to any
       unauthorized dissemination of the Board Communication and AMc's unauthorized receipt thereof. By responding
       to AMc's contentions regarding the Board Communication, the NRA waives no privilege or confidentiality
       protections pertaining to the Board Communication.
       2
                Your letter also accuses the NRA of breaching confidentiality obligations to Ackerman. Although the
       NRA does not believe that it has disclosed any of Ackerman's confidential business infonnation, the NRA notes that
       the confidentiality provisions of the Services Agreement only bind Ackerman-not the NRA. The confidentiality
       provisions of Col. North's contract, meanwhile, appear to bind only Col. North and AMc.




                                                                                                                  APP. 03121
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                      EXHIBIT 94




                                                                        APP. 03122
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                                                                      2277003:03601112
                                                                        APP. 03123
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                                                                      2277003:03601112
                                                                        APP. 03124
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                                 EXHIBIT 95




                                                                        APP. 03125
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                             IN THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF TEXAS
                                       DALLAS DIVISION

       NATIONAL RIFLE ASSOCIATION OF                   §
       AMERICA,                                        §
                                                       §
              Plaintiff and Counter-Defendant,         §
                                                       §
       v.                                              §           Case No. 3:19-cv-02074-G
                                                       §
       ACKERMAN MCQUEEN, INC.,                         §
                                                       §           Declaration of John C. Frazer
              Defendant and Counter-Plaintiff,         §           In Support of the National Rifle
                                                       §           Association of America's Motion
       and                                             §           for Partial Summary Judgment
                                                       §
       MERCURY GROUP, INC., HENRY                      §
       MARTIN, WILLIAM WINKLER, AND                    §
       MELANIE MONTGOMERY                              §
                                                       §
              Defendants.

              I, John C. Frazer, declare, pursuant to 28 U.S.C. § 1746, as follows:

              l.     I am the General Counsel of the National Rifle Association of America (the

       "NRA"). I am over the age of twenty-one, of sound mind, and competent to make this declaration.

       I submit this declaration in support of the NRA's Motion for Partial Summary Judgment.

              2.     By virtue of my duties and responsibilities, I am competent to testify regarding the

       records attached hereto, which consist of correspondence prepared and transmitted by me in the

       ordinary course of the NRA 's business.

              3.     Letter correspondence with relevant counsel concerning NRA legal matters (such

       as the communications attached hereto) is regularly created and kept in the course of the NRA's

       business.

              4.     Attached hereto as Exhibit A is a true and correct copy of a leuer I sent on August

       24, 2019, 10 Stephen M. Ryan and David Schertler, counsel for Ackerman McQueen, Inc.


                                                        l




                                                                                                  APP. 03126
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              5.     Attached hereto as Exhibit B is a true and correct copy of a letter I sent on March

       14, 2019, to Jay Madrid, counsel for Ackerman McQueen, Inc.

              6.     Attached hereto as Exhibit C is a true and correct copy of a letter I sent on March

       4. 2020. to Gina Betts, Esq., counsel for Ackerman McQueen, Inc.

              7.     I declare under penalty of perjury that the foregoing is true and correct.

       Executed this 29th day of November, 2021.


                                                             t.




                                                        2




                                                                                                  APP. 03127
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                       Exhibit A




                                                                        APP. 03128
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                                                                      2277003:03601112
                                                                        APP. 03129
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                          Exhibit B




                                                                        APP. 03130
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To:       haydon.jean@dorsey.com[haydon.jean@dorsey.com]
From:     Frazer, John
Sent:     2019-03-14T23:37:42Z
Importance:          Normal
Subject: Fwd: Response to Jay Madrid
Received:            2019-03-14T23:37:43Z
Madrid Letter.pdf
ATT00001.htm

I’m not sure if this went through the first time. Apologies for any inconvenience.

 John Frazer
 Secretary and General Counsel
 National Rifle Association of America
 11250 Waples Mill Rd.
 Fairfax, VA 22030
 (703) 267-1254
 john.frazer@nrahq.org

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 Begin forwarded message:


      From: "Frazer, John" <John.Frazer@nrahq.org>
Date: March 14, 2019 at 4:03:58 PM CDT
Cc: "SRyan@mwe.com" <SRyan@mwe.com>, Steve Hart <jstevenhart@gmail.com>
Subject: Response to Jay Madrid


       Please see attached.

       John Frazer
       Secretary and General Counsel
       National Rifle Association of America
       11250 Waples Mill Rd.
       Fairfax, VA 22030
       (703) 267-1254
       john.frazer@nrahq.org

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                                                                                            2277002:06345766

                                                                                                     APP. 03131
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                  From: <haydon.jean@dorsey.com>
Date: March 12, 2019 at 5:45:27 PM CDT
To: <john.frazer@nrahq.org>
Cc: <jstevenhart@gmail.com>, <SRyan@mwe.com>
Subject: On behalf of Jay Madrid

                 Mr. Frazer,



                 Please see attached correspondence from Mr. Madrid.



                 Thank you



                 Jean Haydon, Legal Assistant to

                 Jay J. Madrid, Esq., Brian Vanderwoude, Esq.,

                 Ron Miller, Esq., and Kara Grimes, Esq.




                                                                              2277002:06345766




                                                                                    APP. 03132
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                                  2277002:06345755




                                                                        APP. 03133
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                                                                      2277002:06345749
                                                                        APP. 03134
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                                                                      2277002:06345749
                                                                        APP. 03135
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                                                                      2277003:03601112
                                                                        APP. 03136
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                          Exhibit C




                                                                        APP. 03137
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                                                                        APP. 03138
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                                                                        APP. 03139
